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                             No. 23-30445


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


   STATE OF MISSOURI; STATE OF LOUISIANA; AARON KHERIATY;
MARTIN KULLDORFF; JIM HOFT; JAYANTA BHATTACHARYA; JILL HINES,
                                           Plaintiffs-Appellees,
                                     v.
    JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY; XAVIER BECERRA;
DEPARTMENT OF HEALTH & HUMAN SERVICES; ANTHONY FAUCI, et al.,
                                           Defendants-Appellants.


             On Appeal from the United States District Court
                 for the Western District of Louisiana


   EXHIBITS TO APPELLANTS’ EMERGENCY MOTION UNDER
      CIRCUIT RULE 27.3 FOR A STAY PENDING APPEAL


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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                        MONROE DIVISION


 STATE OF MISSOURI, ET AL.                                      CASE NO. 3:22-CV-01213

 VERSUS                                                         JUDGE TERRY A. DOUGHTY

 JOSEPH R. BIDEN JR., ET AL.                                    MAG. JUDGE KAYLA D. MCCLUSKY

                              MEMORANDUM RULING ON REQUEST
                                FOR PRELIMINARY INJUNCTION

         At issue before the Court is a Motion for Preliminary Injunction [Doc. No. 10] filed by

 Plaintiffs.1 The Defendants2 oppose the Motion [Doc. No. 266]. Plaintiffs have filed a reply to the

 opposition [Doc. No. 276]. The Court heard oral arguments on this Motion on May 26, 2023 [Doc.

 No. 288]. Amicus Curiae briefs have been filed in this proceeding on behalf of Alliance Defending

 Freedom,3 the Buckeye Institute,4 and Children’s Health Defense.5




 1
   Plaintiffs consist of the State of Missouri, the State of Louisiana, Dr. Aaron Kheriaty (“Kheriaty”), Dr. Martin
 Kulldorff (“Kulldorff”), Jim Hoft (“Hoft”), Dr. Jayanta Bhattacharya (“Bhattacharya”), and Jill Hines (“Hines”).

 2
   Defendants consist of President Joseph R Biden (“President Biden”), Jr, Karine Jean-Pierre (“Jean-Pierre”), Vivek
 H Murthy (“Murthy”), Xavier Becerra (“Becerra”), Dept of Health & Human Services (“HHS”), Dr. Hugh
 Auchincloss (“Auchincloss”), National Institute of Allergy & Infectious Diseases (“NIAID”), Centers for Disease
 Control & Prevention (“CDC”), Alejandro Mayorkas (“Mayorkas”), Dept of Homeland Security (“DHS”), Jen
 Easterly (“Easterly”), Cybersecurity & Infrastructure Security Agency (“CISA”), Carol Crawford (“Crawford”),
 United States Census Bureau (“Census Bureau”), U. S. Dept of Commerce (“Commerce”), Robert Silvers (“Silvers”),
 Samantha Vinograd (“Vinograd”), Ali Zaidi (“Zaidi”), Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Stuart F.
 Delery (“Delery”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Mina Hsiang (“Hsiang”), U. S. Dept of Justice
 (“DOJ”), Federal Bureau of Investigation (“FBI”), Laura Dehmlow (“Dehmlow”), Elvis M. Chan (“Chan”), Jay
 Dempsey (“Dempsey”), Kate Galatas (“Galatas”), Katharine Dealy (“Dealy”), Yolanda Byrd (“Byrd”), Christy Choi
 (“Choi”), Ashley Morse (“Morse”), Joshua Peck (“Peck”), Kym Wyman (“Wyman”), Lauren Protentis (“Protentis”),
 Geoffrey Hale (“Hale”), Allison Snell (“Snell”), Brian Scully (“Scully”), Jennifer Shopkorn (“Shopkorn”), U. S. Food
 & Drug Administration (“FDA”), Erica Jefferson (“Jefferson”), Michael Murray (“Murray”), Brad Kimberly
 (“Kimberly”), U. S. Dept of State (“State”), Leah Bray (“Bray”), Alexis Frisbie (“Frisbie”), Daniel Kimmage
 (“Kimmage”), U. S. Dept of Treasury (“Treasury”), Wally Adeyemo (“Adeyemo”), U. S. Election Assistance
 Commission (“EAC”), Steven Frid (“Frid”), and Kristen Muthig (“Muthig”).
 3
   [Doc. No. 252]
 4
   [Doc. No. 256]
 5
   [Doc. No. 262]

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    I.        INTRODUCTION

                  I may disapprove of what you say, but I would defend to the death
                  your right to say it.
                                    Evelyn Beatrice Hill, 1906, The Friends of Voltaire

           This case is about the Free Speech Clause in the First Amendment to the United States

 Constitution. The explosion of social-media platforms has resulted in unique free speech issues—

 this is especially true in light of the COVID-19 pandemic. If the allegations made by Plaintiffs are

 true, the present case arguably involves the most massive attack against free speech in United

 States’ history. In their attempts to suppress alleged disinformation, the Federal Government, and

 particularly the Defendants named here, are alleged to have blatantly ignored the First

 Amendment’s right to free speech.

           Although the censorship alleged in this case almost exclusively targeted conservative

 speech, the issues raised herein go beyond party lines. The right to free speech is not a member of

 any political party and does not hold any political ideology. It is the purpose of the Free Speech

 Clause of the First Amendment to preserve an uninhibited marketplace of ideas in which truth will

 ultimately prevail, rather than to countenance monopolization of the market, whether it be by

 government itself or private licensee. Red Lion Broadcasting Co., v. F.C.C., 89 S. Ct. 1794, 1806

 (1969).

           Plaintiffs allege that Defendants, through public pressure campaigns, private meetings, and

 other forms of direct communication, regarding what Defendants described as “disinformation,”

 “misinformation,” and “malinformation,” have colluded with and/or coerced social-media

 platforms to suppress disfavored speakers, viewpoints, and content on social-media platforms.

 Plaintiffs also allege that the suppression constitutes government action, and that it is a violation




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 of Plaintiffs’ freedom of speech under the First Amendment to the United States Constitution. The

 First Amendment states:

                Congress shall make no law respecting an establishment of religion
                or prohibiting the free exercise thereof: or abridging the freedom
                of speech, or of the press; or the right of the people peaceably to
                assemble, and to petition the Government for a redress of
                grievances. (emphasis added).

 First Amendment, U.S. Const. amend. I.

        The principal function of free speech under the United States’ system of government is to

 invite dispute; it may indeed best serve its high purpose when it induces a condition of unrest,

 creates dissatisfaction with conditions as they are, or even stirs people to anger. Texas v. Johnson,

 109 S. Ct. 2533, 2542–43 (1989). Freedom of speech and press is the indispensable condition of

 nearly every other form of freedom. Curtis Pub. Co. v. Butts, 87 S. Ct. 1975, 1986 (1967).

        The following quotes reveal the Founding Fathers’ thoughts on freedom of speech:

                For if men are to be precluded from offering their sentiments on a
                matter, which may involve the most serious and alarming
                consequences, that can invite the consideration of mankind, reason
                is of no use to us; the freedom of speech may be taken away, and
                dumb and silent we may be led, like sheep, to the slaughter.

 George Washington, March 15, 1783.

                Whoever would overthrow the liberty of a nation must begin by
                subduing the free acts of speech.

 Benjamin Franklin, Letters of Silence Dogwood.

                Reason and free inquiry are the only effectual agents against error.

 Thomas Jefferson.

        The question does not concern whether speech is conservative, moderate, liberal,

 progressive, or somewhere in between. What matters is that Americans, despite their views,

 will not be censored or suppressed by the Government. Other than well-known exceptions

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                                                 - A3 -
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 to the Free Speech Clause, all political views and content are protected free speech.

             The issues presented to this Court are important and deeply intertwined in the daily

 lives of the citizens of this country.

       II.      FACTUAL BACKGROUND

             In this case, Plaintiffs allege that Defendants suppressed conservative-leaning free speech,

 such as: (1) suppressing the Hunter Biden laptop story prior to the 2020 Presidential election; (2)

 suppressing speech about the lab-leak theory of COVID-19’s origin; (3) suppressing speech about

 the efficiency of masks and COVID-19 lockdowns; (4) suppressing speech about the efficiency of

 COVID-19 vaccines; (5) suppressing speech about election integrity in the 2020 presidential

 election; (6) suppressing speech about the security of voting by mail; (7) suppressing parody

 content about Defendants; (8) suppressing negative posts about the economy; and (9) suppressing

 negative posts about President Biden.

             Plaintiffs Bhattacharya and Kulldorff are infectious disease epidemiologists and co-authors

 of The Great Barrington Declaration (“GBD”). The GBD was published on October 4, 2020. The

 GBD criticized lockdown policies and expressed concern about the damaging physical and mental

 health impacts of lockdowns. They allege that shortly after being published, the GBD was censored

 on social media by Google, Facebook, Twitter, and others. Bhattacharya and Kulldorff further

 allege on October 8, 2020 (four days after publishing the GBD), Dr. Frances Collins, Dr. Fauci,

 and Cliff Lane proposed together a “take down” of the GBD and followed up with an organized

 campaign to discredit it.6

             Dr. Kulldorff additionally alleges he was censored by Twitter on several occasions because

 of his tweets with content such as “thinking everyone must be vaccinated is scientifically flawed,”



 6
     [Doc. No. 10-3 and 10-4]

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 that masks would not protect people from COVID-19, and other “anti-mask” tweets.7 Dr. Kulldorff

 (and Dr. Bhattacharya8) further alleges that YouTube removed a March 18, 2021 roundtable

 discussion in Florida where he and others questioned the appropriateness of requiring young

 children to wear facemasks.9 Dr. Kulldorff also alleges that LinkedIn censored him when he

 reposted a post of a colleague from Iceland on vaccines, for stating that vaccine mandates were

 dangerous, for posting that natural immunity is stronger than vaccine immunity, and for posting

 that health care facilities should hire, not fire, nurses.10

         Plaintiff Jill Hines is Co-Director of Health Freedom Louisiana, a consumer and human

 rights advocacy organization. Hines alleges she was censored by Defendants because she

 advocated against the use of masks mandates on young children. She launched an effort called

 “Reopen Louisiana” on April 16, 2020, to expand Health Freedom Louisiana’s reach on social

 media. Hines alleges Health Freedom Louisiana’s social-media page began receiving warnings

 from Facebook. Hines was suspended on Facebook in January 2022 for sharing a display board

 that contained Pfizer’s preclinical trial data.11 Additionally, posts about the safety of masking and

 adverse events from vaccinations, including VAERS data and posts encouraging people to contact

 their legislature to end the Government’s mask mandate, were censored on Facebook and other

 social-media platforms. Hines alleges that because of the censorship, the reach of Health Freedom

 Louisiana was reduced from 1.4 million engagements per month to approximately 98,000. Hines

 also alleges that her personal Facebook page has been censored and restricted for posting content




 7
   [Doc. No. 10-4]
 8
   [Doc. No. 10-3]
 9
   [Id.]
 10
    [Id.]
 11
    [Doc. No. 10-12]

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 that is protected free speech. Additionally, Hines alleges that two of their Facebook groups, HFL

 Group and North Shore HFL, were de-platformed for posting content protected as free speech.12

            Plaintiff Dr. Kheriaty is a psychiatrist who has taught at several universities and written

 numerous articles. He had approximately 158,000 Twitter followers in December 2021 and

 approximately 1,333 LinkedIn connections. Dr. Kheriaty alleges he began experiencing censorship

 on Twitter and LinkedIn after posting content opposing COVID-19 lockdowns and vaccine

 mandates. Dr. Kheriaty also alleges that his posts were “shadow banned,” meaning that his tweets

 did not appear in his follower’s Twitter feeds. Additionally, a video of an interview of Dr. Kheriaty

 on the ethics of vaccine mandates was removed from YouTube.13

            Plaintiff Jim Hoft is the owner and operator of The Gateway Pundit (“GP”), a news website

 located in St. Louis, Missouri. In connection with the GP, Hoft operates the GP’s social-media

 accounts with Twitter, Facebook, YouTube, and Instagram. The GP’s Twitter account previously

 had over 400,000 followers, the Facebook account had over 650,000 followers, the Instagram

 account had over 200,000 followers, and the YouTube account had over 98,000 followers.

            The GP’s Twitter account was suspended on January 2, 2021, again on January 29, 2021,

 and permanently suspended from Twitter on February 6, 2021. The first suspension was in

 response to a negative post Hoft made about Dr. Fauci’s statement that the COVID-19 vaccine

 will only block symptoms and not block the infection. The second suspension was because of a

 post Hoft made about changes to election law in Virginia that allowed late mail-in ballots without

 postmarks to be counted. Finally, Twitter issued the permanent ban after the GP Twitter account

 posted video footage from security cameras in Detroit, Michigan from election night 2020, which

 showed two delivery vans driving to a building at 3:30 a.m. with boxes, which were alleged to


 12
      [Id.]
 13
      [Doc. No. 10-7]

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                                                    - A6 -
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 contain election ballots. Hoft also alleges repeated instances of censorship by Facebook, including

 warning labels and other restrictions for posts involving COVID-19 and/or election integrity issues

 during 2020 and 2021.

         Hoft further alleges that YouTube censored the GP’s videos. YouTube removed a May 14,

 2022 video that discussed voter integrity issues in the 2020 election. Hoft has attached as exhibits

 copies of numerous GP posts censored and/or fact checked. All of the attached examples involve

 posts relating to COVID-19 or the 2020 election.

         In addition to the allegations of the Individual Plaintiffs, the States of Missouri and

 Louisiana allege extensive censorship by Defendants. The States allege that they have a sovereign

 and proprietary interest in receiving the free flow of information in public discourse on social-

 media platforms and in using social-media to inform their citizens of public policy decisions. The

 States also claim that they have a sovereign interest in protecting their own constitutions, ensuring

 their citizen’s fundamental rights are not subverted by the federal government, and that they have

 a quasi-sovereign interest in protecting the free-speech rights of their citizens. The States allege

 that the Defendants have caused harm to the states of Missouri and Louisiana by suppressing

 and/or censoring the free speech of Missouri, Louisiana, and their citizens.

         The Complaint,14 Amended Complaint,15 Second Amended Complaint,16 and Third

 Amended Complaint17 allege a total of five counts. They are:

                     Count One – Violation of the First Amendment against all
                     Defendants.

                     Count Two – Action in Excess of Statutory Authority against all
                     Defendants.


 14
    [Doc. No. 1]
 15
    [Doc. No. 45]
 16
    [Doc. No. 84]
 17
    [Doc. No. 268]

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                                                   - A7 -
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                   Count Three – Violation of the Administrative Procedure Act
                   against HHS, NIAID, CDC, FDA, Peck, Becerra, Murthy,
                   Crawford, Fauci, Galatas, Waldo, Byrd, Choi, Lambert, Dempsey,
                   Muhammed, Jefferson, Murry, and Kimberly.

                   Count Four – Violation of the Administrative Procedure Act against
                   DHS, CISA, Mayorkas, Easterly, Silvers, Vinograd, Jankowicz,
                   Masterson, Protentis, Hale, Snell, Wyman, and Scully.

                   Count Five – Violation of the Administrative Procedure Act against
                   the Department of Commerce, Census Bureau, Shopkorn, Schwartz,
                   Molina-Irizarry, and Galemore.

 Plaintiffs also ask for this case to be certified as a class action pursuant to Federal Rules of Civil

 Procedure 23(a) and 23(b)(2). For the reasons discussed herein, it is only necessary to address

 Count One and the Plaintiffs’ request for class action certification in this ruling.

          The following facts are pertinent to the analysis of whether or not Plaintiffs are entitled to

 the granting of an injunction.18

          Plaintiffs assert that since 2018, federal officials, including Defendants, have made public

 statements and demands to social-media platforms in an effort to induce them to censor disfavored

 speech and speakers. Beyond that, Plaintiffs argue that Defendants have threatened adverse

 consequences to social-media companies, such as reform of Section 230 immunity under the

 Communications Decency Act, antitrust scrutiny/enforcement, increased regulations, and other

 measures, if those companies refuse to increase censorship. Section 230 of the Communications

 Decency Act shields social-media companies from liability for actions taken on their websites, and

 Plaintiffs argue that the threat of repealing Section 230 motivates the social-media companies to

 comply with Defendants’ censorship requests. Plaintiffs also note that Mark Zuckerberg



 18
    The Factual Background is this Court’s interpretation of the evidence. The Defendants filed a 723-page Response
 to Findings of Fact [Doc. No. 266-8] which contested the Plaintiffs’ interpretation or characterizations of the evidence.
 At oral argument, the Defendants conceded that they did not dispute the validity or authenticity of the evidence
 presented.

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                                                           - A8 -
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 (“Zuckerberg”), the owner of Facebook, has publicly stated that the threat of antitrust enforcement

 is “an existential threat” to his platform.19

       A. White House Defendants20

         Plaintiffs assert that by using emails, public and private messages, public and private

 meetings, and other means, the White House Defendants have “significantly encouraged” and

 “coerced” social-media platforms to suppress protected free speech posted on social-media

 platforms.

         (1)      On January 23, 2021, three days after President Biden took office, Clarke

 Humphrey (“Humphrey”), who at the time was the Digital Director for the COVID-19 Response

 Team, emailed Twitter and requested the removal of an anti-COVID-19 vaccine tweet by Robert

 F. Kennedy, Jr.21 Humphrey sent a copy of the email to Rob Flaherty (“Flaherty”), former Deputy

 Assistant to the President and Director of Digital Strategy, on the email and asked if “we can keep

 an eye out for tweets that fall in this same genre.” The email read, “Hey folks-Wanted to flag the

 below tweet and am wondering if we can get moving on the process of having it removed ASAP.”22

         (2)       On February 6, 2021, Flaherty requested Twitter to remove a parody account

 linked to Finnegan Biden, Hunter Biden’s daughter and President Biden’s granddaughter. The

 request stated, “Cannot stress the degree to which this needs to be resolved immediately,” and

 “Please remove this account immediately.”23 Twitter suspended the parody account within forty-

 five minutes of Flaherty’s request.



 19
    [Doc. No. 212-3, citing Doc. No. 10-1, at 202]
 20
    White House Defendants consists of President Joseph R. Biden (“President Biden”), White House Press Secretary
 Karine Jean-Pierre (“Jean-Pierre”), Ashley Morse (“Morse”), Deputy Assistant to the President and Director of Digital
 Strategy Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Stuart F.
 Delery (“Delery”), Mina Hsiang (“Hsiang”), and Dr. Hugh Auchincloss (Dr. Auchincloss”)
 21
    [Doc. No. 174-1, Exh. A. at 1]
 22
    [Id. at 2]
 23
    [Doc. No. 174-1, Exh. A. at 4]

                                                          9
                                                         - A9 -
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          (3)      On February 7, 2021, Twitter sent Flaherty a “Twitter’s Partner Support Portal” for

 expedited review of flagging content for censorship. Twitter recommended that Flaherty designate

 a list of authorized White House staff to enroll in Twitter’s Partner Support Portal and explained

 that when authorized reporters submit a “ticket” using the portal, the requests are “prioritized”

 automatically. Twitter also stated that it had been “recently bombarded” with censorship requests

 from the White House and would prefer to have a streamlined process. Twitter noted that “[i]n a

 given day last week for example, we had more than four different people within the White House

 reaching out for issues.”24

          (4)      On February 8, 2021, Facebook emailed Flaherty, and Humphrey to explain how it

 had recently expanded its COVID-19 censorship policy to promote authoritative COVID-19

 vaccine information and expanded its efforts to remove false claims on Facebook and Instagram

 about COVID-19, COVID-19 vaccines, and vaccines in general. Flaherty responded within

 nineteen minutes questioning how many times someone can share false COVID-19 claims before

 being removed, how many accounts are being flagged versus removed, and how Facebook handles

 “dubious,” but not “provably false,” claims.25 Flaherty demanded more information from

 Facebook on the new policy that allows Facebook to remove posts that repeatedly share these

 debunked claims.

          (5)      On February 9, 2021, Flaherty followed up with Facebook in regard to its COVID-

 19 policy, accusing Facebook of causing “political violence” spurred by Facebook groups by

 failing to censor false COVID-19 claims, and suggested having an oral meeting to discuss their

 policies.26 Facebook responded the same day and stated that “vaccine-skeptical” content does not



 24
    [Doc. No. 174-1 at 3]
 25
    [Id. at 5–8]
 26
    [Id. at 6–8]

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                                                  - A10 -
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 violate Facebook’s policies.27 However, Facebook stated that it will have the content’s

 “distribution reduced” and strong warning labels added, “so fewer people will see the post.”28 In

 other words, even though “vaccine-skeptical” content did not violate Facebook’s policy, the

 content’s distribution was still being reduced by Facebook.

           Facebook also informed Flaherty that it was working to censor content that does not violate

 Facebook’s policy in other ways by “preventing posts discouraging vaccines from going viral on

 our platform” and by using information labels and preventing recommendations for Groups, Pages,

 and Instagram accounts pushing content discouraging vaccines. Facebook also informed Flaherty

 that it was relying on the advice of “public health authorities” to determine its COVID-19

 censorship policies.29 Claims that have been “debunked” by public health authorities would be

 removed from Facebook. Facebook further promised Flaherty it would aggressively enforce the

 new censorship policies and requested a meeting with Flaherty to speak to Facebook’s

 misinformation team representatives about the latest censorship policies.30 Facebook also

 referenced “previous meetings” between the White House and Facebook representatives during

 the “transition period” (likely referencing the Biden Administration transition). 31

           (6)       On February 24, 2021, Facebook emailed Flaherty about “Misinfo Themes” to

 follow up on his request for COVID and vaccine misinformation themes on Facebook. Some of

 the misinformation themes Facebook reported seeing were claims of vaccine toxicity, claims about

 the side effects of vaccines, claims comparing the COVID vaccine to the flu vaccine, and claims

 downplaying the severity of COVID-19. Flaherty responded by asking for details about




 27
    [Id.]
 28
    [Id.]
 29
    [Id.]
 30
    [Id. at 6]
 31
    [Id. at 5]

                                                   11
                                                  - A11 -
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 Facebook’s actual enforcement practices and for a report on misinformation that was not censored.

 Specifically, his email read, “Can you give us a sense of volume on these, and some metrics around

 the scale of removal for each? Can you also give us a sense of misinformation that might be falling

 outside your removal policies?”32 Facebook responded that at their upcoming meeting, they “can

 definitely go into detail on content that doesn’t violate like below, but could ‘contribute to vaccine

 hesitancy.’”33

        (7)       On March 1, 2021, Flaherty and Humphrey (along with Joshua Peck (“Peck”), the

 Health and Human Services’ (“HHS”) Deputy Assistant Secretary) participated in a meeting with

 Twitter about misinformation. After the meeting, Twitter emailed those officials to assure the

 White House that Twitter would increase censorship of “misleading information” on Twitter,

 stating “[t]hanks again for meeting with us today. As we discussed, we are building on ‘our’

 continued efforts to remove the most harmful COVID-19 ‘misleading information’ from the

 service.”34

        (8)       From May 28, 2021, to July 10, 2021, a senior Meta executive reportedly copied

 Andrew Slavitt (“Slavitt”), former White House Senior COVID-19 Advisor, on his emails to

 Surgeon General Murthy (“Murthy”), alerting them that Meta was engaging in censorship of

 COVID-19 misinformation according to the White House’s “requests” and indicating “expanded

 penalties” for individual Facebook accounts that share misinformation.35 Meta also stated, “We

 think there is considerably more we can do in ‘partnership’ with you and your team to drive

 behavior.”36




 32
    [Doc. No. 214-9 at 2–3]
 33
    [Id.]
 34
    [Doc. No. 214-10 at 2, Jones Declaration, #10, Exh. H] SEALED DOCUMENT
 35
    [Doc. No. 71-4 at 6–11]
 36
    [Id. at 10] (emphasis added)

                                                   12
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          (9)      On March 12, 2021, Facebook emailed Flaherty stating, “Hopefully, this format

 works for the various teams and audiences within the White House/HHS that may find this data

 valuable.”37 This email also provided a detailed report and summary regarding survey data on

 vaccine uptake from January 10 to February 27, 2021.38

          (10)     On March 15, 2021, Flaherty acknowledged receiving Facebook’s detailed report

 and demanded a report from Facebook on a recent Washington Post article that accused Facebook

 of allowing the spread of information leading to vaccine hesitancy. Flaherty emailed the

 Washington Post article to Facebook the day before, with the subject line: “You are hiding the

 ball,” and stated “I’ve been asking you guys pretty directly, over a series of conversations, for a

 clear accounting of the biggest issues you are seeing on your platform when it comes to vaccine

 hesitancy and the degree to which borderline content as you define it – is playing a role.”39

          After Facebook denied “hiding the ball,” Flaherty followed up by making clear that the

 White House was seeking more aggressive action on “borderline content.”40 Flaherty referred to a

 series of meetings with Facebook that were held in response to concerns over “borderline content”

 and accused Facebook of deceiving the White House about Facebook’s “borderline policies.”41

 Flaherty also accused Facebook of being the “top driver of vaccine hesitancy.”42 Specifically, his

 email stated:

                   I am not trying to play ‘gotcha’ with you. We are gravely concerned
                   that your service is one of the top drivers of vaccine hesitancy-
                   period. I will also be the first to acknowledge that borderline content
                   offers no easy solutions. But we want to know that you’re trying, we
                   want to know how we can help, and we want to know that you’re
                   not playing a shell game with us when we ask you what is going on.

 37
    [Doc. No. 174-1 at 9]
 38
    [Id.]
 39
    [Id. at 11]
 40
    [Id. at 11–12]
 41
    [Id.]
 42
    [Id. at 11]

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                                  26805



                  This would all be a lot easier if you would just be straight with us.43

 In response to Flaherty’s email, Facebook responded, stating: “We obviously have work to do to

 gain your trust…We are also working to get you useful information that’s on the level. That’s my

 job and I take it seriously – I’ll continue to do it to the best of my ability, and I’ll expect you to

 hold me accountable.”44

           Slavitt, who was copied on Facebook’s email, responded, accusing Facebook of not being

 straightforward, and added more pressure by stating, “internally, we have been considering our

 options on what to do about it.”45

           (11)   On March 19, 2021, Facebook had an in-person meeting with White House

 officials, including Flaherty and Slavitt.46 Facebook followed up on Sunday, March 21, 2021,

 noting that the White House had demanded a consistent point of contact with Facebook, additional

 data from Facebook, “Levers for Tackling Vaccine Hesitancy Content,” and censorship policies

 for Meta’s platform WhatsApp.47 Facebook noted that in response to White House demands, it

 was censoring, removing, and reducing the virality of content discouraging vaccines “that does not

 contain actionable misinformation.”48 Facebook also provided a report for the White House on the

 requested information on WhatsApp policies:

                  You asked us about our levers for reducing virality of vaccine
                  hesitancy content. In addition to policies previously discussed, these
                  include the additional changes that were approved last week and that
                  we will be implementing over the coming weeks. As you know, in
                  addition to removing vaccine misinformation, we have been focused
                  on reducing the virality of content discouraging vaccines that do not
                  contain actionable misinformation.49


 43
    [Id. at 11]
 44
    [Id. at 11]
 45
    [Id. at 10]
 46
    [Id. at 15]
 47
    [Id.]
 48
    [Id. at 15]
 49
    [Id. at 15]

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                                  26806




 On March 22, 2021, Flaherty responded to this email, demanding more detailed information and a

 plan from Facebook to censor the spread of “vaccine hesitancy” on Facebook.50 Flaherty also

 requested more information about and demanded greater censorship by Facebook of “sensational,”

 “vaccine skeptical” content.51 He also requested more information about WhatsApp regarding

 vaccine hesitancy.52 Further, Flaherty seemingly spoke on behalf of the White House and stated

 that the White House was hoping they (presumably the White House and Facebook) could be

 “partners here, even if it hasn’t worked so far.”53 A meeting was scheduled the following

 Wednesday between Facebook and White House officials to discuss these issues.

          On April 9, 2021, Facebook responded to a long series of detailed questions from Flaherty

 about how WhatsApp was censoring COVID-19 misinformation. Facebook stated it was “reducing

 viral activity on our platform” through message-forward limits and other speech-blocking

 techniques.54 Facebook also noted it bans accounts that engage in those that seek to exploit

 COVID-19 misinformation.55

          Flaherty responded, “I care mostly about what actions and changes you are making to

 ensure you’re not making our country’s vaccine hesitancy problem worse,” accusing Facebook of

 being responsible for the Capitol riot on January 6, 2021, and indicating that Facebook would be

 similarly responsible for COVID-related deaths if it did not censor more information.56 “You only




 50
    [Id.]
 51
    [Id.]
 52
    [Id.]
 53
    [Id. at 14]
 54
    [Id. at 17]
 55
    [Id. at 17]
 56
    [Id. at 17–21]

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                                                - A15 -
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                                  26807



 did this, however, after an election that you helped increase skepticism in, and an insurrection

 which was plotted, in large part, on your platform.”57

          (12)       On April 14, 2021, Flaherty demanded the censorship of Fox News hosts Tucker

 Carlson and Tomi Lahren because the top post about vaccines that day was “Tucker Carlson saying

 vaccines don’t work and Tomi Lahren stating she won’t take a vaccine.”58 Flaherty stated, “This

 is exactly why I want to know what ‘Reduction’ actually looks like – if ‘reduction’ means

 ‘pumping our most vaccine hesitant audience with Tucker Carlson saying it does not work’…

 then…I’m not sure it’s reduction!”59

          Facebook promised the White House a report by the end of the week.60

          (13)       On April 13, 2021, after the temporary halt of the Johnson & Johnson vaccine, the

 White House was seemingly concerned about the effect this would have on vaccine hesitancy.

 Flaherty sent to Facebook a series of detailed requests about how Facebook could “amplify”

 various messages that would help reduce any effects this may have on vaccine hesitancy.61

          Flaherty also requested that Facebook monitor “misinformation” relating to the Johnson &

 Johnson pause and demanded from Facebook a detailed report within twenty-four hours.

 Facebook provided the detailed report the same day.62 Facebook responded, “Re the J & J news,

 we’re keen to amplify any messaging you want us to project about what this means for people.”63

          (14)       Facebook responded to a telephone call from Rowe about how it was censoring

 information with a six-page report on censorship with explanations and screen shots of sample

 posts of content that it does and does not censor. The report noted that vaccine hesitancy content


 57
    [Id. at 17]
 58
    [Id. at 22]
 59
    [Id. at 22]
 60
    [Id. at 23]
 61
    [Id. at 30–31]
 62
    [Id. at 31]
 63
    [Id. at 31–32]

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 does not violate Facebook’s content-moderation policies, but indicated that Facebook still censors

 this content by suppressing it in news feeds and algorithms.64 Other content that Facebook admitted

 did not violate its policy but may contribute to vaccine hesitancy are: a) sensational or alarmist

 vaccine misrepresentation; b) disparaging others based on the choice to or not to vaccinate; c) true

 but shocking claims or personal anecdotes; d) discussing the choice to vaccinate in terms of

 personal or civil liberties; and e) concerns related to mistrust in institutions or individuals.65

 Facebook noted it censors such content through a “spectrum of levers” that includes concealing

 the content from other users, “de-boosting” the content, and preventing sharing through

 “friction.”66 Facebook also mentioned looking forward to tomorrow’s meeting “and how we can

 hopefully partner together.”67

          Other examples of posts that did not violate Facebook’s policies but would nonetheless be

 suppressed included content that originated from the Children’s Health Defense, a nonprofit

 activist group headed by Robert F. Kennedy, Jr. (labeled by Defendants as one of the

 “Disinformation Dozen”).68

          (15)       On April 14, 2021, Slavitt emailed Facebook executive Nick Clegg (“Clegg”) with

 a message expressing displeasure with Facebook’s failure to censor Tucker Carlson. Slavitt stated,

 “Not for nothing but the last time we did this dance, it ended in an insurrection.”69 The subject line

 was “Tucker Carlson anti-vax message.”70 Clegg responded the same day with a detailed report

 about the Tucker Carlson post, stating that the post did not qualify for removal under Facebook




 64
    [Id. at 24–25]
 65
    [Id.]
 66
    [Id. at 24–25]
 67
    [Id. at 24]
 68
    [Id. at 25–27]
 69
    [Id. at 34]
 70
    Id. at 33]

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                                  26809



 policy but that the video was being labeled with a pointer to authoritative COVID-19 information,

 not being recommended to people, and that the video was being “demoted.”71

          After Brian Rice (“Rice”) of Facebook forwarded the same report on the Tucker Carlson

 post to Flaherty on April 14, 2021, Flaherty responded to Rice wanting a more detailed explanation

 of why Facebook had not removed the Tucker Carlson video and questioning how the video had

 been “demoted” since there were 40,000 shares.72 Flaherty followed up six minutes later alleging

 Facebook provided incorrect information through Crowd Tangle.73

          Two days later, on April 16, 2021, Flaherty demanded immediate answers from Facebook

 regarding the Tucker Carlson video.74 Facebook promised to get something to him that night.

 Facebook followed up on April 21, 2021, with an additional response in regard to an apparent call

 from Flaherty (“thanks for catching up earlier”).75 Facebook reported the Tucker Carlson content

 had not violated Facebook’s policy, but Facebook gave the video a 50% demotion for seven days

 and stated that it would continue to demote the video.76

          (16)     On April 21, 2021, Flaherty, Slavitt, and other HHS officials, met with Twitter

 officials about “Twitter Vaccine Misinfo Briefing.” The invite stated the White House would be

 briefed by Twitter on vaccine information, trends seen generally about vaccine information, the

 tangible effects seen from recent policy changes, what interventions were being implemented,

 previous policy changes, and ways the White House could “partner” in product work.77




 71
    [Id. at 36]
 72
    [Id. at 33–34]
 73
    [Id.]
 74
    [Id. at 33]
 75
    [Id.]
 76
    [Id. at 33, 36]
 77
    [Doc. No. 71-7 at 86].

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                                                - A18 -
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                                  26810



        Twitter discovery responses indicated that during the meeting, White House officials

 wanted to know why Alex Berenson (“Berenson”) had not been “kicked off” Twitter. 78 Slavitt

 suggested Berenson was “the epicenter of disinfo that radiated outwards to the persuadable

 public.”79 Berenson was suspended thereafter on July 16, 2021, and was permanently de-

 platformed on August 28, 2021.80

        (17)    Also on April 21, 2021, Flaherty, Slavitt, and Fitzpatrick had a meeting with several

 YouTube officials. The invitation stated the purpose of this meeting was for the White House to

 be briefed by YouTube on general trends seen around vaccine misinformation, the effects of

 YouTube’s efforts to combat misinformation, interventions YouTube was trying, and ways the

 White House can “partner” in product work.81

        In an April 22, 2021, email, Flaherty provided a recap of the meeting and stated his concern

 that misinformation on YouTube was “shared at the highest (and I mean the highest) levels of the

 White House.”82 Flaherty indicated that the White House remains concerned that YouTube is

 “funneling people into hesitancy and intensifying people’s vaccine hesitancy.”83 Flaherty further

 shared that “we” want to make sure YouTube has a handle on vaccine hesitancy and is working

 toward making the problem better.84 Flaherty again noted vaccine hesitancy was a concern that is

 shared by the highest (“and I mean the highest”) levels of the White House.85

        Flaherty further indicated that the White House was coordinating with the Stanford Internet

 Observatory (which was operating the Virality Project): “Stanford” has mentioned that it’s recently



 78
    [Doc. No. 212-14 at 2–5]
 79
    [Id.]
 80
    [Doc. No. 212-14, Exh. J, at 2–5]
 81
    [Doc. No. 212-15, Exh. K, at 1–4] SEALED DOCUMENT
 82
    [Doc. No. 174-1 at 39-40]
 83
    [Id.]
 84
    [Id.]
 85
    [Doc. No. 174-1 at 39–40]

                                                 19
                                                - A19 -
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                                  26811



 Vaccine Passports and J&J pause-related stuff, but I’m not sure if that reflects what you’re

 seeing.”86 Flaherty praised YouTube for reducing distribution of content: “I believe you said you

 reduced watch time by 70% on borderline content, which is impressive.”87 However, Flaherty

 followed up with additional demands for more information from YouTube. Flaherty emphasized

 that the White House wanted to make sure YouTube’s work extends to the broader problem of

 people viewing “vaccine-hesitant content.”88 Flaherty also suggested regular meetings with

 YouTube (“Perhaps bi-weekly”) as they have done with other “platform partners.”89

         (18)     On April 23, 2021, Flaherty sent Facebook an email including a document entitled

 “Facebook COVID-19 Vaccine Misinformation Brief” (“the Brief”), which indicated that

 Facebook plays a major role in the spread of COVID vaccine misinformation and found that

 Facebook’s policy and enforcement gaps enable misinformation to spread. 90 The Brief

 recommended much more aggressive censorship of Facebook’s enforcement policies and called

 for progressively severe penalties. The Brief further recommended Facebook stop distributing anti-

 vaccine content in News Feed or in group recommendations. The Brief also called for “warning

 screens” before linking to domains known to promote vaccine misinformation.91 Flaherty noted

 sending this Brief was not a White House endorsement of it, but “this is circulating around the

 building and informing thinking.”92

         On May 1, 2021, Facebook’s Clegg sent an email to Slavitt indicating Facebook and the

 White House met recently to “share research work.”93 Clegg apologized for not catching and



 86
    [Id. at 39]
 87
    [Id.]
 88
    [Doc. No. 214-1 at 39–40]
 89
    [Id. at 39–40]
 90
    [Doc. No. 214-14 at 2–3]
 91
    [Id.]
 92
    [Doc. No. 214-14 at 2–3, Jones Declaration]
 93
    [Doc. No. 214-1]

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                                  26812



 censoring three pieces of vaccine content that went viral and promised to censor such content more

 aggressively in the future:

                  I wanted to send you a quick note on the three pieces of vaccine
                  content that were seen by a high number of people before we
                  demoted them. Although they don’t violate our community
                  standards, we should have demoted them before they went viral, and
                  this has exposed gaps in our operational and technical process.

 Notably, these three pieces of information did not violate Facebook’s policies. Clegg told Slavitt

 that Facebook teams had spent the past twenty-four hours analyzing gaps in Facebook and were

 making several changes next week.94

         Clegg listed—in bold—demands that the White House had made in a recent meeting and

 provided a response to each. The demands were: a) address Non-English mis/disinformation

 circulating without moderation; b) do not distribute or amplify vaccine hesitancy, and Facebook

 should end group recommendations for groups with a history of COVID-19 or vaccine

 misinformation; c) monitor events that host anti-vaccine and COVID disinformation; and d)

 address twelve accounts that were responsible for 73% of vaccine misinformation.95 Facebook

 noted that it was scrutinizing these accounts and censoring them whenever it could, but that most

 of the content did not violate Facebook’s policies.96 Facebook referred to its new policy as their

 “Dedicated Vaccine Discouraging Entities.”97 Facebook even suggested that too much censorship

 might be counterproductive and drive vaccine hesitancy: “Among experts we have consulted, there

 is a general sense that deleting more expressions of vaccine hesitancy might be more




 94
    [Doc. No. 214-1 at ¶ 116].
 95
    [Doc. No. 174-1 at 41–42]
 96
    [Doc. No. 174-1 at 41–42].
 97
    [Id.]

                                                 21
                                                - A21 -
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                                  26813



 counterproductive to the goal of vaccine uptake because it could prevent hesitant people from

 talking through their concerns and potentially reinforce the notion that there’s a ‘cover-up.’”98

         (19)     On May 5, 2021, then-White House Press Secretary Jen Psaki (“Psaki”) publicly

 began pushing Facebook and other social-media platforms to censor COVID-19 misinformation.

 At a White House Press Conference, Psaki publicly reminded Facebook and other social-media

 platforms of the threat of “legal consequences” if they do not censor misinformation more

 aggressively. Psaki further stated: “The President’s view is that the major platforms have a

 responsibility related to the health and safety of all Americans to stop amplifying untrustworthy

 content, disinformation, and misinformation, especially related to COVID-19 vaccinations and

 elections.”99 Psaki linked the threat of a “robust anti-trust program” with the White House’s

 censorship demand. “He also supports better privacy protections and a robust anti-trust program.

 So, his view is that there’s more that needs to be done to ensure that this type of misinformation;

 disinformation; damaging, sometime life-threatening information, is not going out to the American

 public.”100

         The next day, Flaherty followed up with another email to Facebook and chastised Facebook

 for not catching various COVID-19 misinformation. Flaherty demanded more information about

 Facebook’s efforts to demote borderline content, stating, “Not to sound like a broken record, but

 how much content is being demoted, and how effective are you at mitigating reach, and how

 quicky?”101 Flaherty also criticized Facebook’s efforts to censor the “Disinformation Dozen”:




 98
    [Id. at 42]
 99
    [Doc. No. 266-6 at 374]
 100
     [Id.]
 101
     [Doc. No. 174-1 at 41]

                                                 22
                                                - A22 -
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                                  26814



 “Seems like your ‘dedicated vaccine hesitancy’ policy isn’t stopping the disinfo-dozen – they’re

 being deemed as not dedicated – so it feels like that problem likely coming over to groups.”102

         Things apparently became tense between the White House and Facebook after that,

 culminating in Flaherty’s July 15, 2021 email to Facebook, in which Flaherty stated: “Are you

 guys fucking serious? I want an answer on what happened here and I want it today.”103

         (20)     On July 15, 2021, things became even more tense between the White House,

 Facebook, and other social-media platforms. At a joint press conference between Psaki and

 Surgeon General Murthy to announce the Surgeon General’s “Health Advisory on

 Misinformation,”104 Psaki announced that Surgeon General Murthy had published an advisory on

 health misinformation as an urgent public health crisis.105 Murthy announced: “Fourth, we’re

 saying we expect more from our technology companies. We’re asking them to operate with greater

 transparency and accountability. We’re asking them to monitor misinformation more closely.

 We’re asking them to consistently take action against misinformation super-spreaders on their

 platforms.”106Psaki further stated, “We are in regular touch with these social-media platforms, and

 those engagements typically happen through members of our senior staff, but also members of our

 COVID-19 team,” and “We’re flagging problematic posts for Facebook that spread

 disinformation.”107

         Psaki followed up by stating that the White House’s “asks” include four key steps by which

 social-media companies should: 1) measure and publicly share the impact of misinformation on




 102
     [Id.]
 103
     [Id. at 55]
 104
     [Doc. No. 210-1 at 16 (Waldo Depo, Exh. 10)]
 105
     [Id. at 162]
 106
     [Doc. No. 10-1 at 370]
 107
     [Id. at 376–77]

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 their platforms; 2) create a robust enforcement strategy; 3) take faster action against harmful posts;

 and 4) promote quality information sources in their feed algorithms.108

         The next day, on July 16, 2021, President Biden, after being asked what his message was

 to social-media platforms when it came to COVID-19, stated, “[T]hey’re killing people.”109

 Specifically, he stated “Look, the only pandemic we have is among the unvaccinated, and that

 they’re killing people.”110 Psaki stated the actions of censorship Facebook had already conducted

 were “clearly not sufficient.”111

         Four days later, on July 20, 2021, at a White House Press Conference, White House

 Communications Director Kate Bedingfield (“Bedingfield”) stated that the White House would be

 announcing whether social-media platforms are legally liable for misinformation spread on their

 platforms and examining how misinformation fits into the liability protection granted by Section

 230 of the Communications Decency Act (which shields social-media platforms from being

 responsible for posts by third parties on their sites).112 Bedingfield further stated the administration

 was reviewing policies that could include amending the Communication Decency Act and that the

 social-media platforms “should be held accountable.”113

         (21)     The public and private pressure from the White House apparently had its intended

 effect. All twelve members of the “Disinformation Dozen” were censored, and pages, groups, and

 accounts linked to the Disinformation Dozen were removed.114




 108
     [Id. at 377–78]
 109
     [Doc. No. 10-1 at 370]
 110
     [Id. at 436–37]
 111
     [Doc. No. 10-1 at 446]
 112
     [Doc. No. 10-1 at 477–78]
 113
     [Id.]
 114
     [Doc. No. 10-1 at 483–85]

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                                  26816



         Twitter suspended Berenson’s account within a few hours of President Biden’s July 16,
                      115
 2021 comments.             On July 17, 2021, a Facebook official sent an email to Anita B. Dunn

 (“Dunn”), Senior Advisor to the President, asking for ways to “get back into the White House’s

 good graces” and stated Facebook and the White House were “100% on the same team here in

 fighting this.”116

         (22)     On November 30, 2021, the White House’s Christian Tom (“Tom”) emailed

 Twitter requesting that Twitter watch a video of First Lady Jill Biden that had been edited to make

 it sound as if the First Lady were profanely heckling children while reading to them.117 Twitter

 responded within six minutes, agreeing to “escalate with the team for further review.”118 Twitter

 advised users that the video had been edited for comedic effect. Tom then requested Twitter apply

 a “Manipulated Media” disclaimer to the video.119 After Twitter told Tom the video was not subject

 to labeling under its policy, Tom disputed Twitter’s interpretation of its own policy and added

 Michael LaRosa (“LaRosa”), the First Lady’s Press Secretary, into the conversation. 120 Further

 efforts by Tom and LaRosa to censor the video on December 9, 13, and 17 finally resulted in the

 video’s removal in December 2021.121

         (23)     In January 2022, Facebook reported to Rowe, Murthy, Flaherty, and Slavitt that it

 had “labeled and demoted” vaccine humor posts whose content could discourage vaccination.122

 Facebook also reported to the White House that it “labeled and ‘demoted’ posts suggesting natural

 immunity to a COVID-19 infection is superior to vaccine immunity.”123 In January 2022, Jesse


 115
     [Doc. No. 214-12 at 2–5]
 116
     [Doc. No. 174-1 at 49]
 117
     [Doc. No. 174-1 at 59–67]
 118
     [Id.]
 119
     [Id.]
 120
     [Id.]
 121
     [Id. at 59–67]
 122
     [Doc. No. 71-3 at 10–11]
 123
     [Doc. No. 71-3 at 10–11]

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 Lee (“Lee”) of the White House sent an email accusing Twitter of calling the President a liar in

 regard to a Presidential tweet.124

          At a February 1, 2022, White House press conference, Psaki stated that the White House

 wanted every social-media platform to do more to call out misinformation and disinformation, and

 to uplift accurate information.125

          At an April 25, 2022, White House press conference, after being asked to respond to news

 that Elon Musk may buy Twitter, Psaki again mentioned the threat to social-media companies to

 amend Section 230 of the Communications Decency Act, linking these threats to social-media

 platforms’ failure to censor misinformation and disinformation.126

          On June 13, 2022, Flaherty demanded Meta continue to produce periodic COVID-19

 insight reports to track COVID-19 misinformation, and he expressed a concern about

 misinformation regarding the upcoming authorization of COVID-19 vaccines for children under

 five years of age. Meta agreed to do so on June 22, 2022.127

          (24)     In addition to misinformation regarding COVID-19, the White House also asked

 social-media companies to censor misinformation regarding climate change, gender discussions,

 abortion, and economic policy. At an Axios event entitled “A Conversation on Battling

 Misinformation,” held on June 14, 2022, the White House National Climate Advisor Gina

 McCarthy (“McCarthy”) blamed social-media companies for allowing misinformation and

 disinformation about climate change to spread and explicitly tied these censorship demands with

 threats of adverse legislation regarding the Communications Decency Act.128




 124
     [Doc. No. 174-1 at 69]
 125
     [Doc. No. 10-1 at 501–2]
 126
     [Id. at 62–63, ¶¶ 193–197]
 127
     [Doc. No. 71-3 at 5–6]
 128
     [Doc. No. 214-15]

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                                               - A26 -
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          On June 16, 2022, the White House announced a new task force to target “general

 misinformation” and disinformation campaigns targeted at women and LBGTQI individuals who

 are public and political figures, government and civic leaders, activists, and journalists.129 The

 June 16, 2022, Memorandum discussed the creation of a task force to reel in “online harassment

 and abuse” and to develop programs targeting such disinformation campaigns. 130 The

 Memorandum also called for the Task Force to confer with technology experts and again

 threatened social-media platforms with adverse legal consequences if the platforms did not censor

 aggressively enough.131

          On July 8, 2022, President Biden signed an Executive Order on protecting access to

 abortion. Section 4(b)(iv) of the order required the Attorney General, the Secretary of HHS, and

 the Chair of the Federal Trade Commission to address deceptive or fraudulent practices relating to

 reproductive healthcare services, including those online, and to protect access to accurate

 information.132

          On August 11, 2022, Flaherty emailed Twitter to dispute a note added by Twitter to one of

 President Biden’s tweets about gas prices.133

          (25)     On August 23, 2021, Flaherty emailed Facebook requesting a report on how

 Facebook intended to promote the FDA approval of the Pfizer vaccine. He also stated that the

 White House would appreciate a “push” and provided suggested language.134




 129
     [Doc. No. 214-15[
 130
     [Id.]
 131
     [Doc. No. 214-16]
 132
     [Doc. No. 214-18]
 133
     [Doc. No. 174-1 at 68]
 134
     [Id.]

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       B. Surgeon General Defendants135

         Surgeon General Murthy is the Surgeon General of the United States. Eric Waldo

 (“Waldo”) is the Senior Advisor to the Surgeon General and was formerly Chief Engagement

 Officer for the Surgeon General’s office. Waldo’s Deposition was taken as part of the allowed

 Preliminary Injunction-related discovery in this matter.136

         (1)      Waldo was responsible for maintaining the contacts and relationships with

 representatives of social-media platforms. Waldo did pre-rollout calls with Twitter, Facebook, and

 Google/YouTube before the Surgeon General’s health advisory on misinformation was published

 on July 15, 2021.137 Waldo admitted that Murthy used his office to directly advocate for social-

 media platforms to take stronger actions against health “misinformation” and that those actions

 involved putting pressure on social-media platforms to reduce the dissemination of health

 misinformation.138 Surgeon General Murthy’s message was given to social-media platforms both

 publicly and privately.139

         (2)      At a July 15, 2021 joint press conference between Psaki and Murthy, the two made

 the comments mentioned previously in II A(19), which publicly called for social-media platforms

 “to do more” to take action against misinformation super-spreaders.140 Murthy was directly

 involved in editing and approving the final work product for the July 15, 2021 health advisory on

 misinformation.141 Waldo also admitted that Murthy used his “bully pulpit” to talk about health

 misinformation and to put public pressure on social-media platforms.142



 135
     Surgeon General Defendants consists of Dr. Vivek H. Murthy (“Murthy”) and Katharine Dealy (“Dealy”).
 136
     [Doc. No. 210]
 137
     [Doc. No. 210 at 11, 20]
 138
     [Id. at 25, 28]
 139
     [Id. at 11, 20, 25, 28]
 140
     [Id. at 33–35]
 141
     [Waldo depo at 14–17]
 142
     [Id. at 29]

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          (3)       Waldo’s initial rollout with Facebook was negatively affected because of the public

 attacks by the White House and Office of the Surgeon General towards Facebook for allowing

 misinformation to spread.143 Clegg of Facebook reached out to attempt to request “de-escalation”

 and “working together” instead of the public pressure.144 In the call between Clegg and Murthy,

 Murthy told Clegg he wanted Facebook to do more to censor misinformation on its platforms.

 Murthy also requested Facebook share data with external researchers about the scope and reach of

 misinformation on Facebook’s platforms to better understand how to have external researchers

 validate the spread of misinformation.145 “Data about misinformation” was the topic of

 conversation in this call; DJ Patil, chief data scientist in the Obama Administration, Murthy,

 Waldo, and Clegg all participated on the call. The purpose of the call was to demand more

 information from Facebook about monitoring the spread of misinformation.146

          (4)       One of the “external researchers” that the Office of Surgeon General likely had in

 mind was Renee DiResta (“DiResta”) from the Stanford Internet Observatory, a leading

 organization of the Virality Project.147 The Virality Project hosted a “rollout event” for Murthy’s

 July 15, 2021 press conference.148

          There was coordination between the Office of the Surgeon General and the Virality Project

 on the launch of Murthy’s health advisory.149 Kyla Fullenwider (“Fullenwider”) is the Office of

 the Surgeon General’s key subject-matter expert who worked on the health advisory on

 misinformation. Fullenwider works for a non-profit contractor, United States’ Digital Response.150



 143
     [Id. at 91–94]
 144
     [Doc. No. 210 at 95–98]
 145
     [Id.]
 146
     [Doc. No. 210 at 95–98]
 147
     The Virality Project will be discussed later in greater detail.
 148
     [Id. at 36–38]
 149
     [Id. at 38]
 150
     [Id. at 39, 59, 85]

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 Waldo, Fullenwider, and DiResta were involved in a conference call after the July 15, 2021 press

 conference where they discussed misinformation.151 The Office of the Surgeon General anticipated

 that social-media platforms would feel pressured by the Surgeon General’s health advisory.152

          (5)       Waldo and the Office of the Surgeon General received a briefing from the Center

 for Countering Digital Hate (“CCDH”) about the “Disinformation Dozen.” CCDH gave a

 presentation about the Disinformation Dozen and how CCDH measured and determined that the

 Disinformation Dozen were primarily responsible for a significant amount of online

 misinformation.153

          (6)       In his deposition, Waldo discussed various phone calls and communications

 between Defendants and Facebook. In August of 2021, Waldo joined a call with Flaherty and Brian

 Rice of Facebook.154 The call was an update by Facebook about the internal action it was taking

 regarding censorship.155 Waldo was aware of at least one call between Murthy and Facebook in

 the period between President Biden’s election and assuming office, and he testified that the call

 was about misinformation.156 Waldo was also aware of other emails and at least one phone call

 where Flaherty communicated with Facebook.157

          (7)       The first meeting between the Office of the Surgeon General and social-media

 platforms occurred on May 25, 2021, between Clegg, Murthy, and Slavitt. The purpose of this call

 was to introduce Murthy to Clegg. Clegg emailed Murthy with a report of misinformation on

 Facebook on May 28, 2021.158



 151
     [Id.]
 152
     [Id. at 39, 59, 85]
 153
     [Id. at 43, 47]
 154
     [Id. at 66, 124–25]
 155
     [Id. at 66, 124–25]
 156
     [Id. at 55–56]
 157
     [Id. at 64–65]
 158
     [Doc. No. 210-4]

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          Policy updates about increasing censorship were announced by Facebook on May 27,

 2021.159 The Office of the Surgeon General had a pre-rollout (i.e., before the rollout of the Surgeon

 General’s health advisory on misinformation) call with Twitter and YouTube on July 12 and July

 14, 2021.160 The Office of the Surgeon General had a rollout call with Facebook on July 16, 2021.

 The July 16 call with Facebook was right after President Biden had made his “[T]hey’re killing

 people” comment (II A (19), above), and it was an “awkward call” according to Waldo.161

          Another call took place on July 23, 2021, between Murthy, Waldo, DJ Patil, Clegg, and

 Rice. Clegg shared more about the spread of information and disinformation on Facebook after

 the meeting. At the meeting, Murthy raised the issue of wanting to have a better understanding of

 the reach of misinformation and disinformation as it relates to health on Facebook; Murthy often

 referred to health misinformation in these meetings as “poison.”162 The Surgeon General’s health

 advisory explicitly called for social-media platforms to do more to control the reach of

 misinformation.163

          On July 30, 2021, Waldo had a meeting with Google and YouTube representatives. At the

 meeting, Google and YouTube reported to the Office of the Surgeon General what actions they

 were taking following the Surgeon General’s health advisory on misinformation.164

          On August 10, 2021, Waldo and Flaherty had a call with Rice calling for Facebook to

 report to federal officials as to Facebook’s actions to remove “disinformation” and to provide

 details regarding a vaccine misinformation operation Facebook had uncovered.165




 159
     [Id. at 78, Exh. 3]
 160
     [Id. at 85]
 161
     [Id.]
 162
     [Id. at 95–98, 101, 105]
 163
     [Id. at 107–08]
 164
     [Doc. No. 210-4 at 33]
 165
     [Id.]

                                                  31
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         Another meeting took place between Google/YouTube, Waldo, and Flaherty on September

 14, 2021, to discuss a new policy YouTube was working on and to provide the federal officials

 with an update on YouTube’s efforts to combat harmful COVID-19 misinformation on its

 platform.166

         (8)      After the meetings with social-media platforms, the platforms seemingly fell in line

 with the Office of Surgeon General’s and White House’s requests. Facebook announced policy

 updates about censoring misinformation on May 27, 2021, two days after the meeting.167 As

 promised, Clegg provided an update on misinformation to the Office of Surgeon General on May

 28, 2021, three days after the meeting168 and began sending bi-weekly COVID content reports on

 June 14, 2021.169

         On July 6, 2021, Waldo emailed Twitter to set up the rollout call for the Office of the

 Surgeon General’s health advisory on misinformation and told Twitter that Murthy had been

 thinking about how to stop the spread of health misinformation; that he knew Twitter’s teams were

 working hard and thinking deeply about the issue; and that he would like to chat over Zoom to

 discuss.170 Twitter ultimately publicly endorsed the Office of the Surgeon General’s call for greater

 censorship of health misinformation.171

         Waldo sent an email to YouTube on July 6, 2021, to set up the rollout call and to state that

 the Office of the Surgeon General’s purpose was to stop the spread of misinformation on social-

 media platforms.172 YouTube eventually adopted a new policy on combatting COVID-19




 166
     [Id. at 129]
 167
     [Doc. No. 210-1 at 138]
 168
     [Doc. No. 210-5 at 1–2]
 169
     [Doc. No. 210-6]
 170
     [Doc. No. 210-7 at 145–46]
 171
     [Id.]
 172
     [Doc. No. 210-8]

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                                                 - A32 -
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 misinformation and began providing federal officials with updates on YouTube’s efforts to combat

 the misinformation.173

         (9)        At the July 15, 2021 press conference, Murthy described health misinformation as

 one of the biggest obstacles to ending the pandemic; insisted that his advisory was on an urgent

 public health threat; and stated that misinformation poses an imminent threat to the nation’s health

 and takes away the freedom to make informed decisions.174 Murthy further stated that health

 disinformation is false, inaccurate, or misleading, based upon the best evidence at the time.175

         Murthy also stated that people who question mask mandates and decline vaccinations are

 following misinformation, which results in illnesses and death.176 Murthy placed specific blame

 on social-media platforms for allowing “poison” to spread and further called for an “all-of-society

 approach” to fight health misinformation.177 Murthy called upon social-media platforms to operate

 with greater transparency and accountability, to monitor information more clearly, and to

 “consistently take action against misinformation super-spreaders on their platforms.”178 Notably,

 Waldo agreed in his deposition that the word “accountable” carries with it the threat of

 consequences.179 Murthy further demanded social-media platforms do “much, much, more” and

 take “aggressive action” against misinformation because the failure to do so is “costing people

 their lives.”180

         (10)       Murthy’s July 15, 2021 health advisory on misinformation blamed social-media

 platforms for the spread of misinformation at an unprecedented speed, and it blamed social-media



 173
     [Doc. No. 210-8].
 174
     [Doc. No. 210-11]
 175
     [Doc. No. 210-11]
 176
     [Doc. No. 210-11]
 177
     [Id.]
 178
     [Id.]
 179
     [Id.]
 180
     [Id.]

                                                   33
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 features and algorithms for furthering the spread.181 The health advisory further called for social-

 media platforms to enact policy changes to reduce the spread of misinformation, including

 appropriate legal and regulatory measures.182

            Under a heading entitled “What Technology Platforms Can Do,” the health advisory called

 for platforms to take a series of steps to increase and enable greater social-media censorship of

 misinformation, including product changes, changing algorithms to avoid amplifying

 misinformation, building in “frictions” to reduce the sharing of misinformation, and practicing the

 early detection of misinformation super-spreaders, along with other measures.183 The

 consequences for misinformation would include flagging problematic posts, suppressing the

 spread of the information, suspension, and permanent de-platforming.184

            (11)   The Office of the Surgeon General collaborated and partnered with the Stanford

 University Internet Observatory and the Virality Project. Murthy participated in a January 15, 2021

 launch of the Virality Project. In his comments, Murthy told the group, “We’re asking technology

 companies to operate with great transparency and accountability so that misinformation does not

 continue to poison our sharing platforms and we knew the government can play an important role,

 too.”185

            Murthy expressly mentioned his coordination with DiResta at the Virality Project and

 expressed his intention to maintain that collaboration. He claimed that he had learned a lot from

 the Virality Project’s work and thanked the Virality Project for being such a great “partner.”186




 181
     [Doc. No. 210-11]
 182
     [Id.]
 183
     [Id.]
 184
     [Id.]
 185
     [Doc. No. 210-13, Doc. No. 210, at 206–07].
 186
     [Doc. No. 210-1 at 213]

                                                    34
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 Murthy also stated that the Office of the Surgeon General had been “partnered with” the Stanford

 Internet Observatory for many months.187

         (12)     After President Biden’s “[T]hey’re killing people” comment on July 16, 2021,

 Facebook representatives had “sad faces” according to Waldo. On July 21, 2021, Facebook

 emailed Waldo and Fullenwider with CrowdTangle data and with “interventions” that created

 “frictions” with regard to COVID misinformation. The interventions also included limiting

 forwarding of WhatsApp messages, placing warning labels on fact-checked content, and creating

 “friction” when someone tries to share these posts on Facebook. Facebook also reported other

 censorship policy and actions, including censoring content that contributes to the risk of imminent

 physical harm, permanently banning pages, groups, and accounts that repeatedly broke Facebook’s

 COVID-19 misinformation rules, and reducing the reach of posts, pages, groups, and accounts that

 share other false claims “that do not violate our policies but may present misleading or

 sensationalized information about COVID-19 and vaccines.”188

         On July 16, 2021, Clegg emailed Murthy and stated, “I know our teams met today to better

 understand the scope of what the White House expects of us on misinformation going

 forward.”189On July 18, 2021, Clegg messaged Murthy stating “I imagine you and your team are

 feeling a little aggrieved—as is the [Facebook] team, it’s not great to be accused of killing

 people—but as I said by email, I’m keen to find a way to deescalate and work together

 collaboratively. I am available to meet/speak whenever suits.”190 As a result of this

 communication, a meeting was scheduled for July 23, 2021.191




 187
     [Doc. No. 210-1 at 213]
 188
     [Doc. No. 210-15]
 189
     [Doc. No. 210-16]
 190
     [Doc. No. 210-17]
 191
     [Doc. No. 210-18]

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         At the July 23, 2021 meeting, the Office of the Surgeon General officials were concerned

 about understanding the reach of Facebook’s data.192 Clegg even sent a follow-up email after the

 meeting to make sure Murthy saw the steps Facebook had been taking to adjust policies with

 respect to misinformation and to further address the “disinfo-dozen.”193 Clegg also reported that

 Facebook had “expanded the group of false claims that we remove, to keep up with recent trends

 of misinformation that we are seeing.”194 Further, Facebook also agreed to “do more” to censor

 COVID misinformation, to make its internal data on misinformation available to federal officials,

 to report back to the Office of the Surgeon General, and to “strive to do all we can to meet our

 ‘shared’ goals.”195

         Evidently, the promised information had not been sent to the Office of the Surgeon General

 by August 6, 2021, so the Office requested the information in a report “within two weeks.”196 The

 information     entitled    “How     We’re   Taking   Action   Against   Vaccine    Misinformation

 Superspreaders” was later sent to the Office of the Surgeon General. It detailed a list of censorship

 actions taken against the “Disinformation Dozen.”197 Clegg followed up with an August 20, 2021

 email with a section entitled “Limiting Potentially Harmful Misinformation,” which detailed more

 efforts to censor COVID-19 Misinformation.198 Facebook continued to report back to Waldo and

 Flaherty with updates on September 19 and 29 of 2021.199

         (13)     Waldo asked for similar updates from Twitter, Instagram, and Google/YouTube.200




 192
     [Id.]
 193
     [Id. at 4–5]
 194
     [Id.]
 195
     [Id.]
 196
     [Doc. No. 210-22 at 1–3]
 197
     [Doc. No. 210-21]
 198
     [Doc. No. 210-22 at 2]
 199
     [Doc. No. 210, Waldo depo. Exh 30, 31]
 200
     [Doc. No. 210, Waldo depo. at 257–58]

                                                  36
                                                 - A36 -
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          (14)     The Office of the Surgeon General also collaborated with the Democratic National

 Committee. Flaherty emailed Murthy on July 19, 2021, to put Murthy in touch with Jiore Craig

 (“Craig”) from the Democratic National Committee who worked on misinformation and

 disinformation issues.201 Craig and Murthy set up a Zoom meeting for July 22, 2021.

          (15)     After an October 28, 2021 Washington Post article stated that Facebook researchers

 had deep knowledge about how COVID-19 and vaccine misinformation ran through Facebook’s

 apps, Murthy issued a series of tweets from his official Twitter account indicating he was “deeply

 disappointed” to read this story, that health misinformation had harmed people’s health and cost

 lives, and that “we must demand Facebook and the rest of the social-media ecosystems take

 responsibility for stopping health misinformation on their platforms.”202 Murthy further tweeted

 that “we need transparency and accountability now.”203

          (16)     On October 29, 2021, Facebook asked federal officials to provide a “federal health

 contract” to dictate “what content would be censored on Facebook’s platforms.”204 Federal

 officials informed Facebook that the federal health authority that could dictate what content could

 be censored as misinformation was the CDC.205

          (17)     Murthy continued to publicly chastise social-media platforms for allowing health

 misinformation to be spread on their platforms. Murthy made statements on the following

 platforms: a December 21, 2021 podcast threatening to hold social-media platforms accountable

 for not censoring misinformation;206 a January 3, 2022 podcast with Alyssa Milano stating that

 “platformers need to step up to be accountable for making their spaces safer”;207 and a February


 201
     [Doc. No. 210, Exh. 22]
 202
     [Doc. No. 210, Exh. 31]
 203
     [Id.]
 204
     [Doc. No. 210, Exh. 33]
 205
     [Id.]
 206
     [Doc. No. 210, Exh. 38, Audio Transcript, at 7]
 207
     [Doc. No. 210–33]

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 14, 2022 panel discussion hosted by the Rockefeller Foundation, wherein they discussed that

 technology platforms enabled the speed, scale, and sophistication with which this misinformation

 was spreading.208

         On March 3, 2022, the Office of the Surgeon General issued a formal Request for

 Information (“RFI”), published in the Federal Register, seeking information from social-media

 platforms and others about the spread of misinformation.209 The RFI indicated that the Office of

 the Surgeon General was expanding attempts to control the spread of misinformation on social

 media and other technology platforms.210 The RFI also sought information about censorship

 policies, how they were enforced, and information about disfavored speakers.211The RFI was sent

 to Facebook, Google/YouTube, LinkedIn, Twitter, and Microsoft212 by Max Lesko (“Lesko”),

 Murthy’s Chief of Staff, requesting responses from these social-media platforms.213Murthy again

 restated social-media platforms’ responsibility to reduce the spread of misinformation in an

 interview with GQ Magazine.214 Murthy also specifically called upon Spotify to censor health

 information.215

       C. CDC Defendants216

         (1)       Crawford is the Director for The Division of Digital Media within the CDC Office

 of the Associate Director for Communications. Her deposition was taken pursuant to preliminary-




 208
     [Doc. No. 210–34]
 209
     [Doc. No. 32. Ex. 42, 87 Fed. Reg. 12712]
 210
     [Id.]
 211
     [Id.]
 212
     [Id. Exh. 46, 47, 48, 49, 50, 51]
 213
     [Id.]
 214
     [Id. Exh. 51]
 215
     [Exh. 52]
 216
     The CDC Defendants consist of the Centers for Disease Control & Prevention, Carol Crawford (“Crawford”), Jay
 Dempsey (“Dempsey”), Kate Galatas (“Galatas”), United States Census Bureau (“Census Bureau”), Jennifer
 Shopkorn (“Shopkorn”), the Department of Health and Human Services (“HHS”), Xavier Becerra (“Becerra”),
 Yolanda Byrd (“Byrd”), Christy Choi (“Choi”), Ashley Morse (“Morse”), and Joshua Peck (“Peck”).

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 injunction related discovery here.217 The CDC is a component of the Department of Health and

 Human Services (“HHS”); Xavier Becerra (“Becerra”) is the Secretary of HHS.218 Crawford’s

 division provides leadership for CDC’s web presence, and Crawford, as director, determines

 strategy and objectives and oversees its general work.219 Crawford was the main point of contact

 for communications between the CDC and social-media platforms.220

         Prior to the COVID-19 pandemic, Crawford only had limited contact with social-media

 platforms, but she began having regular contact post-pandemic, beginning in February and March

 of 2020.221 Crawford communicated with these platforms via email, phone, and meetings.222

         (2)      Facebook emailed State Department officials on February 6, 2020, that it had taken

 proactive and reactive steps to control information and misinformation related to COVID-19. The

 email was forwarded to Crawford, who reforwarded to her contacts on Facebook. 223 Facebook

 proposed to Crawford that it would create a Coronavirus page that would give information from

 trusted sources including the CDC. Crawford accepted Facebook’s proposal on February 7, 2020,

 and suggested the CDC may want to address “widespread myths” on the platform.224

         Facebook began sending Crawford CrowdTangle reports on January 25, 2021.

 CrowdTangle is a social-media listening tool for Meta, which shows themes of discussion on

 social-media channels. These reported on “top engaged COVID and vaccine-related content

 overall across Pages and Groups.”225 This CrowdTangle report was sent by Facebook to Crawford




 217
     [Doc. No. 205-1]
 218
     [Doc. No. 266-5 at 57–61]
 219
     [Doc. No. 205-1 at 11]
 220
     [Id. at 249]
 221
     [Id. at 16–18]
 222
     [Id. at 20]
 223
     [Doc. 205-3 at 3]
 224
     [Id. at 1–2]
 225
     [Id. at 49–52]

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 in response to a prior conversation with Crawford.226 The CDC had privileged access to

 CrowdTangle since early 2020.227

          Facebook emailed Crawford on March 3, 2020, that it intended to support the Government

 in its response to the Coronavirus, including a goal to remove certain information.228 Crawford

 and Facebook began having discussions about misinformation with Facebook in the Fall of 2020,

 including discussions of how to combat misinformation.229

          The CDC used CrowdTangle, along with Meltwater reports (used for all platforms), to

 monitor social media’s themes of discussion across platforms.230 Crawford recalls generally

 discussing misinformation with Facebook.231 Crawford added Census Bureau officials to the

 distribution list for CrowdTangle reports because the Census Bureau was going to begin working

 with the CDC on misinformation issues.232

          (3)      On January 27, 2021, Facebook sent Crawford a recurring invite to a “Facebook

 weekly sync with CDC.”233 A number of Facebook and CDC officials were included in the invite,

 and the CDC could invite other agencies as needed.234 The CDC had weekly meetings with

 Facebook.235

          (4)      On March 10, 2021, Crawford sent Facebook an email seeking information about

 “Themes that have been removed for misinfo.”236 The CDC questioned if Facebook had info on

 the types of posts that were removed. Crawford was aware that the White House and the HHS


 226
     [Doc. No. 205-1, Exh. 6 at 2]
 227
     [Id. at 49–52, 146–47]
 228
     [Doc. No. 205-4 at 1–2]
 229
     [Doc. No. 205-7 at 1–2]
 230
     [Doc. No. 205-1 at 154–55]
 231
     [Id. at 58]
 232
     [Id.]
 233
     [Doc. No. 205-1 at 226]
 234
     [Doc. No. 205-36]
 235
     Doc. No. 205-1 at 226]
 236
     [Doc. No. 205-44 at 2–3]

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 were also receiving similar information from Facebook.237 The HHS was present at meetings with

 social-media companies on March 1, 2021,238 and on April 21, 2021.239

         (5)      On March 25, 2021, Crawford and other CDC officials met with Facebook. In an

 email by Facebook prior to that meeting, Facebook stated it would present on COVID-19

 misinformation and have various persons present, including a Misinformation Manager and a

 Content-Manager official (Liz Lagone).240 Crawford responded, attaching a PowerPoint slide

 deck, stating “This is a deck Census would like to discuss and we’d also like to fit in a discussion

 of topic types removed from Facebook.”241 Crawford also indicated two Census Bureau officials,

 Schwartz and Shopkorn, would be present, as well as two Census Bureau contractors, Sam Huxley

 and Christopher Lewitzke.242

         The “deck” the Census Bureau wanted to discuss contained an overview of

 “Misinformation Topics” and included “concerns about infertility, misinformation about side

 effects, and claims about vaccines leading to deaths.”243 For each topic, the deck included sample

 slides and a statement from the CDC debunking the allegedly erroneous claim.244

         (6)      Crawford admits she began engaging in weekly meetings with Facebook,245 and

 emails verify that the CDC and Facebook were repeatedly discussing misinformation back and

 forth.246 The weekly meetings involved Facebook’s content-mediation teams. Crawford mainly

 inquired about how Facebook was censoring COVID-19 misinformation in these meetings.247


 237
     [Doc. No. 205-1 at 258–61]
 238
     Twitter with White House
 239
     Twitter with White House
 240
     [Doc. No. 205-1 at 103]
 241
     [Id.]
 242
     [Doc. No. 205-34 at 3]
 243
     [Id. at 4]
 244
     [Id. at 6–14]
 245
     [Doc. No. 205-1 at 68–69]
 246
     [Doc. No. 205-9 at 1–4]
 247
     [Doc. No. 205-1 at 68–69]

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         (7)      The CDC entered into an Intra-Agency Agreement (“IAA”) with the Census Bureau

 to help advise on misinformation. The IAA required that the Census Bureau provide reports to the

 CDC on misinformation that the Census Bureau tracked on social media.248 To aid in this endeavor,

 Crawford asked Facebook to allow the Census Bureau to be added to CrowdTangle.249

         (8)      After the March 2021 weekly meetings between Facebook, the CDC, and Census

 Bureau began, Crawford began to press Facebook on removing and/or suppressing

 misinformation. In particular, she stated, “The CDC would like to have more info… about what is

 being done on the amplification-side,” and the CDC “is still interested in more info on how you

 view or analyze the data on removals, etc.”250 Further, Crawford noted, “It looks like the posts

 from last week’s deck about infertility and side effects have all been removed. Were these

 evaluated by the moderation team or taken down for another reason?”251 Crawford also questioned

 Facebook about the CrowdTangle report showing local news coverage of deaths after receiving

 the vaccine and questioned what Facebook’s approach is for “adding labels” to those stories.252

         On April 13, 2021, Facebook emailed Crawford to propose enrolling CDC and Census

 Bureau officials in a special misinformation reporting channel; this would include five CDC

 officials and four Census Bureau officials. The portal was only provided to federal officials.253

         On April 23, 2021, and again on April 28, 2021, Crawford emailed Facebook about a

 Wyoming Department of Health report noting that the algorithms that Facebook and other social-

 media networks are using to “screen out postings of sources of vaccine misinformation” were also

 screening out valid public health messages.254


 248
     [Doc. No. 205-1 at 71–72, 110]
 249
     [Doc. No. 205-9 at 1]
 250
     [Doc. No. 205-9 at 2]
 251
     [Id.]
 252
     [Doc. No. 205-9 at 1]
 253
     [Doc. No. 205-11 at 2]
 254
     [Doc. No. 205-38 at 2]

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         On May 6, 2021, Crawford emailed Facebook a table containing a list of sixteen specific

 postings on Facebook and Instagram that contained misinformation.255 Crawford stated in her

 deposition that she knew when she “flagged” content for Facebook, they would evaluate and

 possibly censor the content.256 Crawford stated CDC’s goal in flagging information for Facebook

 was “to be sure that people have credible health information so that they can make the correct

 health decisions.”257 Crawford continued to “flag” and send misinformation posts to Facebook,

 and on May 19, 2021,258 Crawford provided Facebook with twelve specific claims.

         (9)      Facebook began to rely on Crawford and the CDC to determine whether claims

 were true or false. Crawford began providing the CDC with “scientific information” for Facebook

 to use to determine whether to “remove or reduce and inform.”259 Facebook was relying on the

 CDC’s “scientific information” to determine whether statements made on its platform were true

 or false.260 The CDC would respond to “debunk” claims if it had an answer.261 These included

 issues like whether COVID-19 had a 99.96% survival rate, whether COVID-19 vaccines cause

 bells’ palsy, and whether people who are receiving COVID-19 vaccines are subject to medical

 experiments.262

         Facebook content-mediation officials would contact Crawford to determine whether

 statements made on Facebook were true or false.263 Because Facebook’s content-moderation

 policy called for Facebook to remove claims that are false and can lead to harm, Facebook would




 255
     [Doc. No. 205-10 at 1–3]
 256
     [Doc. No. 205-1 at 88]
 257
     [Id.]
 258
     [Doc. No. 205-12 at 1]
 259
     [Id. at 2]
 260
     [Doc. No. 205-1 at 106]
 261
     [Id.]
 262
     [Doc. No. 205-12 at 1–2]
 263
     [Doc. No. 205-12 at 2]

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                                              - A43 -
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 remove and/or censor claims the CDC itself said were false.264 Questions by Facebook to the CDC

 related to this content-moderation included whether spike proteins in COVID-19 vaccines are

 dangerous and whether Guillain-Barre Syndrome or heart inflammation is a possible side effect of

 the COVID-19 vaccine.265 Crawford normally referred Facebook to CDC subject-matter experts

 or responded with the CDC’s view on these scientific questions.266

         (10)     Facebook continued to send the CDC biweekly CrowdTangle content insight

 reports, which included trending topics such as Door-to-Door Vaccines, Vaccine Side Effects,

 Vaccine Refusal, Vaccination Lawsuits, Proof of Vaccination Requirement, COVID-19 and

 Unvaccinated Individuals, COVID-19 Mandates, Vaccinating Children, and Allowing People to

 Return to Religious Services.267

         (11)     On August 19, 2021, Facebook asked Crawford for a Vaccine Adverse Event

 Reporting System (“VAERS”) meeting for the CDC to give Facebook guidance on how to address

 VAERS-related “misinformation.”268 The CDC was concerned about VAERS-related

 misinformation because users were citing VAERS data and reports to raise concerns about the

 safety of vaccines in ways the CDC found to be “misleading.”269 Crawford and the CDC followed

 up by providing written materials for Facebook to use.270 The CDC eventually had a meeting with

 Facebook about VAERS-related misinformation and provided two experts for this issue.271

         (12)     On November 2, 2021, a Facebook content-moderation official reached out to the

 CDC to obtain clarity on whether the COVID-19 vaccine was harmful to children. This was



 264
     [Doc. No. 205-26 at 1–4]
 265
     [Doc. No. 205-18]
 266
     [Doc. No. 205-1 at 140]
 267
     [Doc. No. 205-20 at 205–20]
 268
     [Doc. No. 205-21]
 269
     [Doc. No. 205-22]
 270
     [Doc. No. 205-21]
 271
     [Doc. No. 205-1 at 151–52]

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                                               - A44 -
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 following the FDA’s emergency use authorization (“EUA”) related to the COVID-19 vaccine.272

 In addition to the EUA issue for children, Facebook identified other claims it sought clarity on

 regarding childhood vaccines and vaccine refusals.273

          The following Monday, November 8, 2021, Crawford followed up with a response from

 the CDC, which addressed seven of the ten claims Facebook had asked the CDC to evaluate. The

 CDC rated six of the claims “False” and stated that any of these false claims could cause vaccine

 refusal.274

          The questions the CDC rated as “false” were:

                   1) COVID-19 vaccines weaken the immune system;
                   2) COVID-19 vaccines cause auto-immune diseases;
                   3) Antibody-dependent enhancement (“ADE”) is a side effect of COVID-19
                      vaccines;
                   4) COVID-19 vaccines cause acquired immunodeficiency syndrome (AIDS);
                   5) Breast milk from a vaccinated parent is harmful to babies/children; and
                   6) COVID-19 vaccines cause multi-system inflammatory syndrome in children
                      (MIS-C).

          (13)     On February 3, 2022, Facebook again asked the CDC for clarification on whether

 a list of claims were “false” and whether the claims, if believed, could contribute to vaccine

 refusals.275 The list included whether COVID-19 vaccines cause ulcers or neurodegenerative

 diseases such as Huntington’s and Parkinson’s disease; the FDA’s possible future issuance of an

 EUA to children six months to four years of age; and questions about whether the COVID-19

 vaccine causes death, heart attacks, autism, birth defects, and many others.276

          (14)     In addition to its communications with Facebook, the CDC and Census Bureau also

 had involvement with Google/YouTube. On March 18, 2021, Crawford emailed Google, with the


 272
     [Doc. 205-23 at 1–2]
 273
     [Id.]
 274
     [Doc. No. 205–24]
 275
     [Doc. No. 205-26 at 1]
 276
     [Id. at 1–4]

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 subject line “COVID Misinfo Project.” Crawford informed Google that the CDC was now working

 with the Census Bureau (who had been meeting with Google regularly) and wanted to set up a

 time to talk and discuss the “COVID Misinfo Project.”277 According to Crawford, the previous

 Census project referred to the Census’ work on combatting 2020 Census misinformation.278

         On March 23, 2021, Crawford sent a calendar invite for a March 24, 2021 meeting, which

 included Crawford and five other CDC employees, four Census Bureau employees, and six

 Google/YouTube officials.279 At the March 24, 2021 meeting, Crawford presented a slide deck

 similar to the one prepared for the Facebook meeting. The slide deck was entitled “COVID

 Vaccine Misinformation: Issue Overview” and included issues like infertility, side effects, and

 deaths. The CDC and the Census Bureau denied that COVID-19 vaccines resulted in infertility,

 caused serious side effects, or resulted in deaths. 280

         (15)    On March 29, 2021, Crawford followed up with Google about using their “regular

 4 p.m. meetings” to go over things with the Census.281 Crawford recalled that the Census was

 asking for regular meetings with platforms, specifically focused on misinformation.282 Crawford

 also noted that the reference to the “4 p.m. meeting” refers to regular biweekly meetings with

 Google, which “continues to the present day.”283 Crawford also testified she had similar regular

 meetings with Meta and Twitter, and previously had regular meetings with Pinterest. Crawford

 stated these meetings were mostly about things other than misinformation, but misinformation was

 discussed at the meetings.284



 277
     [Doc. No. 205-28]
 278
     [Doc. No. 205-1 at 175]
 279
     [Doc. No. 214-22 Jones Dec. Exh. T] SEALED DOCUMENT
 280
     [Id.] SEALED DOCUMENT
 281
     [Doc. No. 205-1 at 179–82]
 282
     [Doc. No. 205-1 at 184–85]
 283
     [Doc. No. 205-1 at 180]
 284
     [Id. at 181]

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        (16)    On May 10, 2021, Crawford emailed Facebook to establish “COVID BOLO” (“Be

 on The Lookout”) meetings. Google and YouTube were included. 285 Crawford ran the BOLO

 meetings, and the Census Bureau official arranged the meetings and prepared the slide deck for

 each meeting.286

        The first BOLO meeting was held on May 14, 2021; the slide deck for the meeting was

 entitled “COVID Vaccine Misinformation: Hot Topics” and included five “hot topics” with a

 BOLO note for each topic. The five topics were: the vaccines caused “shedding”; a report made

 on VAERS that a two-year old child died from the vaccine; other alleged misleading information

 on VAERS reports; statements that vaccines were bioweapons, part of a depopulation scheme, or

 contain microchips; and misinformation about the eligibility of twelve to fifteen year old children

 for the vaccine.287 All were labeled as “false” by the CDC, and the potential impact on the public

 was a reduction of vaccine acceptance.

        The second BOLO meeting was held on May 28, 2021. The second meeting also contained

 a slide deck with a list of three “hot topics” to BOLO: that the Moderna vaccine was unsafe; that

 vaccine ingredients can cause people to become magnetic; and that the vaccines cause infertility

 or fertility-related issues in men. All were labeled as false by the CDC, and possibly impacted

 reduced vaccine acceptance.288

        A third BOLO meeting scheduled for June 18, 2021, was cancelled due to the new

 Juneteenth holiday. However, Crawford sent the slide deck for the meeting. The hot topics for this

 meeting were: that vaccine particles accumulate in ovaries causing fertility; that vaccines contain




 285
     [Doc. No. 205-40]
 286
     [Doc. No. 205-1 at 246, 265–66]
 287
     [Doc. No. 214-23 at 4–5] SEALED DOCUMENT
 288
     [Doc. No. 214-24 at 3–7] SEALED DOCUMENT

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                                                - A47 -
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 microchips; and because of the risk of blood clots to vaccinated persons, airlines were discussing

 a ban. All were labeled as false.289

        The goal of the BOLO meetings was to be sure credible information was out there and to

 flag information the CDC thought was not credible for potential removal.290

        On September 2, 2021, Crawford emailed Facebook and informed them of a BOLO for a

 small but growing area of misinformation: one of the CDC’s lab alerts was misinterpreted and

 shared via social media.291

        (17)    The CDC Defendants also had meetings and/or communications with Twitter. On

 April 8, 2021, Crawford sent an email stating she was “looking forward to setting up regular chats”

 and asked for examples of misinformation. Twitter responded.292

        On April 14, 2021, Crawford sent an email to Twitter giving examples of misinformation

 topics, including that vaccines were not FDA approved, fraudulent cures, VAERS data taken out

 of context, and infertility. The list was put together by the Census Bureau team.293

        On May 10, 2021, Crawford emailed Twitter to print out two areas of misinformation,

 which included copies of twelve tweets.294 Crawford informed Twitter about the May 14, 2021

 BOLO meeting and invited Twitter to participate. The examples of misinformation given at the

 meeting included: vaccine shedding; that vaccines would reduce the population; abnormal

 bleeding; miscarriages for women; and that the Government was lying about vaccines. In a




 289
     [Doc. No. 214-25 at 2–7] SEALED DOCUMENT
 290
     [Doc. No. 205-1 at 266]
 291
     [Doc. No. 205-22]
 292
     [Doc. No. 205-1 at 197, 205–33]
 293
     [Doc. No. 205-33]
 294
     [Doc. No. 205-34]

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                                                - A48 -
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 response, Twitter stated that at least some of the examples had been “reviewed and actioned.”295

 Crawford understood that she was flagging posts for Twitter for possible censorship.296

         Twitter additionally offered to enroll CDC officials in its “Partner Support Portal” to

 provide expedited review of content flagged for censorship.297 Crawford asked for instructions of

 how to enroll in the Partnership Support Portal and provided her personal Twitter account to enroll.

 Crawford was fully enrolled on May 27, 2021.298 Census Bureau contractor Christopher Lewitzke

 (“Lewitzke”) also requested to enroll in the Partner Support Portal.299

         Crawford also sent Twitter a BOLO for the alleged misinterpretation of a CDC lab

 report.300

         (18)     Crawford testified in her deposition that the CDC has a strong interest in tracking

 what its constituents are saying on social media.301 Crawford also expressed concern that if content

 were censored and removed from social-media platforms, government communicators would not

 know what the citizen’s “true concerns” were.302

       D. NIAID Defendants303

         The NIAID is a federal agency under HHS. Dr. Fauci was previously the Director of

 NIAID. Dr. Fauci’s deposition was taken as a part of the limited preliminary injunction discovery

 in this matter.304




 295
     [Id.]
 296
     [Doc. No. 205-1 at 211]
 297
     [Id. at 211–12]
 298
     [Id. at 211–18]
 299
     [Doc. No. 201-34 at 2]
 300
     [Doc. No. 201-35]
 301
     [Doc. No. 201-1 at 57–58]
 302
     [Id. at 75]
 303
     The NIAD Defendants consist of the National Institute of Allergy and Infectious Disease and Dr. Hugh Auchincloss
 (“Dr. Auchincloss”).
 304
     [Doc. No. 206]

                                                         49
                                                        - A49 -
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           1)       Dr. Fauci had been the director of the NIAID for over thirty-eight years and became

 Chief Medical Advisor to the President in early 2021.305 Dr. Fauci retired December 31, 2022.

           1. Lab-Leak Theory

           Plaintiffs set forth arguments that because NIAID had funded “gain-of-function”306

 research at Dr. Fauci’s direction at the Wuhan Institute of Virology (“Wuhan lab”) in Wuhan,

 China, Dr. Fauci sought to suppress theories that the SARS-CoV2 virus leaked from the Wuhan

 lab.307

           (1)      Plaintiffs allege that Dr. Fauci’s motive for suppressing the lab-leak theory was a

 fear that Dr. Fauci and NIAID could be blamed for funding gain-of-function research that created

 the COVID-19 pandemic. Plaintiffs allege Dr. Fauci participated in a secret call with other

 scientists on February 1, 2020, and convinced the scientists (who were proponents of the lab-leak

 theory) to change their minds and advocate for the theory that the COVID-19 virus originated

 naturally.308 A few days after the February 1, 2020 call, a paper entitled “The Proximal Origin of

 COVID-19” was published by Nature Medicine on March 17, 2020. The article concludes that

 SARS-CoV2 was not created in a lab but rather was naturally occurring.

           On February 2, 2020, Dr. Fauci told the other scientists that “given the concerns of so many

 people and the threat of further distortions on social media it is essential that we move quickly.

 Hopefully, we can get the WHO to convene.”309 Dr. Fauci emailed Dr. Tedros of the WHO and

 two senior WHO officials, urging WHO to quickly establish a working group to address the lab-

 leak theory. Dr. Fauci stated they should “appreciate the urgency and importance of this issue



 305
     [Doc. No. 206-1 at 10 (Deposition of Dr. Anthony S. Fauci)]
 306
     “Gain-of-function” research involves creating a potentially dangerous virus in a laboratory.
 307
     [Doc. No. 212-3 at 151–85]
 308
     [Id. at 165]
 309
     [Doc. No. 206-9 at 2]

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                                                         - A50 -
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 given the gathering internet evident in the science literature and in mainstream and social media

 to the question of the origin of this virus.” Dr. Fauci also stated WHO needed to “get ahead of

 …the narrative of this and not reacting to reports which could be very damaging.” 310 Numerous

 drafts of “The Proximal Origin of COVID-19” were sent to Dr. Fauci to review prior to the article

 being published in Nature Medicine.311

         (2)      On February 9, 2020, in a joint podcast with Dr. Peter Daszak of the Eco Health

 Alliance,312 both Drs. Fauci and Daszak discredited the lab-leak theory, calling it a “conspiracy

 theory.”313

         (3)      Three authors of “The Proximal Origins of SARS-CoV2,” Robert Garry, Kristian

 Anderson, and Ian Lipkin, received grants from NIH in recent years.314

         (4)      After “The Proximal Origins of SARS-CoV2” was completed and published in

 Nature Medicine, Dr. Fauci began discrediting the lab-leak theory. “This study leaves little room

 to refute a natural original for COVID-19.” “It’s a shining object (lab-leak theory) that will go

 away in times.”315

         At an April 17, 2020 press conference, when asked about the possibility of a lab-leak, Dr.

 Fauci stated, “There was a study recently that we can make available to you, where a group of

 highly qualified evolutionary virologists looked at the sequences there and the sequences in bats

 as they evolve. And the mutations that it took to get to the point where it is now is totally consistent




 310
      [Doc. No. 206-9 at 1]
 311
     [Doc. No. 206-13 at 1, 7-8; 206-11 at 2–3; and 206–20]
 312
      [Doc. No. 206-16 at 1]
 313
      [Doc. No. 206-16 at 1; 206-17 at 1]
 314
      [Doc. No. 214-30]
 315
      [Doc. No. 206-27 at 3–4]

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 with jump of a species from animal to a human.”316 “The Proximal Origin of SARS-CoV2” has

 since become one of the most widely read papers in the history of science.317

         (5)     Twitter and Facebook censored the lab-leak theory of COVID-19.318 However, Dr.

 Fauci claims he is not aware of any suppression of speech about the lab-leak theory on social

 media, and he claims he does not have a Twitter or Facebook account.319

         (6)     On March 15, 2020, Zuckerberg sent Dr. Fauci an email asking for coordination

 between Dr. Fauci and Facebook on COVID-19 messaging. Zuckerberg asked Dr. Fauci to create

 a video to be used on Facebook’s Coronavirus Information Hub, with Dr. Fauci answering

 COVID-19 health questions, and for Dr. Fauci to recommend a “point person” for the United States

 Government “to get its message out over the platform.”320

         Dr. Fauci responded the next day to Zuckerberg saying, “Mark your idea and proposal

 sounds terrific,” “would be happy to do a video for your hub,” and “your idea about PSAs is very

 exciting.” Dr. Fauci did three live stream Facebook Q&A’s about COVID-19 with Zuckerberg.321

         2. Hydroxychloroquine

         Plaintiffs further allege the NIAID and Dept. of HHS Defendants suppressed speech on

 hydroxychloroquine. On May 22, 2020, The Lancet published an online article entitled

 “Hydroxychloroquine or chloroquine with or without a macrolide for treatment of COVID-19: a

 multi-national registry analysis.”322 The article purported to analyze 96,032 patients to compare

 persons who did and did not receive this treatment. The study concluded that hydroxychloroquine



 316
     (Video of April 17, 2020, White House Coronavirus Task Force Briefing, at https://www.youtube.com/watch?
 v=brbArPX8=6I)
 317
     [Doc. No. 214-30]
 318
     [Doc. No. 206-32 at 1–2; Doc. No. 206-33 at 3]
 319
     [Doc. No. 206-1 at 210]
 320
     [Doc. No. 206-24 at 3]
 321
     [Doc. No. 201-1 at 177]
 322
     [Doc. No. 206-36 at 1]

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 and chloroquine were associated with decreased in-hospital survival and an increased frequency

 of ventricular arrhythmias when used for treatment of COVID-19.323

          Dr. Fauci publicly cited this study to claim that “hydroxychloroquine is not effective

 against coronavirus.”324 He then publicly began to discredit COVID-19 treatment with

 hydroxychloroquine and stated whether the treatment of COVID-19 by hydroxychloroquine was

 effective could only be judged by rigorous, randomized, double-blind, placebo-based studies. He

 testified the same on July 31, 2020, before the House Select Subcommittee on Coronavirus

 Crisis.325

          (2)     When America’s Frontline Doctors held a press conference criticizing the

 Government’s response to the COVID-19 pandemic and spouting the benefits of

 hydroxychloroquine in treating the coronavirus,326 Dr. Fauci made statements on Good Morning

 America327 and on Andrea Mitchell Reports328 that hydroxychloroquine is not effective in treating

 the coronavirus. Social-media platforms censored the America’s Frontline Doctors videos.

 Facebook, Twitter, and YouTube removed the video.329 Dr. Fauci does not deny that he or his staff

 at NIAID may have communicated with social-media platforms, but he does not specifically recall

 it.330

          3. The Great Barrington Declaration

          (1)     The GBD was published online on October 4, 2020. The GBD was published by

 Plaintiffs Dr. Bhattacharja of Stanford and Dr. Kulldorff of Harvard, along with Dr. Gupta of



 323
     [Id.]
 324
     [Doc. No. 206-35 at 1]
 325
     https://www.youtube.com/watch?v=RUNCSOQD2UE
 326
     [Doc. No. 207-2 at 5]
 327
     [Doc. No. 207-1 at 2]
 328
     [Doc. No. 207-1 at 2–3]
 329
     [Doc. No. 207-2 at 6]
 330
     [Doc. No. 206-1 at 238]

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 Oxford. The GBD is a one-page treatise opposing reliance on lockdowns and advocating for an

 approach to COVID-19 called “focused protection.”331 It criticized the social distancing and

 lockdown approaches endorsed by government experts. The authors expressed grave concerns

 about physical and mental health impacts of current government COVID-19 lockdown policies

 and called for an end to lockdowns.332

 (2)     On October 8, 2020, Dr. Francis Collins emailed Dr. Fauci (and Cliff Lane) stating:

                  Hi Tony and Cliff, See https://gbdeclaration.org/. This proposal
                  from the three fringe epidemiologists who met with the Secretary
                  seems to be getting a lot of attention – and even a co-signature from
                  Nobel Prize winner Mike Leavitt at Stanford. There needs to be a
                  quick and devastating published take down of its premises. I don’t
                  see anything like that online yet- is it underway? Francis.333

 The same day, Dr. Fauci wrote back to Dr. Collins stating, “Francis: I am pasting in below a piece

 from Wired that debunks this theory. Best, Tony.”334

         Dr. Fauci and Dr. Collins followed up with a series of public media statements attacking

 the GBD. In a Washington Post story run on October 14, 2020, Dr. Collins described the GBD and

 its authors as “fringe” and “dangerous.”335 Dr. Fauci consulted with Dr. Collins before he talked

 to the Washington Post.336 Dr. Fauci also endorsed these comments in an email to Dr. Collins,

 stating “what you said was entirely correct.”337

         On October 15, 2020, Dr. Fauci called the GBD “nonsense” and “dangerous.”338 Dr. Fauci

 specifically stated, “Quite frankly that is nonsense, and anybody who knows anything about




 331
     [Doc. No. 207-5 at 3]
 332
     [Id.]
 333
     [Doc. No. 207-6]
 334
     [Doc. No. 207-7]
 335
     [Doc. No. 207-9]
 336
     [Doc. No. 206-1 at 272]
 337
     [Doc. No. 207-10]
 338
     [Doc. No. 207-11 at 1]

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 epidemiology will tell you that is nonsense and very dangerous.”339 Dr. Fauci testified “it’s

 possible that” he coordinated with Dr. Collins on his public statements attacking the GBD.340

         (3)      Social-media platforms began censoring the GBD shortly thereafter. In October

 2020, Google de-boosted the search results for the GBD so that when Google users googled “Great

 Barrington Declaration,” they would be diverted to articles critical of the GBD, and not to the GBD

 itself.341 Reddit removed links to the GBD.342 YouTube updated its terms of service regarding

 medical “misinformation,” to prohibit content about vaccines that contradicted consensus from

 health authorities.343 Because the GBD went against a consensus from health authorities, its

 content was removed from YouTube. Facebook adopted the same policies on misinformation

 based upon public health authority recommendations.344 Dr. Fauci testified that he could not recall

 anything about his involvement in seeking to squelch the GBD.345

         (4)      NIAID and NIH staff sent several messages to social-media platforms asking them

 to remove content lampooning or criticizing Dr. Fauci. When a Twitter employee reached out to

 CDC officials asking if a particular account associated with Dr. Fauci was “real or not,”346 Scott

 Prince of NIH responded, “Fake/Imposter handle. PLEASE REMOVE!!!”347 An HHS official

 then asked Twitter if it could “block” similar parody accounts: “Is there anything else you can also

 do to block other variations of his (Dr. Fauci’s) name from impersonation so we don’t have this




 339
     [Id. at 3]
 340
     [Doc. No. 206-1 at 279]
 341
     [Doc. No. 207-12 at 4]
 342
     [Id. at 4–5]
 343
     [Doc. No. 207-13 at 4–5]
 344
     [Doc. No. 207-15]
 345
     [Doc. No. 206-1 at 251–52, 255–58]
 346
     [Doc. No. 207-17 at 2]
 347
     [Id.]

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 occur again?”348 Twitter replied, “We’ll freeze this @handle and some other variations so no one

 can hop on them.”349

         On April 21, 2020, Judith Lavelle of NIAID emailed Facebook, copying Scott Prince of

 NIH and Jennifer Routh (“Routh”), and stated, “We wanted to flag a few more fake Dr. Fauci

 accounts on FB and IG for you I have reported them from NIAID and my personal FB account.”350

 Both Lavelle and Routh are members of Dr. Fauci’s communications staff.351 Six of the eight

 accounts listed were removed by Facebook on the same day.352

         (5)      On October 30, 2020, a NIAID staffer wrote an email connecting Google/YouTube

 with Routh, “so that NIAID and the ‘Google team’ could connect on vaccine communications-

 specifically misinformation.’”353 Courtney Billet (“Billet”), director of the Office of

 Communications and Government Relations of NIAID, was added by Routh, along with two other

 NIAID officials, to a communications chain with YouTube.354 Twitter disclosed that Dina Perry

 (“Perry”), a Public Affairs Specialist for NIAID, communicates or has communicated with Twitter

 about misinformation and censorship.355

         (6)      Dr. Fauci testified that he has never contacted a social-media company and asked

 them to remove misinformation from one of their platforms.356

         4. Ivermectin

         (8)      On September 13, 2021, Facebook emailed Carol Crawford of the CDC to ask

 whether the claim that “Ivermectin is effective in treating COVID is false, and if believed, could


 348
     [Id. at 1]
 349
     [Id.]
 350
     [Doc. No. 207-19 at 3]
 351
     [Doc. No. 206-1 at 308]
 352
     [Doc. No. 207-19 at 3]
 353
     [Doc. No. 207-20 at 1]
 354
     [Id.]
 355
     [Doc. No. 214-8 at 1]
 356
     [Doc. No. 206-1 at 151]

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 contribute to people refusing the vaccine or self-medicating.”357 The CDC responded the next day

 and advised Facebook that the claim that Ivermectin is effective in treating COVID is “NOT

 ACCURATE.”358 The CDC cited the NIH’s treatment guidelines for authority that the claims were

 not accurate.359

         5. Mask Mandates

         (9)      Plaintiffs maintain that Dr. Fauci initially did not believe masks worked, but he

 changed his stance. A February 4, 2020 email, in which Dr. Fauci responded to an email from

 Sylvia Burwell, stated, “the typical mask you buy in a drugstore is not really effective in keeping

 out the virus, which is small enough to pass through mankind.”360 Dr. Fauci stated that, at that

 time, there were “no studies” on the efficacy of masking to stop the spread.361 On March 31, 2020,

 Dr. Fauci forwarded studies showing that masking is ineffective.362

         Plaintiffs allege that Dr. Fauci’s position on masking changed dramatically on April 3,

 2020, when he became an advocate for universal mask mandates.363 Dr. Fauci testified his position

 changed in part because “evidence began accumulating that masks actually work in preventing

 acquisition and transmission,”364 although Dr. Fauci could not identify those studies.365




 357
     [Doc. No. 207-22 at 2]
 358
     [Id. at 1]
 359
     [Id.]
 360
     [Doc. No. 206-1 at 314]
 361
     [Id. at 316]
 362
     [Id. at 318]
 363
     [Id. at 317]
 364
     [Id.]
 365
     [Id. at 318]

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         6. Alex Berenson

         Alex Berenson (“Berenson”) was a former New York Times Science reporter and critic of

 government messaging about COVID-19 vaccines. He was de-platformed from Twitter on August

 28, 2021.366

         Dr. Fauci had previously sought to discredit Berenson publicly during an interview with

 CNN.367 Dr. Fauci does not deny that he may have discussed Berenson with White House or federal

 officials, but does not recall specifically whether he did so.368

                 E.      FBI Defendants369

         (1)     The deposition of Elvis Chan (“Chan”) was taken on November 29, 2021.370 Chan

 is the Assistant Special Agent in charge of the Cyber Branch for the San Francisco Division of the

 FBI.371 In this role, Chan was one of the primary people communicating with social-media

 platforms about disinformation on behalf of the FBI. There are also other agents on different cyber

 squads, along with the FBI’s private sector engagement squad, who relay information to social-

 media platforms.372

         Chan graduated from the Naval Postgraduate School in 2020 with a M.A. in Homeland

 Security Studies.373 His thesis was entitled, “Fighting Bears and Trolls. An Analysis of Social

 Media Companies and U.S. Government Efforts to Combat Russian Influence Campaigns During

 the 2020 U.S. Elections.”374 His thesis focuses on information sharing between the FBI, Facebook,



 366
     [Doc. No. 207-23 at 4]
 367
     [Doc. No. 207-24 at 1–2]
 368
     [Doc. No. 206-1 at 341–43]
 369
     FBI Defendants include Elvis Chan (“Chan”), the Federal Bureau of Investigation (“FBI”), Lauren Dehmlow
 (“Dehmlow”), and the U.S. Department of Justice (“DOJ”).
 370
     [Doc. No. 204-1]
 371
     [Id. at 8]
 372
     [Id. at 105]
 373
     [Id. at 10]
 374
     [Doc. No. 204-2 at 1]

                                                     58
                                                   - A58 -
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 Google, and Twitter.375 Chan relied on research performed by persons and entities comprising the

 Election Integrity Partnership, including Graphika,376 and DiResta of the Stanford Internet

 Observatory. Chan communicated directly with DiResta about Russian disinformation.377

         Chan also knows Alex Stamos (“Stamos”), the head of the Stanford Internet Observatory,

 from when Stamos worked for Facebook.378 Chan and Stamos worked together on “malign-

 foreign-influence activities, on Facebook.”379

         (2)      Chan stated that the FBI engages in “information sharing” with social-media

 companies about content posted on their platforms, which includes both “strategic-level

 information” and “tactical information.”380

         (3)      The FBI, along with Facebook, Twitter, Google/YouTube, Microsoft, Yahoo!,

 Wikimedia Foundation, and Reddit, participate in a Cybersecurity and Infrastructure Security

 Agency (“CISA”) “industry working group.”381 Representatives of CISA, the Department of

 Homeland Security’s Intelligence & Analysis Division (“I&A”), the Office of Director of National

 Intelligence (“ODNI”), the FBI’s FITF, the Dept. of Justice National Security Division, and Chan

 participate in these industry working groups.382

         Chan participates in the meetings because most social-media platforms are headquartered

 in San Francisco, and the FBI field offices are responsible for maintaining day-to-day relationships

 with the companies headquartered in its area of responsibility.383




 375
     [Id. at 18]
 376
     [Doc. No. 204-1 at 145]
 377
     [Doc. No. 204-1 at 51–52, 85]
 378
     [Id. at 54]
 379
     [Id at 55]
 380
     [Id. at 16–19]
 381
     [Id. at 18, 23–24]
 382
     [Id. at 24, 171]
 383
     [Id. at 24]

                                                    59
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          Matt Masterson (“Masterson”) was the primary facilitator in the meetings for the 2022

 election cycle, and Brian Scully (“Scully”) was the primary facilitator ahead of the 2022

 election.384 At the USG-Industry (“the Industry”) meetings, social-media companies shared

 disinformation content, providing a strategic overview of the type of disinformation they were

 seeing. The FBI would then provide strategic, unclassified overviews of things they were seeing

 from Russian actors.385

          The Industry meetings were “continuing” at the time Chan’s deposition was taken on

 November 23, 2022, and Chan assumes the meetings will continue through the 2024 election

 cycle.386

          (4)          Chan also hosted bilateral meetings between FBI and Facebook, Twitter,

 Google/YouTube, Yahoo!/Verizon, Microsoft/LinkedIn, Wikimedia Foundation and Reddit,387

 and the Foreign Influence Task Force.388 In the Industry meetings, the FBI raised concerns about

 the possibility of “hack and dump” operations during the 2020 election cycle.389 The bilateral

 meetings are continuing, occurring quarterly, but will increase to monthly and weekly nearer the

 elections.390

          In the Industry meetings, FBI officials meet with senior social-media platforms in the “trust

 and safety or site integrity role.” These are the persons in charge of enforcing terms of service and

 content-moderation policies.391 These meetings began as early as 2017.392 At the Industry




 384
     [Id. at 25–26]
 385
     [Id. at 156–57]
 386
     [Id. at 285–86]
 387
     [Id. at 23–24]
 388
     [Id. at 39]
 389
     [Id.]
 390
     [Id. at 40]
 391
     [Id. at 43–44]
 392
     [Id. at 87–89]

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 meetings, in addition to Chan and Laura Dehmlow (“Dehmlow”), head of the FITF, between three

 and ten FITF officials and as high as a dozen FBI agents are present.393

         (5)      On September 4, 2019, Facebook, Google, Microsoft, and Twitter along with the

 FITF, ODNI, and CISA held a meeting to discuss election issues. Chan attended, along with

 Director Krebs, Masterson, and Scully. Social media’s trust and safety on content-moderation

 teams were also present. The focus of the meeting was to discuss with the social-media companies

 the spread of “disinformation.”394

         (6)      Discovery obtained from LinkedIn contained 121 pages of emails between Chan,

 other FBI officials, and LinkedIn officials.395 Chan testified he has a similar set of communications

 with other social-media platforms.396

         (7)      The FBI communicated with social-media platforms using two alternative,

 encrypted channels, Signal and Teleporter.397

         (8)      For each election cycle, during the days immediately preceding and through

 election days, the FBI maintains a command center around the clock to receive and forward reports

 of “disinformation” and “misinformation.” The FBI requests that social-media platforms have

 people available to receive and process the reports at all times.398

         (9)      Before the Hunter Biden Laptop story breaking prior to the 2020 election on

 October 14, 2020, the FBI and other federal officials repeatedly warned industry participants to be

 alert for “hack and dump” or “hack and leak” operations.399




 393
     [Id. at 109–10]
 394
     [Id. at 151]
 395
     [Doc. No. 204-3]
 396
     Doc. No. 204-1 at 288]
 397
     [Id. at 295–296]
 398
     [Id. at 301]
 399
     [Doc. No. 204-1 at 172, 232–34]

                                                  61
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          Dehmlow also mentioned the possibility of “hack and dump” operations.400 Additionally,

 the prospect of “hack and dump” operations was repeatedly raised at the FBI-led meetings with

 FITF and the social-media companies, in addition to the Industry meetings.401

          Social-media platforms updated their policies in 2020 to provide that posting “hacked

 materials” would violate their policies. According to Chan, the impetus for these changes was the

 repeated concern about a 2016-style “hack-and-leak” operation.402 Although Chan denies that the

 FBI urged the social-media platforms to change their policies on hacked material, Chan did admit

 that the FBI repeatedly asked the social-media companies whether they had changed their policies

 with regard to hacked materials403 because the FBI wanted to know what the companies would do

 if they received such materials.404

          (10)     Yoel Roth (“Roth”), the then-Head of Site Integrity at Twitter, provided a formal

 declaration on December 17, 2020, to the Federal Election Commission containing a

 contemporaneous account of the “hack-leak-operations” at the meetings between the FBI, other

 natural-security agencies, and social-media platforms.405 Roth’s declaration stated:

                   Since 2018, I have had regular meetings with the Office of the
                   Director of National Intelligence, the Department of Homeland
                   Security, the FBI, and industry peers regarding election security.
                   During these weekly meetings, the federal law enforcement
                   agencies communicated that they expected “hack-and-leak”
                   operations by state actors might occur during the period shortly
                   before the 2020 presidential election, likely in October. I was told in
                   these meetings that the intelligence community expected that
                   individuals associated with political campaigns would be subject to
                   hacking attacks and that material obtained through those hacking
                   attacks would likely be disseminated over social-media platforms,
                   including Twitter. These expectations of hack-and-leak operations

 400
     [Id. at 175]
 401
     [Id. at 177–78]
 402
     [Id. at 205]
 403
     [Id. at 206]
 404
     [Id. at 249]
 405
     [Doc. No. 204-5, ¶¶ 10-11, at 2–3]

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                                                    - A62 -
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                  were discussed through 2020. I also learned in these meetings that
                  there were rumors that a hack-and-leak operation would involve
                  Hunter Biden.406

         Chan testified that, in his recollection, Hunter Biden was not referred to in any of the CISA

 Industry meetings.407 The mention of “hack-and-leak” operations involving Hunter Biden is

 significant because the FBI previously received Hunter Biden’s laptop on December 9, 2019, and

 knew that the later-released story about Hunter Biden’s laptop was not Russian disinformation.408

         In Scully’s deposition,409 he did not dispute Roth’s version of events.410

         Zuckerberg testified before Congress on October 28, 2020, stating that the FBI conveyed

 a strong risk or expectation of a foreign “hack-and-leak” operation shortly before the 2020 election

 and that the social-media companies should be on high alert. The FBI also indicated that if a trove

 of documents appeared, they should be viewed with suspicion.411

         (11)     After the Hunter Biden laptop story broke on October 14, 2020, Dehmlow refused

 to comment on the status of the Hunter Biden laptop in response to a direct inquiry from Facebook,

 although the FBI had the laptop in its possession since December 2019.412

         The Hunter Biden laptop story was censored on social media, including Facebook and

 Twitter.413 Twitter blocked users from sharing links to the New York Post story and prevented

 users who had previously sent tweets sharing the story from sending new tweets until they deleted




 406
     (emphasis added)
 407
     [Doc. No. 204-1 at 213, 227–28].
 408
     [Doc. No. 106-3 at 5–11]
 409
     [Doc. No. 209]
 410
     [Id. at 247]
 411
     [Doc. 204-6 at 56]
 412
     [Doc. No. 204-1 at 215]
 413
     [Doc. No. Doc 204-5 at ¶ 17]

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 the previous tweet.414 Further, Facebook began reducing the story’s distribution on the platform

 pending a third-party fact-check.415

          (12)     Chan further testified that during the 2020 election cycle, the United States

 Government and social-media companies effectively limited foreign influence companies through

 information sharing and account takedowns.416 Chan’s thesis also recommended standardized

 information sharing and the establishment of a national coordination center.

          According to Chan, the FBI shares this information with social-media platforms as it relates

 to information the FBI believes should be censored.417 Chan testified that the purpose and

 predictable effect of the tactical information sharing was that social-media platforms would take

 action against the content in accordance with their policies.418 Additionally, Chan admits that

 during the 2020 election cycle, the United States Government engaged in information sharing with

 social-media companies.419 The FBI also shared “indicators” with state and local government

 officials.420

          Chan’s thesis includes examples of alleged Russian disinformation, which had a number

 of reactions and comments from Facebook users, including an anti-Hillary Clinton post, a secure-

 border post, a Black Lives Matter post, and a pro-Second Amendment post.421

          Chan also identified Russian-aligned websites on which articles were written by freelance

 journalists. A website called NADB, alleged to be Russian-generated, was also identified by the

 FBI, and suppressed by social-media platforms, despite such content being drafted and written by



 414
     [Id.]
 415
     [Doc. No. 204-6 at 2]
 416
     [Doc. No. 204-2 at 3]
 417
     [Id.]
 418
     [Id. at 32–33]
 419
     [Id. at 19]
 420
     [Id. at 50]
 421
     [Id.]

                                                  64
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 American users on that site.422 The FBI identified this site to the social-media companies that took

 action to suppress it.423

         (13)     “Domestic disinformation” was also flagged by the FBI for social-media platforms.

 Just before the 2020 election, information would be passed from other field offices to the FBI 2020

 election command post in San Francisco. The information sent would then be relayed to the social-

 media platforms where the accounts were detected.424 The FBI made no attempt to distinguish

 whether those reports of election disinformation were American or foreign.425

         Chan testified the FBI had about a 50% success rate in having alleged election

 disinformation taken down or censored by social-media platforms.426 Chan further testified that

 although the FBI did not tell the social-media companies to modify their terms of service, the FBI

 would “probe” the platforms to ask for details about the algorithms they were using427 and what

 their terms of service were.428

         (14)     Chan further testified the FBI identifies specific social-media accounts and URLs

 to be evaluated “one to five times a month”429 and at quarterly meetings.430 The FBI would notify

 the social-media platforms by sending an email with a secure transfer application within the FBI

 called a “Teleporter.” The Teleporter email contains a link for them to securely download the files

 from the FBI.431 The emails would contain “different types of indicators,” including specific




 422
     [Id. at 144–46]
 423
     [Doc. No. 204-1 at 141-43]
 424
     [Id. at 162]
 425
     [Id. at 163]
 426
     [Id. at 167]
 427
     [Id. at 88]
 428
     [Id. at 92]
 429
     [Id. at 96]
 430
     [Id. at 98]
 431
     [Id.]

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                                                - A65 -
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 social-media accounts, websites, URLs, email accounts, and the like, that the FBI wanted the

 platforms to evaluate under their content-moderation policies.432

          Most of the time, the emails flagging the misinformation would go to seven social-media

 platforms. During 2020, Chan estimated he sent out these emails from one to six times per month

 and in 2022, one to four times per month. Each email would flag a number that ranged from one

 to dozens of indicators.433 When the FBI sent these emails, it would request that the social-media

 platforms report back on the specific actions taken as to these indicators and would also follow up

 at the quarterly meetings.434

          (15)     At least eight FBI agents at the San Francisco office, including Chan, are involved

 in reporting disinformation to social-media platforms.435 In addition to FBI agents, a significant

 number of FBI officials from the FBI’s Foreign Influence Task Force also participate in regular

 meetings with social-media platforms about disinformation.436

          Chan testified that the FBI uses its criminal-investigation authority, national-security

 authority, the Foreign Intelligence Surveillance Act, the PATRIOT Act, and Executive Order

 12333 to gather national security intelligence to investigate content on social media.437

          Chan believes with a high degree of confidence that the FBI’s identification of “tactical

 information” was accurate and did not misidentify accounts operated by American citizens.438

 However, Plaintiffs identified tweets and trends on Twitter, such as #ReleasetheMemo in 2019,

 and indicated that 929,000 tweets were political speech by American citizens.439



 432
     [Id. at 99]
 433
     [Id. at 100–01]
 434
     [Id. at 102–03]
 435
     [Id. at 105–08]
 436
     [Id. at 108]
 437
     [Id. at 111–12]
 438
     [Id. at 112]
 439
     [Doc. No. 204-2 at 71]

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         (16)     Chan testified that he believed social-media platforms were far more aggressive in

 taking down disfavored accounts and content in the 2018 and 2020 election cycles.440 Chan further

 thinks that pressure from Congress, specifically the House Permanent Select Committee on

 Intelligence and the Senate Select Committee on Intelligence, resulted in more aggressive

 censorship policies.441 Chan also stated that congressional hearings placed pressure on the social-

 media platforms.442

         Chan further testified that Congressional staffers have had meetings with Facebook,

 Google/YouTube, and Twitter and have discussed potential legislation.443 Chan spoke directly

 with Roth of Twitter, Steven Slagle of Facebook, and Richard Salgado of Google, all of whom

 participated in such meetings.444

         (17)     Chan testified that 3,613 Twitter accounts and 825 Facebook accounts were taken

 down in 2018. Chan testified Twitter took down 422 accounts involving 929,000 tweets in 2019.445

         (18)     Chan testified that the FBI is continuing its efforts to report disinformation to

 social-media companies to evaluate for suppression and/or censorship.446 “Post-2020, we’ve never

 stopped…as soon as November 3 happened in 2020, we just pretty much rolled into preparing for

 2022.”447




 440
     [Id. at 115–16]
 441
     [Id. at 116]
 442
     [Id. at 117–18]
 443
     [Id. at 118]
 444
     [Id. at 123–26]
 445
     [Id. at 133–34, 149–50]
 446
     [Doc. No. 204-8 at 2–3]
 447
     [Doc. No. 204-8 at 2]

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       E. CISA Defendants448

         The deposition of Brian Scully was taken on January 12, 2023, as part of the injunction-

 related discovery in this matter.

         (1)     The CISA regularly meets with social-media platforms in several types of standing

 meetings. Scully is the chief of CISA’s Mis, Dis and Malinformation Team (“MDM Team”). Prior

 to President Biden taking office, the MDM Team was known as the “Countering Foreign Influence

 Task Force (“CFITF”).449 Protentis is the “Engagements Lead” for the MDM Team, and she is in

 charge of outreach and engagement to key stakeholders, interagency partners, and private sector

 partners, which includes social-media platforms. Scully performed Protentis’s duties while she

 was on maternity leave.450 Both Scully and Protentis have done extended detail at the National

 Security Council, where they work on misinformation and disinformation issues.451

         (2)     Scully testified that during 2020, the MDM Team did “switchboard work” on behalf

 of election officials. “Switchboarding” is a disinformation-reporting system provided by CISA that

 allows state and local election officials to identify something on social media they deem to be

 disinformation aimed at their jurisdiction. The officials would then forward the information to

 CISA, which would in turn share the information with the social-media companies.452

         The main idea, according to Scully, is that the information would be forwarded to social-

 media platforms, which would make decisions on the content based on their policies.453 Scully

 further testified he decided in late April or early May 2022 not to perform switchboarding in 2022.


 448
      CISA Defendants consist of the Cybersecurity and Infrastructure Security Agency (“CISA”), Jen Easterly
 (“Easterly”), Kim Wyman (“Wyman”), Lauren Protentis (“Protentis”), Geoffrey Hale (“Hale”), Allison Snell
 (“Snell”), Brian Scully (“Scully”), the Department of Homeland Security (“DHS”), Alejandro Mayorkas
 (“Mayorkas”), Robert Silvers (“Silvers”), and Samantha Vinograd (“Vinograd”).
 449
     [Doc. No. 209-1 at 12]
 450
     [Id. at 18–20]
 451
     [Id. at 19]
 452
     [Id. at 16–17]
 453
     [Id. at 17]

                                                     68
                                                   - A68 -
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 However, the CISA website states the MDM Team serves as a “switchboard for routing

 disinformation concerns to social-media platforms.”454 The switchboarding activities began in

 2018.455

          (3)      The MDM Team continues to communicate regularly with social-media platforms

 in two different ways. The first way is called “Industry” meetings. The Industry meetings are

 regular sync meetings between government and industry, including social-media platforms.456 The

 second type of communication involves the MDM Team reviewing regular reports from social-

 media platforms about changes to their censorship policies or to their enforcement actions on

 censorship.457

          (4)      The Industry meetings began in 2018 and continue to this day. These meetings

 increase in frequency as each election nears. In 2022, the Industry meetings were monthly but

 increased to biweekly in October 2022.458

          Government participants in the USG-Industry meetings are CISA, the Department of

 Justice (“DOJ”), ODNI, and the Department of Homeland Security (“DHS”). CISA is typically

 represented by Scully and Hale. Scully’s role is to oversee and facilitate the meetings.459 Wyman,

 Snell, and Protentis also participate in the meetings on behalf of CISA. 460 On behalf of the FBI,

 FITF Chief Dehmlow, Chan, and others from different parts of the FBI participate.461

          In addition to the Industry meetings, CISA hosts at least two “planning meetings:” one

 between CISA and Facebook and an interagency meeting between CISA and other participating



 454
     [Doc. No. 209-19 at 3]
 455
     [Id.]
 456
     [Doc. No. 209-1 at 21]
 457
     [Id.]
 458
     [Id. at 24]
 459
     [Id. at 25]
 460
     [Id. at 28]
 461
     [Id. at 29]

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                                               - A69 -
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 federal agencies.462 The social-media platforms attending the industry meetings include Facebook,

 Twitter, Microsoft, Google/YouTube, Reddit, LinkedIn, and sometimes the Wikipedia

 Foundation.463 At the Industry meetings, participants discuss concerns about misinformation and

 disinformation. The federal officials report their concerns over the spread of disinformation. The

 social-media platforms in turn report to federal officials about disinformation trends, share high-

 level trend information, and repot the actions they are taking.464 Scully testified that the specific

 discussion of foreign-originating information is ultimately targeted at preventing domestic actors

 from engaging in this information.465

           (5)         CISA has established relationships with researchers at Stanford University, the

 University of Washington, and Graphika.466 All three are involved in the Election Integrity

 Partnership (“EIP”).467

           When the EIP was starting up, CISA interns came up with the idea of having some

 communications with the EIP. CISA began having communications with the EIP, and CISA

 connected the EIP with the Center for Internet Security (“CIS”). The CIS is a CISA-funded, non-

 profit that channels reports of disinformation from state and local government officials to social-

 media platforms. The CISA interns who originated the idea of working with the EIP also worked

 for the Stanford Internet Observatory, another part of the EIP. CISA had meetings with Stanford

 Internet Observatory officials, and eventually both sides decided to work together.468 The “gap”




 462
     [Id. at 36–37]
 463
     [Id. at 39]
 464
     [Id. at 39–41]
 465
     [Id. at 41]
 466
     [Id. at 46, 48]
 467
     [Id. at 48]
 468
     [Id. at 49–52]

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 that the EIP was designed to fill concerned state and local officials’ lack of resources to monitor

 and report on disinformation that affects their jurisdictions.469

          (6)         The EIP continued to operate during the 2022 election cycle. At the beginning of

 the election cycle, the EIP gave Scully and Hale, on behalf of CISA, a briefing in May or June of

 2022.470 In the briefing, DiResta walked through what the plans were for 2022 and some lessons

 learned from 2020. The EIP was going to support state and local election officials in 2022.

          (7)         The CIS is a non-profit that oversees the Multi-State Information Sharing and

 Analysis Center (“MS-ISAC”) and the Election Infrastructure Information Sharing and Analysis

 Center (“EI-ISAC”). Both MS-ISAC and EI-ISAC are organizations of state and/or local

 government officials created for the purpose of information sharing.471

          CISA funds the CIS through a series of grants. CISA also directs state and local officials

 to the CIS as an alternative route to “switchboarding.”472 CISA connected the CIS with the EIP

 because the EIP was working on the same mission,473 and it wanted to make sure they were all

 connected. Therefore, CISA originated and set up collaborations between local government

 officials and CIS and between the EIP and CIS.

          (8)         CIS worked closely with CISA in reporting misinformation to social-media

 platforms. CIS would receive the reports directly from election officials and would forward this

 information to CISA. CISA would then forward the information to the applicable social-media

 platforms. CIS later began to report the misinformation directly to social-media platforms.474




 469
     [Id. at 57]
 470
     [Id. at 53–54]
 471
     [Id. at 59–61]
 472
     [Id. at 61–62]
 473
     [Id. at 62–63]
 474
     [Id. at 63–64]

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         The EIP also reported misinformation to social-media platforms. CISA served as a

 mediating role between CIS and EIP to coordinate their efforts in reporting misinformation to the

 platforms. There were also direct email communications between the EIP and CISA about

 reporting misinformation.475 When CISA reported misinformation to social-media platforms,

 CISA would generally copy the CIS, who, as stated above, was coordinating with the EIP.476

         (9)     Stamos and DiResta of the Stanford Internet Observatory briefed Scully about the

 EIP report, “The Long Fuse,”477 in late Spring or early Summer of 2021. Scully also reviewed

 copies of that report. Stamos and DiResta also have roles in CISA: DiResta serves as “Subject

 Matter Expert” for CISA’s Cybersecurity Advisory Committee, MDM Subcommittee, and Stamos

 serves on the CISA Cybersecurity Advisory Committee, as does Kate Starbird (“Starbird”) of the

 University of Washington.478 Stamos identified the EIP’s “partners in government” as CISA, DHS,

 and state and local officials.479 Also, according to Stamos, the EIP targeted “large following

 political partisans who were spreading misinformation intentionally.”480

         (10)    CISA’s Masterson was also involved in communicating with the EIP.481 Masterson

 and Scully questioned EIP about their statements on election-related information. Sanderson left

 CISA in January 2021, was a fellow at the Stanford Internet Observatory, and began working for

 Microsoft in early 2022.482




 475
     [Id. at 63–66]
 476
     [Id. at 67–68]
 477
     [Doc. 209-2]
 478
     [Doc. No. 209-1, at 72, 361; Doc. No. 212-36 at 4 (Jones Deposition-SEALED DOCUMENT)]
 479
     [Doc. No. 209-4 at 4]
 480
     [Scully depo. Exh. at l7]
 481
     [Doc. No. 209-1 at 76]
 482
     [Id. at 88–89]

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         (11)     CISA received misinformation principally from two sources: the CIS directly from

 state and local election officials; and information sent directly to a CISA employee.483 CISA shared

 information with the EIP and the CIS.484

         (12)     CISA did not do an analysis to determine what percentage of misinformation was

 “foreign derived.” Therefore, CISA forwards reports of information to social-media platforms

 without determining whether they originated from foreign or domestic sources.485

         (13)     The Virality Project was created by the Stanford Internet Observatory to mimic the

 EIP for COVID.486 As previously stated, Stamos and DiResta of the Stanford Internet Observatory

 were involved in the Virality Project. Stamos gave Scully an overview of what they planned to do

 with the Virality Project, similar to what they did with the EIP.487 Scully also had conversations

 with DiResta about the Virality Project.488 DiResta noted the Virality Project was established on

 the heels of the EIP, following its success in order to support government health officials’ efforts

 to combat misinformation targeting COVID-19 vaccines.489

         (14)     According to DiResta, the EIP was designed to “get around unclear legal

 authorities, including very real First Amendment questions” that would arise if CISA or other

 government agencies were to monitor and flag information for censorship on social media.490

         (15)     The CIS coordinated with the EIP regarding online misinformation and reported it

 to CISA. The EIP was using a “ticketing system” to track misinformation.491 Scully asked the

 social-media platforms to report back on how they were handling reports of misinformation and


 483
     [Id. at 119–20]
 484
     [Id. at 120–21]
 485
     [Id. at 122–23]
 486
     [Id. at 134]
 487
     [Id. at 134–36]
 488
     [Id. at 139]
 489
     [Doc. No. 209-5 at 7]
 490
     [Id. at 4]
 491
     [Doc. No. 209-1 at 159]

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 disinformation received from CISA.492 CISA maintained a “tracking spreadsheet” of its

 misinformation reports to social-media platforms during the 2020 election cycle.493

         (16)     At least six members of the MDM team, including Scully, “took shifts” in the

 “switchboarding” operation reporting disinformation to social-media platforms; the others were

 Chad Josiah (“Josiah”), Rob Schaul (“Schaul”), Alex Zaheer (“Zaheer”), John Stafford

 (“Stafford”), and Pierce Lowary (“Lowary”). Lowary and Zaheer were simultaneously serving as

 interns for CISA and working for the Stanford Internet Observatory, which was the operating the

 EIP.494 Therefore, Zaheer and Lowary were simultaneously engaged in reporting misinformation

 to social-media platforms on behalf of both CISA and the EIP.495 Zaheer and Lowary were also

 two of the four Stanford interns who came up with the idea for the EIP.496

         (17)     The CISA switchboarding operation ramped up as the election drew near. Those

 working on the switchboarding operation worked tirelessly on election night.497 They would also

 “monitor their phones” for disinformation reports even during off hours so that they could forward

 disinformation to the social-media platforms.498

         (18)     As an example, Zaheer, when switchboarding for CISA, forwarded supposed

 misinformation to CISA’s reporting system because the user had claimed “mail-in voting is

 insecure” and that “conspiracy theories about election fraud are hard to discount.”499

         CISA’s tracking spreadsheet contains at least eleven entries of switchboarding reports of

 misinformation that CISA received “directly from EIP” and forwarded to social-media platforms



 492
     [Doc. No. 209-6 at 11]
 493
     [Doc. No. 209-1 at 165–66]
 494
     [Id. at 166–68, 183]
 495
     [Id.]
 496
     [Id. at 171, 184–85]
 497
     [Id. at 174–75]
 498
     [Id. at 75]
 499
     [Doc. No. 209-6 at 61–62]

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 to review under their policies.500 One of these reports was reported to Twitter for censorship

 because EIP “saw an article on the Gateway Pundit” run by Plaintiff Jim Hoft.501

           (19)   Scully admitted that CISA engaged in “informal fact checking” to determine

 whether a claim was true or not.502 CISA would do its own research and relay statements from

 public officials to help debunk postings for social-media platforms. In debunking information,

 CISA apparently always assumed the government official was a reliable source; CISA would not

 do further research to determine whether the private citizen posting the information was correct or

 not.503

           (20)   CISA’s switchboarding activities reported private and public postings.504 Social-

 media platforms responded swiftly to CISA’s reports of misinformation.505

           (21)   CISA, in its interrogatory responses, disclosed five sets of recurring meetings with

 social-media platforms that involved discussions of misinformation, disinformation, and/or

 censorship of speech on social media.506 CISA also had bilateral meetings between CISA and the

 social-media companies.507

           (22)   Scully does not recall whether “hack and leak” or “hack and dump” operations were

 raised at the Industry meetings, but does not deny it either.508 However, several emails confirm

 that “hack and leak” operations were on the agenda for the Industry meeting on September 15,

 2020,509 and July 15, 2020.510


 500
     [Doc. No. 214-35 at 5–6, Column C]
 501
     [Id. at 4–5, Column F, Line 94]
 502
     CISA also became the “ministry of truth.”
 503
     [Doc. No. 209-1 at 220–22]
 504
     [Doc. No. 209-7 at 45–46]
 505
     [Doc. No. 209-1 at 291–94; 209–49]
 506
     [Doc. No. 209-9 at 38–40]
 507
     [Doc. No. 209-1 at 241]
 508
     [Id. at 236–37]
 509
     [Doc. No. 209-13 at 1]
 510
     [Doc. No. 209-14 at 16]

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         (23)     In the spring and summer of 2022, CISA’s Protentis requested that social-media

 platforms prepare a “one-page” document that sets forth their content-moderation rules511 that

 could then be shared with election officials—and which also included “steps for flagging or

 escalating MDM content” and how to report misinformation.512 Protentis referred to the working

 group (which included Facebook and CISA’s Hale) as “Team CISA.”513

         (24)     The Center for Internet Security continued to report misinformation to social-media

 platforms during the 2022 election cycle.514

         (25)     CISA has teamed up directly with the State Department’s Global Engagement

 Center (“GEC”) to seek review of social-media content.515 CISA also flagged for review parody

 and joke accounts.516 Social-media platforms report to CISA when they update their content-

 moderation policies to make them more restrictive.517 CISA publicly stated that it is expanding its

 efforts to fight disinformation-hacking in the 2024 election cycle.518

         (26)     A draft copy of the DHS’s “Quadrennial Homeland Security Review,” which

 outlines the department’s strategy and priorities in upcoming years, states that the department plans

 to target “inaccurate information” on a wide range of topics, including the origins of the COVID-

 19 pandemic, the efficacy of COVID-19 vaccines, racial justice, the United States’ withdrawal

 from Afghanistan, and the nature of the United States’ support of Ukraine.519




 511
     [Doc. No. 209-14]
 512
     [Doc. No. 209-15 at 41, 44–45]
 513
     [Doc. No. 209-15 at 39]
 514
     [Doc. No. 209-1 at 266]
 515
     [Doc. No. 209-15 at 1–2]
 516
     [Id. at 11–12]
 517
     [Id. at 9]
 518
     [Doc. No. 209-20 at 1–2]
 519
     [Doc. No. 209-23 at 1–4]

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         (27)     Scully also testified that CISA engages with the CDC and DHS to help them in

 their efforts to stop the spread of disinformation. The examples given were about the origins of the

 COVID-19 pandemic and Russia’s invasion of Ukraine.520

         (28)     On November 21, 2021, CISA Director Easterly reported that CISA is “beefing up

 its misinformation and disinformation team in wake of a diverse presidential election a

 proliferation of misleading information online.”521 Easterly stated she was going to “grow and

 strengthen” CISA’s misinformation and disinformation team. She further stated, “We live in a

 world where people talk about alternative facts, post-truth, which I think is really, really dangerous

 if people get to pick their own facts.”522

         Easterly also views the word “infrastructure” very expansively, stating, “[W]e’re in the

 business of protecting critical infrastructure, and the most critical is our ‘cognitive

 infrastructure.’”523 Scully agrees with the assessment that CISA has an expansive mandate to

 address all kinds of misinformation that may affect control and that could indirectly cause national

 security concerns.524

         On June 22, 2022, CISA’s cybersecurity Advisory Committee issued a Draft Report to the

 Director, which broadened “infrastructure” to include “the spread of false and misleading

 information because it poses a significant risk to critical function, like elections, public health,

 financial services and emergency responses.”525




 520
     [Doc. No. 209-1 at 323–25]
 521
     [Doc. No. 209-1 at 335–36]
 522
     [Doc. No. 209-18 at 1–2]
 523
     [Id.]
 524
     [Doc. No. 209-1 at 341]
 525
     [Doc. No. 209-25 at 1]

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         (29)     In September 2022, the CIS was working on a “portal” for government officials to

 report election-related misinformation to social-media platforms.526 That work continues today.527

       F. State Department Defendants528

         1. The GEC

         (1)      Daniel Kimmage is the Principal Deputy Coordinator of the State Department’s

 Global Engagement Center (“GEC”).529 The GEC’s front office and senior leadership meets with

 social-media platforms every few months, sometimes quarterly.530 The meetings focus on the

 “tools and techniques” of stopping the spread of disinformation on social media, but they rarely

 discuss specific content that is posted.531 Additionally, GEC has a “Technology Engagement

 Team” (“TET”) that also meets with social-media companies. The TET meets more frequently

 than the GEC.532

         (2)      Kimmage recalls two meetings with Twitter. At these meetings, the GEC would

 bring between five and ten people including Kimmage, one or more deputy coordinators, and team

 chiefs from the GEC and working-level staff with relevant subject-matter expertise.533 The GEC

 staff would meet with Twitter’s content-mediation teams, and the GEC would provide an overview

 of what it was seeing in terms of foreign propaganda and information. Twitter would then discuss

 similar topics.534




 526
     [Doc. No. 210-22]
 527
     [Id.]
 528
     The State Department Defendants consist of the United States Department of State, Leah Bray (“Bray”), Daniel
 Kimmage (“Kimmage’), and Alex Frisbie (“Frisbie”).
 529
     Kimmage’s deposition was taken and filed as [Doc. No. 208-1].
 530
     [Doc. No. 208-1 at 29, 32]
 531
     [Id. at 30]
 532
     [Id. at 37]
 533
     [Id. at 130–31]
 534
     [Id. at 133–36]

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          (3)      The GEC’s senior leadership also had similar meetings with Facebook and Google.

 Similar numbers of people were brought to these meetings by GEC, and similar topics were

 discussed. Facebook and Google also brought their content-moderator teams.535

          (4)      Samaruddin Stewart (“Stewart”) was the GEC’s Senior Advisor who was a

 permanent liaison in Silicon Valley for the purpose of meeting with social-media platforms about

 disinformation. Stewart set up a series of meetings with LinkedIn to discuss “countering

 disinformation” and to explore shared interests and alignment of mutual goals regarding the

 challenge.536

          (5)      The GEC also coordinated with CISA and the EIP. Kimmage testified that the GEC

 had a “general engagement” with the EIP.537

          (6)      On October 17, 2022, at an event at Stanford University, Secretary of State Anthony

 Blinken mentioned the GEC and stated that the State Department was “engaging in collaboration

 and building partnerships” with institutions like Stanford to combat the spread of propaganda.538

 Specifically, he stated, “We have something called the Global Engagement Center that’s working

 on this every single day.”539

          (7)      Like CISA, the GEC works through the CISA-funded EI-ISAC and works closely

 with the Stanford Internet Observatory and the Virality Project.




 535
     [Id. at 141–43]
 536
     [Id. at 159–60]
 537
     [Id. at 214–215]. The details surrounding the EIP are described in II 6(5)(6)(7)(8)(9)(10)(15) and (16). Scully Ex.
 1 details EIPS work carried out during the 2020 election.
 538
     [Doc. No. 208-17 at 5]
 539
     [Id.]

                                                          79
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          2. The EIP

          (8)      The EIP is partially-funded by the United States National Science Foundation

 through grants.540 Like its work with CISA, the EIP, according to DiResta, was designed to “get

 around unclear legal authorities, including very real First Amendment questions” that would arise

 if CISA or other government agencies were to monitor and flag information for censorship on

 social media.541

          The EIP’s focus was on understanding misinformation and disinformation in the social-

 media landscape, and it successfully pushed social-media platforms to adopt more restrictive

 policies about election-related speech in 2020.542

          The government agencies that work with and submit alleged disinformation to the EIP are

 CISA, the State Department Global Engagement Center, and the Elections Infrastructure

 Information Sharing and Analysis Center.543

          (9)      The EIP report further states that the EIP used a tiered model based on “tickets”

 collected internally and from stakeholders. The tickets also related to domestic speech by

 American citizens,544 including accounts belonging to media outlets, social-media influencers, and

 political figures.545 The EIP further emphasized that it wanted greater access to social-media

 platform’s internal data and recommended that the platforms increase their enforcement of

 censorship policies.546




 540
     [Id. at 17]
 541
     [Doc. No. 209-5 at 4]
 542
     [Doc. No. 209-5, Exh. 1; Ex. 4 at 7, Audio Tr. 4]
 543
     [Doc. No. 209-2 at 30]
 544
     [Id. at 11]
 545
     [Id. at 12]
 546
     [Id. at 14]

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          The EIP was formed on July 26, 2020, 100 days before the November 2020 election.547 On

 July 9, 2020, the Stanford Internet Observatory presented the EIP concept to CISA. The EIP team

 was led by Research Manager DiResta, Director Stamos and the University of Washington’s

 Starbird.548

          (10)        EIP’s managers both report misinformation to platforms and communicate with

 government partners about their misinformation reports.549 EIP team members were divided into

 tiers of on-call shifts. Each shift was four hours long and led by one on-call manager. The shifts

 ranged from five to twenty people. Normal scheduled shifts ran from 8:00 a.m. to 8:00 p.m.,

 ramping up to sixteen to twenty hours a day during the week of the election.550

          (11)        Social-media platforms that participated in the EIP were Facebook, Instagram,

 Google/YouTube, Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.551

          (12)        In the 2020 election cycle, the EIP processed 639 “tickets,” 72% of which were

 related to delegitimizing the election results.552 Overall, social-media platforms took action on

 35% of the URLs reported to them.553 One “ticket” could include an entire idea or narrative and

 was not always just one post.554 Less than 1% of the tickets related to “foreign interference.”555

          (13)        The EIP found that the Gateway Pundit was one of the top misinformation websites,

 allegedly involving the “exaggeration” of the input of an issue in the election process. The EIP did




 547
     [Id. at 20]
 548
     [Id.]
 549
     [Id. at 27–28]
 550
     [Id. at 28]
 551
     [Id. at 35]
 552
     [Id. at 45]
 553
     [Id. at 58]
 554
     [Id. at 27]
 555
     [Id. at 53]

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 not say that the information was false.556 The EIP Report cites The Gateway Pundit forty-seven

 times.557

         (14)     The GEC was engaging with the EIP and submitted “tickets.”558

         (15)     The tickets and URLs encompassed millions of social-media posts, with almost

 twenty-two million posts on Twitter alone.559 The EIP sometimes treats as “misinformation”

 truthful reports that the EIP believes “lack broader context.”560

         (16)     The EIP stated “influential accounts on the political right…were responsible for the

 most widely spread of false or misleading information in our data set.”561 Further, the EIP stated

 the twenty-one most prominent report spreaders on Twitter include political figures and

 organizations, partisan media outlets, and social-media stars. Specifically, the EIP stated, “All 21

 of the repeat spreaders were associated with conservative or right-wing political views and support

 of President Trump.”562 The Gateway Pundit was listed as the second-ranked “Repeat Spreader of

 Election Misinformation” on Twitter. During the 2020 election cycle, the EIP flagged The

 Gateway Pundit in twenty-five incidents with over 200,000 retweets.563 The Gateway Pundit

 ranked above Donald Trump, Eric Trump, Breitbart News, and Sean Hannity.564

         The Gateway Pundit’s website was listed as the domain cited in the most “incidents”; its

 website content was tweeted by others in 29,209 original tweets and 840,740 retweets. 565 The

 Gateway Pundit ranked above Fox News, the New York Post, the New York Times, and the


 556
     [Id. at 51]
 557
     [Id. at 51, 74, 76, 101, 103, 110, 112, 145, 150–51, 153, 155–56, 172, 175, 183, 194–95, 206–09, 211–12, 214–16,
 and 226]
 558
     [Id. at 60]
 559
     [Id. at 201]
 560
     [Id. at 202]
 561
     [Id. at 204–05]
 562
     [Id. at 204–05]
 563
     [Id.]
 564
     [Id. at 246]
 565
     [Id. at 207]

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 Washington Post.566 The EIP report also notes that Twitter suspended The Gateway Pundit’s

 account on February 6, 2021, and it was later de-platformed entirely.567

          (17)     The EIP notes that “during the 2020 election, all of the major platforms made

 significant changes to election integrity policies—policies that attempted to slow the spread of

 specific narratives and tactics that could ‘potentially mislead or deceive the public.’” 568 The EIP

 was not targeting foreign disinformation, but rather “domestic speakers.”569 The EIP also indicated

 it would continue its work in future elections.570

          (18)     The EIP also called for expansive censorship of social-media speech into other

 areas such as “public health.”571

          (19)     The EIP stated that it “united government, academic, civil society, and industry,

 analyzing across platforms to address misinformation in real time.”572

          (20)     When asked whether the targeted information was domestic, Stamos answered, “It

 is all domestic, and the second point on the domestic, a huge part of the problem is well-known

 influences… you… have a relatively small number of people with very large followings who have

 the ability to go and find a narrative somewhere, pick it out of obscurity and … harden it into these

 narratives.”573

          Stamos further stated:

                   We have set up this thing called the Election Integrity Partnership,
                   so we went and hired a bunch of students. We’re working with the
                   University of Washington, Graphika, and DFR Lab and the vast,
                   vast majority we see we believe is domestic. And so, I think a much
                   bigger issue for the platforms is elite disinformation. The staff that

 566
     [Id.]
 567
     [Id. at 224]
 568
     [Id. at 229]
 569
     [Id. at 243–44]
 570
     [Id. at 243–44]
 571
     [Id. at 251]
 572
     [Id. at 259]
 573
     [Doc. No. 276-1 at 12]

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                 is being driven by people who are verified that are Americans who
                 are using their real identities.574

         (21)    Starbird of the University of Washington, who is on a CISA subcommittee and an

 EIP participant, also verified the EIP was targeting domestic speakers, stating:

                 Now fast forward to 2020, we saw a very different story around
                 disinformation in the U.S. election. It was largely domestic coming
                 from inside the United States… Most of the accounts perpetrating
                 this…. they’re authentic accounts. They were often blue check and
                 verified accounts. They were pundits on cable television shows that
                 were who they said they were … a lot of major spreaders were blue
                 check accounts, and it wasn’t entirely coordinated, but instead, it
                 was largely sort of cultivated and even organic in places with
                 everyday people creating and spreading disinformation about the
                 election.575

         3. The Virality Project

         (22)    The Virality Project targeted domestic speakers’ alleged disinformation relating to

 the COVID-19 vaccines.576 The Virality Project’s final report, dated April 26, 2022, lists DiResta

 as principal Executive Director and lists Starbird and Masterson as contributors.577

         According to the Virality Project, “vaccine mis-and disinformation was largely driven by

 a cast of recuring [sic] actors including long-standing anti-vaccine influencers and activists,

 wellness and lifestyle influence, pseudo medical influencers, conspiracy theory influencers, right-

 leaning political influencers, and medical freedom influencers.”578

         The Virality Project admits the speech it targets is primarily domestic, stating “Foreign …

 actor’s reach appeared to be far less than that of domestic actors.”579 The Virality Project also calls

 for more aggressive censorship of COVID-19 misinformation, calls for more federal agencies to


 574
     [Id.]
 575
     [Doc. No. 276-1 at 42]
 576
     [Doc. No. 209-3]; Memes, Magnets, Microchips, Narrative Dynamics Around COVID-19 Vaccines.
 577
     [Doc. No. 209-3 at 4]
 578
     [Id. at 9]
 579
     [Id.]

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 be involved through “cross-agency collaboration,”580 and calls for a “whole-of-society

 response.”581 Just like the EIP, the Virality Project states that it is “multistakeholder collaboration”

 that includes “government entities” among its key stakeholders.582 The Virality Project targets

 tactics that are not necessarily false, including hard-to-verify content, alleged authorization

 sources, organized outrage, and sensationalized/misleading headlines.583

              (23)    Plaintiff Hines of the Health Freedom Louisiana was flagged by the Virality Project

 to be a “medical freedom influencer” who engages in the “tactic” of “organized outrage” because

 she created events or in-person gatherings to oppose mask and vaccine mandates in Louisiana.584

              (24) The Virality Project also acknowledges that government “stakeholders,” such as

 “federal health agencies” and “state and local public health officials,” were among those that

 “provided tips” and “requests to access specific incidents and narratives.”585

              (25)    The Virality Project also targeted the alleged COVID-19 misinformation for

 censorship before it could go viral. “Tickets also enabled analysts to qualify tag platform or health

 sector partners to ensure their situational awareness of high-engagement material that appeared to

 be going viral, so that those partners could determine whether something might merit a rapid public

 or on-platform response.”586

              (26)    The Virality Project flagged the following persons and/or organizations as

 spreaders of misinformation:

         i.      Jill Hines and Health Freedom of Louisiana;587
        ii.      One America News;588

 580
     [Id. at 12]
 581
     [Id.]
 582
     [Id. at 17]
 583
     [Id. at 19]
 584
     [Id. at 9, 19]
 585
     [Id. at 24]
 586
     [Id. at 37]
 587
     [Id. at 59]
 588
     [Id. at 60]

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        iii.     Breitbart News;589
         iv.     Alex Berenson;590
          v.     Tucker Carlson;591
         vi.     Fox News;592
        vii.     Candace Owens;593
       viii.     The Daily Wire;594
         ix.     Robert F. Kennedy, Jr.;595
          x.     Dr. Simone Gold and America’s Frontline Doctors; and596
         xi.     Dr. Joyce Mercula.597

              (27)   The Virality Project recommends that the federal government implement a

 Misinformation and Disinformation Center of Excellence, housed within the federal government,

 which would centralize expertise on mis/disinformation within the federal government at CISA.598

       III.      LAW AND ANALYSIS

         A. Preliminary Injunction Standard

              An injunction is an extraordinary remedy never awarded of right. Benisek v. Lamone, 138

 U.S. 1942, 1943 (2018). In each case, the courts must balance the competing claims of injury and

 must consider the effect on each party of the granting or withholding of the requested relief. Winter

 v. Nat. Res. Def. Council, Inc., 555 U. S. 7, 24, 129 S. Ct. 365 (2008).

              The standard for an injunction requires a movant to show: (1) the substantial likelihood of

 success on the merits; (2) that he is likely to suffer irreparable harm in the absence of an injunction;

 (3) that the balance of equities tips in his favor; and (4) that an injunction is in the public interest.

 Benisek, 138 U.S. at 1944. The party seeking relief must satisfy a cumulative burden of proving



 589
     [Id.]
 590
     [Id. at 54, 57, 49, 50]
 591
     [Id. at 57]
 592
     [Id. at 91]
 593
     [Id. at 86, 92]
 594
     [Id.]
 595
     [Id.]
 596
     [Id. at 87–88]
 597
     [Id. at 87]
 598
     [Id. at 150]

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 each of the four elements enumerated before an injunction can be granted. Clark v. Prichard, 812

 F.2d 991, 993 (5th Cir. 1987). None of the four prerequisites has a quantitative value. State of Tex.

 v. Seatrain Int’l, S.A., 518 F.2d 175, 180 (5th Cir. 1975).

      B. Analysis

      As noted above, Plaintiffs move for a preliminary injunction against Defendants’ alleged

 violations of the Free Speech Clause of the First Amendment. Plaintiffs assert that they are likely

 to succeed on the merits of their First Amendment claims because Defendants have significantly

 encouraged and/or coerced social-media companies into removing protected speech from social-

 media platforms. Plaintiffs also argue that failure to grant a preliminary injunction will result in

 irreparable harm because the alleged First Amendment violations are continuing and/or there is a

 substantial risk that future harm is likely to occur. Further, Plaintiffs maintain that the equitable

 factors and public interest weigh in favor of protecting their First Amendment rights to freedom

 of speech. Finally, Plaintiffs move for class certification under Federal Rule of Civil Procedure 23.

      In response, Defendants maintain that Plaintiffs are unlikely to succeed on the merits for a

 myriad of reasons. Defendants also maintain that Plaintiffs lack Article III standing to bring the

 claims levied herein, that Plaintiffs have failed to show irreparable harm because the risk of future

 injury is low, and that the equitable factors and public interests weigh in favor of allowing

 Defendants to continue enjoying permissible government speech.

      Each argument will be addressed in turn below.

        1. Plaintiffs’ Likelihood of Success on the Merits

        For the reasons explained herein, the Plaintiffs are likely to succeed on the merits of their

 First Amendment claim against the White House Defendants, Surgeon General Defendants, CDC

 Defendants, FBI Defendants, NIAID Defendants, CISA Defendants, and State Department



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 Defendants. In ruling on a motion for Preliminary Injunction, it is not necessary that the applicant

 demonstrate an absolute right to relief. It need only establish a probable right. West Virginia

 Highlands Conservancy v. Island Creek Coal Co., 441 F.2d 232 (4th Cir. 1971). The Court finds

 that Plaintiffs here have done so.

                            a. Plaintiffs’ First Amendment Claims

          The Free Speech Clause prohibits only governmental abridgment of speech. It does not

 prohibit private abridgment of speech. Manhattan Community Access Corporation v. Halleck, 139

 S. Ct. 1921, 1928 (2019). The First Amendment, subject only to narrow and well-understood

 exceptions, does not countenance governmental control over the content of messages expressed

 by private individuals. Turner Broadcasting System, Inc. v. F.C.C., 512 U.S. 622, 641 (1994). At

 the heart of the First Amendment lies the principle that each person should decide for himself or

 herself the ideas and beliefs deserving of expression, consideration, and adherence. Id.

 Government action, aimed at the suppression of particular views on a subject that discriminates on

 the basis of viewpoint, is presumptively unconstitutional. The First Amendment guards against

 government action “targeted at specific subject matter,” a form of speech suppression known as

 “content-based discrimination.” National Rifle Association of America v. Cuomo, 350 F. Supp. 3d

 94, 112 (N.D. N.Y. 2018). The private party, social-media platforms are not defendants in the

 instant suit, so the issue here is not whether the social-media platforms are government actors,599

 but whether the government can be held responsible for the private platforms’ decisions.

          Viewpoint discrimination is an especially egregious form of content discrimination. The

 government must abstain from regulating speech when the specific motivating ideology or the

 perspective of the speaker is the rationale for the restriction. Rosenberger v. Rectors and Visitors


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   This is a standard that requires the private action to be “fairly attributable to the state.” Lugar v. Edmondson Oil
 Co., 457 U.S. 922 (1982).

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 of University of Virginia, 515 U.S. 819, 829 (1995). Strict scrutiny is applied to viewpoint

 discrimination. Simon & Schuster, Inc. v. Members of the New York State Crime Victim’s Board,

 505 U.S. 105 (1991). The government may not grant the use of a forum to people whose views it

 finds acceptable, but deny use to those wishing to express less favored or more controversial views.

 Police Department of Chicago v. Moseley, 408 U.S. 92, 96 (1972).

        If there is a bedrock principal underlying the First Amendment, it is that the government

 may not prohibit the expression of an idea simply because society finds the idea itself offensive or

 disagreeable. Matal v. Tam, 137 S. Ct. 1744, 1763 (2017); see also R.A.V. v. City of St. Paul, 505

 U.S. 377 (1996). The benefit of any doubt must go to protecting rather than stifling speech.

 Citizens United v. Federal Election Commission, 130 S. Ct. 876, 891 (2010).

                                i. Significant Encouragement and Coercion

        To determine whether Plaintiffs are substantially likely to succeed on the merits of their

 First Amendment free speech claim, Plaintiffs must prove that the Federal Defendants either

 exercised coercive power or exercised such significant encouragement that the private parties’

 choice must be deemed to be that of the government. Additionally, Plaintiffs must prove the speech

 suppressed was “protected speech.” The Court, after examining the facts, has determined that some

 of the Defendants either exercised coercive power or provided significant encouragement, which

 resulted in the possible suppression of Plaintiffs’ speech.

        The State (i.e., the Government) can be held responsible for a private decision only when

 it has exercised coercive power or has provided such “significant encouragement,” either overt or

 covert, that the choice must be deemed to be that of the State. Mere approval or acquiescence in

 the actions of a private party is not sufficient to hold the state responsible for those actions. Blum

 v. Yaretsky, 457 U.S. 991, 1004 (1982); Rendell-Baker v. Kohn, 457 U.S. 830, 1004–05 (1982);



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 National Broadcasting Co. Inc v. Communications Workers of America, Afl-Cio, 860 F.2d 1022

 (11th Cir. 1988); Focus on the Family v. Pinellas Suncoast Transit Authority, 344 F.3d 1213 (11th

 Cir. 2003); Brown v. Millard County, 47 Fed. Appx. 882 (10th Cir. 2002).

        In evaluating “significant encouragement,” a state may not induce, encourage, or promote

 private persons to accomplish what it is constitutionally forbidden to accomplish. Norwood v.

 Harrison, 413 U.S. at 465. Additionally, when the government has so involved itself in the private

 party’s conduct, it cannot claim the conduct occurred as a result of private choice, even if the

 private party would have acted independently. Peterson v. City of Greenville, 373 U.S. at 247–48.

 Further, oral, or written statements made by public officials could give rise to a valid First

 Amendment claim where the comments of a governmental official can reasonably be interpreted

 as intimating that some form of punishment or adverse regulatory action will follow the failure to

 accede to the official’s request. National Rifle Association of America, 350 F. Supp. 3d at 114.

 Additionally, a public official’s threat to stifle protected speech is actionable under the First

 Amendment and can be enjoined, even if the threat turns out to be empty. Backpage.com, LLC v.

 Dart, 807 F. 3d at 230–31.

        The Defendants argue that the “significant encouragement” test for government action has

 been interpreted to require a higher standard since the Supreme Court’s ruling in Blum v. Yaretsky,

 457 U.S. 991 (1982). Defendants also argue that Plaintiffs are unable to meet the test to show

 Defendants “significantly encouraged” social-media platforms to suppress free speech. Defendants

 further maintain Plaintiffs have failed to show “coercion” by Defendants to force social-media

 companies suppress protected free speech. Defendants also argue they made no threats but rather

 sought to “persuade” the social-media companies. Finally, Defendants maintain the private social-

 media companies made independent decisions to suppress certain postings.



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         In Blum, the Supreme Court held the Government “can be held responsible for a private

 decision only when it has exercised coercive power or has provided such significant

 encouragement, either overt or covert, that the choice in law must be deemed to be that of the

 state.” Blum, 457 U.S. at 1004. Defendants argue that the bar for “significant encouragement” to

 convert private conduct into state action is high. Defendants maintain that Blum’s language does

 not mean that the Government is responsible for private conduct whenever the Government does

 more than adopt a passive position toward it. Skinner v. Ry. Labor Execs. Ass’n., 489 U.S. 602,

 615 (1989).

         Defendants point out this is a question of degree: whether a private party should be deemed

 an agent or instrument of the Government necessarily turns on the “degree” of the Government’s

 participation in the private party’s activities. 489 U.S. at 614. The dispositive question is “whether

 the State has exercised coercive power or has provided such significant encouragement that the

 choice must in law be deemed to be that of the State.” VDARE Fund v. City of Colo. Springs, 11

 F.4th 1151, 1161 (10th Cir. 2021).

         The Supreme Court found there was not enough “significant encouragement” by the

 Government in American Manufacturers Mutual Ins. Co. v. Sullivan, 526 U.S. 40 (1999). This

 case involved the constitutionality of a Pennsylvania worker’s compensation statute that

 authorized, but did not require, insurers to withhold payments for the treatment of work-related

 injuries pending a “utilization” review of whether the treatment was reasonable and necessary. The

 plaintiffs’ argument was that by amending the statute to grant the utilization review (an option they

 previously did not have), the State purposely encouraged insurers to withhold payments for

 disputed medical treatment. The Supreme Court found this type of encouragement was not enough

 for state action.



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          The United States Court of Appeal for the Fifth Circuit has also addressed the issue of

 government coercion or encouragement. For example, in La. Div. Sons of Confederate Veterans v.

 City of Natchitoches, 821 F. App’x 317 (5th Cir. 2020), the Sons of Confederate Veterans applied

 to march in a city parade that was coordinated by a private business association. The Mayor sent

 a letter asking the private business to prohibit the display of the Confederate battle flag. After the

 plaintiff’s request to march in the parade was denied, the plaintiff filed suit and argued the Mayor’s

 letter was “significant encouragement” to warrant state action. The Fifth Circuit found the letter

 was not “significant encouragement.”

          In determining whether the Government’s words or actions could reasonably be interpreted

 as an implied threat, courts examine a number of factors, including: (1) the Defendant’s regulatory

 or other decision-making authority over the targeted entities; (2) whether the government actors

 actually exercised regulatory authority over the targeted entities; (3) whether the language of the

 alleged threatening statements could reasonably be perceived as a threat; and (4) whether any of

 the targeted entities reacted in a manner evincing the perception of implicit threat. Id. at 114. As

 noted above, a public official’s threat to stifle protected speech is actionable under the First

 Amendment and can be enjoined, even if the threat turns out to be empty. Backpage.com, LLC v.

 Dart, 807 F.3d 229, 230-31 (7th Cir. 2015); Okwedy v. Molinari, 333 F.3d 339, 340-41 (2d. Cir.

 2003).

          The closest factual case to the present situation is O’Handley v. Weber, 62 F.4th 1145 (9th

 Cir. 2023). In O’Handley, the plaintiff maintained that a California agency was responsible for the

 moderation of his posted content. The plaintiff pointed to the agency’s mission to prioritize

 working closely with social-media companies to be “proactive” about misinformation and the

 flagging of one of his Twitter posts as “disinformation.” The Ninth Circuit rejected the argument



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 that the agency had provided “significant encouragement” to Twitter to suppress speech. In

 rejecting this argument, the Ninth Circuit stated the “critical question” in evaluating the

 “significant encouragement” theory is “whether the government’s encouragement is so significant

 that we should attribute the private party’s choice to the State…” Id. at 1158.

        Defendants cited many cases in support of their argument that Plaintiffs have not shown

 significant coercion or encouragement. See VDARE Found v. City of Colo. Springs, 11 F.4th 1151

 (10th Cir. 2021), cert. denied, 142 S. Ct. 1208 (2022) (city’s decision not to provide “support or

 resources” to plaintiff’s event was not “such significant encouragement” to transform a private

 venue’s decision to cancel the event into state action); S.H.A.R.K. v. Metro Park Serving Summit

 Cnty., 499 F.3d 553 (6th Cir. 2007) (government officials’ requests were “not the type of

 significant encouragement” that would render agreeing to those requests to be state action);

 Campbell v. PMI Food Equip, Grp., Inc., 509 F.3d 776 (6th Cir. 2007) (no state action where

 government entities did nothing more than authorize and approve a contract that provided tax

 benefits or incentives conditioned on the company opening a local plant); Gallagher v. Neil Young

 Freedom Concert, 49 F.3d 1442 (10th Cir. 1995) (payments under government contracts and the

 receipt of government grants and tax benefits are insufficient to establish a symbiotic relationship

 between the government and a private entity). Ultimately, Defendants contend that Plaintiffs have

 not shown that the choice to suppress free speech must in law be deemed to be that of the

 Government. This Court disagrees.

        The Plaintiffs are likely to succeed on the merits on their claim that the United States

 Government, through the White House and numerous federal agencies, pressured and encouraged

 social-media companies to suppress free speech. Defendants used meetings and communications

 with social-media companies to pressure those companies to take down, reduce, and suppress the



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 free speech of American citizens. They flagged posts and provided information on the type of posts

 they wanted suppressed. They also followed up with directives to the social-media companies to

 provide them with information as to action the company had taken with regard to the flagged post.

 This seemingly unrelenting pressure by Defendants had the intended result of suppressing millions

 of protected free speech postings by American citizens. In response to Defendants’ arguments, the

 Court points out that this case has much more government involvement than any of the cases cited

 by Defendants, as clearly indicated by the extensive facts detailed above. If there were ever a case

 where the “significant encouragement” theory should apply, this is it.

        What is really telling is that virtually all of the free speech suppressed was “conservative”

 free speech. Using the 2016 election and the COVID-19 pandemic, the Government apparently

 engaged in a massive effort to suppress disfavored conservative speech. The targeting of

 conservative speech indicates that Defendants may have engaged in “viewpoint discrimination,”

 to which strict scrutiny applies. See Simon & Schuster, Inc., 505 U.S. 105 (1991).

        In addition to the “significant encouragement” theory, the Government may also be held

 responsible for private conduct if the Government exercises coercive power over the private party

 in question. Blum, 457 U.S. at 1004. Here, Defendants argue that not only must there be coercion,

 but the coercion must be targeted at specific actions that harmed Plaintiffs. Bantam Books v.

 Sullivan, 372 U.S. 58 (1963) (where a state agency threatened prosecution if a distributor did not

 remove certain designated books or magazines it distributed that the state agency had declared

 objectionable); see also Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015) (where a

 sheriff’s letter demanded that two credit card issuers prohibit the use of their credit cards to

 purchase any ads on a particular website containing advertisements for adult services); Okwedy v.




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 Molinari, 333 F.3d 339 (2d Cir. 2003) (per curium) (where a municipal official allegedly pressured

 a billboard company to take down a particular series of signs he found offensive).

         The Defendants further argue they only made requests to the social-media companies, and

 that the decision to modify or suppress content was each social-media company’s independent

 decision. However, when a state has so involved itself in the private party’s conduct, it cannot

 claim the conduct occurred as a result of private choice, even if the private party would have acted

 independently. Peterson v. City of Greenville, 373 U.S. 244, 247–248 (1963).

         Therefore, the question is not what decision the social-media company would have made,

 but whether the Government “so involved itself in the private party’s conduct” that the decision is

 essentially that of the Government. As exhaustedly listed above, Defendants “significantly

 encouraged” the social-media companies to such extent that the decision should be deemed to be

 the decisions of the Government. The White House Defendants and the Surgeon General

 Defendants additionally engaged in coercion of social-media companies to such extent that the

 decisions of the social-media companies should be deemed that of the Government. It simply

 makes no difference what decision the social-media companies would have made independently

 of government involvement, where the evidence demonstrates the wide-scale involvement seen

 here.

                                       (1) White House Defendants

         The Plaintiffs allege that by use of emails, public and private messages, public and private

 meetings, and other means, White House Defendants have “significantly encouraged” and

 “coerced” social-media platforms to suppress protected free speech on their platforms.




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         The White House Defendants acknowledged at oral arguments that they did not dispute the

 authenticity or the content of the emails Plaintiffs submitted in support of their claims.600 However,

 they allege that the emails do not show that the White House Defendants either coerced or

 significantly encouraged social-media platforms to suppress content of social-media postings.

 White House Defendants argue instead that they were speaking with social-media companies about

 promoting more accurate COVID-19 information and to better understand what action the

 companies were taking to curb the spread of COVID-19 misinformation.

         White House Defendants further argue they never demanded the social-media companies

 to suppress postings or to change policies, and the changes were due to the social-media

 companies’ own independent decisions. They assert that they did not make specific demands via

 the White House’s public statements and four “asks”601 of social-media companies.602 Defendants

 contend the four “asks” were “recommendations,” not demands. Additionally, Defendants argue

 President Biden’s July 16, 2021 “they’re killing people” comment was clarified on July 19, 2021,

 to reflect that President Biden was talking about the “Disinformation Dozen,” not the social-media

 companies.

         Although admitting White House employee Flaherty expressed frustration at times with

 social-media companies, White House Defendants contend Flaherty sought to better understand

 the companies’ policies with respect to addressing the spread of misinformation and hoped to find

 out what the Government could do to help. Defendants contend Flaherty felt such frustration




 600
     [Doc. No. 288 at 164–65]
 601
     The White House four “asks” are: (1) measure and publicly share the impact of misinformation on their platform;
 (2) create a robust enforcement strategy; (3) take faster action against harmful posts; and (4) promote quality
 information sources in their feed algorithm.
 602
     [Doc. No. 10-1 at 377–78]

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 because some of the things the social-media-companies told him were inconsistent with what

 others told him, compounded with the urgency of the COVID-19 pandemic.

           Explicit threats are an obvious form of coercion, but not all coercion need be explicit. The

 following illustrative specific actions by Defendants are examples of coercion exercised by the

 White House Defendants:

           (a)       “Cannot stress the degree to which this needs to be resolved immediately. Please
                     remove this account immediately.”603

           (b)       Accused Facebook of causing “political violence” by failing to censor false
                     COVID-19 claims.604

           (c)       “You are hiding the ball.”605

           (d)       “Internally we have been considering our options on what to do about it.”606

           (e)       “I care mostly about what actions and changes you are making to ensure you’re not
                     making our country’s vaccine hesitancy problem worse.”607

           (f)       “This is exactly why I want to know what “Reduction” actually looks like – if
                     “reduction” means pumping our most vaccine hesitance audience with Tucker
                     Carlson saying it does not work… then… I’m not sure it’s reduction.”608

           (g)       Questioning how the Tucker Carlson video had been “demoted” since there were
                     40,000 shares.609

           (h)       Wanting to know why Alex Berenson had not been kicked off Twitter because
                     Berenson was the epicenter of disinformation that radiated outward to the
                     persuadable public.610 “We want to make sure YouTube has a handle on vaccine
                     hesitancy and is working toward making the problem better. Noted that vaccine
                     hesitancy was a concern. That is shared by the highest (‘and I mean the highest’)
                     levels of the White House.”’611



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     [II. A.]
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     [Id. A. (5)]
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     [Id. A. (10)]
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     [Id.]
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     [Id. A. (11)]
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     [Id. A. (12)]
 609
     [Id. A. (15)]
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     [Id. A. (16)]
 611
     [Id. A. (17)]

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          (i)      After sending to Facebook a document entitled “Facebook COVID-19 Vaccine
                   Misinformation Brief, which recommends much more aggressive censorship by
                   Facebook. Flaherty told Facebook sending the Brief was not a White House
                   endorsement of it, but “this is circulating around the building and informing
                   thinking.”612

          (j)      Flaherty stated: “Not to sound like a broken record, but how much content is being
                   demoted, and how effective are you at mitigating reach and how quickly?”613

          (k)      Flaherty told Facebook: “Are you guys fucking serious” I want an answer on what
                   happened here and I want it today.”614

          (l)      Surgeon General Murthy stated: “We expect more from our technology companies.
                   We’re asking them to operate with greater transparency and accountability. We’re
                   asking them to monitor information more closely. We’re asking them to
                   consistently take action against misinformation super-spreaders on their
                   platforms.”615

          (m)      White House Press Secretary Psaki stated: “we are in regular touch with these
                   social-media platforms, and those engagements typically happen through members
                   of our senior staff, but also members of our COVID-19 team. We’re flagging
                   problematic posts for Facebook that spread disinformation. Psaki also stated one
                   of the White House’s “asks” of social-media companies was to “create a robust
                   enforcement strategy.”616

          (n)      When asked about what his message was to social-media platforms when it came
                   to COVID-19, President Biden stated: “they’re killing people. Look, the only
                   pandemic we have is among the unvaccinated and that – they’re killing people.”617

          (o)      Psaki stated at the February 1, 2022, White House Press Conference that the White
                   House wanted every social-media platform to do more to call out misinformation
                   and disinformation and to uplift accurate information.618

          (p)      “Hey folks, wanted to flag the below tweet and am wondering if we can get moving
                   on the process of having it removed. ASAP”619

          (q)      “How many times can someone show false COVID-19 claims before being
                   removed?”


 612
     [Id.]
 613
     [Id at A. (19)]
 614
     [Id.]
 615
     [Id.]
 616
     [Id.]
 617
     [Id.]
 618
     [Id. at A. (24)]
 619
     [Doc. No. 174-1 at 1]

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         (r)      “I’ve been asking you guys pretty directly over a series of conversations if the
                  biggest issues you are seeing on your platform when it comes to vaccine hesitancy
                  and the degree to which borderline content- as you define it, is playing a role.”620

         (s)      “I am not trying to play ‘gotcha’ with you. We are gravely concerned that your
                  service is one of the top drivers of vaccine hesitancy-period.”621

         (t)      “You only did this, however after an election that you helped increase skepticism
                  in and an insurrection which was plotted, in large part, on your platform.”622

         (u)      “Seems like your ‘dedicated vaccine hesitancy’ policy isn’t stopping the disinfo
                  dozen.” 623

         (v)      White House Communications Director, Kate Bedingfield’s announcement that
                  “the White House is assessing whether social-media platforms are legally liable for
                  misinformation spread on their platforms, and examining how misinformation fits
                  into the liability protection process by Section 230 of The Communication Decency
                  Act.”624

         These actions are just a few examples of the unrelenting pressure the Defendants exerted

 against social-media companies. This Court finds the above examples demonstrate that Plaintiffs

 can likely prove that White House Defendants engaged in coercion to induce social-media

 companies to suppress free speech.

         With respect to 47 U.S.C. § 230, Defendants argue that there can be no coercion for

 threatening to revoke and/or amend Section 230 because the call to amend it has been bipartisan.

 However, Defendants combined their threats to amend Section 230 with the power to do so by

 holding a majority in both the House of Representatives and the Senate, and in holding the

 Presidency. They also combined their threats to amend Section 230 with emails, meetings, press

 conferences, and intense pressure by the White House, as well as the Surgeon General Defendants.

 Regardless, the fact that the threats to amend Section 230 were bipartisan makes it even more


 620
     [Id. at 11]
 621
     [Id.]
 622
     [Doc. No. 174-1 at 17–20]
 623
     [Id. at 41]
 624
     [Doc. No. 10-1 at 477–78]

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  likely that Defendants had the power to amend Section 230. All that is required is that the

  government’s words or actions “could reasonably be interpreted as an implied threat.” Cuomo, 350

  F. Supp. 3d at 114. With the Supreme Court recently making clear that Section 230 shields social-

  media platforms from legal responsibility for what their users post, Gonzalez v. Google, 143 S. Ct.

  1191 (2023), Section 230 is even more valuable to these social-media platforms. These actions

  could reasonably be interpreted as an implied threat by the Defendants, amounting to coercion.

         Specifically, the White House Defendants also allegedly exercised significant

  encouragement such that the actions of the social-media companies should be deemed to be that

  of the government. The White House Defendants used emails, private portals, meetings, and other

  means to involve itself as “partners” with social-media platforms. Many emails between the White

  House and social-media companies referred to themselves as “partners.” Twitter even sent the

  White House a “Partner Support Portal” for expedited review of the White House’s requests. Both

  the White House and the social-media companies referred to themselves as “partners” and “on the

  same team” in their efforts to censor disinformation, such as their efforts to censor “vaccine

  hesitancy” spread. The White House and the social-media companies also demonstrated that they

  were “partners” by suppressing information that did not even violate the social-media companies’

  own policies.

         Further, White House Defendants constantly “flagged” for Facebook and other social-

  media platforms posts the White House Defendants considered misinformation. The White House

  demanded updates and reports of the results of their efforts to suppress alleged disinformation, and

  the social-media companies complied with these demands. The White House scheduled numerous

  Zoom and in-person meetings with social-media officials to keep each other informed about the

  companies’ efforts to suppress disinformation.



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         The White House Defendants made it very clear to social-media companies what they

  wanted suppressed and what they wanted amplified. Faced with unrelenting pressure from the most

  powerful office in the world, the social-media companies apparently complied. The Court finds

  that this amounts to coercion or encouragement sufficient to attribute the White House’s actions

  to the social-media companies, such that Plaintiffs are likely to succeed on the merits against the

  White House Defendants.

                                        (2) Surgeon General Defendants

         Plaintiffs allege that Surgeon General Murthy and his office engaged in a pressure

  campaign parallel to, and often overlapping with, the White House Defendants’ campaign directed

  at social-media platforms. Plaintiffs further allege the Surgeon General Defendants engaged in

  numerous meetings and communications with social-media companies to have those companies

  suppress alleged disinformation and misinformation posted on their platforms.

         The Surgeon General Defendants argue that the Surgeon General’s role is primarily to draw

  attention to public health matters affecting the nation. The SG took two official actions in 2021

  and in 2022. In July 2021, the Surgeon General issued a “Surgeon General’s Advisory.” In March

  2022, the Surgeon General issued a Request For Information (“RFI”). Surgeon General Defendants

  argue that the Surgeon General’s Advisory did not require social-media companies to censor

  information or make changes in their policies. Surgeon General Defendants further assert that the

  RFI was voluntary and did not require the social-media companies to answer.

         Additionally, the Surgeon General Defendants contend they only held courtesy meetings

  with social-media companies, did not flag posts for censorship, and never worked with social-

  media companies to moderate their policies. Surgeon General Defendants also deny that they were

  involved with the Virality Project.


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         As with the White House Defendants, this Court finds that Plaintiffs are likely to succeed

  on the merits of their First Amendment free speech claim against the Surgeon General Defendants.

  Through public statements, internal emails, and meetings, the Surgeon General Defendants

  exercised coercion and significant encouragement such that the decisions of the social-media

  platforms and their actions suppressing health disinformation should be deemed to be the decisions

  of the government. Importantly, the suppression of this information was also likely prohibited

  content and/or viewpoint discrimination, entitling Plaintiffs to strict scrutiny.

         The Surgeon General Defendants did pre-rollout calls with numerous social-media

  companies prior to publication of the Health Advisory on Misinformation. The Advisory publicly

  called on social-media companies “to do more” against COVID misinformation Superspreaders.

  Numerous calls and meetings took place between Surgeon General Defendants and private social-

  media companies. The “misinformation” to be suppressed was whatever the government deemed

  misinformation.

         The problem with labeling certain discussions about COVID-19 treatment as “health

  misinformation” was that the Surgeon General Defendants suppressed alternative views to those

  promoted by the government. One of the purposes of free speech is to allow discussion about

  various topics so the public may make informed decisions. Health information was suppressed,

  and the government’s view of the proper treatment for COVID-19 became labeled as “the truth.”

  Differing views about whether COVID-19 vaccines worked, whether taking the COVID-19

  vaccine was safe, whether mask mandates were necessary, whether schools and businesses should

  have been closed, whether vaccine mandates were necessary, and a host of other topics were

  suppressed. Without a free debate about these issues, each person is unable to decide for himself

  or herself the proper decision regarding their health. Each United States citizen has the right to



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  decide for himself or herself what is true and what is false. The Government and/or the OSG does

  not have the right to determine the truth.

         The Surgeon General Defendants also engaged in a pressure campaign with the White

  House Defendants to pressure social-media companies to suppress health information contrary to

  the Surgeon General Defendants’ views. After the Surgeon General’s press conference on July 15,

  2021, the Surgeon General Defendants kept the pressure on social-media platforms via emails,

  private meetings, and by requiring social-media platforms to report on actions taken against health

  disinformation.

         The RFI by the Surgeon General Defendants also put additional pressure on social-media

  companies to comply with the requests to suppress free speech. The RFI sought information from

  private social-media companies to provide information about the spread of misinformation. The

  RFI stated that the office of the Surgeon General was expanding attempts to control the spread of

  misinformation on social-media platforms. The RFI also sought information about social-media

  censorship policies, how they were enforced, and information about disfavored speakers.

         Taking all of this evidence together, this Court finds the Surgeon General Defendants likely

  engaged in both coercion and significant encouragement to such an extent that the decisions of

  private social-media companies should be deemed that of the Surgeon General Defendants. The

  Surgeon General Defendants did much more than engage in Government speech: they kept

  pressure on social-media companies with pre-rollout meetings, follow-up meetings, and RFI. Thus,

  Plaintiffs are likely to succeed on the merits of their First Amendment claim against these

  Defendants.




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                                       (3) CDC Defendants

         Plaintiffs allege that the CDC Defendants have engaged in a censorship campaign, together

  with the White House and other federal agencies, to have free speech suppressed on social-media

  platforms. Plaintiffs allege that working closely with the Census Bureau, the CDC flagged

  supposed “misinformation” for censorship on the platforms. Plaintiffs further allege that by using

  the acronym “BOLO,” the CDC Defendants told social-media platforms what health claims should

  be censored as misinformation.

         In opposition, Defendants assert that the CDC’s mission is to protect the public’s health.

  Although the CDC Defendants admit to meeting with and sending emails to social-media

  companies, the CDC Defendants argue they were responding to requests by the companies for

  science-based public health information, proactively alerting the social-media companies about

  disinformation, or advising the companies where to find accurate information. The Census Bureau

  argues the Interagency Agreement, entered into with the CDC in regard to COVID-19

  misinformation, has expired, and that it is no longer participating with the CDC on COVID-19

  misinformation issues. The CDC Defendants further deny that they directed any social-media

  companies to remove posts or to change their policies.

         Like the White House Defendants and Surgeon General Defendants, the Plaintiffs are likely

  to succeed on the merits of Plaintiffs’ First Amendment free speech claim against the CDC

  Defendants.   The CDC Defendants through emails, meetings, and other communications,

  seemingly exercised pressure and gave significant encouragement such that the decisions of the

  social-media platforms to suppress information should be deemed to be the decisions of the

  Government. The CDC Defendants coordinated meetings with social-media companies, provided

  examples of alleged disinformation to be suppressed, questioned the social-media companies about



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  how it was censoring misinformation, required reports from social-media companies about

  disinformation, told the social-media companies whether content was true or false, provided

  BOLO information, and used a Partner Support Portal to report disinformation. Much like the other

  Defendants, described above, the CDC Defendants became “partners” with social-media

  platforms, flagging and reporting statements on social media Defendants deemed false. Although

  the CDC Defendants did not exercise coercion to the same extent as the White House and Surgeon

  General Defendants, their actions still likely resulted in “significant encouragement” by the

  government to suppress free speech about COVID-19 vaccines and other related issues.

         Various social-media platforms changed their content-moderation policies to require

  suppression of content that was deemed false by CDC and led to vaccine hesitancy. The CDC

  became the “determiner of truth” for social-media platforms, deciding whether COVID-19

  statements made on social media were true or false. And the CDC was aware it had become the

  “determiner of truth” for social-media platforms. If the CDC said a statement on social media was

  false, it was suppressed, in spite of alternative views. By telling social-media companies that

  posted content was false, the CDC Defendants knew the social-media company was going to

  suppress the posted content. The CDC Defendants thus likely “significantly encouraged” social-

  media companies to suppress free speech.

         Based on the foregoing examples of significant encouragement and coercion by the CDC

  Defendants, the Court finds that Plaintiffs are likely to succeed on the merits of their First

  Amendment claim against the CDC Defendants.

                                       (4) NIAID Defendants

         Plaintiffs allege that NIAID Defendants engaged in a series of campaigns to discredit and

  procure the censorship of disfavored viewpoints on social media. Plaintiffs allege that Dr. Fauci


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  engaged in a series of campaigns to suppress speech regarding the Lab-Leak theory of COVID-

  19’s origin, treatment using hydroxychloroquine, the GBD, the treatment of COVID-19 with

  Ivermectin, the effectiveness of mask mandates, and the speech of Alex Berenson.

             In opposition, Defendants assert that the NIAID Defendants simply supports research to

  better understand, treat, and prevent infectious, immunologic, and allergic diseases and is

  responsible for responding to emergency public health threats. The NIAID Defendants argue that

  they had limited involvement with social-media platforms and did not meet with or contact the

  platforms to change their content or policies. The NIAID Defendants further argue that the videos,

  press conferences, and public statements by Dr. Fauci and other employees of NIAID was

  government speech.

             This Court agrees that much of what the NIAID Defendants did was government speech.

  However, various emails show Plaintiffs are likely to succeed on the merits through evidence that

  the motivation of the NIAID Defendants was a “take down” of protected free speech. Dr. Francis

  Collins, in an email to Dr. Fauci625 told Fauci there needed to be a “quick and devastating take

  down” of the GBD—the result was exactly that. Other email discussions show the motivations of

  the NIAID were to have social-media companies suppress these alternative medical theories.

  Taken together, the evidence shows that Plaintiffs are likely to succeed on the merits against the

  NIAID Defendants as well.

                                         (5) FBI Defendants

             Plaintiffs allege that the FBI Defendants also suppressed free speech on social-media

  platforms, with the FBI and FBI’s FITF playing a key role in these censorship efforts.




  625
        [Doc. No. 207-6]

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         In opposition, Defendants assert that the FBI Defendants’ specific job duties relate to

  foreign influence operations, including attempts by foreign governments to influence U.S.

  elections. Based on the alleged foreign interference in the 2016 U.S. Presidential election, the FBI

  Defendants argue that, through their meetings and emails with social-media companies, they were

  attempting to prevent foreign influence in the 2020 Presidential election. The FBI Defendants deny

  any attempt to suppress and/or change the social-media companies’ policies with regard to

  domestic speech. They further deny that they mentioned Hunter Biden or a “hack and leak” foreign

  operation involving Hunter Biden.

         According to the Plaintiffs’ allegations detailed above, the FBI had a 50% success rate

  regarding social media’s suppression of alleged misinformation, and it did no investigation to

  determine whether the alleged disinformation was foreign or by U.S. citizens. The FBI’s failure to

  alert social-media companies that the Hunter Biden laptop story was real, and not mere Russian

  disinformation, is particularly troubling. The FBI had the laptop in their possession since

  December 2019 and had warned social-media companies to look out for a “hack and dump”

  operation by the Russians prior to the 2020 election. Even after Facebook specifically asked

  whether the Hunter Biden laptop story was Russian disinformation, Dehmlow of the FBI refused

  to comment, resulting in the social-media companies’ suppression of the story. As a result, millions

  of U.S. citizens did not hear the story prior to the November 3, 2020 election. Additionally, the

  FBI was included in Industry meetings and bilateral meetings, received and forwarded alleged

  misinformation to social-media companies, and actually mislead social-media companies in regard

  to the Hunter Biden laptop story. The Court finds this evidence demonstrative of significant

  encouragement by the FBI Defendants.




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         Defendants also argue that Plaintiffs are attempting to create a “deception” theory of

  government involvement with regards to the FBI Defendants. Plaintiffs allege the FBI told the

  social-media companies to watch out for Russian disinformation prior to the 2020 Presidential

  election and then failed to tell the companies that the Hunter Biden laptop was not Russian

  disinformation. The Plaintiffs further allege Dr. Fauci colluded with others to cover up the

  Government’s involvement in “gain of function” research at the Wuhan lab in China, which may

  have resulted in the creation of the COVID-19 pandemic.

         Although this Court agrees there is no specified “deception” test for government action, a

  state may not induce private persons to accomplish what it is constitutionally forbidden to

  accomplish. Norwood, 413 U.S. at 455. It follows, then, that the government may not deceive a

  private party either—it is just another form of coercion. The Court has evaluated Defendants’

  conduct under the “coercion” and/or “significant encouragement” theories of government action,

  and finds that the FBI Defendants likely exercised “significant encouragement” over social-media

  companies.

         Through meetings, emails, and in-person contacts, the FBI intrinsically involved itself in

  requesting social-media companies to take action regarding content the FBI considered to be

  misinformation. The FBI additionally likely misled social-media companies into believing the

  Hunter Biden laptop story was Russian disinformation, which resulted in suppression of the story

  a few weeks prior to the 2020 Presidential election. Thus, Plaintiffs are likely to succeed in their

  claims that the FBI exercised “significant encouragement” over social-media platforms such that

  the choices of the companies must be deemed to be that of the Government.




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                                         (5) CISA Defendants

         Plaintiffs allege the CISA Defendants served as a “nerve center” for federal censorship

  efforts by meeting routinely with social-media platforms to increase censorship of speech

  disfavored by federal officials, and by acting as a “switchboard” to route disinformation concerns

  to social-media platforms.

         In response, the CISA Defendants maintain that CISA has a mandate to coordinate with

  federal and non-federal entities to carry out cybersecurity and critical infrastructure activities.

  CISA previously designated election infrastructure as a critical infrastructure subsector. CISA also

  collaborates with state and local election officials; as part of its duties, CISA coordinates with the

  EIS-GCC, which is comprised of state, local, and federal governmental departments and agencies.

  The EI-SSC is comprised of owners or operators with significant business or operations in U.S.

  election infrastructure systems or services. After the 2020 election, the EI-SCC and EIS-GCC

  launched a Joint Managing Mis/Disinformation Group to coordinate election infrastructure

  security efforts. The CISA Defendants argue CISA supports the Joint Managing Mis-

  Disinformation Group but does not coordinate with the EIP or the CIS. Despite DHS providing

  financial assistance to the CIS through a series of cooperative agreement awards managed by

  CISA, the CISA Defendants assert that the work scope funded by DHS has not involved the CIS

  performing disinformation-related tasks.

         Although the CISA Defendants admit to being involved in “switchboarding” work during

  the 2020 election cycle, CISA maintains it simply referred the alleged disinformation to the social-

  media companies, who made their own decisions to suppress content. CISA maintains it included

  a notice with each referral to the companies, which stated that CISA was not demanding

  censorship. CISA further maintains it discontinued its switchboarding work after the 2020 election



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  cycle and has no intention to engage in switchboarding for the next election.626 CISA further argues

  that even though it was involved with USG-Industry meetings with other federal agencies and

  social-media companies, they did not attempt to “push” social-media companies to suppress

  content or to change policies.

          The Court finds that Plaintiffs are likely to succeed on the merits of their First Amendment

  claim against the CISA Defendants. The CISA Defendants have likely exercised “significant

  encouragement” with social-media platforms such that the choices of the social-media companies

  must be deemed to be that of the government. Like many of the other Defendants, the evidence

  shows that the CISA Defendants met with social-media companies to both inform and pressure

  them to censor content protected by the First Amendment. They also apparently encouraged and

  pressured social-media companies to change their content-moderation policies and flag disfavored

  content.

          But the CISA Defendants went even further. CISA expanded the word “infrastructure” in

  its terminology to include “cognitive” infrastructure, so as to create authority to monitor and

  suppress protected free speech posted on social media. The word “cognitive” is an adjective that

  means “relating to cognition.” “Cognition” means the mental action or process of acquiring

  knowledge and understanding through thought, experiences, and the senses.627 The Plaintiffs are

  likely to succeed on the merits on its claim that the CISA Defendants believe they had a mandate

  to control the process of acquiring knowledge. The CISA Defendants engaged with Stanford

  University and the University of Washington to form the EIP, whose purpose was to allow state

  and local officials to report alleged election misinformation so it could be forwarded to the social-



  626
      However, at oral argument, CISA attorneys were unable to verify whether or not CISA would be involved in
  switchboarding during the 2024 election. [Doc. No. 288 at 122]
  627
      Google English Dictionary

                                                     110
                                                   - A110 -
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  media platforms to review. CISA used a CISA-funded non-profit organization, the CIS, to perform

  the same actions. CISA used interns who worked for the Stanford Internal Observatory, which is

  part of the EIP, to address alleged election disinformation. All of these worked together to forward

  alleged election misinformation to social-media companies to view for censorship. They also

  worked together to ensure the social-media platforms reported back to them on what actions the

  platforms had taken. And in this process, no investigation was made to determine whether the

  censored information was foreign or produced by U.S. citizens.

             According to DiResta, head of EIP, the EIP was designed “to get around unclear legal

  authorities, including very real First Amendment questions that would arise if CISA or the other

  government agencies were to monitor and flag information for censorship on social media.”628

  Therefore, the CISA Defendants aligned themselves with and partnered with an organization that

  was designed to avoid Government involvement with free speech in monitoring and flagging

  content for censorship on social-media platforms.

             At oral arguments on May 26, 2023, Defendants argued that the EIP operated

  independently of any government agency. The evidence shows otherwise: the EIP was started

  when CISA interns came up with the idea; CISA connected the EIP with the CIS, which is a CISA-

  funded non-profit that channeled reports of misinformation from state and local government

  officials to social-media companies; CISA had meetings with Stanford Internet Observatory

  officials (a part of the EIP), and both agreed to “work together”; the EIP gave briefings to CISA;

  and the CIS (which CISA funds) oversaw the Multi-State Information Sharing and Analysis

  Center (“MS-ISAC”) and the Election Infrastructure Information Sharing and Analysis Center




  628
        [Doc. No. 209-5 at 4]

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  (“EI-ISAC”), both of which are organizations of state and local governments that report alleged

  election misinformation.

          CISA directs state and local officials to CIS and connected the CIS with the EIP because

  they were working on the same mission and wanted to be sure they were all connected. CISA

  served as a mediating role between CIS and EIP to coordinate their efforts in reporting

  misinformation to social-media platforms, and there were direct email communications about

  reporting misinformation between EIP and CISA. Stamos and DiResta of the EIP also have roles

  in CISA on CISA advisory committees. EIP identifies CISA as a “partner in government.” The

  CIS coordinated with EIP regarding online misinformation. The EIP publication, “The Long

  Fuse,”629 states the EIP has a focus on election misinformation originating from “domestic”

  sources across the United States.630 EIP further stated that the primary repeat spreaders of false

  and misleading narratives were “verified blue-checked accounts belonging to partisan media

  outlets, social-media influencers, and political figures, including President Trump and his

  family.”631 The EIP further disclosed it held its first meeting with CISA to present the EIP concept

  on July 9, 2020, and EIP was officially formed on July 26, 2020, “in consultation with CISA.”632

  The Government was listed as one of EIP’s Four Major Stakeholder Groups, which included CISA,

  the GEC, and ISAC.633

          As explained, the CISA Defendants set up a “switchboarding” operation, primarily

  consisting of college students, to allow immediate reporting to social-media platforms of alleged

  election disinformation. The “partners” were so successful with suppressing election




  629
      [Doc. No. 209-2]
  630
      [Id. at 9]
  631
      [Id. at 12]
  632
      [Id. at 20–21]
  633
      [Id. at 30]

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  disinformation, they later formed the Virality Project, to do the same thing with COVID-19

  misinformation that the EIP was doing for election disinformation. CISA and the EIP were

  completely intertwined. Several emails from the switchboarding operation sent by intern Pierce

  Lowary shows Lowary directly flagging posted content and sending it to social-media companies.

  Lowary identified himself as “working for CISA” on the emails.634

             On November 21, 2021, CISA Director Easterly stated: “We live in a world where people

  talk about alternative facts, post-truth, which I think is really, really dangerous if people get to pick

  their own facts.” The Free Speech Clause was enacted to prohibit just what Director Easterly is

  wanting to do: allow the government to pick what is true and what is false. The Plaintiffs are likely

  to succeed on the merits of their First Amendment claim against the CISA Defendants for

  “significantly encouraging” social-media companies to suppress protected free speech.

                                                  (5) State Department Defendants

             Plaintiffs allege the State Department Defendants, through the State Department’s GEC,

  were also involved in suppressing protected speech on social-media platforms.

             In response, the State Department Defendants argue that they, along with the GEC, play a

  critical role in coordinating the U.S. government efforts to respond to foreign influence. The State

  Department Defendants argue that they did not flag specific content for social-media companies

  and did not give the company any directives. The State Department Defendants also argue that

  they do not coordinate with or work with the EIP or the CIS.

             The Court finds that Plaintiffs are also likely to succeed on the merits regarding their First

  Amendment Free Speech Clause against the State Department Defendants. For many of the same

  reasons the Court reached its conclusion as to the CISA Defendants, the State Department



  634
        [Doc. No. 227-2 at 15, 23, 42, 65 & 78]

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  Defendants have exercised “significant encouragement” with social-media platforms, such that the

  choices of the social-media companies should be deemed to be that of the government. As

  discussed previously, both CISA and the GEC were intertwined with the VP, EIP, and Stanford

  Internet Observatory.

             The VP, EIP, and Stanford Internet Observatory are not defendants in this proceeding.

  However, their actions are relevant because government agencies have chosen to associate,

  collaborate, and partner with these organizations, whose goals are to suppress protected free speech

  of American citizens. The State Department Defendants and CISA Defendants both partnered with

  organizations whose goals were to “get around” First Amendment issues.635 In partnership with

  these non-governmental organizations, the State Department Defendants flagged and reported

  postings of protected free speech to the social-media companies for suppression. The flagged

  content was almost entirely from political figures, political organizations, alleged partisan media

  outlets, and social-media all-stars associated with right-wing or conservative political views,

  demonstrating likely “viewpoint discrimination.” Since only conservative viewpoints were

  allegedly suppressed, this leads naturally to the conclusion that Defendants intended to suppress

  only political views they did not believe in. Based on this evidentiary showing, Plaintiffs are likely

  to succeed on the merits of their First Amendment claims against the State Department Defendants.

                                         (6) Other Defendants

             Other Defendants in this proceeding are the U.S. Food and Drug Administration, U. S.

  Department of Treasury, U.S. Election Assistance Commission, U. S. Department of Commerce,

  and employees Erica Jefferson, Michael Murray, Wally Adeyemo, Steven Frid, Brad Kimberly,

  and Kristen Muthig. Plaintiffs confirmed at oral argument that they are not seeking a preliminary



  635
        [Doc. No. 209-5 at 4]

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  injunction against these Defendants. Additionally, Plaintiffs assert claims against the

  Disinformation Governance Board (“DGB”) and its Director Nina Jankowicz. Defendants have

  provided evidence that the DGB has been disbanded, so any claims against these Defendants are

  moot. Thus, this Court will not address the issuance of an injunction against any of these

  Defendants.

                                   ii. Joint Participation

            The Plaintiffs contend that the Defendants are not only accountable for private conduct that

  they coerced or significantly encouraged, but also for private conduct in which they actively

  participated as “joint participants.” Burton v. Wilmington Parking Authority, 365 U.S. 715, 725

  (1961). Although most often “joint participation” occurs through a conspiracy or collusive

  behavior, Hobbs v. Hawkins, 968 F.2d 471, 480 (5th Cir. 1992), even without a conspiracy, when

  a plaintiff establishes the government is responsible for private action arising out of “pervasive

  entwinement of public institutions and public officials in the private entity’s composition and

  workings.” Brentwood Academy. v. Tennessee Secondary Sch. Athletic Ass’n., 531 U. S. 288, 298

  (2001).

            Under the “joint action” test, the Government must have played an indispensable role in

  the mechanism leading to the disputed action. Frazier v. Bd. Of Trs. Of N.W. Miss. Reg.’l Med.

  Ctr., 765 F.2d 1278, 1287-88 (5th Cir.), amended, 777 F.2d 329 (5th Cir. 1985). When a plaintiff

  establishes “the existence of a conspiracy involving state action,” the government becomes

  responsible for all constitutional violations committed in furtherance of the conspiracy by a party

  to the conspiracy. Armstrong v. Ashley, 60 F.4th 262, (5th Cir. 2023). Conspiracy can be charged

  as the legal mechanism through which to impose liability on each and all of the defendants without




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  regard to the person doing the particular act that deprives the plaintiff of federal rights. Pfannstiel

  v. City of Marion, 918 F.2d 1178, 1187 (5th Cir. 1990).

          Much like conspiracy and collusion, joint activity occurs whenever the government has “so

  far insinuated itself” into private affairs as to blur the line between public and private action.

  Jackson v. Metro. Edison Co., 419 U.S. 345, 357 (1974). To become “pervasively entwined” in a

  private entity’s workings, the government need only “significantly involve itself in the private

  entity’s actions and decision-making”; it is not necessary to establish that “state actors … literally

  ‘overrode’ the private entity’s independent judgment.” Rawson v. Recovery Innovations, Inc., 975

  F.3d 742, 751, 753 (9th Cir. 2020). “Pervasive intertwinement” exists even if the private party is

  exercising independent judgment. West v. Atkins, 487 U.S. 42, 52, n.10 (1988); Gallagher v. Neil

  Young Freedom Concert, 49 F.3d 1442, 1454 (10th Cir. 1995) (holding that a “substantial degree

  of cooperative action” can constitute joint action).

          For the same reasons as this Court has found Plaintiffs met their burden to show

  “significant encouragement” by the White House Defendants, the Surgeon General Defendants,

  the CDC Defendants, the FBI Defendants, the NIAID Defendants, the CISA Defendants, and the

  State Department Defendants, this Court finds the Plaintiffs are likely to succeed on the merits that

  these Defendants “jointly participated” in the actions of the private social-media companies as

  well, by insinuating themselves into the social-media companies’ private affairs and blurring the

  line between public and private action.636

          However, this Court finds Plaintiffs are not likely to succeed on the merits that the “joint

  participation” occurred as a result of a conspiracy with the social-media companies. The evidence




  636
     It is not necessary to repeat the details discussed in the “significant encouragement” analysis in order to find
  Plaintiffs have met their initial burden.

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  thus far shows that the social-media companies cooperated due to coercion, not because of a

  conspiracy.

         This Court finds the White House Defendants, the Surgeon General Defendants, the CDC

  Defendants, the NIAID Defendants, the FBI Defendants, the CISA Defendants, and the State

  Department Defendants likely “jointly participated” with the social-media companies to such an

  extent that said Defendants have become “pervasively entwined” in the private companies’

  workings to such an extent as to blur the line between public and private action. Therefore,

  Plaintiffs are likely to succeed on the merits that the government Defendants are responsible for

  the private social-media companies’ decisions to censor protected content on social-media

  platforms.

                                iii. Other Arguments

         While not admitting any fault in the suppression of free speech, Defendants blame the

  Russians, COVID-19, and capitalism for any suppression of free speech by social-media

  companies. Defendants argue the Russian social-media postings prior to the 2016 Presidential

  election caused social-media companies to change their rules with regard to alleged

  misinformation. The Defendants argue the Federal Government promoted necessary and

  responsible actions to protect public health, safety, and security when confronted by a deadly

  pandemic and hostile foreign assaults on critical election infrastructure. They further contend that

  the COVID-19 pandemic resulted in social-media companies changing their rules in order to fight

  related disinformation. Finally, Defendants argue the social-media companies’ desire to make

  money from advertisers resulted in change to their efforts to combat disinformation. In other

  words, Defendants maintain they had nothing to do with Plaintiffs’ censored speech and blamed

  any suppression of free speech on the Russians, COVID-19, and the companies’ desire to make



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  money. The social-media platforms and the Russians are of course not defendants in this

  proceeding, and neither are they bound by the First Amendment. The only focus here is on the

  actions of the Defendants themselves.

         Although the COVID-19 pandemic was a terrible tragedy, Plaintiffs assert that it is still not

  a reason to lessen civil liberties guaranteed by our Constitution. “If human nature and history

  teaches anything, it is that civil liberties face grave risks when governments proclaim indefinite

  states of emergency.” Does 1-3 v. Mills, 142 S. Ct. 17, 20–21 (2021) (Gorsuch, J., dissenting). The

  “grave risk” here is arguably the most massive attack against free speech in United States history.

         Another argument of Defendants is that the previous Administration took the same actions

  as Defendants. Although the “switchboarding” by CISA started in 2018, there is no indication or

  evidence yet produced in this litigation that the Trump Administration had anything to do with it.

  Additionally, whether the previous Administration suppressed free speech on social media is not

  an issue before this Court and would not be a defense to Defendants even if it were true.

         Defendants also argue that a preliminary injunction would restrict the Defendants’ right to

  government speech and would transform government speech into government action whenever the

  Government comments on public policy matters. The Court finds, however, that a preliminary

  injunction here would not prohibit government speech. The traditional test used to differentiate

  government speech from private speech discusses three relevant factors: (1) whether the medium

  at issue has historically been used to communicate messages from the government; (2) whether

  the public reasonably interprets the government to be the speaker; and (3) whether the government

  maintains editorial control over the speech. Pleasant Grove City, Utah v. Summum, 555 U.S. 460,

  465–80 (2009). A government entity has the right to speak for itself and is entitled to say what it

  wishes and express the views it wishes to express. The Free Speech Clause restricts government



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  regulation of private speech; it does not regulate government speech. Pleasant Grove City, Utah,

  555 U.S. at 468.

         The Defendants argue that by making public statements, this is nothing but government

  speech. However, it was not the public statements that were the problem. It was the alleged use of

  government agencies and employees to coerce and/or significantly encourage social-media

  platforms to suppress free speech on those platforms. Plaintiffs point specifically to the various

  meetings, emails, follow-up contacts, and the threat of amending Section 230 of the

  Communication Decency Act. Plaintiffs have produced evidence that Defendants did not just use

  public statements to coerce and/or encourage social-media platforms to suppress free speech, but

  rather used meetings, emails, phone calls, follow-up meetings, and the power of the government

  to pressure social-media platforms to change their policies and to suppress free speech. Content

  was seemingly suppressed even if it did not violate social-media policies. It is the alleged coercion

  and/or significant encouragement that likely violates the Free Speech Clause, not government

  speech, and thus, the Court is not persuaded by Defendants’ arguments here.

                         b. Standing

         The United States Constitution, via Article III, limits federal courts’ jurisdiction to “cases”

  and “controversies.” Sample v. Morrison, 406 F.3d 310, 312 (5th Cir. 2005) (citing U.S. Const.

  art. III, § 2). The “law of Article III standing, which is built on separation-of-powers principles,

  serves to prevent the judicial process from being used to usurp the powers of the political

  branches.” Town of Chester, N.Y. v. Laroe Ests., Inc., 581 U.S. 433, 435 (2017) (citation omitted).

  Thus, “the standing question is whether the plaintiff has alleged such a personal stake in the

  outcome of the controversy as to warrant [its] invocation of federal-court jurisdiction and to justify

  exercise of the court’s remedial powers on his behalf.” Warth v. Seldin, 422 U.S. 490, 498-99



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  (1975) (citation and internal quotation marks omitted). The Article III standing requirements apply

  to claims for injunctive and declaratory relief. See Seals v. McBee, 898 F.3d 587, 591 (5th Cir.

  2018), as revised (Aug. 9, 2018); Lawson v. Callahan, 111 F.3d 403, 405 (5th Cir. 1997).

         Article III standing is comprised of three essential elements. Spokeo, Inc. v. Robins, 578

  U.S. 330, 338 (2016), as revised (May 24, 2016) (citation omitted). “The plaintiff must have (1)

  suffered an injury-in-fact, (2) that is fairly traceable to the challenged conduct of the defendant,

  and (3) that is likely to be redressed by a favorable judicial decision. The plaintiff, as the party

  invoking federal jurisdiction, bears the burden of establishing these elements.” Id. (internal

  citations omitted). Furthermore, “[a] plaintiff must demonstrate standing for each claim he seeks

  to press and for each form of relief that is sought.” Town of Chester, N.Y., 581 U.S. at 439 (citations

  omitted). However, the presence of one party with standing “is sufficient to satisfy Article III’s

  case-or-controversy requirement.” Texas, 809 F.3d 134 (citing Rumsfeld v. F. for Acad. &

  Institutional Rts., Inc., 547 U.S. 47, 52 n.2 (2006)).

         In the context of a preliminary injunction, it has been established that “the ‘merits’ required

  for the plaintiff to demonstrate a likelihood of success include not only substantive theories but

  also the establishment of jurisdiction.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913

  (D.C. Cir. 2015). In order to establish standing, the plaintiff must demonstrate that they have

  encountered or suffered an injury attributable to the defendant’s challenged conduct and that such

  injury is likely to be resolved through a favorable decision. Lujan v. Def. of Wildlife, 504 U.S. 555,

  560–61 (1992). Further, during the preliminary injunction stage, the movant is only required to

  demonstrate a likelihood of proving standing. Speech First, Inc. v. Fenves, 979 F.3d 319, 330 (5th

  Cir. 2020). Defendants raise challenges to each essential element of standing for both the Private

  Plaintiffs and the States. Each argument will be addressed in turn below. For the reasons stated



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  herein, the Court finds that the Plaintiffs have demonstrated a likelihood of satisfying Article III’s

  standing requirements.

                                   i.    Injury-in-fact

           Plaintiffs seeking to establish injury-in-fact must show that they suffered “an invasion of a

  legally protected interest” that is “concrete and particularized” and “actual or imminent, not

  conjectural or hypothetical.” Spokeo, 578 U.S. at 339 (citations and internal quotation marks

  omitted). For an injury to be “particularized,” it must “affect the plaintiff in a personal and

  individual way.” Id. (citations and internal quotation marks omitted).

           Plaintiffs argue that that they have asserted violations of their First Amendment right to

  speak and listen freely without government interference.637 In response, Defendants contend that

  Plaintiffs’ allegations rest on dated declarations that focus on long-past conduct, making Plaintiffs’

  fears of imminent injury entirely speculative.638 The Court will first address whether the Plaintiff

  States are likely to prove an injury-in-fact. Then the court will examine whether the Individual

  Plaintiffs are likely to prove an injury-in-fact. For the reasons explained below, both the Plaintiff

  States and Individual Plaintiffs are likely to prove an injury-in-fact.

                                         (1) Plaintiff States

           In denying Defendants’ Motion to Dismiss,639 this Court previously found that the Plaintiff

  States had sufficiently alleged injury-in-fact to satisfy Article III standing under either a direct

  injury or parens patriae theory of standing and that the States were entitled to special solicitude in

  the standing analysis.640 At the preliminary injunction stage, the issue becomes whether the

  Plaintiffs are likely to prove standing. See Speech First, Inc., 979 F.3d, at 330. The evidence


  637
      See [Doc. No. 214, at 66]
  638
      See [Doc. No. 266, at 151]
  639
      [Doc. No. 128]
  640
      [Doc. No. 224, at 20–33]

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  produced thus far through discovery shows that the Plaintiff States are likely to establish an injury-

  in-fact through either a parens patriae or direct injury theory of standing.

         Parens patriae, which translates to “parent of the country,” traditionally refers to the state’s

  role as a sovereign and guardian for individuals with legal disabilities. Alfred L. Snapp & Son, Inc.

  v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 600 n.8 (1982) (quoting Black’s Law Dictionary 1003

  (5th ed. 1979)). The term “parens patriae lawsuit” has two meanings: it can denote a lawsuit

  brought by the state on behalf of individuals unable to represent themselves, or a lawsuit initiated

  by the state to protect its “quasi-sovereign” interests. Id. at 600; see also Kentucky v. Biden, 23

  F.4th 585, 596–98 (6th Cir. 2022); Chapman v. Tristar Prod., Inc., 940 F.3d 299, 305 (6th Cir.

  2019). A lawsuit based on the former meaning is known as a “third-party” parens patriae lawsuit,

  and it is clearly established law that states cannot bring such lawsuits against the federal

  government. Kentucky, 23 F.4th at 596. Thus, to have parens patriae standing, the Plaintiff States

  must show a likelihood of establishing an injury to one or more of their quasi-sovereign interests.

         In Snapp, the United States Supreme Court determined that Puerto Rico had parens patriae

  standing to sue the federal government to safeguard its quasi-sovereign interests. Snapp, 458 U.S.

  at 608. The Court identified two types of injuries to a state’s quasi-sovereign interests: one is an

  injury to a significant portion of the state’s population, and the other is the exclusion of the state

  and its residents from benefiting from participation in the federal system. Id. at 607–608. The Court

  did not establish definitive limits on the proportion of the population that must be affected but

  suggested that an indication could be whether the injury is something the state would address

  through its sovereign lawmaking powers. Id. at 607. Based on the injuries alleged by Puerto Rico,

  the Court found that the state had sufficiently demonstrated harm to its quasi-sovereign interests

  and had parens patriae standing to sue the federal government. Id. at 609–10.



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          In Massachusetts v. E.P.A., 549 U.S. 497 (2007), the United States Supreme Court further

  clarified the distinction between third-party and quasi-sovereign parens patriae lawsuits. There,

  the Court concluded that Massachusetts had standing to sue the EPA to protect its quasi-sovereign

  interests. The Court emphasized the distinction between allowing a state to protect its citizens from

  federal statutes (which is prohibited) and permitting a state to assert its rights under federal law

  (which it has standing to do). Massachusetts, 549 U.S. at 520 n.17. Because Massachusetts sought

  to assert its rights under a federal statute rather than challenge its application to its citizens, the

  Court determined that the state had parens patriae standing to sue the EPA.

          Here, the Plaintiff States alleged and have provided ample evidence to support injury to

  two quasi-sovereign interests: the interest in safeguarding the free-speech rights of a significant

  portion of their respective populations and the interest in ensuring that they receive the benefits

  from participating in the federal system. Defendants argue that this theory of injury is too

  attenuated and that Plaintiffs are unlikely to prove any direct harm to the States’ sovereign or quasi-

  sovereign interests, but the Court does not find this argument persuasive.

          Plaintiffs have put forth ample evidence regarding extensive federal censorship that

  restricts the free flow of information on social-media platforms used by millions of Missourians

  and Louisianians, and very substantial segments of the populations of Missouri, Louisiana, and

  every other State.641 The Complaint provides detailed accounts of how this alleged censorship

  harms “enormous segments of [the States’] populations.” Additionally, the fact that such extensive

  examples of suppression have been uncovered through limited discovery suggests that the


  641
     See supra, pp. 8–94 (detailing the extent and magnitude of Defendants’ pressure and coercion tactics with social-
  media companies); See also [Doc. No. 214-1, at ¶¶ 1348 (noting that Berenson had nationwide audiences and over
  200,000 followers when he was de-platformed on Twitter), 1387 (noting that the Gateway Pundit had more than 1.3
  million followers across its social-media accounts before it was suspended), 1397–1409 (noting that Hines has
  approximately 13,000 followers each on her Health Freedom Louisiana and Reopen Louisiana Facebook pages,
  approximately 2,000 followers on two other Health Freedom Group Louisiana pages, and that the former Facebook
  pages have faced increasing censorship penalties and that the latter pages were de-platformed completely), etc.]

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  censorship explained above could merely be a representative sample of more extensive

  suppressions inflicted by Defendants on countless similarly situated speakers and audiences,

  including audiences in Missouri and Louisiana. The examples of censorship produced thus far cut

  against Defendants’ characterization of Plaintiffs’ fear of imminent future harm as “entirely

  speculative” and their description of the Plaintiff States’ injuries as “overly broad and generalized

  grievance[s].”642 The Plaintiffs have outlined a federal regime of mass censorship, presented

  specific examples of how such censorship has harmed the States’ quasi-sovereign interests in

  protecting their residents’ freedom of expression, and demonstrated numerous injuries to

  significant segments of the Plaintiff States’ populations.

             Moreover, the materials produced thus far suggest that the Plaintiff States, along with a

  substantial segment of their populations, are likely to show that they are being excluded from the

  benefits intended to arise from participation in the federal system. The U.S. Constitution, like the

  Missouri and Louisiana Constitutions, guarantees the right of freedom of expression,

  encompassing both the right to speak and the right to listen. U.S. Const. amend. I; Virginia State

  Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 756–57 (1976). The

  United States Supreme Court has acknowledged the freedom of expression as one of the most

  significant benefits conferred by the federal Constitution. W. Virginia State Bd. of Educ. v.

  Barnette, 319 U.S. 624, 642 (1943) (“If there is any fixed star in our constitutional constellation,

  it is that no official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

  religion, or other matters of opinion.”). Plaintiffs have demonstrated that they are likely to prove

  that federal agencies, actors, and officials in their official capacity are excluding the Plaintiff States




  642
        [Doc. No. 266, at 151]

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  and their residents from this crucial benefit that is meant to flow from participation in the federal

  system. See Snapp, 458 U.S. at 608.

          Accordingly, the Court finds that the States have alleged injuries under a parens patriae

  theory of standing because they are likely to prove injuries to the States’ quasi-sovereign interests

  in protecting the constitutionally bestowed rights of their citizens.

          Further, Plaintiffs have demonstrated direct censorship injuries that satisfy the

  requirements of Article III as injuries in fact.643 Specifically, the Plaintiffs contend that Louisiana’s

  Department of Justice, which encompasses the office of its Attorney General, faced direct

  censorship on YouTube for sharing video footage wherein Louisianans criticized mask mandates

  and COVID-19 lockdown measures on August 18, 2021, immediately following the federal

  Defendants’ strong advocacy for COVID-related “misinformation” censorship.644 Moreover, a

  Louisiana state legislator experienced censorship on Facebook when he posted content addressing

  the vaccination of children against COVID-19.645 Similarly, during public meetings concerning

  proposed county-wide mask mandates held by St. Louis County, a political subdivision of

  Missouri, certain citizens openly expressed their opposition to mask mandates. However, YouTube

  censored the entire videos of four public meetings, removing the content because some citizens

  expressed the view that masks are ineffective.646 Therefore, this Court finds that the Plaintiff States

  have also demonstrated a likelihood of establishing an injury-in-fact under a theory of direct injury

  sufficient to satisfy Article III.




  643
      [Doc. No. 214-1, at ¶¶1428–1430]
  644
      [Id. at ¶1428]
  645
      [Id. at ¶1429]
  646
      [Id. at ¶ 1430]

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             Accordingly, for the reasons stated above and explained in this Court’s ruling on the

  Motion to Dismiss,647 the Plaintiff States are likely to succeed on establishing an injury-in-fact

  under Article III.

                                          (2) Individual Plaintiffs

             In Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“SBA List”), the Supreme

  Court held that an allegation of future injury may satisfy the Article III injury-in-fact requirement

  if there is a “substantial risk” of harm occurring. (quoting Clapper v. Amnesty Int'l USA, 568 U.S.

  398, 408 (2013). In SBA List, the petitioner challenged a statute that prohibited making false

  statements during political campaigns. Id. at 151–52. The Court considered the justiciability of the

  pre-enforcement challenge and whether it alleged a sufficiently imminent injury under Article III.

  It noted that pre-enforcement review is warranted when the threatened enforcement is “sufficiently

  imminent.” Id. at 159. The Court further emphasized that past enforcement is indicative that the

  threat of enforcement is not “chimerical.” Id. at 164 (quoting Steffel v. Thompson, 415 U.S. 452,

  459 (1974)).

             Likewise, in Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979), the

  Supreme Court found that the plaintiffs satisfied Article III’s injury-in-fact requirement because

  the fear of future injury was not “imaginary or wholly speculative.” There, the Court considered a

  pre-enforcement challenge to a statute that deemed it an unfair labor practice to encourage

  consumer boycotts through deceptive publicity. Id. at 301. Because the plaintiffs had engaged in

  past consumer publicity campaigns and intended to continue those campaigns in the future, the

  Court found their challenge to the consumer publicity provision satisfied Article III. Id. at 302.

  Similar pre-enforcement review was recognized in Virginia v. Am. Booksellers Ass'n, Inc., 484



  647
        [Doc. No. 214, at 20–33]

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  U.S. 383, 386 (1988), where the Supreme Court held that booksellers could seek review of a law

  criminalizing the knowing display of “harmful to juveniles” material for commercial purposes, as

  defined by the statute. Virginia, 484 U.S. at 386 (certified question answered sub nom.

  Commonwealth v. Am. Booksellers Ass'n, Inc., 236 Va. 168 (1988)).

           Here, each of the Individual Plaintiffs are likely to demonstrate an injury-in-fact through a

  combination of past and ongoing censorship. Bhattacharya, for instance, is the apparent victim of

  an ongoing “campaign” of social-media censorship, which indicates that he is likely to experience

  future acts of censorship.648 Similarly, Kulldorff attests to a coordinated federal censorship

  campaign against the Great Barrington Declaration, which implies future censorship.649

  Kulldorff’s ongoing censorship experiences on his personal social-media accounts provide

  evidence of ongoing harm and support the expectation of imminent future harm.650 Kheriaty also

  affirms ongoing and anticipated future injuries, noting that the issue of “shadow banning” his

  social-media posts has intensified since 2022.651

           Hoft and Hines present similar accounts of past, ongoing, and anticipated future censorship

  injuries. Defendants even appear to be currently involved in an ongoing project that encourages

  and engages in censorship activities specifically targeting Hoft’s website.652 Hines, too, recounts

  past and ongoing censorship injuries, stating that her personal Facebook page, as well as the pages




  648
      See [Doc. No. 214-1, ¶787 (an email from Dr. Francis Collins to Dr. Fauci and Cliff Lane which read: “Hi [Dr.
  Fauci] and Cliff, See https://gbdeclaration.org. This proposal from the three fringe epidemiologists who met with the
  Secretary seems to be getting a lot of attention – and even a co-signature from Nobel Prize winner Mike Leavitt at
  Stanford. There needs to be a quick and devastating published take down of its premises. I don’t see anything like that
  online yet – is it underway?”), ¶¶1368–1372 (describing the covert and ongoing censorship campaign against him)]
  649
      See [Id. at ¶¶1373–1380 (where Kulldorff explains an ongoing campaign of censorship against his personal social-
  media accounts, including censored tweets, censored posts criticizing mask mandates, removal of LinkedIn posts, and
  the ongoing permanent suspension of his LinkedIn account)]
  650
      [Id.]
  651
      [Id. at ¶¶1383–1386]
  652
      See [Id. at ¶¶1387–1396 (describing the past and ongoing campaign against his website, the Gateway Pundit, which
  resulted in censorship on Facebook, Twitter, Instagram, and YouTube)]

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  of Health Freedom Louisiana and Reopen Louisiana, are constantly at risk of being completely de-

  platformed.653 At the time of her declaration, Hines’ personal Facebook account was under an

  ongoing ninety-day restriction. She further asserts, and the evidence supplied in support of the

  preliminary injunction strongly implies, that these restrictions can be directly traced back to federal

  officials.

             Each of the Private Plaintiffs alleges a combination of past, ongoing, and anticipated future

  censorship injuries. Their allegations go beyond mere complaints about past grievances. Moreover,

  they easily satisfy the substantial risk standard. The threat of future censorship is significant, and

  the history of past censorship provides strong evidence that the threat of further censorship is not

  illusory or speculative. Plaintiffs’ request for an injunction is not solely aimed at addressing the

  initial imposition of the censorship penalties but rather at preventing any continued maintenance

  and enforcement of such penalties. Therefore, the Court concludes that the Private Plaintiffs have

  fulfilled the injury-in-fact requirement of Article III.

             Based on the reasons outlined above, the Court determines that both the States and Private

  Plaintiffs have satisfied the injury-in-fact requirement of Article III.

                                    ii.     Traceability

             To establish traceability, or “causation” in this context, a plaintiff must demonstrate a

  “direct relation between the injury asserted and the injurious conduct alleged.” Holmes v. Sec. Inv.

  Prot. Corp., 503 U.S. 258, 268 (1992). Therefore, courts examining this element of standing must

  assess the remoteness, if any, between the plaintiff’s injury and the defendant’s actions. As

  explained in Ass'n of Am. Physicians & Surgeons v. Schiff, the plaintiff must establish that it is

  “‘substantially probable that the challenged acts of the defendant, not of some absent third party’



  653
        See [Id. at ¶¶1397–1411]

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  caused or will cause the injury alleged.” 518 F. Supp. 3d 505, 513 (D.D.C. 2021), aff'd sub nom.

  Ass'n of Am. Physicians & Surgeons, Inc. v. Schiff, 23 F.4th 1028 (D.C. Cir. 2022) ("AAPS II")

  (quoting Fla. Audubon Soc. v. Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996)).

           Plaintiffs argue that they are likely to prove that their injuries are fairly traceable to

  Defendants’ actions of inducing and jointly participating in the social-media companies’

  viewpoint-based censorship under a theory of “but-for” causation, conspiracy, or aiding and

  abetting.654 In support, they cite the above-mentioned examples of switchboarding and other

  pressure tactics employed by Defendants.655 In response, Defendants assert that there is no basis

  upon which this Court can conclude that the social-media platforms made the disputed content-

  moderation decisions because of government pressure.656 For the reasons explained below, the

  Court finds that Plaintiffs are likely to prove that their injuries are fairly traceable to the conduct

  of the Defendants.

           In Duke Power Co. v. Carolina Envt. Study Grp., the United States Supreme Court found

  that a plaintiff’s injury was fairly traceable to a statute under a theory of “but-for” causation. 438

  U.S. 59 (1978). The plaintiffs, who were comprised in part of individuals living near the proposed

  sites for nuclear plants, challenged a statute that limited the aggregate liability for a single nuclear

  accident under the theory that, but for the passing of the statute, the nuclear plants would not have

  been constructed. Id. at 64–65. The Supreme Court agreed with the district court’s finding that


  654
      [Doc. No. 204, at 67–68]
  655
      [Id. at 69–71 (citing Doc. No. 214-1, ¶¶57, 64 “(promising the White House that Facebook would censor “often-
  true” but “sensationalized” content)”; ¶ 73 “(imposing forward limits on non-violative speech on WhatsApp)”; ¶¶ 89-
  92 “(assuring the White House that Facebook will use a “spectrum of levers” to censor content that “do[es] not violate
  our Misinformation and Harm policy, including “true but shocking claims or personal anecdotes, or discussing the
  choice to vaccinate in terms of personal and civil liberties”)”; ¶¶ 93-100 “(agreeing to censor Tucker Carlson’s content
  at the White House’s behest, even though it did not violate platform policies)”, ¶¶ 103-104 “(Twitter deplatforming
  Alex Berenson at White House pressure)”; ¶ 171 “(Facebook deplatformed the Disinformation Dozen immediately
  after these comments). Facebook officials scrambled to get back into the White House’s good graces. Id. ¶¶ 172, 224
  (pleading for “de-escalation” and “working together”).”]
  656
      [Doc. No. 266, at 131–136]

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  there was a “substantial likelihood” that the nuclear plants would have been neither completed nor

  operated absent the passage of the nuclear-friendly statute. Id. at 75.

              In Duke Power Co., the defendants essentially argued that the statute was not the “but-for”

  cause of the injuries claimed by the plaintiffs because if Congress had not passed the statute, the

  Government would have developed nuclear power independently, and the plaintiffs would have

  likely suffered the same injuries from government-operated plants as they would have from

  privately operated ones. Id. In rejecting that argument, the Supreme Court stated:

                       Whatever the ultimate accuracy of this speculation, it is not
                       responsive to the simple proposition that private power companies
                       now do in fact operate the nuclear-powered generating plants
                       injuring [the plaintiffs], and that their participation would not have
                       occurred but for the enactment and implementation of the Price-
                       Anderson Act. Nothing in our prior cases requires a party seeking to
                       invoke federal jurisdiction to negate the kind of speculative and
                       hypothetical possibilities suggested in order to demonstrate the
                       likely effectiveness of judicial relief.

  Id. at 77–78. The Supreme Court’s reluctancy to follow the defendants down a rabbit-hole of

  speculation and “what-ifs” is highly instructive.

              Here, Defendants heavily rely upon the premise that social-media companies would have

  censored Plaintiffs and/or modified their content moderation policies even without any alleged

  encouragement and coercion from Defendants or other Government officials. This argument is

  wholly unpersuasive. Unlike previous cases that left ample room to question whether public

  officials’ calls for censorship were fairly traceable to the Government; the instant case paints a full

  picture.657 A drastic increase in censorship, deboosting, shadow-banning, and account suspensions

  directly coincided with Defendants’ public calls for censorship and private demands for




  657
        See [Doc. No. 204, at 41-44 (where this Court distinguished this case from cases that “left gaps” in the pleadings)]

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  censorship.658 Specific instances of censorship substantially likely to be the direct result of

  Government involvement are too numerous to fully detail, but a birds-eye view shows a clear

  connection between Defendants’ actions and Plaintiffs injuries.

           The Plaintiffs’ theory of but-for causation is easy to follow and demonstrates a high

  likelihood of success as to establishing Article III traceability. Government officials began publicly

  threatening social-media companies with adverse legislation as early as 2018.659 In the wake of

  COVID-19 and the 2020 election, the threats intensified and became more direct.660 Around this

  same time, Defendants began having extensive contact with social-media companies via emails,

  phone calls, and in-person meetings.661 This contact, paired with the public threats and tense

  relations between the Biden administration and social-media companies, seemingly resulted in an

  efficient report-and-censor relationship between Defendants and social-media companies.662

  Against this backdrop, it is insincere to describe the likelihood of proving a causal connection

  between Defendants’ actions and Plaintiffs’ injuries as too attenuated or purely hypothetical.

           The evidence presented thus goes far beyond mere generalizations or conjecture: Plaintiffs

  have demonstrated that they are likely to prevail and establish a causal and temporal link between



  658
      See, e.g., [Doc. No. 241-1, ¶¶1, 7, 17, 164 (examples of Government officials threatening adverse legislation against
  social-media companies if they do not increase censorship efforts); ¶¶ 51, 119, 133, 366, 424, 519 (examples of social-
  media companies, typically following up after an in-person meeting or phone call, ensuring Defendants that they
  would increase censorship efforts)]
  659
      [Doc. No. 214-1, ¶1]
  660
      See, e.g., [Id. at ¶ 156 (Psaki reinforcing President Biden’s “They’re killing people” comment); ¶166 (media outlets
  reporting tense relations between the Biden administration and social-media companies)]
  661
      See, e.g., [Doc. No. 174-1, at 3 (Twitter employees setting up a more streamlined process for censorship requests
  because the company had been “recently bombarded” with censorship requests from the White House)]
  662
      See, e.g., [Doc. Nos. 174-1, at 3 (Twitter employees setting up a more streamlined process for censorship requests
  because the company had been “recently bombarded” with censorship requests from the White House); at 4 (Twitter
  suspending a Jill Biden parody account within 45 minutes of a White House official requesting twitter to “remove this
  account immediately”); 214-1, at ¶799 (Drs. Bhattacharya and Kuldorff began experienced extensive censorship on
  social media shortly after Dr. Collins emailed Dr. Fauci seeking a “quick and devastating take down” of the GBD.);
  ¶1081 (Twitter removing tweets within two minutes of Scully reporting them for censorship.); ¶¶1266-1365
  (Explaining how the Virality Project targeted Hines and health-freedom groups.); 214-9, at 2-3 (Twitter ensuring the
  White House that it would increase censorship of “misleading information” following a meeting between White House
  officials and Twitter employees.); etc.]

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  Defendants’ actions and the social-media companies’ censorship decisions. Accordingly, this

  Court finds that there is a substantial likelihood that Plaintiffs would not have been the victims of

  viewpoint discrimination but for the coercion and significant encouragement of Defendants

  towards social-media companies to increase their online censorship efforts. 663

           For the reasons stated above, as well as those set forth in this Court’s previous ruling on

  the Motion to Dismiss,664 the Court finds that Plaintiffs are likely to succeed in establishing the

  traceability element of Article III standing.

                                      iii.      Redressability

           The redressability element of the standing analysis requires that the alleged injury is “likely

  to be redressed by a favorable decision.” Lujan, 504 U.S. at 560–61. “To determine whether an

  injury is redressable, a court will consider the relationship between ‘the judicial relief requested’

  and the ‘injury’ suffered.” California v. Texas, 141 S. Ct. 2104, 2115, 210 L. Ed. 2d 230 (2021)

  (quoting Allen v. Wright, 468 U.S. 737, 753 n.19 (1984), abrogated by Lexmark Int'l, Inc. v. Static

  Control Components, Inc., 572 U.S. 118 (2014)). Additionally, courts typically find that where an

  injury is traceable to a defendant’s conduct, it is usually redressable as well. See, e.g., Scenic Am.,

  Inc. v. United States Dep't of Transportation, 836 F.3d 42, 54 (D.C. Cir. 2016) (“[C]ausation and

  redressability are closely related, and can be viewed as two facets of a single requirement.”); Toll

  Bros. v. Twp. of Readington, 555 F.3d 131, 142 (3d Cir. 2009) (“Redressability . . . is closely

  related to traceability, and the two prongs often overlap.”); El Paso Cnty. v. Trump, 408 F. Supp.

  3d 840, 852 (W.D. Tex. 2019).


  663
      Because this Court finds that Plaintiffs have successfully shown a likelihood of success under a “but for” theory of
  causation, it will not address Plaintiffs arguments as to other theories of causation. However, the Court does note that
  caselaw from outside of the Fifth Circuit supports a more lenient theory of causation for purposes of establishing
  traceability. See, e.g., Tweed-New Haven Airport Auth. v. Tong, 930 F.3d 65, 71 (2d Cir. 2019); Parsons v. U.S. Dep’t
  of Justice, 801 F.3d 701, 714 (6th Cir. 2015).
  664
      [Doc. No. 204, at 67–71]

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          Plaintiffs argue that they are likely to prove that a favorable decision would redress their

  injuries because they have provided ample evidence that their injuries are imminent and

  ongoing.665 In response, Defendants contend that any threat of future injury is merely speculative

  because Plaintiffs rely on dated declarations and focus on long-past conduct of Defendants and

  social-media companies.666 For the reasons explained below, the Court finds that Plaintiffs are

  likely to prove that their injuries would be redressed by a favorable decision.

          As this Court previously noted,667 a plaintiff’s standing is evaluated at the time of filing of

  the initial complaint in which they joined. Lynch v. Leis, 382 F.3d 642, 647 (6th Cir. 2004); Davis

  v. F.E.C., 554 F.3d 724, 734 (2008); S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1153 (10th

  Cir. 2013). The State Plaintiffs filed suit on May 5, 2022,668 and the individual Plaintiffs joined on

  August 2, 2022.669 Both groups are likely to prove that threat of future injury is more than merely

  speculative.

          Plaintiff States have produced sufficient evidence to demonstrate a likelihood of proving

  ongoing injuries as of the time the Complaint was filed. For instance, on June 13, 2023, Flaherty

  still wanted to “get a sense of what [Facebook was] planning” and denied the company’s request

  for permission to stop submitting its biweekly “Covid Insights Report” to the White House.670

  Specifically, Flaherty wanted to monitor Facebook’s suppression of COVID-19 misinformation

  “as we start to ramp up [vaccines for children under the age of five].”671 The CDC also remained

  in collaboration with Facebook in June of 2022 and even delayed implementing policy changes




  665
      [Doc. No. 214, at 71–74]
  666
      [Doc. No. 266, at 152–157]
  667
      [Doc. No. 204, at 62–65]
  668
      [Doc. No. 1]
  669
      [Doc. No. 45]
  670
      [Doc. No. 214-1, at ¶425]
  671
      [Id.]

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  “until [it got] the final word from [the CDC].”672 After coordinating with the CDC and White

  House, Facebook informed the White House of its new and government-approved policy, stating:

  “As of today, [June 22, 2022], all COVID-19 vaccine related misinformation and harm policies on

  Facebook and Instagram apply to people 6 months or older.”673

           Likewise, the individual Plaintiffs are likely to demonstrate that their injuries were

  imminent and ongoing as of August 2, 2022. Evidence obtained thus far indicates that Defendants

  have plans to continue the alleged censorship activities. For example, preliminary discovery

  revealed CISA’s expanding efforts in combating misinformation, with a focus on the 2022

  elections.674 As of August 12, 2022, Easterly was directing the “mission of Rumor Control” for

  the 2022 midterm elections,675 and CISA candidly reported to be “bee[fing] up [its] efforts to fight

  falsehoods[]" in preparation for the 2024 election cycle.676 Chan of the FBI also testified at his

  deposition that online disinformation continues to be discussed between the federal agencies and

  social-media companies at the USG Industry meetings, and Chan assumes that this will continue

  through the 2024 election cycle.677 All of this suggests that Plaintiffs are likely to prove that risk

  of future censorship injuries is more than merely speculative. Additionally, past decisions to

  suppress speech result in ongoing injury as long as the speech remains suppressed, and the past

  censorship experienced by individual Plaintiffs continues to inhibit their speech in the present.

  These injuries are also affecting the rights of the Plaintiffs’ audience members, including those in

  Plaintiff States, who have the First Amendment right to receive information free from Government

  interference.


  672
      [Doc. Nos. 71-7, at 6; 214-1, ¶424]
  673
      [Doc. Nos. 71-7, at 6; 71-3, at 5; 214-1, ¶¶424–425]
  674
      [Doc. No. 71-8, at 2; Doc. 86-7, at 14]
  675
      [Doc. No. 86-7, at 14]
  676
      [Doc. No. 214-1, at ¶1106 (see also [Doc. No. 71-8, at 2 (CISA “wants to ensure that it is set up to extract lessons
  learned from 2022 and apply them to the agency’s work in 2024.”]
  677
      [Id. at ¶ 866]

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          Accordingly, and for the reasons stated above, the Court finds that Plaintiffs are likely to

  prove that a favorable decision would redress their injuries because those injuries are ongoing and

  substantially likely to reoccur.

                                  iv.    Recent United States Supreme Court cases of Texas and
                                         Haaland

          Defendants cite to two recent cases from the Supreme Court of the United States which

  they claim undermine this Court’s previous ruling about the Plaintiff States’ likelihood of proving

  Article III standing.

          First, Defendants argue that United States v. Texas, No. 22-58, 2023 WL 4139000 (U.S.

  June 23, 2023), undermines the States’ Article III standing. In Texas, Texas and Louisiana sued

  the Department of Homeland Security (the “Department”), as well as other federal agencies,

  claiming that the recently promulgated “Guidelines for the Enforcement of Civil Immigration

  Law” contravened two federal statutes. Id. at *2. The Supreme Court held that the states lacked

  Article III standing because “a citizen lacks standing to contest the policies of the prosecuting

  authority when he himself is neither prosecuted nor threatened with prosecution.” The Court

  further noted that the case was “categorically different” from other standing decisions “because it

  implicates only one discrete aspect of the executive power—namely, the Executive Branch’s

  traditional discretion over whether to take enforcement actions against violators of federal law.”

  Id. at *2, *8 (citations omitted).

          Here, the Plaintiff States are not asserting a theory that the Defendants failed to act in

  conformity with the Constitution. To the contrary, the Plaintiff States assert that Defendants have

  affirmatively violated their First Amendment right to free speech. The Plaintiff States allege and

  (as extensively detailed above) are likely to prove that the Defendants caused direct injury to the

  Plaintiff States by significantly encouraging and/or coercing social-media companies to censor


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  posts made on social-media. Further, as noted in this Court’s previous ruling, the Plaintiff States

  are likely to have Article III standing because a significant portion of the Plaintiff States’

  population has been prevented from engaging with the posts censored by the Defendants. The

  Supreme Court noted that “when the Executive Branch elects not to arrest or prosecute, it does not

  exercise coercive power over an individual’s liberty or property, and thus does not infringe upon

  interests that courts are often called upon to protect.” Id. at *5. Here, federal officials allegedly did

  exercise coercive power, and the Plaintiffs are likely to prevail on their claim that the Defendants

  violated the First Amendment rights of the Plaintiff States, their citizens, and the Individual

  Plaintiffs.

          Defendants contend that the Supreme Court in Texas narrowed the application of special

  solicitude afforded to states because the Supreme Court noted that the standing analysis in

  Massachusetts “d[id] not control” because “[t]he issue there involved a challenge to the denial of

  a statutorily authorized petition for rulemaking,” rather than the exercise of enforcement

  discretion. Id. at *8 n.6. This Court disagrees with Defendants on that point. As noted by Plaintiffs,

  the majority opinion in Texas does not mention special solicitude. Further, this Court noted in its

  previous analysis of standing that the Plaintiff States could satisfy Article III’s standing

  requirements without special solicitude. Therefore, even to the extent this Court “leaves that idea

  on the shelf,” as suggested in Justice Gorsuch’s concurrence, the Court nonetheless finds that the

  Plaintiff States are likely to prove Article III standing.

          Defendants also argue that the Supreme Court’s recent ruling in Haaland v. Brackeen, No.

  21-376, 2023 WL 4002951 (U.S. June 15, 2023), undermines the Plaintiff States’ Article III

  standing. In Haaland, the Supreme Court ruled that Texas did not possess standing to challenge

  the placement provisions of the Indian Child Welfare Act, which prioritizes Indian families in



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  custody disputes involving Indian children. Id. at *19. The Supreme Court reasoned that the states

  in Texas could not “assert equal protection claims on behalf of its citizens because ‘[a] State does

  not have standing as parens patriae to bring an action against the Federal Government.’” Id.

  (quoting Snapp, 458 U.S. at 610 n.16)). The Defendants argue that this statement precludes parens

  patriae standing in the present case.678 However, in its brief discussion regarding parens patriae

  standing, the Haaland Court quoted footnote 16 from Snapp, which, in turn, reiterated the “Mellon

  bar.” Haaland, 2023 WL 4002951, at *19; Snapp, 458 U.S. at 610 n.16 (quoting Massachusetts v.

  262 U.S. at 485–86.

             Plaintiffs correctly note that, although both cases employ broad language, neither Haaland

  nor Snapp elaborate on the extent of the “Mellon bar.” Moreover, the Supreme Court has clarified

  in other instances that parens patriae suits are permitted against the federal government outside

  the scope of the Mellon bar. See Massachusetts v. EPA, 549 U.S. at 520 n.17, (explaining the

  “critical difference” between barred parens patriae suits by Mellon and allowed parens patriae

  suits against the federal government).

             Consistent with Massachusetts v. EPA, this Court has previously determined that the

  Mellon bar applies to “third-party parens patriae suits,” but not to “quasi-sovereign-interest

  suits.”679 In Haaland, Texas presented a “third-party parens patriae suit,” as opposed to a “quasi-

  sovereign-interest suit,” as it asserted the equal protection rights of only a small minority of its

  population (i.e., non-Indian foster or adoptive parents seeking to foster or adopt Indian children

  against the objections of relevant Indian tribes), which clearly did not qualify as a quasi-sovereign

  interest. See Haaland, 2023 WL 4002951, at *19 & n.11). Here, however, Louisiana and Missouri

  advocate for the rights of a significant portion of their populations, specifically the hundreds of


  678
         [Doc. 289, at 2].
  679
        [Doc. 224, at 215–26], quoting Kentucky v. Biden, 23 F.4th 585, 598 (6th Cir. 2022).

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  thousands or millions of citizens who are potential audience members affected by federal social-

  media speech suppression.

             Furthermore, when the Haaland Court determined that Texas lacked third-party standing,

  it stressed that Texas did not have either a “‘concrete injury’ to the State” or any hindrance to the

  third party’s ability to protect its own interests. Id. at *19 n.11 (quoting Georgia v. McCollum, 505

  U.S. 42, 55–56 (1992)). Here, by contrast, the Plaintiff States have demonstrated a likelihood of

  succeeding on their claims that they have suffered, and likely will continue to suffer, numerous

  concrete injuries resulting from federal social-media censorship.680 Additionally, the ability of the

  third parties in this case to protect their own interests is hindered because the diffuse First

  Amendment injury experienced by each individual audience member in Louisiana and Missouri

  lacks sufficient economic impact to encourage litigation through numerous individual lawsuits.

  See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 64 n.6 (1963).

             Defendants further contend that Haaland rejected Texas’s argument regarding the ICWA’s

  placement provisions requiring Texas to compromise its commitment to being impartial in child-

  custody proceedings.681 However, the Supreme Court rejected this argument for a specific reason:

  “Were it otherwise, a State would always have standing to bring constitutional challenges when it

  is complicit in enforcing federal law.” Haaland, 2023 WL 4002951, at *19. By contrast, Missouri

  and Louisiana do not assert that the federal government mandates their complicity in enforcing

  federal social-media-censorship regimes. The Plaintiff States instead assert that they, along with a

  substantial portion of their populations, have been injured by Defendants’ actions.

             Neither Texas nor Haaland undermine this Court’s previous ruling that the Plaintiff States

  have Article III standing to sue Defendants in the instant case. Further, the evidence produced thus


  680
        See, e.g., [Doc. 214-1, ¶¶ 1427–1442]
  681
        [Doc. 289, at 3] quoting Haaland, 2023 WL 4002951, at *19.

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  far through limited discovery demonstrates that Plaintiffs are likely to succeed on their First

  Amendment claims. Accordingly, the Court finds that Plaintiffs are likely to prove all elements of

  Article III standing, and therefore, are likely to establish that this Court has jurisdiction.

            2. Irreparable Harm

            The second requirement for a Preliminary Injunction is a showing of irreparable injury:

  plaintiffs must demonstrate “a substantial threat of irreparable injury” if the injunction is not

  issued. Texas, 809 F.3d at 150. For injury to be “irreparable,” plaintiffs need only show it cannot

  be undone through monetary remedies. Burgess v. Fed. Deposit Inc., Corp., 871 F.3d 297, 304

  (5th Cir. 2017). Deprivation of a procedural right to protect a party’s concrete interests is

  irreparable injury. Texas, 933 F.3d at 447. Additionally, violation of a First Amendment

  constitutional right, even for a short period of time, is always irreparable injury. Elrod, 427 U.S.

  at 373.

            Plaintiffs argue in their memorandum that the First Amendment violations are continuing

  and/or that there is a substantial risk that future harm is likely to occur. In contrast, Defendants

  argue that Plaintiffs are unable to show imminent irreparable harm because the alleged conduct

  occurred in the past, is not presently occurring, and is unlikely to occur in the future. Defendants

  argue Plaintiffs rely upon actions that occurred approximately one year ago and that it cannot be

  remedied by any prospective injunctive relief. Further, Defendants argue that there is no “imminent

  harm” because the COVID-19 pandemic is over and because the elections where the alleged

  conduct occurred are also over.

            The Court finds that Plaintiffs have demonstrated a “significant threat of injury from the

  impending action, that the injury is imminent, and that money damages would not fully repair the

  harm.” Humana, Inc., v. Jackson, 804 F.2d 1390, 1394 (5th Cir. 1986). To demonstrate irreparable



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  harm at the preliminary injunction stage, Plaintiffs must adduce evidence showing that the

  irreparable injury is likely to occur during the pendency of the litigation. Justin Indus. Inc., v.

  Choctaw Secs., L.P., 920 F.2d 262, 268 n. 7 (5th Cir. 1990). This Plaintiffs have done.

           Defendants argue that the alleged suppression of social-media content occurred in response

  to the COVID-19 pandemic and attacks on election infrastructure, and therefore, the alleged

  conduct is no longer occurring. Defendants point out that the alleged conduct occurred between

  one to three years ago. However, the information submitted by Plaintiffs was at least partially

  based on preliminary injunction-related discovery682 and third-party subpoena requests that were

  submitted to five social-media platforms on or about July 19, 2022.683 The original Complaint684

  was filed on May 5, 2022, and most of the responses to preliminary injunction-related discovery

  provided answers to discovery requests that occurred before the Complaint was filed. Since

  completion of preliminary-injunction related discovery took over six months, most, if not all, of

  the information obtained would be at least one year old.

           Further, the Defendants’ decision to stop some of the alleged conduct does not make it any

  less relevant. A defendant claiming that its voluntary compliance moots a case bears the formidable

  burden of showing that it is absolutely clear the alleged wrongful behavior could not reasonably

  be expected to recur. Already, LLC v. Nike, 568 U.S. 85, 91 (2013). Defendants have not yet met

  this burden here.

           Defendants also argue that, due to the delay in the Plaintiffs seeking relief,685 the Plaintiffs

  have not shown “due diligence” in seeking relief. However, this Court finds that Plaintiffs have

  exercised due diligence. This is a complicated case that required a great deal of discovery in order


  682
      [Doc. No. 34]
  683
      [Doc. No. 37]
  684
      [Doc. No. 1]
  685
      Plaintiffs allege actions occurring as far back as 2020.

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  to obtain the necessary evidence to pursue this case. Although it has taken several months to obtain

  this evidence, it certainly was not the fault of the Plaintiffs. Most of the information Plaintiffs

  needed was unobtainable except through discovery.

         Defendants further argue the risk that Plaintiffs will sustain injuries in the future is

  speculative and depends upon the action of the social-media platforms. Defendants allege the

  Plaintiffs have therefore not shown imminent harm by any of the Defendants.

         In Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“SBA List”), the Supreme

  Court held that, for purposes of an Article III injury-in-fact, an allegation of future injury may

  suffice if there is “a ‘substantial risk’ that the harm will occur.” (quoting Clapper v. Amnesty Int'l

  USA, 568 U.S. 398, 408, (2013)). In SBA List, a petitioner challenged a statute that prohibited

  making certain false statements during the course of a political campaign. Id. at 151–52. In

  deciding whether the pre-enforcement challenge was justiciable—and in particular, whether it

  alleged a sufficiently imminent injury for purposes of Article III—the Court noted that pre-

  enforcement review is warranted under circumstances that render the threatened enforcement

  “sufficiently imminent.” Id. at 159. Specifically, the Court noted that past enforcement is “good

  evidence that the threat of enforcement is not ‘chimerical.’” Id. at 164 (quoting Steffel v.

  Thompson, 415 U.S. 452, 459 (1974)).

         Similarly, in Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979), the

  Supreme Court held that a complaint alleges an Article III injury-in-fact where fear of future injury

  is not “imaginary or wholly speculative.” In Babbitt, the Supreme Court considered a pre-

  enforcement challenge to a statute that made it an unfair labor practice to encourage consumers to

  boycott using “dishonest, untruthful, and deceptive publicity.” Id. at 301. Because the plaintiffs

  had engaged in consumer publicity campaigns in the past and alleged an intention to continue those



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  campaigns in the future, the Court held that their challenge to the consumer publicity provision

  presented an Article III case or controversy. Id. at 302; see also Virginia v. Am. Booksellers Ass'n,

  Inc., 484 U.S. 383, 386 (1988) (where the Supreme Court held that booksellers could seek pre-

  enforcement review of a law making it a crime to “knowingly display for commercial purpose”

  material that is “harmful to juveniles,” as defined by the statute).

           Therefore, the question is whether Plaintiffs have alleged a “substantial risk” that harm

  may occur, which is not “imaginary or wholly speculative.” This Court finds that the alleged past

  actions of Defendants show a substantial risk of harm that is not imaginary or speculative. SBA

  List, 573 U. S. at 164. Defendants apparently continue to have meetings with social-media

  companies and other contacts.686

           Although the COVID-19 pandemic is no longer an emergency, it is not imaginary or

  speculative to believe that in the event of any other real or perceived emergency event, the

  Defendants would once again use their power over social-media companies to suppress alternative

  views. And it is certainly not imaginary or speculative to predict that Defendants could use their

  power over millions of people to suppress alternative views or moderate content they do not agree

  with in the upcoming 2024 national election. At oral arguments Defendants were not able to state

  that the “switchboarding” and other election activities of the CISA Defendants and the State

  Department Defendants would not resume prior to the upcoming 2024 election;687 in fact, Chan

  testified post 2020, “we’ve never stopped.”688 Notably, a draft copy of the DHS’s “Quadrennial

  Homeland Security Review,” which outlines the department’s strategy and priorities in upcoming

  years, states that the department plans to target “inaccurate information” on a wide range of topics,



  686
      [Doc. No. 204-1 at 40]
  687
      [Doc. No. 208 at 122]
  688
      [Chan depo. at 8–9]

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                                                 - A142 -
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  including the origins of the COVID-19 pandemic, the efficacy of COVID-19 vaccines, racial

  justice, the U.S. withdrawal from Afghanistan, and the return of U.S. Support of Ukraine.689

          The Plaintiffs are likely to succeed on the merits in their claims that there is a substantial

  risk that harm will occur, that is not imaginary or speculative. Plaintiffs have shown that not only

  have the Defendants shown willingness to coerce and/or to give significant encouragement to

  social-media platforms to suppress free speech with regard to the COVID-19 pandemic and

  national elections, they have also shown a willingness to do it with regard to other issues, such as

  gas prices,690 parody speech,691 calling the President a liar,692 climate change,693 gender,694 and

  abortion.695 On June 14, 2022, White House National Climate Advisor Gina McCarthy, at an Axios

  event entitled, “A Conversation on Battling Disinformation,” was quoted as saying, “We have to

  get together; we have to get better at communicating, and frankly, the tech companies have to stop

  allowing specific individuals over and over to spread disinformation.”696

          The Complaint (and its amendments) shows numerous allegations of apparent future harm.

  Plaintiff Bhattacharya alleges ongoing social-media censorship.697 Plaintiff Kulldorff alleges an

  ongoing campaign of censorship against the GBD and his personal social-media accounts.698

  Plaintiff Kheriaty also alleges ongoing and expected future censorship,699 noting “shadow-

  banning” his social-media account is increasing and has intensified since 2022.700 Plaintiffs Hoft




  689
      [Doc. No. 209-23 at 4]
  690
      [Doc. No. 212-3 at 65–66, ¶ 211]
  691
      [Id. at 58-60, ¶¶ 180–188]
  692
      [Id. at 61, ¶ 190]
  693
      [Id. at 63-64, ¶¶ 200–203]
  694
      [Id. at 64-64, ¶¶ 204–208]
  695
      [Id. at 65, ¶¶ 209–210]
  696
      [Doc. No. 214-15]
  697
      [Doc. No. 45-3, ¶¶ 15–33]
  698
      [Doc. No. 45-4, ¶¶ 14–16]
  699
      [Doc. No. 45-7, ¶¶ 12–18]
  700
      [Id. at ¶¶ 15]

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  and Hines also allege ongoing and expected future censorship injuries. 701 It is not imaginary or

  speculative that the Defendants will continue to use this power. It is likely.

             The Court finds that Plaintiffs are likely to succeed on their claim that they have shown

  irreparable injury sufficient to satisfy the standard for the issuance of a preliminary injunction.

             3. Equitable Factors and Public Interest

             Thus far, Plaintiffs have satisfied the first two elements to obtain a preliminary injunction.

  The final two elements they must satisfy are that the threatened harm outweighs any harm that

  may result to the Federal Defendants and that the injunction will not undermine the public interest.

  Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1051 (5th Cir. 1997). These two factors overlap

  considerably. Texas, 809 F.3d at 187. In weighing equities, a court must balance the competing

  claims of injury and must consider the effect on each party of the granting or withholding of the

  requested relief. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The public interest

  factor requires the court to consider what public interests may be served by granting or denying a

  preliminary injunction. Sierra Club v. U.S. Army Corps of Engineers, 645 F.3d 978, 997–98 (8th

  Cir. 2011).

             Defendants maintain their interest in being able to report misinformation and warn social-

  media companies of foreign actors’ misinformation campaigns outweighs the Plaintiffs’ interest

  in the right of free speech. This Court disagrees and finds the balance of equities and the public

  interest strongly favors the issuance of a preliminary injunction. The public interest is served by

  maintaining the constitutional structure and the First Amendment free speech rights of the

  Plaintiffs. The right of free speech is a fundamental constitutional right that is vital to the freedom

  of our nation, and Plaintiffs have produced evidence of a massive effort by Defendants, from the



  701
        [Doc. No. 45-7 at ¶¶ 12–18]; [Doc. No. 84 at ¶¶ 401–420]; [Doc. No. 45-12 at ¶ 4, 12]

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  White House to federal agencies, to suppress speech based on its content. Defendants’ alleged

  suppression has potentially resulted in millions of free speech violations. Plaintiffs’ free speech

  rights thus far outweighs the rights of Defendants, and thus, Plaintiffs satisfy the final elements

  needed to show entitlement to a preliminary injunction.

               4. Injunction Specificity

               Lastly, Defendants argue that Plaintiff’s proposed preliminary injunction lacks the

  specificity required by Federal Rule of Civil Procedure 65 and is impermissibly overbroad. Rule

  65(d)(1) requires an injunction to “state its terms specifically” and to “describe in reasonable detail

  the acts or acts restrained or required.” The specificity provisions of Rule 65(d) are designed to

  prevent uncertainty and confusion on the part of those faced with injunction orders and to avoid

  possible contempt based upon a decree too vague to be understood. Atiyeh v. Capps, 449 U.S.

  1312, 1316–17 (1981). An injunction must be narrowly tailored to remedy the specific action that

  gives rise to the injunction. Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016).

               This Court believes that an injunction can be narrowly tailored to only affect prohibited

  activities, while not prohibiting government speech or agency functions. Just because the

  injunction may be difficult to tailor is not an excuse to allow potential First Amendment violations

  to continue. Thus, the Court is not persuaded by Defendants arguments here.

               Because Plaintiffs have met all the elements necessary to show entitlement to a preliminary

  injunction, this Court shall issue such injunction against the Defendants described above.

         IV.      CLASS CERTIFICATION

               In their Third Amended Complaint, the Individual Plaintiffs purport to bring a class action

  “on behalf of themselves and two classes of other persons similarly situated to them.”702 Plaintiffs



  702
        [Doc. No. 268 at ¶489].

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  go on to describe the two proposed classes, as well as state generally that each requirement for

  class certification is met.703 Defendants opposed Plaintiffs’ request for class certification in their

  Response to Plaintiffs’ Motion for Class Certification and for Leave to File Third Amended

  Complaint.704

             The Court is obligated to analyze whether this litigation should proceed as a class action.

  See Castano v. Am. Tobacco Co., 84 F.3d 734, 740 (5th Cir. 1996) (“A district court must conduct

  a rigorous analysis of the rule 23 prerequisites before certifying a class.”). Pursuant to this

  obligation, the Court questioned counsel at the hearing on the preliminary injunction as to the basis

  for class certification. As explained in further detail below, the Court finds that Plaintiffs failed to

  meet their burden of proof, and class certification is improper here.

           A. Class Certification Standard under FRCP 23

             “The decision to certify is within the broad discretion of the court, but that discretion must

  be exercised within the framework of rule 23.” Id. at 740. “The party seeking certification bears

  the burden of proof.” Id.

             Federal Rule of Civil Procedure 23(a) lays out the four key prerequisites for a class action.

  It states:

                      One or more members of a class may sue or be sued as representative
                      parties on behalf of all members only if:
                      (1) the class is so numerous that joinder of all members is
                      impracticable;
                      (2) there are questions of law or fact common to the class;
                      (3) the claims or defenses of the representative parties are typical of
                      the claims or defenses of the class; and
                      (4) the representative parties will fairly and adequately protect the
                      interests of the class.

  Fed. R. Civ. P. 23(a).


  703
        [Id. at ¶¶490–501].
  704
        [Doc. No. 244].

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         In addition to the enumerated requirements above, Plaintiffs must propose a class that has

  an objective and precise definition. “The existence of an ascertainable class of persons to be

  represented by the proposed class representative is an implied prerequisite of Federal Rule of Civil

  Procedure 23.” John v. Nat'l Sec. Fire & Cas. Co., 501 F.3d 443, 445 (5th Cir. 2007).

         “In addition to satisfying Rule 23(a)’s prerequisites, parties seeking class certification must

  show that the action is maintainable under Rule 23(b)(1), (2), or (3).” Amchem Prod., Inc. v.

  Windsor, 521 U.S. 591, 614 (1997). Here, Plaintiffs specifically bring this class action under Rule

  23(b)(2), which allows for maintenance of a class action where “the party opposing the class has

  acted or refused to act on grounds that apply generally to the class, so that final injunctive relief or

  corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

  23(b0) (2). “Civil rights cases against parties charged with unlawful, class-based discrimination

  are prime examples” of Rule 23(b)(2) class actions. Amchem Prod., Inc., 521 U.S. at 614.

          Notably, the Fifth Circuit recently held that a standing analysis is necessary before

  engaging in the class certification analysis. Angell v. GEICO Advantage Ins. Co., 67 F.4th 727,

  733 (5th Cir. 2023). However, because this Court has already completed multiple standing

  analyses in this matter, and because the Court ultimately finds that the class should not be certified,

  the Court will not address which standing test should be applied to this specific issue.



        B. Analysis

          In order to certify this matter as a class action, the Court must find that Plaintiffs have

  established each element of Rule 23(a). See In re Monumental Life Ins. Co., 365 F.3d 408, 414–

  15 (5th Cir. 2004) (“All classes must satisfy the four baseline requirements of rule 23(a):




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  numerosity, commonality, typicality, and adequacy of representation.”). The Court finds that

  Plaintiffs failed to meet their burden, and therefore, the Court will not certify the class action.

             1. Class Definition

             Plaintiffs propose two classes to proceed with their litigation as a class action. First,

  Plaintiffs define Class 1 as follows:

                      The class of social-media users who have engaged or will engage in,
                      or who follow, subscribe to, are friends with, or are otherwise
                      connected to the accounts of users who have engaged or will engage
                      in, speech on any social-media company’s platform(s) that has been
                      or will be removed; labelled; used as a basis for suspending,
                      deplatforming, issuing strike(s) against, demonetizing, or taking
                      other adverse action against the speaker; downranked; deboosted;
                      concealed; or otherwise suppressed by the platform after Defendants
                      and/or those acting in concert with them flag or flagged the speech
                      to the platform(s) for suppression.705

  Next, Plaintiffs define Class 2 as follows:

                      The class of social-media users who have engaged in or will engage
                      in, or who follow, subscribe to, are friends with, or are otherwise
                      connected to the accounts of users who have engaged in or will
                      engage in, speech on any social-media company’s platform(s) that
                      has been or will be removed; labelled; used as a basis for
                      suspending, deplatforming, issuing strike(s) against, demonetizing,
                      or taking other adverse action against the speaker; downranked;
                      deboosted; concealed; or otherwise suppressed by the company
                      pursuant to any change to the company’s policies or enforcement
                      practices that Defendants and/or those acting in concert with them
                      have induced or will induce the company to make.706

             “It is elementary that in order to maintain a class action, the class sought to be represented

  must be adequately defined and clearly ascertainable.” DeBremaecker v. Short, 433 F.2d 733, 734

  (5th Cir. 1970). The Court finds that the class definitions provided by Plaintiffs are neither

  “adequately defined” nor “clearly ascertainable.” Simply put, there is no way to tell just how many



  705
        [Doc. No. 268 at ¶490]
  706
        [Id. at ¶491]

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  people or what type of person would fit into these proposed classes. The proposed class definitions

  are so broad that almost every person in America, and perhaps in many other countries as well,

  could fit into the classes. The Court agrees with Defendants that the language used is simply too

  vague to maintain a class action using these definitions.707 Where a class definition is, as here, “too

  broad and ill-defined” to be practicable, the class should not be certified. See Braidwood Mgmt.,

  Inc. v. Equal Emp. Opportunity Comm’n, No. 22-10145, 2023 WL 4073826, at *14 (5th Cir. June

  20, 2023).

           Further, no evidence was produced at the hearing on the motion for preliminary injunction

  that “would have assisted the district court in more accurately delineating membership in a

  workable class.” DeBremaecker, 433 F.2d at 734. The Court questioned Plaintiffs’ counsel about

  the issues with the proposed class definitions, but counsel was unable to provide a solution that

  would make class certification feasible here. Counsel for Plaintiffs stated that “the class definition

  is sufficiently precise,” but the Court fails to see how that is so, and counsel did not explain any

  further.708 Counsel for Plaintiffs focused on the fact that the proposed class action falls under Rule

  23(b)(2), providing for broad injunctive relief, and therefore, counsel argued that the Court would

  not need to “figure out every human being in the United States of American [sic] who was actually

  adversely affected.”709 Even if the Court does not need to identify every potential class member

  individually, the Court still needs to be able to state the practical bounds of the class definition—

  something it cannot do with the loose wording given by Plaintiffs.




  707
      [Doc. No. 244 at 7]
  708
      Hearing Transcript at 181, line 15.
  709
      [Id. at lines 16–18]

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             Without a feasible class definition, the Court cannot certify Plaintiffs’ proposed class

  action. Out of an abundance of caution, however, the Court will address the other enumerated

  prerequisites of Rule 23(a) below.

             2. Numerosity

             The numerosity requirement mandates that a class be “so large that joinder of all members

  is impracticable.” Fed. R. Civ. P. 23(a)(1). “Although the number of members in a proposed class

  is not determinative of whether joinder is impracticable,” classes with a significantly high number

  of potential members easily satisfy this requirement. Mullen v. Treasure Chest Casino, LLC, 186

  F.3d 620, 624 (5th Cir. 1999) (finding class of 100 to 150 members satisfied the numerosity

  requirement). Other factors, such as “the geographical dispersion of the class” and “the nature of

  the action,” may also support a finding that the numerosity element has been met. Id. at 624–25.

             Here, Plaintiffs state that both Class 1 and Class 2 are “sufficiently numerous that joinder

  of all members is impracticable.”710 Plaintiffs reference the “content of hundreds of users with,

  collectively, hundreds of thousands or millions of followers” who were affected by Defendants’

  alleged censorship.711 Thus, based on a surface-level look at potential class members, it appears

  that the numerosity requirement would be satisfied because the class members’ numbers reach at

  least into the thousands, if not the millions.

             However, the numerosity requirement merely serves to highlight the same issue described

  above: the potential class is simply too broad to even begin to fathom who would fit into the class.

  Joinder of all the potential class members is more than impractical—it is impossible. Thus, while

  the sheer number of potential class members may tend towards class certification, the Court is only




  710
        [Doc. No. 268 at ¶¶492–93]
  711
        [Id. at ¶¶492]

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  further convinced by Plaintiffs’ inability to estimate the vast number of class members that

  certification is improper here.

           3. Commonality

           The commonality requirement ensures that there are “questions of law or fact common to

  the class.” Fed. R. Civ. P. 23(a)(2). “The test for commonality is not demanding and is met ‘where

  there is at least one issue, the resolution of which will affect all or a significant number of the

  putative class members.’” Mullen, 186 F.3d at 625 (quoting Lightbourn v. County of El Paso, 118

  F.3d 421, 426 (5th Cir. 1997)).

           Here, Plaintiffs state that both classes share common questions of law or fact, including

  “the question whether the government is responsible for a social-media company’s suppression of

  content that the government flags to the company for suppression” for Class 1 and “the question

  whether the government is responsible for a social-media company’s suppression of content

  pursuant to a policy or enforcement practice that the government induced the company to adopt or

  enforce” for Class 2.712 These questions of law are broadly worded and may not properly

  characterize the specific issues being argued in this case.

           At the hearing for the preliminary injunction, Plaintiffs’ counsel clarified that the alleged

  campaign of censorship “involve[es] a whole host of common questions whose resolution are

  going to determine whether or not there’s a First Amendment violation.”713 The Court agrees that

  there is certainly a common question of First Amendment law that impacts each member of the

  proposed classes, but notes Defendants’ well-reasoned argument that Plaintiffs may be attempting

  to aggregate too many questions into one class action.714 The difficulty of providing “a single,



  712
      [Id. at ¶¶494–95]
  713
      Hearing Transcript, at 183, lines 19–21.
  714
      [Doc. No. 244 at 10]

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  class-wide answer,” as highlighted by Defendants, further proves to this Court that class

  certification is likely not the best way to proceed with this litigation.715 Although commonality is

  a fairly low bar, the Court is not convinced Plaintiffs have met their burden on this element of Rule

  23(a).

           4. Typicality

           The typicality requirement mandates that named parties’ claims or defenses “are

  typical…of the class.” Fed. R. Civ. P. 23(a)(3). “Like commonality, the test for typicality is not

  demanding.” Mullen, 186 F.3d at 625. It “focuses on the similarity between the named plaintiffs’

  legal and remedial theories and the theories of those whom they purport to represent.” Lightbourn,

  118 F.3d at 426.

           Here, Plaintiffs assert that the Individual Plaintiffs’ claims are typical of both Class 1 and

  Class 2 members’ claims because they “all arise from the same course of conduct by

  Defendants…namely, the theory that such conduct violates the First Amendment.”716 Further,

  Plaintiffs state that the Individual Plaintiffs “are not subject to any affirmative defenses that are

  inapplicable to the rest of the class and likely to become a major focus of the case.”717

           While the general claims of each potential class member would arise from the Defendants’

  alleged First Amendment violations, the Individual Plaintiffs have not explained how their claims

  are typical of each proposed class specifically. For example, Class 2 includes those social-media

  users who “follow, subscribe to, are friends with, or are otherwise connected to the accounts of

  users” subject to censorship.718 While the Individual Plaintiffs detail at length their own

  censorship, they do not clarify how they have been harmed by the censorship of other users. Again,


  715
      [Id. at 13]
  716
      [Doc. No. 268 at ¶496–97]
  717
      [Id.]
  718
      [Id. at ¶491]

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  this confusion highlights the myriad issues with this proposed class action as a result of the ill-

  defined and over-broad class definitions. The Court cannot make a finding that the Individual

  Plaintiffs’ claims are typical of all class members’ claims, simply because the Court cannot identify

  who would fit in the proposed class. Merely stating that the Rule 23(a) requirements have been

  met is not enough to persuade this Court that the class should be certified as stated.

              5. Adequate Representation

              The final element of a class certification analysis requires that the class representatives

  “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “Differences

  between named plaintiffs and class members render the named plaintiffs’ inadequate

  representatives only if those differences create conflicts between the named plaintiffs’ interests

  and the class members’ interests.” Mullen, 186 F.3d at 626.

              On this element, Plaintiffs state that they “are willing and able to take an active role in the

  case, control the course of litigation, and protect the interest of absentees in both classes.”719

  Plaintiff also state that “[n]o conflicts of interest currently exist or are likely to develop” between

  themselves and the absentees.720 This element is likely met, without evidence to the contrary.

              However, without a working class definition, and with the issues concerning the other Rule

  23(a) elements discussed above, the Court finds class certification inappropriate here, regardless

  of the adequacy of the Individual Plaintiffs’ representation. Thus, for the foregoing reasons, the

  Court declines to certify this matter as a class action.

         V.        CONCLUSION

                        Once a government is committed to the principle of silencing the
                        voice of opposition, it has only one place to go, and that is down the
                        path of increasingly repressive measures, until it becomes a source


  719
        [Id. at ¶498]
  720
        [Id.]

                                                         153
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                   of terror to all its citizens and creates a country where everyone lives
                   in fear.

                                                                               Harry S. Truman

          The Plaintiffs are likely to succeed on the merits in establishing that the Government has

  used its power to silence the opposition. Opposition to COVID-19 vaccines; opposition to

  COVID-19 masking and lockdowns; opposition to the lab-leak theory of COVID-19; opposition

  to the validity of the 2020 election; opposition to President Biden’s policies; statements that the

  Hunter Biden laptop story was true; and opposition to policies of the government officials in

  power. All were suppressed. It is quite telling that each example or category of suppressed speech

  was conservative in nature. This targeted suppression of conservative ideas is a perfect example

  of viewpoint discrimination of political speech. American citizens have the right to engage in free

  debate about the significant issues affecting the country.

           Although this case is still relatively young, and at this stage the Court is only examining it

  in terms of Plaintiffs’ likelihood of success on the merits, the evidence produced thus far depicts

  an almost dystopian scenario. During the COVID-19 pandemic, a period perhaps best

  characterized by widespread doubt and uncertainty, the United States Government seems to have

  assumed a role similar to an Orwellian “Ministry of Truth.”721

          The Plaintiffs have presented substantial evidence in support of their claims that they were

  the victims of a far-reaching and widespread censorship campaign. This court finds that they are

  likely to succeed on the merits of their First Amendment free speech claim against the Defendants.

  Therefore, a preliminary injunction should issue immediately against the Defendants as set out




  721
     An “Orwellian 'Ministry of Truth'” refers to the concept presented in George Orwell's dystopian novel, '1984.' In
  the novel, the Ministry of Truth is a governmental institution responsible for altering historical records and
  disseminating propaganda to manipulate and control public perception.

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  herein. The Plaintiffs Motion for Preliminary Injunction [Doc. No. 10] is GRANTED IN PART

  and DENIED IN PART.

        The Plaintiffs’ request to certify this matter as a class action pursuant to Fed. R. Civ. P.

  Article 23(b)(2) is DENIED.

        MONROE, LOUISIANA this 4th day of July 2023.



                                              _______________________________________
                                              TERRY A. DOUGHTY
                                              UNITED STATES DISTRICT JUDGE




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                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF LOUISIANA
                                              MONROE DIVISION


   STATE OF MISSOURI, ET AL.                                           CASE NO. 3:22-CV-01213

   VERSUS                                                              JUDGE TERRY A. DOUGHTY

   JOSEPH R BIDEN JR., ET AL.                                          MAG. JUDGE KAYLA D. MCCLUSKY

                                                        JUDGMENT

              For the reasons set forth in the Memorandum Ruling on the Request for Preliminary

   Injunction,

              IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiffs’ Motion for

   Preliminary Injunction [Doc. No. 10] is GRANTED in part and DENIED in part.

              IT IS FURTHER ORDERED that: the DEPARTMENT OF HEALTH AND HUMAN

   SERVICES (“HHS”) and THE NATIONAL INSTITUTE OF ALLERGY AND

   INFECTIOUS DISEASES (“NIAID”), and specifically the following employees of the HHS and

   NIAID: XAVIER BECERRA,1 Secretary of HHS; DR. HUGH AUCHINCLOSS, Director of

   NIAID; YOLANDA BYRD, HHS Digital Engagement Team; CHRISTY CHOI, HHS Office of

   Communications; ASHLEY MORSE, HHS Director of Digital Engagement; JOSHUA PECK,

   HHS Deputy Assistant Secretary, Deputy Digital Director of HHS successor (formerly JANELL

   MUHAMMED); along with their secretaries, directors, administrators and employees;

   SURGEON GENERAL VIVEK H. MURTHY, KATHARINE DEALY, Chief Engagement

   Officer for the Surgeon General, along with her secretaries, directors, administrators, and

   employees; the CENTERS FOR DISEASE CONTROL AND PREVENTION (“CDC”), and

   specifically the following employees: CAROL Y. CRAWFORD, Chief of the Digital Media


   1
       All individuals named in this Judgment are being sued in their official capacities.

                                                                1
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   Branch of the CDC Division of Public Affairs; JAY DEMPSEY, Social-media Team Leader,

   Digital Media Branch, CDC Division of Public Affairs; KATE GALATAS, CDC Deputy

   Communications Director; UNITED STATES CENSUS BUREAU (“Census Bureau”), and

   specifically the following employees: JENNIFER SHOPKORN, Census Bureau Senior Advisor

   for Communications, Division Chief for the Communications Directorate, and Deputy Director of

   the Census Bureau Office of Faith Based and Neighborhood Partnerships, along with their

   secretaries, directors, administrators and employees; the FEDERAL BUREAU OF

   INVESTIGATION (“FBI”), and specifically the following employees: LAURA DEHMLOW,

   Section Chief, FBI Foreign Influence Task Force; ELVIS M. CHAN, Supervisory Special Agent

   of Squad CY-1 in the FBI San Francisco Division; THE UNITED STATES DEPARTMENT

   OF JUSTICE, along with their secretary, director, administrators, and employees; the following

   members of the Executive Office of the President of the United States: White House Press

   Secretary KARINE JEAN-PIERRE, Counsel to the President; STUART F. DELERY, White

   House Partnerships Manager; AISHA SHAH, Special Assistant to the President; SARAH

   BERAN, MINA HSIANG, Administrator of the United States Digital Service within the Office

   of Management and Budget; ALI ZAIDI, White House National Climate Advisor; White House

   Senior COVID-19 Advisor successor (formerly ANDREW SLAVITT); Deputy Assistant to the

   President and Director of Digital Strategy successor (formerly ROB FLAHERTY); DORI

   SALCIDO, White House COVID-19 Director of Strategic Communications and Engagement;

   White House Digital Director for the COVID-19 Response Team successor (formerly CLARKE

   HUMPHREY); Deputy Director of Strategic Communications and Engagement of the White

   House COVID-19 Response Team successor (formerly BENJAMIN WAKANA); Deputy

   Director for Strategic Communications and External Engagement for the White House COVID-



                                                 2
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   19 Response Team successor (formerly SUBHAN CHEEMA); White House COVID-19 Supply

   Coordinator successor (formerly TIMOTHY W. MANNING); Chief Medical Advisor to the

   President, DR. HUGH AUCHINCLOSS, along with their directors, administrators and

   employees; the CYBERSECURITY AND INFRASTRUCTURE SECURITY AGENCY

   (“CISA”), and specifically the following employees: JEN EASTERLY, Director of CISA; KIM

   WYMAN, Senior Cybersecurity Advisor and Senior Election Security Leader; LAUREN

   PROTENTIS; GEOFFREY HALE; ALLISON SNELL; BRIAN SCULLY, Officials of CISA;

   the UNITED STATES DEPARTMENT OF HOMELAND SECURITY (“DHS”), and

   specifically the following employees: ALEJANDRO MAYORKAS, Secretary of DHS;

   ROBERT SILVERS, Under-Secretary of the Office of Strategy, Policy and Plans; SAMANTHA

   VINOGRAD, Senior Counselor for National Security in the Official of the Secretary for DHS,

   along with their secretary, directors, administrators, and employees; the UNITED STATES

   DEPARTMENT OF STATE (“State Department”), and specifically the following employees:

   LEAH BRAY, Acting Coordinator of the State Department’s Global Engagement Center

   (“GEC”); ALEX FRISBIE, State Department Senior Technical Advisor and member of the

   Technology Engagement Team at the GEC; DANIEL KIMMAGE, Acting Coordinator of the

   GEC, along with their secretary, directors, administrators, and employees ARE HEREBY

   ENJOINED AND RESTRAINED from taking the following actions as to social-media

   companies:2




   2
    “Social-media companies” include Facebook/Meta, Twitter, YouTube/Google, WhatsApp, Instagram, WeChat,
   TikTok, Sina Weibo, QQ, Telegram, Snapchat, Kuaishou, Qzone, Pinterest, Reddit, LinkedIn, Quora, Discord,
   Twitch, Tumblr, Mastodon, and like companies.

                                                        3
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           (1)      meeting with social-media companies for the purpose of urging, encouraging,

   pressuring, or inducing in any manner the removal, deletion, suppression, or reduction of content

   containing protected free speech posted on social-media platforms;3

           (2)      specifically flagging content or posts on social-media platforms and/or forwarding

   such to social-media companies urging, encouraging, pressuring, or inducing in any manner for

   removal, deletion, suppression, or reduction of content containing protected free speech;

           (3)      urging, encouraging, pressuring, or inducing in any manner social-media

   companies to change their guidelines for removing, deleting, suppressing, or reducing content

   containing protected free speech;

           (4)      emailing, calling, sending letters, texting, or engaging in any communication of any

   kind with social-media companies urging, encouraging, pressuring, or inducing in any manner for

   removal, deletion, suppression, or reduction of content containing protected free speech;

           (5)      collaborating, coordinating, partnering, switchboarding, and/or jointly working

   with the Election Integrity Partnership, the Virality Project, the Stanford Internet Observatory, or

   any like project or group for the purpose of urging, encouraging, pressuring, or inducing in any

   manner removal, deletion, suppression, or reduction of content posted with social-media

   companies containing protected free speech;

           (6)      threatening, pressuring, or coercing social-media companies in any manner to

   remove, delete, suppress, or reduce posted content of postings containing protected free speech;




   3
    “Protected free speech” means speech that is protected by the Free Speech Clause of the First Amendment to the
   United States Constitution in accordance with jurisprudence of the United States Supreme Court, Courts of Appeal
   and District Courts.

                                                           4
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          (7)     taking any action such as urging, encouraging, pressuring, or inducing in any

   manner social-media companies to remove, delete, suppress, or reduce posted content protected

   by the Free Speech Clause of the First Amendment to the United States Constitution;

          (8)     following up with social-media companies to determine whether the social-media

   companies removed, deleted, suppressed, or reduced previous social-media postings containing

   protected free speech;

          (9)     requesting content reports from social-media companies detailing actions taken to

   remove, delete, suppress, or reduce content containing protected free speech; and

          (10)    notifying social-media companies to Be on The Lookout (“BOLO”) for postings

   containing protected free speech.

   This Preliminary Injunction precludes said named Defendants, their agents, officers, employees,

   contractors, and all acting in concert with them from the aforementioned conduct. This Preliminary

   Injunction also precludes said named Defendants, their agents, officers, employees, and

   contractors from acting in concert with others who are engaged in said conduct.

          IT IS FURTHER ORDERED that the following actions are NOT prohibited by this

   Preliminary Injunction:

          (1)     informing social-media companies of postings involving criminal activity or

   criminal conspiracies;

          (2)     contacting and/or notifying social-media companies of national security threats,

   extortion, or other threats posted on its platform;

          (3)     contacting and/or notifying social-media companies about criminal efforts to

   suppress voting, to provide illegal campaign contributions, of cyber-attacks against election

   infrastructure, or foreign attempts to influence elections;



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          (4)     informing social-media companies of threats that threaten the public safety or

   security of the United States;

          (5)     exercising permissible public government speech promoting government policies

   or views on matters of public concern;

          (6)     informing social-media companies of postings intending to mislead voters about

   voting requirements and procedures;

          (7)     informing or communicating with social-media companies in an effort to detect,

   prevent, or mitigate malicious cyber activity;

          (8)     communicating with social-media companies about deleting, removing,

   suppressing, or reducing posts on social-media platforms that are not protected free speech by the

   Free Speech Clause in the First Amendment to the United States Constitution.

          IT IS FURTHER ORDERED that no security is required to be posted by Plaintiffs under

   Federal Rule of Civil Procedure 65.

          IT IS FURTHER ORDERED that this Preliminary Injunction Order shall remain in effect

   pending the final resolution of this case or until further orders issue from this Court, the United

   States Court of Appeals for the Fifth Circuit, or the Supreme Court of the United States.

          IT IS FURTHER ORDERD that the Motion for Preliminary Injunction [Doc. No. 10] is

   DENIED as to the following Defendants: U.S. Food and Drug Administration; U. S. Department

   of Treasury; U.S. Election Assistance Commission; U. S. Department of Commerce and

   employees Erica Jefferson, Michael Murray, Wally Adeyemo, Steven Frid, Brad Kimberly, and

   Kristen Muthig; and Disinformation Governance Board (“DGB”) and its Director Nina Jankowicz.

          IT IS FURTHER ORDERED that no evidentiary hearing is required at this time.




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          IT IS FURTHER ORDERED that Plaintiffs’ request for certification of this proceeding

   as a class action pursuant to Fed. R. Civ. P. Article 23 (b)(2) is DENIED.

          THUS, DONE AND SIGNED IN MONROE, LOUISIANA, this 4th day of July 2023.


                                                         ___________________________________
                                                         TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

    STATE OF MISSOURI ex rel. ERIC S.
    SCHMITT, Attorney General, and

    STATE OF LOUISIANA ex rel. JEFFREY
    M. LANDRY, Attorney General,
                                                          Case No. 3:22-cv-01213
                    Plaintiffs,

       v.

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.,

                    Defendants.


                PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs, the States of Missouri and Louisiana, by and through their Attorneys General,

 Eric S. Schmitt and Jeffrey M. Landry (collectively, “Plaintiffs” or “the States”), respectfully move

 this Court to grant a preliminary injunction against Defendants, prohibiting them from demanding,

 pressuring, urging, encouraging, or otherwise inducing social-media platforms to censor or

 suppress in any manner the speech of speakers, content, and viewpoint that Defendants disfavor.

 For the reasons stated in the States’ Memorandum in Support of Motion for Preliminary Injunction,

 which is filed separately and incorporated by reference herein, the Court should enter a preliminary

 injunction to address the grave irreparable harms and to vindicate the public interest in freedom of

 speech for Missouri, Louisiana, and their citizens.

        For the reasons stated in the States’ Memorandum, Plaintiffs respectfully request that this

 Court enter a preliminary injunction in three phases:



                                                     1

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        (1) Immediately enter a preliminary injunction preventing Defendants, and their agents,

 officers, employees, contractors and all those acting in concert with them, from taking any steps

 to demand, urge, encourage, pressure, or otherwise induce any social-media company or platform

 for online speech, or any employee, officer, or agent of any such company or platform, to censor,

 suppress, remove, de-platform, suspend, shadow-ban, de-boost, restrict access to content, or take

 any other adverse action against any speaker, content, or viewpoint expressed on social media;

        (2) Grant the States’ separately filed Motion for Preliminary-Injunction-Related Discovery,

 and authorize the States to take discovery from Defendants and third parties to identify the details

 and scope of Defendants’ social-media censorship activities, discussed herein; and

        (3) After the conclusion of such preliminary-injunction-related discovery, enter more

 specific preliminary injunctive relief to provide fully effective relief to address the details and

 scope of the conduct challenged herein.

 Dated: June 14, 2022                                         Respectfully submitted,

 ERIC S. SCHMITT                                              JEFFREY M. LANDRY
 Attorney General of Missouri                                 Attorney General of Louisiana

 /s/ D. John Sauer                                            /s/ Elizabeth B. Murrill
 D. John Sauer, Mo. Bar No. 58721*                            Elizabeth B. Murrill (La #20685)
   Solicitor General                                            Solicitor General
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 * admitted pro hac vice

                                                  2

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on June 14, 2022, I caused a true and correct copy of the foregoing to

 be filed with the Court’s electronic filing system, to be served by operation of the Court’s

 electronic filing system on counsel for all parties who have entered in the case. In addition, on

 June 14, 2022, I caused a true and correct copy of the foregoing to be sent by certified mail to all

 Defendants at the following addresses:

 U.S. Attorney
 Western District of Louisiana
 800 Lafayette St #2200
 Lafayette, LA 70501-6832

 Centers For Disease Control & Prevention
 1600 Clifton Road
 Atlanta, GA 30329-4027

 Attn: Civil Process Clerk
 US Attorney General
 950 Pennsylvania Ave. NW
 Washington, DC 20530-0001

 Alejandro Mayorkas
 Secretary of Homeland Security
 Office of General Counsel
 2707 Martin Luther King Jr Ave. SE
 Washington, DC 20528

 Jen Easterly CISA Agency Stop 0380
 Department of Homeland Security
 245 Murray Lane
 Washington, DC 20528-0380

 General Counsel MS 0485
 Department of Homeland Security
 2707 Martin Luther King Jr. SE
 Washington, DC 20528




                                                  3

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 Jennifer Rene Psaki
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 Brandon Brown
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 Shreveport, LA 71101

 Dr. Anthony Fauci
 National Institute of Allergy & Infectious Diseases
 5601 Fishers Lane MSC 9806
 Bethesda MD 20892-8906

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 200 Independence Ave SW
 Washington, DC 20201

 US Attorney General
 Attn: Assistant Attorney General for Administration
 950 Pennsylvania Avenue NW
 Washington, DC 20530



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 National Institute of Allergy & Infectious Diseases
 5601 Fishers Lane MSC 9806
 Bethesda, MD 20892-8906

 The Honorable Joseph R. Biden, Jr.
 President of the United States
 The White House
 1600 Pennsylvania Ave. NW
 Washington, DC 20500

                                                       /s/ D. John Sauer




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

      STATE OF LOUISIANA, STATE OF
      MISSOURI, et al.

                      Plaintiffs,

         v.                                                Case No. 3:22-cv-01213-TAD

      JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United States, et
      al.,
                                                       
                      Defendants.




                   PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
                       MOTION FOR PRELIMINARY INJUNCTION




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                                        INTRODUCTION

        This case involves some of the most egregious First Amendment violations in American

 history. Federal officials from the White House and multiple agencies use pressure, threats,

 coercion, cajoling, collusion, demands, and trickery and deceit to induce social-media platforms

 to censor speakers and viewpoints on social media that the federal officials disfavor. The proof of

 this sprawling federal “Censorship Enterprise” is voluminous and overwhelming. Plaintiffs

 summarize key points of the evidence in 1,442 numbered paragraphs with specific citations of the

 record for each point. See Plaintiffs’ Proposed Findings of Fact, attached as Exhibit 1. This

 evidence establishes beyond dispute the following unconscionable federal censorship activities.

        White House officials like Rob Flaherty, Andrew Slavitt, and Jennifer Psaki have engaged

 in a relentless pressure campaign, both in public and in private, to coerce platforms into censoring

 disfavored viewpoints on social media. See infra, at 8-10; Ex. 1, ¶¶ 31-211. Surgeon General

 Vivek Murthy and his staff coordinate closely with the White House in this pressure campaign,

 causing social-media platforms to scramble and assure federal officials that “we hear your call to

 do more” to censor disfavored viewpoints. See infra, at 8-13; Ex, 1, ¶¶ 212-425. The CDC flags

 specific social-media posts for censorship, organizes “BOLO” (“Be On the Lookout”) meetings to

 tell platforms what should be censored, and serves as the ultimate fact-checker with final authority

 to dictate what speech will be removed from social media. See infra, at 31-34; Ex. 1, ¶¶ 426-595.

        Dr. Fauci orchestrated an elaborate campaign of trickery and deception to induce social-

 media platforms to censor the lab-leak theory and other viewpoints he disfavors. See infra, at 19-

 27; Ex. 1, ¶¶ 598-852. The FBI, likewise, deliberately planted false information about “hack-and-

 leak” operations to deceive social-media platforms into censoring the Hunter Biden laptop story.

 See infra, at 27-29; Ex. 1, ¶¶ 880-904. The FBI, CISA, and the GEC collude with social-media




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 platforms in hundreds of meetings about misinformation, and those agencies repeatedly flag huge

 quantities of First Amendment-protected speech to platforms for censorship. See infra, at 34-40;

 Ex. 1, ¶¶ 853-1134. CISA “switchboards” reports of so-called “misinformation” from state and

 local governments to platforms for censorship. See infra, at 37-39; Ex. 1, ¶¶ 972-977. 

        CISA and the GEC are pervasively intertwined with massive public-private censorship

 enterprises like the Election Integrity Partnership, a collaboration among government, social-

 media platforms, and activist nonprofits to monitor, track, and censor enormous volumes of

 Americans’ speech on social media. See infra, at 42-48; Ex. 1, ¶¶ 991-1075, 1135-1235. Federal

 health officials in the Surgeon General’s Office, the CDC, and HHS collaborate in a similar

 censorship enterprise called the Virality Project, which procures the censorship of enormous

 quantities of First Amendment-protected speech. See infra, at 48-51; Ex. ¶¶ 1236-1365. These

 are just examples of the violations herein.

        Altogether, these censorship activities by federal officials and agencies constitute a

 gargantuan federal “Censorship Enterprise.” This enterprise is highly effective—it has stifled

 debate and criticism of government policy on social media about some of the most pressing issues

 of our time. And its activities are flagrantly unconstitutional. The Court should enter a preliminary

 injunction putting a stop to these egregious violations of the First Amendment.

        Plaintiffs incorporate by reference their previously filed briefing addressing these issues,

 including their prior Memorandum in Support of Preliminary Injunction, Doc. 15, and their

 Response to Defendants’ Motion to Dismiss, Doc. 161-1. Plaintiffs also incorporate by reference

 the documentary discovery, evidence, and deposition transcripts and exhibits filed in the case,

 including Docs. 10-1 to 10-15, Docs. 71-1 to 71-13, Docs. 86-2 to 86-10, and Docs. 204-210.




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                                    FACTUAL BACKGROUND

         Plaintiffs incorporate by reference the facts set forth in their Proposed Findings of Fact,

 attached as Exhibit 1 hereto. Plaintiffs also incorporate by reference the facts set forth in the

 Factual Background section of their prior brief in support of preliminary injunction, Doc. 15, at 8-

 41. Key facts relevant to each legal standard are also set forth in the Argument section below.

                                             ARGUMENT

         “To be entitled to a preliminary injunction, a movant must establish (1) a likelihood of

 success on the merits; (2) a substantial threat of irreparable injury; (3) that the threatened injury if

 the injunction is denied outweighs any harm that will result if the injunction is granted; and (4)

 that the grant of an injunction will not disserve the public interest.” Ladd v. Livingston, 777 F.3d

 286, 288 (5th Cir. 2015). All four of these factors favor an injunction here.

 I.     Plaintiffs Are Likely to Succeed on the Merits.

         First, Plaintiffs are likely to succeed on the merits of their First Amendment claim (Count

 One) and their APA and ultra vires claims (Counts Two to Seven). See Doc. 84, at 145-161.

         A.      Plaintiffs Are Likely to Succeed on their First Amendment Claim.

         “[T]here is no single test to identify state actions and state actors,” and the Supreme Court’s

 “cases have identified a host of facts that can bear on the fairness of such an attribution” of state

 action. Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531 U.S. 288, 294, 296

 (2001). The question of state action is a “necessarily fact-bound inquiry,” and “the criteria lack

 rigid simplicity.” Id. at 295, 298. When the government induces or jointly participates in conduct

 that the Constitution prohibits the government from performing, the government is liable as if it

 had performed the conduct itself. Courts have articulated multiple, overlapping tests for when the

 government induces or jointly participates in private conduct. Under these tests, Defendants are




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 liable for viewpoint-based censorship by social-media companies for at least five independent

 reasons: Defendants are inducing the censorship by means of (1) significant encouragement, (2)

 coercion, and/or (3) deception; and Defendants are jointly participating in the censorship through

 (4) conspiracy or collusion, and/or (5) pervasive entwinement in the censorship process. The

 evidence in this case satisfies all five of these standards.

                 1.      Inducement – Significant Encouragement, Coercion, and Deception.

         As to inducement, it is “axiomatic that a state may not induce, encourage or promote private

 persons to accomplish what it is constitutionally forbidden to accomplish.” Norwood v. Harrison,

 413 U.S. 455, 465 (1973); see also Biden v. Knight First Amendment Inst. at Columbia Univ., 141

 S. Ct. 1220, 1226 (2021) (Thomas, J. concurring) (“The government cannot accomplish through

 threats of adverse government action what the Constitution prohibits it from doing directly.”). As

 relevant here, such inducement can take the form of coercion (both implied and express), Blum v.

 Yaretsky, 457 U.S. 991, 1004 (1982); “significant encouragement,” id.; or deception, George v.

 Edholm, 752 F.3d 1206, 1215 (9th Cir. 2014). A government official who induces private conduct

 by any of these means is liable as if he had performed the conduct himself. See Blum, 457 U.S. at

 1004; George, 752 F.3d at 1215.

         Moreover, under this standard, it is not required for the government’s unlawful conduct to

 be the but-for cause of the censorship. The Constitution forbids governmental coercion, significant

 encouragement, and deception—even when the private parties do not resist. Reitman v. Mulkey,

 387 U.S. 369, 380–81 (1967); Peterson v. City of Greenville, 373 U.S. 244, 248 (1963); Mathis v.

 Pac. Gas & Elec. Co., 891 F.2d 1429, 1434 (9th Cir. 1989); Carlin Commc’ns, Inc. v. Mountain

 States Tel. & Tel. Co., 827 F.2d 1291, 1295 (9th Cir. 1987).




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                        a. Significant Encouragement.

        The Constitution prohibits the government from “significant[ly] encourag[ing]” private

 conduct that the government itself could not constitutionally undertake. Blum, 457 U.S. at 1004.

 Although outright commands are the most obvious form of government inducement, the

 government acts unconstitutionally even when it “can be charged with only encouraging, rather

 than commanding” improper conduct. Reitman, 387 U.S. at 375 (quotation marks omitted); accord

 Frazier v. Bd. of Trs. of Nw. Miss. Reg’l Med. Ctr., 765 F.2d 1278, 1286 (5th Cir.) (government is

 responsible for private conduct that it “had some affirmative role, albeit one of encouragement

 short of compulsion,” in promoting), amended on other grounds, 777 F.2d 329 (5th Cir. 1985)

 (Mem.).

        Significant encouragement takes many forms. Explicit requests are most obvious. E.g.,

 Hatteras v. Sw. Bell Tel. Co., 774 F.2d 1341, 1343 n.4 (5th Cir. 1985) (telephone disconnection at

 government’s request); Warner v. Grand Cnty., 57 F.3d 962, 964 (10th Cir. 1995) (search at

 government’s request); Fries v. Barnes, 618 F.2d 988, 990–91 (2d Cir. 1980) (seizure of property

 at government’s request). But subtler, more “covert” forms of encouragement also are significant

 when designed to induce specific action. See Skinner v. Ry. Lab. Execs. Ass’n, 489 U.S. 602, 615

 (1989) (“[A] private party should be deemed an agent or instrument of the Government” whenever

 “the Government did more than adopt a passive position toward the underlying private conduct.”).

        For example, in Adickes v. S.H. Kress & Co., a restaurant refused to serve a plaintiff

 “because she was a white person in the company of Negroes.” 398 U.S. 144, 152 (1970). The

 Supreme Court held that the denial of service was government action if a police officer in the

 restaurant “communicated his disapproval to a [restaurant] employee, thereby influencing the

 decision not to serve [the plaintiff].” Id. at 158. Similarly, in Dossett v. First State Bank, public-




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 school officials contacted the plaintiff’s employer, a private bank where the school had an account,

 to report their displeasure at the plaintiff’s remarks during a recent school-board meeting. 399

 F.3d 940, 944 (8th Cir. 2005). The bank’s president fired the plaintiff, citing the plaintiff’s

 “negative [comments] about our local school board and superintendent.” Id. at 944-45. Although

 the president “denied that any of the school board members or the superintendent threatened to

 remove funds from the Bank or demanded that [the plaintiff] be fired,” the court held that the

 termination constituted government action if the bank and school officials nonetheless “reach[ed]

 a mutual understanding” that the plaintiff’s speech deserved retaliation. Id. at 944, 949–50.

        The Fifth Circuit has held that even the silent presence of government officials sometimes

 can transform otherwise private conduct into government action. See United States v. Mekjian,

 505 F.2d 1320, 1327 (5th Cir. 1975) (stating that a search performed by private parties is

 attributable to the government if federal officials are “stand[ing] by watching with approval as the

 search continues”). To be sure, presence alone, without other factors, “is not sufficient.” Blum,

 457 U.S. at 1004–05. But if the facts show that the officials’ approving presence “induce[s],

 encourage[s] or promote[s]” the private parties to act, Norwood, 413 U.S. at 465, then that presence

 amounts to unconstitutional “significant encouragement,” Blum, 457 U.S. at 1004; cf. Rivera v.

 Rhode Island, 402 F.3d 27, 34 (1st Cir. 2005) (recognizing that a government official’s assurance

 that he will not intervene can make the official responsible for private acts of violence).

        Attributing responsibility to the government for “significantly encouraging” private acts

 makes sense because a party who has lent any “assistance rendered by words, acts, encouragement,

 support, or presence” is legally an accomplice. Rosemond v. United States, 572 U.S. 65, 73 (2014).

 Although that term applies most often in the criminal context, courts routinely find that the

 government is an accomplice to private civil misconduct when the government significantly




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 encourages that conduct. E.g., George, 752 F.3d at 1215 (“Police officers may be liable for a

 private party’s search when the police ordered or were complicit in the search.”); Hemphill v.

 Schott, 141 F.3d 412, 419 (2d Cir. 1998) (identifying a “Fourteenth Amendment right not to be

 subjected to the excessive force of a third party who is aided and abetted by a state actor”); Dwares

 v. City of New York, 985 F.2d 94, 98 (2d Cir. 1993) (“[A] state actor may be subject to liability for

 an action physically undertaken by private actors in violation of the plaintiff’s liberty or property

 rights if the state actor directed or aided and abetted the violation.”).

         Moreover, Defendants cannot evade responsibility for their actions by appealing to the

 government-speech doctrine. That doctrine permits the government to express its own opinion

 without violating the First Amendment. Pleasant Grove City v. Summum, 555 U.S. 460, 467–68

 (2009). But Defendants are not merely opining in the abstract about disputed policy questions.

 Instead, they are contacting social-media companies through backchannels and demanding that

 those companies make specific changes to their content-moderation policies and take concrete

 censorship action on particular items of speech.

         Courts regularly apply the same distinction to private speech. The First Amendment

 protects advocating criminal conduct in the abstract, Brandenburg v. Ohio, 395 U.S. 444, 448–49

 (1969), but not “encourag[ing]” a particular person to take a specific criminal action, e.g., United

 States v. Rahman, 189 F.3d 88, 115 (2d Cir. 1999); Rice v. Paladin Enters., Inc., 128 F.3d 233,

 243–47 (4th Cir. 1997); United States v. Buttorff, 572 F.2d 619, 623–24 (8th Cir. 1978). Thus, the

 First Amendment protects “abstract advocacy” like “‘I believe that child pornography should be

 legal’ or even ‘I encourage you to obtain child pornography,’” but it does not protect “the

 recommendation of a particular piece of purported child pornography.” United States v. Williams,

 553 U.S. 285, 299–300 (2008).         So too, even assuming the First Amendment permits the




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 government to advocate in the abstract for actions that the Constitution bars the government itself

 from taking, it does not permit the government to engage in specific, significant encouragement of

 such actions.

        Here, there is overwhelming evidence the Defendants significantly encourage social-media

 censorship, especially the White House and Surgeon General’s Office, and others as well.

        The White House, Rob Flaherty, and Jennifer Psaki. Beginning in early 2021, and

 continuing through the present, White House officials such as Rob Flaherty, Andy Slavitt, and

 Jennifer Psaki, working with others such as Clarke Humphrey, Courtney Rowe, Christian Tom,

 and Benjamin Wakana, have conducted and continue to conduct an intense pressure campaign

 against social-media platforms in public and in private to demand greater censorship. Plaintiffs’

 Proposed Findings of Fact, Ex. 1, ¶¶ 31-211.

        Rob Flaherty spearheads this campaign with a relentless chain of emails, meetings, and

 communications pressuring the platforms to engage in greater censorship of COVID-related

 speech. Id. Flaherty continuously badgers platforms for more detailed information about their

 censorship practices. See, e.g., id. ¶¶ 43-45, 50, 54, 66-68, 74, 84-85, 112-113, 175. White House

 officials ask platforms for reports on specific censorship issues. See, e.g., id. ¶¶ 85-86 (asking for

 and receiving “a 24 hour report-back” on misinformation about the Johnson & Johnson vaccine);

 87, 107 (Flaherty to YouTube, “We'll look out for the top trends that you've seen in terms of

 misinformation around the vaccine.”). White House officials make very specific demands about

 how to increase censorship of disfavored speech. Id. ¶¶ 118-121 (demanding that Facebook

 monitor private events and deplatform the “Disinformation Dozen”).

        The White House pressures the platforms with accusations and belligerent language. See

 id. ¶ 55 (“You are hiding the ball.”); ¶ 58 (“This would all be a lot easier if you would just be




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 straight with us.”); ¶¶ 69-70, 77 (“Really couldn't care less about … the product safari”); ¶ 99

 (snapping, after not receiving a response on the censorship of Tucker Carlson quickly enough for

 his liking, “[t]hese questions weren’t rhetorical.”); 126 (“Not to sound like a broken record….”);

 ¶ 130 (“Hard to take any of this seriously….”); ¶¶ 134-136 (“I don't know why you guys can't

 figure this out”); ¶ 173 (Flaherty accusing YouTube of providing misleading information); ¶ 178

 (“not even sure what to say at this point”); ¶ 186 (“Total Calvinball.”). This includes one

 particularly profane attack by Rob Flaherty against Facebook: “Are you guys f**king serious? I

 want an answer on what happened here and I want it today.” Id. ¶ 139. Indeed, Flaherty accuses

 Facebook of fomenting the January 6, 2021 riot by not censoring enough speech. Id. ¶ 78 (“an

 insurrection which was plotted, in large part, on your platform…. I want some assurances, based

 in data, that you are not doing the same thing again here.”); ¶ 97 (“Not for nothing but last time

 we did this dance, it ended in an insurrection.”).

        The encouragement takes other forms as well. White House officials praise the platforms

 for censoring content that does not violate their policies. Id. ¶ 112 (Flaherty praising YouTube

 for censoring non-violative content: “I believe you said you reduced watch time by 70% on

 ‘borderline’ content, which is impressive.”); ¶ 174 (YouTube assuring Flaherty that it censors non-

 violative content). And White House officials demand the removal of specific posts and accounts

 of disfavored speakers, and social-media platforms routinely comply. Id. ¶¶ 34-36 (Robert F.

 Kennedy Jr.); ¶¶ 81-82, 93-94 (Tucker Carlson and Tomi Lahren of Fox News); ¶ 103-104

 (demanding and receiving the deplatforming of Alex Berenson); ¶¶ 121, 128 (the “Disinformation

 Dozen”); ¶ 149 (Psaki calling for the deplatforming of the “Disinformation Dozen”); ¶ 125

 (trending posts on Facebook); ¶ 168 (parody or fake account of Dr. Fauci); 1¶¶ 80-187 (a comedic

 video of Jill Biden).




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        When aggressive demands do not get quick enough results, the White House resorts to

 overt and implied threats. See, e.g., id. ¶ 61 (“Internally we have been considering our options on

 what to do about it.”); ¶ 108 (Flaherty telling YouTube, “This is a concern that is shared at the

 highest (and I mean highest) levels of the WH”); ¶¶ 114-115 (referring to a list of policy

 recommendations and stating, “spirit of transparency – this is circulating around the building and

 informing thinking.”).

        In addition to private demands, public pressure is a key part of this campaign. The White

 House makes detailed public demands for greater censorship, including at the White House press

 conferences on May 5, 2021 and July 15, 2021. Id. ¶¶ 123-124 (Jennifer Psaki demanding greater

 censorship and calling for “a robust anti-trust program”); ¶¶ 146-152 (Jennifer Psaki at the July

 15, 2021 press conference making four public demands on platforms, including data-sharing,

 creating “a robust enforcement strategy,” to “take faster action against harmful posts,” and

 adjusting their algorithms); ¶¶ 164-165 (White House communications director threatening repeal

 of Section 230 if platforms do not censor more speech). President Biden accuses the platforms of

 “killing people” by not censoring enough misinformation. Id. ¶ 153.

        Social-media platforms promptly respond to this pressure campaign by repeatedly

 reporting to the White House that they will stiffen their policies and/or take enforcement actions

 against disfavored speech. Id. ¶¶ 41-42, 45, 64, 75, 131, 177, 187. And platforms dutifully report

 to the White House in detail about their censorship practices. Id. ¶¶ 86-87, 132-133, 174.

        The Surgeon General and His Office. Throughout 2021 and 2022, Surgeon General

 Vivek Murthy and his Office have and are engaged in a pressure campaign in parallel with, and

 often overlapping with, the White House’s pressure campaign on social-media platforms. Surgeon

 General Murthy and his staff are often included in the same meetings and communications with




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 White House officials and social-media platforms, and join White House officials pressuring them

 to increase censorship in public and in private. See id. ¶¶ 212-425.

        The Surgeon General uses his “bully pulpit” to pressure social-media platforms to censor

 disfavored viewpoints. Id. ¶¶ 218-222. This pressure occurs in public and in private, id. ¶¶ 222,

 225, 269, including in “closed-door meetings” with platforms, id. ¶ 394. The Surgeon General

 pressures platforms to share data about misinformation and censorship on their platforms to allow

 the government to monitor disfavored viewpoints on their platforms. Id. ¶¶ 236-240, 353. After

 intense pressure, Facebook ultimately agreed to additional data-sharing demanded by the Surgeon

 General. Id. ¶¶ 359, 363. In private meetings, Dr. Murthy demands that the platforms perform

 “defensive work” to remove misinformation. Id. ¶ 283. In early 2021, Dr. Murthy had a series of

 “angry” and “tense” meetings with platforms to demand that they remove misinformation. Id.

 ¶¶ 341-344. 

        Dr. Murthy places great public pressure on the platforms to censor. At his July 15, 2021

 press conference with Jennifer Psaki, Dr. Murthy announced a Health Advisory that explicitly

 demands greater censorship from social-media platforms. Id. ¶¶ 293-309. He demanded that

 platforms do “much, much more” to “address misinformation.” Id. ¶ 307. His Health Advisory

 demands that platforms take specific steps to censor disfavored viewpoints on health and share

 data with government and its partners so they can monitor the spread of disfavored speech on their

 platforms. Id. ¶¶ 324-329. He explicitly calls for prior restraints, e.g., “prioritize the early

 detection of misinformation ‘super-spreaders’ and repeat offenders. Impose clear consequences

 for accounts that repeatedly violate platform policies.” Id. ¶ 326-329.

        This White House-Surgeon General pressure campaign gets results. After the public

 pressure of July 15 and 16, Facebook provided “a catalog of … both removal of misinformation




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 and other steps to tamp down mis- and disinformation.” Id. ¶ 262. In fact, the Surgeon General’s

 Office asked all platforms to report back on what additional censorship they were imposing as a

 result of the Surgeon General’s Health Advisory. Id. ¶¶ 270, 309, 364, 368. Platforms reported

 back with new steps taken to increase censorship of disfavored viewpoints. Id. ¶¶ 370-377, 395.

 In response to the Advisory, Facebook reported a series of more aggressive steps against

 misinformation, including deplatforming the Disinformation Dozen and adopting more restrictive

 policies. Id. ¶ 348, 354-358. Facebook told the White House and Surgeon General, “we hear your

 call to do more.” Id. ¶ 358. Facebook sought to understand “what the White House expects of us

 on misinformation going forward.” Id. ¶ 349. It asked to “find a way to deescalate and work

 together collaboratively” on censoring misinformation. Id. ¶ 351. Facebook assured the White

 House and Surgeon General that it would censor disfavored speech about vaccines for children

 ages 5-11. Id. ¶ 395. The Surgeon General’s pressure campaign places both economic and public

 pressure on platforms. Id. ¶¶ 272-273.

        Facebook provides biweekly reports on misinformation on its platforms to the Surgeon

 General and the White House. Id. ¶¶ 279, 284-286, 291. Platforms provide detailed reports on

 their censorship activities to the Surgeon General and his staff, especially announcing increased

 censorship policies and enforcement. See, e.g., id. ¶¶ 281, 395-398.

        In October 2021, the Surgeon General publicly hammered Facebook after a Washington

 Post report about disinformation on its platforms, pressuring all platforms to increase censorship.

 Id. ¶¶ 386-387. He stated: “We must demand Facebook and the rest of the social media ecosystem

 take responsibility for stopping health misinformation on their platforms. The time for excuses

 and half measures is long past. We need transparency and accountability now.” Id. ¶ 387. The

 Surgeon General’s Office agrees that the Surgeon General was “hitting up Facebook” on the spread




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 of misinformation on its platforms. Id. ¶ 392. Dr. Murthy followed up with a series of public

 statements demanding that the platforms increase censorship of disfavored viewpoints, including

 “aggressive action” against “superspreaders” and disfavored speakers. Id. ¶¶ 400-409.

        The Surgeon General threatens regulation of platforms if they do not increase censorship.

 The Surgeon General’s Health Advisory impliedly threatens regulation by calling for “appropriate

 legal and regulatory measures that address health misinformation.” Id. ¶ 325. Dr. Murthy himself,

 and the Surgeon General’s documents, threaten adverse consequences on the platforms by

 threatening to hold them “accountable.” See, e.g., ¶¶ 301-303, 329, 387, 403. Shortly before

 issuing a formal Request for Information (RFI) in the Federal Register, Dr. Murthy called for the

 government to set “safety standards” for misinformation on platforms. Id. ¶ 410. Then, on March

 3, 2022, the Surgeon General issued the formal RFI to demand information from platforms about

 the spread of, and how to track, misinformation on their platforms. Id. ¶ 411-416. The RFI

 requests information about specific disfavored speakers and viewpoints on social media. Id. ¶ 416.

 The RFI carries an implied threat of regulation against social-media platforms if they do not stop

 the spread of misinformation. Id. ¶¶ 410-416. Shortly after the RFI, Dr. Murthy called for the

 equivalent of “speed limits”—i.e., government-imposed safety standards—for misinformation on

 platforms. Id. ¶ 423.

        These pressure campaigns amount to not only unlawful significant encouragement, but also

 coercion and conspiracy/collusion, as discussed further below. Moreover, the activities of other

 agencies such as CISA, the FBI, the CDC, the GEC, and NIAID, discussed in other subsections

 below, also constitute significant encouragement.




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                        b. Coercion.

        Defendants’ conduct also constitutes outright coercion. Coercion includes “actual or

 threatened imposition of government power or sanction,” “even if it turns out to be empty.”

 Backpage.com, LLC v. Dart, 807 F.3d 229, 230–31 (7th Cir. 2015); see also Biden v. Knight First

 Amendment Inst. at Columbia Univ., 141 S. Ct. 1220, 1226 (2021) (Mem.) (Thomas, J. concurring)

 (“The government cannot accomplish through threats of adverse government action what the

 Constitution prohibits it from doing directly.”). Threats include any “intimati[on],” however

 “veiled” or “implicit,” “that some form of punishment or adverse regulatory action” may follow

 unless the private actor complies with the government’s demands. Rattner v. Netburn, 930 F.2d

 204, 209–10 (2d Cir. 1991).

        Rattner is instructive. There, a local chamber of commerce published speech that criticized

 the local government. Id. at 205. A local official wrote to the chamber purportedly on behalf of

 himself “and [his] neighbors to express [their] concern” that the article was “misleading.” Id. at

 205–06. The official said that the article “raise[d] significant questions and concerns about the

 objectivity and trust which we are looking for from our business friends” and asked which of the

 Chamber’s members supported the article’s publication. Id. at 206. The Second Circuit concluded

 that the letter “may reasonably be viewed as an implicit threat.” Id. at 210. Further, no amount of

 verbal disclaimer can eliminate an actual on-the-ground threat. Bantam Books, Inc. v. Sullivan,

 372 U.S. 58, 68 (1963). “It would be naive to credit the [government’s] assertion that [its demands

 for stricter censorship] are in the nature of mere . . . advice.” Bantam Books, 372 U.S. at 68.

        Defendants’ conduct described herein constitutes coercion. This is true of the White

 House’s and Surgeon General’s pressure campaigns—interspersed with veiled threats—discussed

 above. It is also true of the demands of the other agencies discussed herein, such as CISA, the




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 FBI, the CDC, NIAID, and the GEC, because of the background threats from senior federal

 officials, including both Defendants and their political allies.

        As noted, Defendants’ conduct occurs against the backdrop of a steady and ongoing

 drumbeat of public threats from senior federal officials who demand greater censorship from

 social-media platforms and threaten adverse legal consequences—such as repeal or reform of

 Section 230’s liability shield, and antitrust enforcement—against the platforms if they do not

 increase censorship of disfavored viewpoints. Plaintiffs’ Proposed Findings of Fact, Ex. 1, ¶¶ 1-

 30. The threat of Section 230 repeal or reform is a “fearsome cudgel” to platforms because the

 liability shield is “a hidden subsidy worth billions of dollars,” id. ¶ 2; and antitrust enforcement is

 “an existential threat” to the companies, id. ¶ 3. These threats include public statements and

 congressional hearings where social-media CEOs such as Mark Zuckerberg of Facebook, Jack

 Dorsey of Twitter, and Sundar Pichai of Google are repeatedly raked over the coals, compared to

 a “slavetocracy,” accused of running “hotbeds of misinformation and disinformation,” hounded to

 take “aggressive action … to eliminate misinformation and disinformation,” and told that

 “aggressive and targeted reform” of Section 230 is coming, among others. Id. ¶¶ 4-18.

        President Biden and his aides lead this charge, making the most vociferous and aggressive

 threats against platforms to demand greater censorship of disfavored viewpoints. Id. ¶¶ 19-30.

 Among other things, Biden has called for Mark Zuckerberg to face civil liability and even criminal

 prosecution for not censoring enough speech he disfavors, id. ¶¶ 20-21, and publicly stated that

 social-media platforms are “killing people” by not censoring enough misinformation, id. ¶ 27.

 Likewise, White House Press Secretary Jennifer Psaki and White House Communications Director

 Kate Bedingfield, among others, have repeatedly threatened Section 230 repeal and antitrust

 scrutiny against the platforms while demanding more censorship. Id. ¶¶ 123-124, 146-152, 156-




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 162, 164-165, 192-197. And once President Biden was elected with both Houses of Congress

 under control of his political allies, these threats became all the more menacing.

        The Government’s own witnesses attest to the coercive power of such pressure from

 Congress, which was exerted in private meetings as well.       FBI agent Elvis Chan observes the

 platforms became far more aggressive in removing misinformation during the 2020 election cycle

 than in previous election cycles, and they have remained so. Id. ¶ 945. Based on direct observation

 and experience, Chan attributes this increase in censorship to pressure from Congress. Id. ¶¶ 946-

 961. He observes that “pressure from Congress, specifically HPSCI and SSCI”—the House

 Permanent Select Committee on Intelligence, and the Senate Select Committee on Intelligence—

 pushed the platforms to adopt more aggressive censorship policies and enforcement. Id. ¶ 946.

        This pressure takes two forms. First, Congressional committees force the CEOs of social-

 media platforms to appear and testify, including “Mark Zuckerberg and Jack Dorsey and Sundar

 Pichai.” Id. ¶ 947. Based on discussions with platform employees, Chan concludes that “that kind

 of scrutiny and public pressure from Congress … motivated them to be more aggressive in the

 account takedowns.” Id. ¶ 947. Chan identifies specific hearings that placed public pressure on

 the platforms and pushed them to increase censorship. Id. ¶¶ 948-949.

        Second, those Congressional committees sent high-level staffers to Silicon Valley to meet

 directly with senior officials from the platforms, including Facebook, Google, and Twitter, in non-

 public meetings. Id. ¶¶ 950, 956-957. In these private meetings, employees of the platforms

 experience the visits from Congressional staffers as exercising a lot of pressure on them. Id. ¶ 951.

 The staffers have presented potential legislation to the platforms in these meetings, effectively

 threatening them with adverse legal consequences if they did not increase censorship. Id. ¶ 952.

 This pressure from Congress made the platforms more cooperative with the FBI when it seeks




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 account “takedowns.” Id. ¶ 953. Chan discussed these meetings both with the staffers and the

 platform employees who attend them. Id. ¶¶ 955-956.

        As Chan attests, these tactics place “intense pressure from U.S. lawmakers” on the

 platforms and cause them to change their policies to be more restrictive, and to adopt more

 aggressive enforcement of their policies. Id. ¶¶ 958-959. This Congressional pressure on

 platforms is ongoing, as Chan acknowledges there were multiple such hearings during the 2022

 election cycle to pressure the platforms to increase censorship. Id. ¶ 960. Chan attributes the

 dramatic increases in censorship on social-media platforms in recent years to such Congressional

 pressure. Id. ¶¶ 961.

        Likewise, Alex Stamos of the Election Integrity Partnership agrees with Elvis Chan that

 “pushing the platforms to do stuff” is easier when they face “huge potential regulatory impact,” as

 in the United States. Id. ¶ 1234. And the Virality Project report agrees that government pressure

 pushes social-media platforms to adopt more aggressive censorship policies, and that “government

 inquiries” resulted in more restrictive vaccine-related policies. Id. ¶ 1270, see also id. ¶ 1349.

        Especially against the backdrop of these public and private threats of adverse legal

 consequences – closely linked to demands for greater censorship – the Defendants’ conduct rises

 to the level of coercion, as well as significant encouragement. For example, the White House’s

 pressure campaign detailed above, combined with these threats, is extremely coercive. Indeed,

 White House officials have resorted to public and private threats to increase the pressure of their

 “encouragement.” So, too, is the Surgeon General’s pressure campaign, conducted in close

 coordination with the White House. Among other things, the Surgeon General has impliedly

 threatened adverse regulation through his Health Advisory and RFI, along with his public

 statements.    The CDC’s close collaboration with the social-media platforms on health-




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 misinformation censorship, likewise, is enabled by the coercive pressure campaign from the White

 House and allied federal officials. The same conclusion applies to the censorship activities of the

 FBI, CISA, NIAID, and the GEC, all discussed further below.

                        c. Deception.

        Government is also responsible for private conduct that it induces by deception. For

 example, when government officials “gave false information about [a suspect’s] medical

 condition” to a doctor “with the intent of inducing [the doctor] to perform” a search, the court held

 the government officials responsible for that search. George, 752 F.3d at 1215. So also, when

 government officials give false information to social-media platforms with the intent of inducing

 them to censor disfavored viewpoints, the government officials are responsible for that censorship.

 See id.; see also Jones v. City of Chicago, 856 F.2d 985, 994 (7th Cir. 1988) (“[Government

 officials] cannot hide behind [those] whom they have defrauded.”).

        As above, holding government officials responsible for private action that they induce by

 deception is consistent with other areas of law, including federal complicity law. A defendant who

 uses deception to induce an innocent person into committing “an act . . . which if directly

 performed by [the defendant] would be an offense” is liable as if he had committed the act himself.

 18 U.S.C. § 2(b); see, e.g., United States v. Curran, 20 F.3d 560, 567 (3d Cir. 1994). Thus, a

 defendant “cannot insulate himself from punishment by manipulating innocent third parties to

 perform acts on his behalf that would be illegal if he performed them himself.” United States v.

 Rashwan, 328 F.3d 160, 165 (4th Cir. 2003). So too, government officials cannot “avoid

 responsibility for an unconstitutional [act] by using deception to induce a private party to perform”

 the act on their behalf. George, 752 F.3d at 1220; cf. Robinson v. Maruffi, 895 F.2d 649, 656 (10th

 Cir. 1990) (“[A] police officer who deliberately supplied misleading information that influenced




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 the decision [to prosecute] . . . cannot escape liability” for malicious prosecution even though it

 was the prosecutor, not the officer, who filed charges.). “[I]t is axiomatic that a state may not

 induce … private persons to accomplish what it is constitutionally forbidden to accomplish,”

 Norwood, 413 U.S. at 465—including by tricking or deceiving them into doing it.

        Here, the evidence shows Defendants Dr. Fauci, NIAID, NIH, and the FBI engaging in

 egregious campaigns of deception “with the intent of inducing” platforms to censor speech.

 George, 752 F.3d at 1215. These actions violate the First Amendment.

        Dr. Fauci, Dr. Collins, NIAID, and NIH. Dr. Fauci, collaborating frequently with NIH

 Director Dr. Francis Collins, orchestrated a series of campaigns of deceit to procure the censorship

 of viewpoints he disfavored on social media, beginning at latest in early 2020. Once he became

 Chief Medical Advisor in the Biden Administration in early 2021, his censorship efforts

 coordinated with and reinforced those of federal officials in the White House, the Office of the

 Surgeon General, and the CDC.

         Lab-Leak Theory. In early months of 2020, Dr. Fauci worked closely with Dr. Collins and

 Jeremy Farrar of the Wellcome Trust, a predominant British science-funding organization, to

 orchestrate a deceptive campaign to discredit and suppress the opinion that SARS-CoV-2, the virus

 that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology—an opinion

 that has recently been confirmed as likely true. See Michael R. Gordon, et al., Lab Leak Most

 Likely Origin of Covid-19 Pandemic, Energy Department Now Says, WALL STREET JOURNAL (Feb.

 26, 2023), at https://www.wsj.com/articles/covid-origin-china-lab-leak-807b7b0a.

        Dr. Fauci had powerful motives to suppress the lab-leak theory: he is a longstanding public

 advocate for gain-of-function research, which makes viruses more virulent and transmissible; and

 his agency, NIAID, funded dangerous gain-of-function experiments on bat coronaviruses at the




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 Wuhan Institute of Virology, the prime suspect for a lab leak. Plaintiffs’ Proposed Findings of

 Fact, Ex. 1, ¶¶ 598-630. If the lab-leak theory were established or widely believed, Dr. Fauci and

 his agency could face responsibility for the deaths of millions in a global pandemic, and a crisis of

 confidence in the public science-funding enterprise they run. Id.; see also id. ¶ 652.

        In a call in the evening of Friday, January 31, 2020, Dr. Fauci became aware from Jeremy

 Farrar that Dr. Kristian Andersen of Scripps and other virologists had grave concerns that SARS-

 CoV-2, the virus that causes COVID-19, “look(s) … engineered.” Id. ¶¶ 637, 639. Shortly before

 this call, Dr. Fauci had received a briefing from his staff about NIAID’s funding of research on

 bat coronaviruses in Wuhan. Id. ¶ 635.

        After midnight after the call with Farrar and Andersen, Dr. Fauci sent an urgent, cryptic

 email to his confidential deputy, Dr. Hugh Auchincloss, attaching a paper about the “SARS Gain

 of Function” research that NIAID had funded in Wuhan, and telling him to “[k]eep your cell phone

 on … you will have tasks today that must be done.” Id. ¶¶ 640; see also id. ¶ 640-647, 653-656.

 Dr. Fauci later testified eighteen times that he could not remember anything about this urgent,

 cryptic email exchange with his principal deputy. Id. ¶ 642.

        In fact, Dr. Fauci’s testimony on this email and other points is not credible, and it

 contradicts the documentary evidence, including his own contemporaneous emails, on

 approximately 37 points. Id. ¶¶ 609, 612, 620, 628, 629, 630, 642, 647, 651, 662, 664, 666, 667,

 668, 670, 685, 686, 690, 702, 703, 708, 710, 722, 730, 733, 737, 746, 753, 772, 789, 798, 805,

 807, 808, 809, 825, 849. Further, Dr. Fauci testified that “I do not recall” or similar 174 times in

 his deposition, and counting variations on “I don’t remember,” at least 212 times. Id. ¶ 620. This

 contrasts with his public claims, on some of the very same events that he was asked to testify, that

 “I remember it very well.”       Id.   It also contrasts with his clear, specific recollection of




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 contemporaneous events that are not directly related to the case. Id. ¶¶ 620, 852. Plaintiffs are

 filing with the Court a video compilation of Dr. Fauci’s response stating “I do not recall” so that

 the Court may assess his credibility by viewing his demeanor. See Jones Decl., Ex. 2, ¶ 35.

        On February 1, 2020, Dr. Fauci participated in a clandestine conference call with a group

 of science funders and influential science-funding authorities to discuss the lab-leak possibility.

 Id. ¶¶ 648, 657-666. Farrar insisted that the call was to be “in total confidence.” Id. ¶ 657.

 Influential figures with a strong vested interest in avoiding a major scandal about science-funding

 practices were heavily represented on the call. Id. ¶ 659. As science-funding authorities, they also

 had powerful influence over the scientists on the call. Id. Dr. Fauci testified sixteen times that he

 could not remember details about the call, id. ¶ 661, though to the national media, he has

 proclaimed of the very same call, “I remember it very well,” id. ¶ 662.

        Contemporaneous emails show that the participants on the call—including Dr. Fauci, Dr.

 Collins, and Farrar himself—were keenly aware that there were powerful arguments in favor of

 the lab-leak theory of COVID’s origins. Id. ¶ 680 (“hard time explaining that as an event outside

 the lab”); id. (“70:30 or 60:40” in favor of laboratory origins); id. ¶ 681 (“I really can’t think of a

 plausible natural scenario … I just can’t figure out how this gets accomplished in nature…. it’s

 stunning.”); id. ¶ 682 (Farrar: “On a spectrum if 0 is nature and 100 is release – I am honestly at

 50!”); id. ¶ 694 (“Eddie [Holmes] would be 60:40 lab side. I remain 50:50”); id. ¶ 709 (“we have

 a nightmare of circumstantial evidence to assess”).

        Immediately after the call, the participants launched a deceitful effort to manufacture the

 appearance of scientific consensus against the lab-leak theory. Two scientists on the call, Eddie

 Holmes and Kristian Andersen, began drafting a scientific paper for publication to decisively




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 refute the lab-leak theory, even though their contemporaneous emails indicated that they were both

 inclined to believe the lab-leak theory. Id. ¶¶ 691-692.

        Following the call, Dr. Fauci, Farrar, and Dr. Collins communicated extensively about the

 plan to discredit the theory. Among other things, they plotted to prod the WHO to establish a panel

 on the lab-leak theory that they would stack with a “core group” of their own contacts, then “frame

 the work of the group” and put “pressure on this group from our and your teams” to push it to their

 preferred result—discrediting the lab-leak theory. Id. ¶¶ 701-702.

        There is no doubt about the purpose of this conspiracy. Dr. Fauci’s, Farrar’s, and Dr.

 Collins’s communications at the time repeatedly express concern about preventing the spread of

 the lab-leak theory on social media. Id. ¶¶ 671, 673, 675, 676, 677, 678, 683. Dr. Fauci, in

 particular, expressed concerns about “the threat of further distortions on social media.” Id. ¶ 683.

        By February 4, 2020—three days after the clandestine conference call—Eddie Holmes sent

 a draft scientific paper attacking the lab-leak theory to Farrar, who forwarded it to Dr. Fauci. Id.

 ¶ 691. Though the draft purported to refute the lab-leak theory, Holmes noted that he did not

 “mention” the virus’s “other anomalies” that make it look bioengineered “as this will make us look

 like loons.” Id. ¶ 691. Dr. Fauci’s and Dr. Collins’s own emails make clear that they were keenly

 aware that the virus may have been created through serial passage through tissue of humanized

 mice in the Wuhan laboratory whose work NIAID was funding. Id. ¶ 695.

        Farrar sent Dr. Fauci four drafts of the scientific paper to review in the week following the

 conference call. Id. ¶¶ 696-699. These drafts claimed that science “clearly demonstrates” a natural

 origin for SARS-CoV-2. Id. ¶ 698. By February 17, 2020, the scientific paper discrediting the

 lab-leak theory was accepted in a prestigious journal and was in preprint form, which was

 forwarded to Dr. Fauci for review (the fifth such draft he received). Id. ¶ 711, 716. The papers’




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 five listed authors were participants in the clandestine February 1, 2020 conference call, and they

 all privately acknowledged the plausibility of the lab-leak theory in emails that were shared with

 Dr. Fauci. Id. ¶¶ 711-715. Yet the paper claimed that “SARS-CoV-2 is not a laboratory construct

 nor a purposefully manipulated virus.” Id. ¶ 715. Dr. Andersen, the lead author, thanked Dr. Fauci

 for his “advice and leadership” in preparing the paper, and sent him a sixth draft to review, seeking

 further input from Dr. Fauci. Id. ¶ 718. The paper was then published in Nature Medicine on

 March 17, 2020, as “The Proximal Origin of SARS-CoV-2.” Id. ¶ 723. The final version attacked

 the lab-leak theory in unequivocal terms. Id. ¶ 724 (“clearly show … irrefutably show … clearly

 shows … we do not believe that any type of laboratory-based scenario is plausible”).

        Dr. Fauci and Dr. Collins then collaborated on a deceitful campaign to push the article into

 prominence, treating it as a scientific consensus created through independent scientific inquiry,

 rather than the product of a secret cabal of science-funders bent on suppressing the lab-leak theory

 to protect their own reputations. Id. ¶¶ 726-741. Dr. Collins featured it on NIH’s official blog,

 citing “The Proximal Origin of SARS-CoV-2” to describe the lab-leak theory as “outrageous” and

 “debunk[ed],” leading national media to proclaim, “Sorry, Conspiracy Theorists.” Id. ¶¶ 727-729.

 When Fox News host Bret Baier still discussed the lab-leak theory, Dr. Collins emailed Dr. Fauci,

 noting that he had hoped that “the Nature Medicine article” had “settled” “this very destructive

 conspiracy,” and asking if there was “[a]nything more we can do?” to discredit the theory. Id.

 ¶ 731. Dr. Fauci described the lab-leak theory as a “shiny object that will go away in times,” and

 the same day, during a White House Coronavirus Task Force briefing, deceptively cited this paper

 to proclaim an independent scientific consensus against the lab-leak theory. Id. ¶¶ 732-739. In

 doing so, he pretended to be unfamiliar with the paper’s authors, when in fact they had sent him

 seven drafts to review and thanked him for his “advice and leadership” in preparing the paper. Id.




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        Dr. Fauci, Dr. Collins, and Jeremy Farrar, and those acting in concert with them, thus

 engaged in a deliberately deceptive conspiracy to manufacture the appearance of a scientific

 consensus refuting the lab-leak theory when none existed, and when the very scientists involved

 were actively doubting the virus’s natural origins. Id. ¶¶ 598-740. The stated purpose of this

 conspiracy was to suppress the lab-leak theory in both “main stream and social media,” id. ¶¶ 671,

 673, 675, 676, 677, 678, 683—or, as Dr. Fauci himself put it at the time, to suppress “the threat of

 further distortions on social media.” Id. ¶ 683.

        The conspiracy succeeded in its object. “The Proximal Origins of SARS-CoV-2” became

 “one of the best-read papers in the history of science.” Id. ¶ 741. It was trumpeted in national

 media as refuting the lab-leak theory as a racist “conspiracy theory.” Social-media platforms

 followed Dr. Fauci’s lead in lockstep and aggressively censored the lab-leak theory well into 2021,

 and the censorship cabal effectively deflected responsibility for the SARS-CoV-2 for years to

 come. Id. ¶¶ 743-756.

        Having succeeded so dramatically in suppressing the lab-leak theory through deception,

 Dr. Fauci—cooperating often with Dr. Collins, and later with Biden White House officials—

 continued to the same tactic of deceptively creating a false appearance of scientific consensus to

 procure the censorship of disfavored viewpoints on social media.

        Hydroxychloroquine. Soon thereafter, Dr. Fauci engaged in a well-known public campaign

 against the drug hydroxychloroquine as an effective early treatment for coronavirus. Id. ¶¶ 757-

 776. He publicly declared that the drug was plainly ineffective based on an observational study in

 The Lancet, which was swiftly retracted for glaring errors. Id. ¶¶ 757-76. He proclaimed, based

 on that flawed observational study, that the evidence was “unequivocal,” “that the data are clear

 right now,” and that “[t]he scientific data is really quite evident now about the lack of efficacy.”




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 Id. ¶¶ 758, 760. Then, as observational data supporting the drug’s usage emerged, he dismissed

 such data because it was not from randomized studies (the “gold standard” for scientific

 evidence)—even though his own proclamation against the drug had itself been based on a (flawed

 and later retracted) observational study. Id. ¶¶ 761-766, 770. When dissenting doctors advocated

 for the drug’s usage, he attacked them on national media as “a bunch of people spouting something

 that isn’t true.” Id. ¶ 769; see also id. ¶¶ 768-770.

        Social-media platforms, predictably, followed Dr. Fauci’s lead and aggressively censored

 social-media speech advocating for the use of hydroxychloroquine, acting in lockstep with Dr.

 Fauci and accepting his proclamation of a clear scientific consensus against the drug’s usage. Id.

 ¶¶ 771-775. In fact, Dr. Fauci’s deceptively manufactured scientific consensus did not exist and

 never existed – hundreds of studies suggest that the drug is effective for early treatment of COVID-

 19, and the drug is approved for usage to treat COVID-19 in 41 countries. Id. ¶ 776.

        Mask Efficacy. The same deceptiveness and double standard afflicted Dr. Fauci’s positions

 on mask mandates, which also resulted in widespread social-media censorship. Id. ¶¶ 828-839. In

 private communications in February 2020, Dr. Fauci stated that masks are generally ineffective to

 prevent the spread of coronavirus: “The typical mask you buy in the drugstore is not really effective

 in keeping out virus, which is small enough to pass through material. … I do not recommend that

 you wear a mask…” Id. ¶ 829. By early April 2020, however, Dr. Fauci unequivocally endorsed

 universal masking, launching nationwide mask mandates that would last for years. Id. ¶ 833. Dr.

 Fauci’s dizzying change in position could not be justified by “randomized” studies that he insisted

 were necessary to justify using hydroxychloroquine. Id. ¶¶ 836-837.

        The Great Barrington Declaration. Dr. Fauci and Dr. Collins collaborated to inflict a

 deceptive “quick and devastating … take down” of the Great Barrington Declaration, co-authored




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 by Plaintiffs Dr. Bhattacharya and Dr. Kulldorff. Id. ¶¶ 777-808. Consistent with principles of

 pandemic response that were nearly universally accepted before the COVID-19 pandemic, the

 Great Barrington Declaration called for focused protection of high-risk individuals while

 reopening society for others, and it was sharply critical of prevailing government policies favoring

 lockdowns, school shutdowns, and similar restrictions. Id. ¶¶ 783-786. Among other things, it

 described “keeping students out of school” as “a grave injustice.” Id. ¶ 784.

        Since Dr. Cliff Lane’s trip to China at Dr. Fauci’s direction in February 2020, Dr. Fauci

 and the government establishment favored the Chinese government’s novel tactic of aggressive

 lockdowns to control the virus’s spread, so the Great Barrington Declaration was a grave threat to

 the credibility of lockdown policies. Id. ¶¶ 777-782.

        Dr. Fauci and Dr. Collins responded swiftly to the Great Barrington Declaration, following

 the same tactic of manufacturing the appearance of a false scientific consensus against it to procure

 its suppression on social media. Id. ¶¶ 787-808. Four days after it was published, Dr. Collins

 emailed Dr. Fauci, asking if a “swift and devastating published take down” of the Declaration was

 “underway.” Id. ¶ 787. The two then collaborated in a public campaign to attack the Declaration

 and proclaim it to be “appall[ing],” “nonsense,” “very dangerous,” “letting infections rip,”

 “fringe,” and “not mainstream science.” Id. ¶¶ 789-798. The claim that it was “fringe” and “not

 mainstream science” was deceptive, as focused protection had been scientific orthodoxy for

 pandemic responses prior to the COVID-19 pandemic. Id. ¶ 806. The campaign succeeded once

 again, as social-media platforms promptly and aggressively censored the Great Barrington

 Declaration and its authors, acting in lockstep with Dr. Fauci’s proclamations. Id. ¶¶ 799-805.

        Alex Berenson. Dr. Fauci also collaborated with the White House to procure the censorship

 of vaccine critic Alex Berenson. Id. ¶¶ 840-851. As part of the White House’s ongoing pressure




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 campaign against Twitter to deplatform Berenson, see supra, Dr. Fauci publicly attacked

 Berenson’s positions as “horrifying,” “frightening,” and not “want[ing] to do something to save

 your life.” Id. ¶ 843. These comments were timed just a few days before the White House’s public

 pressure campaign on July 15 and 16, 2021, which led to Berenson’s immediate suspension and

 later permanent deplatforming. See supra.

        The FBI and the Hunter Biden Laptop Story. Similar to Dr. Fauci’s campaign of

 deception to suppress the lab-leak theory, the FBI engaged in a campaign of deception to induce

 social-media platforms to censor the Hunter Biden laptop story that the New York Post broke on

 October 14, 2020. Even though the FBI was in possession of Hunter Biden’s laptop and knew it

 was not hacked, the FBI—anticipating the news story—told platforms to expect a hack-and-leak

 operation possibly involving Hunter Biden, and the FBI pushed the platforms to adopt policies

 censoring “hacked materials.” This deception induced the platforms to censor the story.

        In 2020, in its routine bilateral meetings with seven major social-media platforms, the FBI

 repeatedly raised the concern that a “hack-and-dump” or “hack-and-leak” operation might be

 forthcoming shortly before the 2020 general election. Plaintiffs’ Proposed Findings of Fact, Ex.

 1, ¶¶ 868, 883. Both the FBI and CISA repeatedly raised the concern about such “hack-and-dump”

 operations during the mass “USG-Industry” meetings during 2020 as well. Id. ¶¶ 881-882. In

 addition to the FBI’s Elvis Chan and Laura Dehmlow, senior CISA officials Matt Masterson and

 Brian Scully repeatedly raised the warning about “hack-and-dump” operations during the 2020

 USG-Industry meetings. Id. ¶¶ 894.

        In fact, the FBI had no investigative basis to believe that any hack-and-leak or hack-and-

 dump operation was underway. Id. ¶ 893. Chan admits that “we did not see any similar competing

 intrusions to what had happened in 2016. …. [F]rom our standpoint we had not seen anything. …




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 [W]e were not aware of any hack-and-leak operations that were forthcoming or impending,” id.—

 yet the FBI repeatedly hammered home the warning about an impending hack-and-leak operation.

        Responding to these repeated concerns raised by the FBI and CISA, social-media platforms

 updated their content-moderation policies in 2020 to provide that they would remove hacked

 materials from their platforms. Id. ¶ 884. The FBI encouraged these changes by repeatedly

 warning about the expectation of hack-and-leak operations and inquiring of the platforms whether

 they would censor hacked materials. Id. ¶¶ 885-888. Multiple FBI officials raised this same

 inquiry to the platforms in this time frame. Id. ¶ 889.

        A formal declaration by Twitter’s then-Head of Site Integrity, Yoel Roth—executed in

 December 2020, close in time to the relevant events—recounts that the FBI and other federal

 officials repeatedly warned platforms that they “expected” hack-and-leak operations during the

 2020 election cycle. Id. ¶ 895. Roth also learned in these meetings with federal officials that

 “there were rumors that a hack-and-leak operation would involve Hunter Biden.” Id.

        Corroborating Roth’s account, Mark Zuckerberg testified before Congress in October 2020

 that the FBI had warned platforms to be on “high alert and sensitivity” for a hack-and-dump

 operation shortly before the 2020 election. Id. ¶ 902. Likewise, Brian Scully of CISA does not

 dispute that FBI and CISA raised the concern about hack-and-leak operations to platforms in the

 USG-Industry meetings during 2020, and he does not dispute Yoel Roth’s account of the

 communications about hack-and-leak operations in his December 2020 declaration. Id. ¶¶ 1088-

 1089. CISA’s emails with platforms reflect that the 2020 meetings included discussions of such

 topics as “preparing for so-called ‘hack and leak’ operations” and “Deep Dive Topic … Hack/Leak

 and USG Attribution Speed/Process.” Id. ¶¶ 1090-1091. Like Chan, Scully was not aware of any

 pending investigations of hack and leak operations at the time. Id. ¶ 1092.




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        After the Hunter Biden laptop story broke on October 14, 2020, platforms privately asked

 the FBI to confirm whether the story was credible so they could decide whether it should be

 censored, but the FBI refused to confirm it. Id. ¶ 903. Accordingly, based on the FBI’s deceitful

 information, platforms were left with the clear impression that the Hunter Biden laptop materials

 were, in fact, hacked materials. After the Hunter Biden story broke, it was widely censored on

 social media—Twitter even suspended the New York Post’s Twitter account for two weeks—

 pursuant to the very “hacked materials” policies that the FBI had induced platforms to adopt in the

 preceding months of 2020. Id. ¶ 904.

                2.     Joint Participation – Collusion and Pervasive Entwinement.

        Government is responsible not only for private conduct it induces by significant

 encouragement, deception, or threats but also for private conduct in which it acts as a “joint

 participant.” Burton v. Wilmington Parking Auth’y, 365 U.S. 715, 725 (1961). Most often, this

 occurs through a conspiracy or collusive behavior. E.g., Dennis v. Sparks, 449 U.S. 24, 28–29

 (1980); Hobbs v. Hawkins, 968 F.2d 471, 480 (5th Cir. 1992). But even without a conspiracy,

 government is responsible for private action arising out of “pervasive entwinement of public

 institutions and public officials in [the private entity’s] composition and workings.” Brentwood

 Acad., 531 U.S. at 298.

                       a. Conspiracy and Collusion.

        Government is liable when it “reache[s] an understanding” with private parties to violate a

 victim’s rights. Dykes v. Hosemann, 743 F.2d 1488, 1498 (11th Cir. 1984). As the Fifth Circuit

 has held, this requirement usually is “met by circumstantial evidence” because “conspirators rarely

 formulate their plans in ways susceptible of proof by direct evidence.” Crowe v. Lucas, 595 F.2d




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 985, 993 (5th Cir. 1979).1 Plaintiffs need not prove, however, that Defendants “reached an

 understanding” to censor each particular item of speech—only that Defendants reached an

 understanding with social media companies to censor in general. When a plaintiff establishes “the

 existence of a conspiracy involving state action,” the government becomes responsible for all

 constitutional violations committed “in furtherance of the conspiracy by a party to the conspiracy.”

 Armstrong v. Ashley, --- F.4th ---, 2023 WL 2005263, at *12 (5th Cir. 2023). That is because

 conspiracy can “be charged as the legal mechanism through which to impose liability on each and

 all of the Defendants without regard to the person doing the particular act” that deprives the

 plaintiff of federal rights. Pfannstiel v. City of Marion, 918 F.2d 1178, 1187 (5th Cir. 1990)

 (emphasis added) (cited in Armstrong, 2023 WL 2005263, at *12).

        Likewise, courts hold government responsible for the acts of coconspirators in civil law

 because the same attribution of responsibility occurs in criminal law. Liability under § 1983 is

 based on “more or less traditional principles of agency, partnership, joint venture, and the like.”

 Nesmith v. Alford, 318 F.2d 110, 126 (5th Cir. 1963). And under the traditional principles of

 partnership in criminal law, “conspirators are criminally liable for substantive crimes committed

 by other conspirators in furtherance of the conspiracy.” United States v. Baker, 923 F.3d 390, 406

 (5th Cir. 2019) (citing Pinkerton v. United States, 328 U.S. 640 (1946)).

        Here, there is overwhelming evidence of collusion and conspiracy between Defendants and

 social-media platforms to censor speech—including the CDC, the FBI, CISA, and the GEC. This


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  In Crowe, the plaintiff sued state officials under 42 U.S.C. § 1983, alleging that they had arranged
 for his arrest in furtherance of a conspiracy to deprive him of “his rights to freedom of speech and
 assembly” after he questioned the integrity of an election. Id. at 988–92. Although there was no
 direct evidence of an agreement among the defendants, “[t]he evidence showed that the defendants
 had participated in private meetings at which Crowe was discussed.” Id. at 993. “From this
 evidence and the testimony regarding the defendants’ course of conduct toward Crowe,” the Fifth
 Circuit concluded, “the jury could reasonably have inferred that a conspiracy existed.” Id.


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 evidence also amounts to joint participation and coercion, as discussed above, and pervasive

 entwinement, discussed below.

        The CDC and Census Bureau. In addition to the public and private pressure campaigns

 from the White House and the Surgeon General’s Office, the CDC and the Census Bureau are

 engaged in a long censorship campaign together, enabled by the White House’s pressure on

 platforms to cooperate with the federal government. Working closely with Census, the CDC flags

 supposed “misinformation” for censorship on platforms (sometimes using the acronym “BOLO,”

 i.e., “Be On the Lookout”), and exercises full authority to dictate what health claims will be

 censored on social media platforms. As discussed herein, the CDC’s and Census Bureau’s actions

 constitute significant encouragement, coercion, and conspiracy or collusion.

        The CDC has regular meetings with social-media platforms about misinformation,

 including often weekly meetings. Plaintiffs’ Proposed Findings of Fact, Ex. 1, ¶¶ 431, 434, 438-

 439, 453-454, 461, 473, 475, 531, 539-540, 544-545, 563. These meetings routinely include the

 platforms’ content-moderation officers. Id. ¶¶ 453, 459, 463, 487, 531.

        The CDC asks platforms to provide reports about censorship on their platforms. Id. ¶¶ 455-

 457, 463, 472. These requests include inquiries about whether specific content flagged by the

 CDC and the Census Bureau has been removed. Id. ¶¶ 470, 475. The Census Bureau follows up

 to monitor whether platforms are removing the content that the CDC and Census flag. Id. ¶ 495.

        Facebook provides the CDC with regular biweekly “CrowdTangle” reports about

 misinformation on its platforms. Id. ¶¶ 440-442, 450. The CDC uses CrowdTangle and other

 “social media listening tools” to monitor disfavored speech on platforms. Id. ¶ 442-447. These

 “listening tools” allow the CDC to “flag” misinformation for censorship. Id. ¶ 485. Facebook also




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 gives the CDC privileged access to use CrowdTangle to monitor speech on Facebook’s platforms,

 including in private speech like personal group posts. Id. ¶¶ 443, 451. 471.

        The CDC works closely with the Census Bureau on censorship on social media pursuant

 to an Interagency Agreement (IAA), because the Census Bureau engaged in an earlier social-media

 censorship campaign with platforms during the 2020 census. Id. ¶¶ 449, 466-467, 532-533.

 Census and the CDC, working together, present social-media platforms with series of tables and

 decks that warn about misinformation themes and provide lists and screenshots of specific posts

 that they believe should be censored. Id. ¶ 460, 481. These include slide decks, id. ¶¶ 460, 536-

 538; tables of dozens of posts, id. ¶¶ 481, 567; spreadsheets of “example areas,” id. ¶ 565; and

 “BOLO” slides, id. ¶¶ 554-556. They also include “BOLO” flags for supposed “misinformation”

 about the CDC’s own content. Id. ¶¶ 515, 586-589. The CDC admits that it flags posts for

 censorship on the platforms, knowing that the platforms may take action to censor those posts and

 intending that the censorship occur—censorship is the desired result of the flagging. Id. ¶¶ 483-

 484, 521-523, 575-576. Platforms also offer the CDC privileged channels for federal officials to

 report misinformation on their platforms.      Id. ¶¶ 476-479 (Facebook’s “misinfo reporting

 channel”); id. ¶¶ 577-584 (Twitter’s “Partner Support Portal”).

        The CDC hosted a series of “BOLO” meetings to flag disfavored speech and viewpoints

 for censorship, where “BOLO” stands for “Be On the Lookout.” Id. ¶¶ 486, 549. At the BOLO

 meetings, the CDC and Census presented the platforms with slide decks identifying specific claims

 they wished to have censored, along with screenshots of specific posts as examples of the types of

 content to censor, and the CDC’s justification for censoring that content. Id. ¶¶ 550-558.

        Social-media platforms routinely treat the CDC as a privileged fact-checker with authority

 to dictate what may and may not be posted on their platforms. Facebook does so continuously.




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 Id. ¶¶ 488-499 (asking the CDC to “debunk” specific claims); id. ¶¶ 500-506 (asking the CDC to

 debunk additional specific claims); id. ¶¶ 511-514 (asking the CDC for guidance on how to censor

 speech about VAERS); id. ¶¶ 518-519 (content on vaccine refusals and childhood vaccines); id.

 ¶¶ 520-525 (asking for the CDC’s position on ten specific claims); id. ¶¶ 527-530 (asking the CDC

 to refute and confirm harmfulness of a long series of medical claims, including relating to vaccines

 for children under age 5). The CDC regularly provides its definitive determination on such issues.

 See id. The CDC admits that it “know[s] that they're using our scientific information to determine

 their policy.” Id. ¶ 529. YouTube also seeks the CDC’s determinative guidance on how to enforce

 its policies, including on health issues other than COVID-19. Id. ¶ 541 (requesting input on a “list

 of common vaccine misinformation claims”); id. ¶¶ 547-548 (it “wasn’t uncommon” for

 Google/YouTube to seek input on specific claims); id. ¶¶ 559-560 (YouTube seeking the CDC’s

 guidance on claims about childhood vaccines); id. ¶¶ 561-562 (“The YouTube Policy team is

 requesting evidence-based input on the claims below. In the past, the CDC has reviewed COVID

 information claims and commented TRUE or FALSE + add any additional context needed.”).

 Twitter, too, treats the CDC as an authoritative fact-checker. Id. ¶ 563.

        Facebook confirms that it updated its censorship policies to address claims on childhood

 vaccines as a direct result of the CDC’s input. Id. ¶ 518. It also updated its policies on other topics

 to render them more restrictive, based on the CDC’s input. Id. ¶ 526. Facebook routinely asks the

 CDC to confirm whether particular claims “are false and can lead to harm”; if the CDC so

 confirms, Facebook censors those claims. Id. ¶¶ 501-502, 520-521.

        When it comes to misinformation, the CDC’s “focus is not solely on COVID. We’re

 focusing on other topics,” and communicating with platforms about them, as well. Id. ¶ 562.




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        The FBI’s Collusion. FBI agent Elvis Chan and many other FBI agents, especially from

 the FBI’s Foreign Influence Task Force (“FITF”), routinely meet with social media platforms

 about disinformation, misinformation, and censorship. Plaintiffs’ Proposed Findings of Fact, Ex.

 1 ¶¶ 855, 860. These include regular, CISA-organized mass meetings of federal national-security

 and law-enforcement agencies (CISA, other DHS components, the FBI, the ODNI, and DOJ’s

 national security division) with at least eight major social-media platforms (“USG-Industry

 meetings”), at which misinformation is extensively discussed. Id. ¶¶ 861-866.

        The FBI also has regular bilateral meetings with at least seven social-media platforms, plus

 Apple, to discuss disinformation concerns, and these bilateral meetings also continue through the

 present day. Id. ¶¶ 867-877. In these meetings, the FBI meets with the platforms’ content-

 moderation officers in particular. Id. ¶¶ 871, 877, 962. Three to ten agents from FBI’s FITF task

 force participate in these bilateral meetings along with Elvis Chan. Id. ¶ 939.

        The FBI also communicates with platforms—including flagging content, accounts, and

 URLs for censorship—through alternative channels, including the self-deleting app Signal and the

 encrypted Teleporter service. Id. ¶¶ 878.

        Elvis Chan confirms that the FBI cooperates with social-media platforms through

 “information sharing and account takedowns.” Plaintiffs’ Proposed Findings of Fact, Ex. 1 ¶ 905

 (emphasis added). In addition to sharing “strategic information” about themes and tactics of

 putative disinformation, the FBI routinely flags specific content, posts, accounts, and URLs to the

 platforms for censorship—i.e., “IP addresses, email accounts, social media accounts, … website

 domain names, and … file hash values.” Id. ¶ 906.

        The intended purpose and predictable effect in flagging specific speakers, content, and

 accounts to platforms is to induce the platforms to censor those speakers, content, and accounts.




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 Id. ¶¶ 908-911. The purpose of the FBI’s “information sharing” with platforms is to “shut down

 … accounts.” Id. ¶ 911. And it succeeds on a grand scale.

        The FBI also flags specific content, speakers, and accounts to state and local government

 officials to encourage them to report them to social-media platforms (or to report them to the FBI

 and CISA, who then flag them to platforms). Id. ¶ 912.

        Chan estimates that the FBI sends lists of accounts, content, websites, and URLs to social-

 media platforms for censorship about “one to five times per month.” Id. ¶ 931. Each time, the

 FBI sends the platforms an encrypted Teleporter message with a list of “indicators,” i.e., specific

 social-media accounts, web sites, URLs, email accounts, etc., that the FBI wants the platforms to

 evaluate under their content-moderation policies. Id. ¶ 932. The size of each list ranges from a

 single account to “a whole spreadsheet full of them,” sometimes including “hundreds” of specific

 accounts, websites, URLs, etc. Id. ¶ 934. In one occasion in 2020, the FBI sent “a spreadsheet

 with hundreds of accounts” via Teleporter to the platforms. Id. ¶ 941. Such mass-flagging

 messages were sent during the 2020 and 2022 election cycles with similar frequency. Id. ¶¶ 934-

 935. In general, these mass-flagging messages go to all seven major social-media platforms, but

 sometimes there are platform-specific mass-flagging messages. Id. ¶ 936. At least eight FBI

 agents in the San Francisco field office participate in flagging content for censorship to the social-

 media platforms. Id. ¶ 938.

        The FBI’s social-media flagging of supposed “foreign influence” accounts sweeps in

 massive amounts of domestic, First Amendment-protected speech by ordinary Americans. Id.

 ¶¶ 913-924. For example, the FBI flags supposedly foreign posts (including core political speech)

 that hundreds of thousands of American have engaged by liking, commenting on, and reposting—




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 all First Amendment-protected activities.2 Id. ¶¶ 916-919. The FBI thus obliterates massive

 amounts of American speech when it induces platforms to censor such supposedly “foreign”

 speech. The FBI also flags for censorship foreign-hosted websites on which American journalists

 and American speakers post content. Id. ¶¶ 922-923.

        In addition, the FBI runs “command centers” around every election that, among other

 things, flag reported “misinformation” for censorship to social-media platforms. Id. ¶ 879, 925-

 927. In doing such flagging, the FBI does not attempt to distinguish whether the speaker is

 American or foreign; it flags the disfavored content to the platforms for censorship regardless of

 whether it is foreign or domestic. Id. ¶ 926.

        The FBI also probes platforms for details about how they detect supposedly “inauthentic

 content” and how they enforce their censorship policies. ¶¶ 929-930. And the FBI also asks the

 platforms to report back to it on whether it censors the content it flags. Id. ¶ 937.

        The FBI boasts a “50 percent success rate” in getting platforms to censor content that it

 flags as misinformation. Id. ¶ 928. Given the sheer volume of the FBI’s reports, this comprises

 the censorship of massive amounts of disfavored speakers and viewpoints.

        CISA Collusion. CISA, likewise, engages in extensive collusion with platforms on

 censorship.




 2
   See, e.g., Robinson v. Hunt County, 921 F.3d 440, 447 (5th Cir. 2019) (commenting on a
 Facebook page is First Amendment-protected activity); Bland v. Roberts, 730 F.3d 368, 386 (4th
 Cir. 2013) (“liking” a web page is First Amendment-protected speech); see also Knight First
 Amend. Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 237 (2d Cir. 2019), cert. granted,
 judgment vacated as moot sub nom. Biden v. Knight First Amend. Inst. at Columbia Univ., 141 S.
 Ct. 1220 (2021) (Mem.) (“Replying, retweeting, and liking are all expressive conduct that blocking
 inhibits. Replying and retweeting are messages that a user broadcasts, and, as such, undeniably
 are speech.”).


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        Continuous meetings and coordination. CISA communicates regularly with social-media

 platforms about misinformation through multiple series of standing meetings. Plaintiffs’ Proposed

 Findings of Fact, Ex. 1, ¶¶ 978-990, 1083-1087. CISA has at least five sets of recurring meetings

 with social-media platforms about misinformation and disinformation. Id. ¶ 1078. CISA also has

 many bilateral meetings with individual platforms. Id. ¶ 1084.

        CISA hosts the “USG-Industry” meetings attended by the FBI, CISA, ODNI, DOJ, DHS’s

 I&A, and at least seven or eight major social-media platforms. Id. ¶¶ 978, 981, 986, 1086. These

 “USG-Industry” meetings increase in frequency as each election nears, becoming monthly and

 then weekly shortly before an election. Id. ¶¶ 980, 1087. These meetings have been ongoing for

 years and are continuing. Id. ¶¶ 983, 985. “Concerns about misinformation and disinformation

 on social media platforms” are discussed at the USG-Industry meetings. Id. ¶ 987. Federal

 officials and platforms report to each other on the trends and topics of misinformation that they

 perceive on social media. Id. ¶¶ 987-988. CISA also has bilateral planning meetings with

 Facebook before every USG-Industry meeting. Id. ¶ 984.

        In addition, CISA receives regular reports from social-media platforms about any changes

 to their content-moderation policies. Id. ¶ 979. Platforms report to CISA when they make their

 policies more restrictive. Id. ¶ 1103. CISA also asks platforms to report back on how they acted

 on reports of misinformation received from CISA, and whether they censored the flagged content.

 Id. ¶ 1061. In the USG-Industry meetings, the platforms report on changes to their content-

 moderation policies to the federal officials. Id. ¶ 1024.

        Flagging content for censorship. CISA’s website proclaims that it “serves as a switchboard

 for routing disinformation concerns to appropriate social media platforms,” and that it has

 “expanded the breadth of reporting” under this program. Id. ¶ 976. CISA “switchboards” reports




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 of misinformation to social-media platforms for censorship by receiving the reports from state and

 local government officials and others, and forwarding them to platforms such as Facebook,

 Twitter, and YouTube to be evaluated for censorship under their content-moderation policies. Id.

 ¶¶ 972, 977. The “idea” of such “switchboarding” is to get the platforms to apply their content-

 moderation policies to the disfavored content, i.e., to censor them. Id. ¶ 973.

        CISA receives reports of misinformation both from the nonprofit organization Center for

 Internet Security (CIS) and directly from state and local government officials. Id. ¶ 1030. CISA

 also directs election officials to the Center for Internet Security, whose EI-ISAC program CISA

 funds, as an alternative route for reporting misinformation to platforms. Id. ¶ 1002. The CISA-

 funded EI-ISAC, operated by CIS, is a clearinghouse for state and local government officials to

 report misinformation for censorship. CISA coordinates with the CIS on reporting misinformation

 to the platforms. Id. ¶ 1031. The Center for Internet Security works closely with CISA in reporting

 misinformation to social-media platforms, and CISA serves as a pass-through for reports from CIS

 to the platforms. Id. ¶ 1005. CISA reports misinformation to the platforms without making any

 assessment of whether it involves foreign or domestic speakers. Id. ¶ 1033.

        During the 2020 election cycle, CISA maintained a “tracking spreadsheet” with 146 entries

 of its “switchboarding” activities. Id. ¶ 1062. At least six members of CISA “took shifts” in

 “switchboarding” misinformation reports to platforms during 2020 election cycle. Id. ¶ 1063.

 Two of these CISA staffers were interns simultaneously working for Stanford Internet Observatory

 and flagging misinformation to platforms on behalf of the Election Integrity Partnership (discussed

 below). Id. ¶ 1064. These shifts would last until late in the evening as election day approached.

 Id. ¶ 1067. State officials sometimes flagged misinformation for censorship because CISA and

 the FBI had warned them to be on the lookout for such content. Id. ¶ 1072. CIS and EIP also




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 flagged social-media content to local election officials and invited them to review and report it as

 misinformation. Id. ¶ 1082.

           In addition to flagging misinformation to platforms, CISA frequently fact-checks such

 reports for the platforms. Id. ¶¶ 1076-1080. CISA also publishes debunks of social-media

 narratives, knowing that the platforms will use this information to censor those narratives. Id.

 ¶ 1105.     CISA pushed especially hard for the censorship of content that CISA’s Director

 disfavored, including the “Hammer and Scorecard” narrative in 2020. Id. ¶ 1105. CISA flags

 even obvious parody and joke accounts to the platforms for censorship, such as account handles

 saying “Smoke weed erry day” and “hoes be mad, but this is a parody account.” Id. ¶ 1102.

           Platforms treat CISA as a privileged reporter of misinformation, often responding with

 great alacrity to reports, even late in the evening, and reporting back when speech reported by

 CISA has been censored. Id. ¶ 1081.

           Early in the 2022 election cycle, Lauren Protentis of CISA repeatedly urged the platforms

 to prepare “one pagers” for state and local government officials that would explain to them how

 to report misinformation directly to the platforms. Id. ¶¶ 1094-1096. The Center for Internet

 Security, whose EI-ISAC is funded by CISA, continued to flag misinformation to the platforms

 during the 2022 election cycle. Id. ¶ 1098. Like the FBI, CISA runs an “operation center” on

 election day that engages in reporting misinformation to social-media platforms. Id. ¶ 1097.

           Global Engagement Center Collusion.          Likewise, the State Department’s Global

 Engagement Center (GEC) colludes with social-media platforms on censorship. GEC conducts

 numerous meetings with social-media platforms about disinformation. Id. ¶ 1123. These include

 quarterly meetings involving the GEC’s senior leadership and more frequent meetings involving

 its Technology Engagement Team. Id. ¶ 1124-1125. As with the other agencies, the GEC meets




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 with the platforms’ content-moderation officials, i.e., those charged with enforcing censorship

 policies. Id. ¶ 1126-1127. The GEC also maintains at times a permanent liaison in Silicon Valley

 to connect with social-media platforms, who also meets with the platforms’ content-moderation

 teams. Id. ¶ 1130.

        Other Agencies’ Collusion.       This collusion extends to other agencies as well.      In

 particular, platforms routinely treat certain federal agencies as privileged fact-checkers with

 authority to dictate what will and will not be removed. Plaintiffs’ Proposed Findings of Fact, Ex.

 1 ¶ 46, ¶ 396 (Facebook to White House: “There are several claims we will be able to remove as

 soon as the CDC debunks them.”); id. ¶ 397 (asking the Surgeon General to provide a health expert

 to dictate what claims about child vaccines would be censored on Facebook). As discussed above,

 platforms treat the CDC, in particular, as a final censorship authority with ultimate authority to

 dictate what health-related claims will be censored on their platforms.

        Other agencies share this privileged-fact-checker role. Under Dr. Fauci’s leadership,

 NIAID staff, working with HHS, NIH, and White House officials, repeatedly flagged posts,

 content, and accounts for censorship to social-media platforms, including impersonation and/or

 parody accounts (and even fan pages) of Dr. Fauci himself. Id. ¶¶ 809-825. These flaggings

 include requests such as “PLEASE REMOVE!!!” and “Is there anything else that you can also do

 to block other variations … so we don’t have this happen again?” Id. ¶ 810. Dr. Fauci approves

 of the removal of these accounts from social media because he thinks they are “a bad thing,” even

 though they may include parody accounts. Id. ¶¶ 818-820.

        NIH, likewise, serves as an authority dictating what speech will be censored on social

 media. Id. ¶¶ 826-827. NIH provided the authority, for example, for the CDC to rate claims about




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 the efficacy of Ivermectin to treat COVID-19 as “NOT ACCURATE” to platforms to procure their

 censorship on social media. Id.

        Platforms also coordinate closely with federal officials in controlling messaging on their

 platforms, including amplifying and subsidizing the government’s message to the exclusion of

 private speakers.    Id. ¶¶ 83-84 (Facebook collaborating with the White House to amplify

 government messaging); id. ¶ 129 (Facebook noting that it has “provided more than $30 million

 in ad credits to help governments … reach people”); id. ¶ 379 (White House telling Facebook it

 would “appreciate a push” to promote the FDA approval of the Pfizer vaccine).

                        b. Pervasive Entwinement.

        In addition to conspiracy and collusion, joint activity occurs whenever the government has

 “so far insinuated itself” into private affairs as to blur the line between public and private action.

 Jackson v. Metro. Edison Co., 419 U.S. 345, 357 (1974). This manifests itself in “pervasive

 entwinement of public institutions and public officials in [the private entity’s] composition and

 workings.” Brentwood Acad., 531 U.S. at 298; see also Wittner v. Banner Health, 720 F.3d 770,

 777–78 (10th Cir. 2013). To become pervasively entwined in a private entity’s workings,

 government need only “significantly involve[] itself in the private [entity’s] actions and

 decisionmaking”; it is not necessary to establish that “state actors . . . literally ‘overrode’ [the

 private entity’s] independent judgment.” Rawson v. Recovery Innovations, Inc., 975 F.3d 742,

 751, 753 (9th Cir. 2020).

        Pervasive entwinement exists even if the private party is exercising independent judgment.

 The Supreme Court has explicitly rejected “the proposition that no person acts under color of state

 law where he is exercising independent professional judgment.” West v. Atkins, 487 U.S. 42, 52

 n.10 (1988). “A finding that individual state actors . . . literally ‘overrode’ a nominally private




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 [actor’s] independent judgment might very well provide relevant information. But it is a mistake

 to focus too narrowly on this question.” Rawson, 975 F.3d at 751; accord West, 487 U.S. at 52

 n.10 (“The exercise of independent professional judgment is not . . . the primary test.” (cleaned

 up)). “[S]ustained and routine cooperation between” government officials and private actors can

 constitute joint participation even if the private actors exercise independent judgment, especially

 if the purpose of the cooperation is “to further [the government’s] interest.” Rawson, 975 F.3d at

 750, 754; see also Roberson v. Dakota Boys & Girls Ranch, 42 F.4th 924, 935 (8th Cir. 2022) (“In

 West, the doctor’s use of professional . . . judgment did not preclude him from being a state actor.

 Rather, the salient fact was that his relationship with [government officials] was cooperative.”

 (internal citation and quotation marks omitted)); Gallagher v. Neil Young Freedom Concert, 49

 F.3d 1442, 1454 (10th Cir. 1995) (indicating that a “substantial degree of cooperative action” can

 constitute “joint action”).

         Here, social-media companies work hand-in-glove with Defendants and their partners in

 state and local government, the Election Integrity Partnership, and the Virality Project to censor

 speech expressing viewpoints that Defendants disfavor. This conduct constitutes significant

 encouragement, coercion, and conspiracy and collusion as well.

         The Election Integrity Partnership. The Election Integrity Partnership is a collaboration

 among four anti-disinformation nonprofits—Stanford Internet Observatory, the University of

 Washington’s Center for an Informed Public, Graphika, and the Atlantic Council’s Digital

 Forensic Lab—with government and social-media platforms. Id. ¶ 1144.

         The EIP lists three government agencies—CISA, the CISA-funded EI-ISAC, and the

 GEC—as “major stakeholders.” Id. ¶ 1153, 1180. The EIP lists them as providing information

 into the EIP’s “Intake Queue,” i.e., reporting misinformation for censorship. Id. ¶ 1151. These




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 government agencies, as “trusted external stakeholders,” submit “tickets” to the EIP to flag content

 and themes on social media for censorship. Id. ¶¶ 1152, 1153, 1175.

        The EIP was created “in consultation with” CISA. ¶ Id. 1138. CISA interns originated

 the idea of the EIP, id. ¶ 1139, and then CISA officials helped create it. The EIP’s “Operational

 Timeline” includes a July 9, 2020, “Meeting with CISA to present EIP concept.” Id. ¶ 1169.

        The EIP successfully lobbied social-media platforms to adopt more restrictive policies

 about election-related speech during the late summer and early fall of 2020. Id. ¶¶ 1148-1150,

 1149, 1217-1220. The EIP then aggressively reported misinformation to the platforms to be

 censored under those new policies that it pushed them to adopt. Id. ¶¶ 1148-1150.

        Through its “ticketing” system, the EIP flagged, not just posts, but entire themes and

 narratives on social media to platforms for censorship, encompassing potentially millions of posts

 in 2020 alone. Id. ¶¶ 1157, 1174-1176. The EIP used teams of researchers working long days to

 monitor Americans’ speech on social-media platforms and report disfavored speech to platforms

 for censorship. Id. ¶ 1178. The EIP created “established relationships with social media platforms

 to facilitate flagging of incidents for evaluation” under their content-moderation policies. Id.

 ¶ 1182. The EIP coordinated closely with virtually all major platforms, as well as government

 agencies, in reporting misinformation. Id. ¶ 1183-1185.

        The EIP boasts that its flagging for censorship had a high success rate: “35% of the URLs

 we shared with Facebook, Instagram, Twitter, TikTok, and YouTube were either labeled, removed,

 or soft blocked. … the four major platforms we worked with all had high response rates to our

 tickets.” Id. ¶ 1187.




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         The CISA-funded Center for Internet Security was a major source for EIP tickets. Id.

 ¶ 1188. The GEC also reported misinformation to the EIP. Id. ¶ 1197 (“Groups that reported

 tickets include the State Department’s Global Engagement Center…”).

         The EIP admits that the speech it targets for censorship is not foreign but domestic,

 grassroots speech by American citizens. Id. ¶ 1158, 1195, 1199. This includes the speech of

 highly visible figures with hundreds of thousands or millions of social-media followers, such as

 Plaintiff Jim Hoft, President Trump, Fox News host Sean Hannity, and Breitbart News. Id. ¶ 1159,

 1208.

         The EIP is partly funded by the federal government, both through a grant from the U.S.

 National Science Foundation and from federal funding for the Atlantic Council. Id. ¶¶ 1164-1165.

         Numerous current and former CISA personnel also have or had roles in the EIP. Id. ¶ 1163.

 Likewise, key EIP personnel such as Alex Stamos, Renee DiResta, and Kate Starbird also have

 formal roles in CISA. See id. ¶¶ 1179-1171.

         The EIP “flag[s] policy violations for platforms.” Id. ¶ 1172; see also id. ¶ 1177. The

 reach of the EIP’s monitoring and reporting is enormous; its “tickets” encompassed almost 22

 million posts on Twitter alone. Id. ¶ 1202; see also id. ¶ 1201. These disfavored tweets were

 identified by monitoring 859 million tweets over three months. Id. ¶ 1203.

         The EIP was given privileged access to the internal data of some platforms to monitor

 Americans’ social-media speech, id. ¶ 1203, but it expressed frustration about not having access

 to better internal data from Facebook, id. ¶ 1204.

         The EIP targets truthful speech and core political speech that expresses viewpoints

 disfavored by the government and the EIP. Id. ¶ 1205-1206. The EIP’s public report indicates

 that it flagged Plaintiff Jim Hoft’s content for censorship repeatedly; the report mentions Hoft’s




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 website 47 times, identifies him as the #2 “superspreader” of election-related misinformation on

 Twitter, and devotes an entire subsection of the report to his website and social-media accounts.

 Id. ¶¶ 1156, 1192-1194, 1207-1216. The EIP indicates that it monitored and targeted Hoft’s

 content in 29,207 original tweets and over 840,000 retweets. Id. ¶ 1210.

        The EIP indicates that it plans to remain active in the future. Id. ¶ 1222-1224. In fact, the

 EIP reformed itself as the “Virality Project” during 2021. Id. ¶ 1223.

        The EIP’s Pervasive Entwinement with CISA and the GEC. CISA has established

 relationships with researchers at the Stanford Internet Observatory, the University of Washington,

 and Graphika—three of the four entities comprising the “Election Integrity Partnership” (“EIP”).

 Id. ¶ 991-992. Brian Scully admits that CISA has an “established relationship” with the EIP and

 the Stanford Internet Observatory personnel involved. Id. ¶ 1000. He also admits that CISA

 collaborated with the EIP. Id. ¶ 1028.

        As noted, CISA interns originated the idea of the EIP. Id. ¶ 993. The EIP is designed to

 address a CISA-perceived problem of a “gap” that Brian Scully communicated to the CISA interns.

 Id. ¶¶ 995-996. The “gap” is the lack of resources that prevents state and local officials from

 identifying and flagging social-media misinformation that affects their jurisdictions. Id. ¶ 995.

 The EIP is designed to fill that “gap,” i.e., to do the work of monitoring and censoring speech that

 government lacks the resources to do effectively.

        CISA received briefings from the EIP on its work. Id. ¶ 993. These “conversations”

 happened “throughout” the EIP’s work during the 2020 election cycle. Id. ¶ 997. CISA also

 reviewed and relied on the EIP’s public reports on social-media misinformation. Id. ¶ 999.

        CISA had communications with the EIP’s founders, including Alex Stamos and Renee

 DiResta of the Stanford Internet Observatory, as the EIP was starting up and they were “trying to




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 figure out what the gap was.” Id. ¶ 993. CISA briefed the EIP’s founders on what the “gap” is

 that needed to be filled. Id. ¶ 997. CISA “had conversations with Stanford about the gap” as the

 EIP was being launched. Id. ¶¶ 1013, 1019. The EIP’s leaders, Alex Stamos and Renee DiResta,

 also briefed CISA on the EIP in spring or summer 2021. Id. ¶ 1010.

        CISA connected the EIP to the Center for Internet Security (CIS), a nonprofit the runs the

 CISA-funded “EI-ISAC,” a clearinghouse through which state and local government officials

 report misinformation to CIS and CISA to be flagged to the platforms. Id. ¶¶ 993, 997, 1001-1002,

 1027. CISA connected the EIP to the CIS so that they could coordinate directly on flagging

 misinformation. Id. ¶ 1024. As a result of CISA’s connection, the CIS and the EIP had a

 relationship and shared information. Id. ¶ 1032. CISA also connected the EIP to organizations of

 state and local officials who report misinformation, including the National Association of

 Secretaries of State (NASS) and the National Association of State Election Directors (NASED).

 Id. ¶¶ 993, 1024-1025.

        CISA connected the Center for Internet Security with the EIP because “the EIP was

 working on the same mission,” so “we wanted to make sure that they were all connected.” Id.

 ¶ 1004. Thus, CISA originated and set up the collaborations between local government officials

 and the CIS, and between the EIP and the CIS. Id.

        Two of the interns who originated the idea of the EIP worked simultaneously for CISA and

 for Stanford Internet Observatory during the 2020 election cycle, and they flagged misinformation

 to the platforms on behalf of both CISA and the EIP during the same time. Id. ¶¶ 994, 1064-1066.

        CISA served a mediating role between the CIS, the EIP, and the platforms, to coordinate

 their efforts in reporting misinformation to the platforms. Id. ¶ 1007, 1073. CISA also had direct

 email communications with the EIP about misinformation reporting. Id. ¶ 1008.




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        As noted above, CISA coordinated closely with the Center for Internet Security on

 misinformation reports, and CIS coordinated closely with the EIP, creating a triangle of

 collaboration. Id. ¶ 1006, 1009.

        There is substantial overlap of personnel between CISA and the EIP. As noted above, two

 interns worked simultaneously for CISA and EIP in flagging misinformation to platforms on behalf

 of both entities. Id. ¶¶ 994, 1064-1066. Alex Stamos, Renee DiResta, and Kate Starbird of the

 University of Washington—all key players in the EIP—also have formal roles in CISA. Id.

 ¶¶ 1011-1012.    CISA Director Krebs went into business with Alex Stamos after he left

 government, and Matt Masterson became a fellow at the Stanford Internet Observatory when he

 left; both participated in meetings with the EIP while they were at CISA. Id. ¶¶ 1014-1016, 1018,

 1021. Masterson spoke to Stanford about “clarifying the gap” when they were originating the EIP.

 Id. ¶ 1018. Masterson was at the meeting with Alex Stamos where the idea of the EIP was first

 discussed. Id. ¶ 1020.

        The EIP was formulated as a means to accomplish what the government is forbidden to do

 under the First Amendment. Alex Stamos has publicly stated that the EIP was formed in part

 because of the government “lacked … legal authorizations” to engage in the EIP’s work. Id.

 ¶ 1048. The EIP tries to “to fill the gap of the things that the government cannot do themselves.”

 Id. ¶¶ 1049, 1054. Renee DiResta also admits that the EIP was designed to get around the problem

 of “very real First Amendment questions” that would arise if federal officials did the EIP’s

 monitoring and censorship work directly. Id. ¶ 1055.

        The EIP and CIS coordinated directly on specific misinformation reports to platforms,

 including instances where CIS reported misinformation under EIP tracking numbers. Id. ¶ 1058.

 CISA then forwarded EIP-ticketed reports received from CIS to the platforms. Id. ¶ 1060.




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 Forwarding misinformation reports received from the EIP to platforms was CISA’s “standard

 practice.” Id. ¶ 1069. CISA’s “tracking spreadsheet” of “switchboarding” communications

 contains at least 13 entries that originated from the EIP, including one flagging Plaintiff Jim Hoft’s

 content. Id. ¶¶ 1069, 1075. CIS simultaneously forwarded reports of misinformation to both CISA

 and the EIP.     Id. ¶ 1070.     State and local officials simultaneously forwarded reports of

 misinformation to CIS, CISA, and the EIP. Id. ¶ 1071.

         The GEC, likewise, coordinated directly with the EIP by “engaging with the [Election

 Integrity] partnership.” Id. ¶ 1132. As noted above, the GEC reported misinformation to the EIP.

         The Virality Project. After the 2020 election cycle, the EIP continued and expanded the

 same work under the moniker “Virality Project” (VP), continuing to collaborate closely with

 federal officials and turning its attention to so-called “misinformation” about COVID-19 vaccines.

 Id. ¶¶ 1236, 1257, 1260. The same four entities were involved in the Virality Project, including

 Stanford Internet Observatory and many former CISA officials; new nonprofits were added as

 well. Id. ¶¶ 1237-1238.

         Like the EIP, the VP targets First Amendment-protected domestic speech by American

 citizens. Id. ¶¶ 1241, 1256. Like the EIP, the VP seeks the censorship of speech that is truthful

 but does not support the government’s preferred narratives on COVID vaccines, including

 religious claims and core political speech like “Liberty: … no government or employer should be

 able to tell people what to put in their bodies.” Id. ¶¶ 1264-1265, 1268, 1269.

         The VP specifically targets speech by “health freedom” groups, such as Plaintiff Jill Hines’

 group “Health Freedom Louisiana.” Id. ¶¶ 1266-1268, 1316-1323, 1331. The VP devotes an

 entire section of its report to such groups, noting that it targets their speech nationwide. Id. ¶ 1317.

 It discusses such groups almost 100 times. Id. ¶ 1331. In targeting such groups, the VP focuses




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 not only on misinformation about vaccines, but political speech and political organizing against

 vaccine passports and vaccine mandates—areas where Hines experienced particularly invidious

 censorship. Id. ¶ 1321. The VP targets such groups “across all 50 states” including “at a messaging

 and organizing level.” Id. ¶¶ 1343-1345 (emphasis added). Like the EIP, the VP also specifically

 flags Plaintiff Jim Hoft’s content as misinformation. Id. ¶ 1324.

        Like the EIP, the VP pushes platforms to adopt more restrictive content-moderation

 policies and to engage in more aggressive enforcement of such policies. Id. ¶¶ 1242, 1248, 1270.

 Like the EIP, the VP allows “government partners” to share “tips,” i.e., to flag so-called

 “misinformation” for censorship. Id. ¶¶ 1244, 1276. The VP’s “stakeholders provided tips … and

 requests to assess specific incidents and narratives.” Id. ¶ 1276. These “stakeholders” include

 “federal health agencies” and “state and local public health officials.” Id. ¶ 1277.

        Six major social-media platforms (Facebook/Instagram, Twitter, Google/YouTube,

 TikTok, Medium, and Pinterest) cooperated in the VP, “acknowledging content flagged for review

 and acting on it in accordance with their policies” and providing feedback on “the reach of

 narratives previously flagged by VP.” Id. ¶ 1280.

        Like the EIP, the VP targets speech by influential speakers with large audiences, affecting

 audiences of millions of people. Id. ¶¶ 1255 (video censored after “tens of millions of views”); id.

 ¶ 1297 (targeting “recurring actors” that create “viral” incidents); id. ¶¶ 1313-1314, 1344-1348

 (Alex Berenson and Tucker Carlson); id. ¶ 1325 (Breitbart News and One America News

 Network); id. ¶¶ 1334-1341 (Fox News, The Daily Wire, Candace Owens, Robert F. Kennedy Jr.

 (considered “especially pernicious” because of his large audience), America’s Frontline Doctors,

 Simone Gold, Dr. Joseph Mercola, and others).




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        Like the EIP, the VP engages in monitoring of Americans’ speech on social media on a

 massive scale. Id. ¶¶ 1272-1276. The VP “systematically monitored activity across social media

 platforms” for seven months. Id. ¶ 1288. The VP monitored about 6.7 million social-media

 “engagements” per week, over 200 million over seven months. Id. ¶ 1294. The VP reported 174

 “tickets” tracking vaccine-related narratives and themes to platforms for censorship. Id. ¶ 1291.

 The vast majority of speech flagged and tracked by the VP was not false or incorrect speech. Id.

 ¶¶ 1295, 1303-1313.

        Federal officials are pervasively entwined with the Virality Project. The Surgeon General

 pushes platforms to share information with the Virality Project. Id. ¶¶ 226-227. His Office

 coordinated with the Virality Project on the Surgeon General’s Health Advisory and

 “brainstorm[ed]” with the Virality Project. Id. ¶ 228, 231. The Surgeon General repeatedly echoes

 the key messaging of the Virality Project. Id. ¶ 319. The Surgeon General launched his Health

 Advisory on Misinformation in an event hosted by Stanford Internet Observatory, which leada the

 Virality Project. Id. ¶¶ 330-337. Dr. Murthy admitted that his Office had been “partnered with”

 SIO for “many months.” Id. ¶ 337.

        The VP notes its coordination with “federal government agencies,” touting its “strong ties

 with several federal government agencies, most notably the Office of the Surgeon General (OSG)

 and the CDC,” which involved flagging vaccine-related content on social media (“situational

 awareness around emerging narratives”). Id. ¶ 1279. The VP and the Surgeon General’s office

 collaborated closely, as the VP boasts that “the Office of the Surgeon General incorporated VP’s

 research and perspectives into its own vaccine misinformation strategy,” including its Health

 Advisory on Misinformation. Id. ¶ 1249. The VP repeatedly cites the work of Surgeon General

 Murthy. Id. ¶ 1359.




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        The VP “directly informed counter-messaging efforts by … public health officials,” and

 “provided strategic insights to government entities such as the OSG, CDC, and the Department of

 Health and Human Services.” Id. ¶ 1284. As noted, the VP even hosted Surgeon General Murthy

 for an event announcing his Health Advisory. Id. ¶ 1285.

        The VP matches the Surgeon General’s messaging on social-media misinformation

 verbatim, calling for “transparency,” “accountability” and a “whole-of-society” effort to address

 misinformation. Id. ¶¶ 1247, 1251, 1353-1355. This includes demanding data-sharing from the

 platforms, a key demand of the White House and Surgeon General directly echoed by the VP. Id.

 ¶ 1293. It also includes the “recommendations” for platforms to increase censorship in the VP’s

 report and the Surgeon General’s Health Advisory, including demands for data-sharing. Id.

 ¶¶ 1363-1364.

        For all these reasons, Plaintiffs are likely to establish that Defendants’ conduct involves

 government      action—it    involves     significant   encouragement,       coercion,   deception,

 conspiracy/collusion, and pervasive entwinement. Most of the conduct of the federal agencies and

 officials discussed herein, moreover, falls into multiple such categories.

                 3.     Defendants’ Censorship Activities Violate the First Amendment.

        Given a finding of government action for all these activities, Defendants’ social-media

 censorship activities violate the First Amendment. In fact, the censorship here is particularly

 egregious because it unites three forms of government action considered most offensive to the First

 Amendment: viewpoint discrimination, targeting core political speech, and prior restraints.

        First, the Court has held that First Amendment protection is “at its zenith” when the

 government attempts to restrict “core political speech.” Buckley v. Am. Const. Law Found., Inc.,

 525 U.S. 182, 186–87 (1999); see also Citizens United v. F.E.C., 558 U.S. 310, 485 (2010)




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 (Thomas, J., concurring in part and dissenting in part) (describing “core political speech” as the

 “primary object of First Amendment protection”). Although it includes speech about elections,

 “core political speech need not center on a candidate for office” but encompasses any “advocacy

 of a politically controversial viewpoint.” McIntyre v. Ohio Elec. Comm’n, 514 U.S. 334, 347

 (1995). “No form of speech is entitled to greater constitutional protection than” core political

 speech. Id. Here, virtually all the election-related speech targeted by CISA, the GEC, the FBI,

 and the Election Integrity Partnership is core political speech. So too is the great majority of the

 health-related speech, as it focuses on politically sensitive topics like the safety and efficacy of

 COVID vaccines, mask mandates, and similar topics. Each of these topics is highly “politically

 controversial.” Id.

        Second, “viewpoint-based” regulation is especially “obnoxious” to the First Amendment.

 Hill v. Colorado, 530 U.S. 703, 723 (2000). Indeed, the “rationale of the general prohibition”

 against content-based regulation “is that content discrimination raises the specter that the

 Government may effectively drive certain ideas or viewpoints from the marketplace.” R.A.V. v.

 City of St. Paul, 505 U.S. 377, 387 (1992) (emphasis added and quotation marks omitted).

 Accordingly, courts are even more skeptical of viewpoint-based restrictions on speech than they

 are of content-based restrictions. See, e.g., Int’l Women’s Day March Planning Comm. v. City of

 San Antonio, 619 F.3d 346, 359 (5th Cir. 2010) (“[C]ontent-based burdens on speech in a public

 forum are subject to strict scrutiny, while viewpoint-based burdens are [absolutely]

 unconstitutional.”). As the Supreme Court famously wrote in West Virginia State Board of

 Education v. Barnette, “If there is any fixed star in our constitutional constellation, it is that no

 official, high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or

 other matters of opinion or force citizens to confess by word or act their faith therein.” 319 U.S.




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 624, 642 (1943). Here, virtually all of Defendants’ requests for censorship is viewpoint-based.

 Defendants have not procured the censorship of all speech about elections and COVID-19

 vaccines; they have only sought to censor the views about such topics that contradict the

 government’s preferred narratives. This is quintessential viewpoint discrimination.

        Third, prior restraints are “the most serious and least tolerable infringement on First

 Amendment rights.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). Although the

 quintessential prior restraint is a law requiring government approval prior to publication, see 4

 WILLIAM BLACKSTONE, COMMENTARIES *152, the Supreme Court treats as a de facto prior

 restraint any government restriction on speech whose “object . . . is not punishment but

 suppression.” Near v. Minnesota ex rel. Olson, 283 U.S. 697, 703, 711–12 (1931) (treating a

 statute as an unconstitutional prior restraint even though it was enforced against the defendants

 only after they had circulated the offending publication); see also Bantam Books, 372 U.S. at 60–

 70 (treating agency pressure to stop the circulation of “books which have for sometime been widely

 distributed” as a de facto regime of prior restraint). Here, Defendants’ censorship seeks not to

 impose consequences on disfavored viewpoints, but to silence disfavored viewpoints on social

 media. This is a massive system of de facto prior restraints.

        Because Defendants’ conduct violates three of the most fundamental precepts of the First

 Amendment, it is egregiously unconstitutional. Plaintiffs are likely to succeed on their First

 Amendment claim.

        B.      Plaintiffs Are Likely to Succeed on their APA and Ultra Vires Claims.

        Plaintiffs are also likely to succeed on the merits of their claims under the Administrative

 Procedure Act (APA), 5 U.S.C. § 500 et seq, as well as their statutory ultra vires claim. Plaintiffs

 explained in their Response to Defendants’ Motion to Dismiss why 5 U.S.C. §§ 702 and 704




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 provide a cause of action and a waiver of sovereign immunity for their APA claims. Doc. 161-1,

 at 51–56. Plaintiffs also explained why they do not need a waiver of sovereign immunity for their

 ultra vires claim and why, even if they did, 5 U.S.C. § 702 provides one. Id. at 50–51. Plaintiffs

 incorporate by reference those explanations here.

        The APA directs a reviewing court to “hold unlawful and set aside agency action” that the

 court concludes is “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

 with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

 statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

 of procedure required by law.” 5 U.S.C. § 706(2). Agency Defendants’ censorship program meets

 each of these conditions.

        To decide whether agency action was “arbitrary, capricious, [or] an abuse of discretion,”

 § 706(2)(A), “the court the court must consider whether the decision was based on a consideration

 of the relevant factors and whether there has been a clear error of judgment,” Citizens to Preserve

 Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971). If the agency “relied on factors which

 Congress has not intended it to consider” or “entirely failed to consider an important aspect of the

 problem,” then its action was arbitrary and capricious. Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

 State Farm Mut. Auto Ins., 463 U.S. 29, 43 (1983). Here, Agency Defendants entirely failed to

 consider many important facts about their censorship program, including (1) that it targets core

 political speech for suppression, (2) that it is viewpoint discriminatory, and (3) that it subjects

 speech to de facto prior restraint. And Defendants’ decision to proceed with the program despite

 its manifest unconstitutionality was “a clear error of judgment.” Overton Park, 401 U.S. at 416.

        Plaintiffs have already explained why Agency Defendants’ censorship program is

 “contrary to constitutional right” and “in excess of statutory . . . authority.” § 706(2)(B)–(C).




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        Finally, Agency Defendants launched their censorship program “without observance of

 procedure required by law,” § 706(2)(D), because they failed to provide the public with notice and

 an opportunity to comment. The APA exempts “interpretative rules,” “general statements of

 policy,” and “rules of agency organization, procedure, or practice” from notice and comment.

 § 553(b)(A). But these exceptions “must be narrowly construed,” Texas v. United States, 40 F.4th

 205, 228 (5th Cir. 2022). And even broadly construed, they would not encompass Defendants’

 censorship program. Because the program does more than “clarify or explain existing law or

 regulations,” it is no mere “interpretative rule[].” Alcarez v. Block, 746 F.3d 593, 613 (9th Cir.

 1984). Because the program does not “advise the public prospectively of the manner in which the

 agency proposes to exercise a discretionary power,” it is no mere “general statement of policy.”

 Texas, 40 F.4th at 228 (alteration omitted). And because the program “encodes . . . substantive

 value judgment[s]” and “trenches on substantial private rights or interests,” it is no mere “rule[] of

 agency organization, procedure, or practice.” Am. Fed. of Lab. & Cong. of Indus. Orgs. v. N.L.R.B.,

 57 F.4th 1023, 1034–35 (D.C. Cir. 2023) (cleaned up) (limiting this exception to “internal house-

 keeping measures”).

        In addition, Plaintiffs are likely to prevail on the merits of their ultra vires claim because

 no statute provides “any colorable basis” on which Defendants could claim the authority to

 implement their censorship program. Danos v. Jones, 652 F.3d 577, 583 (2011) (quotation mark

 omitted). Defendants have failed to identify a single statute that they are prepared to argue gives

 them the authority for their mass-censorship program. Nor could they: the censorship program is

 “plainly invalid,” Fla. Dep’t of State v. Treasure Salvors, Inc., 458 U.S. 670, 716 (1982) (White,

 J., concurring in the judgment in part and dissenting in part).




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        C.      Plaintiffs Are Likely to Establish Standing.

        In the context of a preliminary injunction, “the ‘merits’ on which plaintiff must show a

 likelihood of success encompass not only substantive theories but also establishment of

 jurisdiction.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015). To have

 standing, a plaintiff must face or have suffered an injury traceable to the challenged conduct of the

 defendant and likely to be redressed by a favorable decision. Lujan v. Def. of Wildlife, 504 U.S.

 555, 560–61 (1992). At the preliminary-injunction stage, a movant need only show that he likely

 to prove that he has standing. Speech First, Inc. v. Fenves, 979 F.3d 319, 330 (5th Cir. 2020).

 Because Plaintiff States and the individual Plaintiffs seek the same relief, Plaintiffs need only show

 that they are likely to prove that at least one Plaintiff has standing. See Rumsfeld v. Forum for

 Acad. & Inst’l Rights, Inc., 547 U.S. 47, 52 n.2 (2006). In fact, all Plaintiffs have standing.

 Plaintiffs incorporate by reference their prior briefing on standing in response to Defendants’

 motion to dismiss. Doc. 161-1, at 5-49.

                1.      Plaintiffs Are Likely to Prove Injury.

        Plaintiffs’ Proposed Findings of Fact set forth the facts underlying the imminent, ongoing

 injuries to both the individual Plaintiffs, Ex. 1, ¶¶ 1367-1411, and to the State Plaintiffs, id. ¶¶

 1427-1442. They also describe the injuries to other, similarly situated speakers and listeners of

 social-media speech. Id. ¶¶ 1412-1426.

        The individual Plaintiffs assert violations of their First Amendment right to speak and listen

 freely without government interference. See Va. State Bd. of Pharm. v. Va. Citizens Consumer

 Council, Inc., 425 U.S. 748, 757 (1976) (holding that government “censorship equally infringe[s]”

 the speaker’s rights and “the rights of [the audience] to whom the [speech] was addressed”). A

 personal loss of First Amendment rights is “unquestionably” an injury that supports standing.




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 Croft v. Governor of Tex., 562 F.3d 735, 745 (5th Cir. 2009); see also McNamara v. Moody, 606

 F.2d 621 (5th Cir. 1979) (affirming a nominal-damages award under 42 U.S.C. § 1983 for a First

 Amendment free-speech violation absent any other injury).

         The State Plaintiffs, moreover, assert seven specific imminent, ongoing injuries. See Doc.

 161-1, at 14-29. Among other things, Defendants’ own witness, Carol Crawford of the CDC,

 attests to the significance of the States’ injury to their interest in being able to read and follow the

 uncensored speech and opinions of their constituents on social media. Plaintiffs’ Proposed

 Findings of Fact, Ex. 1, ¶¶ 1435-1437. The CDC agrees with the States that government agencies

 have a strong interest in reading and following the uncensored speech and opinions of their

 constituents. Id. ¶¶ 590-595. The CDC admits that “it does help … for communicators to know

 what conversations occurs on social media because it helps us identify gaps in knowledge, or

 confusion, or things that we're not communicating effectively that we need to adjust.” Id. ¶ 591.

 Having a “full picture” of what people are saying on social media allows the government agency

 to “adjust communication materials” to address their actual thoughts and concerns. Id. ¶ 594.

         The evidence also demonstrates the imminent and ongoing nature of Plaintiffs’ injuries.

 Plaintiffs both experience ongoing injury from censorship and face the imminent prospect of

 further censorship in the future, as all Defendants are continuing and expanding their censorship

 efforts. For example, the White House continues its censorship campaign throughout 2022 without

 relenting. Id. ¶¶ 188-199. The White House also continues to expand the topics of its social-media

 censorship campaign, to include new topics such as “climate disinformation,” abortion-related

 speech, “gendered disinformation,” and economic policy. Id. ¶¶ 200-211. Likewise, when it

 comes to misinformation, the CDC’s “focus is not solely on COVID. We’re focusing on other

 topics” as well, and the CDC colludes with social-media platforms about emerging topics like




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 medication abortion. Id. ¶ 562. CISA and its Director Jen Easterly have made a series of public

 statement indicating that they intend to expand their anti-disinformation efforts in the future. Id.

 ¶¶ 1106, 1112-1114, 1118.         Recent DHS document indicate that DHS intends to target

 misinformation on new topics like “the origins of the COVID-19 pandemic,” “the U.S. withdrawal

 from Afghanistan,” “racial justice,” and “the nature of U.S. support for Ukraine.” Id. ¶ 1110.

 CISA has already been involved in an initiative against so-called misinformation about the U.S.’s

 involvement in Ukraine. Id. ¶ 1111. CISA is also working with Treasury on an initiative to address

 “misinformation” about the financial-services industry. Id. ¶¶ 1115-1116. The EIP continues to

 operate through the 2022 election cycle. Id. ¶ 998. At every turn, Defendants’ censorship

 enterprise is expanding its efforts to dictate and control what Americans may say on social media,

 the “modern public square.” Packingham v. North Carolina, 137 S. Ct. 1730 (2017).

                2.      Plaintiffs Are Likely to Prove Traceability.

        Plaintiffs are likely to prove that their injuries are fairly traceable to Defendants’ actions of

 inducing and jointly participating in social-media companies’ viewpoint-based censorship. But-

 for causation is sufficient for traceability. Duke Power Co. v. Carolina Envt. Study Grp., 438 U.S.

 59, 74–75 (1978). But it is not necessary. Tweed-New Haven Airport Auth. v. Tong, 930 F.3d 65,

 71 (2d Cir. 2019); Parsons v. U.S. Dep’t of Justice, 801 F.3d 701, 714 (6th Cir. 2015). On the

 contrary, “the fairly-traceable inquiry is much more forgiving than the . . . tort-causation inquiry,”

 Webb ex rel. K.S. v. Smith, 936 F.3d 808, 814 (8th Cir. 2019), and even the tort-causation inquiry

 does not require but-for causation, RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR PHYSICAL AND

 EMOTIONAL HARM § 27 (Am. L. Inst. 2022). For example, a defendant who aided and abetted a

 tort is liable for it, RESTATEMENT (THIRD) OF TORTS: LIABILITY FOR ECONOMIC HARM § 28 (Am.

 L. Inst. 2022), even if his act of aiding and abetting was not a but-for cause of the tort, id. cmt. e.




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 Likewise, a party to a conspiracy is liable for torts committed in furtherance of the conspiracy by

 his coconspirators, id. § 27, even if his own conduct was not a but-for cause of the torts, id. rptr.

 note c. A fortiori, “injuries resulting from [a third party’s acts] are . . . ‘fairly traceable’ to” the

 defendant if the defendant “aided or abetted their commission,” Mastafa v. Australian Wheat Bd.

 Ltd., No. 07 Civ. 7955(GEL), 2008 WL 4378443, at *2 (S.D.N.Y. Sep. 25, 2008), or the third party

 committed the acts in furtherance of a conspiracy to which the defendant was a party, see In re

 Domestic Airline Travel Antitrust Litig., 221 F. Supp. 3d 46, 55 (D.D.C. 2016).

         Under these principles, Plaintiffs are likely to prove that the injuries they assert are fairly

 traceable to the challenged actions of Defendants. Plaintiffs are likely to prove that Defendants’

 acts of inducing and jointly participating in social-media companies’ viewpoint-based censorship

 are but-for causes of that censorship, including censorship that has affected the individual Plaintiffs

 and Plaintiff States’ citizens as speakers or audience members. Plaintiffs are also likely to prove

 that Defendants aided and abetted the censorship and that the social-media companies committed

 the censorship in furtherance of a conspiracy with Defendants to suppress speech. Each of these

 grounds—but-for causation, aiding and abetting, and conspiracy—is individually sufficient to

 establish that the injuries to Plaintiffs’ and Plaintiff States’ citizens’ ability to speak and listen are

 fairly traceable to the challenged actions of Defendants.

         To be sure, “injury that results from the independent action of some third party not before

 the court” is not fairly traceable to the defendant. Simon v. E. Ky. Welfare Rights Org., 426 U.S.

 26, 41–42 (1976). But acts of a third party “are not ‘independent’ of steps taken to aid and abet

 those acts.” Mustafa, 2008 WL 4378443, at *2; accord In re TelexFree Sec. Litig., --- F. Supp. 3d

 ---, 2022 WL 3915989, at *13 (D. Mass. Aug. 31, 2022). Nor are acts in furtherance of a

 conspiracy to which the defendant is a party. See Domestic Airline Travel Antitrust Litig., 221 F.




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 Supp. 3d at 55, 57 (drawing a contrast between “independent decision[s]” and a coconspirator’s

 acts in furtherance of the conspiracy). Here, Defendants conduct falls into the latter categories.

         Moreover, even assuming the connection between Defendants’ conduct and Plaintiffs’

 other injuries were too attenuated to support standing (which it is not), the injuries to the individual

 Plaintiffs’ First Amendment rights and to Plaintiff States’ quasi-sovereign interests would still be

 fairly traceable to Defendants’ conduct. All Plaintiffs are suffering censorship, which is an injury

 no matter who is responsible for it. But for both the individual Plaintiffs and Plaintiff States’

 citizens, censorship at the hands of the government is a distinct injury insofar as it is an invasion

 of their constitutional rights. See Al-Amin v. Smith, 511 F.3d 1317, 1333–35 (11th Cir. 2008)

 (holding that like being deprived of due process, being deprived of First Amendment rights is per

 se a cognizable injury, independently of “any actual injury” that it entails). Without Defendants’

 involvement, social-media censorship by private companies would not violate constitutional

 rights. See Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019). Therefore,

 the violation of the individual Plaintiffs’ and Plaintiff States’ citizens’ constitutional rights is

 traceable to Defendants even assuming (contrary to fact) that the other injuries Plaintiffs assert are

 not. See Duke Power, 438 U.S. at 74-75 (recognizing that but-for causation is sufficient for

 traceability).

         In any event, here, as discussed further above, there is overwhelming evidence that

 Defendants’ actions are the direct and but-for cause of the censorship that injures Plaintiffs. For

 example, White House officials repeatedly and successfully press for censorship of so-called

 “borderline” content that does not violate platform policies, and thus would not be censored but

 for federal pressure. See, e.g., Plaintiffs’ Proposed Findings of Fact, Ex. 1, ¶¶ 57, 64 (promising

 the White House that Facebook would censor “often-true” but “sensationalized” content); ¶ 73




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 (imposing forward limits on non-violative speech on WhatsApp); ¶¶ 89-92 (assuring the White

 House that Facebook will use a “spectrum of levers” to censor content that “do[es] not violate our

 Misinformation and Harm policy, including “true but shocking claims or personal anecdotes, or

 discussing the choice to vaccinate in terms of personal and civil liberties”); ¶¶ 93-100 (agreeing to

 censor Tucker Carlson’s content at the White House’s behest, even though it did not violate

 platform policies), ¶¶ 103-104 (Twitter deplatforming Alex Berenson at White House pressure);

 ¶ 171 (Facebook deplatformed the Disinformation Dozen immediately after these comments).

 Facebook officials scrambled to get back into the White House’s good graces. Id. ¶¶ 172, 224

 (pleading for “de-escalation” and “working together”).

        The facts demonstrate a clear pattern of platforms responding to White House pressure by

 agreeing to greater and greater censorship, including of non-violative speech. This is strikingly

 clear in the platforms’ response to the one-two punch of Jennifer Psaki’s and Surgeon General

 Murthy’s public comments on July 15, 2021, followed by President Biden’s accusation that the

 platforms are “killing people” on July 16. Id. ¶¶ 141-162. Twitter suspended Alex Berenson

 within hours of the President’s statement, and later deplatformed him. Id. ¶ 163. Facebook took

 prompt action against the Disinformation Dozen. Id. ¶ 170. YouTube immediately assured the

 White House that it was aggressively censoring non-violative content. Id. ¶ 174.

        As another example, virtually all the “flagging” activity—by the White House, the CDC,

 NIAID, CISA, the FBI, the GEC, the EIP, and the Virality Project—obviously results in censorship

 that the platforms would not impose but for Defendants’ actions. The whole point of “flagging”

 content for censorship is to call the platforms’ attention to content that they have not censored, in

 order to get them to censor it. The fact that content is flagged means that the platforms have not

 censored it, and federal officials think that they should. “Flagging” would make no sense if it were




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 not the but-for cause of censorship. The Government’s witnesses effectively admit this. For

 example, Brian Scully acknowledges that CISA’s “switchboarding” activity causes speech to be

 censored that otherwise would not have been censored, because Scully agrees that “if it hadn't been

 brought to their attention [by CISA’s flagging] then they obviously wouldn’t have moderated it.”

 Id. ¶ 974.

         In addition, the social-media censorship traceable to Defendants’ conduct includes many

 specific examples of Defendants’ inducing the censorship of Plaintiffs’ social-media content in

 particular. Both CISA and the Election Integrity Project repeatedly flagged Plaintiff Jim Hoft’s

 content for censorship, the latter on a massive scale. The Virality Project, working in collaboration

 with the Surgeon General’s Office, particularly targeted “health freedom” groups like Plaintiff Jill

 Hines’s “Health Freedom Louisiana.”           The Great Barrington Declaration was censored

 immediately after Dr. Fauci’s campaign to suppress it. The YouTube video of Dr. Bhattacharya

 and Dr. Kulldorff’s roundtable with Governor DeSantis was censored pursuant to a policy change

 that YouTube adopted at Dr. Fauci’s instigation. And so forth. All Plaintiffs’ censored content

 falls within the scope of Defendants’ censorship campaign.            Plaintiffs are likely to prove

 traceability.

                 3.     Plaintiffs Are Likely to Prove Redressability.

         Finally, Plaintiffs are likely to prove that a favorable decision would redress their injuries.

 Because past injury is not redressable by injunctive or declaratory relief, Stringer v. Whitley, 942

 F.3d 715, 720 (5th Cir. 2019), Plaintiffs must prove that, at least as of when they filed suit, their

 injuries were ongoing, or new injuries were imminent, but would likely be stopped by injunctive

 or declaratory relief against Defendants, see Davis v. F.E.C., 554 U.S. 724, 734 (2008) (“While




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 . . . the suit proceeds, the standing inquiry remains focused on whether the party invoking

 jurisdiction had the requisite stake in the outcome when the suit was filed.”).

        A plaintiff’s standing is assessed as of the filing of the first complaint that the plaintiff

 joined. Lynch v. Leis, 382 F.3d 642, 647 (6th Cir. 2004); see also Davis v. F.E.C., 554 F.3d 724,

 734 (2008) (“While . . . the suit proceeds, the standing inquiry remains focused on whether the

 party invoking jurisdiction had the requisite stake in the outcome when the suit was filed.”); S.

 Utah Wilderness All. v. Palma, 707 F.3d 1143, 1153 (10th Cir. 2013) (“[S]tanding . . . is assessed

 at the time of the original complaint, even if the complaint is later amended.”). The State Plaintiffs

 filed suit on May 5, 2022, see Doc. 1, and the individual Plaintiffs joined on August 2, 2022, see

 Doc. 45.

        The State Plaintiffs already have more than enough evidence to prove that their injuries

 were ongoing as of May 5, 2022. For example, preliminary discovery has revealed that Defendant

 CDC was working with Facebook in June 2022 to expand Facebook’s censorship policies to

 encompass skepticism about COVID-19 vaccines for children. On June 7, Facebook notified CDC

 officials that Facebook’s censorship policies for claims about childhood COVID-19 vaccines

 would wait for government approval. Doc. 71-7, at 6 (“We’ll hold on our policy changes until we

 get the final word from you.”). On June 22, the new and expanded policy that Facebook adopted

 under Defendants’ supervision took effect. Doc. 71-3, at 5 (“As of today[, June 22, 2022], all

 COVID-19 vaccine related misinformation and harm policies on Facebook and Instagram apply

 to people 6 months or older . . . . We expanded these policies in coordination with the CDC and

 ensured that we also included false claims that might be connected to children . . . .”). Defendant

 Robert Flaherty was involved in the effort too. See id. (email about the new policy addressed to

 “Rob and Team”). On June 13, Flaherty denied Facebook’s request for permission to stop




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 submitting its biweekly “Covid Insights Report” to the White House, because he wanted to monitor

 Facebook’s suppression of COVID-19 misinformation “as we start to ramp up under 5 vaccines.”

 Doc. 71-3, at 6. Facebook had previously informed Defendants Flaherty, Courtney Rowe, and

 Eric Waldo that it “expect[ed] the approval of COVID vaccines for kids ages 5-11 w[ould] be

 another significant peak in new misinformation claims.” Doc. 86-5, at 4. The rollout of vaccines

 for children under age five undoubtedly prompted another “peak” in content to be censored. Id.

        Similarly, the individual Plaintiffs are likely to show that their injuries were both imminent

 and ongoing as of August 2, 2022. The documents Plaintiffs obtained indicate that Defendants are

 planning to continue their censorship activities into the future, well beyond August 2. For example,

 preliminary discovery revealed that Defendant CISA “has a burgeoning MDM [Mis-, Dis-, and

 Mal-Information] effort” that includes “directly engaging with social media companies to flag

 MDM,” with focus in calendar year 2022 on the midterm elections in November. Doc. 71-8, at 2.

 Spearheading this effort is an “MDM Subcommittee,” which was working under Defendant

 Jennifer Easterly’s direction to “continu[e]/refin[e] the mission of Rumor Control” for the 2022

 midterm elections. Doc. 86-7, at 14. CISA “wants to insure that it is set up to extract lessons

 learned from 2022 and apply them to the agency’s work in 2024.” Doc. 71-8, at 2. Accordingly,

 the “MDM Subcommittee” is working under Easterly’s direction to perfect its “mission of Rumor

 Control” in time for the 2024 elections. Doc. 86-7, at 14. All of this indicates that Plaintiffs are

 likely to show that each Plaintiff has been affected by new incidents of censorship occurring at

 Defendants’ behest after that Plaintiff filed or joined this lawsuit. And past decisions to suppress

 speech expressed by or addressed to Plaintiffs or Plaintiff States’ citizens also impose ongoing

 injury on Plaintiffs insofar as the speech remains suppressed. Furthermore, the censorship that the

 individual Plaintiffs have experienced in the past continues to chill their speech in the present.




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 This chilling effect also violates the rights of the individual Plaintiffs’ audience members,

 including many in Plaintiff States.

         For similar reasons, Plaintiffs have standing to assert their procedural APA claim. See

 Massachusetts v. E.P.A., 549 U.S. 497, 518 (2007) (“When a litigant is vested with a procedural

 right, that litigant has standing if there is some possibility that the requested relief will prompt the

 injury-causing party to reconsider the decision that allegedly harmed the litigant.”). Here, there is

 at least “some possibility” that calling the agencies’ attention to the grave constitutional problems

 with their censorship activities will prompt them to reconsider this censorship enterprise.

 II.     The Other Three Equitable Factors Strongly Favor a Preliminary Injunction.

         In addition to showing a likelihood of success on the merits, Plaintiffs must show that “a

 substantial threat of irreparable injury” exists, “that the threatened injury if the injunction is denied

 outweighs any harm that will result if the injunction is granted,” and “that the grant of an injunction

 will not disserve the public interest.” Ladd, 777 F.3d at 288.

         Where, as here, “a plaintiff has shown a likely violation of his or her First Amendment

 rights, the other requirements for obtaining a preliminary injunction are generally deemed to have

 been satisfied.” Minn. Citizens Concerned for Life, Inc. v. Swanson, 692 F.3d 864, 870 (8th Cir.

 2012) (en banc). “The loss of First Amendment freedoms, for even minimal periods of time,

 unquestionably constitutes irreparable injury.”         Elrod v. Burns, 427 U.S. 347, 373 (1976).

 Defendants have no cognizable interest in maintaining an unconstitutional program of de facto

 prior restraint, see BST Holdings, L.L.C. v. Occupational Safety & Health Admin., U.S. Dep’t of

 Lab., 17 F.4th 604, 618 (5th Cir. 2021) (“Any interest [an agency] may claim in enforcing an

 unlawful (and likely unconstitutional) [regulation] is illegitimate.”); whereas Plaintiffs have an

 overriding interest in protecting the First Amendment freedoms of individual Plaintiffs, the




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 millions of similarly situated speakers and listeners, and the millions of citizens Plaintiff States

 represent as parentes patriae, see Pittsburgh Press Co. v. Pittsburgh Comm’n on Hum. Rels., 413

 U.S. 376, 381 (1973) (“[T]he freedoms of speech and of the press rank among our most cherished

 liberties.”). “Injunctions protecting First Amendment freedoms are always in the public interest.”

 Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 539 (5th Cir. 2013).

 III.   The Court Should Grant Classwide Injunctive Relief Under Rule 23(b)(2).

        To make preliminary injunctive relief as fully effective as possible, the Court should grant

 classwide preliminary injunctive relief under Rule 23(b)(2). To that end, Plaintiffs will shortly file

 a motion for leave to amend the Complaint to include class allegations and a motion for

 certification of an injunctive class under Rule 23(b)(2) at the conclusion of expedited preliminary-

 injunction-related discovery. The Court should grant class certification and grant classwide

 preliminary injunctive relief. Rule 23(b)(2) was designed precisely for cases like this, where a

 plaintiff alleges large-scale civil-rights violations targeting entire classes of people. See, e.g.,

 DeHoyos v. Allstate Corp., 240 F.R.D. 269, 284 (W.D. Tex. 2007) (“Rule 23(b)(2) was

 promulgated essentially as a tool for facilitating civil rights class actions.” (cleaned up)). Because

 Defendants are acting “on grounds that apply generally to the class” by targeting everyone who

 expresses the views they disfavor, “injunctive relief or corresponding declaratory relief is

 appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

        Classwide injunctive relief is particularly appropriate here, because a classwide injunction

 is required to protect Plaintiff States’ quasi-sovereign interest in the ability of their citizens to

 engage in free exchange of ideas on social media. This is an interest that each Plaintiff “State has

 in the well-being of its populace” as a whole, not merely an interest in the well-being of handful

 of individual residents. Alfred L. Snapp & Son v. Puerto Rico ex rel. Barez, 458 U.S. 592, 602–




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 07 (1982). Each Plaintiff State has millions of citizens who use social media and have a right to

 hear and listen to other users, both inside and outside of Plaintiff States. Only an injunction that

 protects the entire forum of social media from Defendants’ censorship is sufficient to redress the

 injuries to Plaintiff States’ populace as a whole.

         Furthermore, classwide injunctive relief is necessary to provide adequate redress for the

 injuries that the individual Plaintiffs and the Plaintiff States are suffering directly. One of the ways

 Defendants are injuring Plaintiff States directly is by compromising their “ability to follow,

 measure, and understand the nature and degree of” their citizens’ views and concerns on matters

 of public importance. Doc. 10-6, ¶ 6; Doc. 10-13, ¶ 6. Classwide relief that protects the rights of

 social-media users as a whole is necessary to remediate this injury. Likewise, the individual

 Plaintiffs closely follow the accounts of other social-media users, many of whom are experiencing

 or are at risk of experiencing censorship by social-media companies with the encouragement or

 joint participation of Defendants. An injunction that protects only their rights as speakers, but not

 the rights of other speakers, would not remediate the injuries they experience daily as audience

 members participating in ongoing dialog on social media.

                                            CONCLUSION

         For the reasons stated, the Court should enter the preliminary injunction requested in

 Plaintiffs’ Motion for Preliminary Injunction, Doc. 10, at 1, with the following modifications in

 light of the evidence. The Court should enter a preliminary injunction preventing Defendants, and

 their agents, officers, employees, contractors and all those acting in concert with them, from taking

 any steps to demand, urge, encourage, pressure, coerce, deceive, collude with, or otherwise induce

 any social-media company or platform for online speech, or any employee, officer, or agent of any

 such company or platform, to censor, suppress, remove, de-platform, suspend, shadow-ban, de-




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 boost, deamplify, issue strikes against, restrict access to, demonetize, or take any similar adverse

 action against any speaker, content, or viewpoint expressed on social media. The Court should

 also preliminarily enjoin Defendants from acting in concert with any others, including but not

 limited to persons and entities associated with the Center for Internet Security, the Election

 Integrity Partnership, and the Virality Project, to engage in the aforementioned conduct, and from

 acting in concert with any such others who are engaged in any of the aforementioned conduct.

        The injunction should extend to the White House Defendants (White House Press

 Secretary, Rob Flaherty, Andrew Slavitt, Clarke Humphrey, Courtney Rowe, Benjamin Wakana,

 Gina McCarthy, and their official successors and those acting in concert with them); the Surgeon

 General Defendants (Dr. Vivek H. Murthy, HHS, Eric Waldo, and their official successors and

 those acting in concert with them); the CDC Defendants (Centers for Disease Control, HHS, Carol

 Crawford, Kate Galatas, Jay Dempsey, and their official successors and those acting in concert

 with them); the Census Defendants (U.S. Census Bureau, Jennifer Shopkorn, Zachary Henry

 Schwartz, and their official successors and those acting in concert with them); the NIAID

 Defendants (NIAID, HHS, Dr. Anthony Fauci, and his official successor and those acting in

 concert with them); the FBI Defendants (FBI, DOJ, Laura Dehmlow, Elvis Chan, and their official

 successors and those acting in concert with them); the CISA Defendants (Cybersecurity and

 Infrastructure Security Agency, DHS, Director Jen Easterly, Brian Scully, Matthew Masterson,

 Lauren Protentis, Geoffrey Hale, Allison Snell, Kim Wyman, and their official successors and

 those acting in concert with them); and the GEC Defendants (State Department, Leah Bray, Daniel

 Kimmage, Samaruddin K. Stewart, Alexis Frisbie, and their official successors and those acting in

 concert with them).




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  Dated: March 6, 2023                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on March 6, 2023, I caused a true and correct copy of the foregoing

 to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

 electronic filing system on counsel for all parties who have entered in the case.

                                                       /s/ D. John Sauer




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                          E HIBIT 1




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

    STATE OF LOUISIANA, STATE OF
    MISSOURI, et al.,

                    Plaintiffs,

       v.                                                  Case No. 3:22-cv-01213

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.,
                                                     
                    Defendants.




               PLAINTIFFS’ PROPOSED FINDINGS OF FACT IN SUPPORT
                 OF THEIR MOTION FOR PRELIMINARY INJUNCTION




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                       PLAINTIFFS’ PROPOSED FINDINGS OF FACT
         Plaintiffs respectfully submit the following Proposed Findings of Fact as Exhibit 1 to their

 supplemental brief in support of a preliminary injunction. Plaintiffs incorporate by reference the

 evidence, documents, and exhibits previously filed in this case; where cited herein, they are cited

 by docket number (e.g. “Doc. 174-1, at 31” is page 31 of ECF No. 174-1). The deposition

 transcripts and exhibits to depositions are filed separately; they are cited herein as “[Witness Last

 Name] Dep. Page:Line,” e.g., “Fauci Dep. 1:3-5” is lines 3-5 of page 1 of Dr. Fauci’s deposition,

 and “Scully Dep. 10:22-11:5” is page 10, line 22 through page 11, line 5 of Brian Scully’s

 deposition. Plaintiffs are also filing the video recordings of the depositions with the Court so that

 the Court may view the testimony of the Government’s witnesses and assess the witnesses’

 credibility for itself. The Declaration of Jasimiel Jones, submitting supplemental exhibits in

 addition to the deposition and transcript and attached as Exhibit 2, is cited herein as “Jones Decl.

 Ex. __, at __” e.g., pages 1-3 of Exhibit A to the Jones Declaration is “Jones Decl. Ex. A, at 1-3.”

 Plaintiffs’ previously filed exhibits attached to the Declaration of Tammy Glenn, Doc. 10-1, are

 cited as “Glenn Decl. Ex. __, at __; Doc. 10-1, at __.” In addition, these Findings regularly refer

 to the company formerly known as Facebook, now known as Meta, which owns Facebook,

 Instagram, WhatsApp, and other platforms, as “Facebook,” consistent with common usage in

 documents.

 I.      The Campaign Of Public Threats Against Social-Media Platforms To Pressure
         Them To Censor More Speech on Social Media.
      1. Federal officials, including Defendants, have made a long series of public statements since

 at least 2018 demanding that social-media platforms increase their censorship of speech and

 speakers disfavored by these officials, and threatening adverse consequences – such as repeal or



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 reform of Section 230 immunity under the Communications Decency Act, antitrust scrutiny or

 enforcement, increased regulation, and other measures – if the platforms do not increase

 censorship.    The private communications between government officials and social-media

 platforms addressing disinformation, misinformation, and censorship set forth herein were made

 against the backdrop of these public threats.

    2. The immunity provided by Section 230 of the Communications Decency Act is extremely

 valuable for social-media platforms, so threatening to amend or repeal that immunity is highly

 motivating to them. One commentator has aptly described Section 230 immunity as “a hidden

 subsidy worth billions of dollars,” stating: “Digital platforms enjoy a hidden subsidy worth billions

 of dollars by being exempted from any liability for most of the speech on their platforms (Section

 230).” Glenn Decl. Ex. 11, Doc. 10-1 at 140. Another commentator has observed, “imperiling

 Section 230 is a fearsome cudgel against ever untouchable companies.” Glenn Decl. Ex. 13, Doc.

 10-1 at 206.

    3. The threat of antitrust scrutiny or enforcement is also a major motivator to social-media

 platforms. For example, Facebook CEO Mark Zuckerberg has stated that the threat of antitrust

 enforcement is “an ‘existential’ threat” to his platform. Glenn Decl. Ex. 12, Doc. 10-1 at 202.

    A. Threats From Federal Elected Officials Pressuring Platforms to Censor Speech.

    4. Then-Speaker of the House Nancy Pelosi stated on April 12, 2019: “I do think that for the

 privilege of 230, there has to be a bigger sense of responsibility on it. And it is not out of the

 question that that could be removed.” Glenn Decl. Ex. 13, Doc. 10-1, at 205 (“When asked about

 Section 230, Pelosi referred to the law as a ‘gift’ to tech companies that have leaned heavily on

 the law to grow their business…. ‘It is a gift to them and I don’t think that they are treating it with

 the respect that they should, and so I think that that could be a question mark and in jeopardy… I




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 do think that for the privilege of 230, there has to be a bigger sense of responsibility on it. And it

 is not out of the question that that could be removed.’”).

    5. Senator Richard Blumenthal stated on Nov. 17, 2020: “I have urged, in fact, a breakup of

 tech giants. Because they’ve misused their bigness and power. … And indeed Section 230 reform,

 meaningful reform, including even possible repeal in large part because their immunity is way too

 broad and victims of their harms deserve a day in court.” Glenn Decl. Ex. 16, at 1; Doc. 10-1, at

 225.

    6. Senator Mazie Hirono tweeted on Feb. 5, 2021: “Sec 230 was supposed to incentivize

 internet platforms to police harmful content by users. Instead, the law acts as a shield allowing

 them to turn a blind eye. The SAFE TECH ACT brings 230 into the modern age and makes

 platforms accountable for the harm they cause.” Glenn Decl. Ex. 55, at 1; Doc. 10-1, at 723.

    7. Defendants’ political allies have repeatedly used congressional hearings as forums to

 advance these threats of adverse legislation if social-media platforms do not increase censorship

 of speakers, speech, content, and viewpoints they disfavor. They have repeatedly used such

 hearings to berate social-media firm leaders, such as Mark Zuckerberg of Facebook, Jack Dorsey

 of Twitter, and Sundar Pichai of Google and YouTube, and to make threats of adverse legal

 consequences if censorship is not increased. Such hearings include, but are not limited to, an

 antitrust hearing before the House Judiciary Committee on July 29, 2020; a Senate Judiciary

 Committee hearing on November 17, 2020; and a House Energy and Commerce Hearing on March

 25, 2021.

    8. The March 25, 2021 Joint Hearing of the Communications and Technology Subcommittee

 with the Subcommittee on Consumer Protection and Commerce, the Joint Statement of Democratic

 Committee Chairs stated: “This hearing will continue the Committee’s work of holding online




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 platforms accountable for the growing rise of misinformation and disinformation. ... For far too

 long, big tech has failed to acknowledge the role they’ve played in fomenting and elevating

 blatantly false information to its online audiences. Industry self-regulation has failed. We must

 begin the work of changing incentives driving social media companies to allow and even promote

 misinformation and disinformation.” Glenn Decl. Ex. 17, at 1-2; Doc. 10-1, at 228-29.

    9. At the same hearing, entitled “Disinformation Nation: Social Media’s Role in Promoting

 Extremism and Misinformation,” Representative Schakowsky stated: “[S]elf-regulation has come

 to the end of its road…. [Congress] is preparing to move forward with regulation and legislation.

 The regulation we seek … must hold platforms accountable when they are used to … spread

 misinformation…. All three of the companies that are here today run platforms that are hotbeds

 of misinformation and disinformation.” Jones Decl., Ex. A, at 1, 5. She also stated: “Self-

 regulation has not worked. They must be held accountable for allowing misinformation and

 disinformation to spread.” Id. at 7.

    10. At the same hearing, Representative Doyle stated: “despite repeated promises to tackle this

 crisis, Facebook, Google, and Twitter instead routinely make minor changes in response to the

 public relations crisis of the day. … It is now painfully clear that neither the market nor public

 pressure will force these social media companies to take the aggressive action they need to take to

 eliminate disinformation and extremism from their platforms. And therefore, it is time for

 Congress and this committee to legislate and realign these companies’ incentives. … I question

 whether existing liability protections [i.e., Section 230] should apply … That is why you are here

 today, Mr. Zuckerberg, Mr. Pichai, and Mr. Dorsey…. Your business model itself has become the

 problem.” Id. at 10-11.




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    11. At the same hearing, Representative Rush accused the platforms of allowing

 “[m]isinformation, outlandish conspiracy theories, and incendiary content” to spread, and stated

 to the three CEOs of Google, Facebook, and Twitter: “There is only one comparison that remotely

 approaches the avarice and moral discrepancy of your companies, and that is the slavetocracy

 burden of our Nation’s shameful and inhumane and most difficult dark days in the past.” Id. at 13.

 He also stated to Jack Dorsey, “I can’t wait until we come up with legislation that will deal with

 you and your cohorts in a very, very effective way.” Id. at 14.

    12. At the same hearing, Representative Upton stated: “we are going to see some changes in

 Section 230.” Id. at 15.

    13. At the same hearing, Representative Eshoo demanded of Jack Dorsey, “why haven’t you

 banned the 12 accounts that are spewing its deadly COVID misinformation?” Id. at 17.

    14. At a hearing of the Antitrust subcommittee of the House Judiciary Committee on July 29,

 2020, Representative Cicilline said to Mark Zuckerberg: “Mr. Zuckerberg. When a television

 station runs a false political advertisement, they’re held liable for that. Why should Facebook or

 any other platform be different? … It’s hard to understand why Facebook shouldn’t be responsible

 for those business decisions. … Facebook gets away with it because you’re the only game in town.

 There’s no competition forcing you to police your own platform. Allowing this misinformation to

 spread can lead to violence. And frankly, I believe it strikes at the very heart of American

 democracy. … American democracy has always been at war against monopoly power. … These

 companies, as exist today, have monopoly power. Some need to be broken up, all need to be

 properly regulated and held accountable. … The names have changed, but the story is the same.

 Today, the men are named Zuckerberg, Pichai, Cook, and Bezos.” Jones Decl., Ex. B, at 9-11.




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    15. On November 17, 2020, at a hearing of the Senate Judiciary Committee, Senator

 Blumenthal stated: “Now, Mr. Zuckerberg and Mr. Dorsey, you have built terrifying tools of

 persuasion and manipulation with power far exceeding the robber barons of the last Gilded Age.

 You have profited hugely by … promoting hate speech and voter suppression. … The destructive

 incendiary misinformation is still a scourge on both your platforms and on others. … [W]hat

 appears on your platform … is voter suppression and incendiary malicious misinformation. … [A]

 series of hearings on big tech is long overdue on antitrust issues … and Section 230. I have urged,

 in fact, a breakup of the tech giants because they’ve misused their bigness and power. Breaking

 off, for example, WhatsApp and Instagram [both Meta platforms]…. And indeed Section 230

 reform, meaningful reform, including even possible repeal in large part because their immunity is

 way too broad…. [F]oreign disinformation campaigns intended to interfere in our democracy….

 What we’ve seen here are fighting words and hate speech that certainly deserve no free expression

 protection. … Change is going to come, no question. Change is on the way and I intend to bring

 aggressive and targeted reform to Section 230.” Jones Decl., Ex. C, at 2-3. Soon thereafter, he

 demanded that Mark Zuckerberg (who was testifying before the committee) “commit to … robust

 contend modification playbook in this coming election, including fact-checking, labelling,

 reducting the spread of misinformation” to “tak[e] action against dangerous disinformation” and

 “malign tactics.” Id. at 4; see also, e.g., id. at 9 (Senator Coons demanding that Jack Dorsey

 explain why “you don’t have a standalone climate change misinformation policy”)

    16. On March 11, 2022, Representative Ro Khanna, the Chairman of the House Oversight and

 Reform Committee who is leading “an investigation of oil industry ‘misinformation’ and held two

 days of hearings on the oil industry, tweeted: “Facebook is preventing us from taking action on

 climate change by allowing climate misinformation to spread. Congress must step up and hold




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 them accountable.” Jones Decl., Ex. D. He also tweeted: “Misinformation being spread on social

 media is undermining our efforts to tackle climate change. As chair of the House Oversight

 Environment Subcommittee, I will be holding a hearing to hold social media companies

 accountable.” Id.

       17. On April 20, 2022, twenty-two Democratic members of Congress sent a letter to Mark

 Zuckerberg of Facebook (n/k/a “Meta Platforms, Inc.”), demanding that Facebook increase

 censorship of “Spanish-language disinformation across its platforms” and threatening

 Congressional action if Facebook did not do so. The letter claimed that “disinformation” was a

 threat to democracy, and it made explicit threats of adverse legislative action if Facebook/Meta

 did not increase censorship: “The spread of these narratives demonstrate that Meta does not see

 the problem of Spanish-language disinformation in the United States as a critical priority for the

 health of our democracy.     The lack of Meta’s action to swiftly address Spanish-language

 misinformation globally demonstrates the need for Congress to act to ensure Spanish-speaking

 communities have fair access to trustworthy information.” Glenn Decl. Ex. 18; Doc. 10-1, at 244-

 46.

       18. Comments from two Members of the House of Representatives summarize this campaign

 of pressure and threats: “In April 2019, Louisiana Rep. Cedric Richmond warned Facebook and

 Google that they had ‘better’ restrict what he and his colleagues saw as harmful content or face

 regulation: ‘We’re going to make it swift, we’re going to make it strong, and we’re going to hold

 them very accountable.’ New York Rep. Jerrold Nadler added: ‘Let’s see what happens by just

 pressuring them.’” Glenn Decl. Ex. 14, at 2-3; Doc. 10-1, at 218-19.

       B. Public Threats from President Biden and His Aides Pressuring Platforms to Censor.




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     19. Then-candidate and now-President Biden has led this charge. He has tripled down on these

  threats of adverse official action from his colleagues and allies in senior federal-government

  positions. His threats of adverse government action have been among the most vociferous, and

  among the most clearly linked to calls for more aggressive censorship of disfavored speakers and

  speech by social-media companies.

     20. For example, on January 17, 2020, then-candidate Biden stated, in an interview with the

  New York Times editorial board, that Section 230 of the CDA should be “revoked” because social-

  media companies like Facebook did not do enough to censor supposedly false information in the

  form of political ads criticizing him i.e., core political speech. He stated: “The idea that it’s a

  tech company is that Section 230 should be revoked, immediately should be revoked, number one.

  For Zuckerberg and other platforms.” He also stated, “And it should be revoked. It should be

  revoked because it is not merely an internet company. It is propagating falsehoods they know to

  be false.... There is no editorial impact at all on Facebook. None. None whatsoever. It’s

  irresponsible. It’s totally irresponsible.” Glenn Decl. Ex. 19, at 27; Doc. 10-1, at 275.

     21. Candidate Biden also threatened that Facebook CEO Mark Zuckerberg should be subject

  to civil liability and even criminal prosecution for not censoring such core political speech: “He

  should be submitted to civil liability and his company to civil liability…. Whether he engaged in

  something and amounted to collusion that in fact caused harm that would in fact be equal to a

  criminal offense, that’s a different issue. That’s possible. That’s possible it could happen.” Id. In

  other words, Biden’s message—not long before he became President of the United States—was

  that if Facebook did not censor political ads against him, Zuckerberg should go to prison. These

  two threats echoed the same threats made by numerous political allies of the President since 2019,

  cited above.




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     22. During the presidential campaign, now-Vice President Harris made similar threats against

  social-media firms to pressure them to engage in more aggressive censorship of speakers, content,

  and viewpoints she disfavors. For example, in addition to the statements cited above, she stated

  in 2019: “We will hold social media platforms responsible for the hate infiltrating their platforms,

  because they have a responsibility to help fight against this threat to our democracy. And if you

  profit off of hate—if you act as a megaphone for misinformation or cyberwarfare, if you don’t

  police your platforms—we are going to hold you accountable as a community.” Glenn Decl. Ex.

  20, at 1; Doc. 10-1, at 284.

     23. In or around June 2020, the Biden campaign published an open letter and online petition

  (ironically, on Facebook) calling for Facebook to engage in more aggressive censorship of core

  political speech and viewpoints that then-Candidate Biden disfavored. The open letter complained

  that Facebook “continues to allow Donald Trump to say anything — and to pay to ensure that his

  wild claims reach millions of voters. Super PACs and other dark money groups are following his

  example. Trump and his allies have used Facebook to spread fear and misleading information

  about voting…. We call for Facebook to proactively stem the tide of false information by no

  longer amplifying untrustworthy content and promptly fact-checking election-related material that

  goes viral. We call for Facebook to stop allowing politicians to hide behind paid misinformation

  in the hope that the truth will catch up only after Election Day. There should be a two-week pre-

  election period during which all political advertisements must be fact-checked before they are

  permitted to run on Facebook. … Anything less will render Facebook a tool of misinformation that

  corrodes our democracy.” Glenn Decl. Ex. 23, at 1; Doc. 10-1, at 299.

     24. The online petition demanded that Facebook “[p]romote real news, not fake news,”

  “[q]uickly remove viral misinformation,” and “[e]nforce voter suppression rules against




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  everyone—even the President [Trump].” Glenn Decl. Ex. 24, at 2; Doc. 10-1, at 304. The petition

  complained that Facebook “continues to amplify misinformation and lets candidates pay to target

  and confuse voters with lies.” Id. at 304. It demanded that Facebook “promote authoritative and

  trustworthy sources of election information, rather than rants of bad actors and conspiracy

  theorists,” “promptly remove false, viral information,” and “prevent political candidates and PACs

  from using paid advertising to spread lies and misinformation – especially within two weeks of

  election day.” Id. at 305.

     25. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook accusing it

  of propagating a “storm of disinformation” by failing to censor the Trump campaign’s political

  speech, including social-media political ads. Glenn Decl. Ex. 25, at 3; Doc. 10-1, at 312. The letter

  accused Facebook of allowing “hyper-partisan” and “fantastical” speech to reach millions of

  people, and it demanded “more aggressive” censorship of Trump. Id.

     26. On December 2, 2020—during the presidential transition—Biden’s former chief of staff

  and top technical advisor, Bruce Reed, publicly stated that “it’s long past time to hold the social

  media companies accountable for what’s published on their platforms.” Glenn Decl. Ex. 26, at 1;

  Doc. 10-1, at 314-15. This comment specifically referred to the amendment or repeal of Section

  230 of the Communications Decency Act. See id. He also wrote: “Washington would be better

  off throwing out Section 230 and starting over.” Id.

     27. On July 16, 2021, President Biden stated that social-media companies are “killing people”

  by not censoring enough misinformation. Waldo Ex. 14, at 1.

     28. On January 3, 2022, an audio clip of President Biden played on Alyssa Milano’s podcast

  stated: “The unvaccinated are responsible for their own choices, but those choices had been shulled

  [sic] by dangerous misinformation on cable TV and social media. You know, these companies …




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  are making money by ped[dling] lies and allowing misinformation that can kill their own

  customers and their own supporters. It's wrong. It's immoral. I call on the purveyors of these lies

  and misinformation to stop it. Stop it now.” Waldo Ex. 39, at 5 (Audio Tr. 4).

        29. In September of 2022, the White House convened the “United We Stand” summit at which

  the President put social media companies on notice that Section 230 protections were at risk.

  “Tech platforms currently have special legal protections under Section 230 of the Communications

  Decency Act that broadly shield them from liability. This immunity extends beyond what the First

  Amendment requires and what newspapers and other media receive. It also effectively permits

  hate-fueled content mobilizing users to violence to be amplified on large tech platforms. President

  Biden has long urged fundamental reforms to Section 230, and …he reiterates his call for Congress

  to fundamentally reform Section 230.” Jones Decl., Ex. E, at 9.

        30. President Biden also stated in the same document: “Americans deserve to know how the

  algorithms that drive large tech platforms may amplify divisions and contribute to hate-fueled

  violence, among other critical harms. Consistent with those same principles for accountability,

  President Biden supports requiring platform transparency sufficient to allow the public and

  researchers to understand how and why such decisions are made, their potential effects on users,

  and the very real dangers these decisions may pose.” Id. (emphasis added).

  II.      The White House’s Public and Private Pressure Campaign on Platforms.

           31.    Many White House officials are involved in communicating with social-media

  platforms about misinformation, disinformation, and censorship. In response to a third-party

  subpoena, Facebook/Meta identified at least the following White House officials as engaged in

  such communications: Special Assistant to the President Laura Rosenberger, White House

  Partnerships Manager Aisha Shah, White House Counsel Dana Remus, and White House officials




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  Andy Slavitt, Rob Flaherty, and Clarke Humphrey. Doc. 84, ¶ 379. Defendants’ discovery reveals

  many others. See infra.

         32.    In response to a third-party subpoena, YouTube identified White House officials

  Benjamin Wakana and Rob Flaherty as engaged in such communications, and Defendants’

  discovery reveals others. Doc. 84, ¶ 380. Defendants’ discovery reveals others. See infra.

         33.    In response to a third-party subpoena, Twitter has disclosed the following White

  House officials as engaged in such communications: Deputy Assistant to the President and

  Director of Digital Strategy Rob Flaherty, White House Senior Advisor Andrew Slavitt, NSC

  staffer Katy E. Colas, Deputy Assistant to the President Joshua Geltzer, White House Digital

  Director Clarke Humphrey, Deputy Director of the Office of Digital Strategy Tericka Lambert,

  Press Secretary for the First Lady Michael LaRosa, NSC Director of Counterterrorism John

  Picarelli, Chief of Staff for the Office of Digital Strategy Hoor Qureshi, Director of Strategic

  Communications and Engagement Courtney Rowe, White House Associate Counsel Michael

  Posada, Associate Director for Communications Marissa Sanchez-Velasco, Deputy Director of

  Digital Strategy Christian Tom, and Strategic Director of Digital Communications Benjamin

  Wakana. Jones Decl., Ex. F, at 1. Defendants’ discovery has revealed others. See infra.

         A. Pressure in Private from Rob Flaherty, Andy Slavitt, and White House Officials.

         34.    The Biden White House’s demands for censorship began almost immediately upon

  taking office. On January 23, 2021, three days after Inauguration Day, at 1:04 a.m., Clarke

  Humphrey of the White House emailed Twitter, copying Rob Flaherty, with the subject line:

  “Flagging Hank Aaron misinfo.” Doc. 174-1, at 1. The email stated: “Hey folks – Wanted to flag

  the below tweet and am wondering if we can get moving on the process for having it removed

  ASAP.” Id. Humphrey then linked to a Tweet by anti-vaccine activist Robert F. Kennedy Jr., who




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  is also a principal target of the Virality Project and a member of the so-called “Disinformation

  Dozen.” Id. Humphrey added: “And then if we can keep an eye out for tweets that fall in this

  same ~genre that would be great.” Id.

         35.     “Flagging Hank Aaron misinfo” refers to the claim by anti-vaccine speakers that

  COVID-19 vaccines may have contributed to baseball legend Hank Aaron’s death.            See, e.g.,

  https://www.usatoday.com/story/news/factcheck/2021/01/26/fact-check-hank-aaron-death-

  unlikely-result-covid-19-vaccine/6699577002/.

         36.     Twitter responded to Humphrey within 4 minutes, at 1:08 a.m. on January 23, 2021,

  stating: “Thanks. We recently escalated this.” Doc. 174-1, at 2.

         37.     The White House’s demands for censorship continued relentlessly, and their tone

  was arrogant, demanding, and peremptory. On Saturday night, February 6, 2021, at 9:45 p.m.,

  Rob Flaherty emailed Twitter to demand the immediate removal of a parody or impostor account

  linked to Finnegan Biden, Hunter Biden’s adult daughter. Doc. 174-1, at 4. He stated: “Please

  remove this account immediately.” Id. He also stated: “I have tried using your form three times

  and it won’t work—it is also ridiculous that I need to upload my id to a form [to] prove that I am

  an authorized representative of Finnegan Biden.” Id.

         38.     Two minutes later, at 9:47 p.m., Twitter responded, “Thanks for sending this over.

  We’ll escalate for further review from here.” Id. Flaherty shot back, the same minute, “Cannot

  stress the degree to which this needs to be resolved immediately.” Id. Forty-five minutes later, at

  10:32 p.m., Twitter responded, “Update for you – account is now suspended.” Id. at 3-4.

         39.     The next day, Sunday, Feb. 7, 2021, Twitter emailed Flaherty and described steps

  he could take to “streamline the process” for the White House’s demands for Twitter censorship.

  Id. at 3. Twitter offered to enroll White House officials in Twitter’s Partner Support Portal for




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  expedited review of flagging content for censorship, recommending that Flaherty “Designate a

  list of authorized White House staff for Twitter's Partner Support Portal.” Id. (bold in

  original). Twitter stated: “We sent over instructions about this on January 28th and also discussed

  this with Christian [Tom] during our call on February 4th. This is the same system we had in place

  for the previous two administrations for their support issues, as well as the transition and campaign

  teams. Once you assign and we enroll these authorized reporters, whenever they submit a ticket

  through the Help Center it will be prioritized automatically, without having to contact our team,

  and you won't need to add your personal information. To enroll your designated reporters to the

  Partner Support Portal, we simply need the list of @usernames (up to 10) that are registered with

  a White House email address.” Id. at 3 (italics added; underlines omitted).

         40.     Twitter noted that it had been recently bombarded with such requests for censorship

  from the White House: “we would prefer to have a streamlined process strictly with your team as

  the internal liaison. That is the most efficient and effective way to ensure we are prioritizing

  requests. In a given day last week for example, we had more than four different people within the

  White House reaching out for issues.” Id. at 3.

         41.     The next day, Monday, February 8, 2021, Facebook emailed Rob Flaherty,

  Courtney Rowe, and Clarke Humphrey of the White House to explain how it had recently

  expanded its COVID-19 censorship policies. Doc. 174-1, at 7-8. Facebook stated: “We wanted

  to make sure you saw our announcements today about running the largest worldwide campaign to

  promote authoritative COVID-19 vaccine information and expanding our efforts to remove false

  claims on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general

  during the pandemic.” Id.




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         42.     Under the heading “Combating Vaccine Misinformation,” Facebook provided a

  detailed list of expanded censorship policies: “We are expanding our efforts to remove false claims

  on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general during

  the pandemic. Since December [i.e. during the Biden transition], we've removed false claims about

  COVID-19 vaccines that have been debunked by public health experts. … [W]e are expanding the

  list of false claims we will remove to include additional debunked claims about the coronavirus

  and vaccines. … Groups, Pages and accounts on Facebook and Instagram that repeatedly share

  these debunked claims may be removed altogether. We are also requiring some admins for groups

  with admins or members who have violated our COVID-19 policies to temporarily approve all

  posts within their group. …. On Instagram, in addition to surfacing authoritative results in Search,

  in the coming weeks we're making it harder to find accounts in search that discourage people from

  getting vaccinated….” Id. at 7-8 (bold in original).

         43.     This was not nearly enough for the White House. Within 19 minutes of receiving

  this email, Flaherty responded, pressing Facebook for more information about how strict the new

  policies are. Id. at 7. Quoting Facebook’s email in italics, he wrote: “This line, of course, stands

  out: that repeatedly share these debunked claims may be removed altogether. Can you share more

  about your framework here? May, of course, is very different than ‘will.’ Is there a strike policy,

  ala Youtube? Does the severity of the claims matter?” Id. at 7. He also asked for specific data on

  the application of the censorship policies: “And as far as your removal of claims, do you have data

  on the actual number of claims - related posts you've removed? Do you have a sense of how many

  are being flagged versus how many are being removed? Are there actions (downranking, etc) that

  sit before removal? How are you handling things that are dubious, but not provably false?” Id.




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              44.   The next day, February 9, 2021, Flaherty followed up with Facebook with a demand

  for more information and an accusation (to be repeated) that Facebook’s failure to censor speech

  on its platforms causes “political violence”: “All, especially given the Journal’s reporting on your

  internal work on political violence spurred by Facebook groups, I am also curious about the new

  rules as part of the ‘overhaul.’ I am seeing that you will no longer promote civic and health related

  groups, but I am wondering if the reforms here extend further? Are there other growth vectors you

  are controlling for?” Id. at 6. Flaherty suggested an oral meeting to discuss: “Happy to put time

  on the calendar to discuss further.” Id.

              45.   Facebook responded on February 9, 2021, with a detailed answer to each of

  Flaherty’s questions about the enforcement of its new policies. Id. at 5-6. Facebook also noted

  that “We are happy to discuss these and additional questions as per your recent note.” Id. at 5.

  Among other things, Facebook reported that it would “suspend the entire Page, Group, or account”

  in case of repeat violations; that it “will begin enforcing this policy immediately,” id. at 5; that for

  vaccine-skeptical content that does not violate Facebook’s policies, Facebook will “reduce its

  distribution and add strong warning labels with more context, so fewer people see the post,” id. at

  6; and that Facebook was working to censor content that does not violate its policies in other ways

  by “prevent[ing] posts discouraging vaccines from going viral on our platforms; address[ing]

  content that experts believe dissuades people from getting the vaccine, but does not violate our

  misinformation policies, through the use of information labels; and prevent[ing] recommendations

  for Groups, Pages, and Instagram accounts that repeatedly push content discouraging vaccines,”

  id. at 6.

              46.   Facebook advised Flaherty that it was relying on advice of “public health

  authorities” to determine its censorship policies: “In consultation with leading health




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  organizations, we continuously expand the list of false claims that we remove about COVID-19

  and vaccines during the pandemic. We remove claims public health authorities tell us have been

  debunked or are unsupported by evidence.” Id. at 6 (emphasis added).

         47.     Facebook also promised Flaherty that it would aggressively enforce the new

  censorship policies: “We will begin enforcing this policy immediately, with a particular focus on

  Pages, Groups and accounts that violate these rules, and we'll continue to expand our enforcement

  over the coming weeks.” Id. at 5.

         48.     Facebook then followed up to “see when you would like to have a meeting arranged

  to speak to our misinformation team reps about the latest updates. They also have a more detailed

  misinformation analysis prepared based on the discussions/questions from the previous meetings

  during the transition time period.” Id. at 5.

         49.     This email makes clear that Flaherty, as part of the Biden transition team, had

  already engaged in “previous meetings” and “discussions/questions” with Facebook about

  censorship of COVID-19 misinformation on its platforms during the Presidential transition period

  from November 2020 to January 2021. Id.

         50.     On February 24, 2021, Facebook emailed Rob Flaherty with the subject “Misinfo

  Themes,” stating: “Following up on your request for COVID-19 misinfo themes we are seeing.

  All the below claims violate our updated Covid and vaccine misinformation policies that we

  announced earlier this month, and we are removing these claims from our platforms,” and she

  identified “Vaccine Toxicity,” “False Claims About Side Effects of Vaccines,” “Comparing the

  Covid Vaccine to the Flu Vaccine,” and “Downplaying Severity of COVID-19.” Jones Decl. Ex.

  G, at 1-2. Flaherty responded by inquiring for details about Facebook’s actual enforcement

  practices and for a report on misinformation that was not censored: “Can you give us a sense of




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  volume on these, and some metrics around the scale of removal for each? Can you also give us a

  sense of misinformation that might be falling outside your removal policies? Goes without saying,

  just because it’s on your list for removal hasn’t historically meant that it was removed, so I want

  to get a sense of the state of play here!” Id. at 1. Facebook promised to discuss this at an upcoming

  oral meeting: “Hope to cover a lot of that on Monday … Can definitely go into detail on content

  that doesn’t violate like below but could contribute to vaccine hesitancy.” Id.

         51.     On March 1, 2021, White House officials Rob Flaherty and Clarke Humphrey,

  along with Joshua Peck of HHS, participated in a meeting with Twitter about misinformation.

  Jones Decl., Ex. H, at 1. The same day, after the meeting, Twitter emailed these officials and

  assured the White House that it would increase censorship of “misleading information” on Twitter:

  “Thanks again for meeting with us today. As we discussed, we are building on our continued

  efforts to remove the most harmful COVID-19 misleading information from the service …. We

  have also introduced a strike system that determines when further enforcement is necessary. … As

  we said, we are committed to working with stakeholders in the public, private and non-profit

  sectors to address the reliability of covid information online and look forward to continued

  dialogue about joint efforts.” Id. at 1.

         52.     From at least May 28, 2021 to July 10, 2021, a senior Meta executive repeatedly

  copied Slavitt on his emails to Surgeon General Murthy in which he assured the Surgeon General

  and the White House that Meta was engaging in censorship of COVID-19 misinformation

  according to the White House’s demands. Doc. 71-4. Among other things, the Meta executive

  insisted that “We’ve expanded penalties for individual Facebook accounts that share

  misinformation.” Id. at 9.




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         53.     On March 12, 2021, referring to previous oral communications with the White

  House and HHS, Facebook emailed Flaherty “[f]ollowing up on our commitment to share our

  survey data on vaccine uptake.” Doc. 174-1, at 9. Facebook provided the White House with a

  detailed report and summary on the topic, and noted that the information had evidently been

  requested by or on behalf of “White House / HHS” officials: “Hopefully, this format works for the

  various teams and audiences within the White House / HHS that may find this data valuable.” Id.

         54.     On March 15, 2021, at 3:20 a.m., Flaherty sent an email to Facebook

  acknowledging, “[g]ood insights here,” but then immediately pivoted to demand more and

  different data, linking a recent Washington Post article accusing Facebook of allowing the spread

  of information about vaccine hesitancy and QAnon, stating: “I'm more interested in the data that

  was              outlined              in               the           Washington               Post

  (https//www.washingtonpost.com/technology/202l/03/l4/facebook-vaccine-hesistancy-qanon)

  And what interventions you are testing/their effectiveness.” Id. at 9. This would become a

  standard tactic of the White House – linking to articles critical of Facebook in the press, and then

  demanding more information or actions based on those articles.

         55.     The day before, Sunday, March 14, 2021, at 11:13 p.m., Flaherty had emailed a link

  to the same article to Facebook (“https://www.washingtonpost.com/technology/2021/03/14/face

  book-vaccine-hesistancy-qanon”), copying White House COVID-19 official Andrew Slavitt, with

  no more text in the email and the subject line: “You are hiding the ball.” Id. at 12.

         56.     The next morning, Facebook responded by stating, “there is a misunderstanding on

  what this story is covering with respect to research that's happening – I will call to clear up.

  Certainly not hiding the ball.” Id. at 11-12.




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         57.     Flaherty responded in accusatory fashion, referring to a series of at least three

  previous oral conversations in which the White House had demanded more information from

  Facebook about its censorship policies. Id. at 11. Flaherty made clear that the White House was

  seeking more aggressive action on “borderline” content—i.e., content that does not clearly violate

  Facebook’s own censorship policies but the White House demands action against anyway.

  Flaherty wrote: “I don't think this is a misunderstanding … I've been asking you guys pretty

  directly, over a series of conversations, for a clear accounting of the biggest issues you are seeing

  on your platform when it comes to vaccine hesitancy, and the degree to which borderline content-

  -as you define it-- is playing a role.” Id. at 11. Flaherty also referred to a series of meetings,

  including one-on-one meetings with Facebook (“1:1”): “I've also been asking for what actions you

  have been taking to mitigate it as part of your ‘lockdown’ - which in our first conversation, was

  said to be in response to concerns over borderline content, in our 1:1 convo you said was not out

  of any kind of concern over borderline content, and in our third conversation never even came up.”

  Id.

         58.     Flaherty followed with a series of accusations that Facebook was deceiving and

  prevaricating with the White House about its “borderline” (i.e. not violative) content: “You said

  you would commit to us that you'd level with us. I am seeing in the press that you have data on the

  impact of borderline content, and its overlap with various communities. I have asked for this point

  blank, and got, instead, an overview of how the algorithm works, with a pivot to a conversation

  about profile frames, and a 45-minute meeting that seemed to provide you with more insights than

  it provided us.” Id. He accused Facebook of being the “top driver[] of vaccine hesitancy,”

  demanded action against “borderline” content, and stated that the White House wanted to be

  directly involved in those efforts: “I am not trying to play ‘gotcha’ with you. We are gravely




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  concerned that your service is one of the top drivers of vaccine hesitancy- period. I will also be

  the first to acknowledge that borderline content offers no easy solutions. But we want to know that

  you're trying, we want to know how we can help, and we want to know that you're not playing a

  shell game with us when we ask you what is going on. This would all be a lot easier if you would

  just be straight with us.” Id.

          59.     Facebook responded on March 15, respectfully disputing the Washington Post’s

  reporting, but then saying to Flaherty: “We obviously have work to do to gain your trust. You

  mention that you are not trying to play ‘gotcha’ with us—I appreciate the approach you are taking

  to continued discussions. We are also working to get you useful information that's on the level.

  That's my job and I take it seriously--I'll continue to do it to the best of my ability, and I'll expect

  you to hold me accountable.” Id. at 10-11.

          60.     The same day, March 15, 2021, Andrew Slavitt (who was copied on these

  exchanges between Facebook and Flaherty) weighed in, once again accusing Facebook of

  dishonesty in a series of oral meetings: “It would [be] nice to establish trust. I do feel like relative

  to others, interactions with Facebook are not straightforward and the problems are worse – like

  you are trying to meet a minimum hurdle instead of trying to solve the problem and we have to

  ask you precise questions and even then we get highly scrubbed party line answers. We have

  urgency and don't sense it from you all. 100% of the questions I asked have never been answered

  and weeks have gone by.” Id. at 10.

          61.     Slavitt then made an ominous statement threatening unspecified Executive action

  against Facebook in retaliation for Facebook’s perceived lack of cooperation with the White

  House’s demands on censorship of “borderline” (non-violative) content: “Internally we have been

  considering our options on what to do about it.” Id. at 10 (emphasis added).




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         62.     On March 16, 2021, Facebook responded to Slavitt, again disputing the Washington

  Post’s reporting and respectfully explaining its position, but also promising to share information

  about vaccine hesitancy in “real time”: “We are absolutely invested in getting you the specific

  information needed to successfully manage the vaccine roll out.” Id. Facebook promised to

  increase information-sharing and proposed a detailed oral meeting on the topic: “But I understand

  your point regarding how we communicate, and that we need to share information with you in a

  way that prioritizes what we are seeing in as close to real time as possible. I'd like to set up a

  conversation with our research leads to walk your team through ongoing research we are currently

  conducting and our approach; and then we can prioritize sharing results as quickly as possible.”

  Id. Facebook also offered to speak to Slavitt by phone at any time. Id.

         63.     On March 19, 2021, Facebook had an oral meeting with White House officials,

  including Flaherty and Slavitt. Doc. 174-1, at 15. On Sunday, Facebook sent a follow-up summary

  of the meeting to Andrew Slavitt (“Thanks for taking the time to connect on Friday”), which noted

  that the White House (1) demanded a “Consistent Product Team [Point of Contact]” at Facebook,

  (2) demanded “Sharing Additional Data” from Facebook, (3) had asked about “Levers for Tackling

  Vaccine Hesitancy Content,” and (4) asked about censorship policies for the Meta platform

  WhatsApp. Id..

         64.     In the follow-up email, Facebook noted that, in direct response to White House

  demands, it was censoring, removing, and reducing the spread of content that did not violate its

  policies: “You also asked us about our levers for reducing virality of vaccine hesitancy content. In

  addition to policies previously discussed, these include the additional changes that were approved

  late last week and that we'll be implementing over the coming weeks. As you know, in addition to

  removing vaccine misinformation, we have been focused on reducing the virality of content




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  discouraging vaccines that does not contain actionable misinformation. This is often-true content

  … but it can be framed as sensation, alarmist, or shocking. We ll remove these Groups, Pages, and

  Accounts when they are disproportionately promoting this sensationalized content.” Id. at 15

  (emphases added).

         65.     Facebook also provided the White House with a detailed report on its censorship

  policies on WhatsApp: “WhatsApp's approach to misinformation focuses on limiting the virality

  of messages, preventing coordinated abuse, and empowering users to seek out reliable sources of

  information both in and out of the product. Our product includes features to limit the spread of

  viral content, such as forward limits and labels, privacy settings to help users decide who can add

  them to groups, and simple ways for users to block accounts and make reports to WhatsApp if they

  encounter problematic messages. Additional limitations we placed in April 2020 on forwarding of

  messages that have been forwarded many times reduced these kinds of messages by over 70%.”

  Id.

         66.     On March 22, 2021, Flaherty responded to Facebook, demanding much more

  detailed information and action about “sensationalized” content on its platforms. Id. at 14.

  Flaherty noted that White House officials were demanding a plan from Facebook to censor non-

  violative content, i.e., “looking out for your game plan on tackling vaccine hesitancy spread on

  your platform.” Id.

         67.     In this email, Flaherty badgered Facebook with a series of detailed requests for

  information about this issue of censoring vaccine-skeptical content that does not violate

  Facebook’s content-moderation policies, such as truthful but “sensational” content: “Again, as I've

  said, what we are looking for is the universe and scale of the problem. You noted that there is a

  level below sensational stories that get down-ranked, which took the form of general skepticism.




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  … [T]he problem does not sit in ‘microchips’-land, and … it seems plausible that the things that

  drive the most actual hesitancy sit in ‘sensational’ and ‘skeptical.’” Id.. Flaherty demanded more

  information and greater censorship of such non-violative “sensational” and “skeptical” content:

  “If you're down ranking sensational stuff—great—but I want to know how effective you've seen

  that be from a market research perspective. And then, what interventions are being taken on

  ‘skepticism?’ … [W]hat are you trying here, and again, how effective have you seen it be. And

  critically, what amount of content is falling into all of these buckets? Is there wider scale of

  skepticism than sensationalism? I assume given the Carnegie data and the studies I've seen in the

  press that you have this. … As I've said: this is not to play gotcha. It is to get a sense of what you

  are doing to manage this.” Id. (italics in original).

         68.     Flaherty also badgered Facebook for more information on Meta’s censorship

  policies on the WhatsApp platform, pushing for greater censorship there: “On whatsapp, which I

  may seem like I'm playing gotcha, but I guess I'm confused about how you're measuring reduction

  of harm. If you can't see the message, I'm genuinely curious—how do you know what kinds of

  messages you've cut down on? Assuming you've got a good mousetrap here, that's the kind of info

  we're looking for above: what interventions you've taken, and what you've found to work and not

  work? And how effective are you seeing the good information on Whatapp be? Are you doing

  cross platform campaign work to try to reduce people's exposure on whatsapp?” Id. at 14.

         69.     Flaherty concluded with an accusation of past dishonesty against Facebook and

  proposed frequent oral meetings to address the White House’s issues: “You've given us a

  commitment to honest, transparent conversations about this. We're looking for that, and hoping

  we can be partners here, even if it hasn't worked so far. I know Andy [Slavitt] is willing to get on




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  the phone with [a Facebook official] a couple of times per week if its necessary to get all of this.”

  Id.

         70.     Flaherty’s statement that the White House is “hoping we can be partners here, even

  if it hasn’t worked so far,” reinforced Slavitt’s previous implied threat that the White House would

  take some unspecified action against Facebook if it did not cooperate with the White House’s

  demands on censorship of vaccine-hesitant content, especially non-violative content, on

  Facebook’s platforms. Id.

         71.     Facebook then agreed with Flaherty and Slavitt to schedule a meeting that

  Wednesday at 4:00 pm to discuss these issues. Id. at 13.

         72.     On April 9, 2021, Facebook sent Flaherty an email to respond to a long series of

  detailed questions from Flaherty about how the Meta platform WhatsApp was censoring COVID-

  19 misinformation. Doc. 174-1, at 17-21. All Flaherty’s questions were designed to probe and

  pressure Facebook toward more aggressive censorship. See id. Facebook began by “noting some

  of the key differences between a private messaging app like WhatsApp, and social media like

  Facebook and Instagram. Approximately 90 percent of the messages sent on WhatsApp are one-

  to-one, and the majority of group chats include fewer than ten people. WhatsApp does not promote

  content, and users do not build audiences or discover new people as they would on social media.”

  Id. at 18. Flaherty responded to this: “Very aware. [Smiley face].” In other words, the White

  House was demanding information about speech on a private messaging app used for one-to-one

  private communication, and demanding greater censorship of speech on that app—and it was “very

  aware” that it was doing so. Id.

         73.     Facebook noted that “WhatsApp seeks to control the spread of misinformation and

  inform users through deliberate, content-agnostic product interventions -- things like labeling and




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  limiting message forwards.” Id. at 18. Facebook noted that the message-forwarding limits are

  “intended” to censor COVID misinformation, and that they actually reduced such speech by 70

  percent, and Facebook admitted that these are “somewhat blunt tools” that prevent its users from

  sending many other forms of speech as well: “The forward limits … are intended to reduce their

  spread. As mentioned in my earlier note, when WhatsApp rolled out the limitation for highly

  forwarded messages to one chat at a time in April 2020, this resulted in a 70% reduction of those

  messages globally. Of course, not all forwards are misinformation, so these are by nature

  somewhat blunt tools, but they are important ones -- and ones that many other messaging services

  don't provide.” Id.

         74.     After presenting Facebook with a series of questions (presented in bold and in red

  type in the email, see id. at 18-20), Flaherty summed up by demanding insight into Facebook’s

  internal information: “I guess I have the same question here as I do on Facebook on Instagram. Do

  you guys think you have this under control? You're obviously going to say yes to that, so I guess

  the real question is, as ever: how are you measuring success? Reduction in forwarding? Measured

  impact across Facebook properties?” Id. at 20.

         75.     Facebook responded by emphasizing that it was “reducing viral activity on our

  platform” through message-forward limits and other speech-blocking techniques as well: “On

  WhatsApp, reduction in forwards is just one of the signals that we use to measure how well we are

  doing in reducing viral activity on our platform. We also ban accounts that engage in mass

  marketing or scam behaviors - including those that seek to exploit COVID-19 misinformation. Our

  efforts in this space are more comprehensive than anything that our peers in private messaging or

  SMS do, and we are constantly innovating to stay ahead of future challenges.” Id. at 20.




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         76.     Facebook also offered to meet with the White House “Monday or anytime next

  week” to discuss its censorship efforts, to which Flaherty responded, “Hoor should be trying to

  land a time.” Id. at 17.

         77.     Flaherty responded to Facebook’s long, detailed account of its censorship efforts

  on WhatsApp by expressing dissatisfaction with the response and demanding ever-more detailed

  information, stating that he “couldn’t care less” about Facebook’s “product safari”: “Will say I'm

  really mostly interested in what effects the interventions and products you've tested have had on

  increasing vaccine interest within hesitant communities, and which ones have shown promise.

  Really couldn't care less about products unless they're having measurable impact. And while the

  product safari has been interesting, at the end of the day, I care mostly about what actions and

  changes you re making to ensure sure you re not making our country s vaccine hesitancy problem

  worse. I definitely have what I believe to be a non-comprehensive list of products you're building

  but I still don't have a good, empirical answer on how effective you've been at reducing the spread

  of vaccine-skeptical content and misinformation to vaccine fence sitters in the now-folded

  ‘lockdown.’” Id. at 17 (emphasis added).

         78.     Flaherty then accused Facebook of being responsible for the riot at the Capitol on

  January 6, 2021, by not censoring enough speech online, and suggested that Facebook would be

  similarly responsible for COVID-related deaths if it did not engage in more online censorship here:

  “In the electoral context, you tested and deployed an algorithmic shift that promoted quality news

  and information about the election. This was reported in the New York Times and also readily

  apparent to anyone with cursory social listening tools. You only did this, however, after an election

  that you helped increase skepticism in, and an insurrection which was plotted, in large part, on




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  your platform. And then you turned it back off. I want some assurances, based in data, that you

  are not doing the same thing again here.” Id. (emphases added).

         79.     Facebook responded by promising ever-more-detailed information to the White

  House’s demands: “Understood. I thought we were doing a better job [of] responding to this – and

  we are working to get the data that will more clearly show the universe of the Covid content that's

  highest in distribution with a clear picture of what percentage of that content is vax hesitancy

  content, and how we are addressing it. I know [a Facebook official] told Andy [Slavitt] that would

  take a bit of time to nail down and we are working on that universe of data. I will make sure we're

  more clearly responding to your questions below.” Id. at 17.

         80.     The meeting that Facebook offered with the White House on Monday, April 12 or

  thereafter occurred on Wednesday, April 14, because Flaherty emailed Facebook that day stating:

  “Since we’ve been on the phone…” Id. at 22.

         81.     In this Wednesday, April 14, 2021 email, with the subject line “tucker,” Flaherty

  noted that the White House was tracking COVID-related content in real time, and he demanded

  the censorship of currently-trending posts of content from two prominent Fox News hosts, Tucker

  Carlson and Tomi Lahren: “Since we've been on the phone – the top post about vaccines today is

  tucker Carlson saying they don't work. Yesterday was Tomi Lehren [sic] saying she won't take

  one. This is exactly why I want to know what ‘Reduction’ actually looks like – if ‘reduction’

  means ‘pumping our most vaccine hesitant audience with tucker Carlson saying it doesn't work’

  then ... I’m not sure it's reduction!” Id. at 22. Facebook responded: “Thanks—I saw the same

  thing when we hung up. Running this down now.” Id. In a separate email chain to Flaherty and

  Courtney Rowe the same day, Facebook also assured the White House, “running down the

  question on Tucker and working on getting you report by end of week.” Id. at 23.




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         82.     Tucker Carlson has 1.2 million followers on his personal Facebook account and 3.8

  million followers on his show’s account, Jones Decl., Ex. I, at 1-2, so censoring Carlson’s content

  would affect the free-speech rights of millions of people in a single stroke.

         83.     In the meantime, Facebook was offering to cooperate closely with the White House

  to “amplify” its preferred messages. On April 13, 2021, Facebook emailed Andy Slavitt about the

  temporary halt of the Johnson & Johnson vaccine, stating: “Re the J+J [i.e., Johnson & Johnson]

  news, we're keen to amplify any messaging you want us to project about what this means for people

  – it obviously has the risk of exacerbating vaccine hesitancy, so we're keen to get ahead of the

  knock-on effect. Don't hesitate to tell me – or via your teams – how we can help to provide

  clarity/reassurance via Facebook.” Doc. 174-1, at 31-32. Facebook then forwarded the same offer

  to Courtney Rowe and Rob Flaherty of the White House digital communications team. Id. at 31.

         84.     Flaherty responded the same day, April 13, with a series of detailed requests about

  how Facebook could amplify the White House’s preferred messages, including: “Some kind of

  thing that puts the news in context if folks have seen it (like your current ‘COVID news’ panel)

  that has 3-4 pieces of info (eg: Adverse events are very rare – 6 cases out of nearly 7 million, the

  FDA and CDC are reviewing so it health care providers know how to treat any of the rare events,

  this does not affect pfzier or moderna, which vaccinate via a different mechanism)”; “CDC is

  working through an FAQ that we'd love to have amplified in whatever way possible – maybe

  through the COVID info panel”; and “[a] commitment from you guys to make sure that a favorable

  review reaches as many people as the pause, either through hard product interventions or

  algorithmic amplification.” Id. at 30-31. Flaherty also block-quoted a White-House-approved

  message on the vaccine pause for Facebook to amplify. Id. at 31.




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         85.     Flaherty   then    concluded   by     demanding   that   Facebook    monitor    any

  “misinformation” relating to the Johnson & Johnson vaccine pause, and asking Facebook to

  provide a detailed report to the White House within 24 hours of how it was doing so: “More

  broadly: we share [Facebook’s] concern about knock-on effects and are curious to get a read from

  your CMU data about what you're seeing and with whom. Moreover, I want to make sure you

  have eyes on what might be spinning off the back end of this     that the news about J&J doesn t

  spin off misinformation. Would be great to get a       hour report-back on what behavior you re

  seeing.” Id. at 31 (emphasis added).

         86.     The same day, April 13, 2021, Facebook responded with a detailed report on

  misinformation on its platforms about this issue. Doc. 174-1, at 24-30. Facebook noted that there

  was an oral meeting about misinformation with the White House scheduled the next day: “I'm

  looking forward to the meeting tomorrow [i.e., Wednesday, April 14] and hoping we can spend

  some time responding to Rob's feedback from last week as well as further discussing the J&J news

  and how we can hopefully partner together.” Id. at 24.

         87.     Facebook also noted that it had recently had a telephone call with Courtney Rowe

  about how it was censoring misinformation, and had agreed to provide a detailed report on its

  relevant censorship enforcement policies: “Courtney – as we discussed, we also wanted to send

  over some examples of content we see on our platform that we remove (misinformation & harm)

  as well as content we take other actions on, but do not remove (vaccine hesitancy). I have included

  some examples at the bottom of this email and happy to setup time to talk through this more with

  you as well, if helpful.” Id. at 24. Facebook then provided a six-page report on censorship with

  explanations and screen shots of sample posts of content that it censors and does not censor. Id.

  at 24-30.




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         88.     First, Facebook responded to Flaherty’s request for government-message-

  amplification by agreeing to cooperate with the White House on those demands. Id. at 24.

  Regarding Flaherty’s demand that Facebook monitor and report on “misinformation” related to

  the Johnson & Johnson vaccine pause, Facebook agreed to both monitor and report to the White

  House: “We will look to get you insights as soon as we have them. We are going to be watching

  to see how this plays out over the next couple of days. [A Facebook official] is joining [the call]

  tomorrow and plans to share a couple things we are seeing emerge from the CMU survey and what

  we are going to be watching over the next few days. Also, we are proactively monitoring and

  seeing what themes emerge from content on-platform and happy to share out when we have stuff

  collected.” Id. at 24-25.

         89.     Facebook then provided a detailed report to Courtney Rowe’s request for specific

  examples of posts that are censored on its platforms. First, as to “VACCINE HESITANCY”

  content, Facebook explained that this content does not violate Facebook’s content-moderation

  policies, but Facebook assured the White House that Facebook still censors such non-violative

  content by suppressing it in news feeds and algorithms. Id. at 25. Facebook admitted that such

  content is often “true” and sometimes involves core political speech or advocacy (e.g., “discussing

  choice to vaccinate in terms of personal and civil liberties”): “The following examples of content

  are those that do not violate our Misinformation and Harm policy, but may contribute to vaccine

  hesitancy or present a barrier to vaccination. This includes, for example, content that contains

  sensational or alarmist vaccine misrepresentation, disparaging others based on the choice to or to

  not vaccinate, true but shocking claims or personal anecdotes, or discussing the choice to

  vaccinate in terms of personal and civil liberties or concerns related to mistrust in institutions or

  individuals.” Id. at 25 (emphases added).




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         90.     Facebook assured the White House that it censors such true, political, non-violative

  content through “a spectrum of levers” that includes concealing the content from other users,

  deboosting the content, and preventing sharing through “friction”: “We utilize a spectrum of levers

  for this kind of content…. Actions may include reducing the posts’ distribution, not suggesting the

  posts to users, limiting their discoverability in Search, and applying Inform Labels and/or reshare

  friction to the posts.” Id. Facebook then provided the White House with a series of sample posts,

  all of which content originated from Children’s Health Defense, the anti-vaccine organization

  headed by Robert F. Kennedy Jr. (who would soon be identified as one of the so-called

  “Disinformation Dozen”). Id. at 25-27.

         91.     Next, under the heading “Examples of Content Removed for Violating our

  Misinformation & Harm Policy,” Facebook provided the White House with “examples of posts

  we have removed for violation of our Misinformation & Harm Policy.” Id. at 27. Facebook then

  provided a list of screen shots of posts it had removed from the platform entirely, again all of which

  originated from Children’s Health Defense, Robert F. Kennedy Jr.’s group. Id. at 28-30.

         92.     As noted below, Facebook’s explanation that it was removing violative posts by

  Children’s Health Defense and censoring even its posts that did not violate Facebook’s policies

  turned out to be not nearly enough to satisfy the White House.

         93.     Separately from Flaherty’s demands about Tucker Carlson, on April 14, 2021,

  Andy Slavitt also emailed a high-level Facebook executive—Facebook’s President of Global

  Affairs, former Deputy Prime Minister of the United Kingdom Nick Clegg—with a sarcastic

  message expressing the White House’s displeasure both with Facebook’s failure to censor Tucker

  Carlson and with Facebook’s perceived failure to allow the White House to micromanage its

  censorship policies: “Number one of Facebook. Sigh. Big reveal call with FB and WH today. No




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  progress since we spoke. Sigh.” Doc. 174-1, at 35. Clegg promptly responded to Slavitt with an

  apology and promise to immediately address the censorship of Tucker Carlson: “OK – sorry to

  hear about call today, will dig in now.” Id. The subject line of Slavitt’s email, reproduced in the

  “Re:” line of later messages, was “Tucker Carlson anti-vax message.” Id. at 34.

         94.     Late evening of the same day, April 14, 2021, at 10:51 p.m., Nick Clegg provided

  Slavitt with a detailed report about the Tucker Carlson post, explaining that Tucker Carlson’s

  content did not violate Facebook policies (due to the federal government’s own information about

  its accuracy) but assuring the White House that Facebook would censor it anyway. Id. at 34. Clegg

  denied that Carlson’s content was the top post on Facebook, but then stated, “Regardless of

  popularity, the Tucker Carlson video does not qualify for removal under our policies. Following

  the government's decision yesterday, we are allowing claims that the Johnson and Johnson vaccine

  causes blood clots…. That said, the video is being labeled with a pointer to authoritative COVID

  information, it's not being recommended to people, and it is being demoted.” Id. at 34.

         95.     Clegg also stated that Facebook was “v[ery] keen” to provide a more detailed report

  on its censorship practices in response to White House demands: “I’m v keen that we follow up as

  we'd agreed, and I can assure you the teams here are on it.” Id.

         96.     Brian Rice of Facebook then forwarded the same report on the Tucker Carlson post

  to Rob Flaherty. Id. (“Making sure you receive--”).

         97.     Less than twenty minutes later, at 11:29 p.m. on April 14, 2021, Flaherty responded

  to Rice with a sarcastic response badgering Facebook for a more detailed explanation of why it

  had not removed Tucker Carlson’s content outright, demanding greater censorship, and accusing

  Facebook of causing an “insurrection” by not censoring enough speech on its platforms: “I guess

  this is a good example of your rules in practice then – and a chance to dive in on questions as




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  they're applied. How was this [i.e. Tucker Carlson’ post] not violative? The second half of the

  segment is raising conspiracy theories about the government hiding that all vaccines aren't

  effective. It's not about just J&J. What exactly is the rule for removal vs demoting? Moreover: you

  say reduced and demoted. What does that mean? There's 40,000 shares on the video. Who is seeing

  it now? How many? How effective is that? And we've gone a million rounds on this in other

  contexts so pardon what may seem like deja vu – but on what basis is ‘visit the covid-19

  information center for vaccine resources’ the best thing to tag to a video that says the vaccine

  doesn't work?” Doc. 174-1, at 33. Flaherty concluded ominously by reiterating his accusation

  that Facebook had caused the January 6 riot by not censoring enough speech on its platforms: “Not

  for nothing but last time we did this dance, it ended in an insurrection.” Id. at 34.

         98.     Six minutes later, at 11:35 p.m. on April 14, Flaherty followed up with another

  email accusing Facebook of providing incorrect information through CrowdTangle and demanding

  an explanation: “And sorry – if this was not one of the most popular posts about the vaccine on

  Facebook today, then what good is crowdtangle? [A Facebook official] said that Tomis [i.e., Tomi

  Lahren’s] video was the most popular yesterday based on your data, which reflected what CT [i.e.,

  CrowdTangle] was showing. Tuckers video was top on CT today. What is different about this

  video, then?” Id. at 33.

         99.     On Friday, April 16, Flaherty then sent an email expressing his displeasure with the

  timing of Facebook’s response and demanding immediate answers, snapping at Rice: “These

  questions weren’t rhetorical.” Id. at 33. Facebook apologized and promised an immediate

  response: “Hey Rob – understood and sorry for the delay. The team has been heads-down since

  our conversation to produce the report we discussed on Wednesday afternoon. We are aiming to




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  get you something tonight ahead of the weekend.” Id. Facebook then proposed another oral

  meeting: “schedule a call to discuss. Would that work?” Id.

         100.    On Tuesday, April 21, 2021, Facebook sent an additional response to the same

  email chain, indicating that there had been a phone call with Flaherty (“thanks for catching up

  earlier”) and providing another, more detailed report on its censorship of Tucker Carlson in

  response to each of Flaherty’s queries question-by-question. Id. at 36. Facebook again reported

  that Tucker Carlson’s content had not violated its policies, stating that “we reviewed this content

  in detail and it does not violate those policies,” but reported that Facebook had been censoring it

  anyway and would continue to censor it even though no fact-check had reported it false: “The

  video received 50% demotion for seven days while in the queue to be fact checked, and will

  continue to be demoted even though it was not ultimately fact checked.” Id. (emphasis added).

  These circumstances raise a compelling inference that Facebook continued to demote Tucker

  Carlson’ content, in violation of its own policies and practices, due to the White House’s pressure.

         101.    In the same time frame, the White House was exerting similar pressure on other

  major social-media platforms. It had meetings with YouTube and Twitter about misinformation

  on April 21, 2021 as well.

         102.    On April 21, Rob Flaherty, Andy Slavitt, and Kelsey Fitzpatrick of the White

  House, along with an official at HHS, participated in a meeting with several Twitter officials. Doc.

  71-7, at 86. The meeting’s subject was “Twitter Vaccine Misinfo Briefing.” Id. The meeting

  invite noted: “White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover

  trends seen generally around vaccine misinformation, the tangible effects seen from recent policy

  changes, what interventions are currently being implemented in addition to previous policy




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  changes, and ways the White House (and our COVID experts) can partner in product work.” Id.

  (emphases added).

         103.    The next day, April 22, Twitter employees noted in internal communications that

  the White House officials, during this meeting, had posed “one really tough question about why

  Alex Berenson hasn’t been kicked off the platform.” Jones Decl., Ex. J, at 2-3. The Twitter

  employee noted that the White House’s questions were “pointed” and “mercifully we had

  answers.” Id. Another internal Twitter communication noted that the White House “really wanted

  to know about Alex Berenson. Andy Slavitt suggested they had seen data viz that had showed he

  was the epicenter of disinfo that radiated outwards to the persuadable public.” Id.

         104.    Later, on July 16, 2021, Twitter suspended Alex Berenson for the first time. Id.

  On August 28, 2021, Twitter permanently deplatformed Berenson. Id.

         105.    On April 21, 2021, Flaherty, Andy Slavitt, Kelsey Fitzpatrick of the White House,

  and Jessica Scruggs of HHS had a similar meeting with YouTube, to which at least six YouTube

  officials were invited. Jones Decl., Ex. K, at 1. The calendar invite stated that the purpose of the

  meeting was: “White House staff to get briefed by YouTube on general trends seen around vaccine

  misinformation. As well as, the empirical effects of YouTube’s efforts to combat misinfo, what

  interventions YouTube is currently trying, and ways the White House (and or COVID experts) can

  partner in product work.” Id.

         106.    Just after midnight on April 22, 2021, Rob Flaherty emailed a list of Google

  officials about YouTube, copying Andy Slavitt, Clarke Humphrey, and Kelsey Fitzpatrick of the

  White House. Doc. 174-1, at 39. He began by referring to the oral meeting with Google/YouTube

  officials on April 21: “Thanks again for the conversation today.” Id. Flaherty also referred to an

  earlier, “first conversation,” indicating that there had been multiple meetings with YouTube. Id.




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         107.    Flaherty then noted that the White House had asked YouTube (like Facebook) to

  monitor and report on the speech on its platforms, stating that the White House expected a report

  from them: “We'll look out for the top trends that you've seen in terms of misinformation around

  the vaccine.” Id.

         108.    Flaherty then provided a “recap” of their oral conversation, stating that concern

  about misinformation on YouTube was “shared at the highest (and I mean highest) levels of the

  [White House]”: “To recap: … we remain concerned that Youtube is ‘funneling’ people into

  hesitance and intensifying people's hesitancy…. we want to be sure that you have a handle on

  vaccine hesitancy generally and are working toward making the problem better. This is a concern

  that is shared at the highest and I mean highest levels of the WH, so we'd like to continue a good-

  faith dialogue about what is going on under the hood here. I'm the on the hook for reporting out.”

  Id. (emphasis added).

         109.    Citing an article “highlighting the Youtube misinformation that is spreading

  through the Vietnamese community,” Flaherty stated: “Clearly, more work to be done here. Would

  love to get some insights from you on how you are tackling this problem across all languages.”

  Id.

         110.    Flaherty then stated, “A couple of other things it would be good to have from you

  all,” and provided a five-bullet list of detailed demands for YouTube’s internal data about the

  spread of misinformation on its platform, including: “the top trends that you're seeing in terms of

  misinformation/hesitance inducing content,” and “[a] deeper dive on reduction and its

  effectiveness,” among others. Id.

         111.    Flaherty indicated that the White House was coordinating with the Stanford Internet

  Observatory, which was then operating the Virality Project, discussed in detail below, noting in




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  the first bullet point: “Stanford has mentioned that it's recently Vaccine Passports and J&J pause-

  related stuff, but I'm not sure if that reflects what you' re seeing.” Id. This reference raises the

  inference that the White House’s “COVID experts” (“our COVID experts”) mentioned in the

  calendar invite for the meeting, Jones Decl., Ex. K, at 1, are, in fact, “Stanford” personnel

  associated with the Virality Project, and that the White House was working with “Stanford” to

  “partner with” platforms “on product work.”

         112.    As with Facebook, many of Flaherty’s demands related to so-called “borderline”

  content, i.e., often-truthful content that does not violate platform policies but that the White House

  disfavors. See Doc. 174-1, at 39. Among other things, he praised YouTube for reducing

  distribution of such content: “I believe you said you reduced watch time by 70% on ‘borderline’

  content, which is impressive.” Id. But then, again, he followed up with a long series of demands

  for more information: “How does that track with vaccine-related content specifically…? What has

  the comparative reduction in watch time on ‘borderline’ vaccine topics been after your

  interventions? And what has the increase in watch time been on authoritative information?...

  Related to the second bullet: to what extent have your ranking interventions been effective there?

  And, perhaps more critically, to what degree is content from people who have been given a ‘strike’

  still being recommended and shown in prominent search positions? … [H]ow did you arrive on

  info-panels as the best intervention? And to what extent are people clicking through after exposure

  to vaccine-hesitant content? … What are the general vectors by which people see the ‘borderline’

  content – or really just vaccine-skeptical content? Is it largely through recommendations? Search?”

  Id. Notably, Flaherty’s “most critical[]” question implied that YouTube should be censoring more

  content from disfavored speakers, i.e., those who have been given a “strike” for previous anti-

  vaccine content. Id.




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          113.    Flaherty emphasized that the White House wanted to make sure YouTube’s “work

  extends to the broader problem” of people viewing vaccine-hesitant content. Id. at 39-40. And he

  proposed regular meetings to push YouTube to disclose its “internal data” to the White House:

  “We've worked with a number of platform partners to track down similar information based on

  internal data, including partners of similar scale. I am feeling a bit like I don't have a full sense of

  the picture here. We speak with other platforms on a semi-regular basis. We'd love to get in this

  habit with you. Perhaps bi-weekly? Looking forward to more conversation.” Id. at 40.

          114.    On April 23, 2021, Flaherty sent Facebook an email that included a document

  entitled “Facebook COVID-19 Vaccine Misinformation Brief” prepared by an unidentified third

  party. Jones Decl., Ex. L, at 1. The “Brief” had two major headings with several bullet points

  under each: “Facebook plays a major role in the spread of COVID vaccine misinformation,” and

  “Facebook’s policy and enforcement gaps enable misinformation’s spread.” Id. The “Brief”

  recommended much more aggressive censorship of Facebook’s platforms, calling for

  “progressively severe penalties … and comprehensive enforcement for pages, accounts, and

  groups that repeatedly post COVID vaccine misinformation,” and stating that “[b]ans for COVID-

  19 misinformation should be cross-platform and enforced at the entity-level, not the account level.”

  Id. It called for Facebook to stop distributing even non-violative anti-vaccine content “in News

  Feed or in group recommendations” to “significantly reduce the reach of low-quality domains,”

  and it stated that “[v]accine misinformation monitoring and enforcement must adjust as

  disinformers evade enforcement….” Id. at 1-2. And it called for specific censorship of disfavored

  speakers: “Warning screens before linking to domains known to promote vaccine misinformation

  would dissuade users from following links to of-platform misinformation and hurt the vaccine-

  misinformation business model Facebook enables.” Id. at 2.




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         115.    Reproducing this pro-censorship “Brief” in the text of his email to Facebook,

  Flaherty wrote: “Here’s the crux of their recs. Don’t read this as White House endorsement of

  these suggestions (or, also, as the upper bound of what our thoughts may be). But – spirit of

  transparency – this is circulating around the building and informing thinking.” Id. at 1.

         116.    On May 1, 2021, Nick Clegg of Facebook sent an email to Andy Slavitt indicating

  that the White House had recently met with Facebook to “share research work” and make more

  demands, stating: “Thanks to your team for sharing the research work with us….” Id. at 41. At

  the beginning of the email, Clegg apologized to the White House for not catching and censoring

  three pieces of vaccine content that went viral, even though the content did not violate Facebook’s

  policies, and promising to censor such non-violative content more aggressively in the future: “I

  wanted to send you a quick note on the three pieces of vaccine content that were seen by a high

  number of people before we demoted them. Although they don't violate our community standards,

  we should have demoted them before they went viral and this has exposed gaps in our operational

  and technical process.” Id. at 42.

         117.    Clegg then promised to be more vigilant and censor such non-violative content to

  prevent it from going viral in the future, and offered to report back to the White House in detail

  about its efforts to do so: “The teams have spent the last 24 hrs analysing these gaps and are making

  a number of changes starting next week, including setting up more dedicated monitoring for Covid

  vaccine content on the cusp of going viral, applying stronger demotions to a broader set of content,

  and setting up daily review and analysis so that we have a better real-time view of what is being

  seen by lots of people. I will be checking on this closely to make sure that these additional steps

  show results - the stronger demotions in particular should deliver real impact. Please let me know

  if you'd like to discuss any of this in more detail.” Id.




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         118.    Clegg then listed in bold the demands that the White House had made in its recent

  meeting, with a detailed response to each. Id. at 42. First, the White House had demanded that

  Facebook address “Non-English mis/disinformation circulating without moderation,” and

  Facebook promised to take steps to do so. Id. (bold in original).

         119.    Second, the White House had commanded Facebook: “Do not distribute or

  amplify vaccine hesitancy, and Facebook should end group recommendations for groups

  with a history of COVID-19 or vaccine misinformation.” Id. (bold in original). Facebook

  assured the White House that it was taking strong steps to censor such content, and promised to

  increase its efforts to do so in the future: “Much of the research you shared called on us to ensure

  that our systems don't amplify vaccine hesitancy content and this is top of mind for us. In addition

  to the changes I mentioned above, we have already removed all health groups from our

  recommendation feature on Facebook, and on Instagram we filter vaccine-related accounts from

  our ‘accounts you may follow feature’. We also remove accounts that may discourage vaccination

  from search features. We currently enforce on hash tags we know are shared to promote vaccine

  hesitancy content and are working to improve our automated systems here.” Id.

         120.    Third, the White House had demanded that Facebook “Monitor[] events that host

  anti-vaccine and COVID disinformation.” Id. (bold in original). Facebook promised to monitor

  social-media “events” on its platforms more closely and take more aggressive action to censor

  them: “we are working to improve automatic detection for events hosting anti-vaccine and COVID

  content. Our viral monitoring efforts will also help us detect events that are gaining views on

  Facebook, and we do remove events coordinating in-person gatherings that involve or encourage

  people who have COVID-19 to join.” Id.




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         121.    Fourth, the White House had demanded censorship of the so-called

  “Disinformation Dozen” in the private meeting with Facebook, raising the concern that “12

  accounts are responsible for 73% of vaccine misinformation.” Id. (bold in original). Facebook

  responded that it was scrutinizing those speakers and censoring them whenever it could, but that

  most if their content did not violate Facebook’s policies: “we continue to review accounts

  associated with the 12 individuals identified in the CCDH ‘Disinformation Dozen’ report, but

  many of those either do not violate our policies or have ceased posting violating content. Our

  ‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and pages that are

  dedicated to sharing vaccine discouraging content and we continue to review and enforce on these

  where we become aware of them.” Id.

         122.    Clegg then noted that he realized the White House would not be satisfied with these

  answers and was demanding greater censorship: “I realise that our position on this continues to be

  a particular concern for you.” Id. Clegg then suggested that too much censorship might be

  counterproductive and might drive vaccine hesitancy: “Among experts we have consulted, there

  is a general sense that deleting more expressions of vaccine hesitancy might be more

  counterproductive to the goal of vaccine uptake because it could prevent hesitant people from

  talking through their concerns and potentially reinforce the notion that there's a cover-up.” Id.

  Brian Rice also forwarded Nick Clegg’s email to Rob Flaherty. Id. at 41.

         B.      Public Pressure and Threats From Press Secretary Jennifer Psaki.

         123.    The White House was evidently quite unhappy with this response and the results of

  its pressure campaign behind closed doors. A few days later, the White House took its pressure

  campaign public. On May 5, 2021, Jen Psaki publicly reminded Facebook and the other platforms

  of the threat of legal consequences hanging over its head if it did not censor misinformation more




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  aggressively. At the May 5, 2021 White House Press Briefing, Jen Psaki stated about social-media

  censorship: “The President’s view is that the major platforms have a responsibility related to the

  health and safety of all Americans to stop amplifying untrustworthy content, disinformation, and

  misinformation, especially related to COVID-19, vaccinations, and elections. And we’ve seen that

  over the past several months, broadly speaking.” Glenn Decl. Ex. 29, at 15, Doc. 10-1, at 353.

         124.    Psaki also stated that President Biden “also supports better privacy protections and

  a robust anti-trust program. So his view is that there’s more that needs to be done to ensure that

  this type of misinformation; disinformation; damaging, sometimes life-threatening information is

  not going out to the American public.” Id. She thus linked the threat of a “robust anti-trust

  program” to the White House’s demand that “more … needs to be done” by “the major platforms”

  to prevent “misinformation” and “disinformation” from “going out to the American public,” i.e.,

  its demand for censorship. Id.

         125.    The next day, May 6, 2021, Flaherty privately responded to Facebook’s most recent

  email, badgering Facebook again for more explanations about why it was not censoring more

  aggressively. Regarding Nick Clegg’s apology for not catching and censoring three viral posts

  earlier, Flaherty linked to one and noted: “For one, it's still up and seems to have gotten pretty far.

  And it's got 365k shares with four comments. We've talked about this in a different context, but

  how does something like that happen? The top post, the one from the Wisconsin news station, has

  2.1 million comments.” Doc. 174-1, at 41.

         126.    Flaherty also demanded more information about Facebook’s efforts to demote

  “borderline” content: “Won't come as a shock to you that we're particularly interested in your

  demotion efforts, which I don't think we have a good handle on (and, based on the below, it doesn't




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  seem like you do either). Not to sound like a broken record, but how much content is being

  demoted, and how effective are you at mitigating reach, and how quickly?” Id.

          127.   Flaherty then criticized Facebook’s censorship efforts for vaccine-related posts in

  Facebook groups related to other topics: “Also, health groups: sure. But it seems more likely that

  anti-vax stuff is moving in groups that are not about health but are ... mom centric, or other spaces.

  Strikes me as the issue here is less from single-use anti-vaccine accounts and more about people

  who ... do other things and are also vaccine hesitant.” Id. (ellipses in original).

          128.   Flaherty tied this criticism to his criticism of Facebook’s failure to censor the

  “Disinformation Dozen”: “Seems like your ‘dedicated vaccine hesitancy’ policy isn't stopping the

  disinfo dozen - they're being deemed as not dedicated – so it feels like that problem likely carries

  over to groups.” Id.

          129.   On May 10, 2021, Facebook sent an email to Rob Flaherty and Courtney Rowe of

  the White House digital team, touting its efforts to promote vaccination on its platforms. Doc.

  174-1, at 46. Among other things, Facebook reported that “Since January, we've provided more

  than $30 million in ad credits to help governments, NGOs and other organizations reach people

  with COVID-19 vaccine information and other important messages.” Id.

          130.   The next day, May 11, 2021, Flaherty responded with a one-line, snarky email

  stating: “Hard to take any of this seriously when you're actively promoting anti-vaccine pages in

  search.” Id. He included a link to a news report about this topic on Twitter. Id.

          131.   The next day, May 12, 2021, Facebook responded, assuring Flaherty that it had

  censored the accounts mentioned in the news reports: “Thanks Rob - both of the accounts featured

  in the tweet have been removed from Instagram entirely…. We're looking into what happened.”

  Id. at 45.




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         132.    Facebook then assured Flaherty it was working on processes to suppress disfavored

  speech from search results on its platforms and remove anti-vaccine accounts: “We are continuing

  to develop technology to improve the quality of search results at scale across Instagram - this is a

  continual process built on new technology to address adversarial accounts…. We also remove

  accounts that may discourage vaccination from search by developing and using this new

  technology to find accounts on Instagram that discourage vaccines, and remove these accounts

  from search altogether. We've also removed accounts that primarily discourage vaccination from

  appearing where we recommend new accounts to follow, such as accounts you may like, and

  suggested accounts.” Id.

         133.    Facebook acknowledged that its censorship efforts were not enough and promised

  the White House they would increase them: “We clearly still have work to do to [sic], but wanted

  to ensure you were aware of the authoritative resources we're pointing people to first as we

  continue investing in removing accounts from search that may discourage vaccination.” Id.

         134.    The same day, May 12, 2021, Flaherty responded sarcastically, indicating that

  promoting pro-vaccine speech was not enough for the White House, which demanded the removal

  or deboosting of anti-vaccine speech: “Sure. They're first connected to authoritative information,

  but then you, as of last night, were presenting an anti-vaccine account with less than 1000 followers

  alongside, at level, with those pinned accounts!” Id. at 45.

         135.    Flaherty then accused Facebook of not doing enough to censor anti-vaccine content

  in search results and dissembling to deceive the White House: “‘[R]emoving bad information from

  search’ is one of the easy, low-bar things you guys do to make people like me think you're taking

  action. If you're not getting that right, it raises even more questions about the higher bar stuff.”

  Id. at 45. Flaherty continued, accusing Facebook of dishonesty: “You say in your note that you




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  remove accounts that discourage vaccination from appearing in recommendations (even though

  you're using ‘primarily’ to give yourself wiggle room). You also said you don't promote those

  accounts in search. Not sure what else there is to say.” Id.

         136.    Flaherty then compared Facebook unfavorably to other platforms to pressure them

  to suppress anti-vaccine content in search results: “Youtube, for their warts, has done pretty well

  at promoting authoritative info in search results while keeping the bad stuff off of those surfaces.

  Pinterest doesn't even show you any results other than official information when you search for

  ‘vaccines.’ I don't know why you guys can't figure this out.” Id.

         137.    On May 28, 2021, a senior executive of Meta sent an email to Slavitt and Murthy

  reporting that Facebook had expanded its censorship policies, evidently to satisfy federal officials’

  demands made at a recent oral meeting. The email stated that a “key point” was that “We’re

  expanding penalties for individual Facebook accounts that share misinformation.” Doc. 71-4, at

  9.

         C. Flaherty’s Profane Attack: “Are You Guys F**king Serious?”

         138.    At some time prior to July 15, 2021, the White House’s Facebook account

  experienced an issue that slowed its growth in followers. Doc. 174-1, at 56. On July 15, 2021,

  Facebook emailed a White House staffer and reported that “the technical issues that had been

  affecting follower growth on @potus have been resolved…. you should start to see your numbers

  trend back upwards…. Thanks for your patience as we investigated this.” Id. The White House

  staffer asked Facebook, “Could you tell me more about the technical issues affecting audience

  growth?” Id. at 55. Facebook responded, “from what we understand it was an internal technical

  issue that we can't get into, but it's now resolved and should not happen again.” Id. The White

  House staffer then simply added Rob Flaherty to the email chain without further comment. Id.




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         139.    The same minute he was added to the email chain, 3:29 p.m. on July 15, 2021,

  Flaherty exploded at Facebook: “Are you guys fucking serious? I want an answer on what

  happened here and I want it today.” Id. at 55.

         140.    Facebook immediately raced to placate Flaherty, assuring him that the problem was

  from a “bug in our recommendation surface” that had been resolved two months earlier. Id. at 55.

  Facebook followed up with a longer explanation stating that the President’s account had been

  affected because Facebook “take[s] aggressive steps to reduce the spread of vaccine hesitancy and

  vaccine misinformation on our platforms and we deploy technology to do so. As part of our efforts

  on Instagram, we have measures to help ensure we don't recommend people follow accounts that

  promote vaccine hesitancy at scale. For two weeks in April (April 14-28) this measure was

  impacted by over-enforcement on a signal we used ….” Id. at 54. In other words, the White

  House’s Instagram account had been inadvertently swept into the net of censorship that it had

  insisted that Facebook impose on private speakers’ accounts. Evidently the White House is not

  amused when its own accounts are subject to the same treatment that it demands the platforms

  impose on thousands of ordinary Americans whose viewpoint the White House disfavors.

         D.      President Biden on Social-Media Platforms: “They’re Killing People.”

         141.    That same day, July 15, 2021, the White House held a joint press conference with

  Jen Psaki and Surgeon General Murthy. Dr. Murthy participated in the White House press

  conference with White House Press Secretary Jennifer Psaki to announce the Surgeon General’s

  Health Advisory on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday,

  he published an advisory on health misinformation as an urgent public health crisis.” Id. at 1.




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          142.    Among other things, Dr. Murthy stated that “Modern technology companies have

  enabled misinformation to poison our information environment with little accountability to their

  users.” Id. at 2.

          143.    Dr. Murthy announced: “we expect more from our technology companies. We’re

  asking them to operate with greater transparency and accountability. We’re asking them to monitor

  misinformation more closely. We’re asking them to consistently take action against

  misinformation super-spreaders on their platforms.” Id. at 3.

          144.    At the July 15 press conference, Dr. Murthy also demanded that the platforms do

  “much, much more” and “take aggressive action” against misinformation. Waldo Ex. 10, at 5.

          145.    Dr. Murthy also stated that platforms “have to do more to reduce the

  misinformation that’s out there ….” Id. at 6.

          146.    At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in

  regular touch with these social media platforms, and those engagements typically happen through

  members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

          147.    Psaki stated: “We’ve increased disinformation research and tracking within the

  Surgeon General’s office. We’re flagging problematic posts for Facebook that spread

  disinformation.” Id. at 10.

          148.    Regarding the Administration’s “asks” to social-media platforms, Psaki stated:

  “There are also proposed changes that we have made to social media platforms, including

  Facebook, and those specifically are four key steps: One, that they measure and publicly share the

  impact of misinformation on their platform. Facebook should provide, publicly and transparently,

  data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the

  reach of the misinformation and the audience that it’s reaching.” Id. at 11.




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         149.    Psaki also stated: “Second, that we have recommended — proposed that they create

  a robust enforcement strategy that bridges their properties and provides transparency about the

  rules. So, about — I think this was a question asked before — there’s about 12 people who are

  producing 65 percent of anti-vaccine misinformation on social media platforms. All of them

  remain active on Facebook, despite some even being banned on other platforms, including

  Facebook — ones that Facebook owns.” Waldo Ex. 10, at 11.

         150.    Psaki stated: “Third, it’s important to take faster action against harmful posts. As

  you all know, information travels quite quickly on social media platforms; sometimes it’s not

  accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts

  that will be within their policies for removal often remain up for days. That’s too long. The

  information spreads too quickly.” Id. at 11.

         151.    And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they

  promote quality information sources in their feed algorithm. Facebook has repeatedly shown that

  they have the levers to promote quality information. We’ve seen them effectively do this in their

  algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s

  certainly an area that would have an impact.” Waldo Ex. 10, at 11.

         152.    Psaki concluded: “So, these are certainly the proposals. We engage with them

  regularly and they certainly understand what our asks are.” Id. at 11.

         153.    The next day, July 16, 2021, President Biden stated of Facebook and other

  platforms that “they’re killing people” by failing to censor enough misinformation: “Mr. Biden

  was asked what his message was to social media platforms when it came to Covid-19

  disinformation. ‘They’re killing people,’ he said. ‘Look, the only pandemic we have is among the




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  unvaccinated, and that — and they’re killing people.’” Glenn Decl. Ex. 33, at 1; Doc. 10-1, at

  436.

            154.   President Biden’s statement came after “weeks” of pressuring Facebook to give

  federal officials access to Facebook’s internal data: “White House officials … singled out social

  media companies for allowing false information to proliferate. That came after weeks of failed

  attempts to get Facebook to turn over information detailing what mechanisms were in place to

  combat misinformation about the vaccine, according to a person familiar with the matter.” Id.

            155.   Surgeon General Murthy had been directly involved in those meetings with

  Facebook, including “tense” meetings and a meeting where he “angrily” demanded that Facebook

  do more to censor misinformation. Id. at 437.

            156.   When the President stated, “They’re killing people,” Psaki reinforced the same

  message: “‘Our point is that there is information that is leading to people not taking the vaccine,

  and people are dying as a result,’ Jen Psaki, the White House press secretary, said before Mr. Biden

  made his comments. ‘And we have responsibility as a public health matter to raise that issue.’” Id.

  at 436.

            157.   That same day, July 16, 2021, at a White House press conference, Psaki stated that

  “we’re in regular touch with social media platforms … about areas where we have concern. …

  [W]e are … regularly making sure social media platforms are aware of the latest narratives

  dangerous to public health that we and many other Americans seeing — are seeing across all of

  social and traditional media.     And we work to engage with them to better understand the

  enforcement of social media platform policies.” Glenn Decl. Ex. 34, at 6; Doc. 10-1, at 444.

            158.   Psaki then described a “false narrative that remains active … flowing on the

  internet quite a bit, in other places as well,” and stated, “we want to know that the social media




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  platforms are taking steps to address it. That is inaccurate, false information… And that is an

  example of the kind of information that we are flagging or raising.” Glenn Decl. Ex. 34, at 7; Doc.

  10-1, at 445.

         159.     Psaki also demanded additional “steps” “for Facebook or other platforms,”

  including “to measure and publicly share the impact of misinformation on their platform and the

  audience it’s reaching, also with the public.” Id.

         160.      She called on the platforms “to create robust enforcement strategies that bridge

  their properties and provide transparency about rules.” Id. She stated that platforms should

  coordinate on censoring disfavored speakers: “You shouldn’t be banned from one platform and

  not others if you — for providing misinformation out there.” Id.

         161.     Psaki also stated that the platforms should be “[t]aking faster action against harmful

  posts. As you all know, information travels quite quickly. If it’s up there for days and days and

  days when people see it, you know, there’s — it’s hard to put that back in a box.” Glenn Decl.

  Ex. 34, at 8; Doc. 10-1, at 446.

         162.     Psaki was asked whether the censorship Facebook was already doing, which

  included “remov[ing] 18 million pieces of COVID misinformation” and “connect[ing] more than

  2 billion people to reliable information,” was “sufficient,” and she responded, “Clearly not,

  because we’re talking about additional steps that should be taken.” Id.

         163.     “[A] few hours after Biden’s comment” that social-media platforms are “killing

  people” by not censoring misinformation, “Twitter suspended [Alex Berenson’s] account for the

  first time.” Jones Decl., Ex. J, at 3. Later, on August 28, 2021, Twitter permanently deplatformed

  Berenson. Id.




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         164.    Four days later, July 20, 2021, the White House explicitly threatened to amend or

  repeal the liability protections of § 230 of the Communications Decency Act if social-media

  companies did not increase censorship of disfavored speakers and viewpoints. Glenn Decl. Ex.

  35; Doc. 10-1, at 474-75 -    They Should Be Held Accountable’ White House Reviews Platforms’

  Misinformation         Liability,      USA       TODAY         (July     20,       2021),       at

  https://www.usatoday.com/story/news/politics/2021/07/20/white-house-reviews-section-230-

  protections-covid-misinformation/8024210002/.         The White House communications director,

  Kate Bedingfield, announced that “[t]he White House is assessing whether social media platforms

  are legally liable for misinformation spread on their platforms.” Id. “We’re reviewing that, and

  certainly, they should be held accountable,” she said. Id.

         165.    The White House communications director “specified the White House is

  examining how misinformation fits into the liability protections granted by Section 230 of the

  Communications Decency Act, which shields online platforms from being responsible for what is

  posted by third parties on their sites.” Id.

         166.    Media reported that, in connection with this threat, “Relations are tense between

  the Biden administration and social media platforms, specifically Facebook, over the spread of

  misinformation online.” Id.; see also, e.g., Glenn Decl. Ex. 36; Doc. 10-1, at 477-81: White House

  says social media networks should be held accountable for spreading misinformation, CNBC.com

  (July 20, 2021), at https://www.cnbc.com/2021/07/20/white-house-social-networks-should-be-

  held-accountable-for-spreading-misinfo.html.

         167.    When “asked … whether these companies should be held liable for publishing false

  information that causes people harm, Kate Bedingfield said the administration is reviewing

  policies. That could include amending the Communications Decency Act, or Section 230 of the




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  act. ‘We’re reviewing that and certainly they should be held accountable,’ Bedingfield said. ‘And

  I think you heard the president speak very aggressively about this. He understands that this is an

  important piece of the ecosystem.’” Id. at 478.

         168.    The same day, Tuesday, July 20, 2021, Clarke Humphrey of the White House

  communications office emailed Facebook asking for the removal of an Instagram account

  associated with Dr. Fauci, saying it “is not actually one of ours.” Fauci Ex. 57, at 1-2. Facebook

  responded one minute later, stating, “Yep, on it!” Fauci Ex. 57, at 1. The next day, Facebook

  responded again, stating, “This account has been removed. Thank you for flagging!” Id.

         E. The Social-Media Platforms Are Cowed into Collusion on Censorship.

         169.    The threats and public pressure on July 15 and 16—including the President’s

  comment, “they’re killing people”—got immediate results, as Facebook scrambled to assuage the

  White House’s wrath and accede to all its censorship demands.

         170.    After this series of public statements, responding to “White House pressure,”

  Facebook censored the accounts of the 12 specific disfavored speakers whom Psaki accused of

  spreading health misinformation. Glenn Decl. Ex. 37; Doc. 10-1, at 483-85: Facebook takes action

  against disinformation dozen’ after White House pressure, CNN.com (Aug. 18, 2021), at

  https://www.cnn.com/2021/08/18/tech/facebook-disinformation-dozen/index.html.            Psaki had

  “hammered the platform in July for allowing the people identified in the report to remain on its

  platform.” Id. at 483. After they were singled out for censorship by the White House, Facebook

  “removed over three dozen Pages, groups and Facebook or Instagram accounts linked to these 12

  people, including at least one linked to each of the 12 people, for violating our policies.” Id.




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         171.      Other platforms responded to the pressure as well, as Twitter suspended Alex

  Berenson within a few hours of President Biden’s July 16 comments and deplatformed him

  Berenson on August 28, 2021. Jones Decl., Ex. J, at 3.

         172.      On July 17, 2021, another Facebook official sent an email to Anita B. Dunn, the

  political strategist and Senior Advisor to the President in the White House, begging for assistance

  in getting back into the White House’s good graces. Doc. 174-1, at 49. The Facebook official,

  who evidently had a prior relationship with Dunn, wrote: “Would love to connect with you on the

  President's comments on Covid misinfo and our work there. Really could use your advice and

  counsel on how we get back to a good place here. … As I hope you know, we've been doing a

  significant amount of work to … fight the misinfo … Obviously, yesterday things were pretty

  heated, and I'd love to find a way to get back to pushing together on this - we are 100% on the

  same team here in fighting this and I could really use your advice.” Id. Dunn looped in Rob

  Flaherty to schedule a call. Id. at 48. Facebook then wrote: “Thanks Anita, and thanks Rob. I

  appreciate the willingness to discuss. We'd love to find a way to get things back to a productive

  conversation.”     Id.   Facebook also noted, with a similarly conciliatory tone: “We had a

  conversation with the Surgeon General's office yesterday to discuss the advisory in more detail

  and hope to continue to work to address concerns.” Id.

         173.      The next Monday, July 19, 2021, YouTube emailed Flaherty to announce “a few

  new ways in which we are making it easier for people to find authoritative information on health

  topics on YouTube.” Id. at 51-2. On July 20, 2021, Flaherty responded, linking to a Tweet of

  “borderline” content and stating, “I'm curious: Saw this tweet. [Linking the Tweet]. I think we

  had a pretty extensive back and forth about the degree to which you all are recommending anti-




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  vaccination content. You were pretty emphatic that you are not. This seems to indicate that you

  are. What is going on here?” Id. at 51.

          174.   YouTube responded by assuring Flaherty that it “reduce[s]” the recommendation

  of anti-vaccine speech even when it does not violate YouTube’s policies: “it is important to keep

  in mind that borderline content accounts for a fraction of 1% of what is watched on YouTube in

  the United States. We use machine learning to reduce the recommendations of this type of content,

  including potentially harmful misinformation. In January 2019, we announced changes to our

  recommendations systems to limit the spread of this type of content which resulted in a 70% drop

  in watchtime on non-subscribed recommended content in the U.S. and our goal is to have views

  of nonsubscribed, recommended borderline content below 0.5%.” Id. at 51.

          175.   This was not enough for Flaherty, who demanded more information: “I see that's

  your goal - what is the actual number right now?” Id. at 50. YouTube responded that it would

  check for more information, and stated: “Per our COVID-19 medical misinformation policy, we

  will remove any content that contradicts local health authorities’ or the World Health

  Organization's (WHO) medical information about COVID-19. To date, approximately 89% of

  videos removed for violations of this policy were removed with 100 views or less. With regards to

  the specific videos you referenced, the content was not in violation of our community guidelines.”

  Id. at 50.

          176.   Flaherty responded, expressing surprise that YouTube was not censoring the

  disfavored content: “So this actually gets at a good question - the content [that the Tweet] points

  out isn't defined as ‘borderline’ and therefore isn't subject to recommendation limitations?” Id.

          177.   YouTube, like Facebook before it, assured Flaherty that it would “limit the

  visibility” and “reduce the spread” such content, even though it does not violate YouTube’s




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  policies: “the content was not in violation of our policies and therefore not subject to removal. But

  for all content on YouTube, we apply our 4R framework we have previously described to raise

  authoritative voices while reducing visibility on borderline content. External evaluators use these

  guidelines which are then used to inform our machine learning systems that limits the spread of

  borderline content.” Id. at 50.

         178.    On October 28, 2021, the same day as a Washington Post article about Facebook

  employee Frances Haugen’s allegations about misinformation on Facebook, Rob Flaherty emailed

  Brian Rice of Facebook a hyperlink to the article. The only text in the email was the subject line,

  which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2; see also infra.

         179.    On November 4, 2021, Meta reported to Rowe, Flaherty, and other White House

  officials that “we updated our misinformation policies for COVID-19 vaccines to make clear that

  they apply to claims about children….” Doc. 71-3, at 15.

         180.    On November 30, 2021, Christian Tom of the White House emailed Twitter stating,

  “Would you mind looking at this video and helping us with next steps to put a label or remove it?”

  Doc. 174-1, at 65. He included a link to a Tweet of an unflattering, comedic video of First Lady

  Jill Biden reading to children, which had been clearly edited to make it sound as if she was

  profanely heckled while reading to them. Id. The subject line of the message was “Doctored video

  on Twitter of the First Lady.” Id. Twitter responded within six minutes: “Happy to escalate with

  the team for further review from here.” Id.

         181.    That evening, Twitter emailed back, stating, “Update for you - The team was able

  to create this event page for more context and details.” Id. at 64. The “event page” explained the

  context of the parody video but did not censor it; it alerted users that the video had been edited for

  “comedic” effect. See A video of first lady Jill Biden reading to children was manipulated to




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  include      profanity,   according     to    fact-checkers,    TWITTER       (Nov.     30,    2021),

  https://twitter.com/i/events/1465769009073123330.

            182.   Christian Tom promptly emailed back, asking that Twitter actually censor the

  comedic video, not just provide an event page explaining that it was comedic: “Will you apply the

  ‘Manipulated Media’ disclaimer to the video asset itself?” Doc. 174-1, at 64.

            183.   The next morning, December 1, 2021, Tom emailed Twitter again, arguing that

  Twitter should apply a label to the video under its content-moderation policies: “Just wanted to

  follow-up here. It looks like from the rubric that this fits the first two criteria, which means it is

  ‘likely’ to be labeled:” and linking Twitter’s “manipulated media” policy. Id. at 63-4.

            184.   Twitter wrote back the same morning, explaining that the comic, parody video of

  Jill Biden was not subject to labeling under its policy because it was not likely to cause harm, but

  noting again that Twitter had created a special page to explain that the video was edited: “After

  escalating this to our team, the Tweet and video referenced will not be labeled under our synthetic

  and manipulated media policy. Although it has been significantly altered, the team has not found

  it to cause harm or impact public safety. The team was able to create this Twitter Moment (here)

  and event page for more context and details.” Id. at 63.

            185.   The same day, Christian Tom emailed back, disputing Twitter’s interpretation of

  its own content-moderation policy and looping in Michael DeRosa, the First Lady’s press

  secretary. Id. Michael DeRosa then emailed as well, disputing and demanding information about

  Twitter’s application of its own policy. Id. at 62. Tom and DeRosa continued to press Twitter for

  further explanation and action on December 9, 13, and 17. Id. at 60-61. Twitter provided another,

  more detailed explanation of its decision on December 17. Id. at 59-60. Tom emailed back the




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  same day, again disputing Twitter’s application of its own policy and pressing Twitter again on

  the issue. Id. at 58-59. He added Rob Flaherty to the email chain for the first time. Id. at 58.

         186.    Nine minutes later, on December 17, 2021, Flaherty wrote to Twitter, angrily

  accusing Twitter of dishonestly misapplying its own policies: “New to the thread here, but this all

  reads to me like you all are bending over backwards to say that this isn't causing confusion on

  public issues. If the AP deems it confusing enough to write a fact check, and you deem it confusing

  enough to create an event for it, how on earth is it not confusing enough for it to at least have a

  label? Total Calvinball.” Id. at 58. (“Calvinball” refers to a game in the cartoon “Calvin and

  Hobbes” where the participants make up the rules of the game as they go along.)

         187.    A senior-level Twitter executive then emailed Flaherty proposing to resolve the

  matter by phone. Id. After that phone conversation, it appears that the Tweet that prompted the

  exchange      is       no   longer      available.        See   id.     at    65     (linking      to

  https://twitter.com/ArtValley818_/status/1465442266810486787?s=20, which is no longer

  available).

         F.      White House Pressure and Collusion Continue Throughout 2022.

         188.    During January 2022, Facebook reported to Rowe, Manning, Flaherty, and Slavitt

  that it has “labeled and demoted” “vaccine humor posts whose content could discourage

  vaccination.” It also reported to the White House that it “labeled and demoted” posts “suggesting

  natural immunity to COVID-19 infection is superior to immunity by the COVID-19 vaccine.”

  Doc. 71-3, at 10-11.

         189.    Twitter emailed back within an hour and offered to discuss, to which Flaherty

  responded: “Happy to talk through it but if your product is appending misinformation to our tweets

  that seems like a pretty fundamental issue.” Id.




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            190.   Separately, Jesse Lee of the White House emailed Twitter in response to the same

  report, accusing Twitter of “calling the President a liar” and offering to talk by phone to resolve

  the complaint: “this note is factually inaccurate. This is a very technical question but you don't

  have it right, and you are in effect calling the President a liar when his tweet is actually accurate.

  I'm happy to discuss this with whoever is the right person,” and providing his cell phone number.

  Id. at 69. Twitter then reached out by phone to resolve it. Id.

            191.   On September 18, 2021, regarding a story in the Wall Street Journal about COVID-

  19 “misinformation” circulating on Facebook, Flaherty demanded that Meta provide an

  explanation “as we have long asked for, [of] how big the problem is, what solutions you’re

  implementing, and how effective they’ve been.” Doc. 71-3, at 24.

            192.   On February 1, 2022, Psaki was asked at a White House press conference whether

  the Administration was satisfied with Spotify’s decision to affix advisory warnings to Joe Rogan’s

  immensely popular podcast, which featured speakers that contradicted the Administration’s

  messaging about COVID-19 and vaccines, or whether the government “think[s] that companies

  like Spotify should go further than just, you know, putting a label on” disfavored viewpoints and

  speakers. Psaki responded by demanding that Spotify and other platforms “do[] more” to block

  disfavored speech: “[O]ur hope is that all major tech platforms … be vigilant to ensure the

  American people have access to accurate information on something as significant as COVID-19….

  So, this disclaimer – it’s a positive step. But we want every platform to continue doing more to

  call out … mis- and disinformation while also uplifting accurate information.” Glenn Decl. Ex.

  38, at 15-16; Doc. 10-1, at 501-2 (emphasis added). She stated that Spotify’s advisory warnings

  are “a good step, it’s a positive step, but there’s more that can be done.” Id. at 502 (emphasis

  added).




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         193.    On April 25, 2022, Psaki was asked at a White House press briefing to respond to

  the news that Elon Musk would acquire Twitter, and asked “does the White House have any

  concern that this new agreement might have President Trump back on the platform?” Glenn Decl.

  Ex. 40; Doc. 10-1, at 528.

         194.    Psaki responded by reiterating the threats of adverse legal consequences to Twitter

  and other social media platforms, specifically referencing antitrust enforcement and Section 230

  repeal: “No matter who owns or runs Twitter, the President has long been concerned about the

  power of large social media platforms … [and] has long argued that tech platforms must be held

  accountable for the harms they cause. He has been a strong supporter of fundamental reforms to

  achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more

  transparency, and more. And he’s encouraged that there’s bipartisan interest in Congress.” Id. at

  528-29.

         195.    At the same press briefing, Psaki was asked: “Are you concerned about the kind of

  purveyors of election misinformation, disinformation, health falsehoods, sort of, having more of

  an opportunity to speak there on Twitter?” She responded by specifically linking the legal threats

  to the social-media platforms’ failure to more aggressively censor free speech: “I would say our

  concerns are not new. We’ve long talked about and the President has long talked about his

  concerns about the power of social media platforms, including Twitter and others, to spread

  misinformation, disinformation; the need for these platforms to be held accountable.” Id. at 534.

         196.    Psaki was then asked a question that noted that “the Surgeon General has said that

  misinformation about COVID amounts to a public health crisis,” and then queried, “would the

  White House be interested in working with Twitter like it has in the past to continue to combat this




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  kind of misinformation? Or are we in a different part of the pandemic where that kind of

  partnership is no longer necessary?” Id. at 549.

         197.    Psaki responded by reaffirming that senior officials within the White House and/or

  the Administration are continuing to coordinate directly with social-media platforms to censor

  disfavored speakers and content on social media, and directly linking these efforts to the repeated

  threat of adverse legal action: “we engage regularly with all social media platforms about steps

  that can be taken that has continued, and I’m sure it will continue. But there are also reforms that

  we think Congress could take and we would support taking, including reforming Section 230,

  enacting antitrust reforms, requiring more transparency. And the President is encouraged by the

  bipartisan support for — or engagement in those efforts.” Id.

         198.    On June 13, 2022, Flaherty demanded that Meta continue to produce periodic

  “COVID-19 insights reports” to track so-called “misinformation” regarding COVID-19 on Meta’s

  social-media platforms, expressing the specific concern that COVID vaccines for children under

  5 would soon be authorized. Doc. 71-3, at 6.

         199.    Meta got the message. It agreed to continue sending its censorship-tracking reports,

  and on June 22, 2022, Meta assured Flaherty that it was expanding its censorship of COVID-19

  “misinformation” to ensure that speech critical or skeptical of COVID-19 vaccines for children

  under 5 years old—a highly controversial topic—would be censored. Doc. 71-3, at 5.

         G.      Pressure to Expand the Topics of Social-Media Censorship.

         200.    Since this lawsuit was filed, Defendants have expanded their social-media

  censorship activities and pressured social-media platforms for censorship in new areas of online

  discourse, including areas such as climate change, gender, abortion, and economic policy.




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         201.    For example, on June 14, 2022, White House National Climate Advisor Gina

  McCarthy spoke at an Axios event titled “A conversation on battling misinformation.” Jones Decl.

  Ex. M, at 1.

         202.    During the event, “McCarthy skewered Big Tech companies for ‘allowing’

  disinformation and cheered Congress for ‘taking action’ to enact more censorship last Thursday.”

  Id. at 2. “Axios political reporter Alexi McCammond asked McCarthy how so-called ‘rampant

  mis-and-disinformation around climate change online and in other platforms’ has ‘made your job

  harder?’” Id. “McCarthy responded by slamming social media companies: ‘We have to get

  tighter, we have to get better at communicating, and frankly, the tech companies have to stop

  allowing specific individuals over and over again to spread disinformation.’” Id. (emphasis

  added). “She suggested further that ‘we have to be smarter than that and we need the tech

  companies to really jump in.’” Id. at 3 (emphasis added). “McCammond responded by asking:

  ‘Isn’t misinformation and disinfo around climate a threat to public health itself?’ McCarthy

  asserted that it ‘absolutely’ is: ‘Oh, absolutely.’” Id.

         203.    Like Psaki and others, McCarthy explicitly tied these demands for censorship of

  climate-change-related speech to threats of adverse legislation: “McCarthy also praised Congress

  directly for pushing social media companies to censor Americans: ‘We do see Congress taking

  action on these issues, we do see them trying to tackle the misinformation that’s out there, trying

  to hold companies accountable.’” Id. at 4.

         204.    On June 16, 2022, the White House announced a new task force to address, among

  other things, “gendered disinformation” and “disinformation campaigns targeting women and

  LGBTQI+ individuals who are public and political figures, government and civic leaders, activists,

  and journalists.” Jones Decl., Ex. N, at 1.




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          205.   The June 16 Memorandum decries “online harassment and abuse”—vague terms

  that, on information and belief, are deliberately adopted to sweep in constitutionally protected

  speech. Id. In particular, the Memorandum defines “online harassment and abuse” to include

  “gendered disinformation,” a deliberately broad and open-ended term. Id. § 1. The Memorandum

  announces plans to target such “gendered disinformation” directed at public officials and public

  figures, including “women and LGBTQI+ political leaders, public figures, activists, and

  journalists.” Id. The Memorandum creates a Task Force co-chaired by the Assistant to the

  President for National Security Affairs, which includes the Secretary of Defense, the Attorney

  General, and the Secretary of Homeland Security, among others. Id.

          206.   The Task Force is charged with “developing programs and policies to address …

  disinformation campaigns targeting women and LGBTQI+ individuals who are public and

  political figures, government and civic leaders, activists, and journalists in the United States and

  globally.” Id. § 4(a)(iv) (emphasis added). The Memorandum calls for the Task Force to consult

  and coordinate with “technology experts” and “industry stakeholders,” i.e., social-media firms, to

  achieve “the objectives of this memorandum,” id. § 4(b). Those “objectives,” of course, include

  suppressing so-called “disinformation campaigns” against “public and political figures.” Id.

  § 4(a)(iv).

          207.   The Memorandum again threatens social-media platforms with adverse legal

  consequences if they do not censor aggressively enough to suit federal officials: “the Task Force

  shall … submit periodic recommendations to the President on policies, regulatory actions, and

  legislation on technology sector accountability to address systemic harms to people affected by

  online harassment and abuse.” Id. § 5(c) (emphasis added).




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         208.    Relatedly, on May 27, 2022, HHS Assistant Secretary Rachel Levine demanded

  that social-media platforms censor “misinformation” about “gender-affirming care.” Jones Decl.,

  Ex. O, at 1. In a public address to health officials, Levine “spoke about the need for government

  to ‘address health information directly’ and specified that includes encouraging Big Tech to

  combat health misinformation ‘beyond COVID-19.’” Id. Levine stated: “So I’d like to just talk

  briefly about another area of substantial misinformation that is directly impacting health equity in

  our nation, and that is the health equity of sexual and gender minorities. There is substantial

  misinformation about gender-affirming care for transgender and gender diverse individuals… The

  positive value of gender-affirming care for youth and adults is not in scientific or medical dispute

  … And we need to use our clinicians’ voice to collectively advocate for our tech companies to

  create a healthier, cleaner information environment.” Id. at 1-2.

         209.    On July 8, 2022, the President signed an Executive Order on protecting access to

  abortion. Jones Decl., Ex. P, at 1.

         210.    Section 4(b)(iv) of the order states: “The Secretary of Health and Human Services

  shall, in consultation with the Attorney General and the Chair of the FTC, consider options to

  address deceptive or fraudulent practices related to reproductive healthcare services, including

  online, and to protect access to accurate information.” Id. This is a plain reference to the online

  advertising practices of pro-life pregnancy resources centers, which the President’s political allies

  were then attacking. Jones Decl., Ex. Q, at 1-2.

         211.    On August 11, 2022, Flaherty emailed Twitter to dispute a note added by Twitter

  to one of President Biden’s tweets. Doc. 174-1, at 68. The subject line of Flaherty’s email was a

  link to a Tweet criticizing Twitter’s note: “Joe Weisenthal on Twitter: ‘Wow, this note that twitter

  added to Biden's tweet is pure gibberish. Imagine adding this, and thinking this is helpful to the




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  public's understanding in any way.’” Id. Linking to a tweet about gas prices, Flaherty wrote:

  “Happy to connect you with some economists who can explain the basics to you guys.” Id.

  Flaherty copied Jesse Lee, Senior Advisor to the National Economic Council at the White House,

  on the email. Id.

  III.   The Pressure Campaign from Surgeon General Murthy and His Office.

         212.    Throughout 2021 and 2022, Surgeon General Vivek Murthy and his Office engaged

  in a pressure campaign in parallel with, and often overlapping with, the White House’s pressure

  campaign on social-media platforms. Surgeon General Murthy and his staff were often included

  in the same meetings and communications with White House officials and social-media platforms,

  and joined White House officials pressuring them to increase censorship in public and in private.

         A. The Surgeon General: Using the “Bully Pulpit” to Pressure Platforms.

         213.    Eric Waldo is the Senior Advisor to the Surgeon General of the United States,

  Vivek Murthy, and was formerly a Chief Engagement Officer in the Office of the Surgeon General

  (“OSG”). Waldo Dep. 11:15-12:2.

         214.    As “the engagement team leader” for OSG, Waldo was “the one in charge of

  maintaining the contacts and the relationships with representatives of social media platforms.” Id.

  at 51:11-17.

         215.    Dr. Murthy was directly involved in editing and approving the final work product

  of the Surgeon General’s Office, including the Surgeon General’s July 15, 2021 health advisory

  on misinformation and the Surgeon General’s March 3, 2022 RFI to social-media platforms. Id.

  at 14:20-22, 15:16-19, 16:9-10, 17:1-6, 187:24-188:3.

         216.    Calling for an “all-of-society approach” to misinformation was a pervasive theme

  of the Surgeon General’s communications, including the health advisory and the RFI. Id. at 19:25,




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  26:8, 88:9, 89:13, 101:2, 117:13, 122:15, 211:22, 246:25, 251:9, 332:22. This theme echoes the

  repeated call for an “all-of-society approach” in the Virality Project’s public report. See infra.

         217.    Before the Surgeon General’s health advisory on misinformation was published on

  July 15, 2021, OSG and Waldo “did pre-rollout calls with Twitter, Facebook, [and]

  Google/YouTube.” Id. at 20:7-11.

         218.    The Surgeon General uses his “bully pulpit” to call for censorship of health

  misinformation: “Dr. Murthy continued from a communications perspective to talk about health

  misinformation using his bully pulpit.” Id. at 25:23-25.

         219.    Waldo admits that the Surgeon General is directly advocating to social-media

  platforms to take stronger actions against health “misinformation”: “[T]he Surgeon General has

  the ability … to talk to the relevant stakeholders and say we want you to be aware of this issue and

  that we think you have a role to play to improve the health outcomes, yes.” Id. 28:10-14. As part

  of this role, the Surgeon General “call[s] out social media platforms in the [health] advisory.” Id.

  at 28:18-19.

         220.    The Surgeon General’s “bully pulpit,” Waldo agrees, involves putting public

  pressure on social-media platforms: “I think the bully pulpit … is really the fact that he commands

  attention, including being able to … speak with the press, speak with the public, and … we think

  of the Surgeon General as the nation's doctor.” Id. at 29:9-15.

         221.    A goal of the Surgeon General’s use of the “bully pulpit” includes to “reduce the

  dissemination of health misinformation.” Id. at 30:5-10. This includes making “recommendations

  of specific steps the social media platforms are … called out to take to reduce the spread of

  misinformation on the platforms.” Id. at 31:3-8.




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          222.    OSG reinforces its public “message of calling out the social media platforms to take

  steps to reduce the spread of misinformation on their platforms” through private communications

  with platforms: “[W]hat we're saying publicly, we’re also … said that privately to them as well.”

  Id. at 32:5-8, 12-14. This includes during “rollout calls.” Id. at 32:19-20.

          B. Surgeon General Works in Tandem with the White House and Virality Project.

          223.    On the day of the health misinformation advisory rollout, July 15, 2021, “Press

  Secretary … Jen Psaki had already made remarks specifically about Facebook, and then,” the next

  day, “President Biden made his remarks that social media and Facebook were killing people.” Id.

  at 33:19-25. “Facebook … was upset about how the rollout had gone.” Id. at 33:6-8. Waldo’s

  initial rollout call with Facebook, as a result, was affected by the Administration’s public attacks

  on Facebook: “I wouldn't call it the most productive call.” Id. at 34:4-6.

          224.    After this public pressure, Facebook’s senior executive, Nick Clegg, reached out to

  request “deescalat[ion]” and “work[ing] together” as a direct result of that public pressure on

  Facebook: “Then later, with our call, we had a call with Nick Clegg from Facebook, and at his

  request, and … his intentions were to sort of I think deescalate and just find ways that we could

  work together, given how Facebook … was treated in that rollout day.” Id. at 34:7-13.

          225.    In the call with Nick Clegg, Surgeon General Murthy reiterated his demand for

  Facebook to do more to censor “misinformation” on its platforms: “[O] n the call with Nick Clegg,

  the Surgeon General did … reiterate the idea that, you know, as we described in the advisory, that

  we think there's more … that Facebook and other social media companies can do, and … we

  reiterated that.” Id. at 35:7-12.

          226.    Murthy also asked Clegg and Facebook specific questions about requiring

  Facebook to share data with outside researchers about the scope and reach of misinformation on




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  its platforms, again echoing the key recommendation of the Virality Project: “[T]he most specific

  questions were about understanding the data around the spread of misinformation and how we

  were measuring that, and … how we could have external researchers validate the spread of

  misinformation and -- and helping us as a field understand the depth of the problem.” Id. at 35:20-

  36:2.

          227.     One such “external researcher” that OSG had in mind was “Renee DiResta, from

  the Stanford Internet Observatory,” a leading organization of the Virality Project, which hosted a

  “rollout event” for the advisory featuring Dr. Murthy on the day the advisory was announced. Id.

  at 36:19-23.

          228.     Waldo admits that there was “coordination” between OSG and Renee DiResta of

  the Virality Project on the launch of the Surgeon General’s health advisory: “I know there was

  coordination with [DiResta] with respect to the launch … there was a panel, a public sort of virtual

  town hall that we hosted -- with the Sanford [sic] Internet Observatory that Dr. Murthy spoke at,

  and that was part of the launch day. So certainly there would have been coordination … with her.”

  Id. at 38:1-7.

          229.     Kyla Fullenwider is the OSG’s key “subject matter expert” who “worked on the

  advisory” and had significant substantive input on both the Surgeon General’s July 15, 2021 health

  advisory on misinformation, and the Surgeon General’s March 3, 2022 RFI to social-media

  platforms on the spread of misinformation. Id. at 39:1-4, 59:16-23. Kyla Fullenwider is not a

  direct employee of the OSG, but works for a non-profit contractor named “US Digital Response,”

  Waldo Dep. 85:13-15.

          230.     Kyla Fullenwider “did a follow-up call with Renee DiResta” about the health

  advisory. Id. at 38:25-39:4.




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          231.     After the launch of the health advisory, Waldo and Fullenwider “did a call” with

  Renee DiResta “that was more of a brainstorm around … public-facing events that we could do to

  talk about this issue” of stopping health misinformation. Id. at 40:13-17.

          232.     Fullenwider and DiResta “most likely” discussed misinformation in these calls.

  Id. at 41:4-6.

          233.     Waldo and OSG also received a briefing from the Center for Countering Digital

  Hate about the so-called “Disinformation Dozen.” Id. at 43:1-48:1. CCDH gave “a presentation

  about the Disinformation Dozen and sort of how they were measuring … that those were the folks

  primarily responsible for a lot of misinformation online.” Id. at 47:2-5.

          234.     Rafael Campos of OSG “helped create the event with … the Stanford Internet

  Observatory for the launch,” and likely had communications with Stanford and Professor DiResta

  in the lead-up to the event. Id. at 48:12-14, 49:1-2.

          235.     The OSG anticipated that the social-media platforms would feel pressured by the

  advisory: “we didn't think they would be happy about this -- you know, the content of the

  advisory.” Id. at 54:24-55:1.

          236.     Waldo is aware of “at least one call … that the Surgeon General [Murthy] had with

  Facebook during the transition,” i.e., between President Biden’s election and his assuming office.

  Id. at 55:8-10. The call involved a “Facebook individual”: “Dr. Murthy had mentioned that he had

  been on a call with that person [from Facebook] during the transition.” Id. at 79:11-18, 56:5-6.

  Waldo identified the individual as “a data person from the Facebook team.” Id. at 56:10. The

  purpose of that call was “again, about that issue of trying to understand the reach of the mis- and

  disinformation and understanding … how far it was spreading.” Id. at 56:15-19.




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            237.   “Data about misinformation” was “a topic of conversation” in that call, and the

  participants discussed “Facebook” being “un[]clear” or “unable to present … the depth or reach of

  the misinformation, that they didn’t have that data.” Id. at 80:1-15.

            238.   DJ Patil may have participated in that transitional call. Patil was the “chief data

  scientist in the Obama administration, and he was a special government employee at the White

  House for part of the first year” of the Biden Administration. Id. at 81:6-13. Patil was also “on

  the call with Dr. Murthy and [Waldo] and Nick Clegg … in his capacity as a White House official.”

  Id. at 81:24-82:3.

            239.   Waldo “connected [Patil] to another research data person … a Facebook data

  person.” Id. at 82:13-16.

            240.   The purpose of this follow-up was to demand more information from Facebook

  about monitoring the spread of misinformation on its platforms: “[T]he problem was we were still

  in this piece of not understanding the reach and depth … of the misinformation … on Facebook.

  And … this person was going to try to explain to [Patil] the data challenges in doing so.” Id. at

  83:4-9.

            241.   Kyla Fullenwider is the “main” or key staffer for the OSG on misinformation and

  disinformation. Id. at 58:21-24. Ann Kim is listed on the OSG’s org chart, Waldo Ex. 2, as the

  person who “[d]irects mis- and dis-information engagement,” Waldo Ex. 2, but that is solely

  “because Kyla Fullenwider reported up to Ann Kim. And since Kyla, I think, was our main subject

  matter expert or continued to do work on mis- and disinformation, maybe that was why that was

  put under Anne's list of duties.” Waldo Dep. 58:20-24. Fullenwider, therefore, is the OSG’s “main

  subject matter expert” on “mis- and disinformation,” who “directs mis- and dis-information

  engagement” for the OSG. Id. at 58:13-59:7.




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          242.   Fullenwider works for the nonprofit U.S. Digital Response, and is not directly

  employed by the OSG, though she was acting in an official capacity on behalf of OSG. Waldo

  Ex. 3, at 32; Waldo Dep. 85:10-86:8.

          243.   U.S. Digital Response is not a government agency but a non-profit organization:

  “U.S. Digital Response (USDR) is a nonprofit, nonpartisan organization that helps governments,

  nonprofits, and public entities respond quickly to critical public needs.” About U.S. Digital

  Response,      U.S.     Digital        Response         (last   visited   Feb.    17,     2023),

  https://www.usdigitalresponse.org/about.

          244.   Ann Kim has no direct involvement in mis- and disinformation. Waldo Dep. 58:25-

  59:3. But Kyla Fullenwider “was definitely working on mis- and disinformation.” Id. at 59:6-7.

  Fullenwider “was working with Daniel [Tartakovsky] on the design of … the advisory. And then

  … Kyla was continuing to help us think about were there additional ways we might engage.” Id.

  at 59:12-15. Further, “Kyla … was the principal designer of options around follow-up with respect

  to data.” Id. at 59:16-18. And when “the Surgeon General's office put out an RFI around

  misinformation data” on March 3, 2022, “Kyla worked on that.” Id. at 59:18-22. Kyla “was the

  subject matter expert who was chiefly creating options for the Surgeon General … to consider

  how we would continue to … talk about mis- and disinformation with respect to data.” Id. at 60:6-

  10.

          245.   Kyla Fullenwider also participated in the “rollout calls” to the social-media

  platforms announcing the Surgeon General’s health advisory on misinformation. Id. at 62:24-

  63:4.

          246.   Waldo was also “on some e-mails and at least one call with Rob Flaherty” when he

  “would communicate with Facebook.” Id. at 64:9-11. This included a call with Rob Flaherty and




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  the OSG: “[B]efore our call with Nick Clegg, … I had a call with Rob.” Id. at 65:1-2. By then,

  Flaherty had been “separately communicating with Facebook,” and he was “giving us a heads-up

  on his experiences … in communicating with … Facebook.” Id. at 65:4-9.

            247.   In August 2021, Waldo joined a call with Rob Flaherty and Brian Rice of Facebook,

  who was in charge of Facebook’s relationship with federal officials. Id. at 66:10-14, 124:24-125:2.

            248.   In that August 2021 call, “Brian Rice from Facebook had requested a call to give

  us an update on some sort of internal action they were doing. … Facebook had either found

  something or removed something and was letting us know about it.” Id. at 66:16-23.

            249.   Andy Slavitt of the White House also communicated with Nick Clegg. Id. at 67:14-

  21. When Andy Slavitt left the White House, he offered Surgeon General Murthy as a direct

  contact for Nick Clegg. Id. at 68:4-7.

            250.   In addition, “Dr. Murthy has certainly had conversations with Dr. Fauci.” Id. at

  69:21-22. Waldo claims that he does not know the nature of those conversations. Id. at 69:23-25.

  “Dr. Murthy would have directly communicated with Dr. Fauci, to my knowledge.” Id. at 70:13-

  15.

            251.   Waldo is “certain that Dr. Murthy has connected” with Dr. Francis Collins. Id. at

  71:2-9.

            252.   Waldo was involved in collecting information to respond to Plaintiffs’

  interrogatories on behalf of OSG. Id. at 73:19-74:11.

            C.     The Surgeon General Pressures Social-Media Platforms in Private.

            253.   The first meeting with social-media platforms relating to misinformation that OSG

  identified in response to interrogatories was a brief introductory call with Nick Clegg on May 25,

  2021: “On May 25, 2021, from 4:30 to 5:00 pm ET, Dr. Vivek Murthy from OSG and Andy Slavitt




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  from the White House met remotely with Nick Clegg from Facebook. The purpose of the call was

  to introduce Dr. Murthy to Mr. Clegg.” Waldo Ex. 3, at 32; see also Waldo Dep. 78:24-79:10.

  The next meeting disclosed was the first “rollout call” relating to the advisory on July 12, 2021.

  Waldo Ex. 3, at 32. As noted below, this interrogatory response failed to disclose several previous

  meetings between Dr. Murthy and Facebook.

            254.   OSG had pre-rollout calls with Twitter and YouTube on July 12 and July 14, 2021,

  and a rollout call with Facebook the day after the rollout on July 16, 2021. Id. at 32; Waldo Dep.

  85:10-90:5.

            255.   Kyla Fullenwider handled the substantive communications with the social-media

  platforms in the rollout calls; Waldo’s role was to “connect them to our subject matter expert.”

  Waldo Dep. 86:24-25.

            256.   The July 16 call with Facebook was “the same day” that President Biden stated of

  Facebook that “They’re killing people” by not censoring enough misinformation. Id. at 90:24,

  93:3-5.

            257.   At that July 16 call, Kyla Fullenwider “was able, at a high level, to walk over the

  … recommendations section for … technology companies,” which demand greater censorship of

  misinformation. Id. at 91:14-16.

            258.   The Facebook call “was definitely a slightly awkward call” because “President

  Biden made his comment about social media companies and Facebook killing people … right

  before, or even potentially during the call,” and Waldo observed that “the Facebook team looked

  a little sad.” Id. at 92:24-93:6.

            259.   On July 23, 2021, Waldo, Dr. Murthy, and DJ Patil of the White House had a call

  with Nick Clegg and Brian Rice of Facebook. Waldo Ex. 3, at 32-33. Nick Clegg requested the




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  meeting “to deescalate” and “reset the tone” because the “Facebook team were feeling … that they

  had been uniquely called out.” Waldo Dep. 95:4-13.

         260.    After the meeting, Nick Clegg “did share definitely over e-mail more information

  about what they were doing to reduce mis- and disinformation, COVID mis- and disinformation

  on the platform.” Id. at 96:13-17.

         261.    There was also “a follow-up e-mail sometime the next couple of weeks where …

  Nick or Brian shared … here's additional work we're doing, here's how we're responding to the

  advisory.” Id. at 97:7-11.

         262.    This follow-up email provided “a catalog of … both removal of misinformation

  and other steps to tamp down mis- and disinformation.” Id. at 97:16-22.

         263.    Waldo believes that these were “new steps that they had taken in the week or so

  since … they felt uniquely called out on July 15th and 16th.” Id. at 97:23-98:3. The email was in

  response to a request from OSG “asking for, can you let us know, like, what you're doing in

  addition” to combat misinformation, “and so this was responding to that.” Id. at 98:5-7.

         264.    On the July 23 call with Facebook, “Dr. Murthy raised the issue of wanting to have

  a better understanding of the reach of the mis- and disinformation on … the social media platform.”

  Id. at 98:19-22.

         265.    Waldo likens the problem of mis- and disinformation on social media to “eating,

  like, a piece of uranium,” and compares misinformation to “cancer.” Id. at 99:1-101:8.

         266.    The OSG’s health advisory advances the view that the spread of misinformation is

  “very harmful.” Id. at 101:24-102:7.




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         267.    Waldo agrees that the health advisory “provides specific examples to technology

  companies what they could do more of to reduce the spread of health mis- and disinformation.”

  Id. at 104:16-18.

         268.    Waldo uses the word “poison” to describe health misinformation, as did Dr. Murthy

  in announcing the Health Advisory. Id. at 105:4; Waldo Ex. 10, at 2.

         269.    In the July 23, 2021 call with Nick Clegg, Dr. Murthy “didn’t retreat … from the

  message of the advisory, which explicitly calls for social media platforms to do more to control

  the reach of misinformation on their platforms,” and “continued … to discuss that message.”

  Waldo Dep. 107:21-108:5.

         270.    In addition, in that call, the OSG asked Facebook to report back on “what they were

  doing in response to the advisory, if they were taking any actions.” Id. at 109:2-4.

         271.    In addition, Patil was “also asking the data impact questions.” Id. at 109:24.

         272.    OSG perceived that OSG’s and the White House’s public statements criticizing

  Facebook put economic pressure on Facebook, and that Facebook was engaging with Dr. Murthy

  to “keep Dr. Murthy from saying … any other things that might be viewed as bad for their

  business.” Id. at 113:13-15.

         273.    Waldo agrees that the events of July 15 and July 16 put unique pressure on

  Facebook: “when you add the press conference remarks plus President Biden's remarks, it made it

  seem as though … there was more attention on Facebook.” Id. at 116:2-5.

         274.    The OSG’s “subject matter experts” – Kyla Fullenwider, Daniel Tartakovsky, and

  DJ Patil of the White House – believed that misinformation “was a problem across multiple

  platforms.” Id. at 116:15-16.




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         275.       On July 30, 2022, Waldo had a meeting with Google and YouTube representatives,

  in which the representatives reported to OSG on what actions they were taking that were consistent

  with or in response to the health advisory: “The topics discussed included YouTube/Google

  following up on the announcement of the OSG Advisory to share more of the work it was doing

  around health mis- and disinformation.” Waldo Ex. 3, at 33.

         276.       When the OSG’s health advisory issued, Twitter’s policy handle publicly endorsed

  the OSG’s call for greater censorship of health misinformation: “[T]he Twitter policy handle …

  either retweeted or quote tweeted and said something like, we agree. … [W]e do need an all-society

  approach, and here's what we're doing.” Waldo Dep. 122:11-16.

         277.       On August 10, 2021, Waldo and Rob Flaherty had a call with Facebook in which

  Facebook reported back to federal officials on its actions to remove misinformation, including the

  details of “an operation [Facebook] uncovered that is related to vaccine misinformation.” Waldo

  Ex. 3, at 33 (alteration in original). According to Waldo, “Brian Rice had requested a call with me

  and Rob [Flaherty] and, during the call, flagged that Facebook … had done some sort of internal

  operation where … they discovered some misinformation pieces happening and had taken some

  corrective action.” Waldo Dep. 124:13-21.

         278.       Brian Rice was Facebook’s “main … staff level liaison” with the federal officials.

  Id. at 125:2-3.

         279.       Facebook emailed Waldo and Flaherty “a COVID report list that had … some sort

  of report from Facebook on a biweekly basis.” Id. at 126:11-16.

         280.       On September 14, 2021, Waldo had another meeting with Google/YouTube

  representatives, “to discuss a new policy we [YouTube] are working on as well as provide an

  update on our overall efforts to combat harmful COVID-19 misinformation on the platform.”




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  Waldo Ex. 3, at 33. This was the “second update by [Google/Youtube] to [OSG] following the

  health advisory of stuff they're doing to combat harmful COVID-19 misinformation through

  YouTube.” Waldo Dep. 129:7-12.

         281.    On May 28, 2021, a few days after meeting with Andy Slavitt and Dr. Murthy for

  the first time (and almost two months before OSG issued the Health Advisory and had the related

  meetings with Waldo and others), Nick Clegg emailed Dr. Murthy and stated that, “[a]s promised,”

  he was sending a report of misinformation on Facebook. Waldo Ex. 4, at 1. Clegg also

  “highlighted a few policy updates we announced yesterday regarding repeat misinformation,”

  including “expand[ing] penalties for individual Facebook accounts that share misinformation,”

  “add[ing] more context about pages that repeatedly share false claims,” and “redesign[ing]

  notifications when they share content that a fact-checker later rates.” Id.

         282.    These “policy updates” about increasing censorship were announced on May 27,

  2021, two days after Nick Clegg’s meeting with Dr. Murthy and Andy Slavitt on May 25, 2021.

  Waldo Dep. 138:2-7.

         283.    Clegg plainly indicated that there had been prior conversations in which Slavitt and

  Dr. Murthy had demanded “defensive work” to remove misinformation: “We’re . . . committed to

  addressing the defensive work around misinformation that you’ve called on us to address.” Waldo

  Ex. 4, at 2. These prior conversations were not disclosed in OSG’s responses to interrogatories,

  which noted the first meeting with Dr. Murthy was a mere introductory meeting with Clegg on

  May 25, 2021. Waldo Ex. 3, at 32.

         284.    On June 14, 2021, Nick Clegg emailed Dr. Murthy another (“the latest”) “Facebook

  bi-weekly covid content report,” which he indicated was “as promised/discussed,” and offered




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  “[a]s always” to “jump on a call at any point … to delve into any further details as needed.” Waldo

  Ex. 5, at 1.

          285.    The “Facebook bi-weekly covid content report,” id., contained a report of “the most

  engaged posts … with respect to both accurate and inaccurate information.” Waldo Dep. 140:8-

  10. Rob Flaherty of the White House also received these reports. Id. at 140:21-24.

          286.    Waldo admits that Facebook sending these biweekly reports to Dr. Murthy and

  Flaherty “had preexisted” and “predates the meeting” on May 25, 2021 – further indicating that

  OSG failed to disclose key meetings between Dr. Murthy and social media platforms in its

  interrogatory responses. Id. at 142:10-11.

          287.    On July 6, 2021, Waldo emailed contacts at Twitter to set up the “rollout call”

  before the health advisory and stated: “As you know, one of the issues Dr. Murthy has been

  thinking about is how to help stop the spread of health misinformation as we continue to tackle

  COVID19 and beyond. I know you and your teams are working hard and thinking deeply about

  this issue. We’d love to chat over zoom to connect and discuss what’s on the horizon for our

  teams.” Waldo Ex. 6, at 2; Waldo Dep. 145:15-146:22.

          288.    On July 6, 2021, Waldo sent an identical email to Facebook. Waldo Ex. 7, at 3-4.

  The purpose of these emails was to set up calls to announce the Surgeon General’s forthcoming

  health advisory on misinformation. Waldo Dep. 149:11-16. Because of scheduling conflicts, the

  “rollout call” with Facebook was not scheduled until July 16, the day after the advisory was

  announced and the same day President Biden stated of Facebook that “they’re killing people.” Id.

  at 149:11-17.




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         289.    On July 6, 2021, Waldo also sent an email to YouTube with a similar statement to

  set up a rollout call with YouTube. Waldo Ex. 8, at 3. Waldo’s emails make clear that OSG’s

  message and purpose was to “stop the spread of misinformation” on social-media platforms. Id.

         290.    In these calls, “we had Kyla [Fullenwider] on the call and giving them a high-level

  update that we're going to have this advisory come out and that we want them to take a look at it.”

  Waldo Dep. 153:23-154:1.

         291.    On July 10, 2021, Nick Clegg emailed Dr. Murthy, attaching another bi-weekly

  Covid content report, and stated, “I understand ... that my team is meeting with yours next week

  to delve deeper into our [C]ovid misinformation efforts.” Waldo Ex. 9, at 1. Waldo understands

  that this refers to the July 16 rollout meeting. Waldo Dep. 155:12-18.

         292.    In the July 16, 2021 meeting with Facebook, Kyla Fullenwider went over the

  advisory, and then “asked additional questions … related to Facebook’s efforts to combat health

  misinformation,” including “some questions about, again, the research side.… [S]ome questions

  came up about CrowdTangle, if I recall correctly which was a … data port for … some ways to

  understand the Facebook, again, impact and research of the misinformation.” Id. at 157:21-159:9.

         D.      The Surgeon General’s Public Pressure Campaign.

         293.    On July 15, 2021, Dr. Murthy participated in a White House press conference with

  White House Press Secretary Jennifer Psaki to announce the Surgeon General’s Health Advisory

  on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday, he published an

  advisory on health misinformation as an urgent public health crisis.” Id. at 1.

         294.    At the press conference, Dr. Murthy described misinformation as “one of the

  biggest obstacles that’s preventing us from ending this pandemic,” and stated: “Today, I issued a

  Surgeon General’s Advisory on the dangers of health misinformation.               Surgeon General




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  Advisories are reserved for urgent public health threats…. [T]oday we live in a world where

  misinformation poses an imminent and insidious threat to our nation’s health.” Id. at 2. He stated

  that “misinformation takes away our freedom to make informed decisions about our health and the

  health of our loved ones.” Id. at 2.

         295.    Dr. Murthy’s definition of “misinformation” incorporates the notion that the

  definition changes over time: “Health misinformation is false, inaccurate, or misleading

  information about health, according to the best evidence at the time.” Id. at 2. Waldo agrees that

  this definition “contemplate[s] that what constitutes misinformation might change over time,” and

  that “something that we now think is misinformation may later turn out to be accurate information

  … [a]nd vice versa.” Waldo Dep. 164:17-165:7.

         296.    Dr. Murthy stated that those who question mask mandates and decline vaccination

  are following misinformation: “During the COVID 19 pandemic, health misinformation has led

  people to resist wearing masks in high-risk settings. It’s led them to turn down proven treatments

  and to choose not to get vaccinated. This has led to avoidable illnesses and death. Simply put,

  health [mis]information has cost us lives.” Waldo Ex. 10, at 2.

         297.    Dr. Murthy placed specific blame on social-media platforms for the spread of

  misinformation: “Now, health misinformation didn’t start with COVID-19. What’s different now,

  though, is the speed and scale at which health misinformation is spreading. Modern technology

  companies have enabled misinformation to poison our information environment with little

  accountability to their users. They’ve allowed people who intentionally spread misinformation —

  what we call ‘disinformation’ — to have extraordinary reach.” Id. at 2. Dr. Murthy described

  social-media companies as enabling the spread of “poison” in our “information environment.” Id.




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         298.    He blamed the platforms’ algorithms and features for the spread as well: “They’ve

  designed product features, such as ‘Like’ buttons, that reward us for sharing emotionally charged

  content, not accurate content. And their algorithms tend to give us more of what we click on,

  pulling us deeper and deeper into a well of misinformation.” Id.

         299.     Echoing the language of the Virality Project, Dr. Murthy stated, “we need an all-

  of-society approach to fight misinformation.” Id. at 2.

         300.    Dr. Murthy announced: “we’re saying we expect more from our technology

  companies. We’re asking them to operate with greater transparency and accountability. We’re

  asking them to monitor misinformation more closely. We’re asking them to consistently take

  action against misinformation super-spreaders on their platforms.” Id. at 3. Both the call for

  “transparency and accountability” and the request for increased monitoring and greater censorship

  of “super-spreaders” mirror the Virality Project report. See infra.

         301.    Both Dr. Murthy’s public statements and his health advisory repeatedly use the

  word “accountable” and “accountability” to refer to the social-media platforms—again, echoing

  the Virality Project report. See id. at 2, 3, 5; Waldo Ex. 11, at 14, 16.

         302.    Waldo agrees that the word “accountable” carries with it the threat of

  consequences; he concedes that “accountability includes accepting the consequences for when you

  do something wrong … or inappropriate.” Waldo Dep. 171:4-8. Thus, the OSG’s repeated

  reference to holding social-media platforms “accountable” entails an implied threat of adverse

  consequences if the platforms do not censor more health misinformation. See id.

         303.    The Surgeon General’s use of the word “accountable” also echoes the repeated use

  of the word “accountable” by elected federal officials, including President Biden and his political

  allies, to threaten adverse legal consequences against social-media platforms if they do not increase




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  censorship of disfavored speakers, speech, and viewpoints. See, e.g., Jones Decl., Ex. R (quoting

  White House Communications Director Kate Bedingfield: “We’re reviewing [amending Section

  230 of the Communications Decency Act], and certainly [the social media companies] should be

  held accountable. I think you’ve heard the president speak very aggressively about this.”).

         304.    Waldo agrees that Murthy’s comments entail that “there's an obligation … or

  certainly an imperative to do more. So … not only stop but reduce or take some sort of mitigating

  efforts so that the misinformation and disinformation is not leading to poor health results for

  people.” Waldo Dep. 172:21-173:1.

         305.    Dr. Murthy’s call for greater “transparency” is a call for platforms to engage in the

  kind of data-sharing that Dr. Murthy, Rob Flaherty, DJ Patil, and Kyla Fullenwider, among others,

  demanded in private meetings with Facebook. Id. at 174:15-23. Again, this echoes the key

  recommendation of the Virality Project.

         306.    Waldo agrees that Dr. Murthy’s call for greater “accountability” includes a demand

  to “take more proactive steps to stop the spread of misinformation.” Id. at 176:1-4.

         307.    Dr. Murthy also demanded that the platforms do “much, much more” and “take

  aggressive action” against misinformation: “We know that the dramatic increase in the speed —

  speed and scale of spreading misinformation has, in part, been enabled by these platforms. So

  that’s why in this advisory today, we are asking them to step up. We know they have taken some

  steps to address misinformation, but much, much more has to be done. And we can’t wait longer

  for them to take aggressive action because it’s costing people their lives.” Waldo Ex. 10, at 5.

         308.    Dr. Murthy also stated that platforms “have to do more to reduce the

  misinformation that’s out there so that the true voices of experts can shine through.” Id. at 6.




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         309.    After the advisory, OSG asked Facebook, Google/YouTube, and Twitter “as a

  follow-up what actions they might have taken in response to the advisory.” Waldo Dep. 181:15-

  21.

         310.    At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in

  regular touch with these social media platforms, and those engagements typically happen through

  members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

         311.    Psaki stated: “We’ve increased disinformation research and tracking within the

  Surgeon General’s office. We’re flagging problematic posts for Facebook that spread

  disinformation.” Id.

         312.    “Regarding the Administration’s “asks” to social-media platforms, Psaki stated:

  “There are also proposed changes that we have made to social media platforms, including

  Facebook, and those specifically are four key steps: One, that they measure and publicly share the

  impact of misinformation on their platform. Facebook should provide, publicly and transparently,

  data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the

  reach of the misinformation and the audience that it’s reaching.” Id. at 11. Again, this echoes the

  key recommendation of the Virality Project report.        It also echoes Dr. Murthy’s call for

  “transparency” and the repeated private demands that Facebook give external researchers like

  Renee DiResta of the Virality Project access to its internal data. Waldo Dep. 191:17-21.

         313.    Psaki also stated: “Second, that we have recommended — proposed that they create

  a robust enforcement strategy that bridges their properties and provides transparency about the

  rules. So, about — I think this was a question asked before — there’s about 12 people who are

  producing 65 percent of anti-vaccine misinformation on social media platforms All of them remain




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  active on Facebook, despite some even being banned on other platforms, including Facebook —

  ones that Facebook owns.” Waldo Ex. 10, at 11.

         314.     Psaki stated: “Third, it’s important to take faster action against harmful posts. As

  you all know, information travels quite quickly on social media platforms; sometimes it’s not

  accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts

  that will be within their policies for removal often remain up for days. That’s too long. The

  information spreads too quickly.” Id.

         315.     Waldo agrees that the Surgeon General’s advisory calls for platforms to “move

  faster” and take “more aggressive” action against supposed misinformation. Waldo Dep. 194:20-

  21.

         316.     And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they

  promote quality information sources in their feed algorithm. Facebook has repeatedly shown that

  they have the levers to promote quality information. We’ve seen them effectively do this in their

  algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s

  certainly an area that would have an impact.” Waldo Ex. 10, at 11.

         317.     Psaki concluded: “So, these are certainly the proposals. We engage with them

  regularly and they certainly understand what our asks are.” Id.

         318.     On the same day, July 15, 2021, Surgeon General Murthy issued his advisory,

  “Confronting Health Misinformation: The U.S. Surgeon General’s Advisory on Building a

  Healthy Information Environment.” Waldo Ex. 11, at 1 (the “Health Advisory”); Waldo Dep.

  196:21-197:1.

         319.     The Health Advisory describes censorship of health misinformation as a “moral

  and civic imperative”: “Health misinformation is a serious threat to public health. … Limiting the




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  spread of health misinformation is a moral and civic imperative that will require a whole-of-society

  effort.” Waldo Ex. 11, at 2. The “whole-of-society effort” echoes the language of the Virality

  Project.

         320.    The Health Advisory states: “Misinformation has caused confusion and led people

  to decline COVID-19 vaccines, reject public health measures such as masking and physical

  distancing, and use unproven treatments.” Id. at 4.

         321.    The Health Advisory specifically blames social-media platforms for the spread of

  misinformation: “In recent years, the rapidly changing information environment has made it easier

  for misinformation to spread at unprecedented speed and scale, especially on social media and

  online retail sites, as well as via search engines.”         Id. at 5.     According to the Advisory,

  “misinformation is often framed in a sensational and emotional manner that can connect viscerally,

  distort memory, align with cognitive biases, and heighten psychological responses such as anxiety.

  People can feel a sense of urgency to react to and share emotionally charged misinformation with

  others, enabling it to spread quickly and go ‘viral.’” Id.

         322.    In addition, the Advisory blames “product features” of platforms: “[P]roduct

  features built into technology platforms have contributed to the spread of misinformation. For

  example, social media platforms incentivize people to share content to get likes, comments, and

  other positive signals of engagement. These features help connect and inform people but reward

  engagement rather than accuracy, allowing emotionally charged misinformation to spread more

  easily than emotionally neutral content.” Id.

         323.    The Advisory also faults platforms’ “algorithms”: “algorithms that determine what

  users see online often prioritize content based on its popularity or similarity to previously seen




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  content. As a result, a user exposed to misinformation once could see more and more of it over

  time, further reinforcing one’s misunderstanding.” Id.

         324.    The Health Advisory specifically called for platforms to enact “policy changes” to

  reduce the spread of misinformation: “Implement product design and policy changes on

  technology platforms to slow the spread of misinformation.” Id. at 7 (bold in original).

         325.    The Health Advisory also explicitly threatened future “legal and regulatory

  measures” to combat misinformation: “Convene federal, state, local, territorial, tribal, private,

  nonprofit, and research partners to explore the impact of health misinformation, identify best

  practices to prevent and address it, issue recommendations, and find common ground on difficult

  questions, including appropriate legal and regulatory measures that address health

  misinformation ….” Id. at 7 (bold in original, italics added).

         326.    Under the heading “What Technology Platforms Can Do,” the Health Advisory

  called for platforms to take a series of steps to increase and enable greater social-media censorship

  of “misinformation,” including the following: “[M]ake meaningful long-term investments to

  address misinformation, including product changes. Redesign recommendation algorithms to

  avoid amplifying misinformation, build in “frictions” … to reduce the sharing of misinformation,

  and make it easier for users to report misinformation. Give researchers access to useful data to

  properly analyze the spread and impact of misinformation. Strengthen the monitoring of

  misinformation. … [A]ddress misinformation in live streams, which are more difficult to moderate

  due to their temporary nature and use of audio and video. Prioritize early detection of

  misinformation ‘super-spreaders’ and repeat offenders. Impose clear consequences for accounts

  that repeatedly violate platform policies. Evaluate the effectiveness of internal policies and

  practices in addressing misinformation and be transparent with findings. Publish standardized




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  measures of how often users are exposed to misinformation and through what channels, what kinds

  of misinformation are most prevalent, and what share of misinformation is addressed in a timely

  manner. Communicate why certain content is flagged, removed, downranked, or left alone.” Id.

  at 12.

           327.   Waldo agrees that the Advisory calls for platforms to provide “a method for users

  to flag problematic posts so that they could be reviewed for content modulation, policy violations.”

  Waldo Dep. 200:25-201:5.

           328.   Waldo agrees that “clear consequences” for repeat violators include “things like

  issuing strikes against them, suspensions … and sometimes permanent deplatforming.” Id. at

  205:6-13.

           329.   In its conclusion, the Health Advisory states: “We need institutions to recognize

  that this issue is their moral and civic responsibility, too, and that they are accountable.” Waldo

  Ex. 11, at 16. Waldo agrees that the word “accountable” is repeated in the Surgeon General’s

  remarks and the Advisory itself. Waldo Dep. 206:3-11.

           F. The Surgeon General’s Collaboration with the Virality Project.

           330.   Also on January 15, 2021, Surgeon General Murthy participated in a separate

  launch event hosted by Stanford Internet Observatory, which was then operating the Virality

  Project. Waldo Ex. 12, at 1; Waldo Dep. 206:12-207:9.

           331.   In his public comments with Stanford Internet Observatory, Dr. Murthy stated:

  “We're asking technology companies to operate with greater transparency and accountability so

  that misinformation doesn't continue to poison our sharing platforms, and we know the government

  can play an important role, too.” Waldo Ex. 12, at 8 (Audio Tr. 6). This reiterates the key words

  “poison” and “accountability.”




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         332.    Waldo describes government’s “important role” as including “bringing

  stakeholders … together with urgency around a common vision for a healthy information

  environment … the government can help bring together stakeholders … what I would call the

  convening power of a bully pulpit.” Waldo Dep. 209:15-22. This would include bringing social-

  media platforms around to the government’s “common vision” for censorship. Id. at 209:24-210:8.

         333.    Dr. Murthy was asked, “do you believe a rapid response initiative like the Virality

  Project could be implemented at the federal level to combat health misinformation on a national

  scale from the top down?” and he answered that “having a federal organized effort to combat

  misinformation” is “a really, really interesting idea.” Waldo Ex. 12, at 10 (Audio Tr. 8).

         334.    Dr. Murthy stated: “[T]echnology companies have a really important role. They

  must step up and play to slow the spread of misinformation on their sites wh[ether] that's by either

  sharing data with people and researchers about what interventions they're making and the impact

  that's having or whether it's by changing their algorithms and making other alterations to their

  platform to identify misinformation early and slow its spread and avoid sending more information

  of misinformation to people who are consuming it.” Id. at 11 (Audio Tr. 9).

         335.    Waldo agrees that “the purpose of the data sharing is so that outside people come

  in and … assess how well they're doing with their own internal policies to combat the spread of

  misinformation.” Waldo Dep. 211:6-11.

         336.    Dr. Murthy expressly stated that he had been coordinating with Renee DiResta and

  the Virality Project and planned to continue to do so: “Well, thank you, Renee, for those kind

  words. … I do want to say thank you to you personally because you have been a leader in this

  effort long before many people recognize[d] what was happening with COVID misinformation.

  You were there looking at the data, looking at the numbers, speaking out, raising the flags, saying




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  there's something here we've got to address and do so urgently. I have personally learned a lot from

  your work and from our conversations together, and so I just want to say thank you to you for

  everything you've done for being such a great partner for moderating our event today, and just for

  being a partner in the future, because I know we have lots and lots more that we've got to do

  together.” Waldo Ex. 12, at 12 (Audio Tr. 10).

         337.    Dr. Murthy also stated that his team had been “partnered with” the Stanford Internet

  Observatory over “many months”: “myself, my team, we're committed to working with you,

  Renee, with others … who we've been … partnered with over the last many months….” Id. at 13

  (Audio Tr. 11).

         G. The Surgeon General’s “Angry” and “Tense” Meetings With Platforms.

         338.    On July 16, 2021, the New York Times reported that President Biden publicly

  stated about Facebook, “They’re killing people” by allowing misinformation to spread on its

  platforms. Waldo Ex. 14, at 1.

         339.    The article reported that “this week, White House officials went further and singled

  out social media companies for allowing false information to proliferate. That came after weeks

  of failed attempts to get Facebook to turn over information detailing what mechanisms were in

  place to combat misinformation about the vaccine, according to a person familiar with the matter.”

  Id.

         340.    The same article reported that Jennifer Psaki stated, “We raised for them in our

  direct channels, of which every administration has always had with every social media platform,

  that we’re seeing this trend.” Id. at 2.

         341.    The article reported that there had been a series of “talks” between Surgeon General

  Murthy and Facebook “since January” of 2021—none of which were disclosed in OSG’s




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  interrogatory responses: “Since January, senior White House officials, including the surgeon

  general, Dr. Vivek Murthy, have been in talks with the social media company to stop the spread

  of false stories about vaccination side effects and other harms.” Id. at 2. In these “talks,” federal

  officials demanded Facebook’s internal data on misinformation on its platforms: “Despite repeated

  requests by the White House, Facebook has not shared even basic data on how much vaccine

  misinformation exists and if the company’s efforts to stop its spread are working, according to the

  person familiar with the talks.” Id. at 2.

         342.    “When administration officials presented data from CrowdTangle, a content

  tracking tool owned by Facebook, that showed vaccine misinformation was soaring, company

  officials dismissed its accuracy.” Id. at 2.

         343.    In one meeting, Dr. Murthy “angrily” demanded that Facebook censor

  misinformation instead of just promoting reliable information: “In another meeting with Dr.

  Murthy, … Dr. Murthy angrily said that while the company [Facebook] promoted its efforts to

  encourage vaccination, it did not do enough to defend against bad information.” Id. at 2.

         344.    In another “tense” meeting in “late spring,” Dr. Murthy repeated similar demands:

  “In one tense meeting in the late spring, according to the person familiar with the matter, a

  Facebook official responded defensively, ‘How do you know if your efforts are working?’” Id. at

  2.

         345.    Waldo agrees that this news report “does not accurately describe … that

  introductory call between Nick Clegg, Andy Slavitt, and Dr. Murthy on May 25th of 2021,” which

  is the only meeting involving Dr. Murthy disclosed in OSG’s interrogatory responses. Waldo Dep.

  219:17-21; 222:14-23. In those responses, OSG did not disclose Dr. Murthy’s “tense” and “angry”

  meetings with Facebook during the spring of 2021.




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         H.        The Surgeon General Leverages Public Pressure to Increase Censorship.

         346.      On July 21, 2021, five days after the July 16 meeting where “the Facebook folks

  … had sad faces,” id. at 226:15-16, Facebook emailed Waldo and Kyla Fullenwider, stating: “We

  wanted to follow up with you on a few questions you asked in the meeting focused on

  CrowdTangle, data on the online interventions, and Facebook's borderline content policies,”

  Waldo Ex. 16, at 1. This referred to the July 16 meeting with Waldo and Fullenwider. Waldo

  Dep. 227:3-8.

         347.      In the email, Facebook reported back to OSG on “interventions that the team

  mentioned, some of which specifically create frictions in how people consume information.”

  Waldo Ex. 16, at 1. These include limiting forwarded WhatsApp messages, placing “warning

  labels on fact checked content,” and creating “friction when someone goes to share these posts on

  Facebook.” Id.

         348.      Facebook also reported to OSG a series of censorship policies and actions,

  including the following: “We remove COVID-19 content that contributes to the risk of imminent

  physical harms, including numerous false claims about the COVID-19 vaccine. We permanently

  ban pages, groups, and accounts that repeatedly break our rules on COVID-19 misinformation.

  We also reduce the reach of posts, pages, groups, and accounts that share other false claims that

  do not violate our policies but may present misleading or sensationalized information about

  COVID-19 and vaccines.” Id. at 1. Evidently, OSG’s inquiry at the July 16 meeting about

  “borderline content” related to the censorship of such content. See id. Waldo agrees that

  Fullenwider asked Facebook to report back about censorship at the July 16 meeting: “The response

  indicates that it's about COVID policies including removal, banning and reducing the reach.”

  Waldo Dep. 232:9-11, 233:12-234:1.




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         349.    On July 16, 2021, Nick Clegg emailed Dr. Murthy and stated, “Dear Vivek,

  Reaching out after what has transpired over the past few days following the publication of the

  misinformation advisory and culminating today in the President's remarks about us.” Waldo Ex.

  17, at 1-2. He then stated, “I know our teams met today to better understand the scope of what the

  White House expects of us on misinformation going forward.” Id. at 2 (emphasis added). Facebook

  understood the purpose of the meetings was to understand the White House’s expectations on

  misinformation. See id.

         350.    Clegg indicated that there had been a history of prior discussions with Dr. Murthy

  and the White House in which federal officials demanded greater censorship—both more stringent

  policies and greater enforcement—which were not disclosed in OSG’s interrogatory responses:

  “Certainly we understand (and have understood for some time) that there is disagreement on some

  of the policies governing our approach and how they are being enforced.” Id. at 2. Clegg asked

  for a meeting with Dr. Murthy, who did not immediately respond. Id. at 1-2.

         351.    On July 18, 2021, having received no response to his email requesting a meeting,

  Clegg texted Dr. Murthy stating, “I imagine you and your team are feeling a little aggrieved – as

  is the FB team, it’s not great to be accused of killing people – but as I said by email I’m keen to

  find a way to deescalate and work together collaboratively. I am available to meet/speak whenever

  suits.” Waldo Ex. 18, at 1.

         352.    On July 19, Dr. Murthy responded by email and agreed to a meeting, which was

  scheduled for July 23, 2021. Waldo Ex. 17, at 1; Waldo Dep. 241:1-14.

         353.    At the July 23, 2021 meeting, “Dr. Murthy asked Mr. Clegg about … the research

  questions about understanding the reach of the data in terms the impact of the … health




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  misinformation. And … DJ [Patil] had some questions about also on the data side and Nick [Clegg]

  offered to connect DJ with a data person from Facebook.” Waldo Dep. 242:8-16.

         354.    Later on June 23, 2021, after the meeting between Dr. Murthy and Nick Clegg,

  Clegg sent a follow-up email to Dr. Murthy stating: “Dear Vivek, if I may, thanks again for taking

  the time to meet earlier today….. I wanted to make sure you saw the steps we took just this past

  week to adjust policies on what we are removing with respect to misinformation as well as steps

  taken to further address the ‘disinfo dozen’….” Waldo Ex. 19, at 1.

         355.    Clegg’s reference to “just this past week” refers to the one-week period between

  this July 23 email and rollout of the Advisory on July 15 and the President’s comment “They’re

  killing people” on July 16. Id.; Waldo Dep. 244:14-19.

         356.    It is evident that Dr. Murthy and federal officials pressured Facebook for specific

  censorship actions in the July 23 meeting, because the same day as the meeting, Clegg reported

  back to them a series of new censorship actions and policies. First, Clegg reported enforcement

  actions against the “Disinfo Dozen” whom Jennifer Psaki had publicly demanded censorship: “We

  removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo dozen (so a total

  of 39 Profiles, Pages, Groups, and IG accounts deleted thus far, resulting in every member of the

  disinfo dozen having had at least one such entity removed).” Waldo Ex. 19, at 1. Clegg reported

  that Facebook was secretly censoring accounts associated with the Disinfo Dozen even if they had

  not violated Facebook’s policies: “We are also continuing to make 4 other Pages and Profiles,

  which have not yet met their removal thresholds, more difficult to find on our platform.” Id.

         357.    Clegg also reported that Facebook had amended its censorship policies to make

  them more restrictive: “We also expanded the group of false claims that we remove, to keep up

  with recent trends of misinformation that we are seeing.” Id.




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            358.   Clegg also committed to “do more” to censor misinformation in response to federal

  officials’ demands: “We hear your call for us to do more and, as I said on the call, we’re committed

  to working toward our shared goal of helping America get on top of this pandemic.” Id. Dr.

  Murthy, evidently, demanded that Facebook “do more” against misinformation on it platforms in

  the July 23 phone call. See id.

            359.   Clegg further agreed to accede to federal officials’ demands that Facebook make

  its internal data on misinformation available to federal officials and researchers like Renee DiResta

  of the Virality Project: “We will reach out directly to DJ to schedule a deeper dive on how to best

  measure Covid related content and how to proceed with respect to the question around data.” Id.

  at 1-2.

            360.   Clegg also pledged to report back to Dr. Murthy repeatedly so that federal officials

  could monitor Facebook’s “progress” on censoring misinformation: “We’d also like to begin a

  regular cadence of meetings with your team so that we can continue to update you on our progress.

  You have identified 4 specific recommendations for improvement and we want to make sure to

  keep you informed of our work on each.” Id. at 2. Clegg also promised to continue sending federal

  officials regular updated reports on the spread of misinformation on Facebook’s platforms. Id.

            361.   Clegg concluded by promising that Facebook would “strive” to meet federal

  officials’ expectations on censorship: “we will strive to do all we can to meet our shared goals.”

  Id.; see also Waldo Dep. 245:6-247:4.

            362.   Waldo agrees that Clegg’s statement “We hear your call for us to do more” in the

  July 23 email is an accurate understanding of the Surgeon General’s message from the July 15

  press conference, the Health Advisory, and the July 15 rollout at Stanford Internet Observatory:

  “Yes. I think, as we've established, the advisory and … the remarks, and the event with the Stanford




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  Internet Observatory, Dr. Murthy is calling on … social media companies to do more to address

  the problem of health mis- and disinformation.” Waldo Dep. 251:6-12.

         363.    After the July 23 email, Waldo connected Brian Rice of Facebook with DJ Patil to

  discuss data-sharing to monitor social-media misinformation between Facebook and federal

  officials. Id. at 252:9-19.

         364.    Additionally, on the July 23 call with Nick Clegg, the OSG specifically asked

  Facebook to report back on any additional steps they were taking in response to the Health

  Advisory to increase censorship of misinformation on their platforms. Waldo Ex. 21, at 1. On

  August 6, 2021, Waldo emailed Brian Rice and Nick Clegg of Facebook and stated, “I know on

  the call with Dr. Murthy he’d mentioned seeing if you were able to send an update of any

  new/additional steps you are taking with respect to health misinformation in light of the advisory.”

  Id. Waldo noted that “we are asking all platforms for this type of update.” Id. Waldo asked for a

  report from Facebook within two weeks: “Would you be able to send something over within two

  weeks?” Id.

         365.    In the same email, Waldo connected Facebook with DJ Patil of the White House

  “on next steps for connecting on data.” Id.

         366.    Facebook responded that it was planning “additional steps” to increase censorship

  of misinformation, and promised to report back to the Surgeon General in 2 weeks: “Our teams

  have been working on additional steps—we will have something back to you within two weeks

  outlining our approach.” Id. Facebook also followed up with Patil to schedule the meeting about

  using Facebook’s internal data to monitor speech on its platforms. Id.

         367.    Waldo admits that, during the July 23 call, “we asked for an update,” and that it

  was probably Dr. Murthy who asked for it. Waldo Dep. 256:20-23.




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           368.   Waldo does not dispute that he asked “all platforms” to provide a similar “update”

  on new or additional steps to censor misinformation in light of the Advisory, and that “all

  platforms” means “Facebook, Twitter, Instagram, and YouTube, and Google.” Id. at 257:10-

  258:9.

           369.   On July 19, 2021, a few days after the President’s “They’re killing people”

  comments, Rob Flaherty of the White House emailed Dr. Murthy to put him in touch with an

  operative for the Democratic National Committee who works on misinformation and

  disinformation issues. Waldo Ex. 22, at 3. Flaherty wrote: “Vivek – wanted to link you with Jiore

  Craig, who’s been a critical leader of the DNC’s misinfo work for a long time, but also has been

  helping us think through mis/dis on the COVID side. I thought it would be great for you both to

  connect as OSG charts out next steps.” Id. Eric Waldo followed up to schedule a Zoom meeting

  on July 22 between Ms. Craig of the DNC and key members of the OSG’s staff. Id. at 1.

           370.   On August 18, 2021, Facebook again reported back to OSG about additional

  censorship actions against misinformation “superspreaders.” Waldo Ex. 24, at 1. Facebook stated,

  “Eric and DJ – flagging this post for you and for Surgeon General Murthy. This details how we

  are approaching content from the disinfo dozen.” Id. Facebook sent the same update to Rob

  Flaherty of the White House on the same day. Id. at 2.

           371.   The post was entitled, “How We’re Taking Action Against Vaccine

  Misinformation Superspreaders.” Id. at 1. The post detailed a long list of censorship actions taken

  against the “Disinfo Dozen,” including removing over three dozen pages, groups and accounts

  linked with them; imposing additional penalties on another two dozen pages, groups, and accounts

  linked with them; applying penalties to some of their website domains so that third parties posting

  their content will be deamplified; and removing the remaining violating content. Id. at 1.




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         372.    As Waldo acknowledges, this was the “second report that Facebook has sent [OSG]

  after that July 23rd meeting where they're reporting back about actions taken against the Disinfo

  Dozen.” Waldo Dep. 268:12-16.

         373.    On August 20, 2021—two weeks after the August 6 email in which Waldo had

  requested a report within two weeks on Facebook’s new or additional steps to remove

  misinformation in light of the Health Advisory—Nick Clegg sent a long, detailed email to Dr.

  Murthy, Waldo, and DJ Patil, detailing Facebook’s additional censorship actions taken as a result

  of the Advisory. Waldo Ex. 25, at 1-3.

         374.    In the August 20 email, Clegg noted that Dr. Murthy had “asked for an update on

  existing and new steps that Facebook is taking.” Id. at 1. Clegg noted that Facebook was taking

  new steps in response to the pressure from the White House and Surgeon General since July 15

  and 16: “In this update, we describe … further policy work to enable stronger action against

  persistent distributors of vaccine misinformation.” Id.

         375.    In a lengthy section headed “Limiting Potentially Harmful Misinformation,” Clegg

  provided five bullet points and four sub-bullet points detailing expanded efforts of censorship by

  Facebook taken in response to the Advisory. Id. at 2. These included, among others, “ expanding

  our COVID policies to further reduce the spread of potentially harmful content”; “increasing the

  strength of our demotions for COVID and vaccine-related content that third-party fact-checkers

  rate as ‘Partly False’ or ‘Missing Context’”; “making it easier to have Pages/Groups/Accounts

  demoted for sharing COVID and vaccine-related misinformation”; and “strengthening our existing

  demotion penalties for websites that are repeatedly fact-checked for COVID or vaccine

  misinformation content shared on our platform.” Id. at 2. Clegg also included a report of

  additional actions taken against the Disinfo Dozen. Id. Clegg also reporteded that Facebook




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   “continue[s] to experiment with signals that we can use … to demote content that we predict will

   contain low quality information.” Id.

          376.    In another long section entitled “Increasing Transparency,” Clegg detailed a list of

   actions taken by Facebook to share data about the reach of misinformation on its platforms, per

   federal demands. Id. at 2-3; see also Waldo Dep. 269:20-277:8 (reviewing the content of the

   August 20 email in detail).

          377.    Waldo agrees that this email is “a report back to [OSG’s] request for report in two

   weeks related to actions they took in respect to the advisory.” Waldo Dep. 270:19-23.

          378.    Waldo responded to Clegg by stating that “we look forward to continuing to move

   forward together with urgency and solutions during these extraordinary times.” Waldo Ex. 25, at

   1. The phrase “urgency and solutions” was intended to push Facebook to increase its anti-

   misinformation efforts: “I was hoping that Facebook would continue to move. Urgency means,

   you know, that they would take this seriously, and solutions means that they would also come with

   real solutions to the problems and not just pretend to solve problems.” Waldo Dep. 277:23-278:3.

          379.    Three days later, on August 23, 2021, Rob Flaherty of the White House emailed

   Facebook, asking for a report on how they intended “to promote” the FDA’s approval of the Pfizer

   vaccine and noting that the White House “[would] appreciate a push” of the vaccine information

   using specific “suggested language from [the White House].” Waldo Ex. 27, at 2. Facebook

   responded the same day with an additional report on new steps to remove vaccine misinformation:

   “We’re … updating our misinformation policies to remove the specific claims that ‘there are no

   FDA-approved vaccines’ and ‘the Pfizer vaccine is not FDA-approved.’ We’ll also continue to

   look for claims that are no longer accurate given the approval today.” Id. at 1. Facebook forwarded




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   this report on increasing censorship to Waldo at OSG as well. Id.; see also Waldo Dep. 280:1-

   281:24.

          380.    On September 18, 2021, Facebook sent Eric Waldo and Rob Flaherty another bi-

   weekly report, and also noted that “I’m sure you also saw yesterday’s story in the WSJ about the

   spread of COVID-19 misinformation in comments on Facebook,” which Facebook disagreed with

   and offered to discuss. Waldo Ex. 30, at 1. Flaherty responded, “Happy to talk about it, Brian.

   Would be interested to see, as we have long asked for, how big the problem is, what solutions

   you’re implementing, and how effective they’ve been.” Id. Facebook promised, “we will circle

   back over the next few days to brief.” Id.

          381.    On September 29, 2021, Google emailed Eric Waldo to “share an update we

   recently made to YouTube’s policies pertaining to vaccine-related misinformation.” Google

   reported: “We just announced that we will be introducing a new policy that prohibits content that

   includes harmful misinformation about the safety, efficacy, or ingredients for currently

   administered vaccines…” Waldo Ex. 31, at 1.

          382.    On October 19, 2021, Rob Flaherty emailed Facebook, copying several White

   House officials and Eric Waldo, and asked Facebook to “connect on what the admin’s plans are

   for the 5-11 vaccine rollout.” Waldo Ex. 32, at 1. The “5-11 vaccine rollout” refers to the approval

   of vaccines for children ages 5 to 11 years old. Waldo Dep. 298:20-23.

          383.    Flaherty requested that Facebook report on its censorship plans for claims on social

   media about the authorization of vaccines for children ages 5 to 11: “We’d like to talk about what

   we’re seeing as the biggest headwinds we’re going to face, and discuss what you all are planning

   as we move into this next phase. We remain concerned about mis- and disinformation on feed and




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   groups, and the wide reach of hesitancy-inducing content across your platform.” Waldo Ex. 32,

   at 1.

           384.   Facebook responded, agreeing to the meeting: “we’d welcome the opportunity.

   Adding Felicia on our end to help coordinate.” Waldo Ex. 32, at 1.

           385.   Waldo states that he does not recall whether this meeting occurred or if he

   participated, but he agrees that the meeting probably occurred: “Probably.           If they added

   schedulers, usually those meetings happen.” Waldo Dep. 300:14-23.

           I. The Surgeon General and White House Hammer Facebook.

           386.   On October 28, 2021, the Washington Post ran a story based on information from

   Frances Haugen reporting that “Facebook researchers had deep knowledge of how coronavirus

   and vaccine misinformation moved through the company’s apps, according to documents

   disclosed by Facebook whistleblower Frances Haugen.” Waldo Ex. 33, at 1.

           387.   In response to the article, on October 29, Surgeon General Murthy issued a series

   of Tweets from his official Twitter account demanding that Facebook increase censorship and give

   outside researchers access to its data. Waldo Ex. 33, at 1. In the Tweet thread, Dr. Murthy stated:

   “I was deeply disappointed to read this story. Health misinformation has harmed people’s health

   and cost lives. In the Surgeon General’s Advisory on Health Misinformation, I stated clearly that

   tech platforms have a responsibility to improve our health information ecosystem. What continues

   to be lacking from Facebook and other tech companies is transparency and accountability. Only

   the companies understand the full extent of misinformation’s spread and impact – yet they have

   not yet shared this data with independent researchers and the public. Without this critical data, it

   is much harder to design the right interventions or hold the platforms accountable. … We must

   demand Facebook and the rest of the social media ecosystem take responsibility for stopping health




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   misinformation on their platforms. The time for excuses and half measures is long past. We need

   transparency and accountability now. The health of our country is at stake.” Id. Dr. Murthy

   repeated the mantras “transparency” and “accountability,” threatening that the federal government

   would “hold the platforms accountable” for misinformation. Id.

          388.    This Tweet thread reflects Dr. Murthy’s own words, as he “made the final and

   substantial edits” to the Tweets. Waldo Dep. 303:25-304:17.

          389.    Waldo agrees that the Twitter thread demands “transparency and accountability

   around health misinformation, especially vis-à-vis the social media organizations,” and “demands

   that Facebook and the other platforms do more” to “stop[] health misinformation.” Id. at 305:6-

   22. “Lots of work went into” crafting that message, according to Waldo. Id. at 306:7-8.

          390.    On October 28, 2021, the same day as the Washington Post article, Rob Flaherty

   emailed Brian Rice of Facebook a hyperlink to the article. The only text in the email was the

   subject line, which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2.

          391.    Facebook responded to Flaherty by stating, “nothing in the story is inconsistent

   with what we briefed on,” and providing its account of the facts underlying the story. Id. at 1.

   Facebook then forwarded this response to Waldo and the OSG, noting that “I saw the Surgeon

   General’s reaction on Twitter,” and asking for “a longer conversation next week” about the issue.

   Id.

          392.    Waldo describes both the Surgeon General’s public Tweet threat, and Rob

   Flaherty’s private email to Facebook, as different ways of “hitting up Facebook” about the Frances

   Haugen article: “this was one of the most popular articles in all of news that week, so I'm not

   surprised that people who care a lot about this issue were certainly hitting up Facebook about it.”

   Waldo Dep. 307:13-22.




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           393.        On October 28, 2021, Nick Clegg also emailed Dr. Murthy and asked for a meeting

   to discuss the “intense debate that’s been prompted by the documents disclosed by a former

   employee.” Waldo Ex. 36, at 2. Waldo responded on behalf of the OSG, stating that “we have

   seen the recent public reports around Facebook and misinformation. We are certainly concerned

   about what we are seeing, given our emphasis on health misinformation in our advisory and the

   ongoing conversations our teams have been having. As has been the case, you’ll continue to see

   us raising the issue of health misinformation in public and in private as a critical public health

   issue.” Id. at 1.

           394.        Regarding his reference to “in private,” Waldo admits that this refers to “closed-

   door meetings” with platforms like Facebook: “in the government, you're not always just doing a

   panel that's open press, you're meeting with stakeholders … in closed-door meetings….” Waldo

   Dep. 312:13-16. The Surgeon General’s Office was continuously pushing for action against health

   misinformation “in public and private” meetings with stakeholders: “talking about health mis- and

   disinformation was in our talking points of when we talked to stakeholders in public and private.”

   Id. at 313:8-11.

           395.        The next day, October 29, 2021, Facebook sent a long email to Rob Flaherty, Eric

   Waldo, and several other White House officials referring back to an October 25 meeting about

   vaccines for children ages 5-11. Waldo Ex. 37, at 3-4; Waldo Dep. 315:8-316:15. The email

   reported to the White House and OSG a “detailed description of [Facebook’s] plans” for the

   approval of vaccines for children. Id. at 4. The plans included immediately updating policies to

   censor claims relating to vaccination of children: “As discussed, soon as the EUA is issued, we

   will also be able to apply claims from our current misinfo policies for COVID-19 vaccines to

   include claims about child vaccinations.” Id.




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           396.    Facebook also noted that it was relying directly on the CDC to decide what to

   censor: “We were able to make this change based on the conversation we had last week with the

   CDC…. There are several claims we will be able to remove as soon as the CDC debunks them.”

   Id.

           397.    Facebook then asked federal officials to provide a federal health authority to dictate

   what content would be censored on Facebook’s platforms: “We expect the approval of COVID

   vaccines for kids aged 5-11 will be another significant peak of new misinformation claims. Our

   policy allows us to take action against this content once those claims have been debunked and

   confirmed harmful by a public health authority. We’re committing to addressing these quickly; to

   do so effectively, we will need a channel to a health expert with whom we can discuss these claims

   in real time. Is this something we could partner on, and if so, would your team be able to connect

   us with a point person?” Id.

           398.    On November 4, 2021, Facebook followed up again to OSG and the White House

   with additional reports of censoring misinformation: “Last Friday, we updated our misinformation

   policies for COVID-19 vaccines to make clear they apply to claim about children,” identifying a

   list of specific claims. Id. at 1.

           399.    Facebook made clear that the CDC was serving as the “health expert” who was

   dictating what could be said on Facebook’s platforms “in real time”: “We’re grateful to our

   partners at the CDC for helping get these debunked in advance of the announcement, and we look

   forward to staying connected on emerging COVID misinformation trends.” Id. at 1, 3.

           J.      The Surgeon General Threatens Regulation to Increase Censorship.

           400.    On December 21, 2021, Dr. Murthy gave a podcast on the Omicron variant in which

   he again publicly threatened to hold the social-media platforms “accountable” for not censoring




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   misinformation: “number one, we have to track down where this misinformation is coming from

   and understand how to hold platforms accountable, new technology platforms that are driving so

   much of the misinformation spread…. [B]y allowing this misinformation to proliferate on their

   sites, they're subjecting people in the United States and around the world to extraordinary harm,

   and they're doing so with little accountability at this moment and really with very little

   transparency. That can't be allowed to continue because it's putting everyone's health at risk.”

   Waldo Ex. 38, at 4 (Audio Tr. 7).

          401.     Dr. Murthy demanded “aggressive action” from the platforms to censor speech: “I

   do think that part of what they have to do, the platforms is take aggressive action against people

   who are intentionally spreading misinformation.” Id.

          402.     Waldo agrees that this message is “consistent with his previous statements as well

   as the content within the advisory itself.” Waldo Dep. 321:22-24.

          403.     As Waldo concedes, Dr. Murthy’s threat to hold platforms “accountable” and his

   demand for “aggressive action” to censor misinformation “is consistent with the messaging we’ve

   reviewed all day today of the advisory, the rollout, the public statements” by OSG. Id. at 322:22-

   24.

          404.     On January 3, 2022, Dr. Murthy participated in Alyssa Milano’s podcast. Waldo

   Ex. 39, at 1.    In the podcast, Dr. Murthy stated that the “sophistication with which this

   misinformation is spreading is truly unprecedented, and a lot of has been enabled by technology

   platforms in the social media which enable the spread, and … the platforms need to do a lot more

   is step up, to be accountable for making their spaces safer.” Id. at 3 (Audio Tr. 2). He also stated,

   “finally, I just want to come back to the technology companies for a moment here, because unless

   those platforms step up and make their spaces safer and reduce the amount of misinformation on




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   their site, it's going to be pretty tough to get a full handle on this spread of misinformation.” Id. at

   5 (Audio Tr. 4).

          405.    Immediately after these comments, the podcast broadcast public comments by

   President Biden, stating: “Joe Biden: The unvaccinated are responsible for their own choices, but

   those choices had been shulled [sic] by dangerous misinformation on cable TV and social media.

   You know, these companies … are making money by ped[dling] lies and allowing misinformation

   that can kill their own customers and their own supporters. It's wrong. It's immoral. I call on the

   purveyors of these lies and misinformation to stop it. Stop it now.” Id.

          406.    Waldo agrees that this podcast is “aligned with … the advisory and the other public

   statements we’ve seen so far.” Waldo Dep. 327:8-10.

          407.    Dr. Murthy also called for the platforms to “go after people who are superspreaders

   of misinformation on these sites,” which Waldo agrees is “entirely consistent … with the messages

   that Dr. Murthy was sharing about health mis- and disinformation.” Id. at 329:23-330:18.

          408.    On February 14, 2021, Dr. Murthy participated in a panel discussion hosted by the

   Rockefeller Foundation. Waldo Ex. 41. Dr. Murthy stated, “what feels different in this moment

   compared to ten years ago or [twenty] years ago is this speed, scale, and sophistication with which

   this misinformation is spreading and much of it has been enabled, in fact, by technology platforms,

   and we talk to people about where they're encountering misinformation. It's off and on social media

   channels and other tech platforms. … We need certainly technology companies to step up and do

   more, to help reduce this spread of misinformation, and to be transparent with the public about

   how much misinformation is being transacted on their sites and whether their methods of

   addressing it are working or not. We do not have enough transparency on that front and that is

   hindering us in our response of misinformation.” Id. a 6-7 (Audio Tr. 9-10).




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          409.    Waldo agrees that this is “a consistent message with what we've seen in previous

   public statements, interviews, as well as the advisory itself.” Waldo Dep. 331:23-25.

          410.    In the same panel, Dr. Murthy stated that there is a role for government to set “safety

   standards” when it comes to misinformation, which directly suggests government regulation and

   foreshadowed the OSG’s forthcoming Request for Information (RFI): “And, of course, there's a

   role for government here as well to set safety standards, to push for transparency and

   accountability, particularly from platforms.” Waldo Ex. 41, at 8 (Audio Tr. 11). Dr. Murthy then

   immediately foreshadowed the OSG’s forthcoming Request for Information (RFI) as a step toward

   government “setting safety standards”: “There are steps we are working now that we will be -- you

   know, have more to say about it in the … coming weeks and months ahead, to try to, in fact, gather

   even more information about the impact of health misinformation on health professionals of the

   public and also in the role that technology companies may be playing on that on that front.” Id.

   Less than a month later, the OSG issued a formal RFI for information about misinformation on

   social media platforms.

          411.    On March 3, 2021, the OSG issued a formal RFI in the Federal Register, seeking

   information from social-media platforms and others about the spread of misinformation on social

   media. Waldo Ex. 42 (87 Fed. Reg. 12712). The RFI is entitled, “Impact of Health Misinformation

   in the Digital Information Environment in the United States Throughout the COVID–19 Pandemic

   Request for Information (RFI).” Id. at 1.

          412.    “Kyla [Fullenwider] was the primary driver on the RFI from a content expert

   perspective.” Waldo Dep. 338:22-23. Though she was employed at U.S. Digital Response, “she

   was doing work on behalf of the Surgeon General.” Id. at 340:8-9. Kyla Fullenwider is also




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   responsible for receiving and reviewing the responses to the RFI. Id. at 362:6-10. “Kyla was the

   subject matter expert who was guiding this RFI process.” Id. at 362:15-17.

          413.    The RFI defines “technology platforms” very broadly, indicating that the Surgeon

   General is expanding its attempts to control the spread of so-called “misinformation”:

   “Technology platforms include the following: General search engines, content sharing platforms,

   social media platforms, e-commerce platforms, crowd sourced platforms, and instant messaging

   systems.” Waldo Ex. 42, at 2; see also Waldo Dep. 341:14-342:7.

          414.    Under the heading “Information About Technology Platforms,” the RFI seeks a

   long series of detailed information about misinformation on such platforms, including

   “Information about how widespread COVID–19 misinformation is on individual technology

   platforms,” Waldo Ex. 42, at 2; “any aggregate data and analysis on the prevalence of COVID–19

   misinformation on individual platforms including exactly how many users saw or may have been

   exposed to instances of COVID–19 misinformation,” id. at 2-3; and “[a]ny aggregate data and

   analysis on how many users were exposed, were potentially exposed, or otherwise engaged with

   COVID–19 misinformation,” id. at 3.

          415.    The RFI also seeks detailed information about censorship policies and how they are

   enforced: “Information about COVID–19 misinformation policies on individual technology

   platforms,” and “[a]ny aggregate data and analysis of technology platform COVID–19

   misinformation policies including implementation of those policies and evaluations of their

   effectiveness.” Id. at 3.

          416.    The RFI also seeks detailed information about disfavored speakers on social-media

   platforms, requesting “[i]nformation about sources of COVID–19 misinformation,” including

   “[i]nformation about the major sources of COVID–19 misinformation associated with exposure.”




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   Id. at 3. The RFI makes clear that “source” refers to speakers on platforms: “By source we mean

   both specific, public actors that are providing misinformation, as well as components of specific

   platforms that are driving exposure to information.” Id. at 3.

          417.    Especially in light of Dr. Murthy’s prior public statements about the government

   “setting safety standards” for misinformation, Waldo Ex. 41, at 8 (Audio Tr. 11), the RFI carries

   a clear implied threat of future regulation against the social-media and other technology platforms.

          418.    Contemporaneous media coverage portrayed the RFI as a “demand” for

   information from platforms. See, e.g., Waldo Ex. 44, at 1 (Brad Dress, Surgeon General Demands

   Data on COVID-19 Misinformation from Major Tech Firms, The Hill (Mar. 3, 2022, 11:24 am)).

          419.    Max Lesko, the Surgeon General’s Chief of Staff, also sent the RFI to several major

   tech platforms with a formal letter requesting that they respond. Waldo Dep. 348:20-22. He sent

   nearly identical letters to Facebook, Google, LinkedIn, Twitter, YouTube, and Microsoft. Waldo

   Exs. 46, 47, 48, 49, 50, 51. Each letter was directed to the CEO of the platform over General

   Murthy’s signature. Id.

          420.    Each letter stated, “The proliferation of health misinformation during the pandemic

   has been both extensive and dangerous. … It is clear that we must do everything we can to address

   this threat.” Id. Each letter referred to the July 15, 2021 Health Advisory, noting that “a large

   proportion of health misinformation is spread through technology platforms,” and “my Advisory

   includes a call for technology companies to join this broader effort to create a safer, healthier

   information environment.” Id. Each letter advised the social-media platforms of the RFI, and

   formally “request[ed] that your company contribute to the RFI…. Specifically, I am requesting

   responses from companies about the extent and spread of COVID-19 misinformation on their




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   technology platforms, policies to address COVID-19 misinformation and their effectiveness, [and]

   sources of COVID-19 misinformation….” Id.

          421.    On May 3, 2022, Facebook notified the White House and OSG that it had “filed a

   response to the Surgeon General’s rfi on Covid misinformation and would be happy to discuss at

   the appropriate time.” Waldo Ex. 54, at 2. To date, the OSG has never made this or any other the

   responses to its RFI public.

          422.    Shortly after the RFI was issued, on March 11, 2022, GQ magazine published an

   interview with Dr. Murthy. Waldo Ex. 52. In this interview, Dr. Murthy stated, “we all have a

   responsibility to do everything we can to reduce the spread of misinformation… Whether you have

   one million followers on social media, or you’ve got 10 followers, we all have platforms and

   people in our lives who trust us.” Id. at 6. He called on platforms like Spotify (which was then

   being criticized for hosting Joe Rogan’s podcast) to censor health misinformation: “If you’re

   running a platform, whether it’s a Spotify or another social media platform, you’ve got to think

   about, how do I create a healthy information environment here? How do I create rules and a culture

   that promotes accurate information?” Id. He emphasized that “a platform has the ability, the

   opportunity, and the responsibility to create rules and a culture that supports the dissemination of

   accurate information and that reduces the spread of misinformation.” Id. at 7.

          423.    Echoing his prior comments about “setting safety standards” by government, Dr.

   Murthy compared censorship “rules” for misinformation to speed limits: “We have speed limits

   on the road because we know that sometimes if you drive too fast, that can have an impact on

   somebody else’s health and wellbeing. If we’re going to live together in a society, we’ve got to

   take steps and observe certain rules to help protect other people. That’s true here as well. Platforms




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   have an opportunity to help shape that environment in their own way. We all do. That’s our

   responsibility at a time like this.” Id.

           K. The White House and Surgeon General Continue Oversight of Censorship.

           424.    On June 22, 2022, Facebook again emailed Waldo, Rob Flaherty, and other White

   House officials with an update on Facebook’s increased censorship. Waldo Ex. 53, at 1. In the

   email, Facebook stated that it “[w]anted to ensure that you were aware of our policy updates

   following the early childhood vaccine approvals. As of today, all COVID-19 vaccine related

   misinformation and harm policies on Facebook and Instagram apply to people 6 months or

   older….” Id. Facebook indicated that it had again relied on the CDC to dictate what claims people

   can post on Facebook: “We expanded these policies in coordination with the CDC and ensured

   that we also included false claims that might be connected to children….” Id.

           425.    Throughout this period, at the federal officials’ request, Facebook continued to send

   bi-weekly “Covid Insights Reports” reporting on COVID-19 related misinformation on its

   platforms to the White House and OSG. See, e.g., Waldo Ex. 54, at 2-4. In the spring of 2022,

   Facebook repeatedly asked the federal officials if it could discontinue or reduce the frequency of

   these reports, which it had been sending for over a year. Id. at 2. Finally, on June 13, 2022,

   Facebook notified the White House and OSG that “we will plan to discontinue these unless we

   hear from you that this information continues to be valuable.” Id. at 1. Rob Flaherty responded

   the same day, requesting that Facebook continue to send the reports and further asking Facebook

   to report on how it would handle misinformation for early-childhood (under age 5) vaccines: “It

   would be helpful to continue to get these as we start to ramp up under 5 vaccines. Obviously, that

   has a potential to be just as charged. Would love to get a sense of what you all are planning here.”




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   Id. Facebook continued to send the reports as requested, including two reports on July 17, 2022,

   and promised to continue sending them. Id.

   IV.    The CDC and the Census Bureau: BOLO and Authoritative Fact-Checking.

          426.    In addition to the public and private pressure campaigns from the White House and

   the Surgeon General’s Office, the CDC and the Census Bureau have engaged in a long censorship

   campaign together, enabled by the White House’s pressure on platforms to cooperate with the

   federal government. Working closely with Census, the CDC flags supposed “misinformation” for

   censorship on platforms (sometimes using the acronym “BOLO,” “Be On the Lookout”), and

   exercises full authority to dictate what health claims will be censored on social media platforms.

          A.      The CDC’s Regular Communication with Social Media Platforms.

          427.    Carol Crawford is the division director for the division of Digital Media within the

   CDC Office of the Associate Director for Communication. Crawford Depo. 11:7-9.

          428.    According to Crawford, her “division provides leadership for CDC's web presence.

   We provide leadership for CDC's social media presence.” Id. 11:14-16. Crawford is “the director

   of that work. I determine strategy, objectives, oversee work.” Id. 11:21-22.

          429.    Before April 2022, Crawford was “the branch chief of the Digital Media Branch

   within the Division of Public Affairs, and most of the roles that our division currently performs,

   web and social media, were in that branch.” Id. 15:3-6.

          430.    Crawford is “the main person that was the CDC point of contact to talk to Facebook,

   Twitter and the platforms since our job was to lead digital media.” Id. 249:1-4.

          431.    Crawford has regular contact with social-media platforms, especially about

   COVID-19 issues: “We started regular contact with the [platforms] at the beginning of the COVID




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   outbreak to exchange information about COVID, and most of the contact since then has been

   around COVID or other high-priority things, but mostly COVID.” Id. 16:13-17.

          432.    Crawford had only “very occasional” contacts with the platforms before COVID-

   19, id. 17:8-9; but then she and the CDC “started talking to some of them in February and March

   of 2020,” at the beginning of the pandemic. Id. 18:5-6.

          433.    At this time, CDC leaders were asking Crawford’s group if they were in contact

   with the platforms: “there were a lot of people asking staff, or other staff, are we -- were we in

   contact with the groups, and do we have any arrangements.” Id. 18:19-23.

          434.    Crawford communicated with platforms by email, phone, and in meetings and calls.

   Id. 20:1-19. She “had points of contact at several of them, and we would have meetings when we

   needed to talk. So we arranged calls.” Id. 20:17-19.

          B.      CDC’s and Census’s Pressure and Collusion With Facebook/Meta.

          435.    On February 6, 2020, Facebook emailed State Department officials, noting that

   “Facebook has taken proactive as well as reactive steps to control information and misinformation

   related to Corona virus which includes … removal of misinformation.” Crawford Ex. 2, at 4. The

   email was forwarded to Crawford, who reforwarded to her contacts at Facebook. Id. at 3.

   Facebook proposed to Crawford that “Facebook team would create a Coronavirus Page serving up

   content that exists on other organizations’ FB pages including the CDC,” and would direct users

   to “curated content from trusted sources.” Id. at 3.

          436.    On February 7, 2020, Crawford agreed to the proposals, and she also proposed that

   “There could be times we might want to address widespread myths like mask use or new issues.”

   Id. at 2. She discussed with Facebook the same day. Id. at 1.




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          437.     On March 3, 2020, Facebook emailed Crawford and noted that Facebook intended

   to “support governments … with their response efforts on COVID-19,” including the “goal” to

   “remove misinformation.” Crawford Ex. 3, at 1.

          438.     Crawford “talked pretty regularly” with Facebook “around this time,” i.e., March

   2020. 37:7-9.

          439.     Crawford recalls having discussions of misinformation with Facebook “in the fall

   of 2020.” Crawford Dep. 38:7-8. These included discussions of how to combat “growing”

   misinformation about COVID-19: “I can recall us generally saying things to the effect of …

   misinformation is really growing, or … what do you think we could be doing to address it? That

   kind of conversation.” Id. 38:11-15.

          440.     On January 25, 2021, Facebook emailed Crawford the first of an ongoing, biweekly

   series of CrowdTangle reports, which report on “top engaged COVID and vaccine-related content

   overall across Pages and Groups.” Crawford Ex. 6, at 2. The email emphasized in bold the anti-

   vaccine content listed in the report, including “Reports of healthcare workers refusing the vaccine,”

   “Posts about alleged vaccine-related deaths,” and “News and reports of severe vaccine side

   effects.” Id. Facebook indicated that it was sending this report in response to a prior conversation

   with Crawford in which such data was requested: “I am following up on our conversation several

   weeks ago about providing more detailed reporting from our CrowdTangle team.” Id.

          441.     Crawford responded that the report “looks wonderful and much appreciated.” Id.

   at 1. She said that she “will be extending our distribution list” for the report. Id. at 1. She also

   noted, “One group we’ll be adding” to the distribution list for the CrowdTangle reports “is the

   Census group who hopefully will soon start their project with us.” Id. And she stated, “the wide

   group of those looking at misinfo will want this.” Id.




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          442.    CrowdTangle is “a social media listening tool for Meta properties … [l]ike

   Instagram and Facebook.” Crawford Dep. 50:3-6. “[S]ocial media listening reports show themes

   … of discussion on social media channels.” Id. 52:10-12. The CrowdTangle report is “a search

   of content on social media, and a summary of the higher volume conversations.” Id. 53:8-10. It

   is “a report of the most talked about topics on social media during this time period.” Id. 54:13-15.

          443.    The CrowdTangle reports that Facebook regularly emailed to CDC were only one

   of two forms of access to CrowdTangle. Since “March or April 2020,” Facebook had also allowed

   CDC to “directly log into CrowdTangle and run our own reports or searches.” Id. 77:9-13.

          444.    According to Crawford, the CrowdTangle reports “would help us understand what

   was being discussed on social media about COVID, which helps us look for gaps in information,

   confusion about facts, things that we might need to adjust our communication materials for.” Id.

   57:24-58:3.

          445.    Crawford confirms that the CDC had privileged access to CrowdTangle from early

   2020, and government officials used the non-public “social media listening tool” to monitor and

   track private speech about COVID-19 on social media: “we had access to go in directly to

   CrowdTangle and run in reports … from early 2020. … And I mentioned that our research team

   … searched in it and looked in it to create their reports, and I believe other teams did too.” Id.

   147:12-18.

          446.    The CDC also used other “social media and listening tools” to monitor Americans’

   speech on social media: “we did searches in CrowdTangle, the same way we do searches in other

   social media and listening tools that we have to create, to understand what's being discussed in the

   environment, to update our communication material.” Id. 148:11-15.




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           447.    The CDC’s “listening tools” included “Meltwater reports,” where “Meltwater is

   sort of like CrowdTangle but for all the platforms.” Id. 154:13-16. But CrowdTangle is superior

   to Meltwater for monitoring Facebook and Instagram because it provides privileged access to some

   online speech: “CrowdTangle can see more on the Meta properties. So it’s nicer if you’re just

   looking at Meta properties. Meltwater gives you social media at large.” Id. 154:24-155:2.

           448.    Related to the bolded categories of supposed misinformation in Facebook’s

   CrowdTangle report, Crawford claims that she does not have specific recollection about the issues,

   but she admits that “I do recall generally discussing misinformation with Facebook around this

   time.” Id. 58:11-13.

           449.    Crawford added Census Bureau officials to the distribution list for the

   CrowdTangle reports because “[t]hey were going to start working with the CDC regarding

   misinformation.” Id. 58:19-20; see also id. 61:11-12 (“At some point I recall adding Census to

   the distr[ibution]”).

           450.    From then on, Facebook regularly sent Crawford biweekly “CrowdTangle content

   insights report[s].” Crawford Ex. 7, at 1-4. With each report, Facebook would highlight in bold

   the high-engagement misinformation-related issues for the CDC from the two-week period. Id.

   In each email, Facebook would introduce these misinformation-related posts by noting something

   like, “However, posts falling into the following themes also garnered high engagement.” Id.

           451.    The CrowdTangle reports survey content that is not publicly available, such as

   “personal Group posts.” Id. at 2.

           452.    Crawford is “sure that general discussions” with Facebook addressed “that there

   was a lot of information on vaccines, which is one of the bolded words [in the CrowdTangle

   Reports], for example. I am sure that did occur.” Crawford Dep. 64:19-22.




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          453.    On January 27, 2021, Facebook sent Crawford a recurring invite to a “Facebook

   weekly sync with CDC (CDC to invite other agencies as needed).” Crawford Ex. 36, at 1. A large

   number of Facebook and CDC officials were included on the invite, including Liz Lagone,

   Facebook’s content-moderation officer who communicated with the CDC. See Id. The agenda

   for the recurring meeting included “Misinfo collab status.”         Id.   It also included “CDC

   needs/questions.” Id.

          454.    Crawford confirms that CDC frequently had weekly meetings with Facebook:

   “There were definitely times that we were talking weekly.” Crawford Dep. 226:20-21; see also,

   e.g., Crawford Ex. 39, at 1 (recurring calendar invite for a meeting with the same agenda and

   participants on May 6, 2021).

          455.    On March 10, 2021, Crawford sent Facebook an email seeking information about

   “Themes that have been removed for misinfo.” Crawford Ex. 44, at 3. She stated, “We mentioned

   this on the call last week and you said you’d be sending something as other had asked – is that

   available yet by chance?” Id. She clarified: “You mentioned that WH and HHS had asked so you’d

   get it to us,” and responded “Yes” to Facebook’s question, “Are you looking for types of COVID-

   19 misinfo we remove?” Id.

          456.    Facebook noted, that “[w]e are setting up a meeting with WH/HHS to discuss more

   likely later this week or early next. Perhaps a CDC rep could participate….” Crawford Ex. 44, at

   2. Crawford noted, “They want to see what you guys proactively have removed that might not be

   in those [CrowdTangle] reports…. My guess is a short meeting with Lis Wilhelm[’s] vaccine

   confidence team is what is needed if FB is willing to do it.” Crawford Ex. 44, at 2.

          457.    In this exchange, CDC was “wondering if [Facebook] had info on the types of posts

   that were removed and the themes because they were worried that we could only see the live posts




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   and so we wouldn't know if there was also confusion about other areas that had been removed.”

   Crawford Dep. 258:6-11. CDC had “asked on the meeting if they had this data, like, because we

   wanted it. And I think she said, Oh, we did something like this for the White House or HHS.” Id.

   260:6-9.

          458.    From this, Crawford understood that HHS and the White House were having similar

   meetings with Facebook: “I do think that they did have meetings with the agencies.” Id. 261:10-

   11.

          459.    On March 25, 2021, Crawford and other CDC officials met with Facebook. Ex. S,

   at 1. The day before the meeting, March 24, 2021, Facebook emailed Crawford and noted, “[a]s

   we discussed last week, we will present on COVID-19 misinformation on this session/meeting and

   have some of our team that is focused on that workstream provide a briefing on the current policies

   and approach as well as the current trends we are identifying.” Id. at 2. The official also noted

   that Facebook would have a “Misinformation Manager” and Liz Lagone, a content-moderation

   official for Facebook who “will be leading from our side on misinformation briefing for your team.

   They all work on our COVID-19 policies.” Id. at 1. Crawford responded, attaching a Powerpoint

   slide deck and stating, “This is a deck Census would like to discuss and we’d also like to fit in a

   discussion of topic types removed from Facebook.” Id. She also noted that two Census Bureau

   officials (Zack Schwartz and Jennifer Shopkorn) and two Census Bureau contractors (Sam Huxley

   and Christopher Lewitzke) would attend the meeting. Id.

          460.    The “deck Census would like to discuss” was attached to the email, id. at 3-16, and

   it contained an overview of “Misinformation Topics” including “concerns about infertility,

   misinformation about side effects, and claims about vaccines leading to deaths.” Id. at 4. “These

   topics were selected due to high volume, continued public discussion, and high-profile coverage,”




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   according to the slide deck. Id. For each topic, the deck included sample slides and a statement

   from the CDC debunking the supposedly erroneous claim. Id. at 6-14. The slides were clearly

   designed to convince Facebook that such content should be censored. For example, with respect

   to claims of infertility, the deck provided screen shots of six specific posts on Facebook and

   Instagram, summarized similar claims, and stated: “According to CDC there is no evidence that

   fertility problems are a side effect of any vaccine, including COVID-19 vaccines.” Id. at 6-8. It

   also noted that “Several of Facebook’s fact check partners have covered this claim.” Id. at 6. The

   deck provided a similar debunking treatment for claims about other side effects from COVID

   vaccines, id. at 9-11, and claims about vaccines leading to deaths, id. at 12-14—in each case,

   providing six sample posts from real Facebook users as examples of the type of claim, and

   providing information designed to ensure that the claim would be censored. Id.

          461.    On March 30, 2021, Facebook sent Crawford an email with the subject line, “This

   week’s meeting.” Crawford Ex. 8, at 3. Crawford confirms that she was engaging in weekly

   meetings with Facebook during this time period, as well as other time periods during the COVID-

   19 pandemic: “we were meeting weekly during parts, so I imagine we were.” Crawford Dep. 68:9-

   10.

          462.    The email indicates that CDC and Facebook were repeatedly discussing

   misinformation during these weekly meetings, as Facebook stated to Crawford: “I wanted to

   surface any misinfo questions your team may have for the team that I had briefing last time. They

   are available to attend again, but also want to make sure we are answering any of your team’s

   questions.” Crawford Ex. 8, at 3.

          463.    Crawford admits that these weekly meetings involved CDC meeting with

   Facebook’s content-moderation teams: “I do recall [Facebook] bringing in people from their Trust




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   and Safety or Misinformation teams … to talk to us about misinformation at some weekly

   meetings.” Crawford Dep. 68:24-69:3.

          464.    Crawford admits that, in these meetings with Facebook content-moderation team,

   CDC inquired about how Facebook was censoring COVID-19 misinformation: “we had asked

   questions about what they were seeing in terms of misinformation and inquired about any activities

   they were undertaking. And I believe this was an offer to sort of get back to us on any of those

   questions.” Id. 69:9-13.

          465.    In response, Crawford noted that she was also communicating with Facebook

   through an alternative channel. Crawford Ex. 8, at 2 (“I added this part in yellow to our chain on

   turn.io”). She asked Facebook if they “have thoughts on how we can meet regularly with Census?

   … am I correct that your team is going to consider how you might want to engage with the

   CDC/Census team routinely and get back to us?” Id. at 2-3. She noted to Facebook: “I know you

   all have experience with Census already.” Id. at 3.

          466.    At this time, CDC had recently executed an Interagency Agreement with the Census

   Bureau to assist the CDC in addressing misinformation: “We had entered an IAA with Census to

   help advise on misinformation.” Crawford Dep. 71:3-4. Pursuant to this agreement, the Census

   Bureau provided reports to the CDC on misinformation that the Census Bureau tracked on social

   media: “they provided reports on misinformation that they were seeing to us.” Id. 71:15-17.

   “Census did provide [CDC] with the key themes they were seeing around misinformation during

   the times that they were looking at it.” Id. 72:16-19.

          467.    An IAA is “an agreement between two agencies to conduct some kind of work

   between them.” Id. 109:23-24. Under this IAA, CDC was “only engaging” with Census “on

   COVID misinformation.” Id. 110:12-13. CDC was “learning about how [Census] operated a




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   general misinformation team.” Id. 110:13-14. The IAA “let [CDC] partner with Census to learn

   how they handled misinformation and help us with the COVID misinformation. … They seemed

   to have more knowledge than we did.” Id. 111:3-6.

           468.    Facebook replied that “it would be great to have questions that may not have been

   answered from your team on misinfo. That team is very busy so it’s a good opportunity to di[g]

   deeper on that topic and especially if there are areas that are still unclear or the teams have concerns

   about.” Crawford Ex. 8, at 2.

           469.    Crawford responded that CDC “would like to have more info … about what is being

   done on the amplification-side,” and that CDC “is still interested in more info on how you analyze

   the data on removals, etc.” Id. at 2. She also noted that Census Bureau was “hoping to go over

   the deck they had and discuss how to engage on a more regular basis.” Id.

           470.    Following up, Crawford noted that Census would like to discuss the following

   topics: “It looks like the posts from last week’s deck about infertility and side effects have all been

   removed. Were those re-evaluated by the moderation team or taken down for another reason?”

   Id. at 1. This remark plainly indicates that, in the last week of March 2021, the Census Bureau

   was sharing “decks” of posts about COVID-19 misinformation with Facebook, which Facebook

   then “removed,” and CDC was following up to inquire whether the censorship occurred because

   those posts were “re-evaluated by [Facebook’s] moderation team” because of Census’s flagging,

   or for another reason. Crawford testified that she “cut and pasted” the Census Bureau’s inquiries

   on these points. Crawford Dep. 76:10.

           471.    Crawford also asked Facebook to give the Census Bureau direct access to log in to

   Facebook’s CrowdTangle tool: “Can we add the Census Team to CrowdTangle?” Crawford Ex.

   8, at 1. As Crawford noted, Facebook had “allowed [CDC] to directly log into CrowdTangle and




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   run our own reports or searches,” and she was asking Facebook to let Census “log in to

   CrowdTangle” as well. Crawford Dep. 77:4-14.

          472.    In the same email, Crawford inquired of Facebook, “One of the main themes we’re

   seeing and from the CrowdTangle report is local news coverage of deaths after receiving the

   vaccine. What’s the approach for adding labels to those stories?” Crawford Ex. 8, at 1. Thus, the

   CDC inquired of Facebook what its “approach” was to censoring local news stories about vaccine-

   related deaths. Id.

          473.    Crawford asked Facebook “[h]ow should we best engage regularly going forward

   on the Census/CDC reports.” Crawford Ex. 8, at 1. Crawford notes that Census had already been

   working with Facebook to address census-related misinformation: “we generally discussed, you

   know, how we should talk about misinformation because they had already been working with

   Census, on their own Census misinformation, and I wanted to know what was best for them for

   engaging on any topics that we might want to discuss.” Crawford Dep. 77:19-24.

          474.    Facebook answered that “[w]e are working on a proposal of how to set up a sharing

   partnership on the misinform[ation] items.” Crawford Ex. 8, at 1.

          475.    Crawford also had three-way meetings with Facebook, CDC, and Census about

   misinformation: “there were meetings where Census, myself and Facebook were on calls,” in

   which they “had general conversations about what were opportunities to address misinformation.”

   Crawford Dep. 83:6-12. In those conversations, specific topics like the removal of specific posts

   discussed in Exhibit 8 “were probably discussed,” but Crawford claims she does not “have specific

   memory of it.” Id. 83:12-14.

          476.    On April 13, 2021, Facebook followed up by emailing Crawford and proposing to

   enroll CDC and Census Bureau officials in a special misinformation reporting channel to




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   Facebook. Crawford Ex. 10, at 2. With a subject line “CV19 misinfo reporting channel,”

   Facebook wrote, “We’re working to get our COVID-19 misinfo channel up for CDC and Census

   colleagues,” and asked Crawford to confirm “if the below emails are correct for onboarding to the

   reporting channel and if there are others you’d like to include.” Id. Facebook provided nine

   emails, including five CDC officials and four Census officials or contractors, to “onboard” into

   the COVID-19 “misinfo reporting channel.” Id.

          477.    The officials who work for Reingold, including Christopher Lewitzke, “were

   contractors working with Census.” Crawford Dep. 101:10.

          478.    Crawford states that this email refers to the fact that Facebook “has a portal or

   reporting channel where you can report misinformation or threats or things from a specific log-in

   that I believe they only provide to … federal agencies.” Id. 91:23-92:2. The portal allows federal

   officials to “log onto Facebook as an administrator, and it's something that they make available to

   you as a federal agency.” Id. 95:17-19. Crawford understands that this “wasn’t something that

   was generally available” to the public but was only provided to federal officials. Id. 96:15-16.

          479.    Crawford recalls that a CDC official logged into this portal and used it to report

   “two or three posts.” Id. 92:17.

          480.    On April 23, 2021, Crawford emailed Facebook and stated that the Wyoming

   Department of Health had “mentioned … that the algorithms that Facebook and other social media

   networks are apparently using to screen out postings by sources of vaccine misinformation are also

   apparently screening out valid public health messaging, including WY Health communications.”

   Crawford Ex. 38, at 2. When she did not hear back, on April 28, she emailed Facebook again,

   “Anything you all can do to help on this?” Id. Facebook then responded and addressed the




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   problem. Id. at 1-2. The government is not amused when government-induced censorship sweeps

   in the government’s own speech.

          481.    On May 6, 2021, Crawford emailed Facebook a table containing a list of 16 specific

   postings on Facebook and Instagram, with a link and the text of each post. Crawford Ex. 9, at 1-3.

   Crawford wrote, “As mentioned, here are two issues that we are seeing a great deal of misinfo on

   that we wanted to flag for you all … These are just some example posts. … Our census team is

   copied here, has much more info on it if needed.” Crawford Ex. 9, at 1. Crawford copied Jennifer

   Shopkorn of the Census Bureau and Christopher Lewitzke, a Census Bureau contractor, on the

   email. Id.

          482.    Crawford “flag[ged]” these posts for Facebook “[b]ecause we had had

   conversations with Facebook about ways that we could address misinformation, and … one

   suggestion … that came up in that conversation was to let them know if we were seeing major

   themes that CDC had scientific information on, or had web content that would address.” Crawford

   Dep. 87:15-21.

          483.    When Crawford would “flag” such content for Facebook and other platforms, she

   knew that they would evaluate and possibly censor the content under the content-moderation

   policies: “I do know that the platforms have a variety of ways to address misinformation. They

   might tag it as something that people should look more into. I think … that they have the ability

   to control how often some of these things show up in peoples' feeds. And I do know that removing

   them is an option that they could consider.” Id. 88:7-14.

          484.    CDC’s “goal” in flagging misinformation for possible removal from Facebook “is

   to be sure that people have credible health information so that they can make the correct health

   decisions…. There were a lot of things circulating that were not accurate information about




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   COVID. And so we were trying to point out and make the credible information more available to

   users.” Id. 88:25-89:6.

          485.    CDC and Census used “the social [media] listening tools,” such as CrowdTangle,

   to identify misinformation that was “flagged” to Facebook for possible censorship. Id. 90:18-23.

   Regarding the table of 16 posts she “flagged” in her May 6, 2021 email, she stated, “these probably

   came from the social listening tools … that can consolidate examples. And we provided some

   examples of what we meant.” Id. 90:18-23.

          486.    On May 10, 2021, Crawford emailed Facebook with the subject line, “COVID

   BOLO Misinformation meetings.” Crawford Ex. 40, at 3. She wrote: “We would like to establish

   COVID BOLO meetings on misinformation and invite all platforms to join the meetings. We are

   aiming for our first one on Friday at noon. … Are there direct POCs on your end I should include

   on the invite? Happy to chat if better. THANKS!” Id.

          487.    On May 18, 2021, Facebook emailed Crawford noting that a Facebook official “has

   an agenda item” for the “CDC call this week.” Crawford Ex. 11, at 2. This official, according to

   Crawford, is a member of Facebook’s “Trust and Safety team, or the Misinformation team.”

   Crawford Dep. 103:9.

          488.    The Facebook official noted that Facebook’s “Content Policies … determine what

   we may remove or reduce and inform.” Crawford Ex. 11, at 2. She noted that “we currently

   remove false claims about face masks,” and wanted to discuss “whether there is still a high risk of

   harm from mask misinformation,” as well as “false claims about the efficacy of social distancing

   or the existence of COVID-19.” Id.

          489.    Crawford admits that the CDC provided “scientific information” that Facebook

   would use to decide whether to “remove” or “reduce and inform,” id., content under its policies:




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   “What we did provide was scientific information that I did assume that they might use to do those

   things,” i.e., “remove or reduce and inform.” Crawford Dep. 105:17-19.

          490.    The next day, May 19, 2021, Facebook emailed Crawford and noted that, for the

   weekly call that week, “here are some of the COVID content items that [Facebook’s content-

   moderation official] will be flagging for you/CDC team.” Crawford Ex. 11, at 1. She then

   provided a list of twelve specific claims, including such claims as “COVID-19 has a 99.96%

   survival rate,” “COVID-19 vaccines cause bell’s palsy,” and “[p]eople who are receiving COVID-

   19 vaccines are subject to medical experiments.” Crawford Ex. 11, at 1-2.

          491.    Facebook raised these twelve claims to get CDC’s guidance on whether they

   violated Facebook’s policies: “They were wanting our feedback on whether these things were true

   or false statements that they were seeing. Did the CDC have science around this, did we have

   content on our website.” Crawford Dep. 106:10-13. CDC would respond to debunk such claims

   if it had information: “[I]f we knew, if we had something or we had science on these items, we

   would point to it or provide them an answer.” Id. 106:19-21.

          492.    In response, Crawford indicated that “Census team members” would join the call,

   and that she might not be able to address or debunk all 12 claims on the call, because “[t]here may

   be some facts we have to get back to the group on after the meeting.” Crawford Ex. 11, at 1.

          493.    On the call referred to in the email, CDC discussed with Facebook these twelve

   claims and who at CDC might be able to address their veracity. Crawford Dep. 106:23-107-3.

          494.    According to Crawford, “Sometimes in these meetings they would ask do we know

   if this is true or false, which is what they were doing [in Exhibit 11]. And then if we knew, the

   communicators knew the answer, we would provide it. If not, I would say, we would say, I'll have

   to get back to you later, we'll talk to our SMEs,” i.e. subject-matter experts. Id. 116:7-12.




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          495.    Census Bureau officials would follow up to monitor whether Facebook was actually

   removing the content that federal officials had flagged as misinformation: “Census was at least

   periodically checking on things that they had flagged, or they had seen come up.” Id. 117:19-21.

          496.    After the meeting, on May 24, Facebook’s content-moderation official emailed

   Crawford, stating, “Thanks so much again for you and team’s help in debunking a few COVID-

   19 and vaccine misinformation claims for us.” Crawford Ex. 15, at 2. She then provided a list of

   the twelve claims with CDC’s input on each, noting “Debunked” for each claim that the CDC had

   debunked in the meeting. Id. at 2-3. Among other things, she noted that CDC “[d]ebunked” claims

   like “Face masks contain … harmful particles,” and even plainly evaluative statements like

   “People who are receiving COVID-19 vaccines are subject to medical experiments.” Id. at 2-3.

          497.    On June 2, 2021, Crawford emailed the Facebook content-moderation official back

   with further input on the claims from CDC’s subject-matter experts. Crawford Ex. 16, at 2. She

   noted several times that CDC’s “web content to debunk is in clearance,” meaning that CDC was

   preparing web content that would debunk those claims. Id.

          498.    The next day, on June 3, 2021, the Facebook content-moderation official emailed

   Crawford to clarify that “web content to debunk is in clearance” means that “we should consider

   these debunked by the CDC now,” and Crawford answered that “Yes they are debunked and we

   will also have content on it soon.” Crawford Ex. 16, at 1. As Crawford stated, “We reported to

   Facebook that they were debunked at this time.” Crawford Dep. 135:2-3.

          499.    Crawford knew that Facebook would apply its content-moderation policies to

   claims that the CDC debunked: “I knew that they had options … which is to inform people, to

   maybe reduce it in the algorithm, or to remove it…. [T]hey probably had other options, but I knew

   of at least those.” Id. 138:18-22.




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           500.    On July 26, 2021, the same Facebook content-moderation official emailed

   Crawford, asking for CDC to debunk three more COVID-related claims. The subject line of the

   email was, “FB Misinformation Claims Help Debuning.” Crawford Ex. 17, at 1. Crawford

   understood that “Debuning” was “Debunking” misspelled. Crawford Dep. 139:1-2.

           501.    In this email, Facebook’s content moderator wrote to Crawford: “Our

   Misinformation Policy Team has identified some claims that we were hoping your team could help

   us understand if they are false and can lead to harm?” Crawford Ex. 17, at 1 (bold in original).

           502.    Facebook’s content-moderation policy called for it to remove claims that are false

   and can lead to harm. See, e.g., Crawford Ex. 26, at 4 (Facebook’s content-moderation official,

   Liz Lagone, noting that “We remove … posts on the grounds that the claim is false and that it is

   harmful,” where “harmful” includes cases where “if people believed it, it might make them less

   likely to get vaccinated.”). So it was clear that Facebook’s “Misinformation Policy Team” was

   asking CDC to advise whether these claims should be removed under Facebook’s content-

   moderation policy. Crawford admits that she understood that CDC’s guidance would “benefit”

   Facebook’s expansion and application of its censorship “policy” to these claims, acknowledging

   that Facebook was asking her about these claims “[b]ecause CDC would have credible health

   information about the claims or scientific information that would benefit their policy making.”

   Crawford Dep. 140:1-3.

           503.    The three claims included: “Spike protein in COVID-19 vaccines is

   dangerous/cytotoxic,” “Guillain-Barre Syndrome (GBS) is a possible side effect of the COVID

   vaccine,” and “Heart inflammation is a possible side effect of all COVID-19 vaccines.” Crawford

   Ex. 17, at 1.




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           504.    Facebook also asked Crawford if “your team was aware of any global source of

   truth/database for vaccine adverse effects including possibly vaccine-related deaths.” Crawford

   Ex. 17, at 1.

           505.    Crawford responded, “Got it, let me get back to you shortly and thank you much

   for asking!” Crawford Ex. 17, at 1.

           506.    Crawford does not recall her specific response to this inquiry, but she admits that

   “generally” she referred them to the CDC’s subject-matter experts and responded to Facebook

   with the CDC’s view on the scientific questions, as she did with similar requests. Crawford Dep.

   140:16-141:4.

           507.    On July 20, 2021, Facebook emailed Crawford another biweekly “CrowdTangle

   content insights report” on COVID-19. Crawford Ex. 18, at 1. One of the misinformation-trending

   topics that Facebook flagged in bold in the email was “Door-to-Door Vaccines,” which stated

   that “The highest interaction Page posts for this topic convey concern from political opponents

   about the Biden Administration’s strategy to ramp up vaccination efforts in communities with low

   vaccination rates by going ‘door-to-door’ to educate and encourage more Americans to get

   vaccinated.” Id. The same topic, in the same time frame, was emphasized in the Virality Project

   report as a prime example of viral vaccine-related “misinformation,” when in fact it involved only

   expressions of political opinion. Scully Ex. 2, at 39, 54-55.

           508.    The same email also noted posts “expressing skepticism about vaccinating

   children.” Crawford Ex. 18, at 1. Earlier CrowdTangle reports in the same email chain had flagged

   for the CDC highly engaged content about “Vaccine Side Effects … especially for children and

   pregnant women,” “Vaccine Refusal,” and “Vaccination Lawsuits … lawsuits over compulsory

   vaccination related to employment.” Id. at 2-3 (bold in original).




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          509.    Facebook noted that the CrowdTangle reports were confidential and not to be

   disclosed further: “As always, please do not share.” Id. at 1.

          510.    Facebook continued to send biweekly CrowdTangle reports, which flagged in bold

   high-engagement topics such as “Proof of Vaccination Requirement,” “COVID-19 and

   Unvaccinated Individuals” (addressing “concerns that the recent uptick in hospitalizations and

   deaths is being driven up by unvaccinated individuals”), and “COVID-19 Mandates,” as well as

   “allowing people to return to … religious services.” Crawford Ex. 19, at 1-3 (bolds in original).

          511.    On August 19, 2021, Facebook asked Crawford for a “VAERS Policy

   Consultation” meeting for the CDC to give Facebook guidance on how to address VAERS-related

   misinformation: “Our Health Policy folks would like to meet with your VAERS experts for a

   consultation meeting regarding VAERS and misinformation.” Crawford Ex. 20, at 1. Crawford

   responded, “I’m sure we can do this, and I’m glad you’re asking.” Crawford Ex. 20, at 1.

          512.    “VAERS” is the HHS’s Vaccine Adverse Event Reporting System, see

   https://vaers.hhs.gov/. At that time, the CDC was greatly concerned about VAERS-related

   “misinformation” on social-media, because users cited and discussed VAERS data and reports to

   raise concerns about the safety of vaccines in ways that the CDC thought misleading, as Crawford

   recounted: “the topic of VAERS was an area that was widely discussed on social media, and there

   was a lot of areas of confusion about what VAERS data was. There was myths about VAERS

   data, and there was misinformation about VAERS data. So it was always one of the things that

   rose to the top in terms of volume of discussion of people were very confused about VAERS.”

   Crawford Dep. 150:21-151:3. So it is not surprising that Crawford was “glad” Facebook was

   “asking” for a meeting in which the CDC would give Facebook guidance on how to censor

   “misinformation” about VAERS. Crawford Ex. 20, at 1.




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           513.   Crawford also followed up with Facebook by providing written CDC-provided

   materials for Facebook to use in addressing VAERS-related “misinformation” on its platforms: “If

   of use, we just published a new video and I’ve attached some recent talking points that may also

   inform your efforts.” Crawford Ex. 20, at 1. Plainly, the “efforts” Crawford wished to “inform”

   were Facebook’s efforts to remove VAERS-related “misinformation” from its platforms.

           514.   The CDC also had a meeting with Facebook about VAERS-related misinformation:

   “We did have a session with the VAERS experts with Facebook.” Crawford Dep. 151:8-9. In the

   meeting, the CDC had “two experts for VAERS and a couple of their communication experts on

   the line with Facebook’s team,” which consisted of “their misinformation and policy type team”

   that the content-moderation official “was part of.” Id. 151:20-24. In the meeting, the CDC

   “offered the [subject-matter expert] just to answer their questions about what VAERS was and

   what it wasn't. And my recollection is [Facebook] asked a lot of questions like … who can report

   something on VAERS and things like that during the session.” Id. 152:1-6.

           515.   On September 1, 2021, Crawford emailed Facebook and stated: “BOLO for a small

   but growing area of misinfo. One of our lab alerts … was misinterpreted and was shared via social

   media.” Crawford Ex. 21, at 1. (“BOLO” stands for “Be on the lookout.” Crawford Dep. 153:21.).

   She explained what the CDC viewed was misinformation, and then stated, “I’ve attached some

   example Facebook posts and another document with the facts around the issue.” Crawford Ex.

   21, at 1.

           516.   Plainly, Crawford was flagging these posts and related posts for possible censorship

   under Facebook’s content-moderation policy. She admits that the CDC’s “BOLO” alerts were

   provided to “assist” the platforms with their enforcement decisions under their policies: “Similar

   to all the other BOLOs, we still thought it was good to point out if we had facts around something




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   that was widely circulating as a cause of misinformation to the platforms to assist them in whatever

   they were going to do with their policy or not do.” Crawford Dep. 153:23-154:3.

          517.    When asked what she “expected [Facebook] to do once they were on the lookout”

   for the supposed misinformation that the CDC had flagged, Crawford responded: “I knew that they

   had various options. They could have just used it to inform people. They could have considered it

   in their algorithm, I believe. I did understand that potentially removing posts was something that

   they might do.” Crawford Dep. 155:15-20. So she provided the information knowing it would

   happen and wanting it to happen.

          518.    On November 2, 2021, Facebook’s content-moderation official sent Crawford and

   other CDC officials an email stating, “thanks so much for confirming the ability for the claims in

   question last week having the risk of causing vaccine refusals.” Crawford Ex. 22, at 1. Again,

   that is one of the criteria Facebook used to justify removal of content from its platforms. Crawford

   Ex. 26, at 4 (“We remove … posts on the grounds that the claim is false and that it is harmful

   because if people believed it, it might make them less likely to get vaccinated.”). The content-

   moderation official also stated, “thank you all so much for your input over the last week on our

   many questions about vaccine misinformation relative to the EUA.” Crawford Ex. 22, at 1.

   (“EUA” refers to the FDA’s “emergency use authorization to the Pfizer vaccine for children.” Id.)

          519.    The content-moderation official also stated: “I wanted to share that as a result of

   our work together, when the FDA gave emergency use authorization to the Pfizer vaccine for

   children last week, we immediately updated our policies globally to remove additional false claims

   about the COVID-19 vaccine for children (e.g. ‘the COVID vaccine is not safe for kids’).”

   Crawford Ex. 22, at 1. She also noted, “We also launched a new feature on Instagram, where

   accounts that repeatedly post content that violates our policies on COVID-19 or vaccine




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   misinformation may now lose the ability to be tagged or mentioned or may see pop-ups asking if

   they’d like to delete certain posts that may violate our policies.” Crawford Ex. 22, at 1. Thus,

   Facebook noted that, “as a result of our work together” with the CDC, Facebook had updated its

   content-moderation policies to increase censorship of vaccine-related claims in significant ways.

   Id.

          520.      The content-moderation official went on to ask the CDC to debunk additional

   claims: “we have identified a number of additional claims we would like to get your team’s

   assessment on … Would it at all be possible to get input by Monday, November 8 th?”

   Crawford Ex. 22, at 1 (bold and underline in original). She requested, “For each of the following

   new claims, which we’ve recently identified on the platform, can you please tell us if: 1. The

   claim is false; and 2. If believed, could this contribute to vaccine refusals?” Id. (bold in

   original). Again, these are the two precise criteria that Facebook relied on to remove content from

   its platforms. Crawford Ex. 26, at 4 (“We remove … posts on the grounds that the claim is false

   and that it is harmful because if people believed it, it might make them less likely to get

   vaccinated.”).    She then included a new list of ten specific claims about the COVID-19 vaccines

   for the CDC to debunk. Crawford Ex. 22, at 1-2.

          521.      Crawford understood, again, that this request was made to “inform their policies,”

   i.e., inform Facebook’s application of its content-moderation policies to these claims: “It was still

   my interpretation that she was asking to inform their policies.” Crawford Dep. 159:7-8.

          522.      Crawford also admits that she was “happy” when the CDC’s information to

   Facebook caused “less spread of misinformation” on Facebook and other platforms, i.e., that she

   desired that outcome: “I’m happy that providing the scientific information led to less spread of

   misinformation.” Id. 161:23-25.




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          523.    Crawford also understood that Facebook was, in fact, removing content from its

   platforms based on the CDC’s information: “I understand that she’s removing claims … that are

   not scientifically accurate.” Id. 162:21-22.

          524.    Crawford responded to Facebook, “Thank you so much for the feedback on what

   you’ve been able to do. This is very good to know.” Crawford Ex. 22, at 1. She also stated,

   regarding Facebook’s request that the CDC debunk the ten new claims, that “I’m going to work

   on this one …. I hope we can do it by Monday, I will keep you posted.” Id.

          525.    The following Monday, November 8, 2021, Crawford followed up with a response

   from the CDC addressing seven of the ten claims Facebook had asked CDC to evaluate. Crawford

   Ex. 23, at 1-2. The CDC rated six of the seven claims “False.” Id. (bold in original). Crawford

   also noted in the response email, without citing any support, that “It appears that any of these could

   potentially cause vaccine refusal.” Crawford Ex. 23, at 1. Under Facebook’s policies, a claim that

   is both false and could contribute to vaccine refusal was subject to removal. Crawford Ex. 26, at

   4 (“We remove … posts on the grounds that the claim is false and that it is harmful because if

   people believed it, it might make them less likely to get vaccinated.”).

          526.    On February 3, 2022, Facebook’s content-moderation official sent Crawford

   another email, stating that she “wanted to share updates we made as a result of our work

   together” and “ask for your assessment on a few things.” Crawford Ex. 26, at 1 (bold in

   original). She described the “updates” as follows: “On February 2 nd, we launched several updates

   to our COVID-19 Misinformation and Harm Policy based on your [i.e. CDC’s] inputs.” Id. These

   “updates” included “[r]emoving claims that COVID-19 vaccines cause heart attacks,” and

   “[t]aking steps to reduce the distribution of content that our systems predict likely violates our

   COVID-19 and vaccine misinformation policies, but has not yet been reviewed by a human; if at




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   any point this content is confirmed to violate the policy then it will be removed from the platform.”

   Crawford Ex. 26, at 1. Crawford responded, “the update is very helpful, thank you for including

   that!” Id.

          527.    Facebook’s content-moderation official also included, under the heading “NEW:

   For CDC Input,” another request that “For each of the following new claims, can you please tell

   us if: 1. The claim is false; and 2. If believed, could this claim contribute to vaccine refusals?”

   Crawford Ex. 26, at 1 (bold and underline in original). She then provided a long, detailed list of

   claims and sub-claims about COVID-19 for CDC’s input. Id. at 2-4.

          528.    Among other things, Facebook asked the CDC to pre-refute claims based on events

   that had not occurred yet. Facebook asked Crawford to address “How FDA EUA authorization

   for children under 5 might impact our policies.” Crawford Ex. 26, at 1. Facebook noted, “We

   understand that the FDA is considering giving emergency use authorization for the COVID-19

   vaccine for children under five in the coming weeks. We are considering how our existing policies

   on COVID-19 vaccines … should apply to claims about children 6 months to 4 years once the

   vaccine is approved for use. Can you please assess for each claim whether it is false for children

   in this age range and if believed, likely to contribute to vaccine hesitancy or refusals? Please let

   us know if it is easiest to set up a time to meet and discuss each one.” Crawford Ex. 26, at 2 (italics

   in original). There followed a long, detailed list of claims about the vaccines, for which Facebook

   sought CDC’s input on their falsity as to children under 5. Id. at 2-3.

          529.    For this long list of claims, Crawford understood that Facebook would use the

   CDC’s input to “determine” Facebook’s censorship policy for such claims: “I know that they're

   using our scientific information to determine their policy.” Crawford Dep. 170:19-20.




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          530.    Regarding Facebook’s request for CDC’s input on these many new claims,

   Crawford responded, “I will talk to the Vaccine program and see what we can do.” Crawford Ex.

   27, at 1. The next day, February 4, 2022, she followed up, stating, “I’m heading out today but do

   you have a minute to discuss this by chance? Call anytime,” and provided her phone number.

   Crawford Ex. 27, at 1. Crawford also changed the subject line of the email to state, “Have 5

   minutes to chat? [re]: Vaccine Misinformation Questions for CDC.” Id.

          C.      CDC’s and Census’s Pressure and Collusion with Google/YouTube.

          531.    On March 18, 2021, Crawford emailed contacts at Google, stating: “As I believe

   we discussed previously, CDC is now working with Census to leverage some of their infrastructure

   to help identify and address COVID vaccine mis-info.” Crawford Ex. 28, at 1. She went on, “As

   I understand it from the Census team … when they were doing this for the Census project last year,

   they meet regularly with a Google/YouTube Trust team.” Id. A “Trust team” is a content-

   moderation team. Crawford then asked, “Is it possible for us to start up regular meetings on this

   topic or maybe use our existing meeting time.” Id. The subject line of this email was “COVID

   Misinfo Project.” Id. Google and Crawford then set up a time to talk and discuss the project. Id.

          532.    Crawford states that this email refers to “the work of the IAA with Census to help

   consult and work with us on the COVID misinformation…” Crawford Dep. 175:6-8. Her

   reference to Census’s infrastructure referred to “the fact that Christopher [Lewitzke, the Census

   contractor] ran those reports and looked for misinformation on those areas for us.” Id. 175:11-13.

          533.    Crawford’s reference to Census’s previous project referred to their work on

   combating misinformation about the 2020 Census. Id. 175:18-19.




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          534.    Crawford does not remember the specific call referenced in this email, but she

   admits that, “This was in 2021. So we had been meeting pretty regularly with Google by this

   time.” Id. 179:5-6.

          535.    On March 23, 2021, Crawford sent a calendar invite for a meeting on March 24 that

   included herself and five other CDC employees, four Census Bureau employees and contractors

   (including Zachary Schwartz, Christopher Lewitzke, and Jennifer Shopkorn), and six

   Google/YouTube officials. Jones Decl., Ex. T, at 1-2. The subject of the meeting was “COVID

   Misinformation: CDC/Census/Google.” Id. at 1. The invite stated: “CDC/Census to meet with

   Google regarding our misinformation efforts.” Id.

          536.    At the meeting, CDC and Census presented a slide deck similar to the one that

   Census prepared for the meeting with Facebook on March 25, 2021, discussed above. See id. 3-

   16. The slide deck was entitled, “COVID Vaccine Misinformation: Issue Overview.” Id. at 3. As

   with the Facebook slide decks, this one stated of “Misinformation Topics” that “[t]hese topics were

   selected due to high volume, continued public discussion, and high-profile coverage.” Id. at 4. It

   noted that these topics included “infertility, misinformation about side effects, and claims of

   vaccines leading to deaths.” Id.

          537.    For each topic, the slide deck included a description of a common claim, specific

   examples of videos on YouTube and social-media postings making the disfavored claim, and a

   putative refutation by the CDC. Id. at 6-14. For infertility, the slide deck stated that “[c]ommon

   claims about the COVID vaccine’s side effects include that it causes infertility in women and men,

   miscarriages, and stillbirth,” and it provide screen shots of specific videos on YouTube and social-

   media posts making this claim. Id. at 6-8. The deck asserted that “[a]ccording to CDC there is no

   evidence that fertility problems are a side effect of any vaccine, including COVID-19 vaccines.”




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   Id. at 6. Regarding supposed misinformation about side effects, the deck stated, “speculation and

   misinformation about side effects after taking the COVID vaccine have been prevalent on social

   media since the first vaccines were approved,” and it provided screen shots of an example video

   on YouTube and social-media posts making such claims, along with a putative refutation by the

   CDC. Id. at 9-11. Regarding the topic “Death from Vaccines,” the slide deck stated that

   “[v]accine-hesitant groups spreading misinformation and conspiracy theories about alleged

   vaccine-related deaths erode trust in the COVID-19 vaccine and the public health system,” and it

   provided a sample video on YouTube and social-media posts linking the vaccines to deaths, along

   with a putative refutation by the CDC: “According to CDC, VAERS has not detected patterns in

   cause of death that would indicate a safety problem with COVID-19 vaccines.” Id. at 12-14. As

   with the similar Facebook slide deck, the evident purpose of this presentation was to induce

   YouTube to censor these claims on its platform.

           538.   On March 25, 2021, Kate Galatas of the CDC emailed the group attending the

   meeting and stated: “Many thanks, again, for the time yesterday. This is such important shared

   work we are doing in the mis/dis information space, and we deeply appreciate your contributions.

   Please find attached the slide deck referenced during the meeting, and we ask that you treat it close

   hold and not for further distribution. We are looking forward to our future collaboration efforts!”

   Id. at 1.

           539.   On March 29, 2021, Crawford followed up with Google, inquiring “Are you all

   open to using our regular 4pm meetings to go over things with Census or what is preferred?”

   Crawford Ex. 29, at 2. Google responded: “We would like to follow up on our discussion with

   your colleague, Cynthia, on vaccine information a few months ago. Specifically, we plan to share

   a new list of common vaccine misinformation claims and would love it if Cynthia or other vaccine




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   experts could join.” Id. He also stated that “we can save a few minutes … to discuss potential

   next steps regarding the Census…” Id. The subject line of this email was “Follow up on mis-info

   conversation.” Id.

          540.    Crawford recalls that Census was asking for regular meetings with platforms

   specifically focused on misinformation: the statement “is in reference to discussing how to engage

   on an ongoing basis about misinformation and the Census suggestion that we have regular

   meetings with them just on that topic.” Crawford Dep. 184:14-18. The exchange was “about how

   to engage more regularly about misinformation, or … whatever Census had done with Google and

   YouTube, should we have a similar structure with CDC.” Id. 185:11-14.

          541.    Regarding the request for input on the “new list of common vaccine misinformation

   claims,” Crawford responded, “I’ve arranged for a few SMEs [subject-matter experts] to join the

   call, including Cynthia.” Crawford Ex. 29, at 2.

          542.    A few days later, on April 2, 2021, Google emailed Crawford stating, “Thanks

   again for your time this week. Attached are some of the claims we discussed for your reference.”

   Crawford Ex. 29, at 1.

          543.    Crawford’s reference to the “4pm meeting” refers to a regular biweekly meeting

   with Google, which still continues to the present day: “I still have a 4:00 p.m. meeting every other

   Monday with Google.” Crawford Dep. 180:6-7.

          544.    Crawford also has “similar regular meetings with … Meta and Twitter.” Id. 180:11-

   16. She admits that she has ongoing meetings with Google and Facebook/Meta that continue to

   the present: “we had regular meetings with Google, and we had regular meetings with Meta….

   you know, the frequency changed…. I mean, Google we meet every other week. Right now with

   Meta it's more ad hoc.” Id. 180:16-21.




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          545.    Crawford also “had a regular meeting with Pinterest for a short period of time, and

   we had … just more ad hoc meetings on occasion with Twitter.” Id. 180:23-181:1.

          546.    Crawford states that these meetings “were mostly about things other than

   misinformation; though misinformation was discussed in the meetings.” Id. 181:22-24.

          547.    On April 12, 2021, Google/YouTube followed up with an email to Crawford,

   stating, “For tomorrow’s call, would it be possible to include Cynthia or other COVID-19

   treatment SMEs [subject-matter experts] to follow up on some additional questions?” Crawford

   Ex. 30, at 1. Crawford responded, “Can you give me an idea of what topics we’ll be covering?

   But yes, I’ll ask them to attend.” Id.

          548.    Crawford notes that it “wasn’t uncommon” for Google/YouTube to ask her to bring

   subject-matter experts to meetings to go over such topics. Crawford Dep. 188:19-22.

          549.    On May 10, 2021, Crawford emailed her Google contacts and invited them to attend

   in the BOLO meetings: “We would like to establish COVID BOLO meetings on misinformation

   and invite all platforms to join the meetings. We are aiming for our first one on Friday at noon.

   We have heard through the grapevine that [an official] at YouTube would want to join. Are there

   other POCs on your end I should include on the invite?” Crawford Ex. 40, at 1. The subject of

   the email was “COVID BOLO meetings on misinformation.” Id.

          D.      CDC’s and Census’s “BOLO Meetings.”

          550.    On May 11, 2021, Crawford followed up with an email stating, “We would like to

   invite digital platforms to attend a short ‘Be On The Lookout’ meeting on COVID. Please let us

   know if you have questions and feel free to forward this message to anyone in your organization

   that should attend.” Crawford Ex. 40, at 2. Google responded by asking that Crawford include




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   the YouTube official in the meeting, and Crawford noted that she “was going to ask about” him at

   the 4:00pm recurring meeting. Id.

          551.    Crawford testified that she wanted to include YouTube on the BOLO meetings

   because they hosted the most content: “people from YouTube would occasionally be on our regular

   meetings, depending on what we talked about. And because YouTube has the most content, like,

   hosting, … they were a part of the BOLO meetings…” Crawford Dep. 244:21-245:1.

          552.    The Census officials “were arranging” the BOLO meetings, and “they drafted the

   slides” for the meetings. Id. 246:12-20.

          553.    Crawford ran the BOLO meetings. Id. 265:13. She “opened up the meeting,

   introduced myself, gave context for why we were doing the BOLO meeting in brief. And then I

   believe that Christopher [Lewitzke] went through the slide decks, and I occasionally piped in on

   them.” Id. 265:15-19.

          554.    The “slide decks” shown at the meetings were “similar to the table” of 16 Facebook

   posts that Crawford previously emailed to Facebook, but “they were more like this is a theme, and

   then there'd be maybe a little info about what the theme was and then maybe a couple of example

   posts. And then there would be a slide maybe with CDC links or information related to that theme.”

   Id. 266:1-6.

          555.    The first BOLO meeting was held on May 14, 2021. Jones Decl., Ex. U, at 1. The

   slide deck for that meeting was entitled “COVID Vaccine Misinformation: Hot Topics.” Id. at 2-

   10. It contained a list of five “Hot Topics” with an “ADVISORY” in red noting that platforms

   should “Be On the Lookout” for “Potential Misinformation” on each topic, and provided

   specific examples of social-media posts for each topic, “Associated Link(s) and Hashtag(s)” for

   each topic, and the CDC’s position on each topic (listed as “The Facts”). Id. at 4-8.




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          556.    Crawford also emailed similar slide decks for BOLO meetings scheduled for May

   28 and June 18, 2021, though the latter was canceled due to the new Juneteenth holiday. Jones

   Decl., Exs. V and W. In the cover email to the May 28 slides, Crawford requested secrecy: “Please

   do not share outside your trust and safety teams.” Jones Decl., Ex. V, at 1. Just like the May 14

   BOLO slides, these slides contained lists of “Hot Topics” with an “ADVISORY” in red noting

   that platforms should “Be On the Lookout” for “Potential Misinformation” on each topic, and

   provided specific examples of social-media posts for each topic, “Associated Link(s) and

   Hashtag(s)” for each topic, and the CDC’s position on each topic (listed as “The Facts”). Jones

   Decl., Ex. V, at 4-6; id. Ex. W, at 4-6.

          557.    In conducting the BOLO meetings, Crawford described CDC’s goal as follows:

   “our goal is to be sure that credible information about COVID was out there. A lot of people seek

   information on platforms. We thought that by giving the platform scientific information it might

   help in our goals to being sure that credible information could be found.” Crawford Dep. 266:16-

   21.   Of course, the BOLO meetings did not address identifying and promoting “credible

   information,” but flagging information that the CDC thinks is not credible for potential removal.

   Crawford effectively admits this; when asked if CDC’s goal includes that “incredible information

   would not be found,” she agreed that “I did want the credible information to be found in advance

   of the uncredible information.” Id. 266:22-267:4.

          558.    Crawford believes that the third BOLO meeting was cancelled because Juneteenth

   was declared a new federal holiday, and “that is why we didn’t end up having it and we sent the

   materials out via email.” Id. 248:17-22.

          559.    On October 28, 2021, Google emailed Crawford stating, “do you have time to

   connect early next week on anticipated guidance on vaccines for [children ages] 5-11? It would




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   be great to connect as the CDC plans communications on authoritative information for pediatric

   vaccines.” Crawford Ex. 42, at 2.

          560.    Crawford responded: “Yes, we can discuss pediatric vaccines early next week but

   let me give you some general info: ACIP is likely to vote on this on Nov 2. CDC is likely to start

   posting final information on Nov 3 (possibly late Nov 2), if that helps to know. There will be

   many updates so the changes might span over a few days. We are also looking ahead and

   misinformation and hope to have a BOLO type meeting later that week with platforms that are

   interested.” Crawford Ex. 42, at 1.       (“ACIP” is the “Advisory Council for Immunization

   Practices.” 253:21-22.)

          561.    On June 29, 2022, Google/YouTube emailed Crawford and her deputy, stating:

   “The YouTube Policy team is requesting evidence-based input on the claims below. In the past,

   the CDC has reviewed COVID information claims and commented TRUE or FALSE + add any

   additional context needed.” Crawford Ex. 43, at 1. YouTube then presented two claims, relating

   to the safety and effectiveness of administering progesterone to reverse chemical abortion. Id.

   (“CLAIM: High doses of progesterone is a safe method of reversing chemical abortion …

   CLAIM: High doses of progesterone is an effective method of reversing chemical abortion….”)

   (bold in original). Crawford responded, “I’ll check on this but I think I’ll probably end up needing

   to refer you to another agency. I’ll get back to you.” Id.

          562.    Regarding this exchange, Crawford notes that the CDC’s “focus is not solely on

   COVID. We’re focusing on other topics. I think [YouTube] thought that we might be able to help

   with this topic as well.” Crawford Dep. 256:5-8. Thus, Crawford admits that the CDC is

   continuing to engage with social-media platforms to provide information that will lead to the




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   censorship of health-related claims on social media, and that it is willing to expand its focus to

   other health topics beyond COVID-19.

          E. CDC’s and Census’s Pressure and Collusion with Twitter.

          563.      On April 8, 2021, Twitter emailed Crawford stating, “I’m looking forward to setting

   up regular chats; my team has asked for examples of problematic content so we can examine

   trends. All examples of misinformation are helpful….” Crawford Ex. 32, at 1. The subject line

   of this email was “Request for problem accounts.” Id. Crawford responded, “Yes, we’ll get that

   to you early next week.” Id.

          564.      Crawford believes that Twitter sent this email in response to her inquiry, “Is there

   a good way that we should start engaging on misinformation?” 197:19-20.

          565.      Crawford responded on April 14, 2021, “The Census team put this spreadsheet

   together with four example areas,” which included the topics, “Vaccines aren’t FDA approved,”

   “Fraudulent cures,” “VAERS data taken out of context,” and “Infertility.” Crawford Ex. 33, at 1.

   The attachment was called, “Twitter CDC Examples 4-13-21.xlsx.” Id. The spreadsheet contained

   a “list [of] things that [Census] saw that were being stated as misinformation.” Crawford Dep.

   203:24-204:1. “Infertility” referred to “people claiming that getting the vaccines led to infertility.”

   Id. 204:17-18.

          566.      Crawford believes that Twitter “was asking for these examples in this email

   because he was wondering … what would come up in BOLO meetings, or what we would be

   discussing.” Id. 204:22-24.

          567.      On May 10, 2021, Crawford emailed Twitter, stating “We wanted to point out two

   issues we are seeing a great deal of misinfo about….” Crawford Ex. 34, at 4. She then provided




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   a list of “sample posts” that included 12 Tweets reproduced verbatim. She stated, “Our census

   team is copied here, has much more info on it if needed.” Id.

          568.   In the same email on May 10, 2021, Crawford wrote, “Also, we are standing up a

   BOLO COVID misinformation meeting and inviting all tech platforms. We are shooting for 12pm

   EST on Friday for our first meeting. I’ll include you on the invite….” Crawford Ex. 34, at 4.

          569.   Crawford agrees that she was “sending this to [Twitter] so that he would be on the

   lookout for those things appearing on Twitter.” Crawford Dep. 208:25-209:3.

          570.   Crawford notes that “the BOLO format … was used previously,” id. 209:12-13,

   because Census had done “BOLO meetings … for their own work,” id. 209:23-24. The platforms

   had done BOLO meetings for Census “in relation to the 2020 census.” Id. 210:5-9.

          571.    Regarding the BOLO meetings, Census officials “explained” to Crawford “how

   they did it.” Id. 210: 16. “In fact, they drafted the slide deck” for the CDC BOLO meetings with

   social-media platforms. Id. 210:16-17. Census “drafted it and showed me how they thought that

   we should do it, and that … we would give examples, we would give the science, and then …

   people could follow up separately.” Id. 210:18-22.

          572.   Crawford believes that regular meetings with Twitter were not set up, but that “I

   know they participated in the BOLO meetings.” Id. 198:15-16.

          573.   Regarding the BOLO meetings, Crawford remembers that two occurred and a third

   one was scheduled but cancelled due to a holiday, and “in lieu of a meeting” she sent “a

   Powerpoint.” Id. 198:24-199:1.

          574.   Twitter responded to Crawford’s May 10, 2021 email flagging 12 specific Twitter

   posts as examples of trending misinformation, stating: “Thanks for sharing this – agree these are

   important trends to note; a quick scan shows that at least some of these have been previously




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   reviewed and actioned.” Crawford Ex. 34, at 3. He then stated: “I will now ask the team to review

   the others.” Id.

          575.    Crawford understood that “asking the team to review the others” meant referring

   Crawford’s flagged posts and issues to Twitter’s content-moderation team for possible censorship:

   “I interpreted it as Twitter made decisions about the areas of misinformation based on whatever

   policy they had.” Crawford Dep. 211:17-19.

          576.    As with Facebook, Crawford understood that her flagging of posts would result in

   Twitter censoring at least some of these materials in different ways, including removing posts:

   “similar to Meta that they probably had multiple options. I am sure some were removed. I am sure

   some … were flagged. I see flags all the time on the Twitter posts. I am sure some were just maybe

   … maybe they weren't distributed as much on peoples' feeds.” Id. 212:10-16.

          577.    In the same email, Twitter offered to enroll CDC officials in its “Partner Support

   Portal” to provide expedited review of content flagged for censorship: “Carol, remind me: did you

   have a chance to enroll in our Partner Support Portal? In the future, that’s the best way to get a

   spreadsheet like this reviewed.” Crawford Ex. 34, at 3.

          578.    Crawford understood that Twitter’s Partner Support Portal was “similar to what I

   described for Meta. It's an offering where you log in and you can report misinformation or threats

   or problematic posted content in this portal, and it puts it in a system for review.” Crawford Dep.

   212:3-7.

          579.    On May 10, 2021, Twitter noted to Crawford, “I’d be glad to enroll you in our

   Partner Support Portal, which allows you a special, expedited reporting flow in the Twitter Help

   Center. It worked very well with Census colleagues last year.” Crawford Ex. 34, at 3.




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          580.    Crawford responded by asking for instructions on how to enroll in the Partner

   Support Portal, and Twitter offered to enroll any Twitter accounts she identified. Crawford Ex.

   34, at 3. Crawford provided her personal Twitter account to enroll. Id.

          581.    Then, on May 24, Census Bureau contractor Christopher Lewitzke followed on the

   same email chain with Twitter, asking about “the partner support portal enrollment for CDC.”

   Crawford Ex. 34, at 2. Lewitzke indicated that they planned to report COVID misinformation to

   Twitter using existing Census accounts already enrolled in the portal, not CDC accounts, stating:

   “would there be any issues or complications stemming from flagging COVID misinformation on

   the portal using the existing census.gov accounts that have access? We’ll want to have at least

   some CDC accounts whitelisted, but that backup may be helpful short-term.” Id. He then stated:

   “Let us know any next steps we can take to make sure CDC is all set with the portal.” Id.

          582.    Crawford confirms that Census had used similar portals to report misinformation

   to platforms in the past: “I did know from discussions with them that one technique I think that

   they used was using portals … for their work to report [mis]information.” Crawford Dep. 213:16-

   19.

          583.    Twitter emailed Crawford on May 27, 2021, noting that she should be fully

   enrolled. Crawford Ex. 34, at 1. A screen shot of the portal proclaims, in very large, bolded type,

   “Report any issue to get priority service.” Id. (bold in original, font greatly reduced).

          584.    Crawford believes that she attempted to use Twitter’s Partner Support Portal “every

   now and then,” but that she never solved technical issues that prevented her from reporting

   anything. Crawford Dep. 215:9-22.

          585.    Christopher Lewitzke is “a Census contractor.” Id. 217:5-6.




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            586.   On September 2, 2021, Crawford emailed Twitter, stating, “A quick BOLO for a

   small but growing area of misinfo.” Crawford Ex. 35, at 1. To Twitter, she claimed that “one of

   our Lab alerts … was misinterpreted and was shared via social media.” Crawford Ex. 35, at 1.

   She stated, “I’ve attached some example Twitter posts and another document with the facts around

   the issue.” Id. The subject line of the email was “BOLO: CDC lab alert & misinformation.” Id.

            587.   This report was very similar to the report Crawford provided Facebook the day

   before, September 1, 2021. Crawford Ex. 21, at 1. “The only difference is this email is going to

   Twitter.” Crawford Dep. 220:7-8.

            588.   By sending these emails to Facebook and Twitter flagging what the CDC believed

   was a misinterpretation of a CDC lab alert on social media, CDC intended to prevent the disfavored

   message from spreading on social media: “We saw this confusion about this alert brewing and

   more posts were going up with confusion, and we thought it would be a good idea to provide the

   platforms with the facts before it became something bigger.” Id. 220:13-17 (emphasis added). In

   other words, CDC wished to cause the disfavored viewpoint to be censored before it could be

   viewed or repeated by others—a quintessential prior restraint.

            589.   CDC specifically flagged this information to the platforms, knowing that they

   would evaluate it for potential censorship under their content-moderation policies: Crawford

   “knew their policy teams or their trust teams or misinfo teams … would evaluate it.” Id. 220:21-

   23. And Crawford “knew that removal was one of the options that they had, yes.” Id. 220:25-

   221:1.

            F.     CDC Endorses the States’ Theory of Standing.




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          590.    Crawford admits that government communicators have a strong interest in tracking

   what their constituents are saying on social media: “It's helpful for communicators to know what

   is being discussed because it helps improve our communication materials.” Id. 53:10-12.

          591.    Crawford emphasized this point multiple times: “as I mentioned before, it does help

   … for communicators to know what conversations occurs on social media because it helps us

   identify gaps in knowledge, or confusion, or things that we're not communicating effectively that

   we need to adjust.” Id. 54:15-20.

          592.    CrowdTangle reports “would help us understand what was being discussed on

   social media about COVID, which helps us look for gaps in information, confusion about facts,

   things that we might need to adjust our communication materials for.” Id. 57:24-58:3.

          593.    Crawford specifically expressed the concern that, if content was censored or

   removed from social-media platforms, government communicators would not know what the

   citizens’ true concerns were: She “was wondering if they delete the info will we know those myths

   or information so we could update communication activity. So if they were deleting content would

   we know what the themes were.” Id. 75:14-18. Thus, Crawford was concerned that, if the

   platforms “were deleting content,” she might not know “what the themes were” of “myths or

   [mis]information,” which would prevent her from “updat[ing the CDC’s] communication activity”

   to address those myths and misinformation. Id. Accordingly, Crawford wanted to know, “would

   [CDC] be able to see in CrowdTangle or other reports … what kind of themes were removed so

   we would still have the full picture of areas of confusion.” Id. 75:21-76:1.

          594.    Crawford inquired of Facebook “about the data that we could get so we had a full

   picture on confusion so that we could adjust communication materials, or ways that we were

   communicating” about COVID-19. Id. 81:10-13. In other words, Crawford wanted to know about




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   speech that was censored, as well as speech that was left up, on social-media platforms so CDC

   could get “a full picture” and “adjust communication materials” to address people’s actual

   concerns. Id.

          595.     The CDC “did searches in CrowdTangle, the same way we do searches in other

   social media and listening tools that we have to create, to understand what's being discussed in the

   environment, to update our communication material.” Id. 148:11-15.

   V.     Dr. Fauci’s Campaigns to Censor Disfavored Viewpoints on Social Media.

          596.     Dr. Fauci, cooperating frequently with NIH Director Dr. Francis Collins, engaged

   in a series of campaigns to discredit and procure the censorship of viewpoints he disfavored on

   social media, beginning at least in early 2020. Once he became Chief Medical Advisor in the

   Biden Administration in early 2021, his censorship efforts coordinated with and reinforced those

   of federal officials in the White House, the Office of the Surgeon General, the CDC, and elsewhere.

          597.     Until his recent retirement, Dr. Anthony S. Fauci was the director of the National

   Institute for Allergy and Infectious Diseases at the National Institutes of Health and the Chief

   Medical Advisor to President Biden. Fauci Dep. 10:8-16. At the time of his deposition, Dr. Fauci

   had been the director of NIAID for over 38 years. Id. at10:25-11:1.

          A.       Dr. Fauci’s Conspiracy and Campaign to Suppress the Lab-Leak Theory.

          598.     First, in early months of 2020, Dr. Fauci worked closely with Dr. Francis Collins

   and Jeremy Farrar to orchestrate a campaign to discredit and suppress the opinion that SARS-CoV-

   2, the virus that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology—

   an opinion that has recently been confirmed as likely true. Early in the pandemic, Dr. Fauci was

   aware that NIAID, under his direction, had funded dangerous gain-of-function research on

   coronaviruses at that laboratory, and he sought to discredit and suppress the lab-leak theory to




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   deflect the scandal and blame associated with potential responsibility for the deaths of millions in

   the ensuing pandemic. He engaged in a campaign of deception to discredit the theory, and as a

   result of his efforts, the lab-leak theory was heavily censored on social media.

          599.    On December 30, 2011, Dr. Fauci co-authored an op-ed with Dr. Francis S. Collins

   in the Washington Post entitled A Flu Virus Risk Worth Taking. Fauci Ex. 1, Fauci Dep. 13:13-

   20.

          600.    In this op-ed, Dr. Fauci and Dr. Collins advocated for creating potentially

   dangerous viruses in laboratories, writing that “important information and insights can come from

   generating a potentially dangerous virus in a laboratory.” Fauci Ex. 1, at 1. According to Fauci

   and Collins, “[u]nderstanding the biology of … virus transmission has implications for outbreak

   prediction, prevention and treatment,” and “[i]dentifying threatening viruses can also facilitate the

   early stages of manufacturing vaccines that protect against such a virus in advance of an outbreak.”

   Id. at 2. They further argued that “identifying the molecular Achilles heel of these viruses can

   allow scientists to identify novel antiviral drug targets that could be used to prevent infection …

   or better treat those who become infected.” Id.

          601.    Dr. Fauci and Dr. Collins acknowledged the significant risks associated with such

   research, writing that “[s]afeguarding against the potential accidental release or deliberate misuse

   of laboratory pathogens is imperative.” Id. But they believed that those risks were contained,

   writing that “engineered viruses … are maintained in high-security laboratories.” They further

   state that “scientists, journal editors, and funding agencies involved are working together to ensure

   that access to specific information that could be used to create dangerous pathogens is limited to

   those with an established and legitimate need to know.” Id.




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          602.    Thus, long before the COVID-19 pandemic, Dr. Fauci and Dr. Collins were highly

   visible, public advocates for laboratory experiments that involve “generating a potentially

   dangerous virus in a laboratory.” Id. at 1.

          603.    Such research of “generating a potentially dangerous virus in a laboratory” is

   commonly called “gain-of-function” research. Dr. Fauci testified that “[g]ain of function is a very

   potentially misleading terminology, and that was one of the reasons why several years ago outside

   groups, not the NIH … did away with the terminology ‘gain of function’ because it can often be

   very confusing and misleading.” Fauci Dep. 16:3-10. But Dr. Fauci confirms that “the NIH” did

   not “d[o] away” with that terminology, id., and Dr. Fauci’s own internal email uses the phrase

   “SARS Gain of Function” to describe the research on bat coronaviruses that was conducted by Dr.

   Shi Zhengli and others at the Wuhan Institute of Virology, partly funded by Dr. Fauci’s NIAID

   through the subgrants from the EcoHealth Alliance, discussed below, see Fauci Ex. 6, at 8.

          604.    On June 1, 2014, Dr. Fauci’s NIAID funded a grant to the EcoHealth Alliance for

   the five-year period June 1, 2014, to May 31, 2019. Fauci Ex. 2, at 2. The title of the project was

   “Understanding the Risk of Bat Coronavirus Emergence.” Id. at 1. The project’s Abstract stated,

   “This project will examine the risk of future coronavirus (CoV) emergence from wildlife using in-

   depth field investigations across the human-wildlife interface in China, molecular characterization

   of novel CoVs and host receptor binding domain genes, mathematical models of transmission and

   evolution, and in vitro and in vivo laboratory studies of host range.” Id.

          605.     The Abstract noted that one of the project’s “three specific aims” would be to

   “[t]est predictions of CoV inter-species transmission” by engaging in two forms of research to

   enhance the bat coronaviruses’ transmissibility to humans: “reverse genetics,” i.e., genetic

   manipulation of the viruses to render them more transmissible; and “virus infection experiments”




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   using “humanized mice,” i.e., repeatedly infecting humanized mice with bat coronaviruses to

   provoke mutations that render them more infectious to human cells (a process known as “serial

   passage,” see https://en.wikipedia.org/wiki/Serial_passage). Id. at 1. Specifically, the Abstract

   stated: “Predictive models of host range (i.e.[,] emergence potential) will be tested experimentally

   using reverse genetics, pseudovirus and receptor binding assays, and virus infection experiments

   across a range of cell cultures from different species and humanized mice.”         Id. (emphases

   added).

             606.   Dr. Fauci attempted to argue that “reverse genetics” is so vague that it might not

   refer to gain-of-function research. See Fauci Dep. 23:18-20 (“I'm not really quite sure what they’re

   referring to. Reverse genetics can mean many things.”). But Dr. Fauci admits that “reverse

   genetics” means “[m]anipulation of a virus, recombination, things like that.” Id. at 23:19-21. In

   2015, in an article reporting on research performed pursuant to this grant, Dr. Ralph Baric and Dr.

   Shi Zhengli wrote that they used “reverse genetics” to “generate[] and characterize[] a chimeric

   virus” that was more infectious and more virulent in humans. Fauci Ex. 4, at 1. Dr. Fauci’s own

   internal email describes that article as addressing “SARS Gain of Function.” Fauci Ex. 6, at 8.

             607.   Dr. Fauci admits that “EcoHealth has a subaward from their original grant that goes

   to Shi Zhengli at the Wuhan Institute of Virology.” Fauci Dep. 36:4-6. He agrees that EcoHealth

   and Shi Zhengli of the Wuhan Institute of Virology “work together on research that’s directly

   funded by NIAID.” Fauci Dep. 36:7-13.

             608.   Dr. Fauci also attests that Dr. Peter Daszak likely has access to the genetic

   sequences of chimeric viruses that Shi Zhengli created during her research funded by EcoHealth

   using NIAID funds: “I don't know absolutely for sure, but I would imagine that if Peter Daszak is

   collaborating scientifically with Shi Zhengli, that it is likely, given the norms of scientific




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   collaboration, that he would have access to data,” and “they are collaborators, since he has a

   subaward to the Wuhan Institute that I believe goes to Dr. Shi.” Fauci Dep. 37:1-13. Daszak,

   therefore, is likely in possession of genetic evidence demonstrating whether SARS-CoV-2

   originated from NIAID-funded research at the Wuhan Institute of Virology.

          609.    Dr. Fauci claimed that he had never seen this grant award before his deposition,

   and that he was only “vaguely” aware of NIAID’s funding of EcoHealth Alliance. Id. at 18:10-12

   (“I’m vaguely familiar with the fact that EcoHealth Alliance has been doing research on trying to

   understand the bat coronavirus emergence.”); id. at 19:7-8 (“I have no recollection of the initiation

   of this grant.”). Dr. Fauci admits that “NIAID has funded EcoHealth Alliance,” 20:5-6, but he

   contends that he is completely unfamiliar with this project. Id. at 20:8-9 (“[T]his is the first time

   that I have seen this piece of paper.”). But this very grant project was flagged for Dr. Fauci in an

   email from his subordinate on January 27, 2020, at the beginning of the pandemic. Fauci Ex. 5.

   Given the public and Congressional scrutiny of this particular project and its relation to the origins

   of the COVID-19 pandemic, Dr. Fauci’s testimony on these points is not credible.

          610.    Peter Daszak is listed as the “Contact PI/Project Leader” for the grant award

   “Understanding the Risk of Bat Coronavirus Emergence.” Fauci Ex. 2, at 1. The “Awardee

   Organization” is the EcoHealth Alliance. Id.

          611.    Dr. Fauci claims that he is not acquainted with Peter Daszak and does not know

   how to pronounce Daszak’s name, Fauci Dep. 20:13 (“I’m not sure”), and that he “do[es]n’t even

   remember meeting him,” id. at 21:1-2, but that he has seen a photo of himself with Daszak at a

   public event as the only evidence that they have met. Id. at21:2-8.

          612.    In fact, Dr. Fauci has exchanged cordial emails with Daszak on a first-name basis,

   and he participated in a podcast with him on February 9, 2020, in which they both sought to




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   discredit the lab-leak theory of COVID’s origins. Fauci Ex. 15, 16, 30. Dr. Fauci’s attempt to

   deny or downplay his acquaintance and familiarity with Daszak is not credible.

           613.    On October 17, 2014, the U.S. Government entered a “research funding pause” on

   gain-of-function research on coronaviruses, in a document entitled “U.S. Government Gain-of-

   Function Deliberative Process and Research Funding Pause on Selected Gain-of-Function

   Research Involving Influenza, MERS, and SARS Viruses.” Fauci Ex. 3, at 1 (the “GoF Pause” or

   “Pause”).

           614.    Contrary to Dr. Fauci’s testimony that the “pause” was an occasion to jettison the

   term “gain-of-function,” the Pause provided a simple and clear definition of “gain of function”

   research, defining “Gain-of-function studies” as “research that improves the ability of a pathogen

   to cause disease.” Fauci Ex. 3, at 2. The research on bat coronaviruses described in Fauci Ex. 2

   meets this simple definition.

           615.    The Pause applied to funding for all “research such as this until a new U.S.

   Government research policy could be adopted.” Fauci Dep. 27:17-19; Fauci Ex. 3, at 2-3.

           616.    The Pause provided an exception in Footnote 1, which stated: “An exception from

   the research pause may be obtained if the head of the USG funding agency determines that the

   research is urgently necessary to protect the public health or national security.” Fauci Ex. 3, at 2

   n.1.

           617.    Dr. Fauci testified that he does not recall whether NIAID ever invoked that

   exception during the years that the Pause was in place (2014-2017). Fauci Dep. 28:22-29:3. He

   testified that authorization for funding under the exception would “not usually rise up to the office

   of the director, but is handled at the level of staff and deputy.” Id. at 29:1-2. He testified that such

   approval for projects “urgently necessary to protect the public health or national security” could




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   have come from “any of a number of people. It could have been people at the program level. It

   could have been my deputy. It could have been program managers and division directors.” Id. at

   30:16-19.

          618.     This testimony contradicts the plain language of the exception, which states that

   “the head of the USG funding agency” must “determine[] that the research is urgently necessary

   to protect the public health and national security” to allow continued funding for gain-of-function

   research on coronaviruses. Fauci Ex. 3, at 2 n.1. At all relevant times, Dr. Fauci was the “head of

   the USG funding agency,” i.e., the Director of NIAID, and he was responsible for authorizing

   funding for gain-of-function research on the ground that it was “urgently necessary to protect the

   public health or national security.”

          619.    Dr. Fauci states that he does not recall whether NIAID ever authorized continued

   funding for Peter Daszak or EcoHealth Alliance pursuant to the exception to the Pause in footnote

   1. Fauci Dep. 30:3-12.

          620.    In fact, Dr. Fauci testified that “I don’t recall” or “I do not recall” 174 times in his

   deposition, and testified that he could not recall or remember using variations on that phrase 212

   times. See Fauci Dep. 22:21-352:17-18. This contrasts sharply with his public statements about

   the very same issues that, during his deposition, he professed near-complete loss of memory. See,

   e.g., Jones Decl., Ex. X, at 1 (“I remember it very well”). It also contrasts sharply with his clear,

   specific recollection of unrelated events from the same time frame. See, e.g., Fauci Dep. 353:20-

   354:16. Dr. Fauci’s repeated claims to not remember or not recall key events and people are not

   credible.

          621.    Dr. Fauci’s chief deputy is Dr. Hugh Auchincloss, who is the Principal Deputy

   Director of NIAID. Id. at30:20-25.




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          622.    In December 2015, during the research “Pause” on gain-of-function funding,

   Nature Medicine published an article entitled, “A SARS-like cluster of circulating bat

   coronaviruses shows potential for human emergence.” Fauci Ex. 4, at 1. Dr. Ralph Baric of the

   University of North Carolina was listed as the corresponding author, and Dr. Shi Zhengli of the

   Wuhan Institute of Virology was listed as a co-author. Id. at 1 & n.8.

          623.    The 2015 Nature Medicine article clearly described gain-of-function research on

   bat coronaviruses. The Abstract states: “Here we examine the disease potential of a SARS-like

   virus, SHC014-CoV, which is currently circulating in Chinese horseshoe bat populations. Using

   the SARS-CoV reverse genetics system, we generated and characterized a chimeric virus

   expressing the spike of bat coronavirus SHC014 in a mouse-adapted SARS-CoV backbone.”

   Fauci Ex. 4, at 1. Notably, the article uses the same phrase as the EcoHealth grant, “reverse

   genetics,” to describe creating “a chimeric virus.” Id.

          624.    The article reports that the “chimeric virus” created from a “SARS-like” bat

   coronavirus had become highly transmissible in human tissue: it could “replicate efficiently in

   primary human airway cells and achieve in vitro titers equivalent to epidemic strains of SARS-

   CoV.” Id. It had also become more virulent: “Additionally, in vivo experiments demonstrate

   replication of the chimeric virus in mouse lung with notable pathogenesis.” Id. There were no

   available treatments for this lab-created “chimeric” virus: “Evaluation of available SARS-based

   immune-therapeutic and prophylactic modalities revealed poor efficacy; both monoclonal

   antibody and vaccine approaches failed to neutralize and protect from infection with CoVs using

   the novel spike protein.” Id.

          625.    The article noted that the authors had then “synthetically re-derived an infectious

   full-length SHC014 recombinant virus and demonstrate robust viral replication both in vitro and




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   in vivo.” Id. The article concluded that “[o]ur work suggests a potential risk of SARS-CoV re-

   emergence from viruses currently circulating in bat populations” – and this conclusion was based

   on creating a more transmissible (to humans) and more virulent (to humans) SARS-like

   coronavirus in a lab. Id.

          626.    The article acknowledged that NIAID was the principal funder of this research, and

   that it had received funding from the EcoHealth Alliance, Daszak’s group: “Research in this

   manuscript was supported by grants from the National Institute of Allergy & Infectious Disease

   and the National Institute of Aging of the US National Institutes of Health (NIH) … and by

   USAID-EPT-PREDICT funding from EcoHealth Alliance.” Id. at 5.

          627.    The article also noted that the NIH had reviewed and approved the research under

   the GoF Pause: “Experiments with the full-length and chimeric SHC014 recombinant viruses were

   initiated and performed before the GOF research funding pause and have since been reviewed and

   approved for continued study by the NIH.” Id. “GOF” is short for “gain-of-function.”

          628.    Dr. Fauci testified that he first became aware of this Nature Medicine article “likely

   … several months” after the outbreak of the COVID-19 pandemic, and that “it was brought to my

   attention in the context of questions that were raised by members of Congress about experiments

   that were funded by the NIAID.” Fauci Dep. 31:17-20, 32:7-9. In fact, Dr. Fauci attached this

   article to a confidential midnight email to his principal deputy, Hugh Auchincloss, on January 31,

   2020, and directed Auchincloss to read it immediately and take unspecified actions on it on a

   Saturday morning. Fauci Ex. 6, at 8. Dr. Fauci’s testimony on this point is not credible.

          629.    Dr. Fauci testified that he does not believe he has ever met Dr. Ralph Baric, the

   corresponding author of the 2015 Nature Medicine article. Fauci Dep. 32:16-19 (“I know who he

   is, I doubt I’ve ever met him. I may have met him at one of the meetings where there are thousands




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   of scientists saying hi to each other…”); see also id. at 33:25-34:1. In fact, Dr. Fauci’s official

   calendar shows a one-on-one meeting with Dr. Ralph Baric on February 11, 2020, during the

   events described herein. Fauci Ex. 17, at 1. A contemporaneous Slack message on February 18,

   2020 reports that Dr. Baric “sat in Fauci’s office talking about the outbreak and chimeras,” i.e.,

   lab-created chimeric viruses. Jones Decl., Ex. Y, at 1. And Dr. Fauci testified that Dr. Baric may

   be the source of the phrase “SARS Gain of Function” in the attachment to his midnight email to

   Hugh Auchincloss. Fauci Dep. 57:11-12. Dr. Fauci’s testimony on this point is not credible.

           630.    Dr. Fauci professed to be ignorant of the identity of Dr. Shi Zhengli, the notorious

   “Bat Woman” of the Wuhan Institute of Virology. When asked if he knows who she is, he stated,

   “I'm not a hundred percent certain. I get sometimes confused with Asian names.” Id. at33:9-10,

   18-19. Yet Dr. Shi Zhengli, the so-called “bat woman,” is world-renowned as the researcher who

   may have caused the COVID-19 pandemic, and has been so since the beginning of the pandemic,

   see, e.g., Jones Decl., Ex. Z, at 1, and the name “Shi” is included in the title of the article that Dr.

   Fauci forwarded to Dr. Hugh Auchincloss after midnight on February 1, 2020. Fauci Ex. 6, at 8.

   Dr. Fauci’s testimony is not credible on this point.

           631.    Dr. Fauci testified that he first became aware of the outbreak of COVID-19 either

   December 31, 2019 or “the first couple days of 2022.” Fauci Dep. 34:8-11.

           632.    Dr. Fauci recounts that he first became aware of concerns that the SARS-CoV-2

   virus that causes COVID-19 “might have been genetically engineered or originated in a

   laboratory” when “[t]here was a phone call in late January of 2020, I believe, from Jeremy Farrar.

   There was one other person on the phone. I believe it was [K]ristian [Andersen], who piped me in

   on a three-way call, saying that they looked at the virus and there was some concern about the




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   molecular configuration or makeup of the virus that made them think there was a possibility that

   there could have been a manipulation of the virus.” Id. at 34:12-35:1.

          633.    Dr. Fauci states that he does not believe that anyone ever raised the concern to him

   before that late January call, and he specifically attests that he does not recall Dr. Robert Redfield,

   then-Director of the CDC, raising the concern to him in mid-January 2020. Id. at 35:2-15. Dr.

   Fauci’s recollection conflicts with that of Dr. Redfield, who specifically recalls raising this issue

   to Dr. Fauci earlier in January 2020, and having his concerns fall on deaf ears: “Dr. Robert

   Redfield, a virologist and the director of the Centers for Disease Control and Prevention (CDC),

   had urged Fauci privately to vigorously investigate both the lab and natural hypotheses. He was

   then excluded from the ensuing discussions—learning only later that they’d even occurred. ‘Their

   goal was to have a single narrative,’ Redfield [said].” Jones Decl., Ex. AA, at 7.

          634.    “In mid-January of 2020, … Redfield expressed his concerns in separate phone

   conversations with three scientific leaders: Fauci; Jeremy Farrar, the director of the U.K.’s

   Wellcome Trust; and Tedros Adhanom Ghebreyesus, director general of the World Health

   Organization (WHO). Redfield’s message, he says, was simple: ‘We had to take the lab-leak

   hypothesis with extreme seriousness.’” Id. at 23. Dr. Fauci disputes this account and states that

   this conversation did not happen: “To my recollection, no.” Fauci Dep. 35:9-12.

          635.    On January 27, 2020, Dr. Fauci and several other senior NIAID officials received

   an email from Greg Folkers, who is his “immediate chief of staff in my office group,” id. at 38:2-

   4; the email provided “Talking Points for NIAID Director Dr. Fauci.” Fauci Ex. 5. The email

   stated that “when talking about CoV … we have on our team (Vincent and folks we fund, Peter

   Daszak, Ralph Baric, Ian Lipkin, etc.) probably the world’s experts on non-human coronaviruses.

   … EcoHealth group (Peter Daszak et al) has for years been among the biggest players in




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   coronavirus work, also in collaboration Ralph Baric, Ian Lipkin, and others.” Id. at 1. It also

   flagged the ongoing NIAID grant to Daszak and its work with Wuhan Institute of Virology:

   “NIAID has funded Peter’s group for coronavirus work in China for the past five years through

   R01 1R01AI110964: ‘Understanding the Risk of Bat Coronavirus Emergence.’ That’s now been

   renewed.” Id. It noted that “[t]he results of the work to date include … Found SARS-related CoVs

   that can bind to human cells (published in Nature) and that cause SARS-like disease in humanized

   mouse models”—a clear reference to the 2015 Nature Medicine article. Id. Three days later, Dr.

   Fauci would attach that Nature Medicine article to a midnight email to Hugh Auchincloss. Fauci

   Ex. 6, at 8.

           636.   Like so many other things, Dr. Fauci testifies that he does not recall receiving this

   email. Fauci Dep. 40:5-6.

           637.   Dr. Fauci states that he first became aware of the concern that the virus might be

   bioengineered and lab-created in a call with Dr. Kristian Andersen of Scripps and Jeremy Farrar

   of the Wellcome Trust on January 31, 2020. Fauci Dep. 43:17-25. In that call, according to Dr.

   Fauci, “Jeremy and [K]ristian said they had looked at -- or at least [K]ristian did, possibly Jeremy

   -- and maybe one other scientist -- and said that it is possible that there may have been a

   manipulation because it was an unusual virus.” Fauci Dep. 44:3-9. A phone call was arranged for

   the next day, Saturday, February 1, 2020, to discuss the possibility. Id. at 44:15-17.

           638.   According to contemporaneous emails, Eddie Holmes and Bob Garry were

   involved in this call with Dr. Fauci and Kristian Andersen as well. Fauci Ex. 7, at 2. Eddie

   Holmes, who was then raising serious concerns that the virus had leaked from a lab, would go on

   to be the lead drafter of a key article discrediting the lab-leak theory.




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          639.    After the January 31 call with Farrar and Andersen, in the evening of the same day,

   Dr. Fauci forwarded them an article that was skeptical of the lab-leak theory, stating that “it is of

   interest to the current discussion.” Ex. 6, at 1. Andersen responded, stating that he was not

   convinced by the article because “one has to look really closely at all the sequences to see that

   some of the features look (potentially) engineered,” and that “after discussion earlier today, Eddie

   [Holmes], Bob [Garry], Mike [Laribee], and myself all find the genome inconsistent with

   expectations from evolutionary theory.” Id. (emphasis added); see also Fauci Dep. 51:3-8.

          640.    A few hours later, shortly after midnight, at 12:29 a.m. on February 1, 2020, Dr.

   Fauci sent an email to his principal deputy, Hugh Auchincloss. Fauci Ex. 6, at 8. The subject line

   of the email said “IMPORTANT.” Id. The email stated: “Hugh: It is essential that we speak this

   AM. Keep your cell phone on. … Read this paper as well as the e-mail that I will forward to you

   now. You will have tasks today that must be done. Thanks, Tony.” Id.

          641.    The “this paper” that was attached to the email was the 2015 Nature Medicine

   article entitled “A SARS-like cluster of circulating bat coronaviruses shows potential for human

   emergence,” Fauci Ex. 4, co-authored by Dr. Ralph Baric and Dr. Shi Zhengli and funded by

   NIAID and the EcoHealth Alliance. Fauci Ex. 6, at 8; Fauci Dep. 55:23-56:25. As an attachment

   to Dr. Fauci’s email, this article was called “Baric, Shi et al – Nature Medicine – SARS Gain of

   Function.pdf.” Fauci Ex. 6, at 8.

          642.    Dr. Fauci claims that he can recall virtually nothing about sending this urgent,

   confidential email to his principal deputy in the middle of the night of the day when he found out

   that highly qualified researchers were concerned that SARS-CoV-2 might have leaked from a

   laboratory. See Fauci Dep. 55:15-63:21 (“I don’t recall … I don’t know for sure … I can’t say

   that I recall that in particular … I don’t recall. I’m not sure exactly why those words got in there




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   … I don’t recall … I don’t recall … I don’t precisely recall … I don’t recall if I did … I might

   have, but I don’t recall. … I don’t recall. … I don’t recall … I don’t recall. … I don’t recall … I

   really don’t recall … I actually don’t recall why I forwarded it to him … I don’t recall why I did

   that … I don’t remember … I don’t recall speaking to him.”). This contrasts starkly with Dr.

   Fauci’s public claim to “remember … very well” key events of the same day. Jones Decl., Ex. X,

   at 1. Dr. Fauci’s claim to an amazing loss of memory about this urgent clandestine email to his

   confidential deputy is not credible.

          643.    Dr. Fauci admits, however, that he wanted Auchincloss to find out what coronavirus

   research NIAID was funding in China before his call later that afternoon with scientists about the

   lab-leak concerns raised by Andersen and Farrar: “And at my recollection, I brought to Hugh’s

   attention, saying, ‘We have to speak in the morning, because I want to find out what the scope of

   what it is that we are funding so I'll know what we're talking about.’” Fauci Dep. 58:1-5. In

   particular, Dr. Fauci wanted to find out what EcoHealth Alliance was doing: “this was the first that

   I had heard about specifics of what EcoHealth and what other people were doing, and I wanted my

   staff to say get me up to date. So that's what I meant by you have work to do.” Id. at 58:6-12.

          644.    Regarding the “tasks that must be done,” Dr. Fauci admits that “I wanted to be

   briefed on the scope of what our collaborations were and the kind of work that we were funding

   in China. I wanted to know what the nature of that work was.” Id. at 59:12-15.

          645.    The tone of the email and Dr. Fauci’s own testimony strongly support the inference

   that Dr. Fauci sent the email to Auchincloss because he was concerned that NIAID, under his

   leadership, was funding research in China that might have led to the creation and leak of SARS-

   CoV-2, and he wanted to know the full extent of NIAID’s exposure before his call later that day

   with scientists and funding authorities. See also Fauci Dep. 58:18-25. If it became public that




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   NIAID had funded the creation of SARS-CoV-2, Dr. Fauci and his agency potentially faced an

   enormous crisis of public credibility and accountability.

          646.    Immediately after sending Auchincloss the 2015 Nature Medicine article, Dr. Fauci

   also forwarded Auchincloss another article about the possibility that SARS-CoV-2 had leaked

   from a lab—the Jon Cohen article that he had sent to Kristian Andersen and Jeremy Farrar earlier

   that evening. Fauci Ex. 6, at 9. This email confirms that Dr. Fauci was deeply concerned about

   the prospect that NIAID, under his watch, might have funded the creation of the virus causing the

   global pandemic.

          647.    Dr. Fauci denies that, when he sent this email to Auchincloss, he was then

   concerned that NIAID might have funded the creation of the virus that caused the COVID-19

   pandemic. When asked, “Were you concerned at that time that the work that you had funded in

   China might have led to the creation of the coronavirus?” Dr. Fauci responded: “I wasn’t

   concerned that it might have.” Fauci Dep. 59:16-19. In light of the tone and content of his emails

   at the time, and Dr. Fauci’s other testimony, this statement is plainly not credible.

          648.    According to Dr. Fauci, when he participated in the secret call with the scientists

   and funding authorities later that afternoon on Saturday, Feb. 1, 2020, he did not share with them

   that NIAID had been funding “SARS Gain of Function” research in China leading to the outbreak

   of COVID-19. Fauci Dep. 63:22 (“I don’t believe I did.”).

          649.    In fact, once again, Dr. Fauci claims that he does not recall what he said on the

   clandestine February 1, 2020 phone call. Id. at64:17 (“I don’t recall”).

          650.    At 1:19 p.m. on Saturday, Feb. 1 – about forty minutes before the secret conference

   call to discuss the lab-leak concern – Dr. Fauci also forwarded the “Baric, Shi et al – Nature

   Medicine – SARS Gain of Function” article to Lawrence Tabak of the NIH, saying only “Here it




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   is.” Fauci Ex. 6, at 15. Lawrence Tabak was then “the deputy director of the National Institutes

   of Health,” the principal deputy to then-NIH Director Dr. Francis Collins. Fauci Dep. 65:8-11.

          651.    Dr. Fauci testified that “I don’t recall why” he sent the 2015 Nature Medicine article

   to Lawrence Tabak, but he admits that it was likely to get it into the hands of Dr. Francis Collins,

   who was about to participate in the 2:00 p.m. secret conference call with Dr. Fauci and the other

   scientists. Id. at 66:15-17. Dr. Fauci claims that this was “to make sure everyone was aware of

   what the discussions were,” id. at 66:13-15, but that is not credible in light of his testimony that he

   did not alert any of the other scientists on the call to the concern that NIAID was funding “SARS

   Gain of Function” research in China. Id. at63:22.

          652.    The more compelling inference is that Dr. Fauci wanted Dr. Collins to know that

   NIAID and NIH faced enormous exposure if the lab-leak theory turned out to be true or publicly

   accepted. Dr. Collins, along with Dr. Fauci, had publicly championed gain-of-function research

   since at least 2011, and NIH had jointly funded Dr. Shi Zhengli’s work at the Wuhan Institute of

   Virology through NIAID and the National Institute of Aging. Fauci Ex. 4, at 5 (referring to “grants

   from the National Institute of Allergy & Infectious Disease and the National Institute of Aging of

   the US National Institutes of Health (NIH)”).

          653.    On Saturday, Feb. 1, 2020, at 11:47 a.m., Hugh Auchincloss emailed Dr. Fauci in

   response to his 12:29 a.m. email. The subject line stated only “Continued.” Auchincloss stated:

   “The paper you sent me [i.e., the 2015 Nature Medicine article on ‘SARS Gain of Function’] says

   the experiments were performed before the gain of function pause but have since been reviewed

   and approved by NIH. Not sure what this means since Emily is sure that no Coronavirus work has

   gone through the P3 framework. She will try to determine if we have any distant ties to this work

   abroad.” Fauci Ex. 6, at 16. At 5:51 p.m., Dr. Fauci responded: “OK. Stay tuned.” Id.




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          654.     “Emily” in Auchincloss’s email “is Emily Erbelding, the Director of the Division

   of Microbiology and Infectious Diseases at NIAID,” who “would have been the one who was

   closest to the ground in understanding what we were doing in funding China.” Fauci Dep. 70:14-

   18. The “P3 framework” refers to the special approval process required for funding of gain-of-

   function research on coronaviruses that may cause pandemics, as “P3” stands for “potential

   pandemic pathogens.” See National Institutes of Health, Office of Science Policy, Gain of

   Function      Research,   at   https://osp.od.nih.gov/policies/national-science-advisory-board-for-

   biosecurity-nsabb/gain-of-function-research/ (“Certain gain-of-function studies with the potential

   to enhance the pathogenicity or transmissibility of potential pandemic pathogens (PPPs) have

   raised biosafety and biosecurity concerns…”). Thus, Auchincloss and Dr. Fauci had evidently

   discussed the concern that NIAID had funded the creation of “potential pandemic pathogens” at

   the Wuhan Institute of Virology, and Dr. Fauci was concerned about NIAID’s “ties to this work

   abroad.” Fauci Ex. 6, at 16.

          655.     Dr. Fauci admits that this email confirms that he “wanted to be briefed as to the

   extent of our involvement with funding in China,” Fauci Dep. 71:2-4—in particular, NIAID’s

   funding of the Wuhan Institute of Virology, as a global SARS-like pandemic emerged from

   Wuhan.

          656.     Dr. Fauci also admits that he may have raised the concern with Auchincloss that

   Dr. Baric’s and Dr. Shi Zhengli’s research reflected in the 2015 Nature Medicine article may have

   been illegally funded in violation of the GoF Pause in effect from 2014 to 2017. Fauci Dep. 71:14-

   20 (“Q: Did you raise a specific concern with Hugh that the research reflected in the Baric, Shi

   Nature Medicine paper may have been inconsistent with the pause on -- gain-of-function funding

   research? A. That is possible.”).




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           657.    On Saturday, Feb. 1, 2020, Jeremy Farrar sent an email organizing a secret

   conference call at 2:00 pm EST to a group of scientists and science-funding authorities. Fauci Ex.

   6, at 17-18. The first thing that Farrar noted in the email, in bold, was “Information and

   discussion is shared in total confidence and not to be shared until agreement on next steps.”

   Id. at 17 (bold in original).

           658.    Separately, Farrar sent just Dr. Fauci an email on the morning of Feb. 1 to ensure

   that he could join the call, stating “Could you join?” Fauci Ex. 7, at 12. In that email, Farrar listed

   the participants and stated, “My preference is to keep this a really tight group. … Obviously ask

   everyone to treat in total confidence.” Id. He also stated that the purpose of the call was “To listen

   to the work of Eddie, Bob and Kristian have done. Question it. And think through next steps.”

   Id.

           659.    Dr. Fauci described the call as an open debate about the lab-leak theory among “a

   larger group of evolutionary virologists,” Fauci Dep. 58:19-20, but in fact the call included a heavy

   representation of international government and science-funding authorities—including Dr. Fauci,

   Director of NIAID; Dr. Francis Collins, Director of NIH; Jeremy Farrar, head of the Wellcome

   Trust, the United Kingdom’s “predominant” science-funding authority; Paul Schreier, the Chief

   Operating Officer of the Wellcome Trust who is responsible for “research funding” there; and Sir

   Patrick Vallance, the chief medical advisor to the U.K. government. Fauci Ex. 6, at 18; see also

   Fauci Dep. 75:11-76:15. All these people had a strong vested interest in avoiding a major scandal

   about international science-funding practices—such as the concern that Western governments may

   have funded the creation of a deadly virus that escaped from a lab and infected millions of people.

   As funding authorities who control the distribution of massive amounts of research funding, they

   also had powerful influence over the research scientists on the call.




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           660.    Dr. Fauci took steps to ensure that Dr. Francis Collins would be included on the

   call “since he’s the director of NIH.” Fauci Dep. 75:4-6. Dr. Fauci evidently spoke with Dr.

   Collins before the call, as he emailed Farrar before the call stating, “Jeremy: Francis will be on the

   call. He is trying to phone you.” Fauci Ex. 7, at 17. Farrar then emailed Dr. Collins stating,

   “Francis Call me on [redacted].” Fauci Ex. 7, at 19.

           661.    Like the 12:29 a.m. email to Auchincloss, Dr. Fauci repeatedly claimed that he

   could not recall virtually any details about the 2:00 p.m. secret conference call with scientists and

   funding authorities about the lab-leak theory. Fauci Dep. 63:19-67:11 (“I don’t recall bringing

   this up … I don’t recall … I don’t recall … I don’t recall when it was … I don’t recall … I don’t

   believe that Larry was, but he could have been … I don’t recall”); Fauci Dep. 73:20-74:14 (“I

   don’t recall a discussion about confidentiality or not … I may have. I don’t recall.”); Fauci Dep.

   77:13-15 (“Do you remember anything that anybody said on the call? A: No.”); Fauci Dep. 78:10-

   83:10 (“I don’t recall whether that was discussed … I don’t recall anything from that phone call

   that said that … I’m not sure if I discussed it … I have a vague recollection that there was a concern

   … It is certainly possible, but I don’t specifically remember … I don’t specifically recall.”).

           662.    This testimony to near-complete lack of memory about the call stands in stark

   contrast to Dr. Fauci’s public statements a year and a half after the call occurred, when FOIA

   releases of Dr. Fauci’s emails finally revealed to the public that this secret call had occurred. Then,

   Dr. Fauci stated, “I remember it very well.” Jones Decl., Ex. X, at 1. Dr. Fauci’s testimony about

   lack of recall is not credible.

           663.    Notwithstanding his repeated testimony that he cannot recall specifically what was

   said on the call, Dr. Fauci provided a self-justifying and innocent account of the call, describing it

   as a good-faith discussion among scientists trying to get to the truth without any preconceived




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   biases. See, e.g., Fauci Dep. 77:16-18 (“[T]here was what appeared to me to be good faith

   discussion back and forth between people who knew each other”); Fauci Dep. 79:23-80:1 (“I think

   the general feeling among the participants on the call is that they wanted to get down to the truth

   and not wild speculation about things.”); Fauci Dep. 80:9-10 (“I don't think there was any other

   concern than sticking with the truth and sticking with data”).

          664.    Dr. Fauci thus seeks to have his cake and eat it too—he claims both to remember

   little or nothing of what was said on the call, and to clearly remember that the entire discussion

   was done in good faith and without any bias. In any event, subsequent communications and events

   make clear that Dr. Fauci’s testimony on this point is not credible, as discussed in detail below, as

   an aggressive plot to discredit the lab-leak theory commenced immediately after the call.

          665.    Almost an hour into the 2:00 pm call, at 2:56 p.m., Jeremy Farrar sent a cryptic

   email to Fauci, Collins, Vallance (all science funders) and Mike Ferguson, stating, “Can I suggest

   we shut down the call and then redial in? Just for 5-10 mins?” Dr. Fauci responded, “Yes.” Fauci

   Ex. 7, at 26. Dr. Fauci claims he cannot recall whether this occurred. Fauci Dep. 92:1-93:6.

          666.    Dr. Fauci testified that the call participants concluded that they needed more time

   to take a much closer look at the biology of the virus and genetic sequences before coming to a

   conclusion about the virus’s origins, and they planned to take more time to continue their inquiry

   afterward. See Fauci Dep. 78:3-9 (“The ten[or] of it ended that we need more time … they said

   we need some time to more carefully look at this to see if we can come to a sound conclusion

   based on further examination of the sequences.”); Fauci Dep. 80:24-25 (“The plan was to go and

   spend more time carefully looking at it.”). In fact, Eddie Holmes and Kristian Andersen began

   drafting an article concluding that the lab-leak hypothesis was baseless and rooted in animus




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   immediately after the call ended, and Dr. Fauci received an initial draft of this article by the next

   Tuesday morning. See infra. Dr. Fauci’s testimony on this point is not credible.

          667.    Dr. Fauci testified that his next interaction with the call’s participants was when

   Kristian Andersen sent him a preprint of that article attacking the lab-leak theory. Fauci Dep.

   82:19-83:1. In fact, before the preprint, Holmes and Farrar had sent Dr. Fauci at least four drafts

   of the article to review. See infra. Dr. Fauci’s testimony is not credible on this point.

          668.    Dr. Fauci states that he cannot remember if he had further discussions with Jeremy

   Farrar, Francis Collins, and Patrick Vallance surrounding this call on Feb. 1, 2020. Fauci Dep.

   83:2-10; 85:8-23, 90:25-91:15, 92:1-21. In fact, Dr. Fauci sent Jeremy Farrar a lengthy email that

   is entirely redacted at 12:38 a.m. on Saturday, Feb. 1, 2020, Fauci Ex. 7, at 1; Farrar emailed Fauci

   on Jan. 30 stating “Tony Perfect timing – thank you. Great to catch up,” and provided Sir Patrick

   Vallance’s phone number, Fauci Ex. 7, at 4; Fauci emailed Farrar and Vallance on Jan. 30, stating

   “Thanks, Jeremy. Great chatting with you and Patrick. Will stay in close touch,” Fauci Ex. 7, at

   4; Jeremy Farrar sent Dr. Fauci an email on Friday, Jan. 31, stating “Tony Really would like to

   speak with you this evening It is 10pm now UK Can you phone me on [redacted],” Fauci Ex. 7,

   at 3; Farrar and Sir Patrick Vallance had a three-way call with Dr. Fauci on Jan. 30, 2020, Fauci

   Ex. 7, at 4; Farrar emailed Fauci and Collins after the call referring to “Conversations with you

   and Tony, and Patrick and others,” Fauci Ex. 7, at 34; among others. Dr. Fauci had extensive

   discussions with Jeremy Farrar, Francis Collins, and Patrick Vallance surrounding the 2:00 p.m.

   February 1, 2020 secret conference call, and his testimony to the contrary is not credible.

          669.    After the call, Francis Collins emailed Farrar and stated, “Hi Jeremy, I can make

   myself available at any time 24/7 for the call with Tedros. Just let me know. Thanks for your

   leadership on this critical and sensitive issue.” Fauci Ex. 7, at 34. Farrar responded, “We are




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   altogether as you know!” Fauci then chimed it: “Thanks, Jeremy. We really appreciate what you

   are doing here.” Fauci Ex. 7, at 34. “Tedros” refers to the director of the World Health

   Organization. Fauci Dep. 95:6-7.

          670.    After the call, Dr. Fauci described the scientists as engaging in a careful

   investigation of the virus: “[K]ristian and a few of the others carefully got together and looked at

   it and examined the pros and the cons and the ups and downs, and came to the conclusion that their

   initial concern about the molecular basis of the concern was unwarranted and that what they saw

   was quite compatible and, in fact, suggestive of a natural evolution.” Fauci Dep. 81:8-15. In fact,

   Eddie Holmes and Kristian Andersen immediately began drafting an article attacking the lab-leak

   theory with no further investigation, which was sent to Dr. Fauci in less than three days. See infra.

   Dr. Fauci’s testimony on this point is not credible.

          671.    Farrar emailed Dr. Tedros of the World Health Organization and two senior WHO

   officials, along with Dr. Fauci and Dr. Collins, indicating that he had just spoken to the senior

   WHO officials and “[f]ully agree with your summary.” Fauci Ex. 8, at 1. Farrar emphasized the

   “urgency and importance” of the lab-leak question because of the “[g]athering interest evident in

   the scientific literature and in mainstream and social media to the question of the origin of this

   virus,” and thus it was “[c]ritical” to “get ahead of the science and the narrative of this” instead of

   “reacting to reports which could be very damaging.” Fauci Ex. 8, at 1. He also wrote, “I am sure

   I speak for Francis [Collins] and Tony [Fauci] when I say we are here and ready to play any

   constructive role in this,” as they “[d]o think this is an urgent matter to address.” Id.

          672.    Thus, Farrar, joined by Fauci and Collins, sent a message to the WHO that they

   wanted to “get ahead” of potentially damaging “narrative[s]” that might emerge “in mainstream

   and social media” about the origins of the virus. Id.




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           673.   Later that day, on Feb. 2, Farrar separately emailed Fauci and Collins, stating

   “Tedros and Bernhard have apparently gone into conclave…they need to decide today in my view.

   If they do prevaricate, I would appreciate a call with you later tonight or tomorrow to think how

   we might take forward.” Fauci. Ex. 8, at 2. He also stated, “Meanwhile….” and linked to an

   online article speculating about the lab-leak origins of the virus—again indicating that Fauci,

   Farrar, and Collins were concerned about controlling online discourse about the lab-leak theory.

   Id.

           674.     The day after the conference all, Sunday, Feb. 2, Dr. Fauci, Jeremy Farrar, and Dr.

   Collins shared a series of emails (1) acknowledging that there were very serious arguments in favor

   of the lab-leak theory, and (2) repeatedly expressing concern about the lab-leak theory’s

   involvement on “social media.” The group, including Dr. Fauci, repeatedly expressed concern

   about postings about the lab-leak theory on social media. See Fauci Ex. 8.

           675.   First, after the Feb. 1 call, still on Feb. 1, Farrar sent an email to the group

   expressing concern that “[t]here will be media interest and there is already chat on

   Twitter/WeChat” about the lab-leak theory, and stating: “In order to stay ahead of the conspiracy

   theories and social media I do think there is an urgency for a body to convene” to address the lab-

   leak question. Fauci Ex. 8, at 9.

           676.   The next day, Feb. 2, Farrar then expressed concern that “these questions are being

   asked by politicians, starting in the scientific literature, [and] certainly on social and main stream

   media. If, and I stress if, this does spread further, pressure and tensions will rise. [I] fear these

   questions will get louder and more polarised and people will start to look to who to blame. … I am

   concerned if this is not done quite quickly it will be reacting to what may be lurid claims.” Fauci

   Ex. 8, at 7.




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           677.     Another call participant then agreed that “this needs to be discussed urgently,” in

   part “because of the lurid claims on Twitter.” Fauci Ex. 8, at 6. He also noted that “if the

   evolutionary origins of the epidemic were to be discussed, I think the only people with sufficient

   information or access to samples to address it would be the teams working in Wuhan.” Id.

           678.     The same day, Farrar acknowledged “this is a very complex issue,” and again

   expressed concern about “social and main stream media”: “As discussed on the phone this

   discussion is not limited to those on this email, it is happening wider in the scientific, social and

   main stream media.” Fauci Ex. 8, at 5.

           679.     Dr. Collins then responded to Farrar and Dr. Fauci only, stating that “a confidence-

   inspiring framework … is needed, or the voices of conspiracy will quickly dominate, doing great

   potential harm to science and international harmony.” Fauci Ex. 8, at 5.

           680.     Farrar then shared notes with Fauci, Collins and Tabak (Collins’ deputy) from

   “Mike Farzan (discoverer of SARS receptor),” which stated that Farzan “is bothered by the furin

   cleavage site [a virus feature that looks bioengineered] and has a hard time explaining that as an

   event outside the lab,” and that “acquisition of the furin site would be highly compatible with the

   idea of continued passage of virus in tissue culture,” i.e., serial passage. Fauci Ex. 8, at 4. Farzan

   suggested that “a likely explanation” of the virus was serial passage of SARS-like coronaviruses

   in human cell lines, and he stated that “I am 70:30 or 60:40” in favor of laboratory origins. Fauci

   Ex. 8, at 3-4.

           681.     Farrar also shared notes from “Bob” [Garry] that he had “aligned” the new virus

   “with the 96% bat CoV sequenced at WIV [Wuhan Institute of Virology],” and viewed the lab-

   origin theory as highly likely: “I really can’t think of a plausible natural scenario … I just can’t




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   figure out how this gets accomplished in nature. Do the alignment of the spikes at the amino acid

   level – it’s stunning.” Fauci Ex. 8, at 4.

          682.    Having shared these notes, Farrar noted, “On a spectrum if 0 is nature and 100 is

   release – I am honestly at 50! My guess is that this will remain grey, unless there is access to the

   Wuhan lab – and I suspect that is unlikely!” Fauci Ex. 8, at 3. Both Farrar and Collins expressed

   concerns that the WHO might move too slowly for their liking. Id.

          683.    Then, still on February 2, 2020, Dr. Fauci wrote to Farrar, Collins, and Lawrence

   Tabak (Dr. Collins’ principal deputy), stating: “Like all of us, I do not know how this evolved, but

   given the concerns of so many people and the threat of further distortions on social media, it is

   essential that we move quickly. Hopefully, we can get the WHO to convene.” Fauci Ex. 8, at 2

   (emphasis added).

          684.    Dr. Fauci claimed that he is completely dissociated from social media, stating: “I

   don’t do social media so I’m not familiar with them,” Fauci Dep. 98:15-16; and “You know, I'm

   so dissociated from social media. I don't have a Twitter account. I don't do Facebook. I don't do

   any of that, so I'm not familiar with that,” Fauci Dep. 99:5-8; see also, e.g., Fauci Dep. 103:12-14;

   210:3-8; 213:10-16; 241:6-9; 241:21-242:1; 301:10-11 (“I don't pay attention to things related to

   social media accounts.”); id. at 312:7-9 (“I can repeat it for the hundredth time, I really don't get

   involved in social media issues.”); id. at 356:15-16 (“I'm not a social media person.”).

          685.    In fact, Dr. Fauci’s daughter was then a software engineer at Twitter, Fauci Dep.

   99:23-100:15; Dr. Fauci has done numerous podcasts and interviews on social media, including

   with Mark Zuckerberg, Fauci Dep. 99:16-19, 101:1-6; Dr. Fauci had specifically expressed

   concern about “the threat of further distortions on social media” about the lab-leak theory in his

   contemporaneous email, Fauci Ex. 8, at 2; and Dr. Fauci’s communications staff had repeatedly




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   emailed Twitter to try to remove postings critical of Dr. Fauci, see infra. Dr. Fauci’s professed

   ignorance of social media is not credible. His communications and conduct make clear that he is

   keenly aware and deeply concerned about what he believes are “distortions on social media.”

   Fauci Ex. 8, at 2.

          686.    Dr. Fauci also testified that “I don’t recall anything about social media” in his

   discussions with Farrar about the origins of the virus. Fauci Dep. 102:17-18. In light of the

   contemporaneous emails repeatedly raising concerns about discussions of the lab-leak theory on

   social media, this claim is not credible.

          687.    Dr. Fauci admits that he was “concerned about … there being misinformation or

   disinformation that would interfere with our trying to save the lives of people throughout the world,

   which happens when people spread false claims.”           Fauci Dep. 103:18-22.      He states that

   “misinformation and/or disinformation can lead to loss of life … and that troubles me.” Fauci

   Dep. 104:15-17. This includes the spread of misinformation and disinformation on social media,

   because “that’s part of the way information is disseminated.” Fauci Dep. 104:22-23.

          688.    After Dr. Fauci’s email about “the threat of further distortions on social media,”

   Farrar emailed back indicating that the WHO might not move quickly to address the lab-leak

   theory, and stating to Fauci and Collins: “they need to decide today in my view. If they do

   prevaricate, I would appreciate a call with you later tonight or tomorrow to think how we might

   take forward.” Fauci Ex. 8, at 2. He also stated: “Meanwhile….” and linked to an online posting

   expressing concerns about the lab-leak theory – indicating his dominant concern about online

   speech discussing the lab-leak theory. Id.

          689.    Soon thereafter, Farrar emailed Dr. Tedros of the WHO and two senior WHO

   officials, copying Fauci and Collins. Fauci Ex. 8, at 1. Farrar urged the WHO to quickly establish




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   a working group to address the lab-leak theory, and reiterated that they should “[a]ppreciate the

   urgency and importance of this issue,” given the “[g]athering interest evident in the science

   literature and in mainstream and social media to the question of the origin of this virus,” and

   pressing them to “get ahead of … the narrative of this and not reacting to reports which could be

   very damaging.” Fauci Ex. 8, at 1.

          690.    Fauci claims that he does not believe there was any further communication between

   him and Farrar about this issue, despite Farrar’s urgent request for a follow-up call if the WHO

   did not act immediately. Fauci Ex. 8, at 2; Fauci Dep. 109:22-110:7. In light of their subsequent

   communications, this testimony is not credible.

          691.    By the early morning of February 4, 2020, Eddie Holmes had already sent a draft

   research paper attacking the lab-leak theory to Jeremy Farrar. Fauci Ex. 9, at 1. Holmes noted to

   Farrar that, in the draft, he “[d]id not mention [the virus’s] other anomalies as this will make us

   look like loons.” Fauci Ex. 9, at 1. To complete the draft between the afternoon of Saturday, Feb.

   1, and the early morning of Tuesday, Feb. 4, Holmes must have started working on it almost

   immediately after the Feb. 1 conference call.

          692.    Farrar forwarded this draft to Fauci and Collins at 2:01 a.m. on Tuesday morning,

   February 4, 2020, in an attachment called “Summary.” Fauci Ex. 10, at 3. He noted, “Please treat

   in confidence – a very rough first draft from Eddie and team – they will send on the edited, cleaner

   version later.” Id.; see also Fauci Ex. 12, at 1.

          693.    Dr. Collins responded: “I note that Eddie is now arguing against the idea that this

   is the product of intentional human engineering,” Fauci Ex. 10, at 3, a dramatic reversal of

   Holmes’s position a few days earlier that Holmes and Andersen “find the genome inconsistent

   with expectations from evolutionary theory.” Fauci Ex. 6, at 1. The paper’s conclusion was also




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   profoundly at odds with Holmes’s statement, in the email sending the draft paper itself, that they

   would “look like loons” if the paper discussed the virus’s other “anomalies” that strongly

   suggested a lab origin. Fauci Ex. 9, at 1.

          694.    Collins also noted that Holmes had not ruled out the possibility of a lab-created

   virus through serial passage. Fauci Ex. 10, at 3. Farrar responded, stating “Eddie would be 60:40

   lab side. I remain 50:50.” Id. Eddie, however, had already drafted a paper that refuted the lab-

   leak theory, even though he evidently still believed was the better explanation. See id.

          695.    Regarding the possibility of serial passage, Dr. Fauci noted that “Serial passage in

   ACE2-transgenic mice” was a possibility for the virus’s origin, Fauci Ex. 10, at 2— notably, serial

   passage in humanized mice as was used in the 2015 Nature Medicine study. (Like so many other

   things, Dr. Fauci claims he does not recall this statement that he wrote. Fauci Dep. 115:22-116:12.)

   Collins responded, “Surely that wouldn’t be done in a BSL-2 lab?” and Farrar answered, “Wild

   West….” Fauci Ex. 10, at 2. This exchange indicates that that Fauci, Farrar, and Collins were

   concerned that the coronavirus had been created in Wuhan by serial passage through humanized

   mice in a low-security [BSL-2] lab and then escaped from that low-security lab—i.e., the precise

   concerns surrounding the NIAID-funded research at WIV. Id.; see also, e.g., Jones Decl., Ex. BB<

   at 14 (“In the above exchange, the health officials [Fauci, Farrar, and Collins] seem to be

   contemplating the possibility that the repeated passage of a coronavirus through genetically

   modified mice in an insufficiently secure lab could have resulted in the accidental emergence and

   release of SARS-CoV-2.”).

          696.    Later in the evening of the same day, Tuesday, Feb. 4, Farrar sent Fauci and Collins

   a second version of draft, entitled “Summary,” with the note “Tidied up.” Fauci Ex. 12, at 7. Dr.

   Fauci claims he does not remember receiving these drafts. Fauci Dep. 127:4-10.




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          697.    The next day, February 5, 2020, Farrar sent Fauci and Collins a third version of the

   draft, still entitled “Summary,” with a note: “Tony and Francis The revised draft from Eddie,

   copied here.” Fauci Ex. 12, at 8.

          698.    Two days later, on February 7, 2020, Farrar sent Fauci and Collins a fourth version

   of the same draft, entitled “Summary.Feb7.pdf,” with the note in the subject line, “Revised draft.”

   Fauci Ex. 11, at 2. This draft made clear that Holmes and his co-authors planned to aggressively

   discredit the lab-leak theory. It stated in bold in the beginning “Overview” section: “Analysis of

   the virus genome sequences clearly demonstrates that the virus is not a laboratory construct

   or experimentally manipulated virus.” Fauci Ex. 11, at 3 (bold in original).

          699.    This was the fourth updated draft that Farrar sent to Fauci and Collins of the paper

   discrediting the lab-leak theory in the first week since the Feb. 1 secret conference call. The draft

   advocated that genetic evidence “clearly demonstrates” that the lab-leak theory is false. Id.

          700.    Dr. Fauci claims that he did not have any involvement in Farrar’s efforts to push

   the WHO to assemble a working group to address the lab-leak theory. Fauci Dep. 110:4-7 (“So I

   really would doubt that there was any further communication between me and the WHO about

   this. This was fundamentally Jeremy's lane, if you want to call it that.”); id. at 125:17-19 (“I didn’t

   have any direct involvement with the WHO, not to my recollection.”); id. at 131:14-15 (“This was

   mostly a Jeremy-led thing”). But in fact, Dr. Fauci sent multiple emails to Farrar urging for the

   inclusion of a long list of specific scientists in the WHO’s working group. Fauci Ex. 13, at 1-2, 6.

          701.    On Feb. 5, 2020, Farrar emailed Fauci and Collins, stating that he believed that the

   WHO would assemble a working group to address the lab-leak theory, and urging Fauci and

   Collins to provide names of scientists to participate in the group. Fauci Ex. 13, at 7. Farrar stated

   that the WHO “have asked for names to sit on that Group – please do send any names.” Id. He




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   then stated, “We can have a call this week with a core group of that to frame the work of the Group

   including – if you could join?” Id. (emphasis added). And then he stated, “With names to be put

   forward into the Group from us and pressure on this group from your and our teams next week.”

   Id. (emphasis added). Plainly, Farrar intended, with Fauci and Collins’ assistance, to stack the

   WHO’s group with their hand-picked scientists, have an advance call “to frame the work of the

   Group,” and to put “pressure on this group from [Fauci’s and Collins’] and our teams next week,”

   id.—to influence and control the outcome of the WHO Group’s deliberations.

          702.    Fauci and Collins did not dispute this plan. On the contrary, Fauci responded by

   providing Farrar with a detailed list of eight scientists to include in the WHO’s group “in addition

   to the individuals who were on the call with us last Saturday.” Fauci Ex. 13, at 2, 6. Fauci then

   followed up to his own email with an additional scientist, stating she is “an important name for the

   coronavirus evolution working group. Please include her.” Id. at 1. Fauci’s attempts to downplay

   his involvement with the plan to create and control a WHO working group on COVID-19’s origins

   to discredit the lab-leak theory, therefore, are not credible.

          703.    Dr. Fauci testified that he, Farrar, and Collins “wanted to get them [the WHO]

   involved because we wanted to make sure that this was an open and transparent discussion,” Fauci

   Dep. 126:9-12, is not credible in light of the contemporaneous email from Farrar to Fauci and

   Collins plotting to “frame the work of the Group” and put “pressure on this group from your and

   our teams next week.” Fauci Ex. 13, at 3.

          704.    Dr. Fauci claims he does not recall any discussions about framing the work of the

   Group, or putting pressure on the Group. Fauci Dep. 137:1-21.

          705.    On February 9, 2020, Dr. Fauci participated in a joint podcast with Dr. Peter Daszak

   of the EcoHealth Alliance to discuss the outbreak of COVID-19. Fauci Ex. 15, at 1.




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          706.       Peter Daszak was then involved in organizing a statement for the Lancet seeking to

   discredit the lab-leak theory, similar to the article then being drafted by Eddie Holmes, of which

   Dr. Fauci had received four drafts the previous week. See Jones Decl., Ex. CC, at 1. Just a few

   days later, The Lancet would publish a statement of scientists organized and co-signed by Daszak

   and Jeremy Farrar, which stated: “We stand together to strongly condemn conspiracy theories

   suggesting that COVID-19 does not have a natural origin.” Id. Thus, at that time, Daszak was

   working in parallel with Dr. Fauci, and together with Jeremy Farrar, to produce a published article

   discrediting the lab-leak theory. Id.

          707.       During the podcast, both Dr. Fauci and Daszak made comments seeking to discredit

   the lab-leak theory. Fauci Ex. 16, at 1. Fauci, when asked “Do you have any sense of where [the

   virus] probably came from?” answered, “Well I think ultimately we know that these things come

   from an animal reservoir. I heard these conspiracy theories and like all conspiracy theories … they

   [are] just conspiracy theories…. I think the things you are hearing are still in the realm of

   conspiracy theories without any scientific basis for it.” Id. Daszak was asked, “Is it your sense

   that it’s almost certain it came from an animal-to-human transmission?” and he responded: “All

   the evidence says that is what happened. … It looks to me and to most scientists like it’s a bat virus

   that got into people either in the market or in rural China and just unfortunately has the capacity

   to spread.” Id.

          708.       On February 11, 2020, Dr. Fauci had a meeting at NIAID with Dr. Ralph Baric, the

   corresponding author of the 2015 Nature Medicine article about NIAID-funded gain-of-function

   research in Wuhan that Dr. Fauci sent to Hugh Auchincloss after midnight on Feb. 1. Fauci Ex.

   17, at 1 (Dr. Fauci’s official calendar, Feb. 11, 2020, at 2:30 p.m. – “Meeting with Dr. Ralph

   Baric”). Dr. Fauci does not dispute that he met with Dr. Ralph Baric that day, but (like so many




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   other things) he claims that he does not recall the meeting or what they discussed. Fauci Dep.

   149:9-10, 149:21-23. As noted above, given that Dr. Fauci was deeply concerned about Baric’s

   research at the time, Dr. Fauci’s testimony on this point is not credible.

          709.    On Feb. 11, 2020, Ian Lipkin wrote an email referring to the draft paper about the

   origins of COVID-19 stating that, while the paper was “well-reasoned and provides a plausible

   argument against genetic engineering,” it “does not eliminate the possibility of an inadvertent

   release following adaptation through selection in culture at the institute in Wuhan. Given the scale

   of the bat CoV research pursued there and the site emergence of the first human cases we have a

   nightmare of circumstantial evidence to assess.” Fauci Ex. 18, at 1. Dr. Fauci states that he does

   not recall this email but that “it’s entirely possible that Ian wrote this to me,” because “Ian

   communicates with me.” Fauci Dep. 153:15-17.

          710.    Dr. Fauci testified that it is “molecularly” impossible that SARS-CoV-2 originated

   from NIAID-funded research: “molecularly, that could not have happened.” Id. at 157:21-22. But

   separately, he repeatedly testified that molecular virology is not his field, so his certainty on this

   one key point is not credible. Id. at 64:8-9 (“that’s not my field, evolutionary virology”); id. at

   117:19-20 (“I’m hesitant to go there because that’s not my area of expertise”); id. at 127:12-13 (“it

   was an area that was not my area of expertise”); id. at 160:7-9 (“Did I fully understand the

   molecular virology of it? Unlikely, because I’m not an evolutionary virologist.”).

          711.    On February 17, 2020, the preprint version of the paper drafted by Eddie Holmes

   attacking the lab-leak theory was released. Fauci Ex. 19. The paper was entitled, “The Proximal

   Origins of SARS-CoV-2.” Id. at 12. Its listed authors were Kristian Andersen, Andrew Rambaut,

   Ian Lipkin, Edward Holmes, and Robert Garry. Id. All these authors, except possibly Ian Lipkin,




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   had been participants in the secret phone conference at 2:00 p.m. on Saturday, Feb. 1, 2020. Fauci

   Dep. 161:7-10.

          712.    These authors had a financial interest in supporting NIH’s preferred narrative.

   “Garry and Andersen have both been recipients of large grants from NIH in recent years, as has

   another ‘Proximal Origin’ author, W. Ian Lipkin of Columbia University.” Jones Decl., Ex. BB.

          713.    These authors were stunningly recent converts to the theory of natural origin. On

   February 11, Ian Lipkin had sent an email about the same paper stating that “we have a nightmare

   of circumstantial evidence to assess.” Fauci Ex. 18, at 1. On February 4, Holmes had written to

   Farrar that he avoided discussing the virus’s “other anomalies as this will make us look like loons.”

   Fauci Ex. 9, at 1.

          714.    On February 2, Bob Garry had written to Farrar, “I really can’t think of a plausible

   natural scenario … I just can’t figure out how this gets accomplished in nature. Do the alignment

   of the spikes at the amino acid level – it’s stunning.” Fauci Ex. 8, at 4. On January 31, Andersen

   had written to Dr. Fauci that the virus’s “features (potentially) look engineered,” and that “after

   discussion earlier today, Eddie [Holmes], Bob [Garry], … and myself all find the genome

   inconsistent with expectations from evolutionary theory.” Fauci Ex. 6, at 1.

          715.    The preprint version of “The Proximal Origin of SARS-CoV-2” asserted a very

   different conclusion. It stated that “this analysis provides evidence that SARS-CoV-2 is not a

   laboratory construct nor a purposefully manipulated virus.” Fauci Ex. 19, at 2. It stated that

   “genomic evidence does not support the idea that SARS-CoV-2 is a laboratory construct.” Id. at

   6.

          716.    Dr. Fauci does not dispute that this preprint was sent to him. Fauci Dep. 160:3-4

   (“It is likely that this was sent to me”). Dr. Fauci admits that he reviewed the preprint when it was




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   sent to him. Id. at 160:7 (“Did I look through it? Yes.”). And Dr. Fauci admits that he was aware

   of what their conclusion was about the lab-leak theory. Id. at 162:13-15 (“I am certain that having

   looked at it, I was aware of what their conclusion was.”).

          717.      This was the fifth version of the paper that was sent to Dr. Fauci to review, after

   four drafts sent to him on Feb. 4, 5, and 7. Id. at 160:13-16.

          718.      On March 6, 2020, Kristian Andersen emailed Dr. Fauci, Dr. Collins, and Jeremy

   Farrar, stating, “Dear Jeremy, Tony, and Francis, Thanks again for your advice and leadership as

   we have been working through the SARS-CoV-2 ‘origins’ paper. We are happy to say that the

   paper was just accepted by Nature Medicine and should be published shortly …. To keep you in

   the loop, I just wanted to share the accepted version with you, as well as a draft press release.

   We’re still waiting for proofs, so please let me know if you have any comments, suggestions, or

   questions about the paper or the press release.” Fauci Ex. 22, at 1. He also wrote: “Tony, thank

   you for your straight talk on CNN last night – it’s being noticed.” Id.

          719.      Thus, Andersen thanked Dr. Fauci, Collins, and Farrar for their “advice and

   leadership” about the paper, sent them the final draft, and asked for their input both on the draft

   and on their public messaging about the draft. Id.

          720.      This was the sixth version of the paper that was forwarded to Dr. Fauci for review

   and input. Id.

          721.      Dr. Fauci responded: “Kristian: Thanks for your note. Nice job on the paper.

   Tony.” Id.

          722.      Dr. Fauci denies that he provided “advice and leadership” in the preparation of the

   paper. Fauci Dep. 171:11-13. In light of the extensive meetings and correspondence detailed

   above, that testimony is not credible.




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          723.    On March 17, 2020, Nature Medicine published the online version of The Proximal

   Origin of COVID-19. Fauci Ex. 24, at 3. The print version appeared in the April 2020 volume of

   the journal. Id.

          724.    The final, published version of the article makes even stronger claims attacking the

   lab-leak theory than the preprint version. In its opening, the article states: “Our analyses clearly

   show that SARS-CoV-2 is not a laboratory construct or a purposefully manipulated virus.” Fauci

   Ex 24, at 1 (emphasis added). Similarly strong language, leaving no room for doubt, occurs

   throughout the article: “the genetic data irrefutably show that SARS-CoV-2 is not derived from

   any previously used viral backbone,” id. at 1 (emphasis added). “This clearly shows that the

   SARS-CoV-2 spike protein optimized for binding to human-like ACE2 is the result of natural

   selection,” id. at 2 (emphasis added).      “[T]he evidence shows that SARS-CoV-2 is not a

   purposefully manipulated virus,” id. at 3. “[W]e do not believe that any type of laboratory-based

   scenario is plausible.” Id. at 3. “SARS-CoV-2 originated via natural selection.” Id. at 3.

          725.    Thus, between the preprint version and final version of the article, the article

   substantially beefed up its conclusion that the lab-leak theory is implausible and should be

   discredited. Dr. Fauci claims he does not “recall specific conversations” about that conclusion

   with the authors, but he admits that he is “sure” that he discussed that conclusion with them: “we

   read the preprint and, therefore, we knew what the conclusion was, and I'm sure that that

   conclusion was discussed. So I would not be surprised at all following the initial preprint that I

   discussed the conclusion of these authors that this is not a laboratory construct or a purposely

   manipulated virus.”    Fauci Dep. 181:3-10; see also id. at 181:18-22.         Based on all these

   circumstances, it is likely that Dr. Fauci encouraged the authors to express a stronger and more

   unequivocal conclusion against the lab-leak theory than reflected in the preprint.




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          726.    Once the article “The Proximal Origin of SARS-CoV-2” was released, both Dr.

   Fauci and Dr. Collins took steps to push it into prominence. First, on March 26, 2020, Dr. Collins

   published a blog post on the article on the “NIH Director’s Blog” entitled “Genomic Study Points

   to Natural Origin of COVID-19.” Fauci Ex. 25, at 1.

          727.    Dr. Collins used strong language relying on the study to attack and discredit the

   lab-leak theory as “outrageous” and “debunk[ed]”: “Some folks are even making outrageous

   claims that the new coronavirus causing the pandemic was engineered in a lab and deliberately

   released to make people sick. A new study debunks such claims by providing scientific evidence

   that this novel coronavirus arose naturally.” Fauci Ex. 25, at 2. Dr. Collins stated that the study

   shows that “the coronavirus that causes COVID-19 almost certainly originated in nature,” and that

   “this study leaves little room to refute a natural origin for COVID-19.” Fauci Ex. 25, at 3.

          728.    In his blog post, Dr. Collins did not disclose that he and Dr. Fauci had been part of

   the group that organized the study, nor that he and Dr. Fauci had reviewed six versions of the study

   before it was published. Fauci Ex. 25.

          729.    As was evidently intended, Dr. Collins’s blog post immediately fueled media

   coverage attacking the lab-leak theory as a “conspiracy theory.” For example, the next day, March

   27, 2020, ABC News ran a story entitled, “Sorry, conspiracy theorists. Study concludes COVID-

   19 ‘is not a laboratory construct.’” Fauci Ex. 26. The article quoted Bob Garry—who on January

   31 had found “the genome inconsistent with the expectations of evolutionary theory,” Fauci Ex.

   6, at 1, and on February 1 had told Farrar that “I just can’t figure out how this gets accomplished

   in nature … it’s stunning,” Fauci Ex. 8, at 4—as stating that “[t]his study leaves little room to

   refute a natural origin for COVID-19.” Fauci Ex. 26, at 3-4.




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          730.    Dr. Fauci testified that he could not remember any contact from Dr. Collins about

   “The Proximal Origin of SARS-CoV-2” after Dr. Collins’ blog post on March 26, 2020. Fauci

   Dep. 186:19-187:6. In light of their subsequent communications and Dr. Fauci’s actions, this

   testimony is not credible.

          731.    In fact, Dr. Collins emailed Dr. Fauci about the article on Thursday, April 16, 2020.

   Fauci Ex. 27. The email linked to a Fox News piece by Bret Baier alleging that sources were

   “increasingly confident” that SARS-CoV-2 originated in a lab, and it stated: “Wondering if there

   is something NIH can do to help put down this very destructive conspiracy, with what seems to be

   growing momentum.” Fauci Ex. 27, at 1. Dr. Collins stated, “I hoped the Nature Medicine article

   on the genomic sequence of SARS-CoV-2 [i.e., “The Proximal Origin of COVID-19] would settle

   this. … Anything more we can do?” Fauci Ex. 27, at 1.

          732.    Dr. Fauci responded to Dr. Collins at 2:45 a.m. the next day, Friday, April 17,

   stating only: “Francis: I would not do anything about this right now. It is a shiny object that will

   go away in times. Best, Tony.” Fauci Ex. 27, at 2.

          733.    Dr. Fauci testified that he did not take “any steps to increase the visibility of the

   article after this” email exchange with Dr. Collins. 191:21-22; see also 195:10-17. That testimony

   is incorrect and not credible.

          734.    In fact, that same day, Dr. Fauci took matters into his own hands to make the lab-

   leak theory “go away.” At the joint press conference on April 17, 2020, with President Trump,

   Vice President Pence, and Dr. Fauci, a reporter asked, “Mr. President, I wanted to ask Dr. Fauci:

   Could you address the suggestions or concerns that this virus was somehow manmade, possibly

   came out of a laboratory in China?” Fauci Ex. 28, at 2. Dr. Fauci responded: “There was a study

   recently that we can make available to you, where a group of highly qualified evolutionary




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   virologists looked at the sequences there and the sequences in bats as they evolve. And the

   mutations that it took to get to the point where it is now is [pause for emphasis] totally consistent

   with a jump of a species from an animal to a human.” Id.; see also id. 199:18-25 (Dr. Fauci

   conceding that, “when you said that sentence about totally consistent, you pause and use that

   phrase, ‘totally consistent’ with emphasis” – “Right.”); see also Video of April 17, 2020 White

   House Coronavirus Task Force Briefing, at https://www.youtube.com/watch?v=brbArpX8t6I

   (exchange starting at 1:38:32 of video).

          735.    Dr. Fauci then feigned ignorance and unfamiliarity with the authors of the study:

   “the paper will be available – I don’t have the authors right now, but we can make that available

   to you.” Fauci Ex. 28, at 2. Presenting himself as unconnected with the paper, Dr. Fauci did not

   reveal (1) that he was part of a group that had launched the paper in a clandestine phone call on

   Saturday, Feb. 1; (2) that he had extensively corresponded with Jeremy Farrar about the paper and

   its conclusions; (3) that the authors of the paper had sent six versions to him, Jeremy Farrar, and

   Dr. Collins to review; (4) that he had likely urged the authors to beef up their conclusion attacking

   the lab-leak theory between the preprint and published versions of the paper; (5) that the authors

   had personally thanked him for his “advice and leadership” in drafting the paper; or (6) that Dr.

   Collins had emailed him the day before to ask him to push the paper publicly or take other steps

   to discredit the lab-leak theory.

          736.    Dr. Fauci does not dispute that he was referring to “The Proximal Origin of SARS-

   CoV-2” in his public remarks at the April 17, 2020, White House press briefing. Fauci Dep. 201:2-

   6 (“I assume it was the Nature Medicine paper…. I think it was.”).

          737.    Dr. Fauci testified that he did not make that paper available to any reporters after

   the press conference. Id. at 201:7-9 (“Not to my knowledge.). That testimony is not credible.




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          738.    In fact, over the weekend following the press conference, Dr. Fauci personally

   responded to an inquiry from a reporter specifically asking for the study he had referred to at the

   April 17, 2020 press conference, and provided a link to “The Proximal Origin of SARS-CoV-2.”

   Fauci Ex. 29, at 1. On Sunday, April 19, a reporter emailed the White House press office asking,

   “Dr. Fauci said on Friday he would share a scientific paper with the press on the origin of the

   coronavirus. Can you please help me get a copy of that paper?” Id.

          739.    Dr. Fauci personally responded to this reporter, stating, “Bill: Here are the links to

   the scientific papers and a commentary about the scientific basis of the origins of SARS-CoV-2.”

   Fauci Ex. 29, at 1. He then provided three links. The first was a link to the online version of “The

   Proximal Origin of SARS-CoV-2.” The second and third were links to a paper and an online

   statement by Eddie Holmes, whom Dr. Fauci knew had begun secretly drafting the paper that

   became “The Proximal Origin of SARS-CoV-2” immediately after the clandestine Feb. 1

   conference call with Dr. Fauci, Jeremy Farrar, and others. Fauci Ex. 29, at 1. The second link to

   a paper authored by Holmes was “a commentary on [The Proximal Origin of SARS-CoV-2] in the

   journal Cell.” Fauci Dep. 202:25-203:1; see also id. at 203:2-16.

          740.    On April 18 and 19, 2020, Dr. Fauci exchange cordial emails with Peter Daszak of

   the EcoHealth Alliance, who steers NIAID funds to finance bat coronavirus research with Dr. Shi

   Zhengli at the Wuhan Institute of Virology. On Saturday, April 18, Daszak emailed Dr. Fauci,

   calling him “Tony,” and stating: “As the PI of the R01 grant publicly targeted by Fox News

   reporters at the Presidential press briefing last night, I just wanted to say a personal thank you …

   for standing up and stating that the scientific evidence supports a natural origin for COVID-19 …

   not a lab release from the Wuhan Institute of Virology.” Fauci Ex. 30, at 1. Daszak also wrote:

   “Once this pandemic’s over I look forward to thanking you in person and let you know how




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   important your comments are to us all.” Id. Dr. Fauci responded on April 19: “Peter: Many thanks

   for your kind note.” Id.

          741.    Dr. Fauci’s and Dr. Collins’s efforts to orchestrate and publicize “The Proximal

   Origin of SARS-CoV-2” as a method of discrediting the lab-leak theory were highly effective.

   “The Proximal Origin of SARS-CoV-2” became one of the most widely read and most publicized

   scientific papers in history, with pervasive media coverage using it to discredit the lab-leak theory.

   “The paper has been accessed online more than 5.7 million times and has been cited by more than

   2,000 media outlets. … It became one of the best-read papers in the history of science.” Jones

   Decl., Ex. BB, at 3.

          742.    As a direct result of these efforts, speech and speakers advocating for the lab-leak

   theory of COVID-19’s origins were extensively censored on social media platforms.

          743.    Twitter took aggressive censorship action against such speech and speakers. For

   example, on September 16, 2020, Twitter suspended the account of a Chinese virologist who

   claimed coronavirus was made in a lab. Fauci Ex. 31, at 1. “Twitter has suspended the account

   of a Chinese scientist who suggested that the novel coronavirus was created in a lab … despite

   inconclusive evidence.” Fauci Ex. 31 at 2.

          744.    Facebook, likewise, took aggressive steps to censor the lab-leak theory on social

   media, even going so far as to formalize this policy as part of its official content-moderation policy.

   Fauci Ex. 32, at 3 (Facebook announcing that “we are expanding the list of false claims we will

   remove to include additional debunked claims about the coronavirus and vaccines,” including

   “COVID-19 is man-made or manufactured”). Facebook noted that “we already prohibit these

   claims in ads,” and promised “to take aggressive action against misinformation about COVID-19

   and vaccines.” Id. Facebook promised to “begin enforcing this policy immediately, with a




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   particular focus on Pages, groups or accounts that violate these rules …. Groups, Pages, and

   accounts on Facebook that repeatedly share these debunked claims may be removed altogether.”

   Id.

          745.    Like Twitter, Facebook censored even high-profile speakers who raised questions

   about the origins of COVID-19 or advanced the lab-leak hypothesis. For example, Facebook

   censored an article by award-winning British journalist Ian Birrell who raised “the question of the

   origins of the Covid-19 virus within Wuhan” and criticized the natural-origin theory of the virus.

   Fauci Ex. 33, at 1.

          746.    Dr. Fauci claims that he is not aware of any suppression of speech about the lab-

   leak theory on social media: “I'm not aware of suppression of speech on social media to my

   knowledge…. I don't recall being aware of suppression of anything.” Fauci Dep. 208:10-14. He

   claims that this ignorance is because he does not pay any attention to anything said on social media:

   “This is not something that would be catching my attention because, you know, the social media

   and Twitter, I told you, I don't have a Twitter account. I don't tweet. I don't do Facebook. I don't

   do anything. So social media stuff, I don't really pay that much attention to.” Id. at 210:3-8. As

   noted above, Dr. Fauci’s emails and actions reflect extensive concern about what is said on social

   media, and his attempt to cast himself as someone with no knowledge of social media is not

   credible.

          747.    Further, Dr. Fauci’s emails and interrogatory responses show a close relationship

   with the CEO and founder of Meta (Facebook/Instagram), Mark Zuckerberg.

          748.    On February 27, 2020, Mark Zuckerberg emailed Dr. Fauci directly to inquire about

   the development of the COVID-19 vaccine and offer the assistance of the Chan-Zuckerberg

   foundation. Fauci Ex. 23, 1. Zuckerberg already had Dr. Fauci’s email, called Dr. Fauci by his




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   first name “Tony,” and wrote as if he had a preexisting acquaintance with Dr. Fauci. Id. Dr. Fauci,

   likewise, responded to Zuckerberg on a first-name basis and with the familiar tone of an

   acquaintance. Fauci Ex. 23, at 2.

          749.      Dr. Fauci claims that he does not recall whether he had already met Mark

   Zuckerberg. Fauci Dep. 173:17-174:5 (“I meet thousands of people. I’m not sure I ever met him

   in person.”). But in fact, Dr. Fauci still refers to Mark Zuckerberg by his first name. Id. at 289:9-

   16.

          750.      On March 15, 2020, Mark Zuckerberg sent Dr. Fauci a lengthy email to offer close

   coordination between Dr. Fauci and Facebook on COVID-19 messaging. In the email, Zuckerberg

   thanked Dr. Fauci for his leadership, and “share[d] a few ideas of ways to help you get your

   message out.” Fauci Ex. 23, at 3. Zuckerberg made three proposals: (1) Facebook was about to

   launch a “Coronavirus Information Hub” visible at the top of the page to all Facebook users to

   “get authoritative information from reliable sources,” and Zuckerberg offered to include “a video

   from you” as a “central part of the hub,” id.; (2) Zuckerberg was “doing a series of livestreamed

   Q&As from health experts” for his 100 million followers and wanted Dr. Fauci to do one of these

   videos, id.; and (3) Zuckerberg advised Dr. Fauci that Facebook had “allocated technical resources

   and millions of dollars of ad credits for the US government to use for PSAs to get its message out

   over the platform,” and he wanted Dr. Fauci to recommend “a point person for the government

   response,” id.

          751.      Dr. Fauci responded the next day, telling “Mark” that “[y]our idea and proposal

   sound terrific,” that he “would be happy to do a video for your hub,” and that “your idea about

   PSAs is very exciting.” Fauci Ex. 23, at 4. He copied his Special Assistant to put Zuckerberg in




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   touch with the right point person for the government to arrange specially subsidized government

   messaging about COVID-19 on Facebook. Id.

          752.    Zuckerberg replied the same day, stating “[w]e’d love to move quickly to help the

   effort and support getting these messages out.” Fauci Ex. 23, at 6.

          753.    Dr. Fauci claims that the U.S. Government did not accept Facebook’s offer of free

   ad credits to support the Government’s COVID-19 messaging. Fauci Dep. 177:22-178:4 (“I don't

   believe that there was any money that was given from the Zuckerberg to the United States

   government to do PSAs. It's possible, but it certainly didn't happen to my knowledge. I don't recall

   money being given for PSAs.”). But at the time, Dr. Fauci described the proposal as “very

   exciting” and immediately followed up on Zuckerberg’s offer. Fauci Ex. 23, at 4. Separate emails

   from Facebook to the White House corroborate these ad credits. See, e.g., Doc. 174-1, at 46. Dr.

   Fauci’s testimony on this point is not credible.

          754.    Dr. Fauci and Zuckerberg have “interacted on Facebook Zoom-type podcasts.”

   Fauci Dep. 175:17-18. Dr. Fauci did “[t]hree live stream Facebook-type Q and As” about COVID-

   19 with Zuckerberg. Fauci Dep. 177:2-4.

          755.    Dr. Fauci’s interrogatory responses reveal extensive direct communications

   between Dr. Fauci and Zuckerberg.           See Scully Ex. 12, at 33, 53-54 (identifying 13

   communications between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual

   meetings, and live broadcasts, over a nine-month period in 2020).

          756.    Reviewing the foregoing facts about Dr. Fauci’s communications with Farrar,

   Eddie Holmes, and others, former Director of the CDC Robert Redfield “had a dawning

   realization. He concluded there’d been a concerted effort not just to suppress the lab-leak theory

   but to manufacture the appearance of a scientific consensus in favor of a natural origin. ‘They




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   made a decision, almost a P.R. decision, that they were going to push one point of view only’ and

   suppress rigorous debate, said Redfield. ‘They argued they did it in defense of science, but it was

   antithetical to science.’” Jones Decl., Ex. AA.

          B.      Dr. Fauci’s Efforts to Suppress Speech on Hydroxychloroquine.

          757.    On May 22, 2020, The Lancet published an online article entitled

   “Hydroxychloroquine or chloroquine with or without a macrolide for treatment of COVID-19: a

   multinational registry analysis.” Fauci Ex. 35, at 1. The article purported to analyze 96,032

   patients to compare cohorts who did and did not receive hydroxychloroquine or chloroquine to

   treat COVID-19. Id. The study concluded that hydroxychloroquine and chloroquine were

   “associated with decreased in-hospital survival and an increased frequency of ventricular

   arrhythmias when used for COVID-19.” Id.

          758.    On May 27, 2020, Dr. Fauci publicly cited this study to claim that

   hydroxychloroquine is “not effective against coronavirus.” Fauci Ex. 34, at 1. Dr. Fauci “became

   the first Trump administration official to say definitively that hydroxychloroquine is not an

   effective treatment for the coronavirus.” Id. at 2. “‘The scientific data is really quite evident now

   about the lack of efficacy,’ Fauci … said on CNN.” Id.

          759.    Dr. Fauci’s comments were based on the May 22 Lancet study. Id. at 3 (“Fauci’s

   comments come days after the Lancet published a 96,000-patient observational study that

   concluded that hydroxychloroquine had no effect on Covid-19 and may even have caused some

   harm.”).

          760.    The Lancet article was an observational study, not a randomized trial. At the time,

   “[t]here [wa]s no data yet from randomized, controlled clinical trials of hydroxychloroquine – the




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   gold standard for evaluating potential treatments.” Fauci Ex. 34, at 4. “But Fauci was unequivocal

   on [May 27, 2022], saying that ‘the data are clear right now.’” Id.

           761.     Just a few days later, The Lancet retracted the May 22, 2022 study. Fauci Ex. 35,

   at 1. An article reporting on the retraction noted that the study’s authors “were unable to confirm

   that the data set was accurate,” that “several concerns were raised with respect to the veracity of

   the data,” the study may have “include[ed] more cases than possible,” and that “[a] first-year

   statistics major could tell you about major flaws in the design of the analysis.” Jones Decl., Ex.

   DD, at 2-3.

           762.    Thus, Dr. Fauci’s initial dismissal of hydroxychloroquine was based on a purely

   observational study – not a randomized, controlled trial – and one that was retracted for glaring

   errors just days later.

           763.    Dr. Fauci testified that he did not recall that The Lancet study he cited to discredit

   the efficacy of hydroxychloroquine had been retracted. Fauci Dep. 223:7 (“I don’t recall it being

   retracted.”).

           764.    Dr. Fauci stepped up his public campaign to discredit hydroxychloroquine by

   insisting that its effectiveness could only be judged by undergoing rigorous, randomized, double-

   blind, placebo-based studies, notwithstanding his previous reliance on the less-than-rigorous

   observational study in The Lancet that was subsequently retracted. On July 31, 2020, Dr. Fauci

   testified before the House Select Subcommittee on Coronavirus Crisis, during which he stated:

   “The point that I think is important, because we all want to keep an open mind, any and all of the

   randomized placebo-controlled trials, which is the gold standard of determining if something is

   effective, none of them had shown any efficacy by hydroxychloroquine. Having said that, I will

   state, when I do see a randomized placebo-controlled trial that looks at any aspect of




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   hydroxychloroquine, either early study, middle study, or late, if that randomized placebo-

   controlled trial shows efficacy, I would be the first one to admit it and to promote it. But I have

   not seen yet a randomized placebo-controlled trial that’s done that. And in fact, every randomized

   placebo-controlled trial that has looked at it, has shown no efficacy. So, I just have to go with the

   data. I don’t have any horse in the game one way or the other, I just look at the data.” See

   https://www.youtube.com/watch?v=RkNC5OQD2UE.

          765.    Despite his insistence before a congressional committee that randomized, placebo-

   controlled trials were the determining factor for his opinion regarding the effectiveness of

   hydroxychloroquine in the treatment of COVID-19, Dr. Fauci quietly admitted that such rigorous

   studies are not actually required to determine the efficacy of a therapeutic drug. Dr. Fauci was

   asked, “Do you recall saying in connection with the discussion of hydroxychloroquine that a

   randomized double blind placebo based study is the gold standard?” Fauci Dep. 244:8-11. He

   replied, “That is the gold standard for everything. It isn’t always needed, but for the most part, it’s

   the gold standard.” Id. at 244:12-14 (emphasis added).

          766.    Dr. Fauci’s sudden reversal concerning the critical standards for scientific studies

   to determine the effectiveness of hydroxychloroquine demonstrated a lack of candor to the House

   Select Subcommittee on Coronavirus Crisis. Indeed, Dr. Fauci misled the Committee when he

   failed to disclose that randomized, double-blind, placebo-based studies are not always needed and

   that he previously relied on the observational, i.e., non-randomized, non-double-blind, non-

   placebo-based study in The Lancet to form an opinion about that drug’s efficacy in the first place.

   Dr. Fauci lacks credibility on this point.

          767.    Despite mounting evidence against his position, Dr. Fauci testified that his opinion

   against hydroxychloroquine was based on other studies as well as the retracted article in The




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   Lancet, but he could not identify any of those studies. Fauci Dep. 223:12-18 (“I don’t recall

   specifically what those studies are now.”).

          768.    Dr. Fauci did not retreat from his hard public stance against hydroxychloroquine.

   On July 26, 2020, a group called “America’s Frontline Doctors” held a press conference at the

   U.S. Capitol criticizing the government’s response to the COVID-19 pandemic and touting the

   benefits of hydroxychloroquine in treating the coronavirus. Fauci Ex. 38, at 5.

          769.    Dr. Fauci responded to this event with highly visible public statements condemning

   the use of hydroxychloroquine. For example, he stated on “Good Morning America,” that “[t]he

   overwhelming prevailing clinical trials that have looked at the efficacy of hydroxychloroquine

   have indicated that it is not effective in coronavirus disease.” Fauci Ex. 36, at 5. Dr. Fauci made

   these comments in direct response to the public claims of America’s Frontline Doctors. Fauci

   Dep. 227:7-228:13. He also stated on MSNBC’s “Andrea Mitchell Reports” that the video of the

   press conference by America’s Frontline Doctors constituted “a video out there from a bunch of

   people spouting something that isn’t true.” Fauci Ex. 37, at 3.

          770.    Dr. Fauci also stated that “the cumulative data on trials, clinical trials that were

   valid, namely clinical trials that were randomized and controlled in a proper way, … showed

   consistently that Hydroxychloroquine is not effective in the treatment of coronavirus disease or

   COVID-19.” Fauci Ex. 37, at 3. But two months earlier, he had said “the data are clear right now”

   when no such studies existed. Fauci Ex. 34, at 4.

          771.      Social-media platforms reacted by aggressively censoring the video of America’s

   Frontline Doctors. Facebook removed the video when it was “the top-performing Facebook post

   in the world,” and “had accumulated over 17 million views by the time of its censorship by

   Facebook.” Fauci Ex. 38, at 3, 4. Further, “Facebook’s decision to censor the livestream was




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   quickly followed by YouTube, the Google-owned video-sharing platform.” Id. at 6. “The video

   had 80,000 views on YouTube prior to its removal.” Id. “Following Facebook and YouTube’s

   removal of the video, Twitter followed suit….” Id.; see also Fauci Ex. 36, at 3 (noting that “Twitter

   … removed the video, saying it was ‘in violation of our COVID-19 misinformation policy’”).

          772.    Dr. Fauci professed to be unaware of whether 17 million views of a video on

   Facebook are a large number of views: “I don't know what 17 million views means. What's the

   denominator? Is 17 million a large amount? Is it a small amount? I don't go on social media, so I

   don't know what 17 million views means.” Fauci Dep. 236:7-11. It is common sense that 17

   million views are a large number of views. Dr. Fauci’s testimony on this point is not credible.

          773.    Dr. Fauci does not deny that he or his staff at NIAID may have communicated with

   Facebook regarding the censorship of the America’s Frontline Doctors video. Instead, he claims

   that he does not recall whether they communicated with Facebook about it, and that it is possible

   that they did so. Fauci Dep. 238:2-5 (“I don't recall anybody communicating with them about that.

   Could have been, but I don't recall anybody -- I don't recall anybody communicating with the social

   media people.”); see also id. at 238:6-10. He also does not deny that other federal officials may

   do so, but he claims that “I don’t recall any of that” and “it just doesn’t ring a bell to me right

   now.” Id. at 238:21-239:7. He claims he doesn’t “pay attention” to whether his staff or other

   federal officials communicate with social-media platforms about censorship because “I have a

   really important day job that I work at.” Id. at238:19-20.

          774.    Nevertheless, regarding the decision by YouTube and Twitter to follow Facebook

   in censoring the video, Dr. Fauci admits that “Yes, I knew of that.” Id. at239:8-13.




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          775.    A few days later, on August 1, 2020, the web host provider for America’s Frontline

   Doctors shut down their website. Id. at 242:14-243:8; Fauci Ex. 39. Dr. Fauci testifies that he

   does not recall this occurrence. Fauci Dep. 243:13-18.

          776.    On November 18, 2022, a meta-analysis of 449 studies on the efficacy of

   hydroxychloroquine considered “449 HCQ COVID-19 studies, 351 peer reviewed, 371 comparing

   treatment and control groups.” Fauci Ex. 40, at 1. The meta-analysis concluded that “[l]ate

   treatment and high dosages may be harmful, while early treatment consistently shows positive

   results.” Id. It also noted that “[n]egative evaluations” of hydroxychloroquine “typically ignore

   treatment delay.” Id. And it noted that “HCQ/CQ was adopted for early treatment in all or part of

   41 countries.” Id.

          C.      Dr. Fauci’s “Devastating Takedown” of the Great Barrington Declaration.

          777.    Dr. Fauci recommended Dr. Clifford Lane of NIAID to participate in a WHO

   mission to China in February 2020. Fauci Dep. 139:15.

          778.    On April 3, 2020, the NIH Record wrote a report on Lane’s trip entitled “NIAID’s

   Lane Discusses WHO COVID-19 Mission to China. Fauci Ex. 20, at 1. Lane praised China’s

   response to the pandemic, especially their reliance on lockdowns and “extreme … social

   distancing”: “The Chinese were managing this in a very structured, organized way,’ he explained.

   ‘When we got there, the outbreak was already coming under control in China. The measures they

   put in place appeared to be working…. It demonstrated their successful response…. From what I

   saw in China, we may have to go to as extreme a degree of social distancing to help bring our

   outbreak under control.” Id. at 5-6.

          779.    Dr. Fauci discussed this conclusion with Lane when he returned from China: “Dr.

   Lane was very impressed about how from a clinical public health standpoint, the Chinese were




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   handling the isolation, the contact tracing, the building of facilities to take care of people, and that's

   what I believed he meant when he said were managing this in a very structured, organized way.”

   Fauci Dep. 165:4-11.

           780.    Dr. Fauci admits that Lane “did discuss with me that the Chinese had a very

   organized way of trying to contain the spread in Wuhan and elsewhere. … he mentioned that they

   had a very organized, well-regimented way of handling the outbreak.” Id. at166:1-7.

           781.    Dr. Fauci came to agree with Dr. Lane’s rosy assessment of China’s draconian

   response to the outbreak: “Dr. Lane is a very astute clinician, and I have every reason to believe

   that his evaluation of the situation was accurate and correct.” Id. at166:24-167:1.

           782.    On Feb. 22, 2020, Dr. Lane sent an email stating, “China has demonstrated that this

   infection can be controlled, albeit at great cost.” Fauci Ex. 21, at 1.

           783.    On October 4, 2020, Plaintiffs Dr. Jay Bhattacharya of Stanford and Dr. Martin

   Kulldorff of Harvard, along with Dr. Sunetra Gupta of Oxford, published online the “Great

   Barrington Declaration,” which was one-page treatise opposing reliance on lockdowns and

   advocating for an approach to COVID-19 called “focused protection.” Fauci Ex. 41.

           784.    The Great Barrington Declaration criticized the social-distancing and lockdown

   approaches to the pandemic endorsed by government experts such as Dr. Fauci and Cliff Lane:

   “As infectious disease epidemiologists and public health scientists we have grave concerns about

   the damaging physical and mental health impacts of the prevailing COVID-19 policies, and

   recommend an approach we call Focused Protection.” Id. It was very critical of such government

   policies: “Current lockdown policies are producing devastating effects on short and long-term

   public health. The results (to name a few) include lower childhood vaccination rates, worsening

   cardiovascular disease outcomes, fewer cancer screenings and deteriorating mental health –




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   leading to greater excess mortality in years to come, with the working class and younger members

   of society carrying the heaviest burden. Keeping students out of school is a grave injustice.

   Keeping these measures in place until a vaccine is available will cause irreparable damage, with

   the underprivileged disproportionately harmed.” Id. It called for an end to lockdowns: “The most

   compassionate approach that balances the risks and benefits of reaching herd immunity, is to allow

   those who are at minimal risk of death to live their lives normally to build up immunity to the virus

   through natural infection, while better protecting those who are at highest risk. We call this

   Focused Protection.” Id.

          785.    The Declaration called for an end of government-imposed lockdowns and an

   immediate return to normal life for those who are low-risk: “Those who are not vulnerable should

   immediately be allowed to resume life as normal. Simple hygiene measures, such as hand washing

   and staying home when sick should be practiced by everyone to reduce the herd immunity

   threshold. Schools and universities should be open for in-person teaching. Extracurricular

   activities, such as sports, should be resumed. Young low-risk adults should work normally, rather

   than from home. Restaurants and other businesses should open. Arts, music, sport and other

   cultural activities should resume. People who are more at risk may participate if they wish, while

   society as a whole enjoys the protection conferred upon the vulnerable by those who have built up

   herd immunity.” Id.

          786.    The Declaration was thus highly critical of the lockdown policies defended by Dr.

   Fauci and Dr. Cliff Lane of NIAID since Dr. Lane’s trip to China at the beginning of the pandemic.

   The Declaration was “going against the global political consensus, which holds that lockdowns

   are key to minimising mortality to Covid-19.” Fauci Ex. 48, at 3. After it was posted online, it

   rapidly gathered signatures from doctors and scientists, as well as members of the public.




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          787.    Four days later, on October 4, 2020, Dr. Francis Collins emailed Dr. Fauci and Cliff

   Lane, citing the Great Barrington Declaration. Fauci Ex. 42, at 1. Dr. Collins stated: “Hi Tony

   and Cliff, See https://gbdeclaration.org. This proposal from the three fringe epidemiologists who

   met with the Secretary seems to be getting a lot of attention – and even a co-signature from Nobel

   Prize winner Mike Leavitt at Stanford. There needs to be a quick and devastating published take

   down of its premises. I don’t see anything like that on line yet – is it underway? Francis.” Id.

          788.    This email seeking Dr. Fauci’s assistance in a “quick and devastating … take down”

   of the Great Barrington Declaration” is strikingly similar to Dr. Collins’ email to Dr. Fauci on

   April 16, 2020, asking Dr. Fauci’s “help [to] put down this very destructive conspiracy,” i.e., the

   lab-leak hypothesis. Fauci Ex. 27, at 1. In both cases, Dr. Collins sought Dr. Fauci’s aid in

   discrediting and silencing an online narrative that federal officials disfavored, and in both cases,

   Dr. Fauci promptly and effectively complied.

          789.    Dr. Collins’ question to Dr. Fauci in the email, “Is it underway?” implies that Dr.

   Collins expected Dr. Fauci to be already working on a “quick and devastating … take down” of

   the Declaration, or to be aware of others working on one. Fauci Ex. 42, at 1. Dr. Fauci denies that

   Dr. Collins had any reason to think that Dr. Fauci might be working on a refutation of the Great

   Barrington Declaration, because “[t]his is not something I would be involved in,” because “I have

   a very important day job that is running a $6.4 billion institute.” Fauci Dep. 260:11-20. Given

   Dr. Fauci’s immediately subsequent attempts to refute and discredit the Great Barrington

   Declaration, this testimony is not credible.

          790.    The same day as Dr. Collins’ email, October 8, 2020, Dr. Fauci wrote back to Dr.

   Collins, stating “Francis: I am pasting in below a piece from Wired that debunks this theory. Best,

   Tony.” Fauci Ex. 43, at 1. Dr. Fauci followed up the same day with an email to Dr. Collins linking




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   to an article by Gregg Gonsalves which Dr. Fauci called “[a]nother refutation of the herd immunity

   approach.” Fauci Ex. 44, at 1.

          791.    Dr. Fauci has known Gregg Gonsalves for decades, since the 1980s. Fauci Dep.

   265:16-19.    Dr. Fauci does not deny that he may have contacted Gregg Gonsalves before

   Gonsalves wrote this piece attacking the Great Barrington Declaration, but claims he does not

   recall. Id. at268:8-19 (“I don’t recall. I might have.”).

          792.    Dr. Fauci and Dr. Collins followed up with a series of public media statements

   attacking the Great Barrington Declaration. On October 14, 2020, the Washington Post ran a story

   entitled, “Proposal to hasten herd immunity to the coronavirus grabs White House attention but

   appalls top scientists.” Fauci Ex. 45, at 1. In the article, Dr. Collins described the Great Barrington

   Declaration and its authors as “fringe” and “dangerous”: “This is a fringe component of

   epidemiology. This is not mainstream science. It’s dangerous.” Id. at 3.

          793.    Dr. Fauci consulted with Dr. Collins before he told the Washington Post that the

   Great Barrington Declaration represented a “fringe” and “dangerous” idea. Fauci Dep. 272:4-7.

          794.    Dr. Fauci endorsed these comments in an email to Dr. Collins on October 13, 2020,

   stating, “[w]hat you said was entirely correct.” Fauci Ex. 46, at 1.

          795.    Dr. Fauci admits that Dr. Collins could have been concerned about the spread of

   the ideas in the Declaration on social media when he called it “fringe” and “dangerous.” Fauci

   Dep. 274:19-20.

          796.    The next day, October 15, 2020, Dr. Fauci echoed Dr. Collins’ comments, calling

   the Declaration “nonsense” and “dangerous.” Fauci Ex. 47, at 1. Describing the proposal as

   “letting infections rip as it were,” Dr. Fauci stated: “Quite frankly that is nonsense, and anybody




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   who knows anything about epidemiology will tell that that is nonsense and very dangerous.” Id.

   at 3.

           797.    Dr. Fauci testified that “it’s possible that” he coordinated with Dr. Collins on their

   public statements attacking the Great Barrington Declaration. Fauci Dep. 279:23-24.

           798.    Dr. Fauci also testified of himself and Dr. Collins that “that’s not our style to be

   coordinating things.” Id. at 279:22-23. In light of the extensive coordination with Dr. Collins

   about the lab-leak theory, and the coordination about the Great Barrington Declaration, that

   testimony is not credible.

           799.    Shortly after Dr. Collins’ email to Dr. Fauci seeking a “quick and devastating …

   take down” of the Great Barrington Declaration, the Declaration and its authors, Drs. Bhattacharya

   and Kulldorff, experienced extensive censorship on social media. See infra. In October 2020,

   Google deboosted the search results for the Declaration, so that “most users in English-speaking

   countries, when they google ‘Great Barrington Declaration,’ will not be directed to the declaration

   itself but to articles that are critical of the declaration.” Fauci Ex. 48, at 4.

           800.    In the same time, “[c]ensorship of the declaration … also spread to Reddit. The two

   most popular subreddits for discussion of the coronavirus – r/COVID-19 and r/coronavirus – have

   both removed links to the Great Barrington Declaration. The moderators of r/coronavirus, a forum

   with 2.3million members, have declared it to be ‘spam’.” Fauci Ex. 48, at 4-5.

           801.    In October 2020, YouTube updated its terms of service regarding medical

   “misinformation,” reporting “COVID-19 medical misinformation policy updated to prohibit

   content about vaccines contradicting consensus from health authorities.” Fauci Ex. 49, at 3.

   “Health authorities” include federal officials like Dr. Fauci and Dr. Collins. See id. This October

   2020 update specifically stated that claims which are “not allowed on YouTube” include “[c]laims




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   that achieving herd immunity through natural infection is safer than vaccinating the population,”

   which is listed on the same footing as “[c]laims that COVID-19 vaccines contain a microchip or

   tracking device.” Fauci Ex. 50, at 3-4.

          802.    Pursuant to this censorship policy of YouTube, the authors of the Great Barrington

   Declaration had content removed from YouTube, including a video of a roundtable discussion with

   Governor Ron DeSantis of Florida. See infra.

          803.    Facebook, likewise, adopted censorship policies against the Great Barrington

   Declaration.   Meta’s policy on “Misinformation about vaccines” states that: “We remove

   misinformation primarily about vaccines when public health authorities conclude that the

   information is false and likely to directly contribute to imminent vaccine refusals.” Fauci Ex. 51,

   at 4 (emphasis added).

          804.    Facebook/Meta views Dr. Fauci as a “public health authority” who may dictate

   what people may post about COVID-19 on its platforms (Facebook and Instagram, among others),

   because Mark Zuckerberg and Dr. Fauci were collaborating on multiple public appearances and

   videos for Facebook. See supra; Scully Ex. 12, at 33, 53-54 (identifying 13 communications

   between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual meetings, and live

   broadcasts, over a nine-month period in 2020). Indeed, in his March 15, 2020 email to Dr. Fauci,

   Mark Zuckerberg described Dr. Fauci as an “expert[],” a “health expert[]” and “reliable source[]”

   for “authoritative information” about fighting COVID-19. Fauci Ex. 23, at 3.

          805.    Dr. Fauci claims that he would not have paid any attention to the Great Barrington

   Declaration because he is too busy and important to pay attention to such matters: “this is not

   something that I would have been paying a lot of attention to. I was knee deep in trying to do

   things like develop a vaccine that wound up saving the lives of millions of people. That's what I




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   was doing at the time.” Fauci Dep. 256:13-17. Given Dr. Fauci’s direct involvement in publicly

   attacking the Great Barrington Declaration and collecting sources for Dr. Collins to “take [it]

   down,” this statement is not credible. In fact, on November 1, 2020, Greg Folkers, Dr. Fauci’s

   staffer at NIAID, sent Dr. Fauci a list of articles attacking the Great Barrington Declaration—

   including one co-authored by Gregg Gonsalves—with the statement “As discussed. I have

   highlighted the three I found the most useful.” Fauci Ex. 52, at 1. The list of articles were all

   harshly critical of the Declaration—using phrases like “dangerous,” “false promise,” “ethical

   nightmare,” and “could kill millions.” Id. Thus, four weeks after the Declaration was published,

   Dr. Fauci and his staffers were still “discuss[ing]” and looking up articles on ways to attack it. Id.

          806.    Dr. Kulldorff points out that, regardless of disagreements over the policy,

   describing the Declaration as “fringe” and “nonsense” is fundamentally dishonest, as the

   Declaration reflects principles of pandemic preparedness that were widely accepted before

   COVID-19: “the Great Barrington Declaration is merely a restatement of the principles of public

   health. Lockdown … is a ‘terrible experiment’ that throws those principles ‘out of the window’ by

   focusing solely on one disease at the expense of all other health problems. ‘Most countries in

   Europe had a pandemic-preparedness plan that did not recommend lockdowns, but instead

   proposed a risk-based strategy to protect those at high risk, which is actually the same as the

   focused protection we put forward in the Great Barrington Declaration. What we are proposing is,

   therefore, nothing revolutionary’, [Kulldorff] said.” Fauci Ex. 48, at 6.

          807.    Regarding the censorship of the Great Barrington Declaration on social media, Dr.

   Fauci repeatedly testified that he was oblivious to it: “I don’t pay much attention to what goes on

   in social media … it is highly unlikely that … I paid any attention to this thing of Google censoring

   the Great Barrington Declaration … I would not have paid much attention to it.” Fauci Dep.




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   281:15-282:2, 283:7-10. In light of his contemporaneous statements and emails, this statement is

   not credible.

          808.     Like so many other topics, Dr. Fauci repeatedly testified that he could not recall

   virtually anything about his involvement in seeking to squelch the Great Barrington Declaration.

   He testified at least 33 times that he could not recall his involvement in this matter. See Fauci Dep.

   251:11, 252:20, 255:6, 255:9, 256:3, 257:5, 258:12, 263:1, 263:15, 263:21, 264:17, 264:20,

   264:22, 265:2, 265:6, 268:10, 268:18, 270:24, 282:19-20, 284:22-23, 290:13, 290:21, 291:13,

   291:16, 292:15, 292:24, 293:15, 293:24, 295:9, 295:25, 296:21, 297:2-3, 297:14. For the reasons

   discussed above, these claims to almost total loss of memory are not credible.

          D.       NIAID Flags Social-Media Accounts for Censorship Under Dr. Fauci.

          809.     As noted above, Dr. Fauci testified that he is not aware of any NIAID or NIH staff

   contacting social media platforms to ask them to remove content. In fact, NIAID and NIH staff—

   including staffers in Dr. Fauci’s senior circle—sent several messages to social-media platforms

   asking them to remove content lampooning or criticizing Dr. Fauci. Dr. Fauci’s testimony to the

   contrary is not credible.

          810.     On March 14, 2020, a Twitter employee reached out to CDC officials, including

   Carol Crawford, and asked if a particular account associated with Dr. Fauci is “real or not.” Fauci

   Ex. 53, at 2. Scott Prince of NIH responded, “Fake/Impostor handle. PLEASE REMOVE!!!” Id.

   Twitter responded that it would take action promptly and “circle back ASAP.” Id. An HHS

   official then asked if Twitter could pre-block similar parody accounts: “Is there anything else that

   you can also do to block other variations of [Dr. Fauci’s] name from impersonation so we don’t

   have this happen again?” Id. at 1. Twitter replied: “We’ll freeze this @handle and some other

   variations so no one can hop on them.” Id.




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          811.    Likewise, on April 21, 2020, Judith Lavelle of NIAID emailed Facebook, copying

   Scott Prince of NIH and Jennifer Routh of Dr. Fauci’s communications team, and stated: “We

   wanted to flag a few more fake Dr. Fauci accounts on FB and IG for you. I have also reported

   them from @niaid and my personal FB account.” Fauci Ex. 55, at 3. She listed eight accounts

   that she considered fake. One of these was called “Dr.FauciTheHero,” and she stated, “I think this

   one may be fine as a fan page but could use a reminder to be a bit more clear,” id. at 4—thus noting

   that she was seeking the censorship only of speech about Dr. Fauci that the government disfavors,

   while “a fan page” was fine.

          812.    Both Jennifer Routh and Judith Lavelle are members of Dr. Fauci’s

   communications staff. Fauci Dep. 308:14-21.

          813.    The fact that Lavelle stated they were flagging “a few more” accounts indicates that

   NIAID’s flagging social-media accounts for censorship was not an isolated incident but an ongoing

   practice. Fauci Ex. 55, at 3.

          814.    Lavell then followed up flagging yet another account, saying “Apologies one

   more,” and adding Greg Folkers of Dr. Fauci’s personal staff to the email chain reporting these

   accounts to Facebook for censorship. Fauci Ex. 55, at 3.

          815.    The same day, Facebook responded, “Flagged this for the fake accounts team and

   they have confirmed that all but two accounts were removed for impersonation of Dr. Fauci. I

   guess two of the accounts are fan accounts.” Fauci Ex. 55, at 3.

          816.    The Facebook employee then added, “Also want to intro you all to [two more

   Facebook employees] who have been working hard to manage any fake accounts for NIH across

   the board. She can work with you directly if anything like this comes up.” Fauci Ex. 55, at 2.

   Lavelle responded that “our team will be sure to reach out if we identify any more impersonations,”




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   id., and Facebook answered that Lavelle of NIAID should “feel [free] to flag to us the various

   imposter accounts,” Fauci Ex. 55, at 1. Again, this response indicates an ongoing and widespread

   practice of NIH reporting supposedly “fake” accounts for censorship. Id.

          817.    Dr. Fauci testifies that he does not remember for certain, but he “likely” asked his

   communications staff to do something about these impersonation or parody accounts. Fauci Dep.

   302:6-10 (“I vaguely remember somebody mentioning something about an imposter account. …

   And I likely would have said, ‘Well, how can they do that?’”).            He also agrees that his

   communications staff would do so on their own. Id. at 301:1-4 (“I have a communication staff

   that I'm sure, if they found out it was a false and misleading account, that they would want it to be

   removed.”); see also id. at 301:23-25; 304:19-21.

          818.    Dr. Fauci believes it is “totally appropriate” for his communications staff to contact

   social-media platforms and seek the removal of such accounts. Id. at 312:19-21; see also id. at

   310:14-16.

          819.    He thinks so because “impersonating me is a bad thing.” Id. at303:20; see also id.

   at 304:11-13; 309:23-310:1 (“fake accounts are bad things, I believe”); 311:20-21. Dr. Fauci

   specifically believes that removing accounts associated with him is “a good thing” because “those

   accounts are bad.” Id. at329:12-16.

          820.    Dr. Fauci does not know whether some of the so-called “fake accounts,” which he

   calls “bad things,” that his staff flagged for censorship may actually be parody accounts. Id. at

   311:7-9.

          821.    Moreover, it was not just NIAID staff, but also White House staff, who flagged

   content about Dr. Fauci for removal from social-media platforms. As noted above on Tuesday,

   July 20, 2021, Clarke Humphrey of the White House communications office emailed Facebook




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   asking for the removal of an Instagram account associated with Dr. Fauci, saying it “is not actually

   one of ours.” Fauci Ex. 57, at 1-2. Facebook responded one minute later, stating, “Yep, on it!”

   Fauci Ex. 57, at 1. Courtney Billet, Dr. Fauci’s communications director at NIAID, then weighed

   in, asking Facebook to disclose whether “there’s a federal email address attached to whomever set

   this account up,” so that she could ascertain whether the account was set up by “some federal

   employee outside our official comms offices.” Fauci Ex. 57, at 1. The next day, Facebook

   responded, stating, “This account has been removed. Thank you for flagging!” Fauci Ex. 57, at

   1.

          822.    NIAID’s communications with social-media platforms were not limited to flagging

   impostor or parody accounts. On October 30, 2020, for example, a NIAID staffer wrote an email

   connecting Google/YouTube with Jennifer Routh of NIAID’s “Office of Communications and

   Government Relations,” so that NIAID and the “Google team” could “connect on vaccine

   communications – specifically misinformation….” Fauci Ex. 56, at 2. Routh then added Courtney

   Billet (“director of the Office of Communications and Government Relations at NIAID”) and two

   other senior NIAID officials to the communications chain with YouTube. Fauci Ex. 56, at 1.

          823.    Likewise, in response to a third-party subpoena, Twitter has disclosed that Dina

   Perry, a Public Affairs Specialist for NIAID, communicates or has communicated with Twitter

   about misinformation and censorship. Jones Decl., Ex. F, at 1.

          824.    NIAID did not disclose Dina Perry in response to interrogatories seeking the

   identities of NIAID officials who communicate with social-media platforms about misinformation,

   disinformation, and censorship. Scully Ex. 12, at 17-18.

          825.    Dr. Fauci testified that he has never “contacted a social media company and asked

   them to remove misinformation from one of their platforms.” Fauci Dep. 151:21-24 (“No, I have




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   not.”). He also testified that no one on his staff at NIAID has “ever reached out to a social media

   platform to ask them to take content down or to block content in any way. Id. at 152:7-15 (“To

   my knowledge, no.”). In light of the repeated attempts of Dr. Fauci’s staff to have content related

   to Dr. Fauci removed from social media, Dr. Fauci’s testimony on this point is not credible.

          E.      CDC and NIH Procure the Censorship of Speech on Ivermectin.

          826.    On September 13, 2021, Facebook emailed Carol Crawford of the CDC to ask the

   CDC to identify whether the claim that “Ivermectin is effective in treating COVID” is “false, and

   if believed, could contribute to people refusing the vaccine or self-medicating,” which were the

   qualifications for censoring that claim on Facebook’s platforms. Fauci Ex. 58, at 2. Facebook

   noted that it was currently rating this claim as “not false,” i.e., Facebook was not censoring the

   claim that Ivermectin is effective in treating COVID-19, because there was “no consensus” of its

   efficacy for treatment. Id. at 3.

          827.    The next day, the CDC responded, advising Facebook that the claim that

   “Ivermectin is effective in treating COVID” is “NOT ACCURATE” (bold and italics in original)

   and thus should be censored on Facebook’s platforms. Fauci Ex. 58, at 1. To support this claim,

   the CDC cited NIH’s “Ivermectin | COVID-19 Treatment Guidelines.” Id. Thus, the CDC cited

   the NIH’s treatment guidelines for Ivermectin as authority to urge Facebook to censor claims about

   using Ivermectin to treat COVID-19. Id. CDC also cited NIH to call for the censorship of two

   related claims about Ivermectin, and noted that “[t]hese responses are based on the independent

   advice of … NIH,” which had “opined that there are not data that indicate ivermectin is effective

   in the ways described above.” Id.

          F.      Dr. Fauci’s Double Standard on Acceptable Speech: Mask Mandates.




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          828.     “Sylvia Burwell is the former Secretary of the Department of Health and Human

   Services [under President Obama] and the current president of American University.” Fauci Dep.

   313:9-11. “Sylvia has, over the past couple of years, asked [Dr. Fauci] advice about personal

   safety during the COVID-19 pandemic.” Id. at313:17-19.

          829.     On February 4, 2020, Sylvia Burwell wrote Dr. Fauci an email stating that she was

   traveling and wondering if she should wear a mask in the airport. Fauci Dep. 313:21-314:5; see

   also Jones Decl., Ex. EE, at 1. Dr. Fauci responded, stating: “Masks are really for infected people

   to prevent them from spreading infection to people who are not infected, rather than protecting

   uninfected people from acquiring infection. The typical mask you buy in the drugstore is not really

   effective in keeping out virus, which is small enough to pass through material. … I do not

   recommend that you wear a mask….” Fauci Dep. 314:9-19; see also Jones Decl., Ex. EE, at 1.

          830.     Dr. Fauci agrees that he “made several statements that are similar to that at that

   time frame.” Fauci Dep.315:12-14.

          831.     He states that, at that time, there were “no studies” on the efficacy of masking to

   stop the spread of COVID-19. Id. at316:8-13.

          832.     In fact, on March 31, 2020, Dr. Fauci forwarded studies showing that masking is

   ineffective. Fauci Dep. 318:24-319:7.

          833.     Dr. Fauci’s position on masking dramatically changed by April 3, 2020, when he

   became an advocate for universal mask mandates. Id. at317:14-20.

          834.     Dr. Fauci states that his position on masking changed in part because “[e]vidence

   began accumulating that masks actually work in preventing acquisition and transmission.” Fauci

   Dep. 317:5-6.




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           835.    Dr. Fauci was asked to identify any studies that were done between February 2020

   and April 3, 2020, that supported his change of position on the efficacy of masking, and he could

   not identify any. Id. at318:8-10.

           836.    Dr. Fauci was asked if there were any “placebo-based, double-blind, randomized

   studies of the efficacy of masking that were done between February and April 2020,” and he could

   not identify any. Id. at322:1-5. In fact, it is obvious that there were none.

           837.    Dr. Fauci’s position on masking, therefore, directly contradicts his insistence on

   randomized, double-blind, placebo-based clinical trials for alternative COVID-19 treatments like

   hydroxychloroquine and ivermectin. At best, Dr. Fauci’s dramatic change in position on masking

   was based on observational studies—the same kind of studies that he dismissed, in the very same

   time frame, as inadequate to support the use of hydroxychloroquine to treat COVID-19. At worst,

   it was based on no evidence at all—and Dr. Fauci identified none.

           838.    Dr. Fauci believes it can be dangerous to give ordinary people access to scientific

   information: “If information is clearly inadequate and statistically not sound, there can be a danger

   in people who don't have the ability or the experience of being able to understand that it's a flawed

   study.” Id. at323:5-9.

           839.    Dr. Fauci believes that it is “disturbing” when “unwitting” people believe what he

   thinks is misinformation: “I think honest debate is important, but when it goes beyond debate and

   leads people who are unwitting about these things to do things that are clearly detrimental to their

   life and their safety, I find that disturbing.” Id. at358:13-17.

           G.      Dr. Fauci and the White House Cause the Censorship of Alex Berenson.

           840.    Alex Berenson is a former New York Times science reporter and prominent critic

   of government messaging about COVID-19 vaccines who was deplatformed from Twitter on




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   August 28, 2021, after months of pressure from White House and federal officials. Fauci Ex. 59,

   at 4.

           841.   As Berenson notes: “On July 16, 2021, President Biden complained publicly that

   social media companies were ‘killing people’ by encouraging vaccine hesitancy. A few hours

   after Biden’s comment, Twitter suspended by account for the first time.” Fauci Ex. 59, at 4.

           842.   Dr. Fauci, who was then Chief Medical Advisor to President Biden, played a key

   role in procuring the censorship of Alex Berenson. Shortly before President Biden’s comments,

   Dr. Fauci engaged in public attacks on Alex Berenson in attempt to discredit him and silence his

   government-skeptical opinions.

           843.   On July 11, 2021, appearing on CNN’s “State of the Union,” Dr. Fauci described

   Alex Berenson’s comments on vaccine skepticism as “horrifying.” Fauci Ex. 60, at 1. Responding

   to applause for a speech given by Berenson at a conference, Dr. Fauci stated: “It’s horrifying. I

   mean, they are cheering about someone saying that it’s a good thing for people not to try and save

   their lives.” Id. In response to Berenson’s views, Dr. Fauci stated, “it’s almost frightening to say,

   … we don’t want you to do something to save your life.” Id. Dr. Fauci also stated, “I don’t think

   that anybody who is thinking clearly can get that.” Id.

           844.   Dr. Fauci’s public comments as the President’s Chief Medical Advisor specifically

   criticizing Alex Berenson were made at a time when other White House officials like Andrew

   Slavitt were privately pressuring Twitter to deplatform Berenson since April 21, 2020. See, e.g.,

   Fauci Ex, 58, at 7 (internal Twitter communications on April 22, 2020, indicating that White House

   officials “had one really tough question about why Alex Berenson hasn’t been kicked off from the

   platform,” and “yes, they really wanted to know about Alex Berenson. Andy Slavitt suggested




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   they had seen data vis that had showed he was the epicenter of disinfo that radiated outwards to

   the persuadable public.”).

          845.    Dr. Fauci does not deny that he may have discussed Alex Berenson with other

   White House or federal officials, but claims he does not recall whether he did so. Fauci Dep.

   343:16-23.

          846.    Dr. Fauci believes that misinformation and disinformation “contribute to the

   deaths” of people: “misinformation and disinformation, particularly that encourages people to

   avoid lifesaving interventions, can certainly result in the unnecessary death of people whose lives

   would have been saved. So when misinformation and disinformation leads people to avoid a

   lifesaving intervention, that is equivalent to contributing to the death of that person.” Id. at345:8-

   15. “I do feel strongly that misinformation and disinformation, when it leads to people avoiding

   lifesaving interventions, can be deadly. Id. at346:1-3.

          847.    Dr. Fauci also believes that misinformation and disinformation on social media are

   “contrary to public health” and “the enemy of public health”: “If social media is propagating

   disinformation that leads to the death of people by encouraging them to avoid lifesaving

   interventions, I believe that's contrary to public health.” Id. at346:5-7, 346:10-13.

          848.    Dr. Fauci admits that it is “certainly possible” that he discussed the view that

   “disinformation or misinformation on social media platforms are killing people” with others in the

   federal government, but claims he cannot remember whether he did so. Id. at345:3-25.

          849.    Dr. Fauci testified that the first time he heard of Alex Berenson was when Berenson

   publicly claimed that the White House demanded that Twitter deplatform him in 2022: “it's the

   person who says that the White House demanded Twitter ban me months before the company did

   so. I had never heard of who Alex Berenson was before this … I don't even know who he is.” Id.




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   at335:1-7. In light of Dr. Fauci’s public attacks on Alex Berenson in 2021, this testimony is not

   credible.

          850.    Former FDA Commissioner Scott Gottlieb also emailed Twitter to pressure them

   to remove Alex Berenson’s content, invoking Dr. Fauci in his email. Sending Twitter a link to a

   post by Berenson entitled “The Arrogance of Dr. Fauci,” Gottlieb wrote: “This is why Tony needs

   a security detail,” Fauci Ex. 62, at 1—thus implying that Berenson’s criticism of Dr. Fauci was

   endangering Dr. Fauci’s life.

          851.    Dr. Fauci does not deny that he may have discussed this issue with Gottlieb before

   Gottlieb sent this email to Twitter, but he claims he does not recall whether he did so. Fauci Dep.

   349:7-19, 352:12-18.

          852.    After testifying over 200 times during his deposition that he could not remember or

   could not recall events related to the case, Dr. Fauci was shown an email chain between him and

   Dr. Ezekial Emanuel from May 2, 2020 that had no direct connection to issues in the case. Fauci

   Ex 63. Unlike his convenient lack of memory as to case-related communications, Dr. Fauci was

   immediately able to provide a detailed, specific account of the context and communications with

   Dr. Emanuel relating to that email chain. Fauci Dep. 353:20-354:16.

   VI.    The FBI’s Censorship Campaign of Pressure and Deception.

          853.    In parallel with the censorship of health “misinformation” and related issues

   achieved by the White House, the CDC, Surgeon General Murthy, Dr. Fauci, and others, see supra

   Parts I-V, federal national-security and law-enforcement agencies flex their considerable muscle

   to pressure and induce social-media platforms to censor disfavored speech and viewpoints about

   elections and other topics. The FBI’s Foreign Influence Task Force (FITF) and the Cybersecurity

   and Infrastructure Security Agency’s (CISA) “Mis, Dis, and Malinformation Team” play key roles




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   in this efforts – in cooperation with non-profit agencies working in close collaboration with the

   government, such as the CISA-funded “Center for Internet Security” and the formidable

   censorship cartel calling itself the “Election Integrity Partnership” and the “Virality Project.”

          854.    Elvis Chan is the Assistant Special Agent in Charge of the Cyber Branch for the

   San Francisco Division of the Federal Bureau of Investigation. Chan Dep. 8:11-13.

          855.    In this role, Chan is “one of the primary people” who communicates with social-

   media platforms about disinformation on behalf of the FBI. Id. 105:3-4 (“I would say I’m one of

   the primary people with pass-through information” for platforms). There are many other points of

   contact between the FBI and social-media platforms, however. Id. 105:3-7 (“[W]e have agents on

   the different cyber squads and our private sector engagement squad who also relay information to

   the companies.”).

          856.    Chan graduated from the Naval Postgraduate School in 2021 with an M.A. in

   Homeland Security Studies. Id. 10:16-17. In connection with his master’s degree, Chan authored

   a publicly available thesis entitled, “Fighting Bears and Trolls: An Analysis of Social Media

   Companies and U.S. Government Efforts to Combat Russian Influence Campaigns During the

   2020 U.S. Elections.” Id. 11:3-16; Chan Ex. 1, at 1. This thesis overtly relied only on publicly

   available documents, but it also reflected Chan’s personal knowledge and experience of working

   with social-media platforms during the 2020 elections. See id.

          857.    Chan’s thesis discussed “hack-and-dump activity,” also known as “hack-and-leak”

   operations, as well as “Russian malign influence … on the social media platforms and on fake

   news websites that the Russians have created.” Chan Dep. 13:7-21.

          858.    Chan’s thesis relied on research performed by persons and entities comprising the

   Election Integrity Partnership, including Graphika, id. 145:1-6; and Renee DiResta of the Stanford




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   Internet Observatory, id. 51:20-52:7, 85:4-12. Chan communicated directly with DiResta “about

   Russian disinformation,” and had “[a] lot of conversations about Russian disinformation” with

   DiResta. Id. 52:5-7, 52:24-25.

          859.   Chan also knows Alex Stamos, the head of the Stanford Internet Observatory, from

   the time when Stamos participated on behalf of Facebook in the USG-Industry meetings. Id. 54:2-

   19. Chan and Stamos were involved in meetings about “malign-foreign-influence activities” on

   Facebook while Stamos was the chief security officer for Facebook. Id. Chan has also discussed

   “protecting platforms from hacking” with Stamos. Id. 55:12-13. And Chan’s “colleagues at FBI

   headquarters regularly meet with researchers much more frequently than I do.” Id. 57:15-18.

          860.   According to Chan, the FBI engages in “information sharing” with social-media

   platforms about content posted on their platforms, which includes both “strategic-level

   information” and “tactical information.” Id. 16:16-19.

          A. FBI’s and CISA’s Regular “USG-Industry” Disinformation Meetings

          861.   The FBI participates in a CISA-organized “industry working group” with

   Facebook, Twitter, and Google/YouTube, as well other social-media platforms. Id. 18:21-24. The

   social-media platforms that participate are Facebook, Microsoft, Google, Twitter, Yahoo! (a.k.a.

   Verizon Media), Wikimedia Foundation, and Reddit. Id. 23:24-24:3. On the U.S. Government

   side, the meetings are attended by representatives of CISA, the Department of Homeland

   Security’s Intelligence & Analysis division (“I&A”), the Office of the Director of National

   Intelligence (ODNI), the FBI’s Foreign Influence Task Force (FITF), and Elvis Chan on behalf of

   FBI-San Francisco when he is available. Id. 24:9-19; see also Chan Ex. 6, at 37. Chan later

   confirmed that “DOJ National Security Division” attends these “USG-Industry” meetings as well.

   Chan Dep. 171:6-8.




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          862.    Chan participates in the meetings because most social-media platforms are

   headquartered in San Francisco, and “FBI field offices are responsible for maintaining day-to-day

   relationships with the companies that are headquartered in their area of responsibility.” Id. 24:21-

   25:4. As a result, Chan serves as a frequent conduit for communication between federal officials,

   especially FBI officials but also others, and social-media platforms. See id.

          863.    Matt Masterson attended, and Brian Scully attends, the USG-Industry meetings on

   behalf of CISA. They are “regular attendees” and “one of them is usually emceeing the meeting.”

   Id. 25:15-18. “For the 2020 election cycle, Mr. Masterson was … primarily the facilitator. Ahead

   of the 2022 midterm elections, Mr. Scully has been the primary facilitator.” Id. 26:19-22.

          864.    Chan also “participate[s] in the preparation meetings” for the USG-Industry

   meetings. Id. 27:24-25.

          865.    At these CISA-led “USG-Industry” meetings, “the disinformation content was

   shared by the social media companies. They would provide a strategic overview of the type of

   disinformation they were seeing on their respective platforms,” and the FBI “provided strategic

   unclassified overviews of the activities that we saw [Russian actors] doing.” Id. 156:9-157:1.

          866.    The “USG-Industry” meetings “are continuing” at the time of Chan’s deposition on

   November 23, 2022, and Chan assumes that they will continue through the 2024 election cycle.

   Chan Dep. 284:23-285:6. Online “disinformation” continues to be discussed between the federal

   agencies and the social-media platforms at these meetings. Chan Dep. 285:7-286:16.

          B. The FBI’s Regular Bilateral Meetings with Social-Media Platforms.

          867.    The USG-Industry group meetings are not the only censorship-related meetings

   between the FBI and social-media platforms. Chan also “hosted … bilateral meetings between

   each of the companies I mentioned”—i.e., Meta/Facebook, Twitter, Google/YouTube,




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   Yahoo!/Verizon Media, Microsoft/LinkedIn, Wikimedia Foundation, and Reddit, see id. 23:24-

   24:3—“and the Foreign Influence Task Force.” Id. 39:4-8.

          868.    During these bilateral meetings, the FBI’s FITF would also “bring in field offices

   that had cyber investigations” of “state-sponsored actors that the FBI was investigating that we

   believe were capable of hack-and-dump campaigns” during the 2020 election cycle. Id. 39:10-16.

   In other words, in the bilateral meetings, the FBI repeatedly raised the concern about the possibility

   of “hack and dump” operations during the 2020 election cycle during FITF’s bilateral meetings

   with each of at least seven major social-media platforms. Id.

          869.    These bilateral meetings between FBI and social-media platforms are continuing—

   they occurred during the 2020 election cycle, and they continued during the 2022 election cycle.

   Id. 39:18-40:1. “They occur at roughly a quarterly cadence,” but “the cadence increase[s] as

   elections get close,” so that the meetings “become monthly as the election nears and then weekly

   very close to the elections.” Id. 40:2-20. These meetings will continue quarterly, monthly, and

   then weekly leading up to the 2024 election as well. Id. 41:5-15. The meetings also occurred “[o]n

   a quarterly cadence” during the 2018 election cycle. Id. 42:18-24.

          870.    The companies with which FITF conducts these regular bilateral meetings include

   “Facebook, Google, Twitter, Yahoo!, Reddit, and LinkedIn,” as well as “Apple and Wikimedia

   Foundation.” Id. 41:24-42:7. Apple was “added because they are a cloud infrastructure company;

   and we believe that tactical information, specifically indicates that we shared with them related to

   foreign-state-sponsored actors, might pop up on … any screening they do on iCloud.” Id. 42:12-

   17.

          871.    In these meetings, FBI officials meet with senior social-media platform officials in

   the “trust and safety or site integrity” role, i.e., those in charge of enforcing terms of service and




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   content-moderation policies for the platforms. Id. 43:5-44:1. In other words, the FBI meets with

   the officials responsible for censoring speakers and content on the platforms—those “directly

   involved in the enforcement of terms of service for these various platforms,” which “includes …

   content modulation of content on the platforms.” Id. 49:19-50:2.

          872.    The FBI’s “quarterly meetings” with social media platforms to “probe” questions

   about censorship of disinformation began as early as “in the 2017 time frame.” Id. 87:24-88:14,

   89:19-20.

          873.    A large number of FBI officials attend each regular bilateral meeting about

   disinformation with each of those seven social-media platforms. In addition to Chan and Laura

   Dehmlow, who is the head of FBI’s Foreign Influence Task Force (FITF), “between three to ten”

   FITF officials attend each meeting, as well as “one field office comprised of two representatives”

   from each of “one to three field offices.” Id. 109:21-22, 110:7-14. Frequently the number of FBI

   agents attending each meeting “could be as high as a dozen.” Id. 110:17-18.

          874.    Likewise, large numbers of officials from the social-media platforms attend these

   regular bilateral meetings with the FBI about disinformation. “[A] similar amount” of people

   attend each meeting from the platforms, and “for the three larger companies – specifically

   Google/YouTube, Facebook, and Twitter – it would be equal numbers or higher numbers than the

   FBI.” Id. 110:21-25.

          875.    In addition to all these meetings, on February 4, 2019, there was a meeting between

   Facebook, Google, Microsoft, and Twitter and the FBI’s FITF, ODNI, and CISA to discuss

   election issues. Elvis Chan attended, as did Director Krebs, Matt Masterson, and possibly Brian

   Scully of CISA. Representatives of the social-media companies at the meeting included those




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   from the “trust and safety” or content-modulation teams, and “the social media companies were

   focused on discussing disinformation.” Id. 151:9-154:6.

          876.    Discovery obtained from LinkedIn contains 121 pages of emails between Elvis

   Chan and other FBI officials and LinkedIn officials setting up numerous meetings to discuss

   disinformation issues during the 2020 and 2022 election cycles. Chan Ex. 2. Chan confirms that

   he has a similar set of communications setting up a similar series of meetings with each of “six or

   seven other social-media platforms as well”—he has “similar types of correspondence” with the

   others, including Facebook, Twitter, Google/YouTube, etc. Chan. Dep. 288:4-17.

          877.    These emails confirm that Chan and the other FBI officials regularly met with

   senior officials at social-media platforms with responsibility for content moderation. See Chan

   Ex. 2, at 3; Chan Dep. 292:7-293:8. The FBI meets with “director level and … their direct reports”

   from the “trust and safety and site integrity” teams. Chan Dep. 293:4-8.

          878.    The FBI communicates with social-media platforms using two alternative,

   encrypted channels—the self-deleting messaging app Signal, and the encrypted messaging service

   Teleporter. Chan Dep. 295:7-296:9.

          879.    For each election cycle, during the days immediately preceding and through

   election day, the FBI maintains a command center around the clock to receive and forward reports

   of “disinformation” and “misinformation,” and the FBI requests that the platforms have people

   available to receive and process those reports at all times: “FBI headquarters, they just ran 24 hours

   a day for their command post, I believe from Friday to Tuesday. FBI San Francisco ran from, I

   believe, 8:00 o'clock in the morning to perhaps 10:00 o'clock at night every day except the election,

   when we ran until midnight.” Chan Dep. 301:14-20. In advance of the elections, the FBI “ask[ed]




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   the companies when they intended to have personnel on what days monitoring their platform for

   any threats that they saw.” Chan Dep. 301:21-24.

          C.     The FBI’s Deceptive Information Censors the Hunter Biden Laptop Story.

          880.   Elvis Chan, other FBI officials, and other federal officials repeatedly warned

   industry participants to be alert for “hack and dump” or “hack and leak” operations prior to the

   2020 election, even though they had no investigative basis to issue such warnings. These warnings

   provided the justification for the platforms to censor the Hunter Biden laptop story that the New

   York Post broke on October 14, 2020. See id. at 232:1-234:3. These “hack and leak” or “hack and

   dump” warnings were issued many times, both in the “USG-Industry” meetings and in the FBI’s

   bilateral meetings with social-media platforms.

          881.   Hack and leak operations were discussed at the USG-Industry meetings. Id. 172:3-

   5. At the USG-Industry meetings, Elvis Chan and other FBI officials “warned the social media

   companies about the potential for a 2016-style DNC hack-and-dump operation.” Id. 172:23-173:1.

          882.   During these meetings, Chan “warned the companies about a potential for hack-

   and-dump operations from the Russians and the Iranians on more than one occasion.” Id. 175:10-

   13. Laura Dehmlow, the head of FITF, also “mentioned the possibility of hack-and-dump

   operations.” Id. 175:17-20.

          883.   The prospect of hack-and-leak operations was also repeatedly raised “[a]t the FBI-

   led meetings with FITF and the social-media companies.” Id. 177:24-25. It was also raised at the

   “CISA-hosted USG-industry” meetings. Id. 178:1-6, 180:24-25. “[T]he risk of hack-and-leak

   operations were raised at both sets of meetings, both at CISA-organized USG-industry meetings

   and the FITF-organized direct meetings between the FBI and social media platforms.” Id. 181:6-

   11. Chan himself raised the warnings “regularly” at the bilateral FITF-platform meetings. Id.




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   185:16-18. Laura Dehmlow raised the warning at the USG-Industry meetings “that the FBI is

   concerned about the potential for hack-and-leak or hack-and-dump operations from foreign state-

   sponsored actors.” Id. 187:1-4. And Chan himself “recollect[s] mentioning the potential for hack-

   and-dump operations during the CISA-hosted USG-industry meetings.” Id. 189:4-7. Chan

   confirms that he raised these concerns “to the social media platforms on multiple occasions in two

   sets of meetings in 2020,” including “the USG-industry meetings organized by CISA” and “the

   FITF organized meetings with the individual social media platforms.” Id. 204:2-12.

          884.    In the same time frame in 2020, as federal officials were repeatedly raising these

   concerns about hack-and-leak operations, some social media platforms updated their policies to

   provide that posting hacked materials would violate their policies and could result in censorship:

   “some social media companies adjusted or updated their terms of service or their community

   standards to say that they would not post any hacked materials.” Id. 205:6-9. According to Chan,

   the “impetus” for these more restrictive censorship policies was the repeated concern raised by

   Chan, the FBI, and federal national-security officials about the risk of “a 2016-style hack-and-leak

   operation: “the impetus was in case there was a 2016-style hack-and-leak operation.” Id. 205:14-

   21. The FBI’s repeated warnings, therefore, induced social-media platforms to adopt more

   restrictive censorship policies on hacked materials, see id., which would then be used to censor the

   Hunter Biden laptop story.

          885.    Chan denies that the FBI urged the platforms to change their terms of service to

   address hacked materials, but he admits that the FBI repeatedly inquired of the social-media

   platforms whether their policies would allow for or require the censorship of hacked materials.

   The FBI “wanted to know if they had changed their terms of service or modified it, and we wanted

   to know what they had changed,” and thus the platforms “advise[d]” the FBI that “they had




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   changed” their policies “to reflect the ability to pull down content that results from hack

   operations.” Id. 206:5-13.

          886.    Again, Chan testified that, in meeting with platforms like Facebook, the FBI

   “asked, ‘If you receive a whole -- if you see a trove of potentially hacked materials, what are you

   going to do about it?’ Which would be our way of asking them how their terms of service would

   handle a situation like that.” Chan Dep. 247:25-248:4. The FBI “ask[ed] how they would handle

   it if potentially hacked materials appeared.” Chan Dep. 248:5-8. Chan believes they asked that

   question of Twitter, Facebook, and YouTube, and the social-media platforms responded, as he

   “remember[s] the social media companies having terms-of-service policies to handle this sort of

   situation.” Chan Dep. 248:14-16. Both Facebook and Twitter, for example, “said that they would

   remove hacked materials if they were able to validate that it was hacked.” Chan Dep. 252:24-

   253:4. These conversations happened “ahead of the 2020 elections.” Chan Dep. 253:6-7.

          887.    The FBI asked the platforms how their policies would handle a hack-and-leak

   operation at the same time as repeatedly warning them about such operations—thus effectively

   inducing them to adopt such policies. Chan Dep. 248:23-249:2.

          888.    The FBI inquired about the platforms’ hacked-materials policies because

   “internally we wanted to know what actions that we would need to take, whether we would need

   to take a legal remedy such as like a seizure warrant” to remove supposedly hacked materials.

   Chan Dep. 249:17-20.

          889.    Chan was not the only FBI official to ask the platforms about their censorship

   policies for hacked materials. Instead, this question was posed repeatedly by multiple FBI

   officials: “I would say we take turns asking. When I say ‘we,’ I mean either myself or the members

   of the Foreign Influence Task Force …. Wherever it seemed like an organic follow-up question,




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   we would ask ‘How would your terms of service apply to this situation or that situation?’” Chan

   Dep. 250:14-20.

          890.    When asked, “did anyone within the FBI discuss or suggest with you that you

   should raise the prospect of Russian hack-and-leak operations with social media platforms in

   2020?” Chan repeatedly responded with a stock answer, “I do not recollect.” Id. 189:14-23; 189:8-

   191:21, 203:13-15 (“I cannot recollect.” … “I do not recollect.” … “I do not recollect.” … “I don’t

   recollect.” … “I don’t recollect.” … “I do not recollect.”).

          891.    These responses are not credible because they are stock responses, and it is facially

   implausible that Chan does not recall whether other federal officials discussed warning platforms

   about “hack-and-leak” operations during 2020, especially after the fiasco of censorship of the

   Hunter Biden laptop story. These “I do not recollect” responses also contradict Chan’s testimony

   later in the deposition that he “regularly” communicated with FITF and FBI’s cyber division about

   the possibility of a hack-and-leak operation: “I believe that we internally discussed the potential

   for hack-and-leak operations, and so I regularly was in communication with the cyber division of

   the FBI as well as with the Foreign Influence Task Force to see if they had heard of anything that

   I had not heard of. So I would say that the people that I communicate with, everyone was vigilant,

   but no one -- I believe that in general people at the FBI were concerned about the potential for

   hack-and-leak operations, but that we had not seen any investigations that led in that direction or

   that would lead us in that direction.” Id. 206:23-207:10. He specifically admitted that he recalls

   discussing hack-and-leak operations with FITF officials “Ms. Dehmlow, Mr. Olson, Mr. Cone,

   and Mr. Giannini.” Id. 207:19-23. It is not credible that the only aspect of his internal discussions

   with the FBI about hack-and-leak operations that he does not recall is whether someone from the

   FBI suggested or directed him to raise the issue with social-media platforms.




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          892.    Further, as revealed on the video of Chan’s deposition, his demeanor in answering

   questions on this point changes and becomes evasive. Chan’s demeanor when testifying on this

   point undermines his credibility.

          893.    The FBI and other federal officials had no specific investigative basis for these

   repeated warnings about possible “hack-and-dump” operations. As Chan admits, “[t]hrough our

   investigations, we did not see any similar competing intrusions to what had happened in 2016. So

   although from our standpoint we had not seen anything, we specifically, in an abundance of

   caution, warned the companies in case they saw something that we did not.” Id. 174:7-13. As

   Chan admits, “we were not aware of any hack-and-leak operations that were forthcoming or

   impending” when he and other federal officials warned about the “risk of hack-and-leak

   operations, especially before the general election.” Id. 192:19-24.

          894.    Matt Masterson and Brian Scully of CISA also raised the concern about the threat

   of hack-and-leak operations in the 2020 election cycle to the social-media platforms during the

   “USG-Industry” meetings that occurred quarterly, then monthly, then weekly leading up to the

   2020 election. Id. 212:3-22.

          895.    Yoel Roth, then-Head of Site Integrity at Twitter, provided a formal declaration to

   the Federal Election Commission containing a contemporaneous account of the discussion of the

   threat of “hack-and-leak operations” at the meetings between the FBI, other federal law-

   enforcement and national-security agencies, and the social-media platforms. His declaration

   states: “Since 2018, I have had regular meetings with the Office of the Director of National

   Intelligence, the Department of Homeland Security, the FBI, and industry peers regarding election

   security. During these weekly meetings, the federal law enforcement agencies communicated that

   they expected ‘hack-and-leak operations’ by state actors [i.e., Russians or other foreign




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   governments] might occur in the period shortly before the 2020 presidential election, likely in

   October. I was told in these meetings that the intelligence community expected that individuals

   associated with political campaigns would be subject to hacking attacks and that material obtained

   through those hacking attacks would likely be disseminated over social media platforms, including

   Twitter. These expectations of hack-and-leak operations were discussed throughout 2020. I also

   learned in these meetings that there were rumors that a hack-and-leak operation would involve

   Hunter Biden.” Chan. Ex. 8, ¶¶ 10-11, at 2-3 (emphasis added). Yoel Roth executed this

   declaration on December 17, 2020, shortly after the events described, and submitted it to the

   Federal Election Commission in a formal enforcement proceeding, so it has the force of a statement

   under oath. Id. at 4.

          896.    Chan’s account of these meetings largely matches Roth’s account, see, e.g., Chan

   Dep. 218:5-220:15, but there are two key discrepancies between Roth’s and Chan’s accounts.

   First, Roth recounts that the FBI and national-security officials communicated to Twitter that they

   “expected” that there would be one or more hack-and-leak operations by Russia or other “state

   actors.” Id. at 2. Chan testified that he believed they used words like “concern” instead of

   “expected.” Chan. Dep. 220:20-24, 224:5-17, 226:5-12, 227:3-6. Second, Roth specifically

   recalls that federal officials told him that “there were rumors that a hack-and-leak operation would

   involve Hunter Biden.” Chan Ex. 8, ¶ 11, at 3. Chan testified that “in my recollection, Hunter

   Biden was not referred to in any of the CISA USG-Industry meetings.” Chan Dep. 213:8-10; see

   also id. 227:24-228:1, 228:21-23, 229:9-11 229:15-20.

          897.    On these points, Roth’s declaration is more credible than Chan’s testimony, for at

   least four reasons. First, Roth’s declaration was executed much closer in time to the events

   described—just two months later—while Chan’s testimony occurred over two years later. Indeed,




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   as noted above, Chan himself admitted that he “could not recollect” key details about the federal

   officials’ course of conduct in warning social-media platforms about a supposed “hack and dump”

   operation, so there is no reason to think that Chan’s recollection is more reliable on these similarly

   specific details.

           898.    Second, Roth had no incentive to color or shade his account of communications

   from federal officials when he submitted this Declaration to the FEC, while Chan has strong

   incentives to shade his testimony on these points to deemphasize the FBI’s involvement in

   censoring the Hunter Biden laptop story. Indeed, if the FBI and other federal officials warned

   social-media platforms about a hack-and-leak operation involving Hunter Biden—when the FBI

   had received Hunter Biden’s laptop from the Delaware repair-shop owner and thus knew that it

   was not hacked, see Doc. 106-3, at 5-11 —that raises a compelling inference that the FBI

   deliberately gave misleading information to social-media platforms to induce them to wrongfully

   censor the Hunter Biden laptop story.

           899.    Third, Chan’s testimony on a closely related point—whether Chan was instructed

   by an FBI official to warn social-media platforms about “hack and leak” operations—is not

   credible. Chan’s minor disagreements with Roth’s account are not credible for similar reasons.

   For example, Chan claims to have extremely specific recollection of the FBI’s word-choice in

   meetings that occurred over two years earlier—disputing that the FBI used the word “expected,”

   id. 220:20-24, 223:12-22, 224:5-17, 226:5-12, 227:3-6, and affirmatively asserting with

   confidence that “Hunter Biden” was never mentioned, id. 213:8-10, 227:24-228:1, 228:21-23,

   229:9-11 229:15-20—while at the same time claiming that he could not recollect whether he

   discussed the same issues with the FBI internally at all, Id. 189:14-23; 189:8-191:21, 203:13-15.




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          900.     Fourth, Chan’s demeanor while testifying by videotape on this point is evasive

   and undermines his credibility.

          901.    Two additional points support the credibility of Roth’s account over Chan’s. First,

   Brian Scully’s testimony, unlike Chan’s, did not dispute or quibble with any aspect of Roth’s near-

   contemporaneous account of these conversations—Scully merely contended that he could not

   remember. Scully Dep. 247:18-248:2.

          902.    Second, Roth’s account directly matches the less detailed but even more

   contemporaneous account provided by Mark Zuckerberg in his testimony before Congress on

   October 28, 2020. Zuckerberg’s testimony confirms that, as Yoel Roth recounted, the FBI

   conveyed a strong risk or expectation of a foreign hack-and-leak operation shortly before the 2020

   election: “So you had both the public testimony from the FBI and in private meetings alerts that

   were given to at least our company … that suggested that we be on high alert and sensitivity that

   if a trove of documents appeared that we should view that with suspicion, that it might be part of

   a foreign manipulation attempt.” Chan Ex. 9, at 56 (emphasis added). Indeed, Chan did not dispute

   Zuckerberg’s account: “I don’t remember the exact framing of our discussions with them [i.e.,

   Facebook].” Chan Dep. 247:14-15. And again, Chan did not dispute the fundamental details of

   Zuckerberg’s account; he admitted that he “hosted several private meetings with Facebook where

   the concern about a hack-and-leak operation was raised” in 2020. Chan Dep. 246:17-20. Though

   Chan did state that “I would not have framed it like Mr. Zuckerberg did,” Chan essentially

   concedes the accuracy of Zuckerberg’s account. Chan Dep. 255:14-15.

          903.    After the Hunter Biden story broke on October 14, 2020, Laura Dehmlow of the

   FBI refused to comment on the status of the Hunter Biden laptop in response to a direct inquiry




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   from Facebook, even though the FBI had the laptop in its possession since late 2019 and knew that

   its contents were not hacked. Chan Dep. 213:11-215:5.

           904.   When the Hunter Biden laptop story broke on October 14, 2020, it was widely

   censored on social media, including by Twitter and Facebook, pursuant to their hacked-materials

   policies. For example, Twitter’s Site Integrity Team “blocked Twitter users from sharing links

   over Twitter to the applicable New York Post articles and prevented users who had previously sent

   Tweets sharing those articles from sending new Tweets until they deleted the Tweets” sharing the

   Hunter Biden laptop story. Chan Ex. 8, at 3. “Facebook, according to its policy communications

   manager began ‘reducing its distribution on the platform,’ pending … a third-party fact check.

   Twitter went beyond that, blocking all users, including the House Judiciary Committee, from

   sharing the article on feeds and through direct messages. Twitter even locked the New York Post

   account entirely, claiming the story included hacked materials and was potentially harmful.” Chan

   Ex. 9, at 2.

           D.     The FBI Routinely Flags Speakers and Content for Censorship.

           905.   According to Chan, during the 2020 election cycle, “the U.S. government and social

   media companies effectively impeded [foreign] influence campaigns primarily through

   information sharing and account takedowns, respectively.” Chan Ex. 1, at i (emphasis added).

           906.   According to Chan, the FBI’s “information sharing” includes both “strategic

   information,” which “discusses the tools, tactics or processes” used by foreign-influence

   campaigns, and “tactical information," which means identifying specific “indicators or selectors,”

   which are both “a term of art” that refers to “IP addresses, email accounts, social media accounts,

   … website domain names, and … file hash values.” Chan Dep. 29:15-30:7.




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          907.    In other words, according to Chan, the FBI “shares information” with social-media

   platforms that includes information about specific IP addresses, email accounts, social-media

   accounts, and website domain names that the FBI believes should be censored, and this sharing of

   information leads social-media platforms to engage in “account takedowns” based on the FBI’s

   information. See id. According to Chan, this combination of “information sharing” and “account

   takedowns” “effectively impeded [foreign] influence campaigns” during the 2020 election cycle.

   Chan Ex. 1, at i.

          908.    Chan testified that the FBI shares this information with social-media platforms so

   that they can “protect their platforms”—indeed, “protect their platforms” was a stock phrase in

   Chan’s testimony. Chan Dep. 32:19, 34:7-12, 35:8-10, 36:25, 87:22-23, 274:14. As Chan’s

   testimony makes clear, however, the phrase “protecting their platforms” is a euphemism for

   “censoring speech that federal officials disfavor.” For example, Chan admits that “protect their

   platforms” means “knocking down accounts or knocking down misinformation content.” Chan

   Dep. 273:12-17. Chan’s thesis and testimony make clear that the FBI’s purpose in “information

   sharing” with social-media platforms is to induce them to censor speech that the FBI dislikes and

   wants to see censored. For example, Chan testified that “my purpose is to share the information

   with them so they can protect their platforms as they deem appropriate,” but he immediately

   admitted that “one way to protect their platforms is to take down these accounts.” Id. 35:9-14.

   Thus, Chan admits that the FBI’s “purpose” in “information-sharing” includes “to take down these

   accounts” that the FBI believes are Russian-influenced. Id.

          909.    Chan admits that the purpose and predictable effect of “tactical” information-

   sharing—i.e., the FBI flagging specific accounts, websites, URLs, IP addresses, web domain

   names, etc., to social-media platforms for censorship—is that the platforms will take action against




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   such specific content and accounts under their content-moderation policies: “from what I have

   observed and what they have told me when we have provided them with high confidence of

   Russian selectors, that they have been able to discover fake Russian accounts and take them down.”

   Id. 32:20-24.

          910.     According to Chan, the social-media platforms “take the information that we share,

   they validate it through their own means. And then if they determine that these are accounts being

   operated by Russian state-sponsored actors, then they have taken them down.” Id. 33: 12-17.

          911.     Chan admits that, during the 2020 election cycle, the U.S. Government engaged in

   “information sharing with the social media companies to expose Russia’s different operations and

   shut down its accounts.” Chan Ex. 1, at xvii. In other words, Chan admits that the purpose of

   federal officials’ “information sharing” was to “shut down … accounts” on social media that the

   Government disfavored. Id.; see also Chan Dep. 37:17-38:2.

          912.     In addition to social-media platforms, Chan and the FBI also “share indicators”

   with state and local government election officials, such as “county registrars or county clerk’s

   offices”—who are also state actors subject to the First Amendment. Chan “would share indicators

   with them,” and “share the same type of information that I shared with social media companies,”

   including “IP addresses and domain names, so that they could see if they were popping up

   anywhere on their networks.” Id. 50:11-51:6. In other words, the FBI feeds information to state

   and local election officials so that they can make their own reports of supposed “misinformation”

   and “disinformation” to social-media platforms, creating a First Amendment feedback loop. The

   FBI seeds concerns with the state and local election officials, who then identify supposed

   “disinformation” and “misinformation” based on the FBI’s information, and then report it to the

   social-media platforms through CISA and the FBI.




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          913.    Chan contends that Russian “state-sponsored actors … have created fake social

   media accounts,” which “have either generated disinformation themselves or they have amplified

   existing content from current users of social media platforms.” Id. 60:1-7.

          914.    These supposedly Russian-controlled accounts “make their own content,” such as

   “mak[ing] their own Facebook postings,” and they “try to find what are the hot-button or current

   issues in the news … and then they will try to either generate content themselves related to that or

   they will amplify existing content.” Id. 60:13-22. This is supposedly done with the goal to “sow

   discord in the American online environment.” Id. 61:12-13.

          915.    Chan agrees that “the goal there is … they post messages that they anticipate will

   be divisive and try and get Americans to engage with them.” Id. 61:14-18.

          916.    As Chan agrees, “engagement” with a social-media posting includes viewing the

   content, liking or disliking it, reposting it, commenting on it, and/or reposting it with commentary.

   Id. 61:19-63:13. All of these are First Amendment-protected activities. In this way, according to

   Chan, “the Russians are trying to get people to engage on their divisive content.” Id. 63:19-64:1.

          917.    According to Chan, over 126 million Americans “engaged” with Russian-

   originated content on Facebook, and 1.4 million Americans engaged with such content on Twitter,

   during the 2016 election cycle. Id. 66:2-25. All of this was First Amendment-protected activity.

   Chan credits federal government efforts during the 2020 election cycle with preventing the vast

   majority of such “engagement” by American citizens with Russian-originate content on social

   media during the 2020 election cycle. Chan Ex. 1, at v (“This thesis finds that the Russians shifted

   their tactics from 2016 to 2020. Still, the U.S. government and social media companies effectively

   impeded their influence campaigns primarily through information sharing and account takedowns,




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   respectively.”).   Thus, the federal officials’ “information sharing” activities prevented an

   enormous amount of First Amendment-protected activity from occurring.

          918.    Chan’s thesis and testimony provide clear examples of how supposedly Russian-

   originated “disinformation” on social media becomes intertwined with, and inseparable from, First

   Amendment-protected forms of expression by American citizens. Chan identifies a supposedly

   Russian-originated political ad on Facebook that features a picture of Hillary Clinton with a black

   X painted over her face, advertising an event called “Down with Hillary!” and stating, “Hillary

   Clinton is the co-author of Obama’s anti-police and anti-Constitutional propaganda.” Chan Ex. 1,

   at 29. None of this is “disinformation” in any meaningful sense—it is actually expression of

   political opinions. The posting notes that it received 763 reactions and 78 comments on Facebook,

   which Chan agrees are “engagements by users.” See id.; see also Chan Dep. 67:1-68:20. Chan

   contends that the underlying ad was “Russian-originated content masquerading as something

   posted by an American,” id. 67:6-10—i.e., just the sort of content that the FBI would flag for

   censorship to social-media platforms through “tactical information-sharing.” But once the FBI

   induces Facebook to pull down the ad from the platform, the First Amendment-protected

   “engagements” by Americans—likes, dislikes, re-posts, comments, etc.—are all obliterated as

   well. This is the collateral damage to Americans’ freedom of speech in the FBI’s war on so-called

   Russian “disinformation.”

          919.    Chan’s thesis provides similar examples of supposedly Russian-originated content

   with heavy engagement by Americans. For example, it reproduces two supposedly Russian-

   originated political ads containing a secure-borders message (“Secured Borders: Every man should

   stand for our borders! Join!”) and a pro-Second Amendment message (“Defend the 2nd: The

   community of 2nd Amendment supporters, gun-lovers & patriots”). Chan Ex. 1, at 32. Again,




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   these are expressions of political opinion, not “disinformation” in any meaningful sense. The

   former posting garnered 134,943 “likes,” and the latter posting garnered 96,678 “likes”—each of

   which is a First Amendment-protected expression of support for the underlying, supposedly

   Russian-originated, political message. See id. Another similar ad, targeting black voters, simply

   stated “Black Matters: Join us because we care. Black matters!” and it drew 223,799 “likes” from

   ordinary users. Id. at 32; Chan Dep. 80:12-20. Chan admits that these are “high” levels of

   “engagement” from ordinary users. Chan Dep. 83:21.

          920.    Chan also reports that “IRA employees used social media bots, i.e., computer

   programs which control social media accounts, to amplify existing content.” Chan Ex. 1, at 30.

   To “amplify existing content” means to do “things like liking it or reposting it.” Chan Dep. 71:20-

   24.

          921.    Based on research, Chan estimates that “over 100,000 real people had their postings

   amplified by [Russian]-controlled social media bots.” Id. 87:2-6.

          922.    In addition, the “indicators” that the FBI targeted for censorship included

   supposedly Russian-aligned websites that hosted First Amendment-protected content posted by

   Americans.    For example, Chan identified a supposedly Russia-generated website called

   “PeaceData,” which “hire[d] unwitting freelance journalists, including Americans, to write articles

   for the site.” Id. 141:24-142:3. “[A]t least 20 freelance journalists, which includes Americans,

   had been duped into writing articles for the site.” Id. 142:4-9. The FBI identified this site as

   Russia-generated to the social-media platforms, and as a result, the platforms “identified accounts

   that were foreign-associated … that were directing users to those platforms” and “t[ook] actions

   against those accounts.” Id. 143:10-20. The speech of the American freelance journalists was thus

   suppressed due to FBI inducement.




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           923.   Similarly, Chan identified a website called “NAEBC” as a Russia-generated

   website. According to Chan, the Russians “used various social media accounts to engage with real

   users and convince them to post on the NAEBC site, which met with some success.” Id. 144:13-

   145:2. Thus, “the NAEBC site also included content drafted and written by real users that had

   posted on that site.” Id. 145:3-6. “The FBI flagged the NAEBC site to social-media platforms as

   a … Russian-originated source.” Id. 146:12-15. On that basis, “the companies were able to

   discover Russian-controlled accounts that were used to try to redirect users to those websites,” and

   the platforms “said they had taken down those accounts.” Id. 146:16-147:7. The FBI thus induced

   the platforms to censor the speech of “real users” on a supposedly fake Russian website.

           924.   Chan admits that “Russia’s influence operations” are deeply intertwined with First-

   Amendment-protected speech by ordinary social-media users, as he describes: “Many factors are

   at play when trying to measure the effects of Russia’s influence operations. First-order effects

   include real users interacting with inauthentic content, Russian-bot amplification of divisive

   organic content, and IRA-controlled accounts communicating directly with real users.” Chan Ex.

   1, at 94.

           925.   During the days surrounding the 2020 election, the FBI’s command post also routed

   reports of domestic “disinformation” to social-media platforms for censorship to social-media.

   “During FBI San Francisco's 2020 election command post, which I believe was held from the

   Friday before the election through election night, that Tuesday at midnight, information would be

   provided by other field offices and FBI headquarters about disinformation …. These were passed

   to FBI San Francisco's command post, which I mentioned to you before I was the daytime shift

   commander, and we would relay this information to the social media platforms where these

   accounts were detected.” Chan Dep. 162:12-24.




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          926.    The FBI made no attempt to distinguish whether these reports of “election

   disinformation” “whether they were American or foreign.” Id. 163:1-3. “[M]any field offices” of

   the FBI “relayed this information to us.” Id. 163:7-11.

          927.    “[T]hose reports would come to FBI San Francisco … and then FBI San Francisco

   would relay them to the various social media platforms where the problematic posts had been

   made,” in order “to alert the social media companies to see if they violated their terms of service….

   which may include taking down accounts.” Id. 165:3-17.

          928.    The FBI has about a “50 percent success rate” in getting reported disinformation

   taken down or censored by the platforms, i.e., “that some action had been taken because it was a

   terms-of-service violation.” Id. 167:7-14.

          E.      The FBI Demands Information on Censorship from the Platforms.

          929.    Regarding the algorithms that platforms use to detect inauthentic activity and to

   censor content, the FBI has “probed them to ask for details” about those algorithms, “so that we

   could make sure we were sharing the most effective and actionable type of information with them,”

   id. 88:5-7, 20-22—in other words, to maximize the chances that disfavored speech would be

   censored as a result of the FBI’s “information sharing.”

          930.    The FBI “would … ask them what their terms of service or community standards

   were.” Id. 90:21-23. But Chan contends that “we never told the companies to modify their terms

   of service or community standards.” Id. 92:5-7.

          F.      The FBI Flags Accounts and URLs for Censorship on a Monthly Basis

          931.    The FBI gives “tactical information” to social-media platforms, where “tactical

   information includes identifying specific social media accounts and URLs” to be evaluated for

   censorship. Id. 96:24-97:2. Chan estimates that this occurs “one to five times per month.” Id.




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   97:17-18. This includes such “tactical” information-sharing at most quarterly meetings. Id. 98:18-

   19.

          932.    To flag such specific accounts, URLs, and content to the platforms, Chan “would

   typically … send an email to the recipients at the companies” notifying them that he would be

   using “a secure file transfer application within the FBI that is called Teleporter,” and “the

   Teleporter email contains a link for them to securely download the files from the FBI.” Id. 98:20-

   11. The Teleporter files contain “different types of indicators,” i.e., specific social-media accounts,

   web sites, URLs, email accounts, etc. that the FBI wants the platforms to evaluate under their

   content-moderation policies. Id. 99:15.

          933.    Each such communication may contain any number of such “indicators,” ranging

   “from one account or one selector to many, like a whole spreadsheet full of them.” Id. 100:16-17.

          934.    Chan “estimate[s] that during 2020 [he] shared information with the companies

   between one to five or one to six times per month.” Id. 100:21-24. Each such incident of

   information-sharing included flagging a number of specific “indicators” that ranged anywhere

   from one to “hundreds” of specific accounts, web sites, URLs, etc... Id. 101:4-7.

          935.    During the 2022 election cycle, Chan shared such information with the platforms

   “one to four times per month.” Id. 101:13-14. Each such incident involved flagging a number of

   specific “indicators” that ranged anywhere from one to “in the tens, in the dozens” of specific

   accounts, web sites, URLs, etc. Id. 101:17-19.

          936.    “[I]n general” these flagging communications would go to all seven social-media

   platforms identified above, but sometimes there would be “company-specific information” that

   would go to a particular company. Id. 102:3-9. “[M]ost of the time we would share with that list

   of [seven] companies.” Id. 102:14-15.




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          937.    When it made such communications, the FBI would request that the platforms

   report back to the FBI their specific actions taken toward the accounts that the FBI specifically

   flagged for possible censorship. Id. 102:18-25. “[A]t every quarterly meeting we try to follow up

   to ask if information we shared has been relevant if we have not received a response yet.” Id.

   103:5-9. Sometimes, but not always, the platforms report back to the FBI on what accounts they

   have removed based on the FBI’s information, in which case the FBI documents the report to

   “help[] us fine-tune the information we’re sharing.” Id. 103:14-22.

          938.    Including Chan, at least eight FBI agents in the San Francisco field office are

   involved in reporting disinformation to social-media platforms—Chan himself, two GS-14

   supervisors who report to Chan, and roughly five FBI field agents in two different squads within

   the office. Id. 105:19-108:18. All these agents share both “strategic” and “tactical” information

   with social-media platforms about supposed malign-foreign-influence content on platforms, and

   they are “involved in following up to find out if their tactical information was acted on.” Id. 108:8-

   10.

          939.    In addition, a significant number of FBI officials from FBI’s Foreign Influence

   Task Force (FITF) also participate in regular meetings with social-media platforms about supposed

   disinformation. Id. 108:19-110:14. These include “three to ten” FITF officials at bilateral

   meetings with social-media platforms. Id. 110:7-8.

          940.    The FBI uses both its criminal-investigation authority and its national-security

   authority to gather information about supposed malign-foreign-influence activities and content on

   social-media platforms. This specifically includes using “the Foreign Intelligence Surveillance

   Act … the PATRIOT Act, [and] Executive Order 12333 that allows us to gather national security

   intelligence” to investigate content on social media. Id. 111:13-112:8.




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          941.    In one case in 2020, for example, a single “Teleporter message was sent” to

   platform(s) “with a spreadsheet with hundreds of accounts,” all of which the FBI was flagging for

   the platforms as supposed malign-foreign-influence accounts. Id. 112:9-14.

          942.    Chan expressed a high degree of confidence that the FBI’s identification of “tactical

   information” (i.e., specific accounts, URLs, sites, etc.) to social-media platforms was always

   accurate, and that the FBI never misidentified accounts, content, web sites etc. as operated by

   malign foreign actors when in fact they were operated by American citizens. He testified that “we

   only share information that we have a high confidence that is attributed to a foreign-state actor,”

   and that “[i]n my experience, it has always been correct.” Id. 112:15-113:16.

          943.    But there are substantial reasons to think that Chan is wrong. For example, Chan

   reports that the FBI induced Twitter to remove accounts and Tweets related to the

   #ReleaseTheMemo hashtag in 2019, which supported Congressman Devin Nunes’ investigation

   regarding Russia collusion. Id. 149:13-21; Chan Ex. 1, at 71 (noting that 929,000 Tweets removed

   by Twitter as supposedly Russian disinformation included thousands of Tweets amplifying the

   #ReleaseTheMemo hashtag). In fact, recent reporting indicates that Twitter was aware that the

   accounts pushing #ReleaseTheMemo were not Russian-controlled inauthentic accounts, but core

   political speech by ordinary American citizens that the FBI conspired to suppress.

          944.    The FBI’s flagging accounts for censorship often leads to the censorship of

   additional accounts. According to Chan, the FBI “may share, for example, one account with them,

   but then they may find ten connected accounts and take all of them down.” Id. 113:23-114:1.

          G.      Pressure from Congress Induces Platforms to Increase Censorship.




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          945.    According to Chan, the social-media platforms were far more aggressive in taking

   down disfavored accounts and content in the 2018 and 2020 election cycles than they were in the

   2016 cycle. Id. 115:18-116:6.

          946.    Based on his personal observation, experience, and research, Chan concludes that

   “pressure from Congress, specifically HPSCI and SSCI,” induced the social-media platforms to

   adopt more aggressive censorship policies in 2018 and 2020. Id. 116:1-3. “HPSCI” stands for the

   House Permanent Select Committee on Intelligence, and “SSCI” stands for the Senate Select

   Committee on Intelligence. Id. 116:11-14.

          947.    This “pressure from Congress” took multiple forms. First, those Congressional

   committees called “the CEOs for the companies … to testify in front of their committees,”

   including “Mark Zuckerberg and Jack Dorsey and Sundar Pichai.” Id. 116:20-117:2. These CEOs

   were called to testify about disinformation on their platforms “more than once.” Id. 117:5-6. Chan

   believes that “that kind of scrutiny and public pressure from Congress … motivated them to be

   more aggressive in the account takedowns.”         Id. 117:7-14.   Chan believes this based on

   conversations with social-media platform employees. Id. 117:15-118:2.

          948.    Chan identifies specific congressional hearings that placed such pressure on social-

   media platforms to adopt more restrictive censorship policies: “On April 10–11, 2018, the Senate

   Commerce Committee and Senate Judiciary Committee held hearings on consecutive days with

   Mark Zuckerberg to discuss Russia’s influence campaigns on Facebook and its countermeasures

   to combat them…. The Senate committees also used this as an opportunity to hold Facebook

   accountable for its actions and exert pressure for positive change.” Chan Ex. 1, at 50 (emphasis

   added). “On July 17, 2018, the House Judiciary Committee held a hearing with senior executives

   from Facebook, Google, and Twitter so they could provide updates on their companies’ efforts for




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   content filtering to stop foreign influence campaigns on their platforms.” Id. On September 5,

   2018, the Senate Intelligence Committee held a hearing with senior executives from Facebook and

   Twitter to discuss their companies’ efforts to stop foreign influence campaigns and illegal

   transactions on their platforms.” Id.

           949.     Chan links these Congressional hearings to “constructive change,” i.e., more

   aggressive censorship policies by the platforms: “On October 31, 2017, the Senate Judiciary

   Committee held a hearing with senior executives from Facebook, Google, and Twitter to discuss

   the extent of the Russian disinformation campaigns on their respective platforms.” Chan Ex. 1, at

   48. “This public hearing … provided politicians with the occasion to exert pressure on the

   companies to make constructive changes to their platforms.” Id. at 48-49. According to Chan,

   this “constructive change” means the adoption of more restrictive censorship policies. Chan Dep.

   133:9-23.

           950.     In addition, Congress put pressure on the platforms to adopt and enforce more

   aggressive censorship policies and practices by sending high-level congressional staff from HPSCI

   and SSCI to meet with the social-media platforms directly and threaten them with adverse

   legislation.    According to Chan, “staffers from both of those committees have visited with …

   those [social-media] companies,” and after these meetings with congressional staffers, employees

   of the social-media platforms “would indicate that they had to prepare very thoroughly for these

   types of meetings … and they indicated that it felt like a lot of pressure.” Id. 117:19-119:2.

           951.     The Congressional staffers had such meetings with “Facebook, Google, and

   Twitter.”      Employees from those three companies “experienced these visits from congressional

   staffers as exercising a lot of pressure on them.” Id. 118:12-16.




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          952.    In those meetings, the Congressional staffers discussed potential legislation with

   the social-media platforms, and before or after they met with those three companies, the

   Congressional staffers “discussed with [Chan] … legislation that they were thinking about doing.”

   Id. 118:17-120:3.

          953.    It is Chan’s opinion that the social-media platforms’ “changes in takedown

   policies” to make them more restrictive “resulted from that kind of pressure from Congress.” Id.

   118:17-20.

          954.    Chan’s opinion is the result of discussing these meetings with participants on both

   sides—both the Congressional staffers and employees of Facebook, Twitter, and Google. Chan

   “and FBI San Francisco personnel would meet with the congressional staffers, typically before

   they met or after they met with the social media companies,” because “they wanted an FBI opinion

   about what they had heard from the social media companies.” Id. 119:23-120:3.

          955.    To the best of Chan’s recollection, these meetings between Congressional staffers

   and social-media platforms were an “annual occurrence” that began in 2017 and recurred annually

   after 2017. Id. 120:7-8. “The staffers had separate meetings with each of the companies.” Id.

   121:4-5. “[A]fter those meetings, the staffers would come to [Chan] and ask [his] opinion of

   potential legislation.” Id. 121:6-9.

          956.    Chan also discussed these meetings with the social-media platform employees who

   participated, as he “talk[s] with the social media platform personnel regularly,” and he understood

   from them that “the congressional staffers put a lot of pressure on them” in the meetings. Id.

   122:18-25. He spoke directly to the personnel who participated in the meetings. Id. 123:21-24.

   Senior officials from the social-media platforms, including Yoel Roth of Twitter, Steven Siegel of




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   Facebook, and Richard Salgado of Google, participated in the meetings with Congressional

   staffers. Id. 123:25-125:7.

          957.    The Congressional staffers involved in the meetings were “senior-level staffers,”

   including “a director-level” staffer, “the committee counsel or a senior counsel for the committee,”

   and “one or two other … line-level staffers.” Id. 123:6-13.

          958.    According to Chan, “intense pressure from U.S. lawmakers and the media …

   eventually force[d] the social media companies to examine what had taken place on their platforms

   [in 2016] and strive to ensure that it did not happen in the future.” Id. 127:3-23; Chan Ex. 1, at 42.

          959.    These steps included actions by the social-media platforms to take more aggressive

   enforcement against violations of their terms of service, but also policy changes to the terms of

   service themselves to make their policies more restrictive: “the policy changes specifically to their

   terms of service or community standards.” Chan Dep. 129:17-19. These involved “more robust or

   more aggressive content-modulation policies,” that “clarify that certain things actually violate their

   policies and can be taken down.” Id. 130:4-18.

          960.    Chan notes that “Facebook and Twitter faced more Congressional scrutiny … as

   their senior executives testified before Congress on three separate occasions before the midterm

   elections,” Chan Ex. 1, at 46, and he concludes that “political pressure from Congress was a

   contributing factor” leading social-media platforms to adopt more restrictive content-moderation

   policies. Chan Dep. 132:7-9. Chan believes that these more restrictive censorship policies that

   include “account takedowns” are “constructive change,” id. 133:2-23.

          961.    These policy changes, induced by “political pressure from Congress,” resulted in a

   dramatic increase in censorship on social-media platforms, including for example that “zero

   [Twitter] accounts were taken down during the 2016 cycle but 3,613 Twitter accounts were taken




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   down during the 2018 cycle.” Id. 133:24-134:5. Likewise, 825 accounts were removed from

   Facebook and Instagram based on publicly available reports, but according to Chan, the actual

   number was much higher. Id. 147:8-148:18. In 2019, Twitter announced the takedown of “422

   accounts which made 929,000 tweets.” Id. 149:9-12. “[S]ome subset of that amount was due to

   information [the FBI] provided.” Id. 150:12-14.

          962.    When meeting with social-media platforms, Chan “typically meet[s] with the trust

   and safety individuals and then their associated attorneys.” Id. 135:16-18.

          963.    Samaruddin K. Stewart (“Sam”) of the State Department’s Global Engagement

   Center “would meet with social media companies … primarily with policy individuals.” Id. 135:2-

   15.

          964.    Sam Stewart would offer “different types of software made by vendors that they

   would pilot to see if they could detect malign foreign influence on social media platforms.” Id.

   135:25-136:3. Chan believed that the Global Engagement Center’s products “might accidently

   pick up U.S. people information.” Id. 138:10-12.

          965.    Elvis Chan knows and has worked with Peter Strzok and Lisa Page. Id. 234:19-

   240:5. He also knows and has worked with James Baker, the former general counsel of the FBI

   who went on to become deputy general counsel of Twitter and encouraged Twitter to keep

   censoring the Hunter Biden laptop story. Id. 239:13-16.

          H.      The FBI’s Censorship Activities Are Ongoing.

          966.    Chan urges the public to report supposed misinformation on social media directly

   to the platforms, or else report it to the FBI or DOJ so that they can report it to the platforms, and

   boasts that the platforms are “very aggressive” in taking down misinformation. As he stated in a

   public podcast just before the 2020 election: “If you're also seeing something related to the election




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   on your social media platform, all of them have portals where you can report that sort of

   information. They're being very aggressive in trying to take down any disinformation or

   misinformation, and then, lastly, if they see anything on election day or before election day, you

   can always report it to FBI.gov or justice.gov … We take all of these very seriously.” Chan Ex.

   13, at 3, 9:9-19. FBI San Francisco, when it receives such reports, “would then relay those to

   social media platforms,” so that “the social media platforms will assess those in connection with

   their terms of service.” Chan Dep. 267:13-23. Chan characterizes the platforms as “very

   aggressive” in taking down disinformation because they “[adjusted] their policies to be able to

   handle foreign-malign-influence operations.” Id. 270:23-25.

          967.    The FBI continues the same efforts in 2022 and later election cycles that it pursued

   in 2020. As Chan publicly stated, “post 2020, we've never stopped … as soon as November 3rd

   happened in 2020, we just pretty much rolled into preparing for 2022.” Chan Ex. 15, at 2, 8:2-4.

   Chan stated: “[W]e are also really engaged with the technology companies that are out here …

   We're also working with the social media companies to make sure that any foreign disinformation

   that's coming out … if we can identify them, we can share that information with them so they can

   knock down accounts, knock down disinformation content,” and he noted that they are “having

   conversations with all of those organizations as they're building up to November of [2022].” Chan

   Ex. 15, at 2-3, 8:15-9:4.

   VII.   CISA’s Censorship: Pressure, “Switchboarding,” and Working Through Nonprofits.

          968.    CISA, the Cybersecurity and Infrastructure Security Agency within the Department

   of Homeland Security, serves as a “nerve center” for federal censorship efforts. CISA meets

   routinely with social-media platforms about censorship in at least five different sets of standing

   meetings, CISA pressures platforms to increase censorship of speech that federal officials disfavor,




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   and CISA serves as a “switchboard” by “routing disinformation concerns to social-media

   platforms” for censorship. CISA also seeks to evade the First Amendment by outsourcing many

   of its censorship activities to nonprofit agencies that it collaborates closely with, including the

   CISA-funded Center for Internet Security and its “EI-ISAC” (“Election Infrastructure –

   Information Sharing & Analysis Center”) for state officials, and the massive censorship cartel

   calling itself the “Election Integrity Partnership.”

          969.    Brian Scully is the chief of the so-called “Mis, Dis, and Malinformation Team” or

   “MDM Team” within the Cybersecurity and Infrastructure Security Agency (CISA) in the

   Department of Homeland Security (DHS).                 Scully Depo. 15:14-20.   Before the Biden

   Administration, the MDM Team was known as the “Countering Foreign Influence Task Force,”

   or CFITF.

          970.    Lauren Protentis is the “Engagements Lead” for the MDM Team, and she is in

   charge of “outreach and engagement to key stakeholders, interagency partners, [and] private sector

   partners,” including “social media platforms.” Scully Depo. 18:2-18. During relevant periods in

   both 2020 and 2022, however, Protentis was on maternity leave, and during those times, Scully

   performs her role as chief engagement officer for communicating with other federal agencies,

   private-sector entities, and social-media platforms about misinformation and disinformation.

   Scully Depo. 18:19-20:10.

          971.    Both Scully and Protentis have done or are doing extended details at the National

   Security Council where they work on misinformation and disinformation issues. Protentis began

   a one-year detail at the NSC in January 2023, as soon as she came back from maternity leave, and

   she will deal with mis- and disinformation issues for the NSC as part of her detail. Scully Depo.

   19:15:20:5.




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             A.     CISA “Switchboards” by Flagging Government-Reported “Misinformation.”

             972.   Scully admits that, during 2020, the MDM team “did some switchboard work on

   behalf of election officials.” Scully Depo. 16:23-25. “Switchboard work” or “switchboarding” is

   a disinformation-reporting system that CISA provides that allows state and local election officials

   (who are government officials subject to the First Amendment) “to identify something on social

   media they deemed to be disinformation aimed at their jurisdiction. They could forward that to

   CISA and CISA would share that with the appropriate social media companies.” Scully Depo.

   17:3-8.

             973.   In reporting perceived misinformation to the platforms, CISA and the state and

   local officials have “an understanding that if the social media platforms were aware of

   disinformation that they might apply their content moderation policies to it,” and “the idea was

   that they would make decisions on the content that was forwarded to them based on their policies.”

   Scully Depo. 17:15-21.

             974.   CISA’s “switchboarding” activity causes social-media speech to be censored that

   otherwise would not have been censored: Scully agrees that “if it hadn't been brought to their

   attention then they obviously wouldn’t have moderated it.” Scully Depo. 17:22-18:1.

             975.   Scully contends that “we didn’t do switchboarding in 2022.” Scully Depo. 21:24-

   25. But he admits that this decision was made in late April or early May 2022. Scully Depo.

   22:15-23. This lawsuit was filed, specifically challenging CISA’s “switchboarding” activity, on

   May 5, 2022. Doc. 1.

             976.   Throughout the 2022 election cycle and through the present date, CISA continues

   to publicly state on its website that the MDM Team “serves as a switchboard for routing

   disinformation concerns to appropriate social media platforms”: “The MDM team serves as a




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   switchboard for routing disinformation concerns to appropriate social media platforms and law

   enforcement. This activity began in 2018, supporting state and local election officials to mitigate

   disinformation about the time, place, and manner of voting. For the 2020 election, CISA expanded

   the breadth of reporting to include other state and local officials and more social media platforms.”

   Scully Ex. 24, at 3; see also Cybersecurity and Infrastructure Security Agency, “Mis, Dis,

   Malinformation,” https://www.cisa.gov/mdm (visited Feb. 4, 2023).

          977.    According to Scully, “switchboarding is CISA’s role in forwarding reporting

   received from election officials, state/local election officials, to social media platforms.” Scully

   Depo. 23:24-24:2.

          B.      CISA Organizes the “USG-Industry Meetings” on Misinformation.

          978.    The MDM Team continues to communicate regularly and extensively with social-

   media platforms about misinformation and disinformation, including during the 2022 election

   cycle. These communications include at least “two general types of communications, one, we did

   regular sync meetings between government and industry, so federal partners and different social

   media platforms.” Scully Depo. 21:2-6. This is “a coordinated meeting. Facebook was the

   industry lead, so [Scully] would have coordination calls with them prior to the meetings, just to

   set the agenda for meetings…” Scully Depo. 21:6-10. These meetings are described in CISA’s

   interrogatory responses as “USG-Industry” meetings. Scully Ex. 12, at 38-40.

          979.    In addition, the MDM Team received regular reports from social-media platforms

   about any changes to their censorship policies or their enforcement actions on censorship: “if a

   platform was putting out a … public report on policies or activities” relating to disinformation and

   censorship,” CISA would “get a briefing on that or at least get an awareness that it was going out.”

   Scully Depo. 21:11-16.




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           980.    The USG-Industry meetings increase in frequency as each election nears. In 2022,

   they were “monthly” as the election approached, and then in October, they became “biweekly,” so

   that there were two “biweekly meetings … prior to the [2022] election.” Scully Depo. 24:16-21.

           981.    “DOJ, FBI, ODNI, and … DHS” participate in these meetings on the federal

   government’s side. Scully Depo. 25:23. DHS’s participation includes at least two components:

   CISA, typically represented by Scully and Geoff Hale, Scully’s supervisor; and the Office of

   Intelligence and Analysis (“I&A”). Scully Depo. 25:11-26:13. Scully’s role is to “oversee” and

   “facilitate the meetings.” Scully Depo. 25:14-16. On behalf of CISA, Kim Wyman, Allison Snell,

   and Lauren Protentis also participate in the meetings. Scully Depo. 28:4-13.

           982.    On behalf of FBI, FITF Chief Laura Dehmlow and Elvis Chan participate in these

   “USG-Industry” meetings, and “periodically other people would be on from different parts of

   FBI,” while “Laura [Dehmlow] was usually who [CISA] coordinated through.” Scully Depo.

   29:14-30:12.

           983.    These “USG-Industry” meetings have been occurring “for years,” and “the first

   meeting we had … between federal and … industry was in 2018.” Scully Depo. 31:10-16.

           984.    In addition, prior to each “USG-Industry” meeting, CISA hosts at least two

   planning meetings before the main meeting: a bilateral planning meeting between CISA and

   Facebook, and an interagency meeting with the federal agencies that participate. Scully Depo.

   36:21-37:13.

           985.    Even though the 2022 meetings were still quite recent at the time of his deposition,

   Scully professed that “I don’t recall specifics, so I’ll just say that upfront” about the discussions at

   these meetings. Scully Depo. 37:19-20; see also Scully Depo. 39:23-25.




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          986.    The social-media platforms attending these meetings include “Facebook, Twitter,

   Microsoft, Google, Reddit, … [and] LinkedIn,” as well as “others.” Scully Depo. 38:15-20. For

   example, Wikimedia Foundation participated in “some.” Scully Depo. 39:2-6.

          987.    Scully agrees that “concerns about misinformation and disinformation on social

   media platforms [were] discussed in these meetings in the 2022 timeframe.” Scully Depo. 39:7-

   11. This includes federal officials reporting on disinformation concerns that they believe will

   affect speech on social media; for example, the “intelligence community” would report on

   “information operations”: “the intelligence community, if their reporting included foreign actors

   who were potentially going to use information operations, they might mention that in their

   briefings.” Scully Depo. 39:19-23.

          988.    The social-media platforms, likewise, would report back to federal officials about

   disinformation “trends” on their platforms, and provide additional information to the federal

   government not included in their public reports about such trends: “the platforms, they might share

   some high-level trend information from public reporting that they put out. So a lot of the platforms

   do their own regular reports on what they’re seeing on their platforms and … what actions they're

   taking. And so the platforms, themselves, would share that type of information…. they would share

   essentially what they were getting ready to make public or what they had already made public…

   and then potentially provide some additional context around that.” Scully Depo. 40:4-22. The

   government would ask for additional information about their observations of disinformation trends

   on social media, and the platforms would provide it: “they would share that, and if the government

   had questions or was looking for additional context they would often talk about that, they would

   generally talk about any new tactics that they were seeing.” Scully Depo. 41:1-5.




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          989.    Scully admits that the discussion of foreign-originated misinformation is ultimately

   targeted at preventing domestic actors’ from engaging in certain government-disfavored speech.

   He states that “my recollections for the time period we're talking about here, from September 2022

   to the election in 2022, I recall most of it was foreign based. But … often what you see overseas

   essentially makes its way to the United States.” Scully Depo. 41:6-12.

          990.    At the various meetings, the platforms discuss misinformation and disinformation

   as “coordinated inauthentic behavior,” which is subject to removal under their terms of service,

   but Scully admits that “coordinated inauthentic behavior” concerns CISA because it “could lead

   to mis and disinformation, for sure.” Scully Depo. 42:12-14.

          C.      CISA Is Deeply Embedded in the Election Integrity Partnership.

          991.    Scully admits that CISA has established relationships with researchers at

   “Stanford” and the “University of Washington,” as well as “Graphika.” Scully Depo. 46:23, 48:1-

   4. CISA’s coordination with these researchers has continued since before the 2020 election cycle.

   Scully Depo. 47:22-25. Detailed additional information about these entities and their collaboration

   with CISA in the “Election Integrity Partnership” (or “EIP”) is provided below. See infra.

          992.    Stanford Internet Observatory, University of Washington, the Atlantic Council, and

   Graphika are all involved in the EIP. Scully Depo. 48:1-22.

          993.    When EIP was starting up, Scully admits that CISA’s “involvement” with the EIP

   included at least the following collaborations: (1) “a couple of our [CISA] interns came up with

   the idea and … [CISA] had some communications with” the EIP. Scully Depo. 49:8-10. (2) CISA

   “received some briefings on the work that they were doing.” Scully Depo. 49:13-14. (3) CISA

   “had some communications early on in the process, when they were making decisions, when

   Stanford was trying to figure out what the gap was.” Scully Depo. 49:18-21. (4) CISA “connected




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   them [EIP] with the Center For Internet Security,” which is a CISA-funded nonprofit that channels

   reports of disinformation from state and local government officials to social-media platforms.

   Scully Depo. 50:5-6. (5) CISA also “connected them [EIP] with some of the election official

   groups,” i.e., “the National Association of Secretaries of State [NASS] and the National

   Association of State Election Directors [NASED],” both of which are groups of state and local

   government officials. Scully Depo. 50:6-10. (6) And CISA “facilitated some meetings between

   those three.” Scully Depo. 50:10-11.

          994.    The CISA interns who originated the idea of the EIP “worked for the Stanford

   Internet Observatory, as well … which was part of the [Election Integrity] Partnership.” Scully

   Depo. 51:7-8, 22-24.

          995.    According to Scully, the “gap” that the EIP was designed to fill, was that state and

   local election officials lack the resources to monitor and report on disinformation that affects their

   jurisdictions: “One of the gaps that we identified from 2018 is, as you know, most election officials

   their offices are fairly low staff, low resourced, and so there was no – they didn't have capabilities

   to try to identify disinformation targeting their jurisdictions, and so was essentially the gap is that

   most election offices throughout the country just didn't have that capacity or capability to be

   monitoring so that they could identify anything that would be potentially target their jurisdictions,

   so that was the gap.” Scully Depo. 57:6-17.

          996.    Scully and other CISA officials identified the “gap” as a problem to CISA interns

   who were simultaneously working for the Stanford Internet Observatory: “So we had a

   conversation with the interns, and they were asking questions about kind of needs that the election

   officials have, generally. One of the gaps that we identified from 2018 is, as you know, most




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   election officials their offices are fairly low staff, low resourced, and so … they didn’t have the

   capabilities to try to identify disinformation targeting their jurisdictions.” Scully Depo. 57:2-11.

          997.    Thus, Scully and other CISA officials were involved in originating and

   brainstorming about the creation of the EIP in the first place, as they “had some initial conversation

   with the interns” about this “gap,” and then they also “had a conversation with the Stanford Internet

   Observatory folks about the gap.” Scully Depo. 52:3-6. Then, CISA “received a briefing from

   them [EIP], or two, on kind of what they were putting together.” Scully Depo. 52:7-9. Scully and

   other CISA officials then “facilitated some meetings between Stanford folks, the Center For

   Internet Security, and election officials, where they had discussions about how they would work

   together.” Scully Depo. 52:10-13. And CISA’s involvement did not end there, as Scully admits

   that “we had some conversations, kind of throughout, when they were -- particularly when they

   were putting out public reporting about what they were seeing.” Scully Depo. 52:14-17. In

   addition, Scully “wouldn't be surprised if there were some other kind of brief conversations in

   there.” Scully Depo. 52:18-20.

          998.    The EIP continued to operate during the 2022 election cycle. Scully Depo. 53:4-5.

   At the beginning of the 2022 election cycle, the EIP “gave us [CISA] a briefing, early on, about

   what they were thinking about,” which occurred in “May/June of 2022.” Scully Depo. 53:14-19.

   Scully and Geoff Hale of CISA received the briefing from Renee DiResta and another EIP official.

   Scully Depo. 53:22-54:7. In that briefing, the EIP officials “walked through what their plans were

   for 2022, [and] some of the lessons learned from 2020.” Scully Depo. 54:11-13. Their plans for

   2022 were that “they were going to do something similar to what they did in 2020 in terms of

   trying to support election officials.” Scully Depo. 54:16-18. They planned to “work with state

   and local election officials.” Scully Depo. 54:22-25.




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          999.    CISA followed EIP’s public reporting during the 2022 election cycle, and in

   particular, Scully relied on “at least one public report … that I thought was pretty good,” which

   was “about specific disinformation” and “was basically how to think about whether or not a

   narrative poses risks.” Scully Depo. 56:12-17.

          1000. Scully admits that CISA has “an established relationship” with the EIP and the

   Stanford Internet Observatory personnel who lead it. Scully Depo. 55:24-25.

          1001. The Center for Internet Security is a “non-profit that oversees the multi-state ISAC

   and the election infrastructure subsector information sharing and analysis center, that's what ISAC

   stands for.” Scully Depo. 59:13-16. In other words, CIS oversees the “Multi-State Information

   Sharing and Analysis Center,” or “MS-ISAC,” and the “Election Infrastructure Information

   Sharing and Analysis Center,” or “EI-ISAC.”            Scully Depo. 60:9-20.   Both of these are

   organizations of state and/or local government officials, organized for information sharing. Scully

   Depo. 60:3-11, 60:25-61:6.

          1002. CISA funds the Center for Internet Security in its activity of overseeing the EI-

   ISAC, which is an organization for information-sharing among state and local government election

   officials. Scully Depo. 61:9-10, 62:1 (“CISA provides funding for the EI-ISAC”).

          1003. CISA directed election officials to the Center for Internet Security, which CISA

   funds, as an alternative route for reporting misinformation to social-media platforms, because

   CISA found the “switchboarding” role to be resource-intensive. Scully Depo. 62:16-24.

          1004. CISA connected the Center for Internet Security with the EIP because “the EIP was

   working on the same mission,” so “we wanted to make sure that they were all connected.” Scully

   Depo. 62:24-63:1. Thus, CISA originated and set up the collaborations between local government

   officials and the CIS, and between the EIP and the CIS. Id.




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          1005. The Center for Internet Security worked closely with CISA in reporting

   misinformation to social-media platforms, as CISA served as a pass-through for reports from CIS

   to the platforms: CIS officials “were receiving reporting directly from election officials. In the

   early part of 2020, they would forward what they were receiving election officials to us at CISA,

   and then we would push that to the social media platform; as 2021 moved along, CIS more

   frequently provided that directly to the platforms, themselves. And so I would say early on in the

   process, the switchboarding generally came through CISA. Later on in the process, it was more of

   a mixed bag of how the switchboarding worked.” Scully Depo. 63:23-64:10.

          1006. In addition to CIS and CISA, EIP also reported supposed misinformation to social-

   media platforms. Scully Depo. 64:13-14. CISA and CIS coordinated directly with each other on

   reporting misinformation. Scully Depo. 64:18-20.

          1007. CISA served a mediating role between CIS and the EIP, and the platforms, to

   coordinate their efforts in reporting misinformation to the platforms: “There was a point where

   one of the platforms was concerned about too much kind of duplicate reporting coming in, and so

   we did have some conversations with EIP and CIS on how to kind of better manage that activity

   to make sure we weren't overwhelming the platforms.” Scully Depo. 64:21-65:1.

          1008. There was also direct email communication between EIP and CISA about

   misinformation reporting. Scully Depo. 66:9-12.

          1009. When CISA reported misinformation to platforms, CISA would “generally copy

   the Center for Internet Security,” which was coordinating with EIP. Scully Depo. 67:20-68:6.

          1010. Alex Stamos and Renee DiResta of the Stanford Internet Observatory briefed

   Scully about the EIP’s report, “The Long Fuse,” in “late spring, early summer 2021.” Scully Depo.

   70:1-10. Scully also reviewed portions of the report. See id.; Scully Ex. 1 (EIP Report).




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          1011. Dr. Kate Starbird of the University of Washington, who works with the EIP, is also

   on the MDM Subcommittee for CISA. Scully Depo. 72:19-73:4. Kate Starbird of the University

   of Washington serves on CISA’s CSAC MDM Subcommittee, as well as working with the EIP.

   Scully Ex. 59, at 1.

          1012. Alex Stamos and Renee DiResta, who quarterback the EIP, also have roles in CISA.

   Renee DiResta of the Stanford Internet Observatory—a key player in the EIP—also serves as a

   “Subject Matter Expert (SME)” for the CISA’s Cybersecurity Advisory Committee’s MDM

   Subcommittee. Id.; Scully Depo. 361:19-362:6. Alex Stamos, the director of the Stanford Internet

   Observatory who launched the EIP, serves on the CISA Cybersecurity Advisory Committee, along

   with Kate Starbird. Jones Decl., Ex. FF, at 3, 12-13.

          1013. CISA had extensive communications to coordinate with the EIP when it was

   starting up during the 2020 election cycle: “we had conversations with Stanford about the gap.

   They gave us some briefings on what they were doing, how they were doing it. Prior to the

   election, we had some conversations with them to facilitate and coordinate meetings, as I

   mentioned. And then when they put public reporting out, if we had questions about it, we would

   probably have conversations with them around that, as well.” Scully Depo. 74:17-75:1.

          1014. In addition to Scully, Matt Masterson was involved in communicating with the EIP.

   Scully Depo. 75:6-11. In addition, Scully “wouldn’t be surprised” if Geoff Hale participated in

   some conversations with EIP. Scully Depo. 76:1-2.

          1015. The then-Director of CISA, Director Krebs, “had a relationship with Alex Stamos,”

   the head of the Stanford Internet Observatory, while CISA was coordinating with the EIP, and

   Director Krebs “may have had conversations in that context” about the EIP. Scully Depo. 76:8-




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   10. In fact, when he left CISA in late 2020, Director Krebs “joined Alex Stamos,” and “they

   started a business together,” called the “Krebs/Stamos Group.” Scully Depo. 76:5-23.

          1016. Scully believes that “Director Krebs may have participated in a couple of meetings

   that I'm aware of, that Stamos was also in.” Scully Depo. 77:20-22, 78:3-11.

          1017. According to Scully, “generally speaking, the reporting that CISA received came

   through the Center for Internet Security.” Scully Depo. 79:19-21.

          1018. Matt Masterson and Scully presented questions to the EIP about their “public

   reporting,” which consisted of “regular blog posts on what they were seeing” about supposed

   election-related misinformation. Scully Depo. 81:19-82:16. Masterson was also involved in at

   least one of the initial discussions with the Stanford Internet Observatory about starting up the EIP.

   Scully Depo. 81:24-82:4. Masterson spoke to Stanford about “clarifying the gap that election

   officials faced for the folks at the Stanford Internet Observatory early on in the process.” Scully

   Depo. 83:22-25.

          1019. The idea of the “gap” came from Scully and CISA, which he “shared with the

   interns.” Scully Depo. 84:8-22.

          1020. Matt Masterson “was in the meeting where we talked about the gap with [Alex]

   Stamos, in particular. And I believe Stamos mentioned that [i.e., the collaboration that became the

   Election Integrity Partnership] as an option during that call.” Scully Depo. 85:21-24.

          1021. Matt Masterson left CISA in January 2021. He started at Microsoft in early 2022.

   In the intervening year, immediately after leaving CISA, Masterson “was a fellow at the Stanford

   Internet Observatory.” Scully Depo. 88:21-89:8. Thus, both the CISA Director (Krebs) and the

   political appointee directly involved in the establishment of the EIP (Masterson) went to work with

   Alex Stamos of Stanford Internet Observatory immediately after the 2020 election cycle.




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          1022. Alex Stamos consulted with CISA in part because “he knew he would need us

   helping him connect with election officials.” Scully Depo. 100:17-18.

          1023. Scully believes that there was at least “a fifth call” between CISA and Alex Stamos

   in 2020. Scully Depo. 101:4.

          1024. Scully put Stamos in touch with NASED and NASS, and “facilitated some meetings

   between … them [EIP] and election officials.” Scully Depo. 101:15-102:10. Scully “facilitated

   meetings … some meetings between EIP and CIS” because “they didn't have relationship” and

   “didn't know each other. So [CISA] just facilitated getting them together to talk and figure out

   how they were going to work together.” Scully Depo. 102:14-20. The purpose of these meetings

   was “to set up a direct line of communication between CIS and EIP.” Scully Depo. 103:7-10.

          1025. Scully also put EIP in contact and facilitated meetings between EIP (i.e., folks at

   the Stanford Internet Observatory, which organized EIP) and representatives of NASED and

   NASS, the organizations of state and local election officials. Scully Depo. 103:11-104:19. These

   occurred in July or August 2020. Scully Depo. 104:24-25.

          1026. Scully believes that the Center for Internet Security, which CISA funds,

   “forward[ed] messages that election officials sent them” reporting misinformation “to EIP.”

   Scully Depo. 106:10-16.

          1027. Scully agrees that “EI-ISAC is a part of CIS and we do fund the EI-ISAC.” Scully

   Depo. 110:20-23.

          1028. Scully agrees that CISA collaborated with the EIP. Scully Depo. 111:15-18.

          1029. CISA probably had “between two and four” conversations with the EIP about its

   public reports on disinformation trends on social media. Scully Depo. 113:20-24. “[I]f we had a

   question about jurisdiction[s] being targeted or a new [disinformation] tactic or things like that,




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   we would just ask them … questions about that sort of thing.” Scully Depo. 114:17-21. Scully

   “was following the public reports” from the EIP during 2020. Scully Depo. 115:16-17.

          1030. CISA received misinformation reports principally from three sources: first, from

   the Center for Internet Security; and second, “sometimes election officials would send them in to

   CISA central, which is CISA's kind of ops center block room type setup. And then the third way

   was they would just send direct to a CISA employee, … often Matt Masterson, who had

   relationships with many of the election officials.” Scully Depo 119:7-11, 119:22-120:5.

          1031. CISA coordinated with the Center for Internet Security on reporting misinformation

   to platforms: “we would let them know when we reported something to a platform … to avoid

   duplication,” and “most of the reporting that I recall in 2020 came through CIS. And so we just

   wanted to let them know that we were acting on what they sent us. For reporting that didn't come

   through CIS, we would often let them know after we had shared it with the platforms that we had

   shared something with the platforms for their arrangement.” Scully Depo. 120:23-121:9.

          1032. CIS and EIP also “had a relationship. They shared information.” Scully Depo.

   121:20-21.

          1033. According to Scully, “CISA does not do attribution. We didn’t do analysis of what

   we received from election officials. So we would not know what percentage” of misinformation

   reports “were foreign derived.” Scully Depo. 122:25-123:3. CISA thus forwards reports of

   “misinformation” to social-media platforms “without assessing whether they were originated from

   foreign or domestics sources.” CISA would not “take steps to see whether this came from foreign

   or domestic sources,” but “would just pass it along to the social-media platforms.” Scully Depo.

   123:4-18.




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          1034. Scully was aware that social-media platforms changed their content-moderation

   policies to be more restrictive of election-related “misinformation” during the 2020 election cycle,

   because the platforms reported on those changes to federal officials “in our regular sync meetings,”

   i.e., the “USG-Industry” meetings. Scully Depo. 127:18-19. In those meetings, “that would be

   one of their briefing points, that they were making significant changes” to policies for censoring

   election-related speech. Scully Depo. 128:4-6.

          1035. During 2020, Matt Masterson was “a senior election security person at CISA,” and

   he was a “political appointee.” Scully Depo. 129:23-130:4. Masterson was “familiar with the

   switchboarding work that we were doing.” Scully Depo. 131:8-10. And “when he would receive

   emails” reporting misinformation, “he forwarded them to us.” Scully Depo. 131:13-14.

          1036. Scully understands that the Virality Project was “Stanford’s attempt to mimic the

   EIP for COVID.” Scully Depo. 134:10-11.

          1037. The Virality Project “sent [Scully] some of their public reports.” Scully Depo.

   134:13-14.

          1038. Scully was aware that Alex Stamos and Renee DiResta of the Stanford Internet

   Observatory were involved in the Virality Project. Scully Depo. 134:21-22.

          1039. Scully “did have some conversations where they were … asking me … for any

   connections I had with HHS or CDC.” Scully Depo. 135:10-12.

          1040. In addition, Scully recalls “some informal … conversations that I may have had

   with Alex, in particular, and maybe Renée, as well,” about the Virality Project. Scully Depo. 136:3-

   6.

          1041. Alex Stamos gave Scully an “overview what they planned to do in the Virality

   Project” that “was similar to what they did … with the EIP.” Scully Depo. 136:19-22.




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          1042. Scully also had conversations with Renee DiResta about commencing the Virality

   Project. Scully Depo. 139:5-14.

          1043. With respect to the EIP, Alex Stamos and Renee DiResta “shared … lessons

   learned,” and “what some of their big takeaways were” with Scully. Scully Depo. 141:6-8.

          1044. CrowdTangle is a “Facebook-owned social media monitoring service.” Scully

   Depo. 144:23-24.

          1045. According to the Virality Project report, “as voting-related mis-and disinformation

   arose in the 2020 presidential election, the Election Infrastructure Information Sharing and

   Analysis Center (EI-ISAC) served a critical role in sharing information with the Election Integrity

   Partnership and pushing its rapid response analysis back out to election stakeholders across all

   states.” Scully Ex. 2, at 150. Scully understands that this refers to the Center for Internet Security,

   which operates the EI-ISAC through CISA-provided funding, and that “it was Center for Internet

   Security” that engaged in direct communications with the EIP and played a critical role in sharing

   information with the EIP. Scully Depo. 147:17-25.

          1046. During the summer of 2020, CISA was “piloting a capability that would allow us

   to monitor narratives online,” Scully Depo. 151:13-15—i.e., the work that the EIP eventually did

   and does.

          1047. In his public statements, Alex Stamos has identified the EIP’s “partners in

   government” as “most particularly those in CISA and DHS, but also in all of the local and state

   governments with whom we operated with.” Scully Ex. 6, at 4. Scully agrees that “CISA and

   DHS were partners of the EIP.” Scully Depo. 369:1-11.

          1048. According to Stamos, “[t]he Election Integrity Partnership started with our team in

   Stanford sending a group of interns to go work with the cyber security and infrastructure security




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   agency at the DHS to work election security. And what these interns found is, there's a lot of

   opportunity for them to contribute to the technical components of election security. They also

   found that there was a lack of capability around election disinformation. This is not because CISA

   didn't care about disinformation, but at the time they lacked both kind of the funding and the legal

   authorizations to go do the kinds of work that would be necessary to truly understand how election

   disinformation was operated.” Scully Ex. 6, at 4.

           1049. Stamos says that the EIP is “a project between four different institutions to try to

   fill the gap of the things that the government cannot do themselves.” Scully Ex. 6, at 4.

           1050. Stamos states that CISA was one of “four major stakeholders” in the EIP: “There

   are kind of four major stakeholders that we operated with that we worked beside at EIP. Our

   partners in government, most particularly those in CISA and DHS, but also in all of the local and

   state governments with whom we operated with.” Scully Ex. 6, at 4.

           1051. EIP had access to data for monitoring social-media speech that the federal

   government does not have: The EIP “also worked with the major platforms, Facebook, Twitter,

   YouTube, TikTok, Reddit, NextDoor and the like. … [S]ome of those cases we had agreements

   for access of data. In other cases, we had to have individual analysts go work with them.” Scully

   Ex. 6, at 5.

           1052. According to Stamos, there was very little foreign disinformation in 2020: “We find

   very little evidence that there's any foreign involvement at all. In fact, the vast majority of election

   disinformation in 2020 came from Americans who had verified accounts and very large follower

   accounts.” Scully Ex. 6, at 6.

           1053. According to Stamos, its founder, the EIP targeted “large follower account political

   partisans who are spreading misinformation intentionally, doing so in a multi-media context. So




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   they're doing so online, on social media, but they're also doing so on cable news, doing so on the

   radio, through a variety of different outlets and are able to amplify their message and to motivate

   their followers to go try find evidence of the incorrect claims that they're making.” Scully Ex. 6,

   at 7.

           1054. According to Renee DiResta, “in August 2020, students from the Stanford Internet

   Observatory were doing an internship with CISA and they identified a massive gap in the

   capability of federal, state, and local governments to become aware of, to analyze, and to rapidly

   respond to mis and disinformation, both foreign and domestic, targeting the 2020 election.” Scully

   Ex. 7, at 4. The EIP was designed to fill that “gap” in the governments’ capability to “rapidly

   respond to mis- and disinformation … targeting the 2020 election.” Id.

           1055. As DiResta notes, the EIP was designed to get around “unclear legal authorities,

   including very real First Amendment questions,” that would arise if CISA or other government

   agencies were to monitor and flag misinformation for censorship on social media. Scully Ex. 7,

   at 4. As she states, “that gap had several components. The federal government wasn't prepared to

   identify and analyze election mis- and disinfo. …There were unclear legal authorities, including

   very real First Amendment questions.” Id.

           1056. DiResta agrees that “the vast majority of voting related misinformation in the 2020

   election was domestic.” Scully Ex. 7, at 6.

           1057. The Virality Project was immediately established on the heels of the EIP:

   “Following the success of EIP and the certification of the 2020 election, SIO [Stanford Internet

   Observatory] … almost immediately we recognized the need to ramp back up. This time to support

   government health officials' efforts to combat misinformation and targeting the COVID-19

   vaccines. In February 2021, we formally established the Virality Project drawing on the same




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   partners from EIP and adding a few more, and much like EIP, it focused on realtime observation,

   analysis, and understanding of cross platform vaccine-related misinformation.” Scully Ex. 7, at 7.

          1058. The CISA-funded Center for Internet Security coordinated with EIP regarding

   online misinformation and reported it to CISA. For example, on October 1, 2020, CIS emailed

   Scully about alleged misinformation, noting that “the impact seems to be escalating. Our hope is

   the platforms can do more to take down the misinformation. The EIP has been tracking this spread

   under ticket EIP-243 and has more examples.” Scully Ex. 9, at 1. Scully forwarded this report to

   social media platforms. Id.

          1059. EIP had advised Scully that it was using a ticketing system to track misinformation

   narratives. Scully Depo. 159:1-5.

          1060. Scully forwarded this report tracked under EIP-243 to Twitter, as well as Facebook

   and YouTube, because “people generate traffic … by posting it across platforms,” and he “would

   sometimes share across other platforms that we thought there might be … relevant content showing

   up on their platforms.” Scully Depo. 160:2-5; Scully Ex. 9, at 1, 7, 12.

          1061. Scully asked social-media platforms to report back how they were handling reports

   of misinformation and disinformation received from CISA. See Scully Ex. 9, at 11 (asking Twitter

   “to see if there’s anything you can share about how you’re approaching” misinformation reported

   by CISA). According to Scully, “periodically … we would ask if the decision was made and if

   we can share back.” Scully Depo. 164:15-17.

          1062. CISA maintained a “tracking spreadsheet” of its misinformation reports to social-

   media platforms during the 2020 election cycle. Scully Depo. 165:14-166:13. After Scully’s

   deposition, CISA produced this “tracking spreadsheet” in response to Plaintiffs’ Motion to

   Compel. Jones Decl., Ex. GG.




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          1063. At least six members of the MDM team “took shifts” in reporting supposed

   misinformation to social-media platforms, including Scully, Chad Josiah, Rob Schaul, Alex

   Zaheer, John Stafford, and Pierce Lowary. Scully Depo. 166:9-168:11, 183:14-16.

          1064. At the time, Pierce Lowary and Alex Zaheer were simultaneously serving as interns

   for CISA and working for the Stanford Internet Observatory, which was then operating the

   Election Integrity Partnership. Scully Depo. 168:22-171:16, 183:20-22. Thus, Zaheer and Lowary

   were simultaneously engaged in reporting misinformation to social-media platforms on behalf of

   CISA, and in reporting misinformation to social-media platforms on behalf of the EIP. Id.

          1065. Zaheer and Lowary were also two of the four Stanford interns who originated the

   idea of the EIP. Scully Depo. 171:14-16, 184:22-24, 185:12-14.

          1066. Zaheer “was one of the people that were working the ticketing system” for EIP.

   Scully Depo. 181:21-23. Likewise, Lowary “did both SIO and CISA push forwarding” at the same

   time during the fall of 2020. Scully Depo. 183:14-16.

          1067. CISA’s misinformation reporting to platforms “ramped up as we got closer to the

   election.” Scully Depo. 174:1-2. On election night, they “were up until at least midnight,” and “if

   we received anything we would push it forward.” Scully Depo. 175:12-14. Close to the election,

   they would “monitor their phones” for disinformation reports even during “off hours.” Scully

   Depo. 175:16-17. “[T]he expectation [was] … that they would be responsible for forwarding

   something” to the platforms. Scully Depo. 175:19-21.

          1068. Alex Zaheer, when switchboarding for CISA, forwarded detailed a report of

   supposed “misinformation” from the Election Integrity Partnership (EIP) to CISA’s reporting

   system, which called for “swift removal of … posts and continued monitoring of the user’s

   account” because that user had “claimed (1) that mail-in voting is insecure, [and] (2) conspiracy




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   theories about election fraud are hard to discount.” Scully Ex. 9, at 62. Scully forwarded this

   report to Twitter, which reported back that it had taken action pursuant to its civic integrity policy.

   Id. at 61; see also Scully Depo. 199:6-200:17.

          1069. According to Scully, forwarding such reports of misinformation from the EIP to

   social-media platforms “was our standard practice.” Scully Depo. 200:25. In fact, CISA’s

   tracking spreadsheet contains at least eleven entries of “switchboarded” reports of misinformation

   that CISA received directly from “EIP” and forwarded to social-media platforms for review under

   their policies. Jones Decl., Ex. GG, at 4-5, Column C (“From”), Lines 86-96, 115, 123 (all listing

   “EIP”). CISA also used EIP tracking numbers for those reports. See id. Column D. One of these

   notes that content was reported to Twitter for censorship because “EIP … saw article on The

   Gateway Pundit.” Id. at 4 (Column F, Line 94).

          1070. CIS routinely reported misinformation by sending the notice simultaneously to both

   CISA     and     to    the    EIP,     using     the     EIP’s     misinformation-reporting      email

   “tips@2020partnership.atlassian.net.” Scully Ex. 9, at 33, 52, 58; Scully Ex. 10, at 1. Scully Ex.

   11, at 1-2 (indicating that “tips@2020partnership.atlassian.net” is the reporting email for the EIP);

   Scully Depo. 229:18-230:25 (Scully admitting that this email is the EIP reporting email).

          1071. State officials, likewise, simultaneously reported supposed “misinformation” to

   CISA, CIS, and the EIP.        See, e.g., Scully Ex. 9, at 59 (Colorado state official reporting

   misinformation to “EI-ISAC, CISA and Stanford Partners”).

          1072. State officials sometimes indicated that they were reporting misinformation to

   platforms for censorship precisely because federal officials at FBI and CISA had warned them

   about it. See, e.g., Scully Ex. 9, at 59 (noting that Colorado was reporting two Twitter accounts,

   one with 14 followers and one with 2 followers, because “[t]hese are concerning to us here in




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   Colorado because of recent FBI/CISA warnings about impersonation accounts spreading false

   information about the election”).

          1073. One platform complained to Scully that it was receiving duplicate reports of

   misinformation from the EIP and Center for Internet Security, and asked if CISA could be

   designated reporter for the group: “Hey Brian, can we talk about CIS Misinformation reporting

   duplicate reports to EIP? Possible to have just you escalate?” Scully Ex. 9, at 63. Scully

   coordinated with CIS and EIP to set forth a coordinated reporting process involving agreed roles

   for all three of them—CISA, CIS, and EIP. Id.; Scully Depo. 209:14-212:12. Scully admits that

   there was “an agreement for EIP and CIS and CISA to coordinate and let each other know what

   they were reporting to platforms like Twitter.” Scully Depo. 212:7-12.

          1074. State and local officials reported misinformation to the FBI in parallel with their

   reports to CIS and CISA. See, e.g., Scully Ex. 10, at 10. This is because CISA “tell[s] election

   officials to report what they saw to either DHS or the FBI, and it would end up where it needed to

   be.” Scully Depo. 215:8-14.

          1075. The Center for Internet Security, likewise, sometimes used EIP ticket numbers on

   the misinformation reports it sent to CISA for forwarding to platforms. See, e.g., Scully Ex. 10, at

   27 (reporting supposed misinformation in Pennsylvania under ticket number “EIP-664”); Scully

   Depo. 217:16-218:19. As noted, CISA’s “tracking spreadsheet” used similar EIP ticket numbers

   at least 13 times for misinformation reports sent to platforms. Jones Decl., Ex. GG, at 4-5.

          D.      CISA Uses Switchboarding to Pressure Platforms to Censor Speech.

          1076. CISA and Scully did not just forward misinformation reports to platforms; in

   addition, they also engaged in fact-checking for the platforms. For example, regarding a report

   about election security in Pennsylvania, Facebook asked Scully if he could please “confirm” two




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   factual aspects of the report, and Scully responded with an explanation of why the government

   believed that the report was misinformation violating Facebook’s terms of service. Scully Depo.

   218:22-219:24; Scully Ex. 10, at 25-27; Scully Depo. 222:20-224:20; Scully Ex. 10, at 35-37

   (Scully engaging in his own research to debunk an election-integrity claim on Twitter and

   reporting to Twitter, which relied on his research to label the Tweet).

          1077. Scully admits that CISA commonly engaged in such informal fact-checking for the

   platforms: “if social media platforms needed additional information from an election official we

   would try to support that. … “[G]enerally speaking, we would do what we did here, which is if the

   -- if the jurisdiction made a public statement or if there was additional information the jurisdiction

   could provide, and the platforms asked for it, that we would try to facilitate getting the information

   they asked for.” Scully Depo. 220:6-20. CISA would do its own research as well as relaying

   statements from public officials to help debunk postings for social-media platforms. Scully Depo.

   221:1-4 (“If it was a public statement, I'm sure we pulled it ourselves. If there was not a public

   statement, I would imagine we would go back to the election official.”); Scully Depo. 221:23-

   222:19.

          1078. In presenting such “debunking” information to platforms to urge them to remove

   content, CISA always assumed—without any independent research—that the government official

   was a reliable source, and that the social-media user was unreliable, even for first-hand accounts:

   “if there was a public statement that was put out by the jurisdiction, we would … defer to that.”

   Scully Depo. 221:9-12. CISA would not “take any steps to find out” if the private citizen’s account

   might actually be truthful, and CISA would not “do further research to figure out who was telling

   the truth,” but would simply “relay … the official statement from the jurisdiction” to the platforms

   for censorship. Scully Depo. 221:13-22.




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          1079. CISA’s fact-checking activity included both relaying “debunking” information

   from state and local officials—always assuming without question that the state and local officials

   were truthful, not the social-media speakers—and performing its own fact-checking when the

   claim related to federal activities. For example, “[t]here was also one time when I believe it was

   Facebook had a question about DHS immigration and customs enforcement having agents going

   places where we also provided a response back on a specific piece.” Scully Depo. 220:8-13.

          1080. CIS and CISA’s “switchboarding” activities reached, not just public postings, but

   private postings on social-media platforms. See, e.g., Scully Ex. 10, at 45-46 (reporting a “post on

   a private FB page,” i.e., a “(private) Facebook post that Trump already won AZ”).

          1081. Social-media platforms treated CISA as a privileged reporter of misinformation,

   frequently responding with great promptness to CISA’s reports of misinformation, immediately

   “escalating” the content for moderation, and reporting back the censorship action taken. For

   example, on November 10, 2020, at 7:23 pm, Scully reported offending Tweets, and Twitter

   responded within two minutes, “Thanks Brian. We will escalate.” Shortly after midnight the same

   night, at 12:11 a.m., Twitter followed up with a report on censoring the Tweets. Scully Ex. 10, at

   59. On November 13, 2020, Scully reported an offending tweet at 11:20 pm, and Twitter

   responded at 11:21 pm, “Thanks Brian. We will escalate.” Scully Ex. 18, at 26; Scully Depo.

   291:15-294:3.

          1082. CISA’s censorship partners also originated their own reports for censorship. CIS

   and the EIP sometimes reached out to state and local officials to invite them to debunk and report

   speech that CIS and EIP had observed on social media. For example, on December 1, 2020, the

   Center for Internet Security emailed local government officials stating, “The EI-ISAC, and our

   partners at the Election Integrity Partnership (EIP), are tracking a social-media post that is gaining




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   traction very quickly.” Scully Ex. 11, at 4. The CIS asked the local officials to debunk the post so

   that “we can work with the social media platforms to have the posts removed as misinformation.

   Please let us know as soon as possible.” Id. The local officials responded with information

   disputing the posts, and CIS promptly forwarded the dispute to CISA and EIP: “Brian [Scully] and

   EIP, misinformation tweet … a [local official] confirmed the misinformation.” Id. at 2. Scully

   then forwarded the report to Twitter, which responded within three hours, “We have labeled the

   tweet and are taking steps to limit trending on this.” Id. at 1; Scully Depo. 228:5-231:7.

          E.      CISA’s Many Misinformation Meetings with Platforms.

          1083. In its interrogatory responses, CISA disclosed five sets of recurring meetings with

   social-media platforms that involve discussions of misinformation, disinformation, and/or

   censorship of speech on social media. Scully Ex. 12, at 38-40.

          1084. Scully provided the information in the interrogatory responses regarding CISA’s

   meetings with social-media platforms regarding misinformation and censorship. Scully Depo.

   232:24-233:3. In doing so, Scully failed to disclose a long series of bilateral meetings between

   CISA and social-media platforms. See, e.g., Scully Depo. 238:11-13 (“we had some Twitter-only

   calls, as well, that [Yoel Roth] participated in”); Scully Depo. 238:21-22 (“we had some briefings

   from [Twitter] on some of their public reports” about misinformation); Scully Depo. 239:8-12

   (agreeing that there were “briefings in those bilateral meetings with Twitter as relating to

   misinformation and disinformation on social media”); Scully Depo. 239:20-240:3 (admitting that

   CISA conducted “bilateral meetings with other social media platforms, like this, where

   misinformation was discussed”); Scully Depo. 241:4-22 (admitting to a series of bilateral meetings

   with social-media platforms beginning in 2018 and continuing through 2020); Scully Depo. 241:7-

   14 (testifying that “in 2018 … in our initial stages of trying to build those relationships, we would




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   go meet with each platform one-on-one”); Scully Depo. 241:20-22 (admitting that, “prior to

   starting the switchboarding work, in 2020, we had conversations with each platform individually”).

          1085. None of these many bilateral meetings with social-media platforms about

   misinformation was disclosed in CISA’s interrogatory responses. Scully Ex. 12, at 38-40; Scully

   Depo. 243:6-21.

          1086. In its interrogatory responses, CISA describes the “USG-Industry” meetings as

   follows: “A recurring meeting usually entitled USG – Industry meeting, which has generally had

   a monthly cadence, and is between government agencies and private industry. Government

   participants have included CISA’s Election Security and Resilience subdivision, DHS’s Office of

   Intelligence and Analysis, the FBI’s foreign influence task force, the Justice Department’s national

   security division, and the Office of the Director of National Intelligence. Industry participants

   generally include Google, Facebook, Twitter, Reddit, [and] Microsoft but, have also included

   Verizon Media, Pinterest, LinkedIn, and the Wikimedia Foundation as well. The topics discussed

   include, but are not limited to: information sharing around elections risk, briefs from industry,

   threat updates, and highlights and upcoming watch outs.” Scully Ex. 12, at 38-39.

          1087. In fact, the CISA’s description of the “USG-Industry” meeting as having “a

   monthly cadence” is misleading. The meetings became biweekly and weekly close to elections,

   when they were most needed: “from summer of 2018 … to early 2020 they were quarterly.

   Sometime in 2020 they became monthly and then as we got closer to the election in 2020 they

   became weekly.” Scully Depo. 234:7-11.

          F.      CISA Worked with FBI to Suppress the Hunter Biden Laptop Story.

          1088. Scully claims that he does not recall whether or not “hack and leak” or “hack and

   dump” operations were raised at the USG-Industry meetings, but he does not dispute that they may




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   have been raised: “I don't recall a specific incident of that [i.e., discussions of “hack and dump” or

   “hack and leak” operations], but it's definitely possible. It's a tactic that had been used in the past.”

   Scully Depo. 236:6-12. Scully does not dispute that he may have raised it: “Me, personally, I don't

   recall myself raising that, but it's possible.” Scully Depo. 236:15-16. He does not dispute that

   Laura Dehmlow of FBI’s FITF may have raised the concern: “Again, I don't know. It was a tactic

   that had been used globally, previously. So it wouldn't surprise me if there was some discussion

   of that somewhere in these meetings.” Scully Depo. 236:20-23. He does not dispute that Elvis

   Chan and/or Matt Masterson may have raised the concern. Scully Depo. 237:10-22.

           1089. Scully also does not dispute Yoel Roth’s account of the communications to social-

   media platforms from federal officials about hack-and-leak operations and the possibility of a

   hack-and-leak operation involving Hunter Biden in Paragraphs 10-11 of Yoel Roth’s Declaration

   dated December 17, 2020. Scully Ex. 13, at 2-3; Scully Depo. 245:23-248:11. Scully does not

   dispute that federal officials repeatedly raised the concern that they “expected hack and leak

   operations by state actors” in the USG-Industry meetings, Scully Depo. 245:23-247:17 (“it’s

   certainly possible, because it was a common tactic … I would definitely not be surprised if these

   were included in the conversations”); and Scully does not dispute Roth’s statement that Roth

   learned in these meetings that “there were rumors that a hack and leak operation would involve

   Hunter Biden,” Scully Depo. 247:18-248:7.

           1090. Contemporaneous emails confirm that CISA officials were warning of “hack and

   leak” operations during the USG-Industry and other meetings with social-media platforms during

   2020. For example, on September 16, 2020, Facebook employees emailed Scully and other CISA

   officials a draft of a joint industry statement, which stated: “For several years, tech companies have

   worked together with … U.S. government agencies … to counter election threats across our




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   platforms…. At today’s meeting, we specifically discussed: … (2) Ways to counter targeted

   attempts to undermine the election conversation before, during, and after the election. This

   includes preparing for so-called hack and leak’ operations attempting to use platforms and

   traditional media for unauthorized information drops.” Scully Ex. 16, at 1 (emphasis added). This

   email confirms that “preparing for so-called ‘hack and leak’ operations” was discussed at the USG-

   Industry meeting on Sept. 16, 2020, which included CISA, FBI’s FITF, DOJ’s National Security

   Division, ODNI, and Google, Microsoft, Facebook, Twitter, Reddit, Verizon Media, Pinterest,

   LinkedIn, and Wikimedia Foundation. Scully Ex. 16, at 1; see also Scully Depo. 253:14-255:13.

          1091. Likewise, the agenda for the July 15, 2020 USG-Industry meeting included, as a

   “Deep Dive Topic,” a 40-minute discussion of “Hack/Leak and USG Attribution Speed/Process.”

   Scully Ex. 17, at 16. According to Scully, “attribution” in this context means identifying the hacker

   and leaker, and “USG” means “United States Government.” Scully Depo. 274:4-275:10.

          1092. Like Elvis Chan, Scully was not aware of any “pending investigations, at that time,

   into possible hack and leak operations.” Scully Depo. 255:9-13.

          1093. At the USG-Industry meeting, CISA asked platforms to report back on “Themes /

   narratives / approaches you anticipate for races you think will be targeted.” Scully Ex. 15, at 1.

          G.      CISA’s Ongoing and Expanding Censorship Efforts.

          1094. In the spring and summer of 2022, Lauren Protentis requested the social-media

   platforms to prepare “one-pagers” for state and local election officials to address their content

   moderation rules. See Scully Ex. 17, at 1 (including “One-Pager Reminder” on the agenda for the

   April 2020 USG-Industry meeting); Scully Depo. 260:3-261:11 (“we had asked industry to provide

   a one-page summary of their content moderation rules that we could share with election officials”).




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          1095. The purpose of these “one-pagers” was to provide a summary of the platforms’

   content moderation rules to state and local government officials who would be reporting

   misinformation to the platforms. Scully Depo. 260:3-261:11.

          1096. Lauren Protentis of CISA repeatedly lobbied the social-media platforms to include

   in their “one-pagers” for state and local officials a description of how to report perceived

   misinformation to the platform for censorship. See, e.g., Scully Ex. 18, at 41 (Protentis requesting

   that Facebook update its one-pager to include its “steps for flagging or escalating MDM content”

   to “make this a comprehensive product on both the critical needs for officials—account security

   and MDM concerns”); id. at 44 (Protentis asking Microsoft to create a one-pager for election

   officials to “provide steps to … report MDM”); id. at 45 (Protentis requesting that Twitter update

   its one-pager for government officials to include information about “how to report

   disinformation”). Scully agrees that Protentis was “trying to make sure that election officials have

   the information they need if they want to report” disinformation. Scully Depo. 300:23-25.

          1097. CISA also set up an “operation center” on and around Election Day that engaged

   in “switchboarding” reports of election-day misinformation to platforms: “CISA regularly set up

   an operation center on election day, around the election. And the platforms and some of the other

   agencies do the same.” Scully Depo. 262:16-19. This “operation center” received “switchboard

   reporting” in 2018 and 2020. Scully Depo. 263:15-18. It was also communicating with platforms

   and other federal agencies, including “connectivity with FBI, DOJ, NEI, I&A.” Scully Depo.

   264:18. When these reports came in, CISA would “perform the same misinformation routing

   function and pass that along to the platforms.” Scully Depo. 265:1-7.

          1098. The CISA-funded Center for Internet Security continued to report misinformation

   and disinformation to platforms for censorship in 2022: “CIS was up and running [in 2022].”




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   Scully     Depo.    266:2.    Scully    understands      that   “CIS   continued   to    receive

   disinformation/misinformation reports from state and local election officials during the 2022

   election cycle, and relay them directly to social media platforms.” Scully Depo. 266:5-13.

            1099. Scully also believes that NASS and NASED routed disinformation concerns

   directly to social-media platforms in 2022. Scully Depo. 268:25-269:3.

            1100. Scully agrees that foreign-originated social-media content typically becomes

   repeated from domestic sources: “We often see what happens overseas send up showing up

   domestically.” Scully Depo. 279:9-11.

            1101. CISA has also teamed up directly with the State Department’s Global Engagement

   Center (GEC) to seek removal of social-media content; for example, on one occasion, the GEC

   enlisted CISA’s aid to seek the removal of “a YouTube channel run by Americans falsely

   claiming” that a certain State Department special envoy was “Patient Zero” for COVID-19. Scully

   Ex. 18, at 2. Scully forwarded the report to Facebook, which reported within minutes that it had

   “flagged for our internal teams.” Scully Ex. 18, at 1.

            1102. CISA flagged obvious parody and joke accounts for censorship, including a

   Colorado parody account with 56 followers whose handle stated, “dm us your weed store location

   (hoes be mad, but this is a parody account),” and one with 27 followers whose handle stated,

   “Smoke weed erry day.” Scully Ex. 18, at 11-12. The government official who reported these

   stated that “these are concerning to us … because of recent FBI/CISA warnings about

   impersonation accounts spreading false information about the election.” Scully Ex. 18, at 11. In

   other words, the government official sought to censor these accounts before they posted any

   election-related speech, because (according to “FBI/CISA”), they might engage in misleading




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   election-related speech. See id. Scully forwarded these reports to Twitter for censorship. Scully

   Ex. 18, at 10.

          1103. Platforms report to CISA when they update their content-moderation policies to

   make them more restrictive. On September 10, 2020, for example, Twitter reported to Masterson

   and Scully that it was “updating our Civic Integrity Policy” to “label or remove false or misleading

   information intended to undermine public confidence in an election or other civic process.” Scully

   Ex. 18, at 9. This includes censorship of “Disputed claims that could undermine faith in the process

   itself, e.g. unverified information about election rigging, ballot tampering, vote tallying, or

   certification of election results.” Scully Ex. 18, at 9. The EIP had successfully lobbied platforms

   to adopt such changes ahead of the 2020 election. See infra.

          1104. CISA pushed for the censorship of content that CISA’s Director particularly

   disfavored, including supposed disinformation about CISA itself, and about the so-called

   “Hammer and Scorecard” narrative that attributed election interference to federal intelligence

   agencies. For example, Scully requested censorship of a “disinfo report about CISA and Director

   Krebs.” Scully Ex. 18, at 19. And on November 10, 2022, Scully reported to platforms that

   “Director Krebs is particularly concerned about the hammer and scorecard narrative that is making

   the rounds,” and asked for information about their tracking and “amplification” of the narrative.

   Scully Ex. 18, at 22, 24. Twitter and Facebook promptly reported back on their efforts to censor

   the narrative.   Scully Ex. 18, at 21 (Facebook reporting that “our teams are labelling and

   downranking the content as identified”); id. at 24 (Yoel Roth of Twitter explaining Twitter’s

   attempts to censor the narrative, and asking CISA “Let us know if there are especially high-profile

   examples of tweets sharing the conspiracy that haven’t been labeled” so Twitter can censor them).

   See also Scully Depo. 286:3-289:25.




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          1105. CISA also purposely debunks online narratives, knowing that the social-media

   platforms will use its debunks as censorship. For example, Yoel Roth emailed CISA about the

   Hammer and Scorecard narrative stating: “We’ve tracking the Hammer/Scorecard issue closely,

   particularly since Director Krebs’ tweet on the subject (which was pretty unambiguous as far as

   debunks go).” Scully Ex. 18, at 24. Scully admits that CISA was aware that “social-media

   platforms were following the rumor page posted by CISA and using that as a debunking method

   for content on their platforms.” Scully Depo. 290:13-17 (“We had a sense they were doing that,

   yeah.”).

          1106. CISA publicly states that it is expanding its efforts to fight disinformation heading

   into the 2024 election cycle. Scully Ex. 27, at 1. On August 12, 2022, Director Easterly was

   reported to be “beef[ing] up [CISA’s] efforts to fight falsehoods,” and “has taken several specific

   steps to fight the problem.” Id.

          1107. In January 2022, Director Easterly asked Facebook for a “briefing from us on 2022

   election approach.” Scully Ex. 28, at 2. Easterly responded to an email by Facebook and directed

   her staff to set up the meeting. Id. Scully does not know what was discussed at the meeting.

   Scully Depo. 309:12-19.

          1108. Director Easterly also exchanged text messages with Matt Masterson on February

   26, 2022, when he was recently employed by Microsoft. Scully Ex. 29, at 2-3. In those texts,

   referring to a previous unidentified group call, Easterly told Masterson that she is “Just trying to

   get us in a place where Fed can work with platforms to better understand the mis/dis trends so

   relevant agencies can try to prebunk/debunk as useful.” Scully Ex. 29, at 2. She stated that CISA

   is “looking to play a coord role so not every D/A [i.e., department and agency] is independently

   reaching out to platforms which could cause a lot of chaos.” Scully Ex. 29, at 2. Masterson




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   responded, agreeing with Easterly, and stating, “Platforms have got to get comfortable with gov’t.

   It’s really interesting how hesitant they remain.” Scully Ex. 29, at 3. (Scully notes that “D/A” is

   “one of our common abbreviations for department and agency.” Scully Depo. 316:23-24.)

          1109. Scully agrees with Director Easterly that, when multiple federal agencies contact

   platforms independently, “it does create challenges and provides the platforms opportunities to

   play departments off each other.” Scully Depo. 317:6-9. For CISA to play a “coordinating” role

   among the agencies, therefore, allows federal officials to keep better influence and control over

   the platforms.

          1110. According to a September 2022 leaked draft copy of DHS’s “Quadrennial

   Homeland Security Review, DHS’s capstone report outlining the department’s strategy and

   priorities in the coming years, the department plans to target ‘inaccurate information’ on a wide

   range of topics, including “the origins of the COVID-19 pandemic and the efficacy of COVID-19

   vaccines, racial justice, U.S. withdrawal from Afghanistan, and the nature of U.S. support to

   Ukraine.” Scully Ex. 30, at 4.

          1111. Scully agrees that DHS has discussions about targeting misinformation regarding

   the efficacy of COVID-19 vaccines, Scully Depo. 322:9-21 (“our building critical infrastructure

   help in public health is one of the sectors of critical infrastructure, so we engage with CDC and

   HHS to help them”); about the origins of the COVID-19 pandemic, Scully Depo. 323:16-17 (“We

   did some work on the … bio-lab narratives”); and regarding Ukraine, Scully Depo. 324:5-10 (“We

   saw this with COVID. … We saw this around Ukraine. And so, again, just helping people

   understand … these disinformation narratives….”). In particular, CISA participated in a “Unified

   Coordination Group” regarding Russia’s invasion of Ukraine, which addressed misinformation:

   “there was a … Unified Coordination Group, when Russia invaded Ukraine, to coordinate DHS




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   activities related to the crisis. As a part of that there was an MDM component, and a member of

   the MDM team was detailed to lead the MDM component of the Russian/Ukraine work.” Scully

   Depo. 325:5-12. Scully believes that this group communicated with social-media platforms as

   well (again, not disclosed in CISA’s interrogatory responses). Scully Depo. 327:1-18.

          1112. As of August 12, 2022, DHS’s Office of Inspector General continued to call for a

   more aggressive, not less aggressive, approach to combating disinformation. Scully Ex. 31, at 1

   (OIG calling for DHS to adopt a “Unified Strategy to Counter Disinformation Campaigns”).

          1113. DHS’s OIG reports that CISA is expanding, not contracting, its efforts to fight

   disinformation. OIG reports that CISA’s “MDM team focuses on disinformation activities

   targeting elections and critical infrastructure. According to a CISA official, the MDM team

   counters all types of disinformation, to be responsive to current events.” Scully Ex. 31, at 9. “An

   official from the MDM team stated that, through this work, CISA is building national resilience to

   MDM, such as COVID-19 vaccine hesitancy and foreign influence activities.” Id. at 10. OIG

   further reports that, “[a]ccording to selected Intelligence Community officials, the Office of the

   Director of National Intelligence and the U.S. Department of Justice worked with CISA and I&A

   to counter disinformation related to the November 2020 elections. For example, according to an

   Office of the Director of National Intelligence official, prior to the November 2020 elections, CISA

   and I&A joined in weekly teleconferences to coordinate Intelligence Community activities to

   counter election-related disinformation. The Office of the Director of National Intelligence official

   stated the teleconferences continued to occur every 2 weeks after the 2020 elections and were still

   taking place as of the time of this audit.” Id. at 11. Further, OIG reports that “CISA and I&A also

   work with the U.S. Department of State’s (State Department) Global Engagement Center on

   countering disinformation.” Id. at 11.




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          1114. On November 21, 2021, Director Easterly reported that CISA is “beefing up its

   misinformation and disinformation team in the wake of a divisive presidential election that saw a

   proliferation of misleading information online.” Scully Ex. 23, at 1. “I am actually going to grow

   and strengthen my misinformation and disinformation team,” Easterly stated publicly. Id. She

   stated that she “had a meeting with ‘six of the nation’s experts’ in the misinformation and

   disinformation space.” Id. And she “stressed her concerns around this being a top threat for CISA

   … to confront.”     Id.   “One could argue that we’re in the business of protecting critical

   infrastructure, and the most critical infrastructure is our cognitive infrastructure,” Easterly said.

   Id. “We now live in a world where people talk about alternative facts, post-truth, which I think is

   really, really dangerous if people get to pick their own facts,” Easterly said. Id. at 2. Evidently,

   Easterly thinks that government officials should help Americans “pick their own facts” for them.

   Id.

          1115. According to Scully, CISA has an expansive mandate to address all kinds of

   misinformation that may affect “critical infrastructure” indirectly: “mis, mal-information threatens

   critical infrastructure in a number of ways, it could be operational impact, so in the case of the

   elections, disrupting election operations …. So a multitude of ways that disinformation could

   impact critical infrastructure, like I said … there's financial, there's reputational, there's just a

   multitude of ways that this disinformation could affect critical infrastructure.” Scully Depo.

   340:10-341:1. This could include, for example, “misinformation” that undermines confidence in

   any kind of national institution, including banks and financial services industry: “from mis, dis

   and mal-information, a reputational risk could come about if the integrity or the public confidence

   in a particular sector was critical to that sector's functioning. So I think the financial services

   would probably be a good example. So if there's a loss of confidence by the American public in




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   financial services, financial systems of the United States, that could create national security

   concerns.”   Scully Depo. 341:17-342:2.        This is a breathtakingly broad—even limitless—

   interpretation of CISA’s mandate to protect “critical infrastructure,” which would allow CISA to

   target virtually any kind of core political speech as “mis, dis and mal-information” that “create

   national security concerns” by undermining “public confidence in a particular sector.” Id.

          1116. In fact, CISA is “working with Treasury to develop a product to help the financial

   services sector understand MDM risks to the sector.” Scully Depo. 355:22-24.

          1117. Scully has publicly stated that CISA is “trying to reduce the amount that Americans

   engage with disinformation,” where “engaging with disinformation” means “amplifying it, re-

   tweeting it, resending it, things like that.” Scully Depo. 346:7-24; Scully Ex. 49.

          1118. On June 22, 2022, CISA’s Cybersecurity Advisory Committee issued a “Draft

   Report to the Director” calling for an extremely broad view of CISA’s mandate. The report states

   that “[t]he spread of false and misleading information poses a significant risk to critical functions

   like elections, public health, financial services, and emergency response.” Scully Ex. 46, at 1.

   “Pervasive MDM diminishes trust in information, in government, and in democratic processes

   more generally.” Id. The report states that “CISA should consider MD across the information

   ecosystem,” including “social media platforms of all sizes, mainstream media, cable news, hyper

   partisan media, talk radio, and other online resources.” Id. at 2. Scully agrees with this report that

   CISA is trying to make its “resilience activity … as broad as possible so it’s applicable anywhere

   that someone may come across MDM.” Scully Depo. 358:7-11.

          1119. In September 2022, the Center for Internet Security is still working on a “portal”

   for government officials to report election-related misinformation to social-media platforms.

   Scully Ex. 19, 21. “[W]ork on the online ‘portal’ for election officials to flag misinformation to




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   social-media platforms … continues today.”           Scully Ex. 21, at 4.   Scully states that “my

   understanding is that [CIS] did do something along those lines, I just don’t know the extent of it.”

   Scully Depo. 365: 3-6.

          1120. As of January 2023 and today, CISA’s website continues to proclaim, “[t]he MDM

   team serves as a switchboard for routing disinformation concerns to appropriate social media

   platforms and law enforcement. This activity began in 2018, supporting state and local election

   officials to mitigate disinformation about the time, place, and manner of voting. For the 2020

   election, CISA expanded the breadth of reporting to include other state and local officials and more

   social media platforms. This activity leverages the rapport the MDM team has with the social

   media platforms to enable shared situational awareness.”           Scully Ex. 24, at 3; see also

   www.cisa.gov/mdm (visited Feb. 10, 2023). CISA thus proclaims that it is “expand[ing] the

   breadth of reporting,” not retreating from it. Id.

          1121. Regarding misinformation reports, CISA “would generally share whatever we

   received from the election officials with the FBI, in case there was an ongoing investigation related

   to whatever it was that we forwarded to them.” Scully Depo. 366:17-20.

          1122. CISA engaged in switchboarding and colluding with social-media platforms to

   promote censorship in other ways as well.

   VIII. The State Department’s Global Engagement Center’s Censorship Efforts.

          1123. The State Department’s Global Engagement Center (“GEC”) also conducts

   numerous meetings with social-media platforms about disinformation.

          1124. The GEC’s “front office and senior leadership engage with social media

   companies.” Kimmage Dep. 29:12-13. These senior leadership meet with social-media platforms

   “[e]very few months, can be quarterly, but sometimes less than quarterly.” Id. at 32:9-10.




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   According to Daniel Kimmage, Principal Deputy Coordinator of the GEC, these meetings focus

   on the “tools and techniques” of spreading disinformation on social media, and it “would be rare”

   for them to discuss specific “content that’s posted on social media that might be of concern to the

   GEC.” Id. at 30:9-31:3.

          1125. In addition, the GEC’s “Technology Engagement Team does engage with social

   media companies” as well. Id. at 29:11-12. The Technology Engagement Team meets with social

   media companies “[m]ore frequently” than the senior leadership, which meets with them “every

   few months.” Id. at 37:9-15.

          1126. Kimmage recalls at least two meetings with Twitter. Id. at 129:22-25. At such

   meetings, the GEC would bring “between five and ten” people, including “the acting coordinator,

   me, in that capacity, then one or more of the deputy coordinators, team chiefs from the Global

   Engagement Center, and working-level staff with relevant subject matter expertise.” Id. 130:24-

   131:13. These GEC staff meet with the platforms’ content-moderation teams, i.e., the people

   responsible for censorship on the platforms. Id. at 133:1-20, 135:1-11.

          1127. In such a meeting, “the GEC would provide an overview of what it was seeing in

   terms of foreign propaganda and disinformation. And Twitter would, to the extent that they felt

   comfortable sharing information, would discuss similar topics.” 136:8-13.

          1128. In addition to meeting with Twitter, the GEC’s senior leadership had similar

   meetings with Facebook and Google as well during the same time frames. Id. at 139:22-140:6.

   These meetings were also with Facebook and Google’s content-moderation or trust and safety

   teams, i.e., the people responsible for censoring content on their platforms. Id. at 141:17-143:3.

          1129. The GEC brought similar numbers of people to the meetings with Facebook and

   Google. Id. at 143:16-17 (“I believe the lineup would have been similar.”).




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          1130. In addition to the senior-leadership and TET meetings, the GEC also maintained a

   Senior Advisor as a permanent liaison in Silicon Valley, Samaruddin K. Stewart, for the purpose

   of meeting with social-media platforms about disinformation. Id. at 159:24-160:13; Kimmage Ex.

   9, at 2. Stewart set up a series of meetings with LinkedIn to discuss “countering disinformation”

   and to “explore shared interests and alignment of mutual goals regarding the challenge.” Kimmage

   Ex. 9, at 2. Like the senior-leadership meetings, Stewart scheduled these meetings with the head

   of the trust and safety team, i.e., the person responsible for censorship on the platform. See id. at

   7 (meeting with the “Head of Threat Prevention, Trust & Safety” at LinkedIn). Kimmage confirms

   that Stewart set up similar meetings with other social-media platforms. Kimmage Dep. 160:12-

   13.

          1131. On March 25, 2021, the GEC set an email to Rob Schaul of CISA flagging “a

   disinfo campaign on YouTube targeting a [diplomatic security] officer” on a “Youtube channel

   run by Americans.” Kimmage Ex. 11, at 2. Brian Scully of CISA forwarded the disinformation

   report to Twitter, Facebook, and YouTube. Id. at 1, 3, 7. Facebook responded, “Thank you so

   much for this! Have flagged for our internal teams.” Id. at 1.

          1132. The GEC also coordinated with the Election Integrity Partnership. George Beebe

   of the GEC was in contact with the EIP. Kimmage Dep. 202:10-24. Kimmage admits that the

   GEC had “a general engagement with the EIP. … the GEC was engaging with the partnership.”

   Id. at 214:11-19. In addition to Mr. Beebe, Adele Ruppe, who “liaised on election-related issues,”

   may have engaged with the EIP. Id. 214:23-215:5.

          1133. Kimmage states that the GEC’s work against disinformation “equips … technology

   companies to better understand” disinformation “so that they can take whatever actions they would

   take to stop the spread.” Id. 280:24-281:3.




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          1134. On October 17, 2022, at an event at Stanford University, Secretary of State Blinken

   was asked, “Stanford is one of the leading institutions to combat misinformation research and

   pointing out propaganda narratives and how they spread. How do you envision the cooperation

   between the State Department and institutions like Stanford in combatting the spread of

   propaganda?” Kimmage Ex. 16, at 5. Secretary Blinken responded, mentioning the GEC and

   noting that State is engaging in “collaborations” and “build[ing] out … partnerships” with

   Stanford: “Stanford is doing remarkable work on that, and it's one of the things that we want to

   make sure that we're benefitting from, because this is a day-in, day-out battle for us, combating

   misinformation and disinformation around the world. We have at the State Department itself a big

   focus on this. We have something called the Global Engagement Center that's working on this

   every single day. But that work is both inspired by work that's being done in academia, including

   here at Stanford, as well as where appropriate collaborations. …So we're trying to build out these

   kinds of partnerships to make sure that we're looking at every place that is actually developing

   answers, including Stanford, and then integrating that into what we do.” Id.

   IX.    The Election Integrity Partnership and Virality Project – Federal Collaborators.

          1135. Federal officials also work through nonprofit organizations to achieve their

   censorship goals. Most notably, federal officials at CISA and the GEC, and state officials through

   the CISA-funded EI-ISAC, work in close collaboration with the Stanford Internet Observatory and

   other nonprofit organizations to achieve censorship and attempt to evade the First Amendment.

   Moreover, the Surgeon General’s Office and other federal officials collaborate closely with the

   Stanford Internet Observatory and the same entities under the aegis of the “Virality Project.”

          A.      The Election Integrity Project Is a Formidable Censorship Cartel.




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             1136. According to its website, “[t]he Election Integrity Partnership (EIP) was formed in

   July 2020 as a coalition of research entities focused on supporting real-time information exchange

   between the research community, election officials, government agencies, civil society

   organizations, and social media platforms.” The                Election Integrity Partnership, Election

   Integrity       Partnership       (last   visited      Feb.    22,      2023)      (emphasis     added),

   https://www.eipartnership.net/2020. The EIP’s “objective was to detect and mitigate the impact

   of attempts to prevent or deter people from voting or to delegitimize election results.” Id.

   (emphasis added). As discussed further herein, “mitigate[ing] the impact” means pushing social-

   media platforms to censor supposed “misinformation.”

             1137. “In March 2021 [the EIP] published [its] final report. This page displays an archive

   of the work carried out by the EIP and its partners during the 2020 U.S. election.” Id. The EIP

   report is publicly available, it provides a detailed account of the EIP’s activities in the 2020

   election, and it is Exhibit 1 to the deposition of Brian Scully. Scully Ex. 1 (containing Stanford

   Internet Observatory et al., Election Integrity P’Ship, The Long Fuse Misinformation and the

   Election                (v1.3.0               2021),                 https://www.eipartnership.net/report

   [https://purl.stanford.edu/tr171zs0069]).

             1138. The EIP was created “in consultation with CISA [the Cybersecurity and

   Infrastructure Security Agency at the Department of Homeland Security] and other stakeholders.”

   Id. at 20 (2).1 After “consultation with CISA,” the EIP “assembled” a “coalition … with like-

   minded partner institutions.” Id.

             1139. CISA interns originated the EIP: “The initial idea for the Partnership came from

   four students that the Stanford Internet Observatory (SIO) funded to complete volunteer


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       Citations of this exhibit are formatted “Scully Ex. 1, at [page of exhibit] ([page of report]).”


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   internships at the Cybersecurity and Infrastructure Security Agency (CISA) at the Department of

   Homeland Security.” Id.

          1140. The EIP agrees with Scully that the EIP was formed to fill in a perceived “gap” in

   the ability of the government to “monitor and correct” misinformation: “Responsibility for election

   information security is divided across government offices: CISA has authority to coordinate on

   cybersecurity issues related to the election, the FBI to investigate cyber incidents and enforce

   election laws, and intelligence agencies to monitor for foreign interference. Yet, no government

   agency in the United States has the explicit mandate to monitor and correct election mis- and

   disinformation.” Id.

          1141. The EIP acknowledges that the federal government directly targeting

   misinformation posted Americans would “likely” violate the First Amendment and exceed

   agencies’ lawful authority: “This is especially true for election disinformation that originates from

   within the United States, which would likely be excluded from law enforcement action under the

   First Amendment and not appropriate for study by intelligence agencies restricted from operating

   inside the United States.” Id. As noted below, the EIP’s founders publicly admit that virtually all

   the misinformation targeted by the EIP was domestic in origin, not foreign, and thus subject to the

   First Amendment.

          1142. The EIP specifically notes CISA and the FBI in discussing the need to fill this “gap”

   in their ability to police “election misinformation originating from domestic sources”: “none of

   these federal agencies has a focus on, or authority regarding, election misinformation originating

   from domestic sources within the United States. This limited federal role reveals a critical gap for

   non-governmental entities to fill. Increasingly pervasive mis- and disinformation, both foreign and




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   domestic, creates an urgent need for collaboration across government, civil society, media, and

   social media platforms.” Id. at 9 (v).

          1143. “As a result” of the First Amendment and lack of legal authority, according to the

   EIP, “during the 2020 election, local and state election officials, who had a strong partner on

   election-system and overall cybersecurity efforts in CISA, were without a clearinghouse for

   assessing mis- and disinformation targeting their voting operations.” Id. at 20 (2). The EIP was

   deliberately formed to fill this “gap.”

          1144. The EIP “was formed between four of the nation’s leading institutions focused on

   understanding misinformation and disinformation in the social media landscape: the Stanford

   Internet Observatory, the University of Washington’s Center for an Informed Public, Graphika,

   and the Atlantic Council’s Digital Forensic Research Lab.” Id.

          1145. The EIP makes clear that its “aim” was not just to observe but to “defend[]” the

   public from misinformation: “With the narrow aim of defending the 2020 election against voting-

   related mis- and disinformation, it bridged the gap between government and civil society, helped

   to strengthen platform standards for combating election-related misinformation, and shared its

   findings with its stakeholders, media, and the American public.” Id. at 9 (v).

          1146. The EIP’s statement that it “helped to strengthen platform standards for combating

   election-related misinformation” refers to the fact that the EIP successfully pushed virtually all

   major social-media platforms to adopt or increase censorship policies targeted at election-related

   “misinformation” during the 2020 election cycle. See id.

          1147. The EIP notes that its efforts to push social-media platforms to adopt more

   restrictive censorship policies were highly effective, both in procuring changes in policies and

   censoring speech: “Many platforms expanded their election-related policies during the 2020




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   election cycle. … Platforms took action against policy violations by suspending users or removing

   content, downranking or preventing content sharing, and applying informational labels.” Id. at 12

   (viii).

             1148. Alex Stamos, the director of the Stanford Internet Observatory who founded the

   EIP, has publicly stated that the EIP successfully pushed social-media platforms to adopt more

   restrictive policies about election-related speech in 2020: “My suggestion, if people want to get

   the platforms to do stuff is, first, you've got to push for written policies that are specific and that

   give you predictability; right? And so this is something we started in the summer, in August, is as

   Kate [Starbird] talked about Carly Miller led a team from all four institutions to look at the detailed

   policies of the big platforms and to measure them against situations that we expected to happen.

   Now we're not going to take credit for all of the changes they made, but there -- we had to update

   this thing, like, eight or nine times; right? And so like putting these people in a grid to say, you're

   not handling this, you're not handling this, you're not handling this, creates a lot of pressure inside

   of the companies and forces them to kind of grapple with these issues, because you want specific

   policies that you can hold them accountable for.” Scully Ex. 4, at 7 (Audio Tr. 4).

             1149. Alex Stamos notes that the EIP then pressured the platforms to aggressively enforce

   the new policies that the EIP had pushed them to adopt: “The second is, when you report stuff to

   them, report how it's violating those written policies; right? So there's two steps here. Get good

   policies, and then say, this is how it's violated it.” Id.

             1150. Other EIP participants have also publicly stated that the EIP induced social-media

   platforms to adopt much more aggressive censorship policies on election-related speech. On

   March 3, 2021, at an EIP-hosted conference on the release of the EIP report, Emerson Brooking

   of the Atlantic Council’s DRFLab, an EIP participant, stated: “I think the EIP really helped push




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   the envelope with things like just the notion that … this delegitimization of electoral processes that

   we were seeing in the summer and early fall that this should be against content moderation policies

   on these platforms, and begin to take proactive steps there….” Scully Ex. 5, at 6 (Audio Tr. 2).

   He also stated, “after November 3rd, we saw that market shift where content moderation actions

   that … we could hardly contemplate a few weeks before began to be taken. There was a much

   stronger emphasis on cracking down on the sort of content we've been tracking from the

   beginning.” Id.

          1151. The EIP treats “Government” and Social-Media “Platforms” as two of its “Four

   Major Stakeholders,” providing input to the EIP and receiving feedback from the EIP. Scully

   Ex. 1, at 26 (8) & fig.1.2 (graphic showing “Government” as the EIP’s first “Major Stakeholder,”

   submitting information to EIP’s “Intake Queue” and receiving feedback on the EIP’s

   “Mitigation”—i.e., censorship—efforts).

          1152. The EIP organizes its misinformation reports under groups called “tickets,” and it

   notes that “[t]ickets were submitted by … trusted external stakeholders…” Id. at 26 (8). “Trusted

   external stakeholders” include “government”: “External stakeholders included government, civil

   society, social media companies, and news media entities.” Id. at 30 (12). Thus, it is clear that

   “government” submitted “tickets,” i.e., reports of misinformation to be processed for censorship

   on social media, to the EIP. See id. at 26, 30 (8, 12).

          1153. And it is clear that the “government” partners who submit tips to the EIP are CISA,

   the State Department’s Global Engagement Center (GEC), and the Elections Infrastructure

   Information Sharing & Analysis Center (EI-ISAC), an organization of state and local government

   officials coordinated by the Center for Internet Security (CIS) pursuant to funding from CISA, see

   EI-SAC,      Center     for     Internet     Security     (last    visited    Fed.      22,    2023)




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   (“The EI-ISAC is federally funded by CISA.”), https://www.cisecurity.org/ei-isac. Specifically,

   the “Government” “stakeholders” listed under the EIP’s “Four Major Stakeholder Groups” are

   CISA, GEC, and the EI-ISAC. Scully Ex. 1, at 30 (12).

           1154. These “Government” stakeholders report misinformation to the EIP: “Government

   and civil society partners could create tickets or send notes to EIP analysts, and they used these

   procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.

           1155. The CISA-funded EI-ISAC and CISA itself worked in collaboration with the EIP

   to report misinformation to social-media platforms: “[T]he EI-ISAC served as a singular conduit

   for election officials to report false or misleading information to platforms. By serving as a one-

   stop reporting interface, the EI-ISAC allowed election officials to focus on detecting and

   countering election misinformation while CIS and its partners reported content to the proper social

   media platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a

   subcomponent of CISA, aided in the reporting process and in implementing resilience efforts to

   counter election misinformation.” Id. at 31 (13).

           1156. The EIP report mentions The Gateway Pundit, the website operated by Plaintiff Jim

   Hoft, 47 times. See id. at 51, 74, 76, 101, 103, 110, 112, 145, 150-51, 153, 155-56, 172, 175, 183,

   194-95, 206-09, 211-12, 214-16, 226-27. 2

           1157. The EIP boasts that it “used an innovative internal research structure that leveraged

   the capabilities of the partner organizations through a tiered analysis model based on ‘tickets’

   collected internally and from our external stakeholders. Of the tickets we processed, 72% were

   related to delegitimization of the election,” i.e., core political speech. Id. at 10 (vi).



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    Report pages 33, 56, 58, 83, 85, 92, 94, 127, 132-33, 135, 137-38, 154, 157, 165, 176-77, 188-
   91, 193-94, 196-98, 208-09.


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             1158. The EIP admits that the speech it targets for censorship is domestic, grassroots

   speech by American citizens: “The production and spread of misinformation was multidirectional

   and participatory. Individuals participated in the creation and spread of narratives. Bottom-up false

   and misleading narratives started with individuals identifying real-world or one-off incidents and

   posting them to social media. Influencers and hyperpartisan media leveraged this grassroots

   content, assembling it into overarching narratives about fraud, and disseminating it across

   platforms to their large audiences. Mass media often picked up these stories after they had reached

   a critical mass of engagement. Top-down mis- and disinformation moved in the opposite direction,

   with claims first made by prominent political operatives and influencers, often on mass media,

   which were then discussed and shared by people across social media properties.” Id. at 11 (vii).

   In other words, virtually everything it targets is quintessential First Amendment-protected political

   speech.

             1159. This included censorship of highly visible political figures: “The primary repeat

   spreaders of false and misleading narratives were verified, blue-check accounts belonging to

   partisan media outlets, social media influencers, and political figures, including President Trump

   and his family.” Id. at 12 (viii).

             1160. One key point that the EIP emphasizes is that it wants greater “access” to platforms’

   internal data to achieve greater monitoring of Americans’ speech on social media. The EIP

   complains that “ a         tra s are      a d a ess t      lat r   A    s i dered e ter al resear

   i t t e e e ti e ess        lat r      li ies a d i ter e ti   s.” Id. (emphasis added). “API” stands

   for “Application Programming Interface,” so the EIP wants greater direct access to platforms’

   internal data about so-called “misinformation” on their platforms. See id. This directly echoes the

   repeated demands from the White House and the Surgeon General that social-media platforms




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   provide access to their internal data about misinformation on their platforms, both to government

   and “researchers.” The relevant “researchers” include Stanford Internet Observatory and the other

   constituents of the EIP and the Virality Project, who are working hand-in-glove with federal

   officials.

           1161.   The EIP contends that not enough censorship was achieved during 2020 as a result

   of their lack of direct access to platforms’ APIs: “Many platforms expanded their election-related

   policies during the 2020 election cycle. However, application of moderation policies was

   inconsistent or unclear.” Id.

           1162. The EIP recommends that platforms increase enforcement of censorship policies:

   “Impose clear consequences for accounts that repeatedly violate platform policies. These accounts

   could be placed on explicit probationary status, facing a mixture of monitoring and sanctions.” Id.

   at 14 (x).

           1163. The EIP report acknowledges the contributions of Alex Stamos, Renee DiResta,

   Kate Starbird, Matt Masterson, Pierce Lowary, and Alex Zaheer. Id. at 16 (xii). All of these

   individuals have or had formal roles in CISA.

           1164. The EIP is partially funded by the federal government: “Researchers who

   contributed to the EIP … receive partial support from the U.S. National Science Foundation (grants

   1749815 and 1616720).” Id. at 17 (xiii).

           1165. In addition, the Atlantic Council, one of the four nonprofit organizations in the EIP,

   is partially government-funded. Kimmage Dep. 294:8-18.

           1166. “The initial idea for the Partnership came from four students that the Stanford

   Internet Observatory (SIO) funded to complete volunteer internships at the Cybersecurity and




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   Infrastructure Security Agency (CISA) at the Department of Homeland Security.” Scully Ex. 1,

   at 20 (2).

           1167.   “The students approached SIO leadership in the early summer, and, in consultation

   with CISA and other stakeholders, a coalition was assembled with like-minded partner

   institutions.” Id.

           1168. “The Election Integrity Partnership (EIP) was officially formed on July 26, 2020—

   100 days before the November election—as a coalition of research entities who would focus on

   supporting real-time information exchange between the research community, election officials,

   government agencies, civil society organizations, and social media platforms.” Id.

           1169. As a key point in its “Operational Timeline,” the EIP lists a July 9, 2020, “Meeting

   with CISA to present EIP concept.” Id. at 21 (3). In other words, the Stanford Internet Observatory

   “present[ed]” the “EIP concept” to CISA two weeks before the EIP was formed. Id.

           1170. The SIO’s EIP team was “led by … Research Manager Renee DiResta … and

   Director Alex Stamos.” Id. at 22 (4). The University of Washington’s “contributing team” was

   “led by … Kate Starbird.” Id.

           11 1. Alex Stamos and Kate Starbird are members of CISA’s Cybersecurity Advisory

   Committee. See CISA Cybersecurity Advisory Committee, Cybersecurity & Infrastructure Security

   Agency (last         visited Feb. 24, 2023), https://www.cisa.gov/resources-tools/groups/cisa-

   cybersecurity-advisory-committee. Starbird chairs CISA’s Subcommittee on “Protecting Critical

   Infrastructure from Misinformation and Disinformation.” See CISA Cybersecurity Advisory

   Committee,              Subcommittee         Factsheet 1         (April         13,         2022),

   https://www.cisa.gov/sites/default/files/publications/CSAC%20Subcommittee%20Factsheet_Apr

   il%2013%202022.pdf. Renee DiResta gives lectures on behalf of CISA. See CISA, Cybersecurity




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   Summit         1 Responding to Mis, Dis, and Malinformation, YouTube (Oct. 27, 2021),

   https://www.youtube.com/watch?v=yNe4MJ351wU.

             1172. One of the EIP’s goals was to “flag policy violations to platforms.” Scully Ex. 1,

   at 24 (6).

             1173. As noted above, the EIP describes “Government” as one of “four major

   stakeholders,” who both provided input into the “intake queue” for “tickets” (i.e., reporting

   misinformation) and received feedback on “mitigation” (i.e., censorship). Id. at 26 (8).

             1174. The EIP tracked misinformation using “tickets,” which tracked “informational

   event[s]” that could encompass many social-media postings: “The EIP tracked its analysis topics

   and engaged with outside stakeholder organizations using an internal ticketing workflow

   management system. Each identified informational event was filed as a unique ticket in the

   system.” Id.

             1175. “Tickets were submitted by both trusted external stakeholders (detailed in Section

   1.4 on page 11) and internal EIP analysts.” Id. “Section 1.4” on pages 11-12 of the report identifies

   government as a trusted external stakeholder: “Trusted external stakeholders” include

   “government, civil society, social media companies, and news media entities.” Id. at 29-30 (11-

   12). Page 12 specifically identifies CISA, the EI-ISAC, and the State Department’s GEC as the

   EIP’s “Government” stakeholders. Id. at 30 (12) fig.1.3.

             1176. A “ticket” could encompass many individual postings: “A single ticket could map

   to one piece of content, an idea or narrative, or hundreds of URLs pulled in a data dump.” Id. at

   27 (9).

             1177. The EIP’s managers both report misinformation to platforms and communicate

   with government partners about their misinformation reports: “The manager had the ability to tag




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   platform partners on a ticket for action. They also communicated with the EIP’s partners in

   government, and could request further information from election officials if necessary,” thus

   serving as a conduit for a back-and-forth about misinformation reports between government

   officials and platforms. Id. at 27-28 (9-10).

          1178. The scope of the EIP’s monitoring of Americans’ speech on social media is

   enormous: “Team members from each of these tiers were divided into on-call shifts. Each shift

   was four hours long and led by one on-call manager. It was staffed by a mix of Tier 1 and Tier 2

   analysts in a 3:1 ratio, ranging from five to 20 people. Analysts were expected to complete between

   two to five shifts per week. The scheduled shifts ran from 8:00 am to 8:00 pm PT for most of the

   nine weeks of the partnership, ramping up only in the last week before the election from 12-hour

   to 16- to 20-hour days with all 120 analysts on deck.” Id. at 28 (10).

          1179. The “Government” stakeholders flag misinformation to the EIP for censorship:

   “Government and civil society partners could create tickets or send notes to EIP analysts, and they

   used these procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.

   at 30 (12).

          1180. Of the “Four Major Stakeholder Groups” who participated in the EIP, the first listed

   is “Government,” which includes three government entities: the Elections Infrastructure ISAC,

   CISA, and the State Department’s GEC. Id.

          1181. The EIP reports that CISA, CIS, and the EI-ISAC collaborated with the EIP in

   reporting misinformation: “In this election cycle, the EI-ISAC served as a singular conduit for

   election officials to report false or misleading information to platforms. By serving as a one-stop

   reporting interface, the EI-ISAC allowed election officials to focus on detecting and countering

   election misinformation while CIS and its partners reported content to the proper social media




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   platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a subcomponent

   of CISA, aided in the reporting process and in implementing resilience efforts to counter election

   misinformation.” Id. at 31 (13).

           1182. The EI-ISAC jointly reports misinformation flagged by state and local election

   officials to CISA and to the EIP: “Content reported by election officials to the EI-ISAC was also

   routed to the EIP ticketing system. This allowed analysts to find similar content, ascribe individual

   content pieces to broader narratives, and determine virality and cross-platform spread if applicable.

   This analysis was then passed back to election officials via the EI-ISAC for their situational

   awareness, as well as to inform potential counter-narratives. Additionally, if an internally

   generated EIP ticket targeted a particular region, analysts sent a short write-up to the EI-ISAC to

   share with the relevant election official. This allowed the state or local official to verify or refute

   the claim, and enabled analysts to properly assess whether or not the content violated a platform’s

   civic integrity policies. In this way, the EIP demonstrated the upside of using the EI-ISAC

   coordinating body to connect platforms with authoritative voices to determine truth on the ground

   and help election officials effectively counter viral falsehoods about election infrastructure.” Id.

           1183. The EIP created established channels for reporting misinformation to platforms for

   censorship: “The EIP established relationships with social media platforms to facilitate flagging

   of incidents for evaluation when content or behavior appeared to violate platform policies.” Id. at

   35 (17).

           1184. The EIP receives real-time reports on censorship actions from the platforms, who

   communicate directly with EIP managers about censorship through the EIP’s system: “Analysts

   conducted their initial assessment on all tickets, and, if content in a ticket appeared to be a violation

   of a platform’s published content policies, an analyst or manager added the platform representative




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   to the ticket. If questions arose, a manager communicated with the platform representative in the

   ticket comments. Analysts put the ticket back in the queue and updated the ticket to note if the

   content in question received a moderation action.” Id.

           1185. Virtually all major social-media platforms participate directly in the EIP: “The EIP

   onboarded the following social media companies: Facebook and Instagram, Google and YouTube,

   Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.” Id.

           1186. In the 2020 election cycle, the EIP “processed 639 in-scope tickets. 72% of these

   tickets were related to delegitimizing the election results.” Id. at 45 (27).

           1187. The EIP had a high level of success in pushing the platforms to censor speech:

   “35% of the URLs we shared with Facebook, Instagram, Twitter, TikTok, and YouTube were

   either labeled, removed, or soft blocked.” Id. “In total, we believe the four major platforms we

   worked with all had high response rates to our tickets.” Id. at 55 (37). “We find, overall, that

   platforms took action on 35% of URLs that we reported to them.” Id. at 58 (40).

           1188. The Center for Internet Security, which runs the EI-ISAC using funding from

   CISA, is a major reporter of misinformation to the EIP: “16% of tickets were filed by the Center

   for Internet Security (CIS), an election official community partner, in the form of tips.” Id. at 46

   (28); see also Center for Internet Security, EI-ISAC (last visited Feb. 24, 2023),

   https://www.cisecurity.org/ei-isac.

           1189. The EIP “prioritize[es] … swing states over non-swing states.” Scully Ex. 1, at 46

   (28).

           1190. The EIP’s “dataset included 639 distinct, in-scope tickets.” Id. A “ticket” could be

   extremely broad, “map[ping] to” and entire “idea or narrative.” Id. at 27 (9). For example, the

   “SHARPIEGATE” ticket was submitted on November 4, 2020, to “try and consolidate all the




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   content” regarding the Sharpiegate story from “a variety of different states across Twitter, FB,

   TikTok, and Youtube.” Id. at 47 (29) fig.2.1.

           1191. The EIP includes extensive collaboration with a “government partner” in its

   Sharpiegate ticket. Id. at 48 (30). Its internal ticket-management software (“Jira”) simultaneously

   allowed the “government partner” to communicate directly with the “platform partner” to debunk

   the online claim. Id. at 48 (30) fig.2.2.

           1192. The EIP reports that it repeatedly flagged The Gateway Pundit, Plaintiff Jim Hoft’s

   website, as a purveyor of social-media misinformation: “The top misinformation-spreading

   websites in our dataset were … thegatewaypundit[.]com, a far-right news website. 65% of these

   tickets involved an exaggeration of the impact of an issue within the election process.” Id. at 51

   (33) (alteration in original).

           1193. The EIP does not claim that most of The Gateway Pundit’s content was false, only

   that it involved the “exaggeration of the impact of an issue within the election process.” Id.

           1194. As noted above, the EIP Report cites The Gateway Pundit 47 times. See supra

   paragraph 1156 and accompanying citation.

           1195. The EIP “coded tickets based on whether they … had an element of foreign

   interference. Interestingly … less than 1% related to foreign interference.” Scully Ex. 1, at 53

   (35). Thus, virtually all the speech targeted for censorship comes from American speakers.

           1196. The EIP targeted speech for censorship or debunking in most tickets: “Of our 639

   tickets, 363 tickets tagged an external partner organization to either report the content, provide

   situational awareness, or suggest a possible need for fact-checking or a counter-narrative.” Id. at

   55 (37).




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           1197. “[G]roups that reported tickets include the State Department’s Global Engagement

   Center…” Id. at 60 (42). Daniel Kimmage testified that George Beebe of the GEC was in contact

   with the EIP.        Kimmage Dep. 202:10-24.    Kimmage attests that the GEC had “a general

   engagement with the EIP. … the GEC was engaging with the partnership.” Id. at 214:11-19. In

   addition to Mr. Beebe, Adele Ruppe, who “liaised on election-related issues,” may have engaged

   with the EIP. Id. 214:23-215:5.

           1198. In addition, left-wing advocacy groups like “MITRE, Common Cause, the DNC,

   the Defending Digital Democracy Project, and the NAACP” submitted tickets to the EIP. Scully

   Ex. 1, at 60 (42).

           1199. The EIP indicates that the “misinformation” it targeted during the 2020 election

   cycle was core political speech of American citizens protected by the First Amendment: “Our

   analysis demonstrates that the production and spread of misinformation and disinformation about

   Election 2020 … was participatory. In other words, these dynamics were not simply top-down

   from elites to their audiences, but were bottom-up as well, with members of the ‘crowd’

   contributing in diverse ways—from posting raw content, to providing frames for that content, to

   amplifying aligned messages from both everyday members of the crowd and media (including

   social media) elites. Repeatedly, our data reveal politically motivated people sincerely introducing

   content they mistakenly believed demonstrated real issues with election integrity…” Id. at 181

   (163). “Well-meaning, though often politically motivated, individuals repeatedly introduced this

   content into the broader information sphere, often via social media…” Id. at 182 (164).

           1200. EIP analysts collected data from Twitter “contemporaneously,” and they also have

   access to “CrowdTangle and Facebook search functionality.” Id. at 199-200 (181-82).




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          1201. The EIP’s tickets encompassed almost 5,000 URLs: “Through our live ticketing

   process, analysts identified social media posts and other web-based content related to each ticket,

   capturing original URLs (as well as screenshots and URLs to archived content). In total, the EIP

   processed 639 unique tickets and recorded 4,784 unique original URLs.” Id. at 200 (182).

          1202. These tickets and URLs encompass millions of social media posts, including almost

   22 million posts on Twitter alone: “In total, our incident-related tweet data included 5,888,771

   tweets and retweets from ticket status IDs directly, 1,094,115 tweets and retweets collected first

   from ticket URLs, and 14,914,478 from keyword searches, for a total of 21,897,364 tweets.” Id.

   at 201 (183).

          1203. The EIP “collected data from Twitter in real time from August 15 through

   December 12, 2020,” and did so “[u]sing the Twitter Streaming API” to “track[] a variety of

   election-related terms …. The collection resulted in 859 million total tweets.” Id. at 200-01

   (182-83). Thus, the EIP had privileged access to Twitter’s internal data about speech on its own

   platform.

          1204. The EIP did not have privileged access to Facebook’s internal data, however: “To

   understand how the information ecosystem looks from the perspective of Facebook and Instagram,

   we collected public posts through the CrowdTangle API from Facebook Groups, Facebook Pages,

   Facebook verified profiles and public Instagram accounts.” Id. at 201 (183). This explains the

   White House’s and Surgeon General’s insistence in 2021 that Facebook grant “researchers” such

   as Renee Diresta access to Facebook’s internal data.

          1205. The EIP treats as “misinformation” truthful reports that the EIP believes “lack[]

   broader context.” Id. at 203 (185).




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          1206. The EIP admits that it focuses on speech from the “political right” because it

   believes that the right spreads misinformation: “Influential accounts on the political right … were

   responsible for the most widely spread of false or misleading information in our dataset. Right-

   leaning accounts also more frequently augmented their misinformation posts with narrative-related

   hashtags … which persisted across multiple incidents and were shared millions of times in our

   dataset.” Id. at 204-05 (186-87).

          B.      The EIP Targets Plaintiff Jim Hoft and T e ate a              dit.

          1207. According to the EIP, “[t]he 21 most prominent repeat spreaders on Twitter …

   include political figures and organizations, partisan media outlets, and social media all-stars. …

   [A]ll 21 of the repeat spreaders were associated with conservative or right-wing political views

   and support of President Trump.” Id. at 205 (187).

          1208. The EIP lists The Gateway Pundit as the second-ranked “Repeat Spreader[] of

   Election Misinformation” on Twitter, ranking it above Donald Trump, Eric Trump, Breitbart

   News, and Sean Hannity. Id. at 206 (188) tbl.5.2. In the 2020 election cycle, the EIP flagged The

   Gateway Pundit’s speech in 25 incidents with over 200,000 retweets. Id.

          1209. The EIP claims that “[f]ar-right hyperpartisan media outlets also participated in a

   wide range of [Twitter] incidents, including The Gateway Pundit, which ranked #2 in the dataset.”

   Id. at 206 (188).

          1210. In addition, the EIP lists The Gateway Pundit’s website as the domain cited in the

   most “incidents”—its website content was tweeted by others in 29,207 original tweets and 840,740

   retweets. Id. at 207 (189) tbl.5.3. The Gateway Pundit ranks above Fox News, the New York

   Post, the New York Times, and the Washington Post on this list. Id.




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          1211. In fact, the EIP dedicates an entire subsection of its report to The Gateway Pundit.

   Id. at 214-16 (196-98). The EIP reports that “The Gateway Pundit was among the most active

   spreaders of election-related misinformation in our analyses. … It appeared as a top repeat spreader

   through its website, its Twitter account, its YouTube channel, and its Instagram account.” Id. at

   214 (196).

          1212. The EIP report notes that “Twitter suspended [The Gateway Pundit’s] account on

   February 6, 2021,” indicating that The Gateway Pundit’s deplatforming on Twitter was the result

   of the EIP’s efforts. Id.

          1213. The EIP states that “The Gateway Pundit was highly active throughout the election

   lifecycle, including during the weeks leading up to the election, when it repeatedly spread

   content—in distinct information incidents—that sought to undermine trust in mail-in voting

   specifically and the eventual election results more generally.” Id.

          1214. According to the EIP, “[o]n Twitter, The Gateway Pundit’s account was highly

   retweeted across 26 different incidents (#2 among repeat spreaders). Evidence from our data

   suggest that its prominence was due both to production of its own material and to amplification

   (via original and quote tweets) of other partisan content.” Id. at 215 (197).

          1215. According to the EIP, “[o]f all the domains linked to in our Twitter data, The

   Gateway Pundit’s website was connected to the largest number of incidents (46) while also

   garnering the most related original tweets (29,207) and retweets (840,750). Their YouTube

   channel appeared in five incidents, and their 13 incident-related videos had more than 4 million

   views on YouTube.” Id. at 215-16 (197-98).




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          1216. According to the EIP, “[t]he Gateway Pundit[’s] … Instagram account was tied for

   #2 among repeat spreaders, appearing in 10 incidents for 20 posts that received more than 132,000

   engagements.” Id. at 216 (198).

          C.      The EIP Induces Major Changes in Platform Censorship Policies.

          1217. The EIP notes that “during the 2020 election, all of the major platforms made

   significant changes to election integrity policies, both as the campaigns kicked off and through the

   weeks after Election Day—policies that attempted to slow the spread of specific narratives and

   tactics that could potentially mislead or deceive the public….” Id. at 229 (211).

          1218. The EIP notes that “[m]ajor social media platforms such as Facebook, Twitter,

   YouTube, Pinterest, and TikTok introduced changes to their community standards in the months

   leading up to the election and in the aftermath.” Id. at 230 (212).

          1219. In particular, starting just over a month after the EIP launched, in “September

   2020,” “[a] number of platforms announced the first updates to election-specific policies: making

   large additions; adding more clarity and specificity; or stating clearly that they will label or remove

   content that delegitimizes the integrity of the election.” Id.

          1220. The policy changes reflected that the EIP and the platforms anticipated that they

   would have to target speech by domestic speakers, not supposed “foreign disinformation,” during

   the 2020 election: “[M]uch of the misinformation in the 2020 election was pushed by authentic,

   domestic actors, and platforms shifted their focus to address downstream harms related to the

   content itself. As a result, most subsequent updates introduced policies related to specific content

   categories.” Id. at 231 (213).

          1221. The EIP lobbies platforms to “remove” so-called “repeat spreaders” like The

   Gateway Pundit, and complains that they are not removed often enough: “Despite what appeared




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   to be clear policy to penalize or remove repeat spreaders and high-profile disinformation actors,

   platforms appeared to shy away from using this particular intervention. In some cases, this was a

   result of a variety of ‘newsworthiness’ exceptions, which allowed some high-profile repeat

   spreaders, including politicians, to evade bans. Yet many of the repeat spreaders we saw were not

   politicians”—including The Gateway Pundit, among many others. Id. at 233 (215).

          1222. The EIP indicates that it will continue its censorship activities in future elections:

   “The next election will have its own unique set of misinformation narratives, yet many of the

   tactics, dynamics, and basic structures of these narratives will likely remain the same.” Id. at 243-

   44 (225-26).

          1223. The EIP reinforces this intention by calling for even more aggressive, more

   expansive censorship of social-media speech, including into other areas such as “public health”:

   “Doing nothing is not an option. … Not pursuing structural policy change will accelerate our

   country’s slide toward extremism, erode our shared national and inclusive identity, and propel yet

   more individuals toward radicalization via mis- and disinformation. The problem is larger than

   elections: it spans politics, self-governance, and critical policy areas, including public health.” Id.

   at 251 (233). The EIP acted on this statement promptly by forming the “Virality Project” in 2021.

   See infra.

          1224. The EIP proclaims that the “EIP’s novel structure, enabling rapid-response analysis

   and a multistakeholder reporting infrastructure, could prove effective to many information spaces

   blighted by pervasive misinformation,” in addition to election-related speech. Id. at 259 (241).

          1225. The EIP calls for more aggressive penalties to enforce censorship on social media,

   in language that was copied and parroted by the demands of Jen Psaki and the Surgeon General:

   “Establish clear consequences for accounts that repeatedly violate platform policies.” Id. at 256




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   (238). “Prioritize quicker action on verified or influential accounts if they have already violated

   platform policies in the past.” Id. at 257 (239).

          1226. The EIP even advocates for an express system of pre-publication approval for

   disfavored speakers—the ultimate prior restraint: “Consider implementing holding areas for

   content from high-visibility repeat spreaders, where content can be evaluated against policy before

   posting.” Id.

          1227. The EIP proclaims that it offers “a whole-of-society response,” in words parroted

   by the Surgeon General’s Health Advisory. Id. at 259 (241).

          1228. The EIP boasts that “[t]he EIP, in its structure and its operations … united

   government, academia, civil society, and industry, analyzing across platforms, to address

   misinformation in real time.” Id. (emphasis added).

          1229. The EIP states that “[t]he lessons from EIP should be both learned and applied. The

   fight against misinformation is only beginning. The collective effort must continue.” Id. at 259-60

   (241-42).

          1230. The EIP specifically advocates for a broader role for CISA in federal efforts to

   combat election-related “misinformation.” Id. at 252-53 (234-35).

          1231. Alex Stamos, the director of the Stanford Internet Observatory who launched the

   EIP, publicly states that virtually all the speech targeted by the EIP is by domestic speakers

   engaging in core political speech. He has publicly stated: “almost all of this is domestic: right? …

   It is all domestic, and the second point on the domestic, a huge part of the problem is well-known

   influencers …. you have … a relatively small number of people with very large followings who

   have the ability to go and find a narrative somewhere, pick it out of obscurity and … harden it into

   these narratives.” Scully Ex. 4, at 5 (Audio Tr. 2).




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             1232. Likewise, on October 3, 2020, at a CISA-hosted cybersecurity conference, Clint

   Watts of the EIP stated that election misinformation “is overwhelmingly more domestic than

   foreign this time around in 2020.” Scully Ex. 3, at 4 (Audio Tr. 2).

             1233. At the same conference, Alex Stamos stated: “The bigger issue in 2020, is going to

   be domestic … we have set up this thing called the [E]lection [I]ntegrity [P]artnership, so we went

   and hired a bunch of students. We're working with the University of Washington, Graphika, and

   DFRLab, and the vast, vast majority of the contact we see we believe is domestic. You know, some

   of it you can't tell, but a lot of it is coming from domestic blue checkmark verified elites; right?

   And so I think a much bigger issue for the platforms is elite disinformation. The stuff that is being

   driven by people who are verified that are Americans who are using their real identities.” Id. at 5

   (Audio Tr. 3). He also stated, “the truth is, that the vast majority of these problems or the kind of

   problems in the information environment are domestic problems.” Id. at 6 (Audio Tr. 4).

             1234. Alex Stamos has noted that the fear of government regulation pushes the platforms

   to respond to government pressure and increase censorship. On November 10, 2020, at a

   conference hosted by the Atlantic Council, Alex Stamos stated: “So, you know, on effectively

   pushing the platforms to do stuff … they will always be more responsive in the places that are both

   economically highly important and that have huge potential regulatory impact, most notably right

   now that would be the United States and Europe.” Scully Ex. 4, at 6 (Audio Tr. 3) (emphasis

   added).

             1235. On November 17, 2021, at a conference hosted by the Digital Publics Symposium,

   Kate Starbird of CISA’s Subcommittee and the University of Washington’s Center for an Informed

   Public, an EIP participant, stated: “Now fast forward to 2020, we saw a very different story around

   disinformation in the U.S. election. It was largely domestic coming from inside the United States.




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   … Most of the accounts perpetrating this … they're authentic accounts. They were often blue

   check and verified accounts. They were pundits on cable television shows that were who they said

   they were … a lot of the major spreaders were blue check accounts, and it wasn't entirely

   coordinated, but instead, it was largely sort of cultivated and even organic in places with everyday

   people creating and spreading disinformation about the election.” Scully Ex. 8, at 4 (Audio Tr. 2).

   She also stated: “So we see this – the disinformation campaign was top down … but this campaign

   was also bottom up with everyday people sharing their own experiences, their own misperceptions

   of being disenfranchised or finding what they thought to be evidence of voter fraud.” Id. at 5

   (Audio Tr. 3). These are the voices that the EIP silenced.

             D.      The Virality Project Expands EIP’s Censorship Work with Federal Officials.

             1236. Soon after the 2020 election cycle, beginning in early 2021, the same four entities

   that launched the Election Integrity Partnership established a similar program to address COVID-

   19-vaccine-related “misinformation” on social media, which they called the “Virality Project.”

   See Scully Ex. 2 (containing Stanford Internet Observatory, et al., The Virality Project, Memes,

   Magnets, and Microchips Narrative Dynamics Around COVID-19 Vaccines (v.1.0.1 2022),

   https://purl.stanford.edu/mx395xj8490).

             1237. The Virality Project’s final report, dated April 26, 2022, lists Renee DiResta as the

   principal Executive Editor, and lists Renee DiResta, Kate Starbird, and Matt Masterson as

   contributors. Scully Ex. 2, at 4 (i).3 Current and former CISA interns Jack Cable, Isabella Garcia-

   Camargo, Pierce Lowary, and Alex Zaheer are listed as “researchers and analysts” who

   participated in social-media “monitoring” for the project. Id.




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          1238. The same four entities that operated the EIP launched the Virality Project (“VP”)

   in 2021: Stanford Internet Observatory, University of Washington’s Center for an Informed Public,

   Graphika, and the Atlantic Council’s Digital Forensics Research lab. Id. at 8-9 (1-2). Three new

   nonprofit entities were added as well. Id.

          1239. According to its report, “[t]he VP team developed technology to identify emerging

   narratives, to understand what communities they appeared within, and to gauge their scope, speed,

   and spread. In addition, the analysts assessed social media platforms’ published policies to

   understand how (if at all) platforms might limit or action the spread of misleading vaccine-related

   content.” Id. at 9 (2). As discussed below, like the EIP, the VP took action to push “platforms [to]

   limit or action the spread of misleading vaccine-related content.” Id.

          1240. According to the VP, “[v]accine mis- and disinformation was largely driven by a

   cast of recurring actors,” including “long-standing anti-vaccine influencers and activists, wellness

   and lifestyle influencers, pseudomedical influencers, conspiracy theory influencers, right-leaning

   political influencers, and medical freedom influencers.” Id.

          1241. Like the EIP, the VP admits that the speech it targets is heavily speech by “domestic

   actors,” i.e., American citizens: “Foreign … actors’ reach appeared to be far less than that of

   domestic actors.” Id.

          1242. Like the EIP, the VP indicates that it pushes platforms to adopt more aggressive

   censorship policies on COVID vaccine-related content: “While online platforms have made

   progress in creating and enforcing vaccine related policies, gaps still exist.” Id. at 10 (3).

          1243. Like the EIP, the VP notes that it did not only observe and report on misinformation

   but took action to stop the spread of misinformation: “Detection, however, was only part of the




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   work. The Virality Project also sought to relate its findings to the public and to stakeholders in

   public health, government, and civil society.” Id.

           1244. The VP indicates that it should increase the efficiency of having “government

   partners” share “tips” of misinformation with entities like the VP, stating that “[r]esearch

   institutions” should “[s]treamline a tip line process to make it easy for civil society and government

   partners to share observations. Establish a feedback loop to discuss what types of analysis or tips

   are most relevant.” Id.

           1245. The VP strives to “[d]evelop and maintain clear channels of communication that

   enable federal, state, and local agencies to understand and learn from what might be happening in

   other regions. Federal Information Sharing and Analysis Centers (ISAC) are one path forward.”

   Id. at 11 (4).

           1246. The VP recommends that the federal government “[i]mplement a Misinformation

   and Disinformation Center of Excellence housed within the Cybersecurity and Infrastructure

   Security Agency.” Id.

           1247. The VP states that social-media “[p]latforms owe the public transparency and

   accountability as they face the challenges of deciding what to surface, what to curate, and how to

   minimize the virality of harmful false claims. Tech platform policies against public health

   misinformation should be clear and precise, and their enforcement should be consistently applied.”

   Id. (emphasis added). The Surgeon General copied this messaging verbatim in his Health

   Advisory, which he launched at the VP.

           1248. The VP calls for more aggressive censorship of COVID-19 “misinformation,”

   stating: “To these ends, platforms should: Consistently enforce policies, particularly against

   recurring actors,” and “Continue to improve data sharing relationships with researchers.” Id. The




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   emphasis on “data sharing relationships” is directly echoed in the White House’s and the Surgeon

   General’s demands that platforms share their internal data with researchers.

          1249. The VP boasts that the “Office of the Surgeon General incorporated VP’s research

   and perspectives into its own vaccine misinformation strategy,” and specifically cites the Surgeon

   General’s Health Advisory on this point. Id. at 11 (4) & 13 (6) n.5 (citing Off. U.S. Surgeon Gen.,

   Confronting Health Misinformation The U.S. Surgeon General’s Advisory on Building a Healthy

   Information Environment (July 15, 2021), https://hhs.gov.sites.default.files.surgeon.general-

   misinformation-advisory.pdf).

          1250. “Over the course of its seven months of work, the Virality Project observed

   narratives that questioned the safety, distribution, and effectiveness of the vaccines.” Id. at 11 (4).

          1251. Like the EIP, the VP states that “[t]he enormity of the challenge demands a whole-

   of-society response,” id. at 12 (5) (emphasis added), and calls for more federal agencies to be

   involved through “cross-agency collaboration,” id. The Surgeon General adopted and echoed the

   VP’s call for a “whole-of-society” response.

          1252. The VP admits that “it was not always clear what was misinformation; in the case

   of the novel coronavirus, it was often simply not yet clear what was true or where scientific

   consensus lay,” id. at 14 (7), and that “[g]round truth about COVID-19 was rapidly evolving, and

   even institutional experts were not always aligned on the facts,” id. at 15 (8).

          1253. According to the VP, “[v]iral posts that claimed to have the answers to the public’s

   most pressing questions appeared online; fact-checkers struggled to evaluate them, and platforms

   wrestled with whether to leave them up or take them down. Social media influencers of varying

   backgrounds debated the merits and efficacy of masking, providing detailed breakdowns of their

   analyses in public posts.” Id.




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          1254. The VP attributes opposition to mask mandates and lockdowns to right-wing

   political ideology: “In the months before vaccines or treatments emerged, governments worldwide

   turned to preventative measures such as masking requirements and lockdowns. In the US, these

   measures were quickly framed as affronts to liberty by facets of the US right-wing political

   spectrum, turning individual responses to the virus into a function of political identity.” Id.

          1255. The VP suggests that it flagged for censorship COVID-related posts with enormous

   engagement on social media, reporting for example that “[b]efore the major social media platforms

   began to take down [one] video—which was in violation of their COVID-19 misinformation

   policies—[it] amassed tens of millions of views and was shared into a wide variety of

   communities.” Id. at 16 (9).

          1256. The speech that the VP decries is all quintessential First Amendment–protected

   speech. See, e.g., id. (“Several prominent anti-vaccine activists began to post regularly about

   COVID-19; their followings began to increase, despite prior platform efforts to reduce the spread

   of false and misleading claims from anti-vaccine figures. As the possibility of a vaccine became

   more of a reality as 2020 progressed, anti-vaccine activists focused on preemptively undermining

   uptake. Several of the vaccines in development used relatively novel mRNA technology, which

   afforded an opportunity to present them as untested, unsafe, rushed, or risky, even to audiences

   who had taken all previously recommended vaccines.”).

          1257. “It was against this backdrop” of widespread First Amendment–protected speech

   on social media “that the Virality Project (VP) came together. A collection of research institutions

   had previously collaborated through the Election Integrity Partnership (EIP) to identify and

   understand the spread of election mis- and disinformation in the US during the 2020 presidential

   campaign. In December 2020, these partners jointly observed that the same tactics used to great




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   effect during the 2020 election were already in use to expand the spread of COVID-19 vaccine

   mis- and disinformation.” Id.. The VP used the same tactics as the EIP to engage in “rapid

   response” to misinformation: “The Project’s broad array of institutions enabled information

   sharing and rapid response when false and misleading information percolated across social

   platforms.” Id. (emphasis added).

           1258. The VP was overtly biased against “anti-vaccine” viewpoints from the beginning:

   “The Project’s original framing document articulated the threat: A surge of anti-vaccine

   disinformation will pose significant challenges to the rollout and public adoption of COVID-

   19 vaccines in the United States.” Id. (bold in original).

           1259. Just like the EIP, the VP boasts that it is a “multistakeholder collaboration” that

   includes “government entities” among its key stakeholders: “The Virality Project adopted a

   multistakeholder collaboration with civil society organizations, social media platforms, and

   government entities to respond to misand disinformation around the novel vaccines.” Id. at 17

   (10) (emphasis added).

           1260. “The research institutions that comprised the Election Integrity Partnership—the

   Stanford Internet Observatory, the University of Washington’s Center for an Informed Public, the

   Atlantic Council’s Digital Forensic Research Lab, and Graphika—along with new partners the

   National Conference on Citizenship (NCoC)’s Algorithmic Transparency Institute and New York

   University’s Center for Social Media and Politics and Tandon School of Engineering—all elected

   to participate in this new initiative: the Virality Project.” Id.

           1261. The VP report complains that “the internet has no editorial gatekeepers.” Id. at 18

   (11).




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          1262. The VP decries the influence of “social media influencers” such as “Doctors” and

   “Mommy Bloggers.” Id. at 19 (12).

          1263. According to the VP, “[t]hese influencers have adopted the best practices of

   communication in the internet age, and their effectiveness in drawing in online users is made

   evident by the mass followings they have acquired across social media sites: platforms as varied

   as Pinterest, Instagram, and YouTube…” Id.

          1264. The VP targets misinformation “tactics” that involve speech that the VP does not

   contend is false or even falsifiable. It states that speakers “use tactics that have persisted over

   time, many of which have been used in service of spreading mis- and disinformation in contexts

   beyond the vaccine conversation; for example, the Election Integrity Partnership observed several

   of these tactics during the lead-up to the 2020 US election.” Id.

          1265. These “tactics” include such things as “Hard-to-Verify Content: Using content

   that is difficult to fact-check or verify, such as personal anecdotes”; “Alleged Authoritative

   Sources: Using or pointing to information from an alleged public health official, doctor, or other

   authoritative source”; “Organized Outrage: Creating events or in-person gatherings, or using or

   co-opting hashtags”; and “Sensationalized/Misleading Headlines: Using exaggerated, attention-

   grabbing, or emotionally charged headlines or click-bait.” Id. (bold in original). Notably, none of

   these “tactics” involves false speech, and all are protected by the First Amendment.

          E.      The Virality Project Targets Plaintiff Jill Hines and Health-Freedom Groups.

          1266. According to the VP report’s taxonomy, Plaintiff Jill Hines, the founder of Health

   Freedom Louisiana, constitutes a “medical freedom influencer[]” who engages in the “tactic” of

   “Organized Outrage” simply because she “create[ed] events or in-person gatherings” to oppose




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   mask and vaccine mandates in Louisiana. See id. at 9, 19 (2, 12) (bold in original). But this “tactic”

   is First Amendment–protected activity.

             1267. Another “tactic” decried by the VP is “Group super-spreader: An individual

   account sharing posts into multiple online groups.” Id. at 20 (13) (bold in original). This is also

   quintessential First Amendment expression.

             1268. The VP report repeatedly emphasizes the problem of “health freedom” or “medical

   freedom influencers” like Plaintiff Jill Hines. It identifies “Liberty” as a “trope” of social-media

   disinformation: “Liberty: Individuals have the right to ‘health freedom’; no government or

   employer should be able to tell people what to put in their bodies.” Id. (italics in original) (bold

   added).

             1269. The VP also identifies political and religious opinions—including well-established

   and widespread views—as “themes” and “tropes” of anti-vaccine “misinformation,” such as:

   “Distrust of industry: Vaccines are produced by profit-motivated pharmaceutical companies that

   have repeatedly concealed harm in pursuit of profit”; “Religiosity: Vaccines contain materials that

   are objectionable on religious grounds”; and “Conspiracy: … Governments have covered up

   information proving vaccines are dangerous, [and] Doctors and politicians who advocate for

   vaccines have been bought off by ‘Big Pharma.’” Id.

             1270. Like the EIP, the VP agrees that government pressure pushes social-media

   platforms to adopt more aggressive censorship policies: “Platforms had started adapting their

   policies to address vaccine misinformation in early 2019, spurred by public outcry, negative press

   coverage, and government inquiries…” Id. at 21 (14) (emphasis added).




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          1271. The VP boasts that its “analysts had to develop a nuanced and nimble understanding

   of what content constituted policy violations”—evidently because it was flagging content to

   platforms for censorship in real time. Id. at 21-22 (14-15).

          1272. The VP extensively monitored and tracked Americans’ speech about COVID-19

   and vaccines on social media: “To surface in-scope content, VP’s team of analysts were divided

   into topical detection teams, referred to as pods…. These pods … enabled analysts to develop and

   ensure sustained familiarity with how the COVID-19 vaccine conversation was evolving within

   particular communities on public platforms.” Id. at 22 (15).

          1273. This monitoring involved VP analysts reading and searching Americans’ social-

   media accounts in real time: “Analysts in each pod assessed emerging narratives that were within

   scope … , surfacing content both via qualitative observation of the pages and accounts, and by

   using lists of common terms associated with vaccine hesitancy and long-standing anti-vaccine

   rhetoric.” Id.

          1274. The VP states that “Anti-vaccine activists and influencers, including those

   discussed in the Center for Countering Digital Hate’s ‘Disinformation Dozen’ Report … surfaced

   the greatest amount of content …” Id. at 23 (16).

          1275. This covert monitoring of Americans’ online speech about vaccine was extensive,

   sophisticated, and adaptive: “At the beginning of the project, analysts used broad search terms

   (“vaccine,” “jab”) to surface relevant content and incidents (specific events or stories), but

   gradually began to incorporate a combination of machine learning and hand coding to identify

   additional recurring narratives relevant to the four in-scope categories. This included terms related

   to medical freedom under “Vaccine Distribution,” or severe adverse effects and death under




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   “Vaccine Safety,” among others. As narratives and new keywords emerged throughout the analysis

   period, analysts continually refined their searches.” Id.

           1276. This mass-social-media-surveillance project included federal agencies as key

   “stakeholders”: “The Virality Project established a nonpartisan, multi-stakeholder model

   consisting of health sector leaders, federal health agencies, state and local public health officials,

   social media platforms, and civil society organizations. These stakeholders provided tips,

   feedback, and requests to assess specific incidents and narratives, and each entity type brought

   specific expertise to bear on understanding COVID-19 vaccine hesitancy.” Id. at 24 (17).

           1277. Thus, the VP’s “multi-stakeholder model” included government agencies and

   officials, including “federal health agencies” and “state and local public health officials,” working

   alongside “social media platforms” to combat vaccine-related “misinformation.” Id.

           1278. The government “stakeholders” such as “federal health agencies” and “state and

   local public health officials” were among those who “provided tips” and “requests to assess

   specific incidents and narratives,” i.e., flagging content for social-media censorship. Id.

           1279. The VP emphasizes the role of “Federal government agencies” in the VP, including

   the CDC and the Office of Surgeon General: “Federal government agencies served as

   coordinators for national efforts. The Virality Project built strong ties with several federal

   government agencies, most notably the Office of the Surgeon General (OSG) and the CDC, to

   facilitate bidirectional situational awareness around emerging narratives. The CDC’s biweekly

   “COVID-19 State of Vaccine Confidence Insights” reports provided visibility into widespread

   anti-vaccine and vaccine hesitancy narratives observed by other research efforts.” Id. (bold in

   original).




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          1280. Social media platforms served as stakeholders alongside federal and state officials:

   “Platforms were the final stakeholders in the VP effort. Six social media platforms engaged with

   VP tickets—Facebook (including Instagram), Twitter, Google (including YouTube), TikTok,

   Medium, and Pinterest—acknowledging content flagged for review and acting on it in accordance

   with their policies. On occasion, platforms also provided information on the reach of narratives

   previously flagged by VP, which provided a feedback loop leveraged to inform the Project’s

   understanding of policies and ongoing research.” Id. at 25 (18) (bold in original) (italics added).

          1281. Thus, the VP openly proclaims that it “flagged” “content … for review” to

   platforms to “act[] on it in accordance with their policies.” Id. Government officials provided

   “tips” to the VP about misinformation on social media, and the VP flagged it for platforms for

   censorship.

          1282. The VP emphasizes the importance of federal officials and social-media platforms

   in its collaboration on censorship: “As the effort progressed, input from these partners was crucial

   in defining the VP’s output formats and in surfacing where the impacts of vaccine mis- and

   disinformation were being felt offline.” Id.

          1283. The VP engaged in continuous, ongoing communication with federal officials,

   platforms, and other stakeholders: “The Virality Project delivered 31 weekly briefings focused on

   increasing situational awareness and enabling the stakeholders working on countering vaccine mis-

   and disinformation to develop the most effective possible response.” Id.

          1284. The VP boasts that it “provided strategic insights” to federal officials in combating

   misinformation: “Briefings directly informed counter-messaging efforts by public health

   stakeholders … and public health officials (for example, the CDPH), and provided strategic




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   insights to government entities such as the OSG, CDC, and the Department of Health and Human

   Services.” Id. (emphasis added).

          1285. Further, the “Stanford Internet Observatory and the Virality Project also hosted

   Surgeon General Vivek Murthy for a seminar on vaccine mis- and disinformation, including the

   rollout of the Surgeon General’s advisory on health misinformation.” Id. at 27 (20).

          1286. Like the EIP, the VP used “tickets” to track social-media narratives, where each

   “ticket” could encompass many postings: “As part of the Virality Project, analysts created tickets

   documenting URLs of in-scope content. In total, 911 tickets were created, tracking both specific

   pieces of misinformation and broader narratives. At the end of the monitoring period, analysts had

   created 845 tickets tracking specific vaccine misinformation incidents (events or pieces of content)

   and 66 tickets tracking broad narratives.” Id. at 34 (27).

          1287. The VP aimed, not just to track, but to “respond to” misinformation: “The Virality

   Project operated with a team of analysts drawn from across the partner organizations. Workflows

   were designed to detect, analyze, and respond to incidents of COVID-19 vaccine-related

   disinformation in online ecosystems.” Id. (emphasis added).

          1288. “From February to August 2021, VP analysts systematically monitored activity

   across social media platforms to document emerging narratives and trends in public discourse

   while also tracking the popularity and spread of older content.” Id. (emphasis added).

          1289. “The [VP] used the Jira Service Desk software to log mis- and disinformation

   incidents that were determined to be in scope for specific areas of the public COVID-19-related

   conversation. For each single incident of anti-vaccine mis- or disinformation surfaced during

   monitoring, an analyst filed a ticket that provided a brief description of the incident, including




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   engagement numbers at the time of creation and links to relevant social media posts.” Id. at 35

   (28).

           1290. The VP boasts that it targeted online speech for censorship before it could go viral,

   thus imposing massive prior restraints on the amplification of targeted content: “Tickets also

   enabled analysts to quickly tag platform or health sector partners to ensure their situational

   awareness of high-engagement material that appeared to be going viral, so that these partners

   could determine whether something might merit a rapid public or on-platform response (such as

   a label).” Id. at 37 (30) (emphasis added).

           1291. The VP reported the content in 174 “tickets” to social-media platforms for

   censorship: “Managers gave all incident analyses a final review for quality-control purposes, to

   determine appropriate next steps and to make a final decision about whether tickets should be

   shared with external stakeholders. Of the 911 incidents monitored, 1    were referred to platforms

   for potential action.” Id. (emphasis added).

           1292. Like the EIP, the VP appears to have had direct access to Twitter’s and YouTube’s

   internal data about speech spreading on its platform, but not Facebook’s: “The engagement data

   or video view data for links associated with each ticket was collected differently depending on the

   social media platform in question: Facebook and Instagram: CrowdTangle API; Twitter: Twitter

   API…” Id. at 38 (31).

           1293. Like the Surgeon General and the White House, the VP complains that the

   platforms must make their internal data more available to VP: “Due to limited transparency from

   social media platforms, engagement is the closest proxy researchers can use to understand what

   content users are seeing on social media platforms. Metrics such as impression counts are generally

   unavailable to outside researchers.” Id.




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            1294. The VP’s monitoring tracked content with about 6.7 million engagements on social

   media per week, or over 200 million over the seven months of the reported project: “Average

   weekly engagement with content tracked across all Virality Project tickets was 6.7 million.” Id.

   at 39 (32).

            1295. The vast majority of speech flagged and tracked by the VP was not false or incorrect

   speech: “The most commonly employed tactics were Hard-to-Verify Content and Alleged

   Authoritative Source.” Id. at 41 (34); see also id. at 42 (35) fig.2.6 (showing predominance of

   these two “tactics”).

            1296. According to the VP, “[o]f the engagement captured by tickets, more than a third

   came from content primarily spread by accounts that demonstrated recurring success making

   content go viral; we refer to them here as ‘recurring actors.’” Id. at 41 (34).

            1297. The VP boasts that it induced “platform action” against such “recurring actors” in

   2021: “Recurring actors drove a majority of engagement in the first half of the study period, but

   fell off in importance after that, most likely due to platform action against certain users beginning

   in the late spring of 2021.” Id. at 43 (36).

            1298. Like Jennifer Psaki at the White House, the VP repeatedly cites the Center for

   Countering Digital Hate’s report on the “Disinformation Dozen.” Id. at 23 & 32 n.43, 43 & 48

   n.7, 111 & 129 n.179.4

            1299. “Four distinct weeks during the monitoring period had incidents observed by

   Virality Project analysts that generated more than 10 million engagements.” Id. at 43 (36).

            1300.   One of these “Viral Incidents” tracked by the VP was: “In July, posts went viral

   expressing outrage at attempts by the Biden administration to engage in vaccine outreach.” Id. at


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       Report pages 16 & 25 n.43, 36 & 41 n.7, 104 & 122 n.179.


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   45 (38). This incident did not involve any vaccine-related misinformation at all, but core political

   speech: “the Biden administration used the phrase ‘door-to-door’ to describe a push for on-the-

   ground community-led efforts to persuade more Americans to get vaccinated. Prominent

   Republican politicians miscast this as a forced vaccination campaign by ‘Needle Nazis’ and a

   prelude to the government knocking on the door to take away guns.” Id. at 46 (39).

          1301. The VP boasts that censorship enforcement was effective, especially in

   “deplatforming” key actors: “The decline of content from recurring actors midway through the

   monitoring period potentially reflects a policy impact, as deplatforming these actors led to an

   apparent reduction in false or misleading content.” Id. at 47 (40).

          1302. The VP tracked and flagged “Claims that [supposedly] misrepresent … vaccine

   mandates,” not just misinformation about the vaccines. Id. at 50 (43).

          1303. According to the VP, “content” that “leveraged decontextualized statistics from the

   US Department of Health and Human Services’ Vaccine Adverse Event Reporting System

   (VAERS) database” is misinformation. Id. at 51 (44).

          1304. According to VP, it was also misinformation when true adverse health events from

   vaccines were “shared absent context”: “Rare incidents documenting verified adverse health

   events, including blood clotting and heart inflammation, were shared absent context, often in an

   effort to present them as common and significant risks.” Id.

          1305. According to the VP, discussing “breakthrough” cases and “natural immunity” was

   also misinformation: “False and misleading narratives related to efficacy sought to undermine the

   perceived benefits of vaccines. These narratives included stories of people diagnosed with

   COVID-19 after being vaccinated—“breakthrough” cases, particularly in the time of the Delta

   variant—to promote the idea that the vaccines aren’t effective. Later, the idea that natural




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   immunity from infection is superior to immunity from vaccination became a political talking point

   raised repeatedly by right-leaning political influencers, despite inconclusive scientific evidence.”

   Id.

          1306. According to VP, misinformation also included “discussions of vaccine passports

   and mandates (including months before any state or federal officials began advocating for them).”

   Id.

          1307. The VP also counts as misinformation “claims that the government was headed

   toward mandating an unsafe vaccine.” Id. The government did, of course, eventually mandate the

   vaccines for most Americans.

          1308. The VP also treated Americans’ “long-standing mistrust of pharmaceutical

   companies’ profit motives” as part of anti-vaccine misinformation. Id.

          1309. “Conspiracy Theories” that “assign blame to … government” are also

   misinformation to be tracked and censored, according to VP. Id.

          1310. According to VP, “personal anecdotes” about “vaccine injuries and severe side

   effects—ranging from rashes, to blood clots, to death” are also misinformation.” Id. at 52 (45).

          1311. “Personal anecdotes often made their way into mainstream media coverage after

   gaining traction online. Distortions of official government statistics—most often from VAERS,

   described in more depth later in this section—were used both to reinforce the personal anecdotes

   and for focused misinformation solely discussing the statistics.” Id.

          1312. According to VP, “stripp[ing] both individual stories and official statistics of

   important context” is misinformation. Id.

          1313. According to VP, “adverse event stories” were objectionable because they were

   “employed to push back against vaccine mandates.” Id. at 52-53 (45-46).




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          1314. Like the White House and Dr. Fauci, the VP treats Alex Berenson as a major

   malefactor in spreading COVID-19 vaccine “misinformation.” See id. at 54, 57 (47, 50).

          1315. Like the White House and Rob Flaherty, the VP flagged and tracked Fox News host

   Tucker Carlson as a spreader of vaccine misinformation: “In May                1, Tucker Carlson

   misrepresented VAERS data on his talk show, decontextualizing it while claiming that 3,362

   Americans had died following COVID-19 vaccinations between December 2020 and April 2021,

   equating to roughly 30 people every day.” Id. at 57 (50) (emphasis added).

          1316. Health Freedom groups, like Plaintiff Jill Hines’s group Health Freedom Louisiana,

   are particular targets of the VP’s tracking and censorship activities.

          1317. The VP report includes an entire section on such groups: “Section 3.2.2 –

   Government Overreach and Medical Freedom Narratives.” Id. at 59 (52).

          1318. According to the VP, “[o]ne of the primary long-standing themes of anti-vaccine

   distribution narratives is that mass vaccine distribution constitutes a government overreach. The

   movement sees vaccine mandates, including, historically, school vaccine requirements, as an

   assault on ‘health freedom’ or ‘medical freedom.’” Id.

          1319. According to the VP, “[i]n 2020, following the emergence of COVID-19, these

   same health freedom groups expanded their vaccine protests to social distancing, masks, and other

   prevention measures.” Id. This includes Plaintiff Jill Hines.

          1320. The VP describes the role of Facebook groups—also employed by Jill Hines—in

   organizing health freedom groups to oppose vaccine mandates: “groups emerged on platforms

   such as Facebook during the pandemic, with names specifically related to COVID-19 or mRNA

   vaccines, to assist in discoverability; some grew their numbers into the tens of thousands.” Id.




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            1321. The VP focused, not just on misinformation about vaccines, but political speech

   and political organizing against “vaccine passports and vaccine mandates”: “During the VP’s

   period of analysis, narratives about government overreach and medical freedom focused on two

   areas of controversy: vaccine passports and vaccine mandates.” Id.

            1322. The VP treats as misinformation political speech and political opinions on these

   topics: “This amplification hinged upon misleading framing that suggested the implementation of

   any form of vaccine passport would be compulsory. In reality, the plans for many programs were

   entirely optional. Other framing from domestic right-leaning political actors created a portrait of

   governments as prying or snooping into citizens’ private matters.” Id. at (60) 53.

            1323. The VP views virtually all conservative speech opposing government-imposed

   COVID mandates as misinformation: “Activists pushed the idea that through a passport system,

   governments and ‘Big Tech’ were limiting the public’s freedoms—situating the conversation

   within a larger set of narratives surrounding pandemic public health regulations like mask

   mandates, lockdowns, and social distancing.” Id.

            1324. Like the EIP, the VP specifically flagged Jim Hoft’s The Gateway Pundit as a

   purveyor of misinformation and COVID “conspiracy theories: “Headlines sometimes hawked

   conspiracy theories: one Gateway Pundit headline, “The Great Reset: Big Tech and Big Pharma

   Join Forces to Build Digital COVID Vaccination Passport,” was a nod to groups such as QAnon….

   The article alleged collusion between Big Tech and Big Pharma that would threaten ‘individual

   rights.’” Id. at 60-61 (53-54) & 68 (75) n.49 (citing Joe Hoft, The Great Reset Big Tech and Big

   Pharma Join Forces to Build Digital COVID Vaccination Passport, Gateway Pundit (January 17,

   2021),        https://thegatewaypundit.com/great-reset-big-tech-big-pharma-joining-forces-build-

   digital-covid-vaccination-passport).




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            1325. Other right-leaning speakers flagged by the VP include One America News

   Network, Breitbart News, and others. Id. at 60 (53).

            1326. The VP attributes political successes such as state-level bans on vaccine passports

   to such supposed misinformation. Id. at 61 (54).

            1327. The VP attributes opposition to vaccine mandates by employers to such supposed

   misinformation: “The backlash to COVID-19 vaccine requirements for employment and other

   activities parallels the conversation about vaccine passports. It, too, relies on and attempts to

   exacerbate distrust in public health officials and government institutions.” Id.

            1328. According to VP, even truthful information about vaccine effects on health that are

   still being studied constitutes misinformation: “In early 2021, users on Twitter, Facebook, and

   Reddit reported unverified reproductive side effects, ranging from abnormal menstrual cycles to

   miscarriages and infertility. … At the time there was no medical consensus on the vaccine’s effect

   on reproductive health, yet anti-vaccine activists presented the theory as fact and evidence of harm.

   Research is ongoing….” Id. at 66-67 (59-60).

            1329. According to VP, even “videos that appeared to be created satirically” are

   misinformation when they “were taken seriously.” Id. at 68 (61).

            1330. Alex Berenson is mentioned 49 times in the Virality Project report. Id. at 54, 57,

   71, 73, 96-97, 122-23, 188-90, 195, 207-08. 5

            1331. “Health freedom” or “medical freedom” groups are discussed dozens of times in

   the VP report. The word “freedom” occurs 100 times, almost always in direct connection with a

   discussion of “health freedom” or “medical freedom” groups, influencers, or content. See id. at 6,




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       Report pages 47, 50, 64, 66, 89-90, 115-16, 181-83, 188, 200-01.


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   187, 197-98, 201, 204, 210, 220-22.6

            1332.    The VP defines “Medical freedom influencers” as actors who “are averse to

   government interference in individuals’ personal lives. While they explicitly advocate for “health

   freedom” or “vaccine choice,” these actors often propagate vaccine doubt by contextualizing the

   choice with misleading claims of vaccines’ adverse medical consequences.” Id. at 82 (75).

            1333. Fox News host Tucker Carlson, who has wide audiences in Missouri and Louisiana,

   is cited 42 times in the Virality Project report. See id. at 57, 73, 87, 91-92, 98, 115, 119-20, 122-

   23, 193, 201, 208, 215-16, 218.7

            1334. In fact, the VP report cites the entire Fox News channel as a source of vaccine

   misinformation: “Fox News has played a particularly pivotal role in spreading vaccine

   misinformation and anti-vaccine beliefs during the COVID-19 pandemic…. [B]etween June 28

   and July 11, 2021, Fox News ran 129 segments about the COVID-19 vaccine on its cable

   broadcast; more than half of those segments included unverified claims that undermined

   vaccination efforts.” Id. at 91 (84).

            1335. According to VP, “Fox News television host Tucker Carlson has been one of the

   most prominent and sensationalist spreaders of false or misleading information about vaccines

   throughout the COVID-19 pandemic.” Id.; see also id. at 91 (describing “Right-wing media

   personality Tucker Carlson” as part of a “cast of recurring characters” that influenced vaccine

   hesitancy in Spanish- and Chinese-speaking communities).




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    Report pages iii, 2, 13, 16, 52-55, 59, 63, 67, 70, 75, 77-79, 86-89, 98, 110-11, 114-115, 123-24,
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          1336. The VP also cites Candace Owens and The Daily Wire as purveyors of vaccine

   misinformation. See, e.g., id. at 86, 92 (79, 85).

          1337. The VP cites Robert F. Kennedy, Jr., a well-known anti-vaccine activist with wide

   followings in Missouri and Louisiana, as one of the most influential purveyors of vaccine

   misinformation. Id. at 83 (76). The VP describes Kennedy as “especially pernicious” because he

   has a large audience: “RFK Jr.’s activism is especially pernicious because, like other long-standing

   influencers, he has a large and committed following and has become somewhat of a household

   name in the US.” Id.

          1338. The VP also cites America’s Frontline Doctors and its founder, Dr. Simone Gold,

   as a source of vaccine misinformation. Id. at 87-88 (80-81).

          1339. The VP notes that “Simone Gold, a licensed emergency room physician, was the

   second most prominent PMI across Virality Project’s tickets. Gold is the leader of America’s

   Frontline Doctors…. Gold has been influential since the summer of 2020, when the White Coat

   Summit, an event broadcast online in which members of America’s Frontline Doctors spoke on

   the steps of the Supreme Court. The White Coat Summit promoted hydroxychloroquine both as a

   preventative measure and as a cure for COVID-19.” Id.

          1340. The VP treats Dr. Joseph Mercola, another anti-vaccine speaker with wide

   audiences in Missouri and Louisiana, as a purveyor of vaccine misinformation. Id. at 87 (80).

   Again, the VP criticizes Mercola precisely because his speech reaches wide audiences. Id.

          1341. The VP asserts that Gold’s “false and misleading claims about the COVID-19

   vaccine” include core political speech like “encouraging her followers to boycott companies for

   their vaccine protocols” and “organizing a cross-country tour to fight back against ‘censorship,

   chaos, and the undeniable slide towards communism that lurks beneath the tyrannical lockdowns




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   for governmental ‘public health’ policy’.” Id. at 88 (81). To the VP, political “organizing” to

   oppose vaccine mandates and lockdowns constitutes a “false and misleading claim[].” Id.

          1342. The VP asserts that “the right-leaning media ecosystem differs from the rest of the

   media environment in ways that make it especially vulnerable to the spread of mis- and

   disinformation.” Id. at 91 (84).

          1343. The VP states that “[t]he newest iteration of medical freedom, adapted for COVID-

   19, challenges the legitimacy of government or corporate vaccine mandates and public health

   interventions specific to COVID-19, including vaccine passport systems and masking

   requirements.” Id. at 93 (86).

          1344. The VP states that “medical freedom” groups spread misinformation “across all 50

   states”: “Medical freedom influencers (MFIs) active in the anti-COVID-19-vaccine movement

   were fairly distinct from other categories of influencer in that rather than hinging on a handful of

   key (and often celebrity-status) individuals, they spread their narratives via a franchise model

   across all   states.” Id. (emphasis added).

          1345. The VP indicates that it tracked and flagged “medical freedom” groups “at a

   messaging and organizing level,” i.e., the level where Jill Hines was targeted: “As medical freedom

   activists have fought requirements imposed by states, cities, or private employers, they have

   learned from each others’ successes and failures—at a messaging and an organizing level—and

   have brought those lessons to their local communities. What one state does, another state will often

   echo.” Id. at 94 (87).

          1346. Like Andrew Slavitt, the VP treats Alex Berenson as one of the “most significant

   influencer[s]” who opposes vaccines: “Alex Berenson is perhaps the most significant influencer

   who defies categorization. A former New York Times reporter and a bestselling novelist with no




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   specific anti-vaccine background …, Berenson … over time evolved into a key player in repeatedly

   spreading false and misleading information about the COVID-19 pandemic and vaccines. He

   underplayed the danger of the virus and challenged the efficacy of vaccines and masks, even as

   evidence supported their value as life-saving public health measures.” Id. at 96 (89) (providing an

   image of Berenson’s tweets).

          1347. The VP disfavors Berenson because he reaches wide audiences and criticizes the

   government: “Berenson’s popular posts on Twitter notably claimed to be “digging up” or

   “uncovering” information that was hidden from the public about vaccine safety or effectiveness.

   In one incident in July 2021, Berenson amplified a conspiracy theory from a statement filed with

   a lawsuit from America’s Frontline Doctors stating that the government was covering up more

   than 45,000 vaccine-related deaths. Berenson’s 17-tweet thread, which received over 16,000

   interactions on July 21, 2021, claimed that the CDC had “quietly more than DOUBLED” the

   number of deaths reported in VAERS, suggesting the CDC had misled the public.” Id. at 96-97

   (89-90).

          1348. The VP notes that Berenson had wide audiences nationwide when he was censored:

   “Twitter permanently deplatformed Berenson in August 2021 for repeated violations of Twitter’s

   COVID-19 falsehoods policy. At the time he lost his account, he had more than 200,000

   followers.” Id. at 97 (90).

          1349. The VP states that the government pushed for “accountability” from platforms in

   successfully pressuring them to adopt vaccine-related censorship policies in the years leading up

   to COVID-19: “During and after the [2018-19 measles] outbreaks, scientists and congressional

   leaders sought accountability from the platforms, inquiring about the extent to which vaccine




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   hesitancy among impacted communities had been exacerbated by misinformation on their

   products.” Id. at 131 (124).

          1350. The VP provides a timeline of policy changes becoming more restrictive of

   vaccine-related misinformation that shows repeated tightening of policies by Facebook, Twitter,

   and YouTube once President Biden had been elected. Id. at 133 (126) fig.5.1.

          1351. The VP calls for more aggressive censorship policies to target speech that is not

   false or incorrect and that constitutes core political speech: “While progress has been made since

   platforms first developed vaccine-related policies in 2019, clear gaps in platform policy exist with

   respect to moderating vaccine-related content, including posts that employ personalized stories,

   medical freedom claims, and misleading headlines and statistics.” Id. at 143 (136).

          1352. The VP also calls for more aggressive action to “suppress content” and “deplatform

   accounts”: “In addition, policies about the actions platforms can take to suppress content, promote

   trusted voices, and deplatform accounts vary widely from platform to platform and are still not

   enforced consistently, both within and across platforms.” Id.

          1353. Just like the Surgeon General, the VP demands “more transparency” for “external

   researchers” (like those at the VP, working closely with government) to oversee the platforms’

   censorship efforts: “It should be noted that understanding the impact of platform policy is limited

   by what information is publicly available. It is crucial that platforms provide more transparency

   on each moderation approach and allow external researchers the ability to independently verify the

   success and impacts of these interventions.” Id.

          1354. Like the Surgeon General, the VP argues that “a whole-of-society effort is needed”

   to stop the spread of so-called misinformation: “[A] whole-of-society effort is needed in which




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   stakeholders build robust and persistent partnerships to ensure that significant high-harm claims

   can be addressed as they arise.” Id. 147 (140).

          1355. This “whole-of-society” effort includes an active role for the government in

   censoring disfavored speech: “The Virality Project sought to do just that by bringing together four

   types of stakeholders: (1) research institutions, (2) public health partners, (3) government partners,

   and (4) platforms. Our recommendations recognize the collective responsibility that all

   stakeholders have in mitigating the spread of mis- and disinformation…” Id.

          1356. According to the VP, “The Virality Project offers an early template for structuring

   interaction between research institutions and nonacademic stakeholders (including government

   entities, health practitioners, and private companies).” Id.

          1357. According to the VP, it used “ingenuity” to facilitate “the intake of tips from …

   government partners”: “An area that required ingenuity was creating a framework for facilitating

   the intake of tips from civil society and government partners…. However, their tips are often

   highly valuable, so overcoming this challenge is a priority for future efforts.” Id. at 148 (141)

   (emphasis added).

          1358. The VP recommends an even more “streamlined” process for “government

   partners” to provide “tips” of misinformation to be reported for censorship, and it notes that it

   received tips through “informal exchanges, such as Zoom meetings or calls with our partners”:

   “Streamline tip line processes for civil society and government partners. Set up an efficient channel

   for intaking external tips…. The Virality Project often had to leverage informal exchanges, such

   as Zoom meetings or calls with our partners, to receive the tips verbally or encourage additional

   reporting. In future projects, external reporting channels should be strengthened via an easier




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   means of reporting and increased access to the reporting channels, especially for partners on the

   ground (such as health practitioners or government health officials).” Id.

          1359. The VP repeatedly cites the work of Surgeon General Murthy, noting that “[d]uring

   a July 15, 2021, panel with the Virality Project, US Surgeon General Vivek Murthy discussed the

   importance of vaccination by sharing his own story about COVID-19 … alongside data around the

   effectiveness of the vaccines.” Id. at 149 (142). “In the context of vaccine misinformation

   specifically, some examples of engagement best practices can be found in the Virality Project’s

   July 15, 2021, hosted discussion with Surgeon General Vivek Murthy…” Id. at 150 (143).

          1360. According to VP, “While the federal government (through DHHS, the CDC, and

   the Surgeon General) has ramped up its engagement and communications, more can be done

   moving forward. There are several areas where government officials can focus to improve their

   ongoing response to mis- and disinformation surrounding the COVID-19 vaccines.” Id. at 149-50

   (142-43).

          1361. These include “real-time response” to misinformation on the model provided by

   CIS and the EI-ISAC for election speech: “Federal, state, and local government officials should

   coordinate real-time response to emerging mis- and disinformation. … For example, as voting-

   related mis- and disinformation arose in the 2020 presidential election, the Election Infrastructure

   Information Sharing and Analysis Center (EI-ISAC) served a critical role in sharing information

   with the Election Integrity Partnership and pushing its rapid response analysis back out to election

   stakeholders across all states… Moving forward, the government should support the establishment

   of such an information-sharing mechanism.” Id. at 150 (143).

          1362. The VP recommends that the federal government “[i]mplement a Misinformation

   and Disinformation Center of Excellence (CoE) housed within the federal government,” which




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   “would centralize expertise on mis- and disinformation within the federal government at the

   Cybersecurity & Infrastructure Security Agency (CISA) with its existing mis- and disinformation

   team,” i.e., Brian Scully’s group. Id.

          1363. The VP’s “Recommendations to Platforms” reflect near-verbatim language used by

   the Surgeon General’s Health Advisory: “Consistently enforce policies against recurrent actors.

   … While many platforms have improved transparency around content moderation, there is still

   inconsistent enforcement of policies, notably in the case of recurring actors. More consistency and

   transparency is needed around enforcement practices, particularly when prominent or verified

   accounts are involved. While past policy environments have been slower to enforce policies

   against prominent accounts, these are the accounts with the greatest potential for impact. If

   anything, they may merit closer scrutiny.” Id. at 152 (145).

          1364. Likewise, the VP recommends that platforms “[c]ontinue to prioritize and improve

   data sharing. The Virality Project’s research would not have been possible without access to public

   platform data. For privacy reasons, some data understandably may be limited, but in general,

   establishing standardized guidelines about how platforms can share data with research institutions

   is needed.” Id. at 153 (146).

          1365. “Notably, engagement numbers are the closest proxy that researchers have to

   understand what content users see on social media platforms. However, engagement is not the

   same thing as impressions, or user views—how many times a piece of content is seen by users.

   Ideally, access to user impression data would be available, allowing researchers to directly measure

   when and how content is surfaced to users by social media platforms. Unfortunately, social media

   platforms often do not make impression data available to researchers; as a result of this chronic




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   gap, assessing impact and reach, or the dynamics of platform curation, remains a significant

   challenge.” Id.

   X.     Federal Censorship Inflicts Grave, Imminent, and Ongoing Injuries on Plaintiffs.

          1366. The foregoing conduct has inflicted and continues to inflict ongoing and imminent

   injuries on both the private Plaintiffs and the States of Louisiana and Missouri.

          A.      Defendants Gravely Injure the Individual Plaintiffs.

          1367. The individual Plaintiffs provide undisputed evidence of how they have suffered

   from federally-induced censorship. Docs. 10-3 (Declaration of Dr. Jayanta Bhattacharya), 10-4

   (Declaration of Dr. Martin Kulldorff), 10-5 (Declaration of Jim Hoft), 10-7 (Declaration of Dr.

   Aaron Kheriaty), 10-12 (Declaration of Jill Hines). The Government does not dispute this

   evidence.

          1368. Dr. Bhattacharya attests that, “Because of my views on COVID-19 restrictions, I

   have been specifically targeted for censorship by federal government officials.” Doc. 10-3, ¶ 5.

   He notes that “[t]he Great Barrington Declaration received an immediate backlash from senior

   government officials who were the architects of the lockdown policies, such as Dr. Anthony

   Fauci…” Id. ¶ 13. “Because it contradicted the government’s preferred response to COVID-19,

   the Great Barrington Declaration was immediately targeted for suppression by federal officials.”

   Id. ¶ 14. “Instead, what followed was a relentless covert campaign of social-media censorship of

   our dissenting view from the government’s preferred message.” Id. ¶ 15.

          1369. As a result of this “covert campaign,” Dr. Bhattacharya experiences ongoing

   injuries, including the de-boosting of search results in Google, id. ¶16; the removal of links to the

   Great Barrington Declaration in Reddit discussions, id.; the ongoing removal of a YouTube video

   discussing the Great Barrington Declaration and related issues with Governor DeSantis, id. ¶¶ 17-




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   18; the removal of personal Tweets, id. ¶¶ 25-26; the removal of LinkedIn posts, id. ¶¶ 28-29; and

   account termination by LinkedIn, id. ¶ 30.

           1370. Dr. Bhattacharya observes that he lacks access to his colleagues’ speech and

   viewpoints as well, because “social-media censorship has not focused solely on the co-authors of

   the Great Barrington Declaration, but has swept in many other scientists as well: Twitter, LinkedIn,

   YouTube, Facebook, they have permanently suspended many accounts—including scientists.” Id.

   ¶ 31.

           1   1. As Dr. Bhattacharya observers, “[t]hese censorship policies have driven scientists

   and others to self-censorship, as scientists … restrict what they say on social-media platforms to

   avoid suspension and other penalties.    Id.    1.

           1    . Dr. Bhattacharya attests based on personal experience: “Having observed and lived

   through the government-driven censorship of the Great Barrington Declaration and its co-authors,

   it is clear to me that these attacks were politically driven by government actors. … One of the

   motivations for that was a motivation to create … an illusion of consensus within the public that

   there was no scientific dissent against lockdowns. [T]he Great Barrington Declaration … posed a

   political problem for them because they wanted to tell the public that there was no dissent. And

   so, they had to destroy us. They had to do a devastating takedown.     Id. ¶ 32.

           1    . Dr. Kulldorff likewise attests that there is “an organized campaign against the Great

   Barrington Declaration,” Doc. 10-4, ¶ 14. He notes that the GBD “was censored on social media

   in an apparent attempt to prevent it from … ‘getting a lot of attention,’” id. ¶ 15; including Google

   deboosting search results, id., and Facebook removing content related to it, id.   1 .

           1374. Dr. Kulldorff also identifies an ongoing campaign of censorship against his

   personal social-media accounts, including censored personal Tweets on Twitter, id.            1 -1




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   censored posts criticizing mask mandates, id.          19 ongoing self-censorship to avoid further

   censorship penalties, id. ¶¶ 20, 27; removal of YouTube content, id. ¶ 21; removal of LinkedIn

   posts, id. ¶¶ 22-25; and the ongoing permanent suspension of his LinkedIn account, id. ¶ 26.

          1375. Dr. Kulldorff has experienced direct censorship of his social-media speech in

   addition to the Great Barrington Declaration. For example, his Tweets questioning the efficacy of

   masking and criticizing government mask mandates have been censored and caused him to be

   suspended from Twitter. Id. ¶¶ 18-19.

          1376. Dr. Kulldorff has also engaged in self-censorship to avoid being suspended or

   removed from social media: “Twitter is an important venue for communicating accurate public

   health information to the public. Because of the censoring, and the suspension of other scientists,

   I have had to self-censor myself on the platform.” Id. ¶ 20.

          1377. Dr. Bhattacharya and Dr. Kulldorff’s roundtable discussion with Governor Ron

   DeSantis—which featured all three co-authors of the Great Barrington Declaration—was removed

   from YouTube. The roundtable discussion addressed the Great Barrington Declaration and its

   premises in detail. As Dr. Kulldorff recounts, “On March 18, 2021, I participated in a two-hour

   roundtable discussion with Governor Ron DeSantis in Florida, along with Dr. Sunetra Gupta at

   Oxford, Dr. Jay Bhattacharya at Stanford and Dr. Scott Atlas at Stanford. In this discussion, we

   made remarks critical of COVID-19 restrictions, including mask mandates on children. I stated

   that ‘children should not wear face masks, no. They don’t need it for their own protection, and

   they don’t need it for protecting other people either.’ … Dr. Gupta stated that “to force [children]

   to wear masks and distance socially, all of that to me is in direct violation of our social contract.’

   In the same roundtable, we also argued against vaccine passports. ‘Let’s try to argue against that




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   from the very beginning before it sort of takes off.’ Unfortunately, the video of the roundtable was

   removed by YouTube, which is owned by Google.” Id. ¶ 21.

          1378. Dr. Kulldorff also experiences ongoing censorship on “LinkedIn, which is a popular

   communications platform among scientists and other professionals.” Id. ¶ 22-26. LinkedIn has

   blocked and removed his posts opposing vaccine mandates and promoting the benefits of natural

   immunity. Id. These included posts in which he and Dr. Bhattacharya “criticized the official

   Covid-19 response as formulated by Dr. Anthony Fauci.” Id. ¶ 25.

          1379. Dr. Kulldorff states that he and other scientists engage in self-censorship to avoid

   being terminated from social-media platforms: “Twitter and LinkedIn are important venues for

   communicating accurate public health information to other scientists and to the public. Because of

   the censoring, and the suspension of other scientists, I have had to self-censor myself on both

   platforms. Sometimes by not posting important public health information.” Id. ¶ 27.

          1380. Dr. Kulldorff notes that social-media censorship directly affects him as a reader of

   other scientists’ speech on social media, on an ongoing basis, by reducing his access to the thoughts

   and views of scientists who dissent from the government-mandated orthodoxy: “Social-media

   censorship has not focused solely on the co-authors of the Great Barrington Declaration but has

   swept in many other scientists as well. These censorship policies have driven scientists and others

   to self-censor, as scientists like me restrict what we say on social-media platforms to avoid

   suspension and other penalties. In fact, the most devastating consequence of censoring is not the

   actual posts or accounts that are censored or suspended, but the reluctance of scientists to openly

   express and debate scientific questions using their varied scientific expertise. Without scientific

   debate, science cannot survive.” Id. ¶ 28.




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          1381. Dr. Kheriaty, also, describes ongoing injuries from social-media censorship of

   views dissenting from the government-preferred narratives about COVID-19. He experiences an

   ongoing pattern of censorship and removals lasting over years: “I have always shared peer-

   reviewed research findings as well as my own opinions and perspectives on Twitter and LinkedIn.

   It was not until I began posting information about covid and our covid response policies, however,

   that I encountered censorship on the Twitter platform. This began in 2020 when I published an

   article on the adverse mental health consequences of lockdowns. The problem became more

   pronounced in 2021 when I shared my Wall Street Journal article and other information on ethical

   issues related to vaccine mandates.” Doc. 10-7, ¶ 11.

          1382. As Dr. Kheriaty notes, “[t]he Twitter censorship took several forms.” Id. He

   describes suffering artificial limitations on the number of followers on his social-media accounts,

   id. ¶¶ 12-13; “shadow banning” of social-media posts that “challenge[] the federal government’s

   preferred covid policies,” id. ¶¶ 14-15; self-censorship to avoid further adverse consequences or

   permanent bans, id. ¶ 16; and removal of content from YouTube, id. ¶ 17. Dr. Kheriaty specifically

   notes that the problem of “shadow banning” his social-media posts is ongoing and increasing, as

   it “intensified in 2022.” Id. ¶ 15. Further, he notes that “[t]he pattern of content censored on these

   social media platforms mirrors closely the CDC and Biden administration policies.” Id. ¶ 18.

          1383. Dr. Kheriaty describes the ongoing experience of shadow-banning: “I encountered

   evidence of this shadow-banning in 2021 before I was let go from the University after I started

   posting on covid topics, and the problem intensified in 2022 following my dismissal, as I continued

   to post frequently on the ethics of vaccine mandates for competent adults.” Id. ¶ 15.

          1384. Dr. Kheriaty also experiences ongoing injury as a reader of other speakers’ content

   on social media, as government policies cause censorship and self-censorship of their content as




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   well: “I have several of my friends and colleagues—including Dr. Peter McCollough and Dr.

   Robert Malone—who were temporarily (McCollough) or permanently (Malone) banned from

   Twitter for posing peer-reviewed scientific findings regarding the covid vaccines.” Id. ¶ 16.

          1385. Dr. Kheriaty also engages in self-censorship to avoid more severe penalties from

   the platforms: “Even though the ethics of vaccine mandates is among my areas of expertise, and

   an area that has impacted me personally and professionally, I am extremely careful when posting

   any information on Twitter related to the vaccines, to avoid getting banned. This self-censorship

   has limited what I can say publicly on topics where I have specific scientific and ethical expertise

   and professional experience.” Id. ¶ 16.

          1386. Dr. Kheriaty observes a close link between this ongoing pattern of social-media

   censorship and speech that criticizes government policies: “The pattern of content censored on

   these social media platforms mirrors closely the CDC and Biden administration policies. In my

   experience using these platforms to discuss covid topics, any content that challenges those federal

   policies is subject to severe censorship, without explanation, on Twitter and YouTube—even when

   the information shared is taken straight from peer-reviewed scientific literature.” Id. ¶ 18.

          1387. Plaintiff Jim Hoft attests both ongoing injuries and the imminent expectation of

   future injuries. Doc. 10-5. Hoft is the “founder, owner, and operator of the popular news website

   The Gateway Pundit (‘GP’), gatewaypundit.com. … Since its founding in 2004, the Gateway

   Pundit has grown from a one-man blog to one of the internet’s largest destinations for conservative

   news and commentary. In 2021, The Gateway Pundit was ranked fourth on a list of top ten

   conservative news websites, ranked by monthly web searches, with over 2 million searches per

   month.” Id. ¶ 2. The Gateway Pundit has large social-media followings on multiple platforms:

   “In particular, GP’s Twitter account had over 400,000 followers before it was suspended. GP’s




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   Facebook account has over 650,000 followers. GP’s Instagram account has over 205,000

   followers. GP’s YouTube account has over 98,000 followers.” Id. ¶ 3.

          1388. Hoft notes that The Gateway Pundit’s “social media accounts have experienced

   censorship on all major social-media platforms,” which “has followed and reflected the calls for

   censorship from federal government officials, including in the Biden Administration.” Id. ¶ 4.

   These acts of censorship include suspensions from his Twitter account and another personal

   Twitter account, id. ¶¶ 6-7, 10; a permanent ban from his Twitter account, id. ¶ 8; labels applied

   to Twitter posts on personal accounts, id. ¶ 9; warning labels imposed on Facebook posts and other

   restrictions on his Facebook account, id. ¶ 12; permanent removal of content posted on Facebook,

   id. ¶ 13; prevention of sharing of Facebook-posted content, id.; removal of content from YouTube,

   id. ¶ 14; imposition of sanctions on Mr. Hoft’s followers for re-posting or amplifying his speech,

   id. ¶ 15; engaging in self-censorship to avoid permanent bans or other more serious sanctions from

   the social-media platforms, id. ¶ 16; and demonetization by Google, id. ¶ 19; see also id. ¶¶ 18-

   20.

          1389. Hoft observers that “GP’s social media accounts have experienced censorship on

   all major social-media platforms, including its speech regarding COVID-19 issues and election

   security. In many instances, we have noticed that this censorship has followed and reflected the

   calls for censorship from federal government officials, including in the Biden Administration.” Id.

   ¶ 4. “For example, the current Administration has repeatedly called for censorship of social media

   speech regarding election integrity and so-called ‘COVID-19 misinformation.’ GP has

   experienced significant social-media censorship regarding its speech on both of those issues,

   including on Twitter, Facebook, and YouTube.” Id. ¶ 5.




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          1390. Hoft has experienced censorship for COVID speech that is now widely

   acknowledged to be true, such as a suspension from Twitter for claiming that the vaccines do not

   prevent infection, and the claim that COVID deaths are overcounted by including deaths from

   other causes: “On or about January 2, 2021, Twitter suspended GP’s Twitter account

   (@gatewaypundit) after it posted a tweet that stated, “Then It’s Not a Vaccine: Crazy Dr. Fauci

   Says Early COVID Vaccines Will Only Prevent Symptoms and NOT Block the Infection

   …What?” Id. ¶ 6; see also id. ¶ 9.

          1391. The Gateway Pundit also experienced censorship under Twitter’s “hacked

   materials” policy by retweeting the contents of Hunter Biden’s laptop. After a GP blogger

   “tweeted content related to Hunter Biden’s laptop,” “Twitter suspended the account on the ground

   that he ‘Violat[ed] our rules against posting or sharing privately produced/ distributed intimate

   media of someone without their express consent.’” Id. ¶ 10.

          1392. Hoft also experiences a long list of acts of censorship from Facebook: “Facebook

   frequently imposed warning labels and other restrictions on our content, particularly content

   related to election integrity and COVID-19. Facebook’s censorship was so aggressive that I was

   forced to hire an assistant to monitor and address censorship on Facebook.” Id. ¶ 11; see also id.

   ¶ 12. Facebook imposes labels on Hoft’s content that require the reader, before viewing Hoft’s

   content, to click-through a Facebook-imposed screen that states: “The Gateway Pundit is an

   American far-right news and opinion website. The website is known for publishing falsehoods,

   hoaxes, and conspiracy theories.” Id. at 12. It also labels Hoft’s postings as “Missing Context”

   even when their truth is undisputed. Id. at 20-23. And it labels expressions of core political

   opinion as “Partly False.” Id. at 28; see also id. 29-58 (many other examples of such labeling and

   blocking from reposting on Facebook and Twitter).




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           1393. As Hoft notes, Facebook also prevents Hoft’s audiences from reposting or

   amplifying his content: “Facebook also [dis]courages (or otherwise outright prohibits) the public

   from sharing our content with their social networks.” Id. ¶ 13. Hoft describes this second-order

   censorship in detail: “The social-media platforms have extended their censorship policies to our

   followers as well. We have received numerous reports from followers that they have received

   temporary suspensions or other adverse actions from social-media platforms (such as seven-day

   suspensions of their Facebook accounts) for re-posting or amplifying our content. This chills our

   followers from re-posting, re-tweeting, or otherwise amplifying our content. The risk of being

   locked out of Facebook for seven days, or suffering other forms of censorship, deters our followers

   from amplifying our content on social media platforms, which reduces the reach of our message.”

   Id. ¶ 15.

           1394. Hoft also describes ongoing self-censorship to avoid more severe penalties on

   social media: “These social-media censorship policies chill GP’s freedom of expression on social

   media platforms as well. To avoid suspension and other forms of censorship, we frequently avoid

   posting content that we would otherwise post on social-media platforms, and we frequently alter

   content to make it less likely to trigger censorship policies.” Id. ¶ 16.

           1395. Hoft observes that the censorship of his content on social media closely tracks the

   censorship preferences of federal officials: “Based on my close observation of the patterns of

   censorship of GP’s social-media accounts and related accounts in recent years, I have strong reason

   to infer that federal government officials are directly involved in the censorship of our speech and

   content.” Id. ¶ 17. Hoft’s posts that have faced censorship include posts criticizing the FBI, id. at

   9; and criticizing the administration of the 2020 election, id. at 11;




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              1396. Hoft continues to experience censorship, including up to the date he executed his

   declaration. For example, he received a strike on YouTube on May 14, 2022, and YouTube

   removed the video he had posted, for speech regarding election integrity that discussed the problem

   of election fraud and raised questions about the outcome of the 2020 Presidential election,

   including money Idaho illegally received from Mark Zuckerberg and other problems relating to

   voter fraud. Id. ¶ 14.

              1397. Plaintiff Jill Hines is the “Co-Director of Health Freedom Louisiana, a consumer

   and human rights advocacy organization.” Doc. 10-12, ¶ 2. Hines’s “organization engages in

   public advocacy on behalf of Louisiana citizens on issues of health freedom and fundamental

   human rights. [Hines] ha[s] testified before the Louisiana legislature approximately 20 times on

   such issues.” Id. ¶ 3. Hines attests that, “Because our organization recognizes the need to educate

   and inform the public of their rights regarding state and federal laws concerning vaccinations, we

   have experienced social media censorship of our speech regarding vaccine information.” Id.¶ 2.

   Hines has “approximately 13,000 followers each on Health Freedom Louisiana and Reopen

   Louisiana.” Id. ¶ 2. Among other things, Hines’ organization “advocate[s] against the imposition

   of mask mandates on children, especially during prolonged periods, as in schools.” Id.¶ 4. Hines

   also “launched a grassroots effort called Reopen Louisiana on April 16, 2020 to help expand our

   reach on social media and take on the issues surrounding the continued government shutdown.”

   Id. ¶ 6.

              1398. Hines describes continuous and ongoing censorship on social media from pressure

   wielded by federal officials: “In the last two years, any information that was not positive in nature

   or conveyed adverse events associated with shutdown or mitigation efforts was deemed

   ‘misinformation.’ Dr. Anthony Fauci has used the term repeatedly and it has been adopted by the




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   press and media.” Id. ¶ 5. Hines continues to suffer ongoing social-media censorship, and the acts

   of censorship include application of warnings on Facebook content, id. ¶ 8; the reduction of her

   reach to audiences on Facebook, id.; removal of content and sanctions, including 30-day

   suspensions, from Facebook, id. ¶ 9; 24-hour suspensions that prevented her from organizing

   people to advocate to the Louisiana legislature, id. ¶ 10; shadow-banning and dramatically

   restricting the reach of her speech to its audiences, id. ¶ 10; and the complete de-platforming of

   Facebook groups intended to organize Louisianans to petition their government, id. ¶¶ 13-14. Ms.

   Hines states that “[r]emoving our closed group at such a crucial time effectively stopped our ability

   to communicate with our representatives in the state legislature.” Id. ¶ 14. “To say the cards are

   stacked against me is an understatement.” Id. ¶ 16.

          1399. Hines attests that the censorship campaign against her social-media speech is

   ongoing, noting that “[p]osts pointing to lack of safety of masking were and are targeted, as well

   as articles that mention adverse events of vaccinations, including VAERS data.” Id. ¶ 9. She

   continues to suffer specific, new acts of censorship, including right up to the time when she

   executed her Declaration on June 9, 2022: “The most recent restriction [was] in late May 2022.”

   Id. Ms. Hines notes that “[m]y personal Facebook page, and the Facebook pages of both Health

   Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely

   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶ 12.

          1400. Hines reports that acts of censorship of her COVID-19-related speech have

   occurred continuously up to the present: “Over the last year and a half since we noticed social-

   media censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’

   and ‘community standards’ violations.” Id. ¶ 11.




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          1401. Hines has observed a link between the censorship that her groups have experienced

   and the public demands for censorship from federal officials: “Many similar threats from federal

   officials followed … especially as covid became a public concern. In the last two years, any

   information that was not positive in nature or conveyed adverse events associated with shutdown

   or mitigation efforts was deemed ‘misinformation.’ Dr. Anthony Fauci has used the term

   repeatedly and it has been adopted by the press and media.” Id. ¶ 5.

          1402. Social-media censorship dramatically reduces the reach of Hines’s speech: “our

   analytics showed that we were reaching approximately 1.4 million people in a month’s time on

   one of our Facebook pages, but after sharing photos of the mouths of children suffering from

   impetigo from long-term mask use, our page received a warning and our reach was reduced to

   thousands.” Id. ¶ 8.

          1403. Hines experiences an ongoing campaign of social-media censorship that extends to

   the present, the date she executed her declaration: “This began a long series of attempts to censor

   our posts on Facebook and other social-media platforms. Posts pointing to lack of safety of

   masking were and are targeted, as well as articles that mention adverse events of vaccinations,

   including VAERS data. I was completely restricted from Facebook for 30 days starting in January

   2022 for sharing the image of a display board used in a legislative hearing that had Pfizer’s

   preclinical trial data on it. The most recent restriction, in late May 2022, was for re-posting an

   Epoch Times article that discussed a pre-print study detailing increased emergency calls for teens

   with myocarditis following covid vaccination.” Id. ¶ 9.

          1404. Censorship of Hines’s social-media speech directly impairs her efforts to engage in

   political organization to petition her government to change its policies: “One post in particular that

   was hit with a ‘community standards’ warning on October 6, 2020, was a ‘call to action’ asking




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   people to contact their legislators to end the governor’s mask mandate. On the same day, we were

   asking people to testify during the Legislature’s Second Extraordinary Session regarding a bill …

   that would prohibit a covid vaccine employee mandate. I was prohibited from posting for 24 hours

   on all pages, including my own. When I was finally able to post again, our reach was significantly

   diminished, compared with our 1.4 million per month rate beforehand. Our page engagement was

   almost non-existent for months. It felt like I was posting in a black hole. Each time you build

   viewership up, it is knocked back down with each violation. Our current analytics show Reopen

   Louisiana is reaching around 98,000 in the last month and Health Freedom Louisiana is only

   reaching 19,000. There are warnings when you search for Health Freedom Louisiana. People that

   regularly interacted with our page were never heard from again. Some people who did find the

   page later on, asked us where we went.” Id. ¶ 10.

          1405. Hines suffers repeated censorship on individual posts as well, including

   undisputedly truthful information: “Over the last year and a half since we noticed social-media

   censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’ and

   ‘community standards’ violations. Articles with health concerns related to mask wearing have been

   targeted … as well as articles relating to pregnant women being vaccinated. … Data taken directly

   from VAERS was flagged as misinformation and we received ‘fact checks’ for that as well, even

   if it contained a disclaimer about causation.” Id. ¶ 11.

          1406. Hines attests that she is under current and constant threat of more severe censorship

   penalties, including deplatforming: “My personal Facebook page, and the Facebook pages of both

   Health Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely

   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶12.




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           1407. Hines engages in self-censorship to avoid more severe penalties: “On many

   occasions, I have altered the spelling of words, used emoji’s, or placed links in comments to avoid

   censorship.” Id. ¶ 12.

           1408. Hines’s health-freedom groups were completely deplatformed, inflicting a severe

   and direct injury on her ability to engage in political organization to amplify her message and

   petition the government: “two of our Facebook groups were completely deplatformed, effectively

   disbanding a group of more than two thousand people who were organized to engage in direct

   advocacy to our state legislature, on two separate occasions. There were two groups that were

   deplatformed: HFL Group and North Shore HFL. … HFL Group had almost 2,000 people, and

   North Shore HFL had less than 500 before it was taken down.” Id. ¶ 13.

           1409. This censorship directly interfered with the core political speech and advocacy of

   Hines and thousands of Louisianans: “The last post I made in our HFL Group on July 13, 2021,

   was a ‘call to action’ for the upcoming Veto Session, asking people to contact legislators regarding

   health freedom legislation. During the regular legislative session, we had two bills that were passed

   successfully, but both were vetoed by the governor, including a hugely popular bill that prohibited

   the addition of vaccine information on a state issued driver’s license. The other bill provided

   immunity from liability for businesses that did not impose a covid vaccine mandate. Removing

   our closed group at such a crucial time effectively stopped our ability to communicate with our

   representatives in the state legislature.” Id. ¶ 14.

           1410. To this day, Hines’s political message, and those of thousands of Louisianans, is

   greatly diminished from this censorship: “After North Shore was deplatformed, we looked for

   alternatives for daily communication. We were to the point of speaking in code on Facebook, so




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   moving away from traditional social media was the only option. We currently have 80 members

   in a chat app called GroupMe. We have no statewide reach with that tool.” Id. ¶ 15.

          1411. Censorship undercuts Hines’s ability to “effectively communicate with people,”

   including Louisiana state officials, about her political views: “It has been incredibly frustrating

   knowing that the government’s narrative is going unchallenged and that we have not been able to

   effectively communicate with people. Knowing that government agencies colluded with Facebook

   to suppress the messaging of groups like mine while paying exorbitant amounts to promote

   vaccinations and covid policies has been especially disheartening. To say the cards are stacked

   against me is an understatement.” Id.¶ 16.

          B.      Defendants Gravely Injure Similarly Situated Speakers and Listeners.

          1412. Plaintiffs’ unrebutted evidence demonstrates that other similarly situated speakers

   have suffered and are suffering similar, ongoing, and imminent injuries from government-induced

   censorship on social media.

          1413. For example, Michael Senger had over 112,000 followers on Twitter, including in

   Missouri and Louisiana; he attests that he was twice suspended from Twitter and then permanently

   banned for posting Tweets critical of government policies for responding to COVID-19. Doc. 10-

   2, ¶¶ 4-8. He was temporarily suspended twice for tweets criticizing the FDA’s emergency

   approval of COVID vaccines and for posting a video document public officials’ statements on

   vaccine effectiveness. Id.¶ 4-6. On March 8, 2022, he was permanently suspended from Twitter

   for posting a statement of core political opinion criticizing government policy, stating that “every

   COVID policy—from the lockdowns and masks to the tests, death coding, and vaccine passes—

   has been one, giant fraud.” Id.¶ 7-8. This permanent suspension was inconsistent with Twitter’s

   own policies. Id.¶ 10. Senger attests that the censorship inflicts ongoing harm on him, both




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   “personally and professionally”: “I discovered a gift that I had for writing and developed a network

   of thousands of intelligent people from all over the world with whom I had a close relationship

   discussing these and other issues. Now I have been silenced and cut off from all of them, with no

   viable way of getting that network back or promoting my work, seemingly for the sole crime of

   being too articulate in vocalizing my beliefs.” Id. ¶ 13.

          1414. Jeff Allen is the proprietor of “NewsTalkSTL, a popular news talk radio station in

   the St. Louis, Missouri region,” which “enjoys a substantial Missouri audience.” Doc. 10-8, ¶¶ 2-

   3. His station posts content on YouTube, and he describes how the station “has been targeted by

   YouTube from the moment of its launch in July 2021” through the present, including flagging the

   station’s first promotional video, and issuing “strikes” for “COVID-related and election-related

   ‘misinformation.’” Id. ¶¶ 4-6. These include removing a video of a show that “featured discussion

   of timely COVID issues, including testing and vaccines and treatments,” and issuing a strike for

   that posting. Id. ¶¶ 9-10. His station “continued to receive strikes” from YouTube “in the first

   week of January and into February, 2022” for COVID-related content, id. ¶ 12. On March 14,

   2022, Allen’s station aired a show on “election integrity” that did not claim any election was stolen,

   but discussed polling data indicating that many Americans have grave concerns about election

   integrity. Id. ¶¶ 13-14. On March 21, 2022, YouTube permanently removed the station’s channel

   as a result of that posting. Id.¶ 15. “In so doing, YouTube deleted all of our content and prevented

   any more posts, silencing our voice and our expression from the platform entirely.” Id.¶ 16.

          1415. Allen has also experienced significant and ongoing censorship from Facebook:

   “Facebook has also targeted our content, pulling advertisements and issuing temporary

   suspensions, also for COVID and election-related ‘misinformation.’” Id. ¶ 18.




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          1416. Mark Changizi is a commentator on Twitter with 37,000 followers, including many

   in Missouri and Louisiana. Doc. 10-9, ¶ 7, 38. Changizi experiences longstanding and ongoing

   censorship on Twitter, including a first suspension on April 20, 2021 “for linking to an article on

   the safety and efficacy of face masks,” id. ¶ 18; additional suspension on June 25, 2021, id.¶ 19;

   having his account secretly “heavily censored and deboosted,” meaning that “the user’s tweets are

   de-platformed—they appear in Twitter feeds much less frequently and replies to other posts may

   be hidden,” id. ¶ 20; covert loss of followers, much like Dr. Kheriaty, ¶ 21; and a permanent Twitter

   suspension on December 18, 2021, for tweets comparing the danger of COVID-19 to the flu and

   promoting the benefits of natural immunity, id. ¶ 23. He experiences similar shadow-banning by

   YouTube, as his “follower-ships at YouTube also plateaued and reversed despite the fact that [he]

   was very active,” id. ¶ 31. He observes that Twitter is also censoring his private direct messages

   to other Twitter users, id. ¶¶ 32-35. And two of his YouTube videos are also censored with their

   content removed from YouTube. Id. ¶ 36.

          1417.    Changizi engages in self-censorship on social media to avoid more severe

   penalties, id. ¶¶ 39-42, and he has “become very careful about what I say on Twitter and YouTube

   (and Facebook and Instagram) to avoid suspension.” Id. ¶ 39.

          1418. Changizi perceives a link between the censorship he experiences and pressure from

   federal officials, id.¶¶ 43-47. He observes: “Twitter notoriously suspends only those who question

   the wisdom and efficacy of government restrictions, or who cast doubt on the safety or efficacy of

   the vaccines.” Id.¶ 50. He also observes the pro-government bias in social-media censorship

   decisions: “there are no examples of Twitter suspending individuals who have spread

   misinformation from the other side—by, for example, exaggerating the efficacy of masks or the

   threat the virus poses to children.” Id.¶ 51.




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          1419. Daniel Kotzin observes that his censorship at Twitter began in September 2021,

   after which he was suspended by Twitter four times, including a 24-hour suspension, two seven-

   day suspensions, and a permanent ban. Doc. 10-10, ¶¶ 11-12. He received these penalties for

   tweets questioning whether COVID vaccines reduce infection and transmission, referring to

   natural immunity, and criticizing government policies on lockdowns and mask mandates. Id. ¶¶

   13, 15, 17. He was permanently suspended on April 29, 2022, for a truthful tweet stating:

   “Myocarditis, pericarditis, blood clots, and strokes are known potential side effects of covid

   vaccination. That is not my idea of safe.” Id. ¶ 19.

          1420. Kotzin attests that “[p]ermanent expulsion from Twitter has been devastating for

   me. I had spent 2 years building my Twitter following. Two years ago, I had fewer than 100

   followers, and at the time of my permanent suspension I had nearly 32,000. When my account is

   suspended, I am unable to communicate with my followers.” Id. ¶¶ 21-23.

          1421. Kotzin observes an increase in censorship on Twitter after the Surgeon General’s

   Request for Information issued on March 3, 2022. “Based on my observations and extensive

   Twitter use, many more accounts than usual have been suspended since the Surgeon General’s RFI

   on March 3.” Id. ¶ 25. This increase in censorship affected Kotzin directly: “Since the Surgeon

   General’s Request for “health misinformation” in March [2022] I have been suspended four times

   by Twitter, and have now been permanently banned.” Id. ¶ 35.

          1422. Kotzin notes that suspension results in loss of one’s own prior expression: “When

   an account is permanently suspended, everything the person ever wrote is erased and cannot be

   accessed by anyone.” Id. ¶ 27.

          1423. Kotzin describes that he “methodically self-censored” to avoid permanent

   suspension: “Since the [Surgeon General’s] RFI, many of us who are critical of government covid




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   policies have been regulating our speech more carefully than ever, because we have noticed that

   more of us are getting suspended than ever before, and we don’t want to risk losing our audience.

   I considered the possibility of ‘permanent suspension’ to be such a devastating prospect that I

   methodically self-censored.” Id. ¶¶ 28-29; see also id. ¶¶ 31-32.

          1424. Kotzin observes a close link between social-media censorship and the federal

   government’s policies and preferred narratives: “Twitter suspends only those who question the

   wisdom and efficacy of government restrictions, or those who cast doubt on the necessity, safety

   or efficacy of the vaccines. If all or almost all suspensions are targeted at critics of the government

   and government policies, and no or almost no suspensions are targeted at purveyors of factually

   incorrect information, then it is not ‘misinformation’ that is being censored, but criticism of the

   government.” Id. ¶¶ 34-35.

          1425. Joshua McCollum is a concerned parent in a school district in Missouri. Doc. 10-

   14, ¶¶ 1-4. Like Hines, he has experienced censorship that directly interferes with his ability to

   organize, associate with like-minded people, and petition his local government: “On or about July

   28, 2021, in the midst of discussing with others a recent school board meeting related to masks,

   and whether FHSD would keep its policy of optional masking versus change their policy to

   mandatory masking, [McCollum] decided to launch an online petition to encourage the board

   members to keep their optional masking policy and not change to mandatory masking.” Id. ¶ 9.

   Through his account on Nextdoor (a Meta/Facebook platform), he posted this petition on

   change.org, and “[t]he posting of this petition on change.org was the beginning of the shadow-

   banning and blocking of my Nextdoor account.” Id. ¶ 11. Comments were blocked from his

   Nextdoor account, and then his Nextdoor account was suspended for one month for “spreading

   misinformation.” Id.¶¶ 12-14. This censorship prevented him from organizing, associating with




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   others, and petitioning his local government, when those on the other side of the issue were allowed

   to do so: “Subsequently, on August 12, 2021, FHSD decided to reinstate their mandatory masking

   policy, shortly after the voice of myself and the 280 fellow petition signers was suppressed. There

   were petitions encouraging reinstatement of mandatory masking, but our contrary petition was

   suppressed by Nextdoor. I am a parent simply trying to have a voice in my local school district

   and its policies regarding my own children, but social media has stooped down to censor even my

   voice within my local community.” Id.¶¶ 15-17.

           1426. Jessica Marie Gulmire is a freelance journalist for the Epoch Times who resides in

   Missouri, and has readership in Missouri and Louisiana. Doc. 10-15, ¶¶ 1-3. Gulmire has “been

   censored numerous times by Facebook and Twitter even before I joined The Epoch Times in the

   summer of 2021,” as her “personal posts regarding excessive COVID-19 measures and regarding

   the election were repeatedly flagged and taken down by Facebook and Twitter.” Id. ¶¶ 7-8. Her

   journalism for the Epoch Times has also been censored by Facebook, including an article

   questioning the evidence for vaccinating pregnant women with COVID-19 vaccines that was later

   validated by Pfizer documents, id. ¶¶ 10-13; and an article in March 2022 for The Federalist about

   the People’s Convoy of truckers in the United States supporting their Canadian counterparts, id.

   18-19. She has also had eleven articles about “mask mandates, vaccines, lockdowns and mental

   health” censored on Pinterest, id. ¶ 17.

           C.      Defendants Gravely Injure the State Plaintiffs, Louisiana and Missouri.

                   1.     Fundamental policies favoring freedom of speech for their citizens.

           1427. Both Louisiana and Missouri have adopted fundamental policies favoring freedom

   of speech, without government-induced censorship, for their citizens. L A. CONST. art. I, § 7; MO.

   CONST. art. I, § 8.




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                  2.     Direct censorship of the States and their political subdivisions.

          1428. Both Louisiana and Missouri, and their political subdivisions, have experienced

   direct social-media censorship on COVID and related issues.            For example, Louisiana’s

   Department of Justice—the office of its Attorney General—was directly censored on YouTube for

   posting video footage of Louisianans criticizing mask mandates and COVID-19 lockdown

   measures on August 18, 2021—on August 18, 2021, just after the federal Defendants’ most

   vociferous calls for censorship of COVID “misinformation.” Bosch Decl., Doc. 10-13, ¶ 7.

          1429. In addition, a Louisiana state legislator was censored by Facebook when he posted

   content addressing vaccinating children against COVID-19. Bosch Decl., Doc. 10-13, ¶ 9.

          1430. St. Louis County, a political subdivision of Missouri, conducted public meetings

   regarding proposed county-wide mask mandates, at which some citizens made public comments

   opposing mask mandates. Flesh Decl., Doc. 10-6, ¶ 7. Missouri’s open-meetings law required St.

   Louis County to post publicly the videos of those meetings, but YouTube censored the entire

   videos of four public meetings, removing the content, because some citizens publicly expressed

   views that masks are ineffective. Id.

                  3. The States’ interest in following the uncensored discourse of their citizens.

          1431. Patrick Flesch, Director of Constituent Services for the Missouri Attorney

   General’s Office, explains that he is “personally involved in, receiving, reviewing, and responding

   to thousands of communications from Missouri constituents per year.” Doc. 10-6, ¶ 3. He explains

   that being able to follow Missourians’ uncensored speech on social media is essential for him to

   do his job effectively, as understanding Missourians’ true thoughts and concerns on policy matters

   like election integrity and COVID-19 is necessary to craft policies and messages that are

   responsive to constituents’ actual concerns. Doc. 10-6, ¶ 3-4. This “includes monitoring activity




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   and mentions on multiple social media platforms, including Facebook, Twitter, and YouTube.”

   Id. “I monitor these sorts of trends on a daily or even hourly basis when needed on behalf of the

   Office.” Id. (emphasis added). For example, regarding the censorship of St. Louis County’s video

   of its public meeting where citizens opposed mask mandates, Flesch notes: “This video is just the

   sort of information that is important for me to review, and yet it was unavailable for a critical

   period of time due to online censorship of speech questioning the efficacy of mask mandates.”

   Id.¶ 7. Likewise, regarding YouTube censoring Jeff Allen’s radio station NewsTalkSTL, and

   Nextdoor censoring Joshua McCollum’s online petition, Flesch observes: “These examples are

   just the sort of online speech by Missourians that it is important for me and the Missouri Attorney

   General’s Office to be aware of.” Id. ¶¶ 9.

          1432. As Flesch attests, “The kinds of speech discussed above and in the Complaint in

   this case—such as speech about the efficacy of COVID-19 restrictions, and speech about issues of

   election security and election integrity—are matters of core interest and high importance to me in

   my work on behalf of the AGO. When such speech is censored on social media, it makes it much

   harder for me to do my job and to understand what Missourians really are concerned about.” Id.¶

   10.

          1433. As Mr. Flesch explains in detail: “Issues regarding COVID-19 responses (such as

   mask mandates imposed by municipalities and school districts on schoolchildren) and election

   security and integrity have been of critical importance to Missourians in recent months and years.

   … It is very important for me to have access to free public discourse on social media on these

   issues so I can understand what Missourians are actually thinking, feeling, and expressing about

   such issues, and so I can communicate effectively with them.” Id. ¶ 5. “[O]nline censorship of




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   free public discourse on social-media companies has hampered my ability to follow Missourians’

   speech on these issues.” Id. ¶ 6.

          1434. Ashley Bosch, Communications Officer for the Louisiana Department of Justice,

   attests on behalf of the State of Louisiana: “Part of my job is to gather and synthesize topical

   subject matters that are important to Louisiana citizens, on behalf of the Department.” Doc. 10-

   13, ¶ 4. “Understanding what subject matters and issues are important to Louisianans is critical

   for the Department to formulate policies and messaging that will address the concerns expressed

   by our constituents.” Id. This “includes monitoring activity and mentions on social media

   platforms, including Facebook, Instagram, Twitter, and YouTube.” Id. Doc. 10-13, ¶ 4. “It is

   very important for me to have access to free public discourse on social media on these issues so I

   can understand what our constituents are actually thinking, feeling, and expressing about such

   issues, and so I can communicate properly with them.” Id. ¶ 5. “Online censorship of Louisiana

   citizens by social media companies interferes with my ability to follow Louisianans’ speech on

   these issues.” Id. ¶ 6. Bosch notes that it is particularly important for her to follow Louisianan’s

   speech on topics of federally-induced censorship: “For example, mask and vaccine mandates for

   students have been a very important source of concern and public discussion by Louisiana citizens

   over the last year.” Doc. 10-13, ¶ 5. “Louisianans’ speech about the efficacy of COVID-19

   restrictions, and speech about issues of election security and election integrity are matters of great

   interest and importance to me in my work on behalf of the Louisiana Department of Justice.” Doc.

   10-13, ¶ 10.

          1435. As noted above, Defendants’ witness from the CDC, Carol Crawford, attests to

   exactly the same government interest in being able to read and follow the true, uncensored opinions

   of the government’s constituents.




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          1436. Crawford admits that government communicators have a strong interest in tracking

   what their constituents are saying on social media: “It's helpful for communicators to know what

   is being discussed because it helps improve our communication materials.” Crawford Dep. 53:10-

   12. Crawford emphasized this point multiple times: “as I mentioned before, it does help … for

   communicators to know what conversations occurs on social media because it helps us identify

   gaps in knowledge, or confusion, or things that we're not communicating effectively that we need

   to adjust.” Id. 54:15-20.

          1437. Crawford said that CrowdTangle reports “would help us understand what was being

   discussed on social media about COVID, which helps us look for gaps in information, confusion

   about facts, things that we might need to adjust our communication materials for.” Id. 57:24-58:3.

   Crawford specifically expressed the concern that, if content was censored or removed from social-

   media platforms, government communicators would not know what the citizens’ true concerns

   were: She “was wondering if they delete the info will we know those myths or information so we

   could update communication activity. So if they were deleting content would we know what the

   themes were.” Id. 75:14-18. Accordingly, Crawford wanted to know, “would [CDC] be able to

   see in CrowdTangle or other reports … what kind of themes were removed so we would still have

   the full picture of areas of confusion.” Id. 75:23-76:1.

          4.      States’ interest in fair, unbiased, open processes to petition state government.

          1438. Social-media censorship directly interferes with the States’ interest maintaining

   fair, even-handed, and open processes for petitioning their own governments and political

   subdivisions. When one side of a debate can organize on Facebook or Nextdoor and petition the

   government, and the other side cannot because of social-media censorship, that means that state

   officials never receive a fair, unbiased presentation of their constituents’ views.




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          1 9. As noted above, social-media censorship has perverted state and local political

   processes by artificially restricting access to the channels of advocacy to one side of various issues.

   For example, social-media censorship prevented Louisiana advocacy groups from organizing

   effectively to advocate in favor of legislative action on issues of great public import. Hines Decl.,

   Doc. 10-12, ¶¶ 13-14. Likewise, social-media censorship prevented a Missouri parent from

   circulating an online petition to advocate against mandatory masking at his local school district, a

   political subdivision of the State. McCollum Decl., Doc. 10-14, ¶¶ 9-17; see also Doc. 10-12, ¶¶

   13-14; Doc. 10-14, ¶¶ 9-17; Doc. 10-15, ¶¶ 11-16, 18-19.

          1     . Plaintiff Jill Hines explains that “two of our Facebook groups were completely

   deplatformed, effectively disbanding a group of more than two thousand people who were

   organized to engage in direct advocacy to our state legislature, on two separate occasions.” Doc.

   10-12, ¶ 13. She attests that “[t]he last post I made in our HFL Group on July 13, 2021, was a ‘call

   to action’ for the upcoming Veto Session, asking people to contact legislators regarding health

   freedom legislation..” Id. ¶ 14. Suppressing these Facebook groups directly interfered with state

   officials’ ability to receive free and fair communications of their constituents’ concerns:

   “Removing our closed group at such crucial time effectively stopped our ability to communicate

   with our representatives in the state legislature.” Id.

          5. State quasi-sovereign interests.

          1 1. The States also assert quasi-sovereign interests in protecting the freedom of speech

   of a substantial segment of their population—i.e., their citizens who are both speakers and

   audiences of speech on social media; and in ensuring that their citizens receive the full benefit of

   participation in the federal system—which includes, among other benefits, the full protection of

   the First Amendment.




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          1442. Based on the foregoing evidence, social-media censorship afflicts a substantial

   segment of the populations of both Missouri and Louisiana.




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    Dated: March 6, 2023                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on March 6, 2023, I caused a true and correct copy of the foregoing

   to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

   electronic filing system on counsel for all parties who have entered in the case.

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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


  STATE OF LOUISIANA, et al.,

      Plaintiffs,

                    v.
                                                         Civil Action No. 22-cv-1213
  JOSEPH R. BIDEN, JR., in his official
  capacity as President of the United States of
  America, et al.,

      Defendants.


                         DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                          MOTION FOR PRELIMINARY INJUNCTION




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                                        INTRODUCTION

        The record in this case shows that the Federal Government promoted necessary and

 responsible actions to protect public health, safety, and security when confronted by a deadly

 pandemic and hostile foreign assaults on critical election infrastructure. Among those efforts,

 various agencies and officials spoke publicly and privately with social media companies to

 promote the Government’s message on issues of public health and safety, identify potential threats

 to election integrity and security on social media, and call the companies’ attention to

 misinformation spreading on their platforms.

        Plaintiffs condemn these efforts as a wide-ranging “Censorship Enterprise” constituting

 “some of the most egregious First Amendment violations in American history.” Pls.’ Supp. Prelim.

 Inj. Br. at 1 (Dkt. 214) (“PI Supp.”). To do so, Plaintiffs press a far-ranging conspiracy theory in

 which dozens of federal agencies and officials, across multiple administrations, have allegedly

 coerced or colluded with every large-scale social media company to suppress speech and speakers

 expressing views on COVID-19 and election integrity that are “disfavored” by the current

 Administration. But Plaintiffs’ repetition of the word “censorship” and its equivalents does not

 cure the significant factual deficiencies in their theory—including that much of the challenged

 conduct occurred in the previous Administration—or transform sheer speculation into concrete

 proof. Indeed, despite receiving thousands of pages of documents and deposing multiple federal

 officials over an eight-month period, Plaintiffs fail to cite any evidence of past or (critically)

 imminent violations of their First Amendment rights to support their request for extraordinary

 preliminary relief. And when confronted with evidence that undermines their arguments, Plaintiffs

 urge the Court to simply disregard the facts and adopt Plaintiffs’ conclusory allegations and

 speculations instead. Although the Court accepted Plaintiffs’ factual allegations in ruling on

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 Defendants’ motion to dismiss, allegations alone are not enough to justify preliminary injunctive

 relief. Plaintiffs must now back up their allegations with evidence. Their failure to do so

 necessarily means that they cannot meet any of the preliminary injunction requirements.

        First, and most starkly, Plaintiffs cannot establish that they will suffer any ongoing or

 imminent irreparable harm in the absence of a preliminary injunction. In their more than 500 pages

 of briefing, Plaintiffs devote just two sentences to this dispositive factor. And the only argument

 Plaintiffs advance is that because they have alleged a First Amendment violation, irreparable harm

 must be assumed. But even when a First Amendment violation is alleged, a plaintiff still must

 establish that the allegedly ongoing or imminent harm is real. Plaintiffs’ stale, nearly year-old

 declarations pointing to even older content moderation decisions fail to make that showing.

        Second, Plaintiffs cannot establish a likelihood of success on the merits. To start, Plaintiffs

 lack Article III standing. They submit no evidence of an impending harm to a legally cognizable

 interest. Nor do they submit evidence supporting their far-fetched assertion that impending

 harms—whatever they may be—will result from the Government’s alleged coercion of social

 media companies, rather than the companies’ own economic interest in maximizing advertising

 revenues (the lifeblood of their businesses) and societal influences that inform the companies’

 content moderation decisions. Absent this type of evidence, Plaintiffs have no basis for concluding

 that social media companies, which have regulated content on their platforms since the industry’s

 earliest days and which are not parties to this case, will spontaneously cease their content

 moderation efforts if the Court enjoins the Government from speaking.

        Plaintiffs’ claims fare no better on the merits. To succeed on their First Amendment claims,

 Plaintiffs must first make the difficult showing that a particular content moderation decision that

 harmed them is attributable to a particular Defendant. The Supreme Court has repeatedly held that




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 the government may be deemed responsible for private conduct only if (1) the government

 coerced, or significantly encouraged to the point of compelling, the private party into engaging in

 that conduct, or (2) the government jointly participated in that conduct to such an extent that the

 private party operated as a government actor. The record here contains no evidence satisfying these

 demanding standards. Rather, it shows that government officials expressed positions on matters of

 significant public concern—precisely what the Government is entitled to do, and indeed what the

 public expects. The Constitution preserves the Government’s right to encourage specific private

 behavior, such as joining a war effort, stopping the sale of cigarettes to children, and—in this

 case—reducing the spread of misinformation that undermines election security or the nation’s

 efforts to protect the public from the spread of a deadly disease. A social media company’s

 independent decision to follow the Government’s urgings does not transform the company’s

 conduct into government action.

        Nor does the statutory environment alter the analysis. Plaintiffs make much of the fact that

 federal officials, including members of a separate branch of government, have advocated for

 reform to § 230 of the Communications Decency Act. Those calls for reform have come from

 Members of Congress from both major political parties, federal officials from multiple

 administrations, and Defendants and non-Defendants alike. That social media companies—like

 many other important companies—face the potential for legislative reform does not transform each

 and every suggestion or encouragement from a federal official into a potential constitutional

 problem. Yet adopting Plaintiffs’ legal theory would have precisely that result, thrusting courts

 into the role of policing every communication from any federal official to or about a social media

 company, and disabling federal officials from freely advocating in the public interest as to some




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 of the most critical actors in our society. Neither the state action doctrine nor the First Amendment

 warrants that result.

        In tacit acknowledgement that they cannot satisfy the actual state action standard, Plaintiffs

 repeatedly urge the Court to water that standard down, or even to adopt Plaintiffs’ newly created

 state action theories (such as “deception” or “collusion”) instead. Plaintiffs then repeatedly

 mischaracterize the evidence to fit those newly fabricated theories. But no matter how Plaintiffs

 spin the law or the evidence, they fail to satisfy their burden of showing that any single Defendant

 is responsible for any particular content moderation decision under settled state action principles.

 And in the absence of any such evidence, Plaintiffs’ claims do not vindicate any free speech

 interest. Rather, they simply seek to portray government speech on a range of topics with which

 Plaintiffs disagree as “censorship” and to invoke the authority of the Court to silence that speech.

 The First Amendment lends no support to that effort.

        Plaintiffs face no greater likelihood of success on their ultra vires and Administrative

 Procedure Act (APA) claims. Those claims run up against several jurisdictional hurdles. And on

 the merits, Plaintiffs merely rehash their failed First Amendment claims and advance a claim of

 procedurally improper rulemaking that is specious on its face.

        Third, the balance of harms tips sharply in favor of Defendants. Plaintiffs’ interests in

 preventing interference with their First Amendment freedoms may be substantial in the abstract,

 but on this record, they are entirely speculative, and they are far outweighed by the Government’s

 interest in speaking and taking action to promote the public interest. Plaintiffs’ sweeping and vague

 proposed injunction would effectively muzzle the White House and multiple federal agencies, with

 dire consequences for law enforcement, national security, and public health interests that

 Defendants have the power and duty to protect. In particular, as explained in five agency




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 declarations filed with this brief, Plaintiffs’ proposed injunction could prevent the dissemination

 of vital public health information, communications with social media companies about criminal

 activity in process on their platforms, and efforts to act on national security threats relating to

 international terrorism and election security. The resulting harm inflicted on society as a whole is

 reason enough to deny Plaintiffs’ requested preliminary injunction.

        Moreover, even if Plaintiffs could satisfy each of the requirements for a preliminary

 injunction, their proposed injunction should be denied because it fails to satisfy the specificity

 requirement of Federal Rule of Civil Procedure 65(d). The proposed injunction’s numerous vague

 and undefined terms fail to put Defendants on reasonable notice as to what conduct is enjoined.

 The injunction is also overbroad, as it would sweep in a host of government conduct that does not

 implicate any protected First Amendment interest, while obstructing legitimate efforts by the

 Federal Government to fulfill its critical law enforcement, national security, and public health

 missions.

        The Court should deny Plaintiffs’ motion for a preliminary injunction.

                  BACKGROUND AND PROPOSED FINDINGS OF FACT
 I.     For years, in response to public sentiment, social media companies have sought to
        identify and contain misinformation on their platforms.
        A. Since their emergence, social media companies have been economically
           incentivized to moderate content on their platforms.
        1.    Social media companies, such as Facebook, Twitter, and YouTube, are for-profit

 companies that allow users and advertisers to post content on their platforms subject to their terms

 of service. Since the emergence of the first social media companies in the early 2000s, these

 companies have moderated content uploaded to their platforms. See, e.g., Making the Internet Safe

 for Kids: The Role of ISP’s and Social Networking Sites: Hearing Before the Subcomm. on

 Oversight & Investigations of the H. Comm. on Energy & Com., 109th Cong. 214-16 (2006)



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 (statement of Chris Kelly, Chief Privacy Officer, Facebook.com, Inc.); see also id. at 219

 (statement of Michael Agnus, Executive Vice President & General Counsel, MySpace).1 For

 example, as early as 2003, the earliest social media platforms (e.g., Friendster) had terms of service

 that included content moderation provisions that barred, among other things, false and misleading

 information. Declaration of Dr. Stuart Gurrea (Gurrea Decl.) ¶¶ 12, 68 (Ex. 1). Over the years as

 social media companies grew and developed, including periods well before 2020, content

 moderation by the companies “has responded to evolving concerns, including terrorism, election

 interference, and public health concerns.” Id. Today, each major company requires users and

 advertisers to agree to extensive conditions—including conditions related to content moderation—

 in exchange for authorization to use its platforms.2

        2.     As Defendants’ expert economist Dr. Stuart Gurrea has explained, social media

 platforms are intrinsically economically incentivized to moderate content on their platforms

 because moderation contributes to retaining users and increasing their engagement. Gurrea Decl.

 ¶¶ 12, 44-46. (Ex. 1). 3 Increased user numbers and engagement, in turn, increases the number of


 1
   See Gurrea Decl. ¶¶ 12-13 (Ex. 1) (explaining that social media companies have moderated
 content since their emergence).
 2
   See Gurrea Decl. ¶ 12 (Ex. 1).
 3
   Social media platforms are a type of two- (or multi-) sided market where, on one side of the
 platform, users interact with each other or access content and, on the other side, advertisers target
 consumers through the platform. Gurrea Decl. ¶ 33 (Ex. 1). Typically, social media platforms
 attract and maintain a large user base and collect user data—and users derive more value from the
 platforms as the number of users increase. Id. ¶ 34. On the other side of the platform, advertisers
 target users with specific demographic characteristics or interests, and social media platforms
 facilitate this targeted advertising by relying on user data. Id. ¶ 35. Advertisers on social media
 platforms want their products displayed on their platform in a manner that enhances the brand
 reputation of the product, as brand reputation affects consumer decisions. Id. ¶ 36. And because
 social media platforms primarily generate revenue through advertising, it is in their economic
 interest to attract a large user base and increase user engagement. Id. ¶ 39. Consequently, “social
 media platforms are incentivized economically to moderate content on their platforms because
 content moderation is a quality-control decision that impacts user engagement and advertising
 revenue.” Id. ¶ 42.


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 people viewing advertisements, thus resulting in an increase in both advertising revenues and

 platforms’ profits. Id. ¶¶ 11, 41. In addition, content moderation that preserves or enhances the

 reputation and value of an advertiser’s product directly makes the platform more valuable to the

 advertiser, and therefore increases advertising revenues and the platform’s profits. Id. ¶¶ 12, 38,

 48. Conversely, inadequate content moderation that is detrimental to user engagement likely will

 reduce advertising revenue because the value of a platform to advertisers depends on the level of

 user engagement and the quality of the user experience. Id. ¶¶ 12, 38, 45, 54, 62. This is particularly

 true for Twitter, Facebook, and YouTube, among others, as they operate under “particularly strong

 economic incentives to moderate content,” because they rely on a large user base to attract

 advertisers and thus focus on retaining the large group of users who may be alienated by more

 extreme views. Id. ¶ 44.

        3.     Consistent with Dr. Gurrea’s analysis, the social media companies themselves have

 commented publicly that they adopt and apply their content moderation policies based on customer

 and advertiser demands. For example, a former representative from Twitter recently explained in

 congressional testimony that the company has long seen the “lawful but awful . . . speech of a

 small number of abusive users drive away countless others.” See Ex. 2 at 6 (Protecting Speech

 from Government Interference and Social Media Bias, Part 1: Twitter’s Role in Suppressing the

 Biden Laptop Story: Hearing Before the H. Comm on Oversight & Accountability, 118th Cong.

 (2023)); see also id. at 5 (emphasizing the importance of “the health of the conversation”).

 Twitter’s decision to adopt and apply content moderation policies “was based on customer

 research, advertiser feedback, Twitter’s declining revenue, user growth, and stock price.” Id.

        4.     Other social media platforms similarly have attested to the user and advertiser

 preferences that have long impelled platform content moderation policies and measures. For




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 example, a YouTube representative has explained that “advertisers typically do not want to be

 associated with controversial or sensitive content on YouTube,” and so the company allows

 content creators “the privilege of earning advertiser revenue,” or “monetization,” of the videos

 they post, only if those content creators “meet more restrictive criteria, including” certain

 “Advertiser-friendly Content Guidelines.” Declaration of Alexandra N. Veitch ¶¶ 17, 50,

 Netchoice, LLC v. Paxton, No. 21-cv-840 (W.D. Tx. Sept. 30, 2021), ECF No. 8-5 (Ex. 3). And

 similarly, “advertisers will not advertise on Facebook if they believe it is not effective at removing

 harmful content or content that violates [its] community standards. Indeed, people and advertisers

 have stopped using Facebook due to these concerns.” Declaration of Neil Potts ¶ 8, Netchoice,

 LLC v. Paxton, No. 21-cv-840 (W.D. Tx. Sept. 30, 2021), ECF No. 8-6 (Ex. 4); cf. NetChoice,

 LLC v. Paxton, 49 F.4th 439 (5th Cir. 2022) (vacating preliminary injunction and remanding),

 pet’n for cert. filed, No. 22-555 (U.S. Dec. 15, 2022).

        5.     Platform responses to advertiser concerns stem from real world experience. In 2017,

 for example, a wave of companies pulled their advertisements from YouTube for fear of

 association with “offensive or extremist videos,” before YouTube bolstered its policies and

 enforcement. See Ex. 84 at 2 (Brett Molina, Many YouTube creators frustrated by changes in

 policies, practices, USA TODAY (Apr. 5, 2018)) (“Major advertisers including AT&T and

 Verizon started pulling their business from YouTube in March 2017 after discovering their ads

 were appearing on offensive or extremist videos. YouTube parent company Google said it would

 start an ‘extensive review’ of its ad policies.”). In 2020, Facebook similarly was forced to address

 advertiser concerns when “[m]ore than 750 companies including Coca-Cola, Hershey and

 Unilever . . . temporarily paused their advertising on Facebook and its subsidiary Instagram” upon

 being “unimpressed with promises to better police hate speech.” Ex. 150 (Elizabeth Dwoskin &




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 Taylor Telford, Facebook is working to persuade advertisers to abandon their boycott. So far, they

 aren’t impressed., Wash. Post (Jul. 3, 2020)). 4

        B. After the 2016 U.S. presidential election, social media companies took significant
           steps to combat election-related influence campaigns and misinformation on their
           platforms.
        6.    Although social media companies have long moderated content on their platforms,

 see Gurrea Decl. ¶¶ 66-78 (Ex. 1), the 2016 U.S. presidential election marked a turning point for

 the companies. The U.S. intelligence community, 5 a Department of Justice-appointed special

 counsel, 6 and bipartisan majorities of the intelligence committees for both houses of Congress all

 concluded that Russian agents had interfered with the 2016 election, including by conducting an

 influence campaign on social media. See, e.g., Ex. 7 at 14 (H. Permanent Select Comm. on Intell.,

 Report on Russian Active Measures, H.R. Rep. No. 115-1110 (2018)) (finding that “Russian

 intelligence leveraged social media in an attempt to sow social discord and to undermine the U.S.

 electoral process”). 7 Among its many findings, the House Permanent Select Committee on


 4
   Recent events, too, confirm that market forces demand that social media companies adopt and
 apply content moderation policies. For example, when Elon Musk in 2022 acquired control of
 Twitter and substantially relaxed its content moderation policies, Twitter lost half of its top
 advertisers, according to a report by Media Matters for America. See Ex. 5 at 2 (Halisia Hubbard,
 Twitter has lost 50 of its top 100 advertisers since Elon Musk took over, report says, Nat’l Public
 Radio (Nov. 25, 2022)). Twitter also is estimated to lose 32 million users over the next two years,
 including based on concerns about the proliferation of hate speech because of Mr. Musk’s
 relaxation of Twitter’s content moderation policies, according to a forecast by Insider Intelligence.
 See Ex. 6 at 2 (Mark Sweney, Twitter ‘to lose 32m users in two years after Elon Musk Takeover,’
 The Guardian (Dec. 13, 2022)).
 5
   See Ex. 8 (Office of the Director of National Intelligence, Background to “Assessing Russian
 Activities and Intentions in Recent U.S. Elections”: The Analytic Process and Cyber Incident
 Attribution (2017)).
 6
   See Special Counsel Robert S. Mueller, III, U.S. Dep’t of Justice, Report on the Investigation
 into Russian Interference in the 2016 Presidential Election (2019) (Redacted version released Apr.
 18, 2019).
 7
   “Russia’s targeting of the 2016 U.S. presidential election was part of a broader, sophisticated,
 and ongoing information warfare campaign designed to sow discord in American politics and



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 Intelligence (“Committee”) concluded that “[h]acked material,” including material from the

 Democratic National Committee (“DNC”), “was disseminated through [a] myriad network of

 actors with the objective of undermining the effectiveness of the future administration.” Ex. 7 at

 12. “This dissemination worked in conjunction with derisive messages posted on social media to

 undermine confidence in the election and sow fear and division in American society.” Id. The

 Committee opined further that, “[a]s a country, it is time for us to reflect, understand what

 happened, fix the discovered problems, and unify around the common purpose of countering any

 future influence campaigns by Russia or any other nation.” Id. at 10.

        7.     Demands for action from Congress and the public had a profound impact on the

 behavior of social media companies. See Gurrea Decl. ¶ 73 (Ex. 1) (“[t]rust and safety in the realm

 of political speech” became a “bigger concern” in the context of the 2016 U.S. presidential

 election). Congressional committees, for example, repeatedly called social media executives to

 testify in public hearings about what had gone wrong on their platforms in 2016, and how the

 companies would adjust their policies.8

        8.     Twitter understood that it was being “told in no uncertain terms, by the public and

 by Congress, that [it] had a responsibility to do a better job protecting future elections.” Ex. 10 at




 society.” Ex. 9 at 75 (S. Select Comm. on Intelligence, Report, Russian Active Measures
 Campaigns and Interference in the 2016 U.S. Election, Volume II: Russia’s Use of Social Media,
 S. Rep. No. 116-290 (2020)).
 8
   See, e.g., Extremist Content and Russian Disinformation Online: Working with Tech to Find
 Solutions: Hearing Before the Subcomm. on Crime & Terrorism of the S. Comm. on the Judiciary,
 115th Cong. (2017); Russia Investigative Task Force Hearing with Social Media Companies:
 Hearing before the H. Comm. on Intell., 115th Cong. (2017); Social Media Influence in the 2016
 U.S. Election: Hearing Before the S. Comm. on Intell., 115th Cong. (2017); Foreign Influence
 Operations’ Use of Social Media Platforms (Company Witnesses), Hearing Before the S. Comm.
 on Intell., 115th Cong. (2018); Securing U.S. Election Infrastructure and Protecting Political
 Discourse: Hearing Before the Subcomm. on Nat’l Sec. of the H. Comm. on Oversight & Reform,
 115th Cong. (2019).


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 3 (Protecting Speech from Government Interference and Social Media Bias, Part 1: Twitter’s Role

 in Suppressing the Biden Laptop Story: Hearing Before the H. Comm on Oversight &

 Accountability, 118th Cong. (2023) (opening statement of Yoel Roth, Former Head of Trust &

 Safety, Twitter, Inc.). Moreover, Twitter was “economically incentivized to moderate low-quality

 content in the sphere of politics because it recognized that user engagement drove the majority of

 its revenues through advertising.” Gurrea Decl. ¶ 74 (Ex. 1). As Twitter explained in its Form 10-K

 annual report in December 2016, “[i]f people do not perceive our products and services to be

 useful, reliable and trustworthy, we may not be able to attract users or increase the frequency of

 their engagement with our platform and the ads that we display.” Id. (emphasis added) (quoting

 Twitter, Inc., Annual Report (Form 10-K) (Feb. 27, 2017)). To that end, in 2018, Twitter adopted

 a policy to prevent hacked materials from being placed on its platform, id., and it removed at least

 70 million bot (fake) accounts relating to political issues, Gurrea Decl. ¶ 74 (Ex. 1). And before

 the 2020 election, Twitter “updated [its] civic integrity policy to address misleading or disputed

 information that undermines confidence in the election, causes voter intimidation or suppression

 or confusion about how to vote or misrepresents affiliation or election outcomes.” Ex. 14 at 4

 (Censorship and the 2020 Election: Hearing Before the S. Comm. on the Judiciary, 116th Cong.

 (2020)) (statement of Jack Dorsey, CEO, Twitter, Inc.). In response to calls from the public “to

 offer additional context to help make potentially misleading information more apparent,” Twitter

 applied labels to over 300,000 tweets concerning the 2020 election between October 27, 2020, and

 November 11, 2020. Id.

        9.    Facebook responded to the public’s calls as well. On November 18, 2016, Facebook

 CEO Mark Zuckerberg published an “update” on Facebook in response to “[a] lot” of Facebook

 users’ questions about “what we’re doing about misinformation” relating to elections. Ex. 11




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 (Mark Zuckerberg, Facebook (Nov. 18, 2016)). Mr. Zuckerberg assured the public that Facebook

 “take[s] misinformation seriously” and would be implementing a host of new measures to crack

 down on misinformation on the platform. Id. On January 4, 2018, Mr. Zuckerberg published a post

 on Facebook where he recognized that “Facebook has a lot of work to do—whether it’s protecting

 our community from abuse and hate, defending against interference by nation states, or making

 sure that time spent on Facebook is time well spent.” See Ex. 12 (Mark Zuckerberg, Facebook

 (Jan. 4, 2018)). Accordingly, Mr. Zuckerberg explained that his “personal challenge for 2018 is to

 focus on fixing these important issues” and that “[t]his will be a serious year of self-

 improvement[.]” Id. In October 2019, as the 2020 presidential election approached, Facebook

 redoubled its efforts, announcing that it was taking “several new measures to help protect the

 democratic process” in advance of the 2020 elections, including attempts to “[p]revent[] the spread

 of misinformation” through “clearer fact-checking labels[.]” Ex. 13 (Guy Rosen, et al., Helping to

 Protect the 2020 US Elections, Meta (Oct. 21, 2019)). Among other things, Facebook “built

 sophisticated systems to protect against election interference that combined artificial intelligence,

 significant human review and partnerships with the intelligence community, law enforcement and

 other tech platforms.” See Ex. 14 at 4 (statement of Mark Zuckerberg, CEO, Facebook). Further,

 Facebook “locked down new political ads in the week before the [2020] election to prevent

 misleading claims from spreading” and “strengthened [its] enforcement against malicious and

 conspiracy networks like Qanon”—all with the explanation that “[t]his is what people expect of

 [Facebook].” Id. Put simply, Facebook “heard resoundingly from [its] community that people do

 not want to see [election-related] misinformation and believe it is a problem.” Id. at 10.




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        C. As the COVID-19 pandemic emerged, social media companies sought to address
           health misinformation on their platforms.
        10.   The COVID-19 pandemic marked another turning point for social media companies.

 In early 2020, the emergence of the pandemic precipitated a public health crisis, loss of life, fear,

 and economic disruption across the country and the world. To date, more than 103 million

 Americans have reportedly contracted the virus, resulting in more than 6 million hospitalizations

 and 1.12 million deaths. Ex. 15 (COVID Data Tracker, Ctrs. for Disease Control & Prevention

 (last updated Apr. 25, 2023)). In January 2020, the Secretary of Health and Human Services

 (“HHS”) declared COVID-19 a public health emergency; in March 2020, then-President Trump

 declared a national emergency. See Declaring a National Emergency Concerning the Novel

 Coronavirus (COVID-19) Outbreak, Proclamation No. 9994, 85 Fed. Reg. 15,337 (Mar. 13, 2020).

        11.   In this pandemic environment, it became immediately apparent to global health

 authorities that COVID-19 misinformation, especially when it circulated on social media, could

 lead to death and intensify suffering worldwide. As the United Nations Secretary-General

 explained in a public statement, “[a]s soon as the virus spread across the globe, inaccurate and

 even dangerous messages proliferated wildly over social media, leaving people confused, misled,

 and ill-advised.” Ex. 16 (COVID-19 pandemic: countries urged to take stronger action to stop

 spread of harmful information, World Health Org. (Sept. 23, 2020)). The World Health

 Organization (“WHO”), together with the United Nations and other partners, called upon countries

 to “take stronger action to stop [the] spread of harmful information” relating to the pandemic. Id.

 In May 2020, WHO member states (including the United States) adopted a resolution recognizing

 that managing the “infodemic” of COVID-19 misinformation is “a critical part of controlling the

 COVID-19 pandemic[.]” Id. In June 2020, 132 countries (including the United States) signed onto

 a “cross-regional statement on ‘infodemic’ in the context of COVID-19” stating, among other



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 things, that “social media platforms” have “a clear role and responsibility in helping people to deal

 with the ‘infodemic.’” Ex. 17 at 2 (Cross-Regional Statement on ‘Infodemic’ in the Context of

 COVID-19, U.S. Mission to the United Nations (June 12, 2020)).

        12.   Well before these 132 countries called on them to act, social media companies had

 already begun adopting measures to curb the spread of COVID-19-related misinformation on their

 platforms. For some companies, including YouTube, Facebook, and Pinterest, this was not their

 first foray into curbing the spread of public health misinformation. See Gurrea Decl. ¶¶ 76-77 (Ex.

 1). In a March 2020 blog post, Facebook explained that removing health misinformation from its

 platform was nothing new: “We’ve removed harmful [health-related] misinformation since 2018,

 including false information about the measles in Samoa where it could have furthered an outbreak

 and rumors about the polio vaccine in Pakistan where it risked harm to health and aid workers.”

 Ex. 18 at 3 (Nick Clegg, Combating COVID-19 Misinformation Across Our Apps, Meta (Mar. 25,

 2020)). Beginning in January 2020, Facebook “applied this policy to misinformation about

 COVID-19 to remove posts that make false claims about cures, treatments, the availability of

 essential services or the location and severity of the outbreak.” Id. Twitter likewise introduced

 policies to “address content that goes directly against guidance from authoritative sources of global

 and local public health information.” Ex. 19 at 4 (Vijaya Gadde & Matt Derella, An update on our

 continuity strategy during COVID-19, Twitter Blog (Mar. 16, 2020; updated Apr. 1, 2020)).

        13.   These policies resulted in widespread content moderation by social media platforms

 in early 2020. Twitter reported that, during a two-week period in March 2020 alone, it had

 “removed more than 1,100 tweets containing misleading and potentially harmful content” and

 “challenged more than 1.5 million accounts which were targeting discussions around COVID-19

 with spammy or manipulative behaviors.” Id. And Facebook reported in April 2020 that, “during




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 the month of March [2020], [it] displayed warnings on about 40 million posts related to COVID-

 19,” and had “removed hundreds of thousands of pieces of misinformation that could lead to

 imminent physical harm,” including “theories like physical distancing is ineffective in preventing

 the disease from spreading.” Ex. 20 at 5 (Guy Rosen, An Update on Our Work to Keep People

 Informed and Limit Misinformation About COVID-19, Meta (Apr. 16, 2020)).

        14.   As the nation’s pandemic response progressed, the companies consulted “guidance

 from the WHO and other health authorities” when updating their policies. See Ex. 18 at 3. For

 instance, in February 2021, following “consultations with leading health organizations[] including

 the [WHO],” Facebook expanded “the list of false claims [it would] remove to include additional

 debunked claims about the coronavirus and vaccines.” See Ex. 20 at 1-2. And in March 2021,

 Facebook consulted the “High Level Panel on Vaccine Confidence & Misinformation” (a coalition

 organized by the London School of Hygiene and Tropical Medicine and others) and the Vaccine

 Confidence Project (an international research group) about its approach to moderating vaccine-

 hesitant content. See Pls.’ Suppl. Br. Ex. A, at 42 (Dkt. 174-1) (email from Facebook executive).

 In September 2021, Google announced that YouTube would remove content containing false

 claims about COVID-19 vaccines—a decision that was reached in consultation with “local and

 international health organizations and experts,” including the WHO. Ex. 153 at 1 (YouTube Team,

 Managing harmful vaccine content on YouTube, YouTube Official Blog (Sept. 29, 2021)).

        D. Social media companies have long taken actions short of removal against
           “borderline content” that is not expressly prohibited by their content moderation
           removal policies.
        15.   The companies’ efforts to limit the spread of misinformation on their platforms have

 been multifaceted. As one Twitter representative recently testified, “[c]ompanies like Twitter—

 teams like mine—have to exercise judgment about where to draw the line on [problematic] content

 and implement that judgment consistently at the scale of hundreds of millions of unique posts per


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 day.” See Ex. 10 at 4. One way in which the companies tackle this difficult task is by taking actions

 short of removal—including downgrading and labeling posts—against “borderline content,” or

 “content that [is] not prohibited” outright by a company’s community standards but that “come[s]

 close to the lines drawn by those policies.” Ex. 22 at 21 (Transparency Center, Content Borderline

 to Community Standards, Meta (Sept. 23, 2021)). Since 2018, Facebook, Twitter, and YouTube

 have each taken steps to discourage and demote borderline content.9

        16.   In a blog post, Facebook CEO Mark Zuckerberg explained the “basic incentive

 problem” that prompted the company to moderate borderline content. Ex. 23 at 7. According to

 Mr. Zuckerberg, “[o]ne of the biggest issues social networks face is that, when left unchecked,

 people will engage disproportionately with more sensationalist and provocative content.” Id. Even

 though users were more likely to engage with borderline content, they consistently reported to

 Facebook that such content “degrade[s] the quality of [Facebook’s] services.” Id. at 6. As. Dr.

 Gurrea notes, these reports about “quality” are highly concerning to large platforms like Facebook

 because “low-quality content” drives advertisers and users away from the platform, see Gurrea

 Decl. ¶¶ 59-64 (Ex. 1)—even if, as Facebook acknowledges, people “engage with [it],” see Ex. 23

 at 8 (“People consistently tell us these types of content make our services worse—even though

 they engage with them.”). But simply adjusting Facebook’s community standards categorically to

 require removal of more types of low-quality content would not solve the problem, because “no

 matter where [Facebook] draw[s] the lines for what is allowed, as a piece of content gets close to



 9
   See Ex. 23 at 6-9 (Mark Zuckerberg, A Blueprint for Content Governance and Enforcement,
 Facebook (Nov. 15, 2018), https://perma.cc/ZK5C-ZTSX); Ex. 24 at 2 (YouTube Team,
 Continuing our work to improve recommendations on YouTube, YouTube Official Blog (Jan. 25,
 2019), https://perma.cc/FH3M-KL6U); Ex. 25 (Alex Kantrowitz, Twitter is Going to Limit the
 Visibility of Tweets from People Behaving Badly, BuzzFeed News (May 15, 2018),
 https://perma.cc/RRU8-X4R3) (quoting a statement from Twitter’s CEO).


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 that line, people will engage with it more on average—even when they tell us afterwards they don’t

 like the content.” Id. at 7. At the time of Mr. Zuckerberg’s post in 2018, the most concerning forms

 of borderline content were “click-bait and misinformation.” Id. at 8.

     17. To address this problem, Mr. Zuckerberg announced that Facebook would address

 “borderline content so it gets less distribution and engagement.” Id. The announcement included

 the following graph:




 Id. at 7. “By making the distribution curve look like the graph [above] where distribution declines

 as content gets more sensational,” Mr. Zuckerberg explained, “people are disincentivized from

 creating provocative content that is as close to the line as possible.” Id. Facebook’s goal was to

 “create a healthier, less polarized discourse where more people feel safe participating.” Id. at 9.

 And reducing the distribution of such content would address the consistent concern that Facebook

 heard from users that “these types of content make [its] services worse.” Id. at 8.

     18. YouTube made a similar announcement in January 2019. See Ex. 24. YouTube

 announced that it was “taking a closer look at how [it could] reduce the spread of content that

 comes close to—but doesn’t quite cross the line of—violating [its] Community Guidelines.” Id. at

 2. And “[t]o that end,” YouTube would begin “reducing recommendations of borderline content




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 and content that could misinform users in harmful ways.” Id. Specific examples included “videos

 promoting a phony miracle cure for a serious illness.” Id.

     19. The companies’ approaches to borderline content have been extensively scrutinized—

 and, at times, criticized—by scholars and observers, in part because of a lack of transparency. As

 one commentator noted, reducing the visibility of content amorphously described as “approaching

 the line” means “not having to articulate an explicit policy; this gives platforms the flexibility to

 intervene around quickly emerging phenomena, go after content designed to elude prohibitions,

 and curtail content they ‘know’ is bad but have a hard time articulating why.” Ex. 26 at 12 (Tarleton

 Gillespie,   Reduction/Borderline    content/Shadowbanning,       Yale-Wikimedia      Initiative   on

 Intermediaries & Info. (July 20, 2022)). These policies thus “avoid[] accountability, . . . and are

 not—yet—reported as part of the platform[s’] transparency obligations.” Id.; see also Evelyn

 Douek, Facebook’s “Oversight Board:” Move Fast with Stable Infrastructure and Humility, 21

 N.C. J. L. & Tech. 1, 42-43 (2019) (highlighting ways in which borderline content policies lack

 transparency).

     20. The companies have moderated COVID-19 content under their borderline content

 policies, although they have not publicly provided extensive details as to how those policies are

 applied. In July 2021, Facebook announced that “[s]ince the beginning of the pandemic,” it had

 “labeled and reduced the visibility of more than 167 million pieces of COVID-19 content

 debunked by our network of fact-checking partners.” Ex. 27 at 3 (Guy Rosen, Moving Past the

 Finger Pointing, Meta (July 17, 2021)). And since September 2021, Facebook’s borderline content

 policy page has listed—among other kinds of borderline content—“[c]ontent that does not violate

 our COVID-19 or vaccine policies, but which shares misleading or sensationalized information

 about vaccines in a way that would be likely to discourage vaccinations.” Ex. 22 at 2. YouTube,




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 too, has noted that its work to “reduc[e] recommendations of borderline content” has been

 “foundational [to] ensuring that we limit the spread of COVID-19 related borderline content on

 our site.” Ex. 28 at 2 (How has YouTube responded to the global COVID-19 crisis?, YouTube,

 https://perma.cc/3CCA-SNLE) YouTube. Beyond highlighting their efforts generally, the

 companies have not catalogued the content that has been removed under their borderline content

 policies.

         E. Bipartisan calls to revise or revoke Section 230 have repeatedly arisen over the
            years.
         21.    Enacted in 1996, § 509 of the Telecommunications Act of 1996, Pub. L. No. 104-

 104, 110 Stat. 56, 138-39 (codified at 47 U.S.C. § 230), commonly known as § 230, has been

 interpreted to immunize social media companies from liability for their content moderation

 decisions. In particular, paragraph (c)(1) states: “No provider . . . of an interactive computer service

 shall be treated as the publisher or speaker of any information provided by another information

 content provider.” 47 U.S.C. § 230(c)(1). Paragraph (c)(2) further provides:

                No provider or user of an interactive computer service shall be held liable
         on account of —
                 (A)     any action voluntarily taken in good faith to restrict access to or
         availability of material that the provider or user considers to be obscene, lewd,
         lascivious, filthy, excessively violent, harassing, or otherwise objectionable,
         whether or not such material is constitutionally protected; or
                (B)     any action taken to enable or make available to information content
         providers or others the technical means to restrict access to material described in
         paragraph [A].

 47 U.S.C. § 230(c)(2). The statute also provides that “[n]o cause of action may be brought and no

 liability may be imposed under any State or local law that is inconsistent with this section.” Id.

 § 230(e)(3).

         22.    The problem Congress sought to solve in § 230(c) arose from a New York state trial

 court’s ruling that an internet service provider that had voluntarily deleted some messages from an


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 online message board was then “legally responsible for the content of defamatory messages that it

 failed to delete.” See Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC, 521

 F.3d 1157, 1162 (9th Cir. 2008) (discussing Stratton Oakmont, Inc. v. Prodigy Servs. Co., No.

 31063/94, 1995 WL 323710 (N.Y. Sup. Ct. May 24, 1995)). Congress responded to that ruling by

 “immuniz[ing] the removal of user-generated content” through § 230. Id. That is, § 230 “provides

 ‘Good Samaritan’ protections from civil liability for providers . . . of an interactive computer

 service for actions to restrict . . . access to objectionable online material.” H.R. Rep. No. 104-458,

 at 194 (1996) (Conf. Rep.), as reprinted in 1996 U.S.C.C.A.N. 10. In enacting § 230(c), Congress

 made findings describing online platforms as offering “a forum for a true diversity of political

 discourse, unique opportunities for cultural development, and myriad avenues for intellectual

 activity.” 47 U.S.C. § 230(a)(3). Accordingly, it is established that “the policy of the United States”

 is “to preserve the vibrant and competitive free market that presently exists for the Internet and

 other interactive computer services, unfettered by Federal or State regulation[.]” Id. § 230(b).

        23.    Bipartisan concerns about § 230 have been expressed for years, and efforts to reform

 or revoke § 230 have been made for nearly as long. For example, congressional inquiries, including

 in 2016 and in 2019, explored the concerns of some legislators about allegations of politically

 biased content moderation by online platforms that have asserted that § 230(c) immunizes them

 from liability for their content moderation decisions—concerns that then-President Trump echoed

 in 2019 and 2020.10 Then-President Trump tweeted: “REVOKE 230!” Ex. 31 at 1 (Donald J.

 Trump (@realDonaldJTrump), Twitter (May 29, 2020, 11:15 AM)). In October 2021, then-


 10
   See, e.g., Ex. 29 (Letter from Senator John Thune to Mark Zuckerberg, Chairman and Chief
 Executive Officer, Facebook, Inc. (May 10, 2016)); Ex. 30 (Stifling Free Speech: Technological
 Censorship and the Public Discourse: Hearing Before the Subcomm. on the Const. of the S. Comm.
 on the Judiciary, 116th Cong. (2019)); Remarks by President Trump at the Presidential Social
 Media Summit, 2019 WL 3072280, at *15 (July 11, 2019).


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 Missouri Attorney General Eric Schmitt similarly tweeted: “Get rid of section 230 protections,

 treat them like common carriers, bust up #BigTech.” Ex. 32 at 1 (Eric Schmitt (@Eric_Schmitt)

 (Oct. 12, 2021, 3:06 PM)). Then-Attorney General William P. Barr observed in February 2020

 that “[t]echnology has changed in ways that no one, including the drafters of [§] 230, could have

 imagined.” Ex. 33 at 2 (William P. Barr, Att’y Gen., Opening Remarks at the DOJ Workshop on

 Section 230: Nurturing Innovation or Fostering Unaccountability? (Feb. 19, 2020)). Four months

 later, then-Attorney General Barr issued several proposed recommendations to reform § 230 so as

 to “provide stronger incentives for online platforms to address illicit material on their services

 while continuing to foster innovation and free speech.” Ex. 34 at 1 (Press Release, U.S. Dep’t of

 Just., Justice Department Issues Recommendations for Section 230 Reform (June 17, 2020),

 https://perma.cc/9S5E-JXLX). Noting that the Department of Justice was “[r]esponding to

 bipartisan concerns about the scope of 230 immunity,” the recommendations “identified a set of

 concrete reform proposals to provide stronger incentives for online platforms to address illicit

 material[s] on their services while continuing to foster innovation and free speech.” Id. Among the

 recommendations was “to make clear that federal antitrust claims are not, and were never intended

 to be, covered by Section 230 immunity.” Id. at 2. In May 2020, former President Trump issued

 an Executive Order, entitled “Preventing Online Censorship,” in which he directed the Federal

 Government to narrowly construe protections against liability for social media companies in § 230

 in light of the purported decisions of those companies to provide “warning label[s]” on the speech

 of some individuals but not others.11 For his part, President Biden has also participated in the


 11
   Exec. Order No. 13,925, Preventing Online Censorship, § 1, 85 Fed. Reg. 34,079, 34,079 (May
 28, 2020), rescinded by Exec. Order No. 14,029, Revocation of Certain Presidential Actions and
 Technical Amendment, § 1, 86 Fed. Reg. 27,025 (May 14, 2021). Similarly, proposed legislation
 both before and after then-President Trump’s issuance of Executive Order 13925 sought to narrow
 § 230 and explored concerns by Republican legislators about online platforms’ “selective



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 public debate over § 230. See Mem. in Supp. of Defs.’ MTD at 12 (Dkt. 128-1) (“Defs.’ MTD”)

 (quoting 2d. Am. Compl. ¶ 313 (Dkt. 84)).

 II.    Since 2017, Executive Branch agencies and officials have promoted authoritative
        information or expressed concerns with the spread of misinformation.
        24.   Beginning with the Trump Administration and continuing into the Biden

 Administration, the White House and Executive Branch agencies have responded in myriad ways

 to societal concerns over misinformation, particularly on social media platforms, that could

 endanger public health or threaten the integrity of our electoral processes. For instance, since at

 least 2017, in the face of revelations about foreign influence targeting the Nation’s election

 infrastructure, agencies such as the Department of Homeland Security (“DHS”), the Federal

 Bureau of Investigation (“FBI”), and the predecessor agency to Cybersecurity and Infrastructure

 Security Agency (“CISA”) worked with various segments of society—including state and local

 election officials and technology companies—to share information that could be used to identify

 and prevent the dissemination of election-related misinformation circulated by foreign adversaries

 and others. Beginning in 2020, in response to the deadly COVID-19 pandemic, public health

 authorities such as Centers for Disease Control and Prevention (“CDC”) provided science-based,

 data-driven health information to protect the public against the virus’s spread and helped social

 media companies identify misinformation about COVID-19 circulating on their platforms. The

 Surgeon General and the White House later used their bully pulpits to call on social media

 companies to take more aggressive action, consistent with their own corporate policies, against

 health misinformation on their platforms.


 censorship” and lack of transparency in moderating content. Compare Ending Support for Internet
 Censorship Act, S. 1914, 116th Cong. (2019), with Limiting Section 230 Immunity to Good
 Samaritans Act, S. 3983, 116th Cong. (2020); Stopping Big Tech’s Censorship Act, S. 4062, 116th
 Cong. (2020); Platform Accountability & Consumer Transparency Act, S. 4066, 116th Cong.
 (2020).


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        25.    In this action, Plaintiffs sue a total of 67 Federal agencies and official-capacity

 Defendants, in a sprawling Complaint that takes aim at numerous public statements and private

 communications by Executive Branch officials touching on matters of election security and the

 COVID-19 pandemic. Plaintiffs seek to treat this array of Executive Branch agencies and officials

 as a monolith, characterizing the disparate and independent actions of 67 different Defendants over

 multiple administrations as a single “Censorship Enterprise.” PI Supp. 1. Plaintiffs provide no

 factual or legal basis for treating these various actions collectively as part of a single “enterprise,”

 and the Court must consider whether preliminary injunctive relief is appropriate based on each

 Defendant’s alleged conduct. Below, Defendants describe the relevant actions that the White

 House and each of the federal agency and official-capacity Defendants have or have not taken over

 the last two administrations, which apparently form the basis of (but do not support) Plaintiffs’

 request for sweeping and indiscriminate injunctive relief. See also Defs.’ Resp. to Pls.’ Proposed

 Findings of Fact in Supp. of Mot. for Prelim. Inj. ¶¶ 19-211 (“Defs.’ Resp. PFOF”) (filed

 concurrently with this brief).

        A. The White House
       26.     By early 2021, hundreds of thousands of Americans had lost their lives to COVID-

 19, and the pandemic was still rampant. Indeed, 23,629 COVID-related U.S. deaths were reported

 during the week of January 6-13, 2021, which still remains the single highest weekly total of

 reported COVID-19 deaths in the United States. 12

        27.    The Administration viewed social media as a powerful tool for promoting accurate,

 authoritative COVID-19 information, such as CDC guidance on vaccines, see Ex. 37 at 2 (Press



 12
   Ex. 38 (COVID Data Tracker: Trends in Number of COVID-19 Cases and Deaths in the US
 Reported to CDC, by State/Territory, Ctrs. for Disease Control & Prevention (last updated Apr.
 28, 2023)).


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 Briefing by Press Secretary Jen Psaki, The White House (July 16, 2021)) (discussing White House

 efforts to “meet people where they are” on social media), but was also concerned that

 misinformation relating to COVID-19 vaccines posed a critical threat to public health and

 contributed to preventable hospitalizations and deaths, see Ex. 36 at 19 (Defs.’ Supp. Rog. Resp.

 Related to Robert Flaherty). Accordingly, during the first several months of the Biden

 Administration, White House officials began speaking with social media companies about

 promoting more accurate COVID-19 information and to better understand what actions the

 companies were taking to curb the spread of COVID-19 misinformation. These officials included

 Andy Slavitt, former Senior Advisor for the COVID-19 Response, 13 and Rob Flaherty, Director

 of Digital Strategy. Mr. Flaherty was responsible for overseeing the President’s engagements on

 social media and outreach to digital creators, among other things. See Ex. 36 at 19.

        28.   White House spokespeople—mainly former Press Secretary Jennifer Psaki—have

 spoken publicly about the President’s view that social media companies ought to curb the spread

 of misinformation related to COVID-19 on their platforms. Other White House officials—mainly

 Mr. Flaherty—have also had numerous private communications with social media companies on

 a wide range of topics, including COVID-19 misinformation. The record does not show a single

 instance in which these individuals threatened legal or regulatory action against companies that

 chose not to heed the Administration’s calls to address the COVID-19 misinformation circulating

 on their platforms. Nor does the record show that White House officials demanded that the

 companies change their content moderation policies or take action (regardless of existing policies)

 to address particular content that they view as potentially harmful COVID-19 misinformation. To




 13
   Mr. Slavitt served for four months before stepping down in June 2021. Ex. 39 (Maeve Sheehey,
 Andy Slavitt stepping down from White House Covid-19 response role, Politico (June 9, 2021)).

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 the contrary, although the Administration has long urged the companies to combat misinformation

 on their platforms and has provided general recommendations to that effect, it has made “crystal

 clear” its view that “[a]ny decision about platform usage and who should be on the platform is

 orchestrated and determined by private-sector companies,” and “not the federal government.” Ex.

 37 at 31 (Ms. Psaki July 16, 2021, press briefing statement).

              1. White House Public Statements
        29.    President Biden and his spokespeople have repeatedly expressed concerns about the

 spread of potentially harmful misinformation on social media, especially related to COVID-19. In

 these public statements, Ms. Psaki and others have emphasized that, as private entities, platforms

 bear the responsibility for setting and enforcing their own policies concerning misinformation—

 policies with which the Government, like members of the public, may or may not agree.

                 a. White House Press Briefings (Jennifer Psaki)
        30.    In 2021 and 2022, Ms. Psaki was regularly asked during White House press briefings

 for the President’s views on social media companies’ content moderation policies, particularly as

 they related to COVID-19 misinformation and whether the platforms should take action against

 former President Trump’s accounts. Ms. Psaki repeatedly emphasized that, as private actors, social

 media companies make their own decisions about whether and how to moderate content on their

 platforms. See, e.g., Ex. 147 at 15 (Press Briefing by Press Secretary Jen Psaki and Secretary of

 Agriculture Tom Vilsack, The White House (May 5, 2021)) (noting that the President “believe[s]

 in First Amendment rights” and that “social media platforms need to make” “the decisions”

 regarding “how they address the disinformation [and] “misinformation [that] . . . continue to

 proliferate on their platforms”); Press Briefing by Press Secretary Jen Psaki and Director of the

 National Economic Council Brian Deese, 2021 WL 2310371, at *9 (June 4, 2021) (“[A]s always,




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 [whether to moderate content is] a decision for the company to make and any platform to make.”);

 id. at *10 (“This is a decision by a private-sector company.”).

        31.    The topic of COVID-19 misinformation was the focus of a July 15, 2021, joint press

 briefing with Surgeon General Vivek Murthy. Ex. 40 (Press Briefing by Press Secretary Jen Psaki

 and Surgeon General Dr. Vivek H. Murthy, The White House (July 15, 2021)). In that briefing, Ms.

 Psaki explained that the White House had been “in regular touch” with the platforms and “flagging

 . . . for Facebook” “problematic posts . . . that spread disinformation.” Id. at 10. In the following

 day’s briefing, she clarified that her reference to “flagging . . . problematic posts” was meant

 simply to reflect the Government’s practice of “regularly making sure social media platforms are

 aware of the latest narratives dangerous to public health” and of “engag[ing] with [platforms] to

 better understand the enforcement of social media platform policies.” Ex. 37 at 6. She emphasized

 that the Government does not “take anything down” or “block anything” and that platforms

 themselves, as “private-sector compan[ies],” “make[] decisions about what information should be

 on their platform[s].” Id. at 12. She reiterated this point three days later, on July 19: “It’s up to

 social media platforms to determine what their application is of their own rules and regulations.”

 Press Briefing by Press Secretary Jen Psaki, 2021 WL 3030746, at *16 (July 19, 2021).

        32.    In the July 15, 2021, Press Briefing, Ms. Psaki also mentioned four “proposed

 changes” concerning misinformation that the White House had “recommended” to social media

 companies. Ex. 40 at 10-11. Those recommendations were that (i) the platforms should “measure

 and publicly share the impact of misinformation on their platform[s]”; (ii) the platforms should

 “create a robust enforcement strategy that bridges their properties and provides transparency about

 the rules”; (iii) the platforms should “take faster action” against “harmful, violative posts”—that

 is, “posts that will be within their policies for removal [but] often remain up for days”; and (iv) the




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 platforms should “promote quality information sources in their feed algorithm.” Id. With respect

 to “creat[ing] a robust enforcement strategy,” Ms. Psaki noted that there are “about 12 people who

 are producing 65 percent of anti-vaccine misinformation on social media platforms,” and “[a]ll of

 them remain active on Facebook” despite being “banned” on other platforms “that Facebook

 owns.” Id. at 10. She did not recommend removing content relating to these twelve people’s

 accounts; instead, she made a factual statement about those accounts in support of her

 recommendation that platforms have strategies for “bridg[ing] their properties”—i.e., applying

 consistent rules across multiple platforms owned by the same entity—and “provid[ing]

 transparency about the rules.” Id. These recommendations thus highlighted the need for

 transparency, consistency, and efficiency in the companies’ enforcement of their existing policies.

 And, mindful that the companies were responsible for decision-making regarding misinformation

 on their platforms, Ms. Psaki repeatedly noted that these proposals were not demands—they were

 “proposed” and “recommended” by the White House. Id.

        33.   The subject of content moderation on social media platforms continued to come up

 periodically during White House press briefings throughout 2021 and 2022, and Ms. Psaki

 continued to emphasize that content moderation decisions were the companies’ to make. See, e.g.,

 2021 WL 3030746, at *16 (“It’s up to social media platforms to determine what their application

 is of their own rules and regulations.”); Press Briefing by Press Secretary Jen Psaki, 2022 WL

 1468470, at *9 (May 10, 2022) (“[I]t’s the decision by a private sector company to make on who

 will or will not be allowed on their platforms.”). When Ms. Psaki was asked whether the

 Administration was “considering any regulatory or legal moves to possibly address disinformation

 on social media,” she responded: “That’s up to Congress to determine how they want to proceed

 moving forward.” 2021 WL 3030746, at *2. In October 2021, Ms. Psaki was asked again about




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 whether the White House supported policy reforms—specifically, reforms to § 230. See Press

 Briefing by Press Secretary Jen Psaki, 2021 WL 4587211, at *9 (Oct. 6, 2021). She reaffirmed the

 President’s view that “tech platforms must be held accountable for the harms that they cause” and

 expressed that the President “has been a strong supporter of fundamental reforms to achieve that

 goal, . . . includ[ing] Section 230 reforms [and] privacy and antitrust reforms as well as more

 transparency.” Id. Reiterating the White House’s view that Congress should lead any effort to

 propose policy reforms relating to misinformation, Ms. Psaki concluded, “[the President] looks

 forward to working with Congress on these bipartisan issues.” Id.

        34.   At a White House press briefing on April 25, 2022, Ms. Psaki was asked whether the

 White House was concerned about Twitter’s purchase by Elon Musk. Ms. Psaki stated:

        No matter who owns or runs Twitter, the President has long been concerned about
        the power of large social media platforms, . . . [and] the power they have over our
        everyday lives; has long argued that tech platforms must be held accountable for
        the harms they cause. He has been a strong supporter of fundamental reforms to
        achieve that goal, including reforms to Section 230 [47 U.S.C. § 230], enacting
        antitrust reforms, requiring more transparency, and more. And he’s encouraged that
        there’s bipartisan interest in Congress.

 Ex. 42 at 3 (Press Briefing by Press Secretary Jen Psaki, The White House (Apr. 25, 2022)).

 Notably, Ms. Psaki spoke on this occasion about the myriad policy issues raised by the dominance

 of social media companies; she did not mention COVID-19 or misinformation in particular, nor

 was she asked about it. See also Defs.’ Resp. PFOF ¶¶ 123-130, 146-152, 155-162, 310-314.

                b. President Biden’s Comments
        35.   On July 16, 2021, while President Biden was preparing to board Marine One, a

 reporter asked the President what his “message” was for “platforms like Facebook.” Ex. 45 at 2

 (Question from Reporter to President Joseph R. Biden, Jr., in Washington, D.C. 2 (July 16, 2021)).

 The President responded: “They’re killing people. Look, the only pandemic we have is among the

 unvaccinated and they’re killing people.” Id. Three days later, President Biden was asked about


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 his earlier comment. He explained that he had just read that twelve individuals were responsible

 for sixty percent of the misinformation regarding COVID 19 circulating on social media—a

 statistic reported by the non-profit Center for Countering Digital Hate 14—and clarified that

 “Facebook isn’t killing people. These 12 people are out there giving misinformation. Anyone

 listening to it is getting hurt by it. It’s killing people . . . the outrageous misinformation about the

 vaccine. That’s what I meant.” Ex. 43 at 2-3 (Question from Reporter to President Joseph R. Biden,

 Jr., in Washington, D.C. (July 19, 2021)). He further said, “[m]y hope is that Facebook, instead of

 taking [the comment] personally, . . . would do something about the misinformation,” thus

 repeating his policy view that social media companies—like every other sector in society—ought

 to do more to curb the harmful spread of COVID-19 misinformation on their platforms. Id. In that

 same interview, President Biden was asked whether he would “hold [social media companies]

 accountable if they don’t do more to stop the spread.” Ex. 43 at 3. He responded: “When you say

 hold accountable, I just want to – I’m not trying to hold people accountable. I’m trying to make

 people look at themselves, look in the mirror, think about that misinformation going to your son,

 your daughter, your relatives, someone you love. That’s all I’m asking.” Id. President Biden did

 not threaten any legal or regulatory action or make any demands. See also Defs.’ Resp. PFOF

 ¶¶ 153-154, 162-163.

                c. White House Communications Director Kate Bedingfield’s Comments
        36.    On July 20, 2021, White House Communications Director Kate Bedingfield

 appeared on the television news program Morning Joe. Ms. Bedingfield was asked what the Biden

 Administration plans to do about COVID-19 misinformation on social media. Ms. Bedingfield

 explained that the “most important” thing was for people to obtain information from trusted


 14
   See generally Ex. 44 (Ctr. For Countering Digital Hate, The Disinformation Dozen, Why
 Platforms Must Act on Twelve Leading Online Anti-Vaxxers (Mar. 24, 2021)).


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 sources like their doctors, but with respect to social media platforms, “we all have a responsibility

 here,” including platforms and “news outlets.” Ex. 46 at 4 (Interview by Mika Brzezinski with

 Kate Bedingfield, Commc’ns Dir., White House, in Washington, D.C. (July 20, 2021)). The

 interviewer followed up by asking Ms. Bedingfield whether President Biden would support

 amending § 230 so that the platforms could no longer rely on its legal protection. Id. at 5. Ms.

 Bedingfield demurred by responding, “[w]ell, we’re reviewing that,” id., before noting that the

 President had emphasized that “the people creating the content” are responsible for it, id. at 6. As

 Ms. Bedingfield explained, “it is a big and complicated ecosystem, and everybody bears

 responsibility to ensure that we are not providing people with bad information about a vaccine that

 will save their lives.” Id. Ms. Bedingfield did not threaten any legal or regulatory action against,

 or make any demands of, social media platforms during this interview.

              2. White House Private Statements
        37.    White House aides—mainly, Mr. Flaherty—have had numerous conversations with

 representatives from Meta, Google, and Twitter about COVID-19 misinformation. 15 In those

 conversations, Mr. Flaherty sought to better understand (i) the companies’ existing policies

 addressing the spread of misinformation or disinformation on their platforms, (ii) the actions those

 companies were taking to enforce those policies, and (iii) what the Government could do to assist

 social media companies in their efforts to address the spread of misinformation on their platforms.



 15
    Many of Mr. Flaherty’s communications with these companies did not concern mis- and dis-
 information. For example, the Administration has routinely partnered with the companies to
 promote the President’s messages on policy matters, such as when the White House and Instagram
 arranged for Olivia Rodrigo to visit the White House to encourage young people to get vaccinated
 against COVID-19, see Ex. 47 (MOLA_DEFSPROD_00016809), and when the President hosted
 a town hall meeting with “creators” on YouTube, see Ex. 48 (MOLA_DEFSPROD_00017159).
 In other communications, White House officials have reported accounts impersonating federal
 officials—in violation of federal law—and the President’s relatives—in violation of social media
 companies’ terms of service. See infra.


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 See Ex. 36 at 20. Mr. Flaherty “also encouraged social media companies to be transparent and

 share data concerning the prevalence of misinformation and disinformation on their platforms.”

 Id. At times, he “expressed frustration when he perceived platforms to be applying their policies

 inconsistently or to not be forthcoming in their assessment of the problems with misinformation

 and disinformation on their platforms.” Id.

        38.   The record is replete with examples of Mr. Flaherty asking the companies for

 information about the nature and extent of the COVID-19 misinformation they were seeing on

 their platforms. See infra Defs.’ Proposed Findings of Fact (“PFOF”) § II.A.2.a. As described

 further below, when specific proposals for policy changes by social media platforms were raised,

 Mr. Flaherty explicitly disclaimed that the White House supported them or was asking the

 companies to adopt them. See infra Defs.’ PFOF § II.A.2.b. White House officials did flag some

 content—mainly, imposter accounts—for the social media companies. See infra Defs.’ PFOF

 § II.A.2.c. When they did so, the companies reviewed the requests under their existing policies,

 and the White House neither threatened the companies nor demanded that they override their

 policies to accommodate the White House’s concerns. See id.; Defs.’ Resp. PFOF ¶¶ 34-122.

                a. White House Requests for More Data about Misinformation on Facebook
        39.   An illustrative example of the White House’s focus on understanding misinformation

 trends on the platforms is an April 14, 2021, exchange during which Mr. Flaherty and Mr. Slavitt

 asked their respective contacts at Facebook to explain why a post by then-Fox News anchor Tucker

 Carlson—in which he discouraged Americans from getting vaccinated against COVID-19—was

 the most viewed post that day on Facebook.

        40.   By April 2021, the White House had already requested information several times

 from Facebook about the prevalent COVID-19 misinformation themes on its platform. See, e.g.,

 Dkt. 174-1 at 7 (February 8, 2021 email to Facebook: “do you have data on the actual number of


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 claims-related posts you’ve removed?”); Pls.’ Jones Decl., Ex. G at 1 (Dkt. 214-9) (February 24,

 2021 email to Facebook: “Can you give us a sense of volume on these [themes], and some metrics

 around [t]he scale of removal for each?”); see also Ex. 49 (MOLA_DEFSPROD_00017759)

 (email from Facebook representative to Mr. Flaherty noting that he might not be able to answer

 Mr. Flaherty’s “questions on the data” in an upcoming meeting). For its part, Facebook would

 occasionally send the White House information from its public announcements about its

 misinformation policies, sometimes copied and pasted directly from an announcement’s text. See,

 e.g., Dkt. 174-1 at 5-6 (response that included text copied from Facebook’s blog); id. at 8 (email

 from Facebook sharing publicly announced policy changes); id. at 9 (email from Facebook sharing

 “survey data on vaccine uptake” that it had published online).

        41.   On March 14, 2021, the Washington Post published a story about misinformation on

 Facebook that Mr. Flaherty perceived to be inconsistent with what Facebook had told White House

 officials previously, which frustrated Mr. Flaherty. According to the Post, Facebook was

 “conducting a vast behind-the-scenes study of doubts expressed by U.S. users about vaccines,”

 which had revealed that “[j]ust 10 out of the 638 population segments [studied] contained 50

 percent of all vaccine hesitancy content on the platform.”16 Mr. Flaherty emailed the story to his

 contact at Facebook and wrote in the subject line: “You are hiding the ball[.]” Dkt. 174-1 at 12.

 By this he meant, as he later explained in another email, that he felt the Post had revealed that

 Facebook had access to “data on the impact of borderline content”—that is, content that does not

 violate Facebook’s policies for removal, but which Facebook nonetheless moderates 17—“and its


 16
    Ex. 50 at 2 (Elizabeth Dwoskin, Massive Facebook study on users’ doubt in vaccines finds a
 small group appears to play a big role in pushing the skepticism, Wash. Post (Mar. 14, 2021)).
 17
    As Facebook has explained, “Some types of content, although they do not violate the letter of
 our Community Standards, are sensationalist or provocative and can bring down the overall quality



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 overlap with various communities,” which data Mr. Flaherty had previously asked for and which

 Facebook had not provided. Dkt. 174-1 at 11.

        42.   Mr. Flaherty explained that he was “not trying to play ‘gotcha’ with [Facebook],”

 but that the White House was “gravely concerned” about misinformation on Facebook and wanted

 to better understand how the Administration could be helpful in resolving the problem. Id. (“[W]e

 want to know that you’re trying, we want to know how we can help, and we want to know that

 you're not playing a shell game with us when we ask you what is going on.”). In light of the Post

 story, Mr. Flaherty stated that he felt Facebook had not been forthcoming with him in their prior

 interactions. Id. Mr. Slavitt responded to the email thread and echoed Mr. Flaherty’s concerns,

 stating that “100% of the questions I asked have never been answered and weeks have gone by.”

 Id. at 10. He added: “Internally we have been considering our options on what to do about it,”

 evidently meaning Facebook’s lack of transparency about the trends it was seeing on its platform.

 Id.; see also Ex. 40 at 10 (Ms. Psaki calling for companies to “measure and publicly share the

 impact of misinformation on their platform”). There is no evidence that Mr. Slavitt was referring

 to (or that the White House actually took) retributive action of any kind, and no evidence that

 Facebook took action in response to Mr. Slavitt’s email.

        43.   Facebook responded to these emails on March 16, 2021, by committing to “getting

 [the White House] the specific information needed to successfully manage” the “rollout” of the

 new COVID-19 vaccine. Dkt. 174-1 at 10. Facebook explained that the information in the Post

 story was not “vetted internally” and offered to walk the White House through data that Facebook




 of discourse on our platform, especially because people have frequently told us that they do not
 like encountering these forms of content.” Ex. 22 at 2.


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 had previously shared with the White House—data that had been published in a public report. Id.;

 see also id. at 9 (email attaching the data referenced in Facebook’s email about the Post story).

         44.   One month later, on April 14, 2021, Mr. Slavitt and Mr. Flaherty had an email

 exchange with Facebook regarding Tucker Carlson’s post asserting that vaccines are ineffective.

 Upon learning (likely through CrowdTangle) 18 that Mr. Carlson’s post was the most viewed

 vaccine-related post on Facebook that day, Mr. Slavitt and Mr. Flaherty reached out to their

 respective contacts at Facebook. Mr. Slavitt wrote: “Number one on Facebook [today]. Sigh.” Dkt.

 174-1 at 35. Mr. Flaherty wrote: “[T]he top post about vaccines today is [T]ucker Carlson saying

 they don’t work.” Id. at 22. He added: “Yesterday was Tomi Lehren [sic] saying she won’t take

 one. This is exactly why I want to know what ‘Reduction’ actually looks like—if ‘reduction’ means

 ‘pumping our most vaccine hesitant audience with [T]ucker Carlson saying it doesn’t ‘work’ then

 . . . I’m not sure it’s reduction!”19 In its response to both White House officials, Facebook explained

 that Mr. Carlson’s post was “not the most popular post about vaccines on Facebook [that day],”

 noting also that “[r]egardless of popularity, the Tucker Carlson video does not qualify for removal

 under [its] policies.” Id. at 34.

         45.   Mr. Flaherty responded by asking Facebook to help the White House understand how

 it was applying its content moderation policies: “I guess this is a good example of your rules in

 practice then—and a chance to dive in on questions as [to how] they’re applied,” wrote Mr.



 18
    CrowdTangle is a Facebook tool that allows users to “[m]onitor public information” about the
 reach of Facebook posts. Ex. 51 (CrowdTangle, Meta, https://perma.cc/L7N2-CSK5). “FEMA has
 been a user of CrowdTangle since 2015, and has used it to create real-time displays for their various
 regional teams to support their social media situational awareness efforts and help direct needs or
 information clarification.” Ex. 52 at 3 (MOLA_DEFSPROD_00018060).
 19
    “Reduction” is likely a reference to Facebook’s borderline content policy, under which
 Facebook has pledged since 2018 to combat misinformation by “reducing its distribution and
 virality.” Ex. 23 at 8.


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 Flaherty. Id. at 33. He went on to ask, among other things: “How was this [the Tucker Carlson

 video] not violative? . . . What exactly is the rule for removal vs demoting? Moreover: you say

 reduced and demoted. What does that mean?” Id. Mr. Flaherty ended his email by remarking:

 “[n]ot for nothing but last time we did this dance, it ended in an insurrection.” Id. at 34. Later that

 day, Mr. Flaherty followed up with another question: “And sorry—if this was not one of the most

 popular posts about the vaccine on Facebook today, then what good is [C]rowd[T]angle?” Id. at

 33. When after two days Facebook still had not responded, Mr. Flaherty followed up (in

 frustration): “These questions weren’t rhetorical[.]” Id. Facebook thereafter responded with

 answers to Mr. Flaherty’s questions, including that Mr. Carlson’s post was not violative because

 “while [Facebook] remove[d] content that explicitly directs people not to get the vaccine, . . .

 [Facebook] reviewed this content in detail and it does not violate those policies.” Id. at 36.

        46.    The aforementioned exchanges demonstrates that, even in a moment of apparent (and

 atypical) frustration with Facebook, White House officials remained focused on obtaining

 information from social media companies to better understand the important problem of

 misinformation, as was true throughout their interactions with Facebook and other platforms. In

 the exchange, White House officials sought an explanation as to why a post by an influential figure

 that discouraged vaccination was surging in popularity given the company’s content moderation

 policies (hence Mr. Flaherty’s reference to “Reduction”). When Facebook responded that the post

 did not violate its community standards, White House officials did not demand (or even request)

 that Facebook remove the post or change its policies so that the post would be considered violative.

 Instead, the White House officials sought to learn more about how Facebook applied its policies—

 such as its little-understood “demoti[on]” policy for borderline content, see supra Defs.’ PFOF

 § I.D—and how the White House could use Facebook’s public-data resource (CrowdTangle) to




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 understand what Americans were seeing on the platform. Although Mr. Flaherty used strong

 language at times, this language reflected his frustration over not receiving answers to his repeated

 requests for information and the urgency of the public health crisis that the Administration was

 working to tackle—not threats or demands that Facebook change its content moderation policies

 or how they were enforced. Nor is there any evidence that Facebook subsequently changed its

 approach to applying its established policies, or took any action against the Tucker Carlson post,

 or any other post, as a result of the White House’s contacts. Defs.’ Resp. PFOF ¶¶ 81-82, 93-97.

                b. No White House Demands for Changes to the Companies’ Content Moderation
                   Policies or Practices Regarding COVID-19
        47.   Indeed, the record contains no evidence that White House officials demanded that

 social media companies adopt particular changes to their content moderation policies or the

 manner of their enforcement, or that action be taken against specific posts concerning COVID-19.

 Mr. Flaherty disclaimed the notion that he (or anyone at the White House) knew how best to

 combat misinformation on social media. See, e.g., Dkt. 174-1 at 11 (“I will . . . be the first to

 acknowledge that borderline content offers no easy solutions.”). Moreover, on one occasion when

 Mr. Flaherty shared specific proposals with Facebook—proposals that were developed by third-

 party researchers—Mr. Flaherty emphasized that the White House was not asking Facebook to

 adopt those recommendations. See generally Defs.’ Resp. PFOF ¶¶ 34-211.

     48. Specifically, on April 23, 2021, Mr. Flaherty sent Facebook’s representative an email

 with the subject “Research Suggestions.” Pls.’ Jones Decl., Ex. L at 1 (Dkt. 214-14). An outside

 group had recently “[b]rief[ed]” the White House on COVID-19 vaccine misinformation on

 Facebook. Id. Mr. Flaherty sent Facebook the outside group’s findings, which included specific

 recommendations, including that “Facebook should direct resources to equal policy enforcement

 around violative content and networks in non-English languages.” Id. at 2. In his cover email, Mr.



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 Flaherty explicitly noted that Facebook should not “read this as White House endorsement of these

 suggestions (or, also, as the upper bound of what our thoughts on this might be).” Id. at 1. He noted

 that he was sending the recommendations only in the “spirit of transparency” because the findings

 were “circulating around the building[.]” Id. On May 1, Facebook wrote to Mr. Slavitt, thanking

 “the [White House] team for sharing the research work” and providing “some details on where

 we’re developing work in this space (and where we aren’t).” Dkt. 174-1 at 41-42. The White House

 did not respond to this note with threats or demands to implement the outside group’s suggestions.

 Id. at 41. Instead, Mr. Flaherty repeated his typical questions about what Facebook was seeing on

 its platform. Id. (“Not to sound like a broken record, but how much content is being demoted, and

 how effective are you at mitigating reach, and how quickly?”).

                   c. White House Requests for Action on Fake and Doctored Posts and Accounts
            49.   At times, White House officials requested that social media companies remove fake

 accounts from their platforms—such as imposter accounts purporting to belong to members of the

 President’s family, or Dr. Fauci. See Ex. 53 at 1 (MOLA_DEFSPROD_00016598) (the President’s

 daughter-in-law); Dkt. 174-1 at 4 (the President’s grandchild); Ex. 54 at 1 (MOLA_DEFSPROD_

 00016939) (Dr. Fauci); Ex. 55 at 1-2 (MOLA_DEFSPROD_00017968) (a “fan account” for the

 President’s son). White House officials also flagged a doctored video of the First Lady. Dkt. 174-

 1 at 65.

            50.   It is not unusual for members of the public, or the victims themselves, to report

 imposter accounts or doctored content to social media platforms. Twitter, Facebook, and YouTube

 each prohibit imposter accounts and provide mechanisms for the public to report violations of their




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 imposter rules.20 Indeed, in one instance when the White House flagged a fake account of one of

 the President’s family members, Twitter merely directed the White House to fill out its publicly

 available imposter form. Ex. 53 at 1. Understandably, however, some companies have a

 mechanism for the White House to submit expedited requests for removal of such information,

 since willfully impersonating a federal official is a federal crime, see 18 U.S.C. § 912, and could

 have dangerous consequences for public safety and national security. Those mechanisms,

 moreover, have been utilized by at least the prior two administrations. See Dkt. 174-1 at 3 (noting

 that Twitter offered the Biden Administration “the same system we had in place for the previous

 two administrations”).

        51.   The record demonstrates that the White House requested that the platforms review

 the above-mentioned incidents, see Ex. 54 at 2 (“Hi there –any way we can get this pulled down?”);

 Ex. 53 at 1 (“[This account] is an impersonation – and [the victim] has requested it be taken

 down.”); Dkt. 174-1 at 4 (“Please remove this account immediately”); id. at 65 (“[w]ould you mind

 looking at this video and helping us with next steps to put a label or remove it?”), and that the

 platforms accordingly evaluated the White House’s requests under their existing policies. When

 the platforms determined that the content was violative, it was removed. See, e.g., Dkt. 174-1 at 4.

 When the content was not violative—as was the case with a doctored video of the First Lady

 circulating on Twitter—the platform declined to remove it. Id. at 63 (“After escalating this to our

 team, the [t]weet and video referenced will not be labeled under our synthetic and manipulated

 media policy.”). In the latter instance, the White House did not seek to compel Twitter to change

 its decision; it asked for “any other info” about why the content did not qualify for labeling, “in


 20
   See Ex. 56 (Account Integrity & Authentic Identity, Meta, https://perma.cc/DCR9-9FBY); Ex.
 57 (Authenticity on Twitter, Twitter Help Ctr., https://perma.cc/6NVT-PS59); Ex. 58
 (Impersonation policy, YouTube Help, https://perma.cc/R5BD-X6JB).


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 order to help us understand the Twitter processes best.” Id. at 61. A White House official also

 requested the removal of a tweet by Robert F. Kennedy, Jr., regarding COVID-19 vaccines. As

 discussed further below, see infra Defs.’ Arg. § II.B.1, the record shows that the tweet had already

 been escalated for review by Twitter’s independent trust and safety team, which—applying its

 independent judgment—did not remove the tweet.

         52.    To be sure, White House officials sometimes used language reflecting urgency or

 exasperation when engaging with the social media companies about imposter accounts and

 doctored content. See, e.g., Dkt. 174-1 at 58 (Mr. Flaherty observing that Twitter’s explanation

 was “Total Calvinball”). This language merely reflects the same frustration that Mr. Flaherty

 expressed when he perceived the platforms to be “applying their policies inconsistently or to not

 be forthcoming in their assessment of the problems with misinformation and disinformation on

 their platforms.” See Ex. 36 at 20. It does not reflect demands or threats of legal or regulatory

 retaliation.

         53.    Since the start of 2023, the landscape of White House COVID-19 efforts has changed

 dramatically. On April 10, 2023, the President signed into law a resolution terminating the national

 emergency related to the COVID-19 pandemic. See Joint Resolution of Apr. 10, 2023, Pub. L. No.

 118-3, 137 Stat. 6. And HHS’s public health emergency is likewise due to end on May 11, 2023,

 in part because, “thanks to the [A]dministration’s whole-of-government approach to combating

 the virus, we are in a better place in our response than we were three years ago, and we can

 transition away from the emergency phase.” Ex. 67 at 1 (COVID-19 Public Health Emergency

 (PHE), Dep’t of Health & Hum. Servs., https://perma.cc/3HZ4-QM3G). Moreover, recognizing

 that “transitioning out of the emergency phase is the natural evolution of the COVID response,”

 the White House plans to wind down its COVID-19 Response Team later this month. See Ex. 59




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 (Dan Diamond & Taylor Pager, White House Disbanding its Covid-19 Team in May, Wash. Post

 (Mar. 22, 2023)). The COVID-19 Response Team was charged, among other things, with

 “[o]rganizing the White House to combat COVID-19,” Exec. Order No. 13,987, 86 Fed. Reg.

 7019, § 2 (Jan. 20, 2021), and included several White House staffers who communicated with

 social media companies about the spread of COVID-19 misinformation on their platforms,

 including Mr. Slavitt and other Defendants. See Ex. 60 at 1 (MOLA_DEFSPROD_00018067).

 Winding down the team and ending COVID-19 emergency declarations reflect that the

 Administration is reaching a new phase of its response to the virus. See also Defs.’ Resp. PFOF

 ¶¶ 188-211.

        B. The Surgeon General
        54.    The U.S. Surgeon General is commonly referred to as the “Nation’s Doctor.”21 The

 Office of the Surgeon General (“OSG”) is housed within HHS, and the Surgeon General reports

 to the Assistant Secretary for Health.22 The Surgeon General does not have independent regulatory

 authority. See, e.g., Reorganization Plan No. 3 of 1966, 31 Fed. Reg. 8855 (June 25, 1966)

 (transferring the Surgeon General’s powers to what is now HHS); Declaration of Max Lesko, Chief

 of Staff, Off. of the Surgeon Gen. ¶ 3 (“Lesko Decl.”) (Ex. 63). Rather, the Surgeon General’s role

 is primarily to draw attention to public health matters affecting the nation. 23 For example, Surgeons

 General have traditionally issued reports and calls to action on public health issues ranging from



 21
    See Ex. 61 at 1 (About the Office of the Surgeon General, U.S. Dep’t of Health & Hum. Servs.,
 https://perma.cc/AHX2-KGED).
 22
    See Office of the Assistant Secretary for Health; Statement of Organization, Functions and
 Delegations of Authority, 52 Fed. Reg. 11,754, 11,754-55 (Apr. 10, 1987); see also Ex. 62 at 1
 (Office of the Assistant Secretary for Health Organizational Chart, U.S. Dep’t of Health & Hum.
 Servs., https://perma.cc/R5JF-URY9).
 23
    See Ex. 64 at 1 (Mission of the Office of the Surgeon General, U.S. Dep’t of Health & Hum.
 Servs., https://perma.cc/87KA-DMD9); see also Waldo Dep. 26:1-11.


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 health literacy 24 to opioid addiction,25 to—perhaps most famously—the health risks of smoking

 cigarettes. 26

         55.      The current Surgeon General, Dr. Vivek Murthy, took two such official actions

 relating to health misinformation in 2021 and 2022. In July 2021, Dr. Murthy issued a Surgeon

 General’s Advisory (“Advisory”) that called attention to the harms caused by the spread of

 misinformation and offered “recommendations” for various sectors of society, including social

 media platforms, to address such harms. And in March 2022, Dr. Murthy issued a Request for

 Information (“RFI”), published in the Federal Register, seeking comments from interested

 members of the public about health misinformation on social media. In addition to the Advisory

 and the RFI, Dr. Murthy made public statements reiterating the Advisory’s themes at a White

 House press briefing, at public events, and in interviews. In private, OSG held courtesy meetings

 with Facebook, Google, and Twitter to inform them of the Advisory’s release and its themes, and

 the Surgeon General held an additional meeting with Facebook on July 23, 2021 (at Facebook’s

 request) at which the Advisory’s themes were discussed. OSG has not flagged specific posts for

 social media companies or demanded particular actions from the companies (let alone any specific

 company), nor has it worked with the companies to moderate content on their platforms. Lesko

 Decl. ¶ 8 (Ex. 63). Moreover, OSG was not—and is not—involved in a coalition of researchers

 known as the “Virality Project.” Indeed, following the issuance of the Advisory and the RFI, the




 24
    See generally U.S. Dep’t of Health & Hum. Servs., Proceedings of the Surgeon General’s
 Workshop on Improving Health Literacy (2006), https://perma.cc/25F7-ABJ2.
 25
    See Ex. 66 (U.S. Surgeon General’s Advisory on Naloxone and Opioid Overdose, U.S. Dep’t of
 Health & Hum. Servs., https://perma.cc/W9KJ-QPAW).
 26
    See generally U.S. Dep’t of Health, Education, & Welfare, Smoking and Health: Report of the
 Advisory Committee to the Surgeon General of the Public Health Service (1964),
 https://perma.cc/Z2WJ-UWEN.


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 Surgeon General’s office has pivoted to “core issues” other than COVID-19-related

 misinformation. Waldo Dep. 114:6-115:5 (Dkt. 210-1).

              1. The Advisory, the RFI, and Other Public Statements
        56.    Dr. Murthy was confirmed by the Senate on March 23, 2021, see 167 Cong. Rec.

 S1721 (daily ed. Mar. 23, 2021), and sworn into office on March 25. On July 15, 2021, Dr. Murthy

 published a Surgeon General’s Advisory related to COVID-19 misinformation. See generally

 Waldo Ex. 11 (Dkt. 210-12) (“Advisory”). A Surgeon General’s Advisory is a “public statement

 that calls the American people’s attention to a public health issue” and provides

 “recommendations” as to “how that issue should be addressed.” Id. at 3. A Surgeon General’s

 Advisory does not impose any obligations on private parties.

        57.    The July 2021 Advisory states that health misinformation has “sowed confusion,

 reduced trust in public health measures, and hindered efforts to get Americans vaccinated.” Id. at

 16. The Advisory calls for a “whole-of-society effort” to “curb the spread of harmful

 misinformation,” id. at 6-7, and it offers recommendations as to how various sectors can tackle the

 issue, id. at 8-15. For “technology platforms,” the Advisory identifies eight recommendations,

 including “[a]ssess[ing] the benefits and harms of products and platforms and tak[ing]

 responsibility for addressing the harms,” “[g]iv[ing] researchers access to useful data to properly

 analyze the spread and impact of misinformation,” and “[p]rioriti[zing] the early detection of

 misinformation ‘super-spreaders’ and repeat offenders.” Id. at 12. The Advisory does not mention

 any particular social media post—or any individual responsible for such a post—that the Surgeon

 General would consider to be harmful misinformation. Nor does the Advisory demand any specific

 action of social media companies. To the contrary, the Advisory recognizes that “[d]efining

 ‘misinformation’ is a challenging task,” id. at 17, and it encourages platforms to consider how to




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 “safeguard[] user privacy and free expression” while addressing the spread of health

 misinformation, id. at 6-7. See also Defs.’ Resp. PFOF ¶¶ 318-329.

        58.   On the date of the Advisory’s release, July 15, 2021, Dr. Murthy spoke at a virtual

 event hosted by the Stanford Internet Observatory and a joint press briefing with White House

 Press Secretary Jennifer Psaki. During the Stanford event, Dr. Murthy advised that “[i]f we want

 to fight health misinformation, we’ll need all parts of society to pull together,” which is “why this

 surgeon general advisory has recommendations for everyone.” Waldo Ex. 12 at 7-8 (Dkt. 210-13).

 He also described the Advisory’s recommendations at a high level. Id. At the White House briefing

 later that day, Dr. Murthy reiterated the same points, explaining that “we need an all-of-society

 approach to fight misinformation” and that the Advisory “has recommendations for everyone.”

 See Ex. 40 at 2. In response to journalists’ questions, he noted that the Advisory “ask[ed] [social

 media platforms] to step up” to address misinformation, but made no demands that they take action

 of any kind, or suggest that the Government would retaliate against them if they did not. Id.

        59.   After the Advisory’s release, Dr. Murthy spoke publicly about the importance of

 addressing health misinformation—as described in the Advisory—and the need for a “healthy

 information environment.” See Ex. 68 (Clay Skipper, Surgeon General Dr. Vivek Murthy Sees

 Polarization as a Public Health Issue, GQ (Mar. 11, 2022)); see also Ex. 69 (Rockefeller

 Foundation, Building Public Health’s Defense Against Disinformation, https://perma.cc/M5EG-

 YJKG) (announcing a February 14, 2022, virtual event on misinformation featuring Dr. Murthy).

 In these remarks, Dr. Murthy did not make demands or threaten legal action, nor did he call out

 specific social media companies or their users.

        60.   In March 2022, OSG published in the Federal Register an RFI seeking “input from

 interested parties on the impact and prevalence of health misinformation in the digital information




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 environment during the COVID-19 pandemic.” Impact of Health Misinformation in the Digital

 Information Environment in the United States Throughout the COVID-19 Pandemic Request for

 Information (RFI), 87 Fed. Reg. 12,712, 12,712 (Mar. 7, 2022). The RFI requested any comments

 by May 2, 2022. It sought information on a broad range of topics, including “[i]nformation about

 sources of COVID-19 misinformation” on social media and elsewhere, such as “specific, public

 actors that are providing misinformation” and “components of specific platforms that are driving

 exposure to information.” Id. at 12,714. The RFI emphasized, however, that “[a]ll information

 should be provided at a level of granularity that preserves the privacy of users.” Id. at 12,713. Like

 the Surgeon General’s Advisory, the RFI imposed no obligations; responses were purely

 voluntary. See id. at 12,712 (“You may respond to some or all of the topic areas covered in the

 RFI.”); see also Defs.’ Resp. PFOF ¶¶ 411-423.

        61.    On April 7, 2023, OSG published the comments it received in response to the RFI.

 Several social media companies submitted responses, including Twitter, Google, and Meta

 (Facebook). See Ex. 70 (RFI Responses Compiled, Dep’t of Health & Hum. Servs (Apr. 7,

 2023)). 27 None of these companies’ responses indicates that they changed their content moderation

 policies, or moderated the content of any users, in response to the RFI (or any other action taken

 by OSG). See id. at 1-6 (Twitter); id. at 7-14 (Google); id. 15-24 (Meta). Twitter’s five-page

 response, for example, simply discusses the content moderation policies that Twitter was at that

 point applying and includes statistics concerning their enforcement. Id. at 1-6. Meta’s eight-page

 submission similarly discusses Facebook’s polices that were in place at the time, noting that the


 27
   In response to the RFI, OSG received more than 7,500 pages of comments from various sectors
 of society, including from researchers, private firms, public health departments, and many
 individuals. Those comments are publicly available at https://www.regulations.gov/comment/
 HHS-OASH-2022-0006-0002. For convenience and feasibility, Defendants’ exhibit contains only
 the responses submitted by Twitter, Google, and Meta (Facebook). See Ex. 70.


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 document offers a “high-level” description of those policies and directing readers to view Meta’s

 website for “[m]ore details around our approach to misinformation.” Id. at 18. Google’s

 submission takes the same approach; it provides an overview of Google’s “efforts in addressing

 COVID-19 health misinformation and disinformation,” including Google’s efforts to “provid[e]

 authoritative content.” Id. at 13. OSG does not intend to take any formal action with respect to the

 RFI responses it received. See Lesko Decl. ¶ 10 (Ex. 63).

              2. Direct Communications with Social Media Companies
        62.    On May 25, 2021, Dr. Murthy participated in an introductory call with Nick Clegg,

 President of Global Affairs at Facebook, and Mr. Slavitt. See Ex. 187 at 5 (Defs.’ Fourth Am.

 Combined Objections & Resp. to Pl. First Set of Prelim. Inj.-Related Interrogatories. On May 28,

 Mr. Clegg followed up by sending Dr. Murthy and Mr. Slavitt a biweekly “COVID insights

 report”—which described Facebook’s “most engaged or the most viewed posts,” Waldo Dep.

 140:15-16—for May 3-15, 2021, Waldo Ex. 4 at 1 (Dkt. 210-5). Mr. Clegg also “highlight[ed] a

 few policy updates” that Facebook had announced publicly on May 27, and he shared “data [he]

 mentioned on [the] call” that “point to the positive (if not as publicly discussed) influence

 [Facebook was] having on attitudes towards vaccines[.]” Id.; see also Defs.’ Resp. PFOF ¶¶ 252,

 282-286.

        63.    Before the Advisory’s July 15, 2021 release, Eric Waldo, then-Chief Engagement

 Officer for OSG,28 arranged high-level “stakeholder calls with relevant parties,” also known as

 “rollout calls.” Waldo Dep. 18:20-21. The goal of the rollout calls was for OSG to “give

 [stakeholders] a heads-up that the advisory was going to come out” and to encourage them to



 28
   Mr. Waldo no longer works at OSG. Katharine Dealy, OSG’s Director of Engagement, is his
 successor. Defs.’ Notice Regarding Substitution of Official-Capacity Defendants at 2 (“Defs.’
 Notice of Substitution”) (Dkt. 263).


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 review the document when it became public. Id. at 18:20-21; 87:2-6. Mr. Waldo held rollout calls

 on July 12 and July 14 with representatives from Twitter and Google/YouTube, respectively. Ex.

 187 at 35-36. These were cordial meetings. See Waldo Dep. 87:2-6. Indeed, representatives from

 Google/YouTube expressed agreement as to the importance of combating health misinformation

 and said they were “excited” to review the Advisory. Id. at 89:25-90:2. Due to scheduling conflicts,

 a rollout call with Facebook did not occur until the day after the Advisory was released, or July

 16, 2021. Id. at 90:15-19. That meeting occurred on the same day that the President told reporters

 that persons spreading COVID-19 misinformation on Facebook were “killing people”—a

 comment that he clarified two days later, see supra at 28-29—which made the meeting “slightly

 awkward.” Id. at 92:25. Facebook and OSG did not discuss the President’s comments or

 Facebook’s sentiment towards it, however. Id. at 94:7-10; see also Defs.’ Resp. PFOF ¶¶ 153, 157,

 217, 222, 223, 227, 254-258, 273, 287-292, 348-349.

        64.   On July 16, 2021—the same day that OSG and Facebook met to discuss the

 Advisory—Mr. Clegg reached out to Dr. Murthy to request a call regarding “how we can continue

 to work toward . . . shared goals” despite “disagreement on some of the policies governing

 [Facebook’s] approach[.]” Waldo Ex. 17 at 2 (Dkt. 210-16); see also Waldo Ex. 18 at 1 (Dkt. 210-

 17) (text message from Mr. Clegg to Dr. Murthy). Mr. Clegg noted that Facebook staff were feeling

 “a little aggrieved” by the President’s comments. Waldo Ex. 18 at 1 (Dkt. 210-17). In his email,

 Mr. Clegg mentioned that OSG and Facebook had met that day to discuss “the scope of what the

 White House expect[ed] from” Facebook. Waldo Ex. 17 at 2 (Dkt. 210-16). Mr. Waldo testified,

 however, that Mr. Clegg misunderstood the nature of OSG’s meeting with Facebook, which Mr.

 Waldo had attended (and Mr. Clegg had not). Waldo Dep. 236:21-25. At the July 16 meeting, OSG




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 had simply “walk[ed] over the . . . recommendations section” of the Advisory “at a high level.” Id.

 91:7-16.

        65.   In addition, on July 17, 2021, Facebook published a document describing actions it

 was “already tak[ing] . . . on the eight recommendations from the Surgeon General” in the form of

 measures that Facebook had had in place since April 2020, more than a year prior to the Advisory.

 See Ex. 71 (Taking action to combat COVID-19 vaccine misinformation, Facebook (July 17,

 2021), https://perma.cc/6R6J-ANNF). The four-page document does not mention a single new

 action that Facebook would begin to take in light of the Surgeon General’s Advisory; rather, it

 describes ways in which Facebook was already addressing the Advisory’s recommendations. Id.

        66.   In response to Mr. Clegg’s meeting request, Dr. Murthy met virtually with Mr. Clegg

 on July 23, 2021. Dr. Murthy tried to set a “cordial” tone at the meeting and raised the issue of

 “wanting to have a better understanding of the reach of the mis- and disinformation” on Facebook.

 Waldo Dep. 107:1-2, 98:18-22. The “most specific questions were about understanding the data

 around the spread of misinformation and how we [are] measuring that,” Id. at 35:20-23, meaning

 “how we’re measuring the harm and the impact,” Id. at 36:14. He also reiterated that OSG is

 “asking everyone to do more.” Id. at 107:13-14. According to Mr. Waldo, someone from OSG’s

 staff (Mr. Waldo could not recall whom) made a request of Facebook to explain “if they would

 share” what they were doing in response to the Advisory, “if anything.” Id. at 109:5-17. And an

 offer was made (again, Mr. Waldo could not recall by whom) to connect DJ Patil, the White

 House’s “data person,” with Facebook personnel, so that Dr. Patil could better understand

 Facebook’s data about the spread of misinformation. Id. at 112:1-10. Dr. Murthy did not demand

 specific actions or threaten legal consequences against Facebook if they were not taken. See id. at

 35:20. See also Defs.’ Resp. PFOF ¶¶ 259-271, 352-368.




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        67.   After the July 23, 2021 call, Dr. Murthy did not have further meetings about

 misinformation with Facebook. See Lesko Decl. ¶ 12 (Ex. 63). Nor did OSG request meetings on

 misinformation with other social media companies. 29 OSG concluded that such meetings “would

 [not] be a good use of Dr. Murthy’s time.” Waldo Dep. 115:1, 113:3-15. Mr. Waldo explained

 why OSG decided to deprioritize these meetings:

        [OSG had] done the work that we intended vis-a-vis the advisory, which is the
        Surgeon General's role, to raise up the issue, bring attention to it, and then . . . we
        wanted to move on to other priorities and that, you know, our part of the relay race
        was over. We had -- we had raised up the flagpole that this is an issue of public
        importance and that hopefully researchers, nonprofits, citizens, whomever, relative
        stakeholders would take actions. But we weren’t – we’re not a regulatory agency.
        We don’t have oversight authority, et cetera. So it wasn't our job then to sort of
        show up with a clipboard, but rather we were trying to encourage the field to move
        forward and give permission structure where others might recognize that this is
        important and want to study it more, want to do more work in this area. But . . . Dr.
        Murthy wanted to focus on other core issues . . . .

 Id. at 114:6-115:5.

          68. For its part, Facebook followed up with OSG in several ways. First, Mr. Clegg

 thanked Dr. Murthy for his time on July 23, 2021, and expressed wanting to “make sure [he] saw

 the steps [Facebook] took just this past week”—or, since July 16—“to adjust policies on what we

 are removing with respect to misinformation.” Waldo Ex. 19 at 1 (Dkt. 210-18). 30 In that message,

 Mr. Clegg also expressed interest in “a regular cadence of meetings,” which never materialized

 because OSG “didn’t think [such meetings] would be worth [its] time given [OSG’s] competing



 29
    Mr. Waldo participated in three meetings—two with Google in July and September 2021 and
 one with Facebook in August 10—at the companies’ request. Ex. 187 at 35-36. These were
 courtesy meetings that the companies requested to give OSG advance notice of announcements
 and work that they were doing on misinformation. See Waldo Dep. 66:16-23, 129:1-23.
 30
    The record does not indicate clearly what these “steps” were. And, as discussed infra,
 Facebook’s announcement with respect to the Surgeon General’s Advisory did not describe any
 new action that Facebook would take. See Ex. 71. The document highlights ways in which
 Facebook was already following the recommendations laid out in the Advisory.


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 priorities.” Waldo Dep. 254:7-12. Second, Facebook occasionally sent OSG updates on its

 activities. For example, on August 23, 2021, shortly after the Food and Drug Administration

 (FDA) approved the Pfizer COVID-19 vaccine, a Facebook representative forwarded Mr. Waldo

 an email informing the White House that Facebook planned to update its misinformation policies

 to remove claims that there were no FDA-approved vaccines. Waldo Ex. 27 at 1 (Dkt. 210-23).

 Third, Facebook continued to send OSG—mainly, Mr. Waldo—its bi-weekly COVID insight

 reports. See Waldo Ex. 54 at 1 (Dkt. 210-46) (Facebook sending Mr. Waldo “the most recent two

 reports” from June 24 to July 8, 2022). Mr. Waldo did not “spend a lot of time looking at [the]

 reports,” Waldo Dep. 140:14-20, and he was not aware of any action taken by federal officials in

 response to the reports, id. at 141:14-16. As of December 2022, Mr. Waldo did not believe that he

 was still receiving those reports. Id. at 294:1-2. Mr. Waldo no longer works at OSG. See Defs.’

 Notice Regarding Substitution of Official-Capacity Defendants at 2 (“Defs.’ Notice of

 Substitution”) (Dkt. 263).

              3. The Virality Project
        69.     One of the Advisory’s recommendations for governments is to “[i]nvest in fact-

 checking and rumor control mechanisms where appropriate.” Advisory at 15. In support, the

 Advisory cites an online article written by individuals at the Stanford Internet Observatory and

 posted on a website for the “Virality Project.” See id. at 22 n.62 (citing M. Masterson, A. Zaheer,

 et al., Rumor control: A framework for countering vaccine misinformation, Virality Project Policy

 Analysis (May 4, 2021) (Ex. 72)). The Virality Project is a “coalition of research entities focused

 on supporting real-time information exchange” about COVID-19 misinformation “between the

 disinformation research community, public health officials, civil society organizations,

 government agencies, and social media platforms.” Ex. 73 (Announcing the Virality Project,




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 Virality Project (Feb. 11, 2021), https://perma.cc/9T3J-F2HG). One of the lead entities responsible

 for the Virality Project is the Stanford Internet Observatory. See id.

        70.    The Virality Project issued a “final report” on February 24, 2022, which was later

 revised on April 26, 2022. Waldo Ex. 28 at 2 (Dkt. 210-24) (“Virality Project Report”). Among

 other things, the report describes a process by which Virality Project analysts “created tickets

 documenting URLs” of “both specific pieces of misinformation and broader narratives.” Virality

 Project Report at 27. According to the report, 174 “incidents” of misinformation were “referred to

 platforms for potential action.” Id. at 30. The Virality Project provided information to social media

 platforms, but had no control over content moderation, censorship, or labeling posts. See Ex. 74

 (Background on the SIO’s Projects on Social Media, Stanford Internet Observatory (Mar. 17,

 2023)) (“SIO Statement”). Rather, social media companies examined any reports sent to them by

 the Virality Project to determine if the content violated their policies and did not take action in

 cases where companies felt their existing policies were not violated. Id. Decisions to remove or

 flag tweets were made by the social media companies. Id.

        71.    The report also notes that the Virality Project “built strong ties” with OSG, Virality

 Project Report at 17, and that it “hosted [a] discussion with [Dr.] Murthy” on July 15, 2021, the

 day of the Advisory’s launch and Dr. Murthy’s virtual appearance at the event hosted by the

 Stanford Internet Observatory, id. at 143. But according to OSG’s Chief of Staff, Max Lesko, OSG

 “never provided any tip, flag, ticket, report, or other form of notification or input to the Virality

 Project concerning posts or accounts on social media.” See Lesko Decl. ¶ 16 (Ex. 63). Moreover,

 OSG did not understand the Stanford event on July 15, 2021, to be a Virality Project event, and it

 was not advertised as such. Id. ¶ 15; see also Waldo Ex. 12 at 1 (Dkt. 210-13) (advertising the July

 15, 2021, event as being hosted by the Stanford Internet Observatory). Mr. Waldo, who led OSG’s




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 rollout of the Advisory, testified that he had never heard of the Virality Project. Waldo Dep.

 207:10-14. Nor was he aware of any OSG involvement in the Virality Project. Id. at 207:18-21.

 He was not familiar with anyone at OSG or in the Federal Government reporting specific instances

 of misinformation on social media—referred to in the Virality Project report as “tickets”—to the

 Virality Project, either. Id. at 285:4-10.

         72.   The Virality Project has not been active since 2022. Its February 2022 report is self-

 described as a “final” report. See Virality Project Report. The project’s most recent “weekly

 briefing,” “policy analysis,” and “rapid response” posts—the only three categories of posts

 available on the Virality Project’s website—all occurred in August 2021.31 The final “weekly

 briefing” post from August 3, 2021, notes that it will be the project’s “last official briefing.” See

 Ex. 75 (Virality Project Weekly Briefing # 32, Virality Project (Aug. 3, 2021)). And the Virality

 Project’s Twitter account has made no posts since announcing the final report on February 24,

 2022. See Ex. 76 (Virality Project, Twitter (Feb. 24, 2022, 2:08 PM), https://perma.cc/6ADR-

 YCW7). To the best of OSG’s knowledge, the Virality Project is no longer currently active, and

 OSG does not currently have any contact with it. Lesko Decl. ¶ 14 (Ex. 63). See also Defs.’ Resp.

 PFOF ¶¶ 1236-1265.

         C. The Centers for Disease Control and Prevention (CDC)
         73.   CDC, a component of HHS, is a “science-based, data-driven, service organization

 that,” “[f]or more than 70 years,” has worked to “protect[] the public’s health.” Ex. 77 (CDC 24/7:

 Saving Lives, Protecting People, Ctrs. for Disease Control & Prevention, https://perma.cc/Z53S-

 9J8S (last updated Aug. 31, 2022)). Its mission is to “work[] 24/7 to protect America from health,



 31
   See Ex. 81 (Weekly Briefings, Virality Project, https://perma.cc/W64T-2CXX); Ex. 82 (Rapid
 Response, Virality Project, https://perma.cc/9Z2L-KE5F); Ex. 83 (Policy Analysis, Virality
 Project, https://perma.cc/CZS2-KKSB).


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 safety and security threats, both foreign and in the U.S.” Ex. 78 (Mission, Role and Pledge, Ctrs.

 for Disease Control & Prevention, https://perma.cc/SU2B-Z6TR (last updated Apr. 29, 2022)). To

 accomplish its mission, CDC “conducts critical science and provides health information” to

 prevent “expensive and dangerous health threats, and respond[] when [such threats] arise.” Id.

 CDC’s Office of Communications supports the agency’s mission by “[e]nsur[ing] CDC’s work is

 accessible, understandable, and actionable,” and by “[m]aximiz[ing] public trust in and credibility

 of CDC’s science, programs, and recommendations.” Ex. 79 (Office of Communications (OC),

 Ctrs. for Disease Control & Prevention, https://perma.cc/885U-GHJ8 (last updated Apr. 3, 2023)).

        74.   Carol Crawford works for the CDC Office of Communications as the head of its

 Division of Digital Media. Crawford Dep. 11:7-12 (Dkt. 205-1). In that role, Ms. Crawford

 provides leadership for CDC’s website and social media accounts. Id. at 11:14-19; Declaration of

 Carol Crawford, Director of CDC’s Division of Digital Media ¶ 3 (“Crawford Decl.”) (Ex. 80);

 see also Ex. 79. That includes convening personnel from across the agency to manage the CDC

 website and maintain social media accounts, coordinating CDC’s web content management

 system, and drafting policies and guidelines in that space. Crawford Decl. ¶ 3 (Ex. 80). Ms.

 Crawford has worked for CDC in various capacities for 34 years. Id. ¶ 1.

        75.   At various times during 2020-2022, CDC communicated regularly with several

 social media companies (such as Facebook) and sporadically with others (such as Twitter),

 primarily about promoting COVID-19 health information from CDC and also about COVID-19

 misinformation on the companies’ platforms. When communicating with social media companies,

 CDC was either (1) responding to Facebook’s requests for science-based public health

 information; (2) proactively alerting Facebook, Twitter, and YouTube about false COVID-19

 claims the agency observed on the platforms that could adversely affect public health; or




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 (3) advising the companies where to find accurate information about such claims on CDC’s

 webpage. CDC also received bi-weekly summaries (in what were called “CrowdTangle reports”)

 from Facebook about high-volume COVID-19 content circulating on its platform. CDC did not

 direct or encourage the development or enforcement of the companies’ misinformation policies

 and did not direct or encourage them to take any particular actions with respect to any particular

 speakers 32 or claims circulating on their platforms.

              1. CDC’s Pandemic-Era Meetings with Social Media Companies
        76.    Even before the COVID-19 pandemic, Ms. Crawford had occasional contacts with

 social media companies, primarily for the purpose of managing CDC’s own social media accounts.

 At times, social media companies would reach out to CDC to partner with the agency on special

 projects such as promoting information about flu vaccines or addressing prescription drug

 overdoses. Id.

        77.    Early in the COVID-19 pandemic, Ms. Crawford and others from her office began

 to communicate regularly with representatives from certain social media companies about

 COVID-19. Those communications were largely prompted by the companies’ efforts to “get[]

 [CDC’s] credible information out to [their] audiences[.]” Crawford Dep. 181:25–182:1. Social

 media companies began regularly reaching out to CDC to ensure that the information they chose

 to promote on their platforms remained consistent with the latest CDC guidance on issues such as

 masking protocols or vaccine recommendations. Crawford Decl. ¶ 5 (Ex. 80). Google, for instance,



 32
    That includes the Individual Plaintiffs in this case. Crawford Dep. 264:2-18 (“Q: At any of your
 – in flagging any material for any of the social media issues, themes, facts, whatever you flag, can
 you say whether or not you flagged any information from the Great Barrington Declaration? A: I
 don’t know what that is. Q: Okay. How about Jay Bhattacharya? Anything from him? A: I don’t
 know who that is. Q: Marty Kulldorff. Anything from him? A: I don’t know who that is. Q: Aaron
 Kheriaty. Anything from him? A: I don’t know who that is. Q: Jim Hoft, or Gateway Pundit? A: I
 don’t know who that is. Q: All right. And Jill Hines? A: I don’t know who she is.”).


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 would reach out to verify that the CDC web links appearing in its search results were accurate and

 up-to-date. Id. And Facebook reached out for help identifying CDC content that the company

 wanted to promote in its platform “group” pages. Id.

        78.    An email from Facebook to Ms. Crawford in early February 2020 illustrates the types

 of communications the platforms had with CDC. At that time, a representative from Facebook

 informed Ms. Crawford that the company had “been working to identify how [it] can support

 efforts to provide users with accurate and timely information about [the] coronavirus,” Crawford

 Ex. 2 at 2 (Dkt. 205-3), and was considering initiatives to “mak[e] it easier” for users to find “CDC-

 credible information,” Crawford Dep. 18:9-15. The same Facebook representative informed CDC

 that the company was already taking “steps to control information and misinformation related to

 [COVID-19],” including by “remov[ing] [] misinformation” on its platform and by directing users

 to the WHO’s webpage. Crawford Ex. 2 at 3-4 (Dkt. 205-3). What Facebook was looking to do in

 February 2020—and the reason it was reaching out to CDC then—was to “get CDC’s feedback on

 a few key initiatives that” the company was “considering launching in the coming days/weeks” to

 promote CDC information. Id. at 2. Facebook proposed three initiatives: (1) “proactive messages,”

 called “‘Quick Promotions,’” “at the top of the News Feed to users in various countries about how

 to protect [themselves] from coronavirus,” which would point users to “credible websites including

 the WHO internationally, and the CDC in the US”; (2) a “Coronavirus Page serving up content

 that exists on other organizations’ [Facebook] pages including the CDC,” which users could find

 when they “search for information on coronavirus” on the platform; and (3) “a coronavirus ‘hub’

 which would contain various modules including pages to follow, fundraisers that are happening

 on the platform related to coronavirus, and potentially a common set of FAQs.” Id. at 3. The email

 from Facebook included “design mocks” and asked for CDC’s “feedback” on various questions,




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 including whether CDC thought it “would be beneficial to launch” the “Quick Promotions” “in the

 US at this time[.]” Id.

        79.    Ms. Crawford responded that the agency believed there would be “great value” in

 adding “Quick Promotions” to Facebook’s newsfeed and suggested that “if we can rotate

 messages, there could be times [CDC] might want to address widespread myths like mask use or

 new issues.” Id. at 2. She also stated that CDC thought the two other promotions were “great” and

 would “love to be a part of [them].” Id. She noted that “[U.S.] users will need information directly

 from CDC and other federal/local organizations rather than international organizations,” and asked

 Facebook to “[l]et us know what you need.” Id.

        80.    Soon, officials from CDC and Facebook began meeting weekly “to exchange

 information about COVID.” Crawford Dep. 16:13-15. Later in the pandemic, CDC began meeting

 regularly with Google. Id. at 180:16-17. For a “short period of time,” CDC met regularly with

 Pinterest as well, id. at 180:23-24; and “on occasion,” CDC met with Twitter, id. at 180:24-25–

 181:1. While “misinformation was discussed” in those meetings, the meetings were “by and

 large . . . about things other than misinformation,”—in particular, about promoting CDC

 information relating to COVID on the social media companies’ platforms. Id. at 181:22-25. These

 regular meetings facilitated conversations about the latest COVID-19 information in the midst of

 a pandemic environment where CDC’s knowledge and understanding of the novel virus were

 evolving. Crawford Decl. ¶ 6 (Ex. 80).

        81.    CDC no longer has regular meetings with any social media company except for

 Google, and it has no regular or direct communications with any social media company about

 misinformation. Id. ¶¶ 6-12. The last regular meeting with Facebook personnel took place in the

 summer of 2021. Id. ¶ 8. It has been well over a year since CDC had a meeting with Twitter or




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 Pinterest that touched on misinformation. Id. ¶¶ 9-10. And while CDC currently meets regularly

 with Google, there is no evidence that those meetings have related in any way to misinformation

 since March 2022. Id. ¶ 11. Instead, the bi-weekly meetings with Google focus on topics such as

 the impact of the redesign of the CDC.gov website on search engine results. Id.

        82.    Moreover, even outside of meetings, CDC does not regularly, or directly,

 communicate with social media or technology companies about misinformation; nor does it have

 plans to do so. Id. ¶¶ 6-7. However, CDC has some occasional, indirect contact with personnel

 from social media or technology companies that may relate to misinformation. Id. For example,

 CDC personnel develop periodic “State of Vaccine Confidence Insight” reports, which are publicly

 available on its website, and which CDC periodically distributes to a wide list of email recipients

 that may include personnel from social media companies. Id. ¶ 7. CDC also funds and attends

 conferences that discuss misinformation and infodemic management, and personnel from social

 media companies may attend or speak at those conferences. Id. These occasional, indirect

 interactions concerning misinformation do not involve any requests or demands by CDC for a

 social media company to moderate any particular content on its platform. See also Defs.’ Resp.

 PFOF ¶¶ 434-530 (Facebook), 531-560 (Google), 561-589 (Twitter).

              2. CDC’s Responses to Social Media Companies’ Requests for Scientific
                 Information Relating to Claims About COVID-19 or Vaccines
        83.    On occasion, some social media companies reached out to Ms. Crawford via email

 to ask for information responsive to certain claims about COVID-19 or vaccines circulating on

 their platforms, and Ms. Crawford would respond on CDC’s behalf.

        84.    For example, at various times in 2021, Facebook emailed Ms. Crawford a list of

 claims (untethered to any particular post) and asked CDC to indicate whether they had been

 “debunked,” see Crawford Ex. 16 at 1 (Dkt. 205-17)—in other words, whether they were “false



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 and can lead to harm,” Crawford Ex. 17 (Dkt. 205-18), or “contribute to vaccine hesitancy or

 refusals,” Crawford Ex. 26 at 2 (Dkt. 206-26). After checking with the relevant subject-matter

 experts as necessary, Ms. Crawford would respond by indicating whether the claims were false

 and harmful, and sometimes directing the company to information available on CDC’s website

 that directly responded to the false claim. Crawford Dep. 129:11-22; Crawford Ex. 15 at 2 (Dkt.

 205-16) (directing Facebook to CDC’s “facts and misses” page for more information in response

 to one of the false claims); Crawford Ex. 23 (Dkt. 205-24) (sending links to CDC webpages

 addressing the claims raised by Facebook). Nevertheless, CDC could not always provide

 conclusive answers to the claims Facebook sent the agency. And where scientific evidence was

 unavailable at the time, CDC would respond to Facebook’s inquiries with “[i]nconclusive.” See,

 e.g., Crawford Ex. 16 at 1 (Dkt. 205-17).

        85.   When responding to Facebook, CDC did not instruct the company to remove or take

 any other action against posts or users promoting claims that CDC concluded were false and

 hazardous to public health. Crawford Dep. at 138:12-14. Indeed, Ms. Crawford understood that

 the scientific information CDC provided in its responses might inform Facebook’s own “policy

 making” and content moderation decisions, id. at 139:23-25-140:1-4, but that “CDC’s role” was

 never “to determine what” Facebook should or should not “do with the scientific information that

 [CDC] provided,” id. at 161:20-23. Nor do any communications between Facebook and Ms.

 Crawford indicate that she or anyone else from CDC ever told Facebook how to handle

 misinformation. Instead, Facebook made clear that it was “seeking [the agency’s] advice” on

 various issues to “help [it] determine the appropriate action to take on [certain] content[.]” See

 Crawford Ex. 26 at 4 (emphasis added) (Dkt. 205-26). At times, Facebook informed CDC about

 updates to its policies as a result of information it learned from CDC. See id. (noting actions the




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 company took against certain claims under its “current policy”); id. at 1 (informing CDC of

 “several updates” Facebook had made to its “COVID-19 Misinformation and Harm policy based

 on [CDC] inputs”). But the record contains no evidence that CDC ever demanded (or even asked)

 that Facebook implement any specific policy changes or even that Facebook report any such

 changes to the agency. See also Defs.’ Resp. PFOF ¶¶ 434-530.

        86.    Google (which owns YouTube) likewise requested CDC’s input on claims about

 COVID-19 vaccines circulating on YouTube’s platform. For instance, in March 2021, Google

 reached out to CDC to ask if a “vaccine expert[]” from CDC could join a call where Google

 “plan[ned] to share a new list of . . . vaccine misinformation claims” that the company had

 compiled. Crawford Ex. 29 at 2 (Dkt. 205-29). Ms. Crawford agreed to “arrange[] for a few

 [subject matter experts] to join the call[.]” Id. And in April of that year, Google again asked CDC

 if a vaccine expert could join a call “to follow up on some additional questions” from the company.

 Crawford Ex. 30 at 1 (Dkt. 205-30). Google also reached out with more technical questions, too.

 As vaccines were becoming available in 2021, Google notified CDC of updates the company

 planned to implement to its “vaccine general availability banner” as COVID-19 vaccines became

 available to new groups of people or CDC issued new guidance. See Crawford Ex. 42 at 3 (Dkt.

 205-42) (Google asking CDC to verify whether Google’s “one liner on the latest booster shot

 guidance from the CDC/Vaccines.gov” was accurate and CDC confirming that it was). As with

 Facebook, CDC did not demand (or even ask) that Google take any action with respect to content

 on YouTube or information appearing in Google’s own banners. See also Defs.’ Resp. PFOF

 ¶¶ 531-549.

        87.    Most recently, in June 2022, Google requested CDC’s “evidence-based input” on

 health-related claims unrelated to COVID-19 or vaccines. Crawford Ex. 43 (Dkt. 205-43). CDC




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 did not substantively respond to that request because it concerned information that fell outside

 CDC’s scope. Crawford Dep. 256:9-16. When asked in her deposition why she thought Google

 sent CDC this request, Ms. Crawford testified that she believed it was because CDC’s “focus is

 not solely on COVID,” and so Google likely “thought that [CDC] might be able to help” by

 providing input on “this [other] topic as well.” Id. at 256:4-8. Contrary to Plaintiffs’ assertion, see

 PI Supp. 33, this email exchange does not show that CDC is communicating with platforms about

 misinformation on other topics as well.

              3. CDC Emails Alerting Social Media Companies to Misinformation Themes
                 Observed on Platforms and Providing Relevant Scientific Information
        88.    At the same time, CDC occasionally pointed out to, or “flagged” for, Facebook or

 Twitter “issues” or “themes” about COVID-19 that the agency noticed had been circulating widely

 on the companies’ platforms and referred the companies to information on CDC’s website that

 addressed the claims. Crawford Ex. 9 at 1 (Dkt. 205-10); Crawford Dep. 87:13-25–88:1-2

 (explaining that “flagging” meant simply “pointing out”). On occasion, CDC included specific

 social media posts as examples, to provide context or to clarify what the claims were. Id. at 90:14-

 23 (saying CDC “provided some examples of what we meant”). On May 6, 2021, for instance, Ms.

 Crawford emailed Facebook to point out “two issues [that] we are seeing a great deal of misinfo”

 about—“vaccine shedding and microchips”—and provided “some example posts.” Crawford Ex.

 9 at 1 (Dkt. 205-10). On May 10, 2021, Ms. Crawford sent the same email to Twitter, with example

 posts from its platforms. Crawford Ex. 34 at 4 (Dkt. 205-34). Ms. Crawford noted in her emails

 that CDC “plan[ned] to post something shortly to address vaccine shedding and” that she could

 “send that link soon.” Crawford Ex. 9 at 1 (Dkt. 205-10); Crawford Ex. 34 at 4 (Dkt. 205-34). Ms.

 Crawford testified that, through these alerts, CDC was “trying to point out” to the social media

 companies the “[in]accurate information” circulating about COVID-19 “and [to] make the credible



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 information more available to users.” Crawford Dep. 88:25-89:6. The “goal,” in other words, was

 “to be sure that people ha[d] credible health information so that they [could] make the correct

 health decisions for themselves.” Id.

        89.    Ms. Crawford did not “know exactly what [the companies] might do with” the claims

 and posts flagged by CDC, nor did she ask the companies to take any particular action with respect

 to the claims or posts. Id. at 88:15-18; see also id. at 75:19-21. Neither she nor “anyone at CDC”

 advised a “social media company on how [it] should apply [its] policies to . . . a particular post[.]”

 Id. at 104:22-105:6. And the social media companies did not face any “consequence[s]” if they

 declined to “do anything with” the items “flagged” or pointed out by CDC. Id. at 88:19-22. Ms.

 Crawford simply believed “it was worth pointing out that” CDC was “going to have” responsive

 “information up soon” on its website, id., which could assist the social media companies’

 application of their own policies with respect to claims “widely circulating” on their platforms. Id.

 at 153:23-154:3. Ultimately, the social media companies themselves “made decisions about” how

 to handle the misinformation circulating on their platforms, “based on whatever policy they had.”

 Id. at 211:18-19; id. at 103:13-16 (discussing Facebook’s options). Ms. Crawford has “never seen

 [those] policies,” id., or had input into their development or enforcement, id. at 105:12-19.

              4. CDC’s Two “Be on the Lookout Meetings” in May 2021
        90.    In May 2021, CDC held two meetings—called “Be On the Lookout” or “BOLO”

 meetings—to discuss misinformation with social media platforms. Crawford Dep. 198:21-24; id.

 at 244:19-245:2; see also Crawford Decl. ¶¶ 14-16 (Ex. 80). Facebook, Twitter, and YouTube

 were invited to participate, Crawford Ex. 34 at 4 (Dkt. 205-34) (Twitter invite); Crawford Ex. 40

 at 1 (Dkt. 205-40) (YouTube invite); id. at 3 (Facebook invite), and officials from the Census

 Bureau (“Census”) also participated in the meetings, infra Defs.’ PFOF § II.D.




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        91.   The BOLO meetings emerged from an Interagency Agreement that CDC entered into

 with Census in January 2021. Crawford Decl. ¶¶ 13-14 (Ex. 80). The agreement allowed CDC to

 consult with Census “to learn how th[at agency] handled [online] misinformation” during the 2020

 Census, to inform CDC’s response to COVID-19 misinformation circulating online. Crawford

 Dep. 111:1-6, 175:14-19. CDC sought Census’ assistance on this issue because CDC was

 “shorthanded” at the time, and Census “seemed to have more knowledge than [CDC] did.” Id. at

 111:5-6. Census introduced CDC to the idea of BOLO meetings, which would provide a forum for

 CDC to “give examples” to social media companies of false health information circulating on their

 platforms and to point the companies to responsive scientific information available from CDC.

 Crawford Dep. 210:20-22. Participants from social media companies “could [then] follow up

 separately” with CDC to discuss any of the issues further. Id. Ms. Crawford “ran the BOLO

 meetings,” with the help of a Census contractor. Id. at 265:11-19. Census “drafted the slide deck,”

 which CDC edited, id. at 210:15-25; and Census explained how it “thought [CDC] should” present

 the information, based on how Census “had done it in the past.” Id. The PowerPoint slide decks

 presented COVID-19 misinformation narratives and contained example social media posts as

 illustrations. Crawford Decl. ¶ 14 (Ex. 80). During these presentations, CDC did not ask, let alone

 demand, that a company take a particular action with respect to the themes and example posts that

 were discussed at the BOLO meetings. See Defs.’ Resp. PFOF ¶¶ 550-562.

        92.   Two additional BOLO meetings were scheduled for the summer of 2021 but never

 occurred. Crawford Decl. ¶ 15 (Ex. 80). The first was cancelled due to a holiday; CDC emailed

 PowerPoint slides to the companies instead. Id.; Crawford Dep. 248:15-22. The second was

 cancelled because CDC had no information to share. Crawford Decl. ¶ 15 (Ex. 80). There have




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 been no BOLO meetings of this type since May 28, 2021, and no further meetings are anticipated.

 Id.

              5. A CDC Official’s One-Time Use of a Facebook Reporting Channel in 2021
        93.    In the spring of 2021, Facebook and Twitter each separately suggested that CDC

 register to use the companies’ respective “reporting channel” or “portal” set up by the company

 for entities such as CDC to report “misinformation or threats” that they observed on the platforms.

 Crawford Dep. 91:9-10; id. at 211:24-212:7. Ms. Crawford did not use Twitter’s portal and does

 not recall anyone else from CDC ever being given access to the portal. Id. at 213:5-8. Ms. Crawford

 also did not use the Facebook reporting channel, but one other CDC official used it in the summer

 of 2021 to report a handful of “posts or threats” in a single submission. Id. at 92:3-5, 92:13-18;

 Crawford Decl. ¶ 18 (Ex. 80). CDC did not demand that Facebook take any particular action with

 respect to the few posts flagged through the reporting channel in the summer of 2021; and

 Facebook did not report back to CDC whether it took any action on those posts. Crawford Decl.

 ¶ 18. Ms. Crawford testified that she is unaware of any CDC official using a reporting channel

 since the summer of 2021. Id.; see also Defs.’ Resp. PFOF ¶¶ 476-478.

              6. CDC’s Receipt of Bi-weekly Facebook COVID-19 Content Reports in 2021
        94.    Additionally, from January to December 2021, Facebook sent CDC bi-weekly

 reports, called “CrowdTangle COVID content report[s],” Crawford Ex. 6 at 2 (Dkt. 205-7) which

 provided a “summary of the higher volume conversations” about COVID-19 on the platform,

 Crawford Dep. 53:7-12, and included “pictures of [] posts” “as examples” of the conversations, id.

 at 149:6-7. These reports could be used by CDC to better “understand what[] [was] being

 discussed” on social media so that the agency could “update [CDC] communication material” in

 response. Id. at 148:11-15. Facebook personnel included a summary of “[h]ighly

 engaged . . . content,” which was not limited to content considered “misinformation,” in the cover


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 emails to which the reports were attached. See, e.g., Crawford Ex. 7 at 1 (Dkt. 205-8) (including

 in the summary of highly engaged content “posts . . . about celebrating health care workers” and

 posts “shar[ing] news that kids over 12 can be vaccinated,” with “posts includ[ing] varied stances

 on support/opposition to the idea”). Ms. Crawford did not “personally do anything . . . with the

 CrowdTangle reports” aside from passing them along to others. Crawford Dep. 59:14-19; 52:6-10.

 CDC did not direct Facebook to take any action with respect to any information or example posts

 contained in the reports. The last CrowdTangle report CDC received from Facebook was in

 December 2021.33

        95.   Before it began sending these summary CrowdTangle reports to CDC, Facebook had

 also allowed CDC, since March or April 2020, to “log into CrowdTangle and run [its] own reports

 or searches.” Crawford Dep. 77:9-13, 147:12-14. Ms. Crawford did not use CrowdTangle to run

 searches, but other teams from CDC may have done so. Id. at 148:11-15. In any event, to the extent

 anyone did run searches in CrowdTangle, that would not indicate any effort to influence

 Facebook’s applications of its content moderation policies. See also Defs.’ Resp. PFOF ¶¶ 440-

 452, 456, 471, 472, 507-10.

        D. The Census Bureau
        96.   Although the Census Bureau worked with CDC on COVID-19 misinformation in the

 past, CDC has not “work[ed] with Census in quite some time.” Crawford Dep. 111:9-10. In

 particular, pursuant to a now-expired Interagency Agreement, supra Defs.’ PFOF § II.C.4, Census

 helped CDC organize the two BOLO meetings CDC hosted in May 2021. Crawford Dep. 210:10-


 33
   Crawford Ex. 6 at 1-2 (Dkt. 205-7) (first report sent in January 2021); Dkt. 71-2 at 1 (email from
 Facebook attaching the “last insights report for this series” (emphasis removed)); id. 71-2 at 1
 (email from Facebook attaching the “last insights report for this series” (emphasis omitted)); id. at
 2 (email from Facebook noting that the “reports will be discontinued in Jan 2022” (emphasis
 omitted)); id. (Crawford thanking Facebook for sending the reports and stating that she
 “understand[s] the[y’re] ending”).


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 25. To Ms. Crawford’s knowledge, CDC’s last meetings and communications with Census

 personnel about misinformation took place in the summer of 2021. Crawford Decl. ¶ 13 (Ex. 80).

         97.   Also in 2021, Facebook added Census to the distribution list for its CrowdTangle

 reports. Crawford Dep. 58:17-20; id. Crawford Ex. 6 at 1 (Dkt. 205-7). On one occasion, Ms.

 Crawford sent Facebook a few questions from Census seeking greater understanding about how

 the company applied its content moderation policies to certain types of misinformation. In

 particular, Census wanted to know Facebook’s “approach” to “adding labels to” certain stories

 posted on its platform and why Facebook decided to remove certain posts that had been identified

 as containing misinformation. Crawford Dep. 76:2-77:1; Crawford Ex. 8 at 2 (Dkt. 205-9). Ms.

 Crawford testified that she “th[ought] that Census was at least periodically checking on things they

 had flagged,” id. at 117:19-21, but there is no evidence that in “periodically checking on things”

 Census ever demanded or even asked a social media company to take specific action with respect

 to a particular post.

         E. Dr. Fauci, Former Director of the National Institute of Allergy and Infectious
            Diseases (NIAID)
         98.   The National Institute of Allergy and Infectious Diseases (“NIAID”) is an agency

 within the National Institutes of Health (“NIH”), which in turn is a component of HHS. See Ex.

 85 (List of Institutes and Centers, Nat’l Insts. of Health, https://perma.cc/YR83-TJMY); Ex. 86

 (About NIH, Nat’l Insts. of Health, https://perma.cc/55BG-UDQU). NIAID conducts and supports

 research to better understand, treat, and prevent infectious, immunologic, and allergic diseases and

 is responsible for “respond[ing] to emerging public health threats.” Ex. 87 (NIAID Mission, Nat’l

 Insts. of Health, https://perma.cc/8GVS-XSWM). To that end, NIAID manages a diverse research

 portfolio concerning “many of the world’s most intractable and widespread diseases,” including




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 “tuberculosis and influenza, HIV/AIDS, biodefense,” COVID-19, and others. Id.; see also 42

 U.S.C. § 285f.

        99.   From 1984 to 2022, Dr. Fauci was the Director of NIAID, serving under seven

 Republican and Democratic Presidents in that role. Ex. 88 (Anthony S. Fauci, M.D., Former NIAID

 Director, Nat’l Insts. of Health, https://perma.cc/CSF2-XYNH). During that time, he led the

 agency in tackling “newly emerging and re-emerging infectious disease threats including

 HIV/AIDS, West Nile virus, the anthrax attacks, pandemic influenza, various bird influenza

 threats, Ebola and Zika, among others, and, of course, most recently the COVID-19 pandemic.”

 Ex. 89 (Statement by Anthony S. Fauci, M.D., Nat’l Insts. of Health (Aug. 22, 2022),

 https://perma.cc/RH8Z-P3X5). In 2008, he was awarded the presidential medal of freedom—the

 highest honor available to federal civil servants—by President George W. Bush for his work on

 HIV/AIDS. Ex. 90 (President Bush Honors Presidential Medal of Freedom Recipients, The White

 House (June 19, 2008), https://perma.cc/KE8X-4SPS).

        100. In January 2020, President Trump announced the formation of a Coronavirus Task

 Force, and named as its members Dr. Fauci and eleven other federal officials (including then-

 Secretary of Health and Human Services Alex Azar and then-Assistant to the President and Senior

 Advisor to the Chief of Staff Rob Blair). Ex. 91 (Statement from the Press Secretary Regarding

 the   President’s   Coronavirus   Task   Force,     The   White    House   (Jan.   29,   2020),

 https://perma.cc/5VFS-LRZC). The task force was “charged . . . with leading the United States

 Government response to the novel 2019 coronavirus and with keeping [the President] apprised of

 developments.” Id. In January 2021, after the change in administrations, Dr. Fauci was named

 President Biden’s Chief Medical Advisor, Fauci Dep. 10:17-22 (Dkt. 206-1), to advise the

 President on handling the COVID-19 pandemic, Ex. 92 (Statement from President Joe Biden on




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 the announcement of Dr. Anthony Fauci’s Departure from NIAID, The White House (Aug. 22,

 2022), https://perma.cc/4KMA-PWH2). After 50 years as a civil servant (and 38 of those years as

 Director of NIAID), Dr. Fauci recently retired from government service. Ex. 93 (Dr. Anthony

 Fauci to Leave NIAID at the End of December, Nat’l Insts. of Health (Dec. 7, 2022),

 https://perma.cc/NLZ6-NY85). 34

        101. As the nation’s leading infectious disease expert, Dr. Fauci assumed a critical role in

 the pandemic response during the last two presidential administrations, answering difficult

 questions about unsettled scientific matters in White House press briefings, congressional

 hearings, cable news programs, and other public platforms. Until his retirement at 82 years old, he

 worked tirelessly—maintaining 18-hour workdays 35—at the height of the pandemic. He has

 garnered numerous awards for leading the nation through an unprecedented public health crisis. 36

        102. Dr. Fauci had only limited interactions with Facebook during 2020, and no

 involvement with other social media platforms. In March 2020, Facebook CEO Mark Zuckerberg

 sent Dr. Fauci an email invitation to participate in a “Facebook Live” event, in which Dr. Fauci

 answered Mr. Zuckerberg’s questions about COVID-19 in a live broadcast on the Facebook

 platform. See Ex. 187 at 58-60; see also Fauci Ex. 23 at 2 (Dkt. 206-24). Mr. Zuckerberg began

 his invitation with a “note of thanks for [Dr. Fauci’s] leadership and everything [he was] doing to

 make our country’s response to this outbreak as effective as possible.” Fauci Ex. 23 at 3 (Dkt. 206-



 34
    Dr. Hugh Auchincloss succeeded Dr. Fauci as the Acting Director of NIAID. See Defs.’ Notice
 of Substitution at 2.
 35
    Ex. 94 (Azmi Haroun, Dr. Anthony Fauci, the US’s top infectious-disease expert, shared a day
 in his life, and it’s exhausting just reading it, Insider (Dec. 4, 2020), https://perma.cc/ML8H-
 HSB5).
 36
    See, e.g., Ex. 95 (2021 National Academy of Sciences Public Welfare Medal, National Academy
 of Sciences, https://perma.cc/B8CV-T76C); Ex. 96 (Anthony Fauci Named Recipient of AHA
 Award of Honor, American Hospital Association (Apr. 21, 2022), https://perma.cc/M2BL-EGJR).


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 24). Mr. Zuckerberg continued by explaining that he “wanted to share a few ideas of ways

 [Facebook] could help . . . get [Dr. Fauci’s] message out.” Id. One idea was connected to

 Facebook’s forthcoming “Coronavirus Information Hub,” which would appear “at the top of

 Facebook for everyone” to help users “get authoritative information from reliable sources

 and . . . encourage people to practice social distanc[ing.]” Id. Mr. Zuckerberg thought that “it

 would be useful to include a video from [Dr. Fauci]” on this hub, “because people trust and want

 to hear from experts[.]” Id. Another idea was that Dr. Fauci participate in other “livestreamed

 Q&As” as part of a “series” that Mr. Zuckerberg was creating “with health experts to try to use

 [his] large following on the platform . . . to get authoritative information out as well.” Id. Dr. Fauci

 responded that Mr. Zuckerberg’s “idea and proposal sound terrific” and that he “would be happy

 to do a video for [the] hub.” Id. at 4. During the video, Dr. Fauci answered “important questions”

 from Mr. Zuckerberg about COVID-19 “public health measures.” Fauci Dep. at 177:2-8. Dr. Fauci

 has also participated in a small number of other livestreamed discussions with Mr. Zuckerberg to

 discuss COVID-19. See Ex. 187 at 58-60.

        103. Otherwise, Dr. Fauci has had no interactions with any social media company about

 COVID-19 or misinformation related to COVID-19. Dr. Fauci has never asked a social media

 company “to remove misinformation from” its platform. Fauci Dep. at 152:21-24. Dr. Fauci does

 not “pay attention to what social media organizations like Google and YouTube and

 Twitter . . . do[.]” Id. at 239:21-24; id. at 241:6-13 (“I do not get involved in any way with social

 media. I don’t have an account, I don’t tweet, I don’t Facebook, and I don’t pay attention to

 that. . . . I don’t pay attention to what gets put up and put down on social media.”). He is unfamiliar

 with the companies’ policies. See id. at 241:14-25. And he has not been involved in any social

 media company’s decision whether, or how, to moderate particular content. Id. at 280:3-7; id. at




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 281:24-282:2. Indeed, Dr. Fauci has testified that rather than “interfering with other people’s

 ability to say what they want to say,” his method of “countering false information . . . is to try to

 [] flood the system with the correct information[.]” Id. at 357:8-13. See also Defs.’ Resp. PFOF

 ¶¶ 598-808, 840-852.

        104. In April 2020, Dr. Fauci’s communications staff alerted Facebook of “fake Dr. Fauci

 accounts on [Facebook] and [Instagram],”—a federal crime, see 18 U.S.C. § 912—including one

 “particularly troubling” account that was also “selling masks[.]” Fauci Ex. 55 at 3-4 (Dkt. 207-

 19). “[A]ll but two” of the “accounts were removed for the impersonation of Dr. Fauci.” Id. at 3.

 The two that were not removed were apparently “fan accounts[.]” Id. Dr. Fauci was not involved

 in the communications with Facebook about the impersonating accounts and was not aware that

 the accounts existed.

        105. Plaintiffs misconstrue the record when they assert that Dr. Fauci “approves of the

 removal of these accounts from social media because he thinks they are ‘a bad thing,’ even though

 they may include parody accounts.” PI Supp. 40. Links to the accounts to which Plaintiffs refer

 were included in an email chain that did not include Dr. Fauci, see Fauci Ex. 55 (Dkt. 207-19),37

 and Dr. Fauci was shown that email for the first time during his deposition. When asked about the

 accounts linked in the email, Dr. Fauci stated, “I don’t know what these are. I just got a bunch of

 links to them. I’m not sure what they are.” Fauci Dep. 311:7-9. Dr. Fauci speculated that, based

 on the email, it looked like his communications staff was “trying to get rid of fake accounts” on

 Facebook “because fake accounts are bad things, I believe.” Id. at 309:24-310:1. He went on to

 say: “I’m reading here that there are people that are using my name falsely and creating fake


 37
   Although Plaintiffs repeatedly suggest the possibility that some accounts were parody accounts,
 they have introduced no such evidence, and the communications from NIAID staff clearly show
 that NIAID staff were only seeking the removal of accounts impersonating Dr. Fauci.


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 accounts which people in the communications staff [are] saying . . . is troubling because they’re

 doing things like selling masks and doing things like that. So I think that it would be kind of

 appropriate for my communications staff to be concerned when people are falsely impersonating

 me.” Id. at 310:8-16. When asked whether he was saying that “bad things,” such as impersonating

 accounts, “should be removed from social media,” Dr. Fauci responded, “No. I mean, I think when

 someone says they’re me and they’re not me, I think someone should take a close look at that.” Id.

 at 311:22-312:1. And when asked whether “someone” should “take a close look at other false

 statements on social media,” Dr. Fauci testified, “That’s not my lane. I don’t – I never get involved

 in that, nor do I concentrate on that, so I don’t have an opinion on that. Like I’ve told

 you . . . now . . . I can repeat it for the hundredth time, I really don’t get involved in social media

 issues.” Id. at 312:2-9. See also Defs.’ Resp. PFOF ¶¶ 809-825.

         F. The Cybersecurity and Infrastructure Security Agency (CISA)
             1. CISA’s Mission and General Overview
         106. The Cybersecurity and Infrastructure Security Agency (“CISA”), a component of

 DHS, has a broad statutory mandate to “coordinate with” Federal and non-Federal entities

 (including international entities) “to carry out the cybersecurity and critical infrastructure activities

 of the Agency, as appropriate[.]” 6 U.S.C. § 652(c)(2). To accomplish its mission and manage

 risks to the nation’s election infrastructure, CISA works collaboratively with state and local

 governments, election officials, federal partners, and private sector partners. Declaration of Geoff

 Hale, Lead for Election Security and Resilience, Nat’l Risk Mgmt. Ctr., CISA ¶ 6 (“Hale Decl.”)

 (Ex. 97). This includes working in a nonpartisan manner with state and local election officials—

 among others, officials from Missouri and Louisiana, as discussed below—as the trusted and




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 expert voices within their communities to equip the American public with accurate information

 about the conduct and security of elections. Id. 38

            2. The Election Infrastructure Subsector
        107. In January 2017, based on the vital role that elections play in the United States, DHS

 officially designated election infrastructure as a critical infrastructure subsector. Hale Decl. ¶ 4

 (Ex. 97). This designation recognizes that the disruption of U.S. election infrastructure would have

 a devastating impact on the country. Id. “Election infrastructure” refers to an assembly of systems

 and networks, including, among other things, voter registration databases and associated IT

 systems, IT infrastructure and systems used to manage elections, voting systems and associated

 infrastructure, storage facilities for election and voting system infrastructure, and polling places.

 Id. ¶ 5. CISA reduces the risk to U.S. critical infrastructure by, among other things, building

 resilience to disinformation. Id. ¶ 9.

        108. The official designation of election infrastructure as “critical infrastructure” also

 resulted in the creation of the “Election Infrastructure Subsector,” which builds election

 infrastructure resilience by focusing on a wide range of election-related systems and assets, such

 as storage facilities, polling places, centralized vote tabulation locations used to support the

 election process, and related information and communications technologies. Id. ¶ 23. Like all

 critical infrastructure sectors, the Election Infrastructure Subsector is supported by two councils:


 38
    In furtherance of its mission, CISA provides publicly available resources on election security
 for both the general public and election officials at all levels. Hale Decl. ¶ 7 (Ex. 97). Examples of
 these resources include an Election Infrastructure Insider Threat Mitigation Guide, CISA’s
 partnership with the FBI to publish election-security-related public service announcements, and
 the compilation of a toolkit of free services and tools intended to help state and local government
 officials, election officials, and vendors enhance the cybersecurity and cyber resilience of U.S.
 election infrastructure. Id. In addition, CISA provides numerous voluntary and no-cost election
 security services, such as cybersecurity assessments, cyber threat hunting, cyber incident response,
 and training and exercises to state and local government officials and private sector election
 infrastructure partners. Id. ¶ 8.


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 a government coordinating council (“GCC”) and a sector coordinating council (“SCC”). Id. ¶¶ 24,

 27.

         109. The Election Infrastructure Subsector GCC (“EIS-GCC”) is comprised of state, local,

 and Federal Government departments and agencies, which share information and collaborate on

 best practices to mitigate and counter threats to election infrastructure. Id. ¶ 29. The EIS-GCC

 Executive Committee is chaired by CISA, and its members include the U.S. Election Assistance

 Commission Chairperson, the National Association of Secretaries of State (“NASS”) President,

 the National Association of State Election Directors (“NASED”) President, and a local government

 election official. Id. ¶ 30. Notably, Louisiana is a member of NASS, and both Louisiana and

 Missouri are members of NASED. Id. ¶ 33. The Louisiana Secretary of State has been a member

 of the EIS-GCC since May 2018. Id. ¶ 31. He served as an EIS-GCC Executive Committee

 member from the summer of 2021 to the summer of 2022, while he was the NASS President. Id.

 The Missouri Secretary of State served as an alternate member of the EIS-GCC from 2018-2019.

 Id. ¶ 32.

         110. The Election Infrastructure Subsector SCC (“EI-SCC”) comprises owners or

 operators with significant business or operating interests in U.S. election infrastructure systems or

 services. Its mission is “to advance the physical security, cyber security, and emergency

 preparedness of the nation’s election infrastructure,” and it accomplishes this mission through the

 voluntary actions of the infrastructure owners and operators represented in the EI-SCC. Id. ¶ 34.

 The EI-SCC is governed by a five-member Executive Committee. Id. ¶ 35. Although CISA is not

 a member of the EI-SCC, it serves as the secretariat and provides various administrative functions.

 Id. ¶ 36.




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        111. After the 2020 election, the EI-SCC and EIS-GCC launched a Joint Managing

 Mis/Disinformation Working Group to coordinate infrastructure security efforts across the

 subsector. Id. ¶ 38. The Working Group provides a forum through which the Election

 Infrastructure Subsector can identify challenges in mitigating the risks posed by disinformation

 impacting election infrastructure and produce resources for addressing these risks. Id. ¶ 39. To

 date, the Joint Managing Mis/Disinformation Working Group has published two guides to assist

 state and local election officials and industry providers with preparing for and responding to risks

 associated with disinformation: (1) the Rumor Control Page Start-Up Guide, which is designed for

 use by state, local, tribal and territorial government officials and private partners seeking to dispel

 inaccurate election security-related information by sharing accurate information; and (2) the MDM

 Planning and Incident Response Guide for Election Officials, which is designed for SLTT election

 officials and to help them understand, prepare for, and respond to disinformation that may impact

 the ability to securely conduct elections. Id. ¶ 40.

        112. CISA supports the Joint Managing Mis/Disinformation Working Group by providing

 administrative and substantive support, such as facilitating working group meetings and helping

 to draft working group products. Id. ¶ 41. The Working Group does not engage with social media

 companies, and it does not flag or report potential disinformation to social media or technology

 companies. Id. ¶ 43.

            3. The Center for Internet Security
        113. The Center for Internet Security (“CIS”) is a non-profit organization that exists to

 “make the connected world a safer place by developing, validating, and promoting timely best

 practice solutions that help people, businesses, and governments protect themselves against

 pervasive cyber threats.” Id. ¶ 44; Ex. 98 (About Us, Ctr. For Internet Sec., https://perma.cc/456L-

 TUHD). It is home to the Multi-State Information Sharing and Analysis Center (“MS-ISAC”) and


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 the Elections Infrastructure Information Sharing and Analysis Center (“EI-ISAC”). Hale Decl. ¶

 44 (Ex. 97).

        114. The MS-ISAC serves as a central cybersecurity resource for state, local, tribal and

 territorial government entities. Id. ¶ 45. It is a membership-based organization that includes more

 than 14,000 organizations and all fifty states, including Plaintiffs Missouri and Louisiana. Id. ¶ 46.

 The MS-ISAC members receive direct access to a suite of cybersecurity services and cybersecurity

 informational products including, but not limited to, cybersecurity advisories and alerts,

 vulnerability assessments, incident response support, secure information sharing, tabletop

 exercises, and malicious domains/internet protocol reports. Id. ¶ 47.

        115. The EI-ISAC, which was founded in 2018, is an organization managed by CIS with

 membership open to all state, local, tribal and territorial organizations that support election

 officials. Id. ¶ 48. Membership in the EI-ISAC is voluntary and free for participants. Id. ¶ 49. The

 EI-ISAC supports the rapidly changing cyber and critical infrastructure security needs of U.S.

 elections offices and offers a suite of election-focused cyber defense tools, including threat

 intelligence products, incident response and forensics, threat and vulnerability monitoring,

 cybersecurity awareness, and training products. Id. ¶ 48.

        116. DHS has provided financial assistance to CIS through a series of cooperative

 agreement awards, managed by CISA, to provide specified cybersecurity services to state, local,

 tribal, and territorial government organizations through the MS- and EI-ISACs. Id. ¶ 50. DHS has

 limited the use of funds to cybersecurity services intended to detect, prevent, respond to, mitigate,

 and recover from cyber threats, vulnerabilities and risk. Id. DHS approved scope of work for the

 cooperative agreements has never funded CIS to perform disinformation-related work, including

 the reporting of potential election-related disinformation to social media platforms. Id. ¶ 51.




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            4. CISA’s Efforts to Build Resilience to Misinformation
                a. CISA’s Mis-, Dis-, and Malinformation (“MDM”) Team
        117. CISA’s Mis-, Dis-, and Malinformation (“MDM”) Team leads CISA’s efforts to

 build resilience to disinformation targeting critical infrastructure. Scully Dep. 16:4-6 (Dkt. 209-1)

 The MDM Team, which was formerly known as the Countering Foreign Influence Task Force,

 was established in 2018 in CISA’s predecessor agency. See Ex. 187 at 77. CISA builds this

 resilience through public awareness and engagement and seeks to reduce the impact of

 disinformation targeting election infrastructure. Scully Dep. 346:15-348:1. In general, CISA

 develops publications for public awareness and education, as well as publications for key

 stakeholders to help them understand how disinformation works and the steps they can take to

 mitigate risks. Id. at 16:7-15; Hale Decl. ¶ 14 (Ex. 97) (describing creation of graphic novels

 focusing on disinformation tactics through fictional stories and development of infographic

 explaining foreign influence campaigns). CISA also conducts analysis of open-source reporting.

 Scully Dep. 16:16-25. In addition, CISA engages or has engaged with different stakeholders,

 including civil society groups, federal partners, and private sector organizations, such as social

 media and technology companies. Id. at 16:16-22; Ex. 187 at 77.

                b. CISA’s Switchboarding Work During the 2020 Election Cycle
        118. “Switchboarding” refers to a process by which CISA forwarded to social media

 companies election-related information that state and local election officials (or other stakeholders,

 such as NASS and NASED) had identified as misinformation. Scully Dep. 17:1-14, 23:19-24:2,

 303:11-304:5. Those companies then decided how to handle the forwarded content based on their

 own policies. Id. at 17:15-21. During the 2020 election cycle, CISA provided switchboarding

 services primarily for state and local election officials, but also for other election infrastructure

 stakeholders. Id. at 16:16-25.



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         119. For the 2020 election cycle, much of the potential election security-related

 disinformation CISA received from state and local election officials was shared by those officials

 through CIS. Hale Decl. ¶ 71 (Ex. 97); Scully Dep. 59:9-60:17, 119:5-120:5.39 When that

 happened, election officials would email the potential disinformation to CIS, which would then

 forward the information to CISA and others, including the Election Integrity Partnership (“EIP”),

 discussed below. Scully Dep. 16:16-25. 40 CISA did not fund CIS or the MS- or EI-ISAC for any

 of the work they provided in relation to the reporting of potential election security-related

 disinformation to social media or technology companies during the 2020 election cycle. Hale Decl.

 ¶ 77 (Ex. 97). In addition, officials in Plaintiff States Louisiana and Missouri were among those

 who shared potential misinformation with CISA or CIS for purposes of it being sent to social

 media    companies.    Id.   ¶ 70;   Ex.    100    (MOLA_DEFSPROD_00007488);             Ex.    101

 (MOLA_DEFSPROD_00007646);             Ex.   102        (MOLA_DEFSPROD_00010719);         Ex.    103

 (MOLA_DEFSPROD_00008681); Ex. 104 (MOLA_DEFSPROD_00010774); and Ex. 105

 (MOLA-DEFSPROD_00008610).

         120. Before establishing its switchboarding operation, CISA met with social media

 companies and reaffirmed its “position” to “never ask [the companies] to take any specific


 39
    CISA also received potential disinformation in two other ways. Scully Dep. 119:5-120:5. The
 first was that election and other officials would send information to CISA Central, which is CISA’s
 operations center. Id. at 119:5-120:5. The second was that election and other officials would
 directly contact CISA employees. Id. at 119:5-120:5.
 40
    In addition, CISA understands that CIS would share reports of potential election security-related
 disinformation with other organizations with which it had its own independent relationships, such
 as with the EIP for further analysis and with NASS and NASED for situational awareness. Hale
 Decl. ¶ 74 (Ex. 97). At a certain point in the 2020 election cycle, CIS began forwarding the
 potential election security-related disinformation received from state and local election officials
 directly to the relevant social media or technology companies and would include CISA on the
 email for situational awareness, as well as others, including the EIP. Id. ¶ 75. CISA took no action
 on these emails sent by CIS, other than frequently recording them in an internal spreadsheet that
 CISA had created. Id.

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 actions,” and to leave it to the companies to “make decisions based on their terms of service.”

 Scully Dep. 241:23-242:5. Consistent with that position, when CISA transmitted to social media

 companies potential misinformation identified by local and state officials, CISA’s protocol was to

 include the following notice stating that it was not requesting that the social media companies take

 any particular action:

        The Cybersecurity and Infrastructure Security Agency (CISA) of the U.S.
        Department of Homeland Security (DHS) is not the originator of this information.
        CISA is forwarding this information, unedited, from its originating source – this
        information has not been originated or generated by CISA. This information may
        also be shared with law enforcement or intelligence agencies.

        CISA affirms that it neither has nor seeks the ability to remove or edit what
        information is made available on social media platforms. CISA makes no
        recommendations about how the information it is sharing should be handled or used
        by social media companies. Additionally, CISA will not take any action, favorable
        or unfavorable, toward social media companies based on decisions about how or
        whether to use this information.

        In the event that CISA follows up to request further information, such a request is
        not a requirement or demand. Responding to this request is voluntary and CISA
        will not take any action, favorable or unfavorable, based on decisions about whether
        or not to respond to this follow-up request for information.

 See, e.g., Ex. 106 at 1 (MOLA_DEFSPROD_00008499); Hale Decl. ¶ 72 (Ex. 97).

        121. Normally, CISA would receive a note from a social media company acknowledging

 that it had received CISA’s email, but CISA often did not receive a similar note reporting what

 action was ultimately taken. Scully Dep. 177:7-178:8. If a social media company needed additional

 information from an election or other official, CISA tried to facilitate the information sharing. Id.

 at 219:25-220:13.

        122. Consistent with the fact that social media companies independently evaluated

 whether certain information violated their terms of service, they from time to time concluded that

 forwarded posts did not violate their content moderation policies and therefore took no action. See,




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 e.g., Ex. 105 at 1 (MOLA_DEFSPROD_00008610) (email from Twitter stating that the “[t]weet

 was not determined to be a violation of our rule”); Ex. 107 at 1 (MOLA_DEFSPROD_00008640)

 (email from Twitter concluding that certain tweets violated its terms of service while others did

 not): Ex. 108 at 1 (MOLA_DEFSPROD_00009505) (email from Twitter stating “[t]weet was not

 in violation of our Civic Integrity Policy”); Ex. 109 at 1 (MOLA_DEFSPROD_00010711) (email

 from Twitter stating that the tweets were not in violation of their policies and would not be

 actioned); Ex. 110 at 1 (MOLA_DEFSPROD_00010794) (email from Twitter stating “internal

 review of account data indicates [the account] is not suspicious”); Ex. 111 at 1

 (MOLA_DEFSPROD_00010376) (email from Twitter stating the tweet did not violate its civic

 integrity policy).

         123. On occasion at the request of election officials, CISA would ask social media

 companies to report back on how, if at all, they had addressed misinformation CISA had flagged

 on behalf of those officials. Scully Dep. 163:17-164:17. Over time, however, the companies began

 reporting directly to the election officials what actions, if any, they took concerning potential

 misinformation. Id. at 164:8-25. See also Defs.’ Resp. PFOF ¶¶ 972-977, 1076-1082.

         124. CISA discontinued its switchboarding work after the 2020 election cycle and has no

 intention to engage in switchboarding for the next election. Scully Dep. 21:19-25; 265:13-19; Hale

 Decl. ¶ 78 (Ex. 97). In April or May 2022, CISA leadership decided that CISA would no longer

 play a switchboarding role, in part because it was resource intensive. Scully Dep. at 22:1-23; 62:15-

 22. Although CIS had requested that DHS provide funding for CIS’s 2022 switchboarding efforts,

 DHS declined. Hale Decl. ¶ 79 (Ex. 97). It is CISA’s understanding that during the 2022 election,

 social media companies engaged directly with CIS and election officials with any misinformation

 concerns. Scully Dep. 265:20-266:13. Although CISA was copied on CIS’s communications with




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 social media companies in 2020, it was not copied on any such communications in 2022. Id. at

 266:14-16.

        125. Plaintiffs contend, based on a November 10, 2021, “Cyberscoop” article, that CISA

 intended to expand its disinformation efforts, PI Supp. 58; see also Pls.’ Proposed Finding of Fact

 ¶ 1106, (“Pls.’ PFOF”) (Dkt. 214-1) (referring to “Cyberscoop” article and claiming that “CISA

 publicly states that it is expanding its efforts to fight disinformation heading into the 2024 election

 cycle”); Pls.’ PFOF ¶ 1114 (citing same November 2021 article where CISA Director Easterly is

 quoted as saying that CISA is “beefing up its misinformation and disinformation team”). While

 CISA anticipated and publicly stated that its MDM Team would grow, the size of the team has

 remained constant and the scope of CISA’s disinformation mission has not expanded. Hale Decl.

 ¶¶ 12-13 (Ex. 97); see also Defs.’ Resp. PFOF ¶¶ 1094-1122.

        126. Regarding CISA’s 2022 election-related work, CISA endeavored to mitigate the

 risks posed by disinformation by providing updates to CISA’s Election Security Rumor vs. Reality

 webpage, discussed infra at 79, and the “Tactics of Disinformation” resilience guide, which

 highlighted examples of the tactics used by disinformation actors and outlining proactive measures

 to mitigate the effectiveness of such tactics. Hale Decl. ¶¶ 64, 66 (Ex. 97). CISA also partnered

 with the FBI to publish a public service announcement on information manipulation tactics related

 to the 2022 midterm elections. Id. ¶ 67; Scully Dep. 303:11-304:5. And CISA sought to amplify

 the voices of state and local election officials through its social media platforms and other public

 forums. Hale Decl. ¶ 64 (Ex. 97).41


 41
    Over the past several years, CISA has done a limited amount of disinformation-related work
 concerning other critical infrastructure sectors, but none of that work has concerned
 communications with social media companies concerning content on their platforms. Hale Decl.
 ¶ 16 (Ex. 97). For example, during the COVID-19 pandemic, and in relation to the Healthcare and
 Public Health Sector, CISA provided support to the sector and produced two public guidance



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         127. The “Election Security Rumor vs. Reality” webpage was “designed to address

  common disinformation narratives by providing accurate information related to elections.” See Ex.

  112 (Election Security Rumor vs. Reality, CISA (Nov. 4, 2022), https://perma.cc/VV2B-57BT);

  Hale Decl. ¶ 15 (Ex. 97). CISA developed this website to provide accurate information about false

  election rumors spreading in the public domain. Scully Dep. 290:18-23. The page was designed to

  “inform voters and help them build resilience against foreign influence operations and

  disinformation narratives about election infrastructure.” See Ex. 112. Although the page was

  designed for voters, social media companies also have used the rumors page as a source to debunk

  content on their platforms. Scully Dep. 290:12-17. Notably, both Louisiana and Missouri have

  similar websites that seek to promote accurate information concerning elections and COVID-19.42

  In fact, the Missouri Secretary of State’s election misinformation page expressly links to CISA’s

  resources concerning election misinformation.43




  documents. Id. ¶ 17. In addition, in support of the President’s Unified Coordination Group for
  domestic preparedness and response regarding any potential impacts of Russia’s invasion of
  Ukraine on the United States, a group that was in operation from January 2022 to April 2022,
  CISA personnel provided situational awareness reports based on publicly available third-party
  reporting and also provided support to build resilience to disinformation related to the crisis for
  the purpose of being prepared should foreign influence operations increase their targeting of U.S.
  critical infrastructure. Id. ¶ 18. And in relation to the Financial Services Sector, CISA has been
  working with the Treasury Department on a public guide to help the sector understand
  disinformation and the risks it poses. Id. ¶ 19. That guide is still in development, and work
  currently is on pause because other, urgent tasks have taken priority. Id.
  42
      See Ex. 113 at 3-8 (Social Media Resources, Mo. Dep’t of Health & Senior Servs.,
  https://perma.cc/6U4G-Y44L) (providing “rumor control” resources regarding COVID-19); Ex.
  114 at 1 (Election Security, Mo. Sec’y of State, https://perma.cc/LW4Y-9TLJ); Ex. 115 at 1-2
  (COVID-19 Stay at Home Order, Off. of the Governor, https://perma.cc/2HMS-RBBU) (providing
  accurate information concerning Louisiana’s COVID-19 stay at home order); Ex. 116 (Get
  Election Information: Frequently Asked Questions, La. Dep’t of State, https://perma.cc/F72W-
  4VMB).
  43
     See Ex. 114 at 3 (linking to CISA, The War on Pineapple: Understanding Foreign Intelligence
  in 5 Steps (2019) (Ex. 117)); id. (linking to Dep’t of Homeland Sec., Social Media Bots Overview
  (2018) (Ex. 118)).

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                 c. CISA’s Meetings with Social Media Companies
         128. In furtherance of its mission to improve the security and resiliency of critical

  infrastructure, CISA participated in meetings with social media companies and others concerning

  misinformation, including (1) recurring U.S. Government (“USG”)-Industry meetings (and

  preparatory meetings in advance of these meetings); (2) CISA Cybersecurity Advisory Committee

  (“CSAC”) quarterly meetings; (3) CISA CSAC, Protecting Critical Infrastructure from

  Misinformation and Disinformation subcommittee meetings; and (4) meetings convened by the

  EIS-GCC and the EI-SCC Joint Managing Mis/Disinformation Working Group. See Ex. 187 at

  42-44. Contrary to Plaintiffs’ insinuation that these meetings “provide[d] avenues for government

  officials to push for censorship of disfavored viewpoints and speakers online,” Pls.’ Mem. in Supp.

  of Mot. for Prelim. Inj. 27, (“PI Br.”) (Dkt. 11-1), Plaintiffs have failed to adduce any evidence

  that any such alleged “push” for censorship occurred during these meetings.

         129. USG-Industry meetings. For example, the USG-Industry meetings, which began in

  2018 and continued through 2022, included federal agency participants from CISA, DHS, the FBI,

  the Department of Justice (“DOJ”), and the Office of the Director of National Intelligence

  (“ODNI”), as well as social media company participants from Google, Facebook, Twitter, Reddit

  and Microsoft, and on occasion Verizon Media, Pinterest, LinkedIn, and the Wikimedia

  Foundation. See Ex. 187 at 42-43; Scully Dep. 31:10-16. The topics discussed generally included

  information sharing around election risks, briefs from the industry, threat updates, and highlights

  and upcoming “watch outs.” Id. at 43. CISA’s role at these meetings generally involved educating

  social media platforms on how elections function and are administered, as well as potential threats

  to election security. Scully Dep. 224:22-25:9. Much of the discussion at these meetings involved

  cybersecurity issues, as well as discussions about then-ongoing physical threats to poll workers.

  Id. at 235:11-22. CISA has not participated in the USG-Industry meetings since the 2022 general


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  election, see Hale Decl. ¶ 69 (Ex. 97), and currently, there is no plan to resume participation in

  these meetings. Scully Dep. 32:9-11.

         130. Although concerns about misinformation and disinformation were also discussed

  during these agency-industry meetings, they did not involve “pushes” to censor misinformation or

  disinformation. Id. at 39:12-25. For example, CISA discussed the development of informational

  products it had created to promote resilience to disinformation, such as a general disinformation

  resilience guide highlighting examples of the tactics use by foreign disinformation actors and

  outlining proactive measures to mitigate the effectiveness of such tactics entitled the Tactics of

  Disinformation. Id. at 39:12-18: Hale Decl. ¶ 66 (Ex. 97). Other agencies, including DOJ, FBI,

  ODNI, and DHS, would participate and provide unclassified, high-level reviews or strategic

  intelligence briefings on these topics. Scully Dep. 25:10-23. The social media companies would

  share high-level trend information from public reporting they had released. Id. at 40:2-41:15. For

  example, members of the intelligence community discussed malign foreign actors who potentially

  were going to launch disinformation operations. Id. at 39:19-25; see also Defs.’ Resp. PFOF

  ¶¶ 861-866, 978-990.

         131. CISA CSAC meetings. Established under the National Defense Authorization Act for

  Fiscal Year 2021, Pub. L. No. 116-283, 134 Stat. 3388 (NDAA), the CISA CSAC operates as a

  federal advisory committee, governed by the Federal Advisory Committee Act, to provide

  recommendations to CISA on topics related to its cybersecurity mission. See Ex. 119 (CISA

  Cybersecurity Advisory Committee, CISA, https://perma.cc/G6BW-LKDR); Ex. 120 (CISA

  Cybersecurity Advisory Committee (CSAC) Charter, CISA, https://perma.cc/QU5C-ZT5F). CSAC

  includes experts on cybersecurity, technology, risk management, privacy and resilience, and

  members employed or previously employed by, among others, social media and technology




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  companies. Ex. 120 at 2-3. The CSAC quarterly meeting agenda and summaries are available

  online, Ex. 121 (CISA Cybersecurity Advisory Committee (CSAC) Meeting Resources, CISA,

  https://perma.cc/F6N9-2DF2), and contrary to Plaintiffs’ contention, a review of those materials

  fails to reflect any coercion or attempted censorship by the Federal Government of social media

  companies. Instead, these materials reflect the creation of a new, congressionally-mandated

  advisory committee, discussions about how CISA can better accomplish its mission of promoting

  the security and resilience of critical infrastructure such as by refining the national effort to identify

  and prioritize the most critical entities and infrastructure, improving efforts to strengthen the

  nation’s cyber workforce, and enhancing public-private communication and collaboration in

  preventing and responding to cybersecurity incidents. Id.

          132. CISA CSAC, Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee (MDM Subcommittee) meetings. In addition, the CSAC MDM

  Subcommittee, which was directed to stand down in December 2022 because it had completed the

  tasks for which it was created and provided its recommendations to CISA, had nothing to do with

  attempted censorship of content on social media platforms. See Ex. 187 at 43. The MDM

  Subcommittee did not discuss whether or how social media platforms should moderate content,

  either in specific cases or more generally. Ex. 122 at 9 (Addressing false claims and misperceptions

  of the UW Center for an Informed Public’s research, Univ. of Wash. (Mar. 16, 2023)). Rather, the

  CSAC established the MDM Subcommittee for the purpose of evaluating and providing

  recommendations on potentially effective MDM resiliency efforts that fit within CISA’s unique

  capabilities and mission. Ex. 123 (CISA Cybersecurity Advisory Committee, Subcommittee

  Factsheet and 2022 Cybersecurity Advisory Committee (CSAC) Reports and Recommendations

  (2023)). Like the CSAC Committee, the MDM Subcommittee operated transparently and details




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  about the MDM Subcommittee, its membership, reports, and recommendations, are posted on

  CISA’s website. Id. Specifically, the MDM Subcommittee recommended that CISA take actions

  such as “shar[ing] up to date ‘best practices’ around how to proactively address and counter MDM

  based on the most recent research[,]” “[s]har[ing] information with state and local election

  officials[,]” and “[p]rotect[ing] the courts” from becoming the “target of an intensified campaign

  to undermine public trust in the legitimacy of their processes.” Ex. 124 at 1-2 (CISA Cybersecurity

  Advisory Committee, Report to the Director: Protecting Critical Infrastructure from

  Misinformation & Disinformation Information Sharing Around Foreign Adversary Threats to

  Elections (2022)). Nothing in these materials reflects an attempt by CISA to “push” social media

  companies to censor mis- or disinformation.

         133. EIS-GCC and EI-SCC Joint Managing Mis/Disinformation Working Group

  meetings. Finally, as explained above, see supra Defs.’ PFOF ¶ 111, the EIS-GCC and EI-SCC

  Joint Mis/Disinformation Working Group, which was launched after the 2020 election, provides a

  forum through which the Election Infrastructure Subsector can identify challenges in building

  resilience against disinformation and produce resources to work towards this goal. See Ex. 187 at

  44. Notably, the Secretary of State Office for Plaintiff Louisiana has been a member of the EIS-

  GCC since May 2018, and while serving as the NASS President from the summer of 2021 to 2022,

  the Louisiana Secretary of State served as an EIS-GCC Executive Committee member. Hale Decl.

  ¶ 31 (Ex. 97). In this capacity, Louisiana received regular briefings (usually every two weeks) on

  CISA’s election security efforts—including briefings on CISA’s disinformation resilience work—

  engaged in security planning activities for the Election Infrastructure Subsector and oversaw the

  management and activity of EIS-GCC working groups. Id. This included the oversight and

  management of the EI-SCC and EIS-GCC Joint Managing Mis/Disinformation Working Group.




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  Id. The Missouri Secretary of State Office was an alternate member of the EIS-GCC from 2018-

  19. Id. ¶ 32. In this capacity, the Missouri Secretary of State Office attended the EIS-GCC biannual

  meetings and activity participated in briefings on the Election Infrastructure Subsector’s security

  and resilience efforts. Id.

                  d. CISA’s Limited Involvement with the Election Integrity Partnership
          134. The Election Integrity Partnership (“EIP”) was a private partnership formed in 2020

  that included the Stanford Internet Observatory (“SIO”), the University of Washington, Graphika,

  and the Atlantic Council’s Digital Forensic Research Lab, and whose mission was to better

  understand the information environment around elections. See Scully Ex. 1 at vi (Dkt. 209-2) (The

  Long Fuse: Misinformation and the 2020 Election). The EIP’s “primary goals were to: (1) identify

  mis- and disinformation before they went viral and during viral outbreaks[;] (2) share clear and

  accurate counter-messaging[;] and (3) document the specific misinformation actors, transmission

  pathways, narrative evolutions, and information infrastructures that enabled these narratives to

  propagate.” Id. Among other actions, the EIP developed a ticketing system where trusted external

  stakeholders and internal EIP analysts could flag misinformation that EIP would then analyze and,

  depending on the nature of the information, could flag for social media companies for their

  awareness. Id. at 8-10; 18-19.

          135. The EIP provided public factual findings to social media platforms, but had no

  control over content moderation, censorship, or labeling posts. Ex. 74 at 2. Rather, social media

  platforms examined any reports sent to them by the EIP to determine if the content violated their

  policies and whether and how to moderate the content. Id.; see Ex. 122 at 6 (stating that EIP’s

  “researchers made independent decisions about what to pass on to platforms, just as the platforms

  made their own decisions about what to do with our tips”); Ex. 125 at 3 (A Statement from the

  Election    Integrity    Partnership,   Election     Integrity   Partnership   (Oct.    5,   2022),


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  https://perma.cc/LV9L-CNCR) (“Each [social media] company made their own determinations on

  how to treat our reports.”). Content moderation decisions were independently made by social

  media platforms, and the EIP did not make recommendations to the platforms about what actions

  they should take. Ex. 74 at 2.

         136. CISA involvement with the EIP was limited, and it did not found, fund, or have any

  role in the management or operation of the EIP. Hale Decl. ¶ 52 (Ex. 97); Ex. 122 at 7. During

  2020, several Stanford University students interned at CISA on election security matters. Hale

  Decl. ¶ 53 (Ex. 97).44 During their internships, CISA personnel and the interns discussed the

  challenges facing and the needs of election officials. Id.; Scully Ex. 1 at 2 (Dkt. 209-2). Based on

  lessons learned from the 2018 election, CISA employee Brian Scully shared with the interns his

  view that State and local election officials’ resources were insufficient to allow them to identify

  misinformation that targeted their jurisdictions. Scully Dep. 84:10-22. The interns then presented

  the lack of resources and challenges facing election officials to officials at the SIO. Hale Decl.

  ¶ 54 (Ex. 97). CISA personnel subsequently had a conversation with Alex Stamos, who worked

  for the SIO, and confirmed his understanding that the States were lacking in such resources. Scully

  Dep. 86:22-87:9; Hale Decl. ¶ 54 (Ex. 97).

         137. In July 2020, the EIP was formed. Scully Ex. 1 at 21(3) (Dkt. 207-2). As the EIP was

  being stood up, and given its relationships with the election community, CISA connected the EIP

  with election stakeholders at NASS, NASED, and CIS, which, as discussed earlier, manages the

  MS-ISAC and the EI-SAC. Hale Decl. ¶ 58 (Ex. 97). And as it would with other nongovernmental

  organizations in the election community, CISA received a briefing from EIP in May or June 2022,


  44
     Students who interned at CISA should only have performed CISA work during their internships
  with the agency, and they should not have performed any CISA work outside of their CISA
  internship, including while interning at SIO or supporting the EIP. Hale Decl. ¶ 61 (Ex. 97).


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  during which the EIP shared its plans for the 2022 midterms and lessons learned from the 2020

  election. Scully Dep. 54:10-14; Hale Decl. ¶ 60 (Ex. 97).

         138. CISA did not launch the EIP, and the EIP is not a government organization. Hale

  Decl. ¶ 56 (Ex. 97). CISA does not fund and has never funded the EIP. Id. ¶ 57. CISA generally

  did not share information with the EIP. Scully Dep. 73:25-74:2; 106:3-9. It did not submit tickets

  flagging potential misinformation to the EIP. Ex. 125 at 2 (“CISA did not send any examples of

  potential misinformation to EIP” and “EIP did not send any reports of false rumors or

  disinformation to social media companies on behalf of [DHS] or [CISA].”); Ex. 74 at 3 (stating

  that the EIP did not receive requests from CISA to eliminate or censor tweets); Ex. 122 at 7 (stating

  that CISA did not send content to the EIP to analyze, and the EIP did not flag content to social

  media platforms on behalf of CISA). CISA is not aware of any communications with the EIP about

  specific disinformation concerns. Scully Dep. 75:2-5. Presently, CISA is not doing any work with

  the EIP. Hale Decl. ¶ 63 (Ex. 97). See also Defs.’ Resp. PFOF ¶¶ 991-1075.

         G. The State Department’s Global Engagement Center (GEC)
         139. Disinformation from foreign state and foreign non-state actors is of critical concern

  to the United States. See Declaration of Leah Bray, Deputy Coordinator, Glob. Engagement Ctr.,

  U.S. Dep’t of State ¶ 5 (Bray Decl.) (Ex. 142).45 Indeed, Congress and the Executive Branch

  recognized before 2020 that private platforms’ enforcement of their own terms of service can be

  important in opposing activities of foreign adversaries, such as the ISIS terrorist organization, that



  45
     For example, disinformation is one of Russia’s most important and far-reaching tools in support
  of its invasion of Ukraine. Bray Decl. ¶ 5 (Ex 142). Russia has operationalized the concept of
  perpetual adversarial competition in the information environment by encouraging the development
  of a disinformation and propaganda ecosystem. Id. This ecosystem creates and spreads false
  narratives to strategically advance Russia’s policy goals. Id. Russia’s intelligence services operate,
  task, and influence websites that present themselves as news outlets to spread lies and sow discord.
  Id. ¶ 6.


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  have sought to use social media platforms to disseminate anti-American propaganda.46 Congress

  also explicitly recognized the need for government action to counter such dissemination when it

  mandated that the Department of State’s Global Engagement Center (GEC) counter foreign

  propaganda and disinformation. Kimmage Dep. 26:5-12 (Dkt. 208-1). The GEC’s mission is “to

  direct, lead, synchronize, integrate, and coordinate efforts of the Federal Government to recognize,

  understand, expose, and counter foreign state and foreign non-state propaganda and disinformation

  efforts aimed at undermining or influencing the policies, security, or stability of the United States[,

  its] allies[,] and partner nations.” See 22 U.S.C. § 2656 note (Global Engagement Center).

          140. The GEC plays a key role in coordinating U.S. government efforts and helping to

  lead a global response to such foreign malign influence. See Bray Decl. ¶ 7 (Ex. 142). A central

  part of this effort is exposing foreign state and non-state actors’ disinformation tactics so that allied

  governments and partners abroad, including civil society organizations, academia, the press, and

  the international public, can conduct further analysis of their own and thereby increase collective

  resilience to disinformation and propaganda. Id.

          141. The GEC carries out its statutory mission to counter propaganda and disinformation

  from foreign state and non-state actors along five lines of effort: (1) analytics and research,


  46
     See Ex. 163 at 13 (Global Efforts to Defeat ISIS: Hearing Before the S. Comm. on Foreign Rels.,
  114th Cong. (2016) (statement of Brett H. McGurk, Special Presidential Envoy)) (Twitter,
  Facebook, and YouTube “are . . . removing ISIL-related content from their platforms . . . . [W]e
  have widely publicized how anyone can report ISIL content on-line, so that platforms can remove
  it if the content violates a platform’s terms of service, which it often does.”); Ex. 164 at 3
  (Countering Terrorist Internet Recruitment: Hearing Before the Subcomm. on Investigations of
  the S. Comm. on Homeland Sec. and Governmental Affs., 114th Cong. (2016) (statement of Sen.
  Rob Portman)) (“[S]ocial media firms including Facebook and Twitter have stepped up their
  voluntary efforts to police their own terms of service, which prohibit incitements to terrorism.
  Twitter has closed more than 100,000 ISIS-linked accounts, and Facebook has actively worked to
  remove offending users while working in various ways to promote content to counter jihadist
  propaganda. Those actions have helped to degrade ISIS’s social media megaphone. . . but its online
  presence remains strong.”).


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  (2) international partnerships, (3) programs and campaigns, (4) exposure, and (5) technology

  assessment and engagement. Id. ¶ 4; see also Kimmage Dep. 26:24-27:19. GEC’s Russia, People’s

  Republic of China, Iran, and Counterterrorism teams seek to build societal and institutional

  resilience against foreign propaganda and disinformation abroad. Bray Decl. ¶ 4 (Ex. 142);

  Kimmage Dep. 28:5-10. The GEC plays a coordination role in the interagency’s public exposure

  of foreign information influence operations, including the use of proxy sites and social media

  networks overseas. Ex. 126 (GEC, About Us, U.S. Dep’t of State, https://perma.cc/6U48-PE8Y).

  The GEC hosts private sector technology demonstrations, assesses counter-disinformation

  technologies against specific challenges, and identifies technological solutions through overseas

  technology challenge programs. Bray Decl. ¶ 4 (Ex. 142). The GEC also has a resources team, an

  interagency coordination team, a Technology Engagement Team (TET), and a front office.

  Kimmage Dep. 28:5-19.

          142. The GEC’s TET holds meetings with social media companies and exchanges

  information concerning the propaganda and disinformation tools and techniques used by the

  United States’ adversaries. Kimmage Dep. 29:14-30:14. These meetings rarely include discussions

  about specific content posted on social media because the meetings are at a higher, more

  conceptual level about what foreign actors are doing, rather than specific content. Id. at 30:20-

  31:3. The TET team also ran the disinfo-cloud, an information sharing platform that contained

  tools to counter propaganda and misinformation. Id. at 169:19-173:17. These tools could

  identify coordinated inauthentic activity on a social media platform by a foreign disinformation

  actor. Id. at 170:11-18. 47


  47
    For a time, the TET had a location in Silicon Valley where one individual, Sam Stewart (named
  as Defendant Samaruddin K Stewart), was stationed. Kimmage Dep. 153:7-154:21. The purpose
  of the Silicon Valley location was to facilitate public/private coordination and broker constructive



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         143. The GEC front office engages with social media companies, primarily to build

  relationships with those companies to facilitate better communications at the working level. Id. at

  31:12-20. The primary topics discussed at these meetings are the tools and techniques used by

  America’s adversaries, including the campaigns being conducted by foreign propaganda actors

  like Russia, China, Iran, and terrorist organizations, as well as the narratives they are promoting.

  Id. at 32:11-19. The GEC also is in listening mode during these meetings for anything the social

  media companies want to share, although they typically have little to share. Kimmage Dep. 32:11-

  33:1. The social media companies have shared high-level information like a foreign disinformation

  campaign with a narrative, rather than specific content that would be part of that campaign. Id. at

  33:14-34:2.

         144. The GEC did not flag specific content for social media companies during the

  meetings between the GEC front office and social media companies and did not give the companies

  any directives. Id. at 34:13-36:5. The GEC’s purpose in advising social media companies about

  disinformation campaigns was not to influence companies’ internal decisions regarding content,

  but to deepen their understanding of the actions of malign actors seeking to undermine U.S.

  national security, in line with the GEC’s congressional mandate. Id. at 36:6-37:7. In addition, the

  purpose of the GEC’s liaisons with social media companies is not to stop the spread of online

  disinformation; rather, the GEC simply shares lessons learned, information about propaganda and

  disinformation techniques, and the campaigns and narratives of foreign propaganda and



  engagements between the government and the tech sector, including social media companies, and
  academia and research. Kimmage Dep. 155:5-21. Mr. Stewart had conversations with social media
  companies in which the GEC shared information related to its mission to counter foreign
  propaganda and disinformation. Id. at 155:22-156:11. The social media companies also educated
  the GEC based on what sorts of propaganda and disinformation they were seeing. Id. at 157:11-
  23. Mr. Stewart no longer works for the GEC, and no one from the TET is currently working from
  the Silicon Valley location. Id. at 154:14-21, 272:17-25.


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  disinformation actors. Id. at 273:12-24. Sharing information can help social media companies to

  identify coordinated inauthentic activity or to understand what these actors are trying to achieve,

  as well as to understand the types of narratives they are promoting. Id. at 279:17-280:4. Providing

  this information to social media companies is the first step in social media companies’ ability to

  address foreign propaganda on their sites, as “[s]olving a problem has to start with understanding

  the problem[.]” Id. at 280:9-281:3.

         145. However, the GEC does not engage in any activities where the intention is to propose

  to social media companies that certain content should not be posted on their platforms. Kimmage

  Dep. 37:16-25. Indeed, “[t]he Global Engagement Center does not tee up actions for social media

  companies to take,” and it “does not seek to influence the decisions of the social media companies.”

  Id. at 38:2-3, 283:9-22; Bray Decl. ¶ 16 (Ex. 142) (explaining that the GEC’s practice is not to

  request social media companies take any specific actions when sharing information with them).48

  Nor does the GEC seek to provide information that might inform social media companies’

  decisions concerning content moderation, or brief social media companies on their content




  48
     In rare instances the GEC has flagged a specific post for a social media company when the
  circumstances involved potential threats to the safety of State Department personnel. Bray Decl.
  ¶ 17 (Ex. 142). In 2018, a colleague informed Mr. Kimmage, who was then acting Coordinator of
  the GEC, of a security situation in a Middle Eastern country where protestors were using a social
  media platform to communicate in ways that raised urgent security concerns, and the State
  Department was concerned for the safety of its personnel. Id.; Kimmage Dep. 38:12-39:25. Mr.
  Kimmage communicated directly with a social media platform and informed it of the State
  Department’s concern. Id. Mr. Kimmage was “very specific” in his interaction with the social
  media company that this was a real time situation in which the State Department believed its
  personnel were at risk and asked the company to review the activity on these accounts to decide
  whether the content in question, which had been posted by foreign actors, violated its terms of
  service. Id. at 38:12-39:25, 40:1-3. Mr. Kimmage did not ask for anything to be removed from the
  site, but he did express concerns about the personal safety of State Department personnel. Id. at
  38:12-39:25. Mr. Kimmage is unaware of what action, if any, the platform took in response to his
  identification of this issue, because it did not report back to him. Id. at 40:4-7.


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  moderation policies. Kimmage Dep. 38:4-11, 285:19-286:1. 49 Rather, whatever actions social

  media companies may take after receiving information from the GEC is left completely up to those

  companies. Id. at 273:12-274:8; see also Defs.’ Resp. PFOF ¶¶ 1123-1134.

         H. The Federal Bureau of Investigation
             1. FBI Efforts as to Foreign Influence and Election Misinformation
         146. “Foreign influence operations,” as then-Deputy Assistant Attorney General Adam S.

  Hickey of the DOJ National Security Division explained in 2018 to the Senate Judiciary

  Committee, “include covert actions by foreign governments intended to affect U.S. political

  sentiment and public discourse, sow divisions in our society, or undermine confidence in our

  democratic institutions to achieve strategic geopolitical objectives.” Ex. 127 at 1 (Election

  Interference: Ensuring Law Enforcement is Equipped to Target Those Seeking to Do Harm:

  Hearing Before the S. Comm. on the Judiciary, 115th Cong. (2018) (statement of Adam Hickey,

  Deputy Assistant Att’y Gen., Dep’t of Just.), 2018 WL 2933298). A prominent example is found

  in the 2018 federal indictment “of 13 Russian individuals and three entities, including the Internet

  Research Agency (or IRA), for federal crimes in connection with an effort to interfere in the 2016

  Presidential election. The defendants allegedly conducted what they called ‘information warfare

  against the United States,’ with the stated goal of ‘spread[ing] distrust towards the candidates and

  the political system in general.’” Ex. 128 at 1 (Adam. S. Hickey, Deputy Assistant Att’y Gen.,



  49
    When asked at his deposition about any efforts by the GEC to influence social media companies’
  content moderation decisions, Mr. Kimmage, the acting GEC Coordinator and Principal Deputy
  Coordinator from 2017 until June 2021, stated that he never had a conversation with social media
  companies during which he encouraged them to speed up the removal of posts. Kimmage Dep.
  42:12-20, 47:16-20. Mr. Kimmage further testified that he is unaware of instances in which other
  GEC personnel expressed concern about specific content on a platform to a third party on the
  understanding that the party would convey that concern to the social media company. Id. at 55:20-
  56:8.



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  Remarks at Misinfo Con (Aug. 6, 2018), 2018 WL 3727551); see also Ex. 129 (Press Release,

  Dep’t of Just., Grand Jury Indicts Thirteen Russian Individuals and Three Russian Companies for

  Scheme to Interfere in the United States Political System (Feb. 16, 2018), 2018 WL 920088) (DOJ

  news release describing indictment). It was to address such “information warfare” that the FBI in

  the fall of 2017 established the Foreign Influence Task Force (“FITF”). See Ex. 130 at 7 (Oversight

  of the Federal Bureau of Investigation: the January 6 Insurrection, Domestic Terrorism, and Other

  Threats: Hearing Before the S. Comm. on the Judiciary, 117th Cong. 1 (2021), 2021 WL 808994

  (statement of Christopher Wray, Dir., FBI)).

         147. Among the categories of activity by foreign governments that the FITF investigates

  and seeks to disrupt are “attempts by adversaries—hoping to reach a wide swath of Americans

  covertly from outside the United States—to use false personas and fabricated stories on social

  media platforms to discredit U.S. individuals and institutions”; “[t]argeting U.S. officials and other

  U.S. persons through traditional intelligence tradecraft”; “[c]riminal efforts to suppress voting and

  provide illegal campaign financing”; and “[c]yber attacks against voting infrastructure, along with

  computer intrusions targeting elected officials and others.” Ex. 131 at 1 (Combating Foreign

  Influence, Fed. Bureau of Investigation, https://perma.cc/M4P7-6KFF); see Declaration of Larissa

  L. Knapp, Exec. Assistant Dir., Nat’l Sec. Branch, FBI (“Knapp Decl.”) ¶¶ 10-20 (Ex. 157).

         148. Government concern about foreign influence efforts directed to United States

  elections has continued beyond the 2016 election into the 2020 election season and beyond,

  including under the Trump Administration. The International Emergency Economic Powers Act,

  50 U.S.C. §§ 1701 et seq., grants the President broad authority to impose economic sanctions on

  foreign governments that threaten the security of the United States. Invoking that authority,

  President Trump in 2018 declared an emergency to deal with the unusual and extraordinary threat




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  presented by “the ability of persons located . . . outside the United States to interfere in or

  undermine public confidence in United States elections, including through the unauthorized

  accessing of election and campaign infrastructure or the covert distribution of propaganda and

  disinformation.” Exec. Order No. 13,848, 83 Fed. Reg. 46,843, 46,843 (Sept. 12, 2018) (emphasis

  added). Noting that “foreign powers have historically sought to exploit America’s free and open

  political system,” President Trump found that “the proliferation of digital devices and internet-

  based communications has created significant vulnerabilities and magnified the scope and intensity

  of the threat of foreign interference.” Id. The order required, inter alia, various national security

  officials, not later than 45 days after an election, to assess “any information indicating that a foreign

  government, or any person acting as an agent of or on behalf of a foreign government, has acted

  with the intent or purpose of interfering in that election.” Id. at 46,843-44. President Trump

  continued that emergency finding for the following two years. 84 Fed. Reg. 48,039 (Sept. 10,

  2019); see also 85 Fed. Reg. 56,469 (Sept. 10, 2020) (President Biden continued that finding for

  two successive years).

          149. Also, on March 2, 2020, the eve of “Super Tuesday” (when multiple states held

  primary contests), then-Attorney General Barr joined numerous other officials in a joint statement

  advising: “We continue to work with all 50 states, U.S. territories, local officials, political parties,

  and private sector partners to keep elections free from foreign interference.” Ex. 132 at 1 (Press

  Release, Fed. Bureau of Investigation, Joint Statement from DOS, DOJ, DOD, DHS, ODNI, FBI,

  NSA, and CISA on Preparations for Super Tuesday (Mar. 2, 2020), 2020 WL 996966). “Americans

  must also remain aware,” the joint statement continued, “that foreign actors continue to try to

  influence public sentiment and shape voter perceptions. They spread false information and

  propaganda about political processes and candidates on social media in hopes to cause confusion




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  and create doubt in our system. We remain alert and ready to respond to any efforts to disrupt the

  2020 elections.” Id. Closer to Election Day, FBI and CISA, on September 22, 2020, issued an

  “announcement to raise awareness of the potential threat posed by attempts to spread

  disinformation regarding the results of the 2020 elections.” Ex. 133 at 1 (Press Release, Fed.

  Bureau of Investigation, Foreign Actors and Cybercriminals Likely to Spread Disinformation

  Regarding 2020 Election Results (Sept. 22, 2020), 2020 WL 5644950). “Foreign actors and

  cybercriminals,” the announcement continued, “could create new websites, change existing

  websites, and create or share corresponding social media content to spread false information in an

  attempt to discredit the electoral process and undermine confidence in U.S. democratic

  institutions.” Id. For example, an Iranian hacking group obtained unauthorized access to one local

  government’s computers and, before that intrusion was thwarted, could have displayed false results

  for the 2020 election on that government’s public-facing website. Ex. 134 at 1 (Joseph Menn, Iran

  gained access to election results website in 2020, military reveals, Wash. Post (Apr. 24, 2023)).

         150. Elvis Chan, the Assistant Special Agent in Charge (“ASAC”) of the Cyber Branch

  for the FBI in San Francisco, assisted with FITF efforts by sharing with social media companies

  information the FBI developed in the course of malign-influence investigations. As a supervisor

  over FBI San Francisco cyber investigations, he has also shared information with social media

  companies about cyber investigations, which are different from malign-influence investigations.

  Chan Dep. 8:11-13, 100:11-12, 105:13-18 (Dkt. 204-1). The companies ASAC Chan met with

  most frequently were Facebook, Google, Twitter, and Microsoft. Id. at 210:19-25.




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         151. The USG-industry meetings ASAC Chan regularly attended included discussion of

  “hack-and-dump” (a.k.a. “hack-and-leak”) operations. Id. at 170:12-15, 171:9-11, 172:3-5.50

  Multiple FBI agents attended the USG-industry meetings, at which, before the 2020 election, the

  FBI warned social media companies about the potential for 2016-style Russian hack-and-dump

  operations. Id. at 172:17-173:13, 177:7-10. The FBI’s warnings, though not based on observed

  computer intrusions similar to those that occurred in 2016, followed from the assessment that

  because such a hack-and-dump operation had been deployed before (in 2016), it could be deployed

  again, given, for example, the skills of the Russian hackers shown in 2016. Id. at 173:18-174:13,

  208:7-12. The FBI also voiced warnings at FITF-organized bilateral meetings with individual

  platforms. Id. at 181:6-11, 185:19-25, 189:24-190:13; see also Defs.’ Resp. PFOF ¶¶ 865-879.

         152. In general, ASAC Chan met with the platforms’ trust and safety personnel monthly

  in connection with cyber or FITF investigations, although the frequency became weekly as the

  2020 election approached. Chan Dep. 40:2-11, 40:44-50. On FITF matters, the FBI shared

  information with the platforms that was (1) strategic (concerning general foreign malign

  techniques or processes), or (2) tactical (describing attributes, or indicators, of particular social

  media accounts indicating they were being operated by foreign malign actors). FITF shared

  information about a foreign malign actor’s social media activity not based on the content or

  viewpoint expressed in a post, but rather on the determination that the account is part of a covert


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     The paradigmatic or “best” example of a hack-and-dump or hack-and-leak operation was the
  one undertaken by members of Russia’s GRU military unit when they unlawfully intruded
  (“hacked”) into the computer networks of the Democratic Congressional Campaign Committee,
  the Democratic National Committee, and the presidential campaign of Hillary Clinton, and
  thereafter released (“dumped” or “leaked”) information stolen from those networks on the internet.
  Chan Dep. 13:7-15; see, e.g., Ex. 135 at 1 (Press Release, Dep’t of Just., Grand Jury Indicts 12
  Russian Intelligence Officers for Hacking Offenses Related to the 2016 Election (July 13, 2018),
  2018 WL 3425704 (DOJ news release describing indictment charging 12 “Russian nationals for
  committing federal crimes . . . intended to interfere with the 2016 U.S. presidential election”)).


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  effort by a foreign malign actor. See Knapp Decl. ¶¶ 16-20 (Ex. 157). Platforms would use their

  own means to validate the FBI’s views on whether particular accounts were being operated by

  Russian state-sponsored actors and whether to take them down. Chan Dep. at 29:14-30:10, 32:8-

  33:17. The FBI only shared information concerning accounts it attributed with high confidence to

  a foreign-state actor, and to date the FBI’s attributions have always proven correct. Id. at 112:21-

  113:6. As Yoel Roth, former head of content moderation at Twitter, further explained in 2023

  testimony before the House Oversight and Accountability Committee: “The FBI was quite careful

  and quite consistent to request review of the accounts, but not to cross the line into advocating for

  Twitter to take any particular action.” Ex. 2 at 16. During 2020, ASAC Chan estimated that he

  shared tactical information with platforms “between one to five or one to six times per month.” Id.

  at 100:21-24; see also Defs.’ Resp. PFOF ¶¶ 905-924, 929-930.

         153. The Russians’ 2016 hack-and-leak operation provided an impetus for some platforms

  to change their service terms to state, among other things, that they would not allow posts of hacked

  materials because of concerns about the hacking victim’s privacy. Chan Dep. 205:4-17, 248:10-

  16. Although ASAC Chan inquired whether platforms had made changes to their terms of service

  and what the changes were, he never suggested that any platform change a service term. Id. at

  206:3-17, 250:17-21, 253:21-254:1. The platforms themselves “were actively looking for hack-

  and-leak operations” using detection methods that would identify hacked materials “put or

  uploaded onto their platforms.” Id. at 204:18-24.

         154. Also as part of its election integrity efforts, the FBI in San Francisco operated a 2020

  election command post, starting on the Friday before the election and continuing through election

  night. The San Francisco Field Office was responsible for relaying to the platforms election-related

  time, place, or manner disinformation or malign-foreign-influence information on their platforms




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  as reported by other field offices and after agency review. Chan Dep. 162:10-163:20, 164:23-

  165:2, 168:10-20. The FBI operated on the ground that it is a potential crime to post false

  information about the time, place, or manner of an election. Id. at 270:2-13; see Knapp Decl. ¶¶ 21-

  24 (Ex. 157). During the 2022 midterm elections the FBI in San Francisco staffed the command

  post on Election Day only, based on its experience during the 2018 midterm elections, when the

  “volume of information . . . to be coordinated” was “very low.” Chan Dep. at 167:20-168: 9.

         155. The FBI would convey such posts to platforms “to alert” them “to see if” the posts

  violated the platforms’ terms of service, and if the posts did so, the platforms “would follow their

  own policies, which may [have] include[d] taking down accounts.” Id. at 165:9-22; see Knapp

  Decl. ¶¶ 21-24 (Ex. 157). Platforms would sometimes reply that they had taken down the posts,

  while in other cases they would state that the flagged post did not violate platform terms of service.

  Id. at 165:23-167:3-14; see also Defs.’ Resp. PFOF ¶¶ 878-879, 925-928, 966-967.

             2. The “Hunter Biden Laptop Story”
         156. Plaintiffs allege that the FBI is responsible for “censorship” of the New York Post’s

  October 14, 2020, story concerning alleged contents of Hunter Biden’s laptop computer. PI Br.

  23-24; see PI Supp. 27-29.

         157. The evidence reflects that it was Twitter and Facebook, acting on their own initiative,

  that unilaterally determined what limits to impose on the dissemination of posts involving that

  story. Following the New York Post’s publication on October 14, 2020, Senator Hawley asserted

  that, “Twitter is blocking all tweets and direct messages that contain the URL for the Post article,”

  while “Facebook has stated that it is ‘reducing [the story’s] distribution on our platform,’ though

  the specifics of how Facebook will implement this remain opaque.” Ex. 136 at 1 (Press Release,

  Sen. Josh Hawley, Hawley Calls for FEC Investigation of Potential In-Kind Contributions from

  Twitter and Facebook to Biden Campaign (Oct. 14, 2020), https://perma.cc/A7ST-3KQK) (news


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  release reprinting Sen. Hawley letter to FEC). Twitter’s then-chief executive, Jack Dorsey, later

  represented to Congress in 2020 that, after the New York Post’s release of its article, the platform

  enforced its 2018 Hacked Materials Policy, which prevented sharing certain links from that

  newspaper’s Twitter account, “publicly or privately,” but “[r]eferences to the contents of the

  materials or discussion about the materials were not restricted under the policy.” Ex. 137 at 6

  (Censorship and the 2020 Election: Hearing Before the S. Comm. on the Judiciary, 116th Cong.

  (2020), 2020 WL 13568471 (opening statement of Jack Dorsey, CEO, Twitter)). Application of

  the 2018 policy “prevent[ed] Twitter from being used to spread hacked materials.” Id. at 5. As a

  former attorney for Twitter, Vijaya Gadde, represented to Congress in 2023, Twitter initially

  decided the New York Post’s tweets about the story fell within that policy because the tweets

  contained “embedded images that looked like they may have been obtained through hacking,” and

  the result of Twitter’s initial decision was to “block[]” tweets and linked-to articles “embedding

  those source materials”—which did not prevent other “tweeting [about], reporting, discussing, or

  describing the contents of” the laptop. Ex. 2 at 5.

         158. But “Twitter then “changed its policy within 24 hours and admitted its initial action

  was wrong. This policy revision immediately allowed people to tweet the original articles with the

  embedded source materials.” Id. Or, as Mr. Dorsey put it, Twitter changed course, and it “quickly

  updated” its “policy to limit its scope to only cover the removal of materials shared by hackers

  directly,” and subsequently restored the New York Post’s account. Ex. 137 at 6. Mr. Dorsey further

  explained: “We made a quick interpretation, using no other evidence, that the materials in the

  article were obtained through hacking, and according to our policy we blocked them from being

  spread.” Ex. 14 at 3. And Mr. Dorsey noted that Twitter “admitted this action was wrong and

  corrected it within 24 hours.” Id.




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         159. As Mr. Roth further testified in 2023 about Russian interference in the 2016 election:

  “Twitter and the entire social media industry were frankly caught with their pants down in 2016

  and missed an opportunity to do the critical work of protecting election security.” Ex. 2 at 11. Mr.

  Roth testified that academics and researchers had reached this judgment after long study of Russian

  “active measures,” and that the most influential part of Russia’s campaign was the hack and leak

  in 2016 targeting John Podesta, Chairman of Hillary Clinton’s 2016 presidential campaign. Id. The

  incident involving Mr. Podesta served as “one of the animating concerns” for Twitter’s initial

  decision to limit the distribution of posts about the New York Post’s Hunter Biden story. Id. That

  decision was not motivated by coercion or pressure from the Federal Government. Id. No one from

  the Federal Government, the Biden campaign or the DNC directed asked Twitter to remove or take

  action against content concerning the New York Post story. Id. at 11, 25.

         160. Plaintiffs contend that Mr. Roth previously acknowledged in a December 2020

  declaration submitted in a Federal Elections Commission (“FEC”) proceeding that the Federal

  Government had informed Twitter of a potential hack and leak operation concerning Hunter Biden.

  PI Supp. 28. Yet Mr. Roth stated only that, in “regular meetings” he attended with the FBI, other

  Federal agencies, “and industry peers regarding election security,” he had “learned” that “there

  were rumors that a hack-and-leak operation would involve Hunter Biden.” Chan Ex. 8 (Roth Decl.)

  ¶¶ 10-11 (Dkt. 204-5). But Mr. Roth did not say in his 2020 declaration from whom he heard those

  rumors, or attribute them to Government personnel. Mr. Roth later clarified, in sworn

  congressional testimony in February 2023, that he intended to indicate in his FEC declaration that

  another social media company, not the Federal Government, had raised the possibility of a hack-

  and-leak operation concerning Hunter Biden. Ex. 2 at 11. Mr. Roth explained that the Federal

  Government did not share that perspective or provide information to Twitter concerning this issue.




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  Id.; see id. at 37 (“My recollection is that a representative of another tech company may have

  mentioned [the Hunter Biden hack-and-leak operation], but those meetings were several years ago.

  I truly don’t recall.”); id. at 43 (“I want to be clear that my statement to the FEC does not suggest

  that the FBI told me it would involve Hunter Biden. That’s a popular reading of the declaration

  but it was not my intent.”); id. at 46 (“My recollection is it was mentioned by another technology

  company in one of our joint meetings, but I don’t remember who.”). Documents that ASAC Chan

  sent to Twitter the “night before” the New York Post story broke “did not relate to Hunter Biden.”

  Id. at 12; see also Defs.’ Resp. PFOF ¶¶ 880-904.

         161. ASAC Chan testified that no one brought anything to do with Hunter Biden’s laptop

  to his attention before the New York Post’s publication on October 14, 2020. Chan Dep. 229:21-

  230:19. At one bilateral meeting between the FBI FITF and Facebook after October 14, 2020, one

  of Facebook’s analysts asked if FBI had any information to share about the Hunter Biden

  investigation or case, and FBI personnel answered that the FBI had no comment. Id. at 213:11-19,

  308:14-309:12. Other than the Facebook analyst’s inquiry and the FBI’s no-comment response,

  ASAC Chan was not aware of any communications related to the Hunter Biden laptop story

  between the FBI and Facebook, Chan Dep. 233:22-234:3, Twitter, id. at 233:8-21, Apple,

  Microsoft, id. at 234:6-7, or any other platform, id. at 234:4-5; see also id. at 227:24-228:1, 21-23,

  229:6-14 (testifying that he did not recall any Federal Government personnel mentioning Hunter

  Biden’s name during meeting with Twitter). (The FBI is not commenting on the relevant

  investigation, which is ongoing.) Ex. 138 at 36-37 (Annual World Wide Threats Hearing with

  Heads of the Intelligence Committee: Hearing Before H. Select Comm. on Intell., 118th Cong.

  (2023)).




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         162. ASAC Chan was not aware (until asked about the Roth Declaration at his deposition)

  of actions Twitter initially took to limit circulation of certain posts (containing “embedded source

  materials”) about the Post’s Hunter Biden laptop story. Id. at 232:18-21. As Mr. Roth explained,

  his “interactions with [ASAC] Chan and with the FBI almost entirely focused on what the FBI

  called malign[ ] foreign interference, things like Russian troll farms and Iranian involvement in

  the elections, not on any type of domestic” inquiry. Ex. 2 at 12.

         163. As to Meta, in the October 25, 2022 letter by that company’s counsel to this Court,

  the platform stated that ASAC Chan “at no point in time advised Meta ‘to suppress the Hunter

  Biden laptop story.’ Nor did any of his colleagues.” Ex. A, Dkt. 96 at 2-3. 51

                                        LEGAL STANDARD
         “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

  v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); Anderson v. Jackson, 556 F.3d 351, 360 (5th

  Cir. 2009) (“Injunctive relief is an extraordinary and drastic remedy[] and should only be granted

  when the movant has clearly carried the burden of persuasion.”). Plaintiffs must “by a clear

  showing” establish that (1) they have a substantial likelihood of success on the merits; (2) they

  will suffer irreparable harm without an injunction; (3) the balance of equities tips in their favor;

  and (4) preliminary relief serves the public interest. Mazurek v. Armstrong, 520 U.S. 968, 972

  (1997). Failure to satisfy any one of these requirements precludes injunctive relief, see Allied Mktg.

  Grp., Inc. v. CDL Mktg., Inc., 878 F.2d 806, 809 (5th Cir. 1989), and Plaintiffs bear a heavy burden



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    Mr. Zuckerberg’s October 2020 congressional testimony that the FBI put the company on “alert”
  about a potential hack-and-dump operation does not show that ASAC Chan or the FBI advised
  Facebook regarding the “Hunter Biden Laptop Story.” PI Supp. 28; Pls.’ PFOF ¶ 902. ASAC Chan
  testified that what the FBI would have done was to ask the platform “how their terms of service
  would handle a situation” involving materials released from such an operation. Chan Dep. 247:22-
  248:1-4, 250:14-21. Twitter and Facebook said they would remove hacked materials if the
  platforms themselves were able to validate such materials were hacked. Id. at 252:24-253:4.


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  of persuading the district court that all four elements are satisfied, Enter. Int’l, Inc. v. Corporacion

  Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985). A plaintiff’s burden is even

  higher where, as here, it seeks a preliminary injunction that would alter the status quo. See, e.g.,

  Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). Preliminary injunctions that go “well

  beyond simply maintaining the status quo” are “particularly disfavored[] and should not be issued

  unless the facts and law clearly favor the moving party.” Id.

                                              ARGUMENT
          Contrary to Plaintiffs’ hyperbole and speculation, the record confirms only that devoted

  civil servants did what government officials are expected to do: promote government policies,

  including through discussions with private parties, to help protect the public. See Walker v. Tex.

  Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 208 (2015) (“[A]s a general matter, when

  the government speaks it is entitled to promote a program, to espouse a policy, or to take a

  position,” otherwise “it is not easy to imagine how government would function”); Bd. of Regents

  of Univ. of Wis. Sys. v. Southworth, 529 U.S. 217, 235 (2000) (“the government” has the right to

  “speak[] . . . to promote its own policies or to advance a particular idea,” and to the extent “the

  citizenry objects, newly elected officials later could espouse some different or contrary position”);

  Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 598 (1998) (Scalia, J. concurring) (it is “the

  very business of government to favor and disfavor points of view on . . . innumerable subjects”);

  Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 833 (1995) (“when the

  government” seeks to “promote a particular policy of its own it is entitled to say what it wishes”).

          The evidence demonstrates that during a pandemic that cost over a million Americans their

  lives, officials from the White House and OSG promoted an “all of society” effort to overcome

  this challenge, the likes of which our nation had not experienced in over a century. See supra Defs.’

  PFOF § II.A.-B. Public health officials at CDC and NIAID communicated with social media


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  companies to help promote accurate health information and address the spread of misinformation

  that could threaten additional lives. See supra Defs.’ PFOF § II.C.-E. FBI officials likewise

  communicated with social media platforms to help identify malign foreign actors seeking to exploit

  social media to further their objectives and undermine our national security. See supra Defs.’

  PFOF § II.H. Similarly, officials at CISA sought to protect our democratic processes by sharing,

  with social media companies, reports received from persons of all political stripes, including from

  Plaintiffs Louisiana and Missouri, regarding election-related misinformation. See supra Defs.’

  PFOF § II.F. None of the evidence demonstrates that any government official coerced or

  effectively compelled any social media company to take any action regarding content on its

  platforms. Rather, Defendants, like officials in prior administrations, used the bully pulpit, and

  other means of communication, to promote public health and safety—again, precisely what

  government officials are supposed to do. Ultimately, the social media companies—large,

  independent corporations—decided for themselves what would be carried on their platforms.

         These types of government communications with social media companies are not unlawful,

  and indeed, are beneficial. Although Plaintiffs purport to argue otherwise, they point to no

  evidence demonstrating the type of coercion that the Supreme Court has held necessary to

  transform private decisions into state action. Instead, Plaintiffs ask this Court to recognize new

  legal theories of state action to justify a sweeping injunction that would hamstring, if not cripple,

  the Government’s ability to express its views on matters of critical public concern.

         Plaintiffs’ motion should therefore be denied on the merits. But even if the Court believes

  Plaintiffs’ legal theories have merit, Plaintiffs cannot establish any irreparable harm to justify a

  preliminary injunction that would impair the Federal Government’s ability to communicate with

  private companies to promote national security and public safety.




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  I.     Plaintiffs fail to satisfy their burden of demonstrating that irreparable harm would
         result in the absence of a preliminary injunction.
         Plaintiffs have not “clearly carried the burden of persuasion” to show imminent irreparable

  harm, Bluefield Water Ass’n v. City of Starkville, 577 F.3d 250, 253 (5th Cir. 2009) (citation

  omitted), as “is required for injunctive relief.” Montient Corp. v. Dondero, 529 F.3d 532, 538 (5th

  Cir. 2008) (emphasis added); 11A Charles Alan Wright, Arthur R. Miller & Mary Kay

  Kane, Federal Practice and Procedure § 2948.1 (3d ed. 2013) (“Perhaps the single most important

  prerequisite for the issuance of a preliminary injunction is a demonstration that if it is not granted

  the applicant is likely to suffer irreparable harm before a decision on the merits can be rendered.”).

  To show irreparable harm, Plaintiffs must demonstrate “a significant threat of injury from the

  impending action, that the injury is imminent, and that money damages would not fully repair the

  harm.” Humana, Inc. v. Jackson, 804 F.2d 1390, 1394 (5th Cir. 1986) (emphases added).

         Plaintiffs devote a mere two sentences of their 68-page supplemental brief to this

  indispensable factor. And they argue only that a preliminary injunction is warranted because they

  bring a First Amendment claim. PI Supp. 65. But merely asserting a First Amendment violation

  does not suffice. A First Amendment injury, like any other, must be imminent and non-speculative

  to satisfy the irreparable injury requirement. See Google, Inc. v. Hood, 822 F.3d 212, 227-28 (5th

  Cir. 2016) (“[I]nvocation of the First Amendment cannot substitute for the presence of an

  imminent, non-speculative irreparable injury.”); see also Elrod v. Burns, 427 U.S. 347, 373 (1976)

  (plurality opinion) (finding a preliminary injunction appropriate when it was “clear . . . that First

  Amendment interests were either threatened or in fact being impaired at the time relief was

  sought” (emphasis added)); Ark. Project v. Shaw, 775 F.3d 641, 663-64 (5th Cir. 2014) (“Federal

  courts are not obligated to grant an injunction for every violation of law,” and that the “court’s




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  power to order injunctive relief depends” on “whether plaintiffs have established . . . a reasonably

  certain threat of imminent harm.” (citation omitted)).

         To demonstrate irreparable harm at the preliminary injunction stage, Plaintiffs must adduce

  evidence showing that the irreparable injury is likely to occur “during the pendency of the

  litigation.” Justin Indus., Inc. v. Choctaw Secs., L.P., 920 F.2d 262, 268 n.7 (5th Cir. 1990)

  (emphasis added). After all, the very purpose of a preliminary injunction is “simply [to] preserve[]

  the status quo pending final determination of the action after a full hearing.” SEC v. First Fin.

  Group of Tex., 645 F.2d 429, 435 n.8 (5th Cir. Unit A 1981). Plaintiffs make no effort to meet their

  heavy burden as to this critical element of the preliminary injunction requirements. In their two-

  sentence argument, they point to no evidence at all substantiating their irreparable harm claim. See

  PI Supp. 65. And although they allege, elsewhere in their brief, see id. at 56-57, vaguely defined

  harms to their interests as speakers or listeners for standing purposes, those purported harms fall

  far short of satisfying Article III’s requirements of “concrete and particularized” and “actual or

  imminent” injury. Infra Arg. § II.A.1.; see also Defs.’ MTD 18-31; Defs.’ Reply in Supp. of MTD

  7-19 (“Defs.’ Reply”) (Dkt. 199). Much less do they show any irreparable injury likely to arise

  during the pendency of this suit on the merits.

         For several reasons, the record undermines Plaintiffs’ claimed need for immediate relief.

  First, Plaintiffs rely on harms arising from social media companies’ past content moderation

  decisions, which provide no basis for forward-looking injunctive relief, preliminary or otherwise.

  Plaintiffs’ assertion that those past harms are “ongoing” or “imminent” are contradicted by the

  evidence: Plaintiffs’ previously banned accounts have been restored and Plaintiffs point to no

  recent social-media content that others posted (or wished to post) to which Plaintiffs have been

  denied access because of a company’s content moderation decision. Second, as the Government’s




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  response to the pandemic and attacks on election infrastructure have evolved to meet new

  challenges and changed circumstances, much of Defendants’ conduct that Plaintiffs challenge is

  no longer occurring, and Plaintiffs have no entitlement to relief, especially preliminary injunctive

  relief, from conduct that has ceased. Moreover, Plaintiffs’ assertion that Defendants are

  “expanding censorship efforts,” PI Supp. 57, is speculative and unfounded. To support that

  assertion, Plaintiffs point to various policy statements and initiatives on issues relating to climate

  change, cyber bullying, and other topics unrelated to COVID-19 and election security—matters of

  public concern on which the Government is entitled to promote awareness as well as its own views

  on how they should be met. But Plaintiffs offer no evidence that any Defendant has spoken with a

  social media company about content moderation relating to such topics, or that any social media

  company moderates content relating to those topics (let alone that it does so at the demand of any

  Defendant).

         Finally, even if Plaintiffs could otherwise show any ongoing or imminent harm, Plaintiffs’

  delay in seeking relief undermines any conclusion that such harm is irreparable and warrants

  emergency injunctive relief. The conduct of which Plaintiffs complain began years ago (by their

  own admission), and yet Plaintiffs waited until last May to bring suit, after which they then sought

  discovery, which has consequently delayed any relief they could obtain from their preliminary-

  injunction motion by nearly a year. That delay alone proves the absence of irreparable harm.

         A. Plaintiffs cannot establish imminent, irreparable harm based on social media
            companies’ past content moderation decisions.
         To start, Plaintiffs cannot show imminent, irreparable harm based on the alleged past

  content moderation decisions of social media companies: “[h]arm that has already occurred,” of

  course, “cannot be remedied by an injunction.” Pham v. Univ. of La. at Monroe, 194 F. Supp. 3d

  534, 548 (W.D. La. 2016) (quoting Mountain Med. Equip., Inc. v. Healthdyne, Inc., 582 F. Supp.



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  846, 848 (D. Colo. 1984)) (emphasis added). Plaintiffs acknowledge that “past injury is not

  redressable by injunctive or declaratory relief.” PI Supp. 62 (citing Stringer v. Whitley, 942 F.3d

  715, 720 (5th Cir. 2019)). Yet they rely almost exclusively on content moderation decisions

  occurring long ago. The declarations supporting their request for emergency relief are nearly one

  year old—all of them executed in May or June 2022, before the Plaintiff States’ initial request for

  preliminary injunctive relief. Even those declarations point to actions taken by social media

  companies as long ago February 2021. Infra Arg. § I.A.1. Despite nearly one year’s time and

  access to voluminous discovery materials with which to update their declarations, Plaintiffs have

  adduced no evidence of recent content moderation decisions affecting their speech, or the speech

  of others with which they seek to engage. In the meantime, the social media accounts of the

  Individual Plaintiffs who were allegedly “permanently deplatformed” have apparently been

  restored. As explained further below, the outdated declarations and changed factual circumstances

  contradict Plaintiffs’ conclusory assertions that they are “experienc[ing] ongoing injury from

  censorship and face the imminent prospect of further censorship.” PI Supp. 57.

             1. The Individual Plaintiffs’ alleged harms stem from long-past content
                moderation decisions.
         The Individuals Plaintiffs’ declarations allege harms arising from past content moderation

  decisions affecting posts of their own or of other users they claim to follow. But those decisions

  primarily occurred between two and three years ago—in 2020 and 2021. See Bhattacharya Decl.

  ¶¶ 16-18 (Dkt. 10-3) (Google, Redditt, YouTube actions in February and March 2021); Kulldorff

  Decl. ¶¶ 9-15 (Dkt. 10-4) (Google, Redditt, YouTube actions in February and March 2021); id.

  ¶¶ 17-18 (Twitter and LinkedIn actions in 2021); Hoft Decl. ¶¶ 3, 6-8 (Dkt. 10-5) (Twitter action

  in January and February 2021); Kheriaty Decl. ¶ 11 (Dkt. 10-7) (Twitter action in 2020-2021);

  Hines Decl. ¶¶ 7-8 (Dkt. 10-12) (Facebook action in 2020). Even the most recent alleged content



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  moderation actions occurred, at the latest, in May 2022—roughly one year ago. Kulldorff Decl.

  ¶ 26 (LinkedIn action in January 2022); Hoft Decl. ¶ 14 (YouTube action in May 2022); Kheriaty

  Decl. ¶ 15 (Twitter action in 2021 and 2022); Hines Decl. ¶ 9 (Facebook action in January and

  May 2022).52 These actions, all of which had already occurred by “the time [Plaintiffs] brought

  this suit,” Pham, 194 F. Supp.3d at 548, cannot be remedied by any prospective injunctive relief,

  infra Arg. § II.A., and certainly not by immediate injunctive relief.53 See generally Defs.’ Resp.

  PFOF ¶¶ 1367-1411.

         Nor do past content moderation decisions show any “ongoing” or “imminent” harm,

  despite Plaintiffs’ conclusory assertions. The Individual Plaintiffs attempt to show an ongoing or

  imminent injury affecting their own speech on social media in two ways. First, three of the

  Individual Plaintiffs (Kulldorff, Hines, and Hoft), see Pls.’ Mem. Opp’n to Defs.’ MTD at 9 (“Pls.’

  Opp’n to MTD”) (Dkt. 165) suggest that they are experiencing ongoing injury because one of their

  social media accounts had been “permanently suspended” or “banned.” See Hoft Decl. ¶ 8; Pls.’

  PFOF ¶ 1369 (referencing the Bhattacharya Declaration’s reliance on the alleged termination of

  Dr. Kulldorff’s LinkedIn account, see Bhattacharya Decl. ¶ 30); Pls.’ PFOF ¶ 1388 (referencing

  the Hoft Declaration’s allegation that the Gateway Pundit has been permanently banned from

  Twitter, see Hoft Decl. ¶ 8); Pls.’ PFOF ¶ 1399 (referencing the Hines Declaration’s allegation


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     Plaintiffs also reference content moderation decisions occurring at unspecified points in time.
  See, e.g., Bhattacharya Decl. ¶¶ 25-26 (asserting that Twitter “censored his tweet” and temporarily
  “locked [him] out of” his account “for three weeks” without specifying a date for either action),
  id. ¶¶ 28-29 (referencing conduct by Twitter at an unspecified past date). Their failure to identify
  when those decisions occurred necessarily means that they cannot show ongoing or imminent
  irreparable harm stemming from those decisions.
  53
     The non-party declarations attached to the Complaint suffer the same flaw. Changizi Decl. ¶ 18
  (Dkt. 10-9) (April 2021 Twitter conduct); id. ¶ 19 (June 2021 Twitter conduct); id. ¶¶ 20, 23
  (December 2021 Twitter conduct); Senger Decl. ¶¶ 4-7 (Dkt. 10-2) (October 2021 and March 2022
  Twitter conduct); Kotzin Decl. ¶ 13 (Dkt. 10-10) (September 2021 Twitter conduct); Kitchen Decl.
  ¶¶ 18, 32 (Dkt. 10-11) (September 2021 Medium conduct).


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  that Hines’ personal account was “restricted for 90 days,” see Hines Decl. ¶ 1254). But as of today,

  all three individuals’ accounts appear active: Kulldorff has an active LinkedIn page, see

  Declaration of Jasmine Robinson ¶ 2 (Ex. 139) (“Robinson Decl.”), Hines has an active Facebook

  page, id. ¶ 3, and the Gateway Pundit has an active Twitter account, id. ¶ 4. 55 See also Defs.’ Resp.

  PFOF ¶¶ 1369, 1388, 1399.

         Second, the Individual Plaintiffs contend that they are experiencing an ongoing injury

  because of their choice to “self-censor[] to avoid more severe penalties from the platforms.” Pls.’

  PFOF ¶ 1385; see also id. ¶ 1371 (Dr. Bhattacharya asserting that the companies’ “policies have

  driven scientists and others to self-censorship,” although not stating that he engages in “self-

  censorship” of his own speech), id. ¶ 1379 (“Dr. Kulldorff states that he and other scientists engage

  in self-censorship”), id. ¶ 1385 (“Dr. Kheriaty also engages in self-censorship”), id. ¶ 1394

  (“Hoft . . . describes ongoing self-censorship”), id. ¶ 1407 (“Hines engages in self-censorship”).

  Yet Plaintiffs’ own decision to limit what they say on social media or how they say it, based on a

  generalized fear of how any company might choose to apply its own policy, is a “self-inflicted

  injury” that does not confer standing, Zimmerman v. City of Austin, 881 F.3d 378, 389 (5th Cir.

  2018), and thus does not suffice to show irreparable harm warranting immediate injunctive relief.

  Plaintiffs nowhere specify what content they seek to post online that a social media company might

  decide to moderate. Even if they had so specified, “the risk that” any content they post


  54
     Hines also states that Facebook pages for two of her organizations, Health Freedom Louisiana
  and Reopen Louisiana, are “under constant threat of being completely deplatformed,” Hines Decl.
  ¶ 12, but she offers no evidence to substantiate that claim, and she does not allege that they ever
  have been “deplatformed.”
  55
     The same is true of non-party declarants Daniel Kotzin and Amanda J. Kitchen. Kotzin alleged
  that his Twitter account was permanently suspended, see Kotzin Decl. ¶¶ 12, 19, but he now
  appears to have an active account, Robinson Decl. ¶ 5 (Ex. 139). Kitchen alleged that her Twitter
  account was “shadowbanned,” see Kitchen Decl. ¶ 34, but she, too, appears to have an active and
  publicly viewable account, Robinson Decl. ¶ 6 (Ex. 139).


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  subsequently will be moderated by a social media company “is speculative and depends . . . on the

  actions of [those] third-party” companies. Id. at 390. That risk is particularly speculative here,

  where no Plaintiff identifies any content moderation measures applied to any of their posts in the

  last year. See, e.g., Defs.’ Resp. to Pls.’ PFOF ¶ 1396 (responding to Hoft’s claim to have

  “experience[d] censorship” up to the date he executed his declaration the year prior, “on May 14,

  2022”). Plaintiffs’ conclusory and speculative assertions to the contrary do not justify preliminary

  relief. Winter, 555 U.S. at 22 (plaintiffs must show that irreparable harm is “likely,” not just

  “possib[le]” “in the absence of an injunction”).

         Moreover, to the extent the Individual Plaintiffs allege an interest in listening to, reading,

  or interacting with speech on social media, they fail to establish any ongoing or imminent

  irreparable harm to that interest either. The Individual Plaintiffs assert their own interest in

  receiving speech on social media for the first time in their supplemental brief, but they do so in

  conclusory fashion, citing no evidence that they have been precluded from receiving any particular

  speech because of a social media company’s particular content moderation decision. See PI Supp.

  56 (arguing that “[t]he individual Plaintiffs assert violation of their First Amendment right to speak

  and listen freely without government interference,” but without specifying how such interests have

  been harmed). Indeed, the declarations they submitted nearly one year ago make no mention of

  any harm to their interests as “listeners”56 as opposed to their interests as speakers. Instead, the

  Individual Plaintiffs assert an “interest in being able to read and follow the speech and writings

  that others post on social media” for the first time in their declarations supporting the motion to


  56
    The declarations generally assert harm to other users’ right to engage with certain content
  because of content moderation decisions affecting the declarants’ own speech. See, e.g., Kheriaty
  Decl. ¶¶ 9-10, 12, 14 (discussing his number of followers and ways in which they have allegedly
  been restricted from viewing Kheriaty’s posts). But they do not allege any harm to the declarants’
  own interest in receiving any other users’ speech.


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  amend the complaint and for class certification. See 2d Bhattacharya Decl. ¶ 4 (Dkt. 227-5). Even

  if the Court were to consider those declarations, their contents would not move the Individual

  Plaintiffs any closer to showing imminent, irreparable harm based on this newly asserted interest.

         Like Plaintiffs’ allegations of harm to their interest as speakers, the allegations relating to

  their interest as listeners are entirely conclusory, speculative, and vague. For instance, Dr.

  Bhattacharya declares that he is “aware of others [he] follow[s] on social media engaging in self-

  censorship,” 2d Bhattacharya Decl. ¶ 6, but he provides no factual details (including any

  timeframe) supporting that claim. He also asserts that he “frequently read[s] and listen[s] to the

  speech and writings on social media of other speakers and writers whom federal officials may have

  explicitly targeted for censorship,” and lists various names, id. ¶ 5 (emphasis added), but he

  nowhere elaborates how, when, or by whom those speakers may have been “targeted for

  censorship” and how or when he has actually been prevented from receiving any speech from them

  on social media. 57 The remaining declarations are similarly vague and conclusory. See 2d Kulldorff

  Decl. ¶ 5 (Dkt. 227-6) (alleging that he “read[s] the writings and/or listen[s] to the speech of others

  who have been targeted for censorship on social media,” without specifying how, when, or by

  whom those individuals have been “targeted for censorship”); 2d Kheriaty Decl. ¶¶ 5-6 (Dkt. 227-

  7) (same); 2d Hoft Decl. ¶¶ 6-7 (Dkt. 227-8) (same); 2d Hines Decl. ¶¶ 5-6 (Dkt. 227-9) (same).

  These assertions, devoid of any factual support, are woefully inadequate to show a likelihood of

  ongoing or imminent, irreparable harm to the Individual Plaintiffs’ interest in receiving speech on

  social media that can be attributed to any of the Defendants, much less all of them.


  57
     Other allegations are completely unconnected to the actions of a social media company and are
  thus irrelevant to the First Amendment claim in this case. See, e.g., 2d Bhattacharya Decl. ¶ 6
  (alleging that he has “heard from prominent signatories of the Great Barrington
  Declaration . . . [that] they have experienced” “retaliation” “at work for signing the document[]”
  (emphasis added)).


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         In short, none of the Individual Plaintiffs shows irreparable harm stemming from the

  content moderation decisions of social media companies.

             2. Plaintiff States’ alleged harms likewise stem from long-past content
                moderation decisions.
         Nor do the Plaintiff States show any imminent, irreparable harm based on social media

  companies’ content moderation decisions. Again, for the reasons explained in Defendants’ motion

  to dismiss, none of the States’ alleged harms constitutes a cognizable injury-in-fact for Article III

  standing. See Defs.’ MTD 18-31. Even assuming they did, they still do not support Plaintiffs’

  request for preliminary injunctive relief, as they hinge on long-past conduct and thus fall far short

  of showing any likelihood of imminent, irreparable harm.

         First, the Plaintiff States allege two instances of content moderation affecting their interest

  in speaking on social media. See 2d. Am. Compl. ¶ 461; Pls.’ Opp’n to MTD 15-16. Those events,

  however occurred in 2021. Pls.’ Opp’n to MTD 15-16. The States point to no interference with

  their own speech for nearly two years, much less interference for which Defendants could be

  deemed responsible.

         Second, the States purport to identify six other “forms of imminent, continuing, irreparable

  injury.” 2d. Am. Compl. ¶ 459.58 Each of those alleged injuries, however, is derivative of their

  citizens’ interests in speaking or engaging on social media. See id. ¶ 460 (alleging an interest in

  enforcing the free speech rights of their citizens); id. ¶ 462 (alleging an interest in receiving their

  residents’ speech); id. ¶ 463 (alleging an interest in their residents’ ability to use social media to

  petition the States); id. ¶ 464 (alleging an interest in Dr. Bhattacharya having a greater “impact”



  58
     The Complaint alleges eight total interests, but Plaintiffs States have since abandoned their
  alleged interest in Dr. Bhattacharya’s speech having a greater “impact” on social media, 2d. Am.
  Compl. ¶ 464. See Defs.’ Reply 11 n.4; PI Supp. 57 (now asserting “seven specific” injuries, not
  including injury to Dr. Bhattacharya’s speech).


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  on social media); id. ¶¶ 465-66 (alleging quasi-sovereign interests in vindicating the free speech

  rights of their residents); id. ¶ 467 (alleging an interest in vindicating the speech of all “listeners,

  readers, and audiences of social-media speech”). But even assuming States could establish

  standing based on asserted injuries to their residents, contra, e.g., Kentucky v. Biden, 23 F.4th 585,

  596 (6th Cir. 2022) (citing Massachusetts v. Mellon, 262 U.S. 447, 486-86 (1923)), the States point

  to no recent content moderation decision affecting any of these asserted interests. Again, none of

  the Individual Plaintiffs’ (or the non-party social-media users’) declarations point to content

  moderation decisions occurring after May 2022. See Pls.’ PFOF ¶ 1431-42. The States present

  declarations from two employees who purport that the performance of their official duties has been

  impeded because of their inability to “follow” or “monitor” speech on social media, but those

  declarations likewise point to long-past conduct. Flesch Decl. ¶¶ 7-9 (Dkt. 10-6) (alleging impact

  from content moderation occurring, at the latest, in March 2022); Bosch Decl. ¶¶ 8-9 (Dkt. 10-13)

  (not including any details about the timing or circumstances of impact of alleged instances of

  moderated content).

          Just like the Individual Plaintiffs’ injuries, the States’ alleged injuries based on long-past

  conduct fall far short of showing any imminent, irreparable harm warranting immediate injunctive

  relief. See also Defs.’ Resp. PFOF ¶¶ 1427-1442.

          B. Plaintiffs cannot establish imminent, irreparable harm based on alleged past
             actions of federal officials.
          Nor can Plaintiffs show imminent, irreparable harm based on the past actions of Defendants

  that they allege caused social media companies to moderate content on their platforms. Plaintiffs,

  of course, are harmed by Defendants only to the extent that Defendants’ conduct can be said to

  have compelled social media companies to act with respect to particular content on their platforms

  that Plaintiffs wished to disseminate or receive. Bennett v. Spear, 520 U.S. 154, 169 (1997) (alleged



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  injuries cannot be “th[e] result [of] the independent action of some third party not before the

  court[]”). Thus, even assuming Plaintiffs could point to any current or imminent harm from a prior

  or future content moderation decision, they would still need to tie that harm to some ongoing or

  future conduct of a Defendant.

         That means that the prior conduct of Defendants is irrelevant and cannot be the basis of

  emergency injunctive relief absent any indication that it is likely to recur (and imminently so). For

  instance, CISA discontinued its switchboarding activities after the 2020 election as non-

  governmental organizations stepped in to perform that important function, and focused its

  resources on other initiatives aimed at promoting election integrity. Switchboarding efforts that

  ceased over two years ago could not compel any social media platform’s current or future content

  moderation decisions concerning election content on their platforms, and thus do not show ongoing

  or imminent irreparable harm. Yet the majority of the conduct Plaintiffs seek to enjoin is exactly

  this type of past, completed conduct by Defendants having no ongoing or future effect. A

  preliminary injunction against that conduct is not only unnecessary, but improper: it would also

  constitute an improper “advisory opinion” having no real-world effect on Plaintiffs’ First

  Amendment rights. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (“Under Article

  III, federal courts do not adjudicate hypothetical or abstract disputes.”). When assessing Plaintiffs’

  need for preliminary injunctive relief, then, the Court must disregard Defendants’ past conduct that

  Plaintiffs have not shown is likely to recur during the pendency of this lawsuit.

         The record does not show that the challenged actions of Defendants are occurring or are

  likely to recur during the pendency of this lawsuit.




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             1. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the White House Defendants.
         Plaintiffs’ claims against White House officials are based almost exclusively on public and

  private statements that occurred in 2021 at the height of a global pandemic that took more than a

  million U.S. lives. See supra Defs.’ PFOF § II.A. The vast majority of White House officials’

  statements cited by Plaintiffs concerned the critical public health threat posed by mis- and

  disinformation about COVID-19 vaccines, and vaccine hesitancy more specifically, see id.,

  especially during the initial rollout of the first COVID-19 vaccine. See, e.g., Ex. 140 at 1

  (MOLA_DEFSPROD_00018153). The White House shared these concerns with global

  institutions like the World Health Organization and the United Nations—as well as nearly every

  country around the world—that acknowledged the “infodemic” of COVID-19 misinformation that

  was spreading on social media. See Ex. 17; supra Defs.’ PFOF § I.C. To be clear, none of the

  White House officials’ statements about COVID-19 misinformation was unlawful or made the

  White House responsible for any independent decisions by the social media companies. Urging all

  sectors of society, including social media companies, to accept their role in the Nation’s collective

  effort to combat the coronavirus was (and remains) an essential element of the Government’s duty

  and responsibility to lead that effort. But even setting the merits question aside, Plaintiffs have set

  forth no evidence demonstrating that the White House is now so engaged with social media

  companies about COVID-19 misinformation as to raise even the specter, much less the probability,

  of imminent irreparable harm.

         To the contrary, the record shows that the White House’s approach to the COVID-19

  pandemic has markedly changed since 2021. In April 2023, President Biden signed a joint

  resolution into law that terminated the national emergency related to COVID-19, which had been

  in place since March 2020. See 137 Stat. 6. The declaration of national emergency did not merely



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  serve a signaling purpose, but rather reflected the Administration’s view of the pandemic and

  enabled the Administration to exercise certain statutory authorities necessary to respond to the

  crisis. See 85 Fed. Reg. 15,337. HHS’s public health emergency is likewise due to end on May 11,

  2023. See Ex. 67 at 1 (“[T]hanks to the administration’s whole-of-government approach to

  combatting the virus, we are in a better place in our response than we were three years ago, and

  we can transition away from the emergency phase.”). And later this month, the White House will

  wind down its COVID-19 Response Team, which was the primary coordinator of the

  Administration’s response to the pandemic and which included several White House officials who

  are Defendants in this action and whose communications Plaintiffs cite in support of their motion.

  There is, accordingly, no evidence in the record of any current White House engagement with

  social media companies concerning COVID-19 misinformation that would support a claim that

  injunctive relief against the White House is needed. See also Defs.’ Resp. PFOF ¶¶ 188-211.

             2. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to CISA Defendants.
         Plaintiffs’ arguments regarding CISA’s alleged violation of the First Amendment focus

  primarily on its switchboarding activities during the 2020 election cycle. PI Supp. 37-39. As noted

  above, CISA has re-focused its important election-security efforts elsewhere. Thus, CISA decided

  in April or May 2022 not to provide switchboarding services for the 2022 election cycle and has

  no intention of engaging in switchboarding for the next election. Scully Dep. 21:19-22:1-23; Hale

  Decl. ¶ 78 (Ex. 97). Indeed, the record shows that in 2022 CISA fulfilled its role of promoting

  election integrity through support for the development of two EI-SCC and EIS-GCC Joint

  Managing Mis/Disinformation Working Group guides to build resilience to misinformation;

  updates to the Rumor vs. Reality webpage; the development of the “Tactics of Disinformation”

  guide; Halloween-themed messages on social media to build awareness of the risks posed by



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  disinformation; a CISA-FBI public service announcement on information manipulation tactics

  concerning the 2022 midterm elections; and participation in the USG-Industry meetings, see Scully

  Dep. 303:10-304:5; Hale Decl. ¶¶ 64-69 (Ex. 97), but not through switchboarding.

         Nonetheless, Plaintiffs insist that CISA continues to engage in switchboarding activities

  “through the present day,” pointing to an outdated statement that previously appeared on CISA’s

  website. PI Supp. 37; Pls.’ PFOF ¶¶ 976, 1120. But Mr. Scully explained during his deposition

  that this statement was inaccurate and should be changed to indicate that CISA’s switchboarding

  efforts are no longer occurring, in addition to stating that CISA did not engage in switchboarding

  activities in 2022. Scully Dep. 21:19-22:23, 366:21-367; Hale Decl. ¶ 78 (Ex. 97) (explaining that

  CISA did not engage in switchboarding for the 2022 election cycle and has no intention to engage

  in switchboarding for the next election). CISA’s website subsequently has been updated. See Ex.

  141 (Foreign Influence Operations and Disinformation, CISA, https://perma.cc/F46N-KZDU).

         Plaintiffs also point to CISA’s alleged “collaboration” with the EIP. PI Supp. 45-47. But

  CISA’s involvement with the EIP was generally limited to connecting it with election stakeholders

  in advance of the 2020 election, receiving a briefing from EIP in May or June 2022 during which

  EIP shared its lessons learned from the 2020 election and plans for the 2022 election (which was

  to work with state and local election officials), and attending public briefings provided by the EIP.

  Scully Dep. 54:10-25; Hale Decl. ¶¶ 58, 60, 62 (Ex. 97). CISA is not presently conducting any

  work with the EIP, see Hale Decl. ¶ 63 (Ex. 97), and Plaintiffs thus cannot establish any imminent,

  irreparable harm on this basis.

         Finally, even if Plaintiffs contended that CISA’s meetings with social media companies in

  which misinformation generally was discussed violate the First Amendment (and they make no

  such argument), those meetings have largely ended as well. For example, CISA has not




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  participated in the USG-Industry meetings since the 2022 general election. Hale Decl. ¶ 69 (Ex.

  97). 59 Similarly, the CSAC Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee was directed to stand down in December 2022 because it had

  completed its tasking and provided its recommendations to CISA. See Ex. 187 at 43. And although

  the EI-SCC and EIS-GCC Joint Managing Mis/Disinformation Working Group (Working Group)

  is still ongoing, its relevant work has consisted of the publication of two guides to help state and

  local election officials and industry providers prepare for and respond to risks of disinformation.

  Hale Decl. ¶ 40 (Ex. 97) (And, in any event, the Working Group does not engage with social media

  companies and does not flag or report potential disinformation to those companies, id. ¶ 43).

         Plaintiffs cannot show any current or “certainly impending” irreparable harm from CISA’s

  past switchboarding activities, any involvement by CISA with the EIP, or CISA’s meetings with

  social media companies, as Plaintiffs have not shown that such activities are occurring or likely to

  recur during the pendency of this suit. See also Defs.’ Resp. PFOF ¶¶ 1094-1122.

             3. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the CDC Defendants.
         As to CDC as well, Plaintiffs’ challenge looks to past actions. First, Plaintiffs point to

  BOLO meetings involving CDC and social media companies, PI Supp. 32, but the record plainly

  shows that only two BOLO meetings ever took place, in May 2021, and there is no plan to restart

  those meetings now, two years later. Crawford Decl. ¶¶ 14-15 (Ex. 80). Second, Plaintiffs

  complain about “Facebook provid[ing] the CDC with regular biweekly ‘CrowdTangle’ reports,”

  PI Supp. 31, but Facebook stopped sending those reports to CDC in December 2021, supra Defs.’

  PFOF § II.C.6., and Plaintiffs reference no record evidence showing any intent by Facebook to


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     Plaintiffs’ factually unsupported claim that “[t]he MDM Team continues to communicate
  regularly and extensively with social-media platforms about misinformation and disinformation,”
  Pls.’ PFOF ¶ 978, is therefore incorrect. See Defs.’ Resp. to PFOF ¶ 978.


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  send them in the future. Third, Plaintiffs refer to questions Facebook posed to CDC about whether

  certain claims about COVID-19 and vaccines are false and can lead to vaccine hesitancy, because,

  in response to CDC’s responses, Facebook may have chosen to remove certain claims. PI Supp.

  32-33. They also point to similar requests from Google and Twitter. Id. But the last request about

  which Plaintiffs complain was made in the summer of 2022. Crawford Decl. ¶ 19 (Ex. 80). In any

  event, even if any of the above conduct were presently occurring, it would not constitute evidence

  of irreparable harm to Plaintiffs. None of the above provides evidence that any company is taking

  or will take action against particular speech (including speech by a Plaintiff) on its platform

  because it was coerced or effectively compelled by, or acting jointly with, the CDC Defendants.

         Additionally, Plaintiffs assert that CDC “has regular meetings with social-media platforms

  about misinformation.” PI Supp. 31. As a threshold matter, although CDC had “regular meetings”

  with certain platforms for a period of time, misinformation was only occasionally, and not

  regularly, discussed at those meetings. In any event, with the exception of Google, CDC has not

  had “regular meetings” with a social media company, about any matter, since 2021, see PI Supp.

  31 (referencing PFOF paragraphs that cite emails documenting meetings during 2020 and 2021);

  rather, any meetings now are “more ad hoc.” Crawford Dep. 180:16-21; see also Crawford Decl.

  ¶¶ 6-12 (Ex. 80). And even as to CDC’s ongoing meetings with Google, there is no evidence that

  any such meeting has touched on anything relating to misinformation since March 2022, more than

  one year ago. Crawford Decl. ¶ 11 (Ex. 80).

         Finally, as explained, supra Arg. § II.C.2., Plaintiffs misstate the record when they argue

  that CDC is “focusing on other topics” relating to misinformation “and communicating with

  platforms about” those topics as well. See PI Supp. 33. The testimony Plaintiffs cite for this

  assertion shows the opposite: In June 2022, Google asked for CDC’s input on the veracity of health




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  claims unrelated to COVID-19 and vaccines, but CDC did not substantively answer the inquiry

  because it concerned a topic that CDC had not “dealt with.” Crawford Dep. 256:11-16. Thus,

  Plaintiffs’ counterfactual allegation that CDC is expanding the breadth of topics discussed with

  social media companies shows no irreparable harm. Regardless, even if CDC were communicating

  with a social media company about any topic relating to misinformation, that would not be enough

  on its own to show irreparable harm; again, Plaintiffs cite no evidence that a company is taking or

  will take action against speech (including speech by a Plaintiff) on its platform because of coercion

  or effective compulsion by, or joint participation with, the CDC.

         In short, Plaintiffs cannot show any current or certainly impending irreparable harm from

  CDC’s past BOLO meetings, CDC’s receipt of CrowdTangle reports, actions taken by social

  media companies in response to CDC’s provision of scientific conclusions, or any “regular

  meetings” between CDC and “social-media platforms about misinformation.” While CDC remains

  committed, in the event of a future public-health emergency such as COVID-19, to promote public

  understanding of the disease, its dangers, prevention, and treatment, Plaintiffs point to no conduct

  in which CDC is now engaged, or soon likely to engage, as evidence of ongoing or imminent

  irreparable harm. The motion for preliminary injunction against CDC should be denied.

             4. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the Census Defendants.
         Plaintiffs include Census in their request for preliminary relief for one reason: Census

  advised and assisted CDC in 2021, pursuant to an Interagency Agreement, in connection with

  CDC’s efforts to address COVID-19 misinformation on social media. PI Supp. 31-32. Specifically,

  Census helped CDC host the two May 2021 BOLO meetings and worked with CDC to identify

  examples of misinformation circulating on the platforms. Supra Defs.’ PFOF § II.D. But Census’

  past involvement with CDC—nearly two years ago—plainly provides no basis for preliminary



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  injunctive relief, and Plaintiffs offer no evidence that such involvement is likely to recur during

  the pendency of this suit. The motion for preliminary injunction against Census should be denied.

             5. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to Dr. Fauci, in his former capacity as NIAID Director.
         Plaintiffs’ requested injunction against NIAID is based solely on alleged past conduct by

  Dr. Fauci while he was the agency’s Director. Dr. Fauci was a leading figure in the Nation’s

  struggle against the coronavirus, and as such frequently used the bully pulpit to educate the

  American people about the virus and appropriate measures to protect themselves against it. But

  Dr. Fauci has retired from NIAID. Dr. Fauci cannot engage in any future government conduct on

  which Plaintiffs may stake their claimed need for preliminary injunctive relief (or any injunctive

  relief at all). Indeed, Plaintiffs do not even argue that they will likely be subject to imminent

  irreparable harm absent a preliminary injunction against NIAID. See PI Supp. 63-64 (arguing only

  that CDC, CISA, and White House officials are engaged in present-day conduct that is likely to

  cause “ongoing” or “imminent” injury). The motion for preliminary injunction against NIAID

  should be denied.60

             6. Plaintiffs have not made the requisite showing of ongoing or imminent
                irreparable harm as to the GEC Defendants.
         Although their filings are not entirely clear on this point, Plaintiffs appear to allege that the

  GEC’s reporting of misinformation to the EIP during the 2020 election cycle violates the First

  Amendment. PI Supp. 48. But Plaintiffs fail to explain how they are suffering any imminent,

  ongoing harm based on conduct that happened more than two years ago.

         During the 2020 election cycle, the GEC discovered certain posts and narratives on social



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     Additionally, because Plaintiffs do not allege any conduct by NIAID whatsoever that is
  independent of Dr. Fauci’s conduct while he was the Institute’s Director before retiring, it is
  unclear on what basis NIAID remains a Defendant in this case at all.


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  media and digital media that originated from, were amplified by, or likely to be amplified by

  foreign malign influence actors—like Russia, the People’s Republic of China, Iran, and their

  proxies—that sought to spread propaganda or disinformation about the 2020 election. See Bray

  Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP on approximately 21

  occasions. Id. Presently, the GEC is not doing any work with the EIP, id. ¶ 19, and there is no

  evidence that the GEC will do so in the future. Accordingly, Plaintiffs cannot establish any

  imminent, irreparable harm based on the GEC’s submission of a limited number of tickets

  regarding foreign malign influence to the EIP during the 2020 election cycle.

                                               *     *    *
         Perhaps acknowledging the absence of imminent, irreparable injury based on the

  allegations raised in their Complaint and their preliminary-injunction motion, Plaintiffs assert a

  new form of imminent harm in their supplemental brief—one stemming from what they describe

  as an alleged “expan[sion]” by Defendants of “their censorship efforts.” PI Supp. 57-58. In support

  of this conclusory argument, Plaintiffs cite public policy statements or initiatives by various

  Federal officials (some of whom are no longer in government 61). Id. (alleging that the White

  House, CDC, CISA, DHS, and the EIP are “expanding” their efforts to “censor[]” speech on social

  media). But Plaintiffs fail to connect the alleged policy statements or initiatives in any way to any

  content moderation policies or actions of any social media company. See id. (citing various

  statements by Defendants without pointing to any resulting content moderation decision by a social



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     For instance, Plaintiffs spend several paragraphs in their PFOFs on reported statements by
  former White House National Climate Advisor Gina McCarthy in June 2022. See Pls.’ PFOF
  ¶¶ 201-03. Ms. McCarthy is no longer the White House National Climate Advisor, see Defs.’
  Notice of Substitution at 2, and in any event, these statements were made nearly one year ago and
  thus show no imminent future harm. Nor do Plaintiffs allege that any social media company has
  taken action against any particular content as a result of Ms. McCarthy’s comments on this single
  occasion in June 2022.


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  media company). For that reason alone, Plaintiffs’ speculative “expansion” theory should be

  disregarded. The Government’s conduct, of course, can only cause injury to the Plaintiffs and is

  only relevant to Plaintiffs’ First Amendment claims to the extent Plaintiffs allege and prove that it

  has actually compelled a particular content moderation decision by a social media company. In

  other words, mere policy statements or government initiatives do not constitute the First

  Amendment violation alleged here: the suppression of online content. But choices made by social

  media companies to moderate content on their platforms become state action attributable to

  Defendants only if Defendants’ policy statements, initiatives, or other communications actually

  coerce or effectively compel a social media company into taking such actions. Blum v. Yaretsky,

  457 U.S. 991, 1004 (1982). Plaintiffs’ failure to connect the dots between the alleged “expan[ded]”

  government conduct and the actions of any social media company means they necessarily lack

  standing, or any First Amendment claim, relating to this conduct, and is a fortiori reason enough

  to dismiss these allegations as not probative of any irreparable harm.

         By way of example, Plaintiffs point to the “Memorandum on the Establishment of the

  White House Task Force to Address Online Harassment and Abuse,” issued by the President in

  June 2022. See PI Supp. 57 (citing Pls.’ PFOF ¶ 204, in turn citing Pls.’ Jones Decl., Ex. N. (Dkt.

  214-16) (“Memorandum”)). The Memorandum reflects a legitimate exercise of the President’s

  inherent constitutional duty and authority to study matters adversely affecting the public welfare

  and to recommend appropriate solutions. It establishes a Task Force charged with “lead[ing] an

  interagency effort to address online harassment and abuse, specifically focused on technology-

  facilitated gender-based violence, and . . . develop[ing] concrete recommendations to improve

  prevention, response, and protection efforts through programs and policies in the United States

  and globally.” Memorandum § 1.




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         Plaintiffs do not articulate what imminent, irreparable harm they face as a result of the Task

  Force or this nearly year-old Presidential Memorandum. Importantly, they do not assert that a

  social media company has taken, or plans to take, action against any content on its platform—

  much less action that would affect Plaintiffs’ First Amendment interests—because it felt

  compelled to do so by any directive in the Presidential Memorandum. They do not even point to

  any language in the Memorandum itself that purports to require social media companies to take

  any particular action concerning content on their platforms.62 Plaintiffs reference the

  Memorandum’s directive that the Task Force “submit periodic recommendations to the President

  on policies, regulatory actions, and legislation on technology sector accountability,” id. § 5(c), but

  a general instruction to provide recommendations for potential regulation, which is undefined and

  may never be adopted, does not amount to a threat to social media companies to take any specific

  action. Plaintiffs also fault the Memorandum’s use of the phrase “gendered disinformation,” but

  they do not contend that any social media company will imminently moderate content that it deems

  to be “gendered disinformation.” The same is true of Plaintiffs’ remaining assertions of imminent

  harm based on Defendants’ alleged “expanding . . . censorship efforts,” which take scattershot aim




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      Moreover, Plaintiffs omit from their narrative that the Task Force carrying out the
  Memorandum’s directives issued an initial “blueprint” for implementing the Memorandum, which
  further undermines Plaintiffs’ speculations that they face imminent, irreparable harm. See Ex. 143
  at 1 (EXECUTIVE SUMMARY: Initial Blueprint for the White House Task Force to Address
  Online Harassment and Abuse, The White House (Mar. 3, 2023)). The blueprint, which was
  summarized online by the White House on March 3, 2023, does not purport to direct social media
  companies to remove any category of speech from their platforms. See id. Rather, it recommends
  actions such as “strengthening coordination among Federal, state, Tribal, territorial and local law
  enforcement agencies to investigate and prosecute cyberstalking, image-based abuse, sextortion,
  and child sexual exploitation online,” among other things. Id. There is no obvious connection
  between Plaintiffs’ purported interest in speech on social media and the work initiated by the
  Memorandum and summarized in the blueprint, and Plaintiffs make no effort to draw such a
  connection.


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  at various policies without articulating any connection to the conduct of a social media company.

  See PI Supp. 57-58; Pls.’ PFOF ¶¶ 998, 188-211, 1106-16. 63

         Plaintiffs’ failure to even attempt to draw such a connection illustrates that what Plaintiffs

  ultimately seek to enjoin is not the Defendants’ purported coercion of social media companies, but

  instead the Executive’s use of its inherent authority to resort to all available channels of

  communication, including but not limited to the “bully pulpit,” to educate the public on the

  challenges we confront as a Nation and the measures that can and should be taken to overcome

  them. See Pleasant Grove City v. Summum, 555 U.S. 460, 468 (2009). But the First Amendment

  is not a tool for States, or individuals, to seek to muzzle the President or other Federal officials

  from generally expressing particular policy views or taking particular actions with which they

  disagree. The Government is free to “express[] a viewpoint,” and “the First Amendment d[oes]

  not demand that the Government balance [its] message” to “maintain viewpoint neutrality.” Matal

  v. Tam, 582 U.S. 218, 234-35 (2017). “When a government entity embarks on a course of action,

  it necessarily takes a particular viewpoint and rejects others.” Id. at 234. Plaintiffs cannot show

  any Article III injury, much less an irreparable one, stemming from government statements and

  policy initiatives simply because they disagree with them. As none of the “expanded” conduct that

  Plaintiffs now seek to challenge is alleged to have coerced or otherwise induced any social media

  company into taking any particular action, much less action that injures any of the Plaintiffs, it

  cannot be the basis for awarding any injunctive relief.




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     Plaintiffs argue that CDC is also expanding into “other topics,” but, as explained, the evidence
  contradicts Plaintiffs’ allegations. Infra Defs.’ PFOF § II.C.2. Ms. Crawford simply testified that
  CDC provides public health information on “other topics” beyond COVID-19; however, Plaintiffs
  cite no evidence showing that CDC has substantively responded to a social media company’s
  request for health information on any “other topics.” See id.


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         C. Plaintiffs’ delay in seeking relief shows there is no immediate need for an
            injunction.
         Even if Plaintiffs could show any ongoing or imminent harm arising from actions occurring

  as far back as 2020, their substantial delay in seeking relief decisively undermines any assertion

  that such harms are irreparable. In First Amendment cases, as in any other, the “party requesting a

  preliminary injunction must generally show reasonable diligence.” Benisek v. Lamone, 138 S. Ct.

  1942, 1944 (2018) (citing Holmberg v. Armbrecht, 327 U.S. 392, 396 (1946)); id. at 1945 (finding

  that, in a First Amendment political retaliation case, the “plaintiffs’ unnecessary, years-long delay

  in asking for preliminary injunctive relief weighed against their request”). “Absent a good

  explanation, a substantial period of delay militates against the issuance of a preliminary injunction

  by demonstrating that there is no apparent urgency to the request for injunctive relief.” H.D. Vest,

  Inc. v. H.D. Vest Mgmt. & Servs. LLC, No. 3:09-CV-00393, 2009 WL 1766095, at *4 (N.D. Tex.

  June 23, 2009); see also Shenzhen Tange Li’An E-Com., Co. v. Drone Whirl LLC, No. 1:20-CV-

  738, 2020 WL 5237267, at *4 (W.D. Tex. Sept. 2, 2020) (“Plaintiffs’ delay in seeking injunctive

  relief suggests a lack of urgency[.]”); Citibank, N.A, v. Citytrust, 756 F.2d 273, 276 (2d Cir. 1985)

  (“Delay in seeking enforcement of [the asserted] rights . . . tends to indicate at least a reduced need

  for . . . drastic, speedy action.”); Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151,

  163 (1st Cir. 2004) (“[D]elay between the institution of an action and the filing of a motion for

  preliminary injunction, not attributable to intervening events, detracts from the movant’s claim of

  irreparable harm.”); Ty, Inc. v. Jones Group, Inc., 237 F.3d 891, 903 (7th Cir. 2001) (“Delay in

  pursuing a preliminary injunction may raise questions regarding the plaintiff’s claim that he or she

  will face irreparable harm if a preliminary injunction is not entered.”); Young v. Motion Picture

  Ass’n of Am., Inc., 299 F.2d 119, 121 (D.C. Cir. 1962) (“The delay in filing this action negatives

  any finding of urgency necessary to justify the interlocutory relief sought.”).



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         Courts have found that even a delay of “five months” or less “is sufficient to rebut a

  presumption of irreparable harm.” H.D. Vest, Inc., 2009 WL 1766095, at *4; see also Boire v. Pilot

  Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975) (finding that a delay of three months

  cut against granting immediate relief). Even a delay of ten weeks may be enough to show an

  absence of “urgent need for speedy action to protect [a] plaintiffs’ rights” through the issuance of

  a preliminary injunction. Citibank, 756 F.2d at 276.

         Here, Plaintiffs have not waited mere months before seeking relief—they have waited

  years. Their Complaint alleges that Defendants or their “political allies” have been making threats

  against social media platforms “since at least 2018,” see, e.g., Pls.’ PFOF ¶ 1 (emphasis added),

  and that they “expanded” their alleged “efforts” to coerce or collude with social media companies

  as soon as the Biden Administration took office in January 2021, see, e.g., 2d. Am. Compl. ¶ 203.

  The Complaint further alleges that social media platforms began “respond[ing] to” such alleged

  “threats” “[s]tarting in or around 2020, if not before.” Id. ¶ 189 (emphasis added). And this past

  conduct was not newly discovered at the time Plaintiffs filed their Complaint—the vast majority

  of statements and other conduct at issue (e.g., White House press conferences and Facebook Live

  events with Dr. Fauci, among other things) was public at the time they occurred. Indeed, since

  early 2020, Facebook has touted the efforts it has taken to promote accurate content about COVID-

  19 from global and local health experts, including the WHO and CDC. See Ex. 144 at 19-20, 50-

  49 (Kang-Xing Jin, Keeping People Safe & Informed About the Coronavirus, Meta (Dec. 18,

  2020), https://perma.cc/2VJL-N2L5) (February 26, 2020 update explaining that Facebook

  “direct[s] people to information from” CDC and the WHO; April 7, 2020 update discussing work

  with CDC). Yet Plaintiffs waited until May 2022 to bring this suit, see Compl. (Dkt. 1) (filed on

  May 5, 2022), and then waited another 40 days to move for preliminary relief, see PI Mot. (Dkt.




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  10) (filed on June 14, 2022). The preliminary-injunction motion has now been pending for nearly

  a year while Plaintiffs have sought voluminous discovery. Plaintiffs’ nearly one-year-old request

  for relief from conduct that has been occurring since at least 2018 is anything but urgent.

         Nor have Plaintiffs uncovered any new conduct during the pendency of this suit that

  arguably could justify their belated request for injunctive relief. Despite receiving thousands of

  pages of documents and dozens of interrogatory responses and taking the depositions of multiple

  federal officials, the allegations on which Plaintiffs rest their purported need for preliminary

  injunctive relief are largely the same as those asserted in their initial Complaint in May 2022 or in

  their Second Amended Complaint in October 2022. And as to Plaintiffs’ conclusory assertion that

  “Defendants have expanded their social-media censorship activities” “[s]ince this lawsuit was

  filed,” Pls.’ PFOF ¶ 200 (but see supra Arg. § I.B.), Plaintiffs cite public statements or reports by

  various officials between June and August 2022, many months in the past.

         Even if all of the conduct Plaintiffs challenge remained ongoing, Plaintiffs’ failure to seek

  relief for such a substantial period of time undermines any urgency to grant that relief now, before

  the case is resolved on the merits. Because Plaintiffs fail to carry their heavy burden of showing

  irreparable harm—the most important factor for any request for preliminary injunctive relief—

  their motion for preliminary injunction should be denied.

  II.    Plaintiffs fail to show a likelihood of success on the merits.
         A. Plaintiffs lack Article III standing to bring any of their claims.
         For the reasons explained in Defendants’ memorandum in support of their motion to

  dismiss, Defs.’ MTD 16-43, Plaintiffs lack Article III standing to bring any of their claims.

  Although the Court held, in ruling on that motion, that Plaintiff States and the Individual Plaintiffs

  plausibly alleged Article III standing, see MTD Order 18-48 (Dkt. 224), Defendants respectfully

  disagree with the Court’s analysis for the reasons stated in support of their motion to dismiss, and


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  hereby incorporate by reference and reassert those arguments in opposition to Plaintiffs’ request

  for preliminary relief.

         But even assuming Plaintiffs had alleged standing with sufficient plausibility to withstand

  a motion to dismiss, they fail to provide the evidence necessary to maintain standing for purposes

  of obtaining preliminary relief. As the parties invoking this Court’s jurisdiction, Plaintiffs “bear

  the burden of establishing” the elements of Article III standing. Lujan v. Defs. of Wildlife, 504 U.S.

  555, 561 (1992). Since these elements “are not mere pleading requirements but rather an

  indispensable part of the plaintiff’s case, each element must be supported [] with the manner and

  degree of evidence required at the successive stages of the litigation.” El Paso Cnty. v. Trump, 982

  F.3d 332, 337–38 (5th Cir. 2020) (quoting Lujan, 504 U.S. at 561). And “[b]ecause a preliminary

  injunction ‘may only be awarded upon a clear showing that the plaintiff is entitled to such relief,’

  the plaintiffs must make a ‘clear showing’ that they have standing to maintain the preliminary

  injunction.” Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017) (citing cases). At this stage, then,

  Plaintiffs may not rest on “general allegations,” Lujan, 504 U.S. at 561, but must allege specific

  facts clearly showing that they likely meet each Article III standing element to sustain their claims

  on the merits, Barber, 860 F.3d at 352.

         Plaintiffs fail to make a clear showing that they have Article III standing for purposes of

  obtaining preliminary relief. They attempt to support their factual allegations with nearly year-old

  declarations, which make conclusory assertions contradicted by the record. Instead of presenting

  specific evidence of a current or imminent injury-in-fact fairly traceable to Defendants and likely

  to be remedied by injunctive relief, Plaintiffs’ supplemental brief posits new legal theories in

  attempts to evade well-established standing requirements. These efforts fail.




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             1. Plaintiffs fail to establish any injury-in-fact.
         Plaintiffs raise two new arguments that they have suffered an injury-in-fact. Both lack

  merit. First, Plaintiffs contend that the deposition testimony by CDC’s Director of Digital Media

  somehow constitutes an endorsement of the Plaintiff States’ purported “interest in being able to

  read and follow the uncensored speech and opinions of their constituents on social media.” PI

  Supp. 57. But even assuming the witness had testified about her views of the States’ alleged

  injuries—and she did not 64—her personal views would have no bearing on the legal question

  whether the States have asserted a cognizable injury to a sovereign or quasi-sovereign interest that

  they may vindicate in litigation against the Federal Government. They have not. As explained in

  Defendants’ motion to dismiss, among the various reasons the States’ all-encompassing right-to-

  receive-speech theory of standing fails, it is an overly broad and generalized grievance—an interest

  that the Supreme Court has consistently rejected as a basis for constitutional standing. See Defs.’

  MTD 24 (citing, e.g., Whitmore v. Arkansas, 495 U.S. 149, 160 (1990)). Second, Plaintiffs assert

  that they “face the imminent prospect of further” injury because of Defendants’ purported

  “expanding . . . censorship efforts.” PI Supp. 57. That argument fails for the reasons stated above.

  Supra Arg. § I.B.

         Moreover, these arguments do not shore up the factual deficiencies in Plaintiffs’

  allegations. As explained, Plaintiffs’ allegations of injury rest on dated declarations that focus on

  long-past conduct of Defendants and social media companies and shows that Plaintiffs’ purported

  fears of imminent injury stemming from a company’s content moderation decision are entirely

  speculative. Supra Arg. § I.A-B; see also Defs.’ Resp. PFOF ¶¶ 1367-1411, 1427-1442. And even

  if Plaintiffs had submitted any evidence of imminent harm from a social media company’s content


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    Rather, the testimony related to CDC’s use of Facebook’s CrowdTangle tool. See Crawford Dep.
  53:4-54:20, 57:22-58:3, 75:10-76:1, 81:10-14.


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  moderation decision, their conclusory assertions fall far short of making the “clear showing,”

  Barber, 860 F.3d at 352, required to attribute those decisions to the conduct of any Defendant,

  infra Arg. § II.A.2.—particularly when much of Defendants’ challenged conduct occurred in the

  past and is unlikely to recur during the pendency of this litigation, supra Arg. § I.B. In short,

  Plaintiffs’ failure to submit any evidence of actual or imminent harm is fatal to their efforts to

  show injury-in-fact, even assuming the alleged injuries are legally cognizable.

             2. Plaintiffs fail to establish traceability and redressability.
         Plaintiffs also cannot satisfy the causation and redressability requirements. To establish

  causation, they must show, with evidence, that any content moderation actions that social media

  companies are taking, or will imminently, take against them will occur as a “consequence of” or

  “as a result of” the challenged communications by Defendants. Ford v. NYLCare Health Plans of

  Gulf Coast, Inc., 301 F.3d 329, 333 (5th Cir. 2002). To satisfy this standard, Plaintiffs must show

  that those content moderation actions would not occur “in the absence of” those communications.

  Id. “Causation” is not established if their alleged “injuries” are “the result of the independent

  action[s] of . . . third party” social media companies that are “not before the court.” Inclusive

  Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649, 655 (5th Cir. 2019). Plaintiffs thus cannot

  establish the requisite causal link if the content moderation actions at issue may just as well have

  occurred “as a result of” factors “unrelated to” Defendants’ communications, such as the social

  media companies’ independent judgment that content moderation is inherently valuable and/or

  economically advantageous. Ford, 301 F.3d at 333; see also generally Gurrea Decl. (Ex. 1).

         Nor can Plaintiffs establish redressability based on mere speculation that an injunction

  against the challenged conduct would influence platforms’ regulation of Plaintiffs’ speech. “To

  satisfy redressability, a plaintiff must show that ‘it is likely, as opposed to merely speculative, that

  the injury will be redressed by a favorable decision.’” Inclusive Cmtys., 946 F.3d at 655. If an


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  injunction against government conduct could “just as easily have no” effect on the content

  moderation actions social media companies may take against Plaintiffs, id. at 660, then Plaintiffs

  do not have standing.

          Plaintiffs raise three new arguments in favor of the Article III causation and redressability

  requirements. Each is meritless. First, relying on tort and antitrust cases, Plaintiffs contend that

  they are likely to establish traceability on “aiding and abetting” and “conspiracy” theories. PI Supp.

  59. They further contend that, because Defendants have engaged in “aiding and abetting” and

  “conspiracy,” the Court need not concern itself with the maxim that “Article III . . . requires that a

  federal court act only to redress injury that fairly can be traced to the challenged action of the

  defendant, and not injury that results from the independent action of some third party not before

  the court.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 42-43 (1976). Plaintiffs cannot

  sidestep applicable Article III requirements merely by invoking concepts of “aiding and abetting”

  and “conspiracy” and arguing for their application here in novel and abstract ways. The cases on

  which Plaintiffs rely do not involve requests for injunctive relief, but rather requests for damages,

  where a monetary recovery from any defendant would redress the plaintiff’s injuries, thus largely

  reducing the standing issue to questions of substantive aiding-and-abetting and conspiracy law.

          Second, Plaintiffs argue that “even assuming” that the connection between Defendants’

  conduct and Plaintiffs’ “other injuries” is “too attenuated,” “the injuries to the individual Plaintiffs’

  First Amendment rights and to [the] Plaintiff States’ quasi-sovereign interests would still be fairly

  traceable to Defendants’ conduct.” PI Supp. 60. Plaintiffs’ argument in support of this contention

  is not a model of clarity. But to the extent Plaintiffs mean to argue that the traceability requirement

  is easier to meet in connection with the asserted First Amendment interests of the individual

  Plaintiffs and the States’ citizens, see id., they are mistaken. Traceability, like injury-in-fact and




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  redressability, is an essential element of the “‘irreducible constitutional minimum of standing,’”

  which plaintiffs in federal court “always have the burden to establish,” Barber, 860 F.3d at 352

  (quoting Lujan, 504 U.S. at 560), even where free-speech interests are at stake. see, e.g., Garzes v.

  Lopez, 281 F. App’x 323, 325-26 (5th Cir. 2008). Indeed, traceability is “substantially more

  difficult to establish” in cases such as this one, where plaintiffs challenge the government’s

  conduct towards third parties. Defs. of Wildlife, 504 U.S. at 562 (emphasis added) (citation

  omitted). Plaintiffs must show, as a factual matter, that any actions taken against them by social

  media companies are attributable to the allegedly unconstitutional government coercion of those

  private actors. And to obtain prospective relief in particular, they must show a non-speculative

  likelihood that future government actions will affect platforms’ conduct toward them—a showing

  they cannot come close to making. Plaintiffs’ contention that the traceability requirement is

  necessarily met here misses the mark.65

         Finally, Plaintiffs assert that there is “overwhelming evidence” that Defendants’ actions

  are the “direct and but-for cause” of their injuries and that those injuries would be redressed by

  their proposed injunction, PI Supp. 60, and they purport to provide several supporting “examples.”

  The evidence shows, however, that social media companies took independent action to moderate

  content on their platforms. See, e.g., infra Defs.’ Arg. § II.B.1. 66 Plaintiffs fail to point to any


  65
     Plaintiffs are also wrong to suggest that they are relieved of any Article III standing requirement
  simply because they assert a First Amendment claim. See Seals v. McBee, 898 F.3d 587, 591 (5th
  Cir. 2018), as revised (Aug. 9, 2018) (in the Fifth Circuit, “requirements of standing are relaxed
  in the First Amendment context . . . but only as relating to the various court-imposed prudential
  requirements of standing;” plaintiffs “still must show that they satisfy the core Article III
  requirements of injury, causation, and redressability”).
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      Here, as elsewhere, Plaintiffs emphasize that the White House allegedly “press[ed] for
  censorship of so-called ‘borderline’ content that does not violate platform policies, and thus would
  not be censored but for federal pressure.” PI Supp. 60. This contention betrays a fundamental
  misunderstanding of the platforms’ policies. The platforms have policies for moderating



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  evidence that the companies would change their approaches to content moderation in the absence

  of the Government’s conduct. And it is not sufficient for Plaintiffs to point to “examples” of past

  conduct that allegedly supports standing. “[S]tanding is not dispensed in gross.” Town of Chester

  v. Laroe Ests., Inc., 581 U.S. 433, 439 (2017) (citation omitted). The relevant question is whether

  Plaintiffs have established a likelihood that they will suffer injury in the absence of an injunction

  and that an injunction would redress that injury. As Defendants have made clear throughout this

  litigation, Plaintiffs cannot lump together the conduct of sixty-seven actors, gesture vaguely at

  untold numbers of unspecified content moderation decisions made by social media companies over

  several years spanning multiple Administrations, and ipso facto establish a connection between

  them and a likelihood of redressability by citing a handful of “examples.” Plaintiffs must establish

  that they will suffer cognizable injuries, that each of those injuries is fairly traceable to specific

  Defendants, and that a Court order is likely to redress those injuries.

         Furthermore, on the present record, Plaintiffs’ theory of causation cannot succeed in light

  of Defendants’ evidence. In their complaint, Plaintiffs contended that “in the absence of

  Defendants’ campaign for social-media censorship, market forces and other incentives would have

  restrained and did restrain social-media platforms from engaging in the social-media censorship

  alleged herein.” 2d. Am. Compl. ¶ 478. In denying Defendants’ motion to dismiss, the Court relied

  on this allegation to conclude that Plaintiffs had established that their alleged injuries were

  traceable to Defendants’ claimed conduct. MTD Order 41-42. But even if that conclusion were

  correct as a matter of pleading, it cannot support Plaintiffs’ standing at this stage; plaintiffs cannot

  obtain a preliminary injunction without supporting their allegations with evidence. See Barber,



  “borderline” content; the reason it is referred to as “borderline” is that it does not violate the
  platforms’ policies for removal, but the content does violate the platforms’ policies for reduced
  distribution. See supra Defs.’ PFOF § I.D.


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  860 F.3d at 352; Vote.Org v. Callanen, 39 F.4th 297, 303-04 (5th Cir. 2022) (holding that plaintiffs

  could not establish a likelihood of success on the merits for preliminary injunctive relief in the

  absence of evidence of standing). They have failed to do so.

         Contrary to Plaintiffs’ factually unsupported conclusion, there is no basis to conclude that

  platforms made the content moderation decisions in question as a result of government pressure,

  as opposed to other factors. For example, social media platforms have their own economic reasons

  for engaging in content moderation actions. Defendants have presented the expert opinions of Dr.

  Stuart Gurrea, an economist who specializes in industrial organization, economics, and finance.

  Gurrea Decl. ¶ 7 (Ex. 1). Dr. Gurrea conducted an economic analysis of Plaintiffs’ claim that

  previously market forces “would have and did restrain social-media platforms” from moderating

  content, and concluded, based on analysis of the platforms’ business model and the economic

  incentives under which they operate, that the claim lacked economic validity. Id. ¶¶ 10-13. He

  observed that platforms have moderated content since the earliest days of social media, and that

  while the scope of moderation has grown with the platforms’ growth, the moderation of content

  related to both political matters and health matters, including vaccinations, dates back as far as

  2016. Id. This analysis is supported by the undisputed evidence that nonparties—mainly the public,

  Congress, and (with respect to COVID-19) the global health community and 132 sovereign

  governments—asked that social media companies do more to combat the spread of election and

  COVID-19 misinformation on their platforms. See supra Defs.’ PFOF § I. The companies even

  acknowledged that they were responding to that public sentiment. See, e.g., Ex. 10 at 3 (“We were

  told in no uncertain terms, by the public and by Congress, that we had a responsibility to do a

  better job protecting future elections.”). And as noted throughout this litigation, the particular types

  of content moderation to which Plaintiffs object preceded much of the Defendants’ conduct on




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  which they premise their claims, underscoring the implausibility of their assertion that the

  platforms were acting in response to government conduct rather than for other reasons.

         And as Dr. Gurrea observed, platforms have a strong incentive to moderate content because

  doing so is in their economic interests. Gurrea Decl. ¶¶ 43-58 (Ex. 1). Social media companies

  moderate content because it contributes to establishing, maintaining, and increasing the size and

  engagement of their user bases. Id. ¶ 44. The absence of content moderation can result in a decline

  of both. Id. ¶¶ 45, 48. An increase in user numbers and engagement typically results in an increase

  in advertising revenue, which in turn increases the platforms’ profits. Id. ¶¶ 11, 30-42. In addition,

  content moderation that preserves or even enhances the reputation and value of an advertiser’s

  brand or product directly makes the platform more valuable to the advertiser, and thereby also

  increases advertising revenues and the platform’s profits. Id. ¶¶ 38, 61.

         Accordingly, Plaintiffs have failed to identify evidence that would support their claim that

  any content moderation decisions that injured them were traceable to Defendants’ conduct, rather

  than to the companies’ independent business decisions driven by their economic interests, strong

  public sentiment, the opinions of the global health community, or some combination of all three

  factors (or any other factor not identified in this litigation). And even if they could make that

  showing regarding some past actions, their claim would still fail because they likewise cannot

  establish that an injunction would redress any injuries that they have suffered or have a non-

  speculative likelihood of suffering in the future. At this stage Plaintiffs carry the burden of

  establishing standing with evidence, and they have failed to do so.

         B. Plaintiffs are not likely to prevail on their First Amendment claims.
         Plaintiffs’ First Amendment claims take aim at numerous independent and (most critically)

  unspecified content moderation decisions that multiple social media companies have made, over a

  course of years and across Administrations, to prevent the spread of content that the companies


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  deem to violate their policies concerning COVID-19 and election misinformation. Of course, as

  Plaintiffs acknowledge, “the Free Speech Clause prohibits only governmental abridgment of

  speech”; it “does not prohibit private abridgment of speech.” Manhattan Cmty. Access Corp. v.

  Halleck, 139 S. Ct. 1921, 1928 (2019). Thus, in Halleck, the Supreme Court recently explained:

  “[W]hen a private entity provides a forum for speech, the private entity is not ordinarily

  constrained by the First Amendment because the private entity is not a state actor. The private

  entity may thus exercise editorial discretion over the speech and speakers in the forum.” Id. at

  1930. After all, the Court commented, “Benjamin Franklin did not have to operate his newspaper

  as ‘a stagecoach, with seats for everyone.’” Id. at 1931 (quoting F. Mott, American Journalism 55

  (3d ed. 1962)).

         Private action may be attributable to the Government, and subject to constitutional

  restraints, “only when [the government] has exercised coercive power or has provided such

  significant encouragement, either overt or covert, that the choice must in law be deemed to be that

  of the State.” Blum, 457 U.S. at 1004. And a determination of state action must begin “by

  identifying ‘the specific conduct of which the plaintiff complains’”—here, a specific content

  moderation decision—and tying it to a specific action by a particular government official. Am.

  Mfrs. Ins. Co. v. Sullivan, 526 U.S. 40, 52 (1999) (quoting Blum, 457 U.S. at 1004).

         This is a high bar. Courts seldom attribute private conduct to the Government, and vice

  versa, out of respect for the “‘essential dichotomy’ . . . between public and private acts that [the

  Supreme Court] ha[s] consistently recognized.” Id. at 53 (quoting Jackson v. Metro. Edison Co.,

  419 U.S. 345, 349 (1974)). Indeed, the Supreme Court has stressed that courts have an “obligation”

  to “‘preserv[e] an area of individual freedom by limiting the reach of federal law’ and avoi[d] the

  imposition of responsibility on [the Government] for conduct it could not control.” Brentwood




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  Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295 (2001) (emphasis added) (quoting

  Nat’l Collegiate Athletic Ass’n v. Tarkanian, 488 U.S. 179, 191 (1988)).

         Plaintiffs here fall far short of satisfying the demanding standard that must be met before

  the Government may be held responsible for private conduct. They cannot demonstrate that any

  particular content moderation decision that allegedly harmed them “must in law be deemed to be

  that of” any particular government official, Blum, 457 U.S. at 1004, much less demonstrate that

  any such decision was attributable to the wide swath of government conduct that they challenge.

  To the contrary, this case demonstrates precisely why the standard for attributing private conduct

  to the Government is so high. Distilled to its essence, Plaintiffs’ argument is that social media

  companies may have been influenced by government officials expressing positions on matters of

  significant public concern, or law-enforcement agencies acting in furtherance of the Executive

  Branch’s national security responsibilities, or public health officials promoting science-based

  information to protect the public welfare as contemplated by federal statutes. The Constitution

  does not prohibit the government from engaging in such conduct, but rather contemplates that the

  Executive Branch will take care that the laws are faithfully executed and that, in doing so, the

  Government, through its officials, “has the right to speak for itself,” Summum, 555 U.S. at 467

  (citation omitted), and the “freedom to select the messages it wishes to convey,” Walker, 576 U.S.

  at 207-08.

         Plaintiffs cannot transform government officials’ efforts to carry out their responsibilities

  into impermissible coercion of (mostly unspecified) private content moderation by simply affixing

  conclusory (and inapt) labels to Defendants’ alleged conduct, see, e.g., PI Supp. 1 (“pressure,

  threats, coercion, cajoling, collusion, demands, and trickery and deceit”); id. at 4 (“coercion,

  significant encouragement, and deception”); 2d. Am. Compl. ¶ 498 (“conspiring and colluding”),




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  or by inventing new state-action tests unsupported by precedent, such as making inapposite

  analogies to criminal law, see, e.g., PI Supp. 6-7 (analogizing state action to accomplice liability).

         Nor can Plaintiffs meet the demanding state-action standard by simply alleging the

  existence of an alleged “Censorship Enterprise.” In addition to using pejorative language to

  attempt to transform innocuous public statements into First Amendment violations, this

  formulation endeavors to treat 67 different federal agencies and officials as a single edifice.

  Plaintiffs’ “Censorship Enterprise” theory relies on two erroneous arguments. First, Plaintiffs

  contend that Defendants’ conduct “occurs against the backdrop of . . . public threats from senior

  federal officials who demand greater censorship from social-media platforms and threaten adverse

  legal consequences—such as repeal or reform of § 230’s liability shield, and antitrust

  enforcement—against the platforms if they do not increase censorship of disfavored viewpoints.’”

  PI Supp. 15. Plaintiffs further contend that “President Biden and his aides lead this charge.” Id. As

  discussed above, much of the conduct that Plaintiffs challenge consists of policy recommendations

  by government officials or other public comments that the government is entitled to make. In

  particular, Plaintiffs’ challenge to the President’s exercise of his bully pulpit betrays a fundamental

  misunderstanding of constitutional law and threatens to trample on the President’s prerogatives.

  At the same time, Plaintiffs fail to identify any demands by any Defendants that social media

  companies take specific actions under the threat of specific consequences.

         This first argument—that the challenged conduct by Defendants occurs “against the

  backdrop” of various statements by federal officials—also suffers from a fatal chronological

  contradiction. Many of the actions by Defendants challenged in this lawsuit occurred in 2020 (or

  earlier), during the previous Administration. This includes (1) nearly all of Plaintiffs’ challenges

  to the actions of Dr. Fauci and NIAID concerning COVID-19; (2) the FBI’s alleged involvement




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  in “censoring” the Hunter Biden laptop story, prior to the 2020 election; (3) the FBI’s referral of

  potential misinformation related to the 2020 election; (4) CISA’s “switchboarding” activities in

  advance of the 2020 election; and (5) the Election Integrity Partnership’s “ticketing” of potential

  misinformation for social media companies in advance of the 2020 election. Plaintiffs fail to

  explain how conduct that occurred before President Biden took office could be part and parcel of

  a “Censorship Enterprise” operated by the Biden Administration.

         Second, Plaintiffs contend that there is “extensive evidence of the interconnected nature of

  the federal censorship activities,” and claim that “[t]he White House’s campaign of public threats

  against platforms demanding greater censorship, reinforced by its political allies in Congress and

  other senior federal officials, grants coercive force to all the censorship efforts of all the federal

  agencies involved.” Pls.’ Reply in Supp. of Mot. for Class Cert. & Leave to Amend Compl. at 7-

  8 (Dkt. 250). But they have failed to provide any evidence to support this assertion. Plaintiffs point

  to circumstances where, for example, the White House and OSG allegedly “collaborated” by

  participating in a joint press briefing, or where CDC “collaborated” with Census to host a couple

  of meetings with the social media companies. It is unremarkable for different components of the

  Executive Branch to work together at times, and certainly not indicative of coordination

  throughout the Federal Government on a common “censorship” objective. Nor does this mean that

  the statements or actions of one Defendant have any bearing on the nature of the statements or

  actions made by the sixty-plus other Defendants in this case.

      In short, the Court must separately analyze the challenged actions of each individual

  Defendant to ascertain which, if any of them, is responsible for the alleged violations of Plaintiffs’

  rights, and which, if any of them, may properly be enjoined going forward even assuming that they

  violated Plaintiffs’ rights at some point in the past. And, as discussed below, when the proper




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  analysis is conducted, it is clear that no Defendant has violated Plaintiffs’ First Amendment rights,

  no Defendant is currently violating or about to violate Plaintiffs’ First Amendment rights, and no

  Defendant, therefore, may be subject to an injunction.

             1. Plaintiffs are not likely to prevail on their theory that any Defendant provided
                “such significant encouragement” as to convert private conduct into
                government conduct.
         Plaintiffs first argue that the White House and OSG are responsible for the social media

  companies’ content moderation decisions under a watered-down version of the state action test,

  which Plaintiffs refer to as a “significant encouragement” test. PI Supp. 5-15. In doing so, Plaintiffs

  ignore the state action requirement established by Blum and its progeny, and they further err by

  misconstruing the record. Neither the White House nor OSG is responsible for any social media

  company’s decisions to take against any particular posts or individuals.

                 a. Plaintiffs’ “significant encouragement” theory rests on a misunderstanding of
                    Blum and its progeny.
         Plaintiffs’ “significant encouragement” theory purports to originate in Blum’s

  pronouncement that the Government “can be held responsible for a private decision only when it

  has exercised coercive power or has provided such significant encouragement, either overt or

  covert, that the choice must in law be deemed to be that of the State.” Blum, 457 U.S. at 1004

  (emphasis added). Contrary to Plaintiffs’ assertion, Blum’s reference to “such significant

  encouragement” as an alternative to coercion does not mean that the Government is responsible

  for private conduct “whenever ‘the Government d[oes] more than adopt a passive position’”

  toward it. PI Supp. 5 (quoting Skinner v. Ry. Labor Execs. Ass’n, 489 U.S. 602, 615 (1989)).67



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    Plaintiffs err in contending Skinner means that “‘[a] private party should be deemed an agent or
  instrument of the Government’ whenever ‘the Government did more than adopt a passive position
  toward the underlying private conduct.’” PI Supp. 5. Rather, Skinner teaches that “[w]hether a
  private party should be deemed an agent or instrument of the Government . . . necessarily turns on



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  Rather, the “dispositive question is always ‘whether the State has exercised coercive power or has

  provided such significant encouragement . . . that the choice must in law be deemed to be that of

  the State.’” VDARE Found. v. City of Colo. Springs, 11 F.4th 1151, 1161 (10th Cir. 2021) (quoting

  Sullivan, 526 U.S. at 52), cert. denied, 142 S. Ct. 1208 (2022).

         Blum illustrates how high the bar is for “significant encouragement” to convert private

  conduct into state action. There, the plaintiffs—a class of Medicaid patients—contended that

  nursing homes violated the Due Process Clause by “discharg[ing] or transfer[ring] patients without

  notice or an opportunity for a hearing,” and the question was “whether the State [could] be held

  responsible for those decisions.” Blum, 457 U.S. at 993. The State “extensively” regulated the

  nursing homes in question, id. at 1004, including in ways that bore on the nursing homes’ transfer

  and discharge decisions. For example, State regulations required nursing homes “to make all

  efforts possible to transfer patients to the appropriate level of care or [to] home as indicated by the

  patient’s medical condition or needs,” and “impose[d] a range of penalties on nursing homes that

  fail[ed] to discharge or transfer patients whose continued stay [was] inappropriate.” Id. at 1008-09

  (citation omitted). The State also had to “approve or disapprove continued payment of Medicaid

  benefits after a change in the patient’s need for services.” Id. at 1010. In short, the State placed

  various forms of regulatory pressure on nursing homes to discharge patients or transfer them to




  the degree of the Government’s participation in the private party’s activities.” 489 U.S. at 614
  (emphasis added) (citations omitted). It did not hold that state action is present “whenever” the
  Government participates to any degree in private-party conduct, and Plaintiffs tellingly cite no
  case supporting that interpretation. Also, Skinner found a sufficient degree of Government
  “participation” because the challenged regulations, which authorized employee drug and alcohol
  testing by private railroads, “removed all legal barriers” to testing by pre-empting contrary state
  law and collective bargaining agreements, and otherwise “made plain” the Government’s “strong
  preference for testing.” Id. at 615-16. In sharp contrast, this case involves no law or regulation that
  similarly requires or encourages particular content moderation decisions by social media
  companies.


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  lower levels of care, which “made possible and encouraged” the challenged private conduct. Id. at

  1008 n.19. Yet the Court held that the plaintiffs had failed to establish state action, because the

  nursing homes’ “decision[s] to discharge or transfer particular patients . . . ultimately turn[ed] on

  medical judgments made by private parties.” Id. at 1008.

         Similarly, in American Manufacturers Mutual Insurance Co. v. Sullivan, the Supreme

  Court reinforced the teaching that government encouragement of private acts must be “so

  significant[]. . . as to make the State responsible for it” to satisfy the state action requirement. 526

  U.S. at 53. That case concerned the constitutionality of a Pennsylvania workers’ compensation

  statute that authorized (but did not require) insurers to withhold payments for the treatment of

  work-related injuries pending independent “utilization” review of whether the treatment was

  “reasonable” and “necessary.” Id. at 44-47. The Supreme Court held that a private insurer’s

  decision to withhold payment for a disputed medical treatment pending review did not constitute

  state action. See id. at 49-58. The challengers’ main argument was that, by amending the statute to

  grant insurers the “utilization review”—an “option they previously did not have”—“the State

  purposely ‘encouraged’ insurers to withhold payments for disputed medical treatment.” Id. at 53.

  The Court rejected that argument: “[T]his kind of subtle encouragement is no more significant

  than that which inheres in the State’s creation or modification of any legal remedy. We have never

  held that the mere availability of a remedy for wrongful conduct, even when the private use of that

  remedy serves important public interests, so significantly encourages the private activity as to

  make the State responsible for it.” Id. “The most that can be said of the statutory scheme,” the

  Court went on to observe, “is that whereas it previously prohibited insurers from withholding

  payment for disputed medical services, it no longer does so. Such permission of a private choice

  cannot support a finding of state action.” Id. at 54 (emphasis added); see also White v. Commc’ns




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  Workers of Am., AFL-CIO, Loc. 1300, 370 F.3d 346, 354 (3d Cir. 2004) (Alito, J.) (Sullivan

  rejected “the notion that the express legislative authorization of an act makes that act state action”).

          Given these principles, the Fifth Circuit recently held that “[r]esponding agreeably to a

  request” is not evidence of “sufficiently strong ‘encouragement’” under Blum. La. Div. Sons of

  Confederate Veterans v. City of Natchitoches, 821 F. App’x 317, 320 (5th Cir. 2020). The plaintiff,

  the Sons of Confederate Veterans, applied to march in a city parade coordinated by a private

  business association. Id. at 318-19. In a letter, the Mayor asked the association to “prohibit the

  display of the Confederate battle flag in that year’s parade,” and two days later, the association

  denied the plaintiff’s request to march in the parade. Id. at 319. The plaintiff argued that the

  association’s decision amounted to “state action,” and was thus subject to a First Amendment

  claim. The Fifth Circuit disagreed, noting that the “Mayor’s letter” contained only “a request,” and

  that “the decision to deny the [plaintiff’s] parade application rested with the [association], not the

  City.” Id. at 320.

          The Ninth Circuit, in a case similar to this one, recently joined the chorus of courts that

  have rejected an overly broad conception of “significant encouragement.” 68 In O’Handley v.

  Weber, the plaintiff-appellant argued that a California agency was responsible for Twitter’s

  moderation of his content because the agency’s mission included “prioritiz[ing] ‘working closely


  68
     See also VDARE, 11 F.4th at 1162 (city’s decision not to provide “support or resources” to
  plaintiff’s event was not “such significant encouragement” as to transform a private venue’s
  decision to cancel the event into state action); S.H.A.R.K. v. Metro Parks Serving Summit Cnty.,
  499 F.3d 553, 565 (6th Cir. 2007) (government officials’ requests were “not the type of significant
  encouragement” that would render agreeing to those requests to be state action); cf. Campbell v.
  PMI Food Equip. Grp., Inc., 509 F.3d 776, 784 (6th Cir. 2007) (no state action where “government
  entities . . . did nothing more than authorize and approve a contract that provided tax benefits” or
  “incentives” “conditioned on [company] opening” local plant); Gallagher v. Neil Young Freedom
  Concert, 49 F.3d 1442, 1453 (10th Cir. 1995) (“Payments under government contracts and the
  receipt of government grants and tax benefits are insufficient to establish a symbiotic relationship
  between the government and a private entity.”).


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  with social media companies to be proactive’” about misinformation, and because it had flagged

  one of his posts for Twitter as “disinformation.” 62 F.4th 1145, 1154 (9th Cir. 2023). Given the

  state agency’s relationship with the companies and its flagging of his post, the plaintiff-appellant

  argued that the agency had “provided significant encouragement, through its public statements and

  otherwise, to Twitter” to “suppress speech.” 69 In rejecting this argument, the Ninth Circuit

  explained that the “critical question” when evaluating whether state action exists under a

  “significant encouragement” theory is “whether the government’s encouragement is so significant

  that we should attribute the private party’s choice to the State, out of recognition that there are

  instances in which the State’s use of positive incentives can overwhelm the private party and

  essentially compel the party to act in a certain way.” Id.

         Applying that standard to the facts before it, the O’Handley court held that the state agency

  had not “essentially compel[led]” Twitter to take any action against the plaintiff-appellant. Id. The

  panel noted that “[t]he [agency] offered Twitter no incentive for taking down the post that it

  flagged.” Id. Because the state agency “did nothing more than make a request with no strings

  attached,” and Twitter, in turn, “complied with the request under the terms of its own content

  moderation policy and using its own independent judgment,” appellant’s “significant

  encouragement” argument failed. Id. 70

         Blum, Louisiana Division Sons of Confederate Veterans, Sullivan, and O’Handley make it

  clear that “significant encouragement” may only support a finding of state action if the

  Government’s conduct is “so significant” that the State has “essentially compel[ed] the [private]


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     Appellant’s Reply Brief to Cal. Sec’y of State Shirley Weber at 13, O’Handley v. Weber, 62
  F.4th 1145 (9th Cir. 2023) (No. 22-15071), 2022 WL 4389216.
  70
     The court’s rejection of the Free Speech Clause claim based on lack of state action made it
  unnecessary to address whether a social media company’s decision to remove a post is a
  “constitutionally protected exercise[] of editorial judgment.” O’Handley, 42 F.4th at 1156 n.1.

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  party to act in a certain way.” O’Handley, 62 F.4th at 1158. The Government can be liable for

  choices made by private actors only if its conduct shows that the private actors’ choices “must in

  law be deemed to be that of the State.” Blum, 457 U.S. at 1004. Such governmental conduct can

  take the form of “coercion”—that is, “actual or threatened imposition of government power or

  sanction,” Backpage.com, LLC v. Dart, 807 F.3d 229, 230 (7th Cir. 2015)—or “significant

  encouragement”—that is, the provision of “positive incentives,” O’Handley, 62 F.4th at 1158.

  Blum thus accounts for the possibility that the Government can be legally responsible for private

  choices through positive inducements (encouragement) in addition to negative ones (coercion by

  threats of sanction). But in any scenario, the private conduct must be “essentially compel[led]” by

  the Government. Id. at 1158. If any less of a showing were enough to satisfy the state action

  requirement under a “significant encouragement” theory, then no plaintiff would ever need to

  demonstrate coercion—the threshold for significant encouragement would be lower and easier to

  satisfy. That reading of Blum makes little sense and is unsupported by precedent—it does not

  appear that another party has ever prevailed on a theory like the one Plaintiffs assert. See Defs.’

  Reply 42 (refuting Plaintiffs’ reliance on inapposite cases). Indeed, despite multiple bites at the

  apple, Plaintiffs are unable to cite a single factually analogous case supporting their position.71



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     Plaintiffs’ reliance on Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970), is procedurally and
  substantively inapt. Contrary to Plaintiffs’ characterization, Adickes did not hold that the store’s
  denial of service to the black plaintiff “was government action if a police officer in the restaurant
  ‘communicated his disapproval’” to a restaurant employee. PI Supp. 5 (quoting Adickes, 398 U.S.
  at 158). Rather, the Court held that evidence of a policeman’s presence in the restaurant would
  “[leave] open to a jury . . . to infer from the circumstances that the policeman and a [defendant]
  employee had a ‘meeting of the minds” before the store refused to serve her, and the policeman
  took the further step of arresting her. Adickes, 398 U.S. at 156-58. For that reason, the Court
  concluded that a genuine issue of material fact existed and reversed a grant of summary judgment
  in the defendant’s favor. Here, Plaintiffs must establish that they are likely to prevail on the merits,
  not just defeat a motion for summary judgment, and—at least as to “significant encouragement”—
  they advance a legally unprecedented theory of state action.


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         Moreover, the stringent standard articulated in Blum, Sullivan, and O’Handley reflects the

  law’s respect for the “essential dichotomy” between public and private action. Sullivan, 526 U.S.

  at 53. The Government should be entitled to zealously encourage private parties to act on a wide

  range of matters affecting the public interest without fear of penalty. See Maher v. Roe, 432 U.S.

  464, 475-76 (1977) (“Constitutional concerns are greatest when the State attempts to impose its

  will by force of law; the State’s power to encourage actions deemed to be in the public interest is

  necessarily far broader.”). Indeed, the government-speech doctrine shields the Government against

  “paralyzing” restrictions on its ability to “urg[e]” private actors to take actions that it supports.

  Matal, 582 U.S. at 235. 72 For example, “[d]uring the Second World War,” the Federal Government

  “produced and distributed millions of posters . . . urging enlistment, the purchase of war bonds,

  and the conservation of scarce resources.” Id. at 234-35. It would be “absurd” to claim that federal

  encouragement to join the war effort—even significant encouragement—“is the equivalent of

  forcing people to serve.” Peery v. Chi. Hous. Auth., 791 F.3d 788, 790 (7th Cir. 2015). Of course,

  it remains true today that “[a] President frequently calls on citizens to do things that they prefer

  not to do—to which, indeed, they may be strongly opposed on political or religious grounds.”

  Freedom From Religion Found., Inc. v. Obama, 641 F.3d 803, 806 (7th Cir. 2011). It makes ample

  sense, then, that courts require more than a generalized showing of “significant encouragement”

  before government officials may be held liable for the decisions of private parties.




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     In its memorandum opinion denying Defendants’ motion to dismiss, the Court quoted Matal for
  the proposition that “[i]f private speech could be passed off as government speech by simply
  affixing a government seal of approval, government could silence or muffle the expression of
  disfavored viewpoints.” MTD Order 63 (quoting Matal, 582 U.S. at 235). That proposition has no
  bearing on this case. Unlike in Matal, which raised the question whether privately held trademarks
  are “government speech” simply because they are registered by an arm of the Federal Government,
  it is beyond dispute here that the Federal Defendants’ speech is government speech.


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         Plaintiffs contend that the White House and OSG have provided “such significant

  encouragement” to social media companies that they are responsible for those companies’ content

  moderation decisions. For the following reasons, Plaintiffs’ arguments should be rejected.

                 b. Plaintiffs fail to show that the White House has provided “such significant
                    encouragement” as to render the White House legally responsible for social
                    media companies’ independent decisions.
         Plaintiffs fail to show that White House officials provided “such significant

  encouragement” as to “essentially compel[]” any social media company to take any particular

  action. O’Handley, 62 F.4th at 1158.

         As a threshold matter, Plaintiffs have not shown that the White House offered social media

  companies any “positive incentives” to remove or otherwise moderate users’ content on their

  platforms. Id. Plaintiffs’ only evidence of “encouragement” from the White House is an email in

  which Mr. Flaherty told YouTube that its reduction of “watch time” of “borderline content” by

  70% was “impressive.” PI Supp. 9 (citation omitted). It is not plausible that Mr. Flaherty’s

  comment had any effect on YouTube or transformed the company’s conduct into government

  conduct. Otherwise, Plaintiffs’ “significant encouragement” theory relies exclusively on evidence

  of an alleged “pressure campaign” orchestrated by the White House, which is to say it is nothing

  more than their “coercion” theory under a different name. Compare id. at 8-10 (citing evidence of

  the White House’s “significant encouragement”), with id. at 14 (arguing that the White House’s

  “pressure campaign . . . discussed above” “constitutes coercion”). Again, to the extent that Blum

  offers “coerc[ion]” and “such significant encouragement” as distinct ways in which the

  Government can become “responsible” for private conduct, 457 U.S. at 1004, the latter does not

  simply encompass efforts to prod that fall short of compulsion, see PI Supp. 8 (arguing that

  Defendants’ conduct “rises to the level of coercion, as well as significant encouragement”).

  Because Plaintiffs have hardly pointed to any evidence of “encouragement”—let alone “such


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  significant encouragement” that White House officials “essentially compelled” any decisions by

  the social media companies—the “such significant encouragement” standard is inapplicable here.

         It also bears emphasis that “[d]eciding whether a [alleged suppression of speech] is fairly

  attributable to the [Government] begins by identifying the specific conduct of which the plaintiff

  complains.” Moody v. Farrell, 868 F.3d 348, 352 (5th Cir. 2017) (emphasis added) (quoting

  Cornish v. Corr. Servs. Corp., 402 F.3d 545, 550 (5th Cir. 2005)). This “specific conduct”

  requirement ensures that plaintiffs specify the particular private action that they wish to challenge

  as fairly attributable to the Government. See Blum, 457 U.S. at 1004 (the critical question is

  whether a private “choice” must “in law be deemed to be that of the State”); Cornish, 402 F.3d at

  550 (explaining that the “specific conduct” at issue was a private employer’s termination of the

  plaintiff). Plaintiffs fail to address this critical step in the state action analysis. They highlight

  specific examples of White House “pressure,” PI Supp. 8, but with few exceptions—namely,

  Twitter’s suspension of Alex Berenson and removal of an imposter account—Plaintiffs make no

  attempt to connect the White House Defendants’ conduct to the specific conduct of any social

  media company. Simply alleging that the White House engaged in a “pressure campaign” (which

  it did not) is not enough to establish that the White House is responsible for any private choices;

  the Plaintiffs must identify which of the social media companies’ “choice[s]” the White House is

  responsible for, and they must explain how the White House is responsible for those choices. Blum,

  457 U.S. at 1004. Those choices, moreover, must have a connection to Plaintiffs’ asserted harms.73


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     Plaintiffs overlook the fact that some White House communications in evidence have nothing
  to do with the claims asserted in this case. They make much, for example, of an email in which
  Flaherty said to Facebook, “Are you guys f**king serious?” See PI Supp. 9; Pls.’ PFOF ¶ 46
  (Heading C., “Flaherty’s Profane Attack: “Are You Guys F**king Serious?”). That comment arose
  in the context of White House officials asking why the White House’s own Instagram account was
  experiencing a decrease in follower growth. Dkt. 174-1 at 55-56. It was not made in connection
  with any discussions of misinformation on social media. This comment does not make the White



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         Identifying the “specific conduct” at issue is especially important here, where Plaintiffs

  argue that numerous content moderation decisions made from 2020 to the present are “fairly

  attributable” to White House officials who did not take office until 2021. It is beyond dispute that

  the platforms have been moderating COVID-19 content pursuant to their terms of service, for

  reasons that include their own economic self-interest and public sentiment, since at least January

  2020, well before any of the White House Defendants took office. See supra Defs.’ PFOF § I.C.

  And it is also undisputed that some content moderation that occurred in 2021 and 2022 resulted

  from the enforcement of company policies that predated the Biden Administration. Plaintiffs offer

  no explanation of which particular actions are attributable to Biden White House officials, as

  opposed to preexisting content moderation policies—or, for that matter, the other Defendants in

  this case, whom Plaintiffs separately accuse of influencing the social media companies’ decisions.

         Even setting these fatal threshold deficiencies aside, Plaintiffs fail to establish that the

  White House is responsible for any social media company’s conduct. Plaintiffs seek to hold White

  House officials accountable for social media platforms’ content moderation decisions by citing

  public and private statements from these officials that, based on Plaintiffs’ allegations, may be

  divided into three categories: (1) requests for “more detailed information” about the companies’

  content moderation practices, PI Supp. 8; (2) alleged “very specific demands” about how the

  platforms should change their policies to “increase censorship of disfavored speech,” id.; and

  (3) alleged “demand[s] [for] the removal of specific posts and accounts of disfavored speakers,”

  id. at 9. None of this alleged conduct makes the White House legally responsible for any social

  media company’s independent decision-making.




  House responsible for any private conduct that forms the basis of the First Amendment challenges
  at issue. See also Defs.’ Resp. PFOF ¶¶ 138-140.


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         First, Plaintiffs erroneously contend that requests by White House officials—and Mr.

  Flaherty in particular—for “more detailed information” about COVID-19 misinformation make

  the White House responsible for companies’ content moderation decisions. PI Supp. 8. Plaintiffs

  rely on requests that Mr. Flaherty made of social media companies for information related to

  COVID-19 misinformation trends on their platforms and how the companies were enforcing their

  policies. See, e.g., Dkt. 174-1 at 7 (“Can you share more about your framework here?”); id. at 14

  (“Again, as I’ve said, what we are looking for is the universe and scale of the problem.”); Dkt. 71-

  3 at 24 (asking Meta for an explanation, “as we have long asked for, [of] how big the problem is,

  what solutions you’re implementing, and how effective they’ve been”); see also Pls.’ PFOF ¶¶ 43-

  44, 54, 57, 67-68, 112, 126, 175 (mischaracterizing Mr. Flaherty as “demand[ing]” “more

  information”). But Plaintiffs never demonstrate as a matter of fact, or explain as a matter of simple

  logic, how those requests for information from the companies could have so encouraged them to

  make decisions about content on their platforms as to render Mr. Flaherty (or any White House

  official) responsible for those decisions. Indeed, the Supreme Court has repeatedly rejected the

  notion that regulations requiring private actors to submit information to the Government are

  sufficient to render the Government responsible for private decisions. See Blum, 457 U.S. at 1006-

  07 (“We cannot say that the State, by requiring completion of a form, is responsible for the

  physician’s decision.”); Sullivan, 526 U.S. at 54-55 (same). That principle applies with even

  greater force here, where White House officials merely requested information from social media

  companies about misinformation on their platforms. See La. Div. Sons of Confederate Veterans,

  821 F. App’x at 320 (“Responding agreeably to a request and being all but forced by the coercive

  power of a governmental official are different categories of responses.”).




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         In any event, it is inexplicable how Mr. Flaherty’s efforts to obtain information about the

  companies’ actions could have “essentially compel[led]” any specific content moderation

  decisions by the companies, O’Handley, 62 F.4th at 1158, and Plaintiffs offer no explanation in

  support of their position other than their ipse dixit characterizations of the facts. The purpose of

  Mr. Flaherty’s requests was to better understand the companies’ policies, how they were being

  enforced, and what the Administration could do to address key issues like vaccine hesitancy. See

  Ex. 36 at 20. The record of requests reflects these objectives; as Mr. Flaherty told YouTube in

  April 2021, he wanted to continue a dialogue about “what is going on under the hood” because he

  was “on the hook for reporting out” to others in the White House. Dkt. 174-1 at 39. Absent from

  the record are requests by Mr. Flaherty that the companies enforce or adjust their policies in

  specific ways to require “greater” moderation of COVID-19 misinformation, or that they remove

  or otherwise restrict access to specific posts, or the posts of specific groups or individuals regarding

  COVID-19 misinformation. See also Defs.’ Resp. PFOF ¶¶ 34-122.

         Second, Plaintiffs contend that White House officials made “very specific demands about

  how to increase censorship of disfavored speech.” PI Supp. 8. They cite no evidence to support

  this assertion, apart from a single two-page email chain from April 22, 2021 to May 6, 2021, among

  a Facebook employee, Mr. Slavitt, and Mr. Flaherty (hereinafter “April 2021 email chain”). Id.

  (citing Pls.’ PFOF ¶¶ 118-121, which cite Dkt. 174-1 at 41-42). Plaintiffs characterize this chain

  as evidence of the White House “demanding that Facebook monitor private events and deplatform

  the ‘Disinformation Dozen,’” id., but it does not support their argument. As discussed above, see

  supra Defs.’ PFOF § II.A, on April 23, 2021, Mr. Flaherty sent Facebook “research work” about

  misinformation on social media that had been conducted by an outside group, with the subject line

  “Research Suggestions” and an explicit disclaimer that Facebook should not “read this as White




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  House endorsement of these suggestions.” Pls.’ Jones Decl., Ex. L at 1 (Dkt. 214-14) (emphasis

  added). On May 1, 2021, the Facebook representative provided reactions to the group’s findings,

  noting that it understood the “suggestions” had not come from within the White House. Dkt. 174-

  1 at 41; see also Defs.’ Resp. PFOF ¶¶ 118-121.

         It bears repeating that the Executive Branch has broad “power” to “encourage” “actions

  deemed to be in the public interest.” Maher, 432 U.S. at 475-76; see also Matal, 582 U.S. at 235.

  The spread of COVID-19 related misinformation on social media was a matter of significant public

  concern—as reflected by the global effort to combat the COVID-19 “infodemic,” see supra Defs.’

  PFOF § I.C., and the social media companies’ own misinformation polices. Just as the Government

  has a legitimate public-health interest in mounting an all-of-society effort to combat the spread of

  COVID-19, it has an interest in urging social media companies to help in that effort by curbing the

  spread of potentially harmful misinformation on their platforms. The companies, moreover,

  recognized that they had a role to play in combating the virus long before Mr. Flaherty (or any

  current Government official) entered office, see id., and they made their own judgments as to how

  to meet the moment, id. Accordingly, even if Mr. Flaherty had sent the aforementioned “Research

  Suggestions” to Facebook with a note indicating the White House’s endorsement of those

  suggestions, no First Amendment issue would arise, because mere efforts to persuade private

  actors are “permissible government speech.” O’Handley, 62 F.4th at 1163.

         Furthermore, the April 2021 email chain does not show that the White House was

  responsible for any action on Facebook’s part. Mr. Flaherty made clear that the “suggestions” from

  the outside group that briefed the White House were not urged—or even endorsed—by the White

  House. Id. Moreover, there is no evidence that Facebook engaged in any “specific conduct” as a

  result of these emails. Moody, 868 F.3d at 352. To the extent Plaintiffs argue that the April 2021




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  email chain renders the White House responsible for actions taken by Facebook against the

  Disinformation Dozen, that argument is belied by the record. For example, in response to the

  outside group’s view that “12 accounts are responsible for 73% of vaccine misinformation,”

  Facebook’s representative explained that Facebook “continue[s] to review accounts associated

  with the [Disinformation Dozen], but many of those either do not violate our policies or have

  ceased posting violative content.” Dkt. 174-1 at 42. He further noted that Facebook’s preexisting

  “‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and pages that are

  dedicated to sharing vaccine discouraging content[,] and we continue to review and enforce” the

  policy against violative accounts “when we become aware of them.” Id. Accordingly, not only did

  the White House not express the view that action should be taken against the Disinformation

  Dozen, but the evidence shows that Facebook continued to exercise its own independent judgment

  by declining to take any action against those accounts in response to the outside group’s

  “suggestions.” PI Supp. 8.

         Third, Plaintiffs contend that White House officials “demand[ed] the removal of specific

  posts and accounts of disfavored speakers.” Id. at 9. In support, Plaintiffs cite the following as

  examples: (1) Robert F. Kennedy Jr.; (2) Tucker Carlson and Tomi Lahren; (3) Alex Berenson;

  (4) the “Disinformation Dozen;” (5) “trending posts on Facebook;” (6) an imposter account of Dr.

  Fauci; and (7) a doctored video of First Lady Jill Biden. Id. It is not disputed that the White House

  requested the removal of some social media posts and accounts—mainly, imposter accounts. But

  none was a post made by or account belonging to any of the Plaintiffs. And none of these requests

  is sufficient to make White House officials legally responsible for any company’s decision

  concerning the posts or accounts cited. The social media companies allow any citizen that

  encounters objectionable conduct to flag that content for the company and urge that it be removed




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  or otherwise addressed under the platforms’ own policies. 74 It would be remarkable if the

  Government were powerless to do the same, even when posts implicate governmental interests or

  when the government has unique information that would be helpful to the platforms in applying

  their policies. And as discussed immediately below, the record demonstrates that some of these

  requests did not even include requests for the removal of posts. Where the White House did request

  removal of a post, each request was submitted for the company’s consideration “with no strings

  attached;” and, in each instance that involved a request from the White House, the relevant social

  media company considered the request “under the terms of its own content-moderation policy and

  using its own independent judgment.” O’Handley, 62 F.4th at 1158.

         Several of Plaintiffs’ purported examples contain no requests—let alone “demand[s]”—

  for the removal of content. For example, the White House’s emails to Facebook about Tucker

  Carlson’s Facebook Video (which included a reference to Lahren’s post) did not contain requests

  to remove posts. 75 See supra Defs.’ PFOF § II.A. And Plaintiffs’ example of “trending posts on

  Facebook” is a reference to the April 2021 email chain, in which Mr. Flaherty again did not request

  the removal of any particular posts. In both instances, Mr. Flaherty simply asked for more

  information—albeit in some instances conveying frustration about the lack thereof—as to why

  trending posts did not violate Facebook’s policies. See Dkt. 174-1 at 22 (Carlson) (“What exactly



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     See, e.g., Ex. 21 (How do I mark a Facebook post as false news?, Facebook Help Ctr.,
  https://perma.cc/N8HZ-P7R4); Ex. 35 (Report Violations, Twitter Help Ctr.,
  https://perma.cc/5MXZ-TAAM); Ex. 41 (Report inappropriate videos, channels, and other
  content on YouTube, YouTube Help, https://perma.cc/34HB-9CHL).
  75
     Flaherty instead explained that the Carlson and Lahren examples were “exactly why I want to
  know what ‘reduction’ means.” Dkt. 174-1 at 22. As noted above, “[r]eduction” is likely a
  reference to Facebook’s borderline content policy, adopted in 2018 to “reduc[e] the distribution
  and virality” of misinformation. Ex. 23 at 8 (Facebook’s 2018 post about borderline content).
  Flaherty understandably wanted to know more about it because, as noted above, Facebook’s
  borderline content policy enforcement is not transparent. See supra Defs.’ PFOF § I.D.


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  is the rule for removal vs. demoting?”); id. at 41 (“trends”) (“[H]ow does something like this

  happen? . . . What is going on here?”).

         The record does not support Plaintiffs’ argument that any action taken against the

  “Disinformation Dozen” must “in law be deemed to be that of” the White House. Blum, 457 U.S.

  at 1004. Plaintiffs again cite to the April 2021 email chain, PI Supp. 9, but as discussed above, that

  chain contains no indication that the White House endorsed the outside group’s research findings

  on those accounts. And in its response, Facebook explained that it had exercised its independent

  judgment to determine that the twelve accounts at issue were not violating its policies, and so it

  would not take any action against them. See Defs.’ Resp. PFOF ¶¶ 114-122. Plaintiffs also cite

  Ms. Psaki’s statement at the July 15, 2021, White House press briefing, but Ms. Psaki did not urge

  action against the Disinformation Dozen from the podium. See Defs. PFOF § II.A. The record

  shows, moreover, that Facebook not only took action regarding posts by the Disinformation Dozen

  in July 2021, but it did so again nearly a month later because it “violat[ed] [Facebook’s] policies.”

  Ex. 145 at 2 (Monika Bickert, How We’re Taking Action Against Vaccine Misinformation

  Superspreaders, Meta (Aug. 18, 2021), https://perma.cc/27UC-N6QV). As Facebook repeatedly

  noted at that time, when content posted by these twelve individuals did not violate the company’s

  policies—as determined by Facebook alone—it was not removed. See id. (“The remaining

  accounts associated with these individuals are not posting content that breaks our rules.”); see also

  Defs.’ Resp. PFOF ¶ 170.

         Plaintiffs’ examples also underscore that, in every case of a White House request for action,

  the White House did so with no “strings attached” (i.e., any form of actual encouragement or threat

  of sanction) and social media companies simply “complied with the request”—in the limited cases

  where they did, in fact, comply—“under the terms of [their] own content-moderation policy and




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  using [their] own independent judgment.” O’Handley, 62 F.4th at 1158; see also La. Div. Sons of

  Confederate Veterans, 821 F. App’x at 320 (“Responding agreeably to a request and being all but

  forced by the coercive power of a governmental official are different categories of responses

  . . . .”). For example, when the White House asked Twitter to remove or label a doctored video of

  the First Lady, see supra Defs.’ PFOF § II.A, Twitter declined to do so because the video did not

  violate Twitter’s policies.76 Dkt. 174-1 at 65. The White House did not seek to compel Twitter to

  reach a different conclusion; it instead asked for “any other info” about why the content did not

  qualify for labeling, “in order to help us understand the Twitter processes best.” Id. See also Defs.’

  Resp. PFOF ¶¶ 180-187. By contrast, when the White House emailed Facebook in reference to an

  imposter account for Dr. Fauci—aptly named “AnthonyFauciOfficial”—and asked if there was

  “any way” to have it removed, Fauci Ex. 57 at 1-2 (Dkt. 207-21), Facebook independently

  determined that the account violated its existing policies and removed the account accordingly.

  Indeed, Facebook’s community guidelines at the time—which Instagram had incorporated by

  reference—stated that Facebook “do[es] not allow the use of our services and will disable accounts

  if you . . . [i]mpersonate others by . . . [c]reating an account assuming to be or speak for another

  person or entity.”77 And it is against federal law to impersonate a federal official. See 18 U.S.C.

  § 912. This example falls well short of demonstrating that the decision to remove the Dr. Fauci

  imposter account “must in law be deemed to be that of the [White House].” Blum, 457 U.S. at

  1004. See also Defs.’ Resp. PFOF ¶¶ 809-820. And again, it would be surprising if the First




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     For this reason, there is no “specific conduct” to complain of with respect to this social media
  post—no action was taken, and so there is no “choice” that can be “deemed to be that of” the White
  House. Blum, 457 U.S. at 1004. And in any event, Plaintiffs cannot possibly show a cognizable
  injury to their First Amendment rights under these circumstances.
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     Ex. 56 (choose “show older” in dropdown; then choose “Dec. 17. 2020”).


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  Amendment prohibited federal officials from notifying social media platforms about the existence

  of fraudulent accounts that violate their terms of service, while any private citizen is free to do so.

       That leaves two examples involving posts by Robert F. Kennedy Jr. and Alex Berenson on

  Twitter. In both examples, the White House interacted with Twitter’s government affairs staff. See

  Dkt. 174-1 at 2 (Kennedy), id. at Dkt. 71-7 at 86. It is not disputed that these employees “did not

  have any kind of decision-making authority over policy enforcement,” Ex. 10 at 5, making the

  causal link between the government’s action and the platforms’ content moderation decisions even

  more attenuated.

       With respect to Mr. Kennedy, on January 23, 2021, a White House official emailed Twitter to

  “flag” a tweet by Mr. Kennedy about the “wave of suspicious deaths among elderly” following

  their receipt of the COVID-19 vaccine, and to ask if it could be removed. Dkt. 174-1 at 2.78 Several

  minutes later, Twitter’s government affairs representative responded: “Thanks. We recently

  escalated this.” Id. The record does not indicate whether any action was taken against the tweet.

  In fact, the tweet is currently available for viewing, which strongly suggests that Twitter declined

  to remove it. See Ex. 146. There is, accordingly, no indication of “specific conduct” by Twitter

  that the White House could be held responsible for in this case. Blum, 457 U.S. at 1004. And even

  if Twitter had taken action against the tweet, Twitter’s response to the White House’s email request

  indicates that, before the White House reached out, it had already “escalated” the tweet, meaning

  (almost certainly) that it had “escalated” the tweet for internal review according to Twitter’s




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     The tweet stated: “#HankAaron’s tragic death is part of a wave of suspicious deaths among
  elderly closely following administration of #COVID #vaccines. He received the #Moderna vaccine
  on Jan. 5 to inspire other Black Americans to get the vaccine. #TheDefender.” See Ex. 146 at 1
  (Robert F. Kennedy Jr. (@RobertKennedyJr), Twitter (Jan. 22, 2021, 5:41 PM),
  https://perma.cc/8QXJ-H78L).


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  community standards. This reflects that Twitter made its decision “under the terms of its own

  content-moderation policy and using its own independent judgment.” O’Handley, 62 F.4th at 1158.

         Plaintiffs fare no better with respect to Mr. Berenson. They cite an April 22, 2021, meeting

  between White House officials and Twitter representatives as evidence that the White House is

  responsible for Twitter “suspending Alex Berenson for the first time,” notwithstanding that the

  suspension did not occur until three months later, on July 16, 2021. PI Supp. 9 (citing Pls.’ PFOF

  ¶¶ 102-04, in turn citing Dkt. 71-7 at 86 and Pls.’ Jones Decl., Ex. J at 2-3 (Dkt. 214-12)). More

  specifically, Plaintiffs cite screenshots from an internal Twitter discussion about the meeting, in

  which Twitter employees allegedly noted that White House officials “had one really tough

  question about why Alex Berenson hasn’t been kicked off the platform.” Id. at 3. Another Twitter

  employee allegedly noted in the internal conversation, “I’ve taken a pretty close look at [Mr.

  Berenson’s] account and I don’t think any of it’s violative.” Id.

         In his sworn interrogatory responses—which Plaintiffs fail even to acknowledge in their

  motion or proposed findings of fact—Mr. Flaherty described the April 22 meeting in detail:

                 Mr. Flaherty recalls participating in a meeting with Twitter employees on
                 Zoom, in or around the Spring of 2021, at which Alex Berenson was
                 mentioned. Mr. Flaherty recalls Andrew Slavitt also attending that meeting
                 and he believes, but is not sure, that Lauren Culbertson from Twitter
                 attended the meeting. Mr. Flaherty further recalls the meeting was about
                 vaccine hesitancy and Twitter’s efforts to combat disinformation and
                 misinformation on the platform. As the meeting was ending, Mr. Flaherty
                 recalls Mr. Slavitt expressing his view that Twitter was not enforcing its
                 content guidelines with respect to Alex Berenson’s tweets, and that
                 employees from Twitter disagreed with that view. Mr. Flaherty also recalls
                 that Mr. Slavitt suggested at the end of the meeting that Mr. Flaherty would
                 follow up with Twitter employees about that subject. Mr. Flaherty does not
                 recall following up with Twitter on the subject of Mr. Berenson, but he does
                 recall being later called within probably a week or two by a Twitter
                 employee, who Mr. Flaherty thinks was Todd O’Boyle, who indicated that
                 Twitter would not be removing Mr. Berenson because Mr. Berenson had
                 not violated Twitter policies at that time. That is the last time that Mr.
                 Flaherty recalls discussing Mr. Berenson with employees from Twitter.



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  Ex. 36 at 57.

         This evidence shows that White House officials inquired about Twitter’s enforcement of

  its policies without coercing or “essentially compel[ing]” any action. O’Handley, 62 F.4th at 1158.

  Indeed, it is not disputed that at the time of the April 22, 2021, meeting Twitter believed—and so

  told the White House—that Mr. Berenson was not violating Twitter’s policies. See Ex. 36 at 57.

  That belief provided the sole basis for Twitter’s decision not to deplatform Mr. Berenson in April

  2021. Id. Accordingly, there is no evidence that the White House was responsible for any action

  by Twitter arising out of the April 2021 meeting, nor is there any evidence supporting Plaintiffs’

  suggestion that the April 2021 meeting resulted in Twitter’s action against Mr. Berenson three

  months later. See also Defs.’ Resp. PFOF ¶¶ 102-04.

         In short, Plaintiffs have adduced no evidence to support their claim, and therefore have no

  likelihood of succeeding on their claim, that the White House “so significant[ly] encourage[d]”

  any social media companies to take action against any posts or accounts (much less Plaintiffs’

  posts or accounts) that the actions taken by those companies “must in law be deemed to be [those]

  of the [Government].” Blum, 457 U.S. at 1004.

                  c. Plaintiffs fail to show that OSG has provided “such significant encouragement”
                     as to render OSG legally responsible for social media companies’ independent
                     decisions.
         Plaintiffs are also unlikely to prevail on their claim that the Surgeon General engaged in

  “such significant encouragement” that any of their alleged injuries were “essentially compel[led]”

  by OSG. O’Handley, 62 F.4th at 1158. The Surgeon General’s mission is to “protect, promote, and

  advance the health and safety of the United States” by, among other things, “raising awareness

  about health threats” and “stimulating action nationwide on public health issues.” Lesko Decl. ¶ 3

  (Ex. 63). The Surgeon General relies on his “bully pulpit”—that is, his “visibility as the Nation’s



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  Doctor”—to carry out that mission. Id. OSG possesses no enforcement or regulatory authority over

  private parties, including social media companies. Id.

         Plaintiffs’ characterizations of OSG’s conduct as constituting “demands,” “pressure,” and

  “threat[s]” are illustrative of the fundamental flaws in their case. See PI Supp. 10-13. Consider, for

  example, Plaintiffs’ assertion that the Surgeon General’s Health Misinformation Advisory

  “explicitly demands greater censorship from social-media platforms.” PI Supp. 11. The Advisory

  itself overwhelmingly refutes that assertion.

         The Advisory states in clear terms that it is a “public statement that calls the American

  people’s attention to a public health issue and provides recommendations for how that issue should

  be addressed.” Advisory at 3 (emphasis added). Its recommendations are framed exclusively in

  precatory language, rather than mandatory language. It explains what various sectors of society

  “can” do to address health misinformation, including eight recommendations for “what technology

  platforms can do.” Id. at 12 (emphasis added). Among the things that the Advisory says

  “governments can do” is:

         Convene federal, state, local, territorial, tribal, private, nonprofit, and research
         partners to explore the impact of health misinformation, identify best practices to
         prevent and address it, issue recommendations, and find common ground on
         difficult questions, including appropriate legal and regulatory measures that address
         health misinformation while protecting user privacy and freedom of expression.
  Id. at 7 (emphasis added). In short, the Advisory indicates that it is nonbinding, uses only precatory

  language, and recommends that stakeholders (including private parties) “[c]onvene” to “find

  common ground” while accounting for “freedom of expression.” And of course, the Advisory is

  an advisory, not an order. See Hart v. Facebook, Inc., No. 22-cv-737, 2022 WL 1427507, at *7

  (N.D. Cal. May 5, 2022) (“Surgeon General Murthy’s ‘22-page advisory’ document is, well,

  advisory.”). See also Defs.’ Resp. PFOF ¶¶ 318-329.




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          It is therefore not true that the Advisory “explicitly demands greater censorship from

  social-media platforms.” PI Supp. 11. Indeed, it is difficult to imagine how OSG could have been

  clearer about the nonbinding, non-rights-infringing nature of the Advisory. Plaintiffs, for their part,

  make no effort to grapple with the language in the Advisory that contravenes their argument. Nor

  do they grapple with the fact that adopting their reading of the Advisory would have the effect of

  transforming private action into government action whenever a private party decides it will answer

  the Government’s precatory call to action. As one district court explained in this exact context,

  “vague government advisory documents . . . are issued annually by the thousands and do not

  secretly transform large swathes of the private sector into state actors.” Hart, 2022 WL 1427507,

  at *7. And Plaintiffs fail to cite any analogous cases supporting their argument that the Advisory

  “provide[s] such significant encouragement” to social media companies that any of their decisions

  “must in law be deemed to be that of [OSG].” Blum, 457 U.S. at 1004. At least two courts have

  rejected that very argument. See Hart, 2022 WL 1427507, at *7 (holding that the Surgeon

  General’s Advisory “do[es] not secretly transform large swathes of the private sector into state

  actors”); Changizi v. HHS, 602 F. Supp. 3d 1031, 1056 (S.D. Ohio 2022) (“[T]o the extent the RFI

  and July Advisory affect Plaintiffs at all, those effects stem from Twitter’s ‘independent actions.’”

  (citation omitted)), appeal filed, No. 22-3573 (6th Cir. June 6, 2022). This Court should do the

  same.

          Moreover, as with their arguments about the White House Defendants, Plaintiffs fail again

  to identify any “specific conduct” that OSG “essentially compel[ed].” O’Handley, 62 F.4th at

  1158. 79 The only suggestion of specific conduct is Plaintiffs’ contention that, “[i]n response to the


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    Plaintiffs contend that Facebook “agreed to additional data-sharing demanded by the Surgeon
  General.” PI Supp. 11. Setting aside the fact that there is no evidence to support the contention that
  Dr. Murthy “demanded” anything from Facebook, “additional data-sharing” is not complained of



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  Advisory, Facebook reported a series of more aggressive steps against misinformation, including

  deplatforming the Disinformation Dozen and adopting more restrictive policies.” PI Supp. 12. That

  argument is facially deficient; “[r]esponding agreeably to a request” is not evidence of government

  responsibility for private conduct. La. Div. Sons of Confederate Veterans, 821 F. App’x at 320.

  Were it otherwise, the Government would be severely restricted from expressing its views on

  matters of public concern. See Summum, 555 U.S. at 467-68.

         Even assuming, however, that Facebook’s “response” to the Advisory could somehow

  satisfy the standard articulated in Blum, the evidence here falls short. Plaintiffs cite emails from

  Facebook to OSG on July 21 and July 23, 2021. See Waldo Exs. 16, 19. In the first email, Facebook

  thanked OSG for “providing more context to the ongoing discussion around the Surgeon General’s

  recent announcement” and followed up about “questions [OSG] asked in the meeting focused on

  CrowdTangle, data on online interventions, and Facebook’s borderline content policies.” Waldo

  Ex. 16 at 1 (Dkt. 210-15). Nothing in this email indicates that Facebook took any action in response

  to the Advisory; Facebook instead followed up with information about its existing policies. Id. at

  1-2. In the second email, sent on July 23, a Facebook employee summarizes his understanding of

  a meeting with Dr. Murthy earlier that day, including that he “wanted to make sure [Dr. Murthy]

  saw the steps [Facebook] took this past week to adjust policies on what we are removing with

  respect to misinformation, as well as steps taken to further address the ‘disinfo dozen.’” Waldo

  Ex. 19 at 1 (Dkt. 210-18). Again, nothing in this email indicates that Facebook took any action in

  response to the Advisory, Facebook’s meetings with OSG, or any other conduct by OSG. And it

  bears repeating that even if OSG had requested that Facebook make the changes mentioned in that



  in this action—it has no conceivable relationship with the content moderation that Plaintiffs accuse
  Defendants of conducting. The same is true of Facebook’s provision of “biweekly reports on
  misinformation” to OSG. Id. at 12. In any event, those reports were provided voluntarily.


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  email (which it did not), nothing in the record indicates that Facebook did anything other than

  “comply with the request” using “its own independent judgment,” O’Handley, 62 F.4th at 1158,

  for reasons related to its own economic interest, see Gurrea Decl. ¶¶ 10-81 (Ex. 1); see also Defs.’

  Resp. PFOF ¶¶ 259-261, 346-348.

         Any doubt about Facebook’s “response” to OSG’s private (and public) communications

  can be put firmly to rest by Facebook’s contemporaneous public statements about the Advisory

  and the Disinformation Dozen. On July 17, 2021—two days after the Advisory was released—

  Facebook announced that it had “already taken action on all eight of the Surgeon General’s

  recommendations,” and it published a four-page document describing policies that Facebook

  already had in place well before the Advisory issued. Ex. 27 (publishing Facebook’s response to

  the Advisory); see also Ex. 71 at 1 (Facebook’s response to the Advisory). The four-page

  document does not describe any new actions that Facebook was taking in response to the Advisory;

  rather, it discusses steps that Facebook had been taking since as far back as April 2020. See Ex.

  71. Likewise, in August 2021, Facebook posted an update explaining actions taken against the

  Disinformation Dozen. Ex. 145. The post describes a “debate” among “people” about the

  Disinformation Dozen, which stemmed from a third-party “report” on the Disinformation Dozen

  by the Center for Countering Digital Hate, which found that “12 people are responsible for 73%

  of online vaccine misinformation on Facebook.” Id. Facebook vigorously disputes that claim,

  observing that it is “baseless” and that the center relied on an overly narrow sample size. Id. The

  post goes on to note that Facebook has removed misinformation that “violates [its] policies,” but

  “the remaining accounts associated with these individuals are not posting content that breaks our

  rules . . . or are simply inactive,” and so Facebook has not taken action against them. Id. These

  posts underscore that Facebook acted independently in its approach to misinformation, including




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  its analysis of the third-party “report” about the Disinformation Dozen and the “debate”

  surrounding that report.

         Plaintiffs’ erroneous treatment of the Advisory typifies their mischaracterization of other

  evidence of OSG’s conduct in 2021 and 2022. They erroneously represent at least eight times that

  OSG has “demanded” actions by the social media companies. PI Supp. 10-13. More specifically,

  in addition to the Advisory, Plaintiffs seek to hold OSG accountable for content moderation by

  citing OSG’s public and private statements and documents, which may be divided into three

  categories: (1) the Surgeon General’s public statements; (2) OSG’s private communications with

  social media companies; and (3) the March 2022 RFI. Like the Advisory, none of this conduct

  “provide[s] such significant encouragement” to social media companies that any of their decisions

  “must in law be deemed to be that of [OSG].” Blum, 457 U.S. at 1004.

                 i.      Surgeon General’s Public Statements

         First, the Surgeon General’s public statements fall far short of rendering OSG responsible

  for any private conduct. To start, Plaintiffs have failed again to identify which “specific conduct”

  by any social-media company that has injured them could plausibly be attributed to any of the

  Surgeon General’s public statements. Moody, 868 F.3d at 352. As discussed above with respect to

  Plaintiffs’ claims against the White House, it is not enough for Plaintiffs to point to disparate

  statements by the Surgeon General, label them a “pressure campaign,” PI Supp. 10, and impliedly

  assert that years of private conduct must “be deemed to be that of” OSG as a result of that

  campaign, Blum, 457 U.S. at 1004. For the Court (and Defendants) to assess the validity of

  Plaintiffs’ arguments, Plaintiffs must identify which specific conduct was “essentially compel[ed]”

  by OSG. O’Handley, 62 F.4th at 1158. They have failed to do so.




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         Even more fundamentally, the Surgeon General’s public statements about health

  misinformation are paradigmatic examples of government speech on public policy, which does not

  transform private conduct into state action. “Broad stances like those embraced by the Surgeon

  General embody” the Government’s “right to ‘speak for itself[,] . . . say what it wishes,’ and to

  select the views that it wants to express.” Changizi, 602 F. Supp. 3d at 1054 (quoting Summum,

  555 U.S. at 467-68). At no point in his public statements has the Surgeon General “demanded”

  that social media companies do anything—let alone that any specific company take action against

  any specific content or accounts. Nor has the Surgeon General “offered . . . incentive[s] for taking

  down [content]” or made “request[s] with . . . strings attached.” O’Handley, 62 F.4th at 1158. In

  his role of calling attention to important public health issues, the Surgeon General has chosen to

  highlight health misinformation as an issue that “we” the public ought to “demand” that

  everyone—including social media companies—“take responsibility for” resolving. Waldo Ex. 33

  at 1 (Dkt. 210-4). If private conduct were transformed into state action whenever the Government

  urged private action in this way, then the Government would be severely restricted in its ability to

  comment on public policy matters. See Summum, 555 U.S. at 467-68 (“[I]t is not easy to imagine

  how government could function if it lacked [the] freedom” to “select the views that it wants to

  express”).

         Plaintiffs fail to address the government-speech doctrine in the context of the OSG’s public

  statements. Their only comment on the applicability of the government-speech doctrine in this

  case is to distinguish “opining in the abstract about disputed policy questions,” which in their view

  is protected speech, from “contacting social-media companies through backchannels and

  demanding . . . specific changes to their content-moderation policies and . . . concrete censorship

  action on particular items of speech.” PI Supp. 7. Assuming for the sake of argument that the line




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  Plaintiffs have drawn is appropriate, the Surgeon General’s public comments on health

  misinformation fall comfortably on the protected side.

                 ii.    OSG’s Private Communications

         Plaintiffs’ reliance on OSG’s private communications with social media companies suffers

  from the same flaws. As with the Advisory, Plaintiffs mischaracterize OSG’s comments in these

  meetings as “demands” with no evidentiary support. PI Supp. 11 (“In private meetings, Dr. Murthy

  demands that the platforms perform ‘defensive work’ to remove misinformation.”). The bulk of

  OSG’s communications with the social media companies, however, involved discussing the

  Surgeon General’s Advisory at a “high level.” See supra Defs.’ PFOF § II.B. OSG staff would tell

  the companies that they “hope[d]” they would review the Advisory and “would love to hear from

  [them] after it comes out, if you think there’s ways we can collaborate.” Waldo Dep. 89:16-19; see

  also id. at 109:1-4 (OSG asked Facebook “whether or not they would share what they were doing

  in response to the [A]dvisory, if they were taking any actions”). There is nothing about these

  communications that suggests that OSG is responsible for any social media company’s decisions,

  or that OSG somehow interfered with any company’s independent judgment regarding specific

  content moderation decisions or policies.

         Plaintiffs fail to offer any evidence that OSG significantly encouraged any action during

  its private meeting with Facebook on July 23, 2021, or that Facebook took any action in response.

  At Facebook’s request, Dr. Murthy and OSG staff met with Facebook on July 23. Id. at 96:2-8.

  Dr. Murthy created a “cordial atmosphere,” Id. at 107:1-2, and “want[ed] to have a better

  understanding of the reach of the mis- and disinformation” on Facebook, Id. at 98:18-22. Mr.

  Waldo did not recall OSG making any specific asks of Facebook, except that “specific questions

  were [asked] about understanding the data around the spread of misinformation and how we were




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  measuring that.” Id. at 35:20-23. And an offer was made to connect DJ Patil, the White House’s

  “data person,” to a person at Facebook, so that Dr. Patil could better understand Facebook’s data

  about the spread of misinformation. Id. at 112:1-10. It is inexplicable how this conversation could

  have rendered OSG responsible for any choices made by Facebook after the meeting.

         Throughout this litigation, Plaintiffs have cited a New York Times article for the proposition

  that Dr. Murthy had “a series of ‘angry’ and ‘tense’ meetings with platforms to demand that they

  remove misinformation.” PI Supp. 11 (citing Pls.’ PFOF ¶¶ 341-344, which in turn cite Zolan

  Kanno-Youngs & Cecilia Kang, ‘They’re Killing People’: Biden Denounces Social Media for

  Virus Disinformation, N.Y. Times (July 16, 2021)). Plaintiffs cited that article as justification for

  obtaining expedited discovery in support of the instant motion. See, e.g., Pls.’ Supp. Br.

  Addressing Fifth Circuit’s Deposition Order at 22 (Dkt. 137). Having now obtained written and

  deposition discovery from OSG, Plaintiffs can point to no evidence that Dr. Murthy ever had an

  “angry” or “tense” meeting with social media companies. The record demonstrates just the

  opposite: Mr. Waldo testified that he was “skeptical” of the Times’s reporting. See also Lesko ¶ 13

  (Ex. 63) (stating that there was no meeting where Dr. Murthy “angrily” said anything to Facebook,

  and “[t]o the extend the article can be read to suggest otherwise, it is wrong”). Unsurprisingly,

  Plaintiffs fail even to acknowledge this contrary evidence and continue to cite the Times article. PI

  Supp. 11. In this respect, as with every other claim against OSG, Plaintiffs have failed to carry

  their burden of showing that they are likely to succeed on the merits of their First Amendment

  claim. See also Defs.’ Resp. PFOF ¶¶ 253-92.

                 iii.    The RFI

         Plaintiffs argue that the Surgeon General’s March 2022 RFI “demand[ed] information from

  platforms about the spread of, and how to track, misinformation on their platforms.” PI Supp. 13.




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  The RFI did no such thing. The RFI states in clear terms: “The Office of the Surgeon General

  requests input from interested parties on the impact and prevalence of health misinformation in

  the digital information environment during the COVID-19 Pandemic . . . . Please feel free to

  respond to as many topics as you choose.” 87 Fed. Reg. at 12,712-13 (emphasis added). It also

  instructs that respondents should not submit their users’ “personally identifiable information.” Id.

  at 12,713; see also id. (“All information should be provided at a level of granularity that preserves

  the privacy of users.”). “Plaintiffs, in other words, have not plausibly established that the RFI is

  anything other than what it purports to be: a request.” Changizi, 602 F. Supp. 3d at 1055. See also

  Defs.’ Resp. PFOF ¶¶ 411-421.

         Moreover, Plaintiffs have not pointed to any specific conduct that has harmed them as a

  result of the RFI, or is imminently likely to do so. On April 7, 2023, OSG published the responses

  to the RFI. See Ex. 70 (excerpt of RFI responses). Those responses give no indication that the

  companies took action against any users in response to the RFI. The companies submitted

  information about the policies they already had in place—policies that were independently devised

  by the companies—and “metrics” about the enforcement of those policies. Twitter, for example,

  submitted a five-page document that provides a high-level overview of its actions related to

  COVID-19, including a description of Twitter’s policies since March 2020. Ex. 70 at 1-6.

  According to Twitter, since 2020, its “enforcement teams . . . challenged 11.7 million accounts,

  suspended 6,599 accounts and removed over 77,287 pieces of content worldwide.” Id. at 3.

  Twitter’s submission does not say anything about taking new action, let alone in response to the

  RFI or OSG’s conduct more generally.

             2. Plaintiffs fail to show “coercion” under Bantam Books.
         Plaintiffs also contend that the White House and the Surgeon General engaged in “pressure

  campaigns” against the social media companies that constituted “coercion,” and further assert that


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  “the other agencies discussed herein, such as CISA, the FBI, CDC, NIAID, and the GEC,” also

  engaged in “coercion” akin to that in Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963), “because

  of the background threats from senior federal officials, including both Defendants and their

  political allies,” either to repeal or reform § 230, or to escalate antitrust enforcement. PI Supp. 14-

  15. Here, too, they have shown no likelihood of success on the merits of their contention that the

  content moderation decisions made by social media companies resulted from “exercise[s] [of]

  coercive power” by Defendants, Blum, 457 U.S. at 1004, whether through their public remarks or

  in private discussions with the companies. Even if certain Defendants asked or urged the

  companies to do more to address misinformation on their platforms, the record reflects that any

  ensuing content moderation decisions they made ultimately “rested with” those companies. See

  La. Div. Sons of Confederate Veterans, 821 F. App’x at 320.

                 a. Plaintiffs fail to connect purported coercion to specific acts harming them.
         Plaintiffs’ coercion theory stumbles out of the gate because it improperly attempts to

  characterize as state action broad swathes of platform conduct covering entire categories of

  misinformation, instead of concrete applications of platforms’ policies to particular social media

  posts or accounts. But to give rise to state action not only must any purported government

  “pressure” be sufficiently coercive to render a third party’s actions attributable to the government,

  but such purported “pressure” must also be targeted at the specific actions that harmed the plaintiff.

  See Bantam Books, 372 U.S. at 61-62 (Free Speech Clause violation arose from state agency’s

  threats of prosecution if distributor did not remove “certain designated books or magazines

  distributed by him [that] had been reviewed by the [agency] and . . . declared … to be

  objectionable” (emphasis added)); Backpage.com, 807 F.3d at 230, 232 (sheriff’s letter demanded

  that two credit card issuers “prohibit the use of their credit cards to purchase any ads on” a

  particular website containing advertisements for adult services); Okwedy v. Molinari, 333 F.3d


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  339, 341-42 (2d Cir. 2003) (per curiam) (municipal official allegedly pressured billboard company

  to take down particular series of signs he found offensive). In all those cases—as in Bantam Books,

  and unlike in Blum—government officials had pressured the private entities in question to engage

  in (or refrain from) “the specific conduct of which the plaintiff complain[ed].” Blum, 457 U.S. at

  1004.

          In any event, Plaintiffs’ coercion theory is properly rejected, even assuming they could

  meet the specific conduct requirement—which they cannot.

                 b. Defendants made no threats and instead sought to persuade.
          Plaintiffs mischaracterize Defendants’ statements and communications as coercive, and

  their argument hinges on a fundamentally mistaken comparison between this case and Bantam

  Books, 372 U.S. 58. Plaintiffs contend that Defendants made “on-the-ground threat[s]” akin to

  those in Bantam Books, and that therefore the Defendants’ remarks cannot be characterized as

  “advice.” PI Supp. 14 (quoting Bantam Books, 372 U.S. at 68). That comparison is flawed, because

  it ignores the close connection between the state agency’s demands for the removal of particular

  publications and the threats of actual criminal enforcement at issue in Bantam Books. That

  connection is entirely absent here, where (other than Plaintiffs’ conjecture), there is no evidence

  that any Defendant asserted that the content moderation choices of social media companies would

  result in criminal (or civil) proceedings, or retaliatory government action of any kind. Plaintiffs

  therefore fail to recognize that under Bantam Books and the cases applying it, neither official

  reproach of private conduct nor calls for it to cease will give rise to state action so long as

  government officials do not pair their criticism—even of private speech—with threats of

  punishment.

          Bantam Books involved Rhode Island’s Commission to Encourage Morality in Youth,

  empowered by law “to investigate and recommend the prosecution of all violations” of a Rhode


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  Island indecency law, including by deeming non-obscene publications objectionable for “sale,

  distribution or display” to persons below age 18. See Bantam Books, 372 U.S. at 60-62 & n.1.

  After deeming a publication “objectionable,” the Commission routinely notified the publication’s

  distributor not to carry it, threatening prosecution under the state obscenity law for failure to

  comply. Id. at 61-62. Moreover, the Commission’s notices warned recipients that the state attorney

  general “will act for” the agency “in case of non-compliance.” See id. at 62 n.5. Following the

  Commission’s notices local police officers conducted inspections to inquire whether the distributor

  had removed the books and magazines in question from circulation. Id. at 63. Typically,

  distributors would return the materials to the publisher rather than face court action. See id.

         The Supreme Court held that, although the Commission’s notices were not themselves

  enforceable, compliance was nevertheless effectively compulsory because “[p]eople do not lightly

  disregard public officers’ thinly veiled threats to institute criminal proceedings against them if they

  do not come around[.]” Id. at 68. As the Court observed, the Commission’s “notices, phrased

  virtually as orders, reasonably understood to be such by the distributor, invariably followed up by

  police visitations, in fact stopped the circulation of the listed publications ex proprio vigore.” Id.

  (emphasis added). Thus, in Bantam Books, the Court determined “that even though the distributors

  would violate no law if they refused to cooperate with” the state agency, “compliance with the

  directives was [n]ot voluntary.” Penthouse Int’l, Ltd. v. McAuliffe, 610 F.2d 1353, 1355-56, 1360

  (5th Cir. 1980) (injunction warranted under Bantam Books where county attorney used “calculated

  scheme that included public announcements in the local newspapers, systematic visits to retailers

  of the magazines in question, and a program of carefully timed warrantless arrests” under state

  obscenity statute to effectively terminate sale of plaintiffs’ magazines within county).




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         But here, Plaintiffs’ bid to extend Bantam Books fails, because the record shows

  Defendants did not “phrase” their statements “virtually as orders,” the companies’ reactions to

  Defendants’ statements did not show that the companies “reasonably understood” those statements

  “as orders” (“virtually,” or otherwise), and by no means were the statements “followed up” by law

  enforcement “visitations.” The record does not show any Defendant conveyed to any social media

  company that any exercise of criminal, civil, or regulatory authority against it would result from

  “non-compliance” with a Defendant’s preferences regarding content moderation. There simply is

  no showing of “threats to institute criminal proceedings,” or threats of any kind, akin to those in

  Bantam Books. Cf. Multimedia Holdings Corp. v. Cir. Ct. of Fla., St. Johns Cnty., 544 U.S. 1301,

  1305 (2005) (Kennedy, J., in chambers) (“[a]lthough it is true that ‘[p]eople do not lightly disregard

  public officers’ thinly veiled threats to institute criminal proceedings,’ Bantam Books, [372 U.S.

  at 68],” relief was unwarranted from allegedly coercive state court orders purportedly presaging

  prosecution where, inter alia, “there [was] no suggestion that the judge who entered the

  orders . . . could institute such a proceeding”).

         Even where officials raise the prospect of government sanctions for disfavored conduct—

  evidence of which has not been shown here—any such “threats” must be more than fanciful to

  amount to coercion of a private entity such that private conduct becomes state action constrained

  by the Free Speech Clause. As the Ninth Circuit noted in rejecting a characterization of YouTube’s

  content moderation decisions as “state action,” remarks by government officials that “lack force

  of law” are “incapable” of sustaining a coercion theory. Doe v. Google LLC, No. 21-16934, 2022

  WL 17077497, at *2 (9th Cir. Nov. 18, 2022) (unpublished). That is, public officials must remain

  free in the public interest to criticize the conduct, including the speech, of private parties without




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  fear of begetting “state action,” so long, as here, their remarks are “devoid” of “any enforceable

  threats.” See VDARE, 11 F.4th at 1163 (citation omitted).

         Although the Fifth Circuit has not had occasion to examine the limits of Bantam Books for

  state action purposes, other circuits have repeatedly rejected efforts to expand its holding. For

  example, the Tenth Circuit in VDARE rejected a state action claim where a mayor had publicly

  encouraged a resort to “be attentive to the types of events they accept,” and the resort then

  cancelled its contract to host the organizational plaintiff’s conference. 11 F.4th at 1156-57, 1163-

  68, 1171-72 (citation omitted). The Third Circuit in R.C. Maxwell Co. v. Borough of New Hope,

  similarly rejected a claim of state action where a letter from the Borough Council caused a bank

  to remove the plaintiff’s billboards from the bank’s property, because in comparison to the threats

  of criminal prosecution in Bantam Books, the Council “could brandish nothing more serious than

  civil or administrative proceedings under a zoning ordinance not yet drafted.” 735 F.2d 85, 86 n.2,

  88 (3d Cir. 1984) (emphasis added). And the Second Circuit in Hammerhead Enters., Inc. v.

  Brezenoff, similarly rejected an attempted Bantam Books analogy, where a municipal official sent

  letters urging department stores not to sell a disfavored board game, because the official’s agency

  lacked “administrative power” over New York department stores, and “no credible evidence

  suggest[ed] that any store decided not to carry the board game as a result of [the] letter.” 707 F.2d

  33, 36-37 & n.2 (2d Cir. 1983). Such decisions show that “Bantam Books and its progeny draw a

  line between coercion and persuasion: The former is unconstitutional intimidation while the latter

  is permissible government speech.” O’Handley, 62 F.4th at 1163 (citing Am. Family Ass’n v. City.

  & Cnty. of S.F., 277 F.3d 1114, 1125 (9th Cir. 2002)). “This line holds even when government

  officials ask an intermediary not to carry content they find disagreeable.” Id.




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          The D.C. Circuit’s analysis in Penthouse International is also instructive. There, the U.S.

  Attorney General’s Commission on Pornography sent retailers a letter suggesting that if they

  continued to sell adult magazines, then they would be named in the Commission’s public report,

  and thus associated with promoting child abuse. As a result, one retailer that received the letter

  stopped selling adult magazines. Playboy Enters., Inc. v. Meese, 639 F. Supp. 581, 583-85 (D.D.C.

  1986). In litigation brought by publishers of the magazines, the D.C. Circuit concluded that the

  letter “contained no threat to prosecute, nor intimation of intent to proscribe the distribution of the

  publications,” and therefore did not violate the First Amendment. Penthouse Int’l, Ltd. v Meese,

  939 F.2d 1011, 1015 (D.C. Cir. 1991). The adult magazine plaintiff’s “threat” allegation “with the

  rhetoric drawn out says nothing more than that the Commission threatened to embarrass the

  [magazine’s] distributors publicly,” which was insufficient. Id. at 1016 (emphasis added). The

  D.C. Circuit did “not see why government officials may not vigorously criticize a publication for

  any reason they wish.” Id. at 1015. Indeed, “[a]s part of the duties of their office, these officials

  surely must be expected to be free to speak out to criticize practices, even in a condemnatory

  fashion, that they might not have the statutory or even constitutional authority to regulate.” Id.

  (emphasis added). Thus, the D.C. Circuit explained, “[a]t least when the government threatens no

  sanction—criminal or otherwise—we very much doubt that the government’s criticism or effort

  to embarrass the distributor threatens anyone’s First Amendment rights.” Id. at 1016. 80


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     Plaintiffs err in comparing this case to Backpage.com, LLC v. Dart, 807 F.3d 229 (7th Cir. 2015).
  In Backpage.com, the county sheriff sent letters to Visa and MasterCard asking that they
  “immediately cease and desist from allowing [their] credit cards to be used to place ads on websites
  like Backpage.com,” which had an “adult” section on its classified advertisements forum. Id. at
  230-31. The letters asserted that Visa and MasterCard had “the legal duty to file ‘Suspicious
  Activity Reports’ to authorities in cases of human trafficking and sexual exploitation of minors,”
  and cited the federal money-laundering statute, intimating that the “companies could be prosecuted
  for processing payments made by purchasers of the ads on Backpage that promote unlawful sexual
  activity, such as prostitution.” Id. at 232. The day after the sheriff sent the letters, his spokesperson



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          In agreement, other courts of appeals have held that “public officials may criticize practices

  that they would have no constitutional ability to regulate, so long as there is no actual or threatened

  imposition of government power or sanction.” See, e.g., Am. Family Ass’n, 277 F.3d at 1120, 1125

  (no Free Speech Clause violation where municipal resolution urged “local television stations not

  to broadcast advertising campaigns aimed at ‘converting’ homosexuals”); X-Men Sec., Inc. v.

  Pataki, 196 F.3d 56, 68 (2d Cir. 1999) (rejecting Free Speech Clause claim where legislators were

  alleged to have “made accusations against [a private security company], asked government

  agencies to conduct investigations into its operations, questioned [the company’s] eligibility for

  an award of a contract supported by public funds, and advocated that [the company] not be

  retained,” and noting that court was “aware of no constitutional right on the part of the plaintiffs

  to require legislators to refrain from such speech or advocacy”); see also Walker, 576 U.S. at 208

  (“[W]hen the government speaks[,] it is entitled to promote a program, to espouse a policy, or to

  take a position. In doing so, it represents its citizens[,] and it carries out its duties on their behalf.”);

  Block v. Meese, 793 F.2d 1303, 1314 (D.C. Cir. 1986) (Scalia, J.) (“[C]ontrol of government

  expression (which would always seem to fall in the category of political expression, the most

  protected form of speech) is no more practicable, and no more appealing, than control of political

  expression by anyone else.”).



  informed Visa and MasterCard that if they did not “sever ties with Backpage and its imitators,”
  the sheriff would highlight their “ties to sex trafficking” at a press conference. Id. at 233. The
  sheriff also “contacted the Inspector General of the United States Postal Service and the FBI,
  urging them to investigate the lawfulness of alternative payment methods for Backpage’s sex ads.”
  Id. at 237. Visa and MasterCard thereafter stopped allowing use of their cards to purchase ads on
  the website. Id. at 232. The Seventh Circuit therefore concluded that the sheriff’s credible threats
  and actions had violated the free speech rights of Backpage. Id. at 231. In this case, by contrast,
  there is no evidence that a Defendant “intimat[ed]” to any particular company that criminal
  proceedings could ensue from its specific content moderation decisions, or even that any
  Defendant vowed to “urg[e]” law enforcement agencies “to investigate the lawfulness” of such
  decisions. Id. at 232, 237.


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          Plaintiffs fail to address the circuit decisions that have declined to extend Bantam Books.

  They instead rely (PI Supp. 14) on Rattner v. Netburn, 930 F.2d 204, 209-10 (2d Cir. 1991), a

  decision that also fails to support Plaintiffs. Rattner held that a letter from a village official to the

  local Chamber of Commerce could “reasonably be viewed as an implicit threat” to boycott local

  businesses or otherwise retaliate if the Chamber continued to carry statements by the plaintiff in

  its local newspaper. Id. at 210 (emphasis added); see Zieper v. Metzinger, 474 F.3d 60, 69 (2d Cir.

  2007) (applying Rattner). But “consider[ing] the entirety of the defendants’ words and actions,”

  id. at 66, the evidence in Rattner showed that such a boycott “threat was perceived and its impact

  was demonstrable.” 930 F.2d at 210. Here, in contrast, no record evidence shows that social media

  companies “perceived” remarks by or communications from Defendants as “threats”—let alone

  that such a perception was objectively “reasonable,” or that it had any “impact” on the companies’

  decisions. In addition, the threat of a commercial boycott in Rattner (omitted from Plaintiffs’

  description of the case) “constituted a more direct economic sanction,” Zieper, 474 F.3d at 69, than

  anything like the backdrop of unspecified policy changes to § 230, and antitrust enforcement, that

  Plaintiffs rely on here. Indeed, none of the factors that the Second Circuit considers when

  evaluating claims of coercion-based state action—“(1) [officials’] word choice and tone; (2) the

  existence of regulatory authority; (3) whether the speech was perceived as a threat; and, perhaps

  most importantly, (4) whether the speech refers to adverse consequences”—supports finding state

  action in this case. See Nat’l Rifle Ass’n of Am. v. Vullo, 49 F.4th 700, 707, 715 (2d Cir. 2022),

  petition for cert. filed, No. 22-842 (U.S. Mar. 6, 2023).

          To the contrary, when Defendants’ private communications and public statements are

  viewed in “the[ir] entirety,” Zieper, 474 F.3d at 66, they manifest Defendants’ consistent

  acknowledgment that social media companies exercise sole control over content moderation on




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  their own platforms, and cannot be viewed as having “crossed the line between attempts to

  convince and attempts to coerce.” Vullo, 49 F.4th at 707 (quoting Zieper, 474 F.3d at 66); see also

  id. at 716-19 (rejecting claim of coercion where, inter alia, official’s request “did not refer to any

  pending investigations or possible regulatory action” and “did not ‘intimat[e] that some form of

  punishment or adverse regulatory action [would] follow the failure to accede to [it]’”) (quoting

  Hammerhead, 707 F.2d at 39). 81

          In denying Defendants’ motion to dismiss, this Court remarked that a threat need not “be

  enforceable in order to constitute coercive state action,” and that “the government actor making

  the threat need not possess the direct power or decisionmaking authority to enforce [it].” MTD

  Order 62 & n.206 (emphases added). Although some courts have concluded that the directness of

  authority is ‘not necessarily dispositive,” Okwedy, 333 F.3d at 343-44, it “is certainly relevant,”

  id. at 343. Indeed, it is highly probative of whether a threat is objectively realistic, and not fanciful,

  and therefore may constitute coercion. And the stringent requirements for state action foreclose

  the notion that an official’s remarks become “coercive” where, as here, they are “‘devoid’” of any



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    This case differs from Okwedy, even assuming that opinion reflects the Second Circuit’s current
  view of the law. Cf. Vullo, 49 F.4th at 716-18. In Okwedy, a minister contracted with a billboard
  company to display two billboards condemning homosexuality. 333 F.3d at 340. The borough
  president wrote a letter to the company criticizing the billboards and remarking that the company
  “derive[d] substantial economic benefits” from a “number of billboards” it owned in the borough.
  Id. at 342 (citation omitted). He also directed the company to contact his legal counsel to discuss
  the issues raised in his letter. Id. The company took the signs down that same day. Id. at 340. The
  Second Circuit concluded that between the borough president’s references to the “substantial
  economic benefits” the company received from its business within the borough, and his directive
  to contact the borough’s legal counsel, the company could reasonably fear that the president
  “intended to use his official power to retaliate against it if it did not respond positively to his
  entreaties.” Id. at 344. Here again, although some officials obviously expressed frustration over
  and dissatisfaction with overall trends in platform content moderation choices, that falls well short
  of showing that each Defendant manifested an “inten[t] to use his official power to retaliate
  against,” id., any social media company if the company did not engage in any particular act (or
  acts) of content moderation.


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  threats even indirectly enforceable. See VDARE, 11 F.4th at 1163 (quoting R.C. Maxwell, 735 F.2d

  at 88-89); Vullo, 49 F.4th at 716-19; see also Penthouse Int’l, 939 F.2d at 1015 (no coercion where

  “the Advisory Commission had no . . . tie to prosecutorial power” “equivalent” to Bantam Books,

  “nor authority to censor publications,” but where instead it leveled “no threat to prosecute, nor

  intimation of intent to proscribe the distribution of the publications”); cf. Multimedia Holdings,

  544 U.S. at 1305 (Kennedy, J., in chambers) (rejecting Bantam Books-based coercion claim where,

  inter alia, “there is no suggestion that the judge who entered the orders . . . could institute”

  allegedly feared “prosecution by virtue of the orders”). VDARE, R.C. Maxwell, Penthouse

  International, and Vullo, are the weight of authority on this point. As described above, each of

  those decisions rejected efforts akin to Plaintiffs’ here to expand Bantam Books because there was

  no “actual or threatened imposition of governmental power or sanction . . . ‘regulatory,

  proscriptive, or compulsory in nature.’” Penthouse Int’l, 939 F.2d at 1015 (quoting Laird v. Tatum,

  408 U.S. 1, 11 (1972)). 82

         In painting Defendants as making coercive “threats,” Plaintiffs also impermissibly ignore

  evidence reflecting Defendants’ recognition (and the companies’ too) that the companies remained

  firmly in “control” of their platforms, including how to handle specific content. See O’Handley,

  62 F.4th at 1156-57. Government officials are free to “vigorously criticize” private actions “for

  any reason they wish.” Penthouse Int’l, 939 F.2d at 1015. And here, Defendants’ remarks, even



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    The other two cases cited in the Court’s Rule 12(b) ruling also do not support analogy to Bantam
  Books. Peterson v. City of Greenville, 373 U.S. 244 (1963), held that the management of a
  restaurant engaged in state action when it excluded African-American patrons because municipal
  law required the exclusion. Id. at 248. No such enactment purports to require the content
  moderation choices challenged here. In National Rifle Ass’n of America v. Cuomo, 350 F. Supp.
  3d 94 (N.D.N.Y. 2018), although the District Court denied dismissal because it deemed the
  coercion allegations facially plausible, at a later stage of that action, the Second Circuit in Vullo
  essentially rejected the District Court’s reasoning.


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  those that ranked at most as “vigorous[] critici[sm],” consistently recognized their own ultimately

  advisory character: The officials clearly understood that what they said was advisory and “lack[ed]

  force of law.” See Doe, 2022 WL 17077497, at *2 (“acts . . . specifically directed at YouTube”

  that “lack force of law” are “incapable of coercing YouTube to do much of anything”). Thus, none

  of Defendants’ remarks on which Plaintiffs rely attempted to divest or succeeded in divesting any

  company of its autonomy and discretion to determine for itself which posts contained

  “misinformation,” and, if so, what to do about them.

                 c. Defendants consistently recognized social media companies’ authority over
                    their platforms and no evidence shows they engaged in improper “pressure.”
         Defendants address below the particular statements of the White House Press Secretary,

  the White House Digital Director, and the Surgeon General relied on by Plaintiffs, and then turn

  to Plaintiffs’ contention that “background threats” turned the remaining Defendants’ statements

  and actions into “coercion.” As we show, Plaintiffs’ attempt to depict remarks by various

  government personnel as a “pressure campaign” (PI Supp. 14, 18) is predicated on cherry-picking

  certain statements without regard to the context. That context shows that Defendants repeatedly

  acknowledged the social media companies’ independence and ultimate authority to make decisions

  regarding their terms of service and their application to particular content and accounts. Moreover,

  none of the challenged statements and communications threatened, overtly or otherwise, that

  “some form of punishment or adverse regulatory action [would] follow the failure to accede to”

  any of the government requests concerning misinformation on the companies’ platforms, let alone

  any specific requests (of which there were none) concerning Plaintiffs or their posts. Hammerhead,

  707 F.2d at 39. The challenged remarks therefore were not “coercive” for state action purposes.




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                 i.     White House Press Secretary

         During Press Secretary Psaki’s May 5, 2021, press briefing, she expressed the President’s

  view regarding social media platforms’ “responsibility” to “stop amplifying untrustworthy

  content, disinformation, and misinformation, especially related to COVID-19, vaccinations, and

  elections.” Ex. 147. Yet she also emphasized that the President “believe[s] in First Amendment

  rights” and that “social media platforms need to make” “the decisions” regarding “how they

  address the disinformation” and “misinformation” that “continue to proliferate on their platforms.”

  Ex. 147; see also supra Defs.’ PFOF § II.A.1; Defs.’ Resp. PFOF ¶¶ 123-124.

         Likewise, during the July 15, 2021 press briefing with the Surgeon General, Ms. Psaki

  remarked that the Government was “flagging . . . for Facebook” “problematic posts . . . that spread

  disinformation.” Ex. 40. But at the next day’s briefing she added that the Government does not

  “take anything down” or “block anything” and that social media platforms themselves, as “private-

  sector compan[ies],” “make[] decisions about what information should be on their platform[s],”

  Ex. 37. Ms. Psaki also reiterated that although government officials urged social media companies

  to address misinformation, the companies ultimately had to decide which strategies (if any) to

  adopt. “Any decision about platform usage and who should be on the platform,” she explained, “is

  orchestrated and determined by private-sector companies. Facebook is one of them . . . [a]nd there

  are a range of media who are—also have their own criteria and rules in place, and they implement

  them. And that’s their decision to do. That is not the federal government doing that.” Ex. 37. And

  when the news media later asked whether the Administration was “considering any regulatory or

  legal moves to possibly address disinformation on social media,” Ms. Psaki responded that it was

  “up to Congress to determine how they want to proceed moving forward.” Press Briefing by Press

  Secretary Jen Psaki, 2021 WL 3030746, at *2; see also Defs.’ Resp. PFOF ¶¶ 123-124, 141-162.




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                 ii.    White House Digital Director

         In a similar vein, Mr. Flaherty’s email correspondence with social media companies

  repeatedly manifests a shared understanding that Facebook and other companies remained fully in

  command of their content moderation decisions. Thus, when Facebook advised Mr. Flaherty that

  Tucker Carlson’s video discouraging COVID-19 vaccination did not violate its standards, Mr.

  Flaherty did not demand that Facebook nevertheless remove the video, or insist that the company

  change a policy, or threaten retaliation if Facebook failed to comply. Instead, he sought to better

  understand Facebook’s policies, how Facebook applied them, and how the White House could use

  the company’s public-data resource, CrowdTangle, to understand what content Americans were

  being exposed to on the platform. See supra Defs.’ PFOF § II.A.2.

         Although Mr. Flaherty used strong language at times, such language does not show

  coercion because it lacked any accompanying assertion that adverse consequences would follow

  if Facebook did not change its content moderation decisions. And when Mr. Flaherty shared with

  Facebook specific proposals concerning misinformation developed by third-party researchers, he

  emphasized that the White House was not insisting that Facebook adopt those proposals. Supra

  Defs.’ PFOF § II.A.2. The record fails to show that Mr. Flaherty threatened, or even alluded to,

  adverse consequences if the social media companies did not answer his questions, or if they

  declined to take action against particular posts or accounts. See, e.g., Dkt. 174-1 at 33 (asking

  Facebook, without mentioning any possible sanction, “[h]ow” a Tucker Carlson video was “not

  violative” of Facebook policies, and asking “[w]hat exactly is the rule for removal vs demoting?

  Moreover: you say reduced and demoted. What does that mean?”). Tellingly, the companies did

  not respond to Mr. Flaherty’s requests in a way indicating that they perceived Mr. Flaherty’s

  questions about COVID-19 misinformation trends on their platforms, and how the companies were




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  enforcing their policies, to be “threats.” See, e.g., Dkt. 174-1 at 42 (Facebook employee indicated

  understanding that the outside researchers’ “recommendations/observations” conveyed by Mr.

  Flaherty on April 23, 2021, had not come from within the White House). And far from instantly

  removing the “Disinformation Dozen” in the spring of 2021 after receiving the outside research

  “suggestions,” Facebook indicated that it would not do so because those 12 individuals “either

  d[id] not violate [its] policies or have ceased posting violative content,” and said so without any

  apparent concern that it would suffer any consequences at the Government’s hands for failing to

  remove them. Dkt. 174-1 at 42; see also Ex. 145 (“The remaining accounts associated with these

  individuals are not posting content that breaks our rules.”); Defs.’ Resp. PFOF ¶¶ 81, 82, 93-100,

  116-122.

                 iii.   The Surgeon General

         The Office of the Surgeon General likewise manifested respect for social media

  companies’ control over their own platforms. The Surgeon General’s Advisory, for example,

  proposed a range of potential content moderation measures—including labeling posts that contain

  misinformation—and cautions that companies should assess for themselves whether any measure

  might have “unintended consequences” or unjustifiably impede “free expression.” The Advisory

  did not purport to make that assessment for the companies, and certainly did not expressly or

  implicitly threaten the companies with adverse legal consequences if the recommendations were

  not accepted—indeed, the Surgeon General would lack authority to impose legal consequences.

  See Lesko Decl. ¶ 3 (Ex. 63); see also Advisory at 12 (proposing that social media companies

  might address misinformation by, among other things, “[p]rovid[ing] information from trusted and

  credible sources”). To the contrary, the Advisory expressly recognized that “[d]efining

  misinformation is a challenging task, and any definition has limitations.” Id. at 17. The Surgeon




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  General thus expressly urged social media companies to exercise their discretion in a way that

  “avoid[s] conflating controversial or unorthodox claims with misinformation.” Id. See also Defs.’

  Resp. PFOF ¶¶ 318-329.

         Nor can the Surgeon General’s March 2022 RFI reasonably be characterized as coercive.

  The RFI merely sought information, including “[i]nformation about sources of COVID-19

  misinformation” on social media and elsewhere. 87 Fed. Reg. at 12,713-14. Like the Surgeon

  General’s Advisory, the RFI imposed no obligations; responses were purely voluntary. See Lesko

  Decl. ¶ 6 (Ex. 63). This Court, in ruling on Defendants’ motion to dismiss, accepted as valid

  Plaintiffs’ characterization of the RFI as implicitly threatening to impose regulation. MTD Order

  61. Whether or not that characterization was facially plausible under Rule 12(b)(6), Plaintiffs have

  not adduced any evidence that the RFI threatened any regulatory consequence or that such a

  consequence could have followed. On its face, the RFI states that “HHS will consider the usability,

  applicability, and rigor of submissions in response to this RFI and share learnings from these

  responses with the public,” and that the “inputs from stakeholders will help inform future pandemic

  response in the context of an evolving digital information environment.” See 87 Fed. Reg. at

  12,713. Nothing in this RFI either expressly or implicitly threatened future regulation if social

  media companies failed to adopt content moderation policies and practices preferred by the

  Government. Indeed, as discussed above, the Surgeon General does not have independent

  regulatory authority, see, e.g., 31 Fed. Reg. 8855 (transferring the Surgeon General’s powers to

  what is now HHS), and thus cannot issue or enforce binding regulations. The RFI has not resulted

  in any proposed regulation. For their part, Plaintiffs cite no authority for the extraordinary notion

  that an agency’s publication of a request for information is coercive. Accordingly, Plaintiffs cannot




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  make a case of government coercion based on the Surgeon General’s RFI. See also Defs.’ Resp.

  PFOF ¶¶ 411-421.

                 d. Officials’ remarks about potential § 230 amendments and antitrust enforcement
                    raised legitimate policy questions and had no coercive effect.
         Plaintiffs seek to overcome the fatal deficiencies in their coercion theory by contending

  that the Defendants’ statements become coercive when viewed “against the backdrop” of alleged

  “threats” in Congress and from the Executive Branch to repeal or reform § 230, and to intensify

  antitrust enforcement against the companies. PI Supp. 15 (citing Pls.’ PFOF ¶¶ 1-30). That

  contention is mistaken in several respects.

         It bears emphasis from the outset that the record as a whole offers no evidence that certain

  legislators or Biden Administration officials have said they would refrain from advocating changes

  to § 230, or pursuing potential remedies under the antitrust laws, if social media companies

  intensified their content moderation measures as to any individual Plaintiff or particular residents

  of the Plaintiff States. Nor is there record evidence that a social media company has said that it

  took a particular content moderation measure because it inferred (let alone reasonably) the

  existence of a “threat” from any of the statements by Defendants. See Hammerhead, 707 F.2d at

  37 (no coercion where official’s remarks cannot “reasonably be interpreted as intimating that some

  form of punishment or adverse regulatory action will follow the failure to accede to the official’s

  request”); accord VDARE, 11 F.4th at 1163-65; R.C. Maxwell, 735 F.2d at 88-89; Penthouse Int’l,

  939 F.2d at 1014-16.

         But even considering on their own terms, as we do below, the smattering of legislative and

  Executive Branch remarks on which Plaintiffs rely, they fail to show that Defendants “coerced”

  social media companies to do anything (let alone to do anything that violated Plaintiffs’ Free




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  Speech Clause rights). All that occurred was part of a legitimate debate about § 230 and antitrust

  questions stemming from the economic ascendance of social media companies.

                 i.     Legislative Remarks and Hearings

         To start with Congress: The purported “backdrop” consists of several statements by

  individual nondefendant Representatives and Senators, but whether Defendants “threatened” or

  “coerced” entities in an unconstitutional sense “are conclusions and characterizations that must be

  supported” by evidence as to what Defendants, not nonparties “said and did.” Vullo, 49 F.4th at

  716. Assigning “coercive” effect to legislator remarks would be especially improper because only

  collective action by Congress, not the views of individual legislators, may alter federal laws. Cf.

  INS v. Chadha, 462 U.S. 919, 951-52 (1983). The Ninth Circuit thus rejected individual legislators’

  remarks as ground for characterizing YouTube’s content moderation as state action. Doe, 2022

  WL 17077497, at *2-3. The court concluded that (1) “statements by House Speaker Nancy Pelosi

  on possibly removing the protection provided to social media platforms under” § 230, (2) a “letter

  by Representative Adam Schiff” “encouraging the curbing of COVID-related misinformation on

  social media platforms,” and (3) “a statement by Speaker Pelosi” at an academic “forum on

  COVID calling for greater accountability for ‘the division and the disinformation proliferating

  online,’” were insufficient to constitute coercion as a matter of law—including because individual

  legislators’ remarks “lack[ed] force of law, rendering them incapable of coercing YouTube to do

  much of anything.” See id. at *2.83


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    The Ninth Circuit’s rejection of individual legislator remarks as legally sufficient for coercion
  was presaged by several prior district court decisions. See Informed Consent Action Network v.
  YouTube LLC, 582 F. Supp. 3d 712, 723 (N.D. Cal. 2022) (“publicly expressed views of individual
  members of Congress—regardless of how influential—do not constitute action on the part of the
  federal government” (quoting Daniels v. Alphabet, Inc., No. 20-cv-04687, 2021 WL 1222166, at
  *6 (N.D. Cal. Mar. 31, 2021))); accord Trump v. Twitter, Inc., 602 F. Supp. 3d 1213, 1224 (N.D.
  Cal. 2022) (rejecting as insufficient to plausibly allege state action “ambiguous and open-ended



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         Plaintiffs fare no better in attempting to rely on various congressional hearings that the

  legislators purportedly “used . . . as forums to advance . . . threats of adverse legislation if social-

  medial platforms do not increase censorship.” Pls.’ PFOF ¶¶ 4-7 (citing hearings on July 29, 2020;

  November 17, 2020; and March 25, 2021—the first two of which occurred before the Biden

  Administration took office). Plaintiffs’ characterization of the hearings as “coercive” “overlook[s]

  Congress’s role as an investigatory body,” which includes legislative “studies of proposed laws,

  and ‘surveys of defects in our social, economic or political system for the purpose of enabling the

  Congress to remedy them.” Trump v. Twitter, 602 F. Supp. 3d at 1224 (quoting Trump v. Mazars

  USA, LLP, 140 S. Ct. 2019, 2031 (2020)). The statements Plaintiffs selectively quote fall “within

  the normal boundaries of a congressional investigation, as opposed to threats of punitive state

  action,” id. at 1224, given the unarguable legitimacy of Congress “conducting investigative

  hearings on potential legislation,” see Schilling v. Speaker of U.S. House of Representatives, --- F.

  Supp. 3d ---, 2022 WL 4745988, at *8 (D.D.C. Oct. 3, 2002) (citing, inter alia, McSurely v.

  McClellan, 553 F.2d 1277, 1286 (D.C. Cir. 1976)), appeal filed, No. 22-5290 (D.C. Cir. Nov. 4,

  2022). The absence of Supreme Court decisions classifying legislative hearings as “coercing”

  private entities into becoming state actors is unsurprising given the leeway afforded to




  statements to the effect that ‘we may legislate’ something unfavorable to Twitter or the social
  media sector”), appeal filed, No. 22-15961 (9th Cir June 28, 2022); Abu-Jamal v. Nat’l Pub. Radio,
  No. 96-cv-0594, 1997 WL 527349, at *6 (D.D.C. Aug. 21, 1997) (radio network’s broadcasting
  decision was not state action where even if “individual members of Congress did call” network
  “in attempts to pressure it not to air” specified program, “not one of these people has any legal
  control over [network]’s actions”), aff’d, 159 F.3d 635 (D.C. Cir. 1998); see also Buentello v.
  Boebert, 545 F. Supp. 3d 912, 918 (D. Colo. 2021) (rejecting contention that state action doctrine
  applied to decision by an individual Member of Congress to block a follower of her personal
  Twitter account, noting that “member of Congress” holds “almost no power to act on behalf of the
  United States government”).


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  legislators—including via the Speech or Debate Clause, U.S. Const. art. I, § 6, cl. 1—to explore

  problems and potentially responsive enactments.

         Nor could the legislators’ remarks and their comments at hearings reasonably have been

  understood by social media companies as “threats,” when “consider[ing] the entirety of” their

  “words and actions.” Zieper, 474 F.3d at 66. The companies understand, as do the courts, that

  “enacting a bill is rarely fast or easy.” Trump v. Twitter, 602 F. Supp. 3d at 1224. And although

  legislators of both political parties have proposed amendments to § 230 as the economic power

  and influence of social media companies has grown sharply in the last decade, no such change has

  actually been enacted. Supra Defs.’ PFOF § I.E.

         The statute could perhaps one day be amended in a manner that would “alter the

  judgments” Congress “made in the past,” to account for “evolution” of social media companies

  since the statute became law in 1996. Cf. Henson v. Santander Consumer USA Inc., 582 U.S. 79,

  90 (2017) (Court did not “[d]oubt that the evolution of the debt collection business might invite

  reasonable disagreements on whether Congress should reenter the field and alter the judgments it

  made in the past”). But if the mere possibility of some (vague and unspecified) § 230 amendment

  were enough to constitute “coercion” triggering the state action doctrine here, then state action

  would be present everywhere. That is not the law.

         Plaintiffs also err in relying (PI Supp. 16-17) on personal views expressed by FBI Assistant

  Special Agent in Charge (ASAC) Elvis Chan in his master’s thesis, and his testimony, that certain

  social media company employees he talked with felt what he called “pressure” from inquiries made

  during congressional hearings, and platform meetings with congressional staff, “after 2016.” See

  Chan Dep. 123:1-3 (“I don’t recollect any of them using the specific word ‘pressure,’ but that was

  how I interpreted our conversations.”); id. at 125:22. No Members of Congress or legislative staff




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  are defendants here, so even if Plaintiffs’ characterization of ASAC Chan’s testimony were correct,

  that would not show that Defendants “essentially compel[led]” platform decisions. O’Handley, 62

  F.4th at 1158. Rather, as discussed above, the Constitution does not prohibit government officials

  from speaking their mind on matters of public concern, or of expressing their concerns in informal

  conversations. Rather, government officials may permissibly make public statements and advocate

  for change: “[O]fficials surely must be expected to be free to speak out to criticize practices, even

  in a condemnatory fashion,” but “[a]t least when the government threatens no sanction,” any such

  “effort to embarrass” a private entity is not an impermissible threat. See Penthouse Int’l, 939 F.2d

  at 1015-16.

         Moreover, Plaintiffs offer no evidence that the “pressure” ASAC Chan described came

  from legislators and staff Plaintiffs characterize as Defendants’ “political allies” (PI Supp. 15).84

  And ASAC Chan did not assert that what he called “pressure” was of such moment as to amount

  to “coercion” under the state action doctrine—that is a fanciful legal characterization Plaintiffs

  attach to ASAC Chan’s testimony. Cf. Doe, 2022 WL 17077497, at *2-3 (House Speaker

  comments “on possibly removing the protection provided to social media platforms” under § 230

  among events found insufficient to show “state action” under compulsion or nexus theories).

         Also missing is evidence that the so-called “pressure” sought to compel action against

  specific posts or accounts, or that it was understood by (or acted on) by any company as such. To

  the contrary: Asked whether social media companies “changed their practices and became more



  84
    For example, Plaintiffs emphasize (PI Supp. 16) a statement in ASAC Chan’s master’s thesis
  (which reflected only his academic views, not the FBI’s views) that an October 31, 2017 Senate
  Judiciary Committee hearing “provided politicians with the occasion to exert pressure on the
  companies to make constructive changes to their platforms” (Chan Ex. 1 at 48-49 (Dkt. 204-2)),
  while entirely ignoring that the pertinent Senate committee hearing was chaired by a Republican
  Senator, because Republicans then held the Senate majority.


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  active in account takedowns” after the meetings with congressional staffers, ASAC Chan

  answered: “No. I would not connect those two events.” Chan Dep. 125:15-21. The “pressure”

  ASAC Chan testified about therefore did not have the effect on particular content moderation

  choices Plaintiffs contend it had. See also Defs.’ Resp. PFOF ¶¶ 945-961.

                ii.     Executive Branch Remarks and Actions

         Also misconceived is Plaintiffs’ contention that remarks from President Biden or his

  Administration concerning potential amendments to § 230, or raising the prospect that the growing

  economic power of social media companies may implicate the antitrust laws, contributed to

  “coercion.” The Defendants here are within the Executive Branch, and could not unilaterally

  amend § 230, as that of course would require action by both houses of Congress and the President.

         Moreover, the remarks Plaintiffs strain to depict as “coercive” did not telegraph that

  Defendants would press Congress to enact any particular legislation if social media companies did

  not intensify their content moderation. For example, Ms. Psaki said at an April 2022 news

  conference that “there are . . . reforms that we think Congress could take and [that] we would

  support taking, including reforming [§] 230, enacting antitrust reforms, requiring more

  transparency.” Ex. 42 (emphasis added); Pls.’ PFOF ¶ 197. But neither Ms. Psaki nor any other

  Defendant announced actual proposed language for any such amendment. The possibility of § 230

  “reform” thus resembles the “zoning ordinance not yet drafted” that the Third Circuit in R.C.

  Maxwell ruled insufficient to support an analogy to the “criminal prosecution under existing

  statutes” threatened in Bantam Books: The mere prospect of “civil or administrative proceedings”

  under that undrafted ordinance, the court of appeals ruled, was an insufficient “quantum of

  governmental authority” to constitute “coercion.” R.C. Maxwell, 735 F.2d at 88. Indeed, the

  Supreme Court has never held that government officials’ references to (unspecified) statutory




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  “reform” (or even actual proposed legislation sent to Congress for consideration) could be

  “coercive.” Notably, then-Missouri Attorney General tweeted himself: “Get rid of section 230

  protections, treat them like common carriers, bust up #BigTech.” Ex. 32. That shows Plaintiffs

  themselves did not behave as though government official calls for statutory reform (or even

  revocation) were inherently “coercive,” but rather were part of a legitimate debate.

         It would in any event be extraordinary to prohibit the Executive Branch from identifying

  concerns about the conduct of businesses within the United States and asserting that a statutory

  amendment might be appropriate to address those concerns, merely because such statements on

  matters of public concern might influence the conduct of private actors in a way that affects speech.

  Cf. U.S. Const. art. II, § 3 (the President “shall” recommend to Congress “such Measures as he

  shall judge necessary and expedient”); see also Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.

  579, 587 (1952) (Recommendations Clause assigns President “function[]” of “recommending . . .

  laws he thinks wise”). 85


  85
     The “coercion” claim cannot be sustained by extrinsic statements of Mr. Biden before taking
  office. This Court’s ruling on the motion to dismiss accepted as plausible Plaintiffs’ allegations
  that comments candidate Biden made in January 2020 (about potential criminal or civil liability
  for Facebook and its executives due to misinformation on that platform) were “coercive.” Compare
  MTD Order 62 & n.203 (attributing comments to “President Biden”), with 2d. Am. Compl. ¶¶ 191-
  92 (discussing comments of “candidate” Biden) and Pls.’ PFOF ¶¶ 20-21 (same). But precedent
  does not support assigning coercive effect to such candidate comments. The candidate remarks at
  issue here are no more consequential than those in Trump v. Hawaii, 138 S. Ct. 2392 (2018). In
  assessing an unconstitutional discrimination claim there, the Court considered but ultimately
  rejected “extrinsic statements—many of which were made before the President took the oath of
  office,” where the statements did not overcome the facial neutrality of the President’s rationale for
  his action when he was in office. Id. at 2418-19. Leeway for candidate rhetoric is guaranteed by
  the Free Speech Clause, which “has its fullest and most urgent application precisely to the conduct
  of campaigns for political office,” Buckley v. Valeo, 424 U.S. 1, 15 (1976) (citation omitted). Cf.
  Washington v. Trump, 858 F.3d 1168, 1173-74 (9th Cir. 2017) (Kozinski, J., dissenting) (opining
  that “[n]o Supreme Court case—indeed no case anywhere that I am aware of—sweeps so widely
  in probing politicians for unconstitutional motives[,]” and given that “[c]andidates say many things
  on the campaign trail” that “are often contradictory or inflammatory,” reliance on candidate’s
  campaign statements is “unworkable”).


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         Plaintiffs’ effort to depict as coercion limitations that could be placed on social media

  companies under the antitrust laws is similarly incomplete and incorrect. Plaintiffs have failed to

  show that any decision under the antitrust statutes bears a concrete nexus to Defendants’ efforts to

  address misinformation on social media. Tellingly, Plaintiffs omit evidence of antitrust

  enforcement measures proposed or taken against social media companies that well predated the

  tenure of many Defendants and that also predated the misinformation-focused remarks Plaintiffs

  paint as coercive. For example, during the Trump Administration, then-Attorney General Barr

  explained in a speech in December 2019: “Concerns about online platforms have come from a

  wide variety of stakeholders, across the political spectrum. Indeed, almost every State AG is now

  participating in publicly announced antitrust investigations of Google and Facebook . . . . [W]e

  have a good cooperative relationship in these efforts.” Ex. 148 at 2 (William P. Barr, Att’y Gen.,

  Remarks at the National Association of Attorneys General 2019 Capital Forum (Dec. 10, 2019),

  2019 WL 6715208). One example of such parallel federal and state allegations of antitrust

  violations by an online platform is found in Federal Trade Commission v. Facebook, Inc., No. 20-

  cv-3590 (D.D.C.) (public redacted version of under-seal complaint filed Jan. 13, 2021, before

  President Biden entered office). There, the FTC alleged that conduct by Facebook, including

  acquisition of Instagram and WhatsApp, was harmful to competition. See FTC v. Facebook, Inc.,

  581 F. Supp. 3d 34 (D.D.C. 2022) (denying motion to dismiss amended complaint). Notably,

  attorneys general for multiple states, including the two State Plaintiffs here, brought their own

  action predicated on similar antitrust allegations. See New York v. Facebook, Inc., 549 F. Supp. 3d

  6, 13 (D.D.C. 2021) (dismissing States’ action), aff’d sub nom. New York v. Meta Platforms, Inc.,

  --- F.4th ---, 2023 WL 3102921 (D.C. Cir. Apr. 27, 2023). The commencement of the FTC’s suit

  prior to the Biden Administration, and the two Plaintiff States’ participation in a multi-state




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  antitrust action raising similar allegations, undermines Plaintiffs’ contention that proposals for

  antitrust enforcement against platforms are inherently coercive “threats” (whether aimed at

  platform content moderation choices or anything else).

         Additionally, Plaintiffs’ mischaracterization of § 230 as an unconstitutional subsidy akin

  to the one invalidated in Norwood v. Harrison, 413 U.S. 455 (1973), PI Supp. 50, rips that case

  from its context. There is of course no basis for interpreting Norwood as somehow dispensing with

  Plaintiffs’ obligation to satisfy the established state action requirements under cases such as Blum

  before the acts of private social media companies can legally be attributed to Defendants. Cf. Watts

  v. Northside Indep. Sch. Dist., 37 F.4th 1094, 1097-98 (5th Cir. 2022) (citing Norwood in the

  course of applying Blum and other state action precedents). The question presented in Norwood

  was not, as here, whether the State could be held responsible for the conduct of private parties.

  Rather, the question was whether the State’s own conduct—furnishing free textbooks to segregated

  private schools—was itself constitutional. The Court held no, explaining “the Constitution does

  not permit the State to aid [racial] discrimination even when there is no precise causal relationship

  between state financial aid to a private school and the continued wellbeing of that school.”

  Norwood, 413 U.S. at 465-66. “[T]he constitutional infirmity of the Mississippi textbook

  program,” therefore, was “that it significantly aid[ed] the organization and continuation of a

  separate system of private schools which . . . may discriminate if they so desire.” Id. at 467. Here,

  Defendants do not “operat[e]” or provide “significant[] aid” to private social media platforms in

  the first place, much less do so contrary to the affirmative constitutional obligation to refrain from

  racial discrimination. See id. at 465. Plaintiffs’ reliance on Norwood is therefore misplaced.

             3. Deception is not a freestanding basis for state action and is lacking here.
         Next, Plaintiffs advance a newfound “deception” theory that relates only to two distinct

  allegations: (1) that the FBI is responsible for suppression of the Hunter-Biden laptop story; and


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  (2) that Dr. Fauci is responsible for suppression of a wide array of content relating to COVID-19.

  PI Supp. 18-29. These arguments lack merit. At the start, “deception” is not an independent legal

  basis for attributing a private entity’s acts to the Government under the state action doctrine.

  Instead, it is an invention of Plaintiffs’ own making, cut out of whole cloth to fit their allegations

  of First Amendment violations against the FBI and Dr. Fauci, which are plainly deficient under

  well-settled state-action doctrine. In any event, Plaintiffs’ new deception theory, even if it were

  legally tenable, is unsupported by the record. On the contrary, the record here squarely rebuts

  Plaintiffs’ allegations that the FBI or Dr. Fauci deceived (or attempted to deceive) anyone. Thus,

  neither the law nor the facts support Plaintiffs’ First Amendment claims based on a “deception”

  state-action theory.

                  a. There is no “deception” test for state action.
          Neither the Supreme Court nor the Fifth Circuit has ever recognized “deception” as an

  independent test for “state action.” See, e.g., Bass v. Parkwood Hosp., 180 F.3d 234, 241-42 (5th

  Cir. 1999) (listing “public function,” “compulsion (or coercion),” and “nexus or joint action” tests,

  without identifying “deception” as an independent state action test). Plaintiffs’ contention that

  “deception” is a distinct test for state action hinges on a mischaracterization of the Ninth Circuit’s

  decision in George v. Edholm, 752 F.3d 1206 (9th Cir. 2014).

          In George, the Ninth Circuit denied summary judgment on the “state action” issue based

  on evidence that two policemen misrepresented the plaintiff’s medical condition to a (private)

  doctor “with the intent of inducing” the doctor to perform an allegedly illegal cavity search of the

  plaintiff resulting in the discovery of a plastic baggie containing cocaine. Id. at 1215. Critically,

  “there [was] evidence . . . that [two officers] . . . physically assisted [the private party] by turning

  [the plaintiff] on the table and holding his legs, and that [one officer] emphasized . . . the necessity

  for prompt action in removing the cocaine.” Id. at 1216. Thus, the issue for trial was whether the


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  policemen “provided ‘significant encouragement, either overt or covert,’ to [the doctor],” and

  “‘induce[d], encourage[d] or promote[d]’” the doctor “to do what he would not otherwise have

  done,” “such that” the doctor’s “actions” were “attributable to the state,” without suggesting that

  “deception” was a distinct basis for such a finding. Id. Far from analyzing the purported

  misrepresentations as an adequate or independent test for state action, the Ninth Circuit considered

  those misrepresentations in applying the same state action tests the Fifth Circuit has identified.

  Compare id. at 1215, with Bass, 180 F.3d at 241-42. Indeed, the Ninth Circuit only concluded that

  the private doctor’s conduct “could be attributed to the state” because “a reasonable jury could

  conclude that [the officers] provided false information, encouragement, and active physical

  assistance to” the doctor. George, 752 F.3d at 1216 (emphasis added).

         Neither George nor any of the other cases Plaintiffs cite suggests that evidence of

  misrepresentations independently suffices to show state action. To show that any social media

  content moderation action is attributable to some Defendant, Plaintiffs thus must satisfy one of the

  tests the Supreme Court has recognized, such as the coercion test.

                 b. The record contradicts Plaintiffs’ allegations of deceit and trickery.
         In any event, the record rebuts Plaintiffs’ assertions that the FBI or Dr. Fauci, on behalf of

  NIAID, engaged in “deception.” Rather than evincing any deceptive conduct, the record shows

  that dedicated public servants used their knowledge and skill to provide information or other

  resources to the public as a whole, and private companies in particular, which social media

  companies may (or may not) have considered when determining whether and how to moderate

  certain categories of content on their platforms. Plaintiffs’ characterization of the government

  officials’ conduct as “deceitful” is, ironically, based on gross mischaracterizations of the evidence.




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                 i.     FBI

         Plaintiffs contend that the FBI “engaged in a campaign of deception to induce social-media

  platforms to censor the Hunter Biden laptop story,” a contention built on two mistaken premises—

  that (1) the FBI “had no investigative basis” for warning platforms about hack-and-leak or hack-

  and-dump operations by Russian state-sponsored actors ahead of the 2020 election, and

  (2) platforms took content moderation measures against the “Hunter Biden laptop story” because

  FBI statements “left” them “with the clear impression that the Hunter Biden laptop materials were,

  in fact, hacked materials.” PI Supp. 27-29.

         First, the snippet from ASAC Chan’s testimony that Plaintiffs cite, in which he stated that

  the FBI was “not aware of” hack-and-leak “operations that were forthcoming or impending,” when

  viewed in proper context, neither stated nor implied that the FBI lacked an “investigative basis”

  for its warnings, as Plaintiffs contend. Id. at 27-28 (quoting Pls.’ PFOF ¶ 893); see Chan Dep.

  192:19-24. ASAC Chan testified: “[W]hat we mentioned was that there was the general risk of

  hack-and-leak operations, especially before the election. However, we were not aware of any hack-

  and-leak operations that were forthcoming or impending.” Chan Dep. 192:19-24. Plaintiffs lack

  any ground for arguing that the “general risk” ASAC Chan described was an inadequate basis for

  FBI’s general warnings to social media companies about the potential risk of hack-and-leak

  operations. Nor is there evidence the FBI misstated the basis for its warnings.

         “Investigative basis” is an amorphous term Plaintiffs do not attempt to define, but in any

  event, the FBI did have a factual basis for the 2020 warnings. Start with the indictment the

  Government obtained in 2018 against 12 members of the GRU, a Russian Federation intelligence

  agency within the Main Intelligence Directorate of the Russian military, for committing federal

  crimes intended to interfere with the 2016 U.S. presidential election: Those GRU members




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  engaged in a well-documented effort to hack into the computer networks of the Democratic

  Congressional Campaign Committee, the Democratic National Committee, and the presidential

  campaign of Hillary Clinton, and then released that information on the internet. See, e.g., Ex. 135.

  Because Russia had pursued a hack-and-dump effort in 2016, the FBI viewed it as “possible”

  Russia would do so again in 2020. Chan Dep. 221:3. The FBI’s warnings reflected an abundance

  of caution given the skills of the Russian hackers shown in 2016. Supra Defs.’ PFOF § II.H.1;

  Chan Dep. 173:18-174:13, 203:16-204:1, 208:7-12. The record does not support Plaintiffs’

  apparent assumption that the FBI’s 2020 warnings were improper because the risk of a repetition

  was zero or negligible. And Plaintiffs do not even attempt to justify their further assumption that

  such warnings would only have been appropriate if the risk of recurrence of hack-and-dump efforts

  was so high as to be “impending.” PI Supp. 37 (emphasis added); see also Defs.’ Resp. PFOF

  ¶¶ 880, 893.

         Plaintiffs also fail to address (let alone explain), statements during the Trump

  Administration that place the allegedly improper warnings Chan described in proper context.

  President Trump in 2018 declared an emergency to deal with the unusual and extraordinary threat

  presented by “the ability of persons located . . . outside the United States to interfere in or

  undermine public confidence in United States elections, including through the unauthorized

  accessing of election and campaign infrastructure or the covert distribution of propaganda and

  disinformation.” 83 Fed. Reg. at 46,843 (emphasis added). He repeated that finding twice,

  including on the eve of the 2020 election. 84 Fed. Reg. 48,039; 85 Fed. Reg. 56,469. “The Russian

  effort to influence the 2016 presidential election,” then Deputy Attorney General Rod J. Rosenstein

  noted in a July 2018 speech, “is just one tree in a growing forest. Focusing merely on a single

  election misses the point. As [Director of National Intelligence Dan Coats] made clear, ‘these




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  actions are persistent, they are pervasive, and they are meant to undermine America’s democracy

  on a daily basis, regardless of whether it is election time or not.’” Ex. 149 at 2 (Rod J. Rosenstein,

  Deputy Att’y Gen., Remarks at the Aspen Security Form (July 19, 2018), 2018 WL 3471764).

  Multiple Cabinet agencies went on to explicitly state in March 2020 that “foreign actors continue

  to try to influence public sentiment and shape voter perceptions,” and that “[t]hey spread false

  information and propaganda about political processes and candidates on social media in hopes to

  cause confusion and create doubt in our system.” Ex. 132 (joint statement of Mar. 2, 2020). Another

  announcement in September 2020 sought to “raise awareness of the potential threat posed by

  attempts to spread disinformation regarding the results of the 2020 elections.” That statement noted

  that “[f]oreign actors and cybercriminals could create new websites, change existing websites, and

  create or share corresponding social media content to spread false information in an attempt to

  discredit the electoral process and undermine confidence in U.S. democratic institutions.” Ex. 133

  (FBI and CISA announcement of Sept. 22, 2020).

         Although those statements did not use the hack-and-dump jargon, they show that FBI and

  other agencies raised serious concerns about foreign influence operations ahead of and close in

  time to the 2020 election, further undermining Plaintiffs’ notion that the FBI’s more particularized

  warnings to platforms about potential hack-and-dump operations before the 2020 election were

  somehow improper.

         Second, the record shows the FBI did not raise the “Hunter Biden Laptop Story” in its

  warnings before October 14, 2020, when the New York Post “broke” that story. Rather, the record

  establishes that Twitter made the independent and temporary decision to limit circulation of the

  New York Post story on its platform, and that the decision did not involve the FBI in any way.

  Supra Defs.’ PFOF § II.H.2. Other than one inquiry by a Facebook analyst about what the FBI




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  could “share” about the Hunter Biden investigation after the New York Post published its story,

  and the FBI’s “no comment” response, ASAC Chan was not aware of any communications related

  to the Hunter Biden Laptop Story between the FBI and Facebook, Chan Dep. 233:22-234:3,

  Twitter, id. at 233:8-21, Apple or Microsoft, id. at 234:6-7, or any other platform, id. at 234:4-5.

         Plaintiffs heavily rely on statements made in a declaration that Yoel Roth, Twitter’s former

  Senior Director for Trust and Safety, submitted to the Federal Elections Commission (FEC) in

  2020. Plaintiffs emphasize (PI Supp. 38) Mr. Roth stated in that 2020 declaration that, in “regular

  meetings” he attended with the FBI and other agencies “and industry peers regarding election

  security,” he had “learned” that “there were rumors that a hack-and-leak operation would involve

  Hunter Biden.” Chan Ex. 8 (Roth Decl.) ¶¶ 10-11 (Dkt. 204-5). But Mr. Roth did not say in his

  2020 declaration from whom he heard those rumors; much less did he attribute them to

  Government personnel. And Mr. Roth has clarified, in sworn congressional testimony in 2023, that

  he intended the declaration to state that another social media company, rather than the Federal

  Government, mentioned at a meeting that there was the possibility of a hack and leak operation

  concerning Hunter Biden. Mr. Roth explained that the Federal Government did not share that

  perspective or provide information to Twitter concerning this issue, emphasizing that his 2020

  declaration “does not suggest that the FBI told [him] it would involve Hunter Biden.” Ex. 2 at 43;

  see also id. at 37, 46. Similarly, ASAC Chan’s testimony that he did not discuss the Hunter Biden

  Laptop Story with Facebook before October 14, 2020 reinforces the statement in the October 25,

  2022 letter by Meta’s counsel to this Court that “ASAC Chan at no point in time advised Meta ‘to

  suppress the Hunter Biden laptop story.’ Nor did any of his colleagues.” Dkt. 96 at 2 (Ex. A).

          The recent congressional testimony also refutes Plaintiffs’ assertion that the FBI in 2020

  “induced” revisions to platform hacked materials policies or the application of those policies to




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  the “Hunter Biden Laptop Story.” PI Supp. 27. Twitter grounded its decisions concerning the New

  York Post story on a 2018 policy that “prevent[ed] Twitter from being used to spread hacked

  materials,” but decided within 24 hours that its initial decision was wrong and removed the

  restrictions. Ex. 137 at 5-6; Ex. 2 at 5; see also Defs.’ Resp. PFOF ¶¶ 880-904, 1083-1087.

                 ii.     Dr. Fauci, in his prior role as the Director of NIAID

         As with the FBI, Plaintiffs’ arguments regarding Dr. Fauci, in his prior role as Director of

  NIAID, are legally and factually meritless. Again, “deception” is not a cognizable basis for finding

  state action. The record is also utterly lacking factual support for Plaintiffs’ “deception” theory

  involving Dr. Fauci.

         Plaintiffs assert that Dr. Fauci worked with former NIH Director Dr. Francis Collins or

  other Biden Administration officials to “orchestrate[] a series of campaigns of deceit to procure

  the censorship of viewpoints he disfavored on social media.” PI Supp. 19. Ultimately, Plaintiffs’

  allegations amount to nothing more than a disagreement with the correctness of Dr. Fauci’s or

  other scientific experts’ conclusions about the origin, treatment, or prevention of COVID-19. They

  have nothing at all to do with content moderation on social media platforms, let alone violations

  of the First Amendment.

         Indeed, Plaintiffs spend seven pages on arguments about (1) Dr. Fauci’s involvement in

  internal discussions among an international group of virologists about the origins of COVID-19,

  (2) whether Dr. Fauci correctly concluded that hydroxychloroquine is not an effective treatment

  for COVID-19, (3) Dr. Fauci’s views on the efficacy of face masks, (4) Dr. Fauci’s criticism of

  the “focused protection” strategy espoused by the Great Barrington Declaration, and (5) Dr.

  Fauci’s public expression of “horror” at people cheering over refusing a life-saving vaccine. PI

  Supp. 19-27. Strikingly absent from these discussions is any allegation that Dr. Fauci ever publicly




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  or privately spoke to any social media company about his views on the above issues—let alone

  that he did so in a manner that could be considered threatening or coercive (or “deceptive”). In

  fact, Dr. Fauci testified time and time again that he has never asked a social media company “to

  remove misinformation from one of [its] platforms,” Fauci Dep. 152:21-24, and indeed does not

  “pay attention to what social media organizations like Google and YouTube and Twitter . . . do,”

  id. at 239:21-24.86 And despite Plaintiffs’ voluminous filings, they have provided no evidence to

  rebut this testimony.

         So what is the resulting state action, and First Amendment violation, arising from Dr.

  Fauci’s internal discussions and public comments about COVID-19? According to Plaintiffs:

  “[s]ocial media platforms . . . follow[ing] Dr. Fauci’s lead,” “accepting [Dr. Fauci’s]

  proclamation[s]” as to the “scientific consensus,” and choosing to “censor[]” content on their

  platforms that ran counter to that consensus. PI Supp. 25 (emphasis added). But the social media

  companies’ decisions to consider the conclusions of Dr. Fauci and other scientific experts when



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     See also Fauci Dep. 99:5-9 (“You know, I’m so dissociated from social media. I don't have a
  Twitter account. I don't do Facebook. I don't do any of that, so I’m not familiar with that. I've never
  gotten involved in any of that.”); id. at 210:3-8 (“So social media stuff, I don’t really pay that much
  attention to.”); id. at 213:13-16 (“Like I said, my association with social media is almost zero. I
  don’t have an account. I don’t tweet. I don’t pay attention to social media. I wouldn’t know how
  to access a tweet if you paid me.”); id. at 235:21-22 (“I don’t get involved in social media stuff.”);
  id. at 241:6-13 (“I do not get involved in any way with social media. I don’t have an account, I
  don’t tweet, I don’t Facebook, and I don’t pay attention to that. . . . I don’t pay attention to what
  gets put up and put down on social media.”); id. at 241:23-242:1 (“I don’t pay attention to social
  media issues. That’s something I don’t do. I don’t follow it. I don’t have an account. I don’t follow
  it.”); id. at 280:3-7 (“I’m not aware of anything being censored. Like I said multiple times—and
  I’ll repeat it again—I don’t follow what goes on social media, censoring or otherwise. That’s not
  something that I pay attention to.”); id. at 281:24-282:2 (“I don’t pay attention to that whole culture
  of social media censoring or not censoring. I’ve said that maybe 50 times today. That’s not what I
  do.”); id. at 312:8-9 (“I really don’t get involved in social media issues.”); id. at 357:8-13 (“My
  way of countering false information, and I’ve been on the record multiple times as saying that, is
  that my approach is to try to [] flood the system with the correct information as opposed to
  interfering with other people’s ability to say what they want to say.”).


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  determining what content to allow on their platforms does not make Dr. Fauci (or any other

  scientist) legally responsible for those decisions, Blum, 457 U.S. at 1004, and certainly does not

  amount to a First Amendment violation. A contrary conclusion would have far-reaching, and

  dangerous, ramifications. Accepting this theory of state action in the First Amendment context

  would mean that any time a government official expresses views or gives scientific advice, the

  official could be in danger of violating the First Amendment if a social media company simply

  considers those views or advice in its own decision-making process. Yet neither NIAID nor any

  other agency may presume to control whether or how a social media company, or any other third

  party, uses the health information that it makes public. To avoid running afoul of the First

  Amendment, then, NIAID—which is tasked with “advanc[ing] the understanding, diagnosis, and

  treatment of many of the world’s most intractable and widespread diseases,” including

  “tuberculosis and influenza, HIV/AIDS,” and COVID-19, see Ex. 86—would have to refrain from

  promoting critical health information that can save lives. It would be precluded from carrying out

  its statutory purpose to “conduct and support . . . research, training, health information

  dissemination, and” participate in “other programs with respect to” such diseases. 42 U.S.C. § 285f

  (emphasis added); see also id. § 284(b)(1)(F) (granting NIAID authority to “develop, conduct, and

  support public and professional education and information programs”). Plaintiffs’ proposed

  “deception” theory of state action must be rejected for this reason alone. See Summum, 555 U.S.

  at 467 (a government entity “is entitled to say what it wishes” (citation omitted)).

         Indeed, it is worth noting that Plaintiffs seem to have constructed their amorphous

  deception theory—articulated for the very first time in their supplemental brief, despite Dr. Fauci

  being named in the original complaint in May 2022—to account for the complete absence of any

  evidence of communications between Dr. Fauci and social media companies about




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  misinformation. Earlier in this case, in justifying the deposition of Dr. Fauci, Plaintiffs claimed

  that “Dr. Fauci is directly involved in multiple, far-reaching social-media censorship campaigns

  against so-called COVID-19 ‘misinformation.’” Joint Stmt. Regarding Witness Depositions at 5

  (Dkt. 86) (emphasis added). In seeking Dr. Fauci’s deposition, Plaintiffs expressed skepticism

  about the accuracy of NIAID’s interrogatory responses indicating that Dr. Fauci did not have any

  direct communications with social-media platforms about “censorship”; Plaintiffs insisted that,

  contrary to those responses, Dr. Fauci “acted on behalf of others” in procuring” “social media

  censorship.” Id. at 10. Now, tacitly acknowledging that Dr. Fauci’s deposition testimony failed to

  substantiate those assertions, Plaintiffs abandon them for an invented theory that turns not on Dr.

  Fauci’s interactions with social media companies (or any other relevant facts) but instead on

  unfounded speculation that Dr. Fauci sought to deceive the public about COVID-19. Yet the very

  notion that Dr. Fauci, together with highly respected scientists from around the world, orchestrated

  a “campaign to deceive” anyone—including social media companies—is built on distortions of

  the evidence and baseless attacks on Dr. Fauci’s credibility stemming from his testimony on

  matters irrelevant to Plaintiffs’ First Amendment claim.

         § The Origins of COVID-19. Plaintiffs’ primary “deception” theory is that Dr. Fauci

  worked with former NIH Director Dr. Francis Collins 87 and an official from a British research

  organization (Dr. Jeremy Farrar88) to “discredit and suppress the opinion that SARS-CoV-2, the

  virus that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology[.]” PI

  Supp. 19. According to Plaintiffs, the alleged conspiracy formed during a purportedly “clandestine

  . . . call” on February 1, 2020, during which the participants allegedly entered into a plan to


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     Dr. Collins stepped down as Director of NIH in December 2021. Ex. 151 at 1 (A Farewell to
  Dr. Francis Collins, Nat’l Insts. of Health (Dec. 16, 2021), https://perma.cc/5Q48-NJAD).
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     Dr. Farrar does not work for the United States Government and is not a Defendant in this case.


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  “manufacture the appearance of scientific consensus against the lab-leak theory,” id. at 21, which

  culminated in the publication of a research article by non-federal officials refuting that theory—

  all for the “purpose of . . . suppress[ing] the lab leak theory in both ‘main stream and social

  media,’” id. at 24 (citation omitted). Plaintiffs contend that the “conspiracy succeeded” when

  social media platforms decided to “aggressively censor[] the lab-leak theory well into 2021.” Id. 89

         To support this accusation, Plaintiffs misconstrue internal discussions documented in email

  exchanges between Dr. Fauci and other scientists in early 2020. That correspondence flatly

  contradicts Plaintiffs’ deception theory. The record shows that, on February 1, 2020, Dr. Jeremy

  Farrar invited a group of international scientists (including Dr. Fauci and Dr. Collins) to participate

  in a call later that day. See Fauci Ex. 8 at 9-10 (Dkt. 206-9). The invitation stated that the

  “[i]nformation and discussion” was to be “shared in total confidence and not to be shared until

  agreement on next steps.” Id. at 10. Contrary to Plaintiffs’ characterization of this instruction, it

  plainly does not suggest that the call was meant to be “clandestine.” PI Supp. 21. On the contrary,

  the point was to allow for an initial convening of an “ad hoc group” to “air some thoughts” about

  the participants’ “current understanding” of the scientific data—while also identifying “the many

  gaps in [their] knowledge”—with the aim of obtaining a “broader range of input” going forward.



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     Plaintiffs’ use of the phrase “lab-leak theory” implies that there is only one theory concerning
  how SARS-CoV-2, the virus that causes COVID-19, may have emerged from a laboratory in
  Wuhan, China. In fact, multiple diverging “lab-leak” theories have emerged. One theory is that
  SARS-CoV-2 was intentionally engineered in a laboratory and deliberately or accidentally
  released. Another is that SARS-CoV-2 was inadvertently created in a lab during serial passage
  experiments and accidently spread beyond the lab. Yet another is that SARS-CoV-2 naturally
  occurred in the wild, was being studied in a lab, and was accidentally spread beyond the lab by
  infected researchers. See Pls.’ Jones Decl. Ex. AA at 6 (“Those suspecting a lab-related incident
  point to an array of possible scenarios, from inadvertent exposure of a scientist during field
  research to the accidental release of a natural or manipulated strain during laboratory work.”); Ex.
  99 (Joel Achenbach, What we know about covid-19’s origins, and what is still a mystery, Wash.
  Post (Mar. 1, 2023)) (discussing “versions of the lab leak theory”).


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  Fauci Ex. 8 at 9 (Dkt. 206-9). Thus, the group’s next step after the call, according to Dr. Farrar,

  was to encourage “a body like the WHO . . . to ask or commission a group of scientists from around

  the world to ask [a] neutral question[:] ‘To understand the evolutionary origins of 2019-nCoV[.]”

  Id. at 5. “In other words,” the goal was to develop “a completely open minded and neutral question”

  relating to the origins of COVID-19 and commission “the best minds” to consider it, “under the

  umbrella of a respected international agency.” Id. at 10. Doing so was “important for this epidemic

  and for future risk assessment and understanding of animal/human coronaviruses.” Id. at 5.

         Most participants on the call also believed that a broader group should convene

  immediately, before the question of COVID-19’s origins became “polari[z]ed” and

  “people . . . start[ed] to look to who to blame”—which could “increase tension and reduce

  cooperation” necessary for objective inquiry. Fauci Ex. 8 at 7 (Dkt. 206-9). That would undermine

  the group’s shared goal of “really continu[ing] to pursue what actually happened in order to prepare

  for and prevent similar things from happening in the future.” Fauci Dep. 102:13-103:7.90 For

  instance, Dr. Farrar noted that, already, “questions [we]re being asked by politicians, . . . in the

  scientific literature, [and] certainly on social and main stream media.” Fauci Ex. 8 at 7 (Dkt. 206-

  9). Thus, he found it imperative for a group to convene without delay “to consider the evolutionary

  origins of [the virus], with an open mind, neutral, and in a transparent way[.]” Id. In his view,

  immediate objective analysis might “prevent wild claims being made.” Id. That was so even if the

  issue “remain[ed] grey” after a group convened. Id. at 3. Dr. Farrar believed that even “grey, from

  a respected group, under the umbrella of let us say WHO, would in itself help!” id.




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     Others identified another reason for urgency in addition to discovering the source of the virus:
  if the virus did come from a “non-human host, pre-adapted, it [could] threaten control efforts
  through new zoonotic jumps.” Fauci Ex. 8 at 6 (Dkt. 206-9).


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         After the call, the group continued internal discussions about various theories surrounding

  COVID-19’s origins. Their email exchanges reflect a shared desire for “open minded and neutral”

  scientific inquiry, id. at 10, as several virologists voiced competing initial views on the theories

  surrounding the origins of the COVID-19 virus. Some opined that “a non-natural origin of 2019-

  nCoV is highly unlikely at present,” id. at 7; others stated that they favored the view that the virus

  originated through events a laboratory, id. at 3-4; and others responded that their view “[wa]s

  completely neutral,” id. at 7. Dr. Collins, for his part, conveyed that he “hadn’t given much

  consideration to the idea of lab-based evolution by tissue-culture passage” that one scientist

  presented, and he agreed that the idea “[wa]s worth including on the list of options” to be

  examined. Id. at 3. And as Dr. Kristian Andersen expressed in another email to Dr. Fauci and Dr.

  Farrar, while “some of the features” of the virus “(potentially) look[ed] engineered” on an initial

  review of the data, he believed it was important to “look very critically at” the issue and “there

  [we]re still further analyses” to be done, so “opinions could still change.” Fauci Ex. 6 at 1 (Dkt.

  206-7). Amidst the uncertainty, what was clear to the participants was that the issue was “very

  complex,” Fauci Ex. 8 at 5 (Dkt. 206-9), that they alone did not have all the answers, id. at 9, and

  that opinions could evolve as new information was considered, id.

         Dr. Fauci’s participation in these discussions was limited. He apparently did not respond

  at all to the email exchanges involving the entire group on the call or share his thoughts on the

  origins of COVID-19. Instead, he emailed Dr. Farrar separately on the afternoon of February 2,

  2020, to apologize for taking “so long to weigh in on [Dr. Farrar’s] e-mails,” and to convey only

  that he agreed with the urgency of convening a broader group. Id. at 2 (including Dr. Collins and

  another NIH employee on the email). “Like all of us,” Dr. Fauci wrote, “I do not know how this

  evolved, but given the concerns of so many people and the threat of further distortions on social




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  media, it is essential that we move quickly. Hopefully, we can get WHO to convene.” Id.; see also

  Fauci Dep. 126:13-18 (“[T]he theme of everything that was going on at the time” was to “get

  WHO moving on getting the convening . . . so that evidence and data could be openly discussed.”).

  That Dr. Fauci did not weigh in on the substantive question of the virus’s origin is entirely

  consistent with his deposition testimony. He testified that, because he is “not an evolutionary

  virologist,” he is “not qualified . . . to make any kind of definitive determination about whether a

  genome could or could not be a laboratory construct or experimentally manipulative.” Id. at

  121:22-122:2. Accordingly, he “relied, as anyone would, [on] highly qualified, respected

  evolutionary virologists” to examine the evidence. Id. at 122:3-5.

         Separately, and around the same time as the February 1, 2020 call, Dr. Andersen and four

  other expert virologists (two of whom may have been included on Dr. Farrar’s invitation to the

  February 1 call91) were looking into the issue further and developing a research paper with their

  analysis. 92 Their paper, titled “The Proximal Origin of SARS-CoV-2,” was eventually published

  in Nature Medicine, a scientific journal,93 on March 17, 2020. Fauci Ex. 24 at 3 (Dkt. 206-25)

  (with link to online publication). The paper stated that “[o]ur analyses clearly show that SARS-

  CoV-2 is not a laboratory construct or a purposefully manipulated virus.” Id. at 1.


  91
      Co-authors Dr. Andrew Rambaut (located in Edinburgh, UK) and Dr. Edward Holmes (in
  Sydney, Australia) are on the email chain following the February 1 call. Fauci Ex. 6 at 9 (Dkt. 206-
  7).
  92
     Plaintiffs allege that these virologists only began drafting their paper after the February 1 call,
  PI Supp. 21, but there is no evidence in the record indicating when the authors began their research.
  The evidence actually suggests that Dr. Andersen and Dr. Holmes were considering the issue and
  examining the data before the February 1 call. See Fauci Ex. 6 at 1 (Dkt. 206-7) (January 31, 2020
  email from Dr. Andersen informing Dr. Fauci of his initial impressions in advance of the call,
  referring to an article that quotes him and Dr. Holmes).
  93
     “Nature Medicine is a monthly journal publishing original peer-reviewed research in all areas
  of medicine on the basis of its originality, timeliness, interdisciplinary interest and impact on
  improving human health. . . . All editorial decisions are made by a team of full-time professional
  editors.” Ex. 152 at 1 (Journal Information, Nature Medicine, https://perma.cc/2MD3-H6SV).


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          Before the article’s publication, Dr. Farrar had forwarded several drafts of the paper, which

  Dr. Holmes had sent to him, to Dr. Fauci and Dr. Collins. As with the email discussions after the

  February 1 phone call, Dr. Fauci testified that he had “very little input into” those drafts. Fauci

  Dep. 196:1-8. As Dr. Fauci explained, he would not have had much input because they

  “involve[d]” issues of “very complicated evolutionary virology of which [he is] not an expert.” Id.

  at 124:9-14. 94 Indeed, the record contains no evidence that Dr. Fauci ever responded to Dr. Farrar’s

  emails with any substantive input on the drafts. 95

          These are the facts on which Plaintiffs attempt to build their claim against Dr. Fauci. But

  the facts contradict Plaintiffs’ assertion that there was a “clandestine” call whose participants

  formed a conspiracy with the “stated purpose” of “suppress[ing] the lab-leak theory” on “social

  media.” PI Supp. 24. On the contrary, the facts show that a group of international virologists sought

  to urgently and openly investigate “what actually happened” to cause the COVID-19 virus, before

  politics or the spread of unfounded theories in mainstream media and social media interfered with

  the objective inquiry needed to properly combat the virus and defend against the risk of future



  94
     See also Fauci Dep. 114:4-15 (“I remember getting a paper and looking at it. I don’t believe I
  had any substantive comments on it, just by reading it. Because that’s not my lane, evolutionary
  virology.”); id. at 120:10-20 (“My recollection is I really didn’t have any meaningful comments
  on [the draft] because it . . . would be involved in a lot of complicated evolutionary virology that
  is not my lane.”); id. at 124:21-24 (“I might have looked at [the draft], but I certainly didn’t make
  any meaningful comments since this is outside of my lane of expertise.”); id. at 127:10-13 (“Again,
  I had very little input or even interpretation of the . . . information because it was in an area that is
  not my area of expertise.”).
  95
     Plaintiffs assert that Dr. Andersen thanked Dr. Fauci for his “advice and leadership” in an email
  and suggest that provides evidence that Dr. Fauci played a significant role in the drafting of the
  paper. PI Supp. 23. But the cited email shows nothing of the sort. The cited email is from Dr.
  Andersen to Drs. Farrar, Fauci, and Collins. In it, Dr. Andersen thanks all of them for their “advice
  and leadership as we have been working through the SARS-CoV-2 ‘origins’ paper,” and informs
  them “that the paper was just accepted by Nature Medicine and should be published shortly (not
  quite sure when).” Fauci Ex. 22 at 1 (Dkt. 206-23). Dr. Andersen also shares “the accepted version”
  of the paper in order to “keep [them] in the loop[.]” Id.


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  outbreaks. Fauci Dep. 102:22. The facts show no agreement to attempt to “suppress” speech on

  any medium that promoted any particular theory of the virus’s origins.

         Importantly, Plaintiffs reference not a single public or private communication by Dr. Fauci

  or anyone else about the “lab-leak” theory that was directed, publicly or privately, at a social media

  company. Instead, Plaintiffs pin the culmination of the alleged conspiracy to deceive on the

  following public and private statements: First, roughly one week after the article’s publication, Dr.

  Collins wrote on the “NIH Director’s Blog” online that the article refuted “outrageous claims that

  the new coronavirus causing the pandemic was engineered in a lab and deliberately released to

  make people sick.” See Fauci Ex. 25 at 1 (Dkt. 206-26). Second, in April 2020, Dr. Fauci responded

  to an email from Dr. Collins expressing concern about the “growing momentum” of the theory that

  COVID-19 started in a lab, Fauci Ex. 27 at 1-2 (Dkt. 206-28), with, “I would not do anything about

  this right now. It is a shiny object that will go away in times.” Id. at 2. Third, and also in April

  2020, Dr. Fauci was asked at a White House press conference to address “concerns that th[e] virus

  was somehow manmade, [and] possibly came out of a laboratory in China,” Fauci Ex. 28 at 2 (Dkt.

  206-29); he responded by explaining that a recent study by “highly qualified evolutionary

  virologists” found that the data were “totally consistent with a jump of a species from an animal

  to a human.” Id.96 After the press conference, one member of the press reached out to Dr. Fauci’s

  office to obtain a copy of the study Dr. Fauci was referring to, and Dr. Fauci passed along three

  “links to the scientific papers and a commentary about the scientific basis of the origins of SARS-

  CoV-2,” including a link to “The Proximal Origin of SARS-CoV-2.” Fauci Ex. 29 (Dkt. 206-30).


  96
     At the press conference, then-President Trump followed up after a brief line of questioning
  directed at Dr. Fauci by saying that he was “very satisfied with the decision [the Administration]
  made” to “listen[] to experts” and “many others.” Fauci Ex. 28 at 3 (Dkt. 206-29). Had the
  Administration not done so, the President said, “we could have lost more than 2 million people. I
  really believe that.” Id.


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  These statements, most of which simply promote information, and none of which was directed at

  a social media company, hardly show any effort to “suppress” the “lab-leak theory” on social

  media.

           This evidence contradicts every premise on which Plaintiffs construct their novel and

  legally unsupported “conspiracy to deceive” narrative. That narrative is built on fiction, not fact.

  See also Defs.’ Resp. PFOF ¶¶ 598-756. Plaintiffs resort to baseless and irrelevant attacks on Dr.

  Fauci’s credibility. Woven throughout their elaborate reconstruction of the events is a request for

  the to Court disregard Dr. Fauci’s testimony as “not credible,” and, presumably, to accept

  Plaintiffs’ factually unsupported retelling of the events instead. See PI Supp. 20. Plaintiffs’ sole

  argument against Dr. Fauci’s credibility—that he, like any other deponent, responded with some

  variation of “I do not recall” in his deposition when he did not recall the answer to a question,

  id.—is spurious. Plaintiffs obscure the details that Dr. Fauci could not recall by referring, without

  elaboration, to a long string cite to paragraphs of their proposed findings of fact. Id.97 Following

  the trail from that string cite to the deposition transcript reveals that the details Dr. Fauci could not

  recall were irrelevant and trivial matters such as: when and where he met a scientist years ago,

  Fauci Dep. 32:32-33:3; when he became aware of a particular article in 2020, id. at 31:21-32:3;

  who was copied on an email sent three years ago, id. at 55:5-8; whether he recalled, from eight

  years ago, the initiation of a grant he was not responsible for approving, id. at 21:21-22:23; what

  he remembered saying in a televised interview in July 2021, id. at 340:25, 342:13-18; and whether

  he was aware of communications between social media companies and other federal officials in

  which Dr. Fauci was not personally involved, id. at 328:20-329:7, among other immaterial matters.



  97
     Elsewhere, Plaintiffs make the same accusation by simply citing nearly the entire deposition
  transcript. PI Supp. 20 (citing Pls.’ PFOF ¶ 620, in turn citing Fauci Dep. 22:21-352:18).


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  That Dr. Fauci—then responsible for running NIAID, with an annual budget of more than $6

  billion, 2,000 employees, and 1,300 funded principal investigators—could not remember these

  irrelevant and trivial details is unremarkable.98 In any litigation, even as to relevant information,

  witness “memories fade” “with the passage of time.” Star Sys. Int’l Ltd. v. Neology, Inc., No. 4:18-

  CV-00574, 2019 WL 679138, at *2 (E.D. Tex. Feb. 19, 2019) (citation omitted).

         Plaintiffs do not explain how Dr. Fauci’s failure to remember such minutiae from between

  two and eight years ago “contradicts the documentary evidence” or otherwise undermines his

  credibility. Plaintiffs fail to substantiate their very serious suggestion that Dr. Fauci—who was

  testifying under oath—was deliberately withholding information. An unadorned string cite to their

  brief does not suffice. Nor does their submission of a cut and spliced audio-recording of Dr. Fauci’s

  deposition, which removes all context in which to assess his testimony and Plaintiffs’ serious

  accusations against him. If the Court chooses to watch the audiovisual-recording of Dr. Fauci’s

  deposition, Defendants urge the Court to watch the full recording—which shows Dr. Fauci making

  a concerted effort to answer each question as thoroughly as possible, and provide as many details

  as possible, even where his memory is hazy (despite being repeatedly cut off or instructed to

  provide less information by opposing counsel, see Fauci Dep. 47:5-21 (“paus[ing]” Dr. Fauci’s

  answer regarding details of the February 1, 2020 call and asking him “not to go off on . . . a

  tangent”); id. at 127:13-128:8 (interrupting Dr. Fauci’s response to counsel’s questions relating to

  the receipt of a draft research paper); id. at 134:6-135:12 (interrupting Dr. Fauci’s answer

  “provid[ing] context” about an email he sent to Dr. Farrar).




  98
    See also Defs.’ Resp. PFOF ¶¶ 609, 612, 620, 628-630, 636, 642, 647, 651, 662-664, 666-668,
  670, 685, 686, 690, 7702, 703, 708, 710, 722, 730, 733, 737, 746, 750, 753, 766, 772, 789, 798,
  805, 807-809, 825, 849, 890-892.


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         In any event, Plaintiffs’ baseless attacks on Dr. Fauci’s credibility do not fill the gaping

  holes in their legally unsupported deception theory, which the evidence contradicts.

         § Other COVID-19-related topics. The remaining narratives supporting Plaintiffs’

  deception theory are likewise built on a contortion of the record and have nothing to do with

  content on social media platforms—and everything to do with Plaintiffs’ substantive disagreement

  with the conclusions and recommendations of Dr. Fauci and other scientific experts, which is

  irrelevant to their First Amendment claim. Plaintiffs allege that, “[h]aving succeeded so

  dramatically in suppressing the lab-leak theory through deception, Dr. Fauci,” in coordination with

  others, “continued . . . the same tactic of deceptively creating a false appearance of scientific

  consensus to procure the censorship of disfavored viewpoints on social media.” PI Supp. 24. In

  support, Plaintiffs lodge a series of complaints about Dr. Fauci’s views on issues such as the

  effectiveness of facemasks or particular treatments for COVID-19, among other things.

         But none of Dr. Fauci’s publicly or privately expressed views has any connection to speech

  on social media. Plaintiffs do not allege that Dr. Fauci discussed any of his views with a social

  media company, or that he demanded any company moderate content opposed to his views. Nor

  do Plaintiffs allege that a social media company made any particular content moderation decision

  because of any such demand. Instead, they assert that social media companies’ content moderation

  decisions were consistent with (or “followed”) Dr. Fauci’s publicly expressed views on various

  matters. PI Supp. 24-25. Yet the mere fact that social media companies may have considered the

  public statements of Dr. Fauci (or any other civil servant) in making their own decisions about

  what content to allow on their platforms does not suggest that Dr. Fauci intended to deceive any

  company into moderating content on its platform in a manner consistent with his views. See Defs.’

  Resp. PFOF ¶¶ 757-776 (regarding efficacy of hydroxychloroquine), 777-808 (regarding the Great




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  Barrington Declaration), 828-39 (masking), 840-852 (Alex Berenson). That is particularly so

  considering Dr. Fauci’s repeated testimony that he does not “pay attention to social media” Fauci

  Dep. 213:13-16. Rather, as Dr. Fauci testified, his “approach” to “countering false information,”

  “is to try to [] flood the system with the correct information as opposed to interfering with other

  people’s ability to say what they want to say.” Id. at 357:8-13. And he is entitled to take that

  approach. As the former Director of NIAID and Chief Medical Advisor to the President, Dr. Fauci

  was “entitled to say what [he] wishes . . . and to select the views that [he] want[ed] to express[.]”

  Summum, 555 U.S. at 467-68 (citations omitted). Finding that Dr. Fauci’s publicly (or privately)

  expressed views render him “responsible for,” Blum, 457 U.S. at 1004, the decision of a social

  media company and thus violates the First Amendment would, ironically, transform the First

  Amendment into a tool for muzzling routine government speech.

                                               *     *    *
         In short, Plaintiffs’ attempt to impugn the character of these public servants is built on a

  distortion of the factual record that, ultimately, is irrelevant to their First Amendment claims.

  Plaintiffs fail to show any likelihood of success on the merits of their newly constructed

  “deception” state-action theory, which lacks any factual or legal basis. A preliminary injunction

  against the FBI or NIAID on this basis is unwarranted.

             4. Plaintiffs fail to show that any Defendant jointly participated in any particular
                content moderation decision.
         Additionally, Plaintiffs contend that various Defendants acted as “joint participants” with,

  and both “conspired” and “colluded” with, social media companies, and so those companies

  content moderation decisions amount to state action. PI Supp. 29. As discussed below, Plaintiffs’

  supporting facts are unsupported by the record and otherwise do not establish the type of joint

  action necessary to hold the Government responsible for private conduct.




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         To meet the state action requirement via the joint action test, a plaintiff must show that “the

  government act[ed] jointly with the private entity.” Manhattan Cmty. Access Corp., 139 S. Ct. at

  1928 (citing Lugar v. Edmondson Oil Co., 457 U.S. 922, 941-42 (1982)). As with every other

  formulation of the state-action tests, the joint action inquiry “begins by identifying the specific

  conduct of which the plaintiff complains.” Moody, 868 F.3d at 352 (quoting Cornish, 402 F.3d at

  550); Cornish, 402 F.3d at 550 (requiring the plaintiff to “establish ‘a sufficiently close nexus

  between the State and the challenged action,”—there, the termination of the plaintiff’s

  employment—“of the regulated entity” (quoting Blum, 457 U.S. at 1004)). The plaintiff must then

  show that, as to that particular private action, the Government “so far insinuated itself into a

  position of interdependence with the [private actor] that it was a joint participant in the enterprise.”

  Bass, 180 F.3d at 242 (quoting Jackson, 419 U.S. at 357); see also Howard Gault Co. v. Tex. Rural

  Legal Aid, Inc., 848 F.2d 544, 555 (5th Cir. 1988) (state action found where there was “heavy

  participation” by the government in private decisions such that the “activities of the State” and the

  private parties were “interlocking”). In other words, the Government must have played an

  “indispensab[le]” and “meaningful role in the mechanism leading to the disputed act.” Frazier v.

  Bd. of Trs. of Nw. Miss. Reg’l Med. Ctr., 765 F.2d 1278, 1287-88 (5th Cir.), amended, 777 F.2d

  329 (5th Cir. 1985). This standard cannot be not satisfied based only on the private party’s

  “generalized relation with the state.” Id. at 1287. Instead, “the state” must have played an

  “affirmative role[] in the particular conduct underlying” the plaintiff’s “grievance.” Id. at 1286.

         In addition, the plaintiff must show that the joint action flowed from an agreement between

  a private party and government official to achieve the “specific conduct of which the plaintiff

  complains.” Moody, 868 F.3d at 352-54 (“conspiracy or joint action” tests failed where those

  circumstances were lacking) (citation omitted). Applying that standard here, there is no meeting




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  of the minds, and thus no state action, where a social media company independently applies its

  terms of service to moderate content on its platform. See O’Handley, 62 F.4th at 1156 (holding

  that because “Twitter acted in accordance with its own content-moderation policy when it limited

  other users’ access to [plaintiff’s] posts and ultimately suspended his account[],” Twitter “did not

  operate as a state actor”); Huber v. Biden, No. 21-CV-06580-EMC, 2022 WL 827248, at *5 (N.D.

  Cal. Mar. 18, 2022) (dismissing conspiracy claim between the President and Twitter where Twitter

  suspended plaintiff’s account for violating company’s terms of service), aff’d, 2023 WL 17818543

  (9th Cir. Dec. 20, 2022); Doe v. Google, No. 20-cv-07502-BLF, 2021 WL 4864418, at *5 (N.D.

  Cal. Oct. 19, 2021) (rejecting state action claim under joint action theory because there were “no

  allegations that Defendants invoked state or federal procedure to bring about the suspension of

  Plaintiffs’ accounts”), aff’d, 2022 WL 17077497 (9th Cir. Nov. 18, 2022). Plaintiffs cannot satisfy

  this “meeting of the minds” requirement by referring only to “generalized statements about

  working together to counteract the dissemination of election misinformation.” O’Handley v.

  Padilla, 579 F Supp. 3d 1163, 1184 (N.D. Cal. 2022), aff’d sub nom., O’Handley v. Weber, 62

  F.4th 1145 (9th Cir. 2023).

         The Fifth Circuit has emphasized that the joint participation standard is not easily met. In

  Howard Gault Co. v. Texas Rural Legal Aid, Inc., the Fifth Circuit held that a group of onion

  growers were functionally state actors when they pursued a lawsuit and a temporary restraining

  order to stop a labor strike. 848 F.2d at 555. The court found dispositive that the growers, seizing

  upon “deep-seated community hostility toward the strike,” hired attorneys who were at the same

  time “criminal district attorneys” and who repeatedly acted in their official capacity to collaborate

  in the lawsuit with “the Attorney General of the State of Texas” and the County sheriff. Id. As the

  court explained, “[t]he interlocking activities of the State . . . and the growers constituted a joint




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  effort” such that the growers’ conduct, “while not compelled by the state, was so ‘significantly

  encouraged, both overtly and covertly, that the choice must in law be deemed to be that of the

  state.” Id. (alterations omitted) (quoting Blum, 457 U.S. at 1004). The court was careful to

  “emphasize that the growers cannot be considered state actors merely because they invoked a state

  statute[;]” rather, “[i]t was the heavy participation of [the] state and state officials” in the growers’

  lawsuit that satisfied the state action requirement. Id. (emphasis added).

          In addition, the fact that social media companies may act on a large number of posts

  identified by a government agency does not demonstrate that the social media companies acted

  “jointly” with the Government:

          That Twitter and Facebook allegedly removed 98 percent of the posts flagged by
          [the state] does not suggest that the companies ceded control over their content-
          moderation decisions to the State and thereby became the government’s private
          enforcers. It merely shows that these private and state actors were generally aligned
          in their missions to limit the spread of misleading election information. Such
          alignment does not transform private conduct into state action.

  O’Handley, 62 F.4th at 1156-57.

      Here, as a general matter, Plaintiffs’ “joint participation” theory fails because regardless of

  what Defendants allegedly communicated, the social media companies “retained ultimate control”

  over the content allowed on their platforms. Frazier, 765 F.2d at 1287-88. Defendants are not

  “indispensab[le]” to any “particular” content moderation actions, nor do they have access to the

  “mechanism” by which those moderation actions occur (the private platforms’ internal technical

  systems), much less play a “meaningful role” in that mechanism. Id. As explained below,

  Plaintiffs’ allegations with respect with specific Defendants fail for a number of other reasons.

                  a. Plaintiffs fail to show that, by sharing information about COVID-19, CDC or
                     the Census Bureau jointly participated in any content moderation decision.
          Plaintiffs’ allegations against CDC and the Census Bureau do not demonstrate joint

  participation between those agencies on the one hand, and social media companies on the other, in


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  the companies’ content moderation decisions. See PI Supp. 31-33. The claims against these

  agencies falter at the outset because Plaintiffs fail to “identif[y] [any] specific” content moderation

  decision by a social media company in which CDC and Census were purportedly heavily involved.

  Moody, 868 F.3d at 352 (emphasis added). Rather, Plaintiffs simply recite a grab bag of past

  communications between various employees of social media companies and CDC (and,

  occasionally, employees of Census). PI Supp. 31-33 (referencing various emails and meetings

  between the agencies and social media company employees). But mere communications between

  a private company and the Government do not transform the private company into a state actor.

  Such a theory of state action would yield untenable results—it “would effectively cause companies

  to cease communicating with” government officials, including “their elected representatives[,] for

  fear of liability.” Doe, 2021 WL 4864418, at *4-5 (finding that a “Twitter exchange between Rep.

  Schiff and YouTube CEO Susan Woj[c]icki” did not support a finding of state action). As with

  Plaintiffs’ other overly broad conceptions of state action, this one, too, must be rejected.

         Relying solely on an assortment of communications between social media companies and

  CDC (and sometimes Census), Plaintiffs ask the Court to infer, without evidence, that social media

  companies ceded “authority” to CDC and Census “to dictate what may and may not be posted on

  their platforms.” PI Supp. 32. Yet not a single one of the challenged communications comes close

  to evincing that CDC (or Census) had significant involvement with—much less ultimate authority

  over—social media companies’ content moderation decisions. Rather, the record shows that the

  companies “retained ultimate control” over content allowed on their platforms. Frazier, 765 F.2d

  at 287-88.

         To start, contrary to Plaintiffs’ assertions, the mere existence of “regular meetings” with

  certain social media platforms, see PI Supp. 31, does not suffice to show that CDC was




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  “indispensab[le]” to the companies’ content moderation decisions, Frazier, 765 F.2d at 1287-88.

  Initially, although Plaintiffs characterize past meetings as being “about misinformation,” PI Supp.

  31, the record shows otherwise. As Ms. Crawford testified, regular meetings with select social

  media platforms for a short time in 2021 were initiated for the purpose of promoting CDC’s

  understanding of information about COVID-19. Crawford Dep. 27:13-23, 181:19-182:2. Only

  occasionally did those meetings involve any discussions about misinformation. Id.; Crawford

  Decl. ¶¶ 5-6 (Ex. 80). And to the extent the meetings did touch on misinformation, the focus was

  on narratives that the companies or CDC observed circulating on platforms and the information

  available from CDC that would respond to those narratives. Crawford Decl. ¶ 6 (Ex. 80). But

  regardless of whether and to what extent meetings with social media companies involved

  discussions about misinformation narratives, that would not show that CDC had become so

  “heavily involved” in a company’s decision to moderate any particular content so as to attribute

  that content moderation decision to CDC. Howard Gault, 848 F.2d at 555. At most, it shows a

  “generalized relation” between the companies and CDC, which falls far short of demonstrate state

  action. Frazier, 765 F.2d at 1286. See also Defs.’ Resp. PFOF ¶¶ 435-589.

         Nor does CDC’s mere receipt of Facebook’s CrowdTangle reports, see PI Supp. 31-32,

  show joint participation in any decision to moderate particular speech. As explained, the

  CrowdTangle reports provided summaries of high-engagement COVID-19 content on Facebook’s

  platform, regardless of whether that content was considered “misinformation.” Supra Defs.’ PFOF

  § II.C.6.; see also Crawford Dep. 53:8-10 (“[CrowdTangle is] a search of content on social media,

  and a summary of the higher volume conversations.”); Crawford Ex. 18 (Dkt. 205-19) (summary

  of COVID insight report that listed “news of shifting public health policies allowing people to

  return to work, school, and religious services” as among the most “highly engaging content”).




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  CDC did not use the reports to “monitor” speech for the purpose of removing particular posts,

  contrary to Plaintiffs’ unsupported assertions, see PI Supp. 31-32. As Ms. Crawford testified, CDC

  used the reports to understand the public’s concerns about COVID-19 and vaccines as expressed

  on social media and to “improve [its own] communication materials.” Crawford Dep. 53:7-12. 99

  CrowdTangle is no evidence of joint participation in any particular content moderation decision.

  See also Defs.’ Resp. PFOF ¶¶ 440-452, 456, 471, 472, 485, 507-510.

         Further, certain social media companies’ requests that CDC provide input on the science

  behind general claims about COVID-19 and vaccines shows no state action. According to

  Plaintiffs, CDC was doing more than providing input—it was “dictat[ing]” what companies could

  allow on their platforms. PI Supp. 32. Yet Plaintiffs cite no evidence whatsoever backing up that

  extravagant claim. The cited emails do not contain any discussions about specific posts and

  whether such posts should be permitted on the platforms. Rather, they show that Facebook asked

  CDC whether certain claims in the abstract (for instance that “vaccines caus[e] magnetism,”

  Crawford Ex. 16 at 2 (Dkt. 205-17) had been “debunked” by scientific sources or were “false and

  can lead to harm,” Crawford Ex. 17 (Dkt. 205-18)—or, as put elsewhere, were false and could lead

  to vaccine hesitancy, Crawford Ex. 26, at 4 (Dkt. 205-26). In response to these requests, CDC did

  not ask the platform to take any particular action against any particular content. Instead, CDC

  provided factual information, sometimes stating the claim had been “debunked,” other times

  stating the evidence was “inconclusive,” and often times pointing directly to publicly available



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     Plaintiffs’ contention that CDC had “privileged access to use CrowdTangle,” see PI Supp. 32,
  likely refers to Facebook offering CDC the opportunity to log into the CrowdTangle platform to
  run its own reports about general categories of content circulating on the platform. See Crawford
  Dep. 77:9-14. Ms. Crawford did not use CrowdTangle for this purpose, but others at CDC may
  have. See id. at 50:1-4. Regardless, there is no evidence that anyone at CDC used CrowdTangle
  reports to collude with Facebook to remove or otherwise suppress particular posts or accounts.


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  and responsive information on the agency’s website. See, e.g., id. at 1; supra Arg. § II.C.2.

  Plaintiffs cite a handful of similar exchanges that CDC had with Google and Twitter. See PI Supp.

  33. These communications reflect social media companies’ independent interest in CDC’s

  understanding of the facts, as opposed to any effort by CDC to “dictate” to the companies what

  content they should allow on their platforms. See also Defs.’ Resp. PFOF ¶¶ 435-589.

         Plaintiffs find evidence of joint action from the fact that Facebook occasionally informed

  CDC that it had “updated its policies . . . based on the CDC’s input” on the above requests. PI

  Supp. 33. But Plaintiffs offer no evidence that CDC was given advance notice of or in any way

  weighed in on Facebook’s decisions about whether and how to update its misinformation policies.

  Those decisions rested entirely with Facebook. Plaintiffs also allege that CDC was aware that, in

  applying its policies, Facebook may have removed posts from its platform that made “debunked”

  claims. Pls.’ PFOF ¶¶ 523, 525. But CDC’s mere awareness that, applying its own policies,

  Facebook might remove hypothetical posts making claims that contradict CDC’s science-based

  information about COVID-19 and vaccines, does not show that CDC “dictated” Facebook’s

  decision to remove such posts, or that CDC otherwise entered into an agreement with Facebook to

  remove those posts. Again, as Ms. Crawford testified, it was not “CDC’s role . . . to determine

  what” companies should “do with the scientific information that [CDC] provided.” Crawford Dep.

  161:20-23. And Plaintiffs cite no authority in support of the surprising proposition that a

  government entity cannot provide information to a social media platform upon request, regardless

  of whether the platform might use the information to inform its content moderation decisions.

         At most, the evidence shows mere “acquiescence” by CDC in the company’s independent

  decisions to moderate content—including potentially removing content—in reliance on CDC’s

  science-based information. The Supreme Court “has never held that [the government’s] mere




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  acquiescence in a private action converts that action into that of the [government].” Flagg Bros. v.

  Brooks, 436 U.S. 149, 164 (1978). Making that finding here would have especially problematic

  implications for the functioning of government and for private conduct. It would imply that social

  media companies are precluded by the First Amendment from choosing to rely on certain types of

  information—solely because it comes from the Federal Government—when determining how to

  implement their own terms of service. In other words, finding state action based on this conduct

  would restrict the decisionmaking of social media companies, not subject to constitutional

  constraints and endowed with First Amendment rights of their own, about the content of the speech

  that may be carried on their platforms. By the same token, holding CDC responsible for a social

  media company’s independent decision to rely on CDC’s information would subject the agency to

  constitutional liability in a host of unknown circumstances outside of its control. CDC cannot

  predict whether and how a social media company (or any other private company) may choose to

  use its information (much of it publicly available on its website) in carrying out the company’s

  own business policies. These are among the reasons that the Supreme Court has cautioned that

  state-action principles be construed so as to preserve the “‘essential dichotomy’ [] between public

  and private acts.” Sullivan, 526 U.S. at 53 (quoting Jackson, 419 U.S. at 349).

         Similarly, the two BOLO meetings held in May 2021—in which CDC (with the help of

  Census) discussed misinformation narratives circulating online and where to find scientific

  information from CDC, supra Defs.’ PFOF § II.C.4, shows no joint participation in the companies’

  content moderation decisions. Plaintiffs misconstrue the record when they assert that CDC and

  Census provided “lists and screenshots of specific posts that [the agencies’] believe[d] should be

  censored.” PI Supp. 32. In fact, the materials presented focused on misinformation “narratives,”

  Crawford Decl. ¶ 14 (Ex. 80); and while some slides included social media posts as clarifying




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  “examples,” neither CDC nor Census pressed the social media companies to “censor[],” or take

  any action relating to, those posts or any others. Id.; see also Defs.’ Resp. PFOF ¶¶ 550-562.

         Next, Plaintiffs’ claim that CDC “asks platforms to provide reports about censorship,” PI

  Supp. 31, is evidentiarily unsupported and, in any event, shows no joint participation in any content

  moderation decision. Plaintiffs base their allegation on a March 2021 email exchange in which

  Ms. Crawford asked Facebook whether it could provide more information on the “themes” or

  “types of COVID-19 misinfo[rmation]” that Facebook had already removed. Crawford Ex. 44 at

  3 (Dkt. 205-44) (emphases added); see also Defs.’ Resp. PFOF ¶¶ 455-458. Ms. Crawford testified

  that the reason for this request was to understand whether Facebook’s past, independent decisions

  to remove certain content from its platforms would affect what CDC viewed in the CrowdTangle

  reports. As she explained, the CDC team responsible for creating reports on “vaccine confidence”

  was concerned that if only “live posts” on Facebook were reflected in CrowdTangle reports, CDC

  might be unaware of other areas of confusion about COVID-19 vaccines reflected in removed

  posts. Crawford Dep. 258:1-11. Thus, CDC’s request was aimed at trying to understand the effects

  of Facebook’s decisions, not attempting to compel Facebook to take any particular action with

  respect to any particular post.

         Relatedly, the record lends no support to Plaintiffs’ assertion that CDC inquires whether

  “specific content flagged by CDC and the Census Bureau has been removed,” or that Census

  “follows up to monitor whether platforms are removing” such content. PI Supp. 31. On the

  contrary, the evidence shows that CDC simply sought to understand why Facebook had taken down

  certain posts. See Crawford Ex. 8 at 1 (Dkt. 205-9) (email from CDC asking: “Were those [posts]

  re-evaluated by the [Facebook] moderation team or taken down for another reason?”). Indeed,

  Plaintiffs’ assertion that Census occasionally “check[ed]” to see whether things they might have




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  flagged or otherwise observed on Facebook had been removed, Crawford Dep. 117:19-21,

  confirms that Census did not know what action the company would take with respect to any

  specific content and was not “heavily involved” in the company’s content moderation decisions,

  Howard Gault, 848 F.2d at 555.

         Finally, Plaintiffs state that “CDC’s and Census Bureau’s actions constitute significant

  encouragement[ and] coercion,” in addition to “conspiracy or collusion.” PI Supp. 31. Yet

  Plaintiffs do not “discuss[]” any state-action theories relating to CDC conduct aside from their

  theory of “conspiracy or collusion.” It is Plaintiffs’ “obligation . . . to develop [those] arguments.”

  Paez v. Wal-Mart Stores, Tex., LLC, No. EP-20-CV-00321-DCG, 2022 WL 3216343, at *2 (W.D.

  Tex. Aug. 9, 2022). Having failed to do so, they have waived them. See United States v. Scroggins,

  599 F.3d 433, 446 (5th Cir. 2010) (argument not adequately briefed is waived). In any event, there

  is no evidence that CDC or Census threatened adverse consequences if a social media company

  failed to take action concerning any particular post or account, or offered them significant

  incentives of encouragement to do so, as Blum requires. Supra Arg. § II.B.1-2. To the contrary,

  CDC never “instruct[ed]” a social media company “to do anything” with the information that was

  “debunked.” Crawford Dep. 138:12-14. CDC never “advise[d] or help[ed]” a social media

  company on the “enforce[ment] or appl[ication] of [its] policies to any particular social media

  post.” Id. at 105:1-19. CDC never required a social media company to take any particular action

  with any content the agency flagged as reflecting a misinformation theme that CDC’s scientific

  information could address. Id. at 87:13-88:18. The “consequence” to any social media company

  for failing to take action with respect to any particular content on its platform was “[n]othing.” Id.

  at 88:19-22.




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         In sum, none of the challenged conduct amounts to state action under any theory. Instead,

  the record confirms that social media platforms have exercised independent decision-making

  authority about whether and how to moderate content on their platforms, including content about

  COVID-19. Accordingly, there is no basis for attributing any decision of any social media

  company to CDC or Census. See Blum, 457 U.S. at 993. For all of these reasons, Plaintiffs are

  unlikely to succeed on the merits of their claims against CDC and Census.

                 b. The FBI did not participate in “censorship” by sharing information about
                    foreign malign influence efforts or potential election-related misinformation.
         The FBI shared information with platforms regarding particular accounts or websites that

  FBI had with high likelihood determined to be covertly operated by hostile foreign actors, Knapp

  Decl. ¶¶ 10-20 (Ex. 157), and, on or near the day of an election, posts (even by domestic sources)

  that the agency preliminarily had found to contain falsehoods regarding the time, place, and

  manner of voting in the impending election, id. ¶¶ 21-24. When the FBI did so, contrary to

  Plaintiffs’ contention (PI Supp. 34-36), each platform retained sole discretion over all content

  moderation decisions regarding the account or website at issue. The FBI shared information with

  “no strings attached,” such “that the social media companies c[ould] protect their platforms as

  they deem[ed] appropriate.” Chan Dep. 32:16-20 (emphasis added). The FBI “d[id] not control

  what” platforms would “do” with the shared information. Id. at 33:2. Because the private platforms

  never “ceded control” over those decisions to the FBI, Plaintiffs’ conspiracy theory of state action

  as to FBI has no likelihood of success. O’Handley, 62 F.4th at 1156. And Plaintiffs also disregard

  the narrow scope and the serious import to national security and to law enforcement of the

  information FBI shares with platforms.

         In particular, the FBI’s Foreign Influence Task Force (FITF) shared information with the

  platforms that was (1) strategic (concerning techniques or processes through which foreign malign



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  actors operated), Chan Dep. 29:17-23, or (2) tactical (describing attributes, or “selectors,”

  including IP addresses and “hash values,” associated with particular social media accounts

  indicating their operators were foreign, such as the Russians), id. at 29:24-30:7, 30:10; see Knapp

  Decl. ¶¶ 10-20 (Ex. 157); cf. United States v. Reddick, 900 F.3d 636, 639 (5th Cir. 2018) (“hash

  value comparison allows law enforcement to identify” contraband “with almost absolute certainty,

  since hash values are specific to the makeup of a particular image’s data”). Platforms would “take

  the information that [FBI] share[d],” and then “validate” it “through their own means. And then if

  they determine[d] that these [were] accounts being operated by Russian state-sponsored actors,

  then they [would] take[ ] them down.” Chan Dep. 33:13-17 (emphasis added). Or, as Yoel Roth,

  formerly head of Twitter’s content moderation personnel, testified to Congress in 2023, the “FBI

  was quite careful and quite consistent to request review of the accounts, but not to cross the line

  into advocating for Twitter to take any particular action.” Ex. 10 at 16.

         FITF shared information about a foreign malign actor’s social media activity not based on

  the content or viewpoint expressed in a post, but rather on the determination that the account is

  part of a covert effort by a foreign malign actor. See Knapp Decl. ¶¶ 16-20. That is, FITF would

  “only share information” about a particular social media account when the FBI had “high

  confidence” that the account “is attributed to a foreign-state actor.” Chan Dep. at 112:21-113:6.

  Put another way, FITF would only provide account-specific information after “gathering”

  appropriate “intelligence” and completing the declassification review. Id. at 111:13-112:8. Thus,

  when FITF “provided” platforms “with high confidence” information that particular accounts bore

  indications of foreign malign activity, the platforms then were “able to discover fake . . . accounts

  and take them down.” Id. at 32:21-24. Hostile foreign entities often exploit such fake online

  personas on social media sites created via false representations of the identity or other




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  characteristics of the account holder, including whether the holder is a person at all rather than a

  “bot” or automation.100

         In some instances, the platform’s own analytical work would lead the platform to find ten

  accounts connected to the one account about which FITF shared information, and the platform

  would then “take all of them down.” Platforms would only “sometimes” inform FITF “how many

  accounts were taken down” following FITF’s sharing of information. And when FITF “ask[s] for

  specifics,” platforms “don’t necessarily tell” FITF “all the time.” Chan Dep. 113:23-114:7; see

  also Defs.’ Resp. PFOF ¶¶ 860, 861, 867, 873, 889, 906-909, 918, 931, 938, 939, 942.

         Similarly, as part of the FBI’s election integrity efforts FBI personnel, on or near the day

  of an election, would call platforms’ attention to accounts posting disinformation about the time,

  place, or manner of elections in various states. Id. at 162:10-163:3; see Knapp Decl. ¶¶ 21-24 (Ex.

  157). A “hypothetical example” of such a post, which “would probably be flagged,” is one that

  asserted that “Political Party A” would “vote on Tuesday,” while “Political party B” would “vote



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      As then-Deputy Attorney General Rod J. Rosenstein explained: “Together, bots and networks
  of paid trolls operating multiple accounts allow foreign agents to quickly spread disinformation
  and create the false impression that it is widely accepted.” Ex. 149 (Deputy Attorney General
  remarks of July 19, 2018); see also Kimmage Dep. 170:11-18, 279:17-280:4; Ex. 9 at 80 (“The
  spread of intentionally false information on social media is often exacerbated by automated, or
  ‘bot’ accounts.”); Ex. 154 at 2 (Press Release, Fed. Bureau of Investigation, 40 Officers of China’s
  National Police Charged in Transnational Repression Schemes Targeting U.S. Residents, (Apr.
  17, 2023), 2023 WL 2968014) (describing United States v. Yunpeng Bai, et al. (E.D.N.Y. unsealed
  Apr. 17, 2023), which alleges that Chinese agents “created thousands of fake online personas on
  social media sites, including Twitter, to target Chinese dissidents through online harassment and
  threats,” and “disseminated . . . government propaganda and narratives to counter the pro-
  democracy speech of the Chinese dissidents . . . . [Agents] created and maintained the fake social
  media accounts through temporary email addresses, posted official PRC government content, and
  interacted with other online users to avoid the appearance that [their] accounts were ‘flooding’ a
  given social media platform.”); Ex. 155 at 4 (Craig Timberg, Secret trove offers rare look into
  Russian cyberwar ambitions, Wash. Post (Mar. 30, 2023)) (describing documents of Russian
  defense contractor about “tactics for automating the creation of massive numbers of fake social
  media accounts for disinformation campaigns.”).


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  on Wednesday.” Chan Dep. 265:6-10. In the election security context, the FBI operated on the

  understanding that it is a potential election crime for a person in the United States (not simply a

  foreign person) to post deliberately misleading information about the time, place, or manner of

  casting a ballot. Id. at 270:2-13; see, e.g., Anderson v. United States, 417 U.S. 211, 225-26 (1974)

  (upholding 18 U.S.C. § 241 conviction for deceiving voters regarding which candidate was

  selected on their ballot where accused’s casting of fictitious ballots “injure[d] the right of all voters

  in a federal election to express their choice of a candidate and to have their expressions of choice

  given full value and effect”); see also United States v. Mackey, No. 21-cr-80, Dkt. 115 (E.D.N.Y.

  Mar. 31, 2023) (conviction for using Twitter to assert, among other things, that supporters of

  particular Presidential candidate could and should vote by posting specific hashtag on Twitter or

  Facebook, or by texting candidate’s first name to specific telephone text code); United States v.

  Tobin, No. 04-cr-216-01-sm, 2005 WL 3199672 (D.N.H. Nov. 30, 2005) (conviction for disruption

  of phone lines on election day).

          In that regard, in 2020, the FBI San Francisco Field Office at which ASAC Chan works

  was responsible for relaying time/place/manner disinformation or malign-foreign-influence

  information to platforms. Chan Dep. 168:10-20. The FBI would convey such posts to platforms

  “to alert” them “to see if” the posts “violated” the platforms’ “terms of service,” and if the posts

  did so, the platforms “would follow their own policies, which may include taking down accounts.”

  Id. at 165:9-22 (emphasis added). Platforms would sometimes inform the FBI that they had taken

  down the posts, while in other instances they would state that a post at issue “did not violate”

  platform “terms of service.” Id. at 166:2-7; see also Defs.’ Resp. PFOF ¶¶ 879, 925-928, 966.

          In the aftermath of Russian active interference in the 2016 Presidential Election, including

  via social media, the Senate Select Committee on Intelligence concluded: “Information sharing




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  between the social media companies and law enforcement must improve, and in both directions.”

  Consistent with that conclusion, the record shows that the FBI shared information with social

  media companies to counteract foreign malign influence efforts, and to raise platform awareness

  about posts with deliberately misleading information about the time, place, or manner of voting.

  But there is no evidence the FBI sought control over platform content moderation decisions, and

  no evidence the platforms ever ceded such control to the FBI. Plaintiffs’ “joint participation” theory

  thus fails against the FBI.

                  c. Plaintiffs fail to establish that CISA worked jointly with social media companies
                     to violate the First Amendment.
      Plaintiffs next contend that CISA “engages in extensive collusion with platforms on

  censorship” based primarily on the following activities: (1) “continuous meetings and

  coordination” between social media companies and CISA; and (2) CISA’s “flagging [of] content

  for censorship,” providing additional evidence of misinformation to social-media platforms, and

  platforms’ treatment of CISA as a “privileged reporter of misinformation.” PI Supp. 36-39. As

  discussed below, these activities neither individually nor collectively reflect any joint action

  depriving Plaintiffs of their constitutional rights.

      ƒ CISA’s Meetings with Social Media Companies. Plaintiffs first contend that CISA’s

  meetings with social media companies regarding general discussions of misinformation concerns

  support their claim of collusion. PI Supp. 37. Plaintiffs cite no authority to support the conclusion

  that meetings in which misinformation concerns generally were discussed—as an element of

  broader election-related security discussions—are sufficient to establish the requisite joint

  participation necessary for the Government to be responsible for private decisions, and indeed, the

  law is to the contrary. See supra at pp. 213-16.




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         In furtherance of its mission, CISA participated in regular meetings with social media

  companies about misinformation, including recurring USG-Industry meetings (and preparatory

  meetings in advance of these meetings); CISA Cybersecurity Advisory Committee (CSAC)

  quarterly meetings; CISA CSAC, Protecting Critical Infrastructure from Misinformation and

  Disinformation subcommittee meetings; and meetings convened by the EIS-GCC and the EI-SCC

  Joint Managing Mis/Disinformation Working Group. See Ex. 187 at 42-44. Contrary to Plaintiffs’

  factually unsupported claim that these meetings “provide avenues for government officials to push

  for censorship of disfavored viewpoints and speakers online,” PI Supp. 27, Plaintiffs have failed

  to adduce any evidence that such alleged “push[es]” for censorship actually occurred during these

  meetings.

         For example, the USG-Industry meetings, which began in 2018 (during the Trump

  Administration) and ended in 2022, included federal agency participants from CISA, DHS, the

  FBI, DOJ, ODNI, as well as technology company participants from Google, Facebook, Twitter,

  Reddit and Microsoft, and on occasion Verizon Media, Pinterest, LinkedIn, and the Wikimedia

  Foundation. Ex. 187 at 42-43; Scully Dep. 31:10-16. 101 CISA never flagged or reported potential

  disinformation for social media or technology companies during or in connection with the USG-

  Industry meetings. Hale Decl. ¶ 68 (Ex. 97). Rather, the topics discussed generally included

  information sharing around election risk, briefs from the industry, threat updates, and highlights

  and upcoming watch outs. Ex. 187 at 43. For example, these meetings generally involved CISA

  educating social media platforms on how elections function and are administered, as well as

  potential threats to elections. Scully Dep. 224:22-25:9. Much of the discussions at these meetings


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     Plaintiffs claim that the USG-Industry meetings “have been ongoing for years and are
  continuing.” PI Supp. 37. CISA has not participated in the USG-Industry meetings since the 2022
  general election. Hale Dec. ¶ 69 (Ex. 97).


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  involved cyber security issues, as well as discussions about recurrent physical threats to poll

  workers. Id. at 235:11-22.

         Although general concerns about misinformation and disinformation were discussed

  during these USG-industry meetings, they did not involve “pushes” to censor misinformation or

  disinformation, either in general or regarding specific individuals, posts, or accounts. Id. at 39:12-

  25. For example, CISA often reported on election infrastructure security, key election timelines,

  and publications designed to promote resilience to disinformation, such as a general disinformation

  resilience guide highlighting examples of the tactics use by foreign disinformation actors and

  outlining proactive measures to mitigate the effectiveness of such tactics entitled the Tactics of

  Disinformation. Id. at 39:12-18; Hale Decl. ¶ 68 (Ex. 97). Other agencies, including DOJ, FBI,

  ODNI, and DHS, would participate and provide unclassified, high-level reviews or strategic

  intelligence briefings. Scully Dep. 25:10-23. Members of the intelligence community discussed

  malign foreign actors who potentially were going to launch disinformation operations. Id. at 39:19-

  25. Industry participants would share high-level trend information from public reporting they had

  released. Id. at 40:2-41:15. In short, Plaintiffs have failed to provide any evidence that CISA or

  other federal agencies colluded with social media platforms during these meetings to deprive

  anyone of their constitutional rights, much less the rights of Plaintiffs. See also Defs.’ Resp. PFOF

  ¶¶ 861, 866, 978-990.

         Similarly, the CISA CSCAC Committee quarterly meeting agenda and summaries, as well

  as participants, are all available on-line, Ex. 121, and contrary to Plaintiffs’ contention, a review

  of those materials fails to reflect any collusion between CISA and social media companies to

  deprive Plaintiffs (or anyone) of their constitutional rights through the removal of or other action

  against specific social media content. Instead, these materials reflect discussions concerning the




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  creation of a new, congressionally-mandated advisory committee; how CISA can better

  accomplish its mission of promoting the security and resilience of critical infrastructure such as by

  refining the national effort to identify and prioritize the most critical entities and infrastructure;

  improving efforts to strengthen the nation’s cyber workforce; and enhancing public-private

  communication and collaboration in preventing and responding to cybersecurity incidents. Id.

         In addition, the CSAC Protecting Critical Infrastructure from Misinformation and

  Disinformation Subcommittee (Subcommittee), which was directed to stand down in December

  2022 because it had completed its taskings and provided its recommendations to CISA, did not

  involve any joint action by CISA and social media companies to remove or take any action

  concerning any social media content. See Ex. 187 at 43; Ex. 122 at 9 (stating that the MDM

  Subcommittee did not participate in, or recommend for others to participate in, any activities

  related to social media platform moderation or other activities that could be construed, even

  broadly, as “censorship”). Rather, CISA had established the Subcommittee for the purpose of

  evaluating and providing recommendations on potentially effective critical infrastructure-related

  counter-MDM efforts that fit within CISA’s unique capabilities and mission. Ex. 123 at 1. Like

  the CSAC Committee, the Subcommittee operated transparently, and further details about the

  Subcommittee, its membership, and reports and recommendations, are posted on CISA’s website,

  Id.; and Ex. 119. Specifically, the Subcommittee recommended that CISA take actions such as

  “shar[ing] up to date ‘best practices’ around how to proactively address and counter MDM based

  on the most recent research[,]” “[s]har[ing] information with state and local election officials[,]”

  and “[p]rotect[ing] the courts” from being the target of “an intensified campaign to undermine

  public trust in the legitimacy of their processes.” Ex. 124 at 1-3. Nothing in these materials reflects

  an attempt by CISA to “push” social media companies to censor mis- or disinformation or reflects




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  a conspiracy or collusion to deprive Plaintiffs—or anyone, for that matter—of their constitutional

  rights.

            Finally, the EIS-GCC EI-SCC Joint MDM Working Group (Working Group), which was

  launched after the 2020 election, provides a forum through which the Election Infrastructure

  subsector could identify challenges in countering MDM and produce resources for addressing

  these challenges. See Ex. 187 at 44. CISA supports the Working Group by providing administrative

  and substantive support, such as facilitating meetings and helping to draft working group products.

  Hale Decl. ¶ 41 (Ex. 97). As noted above, the Louisiana Secretary of State oversaw the

  management and activity of the Working Group from the summer of 2021 to the summer of 2022.

  Id. ¶ 31. 102 To date, the Working Group has published two guides to help state and local election

  officials and industry providers prepare for and respond to risks of disinformation. Id. ¶ 40. 103 The

  Working Group does not engage with social media companies, and it does not flag or report

  potential disinformation to social media or technology companies. Id. ¶ 43. Again, Plaintiffs have

  failed to adduce any evidence that these meetings involved federal agencies attempting to conspire

  or collude with social media companies to act on misinformation on their platforms, let alone a


  102
      The Louisiana Secretary of State has been a member of the EIS-GCC since May 2019, and
  while serving as the NASS President from the summer of 2021 to 2022 served as an EIS-GCC
  Executive Committee member. Hale Decl. ¶ 31 (Ex. 97). In this capacity, Louisiana received
  regular briefings (usually every two weeks) on CISA’s election security efforts, including briefings
  on CISA’s disinformation resilience work, and engaged in security planning activities for the
  Election Infrastructure Subsector. Id. In addition, the Missouri Secretary of State served as an
  alternative member of the EIS-GCC from 2018-2019 and attended the EIS-GCC biannual meetings
  and actively participated in briefings on the Election Infrastructure Subsector’s security and
  resilience efforts. Id. at ¶ 32.
  103
      These publications include (1) the Rumor Control Page Start-Up Guide, which is designed for
  use by state, local, tribal and territorial government officials and private sector partners seeking to
  dispel inaccurate election security-related information by sharing accurate information; and (2) the
  MDM Planning and Incident Response Guide for Election Officials, which is designed for SLTT
  election officials and to help them understand, prepare for, and respond to disinformation that may
  impact the ability to securely conduct elections. Hale Decl. ¶ 40 (Ex. 97).


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  conspiracy to deprive Plaintiffs of their constitutional rights. See also Defs.’ Resp. PFOF ¶¶ 1011,

  1235.

          In short, like the allegations rejected by the Ninth Circuit in O’Handley, Plaintiffs’

  “allegations establish, at most, a meeting of the minds to promptly address election

  misinformation, not a meeting of the minds to violate constitutional rights.” 62 F.4th at 1159.

          ƒ CISA’s Switchboarding Activities During the 2020 Election Cycle. Plaintiffs next claim

  that CISA’s conveyance of potential misinformation identified by state and local election

  officials—including officials from Plaintiffs Missouri and Louisiana, and membership

  associations in which officials from Missouri and Louisiana are members 104—to social media

  companies during the 2020 election cycle evinces a conspiracy to deprive Plaintiffs of their

  constitutional rights. PI Supp. 37-38. But this also fails to show that CISA was a joint participant

  in any content moderation action.

          As discussed above, during the 2020 election cycle, CISA performed “switchboarding”

  work on behalf of state and local election officials. Scully Dep. 16:16-25. Switchboarding involved

  state and local election officials identifying for CISA information on social media that they

  believed constituted election-related misinformation, and CISA forwarding that information to

  social media companies for their informational awareness. Id. at 17:1-14; 23:19-24:2. Social media

  companies would then make independent decisions on the content that CISA forwarded to them

  based on the companies’ policies. Id. at 17:15-21.




  104
     See, e.g., Ex. 100; Ex. 101; Ex. 102; Ex. 103; Ex. 104; Ex. 105 and Hale Decl. ¶¶ 33, 70 (Ex.
  97) (explaining that officials in Plaintiff States Missouri and Louisiana were among those who
  transmitted election security-related disinformation to CISA or CIS for the purpose of it being
  shared with the social media companies, that Louisiana is a member of NASS, and both Louisiana
  and Missouri are members of NASED).


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         When CISA set up its switchboarding function it met with social media companies and

  reaffirmed its “position that [CISA] would never ask them to take any specific actions, [and] that

  they should make decisions based on their terms of service.” Id. at 241:23-242:5. Accordingly,

  when CISA transmitted potential misinformation identified by state and local election officials to

  social media companies, CISA’s protocol was to include a notice stating that it was not requesting

  that the company take any particular action. See, e.g., Ex. 106; Hale Decl. ¶ 72 (Ex. 97).

         On occasion, at the request of election officials, CISA would ask social media companies

  to report back on how, if at all, they had addressed misinformation CISA flagged for the

  companies. Scully Dep. 163:17-164:17. Over time, however, the companies would report directly

  to the election officials about what actions, if any, they took concerning potential misinformation.

  Id. at 164:8-25.

         Normally, CISA would receive a note from a social media company acknowledging that

  they received CISA’s email, but CISA often did not receive any kind of notification from a social

  media company regarding what decision it made concerning potential misinformation. Id. at 177:7-

  178:8. If a social media company needed additional information from an election official in order

  to make a decision about whether content violated its terms of service, CISA would try to support

  that effort. Id. at 219:25-220:13. For example, if state or local officials had made a public statement

  about potential misinformation, or could provide additional information about it, and a social

  media company asked for it, CISA would try to obtain that information for the company. Id. at

  219:25-220:20.

         The record in this case makes clear that social media companies made independent

  judgments in applying their content moderation polices to information that CISA “switchboarded”

  to them, and Plaintiffs concede as much. See Pls.’ PFOF ¶ 973 (quoting Brian Scully’s deposition




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  testimony that “the idea was that [the social media companies] would make decisions on the

  content that was forwarded to them based on their policies.”). For example, when CISA passed

  along information for social media companies’ awareness, the companies at times concluded that

  certain posts did not violate their content moderation policies and therefore determined that no

  action would be taken. See, e.g., Ex. 105 at 1 (email from Twitter concluding that “Tweet was not

  determined to be a violation of our rule”); Ex. 107 at 1 (email from Twitter concluding that certain

  tweets violated its terms of service while others did not); Ex. 108 at 1 (email from Twitter stating

  “[t]weet was not in violation of our Civic Integrity Policy”); Ex. 109 at 1 (email from Twitter

  stating that the “Tweets to not be in violation of our policies” and that Twitter would “not take

  action on these Tweets”); Ex. 110 at 1 (email from Twitter stating “internal review of account data

  indicates [the account] is not suspicious”); Ex. 111 at 1 (email from Twitter stating “this tweet was

  not determined to violate our civic integrity policy”). See also Defs.’ Resp. PFOF ¶¶ 1076-1082.

         Despite Plaintiffs’ voluminous preliminary injunction filings, nowhere do they identify

  facts supporting the notion that the social media companies failed to exercise their independent

  judgment in applying their content moderation policies. This is fatal to their claim of conspiracy.

  See O’Handley, 62 F.4th at 1158 (“The First Amendment does not interfere with this

  communication [between the Government and social media companies] so long as the

  intermediary is free to disagree with the government and to make its own independent judgment

  about whether to comply with the government’s request.”).

         Furthermore, Plaintiffs fail to explain why CISA’s willingness to provide social media

  companies with additional context about misinformation identified by state and local governments

  reflects a “meeting of the minds” to deprive Plaintiffs of their constitutional rights. PI Supp. 39.

  Nothing about these activities negates the fact that social media companies independently applied




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  their content moderation policies in determining what action, if any, to take regarding potential

  misinformation. 105

                  d. Plaintiffs fail to identify joint action by the Global Engagement Center and
                     social media companies to remove any social media content.
        Plaintiffs also devote a paragraph of their brief to their claim that the State Department’s

  Global Engagement Center (GEC) “colludes with social-media platforms on censorship,” solely

  because it meets with social media companies about disinformation, including with the platforms’

  content moderation officials. PI Supp. 39-40.

          But this too does not establish the type of “joint action” necessary to attribute private

  conduct to the Government. For example, the GEC’s Technology Engagement Team (TET) meets

  with social media companies and exchanges information concerning the propaganda and

  disinformation tools and techniques used by the United States’ adversaries. Kimmage Dep. 29:14-

  30:14. These meetings rarely include discussions about specific content posted on social media

  because the meetings are at a higher, more conceptual level about what foreign actors are doing,

  rather than specific content. Id. at 30:20-31:3. 106


  105
      In a last-ditch effort to establish a conspiracy between CISA and social media companies
  Plaintiffs make two final arguments. First, they note that early in the 2022 election cycle a CISA
  employee asked social media companies to develop a one-page document that state and local
  election officials could use to help explain the social media companies’ content moderation
  policies and how to report misinformation to the companies. PI Supp. 39. Second, Plaintiffs note
  that CISA runs an “operation center” on election day that engages in reporting misinformation to
  social media platforms. Id. Once again, Plaintiffs fail to explain how these activities reflect a
  deprivation of Plaintiffs’ constitutional rights. In addition, nothing about these activities
  undermines the fact that social media companies independently apply their content moderation
  policies when potential misinformation was brought to their attention.
  106
      Plaintiffs also claim that the fact that the GEC briefly had a liaison in Silicon Valley to connect
  with social media platforms is evidence of collusion. PI Supp. 39. Not so. For a time, the GEC had
  a location in Silicon Valley where one individual, Defendant Sam Stewart, was stationed.
  Kimmage Dep. 153:7-154:21. The purpose of the Silicon Valley location was to facilitate
  public/private coordination and broker constructive engagements between the Government and the
  technology sector, including social media companies, academia and research. Id. at 155:5-21. Mr.



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         Similarly, the GEC front office also engages with social media companies, primarily to

  build relationships with those companies to facilitate better communications at the working level.

  Id. at 31:12-20. The GEC did not flag specific content for social media companies during these

  meetings and did not give the companies any directives. Id. at 34:13-36:5. The GEC’s purpose in

  advising social media companies about disinformation campaigns was not to influence social

  media companies’ internal decisions regarding content, but to deepen their understanding of the

  actions of malign actors seeking to harm the national security, in line with the GEC’s congressional

  mandate. Id. at 36:6-37:7. The GEC simply shared lessons learned, information about propaganda

  and disinformation techniques, and the campaigns and narratives of foreign propaganda and

  disinformation actors. Id. at 273:12-24. Sharing information can help social media companies

  identify coordinated inauthentic activity or to understand what these actors are trying to achieve,

  as well as to understand the types of narratives they are promoting. Id. at 279:17-280:4. Providing

  this information to social media companies is the first step in social media companies’ ability to

  address foreign propaganda on their sites, as “[s]olving a problem has to start with understanding

  the problem.” Id. at 280:9-281:3.

         However, the GEC does not engage in any activities with the intention of proposing to

  social media companies that certain content should not be posted on their platforms. Id. at 37:16-

  25. Indeed, “[t]he Global Engagement Center does not tee up actions for social media companies




  Stewart had conversations with social media companies in which the GEC shared information
  related to its mission to counter foreign propaganda and disinformation. Id. at 155:22-156:11. The
  social media companies also educated the GEC based on what sorts of propaganda and
  disinformation they were observing on their platforms. Id. at 157:11-23. Mr. Stewart no longer
  works for the GEC, and no one from the GEC is currently working from the Silicon Valley
  location. Id. at 154:14-21, 272:17-25. Plaintiffs have failed to identify anything collusive about
  these meetings.


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  to take,” and it “does not seek to influence the decisions of the social media companies.”107 Id. at

  38:2-3, 283:9-22. Nor does the GEC seek to provide information that might inform or influence

  social media companies’ decisions concerning the moderation of specific content. Kimmage Dep.

  38:1-11; Bray Decl. ¶ 16 (Ex. 142) (stating that the GEC’s practice is not to request social media

  companies take any specific actions when sharing information with them).108 Rather, whatever

  actions social media companies may take after receiving information from the GEC is left

  completely up to those companies. Kimmage Dep. at 273:12-274:8. See also Defs.’ Resp. PFOF

  ¶¶ 1123-1134.

         In short, as with CISA, at most Plaintiffs have established that the GEC and social media

  companies were “generally aligned in their mission to limit the spread of misleading election




  107
      In 2018, the GEC flagged a specific post for social media companies, and this involved the
  safety of State Department personnel. In this incident, a colleague of Mr. Kimmage, who was the
  then-Acting Coordinator of the GEC, informed him about a security situation in a Middle Eastern
  country where protestors were using a social media platform to communicate in ways that raised
  urgent security concerns, and the State Department was concerned for the safety of its personnel.
  Kimmage Dep. 38:12-39:25; Bray Decl. ¶ 17 (Ex. 142). Mr. Kimmage communicated directly
  with the social media platform and informed it that this was an ongoing concern. Kimmage Dep.
  38:12-39:25. Mr. Kimmage was “very specific” in his interaction with the social media company
  that this was a real time situation where the State Department believed its personnel were at risk
  and asked the company to review the activity on these accounts to decide whether this content
  violated its terms of service. Id. at 38:12-39:25. Mr. Kimmage did not ask for anything to be
  removed from the sites, but he did express security concerns about the safety of State Department
  personnel. Id. at 38:12-39:25. These posts were from foreign actors. Id. at 40:1-3. Mr. Kimmage
  is unaware of what action, if any, social media companies took in response to his identification of
  this issue, because they did not report back to him. Id. at 40:4-7.
  108
       When asked at his deposition about any efforts by the GEC to influence social media
  companies’ content moderation decisions, Daniel Kimmage, the acting GEC coordinator and
  principal deputy coordinator from 2017 until June 2021, stated that he never had a conversation
  with social media companies where he encouraged them to speed up the removal of posts.
  Kimmage Dep. 42:12-20, 47:16-20. Mr. Kimmage further testified that he is unaware of instances
  where someone at the GEC may have gone through a third party on the understanding that the
  party would convey a concern about content on a social media platform with a social media
  company. Id. at 55:20-56:8. Plaintiffs have failed to identify any evidence to the contrary.


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  information.” O’Handley, 62 F.4th at 1157. But such alignment falls far short of establishing that

  the GEC acted jointly with social media companies in acting against any particular content.

                 e. No “joint action” transformed the private conduct of the Election Integrity
                    Partnership or the Virality Project into state action attributable to Defendants.
         Plaintiffs next contend that “social-media companies work hand-in-glove with Defendants

  and their partners in state and local government, the Election Integrity Partnership, and the Virality

  Project to censor speech expressing viewpoints that Defendants disfavor.” PI Supp. 42. More

  specifically, Plaintiffs allege that certain Defendants are responsible for certain (unspecified)

  content moderation decisions made by social media companies due to two separate layers of

  alleged “joint participation”: (1) those Defendants allegedly worked jointly with the Election

  Integrity Partnership (EIP) and the Virality Project (VP) such that the EIP and the VP are state

  actors; and (2) the EIP and VP in turn worked jointly with social media companies to supposedly

  target certain content such that the social media companies are state actors. 109 Id. Plaintiffs are




  109
      Plaintiffs contend that the EIP and VP acted as arms of the Federal Government due to the
  alleged level of involvement in the activities of those private organizations by CISA, the GEC, and
  the EI-ISAC. Plaintiffs claim that the EI-ISAC is a “government agency,” apparently because it
  receives funding from CISA. PI Supp. 42 (referring to the “CISA-funded EI-ISAC” as a
  “government agency”). Plaintiffs provide no legal or factual basis for its claim that the EI-ISAC
  is a government agency. As noted supra, at 73, the EI-ISAC is a voluntary organization managed
  by CIS with membership open to all state, local, tribal, and territorial organizations that support
  election officials. Hale Decl. ¶ 48 (Ex. 97). Plaintiffs cite no legal support for the proposition that
  the receipt of federal funding converts a private entity into an arm of the Federal Government.
  Indeed, Fifth Circuit precedent is to the contrary. Fairley v. PM Mgmt.-San Antonio AL, LLC, 724
  F. App’x. 343, 344 (5th Cir. 2018) (affirming dismissal of section 1983 claim where plaintiff
  contended that nursing home’s receipt of federal funds converted the nursing home into a state
  actor). Moreover, the EI-ISAC is overseen by CIS, a non-profit organization, rather than the
  Federal Government. Scully Dep. 59:9-60-17; Hale Decl. ¶ 44 (Ex. 97). CISA did not fund CIS or
  the EI-ISAC for any of the work they provided in relation to the reporting of potential election
  security-related disinformation to social media or technology companies during the 2020 election
  cycle. Id. ¶¶ 50-51. Accordingly, any suggestion that the EI-ISAC is a Federal Government agency,
  or that its work can be imputed to CISA, lacks merit.


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  incorrect both as a matter of fact and as a matter of law, and they fail to establish a likelihood of

  success based on this state-action theory.

                  i.      EIP

          Plaintiffs contend that the EIP is pervasively entwined with CISA and the GEC such that

  the EIP is a state actor. PI Supp. 45. Plaintiffs are incorrect. To start, Plaintiffs mischaracterize the

  EIP. The EIP is a private partnership formed in 2020 that included the Stanford Internet

  Observatory, the University of Washington, Graphika, and the Atlantic Council’s Digital Forensic

  Research Lab to better understand the information environment around elections. See Scully Ex.

  1 at vi (Dkt. 209-2). The EIP’s “primary goals were to: (1) identify mis- and disinformation before

  they went viral and during viral outbreaks; (2) share clear and accurate counter-messaging; and

  (3) document the specific misinformation actors, transmission pathways, narrative evolutions, and

  information infrastructures that enabled these narratives to propagate.” Id. Among other actions,

  the EIP developed a “ticketing” system by which trusted external stakeholders and internal EIP

  analysts could flag misinformation that EIP would then analyze and, depending on the nature of

  the information, could flag for social media companies for their awareness. Id. at 8-10; 18-19.

          The record reflects that several Stanford University students who interned at CISA and

  worked on election security matters came up with the idea for the EIP. Id. at 2; Hale Decl. ¶ 53

  (Ex. 97). Based on lessons learned from the 2018 election, CISA personnel discussed with the

  interns a gap that existed in the resources of state and local election officials to identify

  misinformation that targeted their jurisdictions. Scully Dep. 84:10-22; Hale Decl. ¶ 53 (Ex. 97).

  Some of the Stanford students who interned at CISA independently made a presentation about this

  lack of resources to the Stanford Internet Observatory. Hale Decl. ¶ 54 (Ex. 97). Subsequently,

  CISA personnel had a conversation with Alex Stamos, who worked for the Stanford Internet




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  Observatory, one of the four organizations that comprised the EIP, and confirmed the existence of

  the gap in state and local resources. Scully Dep. 86:22-87:9; Hale Decl. ¶ 54 (Ex. 97). The Stanford

  Internet Observatory thereafter launched the EIP. Hale Decl. ¶ 55 (Ex. 97). CISA personnel’s

  provision of feedback to interns about a gap in state and local election official resources and

  confirmation of that feedback to Mr. Stamos does not render the EIP a government body.

            Furthermore, Plaintiffs do not provide any evidence that CISA or the GEC were entwined

  in the management or control of the EIP. Rather, Plaintiffs claim only that (1) CISA and the GEC

  were “major stakeholders” of the EIP; (2) CISA and the GEC provided information into EIP’s

  “Intake Queue”; (3) the EIP receives some funding from a grant from the National Science

  Foundation and from Federal funding for the Atlantic Council (rather than from CISA or the GEC);

  and (4) “numerous current and former CISA personnel also have or had roles in the EIP.” PI Supp.

  42, 44.

            Even assuming Plaintiffs were factually correct about each of these activities, which they

  are not, they have identified no legal authority to support the proposition that this minimal level of

  involvement rises to the level of management or control of the EIP. As an initial matter, CISA did

  not found, fund, or otherwise have any role in the management or operation of the EIP. Hale Decl.

  ¶¶ 52, 56-57 (Ex. 97); Ex. 122 at 7 (“CISA did not found, fund, or otherwise control the EIP.”).

  Moreover, Plaintiffs overstate—and in some cases misstate—the evidence. For example, Plaintiffs

  contend that CISA and the GEC provided information to the EIP’s “Intake Queue” for flagging

  misinformation for social media companies. But as Mr. Scully explained during his deposition,

  CISA generally did not share information with EIP, and CISA did not provide tickets flagging

  potential misinformation for the EIP. Scully Dep. 73:25-74:2; 106:3-9; see Scully Ex. 1 at 38 (Dkt.

  209-2) (reflecting organizations that tagged alleged misinformation and not including CISA); Ex.




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  125 at 2 (“CISA did not send any examples of potential misinformation to EIP” and “EIP did not

  send any reports of false rumors or disinformation to social media companies on behalf of [DHS]

  or [CISA].”); Ex. 122 (stating that CISA did not send content to the EIP to analyze, and the EIP

  did not flag content to social media platforms on behalf of CISA); Ex. 74 (stating that EIP did not

  receive requests from CISA to eliminate or censor tweets).

         And with respect to the GEC, during the 2020 election cycle, the GEC discovered certain

  posts and narratives on social media and digital media that originated from, were amplified by, or

  likely to be amplified by foreign malign influence actors—like Russia, the People’s Republic of

  China, Iran, and their proxies—that sought to spread propaganda or disinformation about the 2020

  election. See Bray Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP

  on approximately 21 occasions. Id. Plaintiffs fail to explain how the GEC’s limited submission of

  tickets to the EIP concerning foreign malign influence actors transforms the EIP into a state actor.

         Furthermore, Plaintiffs fail to explain how funding by entities other than CISA or the GEC,

  such as a grant from the National Science Foundation and some Federal funding received through

  the Atlantic Council, reflects substantial entwinement in the EIP by CISA or the GEC. Many

  entities, such as universities, receive Federal funding and also engage in content moderation (for

  example, of student and faculty publications), and there is no basis for suggesting that the Federal

  government somehow becomes responsible for that content moderation under the First

  Amendment.

         Finally, Plaintiffs substantially overstate the extent and relevance of the “roles” that certain

  CISA personnel have played at the EIP, and vice versa. Plaintiffs contend that “[n]umerous current

  and former CISA personnel also have or had roles in the EIP,” and that “key EIP personnel such

  as Alex Stamos, Renee DiResta, and Kate Starbird also have formal roles in CISA.” PI Supp. 44.




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  That is an overstatement, at best. First, Plaintiffs rely upon the EIP report’s acknowledgement of

  contributions to the report by Alex Stamos, Renee DiResta, Kate Starbird, Pierce Lowary, Alex

  Zaheer, and Matthew Masterson, in claiming that CISA was “pervasively entwined” with the EIP.

  See Pls.’ PFOF ¶ 1163. As explained in Defendants’ response to Plaintiffs’ proposed findings of

  fact, Messrs. Lowary and Zaheer’s contributions to the EIP report were in their roles at the Stanford

  Internet Observatory, and Mr. Masterson, a former CISA employee, was simply thanked by the

  EIP for his “additional feedback.” See Defs.’ Resp. to Pls.’ PFOF ¶ 1163 (citing Scully Ex. 1 at 16

  (xii) (Dkt. 209-2)).110 Second, the “formal roles” Mr. Stamos and Ms. Starbird supposedly had at

  CISA were as members of CISA’s Cybersecurity Advisory Committee, an “independent advisory

  body” established in June 2021—after the 2020 election—that provides advice, consultation and

  recommendations to CISA on “the development, refinement, and implementation of policies,

  programs, and training pertaining to CISA’s cybersecurity mission.” See Ex. 119, at 1. And

  Plaintiffs identify no involvement of Ms. DiResta with CISA apart from a lecture she gave during

  a 2021 conference hosted by CISA. See Pls.’ PFOF ¶ 1171 (citing Cybersecurity Summit 2021:

  Responding to Mis, Dis, and Malinformation, YouTube (Oct. 27, 2021)). In short, Plaintiffs have

  failed to establish that CISA or the GEC were entwined in the management or control of the EIP.

         At bottom, Plaintiffs have failed to identify any factual or legal basis to establish that CISA

  or the GEC’s involvement with the EIP transformed the EIP into a state actor for purposes of the

  First Amendment. Plaintiffs accordingly cannot establish a substantial likelihood of success on

  this First Amendment theory. See also Defs.’ Resp. PFOF ¶¶ 1136-1235.



  110
     In addition, Mr. Stamos, Ms. DiRestra, Mr. Lowary, and Mr. Zaheer contributed to the EIP
  report in their capacity as “students, staff, and researchers” for the Stanford Internet Observatory,
  and Ms. Starbird contributed to the report in her capacity as an employee of the University of
  Washington Center for an Informed Public. Defs.’ Resp. to Pls.’ PFOF ¶ 1163.


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                 ii.     The Virality Project

         Plaintiffs next claim that “[f]ederal officials are pervasively entwined with the Virality

  Project.” PI Supp. 50. Plaintiffs argue that this entwinement between the Virality Project and OSG

  is established by the following six facts: (1) OSG “pushes platforms to share information with the

  Virality Project”; (2) OSG coordinated with the Virality Project on the Surgeon General’s Health

  Advisory; (3) the Surgeon General “repeatedly echoes the key messaging from the Virality

  Project”; (4) the Surgeon General launched his Health Advisory on Misinformation at an event

  hosted by the Stanford Internet Observatory, which is one of the groups that leads the Virality

  Project; (5) the Virality Project had “strong ties with several federal government agencies,”

  including OSG, and was involved in “flagging vaccine-related content on social media”; and (6)

  OSG “incorporated [the Virality Project’s] research and perspectives into its own vaccine

  misinformation strategy.” Id. None of these actions, either individual or collectively, establishes

  sufficient entwinement between OSG and the Virality Project to convert the private conduct of the

  Virality Project into state action. And as discussed infra, Plaintiffs have failed to establish certain

  of these alleged “entwinements” to begin with.

         First, Plaintiffs have provided no evidence that OSG “pushes platforms to share

  information with the Virality Project.” PI Supp. 50. In support of this claim, Plaintiffs cite a portion

  of the deposition of Eric Waldo, a former senior advisor to the Surgeon General, where he

  discussed a conversation the Surgeon General had with an employee of Facebook. During this

  conversation, the Surgeon General raised the possibility of having external researchers validate the

  extent to which misinformation spreads on social media platforms. Id. at 50 (citing Waldo Dep.

  35:20-26:2). But nowhere in this discussion does Mr. Waldo suggest that the Surgeon General

  asked Facebook to share information with the Virality Project (or any specific individual or entity),




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  much less that he “pushed” Facebook to do so. There is no evidence that the Virality Project was

  even mentioned in that conversation; Mr. Waldo, in fact, testified that he had never heard of the

  Virality Project. Waldo Dep. 207:10-21. (Plaintiffs also fail to explain what a request for Facebook

  to share information with the Virality Project would have had to do with “censoring” speech on

  Facebook.)

         Second, Plaintiffs’ claim that the Surgeon General “coordinated” with the Virality Project

  on his Health Advisory also is unsupported by the record. For example, Mr. Waldo stated that he

  did not know who was consulted in the development of the Surgeon General’s Health Advisory

  because that work predated his time in the office. Waldo Dep. 37:13-22. Mr. Waldo explained that

  OSG coordinated the launch of the Health Advisory with Renee DiResta, who worked for the

  Stanford Internet Observatory. Id. at 37:23-38:8. And while the Stanford Internet Observatory was

  one of the founders of the Virality Project, Plaintiffs put forward no evidence that Ms. DiResta

  participated in the rollout of the Health Advisory as part of her work for the Virality Project rather

  than the Stanford Internet Observatory. See Waldo Dep. 283:2-18 (stating he was unaware of any

  involvement by OSG with the Virality Project but was aware that it had involvement with the

  Stanford Internet Observatory concerning the announcement of the Health Advisory); Lesko Decl.

  ¶ 15 (Ex. 63) (stating that OSG did not understand the launch of the Health Advisory to be a

  Virality Project event).

         Third, there is no evidence that OSG “echo[ed] the key messaging from the Virality

  Project.” PI Supp. 50. The Virality Project’s final report (released in February 2022) postdated

  many—if not most—of the Surgeon General’s public and private statements on health

  misinformation that are included in the record, including the Health Misinformation Advisory

  (released in July 2021). There is no evidence that the Surgeon General was even aware of the




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  Virality Project’s “key messaging.” The fact that OSG and the Virality Project shared a view that

  misinformation related to COVID-19 could potentially be harmful—a view that is widely held,

  including by 132 countries’ governments, see supra at 13-14—is not evidence of entwinement of

  any kind.

         Fourth, Plaintiffs have failed to produce any evidence that OSG “flagg[ed] vaccine-related

  content on social media” to the Virality Project. See PI Supp. 50. The only support Plaintiffs

  identify for this claim is a sentence in a Virality Project report that states: “The Virality Project

  built strong ties with several federal government agencies, most notably [OSG] and the CDC, to

  facilitate bidirectional situational awareness around emerging narratives.” See Scully Ex. 2 at 17

  (Dkt. 209-3) (Virality Project Report). Plaintiffs provide no basis to equate facilitation of

  “bidirectional situational awareness around emerging narratives” with “flagging” “vaccine-related

  content on social media.” To the contrary, the record shows that OSG never provided any “tips,

  flags, tickets, reports, or other form of notification or input to the Virality Project concerning posts

  or accounts on social media.” Lesko Decl. ¶ 16 (Ex. 63).

         More fundamentally, even if Plaintiffs could establish each of these facts, which they

  cannot, Plaintiffs have identified no evidence that OSG exercised any management or control of

  the Virality Project, so as to convert its activities into state action. See Brentwood Acad., 531 U.S.

  at 295. Finally, Plaintiffs do not even attempt to argue that the Virality Project failed to utilize its

  own independent judgment in conducting its work, or that social media companies that received

  information from the Virality Project failed to do the same. See Pikaluk v. Horseshow Ent., L.P.,

  810 F. App’x 243, 247 (5th Cir. 2020).




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         Accordingly, Plaintiffs have failed to establish a likelihood of success in establishing that

  the activities of the Virality Project constitute state action attributable to Defendants. See also

  Defs.’ Resp. PFOF ¶¶ 1236-1365.

                                               * * * *

         Neither the EIP nor the Virality Project is a state actor, and even if Plaintiffs could establish

  that they are, Plaintiffs have not shown that their actions, in turn, converted the content moderation

  decisions of any social media company into state action. That is to say, Plaintiffs do not provide

  any evidence that either of these organizations threatened or pressured any social media company

  to take action of any kind against particular content, or speakers, when flagging potential

  misinformation for the companies to independently evaluate under their terms of service. 111 Nor

  is there any evidence that any social media company regarded (or acted on) communications from

  the EIP, or the Virality Project, as threats or pressure to “censor” speech. Rather, the evidence is

  clear that both the EIP and the Virality Project simply flagged information for social media

  companies so that those companies could apply their independent judgment to determine whether

  the information violated their terms of service—terms to which all users agree. See Waldo Ex. 28

  at 17 (Dkt. 210-3) (“Six social media platforms engaged with [Virality Project] tickets—

  acknowledging content flagged for review and acting on it in accordance with their policies”); Ex.

  74 (noting that Twitter “examined any reports sent to it by the Virality Project to determine if the

  content was violating of its policies and did not take action in cases where Twitter felt its existing

  policies were not violated”); Scully Ex. 1 at 17 (Dkt. 209-2) (“The EIP established relationships

  with social media platforms to facilitate flagging of incidents for evaluation when content or



  111
     Indeed, Plaintiffs’ misguided coercion theory is particularly inapt with respect to the EIP, as its
  activities began before the current Administration.


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  behavior appeared to violate platform policies[].”); Ex. 125 at 3 (“Social-media platforms, not EIP,

  decided which action to take.”); Ex. 74 (stating that the EIP provided public factual findings to

  social media platforms, but had no control over content moderation, censorship, or labeling posts);

  Ex. 122 (stating that EIP’s “researchers made independent decisions about what to pass on to

  platforms, just as the platforms made their own decisions about what to do with our tips”).

         Reflective of the fact that social media companies independently applied their terms of

  service when they received tips about potential misinformation from these organizations, the EIP

  reported that only 35% of the time potential misinformation was shared with companies was the

  misinformation “labeled, removed, or soft blocked.” Scully Ex. 1 at 27, 40 (Dkt. 209-2) (“No

  action was taken on 65%.”).

         Here, Plaintiffs’ claims of state action are even weaker than the ones rejected in O’Handley,

  discussed supra at 214-16. Neither the EIP nor the Virality Project possesses any regulatory

  authority—indeed, they are private actors. There is no evidence that either the EIP or the Virality

  Project threatened or pressured social media companies when identifying potential misinformation

  for their consideration. Rather, the evidence reflects that the EIP and the Virality Project simply

  flagged misinformation for social media companies, and those companies then independently

  applied their terms of service. Plaintiffs cannot establish state action implicating the First

  Amendment under these circumstances.

                 f. Social media companies’ voluntary consultation with agencies for scientific
                    and medical information about COVID-19 does not support a state action
                    finding relating to “other agencies.”
         Finally, Plaintiffs attempt to bring “other agencies” within the reach of their capacious

  joint-action theory through a series of meritless arguments that turn on mischaracterizations of the

  evidence. See PI Supp. 40-41. First, Plaintiffs posit that social media companies “routinely treat

  certain federal agencies, and “CDC in particular,” as fact-checkers having “authority to dictate”


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  what appears on their platforms. Id. at 40. As explained above, Arg. § II.B.4.a., that extravagant

  assertion lacks any evidentiary basis. As support, Plaintiffs point to Facebook’s requests for views

  about COVID-19 and vaccines from various agencies, including CDC and NIAID, when Facebook

  was assessing the validity of factual claims circulating on its platform. PI Br. at 40. But Plaintiffs

  point to no precedent teaching that Facebook’s (or any other company’s) voluntary choice to seek

  advice regarding available scientific and medical information about the virus and the vaccines can

  support a state action finding. And the cited correspondence does not indicate that, in voluntarily

  electing to treat the agencies as reliable sources of scientific information—even as “privileged”

  sources, as Plaintiffs put it—any company somehow surrendered its “plenary power to reexamine”

  agencies’ views, and “to reject them” when determining whether certain claims constituted

  “misinformation.” Cf. Nat’l Collegiate Athletic Ass’n, 488 U.S. at 194-95 (distinguishing Bates v.

  State Bar of Ariz., 433 U.S. 350, 360 n.12, 362 (1977), in holding that a private association was

  not a state actor where public university “retained the authority to withdraw from the [private

  association] and establish its own standards”). There is no evidence that any agency demanded or

  implored that companies accord any deference to its views, dispositive or otherwise, or that

  companies take any particular action concerning any particular post.

         Plaintiffs also point to a handful of instances in which NIAID communications staff

  notified a social media company of posts impersonating Dr. Fauci and asked for their removal;

  and they say that other officials made similar requests. PI Supp. 40. As noted, impersonating a

  federal official may violate both federal law, 18 U.S.C. § 912, and the social media companies’

  own content moderation policies, supra at 157 (noting Facebook and Twitter mechanisms for the




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  public to report imposter accounts).112 But as with the communications over the scientific validity

  of certain claims, these communications lack any support for Plaintiffs’ extraordinary assertion

  that social media companies have ceded “ultimate authority,” PI Supp. 40, to the Government to

  “dictate” was appears on their platforms.

         Next, Plaintiffs assert that social media companies’ efforts to amplify the Federal

  Government’s perspectives on the health benefits of COVID-19 vaccines, among other topics,

  constitutes “collusi[ve]” state action. PI Supp. 41. That argument is also mistaken. The

  Constitution preserves the Government’s leeway to craft and to put forward government views on

  matters of public import. See Walker, 576 U.S. at 207-08. The Government’s willingness to have

  its views about vaccines promoted on social media reflects a commonsense interest in sharing what

  the Government viewed as important public health information on platforms capable of reaching

  a large share of the population in the middle of a deadly pandemic. Such a willingness does not

  reflect “collusion” between the Government and the social media companies to suppress Plaintiffs’

  preferred views of controversial issues that arose during the pandemic. Plaintiffs thus cannot show

  any likelihood of success on the merits of their claims against some category of “other agencies”

  that have supposedly “colluded” with social media companies to violate any Plaintiffs’ First

  Amendment rights.

             5. Even if Plaintiffs could show that any social media content moderation actions
                amount to state action, the Court cannot necessarily conclude that all of those
                content moderation actions violate the First Amendment.
         In addition to suffering from numerous defects on its own terms, the sprawling and

  imprecise nature of Plaintiffs’ legal theory also makes it impossible for them to pinpoint which

  content moderation decisions are attributable to Defendants, thus precluding the Court from


  112
     Dr. Fauci was not involved in these requests and did not testify to his views on the removal of
  “parody” accounts, despite Plaintiffs’ contrary assertions, see PI Supp. 40. Supra PFOF § II.E.


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  conducting the relevant First Amendment analysis. Plaintiffs presume, incorrectly, that each

  relevant content moderation decision would be subject to, and would fail, strict scrutiny. But

  content moderation actions may apply to different forms of speech, some of which merit less

  protection than others, or even none. And moderation actions against certain content may have

  critical national security justifications and would survive the highest level of scrutiny. The Court

  thus cannot assume that all relevant content moderation decisions necessarily violate the First

  Amendment.

         Critically, Plaintiffs do not, and likely cannot, catalogue the types of speech that, allegedly,

  either currently is or will be subject to social media companies’ moderation actions that are

  attributable to the Government. They identify examples of speech previously subject to moderation

  actions, but they seek injunctive relief relating to ongoing and future unspecified moderation

  actions. Given Plaintiffs’ failure to submit evidence on the specific speech that is currently or will

  soon be subject to relevant moderation actions, the Court cannot conduct the analysis necessary to

  conclude that the moderation actions violate the First Amendment.

         To begin with, some categories of speech—even if deemed “core political speech” as

  Plaintiffs label them—fall outside the protections of the Free Speech Clause. Thus, moderation

  actions against that speech would not necessarily violate the First Amendment, even if such actions

  are attributed to the Government (which they are not).

         For example, the First Amendment permits “restrictions upon the content of speech in a

  few limited areas” without triggering scrutiny at all, including the areas of solicitation, aiding and

  abetting, fraud, conspiracy, and incitement. United States v. Stevens, 559 U.S. 460, 468 (2010)

  (citation omitted); see, e.g., Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949). To

  take one of those areas: The Free Speech Clause “does not shield fraud.” Illinois v. Telemarketing




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  Assocs., Inc., 538 U.S. 600, 612 (2003); see, e.g., Stevens, 559 U.S. at 468; Commodity Trend

  Service, Inc. v. CFTC, 233 F.3d 981, 993 (7th Cir. 2000). And a “difference of opinion as to

  whether a product had any value at all d[oes] not bar a fraud order based on claims of far greater

  curative powers than the product could actually have.” Reilly v. Pinkus, 338 U.S. 269, 273 (1949)

  (discussing Leach v. Carlile, 258 U.S. 138, 139 (1922)). So, for example, if a user made a social

  media post intended to promote potential commercial uses of a drug as a remedy for COVID-19

  via a fraudulent statement within the scope of the wire-fraud statute, 18 U.S.C. § 1343, the First

  Amendment would not protect that post, just as the First Amendment would not bar the

  Government from prosecuting the fraud.

         In any event, even if strict scrutiny were to apply to some of the content moderation

  episodes, certain, relevant moderation actions may satisfy it. The Supreme Court has observed that

  although strict scrutiny sets a high bar, cases in which it is met “do arise.” Williams-Yulee v. Fla.

  Bar, 575 U.S. 433, 444 (2015) (quoting Burson v. Freeman, 504 U.S. 191, 211 (1992) (plurality

  opinion)). As explained below, Arg. §§ III, IV-B, infra, certain moderation actions taken by social

  media platforms concern malign foreign actors, and if Plaintiffs argue that those moderation

  actions are attributable to the Defendants, the Court would have to weigh whether those actions,

  with the ensuing national security benefits, satisfy strict scrutiny.

         For example, when the speech in question implicates the Government’s foreign affairs and

  national security responsibilities, a Free Speech Clause claim does not automatically triumph over

  the exercise of those powers. See Dep’t of the Navy v. Egan, 484 U.S. 518, 527 (1988) (the

  Government’s interest in national security is “compelling”); Guillot v. Garrett, 970 F.2d 1320,

  1324 (4th Cir. 1992) (Luttig, J.) (“[F]oreign policy [is] the province and responsibility of the

  Executive.” (quoting Egan, 484 U.S. at 529; Haig v. Agee, 453 U.S. 280, 293-94 (1981))); Holder




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  v. Humanitarian L. Project, 561 U.S. 1, 33-34 (2010). Some of the communications with social

  media companies that Plaintiffs challenge involved agencies, such as the FBI and the State

  Department, that are statutorily authorized, at a minimum, to address malign foreign-origin

  misinformation. At least as to the activities of such agencies concerning posts from hostile foreign

  governments or foreign non-governmental organizations (such as al-Qaida)—entities unable to

  seek shelter under the Free Speech Clause, Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l,

  Inc., 140 S. Ct. 2082 (2020)—Plaintiffs have not demonstrated a likelihood of succeeding on their

  claim under the First Amendment.

         C. Plaintiffs are not likely to prevail on their APA and Ultra Vires claims.

         Plaintiffs argue that the various alleged communications by Defendants—none of which

  has imposed any legal obligations on any party—are ultra vires because they were not expressly

  authorized by statute. PI Supp. 53-55. Government officials, however, need no express statutory

  authorization to simply engage in basic speech.

      Although “an administrative agency’s power to promulgate legislative regulations is limited

  to the authority delegated by Congress,” Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208

  (1988) (emphasis added), “an agency without legislative rulemaking authority may” still “issue . .

  . non-binding statements,” Batterton v. Marshall, 648 F.2d 694, 702 (D.C. Cir. 1980). A

  “legislative-type rule,” or “substantive rule,” is one that is “binding” or has the “force of law,” and

  “affect[s] individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979);

  see also Walmart Inc. v. U.S. Dep’t of Just., 21 F.4th 300, 308 (5th Cir. 2021) (“Non-substantive

  rules” include “non-binding agency policy statements”); Changizi, 602 F. Supp. 3d at 1057

  (“[A]gencies may issue ‘non-binding [policy] statements’ on various topics even if they lack

  ‘legislative rulemaking authority’ in relation thereto”) (citation omitted).




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         Here, none of the alleged communications at issue is a “legislative” or “substantive” rule

  that requires Congressional authorization. They are non-binding communications that impose no

  obligations, and confer no rights, on any person. No person or organization—including any social

  media platform or social media user—is required to take any action as a result of those

  communications. And none of those communications imposes any penalty on any party that

  declines to take any particular action. Those communications amount to routine government

  speech conveying a policy view, akin to public remarks made by any other government official.

  Indeed, government officials across multiple administrations have engaged in televised interviews

  or have held press conferences, and Plaintiffs never suggest all of those activities were expressly

  authorized by some statute.

         Accordingly, Defendants did not require any Congressional authorization before

  expressing their views on social media practices.113 In any event, a government official has a right

  to engage in non-binding speech on matters the official finds important. 114 See Summum, 555 U.S.


  113
      In ruling on Defendants’ motion to dismiss, the Court noted that, in its view, Plaintiffs had
  properly alleged that Defendants imposed a “prior restraint” on social media users, and thus their
  conduct required statutory authorization. See MTD Order 72. But Plaintiffs refer to no statement
  or action by any Defendant that legally restrained any communications by social media users. Any
  social media account restrictions are imposed by the platforms themselves, not by any Defendant.
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      Moreover, many of the Defendant agencies have been given broad, express statutory authority
  to carry out their respective missions, which would encompass relevant communications with
  social media companies. See, e.g., 6 U.S.C. § 652 (CISA is charged with leading the national effort
  to understand, manage, and reduce risk to the nation’s cyber and physical infrastructure); 28 U.S.C.
  § 533, (the Attorney General may appoint officials to, inter alia, detect crimes against the United
  States and to conduct such other investigations regarding official matters under the control of the
  Department of Justice); 22 U.S.C. § 2656 note (GEC is formed “[t]o direct, lead, synchronize,
  integrate and coordinate efforts of the Federal Government to recognize, understand, expose, and
  counter foreign state and foreign non-state propaganda and disinformation efforts aimed at
  undermining or influencing the policies, security, or stability of the United States and United States
  allies and partner nations.”); 42 U.S.C. § 300u (HHS is authorized to “formulate national goals,
  and a strategy to achieve such goals, with respect to health information and health promotion . . .
  and education in the appropriate use of health care”); 42 U.S.C. § 284(b)(1)(F) (NIAID has the



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  at 467–68 (“A government entity has the right to ‘speak for itself’” and it “is entitled to say what

  it wishes . . . and to select the views that it wants to express,” otherwise “it is not easy to imagine

  how government could function”) (citations omitted). Thus, Plaintiffs cannot make a showing of

  ultra vires conduct based on nothing more than Government speech about, and with, social media

  companies. An ultra vires claim is valid only if a plaintiff can show that an official acted “without

  any authority whatever,” or without any “colorable basis for the exercise of authority.” See Danos

  v. Jones, 652 F.3d 577, 583 (5th Cir. 2011). Finally, Defendants incorporate by reference their

  argument that Plaintiffs have failed to identify a sovereign immunity waiver for their ultra vires

  claim. See Defs.’ Reply 36-39. Plaintiffs’ ultra vires claim thus fails.

         For similar reasons, Plaintiffs’ APA claims fail as well. The APA provides a right to

  judicial review to persons suffering legal wrong because of, or adversely affected or aggrieved by,

  “agency action,” 5 U.S.C. § 702; see id. § 706(2), that is “final,” id. § 704, see also Bennett, 520

  U.S. at 175. As shown by Defendants in support of their motion dismiss, Plaintiff have failed to

  allege—and now to establish—that they are challenging any conduct by Defendants that amounts

  to “agency action.” Defs.’ MTD 45-48. 115

         Nor have Plaintiffs met the finality requirement. To constitute “final agency action,” the

  action must be “identifiable” and “specific,” and must determine “rights or obligations” from




  authority to “develop, conduct, and support public and professional education and information
  programs”).
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      The APA defines “agency action” as including “the whole or a part of an agency rule, order,
  license, sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13);
  see also id. § 551(4), (6), (8), (10), (11) (defining “rule,” “order,” “license,” “sanction,” and
  “relief”). Note that the President is not subject to the APA at all. See Dalton v. Specter, 511 U.S.
  462, 470 (1994) (“The actions of the President . . . are not reviewable under the APA because . . .
  the President is not an ‘agency’”) (citation omitted). The President’s advisers are not considered
  agencies either. Cf. Ass'n of Am. Physicians & Surgeons, Inc. v. Clinton, 997 F.2d 898, 905 (D.C.
  Cir. 1993).


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  “which legal consequences will flow.” Sierra Club v. Peterson, 228 F.3d 559, 565 (5th Cir. 2000)

  (citation omitted). Additionally, the plaintiff “must show some direct, final agency action

  involving the particular plaintiff.” Texas v. Rettig, 987 F.3d 518, 529 (5th Cir. 2021) (emphasis

  added), cert. denied sub nom. Texas v. Comm'r of Internal Revenue, 142 S. Ct. 1308 (2022). Here,

  none of the alleged communications by Defendants constitutes “final agency action.” As explained

  above, those communications impose no requirement on any party, and so they do not determine

  any “rights or obligations.” Peterson, 228 F.3d at 565 (citation omitted). Nor do any of those

  communications “direct[ly]” affect any “particular plaintiff.” Rettig, 987 F.3d at 529 (citation

  omitted). To the extent they affect Plaintiffs at all, those effects would stem from the independent

  decisions of private social media companies, each of which is free to ignore Defendants. Thus,

  Defendants’ alleged communications do not constitute “final agency action,” and Plaintiffs’ APA

  claims fail for that reason alone.

         Additionally, Plaintiffs’ APA claims also fail on the merits. Their contentions that

  Defendants have acted in “arbitrary [and] capricious” fashion and “contrary to constitutional right”

  all hinge on the flawed assertion underlying their First Amendment claim: that Defendants have

  imposed some legal restriction on speech. See PI Supp. 54. Their argument that Defendants have

  failed to observe the APA’s requirements for notice-and-comment rulemaking, id. at 55; see

  5 U.S.C. § 553(b), is specious. Those requirements apply only to an agency’s promulgation of

  “final, legislative rules.” See Flight Training Int’l, Inc. v. Fed. Aviation Admin., 58 F.4th 234, 240

  (5th Cir. 2023). Defendants’ meetings and e-mails with social media companies, and their public

  remarks at press briefings, do not constitute APA “rule[s]” to begin with. 5 U.S.C. § 551(4)

  (defining a “rule” as “the whole or a part of an agency statement of general or particular

  applicability and future effect designed to implement, interpret, or prescribe law or policy”). Nor




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  are they “legislative” rules, that is, “rules having the force and effect of law . . . because they are

  promulgated pursuant to legislative authority delegated to the agency by Congress,” and that

  “modif[y] or add[ ] to a legal norm.” Flight Training Int’l, Inc., 58 F.4th at 241 (citations omitted).

  Defendants’ actions meet none of these criteria. Finally, Defendants incorporate by reference the

  argument that Plaintiffs have also failed to establish that they are challenging any conduct that

  amounts to discrete “agency action,” and therefore that they have not established any waiver of

  sovereign immunity as to this claim. See Defs.’ MTD 45-48. Plaintiffs’ APA claims thus fail.

  Plaintiffs’ APA claims thus fail.

  III.    Plaintiffs fail to satisfy the remaining preliminary injunction requirements.
          An injunction also is not appropriate because the balance of the equities and the public

  interest tip sharply in Defendants’ favor. See Nken v. Holder, 556 U.S. 418, 435 (2009) (holding

  that “[t]hese factors merge when the Government is the opposing party”). As an initial matter,

  given that Plaintiffs cannot establish the first two factors necessary to obtain an injunction, “it is

  clear they cannot make the corresponding strong showings [on the second two factors] required to

  tip the balance in their favor.” Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1295 (D.C.

  Cir. 2009); Mayo Found. for Med. Educ. & Rsch. v. BP Am. Prod. Co., 447 F. Supp. 3d 522, 535

  (N.D. Tex. 2020) (declining to address the final two Winter factors because plaintiff could not

  establish the first two factors).

          But even if Plaintiffs could satisfy one or both of those factors, the remaining Winter factors

  tip decisively in Defendants’ favor. Although there is no dispute that protecting First Amendment

  rights when they are genuinely at risk is in the public interest, the speculative risk of harm to

  Plaintiffs’ asserted interests must be weighed against the substantial, widespread obstruction of

  legitimate government functions that would result if the Court entered Plaintiffs’ proposed

  injunction—functions that are critical to the public welfare and the integrity of our democratic


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  processes. See Winter, 555 U.S. at 24 (“In exercising their sound discretion, courts of equity should

  pay particular regard for the public consequences in employing the extraordinary remedy of

  injunction.”) (citations omitted).

         First, as also shown in the discussion of the proposed injunction’s overbreadth, infra, Arg.

  § IV.B, Plaintiffs’ proposed injunction would significantly hinder the Federal Government’s

  ability to combat foreign malign influence campaigns, prosecute crimes, protect the national

  security, and provide accurate information to the public on matters of grave public concern such

  as health care and election integrity. See Knapp Decl. ¶¶ 5-50 (Ex. 157); Declaration of Brandon

  Wales, Exec. Dir., CISA (“Wales Decl.”) ¶¶ 27-30 (Ex. 167); Crawford Decl. ¶¶ 20-23 (Ex. 80);

  Lesko Decl. ¶¶ 18-19 (Ex. 63); Bray Decl. ¶¶ 12-15 (Ex. 142). These government activities are

  essential to the nation’s welfare and safety, and outweigh the speculative First Amendment

  interests Plaintiffs assert here. Def. Distrib. v. U.S. Dep’t of State, 838 F.3d 451, 459 (5th Cir.

  2016) (holding that any First Amendment interest by plaintiffs was outweighed by stronger interest

  of Federal Government in national security); Am. Civil Liberties Union v. Clapper, 785 F.3d 787,

  826 (2d Cir. 2015) (recognizing maintenance of national security as “public interest of the highest

  order”); Donald J. Trump for President, Inc. v. Way, 492 F. Supp. 3d 354, 375 (D.N.J. 2020)

  (recognizing “that the public interest favors preserving the integrity of the election process”);

  Beverly v. United States, 468 F.2d 732, 741 n.13 (5th Cir. 1972) (in assessing request for stay

  pending appeal, court was “particularly mindful that the grant of a stay would be contrary to the

  public interest in the orderly investigation of criminal activities by a federal grand jury”); cf.

  Spiegel v. City of Houston, 636 F.2d 997, 1002 (5th Cir. Unit A 1981) (reversing preliminary

  injunction that “by its terms . . . in its overbreadth forbids good faith as well as bad faith law




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  enforcement activities”); Roviaro v. United States, 353 U.S. 53, 59 (1957) (recognizing “the public

  interest in effective law enforcement”).

         The FBI, for example, routinely shares intelligence with private sector entities, including

  social media platforms, so that those entities can use that information to help protect the public.

  Knapp Decl. ¶ 15 (Ex. 157). Foreign malign actors (like Russia, the People’s Republic of China,

  and Iran) attempt to use social media to sway U.S. voters’ preferences and perspectives, shift U.S.

  policies, increase discord in the United States, and undermine the American people’s confidence

  in democratic institutions and processes. Id. ¶¶ 10-12. Across Administrations, the Executive

  Branch has recognized such operations as a profound threat to national security. Id. ¶ 11. Yet the

  proposed injunction could be understood to prevent the FBI from sharing, with social media

  platforms, intelligence about which accounts appear to be tools of foreign malign actors—

  preventing the platforms from taking appropriate action pursuant to their own terms of service.

         The injunction also could be understood to prevent the FBI and the GEC from calling

  platforms’ attention to accounts used by foreign terrorist organizations, such as the Islamic State

  of Iraq and ash-Sham (ISIS) and al Qaeda, to recruit supporters and propagate their ideologies. Id.

  ¶¶ 25-31; Bray Decl. ¶ 14 (Ex. 142). Whereas the promotion of terrorist activities is typically a

  violation of a social media platform’s terms of service, platforms may not be able to identify

  terrorist content without access to FBI intelligence. Knapp Decl. ¶ 30 (Ex. 157). For example, the

  FBI is uniquely positioned to identify and share intelligence about code words and symbols being

  used by terrorist groups. Id. ¶ 48. Similarly, the GEC would be unable to flag for social media

  companies the kinds of propaganda and disinformation spread by foreign terrorist groups or state

  actors aimed at harming U.S. interests. Bray Decl. ¶ 14 (Ex. 142). As the FBI has explained:

             [T]he Russian, Chinese, and Iranian governments, other foreign malign
             actors individuals or groups intent on preventing qualified voters from



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             voting, terrorists, cyber criminals, individuals or groups involved in crimes
             against children, and a wide variety of other criminals would benefit, and
             the American public and victims of crime would be harmed, if the court
             were to issue the proposed PI and if it were interpreted to prevent the FBI
             from communicating with social media platforms about criminal conduct,
             national security threats, and other threats on their platforms.

  Knapp Decl. ¶ 5 (Ex. 157).

         As this Court previously has recognized, “[i]n balancing the equities and considering the

  public interest, courts properly decline to second-guess the judgments of public health officials.”

  Chambless Enter., LLC v. Redfield, 508 F. Supp. 3d 101, 123 (W.D. La. 2020) (Doughty, J.). But

  that is precisely what the proposed injunction would do. As CDC has explained, the proposed

  injunction “could inhibit CDC from performing its essential education function, to the detriment

  of those whose health and well-being (and perhaps their lives) depend on the availability of

  accurate information about disease prevention and treatment,” Crawford Decl. ¶ 21 (Ex. 80), a

  function the agency has been faithfully carrying out for nearly 75 years.

         Second, the proposed injunction, if granted, could be read to prevent the Government from

  speaking on issues of significant public concern. Popular rhetoric is a core aspect of the modern

  presidency. Yet Plaintiffs seek to enjoin Executive Branch officials from using the bully pulpit to

  express the President’s views. For example, Plaintiffs seek to prohibit, as “censorship,” public

  statements made by the White House Press Secretary during press briefings, outreach by the

  Surgeon General, and even off-the-cuff remarks made by the President to reporters. See PI Supp.

  10 (“The White House makes detailed public demands for greater censorship, including at the

  White House press conferences on May 5, 2021 and July 15, 2021.”); id. (challenging President’s

  public statement that social media companies are “killing people”); id. at 11 (“The Surgeon

  General uses his ‘bully pulpit’ to pressure social-media platforms to censor disfavored

  viewpoints.”). As the Supreme Court has observed, “If every citizen were to have a right to insist



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  that no one paid by public funds express a view with which he disagreed, debate over issues of

  great concern to the public would be limited to those in the private sector, and the process of

  government as we know it radically transformed.” Summum, 555 U.S. at 468 (quoting Keller v.

  State Bar of Cal., 496 U.S. 1, 12–13 (1990)). Plaintiffs’ proposed injunction, if granted, would

  significantly impair the public interest by curtailing the Federal Government’s ability to publicly

  express its views on matters affecting the public welfare and ensure an informed citizenry.

           Together, these interests far outweigh Plaintiffs’ speculative fears that social media

  companies, whether under threat by or otherwise compelled by Defendants, will remove or

  otherwise restrict access to speech that Plaintiffs wish to engage in or with. Moreover, Plaintiffs’

  overbroad injunction, which would significantly interfere with core Executive Branch functions as

  explained below, raises serious separation-of-powers concerns. The Supreme Court has repeatedly

  emphasized that Article III does not “grant unelected judges a general authority to conduct

  oversight of decisions of the elected branches of Government.” California v. Texas, 141 S. Ct.

  2104, 2116 (2021); cf. Juliana v. United States, 947 F.3d 1159, 1171 (9th Cir. 2020) (affirming

  the dismissal of constitutional claims on redressability grounds because “it is beyond the power of

  an Article III court to order, design, supervise, or implement the plaintiffs’ requested remedial

  plan”), denying reh’g en banc, 986 F.3d 1295 (9th Cir. 2021). It is difficult to imagine a more

  overly expansive remedy than the broad injunction Plaintiffs propose, the enforcement of which

  would threaten to encroach on the Executive Branch’s prerogatives to speak on matters of public

  concern. Accordingly, if the Court reaches the balance of the equities and the public interest, it

  should conclude that those factors weigh heavily against granting the relief Plaintiffs seek.

  IV.      Plaintiffs’ proposed injunction is improper.
        Plaintiffs’ proposed injunction is not only contrary to the public interest but also improper for

  several reasons. First, the proposed injunction lacks the specificity required by Federal Rule of


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  Civil Procedure 65(d)(1). Second, the proposed injunction is substantially overbroad because it

  would needlessly interfere with the performance of lawful Executive Branch activities that protect

  the public welfare. And it would also needlessly enjoin former and current federal employees sued

  in their official capacities when Plaintiffs also seek to enjoin the federal agencies where they are

  or were employed. Accordingly, the Court should reject Plaintiffs’ proposed injunction, as further

  discussed below.

         A. Plaintiffs’ proposed injunction lacks the specificity required by Federal Rule of
            Civil Procedure 65.
         Plaintiffs’ proposed injunction is insufficiently precise. Rule 65(d)(1) requires that “[e]very

  order granting an injunction” must “state its terms specifically,” and “describe in reasonable

  detail—and not by referring to the complaint or other document—the act or acts restrained or

  required.” As the Supreme Court has explained:

         The specificity provisions of Rule 65(d) are no mere technical requirements. The
         Rule was designed to prevent uncertainty and confusion on the part of those faced
         with injunctive orders, and to avoid the possible founding of a contempt citation on
         a decree too vague to be understood. . . . Since an injunctive order prohibits conduct
         under threat of judicial punishment, basic fairness requires that those enjoined
         receive explicit notice of precisely what conduct is outlawed.

  Schmidt v. Lessard, 414 U.S. 473, 476 (1974) (citations omitted); Atiyeh v. Capps, 449 U.S. 1312,

  1316-17 (1981) (Rehnquist, J., in chambers) (holding that an injunction requiring prison officials

  to accomplish a further reduction of the inmate population at three facilities by “at least 250”

  individuals by a date certain “falls short of [Rule 65’s] specificity requirement”); Common Cause

  v. Nuclear Regul. Comm’n, 674 F.2d 921, 926-27 (D.C. Cir. 1982) (holding that an injunction

  barring the NRC from closing to the public future meetings similar in nature to the meeting that

  gave rise to the action lacked the requisite specificity under Rule 65). As the Fifth Circuit has

  explained, an “injunction should not contain broad generalities,” but “must describe in reasonable




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  detail the acts restrained or required” and identify what specific policies are enjoined. Scott v.

  Schedler, 826 F.3d 207, 213-14 (5th Cir. 2016).

         Plaintiffs’ requested injunction falls far short of the specificity requirement of Rule 65(d).

  Plaintiffs’ proposed, ambiguous injunction seeks to enjoin certain Defendants from “taking any

  steps” to “demand, urge, encourage, pressure, coerce, deceive, collude with, or otherwise induce

  any social-media company or platform for online speech” to “censor, suppress, remove, de-

  platform, suspend, shadow-ban, de-boost, deamplify, issue strikes against, restrict access to,

  demonetize,” or take “any similar adverse action” against “any speaker, content, or viewpoint

  expressed on social media.” PI Supp. 67-68. If Defendants are to understand these undefined terms

  by reference to the immense swath of conduct that, to Plaintiffs, amounts to coercion,

  encouragement, or joint participation, those terms could encompass any form of expression, public

  or private. The line between permissible and impermissible expression would be anyone’s guess.

         Nor do Plaintiffs define the terms “censor,” “suppress,” “remove,” “de-platform,”

  “suspend,” “shadow-ban,” “de-boost,” “deamplify,” “issue strikes against,” “restrict access to,” or

  “demonetize,” many of which are conclusory labels (“censor,” “suppress”) or terms of art within

  the social media industry that the proposed injunction does not define (“shadow-ban,” “de-boost,”

  “deamplify”). Compounding those ambiguities is the proposed injunction’s attempt to prohibit

  Defendants from “otherwise induc[ing]” these actions or “any similar adverse action[s].” See Scott,

  826 F.3d at 207; M.D. ex rel. Stukenberg v. Abbott, 907 F.3d 237, 272 (5th Cir. 2018); Louisiana

  v. Biden, 45 F.4th 841, 845-46 (5th Cir. 2022); United States v. Phillip Morris USA Inc., 566 F.3d

  1095, 1137 (D.C. Cir. 2009). In addition, the proposed injunction fails to specify the covered

  “social media compan[ies]” and “platform[s] for online speech,” or, if these terms are meant

  instead to refer to entire categories including companies not yet in existence, then the injunction




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  does not give them a precise definition. These vague, undefined concepts fail to put the Defendants

  on reasonable notice of what conduct is proscribed and improperly place Defendants at risk of

  contempt. 116

         B. Plaintiffs’ proposed injunction is impermissibly overbroad.
         Even if Plaintiffs’ proposed injunction were sufficiently precise, it is radically overbroad.

  The proposed injunction would threaten to prevent Executive Branch agencies from performing

  functions essential to public safety and national security—functions that pose no threat to the First

  Amendment. Thus, the injunction would defy established principles barring equitable relief that is

  “more burdensome to the defendant[s] than necessary to provide complete relief to the plaintiffs.”

  Califano v. Yamasaki, 442 U.S. 682, 702 (1979); Scott, 826 F.3d at 211 (an injunction must be

  “narrowly tailor[ed] . . . to remedy the specific action which gives rise to the order as determined



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     These defects would not be cured by the proposal by amicus Children’s Health Defense, which
  would limit the proposed injunction to a prohibition against federal officials’ privately
  communicating with social media companies for the purpose of inducing them to censor
  constitutionally protected speech, as such an injunction would still lack the specificity required by
  Rule 65(d). See Br. Amicus Curiae of Children’s Health Def. 3-6 (Dkt. 262). For example, it is
  unclear what conduct would amount to “inducement” or what specific speech would be subject to
  constitutional protection and, therefore, subject to the injunction. See Zamecnik v. Indian Prairie
  Sch. Dist., 619 F. Supp. 2d 517, 523 (N.D. Ill. 2007) (holding that a request for a preliminary
  injunction must “establish[] the speech at issue with sufficient specificity”); Burton v. City of Belle
  Glade, 178 F.3d 1175, 1200 (11th Cir. 1999) (holding that an injunction that ordered a City “not
  to discriminate” in the future lacked sufficient specificity). And an injunction that prevented
  Defendants from inducing the censorship of “constitutionally protected speech” would also
  constitute an impermissible “obey-the-law” injunction. See SEC v. Life Partners Holding, Inc.,
  854 F.3d 765, 784 (5th Cir. 2017) (“Rule 65(d) therefore prohibits ‘general injunction[s] which in
  essence order[] a defendant to obey the law.” (quoting Meyer v. Brown & Root Constr. Co., 661
  F.2d 369, 373 (5th Cir. 1981))); Payne v. Travenol Lab., Inc., 565 F.2d 895 (5th Cir. 1978) (holding
  that “[t]he word ‘discriminating,’ like the word ‘monopolizing’ . . . is too general” and that “[s]uch
  ‘obey the law’ injunctions cannot be sustained” (citations omitted)). In addition, such an injunction
  would be improper because by focusing on the “purpose” of the communication (i.e., “the purpose
  of inducing”), compliance with the injunction would turn on the intent behind each Defendants’
  communication with a social media company—an unworkable standard that would simply result
  in endless hearings to determine whether Defendants had the requisite intent to violate the
  injunction in communicating with social media companies.


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  by the substantive law at issue”); cf. INS v. Legalization Assistance Project of L.A. Cnty. Fed’n of

  Labor, 510 U.S. 1301, 1305-1306 (1993) (O’Connor, J., in chambers) (emphasizing harm from

  “improper intrusion by a federal court into the workings of a coordinate branch of the

  Government”).

         1.     For example, the proposed injunction could be taken to apply to “a range of

  situations—some of which are completely unrelated to the allegations against the FBI and FBI

  officials in this lawsuit—in which it would be in the public interest and consistent with the FBI’s

  law enforcement and national security missions for the FBI to notify a social media platform of

  criminal conduct, national security threats or other threats on its platform.” Knapp Decl. ¶ 5 (Ex.

  157). Yet the proposed injunction could be read to preclude Defendants from sharing intelligence

  on the use of online platforms to commit crimes ranging from fraud to the sexual exploitation of

  children,117 conduct that is not subject to First Amendment protection. Id. ¶¶ 5-50. See, e.g., Seals,

  898 F.3d at 597 (holding that statute that regulated true threats and extortion did not implicate the

  First Amendment).

         United States v. Mackey, No. 21-CR-80, 2023 WL 363595 (E.D.N.Y. Jan. 23, 2023),

  illustrates the overbreadth of Plaintiffs’ requested injunction. In Mackey, the United States charged

  the defendant with a violation of 18 U.S.C. § 241 based on his alleged participation in an online

  conspiracy to disenfranchise certain Twitter users by, inter alia, conducting a coordinated

  campaign to spread disinformation about voting procedures during the 2016 Presidential election.


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     The proposed injunction could potentially prevent the Government from alerting a social media
  provider that child sexual abuse material exists on its platform, thus triggering the provider’s
  statutory duties under 18 U.S.C. §§ 2251 et seq., including the removal and reporting of such
  content. Knapp Decl. ¶ 43 (Ex. 157). Furthermore, the proposed injunction’s prohibition on ‘acting
  in concert with others’ could potentially prevent the National Center for Missing and Exploited
  Children (“NCMEC”) from working with government agencies and providers to keep child
  pornography off the internet. Id. ¶¶ 43-44.


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  Id. at *1. The district court rejected the defendant’s argument that the indictment violated his First

  Amendment rights, holding that “[t]his case is about conspiracy and injury, not speech.” Id. at *19.

  In so concluding the court observed that “[f]alse speech . . . may fall into categories historically

  exempted from First Amendment protection[,]” id., and took particular note of the Supreme

  Court’s observation in Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876, 1899 n.4 (2018),

  that the government “may prohibit messages intended to mislead voters about voting requirements

  and procedures.” Mackey, 2023 WL 363595, at *22. 118 Yet Plaintiffs’ proposed injunction would

  appear to bar federal law enforcement from alerting social media companies to the presence of

  such illegal activity on their platforms. Other examples of the proposed injunction’s gratuitous

  intrusions on the FBI’s law-enforcement activities are discussed in the declaration of Larissa L.

  Knapp, see Knapp Decl. ¶¶ 10-49 (Ex. 157).

          2.    The proposed injunction could similarly interfere with key functions statutorily

  assigned to CISA, such as the ability to share with platforms information that allows them to

  detect, prevent, and mitigate malicious cyber activity. Wales Decl. ¶ 26 (Ex. 167). For example,

  CISA’s declaration explains that in March 2023, a cybercriminal compromised a Voice over

  Internet Protocol (VoIP) company, causing the company unwittingly to distribute an altered

  version of its software to hundreds of thousands of customers. Id. ¶ 28.c. The altered software

  would initiate a connection to GitHub—a site that allows individual users to develop, host, and



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      The court further explained that “statutes that prohibit falsities in order to ‘protect the integrity
  of government processes’ (e.g., perjury statues, laws barring lying to government officials, and
  those ‘prohibit[ing] falsely representing that one is speaking on behalf of the Government’) are
  properly within the government’s regulatory authority.” Mackey, 2023 WL 363595, at *21
  (citation omitted). Accordingly, the district court rejected the defendant’s First Amendment
  challenge that characterized his deceptive tweets as “political speech” and concluded that his
  tweets are “most accurately characterized as a vehicle or means for illegal conduct.” Id. at *22.



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  download software and to comment on or contribute to one another’s work—to download a file

  containing Internet addresses that the user’s computer would then use to download malware. Id.

  To mitigate the harm caused by this crime, CISA contacted GitHub to learn whether the malicious

  file remained accessible. Id. If that conduct were regarded as encouraging GitHub to remove the

  file, as plaintiffs’ theory would appear to suggest, the proposed injunction would hamper such

  efforts in the future. Id. Other potential harms to CISA should Plaintiffs’ broad injunction issue

  are discussed in the declaration of Brandon Wales. See Wales Decl. ¶¶ 28-30 (Ex. 167).

         3.    In addition, the proposed injunction could be understood to interfere with important

  public-health functions. Because so many Americans use social media, the Surgeon General, in

  exercising his responsibility to promote healthy behavior, would typically ask social media

  platforms to take steps that help Americans make choices that improve their health. Lesko Decl.

  ¶ 19 (Ex. 63). The Surgeon General could, for example, ask platforms to take steps to prevent

  online bullying of children and teenagers, or to limit advertisements for tobacco, alcohol, or

  dangerous weight-loss products that could be seen by children or teenagers. Id. ¶ 20. But the

  proposed injunction could be understood to forbid that sort of advocacy if it is deemed to

  “encourage” platforms to take action against the content in question. Id.

         Notably, Plaintiffs engage in the same type of advocacy with social media companies that

  their proposed injunction could be construed to prohibit. For example, in October 2019, Louisiana

  Attorney General Jeff Landry, on behalf of the National Association of Attorneys General, wrote

  a letter to Facebook, Craigslist and eBay “call[ing] upon you to join us in this shared responsibility

  to protect our youth, the Constitution and the integrity of the digital marketplace” by, among other

  things, “review[ing] the current content posted to [your] companies’ websites and remove illegal

  postings for the sales and/or transfer of alcohol products.” Ex. 158 at 1 (Press Release, La. Dep’t




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  of Just., Online Alcohol Sales Concern of Republican and Democrat Attorney Generals (Oct. 22,

  2019), https://perma.cc/4ZFX-TEP5); Ex. 159 at 1 (Letter from Jeff Landry, La. Att’y Gen., et al.,

  to Scott Schenkel, Interim Chief Exec. Officer, eBay (Oct. 22, 2019)). The letter also invited the

  companies to help “establish a work[ing] group with stakeholders from industry and government”

  to “discuss and establish realistic and effective protocols for internet platforms and content

  providers related to illegal and unlicensed alcohol sales via digital platforms.” Ex. 159 at 2.

         Similarly, on behalf of 33 other state attorneys general, Attorney General Landry sent a

  letter to Facebook, eBay, Craigslist, Walmart and Amazon urging them “to more rigorously

  monitor price gouging practices by online sellers using their services” concerning COVID-19,

  including a request that the companies “[s]et policies and enforce restrictions on unconscionable

  price gouging during emergencies” and “[t]rigger price gouging protections prior to an emergency

  declaration.” Ex. 160 at 1 (Press Release, La. Dep’t of Just., 33 State Attorneys General Warn

  Amazon, Facebook, Ebay, Craigslist, Walmart: Online Marketplaces Are Not Exempt from Price

  Gouging Laws (Mar. 25, 2020), https://perma.cc/X2BY-FHF5). And in April 2021, Attorney

  General Landry joined a bipartisan letter to Twitter, among others, noting that the platforms were

  “being used to market and sell blank or fraudulently completed COVID vaccine cards bearing the

  [CDC] logo,” and stating expressing “deep[] concern[] about this use of [their] platforms to spread

  false and misleading information regarding COVID vaccines.” Ex. 161 at 1 (Letter from Nat’l

  Ass’n of Att’ys Gen., et al., to Jack Dorsey, CEO, Twitter, Inc., et al. (Apr. 1, 2021)). The letter

  requested that the platforms “take immediate action to prevent [their] platforms from being used

  as a vehicle to commit these fraudulent and deceptive acts that harm our communities.” Id. at 2.

  Among other requests, the letter indicated that platforms should “promptly tak[e] down ads or

  links identified through that monitoring.” Id. Plaintiffs’ position that they can combat potential




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  violations of state law on social media platforms through direct communications with those

  platforms, but that the Federal Government must be enjoined from taking similar action to curtail

  violations of federal law, highlights why their proposed injunction should be rejected.119

         4.     Relatedly, Plaintiffs’ proposed injunction would preclude the White House and

  federal agencies from legitimately using the bully pulpit to advance their views on matters of

  public concern, raising serious separation-of-powers concerns. “A President frequently calls on

  citizens to do things that they prefer not to do—to which, indeed, they may be strongly opposed

  on political or religious grounds.” Freedom From Religion Found., 641 F.3d at 806. Indeed,

  popular rhetoric is a core aspect of the modern presidency—a tool that presidents have used to

  galvanize private actors for more than a century. See Jeffrey K. Tulis & Russell Muirhead, The

  Rhetorical Presidency 4 (2017 ed.). But a presidential request is not compulsion where “people

  are free to ignore the President’s call.” Peery, 791 F.3d at 791.

         The same holds true for other Executive Branch officials. Because it would be impossible

  for the President to administer the entire Executive Branch alone, “the Constitution assumes that

  lesser executive officers will assist the supreme Magistrate in discharging the duties of his trust.”

  Seila L. LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2197 (2020) (citation omitted).

  Limitations on the speech of other senior government officials, including White House staff and

  Cabinet members, therefore also threaten the President’s constitutional prerogatives in

  administering the Executive Branch and articulating the administration’s policy views. The




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     Plaintiffs’ proposed inunction also could bar components of the Department of Justice or other
  agencies from working with social media companies to address dangerous TikTok “challenges,”
  such as the one that recently resulted in the death of a 13-year-old who overdosed on Benadryl.
  Ex. 162 (Michelle Watson, Carma Hassan, Benadryl TikTok ‘challenge’: A 13-year old died in
  Ohio after participating, CNN (Apr. 18, 2023)).


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  Seventh Circuit has thus recognized that it is appropriate for federal officials and agencies

  generally to use the bully pulpit:

         Government officials and agencies spend a great deal of time urging private persons
         and firms and other institutions to change their behavior (for example, to adopt
         healthier diets or use public transit more) without backing up their urging with
         coercion or the threat of it. Physically fit young men and women are encouraged to
         enlist in the armed forces, but there is no longer a draft, and so there is no coercion
         to enlist and it would be absurd to claim that encouraging enlistment is the
         equivalent of forcing people to serve.

  Peery, 791 F.3d at 790-91.

         Here, Plaintiffs’ proposed injunction could be read to preclude the Defendants from

  “urging” or “encouraging” social media companies to act consistent with an Administration’s

  views of the public interest. Indeed, Plaintiffs’ proposed injunction is so broad that it could be

  read to not only cover direct communications between Defendants and social media companies

  but could preclude federal officials from giving public speeches or press conferences by

  government officials where they “encouraged” social media companies to take certain actions,

  including actions against malign foreign influence actors, people who disseminate child sexual

  abuse materials, or people who improperly disclose classified documents. See, e.g., Ex. 166 (Brett

  Samuels, White House says social media companies have responsibility to manage platforms amid

  leaked document fallout, The Hill (Apr. 13, 2023)). Indeed, under Plaintiffs’ theory, an

  Administration’s public statement recommending reforms to § 230 could be swept into the

  proposed injunction if it were deemed to be a veiled threat to social media companies. Plaintiffs

  have no First Amendment right that entitles them to muzzle such plainly legitimate Government

  speech. See Summum, 555 U.S. at 468 (citizens have no right to prohibit government speech with

  which they disagree); Freedom From Religion Found., 641 F.3d at 806 (“Those who do not agree




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  with a President’s statement may speak in opposition to it; they are not entitled to silence the

  speech of which they disapprove.”).

         5.     Furthermore, Plaintiffs’ proposed injunction could conceivably be construed to

  preclude agencies from publishing election- and health-related information on their websites if a

  social media company were to rely upon that information in deciding whether information on its

  platform violated its terms of service. Under Plaintiffs’ proposed injunction, such proposed

  publication on websites could be perceived as “encouraging” platforms to consider this

  information in applying their terms of service. Indeed, far from being speculative, Plaintiffs

  improperly challenge this precise conduct. See, e.g., Pls.’ PFOF ¶ 729 (“As was evidently intended,

  Dr. Collins’s blog post immediately fueled media coverage attacking the lab-leak theory as a

  ‘conspiracy theory.’”); id. ¶ 1105 (“Scully admits that CISA was aware that ‘social media

  platforms were following the rumor page posted by CISA and using that as a debunking method

  for content on their platforms.”).

         Putting to one side that such publication via websites is classic government speech, an

  injunction that could be read to preclude Defendant agencies from publishing information on their

  websites on which social media companies might rely for purposes of applying their own content

  moderation policies would substantially obstruct Defendants’ performance of their missions. See

  Crawford Decl. ¶ 21 (Ex. 80); Bray Decl. ¶ 14 (Ex. 142); Wales Decl. ¶ 28.a. (Ex. 167). It would

  leave Defendants in an impossible position where each agency post would risk drawing

  accusations of contempt depending on the unpredictable choices of social media companies

  concerning whether and how to act on that information.

         For example, CISA developed a Rumors vs. Reality page on its website to provide accurate

  information about election rumors. Ex. 112; Scully Dep. 290:18-23. The page was “designed to




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  address common disinformation narratives by providing accurate information related to elections.”

  Ex. 112. The page “seeks to inform voters and help them build resilience against foreign influence

  operations and disinformation narratives about election infrastructure.” Id. Tellingly, despite their

  apparent objection to CISA’s maintenance of this website, Plaintiffs Louisiana and Missouri have

  similar websites that seek to debunk rumor and misinformation concerning both elections and

  COVID-19. See Ex. 113; Ex. 114; Ex. 115; Ex. 116. In fact, contrary to its position in this litigation,

  the Missouri Secretary of State’s election misinformation page expressly links to CISA’s resources

  concerning election misinformation. Ex. 114 (linking to CISA’s “The War on Pineapple:

  Understanding Foreign Intelligence in 5 Steps”; and “Social Media Bots Overview”).

         Similarly, a “core part of CDC’s mission is to promulgate science-based, data-driven

  information about public health matters.” Crawford Decl. ¶ 21 (Ex. 80). Like CISA, social media

  companies may choose to rely on CDC-published information when determining whether certain

  posts violate their terms of service. Id. Yet, under Plaintiffs’ proposed injunction, this could be

  construed as a “step” to “encourage” a social media company to “suppress” or take “similar

  adverse action” against information that is counter to CDC-provided information. This is yet

  another example of the staggering overbreadth of Plaintiffs’ proposed injunction.

         6.     Plaintiffs’ proposed injunction is also overbroad because it seeks to preclude

  Defendants from “acting in concert” with “any such others who are engaged in the aforementioned

  conduct.” PI Supp. 68. Although it is unclear what conduct Plaintiffs seek to cover with this

  provision, as written the language could be read to mean that even if a Defendant is unaware that

  another entity has “engaged in the aforementioned conduct,” that Defendant could not “act[] in

  concert” with that entity for any purpose—even if that interaction has nothing to do with content

  moderation. This is an absurd and unworkable result, and the Court should reject such an




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  amorphous injunction that would cause significant harm to Defendants’ operational interests. See,

  e.g., Wales Decl. ¶ 29a-e (Ex. 167); Crawford Decl. ¶ 22 (Ex. 80).120

         7.     Finally, Plaintiffs’ proposed injunction is overbroad because it would not just apply

  to the Office of the White House Press Secretary and numerous agencies but also would extend to

  dozens of current and former federal employees sued in their official capacity. See PI Supp. 67-

  68). 121 As the Fifth Circuit has recognized, an official capacity claim is essentially a claim against

  the agency and the official capacity claims therefore merge with those against the agencies.

  Harmon v. Dallas Cnty., 927 F.3d 884, 891 (5th Cir. 2019) (citing Turner v. Houma Mun. Fire &

  Police Civil Serv. Bd., 229 F.3d 478, 485 (5th Cir. 2000)) (observing that when “a defendant

  government official is sued in his individual and official capacity, and the city or state is also sued”

  the “official-capacity claims and the claims against the governmental entity essentially merge”);

  Smith v. Town of Lake Providence, No. 3:22-CV-01319, 2022 WL 16626762, at *7 (W.D. La. Oct.

  17, 2022) (holding that official capacity claims brought against officers merged with claims against



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      For example, Plaintiffs’ overbroad proposed injunction could throw CDC’s funding of research
  and other public health programs into jeopardy, thereby inhibiting CDC from carrying out core
  elements of its vital public health mission. Crawford Decl. ¶¶ 22-23 (Ex. 80). If a CDC-funded
  entity publicizes research that runs contrary to a narrative circulating on social media, and a social
  media company then takes steps consistent with its terms of service to limit that narrative, it is
  unclear whether CDC would be deemed to be “acting in concert” with “others” “engaged” in the
  “conduct” of “inducing” a social-media company to “suppress” or take “similar adverse action”
  against certain content, speakers or viewpoints. Id.
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      As another example of the overbreadth of the proposed injunction, Plaintiffs seek to enjoin DOJ
  and the State Department in addition to the component offices under their authority. See PI Supp.
  68. But despite Plaintiffs’ voluminous filings, they do not appear to have identified any evidence
  that these parent agencies have violated the First Amendment. For example, Plaintiffs identify
  DOJ only twice in their supplemental brief, and in both instances, it is in the context of meetings
  it attended with other federal departments and agencies, and in which misinformation generally
  was discussed. Id. at 34, 37. And Plaintiffs do not identify any conduct of the Department of State,
  which is only referenced twice in their brief, and, in both circumstances, it is simply to note that
  State is the parent agency of the GEC. Id. at 39, 44. Accordingly, any injunction in this case should
  not run against these agencies.


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  town). Indeed, “nothing [is] added by suing the [government official] in his official capacity.” See

  Jungels v. Pierce, 825 F.2d 1127, 1129 (7th Cir. 1987).

         Plaintiffs fail to explain why an injunction against federal employees sued in their official

  capacity is necessary when they also seek to enjoin the agencies where these individuals are now

  or previously were employed. There is nothing added by seeking to enjoin individuals sued in their

  official capacity where the agencies also would be subject to the proposed injunction. Instead,

  enjoining those individuals would result in substantial confusion. For example, if the proposed

  injunction were to extend to individuals sued in their official capacity, when an official capacity

  Defendant leaves the Government, a successor would need to be identified. But identifying a

  successor is not always easy or obvious, as employee job descriptions and responsibilities change

  over time. Sometimes, there may not be a successor given changed agency priorities and

  organizational structures. Accordingly, given the potential confusion resulting from applying an

  injunction against a host of individuals and because the official capacity claims merge with the

  claims against the agencies and the Office of the White House Press Secretary, any injunction in

  this case should apply only to those agency Defendants.

         In addition, Plaintiffs improperly seek to apply the injunction against former Federal

  Government employees sued in their official capacity and for whom no successor has been named,

  including: Andrew Slavitt; Clarke Humphrey; and Benjamin Wakana. PI Supp. 68; see also Defs.’

  Notice of Substitution at 4. Any prospective injunctive relief against these former government

  employees sued in their official capacity is no longer available against them because they have no

  authority to act. See Alvarez v. O’Brien, No. 8:21-cv-303, 2022 WL 5209377, at *2 (D. Neb. Oct.

  5, 2022) (citing Tara Enters., Inc. v. Humble, 622 F.2d 400, 401 (8th Cir. 1980) (holding that

  “because monetary damages are not sought nor any other relief which would be operative against




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  these defendants who no longer possess any official power, the action against them is, of course,

  moot”).” Nor are successors automatically substituted for these Defendants pursuant to Fed. R.

  Civ. P. 25(d), because these Defendants “did not hold an office for which a particular successor

  can be identified.” Alvarez, 2022 WL 5209377, at *2 (citations omitted). Accordingly, injunctive

  relief against former government employees for whom there are no successors is improper.

                                               * * * *
         Thus, even if the Court were to conclude that Plaintiffs are likely to prevail on the merits,

  that Plaintiffs have shown that they would suffer concrete and imminent irreparable harm in the

  absence of an injunction, and that Plaintiffs’ harm outweighs the detriment to the public interest

  of awarding them a properly drawn injunction, it would be profoundly and unnecessarily harmful

  to the public interest, and therefore unjustifiable, to impose the overbroad and vague injunction

  that Plaintiffs have proposed. If any injunction could be appropriate upon a finding that Plaintiffs

  are likely to prevail and face irreparable harm, it would need to be far more narrowly tailored to

  prevent the purportedly unlawful conduct that would cause Plaintiffs’ asserted injuries.

                                           CONCLUSION
      For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction should be denied. If

  nevertheless the Court were to enter an injunction, Defendants respectfully request that the

  injunction be administratively stayed for seven days, to allow Defendants time to consider moving

  for a stay pending appeal.




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  Dated: May 2, 2023          Respectfully submitted,

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         858ÿ88ÿ54 8 ÿ38ÿ46ÿ 78ÿÿ41ÿ8ÿ48ÿ ÿÿ459
          8 ÿ ÿ8ÿ 8ÿ 8ÿ01ÿ345ÿÿ878ÿ 8ÿÿ 8ÿ345ÿÿ8
         5ÿ4ÿ ÿ 8 ÿ898ÿ! "##8894#149#889$ÿ
    8ÿ 988ÿ3459ÿ 88ÿÿ8ÿ49ÿ4ÿ88 ÿ459ÿ8 ÿ18ÿ8ÿ4ÿ 
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    98 8ÿ58ÿ4ÿ98 3ÿ189ÿ ÿ8ÿ489ÿ44ÿ8ÿ41189ÿ! "##8894#8#&
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     59ÿ4ÿ89ÿ4ÿ 9 8ÿÿ8ÿ5ÿ4789 4ÿ ÿ144ÿ ÿ 8ÿ
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     149ÿ ÿ8 ÿ5E58ÿ988ÿ4ÿ459ÿ4 89 4ÿ98E59ÿ459ÿ8889
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    0123ÿ567ÿ89 ÿ587 ÿ76ÿ6 7ÿÿ 867ÿ23ÿ76 8ÿ33 73ÿ82ÿ86ÿ6 7
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    21ÿ86ÿ82ÿ25ÿ23ÿ076 8ÿ3 7ÿ89 ÿ87ÿ65ÿ89 ÿ3 ÿ11ÿ65ÿ87255ÿ 7
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    9 ÿ558ÿ65ÿ!"#$%&'ÿ63ÿ887ÿ92ÿ2172ÿ702ÿ23ÿ38ÿ ÿ 3
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    2028ÿ567ÿ+0 8ÿ7689ÿ3ÿ89ÿ2ÿ23 52873ÿ 12ÿ3ÿ!932ÿ92
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    7ÿ1663ÿ28ÿ96ÿ ÿ23ÿ608ÿ+83ÿ893616ÿ86ÿ ÿ67ÿ0 7567238
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    56ÿ23ÿ2ÿ ÿ2ÿ923 ÿ86ÿ6 7ÿ8ÿ86ÿ 8ÿ89 ÿ3 ÿ 23ÿ
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     ÿ ÿ3 38ÿ928ÿ ÿ11ÿ6ÿ86ÿ767ÿ2ÿ0 1ÿ2ÿ061ÿ6116
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    89ÿ35672863ÿ576ÿ896ÿ6 7ÿ9 3ÿ73ÿ63838




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        01233ÿ567897 1ÿ86ÿ 969891ÿ1697ÿ5678178ÿ17ÿ98ÿÿÿ531ÿ533ÿ86ÿ58967
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        1ÿ98ÿ531ÿ88ÿ1ÿ933ÿ768ÿ1ÿ31ÿ86ÿ81ÿ17651178ÿ58967ÿ67ÿ11ÿ118
        88ÿ567897ÿ9756 3181ÿ6ÿ9 81ÿ9768967ÿ6 8ÿ!"#$ÿ9ÿ9ÿ768
        178ÿ86ÿ3998ÿ66ÿ98ÿ95967ÿ6ÿ1% 197ÿ6 1ÿ6 8ÿ67697ÿ891
         1381ÿ86ÿ6817893ÿ1953ÿ9781178967ÿ88ÿ6ÿ 691$
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        ""))ÿ8118ÿ56789797ÿ93197ÿ7ÿ68178933ÿ3ÿ5678178ÿ6ÿ9881$
        *9896733ÿ6 ÿ 8681ÿ81ÿ1ÿ533171ÿ61ÿ87ÿ"$+ÿ933967
        556 78ÿ95ÿ11ÿ81897ÿ95967ÿ6 7ÿ!"#ÿ98ÿÿ6
        79 3891ÿ196$ÿ01ÿ933ÿ567897 1ÿ86ÿ1ÿ68ÿ8157636ÿ7ÿ6 ÿ81
        86ÿ13ÿÿ91789ÿ7ÿ86 ÿÿ196ÿ7ÿ556 78$
        01ÿÿ36ÿ 3ÿ81ÿ 395ÿ978118ÿ768951
        ,88-..36$89881$56.17 .86 95.56 7.0)"#.633110)"#$831ÿ97ÿ51ÿ11
        63ÿ311ÿ,88-..36$89881$56.17 .86 95.56 7.0)"#. 395978118$831ÿ96381
        81ÿ!"#ÿ 913971$
    271ÿ89ÿ 9751ÿ1ÿ933ÿ13 91ÿ16 31ÿ86ÿ161ÿ8118ÿ88ÿ97531-




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         012345ÿ78ÿ957 45ÿ7ÿ5745ÿ145ÿ473ÿ17124372ÿ7ÿ1 141
                                    22688

         71721ÿ5315377ÿ78ÿ171ÿ7ÿ0ÿ3ÿ1ÿ3212ÿ7ÿ3285121
         1751ÿ327ÿ4329ÿ49432ÿ17121ÿ93421ÿ ÿ4!ÿ"7345ÿ342329
         3ÿ27ÿ18813#1$ÿ7ÿ43#15ÿ12749329ÿ1751ÿ7ÿ27ÿ73455ÿ3421
         115#1ÿ32ÿ414ÿ272ÿ7ÿ1ÿ341ÿÿ0ÿ 11ÿ ÿ141
           4#1ÿ112ÿ17121ÿÿ1ÿ151#42ÿ47331%
         01 3372ÿ78ÿ455191ÿ1ÿ87%ÿ0ÿ 3 ÿ41ÿ27ÿ313415ÿ485
           ÿ41ÿ272ÿ7ÿ1ÿ3218813#1ÿ41ÿ27ÿ4534 51ÿ7ÿ1ÿ0ÿ721ÿ7
         41ÿ1329ÿ41ÿ3ÿ1ÿ3212ÿ7ÿ3514ÿ71ÿ1#12ÿ38ÿ41ÿ32ÿ&1ÿ ÿ4
         "7724#3ÿ3ÿ27ÿ141342ÿÿ45329ÿ731ÿ3ÿ1279 ÿ7ÿ33281ÿ7$
         7ÿ"1ÿ47414ÿ42ÿ112345ÿ735ÿ7ÿ1ÿ0%$
         01 3372ÿ78ÿ485ÿ1412ÿ7ÿ71372ÿ141ÿ 3 ÿ41ÿ272ÿ7
           1ÿ3218813#1ÿ7ÿ27ÿ45ÿ7ÿ0ÿ7ÿ41ÿ1329ÿ41ÿ7ÿ78ÿ721ÿ7
         3514ÿ1751ÿ1#12ÿ38ÿ41ÿ32ÿ&1ÿ ÿ4ÿ"32329ÿ514 ÿ42ÿ3291329
           7557345ÿ35#1ÿ355ÿ1ÿ0%$
         012345ÿ78ÿ14 531ÿ312383ÿ84ÿ4 7ÿ423372ÿ329ÿ1ÿ32 4372
         137ÿ7ÿ423372ÿ93421ÿ87ÿ957 45ÿ42ÿ5745ÿ145ÿ47331ÿ
         4ÿ"0ÿ71ÿ27ÿ3281ÿ 3512ÿ141ÿ1ÿ4#12ÿ112ÿ42ÿ41ÿ78
             3512ÿ1329ÿ3%$
         '1383ÿ543ÿ472ÿ0ÿ32874372ÿ4ÿ3212ÿ7ÿ423541ÿ1751
         327ÿ1432ÿ1 4#37ÿ87ÿ1ÿ9432ÿ78ÿ4ÿ3ÿ4ÿ3ÿ4ÿ455ÿ7ÿ4372ÿ332ÿ1
           543 ÿ ÿ4ÿ"7724#3ÿ3ÿ4ÿ84ÿ42ÿ27ÿ145ÿÿ97ÿ7ÿ42ÿ4723(1ÿ7
         5745ÿ4))$ÿ7ÿ"1ÿ21ÿ4 7ÿ4329ÿ7ÿ42ÿ3ÿ749424ÿ87ÿ74
           74231ÿ7ÿ4329ÿ7ÿ42$%
         '1383ÿ42ÿ2#13831ÿ543ÿ4ÿ3231ÿ1751ÿ7ÿ4372ÿ42ÿ41
         3114ÿ423ÿ7345ÿ21ÿ7ÿ5491451ÿ371 ÿ ÿ4ÿ"* 1ÿ+437245
         ,4ÿ&ÿ422721ÿ4ÿ27ÿ71ÿ312ÿ78ÿ877ÿ355ÿ1ÿ4 3#329ÿ87ÿ-
         72ÿÿ2ÿ7ÿ1ÿ971ÿ71ÿ.'./ÿ42ÿÿ1#1329)$
         '1383ÿ42ÿ2#13831ÿ543ÿ41ÿÿ1751ÿ31724329ÿ4ÿ97#1212ÿ7
           145ÿ7883345ÿ7ÿ79423(4372ÿ ÿ4ÿ4ÿ47ÿ4 72ÿ78ÿ42ÿ45342ÿ145
         7883345ÿ4329ÿ4ÿ1ÿ72ÿ0442321ÿ3ÿ7#1%
         /7494329ÿ8451ÿ7ÿ3514329ÿ32874372ÿ472ÿ0ÿ349273
            3134ÿ7ÿ711ÿ ÿ4ÿ"38ÿ7ÿ42ÿ75ÿ7ÿ 14ÿ87ÿ1ÿ172ÿ7
         7ÿ27ÿ4#1ÿ7724#3%$
         2451ÿ7ÿ3514329ÿ543ÿ72ÿ7ÿ7ÿ388112341ÿ1112ÿ0ÿ42ÿ4
         388112ÿ3141ÿ42ÿ38ÿ4ÿ32874372ÿ41ÿ7ÿ183233#15ÿ349271
         71721ÿ ÿ4ÿ"38ÿ7ÿ4#1ÿ4ÿ1ÿ79 ÿ3ÿ27ÿ7724#3ÿÿÿ4ÿ
           79 ÿ3$ÿ7ÿ"755ÿ8115ÿ531ÿ71ÿ72329ÿ32ÿ27ÿ38ÿ7ÿ4#1ÿ7724#3ÿÿ3
         27ÿ4ÿ2745ÿ22ÿ271%$

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         012345ÿ7827ÿ59 33ÿ95ÿ273213735ÿ2ÿ ÿ55 9731ÿ7ÿ0
                                    22689

         58ÿ25ÿ9 91ÿ378ÿ2ÿ53ÿ2ÿ344 ÿ7ÿ0ÿ ÿ7ÿ4 123
         973ÿÿ23 ÿ78 ÿ!2ÿ311ÿ42ÿ2ÿ33321ÿ344 ÿ7ÿ0
         "
         012345ÿ7827ÿ59 33ÿ95ÿ273213735ÿ2ÿ4ÿ55 9731ÿ7ÿ0
         58ÿ25ÿ23ÿ53 555ÿ ÿ#ÿ083 5ÿ9 91ÿ25ÿ78 #ÿ2ÿ4ÿ131#ÿ7
         82ÿ0"
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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA


    The State of Louisiana,
                  et al.,

           Plaintiffs,

                   v.
                                                              Civil Action No. 22-cv-1213
    President Joseph R. Biden, Jr., in his
    official capacity as President of the United
    States of America,
                    et al.,

           Defendants.


                           DECLARATION OF JASMINE ROBINSON

          1.      My name is Jasmine Robinson. I am a paralegal employed by the United States

   Department of Justice. I am over eighteen years of age and competent to testify to the matters

   discussed herein.

          2.      On April 20, 2023, I went onto LinkedIn and found an active LinkedIn account

   for Plaintiff Martin Kulldorff. That account can be found here:

   https://www.linkedin.com/in/martin-kulldorff-8a31a775. See Ex. A.

          3.      On April 20, 2023, I went onto Facebook and found an active Facebook account

   for Plaintiff Jill Hines. Her active Facebook account can be found here:

   https://www.facebook.com/jillhines4freedom/. See Ex. B.

          4.      On April 20, 2023, I went onto Twitter and found an active Twitter account for

   the Gateway Pundit, a company founded, owned and operated by Plaintiff Jim Hoft. That

   account can be found here: https://twitter.com/gatewaypundit. See Ex. C.



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          5.      On April 20, 2023, I went onto Twitter and found an active Twitter account for

   Plaintiff Daniel Kotzin. That account can be found here: https://twitter.com/danielkotzin?

   ref src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Eauthor. See Ex. D.

          6.      On April 20, 2023, I went onto Twitter and found an active Twitter account of

   Plaintiff Amanda (“A.J.”) Kitchen. Her active Twitter account can be found here:

   https://twitter.com/AJKayWriter?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5Ea

   uthor. See Ex. E.

          7.      On April 20, 2023, I went onto Twitter and found an active Twitter account for

   Michael P. Senger, an individual who submitted a declaration in this matter. His active Twitter

   account can be found here:

   https://twitter.com/MichaelPSenger?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%5

   Eauthor. See Ex. F.

          8.      On April 20, 2023, I went onto Facebook and found an active Facebook account

   HFL Group. The HFL Group’s active Facebook can be found here:

   https://www.facebook.com/groups/1240524952709254/. See Ex. G.

          9.      Attached hereto as Exhibit H is an article from David Klepper and Heather

   Hollingsworth from AP News entitled “Misinformation at public forums vexes local boards, big

   tech.” (Aug. 16, 2021).

          10.     On April 20, 2023, I went onto Twitter and found an active Twitter account for

   Mark Changizi. Mr. Changizi’s Twitter account may be found here:

   https://twitter.com/MarkChangizi. See Ex. I.

          11.     On May 1, 2023, I went onto Twitter and found an active Twitter account for Dr.

   Robert Malone. Dr. Malone’s Twitter account may be found here:



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   https://twitter.com/RWMaloneMD. See Ex. J.



   I swear or affirm, under penalty of perjury, that the foregoing is true and correct to the best of my

   knowledge.
                                                                               JASMINE Digitally signed by
                                                                                        JASMINE ROBINSON
                                                                                        Date: 2023.05.01
                                                                               ROBINSON 14:26:59 -04'00'
   Dated:    May 1, 2023 __                                      Signed:         _____________
                                                                                 Jasmine Robinson




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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA


   STATE OF LOUISIANA, et al.,

          Plaintiffs,

                  v.
                                                          Civil Action No. 22-cv-1213
   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States of
   America, et al.,

          Defendants.



  DEFENDANTS’ RESPONSES TO PLAINTIFFS’ PROPOSED FINDINGS OF FACT IN
       SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION




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      DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’ PROPOSED
                           FINDINGS OF FACT
          Defendants object to Plaintiffs’ attempt to “incorporate by reference the evidence,

 documents, and exhibits previously filed in this case,” Plaintiffs’ Proposed Findings of Fact (Pls.’

 PFOF) at 1, where those materials are not specifically cited in Plaintiffs’ Memorandum in Support

 of Motion for a Preliminary Injunction, Dkt. 15; Plaintiffs’ Supplemental Brief in Support of

 Motion for a Preliminary Injunction, Dkt. 214; and Plaintiffs’ Proposed Findings of Fact, Dkt. 214-

 1. As the Fifth Circuit has recognized, “[j]udges are not like pigs, hunting for truffles buried in the

 record.” United States v. Del Carpio Frescas, 932 F.3d 324, 331 (5th Cir. 2019) (quotation

 omitted). Plaintiffs’ suggestion that the Court and Defendants scour the docket in this case to

 address “evidence, documents and exhibits” not specifically referenced in Plaintiffs’ lengthy

 preliminary injunction filings that may—in their view—bear on preliminary injunction issues is

 inappropriate. Accordingly, Defendants’ response appropriately is focused on the “evidence,

 documents, and exhibits” Plaintiffs expressly have identified in support of their preliminary

 injunction motion. 2

 I.       The Campaign Of Public Threats Against Social-Media Platforms To Pressure
          Them To Censor More Speech on Social Media. 3
     1. Federal officials, including Defendants, have made a long series of public statements since
 at least 2018 demanding that social-media platforms increase their censorship of speech and
 speakers disfavored by these officials, and threatening adverse consequences – such as repeal or
 reform of Section 230 immunity under the Communications Decency Act, antitrust scrutiny or
 enforcement, increased regulation, and other measures – if the platforms do not increase
 censorship. The private communications between government officials and social-media platforms

      2
      Defendants object to each of Plaintiffs’ PFOFs to the extent that PFOF attributes to a deponent
 a legal characterization or conclusion contained in a question by counsel for Plaintiffs, on the
 ground that even when the deponent gave an affirmative response to such a question, any legal
 characterization or conclusion remained one by Plaintiffs, not testified to as fact by the deponent.
      3
      If Plaintiffs intend their headings to be proposed findings of fact, Defendants dispute them
 because they are argumentative and lack evidentiary support. Defendants respond to Plaintiffs’
 arguments in their opposition to Plaintiffs’ preliminary injunction motion.


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 addressing disinformation, misinformation, and censorship set forth herein were made against the
 backdrop of these public threats.

        RESPONSE: Disputed. The proposed finding of fact (PFOF) is argumentative, lacks

 citation to any evidence, and is contradicted by the record for all the reasons discussed below and

 in Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction (Opposition), to which

 the Court is respectfully referred.

     2. The immunity provided by Section 230 of the Communications Decency Act is extremely
 valuable for social-media platforms, so threatening to amend or repeal that immunity is highly
 motivating to them. One commentator has aptly described Section 230 immunity as “a hidden
 subsidy worth billions of dollars,” stating: “Digital platforms enjoy a hidden subsidy worth billions
 of dollars by being exempted from any liability for most of the speech on their platforms (Section
 230).” Glenn Decl. Ex. 11, Doc. 10-1 at 140. Another commentator has observed, “imperiling
 Section 230 is a fearsome cudgel against ever untouchable companies.” Glenn Decl. Ex. 13, Doc.
 10-1 at 206.

        RESPONSE: Dispute the statement that “threatening to amend or repeal [Section 230] is

 highly motivating” to social-media platforms as a vague characterization for which the PFOF cites

 no supporting evidence. Undisputed that Glenn Decl. Ex. 11, at 140, is accurately quoted, but note

 that Plaintiffs cite no evidence of record to support the economic validity of the “commentator’s”

 “descri[ption]” of Section 230’s value to social-media companies. Defendants further note that

 Glenn Ex. 11, Dkt. 10-1 at 51 n.123, cites to a letter signed by State Attorney Generals of both

 political parties (including the Attorney Generals of Louisiana and Missouri) asking members of

 Congress to revise Section 230 to impose liability for violations of state criminal law. Id. at 51,

 n.123. The final sentence is disputed because Plaintiffs’ partial quotation to an April 12, 2019

 article lacks context. The full statement in the article reads as follows: “Whatever the political

 motivations, imperiling Section 230 is a fearsome cudgel against even tech’s most seemingly

 untouchable companies.” Glenn Decl. Ex. 13, Doc. 10-1 at 206. Defendants also note that the cited

 April 2019 article also observed that both Democratic and Republican legislators had expressed




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 interest in amending Section 230. Id. Finally, note that irrespective of any interest expressed in

 Section 230 reform, social media companies, by virtue of their business model, have powerful

 economic incentives to moderate content on their platforms to retain users and thereby maximize

 advertising revenues, and have been doing so since well before 2020. See Declaration of Dr. Stuart

 Gurrea at ¶¶ 1-81 (“Gurrea Decl.”) (Ex. 1).

     3. The threat of antitrust scrutiny or enforcement is also a major motivator to social-media
 platforms. For example, Facebook CEO Mark Zuckerberg has stated that the threat of antitrust
 enforcement is “an ‘existential’ threat” to his platform. Glenn Decl. Ex. 12, Doc. 10-1 at 202.

        RESPONSE: Disputed. The first sentence lacks citation to or support in the evidence of

 record. The second sentence does not accurately reflect Mr. Zuckerberg’s statement, lacks

 appropriate context, and fails to support the first sentence of the PFOF. The New York Times

 article referenced in Glenn Decl. Ex. 12, Dkt. 10-1 at 202, discusses lawsuits brought by the

 Federal Trade Commission (“FTC”) and “more than 40 states” accusing Facebook of “buying up

 its rivals to illegally squash competition” and calling for “the deals to be unwound[.]” Notably,

 among the States that brought the antitrust lawsuit were Louisiana and Missouri. See New York v.

 Facebook, Inc., 549 F. Supp. 3d 6 (D.D.C. 2021) (No. 20-cv-3589), 2020 WL 7348667, at *4

 (naming Louisiana and Missouri as plaintiffs). It is in the context of this antitrust lawsuit that Mr.

 Zuckerberg is quoted as stating that the breakup of the company is an “existential” threat. Glenn

 Decl. Ex. 12, Dkt. 10-1 at 202. This article has nothing to do with any threats of antitrust

 enforcement based on Facebook’s content moderation policies. Accordingly, this PFOF is

 irrelevant to any issue in this case. Note also that irrespective of concerns about antitrust

 enforcement, social media companies, by virtue of their business model, have powerful economic

 incentives to moderate content on their platforms to retain users and thereby maximize advertising

 revenues, and have been doing so since well before 2020. See Gurrea Decl. at ¶¶ 1-81 (Ex. 1).




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     A. Threats From Federal Elected Officials Pressuring Platforms to Censor Speech.

     4. Then-Speaker of the House Nancy Pelosi stated on April 12, 2019: “I do think that for the
 privilege of 230, there has to be a bigger sense of responsibility on it. And it is not out of the
 question that that could be removed.” Glenn Decl. Ex. 13, Doc. 10-1, at 205 (“When asked about
 Section 230, Pelosi referred to the law as a ‘gift’ to tech companies that have leaned heavily on
 the law to grow their business…. ‘It is a gift to them and I don’t think that they are treating it with
 the respect that they should, and so I think that that could be a question mark and in jeopardy… I
 do think that for the privilege of 230, there has to be a bigger sense of responsibility on it. And it
 is not out of the question that that could be removed.’”).

        RESPONSE: Undisputed, but further note that this PFOF is immaterial to any issue in

 this case and the concerns about Section 230 were bipartisan, see Glenn Decl. Ex. 13, Dkt. 10-1,

 at 205 (“In recent months, a handful of Republicans in Congress have [also] taken aim at the law.”).

 Note also that irrespective of interest expressed in Section 230 reform, social media companies,

 by virtue of their business model, have powerful economic incentives to moderate content on their

 platforms to retain users and thereby maximize advertising revenues, and have been doing so since

 well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

     5. Senator Richard Blumenthal stated on Nov. 17, 2020: “I have urged, in fact, a breakup of
 tech giants. Because they’ve misused their bigness and power. … And indeed Section 230 reform,
 meaningful reform, including even possible repeal in large part because their immunity is way too
 broad and victims of their harms deserve a day in court.” Glenn Decl. Ex. 16, at 1; Doc. 10-1, at
 225.

        RESPONSE: Undisputed, but further note that this PFOF is immaterial to any issue in this

 case and the concerns about Section 230 were bipartisan. The concerns stated by Senator

 Blumenthal were widely shared by his Republican colleagues at that November 17, 2020, hearing.

 See Ex. 14 at 24 (Censorship and the 2020 Election: Hearing Before the S. Comm. on the Judiciary,

 116th Cong. 4 (2020) (Senator Graham: “And I think section 230 has to be changed because we



 4
   Throughout this document, citations to “Ex. [number]” that are not preceded by a name are
 Defendants’ exhibits filed concurrently with their Opposition to Plaintiffs’ Motion for Preliminary
 Injunction Motion and the instant Response to Plaintiffs’ Proposed Findings of Fact.


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  can’t get there from here without change.”); id. at 10 (Senator Cornyn: “We’ll, I’m glad to hear

  both of our witnesses today say that section 230, that they are open to reform because I think it’s

  fair to say the internet has outgrown section 230.”); id. at 19 (Senator Cruz: “At the same time that

  big tech exercises massive power, it also enjoys massive corporate welfare. Through the effect of

  section 230, special immunity from liability that nobody else gets, Congress has given big tech, in

  effect, a subsidy while they become some of the wealthiest corporations on the face of the planet.”);

  id. at 45 (Senator Blackburn: “My colleagues and I have ask[ed] you all repeatedly through the

  years for greater transparency and to accept responsibility you have chosen to do neither so it is

  going to be up to us to change existing law and to hold you to account on behalf of the American

  people section 230 the reforms that we are going to put in place will take away this liability shield

  that you have turned into an opaque wall . . .). Note also that irrespective of interest expressed in

  Section 230 reform, or any concern about antitrust enforcement, social media companies, by virtue

  of their business model, have powerful economic incentives to moderate content on their platforms

  to retain users and thereby maximize advertising revenues, and have been doing so since well

  before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      6. Senator Mazie Hirono tweeted on Feb. 5, 2021: “Sec 230 was supposed to incentivize
  internet platforms to police harmful content by users. Instead, the law acts as a shield allowing
  them to turn a blind eye. The SAFE TECH ACT brings 230 into the modern age and makes
  platforms accountable for the harm they cause.” Glenn Decl. Ex. 55, at 1; Doc. 10-1, at 723.

         RESPONSE:        Undisputed, but immaterial to any issue in this case. Note also that

  irrespective of interest expressed in Section 230 reform, social media companies, by virtue of their

  business model, have powerful economic incentives to moderate content on their platforms to

  retain users and thereby maximize advertising revenues, and have been doing so since well before

  2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).




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      7. Defendants’ political allies have repeatedly used congressional hearings as forums to
  advance these threats of adverse legislation if social-media platforms do not increase censorship
  of speakers, speech, content, and viewpoints they disfavor. They have repeatedly used such
  hearings to berate social-media firm leaders, such as Mark Zuckerberg of Facebook, Jack Dorsey
  of Twitter, and Sundar Pichai of Google and YouTube, and to make threats of adverse legal
  consequences if censorship is not increased. Such hearings include, but are not limited to, an
  antitrust hearing before the House Judiciary Committee on July 29, 2020; a Senate Judiciary
  Committee hearing on November 17, 2020; and a House Energy and Commerce Hearing on March
  25, 2021.

         RESPONSE: Disputed as argumentative characterizations lacking any citation to or

  support in the evidence of record. Note also that irrespective of interest expressed in Section 230

  reform, or any concern about antitrust enforcement, social media companies, by virtue of their

  business model, have powerful economic incentives to moderate content on their platforms to

  retain users and thereby maximize advertising revenues, and have been doing so since well before

  2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      8. The March 25, 2021 Joint Hearing of the Communications and Technology Subcommittee
  with the Subcommittee on Consumer Protection and Commerce, the Joint Statement of Democratic
  Committee Chairs stated: “This hearing will continue the Committee’s work of holding online
  platforms accountable for the growing rise of misinformation and disinformation. ... For far too
  long, big tech has failed to acknowledge the role they’ve played in fomenting and elevating
  blatantly false information to its online audiences. Industry self-regulation has failed. We must
  begin the work of changing incentives driving social media companies to allow and even promote
  misinformation and disinformation.” Glenn Decl. Ex. 17, at 1-2; Doc. 10-1, at 228-29.

         RESPONSE: Undisputed, but further note that this PFOF is immaterial to any issue in this

  case. Defendants further note that interest in holding a hearing on this topic was bipartisan. Ex.

  169 at 6 (Disinformation Nation: Social Media’s Role in Promoting Extremism and

  Misinformation: Hearing before the H. Comm. on Energy & Commerce, 117th Cong. (2021))

  (Ranking Member Bilirakis: “I’ve been thinking about this hearing since our side first requested

  this hearing last year,” and “[t]he conclusion is my constituents simply don’t trust you anymore.”).

  Note also that irrespective of interest expressed in Section 230 reform, or any concern about

  antitrust enforcement, social media companies, by virtue of their business model, have powerful



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  economic incentives to moderate content on their platforms to retain users and thereby maximize

  advertising revenues, and have been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81

  (Ex. 1).

      9. At the same hearing, entitled “Disinformation Nation: Social Media’s Role in Promoting
  Extremism and Misinformation,” Representative Schakowsky stated: “[S]elf-regulation has come
  to the end of its road…. [Congress] is preparing to move forward with regulation and legislation.
  The regulation we seek … must hold platforms accountable when they are used to … spread
  misinformation…. All three of the companies that are here today run platforms that are hotbeds of
  misinformation and disinformation.” Jones Decl., Ex. A, at 1, 5. She also stated: “Self-regulation
  has not worked. They must be held accountable for allowing misinformation and disinformation
  to spread.” Id. at 7.

         RESPONSE: Disputed to the extent this PFOF selectively quotes from Representative

  Schakowsky’s statements and takes her statements out of context. This PFOF is also immaterial to

  any issue in this case. Defendants refer the Court to the March 25, 2021 hearing transcript for the

  complete quote and context of Representative Schakowsky’s statement, see Ex. 169 at 5, and

  further note that the concerns raised by Representative Schakowsky were shared by Republican

  committee members, id. at 7 (Ranking Member Bilirakis: “The fear you should have coming into

  this hearing today isn’t that you are going to be [upbraided] by a member of Congress—it’s that

  our committee knows how to get things done when we come together. We can do this with you or

  without you and we will.”). Note also that irrespective of interest expressed in Section 230 reform,

  or any concern about antitrust enforcement, social media companies, by virtue of their business

  model, have powerful economic incentives to moderate content on their platforms to retain users

  and thereby maximize advertising revenues, and have been doing so since well before 2020. See

  Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      10. At the same hearing, Representative Doyle stated: “despite repeated promises to tackle this
  crisis, Facebook, Google, and Twitter instead routinely make minor changes in response to the
  public relations crisis of the day. … It is now painfully clear that neither the market nor public
  pressure will force these social media companies to take the aggressive action they need to take to
  eliminate disinformation and extremism from their platforms. And therefore, it is time for



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  Congress and this committee to legislate and realign these companies’ incentives. … I question
  whether existing liability protections [i.e., Section 230] should apply … That is why you are here
  today, Mr. Zuckerberg, Mr. Pichai, and Mr. Dorsey…. Your business model itself has become the
  problem.” Id. at 10-11.

         RESPONSE: Disputed to the extent this PFOF selectively quotes from Representative

  Doyle’s statement and takes his comments out of context. This PFOF is also immaterial to any

  issue in this case. Defendants refer the Court to the March 25, 2021 hearing transcript for the

  compete quote and context of Representative Doyle’s statement, Ex. 169 at 7, and further note that

  the concerns expressed by Representative Doyle were shared by his Republican colleagues. Id. at

  8-9 (Ranking Member Rodgers stating that “big tech is a . . . destructive force” and asking the

  social media companies in attendance at the hearing “why do you think you still deserve [section

  230] protections today?”). Note also that irrespective of interest expressed in Section 230 reform,

  or any concern about antitrust enforcement, social media companies, by virtue of their business

  model, have powerful economic incentives to moderate content on their platforms to retain users

  and thereby maximize advertising revenues, and have been doing so since well before 2020. See

  Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      11. At the same hearing, Representative Rush accused the platforms of allowing
  “[m]isinformation, outlandish conspiracy theories, and incendiary content” to spread, and stated
  to the three CEOs of Google, Facebook, and Twitter: “There is only one comparison that remotely
  approaches the avarice and moral discrepancy of your companies, and that is the slavetocracy
  burden of our Nation’s shameful and inhumane and most difficult dark days in the past.” Id. at 13.
  He also stated to Jack Dorsey, “I can’t wait until we come up with legislation that will deal with
  you and your cohorts in a very, very effective way.” Id. at 14.

         RESPONSE: Disputed to the extent this PFOF selectively quotes Representative Rush and

  takes his comments out of context. This PFOF is also immaterial to any issue in this case.

  Defendants refer the Court to the March 25, 2021 hearing transcript for the complete quote and

  context for his statements, Ex. 169 at 21, and further note that Representative Rush’s concerns

  about how social media platforms were handling content on their platforms were shared by his



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  Republican colleagues, as well as former President Trump. Id. at 22 (Representative Upton stating

  “it sounds like everybody on both sides of the aisle is not very happy. I think we all believe that

  there is a lot of responsibility that should be shared for some of the issues that we’ve raised today

  by the three [witnesses], and I would just offer—or speculate, I guess you could say, that we’re

  going to see some changes in Section 236—230.”); id. (Representative Upton noting that former

  President Trump vetoed the Defense bill because “he wanted the total repeal” of section 230 and

  “didn’t get it.”). Note also that irrespective of interest expressed in Section 230 reform, or any

  concern about antitrust enforcement, social media companies, by virtue of their business model,

  have powerful economic incentives to moderate content on their platforms to retain users and

  thereby maximize advertising revenues, and have been doing so since well before 2020. See Gurrea

  Decl. ¶¶ 1-81 (Ex. 1).

     12. At the same hearing, Representative Upton stated: “we are going to see some changes in
  Section 230.” Id. at 15.

         RESPONSE: Disputed to the extent this PFOF selectively quotes Representative Upton’s

  statement. This PFOF is also immaterial to any issue in this case. Defendants refer the Court to the

  transcript of the March 25, 2021 hearing for Representative Upton’s complete comments, in

  context. See Ex. 169. Note also that irrespective of interest expressed in Section 230 reform, social

  media companies, by virtue of their business model, have powerful economic incentives to

  moderate content on their platforms to retain users and thereby maximize advertising revenues,

  and have been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

     13. At the same hearing, Representative Eshoo demanded of Jack Dorsey, “why haven’t you
  banned the 12 accounts that are spewing its deadly COVID misinformation?” Id. at 17.

         RESPONSE: Disputed to the extent it mischaracterizes Representative Eshoo’s question

  as a “demand,” and selectively quotes his testimony. Defendants refer the Court to the transcript




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  of the March 25, 2021 hearing for Representative Eshoo’s complete comments. See 169.

  Defendants further note that in response to Representative Eshoo’s question, Twitter’s former CEO

  Jack Dorsey explained that “we won’t take it down because it didn’t violate our policy.” Id. at 24.

  In addition, this PFOF is immaterial to any issue in this case. And note also that irrespective of

  interest expressed in Section 230 reform, or any concern about antitrust enforcement, social media

  companies, by virtue of their business model, have powerful economic incentives to moderate

  content on their platforms to retain users and thereby maximize advertising revenues, and have

  been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      14. At a hearing of the Antitrust subcommittee of the House Judiciary Committee on July 29,
  2020, Representative Cicilline said to Mark Zuckerberg: “Mr. Zuckerberg. When a television
  station runs a false political advertisement, they’re held liable for that. Why should Facebook or
  any other platform be different? … It’s hard to understand why Facebook shouldn’t be responsible
  for those business decisions. … Facebook gets away with it because you’re the only game in town.
  There’s no competition forcing you to police your own platform. Allowing this misinformation to
  spread can lead to violence. And frankly, I believe it strikes at the very heart of American
  democracy. … American democracy has always been at war against monopoly power. … These
  companies, as exist today, have monopoly power. Some need to be broken up, all need to be
  properly regulated and held accountable. … The names have changed, but the story is the same.
  Today, the men are named Zuckerberg, Pichai, Cook, and Bezos.” Jones Decl., Ex. B, at 9-11.

         RESPONSE: Disputed because Plaintiffs’ PFOF does not accurately cite to the transcript

  of the July 29, 2020, hearing, and misleadingly quotes different questions to suggest a single

  statement. This PFOF is also immaterial to any issue in this case. Defendants refer the Court to the

  July 29, 2020 hearing transcript for an accurate transcription of the exchange cited in this PFOF.

  See Ex. 170 at 34, 45 (Online Platforms and Market Power, Part 6: Examining the Dominance of

  Amazon, Facebook, Google, and Apple: Hearing Before the Subcomm. on Antitrust, Commercial,

  & Administrative Law, 116th Cong. (2020)). Note also that irrespective of any concern about

  antitrust enforcement, social media companies, by virtue of their business model, have powerful

  economic incentives to moderate content on their platforms to retain users and thereby maximize




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  advertising revenues, and have been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81

  (Ex. 1).

      15. On November 17, 2020, at a hearing of the Senate Judiciary Committee, Senator
  Blumenthal stated: “Now, Mr. Zuckerberg and Mr. Dorsey, you have built terrifying tools of
  persuasion and manipulation with power far exceeding the robber barons of the last Gilded Age.
  You have profited hugely by … promoting hate speech and voter suppression. … The destructive
  incendiary misinformation is still a scourge on both your platforms and on others. … [W]hat
  appears on your platform … is voter suppression and incendiary malicious misinformation. … [A]
  series of hearings on big tech is long overdue on antitrust issues … and Section 230. I have urged,
  in fact, a breakup of the tech giants because they’ve misused their bigness and power. Breaking
  off, for example, WhatsApp and Instagram [both Meta platforms]…. And indeed Section 230
  reform, meaningful reform, including even possible repeal in large part because their immunity is
  way too broad…. [F]oreign disinformation campaigns intended to interfere in our democracy….
  What we’ve seen here are fighting words and hate speech that certainly deserve no free expression
  protection. … Change is going to come, no question. Change is on the way and I intend to bring
  aggressive and targeted reform to Section 230.” Jones Decl., Ex. C, at 2-3. Soon thereafter, he
  demanded that Mark Zuckerberg (who was testifying before the committee) “commit to … robust
  contend modification playbook in this coming election, including fact-checking, labelling,
  reducting the spread of misinformation” to “tak[e] action against dangerous disinformation” and
  “malign tactics.” Id. at 4; see also, e.g., id. at 9 (Senator Coons demanding that Jack Dorsey
  explain why “you don’t have a standalone climate change misinformation policy”)

         RESPONSE: Disputed to the extent Plaintiffs’ PFOF selectively quotes from Senator

  Blumenthal’s statements during a November 17, 2020, Senate Judiciary Subcommittee hearing

  and mischaracterizes his and Senator Coons’ questions as “demands.”           This PFOF is also

  immaterial to any issue in this case. Defendants refer the Court to the complete transcript of the

  November 17, 2020, hearing for an accurate transcription of Senator Blumenthal’s statement. See

  Ex. 170. Note also that irrespective of interest expressed in Section 230 reform, or any concern

  about antitrust enforcement, social media companies, by virtue of their business model, have

  powerful economic incentives to moderate content on their platforms to retain users and thereby

  maximize advertising revenues, and have been doing so since well before 2020. See Gurrea Decl.

  ¶¶ 1-81 (Ex. 1).

     16. On March 11, 2022, Representative Ro Khanna, the Chairman of the House Oversight and
  Reform Committee who is leading “an investigation of oil industry ‘misinformation’ and held two



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  days of hearings on the oil industry, tweeted: “Facebook is preventing us from taking action on
  climate change by allowing climate misinformation to spread. Congress must step up and hold
  them accountable.” Jones Decl., Ex. D. He also tweeted: “Misinformation being spread on social
  media is undermining our efforts to tackle climate change. As chair of the House Oversight
  Environment Subcommittee, I will be holding a hearing to hold social media companies
  accountable.” Id.

         RESPONSE: Undisputed, but immaterial to any issue in this case. Defendants note that

  on May 29, 2020, then-President Trump tweeted “Revoke 230!” Ex. 31 (Trump tweet). Note also

  that irrespective of interest expressed in Section 230 reform, social media companies, by virtue of

  their business model, have powerful economic incentives to moderate content on their platforms

  to retain users and thereby maximize advertising revenues, and have been doing so since well

  before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      17. On April 20, 2022, twenty-two Democratic members of Congress sent a letter to Mark
  Zuckerberg of Facebook (n/k/a “Meta Platforms, Inc.”), demanding that Facebook increase
  censorship of “Spanish-language disinformation across its platforms” and threatening
  Congressional action if Facebook did not do so. The letter claimed that “disinformation” was a
  threat to democracy, and it made explicit threats of adverse legislative action if Facebook/Meta
  did not increase censorship: “The spread of these narratives demonstrate that Meta does not see
  the problem of Spanish-language disinformation in the United States as a critical priority for the
  health of our democracy. The lack of Meta’s action to swiftly address Spanish-language
  misinformation globally demonstrates the need for Congress to act to ensure Spanish-speaking
  communities have fair access to trustworthy information.” Glenn Decl. Ex. 18; Doc. 10-1, at 244-
  46.

         RESPONSE: Disputed to the extent this PFOF takes the cited April 20, 2022, letter out

  of context, is immaterial to any issue in this case, and is an argumentative characterization rather

  than a statement of fact. Specifically, Plaintiffs’ PFOF fails to mention that the impetus for the

  Senators’ concern was Russian propaganda: “[s]ince the beginning of the year, Russian state-

  controlled outlets have made a concentrated effort to target Spanish-speaking communities to

  spread false-narratives leading up to, and in the aftermath of, the invasion of Ukraine.” Glenn Decl.

  Ex. 18, Dkt. 10-1 at 244; id. (“Kremlin-owned outlets are winning the information war with

  Spanish speakers.”) id. at 245 (“These lies are designed to undermine a resolute global response



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  necessary to stand against the Russian government’s aggression.”). Defendants refer the Court to

  the letter for an accurate statement of its contents. Note also that irrespective of interest expressed

  in Section 230 reform, or any concern about antitrust enforcement, social media companies, by

  virtue of their business model, have powerful economic incentives to moderate content on their

  platforms to retain users and thereby maximize advertising revenues, and have been doing so since

  well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      18. Comments from two Members of the House of Representatives summarize this campaign
  of pressure and threats: “In April 2019, Louisiana Rep. Cedric Richmond warned Facebook and
  Google that they had ‘better’ restrict what he and his colleagues saw as harmful content or face
  regulation: ‘We’re going to make it swift, we’re going to make it strong, and we’re going to hold
  them very accountable.’ New York Rep. Jerrold Nadler added: ‘Let’s see what happens by just
  pressuring them.’” Glenn Decl. Ex. 14, at 2-3; Doc. 10-1, at 218-19.

         RESPONSE: Disputed to the extent Plaintiffs’ PFOF is argumentative and relies on

  hearsay and journalistic characterization contained in an opinion article rather than citing to

  evidence of record. In addition, this PFOF is immaterial to any issue in this case. Note also that

  irrespective of interest expressed in Section 230 reform, or any concern about antitrust

  enforcement, social media companies, by virtue of their business model, have powerful economic

  incentives to moderate content on their platforms to retain users and thereby maximize advertising

  revenues, and have been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

     B. Public Threats from President Biden and His Aides Pressuring Platforms to Censor.

      19. Then-candidate and now-President Biden has led this charge. He has tripled down on these
  threats of adverse official action from his colleagues and allies in senior federal-government
  positions. His threats of adverse government action have been among the most vociferous, and
  among the most clearly linked to calls for more aggressive censorship of disfavored speakers and
  speech by social-media companies.

         RESPONSE: Disputed. Plaintiffs’ PFOF is an argumentative mischaracterization lacking

  citation to or support in the evidence of record.




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      20. For example, on January 17, 2020, then-candidate Biden stated, in an interview with the
  New York Times editorial board, that Section 230 of the CDA should be “revoked” because social-
  media companies like Facebook did not do enough to censor supposedly false information in the
  form of political ads criticizing him—i.e., core political speech. He stated: “The idea that it’s a tech
  company is that Section 230 should be revoked, immediately should be revoked, number one. For
  Zuckerberg and other platforms.” He also stated, “And it should be revoked. It should be revoked
  because it is not merely an internet company. It is propagating falsehoods they know to be false....
  There is no editorial impact at all on Facebook. None. None whatsoever. It’s irresponsible. It’s
  totally irresponsible.” Glenn Decl. Ex. 19, at 27; Doc. 10-1, at 275.

         RESPONSE: Disputed to the extent Plaintiffs’ PFOF selectively quotes from statements

  by then-candidate Biden and then improperly mischaracterize those partial quotes. Defendants

  refer the Court to the entirety of then-candidate Biden’s statement concerning Section 230 reform

  for a full and accurate understanding of its contents. Then-candidate Biden was answering a

  question concerning a letter his campaign had sent to Facebook “regarding an ad that falsely

  claimed that [he] blackmailed Ukrainian officials to not investigate [his] son.” See Glenn Decl.

  Ex. 19, at 29; Dkt. 10-1, at 275. Then-candidate Biden responded to the question by stating, among

  other things, that technology companies should be held to the same standards as traditional media

  and that “we should be setting standards not unlike the Europeans are doing relative to privacy.”

  Id. Note also that irrespective of interest expressed in Section 230 reform, social media companies,

  by virtue of their business model, have powerful economic incentives to moderate content on their

  platforms to retain users and thereby maximize advertising revenues, and have been doing so since

  well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      21. Candidate Biden also threatened that Facebook CEO Mark Zuckerberg should be subject
  to civil liability and even criminal prosecution for not censoring such core political speech: “He
  should be submitted to civil liability and his company to civil liability…. Whether he engaged in
  something and amounted to collusion that in fact caused harm that would in fact be equal to a
  criminal offense, that’s a different issue. That’s possible. That’s possible it could happen.” Id. In
  other words, Biden’s message—not long before he became President of the United States—was
  that if Facebook did not censor political ads against him, Zuckerberg should go to prison. These
  two threats echoed the same threats made by numerous political allies of the President since 2019,
  cited above.




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         RESPONSE: Disputed to the extent Plaintiffs’ PFOF selectively and misleadingly quotes

  from then-candidate Biden and improperly seeks to characterize those partial quotes in an

  argumentative and rhetorical fashion, such as by referring to his comments as “threats” and

  characterizing statements as “core political speech.” Defendants refer the Court to the entirety of

  then-candidate Biden’s statement concerning Section 230 reform. See Glenn Decl. Ex. 19, at 29;

  Dkt. 10-1, at 275. The assertion that Mr. Biden stated “Zuckerberg should go to prison” if in future

  “Facebook did not censor political ads against him” is unsupported and plainly refuted by the cited

  excerpt: Mr. Biden stated only that Mr. Zuckerberg “should be submitted to civil liability and his

  company to civil liability, just like you would be here at The New York Times” for past acts. Mr.

  Biden stated that whether those past acts “amounted to . . . a criminal offense” was “a different

  issue,” without any reference to Facebook’s future handling of negative political ads about Mr.

  Biden. Note also that irrespective of interest expressed in Section 230 reform, social media

  companies, by virtue of their business model, have powerful economic incentives to moderate

  content on their platforms to retain users and thereby maximize advertising revenues, and have

  been doing so since well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      22. During the presidential campaign, now-Vice President Harris made similar threats against
  social-media firms to pressure them to engage in more aggressive censorship of speakers, content,
  and viewpoints she disfavors. For example, in addition to the statements cited above, she stated in
  2019: “We will hold social media platforms responsible for the hate infiltrating their platforms,
  because they have a responsibility to help fight against this threat to our democracy. And if you
  profit off of hate—if you act as a megaphone for misinformation or cyberwarfare, if you don’t
  police your platforms—we are going to hold you accountable as a community.” Glenn Decl. Ex.
  20, at 1; Doc. 10-1, at 284.

         RESPONSE:           Disputed to the extent Plaintiffs’ PFOF reflects argumentative

  characterization of facts rather than facts, lacks evidentiary support, and is immaterial to the claims

  in this case. Specifically, Defendants dispute that the quoted statement from then-candidate

  Kamala Harris constitutes a “threat[] against social-media firms to pressure them to engage in



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  more aggressive censorship of speakers, content, and viewpoints she disfavors.” Defendants

  further note that the quoted statement by then-candidate Harris was made in the context of a

  discussion about “the growth of domestic terrorism in the United States (and elsewhere), and how

  those attackers used or embraced radically violent ideas on social media.” Glenn Decl. Ex. 20, at

  1; Doc. 10-1, at 284. Defendants refer the Court to the cited statement for a full and accurate

  understanding of its contents. Additionally, note that irrespective of interest expressed in Section

  230 reform, or any concern about antitrust enforcement, social media companies, by virtue of their

  business model, have powerful economic incentives to moderate content on their platforms to

  retain users and thereby maximize advertising revenues, and have been doing so since well before

  2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      23. In or around June 2020, the Biden campaign published an open letter and online petition
  (ironically, on Facebook) calling for Facebook to engage in more aggressive censorship of core
  political speech and viewpoints that then-Candidate Biden disfavored. The open letter complained
  that Facebook “continues to allow Donald Trump to say anything — and to pay to ensure that his
  wild claims reach millions of voters. Super PACs and other dark money groups are following his
  example. Trump and his allies have used Facebook to spread fear and misleading information
  about voting…. We call for Facebook to proactively stem the tide of false information by no longer
  amplifying untrustworthy content and promptly fact-checking election-related material that goes
  viral. We call for Facebook to stop allowing politicians to hide behind paid misinformation in the
  hope that the truth will catch up only after Election Day. There should be a two-week pre-election
  period during which all political advertisements must be fact-checked before they are permitted to
  run on Facebook. … Anything less will render Facebook a tool of misinformation that corrodes
  our democracy.” Glenn Decl. Ex. 23, at 1; Doc. 10-1, at 299.

         RESPONSE: The first sentence is disputed. Plaintiffs’ PFOF reflects Plaintiffs’

  argumentative characterization of facts rather than facts, lacks evidentiary support, and is

  immaterial to the claims in this case. Specifically, the assertion that Mr. Biden’s campaign

  “call[ed] for Facebook to engage in more aggressive censorship” is refuted by the cited portions

  of the statement themselves, which referred only to common content moderation measures such as

  fact-checking and declining to amplify content found to be untrustworthy. The PFOF is also




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  refuted by a portion of the petition that Plaintiffs omit, such as the campaign’s emphasis that these

  were intended only as “recommendations to fix the problems in Facebook’s platform that pose a

  threat to free and fair elections,” Glenn Decl. Ex. 23, at 1; Dkt. 10-1, at 299 (emphasis added).

  Defendants refer the Court to the cited document for a full and accurate understanding of its

  contents. In any event, this PFOF is immaterial to the issues presented in this case.

      24. The online petition demanded that Facebook “[p]romote real news, not fake news,”
  “[q]uickly remove viral misinformation,” and “[e]nforce voter suppression rules against
  everyone—even the President [Trump].” Glenn Decl. Ex. 24, at 2; Doc. 10-1, at 304. The petition
  complained that Facebook “continues to amplify misinformation and lets candidates pay to target
  and confuse voters with lies.” Id. at 304. It demanded that Facebook “promote authoritative and
  trustworthy sources of election information, rather than rants of bad actors and conspiracy
  theorists,” “promptly remove false, viral information,” and “prevent political candidates and PACs
  from using paid advertising to spread lies and misinformation – especially within two weeks of
  election day.” Id. at 305.

         RESPONSE: Disputed to the extent Plaintiffs’ PFOF argumentatively mischaracterizes

  the cited statements from the petition as “demand[s].” Additionally, the PFOF is immaterial to any

  issue in this case. Rather than “demanding” that Facebook take particular action, as reflected in

  the document, the Biden-Harris campaign “asked Facebook to take action—responsible action,

  action that is critical to the health of our democracy.” Glenn Decl. Ex. 24, at 2; Dkt. 10-1, at 305.

  Defendants refer the Court to the cited document for a full and accurate understanding of its

  contents.

      25. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook accusing it
  of propagating a “storm of disinformation” by failing to censor the Trump campaign’s political
  speech, including social-media political ads. Glenn Decl. Ex. 25, at 3; Doc. 10-1, at 312. The letter
  accused Facebook of allowing “hyper-partisan” and “fantastical” speech to reach millions of
  people, and it demanded “more aggressive” censorship of Trump. Id.

         RESPONSE: Disputed because Plaintiffs’ PFOF argumentatively mischaracterizes the

  cited document. The PFOF is also immaterial to any issue in this case. Specifically, the cited

  document does not “accuse[]” Facebook of “failing to censor the Trump campaign” or “demand[]




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  ‘more aggressive’ censorship.” See Glenn Decl. Ex. 25, at 3; Doc. 10-1, at 310-12. Defendants

  refer the Court to the cited document for a full and accurate understanding of its contents.

      26. On December 2, 2020—during the presidential transition—Biden’s former chief of staff
  and top technical advisor, Bruce Reed, publicly stated that “it’s long past time to hold the social
  media companies accountable for what’s published on their platforms.” Glenn Decl. Ex. 26, at 1;
  Doc. 10-1, at 314-15. This comment specifically referred to the amendment or repeal of Section
  230 of the Communications Decency Act. See id. He also wrote: “Washington would be better off
  throwing out Section 230 and starting over.” Id.

         RESPONSE: Disputed to the extent that Plaintiffs’ PFOF is irrelevant to any issue in this

  case and is lacking in context. Defendants refer the Court to the cited document for a full and

  accurate understanding of its contents. See Dkt. 10-1 at 314-15. Note also that irrespective of

  interest expressed in Section 230 reform, social media companies, by virtue of their business

  model, have powerful economic incentives to moderate content on their platforms to retain users

  and thereby maximize advertising revenues, and have been doing so since well before 2020. See

  Gurrea Decl. ¶¶ 1-81 (Ex. 1).

     27. On July 16, 2021, President Biden stated that social-media companies are “killing people”
  by not censoring enough misinformation. Waldo Ex. 14, at 1.

         RESPONSE: Disputed because Plaintiffs’ PFOFs fails to include President Biden’s full

  statement, lacks context, and argumentatively characterizes the statement. In response to the

  question “[On COVID misinformation,] what’s your message to platforms like Facebook?,”

  President Biden responded “They’re killing people. I mean, it really—they—look, the only

  pandemic we have is among the unvaccinated, and that—and they’re killing people.” Ex. 45 at 2

  (Question from Reporter to President Joseph R. Biden, Jr., in Washington, D.C. 2 (July 16, 2021))

  (transcript of exchange). President Biden later explained that he had just read that twelve

  individuals were responsible for sixty percent of misinformation concerning COVID-19

  vaccines—a statistic advanced by the non-profit Center for Countering Digital Hate—and clarified




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  that “Facebook isn’t killing people. These twelve people are out there giving misinformation.

  Anyone listening to it is getting hurt by it. It’s killing people.” Ex. 43 at 2-3 (Question from

  Reporter to President Joseph R. Biden, Jr., in Washington, D.C. 2 (July 19, 2021)) (emphasis

  added). He further said, “[m]y hope is that Facebook, instead of taking [the comment] personally

  that somehow I’m saying Facebook is killing people . . . would do something about the

  misinformation . . . . That’s what I meant.” Id. at 2-3.

      28. On January 3, 2022, an audio clip of President Biden played on Alyssa Milano’s podcast
  stated: “The unvaccinated are responsible for their own choices, but those choices had been shulled
  [sic] by dangerous misinformation on cable TV and social media. You know, these companies …
  are making money by ped[dling] lies and allowing misinformation that can kill their own
  customers and their own supporters. It's wrong. It's immoral. I call on the purveyors of these lies
  and misinformation to stop it. Stop it now.” Waldo Ex. 39, at 5 (Audio Tr. 4).

         RESPONSE: Undisputed.

      29. In September of 2022, the White House convened the “United We Stand” summit at which
  the President put social media companies on notice that Section 230 protections were at risk. “Tech
  platforms currently have special legal protections under Section 230 of the Communications
  Decency Act that broadly shield them from liability. This immunity extends beyond what the First
  Amendment requires and what newspapers and other media receive. It also effectively permits
  hate-fueled content mobilizing users to violence to be amplified on large tech platforms. President
  Biden has long urged fundamental reforms to Section 230, and …he reiterates his call for Congress
  to fundamentally reform Section 230.” Jones Decl., Ex. E, at 9.

         RESPONSE: Disputed to the extent the first sentence of Plaintiffs’ PFOF reflects

  argument rather than facts and lacks evidentiary support. Plaintiffs’ PFOF is further disputed to

  the extent it takes statements in this document out of context and is immaterial to any issue in this

  case. Defendants further note that the summit included, among others, “bipartisan federal, state

  and local officials” and involved “bipartisan panels and conversations on countering hate-fueled

  violence, preventing mobilization to violence, and fostering unity.” Jones Decl., Ex. E, at 2. Note

  also that irrespective of interest expressed in Section 230 reform, social media companies, by

  virtue of their business model, have powerful economic incentives to moderate content on their




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  platforms to retain users and thereby maximize advertising revenues, and have been doing so since

  well before 2020. See Gurrea Decl. ¶¶ 1-81 (Ex. 1).

      30. President Biden also stated in the same document: “Americans deserve to know how the
  algorithms that drive large tech platforms may amplify divisions and contribute to hate-fueled
  violence, among other critical harms. Consistent with those same principles for accountability,
  President Biden supports requiring platform transparency sufficient to allow the public and
  researchers to understand how and why such decisions are made, their potential effects on users,
  and the very real dangers these decisions may pose.” Id. (emphasis added).

        RESPONSE: Undisputed, but note that President Bident’s views about platform transparency

  and Section 230 echo the views of Republican members of Congress. See, e.g., Ex. 14 (Senate

  Judiciary Committee Holds Hearing on Censorship and the 2020 Election (Nov. 17, 2020) at 3

  (Senator Graham: “My hope is that we change section 230 to incentivize social media platforms

  to come up with standards that are transparent and opaque [sic], that will allow us to make

  judgments about their judgments, that the fact checkers be known, that the community standards,

  who sets them, what are their biases, and give some direction to these companies because they

  have almost an impossible task.”).

  II.      The White House’s Public and Private Pressure Campaign on Platforms.

          31.   Many White House officials are involved in communicating with social-media
  platforms about misinformation, disinformation, and censorship. In response to a third-party
  subpoena, Facebook/Meta identified at least the following White House officials as engaged in
  such communications: Special Assistant to the President Laura Rosenberger, White House
  Partnerships Manager Aisha Shah, White House Counsel Dana Remus, and White House officials
  Andy Mr. Slavitt, Rob Flaherty, and Clarke Humphrey. Doc. 84, ¶ 379. Defendants’ discovery
  reveals many others. See infra.

           RESPONSE: Disputed to the extent this PFOF mischaracterizes the referenced

  communications as regarding “censorship.” The evidence does not support that characterization.




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  See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.5 Further disputed because this PFOF is

  unsupported by the evidence; it cites only to the operative Complaint, which alleges that the listed

  officials “may have” communicated with Facebook/Meta regarding “content moderation.” Dkt. 84

  ¶ 379.

         32.    In response to a third-party subpoena, YouTube identified White House officials
  Benjamin Wakana and Rob Flaherty as engaged in such communications, and Defendants’
  discovery reveals others. Doc. 84, ¶ 380. Defendants’ discovery reveals others. See infra.

           RESPONSE: Disputed for the same reasons listed in Response to Pls.’ PFOF ¶ 31.

          33.    In response to a third-party subpoena, Twitter has disclosed the following White
  House officials as engaged in such communications: Deputy Assistant to the President and
  Director of Digital Strategy Rob Flaherty, White House Senior Advisor Andrew Mr. Slavitt, NSC
  staffer Katy E. Colas, Deputy Assistant to the President Joshua Geltzer, White House Digital
  Director Clarke Humphrey, Deputy Director of the Office of Digital Strategy Tericka Lambert,
  Press Secretary for the First Lady Michael LaRosa, NSC Director of Counterterrorism John
  Picarelli, Chief of Staff for the Office of Digital Strategy Hoor Qureshi, Director of Strategic
  Communications and Engagement Courtney Rowe, White House Associate Counsel Michael
  Posada, Associate Director for Communications Marissa Sanchez-Velasco, Deputy Director of
  Digital Strategy Christian Tom, and Strategic Director of Digital Communications Benjamin
  Wakana. Jones Decl., Ex. F, at 1. Defendants’ discovery has revealed others. See infra.

           RESPONSE: Disputed for the same reasons listed in Response to Pls.’ PFOF ¶ 31. Further

  disputed because this PFOF is unsupported by the evidence; the document listing these names is

  titled “Twitter Final Production Agreement Second Supplemental Response to Request Number

  5,” but it does not state what “Request Number 5” entailed or include any other context. Jones

  Decl., Ex. F, at 1.

           A. Pressure in Private from Rob Flaherty, Andy Mr. Slavitt, and White House
           Officials.

         34.     The Biden White House’s demands for censorship began almost immediately upon
  taking office. On January 23, 2021, three days after Inauguration Day, at 1:04 a.m., Clarke

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    “Defs.’ PFOF” refers to Defendants’ Proposed Findings of Fact, contained in Defendants’
  Opposition to Plaintiffs’ Motion for Preliminary Injunction filed concurrently with these
  responses. “Defs.’ Arg.” and “Arg.” refer to the Argument section of the same document
  (Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction).


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  Humphrey of the White House emailed Twitter, copying Rob Flaherty, with the subject line:
  “Flagging Hank Aaron misinfo.” Doc. 174-1, at 1. The email stated: “Hey folks – Wanted to flag
  the below tweet and am wondering if we can get moving on the process for having it removed
  ASAP.” Id. Humphrey then linked to a Tweet by anti-vaccine activist Robert F. Kennedy Jr., who
  is also a principal target of the Virality Project and a member of the so-called “Disinformation
  Dozen.” Id. Humphrey added: “And then if we can keep an eye out for tweets that fall in this same
  ~genre that would be great.” Id.

         RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes the

  White House as “demand[ing]” “censorship.” The evidence does not support this characterization.

  In the cited email Humphrey was “wondering if” the “process” for removal could be instituted.

  See Doc. 174-1, at 1. Further disputed because the cited email does not support the assertion that

  “Robert F. Kennedy Jr., . . . is also a principal target of the Virality Project and a member of the

  so-called ‘Disinformation Dozen.’” The cited e-mail also contains no evidence of threats or

  pressure by the White House to censor speech, or communications that Twitter regarded (or acted

  on) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

  See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          35.     “Flagging Hank Aaron misinfo” refers to the claim by anti-vaccine speakers that
  COVID-19 vaccines may have contributed to baseball legend Hank Aaron’s death. See, e.g.,
  https://www.usatoday.com/story/news/factcheck/2021/01/26/fact-check-hank-aaron-death-
  unlikely-result-covid-19-vaccine/6699577002/.

         RESPONSE: Undisputed. But see Response to PFOF ¶ 34.

          36.    Twitter responded to Humphrey within 4 minutes, at 1:08 a.m. on January 23, 2021,
  stating: “Thanks. We recently escalated this.” Doc. 174-1, at 2.

         RESPONSE: Undisputed. But see Response to Pls.’ PFOF ¶ 34.

          37.    The White House’s demands for censorship continued relentlessly, and their tone
  was arrogant, demanding, and peremptory. On Saturday night, February 6, 2021, at 9:45 p.m., Rob
  Flaherty emailed Twitter to demand the immediate removal of a parody or impostor account linked
  to Finnegan Biden, Hunter Biden’s adult daughter. Doc. 174-1, at 4. He stated: “Please remove
  this account immediately.” Id. He also stated: “I have tried using your form three times and it
  won’t work—it is also ridiculous that I need to upload my id to a form [to] prove that I am an
  authorized representative of Finnegan Biden.” Id.




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         RESPONSE: Disputed to the extent that this PFOF mischaracterizes the White House as

  making “demands for censorship [that] continued relentlessly,” and as adopting a “tone [that] was

  arrogant, demanding, and peremptory.” The evidence does not support these characterizations. In

  the February 6, 2021 email, Mr. Flaherty simply expressed frustration with Twitter’s process for

  reporting impersonation accounts. Doc. 174-1, at 4. The e-mail contains no evidence of threats or

  pressure by the White House to censor speech, or communications that Twitter regarded (or acted

  on) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

  See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           38.    Two minutes later, at 9:47 p.m., Twitter responded, “Thanks for sending this over.
  We’ll escalate for further review from here.” Id. Flaherty shot back, the same minute, “Cannot
  stress the degree to which this needs to be resolved immediately.” Id. Forty-five minutes later, at
  10:32 p.m., Twitter responded, “Update for you – account is now suspended.” Id. at 3-4.

         RESPONSE: Undisputed, except to the extent the statement argumentatively characterizes

  Mr. Flaherty’s response as having been “shot back.” Defendants further note that the cited e-mail

  contains no evidence of threats or pressure by the White House to censor speech, or

  communications that Twitter regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          39.     The next day, Sunday, Feb. 7, 2021, Twitter emailed Flaherty and described steps
  he could take to “streamline the process” for the White House’s demands for Twitter censorship.
  Id. at 3. Twitter offered to enroll White House officials in Twitter’s Partner Support Portal for
  expedited review of flagging content for censorship, recommending that Flaherty “Designate a
  list of authorized White House staff for Twitter's Partner Support Portal.” Id. (bold in
  original). Twitter stated: “We sent over instructions about this on January 28th and also discussed
  this with Christian [Tom] during our call on February 4th. This is the same system we had in place
  for the previous two administrations for their support issues, as well as the transition and campaign
  teams. Once you assign and we enroll these authorized reporters, whenever they submit a ticket
  through the Help Center it will be prioritized automatically, without having to contact our team,
  and you won't need to add your personal information. To enroll your designated reporters to the
  Partner Support Portal, we simply need the list of @usernames (up to 10) that are registered with
  a White House email address.” Id. at 3 (italics added; underlines omitted).



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         RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes Flaherty

  and/or the White House as making “demands for Twitter censorship” or “flagging content for

  censorship.” The evidence does not support these characterizations. The e-mail chain cited in this

  PFOF refers to Flaherty’s inquiry as a “request” for “expedited help.” See Dkt. 174-1 at 3. The

  cited e-mail also contains no evidence of threats or pressure by the White House to censor speech,

  or communications that Twitter regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          40.     Twitter noted that it had been recently bombarded with such requests for censorship
  from the White House: “we would prefer to have a streamlined process strictly with your team as
  the internal liaison. That is the most efficient and effective way to ensure we are prioritizing
  requests. In a given day last week for example, we had more than four different people within the
  White House reaching out for issues.” Id. at 3.

         RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes the

  White House as “bombard[ing]” Twitter with “requests for censorship.” The cited evidence does

  not support these characterizations. In the cited e-mail, Twitter’s representative stated only that

  multiple White House staff had recently been “reaching out for issues.” Dkt. 172-1 at 3. She did

  not say what those “issues” were. Id. The cited e-mail also contains no evidence of threats or

  pressure by the White House to censor speech, or communications that Twitter regarded (or acted

  on) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

  See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         41.    The next day, Monday, February 8, 2021, Facebook emailed Rob Flaherty,
  Courtney Rowe, and Clarke Humphrey of the White House to explain how it had recently
  expanded its COVID-19 censorship policies. Doc. 174-1, at 7-8. Facebook stated: “We wanted to
  make sure you saw our announcements today about running the largest worldwide campaign to
  promote authoritative COVID-19 vaccine information and expanding our efforts to remove false
  claims on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general
  during the pandemic.” Id.



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         RESPONSE: Disputed to the extent this PFOF mischaracterizes Facebook’s

  announcement as concerning “COVID-19 censorship policies.” The cited evidence does not

  support that characterization. The cited e-mail also contains no evidence of threats or pressure by

  the White House to censor speech, or communications that Facebook regarded (or acted on) as

  such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           42.     Under the heading “Combating Vaccine Misinformation,” Facebook provided a
  detailed list of expanded censorship policies: “We are expanding our efforts to remove false claims
  on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general during
  the pandemic. Since December [i.e. during the Biden transition], we've removed false claims about
  COVID-19 vaccines that have been debunked by public health experts. … [W]e are expanding the
  list of false claims we will remove to include additional debunked claims about the coronavirus
  and vaccines. … Groups, Pages and accounts on Facebook and Instagram that repeatedly share
  these debunked claims may be removed altogether. We are also requiring some admins for groups
  with admins or members who have violated our COVID-19 policies to temporarily approve all
  posts within their group. …. On Instagram, in addition to surfacing authoritative results in Search,
  in the coming weeks we're making it harder to find accounts in search that discourage people from
  getting vaccinated….” Id. at 7-8 (bold in original).

         RESPONSE: Disputed to the extent this PFOF mischaracterizes Facebook’s

  announcement as concerning “censorship policies.” The cited e-mail does not support that

  characterization, which is lacking critical context. Facebook announced that it was making these

  changes “following consultations with leading health organizations, including the World Health

  Organization (WHO).” Dkt. 174-1 at 8. The full announcement is available online. See Ex. 173

  (Reaching Billions of People With COVID-19 Vaccine Information, Meta (Feb. 8, 2021),

  https://perma.cc/KPC5-7273). The cited e-mail also contains no evidence of threats or pressure

  by the White House to censor speech, or communications that Facebook regarded (or acted on) as

  such. In fact, the email shows that Facebook adopted these policies on its own initiative. Dkt. 174-




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  1 at 8. Any assertion to the contrary is unsupported by to the evidence as a whole. Defs.’ PFOF §

  II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          43.     This was not nearly enough for the White House. Within 19 minutes of receiving
  this email, Flaherty responded, pressing Facebook for more information about how strict the new
  policies are. Id. at 7. Quoting Facebook’s email in italics, he wrote: “This line, of course, stands
  out: that repeatedly share these debunked claims may be removed altogether. Can you share more
  about your framework here? May, of course, is very different than ‘will.’ Is there a strike policy,
  ala Youtube? Does the severity of the claims matter?” Id. at 7. He also asked for specific data on
  the application of the censorship policies: “And as far as your removal of claims, do you have data
  on the actual number of claims - related posts you've removed? Do you have a sense of how many
  are being flagged versus how many are being removed? Are there actions (downranking, etc) that
  sit before removal? How are you handling things that are dubious, but not provably false?” Id.

         RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes

  Facebook’s announcement as “not nearly enough” for the White House, Flaherty as “pressing”

  Facebook for more information about “how strict the new policies are,” and Flaherty asking for

  data on “the application of the censorship policies.” In the quoted email, Flaherty asked if

  Facebook “[c]an . . . share more about” its content-moderation “framework.” The cited e-mail

  contains no evidence of threats or pressure by the White House to censor speech, or

  communications that Facebook regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          44.      The next day, February 9, 2021, Flaherty followed up with Facebook with a demand
  for more information and an accusation (to be repeated) that Facebook’s failure to censor speech
  on its platforms causes “political violence”: “All, especially given the Journal’s reporting on your
  internal work on political violence spurred by Facebook groups, I am also curious about the new
  rules as part of the ‘overhaul.’ I am seeing that you will no longer promote civic and health related
  groups, but I am wondering if the reforms here extend further? Are there other growth vectors you
  are controlling for?” Id. at 6. Flaherty suggested an oral meeting to discuss: “Happy to put time
  on the calendar to discuss further.” Id.

         RESPONSE: Disputed to the extent this PFOF mischaracterizes Flaherty’s e-mail as a

  “demand” and an “accusation” regarding a failure to “censor speech.” Those characterizations are




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  not supported by the cited e-mail or the evidence as a whole. Flaherty instead referred to “the

  Journal’s reporting on [Facebook’s] internal work on political violence” and said he was “curious”

  to know additional information. Dkt. 172-1 at 6. The cited e-mail contains no evidence of threats

  or pressure by the White House to censor speech, or communications that Facebook regarded (or

  acted on) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

  whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           45.    Facebook responded on February 9, 2021, with a detailed answer to each of
  Flaherty’s questions about the enforcement of its new policies. Id. at 5-6. Facebook also noted that
  “We are happy to discuss these and additional questions as per your recent note.” Id. at 5. Among
  other things, Facebook reported that it would “suspend the entire Page, Group, or account” in case
  of repeat violations; that it “will begin enforcing this policy immediately,” id. at 5; that for vaccine-
  skeptical content that does not violate Facebook’s policies, Facebook will “reduce its distribution
  and add strong warning labels with more context, so fewer people see the post,” id. at 6; and that
  Facebook was working to censor content that does not violate its policies in other ways by
  “prevent[ing] posts discouraging vaccines from going viral on our platforms; address[ing] content
  that experts believe dissuades people from getting the vaccine, but does not violate our
  misinformation policies, through the use of information labels; and prevent[ing] recommendations
  for Groups, Pages, and Instagram accounts that repeatedly push content discouraging vaccines,”
  id. at 6.

          RESPONSE: Disputed. This PFOF contains several mischaracterizations and omissions

  of critical context from Facebook’s e-mail to Flaherty. See Dkt. 174-1 at 5-6. Facebook did not

  use the word “censor” or indicate that it would act against content that “does not violate its

  policies.” Rather, Facebook said: “Content which does not qualify for removal may be eligible to

  be fact-checked by our network of over 80 fact-checking organizations. When one of our

  independent fact-checking partners debunk a post, we reduce its distribution and add strong

  warning labels with more context, so fewer people see the post. We do not remove the content, but

  are focusing on improvement efforts that will help us to better address content that contributes to

  unfounded hesitancy towards the COVID-19 vaccine.” Id. (emphasis added). The cited e-mail

  contains no evidence of threats or pressure by the White House to censor speech, or




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  communications that Facebook regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          46.    Facebook advised Flaherty that it was relying on advice of “public health
  authorities” to determine its censorship policies: “In consultation with leading health
  organizations, we continuously expand the list of false claims that we remove about COVID-19
  and vaccines during the pandemic. We remove claims public health authorities tell us have been
  debunked or are unsupported by evidence.” Id. at 6 (emphasis added).

         RESPONSE: Disputed to the extent this PFOF mischaracterizes Facebook’s policies as

  “censorship policies.” The evidence does not support that characterization. Further, per

  Facebook’s initial announcement, “public health authorities” includes the World Health

  Organization. See Dkt. 174-1 at 8; see also Response to Pls.’ PFOF ¶ 42. The cited e-mail also

  contains no evidence of threats or pressure by the White House to censor speech, or

  communications that Facebook regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

         47.     Facebook also promised Flaherty that it would aggressively enforce the new
  censorship policies: “We will begin enforcing this policy immediately, with a particular focus on
  Pages, Groups and accounts that violate these rules, and we'll continue to expand our enforcement
  over the coming weeks.” Id. at 5.

         RESPONSE: Disputed to the extent that this PFOF mischaracterizes Facebook’s message

  as “promis[ing] Flaherty that it would aggressively enforce the new censorship policies.” That

  characterization is unsupported by the cited e-mail; Facebook was not making a personal promise

  to Flaherty. Rather, Facebook had already posted identical language on its website one day earlier:

  “We will begin enforcing this policy immediately, with a particular focus on Pages, groups and

  accounts that violate these rules, and we’ll continue to expand our enforcement over the coming

  weeks.” Ex. 20 (Guy Rosen, An Update on Our Work to Keep People Informed and Limit



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  Misinformation About COVID-19, Meta (Apr. 16, 2020) (updated Feb. 8, 2021),

  https://perma.cc/5GAL-5BSQ). The cited e-mail contains no evidence of threats or pressure by the

  White House to censor speech, or communications that Facebook regarded (or acted on) as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         48.     Facebook then followed up to “see when you would like to have a meeting arranged
  to speak to our misinformation team reps about the latest updates. They also have a more detailed
  misinformation analysis prepared based on the discussions/questions from the previous meetings
  during the transition time period.” Id. at 5.

            RESPONSE: Undisputed. But the cited e-mail contains no evidence of threats or pressure

  by the White House to censor speech, or communications that Facebook regarded (or acted on) as

  such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         49.     This email makes clear that Flaherty, as part of the Biden transition team, had
  already engaged in “previous meetings” and “discussions/questions” with Facebook about
  censorship of COVID-19 misinformation on its platforms during the Presidential transition period
  from November 2020 to January 2021. Id.

            RESPONSE: Disputed because this PFOF mischaracterizes the cited e-mail. The e-mail

  does not mention “censorship” or any prior meetings with Flaherty. The cited e-mail contains no

  evidence of threats or pressure by the White House to censor speech, or communications that

  Facebook regarded (or acted on) as such. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b &

  II.B.2.

          50.    On February 24, 2021, Facebook emailed Rob Flaherty with the subject “Misinfo
  Themes,” stating: “Following up on your request for COVID-19 misinfo themes we are seeing.
  All the below claims violate our updated Covid and vaccine misinformation policies that we
  announced earlier this month, and we are removing these claims from our platforms,” and she
  identified “Vaccine Toxicity,” “False Claims About Side Effects of Vaccines,” “Comparing the
  Covid Vaccine to the Flu Vaccine,” and “Downplaying Severity of COVID-19.” Jones Decl. Ex.
  G, at 1-2. Flaherty responded by inquiring for details about Facebook’s actual enforcement
  practices and for a report on misinformation that was not censored: “Can you give us a sense of



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  volume on these, and some metrics around the scale of removal for each? Can you also give us a
  sense of misinformation that might be falling outside your removal policies? Goes without saying,
  just because it’s on your list for removal hasn’t historically meant that it was removed, so I want
  to get a sense of the state of play here!” Id. at 1. Facebook promised to discuss this at an upcoming
  oral meeting: “Hope to cover a lot of that on Monday … Can definitely go into detail on content
  that doesn’t violate like below but could contribute to vaccine hesitancy.” Id.

         RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited e-mail.

  Flaherty did not ask for “a report,” including a “report” about “censor[ed]” information, and

  Facebook did not “promise” him anything, as the e-mail states. The PFOF also omits that Facebook

  noted: “still working on data we can share, etc,,” indicating that Facebook was still deciding what

  to share with the White House. Jones Decl. Ex. G, at 1. The cited e-mail contains no evidence of

  threats or pressure by the White House to censor speech, or communications that Facebook

  regarded (or acted on) as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          51.    On March 1, 2021, White House officials Rob Flaherty and Clarke Humphrey,
  along with Joshua Peck of HHS, participated in a meeting with Twitter about misinformation.
  Jones Decl., Ex. H, at 1. The same day, after the meeting, Twitter emailed these officials and
  assured the White House that it would increase censorship of “misleading information” on Twitter:
  “Thanks again for meeting with us today. As we discussed, we are building on our continued
  efforts to remove the most harmful COVID-19 misleading information from the service …. We
  have also introduced a strike system that determines when further enforcement is necessary. … As
  we said, we are committed to working with stakeholders in the public, private and non-profit
  sectors to address the reliability of covid information online and look forward to continued
  dialogue about joint efforts.” Id. at 1.

         RESPONSE: Disputed to the extent this PFOF (i) omits critical context and (ii) includes

  an argumentative mischaracterization that Twitter “assured the White House that it would increase

  censorship.” Twitter sought this meeting with the White House to provide an “update on our work

  to combat covid misinformation while also sharing reliable covid information.” See Ex. 174 at 2

  (February 2021 email chain (Twitter) (MOLA_DEFSPROD_00017794)). On the same day as the

  meeting, Twitter announced updates to its policies. See Ex. 175 (Twitter Safety, Updates to our




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  work on COVID-19 vaccine misinformation, Twitter Blog (Mar. 1, 2021), https://perma.cc/99TM-

  QWLD). Twitter’s thank you e-mail to the White House includes identical language from the

  announcement and says “[y]ou can read more about the announcement on our blog.” Jones Decl.,

  Ex. H, at 1. The announcement now includes a heading: “Effective November 23, 2022, Twitter

  is no longer enforcing the COVID-19 misleading information policy.” Ex. 175 at 1. The cited e-

  mail also contains no evidence of threats or pressure by the White House to censor speech, or

  communications that Twitter regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          52.    From at least May 28, 2021 to July 10, 2021, a senior Meta executive repeatedly
  copied Mr. Slavitt on his emails to Surgeon General Murthy in which he assured the Surgeon
  General and the White House that Meta was engaging in censorship of COVID-19 misinformation
  according to the White House’s demands. Doc. 71-4. Among other things, the Meta executive
  insisted that “We’ve expanded penalties for individual Facebook accounts that share
  misinformation.” Id. at 9.

         RESPONSE: Disputed on the basis that the cited document does not support the broad

  generalization that a Meta executive “repeatedly” “assured [Dr. Murthy] and the White House that

  Meta was engaging in censorship of COVID-19 misinformation to the White House’s demands.”

  To the contrary, there is no evidence that the White House or OSG requested or demanded such

  changes. Meta posted the quoted text online two days before e-mailing the White House, in a post

  that was unrelated to COVID-19: “Expanding Penalties For Individual Facebook Accounts.

  Since launching our fact-checking program in late 2016, our focus has been on reducing viral

  misinformation. We’ve taken stronger action against Pages, Groups, Instagram accounts and

  domains sharing misinformation and now, we’re expanding some of these efforts to include

  penalties for individual Facebook accounts too.” Ex. 176 at 3 (Facebook, Taking Action Against

  People Who Repeatedly Share Misinformation, Meta (May 26, 2021), https://perma.cc/M75G-



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  YQB8). The cited e-mail also contains no evidence of threats or pressure by the White House to

  censor speech, or communications that Facebook regarded (or acted on) as such. Any assertion to

  that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

          53.    On March 12, 2021, referring to previous oral communications with the White
  House and HHS, Facebook emailed Flaherty “[f]ollowing up on our commitment to share our
  survey data on vaccine uptake.” Doc. 174-1, at 9. Facebook provided the White House with a
  detailed report and summary on the topic, and noted that the information had evidently been
  requested by or on behalf of “White House / HHS” officials: “Hopefully, this format works for the
  various teams and audiences within the White House / HHS that may find this data valuable.” Id.

          RESPONSE: Disputed to the extent this PFOF omits critical context. Facebook had been

  conducting a survey on vaccine uptake in partnership with Carnegie Melon since April 2020;

  Facebook shared the results of that survey, which it also made public, with HHS and White House

  officials.   See   Ex.   177    (COVID-19     Symptom      Survey,     Meta   (Mar.   12,    2021)

  (MOLA_DEFSPROD_00017641)). The cited e-mail contains no evidence of threats or pressure

  by the White House to censor speech, or communications that Facebook regarded (or acted on) as

  such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          54.     On March 15, 2021, at 3:20 a.m., Flaherty sent an email to Facebook
  acknowledging, “[g]ood insights here,” but then immediately pivoted to demand more and
  different data, linking a recent Washington Post article accusing Facebook of allowing the spread
  of information about vaccine hesitancy and QAnon, stating: “I'm more interested in the data that
  was outlined in the Washington Post (https//www.washingtonpost.com/technology/202l/03/l4/
  facebook-vaccine-hesistancy-qanon) And what interventions you are testing/their effectiveness.”
  Id. at 9. This would become a standard tactic of the White House – linking to articles critical of
  Facebook in the press, and then demanding more information or actions based on those articles.

          RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes Flaherty

  as “demand[ing]” information or data or that his response reflected a “standard tactic,” of

  “demanding more information or actions” based on press articles. Neither the cited e-mail nor any

  other evidence supports those characterizations. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b


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  & II.B.2. Flaherty simply said on this occasion that he was “more interested” in a different kind of

  information. Dkt. 174-1 at 9. The cited e-mail contains no evidence of threats or pressure by the

  White House to censor speech, or communications that Facebook regarded (or acted on) as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          55.   The day before, Sunday, March 14, 2021, at 11:13 p.m., Flaherty had emailed a link
  to the same article to Facebook (“https://www.washingtonpost.com/technology/2021/03/14/face
  book-vaccine-hesistancy-qanon”), copying White House COVID-19 official Andrew Mr. Slavitt,
  with no more text in the email and the subject line: “You are hiding the ball.” Id. at 12.

         RESPONSE: Undisputed. However, the cited e-mail contains no evidence of threats or

  pressure by the White House to censor speech, or communications that Facebook regarded (or

  acted on) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

  whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         56.     The next morning, Facebook responded by stating, “there is a misunderstanding on
  what this story is covering with respect to research that's happening – I will call to clear up.
  Certainly not hiding the ball.” Id. at 11-12.

  RESPONSE: Undisputed. However, the cited e-mail contains no evidence of threats or pressure

  by the White House to censor speech, or communications that Facebook regarded (or acted on) as

  such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          57.     Flaherty responded in accusatory fashion, referring to a series of at least three
  previous oral conversations in which the White House had demanded more information from
  Facebook about its censorship policies. Id. at 11. Flaherty made clear that the White House was
  seeking more aggressive action on “borderline” content—i.e., content that does not clearly violate
  Facebook’s own censorship policies but the White House demands action against anyway.
  Flaherty wrote: “I don't think this is a misunderstanding … I've been asking you guys pretty
  directly, over a series of conversations, for a clear accounting of the biggest issues you are seeing
  on your platform when it comes to vaccine hesitancy, and the degree to which borderline content-
  -as you define it-- is playing a role.” Id. at 11. Flaherty also referred to a series of meetings,
  including one-on-one meetings with Facebook (“1:1”): “I've also been asking for what actions you
  have been taking to mitigate it as part of your ‘lockdown’ - which in our first conversation, was



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  said to be in response to concerns over borderline content, in our 1:1 convo you said was not out
  of any kind of concern over borderline content, and in our third conversation never even came up.”
  Id.

         RESPONSE: Disputed to the extent that the PFOF mischaracterizes the cited e-mail in

  multiple ways, including (i) referring to prior “demand[s] [for] more information” or “seeking

  more aggressive action, regarding “censorship,” (ii) using the term “borderline content” to mean

  content that does not violate Facebook’s policies, and (iii) describing Mr. Flaherty’s tone as

  “accusatory.” Mr. Flaherty sought clarification regarding information about the “biggest” vaccine

  hesitancy issues that he “asked” Facebook for, and about which he had received inconsistent

  answers. See Dkt. 174-1 at 11. The cited e-mail contains no evidence of threats or pressure by the

  White House to censor speech, or communications that Facebook regarded (or acted on) as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           58.    Flaherty followed with a series of accusations that Facebook was deceiving and
  prevaricating with the White House about its “borderline” (i.e. not violative) content: “You said
  you would commit to us that you'd level with us. I am seeing in the press that you have data on the
  impact of borderline content, and its overlap with various communities. I have asked for this point
  blank, and got, instead, an overview of how the algorithm works, with a pivot to a conversation
  about profile frames, and a 45-minute meeting that seemed to provide you with more insights than
  it provided us.” Id. He accused Facebook of being the “top driver[] of vaccine hesitancy,”
  demanded action against “borderline” content, and stated that the White House wanted to be
  directly involved in those efforts: “I am not trying to play ‘gotcha’ with you. We are gravely
  concerned that your service is one of the top drivers of vaccine hesitancy- period. I will also be the
  first to acknowledge that borderline content offers no easy solutions. But we want to know that
  you're trying, we want to know how we can help, and we want to know that you're not playing a
  shell game with us when we ask you what is going on. This would all be a lot easier if you would
  just be straight with us.” Id.

         RESPONSE: Disputed to the extent that this PFOF mischaracterizes Flaherty’s e-mail,

  which principally sought greater information concerning vaccine hesitancy on Facebook, as

  making “accusations,” “demand[ing]” greater action against “borderline” content, and seeking

  “direct[ ]” White House involvement in Facebook’s efforts. Dkt. 174-1 at 11. The cited e-mail



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  contains no evidence of threats or pressure by the White House to censor speech, or

  communications that Facebook regarded (or acted on) as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          59.    Facebook responded on March 15, respectfully disputing the Washington Post’s
  reporting, but then saying to Flaherty: “We obviously have work to do to gain your trust. You
  mention that you are not trying to play ‘gotcha’ with us—I appreciate the approach you are taking
  to continued discussions. We are also working to get you useful information that's on the level.
  That's my job and I take it seriously--I'll continue to do it to the best of my ability, and I'll expect
  you to hold me accountable.” Id. at 10-11.

         RESPONSE: Disputed to the extent that this PFOF omits critical context. Facebook also

  said: “I understand why you'd read the WaPo piece and come away feeling like we are not leveling

  with you” and disputed the article’s accuracy at length. Dkt. 174 at 11. The cited e-mail contains

  no evidence of threats or pressure by the White House to censor speech, or communications that

  Facebook regarded (or acted on) as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         60.      The same day, March 15, 2021, Andrew Mr. Slavitt (who was copied on these
  exchanges between Facebook and Flaherty) weighed in, once again accusing Facebook of
  dishonesty in a series of oral meetings: “It would [be] nice to establish trust. I do feel like relative
  to others, interactions with Facebook are not straightforward and the problems are worse – like
  you are trying to meet a minimum hurdle instead of trying to solve the problem and we have to
  ask you precise questions and even then we get highly scrubbed party line answers. We have
  urgency and don't sense it from you all. 100% of the questions I asked have never been answered
  and weeks have gone by.” Id. at 10.

         RESPONSE: Disputed to the extent this PFOF characterizes Mr. Slavitt of accusing

  Facebook of “dishonesty” rather than expressing his “feel[ing]” that Facebook had not conveyed

  information about Facebook’s content moderation policies and practices with the level of detail

  and clarity he had hoped for. Regardless, the cited e-mail contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)




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  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          61.     Mr. Slavitt then made an ominous statement threatening unspecified Executive
  action against Facebook in retaliation for Facebook’s perceived lack of cooperation with the White
  House’s demands on censorship of “borderline” (non-violative) content: “Internally we have been
  considering our options on what to do about it.” Id. at 10 (emphasis added).

         RESPONSE: Disputed to the extent this PFOF mischaracterizes Mr. Slavitt’s general

  remark about internal White House consideration of “options” as “ominous,” “threatening” or

  referring to “retaliation” or “Executive action.” The reference to “Facebook’s perceived lack of

  cooperation with the White House’s demands on censorship of ‘borderline’ (non-violative)

  content),” is also disputed as a mischaracterization of the record. In the cited e-mail, Mr. Slavitt

  was referring to Facebook’s perceived lack of transparency about its content moderation practices

  and policies. The cited e-mail also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          62.    On March 16, 2021, Facebook responded to Mr. Slavitt, again disputing the
  Washington Post’s reporting and respectfully explaining its position, but also promising to share
  information about vaccine hesitancy in “real time”: “We are absolutely invested in getting you the
  specific information needed to successfully manage the vaccine roll out.” Id. Facebook promised
  to increase information-sharing and proposed a detailed oral meeting on the topic: “But I
  understand your point regarding how we communicate, and that we need to share information with
  you in a way that prioritizes what we are seeing in as close to real time as possible. I'd like to set
  up a conversation with our research leads to walk your team through ongoing research we are
  currently conducting and our approach; and then we can prioritize sharing results as quickly as
  possible.” Id. Facebook also offered to speak to Mr. Slavitt by phone at any time. Id.

         RESPONSE: Undisputed, but note that the cited e-mail contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is




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  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

         63.    On March 19, 2021, Facebook had an oral meeting with White House officials,
  including Flaherty and Mr. Slavitt. Doc. 174-1, at 15. On Sunday, Facebook sent a follow-up
  summary of the meeting to Andrew Mr. Slavitt (“Thanks for taking the time to connect on Friday”),
  which noted that the White House (1) demanded a “Consistent Product Team [Point of Contact]”
  at Facebook, (2) demanded “Sharing Additional Data” from Facebook, (3) had asked about
  “Levers for Tackling Vaccine Hesitancy Content,” and (4) asked about censorship policies for the
  Meta platform WhatsApp. Id..

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s email as

  reflecting “demands” by Flaherty, rather than requests to identify a point of contact from

  Facebook’s Content Product Team or the sharing of additional data. The email (which Plaintiffs

  do not quote) does not support this characterization. Nor does the cited evidence support the

  PFOF’s characterization of Mr. Slavitt asking about WhatsApp “censorship policies.” Rather, the

  evidence establishes that Mr. Slavitt asked Meta about WhatsApp’s content moderation policy, a

  policy that all users agree to when they sign up for WhatsApp. Regardless, the cited e-mail contains

  no evidence that the White House threatened or pressured Facebook to censor speech, or that

  Facebook regarded (or acted on) communications with the White House as such. Any assertion to

  that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

          64.     In the follow-up email, Facebook noted that, in direct response to White House
  demands, it was censoring, removing, and reducing the spread of content that did not violate its
  policies: “You also asked us about our levers for reducing virality of vaccine hesitancy content. In
  addition to policies previously discussed, these include the additional changes that were approved
  late last week and that we'll be implementing over the coming weeks. As you know, in addition to
  removing vaccine misinformation, we have been focused on reducing the virality of content
  discouraging vaccines that does not contain actionable misinformation. This is often-true content
  … but it can be framed as sensation, alarmist, or shocking. We'll remove these Groups, Pages, and
  Accounts when they are disproportionately promoting this sensationalized content.” Id. at 15
  (emphases added).




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         RESPONSE: Disputed to the extent this PFOF mischaracterizes Facebook’s email as

  reflecting “demands” by the White House, or that Facebook was “censoring” content that “did not

  violate its policies” in “response” to such “demands.” Facebook’s email expressly states that

  “[y]ou asked us about our levers for reducing virality of vaccine hesitancy content,” and further

  states that Facebook was adopting additional policy changes “that were approved late last week

  and that we’ll be implementing over the coming weeks.” Dkt. 174-1 at 15. This PFOF also

  argumentatively characterizes the cited e-mail by emphasizing various phrases. The cited e-mail

  also contains no evidence that the White House threatened or pressured Facebook to censor speech,

  or that Facebook regarded (or acted on) communications with the White House as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          65.     Facebook also provided the White House with a detailed report on its censorship
  policies on WhatsApp: “WhatsApp's approach to misinformation focuses on limiting the virality
  of messages, preventing coordinated abuse, and empowering users to seek out reliable sources of
  information both in and out of the product. Our product includes features to limit the spread of
  viral content, such as forward limits and labels, privacy settings to help users decide who can add
  them to groups, and simple ways for users to block accounts and make reports to WhatsApp if they
  encounter problematic messages. Additional limitations we placed in April 2020 on forwarding of
  messages that have been forwarded many times reduced these kinds of messages by over 70%.”
  Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes WhatsApp’s content

  moderation policies described above, to which all users agree, as “censorship policies.” The cited

  e-mail also contains no evidence that the White House threatened or pressured Facebook to censor

  speech, or that Facebook regarded (or acted on) communications with the White House as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          66.    On March 22, 2021, Flaherty responded to Facebook, demanding much more
  detailed information and action about “sensationalized” content on its platforms. Id. at 14. Flaherty



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  noted that White House officials were demanding a plan from Facebook to censor non-violative
  content, i.e., “looking out for your game plan on tackling vaccine hesitancy spread on your
  platform.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s request as

  a “demand” for “much more detailed information and action” about “sensationalized content” or

  a “plan from Facebook to censor nonviolative content.” Mr. Flaherty’s email (which in large part

  Plaintiffs do not quote) does not support this characterization. Rather than “demand” anything, Mr.

  Flaherty’s email reflects that he was asking Facebook about “the universe and scale of the

  problem” and what Facebook thought “the biggest issue is.” Dkt. 174-1 at 14. The cited e-mail

  also contains no evidence that the White House threatened or pressured Facebook to censor speech,

  or that Facebook regarded (or acted on) communications with the White House as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          67.    In this email, Flaherty badgered Facebook with a series of detailed requests for
  information about this issue of censoring vaccine-skeptical content that does not violate
  Facebook’s content-moderation policies, such as truthful but “sensational” content: “Again, as I've
  said, what we are looking for is the universe and scale of the problem. You noted that there is a
  level below sensational stories that get down-ranked, which took the form of general skepticism.
  … [T]he problem does not sit in ‘microchips’-land, and … it seems plausible that the things that
  drive the most actual hesitancy sit in ‘sensational’ and ‘skeptical.’” Id.. Flaherty demanded more
  information and greater censorship of such non-violative “sensational” and “skeptical” content:
  “If you're down ranking sensational stuff—great—but I want to know how effective you've seen
  that be from a market research perspective. And then, what interventions are being taken on
  ‘skepticism?’ … [W]hat are you trying here, and again, how effective have you seen it be. And
  critically, what amount of content is falling into all of these buckets? Is there wider scale of
  skepticism than sensationalism? I assume given the Carnegie data and the studies I've seen in the
  press that you have this. … As I've said: this is not to play gotcha. It is to get a sense of what you
  are doing to manage this.” Id. (italics in original).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Flaherty as “badger[ing]

  Facebook with a series of detailed requests for information about this issue of censoring vaccine-

  skeptical content,” as inquiring about information concerning “content that does not violate




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  Facebook’s content-moderation policies,” and as “demand[ing] . . . greater censorship” of

  information that does not violate Facebook’s content moderation policies. As he stated, Mr.

  Flaherty was trying to ascertain “the universe and scale of the problem” and “what [Facebook was]

  doing to manage [it].” The cited e-mail also contains no evidence that the White House threatened

  or pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          68.    Flaherty also badgered Facebook for more information on Meta’s censorship
  policies on the WhatsApp platform, pushing for greater censorship there: “On whatsapp, which I
  may seem like I'm playing gotcha, but I guess I'm confused about how you're measuring reduction
  of harm. If you can't see the message, I'm genuinely curious—how do you know what kinds of
  messages you've cut down on? Assuming you've got a good mousetrap here, that's the kind of info
  we're looking for above: what interventions you've taken, and what you've found to work and not
  work? And how effective are you seeing the good information on Whatapp be? Are you doing
  cross platform campaign work to try to reduce people's exposure on whatsapp?” Id. at 14.

         RESPONSE: Disputed to the extent the PFOF argumentatively mischaracterizes Mr.

  Flahery as “badgering” Facebook for information on Meta’s “censorship” policies and “pushing”

  for “more censorship.” Mr. Flaherty’s email plainly states he is “looking for” more information

  about “interventions [WhatsApp has] taken,” and says nothing about taking additional measures.

  The cited e-mail also contains no evidence that the White House threatened or pressured Facebook

  to censor speech, or that Facebook regarded (or acted on) communications with the White House

  as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          69.   Flaherty concluded with an accusation of past dishonesty against Facebook and
  proposed frequent oral meetings to address the White House’s issues: “You’ve given us a
  commitment to honest, transparent conversations about this. We’re looking for that, and hoping
  we can be partners here, even if it hasn’t worked so far. I know Andy [Mr. Slavitt] is willing to get
  on the phone with [a Facebook official] a couple of times per week if its necessary to get all of
  this.” Id.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s email as

  accusing Facebook of “dishonesty.” The cited e-mail also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           70.    Flaherty’s statement that the White House is “hoping we can be partners here, even
  if it hasn’t worked so far,” reinforced Mr. Slavitt’s previous implied threat that the White House
  would take some unspecified action against Facebook if it did not cooperate with the White
  House’s demands on censorship of vaccine-hesitant content, especially non-violative content, on
  Facebook’s platforms. Id.

          RESPONSE: Disputed. The PFOF mischaracterizes the quoted remark (“hoping we can

  be partners . . .”) as a threat, mischaracterizes prior statements by Mr. Slavitt as a “previous implied

  threat” of retaliation, and refers to White House “demands [for] censorship” for which neither this

  PFOF nor any other provides evidence. The cited e-mail also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

       71.     Facebook then agreed with Flaherty and Mr. Slavitt to schedule a meeting that
  Wednesday at 4:00 pm to discuss these issues. Id. at 13.

          RESPONSE: Undisputed, but note that the cited e-mail contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          72.    On April 9, 2021, Facebook sent Flaherty an email to respond to a long series of
  detailed questions from Flaherty about how the Meta platform WhatsApp was censoring COVID-
  19 misinformation. Doc. 174-1, at 17-21. All Flaherty’s questions were designed to probe and



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  pressure Facebook toward more aggressive censorship. See id. Facebook began by “noting some
  of the key differences between a private messaging app like WhatsApp, and social media like
  Facebook and Instagram. Approximately 90 percent of the messages sent on WhatsApp are one-
  to-one, and the majority of group chats include fewer than ten people. WhatsApp does not promote
  content, and users do not build audiences or discover new people as they would on social media.”
  Id. at 18. Flaherty responded to this: “Very aware. [Smiley face].” In other words, the White
  House was demanding information about speech on a private messaging app used for one-to-one
  private communication, and demanding greater censorship of speech on that app—and it was “very
  aware” that it was doing so. Id.

         RESPONSE: Disputed. This PFOF mischaracterizes the cited emails by Mr. Flaherty,

  from which Plaintiffs do not quote (apart from the two words, “Very aware”). The emails include

  no questions about “censorship,” say nothing that could be taken as “prob[ing] [or] pressure[ing]

  Facebook towards more aggressive censorship,” or as demanding “greater censorship of speech

  on [WhatsApp].” The cited e-mail also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          73.    Facebook noted that “WhatsApp seeks to control the spread of misinformation and
  inform users through deliberate, content-agnostic product interventions – things like labeling and
  limiting message forwards.” Id. at 18. Facebook noted that the message-forwarding limits are
  “intended” to censor COVID misinformation, and that they actually reduced such speech by 70
  percent, and Facebook admitted that these are “somewhat blunt tools” that prevent its users from
  sending many other forms of speech as well: “The forward limits … are intended to reduce their
  spread. As mentioned in my earlier note, when WhatsApp rolled out the limitation for highly
  forwarded messages to one chat at a time in April 2020, this resulted in a 70% reduction of those
  messages globally. Of course, not all forwards are misinformation, so these are by nature
  somewhat blunt tools, but they are important ones – and ones that many other messaging services
  don’t provide.” Id.

         RESPONSE: Disputed to the extent the PFOF argumentatively mischaracterizes

  WhatApp’s application of its content-moderation policies, to which all users agree, as

  “intend[ing]” to “censor” information. The cited e-mail also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)




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  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          74.     After presenting Facebook with a series of questions (presented in bold and in red
  type in the email, see id. at 18-20), Flaherty summed up by demanding insight into Facebook’s
  internal information: “I guess I have the same question here as I do on Facebook on Instagram. Do
  you guys think you have this under control? You're obviously going to say yes to that, so I guess
  the real question is, as ever: how are you measuring success? Reduction in forwarding? Measured
  impact across Facebook properties?” Id. at 20.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s question

  as a “demand.” The evidence does not support this characterization. The cited e-mail also contains

  no evidence that the White House threatened or pressured Facebook to censor speech, or that

  Facebook regarded (or acted on) communications with the White House as such. Any assertion to

  that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

          75.      Facebook responded by emphasizing that it was “reducing viral activity on our
  platform” through message-forward limits and other speech-blocking techniques as well: “On
  WhatsApp, reduction in forwards is just one of the signals that we use to measure how well we are
  doing in reducing viral activity on our platform. We also ban accounts that engage in mass
  marketing or scam behaviors - including those that seek to exploit COVID-19 misinformation. Our
  efforts in this space are more comprehensive than anything that our peers in private messaging or
  SMS do, and we are constantly innovating to stay ahead of future challenges.” Id. at 20.

         RESPONSE: Disputed to the extent that this PFOF characterizes Facebook’s application

  of its technology as using “speech-blocking techniques.” Defendants also note that the cited e-mail

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          76.    Facebook also offered to meet with the White House “Monday or anytime next
  week” to discuss its censorship efforts, to which Flaherty responded, “Hoor should be trying to
  land a time.” Id. at 17.



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         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s offer to meet

  with the White as one to “discuss its censorship efforts” as opposed to application of Facebook’s

  content-moderation policies, to which all users agree. The cited e-mail also contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

           77.      Flaherty responded to Facebook’s long, detailed account of its censorship efforts
  on WhatsApp by expressing dissatisfaction with the response and demanding ever-more detailed
  information, stating that he “couldn’t care less” about Facebook’s “product safari”: “Will say I'm
  really mostly interested in what effects the interventions and products you've tested have had on
  increasing vaccine interest within hesitant communities, and which ones have shown promise.
  Really couldn't care less about products unless they're having measurable impact. And while the
  product safari has been interesting, at the end of the day, I care mostly about what actions and
  changes you're making to ensure sure you're not making our country's vaccine hesitancy problem
  worse. I definitely have what I believe to be a non-comprehensive list of products you're building
  but I still don't have a good, empirical answer on how effective you've been at reducing the spread
  of vaccine-skeptical content and misinformation to vaccine fence sitters in the now-folded
  ‘lockdown.’” Id. at 17 (emphasis added).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s application of

  WhatsApp’s content moderation policies, to which its users agree, as “censorship efforts,”

  argumentatively emphasizes phrased in the cited email, and mischaracterizes Mr. Flaherty as

  “demanding,” rather than asking for additional information about the “effects the interventions and

  products you’ve tested have had on increasing vaccine interest within hesitant communities, and

  which ones have shown promise.” Dkt. 174-1 at 17. The cited e-mail also contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect




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  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

          78.     Flaherty then accused Facebook of being responsible for the riot at the Capitol on
  January 6, 2021, by not censoring enough speech online, and suggested that Facebook would be
  similarly responsible for COVID-related deaths if it did not engage in more online censorship here:
  “In the electoral context, you tested and deployed an algorithmic shift that promoted quality news
  and information about the election. This was reported in the New York Times and also readily
  apparent to anyone with cursory social listening tools. You only did this, however, after an election
  that you helped increase skepticism in, and an insurrection which was plotted, in large part, on
  your platform. And then you turned it back off. I want some assurances, based in data, that you
  are not doing the same thing again here.” Id. (emphases added).

         RESPONSE: Disputed to the extent that the PFOF mischaracterizes Mr. Flaherty as

  accusing Facebook of being responsible for the January 6, 2021, insurrection at the Capitol “by

  not censoring enough speech,” and as accusing Facebook of being “similarly responsible” for

  COVID-19 related deaths if it did not engage in more online “censorship.” In addition, the PFOF

  argumentatively emphasizes various phrases in the cited email. The cited evidence does not

  support this characterization. The cited e-mail also contains no evidence that the White House

  threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         79.     Facebook responded by promising ever-more-detailed information to the White
  House’s demands: “Understood. I thought we were doing a better job [of] responding to this – and
  we are working to get the data that will more clearly show the universe of the Covid content that's
  highest in distribution with a clear picture of what percentage of that content is vax hesitancy
  content, and how we are addressing it. I know [a Facebook official] told Andy [Mr. Slavitt] that
  would take a bit of time to nail down and we are working on that universe of data. I will make sure
  we're more clearly responding to your questions below.” Id. at 17.

         RESPONSE: Disputed to the extent the PFOF characterizes the request for information

  from Facebook as a “demand.” The cited evidence does not support this characterization. The cited

  e-mail also contains no evidence that the White House threatened or pressured Facebook to censor




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  speech, or that Facebook regarded (or acted on) communications with the White House as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          80.    The meeting that Facebook offered with the White House on Monday, April 12 or
  thereafter occurred on Wednesday, April 14, because Flaherty emailed Facebook that day stating:
  “Since we’ve been on the phone…” Id. at 22.

         RESPONSE: Undisputed, but note that the cited e-mail contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

         81.      In this Wednesday, April 14, 2021 email, with the subject line “tucker,” Flaherty
  noted that the White House was tracking COVID-related content in real time, and he demanded
  the censorship of currently-trending posts of content from two prominent Fox News hosts, Tucker
  Carlson and Tomi Lahren: “Since we've been on the phone – the top post about vaccines today is
  tucker Carlson saying they don't work. Yesterday was Tomi Lehren [sic] saying she won't take
  one. This is exactly why I want to know what ‘Reduction’ actually looks like – if ‘reduction’ means
  ‘pumping our most vaccine hesitant audience with tucker Carlson saying it doesn't work’ then ...
  I’m not sure it's reduction!” Id. at 22. Facebook responded: “Thanks—I saw the same thing when
  we hung up. Running this down now.” Id. In a separate email chain to Flaherty and Courtney
  Rowe the same day, Facebook also assured the White House, “running down the question on
  Tucker and working on getting you report by end of week.” Id. at 23.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  “demand[ing] the censorship of currently-trending posts of content from two prominent Fox News

  hosts, Tucker Carlson and Tomi Lahren,” rather than seeking information from Facebook about

  the effectiveness of its content-moderation policies and the effectiveness of the tool

  (CrowdTangle). The cited e-mail also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications




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  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         82.     Tucker Carlson has 1.2 million followers on his personal Facebook account and 3.8
  million followers on his show’s account, Jones Decl., Ex. I, at 1-2, so censoring Carlson’s content
  would affect the free-speech rights of millions of people in a single stroke.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as seeking

  to censor Tucker Carlson’s account, see Response to Pls.’ PFOF ¶ 81, above, or the application of

  Facebook’s content-moderation polices, to which users agree, as censorship. The cited e-mail also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          83.     In the meantime, Facebook was offering to cooperate closely with the White House
  to “amplify” its preferred messages. On April 13, 2021, Facebook emailed Andy Mr. Slavitt about
  the temporary halt of the Johnson & Johnson vaccine, stating: “Re the J+J [i.e., Johnson &
  Johnson] news, we're keen to amplify any messaging you want us to project about what this means
  for people – it obviously has the risk of exacerbating vaccine hesitancy, so we're keen to get ahead
  of the knock-on effect. Don't hesitate to tell me – or via your teams – how we can help to provide
  clarity/reassurance via Facebook.” Doc. 174-1, at 31-32. Facebook then forwarded the same offer
  to Courtney Rowe and Rob Flaherty of the White House digital communications team. Id. at 31.

         RESPONSE: Disputed to the extent this PFOF refers vaguely to “preferred messages,”

  rather than the Johnson & Johnson vaccine that is mentioned in the cited email. Defendants also

  note that the cited e-mail contains no evidence that the White House threatened or pressured

  Facebook to censor speech, or that Facebook regarded (or acted on) communications with the

  White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

  as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          84.     Flaherty responded the same day, April 13, with a series of detailed requests about
  how Facebook could amplify the White House’s preferred messages, including: “Some kind of
  thing that puts the news in context if folks have seen it (like your current ‘COVID news’ panel)



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  that has 3-4 pieces of info (eg: Adverse events are very rare – 6 cases out of nearly 7 million, the
  FDA and CDC are reviewing so it health care providers know how to treat any of the rare events,
  this does not affect pfzier or moderna, which vaccinate via a different mechanism)”; “CDC is
  working through an FAQ that we'd love to have amplified in whatever way possible – maybe
  through the COVID info panel”; and “[a] commitment from you guys to make sure that a favorable
  review reaches as many people as the pause, either through hard product interventions or
  algorithmic amplification.” Id. at 30-31. Flaherty also block-quoted a White-House-approved
  message on the vaccine pause for Facebook to amplify. Id. at 31.

         RESPONSE: Disputed to the extent this PFOF refers vaguely to “preferred messages,”

  rather than the topics discussed in the cited email. Defendants also note that the cited e-mail

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          85.   Flaherty then concluded by demanding that Facebook monitor any
  “misinformation” relating to the Johnson & Johnson vaccine pause, and asking Facebook to
  provide a detailed report to the White House within 24 hours of how it was doing so: “More
  broadly: we share [Facebook’s] concern about knock-on effects and are curious to get a read from
  your CMU data about what you're seeing and with whom. Moreover, I want to make sure you have
  eyes on what might be spinning off the back end of this – that the news about J&J doesn't spin off
  misinformation. Would be great to get a 24 hour report-back on what behavior you're seeing.” Id.
  at 31 (emphasis added).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s request

  (“would be great to get”) as a “demand,” mischaracterizes his request for information as a request

  for a “detailed” report, and argumentatively emphasizes phrases in the cited email. The cited

  evidence does not support this characterization. The cited e-mail also contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.




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         86.    The same day, April 13, 2021, Facebook responded with a detailed report on
  misinformation on its platforms about this issue. Doc. 174-1, at 24-30. Facebook noted that there
  was an oral meeting about misinformation with the White House scheduled the next day: “I'm
  looking forward to the meeting tomorrow [i.e., Wednesday, April 14] and hoping we can spend
  some time responding to Rob's feedback from last week as well as further discussing the J&J news
  and how we can hopefully partner together.” Id. at 24.

         RESPONSE: Undisputed, but note that the cited e-mail contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          87.     Facebook also noted that it had recently had a telephone call with Courtney Rowe
  about how it was censoring misinformation, and had agreed to provide a detailed report on its
  relevant censorship enforcement policies: “Courtney – as we discussed, we also wanted to send
  over some examples of content we see on our platform that we remove (misinformation & harm)
  as well as content we take other actions on, but do not remove (vaccine hesitancy). I have included
  some examples at the bottom of this email and happy to setup time to talk through this more with
  you as well, if helpful.” Id. at 24. Facebook then provided a six-page report on censorship with
  explanations and screen shots of sample posts of content that it censors and does not censor. Id. at
  24-30.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Rowe’s call with

  Facebook as concerning “censoring misinformation,” that Facebook had agreed to provide a

  detailed report on its “censorship enforcement policies,” or that “Facebook . . . provided a six-page

  report on censorship” with “sample posts of content that it censors and does not censor.” The cited

  evidence refers to Facebook content-moderation policies, to which all users agree. The cited e-

  mail also contains no evidence that the White House threatened or pressured Facebook to censor

  speech, or that Facebook regarded (or acted on) communications with the White House as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.




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          88.    First, Facebook responded to Flaherty’s request for government-message-
  amplification by agreeing to cooperate with the White House on those demands. Id. at 24.
  Regarding Flaherty’s demand that Facebook monitor and report on “misinformation” related to
  the Johnson & Johnson vaccine pause, Facebook agreed to both monitor and report to the White
  House: “We will look to get you insights as soon as we have them. We are going to be watching
  to see how this plays out over the next couple of days. [A Facebook official] is joining [the call]
  tomorrow and plans to share a couple things we are seeing emerge from the CMU survey and what
  we are going to be watching over the next few days. Also, we are proactively monitoring and
  seeing what themes emerge from content on-platform and happy to share out when we have stuff
  collected.” Id. at 24-25.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s request as

  a “demand,” and it mischaracterizes the nature of Mr. Flaherty’s request and Facebook’s response.

  The cited e-mail also contains no evidence that the White House threatened or pressured Facebook

  to censor speech, or that Facebook regarded (or acted on) communications with the White House

  as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          89.     Facebook then provided a detailed report to Courtney Rowe’s request for specific
  examples of posts that are censored on its platforms. First, as to “VACCINE HESITANCY”
  content, Facebook explained that this content does not violate Facebook’s content-moderation
  policies, but Facebook assured the White House that Facebook still censors such non-violative
  content by suppressing it in news feeds and algorithms. Id. at 25. Facebook admitted that such
  content is often “true” and sometimes involves core political speech or advocacy (e.g., “discussing
  choice to vaccinate in terms of personal and civil liberties”): “The following examples of content
  are those that do not violate our Misinformation and Harm policy, but may contribute to vaccine
  hesitancy or present a barrier to vaccination. This includes, for example, content that contains
  sensational or alarmist vaccine misrepresentation, disparaging others based on the choice to or to
  not vaccinate, true but shocking claims or personal anecdotes, or discussing the choice to
  vaccinate in terms of personal and civil liberties or concerns related to mistrust in institutions or
  individuals.” Id. at 25 (emphases added).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Rowe as “request[ing]

  . . . specific examples” of “censored” posts, see Pls.’ PFOF ¶ 88, and Facebook as “censoring”

  content or explaining that the content in question did not violate its content-moderation policies.

  The cited evidence does not support these characterizations. In fact, Facebook’s content-

  moderation policies at the time expressly covered misinformation of a “sensationalist” nature as



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  discussed in this PFOF. See Ex. 23 at 6-9 (Mark Zuckerberg, A Blueprint for Content Governance

  and Enforcement, Facebook (Nov. 15, 2018), https://perma.cc/ZK5C-ZTSX). This PFOF also

  argumentatively emphasizes phrases in the cited e-mail and makes improper legal conclusions

  about the evidence, to which no response is required. The cited e-mail also contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

           90.     Facebook assured the White House that it censors such true, political, non-violative
  content through “a spectrum of levers” that includes concealing the content from other users,
  deboosting the content, and preventing sharing through “friction”: “We utilize a spectrum of levers
  for this kind of content…. Actions may include reducing the posts’ distribution, not suggesting the
  posts to users, limiting their discoverability in Search, and applying Inform Labels and/or reshare
  friction to the posts.” Id. Facebook then provided the White House with a series of sample posts,
  all of which content originated from Children’s Health Defense, the anti-vaccine organization
  headed by Robert F. Kennedy Jr. (who would soon be identified as one of the so-called
  “Disinformation Dozen”). Id. at 25-27.

         RESPONSE: Disputed to the extent the PFOF characterizes Facebook’s application of its

  content-moderation policies, to which all users agree, as “censorship.” In addition, this PFOF

  selectively quotes from Facebook’s email. The sentence, in full, reads: “We utilize a spectrum of

  levers for this kind of content that is both proportionate and also helps our users make informed

  decisions.” Dkt. 174-1 at 25 (emphasis added). Thus, the cited evidence does not support Plaintiffs’

  characterization. The cited e-mail also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         91.   Next, under the heading “Examples of Content Removed for Violating our
  Misinformation & Harm Policy,” Facebook provided the White House with “examples of posts



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  we have removed for violation of our Misinformation & Harm Policy.” Id. at 27. Facebook then
  provided a list of screen shots of posts it had removed from the platform entirely, again all of which
  originated from Children’s Health Defense, Robert F. Kennedy Jr.’s group. Id. at 28-30.

         RESPONSE: Undisputed, but note that the cited e-mail contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

         92.     As noted below, Facebook’s explanation that it was removing violative posts by
  Children’s Health Defense and censoring even its posts that did not violate Facebook’s policies
  turned out to be not nearly enough to satisfy the White House.

         RESPONSE: Disputed as a mischaracterization, without citation to or support in the

  record, of the evidence in the preceding PFOFs, and in those that follow, including the assertions

  that Facebook “censor[ed]” posts or that it took actions on posts that did not violate its policies.

  As noted in Defendants’ responses to Plaintiffs’ PFOFs, the evidence cited above, and below, does

  not support these characterizations. In fact, Facebook’s content-moderation policies at the time

  expressly covered the information discussed in the email discussed in PFOFs ¶¶ 90-91. See Ex. 23

  at 6-9. The PFOF also contains no evidence, and alludes to none, that the White House threatened

  or pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          93.    Separately from Flaherty’s demands about Tucker Carlson, on April 14, 2021,
  Andy Mr. Slavitt also emailed a high-level Facebook executive—Facebook’s President of Global
  Affairs, former Deputy Prime Minister of the United Kingdom Nick Mr. Clegg—with a sarcastic
  message expressing the White House’s displeasure both with Facebook’s failure to censor Tucker
  Carlson and with Facebook’s perceived failure to allow the White House to micromanage its
  censorship policies: “Number one of Facebook. Sigh. Big reveal call with FB and WH today. No
  progress since we spoke. Sigh.” Doc. 174-1, at 35. Mr. Clegg promptly responded to Mr. Slavitt
  with an apology and promise to immediately address the censorship of Tucker Carlson: “OK –



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  sorry to hear about call today, will dig in now.” Id. The subject line of Mr. Slavitt’s email,
  reproduced in the “Re:” line of later messages, was “Tucker Carlson anti-vax message.” Id. at 34.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s question

  as a “demand,” that Mr. Slavitt expressed “the White House’s displeasure both with Facebook’s

  failure to censor Tucker Carlson and with Facebook’s perceived failure to allow the White House

  to micromanage its censorship polices,” or that Mr. Clegg promised to address “the censorship of

  Tucker Carlson.” The cited evidence does not support these characterizations. The cited e-mail

  also contains no evidence that the White House threatened or pressured Facebook to censor speech,

  or that Facebook regarded (or acted on) communications with the White House as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          94.    Late evening of the same day, April 14, 2021, at 10:51 p.m., Nick Mr. Clegg
  provided Mr. Slavitt with a detailed report about the Tucker Carlson post, explaining that Tucker
  Carlson’s content did not violate Facebook policies (due to the federal government’s own
  information about its accuracy) but assuring the White House that Facebook would censor it
  anyway. Id. at 34. Mr. Clegg denied that Carlson’s content was the top post on Facebook, but then
  stated, “Regardless of popularity, the Tucker Carlson video does not qualify for removal under our
  policies. Following the government's decision yesterday, we are allowing claims that the Johnson
  and Johnson vaccine causes blood clots…. That said, the video is being labeled with a pointer to
  authoritative COVID information, it's not being recommended to people, and it is being demoted.”
  Id. at 34.

         RESPONSE: Disputed to the extent the PFOF is intended to suggest that Facebook agreed

  to “censor” the Tucker Carlson post or take actions that were inconsistent with its content

  moderation policies. The cited evidence does not support such a characterization. Facebook

  emphasized that the post did not qualify for removal under its policies, and the actions it did take

  regarding the post were, in fact, consistent with its content-moderation policies at the time. See

  Ex. 23 at 6-9. Thus, the cited e-mail contains no evidence that the White House threatened or

  pressured Facebook to censor speech, including the Tucker Carlson post, or that Facebook




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  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

          95.     Mr. Clegg also stated that Facebook was “v[ery] keen” to provide a more detailed
  report on its censorship practices in response to White House demands: “I’m v keen that we follow
  up as we'd agreed, and I can assure you the teams here are on it.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Clegg as being

  interested in discussing “censorship practices” and misleadingly references unspecified “White

  House demands.” The cited evidence does not support this characterization. The cited e-mail also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         96.    Brian Rice of Facebook then forwarded the same report on the Tucker Carlson post
  to Rob Flaherty. Id. (“Making sure you receive--”).

         RESPONSE: Undisputed, but further note that the cited e-mail also contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

           97.     Less than twenty minutes later, at 11:29 p.m. on April 14, 2021, Flaherty responded
  to Rice with a sarcastic response badgering Facebook for a more detailed explanation of why it
  had not removed Tucker Carlson’s content outright, demanding greater censorship, and accusing
  Facebook of causing an “insurrection” by not censoring enough speech on its platforms: “I guess
  this is a good example of your rules in practice then – and a chance to dive in on questions as
  they're applied. How was this [i.e. Tucker Carlson’ post] not violative? The second half of the
  segment is raising conspiracy theories about the government hiding that all vaccines aren't
  effective. It's not about just J&J. What exactly is the rule for removal vs demoting? Moreover: you
  say reduced and demoted. What does that mean? There's 40,000 shares on the video. Who is seeing



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  it now? How many? How effective is that? And we've gone a million rounds on this in other
  contexts so pardon what may seem like deja vu – but on what basis is ‘visit the covid-19
  information center for vaccine resources’ the best thing to tag to a video that says the vaccine
  doesn't work?” Doc. 174-1, at 33. Flaherty concluded ominously by reiterating his accusation that
  Facebook had caused the January 6 riot by not censoring enough speech on its platforms: “Not for
  nothing but last time we did this dance, it ended in an insurrection.” Id. at 34.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s inquiries,

  which concerned the application of Facebook’s content-moderation policies, as “badgering”

  Facebook, “demanding greater censorship,” and “ominously” “accusing Facebook of causing an

  ‘insurrection’ by not censoring enough speech on its platform.” The cited evidence does not

  support these characterizations. The cited e-mail also contains no evidence that the White House

  threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          98.   Six minutes later, at 11:35 p.m. on April 14, Flaherty followed up with another
  email accusing Facebook of providing incorrect information through CrowdTangle and demanding
  an explanation: “And sorry – if this was not one of the most popular posts about the vaccine on
  Facebook today, then what good is crowdtangle? [A Facebook official] said that Tomis [i.e., Tomi
  Lahren’s] video was the most popular yesterday based on your data, which reflected what CT [i.e.,
  CrowdTangle] was showing. Tuckers video was top on CT today. What is different about this
  video, then?” Id. at 33.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s request for

  clarification of the referenced post’s CrowdTangle ranking as accusing Facebook of “providing

  incorrect information” or “demanding” an explanation. The cited evidence does not support these

  characterizations. The cited e-mail also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.




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         99.     On Friday, April 16, Flaherty then sent an email expressing his displeasure with the
  timing of Facebook’s response and demanding immediate answers, snapping at Rice: “These
  questions weren’t rhetorical.” Id. at 33. Facebook apologized and promised an immediate
  response: “Hey Rob – understood and sorry for the delay. The team has been heads-down since
  our conversation to produce the report we discussed on Wednesday afternoon. We are aiming to
  get you something tonight ahead of the weekend.” Id. Facebook then proposed another oral
  meeting: “schedule a call to discuss. Would that work?” Id.

         RESPONSE: Disputed to the extent that the PFOF mischaracterizes Mr. Flaherty’s follow-

  up email as “demanding immediate answers” or “snapping.” The cited evidence does not support

  this characterization—Mr. Flaherty waited two days without a response from Facebook before

  sending his April 16 email. The cited e-mail also contains no evidence that the White House

  threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          100. On Tuesday, April 21, 2021, Facebook sent an additional response to the same
  email chain, indicating that there had been a phone call with Flaherty (“thanks for catching up
  earlier”) and providing another, more detailed report on its censorship of Tucker Carlson in
  response to each of Flaherty’s queries question-by-question. Id. at 36. Facebook again reported
  that Tucker Carlson’s content had not violated its policies, stating that “we reviewed this content
  in detail and it does not violate those policies,” but reported that Facebook had been censoring it
  anyway and would continue to censor it even though no fact-check had reported it false: “The
  video received 50% demotion for seven days while in the queue to be fact checked, and will
  continue to be demoted even though it was not ultimately fact checked.” Id. (emphasis added).
  These circumstances raise a compelling inference that Facebook continued to demote Tucker
  Carlson’ content, in violation of its own policies and practices, due to the White House’s pressure.

         RESPONSE: Disputed to the extent the PFOF (i) mischaracterizes Facebook’s actions

  concerning the Tucker Carlson post as “censorship” and (ii) asserts that the post did not violate

  Facebook’s content-moderation policies. The cited evidence does not support these

  characterizations. Rather, Facebook indicated that the post did not violate Facebook’s removal

  policy. Dkt. 174-1, at 34 (“[t]he Tucker Carlson video does not qualify for removal under our

  policies.”) (emphasis added). Accordingly, Facebook did not remove it. The actions Facebook took




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  regarding the Tucker Carlson post were entirely consistent with Facebook’s other content

  moderation policies concerning borderline content. See Ex. 23 at 6-9. This PFOF is also disputed

  because it asserts that Facebook demoted the referenced content “due to the White House’s

  pressure.” Neither the cited e-mail, nor any cited in the preceding PFOFs, contain evidence that

  the White House threatened or pressured Facebook to demote the Tucker Carlson post, or that

  Facebook demoted it for any reason other than its own policies concerning borderline content. Nor

  does this or any of the preceding PFOFs indicate that the White House threatened or pressured

  Facebook to censor any other speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         101. In the same time frame, the White House was exerting similar pressure on other
  major social-media platforms. It had meetings with YouTube and Twitter about misinformation
  on April 21, 2021 as well.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the White House, without

  citation to or support in the record, as “exerting similar pressure” on other social-media platforms.

  Plaintiffs cite no evidence that the White House threatened or pressured Facebook, YouTube,

  Twitter, or any other social-media companies to censor speech, or that the companies regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          102. On April 21, Rob Flaherty, Andy Mr. Slavitt, and Kelsey Fitzpatrick of the White
  House, along with an official at HHS, participated in a meeting with several Twitter officials. Doc.
  71-7, at 86. The meeting’s subject was “Twitter Vaccine Misinfo Briefing.” Id. The meeting invite
  noted: “White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover trends
  seen generally around vaccine misinformation, the tangible effects seen from recent policy
  changes, what interventions are currently being implemented in addition to previous policy
  changes, and ways the White House (and our COVID experts) can partner in product work.” Id.
  (emphases added).



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         RESPONSE: Undisputed, but further note that the cited documents, concerning a briefing

  about misinformation trends, contain no evidence that the referenced “policy changes” were made

  due to threats or pressure by the White House. The cited documents also contain no evidence that

  the White House threatened or pressured Twitter to censor speech, or that Twitter regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

         103. The next day, April 22, Twitter employees noted in internal communications that
  the White House officials, during this meeting, had posed “one really tough question about why
  Alex Berenson hasn’t been kicked off the platform.” Jones Decl., Ex. J, at 2-3. The Twitter
  employee noted that the White House’s questions were “pointed” and “mercifully we had
  answers.” Id. Another internal Twitter communication noted that the White House “really wanted
  to know about Alex Berenson. Andy Mr. Slavitt suggested they had seen data viz that had showed
  he was the epicenter of disinfo that radiated outwards to the persuadable public.” Id.

         RESPONSE: Undisputed, but further state that during that meeting Mr. Slavitt expressed

  his view that Twitter was not enforcing its content guidelines with respect to Alex Berenson’s

  tweets, and Twitter disagreed with that view. See Defs.’ Supp. Rog. Resp. Related to Robert

  Flaherty at 57 (Ex. 36). Several weeks later a Twitter employee followed-up with Mr. Flaherty and

  told him that Twitter would not be removing Mr. Berenson because he had not violated Twitter’s

  policies at that time. Id. The cited documents contain no evidence that the White House threatened

  or pressured Twitter to censor speech, or that Twitter regarded (or acted on) communications with

  the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

        104. Later, on July 16, 2021, Twitter suspended Alex Berenson for the first time. Id. On
  August 28, 2021, Twitter permanently deplatformed Berenson. Id.




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         RESPONSE: Disputed to the extent that Twitter did not permanently deplatform Berenson

  (and note that Twitter did not take this action until almost three months after the April 22, 2021,

  meeting with White House officials). As the relied-upon exhibit states, “Twitter restored” Mr.

  Berenson’s account in December 2021.” Jones Decl., Ex. J, at 3. In addition, as noted immediately

  above, Twitter informed Messrs. Mr. Slavitt and Flaherty in April 2021 that it was not going to

  remove Mr. Berenson from Twitter because he had not violated its terms of service at that time.

  Ex. 36 at 57 (Flaherty Rog. Resps.). The cited documents also contain no evidence that the White

  House threatened or pressured Twitter to censor speech, or that Twitter regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          105. On April 21, 2021, Flaherty, Andy Mr. Slavitt, Kelsey Fitzpatrick of the White
  House, and Jessica Scruggs of HHS had a similar meeting with YouTube, to which at least six
  YouTube officials were invited. Jones Decl., Ex. K, at 1. The calendar invite stated that the purpose
  of the meeting was: “White House staff to get briefed by YouTube on general trends seen around
  vaccine misinformation. As well as, the empirical effects of YouTube’s efforts to combat misinfo,
  what interventions YouTube is currently trying, and ways the White House (and or COVID
  experts) can partner in product work.” Id.

         RESPONSE: Disputed to the extent this PFOF suggests the meeting with YouTube was

  similar to the meeting referenced above. Defendants also note that the cited documents contain no

  evidence that the White House threatened or pressured YouTube to censor speech, or that YouTube

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

          106. Just after midnight on April 22, 2021, Rob Flaherty emailed a list of Google
  officials about YouTube, copying Andy Mr. Slavitt, Clarke Humphrey, and Kelsey Fitzpatrick of
  the White House. Doc. 174-1, at 39. He began by referring to the oral meeting with
  Google/YouTube officials on April 21: “Thanks again for the conversation today.” Id. Flaherty
  also referred to an earlier, “first conversation,” indicating that there had been multiple meetings
  with YouTube. Id.



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         RESPONSE: Undisputed, but note that the cited documents contain no evidence that the

  White House threatened or pressured Google/You Tube to censor speech, or that Google/You Tube

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

         107. Flaherty then noted that the White House had asked YouTube (like Facebook) to
  monitor and report on the speech on its platforms, stating that the White House expected a report
  from them: “We'll look out for the top trends that you've seen in terms of misinformation around
  the vaccine.” Id.

         RESPONSE: Disputed to the extent that the PFOF mischaracterizes Mr. Flaherty as

  “expecting” a report from YouTube (or Facebook) or suggests that Flaherty requested YouTube

  (or Facebook) to “monitor and report” on the substance of all “speech on its platforms.” The cited

  evidence does not support this characterization. The cited document also contains no evidence that

  the White House threatened or pressured Google/You Tube to censor speech, or that Google/You

  Tube regarded (or acted on) communications with the White House as such. Any assertion to that

  effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§

  I.B.1 & II.B.1.b & II.B.2.

           108. Flaherty then provided a “recap” of their oral conversation, stating that concern
  about misinformation on YouTube was “shared at the highest (and I mean highest) levels of the
  [White House]”: “To recap: … we remain concerned that Youtube is ‘funneling’ people into
  hesitance and intensifying people's hesitancy…. we want to be sure that you have a handle on
  vaccine hesitancy generally and are working toward making the problem better. This is a concern
  that is shared at the highest (and I mean highest) levels of the WH, so we'd like to continue a good-
  faith dialogue about what is going on under the hood here. I'm the on the hook for reporting out.”
  Id. (emphasis added).

         RESPONSE: Disputed to the extent the PFOF selectively quotes and omits portions of

  Mr. Flaherty’s email and argumentatively emphasizes aspects of the email. The omitted sentence

  states: “We certainly recognize that removing content that is unfavorable to the cause of increasing



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  vaccine adoption is not realistic—or even good—solution.” Dkt. 174-1 at 39. Thus, the cited email

  contains no evidence that the White House threatened or pressured Google/You Tube to censor

  speech, or that Google/You Tube regarded (or acted on) communications with the White House as

  such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          109. Citing an article “highlighting the Youtube misinformation that is spreading
  through the Vietnamese community,” Flaherty stated: “Clearly, more work to be done here. Would
  love to get some insights from you on how you are tackling this problem across all languages.”
  Id.

         RESPONSE: Disputed to the extent the PFOF selectively quotes and omits portions of

  Mr. Flaherty’s email. The omitted sentence states: “I think this brings up the question that I had in

  our first meeting about your capabilities around misinformation in non-english-speaking

  communities.” Dkt. 174-1 at 39. Disputed also to the extent the PFOF suggests that Mr. Flaherty’s

  request for general information about how YouTube was addressing misinformation “across all

  languages” constitutes a request of any kind for censorship. The cited document contains no

  evidence that the White House threatened or pressured Google/You Tube to censor speech, or that

  Google/You Tube regarded (or acted on) communications with the White House as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          110. Flaherty then stated, “A couple of other things it would be good to have from you
  all,” and provided a five-bullet list of detailed demands for YouTube’s internal data about the
  spread of misinformation on its platform, including: “the top trends that you're seeing in terms of
  misinformation/hesitance inducing content,” and “[a] deeper dive on reduction and its
  effectiveness,” among others. Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s requests as

  “demands.” The cited evidence does not support this characterization. The cited email, concerning

  Mr. Flaherty’s requests to YouTube for data, also contains no evidence that the White House



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  threatened or pressured Google/You Tube to censor speech, or that Google/You Tube regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

           111. Flaherty indicated that the White House was coordinating with the Stanford Internet
  Observatory, which was then operating the Virality Project, discussed in detail below, noting in
  the first bullet point: “Stanford has mentioned that it's recently Vaccine Passports and J&J pause-
  related stuff, but I'm not sure if that reflects what you' re seeing.” Id. This reference raises the
  inference that the White House’s “COVID experts” (“our COVID experts”) mentioned in the
  calendar invite for the meeting, Jones Decl., Ex. K, at 1, are, in fact, “Stanford” personnel
  associated with the Virality Project, and that the White House was working with “Stanford” to
  “partner with” platforms “on product work.”

         RESPONSE: Disputed to the extent the PFOF characterizes the White House as

  “coordinating” with the Stanford Internet Observatory, and dispute as well the asserted “inference”

  that the White House’s COVID experts were “Stanford” personnel,” or that the White House was

  working with the Virality Project to “partner with” platforms. The evidence contradicts that

  characterization. As Mr. Flaherty has explained, he is unaware of any direct involvement by federal

  agencies or employees in either the Election Integrity Partnership or the Virality Project. See Ex.

  36 at 32 (Flaherty Rog. Resps.). Rather, Mr. Flaherty specifically recalls a single meeting in or

  around March 2021 and a follow-up conversation with Renee DiResta, who was involved in the

  Virality Project, to discuss her research on misinformation and disinformation, including the work

  of the Virality Project, to address COVID-19-related misinformation and disinformation. Id. Ms.

  DiResta suggested to Mr. Flaherty that the Federal Government create a “Mythbusters” webpage

  as part of a strategy to address misinformation and disinformation before it had a large impact. Id.

  Ms. DiResta further suggested that the primary role of the Federal Government in combating

  misinformation and disinformation related to the COVID-19 vaccines was to provide expert

  information.” Id. at 32-33. The cited email also contains no evidence that the White House



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  threatened or pressured Google/You Tube to censor speech, or that Google/You Tube regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

           112. As with Facebook, many of Flaherty’s demands related to so-called “borderline”
  content, i.e., often-truthful content that does not violate platform policies but that the White House
  disfavors. See Doc. 174-1, at 39. Among other things, he praised YouTube for reducing
  distribution of such content: “I believe you said you reduced watch time by 70% on ‘borderline’
  content, which is impressive.” Id. But then, again, he followed up with a long series of demands
  for more information: “How does that track with vaccine-related content specifically…? What has
  the comparative reduction in watch time on ‘borderline’ vaccine topics been after your
  interventions? And what has the increase in watch time been on authoritative information?...
  Related to the second bullet: to what extent have your ranking interventions been effective there?
  And, perhaps more critically, to what degree is content from people who have been given a ‘strike’
  still being recommended and shown in prominent search positions? … [H]ow did you arrive on
  info-panels as the best intervention? And to what extent are people clicking through after exposure
  to vaccine-hesitant content? … What are the general vectors by which people see the ‘borderline’
  content – or really just vaccine-skeptical content? Is it largely through recommendations? Search?”
  Id. Notably, Flaherty’s “most critical[]” question implied that YouTube should be censoring more
  content from disfavored speakers, i.e., those who have been given a “strike” for previous anti-
  vaccine content. Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  “demanding” anything or as “impl[ying]” that YouTube should “censor” anything. Also disputed

  to the extent the PFOF suggests that YouTube’s policies did not cover “borderline” content. The

  cited evidence does not support these characterizations. In fact, in January 2019 YouTube

  announced that it was taking steps to “reduce the spread of content that comes close to—but

  doesn’t quite cross the line of—violating our Community Guidelines. To that end, we’ll begin

  reducing recommendations of borderline content and content that could misinform users in

  harmful ways—such as videos promoting a phony miracle cure for a serious illness, claiming the

  earth is flat, or making blatantly false claims about historic events like 9/11.” YouTube Team,

  Continuing our work to improve recommendations on YouTube, YouTube Official Blog 2 (Jan.




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  25, 2019) (Ex. 24). YouTube explained that its change to its content moderation policy “reflects

  our commitment and sense of responsibility to improve the recommendations experience on

  YouTube.” Id. at 3. The cited email also contains no evidence that the White House threatened or

  pressured Google/You Tube to censor speech, or that Google/YouTube regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          113. Flaherty emphasized that the White House wanted to make sure YouTube’s “work
  extends to the broader problem” of people viewing vaccine-hesitant content. Id. at 39-40. And he
  proposed regular meetings to push YouTube to disclose its “internal data” to the White House:
  “We've worked with a number of platform partners to track down similar information based on
  internal data, including partners of similar scale. I am feeling a bit like I don't have a full sense of
  the picture here. We speak with other platforms on a semi-regular basis. We'd love to get in this
  habit with you. Perhaps bi-weekly? Looking forward to more conversation.” Id. at 40.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s suggestion

  of further meetings as “push[ing] YouTube to disclose its ‘internal data’ to the White House.” The

  cited email also contains no evidence that the White House threatened or pressured Google/You

  Tube to censor speech, or that Google/You Tube regarded (or acted on) communications with the

  White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

  as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          114. On April 23, 2021, Flaherty sent Facebook an email that included a document
  entitled “Facebook COVID-19 Vaccine Misinformation Brief” prepared by an unidentified third
  party. Jones Decl., Ex. L, at 1. The “Brief” had two major headings with several bullet points under
  each: “Facebook plays a major role in the spread of COVID vaccine misinformation,” and
  “Facebook’s policy and enforcement gaps enable misinformation’s spread.” Id. The “Brief”
  recommended much more aggressive censorship of Facebook’s platforms, calling for
  “progressively severe penalties … and comprehensive enforcement for pages, accounts, and
  groups that repeatedly post COVID vaccine misinformation,” and stating that “[b]ans for COVID-
  19 misinformation should be cross-platform and enforced at the entity-level, not the account level.”
  Id. It called for Facebook to stop distributing even non-violative anti-vaccine content “in News
  Feed or in group recommendations” to “significantly reduce the reach of low-quality domains,”
  and it stated that “[v]accine misinformation monitoring and enforcement must adjust as
  disinformers evade enforcement….” Id. at 1-2. And it called for specific censorship of disfavored
  speakers: “Warning screens before linking to domains known to promote vaccine misinformation



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  would dissuade users from following links to of-platform misinformation and hurt the vaccine-
  misinformation business model Facebook enables.” Id. at 2.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the “Brief” as

  recommending “censorship” on Facebook’s platforms or calling for Facebook to “stop distributing

  even non-violative” content about COVID-19. The cited evidence does not support this

  characterization. In addition, the cited email by Mr. Flaherty expressly states: “Don’t read this as

  White House endorsement of these suggestions[.]” Jones Decl., Ex. L, at 1. The cited email also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         115. Reproducing this pro-censorship “Brief” in the text of his email to Facebook,
  Flaherty wrote: “Here’s the crux of their recs. Don’t read this as White House endorsement of
  these suggestions (or, also, as the upper bound of what our thoughts may be). But – spirit of
  transparency – this is circulating around the building and informing thinking.” Id. at 1.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the “Brief” as “pro-

  censorship.” The cited evidence does not support this characterization. Rather, the information Mr.

  Flaherty passed along to Facebook reflected the author’s concerns about Facebook’s “policy and

  enforcement gaps,” and suggested possible ways to address those gaps. The cited email also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          116. On May 1, 2021, Nick Mr. Clegg of Facebook sent an email to Andy Mr. Slavitt
  indicating that the White House had recently met with Facebook to “share research work” and
  make more demands, stating: “Thanks to your team for sharing the research work with us….” Id.
  at 41. At the beginning of the email, Mr. Clegg apologized to the White House for not catching



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  and censoring three pieces of vaccine content that went viral, even though the content did not
  violate Facebook’s policies, and promising to censor such non-violative content more aggressively
  in the future: “I wanted to send you a quick note on the three pieces of vaccine content that were
  seen by a high number of people before we demoted them. Although they don't violate our
  community standards, we should have demoted them before they went viral and this has exposed
  gaps in our operational and technical process.” Id. at 42.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the purpose of the

  referenced meeting as “mak[ing] more demands,” and to the extent it mischaracterizes Mr. Clegg’s

  email as “apologiz[ing]” for not “censoring” “content [that] did not Facebook’s policies,” as

  “promising to censor non-violative content more aggressively,” and as acknowledging that three

  pieces of vaccine content did not violate Facebook’s “polices.” The cited evidence does not support

  these characterizations. Facebook has a borderline content policy designed to address materials

  that do not violate its Community Standards. See Ex. 23 at 6-9. Also dispute any insinuation that

  Facebook demoted the three pieces of vaccine content for any reason other than Facebook’s own

  policy. The cited email contains no evidence that the White House threatened or pressured

  Facebook to censor speech, or that Facebook regarded (or acted on) communications with the

  White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

  as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          117. Mr. Clegg then promised to be more vigilant and censor such non-violative content
  to prevent it from going viral in the future, and offered to report back to the White House in detail
  about its efforts to do so: “The teams have spent the last 24 hrs analysing these gaps and are making
  a number of changes starting next week, including setting up more dedicated monitoring for Covid
  vaccine content on the cusp of going viral, applying stronger demotions to a broader set of content,
  and setting up daily review and analysis so that we have a better real-time view of what is being
  seen by lots of people. I will be checking on this closely to make sure that these additional steps
  show results - the stronger demotions in particular should deliver real impact. Please let me know
  if you'd like to discuss any of this in more detail.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Clegg as promising

  to “censor” “non-violative” content in the future. The cited evidence does not support this

  characterization. Facebook has a borderline content policy designed to address materials that do



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  not violate its Community Standards. See Ex. 23 at 6-9. The cited email also contains no evidence

  that Facebook intended to take the “additional steps” mentioned for reasons other than its own

  policies. The cited email also contains no evidence that the White House threatened or pressured

  Facebook to censor speech, or that Facebook regarded (or acted on) communications with the

  White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

  as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          118. Mr. Clegg then listed in bold the demands that the White House had made in its
  recent meeting, with a detailed response to each. Id. at 42. First, the White House had demanded
  that Facebook address “Non-English mis/disinformation circulating without moderation,” and
  Facebook promised to take steps to do so. Id. (bold in original).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the document as listing

  White House “demands” and Mr. Clegg “promis[ing]” anything. The cited evidence does not

  support this characterization. Rather, the email reflects Mr. Clegg providing information in

  response to a third-party research report that Mr. Flaherty passed along. Mr. Flaherty emphasized

  that Facebook should not interpret the third-party report he passed along “as a White House

  endorsement.” Jones Decl. Ex. L, at 1. The cited email also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          119. Second, the White House had commanded Facebook: “Do not distribute or
  amplify vaccine hesitancy, and Facebook should end group recommendations for groups
  with a history of COVID-19 or vaccine misinformation.” Id. (bold in original). Facebook
  assured the White House that it was taking strong steps to censor such content, and promised to
  increase its efforts to do so in the future: “Much of the research you shared called on us to ensure
  that our systems don't amplify vaccine hesitancy content and this is top of mind for us. In addition
  to the changes I mentioned above, we have already removed all health groups from our
  recommendation feature on Facebook, and on Instagram we filter vaccine-related accounts from
  our ‘accounts you may follow feature’. We also remove accounts that may discourage vaccination
  from search features. We currently enforce on hash tags we know are shared to promote vaccine
  hesitancy content and are working to improve our automated systems here.” Id.



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         RESPONSE: Disputed to the extent the PFOF mischaracterizes the referenced document,

  which as noted was prepared by a third-party, as a White House “command[]” to Facebook to do

  anything. Also disputed to the extent the PFOF mischaracterizes Facebook as “assur[ing]” the

  White House that it would “censor” content, or as “promis[ing]” to do so in the future. The cited

  evidence does not support this characterization, nor any insinuation that the “changes” Facebook

  described in the e-mail were taken for any reason other than its own policies. The cited email

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         120. Third, the White House had demanded that Facebook “Monitor[] events that host
  anti-vaccine and COVID disinformation.” Id. (bold in original). Facebook promised to monitor
  social-media “events” on its platforms more closely and take more aggressive action to censor
  them: “we are working to improve automatic detection for events hosting anti-vaccine and COVID
  content. Our viral monitoring efforts will also help us detect events that are gaining views on
  Facebook, and we do remove events coordinating in-person gatherings that involve or encourage
  people who have COVID-19 to join.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the referenced document,

  which was prepared by a third-party, as a White House “demand[]” of Facebook, and

  mischaracterizes Facebook as “promis[ing]” to “censor” content on its platform. The cited

  evidence does not support this characterization, nor the insinuation that Facebook decided to take

  the referenced actions for any reason other than its own policies. Further disputed to the extent the

  PFOF argumentatively mischaracterizes that Facebook “promised to monitor social-media

  ‘events’ on its platforms more closely and take more aggressive action to censor them.” The cited

  email speaks for itself. The cited email also contains no evidence that the White House threatened

  or pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications



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  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         121. Fourth, the White House had demanded censorship of the so-called
  “Disinformation Dozen” in the private meeting with Facebook, raising the concern that “12
  accounts are responsible for 73% of vaccine misinformation.” Id. (bold in original). Facebook
  responded that it was scrutinizing those speakers and censoring them whenever it could, but that
  most if their content did not violate Facebook’s policies: “we continue to review accounts
  associated with the 12 individuals identified in the CCDH ‘Disinformation Dozen’ report, but
  many of those either do not violate our policies or have ceased posting violating content. Our
  ‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and pages that are
  dedicated to sharing vaccine discouraging content and we continue to review and enforce on these
  where we become aware of them.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the referenced document,

  which was prepared by a third party, as a White House “demand[ ]”for “censorship” of anything

  (and that the White House made any “demand” in a “private meeting”), and mischaracterizes

  Facebook as “scrutinizing” and “censoring” the “Disinformation Dozen.” The cited evidence does

  not support these characterizations—it supports only that Facebook would “continue to review”

  accounts associated with the 12 individuals identified. The cited email also contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

          122. Mr. Clegg then noted that he realized the White House would not be satisfied with
  these answers and was demanding greater censorship: “I realise that our position on this continues
  to be a particular concern for you.” Id. Mr. Clegg then suggested that too much censorship might
  be counterproductive and might drive vaccine hesitancy: “Among experts we have consulted, there
  is a general sense that deleting more expressions of vaccine hesitancy might be more
  counterproductive to the goal of vaccine uptake because it could prevent hesitant people from
  talking through their concerns and potentially reinforce the notion that there's a cover-up.” Id.
  Brian Rice also forwarded Nick Mr. Clegg’s email to Rob Flaherty. Id. at 41.




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         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Clegg’s email as

  suggesting that he believed the White House was “[dis]satisfied” and “demanding greater

  censorship,” or that he considered application of Facebook’s content-moderation policies to be

  “censorship.” The cited evidence does not support these characterizations. The cited email also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         B.      Public Pressure and Threats From Press Secretary Jennifer Psaki.

          123. The White House was evidently quite unhappy with this response and the results of
  its pressure campaign behind closed doors. A few days later, the White House took its pressure
  campaign public. On May 5, 2021, Jen Psaki publicly reminded Facebook and the other platforms
  of the threat of legal consequences hanging over its head if it did not censor misinformation more
  aggressively. At the May 5, 2021 White House Press Briefing, Jen Psaki stated about social-media
  censorship: “The President’s view is that the major platforms have a responsibility related to the
  health and safety of all Americans to stop amplifying untrustworthy content, disinformation, and
  misinformation, especially related to COVID-19, vaccinations, and elections. And we’ve seen that
  over the past several months, broadly speaking.” Glenn Decl. Ex. 29, at 15, Doc. 10-1, at 353.

         RESPONSE: Disputed to the extent that, beyond the quoted language, the PFOF reflects

  numerous unsupported mischaracterizations, including (1) that the White House was conducting a

  “pressure campaign,” “behind closed doors” or otherwise; (2) that the White House was “evidently

  quite unhappy” with Mr. Clegg’s May 1, 2021 response to Mr. Slavitt’s email; (3) that the White

  House had engaged and was continuing to engage in a “pressure campaign”; and (4) that the White

  House was “threatening legal consequences” if social media companies did not “censor

  misinformation more aggressively.” Plaintiffs cite to no record support in this or any other PFOF

  for these assertions. Plaintiffs also selectively quote from the May 5, 2021 White House Press

  Conference. Ms. Psaki stated during that press conference “I’m not placing any blame on any




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  individual or group; we’ve seen it from a number of sources.” Glenn Decl. Ex. 29 at 15. She further

  stated that “Well, look, I think we are, of course, a believer in First Amendment rights. I think

  what the decisions are that the social media platforms need to make is how they address the

  disinformation, misinformation—especially related to life-threatening issues COVID-19 and

  vaccinations that are—continue to proliferate on their platforms.” Id. The cited White House press

  conference contains no evidence that the White House threatened or pressured any social media

  company to censor speech, or that any social media company regarded (or acted on) the statements

  by the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          124. Psaki also stated that President Biden “also supports better privacy protections and
  a robust anti-trust program. So his view is that there’s more that needs to be done to ensure that
  this type of misinformation; disinformation; damaging, sometimes life-threatening information is
  not going out to the American public.” Id. She thus linked the threat of a “robust anti-trust
  program” to the White House’s demand that “more … needs to be done” by “the major platforms”
  to prevent “misinformation” and “disinformation” from “going out to the American public,” i.e.,
  its demand for censorship. Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki as “link[ing]”

  a “threat” of anti-trust enforcement to any White House “demand” for “censorship.” The cited

  evidence does not support this characterization. Ms. Psaki stated during the May 5, 2021, White

  House press conference that the White House supports First Amendment rights and that “what the

  decisions are that the social media platforms need to make is how they address the disinformation,

  misinformation—especially related to life-threatening issues like COVID-19 and vaccinations that

  are—continue to proliferate on their platforms.” Glenn Decl. Ex. 29 at 15. The cited White House

  press conference also contains no evidence that the White House threatened or pressured any social

  media company to censor speech, or that any social media company regarded (or acted on) the




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  statements by the White House as such. Any assertion to that effect is unsupported by and contrary

  to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           125. The next day, May 6, 2021, Flaherty privately responded to Facebook’s most recent
  email, badgering Facebook again for more explanations about why it was not censoring more
  aggressively. Regarding Nick Mr. Clegg’s apology for not catching and censoring three viral posts
  earlier, Flaherty linked to one and noted: “For one, it's still up and seems to have gotten pretty far.
  And it's got 365k shares with four comments. We've talked about this in a different context, but
  how does something like that happen? The top post, the one from the Wisconsin news station, has
  2.1 million comments.” Doc. 174-1, at 41.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  “badgering” Facebook “again” about why it was not “censoring more aggressively,” and

  characterizes Mr. Clegg statement as an “apology” for not “catching” and “censoring” three viral

  posts. The cited evidence does not support this characterization. Rather, the cited email reflects

  that Mr. Flaherty had “two questions,” one of which was whether, with respect to one of the three

  widest reach posts, Mr. Flaherty was “looking at one instance of sharing (so, one of the 365,000

  shares) or is this genuinely a post that has been shared nearly 400,000 times but only four people

  commented on it.” Dkt. 174-1 at 41. Mr. Flaherty asked Mr. Clegg for his “assessment of what is

  going on here[.]” Id. The cited email also contains no evidence that the White House threatened or

  pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

  with the White House as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         126. Flaherty also demanded more information about Facebook’s efforts to demote
  “borderline” content: “Won't come as a shock to you that we're particularly interested in your
  demotion efforts, which I don't think we have a good handle on (and, based on the below, it doesn't
  seem like you do either). Not to sound like a broken record, but how much content is being
  demoted, and how effective are you at mitigating reach, and how quickly?” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s request for

  information about Facebook’s content moderation efforts as a “demand[].” The cited evidence




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  does not support this characterization. The cited email also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          127. Flaherty then criticized Facebook’s censorship efforts for vaccine-related posts in
  Facebook groups related to other topics: “Also, health groups: sure. But it seems more likely that
  anti-vax stuff is moving in groups that are not about health but are ... mom centric, or other spaces.
  Strikes me as the issue here is less from single-use anti-vaccine accounts and more about people
  who ... do other things and are also vaccine hesitant.” Id. (ellipses in original).

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  “criticiz[ing] Facebook’s censorship efforts.” The cited evidence does not support this

  characterization. Rather, the cited email reflects Mr. Flaherty asking a question about how

  Facebook’s dedicated vaccine hesitancy policy operated. Dkt. 174-1 at 41. The cited email also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          128. Flaherty tied this criticism to his criticism of Facebook’s failure to censor the
  “Disinformation Dozen”: “Seems like your ‘dedicated vaccine hesitancy’ policy isn't stopping the
  disinfo dozen - they're being deemed as not dedicated – so it feels like that problem likely carries
  over to groups.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as criticizing

  Facebook’s “failure to censor” the “Disinformation Dozen.” The cited evidence does not support

  this characterization. Rather, the cited email reflects Mr. Flaherty asking a question about how

  Facebook’s dedicated vaccine hesitancy policy operated. Dkt. 174-1 at 41. The cited email also

  contains no evidence that the White House threatened or pressured Facebook to censor speech, or

  that Facebook regarded (or acted on) communications with the White House as such. Any assertion



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  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          129. On May 10, 2021, Facebook sent an email to Rob Flaherty and Courtney Rowe of
  the White House digital team, touting its efforts to promote vaccination on its platforms. Doc. 174-
  1, at 46. Among other things, Facebook reported that “Since January, we've provided more than
  $30 million in ad credits to help governments, NGOs and other organizations reach people with
  COVID-19 vaccine information and other important messages.” Id.

         RESPONSE: Undisputed, except to note that Ms. Rowe was part of the White House

  COVID-19 Response Team, not the digital team. In addition, the cited email contains no evidence

  that the White House threatened or pressured Facebook to censor speech, or that Facebook

  regarded (or acted on) communications with the White House as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

          130. The next day, May 11, 2021, Flaherty responded with a one-line, snarky email
  stating: “Hard to take any of this seriously when you're actively promoting anti-vaccine pages in
  search.” Id. He included a link to a news report about this topic on Twitter. Id.

         RESPONSE: Disputed to the extent the PFOF characterizes Mr. Flaherty’s response as

  “snarky.” The cited evidence does not support this characterization. The cited email also contains

  no evidence that the White House threatened or pressured Facebook to censor speech, or that

  Facebook regarded (or acted on) communications with the White House as such. Any assertion to

  that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

          131. The next day, May 12, 2021, Facebook responded, assuring Flaherty that it had
  censored the accounts mentioned in the news reports: “Thanks Rob - both of the accounts featured
  in the tweet have been removed from Instagram entirely…. We're looking into what happened.”
  Id. at 45.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s response as

  representing that it had “censored” the accounts mentioned in the news reports, or insinuates that



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  Facebook removed the account for any reason other than its own policies. The cited evidence does

  not support these characterizations. Rather, Facebook explained that both of the accounts featured

  in the tweet were removed from Instagram “for breaking our polices.” Dkt. 174-1 at 45. The cited

  email also contains no evidence that the White House threatened or pressured Facebook to censor

  speech, or that Facebook regarded (or acted on) communications with the White House as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         132. Facebook then assured Flaherty it was working on processes to suppress disfavored
  speech from search results on its platforms and remove anti-vaccine accounts: “We are continuing
  to develop technology to improve the quality of search results at scale across Instagram - this is a
  continual process built on new technology to address adversarial accounts…. We also remove
  accounts that may discourage vaccination from search by developing and using this new
  technology to find accounts on Instagram that discourage vaccines, and remove these accounts
  from search altogether. We've also removed accounts that primarily discourage vaccination from
  appearing where we recommend new accounts to follow, such as accounts you may like, and
  suggested accounts.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s statement as

  “assuring” Mr. Flaherty that it was working on processes to “suppress disfavored speech.” The

  cited evidence, concerning application of Facebook content moderation policies to which all users

  agree, does not support this characterization. In addition, Plaintiff’s omit the following sentence

  from their quoted passage: “Our goal is to not recommend accounts likes those shown in the tweet

  in the search, which again shouldn’t have been on our platform to begin with.” Dkt. 174-1 at 45.

  The cited email also contains no evidence that the White House threatened or pressured Facebook

  to censor speech, or that Facebook regarded (or acted on) communications with the White House

  as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

  Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

        133. Facebook acknowledged that its censorship efforts were not enough and promised
  the White House they would increase them: “We clearly still have work to do to [sic], but wanted



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  to ensure you were aware of the authoritative resources we're pointing people to first as we
  continue investing in removing accounts from search that may discourage vaccination.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s actions as

  “censorship efforts” or that Facebook “promised” the White House anything. The cited evidence,

  concerning application of Facebook content moderation policies to which all users agree, does not

  support this characterization. The cited email also contains no evidence that the White House

  threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          134. The same day, May 12, 2021, Flaherty responded sarcastically, indicating that
  promoting pro-vaccine speech was not enough for the White House, which demanded the removal
  or deboosting of anti-vaccine speech: “Sure. They're first connected to authoritative information,
  but then you, as of last night, were presenting an anti-vaccine account with less than 1000 followers
  alongside, at level, with those pinned accounts!” Id. at 45.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  responding “sarcastically,” “indicating that promoting pro-vaccine speech was not enough for the

  White House,” or that the White House “demanded” the removal of any content. The cited

  evidence does not support this characterization. The cited email also contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          135. Flaherty then accused Facebook of not doing enough to censor anti-vaccine content
  in search results and dissembling to deceive the White House: “‘[R]emoving bad information from
  search’ is one of the easy, low-bar things you guys do to make people like me think you're taking
  action. If you're not getting that right, it raises even more questions about the higher bar stuff.” Id.
  at 45. Flaherty continued, accusing Facebook of dishonesty: “You say in your note that you remove
  accounts that discourage vaccination from appearing in recommendations (even though you're




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  using ‘primarily’ to give yourself wiggle room). You also said you don't promote those accounts
  in search. Not sure what else there is to say.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

  (1) “accusing” Facebook of “dishonesty,” or not doing enough to “censor” anti-vaccine content,

  or (2) as accusing Facebook of “dissembling” to deceive the White House. The cited evidence does

  not support this characterization. The cited email also contains no evidence that the White House

  threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         136. Flaherty then compared Facebook unfavorably to other platforms to pressure them
  to suppress anti-vaccine content in search results: “Youtube, for their warts, has done pretty well
  at promoting authoritative info in search results while keeping the bad stuff off of those surfaces.
  Pinterest doesn't even show you any results other than official information when you search for
  ‘vaccines.’ I don't know why you guys can't figure this out.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as putting

  “pressure” on Facebook to “suppress anti-vaccine content.” The cited evidence does not support

  this characterization. Rather, the cited email reflects Mr. Flaherty’s frustration that other social

  media companies were successfully promoting authoritative information in their search results

  while keeping harmful information off the “surface,” and inquiring why Facebook was having

  challenges doing the same. Dkt. 174-1 at 45. The cited email also contains no evidence that the

  White House threatened or pressured Facebook to censor speech, or that Facebook regarded (or

  acted on) communications with the White House as such. Any assertion to that effect is

  unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

  II.B.1.b & II.B.2.

          137. On May 28, 2021, a senior executive of Meta sent an email to Mr. Slavitt and
  Murthy reporting that Facebook had expanded its censorship policies, evidently to satisfy federal
  officials’ demands made at a recent oral meeting. The email stated that a “key point” was that



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  “We’re expanding penalties for individual Facebook accounts that share misinformation.” Doc.
  71-4, at 9.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook as reporting that

  it had expanded its “censorship” policies. Also disputed that the expansion of Facebook’s terms of

  service was done to satisfy federal officials’ “demands” at meetings, an assertion for which the

  PFOF does not even purport to cite evidence. Rather, the email reflects Facebook sharing with Mr.

  Slavitt several “policy updates” that it had publicly announced the day before, and there is no

  suggestion that these changes to Facebook’s terms of service, to which all users agree, was done

  at the urging of anyone in the federal government. Dkt. 71-4 at 9. The cited email also contains no

  evidence that the White House threatened or pressured Facebook to censor speech, or that

  Facebook regarded (or acted on) communications with the White House as such. Any assertion to

  that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

         C. Flaherty’s Profane Attack: “Are You Guys F**king Serious?”

          138. At some time prior to July 15, 2021, the White House’s Facebook account
  experienced an issue that slowed its growth in followers. Doc. 174-1, at 56. On July 15, 2021,
  Facebook emailed a White House staffer and reported that “the technical issues that had been
  affecting follower growth on @potus have been resolved…. you should start to see your numbers
  trend back upwards…. Thanks for your patience as we investigated this.” Id. The White House
  staffer asked Facebook, “Could you tell me more about the technical issues affecting audience
  growth?” Id. at 55. Facebook responded, “from what we understand it was an internal technical
  issue that we can't get into, but it's now resolved and should not happen again.” Id. The White
  House staffer then simply added Rob Flaherty to the email chain without further comment. Id.

         RESPONSE: Undisputed.

         139. The same minute he was added to the email chain, 3:29 p.m. on July 15, 2021,
  Flaherty exploded at Facebook: “Are you guys fucking serious? I want an answer on what
  happened here and I want it today.” Id. at 55.

         RESPONSE: Undisputed, but note that the cited email contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)



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  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          140. Facebook immediately raced to placate Flaherty, assuring him that the problem was
  from a “bug in our recommendation surface” that had been resolved two months earlier. Id. at 55.
  Facebook followed up with a longer explanation stating that the President’s account had been
  affected because Facebook “take[s] aggressive steps to reduce the spread of vaccine hesitancy and
  vaccine misinformation on our platforms and we deploy technology to do so. As part of our efforts
  on Instagram, we have measures to help ensure we don't recommend people follow accounts that
  promote vaccine hesitancy at scale. For two weeks in April (April 14-28) this measure was
  impacted by over-enforcement on a signal we used ….” Id. at 54. In other words, the White
  House’s Instagram account had been inadvertently swept into the net of censorship that it had
  insisted that Facebook impose on private speakers’ accounts. Evidently the White House is not
  amused when its own accounts are subject to the same treatment that it demands the platforms
  impose on thousands of ordinary Americans whose viewpoint the White House disfavors.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes (1) Facebook’s response

  to Mr. Flaherty’s statement as “racing to placate” him; and (2) the White House as insisting that

  Facebook “impose” a “net of censorship” on anyone. The cited evidence does not support this

  characterization. In addition, the last sentence of the PFOF is an argumentative mischaracterization

  rather than a factual statement. Defendants respond to Plaintiffs’ arguments in their opposition to

  Plaintiffs’ preliminary injunction motion. The cited email also contains no evidence that the White

  House threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on)

  communications with the White House as such. Any assertion to that effect is unsupported by and

  contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         D.      President Biden on Social-Media Platforms: “They’re Killing People.”

         141. That same day, July 15, 2021, the White House held a joint press conference with
  Jen Psaki and Surgeon General Murthy. Dr. Murthy participated in the White House press
  conference with White House Press Secretary Jennifer Psaki to announce the Surgeon General’s
  Health Advisory on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday,
  he published an advisory on health misinformation as an urgent public health crisis.” Id. at 1.

         RESPONSE: Undisputed.




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         142. Among other things, Dr. Murthy stated that “Modern technology companies have
  enabled misinformation to poison our information environment with little accountability to their
  users.” Id. at 2.

         RESPONSE: Undisputed, but note the cited press briefing contains no evidence that either

  the White House or the Surgeon General threatened or pressured any social media company to

  censor speech, or that any social media company regarded (or acted on) statements by the White

  House, or Dr. Murthy, as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF §§ II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House);

  Defs.’ PFOF § II.B, Arg. § II.B.1.c & II.B.2 (OSG).

          143. Dr. Murthy announced: “we expect more from our technology companies. We’re
  asking them to operate with greater transparency and accountability. We’re asking them to monitor
  misinformation more closely. We’re asking them to consistently take action against
  misinformation super-spreaders on their platforms.” Id. at 3.

         RESPONSE: Undisputed, but note that the cited press briefing contains no evidence that

  the White House or the Surgeon General threatened or pressured any social media company to

  censor speech, or that any social media company regarded (or acted on) statements by the White

  House or Dr. Murthy as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF §§ II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House);

  Defs.’ PFOF § II.B, Arg. § II.B.1.c & II.B.2 (OSG).

        144. At the July 15 press conference, Dr. Murthy also demanded that the platforms do
  “much, much more” and “take aggressive action” against misinformation. Waldo Ex. 10, at 5.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Dr. Murthy’s request as a

  “demand.” The cited evidence does not support this characterization. Dr. Murthy stated during the

  press briefing that “we are asking [social media companies] to step up. We know they have taken

  some steps to address misinformation, but much, much more has to be done. And we can’t wait

  longer for them to take aggressive action because it’s costing people their lives.” Waldo Ex. 10 at




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  5. The cited press briefing contains no evidence that the White House or the Surgeon General

  threatened or pressured any social media company to censor speech, or that any social media

  company regarded (or acted on) statements by the White House or Dr. Murthy as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  §§ II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House); Defs.’ PFOF § II.B, Arg. § II.B.1.c &

  II.B.2 (OSG).

         145. Dr. Murthy also stated that platforms “have to do more to reduce the
  misinformation that’s out there ….” Id. at 6.

         RESPONSE: Undisputed, but note the cited press briefing contains no evidence that the

  White House or the Surgeon General threatened or pressured any social media company to censor

  speech, or that any social media company regarded (or acted on) statements by the White House

  or Dr. Murthy as such. Any assertion to that effect is unsupported by and contrary to the evidence

  as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          146. At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in
  regular touch with these social media platforms, and those engagements typically happen through
  members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

         RESPONSE: Undisputed.

          147. Psaki stated: “We’ve increased disinformation research and tracking within the
  Surgeon General’s office. We’re flagging problematic posts for Facebook that spread
  disinformation.” Id. at 10.

         RESPONSE: Undisputed that Ms. Psaki made this statement during the July 15, 2021

  press briefing, but further note that she clarified the next day that her reference to “flagging . . .

  problematic posts” was meant simply to reflect the Government’s practice of “regularly making

  sure social media platforms are aware of the latest narratives dangerous to public health” and

  “engag[ing] with them to better understand the enforcement of social media platform policies.”

  Ex. 37 at 6 (Press Briefing by Press Secretary Jen Psaki, The White House (July 16, 2021)). She



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  emphasized that the Government does not “take anything down” or “block anything” and that

  platforms themselves, as “private-sector compan[ies],” “make[] decisions about what information

  should be on their platform[s].” Id. In addition, the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         148. Regarding the Administration’s “asks” to social-media platforms, Psaki stated:
  “There are also proposed changes that we have made to social media platforms, including
  Facebook, and those specifically are four key steps: One, that they measure and publicly share the
  impact of misinformation on their platform. Facebook should provide, publicly and transparently,
  data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the
  reach of the misinformation and the audience that it’s reaching.” Id. at 11.

         RESPONSE: Undisputed, but note that the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          149. Psaki also stated: “Second, that we have recommended — proposed that they create
  a robust enforcement strategy that bridges their properties and provides transparency about the
  rules. So, about — I think this was a question asked before — there’s about 12 people who are
  producing 65 percent of anti-vaccine misinformation on social media platforms. All of them
  remain active on Facebook, despite some even being banned on other platforms, including
  Facebook — ones that Facebook owns.” Waldo Ex. 10, at 11.

         RESPONSE: Undisputed, but note that the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion




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  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         150. Psaki stated: “Third, it’s important to take faster action against harmful posts. As
  you all know, information travels quite quickly on social media platforms; sometimes it’s not
  accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts
  that will be within their policies for removal often remain up for days. That’s too long. The
  information spreads too quickly.” Id. at 11.

         RESPONSE: Undisputed, but note that the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          151. And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they
  promote quality information sources in their feed algorithm. Facebook has repeatedly shown that
  they have the levers to promote quality information. We’ve seen them effectively do this in their
  algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s
  certainly an area that would have an impact.” Waldo Ex. 10, at 11.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki’s comments as

  “criticizing” Facebook. The cited evidence does not support this characterization. The cited press

  briefing contains no evidence that the White House threatened or pressured any social media

  company to censor speech, or that any social media company regarded (or acted on) the White

  House’s statements as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          152. Psaki concluded: “So, these are certainly the proposals. We engage with them
  regularly and they certainly understand what our asks are.” Id. at 11.

         RESPONSE: Undisputed, but note that the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion


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  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          153. The next day, July 16, 2021, President Biden stated of Facebook and other
  platforms that “they’re killing people” by failing to censor enough misinformation: “Mr. Biden
  was asked what his message was to social media platforms when it came to Covid-19
  disinformation. ‘They’re killing people,’ he said. ‘Look, the only pandemic we have is among the
  unvaccinated, and that — and they’re killing people.’” Glenn Decl. Ex. 33, at 1; Doc. 10-1, at
  436.

         RESPONSE: Undisputed that President Biden made the quoted statement on July 16,

  2021, in response to a question from a reporter, but dispute that he was referring to a failure by

  social-media companies “to censor enough misinformation” as unsupported by the cited evidence.

  Defendants refer the Court to the transcript of this exchange, rather than the journalistic

  characterizations cited by Plaintiffs. See Ex. 45 at 2 (transcript). Further note that President Biden

  clarified this statement three days later. See Ex. 43 (transcript). He explained that he had just read

  that twelve individuals were responsible for sixty percent of misinformation concerning COVID-

  19 vaccines—a statistic advanced by the non-profit Center for Countering Digital Hate—and

  clarified that “Facebook isn’t killing people. These twelve people are out there giving

  misinformation. Anyone listening to it is getting hurt by it. It’s killing people.” Id. at 2 (emphasis

  added). He further said, “[m]y hope is that Facebook, instead of taking [the comment] personally

  that somehow I’m saying Facebook is killing people . . . would do something about the

  misinformation,” thus repeating his message that social media companies—like every other sector

  in society—ought to do more to curb the harmful spread of misinformation on their platforms. Id.

  at 2-3. The cited comment from President Biden contains no evidence that he threatened or

  pressured any social media company to censor speech, or that any social media company regarded

  (or acted on) his statements as such. Any assertion to that effect is unsupported by and contrary to

  the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.



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          154. President Biden’s statement came after “weeks” of pressuring Facebook to give
  federal officials access to Facebook’s internal data: “White House officials … singled out social
  media companies for allowing false information to proliferate. That came after weeks of failed
  attempts to get Facebook to turn over information detailing what mechanisms were in place to
  combat misinformation about the vaccine, according to a person familiar with the matter.” Id.

         RESPONSE: Disputed. The PFOF is contradicted by the evidence. Federal officials did

  not “pressure” Facebook or any other social media company to do anything. See Defs’ Resp. to

  PFOF ¶¶ 33-153; Defs’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2. Even the cited commentary

  (from a New York Times article) referred to the White House’s contacts with Facebook only as

  “attempts” to obtain more detailed information from the company. This PFOF contains no

  evidence that the White House threatened or pressured any social media company to censor speech,

  or that any social media company regarded (or acted on) the White House’s statements as such.

  Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

  PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

        155. Surgeon General Murthy had been directly involved in those meetings with
  Facebook, including “tense” meetings and a meeting where he “angrily” demanded that Facebook
  do more to censor misinformation. Id. at 437.

         RESPONSE: Disputed. See Declaration of Max Lesko, Chief of Staff, Off. of the Surgeon

  Gen. ¶ 13 (“Lesko Decl.”) (Ex. 63). This PFOF contains no evidence that the White House or Dr.

  Murthy threatened or pressured any social media company to censor speech, or that any social

  media company regarded (or acted on) statements by the White House or Dr. Murthy as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          156. When the President stated, “They’re killing people,” Psaki reinforced the same
  message: “‘Our point is that there is information that is leading to people not taking the vaccine,
  and people are dying as a result,’ Jen Psaki, the White House press secretary, said before Mr. Biden
  made his comments. ‘And we have responsibility as a public health matter to raise that issue.’” Id.
  at 436.




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         RESPONSE: Disputed. The quoted language is accurate, but the PFOF argumentatively

  mischaracterizes the President and Ms. Psaki’s statements as being related or “reinforc[ing]” a

  particular message. Further disputed to the extent that the quoted language omits critical context:

  Ms Psaki said, “We don’t take anything down. We don’t block anything. Facebook and any

  private-sector company makes decisions about what information should be on their

  platform. Our point is that there is information that is leading to people not taking the vaccine,

  and people are dying as a result. And we have a responsibility, as a public health matter, to raise

  that issue. The responsibility we all have — the government, media platforms, public

  messengers — to give accurate information.” Ex. 37 at 12 (emphasis added). Note also that the

  cited article contains no evidence that the White House threatened or pressured any social media

  company to censor speech, or that any social media company regarded (or acted on) the White

  House’s statements as such. Any assertion to that effect is unsupported by and contrary to the

  evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         157. That same day, July 16, 2021, at a White House press conference, Psaki stated that
  “we’re in regular touch with social media platforms … about areas where we have concern. …
  [W]e are … regularly making sure social media platforms are aware of the latest narratives
  dangerous to public health that we and many other Americans seeing — are seeing across all of
  social and traditional media. And we work to engage with them to better understand the
  enforcement of social media platform policies.” Glenn Decl. Ex. 34, at 6; Doc. 10-1, at 444.

         RESPONSE: Undisputed, but note that the PFOF fails to contain the full quotation for

  context. Ms. Psaki stated during the July 16, 2021 press briefing that “Well, I would say first, it

  shouldn’t come as any surprise that we are in regular touch with social media platforms—just like

  we’re in regular touch with all of you and your media outlets—about areas where we have concern,

  information that might be useful, information that may or may not be interesting to your viewers.”

  Glenn Decl. Ex. 34, at 6. She continued: “You all make decisions, just like the social media

  platforms make decisions, even though they’re a private-sector company and different, but just as


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  an example.” Id. The cited press briefing contains no evidence that the White House threatened or

  pressured any social media company to censor speech, or that any social media company regarded

  (or acted on) the White House’s statements as such. Any assertion to that effect is unsupported by

  and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          158. Psaki then described a “false narrative that remains active … flowing on the
  internet quite a bit, in other places as well,” and stated, “we want to know that the social media
  platforms are taking steps to address it. That is inaccurate, false information… And that is an
  example of the kind of information that we are flagging or raising.” Glenn Decl. Ex. 34, at 7; Doc.
  10-1, at 445.

         RESPONSE: Undisputed but note that the PFOF fails to contain the full quotation for

  context. Ms. Psaki stated during the July 16, 2021 press briefing that “So let me give you an

  example, just to illustrate it a little bit. The false narrative that remains active out there about

  COVID-19 vaccines causing infertility—something we’ve seen out there, flowing on the internet

  quite a bit, in other places as well—which has been disproven time and time again. This is

  troubling, but a persistent narrative that we and many have seen, and we want to know that the

  social media platforms are taking steps to address it. That is inaccurate, false information. If you

  are a parent, you would look at that information and then that would naturally raise concerns, but

  it's inaccurate. And that is an example of the kind of information that we are flagging or raising.”

  Glenn Decl. Ex. 34, at 7. The cited press briefing contains no evidence that the White House

  threatened or pressured any social media company to censor speech, or that any social media

  company regarded (or acted on) the White House’s statements as such. Any assertion to that effect

  is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

  & II.B.1.b & II.B.2.

         159. Psaki also demanded additional “steps” “for Facebook or other platforms,”
  including “to measure and publicly share the impact of misinformation on their platform and the
  audience it’s reaching, also with the public.” Id.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki as making

  “demands” to Facebook or other platforms. The cited evidence does not support this

  characterization. As reflected in the transcript of the press briefing, Ms. Psaki stated: “Well, I think,

  as I noted yesterday . . . there are more steps that everyone can take. And I would just note, again,

  this is a responsibility of officials speaking, of course, on behalf of government; it’s the

  responsibility of members of the media; it’s the responsibility of citizens and civic leaders and

  people who are trusted voices in communities around the country. That has a broad definition.

  Social media platforms is one of them.” Glenn Decl. Ex. 34, at 7. She further stated: “So a couple

  of the steps that we have—you know, that could be constructive for the public health of the country

  we are providing for—for Facebook or other platforms to measure and publicly share the impact

  of misinformation on their platforms and the audience it’s reaching, also with the public, with all

  of you to create robust enforcement strategies that bridge their properties and provide transparency

  about rules.” Id. The cited press briefing contains no evidence that the White House threatened or

  pressured any social media company to censor speech, or that any social media company regarded

  (or acted on) the White House’s statements as such. Any assertion to that effect is unsupported by

  and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          160.     She called on the platforms “to create robust enforcement strategies that bridge
  their properties and provide transparency about rules.” Id. She stated that platforms should
  coordinate on censoring disfavored speakers: “You shouldn’t be banned from one platform and
  not others if you — for providing misinformation out there.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki as suggesting

  that social media platforms should “coordinate on censoring disfavored speakers.” The cited

  evidence does not support this characterization. The cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion



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  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          161. Psaki also stated that the platforms should be “[t]aking faster action against harmful
  posts. As you all know, information travels quite quickly. If it’s up there for days and days and
  days when people see it, you know, there’s — it’s hard to put that back in a box.” Glenn Decl.
  Ex. 34, at 8; Doc. 10-1, at 446.

         RESPONSE: Undisputed but note that the cited press briefing contains no evidence that

  the White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          162.   Psaki was asked whether the censorship Facebook was already doing, which
  included “remov[ing] 18 million pieces of COVID misinformation” and “connect[ing] more than
  2 billion people to reliable information,” was “sufficient,” and she responded, “Clearly not,
  because we’re talking about additional steps that should be taken.” Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook’s application of

  its terms of service, to which all users agree, as “censorship.” In addition, Ms. Psaki added:

  “Obviously, those are steps they have taken. They’re a private-sector company. They’re going to

  make decisions about additional steps they can take. It’s clear there are more that can be taken.”

  Glenn Decl. Ex. 34, at 8; Dkt. 10-1, at 446. The cited press briefing contains no evidence that the

  White House threatened or pressured any social media company to censor speech, or that any

  social media company regarded (or acted on) the White House’s statements as such. Any assertion

  to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

  Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           163. “[A] few hours after Biden’s comment” that social-media platforms are “killing
  people” by not censoring misinformation, “Twitter suspended [Alex Berenson’s] account for the
  first time.” Jones Decl., Ex. J, at 3. Later, on August 28, 2021, Twitter permanently deplatformed
  Berenson. Id.



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         RESPONSE: Disputed to the extent the PFOF mischaracterizes President Biden’s

  statement as accusing social-media platforms of “killing people,” see Resp. to Pls.’ PFOF ¶ 154;

  mischaracterizes the President’s statement as advocating for “censoring” misinformation; and

  insinuates that Mr. Berenson’s temporary suspension from Twitter had anything to do with

  President Biden’s statement. The cited evidence does not support these characterizations and

  assumptions. In addition, Twitter did not “permanently deplatform[ ]” Mr. Berenson. As he

  acknowledges in the cited document, Twitter restored his account in December 2021. Jones Decl.,

  Ex. J, at 3. Apart from the timing, there is no record evidence that Twitter suspended his account

  in response to the President's comments. There is no evidence to support the inferences that (i)

  those responsible for content moderation at Twitter were aware of the President’s statement at the

  time Twitter suspended Mr. Berenson’s account; (ii) Twitter would have reacted to the President's

  statement about a different platform (Facebook); or (iii) Twitter’s reaction would have been to

  suspend Berenson’s account, particularly considering that he was not referenced by the President.

  To the contrary, the record demonstrates that Twitter’s staff responsible for “implementation of

  [its[ rules” was “cordoned off” from the Twitter staff who would have been made aware of the

  President’s statement or any subsequent communication about it with the White House (which, in

  any event, is absent from the record). See Ex. 10 at 2 (Protecting Speech from Government

  Interference & Social Media Bias, Part 1: Twitter’s Role in Suppressing the Biden Laptop Story:

  Hearings Before the H. Comm. on Oversight & Accountability, 118th Cong. (2023) (opening

  statement of Yoel Roth, Former Head of Trust & Safety,Twitter, Inc.)).

         164. Four days later, July 20, 2021, the White House explicitly threatened to amend or
  repeal the liability protections of § 230 of the Communications Decency Act if social-media
  companies did not increase censorship of disfavored speakers and viewpoints. Glenn Decl. Ex. 35;
  Doc. 10-1, at 474-75 - ‘They Should Be Held Accountable’: White House Reviews Platforms’
  Misinformation Liability, USA TODAY (July 20, 2021), at https://www.usatoday.com



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  /story/news/politics/2021/07/20/white-house-reviews-section-230-protections-covid-misinform
  ation/8024210002/. The White House communications director, Kate Bedingfield, announced that
  “[t]he White House is assessing whether social media platforms are legally liable for
  misinformation spread on their platforms.” Id. “We’re reviewing that, and certainly, they should
  be held accountable,” she said. Id.

         RESPONSE: Disputed to the extent the PFOF mischaracterizes the White House as

  “explicitly threatening to amend or repeal” Section 230 “if social-media companies did not

  increase censorship of disfavored speakers and viewpoints.” The cited evidence does not support

  that characterization. Ms. Bedingfield was asked on the television news program Morning Joe

  what the Biden Administration plans to do about COVID-19 misinformation on social media. Ms.

  Bedingfield explained that the “most important” thing was for people to obtain information from

  trusted sources like their doctors, but with respect to social media platforms, “we all have a

  responsibility here,” including platforms and “news outlets.” Ex. 46 at 3-5 (Interview by Mika

  Brzezinski with Kate Bedingfield, Commc’ns Dir., White House, in Washington, D.C. 4 (July 20,

  2021)) (interview transcript). The interviewer followed up by asking Ms. Bedingfield whether

  President Biden would support amending Section 230 so that the platforms could no longer rely

  on its legal protection. Id. Bedingfield answered, “[w]ell, we’re reviewing that,” before noting that

  the President had emphasized that “the people creating the content” are responsible for it. Id. at 5-

  6. As Ms. Bedingfield explained, “[i]t is a big and complicated ecosystem, and everybody bears

  responsibility to ensure that we are not providing people with bad information about a vaccine that

  will save their lives.” Id. at 6. Ms. Bedingfield did not threaten any action or make any demands

  during this interview.

         165. The White House communications director “specified the White House is
  examining how misinformation fits into the liability protections granted by Section 230 of the
  Communications Decency Act, which shields online platforms from being responsible for what is
  posted by third parties on their sites.” Id.




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         RESPONSE: Undisputed that this PFOF accurately quotes the USA Today article, but

  disputed on the ground that the PFOF relies on hearsay and journalistic characterization of the

  interview rather than evidence of record. Defendants refer the Court to review the interview

  transcript, available at Ex. 46, and Defendants’ response to PFOF ¶ 164. Defendants further note

  that the cited article quotes the White House Press Secretary, Jen Psaki, as stating: “The White

  House has not asked Facebook to take down any individual social media post,” and that “[i]t’s up

  to social media platforms to determine what their application is of their own rules and regulations.”

  The cited article contains no evidence that the White House threatened or pressured any social

  media company to censor speech, or that any social media company regarded (or acted on) the

  White House’s statements as such. Any assertion to that effect is unsupported by and contrary to

  the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         166. Media reported that, in connection with this threat, “Relations are tense between
  the Biden administration and social media platforms, specifically Facebook, over the spread of
  misinformation online.” Id.; see also, e.g., Glenn Decl. Ex. 36; Doc. 10-1, at 477-81: White House
  says social media networks should be held accountable for spreading misinformation, CNBC.com
  (July 20, 2021), at https://www.cnbc.com/2021/07/20/white-house-social-networks-should-be-
  held-accountable-for-spreading-misinfo.html.

         RESPONSE: Disputed on the ground that the first sentence is based on hearsay and

  journalistic characterization rather than evidence of record. Also disputed to the extent the PFOF

  suggests that any tensions between the Biden Administration and social media companies were

  caused by an alleged “threat” concerning Section 230. The cited evidence does not support this

  characterization. First, Ms. Bedingfield did not make any threats concerning section 230. See Defs’

  Resp. to PFOF ¶ 164. Second, the article reports that relations were tense between the Biden

  Administration and social media platforms over the spread of misinformation online, not because

  of the Administration’s statements concerning Section 230. Glenn Decl. Ex. 36, at 1; Dkt. 10-1 at

  477. The cited article contains no evidence that the White House threatened or pressured any social



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  media company to censor speech, or that any social media company regarded (or acted on) the

  White House’s statements as such. Any assertion to that effect is unsupported by and contrary to

  the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          167. When “asked … whether these companies should be held liable for publishing false
  information that causes people harm, Kate Bedingfield said the administration is reviewing
  policies. That could include amending the Communications Decency Act, or Section 230 of the
  act. ‘We’re reviewing that and certainly they should be held accountable,’ Bedingfield said. ‘And
  I think you heard the president speak very aggressively about this. He understands that this is an
  important piece of the ecosystem.’” Id. at 478.

          RESPONSE: Disputed on the ground that this PFOF is based on hearsay and journalistic

  characterization rather than evidence of record. Defendants refer the Court to review the transcript

  of Ms. Bedingfield’s interview, available at Ex. 46. Defendants further note that the cited article

  contains no evidence that the White House threatened or pressured any social media company to

  censor speech, or that any social media company regarded (or acted on) the White House’s

  statements as such. Any assertion to that effect is unsupported by and contrary to the evidence as

  a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         168. The same day, Tuesday, July 20, 2021, Clarke Humphrey of the White House
  communications office emailed Facebook asking for the removal of an Instagram account
  associated with Dr. Fauci, saying it “is not actually one of ours.” Fauci Ex. 57, at 1-2. Facebook
  responded one minute later, stating, “Yep, on it!” Fauci Ex. 57, at 1. The next day, Facebook
  responded again, stating, “This account has been removed. Thank you for flagging!” Id.

          RESPONSE: Undisputed, but note that Facebook acknowledged that “[i]t’s definitely a

  fake account.” Fauci Ex. 57, at 1. Fake accounts violate Facebook’s terms of service, to which all

  users agree. See Ex. 56 (Account Integrity & Authentic Identity, Meta, https://perma.cc/DCR9-

  9FBY). In addition, posts that improperly impersonate federal officials potentially constitute

  federal crimes. See 18 U.S.C. § 912 (“Whoever falsely assumes or pretends to be an officer or

  employee acting under the authroirty of the United States or any department, agency or officer

  thereof, and acts as such . . . shall be fined under this title or imprisoned not more than three years,



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  or both.”). Further note that Mr. Humphrey was on the White House COVID-19 Response Team;

  he was not a member of the Communications Office. Moreover, this PFOF contains no evidence

  that the White House threatened or pressured any social media company to censor speech, or that

  any social media company regarded (or acted on) the White House’s statements as such. Any

  assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

  § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         E. The Social-Media Platforms Are Cowed into Collusion on Censorship.

        169. The threats and public pressure on July 15 and 16—including the President’s
  comment, “they’re killing people”—got immediate results, as Facebook scrambled to assuage the
  White House’s wrath and accede to all its censorship demands.

         RESPONSE: Disputed. This PFOF lacks citation to or support in the evidence of record,

  including for the claim that “threats” and “public pressure” regarding “censorship demands,” of

  White House “wrath,” that Facebook “immediate[ly]” “scrambled to assuage the White House[]”

  and “accede” to its “demands,” or the contention that social media companies took any particular

  action based on any statement by the White House, or any other Defendants. Any assertion to that

  effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

  §§ I.B.1 & II.B.1.b & II.B.2.

          170. After this series of public statements, responding to “White House pressure,”
  Facebook censored the accounts of the 12 specific disfavored speakers whom Psaki accused of
  spreading health misinformation. Glenn Decl. Ex. 37; Doc. 10-1, at 483-85: Facebook takes action
  against ‘disinformation dozen’ after White House pressure, CNN.com (Aug. 18, 2021), at
  https://www.cnn.com/2021/08/18/tech/facebook-disinformation-dozen/index.html. Psaki had
  “hammered the platform in July for allowing the people identified in the report to remain on its
  platform.” Id. at 483. After they were singled out for censorship by the White House, Facebook
  “removed over three dozen Pages, groups and Facebook or Instagram accounts linked to these 12
  people, including at least one linked to each of the 12 people, for violating our policies.” Id.

         RESPONSE: Disputed on the ground that this PFOF is based on hearsay and journalistic

  characterization rather than evidence of record. Also disputed o the extent the PFOF




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   mischaracterizes the White House as “singl[ing] out” “disfavored speakers” for “censorship,” or

   Facebook as “responding to pressure” or “censoring” accounts. The cited evidence does not

   support these characterizations. Rather, the record reflects that more than a month after the White

   House press briefings, Facebook removed certain posts for violating its content moderation

   policies, to which every user agrees as part of the company’s terms of service. Facebook explained

   that “[a]ny amount of COVID-19 vaccine misinformation that violates our policies is too much by

   our standards—and we have removed over three dozen Pages, groups and Facebook or Instagram

   accounts linked to these 12 people, including at least one linked to each of the 12 people, for

   violating our policies.” Pls. Decl., Ex. 37 (Dkt. 10-1 at 483). Facebook also explained that it was

   not completely banning the “Disinformation Dozen” from its platform because the content did not

   always violate its content moderation policies: “the remaining accounts associated with these

   individuals are not posting content that breaks our rules[.]” Id. The article further notes that the

   “Disinformation Dozen” was initially identified in March 2021 by the nonprofit Center for

   Countering Digital Hate, which “called on Facebook to shut down pages operated by these

   people.” Id. The cited article contains no evidence that the White House threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) communications with the

   White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         171. Other platforms responded to the pressure as well, as Twitter suspended Alex
   Berenson within a few hours of President Biden’s July 16 comments and deplatformed him
   Berenson on August 28, 2021. Jones Decl., Ex. J, at 3.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Defendants as

   “pressuring” anyone, that other platforms “responded” to the alleged pressure, or that Twitter’s

   decision to suspend Mr. Berenson was the result of statements made by Defendants. The cited




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   evidence does not support that characterization. See Defs’ Resp. to PFOF ¶ 163. The cited

   document contains no evidence that the White House threatened or pressured Twitter to censor

   speech, or that Twitter regarded (or acted on) communications with the White House as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           172. On July 17, 2021, another Facebook official sent an email to Anita B. Dunn, the
   political strategist and Senior Advisor to the President in the White House, begging for assistance
   in getting back into the White House’s good graces. Doc. 174-1, at 49. The Facebook official, who
   evidently had a prior relationship with Dunn, wrote: “Would love to connect with you on the
   President's comments on Covid misinfo and our work there. Really could use your advice and
   counsel on how we get back to a good place here. … As I hope you know, we've been doing a
   significant amount of work to … fight the misinfo … Obviously, yesterday things were pretty
   heated, and I'd love to find a way to get back to pushing together on this - we are 100% on the
   same team here in fighting this and I could really use your advice.” Id. Dunn looped in Rob
   Flaherty to schedule a call. Id. at 48. Facebook then wrote: “Thanks Anita, and thanks Rob. I
   appreciate the willingness to discuss. We'd love to find a way to get things back to a productive
   conversation.” Id. Facebook also noted, with a similarly conciliatory tone: “We had a conversation
   with the Surgeon General's office yesterday to discuss the advisory in more detail and hope to
   continue to work to address concerns.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Facebook as “begging” or

   seeking to “get[] back into the White House’s good graces.” The cited document does not support

   that characterization. The cited document contains no evidence that the White House threatened

   or pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

   with the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           173. The next Monday, July 19, 2021, YouTube emailed Flaherty to announce “a few
   new ways in which we are making it easier for people to find authoritative information on health
   topics on YouTube.” Id. at 51-2. On July 20, 2021, Flaherty responded, linking to a Tweet of
   “borderline” content and stating, “I'm curious: Saw this tweet. [Linking the Tweet]. I think we had
   a pretty extensive back and forth about the degree to which you all are recommending anti-
   vaccination content. You were pretty emphatic that you are not. This seems to indicate that you
   are. What is going on here?” Id. at 51.




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          RESPONSE: Undisputed but further note that the cited email contains no evidence that

   the White House threatened or pressured YouTube to censor speech, or that YouTube regarded (or

   acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

   II.B.1.b & II.B.2.

           174. YouTube responded by assuring Flaherty that it “reduce[s]” the recommendation
   of anti-vaccine speech even when it does not violate YouTube’s policies: “it is important to keep
   in mind that borderline content accounts for a fraction of 1% of what is watched on YouTube in
   the United States. We use machine learning to reduce the recommendations of this type of content,
   including potentially harmful misinformation. In January 2019, we announced changes to our
   recommendations systems to limit the spread of this type of content which resulted in a 70% drop
   in watchtime on non-subscribed recommended content in the U.S. and our goal is to have views
   of nonsubscribed, recommended borderline content below 0.5%.” Id. at 51.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes YouTube as “assuring”

   the White House that it reduces recommendations for speech that did not violate its policies. The

   cited email does not support that characterization. Rather, the YouTube employee expressly

   mentioned borderline content, Dkt. 174-1, at 51, which is subject to moderation under YouTube’s

   policies, see Ex. 24 (announcing, in 2019, that YouTube would start moderating borderline

   content). The cited email contains no evidence that the White House threatened or pressured

   YouTube to censor speech, or that YouTube regarded (or acted on) communications with the

   White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           175. This was not enough for Flaherty, who demanded more information: “I see that's
   your goal - what is the actual number right now?” Id. at 50. YouTube responded that it would
   check for more information, and stated: “Per our COVID-19 medical misinformation policy, we
   will remove any content that contradicts local health authorities’ or the World Health
   Organization's (WHO) medical information about COVID-19. To date, approximately 89% of
   videos removed for violations of this policy were removed with 100 views or less. With regards to
   the specific videos you referenced, the content was not in violation of our community guidelines.”
   Id. at 50.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty’s follow-up

   question as a “demand.” The cited email does not support that characterization. The cited email

   contains no evidence that the White House threatened or pressured YouTube to censor speech, or

   that YouTube regarded (or acted on) communications with the White House as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

   Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           176. Flaherty responded, expressing surprise that YouTube was not censoring the
   disfavored content: “So this actually gets at a good question - the content [that the Tweet] points
   out isn't defined as ‘borderline’ and therefore isn't subject to recommendation limitations?” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes YouTube (or Facebook)

   of “assuring” Mr. Flaherty of anything. Neither the cited email nor evidence cited by any other

   PFOF supports that characterization. Rather, the cited email reflects YouTube’s explaining to Mr.

   Flaherty how its policies and guidelines operate, including those related to borderline content. Dkt.

   174-1 at 50. The cited email contains no evidence that the White House threatened or pressured

   YouTube to censor speech, or that YouTube regarded (or acted on) communications with the

   White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

            177. YouTube, like Facebook before it, assured Flaherty that it would “limit the
   visibility” and “reduce the spread” such content, even though it does not violate YouTube’s
   policies: “the content was not in violation of our policies and therefore not subject to removal. But
   for all content on YouTube, we apply our 4R framework we have previously described to raise
   authoritative voices while reducing visibility on borderline content. External evaluators use these
   guidelines which are then used to inform our machine learning systems that limits the spread of
   borderline content.” Id. at 50.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes YouTube (or Facebook)

   of “assuring” Mr. Flaherty of anything. Neither the cited email nor evidence cited by any other

   PFOF supports that characterization. Rather, the cited email reflects YouTube’s explaining to Mr.




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   Flaherty how its policies and guidelines operate, including those related to borderline content. Dkt.

   174-1 at 50. The cited email contains no evidence that the White House threatened or pressured

   YouTube to censor speech, or that YouTube regarded (or acted on) communications with the

   White House as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          178. On October 28, 2021, the same day as a Washington Post article about Facebook
   employee Frances Haugen’s allegations about misinformation on Facebook, Rob Flaherty emailed
   Brian Rice of Facebook a hyperlink to the article. The only text in the email was the subject line,
   which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2; see also infra.

          RESPONSE: Undisputed but note that the PFOF lacks context. Before the email

   referenced in this PFOF, Mr. Flaherty had engaged with Facebook employees to understand their

   policies concerning misinformation and disinformation, how those policies are enforced on the

   platform. See Ex. 36 at 62 (Flaherty Rog. Resps.). For example, Mr. Flaherty had been asking

   Facebook employees for more transparent information about their algorithms and how they were

   promoting misinformation or disinformation and had raised questions about research from the

   Center for Countering Digital Hate (CCDH) indicating that a small number of users were

   responsible for a significant percentage of COVID-19 vaccine-related misinformation spreading

   on social media platforms, including Facebook. Id. In response to Mr. Flaherty’s inquiries,

   Facebook informed him that although misinformation and disinformation was a problem it was

   taking proactive steps to address, Facebook did not share Mr. Flaherty’s concerns about the scope

   of the problem on Facebook, and it disputed the CCDH research. Id. Mr. Flaherty understood the

   referenced Washington Post article to indicate that Facebook was doing more intensive internal

   research into the problem of misinformation and disinformation than they had revealed in

   Facebook’s conversations with him, and that this research had confirmed that a small number of

   users were responsible for a significant percentage of COVID-19 vaccine-related misinformation



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   spreading on Facebook. Id. The email referenced in this PFOF reflects Mr. Flaherty conveying his

   frustration to Facebook employees who had reportedly been less than transparent with him and the

   broader public about their full understanding of the problem of misinformation and disinformation

   on the platform. Id. The cited email contains no evidence that the White House threatened or

   pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

   with the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           179. On November 4, 2021, Meta reported to Rowe, Flaherty, and other White House
   officials that “we updated our misinformation policies for COVID-19 vaccines to make clear that
   they apply to claims about children….” Doc. 71-3, at 15.

          RESPONSE: Undisputed but note for context that Meta explained that this update to its

   misinformation policies concerning children was the result of the FDA and CDC having approved

   of vaccines for children. Dkt. 71-3 at 15. The cited email contains no evidence that the White

   House threatened or pressured Meta to censor speech, or that Meta regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           180. On November 30, 2021, Christian Tom of the White House emailed Twitter stating,
   “Would you mind looking at this video and helping us with next steps to put a label or remove it?”
   Doc. 174-1, at 65. He included a link to a Tweet of an unflattering, comedic video of First Lady
   Jill Biden reading to children, which had been clearly edited to make it sound as if she was
   profanely heckled while reading to them. Id. The subject line of the message was “Doctored video
   on Twitter of the First Lady.” Id. Twitter responded within six minutes: “Happy to escalate with
   the team for further review from here.” Id.

          RESPONSE: Dispute characterization that the video had been “clearly edited” as

   unsupported by the cited evidence. Disputed also to the extent this PFOF argumentatively

   mischaracterizes the video in question as “comedic.” Twitter did not indicate in the cited evidence

   (either the e-mail exchange or the Twitter “event page”) that the video was deemed “comedic.”




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   Defendants further note for context that this email chain reflects the White House staffer requesting

   that Twitter consider the application of its terms of service, to which all users agree, to the doctored

   video it had identified. Dkt. 174-1 at 58-65. The cited email contains no evidence that the White

   House threatened or pressured Twitter to censor speech, or that Twitter regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

            181. That evening, Twitter emailed back, stating, “Update for you - The team was able
   to create this event page for more context and details.” Id. at 64. The “event page” explained the
   context of the parody video but did not censor it; it alerted users that the video had been edited for
   “comedic” effect. See A video of first lady Jill Biden reading to children was manipulated to
   include profanity,        according to       fact-checkers,      TWITTER       (Nov.    30,    2021),
   https://twitter.com/i/events/1465769009073123330.

          RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes the video

   in question as “comedic.” Twitter did not indicate in the cited evidence (either the e-mail exchange

   or the Twitter “event page”) that the video was deemed “comedic.” Further, note that the content

   that this email chain reflects the White House staffer requesting that Twitter consider the

   application of its terms of service, to which all users agree, to the doctored video it had identified.

   Dkt. 174-1 at 58-65. The cited email contains no evidence that the White House threatened or

   pressured Twitter to censor speech, or that Twitter regarded (or acted on) communications with

   the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

         182. Christian Tom promptly emailed back, asking that Twitter actually censor the
   comedic video, not just provide an event page explaining that it was comedic: “Will you apply the
   ‘Manipulated Media’ disclaimer to the video asset itself?” Doc. 174-1, at 64.

          RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes the video

   in question as “comedic.” Twitter did not indicate in the cited evidence (either the e-mail exchange

   or the Twitter “event page”) that the video was deemed “comedic.” Further disputed to the extent



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   the PFOF mischaracterizes Mr. Tom as asking Twitter to “censor” the video. The cited email does

   not reflect that characterization. Rather, this email chain reflects the White House staffer

   requesting that Twitter consider the application of its terms of service, to which all users agree, to

   the doctored video it had identified. Dkt. 174-1 at 58-65. The cited email contains no evidence that

   the White House threatened or pressured Twitter to censor speech, or that Twitter regarded (or

   acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

   II.B.1.b & II.B.2.

           183. The next morning, December 1, 2021, Tom emailed Twitter again, arguing that
   Twitter should apply a label to the video under its content-moderation policies: “Just wanted to
   follow-up here. It looks like from the rubric that this fits the first two criteria, which means it is
   ‘likely’ to be labeled:” and linking Twitter’s “manipulated media” policy. Id. at 63-4.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Tom as “arguing”

   with Twitter to apply its content moderation policy. The cited email does not reflect that

   characterization. Rather, this email chain reflects the White House staffer requesting that Twitter

   consider the application of its terms of service, to which all users agree, to the doctored video it

   had identified. Dkt. 174-1 at 58-65. The cited email contains no evidence that the White House

   threatened or pressured Twitter to censor speech, or that Twitter regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           184. Twitter wrote back the same morning, explaining that the comic, parody video of
   Jill Biden was not subject to labeling under its policy because it was not likely to cause harm, but
   noting again that Twitter had created a special page to explain that the video was edited: “After
   escalating this to our team, the Tweet and video referenced will not be labeled under our synthetic
   and manipulated media policy. Although it has been significantly altered, the team has not found
   it to cause harm or impact public safety. The team was able to create this Twitter Moment (here)
   and event page for more context and details.” Id. at 63.




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          RESPONSE: Disputed to the extent this PFOF argumentatively mischaracterizes the video

   in question as “parody” and “comic.” Twitter did not indicate in the cited evidence (either the e-

   mail exchange or the Twitter “event page”) that the video was deemed “parody” or “comic” under

   their rules. Further, note for context that this email chain reflects the White House staffer

   requesting that Twitter consider the application of its terms of service, to which all users agree, to

   the doctored video it had identified. Dkt. 174-1 at 58-65. The cited email contains no evidence that

   the White House threatened or pressured Twitter to censor speech, or that Twitter regarded (or

   acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

   II.B.1.b & II.B.2.

           185. The same day, Christian Tom emailed back, disputing Twitter’s interpretation of
   its own content-moderation policy and looping in Michael DeRosa, the First Lady’s press
   secretary. Id. Michael DeRosa then emailed as well, disputing and demanding information about
   Twitter’s application of its own policy. Id. at 62. Tom and DeRosa continued to press Twitter for
   further explanation and action on December 9, 13, and 17. Id. at 60-61. Twitter provided another,
   more detailed explanation of its decision on December 17. Id. at 59-60. Tom emailed back the
   same day, again disputing Twitter’s application of its own policy and pressing Twitter again on
   the issue. Id. at 58-59. He added Rob Flaherty to the email chain for the first time. Id. at 58.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Tom as “disputing”

   Twitter’s interpretation of its content moderation policy rather than simply asking for clarification

   concerning how Twitter applies its policy. In addition, disputed to the extent the PFOF

   mischaracterizes Mr. DeRosa as “disputing and demanding” information about Twitter’s content

   moderation policy, and as “press[ing]” Twitter (together with Mr. Tom) for information. The cited

   email chain does not support those characterizations. The cited email does not reflect that

   characterization. Rather, this email chain reflects the White House staffer requesting that Twitter

   consider the application of its terms of service, to which all users agree, to the doctored video it

   had identified. Dkt. 174-1 at 58-65. The email chain further reflects the White House staffers



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   asking questions to seek to understand how Twitter applies its content moderation policy. Id. The

   cited email contains no evidence that the White House threatened or pressured Twitter to censor

   speech, or that Twitter regarded (or acted on) communications with the White House as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           186. Nine minutes later, on December 17, 2021, Flaherty wrote to Twitter, angrily
   accusing Twitter of dishonestly misapplying its own policies: “New to the thread here, but this all
   reads to me like you all are bending over backwards to say that this isn't causing confusion on
   public issues. If the AP deems it confusing enough to write a fact check, and you deem it confusing
   enough to create an event for it, how on earth is it not confusing enough for it to at least have a
   label? Total Calvinball.” Id. at 58. (“Calvinball” refers to a game in the cartoon “Calvin and
   Hobbes” where the participants make up the rules of the game as they go along.)

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as “angrily

   accusing Twitter of dishonestly misapplying” its policies. The cited email does not support that

   characterization. Rather, this email chain reflects the White House requesting that Twitter consider

   the application of its terms of service, to which all users agree, to the doctored video it had

   identified. Dkt. 174-1 at 58-65. The email chain further reflects the White House asking questions

   to seek to understand how Twitter applies its content moderation policy. Id. The cited email

   contains no evidence that the White House threatened or pressured Twitter to censor speech, or

   that Twitter regarded (or acted on) communications with the White House as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

   Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          187. A senior-level Twitter executive then emailed Flaherty proposing to resolve the
   matter by phone. Id. After that phone conversation, it appears that the Tweet that prompted the
   exchange is no longer available. See id. at 65 (linking to https://twitter.com/
   ArtValley818_/status/1465442266810486787?s=20, which is no longer available).

          RESPONSE: Disputed to the extent the PFOF assumes a phone conversation occurred, or

   that the Tweet was removed because of any such call or any action by the White House. The PFOF



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   fails to cite record evidence to support those assumptions. In addition, it appears that the

   individual’s Twitter account was suspended on October 12, 2022—ten months after the email

   exchange reflected in the PFOF. See Ex. 181 at 1 (Art Taking Back (@Arttakingback), Instagram

   (Oct. 12, 2022)) (stating “[t]his just happened” and posting a screenshot of a notice that a Twitter

   account, @ArtValley818_, has been suspended). This PFOF contains no evidence that the White

   House threatened or pressured Twitter to censor speech, or that Twitter regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

          F.      White House Pressure and Collusion Continue Throughout 2022.

           188. During January 2022, Facebook reported to Rowe, Manning, Flaherty, and Mr.
   Slavitt that it has “labeled and demoted” “vaccine humor posts whose content could discourage
   vaccination.” It also reported to the White House that it “labeled and demoted” posts “suggesting
   natural immunity to COVID-19 infection is superior to immunity by the COVID-19 vaccine.”
   Doc. 71-3, at 10-11.

          RESPONSE: Undisputed, but further note that Facebook’s actions with respect to these

   posts is entirely consistent with its borderline content moderation policies, to which all users agree.

   See Ex. 23 at 6-9. The cited email contains no evidence that the White House threatened or

   pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

   with the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           189. Twitter emailed back within an hour and offered to discuss, to which Flaherty
   responded: “Happy to talk through it but if your product is appending misinformation to our tweets
   that seems like a pretty fundamental issue.” Id.

          RESPONSE: Disputed. First, this assertion appears to relate to Section II.E of the PFOFs,

   rather than Section II.F, and does not appear to refer to the document cited, Dkt. 71-3 at 10-11, but

   instead appears to refer to the document found at Dkt. 174-1 at 68, which is an August 11, 2022,




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   email chain. It is unclear what the PFOF is referring to when it states that “Twitter emailed back

   within an hour,” because it does not specify “within an hour” of what event. Moreover, the PFOF

   lacks context. In an August 11, 2022, email chain, a White House staffer had raised a question

   concerning a note that Twitter added to one of President Biden’s tweets because of Twitter’s view

   that it was factually inaccurate. Id. at 69. In response to the White House’s questions, a

   representative at Twitter identified its “Birdwatch product feature” and offered a meeting to walk

   Mr. Flaherty through the product. Id. In response to that invitation, Mr. Flaherty stated that he

   would be “happy to talk through it but if your product is appending misinformation to our tweets

   that seems like a pretty fundamental issue.” Id. The cited email contains no evidence that the White

   House threatened or pressured Twitter to censor speech, or that Twitter regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           190. Separately, Jesse Lee of the White House emailed Twitter in response to the same
   report, accusing Twitter of “calling the President a liar” and offering to talk by phone to resolve
   the complaint: “this note is factually inaccurate. This is a very technical question but you don't
   have it right, and you are in effect calling the President a liar when his tweet is actually accurate.
   I'm happy to discuss this with whoever is the right person,” and providing his cell phone number.
   Id. at 69. Twitter then reached out by phone to resolve it. Id.

          RESPONSE: See Defendants’ response to Pls.’ PFOF ¶ 189.

          191. On September 18, 2021, regarding a story in the Wall Street Journal about COVID-
   19 “misinformation” circulating on Facebook, Flaherty demanded that Meta provide an
   explanation “as we have long asked for, [of] how big the problem is, what solutions you’re
   implementing, and how effective they’ve been.” Doc. 71-3, at 24.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

   “demanding” anything from Meta. The cited exhibit does not support that characterization. In

   addition, the PFOF lacks context. On September 18, 2021, a representative of Facebook emailed

   the White House and noted a Wall Street Journal article “about the spread of COVID-19




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   misinformation in comments on Facebook.” Dkt. 71-3 at 24. Facebook stated that the story was

   “largely based on cherry-picked leaked documents,” and “doesn’t accurately represent the problem

   or the solutions we have put in place to make comments or posts about COVID and vaccine safer.”

   Id. Facebook offer to schedule a call to discuss this issue, and Mr. Flaherty responded that he

   would be “[h]appy to talk about it,” and “[w]ould be interested to see, as we have long asked for,

   how big the problem is, what solutions you’re implementing, and how effective they’ve been.” Id.

   Note further that the cited exchange about a September 2021 news article furnishes no evidence

   concerning the White House’s response to misinformation “throughout 2022,” much less evidence

   of “pressure” or “collusion.” The cited email contains no evidence that the White House threatened

   or pressured Facebook to censor speech, or that Facebook regarded (or acted on) communications

   with the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           192. On February 1, 2022, Psaki was asked at a White House press conference whether
   the Administration was satisfied with Spotify’s decision to affix advisory warnings to Joe Rogan’s
   immensely popular podcast, which featured speakers that contradicted the Administration’s
   messaging about COVID-19 and vaccines, or whether the government “think[s] that companies
   like Spotify should go further than just, you know, putting a label on” disfavored viewpoints and
   speakers. Psaki responded by demanding that Spotify and other platforms “do[] more” to block
   disfavored speech: “[O]ur hope is that all major tech platforms … be vigilant to ensure the
   American people have access to accurate information on something as significant as COVID-19….
   So, this disclaimer – it’s a positive step. But we want every platform to continue doing more to
   call out … mis- and disinformation while also uplifting accurate information.” Glenn Decl. Ex.
   38, at 15-16; Doc. 10-1, at 501-2 (emphasis added). She stated that Spotify’s advisory warnings
   are “a good step, it’s a positive step, but there’s more that can be done.” Id. at 502 (emphasis
   added).

          RESPONSE: Disputed to the extent the PFOF states that Joe Rogan’s podcast “featured

   speakers that contradicted the Administration’s messaging about COVID-19 and vaccines,”

   because this is not supported by the cited evidence. Further disputed to the extent the PFOF

   mischaracterizes Ms. Psaki as “demanding” anything or that the concerns she expressed had to do




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   with “disfavored speech.” The cited evidence does not support this characterization. As Ms. Psaki

   explained during the press conference, “I mean, look at the facts, right? You are 16 times more

   likely to be hospitalized if you’re unvaccinated and 68 times more likely to die than someone who

   is boosted if you’re unvaccinated. That’s pretty significant. And we think that is something that

   unquestionably should be the basis of how people are communicating about it.” Glenn Decl. Ex,

   38, at 16; Dkt. 10-1 at 502. The cited statements during a White House press conference contain

   no evidence that the White House threatened or pressured Spotify or any social media platform to

   censor speech, or that Spotify or any social media company regarded (or acted on) communications

   with the White House as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          193. On April 25, 2022, Psaki was asked at a White House press briefing to respond to
   the news that Elon Musk would acquire Twitter, and asked “does the White House have any
   concern that this new agreement might have President Trump back on the platform?” Glenn Decl.
   Ex. 40; Doc. 10-1, at 528.

          RESPONSE: Undisputed but note that the PFOF omits that there was more than one

   question posed at this time. The complete question posed is as follows: “And just a quick one on

   the breaking news. Twitter agreeing to let Elon Musk purchase—make his—go through with his

   purchase. Do you have a response to that? And does the White House have any concern that this

   new agreement might have President Trump back on the platform?” Glenn Decl. Ex. 40; Dkt. 10-

   1 at 528.

           194. Psaki responded by reiterating the threats of adverse legal consequences to Twitter
   and other social media platforms, specifically referencing antitrust enforcement and Section 230
   repeal: “No matter who owns or runs Twitter, the President has long been concerned about the
   power of large social media platforms … [and] has long argued that tech platforms must be held
   accountable for the harms they cause. He has been a strong supporter of fundamental reforms to
   achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more
   transparency, and more. And he’s encouraged that there’s bipartisan interest in Congress.” Id. at
   528-29.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki’s response to

   the reporter’s question as a “threat[] of adverse legal consequences.” The cited evidence does not

   support this characterization. In addition, the PFOF selectively quotes Ms. Psaki’s response. The

   complete response to the reporter’s question is as follows: “Well, I’m not going to comment on a

   specific transaction. What I can tell you as a general matter: No matter who owns or runs Twitter,

   the President has long been concerned about the power of large social media platforms, what they

   ha--the power they have over our everyday lives; has long argued that tech platforms must be held

   accountable for the harms they cause. He has been a strong supporter of fundamental reforms to

   achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more

   transparency, and more. And he’s encouraged that there’s bipartisan interest in Congress. In terms

   of what hypothetical policies might happen, I’m just not going to speak to that at this point in

   time.” Glenn Decl. 40, at 3-4; Dkt. 10-1 at 528-29. The cited statements during a White House

   press conference contains no evidence that the White House threatened or pressured any social

   media platform to censor speech, or that any social media company regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

           195. At the same press briefing, Psaki was asked: “Are you concerned about the kind of
   purveyors of election misinformation, disinformation, health falsehoods, sort of, having more of
   an opportunity to speak there on Twitter?” She responded by specifically linking the legal threats
   to the social-media platforms’ failure to more aggressively censor free speech: “I would say our
   concerns are not new. We’ve long talked about and the President has long talked about his concerns
   about the power of social media platforms, including Twitter and others, to spread misinformation,
   disinformation; the need for these platforms to be held accountable.” Id. at 534.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki as “specifically

   linking the legal threats to the social-media platforms’ failure to more aggressively censor free

   speech.” The cited evidence does not support that characterization. Nothing in Ms. Psaki’s




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   comments could reasonably be construed as a “legal threat” or requesting that social media

   companies “censor” speech. Rather, Ms. Psaki conveyed that companies need to be responsible

   for applying their terms of service, to which all users agree, to ensure that misinformation and

   disinformation about a deadly pandemic responsible for the deaths of thousands of Americans is

   properly handled. The cited statements during a White House press conference contain no evidence

   that the White House threatened or pressured any social media platform to censor speech, or that

   any social media company regarded (or acted on) communications with the White House as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          196. Psaki was then asked a question that noted that “the Surgeon General has said that
   misinformation about COVID amounts to a public health crisis,” and then queried, “would the
   White House be interested in working with Twitter like it has in the past to continue to combat this
   kind of misinformation? Or are we in a different part of the pandemic where that kind of
   partnership is no longer necessary?” Id. at 549.

          RESPONSE: Undisputed.

           197. Psaki responded by reaffirming that senior officials within the White House and/or
   the Administration are continuing to coordinate directly with social-media platforms to censor
   disfavored speakers and content on social media, and directly linking these efforts to the repeated
   threat of adverse legal action: “we engage regularly with all social media platforms about steps
   that can be taken that has continued, and I’m sure it will continue. But there are also reforms that
   we think Congress could take and we would support taking, including reforming Section 230,
   enacting antitrust reforms, requiring more transparency. And the President is encouraged by the
   bipartisan support for — or engagement in those efforts.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki as suggesting

   that individuals in the White House and/or the Administration were “coordinat[ing]” with social

   media companies “to censor disfavored speakers and content on social media,” or that she “directly

   link[ed] these efforts to the repeated threat of adverse legal action.” The cited evidence does not

   support that characterization. The cited statements during a White House press conference contain

   no evidence that the White House threatened or pressured any social media platform to censor



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   speech, or that any social media company regarded (or acted on) communications with the White

   House as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          198. On June 13, 2022, Flaherty demanded that Meta continue to produce periodic
   “COVID-19 insights reports” to track so-called “misinformation” regarding COVID-19 on Meta’s
   social-media platforms, expressing the specific concern that COVID vaccines for children under
   5 would soon be authorized. Doc. 71-3, at 6.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Flaherty as

   “demanding” anything from Meta. The cited evidence does not support that characterization. In

   response to a statement by Meta that it would “plan to discontinue” providing its “COVID-19

   insight reports” to Mr. Flaherty, Mr. Flaherty stated that “I would normally say we are good to

   discontinue but it would be helpful to continue to get these as we start to ramp up under 5 vaccines.

   The cited email contains no evidence that the White House threatened or pressured Meta to censor

   speech, or that Meta regarded (or acted on) communications with the White House as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

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          199. Meta got the message. It agreed to continue sending its censorship-tracking reports,
   and on June 22, 2022, Meta assured Flaherty that it was expanding its censorship of COVID-19
   “misinformation” to ensure that speech critical or skeptical of COVID-19 vaccines for children
   under 5 years old—a highly controversial topic—would be censored. Doc. 71-3, at 5.

          RESPONSE: Dispute the insinuation in the remark, “Meta got the message,” that Mr.

   Flaherty intended or that Meta perceived his request as any kind of pressure or threat. This PFOF

   is also disputed to the extent the PFOF mischaracterizes Meta’s “insight reports” as “censorship-

   tracking reports,” or that Meta “assured” Mr. Flaherty that Meta was “expanding its censorship of

   COVID-19 ‘misinformation’” or “ensur[ing] that speech critical or skeptical COVID-19 vaccines

   for children under 5 years old . . . would be censored.” The cited evidence does not support this




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   characterization. First, Meta’s “insight reports” reflected the results of the application of its content

   moderation policies, to which all users agree. Second, the cited email reflects that Meta was

   notifying Mr. Flaherty and others at the White House about its “policy updates” following the early

   childhood vaccine approvals. Dkt. 71-3 at 5. Meta noted that “[a]s of today, all COVID-19 vaccine

   related misinformation and harm policies on Facebook and Instagram apply to people 6 months or

   older (with the exception of the claim that the COVID vaccines have full FDA approval since

   children have only emergency use.”). Id. The cited email contains no evidence that the White

   House threatened or pressured Meta to censor speech or adopt its new policy, or that Meta regarded

   (or acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

   II.B.1.b & II.B.2

           G.      Pressure to Expand the Topics of Social-Media Censorship.

          200. Since this lawsuit was filed, Defendants have expanded their social-media
   censorship activities and pressured social-media platforms for censorship in new areas of online
   discourse, including areas such as climate change, gender, abortion, and economic policy.

           RESPONSE: Disputed. This PFOF cites no evidence in support of the assertions made.

   Neither this PFOF nor any of Plaintiffs’ other PFOFs contain evidence that the White House, or

   any other Defendants, threatened or pressured (or intend to threaten or pressure) social media

   companies to censor speech, or that the companies regarded (or acted on) communications with

   the White House, or any other Defendants, as such. Any assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          201. For example, on June 14, 2022, White House National Climate Advisor Gina
   McCarthy spoke at an Axios event titled “A conversation on battling misinformation.” Jones Decl.
   Ex. M, at 1.




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          RESPONSE: Disputed to the extent the PFOF suggests that this is an “example” of the

   contentions contained in PFOF ¶ 200. Neither this PFOF nor any of Plaintiffs’ other PFOFs contain

   evidence that the White House, or any other Defendants, threatened or pressured (or intend to

   threaten or pressure) social media companies to censor speech, or that the companies regarded (or

   acted on) communications with the White House, or any other Defendants, as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

   Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           202. During the event, “McCarthy skewered Big Tech companies for ‘allowing’
   disinformation and cheered Congress for ‘taking action’ to enact more censorship last Thursday.”
   Id. at 2. “Axios political reporter Alexi McCammond asked McCarthy how so-called ‘rampant
   mis-and-disinformation around climate change online and in other platforms’ has ‘made your job
   harder?’” Id. “McCarthy responded by slamming social media companies: ‘We have to get tighter,
   we have to get better at communicating, and frankly, the tech companies have to stop allowing
   specific individuals over and over again to spread disinformation.’” Id. (emphasis added). “She
   suggested further that ‘we have to be smarter than that and we need the tech companies to really
   jump in.’” Id. at 3 (emphasis added). “McCammond responded by asking: ‘Isn’t misinformation
   and disinfo around climate a threat to public health itself?’ McCarthy asserted that it ‘absolutely’
   is: ‘Oh, absolutely.’” Id.

          RESPONSE: Disputed to the extent this PFOF relies upon mischaracterizations of Ms.

   McCarthy’s comments contained in an online news article, rather than on Ms. McCarthy’s

   comments themselves. The cited statements by Ms. McCarthy during an Axios event contain no

   evidence that the White House threatened or pressured (or intends to threaten or pressure) any

   social media platform to censor speech, or that any social media company regarded (or acted on)

   communications with the White House as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

           203. Like Psaki and others, McCarthy explicitly tied these demands for censorship of
   climate-change-related speech to threats of adverse legislation: “McCarthy also praised Congress
   directly for pushing social media companies to censor Americans: ‘We do see Congress taking
   action on these issues, we do see them trying to tackle the misinformation that’s out there, trying
   to hold companies accountable.’” Id. at 4.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki, Ms. McCarthy,

   or “others” associated with the White House as “explicitly” tying “demands for censorship” to

   “threats of adverse legislation.” The cited evidence, editorial comment contained in an online news

   article, does not support those characterizations. The cited statements by Ms. McCarthy during an

   Axios event contain no evidence that the White House threatened or pressured (or intends to

   threaten or pressure) any social media platform to censor speech, or that any social media company

   regarded (or acted on) her communications as such. Any assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          204. On June 16, 2022, the White House announced a new task force to address, among
   other things, “gendered disinformation” and “disinformation campaigns targeting women and
   LGBTQI+ individuals who are public and political figures, government and civic leaders, activists,
   and journalists.” Jones Decl., Ex. N, at 1.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited document and

   takes selected quotes out of context. On June 16, 2022, President Biden issued a “Memorandum

   on the Establishment of the White House Task Force to Address Online Harassment and Abuse.”

   Jones Decl., Ex. N, at 1. In discussing White House policy, the memorandum notes that “Online

   harassment and abuse take many forms, including the non-consensual distribution of intimate

   digital images; cyberstalking; sextortion; doxing; malicious deep fakes; gendered disinformation;

   rape and death threats; the online recruitment and exploitation of victims of sex trafficking; and

   various forms of technology-facilitated intimate partner abuse.” Id. The memorandum further

   observes that “[i]n the United States and around the world, women and LGBTQI+ political leaders,

   public figures, activities, and journalists are especially targeted by sexualized forms of online

   harassment and abuse, undermining their ability to exercise their human rights and participate in

   democracy, governance, and civic life.” Id. Accordingly, the President directed “the Director of

   the White House Gender Policy Council and the Assistant to the President for National Security



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   Affairs to lead an interagency effort to address online harassment and abuse, specifically focused

   on technology-facilitated gender-based violence, and to develop concrete recommendations to

   improve prevention, response, and protection efforts through programs and policies in the United

   States and globally.” Id. at 2. The Memorandum charges the Task Force with “work[ing] across

   executive departments, agencies, and offices to assess and address online harassment and abuse

   that constitute technology-facilitated gender-based violence.” Id. at 3. This PFOF contains no

   evidence that the White House threatened or pressured (or intends to threaten or pressure) social

   media companies to censor speech, or that the companies regarded (or acted on) communications

   with the White House, or any other Defendants, as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b &

   II.B.2

           205. The June 16 Memorandum decries “online harassment and abuse”—vague terms
   that, on information and belief, are deliberately adopted to sweep in constitutionally protected
   speech. Id. In particular, the Memorandum defines “online harassment and abuse” to include
   “gendered disinformation,” a deliberately broad and open-ended term. Id. § 1. The Memorandum
   announces plans to target such “gendered disinformation” directed at public officials and public
   figures, including “women and LGBTQI+ political leaders, public figures, activists, and
   journalists.” Id. The Memorandum creates a Task Force co-chaired by the Assistant to the
   President for National Security Affairs, which includes the Secretary of Defense, the Attorney
   General, and the Secretary of Homeland Security, among others. Id.

            RESPONSE: Disputed to the extent the PFOF contends “on information and belief” that

   the phrase “online harassment and abuse” is intended to “sweep in constitutionally protected

   speech.” The PFOF cites to no record evidence to support this “belief.” Defendants refer to their

   response to PFOF ¶ 204, as well as the memo cited in this PFOF, for context as to the scope of the

   Task Force’s mandate to address online harassment and abuse. This PFOF contains no evidence

   that the White House threatened or pressured (or intends to threaten or pressure) social media

   companies to censor speech, or that the companies regarded (or acted on) communications with




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   the White House, or any other Defendants, as such. Any assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

           206. The Task Force is charged with “developing programs and policies to address …
   disinformation campaigns targeting women and LGBTQI+ individuals who are public and
   political figures, government and civic leaders, activists, and journalists in the United States and
   globally.” Id. § 4(a)(iv) (emphasis added). The Memorandum calls for the Task Force to consult
   and coordinate with “technology experts” and “industry stakeholders,” i.e., social-media firms, to
   achieve “the objectives of this memorandum,” id. § 4(b). Those “objectives,” of course, include
   suppressing so-called “disinformation campaigns” against “public and political figures.” Id.
   § 4(a)(iv).

          RESPONSE: Disputed to the extent the PFOF selectively quotes from the cited

   Memorandum. Defendants refer to their response to PFOF ¶ 204, as well as the memo cited in this

   PFOF, for context as to the scope of the Task Force’s mandate to address online harassment and

   abuse. This PFOF contains no evidence that the White House threatened or pressured (or intends

   to threaten or pressure) social media companies to censor speech, or that the companies regarded

   (or acted on) communications with the White House, or any other Defendants, as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

           207. The Memorandum again threatens social-media platforms with adverse legal
   consequences if they do not censor aggressively enough to suit federal officials: “the Task Force
   shall … submit periodic recommendations to the President on policies, regulatory actions, and
   legislation on technology sector accountability to address systemic harms to people affected by
   online harassment and abuse.” Id. § 5(c) (emphasis added).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Memorandum as

   “threatening” social media platforms with “adverse legal consequences” if they “do not censor

   aggressively enough.” The selected citation to the document does not support that characterization.

   The Memorandum states: “Prior to issuing its Initial Blueprint and 1-Year Report, the Co-Chairs

   of the Task Force shall consolidate any input received and submit periodic recommendations to

   the President on policies, regulatory actions, and legislation on technology sector accountability



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   to address systemic harms to people affected by online harassment and abuse.” Jones Decl., Ex.

   N, at § 5(c). Nothing in this statement contains evidence that the White House threatened or

   pressured (or intends to threaten or pressure) social media companies to censor speech, or that the

   companies regarded (or acted on) communications with the White House, or any other Defendants,

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

           208. Relatedly, on May 27, 2022, HHS Assistant Secretary Rachel Levine demanded
   that social-media platforms censor “misinformation” about “gender-affirming care.” Jones Decl.,
   Ex. O, at 1. In a public address to health officials, Levine “spoke about the need for government
   to ‘address health information directly’ and specified that includes encouraging Big Tech to
   combat health misinformation ‘beyond COVID-19.’” Id. Levine stated: “So I’d like to just talk
   briefly about another area of substantial misinformation that is directly impacting health equity in
   our nation, and that is the health equity of sexual and gender minorities. There is substantial
   misinformation about gender-affirming care for transgender and gender diverse individuals… The
   positive value of gender-affirming care for youth and adults is not in scientific or medical dispute
   … And we need to use our clinicians’ voice to collectively advocate for our tech companies to
   create a healthier, cleaner information environment.” Id. at 1-2.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Levine as

   “demanding” that social media companies “censor” anything. The cited evidence does not support

   that characterization. In addition, this PFOF selectively quotes Ms. Levine’s statements as

   characterized in a news article, which in turn selectively quotes Ms. Levine and provides editorial

   comments concerning her statements. The cited statements by Ms. Levine during an address to the

   Federation of State Medical Boards contains no evidence that the White House or any other

   Defendants threatened or pressured (or intend to threaten or pressure) any social media platform

   to censor speech, or that any social media company regarded (or acted on) communications by the

   White House or other Defendants as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2

          209. On July 8, 2022, the President signed an Executive Order on protecting access to
   abortion. Jones Decl., Ex. P, at 1.



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          RESPONSE: Undisputed but note that, on July 8, 2022, the President signed an Executive

   Order on protecting access to covers access to “reproductive healthcare services,” not just

   abortions. Jones Decl., Ex. P, at 1. This PFOF contains no evidence that the White House

   threatened or pressured (or intends to threaten or pressure) social media companies to censor

   speech, or that the companies regarded (or acted on) communications with the White House, or

   any other Defendants, as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2.

           210. Section 4(b)(iv) of the order states: “The Secretary of Health and Human Services
   shall, in consultation with the Attorney General and the Chair of the FTC, consider options to
   address deceptive or fraudulent practices related to reproductive healthcare services, including
   online, and to protect access to accurate information.” Id. This is a plain reference to the online
   advertising practices of pro-life pregnancy resources centers, which the President’s political allies
   were then attacking. Jones Decl., Ex. Q, at 1-2.

          RESPONSE: Disputed to the extent the PFOF states that the quoted language from the

   Executive Order is a “plain reference to the online advertising practices of pro-life pregnancy

   resource centers, which the President’s political allies were then attaching.” This characterization

   of the Executive Order and its impetus is unsupported by the cited documents. In addition, the

   regulation of deceptive and fraudulent commercial speech does not violate the First Amendment,

   and Plaintiffs do not contend otherwise. Any such argument would be foreclosed by Supreme

   Court and Fifth Circuit precedent. Gibson v., Texas Dep’t of Ins.-Div. of Workers’ Comp., 700

   F.3d 227, 234-35 (5th Cir. 2012) (“The Supreme Court has stated that laws aimed at prohibiting

   deceptive commercial speech are unlikely to implicate the prohibition on prior restraints.”)

   (quoting Friedman v. Rogers, 440 U.S. 1, 10 (1979)); Bates v. State Bar of Arizona, 433 U.S. 350,

   383 (1977) (“Advertising that is false, deceptive, or misleading of course is subject to restraint.”).

   This PFOF contains no evidence that the White House threatened or pressured (or intends to




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   threaten or pressure) social media companies to censor speech, or that the companies regarded (or

   acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 &

   II.B.1.b & II.B.2.

           211. On August 11, 2022, Flaherty emailed Twitter to dispute a note added by Twitter
   to one of President Biden’s tweets. Doc. 174-1, at 68. The subject line of Flaherty’s email was a
   link to a Tweet criticizing Twitter’s note: “Joe Weisenthal on Twitter: ‘Wow, this note that twitter
   added to Biden's tweet is pure gibberish. Imagine adding this, and thinking this is helpful to the
   public's understanding in any way.’” Id. Linking to a tweet about gas prices, Flaherty wrote:
   “Happy to connect you with some economists who can explain the basics to you guys.” Id.
   Flaherty copied Jesse Lee, Senior Advisor to the National Economic Council at the White House,
   on the email. Id.

          RESPONSE: Undisputed but note that the PFOF lacks context. The concern expressed by

   Mr. Flaherty was that Twitter affixed a “factually inaccurate” note to President Biden’s tweet and

   wanted Twitter to explain how this had happened. Dkt. 174-1 at 68-69. Also note that Mr. Lee is

   the Senior Communications Advisor to the National Economic Council. The cited email contains

   no evidence that the White House threatened or pressured (or intends to threaten or pressure)

   Twitter to censor speech, or that Twitter regarded (or acted on) the White House’s communications

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2


          III.   The Pressure Campaign from Surgeon General Murthy and His Office.

           212. Throughout 2021 and 2022, Surgeon General Vivek Murthy and his Office engaged
   in a pressure campaign in parallel with, and often overlapping with, the White House’s pressure
   campaign on social-media platforms. Surgeon General Murthy and his staff were often included
   in the same meetings and communications with White House officials and social-media platforms,
   and joined White House officials pressuring them to increase censorship in public and in private.

          RESPONSE: Disputed. Neither this PFOF, or any others, contain evidence that the

   Surgeon General, the Office of the Surgeon General (OSG), or the White House, are now or have

   ever been engaged, together or separately, in a “pressure campaign” against social-media platforms


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   to have them “increase censorship.” Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

      A.      The Surgeon General: Using the “Bully Pulpit” to Pressure Platforms.

         213. Eric Waldo is the Senior Advisor to the Surgeon General of the United States,
   Vivek Murthy, and was formerly a Chief Engagement Officer in the Office of the Surgeon General
   (“OSG”). Waldo Dep. 11:15-12:2.

           RESPONSE: Disputed. Mr. Waldo left OSG in January 2023. See Defs.’ Notice

   Regarding Substitution of Official-Capacity Defendants at 2 (“Notice of Substitution”) (Dkt. 263).

          214. As “the engagement team leader” for OSG, Waldo was “the one in charge of
   maintaining the contacts and the relationships with representatives of social media platforms.” Id.
   at 51:11-17.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s “bully pulpit” was used to threaten or pressure social-media companies to censor speech,

   or that the companies regarded (or acted on) communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           215. Dr. Murthy was directly involved in editing and approving the final work product
   of the Surgeon General’s Office, including the Surgeon General’s July 15, 2021 health advisory
   on misinformation and the Surgeon General’s March 3, 2022 RFI to social-media platforms. Id. at
   14:20-22, 15:16-19, 16:9-10, 17:1-6, 187:24-188:3.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s “bully pulpit” was used to threaten or pressure social-media companies to censor speech,

   or that the companies regarded (or acted on) communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           216. Calling for an “all-of-society approach” to misinformation was a pervasive theme
   of the Surgeon General’s communications, including the health advisory and the RFI. Id. at 19:25,




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   26:8, 88:9, 89:13, 101:2, 117:13, 122:15, 211:22, 246:25, 251:9, 332:22. This theme echoes the
   repeated call for an “all-of-society approach” in the Virality Project’s public report. See infra.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Surgeon General as

   “echo[ing]” the Virality Project’s public report. The Surgeon General’s Advisory predates the

   Virality Project’s report. See Defs.’ PFOF § II.B. This PFOF contains no evidence that the Surgeon

   General’s “bully pulpit” was used to threaten or pressure social-media companies to censor speech,

   or that the companies regarded (or acted on) communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

         217. Before the Surgeon General’s health advisory on misinformation was published on
   July 15, 2021, OSG and Waldo “did pre-rollout calls with Twitter, Facebook, [and]
   Google/YouTube.” Id. at 20:7-11.

          RESPONSE: Disputed. The call with Facebook occurred on July 16, 2021. See Waldo

   Dep. 90:6-19. Moreover, this PFOF contains no evidence that the Surgeon General’s “bully pulpit”

   was used to threaten or pressure social-media companies to censor speech, or that the companies

   regarded (or acted on) communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          218. The Surgeon General uses his “bully pulpit” to call for censorship of health
   misinformation: “Dr. Murthy continued from a communications perspective to talk about health
   misinformation using his bully pulpit.” Id. at 25:23-25.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes the Surgeon General

   as “call[ing] for censorship of health misinformation.” Neither the cited testimony nor the evidence

   as a whole supports the assertion that merely “talk[ing] about health misinformation” constituted

   a “call for censorship,” much less a threat or pressure to censor speech, or that social-media




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   companies regarded it (or acted on it) as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

            219. Waldo admits that the Surgeon General is directly advocating to social-media
   platforms to take stronger actions against health “misinformation”: “[T]he Surgeon General has
   the ability … to talk to the relevant stakeholders and say we want you to be aware of this issue and
   that we think you have a role to play to improve the health outcomes, yes.” Id. 28:10-14. As part
   of this role, the Surgeon General “call[s] out social media platforms in the [health] advisory.” Id.
   at 28:18-19.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes the Surgeon General

   as “directly advocating to social-media platforms.” The evidence does not support that inference;

   the full extent of Dr. Murthy’s direct communications about misinformation with platforms is

   described at Defs.’ PFOF § II.B. As shown therein, the record contains no evidence that the

   Surgeon General’s “bully pulpit” was used to threaten or pressure social-media companies to

   censor speech, or that the companies regarded (or acted on) communications by OSG as such. Id.

           220. The Surgeon General’s “bully pulpit,” Waldo agrees, involves putting public
   pressure on social-media platforms: “I think the bully pulpit … is really the fact that he commands
   attention, including being able to … speak with the press, speak with the public, and … we think
   of the Surgeon General as the nation's doctor.” Id. at 29:9-15.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes the Surgeon General

   as “putting public pressure on social-media platforms.” Mr. Waldo did not agree with that

   characterization, see Waldo Dep. 29:4-19, and the evidence does not support that inference, or that

   social-media companies regarded (or acted on) communications by OSG as such. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          221. A goal of the Surgeon General’s use of the “bully pulpit” includes to “reduce the
   dissemination of health misinformation.” Id. at 30:5-10. This includes making “recommendations
   of specific steps the social media platforms are … called out to take to reduce the spread of
   misinformation on the platforms.” Id. at 31:3-8.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes the Surgeon General’s

   communications as anything more than making non-binding recommendations to social media



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   platforms. The Advisory is the best evidence of what the Advisory says, and it contains no evidence

   that it was intended to threaten or pressure social-media companies to censor speech, or that the

   companies regarded (or acted on) the Advisory as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

           222. OSG reinforces its public “message of calling out the social media platforms to take
   steps to reduce the spread of misinformation on their platforms” through private communications
   with platforms: “[W]hat we're saying publicly, we’re also … said that privately to them as well.”
   Id. at 32:5-8, 12-14. This includes during “rollout calls.” Id. at 32:19-20.

           RESPONSE: This PFOF contains no evidence that OSG threatened or pressured social-

   media companies to censor speech, or that the companies regarded (or acted on) communications

   by OSG as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2. The cited testimony indicates only

   that the Advisory’s “message,” which is evident from the Advisory and the Surgeon General’s

   public statements, was echoed at a “high level” in private meetings between OSG and the

   companies. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

      B.       Surgeon General Works in Tandem with the White House and Virality Project.

            223. On the day of the health misinformation advisory rollout, July 15, 2021, “Press
   Secretary … Jen Psaki had already made remarks specifically about Facebook, and then,” the next
   day, “President Biden made his remarks that social media and Facebook were killing people.” Id.
   at 33:19-25. “Facebook … was upset about how the rollout had gone.” Id. at 33:6-8. Waldo’s
   initial rollout call with Facebook, as a result, was affected by the Administration’s public attacks
   on Facebook: “I wouldn't call it the most productive call.” Id. at 34:4-6.

           RESPONSE: Disputed to the extent this PFOF mischaracterizes the Press Secretary’s and

   the President’s remarks as “public attacks” by the Administration “on Facebook.” The PFOF also

   mischaracterizes Mr. Waldo’s testimony regarding the July 16, 2021, rollout call between OSG

   and Facebook. He did not testify (nor is there any other evidence) that the call was not “productive”




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   because of the Press Secretary’s or the President’s remarks. See Waldo Dep. 113:3-114:5 (OSG

   “didn’t think there was much change” that Facebook would make or that Facebook would be

   “transparent”). And this PFOF contains no evidence that the Surgeon General’s Advisory was used

   to threaten or pressure social-media companies to censor speech, or that the companies regarded

   (or acted on) the Advisory or other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           224. After this public pressure, Facebook’s senior executive, Nick Mr. Clegg, reached
   out to request “deescalat[ion]” and “work[ing] together” as a direct result of that public pressure
   on Facebook: “Then later, with our call, we had a call with Nick Mr. Clegg from Facebook, and at
   his request, and … his intentions were to sort of I think deescalate and just find ways that we could
   work together, given how Facebook … was treated in that rollout day.” Id. at 34:7-13.

          RESPONSE: Disputed. This PFOF contains unsupported mischaracterizations about

   “public pressure” on Facebook and unsupported assertions that Facebook contacted OSG as “a

   direct result of that public pressure.” Mr. Clegg’s requests for this meeting are in evidence; that

   evidence speaks for itself. See Waldo Exs. 17, 18; see also Defs.’ PFOF § II.B. In addition, this

   PFOF contains no evidence that the Surgeon General’s Advisory was used to threaten or pressure

   Facebook to censor speech, or that Facebook regarded (or acted on) the Advisory or other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          225. In the call with Nick Mr. Clegg, Surgeon General Murthy reiterated his demand for
   Facebook to do more to censor “misinformation” on its platforms: “[O] n the call with Nick Mr.
   Clegg, the Surgeon General did … reiterate the idea that, you know, as we described in the
   advisory, that we think there's more … that Facebook and other social media companies can do,
   and … we reiterated that.” Id. at 35:7-12.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the Surgeon

   General’s reiteration of the Advisory’s themes as a “demand” for “censor[ship].” There is no




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   evidence to support that characterization; the Advisory provides “recommendations.” See Defs.’

   PFOF § II.B. This PFOF also contains no evidence that the Surgeon General’s “bully pulpit” that

   Facebook regarded (or acted on) the Surgeon General’s remarks as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

            226. Murthy also asked Mr. Clegg and Facebook specific questions about requiring
   Facebook to share data with outside researchers about the scope and reach of misinformation on
   its platforms, again echoing the key recommendation of the Virality Project: “[T]he most specific
   questions were about understanding the data around the spread of misinformation and how we
   were measuring that, and … how we could have external researchers validate the spread of
   misinformation and -- and helping us as a field understand the depth of the problem.” Id. at 35:20-
   36:2.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes (i) the Surgeon

   General’s Advisory (or any of his communications) as “requiring” anything of companies and (ii)

   the Surgeon General as “echoing” the Virality Project. There is no evidence to support those

   characterizations. See Defs.’ Resps. to Pls.’ PFOF ¶ 225 (Advisory), ¶ 216 (Virality Project). In

   addition, this PFOF contains no evidence that the Surgeon General’s inquiries about data sharing

   were used to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted

   on) the Surgeon General’s inquiries as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           227. One such “external researcher” that OSG had in mind was “Renee DiResta, from
   the Stanford Internet Observatory,” a leading organization of the Virality Project, which hosted a
   “rollout event” for the advisory featuring Dr. Murthy on the day the advisory was announced. Id.
   at 36:19-23.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes OSG as having Ms.

   DiResta “in mind” or knowing at all about the Virality Project. When asked what “external

   researchers” meant, Waldo referred to the Advisory, see Waldo Dep. 36:7-16, which he was not

   involved in crafting, see Waldo Dep. 37:2-5. In addition, this PFOF contains no evidence that the



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   Surgeon General’s inquiries about data sharing were used to threaten or pressure Facebook to

   censor speech, or that Facebook regarded (or acted on) the Surgeon General’s inquiries as such.

   Any implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           228. Waldo admits that there was “coordination” between OSG and Renee DiResta of
   the Virality Project on the launch of the Surgeon General’s health advisory: “I know there was
   coordination with [DiResta] with respect to the launch … there was a panel, a public sort of virtual
   town hall that we hosted -- with the Sanford [sic] Internet Observatory that Dr. Murthy spoke at,
   and that was part of the launch day. So certainly there would have been coordination … with her.”
   Id. at 38:1-7.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes OSG as coordinating

   with the Virality Project. See Response to Pls.’ PFOF ¶ 216. This PFOF contains no evidence that

   the Surgeon General’s Advisory was used to threaten or pressure social-media companies to censor

   speech, or that the companies regarded (or acted on) the Advisory or any other communications

   by OSG as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          229. Kyla Fullenwider is the OSG’s key “subject matter expert” who “worked on the
   advisory” and had significant substantive input on both the Surgeon General’s July 15, 2021 health
   advisory on misinformation, and the Surgeon General’s March 3, 2022 RFI to social-media
   platforms on the spread of misinformation. Id. at 39:1-4, 59:16-23. Kyla Fullenwider is not a direct
   employee of the OSG, but works for a non-profit contractor named “US Digital Response,” Waldo
   Dep. 85:13-15.

          RESPONSE: Disputed. Fullenwider is an HHS employee. See Lesko Decl. ¶ 17 (Ex. 63).

   Also dispute the characterization of the Surgeon General’s RFI has having been issued “to social

   media platforms.” The RFI, which was published in the Federal Register, was issued to the general

   public. See Waldo Ex. 42.

          230. Kyla Fullenwider “did a follow-up call with Renee DiResta” about the health
   advisory. Id. at 38:25-39:4.




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          RESPONSE: Disputed. Waldo speculated that Fullenwider “maybe did a follow-up call

   with Renee after the event” at Stanford. Waldo Dep. 39:3-4. In any event, this PFOF contains no

   evidence that the Surgeon General’s Advisory was used to threaten or pressure social-media

   companies to censor speech, or that the companies regarded (or acted on) the Advisory or any

   other communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           231. After the launch of the health advisory, Waldo and Fullenwider “did a call” with
   Renee DiResta “that was more of a brainstorm around … public-facing events that we could do to
   talk about this issue” of stopping health misinformation. Id. at 40:13-17.

          RESPONSE: Disputed to the extent that this PFOF describes a call that is different from

   the call in Pls.’ PFOF ¶ 230. See Waldo Dep. 40:9-17. This PFOF also contains no evidence that

   the Surgeon General’s “bully pulpit” was used to threaten or pressure social-media companies to

   censor speech, or that the companies regarded (or acted on) communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           232.    Fullenwider and DiResta “most likely” discussed misinformation in these calls. Id.
   at 41:4-6.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s “bully pulpit” was used to threaten or pressure social-media companies to censor speech,

   or that the companies regarded (or acted on) communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           233. Waldo and OSG also received a briefing from the Center for Countering Digital
   Hate about the so-called “Disinformation Dozen.” Id. at 43:1-48:1. CCDH gave “a presentation
   about the Disinformation Dozen and sort of how they were measuring … that those were the folks
   primarily responsible for a lot of misinformation online.” Id. at 47:2-5.




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          RESPONSE: Disputed. Mr. Waldo could not remember the group that gave the

   presentation, which was given to HHS. Waldo Dep. 45:2-18. In addition, this PFOF contains no

   evidence that the Surgeon General’s “bully pulpit” was used to threaten or pressure social-media

   companies to censor speech, or that the companies regarded (or acted on) communications by OSG

   as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           234. Rafael Campos of OSG “helped create the event with … the Stanford Internet
   Observatory for the launch,” and likely had communications with Stanford and Professor DiResta
   in the lead-up to the event. Id. at 48:12-14, 49:1-2.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s “bully pulpit” was used to threaten or pressure social-media companies to censor speech,

   or that the companies regarded (or acted on) communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          235. The OSG anticipated that the social-media platforms would feel pressured by the
   advisory: “we didn't think they would be happy about this -- you know, the content of the
   advisory.” Id. at 54:24-55:1.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes Mr. Waldo as

   testifying that OSG “anticipated” that the platforms would “feel pressured” by the Advisory.

   Neither the cited passage nor any other portion of Mr. Waldo’s testimony supports that assertion.

   Nor does the evidence as a whole support the allegation that the Surgeon General’s Advisory was

   used to threaten or pressure social-media companies to censor speech, or that the companies

   regarded (or acted on) the Advisory or any other communications by OSG as such. See Defs.’

   PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

         236. Waldo is aware of “at least one call … that the Surgeon General [Murthy] had with
   Facebook during the transition,” i.e., between President Biden’s election and his assuming office.



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   Id. at 55:8-10. The call involved a “Facebook individual”: “Dr. Murthy had mentioned that he had
   been on a call with that person [from Facebook] during the transition.” Id. at 79:11-18, 56:5-6.
   Waldo identified the individual as “a data person from the Facebook team.” Id. at 56:10. The
   purpose of that call was “again, about that issue of trying to understand the reach of the mis- and
   disinformation and understanding … how far it was spreading.” Id. at 56:15-19.

          RESPONSE: Disputed to the extent that the PFOF suggests that Dr. Murthy had more

   than one call with Facebook during the transition. Mr. Waldo testified that Dr. Murthy had “at

   least one call” with Facebook before June 20, 2021, and he thought that call occurred during the

   transition. Waldo Dep. 55:2-17. In addition, this PFOF contains no evidence that the call, which

   concerned the “reach” and “spread” of mis- and disinformation, was used to threaten or pressure

   Facebook to censor speech, or that Facebook regarded (or acted on) on this or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           237. “Data about misinformation” was “a topic of conversation” in that call, and the
   participants discussed “Facebook” being “un[]clear” or “unable to present … the depth or reach of
   the misinformation, that they didn’t have that data.” Id. at 80:1-15.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the discussion

   concerning uncertainty about the “depth or reach of the misinformation” was used to threaten or

   pressure Facebook to censor speech, or that Facebook regarded (or acted on) on this or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           238. DJ Patil may have participated in that transitional call. Patil was the “chief data
   scientist in the Obama administration, and he was a special government employee at the White
   House for part of the first year” of the Biden Administration. Id. at 81:6-13. Patil was also “on the
   call with Dr. Murthy and [Waldo] and Nick Mr. Clegg … in his capacity as a White House
   official.” Id. at 81:24-82:3.

          RESPONSE: Undisputed.

          239. Waldo “connected [Patil] to another research data person … a Facebook data
   person.” Id. at 82:13-16.



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          RESPONSE: Undisputed. This occurred after the July 23, 2021 call between OSG and

   Facebook. See Waldo Dep. 82:9-16. Mr. Waldo was “not sure if they ever connected.” Id.

           240. The purpose of this follow-up was to demand more information from Facebook
   about monitoring the spread of misinformation on its platforms: “[T]he problem was we were still
   in this piece of not understanding the reach and depth … of the misinformation … on Facebook.
   And … this person was going to try to explain to [Patil] the data challenges in doing so.” Id. at
   83:4-9.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the follow-up as a

   “demand” rather than an attempt to “better understand” the “nature of the data,” as Mr. Waldo

   testified. Waldo Dep. 83:1-2. This PFOF also contains no evidence that the follow-up was used to

   threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on) on this or

   any other communications by OSG as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           241. Kyla Fullenwider is the “main” or key staffer for the OSG on misinformation and
   disinformation. Id. at 58:21-24. Ann Kim is listed on the OSG’s org chart, Waldo Ex. 2, as the
   person who “[d]irects mis- and dis-information engagement,” Waldo Ex. 2, but that is solely
   “because Kyla Fullenwider reported up to Ann Kim. And since Kyla, I think, was our main subject
   matter expert or continued to do work on mis- and disinformation, maybe that was why that was
   put under Anne's list of duties.” Waldo Dep. 58:20-24. Fullenwider, therefore, is the OSG’s “main
   subject matter expert” on “mis- and disinformation,” who “directs mis- and dis-information
   engagement” for the OSG. Id. at 58:13-59:7.

          RESPONSE: Disputed. Mr. Waldo testified that he was speculating on these issues,

   including the currentness of the organizational chart and whether Fullenwider was the “main”

   subject-matter expert on misinformation. See Waldo Dep. 58:17-24.

           242. Fullenwider works for the nonprofit U.S. Digital Response, and is not directly
   employed by the OSG, though she was acting in an official capacity on behalf of OSG. Waldo Ex.
   3, at 32; Waldo Dep. 85:10-86:8.

          RESPONSE: Disputed. See Resp. to Pls.’ PFOF ¶ 229.

          243. U.S. Digital Response is not a government agency but a non-profit organization:
   “U.S. Digital Response (USDR) is a nonprofit, nonpartisan organization that helps governments,



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   nonprofits, and public entities respond quickly to critical public needs.” About U.S. Digital
   Response,      U.S.     Digital     Response      (last     visited    Feb.    17,    2023),
   https://www.usdigitalresponse.org/about.

          RESPONSE: Undisputed.

           244. Ann Kim has no direct involvement in mis- and disinformation. Waldo Dep. 58:25-
   59:3. But Kyla Fullenwider “was definitely working on mis- and disinformation.” Id. at 59:6-7.
   Fullenwider “was working with Daniel [Tartakovsky] on the design of … the advisory. And then
   … Kyla was continuing to help us think about were there additional ways we might engage.” Id.
   at 59:12-15. Further, “Kyla … was the principal designer of options around follow-up with respect
   to data.” Id. at 59:16-18. And when “the Surgeon General's office put out an RFI around
   misinformation data” on March 3, 2022, “Kyla worked on that.” Id. at 59:18-22. Kyla “was the
   subject matter expert who was chiefly creating options for the Surgeon General … to consider
   how we would continue to … talk about mis- and disinformation with respect to data.” Id. at 60:6-
   10.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s Advisory or RFI was used to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the Advisory, RFI, or other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          245. Kyla Fullenwider also participated in the “rollout calls” to the social-media
   platforms announcing the Surgeon General’s health advisory on misinformation. Id. at 62:24-63:4.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Surgeon

   General’s Advisory or “rollout calls” were used to threaten or pressure social media companies to

   censor speech, or that social media companies regarded (or acted on) the Advisory, “rollout calls,”

   or other communications by OSG as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          246. Waldo was also “on some e-mails and at least one call with Rob Flaherty” when he
   “would communicate with Facebook.” Id. at 64:9-11. This included a call with Rob Flaherty and
   the OSG: “[B]efore our call with Nick Mr. Clegg, … I had a call with Rob.” Id. at 65:1-2. By
   then, Flaherty had been “separately communicating with Facebook,” and he was “giving us a
   heads-up on his experiences … in communicating with … Facebook.” Id. at 65:4-9.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that these

   communications were used to threaten or pressure Facebook to censor speech, or that Facebook

   regarded (or acted on) these or other communications as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

         247. In August 2021, Waldo joined a call with Rob Flaherty and Brian Rice of Facebook,
   who was in charge of Facebook’s relationship with federal officials. Id. at 66:10-14, 124:24-125:2.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes Brian Rice as being “in

   charge of Facebook’s relationship with federal officials.” Mr. Waldo testified that Mr. Rice was,

   “I think, the main sort of like staff level liaison.” Waldo Dep. 125:2-3. In any event, this PFOF

   contains no evidence that this call was used to threaten or pressure Facebook to censor speech, or

   that Facebook regarded (or acted on) this call or other communications as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          248. In that August 2021 call, “Brian Rice from Facebook had requested a call to give
   us an update on some sort of internal action they were doing. … Facebook had either found
   something or removed something and was letting us know about it.” Id. at 66:16-23.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that this call was

   used to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on)

   this call or other communications as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           249. Andy Mr. Slavitt of the White House also communicated with Nick Mr. Clegg. Id.
   at 67:14-21. When Andy Mr. Slavitt left the White House, he offered Surgeon General Murthy as
   a direct contact for Nick Mr. Clegg. Id. at 68:4-7.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that these contacts

   were used to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted



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   on) these or any other communications as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          250. In addition, “Dr. Murthy has certainly had conversations with Dr. Fauci.” Id. at
   69:21-22. Waldo claims that he does not know the nature of those conversations. Id. at 69:23-25.
   “Dr. Murthy would have directly communicated with Dr. Fauci, to my knowledge.” Id. at 70:13-
   15.

             RESPONSE: Disputed to the extent the PFOF implies Mr. Waldo did not testify truthfully

   (“Waldo claims…”). Defendants further note that this PFOF contains no evidence that any

   conversations between Dr. Murthy and Dr. Fauci had anything to do with misinformation or social

   media platforms.

             251.   Waldo is “certain that Dr. Murthy has connected” with Dr. Francis Collins. Id. at
   71:2-9.

             RESPONSE: Undisputed. Defendants further note that this PFOF contains no evidence

   that any communications between Dr. Murthy and Dr. Collins had anything to do with

   misinformation or social media platforms.

           252. Waldo was involved in collecting information to respond to Plaintiffs’
   interrogatories on behalf of OSG. Id. at 73:19-74:11.

             RESPONSE: Undisputed, except to clarify that Mr. Waldo may not have known that the

   information was being collected specifically to respond to Plaintiffs’ interrogatories in this case.

   See Waldo Dep. 73:11-74:1.

      C.        The Surgeon General Pressures Social-Media Platforms in Private.

           253. The first meeting with social-media platforms relating to misinformation that OSG
   identified in response to interrogatories was a brief introductory call with Nick Mr. Clegg on May
   25, 2021: “On May 25, 2021, from 4:30 to 5:00 pm ET, Dr. Vivek Murthy from OSG and Andy
   Mr. Slavitt from the White House met remotely with Nick Mr. Clegg from Facebook. The purpose
   of the call was to introduce Dr. Murthy to Mr. Clegg.” Waldo Ex. 3, at 32; see also Waldo Dep.
   78:24-79:10. The next meeting disclosed was the first “rollout call” relating to the advisory on July
   12, 2021. Waldo Ex. 3, at 32. As noted below, this interrogatory response failed to disclose several
   previous meetings between Dr. Murthy and Facebook.




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          RESPONSE: Disputed to the extent that this PFOF suggests that OSG’s response to

   Plaintiffs’ interrogatories was incomplete. Neither this PFOF, nor any others, contain any evidence

   that OSG has failed to identify meetings between OSG (including the time Dr. Murthy has served

   as Surgeon General) and Facebook that fits the parameters of Plaintiffs’ discovery requests. See

   also Lesko Decl. ¶ 12 (Ex. 63). And in any event, this PFOF contains no evidence that these

   meetings were used to threaten or pressure Facebook to censor speech, or that Facebook regarded

   (or acted on) these meetings or any other communications by OSG as such. Any implicit assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B,

   Arg. §§ II.B.1.c & II.B.2.

          254. OSG had pre-rollout calls with Twitter and YouTube on July 12 and July 14, 2021,
   and a rollout call with Facebook the day after the rollout on July 16, 2021. Id. at 32; Waldo Dep.
   85:10-90:5.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that these meetings

   were used to threaten or pressure social media companies to censor speech, or that social media

   companies regarded these meetings or any other communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          255. Kyla Fullenwider handled the substantive communications with the social-media
   platforms in the rollout calls; Waldo’s role was to “connect them to our subject matter expert.”
   Waldo Dep. 86:24-25.

          RESPONSE: Undisputed, except to clarify the ambiguous term “substantive

   communications”: Mr. Waldo testified that “Kyla would have walked them through the high-level

   view” of the Advisory. Waldo Dep. 86:20-21. In any event, this PFOF contains no evidence that

   these meetings were used to threaten or pressure social media companies to censor speech, or that

   social media companies regarded (or acted on) these meetings or any other communications by




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   OSG as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           256. The July 16 call with Facebook was “the same day” that President Biden stated of
   Facebook that “They’re killing people” by not censoring enough misinformation. Id. at 90:24,
   93:3-5.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the evidence in

   adding the phrase “by not censoring enough misinformation.” That is not supported by the cited

   deposition testimony or the quote from President Biden. See. Ex 45 at 2 (transcript of President

   Biden’s full quote). In any event, this PFOF contains no evidence that the July 16 meeting was

   used to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on)

   this meeting or any other communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          257. At that July 16 call, Kyla Fullenwider “was able, at a high level, to walk over the
   … recommendations section for … technology companies,” which demand greater censorship of
   misinformation. Id. at 91:14-16.

          RESPONSE: Disputed, to the extent that the PFOF mischaracterizes the Advisory’s

   recommendations as “demand[ing] greater censorship of misinformation.” The Advisory does no

   such thing. See Waldo Ex. 11 at 13. Moreover, the Advisory does not make “demands”—as the

   quoted deposition testimony shows, these were “recommendations,” and no PFOF (including this

   one) contains evidence that OSG made non-voluntary “demands” of a social media or technology

   company. In any event, this PFOF contains no evidence that the July 16 meeting or Advisory was

   used to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on)

   this meeting or any other communications by OSG as such. Any implicit assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

             258. The Facebook call “was definitely a slightly awkward call” because “President
   Biden made his comment about social media companies and Facebook killing people … right
   before, or even potentially during the call,” and Waldo observed that “the Facebook team looked
   a little sad.” Id. at 92:24-93:6.

          RESPONSE: Undisputed, with the caveat that Mr. Waldo clarified in his testimony that

   the President’s comment was not discussed during the call. Waldo Dep.93:7-9. He was thus

   speculating about whether the “Facebook team” was “sad” about the President’s comment. In any

   event, this PFOF contains no evidence that the July 16 meeting was used to threaten or pressure

   Facebook to censor speech, or that Facebook regarded (or acted on) this meeting or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          259. On July 23, 2021, Waldo, Dr. Murthy, and DJ Patil of the White House had a call
   with Nick Mr. Clegg and Brian Rice of Facebook. Waldo Ex. 3, at 32-33. Nick Mr. Clegg requested
   the meeting “to deescalate” and “reset the tone” because the “Facebook team were feeling … that
   they had been uniquely called out.” Waldo Dep. 95:4-13.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the July 23

   meeting was used to threaten or pressure Facebook to censor speech, or that Facebook regarded

   (or acted on) this meeting or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           260. After the meeting, Nick Mr. Clegg “did share definitely over e-mail more
   information about what they were doing to reduce mis- and disinformation, COVID mis- and
   disinformation on the platform.” Id. at 96:13-17.

          RESPONSE: Disputed to the extent that the cited deposition testimony does not support

   the PFOF’s characterization that information was shared “[a]fter the meeting.” Also disputed to




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   the extent that Mr. Waldo was recalling the contents of an e-mail that is in the record. See Waldo

   Ex. 19. The e-mail is the best evidence of what the e-mail said. Mr. Waldo was asked about

   documents in his deposition before being showed those documents; unsurprisingly, in his

   testimony he may have conflated two different emails. See Waldo Ex. 25; Waldo Ex. 21 at 1, 4-5.

   In any event, this PFOF contains no evidence that the July 23 meeting was used to threaten or

   pressure Facebook to censor speech, or that Facebook regarded (or acted on) this meeting or any

   other communications by OSG as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          261. There was also “a follow-up e-mail sometime the next couple of weeks where …
   Nick or Brian shared … here’s additional work we’re doing, here’s how we’re responding to the
   advisory.” Id. at 97:7-11.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the evidence by asserting

   that this “follow-up e-mail” was different from the e-mail described in Plaintiffs’ PFOF ¶ 260. Mr.

   Waldo testified that Nick Mr. Clegg sent one email on July 23, after his meeting with OSG, which

   was on week after OSG’s initial meeting with Facebook. Waldo Dep. 97:1-11. The e-mail, which

   is in the record, see Waldo Ex. 21 at 1, 4-5, is the best evidence of what the e-mail said. In any

   event, this PFOF contains no evidence that OSG meetings with Facebook were used to threaten or

   pressure Facebook to censor speech, or that Facebook regarded (or acted on) this meeting or any

   other communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          262. This follow-up email provided “a catalog of … both removal of misinformation
   and other steps to tamp down mis- and disinformation.” Id. at 97:16-22.

          RESPONSE: Undisputed, but see Defs. Response to PFOF ¶¶ 260-61.

          263. Waldo believes that these were “new steps that they had taken in the week or so
   since … they felt uniquely called out on July 15th and 16th.” Id. at 97:23-98:3. The email was in




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   response to a request from OSG “asking for, can you let us know, like, what you’re doing in
   addition” to combat misinformation, “and so this was responding to that.” Id. at 98:5-7.

          RESPONSE: Undisputed that the testimony reads as such. However, as discussed in

   Defendants’ response to PFOF ¶¶ 260-61, the PFOFs and deposition testimony conflate two

   different emails. See Waldo Ex. 25; Waldo Ex. 21 at 1, 4-5. The emails themselves are better

   evidence than Mr. Waldo’s recollection over a year later. In any event, this PFOF contains no

   evidence that the communications between OSG and Facebook were used to threaten or pressure

   Facebook to censor speech, or that Facebook regarded (or acted on) these communications or any

   other communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           264. On the July 23 call with Facebook, “Dr. Murthy raised the issue of wanting to have
   a better understanding of the reach of the mis- and disinformation on … the social media platform.”
   Id. at 98:19-22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the July 23

   meeting was used to threaten or pressure Facebook to censor speech, or that Facebook regarded

   (or acted on) this meeting or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

            265. Waldo likens the problem of mis- and disinformation on social media to “eating,
   like, a piece of uranium,” and compares misinformation to “cancer.” Id. at 99:1-101:8.

          RESPONSE: Disputed as a mischaracterization of the testimony. The testimony, read in

   full and in context, makes clear that the Surgeon General is “trying to understand not just the harm

   direction but the harm magnitude” such that the problem of misinformation could be like “eating

   a cookie or eating []a piece of uranium.” Waldo Dep. 99:1-8. Similarly, Mr. Waldo’s testimony is

   agnostic on whether the spread of misinformation is like “cancer”: “I mean, again, you might say




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   spread – you might learn, we don’t know, this is why you need research. We don’t know – you

   know, maybe actually there isn’t as much harm as we think, maybe the spread is actually not the

   problem. … I don’t know if spread is actually harmful.” Waldo Dep. 101:15-23. In any event, this

   PFOF contains no evidence that OSG threatened or pressured social media companies to censor

   speech, or that social media companies regarded (or acted on) any communications by OSG as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          266. The OSG’s health advisory advances the view that the spread of misinformation is
   “very harmful.” Id. at 101:24-102:7.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Advisory

   was used to threaten or pressure social media companies to censor speech, or that social media

   companies regarded (or acted on) the Advisory or any other communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           267. Waldo agrees that the health advisory “provides specific examples to technology
   companies what they could do more of to reduce the spread of health mis- and disinformation.”
   Id. at 104:16-18.

          RESPONSE: Undisputed. However, the Advisory is the best evidence of what the

   Advisory says. And in any event, this PFOF contains no evidence that the Advisory was used to

   threaten or pressure technology companies to censor speech, or that technology companies (or

   acted on) regarded the Advisory or any other communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          268. Waldo uses the word “poison” to describe health misinformation, as did Dr. Murthy
   in announcing the Health Advisory. Id. at 105:4; Waldo Ex. 10, at 2.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG threatened

   or pressured social media companies to censor speech, or that social media companies regarded

   (or acted on) any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          269. In the July 23, 2021 call with Nick Mr. Clegg, Dr. Murthy “didn’t retreat … from
   the message of the advisory, which explicitly calls for social media platforms to do more to control
   the reach of misinformation on their platforms,” and “continued … to discuss that message.”
   Waldo Dep. 107:21-108:5.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the July 23

   meeting was used to threaten or pressure Facebook to censor speech, or that Facebook regarded

   (or acted on) this meeting or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          270. In addition, in that call, the OSG asked Facebook to report back on “what they were
   doing in response to the advisory, if they were taking any actions.” Id. at 109:2-4.

          RESPONSE: Disputed as a mischaracterization of the testimony, which states that OSG

   asked Facebook “whether or not they would share what they were doing in response to the

   advisory.” Waldo Dep. 109:2-4. The fact that OSG did not assume that Facebook would share any

   information—and indeed, asked “whether” it would do so—affirmatively supports Defendants’

   assertion that the July 23 meeting was not used to threaten or pressure Facebook to censor speech,

   and that Facebook did not regard (or acted on) this meeting or any other communications by OSG

   as such. Plaintiffs’ implicit assertion otherwise is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          271.    In addition, Patil was “also asking the data impact questions.” Id. at 109:24.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that the July 23

   meeting was used to threaten or pressure Facebook to censor speech, or that Facebook regarded

   (or acted on) this meeting or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          272. OSG perceived that OSG’s and the White House’s public statements criticizing
   Facebook put economic pressure on Facebook, and that Facebook was engaging with Dr. Murthy
   to “keep Dr. Murthy from saying … any other things that might be viewed as bad for their
   business.” Id. at 113:13-15.

          RESPONSE: Disputed as a mischaracterization of the testimony. The quoted testimony

   speaks for itself and does not support Plaintiffs’ assertion that OSG “perceived that OSG’s and the

   White House’s public statements criticizing Facebook put economic pressure on Facebook.” Mr.

   Waldo testified that OSG declined to have further calls with Facebook because “we thought that

   it was just more of a PR stunt for them to meet with us to sort of keep Dr. Murthy from saying

   other – you know, any other things that might be viewed as bad for their business.” Waldo Dep.

   113:8-15. Mr. Waldo further testified that “there was a recognition that [OSG] didn’t think that

   there was much change that they were going to make in response to the []advisory … and we didn’t

   think they were going to be transparent with us about that.” Waldo Dep. 113:24-114:5. That

   testimony makes clear that Mr. Waldo’s point was to explain why OSG did not think it was a “good

   use of Dr. Murthy’s time” to engage with Facebook further. In sum, this PFOF contains no

   evidence that OSG threatened or pressured Facebook to censor speech, or that Facebook regarded

   (or acted on) any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.




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          273. Waldo agrees that the events of July 15 and July 16 put unique pressure on
   Facebook: “when you add the press conference remarks plus President Biden's remarks, it made it
   seem as though … there was more attention on Facebook.” Id. at 116:2-5.

          RESPONSE: Disputed as a mischaracterization of the testimony. The quoted testimony

   speaks for itself and does not support Plaintiffs’ assertion that “the events of July 15 and July 16

   put unique pressure on Facebook.” Mr. Waldo was asked whether he knew why there was “a focus

   on Facebook” in that July time frame. Waldo Dep. 113:19-22. He responded that he thought the

   “focus on Facebook” resulted from “random luck or bad luck” because Facebook “was raised at

   the press conference” and “in the President’s remarks” (which were made in response to a question

   about Facebook). Waldo Dep. 116:2-9. Mr. Waldo also testified that the Advisory “didn’t call out

   individual organizations” and that OSG did not believe there was a “problem of misinformation

   [that] was particularly acute on Facebook as compared to other platforms.” Waldo Dep. 116:5-16.

   He did not testify as to any “unique pressure.” This PFOF contains no evidence that OSG

   threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          274. The OSG’s “subject matter experts” – Kyla Fullenwider, Daniel Tartakovsky, and
   DJ Patil of the White House – believed that misinformation “was a problem across multiple
   platforms.” Id. at 116:15-16.

          RESPONSE: Undisputed, except to clarify that DJ Patil was not an employee of OSG or

   one of OSG’s “subject mater experts.” In any event, this PFOF contains no evidence that OSG

   threatened or pressured social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by OSG as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.




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          275. On July 30, 2022, Waldo had a meeting with Google and YouTube representatives,
   in which the representatives reported to OSG on what actions they were taking that were consistent
   with or in response to the health advisory: “The topics discussed included YouTube/Google
   following up on the announcement of the OSG Advisory to share more of the work it was doing
   around health mis- and disinformation.” Waldo Ex. 3, at 33.

          RESPONSE: Disputed as a mischaracterization of the evidence to the extent Plaintiffs

   assert “representatives reported to OSG on what actions they were taking that were consistent with

   or in response to the health advisory.” The quoted language, which speaks for itself, does not

   support that proposition. Moreover, Mr. Waldo testified as follows about the content of the

   meeting: “I don’t recall specifically, but [] the general tone was let us tell you what we’re doing

   about this issue. I didn’t – I didn’t get the impression that it was new things. I got the impression

   that it was work that they were already doing.” Waldo Dep. 120:10-15 (emphasis added); see also

   Waldo Dep. 121:15-25 (“I think I would remember [] if it was the something new.”). Thus, the

   evidence directly contradicts Plaintiffs’ characterization. In any event, this PFOF contains no

   evidence that OSG threatened or pressured Google/YouTube to censor speech, or that

   Google/YouTube regarded (or acted on) any communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           276. When the OSG’s health advisory issued, Twitter’s policy handle publicly endorsed
   the OSG’s call for greater censorship of health misinformation: “[T]he Twitter policy handle …
   either retweeted or quote tweeted and said something like, we agree. … [W]e do need an all-society
   approach, and here's what we're doing.” Waldo Dep. 122:11-16.

          RESPONSE: Disputed as a mischaracterization to the extent that Plaintiffs assert

   “Twitter’s policy handle publicly endorsed the OSG’s call for greater censorship of health

   misinformation.” The quoted testimony, which speaks for itself, says nothing about a “call for

   greater censorship,” and OSG made no such call “for greater censorship.” See Waldo Ex. 11 (OSG

   Advisory, which speaks for itself). Thus, this PFOF contains no evidence that the OSG Advisory



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   was used to threaten or pressure Twitter to censor speech, or that Twitter regarded (or acted on)

   the Advisory or any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

           277. On August 10, 2021, Waldo and Rob Flaherty had a call with Facebook in which
   Facebook reported back to federal officials on its actions to remove misinformation, including the
   details of “an operation [Facebook] uncovered that is related to vaccine misinformation.” Waldo
   Ex. 3, at 33 (alteration in original). According to Waldo, “Brian Rice had requested a call with me
   and Rob [Flaherty] and, during the call, flagged that Facebook … had done some sort of internal
   operation where … they discovered some misinformation pieces happening and had taken some
   corrective action.” Waldo Dep. 124:13-21.

          RESPONSE: Disputed as a mischaracterization of the evidence to the extent Plaintiffs

   assert Facebook “reported back.” Neither the quoted language from Defendants’ interrogatory

   responses (Waldo Ex. 3), the underlying email referenced in that response, see Ex. 182

   (MOLA_DEFSPROD_00007276), nor the deposition testimony supports the proposition that

   Facebook was “report[ing] back.” In any event, this PFOF contains no evidence that OSG

   threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           278. Brian Rice was Facebook’s “main … staff level liaison” with the federal officials.
   Id. at 125:2-3.

          RESPONSE: Undisputed.

          279. Facebook emailed Waldo and Flaherty “a COVID report list that had … some sort
   of report from Facebook on a biweekly basis.” Id. at 126:11-16.

          RESPONSE: Undisputed. However, there is no evidence that this report was the result of

   or reflective of efforts by OSG or other federal officials to threaten or pressure Facebook to censor

   speech, or that Facebook regarded (or acted on) any communications by OSG or other federal




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   officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          280. On September 14, 2021, Waldo had another meeting with Google/YouTube
   representatives, “to discuss a new policy we [YouTube] are working on as well as provide an
   update on our overall efforts to combat harmful COVID-19 misinformation on the platform.”
   Waldo Ex. 3, at 33. This was the “second update by [Google/Youtube] to [OSG] following the
   health advisory of stuff they’re doing to combat harmful COVID-19 misinformation through
   YouTube.” Waldo Dep. 129:7-12.

          RESPONSE: Disputed as a mischaracterization and incomplete account of the evidence

   to the extent Plaintiffs imply that “following the health advisory” means because of or in response

   to the health advisory. Mr. Waldo testified that he largely did not recall the topic of conversation

   and that the “new policy” could have been “unrelated” to misinformation. Waldo Dep. 129:24-

   130:16; see also Defs.’ Resp. to PFOF ¶ 275 (identifying Plaintiffs’ mischaracterization of a

   previous meeting, which Mr. Waldo explained involved Google/YouTube pre-existent efforts to

   combat misinformation). In any event, this PFOF contains no evidence that the OSG Advisory was

   used to threaten or pressure Google/YouTube to censor speech, or that Google/YouTube regarded

   (or acted on) the Advisory or any communications by OSG as such. Any implicit assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           281. On May 28, 2021, a few days after meeting with Andy Mr. Slavitt and Dr. Murthy
   for the first time (and almost two months before OSG issued the Health Advisory and had the
   related meetings with Waldo and others), Nick Mr. Clegg emailed Dr. Murthy and stated that, “[a]s
   promised,” he was sending a report of misinformation on Facebook. Waldo Ex. 4, at 1. Mr. Clegg
   also “highlighted a few policy updates we announced yesterday regarding repeat misinformation,”
   including “expand[ing] penalties for individual Facebook accounts that share misinformation,”
   “add[ing] more context about pages that repeatedly share false claims,” and “redesign[ing]
   notifications when they share content that a fact-checker later rates.” Id.

          RESPONSE: Disputed as a mischaracterization of the evidence, to the extent Plaintiffs

   state that Mr. Clegg was “sending a report of misinformation on Facebook.” The email, Waldo Ex.




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   4, reads: “As promised, I’m sending our latest report that includes topline performing posts for the

   weeks of 5/3-5/9 and 5/9-5/15.” In any event, this PFOF contains no evidence that OSG threatened

   or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          282. These “policy updates” about increasing censorship were announced on May 27,
   2021, two days after Nick Mr. Clegg’s meeting with Dr. Murthy and Andy Mr. Slavitt on May 25,
   2021. Waldo Dep. 138:2-7.

          RESPONSE: Disputed to the extent that Plaintiffs characterize the “policy updates” as

   pertaining to “increasing censorship.” None of the updates, which concerned content moderation

   policies to which all Facebook users had to agree, mentions “censorship” or even the removal of

   posts. Two of the three updates quoted in Waldo Ex. 4 make clear that content will remain

   accessible (“added context” and “redesigned notifications”), and the third is ambiguous as to what

   the “expand[ed] penalties” are. Defendants further note that the evidence does not establish that

   the policy updates were created or implemented after May 25, only that they were announced

   thereafter. The commonsense inference is that Facebook was working on these technical changes

   prior to the May 25 call. Moreover, although the Clegg e-mail notes that the policies were

   announced on May 27, they were actually announced on May 26, and they were not unique to

   health misinformation—Facebook announced cross-substantive policy changes that would address

   “false or misleading content about COVID-19 and vaccines, climate change, elections, or other

   topics.” Facebook, Taking Action Against People Who Repeatedly Share Misinformation, Meta

   (May 26, 2021), https://perma.cc/M75G-YQB8. Thus, this PFOF contains no evidence that OSG

   or other federal officials threatened or pressured Facebook to censor speech, or that Facebook

   regarded (or acted on) any communications by OSG or other federal officials as such. Any implicit




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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           283. Mr. Clegg plainly indicated that there had been prior conversations in which Mr.
   Slavitt and Dr. Murthy had demanded “defensive work” to remove misinformation: “We’re . . .
   committed to addressing the defensive work around misinformation that you’ve called on us to
   address.” Waldo Ex. 4, at 2. These prior conversations were not disclosed in OSG’s responses to
   interrogatories, which noted the first meeting with Dr. Murthy was a mere introductory meeting
   with Mr. Clegg on May 25, 2021. Waldo Ex. 3, at 32.

          RESPONSE: Disputed as a mischaracterization of the evidence to the extent Plaintiffs

   assume that “there had been prior conversations in which Mr. Slavitt and Dr. Murthy had

   demanded ‘defensive work’ to remove misinformation.” (Emphasis added). First, the statement

   does not establish that these conversations involved Mr. Slavitt and Dr. Murthy. See Defs.’ Resp.

   to PFOF ¶ 249 (making clear that Mr. Slavitt had been in prior contact with Mr. Clegg, and that

   he introduced Dr. Murthy as a contact upon leaving the White House). This refutes Plaintiffs’

   incorrect suggestion that OSG’s responses to Plaintiffs’ interrogatories were incomplete. See also

   Defs. Resp. to PFOF ¶ 253. Second, the cited email from Facebook does not say that Mr. Slavitt

   (or any other federal official) “demanded” “defensive work.” It says (somewhat confusingly):

   “We’re also committed to addressing the defensive work around misinformation that you’ve called

   on us to address.” Waldo Ex. 4. In any event, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          284. On June 14, 2021, Nick Mr. Clegg emailed Dr. Murthy another (“the latest”)
   “Facebook bi-weekly covid content report,” which he indicated was “as promised/discussed,” and
   offered “[a]s always” to “jump on a call at any point … to delve into any further details as needed.”
   Waldo Ex. 5, at 1.




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          RESPONSE: Undisputed, except to note that Mr. Clegg’s email was dated June 12, 2021.

   However, there is no evidence that this report was the result of or reflective of efforts by OSG to

   threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          285. The “Facebook bi-weekly covid content report,” id., contained a report of “the most
   engaged posts … with respect to both accurate and inaccurate information.” Waldo Dep. 140:8-
   10. Rob Flaherty of the White House also received these reports. Id. at 140:21-24.

          RESPONSE: Undisputed. However, there is no evidence that this report was the result of

   or reflective of efforts by OSG or other federal officials to threaten or pressure Facebook to censor

   speech, or that Facebook regarded (or acted on) any communications by OSG or other federal

   officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           286. Waldo admits that Facebook sending these biweekly reports to Dr. Murthy and
   Flaherty “had preexisted” and “predates the meeting” on May 25, 2021 – further indicating that
   OSG failed to disclose key meetings between Dr. Murthy and social media platforms in its
   interrogatory responses. Id. at 142:10-11.

          RESPONSE: Disputed as a mischaracterization of the evidence. Read in context, it is clear

   that Mr. Waldo is testifying that the reports existed prior to May 25, not that they were sent to Dr.

   Murthy prior to May 25. See Waldo Dep. 142:8-11. Mr. Waldo testified “based on just a plain

   reading” of the email (Waldo Ex. 5), which says nothing about when Mr. Clegg started sending

   the reports to Dr. Murthy or OSG, but instead just makes clear that the reports are “bi-weekly”

   (which raises the inference that they were likely in existence more than the couple of weeks

   between May 25 and June 12, when the email was sent). Again, as explained throughout, Plaintiffs

   are wrong that OSG’s interrogatory responses are incomplete. See also Defs.’ Resp. to PFOF

   ¶ 253. In addition, the question asked by Plaintiffs’ counsel was ambiguous—for example, it did



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   not specify that he was asking about when Dr. Murthy was sent the reports, as opposed to other

   federal officials or Mr. Slavitt. And having failed to seek clarification of the witness’s answer,

   Plaintiffs cannot now rely on that answer to support a proposition to which it does not speak. In

   any event, there is no evidence that these reports were the result of or reflective of efforts by OSG

   or other federal officials to threaten or pressure Facebook to censor speech, or that Facebook

   regarded (or acted on) any communications by OSG or other federal officials as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           287. On July 6, 2021, Waldo emailed contacts at Twitter to set up the “rollout call”
   before the health advisory and stated: “As you know, one of the issues Dr. Murthy has been
   thinking about is how to help stop the spread of health misinformation as we continue to tackle
   COVID19 and beyond. I know you and your teams are working hard and thinking deeply about
   this issue. We’d love to chat over zoom to connect and discuss what’s on the horizon for our
   teams.” Waldo Ex. 6, at 2; Waldo Dep. 145:15-146:22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG threatened

   or pressured Twitter to censor speech, or that Twitter regarded (or acted on) any communications

   by OSG as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           288. On July 6, 2021, Waldo sent an identical email to Facebook. Waldo Ex. 7, at 3-4.
   The purpose of these emails was to set up calls to announce the Surgeon General’s forthcoming
   health advisory on misinformation. Waldo Dep. 149:11-16. Because of scheduling conflicts, the
   “rollout call” with Facebook was not scheduled until July 16, the day after the advisory was
   announced and the same day President Biden stated of Facebook that “they’re killing people.” Id.
   at 149:11-17.

          RESPONSE: Undisputed, except to the extent that the PFOF mischaracterizes President

   Biden as “stat[ing] of Facebook that ‘they’re killing people.’” See Defs.’ PFOF § II.A; Ex 45 at ;

   see also Ex. 43 at 2-3 (President Biden clarifying his previous comment). However, this PFOF

   contains no evidence that OSG threatened or pressured Facebook to censor speech, or that




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   Facebook regarded (or acted on) any communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          289. On July 6, 2021, Waldo also sent an email to YouTube with a similar statement to
   set up a rollout call with YouTube. Waldo Ex. 8, at 3. Waldo’s emails make clear that OSG’s
   message and purpose was to “stop the spread of misinformation” on social-media platforms. Id.

          RESPONSE: Disputed as a mischaracterization of the evidence. First, the purpose of the

   email was to “connect[] with people at Google, slash, YouTube.” Waldo Dep. 151:7-11. Second,

   this email (and the emails cited in previous exhibits), which speaks for itself, did not “make clear

   that OSG’s message and purpose was to ‘stop the spread of misinformation’ on social-media

   platforms” to the extent Plaintiffs are implying that OSG’s message and purpose was demanding

   censorship. The email states: “As you know, one of the issues Dr. Murthy has been thinking about

   is how to help stop the spread of health misinformation as we continue to tackle COVID19 and

   beyond.” Waldo Ex. 8 at 3. Mr. Waldo described that call as “giving [Google/YouTube] a high-

   level update that we’re going to have this advisory come out and that we want them to take a look

   at it.” Waldo Dep. 153:24-154:1. In any event, this PFOF contains no evidence that OSG

   threatened or pressured Google/YouTube to censor speech, or that Google/YouTube regarded (or

   acted on) any communications by OSG as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          290. In these calls, “we had Kyla [Fullenwider] on the call and giving them a high-level
   update that we’re going to have this advisory come out and that we want them to take a look at it.”
   Waldo Dep. 153:23-154:1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used these

   calls to threaten or pressure social media companies to censor speech, or that social media

   companies regarded (or acted on) these calls or any other communications by OSG as such. Any




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   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           291. On July 10, 2021, Nick Mr. Clegg emailed Dr. Murthy, attaching another bi-weekly
   Covid content report, and stated, “I understand ... that my team is meeting with yours next week
   to delve deeper into our [C]ovid misinformation efforts.” Waldo Ex. 9, at 1. Waldo understands
   that this refers to the July 16 rollout meeting. Waldo Dep. 155:12-18.

          RESPONSE: Undisputed. Defendants further note that Mr. Clegg’s email makes clear that

   Facebook’s “misinformation efforts” were Facebook’s (“our”) own, and that they preceded the

   Advisory. See also Waldo Dep. 157:15-16 (Plaintiffs’ counsel understanding the email to refer to

   “Facebook’s COVID misinformation efforts” (emphasis added)). Thus, this PFOF contains no

   evidence that OSG threatened or pressured Facebook to censor speech, or that Facebook regarded

   (or acted on) any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          292. In the July 16, 2021 meeting with Facebook, Kyla Fullenwider went over the
   advisory, and then “asked additional questions … related to Facebook’s efforts to combat health
   misinformation,” including “some questions about, again, the research side.… [S]ome questions
   came up about CrowdTangle, if I recall correctly which was a … data port for … some ways to
   understand the Facebook, again, impact and research of the misinformation.” Id. at 157:21-159:9.

          RESPONSE: Undisputed, except to note that Mr. Waldo qualified his testimony due to

   lack of definitive recollection (“I think”; “I’m not exactly positive”). In any event, this PFOF

   contains no evidence that OSG used the July 16, 2021 meeting to threaten or pressure Facebook

   to censor speech, or that Facebook regarded (or acted on) this meeting or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.




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      D.      The Surgeon General’s Public Pressure Campaign.

          293. On July 15, 2021, Dr. Murthy participated in a White House press conference with
   White House Press Secretary Jennifer Psaki to announce the Surgeon General’s Health Advisory
   on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday, he published an
   advisory on health misinformation as an urgent public health crisis.” Id. at 1.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that the press

   conference or Advisory was used to threaten or pressure social media companies to censor speech,

   or that social media companies regarded (or acted on) the press conference, Advisory or any other

   communications as such. Any implicit assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           294. At the press conference, Dr. Murthy described misinformation as “one of the
   biggest obstacles that’s preventing us from ending this pandemic,” and stated: “Today, I issued a
   Surgeon General’s Advisory on the dangers of health misinformation. Surgeon General Advisories
   are reserved for urgent public health threats…. [T]oday we live in a world where misinformation
   poses an imminent and insidious threat to our nation’s health.” Id. at 2. He stated that
   “misinformation takes away our freedom to make informed decisions about our health and the
   health of our loved ones.” Id. at 2.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used this

   press conference or the Advisory to threaten or pressure social media companies to censor speech,

   or that social media companies regarded (or acted on) the press conference, Advisory, or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           295. Dr. Murthy’s definition of “misinformation” incorporates the notion that the
   definition changes over time: “Health misinformation is false, inaccurate, or misleading
   information about health, according to the best evidence at the time.” Id. at 2. Waldo agrees that
   this definition “contemplate[s] that what constitutes misinformation might change over time,” and
   that “something that we now think is misinformation may later turn out to be accurate information
   … [a]nd vice versa.” Waldo Dep. 164:17-165:7.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used this

   press conference or the Advisory to threaten or pressure social media companies to censor speech,




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   or that social media companies regarded (or acted on) the press conference, Advisory, or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           296. Dr. Murthy stated that those who question mask mandates and decline vaccination
   are following misinformation: “During the COVID 19 pandemic, health misinformation has led
   people to resist wearing masks in high-risk settings. It’s led them to turn down proven treatments
   and to choose not to get vaccinated. This has led to avoidable illnesses and death. Simply put,
   health [mis]information has cost us lives.” Waldo Ex. 10, at 2.

          RESPONSE: Disputed as a mischaracterization of the evidence. The quoted language,

   which speaks for itself, does not state that “those who question mask mandates and decline

   vaccination are following misinformation.” In any event, this PFOF contains no evidence that OSG

   used this press conference or the Advisory to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the press conference, Advisory, or

   any other communications by OSG as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          297. Dr. Murthy placed specific blame on social-media platforms for the spread of
   misinformation: “Now, health misinformation didn’t start with COVID-19. What’s different now,
   though, is the speed and scale at which health misinformation is spreading. Modern technology
   companies have enabled misinformation to poison our information environment with little
   accountability to their users. They’ve allowed people who intentionally spread misinformation —
   what we call ‘disinformation’ — to have extraordinary reach.” Id. at 2. Dr. Murthy described
   social-media companies as enabling the spread of “poison” in our “information environment.” Id.

          RESPONSE: Undisputed except to observe that the Advisory and press conference

   explicitly call for an “all-of-society approach” with “recommendations for everyone,” Waldo Ex.

   10 at 2, which includes but is not limited to social-media platforms. In any event, this PFOF

   contains no evidence that OSG used this press conference or the Advisory to threaten or pressure

   social media companies to censor speech, or that social media companies regarded (or acted on)

   the press conference, Advisory, or any other communications by OSG as such. Any implicit




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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           298. He blamed the platforms’ algorithms and features for the spread as well: “They’ve
   designed product features, such as ‘Like’ buttons, that reward us for sharing emotionally charged
   content, not accurate content. And their algorithms tend to give us more of what we click on,
   pulling us deeper and deeper into a well of misinformation.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used this

   press conference or the Advisory to threaten or pressure social media companies to censor speech,

   or that social media companies regarded (or acted on) the press conference, Advisory, or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           299.   Echoing the language of the Virality Project, Dr. Murthy stated, “we need an all-
   of-society approach to fight misinformation.” Id. at 2.

          RESPONSE: Disputed to the extent the Plaintiffs assert that Dr. Murthy’s statement

   “echo[ed] the language of the Virality Project.” No evidence is cited for that assertion, and the

   Virality Project report that Plaintiffs rely on, Waldo Ex. 28, post-dates the press conference by the

   better part of a year (April 2022 versus July 2021). In any event, this PFOF contains no evidence

   that OSG used this press conference or the Advisory to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the press

   conference, Advisory, or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          300. Dr. Murthy announced: “we’re saying we expect more from our technology
   companies. We’re asking them to operate with greater transparency and accountability. We’re
   asking them to monitor misinformation more closely. We’re asking them to consistently take
   action against misinformation super-spreaders on their platforms.” Id. at 3. Both the call for
   “transparency and accountability” and the request for increased monitoring and greater censorship
   of “super-spreaders” mirror the Virality Project report. See infra.



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          RESPONSE: Disputed to the extent Plaintiffs assert that Dr. Murthy’s statements “mirror

   the Virality Project report.” No evidence is specifically cited for that assertion (Plaintiffs’ “infra”

   cross-reference is insufficiently specific, and any assertions will be addressed in Defendants’

   responses to the relevant PFOFs), and the Virality Project report that Plaintiffs rely on, Waldo Ex.

   28, post-dates the press conference by the better part of a year (April 2022 versus July 2021).

   Furthermore, the statement, which speaks for itself, does not “request” “greater censorship of

   ‘super-spreaders.’” Defendants further state that the quoted language is only one of six points that

   Dr. Murthy made at this portion of the press conference; read in context, it is clear that neither Dr.

   Murthy’s press conference statements nor the Advisory are solely focused on technology

   companies. See Waldo Ex. 28 at 3. In any event, this PFOF contains no evidence that OSG used

   this press conference or the Advisory to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the press conference, Advisory, or

   any other communications by OSG as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          301. Both Dr. Murthy’s public statements and his health advisory repeatedly use the
   word “accountable” and “accountability” to refer to the social-media platforms—again, echoing
   the Virality Project report. See id. at 2, 3, 5; Waldo Ex. 11, at 14, 16.

          RESPONSE: Disputed as a mischaracterization of the evidence. Some of the uses of

   “accountable” are not references solely (or at all) to social media platforms. See Waldo Ex. 10 at

   5 (“[A]ll of us have to ask: How we can be more accountable and responsible for the information

   that we share?”); Waldo Ex. 11 at 16 (“We need institutions to recognize that this issue is their

   moral and civic responsibility, too, and that they are accountable.”). And again, Plaintiffs wrongly

   assert that the statements and Advisory “echo[] the Virality Project”: No evidence is cited for that

   assertion, and the Virality Project report, Waldo Ex. 28, post-dates the press conference and



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   Advisory by nearly a year (April 2022 versus July 2021). In any event, this PFOF contains no

   evidence that OSG used this press conference or the Advisory to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the press

   conference, Advisory, or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          302. Waldo agrees that the word “accountable” carries with it the threat of
   consequences; he concedes that “accountability includes accepting the consequences for when you
   do something wrong … or inappropriate.” Waldo Dep. 171:4-8. Thus, the OSG’s repeated
   reference to holding social-media platforms “accountable” entails an implied threat of adverse
   consequences if the platforms do not censor more health misinformation. See id.

          RESPONSE: Disputed as a mischaracterization of the testimony. First, Mr. Waldo did not

   agree that the definition of “accountable” carries any “threat.” Second, the quoted definition of

   “accountable” was supplied by Plaintiffs’ counsel, see Waldo Dep. 171:4-6 (“Q: Does

   accountability include accepting the consequences for when you do something wrong or

   inappropriate?”), and Mr. Waldo responded that “that’s a fair and modern use of the word

   accountable,” id. at 171:7-8. In the specific context of the Surgeon General’s Advisory, however,

   Mr. Waldo testified to his view that “accountability” means “accountability to the . . . public around

   this public health emergency.” Id. at 175:5-11. Thus, this PFOF contains no evidence that OSG

   threatened or pressured social media companies to censor speech, or that social media companies

   regarded any communications (or acted on) by OSG as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

            303. The Surgeon General’s use of the word “accountable” also echoes the repeated use
   of the word “accountable” by elected federal officials, including President Biden and his political
   allies, to threaten adverse legal consequences against social-media platforms if they do not increase
   censorship of disfavored speakers, speech, and viewpoints. See, e.g., Jones Decl., Ex. R (quoting



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   White House Communications Director Kate Bedingfield: “We’re reviewing [amending Section
   230 of the Communications Decency Act], and certainly [the social media companies] should be
   held accountable. I think you’ve heard the president speak very aggressively about this.”).

          RESPONSE: Disputed as unsupported by the cited evidence. This PFOF cites to a single

   instance of a statement by a White House official, not “repeated use of the word ‘accountable.’”

   Moreover, in the cited interview, the White House Communications Director was asked whether

   the President would support amending Section 230 so as to “hold the [social media companies]

   accountable in a real way,” and she demurred on the Section 230 question while noting that

   “certainly [the companies] should be held accountable.” Ex. 46 at 5. However, on July 19, 2021,

   President Biden clarified the meaning of “accountable:” “When you say hold accountable, I just

   want to – I’m not trying to hold people accountable. I’m trying to make people look at themselves,

   look in the mirror, think about that misinformation going to your son, your daughter, your relatives,

   someone you love. That’s all I’m asking.” Ex. 43 at 3. Moreover, this PFOF cites no evidence to

   support the proposition that the Surgeon General’s use of the word “accountable” “echoes” the use

   of the word by other “elected federal officials,” in the sense of intentionally choosing to repeat that

   word because it has been previously used. In addition, the cited evidence says nothing about OSG

   (or other federal officials) seeking to have social media platforms “increase censorship of

   disfavored speakers, speech, and viewpoints.” In short, Plaintiffs characterization of written

   statements—which speak for themselves—is unsupported. Thus, this PFOF contains no evidence

   that OSG or any other federal official threatened or pressured social media companies to censor

   speech, or that social media companies regarded (or acted on) any communications by OSG or

   other federal official as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           304. Waldo agrees that Murthy’s comments entail that “there’s an obligation … or
   certainly an imperative to do more. So … not only stop but reduce or take some sort of mitigating



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   efforts so that the misinformation and disinformation is not leading to poor health results for
   people.” Waldo Dep. 172:21-173:1.

          RESPONSE: Disputed to the extent Plaintiffs imply that “obligation” or “imperative,” as

   used in this context, means a legally binding obligation as opposed to a voluntary, but moral,

   imperative. OSG has no regulatory or enforcement authority, both generally and with respect to

   social media platforms. Lesko Decl. ¶ 3 (Ex. 63). On its face, the Advisory contains non-binding

   recommendations for technology companies—and others—that do not constitute an obligation.

   See, e.g., Waldo Ex. 11 at 12; Waldo Ex. 10 at 2 (Dr. Murthy stating at press conference, “And

   that’s why this advisory that I issued today has recommendations for everyone.”). Thus, this PFOF

   contains no evidence that “Dr. Murthy’s comments” threatened or pressured social media

   companies to censor speech, or that social media companies regarded (or acted on) this or any

   other statements by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           305. Dr. Murthy’s call for greater “transparency” is a call for platforms to engage in the
   kind of data-sharing that Dr. Murthy, Rob Flaherty, DJ Patil, and Kyla Fullenwider, among others,
   demanded in private meetings with Facebook. Id. at 174:15-23. Again, this echoes the key
   recommendation of the Virality Project.

          RESPONSE: Disputed. First, this PFOF mischaracterizes this testimony to the extent that

   it states OSG and other federal officials “demanded” data-sharing. Plaintiffs’ counsel’s own

   questions belie that characterization: “We’re asking them to do things” (Waldo Dep. 174:12-13)

   and “data sharing[] was raised in these private calls” (Id. at 174:17-18) (emphases added). Second,

   the PFOF cites no evidence for the proposition that Dr. Murthy’s comments “echoes the key

   recommendation of the Virality Project”; in any event, as explained above, the Virality Project

   report that Plaintiffs rely on post-dates the Advisory and July press conference by the better part

   of a year. In short, this PFOF contains no evidence that “Dr. Murthy’s call for greater




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   ‘transparency’” threatened or pressured social media companies to censor speech, or that social

   media companies regarded (or acted on) this or any other statements or communications by OSG

   or other federal officials as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           306. Waldo agrees that Dr. Murthy’s call for greater “accountability” includes a demand
   to “take more proactive steps to stop the spread of misinformation.” Id. at 176:1-4.

          RESPONSE: Disputed as a mischaracterization of the testimony to the extent it frames

   Dr. Murthy’s statement as a “demand.” Plaintiffs’ counsel’s question reads: “In other words, we’re

   asking them to take more proactive steps…” Waldo Dep. 176:1-3 (emphasis added). In any event,

   this PFOF contains no evidence that “Dr. Murthy’s call for greater ‘accountability’” threatened or

   pressured social media companies to censor speech, or that social media companies regarded (or

   acted on) this or any other statements or communications by OSG or other federal officials as such.

   Any implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           307. Dr. Murthy also demanded that the platforms do “much, much more” and “take
   aggressive action” against misinformation: “We know that the dramatic increase in the speed —
   speed and scale of spreading misinformation has, in part, been enabled by these platforms. So
   that’s why in this advisory today, we are asking them to step up. We know they have taken some
   steps to address misinformation, but much, much more has to be done. And we can’t wait longer
   for them to take aggressive action because it’s costing people their lives.” Waldo Ex. 10, at 5.

          RESPONSE: Disputed as a mischaracterization of the testimony to the extent it frames

   Dr. Murthy’s statement as a “demand.” The quoted language, which speaks for itself, says “we are

   asking them to step up” (emphasis added). And the Advisory contains non-binding

   recommendations, not “demands.” See Defs.’ PFOF § II.B. In any event, this PFOF contains no

   evidence that OSG used this press conference or the Advisory to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the press




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   conference, Advisory, or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          308. Dr. Murthy also stated that platforms “have to do more to reduce the
   misinformation that’s out there so that the true voices of experts can shine through.” Id. at 6.

          RESPONSE: Undisputed. In any event, this PFOF contains no evidence that OSG used

   this press conference or the Advisory to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the press conference, Advisory, or

   any other communications by OSG as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          309. After the advisory, OSG asked Facebook, Google/YouTube, and Twitter “as a
   follow-up what actions they might have taken in response to the advisory.” Waldo Dep. 181:15-
   21.

          RESPONSE: Undisputed, except to clarify that Mr. Waldo testified “I think [we asked]

   Facebook and Twitter, maybe Google.” Waldo Dep. 181:19-20. However, this PFOF contains no

   evidence that OSG used the Advisory to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the Advisory, or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           310. At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in
   regular touch with these social media platforms, and those engagements typically happen through
   members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that federal officials

   pressured or threatened social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by federal officials as such. Any implicit assertion to




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   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

   §§ I.B.1 & II.B.1.b & II.B.2.

           311. Psaki stated: “We’ve increased disinformation research and tracking within the
   Surgeon General’s office. We’re flagging problematic posts for Facebook that spread
   disinformation.” Id.

          RESPONSE: Undisputed, with the caveat that Mr. Waldo testified that he did not “know

   what [Ms. Psaki was] referring to,” but it most likely meant the “research done by the policy team

   in the creation of the advisory.” Waldo Dep. 186:5-19. He was “not familiar with any . . . increase

   in tracking” of “disinformation.” Id. at 186:18-19. In any event, this PFOF contains no evidence

   that OSG or other federal officials pressured or threatened social media companies to censor

   speech, or that social media companies regarded (or acted on) any communications by OSG or

   other federal officials as such. Any implicit assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White

   House); Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2 (Surgeon General).

          312. “Regarding the Administration’s “asks” to social-media platforms, Psaki stated:
   “There are also proposed changes that we have made to social media platforms, including
   Facebook, and those specifically are four key steps: One, that they measure and publicly share the
   impact of misinformation on their platform. Facebook should provide, publicly and transparently,
   data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the
   reach of the misinformation and the audience that it’s reaching.” Id. at 11. Again, this echoes the
   key recommendation of the Virality Project report. It also echoes Dr. Murthy’s call for
   “transparency” and the repeated private demands that Facebook give external researchers like
   Renee DiResta of the Virality Project access to its internal data. Waldo Dep. 191:17-21.

          RESPONSE: Disputed as a mischaracterization of, and unsupported by, the cited

   evidence. First, to the extent “echo” implies intentionally repeating a prior statement, the PFOF

   makes no sense: the Virality Project report post-dated the press conference by the better part of a

   year (April 2022 vs. July 2021). Second, the cited portion of Mr. Waldo’s deposition says nothing

   about “repeated private demands that Facebook give external researchers like Renee DiResta of




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   the Virality Project access to its internal data.” In short, this PFOF contains no evidence that OSG

   or other federal officials pressured or threatened Facebook to censor speech, or that Facebook

   regarded (or acted on) any communications by OSG or other federal officials as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House); Defs.’ PFOF § II.B, Arg. §§ II.B.1.c &

   II.B.2 (Surgeon General).

           313. Psaki also stated: “Second, that we have recommended — proposed that they create
   a robust enforcement strategy that bridges their properties and provides transparency about the
   rules. So, about — I think this was a question asked before — there’s about 12 people who are
   producing 65 percent of anti-vaccine misinformation on social media platforms All of them remain
   active on Facebook, despite some even being banned on other platforms, including Facebook —
   ones that Facebook owns.” Waldo Ex. 10, at 11.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that federal officials

   pressured or threatened social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

   §§ I.B.1 & II.B.1.b & II.B.2.

          314. Psaki stated: “Third, it’s important to take faster action against harmful posts. As
   you all know, information travels quite quickly on social media platforms; sometimes it’s not
   accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts
   that will be within their policies for removal often remain up for days. That’s too long. The
   information spreads too quickly.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that federal officials

   pressured or threatened social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

   §§ I.B.1 & II.B.1.b & II.B.2.




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           315. Waldo agrees that the Surgeon General’s advisory calls for platforms to “move
   faster” and take “more aggressive” action against supposed misinformation. Waldo Dep. 194:20-
   21.

          RESPONSE: Disputed to the extent the PFOF says “against supposed misinformation.”

   Plaintiffs’ counsel’s question in the deposition referred to “harmful posts” and Mr. Waldo

   answered: “I don't recall that level of specificity within the advisory, but the -- certainly the

   advisory overall has recommendations for technology companies, including -- I think there’s more

   vague language of sort of that that says something to the extent of move faster or -- or, you know,

   more aggressive, but I don't think it -- this level of specificity.” Waldo Dep. 194:14-22. The

   Advisory is the best evidence of what the Advisory says; Mr. Waldo’s attempt to recall the contents

   of a public document that he was not looking at has minimal probative value. In any event, it is

   unclear what purpose it serves to cite Mr. Waldo’s “agreement” (based on an amorphous

   recollection) when the Court can look to the Advisory itself to understand what it does (and does

   not) say. In short, this PFOF contains no evidence that OSG used the Advisory to threaten or

   pressure social media companies to censor speech, or that social media companies regarded (or

   acted on) the Advisory or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           316. And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they
   promote quality information sources in their feed algorithm. Facebook has repeatedly shown that
   they have the levers to promote quality information. We’ve seen them effectively do this in their
   algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s
   certainly an area that would have an impact.” Waldo Ex. 10, at 11.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Psaki’s explanation

   of the White House’s proposal as a “criticiz[m]” of Facebook. The cited statement does not support

   that characterization. In any event, this PFOF contains no evidence that federal officials pressured




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   or threatened social media companies to censor speech, or that social media companies regarded

   (or acted on) any communications by federal officials as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

   & II.B.1.b & II.B.2.

           317. Psaki concluded: “So, these are certainly the proposals. We engage with them
   regularly and they certainly understand what our asks are.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that federal officials

   pressured or threatened social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

   §§ I.B.1 & II.B.1.b & II.B.2.

          318. On the same day, July 15, 2021, Surgeon General Murthy issued his advisory,
   “Confronting Health Misinformation: The U.S. Surgeon General’s Advisory on Building a
   Healthy Information Environment.” Waldo Ex. 11, at 1 (the “Health Advisory”); Waldo Dep.
   196:21-197:1.

   RESPONSE: Undisputed.

           319. The Health Advisory describes censorship of health misinformation as a “moral
   and civic imperative”: “Health misinformation is a serious threat to public health. … Limiting the
   spread of health misinformation is a moral and civic imperative that will require a whole-of-society
   effort.” Waldo Ex. 11, at 2. The “whole-of-society effort” echoes the language of the Virality
   Project.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the evidence. First,

   the Advisory says nothing about “censorship of health misinformation.” Second, Plaintiffs provide

   no evidence for the last sentence of the PFOF; and as already noted, the Virality Project report

   post-dates the Advisory by the better part of a year. In any event, this PFOF contains no evidence

   that OSG used the Advisory to threaten or pressure social media companies to censor speech, or

   that social media companies regarded (or acted on) the Advisory or any other communications by




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   OSG as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           320. The Health Advisory states: “Misinformation has caused confusion and led people
   to decline COVID-19 vaccines, reject public health measures such as masking and physical
   distancing, and use unproven treatments.” Id. at 4.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used the

   Advisory to threaten or pressure social media companies to censor speech, or that social media

   companies regarded (or acted on) the Advisory or any other communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           321. The Health Advisory specifically blames social-media platforms for the spread of
   misinformation: “In recent years, the rapidly changing information environment has made it easier
   for misinformation to spread at unprecedented speed and scale, especially on social media and
   online retail sites, as well as via search engines.” Id. at 5. According to the Advisory,
   “misinformation is often framed in a sensational and emotional manner that can connect viscerally,
   distort memory, align with cognitive biases, and heighten psychological responses such as anxiety.
   People can feel a sense of urgency to react to and share emotionally charged misinformation with
   others, enabling it to spread quickly and go ‘viral.’” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Advisory, which

   speaks for itself (and contradicts the PFOF, as evidenced by the quoted language from the

   Adivsory). In particular, the Advisory does not “specifically blame social-media platforms,” but,

   as stated in the quoted passage, attributes the “speed and scale” at which misinformation can now

   spread to the “changing information environment” as a whole. See, e.g., Waldo Ex. 11 at 6 (“each

   of us has a role to play” in addressing misinformation); id. at 12 (“Addressing health

   misinformation will require a whole-of-society effort.”). In any event, this PFOF contains no

   evidence that OSG used the Advisory to threaten or pressure social media companies to censor

   speech, or that social media companies regarded (or acted on) the Advisory or any other




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   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           322. In addition, the Advisory blames “product features” of platforms: “[P]roduct
   features built into technology platforms have contributed to the spread of misinformation. For
   example, social media platforms incentivize people to share content to get likes, comments, and
   other positive signals of engagement. These features help connect and inform people but reward
   engagement rather than accuracy, allowing emotionally charged misinformation to spread more
   easily than emotionally neutral content.” Id.

          RESPONSE: Disputed, to the extent the PFOF mischaracterizes the Advisory, which

   speaks for itself. In the quoted passage, the Advisory does not “blame[]” social-media platforms

   for the spread of misinformation, but merely identifies certain features of technology platforms as

   “contribut[ing]” factors. In any event, this PFOF contains no evidence that OSG used the Advisory

   to threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) the Advisory or any other communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           323. The Advisory also faults platforms’ “algorithms”: “algorithms that determine what
   users see online often prioritize content based on its popularity or similarity to previously seen
   content. As a result, a user exposed to misinformation once could see more and more of it over
   time, further reinforcing one’s misunderstanding.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Advisory, which in

   the quoted passage does not “fault[]” platforms but merely describes the manner in which their

   content-recommendation algorithms function. In any event, this PFOF contains no evidence that

   OSG used the Advisory to threaten or pressure social media companies to censor speech, or that

   social media companies regarded (or acted on) the Advisory or any other communications by OSG

   as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.




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          324. The Health Advisory specifically called for platforms to enact “policy changes” to
   reduce the spread of misinformation: “Implement product design and policy changes on
   technology platforms to slow the spread of misinformation.” Id. at 7 (bold in original).

          RESPONSE: Undisputed, except to clarify that “called for” does not mean a binding or

   non-voluntary demand. The Advisory contains “recommendations.” See Waldo Ex. 11 at 3 (Dkt.

   210-12) (“A Surgeon General’s Advisory is a public statement that calls the American people’s

   attention to a public health issue and provides recommendations for how that issue should be

   addressed.”). In any event, this PFOF contains no evidence that OSG used the Advisory to threaten

   or pressure social media companies to censor speech, or that social media companies regarded (or

   acted on) the Advisory or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           325. The Health Advisory also explicitly threatened future “legal and regulatory
   measures” to combat misinformation: “Convene federal, state, local, territorial, tribal, private,
   nonprofit, and research partners to explore the impact of health misinformation, identify best
   practices to prevent and address it, issue recommendations, and find common ground on difficult
   questions, including appropriate legal and regulatory measures that address health
   misinformation ….” Id. at 7 (bold in original, italics added).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Advisory, which

   issued no threats and suggested an “area[] of action” that included “conven[ing]” “private”

   “partners”—i.e., social media platforms and technology companies—to find “common ground”

   on possible “legal and regulatory measures.” In addition, the omitted section of the quotation

   states: “including appropriate legal and regulatory measures that address health misinformation

   while protecting user privacy and freedom of expression.” Waldo Ex. 11 at 7. Moreover, OSG

   does not have any regulatory or enforcement authority. Lesko Decl. ¶ 3 (Ex. 63). In short, this

   PFOF contains no evidence that OSG used the Advisory to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the Advisory



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   or any other communications by OSG as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           326. Under the heading “What Technology Platforms Can Do,” the Health Advisory
   called for platforms to take a series of steps to increase and enable greater social-media censorship
   of “misinformation,” including the following: “[M]ake meaningful long-term investments to
   address misinformation, including product changes. Redesign recommendation algorithms to
   avoid amplifying misinformation, build in “frictions” … to reduce the sharing of misinformation,
   and make it easier for users to report misinformation. Give researchers access to useful data to
   properly analyze the spread and impact of misinformation. Strengthen the monitoring of
   misinformation. … [A]ddress misinformation in live streams, which are more difficult to moderate
   due to their temporary nature and use of audio and video. Prioritize early detection of
   misinformation ‘super-spreaders’ and repeat offenders. Impose clear consequences for accounts
   that repeatedly violate platform policies. Evaluate the effectiveness of internal policies and
   practices in addressing misinformation and be transparent with findings. Publish standardized
   measures of how often users are exposed to misinformation and through what channels, what kinds
   of misinformation are most prevalent, and what share of misinformation is addressed in a timely
   manner. Communicate why certain content is flagged, removed, downranked, or left alone.” Id.
   at 12.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the Advisory. The

   Advisory’s identification of modifications that platforms voluntarily could make to their content-

   recommendation algorithms, and additional steps they voluntarily could take to ensure

   enforcement of their content moderation policies, to which all users must agree, did not constitute

   a “call” for platforms to “increase and enable greater social-media censorship” There are also

   minor alterations to the text and missing ellipses that are not reflected in the PFOF. See Waldo Ex.

   11 at 12. In any event, this PFOF contains no evidence that OSG used the Advisory to threaten or

   pressure social media companies to censor speech, or that social media companies regarded (or

   acted on) the Advisory or any other communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           327. Waldo agrees that the Advisory calls for platforms to provide “a method for users
   to flag problematic posts so that they could be reviewed for content modulation, policy violations.”
   Waldo Dep. 200:25-201:5.



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          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Waldo as agreeing

   that the Advisory “call[ed]” on the platforms to do anything. Immediately prior to the quoted

   language, Mr. Waldo emphasized the voluntary nature of all the items in the Advisory: “[I]t

   suggests that these are things they can do. … It’s a recommendation.” Waldo Dep. 200:16-19. In

   any event, this PFOF contains no evidence that OSG used the Advisory to threaten or pressure

   social media companies to censor speech, or that social media companies regarded (or acted on)

   the Advisory or any other communications by OSG as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          328. Waldo agrees that “clear consequences” for repeat violators include “things like
   issuing strikes against them, suspensions … and sometimes permanent deplatforming.” Id. at
   205:6-13.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes Mr. Waldo’s testimony.

   Mr. Waldo was asked whether “clear consequences for repeat violator of policies usually includes

   things like issuing strikes against them, suspensions, . . . and sometimes permanent deplatforming.”

   Waldo Dep. 205:6-10. He answered: “Those are examples of . . . current policies in place by social

   media companies, correct.” Waldo Dep. 205:11-13. He did not testify that the Advisory was

   recommending any of those particular actions. In any event, this PFOF contains no evidence that

   OSG used the Advisory to threaten or pressure social media companies to censor speech, or that

   social media companies regarded (or acted on) the Advisory or any other communications by OSG

   as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           329. In its conclusion, the Health Advisory states: “We need institutions to recognize
   that this issue is their moral and civic responsibility, too, and that they are accountable.” Waldo




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   Ex. 11, at 16. Waldo agrees that the word “accountable” is repeated in the Surgeon General’s
   remarks and the Advisory itself. Waldo Dep. 206:3-11.

          RESPONSE: Undisputed. Defendants further state that immediately prior to the quoted

   language the Advisory states: “[A]ll of us, in every sector of society, have a responsibility to act”

   and “address[ing] misinformation” is also “an individual responsibility.” In any event, this PFOF

   contains no evidence that OSG used the Advisory to threaten or pressure social media companies

   to censor speech, or that social media companies regarded (or acted on) the Advisory or any other

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.


      F. The Surgeon General’s Collaboration with the Virality Project.

           330. Also on January 15, 2021, Surgeon General Murthy participated in a separate
   launch event hosted by Stanford Internet Observatory, which was then operating the Virality
   Project. Waldo Ex. 12, at 1; Waldo Dep. 206:12-207:9.

          RESPONSE: Disputed to the extent that the cited evidence does not support the

   proposition that the Stanford Internet Observatory (“SIO”) was “then operating the Virality

   Project.” Furthermore, “January 15” appears to be a typo; it should read “July 15, 2021.”

   Defendants further note that OSG understood the July 15 event to be an event hosted by SIO, not

   the Virality Project. See Lesko Decl. ¶ 15 (Ex. 63). Indeed, the event’s public announcement—

   submitted by Plaintiffs into evidence—does not reflect any affiliation with the Virality Project.

   See Waldo Ex. 12 at 1-2. In any event, this PFOF contains no evidence that OSG used this event

   to threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) the event, or any other statements by OSG, as such. Any implicit assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B,

   Arg. §§ II.B.1.c & II.B.2.




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           331. In his public comments with Stanford Internet Observatory, Dr. Murthy stated:
   “We're asking technology companies to operate with greater transparency and accountability so
   that misinformation doesn't continue to poison our sharing platforms, and we know the government
   can play an important role, too.” Waldo Ex. 12, at 8 (Audio Tr. 6). This reiterates the key words
   “poison” and “accountability.”

          RESPONSE: Disputed to the extent the phrase “[t]his reiterates the key words ‘poison’

   and ‘accountability’” is an argumentative assertion with no cited evidentiary support. Defendants

   further state that immediately prior to the quoted language in Waldo Ex. 12, which purports to be

   a transcript of some portions of the SIO event, Dr. Murthy emphasizes that “this surgeon general

   advisory has recommendations for everyone” and goes on to include “clinicians,” “educators,”

   “researchers” and “journalists” (not just “technology companies”). Id. at 8 (emphasis added). In

   any event, this PFOF contains no evidence that OSG used this event to threaten or pressure social

   media companies to censor speech, or that social media companies regarded (or acted on) the

   event, or any other statements by OSG, as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          332. Waldo describes government’s “important role” as including “bringing
   stakeholders … together with urgency around a common vision for a healthy information
   environment … the government can help bring together stakeholders … what I would call the
   convening power of a bully pulpit.” Waldo Dep. 209:15-22. This would include bringing social-
   media platforms around to the government’s “common vision” for censorship. Id. at 209:24-210:8.

          RESPONSE: Disputed to the extent that the last sentence of the PFOF is an argumentative

   mischaracterization of the cited testimony, which makes no reference to imposing a unilateral

   Government “vision” on the platforms about anything, much less “censorship.” Rather, Mr. Waldo

   simply agreed to the proposition—as framed by Plaintiffs’ counsel in his own question—that

   “you’d want them [the platforms] to share the urgency to have a common vision for a health

   information environment[.]” Waldo Dep. 210:4-8. In any event, this PFOF contains no evidence

   that OSG threatened or pressured social media companies to censor speech, or that social media




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   companies regarded (or acted on) any other communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           333. Dr. Murthy was asked, “do you believe a rapid response initiative like the Virality
   Project could be implemented at the federal level to combat health misinformation on a national
   scale from the top down?” and he answered that “having a federal organized effort to combat
   misinformation” is “a really, really interesting idea.” Waldo Ex. 12, at 10 (Audio Tr. 8).

          RESPONSE: Disputed as an incomplete account of the cited evidence. In between the

   selectively excerpted quotes, the transcript (which purports to be an incomplete transcript of only

   portions of the SIO event) contains the following statement ascribed to Dr. Murthy: “Well, that’s

   a really interesting question, Taylor, and I do think that it could be really interesting to look at the

   idea in having . . . a federal organized effort to combat misinformation the way you’re talking

   about. I think [of it] almost [like] a myth buster’s effort to help people bring sort of direct

   information [and counter] things they may be hearing that are false[.]” Waldo Ex. 12 at 10

   (alterations made to fix numerous errors in the transcript, which includes a note on page 3 that it

   “should not be considered verbatim” due to “the quality of the recorded media”). In any event, this

   PFOF contains no evidence that OSG used the SIO event to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the event, or

   any other statements by OSG, as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           334. Dr. Murthy stated: “[T]echnology companies have a really important role. They
   must step up and play to slow the spread of misinformation on their sites wh[ether] that’s by either
   sharing data with people and researchers about what interventions they’re making and the impact
   that’s having or whether it’s by changing their algorithms and making other alterations to their
   platform to identify misinformation early and slow its spread and avoid sending more information
   of misinformation to people who are consuming it.” Id. at 11 (Audio Tr. 9).




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          RESPONSE: Disputed to the extent that Waldo Ex. 12, which purports to be an incomplete

   transcript of only portions of the SIO event, contains numerous errors. Defendants state further

   that the PFOF presents a misleadingly incomplete account of the exhibit, which also ascribes to

   Dr. Murthy the statements “there are steps all of us can take to address [health misinformation] as

   individuals” and “[e]ducators and healthcare professionals have a really important role they can

   play[].” Waldo Ex. 12 at 11. In any event, this PFOF contains no evidence that OSG used the SIO

   event to threaten or pressure social media companies to censor speech, or that social media

   companies regarded (or acted on) the event, or any other statements by OSG, as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          335. Waldo agrees that “the purpose of the data sharing is so that outside people come
   in and … assess how well they’re doing with their own internal policies to combat the spread of
   misinformation.” Waldo Dep. 211:6-11.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the evidence. Mr. Waldo

   was being asked about what the incomplete transcript of the SIO event says. He was not expressing

   a view (either for himself or OSG) on “the purpose of data sharing.” In any event, this PFOF

   contains no evidence that OSG threatened or pressured social media companies to censor speech,

   or that social media companies regarded (or acted on) any communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           336. Dr. Murthy expressly stated that he had been coordinating with Renee DiResta and
   the Virality Project and planned to continue to do so: “Well, thank you, Renee, for those kind
   words. … I do want to say thank you to you personally because you have been a leader in this
   effort long before many people recognize[d] what was happening with COVID misinformation.
   You were there looking at the data, looking at the numbers, speaking out, raising the flags, saying
   there’s something here we’ve got to address and do so urgently. I have personally learned a lot
   from your work and from our conversations together, and so I just want to say thank you to you
   for everything you’ve done for being such a great partner for moderating our event today, and just



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   for being a partner in the future, because I know we have lots and lots more that we’ve got to do
   together.” Waldo Ex. 12, at 12 (Audio Tr. 10).

          RESPONSE: Disputed as a mischaracterization of the evidence, particularly to the extent

   Plaintiffs assert that Dr. Murthy stated he had been “coordinating with . . . the Virality Project.”

   The exhibit, which purports to be an incomplete transcript of only portions of the SIO event, speaks

   for itself, and the quoted language does not support Plaintiffs’ characterization. In any event, this

   PFOF contains no evidence that OSG threatened or pressured social media companies to censor

   speech, or that social media companies regarded (or acted on) any communications by OSG as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          337. Dr. Murthy also stated that his team had been “partnered with” the Stanford Internet
   Observatory over “many months”: “myself, my team, we're committed to working with you,
   Renee, with others … who we've been … partnered with over the last many months….” Id. at 13
   (Audio Tr. 11).

          RESPONSE: Disputed as a mischaracterization of the evidence. The exhibit, which

   purports to be an incomplete transcript of only portions of the SIO event, speaks for itself, and it

   does not support Plaintiffs’ characterization. It is unclear whether Dr. Murthy is referring to

   “Renee” or “others” as those OSG has “partnered with over the last many months,” and the

   transcript does not mention SIO. In any event, this PFOF contains no evidence that OSG threatened

   or pressured social media companies to censor speech, or that social media companies regarded

   (or acted on) any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.




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   G.     The Surgeon General’s “Angry” and “Tense” Meetings With Platforms.

           338. On July 16, 2021, the New York Times reported that President Biden publicly
   stated about Facebook, “They’re killing people” by allowing misinformation to spread on its
   platforms. Waldo Ex. 14, at 1.

          RESPONSE: Disputed inasmuch as the cited article constitutes a combination of

   unsubstantiated hearsay and journalistic characterization regarding statements and events for

   which Plaintiffs cite no supporting evidence. In addition, Plaintiffs’ PFOFs fails to include

   President Biden’s full statement and lacks context. In response to the question “On COVID

   misinformation, what’s your message to platforms like Facebook?,” President Biden responded

   “They’re killing people. I mean, they’re really—they—look, the only pandemic we have is among

   the unvaccinated, and that—and they’re killing people.” Ex. 45 at 2. President Biden later clarified

   that “Facebook isn’t killing people; these 12 people are out there giving misinformation. Anyone

   listening to it is getting hurt by it. It’s killing people . . . the outrageous misinformation about the

   vaccine. That’s what I meant.” Ex. 43 at 2-3. He continued, “My hope is that Facebook—instead

   of taking it personally—that somehow I’m saying Facebook is killing people, that they would do

   something about the misinformation—the outrageous misinformation about the vaccine. That’s

   what I meant.” Id. In any event, this PFOF contains no evidence that OSG or any other federal

   officials threatened or pressured social media companies to censor speech, or that social media

   companies regarded (or acted on) any communications by OSG or any other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           339. The article reported that “this week, White House officials went further and singled
   out social media companies for allowing false information to proliferate. That came after weeks
   of failed attempts to get Facebook to turn over information detailing what mechanisms were in
   place to combat misinformation about the vaccine, according to a person familiar with the matter.”
   Id.




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          RESPONSE: Undisputed that the cited article reads as such, but note that the article

   constitutes a combination of unsubstantiated hearsay and journalistic characterization regarding

   statements and events for which Plaintiffs cite no supporting evidence. In any event, this PFOF

   contains no evidence that OSG or any other federal officials threatened or pressured social media

   companies to censor speech, or that social media companies regarded (or acted on) any

   communications by OSG or any other federal officials as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1

   & II.B.1.b & II.B.2.

           340. The same article reported that Jennifer Psaki stated, “We raised for them in our
   direct channels, of which every administration has always had with every social media platform,
   that we’re seeing this trend.” Id. at 2.

          RESPONSE: Undisputed, but Defendants note that the quoted statement comes from a

   publicly available transcript of a White House press briefing that is in evidence. See Ex. 37 (July

   16, 2021, Press Briefing transcript). During the press briefing Ms. Psaki also stated: “We don’t

   take anything down. We don’t block anything. Facebook and any private-sector company makes

   decisions about what information should be on their platform. Our point is that there is information

   that is leading to people not taking the vaccine, and people are dying as a result. And we have a

   responsibility, as a public health matter, to raise that issue. The responsibility we all have — the

   government, media platforms, public messengers — to give accurate information.” Id. In any

   event, this PFOF contains no evidence that OSG or any other federal officials threatened or

   pressured social media companies to censor speech, or that social media companies regarded (or

   acted on) any communications by OSG or any other federal officials as such. Any implicit assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

   Arg. §§ I.B.1 & II.B.1.b & II.B.2.




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           341. The article reported that there had been a series of “talks” between Surgeon General
   Murthy and Facebook “since January” of 2021—none of which were disclosed in OSG’s
   interrogatory responses: “Since January, senior White House officials, including the surgeon
   general, Dr. Vivek Murthy, have been in talks with the social media company to stop the spread
   of false stories about vaccination side effects and other harms.” Id. at 2. In these “talks,” federal
   officials demanded Facebook’s internal data on misinformation on its platforms: “Despite repeated
   requests by the White House, Facebook has not shared even basic data on how much vaccine
   misinformation exists and if the company’s efforts to stop its spread are working, according to the
   person familiar with the talks.” Id. at 2.

          RESPONSE: Disputed inasmuch as the cited article constitutes a combination of

   unsubstantiated hearsay and journalistic characterizations of statements and events for which

   Plaintiffs cite no supporting evidence. Also dispute Plaintiffs’ characterization of the article as

   representing that “officials demanded Facebook’s internal data on misinformation on its

   platforms.” (emphasis added). The quoted language refers to “requests.” Further dispute Plaintiffs’

   assertion that OSG’s interrogatory responses are incomplete. In addition to the article’s inherent

   unreliability, it refers to “senior White House officials” who were allegedly in talks with

   companies since “January” of 2021. The article does not say specifically that Dr. Murthy—who

   was only confirmed as Surgeon General in March 2021—was involved in multiple talks with

   Facebook beginning January 2021. Second, to the extent the article can be read to suggest that

   meetings took place between OSG personnel and Facebook personnel prior to July 19, 2021 (the

   date of the article’s last update), which meetings were not disclosed in OSG’s interrogatory

   responses, the article is mistaken. See Lesko Decl. ¶¶ 12-13 (Ex. 63). In sum, this PFOF contains

   no evidence that OSG or any other federal officials threatened or pressured Facebook to censor

   speech, or that Facebook regarded (or acted on) any communications by OSG or any other federal

   officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House);

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2 (Surgeon General).




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           342. “When administration officials presented data from CrowdTangle, a content
   tracking tool owned by Facebook, that showed vaccine misinformation was soaring, company
   officials dismissed its accuracy.” Id. at 2.

          RESPONSE:         Disputed inasmuch as the cited article constitutes a combination of

   unsubstantiated hearsay and journalistic characterization regarding statements and events for

   which Plaintiffs cite no supporting evidence. In any event, this PFOF contains no evidence that

   OSG or any other federal officials threatened or pressured social media companies to censor

   speech, or that social media companies regarded (or acted on) any communications by OSG or any

   other federal officials as such. Any implicit assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White

   House); Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2 (Surgeon General).

          343. In one meeting, Dr. Murthy “angrily” demanded that Facebook censor
   misinformation instead of just promoting reliable information: “In another meeting with Dr.
   Murthy, … Dr. Murthy angrily said that while the company [Facebook] promoted its efforts to
   encourage vaccination, it did not do enough to defend against bad information.” Id. at 2.

          RESPONSE: Disputed first, inasmuch as the cited article constitutes a combination of

   unsubstantiated hearsay and journalistic characterization regarding statements and events for

   which Plaintiffs cite no supporting evidence. Disputed also because the first sentence

   mischaracterizes the quoted language from the article, which does not state that Dr. Murthy

   “demanded that Facebook censor misinformation instead of just promoting reliability

   information.” The article on its face is suspect; as Mr. Waldo testified, the exchange it describes

   does not match Dr. Murthy’s character. Waldo Dep. 223:21-224:2 (“[F]]rankly, I’m doubtful that

   . . . I worked with Dr. Murthy for over a year and a half and I’ve never seen him get angry or even

   express anger [or] frustration in any way that would be noticeable. So I’m skeptical of this

   reporting.” (cleaned up)); see also Lesko Decl. ¶ 13 (Ex. 63) (“I am not aware of any meeting that

   involved Dr. Murthy ‘angrily’ stating anything. There is no meeting before July 19, 2021 (the last



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   date the article was updated), that satisfies both the condition that (i) it involved Dr. Murthy and

   Facebook employees; and the condition that (ii) it could be characterized as ‘tense,’ ‘defensive[]’

   or ‘angr[y].’ I have confirmed my understanding with the Surgeon General. To the extent the

   article can be read to suggest otherwise, it is wrong.” (emphasis added)). In all events this PFOF

   contains no evidence that OSG threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          344. In another “tense” meeting in “late spring,” Dr. Murthy repeated similar demands:
   “In one tense meeting in the late spring, according to the person familiar with the matter, a
   Facebook official responded defensively, ‘How do you know if your efforts are working?’” Id. at
   2.

          RESPONSE: Disputed first inasmuch as the cited article constitutes a combination of

   unsubstantiated hearsay and journalistic characterization regarding statements and events for

   which Plaintiffs cite no supporting evidence. Also disputed because the first sentence

   mischaracterizes the quoted language from the article, which makes no reference to Dr. Murthy

   making “demands” of any kind, or even suggest that Dr. Murthy attended the particular meeting

   in question. See also Defs.’ Resp. to PFOF ¶¶ 341, 343, 344 (citing evidence that refutes the

   article’s suggestion that any “tense” meeting occurred as described in the article). In all events this

   PFOF contains no evidence that OSG threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

          345. Waldo agrees that this news report “does not accurately describe … that
   introductory call between Nick Mr. Clegg, Andy Mr. Slavitt, and Dr. Murthy on May 25th of
   2021,” which is the only meeting involving Dr. Murthy disclosed in OSG’s interrogatory



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   responses. Waldo Dep. 219:17-21; 222:14-23. In those responses, OSG did not disclose Dr.
   Murthy’s “tense” and “angry” meetings with Facebook during the spring of 2021.

          RESPONSE: Disputed to the extent that Plaintiffs assert that OSG’s interrogatory

   responses failed to disclose meetings involving the Surgeon General and Facebook during Spring

   2021. As explained above, see Defs.’ Resp. to PFOF ¶¶ 341, 343, 344, it appears that either

   Plaintiffs are misreading the article, the article is mistaken, or both. Indeed, Mr. Waldo testified

   that he was “skeptical of this reporting,” Waldo Dep. 224:1-2, and as Max Lesko, Chief of Staff

   for OSG, explains in his declaration submitted herewith, the article is inaccurate, Lesko Decl. ¶ 13

   (Ex. 63). Defendants further note that OSG’s interrogatory responses disclose more than one

   meeting involving Dr. Murthy, so Plaintiffs assertion that May 25 was “the only meeting involving

   Dr. Murthy [that was] disclosed” is flatly incorrect. See Waldo Ex. 3 at 32-33. In sum, this PFOF

   contains no evidence that OSG threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.


   H.     The Surgeon General Leverages Public Pressure to Increase Censorship.

          346. On July 21, 2021, five days after the July 16 meeting where “the Facebook folks
   … had sad faces,” id. at 226:15-16, Facebook emailed Waldo and Kyla Fullenwider, stating: “We
   wanted to follow up with you on a few questions you asked in the meeting focused on
   CrowdTangle, data on the online interventions, and Facebook's borderline content policies,”
   Waldo Ex. 16, at 1. This referred to the July 16 meeting with Waldo and Fullenwider. Waldo Dep.
   227:3-8.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG threatened

   or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.



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           347. In the email, Facebook reported back to OSG on “interventions that the team
   mentioned, some of which specifically create frictions in how people consume information.”
   Waldo Ex. 16, at 1. These include limiting forwarded WhatsApp messages, placing “warning
   labels on fact checked content,” and creating “friction when someone goes to share these posts on
   Facebook.” Id.

          RESPONSE: Disputed to the extent Plaintiffs mischaracterize the email as “report[ing]

   back to OSG.” Indeed, the email indicates that OSG asked about data on the online interventions—

   that is, information about interventions that pre-date the Surgeon General’s Advisory. See Waldo

   Ex. 16 at 1 (“Here are some examples of interventions we have put in place during COVID-19.”

   (emphasis added)). In any event, this PFOF contains no evidence that OSG threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) any communications by OSG

   as such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           348. Facebook also reported to OSG a series of censorship policies and actions,
   including the following: “We remove COVID-19 content that contributes to the risk of imminent
   physical harms, including numerous false claims about the COVID-19 vaccine. We permanently
   ban pages, groups, and accounts that repeatedly break our rules on COVID-19 misinformation.
   We also reduce the reach of posts, pages, groups, and accounts that share other false claims that
   do not violate our policies but may present misleading or sensationalized information about
   COVID-19 and vaccines.” Id. at 1. Evidently, OSG’s inquiry at the July 16 meeting about
   “borderline content” related to the censorship of such content. See id. Waldo agrees that
   Fullenwider asked Facebook to report back about censorship at the July 16 meeting: “The response
   indicates that it’s about COVID policies including removal, banning and reducing the reach.”
   Waldo Dep. 232:9-11, 233:12-234:1.

          RESPONSE: Disputed as a mischaracterization of the evidence, in several respects. First,

   Facebook’s email referred to various of its content moderation policies and practices, to which all

   users agree, and makes no reference to “censorship policies and actions.” Second, nothing in the

   e-mail suggests that OSG had inquired about “censorship” of “borderline content,” or that OSG

   had inquired about content moderation of borderline content at all. Third, Mr. Waldo emphatically

   did not agree that “[Ms.] Fullenwider asked Facebook to report back about censorship,” or to report




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   about anything else. Mr. Waldo specifically testified—in a passage adjacent to the quoted

   testimony—that he did not remember Ms. Fullenwider asking about those topics, Waldo Dep.

   232:12-17, and he explained that those topics may have been included “not because [Ms.

   Fullenwider] asked” but because Facebook was thinking about Ms. Psaki’s statements at the press

   conference, id. at 233:3-12. Defendants also note that the email appears to be describing Facebook

   policies and actions that pre-date the Surgeon General’s Advisory. In any event, this PFOF

   contains no evidence that OSG threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           349. On July 16, 2021, Nick Mr. Clegg emailed Dr. Murthy and stated, “Dear Vivek,
   Reaching out after what has transpired over the past few days following the publication of the
   misinformation advisory and culminating today in the President’s remarks about us.” Waldo Ex.
   17, at 1-2. He then stated, “I know our teams met today to better understand the scope of what the
   White House expects of us on misinformation going forward.” Id. at 2 (emphasis added). Facebook
   understood the purpose of the meetings was to understand the White House’s expectations on
   misinformation. See id.

          RESPONSE: Undisputed that the email reads as such. But Mr. Clegg was not involved in

   that meeting, and Mr. Waldo (who was present at the meeting) specifically testified that Mr.

   Clegg’s understanding was wrong: “Q. Yeah. Was that his under— was that your understanding

   that the meeting related to what the White House expects from Facebook on misinformation going

   forward[?] A. No.” Waldo Dep. 236:21-25. Mr. Waldo did not know how or why Mr. Clegg had

   that understanding. Id. at 237:1-4. In any event, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to




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   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

            350. Mr. Clegg indicated that there had been a history of prior discussions with Dr.
   Murthy and the White House in which federal officials demanded greater censorship—both more
   stringent policies and greater enforcement—which were not disclosed in OSG’s interrogatory
   responses: “Certainly we understand (and have understood for some time) that there is
   disagreement on some of the policies governing our approach and how they are being enforced.”
   Id. at 2. Mr. Clegg asked for a meeting with Dr. Murthy, who did not immediately respond. Id. at
   1-2.

          RESPONSE: Disputed as a mischaracterization of the cited evidence. The email does not

   refer to a “history of prior discussions with Dr. Murthy,” such that (as previously explained)

   Plaintiffs’ assertion that OSG’s interrogatory responses are incomplete is completely unfounded.

   See also Lesko Decl. ¶¶ 12-13 (Ex. 63). Nor does the cited language support the assertion that Dr.

   Murthy or White House officials had “demanded” anything of Facebook, much less “censorship”

   of any kind—this is an apparent reference to (and mischaracterization of) Facebook’s content

   moderation policies, to which all users must agree. It is also unclear what Plaintiffs mean to suggest

   by asserting that “Dr. Murthy” “did not immediately respond” to Mr. Clegg’s request for a

   meeting; he responded on the Monday following Mr. Clegg’s Friday evening email. See Waldo

   Ex. 17 at 1. In any event, this PFOF contains no evidence that OSG or other federal officials

   threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG or other federal officials as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

            351. On July 18, 2021, having received no response to his email requesting a meeting,
   Mr. Clegg texted Dr. Murthy stating, “I imagine you and your team are feeling a little aggrieved –
   as is the FB team, it’s not great to be accused of killing people – but as I said by email I’m keen to
   find a way to deescalate and work together collaboratively. I am available to meet/speak whenever
   suits.” Waldo Ex. 18, at 1.




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          RESPONSE: Disputed to the extent that Plaintiffs speculate as to Mr. Clegg’s motivations

   (“having received no response to his email…”). In any event, this PFOF contains no evidence that

   OSG or other federal officials threatened or pressured Facebook to censor speech, or that Facebook

   regarded (or acted on) any communications by OSG or other federal officials as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

          352. On July 19, Dr. Murthy responded by email and agreed to a meeting, which was
   scheduled for July 23, 2021. Waldo Ex. 17, at 1; Waldo Dep. 241:1-14.

          RESPONSE: Undisputed.

          353.    At the July 23, 2021 meeting, “Dr. Murthy asked Mr. Clegg about … the research
   questions about understanding the reach of the data in terms the impact of the … health
   misinformation. And … DJ [Patil] had some questions about also on the data side and Nick [Mr.
   Clegg] offered to connect DJ with a data person from Facebook.” Waldo Dep. 242:8-16.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           354. Later on June 23, 2021, after the meeting between Dr. Murthy and Nick Mr. Clegg,
   Mr. Clegg sent a follow-up email to Dr. Murthy stating: “Dear Vivek, if I may, thanks again for
   taking the time to meet earlier today….. I wanted to make sure you saw the steps we took just this
   past week to adjust policies on what we are removing with respect to misinformation as well as
   steps taken to further address the ‘disinfo dozen’….” Waldo Ex. 19, at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to




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   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

         355. Mr. Clegg’s reference to “just this past week” refers to the one-week period
   between this July 23 email and rollout of the Advisory on July 15 and the President’s comment
   “They’re killing people” on July 16. Id.; Waldo Dep. 244:14-19.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           356. It is evident that Dr. Murthy and federal officials pressured Facebook for specific
   censorship actions in the July 23 meeting, because the same day as the meeting, Mr. Clegg reported
   back to them a series of new censorship actions and policies. First, Mr. Clegg reported enforcement
   actions against the “Disinfo Dozen” whom Jennifer Psaki had publicly demanded censorship: “We
   removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo dozen (so a total
   of 39 Profiles, Pages, Groups, and IG accounts deleted thus far, resulting in every member of the
   disinfo dozen having had at least one such entity removed).” Waldo Ex. 19, at 1. Mr. Clegg
   reported that Facebook was secretly censoring accounts associated with the Disinfo Dozen even if
   they had not violated Facebook’s policies: “We are also continuing to make 4 other Pages and
   Profiles, which have not yet met their removal thresholds, more difficult to find on our platform.”
   Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited evidence.

   The cited email says nothing to indicate, as Plaintiffs surmise, that Dr. Murthy or other federal

   officials (including Ms. Psaki), “pressured Facebook” to take the actions reported, none of which

   involved “censorship” as opposed to decisions by Facebook regarding application of its own

   content moderation policies, to which all users agree, or “publicly demanded censorship.”

   Furthermore, the quoted language does not indicate that Facebook “was secretly censoring

   accounts” that “had not violated Facebook’s policies” rather than applying its policies intended for

   “borderline content” that did not meet the standards for complete “removal.” See Defs. PFOF




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   § I.D. In sum, this PFOF contains no evidence that OSG or other federal officials threatened or

   pressured Facebook to censor speech, or that Facebook regarded (or acted on) any communications

   by OSG or other federal officials as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          357. Mr. Clegg also reported that Facebook had amended its censorship policies to make
   them more restrictive: “We also expanded the group of false claims that we remove, to keep up
   with recent trends of misinformation that we are seeing.” Id.

          RESPONSE: Disputed to the extent that Plaintiffs mischaracterize Facebook as

   “amend[ing] its [content moderation] policies to make them more restrictive,” rather than merely

   updating the group of “false claims” to which the policies are applied in light of “recent trends of

   misinformation” it had observed. In sum, this PFOF contains no evidence that OSG or other federal

   officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted

   on) any communications by OSG or other federal officials as such. Any implicit assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§

   II.B.1.c & II.B.2.

           358. Mr. Clegg also committed to “do more” to censor misinformation in response to
   federal officials’ demands: “We hear your call for us to do more and, as I said on the call, we’re
   committed to working toward our shared goal of helping America get on top of this pandemic.”
   Id. Dr. Murthy, evidently, demanded that Facebook “do more” against misinformation on it
   platforms in the July 23 phone call. See id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. Mr.

   Clegg’s remark about “do[ing] more” makes no reference to “censor[ing]” but is an apparent

   reference to application of the aforementioned content moderation policies, which are Facebook’s

   own, and to which all Facebook users agree. Plaintiff cites no evidence for its supposition that “Dr.

   Murthy . . . [had] demanded” that Facebook take the actions to which Mr. Clegg referred. Indeed,

   that assertion is contradicted by the statements of Plaintiffs’ counsel at Mr. Waldo’s deposition.




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   There, counsel described Mr. Clegg’s reference to “your call for us to do more” as an allusion to

   the July 15, 2021, Health Advisory: “Q: All right. He goes on to say: We hear your call for us to

   do more. Right? And I think we said a moment ago, that’s a pretty fair description of the health

   advisory, right, a call for Facebook and others to do more, right? A: Yes.” Waldo Dep. 250:24-

   251:6 (emphasis added). In sum, this PFOF contains no evidence that OSG or other federal

   officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted

   on) any communications by OSG or other federal officials as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

           359. Mr. Clegg further agreed to accede to federal officials’ demands that Facebook
   make its internal data on misinformation available to federal officials and researchers like Renee
   DiResta of the Virality Project: “We will reach out directly to DJ to schedule a deeper dive on how
   to best measure Covid related content and how to proceed with respect to the question around
   data.” Id. at 1-2.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted language does not support Plaintiffs’ assertion that “federal officials” had made “demands”

   of Facebook of any kind, nor that Facebook intended to make, or did make, “internal data”

   available to the Virality Project, or anyone else. At most, the email indicates Facebook’s

   willingness to have a “deeper” discussion about the “question around data.” In any event, this

   PFOF contains no evidence that OSG or other federal officials threatened or pressured Facebook

   to censor speech, or that Facebook regarded (or acted on) any communications by OSG or other

   federal officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. § II.B.1.c & II.B.2.

           360. Mr. Clegg also pledged to report back to Dr. Murthy repeatedly so that federal
   officials could monitor Facebook’s “progress” on censoring misinformation: “We’d also like to
   begin a regular cadence of meetings with your team so that we can continue to update you on our
   progress. You have identified 4 specific recommendations for improvement and we want to make



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   sure to keep you informed of our work on each.” Id. at 2. Mr. Clegg also promised to continue
   sending federal officials regular updated reports on the spread of misinformation on Facebook’s
   platforms. Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. As

   to the first sentence, Mr. Clegg’s offer to provide “updates” does not constitute accession to

   “monitor[ing]” by federal officials. As to the second sentence, the cited evidence does not support

   Plaintiffs’ assertion that “[Mr.] Clegg also promised to continue sending federal officials regular

   updated reports on the spread of misinformation on Facebook’s platforms.” Mr. Waldo also

   testified that it was unclear what “4 specific recommendations” Mr. Clegg is referring to, and

   whether those came from OSG. See Waldo Dep. 253:13-25. In any event, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           361. Mr. Clegg concluded by promising that Facebook would “strive” to meet federal
   officials’ expectations on censorship: “we will strive to do all we can to meet our shared goals.”
   Id.; see also Waldo Dep. 245:6-247:4.

          RESPONSE: Disputed as a mischaracterization of the evidence. Neither the email itself,

   nor the cited deposition testimony, supports Plaintiffs’ insinuation that by reference to “striv[ing]

   to meet our shared goals,” Mr. Clegg meant acquiescing to unilateral “expectations” of federal

   officials regarding “censorship” (“expectations” as to which Plaintiffs also furnish no evidence).

   This PFOF contains no evidence that OSG or other federal officials threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) any communications by OSG

   or other federal officials as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.




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           362. Waldo agrees that Mr. Clegg’s statement “We hear your call for us to do more” in
   the July 23 email is an accurate understanding of the Surgeon General’s message from the July 15
   press conference, the Health Advisory, and the July 15 rollout at Stanford Internet Observatory:
   “Yes. I think, as we’ve established, the advisory and … the remarks, and the event with the
   Stanford Internet Observatory, Dr. Murthy is calling on … social media companies to do more to
   address the problem of health mis- and disinformation.” Waldo Dep. 251:6-12.

          RESPONSE: Undisputed, except to note that Plaintiffs have selectively quoted the

   testimony, which reads: “Dr. Murthy is calling on – for an all-society approach, including social

   media companies, to do more to address the problem of health mis- and disinformation during the

   height of a historic pandemic costing American lives that can be saved.” Waldo Dep. 251:9-13.

   Defendants further note that this PFOF contradicts Plaintiffs’ PFOF ¶ 358. In any event, this PFOF

   contains no evidence that OSG used the July 15 press conference, the Advisory, or the SIO event

   to threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) these, or any other, communications by OSG as such. Any implicit assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B,

   Arg. §§ II.B.1.c & II.B.2.

           363. After the July 23 email, Waldo connected Brian Rice of Facebook with DJ Patil to
   discuss data-sharing to monitor social-media misinformation between Facebook and federal
   officials. Id. at 252:9-19.

          RESPONSE: Disputed as a mischaracterization of the cited testimony. Mr. Waldo testified

   only that “I think I looped [Mr. Rice] with DJ,” Waldo Dep. 252:12-13, not that he “connected

   Brian Rice of Facebook with DJ Patil to discuss data-sharing to monitor social-media

   misinformation between Facebook and federal officials.” In any event, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.



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           364. Additionally, on the July 23 call with Nick Mr. Clegg, the OSG specifically asked
   Facebook to report back on any additional steps they were taking in response to the Health
   Advisory to increase censorship of misinformation on their platforms. Waldo Ex. 21, at 1. On
   August 6, 2021, Waldo emailed Brian Rice and Nick Mr. Clegg of Facebook and stated, “I know
   on the call with Dr. Murthy he’d mentioned seeing if you were able to send an update of any
   new/additional steps you are taking with respect to health misinformation in light of the advisory.”
   Id. Waldo noted that “we are asking all platforms for this type of update.” Id. Waldo asked for a
   report from Facebook within two weeks: “Would you be able to send something over within two
   weeks?” Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited email.

   Mr. Waldo’s inquiry about whether Facebook could send “an update” of “any new/additional

   steps” Facebook was taking “with respect to health information” does not constitute a request for

   a “report” about “increase[d] censorship of misinformation” on Facebook’s platforms. In sum, this

   PFOF contains no evidence that OSG used the July 23 call or this August 6 email to threaten or

   pressure Facebook to censor speech, or that Facebook regarded (or acted on) these, or any other,

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          365. In the same email, Waldo connected Facebook with DJ Patil of the White House
   “on next steps for connecting on data.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           366. Facebook responded that it was planning “additional steps” to increase censorship
   of misinformation, and promised to report back to the Surgeon General in 2 weeks: “Our teams
   have been working on additional steps—we will have something back to you within two weeks
   outlining our approach.” Id. Facebook also followed up with Patil to schedule the meeting about
   using Facebook’s internal data to monitor speech on its platforms. Id.




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          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted language says nothing about “increas[ing] censorship of misinformation” as opposed to

   application of Facebook’s own content moderation policies, to which all users agree. In addition,

   the cited email does not show that Facebook followed up with Patil to “schedule [a] meeting about

   using Facebook’s internal data to monitor speech on its platforms” or that such meeting occurred.

   In any event, this PFOF contains no evidence that OSG or other federal officials threatened or

   pressured Facebook to censor speech, or that Facebook regarded (or acted on) any communications

   by OSG or other federal officials as such. Any implicit assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          367. Waldo admits that, during the July 23 call, “we asked for an update,” and that it
   was probably Dr. Murthy who asked for it. Waldo Dep. 256:20-23.

          RESPONSE: Disputed to the extent Plaintiffs say “probably.” Mr. Waldo’s deposition

   testimony reads: “I didn’t recall if I asked for it or Dr. Murthy . . . Dr. Murthy perhaps asked for

   it.” Waldo Dep. 256:20-23. However, this PFOF contains no evidence that OSG used the July 23

   call to threaten or pressure Facebook to censor speech, or that Facebook regarded (or acted on)

   this, or any other, communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          368. Waldo does not dispute that he asked “all platforms” to provide a similar “update”
   on new or additional steps to censor misinformation in light of the Advisory, and that “all
   platforms” means “Facebook, Twitter, Instagram, and YouTube, and Google.” Id. at 257:10-
   258:9.

          RESPONSE: Disputed to the extent that neither the email (Waldo Ex. 21) nor the cited

   testimony supports the assertion that Mr. Waldo asked “all platforms” for updates on steps to

   “censor misinformation in light of the Advisory,” as opposed to updates regarding application of




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   their own respective content moderation policies, to which all users agree. Furthermore, the

   testimony makes clear that Mr. Waldo does not specifically recall whether he sent such a request

   to Instagram, Twitter, or YouTube/Google. See Waldo Dep. 257:10-258:9. In any event, this PFOF

   contains no evidence that OSG threatened or pressured social media companies to censor speech,

   or that social media companies regarded (or acted on) any communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           369. On July 19, 2021, a few days after the President’s “They’re killing people”
   comments, Rob Flaherty of the White House emailed Dr. Murthy to put him in touch with an
   operative for the Democratic National Committee who works on misinformation and
   disinformation issues. Waldo Ex. 22, at 3. Flaherty wrote: “Vivek – wanted to link you with Jiore
   Craig, who’s been a critical leader of the DNC’s misinfo work for a long time, but also has been
   helping us think through mis/dis on the COVID side. I thought it would be great for you both to
   connect as OSG charts out next steps.” Id. Eric Waldo followed up to schedule a Zoom meeting
   on July 22 between Ms. Craig of the DNC and key members of the OSG’s staff. Id. at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured social media companies to censor speech, or that social

   media companies regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          370. On August 18, 2021, Facebook again reported back to OSG about additional
   censorship actions against misinformation “superspreaders.” Waldo Ex. 24, at 1. Facebook stated,
   “Eric and DJ – flagging this post for you and for Surgeon General Murthy. This details how we
   are approaching content from the disinfo dozen.” Id. Facebook sent the same update to Rob
   Flaherty of the White House on the same day. Id. at 2.

          RESPONSE: Disputed as a mischaracterization of the evidence. First, the document says

   nothing about “censorship actions,” but rather describes a range of actions (such as “moving []

   posts lower” or “not recommending them,” as well as no action at all) taken pursuant to Facebook’s

   own content moderation policies, to which all users agree. Second, demonstrating Facebook’s



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   exercise of independent judgment in this matter, the bulk of the post from Facebook vigorously

   disputes the claim that “12 people are responsible for 73% of online vaccine misinformation on

   Facebook”—including by noting that “any amount of COVID-19 vaccine misinformation that

   violates our policies is too much by our standards”—and that it has not removed accounts that

   “are not posting content that breaks our rules.” Waldo Ex. 24 at 1 (emphases added). In sum, this

   PFOF contains no evidence that OSG or other federal officials threatened or pressured Facebook

   to censor speech, or that Facebook regarded (or acted on) any communications by OSG or other

   federal officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           371. The post was entitled, “How We’re Taking Action Against Vaccine
   Misinformation Superspreaders.” Id. at 1. The post detailed a long list of censorship actions taken
   against the “Disinfo Dozen,” including removing over three dozen pages, groups and accounts
   linked with them; imposing additional penalties on another two dozen pages, groups, and accounts
   linked with them; applying penalties to some of their website domains so that third parties posting
   their content will be deamplified; and removing the remaining violating content. Id. at 1.

          RESPONSE: Disputed as a mischaracterization of the evidence. The email, Waldo Ex. 24,

   speaks for itself, and is the best source to consult to understand its contents. See also Defs.’ Resp.

   to PFOF ¶ 370.

           372. As Waldo acknowledges, this was the “second report that Facebook has sent [OSG]
   after that July 23rd meeting where they’re reporting back about actions taken against the Disinfo
   Dozen.” Waldo Dep. 268:12-16.

          RESPONSE: Undisputed that this is an accurate account of the deposition testimony.

   However, the e-mail itself does not state that Facebook was “reporting back about actions taken.”

   Waldo Ex. 24 at 1. To the contrary, the e-mail states that Facebook was “flagging” a public post

   from Facebook’s website. Id. The post itself describes a “debate” among “people” about the

   Disinformation Dozen, which stemmed from a “report” that Facebook vigorously disputes in its

   post. Id. Accordingly, as explained above, see Defs.’ Resp. to PFOF ¶ 370, this email underscores



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   that Facebook acted independently in its approach to misinformation, including its analysis of the

   third-party “report” about the Disinformation Dozen and the “debate” surrounding that report. In

   sum, this PFOF contains no evidence that OSG or other federal officials threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) any communications by OSG

   or other federal officials as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           373. On August 20, 2021—two weeks after the August 6 email in which Waldo had
   requested a report within two weeks on Facebook’s new or additional steps to remove
   misinformation in light of the Health Advisory—Nick Mr. Clegg sent a long, detailed email to Dr.
   Murthy, Waldo, and DJ Patil, detailing Facebook’s additional censorship actions taken as a result
   of the Advisory. Waldo Ex. 25, at 1-3.

          RESPONSE: Disputed as a mischaracterization of the evidence, particularly to the extent

   that Plaintiffs describe the email as “detailing … censorship actions” as opposed to actions taken

   by Facebook pursuant to its own content moderation policies, to which all users agree.

   Furthermore, the bulk of the email does not describe new actions by Facebook but instead “historic

   actions in these areas,” underscoring the independent judgment Facebook exercised in its approach

   to misinformation. The email also does not appear to have been sent in response to the Advisory,

   but instead alludes to the White House’s “four recommendations.” In sum, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           374. In the August 20 email, Mr. Clegg noted that Dr. Murthy had “asked for an update
   on existing and new steps that Facebook is taking.” Id. at 1. Mr. Clegg noted that Facebook was
   taking new steps in response to the pressure from the White House and Surgeon General since July
   15 and 16: “In this update, we describe … further policy work to enable stronger action against
   persistent distributors of vaccine misinformation.” Id.




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          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   cited email in fact contradicts Plaintiffs’ assertion that Facebook took “new steps in response to

   pressure from the White House and the Surgeon General.” The email states the following (without

   Plaintiffs’ selective quotes and omissions): “The White House described four recommendations

   to social media platforms in July, which cover access to authoritative information, enforcement

   and speed of enforcement, and transparency. Those are priorities we have shared throughout the

   COVID-19 pandemic. In this update, we describe both our historic actions in these areas, as well

   as new information on boosting access to authoritative information, and further policy work to

   enable stronger action against persistent distributors of vaccine information.” Waldo Ex. 25 at 1

   (emphases added.) Thus, the email indicates that Facebook took actions in the “areas”

   “recommend[ed]” by the White House pursuant its own priorities that it has held “throughout the

   COVID-19 pandemic,” (and makes no reference to the Surgeon General’s Advisory at all).

   Furthermore, the bulk of the email describes “historic actions” or “new information” about pre-

   July actions, as opposed to “new steps” post-dating the Advisory and press conference. In sum,

   this PFOF contains no evidence that OSG or other federal officials threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) any communications by OSG

   or other federal officials as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           375. In a lengthy section headed “Limiting Potentially Harmful Misinformation,” Mr.
   Clegg provided five bullet points and four sub-bullet points detailing expanded efforts of
   censorship by Facebook taken in response to the Advisory. Id. at 2. These included, among others,
   “ expanding our COVID policies to further reduce the spread of potentially harmful content”;
   “increasing the strength of our demotions for COVID and vaccine-related content that third-party
   fact-checkers rate as ‘Partly False’ or ‘Missing Context’”; “making it easier to have
   Pages/Groups/Accounts demoted for sharing COVID and vaccine-related misinformation”; and
   “strengthening our existing demotion penalties for websites that are repeatedly fact-checked for
   COVID or vaccine misinformation content shared on our platform.” Id. at 2. Mr. Clegg also
   included a report of additional actions taken against the Disinfo Dozen. Id. Mr. Clegg also



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   reporteded that Facebook “continue[s] to experiment with signals that we can use … to demote
   content that we predict will contain low quality information.” Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. This

   particular section—like the entirety of the email—discusses adaptation and application of

   Facebook’s own content moderation policies, to which all users agree, and says nothing about

   “expanded efforts of censorship,” says nothing about the Advisory, nor makes any assertion that

   Facebook has taken any actions “in response to the Advisory.” As explained above, Defs.’ Resp.

   to PFOF ¶ 374, the email as a whole contradicts Plaintiffs’ position; indeed, with respect to the

   Disinformation Dozen, the email specifically notes that Facebook “removed” some of their content

   “for violating our policies,” but “[t]he remaining accounts associated with these individuals are

   not posting content that breaks our rules.” Waldo. Ex. 25 at 2 (emphasis added). In sum, this

   PFOF contains no evidence that OSG or other federal officials threatened or pressured Facebook

   to censor speech, or that Facebook regarded (or acted on) any communications by OSG or other

   federal officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

            376. In another long section entitled “Increasing Transparency,” Mr. Clegg detailed a
   list of actions taken by Facebook to share data about the reach of misinformation on its platforms,
   per federal demands. Id. at 2-3; see also Waldo Dep. 269:20-277:8 (reviewing the content of the
   August 20 email in detail).

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   referenced section of the email says nothing about “federal demands” (of which there is no

   evidence), and contrary to describing “actions taken by Facebook to share data,” the email simply

   identifies other data sources and/or vaguely remarks that it is “in internal discussions” or “looking

   at ways” to provide information. In sum, this PFOF contains no evidence that OSG or other federal

   officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted




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   on) any communications by OSG or other federal officials as such. Any implicit assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§

   II.B.1.c & II.B.2.

          377. Waldo agrees that this email is “a report back to [OSG’s] request for report in two
   weeks related to actions they took in respect to the advisory.” Waldo Dep. 270:19-23.

          RESPONSE: Undisputed that this is an accurate account of the deposition testimony.

   However, the e-mail itself does not state that Facebook was “reporting back about actions taken,”

   nor does it mention the Advisory. Waldo Ex. 24 at 1. T In any event, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           378. Waldo responded to Mr. Clegg by stating that “we look forward to continuing to
   move forward together with urgency and solutions during these extraordinary times.” Waldo Ex.
   25, at 1. The phrase “urgency and solutions” was intended to push Facebook to increase its anti-
   misinformation efforts: “I was hoping that Facebook would continue to move. Urgency means,
   you know, that they would take this seriously, and solutions means that they would also come with
   real solutions to the problems and not just pretend to solve problems.” Waldo Dep. 277:23-278:3.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. Mr.

   Waldo testified that he “hop[ed]” Facebook “would continue to move”—not that he intended to

   “push Facebook to increase its anti-misinformation efforts.” In sum, this PFOF contains no

   evidence that OSG threatened or pressured Facebook to censor speech, or that Facebook regarded

   (or acted on) any communications by OSG as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

         379. Three days later, on August 23, 2021, Rob Flaherty of the White House emailed
   Facebook, asking for a report on how they intended “to promote” the FDA’s approval of the Pfizer



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   vaccine and noting that the White House “[would] appreciate a push” of the vaccine information
   using specific “suggested language from [the White House].” Waldo Ex. 27, at 2. Facebook
   responded the same day with an additional report on new steps to remove vaccine misinformation:
   “We’re … updating our misinformation policies to remove the specific claims that ‘there are no
   FDA-approved vaccines’ and ‘the Pfizer vaccine is not FDA-approved.’ We’ll also continue to
   look for claims that are no longer accurate given the approval today.” Id. at 1. Facebook forwarded
   this report on increasing censorship to Waldo at OSG as well. Id.; see also Waldo Dep. 280:1-
   281:24.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. Mr.

   Flaherty’s initial email did not “ask[ ] for a report” but reads: “Now that FDA has approved Pfizer,

   I’m making the rounds to get a sense from the various platforms how (or if) you guys are planning

   to promote it in any way.” Ex. 27 at 2. Facebook responded, not by agreeing to use the White

   House’s “[s]uggested language,” but by informing the White House that it would be

   “amplify[ying] authoritative partner content” related to the vaccine approval using different

   language. Id. at 1. Moreover, Facebook notes its independent decision to update its misinformation

   policies, which was not mentioned in the White House’s initial email. Id. Thus, the email

   demonstrates Facebook’s exercise of independent discretion on how or whether to “promote” FDA

   approval of the Pfizer vaccine, and how or whether to address misinformation related to that

   approval. See id. (“We’ll also continue to look for claims that are no longer accurate given the

   appropal today.”). In any event, this PFOF contains no evidence that OSG or other federal officials

   threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG or other federal officials as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          380. On September 18, 2021, Facebook sent Eric Waldo and Rob Flaherty another bi-
   weekly report, and also noted that “I’m sure you also saw yesterday’s story in the WSJ about the
   spread of COVID-19 misinformation in comments on Facebook,” which Facebook disagreed with
   and offered to discuss. Waldo Ex. 30, at 1. Flaherty responded, “Happy to talk about it, Brian.
   Would be interested to see, as we have long asked for, how big the problem is, what solutions



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   you’re implementing, and how effective they’ve been.” Id. Facebook promised, “we will circle
   back over the next few days to brief.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           381. On September 29, 2021, Google emailed Eric Waldo to “share an update we
   recently made to YouTube’s policies pertaining to vaccine-related misinformation.” Google
   reported: “We just announced that we will be introducing a new policy that prohibits content that
   includes harmful misinformation about the safety, efficacy, or ingredients for currently
   administered vaccines…” Waldo Ex. 31, at 1.

          RESPONSE: Undisputed, except to clarify that the email may have come from YouTube

   personnel (not Google personnel) and speaks to YouTube policies (not necessarily Google

   policies). See Waldo Ex. 31 at 1 (signature block of sender indicates he works for YouTube). In

   any event, this PFOF contains no evidence that OSG threatened or pressured Google/YouTube to

   censor speech, or that Google/YouTube regarded (or acted on) any communications by OSG as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           382. On October 19, 2021, Rob Flaherty emailed Facebook, copying several White
   House officials and Eric Waldo, and asked Facebook to “connect on what the admin’s plans are
   for the 5-11 vaccine rollout.” Waldo Ex. 32, at 1. The “5-11 vaccine rollout” refers to the approval
   of vaccines for children ages 5 to 11 years old. Waldo Dep. 298:20-23.

          RESPONSE: Undisputed, except to clarify that Mr. Waldo testified that the “5-11 vaccine

   rollout” refers to authorization (not “approval”) of the vaccine for children ages 5 to 11. In any

   event, this PFOF contains no evidence that OSG or other federal officials threatened or pressured

   Facebook to censor speech, or that Facebook regarded (or acted on) any communications by OSG




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   or other federal officials as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          383. Flaherty requested that Facebook report on its censorship plans for claims on social
   media about the authorization of vaccines for children ages 5 to 11: “We’d like to talk about what
   we’re seeing as the biggest headwinds we’re going to face, and discuss what you all are planning
   as we move into this next phase. We remain concerned about mis- and disinformation on feed and
   groups, and the wide reach of hesitancy-inducing content across your platform.” Waldo Ex. 32,
   at 1.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted language does not ask Facebook to “report on its censorship plans” but rather alludes to

   Facebook’s own “plan[s]” regarding application of its content moderation policies, to which all

   users agree, following authorization of COVID-19 vaccines for children aged 5 to 11. In sum, this

   PFOF contains no evidence that OSG or other federal officials threatened or pressured Facebook

   to censor speech, or that Facebook regarded (or acted on) any communications by OSG or other

   federal officials as such. Any implicit assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

         384. Facebook responded, agreeing to the meeting: “we’d welcome the opportunity.
   Adding Felicia on our end to help coordinate.” Waldo Ex. 32, at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           385. Waldo states that he does not recall whether this meeting occurred or if he
   participated, but he agrees that the meeting probably occurred: “Probably. If they added
   schedulers, usually those meetings happen.” Waldo Dep. 300:14-23.




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           RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.


      I.      The Surgeon General and White House Hammer Facebook.

           386. On October 28, 2021, the Washington Post ran a story based on information from
   Frances Haugen reporting that “Facebook researchers had deep knowledge of how coronavirus
   and vaccine misinformation moved through the company’s apps, according to documents
   disclosed by Facebook whistleblower Frances Haugen.” Waldo Ex. 33, at 1.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           387. In response to the article, on October 29, Surgeon General Murthy issued a series
   of Tweets from his official Twitter account demanding that Facebook increase censorship and give
   outside researchers access to its data. Waldo Ex. 33, at 1. In the Tweet thread, Dr. Murthy stated:
   “I was deeply disappointed to read this story. Health misinformation has harmed people’s health
   and cost lives. In the Surgeon General’s Advisory on Health Misinformation, I stated clearly that
   tech platforms have a responsibility to improve our health information ecosystem. What continues
   to be lacking from Facebook and other tech companies is transparency and accountability. Only
   the companies understand the full extent of misinformation’s spread and impact – yet they have
   not yet shared this data with independent researchers and the public. Without this critical data, it
   is much harder to design the right interventions or hold the platforms accountable. … We must
   demand Facebook and the rest of the social media ecosystem take responsibility for stopping health
   misinformation on their platforms. The time for excuses and half measures is long past. We need
   transparency and accountability now. The health of our country is at stake.” Id. Dr. Murthy
   repeated the mantras “transparency” and “accountability,” threatening that the federal government
   would “hold the platforms accountable” for misinformation. Id.

           RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted tweets, Waldo Ex. 33 at 1, do not support the assertion that Dr. Murthy “demand[ed] that


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   Facebook increase censorship” or provide access to all internal “data.” Nor do the Tweets

   “threaten[] that the federal government” would do anything to Facebook or any other platforms.

   Shorn of Plaintiffs’ mischaracterization, this PFOF contains no evidence that OSG or other federal

   officials threatened or pressured social media companies to censor speech, or that social media

   companies regarded (or acted on) any communications by OSG or other federal officials as such.

   Any implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          388. This Tweet thread reflects Dr. Murthy’s own words, as he “made the final and
   substantial edits” to the Tweets. Waldo Dep. 303:25-304:17.

          RESPONSE: Undisputed. However, neither this PFOF nor the referenced tweet thread

   contains no evidence that OSG or other federal officials threatened or pressured social media

   companies to censor speech, or that social media companies regarded (or acted on) any

   communications by OSG or other federal officials as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          389. Waldo agrees that the Twitter thread demands “transparency and accountability
   around health misinformation, especially vis-à-vis the social media organizations,” and “demands
   that Facebook and the other platforms do more” to “stop[] health misinformation.” Id. at 305:6-
   22. “Lots of work went into” crafting that message, according to Waldo. Id. at 306:7-8.

          RESPONSE: Undisputed that Mr. Waldo’s deposition testimony is accurately quoted, but

   note that Mr. Waldo did not agree that the thread “demands” anything; he stated that “the tweet

   thread speaks for itself.” Waldo Dep. 305:4-5. In any event, this PFOF contains no evidence that

   the Surgeon General used these Tweets to threaten or pressure Facebook or any other social media

   company to censor speech, or that Facebook or other social media companies regarded (or acted

   on) these Tweets, or any other communications by the Surgeon General or OSG, as such. Any




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   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           390. On October 28, 2021, the same day as the Washington Post article, Rob Flaherty
   emailed Brian Rice of Facebook a hyperlink to the article. The only text in the email was the
   subject line, which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

         391. Facebook responded to Flaherty by stating, “nothing in the story is inconsistent
   with what we briefed on,” and providing its account of the facts underlying the story. Id. at 1.
   Facebook then forwarded this response to Waldo and the OSG, noting that “I saw the Surgeon
   General’s reaction on Twitter,” and asking for “a longer conversation next week” about the issue.
   Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG or other

   federal officials threatened or pressured Facebook to censor speech, or that Facebook regarded (or

   acted on) any communications by OSG or other federal officials as such. Any implicit assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A, Arg.

   §§ I.B.1 & II.B.1.b & II.B.2 (White House); Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2 (Surgeon

   General).

           392. Waldo describes both the Surgeon General’s public Tweet threat, and Rob
   Flaherty’s private email to Facebook, as different ways of “hitting up Facebook” about the Frances
   Haugen article: “this was one of the most popular articles in all of news that week, so I'm not
   surprised that people who care a lot about this issue were certainly hitting up Facebook about it.”
   Waldo Dep. 307:13-22.

          RESPONSE: Disputed as a mischaracterization of deposition testimony. It does not refer

   to a “public Tweet threat.” See also Defs.’ Resp. to PFOF ¶ 387. In any event, this PFOF contains




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   no evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           393. On October 28, 2021, Nick Mr. Clegg also emailed Dr. Murthy and asked for a
   meeting to discuss the “intense debate that’s been prompted by the documents disclosed by a
   former employee.” Waldo Ex. 36, at 2. Waldo responded on behalf of the OSG, stating that “we
   have seen the recent public reports around Facebook and misinformation. We are certainly
   concerned about what we are seeing, given our emphasis on health misinformation in our advisory
   and the ongoing conversations our teams have been having. As has been the case, you’ll continue
   to see us raising the issue of health misinformation in public and in private as a critical public
   health issue.” Id. at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG threatened

   or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           394. Regarding his reference to “in private,” Waldo admits that this refers to “closed-
   door meetings” with platforms like Facebook: “in the government, you're not always just doing a
   panel that's open press, you're meeting with stakeholders … in closed-door meetings….” Waldo
   Dep. 312:13-16. The Surgeon General’s Office was continuously pushing for action against health
   misinformation “in public and private” meetings with stakeholders: “talking about health mis- and
   disinformation was in our talking points of when we talked to stakeholders in public and private.”
   Id. at 313:8-11.

          RESPONSE: Disputed to the extent that Plaintiffs’ mischaracterize Mr. Waldo as

   testifying that “in private” refers to “‘closed-door meetings’ with platforms like Facebook” and

   that “[t]he Surgeon General’s Office was continuously pushing for action against health

   misinformation.” Mr. Waldo explained that the reference to “in private” meant “nonpublic

   meetings” with all kinds of stakeholders, such as “the PTA [Parent Teacher Association],” where

   OSG would speak generally about its work by noting, “[y]ou saw us issue an advisory on health

   mis- and disinformation. You saw, you know, coming soon, youth mental health, workplace



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   mental health, clinical burnout, social isolation and loneliness.” Waldo Dep. 312:12-313:11. In

   any event, this PFOF contains no evidence that OSG threatened or pressured social media

   companies to censor speech, or that social media companies regarded (or acted on) any

   communications by OSG as such. Any implicit assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           395. The next day, October 29, 2021, Facebook sent a long email to Rob Flaherty, Eric
   Waldo, and several other White House officials referring back to an October 25 meeting about
   vaccines for children ages 5-11. Waldo Ex. 37, at 3-4; Waldo Dep. 315:8-316:15. The email
   reported to the White House and OSG a “detailed description of [Facebook’s] plans” for the
   approval of vaccines for children. Id. at 4. The plans included immediately updating policies to
   censor claims relating to vaccination of children: “As discussed, soon as the EUA is issued, we
   will also be able to apply claims from our current misinfo policies for COVID-19 vaccines to
   include claims about child vaccinations.” Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   email does not refer to “updating policies to censor claims”; rather, it discusses the application of

   Facebook’s existing “misinfo policies for COVID-19 vaccines,” to which all users agree, to claims

   about newly authorized “child vaccinations.” Note also that the email refers to emergency use

   authorization (not approval) of the vaccine for children. In any event, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.A, Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House); Defs.’ PFOF §

   II.B, Arg. §§ II.B.1.c & II.B.2 (Surgeon General).

          396. Facebook also noted that it was relying directly on the CDC to decide what to
   censor: “We were able to make this change based on the conversation we had last week with the
   CDC…. There are several claims we will be able to remove as soon as the CDC debunks them.”
   Id.




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          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence to the

   extent this PFOF is intended to suggest that Facebook removed any claims “debunk[ed]” by CDC

   without exercising its own judgment regarding application of its content moderation policies. As

   discussed below, see Defs.’ Resp. to Pls.’ PFOF ¶¶ 491-92, 502 (among others), Facebook relied

   on CDC only to provide scientific information, but Facebook itself determined what its

   misinformation policies should be and how to enforce them. Moreover, the email, without

   Plaintiffs’ selective quotation, states: “We were able to make this change based on the conversation

   we had last week with the CDC, expected language from the EUA, and previous conversations

   with health authorities.” Waldo Ex. 37, at 3. In any event, this PFOF contains no evidence that

   OSG, CDC, or other federal officials threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG, CDC, or other federal officials, as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

            397. Facebook then asked federal officials to provide a federal health authority to dictate
   what content would be censored on Facebook’s platforms: “We expect the approval of COVID
   vaccines for kids aged 5-11 will be another significant peak of new misinformation claims. Our
   policy allows us to take action against this content once those claims have been debunked and
   confirmed harmful by a public health authority. We’re committing to addressing these quickly; to
   do so effectively, we will need a channel to a health expert with whom we can discuss these claims
   in real time. Is this something we could partner on, and if so, would your team be able to connect
   us with a point person?” Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited email,

   which says nothing about requesting a “federal health authority” to “dictate what content would

   be censored on Facebook’s platforms.” Rather, it requests identification of a “health expert” with

   whom it “can discuss” claims regarding children’s vaccines “in real time” to determine what action

   it can take regarding under its own (“[o]ur”) policy. In sum, this PFOF contains no evidence that

   OSG, CDC, or other federal officials threatened or pressured Facebook to censor speech, or that



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   Facebook regarded (or acted on) any communications by OSG, CDC, or other federal officials, as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

            398. On November 4, 2021, Facebook followed up again to OSG and the White House
   with additional reports of censoring misinformation: “Last Friday, we updated our misinformation
   policies for COVID-19 vaccines to make clear they apply to claim about children,” identifying a
   list of specific claims. Id. at 1.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited email,

   which does not discuss “censoring misinformation” but updating Facebook’s “misinformation

   policies,” to which all users agree, to make clear they apply to claims regarding vaccines for

   children. In sum, this PFOF contains no evidence that OSG, CDC, or other federal officials

   threatened or pressured Facebook to censor speech, or that Facebook regarded (or acted on) any

   communications by OSG, CDC, or other federal officials, as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

           399. Facebook made clear that the CDC was serving as the “health expert” who was
   dictating what could be said on Facebook’s platforms “in real time”: “We’re grateful to our
   partners at the CDC for helping get these debunked in advance of the announcement, and we look
   forward to staying connected on emerging COVID misinformation trends.” Id. at 1, 3.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   cited email says nothing to suggest that CDC was “dictating what could be said on Facebook’s

   platforms,” rather than Facebook’s own misinformation policies. The email clearly refers to CDC

   as a “partner[ ]” providing information that Facebook would take into consideration when making

   decisions regarding application of its policies. See Defs.’ Resps. to Pls.’ PFOF ¶¶ 397-98. As

   discussed extensively in connection with Plaintiffs’ factual assertions against CDC, see infra,

   Facebook relied on CDC only to provide scientific information—here, information in relation to




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   claims that “the COVID vaccine gives children Bell’s Palsy, causes blood clots in children, and

   causes multiple sclerosis in children,” Waldo Ex. 37—but Facebook itself “decide[s]” what its

   misinformation policies will be and how to enforce them. In sum, this PFOF contains no evidence

   that OSG, CDC, or other federal officials threatened or pressured Facebook to censor speech, or

   that Facebook regarded (or acted on) any communications by OSG, CDC, or other federal officials,

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.


   J.     The Surgeon General Threatens Regulation to Increase Censorship.

            400. On December 21, 2021, Dr. Murthy gave a podcast on the Omicron variant in which
   he again publicly threatened to hold the social-media platforms “accountable” for not censoring
   misinformation: “number one, we have to track down where this misinformation is coming from
   and understand how to hold platforms accountable, new technology platforms that are driving so
   much of the misinformation spread…. [B]y allowing this misinformation to proliferate on their
   sites, they're subjecting people in the United States and around the world to extraordinary harm,
   and they're doing so with little accountability at this moment and really with very little
   transparency. That can't be allowed to continue because it's putting everyone's health at risk.”
   Waldo Ex. 38, at 4 (Audio Tr. 7).

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted language, which comes from what purports to be a transcript of a portion of an interview

   with Dr. Murthy, does not constitute a “threat[ ]” by the Surgeon General, who has no regulatory

   or law-enforcement authority, to do anything, or specify how or by whom technology platforms

   should be held “accountable” for the proliferation of misinformation on their sites. In sum, this

   PFOF contains no evidence that the Surgeon General used these podcast remarks to threaten or

   pressure social media companies to censor speech, or that social media companies regarded (or

   acted on) these remarks, or any other communications, by the Surgeon General as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.



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          401. Dr. Murthy demanded “aggressive action” from the platforms to censor speech: “I
   do think that part of what they have to do, the platforms is take aggressive action against people
   who are intentionally spreading misinformation.” Id.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. The

   quoted language, a statement of opinion from what purports to be a transcript of a portion of an

   interview with Dr. Murthy, does not constitute a “demand[ ]” by Dr. Murthy that platforms take

   action any kind, aggressive or otherwise, much less that they “censor speech” as opposed to

   applying their own content moderation policies, to which all users agree. In sum, this PFOF

   contains no evidence that the Surgeon General used these podcast remarks to threaten or pressure

   social media companies to censor speech, or that social media companies regarded (or acted on)

   these remarks, or any other communications, by the Surgeon General as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg.

   §§ II.B.1.c & II.B.2.

           402. Waldo agrees that this message is “consistent with his previous statements as well
   as the content within the advisory itself.” Waldo Dep. 321:22-24.

          RESPONSE: Undisputed. However, as explained extensively throughout, Plaintiffs have

   adduced no evidence that these remarks, other remarks, or the Advisory itself, were used to

   threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by OSG as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          403. As Waldo concedes, Dr. Murthy’s threat to hold platforms “accountable” and his
   demand for “aggressive action” to censor misinformation “is consistent with the messaging we’ve
   reviewed all day today of the advisory, the rollout, the public statements” by OSG. Id. at 322:22-
   24.




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          RESPONSE: Disputed as a mischaracterization of and unsupported by the evidence. Mr.

   Waldo did not “concede[ ]” that Dr. Murthy had made any “threat” or “demand” of any kind. The

   deposition transcript states: “Q. And he also says: I do think that part of what they have to do, the

   platforms, is take aggressive action against people who are intentionally spreading misinformation.

   Right? A: Yes, that’s what he says in this podcast. Q: Okay. And does that reflect kind of the –

   that kind of reflect or re-emphasize the message in the health advisory? A. I think this is consistent

   with the messaging we’ve reviewed all day today.” Waldo Dep. 322:19-24. In sum, as explained

   extensively throughout, Plaintiffs have adduced no evidence that these remarks, other remarks, or

   the Advisory itself, were used to threaten or pressure social media companies to censor speech, or

   that social media companies regarded (or acted on) any communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

            404. On January 3, 2022, Dr. Murthy participated in Alyssa Milano’s podcast. Waldo
   Ex. 39, at 1. In the podcast, Dr. Murthy stated that the “sophistication with which this
   misinformation is spreading is truly unprecedented, and a lot of has been enabled by technology
   platforms in the social media which enable the spread, and … the platforms need to do a lot more
   is step up, to be accountable for making their spaces safer.” Id. at 3 (Audio Tr. 2). He also stated,
   “finally, I just want to come back to the technology companies for a moment here, because unless
   those platforms step up and make their spaces safer and reduce the amount of misinformation on
   their site, it’s going to be pretty tough to get a full handle on this spread of misinformation.” Id.
   at 5 (Audio Tr. 4).

          RESPONSE: Undisputed that the exhibit, which purports to be transcript of a portion of

   an interview with Dr. Murthy, reads as such; however, the exhibit does not establish the date of

   the interview. Defendants further note that Dr. Murthy also stated, “So we laid out steps that

   individuals [could] take, that technology companies could take, that healthcare workers, educators,

   government, and other stakeholders can take because it turns out there’s an important role for all

   of us. Waldo Ex. 39 at 4 (Audo Tr. 3:3-8). In sum, as explained extensively throughout, Plaintiffs




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   have adduced no evidence that these remarks, other remarks, or the Advisory itself, were used to

   threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by OSG as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

           405. Immediately after these comments, the podcast broadcast public comments by
   President Biden, stating: “Joe Biden: The unvaccinated are responsible for their own choices, but
   those choices had been shulled [sic] by dangerous misinformation on cable TV and social media.
   You know, these companies … are making money by ped[dling] lies and allowing misinformation
   that can kill their own customers and their own supporters. It's wrong. It's immoral. I call on the
   purveyors of these lies and misinformation to stop it. Stop it now.” Id.

          RESPONSE: Undisputed that the exhibit, which purports to be a transcript of a portion of

   a podcast involving Dr. Murthy, contains the quoted passage (except the alterations added by

   Plaintiffs). The full, accurate transcript of the President’s remarks—including the context in which

   they arose—is available on the White House’s website. See Ex. 156 (Remarks by President Biden

   on the Fight Against COVID-19, in Washington D.C. (Dec. 21, 2021), https://perma.cc/H94K-

   WN7Q). In any event, this PFOF contains no evidence that OSG or other federal officials pressured

   or threatened social media companies to censor speech, or that social media companies regarded

   (or acted on) any communications by OSG or other federal officials as such. Any implicit assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.A,

   Arg. §§ I.B.1 & II.B.1.b & II.B.2 (White House); Defs.’ PFOF § II.B, Arg. § II.B.1.c & II.B.2

   (Surgeon General).

          406. Waldo agrees that this podcast is “aligned with … the advisory and the other public
   statements we’ve seen so far.” Waldo Dep. 327:8-10.

          RESPONSE: Undisputed, except to clarify that Mr. Waldo stated that Dr. Murthy’s

   statements on the podcast “seem[] aligned with . . . the advisory and the other public statements




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   we’ve seen thus far.” Waldo Dep. 37:2-10. Mr. Waldo was not asked about the President’s

   comments until after this question was asked. See id. at 327:16-22. In any event, as explained

   extensively throughout, Plaintiffs have adduced no evidence that these remarks, other remarks, or

   the Advisory itself, were used to threaten or pressure social media companies to censor speech, or

   that social media companies regarded (or acted on) any communications by OSG as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           407. Dr. Murthy also called for the platforms to “go after people who are superspreaders
   of misinformation on these sites,” which Waldo agrees is “entirely consistent … with the messages
   that Dr. Murthy was sharing about health mis- and disinformation.” Id. at 329:23-330:18.

          RESPONSE: Undisputed, except to note that the first quote comes from Waldo Ex. 39 at

   6, and reads in full: “We’re also asking them to go after people who are super spreaders of

   misinformation on these sites …” (Audio Tr. 5:7-8). In any event, as explained extensively

   throughout, Plaintiffs have adduced no evidence that these remarks, other remarks, or the Advisory

   itself, were used to threaten or pressure social media companies to censor speech, or that social

   media companies regarded (or acted on) any communications by OSG as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           408. On February 14, 2021, Dr. Murthy participated in a panel discussion hosted by the
   Rockefeller Foundation. Waldo Ex. 41. Dr. Murthy stated, “what feels different in this moment
   compared to ten years ago or [twenty] years ago is this speed, scale, and sophistication with which
   this misinformation is spreading and much of it has been enabled, in fact, by technology platforms,
   and we talk to people about where they're encountering misinformation. It's off and on social media
   channels and other tech platforms. … We need certainly technology companies to step up and do
   more, to help reduce this spread of misinformation, and to be transparent with the public about
   how much misinformation is being transacted on their sites and whether their methods of
   addressing it are working or not. We do not have enough transparency on that front and that is
   hindering us in our response of misinformation.” Id. a 6-7 (Audio Tr. 9-10).




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          RESPONSE: Undisputed that the exhibit, which purports to be a transcript of a portion of

   a panel discussion involving Dr. Murthy, reads as such (with minor alterations). However, Dr.

   Murthy emphasizes that the Advisory “call[s] for a broad all of society response” and outlines

   steps that others besides platforms can take—“nurses and doctors and others in the healthcare

   professions,” “educators and the education community” and even “we, as individuals ….” Waldo

   Ex. 41 at 7-8 (Audio Tr. 10:23-11:6). In any event, this PFOF contains no evidence that the

   Surgeon General used the remarks to pressure or threaten social media companies to censor speech,

   or that social media companies regarded (or acted on) these remarks, or any other communications,

   by the Surgeon General as such. Any implicit assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           409. Waldo agrees that this is “a consistent message with what we've seen in previous
   public statements, interviews, as well as the advisory itself.” Waldo Dep. 331:23-25.

          RESPONSE: Undisputed. However, as explained extensively throughout, Plaintiffs have

   adduced no evidence that these remarks, other remarks, or the Advisory itself, were used to

   threaten or pressure social media companies to censor speech, or that social media companies

   regarded (or acted on) any communications by OSG as such. Any implicit assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          410. In the same panel, Dr. Murthy stated that there is a role for government to set “safety
   standards” when it comes to misinformation, which directly suggests government regulation and
   foreshadowed the OSG’s forthcoming Request for Information (RFI): “And, of course, there’s a
   role for government here as well to set safety standards, to push for transparency and
   accountability, particularly from platforms.” Waldo Ex. 41, at 8 (Audio Tr. 11). Dr. Murthy then
   immediately foreshadowed the OSG’s forthcoming Request for Information (RFI) as a step toward
   government “setting safety standards”: “There are steps we are working now that we will be – you
   know, have more to say about it in the … coming weeks and months ahead, to try to, in fact, gather
   even more information about the impact of health misinformation on health professionals of the
   public and also in the role that technology companies may be playing on that on that front.” Id.




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   Less than a month later, the OSG issued a formal RFI for information about misinformation on
   social media platforms.

          RESPONSE: Disputed to the extent the PFOF implies that the establishment of “safety

   standards” necessarily entails “government regulation,” neither of which has ensued from OSG’s

   Request for Information. Note also that OSC has no authority to issue or enforce regulations of

   any kind. See Lesko Decl. ¶ 3 (Ex. 63). In any event, this PFOF contains no evidence that the

   Surgeon General used the remarks to pressure or threaten social media companies to censor speech,

   or that social media companies regarded (or acted on) these remarks, or any other communications,

   by the Surgeon General as such. Any implicit assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           411. On March 3, 2021, the OSG issued a formal RFI in the Federal Register, seeking
   information from social-media platforms and others about the spread of misinformation on social
   media. Waldo Ex. 42 (87 Fed. Reg. 12712). The RFI is entitled, “Impact of Health Misinformation
   in the Digital Information Environment in the United States Throughout the COVID–19 Pandemic
   Request for Information (RFI).” Id. at 1.

          RESPONSE: Disputed to the extent Plaintiffs suggest that the RFI was limited to “seeking

   information from social-media platforms and others about the spread of misinformation on social

   media.” The RFI, Waldo Ex. 42, seeks information from all “interested parties” about, inter alia,

   “how COVID-19 misinformation has affected quality of patient care during the pandemic” and

   “how COVID-19 misinformation has impacted individuals and communities.” Id. In any event,

   this PFOF contains no evidence that OSG used the RFI to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the RFI, or any

   other communications or issuances by OSG, as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.




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           412. “Kyla [Fullenwider] was the primary driver on the RFI from a content expert
   perspective.” Waldo Dep. 338:22-23. Though she was employed at U.S. Digital Response, “she
   was doing work on behalf of the Surgeon General.” Id. at 340:8-9. Kyla Fullenwider is also
   responsible for receiving and reviewing the responses to the RFI. Id. at 362:6-10. “Kyla was the
   subject matter expert who was guiding this RFI process.” Id. at 362:15-17.

          RESPONSE: Disputed. Ms. Fullendwider was not “employed at U.S. Digital Response”

   in March 2022; she was employed by OSG. See Lesko Decl. ¶ 17 (Ex. 63). And Mr. Waldo testified

   that he believed Ms. Fullenwider was “the one running point on this,” not that she was “responsible

   for receiving and reviewing the response to the RFI.” Waldo Dep. 362:6-10. Otherwise, the PFOF

   accurately quotes Mr. Waldo’s testimony as to his understanding of Ms. Fullenwider’s role. In any

   event, this PFOF contains no evidence that OSG used the RFI to threaten or pressure social media

   companies to censor speech, or that social media companies regarded (or acted on) the RFI, or any

   other communications or issuances by OSG, as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          413. The RFI defines “technology platforms” very broadly, indicating that the Surgeon
   General is expanding its attempts to control the spread of so-called “misinformation”:
   “Technology platforms include the following: General search engines, content sharing platforms,
   social media platforms, e-commerce platforms, crowd sourced platforms, and instant messaging
   systems.” Waldo Ex. 42, at 2; see also Waldo Dep. 341:14-342:7.

          RESPONSE: Disputed as an argumentative mischaracterization of the evidence. The

   quoted language does not “indicat[e] that the Surgeon General is expanding its attempts to control

   the spread of so-called ‘misinformation.’” In any event, this PFOF contains no evidence that OSG

   used the RFI to threaten or pressure social media or technology companies to censor speech, or

   that social media or technology companies regarded (or acted on) the RFI, or any other

   communications or issuances by OSG, as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.




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          414. Under the heading “Information About Technology Platforms,” the RFI seeks a
   long series of detailed information about misinformation on such platforms, including
   “Information about how widespread COVID–19 misinformation is on individual technology
   platforms,” Waldo Ex. 42, at 2; “any aggregate data and analysis on the prevalence of COVID–19
   misinformation on individual platforms including exactly how many users saw or may have been
   exposed to instances of COVID–19 misinformation,” id. at 2-3; and “[a]ny aggregate data and
   analysis on how many users were exposed, were potentially exposed, or otherwise engaged with
   COVID–19 misinformation,” id. at 3.

          RESPONSE: Undisputed, except to note that Plaintiffs’ characterization of the RFI as

   “seeking a long series of detailed information” is argumentative (not factual), and that responses

   to the RFI were purely voluntary. See Lesko Decl. ¶ 6 (Ex. 63); Waldo Ex. 42 at 2 (“Please feel

   free to respond to as many topics as you choose.”). In any event, this PFOF contains no evidence

   that OSG used the RFI to threaten or pressure social media or technology companies to censor

   speech, or that social media or technology companies regarded (or acted on) the RFI, or any other

   communications or issuances by OSG, as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           415. The RFI also seeks detailed information about censorship policies and how they are
   enforced: “Information about COVID–19 misinformation policies on individual technology
   platforms,” and “[a]ny aggregate data and analysis of technology platform COVID–19
   misinformation policies including implementation of those policies and evaluations of their
   effectiveness.” Id. at 3.

          RESPONSE: Undisputed except to note that the quoted language sought information

   about “COVID-19 misinformation policies,” not “censorship policies.” In any event, this PFOF

   contains no evidence that OSG used the RFI to threaten or pressure social media or technology

   companies to censor speech, or that social media or technology companies regarded (or acted on)

   the RFI, or any other communications or issuances by OSG, as such. Any implicit assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§

   II.B.1.c & II.B.2.




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            416. The RFI also seeks detailed information about disfavored speakers on social-media
   platforms, requesting “[i]nformation about sources of COVID–19 misinformation,” including
   “[i]nformation about the major sources of COVID–19 misinformation associated with exposure.”
   Id. at 3. The RFI makes clear that “source” refers to speakers on platforms: “By source we mean
   both specific, public actors that are providing misinformation, as well as components of specific
   platforms that are driving exposure to information.” Id. at 3.

          RESPONSE: Undisputed except to note that the quoted language sought information

   regarding “major sources” of misinformation, and says nothing about information, “detailed” or

   otherwise, about “disfavored speakers.” Notably, the RFI stressed that “all information should be

   provided at a level of granularity that preserves the privacy of users” and that no “personally

   identifiable information should be submitted in response to this RFI.” Waldo Ex. 42 at 2. In any

   event, this PFOF contains no evidence that OSG used the RFI to threaten or pressure social media

   or technology companies to censor speech, or that social media or technology companies regarded

   (or acted on) the RFI, or any other communications or issuances by OSG, as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

            417. Especially in light of Dr. Murthy’s prior public statements about the government
   “setting safety standards” for misinformation, Waldo Ex. 41, at 8 (Audio Tr. 11), the RFI carries
   a clear implied threat of future regulation against the social-media and other technology platforms.

          RESPONSE: Disputed as argumentative and unsupported by the cited evidence. As noted

   above, Defs’ Resp. to Pls.’ PFOF ¶ 410, Dr. Murthy’s passing reference, during a panel discussion,

   to the establishment of “safety standards” does not necessarily imply the promulgation of binding

   “government regulation[s],” which OSG has no authority to issue or enforce, and which in fact did

   not result from the publication of the RFI. In sum, this PFOF contains no evidence that OSG used

   the RFI to threaten or pressure social media or technology companies to censor speech, or that

   social media or technology companies regarded (or acted on) the RFI, or any other




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   communications or issuances by OSG, as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          418. Contemporaneous media coverage portrayed the RFI as a “demand” for
   information from platforms. See, e.g., Waldo Ex. 44, at 1 (Brad Dress, Surgeon General Demands
   Data on COVID-19 Misinformation from Major Tech Firms, The Hill (Mar. 3, 2022, 11:24 am)).

          RESPONSE: Dispute as unsupported that any implication that the single news article cited

   by Plaintiffs is representative of the “media coverage” of the RFI. Undisputed that the headline of

   the cited article referred to the RFI as a “demand,” but that is also irrelevant. The sole pertinent

   evidence of what the RFI contains is the RFI itself. In any event, the body of the article undercuts

   its sensationalized headline, stating that “Dr. Murthy has reportedly asked for” and “is requesting”

   information. In sum, this PFOF contains no evidence that OSG used the RFI to threaten or pressure

   social media or technology companies to censor speech, or that social media or technology

   companies regarded (or acted on) the RFI, or any other communications or issuances by OSG, as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           419. Max Lesko, the Surgeon General’s Chief of Staff, also sent the RFI to several major
   tech platforms with a formal letter requesting that they respond. Waldo Dep. 348:20-22. He sent
   nearly identical letters to Facebook, Google, LinkedIn, Twitter, YouTube, and Microsoft. Waldo
   Exs. 46, 47, 48, 49, 50, 51. Each letter was directed to the CEO of the platform over General
   Murthy’s signature. Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used these

   letters or the RFI to threaten or pressure social media or technology companies to censor speech,

   or that social media or technology companies regarded (or acted on) the letters, the RFI, or any

   other communications or issuances by OSG, as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.




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           420. Each letter stated, “The proliferation of health misinformation during the pandemic
   has been both extensive and dangerous. … It is clear that we must do everything we can to address
   this threat.” Id. Each letter referred to the July 15, 2021 Health Advisory, noting that “a large
   proportion of health misinformation is spread through technology platforms,” and “my Advisory
   includes a call for technology companies to join this broader effort to create a safer, healthier
   information environment.” Id. Each letter advised the social-media platforms of the RFI, and
   formally “request[ed] that your company contribute to the RFI…. Specifically, I am requesting
   responses from companies about the extent and spread of COVID-19 misinformation on their
   technology platforms, policies to address COVID-19 misinformation and their effectiveness, [and]
   sources of COVID-19 misinformation….” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that OSG used these

   letters or the RFI to threaten or pressure social media or technology companies to censor speech,

   or that social media or technology companies regarded (or acted on) the letters, the RFI, or any

   other communications or issuances by OSG, as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.

          421. On May 3, 2022, Facebook notified the White House and OSG that it had “filed a
   response to the Surgeon General’s rfi on Covid misinformation and would be happy to discuss at
   the appropriate time.” Waldo Ex. 54, at 2. To date, the OSG has never made this or any other the
   responses to its RFI public.

          RESPONSE: Disputed to the extent that Plaintiffs assert “the OSG has never made this or

   any other [of] the responses to its RFI public.” OSG posted the responses it received, including

   Facebook’s and the responses of the other social media companies that answered the RFI (not all

   of them did), in April 2023. See Lesko Decl. ¶ 6 (Ex. 63). They are available at

   https://www.regulations.gov/comment/HHS-OASH-2022-0006-0002. See also Ex. 70 (RFI

   Responses Compiled, Dep’t of Health & Hum. Servs (Apr. 7, 2023) (excerpt containing Twitter,

   Google, and YouTube’s responses). In any event, this PFOF contains no evidence that OSG used

   the RFI to threaten or pressure social media or technology companies to censor speech, or that

   social media or technology companies regarded (or acted on) the RFI, or any other




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   communications or issuances by OSG, as such. Any implicit assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

           422. Shortly after the RFI was issued, on March 11, 2022, GQ magazine published an
   interview with Dr. Murthy. Waldo Ex. 52. In this interview, Dr. Murthy stated, “we all have a
   responsibility to do everything we can to reduce the spread of misinformation… Whether you have
   one million followers on social media, or you’ve got 10 followers, we all have platforms and
   people in our lives who trust us.” Id. at 6. He called on platforms like Spotify (which was then
   being criticized for hosting Joe Rogan’s podcast) to censor health misinformation: “If you’re
   running a platform, whether it’s a Spotify or another social media platform, you’ve got to think
   about, how do I create a healthy information environment here? How do I create rules and a culture
   that promotes accurate information?” Id. He emphasized that “a platform has the ability, the
   opportunity, and the responsibility to create rules and a culture that supports the dissemination of
   accurate information and that reduces the spread of misinformation.” Id. at 7.

          RESPONSE: Disputed as a mischaracterization of the evidence to the extent that Plaintiffs

   assert the Surgeon General “called on platforms like Spotify . . . to censor health misinformation.”

   The interview says nothing about “censor[ing]” information. Dr. Murthy was asked: “What would

   you like to see a company like Spotify do in the case of someone like Joe Rogan, who has a huge

   platform, . . . and is sometimes having guests on who offer up COVID misinformation?” Waldo

   Ex. 52 at 6. Dr. Murthy responded: “I believe we all have a responsibility to do everything we can

   to reduce the spread of misinformation. We all have different abilities, different platforms. So if

   you are a parent and you have kids who listen to you, then you have a responsibility to help ensure

   that they have access to accurate information. If you’re a manager at an office and you’ve got

   people who listen to you and are looking to you for information about workplace health policies,

   you’ve got to make sure you give them information-designed policies that are based on solid

   scientific evidence. Whether you have one million followers on social media, or you’ve got 10

   followers, we all have platforms and people in our lives who trust us. That means we all have to

   be responsible about how we speak about science and about health, particularly when it comes to

   COVID. That’s at the heart of this. If you’re running a platform, whether it’s a Spotify or another




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   social media platform, you’ve got to think about, how do I create a healthy information

   environment here?” Id. Dr. Murthy went on to say: “This is different from censorship. This

   debate often can go down the pathway of, do you support censorship or not? To me, that

   misses the mark. In America, we believe in certain rights. One of those is free speech. The

   rights that we support and honor and cherish in America are one of the many reasons that

   my parents and generations of immigrants came to this country.” Id. at 7 (emphasis added).

   In any event, this PFOF contains no evidence that the Surgeon General used this interview to

   threaten or pressure social media companies to censor speech, or that social media companies

   regard these remarks, or any other communications, by the Surgeon General as such. Any implicit

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.B, Arg. §§ II.B.1.c & II.B.2.

           423. Echoing his prior comments about “setting safety standards” by government, Dr.
   Murthy compared censorship “rules” for misinformation to speed limits: “We have speed limits
   on the road because we know that sometimes if you drive too fast, that can have an impact on
   somebody else’s health and wellbeing. If we’re going to live together in a society, we’ve got to
   take steps and observe certain rules to help protect other people. That’s true here as well. Platforms
   have an opportunity to help shape that environment in their own way. We all do. That’s our
   responsibility at a time like this.” Id.

          RESPONSE: Disputed as an argumentative mischaracterization of the evidence. The

   quoted language does not refer to “censorship ‘rules,’” and in fact, the full passage contradicts

   Plaintiffs’ characterization: “This is different from censorship. This debate often can go down the

   pathway of, do you support censorship or not? To me, that misses the mark. In America, we believe

   in certain rights. One of those is free speech. The rights that we support and honor and cherish in

   America are one of the many reasons that my parents and generations of immigrants came to this

   country. But we also live in a society. That means we need common rules for the common good.

   We have speed limits ….” Waldo Ex. 52 at 7 (emphasis added). In any event, this PFOF contains




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   no evidence that the Surgeon General used this interview to threaten or pressure social media

   companies to censor speech, or that social media companies regard these remarks, or any other

   communications, by the Surgeon General as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c

   & II.B.2.


   K.     The White House and Surgeon General Continue Oversight of Censorship..

          424. On June 22, 2022, Facebook again emailed Waldo, Rob Flaherty, and other White
   House officials with an update on Facebook’s increased censorship. Waldo Ex. 53, at 1. In the
   email, Facebook stated that it “[w]anted to ensure that you were aware of our policy updates
   following the early childhood vaccine approvals. As of today, all COVID-19 vaccine related
   misinformation and harm policies on Facebook and Instagram apply to people 6 months or
   older….” Id. Facebook indicated that it had again relied on the CDC to dictate what claims people
   can post on Facebook: “We expanded these policies in coordination with the CDC and ensured
   that we also included false claims that might be connected to children….” Id.

          RESPONSE: Disputed as a mischaracterization of the evidence. The email says nothing

   about “increased censorship,” nor does it indicate that Facebook “relied on the CDC to dictate

   what claims people can post on Facebook.” As the quoted language states, the email was providing

   “updates” on Facebook’s and Instagram’s “misinformation policies,” and explained they were

   made “in coordination with” CDC to ensure inclusion of “false [vaccine] claims that might be

   connected to children.” Even more to the point, the email does not refer to, or provide evidence

   of, any “oversight” by federal officials of Facebook’s policies. This PFOF contains no evidence

   that OSG or other federal officials threatened or pressured Facebook to censor speech, or that

   Facebook regarded (or acted on) any communications by OSG or other federal officials as such.

   Any implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.

          425. Throughout this period, at the federal officials’ request, Facebook continued to send
   bi-weekly “Covid Insights Reports” reporting on COVID-19 related misinformation on its
   platforms to the White House and OSG. See, e.g., Waldo Ex. 54, at 2-4. In the spring of 2022,


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   Facebook repeatedly asked the federal officials if it could discontinue or reduce the frequency of
   these reports, which it had been sending for over a year. Id. at 2. Finally, on June 13, 2022,
   Facebook notified the White House and OSG that “we will plan to discontinue these unless we
   hear from you that this information continues to be valuable.” Id. at 1. Rob Flaherty responded
   the same day, requesting that Facebook continue to send the reports and further asking Facebook
   to report on how it would handle misinformation for early-childhood (under age 5) vaccines: “It
   would be helpful to continue to get these as we start to ramp up under 5 vaccines. Obviously, that
   has a potential to be just as charged. Would love to get a sense of what you all are planning here.”
   Id. Facebook continued to send the reports as requested, including two reports on July 17, 2022,
   and promised to continue sending them. Id.

          RESPONSE: Disputed as an argumentative mischaracterization of the evidence. It is

   unclear what Plaintiffs mean by “throughout this period,” and the cited evidence does not support

   the assertion that the reports were always initiated at “federal officials’ request” or that they had

   been sent for “over a year.” Furthermore, Plaintiff overstate the nature of Facebook’s requests to

   “discontinue or reduce the frequency of the report[s].” See, e.g., Waldo Ex. 54 at 2 (“Also flagging

   that it would help to hear from you if these reports continue to provide useful context or if you’d

   like to follow up with a discussion as to how we can be helpful during this phase of the pandemic.”)

   Indeed, Mr. Waldo testified that he was not aware that anyone from OSG—or any federal

   official—actually did anything with the reports, Waldo Dep. 141:14-16, and for his part he “didn’t

   spend a lot of time looking at the[] reports,” id. at 140:18-19. In any event, this PFOF contains no

   evidence that OSG or other federal officials threatened or pressured Facebook to censor speech,

   or that Facebook regarded (or acted on) any communications by OSG or other federal officials as

   such. Any implicit assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.B, Arg. §§ II.B.1.c & II.B.2.


   IV.    The CDC and the Census Bureau: BOLO and Authoritative Fact-Checking.

           426. In addition to the public and private pressure campaigns from the White House and
   the Surgeon General’s Office, the CDC and the Census Bureau have engaged in a long censorship
   campaign together, enabled by the White House’s pressure on platforms to cooperate with the
   federal government. Working closely with Census, the CDC flags supposed “misinformation” for



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   censorship on platforms (sometimes using the acronym “BOLO,” “Be On the Lookout”), and
   exercises full authority to dictate what health claims will be censored on social media platforms.

          RESPONSE: Disputed. Neither this PFOF, or any that follow, contain evidence that the

   CDC and the Bureau of the Census (“Census Bureau”) are now or have ever been engaged,

   together or separately, in a “long censorship campaign” or otherwise have ever “dictated what

   health claims will be censored on social media platforms.” Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          A.      The CDC’s Regular Communication with Social Media Platforms.

        427. Carol Crawford is the division director for the division of Digital Media within the
   CDC Office of the Associate Director for Communication. Crawford Depo. 11:7-9.

          RESPONSE: Undisputed.

           428. According to Crawford, her “division provides leadership for CDC's web presence.
   We provide leadership for CDC's social media presence.” Id. 11:14-16. Crawford is “the director
   of that work. I determine strategy, objectives, oversee work.” Id. 11:21-22.

          RESPONSE: Undisputed.

           429. Before April 2022, Crawford was “the branch chief of the Digital Media Branch
   within the Division of Public Affairs, and most of the roles that our division currently performs,
   web and social media, were in that branch.” Id. 15:3-6.

          RESPONSE: Undisputed.

          430. Crawford is “the main person that was the CDC point of contact to talk to Facebook,
   Twitter and the platforms since our job was to lead digital media.” Id. 249:1-4.

          RESPONSE: Undisputed.

          431. Crawford has regular contact with social-media platforms, especially about
   COVID-19 issues: “We started regular contact with the [platforms] at the beginning of the COVID
   outbreak to exchange information about COVID, and most of the contact since then has been
   around COVID or other high-priority things, but mostly COVID.” Id. 16:13-17.

          RESPONSE: Disputed that the CDC or the Census Bureau “has regular contact with

   social-media platforms” in the present day. The cited testimony, which concerns only CDC, not


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   the Census Bureau, relates to regular contact that Crawford and her office had with specific social-

   media companies between early 2020 to approximately April 2022. Crawford Dep. 16:8-17

   (describing contacts in her prior role); id. 13:7-15 (describing the role change “in March or April

   of 2022”). Today, CDC has “regular contact” only with Google, through bi-weekly meetings that

   largely focus on issues unrelated to COVID-19 or misinformation. Declaration of Carol Crawford,

   Director of CDC’s Division of Digital Media ¶ 11 (“Crawford Decl.”) (Ex. 80). Contact with other

   social media companies is ad hoc. Id. Moreover, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to use these “exchange[s] [of] information about COVID” to dictate to,

   threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           432. Crawford had only “very occasional” contacts with the platforms before COVID-
   19, id. 17:8-9; but then she and the CDC “started talking to some of them in February and March
   of 2020,” at the beginning of the pandemic. Id. 18:5-6.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the CDC or the

   Census Bureau attempted to use these contacts to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain health claims on their platforms,

   or that the companies regarded (or acted on) any communications with CDC or the Census Bureau

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          433. At this time, CDC leaders were asking Crawford’s group if they were in contact
   with the platforms: “there were a lot of people asking staff, or other staff, are we -- were we in
   contact with the groups, and do we have any arrangements.” Id. 18:19-23.




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           RESPONSE: Disputed as a mischaracterization of the testimony. Crawford testified that

   “a lot of people” were asking if CDC was “in contact” with social media companies, but she did

   not specify whether those people were CDC leaders or anyone else specific. Crawford Dep. 18:16-

   22. In any event, this PFOF contains no evidence that the CDC or the Census Bureau attempted

   use contacts with social-media to dictate to, threaten or pressure, collude with, or encourage them

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

           434. Crawford communicated with platforms by email, phone, and in meetings and calls.
   Id. 20:1-19. She “had points of contact at several of them, and we would have meetings when we
   needed to talk. So we arranged calls.” Id. 20:17-19.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that the CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           B.       CDC’s and Census’s Pressure and Collusion With Facebook/Meta.

           435. On February 6, 2020, Facebook emailed State Department officials, noting that
   “Facebook has taken proactive as well as reactive steps to control information and misinformation
   related to Corona virus which includes … removal of misinformation.” Crawford Ex. 2, at 4. The
   email was forwarded to Crawford, who reforwarded to her contacts at Facebook. Id. at 3. Facebook
   proposed to Crawford that “Facebook team would create a Coronavirus Page serving up content
   that exists on other organizations’ FB pages including the CDC,” and would direct users to
   “curated content from trusted sources.” Id. at 3.

           RESPONSE: Undisputed. However, the cited evidence reflects only a proposal by

   Facebook to make users aware of information from CDC that CDC posted to its own Facebook


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   page. It is not evidence that the CDC or the Census Bureau attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) any communications with

   CDC or the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

            436. On February 7, 2020, Crawford agreed to the proposals, and she also proposed that
   “There could be times we might want to address widespread myths like mask use or new issues.”
   Id. at 2. She discussed with Facebook the same day. Id. at 1.

          RESPONSE: Undisputed, but note that the quoted email exchange concerned the

   placement of proactive messages at the top of Facebook’s News Feed to inform users about how

   to protect themselves from the coronavirus, Crawford Ex. 2 at 2-3. This PFOF contains no evidence

   that the CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain health claims on their platforms,

   or that the companies regarded (or acted on) any communications with CDC or the Census Bureau

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          437. On March 3, 2020, Facebook emailed Crawford and noted that Facebook intended
   to “support governments … with their response efforts on COVID-19,” including the “goal” to
   “remove misinformation.” Crawford Ex. 3, at 1.

          RESPONSE: Undisputed, but note that in the quoted email exhibit Facebook informed

   CDC that it had “just shared [its] ongoing work to support governments and non-profits with their

   response efforts on COVID-19” (with a hyperlink to a live webpage), and that Facebook’s “goal

   [was] to . . . remove misinformation.” Crawford Ex. 3 at 1. This PFOF contains no evidence that

   the CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain health claims on their platforms,




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   or that the companies regarded (or acted on) any communications with CDC or the Census Bureau

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          438. Crawford “talked pretty regularly” with Facebook “around this time,” i.e., March
   2020. 37:7-9.

          RESPONSE: Undisputed, except to the extent the PFOF suggests that Crawford talked to

   Facebook about “remov[ing] misinformation,” see Pls.’ PFOF ¶ 437, which contradicts

   Crawford’s testimony that she didn’t “recall . . . discussing misinformation with [Facebook]

   around this time[.]” Crawford Dep. 37:13-15. The fact that Crawford “talked pretty regularly” with

   Facebook is not evidence that CDC or the Census Bureau attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) these or any other

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          439. Crawford recalls having discussions of misinformation with Facebook “in the fall
   of 2020.” Crawford Dep. 38:7-8. These included discussions of how to combat “growing”
   misinformation about COVID-19: “I can recall us generally saying things to the effect of …
   misinformation is really growing, or … what do you think we could be doing to address it? That
   kind of conversation.” Id. 38:11-15.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that these

   discussions about “combat[ing] and “address[ing]” misinformation concerned removing or

   suppressing information, that the CDC attempted in these discussions to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) these or any other

   communications with CDC or the Census Bureau as such. Any assertion to that effect is



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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           440. On January 25, 2021, Facebook emailed Crawford the first of an ongoing, biweekly
   series of CrowdTangle reports, which report on “top engaged COVID and vaccine-related content
   overall across Pages and Groups.” Crawford Ex. 6, at 2. The email emphasized in bold the anti-
   vaccine content listed in the report, including “Reports of healthcare workers refusing the vaccine,”
   “Posts about alleged vaccine-related deaths,” and “News and reports of severe vaccine side
   effects.” Id. Facebook indicated that it was sending this report in response to a prior conversation
   with Crawford in which such data was requested: “I am following up on our conversation several
   weeks ago about providing more detailed reporting from our CrowdTangle team.” Id.

          RESPONSE: Undisputed, except to the extent that the third sentence of the PFOF implies

   that Facebook prepared the referenced report at Crawford’s request. Facebook states in the cover

   e-mail that it was sending the report as a “follow[] up on our conversation . . . about providing

   more detailed reporting,” id., but not that the more detailed report had been created at Crawford’s

   “request[].” In any event, Facebook’s act of sharing its CrowdTangle reports with CDC is not

   evidence that the CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude

   with, or encourage Facebook to remove or suppress certain health claims on their platforms, or

   that Facebook regarded (or acted on) any communications with CDC or the Census Bureau as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           441. Crawford responded that the report “looks wonderful and much appreciated.” Id.
   at 1. She said that she “will be extending our distribution list” for the report. Id. at 1. She also
   noted, “One group we’ll be adding” to the distribution list for the CrowdTangle reports “is the
   Census group who hopefully will soon start their project with us.” Id. And she stated, “the wide
   group of those looking at misinfo will want this.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau used CrowdTangle reports in an attempt to dictate to, threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) communications with CDC or the Census



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   Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           442. CrowdTangle is “a social media listening tool for Meta properties … [l]ike
   Instagram and Facebook.” Crawford Dep. 50:3-6. “[S]ocial media listening reports show themes
   … of discussion on social media channels.” Id. 52:10-12. The CrowdTangle report is “a search of
   content on social media, and a summary of the higher volume conversations.” Id. 53:8-10. It is “a
   report of the most talked about topics on social media during this time period.” Id. 54:13-15.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau used CrowdTangle reports in an attempt to dictate to, threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) communications with CDC or the Census

   Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           443. The CrowdTangle reports that Facebook regularly emailed to CDC were only one
   of two forms of access to CrowdTangle. Since “March or April 2020,” Facebook had also allowed
   CDC to “directly log into CrowdTangle and run our own reports or searches.” Id. 77:9-13.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau used CrowdTangle or CrowdTangle reports in an attempt to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) these or any other

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          444. According to Crawford, the CrowdTangle reports “would help us understand what
   was being discussed on social media about COVID, which helps us look for gaps in information,
   confusion about facts, things that we might need to adjust our communication materials for.” Id.
   57:24-58:3.




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           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC’s use of

   CrowdTangle reports to understand social-media content that it “might need to adjust [its own]

   communications materials for” had anything to do with dictating to, threatening or pressuring,

   colluding with, or encouraging social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) these efforts as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.C., Arg. § II.B.4.a. & f.

          445. Crawford confirms that the CDC had privileged access to CrowdTangle from early
   2020, and government officials used the non-public “social media listening tool” to monitor and
   track private speech about COVID-19 on social media: “we had access to go in directly to
   CrowdTangle and run in reports … from early 2020. … And I mentioned that our research team
   … searched in it and looked in it to create their reports, and I believe other teams did too.” Id.
   147:12-18.

           RESPONSE: Disputed as argumentative and a mischaracterization of the record to the

   extent the PFOF purports to assert that CDC was using CrowdTangle or other “social media

   listening tool[s]” to “monitor” or “track” private speech in order to dictate to, threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress certain health claims on

   their platforms, or that the companies regarded (or acted on) these or any other actions by CDC as

   doing so. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           446. The CDC also used other “social media and listening tools” to monitor Americans’
   speech on social media: “we did searches in CrowdTangle, the same way we do searches in other
   social media and listening tools that we have to create, to understand what's being discussed in the
   environment, to update our communication material.” Id. 148:11-15.

           RESPONSE: Disputed as argumentative and a mischaracterization of the record to the

   extent the PFOF purports to assert that CDC was using CrowdTangle or other “social media

   listening tools” to “monitor” or “track” private speech to dictate to, threaten or pressure, collude




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   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) these or any other communications with

   CDC (or the Census Bureau) as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           447. The CDC’s “listening tools” included “Meltwater reports,” where “Meltwater is
   sort of like CrowdTangle but for all the platforms.” Id. 154:13-16. But CrowdTangle is superior
   to Meltwater for monitoring Facebook and Instagram because it provides privileged access to some
   online speech: “CrowdTangle can see more on the Meta properties. So it’s nicer if you’re just
   looking at Meta properties. Meltwater gives you social media at large.” Id. 154:24-155:2.

           RESPONSE: Undisputed, except that the non-quoted portion of the second sentence is

   disputed as argumentative and lacking support in the cited testimony. In any event, this PFOF

   contains no evidence that CDC or the Census Bureau used Meltwater reports or other social-media

   listening tools to attempt to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) these or any other actions by CDC or the Census Bureau as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.C., Arg. § II.B.4.a. & f.

          448. Related to the bolded categories of supposed misinformation in Facebook’s
   CrowdTangle report, Crawford claims that she does not have specific recollection about the issues,
   but she admits that “I do recall generally discussing misinformation with Facebook around this
   time.” Id. 58:11-13.

           RESPONSE: Undisputed. See Crawford Dep. 58:4-11. However, general discussions

   about misinformation are not evidence that CDC or the Census Bureau attempted to dictate to,

   threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) these or any

   other communications with CDC or the Census Bureau as such. Any assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           449. Crawford added Census Bureau officials to the distribution list for the
   CrowdTangle reports because “[t]hey were going to start working with the CDC regarding
   misinformation.” Id. 58:19-20; see also id. 61:11-12 (“At some point I recall adding Census to
   the distr[ibution]”).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the Census

   Bureau’s work with CDC “regarding misinformation” involved efforts to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) any actions by or

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           450. From then on, Facebook regularly sent Crawford biweekly “CrowdTangle content
   insights report[s].” Crawford Ex. 7, at 1-4. With each report, Facebook would highlight in bold
   the high-engagement misinformation-related issues for the CDC from the two-week period. Id. In
   each email, Facebook would introduce these misinformation-related posts by noting something
   like, “However, posts falling into the following themes also garnered high engagement.” Id.

          RESPONSE: Defendants dispute the phrase “[f]rom then on” in the first sentence as

   vague. The record shows that Facebook sent Crawford biweekly CrowdTangle reports beginning

   in January 2021. Crawford Ex. 6 at 2. Otherwise, dispute as a mischaracterization the implication

   that the reports were limited to misinformation, see Crawford Ex. 7 at 1 (including in the summary

   of highly engaged content “posts . . . about celebrating health care workers” and posts “shar[ing]

   news that kids over 12 can be vaccinated,” with “posts includ[ing] varied stances on

   support/opposition to the idea”), and dispute as unsupported the implication that the reports

   highlighted misinformation issues “for the CDC.” This PFOF contains no evidence that

   Facebook’s act of sharing CrowdTangle reports with CDC or CDC’s use of those reports had



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   anything to do with efforts to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any actions by or communications with CDC (or the Census

   Bureau) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          451. The CrowdTangle reports survey content that is not publicly available, such as
   “personal Group posts.” Id. at 2.

          RESPONSE: Disputed. The cited exhibit does not contain any information about the

   public or non-public nature of the contents of CrowdTangle reports, including “personal Group

   posts.” Even if accurate, this PFOF contains no evidence that CDC’s use of those reports had

   anything to do with efforts to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any actions by or communications with CDC (or the Census

   Bureau) as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          452. Crawford is “sure that general discussions” with Facebook addressed “that there
   was a lot of information on vaccines, which is one of the bolded words [in the CrowdTangle
   Reports], for example. I am sure that did occur.” Crawford Dep. 64:19-22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC’s “general

   discussions” with Facebook about “information on vaccines” involved efforts to dictate to, threaten

   or pressure, collude with, or encourage Facebook to remove or suppress certain health claims on

   its platform, or that the company regarded (or acted on) any actions by or communications with

   CDC (or the Census Bureau) as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.




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          453. On January 27, 2021, Facebook sent Crawford a recurring invite to a “Facebook
   weekly sync with CDC (CDC to invite other agencies as needed).” Crawford Ex. 36, at 1. A large
   number of Facebook and CDC officials were included on the invite, including Liz Lagone,
   Facebook’s content-moderation officer who communicated with the CDC. See Id. The agenda for
   the recurring meeting included “Misinfo collab status.”        Id. It also included “CDC
   needs/questions.” Id.

          RESPONSE: Undisputed. However, neither the number of persons invited to these

   “weekly sync[s]” nor the agenda item concerning misinformation is evidence that the CDC (or the

   Census Bureau) attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) these weekly meetings as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           454. Crawford confirms that CDC frequently had weekly meetings with Facebook:
   “There were definitely times that we were talking weekly.” Crawford Dep. 226:20-21; see also,
   e.g., Crawford Ex. 39, at 1 (recurring calendar invite for a meeting with the same agenda and
   participants on May 6, 2021).

          RESPONSE: Disputed as a mischaracterization of the cited testimony, which states that

   CDC “might have” been having “weekly meetings with Facebook” during April 2021, because

   “[t]here definitely were times that [CDC and Facebook] were talking weekly. Crawford Dep.

   226:6-21. Regardless, the frequency of meetings between CDC and Facebook provides no

   evidence that CDC (or the Census Bureau) attempted to dictate to, threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any communications with CDC (or the

   Census Bureau) as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

        455. On March 10, 2021, Crawford sent Facebook an email seeking information about
   “Themes that have been removed for misinfo.” Crawford Ex. 44, at 3. She stated, “We mentioned



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   this on the call last week and you said you’d be sending something as other had asked – is that
   available yet by chance?” Id. She clarified: “You mentioned that WH and HHS had asked so you’d
   get it to us,” and responded “Yes” to Facebook’s question, “Are you looking for types of COVID-
   19 misinfo we remove?” Id.

          RESPONSE: Undisputed. However, Crawford’s inquiry about “[t]hemes” Facebook had

   “removed for misinfo” is not evidence that CDC (or the Census Bureau) had attempted to dictate

   to, threaten or pressure, collude with, or encourage Facebook to remove or suppress certain health

   claims on its platform, or that the company regarded (or acted on) any communications with CDC

   (or the Census Bureau) as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           456. Facebook noted, that “[w]e are setting up a meeting with WH/HHS to discuss more
   likely later this week or early next. Perhaps a CDC rep could participate….” Crawford Ex. 44, at
   2. Crawford noted, “They want to see what you guys proactively have removed that might not be
   in those [CrowdTangle] reports…. My guess is a short meeting with Lis Wilhelm[’s] vaccine
   confidence team is what is needed if FB is willing to do it.” Crawford Ex. 44, at 2.

          RESPONSE: Undisputed. However, discussions about “what [Facebook] proactively has

   removed” are not evidence that CDC (or the Census Bureau) attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) any communications with

   CDC (or the Census Bureau) as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          457. In this exchange, CDC was “wondering if [Facebook] had info on the types of posts
   that were removed and the themes because they were worried that we could only see the live posts
   and so we wouldn't know if there was also confusion about other areas that had been removed.”
   Crawford Dep. 258:6-11. CDC had “asked on the meeting if they had this data, like, because we
   wanted it. And I think she said, Oh, we did something like this for the White House or HHS.” Id.
   260:6-9.

          RESPONSE: Undisputed. However, CDC’s inquiry about and desire to receive “info” and

   data about the types and themes of posts Facebook had proactively removed, see Pls.’ PFOF ¶ 456,




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   is not evidence that CDC (or the Census Bureau) attempted to dictate to, threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress certain health claims on

   their platforms, or that the companies regarded (or acted on) any communications with CDC (or

   the Census Bureau) as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          458. From this, Crawford understood that HHS and the White House were having similar
   meetings with Facebook: “I do think that they did have meetings with the agencies.” Id. 261:10-
   11.

          RESPONSE: Disputed as a mischaracterization of the testimony, in which Crawford states

   that she “do[es]n’t know” “in relation to this email” whether “Facebook was having the same kinds

   of meetings CDC was having with them with White House and HHS,” but she “th[ought] that

   [Facebook] did have meetings with the agencies.” Regardless, the occurrence of any such meetings

   is not evidence that CDC (or the Census Bureau, HHS, or the White House) attempted to dictate

   to, threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any such

   meetings as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           459. On March 25, 2021, Crawford and other CDC officials met with Facebook. Ex. S,
   at 1. The day before the meeting, March 24, 2021, Facebook emailed Crawford and noted, “[a]s
   we discussed last week, we will present on COVID-19 misinformation on this session/meeting and
   have some of our team that is focused on that workstream provide a briefing on the current policies
   and approach as well as the current trends we are identifying.” Id. at 2. The official also noted that
   Facebook would have a “Misinformation Manager” and Liz Lagone, a content-moderation official
   for Facebook who “will be leading from our side on misinformation briefing for your team. They
   all work on our COVID-19 policies.” Id. at 1. Crawford responded, attaching a Powerpoint slide
   deck and stating, “This is a deck Census would like to discuss and we’d also like to fit in a
   discussion of topic types removed from Facebook.” Id. She also noted that two Census Bureau
   officials (Zack Schwartz and Jennifer Shopkorn) and two Census Bureau contractors (Sam Huxley
   and Christopher Lewitzke) would attend the meeting. Id.




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           RESPONSE: Undisputed. In any event, the existence of this meeting is not evidence that

   CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any meetings with CDC or the Census Bureau as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.C., Arg. § II.B.4.a. & f.

            460. The “deck Census would like to discuss” was attached to the email, id. at 3-16, and
   it contained an overview of “Misinformation Topics” including “concerns about infertility,
   misinformation about side effects, and claims about vaccines leading to deaths.” Id. at 4. “These
   topics were selected due to high volume, continued public discussion, and high-profile coverage,”
   according to the slide deck. Id. For each topic, the deck included sample slides and a statement
   from the CDC debunking the supposedly erroneous claim. Id. at 6-14. The slides were clearly
   designed to convince Facebook that such content should be censored. For example, with respect
   to claims of infertility, the deck provided screen shots of six specific posts on Facebook and
   Instagram, summarized similar claims, and stated: “According to CDC there is no evidence that
   fertility problems are a side effect of any vaccine, including COVID-19 vaccines.” Id. at 6-8. It
   also noted that “Several of Facebook’s fact check partners have covered this claim.” Id. at 6. The
   deck provided a similar debunking treatment for claims about other side effects from COVID
   vaccines, id. at 9-11, and claims about vaccines leading to deaths, id. at 12-14—in each case,
   providing six sample posts from real Facebook users as examples of the type of claim, and
   providing information designed to ensure that the claim would be censored. Id.

           RESPONSE: Disputed as a mischaracterization of the evidence to the extent plaintiffs

   assert the “slides were clearly designed to convince Facebook that such content should be

   censored” or “provid[ed] information designed to ensure that the claim would be censored,” rather

   than to provide examples of health-related topics on which CDC could provide Facebook

   information to evaluate or rebut the claims circulating on its platform. Moreover, as Ms. Crawford

   testified, CDC was aware that social media companies had a range of actions they could take with

   respect to content on their platforms, including no action at all—and that there was no consequence

   from CDC for inaction. Crawford Dep. 88:3-22. Moreover, plaintiffs inaccurately describe the

   precise contents of the slide deck: there are not six sample posts from Facebook for each of the




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   topics. Ultimately, the contents of this document are not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

          461. On March 30, 2021, Facebook sent Crawford an email with the subject line, “This
   week’s meeting.” Crawford Ex. 8, at 3. Crawford confirms that she was engaging in weekly
   meetings with Facebook during this time period, as well as other time periods during the COVID-
   19 pandemic: “we were meeting weekly during parts, so I imagine we were.” Crawford Dep. 68:9-
   10.

           RESPONSE: Undisputed. However, the occurrence and frequency of these meetings are

   not evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any communications with CDC or the

   Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          462. The email indicates that CDC and Facebook were repeatedly discussing
   misinformation during these weekly meetings, as Facebook stated to Crawford: “I wanted to
   surface any misinfo questions your team may have for the team that I had briefing last time. They
   are available to attend again, but also want to make sure we are answering any of your team’s
   questions.” Crawford Ex. 8, at 3.

           RESPONSE: Disputed as a mischaracterization of the evidence. This single exchange

   about discussing “misinfo questions that” the CDC might have does not support the assertion that

   CDC and Facebook were “repeatedly discussing misinformation during these weekly meetings.”

   In fact, meetings between CDC and Facebook normally focused on other matters, even though the

   topic of misinformation was sometimes discussed as well. Crawford Decl. ¶¶ 5-6, 8 (Ex. 80). In




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   any event, this communication is not evidence that CDC or the Census Bureau attempted to dictate

   to, threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          463. Crawford admits that these weekly meetings involved CDC meeting with
   Facebook’s content-moderation teams: “I do recall [Facebook] bringing in people from their Trust
   and Safety or Misinformation teams … to talk to us about misinformation at some weekly
   meetings.” Crawford Dep. 68:24-69:3.

          RESPONSE: Disputed as a mischaracterization of the testimony, which (as quoted) states

   that the meetings involved “Trust and Safety” or “Misinformation” teams—not “content-

   moderation teams.” In any event, these meetings are not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any meetings with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          464. Crawford admits that, in these meetings with Facebook content-moderation team,
   CDC inquired about how Facebook was censoring COVID-19 misinformation: “we had asked
   questions about what they were seeing in terms of misinformation and inquired about any activities
   they were undertaking. And I believe this was an offer to sort of get back to us on any of those
   questions.” Id. 69:9-13.

          RESPONSE: Disputed as a mischaracterization of the quoted testimony, which does not

   mention “censoring” or a “content-moderation team,” and does not support the assertion that CDC

   was inquiring about “censoring COVID-19 misinformation.” In any event, these meetings are not

   evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with,



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   or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any meetings with CDC or the Census

   Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           465. In response, Crawford noted that she was also communicating with Facebook
   through an alternative channel. Crawford Ex. 8, at 2 (“I added this part in yellow to our chain on
   turn.io”). She asked Facebook if they “have thoughts on how we can meet regularly with Census?
   … am I correct that your team is going to consider how you might want to engage with the
   CDC/Census team routinely and get back to us?” Id. at 2-3. She noted to Facebook: “I know you
   all have experience with Census already.” Id. at 3.

          RESPONSE: Disputed to the extent that the PFOF ambiguously and incoherently starts

   with the phrase “[i]n response” and does not explain what Crawford was “respon[ding]” to. Also

   disputed because the PFOF mischaracterizes turn.io as “an alternative channel” through which

   Crawford was communicating with Facebook; in fact, turn.io was simply a “project that [CDC

   was] working on with WhatsApp,” through which people “could look up ZIP codes to find

   vaccines.” See Crawford Dep. 70:3-25. The quoted portion of the email exhibit (“I added this part

   in yellow to our chain on turn.io”) references another email chain in which Facebook and CDC

   were discussing the turn.io project. In any event, this communication is not evidence that CDC or

   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          466. At this time, CDC had recently executed an Interagency Agreement with the Census
   Bureau to assist the CDC in addressing misinformation: “We had entered an IAA with Census to
   help advise on misinformation.” Crawford Dep. 71:3-4. Pursuant to this agreement, the Census
   Bureau provided reports to the CDC on misinformation that the Census Bureau tracked on social
   media: “they provided reports on misinformation that they were seeing to us.” Id. 71:15-17.



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   “Census did provide [CDC] with the key themes they were seeing around misinformation during
   the times that they were looking at it.” Id. 72:16-19.

           RESPONSE: Undisputed. However, the existence of this IAA is not evidence that CDC

   or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.C., Arg. § II.B.4.a. & f.

          467. An IAA is “an agreement between two agencies to conduct some kind of work
   between them.” Id. 109:23-24. Under this IAA, CDC was “only engaging” with Census “on
   COVID misinformation.” Id. 110:12-13. CDC was “learning about how [Census] operated a
   general misinformation team.” Id. 110:13-14. The IAA “let [CDC] partner with Census to learn
   how they handled misinformation and help us with the COVID misinformation. … They seemed
   to have more knowledge than we did.” Id. 111:3-6.

           RESPONSE: Undisputed. However, neither the existence of this IAA, nor the general

   reference to “handl[ing] misinformation,” is evidence that CDC or the Census Bureau attempted

   to dictate to, threaten or pressure, collude with, or encourage social-media companies to remove

   or suppress certain health claims on their platforms. Any assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          468. Facebook replied that “it would be great to have questions that may not have been
   answered from your team on misinfo. That team is very busy so it’s a good opportunity to di[g]
   deeper on that topic and especially if there are areas that are still unclear or the teams have concerns
   about.” Crawford Ex. 8, at 2.

           RESPONSE: Undisputed, except to clarify that Facebook’s reply pertains to the language

   quoted in PFOF ¶ 465. In any event, this communication is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion




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   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

           469. Crawford responded that CDC “would like to have more info … about what is being
   done on the amplification-side,” and that CDC “is still interested in more info on how you analyze
   the data on removals, etc.” Id. at 2. She also noted that Census Bureau was “hoping to go over the
   deck they had and discuss how to engage on a more regular basis.” Id.

          RESPONSE: Undisputed. However, this communication is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           470. Following up, Crawford noted that Census would like to discuss the following
   topics: “It looks like the posts from last week’s deck about infertility and side effects have all been
   removed. Were those re-evaluated by the moderation team or taken down for another reason?” Id.
   at 1. This remark plainly indicates that, in the last week of March 2021, the Census Bureau was
   sharing “decks” of posts about COVID-19 misinformation with Facebook, which Facebook then
   “removed,” and CDC was following up to inquire whether the censorship occurred because those
   posts were “re-evaluated by [Facebook’s] moderation team” because of Census’s flagging, or for
   another reason. Crawford testified that she “cut and pasted” the Census Bureau’s inquiries on these
   points. Crawford Dep. 76:10.

          RESPONSE: Disputed as a mischaracterization of the testimony. The testimony refers to

   a single deck—not multiple “decks” as asserted in plaintiffs’ mischaracterization. Moreover, Ms.

   Crawford testified that she could not recall why this question was asked, Crawford Dep. 76:2-13,

   which does not support plaintiffs’ assertion that “CDC was following up to inquire whether the

   censorship occurred because of Census’s flagging.” This PFOF also contains no evidence that

   CDC asked Facebook to remove the posts; Ms. Crawford’s question, “Were those [posts] re-

   evaluated by the [Facebook] moderation team or taken down for another reason?” indicates to the

   contrary. In any event, this communication is not evidence that CDC or the Census Bureau



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   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

            471. Crawford also asked Facebook to give the Census Bureau direct access to log in to
   Facebook’s CrowdTangle tool: “Can we add the Census Team to CrowdTangle?” Crawford Ex.
   8, at 1. As Crawford noted, Facebook had “allowed [CDC] to directly log into CrowdTangle and
   run our own reports or searches,” and she was asking Facebook to let Census “log in to
   CrowdTangle” as well. Crawford Dep. 77:4-14.

           RESPONSE: Undisputed. However, this communication is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

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           472. In the same email, Crawford inquired of Facebook, “One of the main themes we’re
   seeing and from the CrowdTangle report is local news coverage of deaths after receiving the
   vaccine. What’s the approach for adding labels to those stories?” Crawford Ex. 8, at 1. Thus, the
   CDC inquired of Facebook what its “approach” was to censoring local news stories about vaccine-
   related deaths. Id.

           RESPONSE: Disputed as a mischaracterization of the evidence, which says nothing about

   Facebook “censoring local news stories.” In fact, it shows the opposite—that Facebook was

   allowing the news stories to circulate, while potentially (in its independent discretion) deciding to

   add labels to them: the exhibit explicitly states that one option is “No label.” Crawford Ex. 8 at 1;

   see also Crawford Dep. 77:1-2 (“I don’t think we were asking them to add labels, from what I’m

   reading here. We were asking them what their approach for labels [was].”). This communication




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   is not evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any communications with CDC or the

   Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          473. Crawford asked Facebook “[h]ow should we best engage regularly going forward
   on the Census/CDC reports.” Crawford Ex. 8, at 1. Crawford notes that Census had already been
   working with Facebook to address census-related misinformation: “we generally discussed, you
   know, how we should talk about misinformation because they had already been working with
   Census, on their own Census misinformation, and I wanted to know what was best for them for
   engaging on any topics that we might want to discuss.” Crawford Dep. 77:19-24.

          RESPONSE: Undisputed. However, this communication is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          474. Facebook answered that “[w]e are working on a proposal of how to set up a sharing
   partnership on the misinform[ation] items.” Crawford Ex. 8, at 1.

          RESPONSE: Undisputed. However, this communication is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          475. Crawford also had three-way meetings with Facebook, CDC, and Census about
   misinformation: “there were meetings where Census, myself and Facebook were on calls,” in



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   which they “had general conversations about what were opportunities to address misinformation.”
   Crawford Dep. 83:6-12. In those conversations, specific topics like the removal of specific posts
   discussed in Exhibit 8 “were probably discussed,” but Crawford claims she does not “have specific
   memory of it.” Id. 83:12-14.

          RESPONSE: Disputed as a mischaracterization of the testimony and evidence. Ms.

   Crawford testified only that “things like in this chain were probably discussed”; that does not

   equate to testimony that “topics like the removal of specific posts” were discussed. It is unclear

   what, if any, portion of the topics in Exhibit 8 would have been discussed, and the PFOF’s assertion

   about what was probably discussed in these conversations relies on unfounded speculation from

   testimony in which Ms. Crawford makes clear she does not have much memory of the

   conversations. In any event, these conversations are not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any meetings with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           476. On April 13, 2021, Facebook followed up by emailing Crawford and proposing to
   enroll CDC and Census Bureau officials in a special misinformation reporting channel to
   Facebook. Crawford Ex. 10, at 2. With a subject line “CV19 misinfo reporting channel,” Facebook
   wrote, “We’re working to get our COVID-19 misinfo channel up for CDC and Census colleagues,”
   and asked Crawford to confirm “if the below emails are correct for onboarding to the reporting
   channel and if there are others you’d like to include.” Id. Facebook provided nine emails, including
   five CDC officials and four Census officials or contractors, to “onboard” into the COVID-19
   “misinfo reporting channel.” Id.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes the document as

   pertaining to a “special” reporting channel. That term is vague and overstates the importance of

   the evidence. Moreover, Crawford later clarified: “I guess I can’t say I know that” the reporting

   channel was provided to “official groups” and “I might be wrong.” Crawford Dep. 96:12-16. In




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   any event, the existence of this reporting channel is not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any contact with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          477. The officials who work for Reingold, including Christopher Lewitzke, “were
   contractors working with Census.” Crawford Dep. 101:10.

           RESPONSE: Disputed as a mischaracterization of the testimony. As the quoted language

   states, individuals who worked for Reingold were Census “contractors,” not “officials.”

           478. Crawford states that this email refers to the fact that Facebook “has a portal or
   reporting channel where you can report misinformation or threats or things from a specific log-in
   that I believe they only provide to … federal agencies.” Id. 91:23-92:2. The portal allows federal
   officials to “log onto Facebook as an administrator, and it's something that they make available to
   you as a federal agency.” Id. 95:17-19. Crawford understands that this “wasn’t something that
   was generally available” to the public but was only provided to federal officials. Id. 96:15-16.

           RESPONSE: Disputed as an incomplete account of the testimony. Crawford clarified: “I

   guess I can’t say I know that” it was provided to “official groups” and “I might be wrong.”

   Crawford Dep. 96:12-16. In any event, the existence of this reporting channel is not evidence that

   CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any contact with CDC or the Census Bureau as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

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          479. Crawford recalls that a CDC official logged into this portal and used it to report
   “two or three posts.” Id. 92:17.




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          RESPONSE: Undisputed. Defendants state further that any member of the public can

   report posts to social media companies. See Defs.’ PFOF § II.A. This lone instance of a single

   CDC official reporting two or three posts—as to which there is no evidence of what, if any, action

   Facebook took—is not evidence that CDC or the Census Bureau attempted to dictate to, threaten

   or pressure, collude with, or encourage social-media companies to remove or suppress certain

   health claims on their platforms, or that the companies regarded (or acted on) any contact with

   CDC or the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           480. On April 23, 2021, Crawford emailed Facebook and stated that the Wyoming
   Department of Health had “mentioned … that the algorithms that Facebook and other social media
   networks are apparently using to screen out postings by sources of vaccine misinformation are also
   apparently screening out valid public health messaging, including WY Health communications.”
   Crawford Ex. 38, at 2. When she did not hear back, on April 28, she emailed Facebook again,
   “Anything you all can do to help on this?” Id. Facebook then responded and addressed the
   problem. Id. at 1-2. The government is not amused when government-induced censorship sweeps
   in the government’s own speech.

          RESPONSE: Disputed to the extent the final sentence mischaracterizes the evidence. The

   email makes clear that the algorithms being applied were developed by “Facebook and other social

   media networks” and were not “government-induced.” Furthermore, in vaguely referring to “the

   government” the last sentence—which is rhetoric meriting no response except as noted herein--

   appears to conflate a Wyoming state agency with the federal government. In any event, this

   exchange is not evidence that CDC or the Census Bureau attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) any communications with

   CDC or the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.




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           481. On May 6, 2021, Crawford emailed Facebook a table containing a list of 16 specific
   postings on Facebook and Instagram, with a link and the text of each post. Crawford Ex. 9, at 1-3.
   Crawford wrote, “As mentioned, here are two issues that we are seeing a great deal of misinfo on
   that we wanted to flag for you all … These are just some example posts. … Our census team is
   copied here, has much more info on it if needed.” Crawford Ex. 9, at 1. Crawford copied Jennifer
   Shopkorn of the Census Bureau and Christopher Lewitzke, a Census Bureau contractor, on the
   email. Id.

           RESPONSE: Undisputed. Defendants note that the “two issues” being referenced are

   “vaccine shedding and microchips.” See Crawford Ex. 9 at 1. Note further that when Plaintiffs’

   counsel asked Ms. Crawford in reference to this exhibit, “What was the expectation of what

   Facebook would do when something was flagged?” Ms. Crawford responded, “I don't recall having

   a specific recollection of what I thought that they would do” and that the “consequence” was

   “nothing” if Facebook “didn’t do anything with your flagging of these items.” Crawford Dep. 88:3-

   22. Ms. Crawford also added, “I didn’t believe we were asking them to remove content

   specifically.” Id. at 90:5-12. In any event, this email is not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

          482. Crawford “flag[ged]” these posts for Facebook “[b]ecause we had had
   conversations with Facebook about ways that we could address misinformation, and … one
   suggestion … that came up in that conversation was to let them know if we were seeing major
   themes that CDC had scientific information on, or had web content that would address.” Crawford
   Dep. 87:15-21.

           RESPONSE: See Response to Pls.’ PFOF ¶ 481.

           483. When Crawford would “flag” such content for Facebook and other platforms, she
   knew that they would evaluate and possibly censor the content under the content-moderation
   policies: “I do know that the platforms have a variety of ways to address misinformation. They
   might tag it as something that people should look more into. I think … that they have the ability



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   to control how often some of these things show up in peoples' feeds. And I do know that removing
   them is an option that they could consider.” Id. 88:7-14.

          RESPONSE: Disputed as a mischaracterization of the testimony. The quoted testimony

   speaks for itself and does not demonstrate that Ms. Crawford “knew that [the platforms] would

   evaluate and possibly censor the content under content-moderation policies.” Indeed, the quoted

   testimony is preceded by Ms. Crawford’s statement that “I don’t recall having a specific

   recollection of what I thought that they would do.” Crawford Dep. 88:5-6. Additionally, note that

   Ms. Crawford testified that when she “flag[ged]” misinformation themes or example posts for

   Facebook, she was merely “[p]ointing out” “major themes that CDC” was noticing online “that

   CDC had scientific information on, or had web content that would address” those themes. Id. at

   87:13–88:2. In any event, the testimony is not evidence that CDC or the Census Bureau attempted

   to dictate to, threaten or pressure, collude with, or encourage social-media companies to remove

   or suppress certain health claims on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           484. CDC’s “goal” in flagging misinformation for possible removal from Facebook “is
   to be sure that people have credible health information so that they can make the correct health
   decisions…. There were a lot of things circulating that were not accurate information about
   COVID. And so we were trying to point out and make the credible information more available to
   users.” Id. 88:25-89:6.

          RESPONSE: Disputed as a mischaracterization of the testimony, to the extent the PFOF

   asserts that CDC was “flagging information for possible removal from Facebook.” The quoted

   testimony speaks for itself and makes clear that CDC was “flagging these items” in order to “be

   sure that people have credible health information” and “make the credible information more

   available to users.” Crawford Dep. 88:23-89:6. In any event, the testimony is not evidence that



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   CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           485. CDC and Census used “the social [media] listening tools,” such as CrowdTangle,
   to identify misinformation that was “flagged” to Facebook for possible censorship. Id. 90:18-23.
   Regarding the table of 16 posts she “flagged” in her May 6, 2021 email, she stated, “these probably
   came from the social listening tools … that can consolidate examples. And we provided some
   examples of what we meant.” Id. 90:18-23.

          RESPONSE: Disputed as a mischaracterization of the testimony, to the extent that the

   PFOF asserts that CDC and Census were flagging information “to Facebook for possible

   censorship.” As explained above, see Response to Pls.’ PFOF ¶¶ 481-84, the evidence does not

   support that proposition. In any event, the testimony is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

           486. On May 10, 2021, Crawford emailed Facebook with the subject line, “COVID
   BOLO Misinformation meetings.” Crawford Ex. 40, at 3. She wrote: “We would like to establish
   COVID BOLO meetings on misinformation and invite all platforms to join the meetings. We are
   aiming for our first one on Friday at noon. … Are there direct POCs on your end I should include
   on the invite? Happy to chat if better. THANKS!” Id.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies




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   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

          487. On May 18, 2021, Facebook emailed Crawford noting that a Facebook official “has
   an agenda item” for the “CDC call this week.” Crawford Ex. 11, at 2. This official, according to
   Crawford, is a member of Facebook’s “Trust and Safety team, or the Misinformation team.”
   Crawford Dep. 103:9.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

           488. The Facebook official noted that Facebook’s “Content Policies … determine what
   we may remove or reduce and inform.” Crawford Ex. 11, at 2. She noted that “we currently remove
   false claims about face masks,” and wanted to discuss “whether there is still a high risk of harm
   from mask misinformation,” as well as “false claims about the efficacy of social distancing or the
   existence of COVID-19.” Id.

          RESPONSE: Undisputed, but this evidence affirmatively demonstrates that Facebook

   operated independently of CDC, as it asserts that Facebook was applying its own policies to

   “determine what [it] may remove or reduce and inform.” Thus, this email is not evidence that CDC

   or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.




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           489. Crawford admits that the CDC provided “scientific information” that Facebook
   would use to decide whether to “remove” or “reduce and inform,” id., content under its policies:
   “What we did provide was scientific information that I did assume that they might use to do those
   things,” i.e., “remove or reduce and inform.” Crawford Dep. 105:17-19.

          RESPONSE: Disputed as a mischaracterization and incomplete account of the testimony.

   As the quoted language shows, Ms. Crawford did not “admit” that Facebook “would use”

   information provided by CDC; she speculated that Facebook “might” use it. Furthermore, Ms.

   Crawford made clear that “[CDC] did not discuss the development of [Facebook’s] policies, or the

   enforcement of [Facebook’s] policies.” Crawford Dep. 105:12-17. In any event, this evidence

   affirmatively demonstrates that Facebook operated independently of CDC, as it asserts that

   Facebook was applying its own policies to “determine what [it] may remove or reduce and inform.”

   Thus, this testimony is not evidence that CDC or the Census Bureau attempted to dictate to,

   threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

            490. The next day, May 19, 2021, Facebook emailed Crawford and noted that, for the
   weekly call that week, “here are some of the COVID content items that [Facebook’s content-
   moderation official] will be flagging for you/CDC team.” Crawford Ex. 11, at 1. She then provided
   a list of twelve specific claims, including such claims as “COVID-19 has a 99.96% survival rate,”
   “COVID-19 vaccines cause bell’s palsy,” and “[p]eople who are receiving COVID-19 vaccines
   are subject to medical experiments.” Crawford Ex. 11, at 1-2.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion




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   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

           491. Facebook raised these twelve claims to get CDC’s guidance on whether they
   violated Facebook’s policies: “They were wanting our feedback on whether these things were true
   or false statements that they were seeing. Did the CDC have science around this, did we have
   content on our website.” Crawford Dep. 106:10-13. CDC would respond to debunk such claims
   if it had information: “[I]f we knew, if we had something or we had science on these items, we
   would point to it or provide them an answer.” Id. 106:19-21.

           RESPONSE: Disputed as a mischaracterization of the testimony. The quoted language

   speaks for itself, and it neither establishes that Facebook raised these twelve claims to get CDC’s

   guidance “on whether they violated Facebook’s policies,” nor does it establish that CDC “would

   respond to debunk such claims.” Ms. Crawford emphasized that “[CDC] did not discuss the

   development of [Facebook’s] policies, or the enforcement of [Facebook’s] policies.” Crawford

   Dep. 105:12-17. In any event, the testimony is not evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

          492. In response, Crawford indicated that “Census team members” would join the call,
   and that she might not be able to address or debunk all 12 claims on the call, because “[t]here may
   be some facts we have to get back to the group on after the meeting.” Crawford Ex. 11, at 1.

           RESPONSE: Undisputed. Defendants state further that Ms. Crawford emphasized that

   “[CDC] did not discuss the development of [Facebook’s] policies, or the enforcement of

   [Facebook’s] policies.” Crawford Dep. 105:12-17. This email is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the



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   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          493. On the call referred to in the email, CDC discussed with Facebook these twelve
   claims and who at CDC might be able to address their veracity. Crawford Dep. 106:23-107-3.

          RESPONSE: Undisputed. Defendants state further that Ms. Crawford emphasized that

   “[CDC] did not discuss the development of [Facebook’s] policies, or the enforcement of

   [Facebook’s] policies.” Crawford Dep. 105:12-17. This testimony is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

            494. According to Crawford, “Sometimes in these meetings they would ask do we know
   if this is true or false, which is what they were doing [in Exhibit 11]. And then if we knew, the
   communicators knew the answer, we would provide it. If not, I would say, we would say, I'll have
   to get back to you later, we'll talk to our SMEs,” i.e. subject-matter experts. Id. 116:7-12.

          RESPONSE: Undisputed. Defendants state further that Ms. Crawford emphasized that

   “[CDC] did not discuss the development of [Facebook’s] policies, or the enforcement of

   [Facebook’s] policies.” Crawford Dep. 105:12-17. This testimony is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.




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          495. Census Bureau officials would follow up to monitor whether Facebook was actually
   removing the content that federal officials had flagged as misinformation: “Census was at least
   periodically checking on things that they had flagged, or they had seen come up.” Id. 117:19-21.

          RESPONSE: Disputed as a mischaracterization of the testimony; the quoted language

   speaks for itself and does not state “Census Bureau officials would follow up to monitor whether

   Facebook was actually removing the content that federal officials had flagged as misinformation.”

   In any event, this testimony is not evidence that CDC or the Census Bureau attempted to dictate

   to, threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          496. After the meeting, on May 24, Facebook’s content-moderation official emailed
   Crawford, stating, “Thanks so much again for you and team’s help in debunking a few COVID-
   19 and vaccine misinformation claims for us.” Crawford Ex. 15, at 2. She then provided a list of
   the twelve claims with CDC’s input on each, noting “Debunked” for each claim that the CDC had
   debunked in the meeting. Id. at 2-3. Among other things, she noted that CDC “[d]ebunked” claims
   like “Face masks contain … harmful particles,” and even plainly evaluative statements like
   “People who are receiving COVID-19 vaccines are subject to medical experiments.” Id. at 2-3.

          RESPONSE: Undisputed, except to note that the PFOF selectively quotes the exhibit; the

   truncated sentence reads in full, “Face masks contain harmful nano worms or harmful particles.”

   In any event, this email is not evidence that CDC or the Census Bureau attempted to dictate to,

   threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

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          497. On June 2, 2021, Crawford emailed the Facebook content-moderation official back
   with further input on the claims from CDC’s subject-matter experts. Crawford Ex. 16, at 2. She
   noted several times that CDC’s “web content to debunk is in clearance,” meaning that CDC was
   preparing web content that would debunk those claims. Id.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

           498. The next day, on June 3, 2021, the Facebook content-moderation official emailed
   Crawford to clarify that “web content to debunk is in clearance” means that “we should consider
   these debunked by the CDC now,” and Crawford answered that “Yes they are debunked and we
   will also have content on it soon.” Crawford Ex. 16, at 1. As Crawford stated, “We reported to
   Facebook that they were debunked at this time.” Crawford Dep. 135:2-3.

          RESPONSE: Undisputed. However, this PFOF does not contain evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           499. Crawford knew that Facebook would apply its content-moderation policies to
   claims that the CDC debunked: “I knew that they had options … which is to inform people, to
   maybe reduce it in the algorithm, or to remove it…. [T]hey probably had other options, but I knew
   of at least those.” Id. 138:18-22.

          RESPONSE: Disputed as a mischaracterization of the testimony. As the quoted language

   states, Ms. Crawford “knew that [Facebook] had options,” not that she “knew that Facebook would

   apply its content-moderation policies to claims.” Again, Ms. Crawford emphasized that “[CDC]




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   did not discuss the development of [Facebook’s] policies, or the enforcement of [Facebook’s]

   policies.” Crawford Dep. 105:12-17. In any event, this testimony is not evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          500. On July 26, 2021, the same Facebook content-moderation official emailed
   Crawford, asking for CDC to debunk three more COVID-related claims. The subject line of the
   email was, “FB Misinformation Claims Help Debuning.” Crawford Ex. 17, at 1. Crawford
   understood that “Debuning” was “Debunking” misspelled. Crawford Dep. 139:1-2.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

          501. In this email, Facebook’s content moderator wrote to Crawford: “Our
   Misinformation Policy Team has identified some claims that we were hoping your team could help
   us understand if they are false and can lead to harm?” Crawford Ex. 17, at 1 (bold in original).

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) any communications with CDC or the Census Bureau as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.



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           502. Facebook’s content-moderation policy called for it to remove claims that are false
   and can lead to harm. See, e.g., Crawford Ex. 26, at 4 (Facebook’s content-moderation official,
   Liz Lagone, noting that “We remove … posts on the grounds that the claim is false and that it is
   harmful,” where “harmful” includes cases where “if people believed it, it might make them less
   likely to get vaccinated.”). So it was clear that Facebook’s “Misinformation Policy Team” was
   asking CDC to advise whether these claims should be removed under Facebook’s content-
   moderation policy. Crawford admits that she understood that CDC’s guidance would “benefit”
   Facebook’s expansion and application of its censorship “policy” to these claims, acknowledging
   that Facebook was asking her about these claims “[b]ecause CDC would have credible health
   information about the claims or scientific information that would benefit their policy making.”
   Crawford Dep. 140:1-3.

          RESPONSE: Disputed. The cited evidence does not support the categorical assertion that

   “Facebook’s content-moderation policy called for it to remove claims that are false and can lead

   to harm.” The selectively quoted language from Crawford Ex. 26, when read in full, pertains to

   only a specific set of claims (those that “claim that COVID-19 vaccines kill people or lead to

   death”), and not all posts that are false and can lead to harm. Nor does Crawford Ex. 17 support

   the argumentative assertion that Facebook was “asking CDC to advise whether the claims should

   be removed under Facebook’s content-moderation policy.” Nor does the heavily spliced deposition

   testimony relate in any way to “Facebook’s expansion and application” of—in Plaintiffs’

   characterization—a “censorship policy.” Ms. Crawford testified that “[CDC] did not discuss the

   development of [Facebook’s] policies, or the enforcement of [Facebook’s] policies.” Crawford

   Dep. 105:12-17. Further, Facebook exercised its own discretion in deciding how (and whether at

   all) to deal with claims that violate its own policies, including whether to remove posts, take some

   other action, or take no action at all. Id. at 88:3-22. This PFOF contains no evidence that CDC or

   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.




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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          503. The three claims included: “Spike protein in COVID-19 vaccines is
   dangerous/cytotoxic,” “Guillain-Barre Syndrome (GBS) is a possible side effect of the COVID
   vaccine,” and “Heart inflammation is a possible side effect of all COVID-19 vaccines.” Crawford
   Ex. 17, at 1.

           RESPONSE: Undisputed that Facebook asked CDC in July 2021 whether the three claims

   listed in this PFOF “are false and can lead to harm.” However, this PFOF contains no evidence

   that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain health claims on their platforms,

   or that the companies regarded (or acted on) any communications with CDC or the Census Bureau

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           504. Facebook also asked Crawford if “your team was aware of any global source of
   truth/database for vaccine adverse effects including possibly vaccine-related deaths.” Crawford
   Ex. 17, at 1.

           RESPONSE: Undisputed, except to note that the quoted language ends with a question

   mark, not a period. In any event, this PFOF contains no evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

           505. Crawford responded, “Got it, let me get back to you shortly and thank you much
   for asking!” Crawford Ex. 17, at 1.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          506. Crawford does not recall her specific response to this inquiry, but she admits that
   “generally” she referred them to the CDC’s subject-matter experts and responded to Facebook
   with the CDC’s view on the scientific questions, as she did with similar requests. Crawford Dep.
   140:16-141:4.

          RESPONSE: Undisputed. In any event, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           507. On July 20, 2021, Facebook emailed Crawford another biweekly “CrowdTangle
   content insights report” on COVID-19. Crawford Ex. 18, at 1. One of the misinformation-trending
   topics that Facebook flagged in bold in the email was “Door-to-Door Vaccines,” which stated
   that “The highest interaction Page posts for this topic convey concern from political opponents
   about the Biden Administration’s strategy to ramp up vaccination efforts in communities with low
   vaccination rates by going ‘door-to-door’ to educate and encourage more Americans to get
   vaccinated.” Id. The same topic, in the same time frame, was emphasized in the Virality Project
   report as a prime example of viral vaccine-related “misinformation,” when in fact it involved only
   expressions of political opinion. Scully Ex. 2, at 39, 54-55.

          RESPONSE: Disputed as a mischaracterization of the evidence. The CrowdTangle

   content insight report does not describe the topic of “door-to-door vaccines” as a “misinformation-

   trending topic,” but instead describes it as “highly engaging content.” Crawford Ex. 18 at 1. Other

   “highly engaging content” listed in the same email was “Reopening of Institutions” and “Olympics



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   and COVID-19.” Id. The PFOF is also disputed, because Scully Ex. 2 does not support the

   assertion that “the same topic, in the same time frame, was emphasized in the Virality Project

   report.” Scully Ex. 2 is dated April 26, 2022, while Crawford Ex. 18 is from nearly one year prior

   (July 20, 2021). In any event, this PFOF contains no evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

           508. The same email also noted posts “expressing skepticism about vaccinating
   children.” Crawford Ex. 18, at 1. Earlier CrowdTangle reports in the same email chain had flagged
   for the CDC highly engaged content about “Vaccine Side Effects … especially for children and
   pregnant women,” “Vaccine Refusal,” and “Vaccination Lawsuits … lawsuits over compulsory
   vaccination related to employment.” Id. at 2-3 (bold in original).

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           509. Facebook noted that the CrowdTangle reports were confidential and not to be
   disclosed further: “As always, please do not share.” Id. at 1.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.



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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           510. Facebook continued to send biweekly CrowdTangle reports, which flagged in bold
   high-engagement topics such as “Proof of Vaccination Requirement,” “COVID-19 and
   Unvaccinated Individuals” (addressing “concerns that the recent uptick in hospitalizations and
   deaths is being driven up by unvaccinated individuals”), and “COVID-19 Mandates,” as well as
   “allowing people to return to … religious services.” Crawford Ex. 19, at 1-3 (bolds in original).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          511. On August 19, 2021, Facebook asked Crawford for a “VAERS Policy
   Consultation” meeting for the CDC to give Facebook guidance on how to address VAERS-related
   misinformation: “Our Health Policy folks would like to meet with your VAERS experts for a
   consultation meeting regarding VAERS and misinformation.” Crawford Ex. 20, at 1. Crawford
   responded, “I’m sure we can do this, and I’m glad you’re asking.” Crawford Ex. 20, at 1.

          RESPONSE: Disputed as a mischaracterization of the evidence. The quoted language

   from the exhibit—which speaks for itself—does not support plaintiffs’ characterization that this

   was a meeting for the CDC to give Facebook guidance “on how to address” VAERS-related

   misinformation. In her deposition, Ms. Crawford emphasized that “[CDC] did not discuss the

   development of [Facebook’s] policies, or the enforcement of [Facebook’s] policies.” Crawford

   Dep. 105:12-17. In any event, this email is not evidence that CDC or the Census Bureau attempted

   to dictate to, threaten or pressure, collude with, or encourage social-media companies to remove

   or suppress certain health claims on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           512. “VAERS” is the HHS’s Vaccine Adverse Event Reporting System, see
   https://vaers.hhs.gov/. At that time, the CDC was greatly concerned about VAERS-related
   “misinformation” on social-media, because users cited and discussed VAERS data and reports to
   raise concerns about the safety of vaccines in ways that the CDC thought misleading, as Crawford
   recounted: “the topic of VAERS was an area that was widely discussed on social media, and there
   was a lot of areas of confusion about what VAERS data was. There was myths about VAERS data,
   and there was misinformation about VAERS data. So it was always one of the things that rose to
   the top in terms of volume of discussion of people were very confused about VAERS.” Crawford
   Dep. 150:21-151:3. So it is not surprising that Crawford was “glad” Facebook was “asking” for a
   meeting in which the CDC would give Facebook guidance on how to censor “misinformation”
   about VAERS. Crawford Ex. 20, at 1.

          RESPONSE: Disputed as an argumentative mischaracterization of the deposition

   testimony, which speaks for itself. The testimony does not establish that “CDC would give

   guidance on how to censor ‘misinformation’ about VAERS,” or that Ms. Crawford was “glad” to

   give guidance on censoring misinformation about VAERs. In her deposition, Ms. Crawford

   emphasized that “[CDC] did not discuss the development of [Facebook’s] policies, or the

   enforcement of [Facebook’s] policies.” Crawford Dep. 105:12-17. In any event, this PFOF

   contains no evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress certain health claims on

   their platforms, or that the companies regarded (or acted on) any communications with CDC or

   the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           513. Crawford also followed up with Facebook by providing written CDC-provided
   materials for Facebook to use in addressing VAERS-related “misinformation” on its platforms: “If
   of use, we just published a new video and I’ve attached some recent talking points that may also
   inform your efforts.” Crawford Ex. 20, at 1. Plainly, the “efforts” Crawford wished to “inform”
   were Facebook’s efforts to remove VAERS-related “misinformation” from its platforms.




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           RESPONSE: Disputed as an argumentative mischaracterization of the deposition

   testimony, which speaks for itself. The testimony does not establish that “the ‘efforts’ Crawford

   wished to ‘inform’ were Facebook’s efforts to remove VAERS-related ‘misinformation’ from its

   platforms.”      Ms. Crawford emphasized that “[CDC] did not discuss the development of

   [Facebook’s] policies, or the enforcement of [Facebook’s] policies.” Crawford Dep. 105:12-17.

   Further, Facebook exercised its own discretion in deciding how (and whether at all) to deal with

   claims that violate its own policies, including whether to remove posts, take some other action, or

   take no action at all. Id. at 88:3-22. In any event, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           514. The CDC also had a meeting with Facebook about VAERS-related misinformation:
   “We did have a session with the VAERS experts with Facebook.” Crawford Dep. 151:8-9. In the
   meeting, the CDC had “two experts for VAERS and a couple of their communication experts on
   the line with Facebook’s team,” which consisted of “their misinformation and policy type team”
   that the content-moderation official “was part of.” Id. 151:20-24. In the meeting, the CDC “offered
   the [subject-matter expert] just to answer their questions about what VAERS was and what it
   wasn't. And my recollection is [Facebook] asked a lot of questions like … who can report
   something on VAERS and things like that during the session.” Id. 152:1-6.

           RESPONSE: Undisputed. However, this meeting is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) the meeting with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

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           515. On September 1, 2021, Crawford emailed Facebook and stated: “BOLO for a small
   but growing area of misinfo. One of our lab alerts … was misinterpreted and was shared via social
   media.” Crawford Ex. 21, at 1. (“BOLO” stands for “Be on the lookout.” Crawford Dep. 153:21.).
   She explained what the CDC viewed was misinformation, and then stated, “I’ve attached some
   example Facebook posts and another document with the facts around the issue.” Crawford Ex.
   21, at 1.

          RESPONSE: Undisputed. However, this email is not evidence that CDC or the Census

   Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain health claims on their platforms, or that the companies

   regarded (or acted on) communications with CDC or the Census Bureau as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C.,

   Arg. § II.B.4.a. & f.

            516. Plainly, Crawford was flagging these posts and related posts for possible censorship
   under Facebook’s content-moderation policy. She admits that the CDC’s “BOLO” alerts were
   provided to “assist” the platforms with their enforcement decisions under their policies: “Similar
   to all the other BOLOs, we still thought it was good to point out if we had facts around something
   that was widely circulating as a cause of misinformation to the platforms to assist them in whatever
   they were going to do with their policy or not do.” Crawford Dep. 153:23-154:3.

          RESPONSE: Disputed as a mischaracterization of the testimony, which does not support

   the argumentative assertion that Ms. Crawford was flagging posts for “possible censorship,” as

   opposed to simply “point[ing] out whether [CDC] had facts around something that was widely

   circulating as a cause of misinformation . . . to assist [the platforms] in whatever they were going

   to do with their policy or not do.” Defendants state further that Ms. Crawford emphasized that

   “[CDC] did not discuss the development of [Facebook’s] policies, or the enforcement of

   [Facebook’s] policies.” Crawford Dep. 105:12-17. Further, Facebook exercised its own discretion

   in deciding how (and whether at all) to deal with claims that violate its own policies, including

   whether to remove posts, take some other action, or take no action at all. Id. at 88:3-22. In any

   event, this PFOF contains no evidence that CDC or the Census Bureau attempted to dictate to,




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   threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           517. When asked what she “expected [Facebook] to do once they were on the lookout”
   for the supposed misinformation that the CDC had flagged, Crawford responded: “I knew that they
   had various options. They could have just used it to inform people. They could have considered it
   in their algorithm, I believe. I did understand that potentially removing posts was something that
   they might do.” Crawford Dep. 155:15-20. So she provided the information knowing it would
   happen and wanting it to happen.

          RESPONSE: Disputed as an argumentative mischaracterization, unsupported by and

   contrary to the cited testimony, to the extent the PFOF is intended to assert that Ms. Crawford

   knew that Facebook would remove posts and that she wanted certain posts removed. The quoted

   language, which speaks for itself, shows that Ms. Crawford only knew that Facebook “had various

   options” for addressing misinformation on its platform, which included simply “inform[ing]

   people” about additional facts concerning the matter asserted. The quoted language also shows

   that Ms. Crawford did not know which options Facebook would pursue in response to information

   shared with it by CDC. Defendants state further that Ms. Crawford emphasized that “[CDC] did

   not discuss the development of [Facebook’s] policies, or the enforcement of [Facebook’s]

   policies.” Crawford Dep. 105:12-17. Further, Facebook exercised its own discretion in deciding

   how (and whether at all) to deal with claims that violate its own policies, including whether to

   remove posts, take some other action, or take no action at all. Id. at 88:3-22. In any event, this

   PFOF contains no evidence that CDC or the Census Bureau attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain health

   claims on their platforms, or that the companies regarded (or acted on) any communications with



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   CDC or the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           518. On November 2, 2021, Facebook’s content-moderation official sent Crawford and
   other CDC officials an email stating, “thanks so much for confirming the ability for the claims in
   question last week having the risk of causing vaccine refusals.” Crawford Ex. 22, at 1. Again, that
   is one of the criteria Facebook used to justify removal of content from its platforms. Crawford Ex.
   26, at 4 (“We remove … posts on the grounds that the claim is false and that it is harmful because
   if people believed it, it might make them less likely to get vaccinated.”). The content-moderation
   official also stated, “thank you all so much for your input over the last week on our many questions
   about vaccine misinformation relative to the EUA.” Crawford Ex. 22, at 1. (“EUA” refers to the
   FDA’s “emergency use authorization to the Pfizer vaccine for children.” Id.)

          RESPONSE: Disputed as a mischaracterization of the cited evidence. Crawford Ex. 26,

   which is dated February 2022, pertains to a limited set of claims and Facebook’s then-current

   policy: “Under our current policy, we remove posts that claim that COVID-19 vaccines kill people

   or lead to death. We remove these posts on the grounds that the claim is false and that it is harmful

   because if people believed it, it might make them less likely to get vaccinated.” Crawford Ex. 22,

   as stated, dates from four months prior. In any event, this PFOF contains no evidence that CDC or

   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

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          519. The content-moderation official also stated: “I wanted to share that as a result of
   our work together, when the FDA gave emergency use authorization to the Pfizer vaccine for
   children last week, we immediately updated our policies globally to remove additional false claims
   about the COVID-19 vaccine for children (e.g. ‘the COVID vaccine is not safe for kids’).”
   Crawford Ex. 22, at 1. She also noted, “We also launched a new feature on Instagram, where
   accounts that repeatedly post content that violates our policies on COVID-19 or vaccine
   misinformation may now lose the ability to be tagged or mentioned or may see pop-ups asking if
   they’d like to delete certain posts that may violate our policies.” Crawford Ex. 22, at 1. Thus,
   Facebook noted that, “as a result of our work together” with the CDC, Facebook had updated its




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   content-moderation policies to increase censorship of vaccine-related claims in significant ways.
   Id.

          RESPONSE: The final sentence is disputed as an argumentative mischaracterization of

   the evidence. The email speaks for itself and does not support the assertion that Facebook “updated

   its content-moderation policies to increase censorship of vaccine-related claims” on account of

   CDC rather than its own independent decision-making. Defendants further state that Ms. Crawford

   testified that she “interpret[ed]” the email’s statement referring to “our work together” as

   referencing “the ongoing work” of CDC “provid[ing] the facts to [Facebook].” Crawford Dep.

   160-8-9. See also id. at 159:8-10 (“They were looking for CDC, who would have the scientific

   facts, to provide them with scientific facts.”). In any event, this PFOF contains no evidence that

   CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

            520. The content-moderation official went on to ask the CDC to debunk additional
   claims: “we have identified a number of additional claims we would like to get your team’s
   assessment on … Would it at all be possible to get input by Monday, November 8th?”
   Crawford Ex. 22, at 1 (bold and underline in original). She requested, “For each of the following
   new claims, which we’ve recently identified on the platform, can you please tell us if: 1. The
   claim is false; and 2. If believed, could this contribute to vaccine refusals?” Id. (bold in
   original). Again, these are the two precise criteria that Facebook relied on to remove content from
   its platforms. Crawford Ex. 26, at 4 (“We remove … posts on the grounds that the claim is false
   and that it is harmful because if people believed it, it might make them less likely to get
   vaccinated.”). She then included a new list of ten specific claims about the COVID-19 vaccines
   for the CDC to debunk. Crawford Ex. 22, at 1-2.

          RESPONSE: Disputed as a mischaracterization of the cited evidence. Crawford Ex. 26,

   which is from February 2022, pertains to a limited set of claims and Facebook’s then-current

   policy: “Under our current policy, we remove posts that claim that COVID-19 vaccines kill people



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   or lead to death. We remove these posts on the grounds that the claim is false and that it is harmful

   because if people believed it, it might make them less likely to get vaccinated.” Crawford Ex. 22,

   as stated, dates from four months prior. In any event, this PFOF contains no evidence that CDC or

   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

            521. Crawford understood, again, that this request was made to “inform their policies,”
   i.e., inform Facebook’s application of its content-moderation policies to these claims: “It was still
   my interpretation that she was asking to inform their policies.” Crawford Dep. 159:7-8.

          RESPONSE: Undisputed, but note that regardless of Ms. Crawford’s “interpretation” of

   the reason for Facebook’s request, she emphasized that “[CDC] did not discuss the development

   of [Facebook’s] policies, or the enforcement of [Facebook’s] policies.” Crawford Dep. 105:12-17.

   Further, Facebook exercised its own discretion in deciding how (and whether at all) to deal with

   claims that violate its own policies, including whether to remove posts, take some other action, or

   take no action at all. Id. at 88:3-22; see also id. at 159:8-10 (“They were looking for CDC, who

   would have the scientific facts, to provide them with scientific facts.”). In any event, this PFOF

   contains no evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress certain health claims on

   their platforms, or that the companies regarded (or acted on) any communications with CDC or

   the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

         522. Crawford also admits that she was “happy” when the CDC’s information to
   Facebook caused “less spread of misinformation” on Facebook and other platforms, i.e., that she



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   desired that outcome: “I’m happy that providing the scientific information led to less spread of
   misinformation.” Id. 161:23-25.

          RESPONSE: Undisputed, while noting that whatever “outcome” Ms. Crawford may have

   personally (and unilaterally) “desired” is irrelevant when, as she emphasized, “[CDC] did not

   discuss the development of [Facebook’s] policies, or the enforcement of [Facebook’s] policies.”

   Crawford Dep. 105:12-17. Further, Facebook exercised its own discretion in deciding how (and

   whether at all) to deal with claims that violate its own policies, including whether to remove posts,

   take some other action, or take no action at all. Id. at 88:3-22. Also note that in full the relevant

   testimony reads: “I never felt that my role, or CDC’s role, was to determine what to do with the

   scientific information that we provided. But I’m happy that providing the scientific information

   led to less spread of misinformation.” Id. at 161:20-25. In any event, this PFOF contains no

   evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any communications with CDC or the

   Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

           523. Crawford also understood that Facebook was, in fact, removing content from its
   platforms based on the CDC’s information: “I understand that she’s removing claims … that are
   not scientifically accurate.” Id. 162:21-22.

          RESPONSE: Disputed as a mischaracterization of the quoted testimony, which speaks for

   itself and does not establish that Facebook was removing content “based on the CDC’s

   information,” as opposed to a multitude of other (unspecified) factors, including Facebook’s

   independent judgment regarding the application of its established content moderation policies. In

   any event, this PFOF contains no evidence that CDC or the Census Bureau attempted to dictate to,

   threaten or pressure, collude with, or encourage social-media companies to remove or suppress



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   certain health claims on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           524. Crawford responded to Facebook, “Thank you so much for the feedback on what
   you’ve been able to do. This is very good to know.” Crawford Ex. 22, at 1. She also stated,
   regarding Facebook’s request that the CDC debunk the ten new claims, that “I’m going to work
   on this one …. I hope we can do it by Monday, I will keep you posted.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           525. The following Monday, November 8, 2021, Crawford followed up with a response
   from the CDC addressing seven of the ten claims Facebook had asked CDC to evaluate. Crawford
   Ex. 23, at 1-2. The CDC rated six of the seven claims “False.” Id. (bold in original). Crawford
   also noted in the response email, without citing any support, that “It appears that any of these could
   potentially cause vaccine refusal.” Crawford Ex. 23, at 1. Under Facebook’s policies, a claim that
   is both false and could contribute to vaccine refusal was subject to removal. Crawford Ex. 26, at 4
   (“We remove … posts on the grounds that the claim is false and that it is harmful because if people
   believed it, it might make them less likely to get vaccinated.”).

          RESPONSE: Undisputed except to note that Crawford Ex. 26, which is from February

   2022, pertains to a limited set of claims and Facebook’s then-current policy: “Under our current

   policy, we remove posts that claim that COVID-19 vaccines kill people or lead to death. We

   remove these posts on the grounds that the claim is false and that it is harmful because if people

   believed it, it might make them less likely to get vaccinated.” (Emphasis added). Crawford Ex. 23,

   as stated, dates from four months prior. In any event, this PFOF contains no evidence that CDC or




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   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           526. On February 3, 2022, Facebook’s content-moderation official sent Crawford
   another email, stating that she “wanted to share updates we made as a result of our work
   together” and “ask for your assessment on a few things.” Crawford Ex. 26, at 1 (bold in
   original). She described the “updates” as follows: “On February 2nd, we launched several updates
   to our COVID-19 Misinformation and Harm Policy based on your [i.e. CDC’s] inputs.” Id. These
   “updates” included “[r]emoving claims that COVID-19 vaccines cause heart attacks,” and
   “[t]aking steps to reduce the distribution of content that our systems predict likely violates our
   COVID-19 and vaccine misinformation policies, but has not yet been reviewed by a human; if at
   any point this content is confirmed to violate the policy then it will be removed from the platform.”
   Crawford Ex. 26, at 1. Crawford responded, “the update is very helpful, thank you for including
   that!” Id.

          RESPONSE: Undisputed. In any event, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

            527. Facebook’s content-moderation official also included, under the heading “NEW:
   For CDC Input,” another request that “For each of the following new claims, can you please tell
   us if: 1. The claim is false; and 2. If believed, could this claim contribute to vaccine refusals?”
   Crawford Ex. 26, at 1 (bold and underline in original). She then provided a long, detailed list of
   claims and sub-claims about COVID-19 for CDC’s input. Id. at 2-4.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the




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   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           528. Among other things, Facebook asked the CDC to pre-refute claims based on events
   that had not occurred yet. Facebook asked Crawford to address “How FDA EUA authorization for
   children under 5 might impact our policies.” Crawford Ex. 26, at 1. Facebook noted, “We
   understand that the FDA is considering giving emergency use authorization for the COVID-19
   vaccine for children under five in the coming weeks. We are considering how our existing policies
   on COVID-19 vaccines … should apply to claims about children 6 months to 4 years once the
   vaccine is approved for use. Can you please assess for each claim whether it is false for children
   in this age range and if believed, likely to contribute to vaccine hesitancy or refusals? Please let
   us know if it is easiest to set up a time to meet and discuss each one.” Crawford Ex. 26, at 2 (italics
   in original). There followed a long, detailed list of claims about the vaccines, for which Facebook
   sought CDC’s input on their falsity as to children under 5. Id. at 2-3.

          RESPONSE: Disputed that “Facebook asked the CDC to ‘pre-refute’ claims based on

   events that had not occurred yet.” The cited email shows that Facebook was asking whether already

   extant claims about vaccines that were considered “false” and “if believed, likely to contribute to

   vaccine hesitancy or refusals”—for example, claims that the vaccine causes “magnetism” or

   “[a]lter[s] DNA”—would be “false” and “likely to contribute to vaccine hesitancy or refusals”

   when considered in relation to the upcoming “emergency use authorization for COVID-19

   vaccines for children under five.” See Crawford Ex. 26 at 2-3. In any event, this PFOF contains no

   evidence that CDC or the Census Bureau attempted to dictate to, threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress certain health claims on their

   platforms, or that the companies regarded (or acted on) any communications with CDC or the

   Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          529. For this long list of claims, Crawford understood that Facebook would use the
   CDC’s input to “determine” Facebook’s censorship policy for such claims: “I know that they're
   using our scientific information to determine their policy.” Crawford Dep. 170:19-20.




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          RESPONSE: Disputed as a mischaracterization and incomplete account of the testimony.

   The testimony does not support the assertion that Facebook was using CDC’s input to “determine”

   a so-called “censorship policy” or that Ms. Crawford understood Facebook to be doing so. Rather,

   Ms. Crawford testified that Facebook was “asking [CDC] about the science” relating to claims that

   the COVID-19 vaccine “kill[s] people or lead[s] to death” and that Facebook “us[ed] [CDC’s]

   scientific information to determine their policy.” Crawford Dep. 170:13-21. Ms. Crawford

   emphasized that “[CDC] did not discuss the development of [Facebook’s] policies, or the

   enforcement of [Facebook’s] policies.” Id. at 105:12-17. Further, Facebook exercised its own

   discretion in deciding how (and whether at all) to deal with claims that violate its own policies,

   including whether to remove posts, take some other action, or take no action at all. Id. at 88:3-22;

   see also id. at 159:8-10 (“They were looking for CDC, who would have the scientific facts, to

   provide them with scientific facts.”). In any event, this PFOF contains no evidence that CDC or

   the Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

           530. Regarding Facebook’s request for CDC’s input on these many new claims,
   Crawford responded, “I will talk to the Vaccine program and see what we can do.” Crawford Ex.
   27, at 1. The next day, February 4, 2022, she followed up, stating, “I’m heading out today but do
   you have a minute to discuss this by chance? Call anytime,” and provided her phone number.
   Crawford Ex. 27, at 1. Crawford also changed the subject line of the email to state, “Have 5 minutes
   to chat? [re]: Vaccine Misinformation Questions for CDC.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau attempted to dictate to, threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress certain health claims on their platforms, or that the



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   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          C.      CDC’s and Census’s Pressure and Collusion with Google/YouTube.

           531.     On March 18, 2021, Crawford emailed contacts at Google, stating: “As I believe
   we discussed previously, CDC is now working with Census to leverage some of their infrastructure
   to help identify and address COVID vaccine mis-info.” Crawford Ex. 28, at 1. She went on, “As
   I understand it from the Census team … when they were doing this for the Census project last year,
   they meet regularly with a Google/YouTube Trust team.” Id. A “Trust team” is a content-
   moderation team. Crawford then asked, “Is it possible for us to start up regular meetings on this
   topic or maybe use our existing meeting time.” Id. The subject line of this email was “COVID
   Misinfo Project.” Id. Google and Crawford then set up a time to talk and discuss the project. Id.

          RESPONSE: Undisputed, except the statement that a “Trust Team” is “a content

   moderation team,” which is unsupported by the record. Regardless, this PFOF contains no

   evidence that CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          532. Crawford states that this email refers to “the work of the IAA with Census to help
   consult and work with us on the COVID misinformation…” Crawford Dep. 175:6-8. Her
   reference to Census’s infrastructure referred to “the fact that Christopher [Lewitzke, the Census
   contractor] ran those reports and looked for misinformation on those areas for us.” Id. 175:11-13.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

         533. Crawford’s reference to Census’s previous project referred to their work on
   combating misinformation about the 2020 Census. Id. 175:18-19.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          534. Crawford does not remember the specific call referenced in this email, but she
   admits that, “This was in 2021. So we had been meeting pretty regularly with Google by this time.”
   Id. 179:5-6.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           535. On March 23, 2021, Crawford sent a calendar invite for a meeting on March 24 that
   included herself and five other CDC employees, four Census Bureau employees and contractors
   (including Zachary Schwartz, Christopher Lewitzke, and Jennifer Shopkorn), and six
   Google/YouTube officials. Jones Decl., Ex. T, at 1-2. The subject of the meeting was “COVID
   Misinformation: CDC/Census/Google.” Id. at 1. The invite stated: “CDC/Census to meet with
   Google regarding our misinformation efforts.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies




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   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           536. At the meeting, CDC and Census presented a slide deck similar to the one that
   Census prepared for the meeting with Facebook on March 25, 2021, discussed above. See id. 3-
   16. The slide deck was entitled, “COVID Vaccine Misinformation: Issue Overview.” Id. at 3. As
   with the Facebook slide decks, this one stated of “Misinformation Topics” that “[t]hese topics were
   selected due to high volume, continued public discussion, and high-profile coverage.” Id. at 4. It
   noted that these topics included “infertility, misinformation about side effects, and claims of
   vaccines leading to deaths.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

            537. For each topic, the slide deck included a description of a common claim, specific
   examples of videos on YouTube and social-media postings making the disfavored claim, and a
   putative refutation by the CDC. Id. at 6-14. For infertility, the slide deck stated that “[c]ommon
   claims about the COVID vaccine’s side effects include that it causes infertility in women and men,
   miscarriages, and stillbirth,” and it provide screen shots of specific videos on YouTube and social-
   media posts making this claim. Id. at 6-8. The deck asserted that “[a]ccording to CDC there is no
   evidence that fertility problems are a side effect of any vaccine, including COVID-19 vaccines.”
   Id. at 6. Regarding supposed misinformation about side effects, the deck stated, “speculation and
   misinformation about side effects after taking the COVID vaccine have been prevalent on social
   media since the first vaccines were approved,” and it provided screen shots of an example video
   on YouTube and social-media posts making such claims, along with a putative refutation by the
   CDC. Id. at 9-11. Regarding the topic “Death from Vaccines,” the slide deck stated that “[v]accine-
   hesitant groups spreading misinformation and conspiracy theories about alleged vaccine-related
   deaths erode trust in the COVID-19 vaccine and the public health system,” and it provided a
   sample video on YouTube and social-media posts linking the vaccines to deaths, along with a
   putative refutation by the CDC: “According to CDC, VAERS has not detected patterns in cause
   of death that would indicate a safety problem with COVID-19 vaccines.” Id. at 12-14. As with the




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   similar Facebook slide deck, the evident purpose of this presentation was to induce YouTube to
   censor these claims on its platform.

          RESPONSE: Disputed to the extent this PFOF asserts that “[a]s with the similar Facebook

   slide deck, the evident purpose of this presentation was to induce YouTube to censor these claims

   on its platform.” That is a mischaracterization unsupported by the cited document. This PFOF

   contains no evidence that CDC or the Census Bureau sought to threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CDC or the Census Bureau as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

            538. On March 25, 2021, Kate Galatas of the CDC emailed the group attending the
   meeting and stated: “Many thanks, again, for the time yesterday. This is such important shared
   work we are doing in the mis/dis information space, and we deeply appreciate your contributions.
   Please find attached the slide deck referenced during the meeting, and we ask that you treat it close
   hold and not for further distribution. We are looking forward to our future collaboration efforts!”
   Id. at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           539. On March 29, 2021, Crawford followed up with Google, inquiring “Are you all
   open to using our regular 4pm meetings to go over things with Census or what is preferred?”
   Crawford Ex. 29, at 2. Google responded: “We would like to follow up on our discussion with
   your colleague, Cynthia, on vaccine information a few months ago. Specifically, we plan to share
   a new list of common vaccine misinformation claims and would love it if Cynthia or other vaccine
   experts could join.” Id. He also stated that “we can save a few minutes … to discuss potential next
   steps regarding the Census…” Id. The subject line of this email was “Follow up on mis-info
   conversation.” Id.



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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           540. Crawford recalls that Census was asking for regular meetings with platforms
   specifically focused on misinformation: the statement “is in reference to discussing how to engage
   on an ongoing basis about misinformation and the Census suggestion that we have regular
   meetings with them just on that topic.” Crawford Dep. 184:14-18. The exchange was “about how
   to engage more regularly about misinformation, or … whatever Census had done with Google and
   YouTube, should we have a similar structure with CDC.” Id. 185:11-14.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   &f

            541. Regarding the request for input on the “new list of common vaccine misinformation
   claims,” Crawford responded, “I’ve arranged for a few SMEs [subject-matter experts] to join the
   call, including Cynthia.” Crawford Ex. 29, at 2.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          542. A few days later, on April 2, 2021, Google emailed Crawford stating, “Thanks
   again for your time this week. Attached are some of the claims we discussed for your reference.”
   Crawford Ex. 29, at 1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          543. Crawford’s reference to the “4pm meeting” refers to a regular biweekly meeting
   with Google, which still continues to the present day: “I still have a 4:00 p.m. meeting every other
   Monday with Google.” Crawford Dep. 180:6-7.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           544. Crawford also has “similar regular meetings with … Meta and Twitter.” Id. 180:11-
   16. She admits that she has ongoing meetings with Google and Facebook/Meta that continue to
   the present: “we had regular meetings with Google, and we had regular meetings with Meta….
   you know, the frequency changed…. I mean, Google we meet every other week. Right now with
   Meta it's more ad hoc.” Id. 180:16-21.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies




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   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          545. Crawford also “had a regular meeting with Pinterest for a short period of time, and
   we had … just more ad hoc meetings on occasion with Twitter.” Id. 180:23-181:1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          546. Crawford states that these meetings “were mostly about things other than
   misinformation; though misinformation was discussed in the meetings.” Id. 181:22-24.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

            547. On April 12, 2021, Google/YouTube followed up with an email to Crawford,
   stating, “For tomorrow’s call, would it be possible to include Cynthia or other COVID-19
   treatment SMEs [subject-matter experts] to follow up on some additional questions?” Crawford
   Ex. 30, at 1. Crawford responded, “Can you give me an idea of what topics we’ll be covering? But
   yes, I’ll ask them to attend.” Id.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           548. Crawford notes that it “wasn’t uncommon” for Google/YouTube to ask her to bring
   subject-matter experts to meetings to go over such topics. Crawford Dep. 188:19-22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           549. On May 10, 2021, Crawford emailed her Google contacts and invited them to attend
   in the BOLO meetings: “We would like to establish COVID BOLO meetings on misinformation
   and invite all platforms to join the meetings. We are aiming for our first one on Friday at noon.
   We have heard through the grapevine that [an official] at YouTube would want to join. Are there
   other POCs on your end I should include on the invite?” Crawford Ex. 40, at 1. The subject of the
   email was “COVID BOLO meetings on misinformation.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.




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          D.      CDC’s and Census’s “BOLO Meetings.”

           550. On May 11, 2021, Crawford followed up with an email stating, “We would like to
   invite digital platforms to attend a short ‘Be On The Lookout’ meeting on COVID. Please let us
   know if you have questions and feel free to forward this message to anyone in your organization
   that should attend.” Crawford Ex. 40, at 2. Google responded by asking that Crawford include the
   YouTube official in the meeting, and Crawford noted that she “was going to ask about” him at the
   4:00pm recurring meeting. Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          551.    Crawford testified that she wanted to include YouTube on the BOLO meetings
   because they hosted the most content: “people from YouTube would occasionally be on our regular
   meetings, depending on what we talked about. And because YouTube has the most content, like,
   hosting, … they were a part of the BOLO meetings…” Crawford Dep. 244:21-245:1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           552. The Census officials “were arranging” the BOLO meetings, and “they drafted the
   slides” for the meetings. Id. 246:12-20.

          RESPONSE: Disputed that the cited testimony states that Census Bureau officials were

   “arranging” the BOLO meetings as opposed to potentially arranging or keeping track of an invite

   list. Ms. Crawford testified that she did not “remember keeping a list of who attended” the



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   meetings, but that “Census might have” a list “because this is something they were arranging.”

   Crawford Dep. at 246:11-15. Undisputed that Census Bureau officials “drafted the slides” but note

   that CDC edited the slides with CDC content. Id. at 210:15-25. However, this PFOF contains no

   evidence that CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          553. Crawford ran the BOLO meetings. Id. 265:13. She “opened up the meeting,
   introduced myself, gave context for why we were doing the BOLO meeting in brief. And then I
   believe that Christopher [Lewitzke] went through the slide decks, and I occasionally piped in on
   them.” Id. 265:15-19.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           554. The “slide decks” shown at the meetings were “similar to the table” of 16 Facebook
   posts that Crawford previously emailed to Facebook, but “they were more like this is a theme, and
   then there'd be maybe a little info about what the theme was and then maybe a couple of example
   posts. And then there would be a slide maybe with CDC links or information related to that theme.”
   Id. 266:1-6.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is



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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           555. The first BOLO meeting was held on May 14, 2021. Jones Decl., Ex. U, at 1. The
   slide deck for that meeting was entitled “COVID Vaccine Misinformation: Hot Topics.” Id. at 2-
   10. It contained a list of five “Hot Topics” with an “ADVISORY” in red noting that platforms
   should “Be On the Lookout” for “Potential Misinformation” on each topic, and provided
   specific examples of social-media posts for each topic, “Associated Link(s) and Hashtag(s)” for
   each topic, and the CDC’s position on each topic (listed as “The Facts”). Id. at 4-8.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           556. Crawford also emailed similar slide decks for BOLO meetings scheduled for May
   28 and June 18, 2021, though the latter was canceled due to the new Juneteenth holiday. Jones
   Decl., Exs. V and W. In the cover email to the May 28 slides, Crawford requested secrecy: “Please
   do not share outside your trust and safety teams.” Jones Decl., Ex. V, at 1. Just like the May 14
   BOLO slides, these slides contained lists of “Hot Topics” with an “ADVISORY” in red noting
   that platforms should “Be On the Lookout” for “Potential Misinformation” on each topic, and
   provided specific examples of social-media posts for each topic, “Associated Link(s) and
   Hashtag(s)” for each topic, and the CDC’s position on each topic (listed as “The Facts”). Jones
   Decl., Ex. V, at 4-6; id. Ex. W, at 4-6.

          RESPONSE: Undisputed, except to the statement that the cover email “requested secrecy”

   is meant to suggest implications that are unspecified and not supported by the cited document.

   Regardless, this PFOF contains no evidence that CDC or the Census Bureau sought to threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with CDC or

   the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.



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           557. In conducting the BOLO meetings, Crawford described CDC’s goal as follows:
   “our goal is to be sure that credible information about COVID was out there. A lot of people seek
   information on platforms. We thought that by giving the platform scientific information it might
   help in our goals to being sure that credible information could be found.” Crawford Dep. 266:16-
   21. Of course, the BOLO meetings did not address identifying and promoting “credible
   information,” but flagging information that the CDC thinks is not credible for potential removal.
   Crawford effectively admits this; when asked if CDC’s goal includes that “incredible information
   would not be found,” she agreed that “I did want the credible information to be found in advance
   of the uncredible information.” Id. 266:22-267:4.

          RESPONSE: Disputed as a mischaracterization of the cited evidence, which does not

   suggest that CDC’s goal was to identify misinformation for “potential removal” but instead that it

   was “to be sure that credible information” on topics of misinformation “was out there” and “could

   be found.” This PFOF contains no evidence that CDC or the Census Bureau sought to threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with CDC or

   the Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          558. Crawford believes that the third BOLO meeting was cancelled because Juneteenth
   was declared a new federal holiday, and “that is why we didn’t end up having it and we sent the
   materials out via email.” Id. 248:17-22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          559. On October 28, 2021, Google emailed Crawford stating, “do you have time to
   connect early next week on anticipated guidance on vaccines for [children ages] 5-11? It would
   be great to connect as the CDC plans communications on authoritative information for pediatric
   vaccines.” Crawford Ex. 42, at 2.



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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          560. Crawford responded: “Yes, we can discuss pediatric vaccines early next week but
   let me give you some general info: ACIP is likely to vote on this on Nov 2. CDC is likely to start
   posting final information on Nov 3 (possibly late Nov 2), if that helps to know. There will be many
   updates so the changes might span over a few days. We are also looking ahead and misinformation
   and hope to have a BOLO type meeting later that week with platforms that are interested.”
   Crawford Ex. 42, at 1. (“ACIP” is the “Advisory Council for Immunization Practices.” 253:21-
   22.)

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           561. On June 29, 2022, Google/YouTube emailed Crawford and her deputy, stating:
   “The YouTube Policy team is requesting evidence-based input on the claims below. In the past,
   the CDC has reviewed COVID information claims and commented TRUE or FALSE + add any
   additional context needed.” Crawford Ex. 43, at 1. YouTube then presented two claims, relating
   to the safety and effectiveness of administering progesterone to reverse chemical abortion. Id.
   (“CLAIM: High doses of progesterone is a safe method of reversing chemical abortion …
   CLAIM: High doses of progesterone is an effective method of reversing chemical abortion….”)
   (bold in original). Crawford responded, “I’ll check on this but I think I’ll probably end up needing
   to refer you to another agency. I’ll get back to you.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies



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   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          562. Regarding this exchange, Crawford notes that the CDC’s “focus is not solely on
   COVID. We’re focusing on other topics. I think [YouTube] thought that we might be able to help
   with this topic as well.” Crawford Dep. 256:5-8. Thus, Crawford admits that the CDC is
   continuing to engage with social-media platforms to provide information that will lead to the
   censorship of health-related claims on social media, and that it is willing to expand its focus to
   other health topics beyond COVID-19.

          RESPONSE: Disputed to the extent the second sentence is a mischaracterization of and

   unsupported by the cited testimony. In the cited passage Ms. Crawford merely voiced her

   impression that YouTube thought CDC “might be able to help with this topic,” Crawford Dep.

   256:5-8, namely, assessing the truth or falsity of claims about the safety and effectiveness of

   progesterone to reverse chemical abortions, see Pls.’ PFOF ¶ 561, and says nothing about

   promoting “the censorship of health-related claims on social media.” As Ms. Crawford also

   explained at her deposition (but Plaintiffs omit) the request from Google/YouTube concerned a

   subject that the CDC did not deal with, and she did not think any action was taken on this request.

   Crawford Dep. 256:9-16. In short, this PFOF contains no evidence that CDC or the Census Bureau

   sought to threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          E. CDC’s and Census’s Pressure and Collusion with Twitter.




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           563. On April 8, 2021, Twitter emailed Crawford stating, “I’m looking forward to setting
   up regular chats; my team has asked for examples of problematic content so we can examine
   trends. All examples of misinformation are helpful….” Crawford Ex. 32, at 1. The subject line of
   this email was “Request for problem accounts.” Id. Crawford responded, “Yes, we’ll get that to
   you early next week.” Id.

          RESPONSE: Undisputed, except to note that the PFOF only selectively quotes from

   Twitter’s email. What the email stated in full was “All examples of misinformation are helpful,

   but in particular, if you have any examples of fraud—such as fraudulent covid cures, fraudulent

   vaccine cards, etc, that would be very helpful.” Crawford Ex. 32 at 1. Regardless, this PFOF

   contains no evidence that CDC or the Census Bureau sought to threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CDC or the Census Bureau as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          564. Crawford believes that Twitter sent this email in response to her inquiry, “Is there
   a good way that we should start engaging on misinformation?” 197:19-20.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

            565. Crawford responded on April 14, 2021, “The Census team put this spreadsheet
   together with four example areas,” which included the topics, “Vaccines aren’t FDA approved,”
   “Fraudulent cures,” “VAERS data taken out of context,” and “Infertility.” Crawford Ex. 33, at 1.
   The attachment was called, “Twitter CDC Examples 4-13-21.xlsx.” Id. The spreadsheet contained
   a “list [of] things that [Census] saw that were being stated as misinformation.” Crawford Dep.
   203:24-204:1. “Infertility” referred to “people claiming that getting the vaccines led to infertility.”
   Id. 204:17-18.



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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           566. Crawford believes that Twitter “was asking for these examples in this email
   because he was wondering … what would come up in BOLO meetings, or what we would be
   discussing.” Id. 204:22-24.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

            567. On May 10, 2021, Crawford emailed Twitter, stating “We wanted to point out two
   issues we are seeing a great deal of misinfo about….” Crawford Ex. 34, at 4. She then provided a
   list of “sample posts” that included 12 Tweets reproduced verbatim. She stated, “Our census team
   is copied here, has much more info on it if needed.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.




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         568. In the same email on May 10, 2021, Crawford wrote, “Also, we are standing up a
   BOLO COVID misinformation meeting and inviting all tech platforms. We are shooting for 12pm
   EST on Friday for our first meeting. I’ll include you on the invite….” Crawford Ex. 34, at 4.

           RESPONSE: Undisputed, except to note that the last sentence states in full: “I’ll include

   you on the invite but if you’d like to propose an alternative approach or would like me to include

   others, just let me know.” Crawford Ex. 34 at 4. However, this PFOF contains no evidence that

   CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

          569. Crawford agrees that she was “sending this to [Twitter] so that he would be on the
   lookout for those things appearing on Twitter.” Crawford Dep. 208:25-209:3.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          570. Crawford notes that “the BOLO format … was used previously,” id. 209:12-13,
   because Census had done “BOLO meetings … for their own work,” id. 209:23-24. The platforms
   had done BOLO meetings for Census “in relation to the 2020 census.” Id. 210:5-9.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is



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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          571.     Regarding the BOLO meetings, Census officials “explained” to Crawford “how
   they did it.” Id. 210: 16. “In fact, they drafted the slide deck” for the CDC BOLO meetings with
   social-media platforms. Id. 210:16-17. Census “drafted it and showed me how they thought that
   we should do it, and that … we would give examples, we would give the science, and then …
   people could follow up separately.” Id. 210:18-22.

           RESPONSE: Undisputed, except to note that Ms. Crawford testified that “I believe we

   changed some of the format of the PowerPoint, what we did for the CDC of course[.]” Crawford

   Dep. 210:15-25. In any event, this PFOF contains no evidence that CDC or the Census Bureau

   attempted to dictate to, threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress certain health claims on their platforms, or that the companies regarded (or

   acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

         572. Crawford believes that regular meetings with Twitter were not set up, but that “I
   know they participated in the BOLO meetings.” Id. 198:15-16.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

         573. Regarding the BOLO meetings, Crawford remembers that two occurred and a third
   one was scheduled but cancelled due to a holiday, and “in lieu of a meeting” she sent “a
   Powerpoint.” Id. 198:24-199:1.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           574. Twitter responded to Crawford’s May 10, 2021 email flagging 12 specific Twitter
   posts as examples of trending misinformation, stating: “Thanks for sharing this – agree these are
   important trends to note; a quick scan shows that at least some of these have been previously
   reviewed and actioned.” Crawford Ex. 34, at 3. He then stated: “I will now ask the team to review
   the others.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           575. Crawford understood that “asking the team to review the others” meant referring
   Crawford’s flagged posts and issues to Twitter’s content-moderation team for possible censorship:
   “I interpreted it as Twitter made decisions about the areas of misinformation based on whatever
   policy they had.” Crawford Dep. 211:17-19.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited testimony.

   Ms. Crawford expressed only her belief that Twitter would “ma[ke] decisions” about the “areas of

   [trending] misinformation” CDC had identified “based on whatever policy [Twitter] had,” without

   reference to specific posts or the nature of the decisions Twitter might make, or apparent familiarity

   with the specific terms of Twitter’s “policy.” Also disputed to the extent this PFOF is meant to

   suggest that the independent decisions of social-media companies to apply their content-



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   moderation policies, to which all users agree, constitutes “censorship.” This PFOF contains no

   evidence that CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          576. As with Facebook, Crawford understood that her flagging of posts would result in
   Twitter censoring at least some of these materials in different ways, including removing posts:
   “similar to Meta that they probably had multiple options. I am sure some were removed. I am sure
   some … were flagged. I see flags all the time on the Twitter posts. I am sure some were just maybe
   … maybe they weren't distributed as much on peoples' feeds.” Id. 212:10-16.

           RESPONSE: Disputed as a mischaracterization of and unsupported by the cited testimony.

   As reflected therein, Crawford could only speculate which of “multiple options” Twitter might

   have chosen regarding the flagged posts. Also disputed to the extent this PFOF is meant to suggest

   that the independent decisions of social-media companies to apply their content-moderation

   policies, to which all users agree, constitutes “censorship.” This PFOF contains no evidence that

   CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CDC or the Census Bureau as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. §

   II.B.4.a. & f.

           577. In the same email, Twitter offered to enroll CDC officials in its “Partner Support
   Portal” to provide expedited review of content flagged for censorship: “Carol, remind me: did you
   have a chance to enroll in our Partner Support Portal? In the future, that’s the best way to get a
   spreadsheet like this reviewed.” Crawford Ex. 34, at 3.

           RESPONSE: Undisputed, except to note that Ms. Crawford testified that she never used

   the “Partner Support Portal.” Crawford Dep. 211:24-212:7. However, this PFOF is disputed to the



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   extent it is meant to suggest that the independent decisions of social-media companies to apply

   their content-moderation policies, to which all users agree, constitutes “censorship.” Regardless,

   this PFOF contains no evidence that CDC or the Census Bureau sought to threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CDC or the

   Census Bureau as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          578. Crawford understood that Twitter’s Partner Support Portal was “similar to what I
   described for Meta. It's an offering where you log in and you can report misinformation or threats
   or problematic posted content in this portal, and it puts it in a system for review.” Crawford Dep.
   212:3-7.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          579. On May 10, 2021, Twitter noted to Crawford, “I’d be glad to enroll you in our
   Partner Support Portal, which allows you a special, expedited reporting flow in the Twitter Help
   Center. It worked very well with Census colleagues last year.” Crawford Ex. 34, at 3.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.



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           580. Crawford responded by asking for instructions on how to enroll in the Partner
   Support Portal, and Twitter offered to enroll any Twitter accounts she identified. Crawford Ex. 34,
   at 3. Crawford provided her personal Twitter account to enroll. Id.

          RESPONSE: Undisputed, except to note that Ms. Crawford testified that she never used

   the “Partner Support Portal.” Crawford Dep. 211:24-212:7. Moreover, this PFOF contains no

   evidence that CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          581. Then, on May 24, Census Bureau contractor Christopher Lewitzke followed on the
   same email chain with Twitter, asking about “the partner support portal enrollment for CDC.”
   Crawford Ex. 34, at 2. Lewitzke indicated that they planned to report COVID misinformation to
   Twitter using existing Census accounts already enrolled in the portal, not CDC accounts, stating:
   “would there be any issues or complications stemming from flagging COVID misinformation on
   the portal using the existing census.gov accounts that have access? We’ll want to have at least
   some CDC accounts whitelisted, but that backup may be helpful short-term.” Id. He then stated:
   “Let us know any next steps we can take to make sure CDC is all set with the portal.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           582. Crawford confirms that Census had used similar portals to report misinformation
   to platforms in the past: “I did know from discussions with them that one technique I think that
   they used was using portals … for their work to report [mis]information.” Crawford Dep. 213:16-
   19.




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          583. Twitter emailed Crawford on May 27, 2021, noting that she should be fully
   enrolled. Crawford Ex. 34, at 1. A screen shot of the portal proclaims, in very large, bolded type,
   “Report any issue to get priority service.” Id. (bold in original, font greatly reduced).

          RESPONSE: Undisputed, except to note that Ms. Crawford testified that she never used

   the “Partner Support Portal.” Crawford Dep. 211:24-212:7. Moreover, this PFOF contains no

   evidence that CDC or the Census Bureau sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with CDC or the Census Bureau as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.C., Arg. § II.B.4.a. & f.

          584. Crawford believes that she attempted to use Twitter’s Partner Support Portal “every
   now and then,” but that she never solved technical issues that prevented her from reporting
   anything. Crawford Dep. 215:9-22.

          RESPONSE: Disputed in part as misleading. Ms. Crawford testified that Twitter’s Partner

   Support Portal “was not a priority for me,” and that “I wasn’t thinking that we would probably

   want to use this portal on a regular basis.” Crawford Dep. 215:6-15. She explained that she “wanted

   to look at it and see what it []looked like,” so “every now and then I would try to get on it,” but

   she could not log in. Id. Ms. Crawford testified that she never used the “Partner Support Portal.”

   Crawford Dep. 211:24-212:7. Regardless, this PFOF contains no evidence that CDC or the Census




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   Bureau sought to threaten or pressure, collude with, or encourage social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          585.    Christopher Lewitzke is “a Census contractor.” Id. 217:5-6.

          RESPONSE: Undisputed.

           586. On September 2, 2021, Crawford emailed Twitter, stating, “A quick BOLO for a
   small but growing area of misinfo.” Crawford Ex. 35, at 1. To Twitter, she claimed that “one of
   our Lab alerts … was misinterpreted and was shared via social media.” Crawford Ex. 35, at 1. She
   stated, “I’ve attached some example Twitter posts and another document with the facts around the
   issue.” Id. The subject line of the email was “BOLO: CDC lab alert & misinformation.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

           587. This report was very similar to the report Crawford provided Facebook the day
   before, September 1, 2021. Crawford Ex. 21, at 1. “The only difference is this email is going to
   Twitter.” Crawford Dep. 220:7-8.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CDC or the

   Census Bureau sought to threaten or pressure, collude with, or encourage social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CDC or the Census Bureau as such. Any assertion to that effect is




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   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          588. By sending these emails to Facebook and Twitter flagging what the CDC believed
   was a misinterpretation of a CDC lab alert on social media, CDC intended to prevent the disfavored
   message from spreading on social media: “We saw this confusion about this alert brewing and
   more posts were going up with confusion, and we thought it would be a good idea to provide the
   platforms with the facts before it became something bigger.” Id. 220:13-17 (emphasis added). In
   other words, CDC wished to cause the disfavored viewpoint to be censored before it could be
   viewed or repeated by others—a quintessential prior restraint.

          RESPONSE: Disputed as a mischaracterization of and unsupported by the cited testimony.

   Ms. Crawford testified only that CDC wished “to provide the platforms with the facts” about

   CDC’s lab alert, and said nothing about an intent to “prevent the disfavored message from

   spreading on social media” or “cause [a] disfavored viewpoint to be censored[.]” This PFOF

   contains no evidence that CDC or the Census Bureau sought to threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CDC or the Census Bureau as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.C., Arg. § II.B.4.a. & f.

          589. CDC specifically flagged this information to the platforms, knowing that they
   would evaluate it for potential censorship under their content-moderation policies: Crawford
   “knew their policy teams or their trust teams or misinfo teams … would evaluate it.” Id. 220:21-
   23. And Crawford “knew that removal was one of the options that they had, yes.” Id. 220:25-
   221:1.

          RESPONSE: Disputed to the extent this PFOF is meant to suggest that the independent

   decisions of social-media companies to apply their content-moderation policies, to which all users

   agree, constitutes “censorship.” This PFOF contains no evidence that CDC or the Census Bureau

   sought to threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any




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   communications with CDC or the Census Bureau as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.C., Arg. § II.B.4.a.

   & f.

          F.      CDC Endorses the States’ Theory of Standing.

           590. Crawford admits that government communicators have a strong interest in tracking
   what their constituents are saying on social media: “It's helpful for communicators to know what
   is being discussed because it helps improve our communication materials.” Id. 53:10-12.

          RESPONSE: Irrelevant. Whether States have a legally cognizable interest in following

   the discourse of their citizens on social media in order to craft responsive messaging and policies

   is a question of law, not dependent on the views of an individual government employee. Moreover,

   the Plaintiff States have not established a concrete and particularized injury to this asserted interest

   that can fairly be attributed to Defendants’ actions. See Defs.’ Arg. § II.A; Defs.’ MTD Br. 16-43,

   Dkt. 128-1.

           591. Crawford emphasized this point multiple times: “as I mentioned before, it does help
   … for communicators to know what conversations occurs on social media because it helps us
   identify gaps in knowledge, or confusion, or things that we're not communicating effectively that
   we need to adjust.” Id. 54:15-20.

          RESPONSE: See Response to Pls.’ PFOF ¶ 590.

           592. CrowdTangle reports “would help us understand what was being discussed on
   social media about COVID, which helps us look for gaps in information, confusion about facts,
   things that we might need to adjust our communication materials for.” Id. 57:24-58:3.

          RESPONSE: See Response to Pls.’ PFOF ¶ 590.

           593. Crawford specifically expressed the concern that, if content was censored or
   removed from social-media platforms, government communicators would not know what the
   citizens’ true concerns were: She “was wondering if they delete the info will we know those myths
   or information so we could update communication activity. So if they were deleting content would
   we know what the themes were.” Id. 75:14-18. Thus, Crawford was concerned that, if the
   platforms “were deleting content,” she might not know “what the themes were” of “myths or
   [mis]information,” which would prevent her from “updat[ing the CDC’s] communication activity”
   to address those myths and misinformation. Id. Accordingly, Crawford wanted to know, “would




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   [CDC] be able to see in CrowdTangle or other reports … what kind of themes were removed so
   we would still have the full picture of areas of confusion.” Id. 75:21-76:1.

          RESPONSE: See Response to Pls.’ PFOF ¶ 590.

           594. Crawford inquired of Facebook “about the data that we could get so we had a full
   picture on confusion so that we could adjust communication materials, or ways that we were
   communicating” about COVID-19. Id. 81:10-13. In other words, Crawford wanted to know about
   speech that was censored, as well as speech that was left up, on social-media platforms so CDC
   could get “a full picture” and “adjust communication materials” to address people’s actual
   concerns. Id.

          RESPONSE: See Response to Pls.’ PFOF ¶ 590.

           595. The CDC “did searches in CrowdTangle, the same way we do searches in other
   social media and listening tools that we have to create, to understand what's being discussed in the
   environment, to update our communication material.” Id. 148:11-15.

          RESPONSE: See Response to Pls.’ PFOF ¶ 590.

   V.     Dr. Fauci’s Campaigns to Censor Disfavored Viewpoints on Social Media.

           596. Dr. Fauci, cooperating frequently with NIH Director Dr. Francis Collins, engaged
   in a series of campaigns to discredit and procure the censorship of viewpoints he disfavored on
   social media, beginning at least in early 2020. Once he became Chief Medical Advisor in the Biden
   Administration in early 2021, his censorship efforts coordinated with and reinforced those of
   federal officials in the White House, the Office of the Surgeon General, the CDC, and elsewhere.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. Neither this PFOF, nor any that follow, contain

   evidence that Dr. Fauci attempted to “procure the censorship of viewpoints he disfavored on social

   media,” whether alone or in cooperation or coordination with others. Any assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           597. Until his recent retirement, Dr. Anthony S. Fauci was the director of the National
   Institute for Allergy and Infectious Diseases at the National Institutes of Health and the Chief
   Medical Advisor to President Biden. Fauci Dep. 10:8-16. At the time of his deposition, Dr. Fauci
   had been the director of NIAID for over 38 years. Id. at 10:25-11:1.

          RESPONSE: Undisputed.

          A.      Dr. Fauci’s Conspiracy and Campaign to Suppress the Lab-Leak Theory.



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           598. First, in early months of 2020, Dr. Fauci worked closely with Dr. Francis Collins
   and Jeremy Farrar to orchestrate a campaign to discredit and suppress the opinion that SARS-CoV-
   2, the virus that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology—
   an opinion that has recently been confirmed as likely true. Early in the pandemic, Dr. Fauci was
   aware that NIAID, under his direction, had funded dangerous gain-of-function research on
   coronaviruses at that laboratory, and he sought to discredit and suppress the lab-leak theory to
   deflect the scandal and blame associated with potential responsibility for the deaths of millions in
   the ensuing pandemic. He engaged in a campaign of deception to discredit the theory, and as a
   result of his efforts, the lab-leak theory was heavily censored on social media.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by and

   without citation to the evidence. Additionally, the use of the phrase “lab-leak theory” in this PFOF

   and any others throughout this document is disputed as erroneously suggesting that there is only

   one theory concerning how SARS-CoV-2, the virus that causes COVID-19, may have emerged

   from a laboratory in Wuhan, China (assuming it did, in fact, emerge from a laboratory rather than

   in nature). In fact, multiple diverging “lab-leak” theories have emerged. One theory is that SARS-

   CoV-2 was intentionally engineered in a laboratory and deliberately or accidentally released.

   Another is that SARS-CoV-2 was inadvertently created in a lab during serial passage experiments

   and accidently spread beyond the lab. Yet another is that SARS-CoV-2 naturally occurred in the

   wild, was being studied in a lab, and was accidentally spread beyond the lab by infected

   researchers. In any event, neither this PFOF, or any that follow, contain evidence that Dr. Fauci

   “orchestrate[d] a campaign or sought by threat, coercion, encouragement, deception, or otherwise,

   to censor or suppress any theory on social media. Any assertion to that effect is unsupported by

   and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           599. On December 30, 2011, Dr. Fauci co-authored an op-ed with Dr. Francis S. Collins
   in the Washington Post entitled A Flu Virus Risk Worth Taking. Fauci Ex. 1, Fauci Dep. 13:13-20.

          RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress




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   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           600. In this op-ed, Dr. Fauci and Dr. Collins advocated for creating potentially
   dangerous viruses in laboratories, writing that “important information and insights can come from
   generating a potentially dangerous virus in a laboratory.” Fauci Ex. 1, at 1. According to Fauci
   and Collins, “[u]nderstanding the biology of … virus transmission has implications for outbreak
   prediction, prevention and treatment,” and “[i]dentifying threatening viruses can also facilitate the
   early stages of manufacturing vaccines that protect against such a virus in advance of an outbreak.”
   Id. at 2. They further argued that “identifying the molecular Achilles heel of these viruses can
   allow scientists to identify novel antiviral drug targets that could be used to prevent infection …
   or better treat those who become infected.” Id.

          RESPONSE: Disputed as a mischaracterization of the cited op-ed, which discussed

   “taking this H5N1 [virus] and studying it in different ways that could potentially make it more

   dangerous but only under very strict conditions,” Fauci Dep. 14:25–15:5, a risk that Dr. Fauci

   testified was “worth taking if the benefit is the protection of the American and global public.” Id.

   15:16-18; see also Fauci Ex. 1. Moreover, the second sentence is disputed to the extent it removes

   a phrase (as noted by the ellipses) from the quoted portion of the article and thereby misrepresents

   its contents; the first quoted portion should read: “Understanding the biology of influenza virus

   transmission has implications for outbreak prediction, prevention and treatment.” Fauci Ex. 1, at

   2 (emphasis added to note removed word from Plaintiffs’ PFOF). Additionally, the last quoted

   sentence of the PFOF should read “determining the molecular Achilles heel . . . ” (not

   “identifying”). Id. (emphasis added to note corrected word). Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          601. Dr. Fauci and Dr. Collins acknowledged the significant risks associated with such
   research, writing that “[s]afeguarding against the potential accidental release or deliberate misuse
   of laboratory pathogens is imperative.” Id. But they believed that those risks were contained,
   writing that “engineered viruses … are maintained in high-security laboratories.” They further



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   state that “scientists, journal editors, and funding agencies involved are working together to ensure
   that access to specific information that could be used to create dangerous pathogens is limited to
   those with an established and legitimate need to know.” Id.

          RESPONSE: Disputed as a mischaracterization of the cited op-ed, for the reasons stated

   in response to Plaintiffs’ PFOF ¶ 600. Moreover, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           602. Thus, long before the COVID-19 pandemic, Dr. Fauci and Dr. Collins were highly
   visible, public advocates for laboratory experiments that involve “generating a potentially
   dangerous virus in a laboratory.” Id. at 1.

          RESPONSE: Disputed as a mischaracterization of the cited article and the views of Dr.

   Fauci and Dr. Collins. The cited op-ed is specific to the study of the H5N1 influenza virus and

   does not ”advocate[ ]” generally for laboratory experiments that involve “generating a potentially

   dangerous virus in a laboratory.” See Fauci Ex. 1. Indeed, the op-ed itself explains that “[t]he

   question is whether the benefits of such research outweigh the risks. The answer is not simple.”

   Id. at 2. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           603. Such research of “generating a potentially dangerous virus in a laboratory” is
   commonly called “gain-of-function” research. Dr. Fauci testified that “[g]ain of function is a very
   potentially misleading terminology, and that was one of the reasons why several years ago outside
   groups, not the NIH … did away with the terminology ‘gain of function’ because it can often be
   very confusing and misleading.” Fauci Dep. 16:3-10. But Dr. Fauci confirms that “the NIH” did
   not “d[o] away” with that terminology, id., and Dr. Fauci’s own internal email uses the phrase
   “SARS Gain of Function” to describe the research on bat coronaviruses that was conducted by Dr.
   Shi Zhengli and others at the Wuhan Institute of Virology, partly funded by Dr. Fauci’s NIAID
   through the subgrants from the EcoHealth Alliance, discussed below, see Fauci Ex. 6, at 8.




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          RESPONSE: Disputed that Dr. Fauci’s email produced on page 8 of Exhibit 6 shows that

   Dr. Fauci used the phrase “SARS Gain of Function” to describe any research. The phrase “SARS

   Gain of Function” appears only in the filename of an attachment and Dr. Fauci testified that he did

   not know who named the file in such a manner. Fauci Dep. 57:1-16. Undisputed as to the remaining

   allegations. However, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           604. On June 1, 2014, Dr. Fauci’s NIAID funded a grant to the EcoHealth Alliance for
   the five-year period June 1, 2014, to May 31, 2019. Fauci Ex. 2, at 2. The title of the project was
   “Understanding the Risk of Bat Coronavirus Emergence.” Id. at 1. The project’s Abstract stated,
   “This project will examine the risk of future coronavirus (CoV) emergence from wildlife using in-
   depth field investigations across the human-wildlife interface in China, molecular characterization
   of novel CoVs and host receptor binding domain genes, mathematical models of transmission and
   evolution, and in vitro and in vivo laboratory studies of host range.” Id.

          RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           605.     The Abstract noted that one of the project’s “three specific aims” would be to
   “[t]est predictions of CoV inter-species transmission” by engaging in two forms of research to
   enhance the bat coronaviruses’ transmissibility to humans: “reverse genetics,” i.e., genetic
   manipulation of the viruses to render them more transmissible; and “virus infection experiments”
   using “humanized mice,” i.e., repeatedly infecting humanized mice with bat coronaviruses to
   provoke mutations that render them more infectious to human cells (a process known as “serial
   passage,” see https://en.wikipedia.org/wiki/Serial_passage). Id. at 1. Specifically, the Abstract
   stated: “Predictive models of host range (i.e.[,] emergence potential) will be tested experimentally
   using reverse genetics, pseudovirus and receptor binding assays, and virus infection experiments
   across a range of cell cultures from different species and humanized mice.” Id. (emphases added).

          RESPONSE: Disputed as a mischaracterization of the Abstract, which does not cite

   Wikipedia, does not state that the research will “enhance the bat coronaviruses’ transmissibility to



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   humans,” and does not state that the research will make any virus more transmissible or infectious.

   In fact, the Abstract states that the “project will examine the risk of future coronavirus (CoV)

   emergence from wildlife,” and “aims to understand what factors increase the risk of the next CoV

   emerging in people.” Fauci Ex. 2 at 1. Defendants also dispute Plaintiffs’ purported definitions of

   “reverse genetics” and “serial passage,” which Plaintiffs have apparently obtained from Wikipedia.

   “Reverse genetics” are not exclusively associated with making viruses more transmissible, and Dr.

   Fauci testified that “reverse genetics” “is very broad terminology.” Fauci Dep. 24:22-25. Dr. Fauci

   also testified that “serial passage” could be used to “decrease function.” Fauci Dep. 116:4-7.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress the lab-leak theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           606. Dr. Fauci attempted to argue that “reverse genetics” is so vague that it might not
   refer to gain-of-function research. See Fauci Dep. 23:18-20 (“I'm not really quite sure what they’re
   referring to. Reverse genetics can mean many things.”). But Dr. Fauci admits that “reverse
   genetics” means “[m]anipulation of a virus, recombination, things like that.” Id. at 23:19-21. In
   2015, in an article reporting on research performed pursuant to this grant, Dr. Ralph Baric and Dr.
   Shi Zhengli wrote that they used “reverse genetics” to “generate[] and characterize[] a chimeric
   virus” that was more infectious and more virulent in humans. Fauci Ex. 4, at 1. Dr. Fauci’s own
   internal email describes that article as addressing “SARS Gain of Function.” Fauci Ex. 6, at 8.

          RESPONSE: Undisputed that Dr. Fauci testified that “reverse genetics” is “is a very broad

   term that could have multiple applications.” Fauci Dep. 24:6-10. Disputed that the cited article

   described using reverse genetics to make “‘a chimeric virus’ that was more infections and more

   virulent in humans.” The article speaks for itself, and it does not demonstrate an increased

   infectivity or virulence in humans. The last sentence is disputed for the reasons stated in response

   to Plaintiffs’ PFOF ¶ 603. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress



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   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           607. Dr. Fauci admits that “EcoHealth has a subaward from their original grant that goes
   to Shi Zhengli at the Wuhan Institute of Virology.” Fauci Dep. 36:4-6. He agrees that EcoHealth
   and Shi Zhengli of the Wuhan Institute of Virology “work together on research that’s directly
   funded by NIAID.” Fauci Dep. 36:7-13.

          RESPONSE: The first sentence is undisputed. The second sentence is disputed as a

   mischaracterization of Dr. Fauci’s testimony, which provides that “the funding goes to EcoHealth

   which awards a subaward.” Fauci Dep. 36:9-10. Moreover, this PFOF is irrelevant and contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           608. Dr. Fauci also attests that Dr. Peter Daszak likely has access to the genetic
   sequences of chimeric viruses that Shi Zhengli created during her research funded by EcoHealth
   using NIAID funds: “I don't know absolutely for sure, but I would imagine that if Peter Daszak is
   collaborating scientifically with Shi Zhengli, that it is likely, given the norms of scientific
   collaboration, that he would have access to data,” and “they are collaborators, since he has a
   subaward to the Wuhan Institute that I believe goes to Dr. Shi.” Fauci Dep. 37:1-13. Daszak,
   therefore, is likely in possession of genetic evidence demonstrating whether SARS-CoV-2
   originated from NIAID-funded research at the Wuhan Institute of Virology.

          RESPONSE: Disputed as a mischaracterization of the cited testimony. Dr. Fauci does not

   testify that Dr. Daszak had access to “genetic sequences of chimeric viruses”; instead, he states

   that he thought it likely that Dr. Daszak “would have access to data” that is “generated by Shi

   Zhengli pursuant to their research together.” Fauci Dep. 37:1-13. Moreover, Dr. Fauci was asked

   whether Dr. Daszak would have had access to data, not whether Dr. Daszak currently has

   possession of certain data. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress




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   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           609. Dr. Fauci claimed that he had never seen this grant award before his deposition,
   and that he was only “vaguely” aware of NIAID’s funding of EcoHealth Alliance. Id. at 18:10-12
   (“I’m vaguely familiar with the fact that EcoHealth Alliance has been doing research on trying to
   understand the bat coronavirus emergence.”); id. at 19:7-8 (“I have no recollection of the initiation
   of this grant.”). Dr. Fauci admits that “NIAID has funded EcoHealth Alliance,” 20:5-6, but he
   contends that he is completely unfamiliar with this project. Id. at 20:8-9 (“[T]his is the first time
   that I have seen this piece of paper.”). But this very grant project was flagged for Dr. Fauci in an
   email from his subordinate on January 27, 2020, at the beginning of the pandemic. Fauci Ex. 5.
   Given the public and Congressional scrutiny of this particular project and its relation to the origins
   of the COVID-19 pandemic, Dr. Fauci’s testimony on these points is not credible.

           RESPONSE: Disputed as argumentative and a mischaracterization of the cited testimony.

   Dr. Fauci testified that he “d[id] know” in general that “NIAID has funded EcoHealth Alliance,”

   Fauci Dep. 20:3-6, but that he had “no recollection of the initiation of th[e] [sub]grant” in question,

   id. at 18:24-19:8, which is unsurprising since he “d[id] not individually approve grants,” id., and

   received the cited email three years before his deposition, Fauci Ex. 5. Moreover, the piece of

   paper that was shown to Dr. Fauci as Exhibit 2 is not the “grant award.” Rather, it is a summary

   of the grant award that is publicly available on reporter.nih.gov, and there is no reason for Dr.

   Fauci to be familiar with a printout from the website. Fauci Ex. 2. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          610. Peter Daszak is listed as the “Contact PI/Project Leader” for the grant award
   “Understanding the Risk of Bat Coronavirus Emergence.” Fauci Ex. 2, at 1. The “Awardee
   Organization” is the EcoHealth Alliance. Id.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or



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   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           611. Dr. Fauci claims that he is not acquainted with Peter Daszak and does not know
   how to pronounce Daszak’s name, Fauci Dep. 20:13 (“I’m not sure”), and that he “do[es]n’t even
   remember meeting him,” id. at 21:1-2, but that he has seen a photo of himself with Daszak at a
   public event as the only evidence that they have met. Id. at 21:2-8.

           RESPONSE: Disputed as a mischaracterization of the cited testimony. Dr. Fauci testified

   that he thought he had “met Daszak once or twice,” so he would “not exactly characterize him as

   an acquaintance,” and he could not “remember meeting him,” but acknowledged that they had met

   since they were photographed together. Fauci Dep. 20:15-21:20. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b..

          612. In fact, Dr. Fauci has exchanged cordial emails with Daszak on a first-name basis,
   and he participated in a podcast with him on February 9, 2020, in which they both sought to
   discredit the lab-leak theory of COVID’s origins. Fauci Ex. 15, 16, 30. Dr. Fauci’s attempt to deny
   or downplay his acquaintance and familiarity with Daszak is not credible.

           RESPONSE: Disputed as argumentative and a mischaracterization of the cited evidence.

   The referenced podcast with Dr. Daszak took place nearly three years before Dr. Fauci’s

   deposition, in in February 2020, see Fauci Exs. 15, 16, and was one of “many podcasts” in which

   he has participated, Fauci Dep. 142:1-6. His single cited email exchange with Dr. Daszak occurred

   in April 2020. Fauci Ex. 30. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          613. On October 17, 2014, the U.S. Government entered a “research funding pause” on
   gain-of-function research on coronaviruses, in a document entitled “U.S. Government Gain-of-
   Function Deliberative Process and Research Funding Pause on Selected Gain-of-Function
   Research Involving Influenza, MERS, and SARS Viruses.” Fauci Ex. 3, at 1 (the “GoF Pause” or
   “Pause”).

           RESPONSE: Disputed as a mischaracterization of the cited document to the extent the

   “research funding pause” applied only to “selected gain-of function research involving influenza,

   MERS, and SARS viruses.” Fauci Ex. 3 (emphasis added) (capitalizations removed). Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

          614. Contrary to Dr. Fauci’s testimony that the “pause” was an occasion to jettison the
   term “gain-of-function,” the Pause provided a simple and clear definition of “gain of function”
   research, defining “Gain-of-function studies” as “research that improves the ability of a pathogen
   to cause disease.” Fauci Ex. 3, at 2. The research on bat coronaviruses described in Fauci Ex. 2
   meets this simple definition.

           RESPONSE: Disputed as argumentative and without support in the cited evidence.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

         615. The Pause applied to funding for all “research such as this until a new U.S.
   Government research policy could be adopted.” Fauci Dep. 27:17-19; Fauci Ex. 3, at 2-3.

           RESPONSE: Disputed as a mischaracterization of the cited evidence to the extent

   Plaintiffs suggest that the purported “pause” covered any “gain-of-function” research not

   specifically discussed in the cited document. See Fauci Dep. 27:10-19; Fauci Ex. 3. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,



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   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           616. The Pause provided an exception in Footnote 1, which stated: “An exception from
   the research pause may be obtained if the head of the USG funding agency determines that the
   research is urgently necessary to protect the public health or national security.” Fauci Ex. 3, at 2
   n.1.

           RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            617. Dr. Fauci testified that he does not recall whether NIAID ever invoked that
   exception during the years that the Pause was in place (2014-2017). Fauci Dep. 28:22-29:3. He
   testified that authorization for funding under the exception would “not usually rise up to the office
   of the director, but is handled at the level of staff and deputy.” Id. at 29:1-2. He testified that such
   approval for projects “urgently necessary to protect the public health or national security” could
   have come from “any of a number of people. It could have been people at the program level. It
   could have been my deputy. It could have been program managers and division directors.” Id. at
   30:16-19.

           RESPONSE: Disputed to the extent the first sentence is contradicted by the record. Dr.

   Fauci testified that he recalled that “exceptions were given to a couple experiments.” Fauci Dep.

   28:22-25. Undisputed that Dr. Fauci did not recall personally giving the ultimate sign-off to such

   exceptions, which would have been “eight years ago.” Id. at 28:22–29:12. Regardless, this PFOF

   is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          618.     This testimony contradicts the plain language of the exception, which states that
   “the head of the USG funding agency” must “determine[] that the research is urgently necessary



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   to protect the public health and national security” to allow continued funding for gain-of-function
   research on coronaviruses. Fauci Ex. 3, at 2 n.1. At all relevant times, Dr. Fauci was the “head of
   the USG funding agency,” i.e., the Director of NIAID, and he was responsible for authorizing
   funding for gain-of-function research on the ground that it was “urgently necessary to protect the
   public health or national security.”

          RESPONSE: Disputed as argumentative, speculative, and a legal conclusion unsupported

   by the record. Plaintiffs cite no law or regulation that would have prevented the head of the USG

   funding agency from delegating this responsibility to one or more subordinate officials, as is

   common practice in U.S. Government agencies. See, e.g., U.S. Telecom Ass’n v. FCC, 359 F.3d

   554, 565 (D.C. Cir. 2004) (“When a statute delegates authority to a federal officer or agency,

   subdelegation to a subordinate federal officer or agency is presumptively permissible absent

   affirmative evidence of a contrary congressional intent.” (citing cases)). Also disputed that Dr.

   Fauci was the head of the USG funding agency, since the funding agency was the National

   Institutes of Health (NIH), and not NIAID. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          619. Dr. Fauci states that he does not recall whether NIAID ever authorized continued
   funding for Peter Daszak or EcoHealth Alliance pursuant to the exception to the Pause in footnote
   1. Fauci Dep. 30:3-12.

          RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          620. In fact, Dr. Fauci testified that “I don’t recall” or “I do not recall” 174 times in his
   deposition, and testified that he could not recall or remember using variations on that phrase 212
   times. See Fauci Dep. 22:21-352:17-18. This contrasts sharply with his public statements about
   the very same issues that, during his deposition, he professed near-complete loss of memory. See,



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   e.g., Jones Decl., Ex. X, at 1 (“I remember it very well”). It also contrasts sharply with his clear,
   specific recollection of unrelated events from the same time frame. See, e.g., Fauci Dep. 353:20-
   354:16. Dr. Fauci’s repeated claims to not remember or not recall key events and people are not
   credible.

          RESPONSE: Disputed as an argumentative mischaracterization of Dr. Fauci’s testimony

   that is unsupported by the cited evidence. The quoted newspaper article, Jones Decl., Ex. X, reports

   that Dr. Fauci remembered “very well” that a group of scientists on a February 1, 2020, call decided

   that the origins of SARS-CoV-2 “really needed to be looked into carefully.” That statement does

   not “contrast[] sharply” with Dr. Fauci’s unsurprising inability to remember details about whether

   a particular person called him in January 2020, see Fauci Dep. 35:9-15, whether Dr. Fauci

   remembers one particular email out of the thousands he received in January 2020 alone, id. 40:2-

   12, who Dr. Fauci copied on an email sent on February 1, 2020, id. at 55:5-8; see also Fauci Dep.

   Ex. 6, at 8, what specific day in 2020 he “became aware” of an article, Fauci Dep. 61:1-6, whether

   anyone expressed concern during a February 1, 2020 phone call about “social media conspiracy

   theories,” id. 78:10-24, whether Dr. Fauci recalls receiving a draft article on February 4, 2020, id.

   at 124:9-14, or whether he remembers other details of communications that took place three years

   ago. Dr. Fauci’s inability to recall such minute and irrelevant details during his testimony does not

   imply any lack of credibility. In any event, his memory of these irrelevant matters is itself irrelevant

   and furnishes no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          621. Dr. Fauci’s chief deputy is Dr. Hugh Auchincloss, who is the Principal Deputy
   Director of NIAID. Id. at 30:20-25.

          RESPONSE: Undisputed that at the time of the deposition, Dr. Hugh Auchincloss was Dr.

   Fauci’s chief deputy and the Principal Deputy Director of NIAID. However, this PFOF is




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   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          622. In December 2015, during the research “Pause” on gain-of-function funding,
   Nature Medicine published an article entitled, “A SARS-like cluster of circulating bat
   coronaviruses shows potential for human emergence.” Fauci Ex. 4, at 1. Dr. Ralph Baric of the
   University of North Carolina was listed as the corresponding author, and Dr. Shi Zhengli of the
   Wuhan Institute of Virology was listed as a co-author. Id. at 1 & n.8.

           RESPONSE: Disputed as an incomplete characterization of the “Pause” to the extent the

   “Pause” applied only to gain-of-function research projects that may be reasonably anticipated to

   confer attributes to influenza, MERS, or SARS viruses such that the virus would have enhanced

   pathogenicity and/or transmissibility in mammals via the respiratory route. Fauci Ex. 3. The

   research funding pause did not apply to characterization or testing of naturally occurring influenza,

   MERS, and SARS viruses, unless the tests are reasonably anticipated to increase transmissibility

   and/or pathogenicity. Id. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           623. The 2015 Nature Medicine article clearly described gain-of-function research on
   bat coronaviruses. The Abstract states: “Here we examine the disease potential of a SARS-like
   virus, SHC014-CoV, which is currently circulating in Chinese horseshoe bat populations. Using
   the SARS-CoV reverse genetics system, we generated and characterized a chimeric virus
   expressing the spike of bat coronavirus SHC014 in a mouse-adapted SARS-CoV backbone.”
   Fauci Ex. 4, at 1. Notably, the article uses the same phrase as the EcoHealth grant, “reverse
   genetics,” to describe creating “a chimeric virus.” Id.

           RESPONSE: Disputed that the 2015 Nature Medicine article describes gain-of-function

   research. The 2015 Nature Medicine Article speaks for itself. Also disputed as an incomplete




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   characterization of the “Pause” to the extent the “Pause” applied only to gain-of-function research

   projects that may be reasonably anticipated to confer attributes to influenza, MERS, or SARS

   viruses such that the virus would have enhanced pathogenicity and/or transmissibility in mammals

   via the respiratory route. Fauci Ex. 3. The research funding pause did not apply to characterization

   or testing of naturally occurring influenza, MERS, and SARS viruses, unless the tests are

   reasonably anticipated to increase transmissibility and/or pathogenicity. Id. Moreover, the article

   itself clearly explains that “[e]xperiments with the full-length and chimeric SHC014 recombinant

   viruses were initiated and performed before the GOF research funding pause…” Fauci Ex. 4 at 5.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           624. The article reports that the “chimeric virus” created from a “SARS-like” bat
   coronavirus had become highly transmissible in human tissue: it could “replicate efficiently in
   primary human airway cells and achieve in vitro titers equivalent to epidemic strains of SARS-
   CoV.” Id. It had also become more virulent: “Additionally, in vivo experiments demonstrate
   replication of the chimeric virus in mouse lung with notable pathogenesis.” Id. There were no
   available treatments for this lab-created “chimeric” virus: “Evaluation of available SARS-based
   immune-therapeutic and prophylactic modalities revealed poor efficacy; both monoclonal
   antibody and vaccine approaches failed to neutralize and protect from infection with CoVs using
   the novel spike protein.” Id.

           RESPONSE: Disputed. The article does not address transmissibility in any way, nor does

   it say that the chimeric virus became more virulent. The article speaks for itself. However, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.




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           625. The article noted that the authors had then “synthetically re-derived an infectious
   full-length SHC014 recombinant virus and demonstrate robust viral replication both in vitro and
   in vivo.” Id. The article concluded that “[o]ur work suggests a potential risk of SARS-CoV re-
   emergence from viruses currently circulating in bat populations” – and this conclusion was based
   on creating a more transmissible (to humans) and more virulent (to humans) SARS-like
   coronavirus in a lab. Id.

           RESPONSE: Disputed. The authors do not state that they created a virus that is more

   transmissible and virulent in humans. The article speaks for itself. However, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           626. The article acknowledged that NIAID was the principal funder of this research, and
   that it had received funding from the EcoHealth Alliance, Daszak’s group: “Research in this
   manuscript was supported by grants from the National Institute of Allergy & Infectious Disease
   and the National Institute of Aging of the US National Institutes of Health (NIH) … and by
   USAID-EPT-PREDICT funding from EcoHealth Alliance.” Id. at 5.

           RESPONSE: Disputed as a mischaracterization of the cited evidence, which does not

   support the proposition that NIAID was the “principal funder.” The “acknowledgements” section

   of the article reports that the “[r]esearch in this manuscript was supported by grants from the

   National Institute of Allergy & Infectious Disease and the National Institute of Aging of the US

   National Institutes of Health (NIH) under awards U19AI109761 (R.S.B.), U19AI107810 (R.S.B.),

   AI085524 (W.A.M.), F32AI102561 (V.D.M.) and K99AG049092 (V.D.M.), and by the National

   Natural Science Foundation of China awards 81290341 (Z.-L.S.) and 31470260 (X.-Y.G.), and by

   USAID-EPT-PREDICT funding from EcoHealth Alliance (Z.-L.S.).” Fauci Ex. 4 at 5. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.



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           627. The article also noted that the NIH had reviewed and approved the research under
   the GoF Pause: “Experiments with the full-length and chimeric SHC014 recombinant viruses were
   initiated and performed before the GOF research funding pause and have since been reviewed and
   approved for continued study by the NIH.” Id. “GOF” is short for “gain-of-function.”

          RESPONSE: The quoted text is accurate, but Defendants dispute that the NIH “reviewed

   and approved the research under the GoF Pause,” which assertion is not supported by the quoted

   text. The text merely states that the research was initiated and performed before the GOF pause

   but it does not state that the research would have been considered “gain of function” research

   subject to the pause. However, this PFOF is irrelevant and contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            628. Dr. Fauci testified that he first became aware of this Nature Medicine article “likely
   … several months” after the outbreak of the COVID-19 pandemic, and that “it was brought to my
   attention in the context of questions that were raised by members of Congress about experiments
   that were funded by the NIAID.” Fauci Dep. 31:17-20, 32:7-9. In fact, Dr. Fauci attached this
   article to a confidential midnight email to his principal deputy, Hugh Auchincloss, on January 31,
   2020, and directed Auchincloss to read it immediately and take unspecified actions on it on a
   Saturday morning. Fauci Ex. 6, at 8. Dr. Fauci’s testimony on this point is not credible.

          RESPONSE: The first sentence is undisputed, except to note that Dr. Fauci repeatedly

   stated that he was only estimating when, roughly two years ago, he believed he became aware of

   the article but that he was “not a hundred percent certain” when he did in fact become aware of it.

   See Fauci Dep. at 31:15-32:9; id. (“Q. When did you first become aware of [the article]? A. I

   believe – again, I read a lot of articles – I believe it was brought to my attention in the context of

   questions that were raised by members of Congress about experiments that were funded by the

   NIAID. Q. So would that have been in and around 2021 time frame, do you know, when you first

   became aware of it? A. It certainly was after the beginning of the COVID-19 outbreak. Q. How

   long after the beginning would you estimate? A. I don’t recall. Q. Would it have been right at the



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   beginning of the outbreak or months into it or years into it? A. You know, years is where we are

   right now. So it wouldn’t have been years. So it likely would have been several months, though

   I’m not a hundred percent certain.”). The second sentence is undisputed, except to the extent that

   Plaintiffs describe communications as “confidential”; that characterization is not supported by the

   email, which is not marked “confidential” and does not otherwise indicate that it is to be held in

   confidence. The third sentence is disputed as argumentative. That Dr. Fauci could not remember

   precisely when or how he learned of an article—among the many articles he read —does not

   demonstrate a lack of credibility. Regardless, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            629. Dr. Fauci testified that he does not believe he has ever met Dr. Ralph Baric, the
   corresponding author of the 2015 Nature Medicine article. Fauci Dep. 32:16-19 (“I know who he
   is, I doubt I’ve ever met him. I may have met him at one of the meetings where there are thousands
   of scientists saying hi to each other…”); see also id. at 33:25-34:1. In fact, Dr. Fauci’s official
   calendar shows a one-on-one meeting with Dr. Ralph Baric on February 11, 2020, during the
   events described herein. Fauci Ex. 17, at 1. A contemporaneous Slack message on February 18,
   2020 reports that Dr. Baric “sat in Fauci’s office talking about the outbreak and chimeras,” i.e.,
   lab-created chimeric viruses. Jones Decl., Ex. Y, at 1. And Dr. Fauci testified that Dr. Baric may
   be the source of the phrase “SARS Gain of Function” in the attachment to his midnight email to
   Hugh Auchincloss. Fauci Dep. 57:11-12. Dr. Fauci’s testimony on this point is not credible.

          RESPONSE: The PFOF accurately quotes Dr. Fauci’s deposition testimony stating that

   he “doubt[s] he ever met” Dr. Ralph Baric. Otherwise, disputed as argumentative and unsupported

   by the record. Dr. Fauci’s calendar does not show a one-on-one meeting with Dr. Baric; rather,

   Fauci Ex. 17 shows a “hold” for a meeting with Dr. Baric but does not indicate all the individuals

   who would have attended. Additionally, the February 18, 2020 slack message between Vineet

   Menachery and Matt Frieman (and not Dr. Fauci), neither of whom was (or is) a NIAID employee

   or is alleged to have attended the alleged February 11 meeting, is hearsay, is not



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   “contemporaneous” to that meeting or proof that Dr. Fauci met one-on-one with Dr. Baric.

   Additionally, whether Dr. Baric was the source of a phrase used in the title of a document attached

   to an email is not probative of whether Dr. Fauci met Dr. Baric. Regardless, even assuming that

   Dr. Fauci met Dr. Baric one-on-one, that would not render incredible his testimony that he

   “doubt[s] [he] ever met him.” In any event, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           630. Dr. Fauci professed to be ignorant of the identity of Dr. Shi Zhengli, the notorious
   “Bat Woman” of the Wuhan Institute of Virology. When asked if he knows who she is, he stated,
   “I'm not a hundred percent certain. I get sometimes confused with Asian names.” Id. at 33:9-10,
   18-19. Yet Dr. Shi Zhengli, the so-called “bat woman,” is world-renowned as the researcher who
   may have caused the COVID-19 pandemic, and has been so since the beginning of the pandemic,
   see, e.g., Jones Decl., Ex. Z, at 1, and the name “Shi” is included in the title of the article that Dr.
   Fauci forwarded to Dr. Hugh Auchincloss after midnight on February 1, 2020. Fauci Ex. 6, at 8.
   Dr. Fauci’s testimony is not credible on this point.

           RESPONSE: Disputed as argumentative and a mischaracterization of Dr. Fauci’s

   testimony. Dr. Fauci did not “profess to be ignorant of the identity of Dr. Shi Zhenghli.” In fact,

   when asked if he knew who Shi Zhengli was, Dr. Fauci testified: “I believe, if I’m correct, that

   this is a scientist who is at the Wuhan Institute of Virology, I believe. I’m not a hundred percent

   certain. I get sometimes confused with Asian names, but I believe this is the person who is a

   scientist at the Wuhan Institute.” Fauci Dep. 33:7-12. In response to the question whether he was

   “aware generally that there’s someone called Shi Zhengli who’s described in the media as the bat

   woman who does research on bat coronaviruses at the Wuhan lab,” Dr. Fauci responded, “Yea, is

   that her? I don’t know if that’s the same person. Like I said, when you’re dealing with Asian

   names, sometimes the first name is last and the last name is first. So I . . . believe this is the person

   from Wuhan.” Id. at 33:13-21. Dr. Fauci’s testimony that he believed he knew who Dr. Shi



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   Zhenghli is but was not “a hundred percent certain” does not show a lack of credibility. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

        631. Dr. Fauci testified that he first became aware of the outbreak of COVID-19 either
   December 31, 2019 or “the first couple days of 2022.” Fauci Dep. 34:8-11.

           RESPONSE: Disputed. Dr. Fauci testified that he first became aware of the outbreak of

   COVID-19 either December 31, 2019 or “the first couple days of 2020,” not 2022. Fauci Dep.

   34:8-11. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           632. Dr. Fauci recounts that he first became aware of concerns that the SARS-CoV-2
   virus that causes COVID-19 “might have been genetically engineered or originated in a
   laboratory” when “[t]here was a phone call in late January of 2020, I believe, from Jeremy Farrar.
   There was one other person on the phone. I believe it was [K]ristian [Andersen], who piped me in
   on a three-way call, saying that they looked at the virus and there was some concern about the
   molecular configuration or makeup of the virus that made them think there was a possibility that
   there could have been a manipulation of the virus.” Id. at 34:12-35:1.

           RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           633. Dr. Fauci states that he does not believe that anyone ever raised the concern to him
   before that late January call, and he specifically attests that he does not recall Dr. Robert Redfield,
   then-Director of the CDC, raising the concern to him in mid-January 2020. Id. at 35:2-15. Dr.
   Fauci’s recollection conflicts with that of Dr. Redfield, who specifically recalls raising this issue
   to Dr. Fauci earlier in January 2020, and having his concerns fall on deaf ears: “Dr. Robert



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   Redfield, a virologist and the director of the Centers for Disease Control and Prevention (CDC),
   had urged Fauci privately to vigorously investigate both the lab and natural hypotheses. He was
   then excluded from the ensuing discussions—learning only later that they’d even occurred. ‘Their
   goal was to have a single narrative,’ Redfield [said].” Jones Decl., Ex. AA, at 7.

          RESPONSE: The summary of Dr. Fauci’s testimony (i.e., the first sentence of the PFOF)

   is undisputed. The remainder of this PFOF quotes from a Vanity Fair article and is disputed as

   hearsay, speculation, and journalistic characterization unsupported by citation to evidence of

   record. However, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           634. “In mid-January of 2020, … Redfield expressed his concerns in separate phone
   conversations with three scientific leaders: Fauci; Jeremy Farrar, the director of the U.K.’s
   Wellcome Trust; and Tedros Adhanom Ghebreyesus, director general of the World Health
   Organization (WHO). Redfield’s message, he says, was simple: ‘We had to take the lab-leak
   hypothesis with extreme seriousness.’” Id. at 23. Dr. Fauci disputes this account and states that
   this conversation did not happen: “To my recollection, no.” Fauci Dep. 35:9-12.

          RESPONSE: Disputed to the extent the first two sentences of this PFOF quote from a

   Vanity Fair article and contain hearsay, speculation, and journalistic characterization unsupported

   by citation to evidence of record. The third sentence is disputed to the extent it suggests that Dr.

   Fauci was asked during his deposition about Dr. Redfield’s account as reported by Vanity Fair; he

   was not shown the article or asked about Dr. Redfield’s recollection of events. Undisputed that Dr.

   Fauci testified that “to [his] recollection” Robert Redfield did not “call him in mid January 2020

   and raise” a concern about the virus being genetically engineered or originating in a laboratory.

   However, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social




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   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           635. On January 27, 2020, Dr. Fauci and several other senior NIAID officials received
   an email from Greg Folkers, who is his “immediate chief of staff in my office group,” id. at 38:2-
   4; the email provided “Talking Points for NIAID Director Dr. Fauci.” Fauci Ex. 5. The email
   stated that “when talking about CoV … we have on our team (Vincent and folks we fund, Peter
   Daszak, Ralph Baric, Ian Lipkin, etc.) probably the world’s experts on non-human coronaviruses.
   … EcoHealth group (Peter Daszak et al) has for years been among the biggest players in
   coronavirus work, also in collaboration Ralph Baric, Ian Lipkin, and others.” Id. at 1. It also
   flagged the ongoing NIAID grant to Daszak and its work with Wuhan Institute of Virology:
   “NIAID has funded Peter’s group for coronavirus work in China for the past five years through
   R01 1R01AI110964: ‘Understanding the Risk of Bat Coronavirus Emergence.’ That’s now been
   renewed.” Id. It noted that “[t]he results of the work to date include … Found SARS-related CoVs
   that can bind to human cells (published in Nature) and that cause SARS-like disease in humanized
   mouse models”—a clear reference to the 2015 Nature Medicine article. Id. Three days later, Dr.
   Fauci would attach that Nature Medicine article to a midnight email to Hugh Auchincloss. Fauci
   Ex. 6, at 8.

          RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          636. Like so many other things, Dr. Fauci testifies that he does not recall receiving this
   email. Fauci Dep. 40:5-6.

          RESPONSE: Disputed to the extent Plaintiffs’ editorial remark, “[l]ike so many other

   things,” is intended to suggest a lack of credibility on Dr. Fauci’s part, which is unsupported by

   the cited evidence in this or any other of Plaintiffs’ PFOFs, for the reasons already discussed above.

   Moreover, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress the lab-leak theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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           637. Dr. Fauci states that he first became aware of the concern that the virus might be
   bioengineered and lab-created in a call with Dr. Kristian Andersen of Scripps and Jeremy Farrar
   of the Wellcome Trust on January 31, 2020. Fauci Dep. 43:17-25. In that call, according to Dr.
   Fauci, “Jeremy and [K]ristian said they had looked at -- or at least [K]ristian did, possibly Jeremy
   -- and maybe one other scientist -- and said that it is possible that there may have been a
   manipulation because it was an unusual virus.” Fauci Dep. 44:3-9. A phone call was arranged for
   the next day, Saturday, February 1, 2020, to discuss the possibility. Id. at 44:15-17.

          RESPONSE: Undisputed, and note that the purpose of the February 1 was “bring[ing]

   together a group of highly qualified international evolutionary virologists to discuss the issue” of

   the virus’s origin, including potential manipulation, “and to see what the way forward would be to

   try to clarify that.” Fauci Dep. 44:9-13. However, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           638. According to contemporaneous emails, Eddie Holmes and Bob Garry were
   involved in this call with Dr. Fauci and Kristian Andersen as well. Fauci Ex. 7, at 2. Eddie Holmes,
   who was then raising serious concerns that the virus had leaked from a lab, would go on to be the
   lead drafter of a key article discrediting the lab-leak theory.

          RESPONSE: The first sentence is disputed on the basis that the email is unclear whether

   Dr. Garry and Dr. Holmes were involved in the call as opposed to discussions about the origins of

   COVID-19 generally. The second sentence is disputed as unsupported by citation to any evidence

   of record. However, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           639. After the January 31 call with Farrar and Andersen, in the evening of the same day,
   Dr. Fauci forwarded them an article that was skeptical of the lab-leak theory, stating that “it is of
   interest to the current discussion.” Ex. 6, at 1. Andersen responded, stating that he was not
   convinced by the article because “one has to look really closely at all the sequences to see that
   some of the features look (potentially) engineered,” and that “after discussion earlier today, Eddie



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   [Holmes], Bob [Garry], Mike [Laribee], and myself all find the genome inconsistent with
   expectations from evolutionary theory.” Id. (emphasis added); see also Fauci Dep. 51:3-8.

          RESPONSE: Disputed as a mischaracterization of the email. Andersen does not respond

   by stating that he was “not convinced of the article.” Instead, he said that “[i]t’s a great article,”

   but goes on to discuss some of the problems with determining the virus’s origin. Additionally,

   Plaintiffs only partially quote various portions of the email. The first partially quoted sentence

   reads in full: “The unusual features of the virus make up a really small part of the genome (<0.1%)

   so one has to look really closely at all the sequences to see that some of the features (potentially)

   look engineered.” Fauci Ex. 6 at 1. The final paragraph of the email, which reads in full: “We have

   a good team lined up to look very critically at this, so we should know much more at the end of

   the weekend. I should mention that after discussions earlier today, Eddie, Bob, Mike, and myself

   all find the genome inconsistent with expectations from evolutionary theory. But we have to look

   at this much more closely and there are still further analyses to be done, so those opinions could

   still change.” Id. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           640. A few hours later, shortly after midnight, at 12:29 a.m. on February 1, 2020, Dr.
   Fauci sent an email to his principal deputy, Hugh Auchincloss. Fauci Ex. 6, at 8. The subject line
   of the email said “IMPORTANT.” Id. The email stated: “Hugh: It is essential that we speak this
   AM. Keep your cell phone on. … Read this paper as well as the e-mail that I will forward to you
   now. You will have tasks today that must be done. Thanks, Tony.” Id.

          RESPONSE: Undisputed. However, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.



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           641. The “this paper” that was attached to the email was the 2015 Nature Medicine
   article entitled “A SARS-like cluster of circulating bat coronaviruses shows potential for human
   emergence,” Fauci Ex. 4, co-authored by Dr. Ralph Baric and Dr. Shi Zhengli and funded by
   NIAID and the EcoHealth Alliance. Fauci Ex. 6, at 8; Fauci Dep. 55:23-56:25. As an attachment
   to Dr. Fauci’s email, this article was called “Baric, Shi et al – Nature Medicine – SARS Gain of
   Function.pdf.” Fauci Ex. 6, at 8.

           RESPONSE: Undisputed, except to note that NIAID was among many sources of funding

   for the research summarized by the cited article. See Resp. to Pls.’ PFOF ¶ 626. However, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

            642. Dr. Fauci claims that he can recall virtually nothing about sending this urgent,
   confidential email to his principal deputy in the middle of the night of the day when he found out
   that highly qualified researchers were concerned that SARS-CoV-2 might have leaked from a
   laboratory. See Fauci Dep. 55:15-63:21 (“I don’t recall … I don’t know for sure … I can’t say that
   I recall that in particular … I don’t recall. I’m not sure exactly why those words got in there … I
   don’t recall … I don’t recall … I don’t precisely recall … I don’t recall if I did … I might have,
   but I don’t recall. … I don’t recall. … I don’t recall … I don’t recall. … I don’t recall … I really
   don’t recall … I actually don’t recall why I forwarded it to him … I don’t recall why I did that …
   I don’t remember … I don’t recall speaking to him.”). This contrasts starkly with Dr. Fauci’s public
   claim to “remember … very well” key events of the same day. Jones Decl., Ex. X, at 1. Dr. Fauci’s
   claim to an amazing loss of memory about this urgent clandestine email to his confidential deputy
   is not credible.

           RESPONSE: Disputed as an argumentative misrepresentation of Dr. Fauci’s testimony

   and the nature of the email. Plaintiffs’ assertion that Dr. Fauci’s testimony is not credible is

   contradicted by an accurate presentation of the testimony, in which he recalled a number of

   important details surrounding the email. Dr. Fauci testified “I don’t recall, but I believe—and

   again, I would say I don’t precisely recall, but there was some recollection or someone told you

   that, you know, we do fund research in China, particularly surveillance research—I think you

   referred to it when you gave me one of the exhibits about the surveillance of what might be out in




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   the community among bats. And at my recollection, I brought to Hugh’s attention, saying, ‘We

   have to speak in the morning, because I want to find out what the scope of what it is that we are

   funding so I’ll know what we’re talking about.’ And that’s what I was referring to when I said you

   will have tasks today to give me some information because this was the first that I had heard about

   specifics of what EcoHealth and what other people were doing, and I wanted my staff to say get

   me up to date. So that’s what I meant by you have work to do.” Fauci Dep. 57:19-58:12. Further

   dispute Plaintiffs’ mischaracterization of the email as “clandestine,” which assertion is

   unsupported by any record evidence. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            643. Dr. Fauci admits, however, that he wanted Auchincloss to find out what coronavirus
   research NIAID was funding in China before his call later that afternoon with scientists about the
   lab-leak concerns raised by Andersen and Farrar: “And at my recollection, I brought to Hugh’s
   attention, saying, ‘We have to speak in the morning, because I want to find out what the scope of
   what it is that we are funding so I'll know what we're talking about.’” Fauci Dep. 58:1-5. In
   particular, Dr. Fauci wanted to find out what EcoHealth Alliance was doing: “this was the first that
   I had heard about specifics of what EcoHealth and what other people were doing, and I wanted my
   staff to say get me up to date. So that's what I meant by you have work to do.” Id. at 58:6-12.

          RESPONSE: Undisputed, but also note that the cited testimony about the email further

   refutes Plaintiffs’ allegation that Dr. Fauci claimed to recall “virtually nothing” about it, Pls.’

   PFOF ¶ 642. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           644. Regarding the “tasks that must be done,” Dr. Fauci admits that “I wanted to be
   briefed on the scope of what our collaborations were and the kind of work that we were funding
   in China. I wanted to know what the nature of that work was.” Id. at 59:12-15.



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          RESPONSE: Undisputed, but also note that the cited testimony about the email further

   refutes Plaintiffs’ allegation that Dr. Fauci claimed to recall “virtually nothing” about it, Pls.’

   PFOF ¶ 642. However, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          645. The tone of the email and Dr. Fauci’s own testimony strongly support the inference
   that Dr. Fauci sent the email to Auchincloss because he was concerned that NIAID, under his
   leadership, was funding research in China that might have led to the creation and leak of SARS-
   CoV-2, and he wanted to know the full extent of NIAID’s exposure before his call later that day
   with scientists and funding authorities. See also Fauci Dep. 58:18-25. If it became public that
   NIAID had funded the creation of SARS-CoV-2, Dr. Fauci and his agency potentially faced an
   enormous crisis of public credibility and accountability.

          RESPONSE: Disputed as argumentative and without support in the cited evidence.

   Neither the email nor the cited testimony from Dr. Fauci supports the PFOF’s inference. Dr. Fauci

   testified that “this [was] the first that I had heard of what we may or may not be funding through

   EcoHealth and others, and I wanted to get a better scope of just what the terrain [was] of what we

   were doing in collaboration with different scientists[.]” Fauci Dep. 58:18-25. He elaborated,

   “that’s what I was referring to when I said you will have tasks today”; Dr. Fauci said that he was

   asking for “information,” because he “wanted [his] staff to . . . get [him] up to date.” Id. at 58:6-

   12. Thus, the PFOF’s characterization of the email’s “tone” is not supported by this testimony or

   the contents of the email itself. Defendants further dispute the use of the phrase “funding

   authorities” to the extent it is meant to suggest that any individual (including Dr. Fauci or Dr.

   Collins) has the exclusive authority to make determinations about what research should be funded

   and that they personally made any funding decisions regarding the research at issue. Additionally,

   the final sentence of the PFOF is disputed as a conclusory and speculative assertion without



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   support from the record. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           646. Immediately after sending Auchincloss the 2015 Nature Medicine article, Dr. Fauci
   also forwarded Auchincloss another article about the possibility that SARS-CoV-2 had leaked
   from a lab—the Jon Cohen article that he had sent to Kristian Andersen and Jeremy Farrar earlier
   that evening. Fauci Ex. 6, at 9. This email confirms that Dr. Fauci was deeply concerned about the
   prospect that NIAID, under his watch, might have funded the creation of the virus causing the
   global pandemic.

           RESPONSE: Undisputed expect to the extent the second sentence is argumentative,

   conclusory, and speculative, and without support in the cited evidence. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

            647. Dr. Fauci denies that, when he sent this email to Auchincloss, he was then
   concerned that NIAID might have funded the creation of the virus that caused the COVID-19
   pandemic. When asked, “Were you concerned at that time that the work that you had funded in
   China might have led to the creation of the coronavirus?” Dr. Fauci responded: “I wasn’t
   concerned that it might have.” Fauci Dep. 59:16-19. In light of the tone and content of his emails
   at the time, and Dr. Fauci’s other testimony, this statement is plainly not credible.

           RESPONSE: Undisputed as to the first three sentences. Disputed as to the last sentence,

   which is an argumentative mischaracterization contradicted by the evidence (as discussed in

   response to Plaintiffs’ earlier unfounded attacks on Dr. Fauci’s credibility) and without citation to

   the record. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on




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   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          648. According to Dr. Fauci, when he participated in the secret call with the scientists
   and funding authorities later that afternoon on Saturday, Feb. 1, 2020, he did not share with them
   that NIAID had been funding “SARS Gain of Function” research in China leading to the outbreak
   of COVID-19. Fauci Dep. 63:22 (“I don’t believe I did.”).

           RESPONSE: Disputed as argumentative and as a mischaracterization of the nature of the

   call—which was not “secret”—and the relevance of NIH-funded research to the matters discussed

   on the call. The PFOF cites no evidence for the conclusory assertion that the call was “secret,” and

   in fact the evidence shows that the February 1, 2020, call was an initial discussion with the goal

   of involving “a larger group of evolutionary virologists,” Fauci Dep. 58:19-20, in an “open” and

   “neutral” inquiry into the “evolutionary origins of 2019-nCoV,” Fauci Ex. 8, at 5. Further disputed

   as to the use of the phrase “funding authorities.” See Resp. to Pls.’ PFOF ¶ 645. Also disputed as

   to the implication that NIAID had been funding “SARS Gain of Function research.” Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

          649. In fact, once again, Dr. Fauci claims that he does not recall what he said on the
   clandestine February 1, 2020 phone call. Id. at 64:17 (“I don’t recall”).

           RESPONSE: Disputed. The call was not “clandestine.” See Resp. to Pls.’ PFOF ¶ 648.

   Disputed also as a mischaracterization of Dr. Fauci’s testimony. Dr. Fauci explained at length that

   he was “relatively silent on that call” and “certainly was not one of the people actively engaged in

   the discussion. I was relatively quiet because I wanted to hear what they had to say.” Fauci Dep.

   64:17-20. He further testified, again at length: “The only thing I do remember is that there was




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   what appeared to me to be good faith discussion back and forth between people who knew each

   other, people who had interacted with each other, so they had mutual respect for each other’s

   opinion. I got that impression in listening and I was in a total listening mode because, as I

   mentioned, these were evolutionary virologists who were talking about the specifics of what detail

   made them suspicious that it could have been a manipulation and the other side would counter and

   show that this is compatible with a natural evolution and they were going back and forth. The

   tenure of it ended that we need more time and I believe that in one of the e-mails you asked me

   about a little bit ago that they said we need some time to more carefully look at this to see if we

   can come to a sound conclusion based on further examination of the sequences.” Fauci Dep. 77:11-

   78:9. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           650. At 1:19 p.m. on Saturday, Feb. 1 – about forty minutes before the secret conference
   call to discuss the lab-leak concern – Dr. Fauci also forwarded the “Baric, Shi et al – Nature
   Medicine – SARS Gain of Function” article to Lawrence Tabak of the NIH, saying only “Here it
   is.” Fauci Ex. 6, at 15. Lawrence Tabak was then “the deputy director of the National Institutes
   of Health,” the principal deputy to then-NIH Director Dr. Francis Collins. Fauci Dep. 65:8-11.

          RESPONSE: Disputed as argumentative and as a mischaracterization of the nature of the

   call, which was not “secret.” See Resp. to Pls.’ PFOF ¶ 648. The remaining allegations are

   undisputed. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          651. Dr. Fauci testified that “I don’t recall why” he sent the 2015 Nature Medicine article
   to Lawrence Tabak, but he admits that it was likely to get it into the hands of Dr. Francis Collins,



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   who was about to participate in the 2:00 p.m. secret conference call with Dr. Fauci and the other
   scientists. Id. at 66:15-17. Dr. Fauci claims that this was “to make sure everyone was aware of
   what the discussions were,” id. at 66:13-15, but that is not credible in light of his testimony that he
   did not alert any of the other scientists on the call to the concern that NIAID was funding “SARS
   Gain of Function” research in China. Id. at 63:22.

           RESPONSE: Disputed as argumentative and as a mischaracterization of the nature of the

   call, which was not “secret.” See Resp. to Pls.’ PFOF ¶ 648. Further disputed as argumentative and

   a mischaracterization of Dr. Fauci’s testimony, wherein “everyone” clearly refers to relevant NIH

   leadership and not everyone on the call. Additionally, disputed because the PFOF makes claims

   about Dr. Fauci’s motives and intentions, without supporting evidence. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           652. The more compelling inference is that Dr. Fauci wanted Dr. Collins to know that
   NIAID and NIH faced enormous exposure if the lab-leak theory turned out to be true or publicly
   accepted. Dr. Collins, along with Dr. Fauci, had publicly championed gain-of-function research
   since at least 2011, and NIH had jointly funded Dr. Shi Zhengli’s work at the Wuhan Institute of
   Virology through NIAID and the National Institute of Aging. Fauci Ex. 4, at 5 (referring to “grants
   from the National Institute of Allergy & Infectious Disease and the National Institute of Aging of
   the US National Institutes of Health (NIH)”).

           RESPONSE: Disputed. This entire paragraph makes unsupported arguments, inferences,

   and speculative assumptions that are contradicted by the evidence, as discussed above. Further

   disputed that Dr. Collins and Dr. Fauci “publicly championed gain-of-function research since at

   least 2011.” See Resp. to Pls.’ PFOF ¶ 603. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          653. On Saturday, Feb. 1, 2020, at 11:47 a.m., Hugh Auchincloss emailed Dr. Fauci in
   response to his 12:29 a.m. email. The subject line stated only “Continued.” Auchincloss stated:
   “The paper you sent me [i.e., the 2015 Nature Medicine article on ‘SARS Gain of Function’] says
   the experiments were performed before the gain of function pause but have since been reviewed
   and approved by NIH. Not sure what this means since Emily is sure that no Coronavirus work has
   gone through the P3 framework. She will try to determine if we have any distant ties to this work
   abroad.” Fauci Ex. 6, at 16. At 5:51 p.m., Dr. Fauci responded: “OK. Stay tuned.” Id.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           654. “Emily” in Auchincloss’s email “is Emily Erbelding, the Director of the Division
   of Microbiology and Infectious Diseases at NIAID,” who “would have been the one who was
   closest to the ground in understanding what we were doing in funding China.” Fauci Dep. 70:14-
   18. The “P3 framework” refers to the special approval process required for funding of gain-of-
   function research on coronaviruses that may cause pandemics, as “P3” stands for “potential
   pandemic pathogens.” See National Institutes of Health, Office of Science Policy, Gain of
   Function Research, at https://osp.od.nih.gov/policies/national-science-advisory-board-for-
   biosecurity-nsabb/gain-of-function-research/ (“Certain gain-of-function studies with the potential
   to enhance the pathogenicity or transmissibility of potential pandemic pathogens (PPPs) have
   raised biosafety and biosecurity concerns…”). Thus, Auchincloss and Dr. Fauci had evidently
   discussed the concern that NIAID had funded the creation of “potential pandemic pathogens” at
   the Wuhan Institute of Virology, and Dr. Fauci was concerned about NIAID’s “ties to this work
   abroad.” Fauci Ex. 6, at 16.

          RESPONSE: The first two sentences are undisputed. The last sentence is disputed as an

   assumption about what Drs. Fauci and Auchincloss “evidently discussed” without support in the

   cited evidence. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          655. Dr. Fauci admits that this email confirms that he “wanted to be briefed as to the
   extent of our involvement with funding in China,” Fauci Dep. 71:2-4—in particular, NIAID’s
   funding of the Wuhan Institute of Virology, as a global SARS-like pandemic emerged from
   Wuhan.



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          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           656. Dr. Fauci also admits that he may have raised the concern with Auchincloss that
   Dr. Baric’s and Dr. Shi Zhengli’s research reflected in the 2015 Nature Medicine article may have
   been illegally funded in violation of the GoF Pause in effect from 2014 to 2017. Fauci Dep. 71:14-
   20 (“Q: Did you raise a specific concern with Hugh that the research reflected in the Baric, Shi
   Nature Medicine paper may have been inconsistent with the pause on -- gain-of-function funding
   research? A. That is possible.”).

          RESPONSE: Disputed. Dr. Fauci was not asked whether he was concerned that research

   may have been “illegally funded…” As the quoted testimony demonstrates, Dr. Fauci was asked

   whether he raised a concern that the research was inconsistent with a policy. He stated: “That is

   possible. As I’ve said, again, very consistent with what I’ve been saying, I wanted to make sure I

   had a good feel for the scope of what we were doing regarding research that we fund in China.

   Since that was not something that was on my radar screen . . . [as] this is a $120,000 a year grant

   in a $6.3 billion portfolio.” Fauci Dep. 71:20-72:2. Regardless, this PFOF is irrelevant and contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           657. On Saturday, Feb. 1, 2020, Jeremy Farrar sent an email organizing a secret
   conference call at 2:00 pm EST to a group of scientists and science-funding authorities. Fauci Ex.
   6, at 17-18. The first thing that Farrar noted in the email, in bold, was “Information and
   discussion is shared in total confidence and not to be shared until agreement on next steps.”
   Id. at 17 (bold in original).

          RESPONSE: Disputed as to Plaintiffs’ characterization that the February 1, 2020

   conference call was “secret.” See Response to Pls.’ PFOF ¶ 648. Further disputed as a




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   mischaracterization of the document to the extent the PFOF suggests that the quoted line was

   uniquely emphasized by Dr. Farrar. In fact, the entirety of the instructions for the call-in, including

   the date and length of time, was in bolded typeface. See Fauci Ex. 6 at 17. Further disputed as to

   the use of the phrase “funding authorities.” See Resp. to Pls.’ PFOF ¶ 645. The remaining

   allegations are undisputed. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           658. Separately, Farrar sent just Dr. Fauci an email on the morning of Feb. 1 to ensure
   that he could join the call, stating “Could you join?” Fauci Ex. 7, at 12. In that email, Farrar listed
   the participants and stated, “My preference is to keep this a really tight group. … Obviously ask
   everyone to treat in total confidence.” Id. He also stated that the purpose of the call was “To listen
   to the work of Eddie, Bob and Kristian have done. Question it. And think through next steps.” Id.

           RESPONSE: Undisputed, except to the extent the PFOF is suggesting that Dr. Farrar

   would not have moved forward with the call if Dr. Fauci could not join. The email states: “If you

   cannot make it, we will phone you afterwards to update.” Fauci Ex. 7 at 12. Regardless, this PFOF

   is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           659. Dr. Fauci described the call as an open debate about the lab-leak theory among “a
   larger group of evolutionary virologists,” Fauci Dep. 58:19-20, but in fact the call included a heavy
   representation of international government and science-funding authorities—including Dr. Fauci,
   Director of NIAID; Dr. Francis Collins, Director of NIH; Jeremy Farrar, head of the Wellcome
   Trust, the United Kingdom’s “predominant” science-funding authority; Paul Schreier, the Chief
   Operating Officer of the Wellcome Trust who is responsible for “research funding” there; and Sir
   Patrick Vallance, the chief medical advisor to the U.K. government. Fauci Ex. 6, at 18; see also
   Fauci Dep. 75:11-76:15. All these people had a strong vested interest in avoiding a major scandal
   about international science-funding practices—such as the concern that Western governments may
   have funded the creation of a deadly virus that escaped from a lab and infected millions of people.



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   As funding authorities who control the distribution of massive amounts of research funding, they
   also had powerful influence over the research scientists on the call.

          RESPONSE: Disputed in that this paragraph makes inferences and assumptions that are

   not supported by evidence. That some participants on the call led research agencies and may be

   involved in funding decisions made by those research agencies does not contradict Dr. Fauci’s

   testimony that the call involved an open debate about the origins of COVID-19 among “a larger

   group of evolutionary virologists.” It would be reasonable for high-level international authorities

   in science to have a discussion about the origins of COVID. Moreover, the PFOF’s assumption

   about the interests of the participants on the call is conclusory and speculative and lacks any

   citation to the record. In fact, the record shows an open debate about potential origins of COVID-

   19 based on the limited information available at the time, and a goal among participants to urge “a

   body like the [World Health Organization] . . . to ask or commission a group of scientists from

   around the world to ask the neutral question[:] ‘To understand the evolutionary origins of 2019-

   nCoV, important for this epidemic and for future risk assessment and understanding of

   animal/human coronaviruses.’” Fauci, Ex. 8, at 5. Further disputed as to the use of the phrase

   “funding authorities.” See Resp. to Pls.’ PFOF ¶ 645. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            660. Dr. Fauci took steps to ensure that Dr. Francis Collins would be included on the
   call “since he’s the director of NIH.” Fauci Dep. 75:4-6. Dr. Fauci evidently spoke with Dr. Collins
   before the call, as he emailed Farrar before the call stating, “Jeremy: Francis will be on the call.
   He is trying to phone you.” Fauci Ex. 7, at 17. Farrar then emailed Dr. Collins stating, “Francis
   Call me on [redacted].” Fauci Ex. 7, at 19.

          RESPONSE: Disputed that “Dr. Fauci evidently spoke with Dr. Collins before the call.”

   Dr. Fauci testified: “I believe I sent him an e-mail or somehow connected him with the pending



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   phone call.” Fauci Dep. 75:7-10. The remaining facts are undisputed. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           661. Like the 12:29 a.m. email to Auchincloss, Dr. Fauci repeatedly claimed that he
   could not recall virtually any details about the 2:00 p.m. secret conference call with scientists and
   funding authorities about the lab-leak theory. Fauci Dep. 63:19-67:11 (“I don’t recall bringing this
   up … I don’t recall … I don’t recall … I don’t recall when it was … I don’t recall … I don’t believe
   that Larry was, but he could have been … I don’t recall”); Fauci Dep. 73:20-74:14 (“I don’t recall
   a discussion about confidentiality or not … I may have. I don’t recall.”); Fauci Dep. 77:13-15 (“Do
   you remember anything that anybody said on the call? A: No.”); Fauci Dep. 78:10-83:10 (“I don’t
   recall whether that was discussed … I don’t recall anything from that phone call that said that …
   I’m not sure if I discussed it … I have a vague recollection that there was a concern … It is certainly
   possible, but I don’t specifically remember … I don’t specifically recall.”).

           RESPONSE: Disputed as a mischaracterization of Dr. Fauci’s testimony, in which Dr.

   Fauci recalled quite a bit about this phone call. Dr. Fauci testified: “The only thing I do remember

   is that there was what appeared to me to be good faith discussion back and forth between people

   who knew each other, people who had interacted with each other, so they had mutual respect for

   each other’s opinion. I got that impression in listening and I was in a total listening mode because,

   as I mentioned, these were evolutionary virologists who were talking about the specifics of what

   detail made them suspicious that it could have been a manipulation and the other side would

   counter and show that this is compatible with a natural evolution and they were going back and

   forth. The ten[or] of it ended that we need more time and I believe that in one of the e-mails you

   asked me about a little bit ago that they said we need some time to more carefully look at this to

   see if we can come to a sound conclusion based on further examination of the sequences.” 77:11-

   78:9. Further disputed as a mischaracterization of the nature of the call as “secret.” See Resp. to

   Pls.’ PFOF ¶ 648. Also disputed as to the use of the phrase “funding authorities.” See Resp. to Pls.’



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   PFOF ¶ 645. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           662. This testimony to near-complete lack of memory about the call stands in stark
   contrast to Dr. Fauci’s public statements a year and a half after the call occurred, when FOIA
   releases of Dr. Fauci’s emails finally revealed to the public that this secret call had occurred. Then,
   Dr. Fauci stated, “I remember it very well.” Jones Decl., Ex. X, at 1. Dr. Fauci’s testimony about
   lack of recall is not credible.

          RESPONSE: Disputed as a mischaracterization of Dr. Fauci’s testimony for the reasons

   stated in response to Plaintiffs’ PFOF ¶ 661. Further disputed as a mischaracterization of the nature

   of the call as “secret.” See Resp. to Pls.’ PFOF ¶ 648. Moreover, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           663. Notwithstanding his repeated testimony that he cannot recall specifically what was
   said on the call, Dr. Fauci provided a self-justifying and innocent account of the call, describing it
   as a good-faith discussion among scientists trying to get to the truth without any preconceived
   biases. See, e.g., Fauci Dep. 77:16-18 (“[T]here was what appeared to me to be good faith
   discussion back and forth between people who knew each other”); Fauci Dep. 79:23-80:1 (“I think
   the general feeling among the participants on the call is that they wanted to get down to the truth
   and not wild speculation about things.”); Fauci Dep. 80:9-10 (“I don't think there was any other
   concern than sticking with the truth and sticking with data”).

          RESPONSE: Disputed to the extent Plaintiffs suggest that Dr. Fauci’s recollection of the

   call is not credible, for the reasons discussed above. See Resps. to Pls.’ PFOF ¶¶ 649, 661.

   Moreover, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.



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            664. Dr. Fauci thus seeks to have his cake and eat it too—he claims both to remember
   little or nothing of what was said on the call, and to clearly remember that the entire discussion
   was done in good faith and without any bias. In any event, subsequent communications and events
   make clear that Dr. Fauci’s testimony on this point is not credible, as discussed in detail below, as
   an aggressive plot to discredit the lab-leak theory commenced immediately after the call.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           665. Almost an hour into the 2:00 pm call, at 2:56 p.m., Jeremy Farrar sent a cryptic
   email to Fauci, Collins, Vallance (all science funders) and Mike Ferguson, stating, “Can I suggest
   we shut down the call and then redial in? Just for 5-10 mins?” Dr. Fauci responded, “Yes.” Fauci
   Ex. 7, at 26. Dr. Fauci claims he cannot recall whether this occurred. Fauci Dep. 92:1-93:6.

          RESPONSE: Disputed as to Plaintiffs’ characterization that Jeremy Farrar’s email was

   “cryptic,” as the email makes a clear suggestion to “shut down the call and then redial in.” The

   remaining facts are undisputed. Regardless, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           666. Dr. Fauci testified that the call participants concluded that they needed more time
   to take a much closer look at the biology of the virus and genetic sequences before coming to a
   conclusion about the virus’s origins, and they planned to take more time to continue their inquiry
   afterward. See Fauci Dep. 78:3-9 (“The ten[or] of it ended that we need more time … they said we
   need some time to more carefully look at this to see if we can come to a sound conclusion based
   on further examination of the sequences.”); Fauci Dep. 80:24-25 (“The plan was to go and spend
   more time carefully looking at it.”). In fact, Eddie Holmes and Kristian Andersen began drafting
   an article concluding that the lab-leak hypothesis was baseless and rooted in animus immediately
   after the call ended, and Dr. Fauci received an initial draft of this article by the next Tuesday
   morning. See infra. Dr. Fauci’s testimony on this point is not credible.




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           RESPONSE: The first sentence is undisputed. The second sentence is disputed as

   Plaintiffs provide no evidence or citation to the record regarding when Eddie Holmes and Kristian

   Andersen began drafting an article, what the article concluded, or what research or information

   (perhaps obtained well after the call) the article was based on. The third sentence is disputed as

   argumentative. Plaintiffs’ conclusory assertion that Dr. Fauci’s testimony is not credible is

   unsupported by the speculation and surmise that precedes it. Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           667. Dr. Fauci testified that his next interaction with the call’s participants was when
   Kristian Andersen sent him a preprint of that article attacking the lab-leak theory. Fauci Dep.
   82:19-83:1. In fact, before the preprint, Holmes and Farrar had sent Dr. Fauci at least four drafts
   of the article to review. See infra. Dr. Fauci’s testimony is not credible on this point.

           RESPONSE: Disputed as argumentative and a mischaracterization of Dr. Fauci’s

   testimony, as Dr. Fauci testified that, while he did not recall what communications he had had in

   between the call and the preprint, he and Jeremy Farrar “know each other reasonably well” and he

   would not be surprised if they had additional communications. Fauci Dep. 82:12-3:10. Also

   disputed to the extent the PFOF characterizes a scientific paper as “attacking” any theory rather

   than examining the scientific data and adopting a particular hypothesis about the virus’s origin

   based on that data (as would be expected of a scientific research paper). Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.




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            668. Dr. Fauci states that he cannot remember if he had further discussions with Jeremy
   Farrar, Francis Collins, and Patrick Vallance surrounding this call on Feb. 1, 2020. Fauci Dep.
   83:2-10; 85:8-23, 90:25-91:15, 92:1-21. In fact, Dr. Fauci sent Jeremy Farrar a lengthy email that
   is entirely redacted at 12:38 a.m. on Saturday, Feb. 1, 2020, Fauci Ex. 7, at 1; Farrar emailed Fauci
   on Jan. 30 stating “Tony Perfect timing – thank you. Great to catch up,” and provided Sir Patrick
   Vallance’s phone number, Fauci Ex. 7, at 4; Fauci emailed Farrar and Vallance on Jan. 30, stating
   “Thanks, Jeremy. Great chatting with you and Patrick. Will stay in close touch,” Fauci Ex. 7, at 4;
   Jeremy Farrar sent Dr. Fauci an email on Friday, Jan. 31, stating “Tony Really would like to speak
   with you this evening It is 10pm now UK Can you phone me on [redacted],” Fauci Ex. 7, at 3;
   Farrar and Sir Patrick Vallance had a three-way call with Dr. Fauci on Jan. 30, 2020, Fauci Ex. 7,
   at 4; Farrar emailed Fauci and Collins after the call referring to “Conversations with you and Tony,
   and Patrick and others,” Fauci Ex. 7, at 34; among others. Dr. Fauci had extensive discussions with
   Jeremy Farrar, Francis Collins, and Patrick Vallance surrounding the 2:00 p.m. February 1, 2020
   secret conference call, and his testimony to the contrary is not credible.

          RESPONSE: Disputed as an argumentative mischaracterization of Dr. Fauci’s testimony

   that is unsupported by the cited evidence. The “further communications” cited by Plaintiffs

   actually pre-date the 2:00pm February 1, 2020, phone call: an email at 12:38 a.m. on Saturday,

   Feb. 1, 2020, Fauci Ex. 7 at 1, emails on January 30 and 31, a phone call on January 30. Moreover,

   it is not surprising that Dr. Fauci is unable to recall minute and irrelevant details like an email

   stating “Tony Perfect timing – thank you. Great to catch up,” nearly three years ago during the

   midst of a global pandemic. The PFOF thus does not cast doubt on Dr. Fauci’s credibility. Further

   disputed as a mischaracterization of the nature of the call as “secret.” See Resp. to Pls.’ PFOF

   ¶ 648. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           669. After the call, Francis Collins emailed Farrar and stated, “Hi Jeremy, I can make
   myself available at any time 24/7 for the call with Tedros. Just let me know. Thanks for your
   leadership on this critical and sensitive issue.” Fauci Ex. 7, at 34. Farrar responded, “We are
   altogether as you know!” Fauci then chimed it: “Thanks, Jeremy. We really appreciate what you
   are doing here.” Fauci Ex. 7, at 34. “Tedros” refers to the director of the World Health
   Organization. Fauci Dep. 95:6-7.




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          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            670. After the call, Dr. Fauci described the scientists as engaging in a careful
   investigation of the virus: “[K]ristian and a few of the others carefully got together and looked at
   it and examined the pros and the cons and the ups and downs, and came to the conclusion that their
   initial concern about the molecular basis of the concern was unwarranted and that what they saw
   was quite compatible and, in fact, suggestive of a natural evolution.” Fauci Dep. 81:8-15. In fact,
   Eddie Holmes and Kristian Andersen immediately began drafting an article attacking the lab-leak
   theory with no further investigation, which was sent to Dr. Fauci in less than three days. See infra.
   Dr. Fauci’s testimony on this point is not credible.

          RESPONSE: The first sentence is undisputed. The second sentence is disputed as

   unsupported by the evidence and lacking any citation to the record regarding when Eddie Holmes

   and Kristian Andersen began drafting an article, or the type of research or investigation they

   conducted before drafting it. Moreover, the second sentence is disputed to the extent the PFOF

   characterizes a scientific paper as “attacking” any theory rather than examining the scientific data

   and adopting a particular hypothesis about the virus’s origin based on that data (as would be

   expected of a scientific research paper). The third sentence is disputed as argumentative and

   unsupported by the evidence cited in the PFOF, which does not cast doubt on Dr. Fauci’s

   credibility. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           671. Farrar emailed Dr. Tedros of the World Health Organization and two senior WHO
   officials, along with Dr. Fauci and Dr. Collins, indicating that he had just spoken to the senior
   WHO officials and “[f]ully agree with your summary.” Fauci Ex. 8, at 1. Farrar emphasized the
   “urgency and importance” of the lab-leak question because of the “[g]athering interest evident in
   the scientific literature and in mainstream and social media to the question of the origin of this



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   virus,” and thus it was “[c]ritical” to “get ahead of the science and the narrative of this” instead of
   “reacting to reports which could be very damaging.” Fauci Ex. 8, at 1. He also wrote, “I am sure
   I speak for Francis [Collins] and Tony [Fauci] when I say we are here and ready to play any
   constructive role in this,” as they “[d]o think this is an urgent matter to address.” Id.

           RESPONSE: Disputed because the PFOF plucks isolated quotations from their context

   and thus does not accurately portray the email’s contents. The email included a list of items

   summarizing discussions regarding the virus’s origins and encouraging the convening of an

   international body to consider the issue further, including: “Has to be framed as ‘To understand

   the source and evolution of the 2019n-CoV’”; “Appreciate the urgency and importance of this

   issue in the midst of a very troubling epidemic”; and “Critical that responsible, respected scientists

   and agencies get ahead of the science and the narrative of this and are not reacting to reports which

   could be very damaging.” Fauci Ex. 8, at 1. As earlier emails stated, delaying looking into the issue

   further could cause the discussions surrounding the virus’s origins to become “more polari[z]ed,”

   with people “try[ing] to deflect issues by blaming someone somewhere,” which “may only

   increase tension and reduce cooperation.” Id. at 7. Such cooperation, Dr. Fauci testified, was

   “necessary to really continue to pursue what actually happened in order to prepare for and prevent

   similar things from happening in the future.” Fauci Dep. 102:17-25. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          672. Thus, Farrar, joined by Fauci and Collins, sent a message to the WHO that they
   wanted to “get ahead” of potentially damaging “narrative[s]” that might emerge “in mainstream
   and social media” about the origins of the virus. Id.

           RESPONSE: Disputed as a mischaracterization of the evidence, which is an email from

   Jeremy Farrar, not Drs. Fauci or Collins. Moreover, the selectively quoted language misconstrues



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   the email; the quoted portion of the email reads in full: “Critical that responsible, respected

   scientists and agencies get ahead of the science and the narrative of this and are not reacting to

   reports which could be very damaging.” Fauci Ex. 8 at 1. As earlier emails stated, delaying looking

   into the issue further could cause the discussions surrounding the virus’s origins to become “more

   polari[z]ed,” with people “try[ing] to deflect issues by blaming someone somewhere,” which “may

   only increase tension and reduce cooperation.” Id. at 7. Such cooperation, Dr. Fauci testified, was

   “necessary to really continue to pursue what actually happened in order to prepare for and prevent

   similar things from happening in the future.” Fauci Dep. 102:17-25. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           673. Later that day, on Feb. 2, Farrar separately emailed Fauci and Collins, stating
   “Tedros and Bernhard have apparently gone into conclave…they need to decide today in my view.
   If they do prevaricate, I would appreciate a call with you later tonight or tomorrow to think how
   we might take forward.” Fauci. Ex. 8, at 2. He also stated, “Meanwhile….” And linked to an
   online article speculating about the lab-leak origins of the virus—again indicating that Fauci,
   Farrar, and Collins were concerned about controlling online discourse about the lab-leak theory.
   Id.

           RESPONSE: Disputed as a mischaracterization of the evidence, which is an email from

   Jeremy Farrar, not Drs. Fauci or Collins, which email was sent earlier that day, not later. See Fauci

   Ex. 8 at 1-2. Moreover, this short email from Jeremy Farrar does not explicitly or implicitly show

   that Drs. Farrar, Fauci, or Collins may have been concerned “controlling online discourse about

   the lab-leak theory,” as opposed to ensuring that the question of the virus’s origins was analyzed

   objectively and urgently and was not overwhelmed by uninformed speculation. As earlier emails

   stated, delaying looking into the issue further could cause the discussions surrounding the virus’s




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   origins to become “more polari[z]ed,” with people “try[ing] to deflect issues by blaming someone

   somewhere,” which “may only increase tension and reduce cooperation.” Id. at 7. Such

   cooperation, Dr. Fauci testified, was “necessary to really continue to pursue what actually

   happened in order to prepare for and prevent similar things from happening in the future.” Fauci

   Dep. 102:17-25. The article Dr. Farrar sent appears to report on claims that the “coronavirus

   contains hiv insertions.” Fauci Ex. 2 at 2. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           674.     The day after the conference all, Sunday, Feb. 2, Dr. Fauci, Jeremy Farrar, and Dr.
   Collins shared a series of emails (1) acknowledging that there were very serious arguments in favor
   of the lab-leak theory, and (2) repeatedly expressing concern about the lab-leak theory’s
   involvement on “social media.” The group, including Dr. Fauci, repeatedly expressed concern
   about postings about the lab-leak theory on social media. See Fauci Ex. 8.

          RESPONSE: Disputed as a mischaracterization of Fauci Ex. 8, which reflects a back-and-

   forth discussion among various scientists regarding the potential origins of COVID-19 based on

   the evidence then-available. Within this chain of emails, a few individuals reference “distortions

   on social media,” without describing what those are (and not referencing a so-called “lab-leak

   theory”), as a reason to “move quickly,” Fauci Ex. 8 at 2, on having “a body like the WHO . . . ask

   or commission a group of scientists from around the world to ask the neutral question ‘To

   understand the evolutionary origins of 2019-nCoV, important for the epidemic and for future risk

   assessment and understanding of animal/human coronaviruses,’” id. at 5. Dr. Fauci evidently

   agreed with moving quickly, stating “[l]ike all of us, I do not know how this evolved, but given

   the concerns of so many people and the threat of further distortions on social media, it is essential

   that we move quickly. Hopefully, we can get WHO to convene.” Id. at 2. This is Dr. Fauci’s sole




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   reference to “distortions on social media” or to social media at all in the email chain. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           675. First, after the Feb. 1 call, still on Feb. 1, Farrar sent an email to the group
   expressing concern that “[t]here will be media interest and there is already chat on
   Twitter/WeChat” about the lab-leak theory, and stating: “In order to stay ahead of the conspiracy
   theories and social media I do think there is an urgency for a body to convene” to address the lab-
   leak question. Fauci Ex. 8, at 9.

           RESPONSE: Disputed that Dr. Farrar’s email expresses concern about online discussions

   about a so-called “lab-leak theory” or with a body convening solely for the purpose of

   “address[ing] the lab-leak question.” The first sentence that the PFOF only selectively quotes reads

   in full: “I do know there are papers being prepared, there will [be] media interest and there is

   already chat on Twitter/WeChat.” Fauci Ex. 8 at 9. The second selectively quoted sentence follows

   Dr. Farrar’s urging that ‘[w]e on this call are not the only ones with scientific expertise in this

   area” and that understanding the origins of COVID-19 would “need a broader range of input” and

   an “expert group to explore this, with a completely open mind.” Id. Dr. Farrar then states: “In order

   to stay ahead of the conspiracy theories and social media I do think there is an urgency for a body

   to convene such a group and commission some work to – (draft) ‘To understand the evolutionary

   origins of 2019-nCoV, important for this epidemic and for future risk assessment and

   understanding of animal/human coronaviruses.’” Id. at 9-10. Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          676. The next day, Feb. 2, Farrar then expressed concern that “these questions are being
   asked by politicians, starting in the scientific literature, [and] certainly on social and main stream
   media. If, and I stress if, this does spread further, pressure and tensions will rise. [I] fear these
   questions will get louder and more polarized and people will start to look to who to blame. … I
   am concerned if this is not done quite quickly it will be reacting to what may be lurid claims.”
   Fauci Ex. 8, at 7.

          RESPONSE: Undisputed, except to note that these concerns are immediately preceded by

   Dr. Farrar’s statement that his “view” on the origins of the COVID-19 virus “is completely

   neutral,” and “[t]he evolutionary origins on this virus are clearly important.” Fauci Ex. 8 at 7.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          677. Another call participant then agreed that “this needs to be discussed urgently,” in
   part “because of the lurid claims on Twitter.” Fauci Ex. 8, at 6. He also noted that “if the
   evolutionary origins of the epidemic were to be discussed, I think the only people with sufficient
   information or access to samples to address it would be the teams working in Wuhan.” Id.

          RESPONSE: Disputed as a mischaracterization of the email, which was not focused on

   Twitter. The participant stated: “Perhaps this needs to be discussed urgently, not only because of

   the lurid claims on Twitter but because if it is in a non-human host, pre-adapted, it may threaten

   control efforts through new zoonotic jumps…” Fauci Ex. 8 at 6. Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          678. The same day, Farrar acknowledged “this is a very complex issue,” and again
   expressed concern about “social and main stream media”: “As discussed on the phone this
   discussion is not limited to those on this email, it is happening wider in the scientific, social and
   main stream media.” Fauci Ex. 8, at 5.




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           RESPONSE: Undisputed, but note that Dr. Farrar’s same email stated: “I believe the best

   way forward is for a body like the WHO has to ask or commission a group of scientists from

   around the world to ask the neutral question ‘To understand the evolutionary origins of 2019-

   nCoV, important for this epidemic and for future risk assessment and understanding of

   animal/human coronaviruses’; and “That should be done in an open way and quite quickly so that

   the world can see it is being done, it can respect the report when it is available and I think that will

   help with the growing interest of this question.” Fauci Ex. 8 at 5. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           679. Dr. Collins then responded to Farrar and Dr. Fauci only, stating that “a confidence-
   inspiring framework … is needed, or the voices of conspiracy will quickly dominate, doing great
   potential harm to science and international harmony.” Fauci Ex. 8, at 5.

           RESPONSE: Undisputed, but note that Dr. Collins’ email opened by stating: “Though the

   arguments from Ron Fouchier and Christian Drosten are presented with more forcefulness than

   necessary, I am coming around to the view that a natural origin is more likely.” Fauci Ex. 8 at 5.

   Additionally, as Dr. Fauci testified, the concern among participants in the call was that the

   discussions surrounding the virus’s origins might become “more polari[z]ed” over time, with

   people “try[ing] to deflect issues by blaming someone somewhere,” which “may only increase

   tension and reduce cooperation.” Id. at 7. Such cooperation, Dr. Fauci testified, was “necessary to

   really continue to pursue what actually happened in order to prepare for and prevent similar things

   from happening in the future.” Fauci Dep. 102:17-25. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or




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   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           680. Farrar then shared notes with Fauci, Collins and Tabak (Collins’ deputy) from
   “Mike Farzan (discoverer of SARS receptor),” which stated that Farzan “is bothered by the furin
   cleavage site [a virus feature that looks bioengineered] and has a hard time explaining that as an
   event outside the lab,” and that “acquisition of the furin site would be highly compatible with the
   idea of continued passage of virus in tissue culture,” i.e., serial passage. Fauci Ex. 8, at 4. Farzan
   suggested that “a likely explanation” of the virus was serial passage of SARS-like coronaviruses
   in human cell lines, and he stated that “I am 70:30 or 60:40” in favor of laboratory origins. Fauci
   Ex. 8, at 3-4.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           681. Farrar also shared notes from “Bob” [Garry] that he had “aligned” the new virus
   “with the 96% bat CoV sequenced at WIV [Wuhan Institute of Virology],” and viewed the lab-
   origin theory as highly likely: “I really can’t think of a plausible natural scenario … I just can’t
   figure out how this gets accomplished in nature. Do the alignment of the spikes at the amino acid
   level – it’s stunning.” Fauci Ex. 8, at 4.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           682. Having shared these notes, Farrar noted, “On a spectrum if 0 is nature and 100 is
   release – I am honestly at 50! My guess is that this will remain grey, unless there is access to the
   Wuhan lab – and I suspect that is unlikely!” Fauci Ex. 8, at 3. Both Farrar and Collins expressed
   concerns that the WHO might move too slowly for their liking. Id.

          RESPONSE: Undisputed, except the characterization that Drs. Farrar and Collins

   expressed concerns that the WHO might move “too slowly for their liking.” That interpretation is

   unsupported by the entirety of the email chain, which shows multiple participants expressing




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   concerns that the issue of COVID-19’s origins needed to be addressed by a broader group

   objectively and urgently, Fauci Ex. 8 at 1-3, 5-6, and to get ahead of polarization that could

   undermine efforts “to pursue what actually happened in order to prepare for and prevent similar

   things from happening in the future,” Fauci Dep. 102:17-25. Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           683. Then, still on February 2, 2020, Dr. Fauci wrote to Farrar, Collins, and Lawrence
   Tabak (Dr. Collins’ principal deputy), stating: “Like all of us, I do not know how this evolved, but
   given the concerns of so many people and the threat of further distortions on social media, it is
   essential that we move quickly. Hopefully, we can get the WHO to convene.” Fauci Ex. 8, at 2
   (emphasis added).

          RESPONSE: Undisputed. Regardless, this PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           684. Dr. Fauci claimed that he is completely dissociated from social media, stating: “I
   don’t do social media so I’m not familiar with them,” Fauci Dep. 98:15-16; and “You know, I’m
   so dissociated from social media. I don’t have a Twitter account. I don’t do Facebook. I don’t do
   any of that, so I’m not familiar with that,” Fauci Dep. 99:5-8; see also, e.g., Fauci Dep. 103:12-
   14; 210:3-8; 213:10-16; 241:6-9; 241:21-242:1; 301:10-11 (“I don’t pay attention to things related
   to social media accounts.”); id. at 312:7-9 (“I can repeat it for the hundredth time, I really don’t
   get involved in social media issues.”); id. at 356:15-16 (“I’m not a social media person.”).

          RESPONSE: Undisputed. Regardless, this PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          685. In fact, Dr. Fauci’s daughter was then a software engineer at Twitter, Fauci Dep.
   99:23-100:15; Dr. Fauci has done numerous podcasts and interviews on social media, including



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   with Mark Zuckerberg, Fauci Dep. 99:16-19, 101:1-6; Dr. Fauci had specifically expressed
   concern about “the threat of further distortions on social media” about the lab-leak theory in his
   contemporaneous email, Fauci Ex. 8, at 2; and Dr. Fauci’s communications staff had repeatedly
   emailed Twitter to try to remove postings critical of Dr. Fauci, see infra. Dr. Fauci’s professed
   ignorance of social media is not credible. His communications and conduct make clear that he is
   keenly aware and deeply concerned about what he believes are “distortions on social media.”
   Fauci Ex. 8, at 2.

          RESPONSE: Disputed that Dr. Fauci’s daughter’s past employment as a software

   engineer at Twitter (see Fauci Dep. 100:3-7 (stating that his daughter “used to” work at Twitter)),

   his podcasts or interviews that appear on social medial, his one isolated reference to “distortions

   on social media,” and the work of a handful of staff out of the nearly 2,000 staff employed by Dr.

   Fauci in 2020, see Nat’l Inst. of Allergy & Infectious Diseases, Congressional Justification FY

   2022 (2021) https://perma.cc/L7M4-GLBF, somehow make Dr. Fauci an expert on social media

   or show that Dr. Fauci was “keenly aware and deeply concerned about” “distortions on social

   media.” Further disputed that Dr. Fauci’s communications staff “repeatedly emailed Twitter to try

   to remove postings critical of Dr. Fauci” rather than occasionally asking Twitter (without Dr.

   Fauci’s awareness) to remove fake accounts that falsely impersonated Dr. Fauci (which may

   violate federal law, see 18 U.S.C. § 912). See Resp. to Pls.’ PFOF ¶¶ 810-11. Regardless, this

   PFOF contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception,

   or otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           686. Dr. Fauci also testified that “I don’t recall anything about social media” in his
   discussions with Farrar about the origins of the virus. Fauci Dep. 102:17-18. In light of the
   contemporaneous emails repeatedly raising concerns about discussions of the lab-leak theory on
   social media, this claim is not credible.

          RESPONSE: The testimony quoted in the first sentence is undisputed, but otherwise the

   PFOF is disputed as an argumentative mischaracterization of the record, unsupported by any

   citation. The record does not show “emails” from Dr. Fauci “repeatedly raising concerns about



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   discussions of the lab-leak theory on social media.” That unsupported assertion does not cast doubt

   on Dr. Fauci’s credibility. Regardless, this PFOF contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           687. Dr. Fauci admits that he was “concerned about … there being misinformation or
   disinformation that would interfere with our trying to save the lives of people throughout the world,
   which happens when people spread false claims.” Fauci Dep. 103:18-22. He states that
   “misinformation and/or disinformation can lead to loss of life … and that troubles me.” Fauci
   Dep. 104:15-17. This includes the spread of misinformation and disinformation on social media,
   because “that’s part of the way information is disseminated.” Fauci Dep. 104:22-23.

          RESPONSE: Undisputed. However, Dr. Fauci went on to say, “My way of countering

   false information, and I’ve been on the record multiple times as saying that, is that my approach is

   to try [] and flood the system with the correct information as opposed to interfering with other

   people’s ability to say what they want to say.” Fauci Dep. 357: 7-18. Regardless, this PFOF

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           688. After Dr. Fauci’s email about “the threat of further distortions on social media,”
   Farrar emailed back indicating that the WHO might not move quickly to address the lab-leak
   theory, and stating to Fauci and Collins: “they need to decide today in my view. If they do
   prevaricate, I would appreciate a call with you later tonight or tomorrow to think how we might
   take forward.” Fauci Ex. 8, at 2. He also stated: “Meanwhile….” And linked to an online posting
   expressing concerns about the lab-leak theory – indicating his dominant concern about online
   speech discussing the lab-leak theory. Id.

          RESPONSE: Disputed to the extent the PFOF is meant to indicate that Dr. Farrar’s

   concern was that the WHO might not move quickly “to address the lab-leak theory.” Dr. Farrar

   repeatedly stated his aim was urging “a body like the WHO . . . to ask or commission a group of

   scientists from around the world to ask the neutral question ‘To understand the evolutionary origins



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   of 2019-nCoV, important for this epidemic and for future risk assessment and understanding of

   animal/human coronaviruses.’” Fauci Ex. 8 at 5. Otherwise, undisputed. Regardless, this PFOF

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           689. Soon thereafter, Farrar emailed Dr. Tedros of the WHO and two senior WHO
   officials, copying Fauci and Collins. Fauci Ex. 8, at 1. Farrar urged the WHO to quickly establish
   a working group to address the lab-leak theory, and reiterated that they should “[a]ppreciate the
   urgency and importance of this issue,” given the “[g]athering interest evident in the science
   literature and in mainstream and social media to the question of the origin of this virus,” and
   pressing them to “get ahead of … the narrative of this and not reacting to reports which could be
   very damaging.” Fauci Ex. 8, at 1.

          RESPONSE: Disputed that Dr. Farrar urged the WHO to establish a working group “to

   address the lab-leak theory.” As the exhibit states, Dr. Farrar sought to urge “a body like the

   WHO . . . to ask or commission a group of scientists from around the world to ask the neutral

   question ‘To understand the evolutionary origins of 2019-nCoV, important for this epidemic and

   for future risk assessment and understanding of animal/human coronaviruses.’” Fauci Ex. 8 at 5.

   Otherwise, undisputed. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          690. Fauci claims that he does not believe there was any further communication between
   him and Farrar about this issue, despite Farrar’s urgent request for a follow-up call if the WHO
   did not act immediately. Fauci Ex. 8, at 2; Fauci Dep. 109:22-110:7. In light of their subsequent
   communications, this testimony is not credible.

          RESPONSE: The first sentence is undisputed. The second sentence is disputed as an

   argumentative mischaracterization unsupported by the evidence and without citation to the record.

   The PFOF’s unsupported assertion does not cast doubt on the credibility of Dr. Fauci’s testimony.



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   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           691. By the early morning of February 4, 2020, Eddie Holmes had already sent a draft
   research paper attacking the lab-leak theory to Jeremy Farrar. Fauci Ex. 9, at 1. Holmes noted to
   Farrar that, in the draft, he “[d]id not mention [the virus’s] other anomalies as this will make us
   look like loons.” Fauci Ex. 9, at 1. To complete the draft between the afternoon of Saturday, Feb.
   1, and the early morning of Tuesday, Feb. 4, Holmes must have started working on it almost
   immediately after the Feb. 1 conference call.

           RESPONSE: Disputed to the extent the PFOF relies on unsupported assumptions

   regarding when Eddie Holmes began drafting the referenced article, as Plaintiff’s provide no

   evidence or citation to the record regarding when Eddie Holmes began drafting. Also disputed to

   the extent the PFOF characterizes a scientific paper as “attacking” any theory rather than

   examining the scientific data and adopting a particular hypothesis about the virus’s origin based

   on that data (as scientific would be expected for a scientific research paper to do). Further disputed

   to the extent the PFOF is intended to suggest that Dr. Holmes was the sole author of the draft,

   which is contradicted by the email stating, “Here’s our summary so far. Will be edited further.”

   Fauci Ex. 9 at 1. The quoted text of the email is undisputed, but note also that Dr. Holmes states

   that the papers “[a]s it stands . . . is excellent basic science . . . which is a service in itself.” Id.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          692. Farrar forwarded this draft to Fauci and Collins at 2:01 a.m. on Tuesday morning,
   February 4, 2020, in an attachment called “Summary.” Fauci Ex. 10, at 3. He noted, “Please treat




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   in confidence – a very rough first draft from Eddie and team – they will send on the edited, cleaner
   version later.” Id.; see also Fauci Ex. 12, at 1.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          693. Dr. Collins responded: “I note that Eddie is now arguing against the idea that this
   is the product of intentional human engineering,” Fauci Ex. 10, at 3, a dramatic reversal of
   Holmes’s position a few days earlier that Holmes and Andersen “find the genome inconsistent
   with expectations from evolutionary theory.” Fauci Ex. 6, at 1. The paper’s conclusion was also
   profoundly at odds with Holmes’s statement, in the email sending the draft paper itself, that they
   would “look like loons” if the paper discussed the virus’s other “anomalies” that strongly
   suggested a lab origin. Fauci Ex. 9, at 1.

          RESPONSE: Undisputed as to the contents of the cited emails. Disputed to the extent that

   the PFOF claims there was a “dramatic reversal” of Holmes’s position or that the paper was

   “profoundly at odds” with Holmes’s statement. As Dr. Andersen explained in a January 31, 2020

   email, he, Holmes, and others tentatively “all find the genome inconsistent with expectations from

   evolutionary theory. But we have to look at this much more closely and there are still further

   analyses to be done, so those opinions could still change.” Fauci Ex. 6 at 1. It would not be

   “dramatic,” therefore, for opinions to have changed based on further analyses, as Dr. Andersen

   had indicated might happen. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           694. Collins also noted that Holmes had not ruled out the possibility of a lab-created
   virus through serial passage. Fauci Ex. 10, at 3. Farrar responded, stating “Eddie would be 60:40
   lab side. I remain 50:50.” Id. Eddie, however, had already drafted a paper that refuted the lab-leak
   theory, even though he evidently still believed was the better explanation. See id.




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          RESPONSE: Disputed as a mischaracterization of the cited emails. Dr. Collins did not

   note “that Holmes had not ruled out the possibility of a lab-created virus through serial passage.”

   Rather, Dr. Collins noted that “that Eddie is now arguing against the idea that this is the product

   of intentional human engineering. But repeated tissue culture passage is still an option…” Fauci

   Ex. 10 at 3 (emphasis supplied). Farrar then responded “‘Engineered’ probably not. Remains very

   real possibility of accidental lab passage in animals…. Eddie would be 60:40 lab side.” It is entirely

   consistent for Eddie to be 60:40 that there was an accidental lab-leak, while refuting the idea that

   there was intentional human engineering. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           695. Regarding the possibility of serial passage, Dr. Fauci noted that “Serial passage in
   ACE2-transgenic mice” was a possibility for the virus’s origin, Fauci Ex. 10, at 2— notably, serial
   passage in humanized mice as was used in the 2015 Nature Medicine study. (Like so many other
   things, Dr. Fauci claims he does not recall this statement that he wrote. Fauci Dep. 115:22-116:12.)
   Collins responded, “Surely that wouldn’t be done in a BSL-2 lab?” and Farrar answered, “Wild
   West….” Fauci Ex. 10, at 2. This exchange indicates that that Fauci, Farrar, and Collins were
   concerned that the coronavirus had been created in Wuhan by serial passage through humanized
   mice in a low-security [BSL-2] lab and then escaped from that low-security lab—i.e., the precise
   concerns surrounding the NIAID-funded research at WIV. Id.; see also, e.g., Jones Decl., Ex. BB<
   at 14 (“In the above exchange, the health officials [Fauci, Farrar, and Collins] seem to be
   contemplating the possibility that the repeated passage of a coronavirus through genetically
   modified mice in an insufficiently secure lab could have resulted in the accidental emergence and
   release of SARS-CoV-2.”).

          RESPONSE: Disputed as a mischaracterization of the cited emails. Dr. Fauci’s email

   simply stated “?? Serial passage in ACT2-transgenic mice,” Fauci Ex. 10 at 2, and did not express

   any sort of opinion that it was a possibility for the virus’s origin. Moreover, this email exchange

   does not indicate what Drs. Fauci, Farrar, and Collins may have been contemplating when they

   wrote those emails. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci




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   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          696. Later in the evening of the same day, Tuesday, Feb. 4, Farrar sent Fauci and Collins
   a second version of draft, entitled “Summary,” with the note “Tidied up.” Fauci Ex. 12, at 7. Dr.
   Fauci claims he does not remember receiving these drafts. Fauci Dep. 127:4-10.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           697. The next day, February 5, 2020, Farrar sent Fauci and Collins a third version of the
   draft, still entitled “Summary,” with a note: “Tony and Francis The revised draft from Eddie,
   copied here.” Fauci Ex. 12, at 8.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           698. Two days later, on February 7, 2020, Farrar sent Fauci and Collins a fourth version
   of the same draft, entitled “Summary.Feb7.pdf,” with the note in the subject line, “Revised draft.”
   Fauci Ex. 11, at 2. This draft made clear that Holmes and his co-authors planned to aggressively
   discredit the lab-leak theory. It stated in bold in the beginning “Overview” section: “Analysis of
   the virus genome sequences clearly demonstrates that the virus is not a laboratory construct
   or experimentally manipulated virus.” Fauci Ex. 11, at 3 (bold in original).

          RESPONSE: The first sentence is undisputed. The second sentence is disputed as

   argumentative and a mischaracterization of the paper, which was not drafted for the purpose of

   “aggressively discredit[ing]” a so-called “lab-leak theory,” but instead to present findings on

   research into the origins of the COVID-19 virus. The third sentence is undisputed. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,



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   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

          699. This was the fourth updated draft that Farrar sent to Fauci and Collins of the paper
   discrediting the lab-leak theory in the first week since the Feb. 1 secret conference call. The draft
   advocated that genetic evidence “clearly demonstrates” that the lab-leak theory is false. Id.

           RESPONSE: Disputed that the referenced conference call was “secret.” See Resp. to Pls.’

   PFOF ¶ 648. The remaining allegations are undisputed. Notably, Plaintiffs have not cited any

   evidence that Drs. Fauci or Collins provided substantive input on the paper, and in fact Dr. Fauci’s

   testimony confirms that he had “very little input” into the drafts of the paper. Fauci Dep. 196:1-8.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           700. Dr. Fauci claims that he did not have any involvement in Farrar’s efforts to push
   the WHO to assemble a working group to address the lab-leak theory. Fauci Dep. 110:4-7 (“So I
   really would doubt that there was any further communication between me and the WHO about
   this. This was fundamentally Jeremy's lane, if you want to call it that.”); id. at 125:17-19 (“I didn’t
   have any direct involvement with the WHO, not to my recollection.”); id. at 131:14-15 (“This was
   mostly a Jeremy-led thing”). But in fact, Dr. Fauci sent multiple emails to Farrar urging for the
   inclusion of a long list of specific scientists in the WHO’s working group. Fauci Ex. 13, at 1-2, 6.

           RESPONSE: Disputed as a mischaracterization of the testimony and emails. Dr. Fauci did

   not testify that he “did not have any involvement” in the effort to convene a WHO working group;

   rather, as the quoted testimony shows, Dr. Fauci testified that he “doubt[ed] that there was any

   further communication between me and the WHO about this,” Fauci Dep. 110: 4-7 (emphasis

   added), and he did not believe that he had “direct involvement with the WHO,” id. at 125:17-19

   (emphasis added). More generally, as to his “involvement” with the WHO, Dr. Fauci testified:




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   “The context of this email exchange and the theme of the discussion, although I, myself, did not

   directly get involved in interactions with WHO on this, was that we all felt that given the convening

   power and the status of the WHO, that we wanted to get them involved because we wanted to

   make sure that this was an open and transparent discussion that involved international global health

   authority. So it is perfectly consistent and compatible that I would say we really need to get WHO

   moving on getting the convening involved because was wanted an open convening so that evidence

   and data could be openly discussed. That was the theme of everything that was going on at the

   time.” Id. at 126:5-18. Also disputed that Dr. Fauci sent multiple emails “urging for the inclusion

   of a long list of specific scientists” in any working group. Exhibit 13 includes an email from Dr.

   Fauci stating simply, “I will list below a number of names for potential members of the working

   group.” Fauci Ex. 13 at 2. The list was sent in response to an email from Dr. Farrar stating that

   the WHO planned to “set up the Group who will ‘look at the origins and evolution of 2019n-CoV’”

   and that the WHO “ha[d] asked for names to sit on that Group – please do send any names.” Id.

   at 3. Dr. Fauci then later followed up to say, “Jeremy: I left out an important name of the

   coronavirus evolution working group. Please include her: Pardis Sabeti at the Broad Institute of

   MIT and Harvard. Thanks, Tony.” Id. at 1. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           701. On Feb. 5, 2020, Farrar emailed Fauci and Collins, stating that he believed that the
   WHO would assemble a working group to address the lab-leak theory, and urging Fauci and
   Collins to provide names of scientists to participate in the group. Fauci Ex. 13, at 7. Farrar stated
   that the WHO “have asked for names to sit on that Group – please do send any names.” Id. He
   then stated, “We can have a call this week with a core group of that to frame the work of the Group
   including – if you could join?” Id. (emphasis added). And then he stated, “With names to be put
   forward into the Group from us and pressure on this group from your and our teams next week.”
   Id. (emphasis added). Plainly, Farrar intended, with Fauci and Collins’ assistance, to stack the



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   WHO’s group with their hand-picked scientists, have an advance call “to frame the work of the
   Group,” and to put “pressure on this group from [Fauci’s and Collins’] and our teams next week,”
   id.—to influence and control the outcome of the WHO Group’s deliberations.

          RESPONSE: Disputed as a mischaracterization of the cited emails, for the reasons stated

   in response to Plaintiffs’ PFOF ¶ 700. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           702. Fauci and Collins did not dispute this plan. On the contrary, Fauci responded by
   providing Farrar with a detailed list of eight scientists to include in the WHO’s group “in addition
   to the individuals who were on the call with us last Saturday.” Fauci Ex. 13, at 2, 6. Fauci then
   followed up to his own email with an additional scientist, stating she is “an important name for the
   coronavirus evolution working group. Please include her.” Id. at 1. Fauci’s attempts to downplay
   his involvement with the plan to create and control a WHO working group on COVID-19’s origins
   to discredit the lab-leak theory, therefore, are not credible.

          RESPONSE: Disputed as a mischaracterization of the cited emails, for the reasons stated

   in response to Plaintiffs’ PFOF ¶ 700. The PFOF’s unsupported assertions—which are

   contradicted by the record as a whole—do not cast doubt on the credibility of Dr. Fauci’s

   testimony. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          703. Dr. Fauci testified that he, Farrar, and Collins “wanted to get them [the WHO]
   involved because we wanted to make sure that this was an open and transparent discussion,” Fauci
   Dep. 126:9-12, is not credible in light of the contemporaneous email from Farrar to Fauci and
   Collins plotting to “frame the work of the Group” and put “pressure on this group from your and
   our teams next week.” Fauci Ex. 13, at 3.

          RESPONSE: Disputed as a mischaracterization of the testimony and cited emails, for the

   reasons stated in response to Plaintiffs’ PFOF ¶ 700. The PFOF’s unsupported assertions—which




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   are contradicted by the record as a whole—do not cast doubt on the credibility of Dr. Fauci’s

   testimony. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          704. Dr. Fauci claims he does not recall any discussions about framing the work of the
   Group, or putting pressure on the Group. Fauci Dep. 137:1-21.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           705. On February 9, 2020, Dr. Fauci participated in a joint podcast with Dr. Peter Daszak
   of the EcoHealth Alliance to discuss the outbreak of COVID-19. Fauci Ex. 15, at 1.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           706. Peter Daszak was then involved in organizing a statement for the Lancet seeking to
   discredit the lab-leak theory, similar to the article then being drafted by Eddie Holmes, of which
   Dr. Fauci had received four drafts the previous week. See Jones Decl., Ex. CC, at 1. Just a few
   days later, The Lancet would publish a statement of scientists organized and co-signed by Daszak
   and Jeremy Farrar, which stated: “We stand together to strongly condemn conspiracy theories
   suggesting that COVID-19 does not have a natural origin.” Id. Thus, at that time, Daszak was
   working in parallel with Dr. Fauci, and together with Jeremy Farrar, to produce a published article
   discrediting the lab-leak theory. Id.

          RESPONSE: Disputed that Dr. Fauci was working with Dr. Daszak to produce the

   referenced article merely because they participated on a podcast together. Also disputed that the

   “statement for the Lancet” was “similar” to the “article then being drafted by Eddie Holmes” and



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   several other virologists. The former is a policy “[s]tatement in support of the scientists, public

   health professionals, and medical professionals of China combatting COVID-19,” Jones Ex. CC,

   at 1, while the latter is a research paper discussing the scientific data supporting a particular

   hypothesis of the COVID-19 virus’s origins, Fauci Ex. 24. The accuracy of the quoted text of the

   policy statement is undisputed. Regardless, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            707. During the podcast, both Dr. Fauci and Daszak made comments seeking to discredit
   the lab-leak theory. Fauci Ex. 16, at 1. Fauci, when asked “Do you have any sense of where [the
   virus] probably came from?” answered, “Well I think ultimately we know that these things come
   from an animal reservoir. I heard these conspiracy theories and like all conspiracy theories … they
   [are] just conspiracy theories…. I think the things you are hearing are still in the realm of
   conspiracy theories without any scientific basis for it.” Id. Daszak was asked, “Is it your sense
   that it’s almost certain it came from an animal-to-human transmission?” and he responded: “All
   the evidence says that is what happened. … It looks to me and to most scientists like it’s a bat virus
   that got into people either in the market or in rural China and just unfortunately has the capacity
   to spread.” Id.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           708. On February 11, 2020, Dr. Fauci had a meeting at NIAID with Dr. Ralph Baric, the
   corresponding author of the 2015 Nature Medicine article about NIAID-funded gain-of-function
   research in Wuhan that Dr. Fauci sent to Hugh Auchincloss after midnight on Feb. 1. Fauci Ex.
   17, at 1 (Dr. Fauci’s official calendar, Feb. 11, 2020, at 2:30 p.m. – “Meeting with Dr. Ralph
   Baric”). Dr. Fauci does not dispute that he met with Dr. Ralph Baric that day, but (like so many
   other things) he claims that he does not recall the meeting or what they discussed. Fauci Dep.
   149:9-10, 149:21-23. As noted above, given that Dr. Fauci was deeply concerned about Baric’s
   research at the time, Dr. Fauci’s testimony on this point is not credible.




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           RESPONSE: Undisputed that Dr. Fauci may have met with Dr. Baric that day, but the

   remainder of the PFOF is disputed as argumentative and unsupported by the evidence. It is not

   unreasonable for Dr. Fauci to not specifically remember a meeting that occurred nearly three years

   earlier during the midst of a global pandemic. Further, the claim that “Dr. Fauci was deeply

   concerned about Baric’s research at the time” is unsupported by any citation to the record, and the

   conclusory assertion does not cast doubt on Dr. Fauci’s credibility. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           709. On Feb. 11, 2020, Ian Lipkin wrote an email referring to the draft paper about the
   origins of COVID-19 stating that, while the paper was “well-reasoned and provides a plausible
   argument against genetic engineering,” it “does not eliminate the possibility of an inadvertent
   release following adaptation through selection in culture at the institute in Wuhan. Given the scale
   of the bat CoV research pursued there and the site emergence of the first human cases we have a
   nightmare of circumstantial evidence to assess.” Fauci Ex. 18, at 1. Dr. Fauci states that he does
   not recall this email but that “it’s entirely possible that Ian wrote this to me,” because “Ian
   communicates with me.” Fauci Dep. 153:15-17.

           RESPONSE: Disputed that Fauci Ex. 18 is an email, as it appears to be an excerpt from

   another document and does not contain a To:, From:, cc:, date, or subject lines as one would

   typically see in an email. It is also unclear whether the statement from Ian Lipkin is in reference

   to the draft paper that is the subject of this PFOF or something else. Undisputed as to the quoted

   testimony. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          710. Dr. Fauci testified that it is “molecularly” impossible that SARS-CoV-2 originated
   from NIAID-funded research: “molecularly, that could not have happened.” Id. at 157:21-22. But
   separately, he repeatedly testified that molecular virology is not his field, so his certainty on this
   one key point is not credible. Id. at 64:8-9 (“that’s not my field, evolutionary virology”); id. at
   117:19-20 (“I’m hesitant to go there because that’s not my area of expertise”); id. at 127:12-13 (“it
   was an area that was not my area of expertise”); id. at 160:7-9 (“Did I fully understand the
   molecular virology of it? Unlikely, because I’m not an evolutionary virologist.”).

          RESPONSE: Undisputed as to the accuracy of the quoted testimony, but disputed as to

   the conclusion that Dr. Fauci’s opinion is not credible. The quoted pieces of testimony relate to

   separate issues. First, Dr. Fauci testified about whether it was possible that the virus could have

   developed from research being conducted in a lab in Wuhan, China, that NIAID partially funded.

   Fauci Dep. 156:10-157:22. Dr. Fauci testified that it would be “molecularly impossible” for “the

   viruses that were studied under the auspices and funding of the subaward to the Wuhan

   Institute . . . to become SARS-Cov-2,” “even if people tried to manipulate them[.]” Id. He

   explained: “If you look at the molecular makeup of SARS-CoV-2 and you look at the viruses that

   were studied under the auspices and funding of the subaward to the Wuhan Institute, those bat

   viruses evaluated by anyone with even a reasonable acquaintance with evolutionary virology

   would tell you that given those viruses that they worked on, reported on, and published on was so

   far removed from SARS-CoV-2, that it would be molecularly impossible, even if people tried to

   manipulate them to become SARS-CoV-2 they wouldn’t become SARS-CoV-2.” Id. at 156:16-

   157:3 (emphasis added). He explained, in other words, that it did not require “expertise” in

   evolutionary virology, only “a reasonable acquaintance,” to conclude that NIAID-funded research

   did not give rise to COVID-19. Second, Dr. Fauci testified that during the February 1, 2020 call

   with a group of international virologist, who were discussing theories relating to the actual origins

   of SARS-CoV-2, he was “relatively quiet” because “evolutionary virology” “is not [his] field.” Id.

   at 64:8-9, 19-20. Relatedly, Dr. Fauci testified that he has “very little input” into several




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   virologists’ draft research paper analyzing the virus’s origins because that “is not [his] area of

   expertise.” Id. at 127:9-13. Thus, he explained that when Dr. Farrar forwarded him a draft of the

   research paper, he would have “look[ed] through it,” but he likely would not have “fully

   understood the molecular virology of it,” because he’s “not an evolutionary virologist”; therefore,

   it is “[u]nlikely” that he would have “ma[d]e any substantive comments on it.” Id. at 160:7-12.

   Third, Dr. Fauci was separately asked whether “serial passage in ACE2 transgenic mic [is]

   generally done at BSL-2,” and he answered as to his views “in general,” but caveated that he was

   “hesitant to go there because that’s not [his] area of expertise.” Id. at 117:15-23. In other words,

   Dr. Fauci did not disclaim all knowledge of evolutionary virology, only that he was not an expert

   in that field. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           711. On February 17, 2020, the preprint version of the paper drafted by Eddie Holmes
   attacking the lab-leak theory was released. Fauci Ex. 19. The paper was entitled, “The Proximal
   Origins of SARS-CoV-2.” Id. at 12. Its listed authors were Kristian Andersen, Andrew Rambaut,
   Ian Lipkin, Edward Holmes, and Robert Garry. Id. All these authors, except possibly Ian Lipkin,
   had been participants in the secret phone conference at 2:00 p.m. on Saturday, Feb. 1, 2020. Fauci
   Dep. 161:7-10.

          RESPONSE: Disputed as a mischaracterization of the nature of the call as “secret.” See

   Response to Pls.’ PFOF ¶ 648. Also disputed that the record clearly shows that all of the listed

   authors except for potentially Ian Lipkin were on the call, as the email chain regarding the call

   does not include Robert Garry or Ian Lipkin. Fauci Ex. 6 at 17. Also disputed to the extent the

   PFOF characterizes a scientific paper as “attacking” any theory rather than examining the scientific

   data and adopting a particular hypothesis about the virus’s origin based on that data (as scientific

   would be expected for a scientific research paper to do). Undisputed as to the remaining



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   allegations. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          712. These authors had a financial interest in supporting NIH’s preferred narrative.
   “Garry and Andersen have both been recipients of large grants from NIH in recent years, as has
   another ‘Proximal Origin’ author, W. Ian Lipkin of Columbia University.” Jones Decl., Ex. BB.

          RESPONSE: Disputed in that the PFOF makes inferences and assumptions not supported

   by the evidence. The NIH does not have a “preferred narrative” regarding the origins of the virus,

   and Plaintiffs cite no evidence to support their assertion to the contrary. Additionally, NIH does

   not award grants to individuals. Rather, NIH awards grants to institutions, like universities. The

   grant supports the research activities carried out by personnel identified by the institution under

   the scope of the grant. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           713. These authors were stunningly recent converts to the theory of natural origin. On
   February 11, Ian Lipkin had sent an email about the same paper stating that “we have a nightmare
   of circumstantial evidence to assess.” Fauci Ex. 18, at 1. On February 4, Holmes had written to
   Farrar that he avoided discussing the virus’s “other anomalies as this will make us look like loons.”
   Fauci Ex. 9, at 1.

          RESPONSE: Undisputed as to the quoted text of the cited emails. Disputed to the extent

   that there was a “stunning[]” reversal of anyone’s opinion on the origin of the virus. As Dr.

   Andersen explained in his January 31, 2020, email, he, Dr. Holmes, and others “all find the genome

   inconsistent with expectations from evolutionary theory. But we have to look at this much more

   closely and there are still further analyses to be done, so those opinions could still change.” Fauci




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   Ex. 6, at 1. It would not be “stunning,” therefore, for opinions to have changed based on further

   analyses. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           714. On February 2, Bob Garry had written to Farrar, “I really can’t think of a plausible
   natural scenario … I just can’t figure out how this gets accomplished in nature. Do the alignment
   of the spikes at the amino acid level – it’s stunning.” Fauci Ex. 8, at 4. On January 31, Andersen
   had written to Dr. Fauci that the virus’s “features (potentially) look engineered,” and that “after
   discussion earlier today, Eddie [Holmes], Bob [Garry], … and myself all find the genome
   inconsistent with expectations from evolutionary theory.” Fauci Ex. 6, at 1.

          RESPONSE: Undisputed as to the quoted text of the cited emails. However, as Dr.

   Andersen explained in his January 31, 2020, email, he, Dr. Garry, Dr. Holmes, and others “all find

   the genome inconsistent with expectations from evolutionary theory. But we have to look at this

   much more closely and there are still further analyses to be done, so those opinions could still

   change.” Fauci Ex. 6 at 1. It would not be unreasonable, therefore, for opinions to have changed

   based on further analyses. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           715. The preprint version of “The Proximal Origin of SARS-CoV-2” asserted a very
   different conclusion. It stated that “this analysis provides evidence that SARS-CoV-2 is not a
   laboratory construct nor a purposefully manipulated virus.” Fauci Ex. 19, at 2. It stated that
   “genomic evidence does not support the idea that SARS-CoV-2 is a laboratory construct.” Id. at
   6.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or




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   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

             716. Dr. Fauci does not dispute that this preprint was sent to him. Fauci Dep. 160:3-4
   (“It is likely that this was sent to me”). Dr. Fauci admits that he reviewed the preprint when it was
   sent to him. Id. at 160:7 (“Did I look through it? Yes.”). And Dr. Fauci admits that he was aware
   of what their conclusion was about the lab-leak theory. Id. at 162:13-15 (“I am certain that having
   looked at it, I was aware of what their conclusion was.”).

           RESPONSE: Undisputed. Notably, Plaintiffs have not cited any evidence that Drs. Fauci

   or Collins provided substantive input on the paper. Regardless, this PFOF is irrelevant and contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           717. This was the fifth version of the paper that was sent to Dr. Fauci to review, after
   four drafts sent to him on Feb. 4, 5, and 7. Id. at 160:13-16.

           RESPONSE: Undisputed that the paper was sent to Dr. Fauci. Notably, Plaintiffs have not

   cited any evidence that Drs. Fauci or Collins provided substantive input on the paper. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           718. On March 6, 2020, Kristian Andersen emailed Dr. Fauci, Dr. Collins, and Jeremy
   Farrar, stating, “Dear Jeremy, Tony, and Francis, Thanks again for your advice and leadership as
   we have been working through the SARS-CoV-2 ‘origins’ paper. We are happy to say that the
   paper was just accepted by Nature Medicine and should be published shortly …. To keep you in
   the loop, I just wanted to share the accepted version with you, as well as a draft press release.
   We’re still waiting for proofs, so please let me know if you have any comments, suggestions, or
   questions about the paper or the press release.” Fauci Ex. 22, at 1. He also wrote: “Tony, thank
   you for your straight talk on CNN last night – it’s being noticed.” Id.




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          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          719. Thus, Andersen thanked Dr. Fauci, Collins, and Farrar for their “advice and
   leadership” about the paper, sent them the final draft, and asked for their input both on the draft
   and on their public messaging about the draft. Id.

          RESPONSE: Disputed that Andersen thanks Drs. Fauci and Collins for their advice and

   leadership on the paper specifically, as opposed to (as the email says) their “advice and leadership

   as we have been working through the SARS-CoV-2 ‘origins’ paper.” Fauci Ex. 22 at 1. Dr. Fauci

   testified that he provided “[v]ery little” input on the paper, Fauci Dep. 196:1-8, that he “did not

   have substantive input into the paper,” and that in thanking him for his advice and leadership

   “Jeremy is being courteous, as he is wont to be. I mean ‘advice’ could be—and ‘leadership’ could

   be we really got to get information out. Thank you for the effort you’ve put into it. Advice and

   leadership, to my recollection, had very little to do with substantive input into the paper.” Id. at

   171:16-22. Also disputed that Dr. Fauci provided “advice and leadership” on “public messaging

   about the draft,” which assertion is unsupported by the record and is contradicted by the testimony

   from Dr. Fauci cited above. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          720. This was the sixth version of the paper that was forwarded to Dr. Fauci for review
   and input. Id.

          RESPONSE: Undisputed that the paper was sent to Dr. Fauci. Notably, Plaintiffs have not

   cited any evidence that Drs. Fauci or Collins provided substantive input on the paper. Regardless,



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   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           721.    Dr. Fauci responded: “Kristian: Thanks for your note. Nice job on the paper. Tony.”
   Id.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          722. Dr. Fauci denies that he provided “advice and leadership” in the preparation of the
   paper. Fauci Dep. 171:11-13. In light of the extensive meetings and correspondence detailed
   above, that testimony is not credible.

           RESPONSE: Disputed as argumentative and unsupported by the evidence. Dr. Fauci

   testified that he provided “[v]ery little” input on the paper, Fauci Dep. 196:1-8, that he “did not

   have substantive input into the paper,” and that in thanking him for his advice and leadership

   “Jeremy is being courteous, as he is wont to be. I mean ‘advice’ could be—and ‘leadership’ could

   be we really got to get information out. Thank you for the effort you’ve put into it. Advice and

   leadership, to my recollection, had very little to do with substantive input into the paper.” Id. at

   171:16-22. None of the cited evidence casts doubt on Dr. Fauci’s credibility. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.




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           723. On March 17, 2020, Nature Medicine published the online version of The Proximal
   Origin of COVID-19. Fauci Ex. 24, at 3. The print version appeared in the April 2020 volume of
   the journal. Id.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           724. The final, published version of the article makes even stronger claims attacking the
   lab-leak theory than the preprint version. In its opening, the article states: “Our analyses clearly
   show that SARS-CoV-2 is not a laboratory construct or a purposefully manipulated virus.” Fauci
   Ex 24, at 1 (emphasis added). Similarly strong language, leaving no room for doubt, occurs
   throughout the article: “the genetic data irrefutably show that SARS-CoV-2 is not derived from
   any previously used viral backbone,” id. at 1 (emphasis added). “This clearly shows that the SARS-
   CoV-2 spike protein optimized for binding to human-like ACE2 is the result of natural selection,”
   id. at 2 (emphasis added). “[T]he evidence shows that SARS-CoV-2 is not a purposefully
   manipulated virus,” id. at 3. “[W]e do not believe that any type of laboratory-based scenario is
   plausible.” Id. at 3. “SARS-CoV-2 originated via natural selection.” Id. at 3.

          RESPONSE: Undisputed, except to the extent that the PFOF characterizes a scientific

   paper as “attacking” any theory rather than examining the scientific data and adopting a particular

   hypothesis about the virus’s origin based on that data (as scientific would be expected for a

   scientific research paper to do). Regardless, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           725. Thus, between the preprint version and final version of the article, the article
   substantially beefed up its conclusion that the lab-leak theory is implausible and should be
   discredited. Dr. Fauci claims he does not “recall specific conversations” about that conclusion with
   the authors, but he admits that he is “sure” that he discussed that conclusion with them: “we read
   the preprint and, therefore, we knew what the conclusion was, and I'm sure that that conclusion
   was discussed. So I would not be surprised at all following the initial preprint that I discussed the
   conclusion of these authors that this is not a laboratory construct or a purposely manipulated virus.”
   Fauci Dep. 181:3-10; see also id. at 181:18-22. Based on all these circumstances, it is likely that




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   Dr. Fauci encouraged the authors to express a stronger and more unequivocal conclusion against
   the lab-leak theory than reflected in the preprint.

           RESPONSE: The assertion that the final version “substantially beefed up” certain

   conclusions is disputed as an argumentative and conclusory assertion without citation to the record.

   The accuracy of the quoted testimony is undisputed. The final sentence is disputed as a conclusory

   and speculative assertion that is unsupported by any citation to the record and is contradicted by

   (1) Dr. Fauci’s testimony that he had “very little” input into the drafts, Fauci Dep. 127:10-13, and

   (2) the absence of any emails showing that Dr. Fauci provided substantive input into the paper.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          726. Once the article “The Proximal Origin of SARS-CoV-2” was released, both Dr.
   Fauci and Dr. Collins took steps to push it into prominence. First, on March 26, 2020, Dr. Collins
   published a blog post on the article on the “NIH Director’s Blog” entitled “Genomic Study Points
   to Natural Origin of COVID-19.” Fauci Ex. 25, at 1.

           RESPONSE: Undisputed that Dr. Collins published the referenced blog post. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           727. Dr. Collins used strong language relying on the study to attack and discredit the
   lab-leak theory as “outrageous” and “debunk[ed]”: “Some folks are even making outrageous
   claims that the new coronavirus causing the pandemic was engineered in a lab and deliberately
   released to make people sick. A new study debunks such claims by providing scientific evidence
   that this novel coronavirus arose naturally.” Fauci Ex. 25, at 2. Dr. Collins stated that the study
   shows that “the coronavirus that causes COVID-19 almost certainly originated in nature,” and that
   “this study leaves little room to refute a natural origin for COVID-19.” Fauci Ex. 25, at 3.




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          RESPONSE: Undisputed, except to the extent that the PFOF is meant to indicate that Dr.

   Collins used “strong language” to “discredit” any and all theories regarding the potential that the

   COVID-19 virus originated in a lab and then leaked, either accidentally or intentionally. Dr.

   Collins used strong language when expressing his views about the claims that the COVID-19 virus

   may have been “engineered in a lab and deliberately released to make people sick.” Fauci Ex. 25

   at 2 (emphasis added). Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           728. In his blog post, Dr. Collins did not disclose that he and Dr. Fauci had been part of
   the group that organized the study, nor that he and Dr. Fauci had reviewed six versions of the study
   before it was published. Fauci Ex. 25.

          RESPONSE: Disputed that Dr. Collins or Dr. Fauci either “organized the study” or

   reviewed six versions of the study before it was published. As Dr. Fauci testified, Jeremy Farrar

   and Kristian Anderson organized the study and reached out to Dr. Fauci. Fauci Dep. 43:17-25. Dr.

   Fauci testified that he provided “[v]ery little” input on the paper, id. at 196:1-8, that he “did not

   have substantive input into the paper,” and that in thanking him for his advice and leadership

   “Jeremy is being courteous, as he is wont to be. I mean ‘advice’ could be—and ‘leadership’ could

   be we really got to get information out. Thank you for the effort you’ve put into it. Advice and

   leadership, to my recollection, had very little to do with substantive input into the paper.” Id. at

   171:16-22. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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            729. As was evidently intended, Dr. Collins’s blog post immediately fueled media
   coverage attacking the lab-leak theory as a “conspiracy theory.” For example, the next day, March
   27, 2020, ABC News ran a story entitled, “Sorry, conspiracy theorists. Study concludes COVID-
   19 ‘is not a laboratory construct.’” Fauci Ex. 26. The article quoted Bob Garry—who on January
   31 had found “the genome inconsistent with the expectations of evolutionary theory,” Fauci Ex.
   6, at 1, and on February 1 had told Farrar that “I just can’t figure out how this gets accomplished
   in nature … it’s stunning,” Fauci Ex. 8, at 4—as stating that “[t]his study leaves little room to
   refute a natural origin for COVID-19.” Fauci Ex. 26, at 3-4.

          RESPONSE: Undisputed as to the contents of the exhibits. Disputed to the extent that

   Plaintiffs make inferences about the “evident[ ] inten[t]” of Dr. Collins’ post without any support

   in or citation to the record. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          730. Dr. Fauci testified that he could not remember any contact from Dr. Collins about
   “The Proximal Origin of SARS-CoV-2” after Dr. Collins’ blog post on March 26, 2020. Fauci
   Dep. 186:19-187:6. In light of their subsequent communications and Dr. Fauci’s actions, this
   testimony is not credible.

          RESPONSE: Disputed as argumentative and without citation to or support in the evidence.

   The PFOF does not specify what “communications” or “actions” it is referring to and thus lends

   no support for the conclusory assertion that Dr. Fauci’s testimony is not credible. Regardless, it

   would be unsurprising that an individual could not recall specific communications from nearly

   three years ago regarding a specific article that was published in the midst of a global pandemic.

   Moreover, Dr. Fauci testified that he would not be surprised if Dr. Collins and Dr. Fauci mentioned

   the article to the other. Fauci Dep. 187:1-6. Regardless, this PFOF is irrelevant and contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress any theory on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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           731. In fact, Dr. Collins emailed Dr. Fauci about the article on Thursday, April 16, 2020.
   Fauci Ex. 27. The email linked to a Fox News piece by Bret Baier alleging that sources were
   “increasingly confident” that SARS-CoV-2 originated in a lab, and it stated: “Wondering if there
   is something NIH can do to help put down this very destructive conspiracy, with what seems to be
   growing momentum.” Fauci Ex. 27, at 1. Dr. Collins stated, “I hoped the Nature Medicine article
   on the genomic sequence of SARS-CoV-2 [i.e., “The Proximal Origin of COVID-19] would settle
   this. … Anything more we can do?” Fauci Ex. 27, at 1.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           732. Dr. Fauci responded to Dr. Collins at 2:45 a.m. the next day, Friday, April 17,
   stating only: “Francis: I would not do anything about this right now. It is a shiny object that will
   go away in times. Best, Tony.” Fauci Ex. 27, at 2.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            733. Dr. Fauci testified that he did not take “any steps to increase the visibility of the
   article after this” email exchange with Dr. Collins. 191:21-22; see also 195:10-17. That testimony
   is incorrect and not credible.

          RESPONSE: Undisputed that Dr Fauci testified that he did not recall taking “any steps to

   increase the visibility of the article after this” email exchange with Dr. Collins, Fauci Dep. 191:21-

   22, and that he testified that he did not go out of his way to promote the article, id. at 195:10-17,

   but that he did likely discuss the article with people because it was a topic of considerable concern,

   id. Disputed that Dr. Fauci’s testimony is incorrect or not credible, as that assertion is wholly

   conclusory and unsupported by any citation to the record. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or




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   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           734. In fact, that same day, Dr. Fauci took matters into his own hands to make the lab-
   leak theory “go away.” At the joint press conference on April 17, 2020, with President Trump,
   Vice President Pence, and Dr. Fauci, a reporter asked, “Mr. President, I wanted to ask Dr. Fauci:
   Could you address the suggestions or concerns that this virus was somehow manmade, possibly
   came out of a laboratory in China?” Fauci Ex. 28, at 2. Dr. Fauci responded: “There was a study
   recently that we can make available to you, where a group of highly qualified evolutionary
   virologists looked at the sequences there and the sequences in bats as they evolve. And the
   mutations that it took to get to the point where it is now is [pause for emphasis] totally consistent
   with a jump of a species from an animal to a human.” Id.; see also id. 199:18-25 (Dr. Fauci
   conceding that, “when you said that sentence about totally consistent, you pause and use that
   phrase, ‘totally consistent’ with emphasis” – “Right.”); see also Video of April 17, 2020 White
   House Coronavirus Task Force Briefing, at https://www.youtube.com/watch?v=brbArpX8t6I
   (exchange starting at 1:38:32 of video).

          RESPONSE: Disputed that Dr. Fauci responding to a question from the press at a press

   conference is somehow taking “matters into his own hands,” or that the answer was an attempt to

   make the so-called lab-leak theory “go away.” On the contrary, Plaintiffs’ PFOF shows that Dr.

   Fauci did not even mention the article until he was asked about the origins of the virus by a reporter

   in a public forum. Also dispute that Dr. Fauci “conced[ed]” that he paused to emphasize the phrase

   “totally consistent.” Dr. Fauci testified that he did not “remember a pause of a statement [he] made

   in one of the dozens and dozens and dozens of press conferences” during which he has spoken.

   Fauci Dep. 200:1-5. Undisputed, however, that the quoted statements were made during the press

   conference. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           735. Dr. Fauci then feigned ignorance and unfamiliarity with the authors of the study:
   “the paper will be available – I don’t have the authors right now, but we can make that available
   to you.” Fauci Ex. 28, at 2. Presenting himself as unconnected with the paper, Dr. Fauci did not
   reveal (1) that he was part of a group that had launched the paper in a clandestine phone call on



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   Saturday, Feb. 1; (2) that he had extensively corresponded with Jeremy Farrar about the paper and
   its conclusions; (3) that the authors of the paper had sent six versions to him, Jeremy Farrar, and
   Dr. Collins to review; (4) that he had likely urged the authors to beef up their conclusion attacking
   the lab-leak theory between the preprint and published versions of the paper; (5) that the authors
   had personally thanked him for his “advice and leadership” in drafting the paper; or (6) that Dr.
   Collins had emailed him the day before to ask him to push the paper publicly or take other steps
   to discredit the lab-leak theory.

          RESPONSE: Disputed as argumentative, lacking evidentiary citations, and a

   mischaracterization of the evidence. As Dr. Fauci testified, Jeremy Farrar and Kristian Anderson

   organized the study and reached out to Dr. Fauci. Fauci Dep. 43:17-25. Dr. Fauci testified that he

   provided “[v]ery little” input into the paper, id. at 196:1-8, that he “did not have substantive input

   into the paper,” and that in thanking him for his advice and leadership “Jeremy is being courteous,

   as he is wont to be. I mean ‘advice’ could be—and ‘leadership’ could be we really got to get

   information out. Thank you for the effort you’ve put into it. Advice and leadership, to my

   recollection, had very little to do with substantive input into the paper.” Id. at 171:16-22. Also

   disputed that Dr. Fauci’s answer that he did not have the multiple authors of the paper before him

   at the moment was somehow intended to “feign ignorance” with any of the authors. Further

   disputed as a mischaracterization of the nature of the call as “clandestine.” See Resp. to Pls.’ PFOF

   ¶ 648. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           736. Dr. Fauci does not dispute that he was referring to “The Proximal Origin of SARS-
   CoV-2” in his public remarks at the April 17, 2020, White House press briefing. Fauci Dep. 201:2-
   6 (“I assume it was the Nature Medicine paper…. I think it was.”).

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or




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   suppress any theory on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           737. Dr. Fauci testified that he did not make that paper available to any reporters after
   the press conference. Id. at 201:7-9 (“Not to my knowledge.). That testimony is not credible.

          RESPONSE: Disputed as argumentative, but the quoted testimony is undisputed.

   However, the question posed to Dr. Fauci is unclear as to whether it was asking Dr. Fauci whether

   he personally made the paper available to reporters present for the live press conference before

   they left the White House, or whether he has ever, since the press conference, provided the paper

   to a reporter. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          738. In fact, over the weekend following the press conference, Dr. Fauci personally
   responded to an inquiry from a reporter specifically asking for the study he had referred to at the
   April 17, 2020 press conference, and provided a link to “The Proximal Origin of SARS-CoV-2.”
   Fauci Ex. 29, at 1. On Sunday, April 19, a reporter emailed the White House press office asking,
   “Dr. Fauci said on Friday he would share a scientific paper with the press on the origin of the
   coronavirus. Can you please help me get a copy of that paper?” Id.

          RESPONSE: Disputed as a mischaracterization of the email exchange. The inquiry was

   sent not to Dr. Fauci, but to Katie Miller, who works for the Vice President. Fauci Dep. 202:12-

   14. Ms. Miller then likely forwarded the email to Dr. Fauci and asked him to respond. Id. at 202:12-

   12. It would not be unreasonable for Dr. Fauci to respond to a request from the Vice President’s

   office. Also note that Dr. Fauci provided links to several papers, including the one referenced in

   the PFOF. See Fauci Ex. 29 at 1. Regardless, this PFOF is irrelevant and contains no evidence that

   Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress




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   any theory on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           739. Dr. Fauci personally responded to this reporter, stating, “Bill: Here are the links to
   the scientific papers and a commentary about the scientific basis of the origins of SARS-CoV-2.”
   Fauci Ex. 29, at 1. He then provided three links. The first was a link to the online version of “The
   Proximal Origin of SARS-CoV-2.” The second and third were links to a paper and an online
   statement by Eddie Holmes, whom Dr. Fauci knew had begun secretly drafting the paper that
   became “The Proximal Origin of SARS-CoV-2” immediately after the clandestine Feb. 1
   conference call with Dr. Fauci, Jeremy Farrar, and others. Fauci Ex. 29, at 1. The second link to a
   paper authored by Holmes was “a commentary on [The Proximal Origin of SARS-CoV-2] in the
   journal Cell.” Fauci Dep. 202:25-203:1; see also id. at 203:2-16.

          RESPONSE: Undisputed that Dr. Fauci provided links to the reporter. Disputed as to the

   nature of the call and efforts to draft the paper—neither was not clandestine or secret, and the

   PFOF cites no evidence supporting those characterizations. See also Resp. to Pls.’ PFOF ¶ 648.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           740. On April 18 and 19, 2020, Dr. Fauci exchange cordial emails with Peter Daszak of
   the EcoHealth Alliance, who steers NIAID funds to finance bat coronavirus research with Dr. Shi
   Zhengli at the Wuhan Institute of Virology. On Saturday, April 18, Daszak emailed Dr. Fauci,
   calling him “Tony,” and stating: “As the PI of the R01 grant publicly targeted by Fox News
   reporters at the Presidential press briefing last night, I just wanted to say a personal thank you …
   for standing up and stating that the scientific evidence supports a natural origin for COVID-19 …
   not a lab release from the Wuhan Institute of Virology.” Fauci Ex. 30, at 1. Daszak also wrote:
   “Once this pandemic’s over I look forward to thanking you in person and let you know how
   important your comments are to us all.” Id. Dr. Fauci responded on April 19: “Peter: Many thanks
   for your kind note.” Id.

          RESPONSE: Undisputed, but further note that as Dr. Fauci testified, “Many thanks for

   your kind note” is a standard response. Fauci Dep. 206:20-25 (“That’s a very typical response of

   mine. I can show you 45,000 e-mails that say thank you for your kind note.”). Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,



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   encouragement, deception, or otherwise, to censor or suppress any theory on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           741. Dr. Fauci’s and Dr. Collins’s efforts to orchestrate and publicize “The Proximal
   Origin of SARS-CoV-2” as a method of discrediting the lab-leak theory were highly effective.
   “The Proximal Origin of SARS-CoV-2” became one of the most widely read and most publicized
   scientific papers in history, with pervasive media coverage using it to discredit the lab-leak theory.
   “The paper has been accessed online more than 5.7 million times and has been cited by more than
   2,000 media outlets. … It became one of the best-read papers in the history of science.” Jones
   Decl., Ex. BB, at 3.

           RESPONSE: Disputed that Dr. Fauci and Dr. Collins are responsible for the fact that the

   article is widely read, and it is unsurprising that a scientific paper about the origins of a global

   pandemic would be widely read during the pandemic. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          742. As a direct result of these efforts, speech and speakers advocating for the lab-leak
   theory of COVID-19’s origins were extensively censored on social media platforms.

           RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. Regardless, this PFOF contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   any theory on social media, nor evidence that any social media company did so at his instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          743. Twitter took aggressive censorship action against such speech and speakers. For
   example, on September 16, 2020, Twitter suspended the account of a Chinese virologist who
   claimed coronavirus was made in a lab. Fauci Ex. 31, at 1. “Twitter has suspended the account of
   a Chinese scientist who suggested that the novel coronavirus was created in a lab … despite
   inconclusive evidence.” Fauci Ex. 31 at 2.



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          RESPONSE: Disputed on the ground that this PFOF is based on a news article containing

   hearsay and journalistic characterization rather than record evidence. Disputed also that a social

   media company’s application of its own content moderation policies, to which all users agree,

   constitutes “censorship.” Disputed also that one isolated example of such application supports the

   allegation that Twitter took “aggressive. . . action against such speech and speakers.” In any event,

   this PFOF contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress any theory on social media, nor evidence that any

   social media company did so at his instruction, urging, or request. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           744. Facebook, likewise, took aggressive steps to censor the lab-leak theory on social
   media, even going so far as to formalize this policy as part of its official content-moderation policy.
   Fauci Ex. 32, at 3 (Facebook announcing that “we are expanding the list of false claims we will
   remove to include additional debunked claims about the coronavirus and vaccines,” including
   “COVID-19 is man-made or manufactured”). Facebook noted that “we already prohibit these
   claims in ads,” and promised “to take aggressive action against misinformation about COVID-19
   and vaccines.” Id. Facebook promised to “begin enforcing this policy immediately, with a
   particular focus on Pages, groups or accounts that violate these rules …. Groups, Pages, and
   accounts on Facebook that repeatedly share these debunked claims may be removed altogether.”
   Id.

          RESPONSE: Undisputed that on May 26, 2021, Facebook announced that it had updated

   its policies to expand “the list of false claims” it would “remove” from the platform, which list

   included claims that “COVID-10 is man-made or manufactured.” Fauci Ex. 32 at 3. Disputed also

   that a social media company’s application of its own content moderation policies, to which all

   users agree, constitutes “censorship.” Regardless, this PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media, nor evidence that any social media company did so at his instruction,




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   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           745. Like Twitter, Facebook censored even high-profile speakers who raised questions
   about the origins of COVID-19 or advanced the lab-leak hypothesis. For example, Facebook
   censored an article by award-winning British journalist Ian Birrell who raised “the question of the
   origins of the Covid-19 virus within Wuhan” and criticized the natural-origin theory of the virus.
   Fauci Ex. 33, at 1.

          RESPONSE: Undisputed that the cited news report states that an article by Ian Birrell

   “was labelled misinformation’ by Facebook “for asking questions about China.” Fauci Ex. 33 at

   1. Disputed, however, on the ground that this PFOF is based on a news article containing hearsay

   and journalistic characterization rather than record evidence. Disputed also that a social media

   company’s application of its own content moderation policies, to which all users agree, constitutes

   “censorship.” Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social

   media, nor evidence that any social media company did so at his instruction, urging, or request.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.3.b.

           746. Dr. Fauci claims that he is not aware of any suppression of speech about the lab-
   leak theory on social media: “I'm not aware of suppression of speech on social media to my
   knowledge…. I don't recall being aware of suppression of anything.” Fauci Dep. 208:10-14. He
   claims that this ignorance is because he does not pay any attention to anything said on social media:
   “This is not something that would be catching my attention because, you know, the social media
   and Twitter, I told you, I don't have a Twitter account. I don't tweet. I don't do Facebook. I don't
   do anything. So social media stuff, I don't really pay that much attention to.” Id. at 210:3-8. As
   noted above, Dr. Fauci’s emails and actions reflect extensive concern about what is said on social
   media, and his attempt to cast himself as someone with no knowledge of social media is not
   credible.

          RESPONSE: Disputed that a social media company’s application of its own content

   moderation policies, to which all users agree, constitutes “censorship.” Undisputed as to the

   quoted text of the cited testimony and emails, but disputed as to Plaintiffs characterization of the



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   testimony and emails as “reflect[ing] extensive concern about what is said on social media.” The

   PFOF does not cite any record evidence for this assertion. The only email cited by earlier PFOFs

   is one in which Dr. Fauci makes a single reference to “distortions on social media” as one reason

   to urge the WHO to act quickly on convening a larger group to objectively analyze the origins of

   COVID-19, see Pls.’ PFOF ¶¶ 674, 685 (citing Fauci Ex. 8, at 2), which falls far short of

   illustrating “extensive concern” about anything relating to social media. No none of Plaintiffs’

   PFOFs points to any evidence of “actions” by Dr. Fauci reflecting a “concern” about anything

   relating to social media. Accordingly, the record does not cast doubt on the credibility of Dr.

   Fauci’s testimony on this point. Regardless, this PFOF contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          747. Further, Dr. Fauci’s emails and interrogatory responses show a close relationship
   with the CEO and founder of Meta (Facebook/Instagram), Mark Zuckerberg.

          RESPONSE: Disputed. The PFOF neither cites to nor is supported by evidence of record.

   Dr. Fauci’s emails and NIAID’s interrogatory responses show a small amount of contact over a

   lengthy period of time in 2020, largely about facilitating three public-facing Facebook events to

   publicize information about COVID-19, see Ex. 187 at 58-60, and do not indicate a “close

   relationship” with Mr. Zuckerberg. Regardless, this PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media, nor evidence that any social media company did so at his instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          748. On February 27, 2020, Mark Zuckerberg emailed Dr. Fauci directly to inquire about
   the development of the COVID-19 vaccine and offer the assistance of the Chan-Zuckerberg
   foundation. Fauci Ex. 23, 1. Zuckerberg already had Dr. Fauci’s email, called Dr. Fauci by his first
   name “Tony,” and wrote as if he had a preexisting acquaintance with Dr. Fauci. Id. Dr. Fauci,
   likewise, responded to Zuckerberg on a first-name basis and with the familiar tone of an
   acquaintance. Fauci Ex. 23, at 2.

          RESPONSE: Undisputed that Mark Zuckerberg emailed Dr. Fauci on February 27, 2020,

   and that Mr. Zuckerberg already had Dr. Fauci’s email address, but note that Dr. Fauci’s email

   address is published on the NIAID website and available to the public. See Fauci Dep. 206:7-11,

   18-19. Disputed that Dr. Zuckerberg emailed “to inquire about the development of the COVID-19

   vaccine.” Mr. Zuckerberg states that he was “glad to hear [Dr. Fauci’s] statement that the covid-

   19 vaccine will be ready for human trials in six weeks” and asks if there are “any resources our

   foundation can help provide to potentially accelerate this or at least make sure it stays on track[.]”

   Fauci Ex. 23 at 1. Also disputed that Dr. Fauci and Mark Zuckerberg had a preexisting

   acquaintance and that referring to each other on a first-name basis suggested a preexisting

   acquaintance or any familiarity. Fauci Dep 173:19-20 (“You know, a lot of people call me Tony

   who have never even met me before.”). Regardless, this PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media, nor evidence that any social media company did so at his instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           749. Dr. Fauci claims that he does not recall whether he had already met Mark
   Zuckerberg. Fauci Dep. 173:17-174:5 (“I meet thousands of people. I’m not sure I ever met him
   in person.”). But in fact, Dr. Fauci still refers to Mark Zuckerberg by his first name. Id. at 289:9-
   16.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or




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   suppress any theory on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           750. On March 15, 2020, Mark Zuckerberg sent Dr. Fauci a lengthy email to offer close
   coordination between Dr. Fauci and Facebook on COVID-19 messaging. In the email, Zuckerberg
   thanked Dr. Fauci for his leadership, and “share[d] a few ideas of ways to help you get your
   message out.” Fauci Ex. 23, at 3. Zuckerberg made three proposals: (1) Facebook was about to
   launch a “Coronavirus Information Hub” visible at the top of the page to all Facebook users to
   “get authoritative information from reliable sources,” and Zuckerberg offered to include “a video
   from you” as a “central part of the hub,” id.; (2) Zuckerberg was “doing a series of livestreamed
   Q&As from health experts” for his 100 million followers and wanted Dr. Fauci to do one of these
   videos, id.; and (3) Zuckerberg advised Dr. Fauci that Facebook had “allocated technical resources
   and millions of dollars of ad credits for the US government to use for PSAs to get its message out
   over the platform,” and he wanted Dr. Fauci to recommend “a point person for the government
   response,” id.

          RESPONSE: The assertion that the email “offer[ed] close coordination” on COVID-19

   messaging is disputed as a mischaracterization of the email, which in fact simply offers “a few

   ideas of ways to help [Dr. Fauci] get [his] message out,” and ends by saying, “[a]gain, I know

   you’re incredibly busy, so don’t feel the need to respond if this doesn’t seem helpful.” Fauci Ex.

   23 at 3. Otherwise, undisputed. Regardless, this PFOF—which pertains to “get[ting] [Dr. Fauci’s]

   message out” rather than “censoring” anyone else’s—contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media, nor evidence that any social media company did so at his instruction, urging, or

   request. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          751. Dr. Fauci responded the next day, telling “Mark” that “[y]our idea and proposal
   sound terrific,” that he “would be happy to do a video for your hub,” and that “your idea about
   PSAs is very exciting.” Fauci Ex. 23, at 4. He copied his Special Assistant to put Zuckerberg in
   touch with the right point person for the government to arrange specially subsidized government
   messaging about COVID-19 on Facebook. Id.




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          RESPONSE: The first sentence is undisputed. The second sentence is disputed, because

   Dr. Fauci in fact copied the “Director of my Communications and Government Relations group,”

   who could “put [Mr. Zuckerberg’s] people in contact with the best person who could be the US

   Government point of contact for the PSAs.” Fauci Ex. 23 at 4. (Dr. Fauci also copied his Special

   Assistant for Mr. Zuckerberg to contact to “arrange for the video.” Id.). Regardless, this PFOF—

   which pertains to “get[ting] [Dr. Fauci’s] message out” rather than “censoring” anyone else’s—

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress any theory on social media, nor evidence that any social media

   company did so at his instruction, urging, or request. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           752. Zuckerberg replied the same day, stating “[w]e’d love to move quickly to help the
   effort and support getting these messages out.” Fauci Ex. 23, at 6.

          RESPONSE: Undisputed. Regardless, this PFOF—which pertains to “get[ting] [Dr.

   Fauci’s] message out” rather than “censoring” anyone else’s—contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media, nor evidence that any social media company did so at his instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          753. Dr. Fauci claims that the U.S. Government did not accept Facebook’s offer of free
   ad credits to support the Government’s COVID-19 messaging. Fauci Dep. 177:22-178:4 (“I don't
   believe that there was any money that was given from the Zuckerberg to the United States
   government to do PSAs. It's possible, but it certainly didn't happen to my knowledge. I don't recall
   money being given for PSAs.”). But at the time, Dr. Fauci described the proposal as “very exciting”
   and immediately followed up on Zuckerberg’s offer. Fauci Ex. 23, at 4. Separate emails from
   Facebook to the White House corroborate these ad credits. See, e.g., Doc. 174-1, at 46. Dr. Fauci’s
   testimony on this point is not credible.




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          RESPONSE: Undisputed that Dr. Fauci testified that he did not “recall money being given

   for PSAs.” Fauci Dep. 178:1-2. As Dr. Fauci also testified, he did not “have the authority to accept

   outside money like that. It would have to go through a different channel.” Id. at 177:19-21. Dr.

   Fauci’s excitement at Zuckerberg’s “idea about the PSAs” is not incompatible with the possibility

   that the Government would ultimately not accept the ad credits and thus does not undermine Dr.

   Fauci’s credibility. Moreover, the document cited does not “corroborate” that ad credits were made

   to the United States Government. It states that “[s]ince January, [Facebook has] provided more

   than $30 million in ad credits to help governments, NGOs and other organizations reach people

   with COVID-19 vaccine information and other important messages.” Dkt. 174-1, at 45 (emphasis

   added). Regardless, this PFOF—which pertains to “get[ting] [Dr. Fauci’s] message out” rather

   than “censoring” anyone else’s—is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress any theory on

   social media, nor evidence that any social media company did so at his instruction, urging, or

   request. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          754. Dr. Fauci and Zuckerberg have “interacted on Facebook Zoom-type podcasts.”
   Fauci Dep. 175:17-18. Dr. Fauci did “[t]hree live stream Facebook-type Q and As” about COVID-
   19 with Zuckerberg. Fauci Dep. 177:2-4.

          RESPONSE: Undisputed. Regardless, this PFOF—which pertains to “get[ting] [Dr.

   Fauci’s] message out” rather than “censoring” anyone else’s—contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress any

   theory on social media, nor evidence that any social media company did so at his instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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          755. Dr. Fauci’s interrogatory responses reveal extensive direct communications
   between Dr. Fauci and Zuckerberg. See Scully Ex. 12, at 33, 53-54 (identifying 13 communications
   between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual meetings, and live
   broadcasts, over a nine-month period in 2020).

          RESPONSE: Disputed that 13 “communications” (three of which are publicly available

   interviews, and one of which was simply a missed call) over a nine-month period is “extensive

   direct communications.” See Scully Ex. 12 at 53-54. Regardless, this PFOF—which pertains to

   “get[ting] [Dr. Fauci’s] message out” rather than “censoring” anyone else’s—contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress any theory on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           756. Reviewing the foregoing facts about Dr. Fauci’s communications with Farrar,
   Eddie Holmes, and others, former Director of the CDC Robert Redfield “had a dawning
   realization. He concluded there’d been a concerted effort not just to suppress the lab-leak theory
   but to manufacture the appearance of a scientific consensus in favor of a natural origin. ‘They
   made a decision, almost a P.R. decision, that they were going to push one point of view only’ and
   suppress rigorous debate, said Redfield. ‘They argued they did it in defense of science, but it was
   antithetical to science.’” Jones Decl., Ex. AA.

          RESPONSE: Disputed on the ground that this PFOF is based on a news article containing

   hearsay and journalistic characterization rather than record evidence. Also disputed as a

   mischaracterization of the cited article, which states that Dr. Redfield expressed his purported

   “dawning realization” after “[r]eading the Lancet statement,” not upon reading any of the

   “communications with Farrar” and others discussed above, and thus Dr. Redfield’s opinion is

   without foundation in the evidence and is therefore irrelevant. See Jones Decl., Ex. AA at 27.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress any theory on social




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   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          B.      Dr. Fauci’s Efforts to Suppress Speech on Hydroxychloroquine.

           757. On May 22, 2020, The Lancet published an online article entitled
   “Hydroxychloroquine or chloroquine with or without a macrolide for treatment of COVID-19: a
   multinational registry analysis.” Fauci Ex. 35, at 1. The article purported to analyze 96,032
   patients to compare cohorts who did and did not receive hydroxychloroquine or chloroquine to
   treat COVID-19. Id. The study concluded that hydroxychloroquine and chloroquine were
   “associated with decreased in-hospital survival and an increased frequency of ventricular
   arrhythmias when used for COVID-19.” Id.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           758. On May 27, 2020, Dr. Fauci publicly cited this study to claim that
   hydroxychloroquine is “not effective against coronavirus.” Fauci Ex. 34, at 1. Dr. Fauci “became
   the first Trump administration official to say definitively that hydroxychloroquine is not an
   effective treatment for the coronavirus.” Id. at 2. “‘The scientific data is really quite evident now
   about the lack of efficacy,’ Fauci … said on CNN.” Id.

          RESPONSE: Disputed that Ex. 34 shows that Dr. Fauci publicly cited to the study

   referenced in Plaintiffs’ PFOF ¶ 757, as the article quotes Dr. Fauci stating that “[t]he scientific

   data is really quite evident now about the lack of efficacy,” without referring to any particular

   study. Fauci Ex. 34 at 2. And as Dr. Fauci testified, “[t]here was information coming from a

   number of studies, some of which were negative studies that showed it did not work. And others

   were positive studies to show that it did not work.” Fauci Dep. 219:19-220:1. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on hydroxychloroquine on




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   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          759. Dr. Fauci’s comments were based on the May 22 Lancet study. Id. at 3 (“Fauci’s
   comments come days after the Lancet published a 96,000-patient observational study that
   concluded that hydroxychloroquine had no effect on Covid-19 and may even have caused some
   harm.”).

          RESPONSE: Disputed as unsupported on the face of the quoted statement from the cited

   news article. Note also that the record shows that Dr. Fauci’s comments were based on

   “information coming from a number of studies.” Fauci Dep. 219:19-220:1; Resp. to Pls.’ PFOF

   ¶ 758. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on

   hydroxychloroquine on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           760. The Lancet article was an observational study, not a randomized trial. At the time,
   “[t]here [wa]s no data yet from randomized, controlled clinical trials of hydroxychloroquine – the
   gold standard for evaluating potential treatments.” Fauci Ex. 34, at 4. “But Fauci was unequivocal
   on [May 27, 2022], saying that ‘the data are clear right now.’” Id.

          RESPONSE: Undisputed that the PFOF accurately quotes the article from Politico at

   Fauci Ex. 34, which describes the Lancet article as “a 96,000-patient observational study that

   concluded that hydroxychloroquine had no effect on COVID-19 and may have even caused some

   harm.” Fauci Ex. 34 at 3. Regardless, this PFOF is irrelevant and contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   speech on hydroxychloroquine on social media. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           761.     Just a few days later, The Lancet retracted the May 22, 2022 study. Fauci Ex. 35,
   at 1. An article reporting on the retraction noted that the study’s authors “were unable to confirm
   that the data set was accurate,” that “several concerns were raised with respect to the veracity of
   the data,” the study may have “include[ed] more cases than possible,” and that “[a] first-year



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   statistics major could tell you about major flaws in the design of the analysis.” Jones Decl., Ex.
   DD, at 2-3.

          RESPONSE: Undisputed that the PFOF accurately quotes The Lancet’s retraction.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on

   hydroxychloroquine on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           762. Thus, Dr. Fauci’s initial dismissal of hydroxychloroquine was based on a purely
   observational study – not a randomized, controlled trial – and one that was retracted for glaring
   errors just days later.

          RESPONSE: Disputed that Dr. Fauci was solely relying on the study in The Lancet. Dr.

   Fauci testified that “[t]here was information coming from a number of studies, some of which were

   negative studies that showed it did not work. And others were positive studies to show that it did

   not work.” Fauci Dep. 219:19-220:1. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           763. Dr. Fauci testified that he did not recall that The Lancet study he cited to discredit
   the efficacy of hydroxychloroquine had been retracted. Fauci Dep. 223:7 (“I don’t recall it being
   retracted.”).

          RESPONSE: Disputed as a mischaracterization of Dr. Fauci’s testimony, which explained

   that “I don’t recall it being retracted. I might have at the time heard that it was retracted, but it

   wasn’t the only paper that was on hydroxychloroquine.” Fauci Dep. 223:7-10. Also disputed that

   the Lancet study, as opposed to “a number of studies,” was the source of Dr. Fauci’s views about

   the efficacy of hydroxychloroquine. See Resp. to Pls.’ PFOF ¶ 758. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,



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   deception, or otherwise, to censor or suppress speech on hydroxychloroquine on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

            764. Dr. Fauci stepped up his public campaign to discredit hydroxychloroquine by
   insisting that its effectiveness could only be judged by undergoing rigorous, randomized, double-
   blind, placebo-based studies, notwithstanding his previous reliance on the less-than-rigorous
   observational study in The Lancet that was subsequently retracted. On July 31, 2020, Dr. Fauci
   testified before the House Select Subcommittee on Coronavirus Crisis, during which he stated:
   “The point that I think is important, because we all want to keep an open mind, any and all of the
   randomized placebo-controlled trials, which is the gold standard of determining if something is
   effective, none of them had shown any efficacy by hydroxychloroquine. Having said that, I will
   state, when I do see a randomized placebo-controlled trial that looks at any aspect of
   hydroxychloroquine, either early study, middle study, or late, if that randomized placebo-
   controlled trial shows efficacy, I would be the first one to admit it and to promote it. But I have
   not seen yet a randomized placebo-controlled trial that’s done that. And in fact, every randomized
   placebo-controlled trial that has looked at it, has shown no efficacy. So, I just have to go with the
   data. I don’t have any horse in the game one way or the other, I just look at the data.” See
   https://www.youtube.com/watch?v=RkNC5OQD2UE.

           RESPONSE: Disputed that Dr. Fauci’s opinion on hydroxychloroquine was solely based

   on the study in the Lancet, as opposed to “a number of studies.” See Resp. to Pls.’ PFOF ¶ 758.

   The accuracy of the quoted testimony is undisputed. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress speech on hydroxychloroquine on social media. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E.,

   Arg. § II.B.3.b.

           765. Despite his insistence before a congressional committee that randomized, placebo-
   controlled trials were the determining factor for his opinion regarding the effectiveness of
   hydroxychloroquine in the treatment of COVID-19, Dr. Fauci quietly admitted that such rigorous
   studies are not actually required to determine the efficacy of a therapeutic drug. Dr. Fauci was
   asked, “Do you recall saying in connection with the discussion of hydroxychloroquine that a
   randomized double blind placebo based study is the gold standard?” Fauci Dep. 244:8-11. He
   replied, “That is the gold standard for everything. It isn’t always needed, but for the most part, it’s
   the gold standard.” Id. at 244:12-14 (emphasis added).




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          RESPONSE: Disputed as a mischaracterization of the quoted testimony. Dr. Fauci did not

   testify that randomized, placebo-controlled trials were not required to determine the efficacy of a

   therapeutic drug. Dr. Fauci testified that “That is the gold standard for everything. It isn’t always

   needed, but for the most part, it’s the gold standard.” Fauci Dep. 244:12-14. When Dr. Fauci

   testified that such trials were not always needed, Plaintiffs did not ask Dr. Fauci to explain when

   they were not needed or whether they were needed to determine the efficacy of a therapeutic drug,

   and there is nothing in the record to indicate that Dr. Fauci was speaking about showing the

   efficacy of a therapeutic drug. There is no inconsistency between Dr. Fauci’s testimony to the

   congressional committee and Dr. Fauci’s deposition testimony, both of which said that randomized

   placebo-controlled studies were the “gold standard.” Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress speech on hydroxychloroquine on social media. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E.,

   Arg. § II.B.3.b.

           766. Dr. Fauci’s sudden reversal concerning the critical standards for scientific studies
   to determine the effectiveness of hydroxychloroquine demonstrated a lack of candor to the House
   Select Subcommittee on Coronavirus Crisis. Indeed, Dr. Fauci misled the Committee when he
   failed to disclose that randomized, double-blind, placebo-based studies are not always needed and
   that he previously relied on the observational, i.e., non-randomized, non-double-blind, non-
   placebo-based study in The Lancet to form an opinion about that drug’s efficacy in the first place.
   Dr. Fauci lacks credibility on this point.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. There is no inconsistency between Dr. Fauci’s

   testimony to the congressional committee and Dr. Fauci’s deposition testimony, both of which said

   that randomized placebo-controlled studies were the “gold standard.” See Resp. to Pls.’ PFOF

   ¶ 765. Moreover, Plaintiffs assume without any basis in evidence that Dr. Fauci’s opinion on




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   hydroxychloroquine was based solely on the study in The Lancet when Dr. Fauci testified that: (1)

   “[t]here was information coming from a number of studies, some of which were negative studies

   that showed it did not work. And others were positive studies to show that it did not work,” Fauci

   Dep. 219:22-220:1; (2) that the study in The Lancet “wasn’t the only paper that was on

   hydroxychloroquine,” id. 223:7-10; and (3) that his “opinion on the effect of hydroxychloroquine

   was based on accumulating data from a number of studies,” id. at 223:14-18. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on hydroxychloroquine on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           767. Despite mounting evidence against his position, Dr. Fauci testified that his opinion
   against hydroxychloroquine was based on other studies as well as the retracted article in The
   Lancet, but he could not identify any of those studies. Fauci Dep. 223:12-18 (“I don’t recall
   specifically what those studies are now.”).

          RESPONSE: Disputed that there was “mounting evidence” against Dr. Fauci’s position.

   On the contrary, “[t]here was information coming from a number of studies, some of which were

   negative studies that showed it did not work. And others were positive studies to show that it did

   not work,” Fauci Dep. 219:22-220:1. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           768. Dr. Fauci did not retreat from his hard public stance against hydroxychloroquine.
   On July 26, 2020, a group called “America’s Frontline Doctors” held a press conference at the
   U.S. Capitol criticizing the government’s response to the COVID-19 pandemic and touting the
   benefits of hydroxychloroquine in treating the coronavirus. Fauci Ex. 38, at 5.




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          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           769. Dr. Fauci responded to this event with highly visible public statements condemning
   the use of hydroxychloroquine. For example, he stated on “Good Morning America,” that “[t]he
   overwhelming prevailing clinical trials that have looked at the efficacy of hydroxychloroquine
   have indicated that it is not effective in coronavirus disease.” Fauci Ex. 36, at 5. Dr. Fauci made
   these comments in direct response to the public claims of America’s Frontline Doctors. Fauci Dep.
   227:7-228:13. He also stated on MSNBC’s “Andrea Mitchell Reports” that the video of the press
   conference by America’s Frontline Doctors constituted “a video out there from a bunch of people
   spouting something that isn’t true.” Fauci Ex. 37, at 3.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           770. Dr. Fauci also stated that “the cumulative data on trials, clinical trials that were
   valid, namely clinical trials that were randomized and controlled in a proper way, … showed
   consistently that Hydroxychloroquine is not effective in the treatment of coronavirus disease or
   COVID-19.” Fauci Ex. 37, at 3. But two months earlier, he had said “the data are clear right now”
   when no such studies existed. Fauci Ex. 34, at 4.

          RESPONSE: The first sentence is undisputed. The second sentence is disputed to the

   extent it alleges that “no such studies existed” at the time of Dr. Fauci’s statement, which is based

   only on a news report from Politico rather than evidence of record. In any event, the two statements

   from Dr. Fauci are not incompatible. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.




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           771.     Social-media platforms reacted by aggressively censoring the video of America’s
   Frontline Doctors. Facebook removed the video when it was “the top-performing Facebook post
   in the world,” and “had accumulated over 17 million views by the time of its censorship by
   Facebook.” Fauci Ex. 38, at 3, 4. Further, “Facebook’s decision to censor the livestream was
   quickly followed by YouTube, the Google-owned video-sharing platform.” Id. at 6. “The video
   had 80,000 views on YouTube prior to its removal.” Id. “Following Facebook and YouTube’s
   removal of the video, Twitter followed suit….” Id.; see also Fauci Ex. 36, at 3 (noting that “Twitter
   … removed the video, saying it was ‘in violation of our COVID-19 misinformation policy’”).

          RESPONSE: This PFOF is disputed on numerous grounds. First and foremost, Plaintiffs

   cite no evidence to support their naked assertion that any action taken by any social media company

   regarding the video by America’s Frontline Doctors was taken in “react[ion]” to anything stated

   by Dr. Fauci. Second, disputed that a social media company’s application of its own content

   moderation policies, to which all users agree, constitutes “censorship.” Third, disputed on the

   ground that this PFOF is based on news articles containing hearsay and journalistic

   characterization, rather than record evidence. Regardless, this PFOF contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   speech on hydroxychloroquine on social media, nor evidence that any social media company did

   so at his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          772. Dr. Fauci professed to be unaware of whether 17 million views of a video on
   Facebook are a large number of views: “I don't know what 17 million views means. What's the
   denominator? Is 17 million a large amount? Is it a small amount? I don't go on social media, so I
   don't know what 17 million views means.” Fauci Dep. 236:7-11. It is common sense that 17
   million views are a large number of views. Dr. Fauci’s testimony on this point is not credible.

          RESPONSE: Disputed as argumentative and unsupported by the cited testimony, but the

   text of the quoted testimony is undisputed. Regardless, this PFOF contains no evidence that Dr.

   Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   speech on hydroxychloroquine on social media, nor evidence that any social media company did




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   so at his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           773. Dr. Fauci does not deny that he or his staff at NIAID may have communicated with
   Facebook regarding the censorship of the America’s Frontline Doctors video. Instead, he claims
   that he does not recall whether they communicated with Facebook about it, and that it is possible
   that they did so. Fauci Dep. 238:2-5 (“I don't recall anybody communicating with them about that.
   Could have been, but I don't recall anybody -- I don't recall anybody communicating with the social
   media people.”); see also id. at 238:6-10. He also does not deny that other federal officials may do
   so, but he claims that “I don’t recall any of that” and “it just doesn’t ring a bell to me right now.”
   Id. at 238:21-239:7. He claims he doesn’t “pay attention” to whether his staff or other federal
   officials communicate with social-media platforms about censorship because “I have a really
   important day job that I work at.” Id. at 238:19-20.

          RESPONSE: Disputed as a mischaracterization of the quoted testimony, in which Dr.

   Fauci was not asked about him “or his staff at NIAID” communicating with Facebook “regarding

   censorship” of the video (or any other content). Rather, Dr. Fauci was asked in general whether he

   “recall[s] anyone at NIAID communicating with social media people,” to which he responded:

   “To my recollection, I don’t recall. But I don’t know everything that everybody does. But I don’t

   recall anybody communicating with social media.” Fauci Dep. 238:6-10. Otherwise, the accuracy

   of the quoted text of the depositions is undisputed. Regardless, this PFOF contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media, nor evidence that any social media

   company did so at his instruction, urging, or request. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          774. Nevertheless, regarding the decision by YouTube and Twitter to follow Facebook
   in censoring the video, Dr. Fauci admits that “Yes, I knew of that.” Id. at 239:8-13.

          RESPONSE: Disputed. This testimony was incorrectly transcribed and corrected in Dr.

   Fauci’s errata sheet. The correct quotation, in response to Plaintiffs’ counsel asking “Can you turn

   one page forward in this exhibit, in that first full paragraph that goes all the way across the page.




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   ‘Facebook’s decision to censor the Livestream was quickly followed by YouTube, the Google-

   owned video sharing platform’?” was “Yeah, I see that.” Disputed also that a social media

   company’s application of its own content moderation policies, to which all users agree, constitutes

   “censor[ship].” Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on

   hydroxychloroquine on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           775. A few days later, on August 1, 2020, the web host provider for America’s Frontline
   Doctors shut down their website. Id. at 242:14-243:8; Fauci Ex. 39. Dr. Fauci testifies that he does
   not recall this occurrence. Fauci Dep. 243:13-18.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on hydroxychloroquine on social media, nor evidence that any social media

   company did so at his instruction, urging, or request. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           776. On November 18, 2022, a meta-analysis of 449 studies on the efficacy of
   hydroxychloroquine considered “449 HCQ COVID-19 studies, 351 peer reviewed, 371 comparing
   treatment and control groups.” Fauci Ex. 40, at 1. The meta-analysis concluded that “[l]ate
   treatment and high dosages may be harmful, while early treatment consistently shows positive
   results.” Id. It also noted that “[n]egative evaluations” of hydroxychloroquine “typically ignore
   treatment delay.” Id. And it noted that “HCQ/CQ was adopted for early treatment in all or part of
   41 countries.” Id.

          RESPONSE: Undisputed that the PFOF accurately summarizes and quotes the referenced

   document. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech on




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   hydroxychloroquine on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           C.      Dr. Fauci’s “Devastating Takedown” of the Great Barrington Declaration.

          777. Dr. Fauci recommended Dr. Clifford Lane of NIAID to participate in a WHO
   mission to China in February 2020. Fauci Dep. 139:15.

           RESPONSE: Undisputed.

           778. On April 3, 2020, the NIH Record wrote a report on Lane’s trip entitled “NIAID’s
   Lane Discusses WHO COVID-19 Mission to China. Fauci Ex. 20, at 1. Lane praised China’s
   response to the pandemic, especially their reliance on lockdowns and “extreme … social
   distancing”: “The Chinese were managing this in a very structured, organized way,’ he explained.
   ‘When we got there, the outbreak was already coming under control in China. The measures they
   put in place appeared to be working…. It demonstrated their successful response…. From what I
   saw in China, we may have to go to as extreme a degree of social distancing to help bring our
   outbreak under control.” Id. at 5-6.

           RESPONSE: Undisputed, except to the extent the PFOF asserts that Lane “praised China’s

   response to the pandemic,” which is a characterization that is unsupported by the article’s reporting

   of Lane’s observations reflected in the quoted text of the article. Regardless, this PFOF is irrelevant

   and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress speech about the Great Barrington Declaration on social media.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.3.b.

          779. Dr. Fauci discussed this conclusion with Lane when he returned from China: “Dr.
   Lane was very impressed about how from a clinical public health standpoint, the Chinese were
   handling the isolation, the contact tracing, the building of facilities to take care of people, and that's
   what I believed he meant when he said were managing this in a very structured, organized way.”
   Fauci Dep. 165:4-11.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that




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   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          780. Dr. Fauci admits that Lane “did discuss with me that the Chinese had a very
   organized way of trying to contain the spread in Wuhan and elsewhere. … he mentioned that they
   had a very organized, well-regimented way of handling the outbreak.” Id. at 166:1-7.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           781. Dr. Fauci came to agree with Dr. Lane’s rosy assessment of China’s draconian
   response to the outbreak: “Dr. Lane is a very astute clinician, and I have every reason to believe
   that his evaluation of the situation was accurate and correct.” Id. at 166:24-167:1.

           RESPONSE: Disputed as the Plaintiffs’ characterization that Dr. Lane’s assessment was

   “rosy,” which is unsupported by the article reporting on Lane’s observations or Dr. Fauci’s

   testimony, but the quoted testimony is accurate. Regardless, this PFOF is irrelevant and contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech about the Great Barrington Declaration on social media. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E.,

   Arg. § II.B.3.b.

           782. On Feb. 22, 2020, Dr. Lane sent an email stating, “China has demonstrated that this
   infection can be controlled, albeit at great cost.” Fauci Ex. 21, at 1.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that




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   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          783. On October 4, 2020, Plaintiffs Dr. Jay Bhattacharya of Stanford and Dr. Martin
   Kulldorff of Harvard, along with Dr. Sunetra Gupta of Oxford, published online the “Great
   Barrington Declaration,” which was one-page treatise opposing reliance on lockdowns and
   advocating for an approach to COVID-19 called “focused protection.” Fauci Ex. 41.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           784. The Great Barrington Declaration criticized the social-distancing and lockdown
   approaches to the pandemic endorsed by government experts such as Dr. Fauci and Cliff Lane:
   “As infectious disease epidemiologists and public health scientists we have grave concerns about
   the damaging physical and mental health impacts of the prevailing COVID-19 policies, and
   recommend an approach we call Focused Protection.” Id. It was very critical of such government
   policies: “Current lockdown policies are producing devastating effects on short and long-term
   public health. The results (to name a few) include lower childhood vaccination rates, worsening
   cardiovascular disease outcomes, fewer cancer screenings and deteriorating mental health –
   leading to greater excess mortality in years to come, with the working class and younger members
   of society carrying the heaviest burden. Keeping students out of school is a grave injustice.
   Keeping these measures in place until a vaccine is available will cause irreparable damage, with
   the underprivileged disproportionately harmed.” Id. It called for an end to lockdowns: “The most
   compassionate approach that balances the risks and benefits of reaching herd immunity, is to allow
   those who are at minimal risk of death to live their lives normally to build up immunity to the virus
   through natural infection, while better protecting those who are at highest risk. We call this
   Focused Protection.” Id.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.




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            785. The Declaration called for an end of government-imposed lockdowns and an
   immediate return to normal life for those who are low-risk: “Those who are not vulnerable should
   immediately be allowed to resume life as normal. Simple hygiene measures, such as hand washing
   and staying home when sick should be practiced by everyone to reduce the herd immunity
   threshold. Schools and universities should be open for in-person teaching. Extracurricular
   activities, such as sports, should be resumed. Young low-risk adults should work normally, rather
   than from home. Restaurants and other businesses should open. Arts, music, sport and other
   cultural activities should resume. People who are more at risk may participate if they wish, while
   society as a whole enjoys the protection conferred upon the vulnerable by those who have built up
   herd immunity.” Id.

          RESPONSE: Undisputed that the PFOF accurately quotes the Declaration. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech about the Great Barrington

   Declaration on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           786. The Declaration was thus highly critical of the lockdown policies defended by Dr.
   Fauci and Dr. Cliff Lane of NIAID since Dr. Lane’s trip to China at the beginning of the pandemic.
   The Declaration was “going against the global political consensus, which holds that lockdowns
   are key to minimising mortality to Covid-19.” Fauci Ex. 48, at 3. After it was posted online, it
   rapidly gathered signatures from doctors and scientists, as well as members of the public.

          RESPONSE: Disputed that Drs. Fauci or Lane “defended” “lockdowns,” which term is

   vague and subject to various interpretations, as opposed to social distancing. As Dr. Fauci testified,

   in his view “the lockdowns” put in place in China “were the types of lockdowns that were really

   quite extreme. They would essentially lock people in their homes, which was extreme to do that.”

   See Fauci Dep. 168:12-15. He further testified, “It was my opinion that social distancing would be

   very important….” Id. at 168:25-169:3. The last sentence is disputed as without citation to and

   unsupported by evidence of record. The remaining allegations are undisputed. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech about the Great Barrington




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   Declaration on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            787. Four days later, on October 4, 2020, Dr. Francis Collins emailed Dr. Fauci and Cliff
   Lane, citing the Great Barrington Declaration. Fauci Ex. 42, at 1. Dr. Collins stated: “Hi Tony and
   Cliff, See https://gbdeclaration.org. This proposal from the three fringe epidemiologists who met
   with the Secretary seems to be getting a lot of attention – and even a co-signature from Nobel Prize
   winner Mike Leavitt at Stanford. There needs to be a quick and devastating published take down
   of its premises. I don’t see anything like that on line yet – is it underway? Francis.” Id.

           RESPONSE: Undisputed. Regardless, this PFOF—which pertains to responding to rather

   than “censoring” anyone’s views regarding COVID-19—is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           788. This email seeking Dr. Fauci’s assistance in a “quick and devastating … take down”
   of the Great Barrington Declaration” is strikingly similar to Dr. Collins’ email to Dr. Fauci on
   April 16, 2020, asking Dr. Fauci’s “help [to] put down this very destructive conspiracy,” i.e., the
   lab-leak hypothesis. Fauci Ex. 27, at 1. In both cases, Dr. Collins sought Dr. Fauci’s aid in
   discrediting and silencing an online narrative that federal officials disfavored, and in both cases,
   Dr. Fauci promptly and effectively complied.

           RESPONSE: Disputed that Dr. Collins was attempting to “silenc[e] an online narrative

   that federal officials disfavored,” and that Dr. Fauci “aid[ed]” in any such effort. That is an

   argumentative mischaracterization manifestly contradicted by the cited evidence and unsupported

   by any evidence of record. Rather than “silencing” a viewpoint he disagreed with, Dr. Collins was

   seeking only to respond to it. In the quoted email at exhibit 42, Dr. Collins does not “seek[]” Dr.

   Fauci’s assistance in a ‘quick and devastating . . . take down’” of the Great Barrington Declaration

   but rather states: “There needs to be a quick and devastating published take down of

   [Declaration’s] premises. I don’t see anything like that on line yet – is it underway?” Fauci Ex. 42




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   at 1. As Dr. Fauci testified about that email: “I don’t know specifically what [Dr. Collins] meant.

   But knowing Francis [Collins], he is a scholar. He’s likely talking about writing a scholarly article

   to contest some of the premise. That’s what I would imagine Francis is referring to. That would be

   his style. That if someone writes an article that he disagrees with, that he would write a

   counterargument to challenge the premise…” Fauci Dep. 258:18-25. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress speech about the Great Barrington Declaration on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

            789. Dr. Collins’ question to Dr. Fauci in the email, “Is it underway?” implies that Dr.
   Collins expected Dr. Fauci to be already working on a “quick and devastating … take down” of
   the Declaration, or to be aware of others working on one. Fauci Ex. 42, at 1. Dr. Fauci denies that
   Dr. Collins had any reason to think that Dr. Fauci might be working on a refutation of the Great
   Barrington Declaration, because “[t]his is not something I would be involved in,” because “I have
   a very important day job that is running a $6.4 billion institute.” Fauci Dep. 260:11-20. Given Dr.
   Fauci’s immediately subsequent attempts to refute and discredit the Great Barrington Declaration,
   this testimony is not credible.

          RESPONSE: Disputed as to Plaintiffs characterization of Dr. Collins’ alleged expectation,

   which is unsupported speculation. Moreover, when asked at his deposition if Dr. Collins “ha[d]

   any reason to think that [Dr. Fauci] might be working on . . . some kind of refutation of the Great

   Barrington Declaration,” Dr. Fauci said “Absolutely not. . . . No. This is not something I would be

   involved in.” Fauci Dep. 260:11-17. As Dr. Fauci further testified: “I don’t know what [Dr.

   Collins] meant. I think he was just speaking bluntly. I don’t think he was specifically pointing to

   us to have known if there was something online. He scours the online better than we do. He’s got

   an entire staff that does that. So I think it was just a casual comment, ‘Hey, you guys. Did you see

   anything online yet.’” Id. at 258:21-259:7. Also dispute the assertion that Dr. Fauci took

   “immediate[] subsequent attempts to refute and discredit” the Declaration, which is an



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   argumentative assertion unsupported by any citation to the record and thus does not support the

   assertion that Dr. Fauci’s testimony is not credible. Regardless, this PFOF is irrelevant and

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress speech about the Great Barrington Declaration on social media.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.3.b.

           790. The same day as Dr. Collins’ email, October 8, 2020, Dr. Fauci wrote back to Dr.
   Collins, stating “Francis: I am pasting in below a piece from Wired that debunks this theory. Best,
   Tony.” Fauci Ex. 43, at 1. Dr. Fauci followed up the same day with an email to Dr. Collins linking
   to an article by Gregg Gonsalves which Dr. Fauci called “[a]nother refutation of the herd immunity
   approach.” Fauci Ex. 44, at 1.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          791. Dr. Fauci has known Gregg Gonsalves for decades, since the 1980s. Fauci Dep.
   265:16-19. Dr. Fauci does not deny that he may have contacted Gregg Gonsalves before Gonsalves
   wrote this piece attacking the Great Barrington Declaration, but claims he does not recall. Id. at
   268:8-19 (“I don’t recall. I might have.”).

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           792. Dr. Fauci and Dr. Collins followed up with a series of public media statements
   attacking the Great Barrington Declaration. On October 14, 2020, the Washington Post ran a story
   entitled, “Proposal to hasten herd immunity to the coronavirus grabs White House attention but



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   appalls top scientists.” Fauci Ex. 45, at 1. In the article, Dr. Collins described the Great Barrington
   Declaration and its authors as “fringe” and “dangerous”: “This is a fringe component of
   epidemiology. This is not mainstream science. It’s dangerous.” Id. at 3.

          RESPONSE: The first sentence of the PFOF is disputed as lacking any record citation; the

   remainder of the PFOF does not reference any statement by Dr. Fauci that “attack[s] the Great

   Barrington Declaration,” or a “series of public media statements” by either Dr. Fauci or Dr.

   Collins. The remainder of the PFOF describing the news report of one public statement by Dr.

   Collins is undisputed. Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech

   about the Great Barrington Declaration on social media. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          793. Dr. Fauci consulted with Dr. Collins before he told the Washington Post that the
   Great Barrington Declaration represented a “fringe” and “dangerous” idea. Fauci Dep. 272:4-7.

          RESPONSE: Disputed. As corrected by the errata, see Ex. 184 at 11 (Fauci Dep. Errata

   (Dec. 19, 2022)), Dr. Fauci did not say that he consulted with Dr. Collins on this point. Regardless,

   this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech about the Great Barrington

   Declaration on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           794. Dr. Fauci endorsed these comments in an email to Dr. Collins on October 13, 2020,
   stating, “[w]hat you said was entirely correct.” Fauci Ex. 46, at 1.

          RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that




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   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           795. Dr. Fauci admits that Dr. Collins could have been concerned about the spread of
   the ideas in the Declaration on social media when he called it “fringe” and “dangerous.” Fauci
   Dep. 274:19-20.

           RESPONSE: Disputed as a mischaracterization of Dr. Fauci’s testimony. Dr. Fauci

   testified that “I don’t see a connection here with what he’s saying and things being spread on social

   media, but perhaps, since a lot of things get spread on social media, I’m sure that – I’m not sure,

   but that could have been something that he was concerned with.” Fauci Dep. 274:15-20.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech about the Great

   Barrington Declaration on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           796. The next day, October 15, 2020, Dr. Fauci echoed Dr. Collins’ comments, calling
   the Declaration “nonsense” and “dangerous.” Fauci Ex. 47, at 1. Describing the proposal as
   “letting infections rip as it were,” Dr. Fauci stated: “Quite frankly that is nonsense, and anybody
   who knows anything about epidemiology will tell that that is nonsense and very dangerous.” Id.
   at 3.

           RESPONSE: Undisputed. Regardless, this PFOF is irrelevant and contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech about the Great Barrington Declaration on social media. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           797. Dr. Fauci testified that “it’s possible that” he coordinated with Dr. Collins on their
   public statements attacking the Great Barrington Declaration. Fauci Dep. 279:23-24.

           RESPONSE: Disputed. Dr. Fauci testified that “I don’t believe so, but I don’t – no, I’m

   not – that’s not our style to be coordinating things. I don’t know – it’s possible we discussed it,



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   depending on what your coordination is.” Fauci Dep. 279:21-24. Regardless, this PFOF is

   irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress speech about the Great Barrington Declaration on

   social media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           798. Dr. Fauci also testified of himself and Dr. Collins that “that’s not our style to be
   coordinating things.” Id. at 279:22-23. In light of the extensive coordination with Dr. Collins about
   the lab-leak theory, and the coordination about the Great Barrington Declaration, that testimony is
   not credible.

          RESPONSE: The quoted testimony is undisputed, but the remainder of the PFOF is

   disputed as argumentative and lacking any citation to or support in the record. Regardless, this

   PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech about the Great Barrington

   Declaration on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           799. Shortly after Dr. Collins’ email to Dr. Fauci seeking a “quick and devastating …
   take down” of the Great Barrington Declaration, the Declaration and its authors, Drs. Bhattacharya
   and Kulldorff, experienced extensive censorship on social media. See infra. In October 2020,
   Google deboosted the search results for the Declaration, so that “most users in English-speaking
   countries, when they google ‘Great Barrington Declaration,’ will not be directed to the declaration
   itself but to articles that are critical of the declaration.” Fauci Ex. 48, at 4.

          RESPONSE: The description of Dr. Collins’s email as “seeking a ‘quick and

   devastating . . . take down’” is disputed as a mischaracterization of the email, for the reasons stated

   in the response to Plaintiffs’ PFOF ¶¶ 788-89. Also disputed that “Drs. Bhattacharya and

   Kulldorff[] experienced extensive censorship on social media,” which assertion is vague and

   unsupported by any citation to the record. Also disputed that social media companies’ application

   of their own content moderation policies, to which all users agree, constitutes “censorship.” The




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   PFOF’s assertions regarding Google’s “deboost[ing]” the Declaration are disputed as based on a

   news article containing hearsay and journalistic characterization rather than record evidence. U

   Also disputed to the extent the PFOF implies that Dr. Collins’s email and Google’s alleged actions

   are somehow related. Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech about the Great

   Barrington Declaration on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          800. In the same time, “[c]ensorship of the declaration … also spread to Reddit. The two
   most popular subreddits for discussion of the coronavirus – r/COVID-19 and r/coronavirus – have
   both removed links to the Great Barrington Declaration. The moderators of r/coronavirus, a forum
   with 2.3million members, have declared it to be ‘spam’.” Fauci Ex. 48, at 4-5.

           RESPONSE: Disputed that a social media company’s application of its own content

   moderation policies, to which all users agree, constitutes “censorship.” The PFOF’s assertions

   regarding Reddit’s actions are disputed as based on a news article containing hearsay and

   journalistic characterization rather than record evidence. Regardless, this PFOF contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech about the Great Barrington Declaration on social media, nor evidence

   that any social media company did so at his instruction, urging, or request. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

           801. In October 2020, YouTube updated its terms of service regarding medical
   “misinformation,” reporting “COVID-19 medical misinformation policy updated to prohibit
   content about vaccines contradicting consensus from health authorities.” Fauci Ex. 49, at 3.
   “Health authorities” include federal officials like Dr. Fauci and Dr. Collins. See id. This October
   2020 update specifically stated that claims which are “not allowed on YouTube” include “[c]laims
   that achieving herd immunity through natural infection is safer than vaccinating the population,”




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   which is listed on the same footing as “[c]laims that COVID-19 vaccines contain a microchip or
   tracking device.” Fauci Ex. 50, at 3-4.

          RESPONSE: Disputed that Fauci Ex. 49 mentions Dr. Fauci or Dr. Collins. Undisputed

   as to the remaining allegations. Regardless, this PFOF contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech about

   the Great Barrington Declaration on social media, nor evidence that any social media company did

   so at his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

          802. Pursuant to this censorship policy of YouTube, the authors of the Great Barrington
   Declaration had content removed from YouTube, including a video of a roundtable discussion with
   Governor Ron DeSantis of Florida. See infra.

          RESPONSE: Disputed as lacking citation to or support by any evidence of record.

   Disputed also that a social media company’s content moderation policies, to which all users agree,

   are “censorship” policies. Regardless, this PFOF contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech about the

   Great Barrington Declaration on social media, nor evidence that any social media company did so

   at his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           803. Facebook, likewise, adopted censorship policies against the Great Barrington
   Declaration. Meta’s policy on “Misinformation about vaccines” states that: “We remove
   misinformation primarily about vaccines when public health authorities conclude that the
   information is false and likely to directly contribute to imminent vaccine refusals.” Fauci Ex. 51,
   at 4 (emphasis added).

          RESPONSE: Disputed that the cited “Misinformation Policy details” at Fauci Exhibit 51

   adopts a “censorship polic[y] against the Great Barrington Declaration.” Disputed also that a social

   media company’s own content moderation policies, to which all users agree, constitute

   “censorship” policies. Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat,



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   coercion, encouragement, deception, or otherwise, to censor or suppress speech about the Great

   Barrington Declaration on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           804. Facebook/Meta views Dr. Fauci as a “public health authority” who may dictate
   what people may post about COVID-19 on its platforms (Facebook and Instagram, among others),
   because Mark Zuckerberg and Dr. Fauci were collaborating on multiple public appearances and
   videos for Facebook. See supra; Scully Ex. 12, at 33, 53-54 (identifying 13 communications
   between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual meetings, and live
   broadcasts, over a nine-month period in 2020). Indeed, in his March 15, 2020 email to Dr. Fauci,
   Mark Zuckerberg described Dr. Fauci as an “expert[],” a “health expert[]” and “reliable source[]”
   for “authoritative information” about fighting COVID-19. Fauci Ex. 23, at 3.

           RESPONSE: The first sentence is disputed as argumentative, unsupported by the record,

   and logically incoherent. Plaintiffs have introduced no evidence that Facebook/Meta has ever

   viewed Dr. Fauci as possessing authority to “dictate” what may be posted about COVID-19 on

   social media, and certainly no evidence for the bizarre allegation that a sophisticated corporate

   entity like Facebook/Meta came to this patently erroneous belief because of so-called collaboration

   between Mr. Zuckerberg and Dr. Fauci on three public Facebook videos. Undisputed that the

   March 15, 2020 email at Fauci Exhibit 23 is accurately quoted. Regardless, this PFOF contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech about the Great Barrington Declaration on social media, nor evidence

   that any social media company did so at his instruction, urging, or request. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. §

   II.B.3.b.

          805. Dr. Fauci claims that he would not have paid any attention to the Great Barrington
   Declaration because he is too busy and important to pay attention to such matters: “this is not
   something that I would have been paying a lot of attention to. I was knee deep in trying to do things
   like develop a vaccine that wound up saving the lives of millions of people. That's what I was
   doing at the time.” Fauci Dep. 256:13-17. Given Dr. Fauci’s direct involvement in publicly



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   attacking the Great Barrington Declaration and collecting sources for Dr. Collins to “take [it]
   down,” this statement is not credible. In fact, on November 1, 2020, Greg Folkers, Dr. Fauci’s
   staffer at NIAID, sent Dr. Fauci a list of articles attacking the Great Barrington Declaration—
   including one co-authored by Gregg Gonsalves—with the statement “As discussed. I have
   highlighted the three I found the most useful.” Fauci Ex. 52, at 1. The list of articles were all
   harshly critical of the Declaration—using phrases like “dangerous,” “false promise,” “ethical
   nightmare,” and “could kill millions.” Id. Thus, four weeks after the Declaration was published,
   Dr. Fauci and his staffers were still “discuss[ing]” and looking up articles on ways to attack it. Id.

          RESPONSE: Disputed as an argumentative mischaracterization of the record to the extent

   the PFOF asserts that Dr. Fauci claimed he was “too busy and important,” or that he was “too busy

   and important to pay attention to” “the great Barrington Declaration.” The quoted testimony

   concerns Dr. Fauci’s recollection of the authors of the Declaration meeting with the former

   Secretary of HHS. In the quoted testimony, Dr. Fauci is responding to the question, “Do you recall

   Dr. Bhattacharya, Gupta, and Dr. Kulldorff meeting with Secretary Azar?” Fauci Dep. 256:4-5.

   Dr. Fauci responds, “You know, I don’t. I think after the fact, I would have known because Francis

   [Collins] said they did,” id. at 256:6-8, in the October 8, 2020 email from Dr. Collins to Dr. Fauci

   that Dr. Fauci was shown during his deposition, id. at 254:3-14, 255:10-15. Dr. Fauci goes on to

   say, in relation to the October 8, 2020 email from Dr. Collins: “It is very likely, although I’m not

   100 percent sure that the meeting of the . . . authors of the declaration with the Secretary, [that]

   this was very likely the first time it was brought to my attention, although I can’t say for sure. I

   would imagine – again, getting back to context, this is not something that I would have been paying

   a lot of attention to. I was knee deep in trying to do things like develop a vaccine that wound up

   saving the lives of millions of people. That’s what I was doing at the time. So an e-mail like this

   may not have necessarily risen to the top of my awareness and interest.” Id. at 256:6-20. Further

   disputed as an argumentative mischaracterization of the record is the assertion that Dr. Fauci was

   “direct[ly] involve[d] in publicly attacking” the Declaration, which lacks any record citation.

   Undisputed that Greg Folkers sent Dr. Fauci articles that were critical of the Declaration, but



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   disputed that the articles were collected “for Dr. Collins,” which assertion is unsupported by any

   citation showing that Dr. Fauci sent those articles to, or discussed them with, Dr. Collins.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech about the Great

   Barrington Declaration on social media. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           806. Dr. Kulldorff points out that, regardless of disagreements over the policy,
   describing the Declaration as “fringe” and “nonsense” is fundamentally dishonest, as the
   Declaration reflects principles of pandemic preparedness that were widely accepted before
   COVID-19: “the Great Barrington Declaration is merely a restatement of the principles of public
   health. Lockdown … is a ‘terrible experiment’ that throws those principles ‘out of the window’ by
   focusing solely on one disease at the expense of all other health problems. ‘Most countries in
   Europe had a pandemic-preparedness plan that did not recommend lockdowns, but instead
   proposed a risk-based strategy to protect those at high risk, which is actually the same as the
   focused protection we put forward in the Great Barrington Declaration. What we are proposing is,
   therefore, nothing revolutionary’, [Kulldorff] said.” Fauci Ex. 48, at 6.

          RESPONSE: Undisputed that the quoted statements were made by Dr. Kulldorff.

   Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech about the Great Barrington

   Declaration on social media. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           807. Regarding the censorship of the Great Barrington Declaration on social media, Dr.
   Fauci repeatedly testified that he was oblivious to it: “I don’t pay much attention to what goes on
   in social media … it is highly unlikely that … I paid any attention to this thing of Google censoring
   the Great Barrington Declaration … I would not have paid much attention to it.” Fauci Dep.
   281:15-282:2, 283:7-10. In light of his contemporaneous statements and emails, this statement is
   not credible.

          RESPONSE: Disputed as argumentative and unsupported by citation to or evidence in the

   record the assertion that Dr. Fauci’s “contemporaneous statements and emails” somehow

   undermine the credibility of his testimony that he does not “pay much attention to what goes on in




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   social media.” See, e.g., Resp. to Pls.’ PFOF ¶¶ 684, 746, 773, 805. The quoted testimony is

   undisputed. Regardless, this PFOF contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress the Great Barrington Declaration

   on social media. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           808. Like so many other topics, Dr. Fauci repeatedly testified that he could not recall
   virtually anything about his involvement in seeking to squelch the Great Barrington Declaration.
   He testified at least 33 times that he could not recall his involvement in this matter. See Fauci Dep.
   251:11, 252:20, 255:6, 255:9, 256:3, 257:5, 258:12, 263:1, 263:15, 263:21, 264:17, 264:20,
   264:22, 265:2, 265:6, 268:10, 268:18, 270:24, 282:19-20, 284:22-23, 290:13, 290:21, 291:13,
   291:16, 292:15, 292:24, 293:15, 293:24, 295:9, 295:25, 296:21, 297:2-3, 297:14. For the reasons
   discussed above, these claims to almost total loss of memory are not credible.

          RESPONSE: Disputed that Dr. Fauci’s testimony that he could not recall matters such as

   “the moment [he] became aware of [The Great Barrington Declaration],” Fauci Dep. 252:19-20;

   see also id. at 251:11, when he first “read the Great Barrington Declaration,” id. at 255:3-9,

   receiving one email on October 8, 2020, id. at 263:11-22, and other minutia from years ago

   amounts to a “claim[] to almost total loss of memory,” rendering Dr. Fauci’s testimony not

   credible. The PFOF is further disputed because it relies on the counterfactual assumption that Dr.

   Fauci was part of an effort to “squelch the Great Barrington Declaration,” and then implies that he

   is dishonest for not “recall[ing]” that alleged effort. But see Resp. to Pls.’ PFOFs ¶¶ 788-89.

   Regardless, this PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech about the Great

   Barrington Declaration on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b.


          D.      NIAID Flags Social-Media Accounts for Censorship Under Dr. Fauci.



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          809. As noted above, Dr. Fauci testified that he is not aware of any NIAID or NIH staff
   contacting social media platforms to ask them to remove content. In fact, NIAID and NIH staff—
   including staffers in Dr. Fauci’s senior circle—sent several messages to social-media platforms
   asking them to remove content lampooning or criticizing Dr. Fauci. Dr. Fauci’s testimony to the
   contrary is not credible.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record.

          810. On March 14, 2020, a Twitter employee reached out to CDC officials, including
   Carol Crawford, and asked if a particular account associated with Dr. Fauci is “real or not.” Fauci
   Ex. 53, at 2. Scott Prince of NIH responded, “Fake/Impostor handle. PLEASE REMOVE!!!” Id.
   Twitter responded that it would take action promptly and “circle back ASAP.” Id. An HHS official
   then asked if Twitter could pre-block similar parody accounts: “Is there anything else that you can
   also do to block other variations of [Dr. Fauci’s] name from impersonation so we don’t have this
   happen again?” Id. at 1. Twitter replied: “We’ll freeze this @handle and some other variations so
   no one can hop on them.” Id.

          RESPONSE: Undisputed, except as to the assertion that “an HHS official” asked Twitter

   to “pre-block similar parody accounts” to the extent that assertion is meant to suggest that the

   official asked for anything more than is reflected in the quoted text regarding the impersonating

   Dr. Fauci account. Also dispute the characterization of the account in question as a “parody

   account,” and that HHS asked Twitter to pre-block “parody account[s],” on the basis that it lacks

   citation to and support in the record. Additionally note that it is not unusual for members of the

   public, or victims themselves, to report imposter accounts or doctored content to social media

   platforms. Twitter, Facebook, and YouTube each prohibit imposter accounts and provide

   mechanisms for the public to report violations of their imposter rules. See Ex. 56 (Account Integrity

   & Authentic Identity, Meta, https://perma.cc/DCR9-9FBY); Ex. 57 (Authenticity on Twitter,

   Twitter Help Center, https://perma.cc/6NVT-PS59); Ex. 58 (Impersonation policy, YouTube Help,

   https://perma.cc/R5BD-X6JB). Additionally, willfully impersonating a federal official is a federal

   crime. See 18 U.S.C. § 912; see also Resp. to Pls.’ PFOF ¶ 168. This PFOF contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or



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   suppress speech on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           811. Likewise, on April 21, 2020, Judith Lavelle of NIAID emailed Facebook, copying
   Scott Prince of NIH and Jennifer Routh of Dr. Fauci’s communications team, and stated: “We
   wanted to flag a few more fake Dr. Fauci accounts on FB and IG for you. I have also reported them
   from @niaid and my personal FB account.” Fauci Ex. 55, at 3. She listed eight accounts that she
   considered fake. One of these was called “Dr.FauciTheHero,” and she stated, “I think this one may
   be fine as a fan page but could use a reminder to be a bit more clear,” id. at 4—thus noting that she
   was seeking the censorship only of speech about Dr. Fauci that the government disfavors, while
   “a fan page” was fine.

          RESPONSE: Disputed that Judith Lavelle “was seeking the censorship only of speech

   about Dr. Fauci that the government disfavors.” As the text quoted by Plaintiffs make clear, Ms.

   Lavelle was seeking the removal of accounts that were impersonating Dr. Fauci. Ms. Lavelle noted

   that she thought the account called “Dr.FauciTheHero” might “be fine” because it may have been

   simply a “fan page” and not an impersonating page. As explained in the response to Plaintiffs’

   PFOF ¶ 810, the request that a social media company remove impersonating accounts, which may

   violate federal law, is not unusual. See also Resp. to Pls.’ PFOF ¶ 168. This PFOF contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

        812. Both Jennifer Routh and Judith Lavelle are members of Dr. Fauci’s
   communications staff. Fauci Dep. 308:14-21.

          RESPONSE: Undisputed.

           813. The fact that Lavelle stated they were flagging “a few more” accounts indicates that
   NIAID’s flagging social-media accounts for censorship was not an isolated incident but an ongoing
   practice. Fauci Ex. 55, at 3.




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          RESPONSE: Disputed as to Plaintiffs’ characterization that this email represents

   “flagging social-media accounts for censorship” or that this reflects an “ongoing practice” to flag

   accounts “for censorship.” See Resp. to Pls.’ PFOF ¶ 811. And as explained in the response to

   Plaintiffs’ PFOFs ¶ 810, the request that a social media company remove impersonating accounts,

   which may violate federal law, is not unusual. See also Resp. to Pls.’ PFOF ¶ 168. This PFOF

   contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or

   otherwise, to censor or suppress speech on social media. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

          814. Lavell then followed up flagging yet another account, saying “Apologies one
   more,” and adding Greg Folkers of Dr. Fauci’s personal staff to the email chain reporting these
   accounts to Facebook for censorship. Fauci Ex. 55, at 3.

          RESPONSE: Disputed as to the characterization of Greg Folkers, a NIAID employee, as

   a member of Dr. Fauci’s “personal staff.” Also disputed as to Plaintiffs’ characterization that this

   email represents reporting “accounts . . . for censorship” rather than for removal for impersonating

   a federal official. See Resp. to Pls.’ PFOF ¶ 811. As explained in the response to Plaintiffs’ PFOFs

   ¶ 810, the request that a social media company remove impersonating accounts, which may violate

   federal law, is not unusual. See also Resp. to Pls.’ PFOF ¶ 168. This PFOF contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

          815. The same day, Facebook responded, “Flagged this for the fake accounts team and
   they have confirmed that all but two accounts were removed for impersonation of Dr. Fauci. I
   guess two of the accounts are fan accounts.” Fauci Ex. 55, at 3.




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           RESPONSE: Undisputed. This PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on social media,

   nor evidence that any social media company did so at his instruction, urging, or request. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b. & f.

           816. The Facebook employee then added, “Also want to intro you all to [two more
   Facebook employees] who have been working hard to manage any fake accounts for NIH across
   the board. She can work with you directly if anything like this comes up.” Fauci Ex. 55, at 2.
   Lavelle responded that “our team will be sure to reach out if we identify any more impersonations,”
   id., and Facebook answered that Lavelle of NIAID should “feel [free] to flag to us the various
   imposter accounts,” Fauci Ex. 55, at 1. Again, this response indicates an ongoing and widespread
   practice of NIH reporting supposedly “fake” accounts for censorship. Id.

           RESPONSE: Disputed as to Plaintiffs characterization that this email represents an

   “ongoing and widespread practice” of reporting “accounts for censorship” rather than a discussion

   about an efficient way to “manage any fake accounts for NIH” impersonating a federal official.

   See Resp. to Pls.’ PFOF ¶ 811. As explained in the response to Plaintiffs’ PFOF ¶ 810, the request

   that a social media company remove impersonating accounts, which may violate federal law, is

   not unusual. See also Resp. to Pls.’ PFOF ¶ 168. This PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech

   on social media, nor evidence that any social media company did so at his instruction, urging, or

   request. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

          817. Dr. Fauci testifies that he does not remember for certain, but he “likely” asked his
   communications staff to do something about these impersonation or parody accounts. Fauci Dep.
   302:6-10 (“I vaguely remember somebody mentioning something about an imposter account. …
   And I likely would have said, ‘Well, how can they do that?’”). He also agrees that his
   communications staff would do so on their own. Id. at 301:1-4 (“I have a communication staff that
   I'm sure, if they found out it was a false and misleading account, that they would want it to be
   removed.”); see also id. at 301:23-25; 304:19-21.




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           RESPONSE: Disputed as a misrepresentation of the testimony, in which Dr. Fauci does

   not state that he “‘likely’ asked his communications staff to do something about” any accounts.

   Instead, Dr. Fauci testified that if his Courtney Billet from his communications staff “found out

   that [there] was an imposter handle, . . . she would have asked [Twitter] to take it down herself,

   possibly without even telling me except to say, ‘There’s an imposter account on you. We’ll take

   care of it.’” Fauci Dep. 301:23-302:2. Dr. Fauci further testified: “I vaguely remember somebody

   mentioning something about an imposter account. I didn’t even know what an imposter account

   was. And I likely would have said, ‘Well, how can they do that?” Id. at 302:6-10. Further disputed

   as to the reference to “parody accounts.” Although Plaintiffs repeatedly suggest the possibility that

   some accounts were “parody” accounts, they have introduced no such evidence and the

   communications from NIAID staff clearly show that NIAID staff were only seeking the removal

   of accounts impersonating Dr. Fauci. This PFOF contains no evidence that Dr. Fauci sought by

   threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech on social

   media, nor evidence that any social media company did so at his instruction, urging, or request.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.3.b. & f.

          818. Dr. Fauci believes it is “totally appropriate” for his communications staff to contact
   social-media platforms and seek the removal of such accounts. Id. at 312:19-21; see also id. at
   310:14-16.

           RESPONSE: Undisputed. This PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on social media,

   nor evidence that any social media company did so at his instruction, urging, or request. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b. & f.




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           819. He thinks so because “impersonating me is a bad thing.” Id. at 303:20; see also id.
   at 304:11-13; 309:23-310:1 (“fake accounts are bad things, I believe”); 311:20-21. Dr. Fauci
   specifically believes that removing accounts associated with him is “a good thing” because “those
   accounts are bad.” Id. at 329:12-16.

          RESPONSE: Undisputed that Dr. Fauci testified that impersonating him, a federal official,

   is a “bad thing.” It is also a federal crime. See 18 U.S.C. 912 (“Whoever falsely assumes or

   pretends to be an officer or employee acting under the authority of the United States or any

   department, agency or officer thereof, and acts as such, or in such pretended character demands or

   obtains any money, paper, document, or thing of value, shall be fined under this title or imprisoned

   not more than three years, or both.”). See Resp. to Pls.’ PFOF ¶ 168. Disputed that Dr. Fauci

   testified that he believes generally “that removing accounts associated with him is ‘a good thing.’”

   He testified: “So they removed a spurious, fake account, which I think was a good

   thing . . . because those accounts are bad.” Fauci Dep. 329:12-16. This PFOF contains no evidence

   that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to censor or

   suppress speech on social media, nor evidence that any social media company did so at his

   instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           820. Dr. Fauci does not know whether some of the so-called “fake accounts,” which he
   calls “bad things,” that his staff flagged for censorship may actually be parody accounts. Id. at
   311:7-9.

          RESPONSE: Disputed as a mischaracterization of the evidence. The record is devoid of

   any evidence or suggestion that any of the accounts were “parody accounts.” Although Plaintiffs

   repeatedly suggest the possibility that some accounts were parody accounts, they have introduced

   no such evidence and the communications from NIAID staff clearly show that NIAID staff were

   only seeking the removal of accounts impersonating Dr. Fauci. Moreover, Dr. Fauci did not testify

   about the removal of any “parody” accounts but instead testified that, based on the email he was



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   shown for the first time during his deposition, it looked like his communications staff was “trying

   to get rid of fake accounts” on Facebook “because fake accounts are bad things, I believe.” Fauci

   Dep. 309:24–310:1. This PFOF contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on social media, nor

   evidence that any social media company did so at his instruction, urging, or request. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E.,

   Arg. § II.B.3.b. & f.

           821. Moreover, it was not just NIAID staff, but also White House staff, who flagged
   content about Dr. Fauci for removal from social-media platforms. As noted above on Tuesday,
   July 20, 2021, Clarke Humphrey of the White House communications office emailed Facebook
   asking for the removal of an Instagram account associated with Dr. Fauci, saying it “is not actually
   one of ours.” Fauci Ex. 57, at 1-2. Facebook responded one minute later, stating, “Yep, on it!”
   Fauci Ex. 57, at 1. Courtney Billet, Dr. Fauci’s communications director at NIAID, then weighed
   in, asking Facebook to disclose whether “there’s a federal email address attached to whomever set
   this account up,” so that she could ascertain whether the account was set up by “some federal
   employee outside our official comms offices.” Fauci Ex. 57, at 1. The next day, Facebook
   responded, stating, “This account has been removed. Thank you for flagging!” Fauci Ex. 57, at 1.

          RESPONSE: Disputed that “NIAID staff” and “White House staff” generally “flagged

   content about Dr. Fauci for removal from social-media platforms” as argumentative and

   unsupported by citation to or evidence in the record. As the cited email chain shows, the White

   House flagged an Instagram account for removal because it was “a fake account.” Fauci Ex. 57, at

   1. Fake accounts violate Facebook’s terms of service, to which all users agree, see Ex. 56 at 2-3,

   and posts that improperly impersonate federal officials potentially constitute federal crimes, see

   18 U.S.C. § 912. See Resp. to Pls.’ PFOF ¶ 168. Also note that Clarke Humphrey was a member

   of the COVID-19 Response Team, not the White House communications office. Moreover, this

   PFOF contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception,

   or otherwise, to censor or suppress speech on social media, nor evidence that any social media




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   company did so at his instruction, urging, or request. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           822. NIAID’s communications with social-media platforms were not limited to flagging
   impostor or parody accounts. On October 30, 2020, for example, a NIAID staffer wrote an email
   connecting Google/YouTube with Jennifer Routh of NIAID’s “Office of Communications and
   Government Relations,” so that NIAID and the “Google team” could “connect on vaccine
   communications – specifically misinformation….” Fauci Ex. 56, at 2. Routh then added Courtney
   Billet (“director of the Office of Communications and Government Relations at NIAID”) and two
   other senior NIAID officials to the communications chain with YouTube. Fauci Ex. 56, at 1.

          RESPONSE: Disputed that these communications indicate that NIAID was

   communicating with social media companies on misinformation. The first email in the chain cited

   at Exhibit 56 explicitly notes that Google had reached out to connect on vaccine communications,

   including on misinformation, and a NIAID employee responded by reaching out to NIAID’s Office

   of Communications and Government Relations to try to point Google in “the right direction HHS

   Comms team wise”—in other words, to connect Google with someone outside of NIAID. Fauci

   Ex. 56 at 1. Jennifer Routh responded and added other individuals who could connect Google with

   contacts outside of NIAID, noting “[m]y colleagues may have a better sense of the various leads

   for various HHS-wide comms efforts focused on vaccine communication.” Id. This PFOF contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           823. Likewise, in response to a third-party subpoena, Twitter has disclosed that Dina
   Perry, a Public Affairs Specialist for NIAID, communicates or has communicated with Twitter
   about misinformation and censorship. Jones Decl., Ex. F, at 1.

          RESPONSE: Undisputed that Dina Perry’s name appears in Exhibit F and that she was a

   NIAID employee, but disputed to the extent the PFOF mischaracterizes the response as disclosing




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   that Dina Perry communicates or has communicated with Twitter about “misinformation and

   censorship.” Exhibit F is a document entitled “Twitter Final Production Agreement Second

   Supplemental Response to Request Number 5,” and it does not disclose the request to which

   Twitter is responding. Therefore, it is impossible to determine why Twitter disclosed her name,

   but the document certainly provides no evidence for the assertion that Dina Perry “communicates

   or has communicated with Twitter about misinformation and censorship.” This PFOF also contains

   no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           824. NIAID did not disclose Dina Perry in response to interrogatories seeking the
   identities of NIAID officials who communicate with social-media platforms about misinformation,
   disinformation, and censorship. Scully Ex. 12, at 17-18.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes NIAID’s interrogatory

   responses as not disclosing the identities of NIAID officials who communicate with social-media

   platforms about “misinformation, disinformation, and censorship.” NIAID’s interrogatory

   responses do not support that characterization. See Defs’ Resp. to PFOF ¶¶ 823, 1083. The cited

   response was to Plaintiffs’ interrogatory requesting disclosure of NIAID officials who are

   communicating or have communicated with any social media platform “regarding Content

   Modulation and/or Misinformation.” Scully Ex. 12 at 13. NIAID’s response referred Plaintiffs “to

   the documents being produced in response to” specific requests for production, and further

   identified “the custodians whose e-mails were collected” for purposes of responding to the requests

   for production. Id. at 17-18. While Dina Perry was not identified as a custodian whose emails were

   searched, her name and email address were disclosed in NIAID’s production of documents.




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           825. Dr. Fauci testified that he has never “contacted a social media company and asked
   them to remove misinformation from one of their platforms.” Fauci Dep. 151:21-24 (“No, I have
   not.”). He also testified that no one on his staff at NIAID has “ever reached out to a social media
   platform to ask them to take content down or to block content in any way. Id. at 152:7-15 (“To my
   knowledge, no.”). In light of the repeated attempts of Dr. Fauci’s staff to have content related to
   Dr. Fauci removed from social media, Dr. Fauci’s testimony on this point is not credible.

          RESPONSE: Disputed as argumentative and lacking citation to or support in the record

   for all the reasons discussed above. The quoted testimony, however, is undisputed. When asked

   whether anyone on his staff has “ever reached out to a social media platform to ask them to take

   content down or to block content in any way,” Dr. Fauci responded “To my knowledge, no. But

   again, I don’t know everything that goes on, but certainly nothing that I was made aware of that

   they were doing.” Fauci Dep. 152:7-15. The handful of requests from NIAID communications

   staff to remove impersonating accounts, and the response to Google’s request for a point of contact

   to discuss information about vaccines, none of which Dr. Fauci was personally involved in or had

   knowledge of, do not cast doubt on the credibility of his testimony. This PFOF contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   his instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

          E.      CDC and NIH Procure the Censorship of Speech on Ivermectin.

           826. On September 13, 2021, Facebook emailed Carol Crawford of the CDC to ask the
   CDC to identify whether the claim that “Ivermectin is effective in treating COVID” is “false, and
   if believed, could contribute to people refusing the vaccine or self-medicating,” which were the
   qualifications for censoring that claim on Facebook’s platforms. Fauci Ex. 58, at 2. Facebook noted
   that it was currently rating this claim as “not false,” i.e., Facebook was not censoring the claim
   that Ivermectin is effective in treating COVID-19, because there was “no consensus” of its efficacy
   for treatment. Id. at 3.

          RESPONSE: Disputed. The email, which speaks for itself, does not support Plaintiffs’

   assertion about “the qualifications for censoring that claim on Facebook’s platforms” or its



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   argumentative assertion that “Facebook was not censoring the claim that Ivermectin is effective in

   treating COVID-19, because there was ‘no consensus’ of its efficacy for treatment.” The email

   contains no information about what Facebook planned to do with CDC’s responses to its questions

   or what “qualifications” the company had in place for moderating content on its platform. Disputed

   also that a social media company’s application of its own content moderation policies, to which

   all users agree, constitutes “censorship.” This PFOF contains no evidence that Dr. Fauci, CDC,

   or NIH sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   speech on social media, nor evidence that any social media company did so at their instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

           827. The next day, the CDC responded, advising Facebook that the claim that
   “Ivermectin is effective in treating COVID” is “NOT ACCURATE” (bold and italics in original)
   and thus should be censored on Facebook’s platforms. Fauci Ex. 58, at 1. To support this claim,
   the CDC cited NIH’s “Ivermectin | COVID-19 Treatment Guidelines.” Id. Thus, the CDC cited
   the NIH’s treatment guidelines for Ivermectin as authority to urge Facebook to censor claims about
   using Ivermectin to treat COVID-19. Id. CDC also cited NIH to call for the censorship of two
   related claims about Ivermectin, and noted that “[t]hese responses are based on the independent
   advice of … NIH,” which had “opined that there are not data that indicate ivermectin is effective
   in the ways described above.” Id.

          RESPONSE: Disputed as an argumentative mischaracterization of the emails. In addition

   to citing to NIH treatment guidelines, CDC also cited to www.idsociety.org and explained that

   “These responses are based on the independent advice of two national bodies of infectious diseases

   SME’s expert in the treatment of COVID-19: NIH and the IDSA, which have opined that there are

   not data that indicate ivermectin is effective in the ways described above.” Fauci Ex. 58 at 1.

   Furthermore, the emails say nothing about whether claims “should be censored on Facebook’s

   platform,” nor did they “call for the censorship of two related claims about Ivermectin.” Disputed

   also that a social media company’s application of its own content moderation policies, to which




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   all users agree, constitutes “censorship.” This PFOF contains no evidence that Dr. Fauci, CDC,

   or NIH sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress

   speech on social media, nor evidence that any social media company did so at their instruction,

   urging, or request. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.3.b. & f.

          F.      Dr. Fauci’s Double Standard on Acceptable Speech: Mask Mandates.

          828. “Sylvia Burwell is the former Secretary of the Department of Health and Human
   Services [under President Obama] and the current president of American University.” Fauci Dep.
   313:9-11. “Sylvia has, over the past couple of years, asked [Dr. Fauci] advice about personal safety
   during the COVID-19 pandemic.” Id. at 313:17-19.

          RESPONSE: Undisputed, but irrelevant to the issues presented in this case.

           829. On February 4, 2020, Sylvia Burwell wrote Dr. Fauci an email stating that she was
   traveling and wondering if she should wear a mask in the airport. Fauci Dep. 313:21-314:5; see
   also Jones Decl., Ex. EE, at 1. Dr. Fauci responded, stating: “Masks are really for infected people
   to prevent them from spreading infection to people who are not infected, rather than protecting
   uninfected people from acquiring infection. The typical mask you buy in the drugstore is not really
   effective in keeping out virus, which is small enough to pass through material. … I do not
   recommend that you wear a mask….” Fauci Dep. 314:9-19; see also Jones Decl., Ex. EE, at 1.

          RESPONSE: Undisputed, but irrelevant to the issues presented in this case.

           830. Dr. Fauci agrees that he “made several statements that are similar to that at that
   time frame.” Fauci Dep. 315:12-14.

          RESPONSE: Undisputed, but note for clarity that the “time frame” referred to is February

   2020. Fauci Dep. 315:12-18. Also irrelevant to the issues presented in this case.

           831. He states that, at that time, there were “no studies” on the efficacy of masking to
   stop the spread of COVID-19. Id. at 316:8-13.

          RESPONSE: Undisputed, but note for clarity that the “time frame” referred to is February

   2020. Fauci Dep. 315:12-18. Also irrelevant to the issues presented in this case.

           832. In fact, on March 31, 2020, Dr. Fauci forwarded studies showing that masking is
   ineffective. Fauci Dep. 318:24-319:7.




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           RESPONSE: Disputed. Plaintiffs do not cite to a specific email and did not introduce the

   alleged email as an exhibit during the deposition. When asked about the alleged email, Dr. Fauci

   responded: “Yeah, I don’t recall that, so I’m not able to answer that accurately, I believe.” Fauci

   Dep. 319:6-7. Also irrelevant to the issues presented in this case.

         833. Dr. Fauci’s position on masking dramatically changed by April 3, 2020, when he
   became an advocate for universal mask mandates. Id. at 317:14-20.

           RESPONSE: Disputed as to the characterization that any change in position was

   “dramatic,” and to the characterization of the testimony as showing the Dr. Fauci was an advocate

   for “universal mask mandates,” as the meaning of that term is not discussed or defined in the

   deposition of the PFOF. Also irrelevant to the issues presented in this case.

          834. Dr. Fauci states that his position on masking changed in part because “[e]vidence
   began accumulating that masks actually work in preventing acquisition and transmission.” Fauci
   Dep. 317:5-6.

           RESPONSE: Undisputed, but irrelevant to the issues presented in this case. Dr. Fauci was

   asked to identify any studies that were done between February 2020 and April 3, 2020, that

   supported his change of position on the efficacy of masking, and he could not identify any. Id. at

   318:8-10.

           835. Dr. Fauci was asked if there were any “placebo-based, double-blind, randomized
   studies of the efficacy of masking that were done between February and April 2020,” and he could
   not identify any. Id. at 322:1-5. IN fact, it is obvious that there were none.

           RESPONSE: Disputed as a mischaracterization of the cited testimony. Dr. Fauci was

   asked during his deposition, “How many studies were done between February of 2020 . . . and

   April 3 of 2020, what studies were done . . . ,” and he responded, “I could find those and – and get

   them for you, but I don’t have them in my fingertips right now.” Fauci Dep. 317:21-318:10. Also

   irrelevant to the issues presented in this case.




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           836. Dr. Fauci was asked if there were any “placebo-based, double-blind, randomized
   studies of the efficacy of masking that were done between February and April 2020,” and he could
   not identify any. Id. at 322:1-5. In fact, it is obvious that there were none.

          RESPONSE: Undisputed that during his deposition, Dr. Fauci could not recall specifically

   whether any placebo-based, double-blind, randomized studies on the efficacy of masking were

   conducted between February and April 2020. Dr. Fauci stated: “I’d have to go back and take a

   close look at the literature. I don’t recall.” Fauci Dep. 322:4-5. And as noted in response to

   Plaintiffs’ PFOF ¶ 835, although Dr. Fauci did not identify specific studies, Dr. Fauci stated, “I

   could find those and – and get them for you, but I don’t have them in my fingertips right now.”

   Fauci Dep 318:8-10. The second sentence is disputed as an argumentative and conclusory assertion

   unsupported by the evidence and without citation to the record. The PFOF is also irrelevant to the

   issues presented in this case.

           837. Dr. Fauci’s position on masking, therefore, directly contradicts his insistence on
   randomized, double-blind, placebo-based clinical trials for alternative COVID-19 treatments like
   hydroxychloroquine and ivermectin. At best, Dr. Fauci’s dramatic change in position on masking
   was based on observational studies—the same kind of studies that he dismissed, in the very same
   time frame, as inadequate to support the use of hydroxychloroquine to treat COVID-19. At worst,
   it was based on no evidence at all—and Dr. Fauci identified none.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. Also irrelevant to the issues presented in this case.

          838. Dr. Fauci believes it can be dangerous to give ordinary people access to scientific
   information: “If information is clearly inadequate and statistically not sound, there can be a danger
   in people who don't have the ability or the experience of being able to understand that it's a flawed
   study.” Id. at 323:5-9.

          RESPONSE: Disputed as an argumentative mischaracterization of the testimony, in which

   Dr. Fauci only expresses concern with “people who don’t have the ability or the experience of

   being able to understand” that a study may be “flawed” because the “information is clearly

   inadequate and statistically not sound.” Fauci Dep. 323:5-9. Also irrelevant to the issues presented




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   in this case. In any event, the PFOF contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.3.b.

           839. Dr. Fauci believes that it is “disturbing” when “unwitting” people believe what he
   thinks is misinformation: “I think honest debate is important, but when it goes beyond debate and
   leads people who are unwitting about these things to do things that are clearly detrimental to their
   life and their safety, I find that disturbing.” Id. at 358:13-17.

           RESPONSE: Disputed as an argumentative mischaracterization of the testimony to the

   extent the PFOF asserts that Dr. Fauci was opining on people believing “what he thinks is

   misinformation.” the accuracy of the quoted text of the testimony is undisputed. Also irrelevant to

   the issues presented in this case. In any event, the PFOF contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.3.b.

           G.      Dr. Fauci and the White House Cause the Censorship of Alex Berenson.

          840. Alex Berenson is a former New York Times science reporter and prominent critic
   of government messaging about COVID-19 vaccines who was deplatformed from Twitter on
   August 28, 2021, after months of pressure from White House and federal officials. Fauci Ex. 59,
   at 4.

           RESPONSE: Disputed as an argumentative mischaracterization of the evidence. There is

   no evidence to support the reference to “months of pressure from White House and federal

   officials,” and the cited email does not offer any factual support for that argumentative assertion.

   This PFOF also relies on a characterization contained in a self-serving opinion article written by

   Alex Berenson rather than any evidence of record. Additionally, as noted at Resp. to Pls.’ PFOF ¶

   103, Twitter informed Messrs. Mr. Slavitt and Flaherty in April 2021 that it was not going to




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   remove Mr. Berenson from Twitter because he had not violated its terms of service at that time.

   The document cited by this PFOF contains no evidence that the White House, Dr. Fauci, or any

   other federal official, threatened or pressured Twitter to censor speech, or that Twitter regarded

   (or acted on) communications with the White House as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b.,

   II.B.3.b. & f.

           841. As Berenson notes: “On July 16, 2021, President Biden complained publicly that
   social media companies were ‘killing people’ by encouraging vaccine hesitancy. A few hours after
   Biden’s comment, Twitter suspended by account for the first time.” Fauci Ex. 59, at 4.

           RESPONSE: Undisputed that the article quoted at Exhibit 59, which is an article written

   by Alex Berenson, is accurately quoted. However, disputed to the extent the PFOF

   mischaracterizes President Biden’s statement as accusing social-media platforms of “killing

   people,” see Resp. to Pls.’ PFOF ¶ 154, and insinuates that Mr. Berenson’s temporary suspension

   from Twitter had anything to do with President Biden’s statement. The cited article does not

   support these characterizations and assumptions. See Resp. to Pls.’ PFOF ¶ 163. Moreover, this

   PFOF contains no evidence that Dr. Fauci or the White House sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on social media, nor

   evidence that any social media company did so at their instruction, urging, or request. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

           842. Dr. Fauci, who was then Chief Medical Advisor to President Biden, played a key
   role in procuring the censorship of Alex Berenson. Shortly before President Biden’s comments,
   Dr. Fauci engaged in public attacks on Alex Berenson in attempt to discredit him and silence his
   government-skeptical opinions.

           RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   evidence and without citation to the record. Neither the PFOF nor the article cited above, contains



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   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   their instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

            843. On July 11, 2021, appearing on CNN’s “State of the Union,” Dr. Fauci described
   Alex Berenson’s comments on vaccine skepticism as “horrifying.” Fauci Ex. 60, at 1. Responding
   to applause for a speech given by Berenson at a conference, Dr. Fauci stated: “It’s horrifying. I
   mean, they are cheering about someone saying that it’s a good thing for people not to try and save
   their lives.” Id. In response to Berenson’s views, Dr. Fauci stated, “it’s almost frightening to say,
   … we don’t want you to do something to save your life.” Id. Dr. Fauci also stated, “I don’t think
   that anybody who is thinking clearly can get that.” Id.

          RESPONSE: Disputed to the extent the PFOF asserts that Dr. Fauci “described Alex

   Berenson’s comments” as horrifying as unsupported by the cited news article, which reports

   instead that Dr. Fauci said it was “horrifying” that people were “cheering about someone saying

   that it’s a good thing for people not to try and save their lives.” Fauci Ex. 60 at 1. Moreover, while

   the article states that Dr. Fauci “was responding to a clip of conservative author Alex Berenson,

   who spoke at CPAC on Saturday,” the article does not state that Dr. Fauci specifically named Alex

   Berenson in any of his statements or even that Alex Berenson was identified by name at all during

   the CNN “State of the Union” interview that was the subject of the news article. See id. at 1-2.

   Further disputed to the extent Plaintiffs’ PFOF relies on hearsay and journalistic characterization

   contained in an opinion article rather citing to evidence of record. However, the PFOF contains no

   evidence that Dr. Fauci sought by threat, coercion, encouragement, deception, or otherwise, to

   censor or suppress speech on social media, nor evidence that any social media company did so at

   their instruction, urging, or request. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

            844. Dr. Fauci’s public comments as the President’s Chief Medical Advisor specifically
   criticizing Alex Berenson were made at a time when other White House officials like Andrew Mr.



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   Slavitt were privately pressuring Twitter to deplatform Berenson since April 21, 2020. See, e.g.,
   Fauci Ex, 58, at 7 (internal Twitter communications on April 22, 2020, indicating that White House
   officials “had one really tough question about why Alex Berenson hasn’t been kicked off from the
   platform,” and “yes, they really wanted to know about Alex Berenson. Andy Mr. Slavitt suggested
   they had seen data vis that had showed he was the epicenter of disinfo that radiated outwards to
   the persuadable public.”).

           RESPONSE: Disputed that Dr. Fauci made public comments “specifically criticizing Alex

   Berenson” as an argumentative mischaracterization lacking citation to or support from the record.

   The article cited in the immediately preceding PFOF, at Fauci Ex. 60, states instead that Dr. Fauci

   found it “horrifying” that people were “cheering about someone saying that it’s a good thing for

   people not to try and save their lives.” Fauci Ex. 60 at 1. Moreover, while the article states that Dr.

   Fauci “was responding to a clip of conservative author Alex Berenson, who spoke at CPAC on

   Saturday,” the article does not state that Dr. Fauci specifically named Alex Berenson in any of his

   statements or even that Alex Berenson was identified by name at all during the CNN “State of the

   Union” interview that was the subject of the news article. See id. at 1-2. Also disputed as an

   argumentative mischaracterization of the evidence that “White House officials like Andrew Mr.

   Slavitt were privately pressuring Twitter to deplatform Berenson” at any point in time. See Resp.

   to Pls.’ PFOF ¶ 103 (noting also that several weeks after meeting with Mr. Slavitt and Mr. Flaherty,

   Twitter informed Mr. Flaherty that it would not be removing Mr. Berenson because he had not

   violated Twitter’s policies at that time). The PFOF also contains typographical errors; the exhibit

   reflects alleged communications dated April 22, 2021. In any event, the PFOF contains no

   evidence that Dr. Fauci (or the White House) sought by threat, coercion, encouragement,

   deception, or otherwise, to censor or suppress speech on social media, nor evidence that any social

   media company did so at their instruction, urging, or request. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b.,

   II.B.3.b. & f.



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          845. Dr. Fauci does not deny that he may have discussed Alex Berenson with other
   White House or federal officials, but claims he does not recall whether he did so. Fauci Dep.
   343:16-23.

          RESPONSE: Undisputed. In any event, the PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech

   on social media. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

           846. Dr. Fauci believes that misinformation and disinformation “contribute to the
   deaths” of people: “misinformation and disinformation, particularly that encourages people to
   avoid lifesaving interventions, can certainly result in the unnecessary death of people whose lives
   would have been saved. So when misinformation and disinformation leads people to avoid a
   lifesaving intervention, that is equivalent to contributing to the death of that person.” Id. at 345:8-
   15. “I do feel strongly that misinformation and disinformation, when it leads to people avoiding
   lifesaving interventions, can be deadly. Id. at 346:1-3.

          RESPONSE: Undisputed, except to note that Dr. Fauci was testifying about health-related

   misinformation and disinformation that “encourages people to avoid lifesaving interventions.”

   Fauci Dep. 345:8-15; id. at 346:1-3. In any event, the PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech

   on social media. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

           847. Dr. Fauci also believes that misinformation and disinformation on social media are
   “contrary to public health” and “the enemy of public health”: “If social media is propagating
   disinformation that leads to the death of people by encouraging them to avoid lifesaving
   interventions, I believe that's contrary to public health.” Id. at 346:5-7, 346:10-13.

          RESPONSE: Undisputed, except to note that Dr. Fauci was testifying about health-related

   misinformation and disinformation that encourages people “to avoid lifesaving interventions.”

   Fauci Dep. 346:10-13. In any event, the PFOF contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on social media.




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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

           848. Dr. Fauci admits that it is “certainly possible” that he discussed the view that
   “disinformation or misinformation on social media platforms are killing people” with others in the
   federal government, but claims he cannot remember whether he did so. Id. at 345:3-25.

           RESPONSE: Undisputed, but note that Dr. Fauci testified: “You know, when you say

   ‘anyone in the government,’ I have often said that misinformation and disinformation is the enemy

   of public health. Could I have said it to someone in the government? It is certainly possible that I

   did because I do feel strongly that misinformation and disinformation, when it leads to people

   avoiding lifesaving interventions, can be deadly.” Fauci Dep. 345:21-346:3. In any event, the

   PFOF contains no evidence that Dr. Fauci sought by threat, coercion, encouragement, deception,

   or otherwise, to censor or suppress speech on social media. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b.,

   II.B.3.b. & f.

           849. Dr. Fauci testified that the first time he heard of Alex Berenson was when Berenson
   publicly claimed that the White House demanded that Twitter deplatform him in 2022: “it's the
   person who says that the White House demanded Twitter ban me months before the company did
   so. I had never heard of who Alex Berenson was before this … I don't even know who he is.” Id.
   at 335:1-7. In light of Dr. Fauci’s public attacks on Alex Berenson in 2021, this testimony is not
   credible.

           RESPONSE: Disputed that Dr. Fauci “public[ly] attack[ed] Alex Berenson” in 2021, for

   the reasons stated in response to Plaintiffs’ PFOF ¶¶ 840-45. Further disputed as an argumentative

   mischaracterization of the cited testimony. When Dr. Fauci was asked in his deposition if he had

   “ever heard of Alex Berenson,” he responded: “I’ve heard of him. I’m not sure – I’m trying to

   remember what context, but now you’ve put this [exhibit] in front of me, . . . it – it’s the person

   who says that the White House demanded Twitter ban . . . [him] months before the company did

   so. I had never heard of who Alex Berenson was before this, but – I mean, not before this but I had



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   heard that there was an issue that he was complaining that he was being banned. I don’t even know

   who . . . he is.” Fauci Dep. 334:23-335:7 (emphasis added). The exhibit before Dr. Fauci at the

   time of this testimony was an article written by Alex Berenson asserting that his Twitter account

   had been removed allegedly because of pressure from the White House. See Fauci Ex. 59. That

   Dr. Fauci did not recall viewing and responding to a clip of Alex Berenson during a July 2021

   interview reported about at a different exhibit shown later in his deposition, see Fauci Ex. 60, does

   not undermine the credibility of his testimony. Indeed, when Dr. Fauci was shown the news article

   at exhibit 60, he stated that the article “does jog my memory to who he is because at the time, they

   were talking about this CPAC were people were cheering on not taking a lifesaving intervention.”

   Fauci Dep. 340:25, 341:12-24. In any event, the PFOF contains no evidence that Dr. Fauci sought

   by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech on social

   media. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

           850. Former FDA Commissioner Scott Gottlieb also emailed Twitter to pressure them
   to remove Alex Berenson’s content, invoking Dr. Fauci in his email. Sending Twitter a link to a
   post by Berenson entitled “The Arrogance of Dr. Fauci,” Gottlieb wrote: “This is why Tony needs
   a security detail,” Fauci Ex. 62, at 1—thus implying that Berenson’s criticism of Dr. Fauci was
   endangering Dr. Fauci’s life.

          RESPONSE: The first sentence is disputed as an argumentative mischaracterization of the

   email cited in the article attached at Exhibit 62, in which Scott Gottlieb does not ask or demand

   that Twitter take any action with respect to any particular content on Twitter but instead sends a

   link to a Substack article written by Berenson and states, “This is what is promoted on Twitter.

   This is why Tony needs a security detail.” Fauci Ex. 62 at 1. Further disputed as to Plaintiffs’ guess

   at what Dr. Gottlieb may have been “implying.” The PFOF contains no evidence that Dr. Fauci

   sought by threat, coercion, encouragement, deception, or otherwise, to censor or suppress speech




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   on social media. Any assertion to that effect is unsupported by and contrary to the evidence as a

   whole. See Defs.’ PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

          851. Dr. Fauci does not deny that he may have discussed this issue with Gottlieb before
   Gottlieb sent this email to Twitter, but he claims he does not recall whether he did so. Fauci Dep.
   349:7-19, 352:12-18.

           RESPONSE: Disputed as a mischaracterization of the testimony, in which Dr. Fauci is not

   asked about the timing of any discussions he may or may not have had with Gottlieb. Dr. Fauci

   was asked, “did you ever have discussions with Scott Gottlieb about needing a security detail

   because of the things that people posted about you on the Internet?” He responded: “I don’t recall

   having discussions with him, but it is possible in a discussion I had with him that – it’s no secret

   that I have a security detail. My life has been threatened multiple times. So I might have discussed

   that I need a security detail with him, but I –that doesn’t ring a bell as something – unless there

   was a reason for me to – I don’t usually talk to people about my security detail.” Fauci Dep. 349:7-

   19. In any event, the PFOF contains no evidence that Dr. Fauci sought by threat, coercion,

   encouragement, deception, or otherwise, to censor or suppress speech on social media. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

          852. After testifying over 200 times during his deposition that he could not remember or
   could not recall events related to the case, Dr. Fauci was shown an email chain between him and
   Dr. Ezekial Emanuel from May 2, 2020 that had no direct connection to issues in the case. Fauci
   Ex 63. Unlike his convenient lack of memory as to case-related communications, Dr. Fauci was
   immediately able to provide a detailed, specific account of the context and communications with
   Dr. Emanuel relating to that email chain. Fauci Dep. 353:20-354:16.

           RESPONSE: Disputed as an argumentative mischaracterization of the testimony. As

   explained, see, e.g., Resp. to Pls.’ PFOF ¶¶ 684, 746, 773, 805, 807, the issues about which Dr.

   Fauci testified he could not remember or recall are immaterial to the case and largely concern

   minutia such as who Dr. Fauci copied on an email or if Dr. Fauci specifically remembered reading



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   an email several years ago, which are reasonable details for any witness to be unable to recall.

   Moreover, Dr. Fauci’s testimony relating to the “context” of the exchange between him and Dr.

   Emmanuel in May 2020 concerned, broadly, the subject of clinical trials about the effectiveness

   of remdesivir, and did not concern details about the dates, times, or other details of Dr. Fauci’s

   particular communications with Dr. Emanuel about that subject. Fauci Dep. 353:15-354:16. In

   any event, the PFOF is irrelevant and contains no evidence that Dr. Fauci sought by threat,

   coercion, encouragement, deception, or otherwise, to censor or suppress speech on social media.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.E., Arg. § II.B.1.b., II.B.3.b. & f.

          VI.     The FBI’s Censorship Campaign of Pressure and Deception.

           853. In parallel with the censorship of health “misinformation” and related issues
   achieved by the White House, the CDC, Surgeon General Murthy, Dr. Fauci, and others, see supra
   Parts I-V, federal national-security and law-enforcement agencies flex their considerable muscle
   to pressure and induce social-media platforms to censor disfavored speech and viewpoints about
   elections and other topics. The FBI’s Foreign Influence Task Force (FITF) and the Cybersecurity
   and Infrastructure Security Agency’s (CISA) “Mis, Dis, and Malinformation Team” play key roles
   in this efforts – in cooperation with non-profit agencies working in close collaboration with the
   government, such as the CISA-funded “Center for Internet Security” and the formidable
   censorship cartel calling itself the “Election Integrity Partnership” and the “Virality Project.”

   `      RESPONSE: Disputed. The assertions that any Defendant engaged in “censorship,” that

   any Defendant agency “flexed [its] considerable muscle” and “pressure[d] and induce[d]”

   platforms “to censor,” and that any Defendant was acting in “cooperation” with any “censorship

   cartel,” are argumentative mischaracterizations unsupported by and contrary to the record as a

   whole. See generally Defs.’ Arg. § II.B.

          854. Elvis Chan is the Assistant Special Agent in Charge of the Cyber Branch for the
   San Francisco Division of the Federal Bureau of Investigation. Chan Dep. 8:11-13.

          RESPONSE: Undisputed.

          855. In this role, Chan is “one of the primary people” who communicates with social-
   media platforms about disinformation on behalf of the FBI. Id. 105:3-4 (“I would say I’m one of


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   the primary people with pass-through information” for platforms). There are many other points of
   contact between the FBI and social-media platforms, however. Id. 105:3-7 (“[W]e have agents on
   the different cyber squads and our private sector engagement squad who also relay information to
   the companies.”).

          RESPONSE: Undisputed subject to clarification. The other points of contact that ASAC

   Chan described do not necessarily communicate with social media platforms about

   “disinformation.” Chan Dep. 105:3-18. And the assertion that there are “many” points of contact

   in the context of disinformation is a subjective characterization.

          856. Chan graduated from the Naval Postgraduate School in 2021 with an M.A. in
   Homeland Security Studies. Id. 10:16-17. In connection with his master’s degree, Chan authored
   a publicly available thesis entitled, “Fighting Bears and Trolls: An Analysis of Social Media
   Companies and U.S. Government Efforts to Combat Russian Influence Campaigns During the
   2020 U.S. Elections.” Id. 11:3-16; Chan Ex. 1, at 1. This thesis overtly relied only on publicly
   available documents, but it also reflected Chan’s personal knowledge and experience of working
   with social-media platforms during the 2020 elections. See id.

          RESPONSE: Disputed. The cited material does not support the statement that the thesis

   reflected ASAC Chan’s “personal knowledge and experience of working with social-media

   platforms during the 2020 elections.” The exhibit cited is Mr. Chan’s thesis submitted for

   postgraduate studies, and expressly states, at page i, that “[t]he views expressed in” it “are those

   of the author and do not reflect the official policy or position of the Department of Defense, the

   FBI, or the U.S. Government.” ASAC Chan testified that his thesis contained his academic

   research conclusions, not his personal characterizations. Chan Dep. 151:6-8.

          857. Chan’s thesis discussed “hack-and-dump activity,” also known as “hack-and-leak”
   operations, as well as “Russian malign influence … on the social media platforms and on fake
   news websites that the Russians have created.” Chan Dep. 13:7-21.

          RESPONSE: Undisputed subject to clarification. The exhibit cited is Mr. Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”

   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”



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           858. Chan’s thesis relied on research performed by persons and entities comprising the
   Election Integrity Partnership, including Graphika, id. 145:1-6; and Renee DiResta of the Stanford
   Internet Observatory, id. 51:20-52:7, 85:4-12. Chan communicated directly with DiResta “about
   Russian disinformation,” and had “[a] lot of conversations about Russian disinformation” with
   DiResta. Id. 52:5-7, 52:24-25.

          RESPONSE: Disputed. The assertion that Graphika and other persons and entities on

   which Chan’s thesis relied were part of the Election Integrity Partnership is not supported by the

   cited material. The exhibit cited is Special Agent Chan’s thesis submitted for postgraduate studies,

   and expressly states, at page i, that “[t]he views expressed in” it “are those of the author and do

   not reflect the official policy or position of the Department of Defense, the FBI, or the U.S.

   Government.”

          859. Chan also knows Alex Stamos, the head of the Stanford Internet Observatory, from
   the time when Stamos participated on behalf of Facebook in the USG-Industry meetings. Id. 54:2-
   19. Chan and Stamos were involved in meetings about “malign-foreign-influence activities” on
   Facebook while Stamos was the chief security officer for Facebook. Id. Chan has also discussed
   “protecting platforms from hacking” with Stamos. Id. 55:12-13. And Chan’s “colleagues at FBI
   headquarters regularly meet with researchers much more frequently than I do.” Id. 57:15-18.

          RESPONSE: Disputed. The assertion that Chan knows Alex Stamos from Stamos’

   participation in the USG-Industry meetings (as opposed to bilateral meetings) is not supported by

   the cited testimony or the record.

          860. According to Chan, the FBI engages in “information sharing” with social-media
   platforms about content posted on their platforms, which includes both “strategic-level
   information” and “tactical information.” Id. 16:16-19.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          A. FBI’s and CISA’s Regular “USG-Industry” Disinformation Meetings



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           861. The FBI participates in a CISA-organized “industry working group” with
   Facebook, Twitter, and Google/YouTube, as well other social-media platforms. Id. 18:21-24. The
   social-media platforms that participate are Facebook, Microsoft, Google, Twitter, Yahoo! (a.k.a.
   Verizon Media), Wikimedia Foundation, and Reddit. Id. 23:24-24:3. On the U.S. Government
   side, the meetings are attended by representatives of CISA, the Department of Homeland
   Security’s Intelligence & Analysis division (“I&A”), the Office of the Director of National
   Intelligence (ODNI), the FBI’s Foreign Influence Task Force (FITF), and Elvis Chan on behalf of
   FBI-San Francisco when he is available. Id. 24:9-19; see also Chan Ex. 6, at 37. Chan later
   confirmed that “DOJ National Security Division” attends these “USG-Industry” meetings as well.
   Chan Dep. 171:6-8.

          RESPONSE: Undisputed subject to clarification. The cited material supports the assertion

   that the entities and individuals mentioned have in the past participated in such meetings, not that

   they all necessarily continue to participate in all such meetings. This PFOF contains no evidence

   that the FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           862. Chan participates in the meetings because most social-media platforms are
   headquartered in San Francisco, and “FBI field offices are responsible for maintaining day-to-day
   relationships with the companies that are headquartered in their area of responsibility.” Id. 24:21-
   25:4. As a result, Chan serves as a frequent conduit for communication between federal officials,
   especially FBI officials but also others, and social-media platforms. See id.

          RESPONSE: Disputed. The assertion that ASAC Chan “serves as a frequent conduit for

   communications between” social media platforms and federal officials other than FBI officials is

   not supported by the cited testimony or the record. This PFOF contains no evidence that the FBI

   used pressure or deception to induce social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with the FBI

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          863. Matt Masterson attended, and Brian Scully attends, the USG-Industry meetings on
   behalf of CISA. They are “regular attendees” and “one of them is usually emceeing the meeting.”


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   Id. 25:15-18. “For the 2020 election cycle, Mr. Masterson was … primarily the facilitator. Ahead
   of the 2022 midterm elections, Mr. Scully has been the primary facilitator.” Id. 26:19-22.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          864. Chan also “participate[s] in the preparation meetings” for the USG-Industry
   meetings. Id. 27:24-25.

          RESPONSE: Undisputed subject to clarification. ASAC Chan testified that he was not

   involved in preparing for the meetings, as he did not provide any agenda items. Chan Dep. 27:22-

   25. This PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           865. At these CISA-led “USG-Industry” meetings, “the disinformation content was
   shared by the social media companies. They would provide a strategic overview of the type of
   disinformation they were seeing on their respective platforms,” and the FBI “provided strategic
   unclassified overviews of the activities that we saw [Russian actors] doing.” Id. 156:9-157:1.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          866. The “USG-Industry” meetings “are continuing” at the time of Chan’s deposition on
   November 23, 2022, and Chan assumes that they will continue through the 2024 election cycle.
   Chan Dep. 284:23-285:6. Online “disinformation” continues to be discussed between the federal
   agencies and the social-media platforms at these meetings. Chan Dep. 285:7-286:16.


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           RESPONSE: Disputed. The assertion that the election-related meetings “are continuing”

   is unsupported by the record. ASAC Chan testified that he does not “know . . . for a fact” that the

   election-related meetings would occur 2024 although he “would assume so.” Chan Dep. 285:3-6.

   In addition, this PFOF contains no evidence that the FBI used pressure or deception to induce

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§

   II.B.3.b.i & II.B.4.b.

           B. The FBI’s Regular Bilateral Meetings with Social-Media Platforms.

         867. The USG-Industry group meetings are not the only censorship-related meetings
   between the FBI and social-media platforms. Chan also “hosted … bilateral meetings between
   each of the companies I mentioned”—i.e., Meta/Facebook, Twitter, Google/YouTube,
   Yahoo!/Verizon Media, Microsoft/LinkedIn, Wikimedia Foundation, and Reddit, see id. 23:24-
   24:3—“and the Foreign Influence Task Force.” Id. 39:4-8.

           RESPONSE: Dispute the characterization of the USG-Industry group meetings and the

   bilateral meetings as “censorship-related meetings.” That is an argumentative mischaracterization

   without citation to or support in the record. In addition, while the testimony at Chan Dep. 23:24-

   24 mentions companies that attended USG-Industry group meetings, a more accurate list of

   companies that participated in bilateral meetings with the FBI is at Chan Dep. 41:16-42:7. In

   addition, this PFOF contains no evidence that any of the referenced meetings are or were

   “censorship-related,” and any assertion that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such is unsupported by and contrary

   to the evidence as a whole. See Defs.’ § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          868. During these bilateral meetings, the FBI’s FITF would also “bring in field offices
   that had cyber investigations” of “state-sponsored actors that the FBI was investigating that we
   believe were capable of hack-and-dump campaigns” during the 2020 election cycle. Id. 39:10-16.


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   In other words, in the bilateral meetings, the FBI repeatedly raised the concern about the possibility
   of “hack and dump” operations during the 2020 election cycle during FITF’s bilateral meetings
   with each of at least seven major social-media platforms. Id.

          RESPONSE: Disputed. The assertion that the FBI “repeatedly” raised the concern about

   the possibility of hack and dump operation during the 2020 election cycle “with each of at least”

   seven major platforms is unsupported by the cited evidence or the record. ASAC Chan “warned

   the companies on more than one occasion, although” he “cannot recollect how many times.” Chan

   Dep. 175:11-14. In addition, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           869. These bilateral meetings between FBI and social-media platforms are continuing—
   they occurred during the 2020 election cycle, and they continued during the 2022 election cycle.
   Id. 39:18-40:1. “They occur at roughly a quarterly cadence,” but “the cadence increase[s] as
   elections get close,” so that the meetings “become monthly as the election nears and then weekly
   very close to the elections.” Id. 40:2-20. These meetings will continue quarterly, monthly, and
   then weekly leading up to the 2024 election as well. Id. 41:5-15. The meetings also occurred “[o]n
   a quarterly cadence” during the 2018 election cycle. Id. 42:18-24.

          RESPONSE: Disputed. The assertions that all “bilateral meetings” concern the “election

   cycle” and that meetings at which an election may be discussed “are continuing” and that they

   “will continue quarterly, monthly, and then on a weekly basis leading up to the 2024 election” is

   unsupported by the record. ASAC Chan testified that he “hosted . . . bilateral meetings between

   each of the companies” and FITF, including “field offices that had investigations related to malign

   foreign influence by state-sponsored actors,” and “field offices that” were conducting pertinent

   cyber investigations as to such actors, not that all such bilateral meetings were election-related.

   Chan Dep. 39:4-12. ASAC Chan testified that he does not “know . . . for a fact” that bilateral

   meetings at which an election may be discussed would occur 2024 although he “would assume


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   so.” Id. at 285:3-6. In addition, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          870. The companies with which FITF conducts these regular bilateral meetings include
   “Facebook, Google, Twitter, Yahoo!, Reddit, and LinkedIn,” as well as “Apple and Wikimedia
   Foundation.” Id. 41:24-42:7. Apple was “added because they are a cloud infrastructure company;
   and we believe that tactical information, specifically indicates that we shared with them related to
   foreign-state-sponsored actors, might pop up on … any screening they do on iCloud.” Id. 42:12-
   17.

          RESPONSE: Disputed. The assertion that all “these regular bilateral meetings” concern

   the “election cycle” is unsupported by the record. ASAC Chan testified that he “hosted . . . bilateral

   meetings between each of the companies” and FITF, including “field offices that had

   investigations related to malign foreign influence by state-sponsored actors,” and “field offices

   that” were conducting pertinent cyber investigations as to such actors, not that all such bilateral

   meetings were election-related. Chan Dep. 39:4-12. The testimony at Chan Dep. 42:12-17 is

   misquoted, as the transcript reads “specifically indicators” (not “specifically indicates”). In

   addition, this PFOF contains no evidence that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i

   & II.B.4.b.

           871. In these meetings, FBI officials meet with senior social-media platform officials in
   the “trust and safety or site integrity” role, i.e., those in charge of enforcing terms of service and
   content-moderation policies for the platforms. Id. 43:5-44:1. In other words, the FBI meets with
   the officials responsible for censoring speakers and content on the platforms—those “directly
   involved in the enforcement of terms of service for these various platforms,” which “includes …
   content modulation of content on the platforms.” Id. 49:19-50:2.


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          RESPONSE: Disputed. The assertion that FBI “meets with the officials responsible for

   censoring” on platforms is an argumentative mischaracterization unsupported by the record.

   Rather, the FBI meets, as ASAC Chan testified, with social-media personnel who “will at least

   inform” the personnel responsible for the companies’ content moderation policies—to which all

   users agree—and their application. Chan Dep. 49:15-18. In addition, it is unclear which meetings

   this PFOF describes with the phrase “these meetings.” In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          872. The FBI’s “quarterly meetings” with social media platforms to “probe” questions
   about censorship of disinformation began as early as “in the 2017 time frame.” Id. 87:24-88:14,
   89:19-20.

          RESPONSE: Disputed. The assertion that FBI asks “questions about censorship of

   disinformation” on social media platforms is an argumentative mischaracterization unsupported

   by the record. In the testimony cited, ASAC Chan testified that the FBI asked social media

   companies about the algorithmic tools they use to detect “bots” Russian and other foreign actors

   use to amplify their influence efforts and that the companies have not disclosed the details of those

   tools. Chan Dep. 87:2-88:14. In any event, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with the FBI as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           873. A large number of FBI officials attend each regular bilateral meeting about
   disinformation with each of those seven social-media platforms. In addition to Chan and Laura
   Dehmlow, who is the head of FBI’s Foreign Influence Task Force (FITF), “between three to ten”


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   FITF officials attend each meeting, as well as “one field office comprised of two representatives”
   from each of “one to three field offices.” Id. 109:21-22, 110:7-14. Frequently the number of FBI
   agents attending each meeting “could be as high as a dozen.” Id. 110:17-18.

          RESPONSE: Disputed. The assertion that the meetings the cited testimony describes are

   “about disinformation” on platforms is an argumentative mischaracterization unsupported by the

   record. Those meetings concern foreign malign influence operations, which the FBI is statutorily

   responsible for investigating, and which include state-sponsored cyber activities as well as

   disinformation campaigns. See Chan Dep. 39:4-16; see generally Knapp Decl ¶¶ 10-49 (Ex. 157).

   In addition, the assertion that “each” bilateral meeting is always attended by all the persons

   mentioned and that the FBI attendees are all “agents” is unsupported by the record. In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          874. Likewise, large numbers of officials from the social-media platforms attend these
   regular bilateral meetings with the FBI about disinformation. “[A] similar amount” of people
   attend each meeting from the platforms, and “for the three larger companies – specifically
   Google/YouTube, Facebook, and Twitter – it would be equal numbers or higher numbers than the
   FBI.” Id. 110:21-25.

          RESPONSE: Disputed. The assertion that the meetings the cited testimony describes are

   “about disinformation” on platforms is an argumentative mischaracterization unsupported by the

   record. Those meetings concern foreign malign influence operations, which the FBI is statutorily

   responsible for investigating, and which include state-sponsored cyber activities as well as

   disinformation campaigns. See Chan Dep. 39:4-16; see generally Knapp Decl. ¶¶ 10-49 (Ex. 157).

   The assertion that a similar number of personnel from companies other than Google/YouTube,

   Facebook, and Twitter attended the meetings is unsupported by the cited testimony or the record.

   In any event, this PFOF contains no evidence that the FBI used pressure or deception to induce


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   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ § II.H, Arg. §§

   II.B.3.b.i & II.B.4.b.

           875. In addition to all these meetings, on February 4, 2019, there was a meeting between
   Facebook, Google, Microsoft, and Twitter and the FBI’s FITF, ODNI, and CISA to discuss
   election issues. Elvis Chan attended, as did Director Krebs, Matt Masterson, and possibly Brian
   Scully of CISA. Representatives of the social-media companies at the meeting included those from
   the “trust and safety” or content-modulation teams, and “the social media companies were focused
   on discussing disinformation.” Id. 151:9-154:6.

           RESPONSE: Undisputed subject to clarification. The cited testimony states that the

   meeting was about election “security” and that ASAC Chan believed a representative of FITF

   attended but he was not completely sure. In any event, this PFOF contains no evidence that the

   FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           876. Discovery obtained from LinkedIn contains 121 pages of emails between Elvis
   Chan and other FBI officials and LinkedIn officials setting up numerous meetings to discuss
   disinformation issues during the 2020 and 2022 election cycles. Chan Ex. 2. Chan confirms that
   he has a similar set of communications setting up a similar series of meetings with each of “six or
   seven other social-media platforms as well”—he has “similar types of correspondence” with the
   others, including Facebook, Twitter, Google/YouTube, etc. Chan. Dep. 288:4-17.

           RESPONSE: Disputed. The assertion that the meetings the cited testimony describes are

   “about disinformation” on platforms is an argumentative mischaracterization unsupported by the

   record. Those meetings concern foreign malign influence operations, which the FBI is statutorily

   responsible for investigating, and which include state-sponsored cyber activities as well as

   disinformation campaigns. See Chan Dep. 39:4-16; see generally Knapp Decl. ¶¶ 10-49 (Ex. 157).

   The record shows that ASAC Chan had (past tense), not “has” (present tense) similar types of


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   correspondence regarding those meetings. Chan Dep. 288:10-17. In any event, this PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           877. These emails confirm that Chan and the other FBI officials regularly met with
   senior officials at social-media platforms with responsibility for content moderation. See Chan Ex.
   2, at 3; Chan Dep. 292:7-293:8. The FBI meets with “director level and … their direct reports”
   from the “trust and safety and site integrity” teams. Chan Dep. 293:4-8.

          RESPONSE: Undisputed. In any event, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          878. The FBI communicates with social-media platforms using two alternative,
   encrypted channels—the self-deleting messaging app Signal, and the encrypted messaging service
   Teleporter. Chan Dep. 295:7-296:9.

          RESPONSE: Disputed. The assertion that the FBI “communicates” (present tense) with

   social media platforms using Signal is not supported by the record. Chan Dep. 298:20-21. The

   testimony this PFOF cites concerns communications from the FBI election command post, not

   communications in general. Id. at 295:7-12. As to Signal communications, the FBI turned off the

   self-deleting functionality and saved the information. Id. at 297:23-298:7. In any event, this PFOF

   contains no evidence that the FBI used pressure or deception to induce social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with the FBI as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.



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           879. For each election cycle, during the days immediately preceding and through
   election day, the FBI maintains a command center around the clock to receive and forward reports
   of “disinformation” and “misinformation,” and the FBI requests that the platforms have people
   available to receive and process those reports at all times: “FBI headquarters, they just ran 24 hours
   a day for their command post, I believe from Friday to Tuesday. FBI San Francisco ran from, I
   believe, 8:00 o'clock in the morning to perhaps 10:00 o'clock at night every day except the election,
   when we ran until midnight.” Chan Dep. 301:14-20. In advance of the elections, the FBI “ask[ed]
   the companies when they intended to have personnel on what days monitoring their platform for
   any threats that they saw.” Chan Dep. 301:21-24.

          RESPONSE: Disputed. The assertion that the FBI “request[ed]” that social media

   companies have personnel available to receive reports “at all times” is unsupported by the cited

   testimony or the record. ASAC Chan testified that the FBI simply asked the companies “when”

   their personnel would be monitoring their platforms. Chan Dep. 301:21-24. In addition, the

   assertion that the (sole) purpose of the FBI command center is to forward reports of

   “disinformation and misinformation,” and that the stated facts apply to “each” election cycle, is

   not supported by the cited evidence or the record. The FBI’s election command center

   communications with social media companies concern election-related time, place, and manner

   disinformation. See generally Knapp Decl. ¶¶ 21-24 (Ex. 157). In any event, this PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          C.      The FBI’s Deceptive Information Censors the Hunter Biden Laptop Story.

           880. Elvis Chan, other FBI officials, and other federal officials repeatedly warned
   industry participants to be alert for “hack and dump” or “hack and leak” operations prior to the
   2020 election, even though they had no investigative basis to issue such warnings. These warnings
   provided the justification for the platforms to censor the Hunter Biden laptop story that the New
   York Post broke on October 14, 2020. See id. at 232:1-234:3. These “hack and leak” or “hack and
   dump” warnings were issued many times, both in the “USG-Industry” meetings and in the FBI’s
   bilateral meetings with social-media platforms.



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          RESPONSE: Disputed. The assertions that FBI “had no investigative basis to issue such

   warnings,” that these warnings “provided the justification” for any action taken by the platforms,

   and that platforms “censor[ed] the Hunter Biden laptop story,” are argumentative

   mischaracterizations unsupported by the cited testimony or the record. See Defs.’ Arg. § II.B.3.b.i.

   FBI did have a factual basis for the 2020 warnings based on the Russian effort to influence the

   2016 presidential election and the concerns of multiple officials in the Trump Administration that

   those efforts were continuing in 2020. See Defs.’ Arg. § II.B.3.b.i. Neither this PFOF, nor any

   other, contains evidence that the FBI used pressure or deception to induce social-media companies

   to remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with the FBI as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           881. Hack and leak operations were discussed at the USG-Industry meetings. Id. 172:3-
   5. At the USG-Industry meetings, Elvis Chan and other FBI officials “warned the social media
   companies about the potential for a 2016-style DNC hack-and-dump operation.” Id. 172:23-173:1.

          RESPONSE: Disputed to the extent that the assertion that FBI officials other than ASAC

   Chan definitely provided the stated warning is unsupported by the record. See Chan Dep. 175:17-

   20 (Chan recalled other senior officials “likely mentioned the possibility of hack-and-dump

   operations”). In any event, this PFOF contains no evidence that the FBI used pressure or deception

   to induce social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with the FBI as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg.

   §§ II.B.3.b.i & II.B.4.b.

          882. During these meetings, Chan “warned the companies about a potential for hack-
   and-dump operations from the Russians and the Iranians on more than one occasion.” Id. 175:10-
   13. Laura Dehmlow, the head of FITF, also “mentioned the possibility of hack-and-dump
   operations.” Id. 175:17-20.



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          RESPONSE: Disputed to the extent that the assertion that Laura Dehmlow definitely

   mentioned the possibility of hack-and-dump operations is unsupported by the record. See Chan

   Dep. 175:17-20 (Chan recalled other senior officials, “to include Section Chief Dehmlow, likely

   mentioned the possibility of hack-and-dump operations”). In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           883. The prospect of hack-and-leak operations was also repeatedly raised “[a]t the FBI-
   led meetings with FITF and the social-media companies.” Id. 177:24-25. It was also raised at the
   “CISA-hosted USG-industry” meetings. Id. 178:1-6, 180:24-25. “[T]he risk of hack-and-leak
   operations were raised at both sets of meetings, both at CISA-organized USG-industry meetings
   and the FITF-organized direct meetings between the FBI and social media platforms.” Id. 181:6-
   11. Chan himself raised the warnings “regularly” at the bilateral FITF-platform meetings. Id.
   185:16-18. Laura Dehmlow raised the warning at the USG-Industry meetings “that the FBI is
   concerned about the potential for hack-and-leak or hack-and-dump operations from foreign state-
   sponsored actors.” Id. 187:1-4. And Chan himself “recollect[s] mentioning the potential for hack-
   and-dump operations during the CISA-hosted USG-industry meetings.” Id. 189:4-7. Chan
   confirms that he raised these concerns “to the social media platforms on multiple occasions in two
   sets of meetings in 2020,” including “the USG-industry meetings organized by CISA” and “the
   FITF organized meetings with the individual social media platforms.” Id. 204:2-12.

          RESPONSE: Disputed. The assertion that Laura Dehmlow definitely mentioned the

   possibility of hack-and-dump operations is unsupported by the record. See Chan Dep. 175:17-20

   (Chan recalled other senior officials, “to include Section Chief Dehmlow, likely mentioned the

   possibility of hack-and-dump operations”). Although examining counsel sometimes referred to

   warnings about the “prospect” of hack-and-leak operations, Chan described the warnings to be

   about the “possibility” or “potential” of a hack-and-leak operation. Id. at 178:1-6; 189:2-7; 190:8-

   13; 192:9-15; 206:20-207:10. In any event, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as


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   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

            884. In the same time frame in 2020, as federal officials were repeatedly raising these
   concerns about hack-and-leak operations, some social media platforms updated their policies to
   provide that posting hacked materials would violate their policies and could result in censorship:
   “some social media companies adjusted or updated their terms of service or their community
   standards to say that they would not post any hacked materials.” Id. 205:6-9. According to Chan,
   the “impetus” for these more restrictive censorship policies was the repeated concern raised by
   Chan, the FBI, and federal national-security officials about the risk of “a 2016-style hack-and-leak
   operation: “the impetus was in case there was a 2016-style hack-and-leak operation.” Id. 205:14-
   21. The FBI’s repeated warnings, therefore, induced social-media platforms to adopt more
   restrictive censorship policies on hacked materials, see id., which would then be used to censor the
   Hunter Biden laptop story.

          RESPONSE: Disputed. The assertions that FBI conduct was the “‘impetus’ for . . . more

   restrictive censorship policies,” and that FBI “induced . . . platforms to adopt more restrictive

   censorship policies,” are argumentative mischaracterizations unsupported by the record. Rather,

   ASAC Chan testified that he “believe[s]” platforms “independently . . . had similar concerns”

   regarding recurrence of “2016-style” operations. Chan Dep. 205:14-17, 21-22; see also Ex. 2 at

   11, 25. In addition, the record does not support the assertion that the social media companies

   updated their policies in 2020. ASAC Chan testified that the updates occurred “before the 2020

   elections, but I can’t remember when.” Id. at 205:12-17. The FBI does not pressure or coerce

   companies into taking any action, but rather relies on the companies to take whatever action they

   deem appropriate in light of their terms of service. See, e.g., Knapp Decl. ¶¶ 15, 23 (Ex. 157). In

   any event, this PFOF contains no evidence that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i

   & II.B.4.b.




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          885. Chan denies that the FBI urged the platforms to change their terms of service to
   address hacked materials, but he admits that the FBI repeatedly inquired of the social-media
   platforms whether their policies would allow for or require the censorship of hacked materials.
   The FBI “wanted to know if they had changed their terms of service or modified it, and we wanted
   to know what they had changed,” and thus the platforms “advise[d]” the FBI that “they had
   changed” their policies “to reflect the ability to pull down content that results from hack
   operations.” Id. 206:5-13.

          RESPONSE: Disputed. The assertion that the FBI “repeatedly” inquired “whether their

   policies would allow for or require the censorship of hacked materials” is unsupported by the cited

   testimony or the record. ASAC Chan testified that in his opinion the rationale for the FBI’s inquiry

   about the terms of service applicable to hack-and-leak activities was to assess what “hypothetical”

   “legal remedy such as like a seizure warrant or something” might be appropriate to pursue if the

   social media company did not have its own applicable term of service, but that ASAC Chan “can’t

   ever recollect discussing this because it never came up.” Chan Dep. 249:15-21, 250:7. In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

            886. Again, Chan testified that, in meeting with platforms like Facebook, the FBI
   “asked, ‘If you receive a whole -- if you see a trove of potentially hacked materials, what are you
   going to do about it?’ Which would be our way of asking them how their terms of service would
   handle a situation like that.” Chan Dep. 247:25-248:4. The FBI “ask[ed] how they would handle
   it if potentially hacked materials appeared.” Chan Dep. 248:5-8. Chan believes they asked that
   question of Twitter, Facebook, and YouTube, and the social-media platforms responded, as he
   “remember[s] the social media companies having terms-of-service policies to handle this sort of
   situation.” Chan Dep. 248:14-16. Both Facebook and Twitter, for example, “said that they would
   remove hacked materials if they were able to validate that it was hacked.” Chan Dep. 252:24-
   253:4. These conversations happened “ahead of the 2020 elections.” Chan Dep. 253:6-7.

          RESPONSE: Disputed that the FBI actually asked the question stated in the first sentence

   of this PFOF. ASAC Chan in fact testified that he did not recall “any of us saying” the first sentence

   of this PFOF, but rather he thought that was “what we would have said.” See Chan Dep. 247:16-



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   248:4. In any event, this PFOF contains no evidence that the FBI used pressure or deception to

   induce social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§

   II.B.3.b.i & II.B.4.b.

          887. The FBI asked the platforms how their policies would handle a hack-and-leak
   operation at the same time as repeatedly warning them about such operations—thus effectively
   inducing them to adopt such policies. Chan Dep. 248:23-249:2.

           RESPONSE: Disputed. The assertion that the FBI’s conduct was “effectively inducing”

   platforms “to adopt. . . policies” is an argumentative mischaracterization unsupported by the

   record. The FBI does not pressure or coerce companies into taking any action, but rather relies on

   the companies to take whatever action they deem appropriate in light of their terms of service. See

   Knapp Decl. ¶¶ 15, 23 (Ex. 157). The assertion that social media companies altered their content

   moderation policies because of FBI “induce[ment]” rather than their own concerns is disputed as

   unsupported by the record for the reasons set forth in response to Plaintiffs’ PFOF ¶ 884. This

   PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           888. The FBI inquired about the platforms’ hacked-materials policies because
   “internally we wanted to know what actions that we would need to take, whether we would need
   to take a legal remedy such as like a seizure warrant” to remove supposedly hacked materials.
   Chan Dep. 249:17-20.

           RESPONSE: Disputed. ASAC Chan testified that the quoted statement was “just my

   personal opinion” concerning a “hypothetical” and that he could not “ever recollect discussing this

   because it never came up.” Chan Dep. 249:15-21, 250:7.



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           889. Chan was not the only FBI official to ask the platforms about their censorship
   policies for hacked materials. Instead, this question was posed repeatedly by multiple FBI officials:
   “I would say we take turns asking. When I say ‘we,’ I mean either myself or the members of the
   Foreign Influence Task Force …. Wherever it seemed like an organic follow-up question, we
   would ask ‘How would your terms of service apply to this situation or that situation?’” Chan Dep.
   250:14-20.

           RESPONSE: Disputed that a social media company’s own content moderation policies

   for “hacked materials” or other content, and to which all users agree, constitute “censorship

   policies.” In addition, this PFOF contains no evidence that the FBI used pressure or deception to

   induce social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See § II.H, Arg. §§ II.B.3.b.i &

   II.B.4.b.

           890. When asked, “did anyone within the FBI discuss or suggest with you that you
   should raise the prospect of Russian hack-and-leak operations with social media platforms in
   2020?” Chan repeatedly responded with a stock answer, “I do not recollect.” Id. 189:14-23; 189:8-
   191:21, 203:13-15 (“I cannot recollect.” … “I do not recollect.” … “I do not recollect.” … “I don’t
   recollect.” … “I don’t recollect.” … “I do not recollect.”).

           RESPONSE: Disputed. The assertion that ASAC Chan’s lack of recollection as to

   particular internal discussions “within the FBI” was a “stock answer” is argumentative

   mischaracterization unsupported by the cited testimony or the record. ASAC Chan’s inability to

   remember any internal FBI discussions about communicating with social media companies about

   “the prospect of Russian hack-and-leak operations” more than two years before his deposition is

   unsurprising given that meeting with social media companies is only one of ASAC Chan’s many

   official responsibilities. ASAC Chan’s inability to recall that detail during his testimony does not

   imply any lack of credibility. ASAC Chan also testified that while he did not initially “recollect

   any specific person discussing . . . with me” the “prospect of a Russian hack-and-leak operation

   before the 2020 election,” he immediately thereafter testified that “However, based on both my



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   experience as well as my knowledge of active investigations, I would have believed -- as my own

   assessment, I believe that there was the potential for hack-and-leak operations ahead of the 2020

   elections.” Chan Dep. 203:13-21. In any event, any internal FBI discussions by definition were

   not discussions with any social media company and therefore cannot constitute evidence that the

   FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

            891. These responses are not credible because they are stock responses, and it is facially
   implausible that Chan does not recall whether other federal officials discussed warning platforms
   about “hack-and-leak” operations during 2020, especially after the fiasco of censorship of the
   Hunter Biden laptop story. These “I do not recollect” responses also contradict Chan’s testimony
   later in the deposition that he “regularly” communicated with FITF and FBI’s cyber division about
   the possibility of a hack-and-leak operation: “I believe that we internally discussed the potential
   for hack-and-leak operations, and so I regularly was in communication with the cyber division of
   the FBI as well as with the Foreign Influence Task Force to see if they had heard of anything that
   I had not heard of. So I would say that the people that I communicate with, everyone was vigilant,
   but no one -- I believe that in general people at the FBI were concerned about the potential for
   hack-and-leak operations, but that we had not seen any investigations that led in that direction or
   that would lead us in that direction.” Id. 206:23-207:10. He specifically admitted that he recalls
   discussing hack-and-leak operations with FITF officials “Ms. Dehmlow, Mr. Olson, Mr. Cone,
   and Mr. Giannini.” Id. 207:19-23. It is not credible that the only aspect of his internal discussions
   with the FBI about hack-and-leak operations that he does not recall is whether someone from the
   FBI suggested or directed him to raise the issue with social-media platforms.

          RESPONSE: Disputed. The assertions that ASAC Chan’s lack of recollection as to

   particular internal discussions “within the FBI” consisted of “stock responses” or is “facially

   implausible” or “contradict[ed]” by or “not credible” based on other testimony, and that there was

   a “fiasco of censorship of the Hunter Biden laptop story,” are argumentative mischaracterizations

   unsupported by the record. ASAC Chan’s inability to remember any internal FBI discussions about

   communicating with social media companies about “the prospect of Russian hack-and-leak

   operations” more than two years before his deposition is unsurprising given that meeting with



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   social media companies is only one of ASAC Chan’s many official responsibilities. ASAC Chan’s

   inability to recall that detail during his testimony does not imply any lack of credibility. ASAC

   Chan also testified that while he did not initially “recollect any specific person discussing . . . with

   me” the “prospect of a Russian hack-and-leak operation before the 2020 election,” he immediately

   thereafter testified that “However, based on both my experience as well as my knowledge of active

   investigations, I would have believed -- as my own assessment, I believe that there was the

   potential for hack-and-leak operations ahead of the 2020 elections.” Chan Dep. 203:13-21. In any

   event, any internal FBI discussions by definition were not discussions with any social media

   company and therefore cannot constitute evidence that the FBI used pressure or deception to

   induce social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg.

   §§ II.B.3.b.i & II.B.4.b.

          892. Further, as revealed on the video of Chan’s deposition, his demeanor in answering
   questions on this point changes and becomes evasive. Chan’s demeanor when testifying on this
   point undermines his credibility.

             RESPONSE: Disputed. The assertions that ASAC Chan’s “demeanor” in answering

   questions as to particular internal discussions “within the FBI” was “evasive” or “undermines his

   credibility” are argumentative mischaracterizations lacking specific citation to or support in the

   record.

           893. The FBI and other federal officials had no specific investigative basis for these
   repeated warnings about possible “hack-and-dump” operations. As Chan admits, “[t]hrough our
   investigations, we did not see any similar competing intrusions to what had happened in 2016. So
   although from our standpoint we had not seen anything, we specifically, in an abundance of
   caution, warned the companies in case they saw something that we did not.” Id. 174:7-13. As
   Chan admits, “we were not aware of any hack-and-leak operations that were forthcoming or
   impending” when he and other federal officials warned about the “risk of hack-and-leak
   operations, especially before the general election.” Id. 192:19-24.



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          RESPONSE: Disputed. The assertion that Defendants “had no specific investigative basis

   for . . . repeated warnings” is an argumentative mischaracterization unsupported by the record. FBI

   did have a factual basis for the 2020 warnings based on the Russian effort to influence the 2016

   presidential election and the concerns of multiple officials in the Trump Administration that those

   efforts were continuing in 2020. See Defs.’ Resp. to PFOF ¶ 880. In any event, this PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          894. Matt Masterson and Brian Scully of CISA also raised the concern about the threat
   of hack-and-leak operations in the 2020 election cycle to the social-media platforms during the
   “USG-Industry” meetings that occurred quarterly, then monthly, then weekly leading up to the
   2020 election. Id. 212:3-22.

          RESPONSE: Dispute the assertion that Mr. Masterson and Mr. Scully definitely raised

   “the concern” described in this PFOF or that they raised it at every meeting is unsupported by the

   record. ASAC Chan testified that he “did not recall any specific situations where” Messrs.

   Masterson and Scully expressed the concern, although he “believe[s]” that “is something that they

   may have discussed.” Chan Dep. 212:17-19. In any event, this PFOF contains no evidence that the

   FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          895. Yoel Roth, then-Head of Site Integrity at Twitter, provided a formal declaration to
   the Federal Election Commission containing a contemporaneous account of the discussion of the
   threat of “hack-and-leak operations” at the meetings between the FBI, other federal law-
   enforcement and national-security agencies, and the social-media platforms. His declaration states:
   “Since 2018, I have had regular meetings with the Office of the Director of National Intelligence,
   the Department of Homeland Security, the FBI, and industry peers regarding election security.


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   During these weekly meetings, the federal law enforcement agencies communicated that they
   expected ‘hack-and-leak operations’ by state actors [i.e., Russians or other foreign governments]
   might occur in the period shortly before the 2020 presidential election, likely in October. I was
   told in these meetings that the intelligence community expected that individuals associated with
   political campaigns would be subject to hacking attacks and that material obtained through those
   hacking attacks would likely be disseminated over social media platforms, including Twitter.
   These expectations of hack-and-leak operations were discussed throughout 2020. I also learned in
   these meetings that there were rumors that a hack-and-leak operation would involve Hunter
   Biden.” Chan. Ex. 8, ¶¶ 10-11, at 2-3 (emphasis added). Yoel Roth executed this declaration on
   December 17, 2020, shortly after the events described, and submitted it to the Federal Election
   Commission in a formal enforcement proceeding, so it has the force of a statement under oath. Id.
   at 4.

          RESPONSE: Not disputed that Plaintiffs have accurately quoted from Mr. Roth’s

   declaration. Note however, that in February 8, 2023, testimony before the House of

   Representatives Committee on Oversight and Accountability about the meetings mentioned in Mr.

   Roth’s declaration, Mr. Roth clarified that the FBI was not the source of warnings to Twitter about

   “a hack-and-leak operation . . . involv[ing] Hunter Biden.” See Ex. 2 at 37 (Protecting Speech from

   Government Interference and Social Media Bias, Part 1: Twitter’s Role in Suppressing the Biden

   Laptop Story: Hearing Before the H. Comm on Oversight & Accountability, 118th Cong. 1 (2023))

   (“My recollection is that a representative of another tech company may have mentioned [the

   Hunter Biden hack-and-leak operation], but those meetings were several years ago. I truly don’t

   recall.”); id. at 43 (“I want to be clear that my statement to the FEC does not suggest that the FBI

   told me it would involve Hunter Biden. That's a popular reading of that declaration, but it was not

   my intent.”); id. at 46 (“My recollection is it was mentioned by another technology company in

   one of our joint meetings, but I don’t recall specifically whom.”).

           896. Chan’s account of these meetings largely matches Roth’s account, see, e.g., Chan
   Dep. 218:5-220:15, but there are two key discrepancies between Roth’s and Chan’s accounts. First,
   Roth recounts that the FBI and national-security officials communicated to Twitter that they
   “expected” that there would be one or more hack-and-leak operations by Russia or other “state
   actors.” Id. at 2. Chan testified that he believed they used words like “concern” instead of
   “expected.” Chan. Dep. 220:20-24, 224:5-17, 226:5-12, 227:3-6. Second, Roth specifically recalls
   that federal officials told him that “there were rumors that a hack-and-leak operation would involve
   Hunter Biden.” Chan Ex. 8, ¶ 11, at 3. Chan testified that “in my recollection, Hunter Biden was


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   not referred to in any of the CISA USG-Industry meetings.” Chan Dep. 213:8-10; see also id.
   227:24-228:1, 228:21-23, 229:9-11 229:15-20.

          RESPONSE: Disputed. This PFOF repeatedly mischaracterizes statements from Mr.

   Roth’s December 2020 declaration to give the appearance of discrepancies between his

   recollection of the meetings and ASAC Chan’s. First, Mr. Roth did not state in his declaration that

   the FBI or other national-security officials told Twitter that they “‘expected’ that there would be”

   more hack-and-leak operations. As quoted in the preceding PFOF, ¶ 895, Mr. Roth stated that they

   “expected ‘hack-and-leak operations’ by state actors might occur” (emphasis added), consistent

   with ASAC Chan’s use of the word “concern” to express the tenor of what was communicated to

   the companies. Second, Mr. Roth did not state in his declaration that he “specifically recalls that

   federal officials told him that ‘there were rumors that a hack-and-leak operation would involve

   Hunter Biden’” (emphasis added). Rather, he stated that he “learned in these meetings that there

   were rumors that a hack-and-leak operation would involve Hunter Biden” (emphasis added),

   without specifying from whom he heard this rumor, a Government representative or a

   representative from another social media company. The so-called “discrepancies” are immaterial,

   in any event, as set forth in response to Plaintiffs’ PFOF ¶ 895, as Mr. Roth clarified in his February

   2023 congressional testimony that neither the FBI nor other government agencies were the source

   of warnings to Twitter about “a hack-and-leak operation . . . involv[ing] Hunter Biden.” See Defs.’

   Resp. to PFOF ¶ 895. At any rate, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           897. On these points, Roth’s declaration is more credible than Chan’s testimony, for at
   least four reasons. First, Roth’s declaration was executed much closer in time to the events


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   described—just two months later—while Chan’s testimony occurred over two years later. Indeed,
   as noted above, Chan himself admitted that he “could not recollect” key details about the federal
   officials’ course of conduct in warning social-media platforms about a supposed “hack and dump”
   operation, so there is no reason to think that Chan’s recollection is more reliable on these similarly
   specific details.

          RESPONSE: Disputed for the reasons stated in response to Plaintiffs’ PFOF ¶ 896. As

   explained therein, the asserted “discrepancies” between Mr. Roth’s declaration and ASAC Chan’s

   testimony are neither substantiated, nor material.

           898. Second, Roth had no incentive to color or shade his account of communications
   from federal officials when he submitted this Declaration to the FEC, while Chan has strong
   incentives to shade his testimony on these points to deemphasize the FBI’s involvement in
   censoring the Hunter Biden laptop story. Indeed, if the FBI and other federal officials warned
   social-media platforms about a hack-and-leak operation involving Hunter Biden—when the FBI
   had received Hunter Biden’s laptop from the Delaware repair-shop owner and thus knew that it
   was not hacked, see Doc. 106-3, at 5-11 —that raises a compelling inference that the FBI
   deliberately gave misleading information to social-media platforms to induce them to wrongfully
   censor the Hunter Biden laptop story.

          RESPONSE: Disputed. First, the PFOF does not even specify what “incentives” ASAC

   Chan supposedly had to “shade” his deposition testimony, much less cite evidence to support a

   suggestion that he was anything but truthful. Second, the PFOF’s assumption that “the FBI and

   other federal officials warned social-media platforms about a hack-and-leak operation involving

   Hunter Biden” is unsupported by the evidence on which Plaintiffs rely, as explained in response

   to Plaintiffs’ PFOF ¶ 896. Third, in any event, Mr. Chan has no internal knowledge of the relevant

   ongoing FBI investigation, Chan Dep. 214:8-16, about which the FBI does not publicly comment.

   Therefore, fourth, Plaintiffs cite no evidence, and there is none, “that the FBI deliberately gave

   misleading information to social-media platforms to induce them to wrongfully censor the Hunter

   Biden laptop story.” In short, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any




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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          899. Third, Chan’s testimony on a closely related point—whether Chan was instructed
   by an FBI official to warn social-media platforms about “hack and leak” operations—is not
   credible. Chan’s minor disagreements with Roth’s account are not credible for similar reasons. For
   example, Chan claims to have extremely specific recollection of the FBI’s word-choice in
   meetings that occurred over two years earlier—disputing that the FBI used the word “expected,”
   id. 220:20-24, 223:12-22, 224:5-17, 226:5-12, 227:3-6, and affirmatively asserting with
   confidence that “Hunter Biden” was never mentioned, id. 213:8-10, 227:24-228:1, 228:21-23,
   229:9-11 229:15-20—while at the same time claiming that he could not recollect whether he
   discussed the same issues with the FBI internally at all, Id. 189:14-23; 189:8-191:21, 203:13-15.

          RESPONSE: Disputed. First, as explained in response to Plaintiffs’ PFOFs ¶¶ 890-91,

   ASAC Chan’s inability to remember any internal FBI discussions about communicating with

   social media companies about “the prospect of Russian hack-and-leak operations” more than two

   years before his deposition does not imply any lack of credibility; in any event, any internal FBI

   discussions by definition were not discussions with any social media company and therefore

   cannot constitute evidence in support of Plaintiffs’ claims. Second, the supposed “disagreements”

   between Mr. Roth’s declaration and ASAC Chan’s deposition testimony, in addition to being

   immaterial, are based on Plaintiffs’ own mischaracterizations of Mr. Roth’s statements, as

   explained in response to Plaintiffs’ PFOF ¶ 896. This PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          900.    Fourth, Chan’s demeanor while testifying by videotape on this point is evasive
   and undermines his credibility.

          RESPONSE: Disputed. The description of Special Agent Chan’s “demeanor” as “evasive”

   is an argumentative mischaracterization lacking specific citation to or support in the record. This



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   PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          901. Two additional points support the credibility of Roth’s account over Chan’s. First,
   Brian Scully’s testimony, unlike Chan’s, did not dispute or quibble with any aspect of Roth’s near-
   contemporaneous account of these conversations—Scully merely contended that he could not
   remember. Scully Dep. 247:18-248:2.

          RESPONSE: Disputed. First, the assumption of a disagreement between Mr. Roth’s

   declaration and ASAC Chan’s testimony that requires an assessment of “credibility” is itself

   unsupported by the record, as explained in response to Plaintiffs’ PFOF ¶ 896. Second, Mr.

   Scully’s lack of recall regarding a reference to Hunter Biden during the USG-Industry meetings

   supports ASAC Chan’s testimony that “in [his] recollection, Hunter Biden was not referred to in

   any of [those] meetings.” Chan Dep. 213:8-10; see also id. at 227:7-229:11. This PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

            902. Second, Roth’s account directly matches the less detailed but even more
   contemporaneous account provided by Mark Zuckerberg in his testimony before Congress on
   October 28, 2020. Zuckerberg’s testimony confirms that, as Yoel Roth recounted, the FBI
   conveyed a strong risk or expectation of a foreign hack-and-leak operation shortly before the 2020
   election: “So you had both the public testimony from the FBI and in private meetings alerts that
   were given to at least our company … that suggested that we be on high alert and sensitivity that
   if a trove of documents appeared that we should view that with suspicion, that it might be part of
   a foreign manipulation attempt.” Chan Ex. 9, at 56 (emphasis added). Indeed, Chan did not dispute
   Zuckerberg’s account: “I don’t remember the exact framing of our discussions with them [i.e.,
   Facebook].” Chan Dep. 247:14-15. And again, Chan did not dispute the fundamental details of
   Zuckerberg’s account; he admitted that he “hosted several private meetings with Facebook where
   the concern about a hack-and-leak operation was raised” in 2020. Chan Dep. 246:17-20. Though
   Chan did state that “I would not have framed it like Mr. Zuckerberg did,” Chan essentially
   concedes the accuracy of Zuckerberg’s account. Chan Dep. 255:14-15.


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          RESPONSE: Disputed. First, Mr. Zuckerberg’s testimony makes no reference to an

   “alert” from the FBI, or any other Government agency, of a hack-and-leak operation involving

   Hunter Biden’s laptop, and thus his testimony more closely aligns with ASAC Chan’s. Second,

   Plaintiffs omit from their PFOF Mr. Zuckerberg’s further testimony that “one of the threats that

   the FBI has alerted our companies and the public to, was the possibility of a hack and leak operation

   in the days or weeks leading up to this election,” Chan Dep. Ex. 9 at 56, again consistent with Mr.

   Chan’s testimony regarding the nature of the message the Government conveyed in the USG-

   Industry meetings. See also Dkt. 96 at 2 (October 25, 2022 letter by Meta’s counsel representing

   to the Court that “ASAC Chan at no point in time advised Meta ‘to suppress the Hunter Biden

   laptop story.’ Nor did any of his colleagues.”). This PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           903. After the Hunter Biden story broke on October 14, 2020, Laura Dehmlow of the
   FBI refused to comment on the status of the Hunter Biden laptop in response to a direct inquiry
   from Facebook, even though the FBI had the laptop in its possession since late 2019 and knew that
   its contents were not hacked. Chan Dep. 213:11-215:5.

          RESPONSE: Disputed. The cited testimony is that after the New York Post story broke,

   ASAC Chan recalls Ms. Dehmlow saying the FBI had no comment in response to a question from

   a Facebook analyst whether the FBI had any information they could share about the relevant

   investigation. The cited testimony does not state that Ms. Dehmlow “refused to comment on the

   status of the Hunter Biden laptop” or that there was “a direct inquiry” about the laptop (as opposed

   to a general inquiry prompted by the New York Post story). Furthermore, the FBI has consistently

   declined to comment on or provide details about any relevant investigation. This PFOF contains



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   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           904. When the Hunter Biden laptop story broke on October 14, 2020, it was widely
   censored on social media, including by Twitter and Facebook, pursuant to their hacked-materials
   policies. For example, Twitter’s Site Integrity Team “blocked Twitter users from sharing links
   over Twitter to the applicable New York Post articles and prevented users who had previously sent
   Tweets sharing those articles from sending new Tweets until they deleted the Tweets” sharing the
   Hunter Biden laptop story. Chan Ex. 8, at 3. “Facebook, according to its policy communications
   manager began ‘reducing its distribution on the platform,’ pending … a third-party fact check.
   Twitter went beyond that, blocking all users, including the House Judiciary Committee, from
   sharing the article on feeds and through direct messages. Twitter even locked the New York Post
   account entirely, claiming the story included hacked materials and was potentially harmful.” Chan
   Ex. 9, at 2.

          RESPONSE: Disputed. Plaintiffs omit Twitter’s 2022 and prior representations to

   Congress about its conduct as to the “Hunter Biden Laptop Story.” Plaintiffs’ assertions that the

   “Hunter Biden Laptop Story” “was widely censored on social media” are argumentative

   mischaracterizations unsupported by the record. Twitter’s then-chief executive, Jack Dorsey,

   represented to Congress in 2020 that, after the New York Post’s release of its articles, Twitter

   enforced its Hacked Materials Policy, which prevented sharing certain links from that newspaper’s

   Twitter account, “publicly or privately,” but “[r]eferences to the contents of the materials or

   discussion about the materials were not restricted under the policy.” Ex. 137 at 6 (Breaking the

   News: Censorship, Suppression, and the 2020 Election: Hearing Before the S. Comm. on the

   Judiciary, 116th Cong. 6 (2020) (statement of Jack Dorsey, CEO, Twitter), 2020 WL 13568471).

   As a former attorney for Twitter, Vijaya Gadde, represented to Congress in 2023, the New York

   Post’s tweets about the article fell within the Hacked Materials Policy because they contained

   “embedded images that looked like they may have been obtained through hacking,” and the result

   of Twitter’s initial decision was to “block[]” tweets and linked-to articles “embedding those source


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   materials,” which did not prevent other “tweeting [about], reporting, discussing, or describing the

   contents of” the laptop. Ex. 2 at 5. But “Twitter then “changed its policy within 24 hours and

   admitted its initial action was wrong. This policy revision immediately allowed people to tweet

   the original articles with the embedded source materials.” Id. Thus, Twitter changed tacks, and it

   “quickly updated our policy to limit its scope to only cover the removal of materials shared by

   hackers directly,” and subsequently restored the New York Post’s account. Ex. 137 at 6.

          D.      The FBI Routinely Flags Speakers and Content for Censorship.

          905. According to Chan, during the 2020 election cycle, “the U.S. government and social
   media companies effectively impeded [foreign] influence campaigns primarily through
   information sharing and account takedowns, respectively.” Chan Ex. 1, at i (emphasis added).

          RESPONSE: Undisputed subject to clarification. The exhibit cited is ASAC Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”

   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”

          906. According to Chan, the FBI’s “information sharing” includes both “strategic
   information,” which “discusses the tools, tactics or processes” used by foreign-influence
   campaigns, and “tactical information," which means identifying specific “indicators or selectors,”
   which are both “a term of art” that refers to “IP addresses, email accounts, social media accounts,
   … website domain names, and … file hash values.” Chan Dep. 29:15-30:7.

          RESPONSE: Undisputed.

          907. In other words, according to Chan, the FBI “shares information” with social-media
   platforms that includes information about specific IP addresses, email accounts, social-media
   accounts, and website domain names that the FBI believes should be censored, and this sharing of
   information leads social-media platforms to engage in “account takedowns” based on the FBI’s
   information. See id. According to Chan, this combination of “information sharing” and “account
   takedowns” “effectively impeded [foreign] influence campaigns” during the 2020 election cycle.
   Chan Ex. 1, at i.

          RESPONSE: Disputed. The assertion that FBI provided foreign influence information to

   platforms about accounts FBI “believes should be censored” is an argumentative

   mischaracterization unsupported by the cited testimony or the record. Rather, ASAC Chan testified


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   that the FBI provided the companies information enabling them to “discover fake Russian

   accounts” on their platforms, Chan Dep. 32:16-24, “so that they can protect their platforms as they

   deem appropriate, and they can take whatever actions they deem appropriate without any

   suggestion or interference from the FBI,” id. at 34:7-12, including “taking them down,” id. at

   32:24, 33:17. This PFOF contains no evidence that the FBI used pressure or deception to induce

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the FBI as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg.

   §§ II.B.3.b.i & II.B.4.b.

           908. Chan testified that the FBI shares this information with social-media platforms so
   that they can “protect their platforms”—indeed, “protect their platforms” was a stock phrase in
   Chan’s testimony. Chan Dep. 32:19, 34:7-12, 35:8-10, 36:25, 87:22-23, 274:14. As Chan’s
   testimony makes clear, however, the phrase “protecting their platforms” is a euphemism for
   “censoring speech that federal officials disfavor.” For example, Chan admits that “protect their
   platforms” means “knocking down accounts or knocking down misinformation content.” Chan
   Dep. 273:12-17. Chan’s thesis and testimony make clear that the FBI’s purpose in “information
   sharing” with social-media platforms is to induce them to censor speech that the FBI dislikes and
   wants to see censored. For example, Chan testified that “my purpose is to share the information
   with them so they can protect their platforms as they deem appropriate,” but he immediately
   admitted that “one way to protect their platforms is to take down these accounts.” Id. 35:9-14.
   Thus, Chan admits that the FBI’s “purpose” in “information-sharing” includes “to take down these
   accounts” that the FBI believes are Russian-influenced. Id.

          RESPONSE: Disputed as an argumentative mischaracterization and misrepresentation of

   the cited evidence that is unsupported by the record. Mr. Chan did not testify or in any way suggest

   “that the FBI’s purpose in ‘information sharing’ with social-media platforms is to induce them to

   censor speech that the FBI dislikes” or that “federal officials disfavor.” First, he explained that

   the FBI shares technical information with the companies (such as Internet Protocol (IP) addresses

   and other “selectors”) suggesting the presence on their platforms of malign foreign-influence and

   foreign state-sponsored accounts, principally Russian accounts, not information about accounts

   the Government “disfavor[s]” or “dislikes.” See, e.g., Chan Dep. 32:16-24, 33:12-17, 36:9-11,


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   42:12-17. Second, the FBI’s purpose was not to induce the companies to “censor” speech but, as

   noted above, ASAC Chan explained that the FBI shared information about possible malign

   foreign-influence accounts on their platforms “so that they can protect their platforms as they deem

   appropriate . . . take whatever actions they deem appropriate without any suggestion or interference

   from the FBI,” id. at 34:7-12.

          Note further that ASAC Chan’s master’s thesis also provides no support for the

   misrepresentations contained in this PFOF. As ASAC Chan explained when questioned about his

   thesis, “so looking at that sentence [from the thesis] and from my recollection, the FBI part of it is

   the information sharing portion, and then the social media company portion is to decide if it

   violates their terms of service. And if it does violate their terms of service, one of the actions they

   could take is to knock down accounts or to knock down content.’ Id. at 273:16-274:5; see also id.

   at 274:12-17.

          Note still further, as attested in the Declaration of Larissa Knapp, submitted herewith, the

   Foreign Influence Task Force’s sharing of information with social media platforms is not based on

   the political or other speech of U.S. persons. Knapp Decl. ¶ 16 (Ex. 157). A decision by the FITF

   to share information with a U.S. social media platform about a foreign malign actor’s social media

   activity is not based upon the content or particular viewpoint expressed in a posting but rather on

   the fact that the account is part of a covert effort by a foreign malign actor. Id. This PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          909. Chan admits that the purpose and predictable effect of “tactical” information-
   sharing—i.e., the FBI flagging specific accounts, websites, URLs, IP addresses, web domain



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   names, etc., to social-media platforms for censorship—is that the platforms will take action against
   such specific content and accounts under their content-moderation policies: “from what I have
   observed and what they have told me when we have provided them with high confidence of
   Russian selectors, that they have been able to discover fake Russian accounts and take them down.”
   Id. 32:20-24.

          RESPONSE: Disputed as an argumentative mischaracterization of the cited evidence.

   First, ASAC Chan did not “admit[ ]” or even suggest that the FBI has ever “flagg[ed] specific

   accounts, websites, URLs,” and the like “to social-media platforms for censorship.” He testified

   repeatedly and consistently that FBI shares information with social media companies about

   possible malign foreign-influence accounts so the companies may ascertain for themselves

   whether the accounts are foreign-based and inauthentic, and, if so, “protect their platforms as they

   deem appropriate, and . . . take whatever actions they deem appropriate without any suggestion or

   interference from the FBI.” See Chan Dep. 31:21-35:10. This PFOF contains no evidence that the

   FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          910. According to Chan, the social-media platforms “take the information that we share,
   they validate it through their own means. And then if they determine that these are accounts being
   operated by Russian state-sponsored actors, then they have taken them down.” Id. 33: 12-17.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          911. Chan admits that, during the 2020 election cycle, the U.S. Government engaged in
   “information sharing with the social media companies to expose Russia’s different operations and
   shut down its accounts.” Chan Ex. 1, at xvii. In other words, Chan admits that the purpose of


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   federal officials’ “information sharing” was to “shut down … accounts” on social media that the
   Government disfavored. Id.; see also Chan Dep. 37:17-38:2.

          RESPONSE: Disputed as an argumentative mischaracterization unsupported by the

   record, for the reasons stated in response to Plaintiffs’ PFOF ¶¶ 907-09. Note further that the

   FITF’s sharing of information with social media platforms is not based on the political or other

   speech of U.S. persons. A decision by the FITF to share information with a U.S. social media

   platform about a foreign malign actor’s social media activity is not based upon the content or

   particular viewpoint expressed in a posting but rather on the fact that the account is part of a covert

   effort by a foreign malign actor. See Knapp Decl. ¶ 16 (Ex. 157). This PFOF contains no evidence

   that the FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           912. In addition to social-media platforms, Chan and the FBI also “share indicators”
   with state and local government election officials, such as “county registrars or county clerk’s
   offices”—who are also state actors subject to the First Amendment. Chan “would share indicators
   with them,” and “share the same type of information that I shared with social media companies,”
   including “IP addresses and domain names, so that they could see if they were popping up
   anywhere on their networks.” Id. 50:11-51:6. In other words, the FBI feeds information to state
   and local election officials so that they can make their own reports of supposed “misinformation”
   and “disinformation” to social-media platforms, creating a First Amendment feedback loop. The
   FBI seeds concerns with the state and local election officials, who then identify supposed
   “disinformation” and “misinformation” based on the FBI’s information, and then report it to the
   social-media platforms through CISA and the FBI.

          RESPONSE: Not disputed that ASAC Chan testified that in 2020 the FBI San Francisco

   Office provided to registrars and clerk’s offices in 16 California counties the same type of

   information regarding foreign malign actors that it provides to social media companies, “to see if

   they were popping up anywhere on their [the counties’] networks.” Chan Dep. 50:11-51:6. The

   remainder of this PFOF—including the allegation that the FBI was “seed[ing] concerns” with other



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   officials, so they would identify “mis-“ or “disinformation” to report to social media platforms,

   and that the FBI “create[ed] a First Amendment feedback loop”—is disputed as argumentative

   assertions for Plaintiffs cite no evidence whatsoever, and there is none. The FITF’s work includes

   information and intelligence sharing with federal, state, and local government agencies, as well as

   with U.S. private sector entities. See Knapp Decl. ¶¶ 10-20 (Ex. 157). In any event, this PFOF

   contains no evidence that the FBI used pressure or deception to induce social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with the FBI as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           913. Chan contends that Russian “state-sponsored actors … have created fake social
   media accounts,” which “have either generated disinformation themselves or they have amplified
   existing content from current users of social media platforms.” Id. 60:1-7.

          RESPONSE: Undisputed.

           914. These supposedly Russian-controlled accounts “make their own content,” such as
   “mak[ing] their own Facebook postings,” and they “try to find what are the hot-button or current
   issues in the news … and then they will try to either generate content themselves related to that or
   they will amplify existing content.” Id. 60:13-22. This is supposedly done with the goal to “sow
   discord in the American online environment.” Id. 61:12-13.

          RESPONSE: Undisputed subject to clarification. The FBI shares the information only if

   it has high confidence that the account is attributed to a foreign state actor, not merely if it is

   “supposedly” attributed to a foreign state actor. Chan Dep. 112:24-113:6.

           915. Chan agrees that “the goal there is … they post messages that they anticipate will
   be divisive and try and get Americans to engage with them.” Id. 61:14-18.

          RESPONSE: Undisputed.

           916. As Chan agrees, “engagement” with a social-media posting includes viewing the
   content, liking or disliking it, reposting it, commenting on it, and/or reposting it with commentary.
   Id. 61:19-63:13. All of these are First Amendment-protected activities. In this way, according to
   Chan, “the Russians are trying to get people to engage on their divisive content.” Id. 63:19-64:1.




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          RESPONSE: Disputed. The assertion that “engagement” with the activity of foreign

   malign actors is “First Amendment-protected” is an unsupported legal conclusion. Defendants

   address Plaintiffs’ legal conclusion and arguments in their brief in response to Plaintiffs’ motion

   for a preliminary injunction.

           917. According to Chan, over 126 million Americans “engaged” with Russian-
   originated content on Facebook, and 1.4 million Americans engaged with such content on Twitter,
   during the 2016 election cycle. Id. 66:2-25. All of this was First Amendment-protected activity.
   Chan credits federal government efforts during the 2020 election cycle with preventing the vast
   majority of such “engagement” by American citizens with Russian-originate content on social
   media during the 2020 election cycle. Chan Ex. 1, at v (“This thesis finds that the Russians shifted
   their tactics from 2016 to 2020. Still, the U.S. government and social media companies effectively
   impeded their influence campaigns primarily through information sharing and account takedowns,
   respectively.”). Thus, the federal officials’ “information sharing” activities prevented an enormous
   amount of First Amendment-protected activity from occurring.

          RESPONSE: Disputed. The assertion that “engagement” with the activity of foreign

   malign actors is “First Amendment-protected” is an unsupported legal conclusion. Defendants

   address Plaintiffs’ legal conclusion and arguments in their brief in response to Plaintiffs’ motion

   for a preliminary injunction. (Note also that the exhibit cited is Special Agent Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”

   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”) In any event, this PFOF contains no evidence that

   the FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           918. Chan’s thesis and testimony provide clear examples of how supposedly Russian-
   originated “disinformation” on social media becomes intertwined with, and inseparable from, First
   Amendment-protected forms of expression by American citizens. Chan identifies a supposedly
   Russian-originated political ad on Facebook that features a picture of Hillary Clinton with a black
   X painted over her face, advertising an event called “Down with Hillary!” and stating, “Hillary
   Clinton is the co-author of Obama’s anti-police and anti-Constitutional propaganda.” Chan Ex. 1,


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   at 29. None of this is “disinformation” in any meaningful sense—it is actually expression of
   political opinions. The posting notes that it received 763 reactions and 78 comments on Facebook,
   which Chan agrees are “engagements by users.” See id.; see also Chan Dep. 67:1-68:20. Chan
   contends that the underlying ad was “Russian-originated content masquerading as something
   posted by an American,” id. 67:6-10—i.e., just the sort of content that the FBI would flag for
   censorship to social-media platforms through “tactical information-sharing.” But once the FBI
   induces Facebook to pull down the ad from the platform, the First Amendment-protected
   “engagements” by Americans—likes, dislikes, re-posts, comments, etc.—are all obliterated as
   well. This is the collateral damage to Americans’ freedom of speech in the FBI’s war on so-called
   Russian “disinformation.”

          RESPONSE: Disputed. The assertion that “engagement” with the activity of foreign

   malign actors is “First Amendment-protected” is an unsupported legal conclusion. Defendants

   address Plaintiffs’ legal conclusion and arguments in their brief in response to Plaintiffs’ motion

   for a preliminary injunction. The assertions that the FBI provides foreign influence information to

   platforms to “flag” content “for censorship” and “induces” any platform to “pull it] down” are

   disputed as argumentative mischaracterization unsupported by the record for the reasons already

   stated above. (Note also that the exhibit cited is ASAC Chan’s thesis submitted for postgraduate

   studies, and expressly states, at page i, that “[t]he views expressed in” it “are those of the author

   and do not reflect the official policy or position of the Department of Defense, the FBI, or the U.S.

   Government.”) In any event, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           919. Chan’s thesis provides similar examples of supposedly Russian-originated content
   with heavy engagement by Americans. For example, it reproduces two supposedly Russian-
   originated political ads containing a secure-borders message (“Secured Borders: Every man should
   stand for our borders! Join!”) and a pro-Second Amendment message (“Defend the 2nd: The
   community of 2nd Amendment supporters, gun-lovers & patriots”). Chan Ex. 1, at 32. Again, these
   are expressions of political opinion, not “disinformation” in any meaningful sense. The former
   posting garnered 134,943 “likes,” and the latter posting garnered 96,678 “likes”—each of which
   is a First Amendment-protected expression of support for the underlying, supposedly Russian-


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   originated, political message. See id. Another similar ad, targeting black voters, simply stated
   “Black Matters: Join us because we care. Black matters!” and it drew 223,799 “likes” from
   ordinary users. Id. at 32; Chan Dep. 80:12-20. Chan admits that these are “high” levels of
   “engagement” from ordinary users. Chan Dep. 83:21.

          RESPONSE: Disputed. The assertion that “engagement” with the activity of foreign

   malign actors is “First Amendment-protected” is an unsupported legal conclusion Defendants

   address Plaintiffs’ legal conclusion and arguments in their brief in response to Plaintiffs’ motion

   for a preliminary injunction. The assertion that the “likes” described in this PFOF are from

   “ordinary users” is unsupported by the record. (Note also that the exhibit cited is ASAC Chan’s

   thesis submitted for postgraduate studies, and expressly states, at page i, that “[t]he views

   expressed in” it “are those of the author and do not reflect the official policy or position of the

   Department of Defense, the FBI, or the U.S. Government.”)

         920. Chan also reports that “IRA employees used social media bots, i.e., computer
   programs which control social media accounts, to amplify existing content.” Chan Ex. 1, at 30.
   To “amplify existing content” means to do “things like liking it or reposting it.” Chan Dep. 71:20-
   24.

          RESPONSE: Undisputed subject to clarification. The exhibit cited is ASAC Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”

   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”

          921. Based on research, Chan estimates that “over 100,000 real people had their postings
   amplified by [Russian]-controlled social media bots.” Id. 87:2-6.

          RESPONSE: Undisputed subject to clarification. The exhibit cited is ASAC Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”

   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”

          922. In addition, the “indicators” that the FBI targeted for censorship included
   supposedly Russian-aligned websites that hosted First Amendment-protected content posted by


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   Americans. For example, Chan identified a supposedly Russia-generated website called
   “PeaceData,” which “hire[d] unwitting freelance journalists, including Americans, to write articles
   for the site.” Id. 141:24-142:3. “[A]t least 20 freelance journalists, which includes Americans, had
   been duped into writing articles for the site.” Id. 142:4-9. The FBI identified this site as Russia-
   generated to the social-media platforms, and as a result, the platforms “identified accounts that
   were foreign-associated … that were directing users to those platforms” and “t[ook] actions against
   those accounts.” Id. 143:10-20. The speech of the American freelance journalists was thus
   suppressed due to FBI inducement.

          RESPONSE: Disputed as argumentative mischaracterization omitting material context

   from the cited testimony. ASAC Chan explained that the “PeaceData” website was created by the

   Russian Internet Research Agency, that it was “intended to sow . . . disinformation and discord

   among . . . left-leaning voters in the United States,” and that social media companies did not take

   it down but instead “discredited” it and identified foreign-associated fake accounts on their

   platforms that directed users to the “PeaceData” site. See Chan Dep. 141:10-144:12; see also Ex.

   129 (Press Release, Dep’t of Just., Grand Jury Indicts Thirteen Russian Individuals and Three

   Russian Companies for Scheme to Interfere in the United States Political System (Feb. 16, 2018),

   2018 WL 920088), explaining that IRA, or Internet Research Agency, is a Russian company

   indicted for “committing federal crimes while seeking to interfere in the United States political

   system, including the 2016 Presidential election”). The assertion that social media companies took

   action as to “PeaceData” “as a result” of the FBI’s identification is unsupported by the record. See

   Chan Dep. 143:10-18 (“[w]hat” companies “conveyed to” ASAC Chan “is that they identified

   accounts that were foreign-associated. . . . Internet Research Agency-associated, that were

   directing users on those platforms to the PeaceData website” and that the companies took action

   against certain accounts). The assertions that FBI “targeted” accounts “for censorship” or that FBI

   “inducement” resulted in “speech” being “suppressed” are argumentative mischaracterizations

   unsupported by this PFOF or the record as a whole. (Note also that the testimony cited in this

   PFOF concerned ASAC Chan’s thesis submitted for postgraduate studies, and expressly states, at



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   page i, that “[t]he views expressed in” it “are those of the author and do not reflect the official

   policy or position of the Department of Defense, the FBI, or the U.S. Government.”) In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           923. Similarly, Chan identified a website called “NAEBC” as a Russia-generated
   website. According to Chan, the Russians “used various social media accounts to engage with real
   users and convince them to post on the NAEBC site, which met with some success.” Id. 144:13-
   145:2. Thus, “the NAEBC site also included content drafted and written by real users that had
   posted on that site.” Id. 145:3-6. “The FBI flagged the NAEBC site to social-media platforms as
   a … Russian-originated source.” Id. 146:12-15. On that basis, “the companies were able to
   discover Russian-controlled accounts that were used to try to redirect users to those websites,” and
   the platforms “said they had taken down those accounts.” Id. 146:16-147:7. The FBI thus induced
   the platforms to censor the speech of “real users” on a supposedly fake Russian website.

          RESPONSE: Disputed. The assertion that FBI “induced the platforms to censor the

   speech” is an argumentative mischaracterization unsupported by the cited testimony or the record

   as a whole, as explained above. (Note also that the testimony cited in this PFOF concerned ASAC

   Chan’s thesis submitted for postgraduate studies, and expressly states, at page i, that “[t]he views

   expressed in” it “are those of the author and do not reflect the official policy or position of the

   Department of Defense, the FBI, or the U.S. Government.”) In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          924. Chan admits that “Russia’s influence operations” are deeply intertwined with First-
   Amendment-protected speech by ordinary social-media users, as he describes: “Many factors are
   at play when trying to measure the effects of Russia’s influence operations. First-order effects
   include real users interacting with inauthentic content, Russian-bot amplification of divisive



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   organic content, and IRA-controlled accounts communicating directly with real users.” Chan Ex.
   1, at 94.

          RESPONSE: Disputed. ASAC Chan did not testify that he “admits that ‘Russia’s

   influence operations’ are deeply intertwined with First-Amendment protected speech,” and the

   underlying assertion that “engagement” with the activity of foreign malign actors is “First

   Amendment-protected” is an unsupported legal conclusion. Defendants address Plaintiffs’ legal

   conclusion and arguments in their brief in response to Plaintiffs’ motion for a preliminary

   injunction. (Note also that the exhibit cited is ASAC Chan’s thesis submitted for postgraduate

   studies, and expressly states, at page i, that “[t]he views expressed in” it “are those of the author

   and do not reflect the official policy or position of the Department of Defense, the FBI, or the U.S.

   Government.”) In any event, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           925. During the days surrounding the 2020 election, the FBI’s command post also routed
   reports of domestic “disinformation” to social-media platforms for censorship to social-media.
   “During FBI San Francisco's 2020 election command post, which I believe was held from the
   Friday before the election through election night, that Tuesday at midnight, information would be
   provided by other field offices and FBI headquarters about disinformation …. These were passed
   to FBI San Francisco's command post, which I mentioned to you before I was the daytime shift
   commander, and we would relay this information to the social media platforms where these
   accounts were detected.” Chan Dep. 162:12-24.

          RESPONSE: Disputed. The PFOF’s assertion that FBI “routed reports . . . for censorship”

   is argumentative mischaracterization unsupported by the record. The FBI’s election command post

   communications with social media companies concern election-related time, place, and manner

   disinformation. See generally Knapp Decl. ¶¶ 21-24 (Ex. 157). Plaintiffs omit ASAC Chan’s

   testimony that the election command post information sharing concerned posts with


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   “disinformation, specifically about the time, place or manner of elections in various states.” Chan

   Dep. 162:12-19. In any event, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           926. The FBI made no attempt to distinguish whether these reports of “election
   disinformation” “whether they were American or foreign.” Id. 163:1-3. “[M]any field offices” of
   the FBI “relayed this information to us.” Id. 163:7-11.

          RESPONSE: Undisputed subject to clarification. Plaintiffs omit ASAC Chan’s testimony

   that the election command post information sharing concerned posts with “disinformation” as to

   “time, place, or manner of election.” Chan Dep. 163:1-3. This PFOF omits the words “type of”

   from the quotation from Chan Dep. 163:7-11. In any event, this PFOF contains no evidence that

   the FBI used pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          927. “[T]hose reports would come to FBI San Francisco … and then FBI San Francisco
   would relay them to the various social media platforms where the problematic posts had been
   made,” in order “to alert the social media companies to see if they violated their terms of service….
   which may include taking down accounts.” Id. 165:3-17.

          RESPONSE: Undisputed, except to note language the PFOF omits from the quoted

   testimony, namely, that if the companies determined the posts violated their terms of service, “they

   would follow their own policies, which may include taking down accounts.” Chan Dep. 165:16-17

   (emphasis added). The FBI’s election command post communications with social media

   companies concern election-related time, place, and manner disinformation. See generally Knapp



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   Decl. ¶¶ 21-24 (Ex. 157). In any event, this PFOF contains no evidence that the FBI used pressure

   or deception to induce social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with the FBI as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          928. The FBI has about a “50 percent success rate” in getting reported disinformation
   taken down or censored by the platforms, i.e., “that some action had been taken because it was a
   terms-of-service violation.” Id. 167:7-14.

          RESPONSE: Disputed. The assertion that the FBI “has about a ‘50 percent success rate’

   in getting reported disinformation taken down or censored” by the platform is an argumentative

   mischaracterization and misrepresentation of the cited testimony unsupported by the record. The

   testimony at Chan Dep. 167:7-14 concerns disinformation as to the time, place, or manner of an

   election, and ASAC Chan testified “from my recollection” that about 50 percent of the time a

   social media platform would take some action on such a post based on the platform’s terms of

   service. This PFOF contains no evidence that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i

   & II.B.4.b.

          E.      The FBI Demands Information on Censorship from the Platforms.

           929. Regarding the algorithms that platforms use to detect inauthentic activity and to
   censor content, the FBI has “probed them to ask for details” about those algorithms, “so that we
   could make sure we were sharing the most effective and actionable type of information with them,”
   id. 88:5-7, 20-22—in other words, to maximize the chances that disfavored speech would be
   censored as a result of the FBI’s “information sharing.”

          RESPONSE: Disputed. ASAC Chan testified that the FBI “would ask,” not demand, that

   the social media companies share details about their algorithms, noting also that the companies


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   “would not share any of that information with us.” Chan Dep. 88:10-14. In additional testimony

   that Plaintiffs disregard, ASAC Chan also explained that the FBI “stopped asking” for information

   about the companies’ algorithms “in the 2017 time frame” once it “found that none of them were

   willing to share” that information. Id. at 89:19-23. The assertion that the FBI sought this

   information (six years ago) “to maximize the chances that disfavored speech would be censored”

   is not supported by ASAC Chan’s testimony, who explained that the purpose was to avoid

   providing the companies information that “would not be useful” to them in evaluating whether the

   content in question violated their policies. Id. at 89:1-7. In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           930. The FBI “would … ask them what their terms of service or community standards
   were.” Id. 90:21-23. But Chan contends that “we never told the companies to modify their terms
   of service or community standards.” Id. 92:5-7.

          RESPONSE: Undisputed subject to clarification. ASAC Chan testified that FBI “would

   just broadly ask” platforms “what their terms of service or community standards were.” Chan Dep.

   90:21-23.

          F.      The FBI Flags Accounts and URLs for Censorship on a Monthly Basis

          931. The FBI gives “tactical information” to social-media platforms, where “tactical
   information includes identifying specific social media accounts and URLs” to be evaluated for
   censorship. Id. 96:24-97:2. Chan estimates that this occurs “one to five times per month.” Id.
   97:17-18. This includes such “tactical” information-sharing at most quarterly meetings. Id. 98:18-
   19.

          RESPONSE: Disputed. The assertion that FBI “gives” information “to be evaluated for

   censorship” is an argumentative mischaracterization unsupported by the record, for the reasons

   discussed above. See Defs.’ Resp. to Pls.’ PFOF ¶¶ 907-09.


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           932. To flag such specific accounts, URLs, and content to the platforms, Chan “would
   typically … send an email to the recipients at the companies” notifying them that he would be
   using “a secure file transfer application within the FBI that is called Teleporter,” and “the
   Teleporter email contains a link for them to securely download the files from the FBI.” Id. 98:20-
   11. The Teleporter files contain “different types of indicators,” i.e., specific social-media accounts,
   web sites, URLs, email accounts, etc. that the FBI wants the platforms to evaluate under their
   content-moderation policies. Id. 99:15.

          RESPONSE: Disputed. The cited testimony does not mention flagging “content” or

   “content moderation” policies. The FBI’s purpose in sending the information described in this

   PFOF to the companies is “so that they can protect their platforms as they deem appropriate, and

   they can take whatever actions they deem appropriate without any suggestion or interference from

   the FBI.” Chan Dep. 34:7-12. See Defs.’ Resp. to Pls.’ PFOF ¶¶ 907-09.

          933. Each such communication may contain any number of such “indicators,” ranging
   “from one account or one selector to many, like a whole spreadsheet full of them.” Id. 100:16-17.

          RESPONSE: Undisputed.

          934. Chan “estimate[s] that during 2020 [he] shared information with the companies
   between one to five or one to six times per month.” Id. 100:21-24. Each such incident of
   information-sharing included flagging a number of specific “indicators” that ranged anywhere
   from one to “hundreds” of specific accounts, web sites, URLs, etc... Id. 101:4-7.

          RESPONSE: Undisputed subject to clarification. ASAC Chan testified that the count of

   indicators shared at one time in 2020 was “maybe hundreds,” not that the information shared

   concerned “hundreds” of “specific accounts.” Chan Dep. 101:4-7.

           935. During the 2022 election cycle, Chan shared such information with the platforms
   “one to four times per month.” Id. 101:13-14. Each such incident involved flagging a number of
   specific “indicators” that ranged anywhere from one to “in the tens, in the dozens” of specific
   accounts, web sites, URLs, etc. Id. 101:17-19.

          RESPONSE: Undisputed subject to clarification. ASAC Chan testified that the count of

   indicators shared at one time in 2022 was “in the tens, in the dozens,” not that the information

   shared concerned “specific accounts.” Chan Dep. 101:17-19.

          936. “[I]n general” these flagging communications would go to all seven social-media
   platforms identified above, but sometimes there would be “company-specific information” that


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   would go to a particular company. Id. 102:3-9. “[M]ost of the time we would share with that list
   of [seven] companies.” Id. 102:14-15.

          RESPONSE: Undisputed.

           937. When it made such communications, the FBI would request that the platforms
   report back to the FBI their specific actions taken toward the accounts that the FBI specifically
   flagged for possible censorship. Id. 102:18-25. “[A]t every quarterly meeting we try to follow up
   to ask if information we shared has been relevant if we have not received a response yet.” Id.
   103:5-9. Sometimes, but not always, the platforms report back to the FBI on what accounts they
   have removed based on the FBI’s information, in which case the FBI documents the report to
   “help[] us fine-tune the information we’re sharing.” Id. 103:14-22.

          RESPONSE: Disputed that the FBI “flagged” accounts “for possible censorship.” The FBI

   shared the information described in the cited testimony with the companies “so that they c[ould]

   protect their platforms as they deem appropriate, and . . . take whatever actions they deem

   appropriate without any suggestion or interference from the FBI.” Chan Dep. 34:7-12. See Defs.’

   Resp. to Pls.’ PFOF ¶¶ 907-09. In addition, disputed that a social media company’s application of

   its own content moderation policies, to which all users agree, constitutes “censorship.” In any

   event, this PFOF contains no evidence that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i

   & II.B.4.b.

           938. Including Chan, at least eight FBI agents in the San Francisco field office are
   involved in reporting disinformation to social-media platforms—Chan himself, two GS-14
   supervisors who report to Chan, and roughly five FBI field agents in two different squads within
   the office. Id. 105:19-108:18. All these agents share both “strategic” and “tactical” information
   with social-media platforms about supposed malign-foreign-influence content on platforms, and
   they are “involved in following up to find out if their tactical information was acted on.” Id. 108:8-
   10.

          RESPONSE: Undisputed subject to clarification. In countering foreign malign influence

   operations, the FBI shares information with a social media company only if the FBI, with high



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   confidence, attributes the pertinent activity observed on the platform to a foreign state actor, not

   merely if the activity is “supposed” malign foreign influence. Chan Dep. 112:24-113:6. The

   indicators shared are in the nature of IP addresses, email accounts, social media accounts, website

   domain names, and file hash values. Id. 29:15-30:7.

           939. In addition, a significant number of FBI officials from FBI’s Foreign Influence
   Task Force (FITF) also participate in regular meetings with social-media platforms about supposed
   disinformation. Id. 108:19-110:14. These include “three to ten” FITF officials at bilateral meetings
   with social-media platforms. Id. 110:7-8.

          RESPONSE: Undisputed that the number of FBI personnel attending the bilateral

   meetings with social media companies ranged from three to ten. In countering foreign malign

   influence operations, the FBI shares information with a social media company only if the FBI,

   with high confidence, attributes the pertinent activity observed on the platform to a foreign state

   actor, not merely if the activity is “supposed” malign foreign influence. Chan Dep. 112:24-113:6.

           940. The FBI uses both its criminal-investigation authority and its national-security
   authority to gather information about supposed malign-foreign-influence activities and content on
   social-media platforms. This specifically includes using “the Foreign Intelligence Surveillance Act
   … the PATRIOT Act, [and] Executive Order 12333 that allows us to gather national security
   intelligence” to investigate content on social media. Id. 111:13-112:8.

          RESPONSE: Undisputed subject to clarification. In countering foreign malign influence

   operations, the FBI shares information with a social media company only if the FBI, with high

   confidence, attributes the pertinent activity observed on the platform to a foreign state actor, not

   merely if the activity is “supposed” malign foreign influence. Chan Dep. 112:24-113:6.

           941. In one case in 2020, for example, a single “Teleporter message was sent” to
   platform(s) “with a spreadsheet with hundreds of accounts,” all of which the FBI was flagging for
   the platforms as supposed malign-foreign-influence accounts. Id. 112:9-14.

          RESPONSE: Undisputed subject to clarification. In countering foreign malign influence

   operations, the FBI shares information with a social media company only if the FBI, with high




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   confidence, attributes the pertinent activity observed on the platform to a foreign state actor, not

   merely if the activity is “supposed” malign foreign influence. Chan Dep. 112:24-113:6.

          942. Chan expressed a high degree of confidence that the FBI’s identification of “tactical
   information” (i.e., specific accounts, URLs, sites, etc.) to social-media platforms was always
   accurate, and that the FBI never misidentified accounts, content, web sites etc. as operated by
   malign foreign actors when in fact they were operated by American citizens. He testified that “we
   only share information that we have a high confidence that is attributed to a foreign-state actor,”
   and that “[i]n my experience, it has always been correct.” Id. 112:15-113:16.

          RESPONSE: Undisputed, with clarification. ASAC Chan did not testify for a fact that the

   FBI was “always accurate” and “never misidentified accounts, content, web sites etc. as operated

   by malign foreign actors when in fact they were operated by American citizens.” He testified that

   “[i]n [his] experience, [the FBI] has always been correct.” Chan Dep. 112:15-113:12.

           943. But there are substantial reasons to think that Chan is wrong. For example, Chan
   reports that the FBI induced Twitter to remove accounts and Tweets related to the
   #ReleaseTheMemo hashtag in 2019, which supported Congressman Devin Nunes’ investigation
   regarding Russia collusion. Id. 149:13-21; Chan Ex. 1, at 71 (noting that 929,000 Tweets removed
   by Twitter as supposedly Russian disinformation included thousands of Tweets amplifying the
   #ReleaseTheMemo hashtag). In fact, recent reporting indicates that Twitter was aware that the
   accounts pushing #ReleaseTheMemo were not Russian-controlled inauthentic accounts, but core
   political speech by ordinary American citizens that the FBI conspired to suppress.

          RESPONSE: Disputed. This PFOF cites no evidence that ASAC Chan was wrong when

   he testified that “in [his] experience,” the FBI had not erred in identifying accounts as being

   operated by malign foreign actors. Chan Dep. 112:15-113:12. The exhibit cited, ASAC Chan’s

   thesis submitted for postgraduate studies, and the cited testimony did not connect Twitter’s

   decisions as to any tweets bearing “#ReleaseTheMemo” with any communication from the FBI to

   Twitter, nor does the PFOF cite any other evidence that the FBI provided information to Twitter

   relating to “#ReleaseTheMemo.” Moreover, the PFOF’s assertion, that ASAC Chan’s testimony

   is contradicted by unspecified “recent reporting” about actions that Twitter took concerning

   #ReleaseTheMemo, lacks citation to or support in any evidence of record. (Note also that the

   exhibit cited, ASAC Chan’s thesis, expressly states, at page i, that “[t]he views expressed in” it


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   “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”)

          944. The FBI’s flagging accounts for censorship often leads to the censorship of
   additional accounts. According to Chan, the FBI “may share, for example, one account with them,
   but then they may find ten connected accounts and take all of them down.” Id. 113:23-114:1.

          RESPONSE: Dispute the assertions that the FBI “flagg[ed] accounts for censorship” and

   that FBI’s information sharing “often lead[] to” additional “censorship” by social media companies

   as argumentative mischaracterizations unsupported by the record for the reasons stated above. See

   Resp. to Pls.’ PFOF ¶¶ 907-09. Disputed also that a social media company’s application of its own

   content moderation policies, to which all users agree, constitutes “censorship.” In any event, this

   PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          G.      Pressure from Congress Induces Platforms to Increase Censorship.

          945. According to Chan, the social-media platforms were far more aggressive in taking
   down disfavored accounts and content in the 2018 and 2020 election cycles than they were in the
   2016 cycle. Id. 115:18-116:6.

          RESPONSE: Disputed for at least two reasons. First, ASAC Chan did not state that “the

   social-media platforms were far more aggressive in taking down” accounts in 2018 and 2020. He

   appeared only to agree with the statement by Plaintiffs’ counsel that “in 2018 and 2020 there were

   many more account takedowns.” Chan Dep. 115:18-24. The suggestion that the accounts taken

   down by the companies were “disfavored” by the FBI or the Government is an argumentative

   mischaracterization not supported by the record, as explained above in response to Plaintiffs’

   PFOF ¶ 908. In any event, this PFOF contains no evidence that the FBI used pressure or deception

   to induce social-media companies to remove or suppress information on their platforms, or that


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   the companies regarded (or acted on) any communications with the FBI as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg.

   §§ II.B.3.b.i & II.B.4.b.

          946. Based on his personal observation, experience, and research, Chan concludes that
   “pressure from Congress, specifically HPSCI and SSCI,” induced the social-media platforms to
   adopt more aggressive censorship policies in 2018 and 2020. Id. 116:1-3. “HPSCI” stands for the
   House Permanent Select Committee on Intelligence, and “SSCI” stands for the Senate Select
   Committee on Intelligence. Id. 116:11-14.

          RESPONSE: Disputed. ASAC Chan did not testify that “‘pressure from Congress’ . . .

   induced the social-media platforms to adopt more aggressive [content moderation] policies in 2018

   and 2020.” Rather, he testified that pressure from congressional committees “may have had a part

   [in] it,” and also that the companies may have “felt this”—“this” presumably meaning the presence

   of malign foreign actor accounts on their platforms—“may have damaged their brands.” Chan

   Dep. 116:1-6 (emphasis added). Moreover, ASAC Chan did not base this testimony “on his

   personal observation, experience, and research.” He repeated three times that he was providing

   only his “personal opinion.” Id. at 115:22-24, 116:6, 117:3-4. In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          947. This “pressure from Congress” took multiple forms. First, those Congressional
   committees called “the CEOs for the companies … to testify in front of their committees,”
   including “Mark Zuckerberg and Jack Dorsey and Sundar Pichai.” Id. 116:20-117:2. These CEOs
   were called to testify about disinformation on their platforms “more than once.” Id. 117:5-6. Chan
   believes that “that kind of scrutiny and public pressure from Congress … motivated them to be
   more aggressive in the account takedowns.” Id. 117:7-14. Chan believes this based on
   conversations with social-media platform employees. Id. 117:15-118:2.

          RESPONSE: Undisputed subject to clarification. First, as noted above, ASAC Chan

   emphasized that his testimony on this point was “just [his] personal opinion” and “how [he]


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   interpreted” what he was told during conversations with social-media platform employees. Chan

   Dep. 117:13-14, 118:16. Second, ASAC Chan did not testify that these employees attributed the

   companies’ greater number of account takedowns to congressional “pressure.” To the contrary,

   he testified that the company employees “would not reveal the types of discussion that they had

   with . . . House and Senate staffers[.]” Id. at 117:22-24. They only “indicate[d] that they had to

   prepare very thoroughly for these types of meetings and . . . that it felt like a lot of pressure.” Id.

   117:24-118:2. In any event, this PFOF contains no evidence that the FBI used pressure or

   deception to induce social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with the FBI as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           948. Chan identifies specific congressional hearings that placed such pressure on social-
   media platforms to adopt more restrictive censorship policies: “On April 10–11, 2018, the Senate
   Commerce Committee and Senate Judiciary Committee held hearings on consecutive days with
   Mark Zuckerberg to discuss Russia’s influence campaigns on Facebook and its countermeasures
   to combat them…. The Senate committees also used this as an opportunity to hold Facebook
   accountable for its actions and exert pressure for positive change.” Chan Ex. 1, at 50 (emphasis
   added). “On July 17, 2018, the House Judiciary Committee held a hearing with senior executives
   from Facebook, Google, and Twitter so they could provide updates on their companies’ efforts for
   content filtering to stop foreign influence campaigns on their platforms.” Id. On September 5,
   2018, the Senate Intelligence Committee held a hearing with senior executives from Facebook and
   Twitter to discuss their companies’ efforts to stop foreign influence campaigns and illegal
   transactions on their platforms.” Id.

          RESPONSE: Largely undisputed, subject to clarification. The exhibit cited is ASAC

   Chan’s thesis submitted for postgraduate studies, and expressly states, at page i, that “[t]he views

   expressed in” it “are those of the author and do not reflect the official policy or position of the

   Department of Defense, the FBI, or the U.S. Government.” In addition, the PFOF cites no evidence

   that social media companies altered their content moderation policies because of the “pressure”

   exerted by the hearings mentioned in the PFOF. Disputed that a social media company’s own



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   content moderation policies, to which all users agree, constitute “censorship policies.” The

   assertion that any policies became “more restrictive’ is unsupported by the record. In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           949. Chan links these Congressional hearings to “constructive change,” i.e., more
   aggressive censorship policies by the platforms: “On October 31, 2017, the Senate Judiciary
   Committee held a hearing with senior executives from Facebook, Google, and Twitter to discuss
   the extent of the Russian disinformation campaigns on their respective platforms.” Chan Ex. 1, at
   48. “This public hearing … provided politicians with the occasion to exert pressure on the
   companies to make constructive changes to their platforms.” Id. at 48-49. According to Chan, this
   “constructive change” means the adoption of more restrictive censorship policies. Chan Dep.
   133:9-23.

          RESPONSE: Disputed. In the cited portion of his thesis, which referred only to a July

   2017 Senate Judiciary Committee hearing, ASAC Chan did not opine that the hearing had induced

   “constructive change,” only that it was an “occasion to exert pressure on the companies to makes

   constructive changes to their platforms.” Chan Ex. 1 at 48-49. Second, ASAC Chan did not testify

   that constructive change “means . . . more restrictive censorship policies.”          That is an

   argumentative mischaracterization of his testimony. Rather, he testified, “The reason I said it was

   constructive was that it appeared the social media companies were able to detect and counter

   foreign-malign-influence operations on their platforms[.]” Chan Dep. 133:14-18 In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

   (Note also that the exhibit cited is ASAC Chan’s thesis submitted for postgraduate studies, and



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   expressly states, at page i, that “[t]he views expressed in” it “are those of the author and do not

   reflect the official policy or position of the Department of Defense, the FBI, or the U.S.

   Government.”)

           950. In addition, Congress put pressure on the platforms to adopt and enforce more
   aggressive censorship policies and practices by sending high-level congressional staff from HPSCI
   and SSCI to meet with the social-media platforms directly and threaten them with adverse
   legislation. According to Chan, “staffers from both of those committees have visited with … those
   [social-media] companies,” and after these meetings with congressional staffers, employees of the
   social-media platforms “would indicate that they had to prepare very thoroughly for these types of
   meetings … and they indicated that it felt like a lot of pressure.” Id. 117:19-119:2.

          RESPONSE: Disputed. The assertion that congressional committee staff “put pressure on

   the platforms” regarding “more aggressive censorship policies and practices” and “threaten[ed]

   them with adverse legislation” is an argumentative assertion unsupported by ASAC Chan’s

   testimony or the record as a whole. ASAC Chan testified that social media company employees

   “would not reveal [to him] the types of discussion that they had” with congressional staff, and

   would only “indicate that they had to prepare very thoroughly for these types of meetings and . . .

   that it felt like a lot of pressure.” Chan Dep. 117:22-118:2. In any event, this PFOF contains no

   evidence that the FBI used pressure or deception to induce social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           951. The Congressional staffers had such meetings with “Facebook, Google, and
   Twitter.” Employees from those three companies “experienced these visits from congressional
   staffers as exercising a lot of pressure on them.” Id. 118:12-16.

          RESPONSE: Undisputed, except to the extent that the reference to “such meetings” is

   intended to mean meetings to “put pressure on the platforms to adopt and enforce more aggressive

   censorship policies” and to “threaten them with adverse legislation,” assertions for which there is

   no support in the record. See Defs.’ Resp. to Pls.’ PFOF ¶ 950. In any event, this PFOF contains


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   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          952. In those meetings, the Congressional staffers discussed potential legislation with
   the social-media platforms, and before or after they met with those three companies, the
   Congressional staffers “discussed with [Chan] … legislation that they were thinking about doing.”
   Id. 118:17-120:3.

          RESPONSE: Disputed. ASAC Chan testified that “legislation that” congressional

   committees “were thinking about doing” is what the committee staff “discussed with” ASAC

   Chan, Chan Dep. 118:23-119:7, and that he could only “infer[ ]” from his discussions with

   committee staff that the staff also discussed that legislation when they met (separately) with the

   social media companies. Id. at 119:8-120:1; see also id. at 120:9-13, 121:3-5. In any event, this

   PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           953. It is Chan’s opinion that the social-media platforms’ “changes in takedown
   policies” to make them more restrictive “resulted from that kind of pressure from Congress.” Id.
   118:17-20.

          RESPONSE: Undisputed subject to clarification. ASAC Chan agreed, in his “personal

   opinion,” that “changes in [social media companies’] takedown policies resulted from that kind of

   pressure from Congress.” Chan Dep. 118:17-20. He did not describe the changes as “more

   restrictive.” Note also, that ASAC Chan testified that pressure from congressional committees only

   “may have had a part [in] it,” and also that the companies may also have “felt this”—“this” being

   an evident reference to the presence of malign foreign actor accounts on their platforms—“may



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   have damaged their brands.” Id. at 116:1-6 (emphasis added). In any event, this PFOF contains

   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          954. Chan’s opinion is the result of discussing these meetings with participants on both
   sides—both the Congressional staffers and employees of Facebook, Twitter, and Google. Chan
   “and FBI San Francisco personnel would meet with the congressional staffers, typically before
   they met or after they met with the social media companies,” because “they wanted an FBI opinion
   about what they had heard from the social media companies.” Id. 119:23-120:3.

          RESPONSE: Undisputed subject to clarification. ASAC Chan made clear that (i) neither

   he nor others from the FBI were present when congressional staff met with social media company

   employees, rather, the staff met separately with the companies, Chan Dep. 119:23-120:1, 121:3;

   see also id. at 118:23-25; (ii) that congressional staff did not inform him whether they intended to

   discuss potential legislation with the companies’ employees, id. 120:9-121:2; and (iii) that the

   company employees “would not reveal [to him] the types of discussion that they had” with

   congressional staff, id. at 117:22-24. In any event, this PFOF contains no evidence that the FBI

   used pressure or deception to induce social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with the FBI

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           955. To the best of Chan’s recollection, these meetings between Congressional staffers
   and social-media platforms were an “annual occurrence” that began in 2017 and recurred annually
   after 2017. Id. 120:7-8. “The staffers had separate meetings with each of the companies.” Id.
   121:4-5. “[A]fter those meetings, the staffers would come to [Chan] and ask [his] opinion of
   potential legislation.” Id. 121:6-9.

          RESPONSE: Undisputed, but see Defs.’ Resp. to Pls.’ PFOF ¶ 954, above.




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           956. Chan also discussed these meetings with the social-media platform employees who
   participated, as he “talk[s] with the social media platform personnel regularly,” and he understood
   from them that “the congressional staffers put a lot of pressure on them” in the meetings. Id.
   122:18-25. He spoke directly to the personnel who participated in the meetings. Id. 123:21-24.
   Senior officials from the social-media platforms, including Yoel Roth of Twitter, Steven Siegel of
   Facebook, and Richard Salgado of Google, participated in the meetings with Congressional
   staffers. Id. 123:25-125:7.

          RESPONSE: Disputed. ASAC Chan did not testify that “‘congressional staffers put a lot

   of pressure’” on social media company employees “in the meetings.” Rather, Plaintiffs’ counsel

   asked him, “they had kind of just made statements to you that indicated that they felt that these

   meetings, these annual meetings with congressional staffers put a lot of pressure on them, right?,”

   Chan Dep. 122:20-24 (emphasis added), to which ASAC Chan replied, “That was my

   interpretation of their comments. I don’t recollect any of them using the specific word “pressure,”

   but that was how I interpreted our conversations,” id. at 122:25-123:3 (emphasis added). See also

   response to Pls.’ PFOF ¶ 954, above. Also clarify that ASAC Chan testified that at Twitter his

   pertinent discussions were with Yoel Roth or Angela Sherrer. Chan Dep. 124:14-18. In any event,

   this PFOF contains no evidence that the FBI used pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          957. The Congressional staffers involved in the meetings were “senior-level staffers,”
   including “a director-level” staffer, “the committee counsel or a senior counsel for the committee,”
   and “one or two other … line-level staffers.” Id. 123:6-13.

          RESPONSE: Undisputed.

          958. According to Chan, “intense pressure from U.S. lawmakers and the media …
   eventually force[d] the social media companies to examine what had taken place on their platforms
   [in 2016] and strive to ensure that it did not happen in the future.” Id. 127:3-23; Chan Ex. 1, at 42.

          RESPONSE: Undisputed subject to clarification. The exhibit cited is ASAC Chan’s thesis

   submitted for postgraduate studies, and expressly states, at page i, that “[t]he views expressed in”


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   it “are those of the author and do not reflect the official policy or position of the Department of

   Defense, the FBI, or the U.S. Government.”

           959. These steps included actions by the social-media platforms to take more aggressive
   enforcement against violations of their terms of service, but also policy changes to the terms of
   service themselves to make their policies more restrictive: “the policy changes specifically to their
   terms of service or community standards.” Chan Dep. 129:17-19. These involved “more robust or
   more aggressive content-modulation policies,” that “clarify that certain things actually violate their
   policies and can be taken down.” Id. 130:4-18.

          RESPONSE: Disputed. The assertion that any policies became “more restrictive” is

   unsupported by the record. ASAC Chan testified that the “policy changes” mentioned in this PFOF

   were made “to address foreign malign influence,” as Plaintiffs’ counsel noted during the

   deposition. Chan Dep. 129:1-4.

           960. Chan notes that “Facebook and Twitter faced more Congressional scrutiny … as
   their senior executives testified before Congress on three separate occasions before the midterm
   elections,” Chan Ex. 1, at 46, and he concludes that “political pressure from Congress was a
   contributing factor” leading social-media platforms to adopt more restrictive content-moderation
   policies. Chan Dep. 132:7-9. Chan believes that these more restrictive censorship policies that
   include “account takedowns” are “constructive change,” id. 133:2-23.

          RESPONSE: Disputed as an argumentative mischaracterization of the cited testimony.

   When asked whether congressional pressure (i.e., testimony at congressional hearings) “may have

   led to [the social media companies] changing their terms of service to be more robust and to

   prevent certain kinds of content from being posted,” Chan Dep. 132:1-5 (emphasis added), ASAC

   Chan responded “my personal opinion is that political pressure from Congress was a contributing

   factor,” id. at 132:7-9. In addition, ASAC Chan did not state that he regards “censorship policies”

   as “constructive change.” What he referred to as “constructive change” was political “pressure[ ]

   on the social media companies to make changes to their platforms to address malign foreign

   influence.” Id. at 132:21-133:8. The assertion that any policies became “more restrictive” is

   unsupported by the record. Note further that the exhibit cited is ASAC Chan’s thesis submitted for

   postgraduate studies, and expressly states, at page i, that “[t]he views expressed in” it “are those


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   of the author and do not reflect the official policy or position of the Department of Defense, the

   FBI, or the U.S. Government.” In any event, this PFOF contains no evidence that the FBI used

   pressure or deception to induce social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with the FBI as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          961. These policy changes, induced by “political pressure from Congress,” resulted in a
   dramatic increase in censorship on social-media platforms, including for example that “zero
   [Twitter] accounts were taken down during the 2016 cycle but 3,613 Twitter accounts were taken
   down during the 2018 cycle.” Id. 133:24-134:5. Likewise, 825 accounts were removed from
   Facebook and Instagram based on publicly available reports, but according to Chan, the actual
   number was much higher. Id. 147:8-148:18. In 2019, Twitter announced the takedown of “422
   accounts which made 929,000 tweets.” Id. 149:9-12. “[S]ome subset of that amount was due to
   information [the FBI] provided.” Id. 150:12-14.

          RESPONSE: Disputed that platform “policy changes” were “induced by" political

   pressure from Congress for all the reasons stated in response to Plaintiffs’ PFOF ¶¶ 946-56. Also

   dispute that social media companies’ content moderation policies, to which all users agree, and the

   application thereof constitute “censorship on social-media platforms.” Undisputed that the PFOF

   quotes accurately from ASAC Chan’s thesis regarding publicly reported numbers of accounts

   removed from Twitter, Facebook, and Instagram, but note that these were malign foreign influence

   accounts. Chan Dep. 133:24-134:9, 147:8-21; see Chan Dep. Ex. 1 at 70 (422 accounts taken down

   by Twitter were controlled by the IRA, or Internet Research Agency, a Russian company indicted

   for “committing federal crimes while seeking to interfere in the United States political system,

   including the 2016 Presidential election,” Ex. 129). The assertion that “according to Chan, the

   actual number” of accounts removed from Facebook and Instagram was “much higher” than 825

   is not supported by the cited testimony, in which ASAC Chan testified only that FBI information

   sharing accounted for just a “subset” of the removed accounts. Chan Dep. 148:19-149:8 (Note also



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   that the exhibit cited is ASAC Chan’s thesis submitted for postgraduate studies, and expressly

   states, at page i, that “[t]he views expressed in” it “are those of the author and do not reflect the

   official policy or position of the Department of Defense, the FBI, or the U.S. Government.”) In

   any event, this PFOF contains no evidence that the FBI used pressure or deception to induce social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the FBI as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i

   & II.B.4.b.

          962. When meeting with social-media platforms, Chan “typically meet[s] with the trust
   and safety individuals and then their associated attorneys.” Id. 135:16-18.

          RESPONSE: Undisputed.

          963. Samaruddin K. Stewart (“Sam”) of the State Department’s Global Engagement
   Center “would meet with social media companies … primarily with policy individuals.” Id. 135:2-
   15.

          RESPONSE: Undisputed.

          964. Sam Stewart would offer “different types of software made by vendors that they
   would pilot to see if they could detect malign foreign influence on social media platforms.” Id.
   135:25-136:3. Chan believed that the Global Engagement Center’s products “might accidently
   pick up U.S. people information.” Id. 138:10-12.

          RESPONSE: Disputed. ASAC Chan clearly testified that he “[did] not think the State

   Department was providing th[e] vendors’ programs to the [social media] companies.” Rather, it

   was hosting “webinars” to “provid[e] a venue where different vendors could show off their

   products” for “all sort of audiences” including but not limited to social media companies. Chan

   Dep. 137:5-9, 139:20-140:9. ASAC Chan did not state that he “believed” that type of software

   “might accidentally pick up U.S. people information,” but that he “would be concerned” that it

   might. Id.. 138:10-13. He also made clear that he “do[esn’t] know what outside vendors any of the

   . . . social media companies use.” Id. at 137:2-4. Moreover, this PFOF is irrelevant and contains


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   no evidence that the FBI used pressure or deception to induce social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with the FBI as such. Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

          965. Elvis Chan knows and has worked with Peter Strzok and Lisa Page. Id. 234:19-
   240:5. He also knows and has worked with James Baker, the former general counsel of the FBI
   who went on to become deputy general counsel of Twitter and encouraged Twitter to keep
   censoring the Hunter Biden laptop story. Id. 239:13-16.

          RESPONSE: ASAC Chan’s professional acquaintances with Mr. Strzok, Mr. Baker, and

   Ms. Page as described in his testimony, and which have nothing to do with the events alleged in

   this case, are irrelevant. The assertion that Mr. Baker, as Twitter’s General Counsel, “encouraged

   Twitter to keep censoring the Hunter Biden laptop story” lacks citation to or support in the record

   and disregards his testimony to Congress to the contrary. Ex. 2 at 4-5.

          H.      The FBI’s Censorship Activities Are Ongoing.

           966. Chan urges the public to report supposed misinformation on social media directly
   to the platforms, or else report it to the FBI or DOJ so that they can report it to the platforms, and
   boasts that the platforms are “very aggressive” in taking down misinformation. As he stated in a
   public podcast just before the 2020 election: “If you're also seeing something related to the election
   on your social media platform, all of them have portals where you can report that sort of
   information. They're being very aggressive in trying to take down any disinformation or
   misinformation, and then, lastly, if they see anything on election day or before election day, you
   can always report it to FBI.gov or justice.gov … We take all of these very seriously.” Chan Ex.
   13, at 3, 9:9-19. FBI San Francisco, when it receives such reports, “would then relay those to social
   media platforms,” so that “the social media platforms will assess those in connection with their
   terms of service.” Chan Dep. 267:13-23. Chan characterizes the platforms as “very aggressive” in
   taking down disinformation because they “[adjusted] their policies to be able to handle foreign-
   malign-influence operations.” Id. 270:23-25.

          RESPONSE: Disputed as a misleading juxtaposition of ASAC Chan’s October 28, 2020,

   podcast (Chan Dep. Ex. 13) with his November 29, 2022, deposition testimony more than two

   years later. ASAC Chan did not testify, as the PFOF insinuates, that the FBI San Francisco Office

   relays all reports of election-related mis- or disinformation to social media companies. He instead



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   testified without ambiguity that the election command post in the FBI San Francisco Office—

   which is stood up only on the day of or several days preceding an election, Chan Dep. 167:15-

   25—relays only those reports of mis- or disinformation about “the time, place, or manner of an

   actual election”—such as, for example, “Political Party A vote[s] on Tuesday, Political party B

   vote[s] on Wednesday”—and only does so after those reports have been investigated by a local

   FBI Field Office and reviewed by officials at FBI Headquarters and the Department of Justice in

   Washington, D.C. See generally id. at 264:21-270:25. The FBI’s ongoing activities regarding mis-

   and disinformation on social media platforms are further described in the Declaration of Larissa

   L. Knapp (Ex. 157), filed today. In any event, this PFOF contains no evidence that the FBI used

   or now uses pressure or deception to induce social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the FBI as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.

           967. The FBI continues the same efforts in 2022 and later election cycles that it pursued
   in 2020. As Chan publicly stated, “post 2020, we’ve never stopped … as soon as November 3rd
   happened in 2020, we just pretty much rolled into preparing for 2022.” Chan Ex. 15, at 2, 8:2-4.
   Chan stated: “[W]e are also really engaged with the technology companies that are out here …
   We’re also working with the social media companies to make sure that any foreign disinformation
   that’s coming out … if we can identify them, we can share that information with them so they can
   knock down accounts, knock down disinformation content,” and he noted that they are “having
   conversations with all of those organizations as they’re building up to November of [2022].” Chan
   Ex. 15, at 2-3, 8:15-9:4.

          RESPONSE: Not disputed that the PFOF quotes accurately from ASAC Chan’s June 29,

   2022, podcast, in which he principally discussed issues of ransomware, Chan Dep. Ex. 15 at 2:7-

   7:19, and threats to and vulnerabilities in election infrastructure, id. at 8:11-22, 9:7-10:23.

   Regarding his remarks about sharing information with social media companies concerning

   election-related disinformation on their platforms, id. 8:22-9:4, see Resp. to Pls.’ PFOF ¶ 966. The

   FBI’s ongoing activities regarding mis- and disinformation on social media platforms are further


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   described in the Declaration of Larissa L. Knapp (Ex. 157), filed today. In any event, this PFOF

   contains no evidence that the FBI used or now uses pressure or deception to induce social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the FBI as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.H, Arg. §§ II.B.3.b.i & II.B.4.b.


   VII.   CISA’s Censorship: Pressure, “Switchboarding,” and Working Through Nonprofits.

           968. CISA, the Cybersecurity and Infrastructure Security Agency within the Department
   of Homeland Security, serves as a “nerve center” for federal censorship efforts. CISA meets
   routinely with social-media platforms about censorship in at least five different sets of standing
   meetings, CISA pressures platforms to increase censorship of speech that federal officials disfavor,
   and CISA serves as a “switchboard” by “routing disinformation concerns to social-media
   platforms” for censorship. CISA also seeks to evade the First Amendment by outsourcing many
   of its censorship activities to nonprofit agencies that it collaborates closely with, including the
   CISA-funded Center for Internet Security and its “EI-ISAC” (“Election Infrastructure –
   Information Sharing & Analysis Center”) for state officials, and the massive censorship cartel
   calling itself the “Election Integrity Partnership.”

          RESPONSE: Disputed. Neither this PFOF, or any that follow, contain evidence that CISA

   functions as a “nerve center for federal censorship efforts,” meets with, “pressures,” or “rout[es]

   disinformation concerns” to social-media companies for purposes related to censorship, “seeks to

   evade the First Amendment” “outsourc[es] . . . censorship activities” to non-governmental

   organizations, or has ever done so. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.; see also Defs.’ Resp. to Pls’

   PFOF ¶¶ 969-1122.

          969. Brian Scully is the chief of the so-called “Mis, Dis, and Malinformation Team” or
   “MDM Team” within the Cybersecurity and Infrastructure Security Agency (CISA) in the
   Department of Homeland Security (DHS). Scully Depo. 15:14-20. Before the Biden
   Administration, the MDM Team was known as the “Countering Foreign Influence Task Force,”
   or CFITF.

          RESPONSE: Undisputed.




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           970. Lauren Protentis is the “Engagements Lead” for the MDM Team, and she is in
   charge of “outreach and engagement to key stakeholders, interagency partners, [and] private sector
   partners,” including “social media platforms.” Scully Depo. 18:2-18. During relevant periods in
   both 2020 and 2022, however, Protentis was on maternity leave, and during those times, Scully
   performs her role as chief engagement officer for communicating with other federal agencies,
   private-sector entities, and social-media platforms about misinformation and disinformation.
   Scully Depo. 18:19-20:10.

          RESPONSE: Undisputed, except that Ms. Protentis was not on the MDM team in 2020

   and was on maternity leave from September 2022 until January 2023; she was not on maternity

   leave in 2020. See Scully Dep. 18:19-25, 75:18-21.

          971. Both Scully and Protentis have done or are doing extended details at the National
   Security Council where they work on misinformation and disinformation issues. Protentis began a
   one-year detail at the NSC in January 2023, as soon as she came back from maternity leave, and
   she will deal with mis- and disinformation issues for the NSC as part of her detail. Scully Depo.
   19:15:20:5.

          RESPONSE: Undisputed.

          A.      CISA “Switchboards” by Flagging Government-Reported “Misinformation.”

           972. Scully admits that, during 2020, the MDM team “did some switchboard work on
   behalf of election officials.” Scully Depo. 16:23-25. “Switchboard work” or “switchboarding” is
   a disinformation-reporting system that CISA provides that allows state and local election officials
   (who are government officials subject to the First Amendment) “to identify something on social
   media they deemed to be disinformation aimed at their jurisdiction. They could forward that to
   CISA and CISA would share that with the appropriate social media companies.” Scully Depo.
   17:3-8.

          RESPONSE: Undisputed, except to clarify that CISA did not perform such work in 2022.

   Scully Dep. 21:19-25; Hale Decl. ¶ 78 (Ex. 97). However, this PFOF contains no evidence that

   CISA used “switchboarding” to threaten or pressure social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          973. In reporting perceived misinformation to the platforms, CISA and the state and
   local officials have “an understanding that if the social media platforms were aware of



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   disinformation that they might apply their content moderation policies to it,” and “the idea was
   that they would make decisions on the content that was forwarded to them based on their policies.”
   Scully Depo. 17:15-21.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CISA used

   “switchboarding” to threaten or pressure social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           974. CISA’s “switchboarding” activity causes social-media speech to be censored that
   otherwise would not have been censored: Scully agrees that “if it hadn't been brought to their
   attention then they obviously wouldn’t have moderated it.” Scully Depo. 17:22-18:1.

          RESPONSE:         Disputed as unsupported by, and a mischaracterization of, the cited

   testimony to the extent this PFOF is meant to imply that CISA used “switchboarding” to threaten

   or pressure social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. Mr. Scully testified only that where disinformation was brought to the attention of social

   media companies the companies would “make decision[s] on the content that was forwarded to

   them based on their policies.” Scully Dep. 17:15-18:1.

          975. Scully contends that “we didn’t do switchboarding in 2022.” Scully Depo. 21:24-
   25. But he admits that this decision was made in late April or early May 2022. Scully Depo. 22:15-
   23. This lawsuit was filed, specifically challenging CISA’s “switchboarding” activity, on May 5,
   2022. Doc. 1.

          RESPONSE: Undisputed.

           976. Throughout the 2022 election cycle and through the present date, CISA continues
   to publicly state on its website that the MDM Team “serves as a switchboard for routing
   disinformation concerns to appropriate social media platforms”: “The MDM team serves as a
   switchboard for routing disinformation concerns to appropriate social media platforms and law
   enforcement. This activity began in 2018, supporting state and local election officials to mitigate



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   disinformation about the time, place, and manner of voting. For the 2020 election, CISA expanded
   the breadth of reporting to include other state and local officials and more social media platforms.”
   Scully Ex. 24, at 3; see also Cybersecurity and Infrastructure Security Agency, “Mis, Dis,
   Malinformation,” https://www.cisa.gov/mdm (visited Feb. 4, 2023).

          RESPONSE: Disputed as contradicted by, and a mischaracterization of, the record. Mr.

   Scully explained during his deposition that this statement was inaccurate and should be changed

   to indicate that CISA’s switchboarding efforts are no longer occurring. Scully Dep. 366:21-367:4.

   CISA’s website subsequently has been updated. See Ex. 141 (Foreign Influence Operations and

   Disinformation, Cybersecurity & Infrastructure Sec. Agency, https://perma.cc/F46N-KZDU).

   CISA did not engage in switchboarding for the 2022 election cycle and has no intention to engage

   in switchboarding for the next election. Hale Decl. ¶ 78 (Ex. 97).

          977. According to Scully, “switchboarding is CISA’s role in forwarding reporting
   received from election officials, state/local election officials, to social media platforms.” Scully
   Depo. 23:24-24:2.

          RESPONSE: Undisputed, except to clarify that CISA did not perform such work in 2022.

   Scully Dep. 21:19-25. However, this PFOF contains no evidence that CISA used “switchboarding”

   to threaten or pressure social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

          B.      CISA Organizes the “USG-Industry Meetings” on Misinformation.

           978. The MDM Team continues to communicate regularly and extensively with social-
   media platforms about misinformation and disinformation, including during the 2022 election
   cycle. These communications include at least “two general types of communications, one, we did
   regular sync meetings between government and industry, so federal partners and different social
   media platforms.” Scully Depo. 21:2-6. This is “a coordinated meeting. Facebook was the industry
   lead, so [Scully] would have coordination calls with them prior to the meetings, just to set the
   agenda for meetings…” Scully Depo. 21:6-10. These meetings are described in CISA’s
   interrogatory responses as “USG-Industry” meetings. Scully Ex. 12, at 38-40.




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          RESPONSE: Disputed to the extent this PFOF asserts the MDM Team “continues” to

   communicate regularly and extensively with social media companies because the USG-Industry

   meetings, which began in 2018, ended in 2022; there is no plan to continue these meetings in 2023.

   See Scully Dep. 32:9-11; Hale Decl. ¶ 69 (Ex. 97). Moreover, this PFOF contains no evidence that

   CISA used these meetings to threaten or pressure social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

          979. In addition, the MDM Team received regular reports from social-media platforms
   about any changes to their censorship policies or their enforcement actions on censorship: “if a
   platform was putting out a … public report on policies or activities” relating to disinformation and
   censorship,” CISA would “get a briefing on that or at least get an awareness that it was going out.”
   Scully Depo. 21:11-16.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the cited testimony. Mr.

   Scully did not testify that CISA received “regular” reports from social media companies about any

   changes to their “censorship policies” or their “enforcement actions on censorship.” See Scully

   Dep. 21:11-16. Moreover, this PFOF contains no evidence that CISA’s receipt of these reports had

   anything to do with threatening or pressuring social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

           980. The USG-Industry meetings increase in frequency as each election nears. In 2022,
   they were “monthly” as the election approached, and then in October, they became “biweekly,” so
   that there were two “biweekly meetings … prior to the [2022] election.” Scully Depo. 24:16-21.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CISA used these

   meetings to threaten or pressure social-media companies to remove or suppress information on




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   their platforms, or that the companies regarded (or acted on) any communications with CISA as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F, Arg. § II.B.4.c.

            981. “DOJ, FBI, ODNI, and … DHS” participate in these meetings on the federal
   government’s side. Scully Depo. 25:23. DHS’s participation includes at least two components:
   CISA, typically represented by Scully and Geoff Hale, Scully’s supervisor; and the Office of
   Intelligence and Analysis (“I&A”). Scully Depo. 25:11-26:13. Scully’s role is to “oversee” and
   “facilitate the meetings.” Scully Depo. 25:14-16. On behalf of CISA, Kim Wyman, Allison Snell,
   and Lauren Protentis also participate in the meetings. Scully Depo. 28:4-13.

           RESPONSE: Disputed to the extent this PFOF asserts current “participa[tion] in these

   meetings” by any agency or individual, because the USG-Industry meetings, which began in 2018,

   ended in 2022; there is no plan to continue these meetings in 2023. See Scully Dep. 32:9-11; Hale

   Decl. ¶ 69 (Ex. 97). Moreover, this PFOF contains no evidence that CISA used these meetings to

   threaten or pressure social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with CISA as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F, Arg. § II.B.4.c.

          982. On behalf of FBI, FITF Chief Laura Dehmlow and Elvis Chan participate in these
   “USG-Industry” meetings, and “periodically other people would be on from different parts of
   FBI,” while “Laura [Dehmlow] was usually who [CISA] coordinated through.” Scully Depo.
   29:14-30:12.

           RESPONSE: Disputed to the extent this PFOF asserts current “participa[tion] in these

   meetings” by any agency or individual, because the USG-Industry meetings, which began in 2018,

   ended in 2022; there is no plan to continue these meetings in 2023. See Scully Dep. 32:9-11; Hale

   Decl. ¶ 69 (Ex. 97). In addition, Special Agent Chan only participated in “some” of these meetings.

   Scully Dep. 29:22-30:1. Moreover, this PFOF contains no evidence that CISA used these meetings

   to threaten or pressure social-media companies to remove or suppress information on their




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   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F, Arg. § II.B.4.c.

          983. These “USG-Industry” meetings have been occurring “for years,” and “the first
   meeting we had … between federal and … industry was in 2018.” Scully Depo. 31:10-16.

          RESPONSE: Disputed to the extent this PFOF suggests that the meetings are still

   “occurring,” because the meetings, which began in 2018, ended in 2022; there is no plan to

   continue these meetings in 2023. See Scully Dep. 32:9-11; Hale Decl. ¶ 69 (Ex. 97). Moreover,

   this PFOF contains no evidence that CISA used these meetings to threaten or pressure social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CISA as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

          984. In addition, prior to each “USG-Industry” meeting, CISA hosts at least two
   planning meetings before the main meeting: a bilateral planning meeting between CISA and
   Facebook, and an interagency meeting with the federal agencies that participate. Scully Depo.
   36:21-37:13.

          RESPONSE: Disputed to the extent this PFOF suggests the meetings are still taking place

   because the USG-Industry meetings, which began in 2018, ended in 2022; there is no plan to

   continue these meetings in 2023. See Scully Dep. 32:9-11; Hale Decl. ¶ 69 (Ex. 97). Moreover,

   this PFOF contains no evidence that CISA used these meetings to threaten or pressure social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CISA as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

          985. Even though the 2022 meetings were still quite recent at the time of his deposition,
   Scully professed that “I don’t recall specifics, so I’ll just say that upfront” about the discussions at
   these meetings. Scully Depo. 37:19-20; see also Scully Depo. 39:23-25.




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          RESPONSE: Disputed to the extent this PFOF mischaracterizes the record. When Mr.

   Scully was asked what ODNI “specifically” said during 2022 meetings, and whether ODNI ever

   raised a specific threat advisory, he responded that “I don’t recall specifics, so I’ll just say that up

   front.” Scully Dep. 37:14-24. He further explained that “generally speaking . . . it was higher level,

   kind of strategic of what a threat actor may be considering or thinking.” Id. Moreover, this PFOF

   contains no evidence that CISA used these meetings to threaten or pressure social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CISA as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

         986. The social-media platforms attending these meetings include “Facebook, Twitter,
   Microsoft, Google, Reddit, … [and] LinkedIn,” as well as “others.” Scully Depo. 38:15-20. For
   example, Wikimedia Foundation participated in “some.” Scully Depo. 39:2-6.

          RESPONSE: Disputed to the extent this PFOF suggests the meetings are still taking place

   because the meetings, which began in 2018, ended in 2022; there is no plan to continue these

   meetings in 2023. See Scully Dep. 32:9-11; Hale Decl. ¶ 69 (Ex. 97). Moreover, this PFOF

   contains no evidence that CISA used these meetings to threaten or pressure social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CISA as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

          987. Scully agrees that “concerns about misinformation and disinformation on social
   media platforms [were] discussed in these meetings in the 2022 timeframe.” Scully Depo. 39:7-
   11. This includes federal officials reporting on disinformation concerns that they believe will affect
   speech on social media; for example, the “intelligence community” would report on “information
   operations”: “the intelligence community, if their reporting included foreign actors who were
   potentially going to use information operations, they might mention that in their briefings.” Scully
   Depo. 39:19-23.




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           RESPONSE: Undisputed, except to the extent the second sentence states “[t]his includes

   federal officials reporting on disinformation concerns that they believe will affect speech on social

   media.” That vague and ambiguous statement is not supported by the cited portion of Mr. Scully’s

   deposition. Moreover, this PFOF contains no evidence that CISA used these meetings to threaten

   or pressure social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F, Arg.

   § II.B.4.c.

           988. The social-media platforms, likewise, would report back to federal officials about
   disinformation “trends” on their platforms, and provide additional information to the federal
   government not included in their public reports about such trends: “the platforms, they might share
   some high-level trend information from public reporting that they put out. So a lot of the platforms
   do their own regular reports on what they’re seeing on their platforms and … what actions they're
   taking. And so the platforms, themselves, would share that type of information…. they would share
   essentially what they were getting ready to make public or what they had already made public…
   and then potentially provide some additional context around that.” Scully Depo. 40:4-22. The
   government would ask for additional information about their observations of disinformation trends
   on social media, and the platforms would provide it: “they would share that, and if the government
   had questions or was looking for additional context they would often talk about that, they would
   generally talk about any new tactics that they were seeing.” Scully Depo. 41:1-5.

           RESPONSE: The first sentence is disputed as a mischaracterization of the testimony cited

   in the balance of the PFOF. Moreover, this PFOF contains no evidence that CISA sought or used

   the referenced information to threaten or pressure social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F, Arg. § II.B.4.c.

           989. Scully admits that the discussion of foreign-originated misinformation is ultimately
   targeted at preventing domestic actors’ from engaging in certain government-disfavored speech.
   He states that “my recollections for the time period we're talking about here, from September 2022
   to the election in 2022, I recall most of it was foreign based. But … often what you see overseas
   essentially makes its way to the United States.” Scully Depo. 41:6-12.



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          RESPONSE: The first sentence is disputed as a mischaracterization of the testimony cited

   in the second and third sentences, and as suggesting that the USG-Industry meetings, which ended

   in 2022, are still taking place. See Scully Dep. 32:9-11. There is no plan to continue these meetings

   in 2023. See id.; Hale Decl. ¶ 78 (Ex. 97). This PFOF contains no evidence that CISA used these

   meetings to threaten or pressure social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with CISA as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           990. At the various meetings, the platforms discuss misinformation and disinformation
   as “coordinated inauthentic behavior,” which is subject to removal under their terms of service,
   but Scully admits that “coordinated inauthentic behavior” concerns CISA because it “could lead
   to mis and disinformation, for sure.” Scully Depo. 42:12-14.

          RESPONSE: Disputed as a mischaracterization of the cited testimony, and as suggesting

   that the meetings, which ended in 2022, are still taking place. See Scully Dep. 32:9-11. There is

   no plan to continue these meetings in 2023. See id.; Hale Decl. ¶ 78 (Ex. 97). Mr. Scully testified

   that although coordinated inauthentic behavior “could lead to mis or disinformation . . . it’s not

   always mis or disinformation.” Scully Dep. 41:16-42:8. Rather, coordinated inauthentic behavior

   “could be an indicator” of mis- or disinformation. Id. at 42:15-19. Moreover, this PFOF contains

   no evidence that CISA used these meetings to threaten or pressure social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          C.      CISA Is Deeply Embedded in the Election Integrity Partnership.

          991. Scully admits that CISA has established relationships with researchers at
   “Stanford” and the “University of Washington,” as well as “Graphika.” Scully Depo. 46:23, 48:1-



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   4. CISA’s coordination with these researchers has continued since before the 2020 election cycle.
   Scully Depo. 47:22-25. Detailed additional information about these entities and their collaboration
   with CISA in the “Election Integrity Partnership” (or “EIP”) is provided below. See infra.

          RESPONSE: Undisputed. However, neither this PFOF nor those concerning the Election

   Integrity Partnership (EIP), infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, Pls.’ Supplemental Preliminary Injunction Brief at 41

   (Dkt. 214) (“PI Supp.”); see also Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

         992. Stanford Internet Observatory, University of Washington, the Atlantic Council, and
   Graphika are all involved in the EIP. Scully Depo. 48:1-22.

          RESPONSE: Undisputed.

           993. When EIP was starting up, Scully admits that CISA’s “involvement” with the EIP
   included at least the following collaborations: (1) “a couple of our [CISA] interns came up with
   the idea and … [CISA] had some communications with” the EIP. Scully Depo. 49:8-10. (2) CISA
   “received some briefings on the work that they were doing.” Scully Depo. 49:13-14. (3) CISA
   “had some communications early on in the process, when they were making decisions, when
   Stanford was trying to figure out what the gap was.” Scully Depo. 49:18-21. (4) CISA “connected
   them [EIP] with the Center For Internet Security,” which is a CISA-funded nonprofit that channels
   reports of disinformation from state and local government officials to social-media platforms.
   Scully Depo. 50:5-6. (5) CISA also “connected them [EIP] with some of the election official
   groups,” i.e., “the National Association of Secretaries of State [NASS] and the National
   Association of State Election Directors [NASED],” both of which are groups of state and local
   government officials. Scully Depo. 50:6-10. (6) And CISA “facilitated some meetings between
   those three.” Scully Depo. 50:10-11.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the cited actions as

   “collaborations” between CISA and the EIP. The cited evidence does not support that

   characterization. CISA did not launch the EIP, and it is not a government organization. See Hale

   Decl. ¶ 56 (Ex. 97). In addition, the PFOF mischaracterizes the funding of CIS. DHS has provided

   financial assistance to CIS through a series of cooperative agreement awards, managed by CISA,

   to provide certain, specified cybersecurity services to state, local, tribal and territorial

   governmental organizations through the MS- and EI-SACs. Id. ¶ 50. In the approved scope of work

   for the cooperative agreements, DHS has limited the use of federal funds and any required non-



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   federal cost-share to cybersecurity services intended to detect, prevent, respond to, mitigate, and

   recover from cyber threats, vulnerabilities, and risks. See id. The DHS approved scope of work for

   the cooperative agreements has never funded CIS to perform disinformation-related work,

   including the reporting of potential election security-related disinformation to social media

   platforms. See id. ¶ 51. Nor did CISA fund CIS or the MS- or the EI-ISAC for any of the work

   CISA provided in relation to the reporting of potential election security-related disinformation to

   social media or technology companies during the 2020 or election cycle. See id. ¶ 77. In addition,

   CISA does not now fund and has never funded the EIP. See id. ¶ 57. Further, Defendants note that

   Louisiana is a member of NASS and both Louisiana and Missouri are members of NASED. See

   id. ¶ 33. Neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains

   evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.

           994. The CISA interns who originated the idea of the EIP “worked for the Stanford
   Internet Observatory, as well … which was part of the [Election Integrity] Partnership.” Scully
   Depo. 51:7-8, 22-24.

           RESPONSE: Undisputed. However, neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

            995. According to Scully, the “gap” that the EIP was designed to fill, was that state and
   local election officials lack the resources to monitor and report on disinformation that affects their
   jurisdictions: “One of the gaps that we identified from 2018 is, as you know, most election officials
   their offices are fairly low staff, low resourced, and so there was no – they didn't have capabilities
   to try to identify disinformation targeting their jurisdictions, and so was essentially the gap is that
   most election offices throughout the country just didn't have that capacity or capability to be
   monitoring so that they could identify anything that would be potentially target their jurisdictions,
   so that was the gap.” Scully Depo. 57:6-17.




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          RESPONSE: Undisputed. However, neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           996. Scully and other CISA officials identified the “gap” as a problem to CISA interns
   who were simultaneously working for the Stanford Internet Observatory: “So we had a
   conversation with the interns, and they were asking questions about kind of needs that the election
   officials have, generally. One of the gaps that we identified from 2018 is, as you know, most
   election officials their offices are fairly low staff, low resourced, and so … they didn’t have the
   capabilities to try to identify disinformation targeting their jurisdictions.” Scully Depo. 57:2-11.

          RESPONSE: Undisputed, except that the cited testimony does not support the statement

   that the Stanford students interning at CISA “were simultaneously working for the Stanford

   Internet Observatory” and that Mr. Scully or “other CISA officials” “identified the ‘gap.’” See

   Defs.’ Resp. to Pls’ PFOF ¶ 1019. In addition, any student who interned at CISA should have

   performed only CISA work during their internship with the Agency, and they should not have

   performed any CISA work outside of their CISA internship, including while interning at the

   Stanford Internet Observatory or supporting the EIP. Hale Decl. ¶ 61 (Ex. 97). Moreover, neither

   this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that

   CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

           997. Thus, Scully and other CISA officials were involved in originating and
   brainstorming about the creation of the EIP in the first place, as they “had some initial conversation
   with the interns” about this “gap,” and then they also “had a conversation with the Stanford Internet
   Observatory folks about the gap.” Scully Depo. 52:3-6. Then, CISA “received a briefing from
   them [EIP], or two, on kind of what they were putting together.” Scully Depo. 52:7-9. Scully and
   other CISA officials then “facilitated some meetings between Stanford folks, the Center For
   Internet Security, and election officials, where they had discussions about how they would work
   together.” Scully Depo. 52:10-13. And CISA’s involvement did not end there, as Scully admits
   that “we had some conversations, kind of throughout, when they were -- particularly when they
   were putting out public reporting about what they were seeing.” Scully Depo. 52:14-17. In
   addition, Scully “wouldn't be surprised if there were some other kind of brief conversations in
   there.” Scully Depo. 52:18-20.




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          RESPONSE: Undisputed, except to extent the statement that “Scully and other CISA

   officials were involved in originating and brainstorming about the creation of the EIP in the first

   place” mischaracterizes the record. Mr. Scully explained that after he identified the “gap” in

   election officials’ resources, “I don’t think they were necessarily thinking about more of a

   partnership.” Scully Dep. 57:24-6. Rather, Mr. Scully explained that “I think the conversation was

   more along the lines of this may be something that the Stanford Internet Observatory could look

   into, and then I think they went back and talked to their folks at the Stanford Internet Observatory

   and the idea was formed from there.” Id. at 57:24-58:12. CISA did not found, fund, or have any

   role in the management or operations of the EIP. Hale Decl. ¶¶ 52, 56-57 (Ex. 97); Ex. 122 at 7

   (University of Washington statement) (noting that “CISA did not found, fund, or otherwise control

   EIP.”). Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           998. The EIP continued to operate during the 2022 election cycle. Scully Depo. 53:4-5.
   At the beginning of the 2022 election cycle, the EIP “gave us [CISA] a briefing, early on, about
   what they were thinking about,” which occurred in “May/June of 2022.” Scully Depo. 53:14-19.
   Scully and Geoff Hale of CISA received the briefing from Renee DiResta and another EIP official.
   Scully Depo. 53:22-54:7. In that briefing, the EIP officials “walked through what their plans were
   for 2022, [and] some of the lessons learned from 2020.” Scully Depo. 54:11-13. Their plans for
   2022 were that “they were going to do something similar to what they did in 2020 in terms of
   trying to support election officials.” Scully Depo. 54:16-18. They planned to “work with state and
   local election officials.” Scully Depo. 54:22-25.

          RESPONSE: Undisputed. However, neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           999. CISA followed EIP’s public reporting during the 2022 election cycle, and in
   particular, Scully relied on “at least one public report … that I thought was pretty good,” which
   was “about specific disinformation” and “was basically how to think about whether or not a
   narrative poses risks.” Scully Depo. 56:12-17.



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          RESPONSE: Undisputed, except that the record does not support that Mr. Scully “relied”

   on EIP’s public report rather than simply reviewed it. Scully Dep. 56:6-21. Moreover, neither this

   PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA

   was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

          1000. Scully admits that CISA has “an established relationship” with the EIP and the
   Stanford Internet Observatory personnel who lead it. Scully Depo. 55:24-25.

           RESPONSE: Undisputed. Defendants note that CISA did not found, fund, or have any

   role in the management or operations of the EIP. See Hale Decl. ¶¶ 52, 56-57 (Ex. 97); Ex. 122 at

   7 (noting that “CISA did not found, fund, or otherwise control EIP.”). In addition, neither this

   PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA

   was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

           1001. The Center for Internet Security is a “non-profit that oversees the multi-state ISAC
   and the election infrastructure subsector information sharing and analysis center, that's what ISAC
   stands for.” Scully Depo. 59:13-16. In other words, CIS oversees the “Multi-State Information
   Sharing and Analysis Center,” or “MS-ISAC,” and the “Election Infrastructure Information
   Sharing and Analysis Center,” or “EI-ISAC.” Scully Depo. 60:9-20. Both of these are
   organizations of state and/or local government officials, organized for information sharing. Scully
   Depo. 60:3-11, 60:25-61:6.

          RESPONSE: Undisputed, but further note that both Louisiana and Missouri are members

   of the MS-ISAC. See Hale Decl. ¶ 46 (Ex. 97). Neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1002. CISA funds the Center for Internet Security in its activity of overseeing the EI-
   ISAC, which is an organization for information-sharing among state and local government election
   officials. Scully Depo. 61:9-10, 62:1 (“CISA provides funding for the EI-ISAC”).




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          RESPONSE: Disputed. CISA does not fund the CIS; rather, DHS has provided financial

   assistance to CIS through a series of cooperative agreement awards, managed by CISA, to provide

   certain, specified cybersecurity services to state, local, tribal and territorial governmental

   organizations through the MS- and EI-SAC. See Hale Decl. ¶ 50 (Ex. 97). In the approved scope

   of work for the cooperative agreements, DHS has limited the use of federal funds and any required

   non-federal cost-share to cybersecurity services intended to detect, prevent, respond to, mitigate,

   and recover from cyber threats, vulnerabilities, and risks. See id. The DHS approved scope of work

   for the cooperative agreements has never funded CIS to perform disinformation-related work,

   including the reporting of potential election security-related disinformation to social media

   platforms. See id. at ¶ 51. Nor did CISA fund CIS or the MS- or the EI-ISAC for any of the work

   CISA provided in relation to the reporting of potential election security-related disinformation to

   social media or technology companies during the 2020 or election cycle. See id. at ¶ 77. Neither

   this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that

   CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg.

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          1003. CISA directed election officials to the Center for Internet Security, which CISA
   funds, as an alternative route for reporting misinformation to social-media platforms, because
   CISA found the “switchboarding” role to be resource-intensive. Scully Depo. 62:16-24.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA as funding the

   Center for Internet Security. The record does not support that characterization and it is contradicted

   by the facts. See Defs.’ Resp. to PFOF ¶ 1002. In addition, this PFOF mischaracterizes CISA as

   “direct[ing] election officials to” CIS. The record does not support that characterization; rather,

   the testimony states that “[election officials] seemed to settle on the [CIS.]” Scully Dep. 62:16-24.

   Neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence




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   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F.,

   Arg. § II.B.4.c. & e.

           1004. CISA connected the Center for Internet Security with the EIP because “the EIP was
   working on the same mission,” so “we wanted to make sure that they were all connected.” Scully
   Depo. 62:24-63:1. Thus, CISA originated and set up the collaborations between local government
   officials and the CIS, and between the EIP and the CIS. Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA as “originat[ing]

   and set[ting] up the collaborations between local government officials and the CIS.” Scully Dep.

   62:16-24. The record does not support that characterization and it is contradicted by the facts. As

   home to the MS-ISAC and EI-ISAC, CIS had its own independent relationship with state and local

   government officials. Hale Decl. ¶ 44 (Ex. 97); see Defs.’ Resp. to PFOF ¶ 1002. Moreover, neither

   this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that

   CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

           1005. The Center for Internet Security worked closely with CISA in reporting
   misinformation to social-media platforms, as CISA served as a pass-through for reports from CIS
   to the platforms: CIS officials “were receiving reporting directly from election officials. In the
   early part of 2020, they would forward what they were receiving election officials to us at CISA,
   and then we would push that to the social media platform; as 2021 moved along, CIS more
   frequently provided that directly to the platforms, themselves. And so I would say early on in the
   process, the switchboarding generally came through CISA. Later on in the process, it was more of
   a mixed bag of how the switchboarding worked.” Scully Depo. 63:23-64:10.

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes CIS as “work[ing]

   closely with CISA in reporting misinformation,” and does not support the implication that “CISA

   served as a pass-through for reports from CIS to the platforms” for all reports of misinformation

   to social media platforms, throughout the 2020 election or for any of the election cycles that

   followed. The cited evidence does not support that characterization. Indeed, as the quoted

   testimony of Mr. Scully reflects, as 2021 progressed CIS frequently provided information that it




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   received from state and local officials directly to social media platforms and did not involve CISA

   at all. Scull Dep. 63:23-64:10; Hale Decl. ¶ 75 (Ex. 97). Neither this PFOF nor those concerning

   the EIP, infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly]

   entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1006. In addition to CIS and CISA, EIP also reported supposed misinformation to social-
   media platforms. Scully Depo. 64:13-14. CISA and CIS coordinated directly with each other on
   reporting misinformation. Scully Depo. 64:18-20.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1007. CISA served a mediating role between CIS and the EIP, and the platforms, to
   coordinate their efforts in reporting misinformation to the platforms: “There was a point where
   one of the platforms was concerned about too much kind of duplicate reporting coming in, and so
   we did have some conversations with EIP and CIS on how to kind of better manage that activity
   to make sure we weren't overwhelming the platforms.” Scully Depo. 64:21-65:1.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the cited testimony as

   stating that CISA served in a “mediating role” between the CIS, the EIP, and social media

   platforms in coordinating the efforts of CIS and EIP. The cited testimony does not support that

   characterization. Rather, CISA had conversations with CIS to try and avoid providing social media

   companies with duplicative information. Scully Dep. 66:1-8; Hale Decl. ¶ 76 (Ex. 97). Neither this

   PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA

   was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

          1008. There was also direct email communication between EIP and CISA about
   misinformation reporting. Scully Depo. 66:9-12.

           RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited testimony

   as stating that the communications between EIP and CISA were about misinformation reporting.



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   The cited testimony does not support that characterization. Rather, the cited testimony notes that

   Mr. Scully believed “there was direct e-mail communication between EIP and CISA.” Scully Dep.

   66:9-12. Neither the deposition question nor the answer specifies the subject or content of

   conversations between the EIP and CISA. Neither this PFOF nor those concerning the EIP, infra,

   nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the

   EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1009. When CISA reported misinformation to platforms, CISA would “generally copy
   the Center for Internet Security,” which was coordinating with EIP. Scully Depo. 67:20-68:6.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes Mr. Scully’s

   testimony as indicating that CISA copied CIS because CISA was coordinating with the EIP. The

   testimony does not support that characterization. Rather, the testimony states that CISA did not

   coordinate with CIS if it was reporting something to a social media platform because CIS was

   coordinating with EIP, but rather, CISA coordinated with CIS because “most of the reporting

   received from an election official came through CIS.” Scully Dep. 68:2-19. Moreover, neither this

   PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA

   was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

           1010. Alex Stamos and Renee DiResta of the Stanford Internet Observatory briefed
   Scully about the EIP’s report, “The Long Fuse,” in “late spring, early summer 2021.” Scully Depo.
   70:1-10. Scully also reviewed portions of the report. See id.; Scully Ex. 1 (EIP Report).

          RESPONSE. Undisputed. However, neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1011. Dr. Kate Starbird of the University of Washington, who works with the EIP, is also
   on the MDM Subcommittee for CISA. Scully Depo. 72:19-73:4. Kate Starbird of the University




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   of Washington serves on CISA’s CSAC MDM Subcommittee, as well as working with the EIP.
   Scully Ex. 59, at 1.

          RESPONSE: Disputed to the extent this PFOF indicates that the “MDM Subcommittee

   for CISA” and “CISA’s CSAC MDM Subcommittee” are two distinct groups and to the extent this

   PFOF indicates that Dr. Starbird continues to serve on the CSAC’s MDM Subcommittee. There is

   no organization or group called “the MDM Subcommittee for CISA.” Rather, at one time the CISA

   Cybersecurity Advisory Committee (CSAC) had a subcommittee known as the Protecting Critical

   Infrastructure from Misinformation (MDM) Subcommittee. Dr. Starbird served on the CSAC

   MDM Subcommittee while it was operational; however, the CSAC MDM Subcommittee was

   directed to stand down in December 2022 because it had completed its work and provided its

   recommendations to CISA. See Ex. 187 at 43. Moreover, neither this PFOF nor those concerning

   the EIP, infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly]

   entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1012. Alex Stamos and Renee DiResta, who quarterback the EIP, also have roles in CISA.
   Renee DiResta of the Stanford Internet Observatory—a key player in the EIP—also serves as a
   “Subject Matter Expert (SME)” for the CISA’s Cybersecurity Advisory Committee’s MDM
   Subcommittee. Id.; Scully Depo. 361:19-362:6. Alex Stamos, the director of the Stanford Internet
   Observatory who launched the EIP, serves on the CISA Cybersecurity Advisory Committee, along
   with Kate Starbird. Jones Decl., Ex. FF, at 3, 12-13.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited evidence by

   suggesting that Ms. DiRestra’s inclusion on a list of “potential subject matter experts to potentially

   brief” meant that she had any role, formal or otherwise, at CISA. Scully Dep. 361:3-326:6. The

   cited evidence does not support this characterization. Moreover, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.




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           1013. CISA had extensive communications to coordinate with the EIP when it was
   starting up during the 2020 election cycle: “we had conversations with Stanford about the gap.
   They gave us some briefings on what they were doing, how they were doing it. Prior to the election,
   we had some conversations with them to facilitate and coordinate meetings, as I mentioned. And
   then when they put public reporting out, if we had questions about it, we would probably have
   conversations with them around that, as well.” Scully Depo. 74:17-75:1.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes CISA’s handful of

   conversations with Stanford as “extensive” communications with the EIP. The cited evidence does

   not support that characterization. Indeed, the cited transcript reflects that CISA only had a handful

   of meetings with the EIP between 2020 and 2022. Scully Dep. 74:17-75:1; Hale Decl. ¶¶ 52-54,

   60, 62 (Ex. 97). Indeed, CISA did not found, fund, or have any role in the management or

   operations of the EIP. Id. ¶¶ 52, 56-57; Ex. 122 at 7. Moreover, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1014. In addition to Scully, Matt Masterson was involved in communicating with the EIP.
   Scully Depo. 75:6-11. In addition, Scully “wouldn’t be surprised” if Geoff Hale participated in
   some conversations with EIP. Scully Depo. 76:1-2.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

            1015. The then-Director of CISA, Director Krebs, “had a relationship with Alex Stamos,”
   the head of the Stanford Internet Observatory, while CISA was coordinating with the EIP, and
   Director Krebs “may have had conversations in that context” about the EIP. Scully Depo. 76:8-10.
   In fact, when he left CISA in late 2020, Director Krebs “joined Alex Stamos,” and “they started a
   business together,” called the “Krebs/Stamos Group.” Scully Depo. 76:5-23.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes CISA’s

   communications with EIP as “coordinat[ion]” and mischaracterizes any conversation between

   former Director Krebs and Mr. Stamos as involving the EIP. The cited evidence does not support


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   those characterizations. Mr. Scully testified that he did not believe that former Director Krebs and

   Mr. Stamos “necessarily had conversations in relation to EIP.” Scully Dep. 76:5-12. Moreover,

   neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence

   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F.,

   Arg. § II.B.4.c. & e.

           1016. Scully believes that “Director Krebs may have participated in a couple of meetings
   that I'm aware of, that Stamos was also in.” Scully Depo. 77:20-22, 78:3-11.

          RESPONSE: Undisputed, but note that those meetings occurred while Mr. Stamos was

   still working at Facebook, rather than the Stanford Internet Observatory, and the discussion did

   not involve the Election Integrity Partnership. Scully Dep. 78:1-18. Moreover, neither this PFOF

   nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1017. According to Scully, “generally speaking, the reporting that CISA received came
   through the Center for Internet Security.” Scully Depo. 79:19-21.

          RESPONSE: Disputed. Mr. Scully testified that CISA generally received reporting in

   three ways. First, CISA received reports of potential misinformation from the Center for Internet

   Security. Scully Dep. 118:22-119:15. Second, on occasion election officials would send reports of

   potential misinformation to CISA Central, which is CISA’s operations center. Id. at. 119:20-25.

   Third, election officials would send reports of potential misinformation directly to a CISA

   employee. Id. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as

   a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41.

   See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1018. Matt Masterson and Scully presented questions to the EIP about their “public
   reporting,” which consisted of “regular blog posts on what they were seeing” about supposed



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   election-related misinformation. Scully Depo. 81:19-82:16. Masterson was also involved in at least
   one of the initial discussions with the Stanford Internet Observatory about starting up the EIP.
   Scully Depo. 81:24-82:4. Masterson spoke to Stanford about “clarifying the gap that election
   officials faced for the folks at the Stanford Internet Observatory early on in the process.” Scully
   Depo. 83:22-25.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1019. The idea of the “gap” came from Scully and CISA, which he “shared with the
   interns.” Scully Depo. 84:8-22.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Scully as coming up

   with the idea of the “gap.” The cited evidence does not support that characterization. Mr. Scully

   disclaimed that he came up with the idea of the “gap”; rather, the “gap” was identified as part of

   lessons learned from 2018. Scully Dep. 84:10-18 (stating that “I don’t know that I would say that

   that was . . . something that we came up with on our own.”). Mr. Scully shared this lesson learned

   with the Stanford students. Id. 84:19-22. Moreover, neither this PFOF nor those concerning the

   EIP, infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]”

   with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1020. Matt Masterson “was in the meeting where we talked about the gap with [Alex]
   Stamos, in particular. And I believe Stamos mentioned that [i.e., the collaboration that became the
   Election Integrity Partnership] as an option during that call.” Scully Depo. 85:21-24.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1021. Matt Masterson left CISA in January 2021. He started at Microsoft in early 2022.
   In the intervening year, immediately after leaving CISA, Masterson “was a fellow at the Stanford
   Internet Observatory.” Scully Depo. 88:21-89:8. Thus, both the CISA Director (Krebs) and the
   political appointee directly involved in the establishment of the EIP (Masterson) went to work with
   Alex Stamos of Stanford Internet Observatory immediately after the 2020 election cycle.



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          RESPONSE: Disputed to the extent that this PFOF mischaracterizes Mr. Masterson as

   being “directly involved in the establishment of the EIP.” The evidence does not support that

   characterization. Rather, the evidence reflects that Mr. Masterson had extremely limited

   involvement with Stanford concerning the EIP. Scully Dep. 83:15-25 (stating that Mr. Masterson’s

   role concerning the EIP was simply to clarify for the Stanford Internet Observatory the gap in

   resources that election officials faced). Moreover, neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1022. Alex Stamos consulted with CISA in part because “he knew he would need us
   helping him connect with election officials.” Scully Depo. 100:17-18.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes Mr. Scully’s

   understanding as fact when the cited testimony states, “I think he knew he would need us helping

   him connect with election officials.” Scully Dep. 100:17-18 (emphasis added). In addition, Mr.

   Stamos “didn’t ask CISA to play any role in the concept he was putting together.” Id. at 100:13-

   18. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1023. Scully believes that there was at least “a fifth call” between CISA and Alex Stamos
   in 2020. Scully Depo. 101:4.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1024. Scully put Stamos in touch with NASED and NASS, and “facilitated some meetings
   between … them [EIP] and election officials.” Scully Depo. 101:15-102:10. Scully “facilitated
   meetings … some meetings between EIP and CIS” because “they didn't have relationship” and



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   “didn't know each other. So [CISA] just facilitated getting them together to talk and figure out how
   they were going to work together.” Scully Depo. 102:14-20. The purpose of these meetings was
   “to set up a direct line of communication between CIS and EIP.” Scully Depo. 103:7-10.

          RESPONSE: Undisputed, but note that Plaintiff Louisiana is a member of the NASS, and

   Plaintiffs Missouri and Louisiana are members of the NASED. Hale Decl. ¶ 33 (Ex. 97). Moreover,

   neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence

   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F.,

   Arg. § II.B.4.c. & e.

          1025. Scully also put EIP in contact and facilitated meetings between EIP (i.e., folks at
   the Stanford Internet Observatory, which organized EIP) and representatives of NASED and
   NASS, the organizations of state and local election officials. Scully Depo. 103:11-104:19. These
   occurred in July or August 2020. Scully Depo. 104:24-25.

          RESPONSE: Undisputed, but note that Plaintiff Louisiana is a member of the NASS, and

   Plaintiffs Missouri and Louisiana are members of the NASED. Hale Decl. ¶ 33 (Ex. 97). Moreover,

   neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence

   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

          1026. Scully believes that the Center for Internet Security, which CISA funds,
   “forward[ed] messages that election officials sent them” reporting misinformation “to EIP.”
   Scully Depo. 106:10-16.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes CISA’s funding of

   CIS. DHS has provided financial assistance to CIS through a series of cooperative agreement

   awards, managed by CISA, to provide certain, specified cybersecurity services to state, local, tribal

   and territorial governmental organizations through the MS- and EI-SACs. Hale Decl. ¶ 50 (Ex.

   97). In the approved scope of work for the cooperative agreements, DHS has limited the use of

   federal funds and any required non-federal cost-share to cybersecurity services intended to detect,

   prevent, respond to, mitigate, and recover from cyber threats, vulnerabilities, and risks. Id. The



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   DHS approved scope of work for the cooperative agreements has never funded CIS to perform

   disinformation-related work, including the reporting of potential election security-related

   disinformation to social media platforms. Id. ¶ 51. Moreover, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1027. Scully agrees that “EI-ISAC is a part of CIS and we do fund the EI-ISAC.” Scully
   Depo. 110:20-23.

          RESPONSE: Undisputed, but note that neither DHS nor CISA funded CIS or the EI-ISAC

   for any of the work they provided in relation to the reporting of potential election security-related

   disinformation to social media or technology companies during the 2020 or 2022 election cycles.

   Hale Decl. ¶¶ 51, 77-78 (Ex. 97). Moreover, neither this PFOF nor those concerning the EIP, infra,

   nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the

   EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1028. Scully agrees that CISA collaborated with the EIP. Scully Depo. 111:15-18.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited testimony.

   In response to the question, “[d]id [CISA] have conversations with representatives of the EIP?,”

   Mr. Scully responded: “[y]es. If that’s considered collaboration, then I guess we collaborated with

   the EIP.” Scully Dep. 111:11-18. CISA has engaged with the EIP as it does with other

   nongovernmental organizations in the election community. Hale Decl. ¶ 62 (Ex. 97). Moreover,

   neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence

   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F.,

   Arg. § II.B.4.c. & e.




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           1029. CISA probably had “between two and four” conversations with the EIP about its
   public reports on disinformation trends on social media. Scully Depo. 113:20-24. “[I]f we had a
   question about jurisdiction[s] being targeted or a new [disinformation] tactic or things like that,
   we would just ask them … questions about that sort of thing.” Scully Depo. 114:17-21. Scully
   “was following the public reports” from the EIP during 2020. Scully Depo. 115:16-17.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited testimony by

   omitting portions of that testimony that provide context. The omitted portion of the testimony

   noted that the referenced conversations “were just fairly brief conversations, based on blog posts.”

   Scully Dep. 114:15-21; Hale Decl. ¶ 60 (Ex. 97) (noting that while the EIP briefed CISA on EIP’s

   plans for the 2022 election cycle, the briefing was at a high-level and did not address if or how the

   EIP may interact with CIS.”). Moreover, neither this PFOF nor those concerning the EIP, infra,

   nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the

   EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1030. CISA received misinformation reports principally from three sources: first, from
   the Center for Internet Security; and second, “sometimes election officials would send them in to
   CISA central, which is CISA's kind of ops center block room type setup. And then the third way
   was they would just send direct to a CISA employee, … often Matt Masterson, who had
   relationships with many of the election officials.” Scully Depo 119:7-11, 119:22-120:5.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1031. CISA coordinated with the Center for Internet Security on reporting misinformation
   to platforms: “we would let them know when we reported something to a platform … to avoid
   duplication,” and “most of the reporting that I recall in 2020 came through CIS. And so we just
   wanted to let them know that we were acting on what they sent us. For reporting that didn't come
   through CIS, we would often let them know after we had shared it with the platforms that we had
   shared something with the platforms for their arrangement.” Scully Depo. 120:23-121:9.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.



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          1032. CIS and EIP also “had a relationship. They shared information.” Scully Depo.
   121:20-21.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1033. According to Scully, “CISA does not do attribution. We didn’t do analysis of what
   we received from election officials. So we would not know what percentage” of misinformation
   reports “were foreign derived.” Scully Depo. 122:25-123:3. CISA thus forwards reports of
   “misinformation” to social-media platforms “without assessing whether they were originated from
   foreign or domestics sources.” CISA would not “take steps to see whether this came from foreign
   or domestic sources,” but “would just pass it along to the social-media platforms.” Scully Depo.
   123:4-18.

          RESPONSE: Undisputed, but note that this PFOF contains no evidence that CISA

   threatened or pressured any social media company to censor speech, or that any social media

   company regarded any communications by CISA as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

            1034. Scully was aware that social-media platforms changed their content-moderation
   policies to be more restrictive of election-related “misinformation” during the 2020 election cycle,
   because the platforms reported on those changes to federal officials “in our regular sync meetings,”
   i.e., the “USG-Industry” meetings. Scully Depo. 127:18-19. In those meetings, “that would be one
   of their briefing points, that they were making significant changes” to policies for censoring
   election-related speech. Scully Depo. 128:4-6.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited testimony.

   Rather than report on all changes to their content moderation policies during the USG-Industry

   meetings, social media platforms would report on “significant changes.” Scully Dep. 127:4-128:7.

   Mr. Scully explained that this information “wasn’t an essential part of the conversation,” and that

   he was unaware of anyone in the federal government asking or encouraging social media

   companies to change their content moderation policies to address election integrity. Id. at 127:4-




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   128:12. Also disputed to the extent Plaintiffs characterize social-media companies’ content

   moderation policies, to which all users must agree, as “policies for censoring.” Moreover, this

   PFOF contains no evidence that CISA threatened or pressured any social media company to censor

   speech, or that any social media company regarded any communications by CISA as such. Any

   implicit assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1035. During 2020, Matt Masterson was “a senior election security person at CISA,” and
   he was a “political appointee.” Scully Depo. 129:23-130:4. Masterson was “familiar with the
   switchboarding work that we were doing.” Scully Depo. 131:8-10. And “when he would receive
   emails” reporting misinformation, “he forwarded them to us.” Scully Depo. 131:13-14.

          RESPONSE: Undisputed, but note that this PFOF contains no evidence that CISA

   threatened or pressured any social media company to censor speech, or that any social media

   company regarded any communications by CISA as such. Any implicit assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1036. Scully understands that the Virality Project was “Stanford’s attempt to mimic the
   EIP for COVID.” Scully Depo. 134:10-11.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the

   Virality Project (VP), infra, nor the record as a whole, contains evidence that CISA was

   pervasively entwined with the VP such that VP’s conduct can be regarded as state action. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1037. The Virality Project “sent [Scully] some of their public reports.” Scully Depo.
   134:13-14.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the VP,

   infra, nor the record as a whole, contains evidence that CISA was pervasively entwined with the




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   VP such that VP’s conduct can be regarded as state action. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

         1038. Scully was aware that Alex Stamos and Renee DiResta of the Stanford Internet
   Observatory were involved in the Virality Project. Scully Depo. 134:21-22.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the VP,

   infra, nor the record as a whole, contains evidence that CISA was pervasively entwined with the

   VP such that VP’s conduct can be regarded as state action. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1039. Scully “did have some conversations where they were … asking me … for any
   connections I had with HHS or CDC.” Scully Depo. 135:10-12.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited testimony.

   Mr. Scully testified that he had conversations with someone “associated with the Virality Project”

   but did not recall who these conversations were with. Scully Dep. 134:17-135:12. Mr. Scully

   further testified that he did not provide the VP with these connections as he did not have “any

   relevant point of contact[] to provide them.” Id. at 135:6-19. Moreover, neither this PFOF nor

   those concerning the VP, infra, nor the record as a whole, contains evidence that CISA was

   pervasively entwined with the VP such that VP’s conduct can be regarded as state action. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1040. In addition, Scully recalls “some informal … conversations that I may have had
   with Alex, in particular, and maybe Renée, as well,” about the Virality Project. Scully Depo. 136:3-
   6.

          RESPONSE: Undisputed, but note that Mr. Scully stated that these conversations were

   “not substantial,” and that Mr. Stamos and Ms. DiResta simply told him generally that the VP was

   something they were working on. They “did not get into any details” about the VP during these

   conversations. Scully Dep. 135:20-136:22. Moreover, neither this PFOF nor those concerning the




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   VP, infra, nor the record as a whole, contains evidence that CISA was pervasively entwined with

   the VP such that VP’s conduct can be regarded as state action. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

          1041. Alex Stamos gave Scully an “overview what they planned to do in the Virality
   Project” that “was similar to what they did … with the EIP.” Scully Depo. 136:19-22.

           RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the VP,

   infra, nor the record as a whole, contains evidence that CISA was pervasively entwined with the

   VP such that VP’s conduct can be regarded as state action. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1042. Scully also had conversations with Renee DiResta about commencing the Virality
   Project. Scully Depo. 139:5-14.

           RESPONSE: Undisputed, but note that Mr. Scully testified that this “wasn’t a lengthy

   conversation. It was just, hey, we’re doing something here, I believe.” Scully Depo. 139:5-14.

   Moreover, neither this PFOF nor those concerning the VP, infra, nor the record as a whole,

   contains evidence that CISA was pervasively entwined with the VP such that VP’s conduct can be

   regarded as state action. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1043. With respect to the EIP, Alex Stamos and Renee DiResta “shared … lessons
   learned,” and “what some of their big takeaways were” with Scully. Scully Depo. 141:6-8.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1044. CrowdTangle is a “Facebook-owned social media monitoring service.” Scully
   Depo. 144:23-24.

           RESPONSE: Undisputed.

          1045. According to the Virality Project report, “as voting-related mis-and disinformation
   arose in the 2020 presidential election, the Election Infrastructure Information Sharing and



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   Analysis Center (EI-ISAC) served a critical role in sharing information with the Election Integrity
   Partnership and pushing its rapid response analysis back out to election stakeholders across all
   states.” Scully Ex. 2, at 150. Scully understands that this refers to the Center for Internet Security,
   which operates the EI-ISAC through CISA-provided funding, and that “it was Center for Internet
   Security” that engaged in direct communications with the EIP and played a critical role in sharing
   information with the EIP. Scully Depo. 147:17-25.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the CIS and EI-ISAC

   funding mechanism, as well as the EI-ISAC’s involvement in the EIP. Regardless of Mr. Scully’s

   “understanding,” the cited evidence does not support that characterization. First, DHS has provided

   financial assistance to CIS through a series of cooperative agreement awards, managed by CISA,

   to provide certain, specified cybersecurity services to state, local, tribal and territorial

   governmental organizations through the MS- and EI-SACs. Hale Decl. ¶ 50 (Ex. 97). In the

   approved scope of work for the cooperative agreements, DHS has limited the use of federal funds

   and any required non-federal cost-share to cybersecurity services intended to detect, prevent,

   respond to, mitigate, and recover from cyber threats, vulnerabilities, and risks. Id. The DHS

   approved scope of work for the cooperative agreements has never funded CIS to perform

   disinformation-related work, including the reporting of potential election security-related

   disinformation to social media platforms. Id. ¶ 51. Second, Mr. Scully testified that he was not

   aware of whether the EI-ISAC served a role in sharing information with the EIP during 2020.

   Scully Dep. 147:13-25. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the

   record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI

   Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1046. During the summer of 2020, CISA was “piloting a capability that would allow us
   to monitor narratives online,” Scully Depo. 151:13-15—i.e., the work that the EIP eventually did
   and does.

          RESPONSE: Disputed to the extent the PFOF seeks to assert an equivalence between the

   work the EIP performed and the pilot project Mr. Scully described, because the PFOF fails to cite



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   to any record evidence supporting such a comparison. In addition, Mr. Scully explained that the

   purpose of the pilot project was “to predict the likely impact of narratives on stakeholders.” Scully

   Dep. 151:20-152:9. Mr. Scully explained that “we were trying to understand . . . if we could predict

   the likely impact of MDM narrative in terms of increasing risks to critical infrastructure by a better

   understanding [of] the information environment, so the pilot was essentially trying to test that

   theory out.” Id. at 151:20-152:14; 153:24-154:8. This pilot project was never operationalized or

   used by CISA. Id. at 155:14-22. Moreover, neither this PFOF nor those concerning the EIP, infra,

   nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the

   EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1047. In his public statements, Alex Stamos has identified the EIP’s “partners in
   government” as “most particularly those in CISA and DHS, but also in all of the local and state
   governments with whom we operated with.” Scully Ex. 6, at 4. Scully agrees that “CISA and DHS
   were partners of the EIP.” Scully Depo. 369:1-11.

          RESPONSE: Undisputed, but note that Mr. Scully testified that “[CISA] generally

   describe[s] any external organization that we have a relationship with as a partner.” Scully Depo.

   396:6-11; Hale Decl. ¶ 62 (Ex. 97) (noting that CISA has engaged with the EIP as it does with

   other nongovernmental organizations in the election community). Moreover, neither this PFOF

   nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1048. According to Stamos, “[t]he Election Integrity Partnership started with our team in
   Stanford sending a group of interns to go work with the cyber security and infrastructure security
   agency at the DHS to work election security. And what these interns found is, there's a lot of
   opportunity for them to contribute to the technical components of election security. They also
   found that there was a lack of capability around election disinformation. This is not because CISA
   didn't care about disinformation, but at the time they lacked both kind of the funding and the legal
   authorizations to go do the kinds of work that would be necessary to truly understand how election
   disinformation was operated.” Scully Ex. 6, at 4.




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          RESPONSE: Disputed to the extent Plaintiffs’ PFOF relies on the statement of

   nongovernmental third party for the legal conclusion that CISA lacked the “legal authorizations to

   go do the kinds of work that would be necessary to truly understand how election disinformation

   was operated.” Defendants address Plaintiffs’ legal conclusion and arguments in their brief in

   response to Plaintiffs’ motion for a preliminary injunction. Moreover, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

            1049. Stamos says that the EIP is “a project between four different institutions to try to
   fill the gap of the things that the government cannot do themselves.” Scully Ex. 6, at 4.

          RESPONSE: See Defendants’ response to Pls’ PFOF ¶ 1048.

           1050. Stamos states that CISA was one of “four major stakeholders” in the EIP: “There
   are kind of four major stakeholders that we operated with that we worked beside at EIP. Our
   partners in government, most particularly those in CISA and DHS, but also in all of the local and
   state governments with whom we operated with.” Scully Ex. 6, at 4.

          RESPONSE: Undisputed, but note that Mr. Scully testified that “[CISA] generally

   describe[s] any external organization that we have a relationship with as a partner.” Scully Dep.

   396:6-11; Hale Decl. ¶ 62 (Ex. 97) (noting that CISA has engaged with the EIP as it does with

   other nongovernmental organizations in the election community). Moreover, neither this PFOF

   nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1051. EIP had access to data for monitoring social-media speech that the federal
   government does not have: The EIP “also worked with the major platforms, Facebook, Twitter,
   YouTube, TikTok, Reddit, NextDoor and the like. … [S]ome of those cases we had agreements
   for access of data. In other cases, we had to have individual analysts go work with them.” Scully
   Ex. 6, at 5.




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          RESPONSE: Disputed because the PFOF’s statement that the “EIP had access to data for

   monitoring social-media speech that the federal government does not have” is not supported by

   the cited evidence. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record

   as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at

   41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

            1052. According to Stamos, there was very little foreign disinformation in 2020: “We find
   very little evidence that there's any foreign involvement at all. In fact, the vast majority of election
   disinformation in 2020 came from Americans who had verified accounts and very large follower
   accounts.” Scully Ex. 6, at 6.

          RESPONSE: Undisputed to the extent that this was the conclusion that Mr. Stamos

   reached based on the work performed by the EIP.

           1053. According to Stamos, its founder, the EIP targeted “large follower account political
   partisans who are spreading misinformation intentionally, doing so in a multi-media context. So
   they're doing so online, on social media, but they're also doing so on cable news, doing so on the
   radio, through a variety of different outlets and are able to amplify their message and to motivate
   their followers to go try find evidence of the incorrect claims that they're making.” Scully Ex. 6,
   at 7.

          RESPONSE: Disputed because the PFOF mischaracterizes the cited evidence. Mr. Stamos

   did not state that the EIP was “target[ing]” anything. Rather, Mr. Stamos simply explained a trend

   EIP’s research had observed and noted that “one of the big changes [from the 2016 election] that

   we point out in our report is that this information is much less about massive amplification. . . .

   It’s a much more important factor now is that there are large follower account political partisans

   who are spreading misinformation intentionally, doing so in a multi-media context.” Scully Ex. 6

   at 7. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

         1054. According to Renee DiResta, “in August 2020, students from the Stanford Internet
   Observatory were doing an internship with CISA and they identified a massive gap in the



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   capability of federal, state, and local governments to become aware of, to analyze, and to rapidly
   respond to mis and disinformation, both foreign and domestic, targeting the 2020 election.” Scully
   Ex. 7, at 4. The EIP was designed to fill that “gap” in the governments’ capability to “rapidly
   respond to mis- and disinformation … targeting the 2020 election.” Id.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1055. As DiResta notes, the EIP was designed to get around “unclear legal authorities,
   including very real First Amendment questions,” that would arise if CISA or other government
   agencies were to monitor and flag misinformation for censorship on social media. Scully Ex. 7, at
   4. As she states, “that gap had several components. The federal government wasn't prepared to
   identify and analyze election mis- and disinfo. …There were unclear legal authorities, including
   very real First Amendment questions.” Id.

          RESPONSE: Disputed to the extent the PFOF relies upon a statement by a non-

   governmental third-party witness to support a conclusion about CISA’s “legal authorities.”

   Defendants respond to Plaintiffs’ legal arguments in their opposition to Plaintiffs’ motion for a

   preliminary injunction. In addition, Ms. DiResta explained that there were a number of reasons for

   the EIP, including that “a trusted nonpartisan partnership with expertise in the way that

   misinformation moved on public platforms with analysts capable of understanding public

   conversations and a broader ability to explore publicly available data was needed.” Scully Ex. 7 at

   4-5. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1056. DiResta agrees that “the vast majority of voting related misinformation in the 2020
   election was domestic.” Scully Ex. 7, at 6.

          RESPONSE: Undisputed to the extent that this was the conclusion that Ms. DiResta

   reached based on the work performed by the EIP. However, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was



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   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1057. The Virality Project was immediately established on the heels of the EIP:
   “Following the success of EIP and the certification of the 2020 election, SIO [Stanford Internet
   Observatory] … almost immediately we recognized the need to ramp back up. This time to support
   government health officials' efforts to combat misinformation and targeting the COVID-19
   vaccines. In February 2021, we formally established the Virality Project drawing on the same
   partners from EIP and adding a few more, and much like EIP, it focused on realtime observation,
   analysis, and understanding of cross platform vaccine-related misinformation.” Scully Ex. 7, at 7.

          RESPONSE: Disputed to the extent the PFOF does not provide the entire quote from Ms.

   DiResta. The complete first sentence of her statement reads: “Following the success of EIP and

   the certification of the 2020 election, SIO ramped down its monitoring analysis capability because

   we thought that we were done with that work.” Scully Ex. 7 at 7. Moreover, neither this PFOF nor

   those concerning the VP, infra, nor the record as a whole, contains evidence that CISA was

   pervasively entwined with the VP such that VP’s conduct can be regarded as state action. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1058. The CISA-funded Center for Internet Security coordinated with EIP regarding
   online misinformation and reported it to CISA. For example, on October 1, 2020, CIS emailed
   Scully about alleged misinformation, noting that “the impact seems to be escalating. Our hope is
   the platforms can do more to take down the misinformation. The EIP has been tracking this spread
   under ticket EIP-243 and has more examples.” Scully Ex. 9, at 1. Scully forwarded this report to
   social media platforms. Id.

          RESPONSE: Disputed to the extent the PFOF’s characterization of CISA’s funding of the

   CIS is misleading. First, DHS, not CISA, provides funding to CIS. See Hale Decl. ¶ 50 (Ex. 97).

   Second, the DHS approved scope of work for the cooperative agreements has never funded CIS to

   perform disinformation-related work, including the reporting of potential election security-related

   disinformation to social media platforms. Id. ¶ 51. In fact, DHS expressly rejected CIS’s request

   for government funding to perform that work during the 2022 election cycle. Id. ¶ 79. Moreover,

   neither this PFOF nor those concerning the EIP, infra, nor the record as a whole, contains evidence



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   that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F.,

   Arg. § II.B.4.c. & e.

           1059. EIP had advised Scully that it was using a ticketing system to track misinformation
   narratives. Scully Depo. 159:1-5.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1060. Scully forwarded this report tracked under EIP-243 to Twitter, as well as Facebook
   and YouTube, because “people generate traffic … by posting it across platforms,” and he “would
   sometimes share across other platforms that we thought there might be … relevant content showing
   up on their platforms.” Scully Depo. 160:2-5; Scully Ex. 9, at 1, 7, 12.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited exhibits as

   forwarding reports tracked under “EIP-243.” The cited documents do not support that

   characterization. Rather, the emails use a subject line indicating that CIS had an independent case

   number (Report # CIS-MIS000024) associated with the report it received from the office of the

   California Secretary of State. Scully Ex. 9 at 1, 7, 12. Moreover, neither this PFOF nor those

   concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1061. Scully asked social-media platforms to report back how they were handling reports
   of misinformation and disinformation received from CISA. See Scully Ex. 9, at 11 (asking Twitter
   “to see if there’s anything you can share about how you’re approaching” misinformation reported
   by CISA). According to Scully, “periodically … we would ask if the decision was made and if we
   can share back.” Scully Depo. 164:15-17.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the cited evidence. Mr.

   Scully testified that CISA would ask social media companies to report back how they had

   addressed the content reported “if the election official asked,” because sometimes the election




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   officials “wanted to know if a decision was made[.]” Scully Dep. 163:17-164:5. Mr. Scully further

   testified that “if the platform was open to sharing if they had made a decision or not, we would

   just push [the platform’s response] back to the election officials so they were aware … of where

   the platform landed. Id. at 163:23-164:17. Moreover, this PFOF does not support Plaintiffs’

   contention that CISA attempted to dictate to, threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress certain election-related claims on their platforms,

   or that the companies regarded (or acted on) any communications with CISA as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.

          1062. CISA maintained a “tracking spreadsheet” of its misinformation reports to social-
   media platforms during the 2020 election cycle. Scully Depo. 165:14-166:13. After Scully’s
   deposition, CISA produced this “tracking spreadsheet” in response to Plaintiffs’ Motion to
   Compel. Jones Decl., Ex. GG.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited document. The

   “tracking spreadsheet” of approximately 145 items included, among other things, (1) reports from

   state, local, tribal and territorial election officials that CISA forwarded to social media platforms;

   (2) reports that CISA had been made aware of but had taken no action on, and (3) materials not

   reported to social media platforms but instead referred to law enforcement as the underlying

   material may have constituted criminal behavior such as threats directed towards election officials

   and infrastructure. Jones Decl., Ex. GG. Defendants further dispute the PFOF’s characterization

   that CISA produced this “tracking spreadsheet” in response to Plaintiffs’ Motion to Compel. The

   tracking spreadsheet was neither the subject of Plaintiffs’ document production requests nor their

   motion to compel. See Ex. 185 at 1 (E-mail from Joshua E. Gardner to John Sauer (Feb. 14, 2023,

   8:11 AM)). Rather, Defendants produced the “tracking spreadsheet” to Plaintiffs in the spirit of

   cooperation because they requested it outside of discovery or motions practice. Id. Moreover, this



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   PFOF does not support Plaintiffs’ contention that CISA attempted to dictate to, threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress certain

   election-related claims on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1063. At least six members of the MDM team “took shifts” in reporting supposed
   misinformation to social-media platforms, including Scully, Chad Josiah, Rob Schaul, Alex
   Zaheer, John Stafford, and Pierce Lowary. Scully Depo. 166:9-168:11, 183:14-16.

          RESPONSE: Undisputed, but clarify that CISA forwarded reports of potential

   misinformation that it received from election infrastructure stakeholders, including officials in

   Plaintiffs states Louisiana and Missouri, see Hale Decl. ¶ 70 (Ex. 97); Ex. 100

   (MOLA_DEFSPROD_00007488);             Ex.    101   (MOLA_DEFSPROD_00007647);              Ex.    102

   (MOLA_DEFSPROD_00010719); Ex. 103 (MOLA_DEFSPROD_00008681), to social media

   platforms. Moreover, this PFOF does not support Plaintiffs’ contention that CISA attempted to

   dictate to, threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress certain election-related claims on their platforms, or that the companies regarded (or acted

   on) any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1064. At the time, Pierce Lowary and Alex Zaheer were simultaneously serving as interns
   for CISA and working for the Stanford Internet Observatory, which was then operating the
   Election Integrity Partnership. Scully Depo. 168:22-171:16, 183:20-22. Thus, Zaheer and Lowary
   were simultaneously engaged in reporting misinformation to social-media platforms on behalf of
   CISA, and in reporting misinformation to social-media platforms on behalf of the EIP. Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited evidence.

   Messrs. Lowary and Zaheer both interned for CISA and were Stanford students associated with

   the Stanford Internet Observatory (SIO); however, as Mr. Scully explained during this deposition,




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   “when [the intern] was on duty, he was only working for us.” Scully Dep. 168:20-169:2; Hale

   Decl. ¶ 61 (Ex. 97). Moreover, neither this PFOF nor those concerning the EIP, infra, nor the

   record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI

   Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1065. Zaheer and Lowary were also two of the four Stanford interns who originated the
   idea of the EIP. Scully Depo. 171:14-16, 184:22-24, 185:12-14.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1066. Zaheer “was one of the people that were working the ticketing system” for EIP.
   Scully Depo. 181:21-23. Likewise, Lowary “did both SIO and CISA push forwarding” at the same
   time during the fall of 2020. Scully Depo. 183:14-16.

          RESPONSE: Undisputed, but note that neither this PFOF nor those concerning the EIP,

   infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1067. CISA’s misinformation reporting to platforms “ramped up as we got closer to the
   election.” Scully Depo. 174:1-2. On election night, they “were up until at least midnight,” and “if
   we received anything we would push it forward.” Scully Depo. 175:12-14. Close to the election,
   they would “monitor their phones” for disinformation reports even during “off hours.” Scully
   Depo. 175:16-17. “[T]he expectation [was] … that they would be responsible for forwarding
   something” to the platforms. Scully Depo. 175:19-21.

          RESPONSE: Undisputed, but clarify that CISA forwarded reported information it

   received from election infrastructure stakeholders, including from Plaintiffs Louisiana and

   Missouri. Hale Decl. ¶ 70 (Ex. 97); Ex. 100 (MOLA_DEFSPROD_00007488); Ex. 101

   (MOLA_DEFSPROD_00007647);             Ex.   102    (MOLA_DEFSPROD_00010719);            Ex.    103

   (MOLA_DEFSPROD_00008681). Moreover, this PFOF does not support Plaintiffs’ contention

   that CISA attempted to dictate to, threaten or pressure, collude with, or encourage social-media




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   companies to remove or suppress certain election-related claims on their platforms, or that the

   companies regarded (or acted on) any communications with CISA as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

           1068. Alex Zaheer, when switchboarding for CISA, forwarded detailed a report of
   supposed “misinformation” from the Election Integrity Partnership (EIP) to CISA’s reporting
   system, which called for “swift removal of … posts and continued monitoring of the user’s
   account” because that user had “claimed (1) that mail-in voting is insecure, [and] (2) conspiracy
   theories about election fraud are hard to discount.” Scully Ex. 9, at 62. Scully forwarded this report
   to Twitter, which reported back that it had taken action pursuant to its civic integrity policy. Id. at
   61; see also Scully Depo. 199:6-200:17.

           RESPONSE: Disputed to the extent it mischaracterizes the cited evidence. Mr. Zaheer

   forwarded to CISA’s Countering Foreign Influence Task Force (CFITF), for the CFITF’s

   situational awareness, a report that the EIP had sent to Twitter. Scully Ex. 9 at 62. That report

   noted that a Twitter user had claimed that alleged ballots were being sent to New York City

   residents that were pre-filed out in favor of Biden, and that voters were encouraged to turn those

   ballots in as-is. Id. The EIP report “recommended Twitter remove this post immediately, as it

   contains a message that intends to mislead and potentially cast doubt on the legitimacy of mail-in

   voting in a critical pre-election period.” Id. Mr. Scully forwarded this report to Twitter and noted

   that there was “[n]o need to respond.” Id. at 61. Twitter nevertheless responded to Mr. Scully and

   informed him that Twitter decided to apply “a contextual label pursuant to our policy on Civic

   Integrity.” Id. at 61. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the

   record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI

   Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1069. According to Scully, forwarding such reports of misinformation from the EIP to
   social-media platforms “was our standard practice.” Scully Depo. 200:25. In fact, CISA’s tracking
   spreadsheet contains at least eleven entries of “switchboarded” reports of misinformation that
   CISA received directly from “EIP” and forwarded to social-media platforms for review under their



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   policies. Jones Decl., Ex. GG, at 4-5, Column C (“From”), Lines 86-96, 115, 123 (all listing
   “EIP”). CISA also used EIP tracking numbers for those reports. See id. Column D. One of these
   notes that content was reported to Twitter for censorship because “EIP … saw article on The
   Gateway Pundit.” Id. at 4 (Column F, Line 94).

          RESPONSE: Disputed to the extent the PFOF mischaracterize the reports sent to Twitter

   as advocating for “censorship.” The cited evidence does not support that characterization. Rather,

   the evidence reflects that both CISA and EIP flagged information for social media companies so

   the companies could independently decide whether the information violated their terms of service.

   In addition, to the extent the PFOF suggests that CISA forwarded each of the “at least eleven

   entries” it received from the EIP to social media companies, the cited evidence does not support

   that statement. As reflected in rows 86-96 and 123 of the spreadsheet, these are instances where

   CISA was notified about EIP reporting to social media platforms, and do not indicate that CISA

   separately forwarded this information to social media platforms. Jones Decl., Ex. GG at 5-6.

   Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1070. CIS routinely reported misinformation by sending the notice simultaneously to both
   CISA and to the EIP, using the EIP’s misinformation-reporting email “tips@2020partnership.
   atlassian.net.” Scully Ex. 9, at 33, 52, 58; Scully Ex. 10, at 1. Scully Ex. 11, at 1-2 (indicating that
   “tips@2020partnership.atlassian.net” is the reporting email for the EIP); Scully Depo. 229:18-
   230:25 (Scully admitting that this email is the EIP reporting email).

          RESPONSE: Disputed to the extent the PFOF’s characterization that CIS “routinely”

   reported misinformation to both CISA and to the EIP is unsupported by the cited evidence.

   Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record as a whole,

   contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.




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          1071. State officials, likewise, simultaneously reported supposed “misinformation” to
   CISA, CIS, and the EIP. See, e.g., Scully Ex. 9, at 59 (Colorado state official reporting
   misinformation to “EI-ISAC, CISA and Stanford Partners”).

          RESPONSE: Undisputed, but note that some states, like Louisiana, reported potential

   misinformation directly to CISA without reporting this information to CIS and the EIP. See, e.g.,

   Ex. 100 (MOLA_DEFSPROD_00007488). Moreover, neither this PFOF nor those concerning the

   EIP, infra, nor the record as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]”

   with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1072. State officials sometimes indicated that they were reporting misinformation to
   platforms for censorship precisely because federal officials at FBI and CISA had warned them
   about it. See, e.g., Scully Ex. 9, at 59 (noting that Colorado was reporting two Twitter accounts,
   one with 14 followers and one with 2 followers, because “[t]hese are concerning to us here in
   Colorado because of recent FBI/CISA warnings about impersonation accounts spreading false
   information about the election”).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes state officials as reporting

   misinformation to platforms for “censorship.” The cited evidence does not support that

   characterization. Rather, the cited document reflects that an individual from the office of the

   Colorado Department of State flagged for EI-ISAC, CISA, and “Stanford Partners” two accounts

   “that could be used to imitate official accounts,” and that he “wanted to flag them for

   consideration.” Scully Ex. 9 at 59. The Colorado Department of State expressly stated that it was

   “not the originator of the above information and is forwarding it, unedited, from its original source.

   The Department does not seek the ability to remove or edit what information is made available on

   social media platforms. The Department makes no recommendations about how the information it

   is sharing should be handled or used by recipients of this email.” Id. at 60. Accordingly, this PFOF

   reflects a state official asking Twitter to make the independent judgment as to whether the

   identified accounts violate Twitter’s terms of service—terms to which all users agree. Moreover,

   this PFOF does not support Plaintiffs’ contention that CISA attempted to dictate to, threaten or



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   pressure, collude with, or encourage social-media companies to remove or suppress certain

   election-related claims on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

            1073. One platform complained to Scully that it was receiving duplicate reports of
   misinformation from the EIP and Center for Internet Security, and asked if CISA could be
   designated reporter for the group: “Hey Brian, can we talk about CIS Misinformation reporting
   duplicate reports to EIP? Possible to have just you escalate?” Scully Ex. 9, at 63. Scully
   coordinated with CIS and EIP to set forth a coordinated reporting process involving agreed roles
   for all three of them—CISA, CIS, and EIP. Id.; Scully Depo. 209:14-212:12. Scully admits that
   there was “an agreement for EIP and CIS and CISA to coordinate and let each other know what
   they were reporting to platforms like Twitter.” Scully Depo. 212:7-12.

           RESPONSE: Undisputed, but note that neither this PFOF—which relates to an agreement

   among CISA, CIS, and EIP to inform one another of the misinformation each independently

   decided to report—nor those concerning the EIP, infra, nor the record as a whole, contains

   evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.

           1074. State and local officials reported misinformation to the FBI in parallel with their
   reports to CIS and CISA. See, e.g., Scully Ex. 10, at 10. This is because CISA “tell[s] election
   officials to report what they saw to either DHS or the FBI, and it would end up where it needed to
   be.” Scully Depo. 215:8-14.

           RESPONSE: Disputed to the extent the PFOF implies that state and local officials

   regularly reported misinformation to the FBI in parallel with their reports to CIS or CISA. The

   evidence cited does not support that implication. For example, the compilation of emails from state

   and local officials reflected in Scully Ex. 10 contains numerous emails that do not include the FBI.

   See generally Scully Ex. 10. Moreover, this PFOF does not support Plaintiffs’ contention that

   CISA attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain election-related claims on their platforms, or that the




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   companies regarded (or acted on) any communications with CISA as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c. & e.

            1075. The Center for Internet Security, likewise, sometimes used EIP ticket numbers on
   the misinformation reports it sent to CISA for forwarding to platforms. See, e.g., Scully Ex. 10, at
   27 (reporting supposed misinformation in Pennsylvania under ticket number “EIP-664”); Scully
   Depo. 217:16-218:19. As noted, CISA’s “tracking spreadsheet” used similar EIP ticket numbers
   at least 13 times for misinformation reports sent to platforms. Jones Decl., Ex. GG, at 4-5.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the evidence as suggesting

   that CISA sent 13 reports to social media companies that it received from the EIP. See Defs’ Resp.

   to PFOF ¶ 1069. Moreover, neither this PFOF nor those concerning the EIP, infra, nor the record

   as a whole, contains evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at

   41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           D.       CISA Uses Switchboarding to Pressure Platforms to Censor Speech.

           1076. CISA and Scully did not just forward misinformation reports to platforms; in
   addition, they also engaged in fact-checking for the platforms. For example, regarding a report
   about election security in Pennsylvania, Facebook asked Scully if he could please “confirm” two
   factual aspects of the report, and Scully responded with an explanation of why the government
   believed that the report was misinformation violating Facebook’s terms of service. Scully Depo.
   218:22-219:24; Scully Ex. 10, at 25-27; Scully Depo. 222:20-224:20; Scully Ex. 10, at 35-37
   (Scully engaging in his own research to debunk an election-integrity claim on Twitter and
   reporting to Twitter, which relied on his research to label the Tweet).

           RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Scully’s actions as

   constituting “fact checking.” The evidence does not support that characterization. Rather, Mr.

   Scully testified that if a social media platform requested additional information from an election

   official CISA would try to support that request. Scully Dep. 219:25-220:13. This typically would

   involve CISA either asking a state or local official for a public statement that it could provide to

   the social media company or finding the public statement itself and providing it to the social media

   company. Id. at 219:25-222:15. Moreover, this PFOF does not support Plaintiffs’ contention that



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   CISA attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain election-related claims on their platforms, or that the

   companies regarded (or acted on) any communications with CISA as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c.

            1077. Scully admits that CISA commonly engaged in such informal fact-checking for the
   platforms: “if social media platforms needed additional information from an election official we
   would try to support that. … “[G]enerally speaking, we would do what we did here, which is if the
   -- if the jurisdiction made a public statement or if there was additional information the jurisdiction
   could provide, and the platforms asked for it, that we would try to facilitate getting the information
   they asked for.” Scully Depo. 220:6-20. CISA would do its own research as well as relaying
   statements from public officials to help debunk postings for social-media platforms. Scully Depo.
   221:1-4 (“If it was a public statement, I'm sure we pulled it ourselves. If there was not a public
   statement, I would imagine we would go back to the election official.”); Scully Depo. 221:23-
   222:19.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the evidence. Mr. Scully’s

   follow-up inquiries to state or local election officials, or reviews of public statements they had

   issued upon the requests of social media companies for additional information were neither

   “common[]” nor did they constitute “informal fact-checking” by CISA. The evidence does not

   support those characterizations. See Defs.’ Resp. to PFOF ¶ 1076. Moreover, this PFOF does not

   support Plaintiffs’ contention that CISA attempted to dictate to, threaten or pressure, collude with,

   or encourage social-media companies to remove or suppress certain election-related claims on

   their platforms, or that the companies regarded (or acted on) any communications with CISA as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1078. In presenting such “debunking” information to platforms to urge them to remove
   content, CISA always assumed—without any independent research—that the government official
   was a reliable source, and that the social-media user was unreliable, even for first-hand accounts:
   “if there was a public statement that was put out by the jurisdiction, we would … defer to that.”
   Scully Depo. 221:9-12. CISA would not “take any steps to find out” if the private citizen’s account



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   might actually be truthful, and CISA would not “do further research to figure out who was telling
   the truth,” but would simply “relay … the official statement from the jurisdiction” to the platforms
   for censorship. Scully Depo. 221:13-22.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Scully’s purpose, in

   responding to social media companies’ request for additional information, as an effort to “urge

   them to remove content” or to “censor” anyone. Disputed also that Mr. Scully made assumptions

   about the reliability of any source. The cited evidence does not support those characterizations.

   Rather, as reflected throughout Scully Ex. 10, CISA would forward information from state and

   local election officials to social media companies so that those companies could independently

   determine whether certain content violated their terms of service. See generally Id. CISA made no

   recommendations about how social media companies should handle or use information that it

   forwarded from state and local election officials. Id. Moreover, this PFOF does not support

   Plaintiffs’ contention that CISA attempted to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain election-related claims on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

          1079. CISA’s fact-checking activity included both relaying “debunking” information
   from state and local officials—always assuming without question that the state and local officials
   were truthful, not the social-media speakers—and performing its own fact-checking when the
   claim related to federal activities. For example, “[t]here was also one time when I believe it was
   Facebook had a question about DHS immigration and customs enforcement having agents going
   places where we also provided a response back on a specific piece.” Scully Depo. 220:8-13.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA as acting as a “fact-

   checker.” The cited evidence does not support that characterization. See Defs.’ Resps. to PFOF

   ¶¶ 1076-78. CISA did not “perform its own fact-checking.” Rather, as Mr. Scully explained, there

   was “one time” when, in response to a question from Facebook “about DHS immigration and



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   customs enforcement agents going places,” CISA “provided a response back on a specific piece.”

   Scully Depo. Tr. 219:25-220:13. Moreover, this PFOF does not support Plaintiffs’ contention that

   CISA attempted to dictate to, threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress certain election-related claims on their platforms, or that the

   companies regarded (or acted on) any communications with CISA as such. Any assertion to that

   effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. §

   II.B.4.c.

           1080. CIS and CISA’s “switchboarding” activities reached, not just public postings, but
   private postings on social-media platforms. See, e.g., Scully Ex. 10, at 45-46 (reporting a “post on
   a private FB page,” i.e., a “(private) Facebook post that Trump already won AZ”).

           RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA’s switchboarding

   activities as reaching private postings on social media. The cited evidence does not support that

   characterization. Rather, the cited evidence reflects that the Arizona Secretary of State’s Office

   reported to CIS a private Facebook account that indicated that former President Trump had already

   won Arizona. Scully Ex. 10 at 45-46. CIS forwarded the Arizona Secretary of State’s email to

   CISA for CISA’s situational awareness, and CISA did not forward that email to any social media

   company. Id. Moreover, this PFOF does not support Plaintiffs’ contention that CISA attempted to

   dictate to, threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress certain election-related claims on their platforms, or that the companies regarded (or acted

   on) any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1081. Social-media platforms treated CISA as a privileged reporter of misinformation,
   frequently responding with great promptness to CISA’s reports of misinformation, immediately
   “escalating” the content for moderation, and reporting back the censorship action taken. For
   example, on November 10, 2020, at 7:23 pm, Scully reported offending Tweets, and Twitter
   responded within two minutes, “Thanks Brian. We will escalate.” Shortly after midnight the same
   night, at 12:11 a.m., Twitter followed up with a report on censoring the Tweets. Scully Ex. 10, at



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   59. On November 13, 2020, Scully reported an offending tweet at 11:20 pm, and Twitter responded
   at 11:21 pm, “Thanks Brian. We will escalate.” Scully Ex. 18, at 26; Scully Depo. 291:15-294:3.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes these two exchanges with

   one platform as establishing that CISA was regularly treated as a “privileged reporter of

   misinformation” by social media platforms, or that social media companies were engaged in

   “censorship” when they applied their terms of service—terms to which all users agree. The cited

   evidence does not support those characterizations. In the first example cited, Twitter made its

   decision about information CISA flagged from the Washington Secretary of State’s Office five

   hours after CISA had flagged the information, and the cited evidence reflects that Twitter

   independently applied its content moderation policies and reported that “[a]ll Tweets have been

   labeled, with the exception of two from @SeattleSuze. Those two Tweets were not found to violate

   our policies.” Scully Ex. 10, at 59. In the second example cited, CISA forwarded to Twitter a report

   received from Dominion Voting. Scully Ex. 18 at 26. Although Twitter promptly acknowledged

   receipt of CISA’s email, there is no indication in the document about the length of time it took

   Twitter to apply its terms of service in this circumstance. Id. As Mr. Scully testified during his

   deposition, the social media companies “were prompt in letting me know they had received any e-

   mail that I sent them[.]” Scully Dep. 293:22-294:3. Moreover, this PFOF does not support

   Plaintiffs’ contention that CISA attempted to dictate to, threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress certain election-related claims on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

          1082. CISA’s censorship partners also originated their own reports for censorship. CIS
   and the EIP sometimes reached out to state and local officials to invite them to debunk and report
   speech that CIS and EIP had observed on social media. For example, on December 1, 2020, the



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   Center for Internet Security emailed local government officials stating, “The EI-ISAC, and our
   partners at the Election Integrity Partnership (EIP), are tracking a social-media post that is gaining
   traction very quickly.” Scully Ex. 11, at 4. The CIS asked the local officials to debunk the post so
   that “we can work with the social media platforms to have the posts removed as misinformation.
   Please let us know as soon as possible.” Id. The local officials responded with information
   disputing the posts, and CIS promptly forwarded the dispute to CISA and EIP: “Brian [Scully] and
   EIP, misinformation tweet … a [local official] confirmed the misinformation.” Id. at 2. Scully
   then forwarded the report to Twitter, which responded within three hours, “We have labeled the
   tweet and are taking steps to limit trending on this.” Id. at 1; Scully Depo. 228:5-231:7.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CIS and EIP as

   “censorship partners” with CISA. The cited evidence does not support that characterization. When

   CIS forwarded information it had received from Gwinnett County, Georgia election officials to

   CISA, CISA forwarded the information to Twitter and, in accordance with CISA’s protocol, stated

   that neither CISA nor DHS was the originator of the information, that CISA had not originated or

   generated the information, and that CISA “affirms that it neither has nor seeks the ability to remove

   or edit what information is made available on social media platforms. CISA makes no

   recommendations about how the information it is sharing should be handled or used by social

   media companies. Additionally, CISA will not take any action, favorable or unfavorable, towards

   social media companies based on decision about how or whether to use this information.” Scully

   Ex. 11 at 1. The exhibit reflects that Twitter ultimately independently applied its terms of service—

   to which all users agree—to label the Tweet and limit its trending. Id. Moreover, neither this PFOF

   nor those concerning the EIP, infra, nor the record as a whole, contains evidence that CISA was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          E.      CISA’s Many Misinformation Meetings with Platforms.

          1083. In its interrogatory responses, CISA disclosed five sets of recurring meetings with
   social-media platforms that involve discussions of misinformation, disinformation, and/or
   censorship of speech on social media. Scully Ex. 12, at 38-40.




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA’s interrogatory

   responses as identifying meetings in which “censorship” of speech was discussed. CISA’s

   interrogatory responses do not support that characterization. As CISA’s interrogatory responses

   clearly state, CISA identified, “based on a reasonable inquiry under the circumstances of

   abbreviated, expedited discovery,” the “meetings taking place with Social-Media Platforms

   relating to Misinformation,” and further noted that they “include, but are not limited to” five sets

   of then-recurring meetings. Scully Ex. 12 at 38-40. Moreover, this PFOF contains no evidence that

   CISA used any meetings or communications with social media platforms to dictate, to threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with CISA

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c.

            1084. Scully provided the information in the interrogatory responses regarding CISA’s
   meetings with social-media platforms regarding misinformation and censorship. Scully Depo.
   232:24-233:3. In doing so, Scully failed to disclose a long series of bilateral meetings between
   CISA and social-media platforms. See, e.g., Scully Depo. 238:11-13 (“we had some Twitter-only
   calls, as well, that [Yoel Roth] participated in”); Scully Depo. 238:21-22 (“we had some briefings
   from [Twitter] on some of their public reports” about misinformation); Scully Depo. 239:8-12
   (agreeing that there were “briefings in those bilateral meetings with Twitter as relating to
   misinformation and disinformation on social media”); Scully Depo. 239:20-240:3 (admitting that
   CISA conducted “bilateral meetings with other social media platforms, like this, where
   misinformation was discussed”); Scully Depo. 241:4-22 (admitting to a series of bilateral meetings
   with social-media platforms beginning in 2018 and continuing through 2020); Scully Depo. 241:7-
   14 (testifying that “in 2018 … in our initial stages of trying to build those relationships, we would
   go meet with each platform one-on-one”); Scully Depo. 241:20-22 (admitting that, “prior to
   starting the switchboarding work, in 2020, we had conversations with each platform individually”).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA’s interrogatory

   responses as disclosing meetings with social-media platforms regarding “censorship.” CISA’s

   interrogatory responses do not support that characterization. See Defs.’ Resp. to PFOF ¶ 1083.

   Further disputed to the extent the PFOF mischaracterizes all of the cited contacts with social-media



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   companies, e.g. “some Twitter-only calls,” as “a long series of bilateral meetings.” The cited

   evidence does not support that characterization. Defendants further note that CISA’s interrogatory

   responses clearly stated that its response CISA was “based on a reasonable inquiry under the

   circumstances of abbreviated, expedited discovery,” and that the “meetings taking place with

   Social-Media Platforms relating to Misinformation . . . include, but are not limited to” the five sets

   of then-recurring meetings identified. Scully Ex. 12 at 38-40. Moreover, this PFOF contains no

   evidence that CISA used any meetings or communications with social media platforms to dictate,

   to threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1085. None of these many bilateral meetings with social-media platforms about
   misinformation was disclosed in CISA’s interrogatory responses. Scully Ex. 12, at 38-40; Scully
   Depo. 243:6-21.

          RESPONSE: Disputed. See Defs.’ Resp. to PFOF ¶ 1084.

           1086. In its interrogatory responses, CISA describes the “USG-Industry” meetings as
   follows: “A recurring meeting usually entitled USG – Industry meeting, which has generally had
   a monthly cadence, and is between government agencies and private industry. Government
   participants have included CISA’s Election Security and Resilience subdivision, DHS’s Office of
   Intelligence and Analysis, the FBI’s foreign influence task force, the Justice Department’s national
   security division, and the Office of the Director of National Intelligence. Industry participants
   generally include Google, Facebook, Twitter, Reddit, [and] Microsoft but, have also included
   Verizon Media, Pinterest, LinkedIn, and the Wikimedia Foundation as well. The topics discussed
   include, but are not limited to: information sharing around elections risk, briefs from industry,
   threat updates, and highlights and upcoming watch outs.” Scully Ex. 12, at 38-39.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that CISA used any

   meetings or communications with social media platforms to dictate, to threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with CISA as such. Any



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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c.

         1087. In fact, the CISA’s description of the “USG-Industry” meeting as having “a
   monthly cadence” is misleading. The meetings became biweekly and weekly close to elections,
   when they were most needed: “from summer of 2018 … to early 2020 they were quarterly.
   Sometime in 2020 they became monthly and then as we got closer to the election in 2020 they
   became weekly.” Scully Depo. 234:7-11.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA’s interrogatory

   response as “misleading.” The cited evidence does not support that characterization. CISA’s

   interrogatory response characterized “the recurring meeting usually entitled USG-Industry

   meeting” as “generally” having a monthly cadence. Scully Ex. 12 at 38. As Mr. Scully explained

   during his deposition, the weekly “meetings” “were mostly just touch points in case anything kind

   of popped up. We didn’t have an agenda for those, just an opportunity for folks to share, if they

   had any questions or anything like that.” Scully Dep. 234:2-19. Mr. Scully further testified that “a

   lot of” the weekly “meetings” involved discussions of cybersecurity, as well as “a little bit on any

   physical threats that were occurring.” Id. at 235:11-18. During these weekly “meetings” CISA

   would “generally provide updates on any election security-related issues,” other agencies would

   provide any strategic, unclassified intelligence reporting that they had and thought was relevant,

   and platforms likely provided general trends that they were seeing on their platforms. Id. at 234:20-

   235:10. CISA never flagged or reported potential disinformation for social media or technology

   companies during or in connection with these meetings. Hale Decl. ¶ 68 (Ex. 97). Moreover, this

   PFOF contains no evidence that CISA used any meetings or communications with social media

   platforms to dictate, to threaten or pressure, collude with, or encourage social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)




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   any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           F.      CISA Worked with FBI to Suppress the Hunter Biden Laptop Story.

           1088. Scully claims that he does not recall whether or not “hack and leak” or “hack and
   dump” operations were raised at the USG-Industry meetings, but he does not dispute that they may
   have been raised: “I don't recall a specific incident of that [i.e., discussions of “hack and dump” or
   “hack and leak” operations], but it's definitely possible. It's a tactic that had been used in the past.”
   Scully Depo. 236:6-12. Scully does not dispute that he may have raised it: “Me, personally, I don't
   recall myself raising that, but it's possible.” Scully Depo. 236:15-16. He does not dispute that
   Laura Dehmlow of FBI’s FITF may have raised the concern: “Again, I don't know. It was a tactic
   that had been used globally, previously. So it wouldn't surprise me if there was some discussion
   of that somewhere in these meetings.” Scully Depo. 236:20-23. He does not dispute that Elvis
   Chan and/or Matt Masterson may have raised the concern. Scully Depo. 237:10-22.

           RESPONSE: Undisputed, but further note that Mr. Scully testified that he had no

   recollection of hack-and-leak operations being raised by the government during the USG-Industry

   meetings. Scully Dep. 236:24-237:1. Moreover, this PFOF contains no evidence that CISA used

   any meetings or communications with social media platforms to dictate, to threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

           1089. Scully also does not dispute Yoel Roth’s account of the communications to social-
   media platforms from federal officials about hack-and-leak operations and the possibility of a
   hack-and-leak operation involving Hunter Biden in Paragraphs 10-11 of Yoel Roth’s Declaration
   dated December 17, 2020. Scully Ex. 13, at 2-3; Scully Depo. 245:23-248:11. Scully does not
   dispute that federal officials repeatedly raised the concern that they “expected hack and leak
   operations by state actors” in the USG-Industry meetings, Scully Depo. 245:23-247:17 (“it’s
   certainly possible, because it was a common tactic … I would definitely not be surprised if these
   were included in the conversations”); and Scully does not dispute Roth’s statement that Roth
   learned in these meetings that “there were rumors that a hack and leak operation would involve
   Hunter Biden,” Scully Depo. 247:18-248:7.




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          RESPONSE: Undisputed, but further note that Mr. Scully testified that he had no

   recollection of hack-and-leak operations being raised by the government during meetings with

   social media platforms. Scully Dep. 236:24-237:1. He also testified that he had no recollection of

   Hunter Biden being mentioned during these meetings. Id. at 247:24-248:2. Moreover, this PFOF

   contains no evidence that CISA used any meetings or communications with social media platforms

   to dictate, to threaten or pressure, collude with, or encourage social-media companies to remove

   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1090. Contemporaneous emails confirm that CISA officials were warning of “hack and
   leak” operations during the USG-Industry and other meetings with social-media platforms during
   2020. For example, on September 16, 2020, Facebook employees emailed Scully and other CISA
   officials a draft of a joint industry statement, which stated: “For several years, tech companies have
   worked together with … U.S. government agencies … to counter election threats across our
   platforms…. At today’s meeting, we specifically discussed: … (2) Ways to counter targeted
   attempts to undermine the election conversation before, during, and after the election. This
   includes preparing for so-called ‘hack and leak’ operations attempting to use platforms and
   traditional media for unauthorized information drops.” Scully Ex. 16, at 1 (emphasis added). This
   email confirms that “preparing for so-called ‘hack and leak’ operations” was discussed at the USG-
   Industry meeting on Sept. 16, 2020, which included CISA, FBI’s FITF, DOJ’s National Security
   Division, ODNI, and Google, Microsoft, Facebook, Twitter, Reddit, Verizon Media, Pinterest,
   LinkedIn, and Wikimedia Foundation. Scully Ex. 16, at 1; see also Scully Depo. 253:14-255:13.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited evidence as

   reflecting that CISA officials were warning of hack-and-leak operations during the USG-Industry

   meetings and other meetings. The cited evidence does not support that characterization. The cited

   email only indicates that “preparing for possible so-called ‘hack and leak’ operations” was

   discussed, but it does not indicate who raised this issue. Scully Ex. 16 at 1. Moreover, this PFOF

   contains no evidence that CISA used any meetings or communications with social media platforms

   to dictate, to threaten or pressure, collude with, or encourage social-media companies to remove




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   or suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1091. Likewise, the agenda for the July 15, 2020 USG-Industry meeting included, as a
   “Deep Dive Topic,” a 40-minute discussion of “Hack/Leak and USG Attribution Speed/Process.”
   Scully Ex. 17, at 16. According to Scully, “attribution” in this context means identifying the hacker
   and leaker, and “USG” means “United States Government.” Scully Depo. 274:4-275:10.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Scully’s testimony.

   Mr. Scully testified that he did not know what the term “attribution” was referring to in Scully Ex.

   17. Scully Dep. 275:11-20. Defendants further note that the cited exhibit reflects a “proposed

   agenda” and does not reflect whether a discussion about “Hack/Leak and USG Attribution

   Speed/Process” actually took place during this or any other meeting. Moreover, this PFOF contains

   no evidence that CISA used any meetings or communications with social media platforms to

   dictate, to threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1092. Like Elvis Chan, Scully was not aware of any “pending investigations, at that time,
   into possible hack and leak operations.” Scully Depo. 255:9-13.

          RESPONSE: Disputed to the extent the PFOF does not provide any support for Special

   Agent Chan’s state of awareness concerning possible hack and leak operations. Moreover, this

   PFOF contains no evidence that CISA used any meetings or communications with social media

   platforms to dictate, to threaten or pressure, collude with, or encourage social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)




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   any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1093. At the USG-Industry meeting, CISA asked platforms to report back on “Themes /
   narratives / approaches you anticipate for races you think will be targeted.” Scully Ex. 15, at 1.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited evidence as

   reflecting that CISA asked platforms to report back to it about anything. The cited exhibit is a

   “tentative    agenda”     where     one     of    the    identified     “Industry    Prompts”      is

   “[t]hemes/narratives/approaches you anticipate for races that you think will be targeted.” Scully

   Ex. 15 at 1. This exhibit does not reflect whether this topic actually was discussed during a meeting

   or whether this topic was discussed at the request of CISA. Moreover, this PFOF contains no

   evidence that CISA used any meetings or communications with social media platforms to dictate,

   to threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          G.      CISA’s Ongoing and Expanding Censorship Efforts.

          1094. In the spring and summer of 2022, Lauren Protentis requested the social-media
   platforms to prepare “one-pagers” for state and local election officials to address their content
   moderation rules. See Scully Ex. 17, at 1 (including “One-Pager Reminder” on the agenda for the
   April 2020 USG-Industry meeting); Scully Depo. 260:3-261:11 (“we had asked industry to provide
   a one-page summary of their content moderation rules that we could share with election officials”).

          RESPONSE: Undisputed, but note that this PFOF contains no evidence that CISA used

   any meetings or communications with social media platforms to dictate, to threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.




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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1095. The purpose of these “one-pagers” was to provide a summary of the platforms’
   content moderation rules to state and local government officials who would be reporting
   misinformation to the platforms. Scully Depo. 260:3-261:11.

          RESPONSE: Undisputed, but further note that the reason for the one-pagers was that

   CISA was receiving substantial numbers of questions from election officials about how different

   platforms made decisions about their terms of service. Scully Dep. 260:12-21. The one-pagers

   were “a way to help the platforms be more transparent with election officials.” Id. Moreover, this

   PFOF contains no evidence that CISA used any meetings or communications with social media

   platforms to dictate, to threaten or pressure, collude with, or encourage social-media companies to

   remove or suppress information on their platforms, or that the companies regarded (or acted on)

   any communications with CISA as such. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1096. Lauren Protentis of CISA repeatedly lobbied the social-media platforms to include
   in their “one-pagers” for state and local officials a description of how to report perceived
   misinformation to the platform for censorship. See, e.g., Scully Ex. 18, at 41 (Protentis requesting
   that Facebook update its one-pager to include its “steps for flagging or escalating MDM content”
   to “make this a comprehensive product on both the critical needs for officials—account security
   and MDM concerns”); id. at 44 (Protentis asking Microsoft to create a one-pager for election
   officials to “provide steps to … report MDM”); id. at 45 (Protentis requesting that Twitter update
   its one-pager for government officials to include information about “how to report
   disinformation”). Scully agrees that Protentis was “trying to make sure that election officials have
   the information they need if they want to report” disinformation. Scully Depo. 300:23-25.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Ms. Protentis as

   “repeatedly lobb[ying]” social-media platforms to include in their one-pagers a description of how

   to report misinformation to the platforms for “censorship.” The cited evidence does not support

   that characterization. The cited evidence reflects that Ms. Protentis asked Facebook, Microsoft and

   Twitter once each to develop a one-pager describing their content moderation policies. See Scully



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   Ex. 18 at 41, 44, 45. Defendants further note that the platforms’ content moderation polices—to

   which all users agree—are available on each platform’s website. Moreover, this PFOF contains no

   evidence that CISA used any meetings or communications with social media platforms to dictate,

   to threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1097. CISA also set up an “operation center” on and around Election Day that engaged
   in “switchboarding” reports of election-day misinformation to platforms: “CISA regularly set up
   an operation center on election day, around the election. And the platforms and some of the other
   agencies do the same.” Scully Depo. 262:16-19. This “operation center” received “switchboard
   reporting” in 2018 and 2020. Scully Depo. 263:15-18. It was also communicating with platforms
   and other federal agencies, including “connectivity with FBI, DOJ, NEI, I&A.” Scully Depo.
   264:18. When these reports came in, CISA would “perform the same misinformation routing
   function and pass that along to the platforms.” Scully Depo. 265:1-7.

           RESPONSE: Undisputed, but further note that most of the operation center’s activities on

   Election Day involved “cyber-related” matters. Scully Dep. 262:23-263:9. Defendants further note

   that CISA did not perform any switchboard-related activities during the 2022 midterm elections.

   Id. at 265:8-12. Moreover, this PFOF contains no evidence that CISA used any meetings or

   communications with social media platforms to dictate, to threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c.

           1098. The CISA-funded Center for Internet Security continued to report misinformation
   and disinformation to platforms for censorship in 2022: “CIS was up and running [in 2022].”
   Scully Depo. 266:2. Scully understands that “CIS continued to receive disinformation/
   misinformation reports from state and local election officials during the 2022 election cycle, and
   relay them directly to social media platforms.” Scully Depo. 266:5-13.



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          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA’s funding of the

   CIS as relating to efforts to “report misinformation and disinformation” or that the purpose of any

   such reporting was for “censorship” rather than to allow social-media companies to make

   independent decisions regarding the application of their own content-moderation policies. The

   cited evidence does not support that characterization. DHS has provided financial assistance to

   CIS through a series of cooperative agreement awards, managed by CISA, to provide certain,

   specified cybersecurity services to state, local, tribal and territorial governmental organizations

   through the MS- and EI-SACs. Hale Decl. ¶ 50 (Ex. 97). In the approved scope of work for the

   cooperative agreements, DHS has limited the use of federal funds and any required non-federal

   cost-share to cybersecurity services intended to detect, prevent, respond to, mitigate, and recover

   from cyber threats, vulnerabilities, and risks. Id. The DHS approved scope of work for the

   cooperative agreements has never funded CIS to perform disinformation-related work, including

   the reporting of potential election security-related disinformation to social media platforms. Id.

   ¶ 51. Moreover, this PFOF contains no evidence that CISA used any meetings or communications

   with social media platforms to dictate, to threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with CISA as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

           1099. Scully also believes that NASS and NASED routed disinformation concerns
   directly to social-media platforms in 2022. Scully Depo. 268:25-269:3.

          RESPONSE: Disputed. The cited testimony does not support this PFOF. Mr. Scully

   testified that he did not know for certain whether NASS and NASED routed disinformation

   concerns directly to social-media platforms in 2022. Scully Dep. 268:25-269:3. Defendants further




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   observe that Plaintiff Louisiana is a member of the NASS, and that both Plaintiffs Louisiana and

   Missouri are members of the NASED. Hale Decl. ¶ 33 (Ex. 97). Moreover, this PFOF contains no

   evidence that CISA used any meetings or communications with social media platforms to dictate,

   to threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1100. Scully agrees that foreign-originated social-media content typically becomes
   repeated from domestic sources: “We often see what happens overseas send up showing up
   domestically.” Scully Depo. 279:9-11.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes Mr. Scully’s testimony.

   Mr. Scully did not testify that foreign-originated social media content typically becomes repeated

   domestically. Rather, he testified that CISA often sees tactics used oversees appear in the United

   States. Scully Depo. Tr. 279:2-11.

           1101. CISA has also teamed up directly with the State Department’s Global Engagement
   Center (GEC) to seek removal of social-media content; for example, on one occasion, the GEC
   enlisted CISA’s aid to seek the removal of “a YouTube channel run by Americans falsely
   claiming” that a certain State Department special envoy was “Patient Zero” for COVID-19. Scully
   Ex. 18, at 2. Scully forwarded the report to Facebook, which reported within minutes that it had
   “flagged for our internal teams.” Scully Ex. 18, at 1.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA and the GEC as

   “team[ing] up” or “seek[ing] removal” of social-media content. The cited evidence does not

   support that characterization. Rather, the cited email reflects that more than three years ago, on

   March 25, 2020, GEC shared with CISA a “disinfo campaign on YouTube targeting a DS Officer,

   claiming she brought COVID-19 to [Wuhan, China] during an athletic competition.” Scully Ex.

   18 at 2. Mr. Scully forwarded the GEC’s email to Facebook and noted that “[r]esponding to this

   request is voluntary and CISA will not take any action, favorable or unfavorable, based on



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   discussions about whether or not to respond to this follow-up request for information.” Id. at 1.

   The cited evidence does not indicate what action, if any, Facebook may have taken in connection

   with this post. Moreover, this PFOF contains no evidence that CISA used any meetings or

   communications with social media platforms to dictate, to threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c.

           1102. CISA flagged obvious parody and joke accounts for censorship, including a
   Colorado parody account with 56 followers whose handle stated, “dm us your weed store location
   (hoes be mad, but this is a parody account),” and one with 27 followers whose handle stated,
   “Smoke weed erry day.” Scully Ex. 18, at 11-12. The government official who reported these
   stated that “these are concerning to us … because of recent FBI/CISA warnings about
   impersonation accounts spreading false information about the election.” Scully Ex. 18, at 11. In
   other words, the government official sought to censor these accounts before they posted any
   election-related speech, because (according to “FBI/CISA”), they might engage in misleading
   election-related speech. See id. Scully forwarded these reports to Twitter for censorship. Scully
   Ex. 18, at 10.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes CISA as flagging accounts

   for “censorship” rather than to allow social media companies to make independent decisions about

   the application of their own contend moderation policies, to which all users must agree. The cited

   evidence does not support Plaintiffs’ characterization. The Colorado Secretary of State’s Office

   notified CISA of three Twitter accounts that were “impersonating the Colorado state government.”

   Scully Ex. 18 at 10. CISA then shared this information with Twitter and noted that “it neither has

   nor seeks the ability to remove or edit what information is made available on social media

   platforms,” and that it “makes no recommendations about how the information it is sharing should

   be handled or used by social media companies.” Id. CISA further stated that it “will not take any

   action, favorable or unfavorable, toward social media companies based on decisions about how or



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   whether to use this information.” Id. Moreover, this PFOF contains no evidence that CISA used

   any meetings or communications with social media platforms to dictate, to threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

            1103. Platforms report to CISA when they update their content-moderation policies to
   make them more restrictive. On September 10, 2020, for example, Twitter reported to Masterson
   and Scully that it was “updating our Civic Integrity Policy” to “label or remove false or misleading
   information intended to undermine public confidence in an election or other civic process.” Scully
   Ex. 18, at 9. This includes censorship of “Disputed claims that could undermine faith in the process
   itself, e.g. unverified information about election rigging, ballot tampering, vote tallying, or
   certification of election results.” Scully Ex. 18, at 9. The EIP had successfully lobbied platforms
   to adopt such changes ahead of the 2020 election. See infra.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the evidence as reflecting

   “censorship” or EIP “lobb[ying]” platforms to adopt changes to their policies ahead of the 2020

   election cycle. Also disputed to the extent the PFOF implies that social-media companies regularly

   report policy updates to CISA. The evidence does not support those characterizations. The

   evidence reflects a single occasion on which just one company, Twitter, informed CISA of an

   update to its Civic Integrity Policy—a policy to which all users agree—and which Twitter had

   already publicly announced. Scully Ex. 18 at 9. Plaintiffs’ claim that the EIP “had successfully

   lobbied platforms to adopt such changes ahead of the 2020 election” lacks any record support.

          1104. CISA pushed for the censorship of content that CISA’s Director particularly
   disfavored, including supposed disinformation about CISA itself, and about the so-called
   “Hammer and Scorecard” narrative that attributed election interference to federal intelligence
   agencies. For example, Scully requested censorship of a “disinfo report about CISA and Director
   Krebs.” Scully Ex. 18, at 19. And on November 10, 2022, Scully reported to platforms that
   “Director Krebs is particularly concerned about the hammer and scorecard narrative that is making
   the rounds,” and asked for information about their tracking and “amplification” of the narrative.
   Scully Ex. 18, at 22, 24. Twitter and Facebook promptly reported back on their efforts to censor
   the narrative. Scully Ex. 18, at 21 (Facebook reporting that “our teams are labelling and



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   downranking the content as identified”); id. at 24 (Yoel Roth of Twitter explaining Twitter’s
   attempts to censor the narrative, and asking CISA “Let us know if there are especially high-profile
   examples of tweets sharing the conspiracy that haven’t been labeled” so Twitter can censor them).
   See also Scully Depo. 286:3-289:25.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the evidence as suggesting

   that CISA “pushed for censorship of content.” The record does not support that characterization.

   Rather, the cited evidence reflects that on November 5, 2020, Mr. Scully shared with Facebook a

   disinformation report about CISA and Director Krebs. Scully Ex. 18 at 19. Mr. Scully’s email

   notes that it “affirms that it neither has nor seeks the ability to remove or edit what information is

   made available on social media platforms. CISA makes no recommendations about how the

   information it is sharing should be handled or used by social media companies. Additionally, CISA

   will not take any action, favorable or unfavorable, towards social media companies based on

   decisions about how or whether to use this information.” Id. On November 10, 2020, Facebook

   informed CISA that “our teams have confirmed that we have third-party fact checker verification

   that the ‘Hammer and Scorecard’ narrative is false and our system is labeling and downranking

   the content as identified.” Id. at 21. On November 10, 2020, Twitter noted that it “broadly labeled

   the conspiracy theory several days ago pursuant to our policies.” Id. at 24. Twitter further asked

   CISA to identify any “especially high-profile examples of tweets sharing the conspiracy that

   haven’t been labeled,” because it had to turn off “the automated labeling” due to attempts by “a

   4chan-driven troll campaign” to “reverse engineer” Twitter’s labelling logic, resulting in the labels

   showing up on unrelated tweets. Id. Moreover, this PFOF contains no evidence that CISA used

   any meetings or communications with social media platforms to dictate, to threaten or pressure,

   collude with, or encourage social-media companies to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with CISA as such.




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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c.

           1105. CISA also purposely debunks online narratives, knowing that the social-media
   platforms will use its debunks as censorship. For example, Yoel Roth emailed CISA about the
   Hammer and Scorecard narrative stating: “We’ve tracking the Hammer/Scorecard issue closely,
   particularly since Director Krebs’ tweet on the subject (which was pretty unambiguous as far as
   debunks go).” Scully Ex. 18, at 24. Scully admits that CISA was aware that “social-media
   platforms were following the rumor page posted by CISA and using that as a debunking method
   for content on their platforms.” Scully Depo. 290:13-17 (“We had a sense they were doing that,
   yeah.”).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the platforms’ actions as

   “censorship.” The cited evidence does not support that characterization. Rather, the evidence

   reflects that Facebook decided to label the “Hammer and Scorecard” narrative as a “conspiracy”

   “pursuant to [Facebook’s] policies”—policies to which all users agree as part of Facebook’s terms

   of service. Scully Ex. 18 at 24. With respect to CISA’s rumors page, Mr. Scully rejected the claim

   that the page was designed to allow social media companies to debunk misinformation; rather, he

   explained that the “point of the page is just to provide accurate information about rumors that we

   were hearing.” Scully Dep. 290:12-23. Notably, like CISA, both Louisiana and Missouri also have

   websites that seek to provide factually accurate information about elections. See Ex. 114 (Missouri

   Secretary of State Election Security Website); Ex. 116 (Louisiana Secretary of State website

   posting accurate information about voting and elections). Moreover, this PFOF contains no

   evidence that CISA used any meetings or communications with social media platforms to dictate,

   to threaten or pressure, collude with, or encourage social-media companies to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with CISA as such. Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.




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           1106. CISA publicly states that it is expanding its efforts to fight disinformation heading
   into the 2024 election cycle. Scully Ex. 27, at 1. On August 12, 2022, Director Easterly was
   reported to be “beef[ing] up [CISA’s] efforts to fight falsehoods,” and “has taken several specific
   steps to fight the problem.” Id.

          RESPONSE: Undisputed that an August 12, 2022, article in Cyberscoop reported that

   CISA was “beef[ing] up its efforts to fight falsehoods that could undermine the democratic process.

   Scull Ex. 27 at 1. The steps identified in the article included hiring Kim Wyman, former Secretary

   of State of Washington, to “bolster its election work,” as well as another team member to run

   CISA’s information operations team. Id. at 2. The article also notes that CISA “is reaching out to

   secretaries of state to work more closely with local election officials to equip them with tools to

   beat back disinformation.” Id. The article purports to quote CISA Director Easterly as saying that

   “[w]hile it’s not CISA’s role to police social media . . . her team has ‘discussions with platforms,

   but they’re more to understand large trends, not specific tweets.’” Id. When shown this article

   during his deposition, Mr. Scully explained that he was unaware of any current efforts by CISA to

   expand its efforts to fight election disinformation going into the 2024 election cycle. Scully Dep.

   302:17-21. Indeed, CISA anticipated and publicly stated that the MDM Team would grow, the size

   of the team supporting this mission generally has remained constant, and the scope of the mission

   has not expanded. Hale Decl. ¶¶ 12-13 (Ex. 97). CISA’s current efforts to build resilience to

   disinformation include providing broad guidance on disinformation tactics, sharing accurate

   information, and amplifying the voices of state and local election offices on issues of election

   security through CISA’s social media platforms. Id. at ¶¶ 12-19.

           1107. In January 2022, Director Easterly asked Facebook for a “briefing from us on 2022
   election approach.” Scully Ex. 28, at 2. Easterly responded to an email by Facebook and directed
   her staff to set up the meeting. Id. Scully does not know what was discussed at the meeting. Scully
   Depo. 309:12-19.




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           RESPONSE: Undisputed, but further note that Mr. Scully did not know if “the meeting

   actually ever occurred.” Scully Dep. 309:12-16. Moreover, this PFOF contains no evidence that

   CISA used any meetings or communications with social media platforms to dictate, to threaten or

   pressure, collude with, or encourage social-media companies to remove or suppress information

   on their platforms, or that the companies regarded (or acted on) any communications with CISA

   as such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ PFOF § II.F., Arg. § II.B.4.c.

            1108. Director Easterly also exchanged text messages with Matt Masterson on February
   26, 2022, when he was recently employed by Microsoft. Scully Ex. 29, at 2-3. In those texts,
   referring to a previous unidentified group call, Easterly told Masterson that she is “Just trying to
   get us in a place where Fed can work with platforms to better understand the mis/dis trends so
   relevant agencies can try to prebunk/debunk as useful.” Scully Ex. 29, at 2. She stated that CISA
   is “looking to play a coord role so not every D/A [i.e., department and agency] is independently
   reaching out to platforms which could cause a lot of chaos.” Scully Ex. 29, at 2. Masterson
   responded, agreeing with Easterly, and stating, “Platforms have got to get comfortable with gov’t.
   It’s really interesting how hesitant they remain.” Scully Ex. 29, at 3. (Scully notes that “D/A” is
   “one of our common abbreviations for department and agency.” Scully Depo. 316:23-24.)

           RESPONSE: Undisputed. However, this PFOF contains no evidence that CISA used any

   meetings or communications with social media platforms to dictate, to threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with CISA as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c.

           1109. Scully agrees with Director Easterly that, when multiple federal agencies contact
   platforms independently, “it does create challenges and provides the platforms opportunities to
   play departments off each other.” Scully Depo. 317:6-9. For CISA to play a “coordinating” role
   among the agencies, therefore, allows federal officials to keep better influence and control over
   the platforms.

           RESPONSE: Disputed to the extent the second sentence of the PFOF is characterization

   rather than facts and lacks any evidentiary support or citation. As Mr. Scully explained during his



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   deposition, other than the USG-Industry synch meetings, CISA “didn’t attempt to play a

   substantial role in terms of coordinating” among federal agencies. Scully Dep. 317:10-19. Mr.

   Scully further explained that “it’s always up to the platforms what level of engagement they want

   to have with us.” Id. at Tr. 318:3-12.

           1110. According to a September 2022 leaked draft copy of DHS’s “Quadrennial
   Homeland Security Review, DHS’s capstone report outlining the department’s strategy and
   priorities in the coming years, the department plans to target ‘inaccurate information’ on a wide
   range of topics, including “the origins of the COVID-19 pandemic and the efficacy of COVID-19
   vaccines, racial justice, U.S. withdrawal from Afghanistan, and the nature of U.S. support to
   Ukraine.” Scully Ex. 30, at 4.

          RESPONSE: Disputed to the extent the PFOF relies upon an article from The Intercept

   that purports to describe a leaked copy of a draft DHS document. Plaintiffs have not identified any

   official, final document from DHS that purports to reflect an intention to “target ‘inaccurate

   information’ on a wide range of topics.” Nor do Plaintiffs identify any specific efforts to effectuate

   this alleged goal. In any event, the final version of the Quadrennial Homeland Security Review

   was released in April 2023, and nothing in that document supports Plaintiffs’ claim that DHS

   “plans to target ‘inaccurate information’” on any of these topics. See Ex. 186 (Dep’t of Homeland

   Sec., The Third Quadrennial Homeland Security Review (2023)). Moreover, this PFOF contains

   no evidence that DHS used any meetings or communications with social media platforms to

   dictate, to threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any

   communications with DHS as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole.

           1111. Scully agrees that DHS has discussions about targeting misinformation regarding
   the efficacy of COVID-19 vaccines, Scully Depo. 322:9-21 (“our building critical infrastructure
   help in public health is one of the sectors of critical infrastructure, so we engage with CDC and
   HHS to help them”); about the origins of the COVID-19 pandemic, Scully Depo. 323:16-17 (“We
   did some work on the … bio-lab narratives”); and regarding Ukraine, Scully Depo. 324:5-10 (“We



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   saw this with COVID. … We saw this around Ukraine. And so, again, just helping people
   understand … these disinformation narratives….”). In particular, CISA participated in a “Unified
   Coordination Group” regarding Russia’s invasion of Ukraine, which addressed misinformation:
   “there was a … Unified Coordination Group, when Russia invaded Ukraine, to coordinate DHS
   activities related to the crisis. As a part of that there was an MDM component, and a member of
   the MDM team was detailed to lead the MDM component of the Russian/Ukraine work.” Scully
   Depo. 325:5-12. Scully believes that this group communicated with social-media platforms as well
   (again, not disclosed in CISA’s interrogatory responses). Scully Depo. 327:1-18.

          RESPONSE: Disputed to the extent the PFOF is not supported by the cited evidence. Mr.

   Scully testified that he was not aware of discussions anywhere in DHS about addressing

   misinformation about the origins of the COVID-19 pandemic. Scully Dep. 322:5-8. Mr. Scully

   further testified that CISA—not DHS—engaged with CDC and HHS to understand trends in

   spreading health misinformation and put out a product sometime in mid-2020 for infrastructure

   stakeholders concerning COVID-related misinformation. Id. at 322:9-323:8. Mr. Scully described

   the work CISA did with CDC and HHS as involving “bio-lab narratives, so this is essentially

   foreign governments,” and helping to build resilience to misinformation by identifying false

   narratives. Id. at 323:9-324:10. This work involved providing support to the Healthcare and Public

   Health Sector through the production of two public guidance documents: CISA Insights” COVID

   Disinformation Activity and a COVID-19 Toolkit. Declaration of Geoff Hale, Lead for Election

   Security and Resilience, Nat’l Risk Mgmt. Ctr., CISA ¶ 17 (“Hale Decl.”) (Ex. 97). Mr. Scully

   further testified that CISA has not, to his knowledge, done any resilience work related to racial

   justice misinformation, and further stated that he was unaware of anyone at DHS engaged in such

   work. Id. at 324:11-19. He similarly testified that he was unaware of anyone at CISA or DHS

   having any involvement in building resilience to misinformation concerning the U.S. withdrawal

   from Afghanistan. Id. at 324:20-325:2. Mr. Scully stated that DHS had stood up a Unified

   Coordination Group (UCG) when Russian invaded Ukraine, and the purpose of the group was to

   coordinate DHS activities related to the crisis. Id. at 325:3-12. Part of the UCG’s work involved a



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   misinformation component, and a member of CISA’s MDM Team was detailed to lead that

   component of the work, which involved providing situational awareness reports based on publicly

   available third-party reporting and support to build resilience to disinformation related to the crisis.

   Id.; Hale Decl. ¶ 18 (Ex. 97). However, that work only last about two months, and the UCG was

   operational from January 2022 to April 2022. Id. Mr. Scully testified that he thought there may

   have been one call in February 2022 between the UCG and the critical infrastructure community,

   including social media companies, but he was not sure because he was not involved in that call.

   Scully Dep. 326:13-328:3. Moreover, this PFOF contains no evidence that DHS or CISA used any

   meetings or communications with social media platforms to dictate, to threaten or pressure, collude

   with, or encourage social-media companies to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with DHS or CISA as such. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c.

         1112. As of August 12, 2022, DHS’s Office of Inspector General continued to call for a
   more aggressive, not less aggressive, approach to combating disinformation. Scully Ex. 31, at 1
   (OIG calling for DHS to adopt a “Unified Strategy to Counter Disinformation Campaigns”).

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited evidence. The

   August 12, 2022 DHS Office of Inspector General (OIG) report did not call for “a more

   aggressive” approach to combatting disinformation. Rather, the OIG report called for coordination

   among DHS components to combat disinformation campaigns. Scully Ex. 31 at 1. Moreover, this

   PFOF contains no evidence that DHS used any meetings or communications with social media

   platforms to threaten or pressure social-media companies to remove or suppress information on

   their platforms, or that the companies regarded (or acted on) any communications with DHS as

   such. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.




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           1113. DHS’s OIG reports that CISA is expanding, not contracting, its efforts to fight
   disinformation. OIG reports that CISA’s “MDM team focuses on disinformation activities
   targeting elections and critical infrastructure. According to a CISA official, the MDM team
   counters all types of disinformation, to be responsive to current events.” Scully Ex. 31, at 9. “An
   official from the MDM team stated that, through this work, CISA is building national resilience to
   MDM, such as COVID-19 vaccine hesitancy and foreign influence activities.” Id. at 10. OIG
   further reports that, “[a]ccording to selected Intelligence Community officials, the Office of the
   Director of National Intelligence and the U.S. Department of Justice worked with CISA and I&A
   to counter disinformation related to the November 2020 elections. For example, according to an
   Office of the Director of National Intelligence official, prior to the November 2020 elections, CISA
   and I&A joined in weekly teleconferences to coordinate Intelligence Community activities to
   counter election-related disinformation. The Office of the Director of National Intelligence official
   stated the teleconferences continued to occur every 2 weeks after the 2020 elections and were still
   taking place as of the time of this audit.” Id. at 11. Further, OIG reports that “CISA and I&A also
   work with the U.S. Department of State’s (State Department) Global Engagement Center on
   countering disinformation.” Id. at 11.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the OIG report as noting

   that CISA is “expanding, not contracting, its efforts to fight disinformation.” The cited evidence

   does not support that characterization. The OIG report notes “the MDM team counters all types of

   disinformation, to be responsive to current events,” and provides two illustrative examples of that

   work. Scully Ex. 31 at 9. The first example was that “the MDM team developed the COVID-19

   Disinformation Toolkit to raise awareness about the pandemic.” Id. The second example was that

   in April 2022, CISA released the Social Media Bots Infographic Set which “was designed to help

   Americans understand how automated programs simulate human behavior on social media

   platforms.” Id. at 10. Neither of these examples involve communications with social media

   companies, much less requests that those companies take any particular actions on any particular

   content on their sites. Notably, although DHS concurred in OIG’s recommendation that DHS take

   a unified approach to addressing misinformation, DHS explained that its concurrence was “subject

   to the Department’s consideration of the ongoing review” the DHS Secretary asked the bipartisan

   “Homeland Security Advisory Council to conduct in May 2022 of the Department’s work to

   address disinformation that threatens homeland security,” with a focus on “how the Department



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   can most effectively and appropriately address disinformation that poses a threat to our country

   while protecting free speech, privacy, civil rights, and civil liberties[.]” Id. at 21. Accordingly,

   there is no record evidence that OIG’s recommendations have been adopted or implemented.

   Moreover, this PFOF contains no evidence that DHS used any meetings or communications with

   social media platforms to dictate, to threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with DHS as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole.

           1114. On November 21, 2021, Director Easterly reported that CISA is “beefing up its
   misinformation and disinformation team in the wake of a divisive presidential election that saw a
   proliferation of misleading information online.” Scully Ex. 23, at 1. “I am actually going to grow
   and strengthen my misinformation and disinformation team,” Easterly stated publicly. Id. She
   stated that she “had a meeting with ‘six of the nation’s experts’ in the misinformation and
   disinformation space.” Id. And she “stressed her concerns around this being a top threat for CISA
   … to confront.” Id. “One could argue that we’re in the business of protecting critical infrastructure,
   and the most critical infrastructure is our cognitive infrastructure,” Easterly said. Id. “We now live
   in a world where people talk about alternative facts, post-truth, which I think is really, really
   dangerous if people get to pick their own facts,” Easterly said. Id. at 2. Evidently, Easterly thinks
   that government officials should help Americans “pick their own facts” for them. Id.

          RESPONSE: Disputed to the extent the PFOF states “[e]vidently, Easterly thinks that

   government officials should help Americans ‘pick their own facts’ for them,” because this is

   characterization and argument rather than a factual statement supported by the cited evidence.

   Furthermore, to date CISA has neither increased the size of its MDM Team nor increased its efforts

   to build resiliency to misinformation. Hale Decl. ¶¶ 12-13 (Ex. 97). Moreover, this PFOF contains

   no evidence that CISA used any meetings or communications with social media platforms to

   dictate, to threaten or pressure, collude with, or encourage social-media companies to remove or

   suppress information on their platforms, or that the companies regarded (or acted on) any




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   communications with CISA as such. Any assertion to that effect is unsupported by and contrary to

   the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

            1115. According to Scully, CISA has an expansive mandate to address all kinds of
   misinformation that may affect “critical infrastructure” indirectly: “mis, mal-information threatens
   critical infrastructure in a number of ways, it could be operational impact, so in the case of the
   elections, disrupting election operations …. So a multitude of ways that disinformation could
   impact critical infrastructure, like I said … there's financial, there's reputational, there's just a
   multitude of ways that this disinformation could affect critical infrastructure.” Scully Depo.
   340:10-341:1. This could include, for example, “misinformation” that undermines confidence in
   any kind of national institution, including banks and financial services industry: “from mis, dis
   and mal-information, a reputational risk could come about if the integrity or the public confidence
   in a particular sector was critical to that sector's functioning. So I think the financial services would
   probably be a good example. So if there's a loss of confidence by the American public in financial
   services, financial systems of the United States, that could create national security concerns.”
   Scully Depo. 341:17-342:2. This is a breathtakingly broad—even limitless—interpretation of
   CISA’s mandate to protect “critical infrastructure,” which would allow CISA to target virtually
   any kind of core political speech as “mis, dis and mal-information” that “create national security
   concerns” by undermining “public confidence in a particular sector.” Id.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the evidence as supporting

   the proposition that CISA “has an expansive mandate to address all kinds of misinformation that

   may affect ‘critical infrastructure’ indirectly.” The cited evidence does not support that

   characterization. Rather, CISA’s authority is based upon, inter alia, 6 U.S.C. § 652, which charges

   CISA with leading the national effort to understand, manage, and reduce risk to the nation’s cyber

   and physical infrastructure. Mr. Scully explained during his deposition that when he was

   discussing the financial services sector, he was engaging in “a lengthy hypothetical” at Plaintiffs’

   counsel’s urging and told the questioning attorney that he did not “like getting into hypotheticals.”

   Scully Dep. 343:23-344:2. In addition, the PFOF’s statement that “[t]his is a breathtakingly

   broad—even limitless—interpretation of CISA’s mandate” allowing CISA “to target speech” is

   characterization and argument rather than a factual statement, and in any event, nothing in this

   PFOF or any other supports the suggestion that CISA “targets” speech for censorship. Moreover,

   this PFOF contains no evidence that CISA used any meetings or communications with social



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   media platforms to dictate, to threaten or pressure, collude with, or encourage social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with CISA as such. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1116. In fact, CISA is “working with Treasury to develop a product to help the financial
   services sector understand MDM risks to the sector.” Scully Depo. 355:22-24.

          RESPONSE: Undisputed, but further note that CISA has been working with the U.S.

   Department of Treasury on a guide that would be public to help the Financial Services Sector

   understand what disinformation is, how disinformation could impact the sector, and how to

   mitigate the risks to the sector. Hale Decl. ¶ 19 (Ex. 97). The guide is still in development, although

   work is not currently being done to complete it because other, urgent tasks have taken priority. Id.

   Furthermore, this PFOF contains no evidence that CISA used any meetings or communications

   with social media platforms to dictate, to threaten or pressure, collude with, or encourage social-

   media companies to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with CISA as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

          1117. Scully has publicly stated that CISA is “trying to reduce the amount that Americans
   engage with disinformation,” where “engaging with disinformation” means “amplifying it, re-
   tweeting it, resending it, things like that.” Scully Depo. 346:7-24; Scully Ex. 49.

          RESPONSE: Undisputed, but further note that Mr. Scully explained that CISA seeks to

   reduce engagement with disinformation through “public awareness and public engagement and

   things like that[.]” Scully Dep. 347:22-348:1. Mr. Scully further explained that although some

   people believe “the government should be the ones taking things down, or the government should

   be asking the platforms to do certain things . . . that’s not necessarily the right spot for government

   to be.” Id. at 348:11-25. Moreover, this PFOF contains no evidence that CISA used any meetings



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   or communications with social media platforms to dictate, to threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c.

            1118. On June 22, 2022, CISA’s Cybersecurity Advisory Committee issued a “Draft
   Report to the Director” calling for an extremely broad view of CISA’s mandate. The report states
   that “[t]he spread of false and misleading information poses a significant risk to critical functions
   like elections, public health, financial services, and emergency response.” Scully Ex. 46, at 1.
   “Pervasive MDM diminishes trust in information, in government, and in democratic processes
   more generally.” Id. The report states that “CISA should consider MD across the information
   ecosystem,” including “social media platforms of all sizes, mainstream media, cable news, hyper
   partisan media, talk radio, and other online resources.” Id. at 2. Scully agrees with this report that
   CISA is trying to make its “resilience activity … as broad as possible so it’s applicable anywhere
   that someone may come across MDM.” Scully Depo. 358:7-11.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited document as

   “calling for an extremely broad view of CISA’s mandate.” The cited evidence does not support

   that characterization. Moreover, CISA’s Cybersecurity Advisory Committee is “an independent

   advisory body,” that “provides strategic and actionable recommendations to the CISA Director on

   a range of cybersecurity issues, topics and challenges.” See Ex. 119 at 1 (CISA Cybersecurity

   Advisor Committee). Plaintiffs have provided no evidence that the Committee’s recommendations

   were actually accepted by CISA. In addition, the PFOF mischaracterizes Mr. Scully’s testimony.

   Mr Scully testified that CISA’s resilience work is intended to be useful regardless of medium,

   whether it be on cable news or the internet. Scully Dep. 358:5-11. It is in this context that Mr.

   Scully explained that CISA’s work is intended to be “as broad as possible,” and that CISA is

   “agnostic of where” the misinformation is coming from; “we just want people to be able to

   understand where—what it is, how it works, and things they can do to mitigate those risks.” Id.

   358:5-23. Moreover, this PFOF contains no evidence that CISA used any meetings or



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   communications with social media platforms to dictate, to threaten or pressure, collude with, or

   encourage social-media companies to remove or suppress information on their platforms, or that

   the companies regarded (or acted on) any communications with CISA as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c.

          1119. In September 2022, the Center for Internet Security is still working on a “portal”
   for government officials to report election-related misinformation to social-media platforms.
   Scully Ex. 19, 21. “[W]ork on the online ‘portal’ for election officials to flag misinformation to
   social-media platforms … continues today.” Scully Ex. 21, at 4. Scully states that “my
   understanding is that [CIS] did do something along those lines, I just don’t know the extent of it.”
   Scully Depo. 365: 3-6.

           RESPONSE: Undisputed, but note that this PFOF relates to the work of a

   nongovernmental third party and CIS’s proposed portal was intended for use by “state-level

   election offices and national associations (NASS, NASED),” rather than the federal government.

   Scully Ex. 19. Louisiana is a member of NASS and both Louisiana and Missouri are members of

   the NASED. Hale Decl. ¶ 33 (Ex. 97). In addition, Mr. Scully testified that he did not know whether

   or when the CIS portal would be completed. Scully Depo. Tr. 364:14-365:9.

           1120. As of January 2023 and today, CISA’s website continues to proclaim, “[t]he MDM
   team serves as a switchboard for routing disinformation concerns to appropriate social media
   platforms and law enforcement. This activity began in 2018, supporting state and local election
   officials to mitigate disinformation about the time, place, and manner of voting. For the 2020
   election, CISA expanded the breadth of reporting to include other state and local officials and more
   social media platforms. This activity leverages the rapport the MDM team has with the social
   media platforms to enable shared situational awareness.” Scully Ex. 24, at 3; see also
   www.cisa.gov/mdm (visited Feb. 10, 2023). CISA thus proclaims that it is “expand[ing] the
   breadth of reporting,” not retreating from it. Id.

           RESPONSE: Disputed. The webpage to which this PFOF cites has been removed. As Mr.

   Scully explained during his deposition, the document on CISA’s website suggesting that

   switchboarding work was ongoing was inaccurate and would need to reflect that the work is no

   longer occurring. Scully Dep. 366:21-367:4. In addition, CISA did not engage in switchboarding



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   for the 2022 election cycle and has no intention to engage in switchboarding for the next election.

   Hale Decl. ¶ 78 (Ex. 97).

          1121. Regarding misinformation reports, CISA “would generally share whatever we
   received from the election officials with the FBI, in case there was an ongoing investigation related
   to whatever it was that we forwarded to them.” Scully Depo. 366:17-20.

          RESPONSE: Undisputed.

         1122. CISA engaged in switchboarding and colluding with social-media platforms to
   promote censorship in other ways as well.

          RESPONSE: Disputed because the PFOF is argumentative and lacks any evidentiary

   support. CISA did not engage in switchboarding or “collude” with social-media companies to

   “promote censorship” in any way. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   VIII. The State Department’s Global Engagement Center’s Censorship Efforts.

         1123. The State Department’s Global Engagement Center (“GEC”) also conducts
   numerous meetings with social-media platforms about disinformation.

          RESPONSE: Disputed because this PFOF fails to cite to any evidentiary support and is

   contrary to the record. See Pls.’ PFOF ¶ 1124 and Defendants’ response thereto. Moreover, this

   PFOF contains no evidence that the GEC sought to threaten or pressure, collude with, or encourage

   social-media companies to remove or suppress information on their platforms, or that the

   companies regarded (or acted on) any communications with the GEC as such. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

           1124. The GEC’s “front office and senior leadership engage with social media
   companies.” Kimmage Dep. 29:12-13. These senior leadership meet with social-media platforms
   “[e]very few months, can be quarterly, but sometimes less than quarterly.” Id. at 32:9-10.
   According to Daniel Kimmage, Principal Deputy Coordinator of the GEC, these meetings focus
   on the “tools and techniques” of spreading disinformation on social media, and it “would be rare”
   for them to discuss specific “content that’s posted on social media that might be of concern to the
   GEC.” Id. at 30:9-31:3.




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          RESPONSE: Undisputed, except to note that the referenced “tools and techniques”

   focused on “our adversaries. So malign actors like . . . Russia and China, how they are using

   propaganda and disinformation.” Kimmage Dep. 30:9-14. In addition, this PFOF contains no

   evidence that the GEC attempted to use contacts with social-media companies to threaten or

   pressure, collude with, or encourage them to remove or suppress information on their platforms,

   or that the companies regarded (or acted on) any communications with GEC as such. Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

          1125. In addition, the GEC’s “Technology Engagement Team does engage with social
   media companies” as well. Id. at 29:11-12. The Technology Engagement Team meets with social
   media companies “[m]ore frequently” than the senior leadership, which meets with them “every
   few months.” Id. at 37:9-15.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the GEC

   attempted to use contacts with social-media companies to threaten or pressure, collude with, or

   encourage them to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

          1126. Kimmage recalls at least two meetings with Twitter. Id. at 129:22-25. At such
   meetings, the GEC would bring “between five and ten” people, including “the acting coordinator,
   me, in that capacity, then one or more of the deputy coordinators, team chiefs from the Global
   Engagement Center, and working-level staff with relevant subject matter expertise.” Id. 130:24-
   131:13. These GEC staff meet with the platforms’ content-moderation teams, i.e., the people
   responsible for censorship on the platforms. Id. at 133:1-20, 135:1-11.

          RESPONSE: Undisputed, except to the extent this PFOF mischaracterizes social media

   companies’ content-moderation teams as being responsible for “censorship” on their platforms

   rather than making independent decisions to apply their terms of service, to which all users agree.

   In addition, this PFOF contains no evidence that the GEC attempted to use contacts with social-

   media companies to threaten or pressure, collude with, or encourage them to remove or suppress




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   information on their platforms, or that the companies regarded (or acted on) any communications

   with the GEC as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.G.

          1127. In such a meeting, “the GEC would provide an overview of what it was seeing in
   terms of foreign propaganda and disinformation. And Twitter would, to the extent that they felt
   comfortable sharing information, would discuss similar topics.” 136:8-13.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that the GEC

   attempted use contacts with social-media companies to threaten or pressure, collude with, or

   encourage them to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

           1128. In addition to meeting with Twitter, the GEC’s senior leadership had similar
   meetings with Facebook and Google as well during the same time frames. Id. at 139:22-140:6.
   These meetings were also with Facebook and Google’s content-moderation or trust and safety
   teams, i.e., the people responsible for censoring content on their platforms. Id. at 141:17-143:3.

          RESPONSE: Undisputed, except to the extent this PFOF mischaracterizes social media

   companies’ content-moderation teams as being responsible for “censorship” on their platforms

   rather than independent decisions to apply terms of service, to which all users agree. In addition,

   this PFOF contains no evidence that the GEC attempted to use contacts with social-media

   companies to threaten or pressure, collude with, or encourage them to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the GEC as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.G.

         1129. The GEC brought similar numbers of people to the meetings with Facebook and
   Google. Id. at 143:16-17 (“I believe the lineup would have been similar.”).




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that the GEC

   attempted to use contacts with social-media companies to threaten or pressure, collude with, or

   encourage them to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

            1130. In addition to the senior-leadership and TET meetings, the GEC also maintained a
   Senior Advisor as a permanent liaison in Silicon Valley, Samaruddin K. Stewart, for the purpose
   of meeting with social-media platforms about disinformation. Id. at 159:24-160:13; Kimmage Ex.
   9, at 2. Stewart set up a series of meetings with LinkedIn to discuss “countering disinformation”
   and to “explore shared interests and alignment of mutual goals regarding the challenge.” Kimmage
   Ex. 9, at 2. Like the senior-leadership meetings, Stewart scheduled these meetings with the head
   of the trust and safety team, i.e., the person responsible for censorship on the platform. See id. at
   7 (meeting with the “Head of Threat Prevention, Trust & Safety” at LinkedIn). Kimmage confirms
   that Stewart set up similar meetings with other social-media platforms. Kimmage Dep. 160:12-13.

          RESPONSE: Undisputed, except to note that (1) Mr. Stuart met with social media

   companies to discuss countering disinformation by foreign state and non-state actors, such as

   propaganda from a foreign terrorist organization, Kimmage Dep. 163:16-23; (2) similarly, Mr.

   Stuart requested to meet with representatives of LinkedIn because he was “tasked with building

   relationships with technology companies, academia, researchers, media, and interagency in the

   area with interest in countering disinformation and foreign state and non-state propaganda,”

   Kimmage Ex. 9 at 2, and (3) this PFOF mischaracterizes the head of LinkedIn’s trust and safety

   as being responsible for “censorship” on its platform rather than independent decisions to apply

   its terms of service, to which all users agree. In addition, this PFOF contains no evidence that the

   GEC attempted to use contacts with social-media companies to threaten or pressure, collude with,

   or encourage them to remove or suppress information on their platforms, or that the companies

   regarded (or acted on) any communications with the GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.




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           1131. On March 25, 2021, the GEC set an email to Rob Schaul of CISA flagging “a
   disinfo campaign on YouTube targeting a [diplomatic security] officer” on a “Youtube channel
   run by Americans.” Kimmage Ex. 11, at 2. Brian Scully of CISA forwarded the disinformation
   report to Twitter, Facebook, and YouTube. Id. at 1, 3, 7. Facebook responded, “Thank you so
   much for this! Have flagged for our internal teams.” Id. at 1.

          RESPONSE: Undisputed, with the clarification that when Mr. Scully forwarded the

   information received from the GEC to Twitter, Facebook, and YouTube he expressly noted that

   CISA “is not the originator of this information,” and “[r]esponding to this request is voluntary and

   CISA will not take any action, favorable or unfavorable, based on decisions about whether or not

   to respond to this follow-up request for information.” Kimmage Ex. 11 at 3, 5, 7. This PFOF

   contains no evidence that the GEC attempted use direct or indirect contacts with social-media

   companies to threaten or pressure, collude with, or encourage them to remove or suppress

   information on their platforms, or that the companies regarded (or acted on) any communications

   with the GEC as such. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.G.

           1132. The GEC also coordinated with the Election Integrity Partnership. George Beebe
   of the GEC was in contact with the EIP. Kimmage Dep. 202:10-24. Kimmage admits that the GEC
   had “a general engagement with the EIP. … the GEC was engaging with the partnership.” Id. at
   214:11-19. In addition to Mr. Beebe, Adele Ruppe, who “liaised on election-related issues,” may
   have engaged with the EIP. Id. 214:23-215:5.

          RESPONSE: Disputed to the extent that this PFOF mischaracterizes the cited testimony

   as evidence that the GEC “coordinated” with the Election Integrity Partnership for any purpose.

   Rather, the evidence shows that during the 2020 election cycle, the GEC discovered certain posts

   and narratives on social media and digital media that originated from, were amplified by, or likely

   to be amplified by foreign malign influence actors—like Russia, the People’s Republic of China,

   Iran, and their proxies—that sought to spread propaganda or disinformation about the 2020

   election. Declaration of Leah Bray, Deputy Coordinator, Glob. Engagement Ctr., U.S. Dep’t of




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   State ¶ 5 (Bray Decl.) (Ex. 142). The GEC flagged these posts and narratives for the EIP on

   approximately 21 occasions. Id. The EIP then made an independent determination as to whether

   to send this information to social media companies, and the social media companies in turn would

   make a separate independent decision about what actions, if any, to take based on their own

   policies and under their respective terms of service with account holders and users on their sites.

   Id. Moreover, this PFOF contains no evidence that the GEC attempted to use contacts with the EIP

   for the purpose of threatening or pressuring, colluding with, or encouraging social-media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.

           1133. Kimmage states that the GEC’s work against disinformation “equips … technology
   companies to better understand” disinformation “so that they can take whatever actions they would
   take to stop the spread.” Id. 280:24-281:3.

          RESPONSE: Disputed to the extent this PFOF mischaracterizes the cited testimony. What

   Mr. Kimmage stated was: “The Global Engagement Center has an important function, it’s laid out

   in its congressional legislation to identify and—and track what foreign propaganda and

   disinformation actors are doing, and releasing, for example, a public report on what Russian

   propaganda is promoting that doesn’t, in and of itself, stop it, but it equips people, it equips, you

   know, potentially technology companies to better understand it so that they can take whatever

   actions they would take to—to—to stop the spread.” Kimmage Dep. 280:9-281:3. This PFOF

   contains no evidence that the GEC attempted to use contacts with social-media companies to

   threaten or pressure, collude with, or encourage them to remove or suppress information on their

   platforms, or that the companies regarded (or acted on) any communications with the GEC as such.




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   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.G.

           1134. On October 17, 2022, at an event at Stanford University, Secretary of State Blinken
   was asked, “Stanford is one of the leading institutions to combat misinformation research and
   pointing out propaganda narratives and how they spread. How do you envision the cooperation
   between the State Department and institutions like Stanford in combatting the spread of
   propaganda?” Kimmage Ex. 16, at 5. Secretary Blinken responded, mentioning the GEC and
   noting that State is engaging in “collaborations” and “build[ing] out … partnerships” with
   Stanford: “Stanford is doing remarkable work on that, and it's one of the things that we want to
   make sure that we're benefitting from, because this is a day-in, day-out battle for us, combating
   misinformation and disinformation around the world. We have at the State Department itself a big
   focus on this. We have something called the Global Engagement Center that's working on this
   every single day. But that work is both inspired by work that's being done in academia, including
   here at Stanford, as well as where appropriate collaborations. …So we're trying to build out these
   kinds of partnerships to make sure that we're looking at every place that is actually developing
   answers, including Stanford, and then integrating that into what we do.” Id.

          RESPONSE: Disputed in part as follows. The question posed to Secretary of State

   Blinken, in its entirety, was as follows: “Mr. Secretary, Stanford is one of the leading institutions

   to combat misinformation research and pointing out propaganda narratives and how they spread.

   How do you envision the cooperation between the State Department and institutions like Stanford

   in combating the spread of propaganda, and how does this fit with the recently released National

   Security Strategy?” Kimmage Ex. 16 at 5 (emphasis added). In addition, this PFOF contains no

   evidence that the GEC attempted to threaten or pressure, collude with, or encourage social media

   companies to remove or suppress information on their platforms, or that the companies regarded

   (or acted on) any communications with the GEC as such. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.G.


   IX.    The Election Integrity Partnership and Virality Project – Federal Collaborators.

          1135. Federal officials also work through nonprofit organizations to achieve their
   censorship goals. Most notably, federal officials at CISA and the GEC, and state officials through
   the CISA-funded EI-ISAC, work in close collaboration with the Stanford Internet Observatory and
   other nonprofit organizations to achieve censorship and attempt to evade the First Amendment.



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   Moreover, the Surgeon General’s Office and other federal officials collaborate closely with the
   Stanford Internet Observatory and the same entities under the aegis of the “Virality Project.”

          RESPONSE: Disputed. Plaintiffs have presented no evidence that Defendants now have

   or have ever harbored “censorship goals” as alleged in this matter. Any such assertion is

   unsupported by and contrary to the record as a whole. Further disputed Plaintiffs’ contention that

   CISA funded the EI-ISAC for any work concerning election security-related disinformation, as

   this is contradicted by the record. CISA did not fund the MS- or EI-ISACs for any of the work

   they provided in relation to the reporting of potential election security-related disinformation to

   social media or technology companies during the 2020 or 2022 election cycles. Hale Decl. ¶¶ 78-

   79 (Ex. 97). Also unsupported are the allegations in this PFOF that federal officials “work in close

   collaboration with” or “collaborate closely” with the Stanford Internet Observatory, the Virality

   Project, or any other organizations to “achieve censorship and evade the First Amendment,” for

   which the PFOF cites no evidence.

          A.      The Election Integrity Project Is a Formidable Censorship Cartel.

           1136. According to its website, “[t]he Election Integrity Partnership (EIP) was formed in
   July 2020 as a coalition of research entities focused on supporting real-time information exchange
   between the research community, election officials, government agencies, civil society
   organizations, and social media platforms.” The 2020 Election Integrity Partnership, Election
   Integrity Partnership (last visited Feb. 22, 2023) (emphasis added), https://www.
   eipartnership.net/2020. The EIP’s “objective was to detect and mitigate the impact of attempts to
   prevent or deter people from voting or to delegitimize election results.” Id. (emphasis added). As
   discussed further herein, “mitigate[ing] the impact” means pushing social-media platforms to
   censor supposed “misinformation.”

          RESPONSE: Disputed to the extent that the PFOF mischaracterizes “mitigat[ing] the

   impact” of attempts to prevent or deter people from voting or to delegitimize election results to

   mean “pushing social-media platforms to censor supposed ‘misinformation.’” That

   characterization is not supported by any cited evidence. The EIP provided public factual findings

   to government agencies and social media platforms, but had no control over content moderation,



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   censorship, or labeling posts. See Ex. 74 at 2 (Background on the SIO’s Projects on Social Media,

   Stanford Internet Observatory (Mar. 17, 2023)) (“SIO Statement”); Ex. 125 at 3 (A Statement from

   the Election Integrity Partnership, Election Integrity Partnership (Oct. 5, 2022). Content

   moderation decisions were independently made by social media platforms, and the EIP did not

   make recommendations to the platforms about what actions they should take. Ex. 74 at 2.

           1137. “In March 2021 [the EIP] published [its] final report. This page displays an archive
   of the work carried out by the EIP and its partners during the 2020 U.S. election.” Id. The EIP
   report is publicly available, it provides a detailed account of the EIP’s activities in the 2020
   election, and it is Exhibit 1 to the deposition of Brian Scully. Scully Ex. 1 (containing Stanford
   Internet Observatory et al., Election Integrity P’Ship, The Long Fuse: Misinformation and the 2020
   Election (v1.3.0 2021), https://www.eipartnership.net/report [https://purl.stanford.edu/tr171
   zs0069]).

            RESPONSE: Undisputed.

           1138. The EIP was created “in consultation with CISA [the Cybersecurity and
   Infrastructure Security Agency at the Department of Homeland Security] and other stakeholders.”
   Id. at 20 (2).6 After “consultation with CISA,” the EIP “assembled” a “coalition … with like-
   minded partner institutions.” Id.

            RESPONSE: Disputed because the PFOF mischaracterizes the cited evidence. The cited

   report states that “[t]he initial idea for the [EIP] came from four students that the Stanford Internet

   Observatory (SIO) funded to complete volunteer internships at [CISA] at [DHS.]” Scully Ex. 1, at

   20 (2). The report further states that the Stanford University students “approached SIO leadership

   in the early summer, and in consultation with CISA and other stakeholders, a coalition was

   assembled with like-minded partners.” Scully Ex. 1 at 20 (2). As Mr. Scully explained during his

   deposition, the only “consultation” CISA had concerning the EIP was (1) a discussion with the

   Stanford students where he confirmed that a “gap” existed in local and state officials’ resources to

   identify misinformation targeting their jurisdictions; and (2) a subsequent discussion with Alex



      6
          Citations of this exhibit are formatted “Scully Ex. 1, at [page of exhibit] ([page of report]).”


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   Stamos, who worked for the SIO and was one of the founders of EIP, where Mr. Scully stated his

   agreement with the interns that there was a gap in resources. Scully Dep. 84:10-22; 87:16-21; 98-

   2-8. CISA did not found, fund, or have any role in the management or operations of the EIP. Hale

   Decl. ¶¶ 52 (Ex. 97); Ex. 122 at 7 (Addressing false claims and misperceptions of the UW Center

   for an Informed Public’s research, Univ. of Wash. (Mar. 16, 2023)). Moreover, this PFOF does

   not contain evidence that CISA collaborated with or was “pervasive[ly] entwine[d]” with the EIP,

   PI Supp. at 41. Any assertion to that effect is unsupported by and contrary to the record as a whole.

   See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1139. CISA interns originated the EIP: “The initial idea for the Partnership came from
   four students that the Stanford Internet Observatory (SIO) funded to complete volunteer
   internships at the Cybersecurity and Infrastructure Security Agency (CISA) at the Department of
   Homeland Security.” Id.

          RESPONSE: Disputed to the extent the evidence does not support the implication that the

   students originated the idea for the EIP in their role as CISA interns rather than as Stanford

   students. Moreover, this PFOF does not contain evidence that CISA collaborated with or was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is unsupported

   by and contrary to the record as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1140. The EIP agrees with Scully that the EIP was formed to fill in a perceived “gap” in
   the ability of the government to “monitor and correct” misinformation: “Responsibility for election
   information security is divided across government offices: CISA has authority to coordinate on
   cybersecurity issues related to the election, the FBI to investigate cyber incidents and enforce
   election laws, and intelligence agencies to monitor for foreign interference. Yet, no government
   agency in the United States has the explicit mandate to monitor and correct election mis- and
   disinformation.” Id.

          RESPONSE: Disputed. The gap identified by Mr. Scully involved local and state officials’

   resources to identify misinformation targeting their jurisdictions. Scully Depo. Tr. 84:10-22. When

   asked about this portion of the EIP report during his deposition, Mr. Scully stated: “To be honest,

   I don’t know what they’re referencing, . . . so I don’t want to speculate on what they’re trying to



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   say there.” Scully Depo. Tr. 91:13-24. And when asked whether Mr. Scully believed “there’s a

   similar gap with respect to the ability of federal government agencies to respond to mis and

   disinformation on social media,” he responded: “I think the federal government certainly would

   have the capability, if it chose to use it, and had the authority to do it.” Scully Dep. 93:18-94:1.

   And when Mr. Scully was further asked whether “there was a gap in the federal government’s

   ability to, you know, take any kind of action to correct mis and disinformation on social media,”

   he responded “Yeah, I don’t know that there’s a gap in the federal government’s ability to do it.”

   Id. at 94:10-18. In any event, this PFOF does not contain evidence that CISA or any Defendant

   collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to

   that effect is unsupported by and contrary to the record as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

           1141. The EIP acknowledges that the federal government directly targeting
   misinformation posted Americans would “likely” violate the First Amendment and exceed
   agencies’ lawful authority: “This is especially true for election disinformation that originates from
   within the United States, which would likely be excluded from law enforcement action under the
   First Amendment and not appropriate for study by intelligence agencies restricted from operating
   inside the United States.” Id. As noted below, the EIP’s founders publicly admit that virtually all
   the misinformation targeted by the EIP was domestic in origin, not foreign, and thus subject to the
   First Amendment.

          RESPONSE: Disputed. The EIP report did not “acknowledge” that “the federal

   government directly targeting misinformation posted [by] Americans would ‘likely’ violate the

   First Amendment and exceed agencies’ lawful authority.” Rather, the EIP report stated that “no

   government agency in the United States has the explicit mandate to monitor and correct election

   mis- and dis-information. This is especially true for election disinformation that originates from

   within the United States, which would likely be excluded from law enforcement under the First

   Amendment and not appropriate for study by intelligence agencies restricted from operating inside

   the United States.” In addition, to the extent the EIP report is offering a legal opinion about CISA’s



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   or any other agency’s statutory authorities, Defendants respond to those legal arguments in their

   brief in opposition to Plaintiffs’ preliminary injunction motion. Finally, the last sentence of

   Plaintiffs’ PFOF is legal argument and characterization rather than a statement of fact and is

   unsupported by any cited evidence.

           1142. The EIP specifically notes CISA and the FBI in discussing the need to fill this “gap”
   in their ability to police “election misinformation originating from domestic sources”: “none of
   these federal agencies has a focus on, or authority regarding, election misinformation originating
   from domestic sources within the United States. This limited federal role reveals a critical gap for
   non-governmental entities to fill. Increasingly pervasive mis- and disinformation, both foreign and
   domestic, creates an urgent need for collaboration across government, civil society, media, and
   social media platforms.” Id. at 9 (v).

          RESPONSE: Undisputed to the extent this is the conclusion of the EIP. To the extent the

   EIP report is offering a legal opinion about CISA’s or the FBI’s statutory authorities, Defendants

   respond to those legal arguments in their brief in opposition to Plaintiffs’ preliminary injunction

   motion. In addition, this PFOF does not contain evidence that CISA or any Defendant collaborated

   with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect

   is unsupported by and contrary to the record as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1143. “As a result” of the First Amendment and lack of legal authority, according to the
   EIP, “during the 2020 election, local and state election officials, who had a strong partner on
   election-system and overall cybersecurity efforts in CISA, were without a clearinghouse for
   assessing mis- and disinformation targeting their voting operations.” Id. at 20 (2). The EIP was
   deliberately formed to fill this “gap.”

          RESPONSE: Disputed. The EIP report noted that “as a result” of the EIP’s belief that “no

   government agency in the United States has the explicit mandate to monitor and correct election

   mis- and dis-information . . . during the 2020 election, local and state election officials, who had a

   strong partner on election-system and overall cybersecurity efforts in CISA, were without a

   clearinghouse for assessing misinformation and disinformation targeting their voting operation.”




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   Scully Ex. 1 at 20 (2). To the extent the EIP report is offering a legal opinion about CISA’s or any

   other agency’s statutory authorities, Defendants respond to those legal arguments in their brief in

   opposition to Plaintiffs’ preliminary injunction motion. In any event, this PFOF does not contain

   evidence that CISA or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. Any assertion to that effect is unsupported by and contrary to the record

   as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1144. The EIP “was formed between four of the nation’s leading institutions focused on
   understanding misinformation and disinformation in the social media landscape: the Stanford
   Internet Observatory, the University of Washington’s Center for an Informed Public, Graphika,
   and the Atlantic Council’s Digital Forensic Research Lab.” Id.

          RESPONSE: Undisputed.

           1145. The EIP makes clear that its “aim” was not just to observe but to “defend[]” the
   public from misinformation: “With the narrow aim of defending the 2020 election against voting-
   related mis- and disinformation, it bridged the gap between government and civil society, helped
   to strengthen platform standards for combating election-related misinformation, and shared its
   findings with its stakeholders, media, and the American public.” Id. at 9 (v).

          RESPONSE: Undisputed.

           1146. The EIP’s statement that it “helped to strengthen platform standards for combating
   election-related misinformation” refers to the fact that the EIP successfully pushed virtually all
   major social-media platforms to adopt or increase censorship policies targeted at election-related
   “misinformation” during the 2020 election cycle. See id.

          RESPONSE: Disputed to the extent the PFOF refers to social media platforms’ terms of

   service, to which all users agree, as “censorship policies,” and further disputed because the cited

   evidence does not support the claim that “the EIP successfully pushed virtually all major social-

   media platforms to adopt or increase” their policies.

            1147. The EIP notes that its efforts to push social-media platforms to adopt more
   restrictive censorship policies were highly effective, both in procuring changes in policies and
   censoring speech: “Many platforms expanded their election-related policies during the 2020
   election cycle. … Platforms took action against policy violations by suspending users or removing
   content, downranking or preventing content sharing, and applying informational labels.” Id. at 12
   (viii).



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          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “push[ing]

   social media platforms to adopt “more restrictive censorship policies.” The cited evidence does

   not support that characterization. Nothing in this cited portion of the document suggests that

   platforms’ expansion of their content moderation policies (to which all users agree) during the

   2020 election cycle was the result of a “push” by EIP—or anyone else, for that matter.

            1148. Alex Stamos, the director of the Stanford Internet Observatory who founded the
   EIP, has publicly stated that the EIP successfully pushed social-media platforms to adopt more
   restrictive policies about election-related speech in 2020: “My suggestion, if people want to get
   the platforms to do stuff is, first, you've got to push for written policies that are specific and that
   give you predictability; right? And so this is something we started in the summer, in August, is as
   Kate [Starbird] talked about Carly Miller led a team from all four institutions to look at the detailed
   policies of the big platforms and to measure them against situations that we expected to happen.
   Now we're not going to take credit for all of the changes they made, but there -- we had to update
   this thing, like, eight or nine times; right? And so like putting these people in a grid to say, you're
   not handling this, you're not handling this, you're not handling this, creates a lot of pressure inside
   of the companies and forces them to kind of grapple with these issues, because you want specific
   policies that you can hold them accountable for.” Scully Ex. 4, at 7 (Audio Tr. 4).

          RESPONSE: Disputed because there is no “Scully Ex. 4,” and it is unclear what source

   the PFOF purports to cite.

           1149. Alex Stamos notes that the EIP then pressured the platforms to aggressively enforce
   the new policies that the EIP had pushed them to adopt: “The second is, when you report stuff to
   them, report how it's violating those written policies; right? So there's two steps here. Get good
   policies, and then say, this is how it's violated it.” Id.

          RESPONSE: See Defs.’ Resp. to PFOF ¶ 1148.

          1150. Other EIP participants have also publicly stated that the EIP induced social-media
   platforms to adopt much more aggressive censorship policies on election-related speech. On March
   3, 2021, at an EIP-hosted conference on the release of the EIP report, Emerson Brooking of the
   Atlantic Council’s DRFLab, an EIP participant, stated: “I think the EIP really helped push the
   envelope with things like just the notion that … this delegitimization of electoral processes that
   we were seeing in the summer and early fall that this should be against content moderation policies
   on these platforms, and begin to take proactive steps there….” Scully Ex. 5, at 6 (Audio Tr. 2).
   He also stated, “after November 3rd, we saw that market shift where content moderation actions
   that … we could hardly contemplate a few weeks before began to be taken. There was a much
   stronger emphasis on cracking down on the sort of content we've been tracking from the
   beginning.” Id.




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          RESPONSE: Disputed because there is no “Scully Ex. 5,” and it is unclear what source

   the PFOF purports to cite.

          1151. The EIP treats “Government” and Social-Media “Platforms” as two of its “Four
   Major Stakeholders,” providing input to the EIP and receiving feedback from the EIP. Scully Ex. 1,
   at 26 (8) & fig.1.2 (graphic showing “Government” as the EIP’s first “Major Stakeholder,”
   submitting information to EIP’s “Intake Queue” and receiving feedback on the EIP’s
   “Mitigation”—i.e., censorship—efforts).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes EIP’s mitigation efforts

   as “censorship.” The cited evidence does not support that characterization. The EIP provided

   public factual findings to government agencies and social media platforms but had no control over

   content moderation or labeling posts. Ex. 74 at 2; Ex. 125 at 3. Rather, social media platforms

   examined any reports sent to them by the EIP to determine if the content was violative of their

   policies and did not act in cases where the platforms determined their existing policies were not

   violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made independent

   decisions about what to pass on to platforms, just as the platforms made their own decisions about

   what to do with our tips”). Content moderation decisions were independently made by social media

   platforms, and the EIP did not make recommendations to the platforms about what actions they

   should take. Ex. 74 at 2; Ex. 122 at 6; Ex. 125 at 3. Defendants further note that the EIP explained

   what it meant when it referred to the “government” as one of its “four major stakeholder groups”

   in its report: “Given the decentralized nature of election administration, government entities at the

   local, state, and federal level are all responsible in some way for election security and thus for

   countering election-related mis- and disinformation.” Scully Ex. 1, at 30 (12). Defendants further

   note that CISA never submitted any information to EIP’s “Intake Queue.” See Ex. 125 at 2 (“CISA

   did not send any examples of potential misinformation to EIP”); Ex. 74 at 3 (stating that the EIP

   did not receive requests from CISA to eliminate or censor tweets); Ex. 122 at 7 (“CISA did not




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   send content to the EIP to analyze, and the EIP did not flag content to social media companies on

   behalf of CISA.”). In addition, CISA generally did not share information with the EIP and did not

   have communications with EIP about specific disinformation concerns. Scully Depo. Tr. 73:25-

   74:2; 75:2-5; 106:3-9. Moreover, this PFOF does not contain evidence that CISA or any Defendant

   collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.

           1152. The EIP organizes its misinformation reports under groups called “tickets,” and it
   notes that “[t]ickets were submitted by … trusted external stakeholders…” Id. at 26 (8). “Trusted
   external stakeholders” include “government”: “External stakeholders included government, civil
   society, social media companies, and news media entities.” Id. at 30 (12). Thus, it is clear that
   “government” submitted “tickets,” i.e., reports of misinformation to be processed for censorship
   on social media, to the EIP. See id. at 26, 30 (8, 12).

           RESPONSE: Disputed, see Defs.’ Resp. to PFOF ¶ 1151.

           1153. And it is clear that the “government” partners who submit tips to the EIP are CISA,
   the State Department’s Global Engagement Center (GEC), and the Elections Infrastructure
   Information Sharing & Analysis Center (EI-ISAC), an organization of state and local government
   officials coordinated by the Center for Internet Security (CIS) pursuant to funding from CISA, see
   EI-SAC, Center for Internet Security (last visited Fed. 22, 2023) (“The EI-ISAC is federally
   funded by CISA.”), https://www.cisecurity.org/ei-isac.           Specifically, the “Government”
   “stakeholders” listed under the EIP’s “Four Major Stakeholder Groups” are CISA, GEC, and the
   EI-ISAC. Scully Ex. 1, at 30 (12).

           RESPONSE: Disputed. First, CISA did not send content to the EIP to analyze, and the

   EIP did not flag content to social media platforms on behalf of CISA. Ex. 122 at 7; Ex. 125 at 2;

   Ex. 74 at 3 (stating that EIP did not receive requests from CISA to eliminate or censor tweets).

   Second, the EI-ISAC is not a “government” partner; rather, the EI-ISAC is a voluntary

   organization managed by CIS with membership open to all state, local, tribal, and territorial

   organizations and private sector entities that support election officials. Hale Decl. ¶ 48 (Ex. 97).

   Third, during the 2020 election cycle, the GEC discovered certain posts and narratives on social

   media and digital media that originated from, were amplified by, or likely to be amplified by


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   foreign malign influence actors—like Russia, the People’s Republic of China, Iran, and their

   proxies—that sought to spread propaganda or disinformation about the 2020 election. See Bray

   Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP on approximately 21

   occasions. Id. The EIP then made an independent determination as to whether to send this

   information to social media companies, and social media companies in turn made separate

   independent decisions about what actions, if any, to take based on their own policies and under

   their respective terms of service with account holders and users on their sites. Id. Fourth, DHS has

   provided financial assistance to CIS through a series of cooperative agreement awards, managed

   by CISA, to provide certain, specified cybersecurity services to state, local, tribal and territorial

   governmental organizations through the MS- and EI-SACs. Hale Decl. ¶ 50 (Ex. 97). In the

   approved scope of work for the cooperative agreements, DHS has limited the use of federal funds

   and any required non-federal cost-share to cybersecurity services intended to detect, prevent,

   respond to, mitigate, and recover from cyber threats, vulnerabilities, and risks. Id. The DHS

   approved scope of work for the cooperative agreements has never funded CIS to perform

   disinformation-related work, including the reporting of potential election security-related

   disinformation to social media platforms. Id. at ¶ 51. Moreover, this PFOF does not contain

   evidence that CISA or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1154. These “Government” stakeholders report misinformation to the EIP: “Government
   and civil society partners could create tickets or send notes to EIP analysts, and they used these
   procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.

          RESPONSE: Disputed. First, CISA did not send content to the EIP to analyze, and the

   EIP did not flag content to social media platforms on behalf of CISA. Ex. 122 at 7; Ex. 125 at 2;




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   Ex. 74 at 3 (stating that EIP did not receive requests from CISA to eliminate or censor tweets).

   Second, during the 2020 election cycle, the GEC discovered certain posts and narratives on social

   media and digital media that originated from, were amplified by, or likely to be amplified by

   foreign malign influence actors—like Russia, the People’s Republic of China, Iran, and their

   proxies—that sought to spread propaganda or disinformation about the 2020 election. See Bray

   Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP on approximately 21

   occasions. Id. The EIP then made an independent determination as to whether to send this

   information to social media companies, and social media companies in turn made separate

   independent decisions about what actions, if any, to take based on their own policies and under

   their respective terms of service with account holders and users on their sites. Id. Third, the EI-

   SAC did not ask the EIP to censor or eliminate social media posts. Ex. 74 at 3. Fourth, the EI-

   ISAC is not a government entity. See Defs.’ Resp. to Pls’ PFOF ¶ 1153. Moreover, this PFOF does

   not contain evidence that CISA or any Defendant collaborated with or was “pervasive[ly]

   entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1155. The CISA-funded EI-ISAC and CISA itself worked in collaboration with the EIP
   to report misinformation to social-media platforms: “[T]he EI-ISAC served as a singular conduit
   for election officials to report false or misleading information to platforms. By serving as a one-
   stop reporting interface, the EI-ISAC allowed election officials to focus on detecting and
   countering election misinformation while CIS and its partners reported content to the proper social
   media platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a
   subcomponent of CISA, aided in the reporting process and in implementing resilience efforts to
   counter election misinformation.” Id. at 31 (13).

          RESPONSE: Disputed. First, DHS has provided financial assistance to CIS through a

   series of cooperative agreement awards, managed by CISA, to provide certain, specified

   cybersecurity services to state, local, tribal and territorial governmental organizations through the

   MS- and EI-SACs. Hale Decl. ¶ 50 (Ex. 97). In the approved scope of work for the cooperative



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   agreements, DHS has limited the use of federal funds and any required non-federal cost-share to

   cybersecurity services intended to detect, prevent, respond to, mitigate, and recover from cyber

   threats, vulnerabilities, and risks. Id. The DHS approved scope of work for the cooperative

   agreements has never funded CIS to perform disinformation-related work, including the reporting

   of potential election security-related disinformation to social media platforms. Id. at ¶ 51. Second,

   the EI-SAC did not ask the EIP to censor or eliminate social media posts. Ex. 74 at 3. Third, CISA

   did not send content to the EIP to analyze, and the EIP did not flag content to social media

   platforms on behalf of CISA. Ex. Ex. 122 at 7; Ex. 125 at 2; Ex. 74 at 3 (stating that EIP did not

   receive requests from CISA to eliminate or censor tweets). Moreover, this PFOF does not contain

   evidence that CISA or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1156. The EIP report mentions The Gateway Pundit, the website operated by Plaintiff Jim
   Hoft, 47 times. See id. at 51, 74, 76, 101, 103, 110, 112, 145, 150-51, 153, 155-56, 172, 175, 183,
   194-95, 206-09, 211-12, 214-16, 226-27. 7

          RESPONSE: Disputed. The EIP report mentions The Gateway Pundit 43 times. See

   generally Scully Ex. 1.

           1157. The EIP boasts that it “used an innovative internal research structure that leveraged
   the capabilities of the partner organizations through a tiered analysis model based on ‘tickets’
   collected internally and from our external stakeholders. Of the tickets we processed, 72% were
   related to delegitimization of the election,” i.e., core political speech. Id. at 10 (vi).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the phrase “delegitimizing

   of the election” as equating to “core political speech.” The cited evidence, which does not include

   any of the referenced posts, does not support that characterization, which in any event is a legal


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        Report pages 33, 56, 58, 83, 85, 92, 94, 127, 132-33, 135, 137-38, 154, 157, 165, 176-77,
   188-91, 193-94, 196-98, 208-09.


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   conclusion. Defendants address Plaintiffs’ legal arguments in their opposition to Plaintiffs’

   preliminary injunction motion.

            1158. The EIP admits that the speech it targets for censorship is domestic, grassroots
   speech by American citizens: “The production and spread of misinformation was multidirectional
   and participatory. Individuals participated in the creation and spread of narratives. Bottom-up false
   and misleading narratives started with individuals identifying real-world or one-off incidents and
   posting them to social media. Influencers and hyperpartisan media leveraged this grassroots
   content, assembling it into overarching narratives about fraud, and disseminating it across
   platforms to their large audiences. Mass media often picked up these stories after they had reached
   a critical mass of engagement. Top-down mis- and disinformation moved in the opposite direction,
   with claims first made by prominent political operatives and influencers, often on mass media,
   which were then discussed and shared by people across social media properties.” Id. at 11 (vii).
   In other words, virtually everything it targets is quintessential First Amendment-protected political
   speech.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “target[ing]”

   speech for “censorship” or that “virtually everything it targets is quintessential First Amendment-

   protected speech.” The EIP provided public factual findings to government agencies and social

   media platforms but had no control over content moderation or labeling posts. Ex. 74 at 2; Ex. 122

   at 5-6; Ex. 125 at 3. Rather, social media platforms examined any reports sent to them by the EIP

   to determine if the content was violative of their policies and did not act in cases where the

   platforms determined their existing policies were not violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122

   at 6 (stating that EIP’s “researchers made independent decisions about what to pass on to platforms,

   just as the platforms made their own decisions about what to do with our tips”). Content

   moderation decisions were independently made by social media platforms, and the EIP did not

   make recommendations to the platforms about what actions they should take. Ex. 74 at 2; Ex. 122

   at 6; Ex. 125 at 3. Finally, the last sentence is a legal conclusion, and Defendants respond to

   Plaintiffs’ legal arguments in their response to Plaintiffs’ preliminary injunction motion.

          1159. This included censorship of highly visible political figures: “The primary repeat
   spreaders of false and misleading narratives were verified, blue-check accounts belonging to




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   partisan media outlets, social media influencers, and political figures, including President Trump
   and his family.” Id. at 12 (viii).

          RESPONSE: Disputed. The EIP did not “censor[]”; the EIP provided public factual

   findings to government agencies and social media platforms but had no control over content

   moderation or labeling posts. Ex. 74 at 2; Ex. 122 at 5-6; Ex. 125 at 3. Social media platforms

   examined any reports sent to them by the EIP to determine if the content was violative of their

   policies and did not act in cases where the platforms determined their existing policies were not

   violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made independent

   decisions about what to pass on to platforms, just as the platforms made their own decisions about

   what to do with our tips”). Content moderation decisions were independently made by social media

   platforms, and the EIP did not make recommendations to the platforms about what actions they

   should take. Ex. 74 at 2; Ex. 122 at 6; Ex. 125 at 3.

           1160. One key point that the EIP emphasizes is that it wants greater “access” to platforms’
   internal data to achieve greater monitoring of Americans’ speech on social media. The EIP
   complains that “Lack of transparency and access to platform APIs hindered external research
   into the effectiveness of platform policies and interventions.” Id. (emphasis added). “API” stands
   for “Application Programming Interface,” so the EIP wants greater direct access to platforms’
   internal data about so-called “misinformation” on their platforms. See id. This directly echoes the
   repeated demands from the White House and the Surgeon General that social-media platforms
   provide access to their internal data about misinformation on their platforms, both to government
   and “researchers.” The relevant “researchers” include Stanford Internet Observatory and the other
   constituents of the EIP and the Virality Project, who are working hand-in-glove with federal
   officials.

          RESPONSE: Disputed. The EIP report does not reflect that “it wants greater ‘access’ to

   platforms’ internal data.” Rather, the EIP report simply lists “[l]ack of transparency and [API]

   access” as a limitation on the effectiveness of EIP’s research. Scully Ex. 1 at 12 (viii). Further

   disputed that the White House or Surgeon General “demanded” anything from social media

   platforms, or that the Stanford Internet Observatory worked “hand-in-glove” with federal officials.

   The PFOF provides no record support for these statements, which are unsupported by the record



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   as a whole. Moreover, this PFOF does not contain evidence that CISA or any Defendant

   collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

           1161. The EIP contends that not enough censorship was achieved during 2020 as a result
   of their lack of direct access to platforms’ APIs: “Many platforms expanded their election-related
   policies during the 2020 election cycle. However, application of moderation policies was
   inconsistent or unclear.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “contend[ing]

   that not enough censorship was achieved during 2020 as a result of their lack of direct access to

   platforms’ APIs.” The cited evidence does not support that characterization. Rather, the cited

   document reflects that one of the EIP report’s “key takeways” was the observation that “[m]any

   platforms expanded their election-related policies during the 2020 election cycle. However,

   application of moderation policies was inconsistent or unclear.” Scully Ex. 1 at 12 (viii). Nothing

   in the cited exhibit reflects a desire by the EIP to “censor” anything. The EIP provided public

   factual findings to government agencies and social media platforms but had no control over content

   moderation or labeling posts. Ex. 74 at 2; Ex. 122 at 5-6; Ex. 125 at 3. Rather, social media

   platforms examined any reports sent to them by the EIP to determine if the content was violative

   of their policies and did not act in cases where the platforms determined their existing policies

   were not violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made

   independent decisions about what to pass on to platforms, just as the platforms made their own

   decisions about what to do with our tips”). Content moderation decisions were independently made

   by social media platforms, and the EIP did not make recommendations to the platforms about what

   actions they should take. Ex. 74 at 2; Ex. 122 at 6; Ex. 125 at 3.




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           1162. The EIP recommends that platforms increase enforcement of censorship policies:
   “Impose clear consequences for accounts that repeatedly violate platform policies. These accounts
   could be placed on explicit probationary status, facing a mixture of monitoring and sanctions.” Id.
   at 14 (x).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes social media platforms’

   terms of service—to which all users agree—as “censorship policies.” The cited evidence does not

   support that characterization.

          1163. The EIP report acknowledges the contributions of Alex Stamos, Renee DiResta,
   Kate Starbird, Matt Masterson, Pierce Lowary, and Alex Zaheer. Id. at 16 (xii). All of these
   individuals have or had formal roles in CISA.

          RESPONSE: Disputed in part. Mr. Stamos, Ms. DiRestra, Mr. Lowary, and Mr. Zaheer

   contributed to the EIP report in their capacity as “students, staff, and researchers” for the Stanford

   Internet Observatory, and Ms. Starbird contributed in her capacity as an employee of the

   University of Washington Center for an Informed Public. Id. In addition, Mr. Masterson, who

   provided “additional feedback” on the EIP report, was not a CISA employee at that time. Scully

   Ex. 1, at 16 (xii). Finally, the PFOF provides no support for the statement that each of these

   individuals “have or had formal roles in CISA,” or even explains what is meant by a “formal role.”

   Moreover, this PFOF does not contain evidence that CISA or any Defendant collaborated with or

   was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

          1164. The EIP is partially funded by the federal government: “Researchers who
   contributed to the EIP … receive partial support from the U.S. National Science Foundation (grants
   1749815 and 1616720).” Id. at 17 (xiii).

          RESPONSE: Undisputed, but note that CISA does not and has never funded the EIP. Hale

   Decl. ¶ 57 (Ex. 97). Moreover, this PFOF does not contain evidence that CISA or any Defendant

   collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to



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   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg.

   § II.B.4.c. & e.

            1165. In addition, the Atlantic Council, one of the four nonprofit organizations in the EIP,
   is partially government-funded. Kimmage Dep. 294:8-18.

          RESPONSE: Undisputed, but note that this PFOF does not contain evidence that CISA or

   any Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c. & e.

           1166. “The initial idea for the Partnership came from four students that the Stanford
   Internet Observatory (SIO) funded to complete volunteer internships at the Cybersecurity and
   Infrastructure Security Agency (CISA) at the Department of Homeland Security.” Scully Ex. 1,
   at 20 (2).

          RESPONSE: Undisputed, but note that this PFOF does not contain evidence that CISA or

   any Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c. & e.

            1167. “The students approached SIO leadership in the early summer, and, in consultation
   with CISA and other stakeholders, a coalition was assembled with like-minded partner
   institutions.” Id.

          RESPONSE: Undisputed that the PFOF accurately quotes a portion of the EIP report, but

   further note that the “consultation” by CISA was limited to a conversation with the students and a

   follow-up discussion with Alex Stamos where Mr. Scully verified the students’ understanding that

   there was a gap in local and state election officials’ resources to handle election misinformation.

   Scully Dep. 98:2-8; Hale Decl. ¶¶ 53-54 (Ex. 97). Moreover, this PFOF does not contain evidence

   that CISA or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI




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   Supp. at 41. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1168. “The Election Integrity Partnership (EIP) was officially formed on July 26, 2020—
   100 days before the November election—as a coalition of research entities who would focus on
   supporting real-time information exchange between the research community, election officials,
   government agencies, civil society organizations, and social media platforms.” Id.

          RESPONSE: Undisputed.

          1169. As a key point in its “Operational Timeline,” the EIP lists a July 9, 2020, “Meeting
   with CISA to present EIP concept.” Id. at 21 (3). In other words, the Stanford Internet Observatory
   “present[ed]” the “EIP concept” to CISA two weeks before the EIP was formed. Id.

          RESPONSE: Undisputed, but note that this PFOF does not contain evidence that CISA or

   any Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41.

   Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c. & e.

          1170. The SIO’s EIP team was “led by … Research Manager Renee DiResta … and
   Director Alex Stamos.” Id. at 22 (4). The University of Washington’s “contributing team” was
   “led by … Kate Starbird.” Id.

          RESPONSE: Disputed in part, as the PFOF omits other individuals from SIO and the

   University of Washington that the EIP report identified as leading the EIP project. Scully Ex. 1, at

   22 (4). The other individuals from SIO who “led” the EIP effort included Assistant Director Elena

   Cryst and CTO David Thiel. Id. The other individuals from the University of Washington who

   contributed to the EIP included Emma Spiro and Jevin West. Id.

           1171. Alex Stamos and Kate Starbird are members of CISA’s Cybersecurity Advisory
   Committee. See CISA Cybersecurity Advisory Committee, Cybersecurity & Infrastructure Security
   Agency (last visited Feb. 24, 2023), https://www.cisa.gov/resources-tools/groups/cisa-
   cybersecurity-advisory-committee. Starbird chairs CISA’s Subcommittee on “Protecting Critical
   Infrastructure from Misinformation and Disinformation.” See CISA Cybersecurity Advisory
   Committee, Subcommittee Factsheet 1 (April 13, 2022), https://www.cisa.gov/sites/
   default/files/publications/CSAC%20Subcommittee%20Factsheet_April%2013%202022.pdf.
   Renee DiResta gives lectures on behalf of CISA. See CISA, Cybersecurity Summit 2021:




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   Responding to Mis, Dis, and Malinformation, YouTube (Oct. 27, 2021), https://www.youtube
   .com/watch?v=yNe4MJ351wU.

          RESPONSE: Disputed in part. Ms. Starbird does not currently chair the CISA

   Subcommittee on “Protecting Critical Infrastructure from Misinformation and Disinformation” as

   the Subcommittee was directed to stand down in December 2020 because it had completed its

   tasking and provided its recommendations to CISA. Ex. 187 at 43. In addition, the PFOF

   mischaracterizes Ms. DiResta as someone who “gives lectures on behalf of CISA,” as opposed to

   Ms. DiResta being a speaker at a CISA event. The cited evidence does not support the PFOF’s

   characterization.

           1172. One of the EIP’s goals was to “flag policy violations to platforms.” Scully Ex. 1,
   at 24 (6).

          RESPONSE: Undisputed, but further note that although the EIP provided public factual

   findings to government agencies and social media platforms but had no control over content

   moderation or labeling posts. Ex. 74 at 2; Ex. 122 at 5-6; Ex. 125 at 3. Rather, social media

   platforms examined any reports sent to them by the EIP to determine if the content was violative

   of their policies and did not act in cases where the platforms determined their existing policies

   were not violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made

   independent decisions about what to pass on to platforms, just as the platforms made their own

   decisions about what to do with our tips”). Content moderation decisions were independently made

   by social media platforms, and the EIP did not make recommendations to the platforms about what

   actions they should take. Ex. 74 at 2; Ex. 122 at 6; Ex. 125 at 3.

          1173. As noted above, the EIP describes “Government” as one of “four major
   stakeholders,” who both provided input into the “intake queue” for “tickets” (i.e., reporting
   misinformation) and received feedback on “mitigation” (i.e., censorship). Id. at 26 (8).




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          RESPONSE: Undisputed, but note that CISA did not send content to the EIP to analyze,

   and the EIP did not flag content to social media platforms on behalf of CISA. Ex. 122 at 7; Ex.

   125 at 2; Ex. 74 at 3 (stating that EIP did not receive requests from CISA to eliminate or censor

   tweets). CISA generally did not share information with EIP. Scully Depo. Tr. 73:25-74:2; 106:3-

   9. CISA did not have communications with EIP about specific disinformation concerns. Scully

   Depo. Tr. 75:2-5. CISA was not aware of when EIP would send reports to social media platforms.

   Scully Dep. 106:21-107:10. Moreover, the EI-SAC did not ask the EIP to censor or eliminate social

   media posts. Ex. 74 at 3. Furthermore, during the 2020 election cycle, the GEC discovered certain

   posts and narratives on social media and digital media that originated from, were amplified by, or

   likely to be amplified by foreign malign influence actors—like Russia, the People’s Republic of

   China, Iran, and their proxies—that sought to spread propaganda or disinformation about the 2020

   election. See Bray Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP

   on approximately 21 occasions. Id. The EIP then made an independent determination as to whether

   to send this information to social media companies, and social media companies in turn made

   separate independent decisions about what actions, if any, to take based on their own policies and

   under their respective terms of service with account holders and users on their sites. Id. In addition,

   this PFOF does not contain evidence that CISA or any Defendant collaborated with or was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1174. The EIP tracked misinformation using “tickets,” which tracked “informational
   event[s]” that could encompass many social-media postings: “The EIP tracked its analysis topics
   and engaged with outside stakeholder organizations using an internal ticketing workflow
   management system. Each identified informational event was filed as a unique ticket in the
   system.” Id.

          RESPONSE: Undisputed.



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           1175. “Tickets were submitted by both trusted external stakeholders (detailed in Section
   1.4 on page 11) and internal EIP analysts.” Id. “Section 1.4” on pages 11-12 of the report identifies
   government as a trusted external stakeholder: “Trusted external stakeholders” include
   “government, civil society, social media companies, and news media entities.” Id. at 29-30 (11-
   12). Page 12 specifically identifies CISA, the EI-ISAC, and the State Department’s GEC as the
   EIP’s “Government” stakeholders. Id. at 30 (12) fig.1.3.

           RESPONSE: Disputed to the extent the PFOF suggests that CISA submitted “tickets” to

   EIP. CISA did not send content to the EIP to analyze, and the EIP did not flag content to social

   media platforms on behalf of CISA. Ex. 125 at 2 (“CISA did not send any examples of potential

   misinformation to EIP”); Ex. 122 (“CISA did not send content to the EIP to analyze, and the EIP

   did not flag content to social media platforms on behalf of CISA.”); Ex. 74 at 3 (stating that EIP

   did not receive requests from CISA to eliminate or censor tweets). Moreover, the EI-SAC did not

   ask the EIP to censor or eliminate social media posts. Ex. 74 at 3. Furthermore, during the 2020

   election cycle, the GEC discovered certain posts and narratives on social media and digital media

   that originated from, were amplified by, or likely to be amplified by foreign malign influence

   actors—like Russia, the People’s Republic of China, Iran, and their proxies—that sought to spread

   propaganda or disinformation about the 2020 election. See Bray Decl. ¶ 18 (Ex. 142). The GEC

   flagged these posts and narratives for the EIP on approximately 21 occasions. Id. The EIP then

   made an independent determination as to whether to send this information to social media

   companies, and social media companies in turn made separate independent decisions about what

   actions, if any, to take based on their own policies and under their respective terms of service with

   account holders and users on their sites. Id. This PFOF does not contain evidence that CISA or any

   Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.




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           1176. A “ticket” could encompass many individual postings: “A single ticket could map
   to one piece of content, an idea or narrative, or hundreds of URLs pulled in a data dump.” Id. at
   27 (9).

          RESPONSE: Undisputed.

           1177. The EIP’s managers both report misinformation to platforms and communicate
   with government partners about their misinformation reports: “The manager had the ability to tag
   platform partners on a ticket for action. They also communicated with the EIP’s partners in
   government, and could request further information from election officials if necessary,” thus
   serving as a conduit for a back-and-forth about misinformation reports between government
   officials and platforms. Id. at 27-28 (9-10).

          RESPONSE: Disputed. CISA did not send content to the EIP to analyze, and the EIP did

   not flag content to social media platforms on behalf of CISA. Ex. 125 at 2 (“CISA did not send

   any examples of potential misinformation to EIP”); Ex. 122 (“CISA did not send content to the

   EIP to analyze, and the EIP did not flag content to social media platforms on behalf of CISA.”);

   Ex. 74 at 3 (stating that EIP did not receive requests from CISA to eliminate or censor tweets).

   CISA generally did not share information with the EIP. Scully Dep. 73:25-74:2; 106:3-9. CISA

   did not have communications with the EIP about specific disinformation concerns. Id. at 75:2-5.

   CISA generally was not aware of when the EIP would send reports to social media platforms. Id.

   at 106:21-107:10. This PFOF does not contain evidence that CISA or any Defendant collaborated

   with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1178. The scope of the EIP’s monitoring of Americans’ speech on social media is
   enormous: “Team members from each of these tiers were divided into on-call shifts. Each shift
   was four hours long and led by one on-call manager. It was staffed by a mix of Tier 1 and Tier 2
   analysts in a 3:1 ratio, ranging from five to 20 people. Analysts were expected to complete between
   two to five shifts per week. The scheduled shifts ran from 8:00 am to 8:00 pm PT for most of the
   nine weeks of the partnership, ramping up only in the last week before the election from 12-hour
   to 16- to 20-hour days with all 120 analysts on deck.” Id. at 28 (10).




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          RESPONSE: Disputed to the extent the PFOF mischaracterizes the “scope” of EIP’s

   “monitoring” as “enormous.” The cited evidence does not support that characterization.

           1179. The “Government” stakeholders flag misinformation to the EIP for censorship:
   “Government and civil society partners could create tickets or send notes to EIP analysts, and they
   used these procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.
   at 30 (12).

          RESPONSE: Disputed. The PFOF mischaracterizes the purpose of the flagging of

   information to the EIP as “censorship.” The EIP provided public factual findings to government

   agencies and social media platforms but had no control over content moderation or labeling posts.

   Ex. 74 at 2. Rather, social media platforms examined any reports sent to them by the EIP to

   determine if the content was violative of their policies and did not act in cases where the platforms

   determined their existing policies were not violated. Id.; Ex. 125 at 3; Ex. 122 at 6 (stating that

   EIP’s “researchers made independent decisions about what to pass on to platforms, just as the

   platforms made their own decisions about what to do with our tips”). Content moderation decisions

   were independently made by social media platforms, and the EIP did not make recommendations

   to the platforms about what actions they should take. Ex. 74 at 2. Moreover, CISA did not send

   content to the EIP to analyze, and the EIP did not flag content to social media platforms on behalf

   of CISA. Ex. 125 at 2 (“CISA did not send any examples of potential misinformation to EIP”); Ex.

   122 (“CISA did not send content to the EIP to analyze, and the EIP did not flag content to social

   media platforms on behalf of CISA.”); Ex. 74 at 3 (stating that EIP did not receive requests from

   CISA to eliminate or censor tweets). During the 2020 election cycle, the GEC discovered certain

   posts and narratives on social media and digital media that originated from, were amplified by, or

   likely to be amplified by foreign malign influence actors—like Russia, the People’s Republic of

   China, Iran, and their proxies—that sought to spread propaganda or disinformation about the 2020

   election. See Bray Decl. ¶ 18 (Ex. 142). The GEC flagged these posts and narratives for the EIP



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   on approximately 21 occasions. Id. The EIP then made an independent determination as to whether

   to send this information to social media companies, and social media companies in turn made

   separate independent decisions about what actions, if any, to take based on their own policies and

   under their respective terms of service with account holders and users on their sites. Id. In short,

   this PFOF does not contain evidence that CISA or any Defendant collaborated with or was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

          1180. Of the “Four Major Stakeholder Groups” who participated in the EIP, the first listed
   is “Government,” which includes three government entities: the Elections Infrastructure ISAC,
   CISA, and the State Department’s GEC. Id.

          RESPONSE: Undisputed that the EIP report lists the Election Infrastructure ISAC, CISA,

   and the State Department’s GEC as “major stakeholders,” but dispute that the EI-ISAC is a

   government entity. See Defs.’ Resp. to Pls’ PFOF ¶ 1153. Further note that CISA did not found,

   fund, or have any role in the management or operation of the EIP. Hale Decl. ¶ 52 (Ex. 97); Ex.

   122 at 7. Moreover, this PFOF does not contain evidence that CISA or any Defendant collaborated

   with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c.

   & e.

           1181. The EIP reports that CISA, CIS, and the EI-ISAC collaborated with the EIP in
   reporting misinformation: “In this election cycle, the EI-ISAC served as a singular conduit for
   election officials to report false or misleading information to platforms. By serving as a one-stop
   reporting interface, the EI-ISAC allowed election officials to focus on detecting and countering
   election misinformation while CIS and its partners reported content to the proper social media
   platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a subcomponent
   of CISA, aided in the reporting process and in implementing resilience efforts to counter election
   misinformation.” Id. at 31 (13).

          RESPONSE: Disputed, see Defs.’ Resp, to PFOF ¶ 1155.




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           1182. The EI-ISAC jointly reports misinformation flagged by state and local election
   officials to CISA and to the EIP: “Content reported by election officials to the EI-ISAC was also
   routed to the EIP ticketing system. This allowed analysts to find similar content, ascribe individual
   content pieces to broader narratives, and determine virality and cross-platform spread if applicable.
   This analysis was then passed back to election officials via the EI-ISAC for their situational
   awareness, as well as to inform potential counter-narratives. Additionally, if an internally
   generated EIP ticket targeted a particular region, analysts sent a short write-up to the EI-ISAC to
   share with the relevant election official. This allowed the state or local official to verify or refute
   the claim, and enabled analysts to properly assess whether or not the content violated a platform’s
   civic integrity policies. In this way, the EIP demonstrated the upside of using the EI-ISAC
   coordinating body to connect platforms with authoritative voices to determine truth on the ground
   and help election officials effectively counter viral falsehoods about election infrastructure.” Id.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the cited portion of the

   EIP report as stating that the EI-ISAC reported misinformation flagged by state and local election

   officials to CISA. The cited portion of the report does not support that characterization. During the

   2020 election cycle, CISA received information regarding state and local election officials

   concerns about misinformation in three different ways. Scully Dep. 119:5-120:5. The first was

   from CIS. Id. at 119:5-120:5. The second was that election officials would send information to

   CISA Central, which is CISA’s operations center. Id. at 119:5-120:5. The third was that election

   officials would directly email CISA employees. Id. at 119:5-120:5. Moreover, this PFOF does not

   contain evidence that CISA was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. See Defs.’

   PFOF § II.F., Arg. § II.B.4.c. & e.

           1183. The EIP created established channels for reporting misinformation to platforms for
   censorship: “The EIP established relationships with social media platforms to facilitate flagging
   of incidents for evaluation when content or behavior appeared to violate platform policies.” Id. at
   35 (17).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as establishing

   channels for reporting misinformation to platforms for “censorship.” The cited evidence does not

   support that characterization. The EIP did not ask social media companies to “censor” anything.

   Rather, the EIP provided public factual findings to social media platforms, but had no control over




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   content moderation, censorship, or labeling posts. Ex. 74 at 2. Social media platforms then

   examined any reports sent to them by the EIP to determine if the content was violative of their

   policies and did not act in cases where the platforms determined their existing policies were not

   violated. Id.; Ex. 122 at 6 (stating that EIP’s “researchers made independent decisions about what

   to pass on to platforms, just as the platforms made their own decisions about what to do with our

   tips”). Content moderation decisions were independently made by social media platforms, and the

   EIP did not make recommendations to the platforms about what actions they should take. Ex. 74

   at 2.

            1184. The EIP receives real-time reports on censorship actions from the platforms, who
   communicate directly with EIP managers about censorship through the EIP’s system: “Analysts
   conducted their initial assessment on all tickets, and, if content in a ticket appeared to be a violation
   of a platform’s published content policies, an analyst or manager added the platform representative
   to the ticket. If questions arose, a manager communicated with the platform representative in the
   ticket comments. Analysts put the ticket back in the queue and updated the ticket to note if the
   content in question received a moderation action.” Id.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as receiving “real-

   time reports on censorship” from social media platforms. The cited report does not support that

   characterization. First, the cited portion of the report does not reflect that social media companies

   provided “real-time” reports to the EIP. Second, the cited report does not reflect that social media

   platforms engaged in censorship. Rather, social media platforms would examine any reports sent

   to them by the EIP to determine if the content was violative of their policies, to which all users

   agree, and did not act in cases where the platforms determined their existing policies were not

   violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made independent

   decisions about what to pass on to platforms, just as the platforms made their own decisions about

   what to do with our tips”). Content moderation decisions were independently made by social media




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   platforms, and the EIP did not make recommendations to the platforms about what actions they

   should take. Ex. 74 at 2.

          1185. Virtually all major social-media platforms participate directly in the EIP: “The EIP
   onboarded the following social media companies: Facebook and Instagram, Google and YouTube,
   Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.” Id.

          RESPONSE: Undisputed that the PFOF accurately quotes a portion of the report.

   Plaintiffs’ statement that this reflects “[v]irtually all major social-media platforms” is a

   characterization of fact rather than a factual statement, and the report identifies other social media

   platforms that the EIP did not work with. Scully Ex. 1 at 35-36 (17-18).

           1186. In the 2020 election cycle, the EIP “processed 639 in-scope tickets. 72% of these
   tickets were related to delegitimizing the election results.” Id. at 45 (27).

          RESPONSE: Undisputed, but note that of the EIP’s 639 tickets, only 363 tickets tagged

   “an external partner organization to either report the content, provide situational awareness, or

   suggest a possible need for fact-checking or a counter-narrative.” Scully Ex. 1 at 55 (37).

           1187. The EIP had a high level of success in pushing the platforms to censor speech:
   “35% of the URLs we shared with Facebook, Instagram, Twitter, TikTok, and YouTube were
   either labeled, removed, or soft blocked.” Id. “In total, we believe the four major platforms we
   worked with all had high response rates to our tickets.” Id. at 55 (37). “We find, overall, that
   platforms took action on 35% of URLs that we reported to them.” Id. at 58 (40).

          RESPONSE: Disputed. The record evidence does not support the PFOF’s statement that

   the EIP “push[ed]” platforms to “censor speech.” Rather, the EIP provided public factual findings

   to social media platforms but had no control over content moderation or labeling posts. Ex. 74 at

   2. Social media platforms then examined any reports sent to them by the EIP to determine if the

   content was violative of their policies and did not act in cases where the platforms determined their

   existing policies were not violated. Id.; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers

   made independent decisions about what to pass on to platforms, just as the platforms made their

   own decisions about what to do with our tips”). Content moderation decisions were independently



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   made by social media platforms, and the EIP did not make recommendations to the platforms about

   what actions they should take. Ex. 74 at 2.

           1188. The Center for Internet Security, which runs the EI-ISAC using funding from
   CISA, is a major reporter of misinformation to the EIP: “16% of tickets were filed by the Center
   for Internet Security (CIS), an election official community partner, in the form of tips.” Id. at 46
   (28); see also Center for Internet Security, EI-ISAC (last visited Feb. 24, 2023),
   https://www.cisecurity.org/ei-isac.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the nature (and limitations

   on) CIS’s funding by DHS or CISA. DHS has provided financial assistance to CIS through a series

   of cooperative agreement awards, managed by CISA, to provide certain, specified cybersecurity

   services to state, local, tribal and territorial governmental organizations through the MS- and EI-

   SACs. Hale Decl. ¶ 50 (Ex. 97). In the approved scope of work for the cooperative agreements,

   DHS has limited the use of federal funds and any required non-federal cost-share to cybersecurity

   services intended to detect, prevent, respond to, mitigate, and recover from cyber threats,

   vulnerabilities, and risks. Id. The DHS approved scope of work for the cooperative agreements has

   never funded CIS to perform disinformation-related work, including the reporting of potential

   election security-related disinformation to social media platforms. Id. ¶ 51. Nor did CISA fund

   CIS or the MS- or the EI-ISAC for any of the work CISA provided in relation to the reporting of

   potential election security-related disinformation to social media or technology companies during

   the 2020 or election cycle. Id. ¶ 77. In addition, the PFOF’s characterization of CIS as a “major

   reporter” of misinformation is not supported by the cited portion of the report. Rather, as noted in

   the cited portion of the report, “[t]ickets were primarily created by members of the four core EIP

   organizations,” and only 16% of tickets received by EIP came from CIS. Scully Ex. 1 at 46 (28).

   Of those 16% of tickets submitted by CIS, which amounted to 101 tickets, “[m]ost . . . originated

   from election officials.” Scully Ex. 1, at 60 (42). In addition, “the CIS tickets were (1) more likely




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   to raise reports about fake official election accounts (CIS raised half of the tickets on this topic);

   (2) more likely to create tickets about Washington, Connecticut, and Ohio, and (3) more likely to

   raise reports that were about how to vote and the ballot counting process[.]” Id. This PFOF contains

   no evidence that CISA or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with

   the EIP, PI Supp. at 41. Any assertion to that effect is unsupported by and contrary to the evidence

   as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

           1189. The EIP “prioritize[es] … swing states over non-swing states.” Scully Ex. 1, at 46
   (28).

           RESPONSE: Undisputed that during the 2020 election cycle the EIP reported that, due to

   “finite staff and time,” it prioritized “monitoring some content over others,” including

   “prioritization of swing states over non-swing states.” Scully Ex. 1 at 45 (28).

          1190. The EIP’s “dataset included 639 distinct, in-scope tickets.” Id. A “ticket” could be
   extremely broad, “map[ping] to” and entire “idea or narrative.” Id. at 27 (9). For example, the
   “SHARPIEGATE” ticket was submitted on November 4, 2020, to “try and consolidate all the
   content” regarding the Sharpiegate story from “a variety of different states across Twitter, FB,
   TikTok, and Youtube.” Id. at 47 (29) fig.2.1.

           RESPONSE: Undisputed, and further noted that “Sharpiegate” involved allegations that

   voters were forced to use sharpie markers and that the markers were intentionally meant to make

   votes ambiguous to sway the election. Scully Ex. 1 at 47 (29) fig. 2.1. As noted in the report, this

   was not true because the “ballots are designed such that sharpie ink will not comprise the

   selection.” Id. Further note that of the EIP’s 639 tickets, only 363 tickets tagged “an external

   partner organization to either report the content, provide situational awareness, or suggest a

   possible need for fact-checking or a counter-narrative.” Scully Ex. 1 at 55 (37).

           1191. The EIP includes extensive collaboration with a “government partner” in its
   Sharpiegate ticket. Id. at 48 (30). Its internal ticket-management software (“Jira”) simultaneously
   allowed the “government partner” to communicate directly with the “platform partner” to debunk
   the online claim. Id. at 48 (30) fig.2.2.




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           RESPONSE: Disputed to the extent the PFOF mischaracterizes the “government

   partner’s” involvement in the Sharpiegate ticket as “extensive.” The cited report does not support

   that characterization. In addition, although it is unclear whether the report is referring to a state,

   local, or federal “government partner,” in context it appears to refer to an Arizona election official.

   Scully Ex. 1 at 48 (30) fig. 2.2. Moreover, this PFOF does not contain evidence that CISA or any

   Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F., Arg. § II.B.4.c. & e.

           1192. The EIP reports that it repeatedly flagged The Gateway Pundit, Plaintiff Jim Hoft’s
   website, as a purveyor of social-media misinformation: “The top misinformation-spreading
   websites in our dataset were … thegatewaypundit[.]com, a far-right news website. 65% of these
   tickets involved an exaggeration of the impact of an issue within the election process.” Id. at 51
   (33) (alteration in original).

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP report. The EIP

   report notes that the “top misinformation-spreading websites” in the EIP dataset were

   thedonaldwin and thegatewaypundit.com, and that “many of these tickets involved an exaggeration

   of the impact of an issue within the election process.” Scully Ex. 1 at 51 (33).

            1193. The EIP does not claim that most of The Gateway Pundit’s content was false, only
   that it involved the “exaggeration of the impact of an issue within the election process.” Id.

           RESPONSE: Disputed. The EIP report is replete with examples of false information from

   the Gateway Pundit. See Scully Ex. 1 at 74 (56) (describing narrative pushed by Gateway Pundit

   of incident of discarded mail to sow doubt about mail-in voting and “falsely assigning deliberate

   intent to purported Biden-supporting USPS workers”); id. at 76 (58) (noting that the Gateway

   Pundit retweeted and quoted an individual and “spread[] the false narrative that this was an

   intentional dumping of ballots with implications on the 2020 election, and reinforcing the larger

   narrative that mail-in voting was not secure.”); id. at 110 (92) (noting that the Gateway Pundit



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   amplified the false narrative concerning the “disproven theory claiming that the software glitch

   that caused the erroneous vote count in Michigan was in fact the deliberate work of the ‘Hammer

   and Scorecard’ program”); id. at 112 (94) (noting that the Gateway Pundit published a story

   making the false claim that Dominion Voting Systems used the same software as SolarWinds,

   which had been subject to a cyberattack); id. at 214-15 (196-97) (noting that the Gateway Pundit

   “spread false narratives of election fraud built upon misinterpretations of statistics and was active

   in spreading the false Dominion conspiracy theory”). Ultimately, based on the Gateway Pundit’s

   repeated violations of its terms of service, Twitter made the independent decision, based on its

   terms of service, to suspend the account on February 6, 2021. Scully Ex. 1 at 206 (188)

          1194. As noted above, the EIP Report cites The Gateway Pundit 47 times. See supra
   paragraph 1156 and accompanying citation.

          RESPONSE: Disputed. The EIP Report cites The Gateway Pundit 43 times. See generally

   Scully Ex. 1.

           1195. The EIP “coded tickets based on whether they … had an element of foreign
   interference. Interestingly … less than 1% related to foreign interference.” Scully Ex. 1, at 53
   (35). Thus, virtually all the speech targeted for censorship comes from American speakers.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “target[ing]

   speech for “censorship.” The cited evidence does not support that characterization. The EIP

   provided public factual findings to social media platforms, but had no control over content

   moderation, censorship, or labeling posts. Ex. 74 at 2. Rather, social media platforms examined

   any reports sent to them by the EIP to determine if the content was violative of their policies and

   did not act in cases where the platforms determined their existing policies were not violated. Ex.

   Id.; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made independent decisions about

   what to pass on to platforms, just as the platforms made their own decisions about what to do with

   our tips”). Content moderation decisions were independently made by social media platforms, and



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   the EIP did not make recommendations to the platforms about what actions they should take. Ex.

   74 at 2.

           1196. The EIP targeted speech for censorship or debunking in most tickets: “Of our 639
   tickets, 363 tickets tagged an external partner organization to either report the content, provide
   situational awareness, or suggest a possible need for fact-checking or a counter-narrative.” Id. at
   55 (37).

              RESPONSE: Disputed. The EIP did not target speech for censorship, nor did “most”

   tickets involve flagging information for social media companies. The EIP provided public factual

   findings to social media platforms, but had no control over content moderation, censorship, or

   labeling posts. Ex. 74 at 2. Rather, social media platforms examined any reports sent to them by

   the EIP to determine if the content was violative of their policies and did not act in cases where

   the platforms determined their existing policies were not violated. Ex. 74 at 2; Ex. 125 at 3; Ex.

   122 at 6 (stating that EIP’s “researchers made independent decisions about what to pass on to

   platforms, just as the platforms made their own decisions about what to do with our tips”). Content

   moderation decisions were independently made by social media platforms, and the EIP did not

   make recommendations to the platforms about what actions they should take. Ex. 74 at 2. In

   addition, 363 out of 639 tickets being tagged for an external partner cannot credibly be

   characterized as “most.”

           1197. “[G]roups that reported tickets include the State Department’s Global Engagement
   Center…” Id. at 60 (42). Daniel Kimmage testified that George Beebe of the GEC was in contact
   with the EIP. Kimmage Dep. 202:10-24. Kimmage attests that the GEC had “a general engagement
   with the EIP. … the GEC was engaging with the partnership.” Id. at 214:11-19. In addition to Mr.
   Beebe, Adele Ruppe, who “liaised on election-related issues,” may have engaged with the EIP. Id.
   214:23-215:5.

              RESPONSE: Undisputed, but note that during the 2020 election cycle, the GEC

   discovered certain posts and narratives on social media and digital media that originated, or were

   likely to have originated from, were amplified by, or likely to be amplified by foreign malign




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   influence actors—like Russia, the People’s Republic of China, Iran, and their proxies—that sought

   to spread propaganda or disinformation about the 2020 election. See Bray Decl. ¶ 18 (Ex. 142).

   The GEC flagged these posts and narratives for the EIP on approximately 21 occasions. Id. The

   EIP then made an independent determination as to whether to send this information to social media

   companies, and social media companies in turn made separate independent decisions about what

   actions, if any, to take based on their own policies and under their respective terms of service with

   account holders and users on their sites. Id. Moreover, this PFOF does not contain evidence that

   the GEC or any Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI

   Supp. at 41. Any assertion to that effect is unsupported by and contrary to the evidence as a whole.

   See Defs.’ PFOF § II.G., Arg. § II.B.4.c. & e.

           1198. In addition, left-wing advocacy groups like “MITRE, Common Cause, the DNC,
   the Defending Digital Democracy Project, and the NAACP” submitted tickets to the EIP. Scully
   Ex. 1, at 60 (42).

          RESPONSE: Disputed to the extent the PFOF characterizes these organizations as “left-

   wing advocacy groups.” The cited evidence provides no support for that characterization.

   Moreover, as the EIP has explained, “[t]he EIP exclusively tracked and reported on false,

   misleading, and unsubstantiated claims about election processes and procedures. In 2020, those

   claims were far more prominent among supporters of President Trump (and the president himself)

   than other political groups.” Ex. 122 at 8.

           1199. The EIP indicates that the “misinformation” it targeted during the 2020 election
   cycle was core political speech of American citizens protected by the First Amendment: “Our
   analysis demonstrates that the production and spread of misinformation and disinformation about
   Election 2020 … was participatory. In other words, these dynamics were not simply top-down
   from elites to their audiences, but were bottom-up as well, with members of the ‘crowd’
   contributing in diverse ways—from posting raw content, to providing frames for that content, to
   amplifying aligned messages from both everyday members of the crowd and media (including
   social media) elites. Repeatedly, our data reveal politically motivated people sincerely introducing
   content they mistakenly believed demonstrated real issues with election integrity…” Id. at 181




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   (163). “Well-meaning, though often politically motivated, individuals repeatedly introduced this
   content into the broader information sphere, often via social media…” Id. at 182 (164).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP report as

   indicating that the misinformation it “targeted during the 2020 election cycle was core political

   speech of American citizens protected by the First Amendment.” The cited portion of the EIP

   report does not support the characterization that the EIP “targeted” speech (for “censorship” or

   otherwise). Moreover, the PFOF’s characterization is a legal conclusion, and Defendants address

   legal arguments in their opposition to Plaintiffs’ preliminary injunction motion. In addition, the

   quoted language omits important context: “Our analysis demonstrates that the production and

   spread of misinformation and disinformation about Election 2020—including false narratives of

   a ‘stolen election’—was participatory.” (Omitted language is reflected in italics). Scully Ex. 1, at

   181 (163).

           1200. EIP analysts collected data from Twitter “contemporaneously,” and they also have
   access to “CrowdTangle and Facebook search functionality.” Id. at 199-200 (181-82).

          RESPONSE: Undisputed, but for proper context note that the complete statement reads as

   follows: “To identify the repeat spreaders, we draw from three complementary views; one from

   our ticketing and analysis process (described in Chapters 1 and 2); a second through Twitter data

   EIP partners collected contemporaneously; and a third through CrowdTangle and Facebook search

   functionality, collected after EIP’s realtime analyses ended.” Scully Ex. 1 at 199-200 (181-82).

          1201. The EIP’s tickets encompassed almost 5,000 URLs: “Through our live ticketing
   process, analysts identified social media posts and other web-based content related to each ticket,
   capturing original URLs (as well as screenshots and URLs to archived content). In total, the EIP
   processed 639 unique tickets and recorded 4,784 unique original URLs.” Id. at 200 (182).

          RESPONSE: Undisputed, but note that of the 639 unique tickets processed by the EIP,

   only 363 tickets “tagged an external partner organization to either report the content, provide




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   situational awareness, or suggest a possible need for fact-checking or a counter-narrative.” Scully

   Ex. 1 at 55 (37).

           1202. These tickets and URLs encompass millions of social media posts, including almost
   22 million posts on Twitter alone: “In total, our incident-related tweet data included 5,888,771
   tweets and retweets from ticket status IDs directly, 1,094,115 tweets and retweets collected first
   from ticket URLs, and 14,914,478 from keyword searches, for a total of 21,897,364 tweets.” Id.
   at 201 (183).

          RESPONSE: See Defs.’ Resp. to PFOF ¶ 1201.

           1203. The EIP “collected data from Twitter in real time from August 15 through
   December 12, 2020,” and did so “[u]sing the Twitter Streaming API” to “track[] a variety of
   election-related terms …. The collection resulted in 859 million total tweets.” Id. at 200-01
   (18283). Thus, the EIP had privileged access to Twitter’s internal data about speech on its own
   platform.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes EIP’s access to Twitter’s

   API as “privileged access.” The cited document does not support that characterization. As the EIP

   report states: “Facebook, Twitter, Reddit, and Instagram have reasonably accessible APIs that

   made it easier for our team to find misinformation on their platforms.” Scully Ex. 1 at 51 (33).

          1204. The EIP did not have privileged access to Facebook’s internal data, however: “To
   understand how the information ecosystem looks from the perspective of Facebook and Instagram,
   we collected public posts through the CrowdTangle API from Facebook Groups, Facebook Pages,
   Facebook verified profiles and public Instagram accounts.” Id. at 201 (183). This explains the
   White House’s and Surgeon General’s insistence in 2021 that Facebook grant “researchers” such
   as Renee Diresta access to Facebook’s internal data.

          RESPONSE: The last sentence is disputed because it consists of speculative argument and

   characterization lacking any cited record support.

          1205. The EIP treats as “misinformation” truthful reports that the EIP believes “lack[]
   broader context.” Id. at 203 (185).

          RESPONSE: Disputed. The portion of the document referred to in the PFOF discusses

   “repeat spreaders of false and misleading narratives,” not “misinformation.” Scully Ex. 1 at 199

   (181). The EIP report provides a table with the ten most prominent incidents (by Twitter spread)




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   and includes the following incident concerning Pennsylvania poll watchers: “This incident

   centered on narratives that a GOP-affiliated poll watcher was wrongfully denied entry to a

   Pennsylvania polling station. This content was then reframed to falsely claim that this was

   evidence of illegal actions taking place in the polling station. While the video does show a poll

   watcher being denied, it lacked broader context as to the reason for denial, which was not

   politically motivated.” Scully Ex. 1 at 203 (185).

           1206. The EIP admits that it focuses on speech from the “political right” because it
   believes that the right spreads misinformation: “Influential accounts on the political right … were
   responsible for the most widely spread of false or misleading information in our dataset. Right-
   leaning accounts also more frequently augmented their misinformation posts with narrative-related
   hashtags … which persisted across multiple incidents and were shared millions of times in our
   dataset.” Id. at 204-05 (186-87).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “focusing” on

   speech from the “political right.” The cited document does not support that characterization.

   Rather, the EIP report reflects that it examined both “left-leaning” and “right-leaning” tweets and

   social media posts. Scully Ex. 1 at 202 (184). The EIP report found that “influential accounts

   associated with the U.S. right shared more incidents than the left both by absolute number (151 vs,

   119 tickets) and by the total number of times there were retweeted in these incidents (17.8 million

   vs. 1.9 million retweets).” Id. Based on this data, the EIP report concluded that “[o]ur analysis

   suggests that the primary ‘influencers’ in the online production and dissemination of false and

   misleading narratives about the 2020 election were verified, blue-check accounts belonging to

   partisan media outlets, social media influencers, and political figures. Though false narratives

   occasionally gained traction on the political left, almost all of the most prominent repeat

   spreaders—i.e., the accounts that seeded and disseminated multiple false claims and narratives—

   belonged to conservative and/or pro-Trump individuals and organizations. Members of the Trump

   campaign, including President Trump and his adult sons, played a significant role in the spread of



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   these narratives, which converged around false and misleading claims of voter fraud and sought to

   undermine trust in the results of the election.” Scully Ex.1 at 222-23 (204-05)

          B.      The EIP Targets Plaintiff Jim Hoft and The Gateway Pundit.

          1207. According to the EIP, “[t]he 21 most prominent repeat spreaders on Twitter …
   include political figures and organizations, partisan media outlets, and social media all-stars. …
   [A]ll 21 of the repeat spreaders were associated with conservative or right-wing political views
   and support of President Trump.” Id. at 205 (187).

          RESPONSE: Undisputed, but note that the PFOF omits a portion of the quoted statements.

   The first quoted sentence reads in full: “The 21 most prominent repeat spreaders on Twitter—

   accounts that played a significant role in disseminating multiple false or misleading narratives

   that threaten election integrity—include political figures and organizations, partisan media

   outlets, and social media all-stars.” Scully Ex. 1 at 205 (187) (emphasis added to reflect the omitted

   portion of quote). The second quoted sentence reads in full: “Perhaps a reflection on both the

   nature of information threats to election integrity and our process for identifying them (see

   Chapter 2 for a note on the limitations of our approach, all 21 of the repeat spreaders were

   associated with conservative or right-wing political views and support of President Trump, and all

   featured in the politically ‘right’ cluster in our network graph in Figure 5.1 on the facing page.”

   Id. (emphasis added to reflect the omitted portion of quote).

          1208. The EIP lists The Gateway Pundit as the second-ranked “Repeat Spreader[] of
   Election Misinformation” on Twitter, ranking it above Donald Trump, Eric Trump, Breitbart
   News, and Sean Hannity. Id. at 206 (188) tbl.5.2. In the 2020 election cycle, the EIP flagged The
   Gateway Pundit’s speech in 25 incidents with over 200,000 retweets. Id.

          RESPONSE: Undisputed.

           1209. The EIP claims that “[f]ar-right hyperpartisan media outlets also participated in a
   wide range of [Twitter] incidents, including The Gateway Pundit, which ranked #2 in the dataset.”
   Id. at 206 (188).

          RESPONSE: Undisputed.



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          1210. In addition, the EIP lists The Gateway Pundit’s website as the domain cited in the
   most “incidents”—its website content was tweeted by others in 29,207 original tweets and 840,740
   retweets. Id. at 207 (189) tbl.5.3. The Gateway Pundit ranks above Fox News, the New York Post,
   the New York Times, and the Washington Post on this list. Id.

           RESPONSE: Undisputed.

           1211. In fact, the EIP dedicates an entire subsection of its report to The Gateway Pundit.
   Id. at 214-16 (196-98). The EIP reports that “The Gateway Pundit was among the most active
   spreaders of election-related misinformation in our analyses. … It appeared as a top repeat spreader
   through its website, its Twitter account, its YouTube channel, and its Instagram account.” Id. at
   214 (196).

           RESPONSE: Undisputed.

           1212. The EIP report notes that “Twitter suspended [The Gateway Pundit’s] account on
   February 6, 2021,” indicating that The Gateway Pundit’s deplatforming on Twitter was the result
   of the EIP’s efforts. Id.

           RESPONSE: Disputed to the extent the PFOF claims that The Gateway Pundit’s

   deplatforming on Twitter “was the result of the EIP’s efforts,” as the PFOF cites to no record

   evidence to support that claim. Indeed, the evidence is to the contrary. The EIP report notes that

   Twitter suspended the Gateway Pundit and supports that statement with a citation to a February 6,

   2021, article in Forbes entitled “Twitter suspends ‘Gateway Pundit’ Jim Hoft.” Scully Ex. 1 at 214

   (196), 227 (209). The cited Forbes article quotes a spokesperson for Twitter as follows: “The

   account was permanently suspended for repeated violations of our civic integrity policy.” Ex. 165

   at 2 (AJ Dellinger, Twitter suspends ‘Gateway Pundit’ Jim Hoft, Forbes (Feb. 6, 2021)). The

   Forbes article further states that “Hoft and his publication have been widely criticized for spreading

   false information, including promoting conspiracy theories regarding the outcome of the 2020

   presidential election.” Id.

           1213. The EIP states that “The Gateway Pundit was highly active throughout the election
   lifecycle, including during the weeks leading up to the election, when it repeatedly spread
   content—in distinct information incidents—that sought to undermine trust in mail-in voting
   specifically and the eventual election results more generally.” Id.




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          RESPONSE: Undisputed, and further note that the EIP report found that the Gateway

   Pundit “participated in seeding and spreading misleading information about ballots being

   harvested, chased, dumped, stolen and miscounted. It spread false narratives of election fraud built

   upon misinterpretations of statistics and was active in spreading the false Dominion conspiracy

   theory.” Scully Ex. 1 at 214-15 (196-97).

           1214. According to the EIP, “[o]n Twitter, The Gateway Pundit’s account was highly
   retweeted across 26 different incidents (#2 among repeat spreaders). Evidence from our data
   suggest that its prominence was due both to production of its own material and to amplification
   (via original and quote tweets) of other partisan content.” Id. at 215 (197).

          RESPONSE: Undisputed.

          1215. According to the EIP, “[o]f all the domains linked to in our Twitter data, The
   Gateway Pundit’s website was connected to the largest number of incidents (46) while also
   garnering the most related original tweets (29,207) and retweets (840,750). Their YouTube
   channel appeared in five incidents, and their 13 incident-related videos had more than 4 million
   views on YouTube.” Id. at 215-16 (197-98).

          RESPONSE: Undisputed.

         1216. According to the EIP, “[t]he Gateway Pundit[’s] … Instagram account was tied for
   #2 among repeat spreaders, appearing in 10 incidents for 20 posts that received more than 132,000
   engagements.” Id. at 216 (198).

          RESPONSE: Undisputed.

          C.      The EIP Induces Major Changes in Platform Censorship Policies.

            1217. The EIP notes that “during the 2020 election, all of the major platforms made
   significant changes to election integrity policies, both as the campaigns kicked off and through the
   weeks after Election Day—policies that attempted to slow the spread of specific narratives and
   tactics that could potentially mislead or deceive the public….” Id. at 229 (211).

          RESPONSE: Undisputed, but note that the selectively quoted statement leaves out the

   reason for the changes to the companies’ content moderation policies. The sentence in full reads,

   “Recognizing the heightened rhetoric and the use of mis- and dis-information during the 2020

   election, all of the major platforms made significant changes to election integrity policies, both as



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   the campaigns kicked off and through the weeks after Election Day—policies that attempted to

   slow the spread of specific narratives and tactics that could potentially mislead or deceive the

   public, though the efforts were not always successful.” Scully Ex. 1 at 229 (211) (emphasis added

   reflects the omitted portions of the quotation). In addition, the PFOF cites to no evidence to support

   the claim that the EIP “induce[d]” these reported changes to platforms’ terms of service.

          1218. The EIP notes that “[m]ajor social media platforms such as Facebook, Twitter,
   YouTube, Pinterest, and TikTok introduced changes to their community standards in the months
   leading up to the election and in the aftermath.” Id. at 230 (212).

          RESPONSE: Undisputed, but note that the PFOF cites to no evidence to support the claim

   that the EIP “induce[d]” these reported changes to platforms’ terms of service.

           1219. In particular, starting just over a month after the EIP launched, in “September
   2020,” “[a] number of platforms announced the first updates to election-specific policies: making
   large additions; adding more clarity and specificity; or stating clearly that they will label or remove
   content that delegitimizes the integrity of the election.” Id.

          RESPONSE: Undisputed, but note that the PFOF cites to no evidence to support the claim

   that the EIP “induce[d]” these reported changes to platforms’ terms of service.

          1220. The policy changes reflected that the EIP and the platforms anticipated that they
   would have to target speech by domestic speakers, not supposed “foreign disinformation,” during
   the 2020 election: “[M]uch of the misinformation in the 2020 election was pushed by authentic,
   domestic actors, and platforms shifted their focus to address downstream harms related to the
   content itself. As a result, most subsequent updates introduced policies related to specific content
   categories.” Id. at 231 (213).

          RESPONSE: Disputed to the extent the PFOF’s mischaracterizes the policy changes by

   social media companies as reflecting that the EIP anticipated that it would have to “target speech

   by domestic speakers rather than foreign actors.” The cited part of the EIP report does not support

   that characterization. The quoted language does not discuss the EIP at all, let alone refer to it as

   “targeting” speech by anyone. Nor does the quoted language reflect that social media companies

   were “targeting” speech as opposed to applying their terms of service, to which all users agree.




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           1221. The EIP lobbies platforms to “remove” so-called “repeat spreaders” like The
   Gateway Pundit, and complains that they are not removed often enough: “Despite what appeared
   to be clear policy to penalize or remove repeat spreaders and high-profile disinformation actors,
   platforms appeared to shy away from using this particular intervention. In some cases, this was a
   result of a variety of ‘newsworthiness’ exceptions, which allowed some high-profile repeat
   spreaders, including politicians, to evade bans. Yet many of the repeat spreaders we saw were not
   politicians”—including The Gateway Pundit, among many others. Id. at 233 (215).

          RESPONSE: Disputed. The PFOF’s mischaracterization of the EIP “lobbying” platforms

   to do anything is not supported by the cited portion of the EIP report. Rather, the portion of the

   report cited in the PFOF simply reflects EIP reporting on the various policies and types of actions

   social media platforms take to address content and offers no recommendations or judgments about

   those polices. Scully Ex. 1 at 233 (215).

            1222. The EIP indicates that it will continue its censorship activities in future elections:
   “The next election will have its own unique set of misinformation narratives, yet many of the
   tactics, dynamics, and basic structures of these narratives will likely remain the same.” Id. at 243-
   44 (225-26).

          RESPONSE: Disputed. Although the PFOF accurately quotes a sentence from the EIP

   report, that sentence says nothing about EIP’s intentions for future elections. Rather, the section

   of the EIP report cited in the PFOF concerns “platform policy moving forward.” Scully Ex. 1 at

   234 (225).

           1223. The EIP reinforces this intention by calling for even more aggressive, more
   expansive censorship of social-media speech, including into other areas such as “public health”:
   “Doing nothing is not an option. … Not pursuing structural policy change will accelerate our
   country’s slide toward extremism, erode our shared national and inclusive identity, and propel yet
   more individuals toward radicalization via mis- and disinformation. The problem is larger than
   elections: it spans politics, self-governance, and critical policy areas, including public health.” Id.
   at 251 (233). The EIP acted on this statement promptly by forming the “Virality Project” in 2021.
   See infra.

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as “reinforcing

   this intention” to “continue its censorship activities in future elections” by “calling for even more

   aggressive, more expansive censorship of social-media speech.” The cited evidence does not




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   support that characterization. Rather, the quoted language reflects the EIP’s recommendation for

   the pursuit of “structural policy changes” to avoid “our country’s slide towards extremism,” as

   exemplified by the role mis- and disinformation played in the “violent insurrection at the United

   States Capitol on January 6, 2021.” Scully Ex. 1 at 251 (233).

          1224. The EIP proclaims that the “EIP’s novel structure, enabling rapid-response analysis
   and a multistakeholder reporting infrastructure, could prove effective to many information spaces
   blighted by pervasive misinformation,” in addition to election-related speech. Id. at 259 (241).

           RESPONSE: Undisputed.

           1225. The EIP calls for more aggressive penalties to enforce censorship on social media,
   in language that was copied and parroted by the demands of Jen Psaki and the Surgeon General:
   “Establish clear consequences for accounts that repeatedly violate platform policies.” Id. at 256
   (238). “Prioritize quicker action on verified or influential accounts if they have already violated
   platform policies in the past.” Id. at 257 (239).

           RESPONSE: Disputed to the extent the PFOF mischaracterizes the EIP as calling for more

   “aggressive penalties to enforce censorship on social media,” and mischaracterizing Ms. Psaki and

   the Surgeon General “parroting” the content of this report. The cited report does not support those

   characterizations. Rather, the EIP report offers a list of “recommendations” for social media

   companies, including ones relating to “repeat offenders.” Nothing about these recommendations

   suggest “aggressive censorship”; rather, this reflects a recommendation for social media platforms

   to consistently apply their terms of service, to which all users agree. Furthermore, the PFOF

   provides no evidence that Ms. Psaki or the Surgeon General’s views were taken from the EIP or

   its report.

          1226. The EIP even advocates for an express system of pre-publication approval for
   disfavored speakers—the ultimate prior restraint: “Consider implementing holding areas for
   content from high-visibility repeat spreaders, where content can be evaluated against policy before
   posting.” Id.

           RESPONSE: Disputed to the extent the PFOF mischaracterizes one of the EIP’s

   recommendation as advocating for the “the ultimate prior restraint.” The cited evidence does not



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   support that characterization, which in any event is a legal conclusion rather than a factual

   statement. Defendants address legal arguments in their opposition to Plaintiffs’ preliminary

   injunction motion. In addition, the recommendation cited in the PFOF simply recommends that

   social media platforms apply their terms of service, to which all users agree, to “high-visibility

   repeat spreaders.” Scully Ex. 1 at 257 (239).

          1227. The EIP proclaims that it offers “a whole-of-society response,” in words parroted
   by the Surgeon General’s Health Advisory. Id. at 259 (241).

          RESPONSE: Undisputed that both the EIP’s report and the Surgeon General’s advisory

   urge a “whole-of-society” response, but further note that the PFOF’s characterization that the

   Surgeon General “parroted” the EIP’s response is unsupported by the cited evidence.

          1228. The EIP boasts that “[t]he EIP, in its structure and its operations … united
   government, academia, civil society, and industry, analyzing across platforms, to address
   misinformation in real time.” Id. (emphasis added).

          RESPONSE: Undisputed, but note that this PFOF does not contain evidence that any

   Defendant collaborated with or was “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   § II.F & G., Arg. § II.B.4.c. & e

           1229. The EIP states that “[t]he lessons from EIP should be both learned and applied. The
   fight against misinformation is only beginning. The collective effort must continue.” Id. at 25960
   (241-42).

          RESPONSE: Undisputed.

         1230. The EIP specifically advocates for a broader role for CISA in federal efforts to
   combat election-related “misinformation.” Id. at 252-53 (234-35).

          RESPONSE: Disputed. The EIP did not recommend that CISA have a “broader role” in

   “efforts to combat election-related ‘misinformation.’” Rather, the EIP made three

   recommendations concerning CISA. Scully Ex. 1 at 252-53 (234-35). First, the EIP recommended




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   that the Executive Branch “[s]trenghten interagency coordination by elevating election security as

   a national security priority and reaffirming the critical infrastructure designation for election

   systems, allowing [CISA] to further prioritize resources and support to state and local officials.”

   Id. Second, the EIP recommended that the Executive Branch “[s]olidify clear interagency

   leadership roles and responsibilities,” and that “CISA should remain the lead on domestic

   vulnerabilities and coordination with state and local election officials.” Id. The third EIP

   recommendation concerning CISA was to “[c]reate standards and mechanisms for consistent

   disclosure of mis- and disinformation from foreign and domestic sources, including via CISA’s

   Rumor Control and joint interagency statements related to foreign-based threats.” Id. Furthermore,

   the PFOF cites to no evidence that CISA ever took any action on the EIP recommendation. In

   addition, this PFOF contains no evidence that CISA or any Defendant collaborated with or was

   “pervasive[ly] entwine[d]” with the EIP, PI Supp. at 41. Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ PFOF § II.F., Arg. § II.B.4.c. & e.

             1231. Alex Stamos, the director of the Stanford Internet Observatory who launched the
   EIP, publicly states that virtually all the speech targeted by the EIP is by domestic speakers
   engaging in core political speech. He has publicly stated: “almost all of this is domestic: right? …
   It is all domestic, and the second point on the domestic, a huge part of the problem is well-known
   influencers …. you have … a relatively small number of people with very large followings who
   have the ability to go and find a narrative somewhere, pick it out of obscurity and … harden it into
   these narratives.” Scully Ex. 4, at 5 (Audio Tr. 2).

          RESPONSE: Disputed because there is no “Scully Ex. 4.” Accordingly, the PFOF

   provides no record support for this statement.

          1232. Likewise, on October 3, 2020, at a CISA-hosted cybersecurity conference, Clint
   Watts of the EIP stated that election misinformation “is overwhelmingly more domestic than
   foreign this time around in 2020.” Scully Ex. 3, at 4 (Audio Tr. 2).

          RESPONSE: Disputed because there is no “Scully Ex. 3.” Accordingly, the PFOF

   provides no record support for this statement.



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           1233. At the same conference, Alex Stamos stated: “The bigger issue in 2020, is going to
   be domestic … we have set up this thing called the [E]lection [I]ntegrity [P]artnership, so we went
   and hired a bunch of students. We're working with the University of Washington, Graphika, and
   DFRLab, and the vast, vast majority of the contact we see we believe is domestic. You know, some
   of it you can't tell, but a lot of it is coming from domestic blue checkmark verified elites; right?
   And so I think a much bigger issue for the platforms is elite disinformation. The stuff that is being
   driven by people who are verified that are Americans who are using their real identities.” Id. at 5
   (Audio Tr. 3). He also stated, “the truth is, that the vast majority of these problems or the kind of
   problems in the information environment are domestic problems.” Id. at 6 (Audio Tr. 4).

          RESPONSE: See Defs.’ Resp. to PFOF ¶ 1232.

           1234. Alex Stamos has noted that the fear of government regulation pushes the platforms
   to respond to government pressure and increase censorship. On November 10, 2020, at a
   conference hosted by the Atlantic Council, Alex Stamos stated: “So, you know, on effectively
   pushing the platforms to do stuff … they will always be more responsive in the places that are both
   economically highly important and that have huge potential regulatory impact, most notably right
   now that would be the United States and Europe.” Scully Ex. 4, at 6 (Audio Tr. 3) (emphasis
   added).

          RESPONSE: See Defs.’ Resp. to PFOF ¶ 1231. In addition, disputed to the extent the

   PFOF state that Mr. Stamos has “noted that the fear of government regulation pushes the platforms

   to respond to government pressure and increase censorship.” That characterization is not supported

   by the Mr. Stamos’ alleged quotation.

           1235. On November 17, 2021, at a conference hosted by the Digital Publics Symposium,
   Kate Starbird of CISA’s Subcommittee and the University of Washington’s Center for an Informed
   Public, an EIP participant, stated: “Now fast forward to 2020, we saw a very different story around
   disinformation in the U.S. election. It was largely domestic coming from inside the United States.
   … Most of the accounts perpetrating this … they're authentic accounts. They were often blue
   check and verified accounts. They were pundits on cable television shows that were who they said
   they were … a lot of the major spreaders were blue check accounts, and it wasn't entirely
   coordinated, but instead, it was largely sort of cultivated and even organic in places with everyday
   people creating and spreading disinformation about the election.” Scully Ex. 8, at 4 (Audio Tr. 2).
   She also stated: “So we see this – the disinformation campaign was top down … but this campaign
   was also bottom up with everyday people sharing their own experiences, their own misperceptions
   of being disenfranchised or finding what they thought to be evidence of voter fraud.” Id. at 5
   (Audio Tr. 3). These are the voices that the EIP silenced.

          RESPONSE: See Defs.’ Resp. to PFOF ¶ 1231. Further disputed to the extent the PFOF

   mischaracterizes Ms. Starbird as a member of CISA’s Subcommittee. CISA’s Cybersecurity




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   Advisory Committee (CSAC), a federal advisory committee governed by the Federal Advisory

   Committee Act, had its inaugural meeting on December 10, 2021, during which the Protecting

   Critical Infrastructure from Misinformation and Disinformation Subcommittee and other

   subcommittees were announced. Ex. 65 at 3-4 (CISA Cybersecurity Advisory Committee,

   December 10, 2021, Meeting Summary (2021)). In addition, CISA’s CSAC Protecting Critical

   Infrastructure from Misinformation and Disinformation Subcommittee disbanded in December

   2022 after completing its taskings. Ex. 187 at 43. Further disputed to the extent the PFOF

   characterizes the EIP as “silenc[ing]” voices. The EIP did no such thing. Rather, the EIP provided

   public factual findings to social media platforms, and had no control over content moderation,

   censorship, or labeling posts. Ex. 74 at 2; Ex. 122 at 6; Ex. 125 at 3. Social media platforms then

   examined any reports sent to them by the EIP to determine if the content was violative of their

   policies and did not act in cases where the platforms determined their existing policies were not

   violated. Ex. 74 at 2; Ex. 125 at 3; Ex. 122 at 6 (stating that EIP’s “researchers made independent

   decisions about what to pass on to platforms, just as the platforms made their own decisions about

   what to do with our tips”). Content moderation decisions were independently made by social media

   platforms, and the EIP did not make recommendations to the platforms about what actions they

   should take. Ex. 74 at 2.

          D.      The Virality Project Expands EIP’s Censorship Work with Federal Officials.

           1236. Soon after the 2020 election cycle, beginning in early 2021, the same four entities
   that launched the Election Integrity Partnership established a similar program to address COVID-
   19-vaccine-related “misinformation” on social media, which they called the “Virality Project.”
   See Scully Ex. 2 (containing Stanford Internet Observatory, et al., The Virality Project, Memes,
   Magnets, and Microchips: Narrative Dynamics Around COVID-19 Vaccines (v.1.0.1 2022),
   https://purl.stanford.edu/mx395xj8490).

          RESPONSE: Undisputed, except to clarify that in addition to the four entities that founded

   the Election Integrity Partnership, the Virality Project was co-founded by the National Conference


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   on Citizenship’s Algorithmic Transparency Institute and the New York University’s Tandon

   School of Engineering and Center for Social Media and Politics. Scully Ex. 2 at 1-2.

           1237. The Virality Project’s final report, dated April 26, 2022, lists Renee DiResta as the
   principal Executive Editor, and lists Renee DiResta, Kate Starbird, and Matt Masterson as
   contributors. Scully Ex. 2, at 4 (i).8 Current and former CISA interns Jack Cable, Isabella Garcia-
   Camargo, Pierce Lowary, and Alex Zaheer are listed as “researchers and analysts” who
   participated in social-media “monitoring” for the project. Id.

            RESPONSE: Disputed in part. First, Plaintiffs’ claim that Jack Cable, Isabella Garcia-

   Camargo, Pierce Lowary and Alex Zaheer are “current” CISA interns is contradicted by the record.

   Mr. Cable worked at CISA as an election security technical advisor from June 2020 to January

   2021. Scully Dep. 195:17-21. Ms. Garcia-Camargo was a CISA intern in the summer of 2020. Id.

   at 186:3-9. Messrs. Lowary and Zaheer also interned at CISA in during the 2020 election cycle.

   Id. at 185:12-19. Mr. Zaheer is currently employed by CISA as a junior analyst. Id. at 43:14-22.

   The Virality Project issued its report in 2022, well after these individuals interned at CISA. Scully

   Ex. 2, at unnumbered pages 2-3. In addition, Matt Masterson was not a CISA employee at the time

   the Virality Project issued its report. Mr. Masterson left CISA in January 2021, Scully Dep. 88:21-

   25. Finally, the Virality Project’s final report lists three executive editors: Renee DiResta, Elena

   Cryst, and Lily Meyersohn. Scully Ex. 2, at 4(i).

          1238. The same four entities that operated the EIP launched the Virality Project (“VP”)
   in 2021: Stanford Internet Observatory, University of Washington’s Center for an Informed Public,
   Graphika, and the Atlantic Council’s Digital Forensics Research lab. Id. at 8-9 (1-2). Three new
   nonprofit entities were added as well. Id.

            RESPONSE: Undisputed.

           1239. According to its report, “[t]he VP team developed technology to identify emerging
   narratives, to understand what communities they appeared within, and to gauge their scope, speed,
   and spread. In addition, the analysts assessed social media platforms’ published policies to
   understand how (if at all) platforms might limit or action the spread of misleading vaccine-related


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          Citations of this exhibit are formatted “Scully Ex. 2, at [page of exhibit] ([page of report]).


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   content.” Id. at 9 (2). As discussed below, like the EIP, the VP took action to push “platforms [to]
   limit or action the spread of misleading vaccine-related content.” Id.

          RESPONSE: Disputed in part. Plaintiffs mischaracterize the Virality Project report, which

   did not discuss actions to “push” social media companies to limit or action the spread of

   misinformation. Rather, the Virality Project report states that “the analysts assessed social media

   platforms’ published policies to understand how (if at all) platforms might limit the spread of

   misleading vaccine-related content.” Scully Ex. 2 at 9(2); see also Ex. 74 at 3-4 (stating that

   “[r]ather than attempting to censor speech, the VP’s goal was to share its analysis of social media

   trends so that social media platforms and public health officials were prepared to respond to widely

   shared narratives,” and that “[d]ecisions to remove or flag tweets were made by Twitter.”).

           1240. According to the VP, “[v]accine mis- and disinformation was largely driven by a
   cast of recurring actors,” including “long-standing anti-vaccine influencers and activists, wellness
   and lifestyle influencers, pseudomedical influencers, conspiracy theory influencers, right-leaning
   political influencers, and medical freedom influencers.” Id.

          RESPONSE: Undisputed, except to note that the Virality Project report also notes that the

   recurring actors included “[f]oreign actors in China, Russia, and Iran,” which “took a full-spectrum

   propaganda approach, spanning both media and social media, to influence vaccine conversations

   in the U.S. and around the world.” Scully Ex. 2 at 9(2).

           1241. Like the EIP, the VP admits that the speech it targets is heavily speech by “domestic
   actors,” i.e., American citizens: “Foreign … actors’ reach appeared to be far less than that of
   domestic actors.” Id.

          RESPONSE: Disputed. Plaintiffs’ characterization of the VP or the EIP as “target[ing]”

   speech is unsupported by the evidence cited or by the record as a whole.

          1242. Like the EIP, the VP indicates that it pushes platforms to adopt more aggressive
   censorship policies on COVID vaccine-related content: “While online platforms have made
   progress in creating and enforcing vaccine related policies, gaps still exist.” Id. at 10 (3).




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          RESPONSE: Disputed. Plaintiffs statement that either the EIP or the VP “pushes

   platforms to adopt more aggressive censorship policies on COVID vaccine-related content” is

   unsupported by the evidence cited and by the record as a whole. The portion of the report Plaintiffs

   cite to addresses “key takeways” from its project, one of which was that “[w]hile online platforms

   have made progress in creating and enforcing vaccine-related policies, gaps still exist.” Scully Ex.

   2 at 10(3).

          1243. Like the EIP, the VP notes that it did not only observe and report on misinformation
   but took action to stop the spread of misinformation: “Detection, however, was only part of the
   work. The Virality Project also sought to relate its findings to the public and to stakeholders in
   public health, government, and civil society.” Id.

          RESPONSE: Disputed. Plaintiffs’ statement that “[l]ike the EIP, the VP notes” that it

   “took action to stop the spread of misinformation” is not supported by the quotation in the cited

   document or by the record as a whole.

            1244. The VP indicates that it should increase the efficiency of having “government
   partners” share “tips” of misinformation with entities like the VP, stating that “[r]esearch
   institutions” should “[s]treamline a tip line process to make it easy for civil society and government
   partners to share observations. Establish a feedback loop to discuss what types of analysis or tips
   are most relevant.” Id.

          RESPONSE: Disputed because is mischaracterizes the cited evidence. The Virality

   Project report recommended that “research institutions that study social media” could “help civil

   society and government partners better understand the dynamics of emerging narratives through

   their visibility into public data platforms,” including by “[s]treamlin[ing] a tip line process to make

   it easy for civil society and government partners to share observations.” Scully Ex. 2 at 10(3).

   Regardless, this PFOF contains no evidence that Defendants worked or collaborated with the

   Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.




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           1245. The VP strives to “[d]evelop and maintain clear channels of communication that
   enable federal, state, and local agencies to understand and learn from what might be happening in
   other regions. Federal Information Sharing and Analysis Centers (ISAC) are one path forward.”
   Id. at 11 (4).

          RESPONSE: Disputed because it mischaracterizes the evidence. The quoted passage does

   not relate to what the Virality Project “strives” to do, but rather reflected one of its “key

   recommendations” for what “federal, state, and local leaders” should do. Scully Ex. 2 at 11(4).

   Regardless, this PFOF contains no evidence that Defendants worked or collaborated with the

   Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1246. The VP recommends that the federal government “[i]mplement a Misinformation
   and Disinformation Center of Excellence housed within the Cybersecurity and Infrastructure
   Security Agency.” Id.

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1247. The VP states that social-media “[p]latforms owe the public transparency and
   accountability as they face the challenges of deciding what to surface, what to curate, and how to
   minimize the virality of harmful false claims. Tech platform policies against public health
   misinformation should be clear and precise, and their enforcement should be consistently applied.”
   Id. (emphasis added). The Surgeon General copied this messaging verbatim in his Health
   Advisory, which he launched at the VP.

          RESPONSE: The first sentence is undisputed. The second sentence is disputed, as the

   Surgeon General’s advisory pre-dates the Virality Project report; he therefore could not have

   “copied” it. See Waldo Ex. 11 at 1 (Surgeon General’s Health Advisory, dated 2021); Scully Ex.

   2 at 2 (Virality Project report dated 2022). Furthermore, Dr. Murthy spoke at an event hosted by

   the Stanford Internet Observatory in July 2021 in connection with the rollout of the Advisory; the

   Office of the Surgeon General did not understand it to be a Virality Project event. Lesko Decl. ¶ 15




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   (Ex. 63). This PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1248. The VP calls for more aggressive censorship of COVID-19 “misinformation,”
   stating: “To these ends, platforms should: Consistently enforce policies, particularly against
   recurring actors,” and “Continue to improve data sharing relationships with researchers.” Id. The
   emphasis on “data sharing relationships” is directly echoed in the White House’s and the Surgeon
   General’s demands that platforms share their internal data with researchers.

          RESPONSE: Disputed to the extent Plaintiffs characterize the Virality Project’s

   recommendation as calling for “more aggressive censorship,” which is unsupported by the cited

   evidence or the record as a whole. Rather, the record reflects that the Virality Project recommends

   to social media companies that they “consistently enforce” their content moderation policies, to

   which all users agree. Scully Ex. 2 at 11(4). Furthermore, the Virality Project “did not censor or

   ask social media platforms to remove any social media content regarding coronavirus side effects.”

   Ex. 74 at 3. “Decisions to remove or flag tweets were made by Twitter.” Id. at 4. In addition,

   Plaintiffs’ claim that the White House and Surgeon General’s comments “echo” the Virality

   Project has the timing backwards, as the Virality Project’s 2022 report post-dates the Surgeon

   General’s Health Advisory and the White House’s comments. See Waldo Ex. 11 at 1 (Surgeon

   General’s Health Advisory, dated 2021); Scully Ex. 2 at 2 (Virality Project report dated 2022).

   This PFOF contains no evidence that Defendants worked or collaborated with the Virality Project

   to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1249. The VP boasts that the “Office of the Surgeon General incorporated VP’s research
   and perspectives into its own vaccine misinformation strategy,” and specifically cites the Surgeon
   General’s Health Advisory on this point. Id. at 11 (4) & 13 (6) n.5 (citing Off. U.S. Surgeon Gen.,
   Confronting Health Misinformation: The U.S. Surgeon General’s Advisory on Building a Healthy
   Information Environment (July 15, 2021), https://hhs.gov.sites.default.files.surgeon.general-
   misinformation-advisory.pdf).



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           RESPONSE: Undisputed, but note that of the 62 sources cited in the Surgeon General’s

   Advisory, it cites to the Virality Project’s research only once. Waldo Ex. 11 at 22. Moreover, this

   PFOF contains no evidence that Defendants worked or collaborated with the Virality Project to

   achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1250. “Over the course of its seven months of work, the Virality Project observed
   narratives that questioned the safety, distribution, and effectiveness of the vaccines.” Id. at 11 (4).

           RESPONSE: Undisputed.

           1251. Like the EIP, the VP states that “[t]he enormity of the challenge demands a whole-
   of-society response,” id. at 12 (5) (emphasis added), and calls for more federal agencies to be
   involved through “cross-agency collaboration,” id. The Surgeon General adopted and echoed the
   VP’s call for a “whole-of-society” response.

           RESPONSE: Disputed in part because it mischaracterizes the record. The Virality Project

   report did not call for “more government agencies to be involved.” In fact, the Virality Project

   recommended that, “[m]oving forward, there is a need for a non-governmental independent

   research entity to spearhead VP-style collaboration around emerging mis- and disinformation.”

   Scully Ex. 2 at 12(5) (emphasis added). In addition, Plaintiffs’ claim that the Surgeon General

   adopted the Virality Project’s recommendation for a “whole-of-society” approach has the timing

   backwards, as the Virality Project’s 2022 report post-dates the Surgeon General’s Health

   Advisory. See Waldo Ex. 11 at 1 (Surgeon General’s Health Advisory, dated 2021); Scully Ex. 2

   at 2 (Virality Project report dated 2022). Regardless, this PFOF contains no evidence that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg.

   § II.B.4.e.ii.




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          1252. The VP admits that “it was not always clear what was misinformation; in the case
   of the novel coronavirus, it was often simply not yet clear what was true or where scientific
   consensus lay,” id. at 14 (7), and that “[g]round truth about COVID-19 was rapidly evolving, and
   even institutional experts were not always aligned on the facts,” id. at 15 (8).

          RESPONSE: Undisputed, except Plaintiffs’ cut off the second of the two sentences they

   cite, thereby taking the sentence out of context. The remainder of the cited sentence stated that

   “however, communicating the most accurate information possible was critically important because

   of the potential significant impact on individual and community health.” Scully Ex. 2 at 15(8).

          1253. According to the VP, “[v]iral posts that claimed to have the answers to the public’s
   most pressing questions appeared online; fact-checkers struggled to evaluate them, and platforms
   wrestled with whether to leave them up or take them down. Social media influencers of varying
   backgrounds debated the merits and efficacy of masking, providing detailed breakdowns of their
   analyses in public posts.” Id.

          RESPONSE: Undisputed.

           1254. The VP attributes opposition to mask mandates and lockdowns to right-wing
   political ideology: “In the months before vaccines or treatments emerged, governments worldwide
   turned to preventative measures such as masking requirements and lockdowns. In the US, these
   measures were quickly framed as affronts to liberty by facets of the US right-wing political
   spectrum, turning individual responses to the virus into a function of political identity.” Id.

          RESPONSE: Undisputed.

           1255. The VP suggests that it flagged for censorship COVID-related posts with enormous
   engagement on social media, reporting for example that “[b]efore the major social media platforms
   began to take down [one] video—which was in violation of their COVID-19 misinformation
   policies—[it] amassed tens of millions of views and was shared into a wide variety of
   communities.” Id. at 16 (9).

          RESPONSE: Disputed because this PFOF mischaracterizes the record. The Virality

   Project report does not state that it “flagged for censorship” or took any action regarding the video

   described in the report. Rather, the report simply conveys the fact that “major social media

   platforms” took down the video. Scully Ex. 2 at 16(9).

          1256. The speech that the VP decries is all quintessential First Amendment–protected
   speech. See, e.g., id. (“Several prominent anti-vaccine activists began to post regularly about
   COVID-19; their followings began to increase, despite prior platform efforts to reduce the spread



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   of false and misleading claims from anti-vaccine figures. As the possibility of a vaccine became
   more of a reality as 2020 progressed, anti-vaccine activists focused on preemptively undermining
   uptake. Several of the vaccines in development used relatively novel mRNA technology, which
   afforded an opportunity to present them as untested, unsafe, rushed, or risky, even to audiences
   who had taken all previously recommended vaccines.”).

          RESPONSE: Plaintiffs’ proposed finding is legal argument rather than a statement of

   fact. Defendants address Plaintiffs’ legal arguments in its opposition to Plaintiffs’ preliminary

   injunction motion.

           1257. “It was against this backdrop” of widespread First Amendment–protected speech
   on social media “that the Virality Project (VP) came together. A collection of research institutions
   had previously collaborated through the Election Integrity Partnership (EIP) to identify and
   understand the spread of election mis- and disinformation in the US during the 2020 presidential
   campaign. In December 2020, these partners jointly observed that the same tactics used to great
   effect during the 2020 election were already in use to expand the spread of COVID-19 vaccine
   mis- and disinformation.” Id.. The VP used the same tactics as the EIP to engage in “rapid
   response” to misinformation: “The Project’s broad array of institutions enabled information
   sharing and rapid response when false and misleading information percolated across social
   platforms.” Id. (emphasis added).

          RESPONSE: Undisputed except the attempt for Plaintiffs’ characterization of the Virality

   Project using the “same tactics as the EIP,” which is not supported by the cited evidence or the

   record as a whole.

          1258. The VP was overtly biased against “anti-vaccine” viewpoints from the beginning:
   “The Project’s original framing document articulated the threat: A surge of anti-vaccine
   disinformation will pose significant challenges to the rollout and public adoption of COVID-
   19 vaccines in the United States.” Id. (bold in original).

          RESPONSE: Undisputed except for the characterization of the Virality Project as being

   “overtly biased” against “anti-vaccine” viewpoints, which is not supported by the cited evidence

   or the record as a whole.

           1259. Just like the EIP, the VP boasts that it is a “multistakeholder collaboration” that
   includes “government entities” among its key stakeholders: “The Virality Project adopted a
   multistakeholder collaboration with civil society organizations, social media platforms, and
   government entities to respond to mis and disinformation around the novel vaccines.” Id. at 17
   (10) (emphasis added).




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           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1260. “The research institutions that comprised the Election Integrity Partnership—the
   Stanford Internet Observatory, the University of Washington’s Center for an Informed Public, the
   Atlantic Council’s Digital Forensic Research Lab, and Graphika—along with new partners the
   National Conference on Citizenship (NCoC)’s Algorithmic Transparency Institute and New York
   University’s Center for Social Media and Politics and Tandon School of Engineering—all elected
   to participate in this new initiative: the Virality Project.” Id.

           RESPONSE: Undisputed.

           1261. The VP report complains that “the internet has no editorial gatekeepers.” Id. at 18
   (11).

           RESPONSE: Undisputed, except for the characterization of the VP’s observation as a

   complaint, which is unsupported by the cited evidence or the record as a whole.

        1262. The VP decries the influence of “social media influencers” such as “Doctors” and
   “Mommy Bloggers.” Id. at 19 (12).

           RESPONSE: Undisputed, except for Plaintiffs’ characterization of the VP’s observation

   as “decry[ing]” certain parties’ “influence.” In addition, Plaintiffs omit material context. The

   Virality Project report states that scholars have “documented the unique actors and tactical

   mechanisms by which anti-vaccine activists have expanded their activities on social media

   specifically,” and that “[t]heir mechanisms rely on a set of social media influencers” that a scholar

   “divided into five distinct groups,” including: “The Doctors, The Celebrity, The Organizers, The

   ‘Mommy Bloggers,’ and The Opportunists.” Scully Ex. 2 at 19 (12).

           1263. According to the VP, “[t]hese influencers have adopted the best practices of
   communication in the internet age, and their effectiveness in drawing in online users is made
   evident by the mass followings they have acquired across social media sites: platforms as varied
   as Pinterest, Instagram, and YouTube…” Id.

           RESPONSE: Undisputed.




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           1264. The VP targets misinformation “tactics” that involve speech that the VP does not
   contend is false or even falsifiable. It states that speakers “use tactics that have persisted over time,
   many of which have been used in service of spreading mis- and disinformation in contexts beyond
   the vaccine conversation; for example, the Election Integrity Partnership observed several of these
   tactics during the lead-up to the 2020 US election.” Id.

           RESPONSE: Undisputed that the VP report contains the quoted language. Dispute

   Plaintiffs’ insinuation that the Virality Project “targets” for censorship “speech that the VP does

   not contend is false or even falsifiable” as a characterization unsupported by the cited evidence or

   the record as a whole.

           1265. These “tactics” include such things as “Hard-to-Verify Content: Using content
   that is difficult to fact-check or verify, such as personal anecdotes”; “Alleged Authoritative
   Sources: Using or pointing to information from an alleged public health official, doctor, or other
   authoritative source”; “Organized Outrage: Creating events or in-person gatherings, or using or
   co-opting hashtags”; and “Sensationalized/Misleading Headlines: Using exaggerated, attention-
   grabbing, or emotionally charged headlines or click-bait.” Id. (bold in original). Notably, none of
   these “tactics” involves false speech, and all are protected by the First Amendment.

           RESPONSE: Undisputed, except as follows. First, Plaintiffs do not provide the full

   definition of “Hard-to-Verify Content,” which includes “deep fakes, content discussing

   information from a ‘friend-of-a-friend,’ or opaque scientific information or analysis (either

   original or doctored in a misleading way.” Waldo Ex, 2 at 19 (12). The last sentence is legal

   argument rather than a statement of fact. Defendants address Plaintiffs’ legal arguments in their

   opposition to Plaintiffs’ preliminary injunction motion.

           E.      The Virality Project Targets Plaintiff Jill Hines and Health-Freedom Groups.

            1266. According to the VP report’s taxonomy, Plaintiff Jill Hines, the founder of Health
   Freedom Louisiana, constitutes a “medical freedom influencer[]” who engages in the “tactic” of
   “Organized Outrage” simply because she “create[ed] events or in-person gatherings” to oppose
   mask and vaccine mandates in Louisiana. See id. at 9, 19 (2, 12) (bold in original). But this “tactic”
   is First Amendment–protected activity.

           RESPONSE: Disputed. The Virality Project report does not mention either Ms. Hines or

   Health Freedom Louisiana. If Plaintiffs contend that the Virality Project’s general description of




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   individuals who engage in the tactics of “Organized Outrage” encompasses the conduct of Ms.

   Hines or Health Freedom Louisiana, this is argument and a characterization of the facts lacking

   evidentiary support. In addition, the second sentence states a conclusion of law rather than a fact.

   Defendants address Plaintiffs’ legal arguments in their opposition to Plaintiffs’ motion for

   preliminary injunction.

          1267. Another “tactic” decried by the VP is “Group super-spreader: An individual
   account sharing posts into multiple online groups.” Id. at 20 (13) (bold in original). This is also
   quintessential First Amendment expression.

          RESPONSE: The first sentence is undisputed except Plaintiffs’ characterization that the

   VP report “decrie[s]” the referenced tactic. That characterization is unsupported by the cited

   evidence or the record as a whole. The second sentence states a conclusion of law rather than a

   fact. Defendants address Plaintiffs’ legal arguments in their opposition to Plaintiffs’ motion for

   preliminary injunction.

           1268. The VP report repeatedly emphasizes the problem of “health freedom” or “medical
   freedom influencers” like Plaintiff Jill Hines. It identifies “Liberty” as a “trope” of social-media
   disinformation: “Liberty: Individuals have the right to ‘health freedom’; no government or
   employer should be able to tell people what to put in their bodies.” Id. (italics in original) (bold
   added).

          RESPONSE: Disputed to the extent Plaintiffs’ PFOF omits context, as the description of

   “health freedom” is made in the context of a discussion of a 2017 article identifying the types of

   claims made by the “anti-vaccine movement.” Waldo Ex. 28 at 20(13).

          1269. The VP also identifies political and religious opinions—including well-established
   and widespread views—as “themes” and “tropes” of anti-vaccine “misinformation,” such as:
   “Distrust of industry: Vaccines are produced by profit-motivated pharmaceutical companies that
   have repeatedly concealed harm in pursuit of profit”; “Religiosity: Vaccines contain materials that
   are objectionable on religious grounds”; and “Conspiracy: … Governments have covered up
   information proving vaccines are dangerous, [and] Doctors and politicians who advocate for
   vaccines have been bought off by ‘Big Pharma.’” Id.




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          RESPONSE: Undisputed to the extent that Plaintiffs’ PFOF quotes from the VP report.

   Dispute Plaintiffs’ characterizations of the quoted themes as “well-established and widespread

   views” as unsupported by the cited evidence or the record as a whole. Also note that whether those

   views are “well-established” or “widespread” is immaterial to this case.

           1270. Like the EIP, the VP agrees that government pressure pushes social-media
   platforms to adopt more aggressive censorship policies: “Platforms had started adapting their
   policies to address vaccine misinformation in early 2019, spurred by public outcry, negative press
   coverage, and government inquiries…” Id. at 21 (14) (emphasis added).

          RESPONSE: Disputed to the extent Plaintiffs’ PFOF characterizes the report’s reference

   to “government inquiries” as “government pressure [that] pushes social-media platforms to adopt

   more aggressive censorship policies.” That characterization is unsupported by the cited evidence

   or the record as a whole. Plaintiffs also selectively quote the Virality Project report. The complete

   sentence Plaintiffs quote from is as follows: “Platforms had started adapting their policies to

   address vaccine misinformation in early 2019, spurred by public outcry, negative press coverage,

   and government inquires resulting from measles outbreaks across the world.” Waldo Ex. 28 at

   21(14) (emphasis added).

          1271. The VP boasts that its “analysts had to develop a nuanced and nimble understanding
   of what content constituted policy violations”—evidently because it was flagging content to
   platforms for censorship in real time. Id. at 21-22 (14-15).

          RESPONSE: Disputed to the extent Plaintiffs assert that the Virality Project “evidently”

   “was flagging content to platforms for censorship in real time.” That assertion is unsupported by

   the cited evidence or the record as a whole. Rather, than “attempting to censor speech, the VP’s

   goal was to share its analysis of social media trends so that social media platforms and public

   health officials were prepared to respond to widely shared narratives.” Ex. 74 at 3-4. “Decisions

   to remove or flag tweets were made by Twitter.” Id. at 4.




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           1272. The VP extensively monitored and tracked Americans’ speech about COVID-19
   and vaccines on social media: “To surface in-scope content, VP’s team of analysts were divided
   into topical detection teams, referred to as pods…. These pods … enabled analysts to develop and
   ensure sustained familiarity with how the COVID-19 vaccine conversation was evolving within
   particular communities on public platforms.” Id. at 22 (15).

          RESPONSE: Dispute Plaintiffs’ characterization that the “VP extensively monitored and

   tracked Americans’ speech about COVID-19 and vaccines on social media.” That assertion is

   unsupported by the cited evidence or the record as a whole.

           1273. This monitoring involved VP analysts reading and searching Americans’ social-
   media accounts in real time: “Analysts in each pod assessed emerging narratives that were within
   scope … , surfacing content both via qualitative observation of the pages and accounts, and by
   using lists of common terms associated with vaccine hesitancy and long-standing anti-vaccine
   rhetoric.” Id.

          RESPONSE: Dispute Plaintiffs’ characterization that VP analysts were reading and

   searching Americans’ (public-facing) social-media accounts “in real time.” That assertion is

   unsupported by the evidence cited or the record as a whole.

           1274. The VP states that “Anti-vaccine activists and influencers, including those
   discussed in the Center for Countering Digital Hate’s ‘Disinformation Dozen’ Report … surfaced
   the greatest amount of content …” Id. at 23 (16).

          RESPONSE: Undisputed.

           1275. This covert monitoring of Americans’ online speech about vaccine was extensive,
   sophisticated, and adaptive: “At the beginning of the project, analysts used broad search terms
   (“vaccine,” “jab”) to surface relevant content and incidents (specific events or stories), but
   gradually began to incorporate a combination of machine learning and hand coding to identify
   additional recurring narratives relevant to the four in-scope categories. This included terms related
   to medical freedom under “Vaccine Distribution,” or severe adverse effects and death under
   “Vaccine Safety,” among others. As narratives and new keywords emerged throughout the analysis
   period, analysts continually refined their searches.” Id.

          RESPONSE: Dispute Plaintiffs’ characterization of searches that VP analysts conducted

   of public-facing social-media accounts as “covert monitoring of . . . speech.” That characterization

   is unsupported by the cited evidence or the record as a whole.




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           1276. This mass-social-media-surveillance project included federal agencies as key
   “stakeholders”: “The Virality Project established a nonpartisan, multi-stakeholder model
   consisting of health sector leaders, federal health agencies, state and local public health officials,
   social media platforms, and civil society organizations. These stakeholders provided tips,
   feedback, and requests to assess specific incidents and narratives, and each entity type brought
   specific expertise to bear on understanding COVID-19 vaccine hesitancy.” Id. at 24 (17).

           RESPONSE: Dispute Plaintiffs’ insinuation that the Virality Project conducted or that

   federal agencies participated in a “mass-social-media-surveillance project.” That characterization

   is unsupported by the cited evidence or the record as a whole. In addition, the Office of the Surgeon

   General never provided any tip, flag, ticket, report, or other form of notification or input to the

   Virality Project concerning posts or accounts on social media. Lesko Decl. ¶ 16 (Ex. 63).

   Moreover, this PFOF contains no evidence that Defendants worked or collaborated with the

   Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1277. Thus, the VP’s “multi-stakeholder model” included government agencies and
   officials, including “federal health agencies” and “state and local public health officials,” working
   alongside “social media platforms” to combat vaccine-related “misinformation.” Id.

           RESPONSE: Disputed to the extent Plaintiffs’ PFOF is intended to suggest that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ PFOF

   Defs.’ Arg. § II.B.4.e.ii.

           1278. The government “stakeholders” such as “federal health agencies” and “state and
   local public health officials” were among those who “provided tips” and “requests to assess
   specific incidents and narratives,” i.e., flagging content for social-media censorship. Id.

           RESPONSE: Disputed to the extent Plaintiffs’ PFOF is intended to suggest that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” The

   Office of the Surgeon General never provided any tip, flag, ticket, report, or other form of

   notification or input to the Virality Project concerning posts or accounts on social media. Lesko



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   Decl. ¶ 16 (Ex. 63). Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ Arg. § II.B.4.e.ii.

            1279. The VP emphasizes the role of “Federal government agencies” in the VP, including
   the CDC and the Office of Surgeon General: “Federal government agencies served as
   coordinators for national efforts. The Virality Project built strong ties with several federal
   government agencies, most notably the Office of the Surgeon General (OSG) and the CDC, to
   facilitate bidirectional situational awareness around emerging narratives. The CDC’s biweekly
   “COVID-19 State of Vaccine Confidence Insights” reports provided visibility into widespread
   anti-vaccine and vaccine hesitancy narratives observed by other research efforts.” Id. (bold in
   original).

          RESPONSE: Undisputed that the PFOF accurately quotes portions of the Virality Project

   report. However, this PFOF contains no evidence that Defendants worked or collaborated with the

   Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1280. Social media platforms served as stakeholders alongside federal and state officials:
   “Platforms were the final stakeholders in the VP effort. Six social media platforms engaged with
   VP tickets—Facebook (including Instagram), Twitter, Google (including YouTube), TikTok,
   Medium, and Pinterest—acknowledging content flagged for review and acting on it in accordance
   with their policies. On occasion, platforms also provided information on the reach of narratives
   previously flagged by VP, which provided a feedback loop leveraged to inform the Project’s
   understanding of policies and ongoing research.” Id. at 25 (18) (bold in original) (italics added).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1281. Thus, the VP openly proclaims that it “flagged” “content … for review” to
   platforms to “act[] on it in accordance with their policies.” Id. Government officials provided
   “tips” to the VP about misinformation on social media, and the VP flagged it for platforms for
   censorship.

          RESPONSE: Disputed to the extent Plaintiffs’ PFOF is intended to suggest that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any




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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg.

   § II.B.4.e.ii.

            1282. The VP emphasizes the importance of federal officials and social-media platforms
   in its collaboration on censorship: “As the effort progressed, input from these partners was crucial
   in defining the VP’s output formats and in surfacing where the impacts of vaccine mis- and
   disinformation were being felt offline.” Id.

           RESPONSE: Disputed to the extent Plaintiffs’ PFOF is intended to suggest that

   Defendants worked with the Virality Project “in [a] collaboration on censorship.” Any assertion

   to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. §

   II.B.4.e.ii.

           1283. The VP engaged in continuous, ongoing communication with federal officials,
   platforms, and other stakeholders: “The Virality Project delivered 31 weekly briefings focused on
   increasing situational awareness and enabling the stakeholders working on countering vaccine mis-
   and disinformation to develop the most effective possible response.” Id.

           RESPONSE: Disputed that the Virality Project was “engaged in continuous, ongoing

   communication with federal officials.” That assertion is unsupported by the cited evidence or the

   record as a whole. In addition, this PFOF contains no evidence that Defendants worked or

   collaborated with the Virality Project to achieve “censorship goals.” Any assertion to that effect

   is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1284. The VP boasts that it “provided strategic insights” to federal officials in combating
   misinformation: “Briefings directly informed counter-messaging efforts by public health
   stakeholders … and public health officials (for example, the CDPH), and provided strategic
   insights to government entities such as the OSG, CDC, and the Department of Health and Human
   Services.” Id. (emphasis added).

           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.




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           1285. Further, the “Stanford Internet Observatory and the Virality Project also hosted
   Surgeon General Vivek Murthy for a seminar on vaccine mis- and disinformation, including the
   rollout of the Surgeon General’s advisory on health misinformation.” Id. at 27 (20).

           RESPONSE: Disputed to the extent the Office of the Surgeon General did not understand

   the seminar to be a Virality Project event rather than an event hosted by the Stanford Internet

   Observatory. Lesko Decl. ¶ 15 (Ex. 63). Moreover, this PFOF contains no evidence that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg.

   § II.B.4.e.ii.

           1286. Like the EIP, the VP used “tickets” to track social-media narratives, where each
   “ticket” could encompass many postings: “As part of the Virality Project, analysts created tickets
   documenting URLs of in-scope content. In total, 911 tickets were created, tracking both specific
   pieces of misinformation and broader narratives. At the end of the monitoring period, analysts had
   created 845 tickets tracking specific vaccine misinformation incidents (events or pieces of content)
   and 66 tickets tracking broad narratives.” Id. at 34 (27).

           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1287. The VP aimed, not just to track, but to “respond to” misinformation: “The Virality
   Project operated with a team of analysts drawn from across the partner organizations. Workflows
   were designed to detect, analyze, and respond to incidents of COVID-19 vaccine-related
   disinformation in online ecosystems.” Id. (emphasis added).

           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1288. “From February to August 2021, VP analysts systematically monitored activity
   across social media platforms to document emerging narratives and trends in public discourse
   while also tracking the popularity and spread of older content.” Id. (emphasis added).




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          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1289. “The [VP] used the Jira Service Desk software to log mis- and disinformation
   incidents that were determined to be in scope for specific areas of the public COVID-19-related
   conversation. For each single incident of anti-vaccine mis- or disinformation surfaced during
   monitoring, an analyst filed a ticket that provided a brief description of the incident, including
   engagement numbers at the time of creation and links to relevant social media posts.” Id. at 35
   (28).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1290. The VP boasts that it targeted online speech for censorship before it could go viral,
   thus imposing massive prior restraints on the amplification of targeted content: “Tickets also
   enabled analysts to quickly tag platform or health sector partners to ensure their situational
   awareness of high-engagement material that appeared to be going viral, so that these partners
   could determine whether something might merit a rapid public or on-platform response (such as
   a label).” Id. at 37 (30) (emphasis added).

          RESPONSE: Undisputed that the Virality Project report contains the quoted statement.

   Plaintiffs’ reference to “prior restraints” constitutes a legal conclusion rather than a factual

   statement. Defendants respond to Plaintiffs’ legal arguments in their opposition to Plaintiffs’

   preliminary injunction motion. In addition, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1291. The VP reported the content in 174 “tickets” to social-media platforms for
   censorship: “Managers gave all incident analyses a final review for quality-control purposes, to
   determine appropriate next steps and to make a final decision about whether tickets should be
   shared with external stakeholders. Of the 911 incidents monitored, 174 were referred to platforms
   for potential action.” Id. (emphasis added).




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           RESPONSE: Dispute Plaintiffs’ characterization of the purpose of the Virality Project’s

   reporting as “censorship” rather than the application of social-media companies’ own content-

   moderation policies, to which all users agree. In addition, this PFOF contains no evidence that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any

   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg.

   § II.B.4.e.ii.

           1292. Like the EIP, the VP appears to have had direct access to Twitter’s and YouTube’s
   internal data about speech spreading on its platform, but not Facebook’s: “The engagement data
   or video view data for links associated with each ticket was collected differently depending on the
   social media platform in question: Facebook and Instagram: CrowdTangle API; Twitter: Twitter
   API…” Id. at 38 (31).

           RESPONSE: Disputed. Plaintiff’s assertion that the Virality Project had “direct access to

   Twitter’s and YouTube’s internal data” is unsupported by the evidence cited. Moreover, this PFOF

   contains no evidence that Defendants worked or collaborated with the Virality Project to achieve

   “censorship goals.” Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1293. Like the Surgeon General and the White House, the VP complains that the
   platforms must make their internal data more available to VP: “Due to limited transparency from
   social media platforms, engagement is the closest proxy researchers can use to understand what
   content users are seeing on social media platforms. Metrics such as impression counts are generally
   unavailable to outside researchers.” Id.

           RESPONSE: Undisputed that the Virality Project report contains the quoted statement.

   Plaintiffs’ characterization of that observation as a “complaint” is unsupported by the cited

   evidence. In addition, the quoted portion of the Virality Project report does not reflect that the

   Virality Project “complain[ed]” that social media platforms should make their internal data

   available to the Virality Project, as opposed to researchers in general. In addition, this PFOF

   contains no evidence that Defendants worked or collaborated with the Virality Project to achieve




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   “censorship goals.” Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1294. The VP’s monitoring tracked content with about 6.7 million engagements on social
   media per week, or over 200 million over the seven months of the reported project: “Average
   weekly engagement with content tracked across all Virality Project tickets was 6.7 million.” Id.
   at 39 (32).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1295. The vast majority of speech flagged and tracked by the VP was not false or incorrect
   speech: “The most commonly employed tactics were Hard-to-Verify Content and Alleged
   Authoritative Source.” Id. at 41 (34); see also id. at 42 (35) fig.2.6 (showing predominance of
   these two “tactics”).

          RESPONSE: Disputed as unsupported by the cited evidence. The labels given to the

   referenced tactics, “Hard-to Verify Content and Alleged Authoritative Source,” say nothing about

   the truth or falsity of the speech in those categories, which in any event is immaterial to this case.

   Moreover, this PFOF contains no evidence that Defendants worked or collaborated with the

   Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and

   contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1296. According to the VP, “[o]f the engagement captured by tickets, more than a third
   came from content primarily spread by accounts that demonstrated recurring success making
   content go viral; we refer to them here as ‘recurring actors.’” Id. at 41 (34).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

            1297. The VP boasts that it induced “platform action” against such “recurring actors” in
   2021: “Recurring actors drove a majority of engagement in the first half of the study period, but
   fell off in importance after that, most likely due to platform action against certain users beginning
   in the late spring of 2021.” Id. at 43 (36).



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             RESPONSE: Disputed. The quoted statement does not state or support the assertion that

   the Virality Project “induced” the referenced “platform action.” Moreover, this PFOF contains no

   evidence that Defendants worked or collaborated with the Virality Project to achieve “censorship

   goals.” Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ Arg. § II.B.4.e.ii.

          1298. Like Jennifer Psaki at the White House, the VP repeatedly cites the Center for
   Countering Digital Hate’s report on the “Disinformation Dozen.” Id. at 23 & 32 n.43, 43 & 48
   n.7, 111 & 129 n.179. 9

             RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1299. “Four distinct weeks during the monitoring period had incidents observed by
   Virality Project analysts that generated more than 10 million engagements.” Id. at 43 (36).

             RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1300. One of these “Viral Incidents” tracked by the VP was: “In July, posts went viral
   expressing outrage at attempts by the Biden administration to engage in vaccine outreach.” Id. at
   45 (38). This incident did not involve any vaccine-related misinformation at all, but core political
   speech: “the Biden administration used the phrase ‘door-to-door’ to describe a push for on-the-
   ground community-led efforts to persuade more Americans to get vaccinated. Prominent
   Republican politicians miscast this as a forced vaccination campaign by ‘Needle Nazis’ and a
   prelude to the government knocking on the door to take away guns.” Id. at 46 (39).

             RESPONSE: Undisputed that the Virality Project report contained the quoted statements.

   Plaintiffs’ assertion that the referenced posts “did not involve any vaccine-related misinformation

   at all” is unsupported by the cited evidence; the posts in question are not before the Court. In


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           Report pages 16 & 25 n.43, 36 & 41 n.7, 104 & 122 n.179.


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   addition, Plaintiffs’ reference to “core political speech” constitutes a legal conclusion rather than

   a factual statement. Defendants respond to Plaintiffs’ legal arguments in their opposition to

   Plaintiffs’ preliminary injunction motion. This PFOF, concerning certain posts that the Virality

   Project “tracked,” contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1301. The VP boasts that censorship enforcement was effective, especially in
   “deplatforming” key actors: “The decline of content from recurring actors midway through the
   monitoring period potentially reflects a policy impact, as deplatforming these actors led to an
   apparent reduction in false or misleading content.” Id. at 47 (40).

          RESPONSE: Disputed that the Virality Project’s initiative constituted “censorship

   enforcement.” In addition, this PFOF contains no evidence that Defendants worked or collaborated

   with the Virality Project to achieve “censorship goals.” Any assertion to that effect is unsupported

   by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

         1302. The VP tracked and flagged “Claims that [supposedly] misrepresent … vaccine
   mandates,” not just misinformation about the vaccines. Id. at 50 (43).

          RESPONSE: Disputed. The record reflects only that the Virality Project “followed”

   claims in this category, not that it “flagged” any of them. Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

        1303. According to the VP, “content” that “leveraged decontextualized statistics from the
   US Department of Health and Human Services’ Vaccine Adverse Event Reporting System
   (VAERS) database” is misinformation. Id. at 51 (44).

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in




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   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1304. According to VP, it was also misinformation when true adverse health events from
   vaccines were “shared absent context”: “Rare incidents documenting verified adverse health
   events, including blood clotting and heart inflammation, were shared absent context, often in an
   effort to present them as common and significant risks.” Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1305. According to the VP, discussing “breakthrough” cases and “natural immunity” was
   also misinformation: “False and misleading narratives related to efficacy sought to undermine the
   perceived benefits of vaccines. These narratives included stories of people diagnosed with
   COVID-19 after being vaccinated—“breakthrough” cases, particularly in the time of the Delta
   variant—to promote the idea that the vaccines aren’t effective. Later, the idea that natural
   immunity from infection is superior to immunity from vaccination became a political talking point
   raised repeatedly by right-leaning political influencers, despite inconclusive scientific evidence.”
   Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.




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         1306. According to VP, misinformation also included “discussions of vaccine passports
   and mandates (including months before any state or federal officials began advocating for them).”
   Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1307. The VP also counts as misinformation “claims that the government was headed
   toward mandating an unsafe vaccine.” Id. The government did, of course, eventually mandate the
   vaccines for most Americans.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, the second sentence lacks evidentiary support. Nor do Plaintiffs cite evidence to support

   any suggestion that vaccines mandated by the Government were “unsafe.” In addition, this PFOF

   contains no evidence that Defendants worked or collaborated with the Virality Project to achieve

   “censorship goals.” Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ Arg. § II.B.4.e.ii.

         1308. The VP also treated Americans’ “long-standing mistrust of pharmaceutical
   companies’ profit motives” as part of anti-vaccine misinformation. Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality



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   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1309. “Conspiracy Theories” that “assign blame to … government” are also
   misinformation to be tracked and censored, according to VP. Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1310. According to VP, “personal anecdotes” about “vaccine injuries and severe side
   effects—ranging from rashes, to blood clots, to death” are also misinformation.” Id. at 52 (45).

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1311. “Personal anecdotes often made their way into mainstream media coverage after
   gaining traction online. Distortions of official government statistics—most often from VAERS,
   described in more depth later in this section—were used both to reinforce the personal anecdotes
   and for focused misinformation solely discussing the statistics.” Id.

          RESPONSE: Undisputed.

          1312. According to VP, “652trip[ing] both individual stories and official statistics of
   important context” is misinformation. Id.




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          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as part of a category “of narratives that have remained prevalent in

   vaccine hesitancy conversations over a long period of time[.]” Waldo Ex. 28 at 50-51 (43-44). In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

         1313. According to VP, “adverse event stories” were objectionable because they were
   “employed to push back against vaccine mandates.” Id. at 52-53 (45-46).

          RESPONSE: Disputed to the extent the PFOF mischaracterizes the VP report as labeling

   “adverse event stories” as “objectionable.” The cited evidence does not support that

   characterization. Rather, as reflected in the cited report, “individual accounts of adverse events”

   was one of the “case studies” that “illustrate how persistent narratives that predated COVID-19

   vaccines were adapted to the pandemic response, and demonstrates how they formed, spread, and

   were framed both online and offline.” Scully Ex. 2 at 52-53 (45-46). In addition, this PFOF

   contains no evidence that Defendants worked or collaborated with the Virality Project to achieve

   “censorship goals.” Any assertion to that effect is unsupported by and contrary to the evidence as

   a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1314. Like the White House and Dr. Fauci, the VP treats Alex Berenson as a major
   malefactor in spreading COVID-19 vaccine “misinformation.” See id. at 54, 57 (47, 50).

          RESPONSE: Disputed. Plaintiffs’ PFOF is not supported by the cited report. In addition,

   this PFOF contains no evidence that Defendants worked or collaborated with the Virality Project

   to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary to the

   evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

         1315. Like the White House and Rob Flaherty, the VP flagged and tracked Fox News host
   Tucker Carlson as a spreader of vaccine misinformation: “In May 2021, Tucker Carlson



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   misrepresented VAERS data on his talk show, decontextualizing it while claiming that 3,362
   Americans had died following COVID-19 vaccinations between December 2020 and April 2021,
   equating to roughly 30 people every day.” Id. at 57 (50) (emphasis added).

          RESPONSE: Disputed. The assertion that the White House, Mr. Flaherty, or the Virality

   Project “flagged and tracked” Mr. Carlson “as a spreader of vaccine misinformation” is

   unsupported by the cited statement or by the record as a whole. In addition, this PFOF contains no

   evidence that Defendants worked or collaborated with the Virality Project to achieve “censorship

   goals.” Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   See Defs.’ Arg. § II.B.4.e.ii.

           1316. Health Freedom groups, like Plaintiff Jill Hines’s group Health Freedom Louisiana,
   are particular targets of the VP’s tracking and censorship activities.

          RESPONSE: Disputed. Plaintiffs’ PFOF lacks any evidentiary support.

         1317. The VP report includes an entire section on such groups: “Section 3.2.2 –
   Government Overreach and Medical Freedom Narratives.” Id. at 59 (52).

          RESPONSE: Undisputed, except to the extent Plaintiffs’ PFOF suggests that the cited

   section discusses the work of Plaintiff Jill Hines’ group Health Freedom Louisiana, which is not

   supported by the record.

           1318. According to the VP, “[o]ne of the primary long-standing themes of anti-vaccine
   distribution narratives is that mass vaccine distribution constitutes a government overreach. The
   movement sees vaccine mandates, including, historically, school vaccine requirements, as an
   assault on ‘health freedom’ or ‘medical freedom.’” Id.

          RESPONSE: Undisputed.

          1319. According to the VP, “[i]n 2020, following the emergence of COVID-19, these
   same health freedom groups expanded their vaccine protests to social distancing, masks, and other
   prevention measures.” Id. This includes Plaintiff Jill Hines.

          RESPONSE: Undisputed, except to the extent Plaintiffs’ PFOF contends that Plaintiff Jill

   Hines was encompassed in this discussion, because that contention is not supported by the record.




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          1320. The VP describes the role of Facebook groups—also employed by Jill Hines—in
   organizing health freedom groups to oppose vaccine mandates: “groups emerged on platforms
   such as Facebook during the pandemic, with names specifically related to COVID-19 or mRNA
   vaccines, to assist in discoverability; some grew their numbers into the tens of thousands.” Id.

          RESPONSE: Undisputed, except to the extent Plaintiffs’ PFOF contends that Plaintiff Jill

   Hines was encompassed in this discussion, because that contention is not supported by the record.

           1321. The VP focused, not just on misinformation about vaccines, but political speech
   and political organizing against “vaccine passports and vaccine mandates”: “During the VP’s
   period of analysis, narratives about government overreach and medical freedom focused on two
   areas of controversy: vaccine passports and vaccine mandates.” Id.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as “one of the primary long-standing themes of anti-vaccine

   distribution narratives[.]” Waldo Ex. 28 at 59 (52). Disputed also because the quoted statement

   does not support the assertion that the Virality Project “focused” on “political speech and political

   organizing.”

           1322. The VP treats as misinformation political speech and political opinions on these
   topics: “This amplification hinged upon misleading framing that suggested the implementation of
   any form of vaccine passport would be compulsory. In reality, the plans for many programs were
   entirely optional. Other framing from domestic right-leaning political actors created a portrait of
   governments as prying or snooping into citizens’ private matters.” Id. at (60) 53.

          RESPONSE: Disputed because the Virality Project did not label this category as

   “misinformation,” but rather as “one of the primary long-standing themes of anti-vaccine

   distribution narratives[.]” Waldo Ex. 28 at 59 (52). Also disputed because Plaintiffs’ PFOF takes

   the quoted statement out of context because the “amplification” being referred to was “Russian

   state media outlet RT public[ing] these debates through a series of Facebook posts that called

   passports into question[.]” Id. at 59 (52). In addition, the quoted statement also does not support

   the assertion that the Virality Project treated “political speech and political opinions” as

   “misinformation.”




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          1323. The VP views virtually all conservative speech opposing government-imposed
   COVID mandates as misinformation: “Activists pushed the idea that through a passport system,
   governments and ‘Big Tech’ were limiting the public’s freedoms—situating the conversation
   within a larger set of narratives surrounding pandemic public health regulations like mask
   mandates, lockdowns, and social distancing.” Id.

          RESPONSE: Disputed because Plaintiffs’ assertion is unsupported by the quoted

   statement or the record as a whole.

           1324. Like the EIP, the VP specifically flagged Jim Hoft’s The Gateway Pundit as a
   purveyor of misinformation and COVID “conspiracy theories: “Headlines sometimes hawked
   conspiracy theories: one Gateway Pundit headline, “The Great Reset: Big Tech and Big Pharma
   Join Forces to Build Digital COVID Vaccination Passport,” was a nod to groups such as Qanon….
   The article alleged collusion between Big Tech and Big Pharma that would threaten ‘individual
   rights.’” Id. at 60-61 (53-54) & 68 (75) n.49 (citing Joe Hoft, The Great Reset: Big Tech and Big
   Pharma Join Forces to Build Digital COVID Vaccination Passport, Gateway Pundit (January 17,
   2021), https://thegatewaypundit.com/great-reset-big-tech-big-pharma-joining-forces-build-digital
   -covid-vaccination-passport).

          RESPONSE: Disputed. The quoted statement does not support the assertion that the

   Virality Project “specifically flagged” Mr. Hoft as a “purveyor of misinformation.”

         1325. Other right-leaning speakers flagged by the VP include One America News
   Network, Breitbart News, and others. Id. at 60 (53).

          RESPONSE: Disputed. The cited portion of the Virality Project report does not support

   the assertion that the Virality Project “flagged” messages by these speakers.

           1326. The VP attributes political successes such as state-level bans on vaccine passports
   to such supposed misinformation. Id. at 61 (54).

          RESPONSE: Disputed. The cited portion of the Virality Project report does not support

   the assertion that the Virality Project attributed political success to “misinformation.”

            1327. The VP attributes opposition to vaccine mandates by employers to such supposed
   misinformation: “The backlash to COVID-19 vaccine requirements for employment and other
   activities parallels the conversation about vaccine passports. It, too, relies on and attempts to
   exacerbate distrust in public health officials and government institutions.” Id.




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            RESPONSE: Disputed to the extent that, as discussed above, the record does not support

   the assertion that the Virality Project characterized the referenced online “conversation[s]” as

   “misinformation.”

            1328. According to VP, even truthful information about vaccine effects on health that are
   still being studied constitutes misinformation: “In early 2021, users on Twitter, Facebook, and
   Reddit reported unverified reproductive side effects, ranging from abnormal menstrual cycles to
   miscarriages and infertility. … At the time there was no medical consensus on the vaccine’s effect
   on reproductive health, yet anti-vaccine activists presented the theory as fact and evidence of harm.
   Research is ongoing….” Id. at 66-67 (59-60).

            RESPONSE: Disputed. The quoted statement does not support the assertion that the

   Virality Project described “truthful information about vaccine effects on health” as

   misinformation; nor does it support the assertion that the reports of “unverified reproductive side

   effects” were, in fact, accurate.

          1329. According to VP, even “videos that appeared to be created satirically” are
   misinformation when they “were taken seriously.” Id. at 68 (61).

            RESPONSE: Disputed to the extent this assertion mischaracterizes the cited report. The

   Virality Report stated: “The Magnet Challenge illustrates how novel online tactics like

   participatory online video ‘challenges’ [even when satirical] can be combined with ongoing anti-

   vaccine tropes about strange reactions and dangerous ingredients to successfully spread

   misinformation online.” Waldo Ex. 28 at 68 (61).

           1330. Alex Berenson is mentioned 49 times in the Virality Project report. Id. at 54, 57,
   71, 73, 96-97, 122-23, 188-90, 195, 207-08. 10

            RESPONSE: Undisputed.

           1331. “Health freedom” or “medical freedom” groups are discussed dozens of times in
   the VP report. The word “freedom” occurs 100 times, almost always in direct connection with a
   discussion of “health freedom” or “medical freedom” groups, influencers, or content. See id. at 6,



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           Report pages 47, 50, 64, 66, 89-90, 115-16, 181-83, 188, 200-01.


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   187, 197-98, 201, 204, 210, 220-22. 11

            RESPONSE: Disputed to the extent the word “freedom” does not occur 100 times in the

   Virality Report. Rather, it occurs 92 times, and it does not always occur in connection with a

   discussion of “health freedom” or “medical freedom” groups.

          1332. The VP defines “Medical freedom influencers” as actors who “are averse to
   government interference in individuals’ personal lives. While they explicitly advocate for “health
   freedom” or “vaccine choice,” these actors often propagate vaccine doubt by contextualizing the
   choice with misleading claims of vaccines’ adverse medical consequences.” Id. at 82 (75).

            RESPONSE: Undisputed.

           1333. Fox News host Tucker Carlson, who has wide audiences in Missouri and Louisiana,
   is cited 42 times in the Virality Project report. See id. at 57, 73, 87, 91-92, 98, 115, 119-20, 122-
   23, 193, 201, 208, 215-16, 218.12

            RESPONSE: Disputed to the extent Plaintiffs cite to no record support for the alleged

   breadth of former Fox News host Tucker Carlson’s audiences in Missouri or Louisiana. In

   addition, the Virality Project does not appear to cite to Tucker Carson 42 times in its report, but

   rather 36 times.

          1334. In fact, the VP report cites the entire Fox News channel as a source of vaccine
   misinformation: “Fox News has played a particularly pivotal role in spreading vaccine
   misinformation and anti-vaccine beliefs during the COVID-19 pandemic…. [B]etween June 28
   and July 11, 2021, Fox News ran 129 segments about the COVID-19 vaccine on its cable
   broadcast; more than half of those segments included unverified claims that undermined
   vaccination efforts.” Id. at 91 (84).

            RESPONSE: Undisputed.

          1335. According to VP, “Fox News television host Tucker Carlson has been one of the
   most prominent and sensationalist spreaders of false or misleading information about vaccines
   throughout the COVID-19 pandemic.” Id.; see also id. at 91 (describing “Right-wing media


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        Report pages iii, 2, 13, 16, 52-55, 59, 63, 67, 70, 75, 77-79, 86-89, 98, 110-11, 114-115,
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           Report pages 50, 66, 80, 84-85, 91, 108, 112-13, 115-16, 186, 194, 201, 208-09, 211.


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   personality Tucker Carlson” as part of a “cast of recurring characters” that influenced vaccine
   hesitancy in Spanish- and Chinese-speaking communities).

          RESPONSE: Undisputed.

          1336. The VP also cites Candace Owens and The Daily Wire as purveyors of vaccine
   misinformation. See, e.g., id. at 86, 92 (79, 85).

          RESPONSE: Undisputed.

           1337. The VP cites Robert F. Kennedy, Jr., a well-known anti-vaccine activist with wide
   followings in Missouri and Louisiana, as one of the most influential purveyors of vaccine
   misinformation. Id. at 83 (76). The VP describes Kennedy as “especially pernicious” because he
   has a large audience: “RFK Jr.’s activism is especially pernicious because, like other long-standing
   influencers, he has a large and committed following and has become somewhat of a household
   name in the US.” Id.

          RESPONSE: Disputed to the extent Plaintiffs’ claim that Robert Kennedy, Jr. has “wide

   followings in Missouri and Louisiana” lacks record support.

           1338. The VP also cites America’s Frontline Doctors and its founder, Dr. Simone Gold,
   as a source of vaccine misinformation. Id. at 87-88 (80-81).

          RESPONSE: Undisputed.

           1339. The VP notes that “Simone Gold, a licensed emergency room physician, was the
   second most prominent PMI across Virality Project’s tickets. Gold is the leader of America’s
   Frontline Doctors…. Gold has been influential since the summer of 2020, when the White Coat
   Summit, an event broadcast online in which members of America’s Frontline Doctors spoke on
   the steps of the Supreme Court. The White Coat Summit promoted hydroxychloroquine both as a
   preventative measure and as a cure for COVID-19.” Id.

          RESPONSE: Disputed to the extent that Plaintiffs fail to provide the full sentence quoted

   from the Virality Project report, which reads: “The White Coat Summit promoted

   hydroxychloroquine both as a preventative measure and as a cure for COVID-19; one speaker at

   the event, Dr. Stella Immanuel, had previously been best known for claiming that gynecological

   issues are caused by having sex with witches and demons.” Waldo Ex. 28 at 88 (81). The Virality

   Project report further notes that Dr. Gold “persistently amplified false information about the 2020




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   election and voter fraud and was also arrested for participating in the January 6, 2021, storming of

   the U.S. Capitol.” Id.

          1340. The VP treats Dr. Joseph Mercola, another anti-vaccine speaker with wide
   audiences in Missouri and Louisiana, as a purveyor of vaccine misinformation. Id. at 87 (80).
   Again, the VP criticizes Mercola precisely because his speech reaches wide audiences. Id.

            RESPONSE: Disputed to the extent Plaintiffs cite to no record support for the alleged

   breadth of Dr. Mercola’s audiences in Missouri and Louisiana. Also disputed that the Virality

   Project report criticizes Dr. Mercola “because” of his audience size. That assertion is unsupported

   by the cited passages or the report as a whole, to which Defendants refer the Court for a complete

   and accurate statement of its contents.

           1341. The VP asserts that Gold’s “false and misleading claims about the COVID-19
   vaccine” include core political speech like “encouraging her followers to boycott companies for
   their vaccine protocols” and “organizing a cross-country tour to fight back against ‘censorship,
   chaos, and the undeniable slide towards communism that lurks beneath the tyrannical lockdowns
   for governmental ‘public health’ policy’.” Id. at 88 (81). To the VP, political “organizing” to
   oppose vaccine mandates and lockdowns constitutes a “false and misleading claim[].” Id.

            RESPONSE: Disputed. Dr. Gold’s “false and misleading claims about COVID-19” that

   the Virality Project referred to in its report was not about “organizing” to oppose vaccine mandates,

   but the statement she made on Twitter in seeking to organize the boycott: “The founder of Shake

   Shack says his company will require proof of vaccination for both employees AND their

   customers. I encourage everyone to boycott this business. No corporation or government has a

   right to demand to see your private health documents.” Scully Ex. 2 at 88 (81), 116, n.47 (109,

   n.47).

           1342. The VP asserts that “the right-leaning media ecosystem differs from the rest of the
   media environment in ways that make it especially vulnerable to the spread of mis- and
   disinformation.” Id. at 91 (84).

            RESPONSE: Disputed to the extent Plaintiffs mischaracterize the quoted statement. The

   statement, in full, states: “Yochai Benkler, co-director of the Berkman Klein Center for Internet



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   and Society, has joined other scholars in analyzing and documenting these dynamics, describing

   how the right-leaning media ecosystem differs from the rest of the media environment in ways that

   make it especially vulnerable to the spread of mis- and disinformation.” Waldo Ex. 28 at 91 (84).

          1343. The VP states that “[t]he newest iteration of medical freedom, adapted for COVID-
   19, challenges the legitimacy of government or corporate vaccine mandates and public health
   interventions specific to COVID-19, including vaccine passport systems and masking
   requirements.” Id. at 93 (86).

          RESPONSE: Undisputed.

           1344. The VP states that “medical freedom” groups spread misinformation “across all 50
   states”: “Medical freedom influencers (MFIs) active in the anti-COVID-19-vaccine movement
   were fairly distinct from other categories of influencer in that rather than hinging on a handful of
   key (and often celebrity-status) individuals, they spread their narratives via a franchise model
   across all 50 states.” Id. (emphasis added).

          RESPONSE: Undisputed.

           1345. The VP indicates that it tracked and flagged “medical freedom” groups “at a
   messaging and organizing level,” i.e., the level where Jill Hines was targeted: “As medical freedom
   activists have fought requirements imposed by states, cities, or private employers, they have
   learned from each others’ successes and failures—at a messaging and an organizing level—and
   have brought those lessons to their local communities. What one state does, another state will often
   echo.” Id. at 94 (87).

          RESPONSE: Dispute the assertion that the Virality Project “flagged” “medical freedom

   groups” as unsupported by the quoted statement or the record as a whole. Also dispute the

   suggestion that the Virality Project “tracked” or “flagged” Plaintiff Jill Hines or her group as

   unsupported by the quoted statemen or the record as a whole. Defendants refer the Court to the

   Virality Project report for a full and accurate statement of its contents.

           1346. Like Andrew Mr. Slavitt, the VP treats Alex Berenson as one of the “most
   significant influencer[s]” who opposes vaccines: “Alex Berenson is perhaps the most significant
   influencer who defies categorization. A former New York Times reporter and a bestselling novelist
   with no specific anti-vaccine background …, Berenson … over time evolved into a key player in
   repeatedly spreading false and misleading information about the COVID-19 pandemic and
   vaccines. He underplayed the danger of the virus and challenged the efficacy of vaccines and
   masks, even as evidence supported their value as life-saving public health measures.” Id. at 96
   (89) (providing an image of Berenson’s tweets).



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           RESPONSE: Undisputed, except to the extent that Plaintiffs cite no evidence, in the

   quoted statements or elsewhere, for the assertion that Mr. Slavitt “treats Alex Berenson as one of

   the ‘most significant influencer[s]’ who opposes vaccines.”

           1347. The VP disfavors Berenson because he reaches wide audiences and criticizes the
   government: “Berenson’s popular posts on Twitter notably claimed to be “digging up” or
   “uncovering” information that was hidden from the public about vaccine safety or effectiveness.
   In one incident in July 2021, Berenson amplified a conspiracy theory from a statement filed with
   a lawsuit from America’s Frontline Doctors stating that the government was covering up more
   than 45,000 vaccine-related deaths. Berenson’s 17-tweet thread, which received over 16,000
   interactions on July 21, 2021, claimed that the CDC had “quietly more than DOUBLED” the
   number of deaths reported in VAERS, suggesting the CDC had misled the public.” Id. at 96-97
   (89-90).

           RESPONSE: Undisputed, except Plaintiff’s statement that “[t]he VP disfavors Berenson

   because he reaches wide audiences and criticizes the government” (emphasis added) is

   unsupported by the quoted statements or the record as a whole. Rather, the Virality Project

   expressed concerns about Mr. Berenson because he was “a key player in repeatedly spreading false

   and misleading information about the COVID-19 pandemic and vaccines.” Waldo Ex. 28 at 96

   (89).

          1348. The VP notes that Berenson had wide audiences nationwide when he was censored:
   “Twitter permanently deplatformed Berenson in August 2021 for repeated violations of Twitter’s
   COVID-19 falsehoods policy. At the time he lost his account, he had more than 200,000
   followers.” Id. at 97 (90).

           RESPONSE: Undisputed, except to the extent that Plaintiffs characterize Mr. Berenson’s

   de-platforming as censorship rather than application of Twitter’s terms of service, to which all

   users must agree.

          1349. The VP states that the government pushed for “accountability” from platforms in
   successfully pressuring them to adopt vaccine-related censorship policies in the years leading up
   to COVID-19: “During and after the [2018-19 measles] outbreaks, scientists and congressional
   leaders sought accountability from the platforms, inquiring about the extent to which vaccine
   hesitancy among impacted communities had been exacerbated by misinformation on their
   products.” Id. at 131 (124).



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          RESPONSE: Undisputed that the Virality Project report contains the quoted statement.

   Dispute Plaintiffs’ characterization of “inquir[ies]” by “congressional leaders” about measles

   vaccine hesitancy in 2018 and 2019 as “pressuring [social media companies] to adopt vaccine-

   related censorship policies.” Plaintiffs’ characterization is unsupported by the quoted statement.

          1350. The VP provides a timeline of policy changes becoming more restrictive of
   vaccine-related misinformation that shows repeated tightening of policies by Facebook, Twitter,
   and YouTube once President Biden had been elected. Id. at 133 (126) fig.5.1.

          RESPONSE: Undisputed, except to the extent Plaintiffs mean to suggest that President

   Biden’s election was responsible for social media companies’ policy changes reflected in the

   referenced chart, which is unsupported by the record.

           1351. The VP calls for more aggressive censorship policies to target speech that is not
   false or incorrect and that constitutes core political speech: “While progress has been made since
   platforms first developed vaccine-related policies in 2019, clear gaps in platform policy exist with
   respect to moderating vaccine-related content, including posts that employ personalized stories,
   medical freedom claims, and misleading headlines and statistics.” Id. at 143 (136).

          RESPONSE: Undisputed that the quoted statement appears in the Virality Project report.

   However, dispute Plaintiffs’ characterization of social media platforms’ terms of service, to which

   all users must agree, as “censorship policies.” Dispute the characterization of the report’s

   observation about “gaps in platform policy” as a “call[ ] for more aggressive . . . policies” as

   unsupported by the quoted statement. Also dispute the assertion that the Virality Project sought

   “to target speech that is not false or incorrect and that constitutes core political speech,” as

   unsupported by the quoted statement, any other statement in the report cited in Plaintiffs’ PFOFs

   above, or the record as a whole.

           1352. The VP also calls for more aggressive action to “suppress content” and “deplatform
   accounts”: “In addition, policies about the actions platforms can take to suppress content, promote
   trusted voices, and deplatform accounts vary widely from platform to platform and are still not
   enforced consistently, both within and across platforms.” Id.




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            RESPONSE: Undisputed, except that Plaintiffs’ characterization of the report’s

   observations about the variance in and inconsistent enforcement of platforms’ terms of service as

   a “call[ ] for more aggressive action” is unsupported by the quoted statement or the report as a

   whole.

          1353. Just like the Surgeon General, the VP demands “more transparency” for “external
   researchers” (like those at the VP, working closely with government) to oversee the platforms’
   censorship efforts: “It should be noted that understanding the impact of platform policy is limited
   by what information is publicly available. It is crucial that platforms provide more transparency
   on each moderation approach and allow external researchers the ability to independently verify the
   success and impacts of these interventions.” Id.

            RESPONSE: Undisputed that the Virality Project report contains the quoted statement.

   Dispute the assertions that the Surgeon General made “demands” of social media companies, that

   the Virality Project “work[ed] closely with [the] government,” and that platforms’ enforcement of

   their terms of service, to which all users must agree, constitute “censorship efforts,” as unsupported

   by the quoted statement or any other in the Virality Project’s report, or the record as a whole.

           1354. Like the Surgeon General, the VP argues that “a whole-of-society effort is needed”
   to stop the spread of so-called misinformation: “[A] whole-of-society effort is needed in which
   stakeholders build robust and persistent partnerships to ensure that significant high-harm claims
   can be addressed as they arise.” Id. 147 (140).

            RESPONSE: Undisputed.

           1355. This “whole-of-society” effort includes an active role for the government in
   censoring disfavored speech: “The Virality Project sought to do just that by bringing together four
   types of stakeholders: (1) research institutions, (2) public health partners, (3) government partners,
   and (4) platforms. Our recommendations recognize the collective responsibility that all
   stakeholders have in mitigating the spread of mis- and disinformation…” Id.

            RESPONSE: Undisputed, except Plaintiffs’ characterization of the Virality Project as

   advocating for the government to “censor[ ] disfavored speech” is unsupported by the record, as

   is any assertion that Defendants in fact did so. Moreover, this PFOF contains no evidence that

   Defendants worked or collaborated with the Virality Project to achieve “censorship goals.” Any




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   assertion to that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg.

   § II.B.4.e.ii.

           1356. According to the VP, “The Virality Project offers an early template for structuring
   interaction between research institutions and nonacademic stakeholders (including government
   entities, health practitioners, and private companies).” Id.

           RESPONSE: Undisputed, but note that this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1357. According to the VP, it used “ingenuity” to facilitate “the intake of tips from …
   government partners”: “An area that required ingenuity was creating a framework for facilitating
   the intake of tips from civil society and government partners…. However, their tips are often
   highly valuable, so overcoming this challenge is a priority for future efforts.” Id. at 148 (141)
   (emphasis added).

           RESPONSE: Disputed. Plaintiffs have mischaracterized the cited portion of the Virality

   Project report. The “ingenuity” referred to in the report was “creating a framework for facilitating

   the intake of tips,” because “many civil society organizations are understaffed or unfamiliar with

   workflows like task management or ticketing software.” Waldo Ex. 28 at 148 (141). Moreover,

   the Office of the Surgeon General never provided any tip, flag, ticket, report, or other form of

   notification or input to the Virality Project concerning posts or accounts on social media. Lesko

   Decl. ¶ 16 (Ex. 63). In addition, this PFOF contains no evidence that Defendants worked or

   collaborated with the Virality Project to achieve “censorship goals.” Any assertion to that effect is

   unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii

           1358. The VP recommends an even more “streamlined” process for “government
   partners” to provide “tips” of misinformation to be reported for censorship, and it notes that it
   received tips through “informal exchanges, such as Zoom meetings or calls with our partners”:
   “Streamline tip line processes for civil society and government partners. Set up an efficient channel
   for intaking external tips…. The Virality Project often had to leverage informal exchanges, such
   as Zoom meetings or calls with our partners, to receive the tips verbally or encourage additional
   reporting. In future projects, external reporting channels should be strengthened via an easier




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   means of reporting and increased access to the reporting channels, especially for partners on the
   ground (such as health practitioners or government health officials).” Id.

          RESPONSE: Undisputed, except that Plaintiffs’ characterization of the Virality Project as

   recommending “censorship” is unsupported by the cited statement or the record as a whole. In

   addition, this PFOF contains no evidence that Defendants worked or collaborated with the Virality

   Project to achieve “censorship goals.” Any assertion to that effect is unsupported by and contrary

   to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1359. The VP repeatedly cites the work of Surgeon General Murthy, noting that “[d]uring
   a July 15, 2021, panel with the Virality Project, US Surgeon General Vivek Murthy discussed the
   importance of vaccination by sharing his own story about COVID-19 … alongside data around the
   effectiveness of the vaccines.” Id. at 149 (142). “In the context of vaccine misinformation
   specifically, some examples of engagement best practices can be found in the Virality Project’s
   July 15, 2021, hosted discussion with Surgeon General Vivek Murthy…” Id. at 150 (143).

          RESPONSE: Disputed to the extent that the Office of Surgeon General did not understand

   the July 2021 panel to be a Virality Project event; rather, it understood that the event was hosted

   by the Stanford Internet Observatory. Lesko Decl. ¶ 15 (Ex. 63).

          1360. According to VP, “While the federal government (through DHHS, the CDC, and
   the Surgeon General) has ramped up its engagement and communications, more can be done
   moving forward. There are several areas where government officials can focus to improve their
   ongoing response to mis- and disinformation surrounding the COVID-19 vaccines.” Id. at 149-50
   (142-43).

          RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

           1361. These include “real-time response” to misinformation on the model provided by
   CIS and the EI-ISAC for election speech: “Federal, state, and local government officials should
   coordinate real-time response to emerging mis- and disinformation. … For example, as voting-
   related mis- and disinformation arose in the 2020 presidential election, the Election Infrastructure
   Information Sharing and Analysis Center (EI-ISAC) served a critical role in sharing information
   with the Election Integrity Partnership and pushing its rapid response analysis back out to election
   stakeholders across all states… Moving forward, the government should support the establishment
   of such an information-sharing mechanism.” Id. at 150 (143).



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           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1362. The VP recommends that the federal government “[i]mplement a Misinformation
   and Disinformation Center of Excellence (CoE) housed within the federal government,” which
   “would centralize expertise on mis- and disinformation within the federal government at the
   Cybersecurity & Infrastructure Security Agency (CISA) with its existing mis- and disinformation
   team,” i.e., Brian Scully’s group. Id.

           RESPONSE: Undisputed. However, this PFOF contains no evidence that Defendants

   worked or collaborated with the Virality Project to achieve “censorship goals.” Any assertion to

   that effect is unsupported by and contrary to the evidence as a whole. See Defs.’ Arg. § II.B.4.e.ii.

          1363. The VP’s “Recommendations to Platforms” reflect near-verbatim language used by
   the Surgeon General’s Health Advisory: “Consistently enforce policies against recurrent actors.
   … While many platforms have improved transparency around content moderation, there is still
   inconsistent enforcement of policies, notably in the case of recurring actors. More consistency and
   transparency is needed around enforcement practices, particularly when prominent or verified
   accounts are involved. While past policy environments have been slower to enforce policies
   against prominent accounts, these are the accounts with the greatest potential for impact. If
   anything, they may merit closer scrutiny.” Id. at 152 (145).

           RESPONSE: Undisputed, except Plaintiffs’ statement that the Virality Project’s

   “Recommendations to Platforms” reflects “near-verbatim” language used by the Surgeon

   General’s Health Advisory is unsupported by the record. In any event, this PFOF contains no

   evidence that Defendants worked or collaborated with the Virality Project to achieve “censorship

   goals.” Any assertion to that effect is unsupported by and contrary to the evidence as a whole. See

   Defs.’ Arg. § II.B.4.e.ii.

           1364. Likewise, the VP recommends that platforms “[c]ontinue to prioritize and improve
   data sharing. The Virality Project’s research would not have been possible without access to public
   platform data. For privacy reasons, some data understandably may be limited, but in general,
   establishing standardized guidelines about how platforms can share data with research institutions
   is needed.” Id. at 153 (146).




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             RESPONSE: Undisputed.

           1365. “Notably, engagement numbers are the closest proxy that researchers have to
   understand what content users see on social media platforms. However, engagement is not the
   same thing as impressions, or user views—how many times a piece of content is seen by users.
   Ideally, access to user impression data would be available, allowing researchers to directly measure
   when and how content is surfaced to users by social media platforms. Unfortunately, social media
   platforms often do not make impression data available to researchers; as a result of this chronic
   gap, assessing impact and reach, or the dynamics of platform curation, remains a significant
   challenge.” Id.

             RESPONSE: Undisputed that this PFOF accurately quotes a portion of the Virality Project

   report.

   X.        Federal Censorship Inflicts Grave, Imminent, and Ongoing Injuries on Plaintiffs.

           1366. The foregoing conduct has inflicted and continues to inflict ongoing and imminent
   injuries on both the private Plaintiffs and the States of Louisiana and Missouri.

             RESPONSE: Disputed. The assertion that Defendants have engaged in conduct that

   inflicted or continues to inflict injuries on Plaintiffs is unsupported by any evidence cited by

   Plaintiffs and is contrary to the record as a whole. In particular, as detailed in the responses below,

   Plaintiffs rely primarily on stale assertions contained in declarations that are nearly a year old, and

   thus provide no evidence for the assertion that any of their alleged injuries are “ongoing” or

   “imminent.”

             A.     Defendants Gravely Injure the Individual Plaintiffs.

          1367. The individual Plaintiffs provide undisputed evidence of how they have suffered
   from federally-induced censorship. Docs. 10-3 (Declaration of Dr. Jayanta Bhattacharya), 10-4
   (Declaration of Dr. Martin Kulldorff), 10-5 (Declaration of Jim Hoft), 10-7 (Declaration of Dr.
   Aaron Kheriaty), 10-12 (Declaration of Jill Hines). The Government does not dispute this
   evidence.




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           RESPONSE: Disputed. None of the cited evidence—much of which is, in fact, disputed

   by Defendants, as the following paragraphs make clear—supports the characterization that any of

   the individual Plaintiffs “have suffered from federally-induced censorship.” 13

           1368. Dr. Bhattacharya attests that, “Because of my views on COVID-19 restrictions, I
   have been specifically targeted for censorship by federal government officials.” Doc. 10-3, ¶ 5.
   He notes that “[t]he Great Barrington Declaration received an immediate backlash from senior
   government officials who were the architects of the lockdown policies, such as Dr. Anthony
   Fauci…” Id. ¶ 13. “Because it contradicted the government’s preferred response to COVID-19,
   the Great Barrington Declaration was immediately targeted for suppression by federal officials.”
   Id. ¶ 14. “Instead, what followed was a relentless covert campaign of social-media censorship of
   our dissenting view from the government’s preferred message.” Id. ¶ 15.

           RESPONSE: Undisputed that Dr. Bhattacharya included the quoted statements in the cited

   declaration. Disputed as to the substance of the quoted statements, all of which are unsupported

   by the record, and so far as they attribute the alleged acts of “censorship” to “federal government

   officials,” lack apparent basis in Dr. Bhattacharya’s personal knowledge. Also disputed to the

   extent that portions of the PFOF appear to be contradicted by other language in the same

   declaration, undermining the credibility of each of the contradictory theories. See Bhattacharya

   Dec. ¶ 31 (Dkt. 10-3) (Dr. Bhattacharya endorsing a statement from Dr. Kulldorff, without


      13
          For reasons explained above in Defendants’ introductory objection, see supra at 1,
   Defendants object to the consideration of any evidence other than the evidence that Plaintiffs have
   expressly identified in support of their preliminary-injunction motion. See Plaintiffs’
   Memorandum in Support of Motion for a Preliminary Injunction, Dkt. 15; Plaintiffs’ Supplemental
   Brief in Support of Motion for a Preliminary Injunction, Dkt. 214; Plaintiffs’ Proposed Findings
   of Fact, Dkt. 214-1. As relevant to Plaintiffs’ PFOF ¶¶ 1367-1426, Defendants thus respond only
   with respect to the evidence cited therein, which primarily consists of a series of witness
   declarations that were originally submitted as attachments to Dkt. 10. Some of those witnesses,
   however, recently submitted new, but substantially overlapping declarations as attachments to
   Plaintiffs’ motion for leave to amend to add class-action allegations, Dkt No. 227. Those new and
   updated declarations are not cited or referenced in any of Plaintiffs’ preliminary-injunction filings,
   including their Proposed Findings of Fact. Accordingly, Defendants object to the consideration of
   that evidence in connection with Plaintiffs’ motion for a preliminary injunction, and these
   responses do not otherwise address those new declarations. Regardless, none of those new
   declarations contains evidence of threats or pressure by Defendants to censor speech, or
   communications that social-media platforms regarded (or acted on) as such.


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   evidence, that “they sort of kind of randomly select who they censor, what they censor, because

   they want people to be uncertain about what they can and cannot say”).

           1369. As a result of this “covert campaign,” Dr. Bhattacharya experiences ongoing
   injuries, including the de-boosting of search results in Google, id. ¶16; the removal of links to the
   Great Barrington Declaration in Reddit discussions, id.; the ongoing removal of a YouTube video
   discussing the Great Barrington Declaration and related issues with Governor DeSantis, id. ¶¶ 17-
   18; the removal of personal Tweets, id. ¶¶ 25-26; the removal of LinkedIn posts, id. ¶¶ 28-29; and
   account termination by LinkedIn, id. ¶ 30.

          RESPONSE: Disputed that Dr. Bhattacharya “experiences ongoing injuries” attributable

   to any conduct by Defendants, an assertion that is unsupported by the record and about which Dr.

   Bhattacharya has no evident personal knowledge. The remainder of this PFOF improperly purports

   to summarize eight paragraphs of Dr. Bhattacharya’s Declaration, rather than identifying (let alone

   substantiating) any particular fact that appears therein. None of the cited language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Dr. Bhattacharya has experienced or imminently will experience censorship as a result of

   any conduct by Defendants. In addition, Dr. Bhattacharya’s description of an “account termination

   by LinkedIn” appears to be in reference to actions taken by LinkedIn with respect to the LinkedIn

   account of another individual, Dr. Martin Kulldorff—not with respect to any LinkedIn account

   maintained by Dr. Bhattacharya. See Bhattacharya Dec. ¶ 31 (Dkt. 10-3). Finally, because Dr.

   Bhattacharya’s declaration, executed on June 4, 2022, is nearly a year old, it furnishes no evidence

   that he continues to suffer any “ongoing” or threatened injury from alleged censorship.

          1370. Dr. Bhattacharya observes that he lacks access to his colleagues’ speech and
   viewpoints as well, because “social-media censorship has not focused solely on the co-authors of
   the Great Barrington Declaration, but has swept in many other scientists as well: Twitter, LinkedIn,
   YouTube, Facebook, they have permanently suspended many accounts—including scientists.” Id.
   ¶ 31.
          RESPONSE: Disputed. As the cited paragraph of the declaration makes clear, a portion

   of the quoted statement that is attributed to Dr. Bhattacharya in Plaintiffs’ PFOF in fact is a double-




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   hearsay statement from another individual, Dr. Martin Kulldorff. That statement is unsupported

   by the record. Regardless, none of the quoted language contains evidence of threats or pressure by

   Defendants to force social media companies to censor speech, or that Dr. Bhattacharya has

   experienced or imminently will experience censorship as a result of any conduct by Defendants.

   To the contrary, Plaintiffs’ PFOF itself makes clear that it is private social-media companies who

   have “permanently suspended many accounts,” not Defendants. Finally, because Dr.

   Bhattacharya’s declaration, executed on June 4, 2022, is nearly a year old, it furnishes no evidence

   that he continues to suffer any present or threatened injury from alleged censorship.

          1371. As Dr. Bhattacharya observers, “[t]hese censorship policies have driven scientists
   and others to self-censorship, as scientists … restrict what they say on social-media platforms to
   avoid suspension and other penalties.” Id. ¶ 31.

          RESPONSE: Disputed. As the cited paragraph of the declaration makes clear, the quoted

   statement that is attributed to Dr. Bhattacharya in Plaintiffs’ PFOF in fact is a double-hearsay

   statement from another individual, Dr. Martin Kulldorff, lacking any evident basis in Dr.

   Bhattacharya’s personal knowledge. That statement is unsupported by any other evidence adduced

   by Plaintiffs or the record as a whole. Regardless, none of the quoted language contains evidence

   of threats or pressure by Defendants to force social media companies to censor speech, or that Dr.

   Bhattacharya has experienced or imminently will experience censorship as a result of any conduct

   by Defendants.

            1372. Dr. Bhattacharya attests based on personal experience: “Having observed and lived
   through the government-driven censorship of the Great Barrington Declaration and its co-authors,
   it is clear to me that these attacks were politically driven by government actors. … One of the
   motivations for that was a motivation to create … an illusion of consensus within the public that
   there was no scientific dissent against lockdowns. [T]he Great Barrington Declaration … posed a
   political problem for them because they wanted to tell the public that there was no dissent. And
   so, they had to destroy us. They had to do a devastating takedown.” Id. ¶ 32.




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          RESPONSE: Disputed. Despite the assertion of “personal experience,” as the cited

   paragraph of the declaration makes clear, in fact, a portion of the quoted statement that is attributed

   to Dr. Bhattacharya in Plaintiffs’ PFOF is a double-hearsay statement from another individual, Dr.

   Martin Kulldorff. In addition, the assertions that the “censorship of the Great Barrington

   Declaration and its co-authors” was “government-driven,” and “politically driven by government

   actors” lack any evident basis in Dr. Bhattacharya’s personal knowledge. These statements are all

   unsupported by any other evidence adduced by Plaintiffs or the record as a whole. Regardless,

   none of the quoted language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Dr. Bhattacharya has experienced or imminently will

   experience censorship as a result of any conduct by Defendants.

           1373. Dr. Kulldorff likewise attests that there is “an organized campaign against the Great
   Barrington Declaration,” Doc. 10-4, ¶ 14. He notes that the GBD “was censored on social media
   in an apparent attempt to prevent it from … ‘getting a lot of attention,’” id. ¶ 15; including Google
   deboosting search results, id., and Facebook removing content related to it, id. ¶ 16.

          RESPONSE: Undisputed that Dr. Kulldorff made the quoted statements in the cited

   declaration. Disputed to the extent that what Dr. Kulldorff characterizes as an “organized

   campaign” of “censorship” in fact represents nothing more than private companies acting to

   enforce the terms of service of their own private social-media platforms, to which their users

   agreed as a condition of using those platforms. None of the quoted language contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that Dr.

   Kulldorff has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. To the contrary, Plaintiffs’ PFOF itself makes clear that it is Google and Facebook

   who have “deboost[ed] search results” or “remov[ed] content,” not Defendants. Finally, because

   Dr. Kulldorff’s declaration, executed on June 8, 2022, is nearly a year old, it furnishes no evidence

   that he continues to suffer any present or threatened injury from alleged censorship.



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           1374. Dr. Kulldorff also identifies an ongoing campaign of censorship against his
   personal social-media accounts, including censored personal Tweets on Twitter, id. ¶¶ 17-18;
   censored posts criticizing mask mandates, id. ¶ 19; ongoing self-censorship to avoid further
   censorship penalties, id. ¶¶ 20, 27; removal of YouTube content, id. ¶ 21; removal of LinkedIn
   posts, id. ¶¶ 22-25; and the ongoing permanent suspension of his LinkedIn account, id. ¶ 26.

          RESPONSE: Disputed. This PFOF improperly purports to summarize eleven paragraphs

   of Dr. Kulldorff’s Declaration, rather than identifying (let alone substantiating) any particular fact

   that appears therein. In any event, all of the examples offered by Dr. Kulldorff in the cited portions

   of his declaration happened long ago (some as early as March of 2021, and the most recent of

   which was January of 2022), and thus offer no support for the characterization of an “ongoing

   campaign of censorship.” Indeed, the declaration itself does not even attempt to describe any

   “ongoing” activities. For example, although Plaintiffs’ PFOF describes “the ongoing permanent

   suspension of his LinkedIn account,” in fact, Dr. Kulldorff’s Declaration acknowledges that

   “LinkedIn restored [his] account.” Kulldorff Decl. ¶ 26 (Dkt. 10-4). As of the date of this filing,

   Dr.   Kulldorff   has    a   LinkedIn    account    that   is   visible   to   the   general   public:

   https://www.linkedin.com/in/martin-kulldorff-8a31a775. See Declaration of Jasmine Robinson

   ¶ 2 (Ex. 139) (“Robinson Decl.”). Regardless, none of the cited language contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that Dr.

   Kulldorff has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. To the contrary, Plaintiffs’ PFOF itself makes clear that it is private companies who

   have taken the actions that Plaintiffs complain of, not Defendants. Finally, because Dr. Kurlldorff’s

   declaration, executed on June 8, 2022, is nearly a year old, it furnishes no evidence that he

   continues to suffer any present or threatened or “ongoing” injury from alleged censorship.

          1375. Dr. Kulldorff has experienced direct censorship of his social-media speech in
   addition to the Great Barrington Declaration. For example, his Tweets questioning the efficacy of
   masking and criticizing government mask mandates have been censored and caused him to be
   suspended from Twitter. Id. ¶¶ 18-19.



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          RESPONSE: Disputed that Dr. Kulldorff “has experienced direct censorship” or that his

   Tweets “have been censored.” In fact, Dr. Kulldorff describes (and the record reflects) nothing

   more than private companies acting to enforce the terms of service of their own private social-

   media platforms, to which their users agreed as a condition of using those platforms. Regardless,

   none of the cited language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Dr. Kulldorff has experienced or imminently will

   experience censorship as a result of any conduct by Defendants. To the contrary, the declaration

   makes clear that these decisions were made by Twitter, not by any of the Defendants.

           1376. Dr. Kulldorff has also engaged in self-censorship to avoid being suspended or
   removed from social media: “Twitter is an important venue for communicating accurate public
   health information to the public. Because of the censoring, and the suspension of other scientists,
   I have had to self-censor myself on the platform.” Id. ¶ 20.

          RESPONSE: Undisputed that “Twitter is an important venue for communicating accurate

   public health information to the public” and that Dr. Kulldorff asserts he has chosen to engage in

   what he describes as “self-censorship.” Regardless, none of the cited language contains evidence

   of threats or pressure by Defendants to force social media companies to censor speech, or that Dr.

   Kulldorff has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. To the contrary, the declaration makes clear that, to the extent that Dr. Kulldorff has

   ever been “censored,” he has been “censored by Twitter,” rather than Defendants. Kulldorff Decl.

   ¶ 20 (Dkt. 10-4).

           1377. Dr. Bhattacharya and Dr. Kulldorff’s roundtable discussion with Governor Ron
   DeSantis—which featured all three co-authors of the Great Barrington Declaration—was removed
   from YouTube. The roundtable discussion addressed the Great Barrington Declaration and its
   premises in detail. As Dr. Kulldorff recounts, “On March 18, 2021, I participated in a two-hour
   roundtable discussion with Governor Ron DeSantis in Florida, along with Dr. Sunetra Gupta at
   Oxford, Dr. Jay Bhattacharya at Stanford and Dr. Scott Atlas at Stanford. In this discussion, we
   made remarks critical of COVID-19 restrictions, including mask mandates on children. I stated
   that ‘children should not wear face masks, no. They don’t need it for their own protection, and



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   they don’t need it for protecting other people either.’ … Dr. Gupta stated that “to force [children]
   to wear masks and distance socially, all of that to me is in direct violation of our social contract.’
   In the same roundtable, we also argued against vaccine passports. ‘Let’s try to argue against that
   from the very beginning before it sort of takes off.’ Unfortunately, the video of the roundtable was
   removed by YouTube, which is owned by Google.” Id. ¶ 21.

          RESPONSE: Disputed insofar as this PFOF consists of Dr. Kulldorff’s recollections and

   self-serving characterizations of his remarks at an event that was apparently recorded on video,

   but for which no transcript or video appears in the record. Regardless, none of the cited language

   contains evidence of threats or pressure by Defendants to censor speech or to force social media

   companies to censor speech, or that Dr. Bhattacharya or Dr. Kulldorff have experienced or

   imminently will experience censorship as a result of any conduct by Defendants. To the contrary,

   the declaration makes clear that the video in question was not “censored” by the federal

   government, but in fact was “removed by YouTube,” which is “owned by Google,” not

   Defendants. Kulldorff Decl. ¶ 21 (Dkt. 10-4).

          1378. Dr. Kulldorff also experiences ongoing censorship on “LinkedIn, which is a popular
   communications platform among scientists and other professionals.” Id. ¶ 22-26. LinkedIn has
   blocked and removed his posts opposing vaccine mandates and promoting the benefits of natural
   immunity. Id. These included posts in which he and Dr. Bhattacharya “criticized the official Covid-
   19 response as formulated by Dr. Anthony Fauci.” Id. ¶ 25.

          RESPONSE: Disputed, except the statements that “LinkedIn is a popular communications

   platform” that has “blocked and removed” some of Dr. Kulldorff’s posts, including some in which

   he criticized COVID-19 policies. This PFOF improperly purports to summarize five paragraphs

   of Dr. Kulldorff’s Declaration, rather than identifying (let alone substantiating) any particular fact

   that appears therein. In any event, all of the examples offered by Dr. Kulldorff in the cited portions

   of his declaration happened long ago (some as early as 2021, and the most recent of which was

   January of 2022), and thus offer no support for the characterization of there being any “ongoing

   censorship.” Indeed, because Dr. Kulldorff’s declaration, executed on June 8, 2022, is nearly a




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   year old, it furnishes no evidence that he continues to suffer any present or threatened or “ongoing”

   injury from alleged censorship. Regardless, none of the cited language contains evidence of threats

   or pressure by Defendants to force social media companies to censor speech, or that Dr. Kulldorff

   has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. To the contrary, the declaration makes clear that all of the actions that Dr. Kulldorff

   describes as “censorship” were taken by LinkedIn, a private company, rather than Defendants. See

   Kulldorff Decl. ¶ 22 (Dkt. 10-4) (“LinkedIn censored a post . . . .”); id. ¶ 23 (“LinkedIn also

   censored me when . . . .”); id. ¶ 24 (“LinkedIn censored a post . . . .”); id. ¶ 25 (“. . . it was removed

   by LinkedIn, which is owned by Microsoft.”).

          1379. Dr. Kulldorff states that he and other scientists engage in self-censorship to avoid
   being terminated from social-media platforms: “Twitter and LinkedIn are important venues for
   communicating accurate public health information to other scientists and to the public. Because of
   the censoring, and the suspension of other scientists, I have had to self-censor myself on both
   platforms. Sometimes by not posting important public health information.” Id. ¶ 27.

           RESPONSE: Undisputed that “Twitter and LinkedIn are important venues for

   communicating accurate public health information to other scientists and to the public” and that

   Dr. Kulldorff asserts he has chosen to engage in what he describes as “self-censorship.”

   Regardless, none of the cited language contains evidence of threats or pressure by Defendants to

   force social media companies to censor speech, or that Dr. Kulldorff has experienced or

   imminently will experience censorship as a result of any conduct by Defendants. Indeed, because

   Dr. Kulldorff’s declaration, executed on June 8, 2022, is nearly a year old, it furnishes no evidence

   that he continues to suffer any present or threatened injury from alleged censorship, or what he

   describes as “self-censorship.”

           1380. Dr. Kulldorff notes that social-media censorship directly affects him as a reader of
   other scientists’ speech on social media, on an ongoing basis, by reducing his access to the thoughts
   and views of scientists who dissent from the government-mandated orthodoxy: “Social-media
   censorship has not focused solely on the co-authors of the Great Barrington Declaration but has



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   swept in many other scientists as well. These censorship policies have driven scientists and others
   to self-censor, as scientists like me restrict what we say on social-media platforms to avoid
   suspension and other penalties. In fact, the most devastating consequence of censoring is not the
   actual posts or accounts that are censored or suspended, but the reluctance of scientists to openly
   express and debate scientific questions using their varied scientific expertise. Without scientific
   debate, science cannot survive.” Id. ¶ 28.

          RESPONSE: Disputed. There is no portion of the cited declaration in which “Dr. Kulldorff

   notes that social-media censorship directly affects him as a reader of other scientists’ speech on

   social media, on an ongoing basis, by reducing his access to the thoughts and views of scientists

   who dissent from the government-mandated orthodoxy.” As for the quoted statements, they are

   unsupported by the record and lack any evident basis in Dr. Kulldorff’s personal knowledge.

   Regardless, none of the quoted language contains evidence of threats or pressure by Defendants to

   force social media companies to censor speech, or that Dr. Kulldorff has experienced or

   imminently will experience censorship (whether as a reader or otherwise) because of any conduct

   by Defendants. Indeed, because Dr. Kulldorff’s declaration, executed on June 8, 2022, is nearly a

   year old, it furnishes no evidence that he continues to suffer any present or threatened injury from

   alleged censorship “on an ongoing basis.”

           1381. Dr. Kheriaty, also, describes ongoing injuries from social-media censorship of
   views dissenting from the government-preferred narratives about COVID-19. He experiences an
   ongoing pattern of censorship and removals lasting over years: “I have always shared peer-
   reviewed research findings as well as my own opinions and perspectives on Twitter and LinkedIn.
   It was not until I began posting information about covid and our covid response policies, however,
   that I encountered censorship on the Twitter platform. This began in 2020 when I published an
   article on the adverse mental health consequences of lockdowns. The problem became more
   pronounced in 2021 when I shared my Wall Street Journal article and other information on ethical
   issues related to vaccine mandates.” Doc. 10-7, ¶ 11.

          RESPONSE: Disputed that Dr. Kheriaty “describes ongoing injuries from social-media

   censorship.” There is no portion of the cited declaration in which Dr. Kheriaty “describes ongoing

   injuries from social-media censorship” or states that he “experiences an ongoing pattern of

   censorship.” To the contrary, all of the examples offered by Dr. Kheriaty in the cited portions of



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   his declaration happened long ago (some as early as 2020), and thus offer no support for the

   characterization of there being any “ongoing pattern of censorship.” Indeed, because Dr.

   Kheriaty’s declaration was executed on an unknown date no later than August of 2022—the

   signature says “3 June 2020,” but the declaration purports to describe events occurring after 2020,

   and was filed on the docket in August of 2022—it furnishes no evidence that he continues to suffer

   any present or threatened injury from alleged censorship. Moreover, Dr. Kheriaty speculates (also

   without evidence) that Twitter “may have been walking back some of its censorship tendencies”

   around the time “after it was announced that Elon Musk would buy twitter.” Kheriaty Decl. ¶ 13

   (Dkt. 10-7). Regardless, none of the quoted language contains evidence of threats or pressure by

   Defendants to force social media companies to censor speech, or that Dr. Kheriaty has experienced

   or imminently will experience censorship as a result of any conduct by Defendants.

            1382. As Dr. Kheriaty notes, “[t]he Twitter censorship took several forms.” Id. He
   describes suffering artificial limitations on the number of followers on his social-media accounts,
   id. ¶¶ 12-13; “shadow banning” of social-media posts that “challenge[] the federal government’s
   preferred covid policies,” id. ¶¶ 14-15; self-censorship to avoid further adverse consequences or
   permanent bans, id. ¶ 16; and removal of content from YouTube, id. ¶ 17. Dr. Kheriaty specifically
   notes that the problem of “shadow banning” his social-media posts is ongoing and increasing, as
   it “intensified in 2022.” Id. ¶ 15. Further, he notes that “[t]he pattern of content censored on these
   social media platforms mirrors closely the CDC and Biden administration policies.” Id. ¶ 18.

          RESPONSE: Disputed. This PFOF improperly purports to summarize seven paragraphs

   of Dr. Kheriaty’s Declaration, rather than identifying (let alone substantiating) any particular fact

   that appears therein. In any event, all of the examples offered by Dr. Kheriaty in the cited portions

   of his declaration happened long ago (some as early as 2020), and thus offer no support for the

   characterization of there being any “censorship” that is “ongoing and increasing.” Indeed, because

   Dr. Kheriaty’s declaration was executed on an unknown date no later than August of 2022—the

   signature says “3 June 2020,” but the declaration purports to describe events occurring after 2020,

   and was filed on the docket in August of 2022—it furnishes no evidence that he continues to suffer



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   any present or threatened injury from alleged censorship, let alone any that is “ongoing and

   increasing.” To the contrary, Dr. Kheriaty speculates (also without evidence) that Twitter “may

   have been walking back some of its censorship tendencies” around the time “after it was

   announced that Elon Musk would buy twitter.” Kheriaty Decl. ¶ 13 (Dkt. 10-7). Regardless, none

   of the quoted language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Dr. Kheriaty has experienced or imminently will experience

   censorship as a result of any conduct by Defendants.

           1383. Dr. Kheriaty describes the ongoing experience of shadow-banning: “I encountered
   evidence of this shadow-banning in 2021 before I was let go from the University after I started
   posting on covid topics, and the problem intensified in 2022 following my dismissal, as I continued
   to post frequently on the ethics of vaccine mandates for competent adults.” Id. ¶ 15.

          RESPONSE: Disputed. Dr. Kheriaty does not purport to describe any “ongoing experience

   of shadow-banning” as he describes no “evidence” of shadow-banning, whether based on his

   personal knowledge or otherwise. And because Dr. Kheriaty’s declaration was executed on an

   unknown date no later than August of 2022—the signature says “3 June 2020,” but the declaration

   purports to describe events occurring after 2020, and was filed on the docket in August of 2022—

   it furnishes no evidence that he continues to suffer any present or threatened injury from alleged

   censorship, or any “ongoing experience” with alleged shadow-banning. Moreover, Dr. Kheriaty

   speculates in his Declaration (also without evidence) that Twitter “may have been walking back

   some of its censorship tendencies” around the time “after it was announced that Elon Musk would

   buy twitter.” Kheriaty Decl. ¶ 13 (Dkt. 10-7). Regardless, none of the quoted language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Dr. Kheriaty has experienced or imminently will experience censorship because of any

   conduct by Defendants.




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          1384. Dr. Kheriaty also experiences ongoing injury as a reader of other speakers’ content
   on social media, as government policies cause censorship and self-censorship of their content as
   well: “I have several of my friends and colleagues—including Dr. Peter McCollough and Dr.
   Robert Malone—who were temporarily (McCollough) or permanently (Malone) banned from
   Twitter for posing peer-reviewed scientific findings regarding the covid vaccines.” Id. ¶ 16.

          RESPONSE: Disputed. Dr. Kheriaty does not describe any “ongoing injury as a reader”

   in the cited passage or elsewhere in his declaration. The only example offered of any “ongoing

   injury” relates to the fact that, apparently, someone other than Dr. Kheriaty (Dr. Robert Malone)

   was banned from Twitter “permanently.” But in fact, as of the date of this filing, Dr. Malone

   appears to have an active Twitter account through which he has tweeted more than 12,000 times

   to his approximately 1 million followers, which is publicly available at the following link:

   https://twitter.com/RWMaloneMD. See Robinson Decl. ¶ 11. Indeed, because Dr. Kheriaty’s

   declaration was executed on an unknown date no later than August of 2022—the signature says “3

   June 2020,” but the declaration purports to describe events occurring after 2020, and was filed on

   the docket in August of 2022—it furnishes no evidence that he continues to suffer any present or

   threatened or “ongoing” injury from alleged censorship. Regardless, none of the quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Dr. Kheriaty has experienced or imminently will experience censorship (whether

   as a reader or otherwise) as a result of any conduct by Defendants.

           1385. Dr. Kheriaty also engages in self-censorship to avoid more severe penalties from
   the platforms: “Even though the ethics of vaccine mandates is among my areas of expertise, and
   an area that has impacted me personally and professionally, I am extremely careful when posting
   any information on Twitter related to the vaccines, to avoid getting banned. This self-censorship
   has limited what I can say publicly on topics where I have specific scientific and ethical expertise
   and professional experience.” Id. ¶ 16.

          RESPONSE: Undisputed that Dr. Kheriaty asserts he has chosen to engage in what he

   describes as “self-censorship.” Regardless, none of the quoted language contains evidence of

   threats or pressure by Defendants to censor speech, or communications that any social-media



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   platforms regarded (or acted on) as such. To the contrary, the quoted statement confirms that, to

   the extent that Dr. Kheriaty is engaged in “self-censorship,” it is part of an effort “to avoid more

   severe penalties from the platforms,” i.e., private social-media companies—not any of the

   Defendants. Finally, because Dr. Kheriaty’s declaration was executed on an unknown date no later

   than August of 2022—the signature says “3 June 2020,” but the declaration purports to describe

   events occurring after 2020, and was filed on the docket in August of 2022—it furnishes no

   evidence that he continues to suffer any present or threatened injury from alleged censorship or

   self-censorship.

           1386. Dr. Kheriaty observes a close link between this ongoing pattern of social-media
   censorship and speech that criticizes government policies: “The pattern of content censored on
   these social media platforms mirrors closely the CDC and Biden administration policies. In my
   experience using these platforms to discuss covid topics, any content that challenges those federal
   policies is subject to severe censorship, without explanation, on Twitter and YouTube—even when
   the information shared is taken straight from peer-reviewed scientific literature.” Id. ¶ 18.

          RESPONSE: Undisputed that Dr. Kheriaty “observes” what he believes is a “close link”

   between these subjects, but the actual existence of such a “link” is disputed, and Dr. Kheriaty’s

   suggestion to the contrary is conclusory and unsupported by any evidence provided elsewhere in

   his Declaration or the record as a whole. Regardless, none of the quoted language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Dr. Kheriaty has experienced or imminently will experience censorship because of any

   conduct by Defendants. Finally, because Dr. Kheriaty’s declaration was executed on an unknown

   date no later than August of 2022—the signature says “3 June 2020,” but the declaration purports

   to describe events occurring after 2020, and was filed on the docket in August of 2022—it

   furnishes no evidence that he continues to suffer any present or threatened injury from alleged

   censorship, or that any “ongoing pattern of social-media censorship” exists.




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           1387. Plaintiff Jim Hoft attests both ongoing injuries and the imminent expectation of
   future injuries. Doc. 10-5. Hoft is the “founder, owner, and operator of the popular news website
   The Gateway Pundit (‘GP’), gatewaypundit.com. … Since its founding in 2004, the Gateway
   Pundit has grown from a one-man blog to one of the internet’s largest destinations for conservative
   news and commentary. In 2021, The Gateway Pundit was ranked fourth on a list of top ten
   conservative news websites, ranked by monthly web searches, with over 2 million searches per
   month.” Id. ¶ 2. The Gateway Pundit has large social-media followings on multiple platforms: “In
   particular, GP’s Twitter account had over 400,000 followers before it was suspended. GP’s
   Facebook account has over 650,000 followers. GP’s Instagram account has over 205,000
   followers. GP’s YouTube account has over 98,000 followers.” Id. ¶ 3.

          RESPONSE: Disputed, for the reasons stated in the responses to Plaintiffs’ PFOFs that

   follow, that Mr. Hoft “attests both ongoing injuries and the imminent expectation of future

   injuries.” The remainder of this PFOF is undisputed, although Defendants note that neither this

   PFOF nor any of those that follow contain evidence of threats or pressure by Defendants to force

   social media companies to censor speech, or that Mr. Hoft or The Gateway Pundit has experienced

   or imminently will experience censorship because of any conduct by Defendants. Finally, because

   Mr. Hoft’s declaration, executed on June 6, 2022, is nearly a year old, it furnishes no evidence that

   he continues to suffer any “ongoing” or “imminent” injury from alleged censorship.

            1388. Hoft notes that The Gateway Pundit’s “social media accounts have experienced
   censorship on all major social-media platforms,” which “has followed and reflected the calls for
   censorship from federal government officials, including in the Biden Administration.” Id. ¶ 4.
   These acts of censorship include suspensions from his Twitter account and another personal
   Twitter account, id. ¶¶ 6-7, 10; a permanent ban from his Twitter account, id. ¶ 8; labels applied
   to Twitter posts on personal accounts, id. ¶ 9; warning labels imposed on Facebook posts and other
   restrictions on his Facebook account, id. ¶ 12; permanent removal of content posted on Facebook,
   id. ¶ 13; prevention of sharing of Facebook-posted content, id.; removal of content from YouTube,
   id. ¶ 14; imposition of sanctions on Mr. Hoft’s followers for re-posting or amplifying his speech,
   id. ¶ 15; engaging in self-censorship to avoid permanent bans or other more serious sanctions from
   the social-media platforms, id. ¶ 16; and demonetization by Google, id. ¶ 19; see also id. ¶¶ 18-
   20.

          RESPONSE: Disputed. This PFOF improperly purports to summarize fourteen paragraphs

   of Mr. Hoft’s Declaration, rather than identifying (let alone substantiating) any particular fact that

   appears therein. For example, Mr. Hoft claims that his Twitter account was “permanently banned,”




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   when in fact, as of the date of this filing, the Twitter account in question is publicly available at

   the following link, where Mr. Hoft appears to tweet (often several times per hour) to over 500,000

   followers: https://twitter.com/gatewaypundit. See Robinson Decl. ¶ 4. Regardless, none of the

   cited language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Mr. Hoft or The Gateway Pundit has experienced or

   imminently will experience censorship as a result of any conduct by Defendants. To the contrary,

   the declaration repeatedly makes clear that the conduct of which Mr. Hoft complains was carried

   out by private social-media companies, not Defendants. See, e.g., Hoft Decl. ¶ 10 (Dkt. 10-5)

   (“Twitter suspended the account . . . .”); id. ¶ 11 (“Facebook’s censorship was so aggressive . . .

   .”); id. ¶ 14 (“YouTube removed a video we had posted.”). Finally, because Mr. Hoft’s declaration,

   executed on June 6, 2022, is nearly a year old, it furnishes no evidence that he continues to suffer

   any ongoing or imminent injury from alleged censorship.

           1389. Hoft observers that “GP’s social media accounts have experienced censorship on
   all major social-media platforms, including its speech regarding COVID-19 issues and election
   security. In many instances, we have noticed that this censorship has followed and reflected the
   calls for censorship from federal government officials, including in the Biden Administration.” Id.
   ¶ 4. “For example, the current Administration has repeatedly called for censorship of social media
   speech regarding election integrity and so-called ‘COVID-19 misinformation.’ GP has
   experienced significant social-media censorship regarding its speech on both of those issues,
   including on Twitter, Facebook, and YouTube.” Id. ¶ 5.

          RESPONSE: Disputed. The quoted statements are unsupported by the record to the extent

   that they assert without evidence (other than Mr. Hoft’s own characterizations) that there have

   been “calls for censorship from federal government officials,” or that “the Current Administration

   has repeatedly called for censorship.” Regardless, none of the cited language contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that Mr.

   Hoft or The Gateway Pundit has experienced or imminently will experience censorship because

   of any conduct by Defendants. Finally, because Mr. Hoft’s declaration, executed on June 6, 2022,



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   is nearly a year old, it furnishes no evidence that he continues to suffer any ongoing or imminent

   injury from alleged censorship.

          1390. Hoft has experienced censorship for COVID speech that is now widely
   acknowledged to be true, such as a suspension from Twitter for claiming that the vaccines do not
   prevent infection, and the claim that COVID deaths are overcounted by including deaths from
   other causes: “On or about January 2, 2021, Twitter suspended GP’s Twitter account
   (@gatewaypundit) after it posted a tweet that stated, “Then It’s Not a Vaccine: Crazy Dr. Fauci
   Says Early COVID Vaccines Will Only Prevent Symptoms and NOT Block the Infection
   …What?” Id. ¶ 6; see also id. ¶ 9.

          RESPONSE: Disputed to the extent that Plaintiffs’ PFOF appears to mischaracterize the

   tweet in question, for which Mr. Hoft claims to have received a 12-hour suspension from his

   Twitter account. See Hoft Decl. ¶ 6 (Dkt. 10-5). Regardless, none of the cited or quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Mr. Hoft or The Gateway has experienced or imminently will experience censorship

   because of any conduct by Defendants.

          1391. The Gateway Pundit also experienced censorship under Twitter’s “hacked
   materials” policy by retweeting the contents of Hunter Biden’s laptop. After a GP blogger “tweeted
   content related to Hunter Biden’s laptop,” “Twitter suspended the account on the ground that he
   ‘Violat[ed] our rules against posting or sharing privately produced/ distributed intimate media of
   someone without their express consent.’” Id. ¶ 10.

          RESPONSE: Undisputed, but immaterial to any issue in this case. None of the cited or

   quoted language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Mr. Hoft or The Gateway Pundit has experienced or

   imminently will experience censorship because of any conduct by Defendants. To the contrary,

   the cited language confirms that the conduct of which Mr. Hoft complains was based upon

   “Twitter’s ‘hacked materials’ policy,” rather than any federal government policy, and that “Twitter

   suspended the account,” rather than Defendants.

          1392. Hoft also experiences a long list of acts of censorship from Facebook: “Facebook
   frequently imposed warning labels and other restrictions on our content, particularly content



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   related to election integrity and COVID-19. Facebook’s censorship was so aggressive that I was
   forced to hire an assistant to monitor and address censorship on Facebook.” Id. ¶ 11; see also id.
   ¶ 12. Facebook imposes labels on Hoft’s content that require the reader, before viewing Hoft’s
   content, to click-through a Facebook-imposed screen that states: “The Gateway Pundit is an
   American far-right news and opinion website. The website is known for publishing falsehoods,
   hoaxes, and conspiracy theories.” Id. at 12. It also labels Hoft’s postings as “Missing Context”
   even when their truth is undisputed. Id. at 20-23. And it labels expressions of core political opinion
   as “Partly False.” Id. at 28; see also id. 29-58 (many other examples of such labeling and blocking
   from reposting on Facebook and Twitter).

          RESPONSE: Disputed. This PFOF improperly purports to summarize lengthy portions of

   Mr. Hoft’s Declaration, rather than identifying (let alone substantiating) any particular fact that

   appears therein. In addition, the PFOF purports to cite many paragraphs of the Declaration (up to

   Paragraph 58) that do not exist—the Declaration contains only 20 numbered paragraphs.

   Defendants are thus unable to respond meaningfully to this PFOF, given Plaintiffs’ failure to

   adequately identify the evidence on which it is based. Regardless, even if all of the content

   summarized in Plaintiffs’ PFOF appeared in Mr. Hoft’s Declaration, none of it contains evidence

   of threats or pressure by Defendants to force social media companies to censor speech, or that Mr.

   Hoft or The Gateway Pundit has experienced or imminently will experience censorship as a result

   of any conduct by Defendants. To the contrary, Plaintiffs’ PFOF itself repeatedly makes clear that

   the conduct of which Mr. Hoft complains was carried out by private social-media companies,

   rather than Defendants. See, e.g., supra (purporting to describe “a long list of acts of censorship

   from Facebook”). Finally, because Mr. Hoft’s declaration, executed on June 6, 2022, is nearly a

   year old, it furnishes no evidence that he continues to suffer any ongoing or imminent injury from

   alleged censorship.

          1393. As Hoft notes, Facebook also prevents Hoft’s audiences from reposting or
   amplifying his content: “Facebook also [dis]courages (or otherwise outright prohibits) the public
   from sharing our content with their social networks.” Id. ¶ 13. Hoft describes this second-order
   censorship in detail: “The social-media platforms have extended their censorship policies to our
   followers as well. We have received numerous reports from followers that they have received
   temporary suspensions or other adverse actions from social-media platforms (such as seven-day



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   suspensions of their Facebook accounts) for re-posting or amplifying our content. This chills our
   followers from re-posting, re-tweeting, or otherwise amplifying our content. The risk of being
   locked out of Facebook for seven days, or suffering other forms of censorship, deters our followers
   from amplifying our content on social media platforms, which reduces the reach of our message.”
   Id. ¶ 15.

          RESPONSE: Disputed. Nothing in the cited or quoted portions of Mr. Hoft’s declaration

   shows that “Facebook . . . prevents Hoft’s audiences from reposting or amplifying his content,”

   that “followers” of the Gateway Pundit have been “chilled” as a result from “amplifying” its

   content, or that Mr. Hoft has any personal knowledge of these matters. Regardless, none of the

   cited or quoted language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Mr. Hoft or The Gateway Pundit has experienced or

   imminently will experience censorship because of any conduct by Defendants. To the contrary,

   the PFOF itself repeatedly makes clear that the conduct of which Mr. Hoft complains was carried

   out by Facebook, not Defendants. Finally, because Mr. Hoft’s declaration, executed on June 6,

   2022, is nearly a year old, it furnishes no evidence that he continues to suffer any present or

   threatened injury from alleged censorship.

           1394. Hoft also describes ongoing self-censorship to avoid more severe penalties on
   social media: “These social-media censorship policies chill GP’s freedom of expression on social
   media platforms as well. To avoid suspension and other forms of censorship, we frequently avoid
   posting content that we would otherwise post on social-media platforms, and we frequently alter
   content to make it less likely to trigger censorship policies.” Id. ¶ 16.

          RESPONSE: Disputed. The cited and quoted statements are unsupported by the record.

   Undisputed that Mr. Hoft asserts he has chosen to engage in what he describes as “self-censorship,”

   but that is immaterial to any issue in this case. None of the cited or quoted language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Mr. Hoft or The Gateway Pundit has experienced or imminently will experience censorship

   as a result of any conduct by Defendants. Finally, because Mr. Hoft’s declaration, executed on




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   June 6, 2022, is nearly a year old, it furnishes no evidence that he continues to suffer any present

   or threatened injury from alleged censorship, or engages in any “ongoing self-censorship.”

           1395. Hoft observes that the censorship of his content on social media closely tracks the
   censorship preferences of federal officials: “Based on my close observation of the patterns of
   censorship of GP’s social-media accounts and related accounts in recent years, I have strong reason
   to infer that federal government officials are directly involved in the censorship of our speech and
   content.” Id. ¶ 17. Hoft’s posts that have faced censorship include posts criticizing the FBI, id. at
   9; and criticizing the administration of the 2020 election, id. at 11;

          RESPONSE: Undisputed that Mr. Hoft believes that he “observes” this phenomenon, but

   disputed that it actually exists; the cited and quoted statements are conclusory and unsupported by

   any evidence provided elsewhere in Mr. Hoft’s Declaration or the record as a whole. None of them

   shows that any “censorship” of Mr. Hoft’s “content on social media closely tracks the censorship

   preferences of federal officials,” nor that federal officials have any “censorship preferences” at all.

   Moreover, Mr. Hoft provides no factual or evidentiary basis for the statement that he has “strong

   reason to infer that federal government officials are directly involved in the censorship of our

   speech and content,” which is unsupported by the record. None of the cited or quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Mr. Hoft or The Gateway Pundit has experienced or imminently will experience

   censorship as a result of any conduct by Defendants.

           1396. Hoft continues to experience censorship, including up to the date he executed his
   declaration. For example, he received a strike on YouTube on May 14, 2022, and YouTube
   removed the video he had posted, for speech regarding election integrity that discussed the problem
   of election fraud and raised questions about the outcome of the 2020 Presidential election,
   including money Idaho illegally received from Mark Zuckerberg and other problems relating to
   voter fraud. Id. ¶ 14.

          RESPONSE: Undisputed that Mr. Hoft “received a strike on YouTube on May 14, 2022,”

   and that “YouTube removed the video” in question. The remainder of this PFOF is disputed,

   including that Mr. Hoft “continues to experience censorship.” Indeed, because Mr. Hoft’s




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   declaration is nearly a year old, it furnishes no evidence that he continues to suffer any ongoing or

   imminent injury from alleged censorship, or that he “continues to experience censorship” in any

   way. In any event, none of the cited or quoted language contains evidence of threats or pressure

   by Defendants to force social media companies to censor speech, or that Mr. Hoft or The Gateway

   Pundit has experienced or imminently will experience censorship because of any conduct by

   Defendants. To the contrary, the Declaration confirms that “YouTube removed the video he had

   posted,” rather than Defendants.

            1397. Plaintiff Jill Hines is the “Co-Director of Health Freedom Louisiana, a consumer
   and human rights advocacy organization.” Doc. 10-12, ¶ 2. Hines’s “organization engages in
   public advocacy on behalf of Louisiana citizens on issues of health freedom and fundamental
   human rights. [Hines] ha[s] testified before the Louisiana legislature approximately 20 times on
   such issues.” Id. ¶ 3. Hines attests that, “Because our organization recognizes the need to educate
   and inform the public of their rights regarding state and federal laws concerning vaccinations, we
   have experienced social media censorship of our speech regarding vaccine information.” Id.¶ 2.
   Hines has “approximately 13,000 followers each on Health Freedom Louisiana and Reopen
   Louisiana.” Id. ¶ 2. Among other things, Hines’ organization “advocate[s] against the imposition
   of mask mandates on children, especially during prolonged periods, as in schools.” Id.¶ 4. Hines
   also “launched a grassroots effort called Reopen Louisiana on April 16, 2020 to help expand our
   reach on social media and take on the issues surrounding the continued government shutdown.”
   Id. ¶ 6.

          RESPONSE: Undisputed, except for the statement that Ms. Hines has “experienced social

   media censorship,” which is conclusory and unsupported by evidence presented elsewhere in Ms.

   Hines’ declaration or the record as a whole. Regardless, none of the cited or quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Ms. Hines has experienced or imminently will experience censorship as a result of

   any conduct by Defendants.

           1398. Hines describes continuous and ongoing censorship on social media from pressure
   wielded by federal officials: “In the last two years, any information that was not positive in nature
   or conveyed adverse events associated with shutdown or mitigation efforts was deemed
   ‘misinformation.’ Dr. Anthony Fauci has used the term repeatedly and it has been adopted by the
   press and media.” Id. ¶ 5. Hines continues to suffer ongoing social-media censorship, and the acts
   of censorship include application of warnings on Facebook content, id. ¶ 8; the reduction of her



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   reach to audiences on Facebook, id.; removal of content and sanctions, including 30-day
   suspensions, from Facebook, id. ¶ 9; 24-hour suspensions that prevented her from organizing
   people to advocate to the Louisiana legislature, id. ¶ 10; shadow-banning and dramatically
   restricting the reach of her speech to its audiences, id. ¶ 10; and the complete de-platforming of
   Facebook groups intended to organize Louisianans to petition their government, id. ¶¶ 13-14. Ms.
   Hines states that “[r]emoving our closed group at such a crucial time effectively stopped our ability
   to communicate with our representatives in the state legislature.” Id. ¶ 14. “To say the cards are
   stacked against me is an understatement.” Id. ¶ 16.

          RESPONSE: Disputed. This PFOF improperly purports to summarize lengthy portions of

   Ms. Hines’s Declaration, rather than identifying (let alone substantiating) any particular fact that

   appears therein. In any event, nothing in the declaration shows either “continuous” or “ongoing

   censorship on social media,” and certainly not as a result of “pressure wielded by federal officials.”

   Those statements find no factual or evidentiary support in the declaration or the record as a whole.

   To the contrary, the Declaration describes a handful of specific incidents dating back to 2020, in

   which private companies acted to enforce the terms of service of their own private social-media

   platforms, to which their users agreed as a condition of using those platforms. Hines Decl. ¶¶ 8-14

   (Dkt. 10-12) Indeed, because Ms. Hines’s declaration, executed on June 9, 2022, is nearly a year

   old, it furnishes no evidence that she continues to suffer any present or threatened injury from

   alleged censorship. None of the cited or quoted statements contains evidence of threats or pressure

   by Defendants to force social media companies to censor speech, or that Ms. Hines has experienced

   or imminently will experience censorship as a result of any conduct by Defendants. To the

   contrary, Ms. Hines’s own declaration (and Plaintiffs’ mischaracterization of that declaration in

   this PFOF) repeatedly make clear that the conduct of which she complains was carried out by

   private social-media companies, not Defendants. See, e.g., Pls.’ PFOF ¶ 1388 (purporting to

   describe “removal of content and sanctions, including 30-day suspensions, from Facebook”).

           1399. Hines attests that the censorship campaign against her social-media speech is
   ongoing, noting that “[p]osts pointing to lack of safety of masking were and are targeted, as well
   as articles that mention adverse events of vaccinations, including VAERS data.” Id. ¶ 9. She



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   continues to suffer specific, new acts of censorship, including right up to the time when she
   executed her Declaration on June 9, 2022: “The most recent restriction [was] in late May 2022.”
   Id. Ms. Hines notes that “[m]y personal Facebook page, and the Facebook pages of both Health
   Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely
   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶ 12.

          RESPONSE: Disputed. The cited statements are unsupported by the record, and none of

   them show that any “censorship campaign against her social-media speech is ongoing,” nor that

   Ms. Hines “continues to suffer specific, new acts of censorship, including right up to the time when

   she executed her Declaration.” Indeed, because Ms. Hines’s declaration, executed on June 9, 2022,

   is nearly a year old, it furnishes no evidence that she continues to suffer any present or threatened

   injury from alleged censorship. As of the date of this filing, Ms. Hines and Health Freedom

   Louisiana each appear to have active Facebook pages. See Robinson Decl. ¶¶ 3, 8. In any event,

   none of the cited or quoted language contains evidence of threats or pressure by Defendants to

   force social media companies to censor speech, or that Ms. Hines has experienced or imminently

   will experience censorship because of any conduct by Defendants. To the contrary, the Declaration

   makes clear that the conduct of which she complains was carried out by private social-media

   companies, rather than Defendants.

          1400. Hines reports that acts of censorship of her COVID-19-related speech have
   occurred continuously up to the present: “Over the last year and a half since we noticed social-
   media censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’
   and ‘community standards’ violations.” Id. ¶ 11.

          RESPONSE: Disputed. Ms. Hines’s declaration does not, in fact, “report[] that acts of

   censorship of her COVID-19-related speech have occurred continuously up to the present.” The

   cited language refers only to events “beginning in October 2020” and taking place approximately

   over the next “year and a half since” October of 2020. Indeed, because Ms. Hines’s declaration,

   executed on June 9, 2022, is nearly a year old, it furnishes no evidence that she continues to suffer

   any present or threatened injury from alleged censorship. Regardless, none of the cited or quoted



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   language contains evidence of threats or pressure by Defendants to force social media companies

   to censor speech, or that Ms. Hines has experienced or imminently will experience censorship as

   a result of any conduct by Defendants.

           1401. Hines has observed a link between the censorship that her groups have experienced
   and the public demands for censorship from federal officials: “Many similar threats from federal
   officials followed … especially as covid became a public concern. In the last two years, any
   information that was not positive in nature or conveyed adverse events associated with shutdown
   or mitigation efforts was deemed ‘misinformation.’ Dr. Anthony Fauci has used the term
   repeatedly and it has been adopted by the press and media.” Id. ¶ 5.

          RESPONSE: Disputed. Ms. Hines’s declaration does not, in fact, demonstrate “a link

   between the censorship that her groups have experienced and the public demands for censorship

   from federal officials”—indeed, it does not even assert the existence of such a link, nor does she

   claim to have any personal knowledge about why private social-media companies took the actions

   that she complains of. Nor is there any support in the record for the statement that, “[i]n the last

   two years, any information that was not positive in nature or conveyed adverse events associated

   with shutdown or mitigation efforts was deemed ‘misinformation,’” or that any such labeling was

   caused by Dr. Anthony Fauci. None of the cited or quoted language contains evidence of threats

   or pressure by Defendants to force social media companies to censor speech, or that Ms. Hines has

   experienced or imminently will experience censorship because of any conduct by Defendants.

           1402. Social-media censorship dramatically reduces the reach of Hines’s speech: “our
   analytics showed that we were reaching approximately 1.4 million people in a month’s time on
   one of our Facebook pages, but after sharing photos of the mouths of children suffering from
   impetigo from long-term mask use, our page received a warning and our reach was reduced to
   thousands.” Id. ¶ 8.

          RESPONSE: Disputed. Ms. Hines’s declaration does not show that “[s]ocial-media

   censorship dramatically reduces the reach of Hines’s speech,” nor does it substantiate any of the

   statistics including in this paragraph, which otherwise find no support in the record. Regardless,

   none of the cited or quoted language contains evidence of threats or pressure by Defendants to



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   force social media companies to censor speech, or that Ms. Hines has experienced or imminently

   will experience censorship as a result of any conduct by Defendants. And because Ms. Hines’s

   declaration, executed on June 9, 2022, is nearly a year old, it furnishes no evidence that she

   continues to suffer any present or threatened injury from alleged censorship.

           1403. Hines experiences an ongoing campaign of social-media censorship that extends to
   the present, the date she executed her declaration: “This began a long series of attempts to censor
   our posts on Facebook and other social-media platforms. Posts pointing to lack of safety of
   masking were and are targeted, as well as articles that mention adverse events of vaccinations,
   including VAERS data. I was completely restricted from Facebook for 30 days starting in January
   2022 for sharing the image of a display board used in a legislative hearing that had Pfizer’s
   preclinical trial data on it. The most recent restriction, in late May 2022, was for re-posting an
   Epoch Times article that discussed a pre-print study detailing increased emergency calls for teens
   with myocarditis following covid vaccination.” Id. ¶ 9.

          RESPONSE: Disputed. Ms. Hines’s declaration does not show that she “experiences an

   ongoing campaign of social-media censorship that extends to the present, the date she executed

   her declaration.” That statement is logically incoherent; her declaration cannot be evidence of

   present injury, as she executed her declaration in June of 2022, which was almost nine months

   before this assertion was made in Plaintiffs’ PFOF in March of 2023. Regardless, none of the

   quoted language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Ms. Hines has experienced or imminently will experience

   censorship because of any conduct by Defendants.

           1404. Censorship of Hines’s social-media speech directly impairs her efforts to engage in
   political organization to petition her government to change its policies: “One post in particular that
   was hit with a ‘community standards’ warning on October 6, 2020, was a ‘call to action’ asking
   people to contact their legislators to end the governor’s mask mandate. On the same day, we were
   asking people to testify during the Legislature’s Second Extraordinary Session regarding a bill …
   that would prohibit a covid vaccine employee mandate. I was prohibited from posting for 24 hours
   on all pages, including my own. When I was finally able to post again, our reach was significantly
   diminished, compared with our 1.4 million per month rate beforehand. Our page engagement was
   almost non-existent for months. It felt like I was posting in a black hole. Each time you build
   viewership up, it is knocked back down with each violation. Our current analytics show Reopen
   Louisiana is reaching around 98,000 in the last month and Health Freedom Louisiana is only
   reaching 19,000. There are warnings when you search for Health Freedom Louisiana. People that



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   regularly interacted with our page were never heard from again. Some people who did find the
   page later on, asked us where we went.” Id. ¶ 10.

          RESPONSE: Disputed. Ms. Hines’s declaration does not show that “[c]ensorship of

   Hines’s social-media speech directly impairs her efforts to engage in political organization to

   petition her government to change its policies.” Indeed, because Ms. Hines’s declaration, executed

   on June 9, 2022, is nearly a year old, it furnishes no evidence that she continues to suffer any

   present or threatened injury from alleged censorship. In any event, none of the quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Ms. Hines has experienced or imminently will experience censorship because of

   any conduct by Defendants.

            1405. Hines suffers repeated censorship on individual posts as well, including
   undisputedly truthful information: “Over the last year and a half since we noticed social-media
   censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’ and
   ‘community standards’ violations. Articles with health concerns related to mask wearing have been
   targeted … as well as articles relating to pregnant women being vaccinated. … Data taken directly
   from VAERS was flagged as misinformation and we received ‘fact checks’ for that as well, even
   if it contained a disclaimer about causation.” Id. ¶ 11.

          RESPONSE: Disputed. Ms. Hines’s declaration does not establish any “censorship” at all,

   let alone of any “undisputedly truthful information”—only that private companies have acted to

   enforce the terms of service of their own private social-media platforms, to which their users

   agreed as a condition of using those platforms. None of the quoted language contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that Ms.

   Hines has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. Indeed, because Ms. Hines’s declaration, executed on June 9, 2022, is nearly a year

   old, it furnishes no evidence that she continues to suffer any present or threatened injury from

   alleged censorship.




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           1406. Hines attests that she is under current and constant threat of more severe censorship
   penalties, including deplatforming: “My personal Facebook page, and the Facebook pages of both
   Health Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely
   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶12.

          RESPONSE: Disputed. The cited and quoted statements are based on Ms. Hines’s

   unsupported speculation about how private companies might respond to her future social-media

   activity. In addition, Ms. Hines’ declaration furnishes no evidence that she is under a “current” or

   “constant” threat of de-platforming, or other “penalties,” because the declaration was executed

   nearly one year ago. (As of the date of this filing, Ms. Hines and Health Freedom Louisiana each

   appear to have active Facebook pages. See Robinson Decl. ¶¶ 3, 8. Regardless, none of the cited

   or quoted language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Ms. Hines has experienced or imminently will experience

   censorship as a result of any conduct by Defendants.

          1407. Hines engages in self-censorship to avoid more severe penalties: “On many
   occasions, I have altered the spelling of words, used emoji’s, or placed links in comments to avoid
   censorship.” Id. ¶ 12.

          RESPONSE: Undisputed, but what Ms. Hines characterizes as “self-censorship” in

   response to the policies of private companies is immaterial to any issue in this case. Moreover, her

   declaration, executed nearly one year ago, furnishes no evidence that she currently “engages” in

   what she describes as self-censorship, or otherwise suffers any ongoing or imminent injury.

   Regardless, none of the quoted language contains evidence of threats or pressure by Defendants to

   force social media companies to censor speech, or that Ms. Hines has experienced or imminently

   will experience censorship as a result of any conduct by Defendants.

           1408. Hines’s health-freedom groups were completely deplatformed, inflicting a severe
   and direct injury on her ability to engage in political organization to amplify her message and
   petition the government: “two of our Facebook groups were completely deplatformed, effectively
   disbanding a group of more than two thousand people who were organized to engage in direct
   advocacy to our state legislature, on two separate occasions. There were two groups that were



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   deplatformed: HFL Group and North Shore HFL. … HFL Group had almost 2,000 people, and
   North Shore HFL had less than 500 before it was taken down.” Id. ¶ 13.

          RESPONSE: Disputed that Ms. Hines’s health-freedom groups suffered the “severe and

   direct injury” due to de-platforming asserted in this PFOF, as her statement that the groups were

   “effectively disbanded” is a characterization of events for which neither Ms. Hines’s declaration

   nor the record as a whole provides any evidence. In addition, Ms. Hines’s declaration, executed

   nearly a year ago, furnishes no evidence that her groups continue to be deplatformed. or suffer any

   other present or threatened injury. (As of the date of this filing, Ms. Hines and Health Freedom

   Louisiana each appear to have active Facebook pages. See Robinson Decl. ¶¶ 3, 8. Regardless,

   none of the cited or quoted language contains evidence of threats or pressure by Defendants to

   force social media companies to censor speech, or that Ms. Hines has experienced or imminently

   will experience censorship because of any conduct by Defendants. To the contrary, the Declaration

   describes actions taken only by Facebook, a private social-media company, not Defendants.

           1409. This censorship directly interfered with the core political speech and advocacy of
   Hines and thousands of Louisianans: “The last post I made in our HFL Group on July 13, 2021,
   was a ‘call to action’ for the upcoming Veto Session, asking people to contact legislators regarding
   health freedom legislation. During the regular legislative session, we had two bills that were passed
   successfully, but both were vetoed by the governor, including a hugely popular bill that prohibited
   the addition of vaccine information on a state issued driver’s license. The other bill provided
   immunity from liability for businesses that did not impose a covid vaccine mandate. Removing
   our closed group at such a crucial time effectively stopped our ability to communicate with our
   representatives in the state legislature.” Id. ¶ 14.

          RESPONSE: Disputed that any “censorship directly interfered with the core political

   speech and advocacy of Hines and thousands of Louisianans,” as Ms. Hines’s statement that her

   closed group was “effectively stopped” from communicating with state legislators is a

   characterization of events for which neither Ms. Hines’s declaration nor the record as a whole

   provides any evidence. In addition, Ms. Hines’s declaration, executed nearly a year ago, furnishes

   no evidence that her group continues to be removed or suffer any other present or threatened injury.



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   Regardless, none of the cited or quoted language contains evidence of threats or pressure by

   Defendants to force social media companies to censor speech, or that Ms. Hines has experienced

   or imminently will experience censorship because of any conduct by Defendants. To the contrary,

   the Declaration describes actions taken only by Facebook, a private social-media company, not

   Defendants.

           1410. To this day, Hines’s political message, and those of thousands of Louisianans, is
   greatly diminished from this censorship: “After North Shore was deplatformed, we looked for
   alternatives for daily communication. We were to the point of speaking in code on Facebook, so
   moving away from traditional social media was the only option. We currently have 80 members
   in a chat app called GroupMe. We have no statewide reach with that tool.” Id. ¶ 15.

          RESPONSE: Disputed. The cited and quoted statements do not support that “[t]o this day,

   Hines’s political message, and those of thousands of Louisianans, is greatly diminished from this

   censorship.” The quoted language says nothing about the unidentified group of “thousands of

   Louisianans” to which Plaintiffs’ PFOF refers, and Ms. Hines’s declaration, executed nearly a year

   ago, furnishes no evidence that her message or others’ continues to be “diminished,” or that she or

   other Louisianans suffer any other present injury. Regardless, none of the cited or quoted language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Ms. Hines has experienced or imminently will experience censorship as a result of

   any conduct by Defendants. Indeed, because Ms. Hines’s declaration, executed on June 9, 2022,

   is nearly a year old, it furnishes no evidence that she continues to suffer any present or threatened

   injury from alleged censorship.

           1411. Censorship undercuts Hines’s ability to “effectively communicate with people,”
   including Louisiana state officials, about her political views: “It has been incredibly frustrating
   knowing that the government’s narrative is going unchallenged and that we have not been able to
   effectively communicate with people. Knowing that government agencies colluded with Facebook
   to suppress the messaging of groups like mine while paying exorbitant amounts to promote
   vaccinations and covid policies has been especially disheartening. To say the cards are stacked
   against me is an understatement.” Id.¶ 16.




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          RESPONSE: Disputed. The cited and quoted statements do not show that “[c]ensorship

   undercuts Hines’s ability to ‘effectively communicate with people,’ including Louisiana state

   officials, about her political views.” That is a characterization of events for which neither the cited

   statements, nor any other evidence in the record, provides support. Also disputed is Ms. Hines’s

   mistaken belief that “government agencies colluded with Facebook to suppress the messaging of

   groups like mine,” for which she provides no evidence and which is contradicted by the record. In

   addition, Ms. Hines’s declaration, executed nearly a year ago, furnishes no evidence that her group

   continues to be removed or suffer any other present or threatened injury. None of the cited or

   quoted language contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Ms. Hines has experienced or imminently will experience

   censorship as a result of any conduct by Defendants.

          B.      Defendants Gravely Injure Similarly Situated Speakers and Listeners.

          1412. Plaintiffs’ unrebutted evidence demonstrates that other similarly situated speakers
   have suffered and are suffering similar, ongoing, and imminent injuries from government-induced
   censorship on social media.

          RESPONSE: Disputed that “other” speakers “have suffered and are suffering similar,

   ongoing, and imminent injuries from government-induced censorship on social media,” as

   Plaintiffs have adduced no evidence of “government-induced censorship” on social media, that

   they or any other speakers they identify have suffered injury as a result, or that they or any other

   speakers they identify are currently suffering ongoing or imminent injuries as a result. Neither this

   PFOF nor any others that precede it or follow provide evidence to the contrary. See generally

   Defs.’ PFOF §§ I., II., Arg. §§ I., II. Defendants also note in general that allegations of harm to

   individuals and organizations not party to this suit are irrelevant to the questions whether Plaintiffs




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   have suffered, or imminently will suffer, injury in fact or irreparable harm attributable to

   Defendants’ conduct.

           1413. For example, Michael Senger had over 112,000 followers on Twitter, including in
   Missouri and Louisiana; he attests that he was twice suspended from Twitter and then permanently
   banned for posting Tweets critical of government policies for responding to COVID-19. Doc. 10-
   2, ¶¶ 4-8. He was temporarily suspended twice for tweets criticizing the FDA’s emergency
   approval of COVID vaccines and for posting a video document public officials’ statements on
   vaccine effectiveness. Id.¶ 4-6. On March 8, 2022, he was permanently suspended from Twitter
   for posting a statement of core political opinion criticizing government policy, stating that “every
   COVID policy—from the lockdowns and masks to the tests, death coding, and vaccine passes—
   has been one, giant fraud.” Id.¶ 7-8. This permanent suspension was inconsistent with Twitter’s
   own policies. Id.¶ 10. Senger attests that the censorship inflicts ongoing harm on him, both
   “personally and professionally”: “I discovered a gift that I had for writing and developed a network
   of thousands of intelligent people from all over the world with whom I had a close relationship
   discussing these and other issues. Now I have been silenced and cut off from all of them, with no
   viable way of getting that network back or promoting my work, seemingly for the sole crime of
   being too articulate in vocalizing my beliefs.” Id. ¶ 13.

          RESPONSE: Disputed. This PFOF improperly purports to summarize six paragraphs of

   Mr. Senger’s Declaration, rather than identifying (let alone substantiating) any particular fact that

   appears therein. In any event, none of the cited or quoted statements contains evidence of threats

   or pressure by Defendants to force social media companies to censor speech, or that Mr. Senger

   has experienced or imminently will experience censorship because of any conduct by Defendants.

   To the contrary, Mr. Senger’s own declaration repeatedly makes clear that the conduct of which

   he complains was carried out by Twitter, a private social-media company, not Defendants.

   Moreover, the central premise of Plaintiffs’ PFOF—that “he was permanently suspended from

   Twitter for posting a statement of core political opinion criticizing government policy”—is false

   and is contradicted by the record. As of the date of this filing, Mr. Senger maintains an active

   Twitter account, where he appears to tweet (often several times per hour) to his more than 148,000

   followers. That account is available at the following link: https://twitter.com/MichaelPSenger. See

   Robinson Decl. ¶ 7. Indeed, because Mr. Senger’s declaration, executed on May 25, 2022, is nearly




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   a year old, it furnishes no evidence that he continues to suffer any present or threatened injury

   from alleged censorship.

           1414. Jeff Allen is the proprietor of “NewsTalkSTL, a popular news talk radio station in
   the St. Louis, Missouri region,” which “enjoys a substantial Missouri audience.” Doc. 10-8, ¶¶ 2-
   3. His station posts content on YouTube, and he describes how the station “has been targeted by
   YouTube from the moment of its launch in July 2021” through the present, including flagging the
   station’s first promotional video, and issuing “strikes” for “COVID-related and election-related
   ‘misinformation.’” Id. ¶¶ 4-6. These include removing a video of a show that “featured discussion
   of timely COVID issues, including testing and vaccines and treatments,” and issuing a strike for
   that posting. Id. ¶¶ 9-10. His station “continued to receive strikes” from YouTube “in the first week
   of January and into February, 2022” for COVID-related content, id. ¶ 12. On March 14, 2022,
   Allen’s station aired a show on “election integrity” that did not claim any election was stolen, but
   discussed polling data indicating that many Americans have grave concerns about election
   integrity. Id. ¶¶ 13-14. On March 21, 2022, YouTube permanently removed the station’s channel
   as a result of that posting. Id.¶ 15. “In so doing, YouTube deleted all of our content and prevented
   any more posts, silencing our voice and our expression from the platform entirely.” Id.¶ 16.

          RESPONSE: Disputed, except that “Jeff Allen is the proprietor of “NewsTalkSTL, a

   popular news talk radio station in the St. Louis, Missouri region,” which “enjoys a substantial

   Missouri audience,” and that “[h]is station posts content on YouTube.” This PFOF improperly

   purports to summarize twelve paragraphs of Mr. Allen’s Declaration, rather than identifying (let

   alone substantiating) any particular fact that appears therein. In any event, none of the cited or

   quoted statements contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Mr. Allen has experienced or imminently will experience

   censorship as a result of any conduct by Defendants. To the contrary, Mr. Allen’s own declaration

   repeatedly makes clear that the conduct of which he complains was carried out by private social-

   media platforms, rather than Defendants. See, e.g., supra (describing how he has purportedly been

   “targeted by YouTube,” and asserting that “YouTube deleted all of our content”). In addition,

   because Mr. Allen’s declaration, executed on June 11, 2022, is nearly a year old, it furnishes no

   evidence that he continues to suffer any present or threatened injury from alleged censorship.




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          1415. Allen has also experienced significant and ongoing censorship from Facebook:
   “Facebook has also targeted our content, pulling advertisements and issuing temporary
   suspensions, also for COVID and election-related ‘misinformation.’” Id. ¶ 18.

          RESPONSE: Disputed. Nothing in the cited paragraph of the declaration supports the

   assertion that “Allen has . . . experienced significant and ongoing censorship from Facebook.”

   Instead, the declaration confirms that Facebook “ha[s] not permanently banned our content.” Allen

   Decl. ¶ 18 (Dkt. 10-8). In any event, none of the cited or quoted statements contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that Mr.

   Allen has experienced or imminently will experience censorship because of any conduct by

   Defendants. To the contrary, Mr. Allen’s own declaration repeatedly makes clear that the conduct

   of which he complains was carried out by Facebook, a private social-media company, not

   Defendants. In addition, because Mr. Allen’s declaration, executed on June 11, 2022, is nearly a

   year old, it furnishes no evidence that he continues to suffer any “ongoing” or threatened injury

   from alleged censorship.

           1416. Mark Changizi is a commentator on Twitter with 37,000 followers, including many
   in Missouri and Louisiana. Doc. 10-9, ¶ 7, 38. Changizi experiences longstanding and ongoing
   censorship on Twitter, including a first suspension on April 20, 2021 “for linking to an article on
   the safety and efficacy of face masks,” id. ¶ 18; additional suspension on June 25, 2021, id.¶ 19;
   having his account secretly “heavily censored and deboosted,” meaning that “the user’s tweets are
   de-platformed—they appear in Twitter feeds much less frequently and replies to other posts may
   be hidden,” id. ¶ 20; covert loss of followers, much like Dr. Kheriaty, ¶ 21; and a permanent Twitter
   suspension on December 18, 2021, for tweets comparing the danger of COVID-19 to the flu and
   promoting the benefits of natural immunity, id. ¶ 23. He experiences similar shadow-banning by
   YouTube, as his “follower-ships at YouTube also plateaued and reversed despite the fact that [he]
   was very active,” id. ¶ 31. He observes that Twitter is also censoring his private direct messages
   to other Twitter users, id. ¶¶ 32-35. And two of his YouTube videos are also censored with their
   content removed from YouTube. Id. ¶ 36.

          RESPONSE: Disputed, except that “Mark Changizi is a commentator on Twitter,” a true

   statement that itself contradicts later assertions in Plaintiffs’ PFOF. This PFOF improperly

   purports to summarize twelve paragraphs of Mr. Changizi’s Declaration, rather than identifying




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   (let alone substantiating) any particular fact that appears therein. In any event, none of the cited or

   quoted statements contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that Mr. Changizi has experienced or imminently will experience

   censorship as a result of any conduct by Defendants. To the contrary, Mr. Changizi’s own

   declaration repeatedly makes clear that the conduct of which he complains was carried out by

   private social-media companies, not Defendants. See, e.g., supra (claiming “Twitter is . . .

   censoring his private direct messages to other Twitter users,” and that he has experienced “shadow-

   banning by YouTube”). Moreover, the central premise of Plaintiffs’ PFOF—that Mr. Changizi

   received a “permanent Twitter suspension”—is false and is contradicted by the record. As of the

   date of this filing, Mr. Changizi maintains an active Twitter account, where he appears to tweet

   (often several times per hour) to his more than 52,000 followers, accumulating over 110,000

   tweets. That account is available at the following link: https://twitter.com/MarkChangizi. See

   Robinson Decl. ¶ 10. Indeed because Mr. Changizi’s declaration, executed on May 25, 2022, is

   nearly a year old, it furnishes no evidence that he presently “experiences longstanding and ongoing

   censorship,” or any other present or threatened injury from alleged censorship.

           1417. Changizi engages in self-censorship on social media to avoid more severe
   penalties, id. ¶¶ 39-42, and he has “become very careful about what I say on Twitter and YouTube
   (and Facebook and Instagram) to avoid suspension.” Id. ¶ 39.

          RESPONSE: Disputed. The quoted statement (and Plaintiffs’ characterization of that

   statement) is unsupported by the record. Because Mr. Changizi’s declaration, executed on May 25,

   2022, is nearly a year old, it furnishes no evidence that he continues to “engage[ ] in self-

   censorship,” or suffer any other present or threatened injury from alleged censorship. Regardless,

   none of the quoted language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Mr. Changizi has experienced or imminently will




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   experience censorship as a result of any conduct by Defendants. To the contrary, the quoted

   statement confirms that, to the extent that Mr. Changizi, at the time he signed his declaration, was

   engaged in what he characterizes as “self-censorship,” it was part of an effort “to avoid more severe

   penalties” from private social-media companies—not from Defendants.

           1418. Changizi perceives a link between the censorship he experiences and pressure from
   federal officials, id.¶¶ 43-47. He observes: “Twitter notoriously suspends only those who question
   the wisdom and efficacy of government restrictions, or who cast doubt on the safety or efficacy of
   the vaccines.” Id.¶ 50. He also observes the pro-government bias in social-media censorship
   decisions: “there are no examples of Twitter suspending individuals who have spread
   misinformation from the other side—by, for example, exaggerating the efficacy of masks or the
   threat the virus poses to children.” Id.¶ 51.

          RESPONSE: Undisputed that Mr. Changizi “perceive[d] a link” of the kind he describes,

   but disputed that there is any such “link,” or that any “censorship” by private companies is

   attributable to any “pressure from federal officials,” all of which is contradicted by the record. This

   PFOF improperly purports to summarize twelve paragraphs of Mr. Changizi’s declaration, rather

   than identifying (let alone substantiating) any particular fact that appears therein. In any event, the

   quoted statements (and Plaintiffs’ characterizations of those statements) are unsupported by the

   record. Mr. Changizi offers no foundation in personal knowledge (or otherwise) for his assertion

   that “Twitter . . . suspends only those who question the wisdom and efficacy of government

   restrictions, or who cast doubt on the safety or efficacy of the vaccines,” or his assertion that “there

   are no examples of Twitter suspending individuals who have spread misinformation from” what

   Mr. Changizi describes as “the other side.” Regardless, none of the quoted or cited language

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Mr. Changizi has experienced or imminently will experience censorship because

   of any conduct by Defendants. To the contrary, the quoted statement confirms that the conduct of




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   which Mr. Changizi complains was carried out by Twitter, a private social-media company, not

   Defendants.

          1419. Daniel Kotzin observes that his censorship at Twitter began in September 2021,
   after which he was suspended by Twitter four times, including a 24-hour suspension, two seven-
   day suspensions, and a permanent ban. Doc. 10-10, ¶¶ 11-12. He received these penalties for tweets
   questioning whether COVID vaccines reduce infection and transmission, referring to natural
   immunity, and criticizing government policies on lockdowns and mask mandates. Id. ¶¶ 13, 15,
   17. He was permanently suspended on April 29, 2022, for a truthful tweet stating: “Myocarditis,
   pericarditis, blood clots, and strokes are known potential side effects of covid vaccination. That is
   not my idea of safe.” Id. ¶ 19.

          RESPONSE: Disputed. This PFOF improperly purports to summarize six paragraphs of

   Mr. Kotzin’s Declaration, rather than identifying (let alone substantiating) any particular fact that

   appears therein. Regardless, none of the quoted or cited language contains evidence of threats or

   pressure by Defendants to force social media companies to censor speech, or that Mr. Kotzin has

   experienced or imminently will experience censorship as a result of any conduct by Defendants.

   To the contrary, the quoted statements confirm that the conduct of which Mr. Kotzin complains

   was carried out by Twitter, a private social-media company, not Defendants. Moreover, the central

   premise of Plaintiffs’ PFOF—that Mr. Kotzin received a “permanent ban” from Twitter—is

   contradicted by the record. As of the date of this filing, Mr. Kotzin maintains an active Twitter

   account, where he appears to tweet very day to his more than 40,000 followers, accumulating over

   11,000 tweets. That account is available at the following link: https://twitter.com/danielkotzin. See

   Robinson Decl. ¶ 5. Indeed because Mr. Kotzin’s declaration, executed on May 26, 2022, is nearly

   a year old, it furnishes no evidence that he continues to suffer any present or threatened injury

   from alleged censorship.

          1420. Kotzin attests that “[p]ermanent expulsion from Twitter has been devastating for
   me. I had spent 2 years building my Twitter following. Two years ago, I had fewer than 100
   followers, and at the time of my permanent suspension I had nearly 32,000. When my account is
   suspended, I am unable to communicate with my followers.” Id. ¶¶ 21-23.




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          RESPONSE: Disputed. Mr. Kotzin has not received a “permanent expulsion from

   Twitter.” As of the date of this filing, Mr. Kotzin maintains an active Twitter account, where he

   appears to tweet almost every day (often many times per day) to his more than 40,000 followers,

   accumulating over 11,000 tweets. That account is available at the following link:

   https://twitter.com/danielkotzin. See Robinson Decl. ¶ 5. Mr. Kotzin’s perception that the loss of

   his “nearly 32,000” followers was “devasting,” is also contradicted by the record, given that he

   currently has more than 40,000 followers. Indeed because Mr. Kotzin’s declaration, executed on

   May 26, 2022, is nearly a year old, it furnishes no evidence that he continues to suffer any present

   or threatened injury from alleged censorship. None of the quoted or cited language in this PFOF

   contains evidence of threats or pressure by Defendants to force social media companies to censor

   speech, or that Mr. Kotzin has experienced or imminently will experience censorship as a result of

   any conduct by Defendants.

          1421. Kotzin observes an increase in censorship on Twitter after the Surgeon General’s
   Request for Information issued on March 3, 2022. “Based on my observations and extensive
   Twitter use, many more accounts than usual have been suspended since the Surgeon General’s RFI
   on March 3.” Id. ¶ 25. This increase in censorship affected Kotzin directly: “Since the Surgeon
   General’s Request for “health misinformation” in March [2022] I have been suspended four times
   by Twitter, and have now been permanently banned.” Id. ¶ 35.

          RESPONSE: Disputed. Mr. Kotzin has not been “permanently banned” from Twitter. As

   of the date of this filing, Mr. Kotzin maintains an active Twitter account, where he appears to tweet

   almost every day (often many times per day) to his more than 40,000 followers, accumulating over

   11,000 tweets. That account is available at the following link: https://twitter.com/danielkotzin. See

   Robinson Decl. ¶ 5. Indeed, because Mr. Kotzin’s declaration, executed on May 26, 2022, is nearly

   a year old, it furnishes no evidence that he continues to suffer any present or threatened injury

   from alleged censorship. In addition, Mr. Kotzin provides no foundation in personal knowledge or

   otherwise for his “observations” that “many more accounts than usual have been suspended”.



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   Regardless, the number of accounts that are suspended in a given time period by Twitter, a private

   company, is immaterial to any issue in this case. None of the quoted or cited language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Mr. Kotzin has experienced or imminently will experience censorship as a result of any

   conduct by Defendants. To the contrary, the quoted statements confirm that the conduct of which

   Mr. Kotzin complains was carried out by Twitter, a private social-media company, not Defendants.

          1422. Kotzin notes that suspension results in loss of one’s own prior expression: “When
   an account is permanently suspended, everything the person ever wrote is erased and cannot be
   accessed by anyone.” Id. ¶ 27.

          RESPONSE: Disputed. Mr. Kotzin has not been “permanently suspended” from Twitter.

   As of the date of this filing, Mr. Kotzin maintains an active Twitter account, where he appears to

   tweet almost every day (often many times per day) to his more than 40,000 followers,

   accumulating over 11,000 tweets. That account is available at the following link:

   https://twitter.com/danielkotzin. See Robinson Decl. ¶ 5. All of the material that Mr. Kotzin claims

   was permanently “erased and cannot be accessed by anyone” appears to be accessible to anyone

   with an internet connection, at the following link: https://twitter.com/danielkotzin. None of the

   quoted or cited language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Mr. Kotzin has experienced or imminently will

   experience censorship because of any conduct by Defendants. Indeed because Mr. Kotzin’s

   declaration, executed on May 26, 2022, is nearly a year old, it furnishes no evidence that he

   continues to suffer any present or threatened injury from alleged censorship.

           1423. Kotzin describes that he “methodically self-censored” to avoid permanent
   suspension: “Since the [Surgeon General’s] RFI, many of us who are critical of government covid
   policies have been regulating our speech more carefully than ever, because we have noticed that
   more of us are getting suspended than ever before, and we don’t want to risk losing our audience.
   I considered the possibility of ‘permanent suspension’ to be such a devastating prospect that I
   methodically self-censored.” Id. ¶¶ 28-29; see also id. ¶¶ 31-32.



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          RESPONSE: Disputed to the extent that Mr. Kotzin asserts that others “self-censored” to

   avoid permanent suspension, an assertion for which he offers no foundation in personal knowledge

   or otherwise. Regardless, none of the quoted language contains evidence of threats or pressure by

   Defendants to force social media companies to censor speech, or that Mr. Kotzin has experienced

   or imminently will experience censorship because of any conduct by Defendants. To the contrary,

   the quoted statement confirms that, to the extent that Mr. Kotzin ever engaged in “self-censorship”

   in the past, it was part of an effort to avoid a “permanent suspension” by Twitter, a private social-

   media company—not to avoid any adverse action by any of the Defendants. And because Mr.

   Kotzin’s declaration, executed on May 26, 2022, is nearly a year old, it furnishes no evidence that

   he continues to suffer any present or threatened injury from alleged censorship or self-censorship.

           1424. Kotzin observes a close link between social-media censorship and the federal
   government’s policies and preferred narratives: “Twitter suspends only those who question the
   wisdom and efficacy of government restrictions, or those who cast doubt on the necessity, safety
   or efficacy of the vaccines. If all or almost all suspensions are targeted at critics of the government
   and government policies, and no or almost no suspensions are targeted at purveyors of factually
   incorrect information, then it is not ‘misinformation’ that is being censored, but criticism of the
   government.” Id. ¶¶ 34-35.

          RESPONSE: Disputed. Mr. Kotzin offers no foundation in personal knowledge, or

   otherwise, for these “observ[ations].” Regardless, none of the quoted language contains evidence

   of threats or pressure by Defendants to force social media companies to censor speech, or that Mr.

   Kotzin has experienced or imminently will experience censorship as a result of any conduct by

   Defendants. To the contrary, the quoted statement confirms that the conduct of which Mr. Kotzin

   complains was carried out by Twitter, a private social-media company, not Defendants.

          1425. Joshua McCollum is a concerned parent in a school district in Missouri. Doc. 10-
   14, ¶¶ 1-4. Like Hines, he has experienced censorship that directly interferes with his ability to
   organize, associate with like-minded people, and petition his local government: “On or about July
   28, 2021, in the midst of discussing with others a recent school board meeting related to masks,
   and whether FHSD would keep its policy of optional masking versus change their policy to



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   mandatory masking, [McCollum] decided to launch an online petition to encourage the board
   members to keep their optional masking policy and not change to mandatory masking.” Id. ¶ 9.
   Through his account on Nextdoor (a Meta/Facebook platform), he posted this petition on
   change.org, and “[t]he posting of this petition on change.org was the beginning of the shadow-
   banning and blocking of my Nextdoor account.” Id. ¶ 11. Comments were blocked from his
   Nextdoor account, and then his Nextdoor account was suspended for one month for “spreading
   misinformation.” Id.¶¶ 12-14. This censorship prevented him from organizing, associating with
   others, and petitioning his local government, when those on the other side of the issue were allowed
   to do so: “Subsequently, on August 12, 2021, FHSD decided to reinstate their mandatory masking
   policy, shortly after the voice of myself and the 280 fellow petition signers was suppressed. There
   were petitions encouraging reinstatement of mandatory masking, but our contrary petition was
   suppressed by Nextdoor. I am a parent simply trying to have a voice in my local school district
   and its policies regarding my own children, but social media has stooped down to censor even my
   voice within my local community.” Id.¶¶ 15-17.

          RESPONSE: Disputed, except that “Joshua McCollum is a concerned parent in a school

   district in Missouri.” This PFOF improperly purports to summarize the entirety of Mr. McCollum’s

   Declaration, rather than identifying (let alone substantiating) any particular fact that appears

   therein. Regardless, none of the quoted or cited language contains evidence of threats or pressure

   by Defendants to force social media companies to censor speech, or that Mr. McCollum has

   experienced or imminently will experience censorship as a result of any conduct by Defendants.

   To the contrary, the quoted statements confirm that the conduct of which Mr. Kotzin complains

   was carried out by private social-media platforms, not Defendants. In addition, Mr. McCollum’s

   declaration does not even purport to assert injury of an ongoing nature, and because it was executed

   on June 8, 2022, nearly one year ago, it cannot furnish evidence that he continues to suffer any

   present or threatened injury from alleged censorship.

           1426. Jessica Marie Gulmire is a freelance journalist for the Epoch Times who resides in
   Missouri, and has readership in Missouri and Louisiana. Doc. 10-15, ¶¶ 1-3. Gulmire has “been
   censored numerous times by Facebook and Twitter even before I joined The Epoch Times in the
   summer of 2021,” as her “personal posts regarding excessive COVID-19 measures and regarding
   the election were repeatedly flagged and taken down by Facebook and Twitter.” Id. ¶¶ 7-8. Her
   journalism for the Epoch Times has also been censored by Facebook, including an article
   questioning the evidence for vaccinating pregnant women with COVID-19 vaccines that was later
   validated by Pfizer documents, id. ¶¶ 10-13; and an article in March 2022 for The Federalist about
   the People’s Convoy of truckers in the United States supporting their Canadian counterparts, id.



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   18-19. She has also had eleven articles about “mask mandates, vaccines, lockdowns and mental
   health” censored on Pinterest, id. ¶ 17.

          RESPONSE: Disputed, except that “Jessica Marie Gulmire is a freelance journalist for the

   Epoch Times who resides in Missouri, and has readership in Missouri and Louisiana.” This PFOF

   improperly purports to summarize the entirety of Ms. Gulmire’s Declaration, rather than

   identifying (let alone substantiating) any particular fact that appears therein. Regardless, none of

   the quoted or cited language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Ms. Gulmire has experienced or imminently will

   experience censorship as a result of any conduct by Defendants. To the contrary, the quoted

   statements confirm that the conduct of which Ms. Gulmire complains was carried out by private

   social-media companies, not Defendants. In addition, because Ms. Gulmire’s declaration, executed

   on June 8, 2022, is nearly a year old, it furnishes no evidence that she continues to suffer any

   present or threatened injury from alleged censorship.

          C.      Defendants Gravely Injure the State Plaintiffs, Louisiana and Missouri.

                  1.      Fundamental policies favoring freedom of speech for their citizens.

          1427. Both Louisiana and Missouri have adopted fundamental policies favoring freedom
   of speech, without government-induced censorship, for their citizens. LA. CONST. art. I, § 7; MO.
   CONST. art. I, § 8.

          RESPONSE: Undisputed, but immaterial to any issue in this case. This case is governed

   by the First Amendment to the United States Constitution, which is “the supreme Law of the

   Land,” U.S. Const., art. VI, cl. 2, not by the laws of Louisiana or Missouri. This PFOF contains

   no evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that the Plaintiff States have experienced or imminently will experience censorship as a result

   of any conduct by Defendants.

                  2.      Direct censorship of the States and their political subdivisions.



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          1428. Both Louisiana and Missouri, and their political subdivisions, have experienced
   direct social-media censorship on COVID and related issues. For example, Louisiana’s
   Department of Justice—the office of its Attorney General—was directly censored on YouTube for
   posting video footage of Louisianans criticizing mask mandates and COVID-19 lockdown
   measures on August 18, 2021—on August 18, 2021, just after the federal Defendants’ most
   vociferous calls for censorship of COVID “misinformation.” Bosch Decl., Doc. 10-13, ¶ 7.

          RESPONSE: Disputed that Louisiana or Missouri or its political subdivisions “have

   experienced direct social-media censorship” or were “directly censored” on any issue. Undisputed

   that YouTube, a private social-media company, concluded that a video posted by employees of the

   Louisiana Department of Justice “violated YouTube’s ‘medical misinformation policy,’” and was

   therefore removed from YouTube, by YouTube. None of the cited language contains evidence of

   threats or pressure by Defendants to force social media companies to censor speech, or that the

   Plaintiff States have experienced or imminently will experience censorship because of any conduct

   by Defendants. To the contrary, the cited paragraph confirms that the conduct of which Plaintiffs

   complain was carried out by YouTube, not Defendants, and was an application of a policy created

   and enforced by YouTube, not Defendants. In addition, because Ms. Bosch’s declaration, executed

   on June 14, 2022, is nearly a year old, it furnishes no evidence that Louisiana continues to suffer

   any present or threatened injury from alleged censorship.

          1429. In addition, a Louisiana state legislator was censored by Facebook when he posted
   content addressing vaccinating children against COVID-19. Bosch Decl., Doc. 10-13, ¶ 9.

          RESPONSE: Disputed. The cited paragraph of the declaration does not offer any evidence

   that “a Louisiana state legislator was censored by Facebook,” it instead states—without identifying

   the post in question, or the date on which it was posted—that certain content was apparently

   “flagged as misleading and de-boosted by Facebook for violating its medical misinformation

   policy.” Bosch Decl. ¶ 9 (Dkt. 10-13). Regardless, none of the cited language contains evidence

   of threats or pressure by Defendants to force social media companies to censor speech, or that the



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   Louisiana has experienced or imminently will experience censorship because of any conduct by

   Defendants. To the contrary, the cited paragraph confirms that the conduct of which Plaintiffs

   complain was carried out by Facebook, not Defendants, and was an application of a policy created

   and enforced by Facebook, not Defendants. In addition, because Ms. Bosch’s declaration, executed

   on June 14, 2022, is nearly a year old, it furnishes no evidence that Louisiana continues to suffer

   any present or threatened injury from alleged censorship.

          1430. St. Louis County, a political subdivision of Missouri, conducted public meetings
   regarding proposed county-wide mask mandates, at which some citizens made public comments
   opposing mask mandates. Flesh Decl., Doc. 10-6, ¶ 7. Missouri’s open-meetings law required St.
   Louis County to post publicly the videos of those meetings, but YouTube censored the entire
   videos of four public meetings, removing the content, because some citizens publicly expressed
   views that masks are ineffective. Id.

          RESPONSE: Undisputed that “St. Louis County, a political subdivision of Missouri,

   conducted public meetings regarding proposed county-wide mask mandates, at which some

   citizens made public comments opposing mask mandates.” The statement that “Missouri’s open-

   meetings law required St. Louis County to post publicly the videos of those meetings,” is a

   statement of law, not of fact, and is unsupported by any citation to any legal authority or any factual

   assertion in the cited declaration. In any event, that question of Missouri state law is immaterial to

   any issue in this case, and Plaintiffs do not assert that “Missouri’s open-meetings law required St.

   Louis County to post publicly the videos of those meetings” on YouTube, or on any other particular

   social-media platform. To the contrary, the cited paragraph of the Flesch Declaration references

   St. Louis County’s decision to “stop using YouTube.” Finally, the statement that “YouTube

   censored the entire videos of four public meetings, removing the content, because some citizens

   publicly expressed views that masks are ineffective,” is disputed, as it is unsupported by the cited

   Declaration, which describes the relevant video with insufficient specificity to determine whether

   the characterization in Plaintiffs’ PFOF is supported by the record. Regardless, none of the cited



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   language contains evidence of threats or pressure by Defendants to force social media companies

   to censor speech, or that the Missouri has experienced or imminently will experience censorship

   because of any conduct by Defendants. To the contrary, the cited paragraph confirms that the

   conduct of which Plaintiffs complain was carried out by YouTube, not Defendants. In addition,

   because Mr. Flesch’s declaration, executed on June 8, 2022, is nearly a year old, it furnishes no

   evidence that Missouri continues to suffer any present or threatened injury from alleged

   censorship.

                  3. The States’ interest in following the uncensored discourse of their citizens.

           1431. Patrick Flesch, Director of Constituent Services for the Missouri Attorney
   General’s Office, explains that he is “personally involved in, receiving, reviewing, and responding
   to thousands of communications from Missouri constituents per year.” Doc. 10-6, ¶ 3. He explains
   that being able to follow Missourians’ uncensored speech on social media is essential for him to
   do his job effectively, as understanding Missourians’ true thoughts and concerns on policy matters
   like election integrity and COVID-19 is necessary to craft policies and messages that are
   responsive to constituents’ actual concerns. Doc. 10-6, ¶ 3-4. This “includes monitoring activity
   and mentions on multiple social media platforms, including Facebook, Twitter, and YouTube.”
   Id. “I monitor these sorts of trends on a daily or even hourly basis when needed on behalf of the
   Office.” Id. (emphasis added). For example, regarding the censorship of St. Louis County’s video
   of its public meeting where citizens opposed mask mandates, Flesch notes: “This video is just the
   sort of information that is important for me to review, and yet it was unavailable for a critical
   period of time due to online censorship of speech questioning the efficacy of mask mandates.”
   Id.¶ 7. Likewise, regarding YouTube censoring Jeff Allen’s radio station NewsTalkSTL, and
   Nextdoor censoring Joshua McCollum’s online petition, Flesch observes: “These examples are
   just the sort of online speech by Missourians that it is important for me and the Missouri Attorney
   General’s Office to be aware of.” Id. ¶¶ 9.

          RESPONSE: Disputed, with the exception of the descriptions of Mr. Flesch’s job

   responsibilities, which are undisputed. This PFOF improperly purports to summarize four lengthy

   paragraphs of Mr. Flesch’s Declaration, rather than identifying (let alone substantiating) any

   particular fact that appears therein. Regardless, none of the cited or quoted language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Missouri has experienced or imminently will experience censorship as a result of any




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   conduct by Defendants. To the contrary, the declaration confirms that the conduct of which

   Plaintiffs complain was carried out by private social-media companies, not Defendants. In

   addition, because Mr. Flesch’s declaration, executed on June 8, 2022, is nearly a year old, it

   furnishes no evidence that Missouri continues to suffer any present or threatened injury from

   alleged censorship.

           1432. As Flesch attests, “The kinds of speech discussed above and in the Complaint in
   this case—such as speech about the efficacy of COVID-19 restrictions, and speech about issues of
   election security and election integrity—are matters of core interest and high importance to me in
   my work on behalf of the AGO. When such speech is censored on social media, it makes it much
   harder for me to do my job and to understand what Missourians really are concerned about.” Id.¶
   10.

          RESPONSE: Undisputed, except for Plaintiffs’ implication that any of the examples

   discussed in Mr. Flesch’s declaration are examples of speech being “censored,” which is disputed,

   and is unsupported by the record, especially to the extent that the implication of Plaintiffs’ PFOF

   is that anything was “censored” by Defendants. None of the cited or quoted language contains

   evidence of threats or pressure by Defendants to force social media companies to censor speech,

   or that Missouri has experienced or imminently will experience censorship because of any conduct

   by Defendants. To the contrary, the declaration confirms that the conduct of which Plaintiffs

   complain was carried out by private social-media companies, not Defendants. In addition, because

   Mr. Flesch’s declaration, executed on June 8, 2022, is nearly a year old, it furnishes no evidence

   that Missouri continues to suffer any present or threatened injury from alleged censorship.

           1433. As Mr. Flesch explains in detail: “Issues regarding COVID-19 responses (such as
   mask mandates imposed by municipalities and school districts on schoolchildren) and election
   security and integrity have been of critical importance to Missourians in recent months and years.
   … It is very important for me to have access to free public discourse on social media on these
   issues so I can understand what Missourians are actually thinking, feeling, and expressing about
   such issues, and so I can communicate effectively with them.” Id. ¶ 5. “[O]nline censorship of
   free public discourse on social-media companies has hampered my ability to follow Missourians’
   speech on these issues.” Id. ¶ 6.




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          RESPONSE: The language in this PFOF that quotes paragraph 5 of Mr. Flesch’s

   declaration is undisputed. The remainder of this PFOF is disputed. There is no support in the record

   for the statement in paragraph 6 that “online censorship of free public discourse on social-media

   companies has hampered [Mr. Flesch’s] ability to follow Missourians’ speech on these issues,” a

   conclusory assertion for which Mr. Flesch offers no factual substantiation. Regardless, none of the

   cited or quoted language contains evidence of threats or pressure by Defendants to force social

   media companies to censor speech, or that Missouri has experienced or imminently will experience

   censorship because of any conduct by Defendants. To the contrary, the declaration confirms that

   the conduct of which Plaintiffs complain was carried out by private social-media companies, not

   Defendants. In addition, because Mr. Flesch’s declaration, executed on June 8, 2022, is nearly a

   year old, it furnishes no evidence that Missouri continues to suffer any present or threatened injury

   from alleged censorship.

           1434. Ashley Bosch, Communications Officer for the Louisiana Department of Justice,
   attests on behalf of the State of Louisiana: “Part of my job is to gather and synthesize topical
   subject matters that are important to Louisiana citizens, on behalf of the Department.” Doc. 10-
   13, ¶ 4. “Understanding what subject matters and issues are important to Louisianans is critical for
   the Department to formulate policies and messaging that will address the concerns expressed by
   our constituents.” Id. This “includes monitoring activity and mentions on social media platforms,
   including Facebook, Instagram, Twitter, and YouTube.” Id. Doc. 10-13, ¶ 4. “It is very important
   for me to have access to free public discourse on social media on these issues so I can understand
   what our constituents are actually thinking, feeling, and expressing about such issues, and so I can
   communicate properly with them.” Id. ¶ 5. “Online censorship of Louisiana citizens by social
   media companies interferes with my ability to follow Louisianans’ speech on these issues.” Id.
   ¶ 6. Bosch notes that it is particularly important for her to follow Louisianan’s speech on topics of
   federally-induced censorship: “For example, mask and vaccine mandates for students have been a
   very important source of concern and public discussion by Louisiana citizens over the last year.”
   Doc. 10-13, ¶ 5. “Louisianans’ speech about the efficacy of COVID-19 restrictions, and speech
   about issues of election security and election integrity are matters of great interest and importance
   to me in my work on behalf of the Louisiana Department of Justice.” Doc. 10-13, ¶ 10.

          RESPONSE: Undisputed, with the exceptions of (1) the statement that “[o]nline

   censorship of Louisiana citizens by social media companies interferes with [Ms. Bosch’s] ability




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   to follow Louisianans’ speech on these issues,” and (2) the unexplained and unsupported reference

   to “federally-inducted censorship.” The first is a conclusory assertion for which Ms. Bosch’s

   declaration offers no factual substantiation, and the second is an allegation as to which she has no

   evident personal knowledge and that is contradicted by the record. None of the cited or quoted

   language contains evidence of threats or pressure by Defendants to force social media companies

   to censor speech, or that Louisiana has experienced or imminently will experience censorship as a

   result of any conduct by Defendants. To the contrary, the declaration confirms that the conduct of

   which Ms. Bosch complains was carried out by private social-media companies, not Defendants.

   In addition, because Ms. Bosch’s declaration, executed on June 14, 2022, is nearly a year old, it

   furnishes no evidence that Louisiana continues to suffer any present or threatened injury from

   alleged censorship.

           1435. As noted above, Defendants’ witness from the CDC, Carol Crawford, attests to
   exactly the same government interest in being able to read and follow the true, uncensored opinions
   of the government’s constituents.

          RESPONSE: Disputed. There was no statement to that effect in Ms. Crawford’s

   deposition testimony, which is presumably why this PFOF contains no citation to Ms. Crawford’s

   deposition transcript.

           1436. Crawford admits that government communicators have a strong interest in tracking
   what their constituents are saying on social media: “It's helpful for communicators to know what
   is being discussed because it helps improve our communication materials.” Crawford Dep. 53:10-
   12. Crawford emphasized this point multiple times: “as I mentioned before, it does help … for
   communicators to know what conversations occurs on social media because it helps us identify
   gaps in knowledge, or confusion, or things that we're not communicating effectively that we need
   to adjust.” Id. 54:15-20.

          RESPONSE: Disputed. Plaintiffs mischaracterize Ms. Crawford’s deposition testimony

   in several respects. The quoted testimony is not about “government communicators” in general

   (and certainly not about state government officials), it is about Ms. Crawford’s experience working




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   at the CDC with respect to one particular report about social-media usage. In addition, Ms.

   Crawford never described a “strong interest” in this topic, let alone “emphasized this point multiple

   times.”

            1437. Crawford said that CrowdTangle reports “would help us understand what was being
   discussed on social media about COVID, which helps us look for gaps in information, confusion
   about facts, things that we might need to adjust our communication materials for.” Id. 57:24-58:3.
   Crawford specifically expressed the concern that, if content was censored or removed from social-
   media platforms, government communicators would not know what the citizens’ true concerns
   were: She “was wondering if they delete the info will we know those myths or information so we
   could update communication activity. So if they were deleting content would we know what the
   themes were.” Id. 75:14-18. Accordingly, Crawford wanted to know, “would [CDC] be able to
   see in CrowdTangle or other reports … what kind of themes were removed so we would still have
   the full picture of areas of confusion.” Id. 75:23-76:1.

             RESPONSE: The first sentence and the last sentence of this PFOF are undisputed.

   Disputed that Ms. Crawford “specifically expressed the concern that, if content was censored or

   removed from social-media platforms, government communicators would not know what the

   citizens’ true concerns were,” which is not what the quoted language says (certainly not

   “specifically”), and in fact no such statement appears anywhere else in Ms. Crawford’s deposition

   testimony.

             4.     States’ interest in fair, unbiased, open processes to petition state government.

           1438. Social-media censorship directly interferes with the States’ interest maintaining
   fair, even-handed, and open processes for petitioning their own governments and political
   subdivisions. When one side of a debate can organize on Facebook or Nextdoor and petition the
   government, and the other side cannot because of social-media censorship, that means that state
   officials never receive a fair, unbiased presentation of their constituents’ views.

             RESPONSE: Disputed. Plaintiffs provide no evidentiary support for this PFOF, which is

   argument based on hypothetical facts rather than a statement of fact. Defendants address Plaintiffs’

   legal arguments in their opposition to Plaintiffs’ motion for preliminary injunction.

          1439. As noted above, social-media censorship has perverted state and local political
   processes by artificially restricting access to the channels of advocacy to one side of various issues.
   For example, social-media censorship prevented Louisiana advocacy groups from organizing



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   effectively to advocate in favor of legislative action on issues of great public import. Hines Decl.,
   Doc. 10-12, ¶¶ 13-14. Likewise, social-media censorship prevented a Missouri parent from
   circulating an online petition to advocate against mandatory masking at his local school district, a
   political subdivision of the State. McCollum Decl., Doc. 10-14, ¶¶ 9-17; see also Doc. 10-12,
   ¶¶ 13-14; Doc. 10-14, ¶¶ 9-17; Doc. 10-15, ¶¶ 11-16, 18-19.

           RESPONSE: Disputed. Plaintiffs provide no evidentiary support for this PFOF. To the

   extent that portions of this PFOF do include assertions of fact, they do so by improperly purporting

   to summarize the contents of sprawling portions of six different declarations, rather than

   identifying (let alone substantiating) any particular fact that appears therein. Regardless, none of

   the cited declarations contains evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that the Plaintiff States have experienced or imminently will

   experience censorship because of any conduct by Defendants. To the contrary, the declarations

   confirm that the conduct of which Plaintiffs complain was carried out by private social-media

   companies, not Defendants. In addition, to the extent the cited declarations were executed nearly

   a year ago, they furnish no evidence that the Plaintiff States continue to suffer any present or

   threatened injury from alleged censorship.

           1440. Plaintiff Jill Hines explains that “two of our Facebook groups were completely
   deplatformed, effectively disbanding a group of more than two thousand people who were
   organized to engage in direct advocacy to our state legislature, on two separate occasions.” Doc.
   10-12, ¶ 13. She attests that “[t]he last post I made in our HFL Group on July 13, 2021, was a ‘call
   to action’ for the upcoming Veto Session, asking people to contact legislators regarding health
   freedom legislation..” Id. ¶ 14. Suppressing these Facebook groups directly interfered with state
   officials’ ability to receive free and fair communications of their constituents’ concerns:
   “Removing our closed group at such crucial time effectively stopped our ability to communicate
   with our representatives in the state legislature.” Id.

           RESPONSE: This PFOF essentially repeats Plaintiffs’ and Ms. Hines’s assertions in Pls.’

   PFOF ¶¶ 1408 and 1409, above. Defendants incorporate their responses to Pls.’ PFOF ¶¶ 1408 and

   1409 as if fully set forth herein.

           5. State quasi-sovereign interests.




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           1441. The States also assert quasi-sovereign interests in protecting the freedom of speech
   of a substantial segment of their population—i.e., their citizens who are both speakers and
   audiences of speech on social media; and in ensuring that their citizens receive the full benefit of
   participation in the federal system—which includes, among other benefits, the full protection of
   the First Amendment.

          RESPONSE: Undisputed that the States assert the purported interests described. Whether

   those are judicially cognizable interests that States have standing to assert against the Federal

   Government is a legal issue addressed in Defendants’ brief in opposition to Plaintiffs’ motion for

   preliminary injunctive relief.

         1442. Based on the foregoing evidence, social-media censorship afflicts a substantial
   segment of the populations of both Missouri and Louisiana.

          RESPONSE: Disputed. Plaintiffs provide no evidentiary support for this PFOF. In

   particular, Plaintiffs offer no evidence of threats or pressure by Defendants to force social media

   companies to censor speech, or that any segments of the populations of Missouri and Louisiana

   have been or imminently will be “afflict[ed]” by censorship as a result of any conduct by

   Defendants.




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   Dated: May 2, 2023          Respectfully submitted,

                               BRIAN M. BOYNTON
                               Principal Deputy Assistant Attorney General

                               JAMES J. GILLIGAN
                               Special Litigation Counsel, Federal Programs Branch

                               JOSHUA E. GARDNER (FL Bar No. 0302820)
                               Special Counsel, Federal Programs Branch

                               /s/ Kyla M. Snow
                               KYLA M. SNOW (OH Bar No. 96662)
                               INDRANEEL SUR (D.C. Bar No. 978017)
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                               Attorneys for Defendants




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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

   STATE OF MISSOURI ex rel. ANDREW
   BAILEY, Attorney General,

   STATE OF LOUISIANA ex rel. JEFFREY
   M. LANDRY, Attorney General,
                                                          No. 3:22-cv-01213-TAD-KDM
   DR. JAYANTA BHATTACHARYA,

   JILL HINES,

   JIM HOFT,

   DR. AARON KHERIATY, and

   DR. MARTIN KULLDORFF,

                   Plaintiffs,

      v.

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States;

   KARINE JEAN-PIERRE, in her official
   capacity as White House Press Secretary;

   VIVEK H. MURTHY, in his official
   capacity of Surgeon General of the United
   States;

   XAVIER BECERRA, in his official
   capacity as Secretary of the Department of
   Health and Human Services;

   DEPARTMENT OF HEALTH AND
   HUMAN SERVICES;

   DR. ANTHONY FAUCI, in his official
   capacity as Director of the National Institute
   of Allergy and Infectious Diseases and as
   Chief Medical Advisor to the President;


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   NATIONAL INSTITUTE OF ALLERGY
   AND INFECTIOUS DISEASES;

   DR. HUGH AUCHINCLOSS, in his
   official capacity as Acting Director of the
   National Institute of Allergy and Infectious
   Diseases;

   CENTERS FOR DISEASE CONTROL
   AND PREVENTION;

   CAROL Y. CRAWFORD, in her official
   capacity as Chief of the Digital Media
   Branch of the Division of Public Affairs
   within the Centers for Disease Control and
   Prevention;

   UNITED STATES CENSUS BUREAU,
   a.k.a. BUREAU OF THE CENSUS;

   JENNIFER SHOPKORN, in her official
   capacity as Senior Advisor for
   Communications with the U.S. Census
   Bureau;

   DEPARTMENT OF COMMERCE;

   ALEJANDRO MAYORKAS, in his official
   capacity as Secretary of the Department of
   Homeland Security;

   ROBERT SILVERS, in his official capacity
   as Under Secretary of the Office of
   Strategy, Policy, and Plans, within DHS;

   SAMANTHA VINOGRAD, in her official
   capacity as Senior Counselor for National
   Security in the Office of the Secretary for
   DHS;

   DEPARTMENT OF HOMELAND
   SECURITY;

   JEN EASTERLY, in her official capacity as
   Director of the Cybersecurity and
   Infrastructure Security Agency;

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   CYBERSECURITY AND
   INFRASTRUCTURE SECURITY
   AGENCY;

   GINA McCARTHY, in her official capacity
   as White House National Climate Advisor,

   NINA JANKOWICZ, in her official
   capacity as director of the so-called
   “Disinformation Governance Board” within
   the Department of Homeland Security,

   ANDREW SLAVITT, in his official
   capacity as White House Senior COVID-10
   Advisor,

   ROB FLAHERTY, in his official capacity
   as Deputy Assistant to the President and
   Director of Digital Strategy at the White
   House,

   COURTNEY ROWE, in her official
   capacity as White House Covid-19 Director
   of Strategic Communications and
   Engagement,

   CLARKE HUMPHREY, in her official
   capacity as White House Digital Director
   for the Covid-19 Response Team,

   BENJAMIN WAKANA, in his official
   capacity as the Deputy Director of Strategic
   Communications and Engagement at the
   White House COVID-19 Response Team,

   SUBHAN CHEEMA, in his official
   capacity as Deputy Director for Strategic
   Communications and External Engagement
   for the White House Covid-19 Response
   Team,

   DORI SALCIDO, in her official capacity as
   White House Covid-19 Director of Strategic
   Communications and Engagement,


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                                 25260



   TIMOTHY W. MANNING, in his official
   capacity as White House Covid-19 Supply
   Coordinator,

   DANA REMUS, in her official capacity as
   Counsel to the President,

   AISHA SHAH, in her official capacity as
   White House Partnerships Manager,

   LAURA ROSENBERGER, in her official
   capacity as Special Assistant to the
   President,

   MINA HSIANG, in her official capacity as
   Administrator of the U.S. Digital Service
   within the Office of Management and
   Budget in the Executive Office of the
   President,

   U.S. DEPARTMENT OF JUSTICE,

   FEDERAL BUREAU OF
   INVESTIGATION,

   LAURA DEHMLOW, in her official
   capacity as Section Chief for the FBI’s
   Foreign Influence Task Force,

   ELVIS M. CHAN, in his official capacity
   as Supervisory Special Agent of Squad CY-
   1 in the San Francisco Division of the
   Federal Bureau of Investigation,

   JAY DEMPSEY, in his official capacity as
   Social Media Team Lead, Digital Media
   Branch, Division of Public Affairs at the
   CDC,

   KATE GALATAS, in her official capacity
   as Deputy Communications Director at the
   CDC,

   ERIC WALDO, in his official capacity as
   Chief Engagement Officer for the Surgeon
   General,

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   YOLANDA BYRD, in her official capacity
   as a member of the Digital Engagement
   Team at HHS,

   CHRISTY CHOI, in her official capacity as
   Deputy Director, Office of
   Communications, HRSA within HHS,

   TERICKA LAMBERT, in her official
   capacity as Director of Digital Engagement
   at HHS and Deputy Director of the Office
   of Digital Strategy at the White House,

   JOSHUA PECK, in his official capacity as
   Deputy Assistant Secretary for Public
   Engagement at HHS,

   JANELL MUHAMMED, in her official
   capacity as Deputy Digital Director at HHS,

   MATTHEW MASTERSON, in his official
   capacity as Senior Cybersecurity Advisory
   within CISA in the Department of
   Homeland Security,

   LAUREN PROTENTIS, in her official
   capacity as an official of CISA,

   GEOFFREY HALE, in his official capacity
   as an official of CISA,

   ALLISON SNELL, in her official capacity
   as an official of CISA,

   KIM WYMAN, in her official capacity as
   CISA’s Senior Election Security Lead,

   BRIAN SCULLY, in his official capacity as
   an official of DHS and CISA,

   ZACHARY HENRY SCHWARTZ, in his
   official capacity as Division Chief for the
   Communications Directorate at the U.S.
   Census Bureau,


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   LORENA MOLINA-IRIZARRY, in her
   official capacity as an official of the Census
   Bureau,

   KRISTIN GALEMORE, in her official
   capacity as Deputy Director of the Office of
   Faith Based and Neighborhood Partnerships
   at the Census Bureau,

   U.S. FOOD AND DRUG
   ADMINISTRATION,

   ERICA JEFFERSON, in her official
   capacity as Associate Commissioner for
   External Affairs within the Office of the
   Commissioner at the U.S. Food and Drug
   Administration,

   MICHAEL MURRAY, in his official
   capacity as Acquisition Strategy Program
   Manager for the Office of Health
   Communications and Education at the FDA,

   BRAD KIMBERLY, in his official capacity
   as Director of Social Media at the FDA,

   U.S. DEPARTMENT OF STATE,

   LEAH BRAY, in her official capacity as
   Acting Coordinator of the State
   Department’s Global Engagement Center,

   SAMARUDDIN K. STEWART, in his
   official capacity as Senior Technical
   Advisor and/or Senior Advisor for the
   Global Engagement Center of the State
   Department,

   DANIEL KIMMAGE, in his official
   capacity as Acting Coordinator for the
   Global Engagement Center at the State
   Department,

   ALEXIS FRISBIE, in her official capacity
   as a member of the Technology
   Engagement Team at the Global

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    Engagement Center at the State
    Department,

    U.S. DEPARTMENT OF TREASURY,

    WALLY ADEYEMO, in his official
    capacity as Deputy Secretary of the
    Treasury,

    U.S. ELECTION ASSISTANCE
    COMMISSION,

    MARK A. ROBBINS, in his official
    capacity as Interim Executive Director of
    the EAC, and

    KRISTEN MUTHIG, in her official
    capacity as Director of Communications for
    the EAC,

                    Defendants.

                               THIRD AMENDED COMPLAINT

                                   NATURE OF THE ACTION

    1. In 1783, George Washington warned that if “the Freedom of Speech may be taken away,”

 then “dumb and silent we may be led, like sheep, to the Slaughter.” George Washington, Address

 to the Officers of the Army (March 15, 1783). The freedom of speech in the United States now

 faces one of its greatest assaults by federal government officials in the Nation’s history.

    2. A private entity violates the First Amendment “if the government coerces or induces it to

 take action the government itself would not be permitted to do, such as censor expression of a

 lawful viewpoint.” Biden v. Knight First Amendment Institute at Columbia Univ., 141 S. Ct. 1220,

 1226 (2021) (Thomas, J., concurring). “The government cannot accomplish through threats of

 adverse government action what the Constitution prohibits it from doing directly.” Id.




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    3. That is exactly what has occurred over the past several years, beginning with express and

 implied threats from government officials and culminating in the Biden Administration’s open and

 explicit censorship programs. Having threatened and cajoled social-media platforms for years to

 censor viewpoints and speakers disfavored by the Left, senior government officials in the

 Executive Branch have moved into a phase of open collusion with social-media companies to

 suppress disfavored speakers, viewpoints, and content on social-media platforms under the

 Orwellian guise of halting so-called “disinformation,” “misinformation,” and “malinformation.”

    4. The aggressive censorship that Defendants have procured constitutes government action

 for at least five reasons: (1) absent federal intervention, common-law and statutory doctrines, as

 well as voluntary conduct and natural free-market forces, would have restrained the emergence of

 censorship and suppression of speech of disfavored speakers, content, and viewpoint on social

 media; and yet (2) through Section 230 of the Communications Decency Act (CDA) and other

 actions, the federal government subsidized, fostered, encouraged, and empowered the creation of

 a small number of massive social-media companies with disproportionate ability to censor and

 suppress speech on the basis of speaker, content, and viewpoint; (3) such inducements as Section

 230 and other legal benefits (such as the absence of antitrust enforcement) constitute an immensely

 valuable benefit to social-media platforms and incentive to do the bidding of federal officials; (4)

 federal officials—including, most notably, certain Defendants herein—have repeatedly and

 aggressively threatened to remove these legal benefits and impose other adverse consequences on

 social-media platforms if they do not aggressively censor and suppress disfavored speakers,

 content, and viewpoints on their platforms; and (5) Defendants herein, colluding and coordinating

 with each other, have also directly coordinated and colluded with social-media platforms to

 identify disfavored speakers, viewpoints, and content and thus have procured the actual censorship



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 and suppression of the freedom of speech. These factors are both individually and collectively

 sufficient to establish government action in the censorship and suppression of social-media speech,

 especially given the inherent power imbalance: not only do the government actors here have the

 power to penalize noncompliant companies, but they have threatened to exercise that authority.

    5. Defendants’ campaign of censorship includes the recent announcement of the creation of

 a “Disinformation Governance Board” within the Department of Homeland Security. “Our

 constitutional tradition stands against the idea that we need Oceania’s Ministry of Truth.” United

 States v. Alvarez, 567 U.S. 709, 728 (2012) (plurality op.). Likewise, our constitutional tradition

 stands against the idea that we need a “Disinformation Governance Board” within our federal

 domestic-security apparatus.

    6. Email correspondence between the CDC, the Census Bureau, and major social-media

 platforms including Twitter, Facebook, and YouTube was released that reveals yet more evidence

 that Defendants are directing social media censorship.

    7. As a direct result of these actions, there has been an unprecedented rise of censorship and

 suppression of free speech—including core political speech—on social-media platforms. Many

 viewpoints and speakers have been unlawfully and unconstitutionally silenced in the modern

 public square. These actions gravely threaten the fundamental right of free speech and free

 discourse for virtually all citizens in Missouri, Louisiana, and America, both on social media and

 elsewhere. And they have directly impacted individual Plaintiffs in this case, all of whom have

 been censored and/or shadowbanned as a result of Defendants’ actions.

    8. Under the First Amendment, the federal Government should play no role in policing private

 speech or picking winners and losers in the marketplace of ideas. But that is what federal officials

 are doing, on a massive scale – the full scope and impact of which yet to be determined.



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      9. Secretary Mayorkas of DHS commented that the federal Government’s efforts to police

 private speech on social media are occurring “across the federal enterprise.” It turns out that this

 statement is quite literally true. This case involves a massive, sprawling federal “Censorship

 Enterprise,” which includes dozens of federal officials across at least eleven federal agencies and

 components,     who    communicate      with    social-media   platforms      about   misinformation,

 disinformation, and the suppression of private speech on social media—all with the intent and

 effect of pressuring social-media platforms to censor and suppress private speech that federal

 officials disfavor.

      10. This Censorship Enterprise is extremely broad, including officials in the White House,

 HHS, DHS, CISA, the CDC, NIAID, and the Office of the Surgeon General; as well as the Census

 Bureau, the FDA, the FBI, the State Department, the Treasury Department, and the U.S. Election

 Assistance Commission, among others. And this effort rises to the highest levels of the U.S.

 Government, including numerous White House officials overseeing the Censorship Enterprise.

                                  JURISDICTION AND VENUE

      11. This Court has subject-matter jurisdiction because the federal claims arise under the

 Constitution and laws of the United States.

      12. Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial part of

 the events or omissions giving rise to the claim occurred in this District.

                                                PARTIES

 A.      Plaintiffs.

      13. Plaintiff State of Missouri is a sovereign State of the United States of America. Missouri

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests.




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     14. Andrew Bailey is the Attorney General of Missouri. Under Missouri law, he has authority

 to bring suit on behalf of the State of Missouri to vindicate the State’s sovereign, quasi-sovereign,

 and proprietary interests, and to protect the constitutional rights of its citizens. See, e.g., Mo. Rev.

 Stat. § 27.060.

     15. Plaintiff State of Louisiana is a sovereign State of the United States of America. Louisiana

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests.

     16. Jeffrey M. Landry is the duly elected Attorney General of Louisiana. Under Louisiana

 law, he has authority to bring suit on behalf of the State of Louisiana to vindicate the State’s

 sovereign, quasi-sovereign, and proprietary interests, and to protect the constitutional rights of its

 citizens.

     17. Missouri and Louisiana, and their agencies and officials, have a sovereign and proprietary

 interest in receiving free flow of information in public discourse on social-media platforms. This

 includes an interest in preventing the States, their agencies, and their political subdivisions from

 suffering direct censorship on social-media platforms when they post their own content. In

 addition, Missouri and Louisiana, and their agencies and officials, are constantly engaged in the

 work of formulating, enacting, advancing and enforcing public policies, and formulating messages

 and communications related to such policies, and they frequently and necessarily rely on the flow

 of speech and information on social media to inform public-policy decisions. Further, information

 and ideas shared on social media frequently are repeated in, and impact and influence, public

 discourse outside of social media, which Missouri and Louisiana, and their agencies and officials,

 also rely upon.

     18. Missouri and Louisiana further have a sovereign interest in ensuring that the fundamental

 values reflected in their own Constitutions and laws, and the fundamental rights guaranteed to their



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 citizens, are not subverted by the unconstitutional actions of federal officials and those acting in

 concert with them. Missouri’s Constitution provides the highest level of protection for the freedom

 of speech, protecting it in even more expansive language than that in the First Amendment, and

 Louisiana’s Constitution provides similar protection for free-speech rights. Defendants’ unlawful

 subversion of Missourians’ and Louisianans’ fundamental rights and liberties under state law

 violates both the state and federal Constitutions, and it injures Missouri’s and Louisiana’s

 sovereign interests in advancing their own fundamental laws and fundamental policies favoring

 the freedom of speech.

    19. In addition, Missouri and Louisiana have a quasi-sovereign interest in protecting the free-

 speech rights of the vast majority of their citizens, who constitute “a sufficiently substantial

 segment of its population.” Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.

 592, 607 (1982). This falls within Missouri’s and Louisiana’s “quasi-sovereign interest in the

 health and well-being—both physical and economic—of its residents in general.” Id. This injury

 “suffices to give the State standing to sue as parens patriae” because “the injury” to Missourians’

 and Louisianans’ free-speech and free-expression rights “is one that the State … would likely

 attempt to address”—indeed, Missouri and Louisiana have addressed, see, e.g., MO. CONST., art.

 I, § 8; LA. CONST., art. I, § 7—“through [their] sovereign lawmaking powers.” Alfred L. Snapp,

 458 U.S. at 607.

    20. Further, Missouri and Louisiana “ha[ve] an interest in securing observance of the terms

 under which [they] participate[] in the federal system.” Alfred L. Snapp, 458 U.S. at 607–08. This

 means bringing suit to “ensur[e] that the State and its residents are not excluded from the benefits

 that are to flow from participation in the federal system.” Id. at 608. The rights secured by the

 First Amendment, and analogous state constitutional provisions, are foremost among the “benefits



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 that are to flow from participation in the federal system.” Id. Missouri and Louisiana “have an

 interest, independent of the benefits that might accrue to any particular individual, in assuring that

 the benefits of the federal system are not denied to its general population.” Id. Missouri and

 Louisiana sue to vindicate all these interests here.

    21. Plaintiff Dr. Jayanta Bhattacharya is a former Professor of Medicine and current Professor

 of Health Policy at Stanford University School of Medicine and a research associate at the National

 Bureau of Economic Research. He is also Director of Stanford’s Center for Demography and

 Economics of Health and Aging. He holds an M.D. and Ph.D. from Stanford University. He has

 published 161 scholarly articles in peer-reviewed journals in the fields of medicine, economics,

 health policy, epidemiology, statistics, law, and public health, among others. His research has been

 cited in the peer-reviewed scientific literature more than 13,000 times. He was one of the co-

 authors of the Great Barrington Declaration, a statement criticizing government-mandated COVID

 restrictions, which was co-signed by over 930,000 people, including over 62,000 scientists and

 healthcare professionals.    Dr. Bhattacharya and his audiences have experienced significant

 censorship and suppression of his speech on social-media caused by Defendants, as detailed in his

 previously filed Declaration, ECF No. 10-3, which is attached as Exhibit C and incorporated by

 reference herein.

    22. Plaintiff Dr. Martin Kulldorff is an epidemiologist, a biostatistician and a former Professor

 of Medicine at Harvard University and Brigham and Women’s Hospital, from 2015 to November

 2021. Before that, he was Professor of Population Medicine at Harvard University from 2011 to

 2015. He holds a Ph.D. from Cornell University. He has published over 200 scholarly articles in

 peer-reviewed journals in the fields of public health, epidemiology, biostatistics and medicine,

 among others. His research has been cited in the peer-reviewed scientific literature more than



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 25,000 times. He was one of the co-authors of the Great Barrington Declaration, a statement

 criticizing government-mandated COVID restrictions, which was co-signed by over 930,000

 people, including over 62,000 scientists and healthcare professionals. Dr. Kulldorff and his

 audiences have experienced significant censorship and suppression of his speech on social-media

 caused by Defendants, as detailed in his previously filed Declaration, ECF No. 10-4, which is

 attached as Exhibit D and incorporated by reference herein.

    23. Plaintiff Dr. Aaron Kheriaty earned his M.D. from Georgetown University, and completed

 residency training in psychiatry at the University of California Irvine. For many years, he was a

 Professor of Psychiatry at UCI School of Medicine and the Director of the Medical Ethics Program

 at UCI Health, where he chaired the ethics committee. He also chaired the ethics committee at the

 California Department of State Hospitals for several years. He is now a Fellow at the Ethics &

 Public Policy Center in Washington, DC, where he directs the program on Bioethics and American

 Democracy. He has authored numerous books and articles for professional and lay audiences on

 bioethics, social science, psychiatry, religion, and culture. His work has been published in the

 Wall Street Journal, the Washington Post, Arc Digital, The New Atlantis, Public Discourse, City

 Journal, and First Things. He has conducted print, radio, and television interviews on bioethics

 topics with The New York Times, the Los Angeles Times, CNN, Fox News, and NPR. He

 maintains social-media accounts, including the Twitter account @akheriaty, which has over

 158,000 followers. Dr. Kheriaty and his audiences have experienced significant censorship and

 suppression of his speech on social-media caused by Defendants, as detailed in his previously filed

 Declaration, ECF No. 10-7, which is attached as Exhibit G incorporated by reference herein.

    24. Plaintiff Jim Hoft is the founder, owner, and operator of the popular news website The

 Gateway Pundit. He resides in St. Louis, Missouri. The Gateway Pundit is one of the most popular



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 conservative news sites in the country, with over 2.5 million web searches per day. Mr. Hoft

 maintains and operates The Gateway Pundit’s social-media accounts, including a Facebook

 account with over 650,000 followers, an Instagram account with over 205,000 followers, and (until

 its recent permanent suspension) a Twitter account with over 400,000 followers. Mr. Hoft and his

 audiences have experienced extensive government-induced censorship on social-media platforms,

 including of his speech on COVID-19 issues and election security issues, as set forth in his

 Declaration, ECF No. 10-5, which is attached as Exhibit E and incorporated by reference herein.

      25. Plaintiff Jill Hines is a resident of Louisiana. She is the Co-Director of Health Freedom

 Louisiana, a consumer and human rights advocacy organization. She also launched, in 2020, a

 grassroots effort called Reopen Louisiana. She maintains social-media accounts for both Health

 Freedom Louisiana and Reopen Louisiana with approximately 13,000 followers. Ms. Hines and

 her audiences have experienced extensive government-induced censorship of her speech on social

 media, including her speech related to COVID-19 restrictions, as set forth in her Declaration, ECF

 No. 10-12, which is attached as Exhibit L and incorporated by reference herein.

 B.      Defendants.

      26. Defendant Joseph R. Biden, Jr., is President of the United States. He is sued in his official

 capacity.

      27. Defendant Karine Jean-Pierre is White House Press Secretary. She is sued in her official

 capacity. She is substituted for her predecessor, former White House Press Secretary Jennifer

 Rene Psaki.

      28. Defendant Vivek H. Murthy is Surgeon General of the United States. He is sued in his

 official capacity.




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    29. Defendant Xavier Becerra is Secretary of the Department of Health and Human Services.

 He is sued in his official capacity.

    30. Defendant Department of Health and Human Services (HHS) is a Cabinet-level agency

 within the Government of the United States.

    31. Defendant Anthony Fauci is the former Director of the National Institute of Allergy and

 Infectious Diseases (NIAID) and Chief Medical Advisor to the President. He is sued in his official

 capacity.

    32. Defendant National Institute of Allergy and Infectious Diseases (NIAID) is a federal

 agency under the Department of Health and Senior Services.

    33. Dr. Hugh Auchincloss is the Acting Director of NIAID, and became Acting Director on or

 about January 1, 2023. He is sued in his official capacity.

    34. Defendant Centers for Disease Control and Prevention (CDC) is a federal agency under the

 Department of Health and Human Services.

    35. Defendant Carol Y. Crawford is Chief of the Digital Media Branch of the Division of

 Public Affairs within the Centers for Disease Control and Prevention. She is sued in her official

 capacity.

    36. Defendant United States Census Bureau, a.k.a. Bureau of the Census (“Census Bureau”),

 is an agency of the federal government within the Department of Commerce.

    37. Defendant Jennifer Shopkorn is Senior Advisor for Communications with the U.S. Census

 Bureau. She is sued in her official capacity.

    38. Defendant U.S. Department of Commerce is a Cabinet-level agency within the

 Government of the United States.




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     39. Defendant Alejandro Mayorkas is Secretary of the Department of Homeland Security. He

 is sued in his official capacity.

     40. Defendant Robert Silvers is Under Secretary of the Office of Strategy, Policy, and Plans,

 within the Department of Homeland Security. He is sued in his official capacity.

     41. Defendant Samantha Vinograd is the Senior Counselor for National Security within the

 Office of the Secretary of DHS. She is sued in her official capacity.

     42. Defendant Department of Homeland Security (DHS) is a Cabinet-level agency within the

 Government of the United States.

     43. Defendant Jen Easterly is the Director of the Cybersecurity and Infrastructure Security

 Agency within the Department of Homeland Security. She is sued in her official capacity.

     44. Defendant Cybersecurity and Infrastructure Security Agency (CISA) is an agency within

 the Department of Homeland Security that is charged with protecting the United States’

 cybersecurity and physical infrastructure.

     45. Defendant Gina McCarthy is the White House National Climate Advisor. She is sued in

 her official capacity.

     46. Defendant Nina Jankowicz is the director of the newly constituted “Disinformation

 Governance Board” within the Department of Homeland Security. She is sued in her official

 capacity.

     47. At times relevant to this Complaint, Defendant Andrew Slavitt is or was the White House

 Senior COVID-19 Advisor. He is sued in his official capacity.

     48. Defendant Rob Flaherty is Deputy Assistant to the President and Director of Digital

 Strategy at the White House. He is sued in his official capacity.




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    49. At times relevant to this Complaint, Defendant Courtney Rowe is or was the White House

 Covid-19 Director of Strategic Communications and Engagement. She is sued in her official

 capacity.

    50. Defendant Clarke Humphrey is the White House Digital Director for the Covid-19

 Response Team. She is sued in her official capacity.

    51. At times relevant to this Complaint, Defendant Benjamin Wakana is or was the Deputy

 Director of Strategic Communications and Engagement at the White House COVID-19 Response

 Team. He is sued in his official capacity.

    52. Defendant Subhan Cheema is Deputy Director for Strategic Communications and External

 Engagement for the White House Covid-19 Response Team. He is sued in his official capacity.

    53. Defendant Dori Salcido is, on information and belief, the White House Covid-19 Director

 of Strategic Communications and Engagement. She is sued in her official capacity.

    54. At times relevant to this Complaint, Defendant Timothy W. Manning is or was the White

 House Covid-19 Supply Coordinator. He is sued in his official capacity.

    55. Defendant Dana Remus was, at times relevant to this Complaint, Counsel to the President,

 a.k.a. White House Counsel. She is sued in her official capacity.

    56. Defendant Aisha Shah is White House Partnerships Manager. She is sued in her official

 capacity.

    57. Defendant Laura Rosenberger serves as Special Assistant to the President at the White

 House. She has extensive experience in service at the State Department. She is sued in her official

 capacity.




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    58. Defendant Mina Hsiang is Administrator of the U.S. Digital Service within the Office of

 Management and Budget in the Executive Office of the President. She is sued in her official

 capacity.

    59. Defendant U.S. Department of Justice (“DOJ”) is a Cabinet-level agency within the

 Government of the United States.

    60. Defendant Federal Bureau of Investigation (“FBI”) is an investigative agency of the federal

 Government within the U.S. Department of Justice. The Foreign Influence Task Force (“FITF”)

 is a task force within the FBI that purportedly investigates and/or addresses foreign influences

 within the United States.     The FTIF’s website states: “The FBI is the lead federal agency

 responsible for investigating foreign influence operations. In the fall of 2017, Director Christopher

 Wray established the Foreign Influence Task Force (FITF) to identify and counteract malign

 foreign        influence        operations        targeting        the        United         States.”

 https://www.fbi.gov/investigate/counterintelligence/foreign-influence.

    61. Defendant Laura Dehmlow is the Section Chief for the FBI’s Foreign Influence Task

 Force. She is sued in her official capacity.

    62. Defendant Elvis M. Chan is Supervisory Special Agent of Squad CY-1 in the San Francisco

 Division of the FBI. On information and belief, he has authority over cybersecurity issues for FBI

 in that geographical region, which includes the headquarters of major social-media platforms, and

 he plays a critical role for FBI and FITF in coordinating with social-media platforms relating to

 censorship and suppression of speech on their platforms.

    63. Defendant Jay Dempsey is Social Media Team Lead, Digital Media Branch, Division of

 Public Affairs at the CDC. He is sued in his official capacity.




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     64. Defendant Kate Galatas is Deputy Communications Director at the CDC. She is sued in

 her official capacity.

     65. Defendant Eric Waldo is Chief Engagement Officer for the Surgeon General. He is sued

 in his official capacity.

     66. Defendant Yolanda Byrd is a member of the Digital Engagement Team at HHS. She is

 sued in her official capacity.

     67. Defendant Christy Choi is Deputy Director, Office of Communications, HRSA within

 HHS. She is sued in her official capacity.

     68. Defendant Tericka Lambert served Director of Digital Engagement at HHS and now serves

 as Deputy Director of the Office of Digital Strategy at the White House. She is sued in her official

 capacity.

     69. Defendant Joshua Peck is Deputy Assistant Secretary for Public Engagement at HHS. He

 is sued in his official capacity.

     70. At times relevant to this Complaint, Defendant Janell Muhammad is or was Deputy Digital

 Director at HHS. She is sued in her official capacity.

     71. At times relevant to this Complaint, Defendant Matthew Masterson is or was Senior

 Cybersecurity Advisory within CISA in the Department of Homeland Security. He is sued in his

 official capacity.

     72. Defendant Lauren Protentis is a member of the “Mis, Dis, and Mal-information (MDM)

 Team” within CISA at DHS. She is sued in her official capacity.

     73. Defendant Geoffery Hale is a member of the Mis, Dis, and Mal-information (MDM) Team

 within CISA at DHS. He is sued in his official capacity.




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     74. Defendant Allison Snell is a member of the Mis, Dis, and Mal-information (MDM) Team

 within CISA at DHS. She is sued in her official capacity.

     75. Defendant Kim Wyman is CISA’s Senior Election Security Lead. She is sued in her

 official capacity.

     76. Defendant Brian Scully is a member of DHS’s Countering Foreign Influence Task Force,

 National Risk Management Center, and the Chief of the Mis-, Dis-, Malinformation Team at CISA.

 He is sued in his official capacity.

     77. Defendant Zachary (“Zack”) Henry Schwartz is the Division Chief for the

 Communications Directorate at the U.S. Census Bureau. He is sued in his official capacity.

     78. Defendant Lorena Molina-Irizarry served at times relevant to this Complaint as Director of

 Operations at Census Open Innovation Labs at the Census Bureau and Senior Advisor on the

 American Rescue Plan Team at the White House. She is sued in her official capacity.

     79. Defendant Kristin Galemore is Deputy Director of the Office of Faith Based and

 Neighborhood Partnerships at the Census Bureau. She is sued in her official capacity.

     80. Defendant U.S. Food and Drug Administration (“FDA”) is a federal agency within the U.S.

 Department of Health and Human Services.

     81. Defendant Erica Jefferson is the Associate Commissioner for External Affairs within the

 Office of the Commissioner at the U.S. Food and Drug Administration. She is sued in her official

 capacity.

     82. Defendant Michael Murray is the Acquisition Strategy Program Manager for the Office of

 Health Communications and Education at the FDA. He is sued in his official capacity.

     83. Defendant Brad Kimberly is the Director of Social Media at the FDA. He is sued in his

 official capacity.



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    84. Defendant U.S. Department of State (“State Department”) is a Cabinet-level agency within

 the Government of the United States.

    85. Defendant Leah Bray is the Acting Coordinator of the State Department’s Global

 Engagement Center. She is sued in her official capacity.

    86. Defendant Samaruddin K. Stewart is a Senior Technical Advisor and/or Senior Advisor for

 the Global Engagement Center of the State Department. He is sued in his official capacity.

     87. At times relevant to this Complaint, Defendant Daniel Kimmage is or was the Acting

 Coordinator for the Global Engagement Center at the State Department. He is sued in his official

 capacity.

     88. Defendant Alexis Frisbie is a member of the Technology Engagement Team at the Global

 Engagement Center at the State Department. She is sued in her official capacity.

     89. The State Department operates a “Global Engagement Center” within the State Department

 that conducts counter-“disinformation” activities. According to the State Department’s website,

 the Global Engagement Center’s mission is “[t]o direct, lead, synchronize, integrate, and

 coordinate efforts of the Federal Government to recognize, understand, expose, and counter

 foreign state and non-state propaganda and disinformation efforts aimed at undermining or

 influencing the policies, security, or stability of the United States, its allies, and partner nations.”

 As alleged further herein, the Global Engagement Center is involved in procuring the censorship

 of private speech on social media, including of U.S. citizens. The State Department also maintains

 an Office of Cyber Coordinator, a.k.a. Office of the Coordinator for Cyber Issues, that has, on

 information and belief, also been involved in federal social-media censorship activities.

     90. Defendant U.S. Department of the Treasury (“Treasury”) is a Cabinet-level agency within

 the Government of the United States.



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     91. Defendant Wally Adeyemo is the Deputy Secretary of the Treasury. He is sued in his

 official capacity.

     92. Defendant U.S. Election Assistance Commission (“EAC”) is an independent agency within

 the Government of the United States. According to its website, the EAC “was established by the

 Help America Vote Act of 2002 (HAVA). The EAC is an independent, bipartisan commission

 charged with developing guidance to meet HAVA requirements, adopting voluntary voting system

 guidelines, and serving as a national clearinghouse of information on election administration.”

     93. Defendant Mark A. Robbins is the Interim Executive Director of the EAC. He is sued in

 his official capacity.

     94. Defendant Kristen Muthig is the Director of Communications for the EAC. According to

 the EAC’s website, Muthig “manages media relations, communications strategy and supports the

 commissioners and EAC leadership.” She is sued in her official capacity.

                                   GENERAL ALLEGATIONS

 A. Freedom of Speech Is the Bedrock of American Liberty.

     95. The First Amendment of the U.S. Constitution states that “Congress shall make no law …

 abridging the freedom of speech, or of the press…” U.S. CONST. amend. I.

     96. Article I, § 8 of the Missouri Constitution provides “[t]hat no law shall be passed impairing

 the freedom of speech, no matter by what means communicated: that every person shall be free to

 say, write or publish, or otherwise communicate whatever he will on any subject, being responsible

 for all abuses of that liberty….” MO. CONST. art. I, § 8. Article I, § 7 of the Louisiana Constitution

 provides that “[n]o law shall curtail or restrain the freedom of speech or of the press. Every person

 may speak, write, and publish his sentiments on any subject, but is responsible for abuse of that




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 freedom.” LA. CONST. art. I, § 7. All other State Constitutions likewise protect the freedom of

 speech as a fundamental right of the first order.

    97. The freedom of speech and expression guaranteed by the First Amendment is one of the

 greatest bulwarks of liberty.    These rights are fundamental and must be protected against

 government interference.

    1. Government officials lack authority to censor disfavored speakers and viewpoints.

    98. If the President or Congress enacted a law or issued an order requiring the suppression of

 certain disfavored viewpoints or speakers on social media, or directing social media to demonetize,

 shadow-ban, or expel certain disfavored speakers, such a law or order would be manifestly

 unconstitutional under the First Amendment.

    99. “If there is any fixed star in our constitutional constellation, it is that no official, high or

 petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other matters of

 opinion.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

    100.        “[T]he First Amendment means that government has no power to restrict expression

 because of its message, its ideas, its subject matter, or its content.” Ashcroft v. ACLU, 535 U.S.

 564, 573 (2002) (quotations omitted).

    101.        “In light of the substantial and expansive threats to free expression posed by

 content-based restrictions,” the Supreme “Court has rejected as ‘startling and dangerous’ a ‘free-

 floating test for First Amendment coverage ... [based on] an ad hoc balancing of relative social

 costs and benefits.’” United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality op.) (quoting

 United States v. Stevens, 559 U.S. 460, 470 (2010)).

    2. Merely labeling speech “misinformation” or “disinformation” does not strip away
       First Amendment protections.




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    102.        Labeling disfavored speech “misinformation” or “disinformation” does not strip it

 of First Amendment protection. “Absent from those few categories where the law allows content-

 based regulation of speech is any general exception to the First Amendment for false statements.

 This comports with the common understanding that some false statements are inevitable if there

 is to be an open and vigorous expression of views in public and private conversation, expression

 the First Amendment seeks to guarantee.” Id. at 718.

    103.        The Supreme Court has thus rejected the argument “that false statements, as a

 general rule, are beyond constitutional protection.” Id.

    104.        “Permitting the government to decree this speech to be a criminal offense, whether

 shouted from the rooftops or made in a barely audible whisper, would endorse government

 authority to compile a list of subjects about which false statements are punishable.            That

 governmental power has no clear limiting principle. Our constitutional tradition stands against the

 idea that we need Oceania’s Ministry of Truth.” Id. at 723 (citing G. ORWELL, NINETEEN EIGHTY–

 FOUR (1949) (Centennial ed. 2003)).

    105.        “Were the Court to hold that the interest in truthful discourse alone is sufficient to

 sustain a ban on speech … it would give government a broad censorial power unprecedented in

 this Court's cases or in our constitutional tradition. The mere potential for the exercise of that

 power casts a chill, a chill the First Amendment cannot permit if free speech, thought, and

 discourse are to remain a foundation of our freedom.” Id. at 723.

    3. Counterspeech, not censorship, is the proper response to supposed “misinformation.”

    106.        When the Government believes that speech is false and harmful, “counterspeech,”

 not censorship, must “suffice to achieve its interest.” Id. at 726. The First Amendment presumes

 that “the dynamics of free speech, of counterspeech, of refutation, can overcome the lie.” Id.



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    107.        “The remedy for speech that is false is speech that is true. This is the ordinary

 course in a free society. The response to the unreasoned is the rational; to the uninformed, the

 enlightened; to the straightout lie, the simple truth.” Id. at 727.

    108.        “The theory of our Constitution is ‘that the best test of truth is the power of the

 thought to get itself accepted in the competition of the market.’” Id. at 728 (quoting Abrams v.

 United States, 250 U.S. 616, 630 (1919) (Holmes, J., dissenting)).

    109.        “The First Amendment itself ensures the right to respond to speech we do not like,

 and for good reason. Freedom of speech and thought flows not from the beneficence of the state

 but from the inalienable rights of the person. And suppression of speech by the government can

 make exposure of falsity more difficult, not less so. Society has the right and civic duty to engage

 in open, dynamic, rational discourse. These ends are not well served when the government seeks

 to orchestrate public discussion through content-based mandates.” Id. at 728.

    4. Americans have a First Amendment right to be exposed to a free flow of speech,
       viewpoints, and content, free from censorship by government officials.

    110.        The First Amendment also protects the right to receive others’ thoughts, messages,

 and viewpoints freely, in a free flow of public discourse. “[W]here a speaker exists …, the

 protection afforded is to the communication, to its source and to its recipients both.” Va. State Bd.

 of Pharmacy v. Va. Citizens Consumer Council, 425 U.S. 748, 756 (1976).

    111.        The right to receive information is “an inherent corollary of the rights to free speech

 and press that are explicitly, guaranteed by the Constitution,” because “the right to receive ideas

 follows ineluctably from the sender’s First Amendment right to send them.” Bd. of Educ., Island

 Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 867 (1982). “The dissemination of ideas

 can accomplish nothing if otherwise willing addressees are not free to receive and consider them.




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 It would be a barren marketplace of ideas that had only sellers and no buyers.” Lamont v.

 Postmaster Gen., 381 U.S. 301, 308 (1965) (Brennan, J., concurring).

    112.        “A fundamental principle of the First Amendment is that all persons have access to

 places where they can speak and listen, and then, after reflection, speak and listen once more.”

 Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017).

    113.        “[A]ssuring that the public has access to a multiplicity of information sources is a

 governmental purpose of the highest order, for it promotes values central to the First Amendment.”

 Turner Broadcasting Sys., Inc. v. FCC, 512 U.S. 622, 663 (1994). Indeed, “the widest possible

 dissemination of information from diverse and antagonistic sources is essential to the welfare of

 the public.” United States v. Midwest Video Corp., 406 U.S. 649, 668 n.27 (1972) (plurality op.)

 (quotations omitted).

    5. Government officials may not circumvent the First Amendment by inducing,
       threatening, and/or colluding with private entities to suppress protected speech.

    114.        It is “axiomatic” that the government may not “induce, encourage, or promote

 private persons to accomplish what it is constitutionally forbidden to accomplish.” Norwood v.

 Harrison, 413 U.S. 455, 465 (1973) (quotations omitted).

    115.        A private entity violates the First Amendment “if the government coerces or

 induces it to take action the government itself would not be permitted to do, such as censor

 expression of a lawful viewpoint.” Knight First Amendment Institute, 141 S. Ct. at 1226 (Thomas,

 J., concurring). “The government cannot accomplish through threats of adverse government action

 what the Constitution prohibits it from doing directly.” Id.

    116.        Threats of adverse regulatory or legislative action, to induce private actors to censor

 third parties’ speech, violate the First Amendment. See Hammerhead Enters. v. Brezenoff, 707

 F.2d 33, 39 (2d Cir. 1983) (“Where comments of a government official can reasonably be

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 interpreted as intimating that some form of punishment or adverse regulatory action will follow

 the failure to accede to the official’s request, a valid claim can be stated.”); see also Bantam

 Books v. Sullivan, 372 U.S. 58, 68 (1963) (holding that a veiled threat of prosecution to pressure a

 private bookseller to stop selling disfavored books could violate the First Amendment).

      117.      The unprecedented control over private speech exercised by social-media

 companies gives government officials an unprecedented opportunity to circumvent the First

 Amendment and achieve indirect censorship of private speech. “By virtue of its ownership of the

 essential pathway,” a social media platform “can . . . silence the voice of competing speakers with

 a mere flick of the switch.” Turner, 512 U.S. at 656; see also Knight First Amendment Inst., 141

 S. Ct. at 1224 (Thomas, J., concurring). “The potential for abuse of this private power over a central

 avenue of communication cannot be overlooked.” Turner, 512 U.S. at 656.

 B.      The Dominance of Social Media as a Forum for Public Information and Discourse.

      118.      Social media has become, in many ways, “the modern public square.” Packingham

 v. North Carolina, 137 S. Ct. 1730, 1737 (2017). Social media platforms provide “perhaps the

 most powerful mechanisms available to a private citizen to make his or her voice heard.” Id.

      119.      “Today’s digital platforms provide avenues for historically unprecedented amounts

 of speech, including speech by government actors. Also unprecedented, however, is the

 concentrated control of so much speech in the hands of a few private parties.” Knight First

 Amendment Institute, 141 S. Ct. at 1221.

      120.      The “concentration” of power in social media companies “gives some digital

 platforms enormous control over speech.” Id. at 1224. Defendants have not hesitated to exploit

 this power.




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    121.        For example, on information and belief, Facebook has close to 3 billion registered

 users worldwide and over 124 million users in the United States, including millions of Missourians

 and millions of citizens of other States.

    122.        On information and belief, Twitter has more than 340 million users worldwide,

 including approximately 70 million users in the United States. Approximately 500 million tweets

 are posted on Twitter every day, and they are accessible to non-Twitter users on the internet.

 Moreover, Twitter users include large numbers of politicians, journalists, public figures, and others

 with a disproportionately large impact on public discourse in other forums, so Twitter’s impact on

 public discourse is even larger than its numbers alone reflect.

    123.        On information and belief, YouTube has more than 4 billion hours of video views

 every month. Videos on YouTube channels are visible to both YouTube users and to the general

 public on the internet. An estimated 500 hours of video content are uploaded to YouTube every

 minute.

    124.        YouTube is extremely popular among politicians and public figures in reaching

 their audiences. On information and belief, in 2020, approximately 92 percent of U.S. Senators

 and 86 percent of U.S. Representatives uploaded content on YouTube.

    125.        According to a recent Pew Research study, 66 percent of U.S. adults use Facebook,

 and 31 percent of U.S. adults say they get news regularly on Facebook. Walker et al., News

 Consumption Across Social Media in 2021, PEW RESEARCH CENTER (Sept. 20, 2021), at

 https://www.pewresearch.org/journalism/2021/09/20/news-consumption-across-social-media-in-

 2021/.

    126.        According to the same study, 72 percent of U.S. adults say that they use YouTube,

 and 22 percent of U.S. adults say that they regularly get news on YouTube. Id.



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    127.        According to the same study, 23 percent of U.S. adults say that they use Twitter,

 and 13 percent of U.S. adults say they regularly get news on Twitter. Id. This comprises 55

 percent of Twitter users. Id.

    128.        According to the same study, 41 percent of U.S. adults say that they use Instagram,

 and 11 percent of U.S. adults say they regularly get news on Instagram. Id.

    129.        The free flow of information and expression on social media directly affects non-

 users of social media as well. Social-media users who are exposed to information, ideas, and

 expression through social media communicate the same information, ideas, and expression with

 non-social-media users. News, information, messages, narratives, and storylines that originate on

 social media are frequently replicated in other forums, such as television, print media, and private

 discourse. Further, much content posted on social-media is directly available to non-social-media

 users. For example, posts on Twitter are directly accessible on the internet to non-Twitter-users,

 and content on YouTube is available to the general public on the internet as well.

    130.        In the aggregate, these numbers of Americans who (1) use social-media platforms,

 and (2) regularly use social-media platforms to obtain news and information about matters of

 public interest, comprise hundreds of millions of Americans, including millions of Missourians

 and Louisianans, and very substantial segments of the populations of Missouri, Louisiana, and

 every other State.

    131.        There are also many ways for social-media companies to censor or suppress speech

 on social-media platforms. Some of these methods are immediately known to the speaker and/or

 his or her audience, and some are not visible to them. Censorship, therefore, can occur without

 the knowledge of the speaker and/or his or her audience. These methods include, but are not

 limited to, terminating speakers’ accounts, suspending accounts, imposing warnings or strikes



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 against accounts to chill future disfavored speech, “shadow banning” speakers, demonetizing

 content, adjusting algorithms to suppress or de-emphasize speakers or messages, promoting or

 demoting content, placing warning labels on content, suppressing content in other users’ feeds,

 promoting negative comments on disfavored content, and requiring additional click-through(s) to

 access content, among many others. Many methods, moreover, have a chilling effect on social-

 media speech, as the threat of censorship (such as suspension, demonetization, or banning) drives

 speakers to self-censor to avoid making statements that might be deemed to violate the social-

 media companies’ vague, ever-changing, often-hidden, and inconsistently enforced standards for

 censoring and suppressing speech. Collectively herein, all these methods of suppressing and/or

 censoring speech on social media are called “censorship” and/or “suppression” of social-media

 speech.

      132.       The censorship and suppression of free speech on social media functions in most

 cases as a prior restraint on speech, both through its direct effect and its chilling effects. A prior

 restraint is the most severe form of restriction on freedom of expression.

 C.        Public and Private Attempts to Police “Misinformation” or “Disinformation” on
           Social Media Have Proven Embarrassingly Inaccurate.

      133.       Yesterday’s “misinformation” often becomes today’s viable theory and tomorrow’s

 established fact. “Even where there is a wide scholarly consensus concerning a particular matter,

 the truth is served by allowing that consensus to be challenged without fear of reprisal. Today’s

 accepted wisdom sometimes turns out to be mistaken.” Alvarez, at 752 (Alito, J., dissenting)

 (emphasis added). This prediction has proven true, again and again, when it comes to suppressing

 “misinformation” and “disinformation” on social media.

           1.    The Hunter Biden laptop story.




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    134.          Perhaps most notoriously, social-media platforms aggressively censored an

 October 14, 2020 New York Post exposé about the contents of the laptop of (then-Candidate

 Biden’s son) Hunter Biden, which had been abandoned in a Delaware repair shop and contained

 compromising photos and email communications about corrupt foreign business deals. As the

 New York Post reported at the time, “[b]oth Twitter and Facebook took extraordinary censorship

 measures against The Post on Wednesday over its exposés about Hunter Biden’s emails … The

 Post’s primary Twitter account was locked as of 2:20 p.m. Wednesday because its articles about

 the messages obtained from Biden’s laptop broke the social network’s rules against ‘distribution

 of hacked material,’ according to an email The Post received from Twitter,” even though there

 were “zero claims that [Hunter Biden’s] computer had been hacked.” Twitter, Facebook censor

 Post      over     Hunter     Biden     exposé,        N.Y.   POST     (Oct.    14,     2020),     at

 https://nypost.com/2020/10/14/facebook-twitter-block-the-post-from-posting/.          “Twitter also

 blocked users from sharing the link to The Post article indicating that Hunter Biden introduced Joe

 Biden to the Ukrainian businessman, calling the link ‘potentially harmful.’” Id.

    135.          As the Wall Street Journal Editorial Board reported, “nearly all of the media at the

 time ignored the story or ‘fact-checked’ it as false. This … was all the more egregious given other

 evidence supporting the Post’s scoop. Neither Hunter Biden nor the Biden campaign denied that

 the laptop was Hunter’s. And Hunter’s former business partner, Tony Bobulinski, went public

 with documents backing up some of the laptop’s contents.” Editorial Board, Hunter Biden’s

 Laptop Is Finally News Fit to Print, WALL ST. J. (March 18, 2022).

    136.          Biden, his allies, and those acting in concert with them falsely attacked the Hunter

 Biden laptop story as “disinformation.” Id. Fifty “intelligence officials—headlined by former

 Obama spooks James Clapper and John Brennan—circulated a statement peddling the Russian



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 ‘disinformation’ line—even as they admitted they had no evidence. Th[e] result was a blackout

 of the Hunter news, except in a few places….” Id. Parroting the Biden campaign’s false line, both

 social media platforms and major news organizations treated the story as “disinformation” and

 aggressively censored it.

    137.        In early 2022—over a year and a half later—major news organizations finally

 admitted that the Hunter Biden laptop story was truthful and rested on reliable sourcing and

 information. Id. The Washington Post and the New York Times quietly acknowledged the truth

 and reliability of the story “17 months” later, in mid-March 2022. Id.

    138.        Free-speech advocate Glenn Reynolds aptly described this embarrassing episode as

 one that permanently damaged the credibility and reputation for fairness of social-media platforms

 and major media outlets: “Twitter and other tech giants banned The Post’s reporting, since

 admitted to be accurate, on Hunter Biden’s laptop and the damaging information it contained.

 Many social-media giants banned any links to the story, and Twitter even went so far as to stop its

 users from sharing the story one-on-one through direct messages. (CEO Jack Dorsey later admitted

 that was a ‘total mistake.’) Their purpose was to affect the election’s outcome in favor of the

 Democrats, and they probably did.” Glenn H. Reynolds, ‘Censorship is free speech’ is the

 establishment’s Orwellian line on Elon Musk’s Twitter crusade, N.Y. POST (Apr. 15, 2022),

 https://nypost.com/2022/04/14/the-establishments-orwellian-line-on-elon-musks-twitter-

 crusade/.

        2.      Speech about the lab-leak theory of COVID-19’s origins.

    139.        Likewise, beginning in February 2020, social-media platforms censored speech

 advocating for the lab-leak theory of the origins of SARS-CoV-2, the virus that causes COVID-

 19. The lab-leak theory postulates that the virus did not originate naturally in bats or other animals,



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 but leaked from a biotech laboratory in Wuhan, China, operated by the Wuhan Institute of

 Virology.

    140.         On information and belief, Defendant Dr. Anthony Fauci, a senior federal

 government official, coordinating with others, orchestrated a campaign to discredit the lab-leak

 hypothesis in early 2020. As director of NIAID, Dr. Fauci had funded risky “gain-of-function”

 research at the Wuhan Institute of Virology through intermediaries such as EcoHealth Alliance,

 headed by Dr. Peter Daszak. Thus, if the lab-leak theory were established, Dr. Fauci and Dr.

 Daszak could be potentially implicated in funding the research on viruses that caused the COVID-

 19 pandemic and killed millions of people worldwide.

    141.         During the same time frame as he was orchestrating a campaign to falsely discredit

 the lab-leak theory, Dr. Fauci was exchanging emails with Mark Zuckerberg, the CEO of

 Facebook, regarding public messaging and the dissemination of COVID-19 information on social-

 media. On information and belief, Dr. Fauci coordinated directly with Facebook and/or other

 social-media firms to suppress disfavored speakers and content of speech on social media.

    142.         Not surprisingly, social-media platforms like Facebook promptly accepted Dr.

 Fauci’s initiative to discredit the lab-leak theory, and they engaged in an aggressive campaign to

 censor speech advocating for the lab-leak theory on social media on the ground that it was

 supposedly disinformation. Facebook “expand[ed] its content moderation on Covid-19 to include

 ‘false’ and ‘debunked’ claims such as that ‘COVID-19 is man-made or manufactured.’” Editorial

 Board,      Facebook’s    Lab-Leak     About-Face,     WALL     ST.    J.   (May     27,    2021),

 https://www.wsj.com/articles/facebooks-lab-leak-about-face-11622154198.            This    included

 suppressing speech by highly credentialed and well-respected writers, such as “science journalist




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 Nicholas Wade,” id., and scientist Alina Chan. Other social-media platforms likewise censored

 speech advocating for the lab-leak hypothesis.

    143.        By 2021, however, “the circumstantial evidence” favoring the lab-leak theory

 “finally permeated the insular world of progressive public health,” id., and Fauci and other Biden

 Administration officials were forced to admit the theory’s inherent plausibility. After a long period

 of censorship, in May 2021, Facebook and other platforms announced that they would no longer

 censor social-media speech advocating for the lab-leak theory.

    144.        The Wall Street Journal noted the close link between government and social-media

 platforms in censoring this speech: “Facebook acted in lockstep with the government,” indicating

 that “[w]hile a political or scientific claim is disfavored by government authorities, Facebook will

 limit its reach. When government reduces its hostility toward an idea, so will Facebook.” Id.

 “Free speech protects the right to challenge government. But instead of acting as private actors

 with their own speech rights, the companies are mandating conformity with existing government

 views.” Id.

    145.        There had long been credible—even compelling—evidence of the plausibility of

 the lab-leak theory, long before social-media companies stopped censoring it. See, e.g., House

 Foreign Affairs Committee Minority Staff Report, The Origins of COVID-19: An Investigation of

 the Wuhan Institute of Virology (Aug. 2021), https://gop-foreignaffairs.house.gov/wp-

 content/uploads/2021/08/ORIGINS-OF-COVID-19-REPORT.pdf (detailing evidence available

 long before censorship lifted); Nicholas Wade, The origin of COVID: Did people or nature open

 Pandora’s     box     at    Wuhan?,      BULL.     ATOMIC      SCIENTISTS      (May     5,    2021),

 https://thebulletin.org/2021/05/the-origin-of-covid-did-people-or-nature-open-pandoras-box-at-

 wuhan/; ALINA CHAN, VIRAL: THE SEARCH FOR THE ORIGIN OF COVID-19 (Sept. 3, 2021).



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    146.        Facebook’s decision to stop censoring the lab-leak theory did not come until “after

 almost every major media outlet, and … even the British and American security services, finally

 confirmed that it is a feasible possibility.” Freddie Sayers, How Facebook censored the lab leak

 theory, UNHERD (May 31, 2021), https://unherd.com/2021/05/how-facebook-censored-the-lab-

 leak-theory/. Facebook admitted that its decision to end censorship was made “in consultation

 with” government officials, i.e., “public health experts.” Id.

    147.        The reach of Facebook’s censorship alone (to say nothing of other platforms that

 censored the lab-leak theory) was enormous. Facebook “displayed ‘warnings’” on such supposed

 COVID-19-related misinformation, and claimed that “[w]hen people saw those warning labels,

 95% of the time they did not go on to view the original content.” Id. “Moreover, if an article is

 rated ‘false’ by their ‘fact checkers’, the network will ‘reduce its distribution’. This means that,

 while an author or poster is not aware that censorship is taking place, the network could be hiding

 their content so it is not widely disseminated.” Id.

    148.        Ironically, while admitting that it had erroneously censored speech on the lab-leak

 theory for over a year, Facebook announced that it was “now extending its policy of ‘shadow-

 banning’ accounts that promote misinformation. ‘Starting today, we will reduce the distribution

 of all posts in News Feed from an individual’s Facebook account if they repeatedly share content

 that has been rated by one of our fact-checking partners.’ So now, if you share something deemed

 to contain misinformation multiple times, your account could be silenced; you won’t be informed,

 you won’t know to what degree your content will be hidden and you won’t know how long it will

 last—all thanks to group of ‘fact-checkers’ whose authority cannot be questioned.” Id. It is

 astonishing that “this announcement was made on the very same day as Facebook’s admission of

 error” on the lab-leak theory. Id.



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         3.      Speech about the efficacy of mask mandates and COVID-19 lockdowns.

      149.       Social-media platforms also aggressively censored speech questioning the efficacy

 of masks and lockdowns as COVID-19 mitigation measures. Yet evidence revealed that concerns

 about the efficacy of these measures were well-founded.

      150.       For example, on information and belief, Twitter’s “COVID-19 misleading

 information policy,” as of December 2021, noted that Twitter will censor (label or remove) speech

 claiming that “face masks … do not work to reduce transmission or to protect against COVID-

 19,” among many other restrictions.      See Twitter, Covid-19 misleading information policy,

 https://help.twitter.com/en/rules-and-policies/medical-misinformation-policy.   On information

 and belief, both Twitter and other social-media platforms have imposed similar policies, imposing

 censorship on speech questioning the efficacy of masks and the efficacy of lockdowns as COVID-

 19 mitigation measures.

      151.       On April 8, 2021, YouTube “deleted a video in which Florida Gov. Ron DeSantis

 and a handful of medical experts,” including Plaintiffs Bhattacharya and Kulldorff, “questioned

 the effectiveness of having children wear masks to stop the spread of COVID-19.” YouTube

 Purges Ron DeSantis Video Over Claims Children Don’t Need to Wear Masks, THE WRAP (Apr.

 8,     2021),      https://www.thewrap.com/youtube-purges-florida-governor-video-over-claims-

 children-dont-need-to-wear-masks/.

      152.       On August 10, 2021, “YouTube barred Sen. Rand Paul (R-Ky.) from uploading

 new videos to the site for seven days, after the ophthalmologist posted a video last week arguing

 that most masks ‘don’t work’ against the coronavirus.” Rand Paul Suspended from YouTube Over

 Covid Claims, FORBES (Aug. 10, 2021), https://www.forbes.com/sites/joewalsh/2021/08/10/rand-

 paul-suspended-from-youtube-over-covid-claims/?sh=31f1d4e01971.



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    153.         “When Scott Atlas, a member of the Trump White House’s coronavirus task force,

 questioned the efficacy of masks last year, Twitter removed his tweet. When eminent scientists

 from Stanford and Harvard recently told Florida Gov. Ron DeSantis that children should not be

 forced to wear masks, YouTube removed their video discussion from its platform.”             How

 Facebook uses ‘fact-checking’ to suppress scientific truth, N.Y. POST (May 18, 2021),

 https://nypost.com/2021/05/18/how-facebook-uses-fact-checking-to-suppress-scientific-truth/.

    154.         In the same vein, Facebook suppressed a scientist for citing a peer-reviewed study

 “by a team of researchers in Germany who established an online registry for thousands of parents

 to report on the impact of masks on their children. More than half of those who responded said

 that masks were giving their children headaches and making it difficult for them to concentrate.

 More than a third cited other problems, including malaise, impaired learning, drowsiness and

 fatigue.” Id.

    155.         On November 21, 2020, “[t]wo leading Oxford University academics … accused

 Facebook of ‘censorship’ after it claimed an article they wrote on face masks amounted to ‘false

 information’.” Two top Oxford academics accuse Facebook of censorship for branding their

 article on whether masks work ‘false information’, DAILY MAIL (Nov. 21, 2020)

 https://www.dailymail.co.uk/news/article-8973631/Two-Oxford-academics-accuse-Facebook-

 censorship-article-warning.html.

    156.         No convincing evidence supported the efficacy of mask mandates, while

 compelling evidence contradicted it, both before and after their implementation. Tracking the

 aggregate case numbers in States with and without mask mandates over the course of the COVID-

 19 pandemic, in a “natural experiment,” demonstrates that mask mandates made “zero difference.”

 John Tierney, The Failed COVID Policy of Mask Mandates, CITY J. (April 19, 2022),



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 https://www.city-journal.org/the-failed-covid-policy-of-mask-mandates.     Both case rates and

 mortality rates were “virtually identical.” Id. Indeed, “mask mandates were implemented without

 scientific justification,” and “they failed around the world.” Id. “In their pre-Covid planning

 strategies for a pandemic, neither the Centers for Disease Control nor the World Health

 Organization had recommended masking the public—for good reason. Randomized clinical trials

 involving flu viruses had shown, contrary to popular wisdom in Japan and other Asian countries,

 that there was ‘no evidence that face masks are effective in reducing transmission,’ as the WHO

 summarized the scientific literature.” Id. “Anthony Fauci acknowledged this evidence early in

 the pandemic, both in his public comments (‘There’s no reason to be walking around with masks,’

 he told 60 Minutes) and in his private emails (‘I do not recommend you wear a mask,’ he told a

 colleague, explaining that masks were too porous to block the small Covid virus).” Id. “Instead

 of carefully analyzing the effects of masks, the CDC repeatedly tried to justify them by

 misrepresenting short-term trends and hyping badly flawed research, like studies in Arizona and

 Kansas purporting to show that infections had been dramatically reduced by the mask mandates

 imposed in some counties. But in each state, … infection rates remained lower in the counties that

 did not mandate masks.” Id.; see also, e.g., IAN MILLER, UNMASKED: THE GLOBAL FAILURE OF

 COVID MASK MANDATES (Jan. 20, 2022).

    157.        Ironically, Plaintiff Kulldorff was suspended on Twitter for several weeks for

 posting that masks endow vulnerable individuals with a false sense of security, because they

 actually do not work well to protect against viral infection. This exemplifies the danger of

 government involvement in social media censorship: preventing a world-renowned epidemiologist

 from conveying to the public that vulnerable people should not rely on masks for protection could

 indirectly cause great harm.



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    158.        Likewise, no convincing evidence supported the efficacy of lockdowns. Quite the

 contrary. In January 2022, a Johns Hopkins meta-analysis reviewed the efficacy of lockdowns as

 a COVID-19 mitigation measure and found that they had minimal impact, if any, on COVID-19

 mortality rates. The study reached “the conclusion that lockdowns have had little to no effect on

 COVID-19 mortality… [L]ockdowns in Europe and the United States only reduced COVID-19

 mortality by 0.2% on average…. While this meta-analysis concludes that lockdowns have had

 little to no public health effects, they have imposed enormous economic and social costs where

 they have been adopted. In consequence, lockdown policies are ill-founded and should be rejected

 as a pandemic policy instrument.” Herby et al., A Literature Review and Meta-Analysis of the

 Effects of Lockdowns on COVID-19 Mortality, STUDIES        IN   APPLIED ECONOMICS (Jan. 2022),

 available     at    https://sites.krieger.jhu.edu/iae/files/2022/01/A-Literature-Review-and-Meta-

 Analysis-of-the-Effects-of-Lockdowns-on-COVID-19-Mortality.pdf.

    159.        On December 21, 2021, Dr. Leana Wen, a CNN medical commentator and strong

 advocate for COVID-19 restrictions, tweeted that “cloth masks are little more than facial

 decorations.” CNN’s Leana Wen: ‘Cloth Masks Are Little More Than Facial Decorations’,

 REASON, at https://reason.com/2021/12/21/leana-wen-cloth-mask-facial-decorations-covid-cdc-

 guidance/. Twitter did not censor this tweet, even though it undermined the efficacy of mask

 mandates that permitted the use of cloth masks (i.e., virtually all of them)—undoubtedly because

 it was advocating for more aggressive mitigation measures (i.e., higher-quality masks than cloth

 masks), not less.

    160.        “On September 26, 2021, CDC Director Walensky cited an Arizona study to claim

 that schools without mask mandates were 3.5 times more likely to experience COVID-19

 outbreaks. However, the study is so flawed that experts have said it ‘should not have entered into



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 the public discourse’ and that you ‘can’t learn anything’ about mask rules from the study.” March

 11, 2022 Letter of U.S. Rep. Cathy McMorris Rodgers, et al., to Surgeon General Murthy, at

 https://republicans-energycommerce.house.gov/wp-content/uploads/2022/03/3.11.22-Letter-to-

 Surgeon-General-Murthy-Final.pdf. Yet Director Walensky’s statement circulated widely on

 social media without being censored.

        4.      Speech about election integrity and the security of voting by mail.

    161.        In or around 2020, social-media platforms began aggressively censoring speech

 that raised concerns about the security of voting by mail, a major election-security issue.

 Notoriously, social-media platforms aggressively censored core political speech by then-President

 Trump and the Trump campaign raising concerns about the security of voting by mail in the run-

 up to the November 2020 presidential election.

    162.        This censorship is ironic because, for many years before 2020, it was a common

 left-wing talking point to claim that fraud occurred in voting by mail. In opposing photo-ID

 requirements for in-person voting, Democrats and their allies frequently claimed that photo IDs

 for in-person voting were pointless because voting by mail, not in-person voting, presented the

 real opportunities for fraud.

    163.        These Democratic claims of fraud in voting by mail were widely parroted in

 mainstream media for many years. For example, in 2012, the New York Times wrote that “votes

 cast by mail are less likely to be counted, more likely to be compromised and more likely to be

 contested than those cast in a voting booth, statistics show,” in an article headlined “Error and

 Fraud at Issue as Absentee Voting Rises.” https://www.nytimes.com/2012/10/07/us/politics/as-

 more-vote-by-mail-faulty-ballots-could-impact-elections.html. In 2012, The Washington Post

 published an articles stating that “[i]t may still be possible to steal an American election, if you



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 know the right way to go about it,” citing a case in which “[c]onspirators allegedly bought off

 absentee            voters”            and            “faked            absentee               ballots.”

 https://www.washingtonpost.com/politics/decision2012/selling-votes-is-common-type-of-

 election-fraud/2012/10/01/f8f5045a-071d-11e2-81ba-ffe35a7b6542_story.html.                In     2014,

 MSNBC claimed: “Indeed, election experts say absentee ballot fraud is the most common form of

 organized voter fraud, since, because of the secret ballot, there’s no way to ensure that an in-person

 voter is voting for the candidate he promised to.” https://www.msnbc.com/msnbc/greg-abbott-

 bogus-voter-fraud-crusade-msna291356. In 2016, Slate claimed, in a piece titled, “Voter Fraud

 Exists. Republican Restrictions Won’t Stop It,” that “[t]he vast majority of voter fraud

 prosecutions touted by conservative groups like the Heritage Foundation involve absentee ballots

 that were illegally cast. And the only voting fraud schemes with the potential to actually swing

 elections involved mail-in ballots.”      https://slate.com/news-and-politics/2016/09/voter-fraud-

 exists-through-absentee-ballots-but-republicans-wont-stop-it.html.

    164.        Many other authorities confirm the reasonableness of concerns about security of

 voting by mail. For example, in Crawford v. Marion County Election Board, the U.S. Supreme

 Court held that fraudulent voting “perpetrated using absentee ballots” demonstrates “that not only

 is the risk of voter fraud real but that it could affect the outcome of a close election.” Crawford v.

 Marion County Election Bd., 553 U.S. 181, 195–96 (2008) (opinion of Stevens, J.) (emphasis

 added).

    165.        The bipartisan Carter-Baker Commission on Federal Election Reform—co-chaired

 by former President Jimmy Carter and former Secretary of State James A. Baker—determined that

 “[a]bsentee ballots remain the largest source of potential voter fraud.” BUILDING CONFIDENCE IN

 U.S. ELECTIONS: REPORT OF THE COMMISSION ON FEDERAL ELECTION REFORM, at 46 (Sept. 2005),



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 at https://www.legislationline.org/download/id/1472/file/3b50795b2d0374cbef5c29766256.pdf.

 According to the Carter-Baker Commission, “[a]bsentee balloting is vulnerable to abuse in several

 ways.” Id. “Blank ballots mailed to the wrong address or to large residential buildings might be

 intercepted.” Id. “Citizens who vote at home, at nursing homes, at the workplace, or in church

 are more susceptible to pressure, overt and subtle, or to intimidation.” Id. “Vote buying schemes

 are far more difficult to detect when citizens vote by mail.” Id. Thus, the Commission noted that

 “absentee balloting in other states has been a major source of fraud.” Id. at 35. It emphasized that

 voting by mail “increases the risk of fraud.” Id. And the Commission recommended that “States

 … need to do more to prevent … absentee ballot fraud.” Id. at v.

     166.        The U.S. Department of Justice’s 2017 Manual on Federal Prosecution of Election

 Offenses, published by its Public Integrity Section, states: “Absentee ballots are particularly

 susceptible to fraudulent abuse because, by definition, they are marked and cast outside the

 presence of election officials and the structured environment of a polling place.” U.S. Dep’t of

 Justice,    Federal   Prosecution   of   Election    Offenses   28   (8th   ed.   Dec.   2017),   at

 https://www.justice.gov/criminal/file/1029066/download. This Manual reports that “the more

 common ways” that election-fraud “crimes are committed include … [o]btaining and marking

 absentee ballots without the active input of the voters involved.” Id. at 28. And the Manual notes

 that “[a]bsentee ballot frauds” committed both with and without the voter’s participation are

 “common” forms of election fraud. Id. at 29.

     167.        Thus, social-media censorship that has occurred since 2020 to suppress speech

 raising concerns about the security of voting by mail would, if applied even-handedly, suppress

 statements about the risks of fraud in mail-in voting by the United States Supreme Court, the

 Carter-Baker Commission co-chaired by President Jimmy Carter, and the U.S. Department of



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 Justice’s prosecution manual for election-integrity crimes. One would not be able to quote Justice

 Stevens’ opinion for the Supreme Court in Crawford on social media if it followed its own rules.

 Raising concerns about election integrity, and questioning the security of voting by mail, became

 unspeakable on social media only after it became expedient for the Democratic Party and the

 political Left to suppress these ideas, viewpoints, and concerns.

      168.      This censorship of speech, speakers, and viewpoints on such topics and concerns

 continues to this day, at Defendants’ instigation, as alleged further herein.

      169.      There is a common theme to all these examples of wrong-headed censorship: Each

 involved censoring truthful or reliable information that contradicted left-wing political narratives.

 What led to the censorship was not the fact that the speech was supposedly false, but that the

 message was politically inconvenient for Democratic officials and government-preferred

 narratives. As a result, the ability of politicians and social-media platforms to reliably identify

 actual “misinformation” and “disinformation” has been proven false, again and again.

 D.      Defendants, Using Their Official Authority, Have Threatened, Cajoled, and Colluded
         With Social-Media Companies to Silence Disfavored Speakers and Viewpoints.

      170.      On information and belief, the individual Defendants and those acting in concert

 with them have conspired and colluded to suppress Americans’ First Amendment and analogous

 state-law rights to freedom of expression on social-media platforms, and to be exposed to free

 expression on such platforms, and they have taken many overt actions to achieve this goal.

      1. Section 230 of the CDA subsidized, protected, and fostered the creation of speech-
         censorship policies in a small, concentrated group of social-media firms.

      171.      First, the Defendants did not act in a vacuum. For decades, the federal government

 has artificially encouraged, protected, fostered, and subsidized the aggregation of control over




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 speech, including the specific power of censorship, by a small group of powerful social-media

 firms.

    172.        In particular, Section 230 of the Communications Decency Act (CDA) artificially

 empowered and subsidized the growth of social-media companies and their censorship policies by

 effectively immunizing much censorship on social media from liability. Section 230’s unique

 liability shield fostered the aggregation of power in the field into a concentrated cluster of powerful

 social-media firms, and it directly fostered, protected, and encouraged the development of speech-

 censorship policies. This process was greatly accelerated and enhanced by the social-media

 platforms’ success in convincing courts to adopt ever-broadening interpretations of Section 230

 immunity, which stray beyond the statutes’ text.

    173.        “Historically, at least two legal doctrines limited a company’s right to exclude.”

 Knight First Amendment Institute, 141 S. Ct. at 1222 (Thomas, J., concurring). “First, our legal

 system and its British predecessor have long subjected certain businesses, known as common

 carriers, to special regulations, including a general requirement to serve all comers.” Id. “Second,

 governments have limited a company’s right to exclude when that company is a public

 accommodation. This concept—related to common-carrier law—applies to companies that hold

 themselves out to the public but do not ‘carry’ freight, passengers, or communications.” Id.

 Absent the artificial immunity created by the overly expansive interpretations of Section 230

 immunity, these legal doctrines, and free-market forces, would impose a powerful check on

 content- and viewpoint-based censorship by social-media platforms. See id.

    174.        The CDA was enacted in 1996 for the purpose of promoting the growth of internet

 commerce and protecting against the transmission of obscene materials to children over the




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 internet. It was intended to “offer a forum for a true diversity of political discourse,” 47 U.S.C.

 § 230(a)(3), but in recent years Defendants have exploited it to produce the opposite effect.

    175.        Section 230 of the CDA, 47 U.S.C. § 230, provides unique liability protections for

 internet publishers of information, such as social-media companies, which are not available to

 other publishers, such as those of printed media. Section 230(c)(1) provides that “[n]o provider or

 user of an interactive computer service shall be treated as the publisher or speaker of any

 information provided by another information content provider.” 47 U.S.C. § 230(c)(1). In other

 words, social-media firms are generally protected from liability for what their users post.

    176.        Section 230(c)(2), however, also provides that: “No provider or user of an

 interactive computer service shall be held liable on account of (A) any action voluntarily taken in

 good faith to restrict access to or availability of material that the provider or user considers to be

 obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable,

 whether or not such material is constitutionally protected.” 47 U.S.C. § 230(c)(2)(A) (emphasis

 added). Courts have interpreted Section 230 broadly—beyond its plain textual import—to shield

 social-media platforms from liability for censoring anything they deem “objectionable,” even if it

 is constitutionally protected speech.

    177.        This reading is unreasonable and exceeds what Congress authorized. Viewpoint

 and content-based discrimination—now widely practiced by social-media platforms—are the

 antithesis of “good faith.” Id. Moreover, Congress intended the “otherwise objectionable” material

 in § 230(c)(2)(A) to refer only to content similar to “obscene, lewd, lascivious, filthy, excessively

 violent, [and] harassing” content referred to in the same list. Id. But social-media companies have

 interpreted this liability shield unreasonably broadly, and have convinced courts to adopt

 overbroad interpretations of Section 230 immunity. See, e.g., Malwarebytes, Inc. v. Enigma



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 Software Grp. USA, LLC, 141 S. Ct. 13, 15 (2020) (statement of Thomas, J., respecting the denial

 of certiorari) (“[C]ourts have extended the immunity in § 230 far beyond anything that plausibly

 could have been intended by Congress.”); id. at 15-18 (discussing and criticizing the overbroad

 reading of § 230 liability that has shielded social-media firms).

    178.         These platforms, therefore, have the best of both worlds: They claim that they are

 exempt from liability if they leave even atrocious content posted, but they are also exempt from

 liability if they censor anything they deem “objectionable, whether or not such material is

 constitutionally protected.” 47 U.S.C. § 230(c)(2)(A).

    179.         Further, Section 230 of the CDA purportedly shields such platforms from liability

 for colluding with other social-media platforms on how to censor speech: “No provider or user of

 an interactive computer service shall be held liable on account of … (B) any action taken to enable

 or make available to information content providers or others the technical means to restrict access

 to material described in paragraph (1).” 47 U.S.C. § 230(c)(2)(B). On information and belief,

 social-media platforms do, in fact, extensively coordinate with one another in censoring social-

 media speech.

    180.         Section 230 also purports to preempt any state law to the contrary: “No cause of

 action may be brought and no liability may be imposed under any State or local law that is

 inconsistent with this section.” 47 U.S.C. § 230(e)(3).

    181.         On information and belief, the immunity provided by Section 230 of the CDA

 directly contributed to the rise of a small number of extremely powerful social-media platforms,

 who have now turned into a “censorship cartel.” The liability shield provided by the federal

 government artificially subsidized, fostered, and encouraged the viewpoint and content-based

 censorship policies that those platforms have adopted at Defendants’ urging.



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    182.        On information and belief, social-media firms greatly value the immunity provided

 by § 230 of the CDA, which continues to provide them with artificial liability protections, and

 credible threats to amend or repeal that immunity are powerful motivators to those platforms.

 Defendants are aware of this.

    183.        On information and belief, the largest and most powerful social-media firms are

 also greatly concerned about antitrust liability and enforcement, given their dominance in the

 social-media market(s), and credible threats to impose antitrust liability and/or enforcement are

 powerful motivators to those platforms as well. Defendants are aware of this too.

    2. The campaign of threats against social-media companies to demand censorship.

    184.        Defendant Biden, his political allies, and those acting in concert with him have a

 long history of threatening to use official government authority to impose adverse legal

 consequences against social-media companies if such companies do not increase censorship of

 speakers and messages disfavored by Biden and his political allies. Common threats of adverse

 legal and/or regulatory consequences include the threat of antitrust enforcement or legislation, and

 the threat of amending or repealing the liability protections of Section 230 of the Communications

 Decency Act (CDA), among others, if social-media companies fail to engage in more aggressive

 censorship of viewpoints, content, and speakers disfavored by Defendants. These threats are

 effective because they address legal matters of critical concern to dominant social-media firms.

    185.        Defendants have leveraged these threats to secure such increased censorship of

 speakers, content, and viewpoints that they disfavor on social-media platforms; and they have now

 moved into a phase of open collusion with the threatened companies, cooperating with them

 directly to censor speech, speakers, and viewpoints that Defendants disfavor.




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    186.        Threats from Biden, senior government officials in the Biden administration, and

 those acting in concert with them come in the context of a history of such threats from senior

 federal officials politically allied with them. These threats have routinely linked (1) the prospect

 of official government action in the form of adverse legislation, regulation, or agency action—

 especially threats of antitrust legislation and/or enforcement and calls to amend or repeal Section

 230 of the CDA, among others—with (2) calls for more aggressive censorship and suppression of

 speakers, viewpoints, and messages that these officials disfavor. Recent examples include, but are

 by no means limited to, the following:

    x   Speaker Nancy Pelosi, April 12, 2019: “I do think that for the privilege of 230, there has

        to be a bigger sense of responsibility on it. And it is not out of the question that that could

        be removed.” Nancy Pelosi warns tech companies that Section 230 is ‘in jeopardy’, TECH

        CRUCH (April 12, 2019), at https://techcrunch.com/2019/04/12/nancy-pelosi-section-230/.

        (“When asked about Section 230, Pelosi referred to the law as a ‘gift’ to tech companies

        that have leaned heavily on the law to grow their business…. ‘It is a gift to them and I don’t

        think that they are treating it with the respect that they should, and so I think that that could

        be a question mark and in jeopardy… I do think that for the privilege of 230, there has to

        be a bigger sense of responsibility on it. And it is not out of the question that that could be

        removed.’”).

    x   Senator Mark Warner, Oct. 28, 2020: “It saddens me that some of my colleagues have

        joined in the Trump Administration’s cynical and concerted effort to bully platforms into

        allowing dark money groups, right-wing militias and even the President himself to continue

        to exploit social media platforms to sow disinformation, engage in targeted harassment,

        and suppress voter participation. We can and should have a conversation about Section


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        230—and the ways in which it has enabled platforms to turn a blind eye as their platforms

        are used to facilitate discrimination and civil rights violations, enable domestic terrorist

        groups to organize violence in plain sight, assist in stalking and networked harassment

        campaigns, and enable online frauds targeted at vulnerable users….” Statement of U.S.

        Sen.     Mark        R.   Warner   on   Section    230   Hearing   (Oct.   28,   2020),   at

        https://www.warner.senate.gov/public/index.cfm/2020/10/statement-of-sen-mark-r-

        warner-on-facebook-s-decision-to-finally-ban-qanon-from-its-platforms.

    x   Then-Senator Kamala Harris, Sept. 30, 2019: “Look, let’s be honest, Donald Trump’s

        Twitter account should be suspended.” Kamala Harris says Trump’s Twitter account

        should          be        suspended,     CNN.com         (Sept.     30,      2019),       at

        https://www.cnn.com/2019/09/30/politics/kamala-harris-trump-twitter-cnntv/index.html;

        see also https://twitter.com/kamalaharris/status/1179810620952207362.

    x   Then-Senator Kamala Harris, Oct. 2, 2019: “Hey @jack [i.e., Twitter CEO Jack Dorsey].

        Time to do something about this,” providing picture of a tweet from President Trump.

        https://twitter.com/kamalaharris/status/1179193225325826050.

    x   Senator Richard Blumenthal, Nov. 17, 2020: “I have urged, in fact, a breakup of tech giants.

        Because they’ve misused their bigness and power. … And indeed Section 230 reform,

        meaningful reform, including even possible repeal in large part because their immunity is

        way too broad and victims of their harms deserve a day in court.” Breaking the News:

        Censorship, Suppression, and the 2020 Election Before the S. Comm. on Judiciary, 116th

        Cong. at 36:10–15 (2020) (statement of Sen. Richard Blumenthal).

    x   Senator Mazie Hirono, Feb. 5, 2021: “Sec 230 was supposed to incentivize internet

        platforms to police harmful content by users. Instead, the law acts as a shield allowing


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        them to turn a blind eye. The SAFE TECH ACT brings 230 into the modern age and makes

        platforms        accountable        for           the       harm      they        cause.”

        https://twitter.com/maziehirono/status/1357790558606024705?lang=bg.

    x   March 2021 Joint Hearing of the Communications and Technology Subcommittee, Joint

        Statement of Democratic Committee Chairs: “This hearing will continue the Committee’s

        work of holding online platforms accountable for the growing rise of misinformation and

        disinformation. ... For far too long, big tech has failed to acknowledge the role they’ve

        played in fomenting and elevating blatantly false information to its online audiences.

        Industry self-regulation has failed. We must begin the work of changing incentives driving

        social media companies to allow and even promote misinformation and disinformation.”

        See Yaël Eisenstat & Justin Hendrix, A Dozen Experts with Questions Congress Should

        Ask the Tech CEOs—On Disinformation and Extremism, JUST SECURITY (Mar. 25, 2021),

        https://www.justsecurity.org/75439/questions-congress-should-ask-the-tech-ceos-on-

        disinformation-and-extremism/.

    x   On April 20, 2022, twenty-two Democratic members of Congress sent a letter to Mark

 Zuckerberg of Facebook (n/k/a “Meta Platforms, Inc.”), demanding that Facebook increase

 censorship of “Spanish-language disinformation across its platforms.” The letter claimed that

 “disinformation” was a threat to democracy, and it made explicit threats of adverse legislative

 action if Facebook/Meta did not increase censorship: “The spread of these narratives demonstrate

 that Meta does not see the problem of Spanish-language disinformation in the United States as a

 critical priority for the health of our democracy. The lack of Meta’s action to swiftly address

 Spanish-language misinformation globally demonstrates the need for Congress to act to ensure

 Spanish-speaking communities have fair access to trustworthy information.” The letter demanded


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 information about Facebook’s censorship policies on election-related speech for the upcoming

 elections: “How is Meta preparing to proactively detect and address foreign disinformation

 operations targeted at Spanish-speaking communities for future elections within the United States,

 including the 2022 primaries and general election? … [W]hat new steps has Meta taken to ensure

 the effectiveness of its algorithmic content detection policies to address disinformation and hate-

 speech across different languages?” April 20, 2022 Letter of Rep. Tony Cardenas, et al., at

 https://cardenas.house.gov/imo/media/doc/Meta%20RT%20and%20Spanish%20Language%20D

 isinformation%20Congressional%20Letter%20Final.pdf.

    187.        Comments from two House Members summarize this campaign of pressure and

 threats: “In April 2019, Louisiana Rep. Cedric Richmond warned Facebook and Google that they

 had ‘better’ restrict what he and his colleagues saw as harmful content or face regulation: ‘We’re

 going to make it swift, we’re going to make it strong, and we’re going to hold them very

 accountable.’ New York Rep. Jerrold Nadler added: ‘Let’s see what happens by just pressuring

 them.’” Vivek Ramaswamy and Jed Rubenfeld, Editorial, Save the Constitution from Big Tech:

 Congressional threats and inducements make Twitter and Facebook censorship a free-speech

 violation, WALL ST. J. (Jan. 11, 2021), https://www.wsj.com/articles/save-the-constitution-from-

 big-tech-11610387105.

    188.        Defendants’ political allies have repeatedly used congressional hearings as forums

 to advance these threats of adverse legislation if social-media platforms do not increase censorship

 of speakers, speech, content, and viewpoints they disfavor. They have repeatedly used such

 hearings to berate social-media firm leaders, such as Mark Zuckerberg of Facebook, Jack Dorsey

 of Twitter, and Sundar Pichai of Google and YouTube, and to make threats of adverse legal

 consequences if censorship is not increased. Such hearings include, but are not limited to, those



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 cited above, as well as an antitrust hearing before the House Judiciary Committee on July 29, 2020;

 a Senate Judiciary Committee hearing on November 17, 2020; and a House Energy and Commerce

 Hearing on March 25, 2021.

    189.        The flip side of such threats, of course, is the implied “carrot” of retaining Section

 230 immunity and avoiding antitrust scrutiny, allowing the major social-media platforms to retain

 their legally privileged status that is worth billions of dollars of market share.

    190.        Starting in or around 2020, if not before, social-media firms have responded to these

 threats by engaging in increasingly more aggressive censorship of speakers, messages, and

 viewpoints disfavored by Defendants, senior government officials, and the political left. “With all

 the attention paid to online misinformation, it’s easy to forget that the big [social-media] platforms

 generally refused to remove false content purely because it was false until 2020.” Gilead Edelman,

 Beware the Never-Ending Disinformation Emergency, THE WIRED (March 11, 2022), at

 https://www.wired.com/story/youtube-rigged-election-donald-trump-moderation-

 misinformation/. On information and belief, it was in response to such threats of adverse legal

 consequences that social-media companies ramped up censorship in 2020, disproportionately

 targeting speakers and viewpoints on the political right. On information and belief, the examples

 of censorship of truthful and reliable speech in 2020, cited above, were motivated in whole or in

 part by such threats.

    191.        Then-candidate and now-President Biden has led this charge. He has tripled down

 on these threats of adverse official action from his colleagues and allies in senior federal-

 government positions. His threats of adverse government action have been among the most

 vociferous, and among the most clearly linked to calls for more aggressive censorship of

 disfavored speakers and speech by social-media companies.



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    192.        For example, on January 17, 2020, then-candidate Biden stated, in an interview

 with the New York Times editorial board, that Section 230 of the CDA should be “revoked”

 because social-media companies like Facebook did not do enough to censor supposedly false

 information in the form of political ads criticizing him—i.e., core political speech. He stated: “The

 idea that it’s a tech company is that Section 230 should be revoked, immediately should be

 revoked, number one. For Zuckerberg and other platforms.” He also stated, “It should be revoked

 because it is not merely an internet company. It is propagating falsehoods they know to be false....

 There is no editorial impact at all on Facebook. None. None whatsoever. It’s irresponsible. It’s

 totally irresponsible.”     N.Y. Times Editorial Board, Joe Biden (Jan. 17, 2020), at

 https://www.nytimes.com/interactive/2020/01/17/opinion/joe-biden-nytimes-interview.html.

 These claims were specifically linked to Facebook’s alleged failure to censor core political

 speech—i.e., political ads on Facebook criticizing candidate Biden. Id.

    193.        Candidate Biden also threatened that Facebook CEO Mark Zuckerberg should be

 subject to civil liability and even criminal prosecution for not censoring such core political speech:

 “He should be submitted to civil liability and his company to civil liability…. Whether he engaged

 in something and amounted to collusion that in fact caused harm that would in fact be equal to a

 criminal offense, that’s a different issue. That’s possible. That’s possible it could happen.” Id. In

 other words, Biden’s message—not long before he became President of the United States—was

 that if Facebook did not censor political ads against him, Zuckerberg should go to prison. These

 two threats echoed the same threats made by numerous political allies of the President since 2019,

 cited above.

    194.        During the presidential campaign, now-Vice President Harris made similar threats

 against social-media firms to pressure them to engage in more aggressive censorship of speakers,



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 content, and viewpoints she disfavors. For example, in addition to the statements cited above, she

 stated in 2019: “We will hold social media platforms responsible for the hate infiltrating their

 platforms, because they have a responsibility to help fight against this threat to our democracy.

 And if you profit off of hate—if you act as a megaphone for misinformation or cyberwarfare, if

 you don’t police your platforms—we are going to hold you accountable as a community.” Kamala

 Harris Wants to Be Your Online Censor-in-Chief, REASON.COM (May 7, 2019), at

 https://reason.com/2019/05/07/kamala-harris-promises-to-pursue-online-censorship-as-

 president/.

    195.        In or around June 2020, the Biden campaign published an open letter and online

 petition (ironically, on Facebook) calling for Facebook to engage in more aggressive censorship

 of core political speech and viewpoints that then-Candidate Biden disfavored. The open letter

 complained that Facebook “continues to allow Donald Trump to say anything — and to pay to

 ensure that his wild claims reach millions of voters. Super PACs and other dark money groups are

 following his example. Trump and his allies have used Facebook to spread fear and misleading

 information about voting…. We call for Facebook to proactively stem the tide of false information

 by no longer amplifying untrustworthy content and promptly fact-checking election-related

 material that goes viral. We call for Facebook to stop allowing politicians to hide behind paid

 misinformation in the hope that the truth will catch up only after Election Day. There should be a

 two-week pre-election period during which all political advertisements must be fact-checked

 before they are permitted to run on Facebook. … Anything less will render Facebook a tool of

 misinformation that corrodes our democracy.” Biden-Harris, Our Open Letter to Facebook (last

 visited May 5, 2022), https://joebiden.com/2961-2/.




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    196.        The online petition demanded that Facebook “[p]romote real news, not fake news,”

 “[q]uickly remove viral misinformation,” and “[e]nforce voter suppression rules against

 everyone—even the President [Trump].” The petition complained that Facebook “continues to

 amplify misinformation and lets candidates pay to target and confuse voters with lies.” It

 demanded that Facebook “promote authoritative and trustworthy sources of election information,

 rather than rants of bad actors and conspiracy theorists,” “promptly remove false, viral

 information,” and “prevent political candidates and PACs from using paid advertising to spread

 lies and misinformation – especially within two weeks of election day.”               Biden-Harris,

 #Movefastfixit (last visited May 5, 2022), https://joebiden.com/facebook/.

    197.        On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook

 accusing it of propagating a “storm of disinformation” by failing to censor the Trump campaign’s

 political speech, including social-media political ads. Sept. 28, 2020 Biden-Harris Letter, at

 https://www.documentcloud.org/documents/7219497-Facebook-Letter-9-28.html.               The letter

 accused Facebook of allowing “hyper-partisan” and “fantastical” speech to reach millions of

 people, and it demanded “more aggressive” censorship of Trump. Id.

    198.        A federal lawsuit filed in 2021 alleged that “before and after the November, 2020

 election,” California government officials “contracted with partisan Biden campaign operatives to

 police speech online. The secretary of state of California then sent these flagged tweets to Twitter,

 Instagram, YouTube and other platforms for their removal.” Harmeet Dhillon: Biden White House

 'flags' Big Tech – here's why digital policing is so dangerous, FOX NEWS (July 16, 2021), at

 https://www.foxnews.com/opinion/biden-white-house-flags-big-tech-digital-policing-harmeet-

 dhillon. Once in power, Biden and those acting in concert with him would continue this same

 course of conduct of “flagging” content for censorship by private social-media firms, now using



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 the authority of the federal government to “flag” specific speech and speakers for censorship and

 suppression.

    199.        On December 2, 2020—during the presidential transition—Biden’s former chief of

 staff and top technical advisor, Bruce Reed, publicly stated that “it’s long past time to hold the

 social media companies accountable for what’s published on their platforms.” Biden Tech

 Advisor: Hold Social Media Companies Accountable for What Their Users Post, CNBC.com (Dec.

 2, 2020), at https://www.cnbc.com/2020/12/02/biden-advisor-bruce-reed-hints-that-section-230-

 needs-reform.html. This comment specifically referred to the amendment or repeal of Section 230

 of the Communications Decency Act. See id. Thus, the threat of adverse legal consequences for

 social-media companies that did not censor opposing political viewpoints was at the forefront of

 the incoming Biden Administration’s public messaging.

    200.        Coming into the new Administration, with now-President Biden’s political allies in

 control of both Houses of Congress, social-media companies were on clear notice that the federal

 5government’s involvement in social-media censorship was likely to escalate, and their threats of

 adverse legislation, regulation, and legal action became more ominous. On information and belief,

 this caused a chilling effect on speech by prompting social-media companies to ramp up their own

 censorship programs against disfavored speech and speakers, to preempt the risk of adverse action

 against them by the Government.

    201.        Once in control of the Executive Branch, Defendants promptly capitalized on these

 threats by pressuring, cajoling, and openly colluding with social-media companies to actively

 suppress particular disfavored speakers and viewpoints on social media.

    202.        Defendants, those acting in concert with them, and those allied with them routinely

 seek to justify overt censorship of disfavored speakers and viewpoints by wrapping it in the



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 monikers “misinformation,” “disinformation,” and/or “malinformation.” Their standard tactic is

 to label speech that contradicts their preferred political narratives “misinformation,”

 “disinformation,” and “malinformation” to justify suppressing it. Other common buzzwords

 include calls for a “healthy information ecosystem,” “healthy information environment,” or

 “healthy news environment,” among others. This is the Orwellian vocabulary of censorship. It is

 deployed aggressively to undermine fundamental First Amendment rights.

    203.        As noted above, these labels have proven extremely unreliable. Defendants’ and

 the political Left’s ability to accurately identify “misinformation” and “disinformation” is

 unreliable because they apply such labels, not based on actual truth or falsity, but based on their

 current preferred political narrative. This has resulted, again and again, in the suppression of

 truthful information under the name of “disinformation” and “misinformation.”

    3. White House and HHS officials collude with social-media firms to suppress speech.

    204.        Before the Biden Administration took office, on information and belief,

 coordination and collusion between senior HHS officials and social-media companies to censor

 viewpoints and speakers was already underway. Once in office, senior officials in the Biden

 Administration—in the White House, in HHS, and elsewhere—capitalized and greatly expanded

 on these efforts.

    205.        On information and belief, beginning on or around January or February 2020, if not

 before, Defendant Dr. Anthony Fauci, a senior federal government official, coordinated with

 social-media firms to police and suppress speech regarding COVID-19 on social media.

    206.        Prior to 2020, as head of NIAID, Dr. Fauci had overseen funding of risky gain-of-

 function research on viruses, including research at the Wuhan Institute of Virology. This included




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 research funded through intermediaries such as Dr. Peter Daszak and the EcoHealth Alliance,

 among others.

    207.         In late January and early February 2020, Dr. Fauci received information from

 colleagues that suggested that the COVID-19 virus may have originated in a laboratory in Wuhan,

 China. This revelation threatened to implicate Dr. Fauci in the virus’s origins, as he had funded

 the risky research that, under this theory, led to the virus’s origin. Soon thereafter, Dr. Fauci

 participated in a conference call with scientists and science-funding authorities intended to

 discredit and suppress this lab-leak theory. After the conference call, influential individuals signed

 public statements that were placed in science journals in attempt to discredit the lab-leak theory.

    208.         In the same time frame, Dr. Fauci communicated with Facebook CEO Mark

 Zuckerberg directly regarding public messaging and the flow of information on social media about

 the government’s COVID-19 response. For example, in a series of emails produced in response

 to FOIA requests dated from March 15 to 17, 2020, Zuckerberg invited Fauci to make public

 statements to be posted for viewing by all Facebook users regarding COVID-19, and also made

 another proposal that is redacted in FOIA-produced versions but was treated as a high priority by

 Fauci and NIH staff.

    209.         In an email on March 15, 2020, Zuckerberg proposed coordinating with Fauci on

 COVID-19 messaging to “make sure people can get authoritative information from reliable

 sources,” and suggested including a video message from Fauci because “people trust and want to

 hear from experts.” Zuckerberg proposed including this content in a “hub” that “we’re going to

 put at the top of Facebook” to reach “200+ million Americans, 2.5 billion people worldwide.”

    210.         In the same email, Zuckerberg made a three-line proposal to Fauci that was redacted

 by the federal government before the email was produced in a FOIA request.



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    211.        The next day, NIH’s communications director emailed Fauci and strongly

 recommended that he do the videos for Facebook.            Regarding the redacted proposal from

 Zuckerberg, she stated: “But an even bigger deal is his offer [REDACTED]. The sooner we get

 that offer up the food-chain the better.” She also stated that her staff was “standing by to discuss

 this with HHS and WH comms,” and requested authority to “determine who the best point of

 contact would be so the Administration can take advantage of this officer, soonest.” Fauci

 responded that “I will write or call Mark and tell him that I am interested in doing this. I will then

 tell him that you will get for him the name of the USG [on information and belief, shorthand for

 “U.S. Government”] point of contact.”

    212.        Fauci responded by email to Zuckerberg on March 17, 2020, agreeing to the

 collaboration that Zuckerberg proposed and describing his redacted proposal as “very exciting.”

    213.        As alleged above, around the same time frame as the Zuckerberg-Fauci emails,

 Facebook and other social-media companies censored and suppressed speakers and speech

 advocating for the lab-leak theory of COVID-19’s origins, despite the overwhelming

 circumstantial evidence favoring that theory. This censorship directly implemented the plan,

 orchestrated by Fauci and others in early 2020, to discredit and suppress the lab-leak theory.

    214.        In the same timeframe, Facebook and other social-media companies began an ever-

 increasing campaign of monitoring, censorship, and suppression of speech and speakers about

 COVID-19 and issues related to COVID-19. This campaign would dramatically escalate with the

 advent of the Biden Administration.

    215.        On information and belief, those firms coordinated directly with Fauci, CDC, and

 other government officials regarding censorship and suppression of disfavored speech and

 speakers.



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     216.       For example, Facebook’s “COVID and Vaccine Policy” states that Facebook “does

 not allow false claims about the vaccines or vaccination programs which public health experts

 have advised us could lead to COVID-19 vaccine rejection.” Facebook, COVID-19 and Vaccine

 Policy Updates & Protections, https://www.facebook.com/help/230764881494641 (emphasis

 added). On information and belief, Fauci and CDC officials are included among those “public

 health experts” who “advise[]” Facebook on what to censor. Facebook also censors COVID-19

 information as “false,” not based on actual truth or falsity, but based on whether the claim

 contradicts or challenges the pronouncements of Fauci and the CDC. Id. This includes strongly

 supported claims such as “[c]laims that wearing a face mask properly does not help prevent the

 spread of COVID-19,” along with an elaborate list of additional disfavored content and viewpoints

 subject to censorship. Id.

     217.       On information and belief, other social-media firms have similar policies and

 similar practices of coordinating with Fauci and the CDC and with each other, directly or

 indirectly, on the suppression of disfavored speakers and speech.

     218.       Such collusion between HHS officials and social-media companies on the

 censorship of disfavored speakers and speech accelerated once the Biden Administration took

 office.

     219.       On May 5, 2021, Defendant Psaki gave a White House press conference at which

 she stated that “[t]he President’s view is that the major platforms have a responsibility related to

 the health and safety of all Americans to stop amplifying untrustworthy content, disinformation,

 and misinformation, especially related to COVID-19, vaccinations, and elections. And we’ve seen

 that over the past several months, broadly speaking…. we’ve seen it from a number of sources.”

 White House, Press Briefing by Press Secretary Jen Psaki and Secretary of Agriculture Tom



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 Vilsack,     May      5,      2021,     at      https://www.whitehouse.gov/briefing-room/press-

 briefings/2021/05/05/press-briefing-by-press-secretary-jen-psaki-and-secretary-of-agriculture-

 tom-vilsack-may-5-2021/.

    220.        Echoing Biden’s past threats to social-media firms, Psaki immediately went on to

 state that President Biden “supports better privacy protections and a robust anti-trust program.”

 Id. (emphasis added). She linked the threat of anti-trust enforcement to the demand for more

 aggressive censorship by social-media platforms, stating that the President’s “view is that there’s

 more that needs to be done to ensure that this type of misinformation; disinformation; damaging,

 sometimes life-threatening information is not going out to the American public.” Id.

    221.        At a White House press briefing with Psaki on July 15, 2021, Surgeon General

 Vivek Murthy announced that “health misinformation” constitutes an “urgent public health threat,”

 stating that he had “issued a Surgeon General’s Advisory on the dangers of health misinformation.

 Surgeon General Advisories are reserved for urgent public health threats. And while those threats

 have often been related to what we eat, drink, and smoke, today we live in a world where

 misinformation poses an imminent and insidious threat to our nation’s health.” The White House,

 Press Briefing by Press Secretary Jen Psaki and Surgeon General Dr. Vivek H. Murthy, July 15,

 2021, at https://www.whitehouse.gov/briefing-room/press-briefings/2021/07/15/press-briefing-

 by-press-secretary-jen-psaki-and-surgeon-general-dr-vivek-h-murthy-july-15-2021/.

    222.        Surgeon General Murthy stated that “[m]odern technology companies have enabled

 misinformation to poison our information environment with little accountability to their users.

 They’ve allowed people who intentionally spread misinformation — what we call ‘disinformation’

 — to have extraordinary reach.” Id. He accused their algorithms of “pulling us deeper and deeper

 into a well of misinformation.” Id.



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    223.        Surgeon General Murthy explicitly called for more aggressive censorship of social-

 media speech, stating that “we’re saying we expect more from our technology companies. ….

 We’re asking them to monitor misinformation more closely. We’re asking them to consistently

 take action against misinformation super-spreaders on their platforms.” Id. “

    224.        He also stated that “technology companies have a particularly important role” to

 play in combating “misinformation.” He stated: “We know that the dramatic increase in the speed

 — speed and scale of spreading misinformation has, in part, been enabled by these platforms. So

 that’s why in this advisory today, we are asking them to step up. We know they have taken some

 steps to address misinformation, but much, much more has to be done. And we can’t wait longer

 for them to take aggressive action because it’s costing people their lives.” Id.

    225.        He also stated: “we are asking technology companies to help lift up the voices of

 credible health authorities…. [T]hey have to do more to reduce the misinformation that’s out there

 so that the true voices of experts can shine through.” Id.

    226.        At the same press briefing, after the Surgeon General spoke, Defendant Psaki

 stated: “[W]e are in regular touch with these social media platforms, and those engagements

 typically happen through members of our senior staff, but also members of our COVID-19 team,

 given, as Dr. Murthy conveyed, this is a big issue of misinformation, specifically on the pandemic.”

 Id. (emphasis added). She added, “We’re flagging problematic posts for Facebook that spread

 disinformation.” Id. (emphasis added). She stated, “we have recommended—proposed that they

 create a robust enforcement strategy,” i.e., a more aggressive censorship program. Id.

    227.        Psaki called on social-media companies to censor particular disfavored speakers,

 stating: “[T]here’s about 12 people who are producing 65 percent of anti-vaccine misinformation

 on social media platforms. All of them remain active on Facebook, despite some even being



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 banned on other platforms, including Facebook — ones that Facebook owns.” Id. And she called

 on Facebook and other social-media companies to censor disfavored content and disfavored

 viewpoints: “[I]t’s important to take faster action against harmful posts. As you all know,

 information travels quite quickly on social media platforms; sometimes it’s not accurate. And

 Facebook needs to move more quickly to remove harmful, violative posts — posts that will be

 within their policies for removal often remain up for days. That’s too long. The information

 spreads too quickly.” Id.

    228.        She stated that “[w]e engage with them [i.e., social-media companies] regularly and

 they certainly understand what our asks are.” Id. (emphasis added). She stated that, “we’ve made

 a calculation to push back on misinformation,” and that “we are working to combat misinformation

 that’s traveling online.” Id.

    229.        The same day, the Surgeon General released his advisory regarding “health

 misinformation.” It defined “health misinformation” as “information that is false, inaccurate, or

 misleading according to the best available evidence at the time. Misinformation has caused

 confusion and led people to decline COVID-19 vaccines, reject public health measures such as

 masking and physical distancing, and use unproven treatments.”               Confronting Health

 Misinformation: The U.S. Surgeon General’s Advisory on Building a Healthy Information

 Environment, at 4 (July 15, 2021), at https://www.hhs.gov/sites/default/files/surgeon-general-

 misinformation-advisory.pdf.

    230.        The Surgeon General’s advisory called for social-medial companies to “make

 meaningful long-term investments to address misinformation, including product changes,” to

 “[r]edesign recommendation algorithms to avoid amplifying misinformation,” to “build in

 ‘frictions’— such as suggestions and warnings—to reduce the sharing of misinformation,” and to



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 “make it easier for users to report misinformation.” Id. at 12. It called on social-media companies

 to “[s]trengthen the monitoring of misinformation,” and to censor disfavored speakers swiftly and

 aggressively: “Prioritize early detection of misinformation ‘super-spreaders’ and repeat offenders.

 Impose clear consequences for accounts that repeatedly violate platform policies.” Id.

       231.       Facebook responded by stating that it was, in fact, aggressively censoring “health

 misinformation,” and coordinating with the Government to do so. “A Facebook spokesperson said

 the company has partnered with government experts, health authorities and researchers to take

 ‘aggressive action against misinformation about COVID-19 and vaccines to protect public

 health.’” White House Slams Facebook as Conduit for COVID-19 Misinformation, REUTERS (July

 15,     2021),   at   https://www.reuters.com/world/us/us-surgeon-general-warns-over-covid-19-

 misinformation-2021-07-15/ (emphasis added). “‘So far we’ve removed more than 18 million

 pieces of COVID misinformation, [and] removed accounts that repeatedly break these rules…,’

 the spokesperson added.” Id.

       232.       Facebook stated that it “has introduced rules against making certain false claims

 about COVID-19 and its vaccines.” Id.

       233.       The next day, July 16, 2021, a reporter asked President Biden what he thought of

 COVID misinformation on social media, and he responded, referring to platforms like Facebook,

 by stating: “They’re killing people.” They’re Killing People: Biden Denounces Social Media for

 Virus        Disinformation,         N.Y.       TIMES        (July       16,       2021),        at

 https://www.nytimes.com/2021/07/16/us/politics/biden-facebook-social-media-covid.html.         The

 New York Times reported that “this week, White House officials went further and singled out

 social media companies for allowing false information to proliferate. That came after weeks of




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 failed attempts to get Facebook to turn over information detailing what mechanisms were in place

 to combat misinformation about the vaccine, according to a person familiar with the matter.” Id.

    234.        The same day, July 16, 2021, Psaki explicitly called for social-media companies to

 coordinate with each other in censoring disfavored speakers, to ensure that such speakers are

 completely muzzled. “You shouldn’t be banned from one platform and not others … for providing

 misinformation out there.” White House, Press Briefing by Press Secretary Jen Psaki, July 16,

 2021, at https://www.whitehouse.gov/briefing-room/press-briefings/2021/07/16/press-briefing-

 by-press-secretary-jen-psaki-july-16-2021/. On information and belief, social-media companies

 have heeded this demand, and they do, in fact, coordinate extensively with each other in censorship

 of disfavored speakers, speech, and viewpoints on social media.

    235.        Psaki also demanded that social-media companies “create robust enforcement

 strategies,” “tak[e] faster action against harmful posts,” and “promot[e] quality information

 algorithms”—which is a euphemism for algorithms that suppress disfavored messages. Id. When

 asked whether Facebook’s already-aggressive censorship—it claimed to have suppressed 18

 million pieces of COVID-19-related “misinformation”—was “sufficient,” she responded, “Clearly

 not, because we’re talking about additional steps that should be taken.” Id.

    236.        Four days later, July 20, 2021, the White House explicitly threatened to amend or

 repeal the liability protections of § 230 of the Communications Decency Act if social-media

 companies did not increase censorship of disfavored speakers and viewpoints. ‘They Should Be

 Held Accountable’: White House Reviews Platforms’ Misinformation Liability, USA TODAY (July

 20, 2021), at https://www.usatoday.com/story/news/politics/2021/07/20/white-house-reviews-

 section-230-protections-covid-misinformation/8024210002/. The White House communications

 director announced that “[t]he White House is assessing whether social media platforms are legally



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 liable for misinformation spread on their platforms.” Id. “We’re reviewing that, and certainly,

 they should be held accountable,” she said. Id.

    237.        She “specified the White House is examining how misinformation fits into the

 liability protections granted by Section 230 of the Communications Decency Act, which shields

 online platforms from being responsible for what is posted by third parties on their sites.” Id.

 Media reported that, in connection with this threat, “Relations are tense between the Biden

 administration and social media platforms, specifically Facebook, over the spread of

 misinformation online.” Id.; see also, e.g., White House says social media networks should be

 held    accountable   for    spreading   misinformation,   CNBC.com      (July   20,   2021),   at

 https://www.cnbc.com/2021/07/20/white-house-social-networks-should-be-held-accountable-for-

 spreading-misinfo.html. When asked whether the President is “open to amending 230 when

 Facebook and Twitter and other social media outlets spread false information that cause Americans

 harm, shouldn’t they be held accountable in a real way?” White House Communications Director

 Bedingfield responded, “We’re reviewing that and certainly they should be held accountable. And

 I think you heard the president speak very aggressively about this. He understands that this is an

 important piece of the ecosystem.” Id.

    238.        After this series of public statements, responding to “White House pressure,”

 Facebook censored the accounts of the 12 specific disfavored speakers whom Psaki accused of

 spreading health misinformation. Facebook takes action against ‘disinformation dozen’ after

 White        House          pressure,      CNN.com         (Aug.        18,       2021),        at

 https://www.cnn.com/2021/08/18/tech/facebook-disinformation-dozen/index.html.          Psaki had

 “hammered the platform in July for allowing the people identified in the report to remain on its

 platform.” Id. After they were singled out for censorship by the White House, Facebook “removed



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 over three dozen Pages, groups and Facebook or Instagram accounts linked to these 12 people,

 including at least one linked to each of the 12 people, for violating our policies.” Id.

       239.      In the same time frame, Twitter permanently suspended the account of prominent

 lockdown critic Alex Berenson, despite repeated reassurances from high-level Twitter executives

 that his account was safe, just days after Dr. Fauci singled him out as a danger for suggesting

 young people might reasonably decline the vaccine.

       240.      On October 29, 2021, the Surgeon General tweeted from his official account (as

 opposed to his personal account, which remains active), in a thread: “We must demand Facebook

 and the rest of the social media ecosystem take responsibility for stopping health misinformation

 on their platforms. The time for excuses and half measures is long past. We need transparency

 and     accountability   now.      The    health        of   our   country   is   at   stake.”   See

 https://twitter.com/Surgeon_General/status/1454181191494606854.

       241.      Defendants’ response to this censorship was to demand still more censorship by

 social-media platforms, including but not limited to Facebook. “[A]fter Facebook’s action against

 the ‘disinformation dozen,’ a White House spokesperson continued to strongly criticize the

 company.” Id. “‘In the middle of a pandemic, being honest and transparent about the work that

 needs to be done to protect public health is absolutely vital, but Facebook still refuses to be

 straightforward about how much misinformation is circulating—and being actively promoted—

 on their platform,’ a White House spokesperson told CNN Business. ‘It’s on everyone to get this

 right so we can make sure the American people are getting accurate information to protect the

 health of themselves and their loved ones -- which is why the Administration will continue to push

 leaders, media outlets, and leading sources of information like Facebook to meet those basic

 expectations,’ the spokesperson added.” Id.



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    242.        On February 1, 2022, Psaki was asked at a White House press conference whether

 the Administration was satisfied with Spotify’s decision to affix advisory warnings to Joe Rogan’s

 immensely popular podcast, which featured speakers that contradicted the Administration’s

 messaging about COVID-19 and vaccines, or whether the government “think[s] that companies

 like Spotify should go further than just, you know, putting a label on” disfavored viewpoints and

 speakers. Psaki responded by demanding that Spotify and other platforms “do[] more” to block

 disfavored speech: “[O]ur hope is that all major tech platforms … be vigilant to ensure the

 American people have access to accurate information on something as significant as COVID-19.

 So, this disclaimer – it’s a positive step. But we want every platform to continue doing more to

 call out … mis- and disinformation while also uplifting accurate information.” She stated that

 Spotify’s advisory warnings are “a good step, it’s a positive step, but there’s more that can be

 done.” White House, Press Briefing by Press Secretary Jen Psaki, February 1, 2022 (emphases

 added), at https://www.whitehouse.gov/briefing-room/press-briefings/2022/02/01/press-briefing-

 by-press-secretary-jen-psaki-february-1-2022/.

    243.        On March 3, 2022, the Surgeon General issued a formal “Request for Information”

 on the “Impact of Health Misinformation” on social media.              HHS, Impact of Health

 Misinformation in the Digital Information Environment in the United States Throughout the

 COVID-19 Pandemic Request for Information (RFI), 87 Fed. Reg. 12,712-12,714 (March 2, 2022).

    244.        In the RFI, “[t]he Office of the Surgeon General requests input from interested

 parties on the impact and prevalence of health misinformation in the digital information

 environment during the COVID–19 pandemic.” Id. at 12,712. The RFI states that “the speed,

 scale, and sophistication with which misinformation has been spread during the COVID-19

 pandemic has been unprecedented,” and it implies that social-media companies are to blame,



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 carrying a clear threat of future regulation: “This RFI seeks to understand both the impact of health

 misinformation during the COVID–19 pandemic and the unique role that technology and social

 media platforms play in the dissemination of critical health information during a public health

 emergency.” Id. at 12,713.

      245.      The RFI seeks specific information about health “misinformation” on such social-

 media platforms: “Information about how widespread COVID–19 misinformation is on individual

 technology platforms including: General search engines, content sharing platforms, social media

 platforms, e-commerce platforms, crowd sourced platforms, and instant messaging systems.” Id.

      246.      The RFI seeks: “Any aggregate data and analysis on how many users were exposed,

 were potentially exposed, or otherwise engaged with COVID–19 misinformation,” where

 “[e]xposure is defined as seeing content in newsfeeds, in search results, or algorithmically

 nominated content,” and “[p]otential exposure is the exposure users would have had if they could

 see all the content that is eligible to appear within their newsfeeds.” Id. at 12,714. It also seeks

 “[i]nformation about COVID–19 misinformation policies on individual technology platforms,”

 including “[a]ny aggregate data and analysis of technology platform COVID–19 misinformation

 policies including implementation of those policies and evaluations of their effectiveness.” Id.

      247.      Media reports aptly described Murthy as “demand[ing]” information about the

 major sources of COVID-19 misinformation by May 2, 2022. Brad Dress, Surgeon General

 Demands Data on COVID-19 Misinformation from Major Tech Firms, THE HILL (March 3, 2022),

 at      https://thehill.com/policy/healthcare/596709-surgeon-general-demands-data-on-covid-19-

 misinformation-from-major-tech/. “In a formal notice, Murthy requested major tech platforms

 submit information about the prevalence and scale of COVID-19 misinformation on their sites,

 from social networks, search engines, crowdsourced platforms, e-commerce platforms and instant



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 messaging systems.” Id. “In his notice to major tech platforms, Murthy is requesting specific

 information on demographics affected by misinformation as well as sources of misinformation and

 ‘exactly how many users saw or may have been exposed to instances of Covid-19

 misinformation.’” Id.

    248.           On or around July 27, 2022, a limited number of emails between CDC officials and

 representatives of social-media platforms from late 2020 and early months of 2021 became

 publicly available, over a year after they had been requested under FOIA. These newly revealed

 emails—which are attached as Exhibit A, and incorporated by reference herein—confirm the

 allegations of collusion between HHS officials and social-media platforms to censor disfavored

 speech, speakers, and viewpoints, as alleged herein.

    249.           These emails indicate that Defendant Carol Y. Crawford of CDC and other CDC

 officials frequently communicated and coordinated with social-media platforms, including

 Facebook/Meta, Twitter, Google/YouTube, and Instagram, regarding the censorship of speech on

 social-media platforms, including flagging specific content for censorship.         During 2021,

 Crawford organized “Be On the Lookout” or “BOLO” meetings on “misinformation” with

 representatives     of   social-media    platforms—including     Twitter,   Facebook/Meta,     and

 Google/YouTube—in which she and other federal officials colluded and/or collude with those

 platforms about speech to target for suppression. These meetings include Crawford and other

 federal officials flagging specific social-media posts for censorship and providing examples of the

 types of posts to censor. Crawford emailed “slides” from the “BOLO” meetings to participants

 afterwards. These slides included repeated examples of specific posts on social-media platforms

 flagged for censorship. The slides called for “all” social-media platforms to “Be On the Lookout”




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 for such posts. Crawford cautioned the meeting participants, with respect to these slides, “[p]lease

 do not share outside your trust and safety teams.”

    250.           Officials of the Census Bureau participated and/or participate in these BOLO

 meetings, including Defendant Jennifer Shopkorn and Christopher Lewitzke, who is a Senior

 Digital Marketing Associate with Reingold, a communications firm that was, on information and

 belief, acting on behalf of the Census Bureau. Crawford’s emails indicate that the Census Bureau

 and its officials and agents, such as Lewitzke and Shopkorn, play an important, active, and ongoing

 role in colluding with social-media platforms to censor disfavored speech. On March 18, 2021,

 Crawford emailed Twitter officials and stated that “[w]e are working on a project with Census to

 leverage their infrastructure to identify and monitor social media for vaccine misinformation,” and

 stated that “[w]e would like the opportunity to work with your trust team on a regular basis to

 discuss what we are seeing.” She also noted that “I understand that you did this with Census last

 year as well.” Twitter responded by stating, “With our CEO testifying before Congress this week

 is tricky,” but otherwise agreed to the collusive arrangement. Likewise, in subsequent emails to

 Twitter (on May 6) and Facebook (on May 10), Crawford noted to the social-media platform

 officials that “[o]ur census team,” i.e., Lewitzke and Shopkorn, who were cc’ed on the emails,

 “has much more info on it if needed” regarding “some example posts” of “misinfo” that she flagged

 for censorship.

    251.           Defendants Crawford and others, including the Census officials and agents

 Lewitzke and Shopkorn, took other steps to procure the censorship of disfavored speech on social

 media. For example, on May 10, 2021, Crawford emailed Twitter officials to flag “two issues that

 we are seeing a great deal of misinfo about,” noting that Lewitzke and Shopkorn “ha[ve] much

 more info on it if needed.” The same email included 13 specific Twitter posts as examples of the



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 sort of posts to be censored. On May 6, 2021, Crawford sent a similar email to Meta/Facebook

 officials, also copying Lewitzke and Shophorn and stating that they have “much more info” about

 the issue; this email included 16 specific posts from Facebook and Instagram as examples of posts

 to be targeted for censorship. On May 12, 2021, Crawford emailed Facebook officials to flag

 “some new info on myths your misinfo folks might be interested in,” with links to specific issues

 of “misinformation” for Facebook to censor. On April 9, 2021, Crawford agreed with a Twitter

 official that CDC would provide “examples of problematic content” posted on Twitter, and the

 Twitter official noted that “all examples of misinformation are helpful.” Calendar invites from

 early 2021 indicate that Crawford, Jay Dempsey, and other CDC officials participated in

 Facebook’s “weekly sync with CDC,” with “CDC to invite other agencies as needed.”

    252.        In another exchange of emails, Crawford agreed with Facebook officials that CDC

 would participate in a COVID-19 “misinfo reporting channel,” and arranged for CDC officials to

 have training on the use of Facebook’s “misinfo reporting channel.” On information belief,

 Crawford’s “team” at CDC, as well as Shopkorn and Lewitzke from Census, were “onboarded”

 onto Facebook’s “misinfo reporting channel.” A calendar invite in May 2021 included Crawford,

 Lewitzke, Shopkorn, other CDC officials, and other Reingold employees who were, on

 information and belief, acting on behalf of the Census Bureau, to participate in the “onboarding”

 onto Facebook’s “misinfo reporting channel.”

    253.        Crawford’s communications with Facebook indicate that CDC, the Census Bureau,

 and other government agencies collaborate with Facebook to flag speech regarding both COVID-

 19 and elections for censorship using “CrowdTangle,” which Facebook describes as “a Facebook

 tool that tracks how content spreads online.” An email from a Facebook official to Crawford stated

 that, using CrowdTangle, “[w]hen health departments flag potential vaccine misinformation on



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 Facebook and Instagram, we review and remove the content if it violates our policies… This is

 similar to how governments and fact-checkers use CrowdTangle ahead of elections….” (Emphasis

 added.)

    254.        Additional communications between CDC and social-media platforms reflect an

 ongoing, close, and continuing collaboration, effectively amounting to a joint enterprise, on

 censorship of COVID-19 “misinformation” and related issues. See Ex. A. For example, the

 communications reflect close coordination on creating and publishing content on behalf of CDC

 on social-media platforms, and artificially “amplifying” government messaging on social-media

 to the suppression of private messaging, including a gift of $15 million in Facebook ad credits

 from Facebook to CDC. They also reflect close coordination on amplifying CDC’s content and

 other related issues.

    4. White House and DHS officials collude with social-media firms to suppress speech.

    255.        On information and belief, senior officials in the Biden Administration and the

 Department of Homeland Security are also colluding with social-media companies to suppress

 disfavored speakers and viewpoints. These efforts include censorship of disfavored content and

 viewpoints about election integrity and COVID-19, among other topics, under the guise of

 suppressing “misinformation” and “domestic terrorism.” These efforts culminated with the

 Orwellian announcement of the creation of a “Disinformation Governance Board” within DHS.

    256.        A direct forum for government officials to call for social-media censorship of

 election-related “misinformation” was already in place during the general election cycle of 2020.

    257.        In August 2020, social-media firms “met with federal government officials to

 discuss how to handle misinformation during this month’s political conventions and election

 results this fall.” Ingram et al., Big Tech met with govt to discuss how to handle election results,



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 NBC News (Aug. 20, 2022), at https://www.nbcnews.com/tech/tech-news/big-tech-met-gov-t-

 discuss-how-handle-election-results-n1236555.

    258.        This was one of a “series” of meetings between major social-media companies and

 government officials about the suppression of election-related “misinformation”: “‘We held the

 latest in a series of meetings with government partners today where we each provided updates on

 what we’re seeing on our respective platforms and what we expect to see in the coming months,’

 companies including Google, Facebook, Twitter and Reddit said in a joint statement after the

 meeting.” Id. “The statement also included Microsoft, Verizon Media, Pinterest, LinkedIn and

 the Wikimedia Foundation, which operates Wikipedia and other sites.” Id.

    259.        The discussion was reported as “one in a series of monthly meetings between the

 government and tech companies” and involved “back-and-forth conversation on a variety of

 topics.” Id. Neither the “topics” of the “conversation” nor the particular participants on behalf of

 the government were disclosed.      Id.   “According to the industry statement, participants in

 Wednesday’s meeting also included representatives from the FBI’s foreign influence task force,

 the Justice Department’s national security division, the Office of the Director of National

 Intelligence and the Cybersecurity and Infrastructure Security Agency.” Id. “The companies said

 they would continue to meet regularly before the November election.” Id.

    260.        On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook

 demanding that Facebook take “more aggressive” action to censor statements by President Trump

 and the Trump campaign that raised concerns about election security and the security of voting by

 mail. Sept. 28, 2020 Biden-Harris Letter, https://www.documentcloud.org/documents/7219497-

 Facebook-Letter-9-28.html.      The letter accused Facebook of being a “propagator of

 disinformation” for refusing to censor the rival campaign’s core political speech, thus promoting



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 “distrust in our democracy” and threatening to “undermine democracy.” Id. The Biden-Harris

 campaign described the Trump campaign’s political speech as “dangerous claptrap” and argued

 that “[r]emoving this video should have been the easiest of calls.” Id. The letter demanded that

 Facebook “remove Mr. Trump’s posts, which violate your policies.” Id. (underline in original).

    261.        The same letter complained that Facebook’s “algorithm” permitted Trump’s

 political speech to reach millions of people. It complained about the successful reach on Facebook

 of political speech that it opposed, bemoaning the fact that “a hyperpartisan propaganda organ like

 the Daily Wire is Facebook’s top web publisher.” Id. The Biden-Harris campaign accused

 Facebook of allowing speech that it favored “to be drowned out by a storm of disinformation.” Id.

 And it concluded, “We will be calling out those failures [to censor Trump’s political speech] as

 they occur over the coming 36 days,” i.e., until the November 2020 general election. Id.

    262.        On information and belief, responding to prior threats from Defendants and those

 acting in concert with them, Facebook complied with this demand and did engage in “more

 aggressive” censorship of the Trump campaign’s core political speech from then on, resulting in

 an aggressive campaign to suppress President Trump and his campaign’s political speech,

 especially on issues related to election security. In the wake of the Biden-Harris letter, Facebook

 declared that it “won’t allow ads with content that seeks to delegitimize the outcome of an

 election,” and it ramped up censorship of Trump’s political speech thereafter.

    263.        As one commentator noted, “It’s no surprise that Facebook’s policy change

 happened the same week that the Biden campaign demanded Trump’s Facebook posts be

 censored.” Alexander Hall, Liberal Media Used to Warn Against Mailing Votes; Now Big Tech,

 Left   Are   Protecting   It   (Oct.   30,   2020),    at   https://www.newsbusters.org/blogs/free-

 speech/alexander-hall/2020/10/30/liberal-media-used-warn-against-mailing-votes-now-big.



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      264.      At the same time, “Twitter also modified its rules, stating: ‘we may label and reduce

 the visibility of Tweets containing false or misleading information about civic processes in order

 to provide additional context’ in its Civic integrity policy.” Id.

      265.      Both platforms ramped up censorship of core political speech of President Trump

 and his campaign, as well as core political speech by others favoring their messages and

 campaigns, in the critical final month before the 2020 general election, resulting in egregious acts

 of censorship. These acts of censorship included suppression of expressions of concern about

 election security as a result of the massive increase in voting by mail during the 2020 general

 election.

      266.      In perhaps the most notorious example, as noted above, Twitter, Facebook, and

 other social-media companies censored the New York Post’s entirely truthful and carefully

 sourced article about Hunter Biden’s laptop on October 14, 2020, as discussed further above. This

 censorship included locking the New York Post’s social-media accounts for weeks until after the

 election.

      267.      According to one survey, sixteen percent of Biden voters polled stated that they

 would have changed their votes if they had known about the Hunter Biden laptop story before the

 election, which could have changed the outcome of the election.

      268.      This censorship required deliberate, aggressive action by social-media firms.

 “Facebook moderators had to manually intervene to suppress a controversial New York Post story

 about Hunter Biden, according to leaked moderation guidelines seen by the Guardian.” Facebook

 leak reveals policies on restricting New York Post’s Biden story, THE GUARDIAN (Oct. 30, 2020),

 at          https://www.theguardian.com/technology/2020/oct/30/facebook-leak-reveals-policies-

 restricting-new-york-post-biden-story.



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    269.        At the time, Facebook claimed that the censorship of the Hunter Biden laptop story

 was “part of our standard process to reduce the spread of misinformation. We temporarily reduce

 distribution pending factchecker review.” Id. But this was not true. In fact, Facebook imposed

 “special treatment” on the New York Post to suppress the story, which included “manually

 overrid[ing]” Facebook’s own guidelines for suppressing so-called “misinformation.” Id.

    270.        On December 10, 2020, nine Democratic House Members in the so-called

 “Congressional Task Force on Digital Citizenship” (a group of exclusively Democratic members

 of Congress) sent a letter to President-elect Biden, calling for the incoming Administration to

 create task forces that would increase censorship of “disinformation and misinformation” on social

 media.          Dec.     10,     2020      Letter     of     Rep.     Wexton,       et     al.,    at

 https://wexton.house.gov/uploadedfiles/12.10.20_house_democrats_disinformation_roadmap_to

 _president-elect_biden.pdf.

    271.        The letter decried the rise of “news environments online, which report vastly

 different information and do not offer the same editorial standards to protect against disinformation

 and misinformation that traditional news media do.” Id. It criticized social-media platforms for

 failing to censor “disinformation” more aggressively: “As social media platforms post record

 revenues from engagement, they seldom act as responsible information gatekeepers and, in fact,

 have financial incentives to direct users to posts that are false, misleading, or emotionally

 manipulative.” Id.

    272.        The letter called on President-elect Biden to “[s]upport collaboration between

 government and civic organizations to combat dangerous propaganda.”                Id.    The letter

 acknowledged that “social media platforms have taken some steps to limit the spread of harmful

 disinformation and misinformation over the past year,” but urged that these steps were not nearly



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 enough, arguing that “we can still see how easily this content is posted and amplified by bad actors

 and unknowing citizens,” that “platforms have financial incentives for engaging posts to reach

 larger audiences, regardless of the content,” and that “computer algorithms still make up a majority

 of content moderation, and platforms have at times refused to take action against accounts and

 groups promoting violence and hate speech.” Id.

    273.        The letter called for President-elect Biden to deploy the U.S. Department of Justice

 and the Department of Homeland Security to combat “disinformation,” and it called for more direct

 government involvement in policing the content of political speech on social media platforms, in

 order to “build citizen resilience to disinformation and support a healthy information ecosystem”—

 which is Newspeak for viewpoint- and content-based censorship.

    274.        In announcing the letter, its lead signer, Rep. Wexton, openly stated that Americans

 lack the sophistication to make their own judgments about truth and falsity of online speech, and

 that government-approved “gatekeepers” of information should be imposed: “In the letter, the

 Members recognize that, while a growing number of people in the U.S. are getting their news from

 social media platforms, many Americans are ill-equipped to recognize and sift through false,

 misleading, or emotionally manipulative posts. Additionally, there exists a lack of effective

 information gatekeepers to protect against disinformation threats online.” See Dec. 10, 2020 News

 Release, https://wexton.house.gov/news/documentsingle.aspx?DocumentID=431.

    275.        Consistent with this letter, the Biden Administration launched several initiatives

 designed to inject the power and authority of federal agencies like DHS into policing

 “disinformation” and “misinformation” online—which, all too often, means censoring core

 political speech disfavored by government officials.




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     276.        On information and belief, DHS and its officials are actively engaged in this project

 of procuring the censorship of disfavored speakers, content, and viewpoints in speech about

 election integrity.

     277.        On May 3, 2021, it was reported that DHS intended to “partner with private firms,”

 i.e., social-media companies, to monitor disfavored speech online. Biden team may partner with

 private firms to monitor extremist chatter online, CNN.com (May 3, 2021), at

 https://www.cnn.com/2021/05/03/politics/dhs-partner-private-firms-surveil-suspected-domestic-

 terrorists/index.html. The purpose of these “partnerships” was to evade legal, constitutional, and

 ethical problems with DHS’s direct surveillance of online speech: “The Department of Homeland

 Security is limited in how it can monitor citizens online without justification and is banned from

 activities like assuming false identities to gain access to private messaging apps.” Id. “Instead,

 federal authorities can only browse through unprotected information on social media sites like

 Twitter and Facebook and other open online platforms.” Id. “The plan being discussed inside

 DHS, according to multiple sources, would, in effect, allow the department to circumvent those

 limits.” Id. “Outsourcing some information gathering to outside firms would give DHS the benefit

 of tactics that it isn’t legally able to do in-house, such as using false personas to gain access to

 private groups used by suspected extremists, sources say.” Id.

     278.        As noted above, on May 5, 2021, Defendant Psaki stated at a White House press

 conference that “[t]he President’s view is that the major platforms have a responsibility related to

 the health and safety of all Americans to stop amplifying untrustworthy content, disinformation,

 and misinformation, especially related to COVID-19, vaccinations, and elections.” White House,

 Press Briefing by Press Secretary Jen Psaki and Secretary of Agriculture Tom Vilsack, May 5,

 2021       (emphasis       added),       at      https://www.whitehouse.gov/briefing-room/press-



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 briefings/2021/05/05/press-briefing-by-press-secretary-jen-psaki-and-secretary-of-agriculture-

 tom-vilsack-may-5-2021/. Psaki immediately went on to state that President Biden “supports

 better privacy protections and a robust anti-trust program.” Id. (emphasis added). And she stated

 that the President’s “view is that there’s more that needs to be done to ensure that this type of

 misinformation; disinformation; damaging, sometimes life-threatening information is not going

 out to the American public.” Id.

    279.          In the same press conference, Psaki notoriously went on to state, “We’re flagging

 problematic posts for Facebook that spread disinformation.” Id. On information and belief,

 especially in light of Psaki’s earlier reference to speech about “elections,” this statement about

 “flagging problematic posts” referred not just to social-media speech about COVID-19, but also

 social-media speech about election integrity. See, e.g., White House says social media platforms

 should     not    amplify    ‘untrustworthy’    content,        REUTERS   (May    5,   2021),    at

 https://www.reuters.com/article/ctech-us-trump-facebook-biden-idCAKBN2CM1XU-OCATC.

    280.          In June 2021, the National Security Council released its “National Strategy for

 Countering Domestic Terrorism.” See The White House, National Strategy for Countering

 Domestic         Terrorism       (June      2021),         at       https://www.whitehouse.gov/wp-

 content/uploads/2021/06/National-Strategy-for-Countering-Domestic-Terrorism.pdf.                The

 “National Strategy” repeatedly claimed that “disinformation and misinformation” are important

 elements of “domestic terrorism.” Id. at 9. It claimed that the “ideologies” of domestic terrorists

 “connect and intersect with conspiracy theories and other forms of disinformation and

 misinformation.” Id. (emphasis added). It stated that such “elements” of domestic terrorism “can

 combine and amplify threats to public safety,” “[e]specially on Internet-based communications

 platforms such as social-media.” Id. (emphasis added). It stated that DHS and others “are



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 currently funding and implementing or planning” programs to “strengthen[] user resilience to

 disinformation and misinformation online for domestic audiences.” Id. at 20. The Strategy memo

 identified, as its “broader priority,” the task of “enhancing faith in government and addressing the

 extreme polarization, fueled by a crisis of disinformation and misinformation often channeled

 through social media platforms, which can tear Americans apart….” Id. at 29 (emphasis added).

 And it called for DHS and others to “accelerat[e] work to contend with an information environment

 that challenges healthy democratic discourse,” and to “find[] ways to counter the influence and

 impact” of online disinformation. Id.

    281.        On July 26, 2021, the Global Internet Forum to Counter Terrorism (GIFCT), an

 “organization formed by some of the biggest U.S. tech companies including Facebook and

 Microsoft,” which includes DHS on its board of advisors, announced that it is “significantly

 expanding the types of extremist content shared between firms in a key database,” to move from

 images and videos to content-based speech tracking. Facebook and tech giants to target attacker

 manifestos,    far-right   militias     in   database,    REUTERS      (July    26,    2021),     at

 https://www.reuters.com/technology/exclusive-facebook-tech-giants-target-manifestos-militias-

 database-2021-07-26/.

    282.        “GIFCT … was created in 2017 under pressure from U.S. and European

 governments,” and “its database mostly contains digital fingerprints of videos and images related

 to groups on the U.N. Security Council’s consolidated sanctions list and a few specific live-

 streamed attacks.” Id. “Until now, the Global Internet Forum to Counter Terrorism’s (GIFCT)

 database has focused on videos and images from terrorist groups on a United Nations list,” but

 now the group announced that it would move into content-based speech tracking. Id. On




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 information and belief, DHS officials including Defendants have access to such database(s) as

 tools to advance censorship of online speech.

    283.        Shortly thereafter, on August 2, 2021, DHS Secretary Mayorkas announced that

 DHS was working directly with social-media companies to censor disfavored speech on social-

 media platforms. “On [a] broadcast of MSNBC’s ‘Andrea Mitchell Reports,’ DHS Secretary

 Alejandro Mayorkas stated that the department is working with tech companies ‘that are the

 platform for much of the disinformation that reaches the American public, how they can better use

 their terms of use to really strengthen the legitimate use of their very powerful platforms and

 prevent harm from occurring.’” Mayorkas: We’re Working with Platforms on ‘How They Can

 Better Use’ Their Terms to ‘Prevent Harm’ from Misinformation, BREITBART NEWS (Aug. 2,

 2021), at https://www.breitbart.com/clips/2021/08/02/mayorkas-were-workgin-with-platforms-

 on-how-they-can-better-use-their-terms-to-prevent-harm-from-misinformation/.

    284.        Echoing Psaki’s comments at the July 15, 2021 news conference with Surgeon

 General Murthy, Mayorkas stated: “So, we’re working together with them. We’re working with

 the tech companies that are the platform for much of the disinformation that reaches the American

 public, how they can better use their terms of use to really strengthen the legitimate use of their

 very powerful platforms and prevent harm from occurring.” Id. On information and belief, the

 reference to “us[ing] their terms of use to really strengthen the legitimate use of their very powerful

 platforms and prevent harms from occurring” refers to government-induced censorship of

 disfavored viewpoints, speakers, and content.

    285.        Mayorkas added that there was a federal-government-wide effort to police speech

 on social media, stating: “[T]he connectivity between speech and violence, the connectivity

 between active harm and speech is something that we’re very focused on, and it’s a difficult



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 challenge. But we’re working on it and meeting that challenge, again, because of the great

 personnel of the Department of Homeland Security and across the federal enterprise.” Id.

 (emphasis added).

    286.        Soon after Mayorkas’s August 2, 2021 comments, DHS officials began plotting to

 create a “Disinformation Governance Board” within DHS. See ECF No. 10-1, at 19-23 (Glenn

 Decl. Ex. 1, at 6-10). On September 13, 2021, senior DHS officials Robert Silvers and Samantha

 Vinograd sent a memorandum to Secretary Mayorkas recommending the creation of the

 Disinformation Governance Board. The opening sentence of the Memorandum noted that the

 Board’s purpose would be to combat “[t]he spread of disinformation” regarding “[c]onspiracy

 theories about the validity and security of elections,” including “disinformation surrounding the

 validity of the 2020 election,” and “[d]isinformation related to the origins and effects of COVID-

 19 vaccines or the efficacy of masks,” which “undercut[] public health efforts to combat the

 pandemic.” Id. at 19.

    287.        The same Memorandum noted that CISA was involved in flagging content for

 censorship on social-media platforms: “Leading up to the 2020 election, CISA relayed reports of

 election disinformation from election officials to social media platform operators.” Id. at 20. The

 Memorandum called for the Board to perform “partner engagement” with “private sector entities

 [and] tech platforms.” Id. at 22.

    288.        In a subsequent Memorandum dated January 31, 2022, DHS officials indicated that

 the Board’s activities would oversee extensive pre-existing social-media censorship activities by

 other federal officials and agencies: “The Board will also support and coordinate … MDM work

 with other departments and agencies, the private sector, and non-government actors.” Id. at 24.

 This Memorandum attached the Board’s Charter, which stated that its mission was to “guide and



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 support the Department’s efforts to address mis-, dis-, and mal-information.” Id. at 27. It also

 stated that the Board would “harmonize and support coordination with … the private sector.” Id.

 The Charter called for the Board to “coordinate, deconflict, and harmonize departmental efforts to

 address MDM,” including between “DHS Components” and “interagency partners,” and “serving

 as the Department’s internal and external point of contact for coordination with … the private

 sector … regarding MDM.” Id. at 28-29.

       289.     Under continuous pressure from federal officials, including Defendants herein,

 social-media firms have imposed increasingly draconian censorship on core political speech about

 election integrity. For example, in March 2022, YouTube imposed a one-week suspension on The

 Hill, a well-known political publication covering Congress, for posts that included clips of former

 President Trump’s speech at the CPAC conference and interview on Fox News, which included

 claims that fraud changed the outcome of the 2020 presidential election. Gilead Edelman, Beware

 the    Never-Ending   Disinformation    Emergency,     THE WIRED       (March     11,   2022),   at

 https://www.wired.com/story/youtube-rigged-election-donald-trump-moderation-

 misinformation/. YouTube relied on its “Elections misinformation policy,” under which it censors

 “Content that advances false claims that widespread fraud, errors, or glitches changed the outcome

 of select past national elections, after final election results are officially certified.” YouTube,

 Elections Misinformation Policy, https://support.google.com/youtube/answer/10835034?hl=en.

       290.     This policy is openly content- and viewpoint-based—it applies only to “select” past

 national elections, and “[u]nder the policy, you can only include those claims if you explicitly

 debunk or condemn them.” Edelman, supra. On information and belief, this policy is also

 selective in application, as it is not applied to censor widespread, false Democratic claims that

 supposed “collusion” between the Trump campaign and Russia changed the outcome of the 2016



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 presidential election. And “by asking news hosts to explicitly denounce any mention of election

 fraud, YouTube isn’t just making its own content decisions; it’s injecting itself into the editorial

 processes of actual media outlets.” Id.

     291.        On November 10, 2021, the Cybersecurity and Infrastructure Security Agency

 (CISA), an agency within DHS, announced that it was “beefing up its disinformation and

 misinformation team in the wake of a divisive presidential election that saw a proliferation of

 misleading information online.” Cyber agency beefing up disinformation, misinformation team,

 THE HILL (Nov. 10, 2021), at https://thehill.com/policy/cybersecurity/580990-cyber-agency-

 beefing-up-disinformation-misinformation-team/. “‘I am actually going to grow and strengthen

 my misinformation and disinformation team,’ CISA Director Jen Easterly said.” Id. Defendant

 Easterly said that so-called “disinformation” and “misinformation” pose “a top threat for CISA,

 which is charged with securing critical infrastructure, to confront.” Id.

     292.        Indulging in a bit of Newspeak of her own, Easterly claimed that social-media

 speech is a form of “infrastructure,” and that policing speech online by the federal government

 falls within her agency’s mission to protect “infrastructure,” stating that CISA is “in the business

 of critical infrastructure, and the most critical infrastructure is our cognitive infrastructure, so

 building that resilience to misinformation and disinformation, I think, is incredibly important.” Id.

     293.        Easterly announced that CISA was working directly with unnamed “partners in the

 private sector” and other government agencies to police online speech: “We are going to work

 with our partners in the private sector and throughout the rest of the government and at the

 department to continue to ensure that the American people have the facts that they need to help

 protect our critical infrastructure.” Id.




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    294.        With specific reference to hotly disputed election-integrity issues, which comprise

 core political speech, Easterly stated that Americans should not be allowed to “pick [their] own

 facts” and make their own decisions about what is true, especially regarding election security: “We

 now live in a world where people talk about alternative facts, post-truth, which I think is really,

 really dangerous if you get to pick your own facts, and it’s particularly corrosive when you talk

 about matters of election security.” Id. Instead, she indicated, federal officials like herself should

 intervene to help Americans “pick” the right “facts.” Id.

    295.        CISA appears to be the focus of many of DHS’s attempts to police the content of

 speech and viewpoints on social media. On information and belief, CISA maintains a number of

 task forces, working groups, and similar organizations as joint government-private enterprises,

 which provide avenues for government officials to push for censorship of disfavored viewpoints

 and speakers online.

    296.        In a 2020 document entitled “2020 Election Infrastructure Subsector-Specific

 Plan,” at https://www.cisa.gov/sites/default/files/publications/election_infrastructure_subsector_

 specific_plan.pdf, CISA stated that it had partnered to “promote” interaction between election

 officials and the Center for Technology and Civic Life, the now-notorious nonprofit funded by

 Mark Zuckerberg that engaged in egregious election interference by injecting hundreds of millions

 of private dollars and personnel into local election offices in heavily Democratic-favoring areas.

    297.        CISA routinely expands the definitions of “misinformation” and “disinformation”

 to include “malinformation,” i.e. truthful information that the government believes is presented

 out of context to contradict left-wing political narratives. CISA defines “malinformation” as

 information that is “based on fact, but used out of context to mislead, harm, or manipulate.” See,




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 e.g., CISA, We’re in This Together. Disinformation Stops with You. (last visited May 5, 2022),

 https://www.cisa.gov/sites/default/files/publications/SLTTCOVIDToolkit_FINAL_508.pdf.

    298.          CISA’s same publication decries the spreading of “false treatment and prevention

 measures [for COVID-19], unsubstantiated rumors regarding the origin of the virus, and more.”

 Id. (emphasis added). On information and belief, “unsubstantiated rumors regarding the origin of

 the [COVID-19] virus” refers to the lab-leak theory of COVID-19’s origins, which (as noted

 above) is supported by compelling circumstantial evidence, both scientific and historical.

    299.          CISA’s “Mis-, Dis-, and Malinformation [MDM] Planning and Incident Response

 Guide for Election Officials,” at https://www.cisa.gov/sites/default/files/publications/mdm-

 incident-response-guide_508.pdf, calls for constant policing of speech regarding election integrity,

 stating that “election infrastructure related MDM occurs year-round,” and “[f]alse narratives erode

 trust and pose a threat to democratic transitions, especially, but not limited to, narratives around

 election processes and the validity of election outcomes.” Id. The Guide defines MDM to include

 “[n]arratives or content that delegitimizes election results or sows distrust in the integrity of the

 process based on false or misleading claims.” Id.

    300.          On February 7, 2022, DHS issued a National Terrorism Advisory Bulletin,

 available   at     https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-system-bulletin-

 february-07-2022. It begins by stating: “The United States remains in a heightened threat

 environment fueled by several factors, including an online environment filled with false or

 misleading narratives and conspiracy theories, and other forms of mis- dis- and mal-information

 (MDM).” Id. The first critical “factor” contributing to a “heightened threat environment,”

 according to the Bulletin, is “(1) the proliferation of false or misleading narratives, which sow

 discord or undermine public trust in U.S. government institutions.” Id. Again, the first “[k]ey



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 factor contributing to the current heightened threat environment” identified in the Bulletin is “[t]he

 proliferation of false or misleading narratives, which sow discord or undermine public trust in U.S.

 government institutions: For example, there is widespread online proliferation of false or

 misleading narratives regarding unsubstantiated widespread election fraud and COVID-19.

 Grievances associated with these themes inspired violent extremist attacks during 2021.” Id.

 (emphasis added). The Bulletin stated that DHS is directly coordinating with social-media

 platforms to address so-called “MDM”: “DHS is working with public and private sector partners,

 as well as foreign counterparts, to identify and evaluate MDM, including false or misleading

 narratives and conspiracy theories spread on social media and other online platforms that endorse

 or could inspire violence.” Id. And it specifically stated that CISA likewise “works with public

 and private sector partners … [to] increase nationwide cybersecurity resilience.” Id.

    301.        This February 7, 2022 Bulletin echoed statements from prior bulletins indicating

 that so-called COVID-19 “misinformation” and election-related “misinformation” are domestic

 terror threats. For example, DHS’s January 27, 2021 National Terrorism Advisory System

 Bulletin, available at https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-system-

 bulletin-january-27-2021, stated that “Domestic Violent Extremists” are “motivated by a range of

 issues, including anger over COVID-19 restrictions [and] the 2020 election results….” Id.

 Similarly, DHS’s August 13, 2021 National Terrorism Advisory System Bulletin, available at

 https://www.dhs.gov/ntas/advisory/national-terrorism-advisory-system-bulletin-august-13-2021,

 stated that “violent extremists … may seek to exploit the emergence of COVID-19 variants by

 viewing the potential re-establishment of public health restrictions across the United States as a

 rationale to conduct attacks.” Id. It stated that “domestic threat actors … continue to introduce,

 amplify, and disseminate narratives online that promote violence,” and included therein



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 “conspiracy theories on perceived election fraud … and responses to anticipated restrictions

 relating to the increasing COVID cases.” Id.

    302.        On April 12, 2022, CISA published another bulletin announcing that it was

 coordinating directly with social-media platforms to police “Mis, Dis, Malinformation” (which it

 calls “MDM”). CISA, Mis, Dis, Malinformation, at https://www.cisa.gov/mdm. The bulletin

 states that, “False or misleading information can evoke a strong emotional reaction that leads

 people to share it without first looking into the facts for themselves, polluting healthy

 conversations about the issues and increasing societal divisions.” Id. CISA reported that its

 Countering Foreign Influence Task Force’s “mission evolved” during the Biden Administration to

 address the new “information environment,” which (on information and belief) is codespeak for

 ramping up online censorship: “In 2021, the CFITF officially transitioned into CISA’s MDM team,

 and the mission evolved to reflect the changing information environment.” Id. CISA stated that

 it coordinates directly with social media firms to address “MDM”: “The MDM team continues to

 work in close coordination with interagency and private sector partners, social media companies,

 academia, and international partners on a variety of projects to build resilience against malicious

 information activities.” Id. (emphasis added).

    303.        On information and belief, the April 12, 2022, CISA bulletin indicates that CISA

 works directly with social-media companies to flag content for censorship: “The MDM team

 serves as a switchboard for routing disinformation concerns to appropriate social media

 platforms….” Id. CISA boasts that it has “expanded the breadth of reporting [MDM] to include

 … more social media platforms,” and that “[t]his activity leverages the rapport the MDM team has

 with the social media platforms to enable shared situational awareness.” Id. On information and

 belief, these statements reflect and express on ongoing practice by government officials of directly



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 colluding with social-media platforms to suppress disfavored speech, viewpoints, content, and

 speakers on social media.     Again, these statements echo Psaki’s statement that the Biden

 Administration is “flagging problematic posts for Facebook,” and Mayorkas’s statement that DHS

 is “working with the tech companies that are the platform for much of the disinformation that

 reaches the American public” to address so-called misinformation and disinformation.

    304.        The same bulletin suggests that CISA is directly involved in such “flagging” related

 to COVID-19 “misinformation.” It states that “COVID-19-related MDM activities seek to

 undermine public confidence and sow confusion,” and claims that “the rapid evolution of accurate

 information makes older, dated information a potential catalyst of confusion and distrust as well.”

 Id. Thus, it claims, “[t]he MDM team supports the interagency and private sector partners’

 COVID-19 response efforts via regular reporting and analysis of key pandemic-related MDM

 trends.” Id. On information and belief, these “private sector partners” include social-media firms,

 and the “reporting and analysis” includes flagging disfavored content for censorship.

    305.        On April 27, 2022, Mayorkas announced that DHS was creating a “Disinformation

 Governance Board” within DHS to combat so-called “misinformation” and “disinformation.”

 Biden Administration creates ‘Disinformation Governance Board’ under DHS to fight

 ‘misinformation,’      THE        POST       MILLENIAL        (April       27,      2022),       at

 https://thepostmillennial.com/breaking-biden-administration-creates-disinformation-governance-

 board-under-dhs-to-fight-misinformation. “The Department of Homeland Security is setting up a

 new board designed to counter misinformation related to homeland security, with a focus

 specifically on Russia and irregular migration. The board will be called the ‘Disinformation

 Governance Board,’ and will be headed by executive director Nina Jankowicz.” Id. During

 congressional testimony, Mayorkas described the endeavor as a “just recently constituted



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 Misinformation/Disinformation Governance Board.” Id. (video link at 1:40). He stated: “The goal

 is to bring the resources of the Department together to address this threat.” Id.

    306.        Jankowicz has called for more aggressive censorship of election-related speech by

 social-media platforms, and has implied that social-media censorship of election-related speech

 should never relent or be reduced, stating on Twitter: “Considering the long-term damage these

 lies do to our democracy, I’m dismayed about this decision [not to censor election-related speech

 more aggressively]. I say this about foreign disinformation and it applies to domestic disinfo too:

 Elections aren’t an end point. They’re an inflection point. Policies need to reflect that.” Id.

    307.        On information and belief, DHS’s new “Disinformation Governance Board” is

 intended to be used, and will be used, to increase DHS’s efforts to induce and procure the

 censorship of disfavored content, viewpoints, and speakers on social-media platforms.

    308.        From its inception, the DGB was envisioned as an agency for suppressing core

 political speech about election security and COVID-19 restrictions. In the internal memo to

 Secretary Mayorkas advocating for the DGB’s creation, the very first two topics of

 “disinformation” to be targeted were “conspiracies about the validity and security of elections,”

 and “disinformation related to the origins and effects of COVID-19 vaccines or the efficacy of

 masks.”

    309.        Internal documents of DHS, provided by whistleblowers to U.S. Senators, indicate

 that the “Disinformation Governance Board” was formulated to create a stronger bureaucratic

 structure to federal social-media censorship policies and activities that were already in full force,

 both within DHS and across other federal agencies. The whistleblower documents make clear that

 the DGB’s task was not to establish a censorship program, but to oversee the massive censorship




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 program against free speech on these topics that already exists—both within DHS, and across the

 federal government.

    310.        On information and belief, Defendants Robert Silvers and Samantha Vinograd

 played and play a central role in DHS’s censorship activities, including but not limited to the

 formulation and creation of the “Disinformation Governance Board.”               The whistleblower

 documents cited above strongly support this conclusion. Silvers and Vinograd co-signed the

 September 13, 2021 “Memorandum for the Secretary” re “Organizing DHS Efforts to Counter

 Disinformation” that provided an overview of DHS’s disinformation activity and recommended

 the creation of the DGB. As noted above, the opening lines of this memo state that “[t]he spread

 of disinformation presents serious homeland security risks,” especially “[c]onspiracy theories

 about the validity and security of elections” and “[d]isinformation related to the origins and effects

 of COVID-19 vaccines or the efficacy of masks.” The memo reflects detailed knowledge and

 active oversight of DHS’s “misinformation” and “disinformation” activities. Further, Defendant

 Silvers authored the January 31, 2022 memo to the Secretary seeking his “approval of the charter

 for the Disinformation Governance Board,” and he authored a separate memorandum to DHS’s

 general counsel seeking the same approval. Silvers also is listed as a participant in the April 28,

 2022 meeting with Twitter executives Nick Pickles and Yoel Roth organized by Nina Jankowicz,

 discussed below.

    311.        On April 28, 2022, Jankowicz arranged for a meeting between Secretary Mayorkas

 and/or other senior DHS officials, including Undersecretary Robert Silvers, and “Twitter

 executives Nick Pickles, Head of Policy, and Yoel Roth, Head of Site Integrity,” to discuss

 “public-private partnerships, MDM, and countering DVE. The meeting is off the record and closed

 press.” ECF No. 10-1, at 31 (Glenn Decl. Ex. 1, at 18). This was to be a cozy meeting: Jankowicz,



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 who drafted the meeting brief, noted that “Nick and Yoel both know DGB Executive Director Nina

 Jankowicz.” Id. The meeting was to be “an opportunity to discuss operationalizing public-private

 partnerships between DHS and Twitter.” Id. In the meeting, DHS was to “Propose that Twitter

 become involved in Disinformation Governance Board Analytic Exchanges on Domestic Violent

 Extremism (DVE) and Irregular Migration,” and to “Thank Twitter for its continued participation

 in the CISA Analytic Exchange on Election Security.” Id. DHS was also to “Ask what types of

 data or information would be useful for Twitter to receive in Analytic Exchanges or other ways

 the Department could be helpful to Twitter’s counter-MDM efforts.” Id.

    5. Defendants reinforce their threats and admit further colluding to censor free speech.

    312.        On or around April 25, 2022—two days before DHS announced the creation of its

 “Disinformation Governance Board”—it was reported that free-speech advocate Elon Musk would

 acquire Twitter and make it a privately held company. Left-wing commentators widely decried

 this news on the ground that free speech on Twitter would allow the spread of so-called

 “misinformation” and “disinformation.”

    313.        On April 25, 2022, Psaki was asked at a White House press briefing to respond to

 the news that Elon Musk would acquire Twitter, and asked “does the White House have any

 concern that this new agreement might have President Trump back on the platform?” White

 House,     Press   Briefing   by      Press   Secretary   Jen   Psaki,   April   25,   2022,    at

 https://www.whitehouse.gov/briefing-room/press-briefings/2022/04/25/press-briefing-by-press-

 secretary-jen-psaki-april-25-2022/.

    314.        Psaki responded by reiterating the threats of adverse legal consequences to Twitter

 and other social media platforms, specifically referencing antitrust enforcement and Section 230

 repeal: “No matter who owns or runs Twitter, the President has long been concerned about the



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 power of large social media platforms … [and] has long argued that tech platforms must be held

 accountable for the harms they cause. He has been a strong supporter of fundamental reforms to

 achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more

 transparency, and more. And he’s encouraged that there’s bipartisan interest in Congress.” Id.

    315.        At the same press briefing, Psaki was asked: “Are you concerned about the kind of

 purveyors of election misinformation, disinformation, health falsehoods, sort of, having more of

 an opportunity to speak there on Twitter?” She responded by specifically linking the legal threats

 to the social-media platforms’ failure to more aggressively censor free speech: “We’ve long talked

 about and the President has long talked about his concerns about the power of social media

 platforms, including Twitter and others, to spread misinformation, disinformation; the need for

 these platforms to be held accountable.”

    316.        Psaki was then asked a question that noted that “the Surgeon General has said that

 misinformation about COVID amounts to a public health crisis,” and then queried, “would the

 White House be interested in working with Twitter like it has in the past to continue to combat this

 kind of misinformation? Or are we in a different part of the pandemic where that kind of

 partnership is no longer necessary?” Id.

    317.        Psaki responded by reaffirming that senior officials within the White House and/or

 the Administration are continuing to coordinate directly with social-media platforms to censor

 disfavored speakers and content on social media, and directly linking these efforts to the repeated

 threat of adverse legal action: “we engage regularly with all social media platforms about steps

 that can be taken that has continued, and I’m sure it will continue. But there are also reforms that

 we think Congress could take and we would support taking, including reforming Section 230,




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 enacting antitrust reforms, requiring more transparency. And the President is encouraged by the

 bipartisan support for — or engagement in those efforts.” Id.

    6. Defendants have successfully procured the censorship of core political speech.

    318.        As a direct result of the conduct alleged herein, Defendants have achieved a great

 deal of success in procuring the censorship of disfavored speakers, viewpoints, and content on

 social media, as alleged further herein—including core political speech.

    319.        Among other things, they have achieved astonishing success in muzzling public

 criticism of President Biden. A recent review by the Media Research Center identified 646

 instances over the last two years where social-media firms censored public criticism of then-

 Candidate and now-President Biden. See Joseph Vasquez and Gabriela Pariseau, Protecting the

 President: Big Tech Censors Biden Criticism 646 Times Over Two Years (April 21, 2022), at

 https://censortrack.org/protecting-president-big-tech-censors-biden-criticism-646-times-over-

 two-years.

    320.        “The Media Research Center found more than 640 examples of bans, deleted

 content and other speech restrictions placed on those who criticized Biden on social media over

 the past two years.” Id. “MRC Free Speech America tallied 646 cases in its CensorTrack database

 of pro-Biden censorship between March 10, 2020, and March 10, 2022. The tally included cases

 from Biden’s presidential candidacy to the present day.” Id.

    321.        “The worst cases of censorship involved platforms targeting anyone who dared to

 speak about any subject related to the New York Post bombshell Hunter Biden story. … Big Tech’s

 cancellation of that story helped shift the 2020 election in Biden’s favor. Twitter locked the Post’s

 account for 17 days. In addition, Twitter slapped a ‘warning label’ on the GOP House Judiciary

 Committee’s website for linking to the Post story.” Id. “CensorTrack logged 140 instances of



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 users—including lawmakers, organizations, news outlets and media personalities—censored for

 sharing anything related to the bombshell Hunter Biden laptop story.” Id.

    322.        “Twitter was the most aggressive censor when it came to the Biden laptop story.

 CensorTrack entries show that users could not tweet the story or pictures of the Post story.”

    323.        “Big Tech even axed those who blamed the current inflation crisis on Biden. For

 example, Facebook censored Heritage Action, the advocacy arm of the conservative Heritage

 Foundation, on March 15, simply for posting a video quoting Biden’s embarrassing statements on

 energy policy. Facebook placed an interstitial, or filter, over Heritage Action’s video, suppressing

 the post’s reach. The video showed Biden and officials in his administration explaining how his

 policies would cause gas prices to rise.” Id.

    324.        “[T]he largest category by far included users who dared to call out Biden’s

 notoriously creepy, touchy-feely behavior around women and children. The 232 cases of comedic

 memes, videos, or generic posts about Biden’s conduct composed more than one-third of

 CensorTrack’s total instances of users censored for criticizing the president.” Id.

    325.        “Big Tech even went after posts that quoted Biden’s own words and made him look

 awful in retrospect.” Id.

    326.        “The list of censorship targets included an array of prominent influencers on social

 media: Trump; lawmakers like Sen. Ted Cruz (R-TX) and House Minority Leader Kevin

 McCarthy (R-CA); news outlets like the New York Post, The Washington Free Beacon and The

 Federalist; satire site The Babylon Bee; celebrities like Donald Trump Jr. and James Woods, and

 media personalities like Daily Wire host Candace Owens, Salem radio host Sebastian Gorka and

 radio host Dana Loesch.” Id.




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    327.        Most recently, social-media platforms are beginning to censor criticisms of the

 Biden Administration’s attempt to redefine the word “recession” in light of recent news that the

 U.S. economy has suffered two consecutive quarters of reduction in GDP. See, e.g., Economist

 slams Facebook for ‘absolutely Orwellian’ fact-check upholding Biden's recession denial, Fox

 News (Aug. 1, 2022), at https://www.foxnews.com/media/economist-slams-facebook-absolutely-

 orwellian-fact-check-upholding-bidens-recession-denial.

    328.        Thus, Defendants’ conduct alleged herein has created, with extraordinary efficacy,

 a situation where Americans seeking to exercise their core free-speech right to criticize the

 President of the United States are subject to aggressive prior restraint by private companies acting

 at the bidding of government officials. This situation is intolerable under the First Amendment.

    7. Federal officials open new fronts in their war for censorship of disfavored speech.

    329.        Since this lawsuit was filed, federal officials, including Defendants herein, have

 expanded their social-media censorship activities and opened new fronts in their war against the

 freedom of speech on social media. The frontiers of government-induced censorship are thus

 expanding rapidly.

    330.        For example, on June 14, 2022, White House National Climate Advisor Gina

 McCarthy spoke at an Axios event titled “A conversation on battling misinformation.” See

 Alexander Hall, Biden climate advisor demands tech companies censor ‘disinformation’ to

 promote     ‘benefits    of    clean    energy’,     FOX     NEWS        (June   14,   2022),    at

 https://www.foxnews.com/media/biden-climate-advisor-tech-companies-censor-disinformation-

 promote-benefits-clean-energy (video of her comments embedded in link). McCarthy publicly

 demanded that social-media platforms engage in censorship and suppression of speech that

 contradicts federal officials’ preferred narratives on climate change.



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      331.        During the event, “McCarthy skewered Big Tech companies for ‘allowing’

 disinformation and cheered Congress for ‘taking action’ to enact more censorship last Thursday.”

 Id. “Axios political reporter Alexi McCammond asked McCarthy how so-called ‘rampant mis-

 and-disinformation around climate change online and in other platforms’ has ‘made your job

 harder?’” Id. “McCarthy responded by slamming social media companies: ‘We have to get

 tighter, we have to get better at communicating, and frankly, the tech companies have to stop

 allowing specific individuals over and over again to spread disinformation.’” Id. (emphasis

 added). “She suggested further that ‘we have to be smarter than that and we need the tech

 companies to really jump in.’” Id. (emphasis added). “McCammond responded by asking: ‘Isn’t

 misinformation and disinfo around climate a threat to public health itself?’ McCarthy asserted that

 it ‘absolutely’ is: ‘Oh, absolutely.’” Id.

      332.        Following the Administration’s now-familiar playbook, McCarthy explicitly tied

 these demands for censorship of climate-change-related speech to threats of adverse legislation:

 “McCarthy also praised Congress directly for pushing social media companies to censor

 Americans: ‘We do see Congress taking action on these issues, we do see them trying to tackle the

 misinformation that’s out there, trying to hold companies accountable.’” Id.

      333.        Two days later, the White House announced a new task force to address, among

 other things, “gendered disinformation” and “disinformation campaigns targeting women and

 LGBTQI+ individuals who are public and political figures, government and civic leaders, activists,

 and journalists.” White House, Memorandum on the Establishment of the White House Task Force

 to     Address       Online     Harassment      and      Abuse     (June       16,   2022),      at

 https://www.whitehouse.gov/briefing-room/presidential-actions/2022/06/16/memorandum-on-

 the-establishment-of-the-white-house-task-force-to-address-online-harassment-and-abuse/.



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      334.       The June 16 Memorandum decries “online harassment and abuse”—vague terms

  that, on information and belief, are deliberately adopted to sweep in constitutionally protected

  speech.    In particular, the Memorandum defines “online harassment and abuse” to include

  “gendered disinformation,” a deliberately broad and open-ended term. Id. § 1. The Memorandum

  announces plans to target such “gendered disinformation” directed at public officials and public

  figures, including “women and LGBTQI+ political leaders, public figures, activists, and

  journalists.” Id. The Memorandum creates a Task Force co-chaired by the Assistant to the

  President for National Security Affairs, which includes the Secretary of Defense, the Attorney

  General, and the Secretary of Homeland Security, among others. Id.

      335.       The Task Force is charged with “developing programs and policies to address …

  disinformation campaigns targeting women and LGBTQI+ individuals who are public and

  political figures, government and civic leaders, activists, and journalists in the United States and

  globally.” Id. § 4(a)(iv) (emphasis added). The Memorandum calls for the Task Force to consult

  and coordinate with “technology experts” and “industry stakeholders,” i.e., social-media firms, to

  achieve “the objectives of this memorandum,” id. § 4(b). Those “objectives,” of course, include

  suppressing so-called “disinformation campaigns” against “public and political figures.” Id.

  § 4(a)(iv).

      336.       The Memorandum again threatens social-media platforms with adverse legal

  consequences if they do not censor aggressively enough to suit federal officials: “the Task Force

  shall … submit periodic recommendations to the President on policies, regulatory actions, and

  legislation on technology sector accountability to address systemic harms to people affected by

  online harassment and abuse.” Id. § 5(c) (emphasis added).




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     337.        On June 17, 2022, twenty-one Democratic U.S. Senators and Representatives sent

  a letter to Sundar Pichai, the CEO of Alphabet Inc., which owns Google, demanding that Google

  censor, suppress, and de-boost search results and Google Maps results for pro-life pregnancy

  resource centers.     June 17, 2022 Letter of Sen. Mark Warner, et al., available at

  https://reason.com/wp-content/uploads/2022/06/26F26BB28841042A7931EEC58AC80E08.anti-

  abortion-letter-to-google-final.pdf. The letter’s co-signers included many of the Members of

  Congress who have previously made threats of adverse legal consequences if social-media

  platforms do not increase censorship—such as Senators Mark Warner, Amy Klobuchar, and

  Richard Blumenthal. Id. The letter cited “research by the Center for Countering Digital Hate

  (CCDH),” id.—the same organization that Jen Psaki and the White House coordinated with to

  demand the censorship of the so-called “Disinformation Dozen,” and that coordinated the

  demonetization of Plaintiff Hoft from Google. The letter describes pro-life pregnancy resource

  centers as “fake clinics,” and demands that Google proactively censor search results, mapping

  results, and advertisements relating to such clinics. Id. The letter demands that Google “limit the

  appearance of anti-abortion fake clinics or so-called ‘crisis pregnancy centers’ in Google search

  results, Google Ads, and on Google Maps”; that Google “add user-friendly disclaimers that clearly

  indicate whether or not a search result does or does not provide abortions”; and that Google take

  “additional steps to ensure that users are receiving accurate information when they search for

  health care services like abortion on Google Search and Google Maps.” Id.

     338.        Defendants swiftly doubled down on this demand for social-media censorship of

  pro-life pregnancy resource centers. On July 8, 2022, the President signed an Executive Order

  “aimed at protecting abortion rights.” Sandhya Raman, Biden issues executive order responding

  to abortion ruling, Roll Call (July 8, 2022), at https://rollcall.com/2022/07/08/biden-issues-



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  executive-order-responding-to-abortion-ruling/. The order directs HHS, DOJ, and the FTC “to

  examine ways to … curb the spread of misinformation related to abortion.” Id. The order is

  entitled “Executive Order on Protecting Access to Reproductive Healthcare Services,” available

  at    https://www.whitehouse.gov/briefing-room/presidential-actions/2022/07/08/executive-order-

  on-protecting-access-to-reproductive-healthcare-services/. Section 4(b)(iv) of the order states:

  “The Secretary of Health and Human Services shall, in consultation with the Attorney General and

  the Chair of the FTC, consider options to address deceptive or fraudulent practices related to

  reproductive healthcare services, including online, and to protect access to accurate information.”

  Id.

        8. Discovery reveals a massive federal Censorship Enterprise including all Defendants.

        339.      Plaintiffs reassert and incorporate by reference the Exhibits A-O to the First

  Amended Complaint, Docs. 45-1 to 45-15, and the Exhibits to their Joint Statement on Discovery

  Disputes, Docs. 71-1 to 71-13, as if set forth fully herein. For ease of reference, this Second

  Amended Complaint refers to the exhibits to the First Amended Complaint by the same Exhibit

  numbers, Exhibits A-O. Likewise, Docs. 71-1 to 71-13 are incorporated by reference and referred

  to by their docket number. In addition, two additional Exhibits, labeled “Exhibit P” and “Exhibit

  Q,” comprising additional documents produced by Defendants in discovery, are attached hereto

  and incorporated fully by reference herein.

        340.      Based on documents produced by Defendants in discovery and other recent public

  disclosures, senior federal officials have placed intensive oversight and pressure to censor private

  speech on social-media platforms. All Defendants have been involved in the actions of this

  “Censorship Enterprise” in various ways, and these censorship activities continue to the present

  and continue to directly cause Plaintiffs irreparable harm. Representative examples of such federal



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  censorship activities are set forth herein, but these do not identify all the federally induced acts of

  censorship by any means.

     341.        After President Biden publicly stated (about Facebook) on July 16, 2021, that

  “They’re killing people,” a very senior executive at Meta (Facebook and Instagram) reached out

  to Surgeon General Murthy to engage in damage control and appease the President’s wrath. Soon

  thereafter, the same Meta executive sent a text message to Surgeon General Murthy, noting that

  “it’s not great to be accused of killing people,” and expressing that he was “keen to find a way to

  deescalate and work together collaboratively.”

     342.        Such “deescalation” and “working together collaboratively,” naturally, involved

  increasing censorship on Meta’s platforms. One week after President Biden’s public accusation,

  on July 23, 2021, that senior Meta executive sent an email to Surgeon General Murthy stating, “I

  wanted to make sure you saw the steps we took just this past week to adjust policies on what we

  are removing with respect to misinformation, as well as steps taken to further address the ‘disinfo

  dozen’: we removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo

  dozen....”

     343.        Again, on August 20, 2021, the same Meta executive emailed Murthy to assure him

  that Facebook “will shortly be expanding our COVID policies to further reduce the spread of

  potentially harmful content on our platform. These changes will apply across Facebook and

  Instagram,” and they included “increasing the strength of our demotions for COVID and vaccine-

  related content,” and “making it easier to have Pages/Groups/Accounts demoted for sharing

  COVID and vaccine-related misinformation.”

     344.        In addition, that senior Meta executive sent a “Facebook bi-weekly covid content

  report” to Surgeon General Murthy and to White House official Andrew Slavitt, evidently to



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  reassure these federal officials that Facebook’s suppression of COVID-19 “misinformation” was

  aggressive enough for their preferences.

        345.     In another, similar exchange, on October 31, 2021, Deputy Assistant to the

  President Rob Flaherty emailed a contact at Meta with a link to a Washington Post article

  complaining about the spread of COVID “misinformation” on Facebook. The email contained

  only the link to that story with the subject line, “not even sure what to say at this point.” The

  Facebook official defended Facebook’s practices, and assured Mr. Flaherty that Facebook’s

  internal studies were intended to “improve our defenses against harmful vaccine misinformation,”

  and that Facebook had, in fact, “improved our policies,” i.e., increased censorship of online speech.

  Id.

        346.     Likewise, Alex Berenson disclosed internal Twitter communications revealing that

  senior “WH” officials including Andrew Slavitt specifically pressured Twitter to deplatform

  Berenson, an influential vaccine critic—which Twitter did. This pressure to deplatform Berenson

  evidently occurred on April 21, 2021, when four Twitter employees participated in a Zoom

  meeting with at least three White House officials and one HHS official intended to allow the White

  House to “partner” with Twitter in censoring COVID-related “misinfo.” The meeting invitation

  stated: “White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover trends

  seen generally around vaccine misinformation, the tangible effects seen from recent policy

  changes, what interventions are currently being implemented in addition to previous policy

  changes, and ways the White House (and our COVID experts) can partner in product work.”

  (Emphasis added).

        347.     The next day, April 22, Twitter employees noted in internal communications that

  the White House officials had posed “tough” questions during this meeting, including “one really



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  tough question about why Alex Berenson hasn’t been kicked off the platform.”                   See

  https://alexberenson.substack.com/p/the-white-house-privately-demanded.

     348.        On July 11, 2021, Dr. Fauci publicly described Berenson’s public statements on

  vaccines as “horrifying.” Soon thereafter, after President Biden’s subsequent statement that

  “They’re killing people” by not censoring vaccine “misinformation,” Twitter caved to federal

  pressure and permanently suspended Berenson.

     349.        Such communications from the White House impose maximal pressure on social-

  media companies, which clearly yields the sought-after results. And federal officials are fully

  aware that such pressure is necessary to induce social-media platforms to increase censorship of

  views that diverge from the government’s. CISA Director Jen Easterly, for example, texted with

  Matthew Masterson about “trying to get us in a place where Fed can work with platforms to better

  understand the mis/dis trends so relevant agencies can try to prebunk/debunk as useful,” and

  complained about the Government’s need to overcome the social-media platforms’ “hesitation” to

  working with the government: “Platforms have got to get more comfortable with gov’t. It’s really

  interesting how hesitant they remain.”

     350.        In fact, such pressure from government officials on social-media companies, along

  with the many public statements alleged in the Complaint, have succeeded on a grand scale. A

  veritable army of federal bureaucrats are involved in censorship activities “across the federal

  enterprise.” There are so many, in fact, that CISA Director Easterly and Matthew Masterson

  complained in text messages that “chaos” would result if all federal officials were “independently”

  contacting social-media platforms about so-called misinformation: “Not our mission but was

  looking to play a coord role so not every D/A is independently reaching out to platforms which

  could cause a lot of chaos.” On information and belief, as alleged above, the “Disinformation



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  Governance Board” was created to impose a bureaucratic structure on the enormous censorship

  activities already occurring involving dozens of federal officials and many federal agencies.

     351.        These federal bureaucrats have leveraged their clout and pressure on social-media

  platforms to become deeply embedded in a joint enterprise with social-media companies to procure

  the censorship of private citizens’ speech on social media. Officials at HHS, including Defendants

  herein, routinely flag content for censorship, for example, by organizing weekly “Be On The

  Lookout” meetings to flag disfavored content; sending lengthy lists of examples of disfavored

  posts to be censored; serving as privileged “fact checkers” whom social-media platforms consult

  about censoring private speech; and receiving detailed reports from social-media companies about

  so-called “misinformation” and “disinformation” activities online; among others.

     352.        These efforts go back as far as very early 2020, and they continue through the

  present day, as evidenced by Facebook employees writing to high-level officials in HHS and the

  State Department informing them of new attempts to “control information and misinformation

  related to Corona virus [sic] which includes links to WHO page as well as removal of

  misinformation.”

     353.        A Facebook employee wrote to Defendants Slavitt, Flaherty, Peck, and Humphrey

  on March 2, 2021, updating the White House on “vaccine intent” and “shar[ing] survey based data

  on intent to vaccinate,” and relaying the ways that the company was combatting “misinformation.”

  These methods included “improving the effectiveness of our existing enforcement systems

  (particularly focusing on entities that repeatedly post vaccine misinformation)” and “mitigating

  viral content that could lead to vaccine hesitancy” while “promoting the vaccine and providing

  authoritative information.”




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     354.         Upon information and belief, that means ensuring that posts departing from the

  government’s messaging on vaccines are censored and de-amplified through the Facebook

  algorithm, while those conveying the government’s message are amplified.

     355.         On March 1, 2021, a Twitter employee wrote to Defendants Slavitt, Flaherty, Peck

  and Humphrey after a meeting that the company was escalating efforts to remove harmful content

  about Covid and introducing a strike system—apparently the outcome of the discussion that had

  just occurred. This was following an email exchange in February of 2021 in which the same

  employee had sought to update the four about “additional measure[s] Twitter taking regarding

  covid [sic].”

     356.         Likewise, on April 26, 2020, Muhammed wrote to Facebook employees and asked

  them to take down Facebook pages, and deactivate associated accounts, misrepresenting

  themselves as Administration for Children and Families Program (ACF). One of those employees

  responded, “Absolutely.” Id.

     357.         Shortly after the inauguration of President Biden, an individual who worked in

  private sector engagement connected a Facebook employee with Defendants Courtney Rowe and

  Joshua Peck, and saying that Defendants Flaherty and Humphrey would want to be in touch about

  misinformation and disinformation.

     358.         On February 24, 2021, a different Facebook employee wrote to Defendant Flaherty

  “Following upon your request for COVID-19 misinfo themes we are seeing,” “we are removing

  these claims from our platforms[.]” Those themes were Vaccine Toxicity,” “False Claims About

  Side Effects of Vaccine” (including that the vaccines may cause infertility), “Comparing the Covid

  Vaccine to the Flu Vaccine,” and “Downplaying Severity of Covid-19.”




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     359.        Flaherty responded later that day, asking for a “sense of volume on these, and some

  metrics around the scale of removal for each[],” as well as “misinformation that might be falling

  outside of your removal policies.” The Facebook employee replied that she could “go into detail

  on content that doesn’t violate like below but could contribute to vaccine hesitancy.”

     360.        Similarly, on February 19, 2021, Defendant Flaherty, on an email between him,

  Humphrey, Defendant Courtney Rowe, and Defendant Joshua Peck, and several Facebook

  employees as well, asked to hear from the company about “mis and dis” and later stated that one

  of his questions was about “algorithmic productions.” Flaherty also asked if “plans are in the

  works . . . to replicate the strategy you deployed around lockdowns – the ‘stay at home’

  stickers/promoted Instagram story.” A meeting was apparently held pursuant to Flaherty’s request

  shortly thereafter on March 1, with the subject being “Misinfo & Disinfo.”

     361.        On May 20, 2021, Mina Hsiang of the Office of Management and Budget wrote to

  a Google employee, apparently following up on a conversation from the previous day that was

  “critically helpful for the nationwide vaccination effort.” Hsiang suggested a change to results

  yielded by a search for “who can get vaccinated now.”

     362.        The parties continued to collaborate on the subject, and eventually arranged a

  meeting that was apparently held on May 27, 2021 and scheduled by Defendant Joshua Peck.

  Defendant Andy Slavitt asked Peck and Hsiang to take his place on the call because he was

  “slammed.”

     363.        Sheila Walsh of HHS exchanged emails with employees at YouTube about

  combating vaccine “misinformation,” and arranged a meeting as well.

     364.        Defendant Christy Choi, Deputy Director in the Office of Communications within

  HHS had exchanges with Facebook asking it to change the name of a Facebook page providing



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  “misleading information about vaccine” “[g]iven the administration’s focus on getting more

  Americans vaccinated.”

     365.        CISA, likewise, has aggressively embraced its “evolved mission” of screening

  complaints of social-media disinformation and then “routing disinformation concerns” to social-

  media platforms. CISA routinely receives reports of perceived “disinformation,” often from state

  and local government officials, and forwards them to social-media companies for censorship,

  placing the considerable weight of its authority as a federal national-security agency behind its

  demands for suppression of private speech. CISA, therefore, serves as a government clearinghouse

  for expedited censorship of social-media speech disfavored by government officials.

     366.        Moreover, many of these substantive communications from federal officials

  flagging specific posts and content for censorship also appear to occur through alternative channels

  of communication. For example, Facebook trained CDC and Census Bureau officials on how to

  use a “Facebook misinfo reporting channel.” Twitter offered federal officials a privileged channel

  for flagging misinformation through a “Partner Support Portal.” YouTube has disclosed that it

  granted “trusted flagger” status to Census Bureau officials, which allows privileged and expedited

  consideration of their claims that content should be censored.

     367.        As alleged further herein, federal censorship efforts escalated after President Biden

  assumed office in January 2021.

     368.        The individually named White House Defendants and other Defendants were

  directly involved in communications with social-media platforms about censorship and

  suppression of speech on social-media.




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     369.        For example, Humphrey requested that a Meta employee censor an Instagram

  parody account of Dr. Fauci, and Meta replied, “Yep, on it!” Soon thereafter, Meta reported that

  the account had been censored.

     370.        As another example, on May 28, 2021, a senior executive of Meta sent an email to

  Slavitt and Murthy reporting that Facebook had expanded its censorship policies, evidently to

  satisfy federal officials’ demands made at a recent oral meeting. The email stated that a “key

  point” was that “We’re expanding penalties for individual Facebook accounts that share

  misinformation.”

     371.        As recently as June 13, 2022, Flaherty demanded that Meta continue to produce

  periodic “COVID-19 insights reports” to track so-called “misinformation” regarding COVID-19

  on Meta’s social-media platforms, expressing the specific concern that COVID vaccines for

  children under 5 would soon be authorized.

     372.        Meta got the message. It agreed to continue sending its censorship-tracking reports,

  and on June 23, 2022, Meta assured Flaherty that it was expanding its censorship of COVID-19

  “misinformation” to ensure that speech critical or skeptical of COVID-19 vaccines for children

  under 5 years old—a highly controversial topic—would be censored. Notably, Pfizer’s own data

  established that the vaccine does not stop infection or transmission in this age group, demonstrating

  the political nature of this censorship. See https://www.nytimes.com/2022/02/28/health/pfizer-

  vaccine-kids.html.

     373.        The White House Defendants were involved in many other communications

  regarding censorship as well. For example, in June and July of 2022, Flaherty, Manning, Salcido,

  and Cheema were included in the email chain with Meta in which Flaherty demanded that Meta

  continue providing biweekly “COVID-19 Insights” reports to ensure adequate censorship of



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  speech on Facebook and Instagram “as we start to ramp up under 5 vaccines”—i.e., as vaccination

  of children under 5 for COVID-19 began. Wakana and Rowe were also involved in similar

  communications overseeing Meta’s misinformation practices.

     374.        Again, for example, Flaherty, Wakana, Humphrey, and Rowe participated in a

  “Twitter // COVID Misinfo” meeting with Twitter on or around March 1, 2021. And on April 21,

  2021, Flaherty and Slavitt, along with White House Confidential Assistant Kelsey V. Fitzpatrick,

  participated in a meeting with Twitter at which those White House officials demanded greater

  censorship on Twitter and specifically demanded the de-platforming of Alex Berenson. The

  meeting invite for that meeting stated that “White House Staff will be briefed by Twitter on vaccine

  misinfo. Twitter to cover trends seen generally around vaccine misinformation, the tangible effects

  seen from recent policy changes, … and ways the White House (and our COVID experts) can

  partner in product work.”

     375.        A senior Meta executive repeatedly copied Slavitt on his emails to Surgeon General

  Murthy in which he assured the Surgeon General and the White House that Meta was engaging in

  censorship of COVID-19 misinformation according to the White House’s demands. Among other

  things, the Meta executive insisted that “We’ve expanded penalties for individual Facebook

  accounts that share misinformation.”

     376.        Likewise, on March 2, 2021, Meta sent an email assuring Slavitt, Flaherty, and

  Humphrey that the company is “[c]ombating vaccine misinformation and de-amplifying content

  that could contribute to vaccine hesitancy” by “improving the effectiveness of our existing

  enforcement systems (particularly focusing on entities that repeatedly post vaccine

  misinformation), mitigating viral content that could lead to vaccine hesitancy….”




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     377.       Among many other reports, Meta reported to Rowe, Manning, Flaherty, and Slavitt

  that it has “labeled and demoted” “vaccine humor posts whose content could discourage

  vaccination” during January 2022. It also reported to the White House that it “labeled and

  demoted” posts “suggesting natural immunity to COVID-19 infection is superior to immunity by

  the COVID-19 vaccine.”

     378.       Likewise, on November 4, 2021, Meta reported to Rowe, Flaherty, and other White

  House officials that “we updated our misinformation policies for COVID-19 vaccines to make

  clear that they apply to claims about children….”

     379.       On September 18, 2021, regarding a story in the Wall Street Journal about COVID-

  19 “misinformation” circulating on Facebook, Flaherty demanded that Meta provide an

  explanation “as we have long asked for, [of] how big the problem is, what solutions you’re

  implementing, and how effective they’ve been.” Needless to say, the “solutions” evidently

  referred to policies to censor and suppress more private speech on Meta’s platforms, and Meta

  promised to “brief” the White House on those.

     380.       In response to a third-party subpoena, Meta has identified Special Assistant to the

  President Laura Rosenberger, White House Partnerships Manager Aisha Shah, White House

  Counsel Dana Remus, and White House officials Slavitt, Flaherty, and Humphrey; HHS officials

  Waldo, Byrd, Choi, Lambert, Peck, and Muhammed; EAC officials Muthig and Robbins; CDC

  officials Crawford and Dempsey; DHS officials Masterson, Protentis, Hale, and Snell; and FDA

  officials Thorpe, Jefferson, Murray, and Kimberly, among others, as federal officials who may

  have “communicated with Meta regarding content moderation between January 1, 2020 and July

  19, 2022 as it relates to: (i) COVID-19 misinformation; (ii) the Department of Homeland

  Security’s proposed Disinformation Governance Board; (iii) the New York Post story from



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  October 14, 2020 about Hunter Biden’s laptop computer; and/or (iv) election security, integrity,

  outcomes, and/or public confidence in election outcomes (not to include issues of foreign

  interference or related issues).”

     381.        In response to a third-party subpoena, YouTube has identified Schwartz, Faught,

  Molina-Irizarry, Galemore, Wakana, Flaherty, and Waldo, among others, as federal officials likely

  to have “communicated with the YouTube custodians about misinformation about COVID, the

  census, or elections.”

     382.        In response to a third-party subpoena, Twitter has identified Crawford, Flaherty,

  Frisbie, Kimmage, Lambert, Murthy, Shopkorn, Slavitt, and Waldo as federal officials “with

  whom [Twitter] has had meetings or discussions between January 20, 2021 and August 4, 2022

  about election integrity, vaccine/Covid misinformation, violent extremism, and similar content

  moderation issues.”

     383.        On August 26, 2022, Mark Zuckerberg appeared on Joe Rogan’s podcast and

  revealed that Facebook’s censorship of the Hunter Biden laptop story had occurred as a result of

  communications from the FBI. Zuckerberg stated: “The FBI basically came to us” and told

  Facebook to be “on high alert” relating to “a lot of Russian propaganda,” that the FBI was “on

  notice” that “there’s about to be some kind of dump … that’s similar to that, so just be vigilant.”

  Zuckerberg stated: “If the FBI … if they come to us and tell us we need to be on guard about

  something, then I want to take that seriously.” On information and belief, the FBI’s reference to

  a “dump” of information was a specific reference to the contents of Hunter Biden’s laptop, which

  was already in the FBI’s possession.

     384.         Joe Rogan asked Zuckerberg if the FBI has flagged the Hunter Biden laptop story

  as Russian disinformation specifically, and Zuckerberg stated: “I don’t remember if it was that



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  specifically, but [the story] basically fit the pattern” that the FBI had identified.           See

  https://www.wptv.com/news/national/fbi-responds-to-mark-zuckerberg-claims-on-joe-rogan-

  show-about-hunter-bidens-laptop (video commencing around 7:30). This revelation that the FBI

  had induced Facebook’s censorship of the Hunter Biden laptop story was widely recognized as a

  bombshell revelation of federal law-enforcement influence on social-media censorship.

     385.         Pursuant to the third-party subpoena, Meta has identified the FBI’s FITF, as

  supervised by Laura Dehmlow, and Elvis Chan as involved in the communications between the

  FBI and Meta that led to Facebook’s suppression of the Hunter Biden laptop story.

     386.        Dehmlow evidently works with CISA on social-media censorship issues. On

  March 1, 2022, Dehmlow gave a presentation to CISA’s Protecting Critical Infrastructure from

  Misinformation & Disinformation Subcommittee in which Dehmlow indicated that the FBI’s FITF

  “engages … with appropriate partners for information exchange.” On information and belief, this

  “information exchange” includes communications with social-media platforms about censorship

  and/or suppression of social-media speech.

     387.        On information and belief, because major social-media platforms are headquartered

  in the geographical area of FBI’s San Francisco Division, and Elvis Chan is in charge of cyber-

  related issues for that division, Chan has performed a critical role in communicating with social-

  media platforms on behalf of the FBI relating to censorship and suppression of speech on social

  media.

     388.        Chan has openly boasted about his official role on behalf of FBI in coordinating

  with social-media companies. In a recent podcast, he stated, “Our field office, FBI San Francisco,

  was very involved in helping to protect the US elections in 2020. … [T]he FBI, the US government

  working in conjunction with the private sector, as well as with election officials from every single



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  state and protectorate, we were really able to do it. … But completely different from 2016 where

  we did not. Even though foreign actors were trying to interfere in our elections, the FBI, the US

  government working in conjunction with the private sector, as well as with election officials from

  every     single     state   and   protectorate,    we    were   really    able   to   do   it.”   See

  https://www.banyansecurity.io/resource/get-it-started-get-it-done/ (emphasis added).

     389.            Chan’s subsequent comments make clear that “government working in conjunction

  with the private sector” includes the FBI working with social-media companies on censorship and

  suppression of private speech. Chan indicated that he works closely with Defendant Jen Easterly,

  stating, “So Jen Easterly, she’s the current director for CISA, she’s the one who coined that term

  shields up. She’s a Star Trek fan. She’s a Trekkie, I am myself.” Id. Easterly, as alleged herein,

  quarterbacks CISA’s extensive federal government-induced social-media censorship activities.

     390.            Chan admits to regular, routine coordination about censorship with social-media

  platforms, stating of the 2020 election cycle in particular: “we talked with all of these entities I

  mentioned regularly, at least on a monthly basis. And right before the election, probably on a

  weekly basis. If they were seeing anything unusual, if we were seeing anything unusual, sharing

  intelligence with technology companies, with social media companies, so that they could protect

  their own platforms. That’s where the FBI and the US government can actually help companies.”

  Id. On information and belief, “social media companies” “protect[ing] their own platforms”

  includes censorship and suppression of speech at the FBI’s behest.

     391.            Chan bemoaned the fact that there was not a similar level of coordination about

  censorship between the federal government and social-media companies during the 2016 election

  cycle: “It seems obvious, but I’m not going to lie, in 2016, there was not that same level of

  communications between the US government and the private sector.” Id. Chan called on social-



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  media platforms to be “more mindful” of federal government warnings on such issues: “But where

  we in the government are saying, if you are in one of the 17 designated critical infrastructure

  sectors, of which information technology is one of them, then you need to be more mindful.” Id.

     392.        In a public interview dated October 28, 2020, Chan explicitly encouraged citizens

  to report “misinformation” or “disinformation” to social-media companies and to the federal

  government so that such speech could be censored and/or suppressed, stating: “If you are seeing

  something related to election on your social-media platform, all of them have portals where you

  can report that sort of information, and they are being very aggressive in trying to take down any

  misinformation or disinformation … [i]f you see anything on election day or before election day,

  you can always report it to FBI.gov or Justice.gov … we take all of these very seriously.” See

  https://www.govinfosecurity.com/fbi-on-election-theres-going-to-be-lot-noise-a-15257 (quotes at

  7:45-8:48 of video) (emphasis added). Based on these comments, this includes the FBI “tak[ing]

  … very seriously” reports of “misinformation” and “disinformation” and inducing social-media

  companies to censor them.

     393.        Documents produced by LinkedIn show Chan repeatedly organizing meetings with

  representatives of LinkedIn from 2020 through 2022 (the present). Based on the limited agendas

  provided, it appears that these meetings included discussions of election-related content and

  suppression of election-related speech on social media. On information and belief, Chan organized

  similar meetings with other major social-media platforms, as in one instance, he notified LinkedIn

  about a particular proposed time slot for a meeting that another company had already taken that

  time slot. Dehmlow was routinely included in these meetings as well.

     394.        On information and belief, active coordination between Meta and the FBI on

  censorship and suppression of speech on social media continues to this day. For example,



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  Facebook “now appears to be monitoring private messages and suppressing material related to the

  whistleblower complaint of … FBI special agent Steve Friend.” Miranda Devine, Facebook

  ‘silencing’ activity related to FBI whistleblower Steve Friend, N.Y. Post (Sept. 25, 2022), at

  https://nypost.com/2022/09/25/facebook-silencing-activity-related-to-fbi-whistleblower-steve-

  friend/.

      395.       After an FBI whistleblower made public allegations critical of political bias at the

  FBI, the whistleblower’s “wife’s Facebook account was suspended after she responded to an offer

  of support from a local chapter” of a supportive “conservative group that advocates for parental

  rights.” Id. The wife responded to the group with a private message from her Facebook account,

  stating that “her husband was in the process of obtaining permission from the FBI to speak publicly

  and asked them to encourage their members to share his whistleblower story on their personal

  social media accounts.” Id. “About 30 minutes later, Mrs. Friend received a notification from

  Facebook that her account had been suspended because the ‘account, or activity on it, doesn’t

  follow our Community Standards.’” Id. At the receiving end, “Mrs. Friend’s Facebook message

  disappeared. In its place was a notification saying, ‘Message unavailable.’” Id. Thus, it now

  appears that Meta/Facebook is policing private messages sent on Facebook to censor and suppress

  any communications that might be critical of the FBI.

      396.       Recent, heavily documented reports indicate that both the State Department and

  CISA have teamed up with a consortium of four private groups in a close collaboration to achieve

  social-media censorship of election-related speech beginning in 2020, and that this collaboration

  is continuing to this day.

      397.       Pursuant to third-party subpoena, Twitter has identified personnel associated with

  the State Department’s Global Engagement Center, including Alexis Frisbie and Daniel Kimmage,



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  as likely involved in communications with Twitter about censorship and/or content modulation on

  issues such as election integrity, vaccine/COVID misinformation, and related subjects.

     398.        The State Department reports that “[i]n December 2019, GEC/TET [i.e., State’s

  Global Engagement Center’s Technology Engagement Team] established a Silicon Valley location

  to facilitate public-private coordination and broker constructive engagements between the U.S.

  government and the tech sector, academia, and research. The goal is to increase collaboration that

  results in identifying, exposing, and defending against foreign adversarial propaganda and

  disinformation.” On information and belief, “collaboration that results in … defending against …

  disinformation,” id., includes censorship of social-media speech.

     399.        The Global Engagement Center publishes “Counter Disinformation Dispatches,”

  of which the State Department states: “The Global Engagement Center’s Counter Disinformation

  Dispatches summarize lessons learned about disinformation and how to counter it based on the

  experiences of frontline counter-disinformation practitioners, for the benefit of those newly

  engaged in this issue.”

     400.        The Global Engagement Center provides, as an online “counter-disinfo resource,”

  as link to CISA’s website, stating: “An agency of the Department of Homeland Security, the

  Cybersecurity and Infrastructure Security Agency ‘is responsible for protecting the [United

  States’] critical infrastructure from physical and cyber threats,’ including election security.”

     401.        The State Department has inserted itself in efforts to combat so-called Covid-19

  “disinformation.” State provides an online briefing dated January 21, 2022, entitled “COVID-19

  Fact Checking: What Journalists Need to Know,” which “provides information about fact-

  checking resources available to journalists to counter COVID-19 and vaccine misinformation, and

  an overview of counter-misinformation efforts around the world.”



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     402.         According to public reports, “[a]consortium of four private groups worked with the

  departments of Homeland Security (DHS) and State to censor massive numbers of social media

  posts they considered misinformation during the 2020 election, and its members then got rewarded

  with millions of federal dollars from the Biden administration afterwards, according to interviews

  and documents obtained by [reporters].” Outsourced censorship: Feds used private entity to target

  millions   of    social   posts   in   2020,     JUST   THE    NEWS     (Sept.   30,    2022),    at

  https://justthenews.com/government/federal-agencies/biden-administration-rewarded-private-

  entities-got-2020-election.

     403.         On information and belief, the purpose and effect of this consortium of private non-

  profit groups is to allow federal officials at CISA and State to evade First Amendment and other

  legal restrictions while still operating unlawfully to censor the private election-related speech on

  Americans on social-media. Its censorship operations continue to this day. See id.

     404.         This consortium of private entities, closely collaborating with CISA and the State

  Department, calls itself “The Election Integrity Partnership.” This collaborative federal-private

  censorship project “is back in action again for the 2022 midterm elections, raising concerns among

  civil libertarians that a chilling new form of public-private partnership to evade the First

  Amendment's prohibition of government censorship may be expanding.” Id.

     405.         “The consortium is comprised of four member organizations: Stanford Internet

  Observatory (SIO), the University of Washington's Center for an Informed Public, the Atlantic

  Council’s Digital Forensic Research Lab, and social media analytics firm Graphika.” Id. The

  consortium “set up a concierge-like service in 2020 that allowed federal agencies like Homeland’s

  Cybersecurity Infrastructure Security Agency (CISA) and State’s Global Engagement Center to




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  file ‘tickets’ requesting that online story links and social media posts be censored or flagged by

  Big Tech.” Id.

     406.          “Three liberal groups — the Democratic National Committee, Common Cause and

  the NAACP — were also empowered like the federal agencies to file tickets seeking censorship

  of content. A Homeland [i.e. DHS]-funded collaboration, the Elections Infrastructure Information

  Sharing and Analysis Center, also had access.” Id.

     407.          “In its own after-action report on the 2020 election, the consortium boasted it

  flagged more than 4,800 URLs — shared nearly 22 million times on Twitter alone — for social

  media platforms. Their staff worked 12-20 hour shifts from September through mid-November

  2020, with ‘monitoring intensifying significantly’ the week before and after Election Day.” Id.

  (alterations omitted).

     408.          Backed by the authority of the federal government, including DHS, CISA, the State

  Department, and State’s Global Engagement Center, the consortium successfully sought and

  procured extensive censorship of core political speech by private citizens: “The tickets sought

  removal, throttling and labeling of content that raised questions about mail-in ballot integrity …

  and other election integrity issues of concern to conservatives.” Id.

     409.          “The consortium achieved a success rate in 2020 that would be enviable for baseball

  batters: Platforms took action on 35% of flagged URLs, with 21% labeled, 13% removed and 1%

  soft-blocked, meaning users had to reject a warning to see them.” Id.

     410.          The consortium’s “[p]articipants were acutely aware that federal agencies’ role in

  the effort” raised First Amendment concerns. “For instance, SIO’s Renee DiResta said in a CISA

  Cybersecurity Summit video in 2021 that the operation faced ‘unclear legal authorities’ and ‘very

  real First Amendment questions.’” Id.



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     411.        One free-speech advocate described the consortium as “the largest federally-

  sanctioned censorship operation he had ever seen, a precursor to the now-scrapped Disinformation

  Governance Board and one that is likely to grow in future elections.” Id. “‘If you trace the

  chronology, you find that there was actually 18 months’ worth of institutional work to create this

  very apparatus that we now know played a significant role in the censorship of millions of posts

  for the 2020 election and has ambitious sights for 2022 and 2024,’ he said.” Id.

     412.        A member of Congress “called the revelations ‘stunning’ and said the 2020

  operation amounted to the federal government sanctioning and outsourcing censorship.” Id.

     413.        “It wasn’t just blogs and individual social media users whose content was targeted

  for removal and throttling as ‘repeat spreaders’ of misinformation. News and opinion

  organizations, including the New York Post, Fox News, Just the News and SeanHannity.com were

  also targeted.” Id.

     414.        “The partnership’s members published the 292-page public report in March 2021,

  though the most recent version is dated June 15, 2021. The launch webinar featured former CISA

  Director Christopher Krebs, ‘who led the effort to secure electoral infrastructure and the response

  to mis- and disinformation during the election period.’” Id.

     415.        “‘I think we were pretty effective in getting platforms to act on things they haven’t

  acted on before,’ both by pressuring them to adopt specific censorship policies and then reporting

  violations, SIO founder and former Facebook Chief Security Officer Alex Stamos told the launch

  webinar.” Id. (emphasis added). “‘Platform interventions’ [i.e., censorship of specific posts or

  content] in response to ‘delegitimization of election results,’ for example, went from uniformly

  ‘non-comprehensive’ in August 2020 to ‘comprehensive’ by Election Day, the report says.” Id.




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     416.        “SIO officially launched the partnership 100 days before the election, ‘in

  consultation with CISA and other stakeholders,’ the partnership report says. It attributes the idea

  to SIO-funded interns at CISA, noting that censorship by that agency and domestic social media

  monitoring by intelligence agencies would likely be illegal.” Id. (citing Center for an Informed

  Public, Digital Forensic Research Lab, Graphika, & Stanford Internet Observatory (2021), The

  Long Fuse: Misinformation and the 2020 Election. Stanford Digital Repository: Election Integrity

  Partnership. v1.3.0, at https://purl.stanford.edu/tr171zs0069 (“EIP Report”)).

     417.        The EIP Report’s executive summary states: “Increasingly pervasive mis- and

  disinformation, both foreign and domestic, creates an urgent need for collaboration across

  government, civil society, media, and social media platforms.” Id.

     418.        The consortium was openly biased based on political viewpoint, calling President

  Trump “the social media Death Star.” “During the launch webinar, the Atlantic Council’s

  Emerson Brooking said they wanted to stop the ‘amplification and legitimation’ of ‘far-right

  influencers [who] would be doing all they could to try to catch the eye of a Fox News producer,’

  making it likely that President Trump, ‘the social media Death Star,’ would see their content.” Id.

     419.        The consortium’s work included the direct involvement of government officials in

  censorship decisions. “Government entities were involved in real-time chats with the partnership

  and social media platforms over specific content under review.” Id. For example, “[a] chat

  screenshot in the report shows an unidentified government partner rejecting the Sharpiegate claim

  that ‘sharpies aren't read at all’ by ballot-counting machines, and a platform provider responding

  that it was now reviewing those claims.” Id.

     420.        Notably, consistent with its carrot-stick approach to private entities on social-media

  censorship, the incoming Biden Administration—including the State Department—richly



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  rewarded the private-sector partners in this consortium of censorship, lavishing federal largesse

  upon them. “The [consortium’s] partners all received federal grants from the Biden administration

  in the next two years.” Id. “The National Science Foundation awarded the Stanford and UW

  projects $3 million in August 2021 ‘to study ways to apply collaborative, rapid-response research

  to mitigate online disinformation.’” Id. “UW’s press release about the award noted their earlier

  work on the partnership and praise for the report from ex-CISA director Krebs, who called it ‘the

  seminal report on what happened in 2020, not just the election but also through January 6.’” Id.

  “Graphika, also known as Octant Data, received its first listed federal grant several weeks after the

  2020 election: nearly $3 million from the Department of Defense for unspecified ‘research on

  cross-platform detection to counter malign influence.’ Nearly $2 million more followed in fall

  2021 for ‘research on co-citation network mapping,’ which tracks sources that are cited together.”

  Id. “The Atlantic Council … has received $4.7 million in grants since 2021, all but one from the

  State Department. That far exceeds the think tank’s federal haul in previous years, which hadn’t

  approached $1 million in a single year since 2011.” Id.

     421.        “UW’s project, SIO and Graphika also collaborated on the Virality Project, which

  tracks and analyzes purported ‘COVID-19 vaccine misinformation and social media narratives

  related to vaccine hesitancy.’” Id.

     422.        The collaboration with CISA on the Election Integrity Project is not the State

  Department’s only involvement in federal social-media censorship activities.             Documents

  produced so far in discovery from Defendants provide glimpses into the State Department’s

  involvement on many fronts.

     423.        For example, on February 4, 2020, Samaruddin K. Stewart, then a “Senior Advisor

  for the Global Engagement Center of the State Department” reached out to LinkedIn and stated



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  that he was “tasked with building relationships with technology companies … in [Silicon Valley]

  with interests in countering disinformation,” and asked for a meeting. As the email indicates,

  Stewart intended to reach out to other social-media platforms as well.

     424.           On March 9, 2020, Stewart reached out to LinkedIn again, referring back to their

  earlier oral meeting, and stated, “I’ll send information [to LinkedIn representatives] about gaining

  access to Disinfo Cloud – which is a GEC [i.e. State Department’s Global Engagement Center]

  funded platform that offers stakeholders an opportunity to discovery companies, technology, and

  tools that can assist with identifying, understanding, and addressing disinformation.”          On

  information and belief, “addressing disinformation” includes the censorship and suppression of

  private speech.

     425.           On July 19, 2021, Stewart organized another meeting with LinkedIn and several

  State Department colleagues on the topic “countering disinformation.” On information and belief,

  Stewart engaged in similar meetings and coordination efforts with other social-media platforms as

  well.

     426.           The State Department’s Global Engagement Center has worked directly with CISA

  and FBI to procure the censorship of specific content on social media. For example, on March 25,

  2020, Alex Dempsey of the State Department forwarded to an FBI agent a report about a video on

  social media making ostensibly false allegations about a State Department officer. Brian Scully

  of CISA forwarded the report to Facebook personnel, stating “see the below reporting from our

  State Department Global Engagement Center colleagues about disinformation … targeting a

  Diplomatic Security Officer.” Facebook responded, “Have flagged for our internal teams. As

  always, we really appreciate the outreach and sharing of this information.” Scully also forwarded

  the State Department’s report to Twitter and Google/YouTube. In flagging the content for Google,



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  Scully commented, “It does appear the FBI has been notified, so you may have already heard from

  them.”

     427.        The State Department’s Global Engagement Center, including Stewart and other

  State employees, were also involved in organizing a “misinformation and disinformation”

  workshop for African governments in May 2021. Lauren Protentis of CISA and Joe Parentis,

  Deputy Coordinator for the State Department’s Global Engagement Center, were speakers at the

  event. The event was moderated by Elizabeth Vish of the State Department’s Office of Cyber

  Coordinator. The agenda for the event included a presentation by Facebook on “How does

  Facebook work with governments to address misinformation and disinformation?” This included

  “Fact checking techniques, how to identify disinformation and misinformation,” and “Proven

  techniques to take down these articles. The effectiveness of fake news checkers,” “Steps for

  stopping already-circulating misinformation,” and “International takedown requests.”           On

  information and belief, these statements reflected the collective experience of CISA and the State

  Department in working to achieve social-media censorship of domestic speech in America.

     428.        CISA officials—including Defendants Easterly, Masterson, Protentis, Hale, Scully,

  and Snell, among others, have aggressively embraced the role of mediators of federally-induced

  censorship.

     429.        As noted above, CISA states that its mission includes “directly engaging with social

  media companies to flag MDM,” and that it is “working with federal partners to mature a whole-

  of-government approach to mitigating risks of MDM,” which includes “framing which …

  interventions are appropriate to the threats impacting the information environment.” CISA

  repeatedly and frequently flags posts for censorship on social-media platforms, and continues to

  do so on an ongoing basis.



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     430.        CISA officials have flagged for censorship even obvious parody accounts, such as

  accounts parodying the Colorado government that stated in their mock Twitter handles “dm us

  your weed store location (hoes be mad, but this is a parody account),” and “Smoke weed erry day.”

  To such reports, Twitter responded, “We will escalate. Thank you,” and “We have actioned these

  account under our civic integrity policy.”

     431.        CISA also works closely with the Center for Internet Security (“CIS”), an outside

  third-party group, to flag content for censorship on social media, including election-related speech.

  See Doc. 71-8. On information and belief, CIS is or was funded by CISA and works as a joint

  participant with CISA on federal social-media censorship activities. As early as June 2020, the

  Center for Internet Security, working with CISA, was planning a “Reporting Portal” for

  government officials seeking to suppress election misinformation that would allow “social media

  companies” to “process reports and provide timely responses, to include the removal of reported

  misinformation from the platform where possible.” Doc. 71-8, at 90. CIS and CISA work closely

  to remove so-called “misinformation” by flagging content for removal by social-media companies.

     432.        Documents reveal that CISA’s authority as a national-security agency within DHS

  led to prompt responses and swift censorship actions in response to CISA’s actions of “flagging”

  posts for censorship. See Doc. 71-8. This included many posts on election integrity issues where

  CISA acted as de facto judge of the truthfulness and value of social-media speech.

     433.        CISA has also flagged named Plaintiffs’ speech for censorship. For example, in a

  “disinformation” conference regarding the 2020 election hosted by CISA, one presenter identified

  the Gateway Pundit, the website hosted by Plaintiff Jim Hoft, as a “repeat spreader” of “false or

  misleading content about the 2020 election.” The presenter stated that the Gateway Pundit is the

  second most frequent spreader of election-related disinformation, just above President Trump and



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  his two sons, Donald Jr. and Eric Trump, who were also described as “prolific spreaders of

  disinformation.” Other supposed “repeat spreaders” of disinformation identified at the CISA-

  hosted conference included Sean Hannity, Breitbart, James O’Keefe, and Mark Levin. Gateway

  Pundit was called “one of the most prolific spreaders of misinformation across the entire [2020]

  election.” The presenter emphasized that every account identified as a spreader of disinformation

  was “ideologically pro-Trump” in its political orientation. See Mike Benz, Foundation for

  Freedom Online, DHS Encouraged Children to Report Family to Facebook for Challenging US

  Government Covid Claims, at foundationforfreedomonline.com. “In the same training session for

  state and local election officials, DHS’s formal partner group then encouraged the mass reporting

  of US social media posts for censorship….” Id.

     434.        CISA’s “Protecting Critical Infrastructure from Misinformation & Disinformation

  Subcommittee Meeting” on March 29, 2022, included the following discussion flagging online

  speech by Jim Hoft’s Gateway Pundit as misinformation warranting censorship: “Misinformation:

  A news release by Gateway Pundit provided factually inaccurate reporting announcing that

  Maricopa County elections officials held an unannounced meeting at the election and tabulation

  center,” while election officials contended that “[t]his meeting was, in fact, a publicly announced

  tour with members of the public and legislators from both parties.”

     435.        On February 17, 2022, Lauren Protentis of CISA emailed contacts at Microsoft and

  stated: “The Department of Treasury has asked our team for appropriate POCs [i.e., points of

  contact] to discuss social media and influence matters. We’d like to make a connection to

  Microsoft if you’re amenable? This is somewhat time-sensitive, so thanks in advance to your

  attention to this matter.” The email was forwarded to recent CISA alumnus, now Microsoft

  employee, Matthew Masterson, who exchanged the text messages with Jen Easterly quoted above.



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  Masterson responded, “Send em to me. I will make sure [the other Microsoft contact] is looped

  in.” Separately, Masterson’s colleague at Microsoft responded that “Matt [Masterson] and I can

  be the primary POCs for the introduction.” Protentis responded, “We’re going to pass your info

  to Treasury. They will reach-out directly and provide more information about the nature of this

  request.”

     436.        On February 17, 2022, Protentis sent a similar email to Yoel Roth of Twitter (Nina

  Jankowicz’s contact who was scheduled to attend the April 2022 meeting with Robert Silvers and

  senior DHS officials), asking for a Twitter point of contact for Treasury to “discuss social media

  and influence matters.” After Roth responded, Protentis stated that “Treasury … will reach-out

  directly to begin the dialogue and provide more information about the nature of this request.”

     437.        On February 17, 2022, Protentis reached out to a contact at Google, asking that

  “[t]he Department of Treasury has asked our team for appropriate POCs to discuss social media

  and influence matters. We’d like to make the connection to Google if you’re amenable?” Protentis

  followed up just over an hour later, stating, “Apologies for the second email, this is somewhat

  time-sensitive, so thank you for your prompt attention to this request!” When the Google contact

  responded, Protentis replied, “We’re going to pass your info to Treasury. They will reach-out

  directly and provide more information about the nature of this request.”

     438.        On February 17, 2022, Protentis reached out to contacts at Meta/Facebook and

  stated, “The Deputy Secretary at Treasury [i.e., Defendant Wally Adeyemo] would like to be

  connected to industry partners to discuss potential influence operations on social media. We’d

  like to make the connection to Meta if you’re amenable?” On information and belief, the nearly

  identically-phrased inquiries to Twitter and Microsoft that Protentis sent on the same day were

  also sent at Adeyemo’s request.



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     439.        On information and belief, these messages reflect the participation of Treasury and

  Adeyemo in federal censorship activities.

     440.        In response to a third-party subpoena, counsel for Meta identified the EAC’s

  Executive Director Mark Robbins and the EAC’s Communications Director Kristen Muthig as

  officials who may “have communicated with Meta regarding content moderation between January

  1, 2020 and July 19, 2022 as it relates to: (i) COVID-19 misinformation; (ii) the Department of

  Homeland Security’s proposed Disinformation Governance Board; (iii) the New York Post story

  from October 14, 2020 about Hunter Biden’s laptop computer; and/or (iv) election security,

  integrity, outcomes, and/or public confidence in election outcomes (not to include issues of foreign

  interference or related issues).”

     441.        The EIP Report, discussed above, identifies the Election Assistance Commission

  as a federal agency working on social-media content issues alongside CISA, identified as “the lead

  on domestic vulnerabilities and coordination with state and local election officials.” The same

  paragraph states: “The Election Assistance Commission should remain in an amplifying role,

  pushing best practices and critical information out broadly to the election community.” EIP

  Report, at 235. On information and belief, the EAC’s “critical information” that is “push[ed] …

  out broadly” includes federally induced censorship and/or suppression of social-media speech on

  the basis of content and viewpoint.

     442.        In response to a third-party subpoena, Meta has identified Public Affairs Specialist

  Valerie Thorpe of the FDA; Michael Murray, who is the Acquisition Strategy for the Office of

  Health Communications and Education at the FDA; Brad Kimberly, who is the Director, Social

  Media at the FDA; and Erica Jefferson, Associate Commissioner for External Affairs at the FDA,

  as officials who may “have communicated with Meta regarding content moderation between



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  January 1, 2020 and July 19, 2022 as it relates to: (i) COVID-19 misinformation; (ii) the

  Department of Homeland Security’s proposed Disinformation Governance Board; (iii) the New

  York Post story from October 14, 2020 about Hunter Biden’s laptop computer; and/or (iv) election

  security, integrity, outcomes, and/or public confidence in election outcomes (not to include issues

  of foreign interference or related issues).”

     443.           On information and belief, the FDA has participated in federally-induced

  censorship of private speech on social media about questions of vaccine safety and efficacy, among

  other subjects.

     444.           Pursuant to third-party subpoena, YouTube has identified Census officials

  Schwartz, Molina-Irizarry, Galemore—as well as Deloitte employees/Census contractors Michael

  Jaret Saewitz and Caroline Faught—as involved in communications with YouTube about

  misinformation and content modulation of speech on YouTube.

     445.           Census Bureau officials have openly stated that they are working with social-media

  companies to suppress so-called misinformation and disinformation. For example, in 2020,

  Census boasted that Census “has established the government’s first ever Trust & Safety Team” in

  order to “prevent the spread of fake, false and inaccurate information that can negatively influence

  2020 Census participation and response.”           Census Partners with Social-Media Platforms,

  Community     Organizations,      the   Public    to     Stop   Spread    of   False   Information,   at

  https://www.census.gov/library/stories/2020/02/putting-2020-census-rumors-to-rest.html            (Feb.

  10, 2020). “Trust & Safety Team” is what social-media platforms like Twitter call their censorship

  teams.

     446.           Evidently, “preventing the spread of fake, false and inaccurate information”

  includes federally-induced censorship of free speech on social media. Census states that it is



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  “[w]orking with social media platforms such as Facebook, Microsoft, Nextdoor, Google, and

  Pinterest to update their policies and terms of service to include census-specific activities,” and

  “[c]oordinating with YouTube and Twitter to create processes enabling us to quickly identify and

  respond to misinformation and disinformation.” Id. On information and belief, these activities

  include government-induced censorship of social-media speech.              Census states: “These

  partnerships will help the Census Bureau counter false information that can lead to an undercount

  by quickly identifying phony information and respond with factual content.”

     447.        In addition, Census invites private citizens to report suspected false information to

  the Census Bureau so that Census can arrange for it to be censored. Census directs the public to:

  “Report inaccurate, suspicious or fraudulent information to the Census Bureau. If you see or hear

  something, tell us: Report suspicious information and tips to rumors@census.gov. Reach out to us

  on our verified social media accounts (@USCensusBureau) to ask questions and flag suspicious

  information. Call the Census Bureau Customer Service Hotline at 1-800-923-8282 to report

  suspicious activity.” Id.

     448.        As noted above, it is evident that Census responds to such reports by seeking to

  censor speech and content that it disfavors. Among other things, YouTube has disclosed that

  Census officials have been granted “trusted flagger” status to flag content for censorship on social

  media and receive privileged, expedited treatment for such reports.

     449.        Defendant Schwartz was the “operations manager for the Trust & Safety Team and

  deputy division chief for the Center for New Media and Promotion at the Census Bureau,” who

  authored this report instructing the public to flag disinformation directly to Census.

     450.        “Trust & Safety Team” is a euphemism for the authorities within social-media

  platforms who are in charge of censoring and suppressing disfavored speech, speakers, and



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  content. Census’s creation of a like-named “Trust & Safety Team” was the creation of a federal

  censorship agency within Census.

     451.        On its website, Census boasts that “the U.S. Census Bureau's Trust & Safety Team

  protected the 2020 Census from misinformation and disinformation.” Census Bureau, Trust &

  Safety Team, at https://www.census.gov/about/trust-and-safety.html. This page notes that the

  “Trust & Safety Team’s” censorship work continues today across expanded fronts: “We continue

  to watch for misinformation being shared online, and we work to share facts instead to help support

  communications around the Census Bureau’s commitment to data quality and transparency around

  these efforts. The team’s role has expanded to also support the American Community Survey

  (ACS), the Economic Census, and other Census Bureau programs and data products.” Id. The

  same page continues to instruct the public to report so-called “misinformation” to Census for

  censorship: “Help the Census Bureau’s Trust & Safety team by reporting inaccurate, suspicious,

  or fraudulent information you read, hear, or spot online, including: A rumor in a message board or

  group claiming the information you provided to the Census Bureau will be publicly disclosed….

  An advertisement on social media sharing fake 2020 Census websites and inaccurate information.

  No matter what you find, let the Census Bureau know by contacting rumors@census.gov.” Id.

     452.        The Trust & Safety Team openly states that it coordinates with social-media

  platforms to censor speech: “Trust & Safety Team coordinates and integrates our efforts with

  external technology and social media platforms, partner and stakeholder organizations, and

  cybersecurity officials…. Leveraging best practices from the public and private sectors, the Trust

  & Safety Team monitors all available channels and open platforms for misinformation and

  disinformation about the census. Monitoring allows us to respond quickly to combat potential

  threats to achieving an accurate count in traditional media, social media and other stakeholder



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  communications. As we discover misinformation and disinformation, the team will coordinate the

  responses with partners and stakeholders.” https://www.census.gov/newsroom/blogs/random-

  samplings/2019/12/why_the_census_burea.html. “Coordinating the responses with partners and

  stakeholders,” evidently, means working with social-media platforms to censor speech.

     453.       In other Census publications, Schwartz and other Census officials claim that they

  are “harnessing the capabilities of social media platforms such as Facebook, Twitter, YouTube

  and Instagram … enables the Census Bureau to identify and respond to misinformation swiftly

  before it spreads.” https://www.census.gov/library/stories/2019/07/hey-siri-why-is-2020-census-

  important.html. “The U.S. Census Bureau is partnering with tech giants to … respond to

  disinformation before it spreads.” https://www.census.gov/library/spotlights/2020/tech.html.

     454.       Census also states that it has “partner[ed] with search engines” such as Google to

  de-boost disfavored content and promote Census-favored content above government-disfavored

  private content. https://www.census.gov/library/spotlights/2020/nextdoor.html.

     455.       Public reports indicate that Census teamed up with “Data & Society’s

  Disinformation Action Lab” at the “Center for an Informed Public” at the University of

  Washington in a “behind-the-scenes networked response to mis- and disinformation about the

  2020 U.S. Census, an effort that provides a model for future multi-stakeholder collaborations to

  mitigate           the          impacts             of        communication             harms.”

  https://www.cip.uw.edu/2022/05/31/disinformation-action-lab-data-society-census-

  misinformation/.

     456.       Center for an Informed Public’s director is Kate Starbird, who also serves on

  CISA’s advisory committee that advises CISA’s social-media censorship activities. According to

  CIP, “Beyond the Census Counts Campaign, DAL supported other national civil rights groups,



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  local civil society groups, state and city government officials, and worked with social media

  companies, journalists, and the Census Bureau itself — all to protect a complete and fair count

  from mis- and disinformation.” Id. (emphasis added).

     457.        As alleged further herein, Census officials also participate in censorship activities

  relating to so-called COVID-19 misinformation

     458.        On information and belief, as further alleged herein, all Defendants have been and

  are engaged in federally-induced censorship of private speech on social media, in a manner that

  directly interferes with and injures the free-speech rights of Plaintiffs and their citizens.

  E. Defendants’ Conduct Has Inflicted and Continues to Inflict Grave Injuries on Plaintiffs,
     Missourians, Louisianans, and all Americans.

     459.        Defendants’ conduct, as alleged herein, has inflicted and continues to inflict grave,

  ongoing injuries on Plaintiffs, Missourians and Louisianans, and all Americans. Many of these

  injuries are detailed in the previously filed Declarations submitted in support of the States’ Motion

  for Preliminary Injunction, ECF Nos. 10-2 to 10-15, which are attached to the First Amended

  Complaint as Exhibits B to O, and incorporated by reference herein.

         1.      Ongoing injuries inflicted on Plaintiff States.

     460.        First, the Defendants’ conduct has inflicted and continues to inflict at least eight

  forms of imminent, continuing, irreparable injury on the Plaintiff States, Missouri and Louisiana.

     461.        First, both Missouri and Louisiana have adopted fundamental policies favoring the

  freedom of speech, including on social media. Missouri’s Constitution provides: “[N]o law shall

  be passed impairing the freedom of speech, no matter by what means communicated… [E]very

  person shall be free to say, write or publish, or otherwise communicate whatever he will on any

  subject….” MO. CONST. art. I, § 8. Louisiana’s Constitution provides: “No law shall curtail or

  restrain the freedom of speech or of the press. Every person may speak, write, and publish his

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  sentiments on any subject, but is responsible for abuse of that freedom.” LA. CONST. art. I, § 7.

  The federal censorship program directly undermines Missouri’s and Louisiana’s fundamental

  policies favoring the freedom of speech, and thus it inflicts a clear and direct injury on the States’

  sovereignty. See Texas v. United States, 809 F.3d 134, 153 (5th Cir. 2015).

     462.        Second, the States and their agencies and political subdivisions have suffered

  government-induced online censorship directly.          For example, Louisiana’s Department of

  Justice—the office of its Attorney General—was directly censored on YouTube for posting video

  footage of Louisianans criticizing mask mandates and COVID-19 lockdown measures on August

  18, 2021—just after the federal Defendants’ most vociferous calls for censorship of COVID

  “misinformation.” Bosch Decl. ¶ 7. A Louisiana state legislator was censored by Facebook when

  he posted content addressing vaccinating children against COVID-19. Bosch Decl. ¶ 9. St. Louis

  County, a political subdivision of Missouri, conducted public meetings regarding proposed

  county-wide mask mandates, at which some citizens made public comments opposing mask

  mandates. Flesh Decl. ¶ 7. YouTube censored the entire videos of four public meetings, removing

  the content, because some citizens publicly expressed views that masks are ineffective. Id.

      463.       Third, State agencies—such as the Offices of the States’ Attorneys General—

  closely track and rely on free speech on social media to understand their citizens’ true thoughts

  and concerns. See, e.g., Flesch Decl. ¶ 4 (“I monitor these trends on a daily or even hourly

  basis…”); Bosch Decl. ¶ 6. This allows them to craft messages and public policies that are actually

  responsive to their citizens’ concerns. Flesch Decl. ¶ 5; Bosch Decl. ¶¶ 4-6. Censorship of social-

  media speech directly interferes with this critical state interest, because it “directly interferes with

  [our] ability to follow, measure, and understand the nature and degree of [constituents’] concerns.”

  Flesh Decl. ¶ 6.



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     464.        Fourth, social-media censorship thwarts the States’ ability to provide free, fair, and

  open political processes that allow citizens to petition their government and advocate for policy

  changes. Social-media censorship has perverted state and local political processes by artificially

  restricting access to the channels of advocacy to one side of various issues. For example, social-

  media censorship prevented Louisiana advocacy groups from organizing effectively to advocate

  in favor of legislative action on issues of great public import. Hines Decl. ¶¶ 13-14. Likewise,

  social-media censorship prevented a Missouri parent from circulating an online petition to

  advocate against mandatory masking at his local school district, a political subdivision of the State.

  McCollum Decl. ¶¶ 9-17; Gulmire Decl. ¶¶ 11-16, 18-19. Such censorship—which directly

  interferes with citizens’ ability to petition their government—thwarts the States’ interest in

  providing fair and open processes to petition state officials.

     465.        Fifth, federally induced social-media censorship directly affects Missouri, because

  it has resulted in the extensive censorship of Plaintiff Dr. Bhattacharya, who serves as an expert

  witness for Missouri in a series of lawsuits challenging mask and vaccine mandates.               See

  Bhattacharya Decl. ¶ 4. Censorship of Dr. Bhattacharya reduces the message and impact of

  Missouri’s own retained expert witness. See id. ¶¶ 17-32. Likewise, the Missouri Attorney

  General’s Office relied heavily on the high-quality German survey study of 26,000 schoolchildren,

  finding that 68 percent reported harms from masking in school, in its lawsuits challenging school

  mask mandates. That study was censored on social media as a result of Defendants’ campaign,

  and Missouri was lucky to find it because it is in German and not cited on social media. “Because

  online censorship acts as a prior restraint on speech,” Missouri “will never know exactly how much

  speech … on social media never reaches [our] eyes because it is censored in advance, or as soon

  as it is posted.” Flesch Decl. ¶ 11.



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     466.        Sixth, Missouri and Louisiana have a quasi-sovereign interest in protecting the free-

  speech rights of “a sufficiently substantial segment of its population,” and preventing ultra vires

  actions against those rights. Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S.

  592, 607 (1982). This falls within Missouri’s and Louisiana’s “quasi-sovereign interest in the

  health and well-being—both physical and economic—of its residents in general.” Id. This injury

  “suffices to give the State standing to sue as parens patriae” because “the injury” to Missourians’

  and Louisianans’ free-speech and free-expression rights “is one that the State[s] … would likely

  attempt to address through [their] sovereign lawmaking powers.” Id. at 607. Indeed, they have

  done so. See, e.g., MO. CONST., art. I, § 8; LA. CONST., art. I, § 7.

     467.        Seventh, Missouri and Louisiana “ha[ve] an interest in securing observance of the

  terms under which [they] participate[] in the federal system.” Alfred L. Snapp, 458 U.S. at 607–

  08. This means bringing suit to “ensur[e] that the State and its residents are not excluded from the

  benefits that are to flow from participation in the federal system.” Id. at 608. Free-speech rights,

  and protection from ultra vires actions destroying them, are foremost among the “benefits that are

  to flow from participation in the federal system.” Id. Missouri and Louisiana “have an interest,

  independent of the benefits that might accrue to any particular individual, in assuring that the

  benefits of the federal system are not denied to its general population.” Id.

     468.        Eighth, Missouri and Louisiana have a unique interest in advancing, protecting, and

  vindicating the rights of their citizens who are listeners, readers, and audiences of social-media

  speech. As noted above, the First Amendment protects the rights of the speakers’ audiences, such

  as listeners and readers, to have access to protected speech. See, e.g., Bd. of Educ., Island Trees

  Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 867 (1982). As a result of Defendants’

  censorship, the States’ many citizens, as readers and followers of social-media speech, suffer an



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  injury that is individually too diffuse to warrant filing their own lawsuits, yet the injury is all the

  greater because it is spread among millions of readers. Bantam Books, Inc. v. Sullivan, 372 U.S.

  58, 64 n.6 (1963) (holding that, where one plaintiff “is not likely to sustain sufficient … injury to

  induce him to seek judicial vindication of his [First Amendment] rights,” a plaintiff with a greater

  stake may assert them, lest “infringements of freedom of the press may too often go unremedied”).

  The States have a “close relationship” with their citizens, as readers and listeners of social-media

  speech, because they are specifically authorized by state law to vindicate those rights. And there

  is a “hindrance” to their citizens’ asserting their own rights, because each individual injury is too

  diffuse to warrant litigation. See Kowalski v. Tesmer, 543 U.S. 125, 130 (2004); Secretary of State

  of Md. v. Joseph H. Munson Co., Inc., 467 U.S. 947, 956-57 (1984).

     469.        All these injuries to the State Plaintiffs and their citizens are continuing and

  ongoing, and they constitute irreparable harm.

     2. Ongoing injuries inflicted on the private Plaintiffs and their social-media followings.

     470.        The private Plaintiffs Bhattacharya, Hines, Hoft, Kheriaty, and Kulldorff, and their

  social-media audiences and/or potential social-media audiences (i.e., the larger audiences who

  would hear them if they were not censored)—who include thousands or millions of Missourians

  and Louisianans—have suffered and are suffering grave and ongoing injuries as well. Identical

  injuries afflict many similarly situated speakers and audiences who have been affected by the

  government-induced censorship procured by Defendants as well.

     471.        Government-induced online censorship affects the private Plaintiffs and enormous

  segments of Missouri’s and Louisiana’s populations. The censorship affects speakers with all sizes

  of audiences—from small groups of concerned parents seeking to share concerns on neighborhood

  networking sites, Flesch Decl. ¶ 9; to social-media titans, such as Plaintiff Jim Hoft, who is one of



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  the most influential online voices in the country, with over a million social-media followers, Hoft

  Decl. ¶¶ 2-3. Censorship affects some of the most highly credentialed physicians in the world,

  speaking on matters of core competence, such as Plaintiffs Bhattacharya, Kulldroff, and Kheriaty,

  scientists and medical professors at Stanford, Harvard, and the University of California. See

  Bhattacharya Decl. ¶¶ 2-5; Kulldorff Decl. ¶¶ 2-6; Kheriaty Decl. ¶¶ 2-5.

     472.        This censorship encompasses social-media accounts with hundreds of thousands of

  followers, including the private Plaintiffs’ accounts, which include many thousands of followers

  in Missouri and Louisiana. See Hoft Decl. ¶ 3 (Missouri-based speaker with 400,000 Twitter

  followers, 650,000 Facebook followers, 98,000 YouTube subscribers, 205,000 Instagram

  followers); Kulldorff Decl. ¶ 7 (“250,800 followers on Twitter and 13,400 contacts and followers

  on LinkedIn”); Kheriaty Decl. ¶ 3 (158,000 Twitter followers, even though artificially capped by

  Twitter); Allen Decl. ¶ 15 (the entire YouTube channel of a conservative talk-radio station based

  in Missouri); Changizi Decl. ¶ 7 (37,000 Twitter followers); Senger Decl. ¶ 3 (112,000 Twitter

  followers); Kotzin Decl. ¶¶ 3-4 (31,900 followers); Kitchen Decl. ¶ 32 (over 44,000 Twitter

  followers). These declarants provide only a representative slice of the enormous suppressions

  inflicted by Defendants’ conduct on countless similarly situated speakers and audiences, including

  in Missouri and Louisiana. See, e.g., Bhattacharya Decl. ¶ 31.

     473.        Defendants’ censorship squelches Plaintiffs’ core political speech on matters of

  great public concern. This includes speech relating to COVID-19 policies—especially speech

  criticizing the government’s response to COVID-19. See, e.g., Hoft Decl. ¶¶ 6, 12; Bhattacharya

  Decl. ¶¶ 15-31; Kulldorff Decl. ¶¶ 14-30; Kheriaty Decl. ¶¶ 16-17; Hines Decl. ¶¶ 7-14. It also

  extends to speech about election security and integrity, including core political speech. See, e.g.,




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  Hoft Decl. ¶¶ 7-8, 14; Allen Decl. ¶ 14-15; Flesh Decl. ¶ 8. And the censorship targets speech

  simply because it is critical of the President of the United States. See, e.g., Hoft Decl. ¶ 10.

     474.        Government-induced censorship of Plaintiffs’ and others’ speech is achieved

  through a wide variety of methods, ranging from complete bans, temporary bans, insidious

  “shadow bans” (where neither the user nor his audience is notified of the suppression), deboosting,

  de-platforming, de-monetizing, restricting access to content, imposing warning labels that require

  click-through to access content, and many other ways. These include temporary and permanent

  suspensions of many speakers. See, e.g., Hoft Decl. ¶¶ 6-8; Kheriaty Decl. ¶ 16; Bhattacharya

  Decl. ¶ 16; Changizi Decl. ¶¶ 18-23; Allen Decl. ¶ 15; see also Bhattacharya Decl. ¶ 31 (“Twitter,

  LinkedIn, YouTube, Facebook, they have permanently suspended many accounts—including

  scientists.”). It includes suppressing specific content, such as removing or blocking social-media

  posts and videos. See, e.g., Hoft Decl. ¶ 14; Bhattacharya Decl. ¶¶ 17-18; Changizi Decl. ¶ 36. It

  includes demonetization by technology firms, see Hoft Decl. ¶ 19, and deboosting search results

  to bury the most relevant results, Bhattacharya Decl. ¶ 16. It includes suppressing posts in news

  feeds, and imposing advisory labels and “sensitive content” labels, making it more difficult to

  access specific content. See, e.g., Hoft Decl. ¶ 13; Changizi Decl. ¶ 27-28. It includes insidious

  methods of censorship like surreptitious de-boosting and “shadow-banning,” where the censor

  does not notify the speaker or the audience of the censorship. Many speakers discover through

  circumstantial methods that they have been shadow-banned. See, e.g., Kheriaty Decl. ¶¶ 14-15. It

  includes indirect methods of shadow-banning such as artificially limiting the number of followers

  of a disfavored account. Kheriaty Decl. ¶¶ 12-13; Changizi Decl. ¶ 31. All these forms of

  censorship directly impact Plaintiffs and their social-media audiences, and they continue to do so.




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     475.        Such censorship has compounded effects on the freedom of expression, creating

  massive distortions in the free marketplace of ideas. As noted above, much speech is suppressed

  in secret, so the speakers and audience never know whether or how much speech was silenced.

  See, e.g., Kheriaty Decl. ¶¶ 14-15. Censorship of the principal speaker, moreover, deters other

  speakers from re-tweeting, re-posting, or “amplifying” the content, which suppresses even more

  speech and further artificially reduces the speakers’ audience. See Hoft Decl. ¶ 15. And,

  perniciously, censorship commonly leads to self-censorship, as online speakers carefully restrict

  what they say to avoid the (often financially catastrophic) consequences of a suspension or ban.

  See, e.g., Hoft Decl. ¶ 16; Bhattacharya Decl. ¶ 31; Kheriaty Decl. ¶ 16.

     476.        Like the injuries to the State Plaintiffs and their citizens, these injuries to the private

  Plaintiffs and their audiences are imminent and ongoing, and they constitute irreparable harm.

         3.      Defendants’ conduct has directly caused Plaintiffs’ injuries.

     477.        For the reasons alleged in greater detail herein, Defendants’ conduct has directly

  caused and continues to directly cause Plaintiffs’ injuries.          By their campaign of threats,

  coordination, and collusion, Defendants have successfully induced social-media platforms to

  impose acts of censorship that have directly injured all Plaintiffs and their audiences. These are

  acts of censorship that the social-media companies, but for Defendants’ unlawful conduct,

  otherwise would not have imposed.

     478.        Overwhelming evidence supports the conclusion that Defendants have caused

  Plaintiffs’ injuries, alleged above, by inducing social-media platforms to engage in increased

  censorship. As the allegations herein emphasize, there is powerful support for the conclusion of

  direct causation between Defendants’ conduct and Plaintiffs’ free-speech injuries. This evidence

  includes, but is not limited to, the following:



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     479.        First, as alleged above, in the absence of Defendants’ campaign for social-media

  censorship, market forces and other incentives would have and did restrain social-media platforms

  from engaging in the social-media censorship alleged herein. Notably, as noted above, prior to

  Defendants’ campaign of threats and pressure, social-media platforms generally declined to

  engage in the acts of censorship alleged herein.

     480.        Second, as alleged above, the campaign of threats of adverse legal consequences

  from Defendants and their political allies—directly linked to demands for greater censorship—are

  highly motivating to social-media platforms, because they address matters of great import and

  potential legal vulnerability, such as Section 230 immunity and the prospect of antitrust

  enforcement. These threats became even more motivating at the beginning of 2021, when

  Defendants and their allies took control of the Executive Branch, with all its powerful agencies,

  and both Houses of Congress, indicating that they had the ability to carry out their threats. By

  responding to these threats, social-media platforms are merely “reacting in predictable ways,” and

  their greatly increased censorship is merely “the predictable effect of Government action on the

  decisions of third parties.” Department of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019).

     481.        Third, the timing of many censorship decisions—coming immediately after

  Defendants’ demands for increased censorship—strongly supports the conclusion that Defendants’

  conduct has caused the censorship of free speech on social media. As alleged further herein, there

  are many examples of censorship crack-downs by social-media platforms that immediately

  followed demands for censorship from federal officials, including Defendants. These include, but

  are not limited to, (1) the en masse deplatforming of the “Disinformation Dozen” after Jen Psaki

  publicly demanded it; (2) the censorship of the Great Barrington Declaration and Plaintiffs

  Bhattacharya and Kulldorff just after a senior HHS official called for a “quick and devastating …



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  take-down” of the Declaration, Bhattacharya Decl. ¶¶ 6, 14; id. ¶¶ 15-31; and (3) Twitter’s

  deplatforming of Alex Berenson just after the President stated, “They’re killing people” and Dr.

  Fauci publicly singled out Berenson; among many others.

     482.        Fourth, Defendants have openly admitted that they and other federal officials are

  directly involved in specific censorship decisions by social-media platforms. Among other

  examples, Jen Psaki publicly admits that “we’re flagging problematic posts for Facebook” and that

  “they certainly understand what our asks are.” Secretary Mayorkas states that “we’re working

  together … with the tech companies that are the platform for much of the disinformation that

  reaches the American public, how they can better use their terms of use to really strengthen the

  legitimate use of their very powerful platforms and prevent harm from occurring,” and that this

  collaboration is happening “across the federal enterprise.” Easterly states that she works directly

  “with our partners in the private sector and throughout the rest of the government and at the

  department to continue to ensure that the American people have the facts that they need to help

  protect our critical infrastructure.” CISA openly states that its “MDM team serves as a switchboard

  for routing disinformation concerns to appropriate social media platforms.” And so forth.

     483.         Fifth, social-media platforms openly admit that they consult with and rely on

  government officials to identify what content to censor. For example, Facebook’s “COVID and

  Vaccine Policy Updates and Protections” states that Facebook does “not allow false claims about

  the vaccines or vaccination programs which public health experts have advised us could lead to

  COVID-19 vaccine rejection.” (emphasis added). As noted above, “[a] Facebook spokesperson

  said the company has partnered with government experts, health authorities and researchers to take

  ‘aggressive action against misinformation about COVID-19 and vaccines to protect public

  health.’” Twitter, likewise, admits that it coordinates with government officials in identifying what



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  to censor. For example, its “Civic integrity policy” states that Twitter “will label or remove false

  or misleading information intended to undermine public confidence in an election or other civic

  process” and that it “work[s] with select government and civil society partners in these countries

  to provide additional channels for reporting and expedited review” of so-called “misinformation.”

  Twitter’s “COVID-19 misleading information policy” states that it “primarily enforce[s] this

  policy in close coordination with trusted partners, including public health authorities, NGOs and

  governments, and continue[s] to use and consult with information from those sources when

  reviewing content.” Similarly, YouTube’s “COVID-19 medical misinformation policy” states that

  “YouTube doesn’t allow content that spreads medical misinformation that contradicts local health

  authorities’ or the World Health Organization’s medical information about COVID-19. …

  YouTube’s policies on COVID-19 are subject to change in response to changes to global or local

  health authorities’ guidance on the virus.”

     484.        Sixth, the content of the censorship decisions evidences Defendants’ direct

  influence on censorship, because those decisions focus on the areas of concern for Defendants and

  uniformly favor Defendants’ preferred narratives. For example, Dr. Kheriaty notes that “[t]he

  pattern of content censored on these social media platforms mirrors closely the CDC and Biden

  administration policies…. [A]ny content that challenges those federal policies is subject to severe

  censorship, without explanation, on Twitter and YouTube—even when the information shared is

  taken straight from peer-reviewed scientific literature.” Kheriaty Decl. ¶ 18. Regarding shadow-

  banning in particular, he observes that “[t]he posts most subject to this were those that challenged

  the federal government’s preferred covid policies.” Kheriaty Decl. ¶ 15. Likewise, the censorship

  of social-media speech about COVID-19 and election security directly reflects the calls for

  censorship from federal officials. Hoft Decl. ¶¶ 4, 16. Censorship of Hoft’s speech has focused



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  on topics specifically targeted for censorship by DHS as “domestic terrorism,” including in its

  National Terrorism Advisory System Bulletin from February 7, 2022. Hoft Decl. ¶ 20; id. Ex. 7,

  at 1. Further, this censorship is heavily one-sided in the government’s favor—“Twitter notoriously

  suspends only those who question the wisdom and efficacy of government restrictions, or who cast

  doubt on the safety or efficacy of the vaccines,” but “there are no examples of Twitter suspending

  individuals who have spread misinformation from the other side—by, for example, exaggerating

  the efficacy of masks or the threat the virus poses to children.” Changizi Decl. ¶¶ 50-51; see also

  Kotzin Decl. ¶ 33.      As Dr. Bhattacharya notes, “Having observed and lived through the

  government-driven censorship of the Great Barrington Declaration and its co-authors, it is clear to

  me that these attacks were politically driven by government actors.” Bhattacharya Decl. ¶ 32.

     485.         Seventh, the revelation of recent internal documents—such as the DGB

  whistleblower documents, and the CDC emails released last week—demonstrate beyond any

  possible doubt that Defendants are directly involved in and are directing social-media censorship

  decisions, both by identifying high-level topics of censorship and by identifying specific posts and

  types of postings for censorship. CDC and Census Bureau officials demonstrate that this direct,

  collusive involvement of federal officials in specific and general censorship decisions happens on

  a wide scale, and the DGB documents quoted above indicate that such “MDM”-censorship

  activities are occurring “across the federal enterprise.” The documents revealed in discovery and

  filed with the Court reflect the same practices among all other Defendants, as alleged further

  herein.

     486.         For all these reasons, among others, it is perfectly clear that Defendants’ conduct

  has caused the general and specific censorship policies and decisions alleged herein.




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     487.        For similar reasons, an order and judgment from this Court preventing the

  continuation of Defendants’ conduct will redress Plaintiffs’ ongoing injuries. Defendants’ conduct

  has caused social-media platforms to engage in the censorship decisions that have injured

  Plaintiffs, and an order ceasing Defendants’ conduct will alleviate those injuries.

     488.        Defendants are continuing, and are likely to continue, to engage in the unlawful

  conduct alleged herein.

                                      CLASS ALLEGATIONS

     489.        Pursuant Federal Rule of Civil Procedure 23(a) and 23(b)(2), Plaintiffs

  Bhattacharya, Hines, Hoft, Kheriaty, and Kulldorff bring this action on behalf of themselves and

  two classes of other persons similarly situated to them.

     490.        Plaintiffs propose to define the first class (“Class 1”) as follows: The class of social-

  media users who have engaged or will engage in, or who follow, subscribe to, are friends with, or

  are otherwise connected to the accounts of users who have engaged or will engage in, speech on

  any social-media company’s platform(s) that has been or will be removed; labelled; used as a basis

  for suspending, deplatforming, issuing strike(s) against, demonetizing, or taking other adverse

  action against the speaker; downranked; deboosted; concealed; or otherwise suppressed by the

  platform after Defendants and/or those acting in concert with them flag or flagged the speech to

  the platform(s) for suppression.

     491.        Plaintiffs propose to define the second class (“Class 2”) as follows: The class of

  social-media users who have engaged in or will engage in, or who follow, subscribe to, are friends

  with, or are otherwise connected to the accounts of users who have engaged in or will engage in,

  speech on any social-media company’s platform(s) that has been or will be removed; labelled;

  used as a basis for suspending, deplatforming, issuing strike(s) against, demonetizing, or taking



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  other adverse action against the speaker; downranked; deboosted; concealed; or otherwise

  suppressed by the company pursuant to any change to the company’s policies or enforcement

  practices that Defendants and/or those acting in concert with them have induced or will induce the

  company to make.

     492.        Class 1 is sufficiently numerous that joinder of all members is impracticable.

  Defendants’ conduct, as alleged further herein, involves flagging for suppression the social-media

  content of hundreds of users with, collectively, hundreds of thousands or millions of followers.

     493.        Class 2 is sufficiently numerous that joinder of all members is impracticable. As

  alleged further herein, Defendants’ conduct has resulted policy and enforcement-practice changes

  at social-media platforms that have caused censorship affecting thousands if not millions of social-

  media users as speakers and/or audience members.

     494.         Class 1 members’ claims share questions of law or fact in common, including the

  question whether the government is responsible for a social-media company’s suppression of

  content that the government flags to the company for suppression.

     495.        Class 2 members’ claims share questions of law or fact in common, including the

  question whether the government is responsible for a social-media company’s suppression of

  content pursuant to a policy or enforcement practice that the government induced the company to

  adopt or enforce.

     496.        The individual Plaintiffs’ claims are typical of those of Class 1 members. The

  claims of the individual Plaintiffs and Class 1 members all arise from the same course of conduct

  by Defendants, namely, their practice of particular flagging content to social-media companies for

  suppression, and they are all based on the same legal theory, namely, the theory that such conduct




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  violates the First Amendment. The individual Plaintiffs are not subject to any affirmative defenses

  that are inapplicable to the rest of the class and likely to become a major focus of the case.

      497.        The individual Plaintiffs’ claims are typical of those of Class 2 members. The

  claims of the individual Plaintiffs and Class 2 members all arise from the same course of conduct

  by Defendants, namely, their practice of inducing social-media companies to adopt stricter

  content-moderation policies and enforcement practices, and are all based on the same legal theory,

  namely, the theory that such conduct violates the First Amendment. The individual Plaintiffs are

  not subject to any affirmative defenses that are inapplicable to the rest of the class and likely to

  become a major focus of the case.

      498.       The individual Plaintiffs are willing and able to take an active role in the case,

  control the course of litigation, and protect the interests of absentees in both classes. No conflicts

  of interest currently exist or are likely to develop between Private Plaintiffs and absentees in either

  class.

      499.       The proposed class counsel are two of the individual Plaintiffs’ counsel, John J.

  Vecchione and John C. Burns. Mr. Vecchione and Mr. Burns have extensive experience litigating

  class actions and/or First Amendment and other civil-rights cases. Mr. Vecchione and Mr. Burns

  have the zeal and competence required to provide adequate representation for both classes.

      500.       The proposed classes are defined in terms that are objective and precise.

      501.       Defendants have acted on grounds that apply generally to both classes in that

  Defendants have targeted speech expressed by or addressed to members of both classes on the

  ground that the speech expresses a viewpoint Defendants disfavor. Consequently, injunctive relief

  and corresponding declaratory relief is appropriate respecting each class as a whole.

                                       CLAIMS FOR RELIEF



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                 COUNT ONE – VIOLATION OF THE FIRST AMENDMENT
                                Against All Defendants

     502.        All foregoing Paragraphs are incorporated as if set forth fully herein.

     503.        The First Amendment prohibits Congress from making laws “abridging the

  freedom of speech.” U.S. CONST. amend. I. This prohibition applies to restrictions on speech by

  all branches of the federal government. Matal v. Tam, 137 S. Ct. 1744, 1757 (2017).

     504.        The Constitutions of Missouri, Louisiana, and every other State provide similar or

  more robust protection for free-speech rights.

     505.        An enormous amount of speech and expression occurs of social media. Social-

  media platforms have become, in many ways, “the modern public square.” Packingham, 137 S.

  Ct. at 1737. Social media platforms provide “perhaps the most powerful mechanisms available to

  a private citizen to make his or her voice heard.” Id. They also permit private citizens to interact

  directly with public and elected officials.

     506.        Social-media platforms are akin to common carriers and/or public accommodations

  that, under longstanding statutory and common-law doctrines, should be subject to non-

  discrimination rules in accessing their platforms, which discrimination on the basis of content and

  viewpoint would violate.

     507.        “Historically, at least two legal doctrines limited a company’s right to exclude.”

  Knight First Amendment Institute, 141 S. Ct. at 1222 (Thomas, J., concurring). “First, our legal

  system and its British predecessor have long subjected certain businesses, known as common

  carriers, to special regulations, including a general requirement to serve all comers.” Id. “Second,

  governments have limited a company’s right to exclude when that company is a public

  accommodation. This concept—related to common-carrier law—applies to companies that hold

  themselves out to the public but do not ‘carry’ freight, passengers, or communications.” Id.

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  Absent the artificial immunity created by the overbroad interpretations of Section 230 immunity,

  these legal doctrines—along with private and free-market forces—would impose a powerful check

  on content- and viewpoint-based discrimination by social-media platforms. See id.

     508.          As alleged further herein, through Section 230 immunity and other actions, the

  federal government has abrogated these legal restraints on social-media censorship; it has

  artificially subsidized, encouraged, and enabled the emergence of a small group of immensely

  powerful social-media companies; and it has conferred on that cartel powerful legal shields

  protecting its ability to censor and suppress speech on social media based on content and viewpoint

  with impunity.

     509.          As alleged further herein, Defendants have coerced, threatened, and pressured

  social-media platforms to censor disfavored speakers and viewpoints by using threats of adverse

  government action, including threats of increased regulation, antitrust enforcement or legislation,

  and repeal or amendment of Section 230 CDA immunity, among others.

     510.          As alleged further herein, Defendants also hold out the “carrot” of continued

  protection under Section 230 and antitrust law, and thus preserving the legally favored status of

  social-media platforms. Commentators have aptly summarized this carrot-stick dynamic: “Section

  230 is the carrot, and there’s also a stick: Congressional Democrats have repeatedly made explicit

  threats to social-media giants if they failed to censor speech those lawmakers disfavored.” Vivek

  Ramaswamy and Jed Rubenfeld, Save the Constitution from Big Tech: Congressional threats and

  inducements make Twitter and Facebook censorship a free-speech violation, WALL STREET

  JOURNAL (Jan. 11, 2021). “Facebook and Twitter probably wouldn’t have become behemoths

  without Section 230.” Id. “Either Section 230 or congressional pressure alone might be sufficient

  to create state action. The combination surely is.” Id.



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     511.        As alleged further herein, as a result of such threats and inducements, Defendants

  are now directly colluding with social-media platforms to censor disfavored speakers and

  viewpoints, including by pressuring them to censor certain content and speakers, and “flagging”

  disfavored content and speakers for censorship. Defendants have thus engaged in joint action with

  private parties and acted in concert with private parties to deprive Plaintiffs, Missourians,

  Louisianans, and Americans of their constitutional rights under the First Amendment and related

  state-law rights.

     512.        Defendants’ actions constitute government action for at least five independently

  sufficient reasons: (1) absent federal intervention, common-law and statutory doctrines, as well as

  voluntary conduct and natural free-market forces, would have restrained the emergence of

  censorship and suppression of speech of disfavored speakers, content, and viewpoint on social

  media; and yet (2) through Section 230 of the CDA and other actions, the federal government

  subsidized, fostered, encouraged, and empowered the creation of a small number of massive

  social-media companies with disproportionate ability to censor and suppress speech on the basis

  of speaker, content, and viewpoint; (3) such inducements as Section 230 and other legal benefits

  (such as the absence of antitrust enforcement) constitute an immensely valuable benefit to social-

  media platforms to do the bidding of federal government officials; (4) federal officials—including,

  most notably, Defendants herein—have repeatedly and aggressively threatened to remove these

  legal benefits and impose other adverse consequences on social-media platforms if they do not

  increase censorship and suppression of disfavored speakers, content, and viewpoints; and (5)

  Defendants herein, conspiring and colluding both with each other and social-media firms, have

  directly coordinated with social-media platforms to identify disfavored speakers, viewpoints, and

  content and have procured the actual censorship and suppression of them on social media. These



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  factors, considered either individually or collectively, establish that the social-media censorship

  alleged herein constitutes government action. These actions have dramatically impacted the

  fundamental right of free speech in Missouri, Louisiana, and America, both on social media and

  elsewhere.

     513.          As alleged herein, Defendants have acted in concert both with each other, and with

  others, to violate the First Amendment and state-level free speech rights.

     514.          Defendants’ actions violate the First Amendment and analogous state constitutional

  protections. The First Amendment is violated where, as here, “if the government coerces or

  induces it to take action the government itself would not be permitted to do, such as censor

  expression of a lawful viewpoint.” Biden v. Knight First Amendment Institute at Columbia Univ.,

  141 S. Ct. 1220, 1226 (2021) (Thomas, J., concurring). “The government cannot accomplish

  through threats of adverse government action what the Constitution prohibits it from doing

  directly.” Id.

     515.          The censorship and suppression of speech that Defendants have induced social-

  media platforms to impose on disfavored speakers, content, and viewpoints constitute forms of

  prior restraints on speech, which are the most severe restrictions and the most difficult to justify

  under the First Amendment. “One obvious implication of” the First Amendment’s text “is that the

  government usually may not impose prior restraints on speech.” Houston Cmty. Coll. Sys. v.

  Wilson, 142 S. Ct. 1253, 1259 (2022).

     516.          These actions have injured and continue to injure Plaintiffs, as well as Missouri’s,

  Louisiana’s, and other States’ citizens, both speakers and users of social media, and they have

  injured Missourians, Louisianans, and Americans who do not use social media by their predictable




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  effect on the availability of information through social-media users, who often repeat or

  communicate information presented on social media to non-users.

      517.        These actions have also injured and continue to injure Plaintiffs, as well as

  Missouri’s, Louisiana’s, and other States’ citizens, by broadly chilling the exercise of free-speech

  rights on social-media platforms. This injures the First Amendment and state-level rights of all

  citizens, both users and non-users of social media, by reducing the availability of free speech in a

  free marketplace of ideas. Much social-media speech is available to non-users of social media on

  the internet, and social-media users convey speech and information learned on social media

  platforms to non-users of social media through many other means. Suppressing speech on social

  media, therefore, directly impacts the First Amendment rights of non-social media users, as well

  as users.

      518.        Defendants’ interference with First Amendment and state free-speech rights of

  Plaintiffs and virtually all Missourians, Louisianans, and Americans is per se unconstitutional, and

  even if not, it cannot be justified under any level of constitutional scrutiny.

      519.        Defendants’ interference with First Amendment rights of Plaintiffs and virtually all

  Missourians and Louisianans also interferes with rights that the States guaranteed to them under

  their respective state constitutions. Defendants’ interference thus undermines the system of rights

  the States provided to their citizens, effectively limiting the reach of each State’s fundamental law

  and thwarting the fundamental policies of each sovereign State.

      520.        Defendants’ conduct inflicts imminent, ongoing, and continuing irreparable injury

  on Plaintiffs, as alleged further herein.

      521.        Subject to the limitation that the Court may grant only declaratory and not

  injunctive relief against the President in his official capacity, the Court has inherent authority to



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  declare, enjoin, restrain, enter judgment, and impose penalties on Defendants and other federal

  actors, and those acting in concert with them, to prevent and restrain violations of federal law,

  including the First Amendment. “The ability to sue to enjoin unconstitutional actions by state and

  federal officers is the creation of courts of equity, and reflects a long history of judicial review of

  illegal executive action, tracing back to England.” Armstrong v. Exceptional Child Center, Inc.,

  575 U.S. 320, 327 (2015).

            COUNT TWO – ACTION IN EXCESS OF STATUTORY AUTHORITY
                             Against All Defendants

     522.           All foregoing Paragraphs are incorporated as if set forth fully herein.

     523.           No federal statute authorizes the Defendants’ conduct in engaging in censorship,

  and conspiracy to censor, in violation of Plaintiffs’, Missourians’, Louisianans’, and Americans’

  free-speech rights.

     524.           “An agency’s power is no greater than that delegated to it by Congress.” Lyng v.

  Payne, 476 U.S. 926, 937 (1986). Agency actions that exceed the agency’s statutory authority are

  ultra vires and must be invalidated.

     525.           No statute authorizes any Defendants—including but not limited to White House

  officials, HHS officials, DHS officials, and any other federal officials or agencies—to engage in

  the course of conduct regarding the censorship and suppression of speech on social media as

  alleged herein.

     526.           No statute authorizes Defendants—including but not limited to White House

  officials, HHS officials, DHS officials, and any other federal officials or agencies—to identify

  what constitutes “misinformation,” “disinformation,” and/or “malinformation” in public discourse

  on social-media platforms; to direct, pressure, coerce, and encourage social-media companies to

  censor and suppress such speech; and/or to demand that private companies turn over information

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  about speech and speakers on their platforms in the interest of investigating “misinformation,”

  “disinformation,” and/or “malinformation.”

     527.           Further, the interpretation of any statute to authorize these actions would violate the

  non-delegation doctrine, the canon of constitutional avoidance, the major-questions doctrine, the

  Supreme Court’s clear-statement rules, and other applicable principles of interpretation. No statute

  may be properly construed to do so.

     528.           Defendants and the federal officials acting in concert with them, by adopting the

  censorship policies and conduct identified herein, have acted and are acting without any lawful

  authority whatsoever, and without any colorable basis for the exercise of authority. No federal

  statute, regulation, constitutional provision, or other legal authority authorizes their social-media-

  censorship program, and it is wholly ultra vires.

     529.           Defendants’ ultra vires actions inflict ongoing irreparable harm on Plaintiffs, as

  alleged herein.

        COUNT THREE – VIOLATION OF ADMINISTRATIVE PROCEDURE ACT
                          Against the HHS Defendants

     530.           All foregoing Paragraphs are incorporated as if set forth fully herein.

     531.           Defendants HHS, NIAID, CDC, FDA, Becerra, Murthy, Crawford, Fauci, Galatas,

  Waldo, Byrd, Choi, Lambert, Peck, Dempsey, Muhammed, Jefferson, Murray, and Kimberly are

  referred to collectively herein as the “HHS Defendants.”

     532.           As set forth herein, the HHS Defendants’ conduct is unlawful, arbitrary and

  capricious, an in excess of statutory authority under the Administrative Procedure Act.

     533.           The APA authorizes courts to hold unlawful and set aside final agency actions that

  are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

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  statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

  of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The HHS Defendants’ conduct

  violates all of these prohibitions.

      534.        Defendants HHS, CDC, and NIAID are “agencies” within the meaning of the APA.

  Defendants Becerra, Fauci, and Murthy, in their official capacities, are the heads of federal

  agencies.

      535.        The HHS Defendants’ conduct alleged herein constitutes “final agency action”

  because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

  520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action from by which “rights

  or obligations have been determined,” and “from which legal consequences will flow.” Id.

  Defendants’ campaign of pressuring, threatening, and colluding with social-media platforms to

  suppress disfavored speakers, content, and speech are final agency actions of this sort. Such

  actions reflect the completion of a decisionmaking process with a result that will directly affect

  Plaintiffs, Missourians, Louisianans, and Americans. Franklin v. Massachusetts, 505 U.S. 788,

  797 (1992). The actions of Defendants alleged herein, on information and belief, reflect and result

  from a specific, discrete, and identifiable decision of Defendants to adopt an unlawful social-media

  censorship program.

      536.        The HHS Defendants’ conduct is arbitrary, capricious, and an abuse of discretion

  because it was not based on any reasoned decisionmaking, ignores critical aspects of the problem,

  disregards settled reliance interests, rests on pretextual post hoc justifications, and overlooks the

  unlawful nature of the HHS Defendants’ conduct, among other reasons. 5 U.S.C. § 706(2)(A).

      537.        The HHS Defendants’ conduct is “contrary to constitutional right, power, privilege,

  or immunity” because it violates the First Amendment rights of Plaintiffs and virtually all



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  Missourians and Louisianans for the reasons discussed herein and in Count One, supra. 5 U.S.C.

  § 706(2)(B).

      538.        The HHS Defendants conduct is “in excess of statutory jurisdiction, authority, or

  limitations, or short of statutory right,” because no statute authorizes any of the conduct alleged

  herein, as discussed in Count Two, supra. 5 U.S.C. § 706(2)(C).

      539.        The HHS Defendants’ conduct was “without observance of procedure required by

  law” because it is a substantive policy or series of policies that affect legal rights that require notice

  and comment, and yet they never engaged in any notice-and-comment process, or other process to

  obtain input from the public, before engaging in these unlawful agency policies. 5 U.S.C.

  § 706(2)(D).

      540.        The HHS Defendants’ conduct is unlawful under the APA and should be set aside.

      COUNT FOUR – VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                         Against the DHS Defendants

      541.        All foregoing Paragraphs are incorporated as if set forth fully herein.

      542.        Defendants DHS, CISA, Mayorkas, Easterly, Silvers, Vinograd, Jankowicz,

  Masterson, Protentis, Hale, Snell, Wyman, and Scully, are referred to collectively herein as the

  “DHS Defendants.”

      543.        As set forth herein, the DHS Defendants’ conduct is unlawful, arbitrary and

  capricious, an in excess of statutory authority under the Administrative Procedure Act.

      544.        The APA authorizes courts to hold unlawful and set aside final agency actions that

  are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance




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  of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The DHS Defendants’ conduct

  violates all of these prohibitions.

      545.        Defendants DHS and CISA are “agencies” within the meaning of the APA.

  Defendants Mayorkas and Easterly, in their official capacities, are the heads of federal agencies.

      546.        The DHS Defendants’ conduct alleged herein constitutes “final agency action”

  because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

  520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action from by which “rights

  or obligations have been determined,” and “from which legal consequences will flow.” Id.

  Defendants’ campaign of pressuring, threatening, and colluding with social-media platforms to

  suppress disfavored speakers, content, and speech are final agency actions of this sort. Such

  actions reflect the completion of a decisionmaking process with a result that will directly affect

  Plaintiffs, Missourians, Louisianans, and Americans. Franklin v. Massachusetts, 505 U.S. 788,

  797 (1992). The actions of Defendants alleged herein, on information and belief, reflect and result

  from a specific, discrete, and identifiable decision of Defendants to adopt an unlawful social-media

  censorship program.

      547.        The DHS Defendants’ conduct is arbitrary, capricious, and an abuse of discretion

  because it was not based on any reasoned decisionmaking, ignores critical aspects of the problem,

  disregards settled reliance interests, rests on pretextual post hoc justifications, and overlooks the

  unlawful nature of the DHS Defendants’ conduct, among other reasons. 5 U.S.C. § 706(2)(A).

      548.        The DHS Defendants’ conduct is “contrary to constitutional right, power, privilege,

  or immunity” because it violates the First Amendment and state free-speech rights of Plaintiffs

  and virtually all Missourians, Louisianans, and Americans for the reasons discussed herein and in

  Count One, supra. 5 U.S.C. § 706(2)(B).



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      549.        The DHS Defendants conduct is “in excess of statutory jurisdiction, authority, or

  limitations, or short of statutory right,” because no statute authorizes any of the conduct alleged

  herein, as discussed in Count Two, supra. 5 U.S.C. § 706(2)(C).

      550.        The DHS Defendants’ conduct was “without observance of procedure required by

  law” because it is a substantive policy or series of policies that affect legal rights that require notice

  and comment, and yet they never engaged in any notice-and-comment process, or other process to

  obtain input from the public, before engaging in these unlawful agency policies. 5 U.S.C.

  § 706(2)(D).

      551.        The DHS Defendants’ conduct is unlawful under the APA and should be set aside.

       COUNT FIVE – VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                          Against the Census Defendants

      552.        All foregoing Paragraphs are incorporated as if set forth fully herein.

      553.        Defendants Department of Commerce, Census Bureau, Shopkorn, Schwartz,

  Molina-Irizarry, and Galemore are referred to collectively herein as the “Census Defendants.”

      554.        As set forth herein, the Census Defendants’ conduct is unlawful, arbitrary and

  capricious, and in excess of statutory authority under the Administrative Procedure Act.

      555.        The APA authorizes courts to hold unlawful and set aside final agency actions that

  are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

  of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The Census Defendants’ conduct

  violates all of these prohibitions.

      556.        Defendants Department of Commerce and Census Bureau are “agencies” within

  the meaning of the APA.

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     557.        The Census Defendants’ conduct alleged herein constitutes “final agency action”

  because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

  520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action by which “rights or

  obligations have been determined,” and “from which legal consequences will flow.”                 Id.

  Defendants’ campaign of pressuring, threatening, and colluding with social-media platforms to

  suppress disfavored speakers, content, and speech are final agency actions of this sort. Such

  actions reflect the completion of a decisionmaking process with a result that will directly affect

  Plaintiffs, Missourians, Louisianans, and Americans. Franklin v. Massachusetts, 505 U.S. 788,

  797 (1992). The actions of Defendants alleged herein, on information and belief, reflect and result

  from a specific, discrete, and identifiable decision of Defendants to adopt an unlawful social-media

  censorship program.

     558.        The Census Defendants’ conduct is arbitrary, capricious, and an abuse of discretion

  because it was not based on any reasoned decisionmaking, ignores critical aspects of the problem,

  disregards settled reliance interests, rests on pretextual post hoc justifications, and overlooks the

  unlawful nature of the Census Defendants’ conduct, among other reasons. 5 U.S.C. § 706(2)(A).

     559.        The Census Defendants’ conduct is “contrary to constitutional right, power,

  privilege, or immunity” because it violates the First Amendment and state free-speech rights of

  Plaintiffs and virtually all Missourians, Louisianans, and Americans for the reasons discussed

  herein and in Count One, supra. 5 U.S.C. § 706(2)(B).

     560.        The Census Defendants conduct is “in excess of statutory jurisdiction, authority, or

  limitations, or short of statutory right,” because no statute authorizes any of the conduct alleged

  herein, as discussed in Count Two, supra. 5 U.S.C. § 706(2)(C).




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      561.        The Census Defendants’ conduct was “without observance of procedure required

  by law” because it is a substantive policy or series of policies that affect legal rights that require

  notice and comment, and yet they never engaged in any notice-and-comment process, or other

  process to obtain input from the public, before engaging in these unlawful agency policies. 5

  U.S.C. § 706(2)(D).

      562.        The Census Defendants’ conduct is unlawful under the APA and should be set

  aside.

       COUNT SIX – VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                           Against the FBI Defendants

      563.        All foregoing Paragraphs are incorporated as if set forth fully herein.

      564.        Defendants U.S. Department of Justice, FBI, Dehmlow, and Chan referred to

  collectively herein as the “FBI Defendants.”

      565.        As set forth herein, the FBI Defendants’ conduct is unlawful, arbitrary and

  capricious, and in excess of statutory authority under the Administrative Procedure Act.

      566.        The APA authorizes courts to hold unlawful and set aside final agency actions that

  are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

  of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The FBI Defendants’ conduct

  violates all of these prohibitions.

      567.        Defendants DOJ and FBI are “agencies” within the meaning of the APA.

      568.        The FBI Defendants’ conduct alleged herein constitutes “final agency action”

  because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

  520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action by which “rights or

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  obligations have been determined,” and “from which legal consequences will flow.”                      Id.

  Defendants’ campaign of pressuring, threatening, and colluding with social-media platforms to

  suppress disfavored speakers, content, and speech are final agency actions of this sort. Such

  actions reflect the completion of a decisionmaking process with a result that will directly affect

  Plaintiffs, Missourians, Louisianans, and Americans. Franklin v. Massachusetts, 505 U.S. 788,

  797 (1992). The actions of Defendants alleged herein, on information and belief, reflect and result

  from a specific, discrete, and identifiable decision of Defendants to adopt an unlawful social-media

  censorship program.

      569.        The FBI Defendants’ conduct is arbitrary, capricious, and an abuse of discretion

  because it was not based on any reasoned decisionmaking, ignores critical aspects of the problem,

  disregards settled reliance interests, rests on pretextual post hoc justifications, and overlooks the

  unlawful nature of the FBI Defendants’ conduct, among other reasons. 5 U.S.C. § 706(2)(A).

      570.        The FBI Defendants’ conduct is “contrary to constitutional right, power, privilege,

  or immunity” because it violates the First Amendment and state free-speech rights of Plaintiffs

  and virtually all Missourians, Louisianans, and Americans for the reasons discussed herein and in

  Count One, supra. 5 U.S.C. § 706(2)(B).

      571.        The FBI Defendants’ conduct is “in excess of statutory jurisdiction, authority, or

  limitations, or short of statutory right,” because no statute authorizes any of the conduct alleged

  herein, as discussed in Count Two, supra. 5 U.S.C. § 706(2)(C).

      572.        The FBI Defendants’ conduct was “without observance of procedure required by

  law” because it is a substantive policy or series of policies that affect legal rights that require notice

  and comment, and yet they never engaged in any notice-and-comment process, or other process to




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  obtain input from the public, before engaging in these unlawful agency policies. 5 U.S.C.

  § 706(2)(D).

     573.        The FBI Defendants’ conduct is unlawful under the APA and should be set aside.

     COUNT SEVEN – VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                     Against the State Department Defendants

     574.        All foregoing Paragraphs are incorporated as if set forth fully herein.

     575.        Defendants Department of State, Bray, Stewart, Kimmage, and Frisbie are referred

  to collectively herein as the “State Department Defendants.”

     576.        As set forth herein, the State Department Defendants’ conduct is unlawful, arbitrary

  and capricious, and in excess of statutory authority under the Administrative Procedure Act.

     577.        The APA authorizes courts to hold unlawful and set aside final agency actions that

  are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

  statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

  of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The State Department Defendants’

  conduct violates all of these prohibitions.

     578.        Defendant U.S State Department is an “agency” within the meaning of the APA.

     579.        The State Department Defendants’ conduct alleged herein constitutes “final agency

  action” because it “marks the consummation of the agency’s decisionmaking process.” Bennett v.

  Spear, 520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action by which “rights

  or obligations have been determined,” and “from which legal consequences will flow.” Id.

  Defendants’ campaign of pressuring, threatening, and colluding with social-media platforms to

  suppress disfavored speakers, content, and speech are final agency actions of this sort. Such

  actions reflect the completion of a decisionmaking process with a result that will directly affect

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  Plaintiffs, Missourians, Louisianans, and Americans. Franklin v. Massachusetts, 505 U.S. 788,

  797 (1992). The actions of Defendants alleged herein, on information and belief, reflect and result

  from a specific, discrete, and identifiable decision of Defendants to adopt an unlawful social-media

  censorship program.

      580.        The State Department Defendants’ conduct is arbitrary, capricious, and an abuse of

  discretion because it was not based on any reasoned decisionmaking, ignores critical aspects of the

  problem, disregards settled reliance interests, rests on pretextual post hoc justifications, and

  overlooks the unlawful nature of the State Department Defendants’ conduct, among other reasons.

  5 U.S.C. § 706(2)(A).

      581.        The State Department Defendants’ conduct is “contrary to constitutional right,

  power, privilege, or immunity” because it violates the First Amendment and state free-speech

  rights of Plaintiffs and virtually all Missourians, Louisianans, and Americans for the reasons

  discussed herein and in Count One, supra. 5 U.S.C. § 706(2)(B).

      582.        The State Department Defendants’ conduct is “in excess of statutory jurisdiction,

  authority, or limitations, or short of statutory right,” because no statute authorizes any of the

  conduct alleged herein, as discussed in Count Two, supra. 5 U.S.C. § 706(2)(C).

      583.        The State Department Defendants’ conduct was “without observance of procedure

  required by law” because it is a substantive policy or series of policies that affect legal rights that

  require notice and comment, and yet they never engaged in any notice-and-comment process, or

  other process to obtain input from the public, before engaging in these unlawful agency policies.

  5 U.S.C. § 706(2)(D).

      584.        The State Department Defendants’ conduct is unlawful under the APA and should

  be set aside.



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                                       PRAYER FOR RELIEF

         Plaintiffs respectfully request that the Court enter judgment in their favor and grant the

  following relief:

         A.      Certify this case as a class action under Federal Rule of Civil Procedure 23(b)(2),

  as proposed herein; appoint Plaintiffs Bhattacharya, Hines, Hoft, Kheriaty, and Kulldorff as class

  representatives; and appoint John J. Vecchione and John C. Burns as class counsel;

         B.      Declare that Defendants’ conduct violates the First Amendment of the U.S.

  Constitution and analogous provisions of Missouri’s, Louisiana’s, and other States’ Constitutions;

         C.      Declare that Defendants’ conduct is ultra vires and exceeds their statutory

  authority;

         D.      Declare that Defendants’ conduct violates the Administrative Procedure Act and is

  unlawful, and vacate and set aside such conduct;

         E.      Preliminarily and permanently enjoin Defendants (except for President Biden),

  their officers, officials, agents, servants, employees, attorneys, and all persons acting in concert or

  participation with them, from continuing to engage in unlawful conduct as alleged herein;

         F.      Preliminarily and permanently enjoin Defendants (except for President Biden),

  their officers, officials, agents, servants, employees, attorneys, and all persons acting in concert or

  participation with them, from taking any steps to demand, urge, pressure, or otherwise induce any

  social-media platform to censor, suppress, de-platform, suspend, shadow-ban, de-boost, restrict

  access to content, or take any other adverse action against any speaker, content or viewpoint

  expressed on social media; and

         G.      Grant such other and further relief as the Court may deem just and proper.




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   Dated: March 20, 2023                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that, on March 20, 2023, I caused a true and correct copy of the foregoing

  to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

  electronic filing system on counsel for all parties who have entered in the case.

                                                        /s/ Charles F. Capps




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION


  STATE OF LOUISIANA,            STATE    OF
  MISSOURI, et al.,

         Plaintiffs,

  v.                                                   No. 3:22-cv-01213-TAD-KDM

  JOSEPH R. BIDEN, JR.,
  in his official capacity as President of the
  United States, et al.,

         Defendants.




                   PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT
                     OF MOTION FOR PRELIMINARY INJUNCTION




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                                         INTRODUCTION

        Suppose that the Trump White House, backed by Republicans controlling both Houses of

 Congress, publicly demanded that all libraries in the United States burn books criticizing the

 President, and the President made statements implying that the libraries would face ruinous legal

 consequences if they did not comply, while senior White House officials privately badgered the

 libraries for detailed lists and reports of such books that they had burned—and the libraries, after

 months of such pressure, complied with those demands and burned the books.

        Suppose that, after four years of pressure from senior congressional staffers in secret

 meetings threatening the libraries with adverse legislation if they did not cooperate, the FBI started

 sending all libraries in the United States detailed lists of the books the FBI wanted to burn,

 requesting that the libraries report back to the FBI by identifying the books that they burned—and

 the libraries complied by burning about half of those books.

        Suppose that a federal national security agency teamed up with private research

 institutions, backed by enormous resources and federal funding, to establish a mass-surveillance

 and mass-censorship program that uses sophisticated techniques to review hundreds of millions of

 American citizens’ electronic communications in real time, and works closely with tech platforms

 to covertly censor millions of them.

        The first two hypotheticals are directly analogous to the facts of this case. And the third is

 not hypothetical at all—it is a description of the Election Integrity Partnership and Virality Project.

                  RESPONSE TO DEFENDANTS’ STATEMENT OF FACTS

 I.     Defendants’ Introduction Is Rife With “Disinformation.”

        Defendants’ Introduction repeatedly advances factual claims that the evidence

 contradicts—what one might call “disinformation.” This trend persists throughout their brief.



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        Factually, Defendants’ brief goes off the rails in its very first sentence. There, Defendants

 claim that their censorship activities were designed to prevent “hostile foreign assaults on critical

 election infrastructure.” Doc. 266, at 1 (emphasis added). The evidence demonstrates, however,

 that federal censorship overwhelmingly targets domestic speech by American citizens, not

 “foreign” disinformation. For example, Renee DiResta states that “the vast majority of voting

 related misinformation in the 2020 election was domestic.” Doc. 214-1, ¶ 1056 (quoting Scully

 Ex. 7, at 6). The EIP Report agrees that supposed election “misinformation” “was pushed by

 authentic, domestic actors.” Id. ¶ 1220. Alex Stamos stated that “almost all of this is domestic,

 right? … It is all domestic,” id. ¶ 1231, and “the vast, vast majority … is domestic.” Id. ¶ 1233.

 Kate Starbird states that the misinformation is “largely domestic coming from inside the United

 States.” Id. ¶ 1235. The Virality Project admits that, for supposed COVID misinformation,

 “[f]oreign … actors’ reach appeared to be far less than that of domestic actors.” Id. ¶ 1241. The

 FBI’s censorship of supposedly “foreign” speech—in just a tiny handful of examples—swept into

 the censorship net hundreds of thousands of social-media posts and engagements by American

 citizens, as well as organic content by American freelance journalists. Id. ¶¶ 918-922. When

 CISA reports misinformation for censorship, it does not bother to determine whether the speech is

 foreign or domestic—CISA does not “take steps to see whether this came from foreign or domestic

 sources,” but “would just pass it along to the social-media platforms.” Id., ¶ 1033.

        Defendants’ second sentence makes a key admission—that “various agencies and officials

 spoke publicly and privately with social media companies to … call the companies’ attention to

 misinformation spreading on their platforms.”        Doc. 266, at 1.    This sentence admits that

 Defendants are the but-for cause of the censorship. Until Defendants flagged the disfavored




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 content, the platforms did not censor it. As Brian Scully candidly admits, “if it hadn’t been brought

 to their attention then they obviously wouldn’t have moderated it.” Doc. 214-1, ¶ 974.

        Next, Defendants claim that each federal official and agency should be treated as acting

 independently from the others. Doc. 266, at 1; see also id. at 23. On Defendants’ view, it is just

 a stunning coincidence that dozens of federal agencies and officials, all acting in isolation,

 simultaneously decided to pressure social-media platforms to remove disfavored content. Not so.

 The evidence shows extensive coordination among Defendants on social-media censorship.

        For example, the White House’s pressure campaign is closely integrated with the Office of

 Surgeon General. See, e.g., Doc. 214-1, ¶¶ 212, 246, 253, 259, 281, 293, 365, 369. Likewise, the

 censorship campaign of the CDC and the Census Bureau draws directly from White House

 pressure. Id. ¶¶ 395-396, 424, 426, 455-458, 467. NIAID and NIH censorship efforts are

 intertwined and reinforced by CDC. Id. ¶ 827. CISA, FBI, DOJ, ODNI, and other federal agencies

 are jointly involved in pressuring and colluding with platforms, even participating in the same joint

 meetings, the same collusive activities, and the same campaigns of pressure and deception. Id. ¶¶

 861-866. CISA, the FBI, and other federal law-enforcement and national-security agencies

 colluded on the suppression of the Hunter Biden laptop story. Id. ¶¶ 880-894. NIAID and NIH,

 through their directors Dr. Fauci and Dr. Francis Collins, conspired together on a series of

 censorship campaigns, including relating to the lab-leak theory and the Great Barrington

 Declaration. Id. ¶¶ 596, 598-756, 777-808. NIAID is embedded in the White House’s censorship

 activities, as Dr. Fauci reinforced the White House’s attempts to deplatform Alex Berenson. Id.

 ¶¶ 596, 840-852. CISA and the GEC coordinate both with each other and with private entities in

 a massive surveillance and censorship project, the Election Integrity Partnership. Id. ¶¶ 1132,

 1135, 1153-54, 1175, 1197. OSG, the CDC, and other federal officials coordinate with each other



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 and with the same private entities as CISA and the GEC through the Virality Project. Id. ¶¶ 1279,

 1284. High-level congressional staffers coordinate with the FBI on pressuring platforms to

 increase censorship in secret meetings conducted in Silicon Valley. Id. ¶¶ 950-958. The White

 House’s campaign of public threats against platforms demanding greater censorship, reinforced by

 its political allies in Congress and other senior federal officials, grants coercive force to the

 censorship efforts of all the federal agencies involved. Id. ¶¶ 1-30. Director Easterly’s text

 messages state that CISA wants to “play a coord role” so that relevant agencies can try to

 prebunk/debunk” the “mis/dis trends,” in order to prevent the “chaos” that would result if every

 federal department and agency “is independently reaching out to platforms.” Id. ¶ 1108. Indeed,

 Secretary Mayorkas aptly describes the censorship campaign as occurring “across the federal

 enterprise.” Doc. 268, ¶ 285.

        Next, Defendants claim that “much of the challenged conduct occurred in the previous

 Administration,” as if this is somehow a “factual deficienc[y] in their theory.” Doc. 266, at 1. It

 is not clear why Defendants think so.        Federal social-media censorship violates the First

 Amendment regardless of which Administration or political party does it. Moreover, the evidence

 demonstrates an aggressive acceleration of federal social-media censorship activities, and the

 direct involvement of the White House, once the Biden Administration took office. Many of the

 most egregious acts of censorship in 2020—such as Dr. Fauci’s campaigns to discredit the lab-

 leak theory and the Great Barrington Declaration, CISA’s launching of the Election Integrity

 Partnership, CISA’s “switchboarding,” and the FBI’s and CISA’s campaign to censor the Hunter

 Biden laptop story—were achieved without no White House involvement. In fact, when attacking

 the Great Barrington Declaration, Dr. Collins secretly noted to Dr. Fauci that the White House

 would disapprove, and Dr. Fauci assured him that they have other things to worry about.



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        Once the Biden Administration took office, the White House became directly involved in

 censorship, and the censorship activities dramatically accelerated “across the federal enterprise.”

 Doc. 268, ¶ 285. White House officials started flagging “misinfo” for censorship at 1:04 a.m. on

 their third day in office. Doc. 214-1, ¶ 34. The White House immediately launched a pressure

 campaign on social-media platforms to suppress supposed COVID “misinformation.” Id. ¶¶ 341-

 344. Federal officials’ collaboration with Stanford Internet Observatory and its censorship cartel

 moved out into the open, as Dr. Murthy launched his signature “disinformation” initiative—the

 Surgeon General’s Health Advisory—at a Virality Project event at the Stanford Internet

 Observatory. Id. ¶¶ 1285, 1359. The President himself publicly pressured the platforms on July

 16, 2021, one day after Jennifer Psaki and Dr. Murthy publicly pressured them. Id. ¶ 153.

        Defendants claim that Plaintiffs’ censorship injuries are “far outweighed by the

 Government’s interest in speaking and taking action to promote the public interest.” Doc. 266, at

 4. This argument turns the First Amendment doctrine on its head. The First Amendment protects

 private speech, not government speech, so the government’s free-speech interest gives way:

        [W]hile the Government may certainly select the messages it wishes to convey, this
        freedom is limited by the more fundamental principle that a government entity may not
        employ threats to limit the free speech of private citizens. See Backpage.com, LLC, 807
        F.3d at 235. Plaintiffs are not, as Defendants argue, seeking a “judicial gag order to prevent
        the Executive Branch from expressing its views on important matters of public concern.”
        As the Supreme Court explained: “[W]hile the government-speech doctrine is important—
        indeed, essential—it is a doctrine that is susceptible to dangerous misuse. If private speech
        could be passed off as government speech by simply affixing a government seal of
        approval, government could silence or muffle the expression of disfavored viewpoints.”
        Matal v. Tam, 582 U.S. 218, 235 (2017). The Complaint alleges more than the exercise of
        permissible government speech. It alleges extensive and highly effective efforts by
        government officials to “silence or muffle the expression of disfavored viewpoints.” Id.

 Doc. 224, at 63 (footnote call omitted).

        Finally, Defendants claim that an injunction would “prevent the dissemination of vital

 public health information, communications with social media companies about criminal activity

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 in process on their platforms, and efforts to act on national security threats relating to international

 terrorism and election security.” Doc. 266, at 5. This is flatly wrong. Plaintiffs’ proposed

 injunction would not prevent Defendants making public statements on policy issues, or prevent

 the reporting of ongoing criminal and terrorist activity on platforms. See Doc. 214, at 67-68.

 Instead, it would prevent Defendants from pushing platforms to censor other peoples’ First

 Amendment-protected speech. See id. Defendants can communicate about public health, ongoing

 crimes, and national-security threats without violating Americans’ freedom of speech.

 II.     Defendants’ Proposed Statement of Facts Mischaracterizes the Evidence.

         Defendants’ Proposed Statement of Facts, Doc. 266, at 5-102, mischaracterizes the

 evidence and is unconvincing.

         A.      Platforms are not “economically incentivized” to censor disfavored content.

         First, citing Dr. Gurrea’s declaration, Defendants claim that platforms are “economically

 incentivized to moderate content on their platforms.” Doc. 266, at 5-9. This is unconvincing. Dr.

 Gurrea argues that social-media platforms have an economic incentive to engage in content-

 moderation of some unspecified amount of “low quality” content, and therefore (he argues) the

 platforms would have moderated all the content that federal officials flagged or demanded anyway,

 because of “economic incentives.” Doc. 266-2, at 42-43, ¶¶ 79-81. This does not follow.

         First, no one disputes that social-media platforms have an economic incentive to engage in

 some level of content moderation. But Dr. Gurrea never provides any convincing reason to

 conclude that economic incentives would have caused the specific content-moderation decisions

 flagged, demanded, or urged by federal officials in this case. See id. This omission is not

 surprising, because Dr. Gurrea evidently did not review the discovery produced by Defendants in

 this case. His Exhibit 2 lists the 111 items he reviewed, and it does not include the factual

 discovery produced by Defendants. See id. at 62-71. Dr. Gurrea is thus in no position to opine

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 that platforms were independently going to moderate all the content that federal officials

 demanded—he has not reviewed the relevant factual evidence. See Young v. Brand Scaffold Servs.,

 LLC, 2009 WL 4674053 (E.D. Texas 2009) (excluding the opinion of an economic expert because

 he did not “use any facts or data reflective of” the actual issue an “not sufficiently tied to the facts

 or supported by other evidence in the record”). As in Young, “[h]ere, the gap is an abyss.”

         Plaintiffs’ evidence abounds in examples where it is obvious that platforms would not have

 moderated content unless federal officials had pressured, colluded, coerced, or tricked them. To

 list just 19 examples (there are many others):

     x   Facebook’s emails with the White House make clear that it deboosted and suppressed
         Tucker Carlson’s and Tomi Lahren’s videos in response to White House demands, see Doc.
         214-1, ¶¶ 81-82, 93-97, 100;
     x   Twitter removed a doctored video of Jill Biden, despite concluding that it did not violate
         its terms of service, after Flaherty accused them of “Calvinball,” id. ¶¶ 180-187;
     x   Nick Clegg stated that Facebook would acquiesce to particular White House demands for
         greater censorship, such as moderating non-English vaccine “misinformation,” ending
         group recommendations for anti-vaccine groups, id. ¶¶ 118-121;
     x   Facebook deplatformed the Disinformation Dozen in direct response to White House
         pressure, after insisting for months that they did not violate the terms of service, id. ¶ 170;
     x   Twitter suspended Alex Berenson immediately after public pressure on platforms from the
         White House in July 2021, after declining to so since April 2021, id. ¶¶ 103-104, 163, 171;
     x   Facebook advises Flaherty that they “remove claims public health authorities tell us have
         been debunked,” id. ¶ 46;
     x   Facebook promises to censor speech about vaccines for children at the White House’s
         request, id.¶¶ 198-199;
     x   YouTube updated Dr. Murthy on new and additional censorship actions that YouTube took
         as a result of the Surgeon General’s Health Advisory, id. ¶¶ 280;
     x   Facebook updated Dr. Murthy on new and additional censorship actions that Facebook
         took, id. ¶¶ 281-282;
     x   Nick Clegg provided lengthy updates to the Surgeon General’s office of additional actions
         taken to implement “what the White House expects of us on misinformation going
         forward,” id. ¶ 349, including censorship of new claims, new enforcement policies, and
         additional steps against accounts associated with the “Disinformation Dozen,” id. ¶¶ 354-
         358, 371, 374-376;
     x   Nick Clegg provides lists of Facebook’s extensive additional censorship actions as a result
         of Facebook’s reaction to White House and OSG pressure that “we hear your call for us to
         do more,” id. ¶ 358;
     x   The CDC noted that Facebook removed all posts flagged in a previous week’s “slide deck,”
         id. ¶ 470;

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    x   Social-media platforms repeatedly engaged in censorship of content disfavored by Dr.
        Fauci immediately after Dr. Fauci’s public attacks on that content, id. ¶¶ 742-745, 771,
        801-803;
    x   Brian Scully admits that “switchboarding” and other flagging by federal officials causes
        censorship that would not otherwise have occurred: “if it hadn't been brought to their
        attention then they obviously wouldn’t have moderated it.” Id. ¶ 974;
    x   Exchanges of “switchboarding” emails repeatedly confirm that platforms took actions in
        response to flagging communications by federal officials and others, see, e.g., id. ¶¶ 1068,
        1076, 1081, 1082, 1101, 1104, 1187, 1212;
    x   The FBI induced the social-media censorship of the Hunter Biden laptop story by pushing
        the platforms to adopt censorship policies to remove “hacked materials” and then
        repeatedly providing deceptive warnings to the platforms about an expected “hack and
        leak” operation without any investigative basis, id. ¶ 880-904;
    x   Elvis Chan claims that the FBI has a “50 percent success rate” in getting reported content
        taken down or censored by platforms, id. ¶ 928;
    x   Elvis Chan concludes that pressure from federal officials resulted in a dramatic expansion
        of censorship of election-related speech from 2017 onward, id. ¶¶ 946-958;
    x   The Election Integrity Partnership’s founders boast that they successfully pushed platforms
        to adopt new, more restrictive content-moderation policies for election-related speech in
        2020, and then successfully pushed the platforms to enforce those policies against domestic
        speakers and content, id. ¶¶ 1148-1149;
    x   The Election Integrity Partnership also claims a high censorship success rate, stating that
        “the four major platforms we worked with all had high response rates to our tickets” and
        “took action on 35% of URLs that we reported to them,” id. ¶ 1187.

 By contrast, Defendants cite no specific evidence to show that any particular act of censorship or

 suppression sought by federal officials would have happened anyway.

        Likewise, Defendants’ own witnesses directly contradict Dr. Gurrea’s conclusion. For

 example, based solely on the companies’ public statements, Dr. Gurrea contends that platforms

 began censoring election-related content in 2018 solely because of economic incentives. But Elvis

 Chan testifies the opposite. Doc. 214-1, ¶¶ 946-958. This conclusion, unlike Dr. Gurrea’s, is

 based on Chan’s direct participation in meetings between federal officials and social-media

 platforms, and direct conversations with platform employees who admitted that federal officials

 were putting “a lot of pressure” on them. Id. ¶ 956. Likewise, federal officials repeatedly claim

 that “economic incentives” alone do not induce platforms to censor enough disfavored speech.

 See, e.g., id. ¶ 10 (Rep. Doyle threatening adverse legislation because “[i]is now painfully clear

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 that neither the market nor public pressure will force these social media companies to take the

 aggressive action they need to take to eliminate disinformation and extremism from their

 platforms”). Defendants’ own evidence reinforces this theme. See Doc. 266-2, at 114 (Rep. Cori

 Bush stating that “Twitter’s top priority seems to be to maximize its profit,” such that calls for

 greater censorship “were consistently steamrolled by executives pursuing profit”).

        Similarly, a main theme of the Surgeon General’s Health Advisory is that platforms lack

 sufficient economic incentives to censor the speech that the Surgeon General disfavors. See id.

 ¶¶ 297-300. President Biden himself contradicts Dr. Gurrea’s analysis, publicly claiming that

 platforms do not have sufficient economic incentive to censor disfavored speech: “these companies

 are making money by ped[dling] lies and allowing misinformation that can kill their own

 customers and their own supporters.” Id. ¶ 28.

        Further, Defendants admit that “[d]emands for action from Congress … had a profound

 impact on behavior of social media companies,” and that “Congressional committees … repeatedly

 called social media executives to testify in public hearings about what had gone wrong on their

 platforms in 2016, and how the companies would adjust their policies.” Doc. 266, at 10 ¶ 7

 (emphasis added). As a result, “Twitter understood that it was being told in no uncertain terms,

 by the public and by Congress, that it had a responsibility to do a better job protecting future

 elections.” Id. ¶ 8 (cleaned up). Even Defendants don’t think “economic incentives” did the trick.

        So does the testimony of Elvis Chan and the public statements of Alex Stamos and the

 Virality Project – among others. Chan testified—based on personal observation and conversations

 with both the congressional staffers and platform officials involved—that “pressure from

 Congress, specifically HPSCI and SSCI,” including threats of adverse legislative action, induced

 platforms to censor election-related speech after 2016. Doc. 214-1, ¶ 946. As Defendants admit



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 here, Chan testified that this pressure involved public pressure as “the CEOs for the companies”

 were called “to testify in front of their committees,” including “Mark Zuckerberg and Jack Dorsey

 and Sundar Pichai.” Id. ¶ 947. It also involved secret meetings in which high-level congressional

 staffers flew to Silicon Valley and threatened platforms with adverse legislation if they did not

 increase censorship. Id. ¶¶ 950-958. According to Chan, these threatening meetings “put a lot of

 pressure on” the platforms to censor more speech. Id. ¶ 956 (quoting Chan Dep. 122:18-25). Chan

 specifically testified that federal pressure caused policies to increase censorship of election-related

 speech, admitting that “that kind of scrutiny and public pressure from Congress … motivated them

 to be more aggressive in the account takedowns.” Id. ¶ 947 (quoting Chan Dep. 117:7-14). Chan

 testified that “intense pressure from U.S. lawmakers and the media … eventually forced the social

 media companies to examine what had taken place on their platforms in 2016 and strive to ensure

 that it did not happen in the future.” Id. ¶ 958 (quoting Chan Dep. 127:3-23; Chan Ex. 1, at 42).

        Defendants argue that Chan’s testimony is based on mere personal opinion, but in fact,

 Chan personally observed these events take place, directly participated in many meetings between

 platforms and federal officials, and discussed these meetings with participants on both sides in

 real-time. See id. As a result, when CISA stood up its “switchboarding” activities in 2020, it was

 not writing on a blank slate – platforms had been subjected to years of federal-government pressure

 to cooperate in such activities, including with the FBI, since 2017. Id. ¶¶ 949, 955.

        Alex Stamos, likewise, attributes the platforms’ willingness to increase censorship to the

 “huge potential regulatory impact” that the platforms face from the government in the United

 States. Doc. 214-1, ¶ 1234. He states that “pushing the platforms to do stuff” is possible here

 because “they will always be more responsive in the places that … have huge potential regulatory

 impact, most notably right now that would be the United States….” Id. The Virality Project



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 emphasizes that government pressure induced platforms to censor vaccine-related speech, even

 before COVID-19. See Scully Ex. 2, at 21 (14) (noting that “[p]latforms … started adapting their

 policies to address vaccine misinformation in 2019, spurred by public outcry, negative press

 coverage, and government inquiries”).

        When asked on July 16, 2021, whether Facebook’s removal of 18 million pieces of COVID

 misinformation was enough, Jennifer Psaki answered, “Clearly not, because we’re talking about

 additional steps that should be taken.” Doc. 214-1, ¶ 162. Likewise, responding to the White

 House’s and Surgeon General’s joint pressure campaign, Nick Clegg of Facebook responded: “We

 hear your call for us to do more.” Id. ¶ 358. Clearly, the White House and other Defendants do

 not believe that “economic incentives” provide enough reason for platforms to censor all the

 disfavored speech they wish to remove.1

        Thus, no one—not even the Government itself—actually believes Dr. Gurrea’s theory.

 Most notably, none of the Defendants who pressure, deceive, badger, collude, and threaten social-

 media platforms to censor disfavored viewpoints believe that platforms would do so anyway.

        B.      Federal officials pressured platforms to censor “borderline content.”

        Defendants’ discussion of so-called “borderline” content, Doc. 266, at 15-19, ¶¶ 15-20,

 reinforces the platforms’ vulnerability to federal pressure. Defendants claim that platforms already

 engage in censorship of borderline content—content that does not violate policies but raises

 concerns—by deboosting it, to limit the “low quality” content on their sites. But, once again, the

 fact that platforms deboost some “borderline” content does not prove that they deboost all the



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   The fact that social-media platforms respond to “economic incentives” is part of what makes
 them susceptible to federal pressure. See, e.g., Doc. 214-1, ¶ 272 (noting that Eric Waldo admitted
 that the White House and Surgeon General’s public pressure campaign placed economic pressure
 on Facebook, and that the company was engaging with Dr. Murthy to “keep Dr. Murthy from
 saying … any other things that might be viewed as bad for their business”).
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 “borderline” content that federal officials want them to—and, in fact, Rob Flaherty’s emails

 vividly demonstrate the opposite. Doc. 174-1. Moreover, according to Defendants, quoting Mark

 Zuckerberg, platforms have a strong incentive not to moderate so-called “borderline” content,

 because it drives engagement, which drives advertising revenues: “when left unchecked, people

 will engage disproportionately with more sensationalist and provocative content. … [A]s a piece

 of content gets close to that line, people will engage with it more on average….” Doc. 266, at 16-

 17, ¶ 16. Defendants also admit that “[t]he companies’ approaches to borderline content have been

 extensively scrutinized—and, at times, criticized—by scholars and observers, in part because of a

 lack of transparency.” Doc. 266, at 18, ¶ 19. Thus, Defendants portray a situation at the platforms

 with vague policies, highly engaged content, and strong incentives not to moderate “borderline”

 content—the “perfect storm” of factors to cause federal officials to push hard for greater

 censorship. And that is exactly what the evidence portrays. See infra, Part II.

        C.      Defendants use the calls for Section 230 reform as an explicit threat.

        Defendants contend that there is nothing unlawful about their calls to repeal or reform

 Section 230, because they point out that “[b]ipartisan concerns about § 230 have been expressed

 for years.” Doc. 266, at 20, ¶ 23. This argument misses the point. To call for reform of Section

 230, without more, does not violate the First Amendment. What violates the First Amendment is

 to threaten Section 230 reform as a cudgel to pressure platforms to censor disfavored speech—

 and that is what Defendants and their political allies have done.

        There is a stark contrast between the calls for reform by others that Defendants cite and

 their own statements about Section 230 reform (and other consequences, like antitrust scrutiny).

 The public statements of others about Section 230 cited by Defendants do not involve demands for

 greater censorship. For example, Defendants’ Exhibit 29 is a letter from Senator John Thune to

 Facebook accusing Facebook of engaging in too much censorship. Doc. 266-3, at 278-280.
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 Defendants’ Exhibit 30 is the transcript of a congressional hearing entitled Stifling Free Speech:

 Technological Censorship and the Public Discourse. Doc. 266-3, at 282-308. Defendants’ Exhibit

 31 is a tweet by Donald Trump on May 29, 2020 that states, “REVOKE 230!” Doc. 266-3, at 310.

 Defendants’ Exhibit 32 is a tweet by then-Missouri Attorney General Eric Schmitt stating, “Get

 rid of section 230 protections, treat them like common carriers, bust up #Big Tech.” Doc. 266-3,

 at 312. The other statements cited by Defendants are all in the same vein—they call for reform

 because there is too much censorship on social media, not too little. See id. at 315 (Def. Ex. 33,

 calling for Section 230 reform for “citizens … whose speech has been banned or restricted by these

 platforms”); id. at 319 (Def. Ex. 34, calling for Section 230 reform to “foster innovation and free

 speech”); see also Doc. 266, at 21-22 n.11 (noting Republican calls for reform to prevent

 platforms’ “selective censorship” of disfavored viewpoints).

        These statements contrast starkly with the statements of Defendants and their allies. See

 Doc. 214-1, ¶¶ 1-30. These statements constitute threats of Section 230 reform or antitrust

 enforcement explicitly linked to demands for greater censorship. Then-Candidate Biden called for

 Mark Zuckerberg to face civil liability and even criminal prosecution because Facebook

 supposedly does not censor enough speech that Biden disfavors. Doc. 214-1, ¶¶ 20-22 (Biden:

 Section 230 “should be revoked … because … [i]t is propagating falsehoods they know to be

 false,” and criminal prosecution of Mark Zuckerberg for “collusion that in fact caused harm …

 That’s possible. That’s possible – it could happen.”). Vice President Harris stated that “[w]e will

 hold social media platforms responsible for the hate infiltrating their platforms … if you act as a

 megaphone for misinformation …, we are going to hold you accountable….” Id. ¶ 22. Biden’s

 top technical advisor stated during the presidential transition, “it’s long past time to hold the social

 media companies accountable for what’s published on their platforms.” Id. ¶ 26. President Biden



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 stated that social-media platforms “are making money by … allowing misinformation that can kill

 their own customers … It’s wrong…. Stop it now.” Id. ¶ 28. In September 2022, the White House

 “reiterate[d] [its] call for Congress to fundamentally reform Section 230,” to prevent “hate-fueled

 content mobilizing users … to be amplified on large tech platforms.” Id. ¶ 29. On May 5, 2021,

 Jennifer Psaki stated that President Biden “supports … a robust anti-trust program” because

 “there’s more that needs to be done to ensure that this type of misinformation; disinformation;

 damaging, sometimes life-threatening information is not going out to the American public.” Id. ¶

 124. Four days after President Biden said that platforms are “killing people” by failing to censor

 enough misinformation, the White House communications director stated that “[t]he White House

 is assessing whether social media platforms are legally liable for misinformation spread on their

 platforms. We’re reviewing that, and certainly, they should be held accountable.” Id. ¶ 164. She

 then “specified the White House is examining how misinformation fits into the liability protections

 granted by Section 230 of the Communications Decency Act, which shields online platforms from

 being responsible for what is posted by third parties on their sites.” Id. ¶ 165. Many other threats

 from Defendants and their political allies communicate the same overtly threatening message. See,

 e.g., id. ¶ 6 (calling for Section 230 reform to push platforms to “police harmful content by users”),

 ¶ 8 (calling for Section 230 reform to prevent platforms “elevating blatantly false information to

 … online audiences” and “allow[ing] … misinformation and disinformation”); ¶ 9 (stating that

 Congress is “preparing to move forward with regulation and legislation” to “hold platforms

 accountable when they are used to … spread misinformation,” and “[t]hey must be held

 accountable for allowing misinformation and disinformation to spread”); ¶ 11 (calling tech

 platforms a “slavetocracy … of our Nation’s shameful and inhumane and most difficult dark days”

 because they allow “misinformation, outlandish conspiracy theories, and incendiary content”);



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 ¶ 14 (calling for anti-trust scrutiny of Facebook because “there’s no competition forcing you to

 police your own platform” to remove “misinformation”); see also id. ¶¶ 4, 5, 10, 12, 15, 16. As

 one Member of Congress put it, threatening platforms with such adverse legal consequences to

 pressure them to censor disfavored viewpoints is a deliberate strategy: “Let’s see what happens by

 just pressuring them.” Id. ¶ 18. In fact, Defendants’ evidence demonstrates that this steady

 drumbeat of threats from Defendants’ political allies continues unabated. See Doc. 266-2, at 114

 (Rep. Bush threatening government takeover of platforms to force greater censorship).

 III.   Defendants’ Agency-Specific Statements of Facts Mischaracterize the Evidence.

        Defendants offer their version of facts for specific federal agencies involved. Doc. 266, at

 22-102. These statements mischaracterize the evidence.

        A.      The White House Perpetrates an Egregious Pressure Campaign.

        Defendants struggle mightily to put a positive spin on the White House’s unconstitutional

 behavior, especially in Rob Flaherty’s emails. Doc. 266, at 23-40. These efforts fail.

        First, Defendants suggest that censorship of COVID misinformation is necessary and

 appropriate to save lives during the pandemic. Doc. 266, at 23-24, ¶¶ 26-27. Defendants’ implied

 premise—that censorship makes the public safer—is profoundly wrong. The fundamental premise

 of the First Amendment is that the free marketplace of ideas, not government command-and-

 control, is the most powerful engine for truth-seeking; thus, Americans can be trusted to reach

 their own conclusions about what is true and false on consequential issues. See, e.g., Virginia v.

 Black, 538 U.S. 343, 358 (2003) (“The hallmark of the protection of free speech is to allow ‘free

 trade in ideas’—even ideas that the overwhelming majority of people might find distasteful or

 discomforting.”). Censorship, not free speech, interferes with truth-seeking and harms the public.

        In any event, the First Amendment lacks a “pandemic” exception. The Supreme Court has

 recognized only a tiny list of “well-defined and narrowly limited classes of speech” in “a few

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 limited areas” that lie outside First Amendment protection, such as “fighting words,” inciting

 “imminent lawless action,” and “true threats.” Id. “Health misinformation” is not such a category.

 Id. Quite the contrary—the Supreme Court instructs that even false statements of fact are protected

 by the First Amendment. United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality op.). “If

 there is any fixed star in our constitutional constellation, it is that no official, high or petty, can

 prescribe what shall be orthodox in politics, nationalism, religion, or other matters of opinion.” W.

 Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). “[T]he First Amendment means that

 government has no power to restrict expression because of its message, its ideas, its subject matter,

 or its content.” Ashcroft v. ACLU, 535 U.S. 564, 573 (2002) (quotations omitted). “In light of the

 substantial and expansive threats to free expression posed by content-based restrictions,” the

 Supreme Court “has rejected as ‘startling and dangerous’ a ‘free-floating test for First Amendment

 coverage ... [based on] an ad hoc balancing of relative social costs and benefits.’” Alvarez, 567

 U.S. at 717 (quoting United States v. Stevens, 559 U.S. 460, 470 (2010)).

        Defendants also wrench the evidence from context by separating its discussion of the White

 House’s “public statements” (Doc. 266, at 23-30) from its discussions of the “private statements”

 (id. at 30-40).   In fact, the “public” and “private” statements were both part of an integrated

 pressure campaign that succeeded in crushing the platforms’ resistance to White House demands.

 When private pressure failed to achieve its desired results, the White House pivoted to a public

 pressure campaign, then followed up the public pressure with batteries of more private demands.

 See, e.g., Doc. 214-1, ¶¶ 123-125 (Jennifer Psaki states that “there’s more that need to be done to

 ensure that this type of misinformation … is not going out the American public,” and raises the

 threat of a “robust anti-trust program,” immediately after Facebook first refused to deplatform the

 “Disinformation Dozen,” and Rob Flaherty follows up the next day with more demands for



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 censorship information); id. ¶¶ 139-165 (Flaherty attacks Facebook private, “Are you guys

 f**king serious? I want an answer on what happened here and I want it today,” the same day that

 Jennifer Psaki and Surgeon General Murthy publicly attack Facebook and other platforms at the

 July 15, 2021); id. ¶ 163 (Twitter suspends Alex Berenson “a few hours after Biden’s comment”

 that platforms are “killing people”); id. ¶ 170 (Facebook deplatforms the “Disinformation Dozen”

 after the July 15-16 pressure campaign).

        The White House’s Public Statements. Regarding the White House’s public statements,

 Defendants argue that “Ms. Psaki and others have emphasized that, as private entities, platforms

 bear the responsibility for settling and enforcing their own policies concerning misinformation.”

 Doc. 266, at 25, ¶ 29. But merely acknowledging that “platforms bear the responsibility,” id., did

 not stop Psaki and other White House officials from illegally pressuring the platforms to exercise

 that responsibility to censor disfavored viewpoints. The White House’s public statements convey

 that (1) platforms must remove more “misinformation” reflecting viewpoints that the White House

 disfavors; and (2) if platforms do not do so, they could face ruinous legal consequences.

        In her May 5, 2021, press conference, Psaki directly linked the White House’s demand that

 platforms “stop amplifying untrustworthy content, disinformation, and misinformation, especially

 related to COVID-19, vaccinations, and elections,” and that “that there’s more that needs to be

 done to ensure that this type of misinformation; disinformation; damaging, sometimes life-

 threatening information is not going out to the American public,” to the threat of “a robust anti-

 trust program.” Doc. 214-1, ¶ 123-124. In the July 15, 2021, press conference, Psaki identified

 the White House’s “asks” to platforms, including that they create “a robust enforcement strategy

 that bridges their properties,” “take faster action against harmful posts,” and “move more quickly

 to remove harmful, violative posts.” Id. ¶¶ 148-152. The next day, President Biden stated,



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 “They’re killing people,” id. ¶ 153, and immediately afterward, Kate Bedingfield stated that the

 Administration was “reviewing” Section 230 reform “and certainly [platforms] should be held

 accountable,” and that “you heard the president speak very aggressively about this.” Id. ¶ 167. In

 the April 25, 2022, press conference, Psaki called for “fundamental reforms … including reforms

 to Section 230 [and] antitrust reforms … and he’s encouraged that there’s bipartisan interest in

 Congress.” Id. ¶ 194. She then linked these “concerns” to the allegation that the platforms “spread

 misinformation,” stating that “our concerns are not new. We’ve long talked about and the President

 has long talked about his concerns about the power of social media platforms, including Twitter

 and others, to spread misinformation, disinformation; the need for these platforms to be held

 accountable.” Id. ¶ 195. And, as Defendants helpfully note, on October 6, 2021, Psaki “reaffirmed

 the President’s view that ‘tech platforms must be held accountable for the harms that they cause’

 and expressed that the President ‘has been a strong supporter of fundamental reforms to achieve

 that goal, . . . includ[ing] Section 230 reforms [and] privacy and antitrust reforms as well as more

 transparency.’” Doc. 266, at 28. “Ms. Psaki concluded, ‘[the President] looks forward to working

 with Congress on these bipartisan issues.’” Id.

        With respect to the Disinformation Dozen, Defendants claim that Psaki “did not

 recommend removing content relating to these twelve people’s accounts,” but merely “made a

 factual statement about those accounts in support of her recommendation that platforms have

 strategies for … applying consistent rules across multiple platforms….” Doc. 266, at 27, ¶ 32.

 This is pure revisionism. In fact, what Psaki said was:

        [W]e have recommended -- proposed that they create a robust enforcement strategy that
        bridges their properties and provides transparency about the rules. So … there’s about 12
        people who are producing 65 percent of anti-vaccine misinformation on social media
        platforms. All of them remain active on Facebook, despite some even being banned on
        other platforms, including … ones that Facebook owns.



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 Doc. 214-1, ¶ 149. Thus, Psaki’s message was clear: The White House has “recommended” that

 platforms have a “robust enforcement strategy” that would prevent the “12 people who are

 [supposedly] producing 65 percent of anti-vaccine misinformation on social media platforms”

 from “remain[ing] active on Facebook, despite some even being banned on other platforms.” Id.

 Moreover, Psaki’s public statement reinforced the private demands that Andy Slavitt had made in

 meetings with Facebook to deplatform the “Disinformation Dozen.” Id. ¶¶ 121-122 (Nick Clegg

 email to Andy Slavitt responding to the privately voiced concern that “12 accounts are

 responsible for 73% of vaccine misinformation,” and stating that Facebook “realise[s] our

 position on this [i.e., the Disinfo Dozen] continues to be a particular concern to you”); Doc. 214-

 14, at 1 (email from Rob Flaherty to Facebook stating that “12 accounts are responsible for 73%

 of vaccine misinformation on Facebook,” and calling for “transparent, progressively severe

 penalties” for such accounts, and urging that “[b]ans for COVID-19 misinformation should be

 cross-platform”). Facebook certainly got the message—after Psaki’s public statements, it took

 aggressive action against these twelve speakers whom the White House demanded that it

 deplatform. Doc. 214-1, ¶¶ 170, 356 (email from Nick Clegg one week later, assuring the White

 House and OSG that “[w]e removed 17 additional Pages, Groups, and Instagram accounts tied to

 the disinfo dozen”).

        Regarding President Biden’s statement that “They’re killing people,” Defendants argue

 that Biden clarified three days later—after the damage had been done—that he was referring to the

 Disinformation Dozen, not Facebook itself. That contradicts what he said at the time, and no one

 interpreted it that way—least of all Facebook. See Doc. 71-5, at 1 (July 18, 2021 text message

 from Nick Clegg to Dr. Murthy stating that “the FB team” was feeling “aggrieved” because “it’s

 not great to be accused of killing people”); Doc. 214-1, ¶ 351. In any event, Biden’s July 18



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 “clarification” actually reinforced the White House’s demand for greater censorship, as Biden

 stated that Facebook, “instead of taking the comment personally,” should “do something about the

 misinformation” spread by the Dozen. Doc. 266, at 29, ¶ 35.

        Defendants argue that Bedingfield “did not threaten any legal or regulatory action against,

 or make any demands of, social media platforms” on July 20, 2021. Doc. 266, at 30, ¶ 36. The

 record tells a different story. Coming just a few days after Psaki’s threats at the July 15 press

 conference and President Biden’s statement that “They’re killing people,” Bedingfield’s July 20

 comments are carefully calculated to drive home the threat: The Administration was “reviewing”

 Section 230 reform “and certainly [platforms] should be held accountable,” and that “you heard

 the president speak very aggressively about this.” Doc. 214-1, ¶ 167.

        The White House’s Private Communications. The Government’s principal defense of its

 private emails to platforms is that they merely sought to “better understand” platform policies,

 without seeking any action from the platforms or to influence platforms’ behavior. Doc. 266, at

 24, ¶ 27; see also id. at 30, ¶¶ 37, 42, 46. Not so. No rational reader could interpret Flaherty’s

 emails as a mere exercise in armchair philosophy, and the platforms certainly did not do so. They

 got the clear message: the White House’s demand that they “do more” to censor. As Nick Clegg

 stated after months of this pressure: “We hear your call for us to do more.” Doc. 214-1, ¶ 358.

        The very first email the White House sent, barely two days into the Biden Administration,

 demanded not to “better understand,” but to remove supposed “misinformation.” Citing a post

 about Hank Aaron’s death after taking the COVID vaccine, Clarke Humphry wrote at 1:04 a.m.

 on January 23, 2021: “Wanted to flag the below tweet and am wondering if we can get moving on

 the process for having it removed ASAP.” Doc. 214-1, ¶ 34. She requested ongoing monitoring

 and enforcement against future posts on the same topic: “And then if we can keep an eye out for



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 tweets that fall in this same ~genre that would be great.” Id. Rob Flaherty’s first White House

 email to a platform likewise demanded the immediate removal of content: “Please remove this

 account immediately. … Cannot stress the degree to which this needs to be resolved immediately.”

 Id. ¶¶ 37-38. Twitter responded by noting that it was already being bombarded by such requests

 from the White House: “In a given day last week for example, we had more than four different

 people within the White House reaching out for issues.” Id. ¶ 40.

        Shortly thereafter, Flaherty launched his campaign of badgering, harassment, and

 pressure—all designed toward a single end: to push platforms (especially Facebook) to take more

 aggressive action against viewpoints disfavored by the White House. When Facebook reported to

 the White House on steps it was taking to “Combat[] Vaccine Misinformation,” Flaherty

 responded with a barrage of questions seeking detailed information about Facebook’s censorship

 practices, including “How are you handling things that are dubious, but not provably false?” Id.

 ¶¶ 42-43. Like all subsequent questions, the tenor of these questions was not merely to “better

 understand” Facebook’s practices, but to scrutinize and pressure them to take more aggressive

 action. Flaherty drove this point home by accusing Facebook of fomenting “political violence” by

 not censoring enough speech: “especially given the Journal’s reporting on your internal work on

 political violence spurred by Facebook groups, I am also curious about the new rules as part of the

 ‘overhaul.’” Id. ¶ 44. Facebook, again, got the message—its response explained to Flaherty that

 it was removing content that the White House disfavored, and it promised to begin “enforcing this

 new policy immediately.” Id. ¶ 45.

        That exchange is typical of a long series of such exchanges between Flaherty and platforms.

 In each case, Flaherty badgers the platforms for more detailed information about why they are not

 taking more steps and more aggressive action against disfavored speech, and the platforms respond



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 by assuring him and other White House officials that they will do more and censor more disfavored

 speech. See, e.g., id. ¶¶ 50, 51 (Twitter: “As we discussed, we are building on our continued efforts

 to remove the most harmful COVID-19 misleading information from the service….”); ¶ 52

 (Facebook: “We’ve expanded penalties for individual Facebook accounts that share

 misinformation.”); ¶ 57 (demanding more information on how Facebook is censoring “borderline”

 content); ¶ 58 (advising Facebook that the White House was demanding information because “[w]e

 are gravely concerned that your service is one of the top drivers of vaccine hesitancy- period.”);

 ¶ 67 (long series of questions from Flaherty to Facebook about how to reduce “sensational” and

 “skeptical” content that is truthful); ¶ 68 (long series of questions about how Facebook is censoring

 misinformation on WhatsApp); ¶ 72 (badgering Facebook for more information about censorship

 on the private messaging app WhatsApp); ¶ 74 (similar); ¶ 77 (follow-up email badgering

 Facebook for more information about censoring COVID speech on WhatsApp); ¶ 97 (Flaherty

 demanding to know how Carlson’s video was non-violative, even after Facebook stated that it

 would label and demote it); ¶ 98 (another, similar battery of questions about the Tucker Carlson

 and Tomi Lahren videos); ¶ 112-113 (long series of demands for information to YouTube on how

 they can increase censorship of “borderline” content, and requesting “bi-weekly” meetings to

 discuss them); ¶¶ 125-128 (barrage of demands to Facebook about borderline content, the

 “Disinformation Dozen,” and other topics); ¶ 175 (Flaherty to YouTube on demoting “borderline”

 content: “I see that's your goal - what is the actual number right now?”); ¶ 191 (demanding of

 Facebook, “as we have long asked for, [of] how big the problem is, what solutions you’re

 implementing, and how effective they’ve been”).

        Flaherty’s barrages of questions are interspersed with abusive, sarcastic, accusatory, and

 unprofessional language, frequently accusing the platforms of acting in bad faith. Andy Slavitt



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 does the same. See, e.g., id. ¶ 55 (“You are hiding the ball.”); ¶ 58 (accusing Facebook of “a shell

 game” and stating, “This would all be a lot easier if you would just be straight with us”); ¶ 60

 (Slavitt accusing Facebook of “highly scrubbed party line answers…. 100% of the questions I

 asked have never been answered and weeks have gone by”); ¶ 67 (“the problem does not sit in

 ‘microchips’-land”); ¶ 69 (stating that Facebook’s “commitment to honest, transparent

 conversations … hasn’t worked so far”); ¶ 77 (“Really couldn’t care less about products unless

 they’re having measurable impact. And while the product safari has been interesting…”); ¶ 93

 (Slavitt to Nick Clegg, re Tucker Carlson’s video: “Number one of Facebook. Sigh. Big reveal call

 with FB and WH today. No progress since we spoke. Sigh.”); ¶ 99 (Flaherty to Facebook, two

 days after sending an email with a battery of demands: “These questions weren’t rhetorical.”);

 ¶ 130 (“Hard to take any of this seriously when you’re actively promoting anti-vaccine pages in

 Search.”); ¶ 126 (“Not to sound like a broken record, but how much content is being demoted…?”);

 ¶ 134 (“Sure.” [sarcastically]); ¶ 135 (“If you’re not getting that right….”); ¶ 135 (accusing

 Facebook of giving itself “wiggle room” and concluding: “Not sure what else there is to say”);

 ¶ 136 (“I don't know why you guys can't figure this out.”); ¶ 173 (Flaherty to YouTube: “You were

 pretty emphatic that you are not. This seems to indicate that you are. What is going on here?”);

 ¶ 178 (“not even sure what to say at this point”); ¶ 186 (“Total Calvinball.”).

        Flaherty accuses the platforms of fomenting insurrection by not censoring private speech.

 Id. ¶ 97 (Flaherty to Facebook, regarding its failure to completely remove Tucker Carlson’s

 content: “Not for nothing but last time we did this dance, it ended in an insurrection.”); ¶ 78 (“You

 only did this, however, after an election that you helped increase skepticism in, and an insurrection

 which was plotted, in large part, on your platform. … I want some assurances, based in data, that




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 you are not doing the same thing again here.”). Flaherty demands, “Are you guys f**king serious?

 I want an answer on what happened here and I want it today.” Id. ¶ 139.

        Quite obviously, none of this verbal abuse is designed solely to “better understand” the

 issues. It is designed to pressure the platforms to censor speech disfavored by the White House.

 Flaherty himself says this quite explicitly: “[A]t the end of the day, I care mostly about what

 actions and changes you're making to ensure sure you're not making our country's vaccine

 hesitancy problem worse.” Id. ¶ 77 (emphasis added); see also id. ¶ 103 (Twitter employees noting

 that the White House posed “one really tough question about why Alex Berenson hasn’t been

 kicked off the platform,” and that Andy Slavitt “really wanted to know about Alex Berenson”

 because “he was the epicenter of disinfo that radiated outwards to the persuadable public”).

        To achieve this goal of pressuring the platforms to censor disfavored viewpoints, Flaherty

 and Slavitt intersperse their private communications with thinly veiled threats of adverse legal

 consequences—echoing the public statements of Psaki, President Biden, and Bedingfield. See,

 e.g., id. ¶ 61 (“Internally we have been considering our options on what to do about it.”); ¶ 108

 (Flaherty asking YouTube to report on how it was preventing “vaccine hesitancy” and “working

 toward making the problem better,” and warning: “This is a concern that is shared at the highest

 (and I mean highest) levels of the WH”); ¶¶ 114-115 (Flaherty sending Facebook a

 “Misinformation Brief” calling for “progressively severe penalties,” “comprehensive

 enforcement,” and “cross-platform” bans, and stating, “spirit of transparency – this is circulating

 around the building and informing thinking”).

        Flaherty and other White House officials also demand the censorship of specific speakers

 and content, such as posts about Hank Aaron’s death, videos of Tucker Carlson and Tomi Lahren,

 Alex Berenson, the “Disinformation Dozen,” and many others.            See, e.g., id. ¶¶ 180-187



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 (demanding the censorship of a comedic video of Jill Biden reading to schoolchildren); ¶ 81 (“[I]f

 ‘reduction’ means ‘pumping our most vaccine hesitant audience with tucker Carlson saying it

 doesn't work’ then ... I’m not sure it's reduction!”); ¶ 85 (requesting “a 24 hour report-back” to see

 if “the news about J&J” would “spin off misinformation”).

        The platforms clearly understand that the White House is not engaging in a mere academic

 exercise to “better understand” misinformation, but demanding that they increase censorship of

 disfavored viewpoints. They repeatedly respond by assuring the White House that they will, in

 fact, ratchet up their censorship efforts against COVID “misinformation” on their platforms. See,

 e.g., id. ¶ 64 (in response to the White House “ask[ing] about our levers for reducing virality of

 vaccine hesitancy content,” Facebook assuring Flaherty that “[i]n addition to policies previously

 discussed, these include the additional changes that were approved late last week and that we'll be

 implementing over the coming weeks”); id. (Facebook assuring the White House that it was taking

 steps to “reduc[e] the virality of content discouraging vaccines that does not contain actionable

 misinformation. This is often-true content … but it can be framed as sensation, alarmist, or

 shocking. We'll remove these Groups, Pages, and Accounts when they are disproportionately

 promoting this sensationalized content…”); id. ¶ 65 (assuring the White House that Facebook was

 limiting message forwards on the private messaging app WhatsApp to reduce the spread of

 disfavored messages); id. ¶ 86-87 (Facebook giving a detailed report on censorship in response to

 oral inquiries from Courtney Rowe); id. ¶ 88-89 (Facebook assuring the White House it will censor

 truthful, non-violative content such as “discussing the choice to vaccinate in terms of personal or

 civil liberties,” “true but shocking claims or personal anecdotes,” and “concerns related to mistrust

 in institutions,” by using “a spectrum of levers”); id. ¶¶ 93-94 (Nick Clegg responding to Andy

 Slavitt within hours to assure him that, while Tucker Carlson’s content was non-violative,



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 Facebook would label and demote the content); id. ¶ 100 (Facebook assuring the White House, in

 response to their demands about Tucker Carlson’s content, that it “will continue to be demoted

 even though it was not ultimately fact checked”); id. ¶ 104 (Twitter suspended Alex Berenson

 immediately after the President said, “They’re killing people”); id. ¶¶ 118-121 (Facebook stating

 that it would follow White House recommendations to censor non-English-language COVID

 speech, to increase steps to censor content that leads to vaccine hesitancy, to “monitor events that

 host … COVID disinformation,” and to “continue to review” the accounts of the “Disinformation

 Dozen”); ¶ 131 (Facebook responding, “both of the accounts featured in the tweet [flagged by

 Flaherty] have been removed from Instagram entirely”); ¶ 132 (Facebook assuring Flaherty it

 would increase the removal of “accounts on Instagram that discourage vaccines”); ¶ 137 (Facebook

 assuring the White House that “[w]e’re expanding penalties for individual Facebook accounts that

 share misinformation.”); ¶ 177 (YouTube assuring Flaherty that it will “limit the visibility” and

 “reduce the spread” of “borderline content”).

        This pressure campaign reached its apogee on July 15-16, 2021, with the “triple punch” of

 Psaki, Dr. Murthy, and President Biden putting maximal pressure on platforms to censor

 disfavored viewpoints. Facebook responded by desperately scrambling to assure the White House

 and OSG that it would censor virtually any piece of COVID speech the White House wanted.

 Other platforms likewise ramped up censorship of disfavored viewpoints to appease the White

 House. Facebook immediately deplatformed the “Disinformation Dozen.” Id. ¶ 170. Twitter

 suspended Alex Berenson. Id. ¶ 171. Nick Clegg assured the Surgeon General that Facebook was

 “keen to find a way to deescalate and work together collaboratively.” Id. ¶ 351. Facebook met

 with the White House and Surgeon General’s Office to learn “what the White House expects of us

 on misinformation going forward.” Id. ¶ 349. One week after the President’s remarks, Clegg



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 emailed to ensure that the White House and OSG “saw the steps we took just this past week to

 adjust policies on what we are removing with respect to misinformation as well as steps taken to

 further address the ‘disinfo dozen.’” Id. ¶ 354. Facebook reported to the Government that it

 “removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo dozen (so a total

 of 39 Profiles, Pages, Groups, and IG accounts deleted thus far, resulting in every member of the

 disinfo dozen having had at least one such entity removed).” Id. ¶ 356. Facebook also “expanded

 the group of false claims that we remove, to keep up with recent trends of misinformation that we

 are seeing.” Id. ¶ 357. Clegg promised that this was only the beginning of its efforts to remove

 more COVID “misinformation” at the White House’s behest: “We hear your call for us to do more

 and, as I said on the call, we’re committed to working toward our shared goal,” and “we will strive

 to do all we can to meet our shared goals.” Id. ¶¶ 358, 361. OSG responded to Facebook by

 demanding a specific report in two weeks on “any new/additional steps you are taking with respect

 to health misinformation.” Id. ¶ 364. Two weeks later, Facebook provided a detailed report of its

 “further policy work to enable stronger action against persistent distributors of vaccine

 misinformation.” Id. ¶ 374. Among other things, Facebook reported to the Government that it

 was “expanding our COVID policies to further reduce the spread of potentially harmful content”;

 “increasing the strength of our demotions for COVID and vaccine-related content that third-party

 fact-checkers rate as ‘Partly False’ or ‘Missing Context’”; “making it easier to have

 Pages/Groups/Accounts demoted for sharing COVID and vaccine-related misinformation”; and

 “strengthening our existing demotion penalties for websites that are repeatedly fact-checked for

 COVID or vaccine misinformation content shared on our platform.” Id. ¶ 375. Clegg also included

 a report of additional actions taken against the “Disinformation Dozen.” Id. Thereafter, Facebook




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 and other platforms provided frequent reports to the White House and OSG on additional steps

 they were taking to censor disfavored viewpoints. See, e.g., id. ¶¶ 379, 381, 395, 398.

        Defendants’ other arguments fare no better. First, Defendants claim that “[t]he record does

 not show a single instance in which these individuals threatened legal or regulatory action against

 companies that chose not to heed the Administration’s calls to address the COVID-19

 misinformation circulating on their platforms.” Doc. 266, at 24. This is incorrect. The record

 shows both public threats from Psaki, Bedingfield, and President Biden; and thinly veiled private

 threats from Flaherty and Slavitt; and numerous threats from the President’s political allies. See

 supra. Defendants argue that the record does not “show that White House officials demanded

 that the companies change their content moderation policies or take action (regardless of existing

 policies) to address particular content that they view as potentially harmful COVID-19

 misinformation.” Id. at 24. Again, this is false. The record shows White House officials

 aggressively pressuring platforms to change their policies and enforcement practices to target and

 remove disfavored speech, and it shows repeated attempts by the White House to pressure

 platforms to remove specific disfavored content, accounts, and speakers—such as Alex Berenson,

 Tucker Carlson and Tomi Lahren, the Disinformation Dozen, the comedic video of Jill Biden, etc.

        Defendants argue that Flaherty sought to know “what the Government could do to assist

 social media companies in their efforts to address the spread of misinformation on their platforms.”

 Doc. 266, at 30. That statement virtually admits guilt, as the White House has no business

 “assisting” private media companies in censoring viewpoints disfavored by the White House. Yet

 that is what the White House did. See, e.g., Doc. 214-1, ¶ 102 (White House calendar invite to

 Twitter for Twitter to brief “on vaccine misinfo,” including “the tangible effects of recent policy

 changes, what interventions are currently being implemented in addition to previous policy



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 changes, and ways the White House (and our COVID experts) can partner in product work”); ¶ 105

 (White House meeting with YouTube on “vaccine misinformation” to discuss “the empirical

 effects of YouTube’s efforts to combat misinfo, what interventions YouTube is currently trying,

 and ways the White House (and or COVID experts) can partner in product work”).

        Defendants admit that “White House officials did flag some content—mainly, imposter

 accounts—for social media companies.” Doc. 266, at 31. The phrase set off by dashes is woefully

 misleading. The content the White House flagged was not “mainly, imposter accounts”—the

 White House deliberately flagged the speakers and content that it thought were the most influential

 and persuasive voices expressing viewpoints the White House disfavored. They included Alex

 Berenson, whom the White House viewed as “the epicenter of disinfo that radiated outwards to

 the persuadable public,” Doc. 214-1, ¶ 103; the top-rated cable news host (and sharp Biden

 Administration critic) Tucker Carlson, whose content was then the most-viewed post on Facebook

 that day, id. ¶¶ 81, 93-100; another extremely popular cable news host, particularly influential

 among young people, Tomi Lahren, id. ¶ 81; Robert F. Kennedy, Jr., one of the most influential

 anti-vaccine voices in the nation, id. ¶ 34; the “Disinformation Dozen,” whom the White House

 believed were responsible for “73% of vaccine misinformation” on Facebook, id. ¶ 121. And what

 Defendants treat as “imposter accounts” include political parody and satire lampooning the

 President and his family, i.e., core political speech mocking the heads of government—such as a

 comedic video of Jill Biden receiving profane heckling while reading to schoolchildren. See Doc.

 266, at 37, ¶ 49 (including “a doctored video of the First Lady” as an “imposter account”).

        Defendants argue that “on one occasion when Mr. Flaherty shared specific proposals with

 Facebook,” he “emphasized that the White House was not asking Facebook to adopt those

 recommendations.” Doc. 266, at 36 ¶ 47 (discussing Doc. 214-14). In fact, in that email, Flaherty



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 ominously hinted that the White House could impose greater requirements on Facebook than the

 “specific proposals” he shared. See Doc. 214-14. He stated: “Here is the crux of their recs. Don’t

 read this as White House endorsement of these suggestions (or, also, as the upper bound of what

 our thoughts on this may be). But – spirit of transparency – this is circulating around the building

 informing thinking.” Id. at 1 (emphasis added). The “recs” included aggressive demands for the

 censorship of disfavored viewpoints, including express prior restraints for disfavored speakers,

 monitoring private events “hosting anti-vaccine and COVID disinformation,” censoring non-

 English vaccine speech, censoring the Disinformation Dozen, and imposing “progressively severe

 penalties” and “comprehensive enforcement for pages, accounts, and groups.” Id. at 1-2.

        Finally, the Government argues that the White House’s censorship of COVID speech is

 old news, and that “[s]ince the start of 2023, the landscape of White House COVID-19 efforts has

 changed dramatically.” Doc. 266, at 39, ¶ 53. Once again, the evidence tells a different story. On

 the topic of COVID speech, the White House continued to demand ongoing reports from Facebook

 on “misinformation” on its platforms throughout 2022. See Doc. 214-1, ¶¶ 198-199. During June

 2022, Flaherty demanded that Facebook continue providing bi-weekly “COVID-19 insights

 reports” about “misinformation” on its platforms, so that the White House could monitor

 Facebook’s censorship of speech about early childhood vaccines (age 6 months to 5 years). Id.

 Facebook got the message, continued to provide the reports, and assured the White House that it

 would expand its censorship to include speech expressing doubt about early-childhood COVID

 vaccines—a highly controversial topic. Id.

        Moreover, the White House’s public statements demonstrate that it is expanding its

 frontiers to include whole new topics of social-media censorship, such as climate change,

 “gendered disinformation,” abortion, and economic policy. Id. ¶¶ 200-211. The White House



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 Climate Advisor publicly demands that “the tech companies have to stop allowing specific

 individuals over and over again to spread disinformation,” because “misinformation and disinfo

 around climate” is “a threat to public health itself.” Id. ¶ 202. She ties this demand to the threat

 of legislation to “hold companies accountable.” Id. ¶ 203. The White House creates a task force

 to address “gendered disinformation” and “disinformation campaigns targeting women and

 LGBTQI+ individuals who are public and political figures, government and civic leaders, activists,

 and journalists.” Id. ¶ 204-206. The task force carries the threat of regulation against platforms;

 it must submit “periodic recommendations to the President on policies, regulatory actions, and

 legislation on technology sector accountability to address … online harassment and abuse.” Id.

 ¶ 207. The White House employs the same tactics it employed for COVID speech on other topics.

        B.      The Surgeon General’s Office Joins the White House Pressure Campaign.

        The Government’s discussion of facts regarding the Surgeon General’s Office, Doc. 266,

 at 41-51, distorts the facts and ignores highly probative evidence.

        OSG coordinates closely with the White House. First, the Government treats the Surgeon

 General’s activities as if they were conducted in isolation from the White House’s pressure

 campaign, see id., but that is incorrect. Dr. Murthy met jointly with Andy Slavitt of the White

 House and Nick Clegg of Facebook. Doc. 214-1, ¶ 253. Three days after this meeting, Facebook

 announced “policy updates” to “expand penalties for individual Facebook accounts that share

 misinformation.” Id. ¶ 281. Dr. Murthy and Waldo also met jointly with DJ Patil of the White

 House and Nick Clegg of Facebook to respond to the Health Advisory. Id. ¶ 259. Eric Waldo was

 routinely included on emails and calls with Rob Flaherty and social-media platforms. Id. ¶ 246.

 Waldo communicated directly with Flaherty “before” speaking with Facebook. Id. The Surgeon

 General launched the Health Advisory in a joint press conference with the White House. Id. ¶ 293.

 OSG connected Facebook with DJ Patil of the White House to discuss giving researchers access
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 to Facebook’s internal data on misinformation. Id. ¶ 365. Flaherty connected Dr. Murthy with

 Jiore Craig, an anti-disinformation operative from the DNC. Id. ¶ 369.

        Facebook certainly understood that OSG and the White House were working in tandem,

 because Nick Clegg met with Dr. Murthy to “better understand the scope of what the White House

 expects of us on misinformation going forward.” Id. ¶ 349 (emphasis added). When the White

 House said, “They’re killing people,” Clegg reached out to the Surgeon General to “find a way to

 deescalate and work together collaboratively.” Id. ¶ 351. Following the pressure from Psaki and

 Biden, Facebook reported to Dr. Murthy and OSG on the additional steps it was taking to censor

 disfavored viewpoints—such as “adjust[ing] policies” to remove “misinformation,” “steps taken

 to further address the ‘disinfo dozen,’” “expand[ing] the group of false claims we remove.” Id.

 ¶¶ 354-357. Clegg also told Dr. Murthy, referring to the White House, “[w]e hear your call for us

 to do more and … we’re committed to working toward our shared goal of helping America get on

 top of this pandemic.” Id. ¶ 358.

        OSG and White House personnel are routinely included on the same email threads, jointly

 communicating with platforms about misinformation. See, e.g., id. ¶ 370 (Facebook jointly

 reporting to OSG and White House on additional steps taken against the “Disinformation Dozen”);

 ¶ 375 (lengthy report from Facebook to both White House and OSG on additional steps taken to

 increase censorship after the Advisory and the President’s comments); see also id. ¶¶ 379, 380,

 382 (Flaherty copying Waldo while asking platforms to report on plans to censor “misinformation”

 on childhood vaccines), 391, 395, 421, 424-425.

        The Surgeon General demands specific censorship actions. Next, the Government claims

 that “OSG … has not demanded particular actions from the companies…” Doc. 266, at 41. On

 the contrary, OSG has repeatedly done so, both in public and in private. First, the Surgeon



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 General’s Health Advisory demands a long series of “particular actions” on censorship from the

 platforms. The Advisory, and the public attention associated with it, placed economic pressure on

 the platforms to comply with these demands. Doc. 214-1, ¶ 272. In announcing the Advisory, Dr.

 Murthy described disfavored viewpoints as “an imminent and insidious threat to our nation’s

 health,” id. ¶ 294; stated that it “cost[s] us lives,” id. ¶ 296; and that social-media platforms “poison

 our information environment,” id. ¶ 297. He stated, “we expect more from our technology

 companies. … We’re asking them to monitor misinformation more closely. We’re asking them to

 consistently take action against misinformation super-spreaders on their platforms.” Id. ¶ 300

 (emphasis added). He stated that “much, much more has to be done” by platforms, “and we can’t

 wait longer for them to take aggressive action because it’s costing people their lives.” Id. ¶ 307.

         Having publicly accused platforms of “cost[ing] lives,” the Advisory makes a long series

 of specific demands. It calls misinformation “a serious threat to public health” and states that

 platforms have a “moral and civic imperative” to stop the spread of misinformation. Id. ¶ 319. It

 blames social-media platforms and their “product features” and “algorithms” for the spread of

 misinformation. Id. ¶¶ 321-323. It calls on platforms to take a series of specific actions, including:

 “Implement product design and policy changes on technology platforms to slow the spread of

 misinformation.” ¶ 324; “Build in ‘frictions’ … to reduce the sharing of misinformation,” ¶ 326;

 “[A]ddress misinformation in live streams, which are more difficult to moderate due to their

 temporary nature and use of audio and video,” id.; “Prioritize early detection of misinformation

 ‘super-spreaders’ and repeat offenders,” id.; and “Impose clear consequences for accounts that

 repeatedly violate platform policies,” id.

         The Health Advisory also explicitly threatens regulation and legislation of platforms. It

 calls for “federal, state, local, territorial, tribal, private, nonprofit, and research partners” to devise



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 “appropriate legal and regulatory measures that address health misinformation.” Id. ¶ 325

 (emphasis added). Dr. Murthy’s repeated use of the word “accountable” and “accountability” to

 apply to platforms carries with it an implied threat of adverse consequences. Id. ¶ 302. As Eric

 Waldo concedes, the word “accountable” carries a threat of legal consequences, because

 “accountability includes accepting the consequences for when you do something wrong.” Id.

        In private, OSG asked major platforms to report back on what “new” and “additional” steps

 they were taking to censor disfavored viewpoints in light of the Advisory. Dr. Murthy himself

 asked Nick Clegg of Facebook to do so: “on the call with Dr. Murthy he’d mentioned seeing if

 you were able to send an update of any new/additional steps you are taking with respect to health

 misinformation in light of the advisory.” Doc. 214-1, ¶ 364. In fact, Waldo noted, “we are asking

 all platforms for this type of update,” and requested a report within two weeks. Id. These requests

 went to “Facebook, Twitter, Instagram, and YouTube, and Google.” Id.¶ 368.

        The platforms responded. Two weeks later, Facebook provided a long list of new actions

 taken to crack down on “misinformation.” Id. ¶¶ 373-376. This included five bullet points and

 four sub-bullet points listing specific new policies and enforcement actions, as well as detailed

 new actions taken against the “Disinformation Dozen.” Id. ¶ 375; see also id. ¶ 381 (Google

 emailing Waldo to report new actions taken against “misinformation”). Facebook also provided a

 detailed report to OSG and the White House on its policies and actions taken against

 “misinformation” on childhood vaccines. Id. ¶ 395. Facebook continued to report back to OSG

 on censorship until Defendants produced OSG’s documents. See id. ¶¶ 424-425.

        The Surgeon General constantly reinforced his public message pressuring platforms to

 comply with his demands. On October 29, 2021, Dr. Murthy issued a series of tweets stating that

 “tech platforms have a responsibility to improve our health information ecosystem,” that “[w]hat



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 continues to be lacking from Facebook and other tech companies is transparency and

 accountability,” and that “[w]e must demand Facebook and the rest of the social media ecosystem

 take responsibility for stopping health misinformation on their platforms. The time for excuses and

 half measures is long past. We need transparency and accountability now. The health of our

 country is at stake.” Id. ¶ 387 (emphasis added).

        The Surgeon General threatens regulation if platforms do not comply. The Government

 contends that the Surgeon General did not threaten platforms with adverse legal consequences.

 Doc. 266, at 43, ¶ 59. This is not correct. As noted above, the Health Advisory explicitly raises

 the threat of future regulation. In the ensuing months, the Surgeon General reinforced this threat,

 culminating in the March 3, 2022 Request for Information (RFI).

        After the Advisory, Dr. Murthy’s public statements in 2022 continued to call for platforms

 to take “aggressive action against people who are intentionally spreading misinformation,” id.

 ¶ 401, and to “go after people who are superspreaders of misinformation on these sites.” Id. ¶ 407.

 Dr. Murthy’s public statements in 2022, leading up to the RFI, called for the Government to “set

 safety standards” for social-media speech, stating that “there’s a role for government here to set

 safety standards,” and that “[t]here are steps we are working on now” in that area. Id. ¶ 410.

        Shortly thereafter, Dr. Murthy issued the formal Request for Information. Id. ¶ 411. The

 RFI seeks detailed information from “technology platforms” about their censorship policies and

 how they are enforced. Id. ¶ 415. It also seeks detailed information about disfavored speakers on

 social media, demanding “[i]nformation about sources of COVID–19 misinformation,” including

 “[i]nformation about the major sources of COVID–19 misinformation associated with exposure,”

 where “source” refers to speakers on platforms, i.e., “specific, public actors that are providing

 misinformation.” Id. ¶ 416. The OSG sent a pointed letter signed by Dr. Murthy to at least seven



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 major social-media platforms requesting that they submit information to the RFI. Id. ¶¶ 419-420.

 Shortly after the RFI, Dr. Murthy reinforced his reference to the government setting “safety

 standards” for online speech by describing the issue in terms of “speed limits,” i.e., government-

 issued safety standards: “We have speed limits on the road because we know that sometimes if

 you drive too fast, that can have an impact on somebody else’s health and wellbeing. … That’s

 true here as well.” Id. ¶ 423. Dr. Murthy’s message was clear: The RFI is a precursor to “safety

 standards” or “speed limits” for social-media speech.

        The Surgeon General collaborates with the Virality Project. The Government contends

 “OSG was not—and is not—involved in a coalition of researchers known as the ‘Virality Project.’”

 Doc. 266, at 41. This statement is demonstrably incorrect.

        The Virality Project touts its close relationship with the OSG. The Virality Project states

 that: “Federal government agencies served as coordinators for national efforts. The Virality

 Project built strong ties with several federal government agencies, most notably the Office of the

 Surgeon General (OSG) and the CDC, to facilitate bidirectional situational awareness around

 emerging narratives.” Doc. 214-1, ¶ 1279 (bold in original, italics added). The Virality Project

 states that it “provided strategic insights to government entities such as the OSG, CDC, and the

 Department of Health and Human Services.”            Id. ¶ 1284 (emphasis added).     Contrary to

 Defendants’ representations, the Virality Project claims that it hosted the same-day rollout of the

 Surgeon General’s Advisory: “Stanford Internet Observatory and the Virality Project also hosted

 Surgeon General Vivek Murthy for a seminar on vaccine mis- and disinformation, including the

 rollout of the Surgeon General’s advisory on health misinformation.” Id. ¶ 1285 (emphasis added).

 The Surgeon General’s messaging echoes verbatim the Virality Project’s message of demanding

 “transparency and accountability” from platforms on censorship, and demanding “data sharing



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 relationships with researchers” (such as the VP’s own researchers). Id. ¶¶ 1247, 1248, 1251, 1293,

 1353-54. The Virality Project notes that the “Office of the Surgeon General incorporated VP’s

 research and perspectives into its own vaccine misinformation strategy,” and it specifically cites

 the Surgeon General’s Health Advisory on this point. Id. ¶ 1249. The Virality Project repeatedly

 cites the work of the Surgeon General in its report, id. ¶ 1359, just as the Surgeon General’s Health

 Advisory cites the VP’s work, Doc. 266, at 49, ¶ 69.

        The Surgeon General’s evidence confirms the close coordination between the OSG and the

 Virality Project. As Defendants admit, “[o]ne of the lead entities responsible for the Virality

 Project is the Stanford Internet Observatory.” Doc. 266, at 50. Dr. Murthy launched the Health

 Advisory in an event at the Stanford Internet Observatory. Doc. 214-1, ¶ 330. Waldo admits that

 the OSG coordinated with SIO in launching the Surgeon General’s Health Advisory. Id. ¶ 228.

 In Dr. Murthy’s remarks, he stated that he had multiple “conversations” with the VP’s lead

 researcher, Renee DiResta, who was “such a great partner” and would continue “being a partner

 in the future.” Id. ¶ 336. He stated that the OSG had been “partnered with” the Stanford Internet

 Observatory “over the last many months” before the rollout of the Health Advisory. Id. ¶ 337.

        The OSG parrots the phrasing of the Virality Project, using phrases like “all-of-society

 approach,” Doc. 214-1, ¶ 216, and “accountable” and “accountability,” id. ¶ 301. The OSG’s

 repeated demand for greater data-sharing from Facebook echoes a key demand of the Virality

 Project. Doc. 214-1, ¶ 226. Renee DiResta of the SIO is one of the “external researcher[s]” that

 the OSG demanded Facebook give access to its internal data. Id. ¶ 228. Moreover, Kyla

 Fullenwider, the OSG’s “subject matter expert” on disinformation, communicated directly with

 Renee DiResta about the Health Advisory and “misinformation.” Id. ¶¶ 230-232. Kyla was the

 chief architect of both of the Surgeon General’s major disinformation initiatives—the Health



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 Advisory and the RFI. Id. ¶ 244, 412. She was the “primary driver on the RFI from a content

 expert perspective.” Id. ¶ 412.

        Defendants contend that “[t]he Virality Project has not been active since 2022.” Doc. 266,

 at 51, ¶ 72. This statement is, at best, misleading. The “Virality Project” is simply another moniker

 for the ongoing “Election Integrity Project,” which is the same consortium of censorship entities

 (Stanford Internet Observatory, University of Washington’s Center for an Informed Public,

 Graphika, and the Atlantic Council’s Digital Research Lab), performing the same censorship

 activities, cooperating with the same partners, and using the same surveillance and censorship

 techniques and methods. See Doc. 214-1, ¶¶ 1223, 1236. This project continues to operate under

 the “EIP” moniker. For example, in a July 31, 2022 blog post, the EIP stated that “[t]he EIP is

 continuing its nonpartisan and collaborative work in the 2022 election cycle.”                   See

 https://www.eipartnership.net/blog/about-eip-2022. The EIP briefed Brian Scully in 2022 and

 indicated that “they were going to do something similar to what they did in 2020….” Doc. 214-1,

 ¶ 998. On July 27, 2022, Renee DiResta gave congressional testimony indicating that the

 consortium plans to continue its censorship activities into 2024 and beyond:

        Doing nothing is not an option. While the Election Integrity Partnership was intended to
        meet an immediate need, the conditions that necessitated its creation have not abated, and
        in fact may have worsened. Academia, tech platforms, civil society, and state and local
        election officials … must be committed to collaborative models for understanding and
        responding to rumors and false and misleading claims in the modern information
        environment.

 Written Testimony of Renee DiResta, Committee on House Administration (July 27, 2022), at

 https://fsi-live.s3.us-west-1.amazonaws.com/s3fs-public/2022-07-27_elections-

 cha_testimony_renee_diresta.pdf.

        Defendants’ other arguments lack merit. Defendants argue that the Surgeon General

 cannot threaten regulation because he “does not have independent regulatory authority.” Doc.

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 266, at 40, ¶ 54. But the Surgeon General’s Office is a department within HHS, which does have

 regulatory authority. Id. If OSG gathers information, HHS can use it to regulate. Id.

        Defendants rely heavily on the Declaration of Max Lesko, which they submitted for the

 first time in their response brief. Doc. 266-4, at 131-138. In a carefully phrased paragraph, Lesko

 denies that the OSG “direct[ed] a specific post or user be removed, suppressed, demonetized, or

 subject to other adverse action” or “made a specific, non-voluntary demand that a particular social-

 media company change its algorithms or content-moderation policies.” Id. at 134. But there is

 overwhelming evidence that the OSG repeatedly and publicly demanded that platforms change

 their algorithms and content-moderation policies, and ramp up enforcement, to target disfavored

 viewpoints. See supra. Lesko claims that the OSG never “threatened a social media company

 with legal action for failure to comply with recommendations or requests from Dr. Murthy or

 OSG,” Doc. 266-4, at 134, but the evidence cited above demonstrates a long series of explicit and

 implied threats. See supra. With respect to the Health Advisory rollout at Stanford Internet

 Observatory, Lesko stretches credulity by stating that “OSG did not understand that to be a Virality

 Project event,” Doc. 266-4, at 136—even Defendants admit that “[o]ne of the lead entities

 responsible for the Virality Project is the Stanford Internet Observatory.” Doc. 266, at 50. Suffice

 to say that the Virality Project said the exact opposite at the time—i.e., that the “Virality Project”

 hosted Dr. Murthy’s Advisory rollout. Doc. 214-1, ¶ 1285. Lesko claims that “OSG never

 provided any tip, flag, ticket, report, or other form of notification or input to the Virality Project

 concerning posts or accounts on social media.” Doc. 266-4, at 136. But there is extensive evidence

 of many other forms of collusion and collaboration between OSG and the Virality Project,




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 including Dr. Murthy’s public statement on July 15, 2021 that the OSG had been “partnered with”

 the Stanford Internet Observatory “over the last many months.” Doc. 214-1, ¶ 337.2

        C.      The CDC and Census Bureau Conspire with Platforms on Censorship.

        The CDC “proactively” flags disfavored speech for censorship. First, Defendants admit

 that the CDC “proactively alert[s] Facebook, Twitter, and YouTube about false COVID-19 claims

 the agency observed on the platforms that could adversely affect public health.” Doc. 266, at 52.

 This includes the fact that the CDC “received bi-weekly summaries (in what were called

 ‘CrowdTangle reports’) from Facebook about high-volume COVID-19 content circulating on its

 platform.” Id. at 53. Defendants admit that the CDC repeatedly “flagged” posts for censorship to

 the CDC, both by identifying trending topics and providing lists of sample posts. Doc. 266, at 59.

 And they admit that the “goal” of such “flagging” is to “be sure that people have credible health

 information,” i.e., to suppress the information the CDC views as non-credible. Id. at 59-60.

        There is overwhelming evidence of such “flagging” activity. See, e.g., Doc. 214-1, ¶¶ 459-

 460 (slide decks prepared by Census); ¶¶ 469-470; ¶¶ 481-483 (topics with lists of 16 sample



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   Defendants (Doc. 266, at 168) dispute the New York Times report of July 16, 2021, stating that
 Dr. Murthy had a series of “tense” meetings with platforms beginning in January 2021 where Dr.
 Murthy “angrily” demanded greater censorship and accused Facebook of not “do[ing] enough to
 defend against bad information.” Doc. 214-1, ¶¶ 338-344. Defendants claim that there is “no
 evidence” that Dr. Murthy met with social-media platforms prior to the first meeting disclosed in
 their interrogatory responses—the May 25, 2021 meeting between Nick Clegg, Dr. Murthy, and
 Andy Slavitt, which was supposedly just a quick introductory meeting. Doc. 266, at 168. Yet
 Nick Clegg’s contemporaneous emails plainly refer to meetings with Dr. Murthy that occurred
 before the May 25, 2021 meeting—corroborating the New York Times’ reporting and
 contradicting Defendants’ interrogatory responses. See Doc. 214-1, ¶ 283 (Clegg emailing Dr.
 Murthy on May 27, 2023, and stating that “[w]e’re committed to addressing the defensive work
 that you’ve called on us to address.”); see also id. ¶ 350 (Clegg indicating that he has “understood
 for some time … that there is disagreement on some of our policies”). Against this evidence,
 Defendants rely on Eric Waldo’s statement that he is “skeptical” of the New York Times report,
 Doc. 266, at 168, based on Waldo’s view that Dr. Murthy never “get[s] angry or even express[es]
 anger.” Waldo Dep. 223:20-224:2. But Waldo was not employed by the OSG until June 20, 2021,
 he has no first-hand knowledge whether such meetings occurred at all. See Waldo Dep. 12:5-6.
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 Facebook posts), ¶ 486 (BOLO meetings); ¶ 515 (BOLO email); ¶¶ 536-537 (Census slide deck

 to YouTube); ¶¶ 549-557 (BOLO meetings); ¶¶ 555-556 (BOLO slide decks); ¶ 565 (spreadsheet

 of claims flagged for Twitter); ¶ 567 (list of sample posts to Twitter); ¶¶ 568-573 (BOLO meetings

 with Twitter); ¶ 586 (BOLO email to Twitter). In her supplemental declaration, Carol Crawford

 admits that “a CDC employee used a Facebook reporting portal to identify four Facebook and

 Instagram posts containing vaccine misinformation.” Doc. 266-5, at 74, ¶ 18.

        Defendants argue that the flagging was innocuous because “the social media companies

 themselves ‘made decisions about’ how to handle misinformation on their platforms.” Doc. 266,

 at 60; see also Doc. 266-5, at 70. But the mere fact of “flagging” ensures that something that was

 not censored may be censored—if the platforms had already censored it, there would be no need

 to “flag” it for them. The officials both intend and cause the censorship. Moreover, the CDC did

 not just “flag” disfavored speech—it consistently flagged and debunked the disfavored speech, in

 a manifest attempt to have it taken down.

        In doing so, the CDC knew and intended that it was inducing the platforms to censor. Doc.

 214-1, ¶ 484. Crawford admits that “[w]hat we did provide was scientific information that I did

 assume that they might use to do those things,” i.e., censor speech by removing, deboosting, or

 labeling it. Id. ¶ 489; see also id. ¶ 499 (Crawford admitting that she knew Facebook would apply

 content-moderation policies to claims the CDC debunked); ¶ 517 (Crawford flagged posts to

 Facebook “understand[ing] that potentially removing posts was something they might do”). In

 flagging misinformation, the CDC “knew their policy teams or their trust teams or misinfo teams

 … would evaluate it,” and “knew that removal was one of the options that they had.” Id. ¶ 589.

        The CDC serves as a de facto censor on specific health claims. “Flagging” is only one

 of CDC’s censorship activities. The CDC also serves as the platforms’ de facto censor, with the



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 final authority dictating what health claims platforms will censor. Defendants admit that platforms

 routinely submitted lists of health-related “claims” to the CDC for debunking, and that “[a]fter

 checking with the relevant subject-matter experts as necessary, Ms. Crawford would respond by

 indicating whether the claims were false and harmful, and sometimes directing the company to

 information available on CDC’s website that directly responded to the false claim.” Doc. 266, at

 57. Once the CDC stated that a claim was “false and harmful,” the platform would censor it.

        Both Facebook and YouTube participated in this process with the CDC. Again and again,

 Facebook emailed Crawford lists of specific claims for the CDC to debunk, making it perfectly

 clear that, if the CDC debunked them, they would be censored. See, e.g., Doc. 214-1, ¶ 490-494,

 496-498, 511-514, 520-522, 525-528 (asking the CDC, for a long list of claims, to confirm whether

 “the claim is false,” and “[i]f believed, could this claim contribute to vaccine refusals”).

 Facebook’s content-moderation officer made very clear that she was asking the CDC to provide a

 definitive answer on the two factors that determine whether Facebook censors something: whether

 the claims “are false and can lead to harm.” Id. ¶ 501; see also id. ¶ 502 (Liz Lagone advising the

 CDC that “[w]e remove … posts on the ground that the claim is false and that it is harmful,” where

 “harmful” includes claims that might induce vaccine hesitancy). Crawford admits that the CDC’s

 input would guide Facebook’s decisions about what specific claims to censor. Id. ¶ 502.

        Google participated in this practice through oral meetings. Defendants admit that “Google

 (which owns YouTube) likewise requested CDC’s input on claims about COVID-19 vaccines

 circulating on YouTube’s platform. For instance, in March 2021, Google reached out to CDC to

 ask if a “vaccine expert[]” from CDC could join a call where Google “‘plan[ned] to share a new

 list of . . . vaccine misinformation claims’ that the company had compiled.” Doc. 266, at 58.

 Defendants admit that platforms such as Google continue to consult with the CDC to seek



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 justification to censor supposedly “misinformation” on other health-related topics. Doc. 266, at

 58-59. This de facto censorship occurred in oral meetings; for example, Google emailed Crawford

 stating, “we plan to share a new list of common vaccine misinformation claims and would love it

 if [a CDC ‘subject-matter expert’] or other vaccine experts could join.” Doc. 214-1, ¶¶ 539; see

 also id. ¶¶ 541-542, 547-548, 559-560 (evidence of many such meetings where the CDC’s experts

 debunked claims for Google).

        Defendants argue that “[w]hen responding to Facebook, CDC did not instruct the company

 to remove or take any other action against posts or users promoting claims that CDC concluded

 were false and hazardous to public health.” Doc. 266, at 57. But the whole point of these inquiries

 was for the platform to outsource to the CDC its decision on whether or not to censor specific

 health claims, and the CDC knew that and embraced the role. For example, Crawford understood,

 and was “happy,” that the CDC’s information would cause disfavored viewpoints to be censored:

 “I’m happy that providing the scientific information led to less spread of misinformation.” Doc.

 214-1, ¶ 522. Crawford admits that the CDC’s input would “determine” how Facebook applied

 its content-moderation policy: “I know that they’re using our scientific information to determine

 their policy.” Id. ¶ 529 (emphasis added). Facebook openly stated that its decision to censor

 claims about childhood vaccines was “as a result of our work together” with the CDC. Id. ¶ 519.

 On the “causes harm” prong of Facebook’s test for censorship, Crawford simply provided a blanket

 statement without any support from her “subject-matter experts”: “It appears that any of these

 could potentially cause vaccine refusal.” Id. ¶ 525. In 2022, Facebook notified Crawford of

 “updates” to its policies that Facebook made “as a result of our work together.” Id. ¶ 526.

        The Census Bureau used the platforms’ misinformation-reporting portals. Defendants

 contend that no one at the CDC much used Facebook and Twitter’s misinformation-reporting



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 portals, Doc. 266, at 62, and they downplay the Census Bureau’s involvement in the CDC’s

 censorship activities, id. at 63-64. Both claims are incorrect. Facebook evidently gave four Census

 Bureau employees and contractors access to its “COVID-19 misinfo reporting channel.” Id. ¶ 476.

 Likewise, Census contractor Christopher Lewitzke emailed Twitter to ask for access to Twitter’s

 misinformation-reporting channel, the “Partner Support Portal,” for a long list of Census

 employees and contractors. Id. ¶ 581. Using these portals was consistent with Census’s past

 practices with platforms. Id. ¶ 582. The CDC also asked Facebook to give Census personnel

 access to CrowdTangle. Id. ¶ 471. The Census Bureau and its contractors, rather than CDC

 officials, were submitting reports through the special misinformation reporting portals.

        The CDC continues to engage in censorship of health-related speech. Defendants

 contend that the “CDC no longer has regular meetings with any social media company except for

 Google, and it has no regular or direct communications with any social media company about

 misinformation.” Doc. 266, at 55. But in fact, Defendants admit that the CDC engages in ongoing

 activities regarding misinformation: “CDC has some occasional, indirect contact with personnel

 from social media or technology companies that may relate to misinformation. … CDC also funds

 and attends conferences that discuss misinformation and infodemic management, and personnel

 from social media companies may attend or speak at those conferences.” Id. at 56. The CDC

 admits to meeting with Google about “misinformation” in March 2022, shortly before this suit was

 filed, without explaining nature of the meeting. Doc. 266-5, at 72, ¶ 11.

        Further, the CDC continued to engage in censorship until Defendants produced the CDC’s

 documents. For example, on June 29, 2022, Google emailed Crawford and sought the CDC’s input

 to debunk and censor claims about the safety and effectiveness of administering progesterone to

 reverse chemical abortion. Id. ¶ 561. Crawford responded by offering to assist the agency. Id.



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 With respect to such censorship requests, Crawford admits that the CDC’s “focus is not solely on

 COVID. We’re focusing on other topics.” Id. ¶ 562. In her supplemental declaration, Crawford

 admits that the CDC received such requests “in summer 2022.” Doc. 266-5, at 74, ¶ 19.

        D.      Dr. Fauci Perpetrates Campaigns of Deception to Censor Disfavored
                Viewpoints.

        Defendants’ statement of facts with respect to Dr. Fauci does not dispute the vast majority

 of Plaintiffs’ exhaustively supported Proposed Findings of Fact. See Doc. 266, at 64-68; contrast

 Doc. 214-1, ¶¶ 596-852. The factual claims they do make are not well-supported.

        For example, Defendants claim that “Dr. Fauci had only limited interactions with Facebook

 during 2020.” Doc. 266, at 66, ¶ 102. In fact, Defendants’ interrogatory responses detail thirteen

 meetings and communications between Dr. Fauci and Mark Zuckerberg over a nine-month period

 in 2020. Doc. 214-1, ¶ 755 (citing Scully Ex. 12, at 53-54). These emails reflect close coordination

 between Zuckerberg and Fauci. See id. ¶¶ 750-755. And, in early 2020, Zuckerberg already has

 Fauci’s email address and addresses him by his first name. Id. ¶ 748.

        Defendants parrot Dr. Fauci’s repeated claims in his deposition that he does not “pay

 attention to” anything to do with social media and does not have social-media accounts. Doc. 266,

 at 67. This claim is not credible. In fact, Dr. Fauci’s daughter was then a software engineer at

 Twitter, Fauci Dep. 99:23-100:15; Dr. Fauci has done numerous podcasts and interviews on social

 media, including with Mark Zuckerberg, Fauci Dep. 99:16-19, 101:1-6; Dr. Fauci had specifically

 expressed concern about “the threat of further distortions on social media” about the lab-leak

 theory, id. ¶ 683, Fauci Ex. 8, at 2 (emphasis added); and Dr. Fauci’s communications staff

 repeatedly emailed Twitter to try to remove postings critical of Dr. Fauci.” Doc. 214-1, ¶ 685. Dr.

 Fauci is keenly attuned to the importance of controlling speech on social media. As he stated in a

 private email to co-conspirators plotting to discredit and censor the lab-leak theory, “given … the


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 threat of further distortions on social media, it is essential that we move quickly.” Id. ¶ 683

 (emphasis added). Dr. Fauci’s private words and conduct demonstrate a great deal of concern

 about what is said on social media, and how federal officials like himself can control it. See id.

 ¶¶ 742-745 (social-media censorship of the lab-leak theory that Dr. Fauci plotted to discredit);

 ¶¶ 771-775 (social-media censorship of speech advocating for hydroxychloroquine, which Dr.

 Fauci plotted to discredit); ¶¶ 799-804 (social-media censorship of the Great Barrington

 Declaration, which Dr. Fauci plotted to discredit); ¶ 841 (social-media censorship of Alex

 Berenson, whom Dr. Fauci plotted to discredit). “When Dr. Fauci spoke, social media censored.”

 Written    Testimony    of   U.S.   Senator    Eric    S.   Schmitt   (March    30,     2023),    at

 https://judiciary.house.gov/sites/evo-subsites/republicans-judiciary.house.gov/files/evo-media-

 document/schmitt-testimony.pdf.3

        Defendants point out that Dr. Fauci has retired and been replaced as NIAID Director by

 Dr. Hugh Auchincloss. Doc. 266, at 66 & n.34. But Dr. Auchincloss, Dr. Fauci’s former chief

 deputy, worked hand-in-glove with Dr. Fauci on censorship. Dr. Auchincloss is the man who, at

 the beginning of the lab-leak plot, received the email from Dr. Fauci at 12:29 a.m. on a Saturday

 morning marked “IMPORTANT,” which stated: “Hugh: It is essential that we speak this AM.

 Keep your cell phone on … You will have tasks today that must be done.” Id. ¶ 640. The email

 attached the research paper by Ralph Baric and Shi Zhengli detailing NIAID-funded gain-of-

 function research on bat coronaviruses at the Wuhan Institute of Virology. Id. ¶ 641.




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   Further, internal Twitter documents reveal that, in 2021, “Dr. Anthony Fauci did an account
 takeover of @WHCovidResponse,” the White House’s COVID response Twitter account, and
 answered       32    user   questions    with    over   4    million   impressions.        See
 https://twitter.com/thackerpd/status/1649037545630494720/photo/1. Dr. Fauci, evidently, is not
 quite the social-media neophyte he claims to be.
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        E.       CISA Engages in Extensive, Ongoing Social-Media Censorship Activities.

        CISA attempts to downplay its involvement in such censorship activities as the USG-

 Industry meetings, “switchboarding,” and the EIP. Doc. 266, at 69-86. These attempts fail.

        Switchboarding.      Defendants admit that, during 2020, CISA engaged in extensive

 “switchboarding” activities to flag disfavored content for censorship to platforms. Doc. 266, at

 74-77; see also Doc. 214-1, ¶ 972; Doc. 266-5, at 173 (Hale Decl.). Defendants try to frame

 CISA’s switchboarding as a merely passive activity. Relying heavily on a preprinted, boilerplate

 disclaimer in their emails to platforms (which only seems to appear during the Trump

 Administration), Defendants contend that it would “leave it to the companies to make decisions

 based on their terms of service.” Doc. 266, at 78. Even if it had been purely passive, CISA’s

 “switchboarding” would still be the but-for cause of censorship; as Scully admits, “if it hadn't been

 brought to their attention then they obviously wouldn’t have moderated it.” Doc. 214-1, ¶ 974.

        Further, CISA’s “switchboarding” was not the merely passive exercise that Defendants

 portray. It involved active lobbying of platforms to remove disfavored content. Scully commonly

 performed such fact-checking for platforms to support CISA’s requests for censorship. Id.

 ¶¶ 1076-1077.    This included both doing open-source research and affirmatively obtaining

 information from state and local officials to “debunk” social-media claims to platforms. Id.

 ¶ 1077. In doing so, CISA always assumed that the government official’s account, not the private

 citizen’s account, was accurate. Id. ¶ 1078. Defendants admit that “CISA would ask social media

 platforms to report back on how … they had addressed misinformation CISA had flagged on behalf

 of [state and local] officials.” Doc. 266, at 77.

        Switchboarding was extensive. At least six members of CISA’s MDM team “took shifts”

 in reporting putative “misinformation” to social-media platforms in 2020. Doc. 214-1, ¶ 1063.



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 Platforms treated CISA, a federal national-security agency, as a privileged reporter of

 misinformation, often responding within minutes to reports, even late at night. Id. ¶ 1081.

        CISA’s flagging included long lists of tweets to remove, and it included obvious parody

 accounts. Id. ¶ 1102. CISA also pushed for censorship of content that its Director particularly

 disfavored. For example, Scully asked platforms for a detailed report on their censorship of the

 “Hammer and Scorecard” narrative, because “Director Krebs is particularly concerned about the

 hammer and scorecard narrative.” Id. ¶ 1104. Twitter responded by inviting CISA to flag “high-

 profile examples of tweets” on this topic that CISA wanted censored. Id.

        Defendants contend that CISA stopped “switchboarding” after the 2020 election cycle. But

 Scully testified that CISA’s decision to stop “switchboarding” was made in late April or early May

 2022, i.e., just after the filing of this lawsuit. Id. ¶ 975. Thus, CISA suddenly decided to stop

 “switchboarding” once that practice was challenged in this lawsuit. See id.; see also Doc. 266, at

 77 (admitting that the decision to stop switchboarding was made in “April or May 2022”). Hale’s

 declaration does not dispute this timeline, and it does not dispute Plaintiffs’ longstanding insistence

 that CISA decided to stop “switchboarding” because of this lawsuit. See Doc. 266-5, at 175 (Hale

 Decl. ¶ 78). In fact, through the filing of Plaintiffs’ supplemental brief in February 2023, CISA

 continued to proclaim on its website that its “MDM team serves as a switchboard for routing

 disinformation concerns to appropriate social media platforms.” Doc. 214-1, ¶ 976.

        In addition, once CISA stopped “switchboarding,” it took careful steps to ensure that the

 same “flagging” activities would occur through other channels. In the spring and summer of 2022,

 Lauren Protentis urged platforms to prepare “one-pagers” for state and local election officials and

 lobbied the platforms to ensure that they included instructions for how to report misinformation




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 for censorship, i.e., “steps for flagging or escalating MDM content,” “steps to … report MDM,”

 and “how to report disinformation.” Id. ¶¶ 1094-1096.

        USG-Industry Meetings and other meetings. Defendants contend that CISA’s continuous

 battery of meetings with platforms about mis- and disinformation are wholly innocuous. Doc. 266,

 at 80-84. The facts contradict this narrative. First, the “USG-Industry meetings” are large,

 extensive, and ongoing. Geoff Hale admits that, during 2022, “CISA participated in regular

 meetings often referred to as USG-Industry meetings,” which “included CISA, DHS, FBI, U.S.

 Department of Justice, the Office of the Director of National Intelligence, Google, Facebook,

 Twitter, Reddit, Microsoft, and Verizon Media.” Doc. 266-5, ¶ 68. As Elvis Chan (who attends

 the meetings) testified, the meetings are attended by representatives of CISA, the Department of

 Homeland Security’s Intelligence & Analysis division (“I&A”), the Office of the Director of

 National Intelligence (ODNI), the FBI’s Foreign Influence Task Force (FITF), as well as DOJ’s

 National Security Division. Doc. 214-1, ¶ 861.

        CISA is the organizer and plays a leading role in these meetings. First Matt Masterson,

 and now Brian Scully, are “regular attendees” who “usually emcee[]” the USG-Industry meetings.

 Doc. 214-1, ¶ 863. CISA leads a bilateral “coordination call” with Facebook to plan for each USG-

 Industry meeting. Id. ¶ 978. CISA also leads an interagency planning meeting for each USG-

 Industry meeting. Id. ¶ 984. CISA “oversee[s]” and “facilitate[s]” the USG-Industry meetings.

 Id. ¶ 981. Both CISA and DHS’s Office of Intelligence & Analysis participate in them. Id.

        The meetings have occurred regularly since 2018. Id. ¶ 983. They occurred throughout

 the 2022 election cycle. Id. ¶ 987. “[C]oncerns about misinformation and disinformation on social

 media platforms were discussed in these meetings in the 2022 timeframe.” Id. The USG-Industry

 meetings are monthly, but they become biweekly and then weekly as election day approaches. Id.



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 ¶ 1087. The meetings “were continuing” at the time of Elvis Chan’s deposition, and he expected

 that they would continue through the 2024 election cycle. Id. ¶ 866.

        Defendants argue that the USG-Industry meetings did not involve pushing platforms to

 censor speech. Doc. 266, at 81. But Defendants then admit that the meetings involve “upcoming

 ‘watch outs,’” i.e., future disinformation topics to be on the lookout for, like the CDC’s “BOLO”

 meetings. Id. at 80. Elvis Chan admits that the parties discuss “disinformation content” at the

 USG-Industry meetings. Doc. 214-1, ¶¶ 865-866.

        Moreover, the USG-Industry meetings were used to push the platforms to censor the

 Hunter Biden laptop story. At the USG-Industry meetings, FBI and CISA issued baseless

 warnings about imminent “hack and leak” operations that led to the censorship of the Hunter Biden

 laptop story. Id. ¶¶ 881-883. Both Elvis Chan and Laura Dehmlow of the FBI raised such

 warnings at the USG-Industry meetings. Id. ¶¶ 882-883. So did other FBI officials. Id. ¶ 889.

 Matt Masterson and Brian Scully of CISA also raised warnings about “hack and leak” operations

 during the USG-Industry meetings. Id. ¶ 894. As a result of these warnings, some platforms

 adopted new censorship policies to provide for the censorship of hacked materials. Id. ¶ 884. The

 “impetus” for these changes was the repeated warnings from the FBI and CISA about the

 likelihood of imminent “hack and leak” operations. Id. In addition to raising warnings, the FBI

 repeatedly inquired of the platforms whether they “had changed their terms of service” to censor

 hacked materials, effectively urging them to adopt these policy changes. Id. ¶¶ 885-887.

        The FBI had no investigative basis to believe that any “hack and leak” operation was

 imminent. Id. ¶ 893 (“we were not aware of any hack-and-leak operations that were forthcoming

 or impending”). Yet CISA’s emails planning the USG-Industry meetings in 2020 included agenda

 items such as “preparing for so-called ‘hack and leak’ operations attempting to use platforms and



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 traditional media for unauthorized information drops,” id. ¶ 1090; and “Deep Dive Topic …

 Hack/Leak and USG Attribution Speed/Process,” id. ¶ 1091.

        Defendants claim that their other meetings—such as those of the Cybersecurity Advisory

 Committee and its MDM Subcommittee do not involve pushing for censorship of social-media

 speech. This is incorrect. For example, on June 22, 2022, CISA’s Cybersecurity Advisory

 Committee issued a “Draft Report to the Director” calling for an extremely broad view of CISA’s

 mandate to expand censorship into new areas. Doc. 214-1, ¶ 1118. The report states that “[t]he

 spread of false and misleading information poses a significant risk to critical functions like

 elections, public health, financial services, and emergency response.” Id. It claims: “Pervasive

 MDM diminishes trust in information, in government, and in democratic processes more

 generally.”   Id. The report states that “CISA should consider MD across the information

 ecosystem,” including “social media platforms of all sizes, mainstream media, cable news, hyper

 partisan media, talk radio, and other online resources.” Id. Further, CISA also has a long series

 of bilateral meetings with platforms about misinformation that were not disclosed in interrogatory

 responses and are not addressed in the Government’s response brief. Id. ¶¶ 1084-1085.

        The Election Integrity Partnership.       Defendants contend that CISA had “limited

 involvement with the Election Integrity Partnership.” Doc. 266, at 84. On the contrary, CISA’s

 involvement in the EIP included at least the following: (1) the EIP was formed to address a “gap”

 in the government’s surveillance and censorship activities that CISA identified to its Stanford-

 affiliated interns; (2) CISA interns originated the idea for the EIP; (3) CISA had a series of

 meetings with Alex Stamos and Renée DiResta about forming the EIP before it began, including

 one meeting listed on the EIP’s “Operational Timeline” as “Meeting with CISA to present EIP

 concept”; (4) CISA connected the EIP with the Center for Internet Security, which runs a CISA-



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 funded clearinghouse for state and local government officials to communicate about

 misinformation; (5) CISA connected the EIP directly with NASS and NASED, organizations of

 state and local government officials, so they could report misinformation to the EIP; (6) CISA had

 ongoing communications with the EIP about its public reports on misinformation as the EIP

 operated in 2020; (7) CISA collaborated closely with the Center for Internet Security on flagging

 misinformation to platforms, while CISA knew that CIS was collaborating with the EIP; (8) CISA

 flagged misinformation to social-media platforms using EIP tracking numbers; (9) CISA interns,

 who were working for CISA and the EIP at the same time, flagged “misinformation” to platforms

 simultaneously on behalf of CISA and on behalf of the EIP; (10) CISA mediated and coordinated

 between the EIP, CIS, and the platforms on reporting misinformation to address the platforms’

 concerns about duplicative reports; (11) the EIP debriefed CISA after the 2020 election cycle about

 its activities and public report; and (12) there is extensive overlap of personnel between CISA and

 the EIP, including interns working simultaneously for both groups, and key EIP leaders such as

 Alex Stamos, Renee DiResta, and Kate Starbird having formal roles at CISA. Further, as discussed

 below, (13) CISA funds the EI-ISAC, which is a clearinghouse used to report misinformation to

 the EIP; (14) the EIP’s operations were directly financed by federal funding; and (15) federal

 officials at the Global Engagement Center flagged misinformation directly to the EIP.

        When EIP was starting up, CISA’s “involvement” included at least the following:

        (1) “a couple of our [CISA] interns came up with the idea and … [CISA] had some
        communications with” the EIP. Scully Depo. 49:8-10. (2) CISA “received some briefings
        on the work that they were doing.” Scully Depo. 49:13-14. (3) CISA “had some
        communications early on in the process, when they were making decisions, when Stanford
        was trying to figure out what the gap was.” Scully Depo. 49:18-21. (4) CISA “connected
        them [EIP] with the Center For Internet Security,” which is a CISA-funded nonprofit that
        channels reports of disinformation from state and local government officials to social-
        media platforms. Scully Depo. 50:5-6. (5) CISA also “connected them [EIP] with some of
        the election official groups,” i.e., “the National Association of Secretaries of State [NASS]
        and the National Association of State Election Directors [NASED],” both of which are

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        groups of state and local government officials who would report misinformation through
        CIS to the EIP. Scully Depo. 50:6-10. (6) And CISA “facilitated some meetings between
        those three.” Scully Depo. 50:10-11.

 Doc. 214-1, ¶ 993. The CISA interns who originated the idea of the EIP “worked for the Stanford

 Internet Observatory, as well.” Id. ¶ 994. Scully identified the “gap,” i.e., the problem that federal

 and state officials lack authority and capacity to monitor and report misinformation to platforms

 effectively, to the interns, who devised the EIP as a solution to bridge that “gap.” Id. ¶¶ 995-996.

 Scully and other CISA officials “had some initial conversation with the interns” about this “gap,”

 and then they also “had a conversation with the Stanford Internet Observatory folks about the gap.”

 Scully Depo. 52:3-6. Then, CISA “received a briefing from them [EIP], or two, on kind of what

 they were putting together.” Scully Depo. 52:7-9. Scully and other CISA officials then “facilitated

 some meetings between Stanford folks, the Center For Internet Security, and election officials,

 where they had discussions about how they would work together.” Scully Depo. 52:10-13. As the

 EIP progressed, CISA “had some conversations, kind of throughout, when they were -- particularly

 when they were putting out public reporting about what they were seeing.” Scully Depo. 52:14-

 17. In addition, Scully “wouldn't be surprised if there were some other kind of brief conversations

 in there.” See Doc. 214-1, ¶ 997. The EIP continued operating during the 2022 election cycle,

 and the SIO briefed CISA on the EIP’s activities during that cycle. Id. ¶ 998.

        CISA funds the Center for Internet Security in its activity of overseeing the EI-ISAC, which

 is an organization for information-sharing among state and local government election officials.

 Scully Depo. 61:9-10, 62:1 (“CISA provides funding for the EI-ISAC”). See Doc. 214-1, ¶ 1002.

 The EI-ISAC receives reports of misinformation and forwards them to the EIP. CIS continued to

 report misinformation and disinformation for censorship during the 2022 election cycle. Id.

 ¶ 1098. Defendants contend that DHC does not fund CIS’s disinformation work, but they admit



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 that CISA “has provided financial assistance to CIS through a series of cooperative agreement

 awards to provide specified cybersecurity services … through the MS- and EI-ISACs.” Doc. 266,

 at 73. In other words, CISA admits that it funds the EI-ISAC, which is the platform through which

 CIS conducts its disinformation work, in cooperation with the EIP. Id.

         CISA established a triangular relationship of cooperation on censorship among CISA, CIS,

 and the EIP. CISA connected the EIP with CIS because “the EIP was working on the same

 mission,” so “we wanted to make sure that they were all connected.” Doc. 214-1, ¶ 1004. CISA

 served a mediating role between CIS, the EIP, and the platforms, to coordinate their efforts in

 reporting misinformation to the platforms and avoid “duplicate reporting.” Id. ¶ 1007. There was

 also direct email communication between EIP and CISA about misinformation reporting. Id. ¶

 1008.

         Key personnel of the EIP, such as Alex Stamos, Renee DiResta, and Kate Starbird, also

 have formal roles with CISA. Id. ¶¶ 1011-1012, 1170-1171. CISA political appointee Matt

 Masterson communicated directly with the EIP, and Geoff Hale may have done so as well. Id. ¶

 1014.   When he left CISA, Masterson did a one-year fellowship at the Stanford Internet

 Observatory. Id. ¶ 1021. CISA Director Christopher Krebs had a relationship with Alex Stamos.

 Id. ¶ 1015.   When he left CISA, Krebs started a consulting firm with Stamos called the

 “Krebs/Stamos Group.” Id. While he was still CISA Director, Krebs met with Stamos as Stamos

 was setting up the EIP.     Id. ¶ 1016.    Two CISA interns who “took shifts” in reporting

 misinformation to platforms on behalf of CISA were also working for the Stanford Internet

 Observatory and flagging misinformation to platforms on behalf of the EIP. Id. ¶¶ 1064, 1066.

         Masterson and Scully engaged with the EIP on their “public reporting” about election-

 related misinformation. Id. ¶ 1018. Masterson was also involved in the initial discussions with



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 Stanford about staring the EIP, including “clarifying the gap … for the folks at the Stanford

 Internet Observatory early on in the process.” Id. CIS and the EIP had a relationship and shared

 information. Id. ¶ 1032. The Virality Project reports that the EI-ISAC “served a critical role in

 sharing information with the Election Integrity Partnership.” Id. ¶ 1045. CISA’s “tracking

 spreadsheet” for its “switchboarding” reports contains at least 13 entries where CISA flagged

 misinformation to platforms using EIP ticket numbers. Doc. 214-35, Lines 86-96, 115, 123.

        CISA’s involvement was critical to the launching and operation of the EIP. Alex Stamos

 consulted with CISA because he needed CISA to connect him with state and local election officials

 to obtain misinformation reports. Doc. 214-1, ¶ 1022. Scully connected the EIP with state and

 local election officials through NASS and NASED, and “facilitate[d] some meetings between”

 EIP and local election officials. Id. ¶¶ 1024-1025. Scully also connected the EIP to the Center for

 Internet Security, which runs the CISA-funded EI-ISAC, and “set up a direct line of

 communication between CIS and EIP.” Id. ¶ 1024. Scully understands that, once this “direct line”

 was set up, CIS forwarded misinformation reports to EIP. Id. ¶ 1026. Scully testifies that “EI-

 ISAC is a part of CIS and we do fund the EI-ISAC.” Id. ¶ 1027. CIS reported misinformation to

 CISA and the EIP simultaneously, which CISA would then forward to platforms. Id.¶ 1070. CIS,

 like CISA, used EIP ticket numbers in its misinformation reports to CISA. Id. ¶ 1075.

        Geoff Hale contends that “CISA’s involvement in the creation and operation of the EIP has

 been very limited,” Doc. 266-5, at 170, but Hale admits that (1) CISA officials told the SIO interns

 about the “gap,” id. at 171; (2) “CISA personnel had a conversation with the SIO personnel” about

 the gap, i.e., that “state and local election officials lacked the resources and capability to identify

 and respond to potential election security-related disinformation impacting their jurisdictions,”

 after which “SIO … launched the EIP,” id.; (3) “CISA connected the EIP with election



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 stakeholders, such as NAASS, NASED, and CIS,” id.; (4) “both CISA and the EIP received reports

 of potential election security-related disinformation from state and local election officials through

 CIS,” id.; (5) “the EIP briefed CISA regarding EIP’s plans for the 2022 election cycle,” id. at 172;

 (6) “[c]ertain Stanford University students have interned for CISA and also the SIO, and “[t]hrough

 their SIO work, I understand they may have supported the EIP,” id.; and (7) “CISA … has attended

 public briefings the EIP has provided,” id.

        Hale contends that “CISA has never provided funding to the EIP,” Doc. 166-5, ¶ 176, but

 in fact, the federal government funds the EIP through other sources: “Researchers who contributed

 to the EIP … receive partial support from the U.S. National Science Foundation (grants 1749815

 and 1616720).” Doc. 214-1, ¶ 1164. Further, the Atlantic Council is federally funded. Id. ¶ 1165.

        The EIP’s public report, The Long Fuse, confirms CISA’s extensive involvement in the

 launching and operation of the EIP. The EIP states that it was created “in consultation with CISA.”

 Doc. 214-1, ¶ 1138. It agrees that CISA interns originated the EIP to fill a perceived “gap” in

 government authority to conduct social-media censorship activities. Id. ¶¶ 1139-1140, 1166. It

 admits that federal officials could not conduct the EIP’s activities directly, because they “would

 likely be excluded from law enforcement action under the First Amendment and not appropriate

 for study by intelligence agencies restricted from operating inside the United States.” Id. ¶ 1141.

 The EIP did not just report misinformation; it pushed platforms to adopt more restrictive

 censorship policies, and pushed for aggressive enforcement of those policies. Id. ¶¶ 1148-1151.

        The EIP lists “Government” as a “Major Stakeholder,” and makes clear that “stakeholders”

 who could submit “tickets” included “trusted” partners such as CISA, the GEC, and the EI-ISAC.

 Id. ¶¶ 1151-1153. As a key point in its “Operational Timeline,” the EIP lists a July 9, 2020,

 “Meeting with CISA to present EIP concept.” Id. ¶ 1169. One of the EIP’s stated goals was to



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 “flag policy violations to platforms.” Id. ¶ 1172. The GEC submitted “tickets” to the EIP to flag

 misinformation for platforms. Id. ¶ 1179, 1197. The CIS was a major reporter of misinformation

 to the EIP. Id. ¶ 1188. The EIP aptly states that “in its structure and its operations,” the EIP

 “united government, academia, civil society, and industry.” Id. ¶ 1228 (emphasis added).

        CISA’s Censorship Activities Are Ongoing. Defendants suggest that CISA no longer

 engages in censorship activities—for example, by ceasing its “switchboarding” activities and

 disbanding the “MDM Subcommittee” of the CSAC. These post-litigation decisions contrast with

 CISA’s longstanding, publicly avowed stance in favor of expanding its censorship activities.

        DHS’s Office of Inspector General reported in late 2022 that CISA “counters all types of

 disinformation, to be responsive to current events.” Id. ¶ 1113. Leaked DHS documents indicate

 that CISA is expanding its counter-disinformation efforts to address “the origins of the COVID-

 19 pandemic and the efficacy of COVID-19 vaccines, racial justice, U.S. withdrawal from

 Afghanistan, and the nature of U.S. support to Ukraine.” Id. ¶ 1110. Scully confirms that CISA

 has initiatives targeting misinformation about COVID-19 vaccines and the war in Ukraine. Id.

 ¶ 1111. Scully believes that the “Unified Coordination Group” about the war in Ukraine, which

 included a member of CISA’s MDM team, communicated with social-media platforms. Id. Scully

 confirms that CISA is working with Department of Treasury to address misinformation that

 undermines “public confidence” in “financial services” and “financial systems.” Id. ¶¶ 1115-1116.

 Hale’s declaration confirms that CISA engages in disinformation work regarding COVID-19, the

 war in Ukraine, and the financial services industry. Doc. 266-5, at 163 (¶¶ 17-19). In late

 November 2021, Director Easterly stated that “I am actually going to grow and strengthen my

 misinformation and disinformation team.” Id. ¶ 1114. Easterly makes clear that she interprets

 CISA’s mandate to protect “infrastructure” to include “cognitive infrastructure,” and that it is



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 “really, really dangerous if people get to pick their own facts.” Id. On February 26, 2022—two

 months before this lawsuit was filed—Easterly’s private text messages with Matt Masterson state

 that she believes CISA is “looking to play a coord role so not every [department and agency] is

 independently reaching out to platforms which could cause a lot of chaos.” Id. ¶ 1108. Her text

 messages also state that DHS is planning “to look at potential new areas of confronting MDM, but

 it doesn’t change or impact anything we [CISA] are doing or have already established.” Doc. 71-

 5, at 2. And, on February 26, 2022, she texted that she is “[j]ust trying to get us in a place where

 Fed can work with platforms to better understand the mis/dis trends so relevant agencies can try

 to prebunk/debunk as useful.” Id. at 3. Masterson responded: “We’ll get there. … Platforms have

 got to get more comfortable with gov’t.” Id. at 4.

        F.      The FBI Pressures and Colludes With Platforms to Remove Domestic Speech.

        The FBI contends that, in its censorship activities, it is fighting back against “information

 warfare” waged by foreign enemies. Doc. 266, at 92. But there is no “information warfare”

 exception to the First Amendment. The FBI has many lawful tools to fight this “warfare,” but it

 may not employ unconstitutional tools. Yet that is what the FBI does, on a grand scale.

        The FBI’s Mass-Flagging Operations. First, the FBI engages in flagging operations on a

 massive scale. The FBI admits that it shares “tactical” information with platforms, i.e., “describing

 attributes, or indicators, of particular social media accounts indicating they were being operated

 by foreign malign actors.” Doc. 266, at 95. In practice, this means bombarding platforms with

 long lists of specific speakers, accounts, and content, “one to five times per month,” that the FBI

 wants to censor. Doc. 214-1, ¶¶ 905-911. “Tactical information” means “IP addresses, email

 accounts, social media accounts, website domain names, and file hash values.” Id. ¶ 906. These

 are targeted for “account takedowns,” i.e., “knocking down accounts” and “knocking down



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 misinformation content.” Id. ¶¶ 907-908. The FBI targets these accounts because Americans

 engage with them on social media, and to prevent Americans from doing so. Id. ¶¶ 915-917.

        Using Teleporter, an encrypted messaging service, the FBI sends platforms lists of

 speakers, accounts, websites, URLs, etc. to be censored about “one to five times per month,” and

 also flags such speakers and content at the regular meetings with platforms. Id. ¶¶ 931-935. Each

 flagging communication may include anywhere from “one account or one selector to … a whole

 spreadsheet full of them.” Id. ¶ 933. Such messages may flag “dozens” or “hundreds of accounts”

 for censorship. Id. ¶¶ 935, 941. “In general,” these messages go to seven major social-media

 platforms. Id. ¶ 936. The FBI then requests that the platforms report back to them on the actions

 taken on the reported URLs “at every quarterly meeting.” Id. ¶ 937.

        The FBI treats First Amendment-protected speech by American citizens on core political

 topics as acceptable collateral damage in its “information war.” See Doc. 214-1, ¶¶ 917-924. For

 example, the FBI induced platforms to take down a supposedly Russian-originated “Secure the

 Border” post that had 134,943 “likes,” a pro-Second Amendment message that had 96,678 “likes,”

 and a “Black matters” post that had 223,799 “likes.” Id. ¶ 919. Every one of those “likes” was an

 act of First Amendment-protected expression.        The FBI also induced platforms to block a

 supposedly Russian-originated website that hosted content from 20 freelance journalists, including

 Americans, id. ¶ 922; and a website to which many ordinary Americans posted content, id. ¶ 923.

        In addition, the FBI runs a “command post” on and around election day, which flags

 domestic “disinformation” for platforms in real-time. Id. ¶ 925. In reporting such supposed

 “disinformation,” the FBI makes no attempt to determine whether it is foreign or domestic in

 origin. Id. ¶ 926. The FBI has about a “50 percent success rate” in getting reported content taken

 down or censored by platforms. Id. ¶ 928.



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        The FBI’s mass-flagging operations leverage pressure from federal officials. Based on

 personal observation and conversations with both federal officials and social-media platforms,

 Chan testifies that pressure from federal officials—including threats of adverse legal

 consequences—forced social-media platforms to censor election-related speech more aggressively

 between 2017 and 2020. Doc, 214-1, ¶¶ 945-961. Chan testifies that “pressure from Congress,

 specifically HPSCI and SSCI,” induced platforms to adopt more aggressive censorship policies

 and enforcement. Id. ¶ 946. This includes congressional hearings where the CEOs of Twitter,

 Facebook, and Google were publicly pressured and raked over the coals. Id. ¶¶ 947-949. It also

 includes covert pressure where high-level congressional staffers flew to Silicon Valley to meet

 privately with platforms and threaten them with adverse legislation in secret meetings. Id. ¶¶ 950-

 961. Chan testifies that the platforms involved viewed these meeting as “exercising a lot of

 pressure” on them. Id. ¶ 951. The platforms’ “changes in takedown policies … resulted from that

 kind of pressure from Congress.” Id. ¶ 953.

        Citing Yoel Roth’s congressional testimony, Doc. 266, at 88, the Government argues that

 the FBI was careful not to cross the line into pressuring Twitter to take specific actions on the

 accounts it flagged. But the FBI did not need to pressure the platforms to induce them to comply

 with its requests—the platforms had already been receiving years of public and private pressure

 from other federal officials to expand their censorship on these very issues. Doc. 214-1, ¶¶ 945-

 961. Thus, when asked whether Twitter’s increased efforts “[b]eginning in 2017” to “invest really

 heavily in building out an election integrity function” were “driven in part by … concerns raised

 by Congress and the US government,” Yoel Roth answered, “Yes.” Doc. 266-2, at 89.

        The FBI’s censorship operations continue unabated. The FBI’s censorship operations

 are ongoing; as Elvis Chan publicly stated, “post-2020, we’ve never stopped … as soon as



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 November 3rd happened in 2020, we just pretty much rolled into preparing for 2022.” Doc. 214-

 1, ¶ 967. The FBI is “working with social media companies” to ensure “they can knock down

 accounts, knock down disinformation content … as they’re building up to” election day. Id.

        The FBI’s deception censored of the Hunter Biden laptop story. The censorship of the

 Hunter Biden laptop story provides a dramatic case-study of the FBI’s censorship of private

 American political speech. As discussed above, the FBI meets extensively with social-media

 platforms about disinformation, both through the USG-Industry meetings and frequent bilateral

 meetings. Doc. 214-1, ¶¶ 861-866 (USG-Industry meetings); id. ¶¶ 867-877 (FBI’s regular

 bilateral meetings with at least eight major technology platforms’ content-moderation officers); id.

 ¶ 878 (FBI communicates with platforms routinely through encrypted and self-deleting channels

 such as Signal and Teleporter). These meetings were the vehicle for the FBI’s campaign of

 deception to censor the Hunter Biden laptop story.

        As discussed above, during the 2020 election cycle, the FBI repeatedly warned platforms

 to expect a possible “hack and dump” or “hack and leak” operation, both in the USG-Industry

 meetings and in the FBI’s bilateral meetings with seven social-media platforms, and CISA did so

 as well. Id. ¶¶ 880-883, 894. There was no investigative basis for these warnings, as Chan admits:

 “Through our investigations, we did not see any competing intrusions to what had happened in

 2016,” and the FBI was “not aware of any hack-and-leak operations that were forthcoming or

 impending” at the time. Id. ¶ 893. The FBI also induced platforms to change their content-

 moderation policies in 2020 to specify that they would censor hacked materials, by repeatedly

 raising the bogus warning about hack-and-leak operations and then repeatedly inquiring of the

 platforms whether they would censor such materials when they emerged. Id. ¶¶ 884-889. Thus,

 the FBI—which had the laptop in its possession since 2019 and knew that its contents were not



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 hacked—repeatedly seeded the platforms with false warnings of imminent “hack and leak”

 operations and pushed the platforms to adopt policies to censor “hacked materials.” Then, when

 the laptop story was published, the FBI refused to confirm whether the laptop was genuine or

 contained hacked materials, thus dooming the story to censorship. See Doc. 266, at 100.

        The Government states that “[t]he Russians’ 2016 hack-and-leak operation provided an

 impetus for some platforms to change their service terms” on hacked materials. Doc. 266, at 96

 (citing Chan Dep. 205:4-17, 248:10-16). In fact, it was the FBI who “provided” that “impetus.”

 The Government admits that “ASAC Chan testified that what the FBI would have done was to ask

 the platform ‘how their terms of service would handle a situation’ involving materials released

 from such an operation.” Doc. 266, at 101 n.51. In fact, the FBI constantly raised the issue, and

 repeatedly inquired about platforms’ hacked-materials policy during 2020, which induced the

 platforms to change their policies. Doc. 214-1, ¶¶ 884-889. That is why these policy changes

 were made in 2020, when the FBI induced them—not in 2016 when the Russian “hack-and-leak

 operation” allegedly occurred.

        To dispute this account, the Government relies heavily on Yoel Roth’s 2023 congressional

 testimony on February 8, 2023, see Doc. 266-2, at 73-119; but in fact, that hearing corroborates

 virtually every key detail of the FBI’s involvement in suppressing the Hunter Biden laptop story.

 Roth confirms that the FBI conveyed no investigative basis for the warning—the suppression was

 not based on “any specific information from any government source.” Id. at 79. The hearing

 confirms that “the FBI had Hunter Biden’s laptop since December of 2019,” id. at 81, and thus the

 FBI knew the laptop’s contents were not “hacked materials.” See id. at 106 (noting that the FBI

 “had it … for a year,” and “if anyone knows [it’s] real, it’s them”). The hearing confirms that the

 censorship of the story lasted two weeks (not 24 hours, as the Government misleadingly



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 suggests)—the “New York Post story was down for two weeks, give or take.” Id. at 86. It confirms

 that Roth and others at Twitter “communicate with government officials by means of disappearing

 messaging systems like Signal….” Id. at 96. It confirms that Twitter collaborates closely with

 federal government agencies to suppress so-called foreign disinformation: “There is a considerable

 amount of work to address foreign disinformation at Twitter and also at other companies. And this

 work was reliant in part on intelligence shared with companies by law enforcement and by the

 intelligence community.” Id. at 99. It confirms that, in 2020, Roth and others at Twitter “were

 having regular interactions with national intelligence, Homeland Security and the FBI.” Id. at 100.

 “Twitter met quarterly with the FBI Foreign Interference task force, and we had those meetings

 running for a number of years…” Id. Roth “had ongoing conversations with the FBI for years…”

 Id. It confirms that, in 2020, internal Twitter communications referred to “a sustained effort by

 the intelligence community to push Twitter,” including Elvis Chan. Id. at 100. Roth agreed that

 Twitter was “following … national security experts on Twitter as a reason to take down the New

 York Post story on Hunter Biden’s laptop.” Id. Roth admits that “Twitter met with the FBI, I

 would estimate several dozen times over the course of multiple years. These meetings happened

 in person in the Twitter office, in the offices of other technology companies, and at times they

 happened virtually.” Id. at 107. These meetings occurred “somewhere between weekly and

 monthly.” Id. at 117. Roth confirms that “[t]he subject of possible hack and leak was raised by a

 number of representatives of the FBI,” including “Mr. Chan.” Id. at 114.

        In fact, the only detail of the account that Roth now disputes, over two years after the fact,

 is his own December 2020 statement that federal officials warned him that the long-expected hack-

 and-leak operation might involve Hunter Biden. Even without this detail, the evidence of the FBI’s




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 deceptive interference is compelling. But in any event, Roth’s December 2020 declaration to the

 FEC clearly indicates that this warning came from federal officials:

        [1] Since 2018, I have had regular meetings with the Office of the Director of National
        Intelligence, the Department of Homeland Security, the FBI, and industry peers regarding
        election security. [2] During these weekly meetings, the federal law enforcement agencies
        communicated that they expected ‘hack-and-leak operations’ by state actors [i.e., Russians
        or other foreign governments] might occur in the period shortly before the 2020
        presidential election, likely in October. [3] I was told in these meetings that the intelligence
        community expected that individuals associated with political campaigns would be subject
        to hacking attacks and that material obtained through those hacking attacks would likely
        be disseminated over social media platforms, including Twitter. [4] These expectations of
        hack-and-leak operations were discussed throughout 2020. [5] I also learned in these
        meetings that there were rumors that a hack-and-leak operation would involve Hunter
        Biden.

 Doc. 214-1, ¶ 895 (numbers in square brackets added). Each sentence of the declaration refers to

 something told to Roth by federal officials. The first sentence identifies the federal officials

 involved in the meetings—ODNI, DHS, the FBI. Id. The second sentence explicitly identifies

 “the federal law enforcement agencies” as the ones who “communicated” warnings that “they

 expected ‘hack-and-leak operations’ by state actors.” Id. The third sentence switches to passive

 voice (“I was told…”), but still makes clear that the speakers were still the federal officials (“I was

 told in these meetings that the intelligence community expected…”). Id. (emphasis added). The

 fourth sentence stays in passive voice but continues to make clear that Roth is describing

 communications from federal agencies. See id. (“These expectations of hack-and-leak operations

 were discussed throughout 2020.”). And the fifth sentence stays in passive voice, indicating that

 Roth is still describing what federal officials told him: “I also learned in these meetings that there

 were rumors that a hack-and-leak operation would involve Hunter Biden.” Id. No rational reader

 could interpret this declaration as stating or implying that other platforms said that the hack-and-

 leak operation would involve Hunter Biden. Rather, the text is entirely dedicated to describing

 what federal officials told Roth.

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        At the time Roth filed this Declaration, there was no mystery about what this meant. In

 fact, Twitter’s own lawyers, who filed the Roth Declaration with the FEC on December 21, 2020,

 described Roth’s testimony as follows: “Reports from the law enforcement agencies even

 suggested there were rumors that such a hack-and-leak operation would be related to Hunter

 Biden.” Ex. I to Ex. 1 (Suppl. Glenn Decl. ¶ 30), at 12 (emphasis added).

        To be sure, over two years later, in February 2023 congressional testimony, Roth attempted

 to retreat from his prior testimony by testifying that he believed other platforms, not federal

 officials, may have been the ones who warned that “there were rumors that a hack-and-leak

 operation would involve Hunter Biden.” Id.; see Doc. 266-2, at 109. But this new, revisionist

 account of the 2020 meetings should be dismissed as less credible, for at least four reasons. First,

 when pressed under oath in 2023, Roth admitted that he actually doesn’t remember who raised the

 warnings: “Who told you about Hunter Biden in these meetings? ... YOEL ROTH: My recollection

 is that a representative of another tech company may have mentioned it, but those meetings were

 several years ago. I truly don't recall.” Doc. 266-2, at 109 (emphasis added). Second, Roth’s

 much-later revision emerged only after the significance of this detail was raised and emphasized

 in this lawsuit, which was expressly referenced in the congressional testimony. See, e.g., Doc.

 266-2, at 109 (referring to Roth’s Dec. 2020 FEC declaration as raised in “Missouri v. Biden”).

 Roth, who has described the Trump Administration as “actual Nazis in the White House,” id. at

 81, has every incentive now to color or shade his account to protect the FBI officials who were

 actively sabotaging the Trump campaign. In 2020, he had no such incentive to color or skew his

 account of those statements. Third, Roth’s 2020 account was specific and detailed, while his 2023

 revision is vague and fails to provide any detail. See id. Fourth, Roth’s revisionist account is

 implausible on its face—federal officials are the natural source to provide intelligence about



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 investigations into what they perceived as upcoming threats. Other platforms would not be the

 natural source for specific intelligence about upcoming Russian hack-and-leak operations. The

 Court should treat Roth’s detailed, specific, contemporaneous, and credible account, made when

 he had no incentive to shade his testimony, as more credible than his years-later, vague, admittedly

 poorly recollected, and facially implausible account of this detail, made when he had obvious

 incentives to color his testimony.

        The Government’s Other Arguments Lack Merit. First, the Government contends that

 “[g]overnment concern about foreign influence efforts directed to United States elections has

 continued beyond the 2016 election into the 2020 election season and beyond.” Doc. 266, at 92.

 On the contrary, the overwhelming majority of speech targeted by federal officials and their co-

 conspirators for censorship since the 2020 election cycle was domestic in origin, not foreign. See

 supra, Introduction; see also Doc. 214-1, ¶¶ 1033, 1056, 1220, 1231, 1233, 1235, 1241.

        The Government quotes statements by President Trump and Attorney General Barr calling

 for intelligence agencies to assess whether foreign nationals are attempting to influence U.S.

 elections, and that Americans should be alert to false information and propaganda disseminated by

 foreign nationals. Doc. 266, at 93-94. But none of these statements directed intelligence agencies

 to violate American citizens’ First Amendment rights by procuring their censorship on social

 media; and if they had done so, they would be unconstitutional. See id.

        Third, the Government contends that the FBI “only shared information concerning

 accounts it attributed with high confidence to a foreign-state actor, and to date the FBI’s

 attributions have always proven correct.” Doc. 266, at 96 (quoting Chan Dep. at 112:21-113:6)

 (second emphasis added). But Chan’s blithe, self-serving optimism about the FBI’s supposed

 infallibility is obviously baseless; the FBI routinely targets domestic speech for censorship.



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          The Government relies on Yoel Roth’s congressional testimony to bolster Chan’s see-no-

 evil assessment of the FBI’s accuracy, but in fact, Roth’s testimony directly contradicts it. When

 asked, “Mr. Roth, Twitter usually found little evidence that the accounts the FBI flagged had ties

 to foreign influence. Is that correct?” Roth responded: “In part, but we received many reports from

 the FBI, particularly related to malign foreign interference that were highly credible and were

 constructive. So I would say it was a bit of a mixed bag.” Doc. 266-2, at 88 (emphasis added).

 Thus, on Roth’s view, the FBI was correct in “many reports,” but there was often “little evidence

 that the accounts the FBI flagged had ties to foreign influence,” so the FBI’s accuracy was a “mixed

 bag.” Id. Given its huge volume of reporting, this “mixed bag” means that the FBI is routinely

 flagging huge numbers of domestic, First Amendment-protected speakers and content.

          One vivid example from Chan’s public statements illustrates that the FBI was not “always

 proven correct,” Doc. 266, at 96, but in fact, was colossally mistaken—with an overt political bias.

 Chan’s     master’s   thesis   indicates   that    the    FBI   flagged   the   conservative-oriented

 “#ReleaseTheMemo” hashtag (supporting Congressman Devin Nunes’s investigation regarding

 Russia collusion) as supposed Russian inauthentic activity, and it suggests that the FBI induced

 Twitter to remove thousands of Tweets amplifying that hashtag. Doc. 214-1, ¶ 943; see also Chan

 Ex. 1, at 71 (including the hashtag in a pie chart of 929,000 tweets removed as from “IRA-

 controlled accounts,” including “#ReleaseTheMemo”). But at the time, Twitter’s Global Policy

 Communications Chief Emily Horne wrote privately that this hashtag and a related hashtag

 “appear to be organically trending,” and that Twitter “ha[s] not seen any indications that the

 accounts engaging in this activity for either hashtag are predominately Russian, or that Russian

 accounts are driving the engagement. The vast majority of what we’re seeing here … appears to

 be organic in nature. Lots of prominent conservative Twitter accounts are using one or both of



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 these hashtags … This is inspiring a lot of both RTs and organic engagement.” See Ex. E to

 Supplemental Declaration of Tammy Glenn, ¶ 26 (“Glenn Supp. Decl.,” attached as Exhibit 1).

 Yoel Roth himself suggested that Twitter could “broadly refute” the “swirl around

 #releasethememo” suggesting that the hashtag was Russian in origin, which evidently the FBI

 erroneously bought into. Ex. F to Ex. 1 (Glenn Supp. Decl. ¶ 27). Yoel Roth wrote at the time,

 “I just reviewed the accounts that posted the first 50 tweets with #releasethememo, and … none of

 them have any signs of being tied to Russia.” Ex. G to Ex. 1 (Glenn Supp. Decl. ¶ 28). Another

 Twitter executive wrote, “Yoel and the IQ team have been monitoring engagement around both

 #ReleaseTheMemo and #SchumerShutdown and engagement appears to be organic/not driven

 by “Russian bots.” … We investigated, found that engagement was overwhelmingly organic and

 driven by strong VIT [Very Important Tweeter] engagement (including Wikileaks, DJT Jr., Rep.

 Steve King, and others).” Ex. H to Ex. 1 (Suppl. Glenn Decl. ¶ 29).

                                           ARGUMENT

        The Government argues that the Court should prioritize protecting the freedom of

 government officials to speak freely to “promote government policies,” instead of protecting

 private citizens’ speech from government interference. Doc. 266, at 102. This argument is

 meritless. The Government’s description of its speech as merely “promot[ing] government

 policies” is manifestly contrary to the evidence. See supra; see also, e.g., Doc. 214-1, ¶ 34 (White

 House to Twitter on Tweet about Hank Aaron’s death: “Hey folks – Wanted to flag the below

 tweet and am wondering if we can get moving on the process for having it removed ASAP.”); id.

 ¶¶ 37-38 (White House to Twitter: “Please remove this account immediately…. Cannot stress the

 degree to which this needs to be resolved immediately.”). In fact, all the Government’s examples

 in the following paragraph involve federal officials trying to suppress private citizens’ speech, not



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 express their own messages. Doc. 266, at 103. And this Court has rejected the Government’s

 legal argument: “[W]hile the government-speech doctrine is important—indeed, essential—it is a

 doctrine that is susceptible to dangerous misuse. If private speech could be passed off as

 government speech by simply affixing a government seal of approval, government could silence

 or muffle the expression of disfavored viewpoints.” Doc. 224, at 63 (quoting Matal v. Tam, 582

 U.S. 218, 235 (2017)). Here, the evidence shows much “more than the exercise of permissible

 government speech. It alleges extensive and highly effective efforts by government officials to

 ‘silence or muffle the expression of disfavored viewpoints.’” Id. (quoting Matal, 582 U.S. at 235).

        The Government also argues that it was combating false or incorrect information “during

 a pandemic that cost over a million Americans their lives,” Doc. 266, at 102—implying that the

 First Amendment was suspended during COVID-19. That argument is meritless. The Supreme

 Court has made clear that even false or incorrect speech is protected by the First Amendment—

 precisely because the Government cannot be trusted to be a fair or accurate arbiter of truth and

 falsity, especially when it involves politically controversial questions. “In light of the substantial

 and expansive threats to free expression posed by content-based restrictions,” the Supreme “Court

 has rejected as ‘startling and dangerous’ a ‘free-floating test for First Amendment coverage ...

 [based on] an ad hoc balancing of relative social costs and benefits.’” United States v. Alvarez,

 567 U.S. 709, 717 (2012) (plurality op.) (quoting United States v. Stevens, 559 U.S. 460, 470

 (2010)). “Our constitutional tradition stands against the idea that we need Oceania’s Ministry of

 Truth.” Id. at 728. Just two days ago, Justice Gorsuch decried the fact that, “[a]long the way, it

 seems federal officials may have pressured social-media companies to suppress information about

 pandemic policies with which they disagreed.” Arizona v. Mayorkas, No. 22-592, Slip op. 6 (May

 18, 2023 (Statement of Gorsuch, J.).



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 I.      Plaintiffs Have Demonstrated Immediate Irreparable Injury.

         Defendants argue that Plaintiffs have failed to demonstrate ongoing or imminent

 irreparable injury. This argument fails.

         A.      Plaintiffs Experience Both Ongoing and Imminent Irreparable Injury.

         “[T]he loss of First Amendment freedoms, for even minimal periods of time,

 unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). The

 evidence shows Plaintiffs are facing both ongoing and imminent irreparable injuries of this kind.

 See Doc. 214-1, ¶¶ 1366-1442.

                 1.      The Private Plaintiffs face ongoing and imminent irreparable injury.

         First, the Private Plaintiffs face ongoing and imminent irreparable injuries. See Doc. 214-

 1, ¶¶ 1367-1411. Every time the private Plaintiffs execute Declarations, they face both ongoing

 and imminent future acts of censorship. See Docs. 10-3 (Bhattacharya Decl.); 10-4 (Kulldorff

 Decl.); 10-5 (Hoft Decl.); 10-7 (Kheriaty Decl.); 10-12 (Hines Decl.) (Declarations from June

 2022). The Court has held that the statements in these Declarations, which the Complaint

 incorporates, establish both ongoing and imminent irreparable injury. Doc. 224, at 8-13 (detailing

 the evidence in these Declarations); id. at 34 (holding that “the Private Plaintiffs allege a substantial

 risk of future censorship injuries”); id. at 36 (noting that “Private Plaintiffs each allege that they

 have suffered past and ongoing censorship”). This Court held that the course of past censorship

 “raise[s] an inference that [Bhattacharya] is imminently likely to experience future acts of

 censorship,” and that Kulldorff’s Declaration “attests to ongoing injuries and support an

 expectation of imminent future injuries.” Id. at 36. Kheriaty, likewise, “attests to ongoing and

 expected future injuries.” Id. at 36-37. And “Hoft and Hines attest to similar past, ongoing, and

 expected future censorship injuries.” Id. at 37. These Declarations “are more than complaints of

 past wrongs,” and “[t]he threat of future censorship is substantial, and the history of past censorship

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 is strong evidence that the threat of future censorship is not illusory or merely speculative.” Id. In

 addition, “Plaintiffs’ request for an injunction does not merely seek to redress the initial imposition

 of their censorship penalties, but rather their continued maintenance and enforcement.” Id.; see

 also, e.g., Docs. 10-2 (Senger Decl.); 10-8 (Allen Decl.); 10-9 (Changizi Decl.); 10-10 (Kotzin

 Decl.); 10-11 (Kitchen Decl.); 10-14 (McCollum Decl.); 10-15 (Gulmire Decl.).

        Further, on March 20, 2023, the Private Plaintiffs filed supplemental declarations attesting

 to the injuries that they experience, on a continuing and imminent basis, as audiences of the speech

 of others on social media. See Docs. 227-5 (Bhattacharya Supp. Decl.); 227-6 (Kulldorff Supp.

 Decl.); 227-7 (Kheriaty Supp. Decl.); 227-8 (Hoft Supp. Decl.); 227-9 (Hines Supp. Decl.).

 Moreover, the Private Plaintiffs continue to experience ongoing, active, and imminent future

 censorship injuries to this day—including extensive injuries that have occurred since Plaintiffs

 filed their supplemental brief on March 6, 2023, including harms experienced up to the date of this

 filing. See Second Supplemental Declaration of Jill Hines, ¶¶ 6-14 (attached as Exhibit 2); Second

 Supplemental Declaration of Jim Hoft, ¶¶ 5-14 (attached as Exhibit 3).

                2.      The Plaintiff States face ongoing and imminent future injuries.

        Likewise, the Plaintiff States face ongoing and imminent future injuries. See Doc. 214-1,

 ¶¶ 1427-1442 (detailing injuries to Plaintiff States). The evidence demonstrates “extensive federal

 censorship limiting the free flow of information on social-media used by ‘millions of Missourians

 and Louisianans, and very substantial segments of the populations of Missouri, Louisiana, and

 every other State.” Doc. 224, at 26. The evidence demonstrates a “federal regime of mass

 censorship,” id. at 27, which is ongoing and expanding on every front. See supra. The States have

 every reason to expect that their injuries, and the injuries to their citizens, are both ongoing,

 imminent, and continuing. This includes ongoing “injuries to the States’ sovereign interest in the

 power to create and enforce a legal code.” Doc. 224, at 29. Defendants’ “censorship program” is
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 “a federal assertion of authority to regulate matters that the States seek to control.” Id. “[B]oth

 Louisiana and Missouri have adopted fundamental policies favoring the freedom of speech.” Id.

 (citing Mo. Const. art. I, § 8 and La. Const. Ann. art. I, § 7). The evidence demonstrates “extra-

 legal, unauthorized action by Defendants” that interferes with these fundamental policies favoring

 their citizens’ freedom of speech. Id.

        The Declarations of Patrick Flesch, Doc. 10-6, and Ashley Bosch, Doc. 10-13, attest to the

 States’ ongoing and imminent future injuries from large-scale federal censorship. See also Doc.

 224, at 7. Mr. Flesch and Ms. Bosch explain that large-scale federal censorship obstructs state

 agencies’ ability to access and understand their constituents’ true beliefs and thoughts on matters

 of public concern, which is essential for the States to craft messages and public policies that are

 responsive to the States’ concerns. See Doc. 10-6, ¶¶ 4-10; Doc. 10-13, ¶¶ 4-7. The Government’s

 witness, Carol Crawford, attests to the very same injuries—that social-media censorship interferes

 with a government agency’s ability to craft messages that are responsive to its constituents’ actual

 thoughts and concerns. See Doc. 214-1, ¶¶ 590-595. She testifies that it is important for

 government “communicators to know what conversations occurs on social media because it helps

 us identify gaps in knowledge, or confusion, or things that we're not communicating effectively

 that we need to adjust.” Id. ¶ 591. Social-media censorship interferes with this interest because

 “if they were deleting content we would not know what the themes are,” and they could not “update

 communication activity” to address them. Id. ¶ 593.

        Likewise, this Court has determined that the States have parens patriae standing to defend

 the diffuse censorship injuries experienced by a “substantial segment” of each States’ population—

 i.e., the millions of Missourians and Louisianans who no longer have access to a free and open

 public square on social media. See Doc. 224, at 22-28. Here, the evidence shows “extensive



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 federal censorship limiting the free flow of information on social-media platforms used by

 ‘millions of Missourians and Louisianans, and very substantial segments of the populations of

 Missouri, Louisiana, and every other State,” which afflicts “enormous segments of [the States’]

 populations.” Id. at 26. Further, while this censorship continues, “the States and a substantial

 segment of their population are being ‘excluded from the benefits that flow from participation in

 the federal system.’” Id. at 27 (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,

 458 U.S. 592, 608 (1982)). The First Amendment is “one of the most important benefits bestowed

 by the federal Constitution.” Id. The evidence shows ongoing federal censorship activities, which

 necessarily “are excluding the States and their residents form an important benefit ‘meant to flow

 from participation in the federal system.’” Id. at 27-28 (quoting Snapp, 458 U.S. at 608).

                3.      Defendants’ censorship activities are continuing.

        There is overwhelming evidence that Defendants’ censorship activities are ongoing and

 will continue unabated, and expand, absent court intervention.         These activities present an

 immediate, present, and imminent threat of future censorship injuries to Plaintiffs and virtually all

 citizens of Missouri and Louisiana.

        Defendants argue that Plaintiffs cannot infer from Defendants’ past misfeasance that they

 will continue to inflict future injuries. See Doc. 266, at 113-114. This argument is both factually

 and legally meritless. It is factually meritless because Defendants have engaged in widespread,

 repeated, and ongoing censorship activities, coupled with numerous public statements and private

 testimony indicating that they intend to continue and expand their censorship activities. See, e.g.,

 Doc. 214-1, ¶¶ 29-30, 193-197 (public threats from the White House of adverse legal consequences

 if platforms do not increase censorship of disfavored viewpoints, made throughout 2022); ¶¶ 188-

 199 (evidence that the White House continued to pressure platforms to censor speech through

 2022); ¶¶ 200-211 (public statements from the White House indicating its intent to censor a whole
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 range of new topics); ¶¶ 424-425 (the Surgeon General’s Office continues to pressure platforms

 into 2022); ¶¶ 561-562 (the CDC continues to engage with platforms on censoring

 “misinformation” on health-related topics, stating that its “focus is not solely on COVID. We’re

 focusing on other topics” as well); ¶¶ 966-967 (Chan testifies that the FBI “just pretty much rolled

 into preparing for 2022”); ¶¶ 1094-1122 (extensive evidence that CISA is continuing, and intends

 to continue, its censorship activities, and expand them to address a wide range of new topics). This

 Court has already drawn the compelling inference that these facts raise: “Plaintiffs easily satisfy

 the substantial risk standard. The threat of future censorship is substantial, and the history of past

 censorship is strong evidence that the threat of further censorship is not illusory or merely

 speculative.” Doc. 224, at 37 (emphasis added). Here, the lengthy “history of past censorship,”

 id., that continues right up to the present day, combined with numerous statements of intention to

 increase and expand these efforts, demonstrates that Defendants pose an imminent threat of future

 censorship injuries on Plaintiffs. Moreover, as this Court has also held, “Plaintiffs’ request for an

 injunction does not merely seek to redress the initial imposition of their censorship penalties, but

 rather their continued maintenance and enforcement.” Id.

        Defendants’ argument is also legally meritless, because it relies almost entirely on acts of

 voluntary cessation that occurred after Defendants were sued, which courts appropriately view

 with great skepticism. As their primary example of supposedly long-past conduct, Defendants

 argue that “CISA discontinued its switchboarding activities after the 2020 election ….

 Switchboarding efforts that ceased over two years ago … do not show ongoing or imminent

 irreparable harm.” Doc. 266, at 114. But, as Scully admitted in his deposition and Geoff Hale’s

 declaration concedes, CISA supposedly discontinued its “switchboarding” activities in “late April

 or early May 2022,” i.e., just after it had been sued in this case challenging its switchboarding



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 activities. See supra; see also Doc. 214-1, ¶ 975; Doc. 266, at 77; Doc. 266-5, at 175. Further,

 the record demonstrates that CISA took careful steps to ensure that its “switchboarding” would

 continue through alternative channels, as Lauren Protentis of CISA lobbied the platforms in the

 spring and summer of 2022 to provide state and local officials with alternative channels to submit

 their misinformation reports. Doc. 214-1, ¶¶ 1094-1096. “[A] defendant claiming that its

 voluntary compliance moots a case bears the formidable burden of showing that it is absolutely

 clear the allegedly wrongful behavior could not reasonably be expected to recur.” Already, LLC

 v. Nike, Inc., 568 U.S. 85, 91 (2013) (emphasis added). Defendants cite no evidence that to show

 that it is “absolutely clear” that their censorship activities “could not reasonably be expected to

 recur,” id., and there is a mountain of evidence to the contrary. See also, e.g., West Virginia v.

 E.P.A., 142 S. Ct. 2587, 2607 (2022).

        Defendants’ agency-specific arguments fare no better.         In each case, the evidence

 demonstrates that the particular agency is fully committed to its federal censorship activities and

 intends to expand them as soon as it can get away with it.

        First, Defendants claim that the White House poses no imminent threat of future censorship

 because Plaintiffs’ claims “are based almost exclusively on public and private statements that

 occurred in 2021.” Doc. 266, at 115. This argument fails for two reasons. First, the evidence of

 the White House’s COVID-19 censorship is not “based exclusively on … statements that occurred

 in 2021,” id.; it includes extensive evidence of public and private demands for censorship that

 continued throughout 2022, up until Defendants made their document production. See Doc. 214-

 1, ¶¶ 29-30 (White House statements calling for Section 230 reform unless platforms increase

 censorship in September 2022); ¶¶ 192-197 (Psaki making similar public threats in 2022); ¶¶ 198-

 199 (Flaherty insisting that platforms continue to send COVID insight reports so that the White



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 House could monitor their censorship of claims about early-childhood COVID vaccines). Second,

 the evidence of White House censorship is not confined to speech about COVID vaccines. Tthe

 White House has made a long series of recent public statements indicating that they are

 aggressively engaged in pushing for social-media censorship on other topics, like abortion, climate

 change,    “misinformation”     about    “gender-affirming     care,”    “gendered    disinformation,”

 “disinformation campaigns targeting women and LGBTQI+ individuals who are public and

 political figures, government and civic leaders, activists, and journalists,” and so forth. See id.

 ¶¶ 201-211. In fact, the Government’s brief avows that the White House will continue to push

 social-media platforms to censor disfavored viewpoints. See Doc. 266, at 115 (“Urging … social

 media companies … to accept their role in the Nation’s collective effort to combat the coronavirus

 was (and remains) an essential element of the Government’s duty and responsibility…”). Here,

 “[t]he threat of future censorship is substantial, and the history of past censorship is strong evidence

 that the threat of further censorship is not illusory or merely speculative.” Doc. 224, at 37.

        Next, the Government argues that CISA poses no imminent threat of future censorship

 because “CISA decided in April or May 2022 not to provide switchboarding services for the 2022

 election cycle and has no intention of engaging in switchboarding for the next election.” Doc 266,

 at 116. Defendants also note that “CISA has not participated in the USG-Industry meetings since

 the 2022 general election,” id. at 118—thus conceding that CISA did participate in them during

 the most recent election cycle. And Defendants note that CISA has ordered its unfortunately

 named “MDM Subcommittee” to “stand down in December 2022.” Id. at 118. As noted above,

 all these are merely evidence of post-litigation voluntary cessation. CISA’s pre-litigation conduct

 and public statements demonstrate an extremely strong commitment and plan to expand its

 censorship activities. See, e.g., Doc. 214-1, ¶¶ 1094-1122 (extensive evidence of CISA’s ongoing



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 commitment to and involvement in social-media censorship); ¶¶ 1094-1096 (Lauren Protentis

 lobbying platforms to set up an alternative channel for “switchboarding” in 2022); ¶ 1097 (CISA

 “regularly” sets up an “operation center” each election day that reports supposed “misinformation”

 to platforms in real time); ¶ 1098 (CISA continues to fund the Center for Internet Security’s EI-

 ISAC, which continues to report election-related “misinformation” to platforms through 2022);

 ¶ 1114 (Director Easterly stated in November 2021 that CISA is “beefing up its misinformation

 and disinformation team”); ¶ 1107 (Easterly met with Facebook about the 2022 election cycle in

 January 2022); ¶ 1108 (Easterly’s text messages in February 2022 state that she wants CISA to

 “play a coord role” on federal censorship “so that not every D/A is independently reaching out to

 platforms which could cause a lot of chaos,” and that “[p]latforms have got to get comfortable with

 gov’t”); ¶ 1110 (leaked copy of September 2022 quadrennial-review document for DHS calls for

 DHS to target “inaccurate information” on topics like “the origins of the COVID-19 pandemic and

 the efficacy of COVID-19 vaccines, racial justice, U.S. withdrawal from Afghanistan, and the

 nature of U.S. support to Ukraine”); ¶¶ 1111, 1115-1116 (Scully’s testimony confirming that

 CISA is, in fact, working on disinformation projects on the efficacy of COVID vaccines, the

 origins of the COVID virus, the war in Ukraine, and “misinformation” that affects the “financial

 services industry,” since all that “misinformation” supposedly threatens “critical infrastructure”);

 ¶ 1118 (CISA’s Cybersecurity Advisory Committee recommending to Easterly that CISA expand

 its efforts to stop “the spread of false and misleading information” by “consider[ing] MD across

 the information ecosystem,” including “social media platforms of all sizes, mainstream media,

 cable news, hyper partisan media, talk radio, and other online resources”). And, as of March 6,

 2023, CISA’s website continued to proclaim that “[t]he MDM team serves as a switchboard for

 routing disinformation concerns to appropriate social media platforms.” Id. ¶ 1120.



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        As to the CDC, Defendants contend that “Plaintiffs’ challenge looks to past actions.” Doc.

 266, at 118. Once again, the evidence tells a different story. As late as June 29, 2022—shortly

 before Defendants made their document production—Crawford corresponded with YouTube

 about finding a government agency to debunk and censor claims about using progesterone to

 reverse chemical abortion. Doc. 214-1, ¶ 561. About this exchange, Crawford testified that the

 CDC’s involvement in censorship is not limited to COVID and did not end with COVID: the

 CDC’s “focus is not solely on COVID. We’re focusing on other topics. … [YouTube] though we

 might be able to help with this topic as well,” id. ¶ 562—which Crawford’s response indicates that

 she did. In response, Defendants point to the Crawford Declaration (Def. Ex. 80) to claim that the

 CDC has stopped communicating with platforms about misinformation, but that Declaration states:

 “To the best of my knowledge, since March 2022, there has not been a meeting between CDC

 personnel and personnel from a social media or technology company where misinformation has

 been discussed….” Doc. 266-5, at 72 (Crawford Decl. ¶ 12) (emphasis added). Thus, the CDC

 continued to meet with platforms about misinformation until just before this lawsuit was filed.

        Next, Plaintiffs claim that NIAID poses no threat of future censorship because Dr. Fauci

 has now retired. Doc. 266, at 121. But Dr. Fauci has been replaced by Dr. Hugh Auchincloss, his

 former chief deputy, who was a key co-conspirator in Dr. Fauci’s plots to discredit and suppress

 disfavored viewpoints through deception. Dr. Auchincloss was the recipient of Dr. Fauci’s

 notorious email at 12:29 a.m. on February 1, 2020, stating “Hugh: It is essential that we speak this

 AM. Keep your cell phone on … You will have tasks today that must be done.” Doc. 214-1, ¶ 640.

 That email launched Dr. Fauci’s conspiracy to censor the lab-leak theory on social media.

        As to the GEC, Defendants argue that the GEC is no longer involved in flagging

 misinformation through the Election Integrity Partnership. As the EIP report states, “groups that



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 reported tickets include the State Department’s Global Engagement Center.” Doc. 214-1, ¶ 1197

 (emphasis added). Defendants rely on the Declaration of Leah Bray, Doc. 266-6, at 199-206 (Def.

 Ex. 142), but Bray makes a series of damning admissions that confirm the GEC’s heavy

 involvement in censorship activities, including the EIP, and do nothing to allay the threat of future

 censorship. Bray states that the GEC intends to “flag for social media companies examples of

 propaganda and disinformation … aimed at harming U.S. interests.” Id. at 204. And Bray admits

 that, “[d]uring the 2020 U.S. election cycle, the GEC discovered certain posts an narratives on

 social media that originated from, were amplified by, or likely to be amplified by foreign malign

 influence actors … that sought to spread propaganda or disinformation about the 2020 election,”

 and “the GEC flagged these posts and narratives for the Election Integrity Partnership (EIP) on

 approximately 21 occasions.” Id. at 205 (emphasis added). In other words, the GEC flagged—

 not just foreign-originated speech—but domestic speech, just because the GEC predicted that such

 domestic content was “likely to be amplified” by malign foreign actors. Id. This is a stunning

 admission. So, too, is Bray’s admission that the GEC flagged “posts or narratives” to the Election

 Integrity Partnership on “21 occasions.” Id. Defendants also contend that the GEC has ceased its

 censorship activities with the EIP, but actually, Bray makes only one terse statement on this point:

 “Presently, the GEC is not doing any work with EIP.” Id. at 206. That statement fails to provide

 any evidence of any firm commitment to withdraw from such activities in the future.

                4.      Plaintiffs did not “unreasonably delay” in seeking relief.

        Defendants argue that Plaintiffs engaged in “substantial delay in seeking relief” that

 “undermines any assertion that such harms are irreparable.” Doc. 266, at 126. This argument

 contradicts black-letter law. Ongoing First Amendment violations constitute irreparable injury,

 regardless of how long the injuries have already been occurring; “the loss of First Amendment

 freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod
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 v. Burns, 427 U.S. 347, 373 (1976). In any event, Plaintiffs did not unreasonably delay, but filed

 suit diligently when public evidence became available of Defendants’ censorship activities.

 Indeed, the Government made this very argument in opposing Plaintiffs’ motion for expedited

 preliminary-injunction-related discovery, Doc. 26, at 15-17, but the Court rejected it, and it is no

 more persuasive now. Plaintiffs decisively refuted this argument in their reply in support of the

 motion for preliminary injunction, Doc. 30, at 12-14, and they incorporate by reference that

 refutation here. See id. (citing, inter alia, Opulent Life Church v. City of Holly Springs, Miss., 697

 F.3d 279, 297 (5th Cir. 2012); Arc of California v. Douglas, 757 F.3d 975, 990–91 (9th Cir. 2014);

 and Cuviello v. City of Vallejo, 944 F.3d 816, 833 (9th Cir. 2019)).

 II.    The Evidence Demonstrates That State and Private Plaintiffs Have Standing.

        Defendants admit that their arguments on standing re-hash the lengthy arguments on

 standing in their motion to dismiss, which the Court has already rejected. See Doc. 266, at 128-

 129 (acknowledging the Court’s ruling on standing and stating that “Defendants respectfully

 disagree with the Court’s analysis … and hereby incorporate by reference and reassert those

 arguments in opposition to Plaintiffs’ request for preliminary relief”). Plaintiffs incorporate by

 reference their prior briefing on standing, and the Court’s thorough, detailed, and well-reasoned

 analysis of Plaintiffs’ standing in its order denying the motion to dismiss. See Doc. 224, at 18-48.

 On the question of Article III injury, Defendants’ additional arguments in their preliminary-

 injunction response largely rehash their arguments regarding irreparable injury. Doc. 266, at 130-

 132. These arguments are refuted in detail above. See supra.

        On both irreparable harm and standing, Defendants argue that Plaintiffs cannot show any

 link between their injuries and acts of censorship of third parties, such as Tucker Carlson, Tomi

 Lahren, Alex Berenson, the “Disinformation Dozen,” and other speakers that are and continue to

 be targeted for censorship. This argument is wrong for at least five reasons. First, there is
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 extensive evidence that the Private Plaintiffs, like those other speakers, are directly targeted by

 federal censors: Drs. Bhattacharya and Kulldorff, as co-authors of the Great Barrington

 Declaration, were directly targeted by Drs. Fauci and Collins, Doc. 214-1, ¶¶ 783-808; Jim Hoft’s

 The Gateway Pundit is constantly targeted by CISA, the Election Integrity Partnership, and the

 Virality Project, id. ¶¶ 1069, 1156, 1192, 1207-1216, 1324; and the Virality Project aggressively

 targets “health freedom” groups like Jill Hines’s “Health Freedom Louisiana,” id. ¶¶ 1266-1268,

 1316-1323; among others. Second, the Private Plaintiffs also attest that they follow and read the

 speech of many speakers explicitly targeted by federal censorship, such as Tucker Carlson, Alex

 Berenson, members of the Disinformation Dozen, dozens mentioned in the EIP and VP reports,

 and many others. See Doc. 227-5, ¶ 5 (Bhattacharya Supp. Decl.); Doc. 227-6, ¶ 5 (Kulldorff

 Supp. Decl.); Doc. 227-7, ¶¶ 5-6 (Kheriaty Supp. Decl.); Doc. 227-8, ¶¶ 6-7 (Hoft Supp. Decl.);

 Doc. 227-8, ¶¶ 5-6 (Hines Supp. Decl.). The censorship of any of these dozens of speakers by

 federal officials inflicts ongoing irreparable injury on the Private Plaintiffs as their audience

 members. Third, the Court has upheld the parens patriae standing of the States to represent the

 interests of their millions of citizens who read and follow speakers on social media, who receive

 highly diffuse injuries each time federal officials squelch speakers and content they would

 otherwise read. Doc. 224, at 22-28. Fourth, the States suffer an ongoing battery of direct injuries

 from widespread social-media censorship, including direct censorship injuries, the loss of the

 ability to follow their constituent’s views on politically sensitive topics, and the distortion of

 processes through which citizens petition them for redress of grievances. See id. at 7-8 (describing

 the States’ assertion of these injuries). Fifth, Plaintiffs are likely to succeed in their motion for

 class certification, Doc. 227, which will result in their class-wide representation of all current and

 future speakers targeted by federal censorship activities, on an ongoing basis.



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        On the question of traceability and redressability, Defendants argue that “Plaintiffs must

 show that those content moderation actions would not occur ‘in the absence of’ those

 communications.” Doc. 266, at 131. Plaintiffs have established this abundantly, by pointing to

 undisputed evidence of dozens of instances where it is perfectly clear that the content moderation

 would not have happened if federal officials had not flagged it or been involved. See supra.

 Finally, Defendants rely again on the woefully unconvincing analysis of Dr. Gurrea. Doc. 266, at

 135-136. Dr. Guerra’s analysis is refuted in detail above. See supra.

 III.   Plaintiffs Are Likely To Prevail on Their First Amendment Claims.

        Defendants provide a lengthy discussion of state action that rehashes arguments made in

 their motion to dismiss on the same points. See Doc. 266, at 136-250. This Court has already

 considered and rejected most of these arguments. See Doc. 244, at 56-68.

        As both the Supreme Court and this Court have stated, “[i]t is axiomatic that a state may

 not induce, encourage or promote private persons to accomplish what it is constitutionally

 forbidden to accomplish.” Doc. 224, at 57 (quoting Norwood v. Harrison, 413 U.S. 455 (1973)).

 Defendants argue the exact opposite—that it is perfectly acceptable for federal officials to induce,

 encourage, and promote private persons to accomplish what they are constitutionally forbidden to

 accomplish, i.e., the censorship of free speech on social media. That is incorrect.

        Defendants argue that President Biden merely “exercise[s] … his bully pulpit” to

 encourage social-media platforms to censor disfavored viewpoints. But as this Court has noted,

 President Biden has done much more than that, including threatening the CEO of a major social-

 media platform with civil liability and criminal prosecution for not censoring disfavored speech.

 See Doc. 224, 62 (noting that, “almost directly on point with the threats in Carlin and Backpage,

 that President Biden threatened civil liability and criminal prosecution against Mark Zuckerburg



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 if Facebook did not increase censorship of political speech”); Doc. 214-1, ¶¶ 20-21 (quoting

 Biden’s public threats).

        Defendants argue that Plaintiffs’ contention that the federal officials’ pressure and

 collusion occurs “against the backdrop” of such public threats “suffers from a fatal chronological

 contradiction,” because the lawsuit challenges many actions that occurred in 2020. Doc. 266, at

 139. This argument is specious. Plaintiffs’ evidence includes many such threats occurring in 2019

 and before, see Doc. 214-1, ¶¶ 1-30—including now-President Biden’s threat of civil liability and

 criminal prosecution for platforms that do not censor enough political speech, which were made

 in early 2020, which Biden was a candidate. Id. ¶ 20. Elvis Chan’s testimony reveals a pressure

 campaign of public and private threats from federal officials against social-media platforms to

 induce them to censor election-related speech going back to 2017. Id. ¶¶ 945-961. Alex Stamos

 of the EIP, working closely with national-security agencies like CISA, pressured platforms to

 adopt more aggressive censorship policies in August 2020, id. ¶¶ 1147-1149, and attributes success

 to the fact that platforms (in 2020) feared “huge potential regulatory impact” in “the United States,”

 id. ¶ 1234. Defendants’ threats accelerated and became more menacing once they controlled the

 White House and both Houses of Congress in 2021—and censorship then accelerated too.

        A.      There Is Overwhelming Evidence of “Significant Encouragement.”

        In its discussion of “significant encouragement,” the Government relies on La. Div. Sons

 of Confederate Veterans v. City of Natchitoches, 821 F. App’x 317, 320 (5th Cir. 2020). Doc. 266,

 at 144. But that case involved only a simple request from a local mayor to a private association to

 forbid the display of the Confederate battle flag in an annual parade, backed by no threat of legal

 sanctions or any other factor amounting to “significant encouragement.” See id. Here, by contrast,

 the evidence includes “threats, some thinly veiled and some blatant, made by Defendants,”



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 including “threats that far exceed, in both number and coercive power, the threats at issue,” Doc.

 224, at 61, in cases like Louisiana Division of Sons of Confederate Veterans.

        Defendants also rely heavily on the Ninth Circuit’s recent decision in O’Handley v. Weber,

 62 F.4th 1145, 1154 (9th Cir. 2023), which involved a state government office flagging posts to

 Twitter. See Doc. 266, at 143-144. This Court has already addressed O’Handley in detail, noting

 that the Ninth Circuit held that the government did “not threaten adverse consequences” and the

 plaintiff “failed to allege any threat or attempt at coercion aside from the takedown request.” Doc.

 224, at 60; see also id. at 65 (“[T]he allegations here are distinguishable from those in

 O’Handley.”). The opposite is true here, and this case resembles Backpage.com, which endorsed

 “the more fundamental principle that a government entity may not employ threats to limit the free

 speech of private citizens.” Doc. 224, at 63 (citing Backpage.com, LLC, 807 F.3d at 235). Thus,

 even if “significant encouragement” required a showing of “essential compulsion” as the

 Government contends, Doc. 266, at 145—an argument which would abolish the distinction

 between significant encouragement and compulsion—Plaintiffs have made a strong showing of

 “compulsion” here.     Defendants claim that “Plaintiffs are unable to cite a single factually

 analogous case supporting their position,” Doc. 266, at 146, but in fact, Backpage.com, Bantam

 Books, Carlin Communications, and many other cases are directly analogous to Plaintiffs’

 position—as the Court has already held. Doc. 224, at 62 (holding that the facts here are “almost

 directly on point with the threats in Carlin and Backpage”).

        Defendants also argue that “significant encouragement” can only be established by a

 showing of “positive incentives.” Doc. 266, at 146. The Government cites no case so holding,

 but even if that were so, it would be satisfied here. As the Court has noted, each of Defendants’

 threats carries with it an implied reward: “The Defendants’ alleged use of Section 230’s



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 immunity—and its obvious financial incentives for social-media companies—as a metaphorical

 carrot-and-stick combined with the alleged back-room meetings, hands-on approach to online

 censorship, and other factors discussed above transforms Defendants’ actions into state action.”

 Doc. 224, at 68; see also Doc. 84, ¶ 18 (“The flip side of such threats, of course, is the implied

 ‘carrot’ of retaining Section 230 immunity and avoiding antitrust scrutiny, allowing the major

 social-media platforms to retain their legally privileged status that is worth billions of dollars of

 market share.”) (quoted at Doc. 224, at 5).

                1.      The White House engages in significant encouragement.

        Defendants’ arguments that each individual agency’s conduct falls short of “significant

 encouragement” applies an impossibly stringent version of the “significant encouragement” test

 that lacks support in the case law. See Doc. 266, at 148-193. They are factually meritless too.

        Defendants argue that, to invoke the “significant encouragement” test, Plaintiffs must

 identify the “specific conduct of which the plaintiff complains.” Doc. 266, at 149 (quoting Moody

 v. Farrell, 868 F.3d 348, 352 (5th Cir. 2017)). Even if that were the standard, Plaintiffs easily

 satisfy it. They have submitted extensive evidence of specific actions of censorship by social-

 media platforms that are attributable to government pressure. See supra. Defendants argue that

 “the platforms have been moderating COVID-19 content … since at least January 2020, well

 before the White House Defendants took office.” Doc. 266, at 150. But the evidence shows that,

 once the White House Defendants took office, the censorship that the platforms imposed on their

 own was not nearly enough for them, and they aggressively demanded more.

        Defendants argue that Flaherty merely “requested information” to “better understand” their

 policies. Doc. 266, at 151-152. This gravely mischaracterizes the evidence. See supra.

        Defendants argue that “the Government has … an interest in urging social media

 companies to help in that effort [against COVID] by curbing the spread of potentially harmful
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 misinformation on their platforms.”      Doc. 266, at 153.     On the contrary, under the First

 Amendment, the Government has no valid interest in pressuring private publishers to censor the

 private speech of American citizens. This is especially true when the Government’s “urging” of

 social-media platforms, id., is backed by “threats, some thinly veiled and some blatant.” Doc. 224,

 at 61. Defendants cite no case holding that the Government’s alleged “power” to “encourage …

 actions deemed to be in the public interest” includes actions that would violate the Constitution if

 performed by the Government. As Norwood stated: “[I]t is axiomatic that a state may not induce,

 encourage or promote private persons to accomplish what it is constitutionally forbidden to

 accomplish.” Norwood, 413 U.S. at 455 (quoted in Doc. 224, at 57).

        Defendants argue that private citizens may flag perceived misinformation to social-media

 platforms, and they contend that “[i]t would be remarkable if the Government would be powerless

 to do the same.” Doc. 266, at 176. Quite the contrary—the Government is bound by the First

 Amendment, and private citizens acting independently of government are not, so there is nothing

 “remarkable” about the fact that the Government is held to different standards than private persons.

        Defendants argue that the White House requested the removal of posts “with no strings

 attached,” Doc. 266, at 156. On the contrary, the White House’s communications with platforms

 are marked by a long series of express and implied threats, as discussed above. See supra.

        Defendants’ discussion of the suspension and deplatforming of Alex Berenson, Doc. 266,

 at 159-160, gravely distorts the evidence. As discussed above, the White House pushed Twitter

 to deplatform Alex Berenson in a private meeting in April 2022, but Twitter declined to do so,

 since Berenson was not violating their policies. Doc. 214-1, ¶ 103. Then, the White House and

 Dr. Fauci put coordinated public pressure to deplatform Berenson, and Twitter suspended him for

 the first time within hours of the culmination of that pressure campaign. Id. ¶ 163.



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                2.      The Surgeon General engages in significant encouragement.

        Defendants argue that the Surgeon General’s Health Advisory cannot be viewed as a threat

 because it “uses only precatory language.” Doc. 266, at 161. Even viewed in complete isolation,

 the Advisory’s urgent demands for greater censorship of disfavored viewpoints violate the First

 Amendment. See Norwood, 413 U.S. at 455. Moreover, the Health Advisory did not occur in

 isolation. It was announced at a press conference where Psaki made public demands against social-

 media platforms and Dr. Murthy accused them of “poisoning” and demanded “accountability”

 against them; it was closely followed by the President’s comment “They’re killing people” and a

 battery of threats of adverse legal consequences from Psaki and White House Communications

 Director Kate Bedingfield; and both preceded and followed by a long campaign of private pressure

 and threats in covert meetings between the platforms, the White House, and the Surgeon General

 and his staff. See supra. Defendants rely on the district courts’ opinions in Hart v. Facebook,

 Inc., No. 22-cv-737, 2022 WL 1427507, at *7 (N.D. Cal. May 5, 2022), and Changizi v. HHS, 602

 F. Supp. 3d 1031, 1056 (S.D. Ohio 2022), see Doc. 266, at 161-162, but this Court has already

 rejected their reliance on those cases. Doc. 34, at 7-8; Doc. 224, at 42-43.

        Defendants argue that there is no evidence that Facebook took any steps in response to the

 Advisory. Doc. 266, at 163. The evidence directly contradicts this claim, as it shows that Dr.

 Murthy and Eric Waldo specifically requested that Facebook (and other platforms) report back in

 two weeks to tell OSG what “new/additional steps you are taking with respect to health information

 in light of the advisory,” Doc. 214-1, ¶ 364; and, exactly two weeks later, Facebook provided a

 long, detailed report on “new steps that Facebook is taking,” including “further policy work to

 enable stronger action against persistent distributors of vaccine misinformation.” Id. ¶¶ 374-377.

 Contrary to Defendants’ reliance on Facebook’s public statements, Doc. 266, at 164-165, this

 email to OSG details additional steps against the “Disinformation Dozen.” Doc. 214-1, ¶ 375.
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        Defendants likewise err when they characterize the Surgeon General’s statements as mere

 “broad stances” on policy that merely “embody the Government’s right to speak for itself.” Doc.

 266, at 166 (cleaned up) (quoting Changizi, 602 F. Supp. 3d at 1054). The “Government’s right

 to speak for itself” does not extend to demanding and pressuring private parties to silence

 disfavored viewpoints.

        Defendants argue that the Surgeon General’s RFI constituted neither a demand nor a threat.

 Doc. 266, at 167-168. As discussed above, both the plain text of the RFI and its context—coming

 after a long campaign of joint pressure from the White House and OSG—demonstrate the opposite.

 See supra. In particular, the Surgeon General both preceded and followed the RFI with public

 statements calling for government “safety standards” and “speed limits” to be imposed on

 platforms that host misinformation—a clear threat of government regulation, accompanied by a

 formal RFI that is an ordinary precursor to regulation. Doc. 214-1, ¶ 410, 423. See also Doc. 224,

 at 61 (noting that “the Surgeon General issued a formal ‘Request for Information’ to social-media

 platforms as an implied threat of future regulation to pressure them to increase censorship”).

        B.      There Is Overwhelming Evidence of Coercion.

        Defendants argue that the evidence fails to demonstrate coercion under cases like Bantam

 Books. Once again, the Court has already considered and rejected most of their arguments, holding

 that the facts alleged in the Complaint—which the evidence strongly supports—constitute

 coercion.   See Doc. 224, at 62 (“The Court finds that the Complaint alleges significant

 encouragement and coercion that converts the otherwise private conduct of censorship on social-

 media platforms into state action, and is unpersuaded by Defendants’ arguments to the contrary.”);

 see also id. (noting that Plaintiffs have identified “threats that far exceed, in both number and

 coercive power, the threats at issue” in other cases involving government coercion).



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        First, Defendants rehash their “specific conduct” argument. Doc. 266, at 170. This

 argument has no merit. Plaintiffs allege extensive threats—both broad public threats providing

 the backdrop for the private pressure, and express and implied threats made in private—to induce

 social-media platforms to censor viewpoints disfavored by federal officials. See supra; see also,

 e.g., Doc. 214-1, ¶¶ 1-30. Each time a federal official or agency pressures, colludes, or cajoles a

 platform to censor COVID or election-related speech, he or she does so against the backdrop of a

 clear message from the President, from a battery of senior White House officials, and from their

 allies in control of Congress: Comply with federal demands for censorship, or else suffer ruinous

 legal consequences. See id. Each specific demand, request, cajoling, or act of flagging draws

 coercive force from that ceaseless battery of threats.

        Defendants argue that they “made no threats and instead sought to persuade.” Doc. 266,

 at 171. But the evidence contains a long series of specific threats of adverse legal consequences.

 The Court has described the same threats as follows: “Specifically, Plaintiffs allege and link threats

 of official government action in the form of threats of antitrust legislation and/or enforcement and

 calls to amend or repeal Section 230 of the CDA with calls for more aggressive censorship and

 suppression of speakers and viewpoints that government officials disfavor.” Doc. 224, at 61-62.

 The evidence includes “blatant” threats “made by Defendants in an attempt to effectuate [the]

 censorship program.” Id. at 61. Defendants claim that Bantam Books, 372 U.S. at 60-62, is

 distinguishable because “there is no evidence that any Defendant asserted that the content

 moderation choices of social media companies would result in criminal (or civil) proceedings, or

 retaliatory government action of any kind.” Doc. 266, at 171. On the contrary, “President Biden

 threatened civil liability and criminal prosecution against Mark Zuckerburg if Facebook did not

 increase censorship of political speech,” Doc. 224, at 62; and the evidence “link[s] threats of



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 official government action in the form of threats of antitrust legislation and/or enforcement and

 calls to amend or repeal Section 230 of the CDA with calls for more aggressive censorship and

 suppression of speakers and viewpoints that government officials disfavor.” Doc. 224, at 61-62.

 As Bantam Books held, “[p]eople do not lightly disregard public officers’ thinly veiled threats to

 institute criminal proceedings against them if they do not come around.” 372 U.S. at 68. So also

 here, private companies do not “lightly disregard,” id., demands and threats coming from “the

 highest (and I mean highest) levels of the WH.” Doc. 214-1, ¶ 108.

        Citing the Ninth Circuit’s decision in Doe v. Google LLC, No. 21-16934, 2022 WL

 17077497, at *2 (9th Cir. Nov. 18, 2022) (unpub.), Defendants argue that “remarks by government

 officials that ‘lack force of law’ are ‘incapable’ of sustaining a coercion theory.” Doc. 266, at 173.

 On the contrary, “any suggestion that a threat must be enforceable in order to constitute coercive

 state action is clearly contradicted by the overwhelming weight of authority.” Doc. 224, at 62

 (citing numerous cases). As Judge Posner wrote in Backpage.com—where Sheriff Dart lacked

 legal authority to take any action against the credit-card companies that he pressured to stop doing

 business with Backpage, see 807 F.3d at 230—“the fact that a public-official defendant lacks direct

 regulatory or decisionmaking authority over a plaintiff, or a third party that is publishing or

 otherwise disseminating the plaintiff's message, is not necessarily dispositive.” Id. “A public-

 official defendant who threatens to employ coercive state power to stifle protected speech violates

 a plaintiff's First Amendment rights, regardless of whether the threatened punishment comes in the

 form of the use (or, misuse) of the defendant’s direct regulatory or decisionmaking authority over

 the plaintiff, or in some less-direct form.” Id. at 230-31. “[S]uch a threat is actionable and thus

 can be enjoined even if it turns out to be empty—the victim ignores it, and the threatener folds his

 tent. But the victims in this case yielded to the threat.” Id. at 231.



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        The facts of this case bear no resemblance to the cases cited by Defendants, which involved

 little or no evidence of pressure of any kind. See Doc. 266, at 174. In VDARE, as Defendants

 admit, the mayor had “publicly encouraged a resort to ‘be attentive to the types of events they

 accept,’ and the resort then cancelled its contract to host the … plaintiff’s conference.” Id. (citing

 VDARE, 11 F.4th at 1156-57, 1163-68, 1171-72). R.C. Maxwell involved “a letter from the

 Borough Council” that “could brandish nothing more serious than civil or administrative

 proceedings under a zoning ordinance not yet drafted.” Id. (quoting R.C. Maxwell Co. v. Borough

 of New Hope, 735 F.2d 85, 86 n.2, 88 (3d Cir. 1984)). Hammerhead Enterprises involved

 municipal “letters urging department stores not to sell a disfavored board game,” where there was

 “no credible evidence … that any store decided not to carry the board game as a result of [the]

 letter.” Id. (quoting Hammerhead Enterprises v. Brezenoff, 707 F.2d 33, 36-37 & n.2 (2d Cir.

 1983)). Here, by contrast, Defendants made repeated, credible threats to strip the platforms of

 Section 230 liability—a “hidden subsidy worth billions of dollars,” and “a fearsome cudgel against

 ever untouchable companies,” Doc. 214-1, ¶ 2; and to impose antitrust liability on them, which

 (according to Mark Zuckerberg) is an “existential threat” to the platforms, id. ¶ 3.

        Defendants rely on Playboy Enterprises v. Meese, 639 F. Supp. 581, 583-85 (D.D.C. 1986).

 In that case, the government did not threaten adverse legal consequences, but merely threatened to

 engage in further speech about the plaintiffs’ conduct—i.e., it “sent retailers a letter suggesting

 that if they continued to sell adult magazines, they would be named in the Commission’s public

 report.” Doc. 266, at 175. The evidence portrays a very different picture here. A promise to speak

 publicly about a corporation’s alleged misdeeds is not the same as a threat to impose ruinous legal

 consequences on a corporation. The same principle distinguishes the Government’s other cases,

 which Defendants admit involved “no actual or threatened imposition of government power or



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 sanction.” Doc. 266, at 176 (quoting Am. Family Ass’n, 277 F.3d at 1120, 1125). Even an implied

 threat of consequences violates the First Amendment, see Rattner v. Netburn, 930 F.2d 204, 209-

 210 (2d Cir. 1991), while here the threats are “blatant.” Doc. 224, at 61.

        Defendants suggest that these threats are “fanciful,” Doc. 266, at 178. Not so. They lie

 directly within Defendants’ authority: “[T]he threats became more forceful once the Biden

 Administration took office and gained control of both Houses of Congress, indicating that the

 Defendants could take such actions with the help of political allies in Congress. Additionally, the

 Attorney General, a position appointed by and removable by the President, could, through the

 DOJ, unilaterally institute antitrust actions against social-media companies.” Doc. 224, at 62.

        Defendants rely on a series of statements from Jennifer Psaki that the platforms are the

 ones who “make decisions about what information should be on their platforms.” Doc. 266, at

 181. But the mere fact that the platforms make those decisions is fully consistent with federal

 officials exercising undue pressure and collusion on platforms to influence how they are made—

 which is exactly what they did, starting with Psaki herself. See Doc. 214-1, ¶¶ 123-124 (Psaki

 stating that the President “supports … a robust anti-trust program. So his view is that there’s more

 that needs to be done to ensure that this type of misinformation; disinformation; damaging,

 sometimes life-threatening information is not going out to the American public.”).

        Defendants contend that federal officials have not “said they would refrain from advocating

 changes to § 230, or pursuing potential remedies under the antitrust laws, if social media

 companies intensified their content moderation measures.” Doc. 266, at 185. Even if this were

 relevant, it is incorrect. One threat “warned Facebook and Google that they had ‘better’ restrict

 … harmful content or face regulation.” Doc. 214-1, ¶ 18. Another threatener aptly summarized

 the campaign of threats, “Let’s see what happens just by pressuring them.” Id.



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        Defendants complain that some of the cited threats come from “nondefendant

 Representatives and Senators,” Doc. 266, at 186, but those threats from powerful members of

 Congress, in addition to having their own force, reinforce the Executive Branch’s threats—

 especially because one of the chief threatened consequences, Section 230 reform, requires joint

 action by the President and Congress. Defendants cite the Ninth Circuit’s unpublished opinion in

 Doe, but that case challenged only a tiny handful of statements by individual legislators, not a

 coordinated, sustained campaign of threats from both the Executive Branch and its political allies

 in Congress. See Doe, 2022 WL 17077497, at *2-3.

        Defendants claim that statements in congressional hearings cannot be coercive because

 Congress is an “investigatory body” that “studies … proposed laws” and “surveys defects in our

 social, economic and political system.” Doc. 266, at 187 (quoting Trump v. Twitter, 602 F. Supp.

 3d at 1224). On the contrary, Defendants’ own witness, Elvis Chan, testifies that Congress very

 effectively pressures social-media platforms to increase censorship by forcing their CEOs to testify

 and raking them over the coals. See Doc. 214-1, ¶¶ 947-949. Chan specifically concludes that

 “that kind of scrutiny and public pressure from Congress … motivated them to be more aggressive

 in the account takedowns.” Id. ¶ 947. Defendants argue that Congress itself may be protected by

 the Speech and Debate Clause—but no Members of Congress are Defendants here, and Plaintiffs

 cite the congressional threats as part of an overarching campaign that is ultimately spearheaded by

 Executive officials, who are Defendants here.

        Defendants contend that the congressional statements could not “reasonably have been

 understood by social media companies as ‘threats.’” Doc. 266, at 188. On the contrary, that is the

 only way those statements could reasonably be understood. See, e.g., Doc. 214-1, ¶¶ 8, 9, 10, 11,

 14, 15, 16, 18. A couple examples illustrate: “There is only one comparison that remotely



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  approaches the avarice and moral discrepancy of your companies, and that is the slavetocracy

  burden of our Nation’s shameful and inhumane and most difficult dark days in the past. … I can’t

  wait until we come up with legislation that will deal with you and your cohorts in a very, very

  effective way.” Id. ¶ 11. “Let’s see what happens by just pressuring them.” Id. ¶ 18.

         Defendants contend that the Attorneys General of Missouri and Louisiana have participated

  in anti-trust enforcement actions against social-media platforms. Doc. 266, at 192-193. But anti-

  trust enforcement, standing alone, does not violate the First Amendment. What violates the First

  Amendment is leveraging the threat of antitrust enforcement to pressure private companies to

  censor First Amendment-protected speech. That is what the federal Defendants have done.

  Defendants cite no evidence that the state Attorneys General have done so, and none exists.

         Defendants argue that Plaintiffs “mischaracteriz[e] … § 230 as an unconstitutional

  subsidy.” Doc. 266, at 193. Defendants mistake the significance of the de facto subsidy of Section

  230 immunity, which operates in conjunction with the other factors to support a finding of state

  action. As this Court held:

         [S]imilarly to Skinner and Hanson, several specific factors combine to create state action.
         Section 230 of the CDA purports to preempt state laws to the contrary, thus removing all
         legal barriers to the censorship immunized by Section 230. Federal officials have also made
         plain a strong preference and desire to “share the fruits of such intrusions,” showing “clear
         indices of the Government’s encouragement, endorsement, and participation” in
         censorship, which “suffice to implicate the [First] Amendment.” Skinner, 489 U.S. at 615–
         16. … The Complaint further explicitly alleges subsidization, authorization, and
         preemption through Section 230, stating: “[T]hrough Section 230 of the Communications
         Decency Act (CDA) and other actions, the federal government subsidized, fostered,
         encouraged, and empowered the creation of a small number of massive social-media
         companies with disproportionate ability to censor and suppress speech on the basis of
         speaker, content, and viewpoint.” Section 230 immunity constitutes the type of “tangible
         financial aid,” here worth billions of dollars per year, that the Supreme Court identified in
         Norwood, 413 U.S. at 466. This immunity also “has a significant tendency to facilitate,
         reinforce, and support private” censorship. Id. Combined with other factors such as the
         coercive statements and significant entwinement of federal officials and censorship
         decisions on social-media platforms, as in Skinner, this serves as another basis for finding
         government action.

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  Doc. 224, at 65-66; see also Skinner v. Ry. Lab. Executives’ Ass’n, 489 U.S. 602, 615 (1989);

  Norwood, 413 U.S. at 466; Ry. Emp. Dep’t v. Hanson, 351 U.S. 225, 231–32 (1956).

         C.      Deceiving Platforms Into Censoring Speech Constitutes State Action.

         Defendants argue that “‘deception’ is not an independent legal basis” to find state action.

  Doc. 266, at 194. Thus, on Defendants’ view, government officials are free to trick, deceive, and

  dupe private parties into violating others’ constitutional rights with impunity. This is incorrect.

  “It is axiomatic that a state may not induce … private persons to accomplish what it is

  constitutionally forbidden to accomplish.” Norwood, 413 U.S. at 455. Deceiving someone into

  doing something is a common method of “inducing” them to do it. Thus, government officials

  may not deceive private parties into violating others’ constitutional rights. Id.

         That is the reasoning of George v. Edholm, 752 F.3d 1206 (9th Cir. 2014), where the Ninth

  Circuit held that police officers who provide false information to a doctor about an arrestee’s

  medical condition, to fraudulently induce the doctor to perform a body-cavity search, are involved

  in state action. Id. at 1213. In George, there was evidence that the police officers had knowingly

  provided false information to the doctor that the plaintiff was suffering from cocaine toxicity and

  having seizures, to induce the doctor to perform an anal-cavity search for a concealed baggie of

  cocaine base. Id. The Ninth Circuit held that this evidence precluded summary judgment in the

  officers’ favor, as the officers’ act of deceiving the doctor rendered the doctor’s conduct, induced

  by government deception, state action for which the officers were liable. Id. at 1215. The Ninth

  Circuit reasoned that “[a] reasonable jury could conclude that Officers Freeman and Johnson gave

  false information about George's medical condition to the hospital staff and to Dr. Edholm, with

  the intent of inducing Edholm to perform an invasive search.” Id. “Based on this evidence, a

  reasonable jury could find that Freeman and Johnson provided ‘significant encouragement, either


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  overt or covert,’ to Dr. Edholm, and that they ‘induced, encouraged or promoted’ Edholm to do

  what he would not otherwise have done, such that Edholm’s actions are attributable to the state.”

  Id. at 1216 (cleaned up) (quoting, inter alia, Norwood, 413 U.S. at 455).

         To be sure, as the Government insists, George also noted that the officers had provided

  “active physical assistance” while the doctor performed the search. Id. at 1216. But nothing in

  George suggests that “active physical assistance” is required to make state agents responsible for

  private conduct that they induce by fraud—the Ninth Circuit merely cited it as an additional factor

  supporting the finding of state action. See id.

         Judge Posner’s opinion in Jones v. City of Chicago removes any doubts on this score. 856

  F.2d 985, 994 (7th Cir. 1988). Jones held that police officers who provided false information to

  prosecutors to induce them to arrest and prosecute a plainly innocent defendant were liable for the

  subsequent action of the prosecutors: “[A] prosecutor’s decision to charge, a grand jury’s decision

  to indict, a prosecutor’s decision not to drop charges but to proceed to trial—none of these

  decisions will shield a police officer who deliberately supplied misleading information that

  influenced the decision.” Id. (emphasis added). Nothing in Jones indicates that, to be liable for

  the subsequent bad-faith prosecution, the officers must also “actively physically assist” the

  prosecution. Id. Rather, as Judge Posner wrote, “[i]f police officers have been instrumental in

  the plaintiff’s continued confinement or prosecution, they cannot escape liability by pointing to

  the decisions of prosecutors or grand jurors or magistrates to confine or prosecute him. They

  cannot hide behind the officials whom they have defrauded.” Id.

         This holding, moreover, is rooted in universal principles of agency law, which holds that

  individuals are responsible for actions that they deceive and manipulate others into performing.

  As the Fourth Circuit has stated, a person “cannot insulate himself from punishment by



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  manipulating innocent third parties to perform acts on his behalf that would be illegal if he

  performed them himself.” United States v. Rashwan, 328 F.3d 160, 165 (4th Cir. 2003). “Whether

  or not Rashwan physically produced the false documents himself is irrelevant to his” legal

  responsibility, when he induced others to do so by providing false information. Id. Where third

  parties’ actions “were dependent in that they relied upon the falsified statements and testimony

  produced by the defendants in making their respective decisions,” the defendants are responsible

  for them.   Robinson v. Maruffi, 895 F.2d 649, 656 (10th Cir. 1990); see also Smiddy v. Varney,

  803 F.2d 1469, 1471 (9th Cir. 1986) (holding that “officers [who] knowingly submitted false

  information” are liable for prosecutorial decisions made in reliance on that false information).

         Thus, as expounded in George, a federal official who [1] “gave false information” to a

  private party [2] “with the intent of inducing” the private party to engage in conduct that, if

  performed by the federal official directly, would violate constitutional rights, is himself

  responsible for that constitutional violation, and the private party’s conduct is government action.

  George, 752 F.3d at 1215. The evidence shows that the FBI, Dr. Fauci, and others satisfy this test.

         The Government contends that the FBI’s conduct in orchestrating the suppression of the

  Hunter Biden laptop story was not deceitful. Doc. 266, at 196-200. The evidence regarding the

  FBI’s and CISA’s involvement in the deception is discussed in detail above, and it refutes the

  Government’s arguments here. See supra. The Government (Doc. 266, at 196) disputes Plaintiffs’

  claim that the FBI had “no investigative basis” to anticipate a “hack-and-leak” operation, but the

  Government admits that Chan testified that “we were not aware of any hack-and-leak operations

  that were forthcoming or impending,” id., which is exactly what it means to lack any “investigative

  basis” for the deceitful warnings. The Government argues that the FBI did have a “factual basis”

  for the warnings, id. at 196-917, but the only factual basis it supplies is the assertion that there had



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  been a hack-and-leak operation in 2016, id.—which was the only factual basis that Chan supplied

  in his deposition.

          The Government argues that the FBI warned only of “possible” hack-and-leak operations

  from “an abundance of caution,” id. at 197, but the evidence tells a different story. As Mark

  Zuckerberg described those warnings in October 2020, shortly after they were made, the FBI “in

  private meetings … suggested that we be on high alert and sensitivity that if a trove of documents

  appeared that we should view that with suspicion.” Doc. 214-1, ¶ 902 (emphasis added). That is

  a far cry from warning of “possible” hack-and-leak operations from “abundance of caution.”

  Clearly, the platforms were deceptively led to expect such an operation, and when the Hunter Biden

  laptop story appeared, it fit the bill precisely.

          The Government argues that “statements during the Trump Administration … place the

  allegedly improper warning Chan described in proper context.” Doc. 266, at 197. But those

  warnings referred only to “the covert distribution of propaganda or disinformation,” id. (quoting

  83 Fed. Reg. 46,843)—none refers to a supposed “hack and leak” operation involving Hunter

  Biden, and none calls for censorship of private speech on social media. See id. at 197-198.

          Finally, the Government relies on Yoel Roth’s congressional testimony from February

  2023 to dispute his own prior statement from December 2020 that federal officials warned

  platforms that the hack-and-leak operation “would involve Hunter Biden.” Doc. 266, at 199-200.

  As discussed above, Yoel Roth’s contemporaneous account from December 2020 is much more

  credible. See supra. Moreover, that detail, while particularly damning, is not dispositive. Given

  the undisputed facts that the FBI had the laptop in its possession and knew that the laptop was not

  “hacked materials,” the evidence creates a compelling inference of deliberate deception regardless

  of whether the bogus “hack-and-leak” warnings mentioned Hunter Biden specifically.



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         D.      There Is Overwhelming Evidence of Joint Participation and Conspiracy.

         Defendants argue that Plaintiffs’ facts do not support a finding of joint participation or

  conspiracy/collusion between federal officials and platforms or third parties that could support a

  finding of state action. Doc. 266, at 213-216. On the contrary, the evidence demonstrates the

  Defendants’ conduct satisfies all the factors that the Government cites.

         As an initial matter, to the extent that Defendants contend that “conspiracy” with private

  parties is not a basis for finding state action, their own case contradicts them: “One way a private

  citizen may be a state actor is if she ‘is involved in a conspiracy or participates in joint activity

  with state actors.’” Moody v. Farrell, 868 F.3d 348, 352 (5th Cir. 2017) (quoting Ballard, 413

  F.3d at 518). The record contains extensive evidence of such “conspiracy,” or meeting of the

  minds between federal officials and platforms to censor disfavored viewpoints. It also shows the

  Government “acting as a joint participant” with platforms and third parties, establishing

  “position[s] of interdependence” with platforms and third parties, engaging in “interlocking”

  behavior and “heavy participation” with them, and playing a “meaningful role” in the censorship

  of private speech. Doc. 266, at 214. In Defendants’ own words, federal officials “have played an

  affirmative role in the particular conduct underlying the plaintiff’s grievance.” Id.

         This Court came to the same conclusion based on the facts alleged in the Complaint, which

  the evidence here establishes. See Doc. 224, at 62-68. As the Court held, those facts “demonstrate

  more than an ‘arms-length’ relationship.” Id. at 66. The evidence shows “a formal government-

  created system for federal officials to influence social-media censorship decisions.” Id. “For

  example,” the evidence shows “that federal officials set up a long series of formal meetings to

  discuss censorship, setting up privileged reporting channels to demand censorship, and funding

  and establishing federal-private partnership to procure censorship of disfavored viewpoints.” Id.

  The evidence shows “that Defendants specifically authorized and approved the actions of the
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  social-media companies” and provides “dozens of examples where Defendants dictated specific

  censorship decisions to social-media platforms.”      Id. These facts “are a far cry from the

  complained-of action in O’Handley: a single message from an unidentified member of a state

  agency to Twitter.” Id.

         “Further, similarly to Skinner and Hanson, several specific factors combine to create state

  action.” Id. Among other things, “[t]he Defendants’ alleged use of Section 230’s immunity—and

  its obvious financial incentives for social-media companies—as a metaphorical carrot-and-stick

  combined with the alleged back-room meetings, hands-on approach to online censorship, and other

  factors discussed above transforms Defendants’ actions into state action.” Id. The evidence now

  shows that “Section 230 … has …become a tool for coercion used to encourage significant joint

  action between federal agencies and social-media companies.” Id.

         Defendants’ legal arguments to dispute these conclusions are meritless. Citing O’Handley,

  Defendants argue that there is no “meeting of the minds” and that each platforms “independently

  applies its terms of service,” free from federal influence. Doc. 266, at 215. The evidence directly

  contradicts this claim, and this Court has already distinguished O’Handley on that basis. Doc. 224,

  at 66. Defendants argue that Plaintiffs rely only on “generalized statements about working together

  to counteract the dissemination of election misinformation,” Doc. 266, at 215, but the evidence

  shows “dozens of examples where Defendants dictated specific censorship decisions to social-

  media platforms.” Doc. 224, at 66.

         Defendants rely heavily on Howard Gault Co. v. Texas Rural Legal Aid, Inc., 848 F.2d 544

  (5th Cir. 1988), see Doc. 266, at 215-216, but that case strongly supports Plaintiffs. Howard Gault

  found state action in the conduct private growers opposing a strike by onion harvesters, where the

  private growers worked closely with government attorneys who were simultaneously representing



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  both the government and private interests. See id. at 552. The Fifth Circuit held that “[b]y acting

  together with various state officials, who must have been acting in their official capacities, and in

  obtaining significant aid therefrom, the growers acted under color of state law.” Id. The Fifth

  Circuit cited “the growers’ interlocking relationships” with the government officials as “sufficient

  to characterize the growers as state actors.” Id. In so holding, the Fifth Circuit emphasized state

  action may be found based on unique circumstances that do not “fit neatly” into preexisting tests:

  “State action can manifest itself in a variety of ways and certain actions may not fit neatly into a

  particular category. This is a case where the activity simply does not fit squarely within any of the

  previously drawn categories.” Id. The Fifth Circuit held that “[t]he action taken by the growers

  cannot be viewed in a vacuum.” Id. at 555. Rather, “[t]he interlocking activities of the State …

  and the growers constituted a joint effort which justified the lower court's characterization of the

  growers as state actors,” where there was “heavy participation of state and state officials” in the

  private conduct. Id.

         The facts of Howard Gault are closely akin to what the evidence shows here—i.e.,

  “interlocking relationships” of federal officials, third parties, and platforms through the Election

  Integrity Partnership and Virality Project, as well as between the FBI and its endless meetings and

  flagging with platforms; “heavy participation” of federal officials in content-moderation decisions

  through the EIP, the VP, CISA, the FBI, and the CDC; federal officials “acting together” with

  private parties to procure the censorship of speech, extensively through the EIP and VP, the FBI

  and the CDC; and private parties obtaining “significant aid” from federal officials in such

  censorship, as when CISA took numerous steps with the Stanford Internet Observatory to launch

  the Election Integrity Partnership and Virality Project. Id.




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                 1.     The CDC and Census Bureau engage in joint participation.

         Notwithstanding the extensive evidence of serial flagging, “BOLO” meetings, slide decks

  of disfavored posts, privileged reporting channels, and de facto censor status for the CDC,

  Defendants contend that the CDC and its censorship partner, the Census Bureau, did not engage

  in any “joint participation” with platforms on censorship. Doc. 266, at 216-224. The evidence, as

  discussed above, contradicts the Government’s account. See supra.

         Defendants argue that “Plaintiffs fail to identify any specific content moderation decision”

  involving the CDC and Census Bureau. Doc. 266, at 217. On the contrary, the evidence includes

  long lists of specific posts, example posts, and categories of claims that the CDC and the Census

  Bureau flagged or debunked and induced platforms to censor.

         Defendants dispute that platforms effectively “ceded authority” to the CDC over whether

  claims would be censored. Doc. 266, at 219. But the evidence shows that Facebook’s content-

  moderation official notified the CDC that Facebook would remove content that is (1) false, and (2)

  likely to cause harm or vaccine hesitancy; and then repeatedly asked the CDC to confirm that long

  lists of claims were (1) false, and (2) likely to cause harm or vaccine hesitancy. Doc. 214-1,

  ¶¶ 489-505, 518-530. Then, when the CDC happily obliged—knowing full well, on Carol

  Crawford’s admission, that its input would necessarily cause the censorship of those claims—

  Facebook thanked the CDC and reported back that, “as a result of our work together,” those claims

  had been censored. Id. ¶ 519, see also id. ¶ 526 (Facebook “shar[ing] updates we made as a result

  of our work together”). The evidence shows the CDC played a similar role for other platforms.

  See id. ¶¶ 540-542, 547-548. Defendants contend that the CDC merely “provide[d] input” and

  “factual information,” Doc. 266, at 219, but Crawford admitted that, in fact, “I know that they’re

  using our scientific information to determine their policy.” Id. ¶ 529 (emphasis added).



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         Defendants argue that having “regular meetings” and receiving CrowdTangle reports do

  not show state action, Doc. 266, at 218-219, but as Howard Gault held, such “regular meetings”

  and censorship-related reports “cannot be viewed in a vacuum.” 848 F.2d at 555. Moreover,

  Defendants effectively admit that those “regular meetings” involved the CDC repeatedly flagging

  misinformation and debunking it for censorship: “to the extent the meetings did touch on

  misinformation, the focus was on narratives that the companies or CDC observed circulating on

  platforms and the information available from CDC that would respond to those narratives.” Doc.

  266, at 218. Such “regular” flagging-and-debunking meetings, even in isolation, far exceed the

  conduct at issue in O’Handley. Defendants argue that the evidence shows “mere acquiescence” in

  platforms’ censorship decisions, Doc. 266, at 220-221, but that is insupportable. The evidence

  shows the CDC and Census Bureau as a close partner, trusted flagger, and de facto censorship

  authority working in close conjunction with platforms over dozens upon dozens of meetings and

  communications, all geared toward removing disfavored viewpoints from social media.

                 2.      The FBI engages in conspiracy and joint participation.

         The FBI, likewise, engages in extensive joint participation with platforms on censorship.

  This includes nearly endless meetings—including both frequent USG-Industry meetings, and

  equally frequent bilateral meetings with eight major tech platforms; serial flagging of content for

  removal, including detailed lists of accounts, URLs, content to be removed “one to five times per

  month”; real-time flagging operations from “command posts” on election day; frequent demands

  for reports from platforms on whether they have censored content flagged by the FBI; and a “50

  percent success rate” in getting content removed. See supra.

         Defendants argue that the platforms never “ceded control” over their content-moderation

  decisions to the FBI. Doc. 266, at 224. Even if that were true, it would make no difference to the

  conspiracy and joint-participation theories of state action, neither of which requires domination or
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  “control” by the government actor. In any event, Elvis Chan attests that the platforms’ cooperation

  in the FBI’s ceaseless demands to censor supposed malign foreign influence was a direct result of

  a coordinated campaign of pressure from federal officials. Doc. 214-1, ¶¶ 945-961.

         Defendants rely heavily on their claim that the FBI reports misinformation about the “time,

  place, and manner” of voting to platforms. Doc. 266, at 226-227. The FBI’s interpretation of 18

  U.S.C. § 241, which it relies on to justify this flagging, is textually strained, see Doc. 266-6, at

  458-460 (Knapp Decl. ¶¶ 21-24), and raises grave constitutional questions under Alvarez, 567 U.S.

  at 717. The Court need not decide these issues, however, because the overwhelming majority of

  the FBI’s flagging activity addresses “tactical indicators,” i.e., disfavored speakers, accounts, and

  content—not information about the time, place, and manner of voting.

         Finally, Defendants quote the Senate Select Committee on Intelligence (SSCI) to justify

  the FBI’s joint participation in censorship. Doc. 266, at 227-228. Defendants neglect to mention

  that SSCI was directly involved in pressuring platforms to increase censorship and cooperate with

  the FBI’s requests by threatening them with adverse legislation in a series of covert meetings since

  2017. Doc. 214-1, ¶ 946. Itself an egregious violator of the First Amendment, SSCI is a poor

  advocate for Defendants’ cause.

                 3.      CISA engages in joint participation and conspiracy.

         Defendants argue that the evidence does not show CISA engaging in joint participation or

  conspiracy/collusion with platforms on censorship. Doc. 266, at 228-236. A mountain of evidence

  contradicts this claim, discussed in detail above.

         Defendants admit that CISA engages in “regular meetings with social media companies

  about misinformation,” including at least four different lines of recurring meetings. Doc. 266, at

  231. But they argue that there is no evidence that federal officials “push for censorship” at such

  meetings. Id. The suppression of the Hunter Biden laptop story, orchestrated through the CISA-
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  led “USG-Industry” meetings, provides a vivid counterexample to this claim. Doc. 214-1, ¶¶ 880-

  904. Moreover, Defendants admit that these meetings involve “threat updates, and highlights and

  upcoming watch outs,” Doc. 266, a 229 (emphasis added)—in other words, flagging content for

  censorship. Indeed, based on Defendants’ description, the whole point of these meetings is for

  federal officials to lay the groundwork to ensure that social-media content will be censored. Id.

         With regard to “switchboarding,” the Government argues that CISA “include[d] a notice

  sating that it was not requesting that the company take any particular action.” Doc. 266, at 234.

  But the actual course of conduct ignored that auto-generated boilerplate message in the

  switchboarding emails, as CISA repeatedly flagged content, debunked content, acted as a trusted

  flagger, asked for reports back on the censorship of content, and requested specific action on

  content disfavored by CISA’s Director. See supra. The Court should give that boilerplate

  disclaimer no more weight than the participants—both CISA and platforms—did at the time.

         Defendants argue that the platforms exercised “independent judgment” in responding to

  CISA’s flagging requests, Doc. 266, at 235, but that is not correct. By 2020, the platforms had

  been under continuous pressure from federal officials to play ball with CISA’s censorship regime

  for nearly four years. Doc. 214-1, ¶¶ 945-961. It is not surprising that platforms treated CISA as

  a highly privileged flagger, responding to late-night requests within minutes and repeatedly

  censoring flagged speech at CISA’s requests. See, e.g., id. ¶ 1081. In any event, coercion is not

  required to establish conspiracy or joint participation, as noted above.

                 4.      The GEC engages in joint participation and conspiracy.

         Defendants argue that the GEC has not participated in state action. Doc. 266, at 236-239.

  On the contrary, as discussed above, Defendants’ own evidence demonstrates the GEC’s

  involvement in unconstitutional censorship activities. The Declaration of Leah Bray, Doc. 266-6,

  at 199-206 (Def. Ex. 142), admits that the GEC flagged domestic speech to platforms for removal
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  merely if the GEC determined that it was “likely to be amplified” by foreign actors, and that “the

  GEC flagged … posts and narratives for the Election Integrity Partnership (EIP) on approximately

  21 occasions.” Id. at 205 (emphasis added). These admissions attest to the GEC’s extensive

  involvement in both its own flagging and in the EIP’s censorship consortium. Likewise, the

  meetings described in the Government’s brief, Doc. 266, at 236-237—which involve discussing

  such things as “disinformation tools and techniques used by the United States’ adversaries,” and

  “advising social media companies about disinformation campaigns,” id.—are geared toward

  laying groundwork for social-media censorship. Indeed, Defendants admit that censorship is the

  whole point of this information-sharing: “help[ing] social media companies identify coordinated

  inauthentic activity” as a “first step in social media companies’ ability to address foreign

  propaganda on their sites.” Id. at 237.

                 5.     The EIP and VP constitute joint participation, conspiracy, and
                        pervasive entwinement.

         The Election Integrity Partnership/Virality Project—which are just two names for the same

  ongoing public-private consortium—satisfies the joint participation, conspiracy, and pervasive

  entwinement tests. Defendants’ arguments to the contrary, Doc. 266, at 240-247, have no merit.

         As noted above, federal officials’ joint participation and entwinement with the EIP

  included at least the following twelve points: (1) the EIP was formed to address a “gap” in the

  government’s surveillance and censorship activities that CISA identified to its SIO-affiliated

  interns; (2) CISA interns originated the idea for the EIP; (3) CISA had a series of meetings with

  Alex Stamos and Renée DiResta about forming the EIP before it began, including one meeting

  listed on the EIP’s “Operational Timeline” as “Meeting with CISA to present EIP concept”; (4)

  CISA connected the EIP with the Center for Internet Security, which runs a CISA-funded

  clearinghouse for state and local government officials to communicate about misinformation; (5)


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  CISA connected the EIP directly with NASS and NASED, organizations of state and local

  government officials, so they could report misinformation to the EIP; (6) CISA had ongoing

  communications with the EIP about its public reports on misinformation as the EIP operated in

  2020; (7) CISA collaborated closely with the CIS on flagging misinformation to platforms, while

  the CIS was collaborating with the EIP, setting up a “triangle” of collaboration; (8) CISA

  repeatedly flagged misinformation to social-media platforms using EIP tracking numbers; (9)

  CISA interns, who were working for CISA and the Stanford Internet Observatory at the same time,

  were flagging “misinformation” to platforms simultaneously on behalf of CISA and on behalf of

  the EIP; (10) CISA mediated and coordinated between the EIP, CIS, and the platforms on reporting

  misinformation to address the platforms’ concerns about duplicative reports; (11) the EIP

  debriefed CISA after the 2020 election cycle about its activities and public report; and (12) there

  is extensive overlap of personnel between CISA and the EIP, including interns working

  simultaneously for both groups, and key EIP leaders such as Alex Stamos, Renee DiResta, and

  Kate Starbird having formal roles at CISA. In addition, the Government’s brief has now revealed

  that (13) “[t]he GEC flagged … posts and narratives for the EIP on approximately 21 occasions.”

  Doc. 266, at 242 (emphasis added). Further, as Defendants admit, (14) the EIP’s work is partially

  federally funded, id., and (15) the EIP relies on reports of misinformation from state and local

  officials through the EI-ISAC, which CISA funds.

         Likewise, the entwinement of federal officials with the EIP/VP consortium continued

  unabated in the Virality Project. The evidence shows

         the following six facts: (1) OSG “pushes platforms to share information with the Virality
         Project”; (2) OSG coordinated with the Virality Project on the Surgeon General’s Health
         Advisory; (3) the Surgeon General “repeatedly echoes the key messaging from the Virality
         Project”; (4) the Surgeon General launched his Health Advisory on Misinformation at an
         event hosted by the Stanford Internet Observatory, which is one of the groups that leads
         the Virality Project; (5) the Virality Project had “strong ties with several federal

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         government agencies,” including OSG, and was involved in “flagging vaccine-related
         content on social media”; and (6) OSG “incorporated [the Virality Project’s] research and
         perspectives into its own vaccine misinformation strategy.”

  Doc. 266, at 244 (quoting Doc. 214, at 50). And these facts are in addition to the conspiracy and

  pervasive entwinement of EIP/VP with CISA and the GEC, discussed above.

         The Government disputes that the Surgeon General’s Office pushed platforms to give

  “external researchers” access to their internal data on putative “misinformation” on their platforms.

  Doc. 266, at 245. But the OSG did so on numerous occasions, in both public and private. See

  Doc. 214-1, ¶¶ 226, 326, 334, 359, 387. Moreover, “[o]ne such ‘external researcher’ that the OSG

  had in mind was ‘Renee DiResta, from the Stanford Internet Observatory,’ a leading organization

  of the Virality Project,” which “hosted a ‘rollout event’ for the advisory featuring Dr. Murthy,”

  about which Kyla Fullenwider “coordinat[ed]” with DiResta. Id. ¶¶ 227-228.

         Defendants claim that the Surgeon General did not “coordinate” with the Virality Project

  on his Health Advisory, but Waldo admits that “I know there was coordination with [DiResta]

  with respect to the launch …. So certainly there would have been coordination … with her.” Doc.

  214-1, ¶ 228. The Virality Project states that the “Office of Surgeon General incorporated VP’s

  research and perspectives into its own vaccine misinformation strategy,” specifically citing the

  Health Advisory on this point. Id. ¶ 1249. And Surgeon General Murthy himself stated, at the

  launch of the Advisory at Stanford, that the OSG had been “partnered with” DiResta “over the last

  many months,” and that he had “personally learned a lot from [DiResta] … from our conversations

  together.” Id. ¶¶ 336-337. He also stated that DiResta would continue to be “a partner in the

  future, because I know we have lots and lots more that we’ve got to do together.” Id. ¶ 336.

         Defendants dispute that the OSG flagged misinformation to the Virality Project, Doc. 266,

  at 246, but they admit that the VP report states that the VP “built strong ties with several federal



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  government agencies, most notably [OSG] and the CDC, to facilitate bidirectional situational

  awareness around emerging narratives.”       Id.; see also Doc. 214-1, ¶ 1279.        “Facilitating

  bidirectional situational awareness around emerging narratives” means “flagging emerging

  narratives”—in other words, flagging misinformation at the narrative level.            The Lesko

  Declaration does not dispute that OSG engages in narrative-level flagging—it claims only that the

  OSG did not “provide[] any tip, flag, ticket, report, or other form of notification or input to the

  Virality Project concerning posts or accounts on social media.” Doc. 266-4, at 136 (Lesko Decl.

  ¶ 16) (emphasis added). Lesko does not deny that OSG flagged “emerging narratives” to VP.

         Finally, Defendants contend that, even if the conduct of the Election Integrity Partnership

  and Virality Project is state action, the content-moderation decisions of social-media platforms

  would not be state action because EIP/VP supposedly did not “threaten[] or pressure[]” platforms

  to censor content. Doc. 266, at 247. This is wrong for multiple reasons. First, it misunderstands

  the fundamental structure of the EIP/VP. The platforms are just as much conspirators and

  collaborators—i.e., “Major Stakeholders”—with the EIP/VP as are the federal officials, the

  Stanford Internet Observatory, and the other third-party participators. See, e.g., Doc. 214-1,

  ¶¶ 1151, 1175, 1259, 1276, 1280. The EIP states that it “established relationships with social

  media platforms to facilitate flagging of incidents for evaluation when content or behavior

  appeared to violate platform policies.” Id. ¶ 1183.     “The EIP onboarded the following social

  media companies: Facebook and Instagram, Google and YouTube, Twitter, TikTok, Reddit,

  Nextdoor, Discord, and Pinterest.” Id. ¶ 1185. Platforms engaged with the EIP’s analysts about

  flagging in real-time: “Analysts … added the platform representative to the ticket” and “a manager

  communicated with the platform representative in the ticket comments.” Id. ¶ 1184. “The EIP

  onboarded the following social media companies: Facebook and Instagram, Google and YouTube,



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  Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.” Id. ¶ 1185. At least some platforms,

  such as Twitter, gave the EIP privileged access to internal data about speech on their platforms:

  EIP analysts collect data from Twitter “contemporaneously,” and they also have access to

  “CrowdTangle and Facebook search functionality.” Id. ¶ 1200. The EIP “collected data from

  Twitter in real time from August 15 through December 12, 2020,” and did so “[u]sing the Twitter

  Streaming API” to “track[] a variety of election-related terms. … The collection resulted in 859

  million total tweets.” Id. ¶ 1203 (emphasis added).

         Likewise, social media platforms serve as VP “stakeholders” alongside federal and state

  officials: “Platforms were the final stakeholders in the VP effort. Six social media platforms

  engaged with VP tickets—Facebook (including Instagram), Twitter, Google (including YouTube),

  TikTok, Medium, and Pinterest—acknowledging content flagged for review and acting on it in

  accordance with their policies.” Id. ¶ 1280. The VP describes itself as “a multistakeholder

  collaboration with civil society organizations, social media platforms, and government entities to

  respond to mis- and disinformation….” Id. ¶ 1259. The VP states that it is “bringing together four

  types of stakeholders: (1) research institutions, (2) public health partners, (3) government partners,

  and (4) platforms.” Id. ¶ 1355. In short, as the EIP states, the EIP/VP “united government,

  academia, civil society, and industry,” id. ¶ 1228, into a single mass-surveillance and mass-

  censorship consortium.

         Second, there is strong evidence of pressure on platforms from the EIP as well. Because

  the EIP was closely affiliated with CISA, the federal pressure on platforms to censor election

  speech assuredly influenced platforms to cooperate with the EIP as well. Alex Stamos and other

  EIP participants publicly state that the EIP pressured platforms to change their content-moderation

  policies about election speech. Id. ¶¶ 1148-1150; see also id. ¶¶ 1217-1220. Alex Stamos



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  explicitly attributes the success of his efforts in “pushing platforms to do stuff” to the threat of

  adverse regulatory consequences: “So, you know, on effectively pushing the platforms to do stuff

  … they will always be more responsive in the places … that have huge potential regulatory impact,

  most notably right now that would be the United States and Europe.” Id. ¶ 1234.

  IV.    Plaintiffs Are Likely to Succeed on Their APA and Ultra Vires Claims.

         Defendants argue that Plaintiffs are unlikely to succeed on their APA and ultra vires

  claims. Doc. 266, at 253-257. These arguments fail for the reasons discussed in this Court’s prior

  order. Doc. 224, at 51-54, 70-72. In their response brief, Defendants argue that “Government

  officials … need no express statutory authorization to simply engage in basic speech,” and their

  challenged “communications amount to routine government speech conveying a policy view, akin

  to public remarks made by any other government official.” Doc. 266, at 253-254. This echoes the

  argument in their motion to dismiss, which the Court has already rejected. Doc. 224, at 70-72.

  Here, the evidence shows that “Defendants are engaged in de facto prior restraints,” id. at 71, and

  “Defendants have not presented a statute that purports to provide any ‘colorable basis’ for these

  prior restraints,” id. at 72—in fact, Defendants openly admit that none exists. The evidence

  establishes “many instances of discrete agency action and [Plaintiffs] need not demonstrate the

  ‘finality’ of those agency actions.” Id. at 72. And the evidence is “more than sufficient to support

  the conclusion that Defendants acted ‘not in accordance with law,’ ‘contrary to constitutional

  right,’ and ‘in excess of statutory . . . authority.’” Id. (quoting 5 U.S.C. § 706(2)(A)-(C)).

  V.     Plaintiffs’ Proposed Injunction Is Sufficiently Precise.

         Defendants claim that Plaintiffs’ proposed injunction is “too vague to be understood.” Doc.

  266, at 262 (quoting Schmidt v. Lessard, 414 U.S. 473, 476 (1974)). Not so. The proposed

  injunction does not contain “broad generalities,” but instead “describe[s] in reasonable detail the

  acts restrained.” Scott v. Schedler, 826 F.3d 207, 213 (5th Cir. 2016); see also Doc. 214, at 67-68.

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         First, Defendants contend that the prohibited verbs listed in the injunction are vague. Doc.

  266, at 263. As Defendants note, the injunction would forbid federal officials to “demand, urge,

  encourage, pressure, coerce, deceive, collude with, or otherwise induce” social-media platforms

  to take certain actions. Id. None of these verbs is “too vague to be understood,” Schmidt, 414 U.S.

  at 476; on the contrary, they all have common, easily understandable meanings that are easily

  found in the dictionary. In fact, Defendants do not argue that these verbs are vague; instead, they

  argue that they potentially cover an “immense swath of conduct” that the evidence shows

  Defendants committing. Doc. 266, at 263. That observation reflects not the vagueness of the

  proposed injunction, but the enormity of the now-proven misconduct it seeks to prohibit.

         Next, Defendants argue that the list of actions that the injunction would prevent Defendants

  from inducing social-media platforms from taking is vague: “censor, suppress, remove, de-

  platform, suspend, shadow-ban, de-boost, deamplify, issue strikes against, restrict access to,

  demonetize,” or take “any similar adverse action” against disfavored speakers, content, and

  viewpoints. Doc. 266, at 263 (quoting Doc. 214, at 67-68). Again, each of these verbs has an

  ordinary, common meaning found in the dictionary, and the fact that the injunction includes a

  careful listing of terms renders it more clear and specific, not vague. Defendants make no

  argument at all that most of these verbs are vague, but they make inconsistent objections as to a

  handful. First, they argue that the words “censor” and “suppress” are merely “conclusory labels.”

  Doc. 266, at 263. Even if that were true—and the dictionary disagrees—Plaintiffs have defined

  those terms with great specificity in the Second Amended Complaint and all other Complaints.

  See Doc. 84, ¶ 130. Defendants then pivot and complain that three other verbs—“shadow ban,”

  “de-boost,” and “de-amplify”—are “terms of art within the social media industry.” Doc. 266, at

  263. But the dictionary explains that a “term of art” is “a word or phrase that has a specific or



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  precise meaning within a given discipline or field.”         Term of Art, DICTIONARY.COM, at

  https://www.dictionary.com/browse/term-of-art.       A “term of art” has a “specific or precise

  meaning,” id.—the antithesis of a “vague” term.

         Defendants contend that the phrases “otherwise induce” and “similar adverse action” are

  vague. On the contrary, both those terms come at the end of significant lists of similar verbs,

  which clarify and constrain their meaning to include only relevantly similar actions to those

  already listed. See SCALIA & GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS,

  195-198 (2012) (the “associated-meaning canon”). Finally, Defendants pretend to be unable to

  grasp the meaning of the phrases “social media companies” and “platforms for online speech.”

  Doc. 266, at 263. Because Defendants themselves have provided exhaustive, specific definitions

  of such terms, see 87 Fed. Reg. 12713 (Surgeon General’s RFI using the phrase “social media

  platform” to define “technology platform”), this objection cannot be taken seriously.

  VI.    The Proposed Injunction Is Not Overbroad and Does Not Interfere With Legitimate
         Government Speech or Functions.

         Defendants contend that the proposed injunction is overbroad and would interfere with

  their ability to communicate with social-media platforms and the public. Doc. 266, at 258-261,

  264-275. Defendants argue that “Plaintiffs’ proposed injunction would significantly hinder the

  Federal Government’s ability to combat foreign malign influence campaigns, prosecute crimes,

  protect the national security, and provide accurate information to the public on matters of grave

  public concern such as health care and election integrity.” Doc. 266, at 258 (citing Knapp Decl.

  ¶¶ 5-50 (Ex. 157); Wales Decl. ¶¶ 27-30 (Ex. 167); Crawford Decl. ¶¶ 20-23 (Ex. 80); Lesko Decl.

  ¶¶ 18-19 (Ex. 63); Bray Decl. ¶¶ 12-15 (Ex. 142)). This argument lacks merit.

         As an initial matter, Defendants’ evidence on this point is at war with itself. Plaintiffs’

  proposed injunction would prevent Defendants from pressuring or inducing platforms to remove


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  First Amendment-protected speech from social media. Doc. 214, at 67-68. The Government’s

  declarants first attest that their agencies do not do this, and then claim that an injunction preventing

  them from doing this would create a devastating parade of horribles. See, e.g., Doc. 266-6, at 456

  (Knapp Decl. ¶ 15) (claiming that the FBI does not pressure or coerce platforms to remove

  content); Doc. 266-4, at 133-135 (Lesko Decl. ¶¶ 7-8, 10-11) (denying that the OSG asks, or has

  ever asked, any social-media platforms to suppress or take down content); Doc. 266-6, at 205 (Bray

  Decl. ¶ 16) (asserting that “[t]he GEC’s practice is not to request social media companies to take

  any specific actions when sharing information with them”). Defendants cannot have it both ways.

         In any event, Defendants’ objections to the injunction’s supposed overbreadth do not

  withstand scrutiny. They fall into two categories: (1) actions that would not violate the proposed

  injunction, such as public statements on policy questions not directed to platforms or the

  suppression of speech; and (2) actions directed at content that is not protected by the First

  Amendment, such content where the speech itself constitutes criminal activity, including fraud,

  “malicious cyber activity,” live-streamed child sexual abuse, terrorism, and true threats.

         First, Defendants speculate that public statements by federal officials on matters of policy,

  not formulated as requests to suppress speech and not directed to social-media platforms, might

  violate the proposed injunction if platforms were to use such public statements as grounds to censor

  speech under their content-moderation policies. For example, Crawford speculates that the

  proposed injunction “would prohibit CDC from publicly issuing a statement on a public health

  issue” that the platform, acting independently of the CDC, then relied on to moderate content.

  Doc. 266-5, at 75 (Crawford Decl. ¶ 21). She also speculates that “if a CDC-funded entity

  publicizes research that runs contrary to a narrative circulating on social media, and a social media

  company then takes steps consistent with its terms of service to limit that narrative,” that might be



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  deemed to violate the proposed injunction. Id. at 75-76, ¶ 22. Max Lesko raises similar concerns

  about the OSG making public statements about the safety of cigarettes, obesity, and youth mental

  health. Doc. 266-4, at 137-138 (Lesko Decl. ¶¶ 19-20). And Leah Bray raises the concern that

  “the GEC would be prevented from producing or disseminating reports exposing Russian or PRC

  malign influence.” Doc. 266-6, at 204 (Bray Decl. ¶ 15).

         These objections attempt to manufacture concerns that do not exist. A federal agency that

  makes a public statement on a policy issue, without more—specifically, without directing the

  statement to platforms or crafting the statement to influence the removal of disfavored viewpoints

  from social media—would not violate the proposed injunction. The proposed injunction prevents

  Defendants from taking any steps to “demand, urge, encourage, pressure, coerce, deceive, collude

  with, or otherwise induce” platforms to censor speech on social media. Doc. 214, at 67. Every

  one of those verbs connotes intentional, deliberate action directed to the platforms. If the platform

  makes public statements on policy issues that are not directed to the platforms and not intended to

  induce censorship of content on social media, those would not violate the terms of the injunction.

         Second, Plaintiffs argue that the injunction is supposedly overbroad because it would

  prevent them from seeking the removal of social-media content where the content itself is criminal

  activity unprotected by the First Amendment. For example, Larissa Knapp asserts that the FBI

  sometimes may seek the removal of a range of criminal activity, including “[c]yber-criminal

  syndicates and nation-states … selling malware as service or … targeting vendors to access scores

  of victims by hacking just one provider.” Doc. 266-6, at 463, ¶ 32. She states that “[s]ocial media

  platforms are frequently used by cyber criminals to commit crimes,” such as “spear phishing

  attacks,” “economic espionage,” stealing “trade secrets,” “steal[ing] credentials,” and “deceiv[ing]

  victims into downloading malware.” Id. ¶¶ 35-36. She states that the FBI (which apparently does



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  not “routinely” seek removal of child pornography from social media, id. at 467, ¶ 43), might seek

  removal of content depicting child sexual abuse in real time—i.e., “live streaming of sexual abuse

  of a child, a particular user in a chat room grooming children for sexual exploitation, or a particular

  user committing ongoing sexploitation crimes against children.” Id. at 467, ¶ 43. She points to

  “cases where individuals have posted explicit threats against FBI personnel.” Id. at 468, ¶ 46. And

  she states that the FBI may seek to remove speech by foreign terrorist organizations like ISIS and

  al-Qaeda seeking to recruit and organize terrorist attacks, id. at 460-463, ¶¶ 25-31.

         Brandon Wales raises similar concerns about CISA’s requests to remove “malicious cyber

  activity,” which “include[s] malware, phishing, exploitation of software vulnerabilities.” Doc.

  266-6, at 555-556 (Wales Decl. ¶¶ 5-6). Wales helpfully notes that this “malicious cyber activity”

  is plainly distinct from protected speech: “Malicious cyber activity … relates only to unauthorized

  access to information systems and is distinct from the concept of mis-, dis-, and malinformation,

  which relates to the veracity and intent behind certain information.” Id. at 556, ¶ 6. On Wales’

  description, “malicious cyber activity” is content that is itself criminal, such as “deliver[ing]

  malware or phishing communications,” and “send[ing] command-and-control instructions to

  victim computers.” Id. at 561, ¶ 23.

         Such concerns have a common thread—they all involve situations where the targeted

  content itself involves ongoing criminal activity. As Defendants admit, such content is not

  protected by the First Amendment, and thus it would not violate the proposed injunction, which

  mandates compliance with the First Amendment. See Doc. 214, at 67-68. Likewise, true threats

  are both criminal and fall within a well-established First Amendment exception. Fogel v. Collins,

  531 F.3d 824, 830 (9th Cir. 2008). Moreover, if the Court wished to make more explicit the fact

  that the proposed injunction does not include content that falls within well-established First



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  Amendment exceptions, it could simply insert, after the phrase “any speaker, content, or viewpoint

  expressed on social media,” the phrase “except for content that itself constitutes criminal activity

  not protected by the First Amendment.”

                                           CONCLUSION

         The Government would have this Court believe that federal censorship activities are a thing

  of the past. On the contrary, the evidence shows that federal officials are deeply enamored with

  their censorship powers and will continue to suppress disfavored viewpoints at every reasonable

  opportunity. As Justice Scalia observed, “no government official is ‘tempted’ to place restraints

  upon his own freedom of action, which is why Lord Acton did not say ‘Power tends to purify.’”

  Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 981 (1992) (Scalia, J., concurring

  in the judgment in part and dissenting in part), overruled by Dobbs v. Jackson Women's Health

  Org., 142 S. Ct. 2228 (2022). The federal Censorship Enterprise’s “temptation is in the quite

  opposite and more natural direction—towards systematically eliminating checks upon its own

  power; and it succumbs.”      Id.   The Court should grant Plaintiffs’ Motion for Preliminary

  Injunction, Doc. 10, and enter the proposed injunction requested by Plaintiffs, Doc. 214, at 67-68.




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   Dated: May 20, 2023                             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

         I hereby certify that, on May 20, 2023, I caused a true and correct copy of the foregoing to

  be filed by the Court’s electronic filing system, to be served by operation of the Court’s electronic

  filing system on counsel for all parties who have entered in the case.

                                                        /s/ D. John Sauer




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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


    STATE OF LOUISIANA, et al.,

           Plaintiffs,

                   v.
                                                              Civil Action No. 22-cv-1213
    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States of
    America, et al.,

           Defendants.



        DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING
          U.S. SUPREME COURT DECISIONS OF JUNE 15 AND JUNE 23, 2023

          Defendants respectfully submit this notice of supplemental authority concerning United

   States v. Texas, No. 22-58, 2023 WL 4139000 (U.S. June 23, 2023) (attached as Exhibit 1), and

   Haaland v. Brackeen, No. 21-376, 2023 WL 4002951 (U.S. June 15, 2023) (attached as Exhibit

   2). These Supreme Court decisions confirm that the State Plaintiffs here lack standing.

          In Texas, the States of Texas and Louisiana challenged immigration-enforcement

   guidelines issued by the Secretary of Homeland Security as allegedly contrary to law. The Supreme

   Court held that the States lacked Article III standing. See Texas, 2023 WL 4139000, at *2. In

   Brackeen, individual plaintiffs and the State of Texas contended that requirements of the Indian

   Child Welfare Act (ICWA) violate the Constitution. As relevant here, the Supreme Court rejected

   various challenges for lack of standing. See Brackeen, 2023 WL 4002951, at *5.

          These decisions are relevant to this case for numerous reasons. First, the State Plaintiffs

   here have argued that they are entitled to “special solicitude” in the standing analysis. The Court

   accepted that argument at the motion-to-dismiss stage, relying on Massachusetts v. EPA, 549 U.S.



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   497 (2007). See Missouri, 2023 WL 2578260, at *11. But in Texas, the Supreme Court explained

   that the standing analysis in Massachusetts “d[id] not control” because “[t]he issue there involved

   a challenge to the denial of a statutorily authorized petition for rulemaking,” rather than the

   exercise of enforcement discretion. Texas, 2023 WL 4139000, at *8 n.6. The Supreme Court

   emphasized that “federal courts must remain mindful of bedrock Article III constraints in cases

   brought by States against an executive agency or officer.” Id. at *6 n.3. Although “federal policies

   frequently generate indirect effects on state revenues or state spending,” standing theories

   premised on such effects can be “attenuated,” and the Supreme Court concluded that no such

   theories in Texas “overc[a]me[] the fundamental Article III problem with th[e] lawsuit.” Id. As in

   Texas, the State Plaintiffs here do not invoke the special, statutorily authorized procedures at issue

   in Massachusetts, and they cannot satisfy Article III’s bedrock requirements for the reasons set out

   in Defendants’ previous filings.

          Second, Brackeen emphasized the “settled rule” that “[a] State does not have standing as

   parens patriae to bring an action against the Federal Government.” 2023 WL 4002951, at *19

   (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U. S. 592, 610 n. 16 (1982)).

   That is true even if the States allege an injury “in protecting the constitutionally bestowed rights

   of their citizens,” as this Court held Missouri and Louisiana had done at the motion-to-dismiss

   stage. See Missouri, 2023 WL 2578260, at *14. In Brackeen, Texas attempted to assert its citizens’

   constitutional rights in challenging a Federal statute, but the Supreme Court held that such a theory

   of standing was clearly foreclosed. See 2023 WL 4002951, at *19 (“[Snapp] should make the issue

   open and shut.”); see also id. at *19 n.11 (rejecting a “thinly veiled attempt to circumvent the limits

   on parens patriae standing” by asserting standing on behalf of a State’s citizens).




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          Finally, both Texas and Brackeen rejected State plaintiffs’ assertions of standing based on

   the kinds of quasi-sovereign and sovereign interests asserted here, such as “securing observance

   of the terms under which they participate in the federal system” and “the power to create and

   enforce a legal code.” Missouri, 2023 WL 2578260, at *10, 14. In Brackeen, the Supreme Court

   held that no Article III injury arose from a Federal law that allegedly “requir[ed]” Texas “to break

   its [constitutional] promise to its citizens that it will be colorblind in child-custody proceedings.”

   2023 WL 4002951, at *19. And in Texas, the Supreme Court rejected a theory that Defendants’

   alleged actions denied them the benefits of the federal system. As Justice Gorsuch’s concurrence

   explained, such a theory improperly seeks to “establish government by lawsuit.” Texas, 2023 WL

   4139000, at *17. Missouri and Louisiana’s alleged injury to the “free speech policies” in their

   State constitutions, Missouri, 2023 WL 2578260, is likewise insufficient under Article III.

                                      *       *       *       *       *

          Texas and Brackeen therefore provide further support for Defendants’ contentions that

   Plaintiffs lack Article III standing and that Plaintiffs lack irreparable harm sufficient to support the

   requested injunctive relief in this action against the Federal Government. See, e.g., Dkt. 266 at

   128-36.




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   Dated: June 26, 2023        Respectfully submitted,

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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

      STATE OF LOUISIANA, STATE OF
      MISSOURI, et al.

                      Plaintiffs,

         v.                                                    Case No. 3:22-cv-01213-TAD-KDM

      JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United States, et
      al.,
                                                           
                      Defendants.


       PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL
          AUTHORITY REGARDING RECENT SUPREME COURT DECISIONS

          Defendants’ “Notice of Supplemental Authority Regarding U.S. Supreme Court Decisions

   of June 15 and June 23, 2023,” argues that two recent decisions “confirm that the State Plaintiffs

   here lack standing.” Doc. 289, at 1. Defendants’ arguments are meritless.

          A.      United States v. Texas Confirms That the States Have Standing.

          First, Defendants argue that United States v. Texas, No. 22-58, 2023 WL 4139000 (U.S.

   June 23, 2023), undermines the States’ standing. Doc. 289, at 1-3. Defendants are incorrect.

          Texas addressed two States’ challenge to the Department of Homeland Security’s

   guidelines stating that DHS will not arrest criminal aliens whom Congress provided “shall” be

   arrested. Texas, 2023 WL 4139000, at *2. The Supreme Court held that Article III standing was

   lacking because “a citizen lacks standing to contest the policies of the prosecuting authority when

   he himself is neither prosecuted nor threatened with prosecution.” Id. (quoting Linda R.S. v.

   Richard D., 410 U.S. 614, 619 (1973)) (emphasis added).



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          This holding was based solely on the rule that a party typically lacks standing to compel

   the arrest and prosecution of another—a rule that has no application in this case. See id. The

   majority emphasized the narrowness of this holding. The Court noted that “[t]he discrete standing

   question raised by this case rarely arises because federal statutes that purport to require the

   Executive Branch to make arrests or bring prosecutions are rare…. This case therefore involves

   both a highly unusual provision of federal law and a highly unusual lawsuit.” Id. at *8. The Court

   held that “our Article III decision today should in no way be read to suggest or imply that the

   Executive possesses some freestanding or general constitutional authority to disregard statutes

   requiring or prohibiting executive action.” Id. It held that “[t]his case is categorically different”

   from other standing decisions “because it implicates only one discrete aspect of the executive

   power—namely, the Executive Branch’s traditional discretion over whether to take enforcement

   actions against violators of federal law.” Id. It noted that “this case raises only the narrow Article

   III standing question of whether the Federal Judiciary may in effect order the Executive Branch to

   take enforcement actions against violators of federal law—here, by making more arrests.” Id. It

   emphasized that “[t]he Court’s standing decision today is narrow and simply maintains the

   longstanding jurisprudential status quo.” Id. at *9 (citing Linda R.S., 410 U.S. at 619). And it

   described the case as an “extraordinarily unusual lawsuit.” Id. at *9.

          This case, by contrast, does not involve any attempt to compel the arrest or prosecution of

   anyone, so Texas does not undermine standing here.           Quite the contrary—Texas identified

   “[s]everal good reasons” supporting its holding, id. at *5-6, and all of these support the States’

   standing here. First, the Supreme Court emphasized that “when the Executive Branch elects not

   to arrest or prosecute, it does not exercise coercive power over an individual’s liberty or property,

   and thus does not infringe upon interests that courts often are called upon to protect.” Id. at *5.



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   Here, federal officials do “exercise coercive power over an individual’s liberty,” id., by pressuring

   social-media platforms with threats to induce censorship. See, e.g., Doc. 214-1, ¶¶ 1-30.

          Second, the Texas majority held that judicially mandating arrests and prosecutions would

   “run up against the Executive’s Article II authority to enforce federal law,” a core aspect of

   executive power. Id. Here, by contrast, federal social-media censorship lies so far afield from any

   plausible constitutional or statutory authority that it is plainly ultra vires. See Doc. 224, at 71-72.

          Third, Texas stressed the traditional deference due to the Executive Branch in matters

   relating to immigration policy, which implicates “foreign-policy objectives.” Id. Here, no

   “foreign-policy objectives” are at issue, where the targeted speech is overwhelmingly domestic.

   See, e.g., Doc. 276, at 2; Doc. 214-1, ¶¶ 918-922, 1033, 1056, 1220, 1231, 1233, 1235, 1241.

          Fourth, the Texas majority held that “courts generally lack meaningful standards for

   assessing the propriety of enforcement choices.” Id. at *6. Here, the First Amendment case law

   provides extensive, well-established “meaningful standards” for assessing the lawfulness of

   Executive officials’ actions. See, e.g., Doc. 214, at 4-8, 14, 18-19, 29-31, 41-42.

          Finally, the Texas majority emphasized that “the Executive Branch must balance many

   factors when devising arrest and prosecution policies.” Id. at *6. Here, the Executive Branch

   does not need to “balance many factors” when deciding whether to comply with the First

   Amendment—it has a categorical obligation to do so.

          Defendants argue that Texas supports them on two points. First, they claim that Texas

   jettisoned the “special solicitude” granted to States in the standing analysis under Massachusetts

   v. EPA, 549 U.S. 497 (2007). Doc. 289, at 1-2. This argument is plainly incorrect, as the Texas

   majority never used the phrase “special solicitude” or addressed it in its analysis. As Justice

   Gorsuch noted, “the Court says nothing about ‘special solicitude’ in this case.” Texas, 2023 WL



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   4139000, at *10 (Gorsuch, J., concurring in the judgment). Both Massachusetts v. EPA and

   subsequent Fifth Circuit case law recognizing the doctrine of “special solicitude” remain good law.

   See Doc. 224, at 21-22 (citing Texas v. United States, 809 F.3d 134, 151 (5th Cir. 2015)). In any

   event, as discussed in prior briefs, the States have standing even without “special solicitude.”

          Second, Defendants argue that “in Texas, the Supreme Court rejected a theory that

   Defendants’ alleged actions denied them the benefits of the federal system.” Doc. 289, at 3. But

   nothing in the Texas majority opinion addresses any such theory – which, presumably, is why

   Defendants only cite the concurring opinion, not the majority opinion, for this point. See id. In

   fact, there is nothing State-specific about Texas’s holding on standing—it applies equally to private

   citizens as well as States. Notably, the Court held “that a citizen lacks standing to contest the

   policies of the prosecuting authority when he himself is neither prosecuted nor threatened with

   prosecution.” Id. at *2 (emphasis added) (quoting Linda R.S., 410 U.S. at 619).

          B.      Haaland v. Brackeen Does Not Undermine the States’ Standing.

          Defendants’ reliance on Haaland v. Brackeen, No. 21-376, 2023 WL 4002951 (U.S. June

   15, 2023), is likewise misplaced. In Haaland, the Supreme Court held that Texas lacked standing

   to challenge the placement provisions of the Indian Child Welfare Act, which give preference to

   Indian families in custody disputes involving Indian children. Id. at *19. Haaland held that Texas

   “cannot assert equal protection claims on behalf of its citizens because ‘[a] State does not have

   standing as parens patriae to bring an action against the Federal Government.’” Id. (quoting Alfred

   L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16 (1982)). Defendants

   claim that this statement forecloses parens patriae standing here. Doc. 289, at 2. Not so.

          In its brief discussion of parens patriae standing, Haaland merely quoted footnote 16 of

   Alfred L. Snapp, which itself merely restated the so-called “Mellon bar.” See Haaland, 2023 WL



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   4002951, at *19; Alfred L. Snapp, 458 U.S. at 610 n.16 (quoting Massachusetts v. Mellon, 262

   U.S. 47, 485-86 (1923)). Though both cases use admittedly broad language, neither Haaland nor

   Alfred L. Snapp expounds the scope of that “Mellon bar,” and the Supreme Court has made clear

   elsewhere that parens patriae suits are allowed against the federal government outside the Mellon

   bar. See Massachusetts v. EPA, 549 U.S. at 520 n.17 (explaining the “critical difference” between

   parens patriae suits barred by Mellon and parens patriae suits against the federal government

   otherwise permitted). Consistent with Massachusetts v. EPA, this Court has already held that the

   Mellon bar applies to “third-party parens patriae suits,” but not to “quasi-sovereign-interest suits.”

   Doc. 224, at 215-26 (quoting Kentucky v. Biden, 23 F.4th 585, 598 (6th Cir. 2022)). In Haaland,

   Texas asserted a “third-party parens patriae suit,” rather than a “quasi-sovereign-interest suit,” see

   id., because Texas asserted the equal-protection rights of only a tiny minority of its population

   (i.e., non-Indian foster or adoptive parents who wish to foster or adopt Indian children over the

   objections of relevant Indian tribes), which was plainly insufficient to qualify as a quasi-sovereign

   interest. See Haaland, at *19 & n.11. Here, by contrast, Louisiana and Missouri each assert the

   rights of a very “substantial segment of its population,” Alfred L. Snapp, 458 U.S. at 607—i.e., the

   hundreds of thousands or millions of their citizens who are potential audience members of the

   social-media speech suppressed by the federal government.

          Moreover, in holding that Texas lacked third-party standing, Haaland emphasized that

   Texas lacked either a “‘concrete injury’ to the State” or “some hindrance to the third party’s ability

   to protect its own interests.” Haaland, at *19 n.11 (quoting Georgia v. McCollum, 505 U.S. 42,

   55-56 (1992)). Here, by contrast, the States have suffered numerous concrete injuries from federal

   social-media censorship. See, e.g., Doc. 214-1, ¶¶ 1427-1442. And there is clearly “some

   hindrance to the third party’s ability to protect its own interests,” because the First Amendment



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   injury to each individual audience member in Louisiana and Missouri is too diffuse to incentivize

   litigation through thousands of individual lawsuits. Bantam Books, Inc. v. Sullivan, 372 U.S. 58,

   64 n.6 (1963) (holding that “pragmatic considerations argue strongly for … standing … in cases

   such as the present one,” where a person suffering First Amendment injuries “is not likely to

   sustain sufficient economic injury to induce him to seek judicial vindication of his rights”).

          Defendants also argue that Haaland rejected Texas’s claim that the ICWA’s placement

   provisions required Texas to “break its … promise to its citizens that it will be colorblind in child-

   custody proceedings.” Doc. 289, at 3 (quoting Haaland, 2023 WL 4002951, at *19). But the

   Supreme Court rejected this argument for a specific reason: “Were it otherwise, a State would

   always have standing to bring constitutional challenges when it is complicit in enforcing federal

   law.” Haaland, 2023 WL 4002951, at *19. Here, Missouri and Louisiana do not claim that the

   federal government requires them to be “complicit” in “enforcing federal” social-media

   censorship, id., so Haaland’s reasoning has no application here. Instead, the States argue that

   federal censorship prevents the States from giving effect to their own laws favoring freedom of

   speech. This Court has held that the States assert “injuries to the States’ sovereign interest in the

   power to create and enforce a legal code,” and that “Defendants’ alleged censorship program

   would be a federal assertion of authority to regulate matters that the States seek to control.” Doc.

   224, at 29 (citing Texas v. United States, 809 F.3d 134, 149 (5th Cir. 2015)). These holdings

   remain valid.

          C.       Neither Texas Nor Haaland Affects Private Plaintiffs’ Standing or the States’
                   Other Bases for Standing.
          
          Furthermore, only one Plaintiff need have standing. Doc. 224, at 19 (citing Rumsfeld v.

   FAIR, 547 U.S. 47, 52 n.2 (2006)). Here, Defendants do not contend that Texas and Haaland have

   any bearing on the Private Plaintiffs’ standing, which this Court has already upheld. Doc. 224, at

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   34-38. Likewise, neither Texas nor Haaland has any bearing on the multiple other injuries asserted

   by the States—such as (1) the States’ direct experience of censorship of their own speech, (2) the

   States’ asserted interest in being able to read their constituents’ uncensored thoughts and opinions

   on social media, and (3) the States’ interest in maintaining fair and open processes for petitioning

   government for redress of grievances. See, e.g., Doc. 214-1, ¶¶ 1428-1440; Doc. 224, at 30-32.

          D.      Recent Authorities Undercut Defendants’ Arguments.

          Finally, Defendants ignore other recent authorities that undercut their arguments. For

   example, on June 23, 2023, the Supreme Court decided United States v. Hansen, No. 22-179 (U.S.

   June 23, 2023) (Slip opinion attached as Exhibit A). Hansen reinforced the longstanding rule that

   “speech integral to unlawful conduct” is not protected by the First Amendment. Id. at 18. “Speech

   intended to bring about a particular unlawful act … is unprotected.” Id.

          Hansen contradicts the Government’s heavy reliance on the “government speech” doctrine.

   See, e.g., Doc. 266, at 1, 3-4, 147. Under Hansen, the First Amendment does not protect private

   “[s]peech intended to bring about a particular unlawful act.” Hansen, Slip op. at 18. A fortiori,

   the doctrine does not protect government speech “intended to bring about a particular unlawful

   act,” id.—here, the suppression of private speech in violation of the First Amendment. Second,

   Hansen undermines the Government’s extensive complaints about the supposed “overbreadth” of

   the requested injunction. Doc. 266, at 5, 258-261, 264-273. Most of the Government’s supposed

   “overbreadth” constitutes examples of federal officials requesting platforms to remove “speech

   integral to unlawful conduct” and “speech intended to bring about a particular unlawful act,”

   Hansen, Slip op. at 18—such as fraud, malicious cyber activity, live-streamed child sex abuse,

   terrorism, and true threats. See Doc. 276, at 114-117. Hansen reaffirms that such speech is not




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   protected by the First Amendment, and an injunction prohibiting federal officials from interfering

   with First Amendment-protected speech would not apply to such conduct.

          In addition, on June 26, 2023, the House Committee on the Judiciary and the Select

   Subcommittee on the Weaponization of the Federal Government issued a report on the federal

   censorship activities of Defendant CISA. See U.S. House of Representatives, Interim Staff Report

   of the Committee on the Judiciary and the Select Subcommittee on the Weaponization of the

   Federal Government, The Weaponization of CISA: How a “Cybersecurity” Agency Colluded With

   Big Tech and ‘Disinformation’ Partners To Censor Americans (June 26, 2023), available at

   https://judiciary.house.gov/sites/evo-subsites/republicans-judiciary.house.gov/files/evo-media-

   document/cisa-staff-report6-26-23.pdf (attached as Exhibit B). Among other things, the report

   concludes that “CISA has attempted to conceal its unconstitutional activities and remove evidence

   of wrongdoing.” Id. at 28. It concludes that “[f]earing public pressure and legal risks,” including

   this lawsuit, “CISA outsourced its censorship activities to the EI-ISAC.” Id. It concludes that

   CISA’s “MDM Subcommittee tried to disguise its recommendations by removing references to

   surveilling and censorship.” Id. at 29. It concludes that “CISA purged its website of references to

   domestic MDM and its First Amendment violations in response to public pressure.” Id. at 32.

   And it concludes that “[t]he Biden Justice Department interfered with records requests in order to

   shield CISA from public scrutiny of its unconstitutional practices.” Id. at 34. These conclusions

   contradict the Government’s contention that CISA voluntarily ceased censorship activities.



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    Dated: June 28, 2023                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on June 28, 2023, I caused a true and correct copy of the foregoing to

 be filed by the Court’s electronic filing system, to be served by operation of the Court’s electronic

 filing system on counsel for all parties who have entered in the case.

                                                        /s/ D. John Sauer




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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA


    STATE OF LOUISIANA, et al.,

            Plaintiffs,

                    v.
                                                               Civil Action No. 22-cv-1213
    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States of
    America, et al.,

            Defendants.


                          DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                           NOTICE OF SUPPLEMENTAL AUTHORITY
   I.     The Supreme Court’s Recent Decisions Confirm that Plaintiff States Lack Standing.
          As stated in Defendants’ Notice of Supplemental Authority (“Notice”), Dkt. 289, United

   States v. Texas, No. 22-58, 2023 WL 4139000 (U.S. June 23, 2023), and Haaland v. Brackeen,

   143 S. Ct. 1609 (2023), clarify Article III standing principles that foreclose the States’ theories in

   this case. In Texas, the Supreme Court explained that the standing analysis in Massachusetts v.

   EPA, 549 U.S. 497 (2007), must be understood in light of the particular claim asserted there: “a

   challenge to the denial of a statutorily authorized petition for rulemaking[.]” Texas, 2023 WL

   4139000, at *8 n.6. The Supreme Court also emphasized that standing theories premised on

   “indirect effects” to States “can become more attenuated” and that, especially when such

   attenuated theories are at issue, “federal courts must remain mindful of bedrock Article III

   constraints in cases brought by States against an executive agency or officer.” Id. at *6 n.3. In

   Brackeen, the Supreme Court reiterated that “[a] State does not have standing as parens patriae to

   bring an action against the Federal Government,” 143 S. Ct. at 1640 (quoting Alfred L. Snapp &

   Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16 (1982))), and rejected the State’s


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   “thinly veiled attempt to circumvent the limits on parens patriae standing,” id. at 1640 n.11. As

   explained in Defendants’ Notice, the principles articulated in both decisions confirm that the States

   lack Article III standing here.

          Plaintiffs fail to overcome the import of these recent decisions. First, the Plaintiff States

   assert that Texas is inapposite because it involves a failure-to-prosecute claim, and no such claim

   is asserted here. Pls.’ Resp. to Defs.’ Notice (“Pls.’ Resp.”) 2, Dkt. 291. But Texas stressed that

   “bedrock Article III constraints” compel skepticism in every case, regardless of the specific claim

   asserted, in which a State’s standing theories turn on the alleged “indirect effects” of federal

   policies or actions. Texas, 2023 WL 4139000, at *6 n.3. Here, as in Texas, the States assert

   attenuated theories of standing that turn on the incidental effects of social media companies’

   alleged moderation of content posted by certain users of the companies’ platforms. See Defs.’

   MTD Reply 11, Dkt. 199; see also Notice 2. As in Texas, those “indirect effects” are too attenuated

   to satisfy Article III’s requirements that an injury be “concrete” and “particularized.” And, as in

   Texas, Plaintiffs have “not cited any precedent, history, or tradition of courts” recognizing Article

   III standing of the kind Plaintiffs have asserted. 2023 WL 4139000, at *4. Thus, Plaintiffs’

   discussion of the various other factors the Texas Court considered relating to standing in failure-

   to-prosecute claims, Pls.’ Resp. 2-3, are beside the point.

          Second, the Plaintiff States assert that Texas does not undermine their reliance on “special

   solicitude” because the Supreme Court there did not use the phrase “special solicitude” in its

   decision. But regardless of whether the Supreme Court used that phrase, it clarified that the case

   on which Plaintiffs rely in invoking “special solicitude,” Massachusetts v. EPA, arose from and is

   confined to a “challenge to the denial of a statutorily authorized petition for rulemaking.” Texas,

   2023 WL 4139000, at *8 n.6. Here, as in Texas, where no such challenge is at issue, the States




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   cannot resort to Massachusetts v. EPA’s context-specific reference to “special solicitude” to satisfy

   or water down Article III’s standing requirements. Indeed, as Justice Gorsuch stressed in his

   concurrence, “special solicitude” has not “played a meaningful role in th[e] Court’s decisions in

   the years since” Massachusetts v. EPA was decided, and “it’s hard not to think, too, that lower

   courts should just leave that idea on the shelf in future” cases. Id. at *10.

          Third, the Plaintiff States contend that the “settled rule[]” that States “do not have standing

   as parens patriae to bring an action against the Federal Government” is not as settled as the

   Supreme Court stated in Brackeen, 143 S. Ct. at 1640. Pls.’ Resp. 4-5. The States reiterate their

   meritless argument that Kentucky v. Biden, 23 F.4th 585 (6th Cir. 2022), supports their parens

   patriae theory to the extent it is based on the assertion of a quasi-sovereign interest rather than the

   invocation of third-party interests. Pls.’ Resp. 4-5. But Brackeen casts serious doubt about

   Kentucky’s validity. In any event, as Defendants explained, see MTD Reply 14-15, even accepting

   the parens patriae distinctions articulated in Kentucky, the States’ efforts to establish standing fail.

   The States have not plausibly alleged (or documented with evidence) any quasi-sovereign interest

   that exists apart from their citizens’ private interests in free speech; therefore, the States act as

   nothing more than “nominal part[ies]” whose role is only to support the “[i]nterests of private

   parties.” Snapp, 458 U.S. at 592. Moreover, Plaintiffs wrongly suggest that Brackeen rejected the

   State of Texas’s standing in parens patriae simply because Texas asserted rights belonging to

   “only a tiny minority of its population.” Pls.’ Resp. 5. The Court in Brackeen nowhere discusses

   the proportion of the State’s population affected by the constitutional claim there, nor otherwise

   suggests that a State may circumvent the bar against parens patriae standing if it brings claims on

   behalf of enough people. See Brackeen, 143 S. Ct. at 1640 n.11 (rejecting Texas’s “thinly veiled

   attempt to circumvent the limits on parens patriae standing”).




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          Finally, the Plaintiff States assert that it is irrelevant that Brackeen rejected Texas’s theory

   that it was injured because federal law allegedly “required” the State to “break its [constitutional]

   promise to its citizens that it will be colorblind in child-custody proceedings.” Pls.’ Resp. at 6; see

   Brackeen, 143 S. Ct. at 1640. But the States’ own arguments underscore the relevance of that

   outcome. As the Plaintiff States emphasize, the Supreme Court rejected that theory of injury

   because it would mean that a State “always ha[s] standing to bring constitutional challenges when

   it is complicit in enforcing federal law.” Id. at 6 (emphasis added) (quoting Brackeen, 143 S. Ct.

   at 1640). As the Supreme Court explained, such a broad theory is “not the kind of ‘concrete’ and

   ‘particularized’ ‘invasion of a legally protected interest’ necessary to demonstrate an ‘injury in

   fact.’” Brackeen, 143 S. Ct. at 1640 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)

   (plurality op.)). The same is true here. The States’ standing theories are overly broad grievances

   that, if accepted, would mean that any State has standing based on any alleged interference to an

   individual citizen’s free speech. See Defs.’ Mot. to Dismiss 24, 27-28, ECF No. 128-1.1

   II.    Plaintiffs Inappropriately Attempt to Introduce New Arguments and Evidence That
          are Unrelated to Article III Standing and That Lack Merit Regardless.
          Plaintiffs next contend that the Defendants “ignore other recent authorities that undercut

   their arguments,” citing to the Supreme Court’s recent decision in United States v. Hansen, No.

   22-179, 2023 WL 4138994 (U.S. June 23, 2023), and an Interim Majority Staff Report issued by

   the Committee on the Judiciary and the Select Subcommittee on the Weaponization of the Federal

   Government (“Interim Majority Staff Report”). Pls.’ Resp. 7. The Court should reject this after-




   1
     Plaintiffs also assert that “only one Plaintiff need have standing” for the case to proceed. Pls.’
   Resp. 6. But no Article III precedent permits a single plaintiff who possesses standing to litigate
   the claims of others who do not, or to seek relief on behalf of others that is unrelated to the redress
   of that plaintiff’s injury. Thus, the States must show that they satisfy each element of Article III
   standing, independent of injury to any individual Plaintiff. See Defs.’ MTD 5-6.

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   the-last-minute attempt by Plaintiffs to supplement the record and refuse to accept the Interim

   Majority Staff Report as suitable evidence on which to base preliminary injunctive relief.

          As an initial matter, neither of these sources relates to the States’ Article III standing, which

   was the sole issue addressed in Defendants’ Notice. Accordingly, Plaintiffs lack any basis for

   accusing Defendants of “ignor[ing]” sources that undercut their arguments relating to Article III

   standing. Instead, Plaintiffs present these new sources to bolster their arguments concerning the

   scope of their proposed injunction and the merits of their claims. But neither Hansen nor the

   Interim Majority Staff Report supports Plaintiffs’ arguments.

          To start, Plaintiffs rely on Hansen to rehash their arguments that the broad injunction they

   seek would not interfere with legitimate government speech or law enforcement objectives. Pls.’

   Resp. 7-8. Their arguments lack merit. In Hansen, the Supreme Court concluded that a federal

   statute criminalizing the act of “encourag[ing] or induc[ing] an alien to come to, enter, or reside in

   the United States, knowing or in reckless disregard of the fact that such [activity] is or will be in

   violation of law,” was not unconstitutionally overbroad in violation of the First Amendment. 2023

   WL 4138994, at *4 (quoting 8 U.S.C. § 1324(a)(1)(A)(iv)). The Supreme Court’s holding that this

   criminal statute does not violate the First Amendment has no bearing on the state action analysis

   or government speech doctrine at issue here. In other words, Hansen does not address the

   circumstances in which speech by a government official renders private conduct state action for

   which the government may be held responsible. Nor does Hansen clarify the limits of the

   government speech doctrine or otherwise support Plaintiffs’ assertion that their requested

   injunction is not overly broad.

          Indeed, Plaintiffs continue to insist that their requested injunction is not overly broad and

   preserves the government’s ability to carry out legitimate and important law enforcement activities




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   without explaining how that is the case. Plaintiffs assert that Hansen confirms that speech

   amounting to “fraud, malicious cyber activity, live-streamed child sex abuse, terrorism, and true

   threats” “is not protected by the First Amendment.” Pls.’ Resp. 7-8. Therefore, Plaintiffs contend,

   “an injunction prohibiting federal officials from interfering with First Amendment-protected

   speech would not apply to such conduct.” Id. The problem is that Plaintiffs’ challenge to virtually

   any communication between a government official and social media company, together with their

   vaguely worded proposed injunction, would prohibit government activities designed to prevent

   these unlawful activities that Plaintiffs agree the First Amendment does not protect. Defendants

   explained the problems with the scope of Plaintiffs’ proposed injunction at length in their briefing

   and at oral argument. See Defs.’ PI Resp. 261-75, Dkt. 266.

          Next, Plaintiffs’ reliance on the Interim Majority Staff Report is likewise misplaced. As an

   initial matter, the Report does not qualify as “supplemental authority” on which the Court can rely.

   It is not an “authority” in any sense of the word, but rather reflects interim findings relating to a

   congressional oversight investigation made by one side of the Committee’s staff. And even the

   findings detailed in the report have no bearing on the facts relating to Plaintiffs’ preliminary

   injunction motion. First, the Interim Majority Staff Report is not a set of final conclusions; it is, as

   its name indicates, “interim.” Moreover, whatever Congress’s authority to conduct fact-finding in

   service of its legislative function—which has long been recognized to require far less than a

   “precise reconstruction of past events,” Senate Select Comm. on Presidential Campaign Activities

   v. Nixon, 498 F.2d 725, 732 (D.C. Cir. 1974)—Congress has no authority to find facts for an Article

   III Court. Cf. Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 225-26 (1995) (holding that statute

   that instructed federal courts to reopen final judgments violated separation of powers principles);

   Gonzales v. Carhart, 550 U.S. 124, 165, (2007) (“The Court retains an independent constitutional




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   duty to review factual findings where constitutional rights are at stake”). In addition, a

   congressional committee is not bound by the Federal Rules of Evidence or Civil Procedure that

   ordinarily guarantee the trustworthiness of the evidence relied on and the conclusions reached in

   a judicial proceeding. Indeed, the citations to documents in the Report are unquestionably selective

   but, even worse, there is no way for the Defendants or for this Court to determine what contrary

   evidence was left out of the report or, even, in many cases, to review the underlying documents

   relied upon by the majority staff. The Interim Majority Staff Report is also doubly one-sided: CISA

   was given no opportunity to respond to it and it reflects the work product of only one side of the

   Committee’s partisan divide. These factors, individually and in concert, disqualify the Interim

   Majority Staff Report as a reliable basis on which to make factual findings in support of Plaintiffs’

   preliminary injunction motion. 2

          Plaintiffs’ contentions would fail as a factual matter even if the Report were sufficiently

   trustworthy as evidence. Plaintiffs contend that the conclusions in this one-sided report by the

   majority staff of a House of Representatives Select Subcommittee “contradict the Government’s

   contention that CISA voluntarily ceased censorship activities.” Pls.’ Resp. 8. Putting to one side

   that none of Plaintiffs’ claimed evidence—including this Interim Majority Staff Report—supports

   their claim that CISA ever engaged in “censorship activities,” this Report certainly does not show




   2
     For example, the public record shows that Plaintiffs are coordinating with the House Majority
   Staff in connection with this case. On March 30, 2023, lead counsel for Plaintiffs testified before
   the Select Subcommittee on the Weaponization of the Federal Government and advanced the same
   factually unsupported arguments about alleged government censorship that Plaintiffs advance in
   this lawsuit. See Ex. B (testimony of D. John Sauer). And notably, one of Plaintiffs’ former counsel
   recently withdrew from this lawsuit to work for the Weaponization Select Subcommittee on its
   investigation in this matter. See Dkt. 243 (motion to withdraw), Ex. C. This evident coordination
   between Plaintiffs and the Committee is reason alone to discount any of the factually unsupported
   conclusions by the Select Subcommittee’s Majority staff. In any event, repetition by the
   Committee majority of Plaintiffs’ unsupported characterizations does not add to their weight.

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   that any of CISA’s challenged actions are ongoing. Moreover, by all appearances the Interim Staff

   Majority Report does not take into consideration the extensive, uncontradicted and publicly

   available record produced by Defendants in this case. To be sure, congressional staff were under

   no obligation to address the evidence and record in this case. But that is the point.

          For example, Plaintiffs note that the Interim Majority Staff Report concludes that “CISA

   has attempted to conceal its unconstitutional activities and remove evidence of wrongdoing.” Pls.’

   Resp. 8 (citing Interim Majority Staff Report 28). This conclusion is unsupported even by the

   evidence cited by the report. The Interim Majority Staff Report cites meeting minutes from the

   CISA Cybersecurity Advisory Committee (CSAC) Protecting Critical Infrastructure from

   Misinformation and Disinformation Subcommittee Meeting (MDM Subcommittee)3 in April

   2022, where certain subcommittee members discussed the use of CISA to “amplify trusted

   information” and discussed designating the EI-ISAC as a clearing house for trusted information. 4




   3
     Established under the National Defense Authorization Act for Fiscal Year 2021, Pub. L. No. 116-
   283, 134 Stat. 3388 (NDAA), the CSAC operates as a federal advisory committee governed by the
   Federal Advisory Committee Act. PI Resp. 81 (citing Defs.’ Exs. 119 & 120). The CSAC, including
   its subcommittees, is comprised entirely of non-federal experts who convene to consider,
   deliberate on, and ultimately deliver non-binding advice and recommendations to CISA. Id. (citing
   Defs’ Ex. 120). Contrary to the assertions of Plaintiffs and the Interim Majority Staff Report,
   CSAC reports and recommendations, not to mention subcommittee deliberative discussions, are
   not federal policy and do not reflect the position of the U.S. government.
   4
     Like the Plaintiffs in this case, the Interim Staff Majority Report claims that the “EI-ISAC is
   federally funded by CISA.” Interim Majority Staff Report 8, 22 (“[t]he CISA-funded EI-ISAC”).
   That characterization ignores the undisputed evidence presented in Defendants’ opposition to
   Plaintiffs’ preliminary injunction motion that “CISA did not fund CIS or the EI-ISAC for any of
   the work they provided in relation to the reporting of potential election security related
   disinformation to social media or technology companies during the 2020 election cycle,” PI Resp.
   at 239 n.109 (citing Ex. 97 at ¶¶ 50-51). Nor did DHS fund CIS or the EI-ISAC for any reporting
   of potential election security-related disinformation to social media or technology companies they
   may have done during the 2022 election cycle. Defs’ Ex. 97 at ¶ 79. Furthermore, it is undisputed
   that CISA was not involved in any efforts by CIS or the EI-ISAC to report potential election
   security-related disinformation to social media or technology companies in relation to the 2022
   election cycle. Id. at ¶ 81. The evidence on which the Interim Majority Staff Report relies are

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   Interim Majority Staff Report 28. But as Defendants explained in undisputed submissions, rather

   than attempt to “conceal” its activities, the MDM Subcommittee “operated transparently[,] and

   details about the MDM Subcommittee, its memberships, reports, and recommendations, are posted

   on CISA’s website.” PI Resp. 82-83 (citing Defs’ Ex. 123). More fundamentally, the unrebutted

   evidence shows that the MDM Subcommittee—which was directed to stand down in December

   2022 because it had completed the tasks for which it was created and provided its

   recommendations to CISA (and therefore cannot be the basis for any alleged ongoing or imminent

   harm to Plaintiffs)—did not discuss whether or how social media platforms should moderate

   content, either in specific cases or more generally. Id. (citing Ex. 122 at 9). The MDM

   Subcommittee meeting minutes cited by the Interim Majority Staff Report do not show otherwise;

   to the contrary, they document a discussion not about “censoring” speech but rather about

   promoting and amplifying speech. See Interim Majority Staff Report 28 (citing April 12, 2022,

   meeting minutes where “Subcommittee members returned to the recommendation for CISA to

   amplify trusted information”).

          Plaintiffs next claim that the Interim Majority Staff Report found that “CISA purged its

   website of reference to domestic MDM and its First Amendment violations in response to public

   pressure” and that the website now focuses exclusively on foreign malign influence operations.

   Pls.’ Resp. 8 (citing Interim Majority Staff Report 32). Notably, the Report cites no evidence

   establishing why CISA updated its website, let alone any evidence that it updated its website “in

   response to public pressure.” Id.5



   emails between state and local election officials, CIS, and social media platforms. Notably, CISA
   is not included on these emails. See Interim Majority Staff Report 23-25.
   5
     Rather, CISA’s website overhaul, which was announced in February 2023, and was the result of
   several months of development, was based on feedback CISA had received that its website “wasn’t
   organized in a way to easily find resources,” and that the reorganization “makes our agency’s

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        Finally, Plaintiffs observe that the Interim Majority Staff Report found that “[t]he Biden

 Justice Department interfered with records requests in order to shield CISA from public scrutiny

 of its unconstitutional practices.” Pls.’ Resp. 8 (citing Interim Majority Staff Report at 34). Putting

 to one side that this finding has nothing to do with any alleged irreparable harm to Plaintiffs, it

 also lacks any evidentiary support. The document cited by the Interim Majority Staff Report

 reflects a request under Washington State’s Public Records Act (“PRA”) for documents from the

 University of Washington. After CISA was notified of various PRA requests that potentially

 implicated CISA equities, CISA, through the Department of Justice, sought the opportunity to

 review the information intended for release to consider whether any federal law would be

 implicated by its release. At this time, CISA and the Department have not opposed the release of

 any documents by the University of Washington. 6 Contrary to its conclusion, nothing in the

 documents cited in the Interim Majority Staff Report supports “interference” by the Department

 of Justice with public record requests or an attempt to “shield CISA from public scrutiny of its

 unconstitutional practices.”

        For all of these reasons, the Interim Majority Staff Report fails to include reliable evidence

 supportive of Plaintiffs’ request for the extraordinary remedy of a preliminary injunction, and

 Plaintiffs’ implicit request to supplement the record with this report should be denied.




 resources and tools easier to find.” See Ex. A (CISA, “It’s a new Dawn, It’s a New Day, It’s a New
 Website for CISA”). The website overhaul sought to “consolidate[e] all CISA services, tools, and
 sites into one place [to] make[] it easier for our partners and stakeholders to find what they need”
 and to “simpl[y] the process of reporting information to us.” Id. Plaintiffs fail to explain how a
 revision to CISA’s website to include, among other things, an emphasis on CISA’s focus on
 foreign malign influence operations and disinformation possibly supports their claim of irreparable
 injury justifying the extraordinary remedy of a preliminary injunction.
 6
   In certain circumstances, the Washington PRA authorizes a third party objecting to disclosure to
 file a lawsuit to prevent the release of information. See RCW § 42.56.540. CISA and the
 Department have not initiated a lawsuit to prevent the release of information by the University.

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                                 26310




 Dated: June 29, 2023        Respectfully submitted,

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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                        MONROE DIVISION

   STATE OF MISSOURI ET AL                                       CIVIL ACTION NO. 3:22-cv-1213

   VERSUS                                                        JUDGE TERRY A. DOUGHTY

   JOSEPH R BIDEN JR ET AL                                       MAG. JUDGE KAYLA D. MCCLUSKY

                          MEMORANDUM RULING ON MOTION TO STAY

           Before the Court is a Motion to Stay Preliminary Injunction Pending Appeal and

   Alternatively, for Administrate Stay [Doc. No. 297] (“Motion to Stay”) filed by Defendants. 1 An

   Opposition [Doc. No. 299] was filed by Plaintiffs.2

           For the reasons set forth herein, Defendants’ Motion to Stay is DENIED.

   I.      BACKGROUND

           On July 4, 2023, this Court issued a Preliminary Injunction against the Defendants,3 which

   prohibited the Defendants from contacting social-media companies and taking specific actions for

   the purpose of urging, encouraging, pressuring, or inducing in any manner, the removal, deletion,



   1
     Defendants consist of President Joseph R Biden (“President Biden”), Jr, Karine Jean-Pierre (“Jean-Pierre”), Vivek
   H Murthy (“Murthy”), Xavier Becerra (“Becerra”), Dept of Health & Human Services (“HHS”), Dr. Hugh
   Auchincloss (“Auchincloss”), National Institute of Allergy & Infectious Diseases (“NIAID”), Centers for Disease
   Control & Prevention (“CDC”), Alejandro Mayorkas (“Mayorkas”), Dept of Homeland Security (“DHS”), Jen
   Easterly (“Easterly”), Cybersecurity & Infrastructure Security Agency (“CISA”), Carol Crawford (“Crawford”),
   United States Census Bureau (“Census Bureau”), U. S. Dept of Commerce (“Commerce”), Robert Silvers (“Silvers”),
   Samantha Vinograd (“Vinograd”), Ali Zaidi (“Zaidi”), Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Stuart F.
   Delery (“Delery”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Mina Hsiang (“Hsiang”), U. S. Dept of Justice
   (“DOJ”), Federal Bureau of Investigation (“FBI”), Laura Dehmlow (“Dehmlow”), Elvis M. Chan (“Chan”), Jay
   Dempsey (“Dempsey”), Kate Galatas (“Galatas”), Katharine Dealy (“Dealy”), Yolanda Byrd (“Byrd”), Christy Choi
   (“Choi”), Ashley Morse (“Morse”), Joshua Peck (“Peck”), Kym Wyman (“Wyman”), Lauren Protentis (“Protentis”),
   Geoffrey Hale (“Hale”), Allison Snell (“Snell”), Brian Scully (“Scully”), Jennifer Shopkorn (“Shopkorn”), U. S. Food
   & Drug Administration (“FDA”), Erica Jefferson (“Jefferson”), Michael Murray (“Murray”), Brad Kimberly
   (“Kimberly”), U. S. Dept of State (“State”), Leah Bray (“Bray”), Alexis Frisbie (“Frisbie”), Daniel Kimmage
   (“Kimmage”), U. S. Dept of Treasury (“Treasury”), Wally Adeyemo (“Adeyemo”), U. S. Election Assistance
   Commission (“EAC”), Steven Frid (“Frid”), and Kristen Muthig (“Muthig”).
   2
     Plaintiffs consist of the State of Missouri, the State of Louisiana, Dr. Aaron Kheriaty (“Kheriaty”), Dr. Martin
   Kulldorff (“Kulldorff”), Jim Hoft (“Hoft”), Dr. Jayanta Bhattacharya (“Bhattacharya”), and Jill Hines (“Hines”).
   3
     [Doc. No. 294]

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   suppression, or reduction of content containing protected free speech posted on social-media

   platforms.4 The Judgment defined “protected free speech” as “speech that is protected by the Free

   Speech Clause of the First Amendment to the United States Constitution in accordance with the

   jurisprudence of the United States Supreme Court, Courts of Appeal and District Courts.”5

            Defendants filed a Notice of Appeal6 on July 5, 2023. On July 6, 2023, Defendants filed

   the instant Motion to Stay.7 In the Motion to Stay, Defendants seek to have the Court Stay the

   Preliminary Injunction pending appeal, or alternatively to administratively stay the preliminary

   injunction for seven days.

            The Defendants allege that they face irreparable harm with each day the injunction remains

   in effect, because the injunction’s broad scope and ambiguous terms may be read to prevent the

   Defendants from engaging in a vast range of lawful and responsible conduct, including speaking

   on matters of public concern, and working with social-media companies on initiatives to prevent

   grave harm to the American people and the Country’s various democratic processes.

   II.      LAW AND ANALYSIS

            In determining whether to grant a stay pending appeal, a court is to consider: (1) whether

   the stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

   the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

   substantially injure the other parties interested in the proceeding; and (4) where the public interest

   lies. Nken v. Holder, 556 U.S. 418, 426 (2009). In evaluating these factors, courts have refused to

   apply them in a rigid or mechanical fashion. United States v. Baylor Univ. Med. Ctr., 711 F.2d 38,

   39 (5th Cir. 1983).


   4
     [Id.]
   5
     [Id. at 4, n. 3]
   6
     [Doc. No. 296]
   7
     [Doc. No. 297]

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           A.        Success on the Merits

           For all the reasons set forth in the Memorandum Ruling,8 this Court finds the Plaintiffs

   have shown a likelihood of success on the merits and, therefore, that Defendants have failed to

   show a likelihood of success on the merits. As discussed in detail in the Memorandum Ruling, all

   of the Defendants likely “significantly encouraged” and/or “jointly participated” with the social-

   media companies to engage in viewpoint-based suppression of protected free speech. Additionally,

   the White House Defendants9 and the Surgeon General Defendants10 were found to have likely

   engaged in coercion of social-media companies.

           The following are a few examples of actions taken by Defendants that demonstrate they

   are unlikely to succeed on the merits.

                    1.       White House Defendants

           (a)      On January 23, 2021, White House Digital Director for COVID-19 Response Team

   Clarke Humphrey emailed Twitter and requested the removal of an anti-COVID-19 vaccine tweet

   by Robert F. Kennedy, Jr.11

           (b)      On April 14, 2021, White House Deputy Assistant to the President and Director of

   Digital Strategy Rob Flaherty (“Flaherty”) demanded censorship by Facebook of a video of Fox

   News hosts Tucker Carlson and Tomi Lahren where Tucker Carlson was saying COVID-19

   vaccines don’t work and Tomi Lahren was saying she won’t take a COVID-19 vaccine.12 Flaherty

   demanded immediate answers from Facebook on April 16, 2021, in relation to the video, and on



   8
     [Doc. No. 294]
   9
     White House Defendants consist of President Joseph R. Biden (“President Biden”), White House Press Secretary
   Karine Jean-Pierre (“Jean-Pierre”), Ashley Morse (“Morse”), Deputy Assistant to the President and Director of Digital
   Strategy Rob Flaherty (“Flaherty”), Dori Salcido (“Salcido”), Aisha Shah (“Shah”), Sarah Beran (“Beran”), Stuart F.
   Delery (“Delery”), Mina Hsiang (“Hsiang”), and Dr. Hugh Auchincloss (Dr. Auchincloss”)
   10
      Surgeon General Defendants consists of Dr. Vivek H. Murthy (“Murthy”) and Katharine Dealy (“Dealy”).
   11
      [Doc. No. 293 at 9]
   12
      [Doc. No. 293 at 16]

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   April 21, 2021, despite not violating Facebook’s policies, Facebook gave the video a 50%

   reduction for seven days and stated it would continue to demote the video.13

                    2.      Surgeon General Defendants

           (a)      Senior Advisor to the Surgeon General Eric Waldo (“Waldo”) testified that Surgeon

   General Dr. Vivek H. Murthy (“Murthy”) used his office to advocate for social-media platforms

   to take stronger actions against “health misinformation,” which involved putting pressure on

   social-media platforms to reduce the dissemination of health misinformation. That message was

   given to social-media platforms both publicly and privately.14

           (b)      In addition to public statements, Murthy had meetings with social-media

   companies, called health misinformation “poison,” and called for social-media companies to do

   more to control the reach of health disinformation. When Murthy was calling posts “health

   disinformation,” he was referring to anti-vaccine posts.15

                    3.      CDC Defendants16

           (a)      The CDC Defendants consistently had regular contact with social-media platforms

   via email, phone, and in-person meetings. The CDC Defendants received CrowdTangle reports

   from Facebook as to the “top engaged COVID and vaccine related content.17

           (b)      The CDC Defendants provided PowerPoint slide decks to Facebook, which

   provided examples of misinformation topics and made recommendations to Facebook as to

   whether claims were true or false. Some of the items designated as false by the CDC Defendants



   13
      [Doc. No. 297 at 17-18]
   14
      [Doc. No. 293 at 28]
   15
      [Doc. No. 293 at 31-33]
   16
      The CDC Defendants consist of the Centers for Disease Control & Prevention, Carol Crawford (“Crawford”), Jay
   Dempsey (“Dempsey”), Kate Galatas (“Galatas”), United States Census Bureau (“Census Bureau”), Jennifer
   Shopkorn (“Shopkorn”), the Department of Health and Human Services (“HHS”), Xavier Becerra (“Becerra”),
   Yolanda Byrd (“Byrd”), Christy Choi (“Choi”), Ashley Morse (“Morse”), and Joshua Peck (“Peck”).
   17
      [Doc. No. 293 at 39]

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   included medically debatable topics such as whether COVID-19 had a 99.96% survival rate,

   whether COVID-19 vaccines weaken the immune system, and the safety of COVID-19 vaccines.18

                    4.      NIAID Defendants19

           (a)      Dr. Francis Collins sent an email to Dr. Anthony Fauci on October 8, 2020, which

   stated that the Great Barrington Declaration20 needed to have a “quick and devastating take-

   down.”21

           (b)      Dr. Fauci sent back information to “debunk” The Great Barrington Declaration and

   both Dr. Collins and Dr. Fauci followed up with a series of public media statements attacking the

   Great Barrington Declaration. Thereafter the Great Barrington Declaration was censored by social-

   media platforms.22

                    5.      FBI Defendants23

           (a)      The FBI Defendants, along with numerous social-media platforms, CISA, and the

   Department of Homeland Security, met consistently at Industry Meetings. The Industry Meetings

   were used by the FBI Defendants and others to discuss election disinformation.24

           (b)      Prior to the 2020 Presidential election, the FBI repeatedly warned social-media

   companies to be alert for “hack and dump” or “hack and leak” operations. The Hunter Biden laptop

   story was published by the Washington Post on October 14, 2020. After being asked by Facebook

   whether the Hunter Biden laptop story was Russian disinformation, the FBI’s Laura Dehmlow



   18
      [Doc. No. 293 at 41-44]
   19
      The NIAD Defendants consist of the National Institute of Allergy and Infectious Disease and Dr. Hugh
   Auchincloss (“Dr. Auchincloss”).
   20
      [Doc. No. 293 at 55]
   21
      The Great Barrington Declaration is a one-page treatise opposing the reliance of lockdowns, criticized social
   distancing, and expressed concerns about physical and mental health impacts of lockdowns.
   22
      [Doc. No. 293 at 54]
   23
      FBI Defendants include Elvis Chan (“Chan”), the Federal Bureau of Investigation (“FBI”), Lauren Dehmlow
   (“Dehmlow”), and the U.S. Department of Justice (“DOJ”).
   24
      [Doc. No. 293 at 54]

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   refused to comment, leading Facebook to suppress the story. The FBI had had the laptop since

   December of 2019, and knew that the story was not Russian disinformation.25

                    6.      CISA Defendants26

           (a)      The CISA Defendants regularly met with social-media platforms at several types

   of meetings. At those meetings, disinformation was discussed as well as reports about social-media

   companies’ changes to censorship policies.27 CISA had five sets of recurring meetings with social-

   media platforms that involved discussions of misinformation, disinformation, and/or censorship of

   protected free speech on social media.28

           (b)      The CISA Defendants collaborated with the Election Integrity Partnership, working

   with them in a “switchboarding” operation which reported alleged election misinformation to

   social-media companies. The alleged election misinformation included claims that “mail-in voting

   is insecure” and “theories about election fraud are hard to discount.”29

           (c)      CISA Director Jen Easterly views the word “infrastructure” expressively to include

   our “cognitive infrastructure,” which deals with the way people acquire knowledge and

   understanding.30

                    7.      State Department Defendants31

           (a)      The State Department Defendants worked closely and collaborated with the

   Election Integrity Partnership and the Virality Project, who forwarded alleged election


   25
      [Doc. No. 293 at 61-63]
   26
       CISA Defendants consist of the Cybersecurity and Infrastructure Security Agency (“CISA”), Jen Easterly
   (“Easterly”), Kim Wyman (“Wyman”), Lauren Protentis (“Protentis”), Geoffrey Hale (“Hale”), Allison Snell
   (“Snell”), Brian Scully (“Scully”), the Department of Homeland Security (“DHS”), Alejandro Mayorkas
   (“Mayorkas”), Robert Silvers (“Silvers”), and Samantha Vinograd (“Vinograd”).
   27
      [Doc. No. 293 at 68-69]
   28
      [Doc. No. 293 at 75]
   29
      [Doc. No. 293 at 70-74]
   30
      [Doc. No. 293 at 77]
   31
      The State Department Defendants consist of the United States Department of State, Leah Bray (“Bray”), Daniel
   Kimmage (“Kimmage’), and Alex Frisbie (“Frisbie”).

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   misinformation and COVID-19 misinformation to social-media companies.32 The alleged

   misinformation related to content by American citizens. The alleged disinformation primarily

   involved social media posts which delegitimized election results,33 and posts which involved anti-

   vaccine content by such personalities as Alex Berenson, Candace Owens, Tucker Carlson, and

   John F. Kennedy, Jr.34

           (b)     The Election Integrity Partnership was designed “to get around unclear legal

   authorities, including very real First Amendment questions” that would arise if government

   agencies were to monitor and flag information for censorship on social media.35

           B.      Standing

           Defendants further argue that they will prevail as to establishing that Plaintiffs lack Article

   III standing. For the reasons set forth previously in the Memorandum Ruling36 this Court found all

   of the Plaintiffs are likely to establish all elements of Article III standing. Defendants argue the

   States of Missouri and Louisiana do not have parens patriae standing to bring a claim against the

   Federal Government. This Court disagrees. In Massachusetts v. E.P.A., 549 U.S. 497 (2007), the

   United States Supreme Court concluded that Massachusetts had standing to sue the E.P.A. to

   protect its quasi-sovereign interests. The court clarified that because Massachusetts sought to

   assert its rights under federal law, rather than challenge the federal law’s application for its citizens,

   the State of Massachusetts had standing. Like Massachusetts, the States of Missouri and Louisiana

   are asserting their rights under the First Amendment to the United States Constitution, and also

   asserting rights under each Plaintiff States’ own constitution. The Plaintiff States are likely to



   32
      [Doc. No. 293 at 79-81]
   33
      [Doc. No. 293 at 81]
   34
      [Doc. No. 293 at 86]
   35
      [Doc. No. 293 at 73].
   36
      [Doc. No. 293 at 119-139] (see also [Doc. No. 214] (Memorandum Ruling Denying Defendants’ Motion to
   Dismiss))

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   prevail on their standing argument because they have adequately alleged (and provided evidence

   supporting) injuries to their quasi-sovereign interest as well as direct censorship injuries on social-

   media.

            There are also individual Plaintiffs in this case. Only one Plaintiff with standing is required

   to be able to maintain this suit. Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651

   (2017). Defendants argue that the individual Plaintiffs’ standing have not shown “irreparable

   harm.” The individual Plaintiffs’ standing analysis is set forth in the Memorandum Ruling.37 The

   “irreparable harm” element was also specifically discussed in the Memorandum Ruling.38

   Violation of a First Amendment Constitutional right, even for a short period of time, is always

   irreparable injury. Elrod v. Burns., 427 U.S. 347 (1976). Accordingly, for the reasons set forth

   previously, the Plaintiffs have shown there is a substantial risk that future harm is likely to occur

   and that they are likely to satisfy the requirements of Article III standing.

            C.       Public Interest and Harm

            Defendants further maintain they will be irreparably injured absent a stay, and that the

   balance of the equities weighs heavily in the Defendants’ favor of granting a stay. Again, this Court

   disagrees. As discussed in the Memorandum Ruling,39 the First Amendment free speech rights of

   Plaintiffs by far outweighs the Defendants’ interests.

            Defendants argue that the injunction may be read to prevent the Defendants from engaging

   in a vast range of lawful conduct—including speaking on matters of public concern and working

   with social-media companies on initiatives to prevent grave harm to the American people and our

   democratic processes. However, the Preliminary Injunction only prohibits what the Defendants



   37
      [Id. at 126-135]
   38
      [Id. at 139-140]
   39
      [Id. at 144-45]

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   have no right to do—urging, encouraging, pressuring, or inducing in any manner the removal,

   deletion, suppression, or reduction of content containing protected free speech on social-media

   platforms. The Defendants provide no argument that they are legally allowed to take such action.

   The Defendants are asking the Court to grant them relief to a Preliminary Injunction that only bars

   illegal conduct. In other words, the only effect of staying the Preliminary Injunction would be to

   free Defendants to urge, encourage, pressure, or induce the removal, deletion, suppression, or

   reduction of content containing protected free speech on social-media platforms.

           The Preliminary Injunction also has several exceptions which list things that are NOT

   prohibited. The Preliminary Injunction allows Defendants to exercise permissible public

   government speech promoting government policies or views on matters of public concern, to

   inform social-media companies of postings involving criminal activity, criminal conspiracies,

   national security threats, extortion, other threats, criminal efforts to suppress voting, providing

   illegal campaign contributions, cyber-attacks against election infrastructure, foreign attempts to

   influence elections, threats against the public safety or security of the United States, postings

   intending to mislead voters about voting requirements, procedures, preventing or mitigating

   malicious cyber activity, and to inform social-media companies about speech not protected by the

   First Amendment.

            Defendants cite no specific action that would be prohibited by this Preliminary Injunction

   that would provide grave harm to the American people or over democratic processes. In fact, in

   opposition to the Motion for Preliminary Injunction, Defendants submitted five Declarations40 that

   addressed Defendants’ concerns. Every one of these concerns was addressed in the Preliminary


   40
     Leah Bray [Doc. No. 226-6 at 198-296] (foreign propaganda); Larissa Knapp [Doc. No. 266-6 at 448-47] (crimes,
   threats, national security threats); Brandon Wales [Doc. No. 266-6 at 553-572] (malicious cyber activity); Max
   Lesko [Doc. No. 266-4 at 130-178] (commission of public health issues); and Carol Crawford [Doc. No. 266-5 at
   67-77] (public health information)

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 Injunction exceptions. An enjoined party must identify a specific concern that the injunction will

 prohibit. Regal Knitwear Co. v. N.L.R.B., 65 S. Ct. 478, 482 (1945). Defendants have failed to do

 so. Therefore, the Defendants would not be irreparably harmed, and the balance of equities and

 harm weighs in favor of Plaintiffs, not Defendants.

            D.       Specificity of Preliminary Injunction

            Additionally, Defendants argue that the Preliminary Injunction is sweeping in scope and

 vague in its terms.41 A Preliminary Injunction must describe in reasonable detail the act or acts

 restrained or required. FED. R. CIV. P. 65. An ordinary person reading the Court’s order must be

 able to ascertain from the document itself exactly what conduct is proscribed or prohibited.

 Louisiana v. Biden, 45 F.4th 841, 846 (5th Cir. 2022). Defendants argue that both the prohibited

 conduct and the conduct that is not prohibited is vague.

            Defendants first argue the definition of “protected free speech” is vague because it refers

 to jurisprudence of the United States Supreme Court, The United States Courts of Appeal, and

 United States District Courts. Defendants question whether an agency official would be required

 to research the laws of every federal court to determine what is “protected free speech.”

            In order to clarify the definition of “protected free speech” in the Preliminary Injunction,

 this Court will modify the definition of “protected free speech” in n. 3 to read as follows:

                     “Protected free speech” means speech which is protected by the Free
                     Speech Clause of the First Amendment to the United States
                     Constitution in accordance with the jurisprudence of the United
                     States Supreme Court.

            Although general “obey the law” injunctions are normally too vague to form the basis of

 an injunction, language in an injunction to prohibit future violations of a statute will be upheld

 when it relates to the type of acts the Defendants are alleged to have committed. NLRB. V. Express


 41
      [Doc. No. 297-1 at 3]

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 Pub. Co., 61 S. Ct. 693, 699 (1941); Interstate Commerce Commission v. Keeshin Motor Exp. Co.,

 134 F.2d 228, 231, (7th Cir. 1943) cert. den. 64 S. Ct. 38 ( 1943).

            The Preliminary Injunction at issue prohibits the Defendants from taking the described

 actions with social-media companies as to “protected free speech,” which is defined by

 jurisprudence of the United States Supreme Court. The actions prohibited are the type of actions

 the Defendants are alleged to have committed. Therefore, the reference to United States Supreme

 Court jurisprudence is not vague. Defendant officials can be and should be trained to recognize

 what speech is protected and what speech is not prior to working with social-media companies to

 suppress or delete postings. Additionally, the exceptions to the Free Speech Clause of the First

 Amendment are “well-defined and narrowly limited classes of speech.” United States v. Stevens,

 559 U.S. 460, 468-69 (2010).

            Defendants further argue that the exemption in the Preliminary Injunction, which allows

 the Government to exercise permissible government speech promoting government policies or

 views on matters of public concern, is vague in light of references in the Memorandum Ruling to

 government speech by the White House Defendants and the Surgeon General Defendants.42 It is

 clear that the Preliminary Injunction does not prohibit government speech. The portion of the

 Memorandum Ruling addressing Defendants’ government speech argument43 clearly notes that

 the government speech was not a First Amendment violation. Rather, it was the use of government

 agencies and employees to coerce and/or significantly encourage social-media platforms to

 suppress free speech on their platforms. Therefore, the government speech exception in the

 Preliminary Injunction is not ambiguous or vague.




 42
      [Doc. No. 294 at 6]
 43
      [Doc. No. 293 at 118-119].

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        Defendants further allege that the injunction is not clear what entities or individuals are

 covered because the Preliminary Injunction names entire agencies which are composed of many

 sub-components. Defendants noted that the Preliminary Injunction did not enjoin the Food and

 Drug Administration (“FDA”) but enjoined the Department of Health and Human Services, of

 whom the FDA is a part.

        The Motion for Preliminary Injunction is clearly denied as to the FDA, along with the other

 entities specifically noted. FED. R. CIV. P. Rule 65 not only prohibits the party Defendants, but

 also those identified with them in interest, in priority with them, represented by them, or subject

 to their control. Regal Knitwear Co. v. N.L.R.B., 65 S. Ct. 478, 481 (1945). An injunctive order

 also binds the party’s officers, agents, servants, employees, attorneys, and those persons in active

 concert with them who receive actual notice of the order. U.S. v. Hall, 472 F.2d 261, 267, (5th Cir.

 1972). FED R. CIV. P. Rule 65(d) specifically allows an agency’s officers, agents, servants,

 employees, and attorneys to be bound. Therefore, the Preliminary Injunction is not vague or

 ambiguous as to the entities or individuals who are covered. If Defendants’ interpretation was

 accepted, an agency could simply instruct a sub-agency to perform the prohibited acts and avoid

 the consequences of an injunction.

 III.   CONCLUSION

        Plaintiffs are likely to prove that all of the enjoined Defendants coerced, significantly

 encouraged, and/or jointly participated social-media companies to suppress social-media posts by

 American citizens that expressed opinions that were anti-COVID-19 vaccines, anti-COVID-19

 lockdowns, posts that delegitimized or questioned the results of the 2020 election, and other

 content not subject to any exception to the First Amendment. These items are protected free speech




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 and were seemingly censored because of the viewpoints they expressed. Viewpoint discrimination

 is subject to strict scrutiny.

         Although this Preliminary Injunction involves numerous agencies, it is not as broad as it

 appears. It only prohibits something the Defendants have no legal right to do—contacting social-

 media companies for the purpose of urging, encouraging, pressuring, or inducing in any manner,

 the removal, deletion, suppression, or reduction of content containing protected free speech posted

 on social-media platforms. It also contains numerous exceptions.

         Therefore, for the reasons set forth herein,

         The Defendants’ Motion to Stay [Doc. No. 297] is DENIED.

         MONROE, LOUISIANA, this 10th day of July 2023.



                                                         ____________________________________
                                                         TERRY A. DOUGHTY
                                                         UNITED STATES DISTRICT JUDGE




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

  STATE OF MISSOURI ET AL                             CIVIL ACTION NO. 3:22-cv-1213

  VERSUS                                              JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                             MAG. JUDGE KAYLA D. MCCLUSKY

                             JUDGMENT ON MOTION TO STAY

          For the reasons set forth in the Memorandum Ruling on Motion to Stay,

          IT IS ORDERED, ADJUDGED, AND DECREED that the definition of “protected free

   speech” in the Memorandum Ruling [Doc. No. 294, at p.4, n.3] shall be amended to read as

   follows:

                 “Protected free speech” means speech which is protected by the Free
                 Speech Clause of the First Amendment of the United States
                 Constitution in accordance with the jurisprudence of the United
                 States Supreme Court.

          IT IS FURTHER ORDERED that the Defendants’ Motion to Stay Preliminary Injunction

   Pending Appeal, and Alternatively, for Administrative Stay [Doc. No. 297] is DENIED.

          MONROE, LOUISIANA, this 10th day of July 2023.



                                                      ____________________________________
                                                      TERRY A. DOUGHTY
                                                      UNITED STATES DISTRICT JUDGE




                                             - A2008 -
